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                    Exhibit 1
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 Sunrun, Inc.



 OPEN ACCESS PLUS MEDICAL
 BENEFITS




 EFFECTIVE DATE: January 1, 2022




 ASO21
 3338372




 This document printed in July, 2022 takes the place of any documents previously issued to you which
 described your benefits.



 Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY SUNRUN, INC. WHICH IS RESPONSIBLE
FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES
CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE
BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan. These rebates or remuneration are not
Care Management and Care Coordination Services                           obtained on you or your Employer’s or plan’s behalf or for
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
Your plan may enter into specific collaborative arrangements
                                                                         to pass these rebates on to you, or apply them to your plan’s
with health care professionals committed to improving quality
                                                                         Deductible if any or take them into account in determining
care, patient satisfaction and affordability. Through these
                                                                         your Copayments and/or Coinsurance.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care                  Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate                  various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at                 this plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health               may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                  educational grants and research. Amounts received from
                                                                         pharmaceutical manufacturers pursuant to such arrangements
                                                                         are not related to this plan. Cigna and its affiliates are not
HC-SPP27                                                    06-15        required to pass on to you, and do not pass on to you, such
                                                                V1       amounts.
                                                                         Coupons, Incentives and Other Communications
                                                                         At various times, Cigna or its designee may send mailings to
Important Notices                                                        you or your Dependents or to your Physician that
Direct Access to Obstetricians and Gynecologists                         communicate a variety of messages, including information
                                                                         about Medical Pharmaceuticals. These mailings may contain
You do not need prior authorization from the plan or from any
                                                                         coupons or offers from pharmaceutical manufacturers that
other person (including a primary care provider) in order to
                                                                         enable you or your Dependents, at your discretion, to purchase
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           the described Medical Pharmaceutical at a discount or to
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
or gynecology. The health care professional, however, may be
                                                                         for and/or provide the content for these mailings. Cigna, its
required to comply with certain procedures, including
                                                                         affiliates and the plan are not responsible in any way for any
obtaining prior authorization for certain services, following a
                                                                         decision you make in connection with any coupon, incentive,
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         or other offer you may receive from a pharmaceutical
who specialize in obstetrics or gynecology, visit                        manufacturer or Physician.
www.mycigna.com or contact customer service at the phone
number listed on the back of your ID card.                               HC-IMP304                                                      01-22

Selection of a Primary Care Provider
This plan generally allows the designation of a primary care             Discrimination is Against the Law
provider. You have the right to designate any primary care               Cigna complies with applicable Federal civil rights laws and
provider who participates in the network and who is available            does not discriminate on the basis of race, color, national
to accept you or your family members. For information on                 origin, age, disability or sex. Cigna does not exclude people or
how to select a primary care provider, and for a list of the             treat them differently because of race, color, national origin,
participating primary care providers, visit www.mycigna.com              age, disability or sex.
or contact customer service at the phone number listed on the
back of your ID card.                                                    Cigna:
For children, you may designate a pediatrician as the primary               Provides free aids and services to people with disabilities to
care provider.                                                               communicate effectively with us, such as:
                                                                              Qualified sign language interpreters

HC-NOT5                                                     01-11
                                                                              Written information in other formats (large print, audio,
                                                                               accessible electronic formats, other formats)



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   Provides free language services to people whose primary               Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
    language is not English, such as                                      về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
     Qualified interpreters                                              Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                          khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Information written in other languages
If you need these services, contact customer service at the toll-         Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
free phone number shown on your ID card, and ask a                        서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
Customer Service Associate for assistance.
                                                                          가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
If you believe that Cigna has failed to provide these services
or discriminated in another way on the basis of race, color,              연락해주십시오. 기타 다른 경우에는 1.800.244.6224
national origin, age, disability or sex, you can file a grievance         (TTY: 다이얼 711)번으로 전화해주십시오.
by sending an email to ACAGrievance@cigna.com or by
writing to the following address:                                         Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
    Cigna                                                                 tulong sa wika nang libre. Para sa mga kasalukuyang customer
    Nondiscrimination Complaint Coordinator                               ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    P.O. Box 188016                                                       kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Chattanooga, TN 37422                                                 Russian – ВНИМАНИЕ: вам могут предоставить
If you need assistance filing a written grievance, please call            бесплатные услуги перевода. Если вы уже участвуете в
the number on the back of your ID card or send an email to                плане Cigna, позвоните по номеру, указанному на
ACAGrievance@cigna.com. You can also file a civil rights                  обратной стороне вашей идентификационной карточки
complaint with the U.S. Department of Health and Human                    участника плана. Если вы не являетесь участником одного
Services, Office for Civil Rights electronically through the              из наших планов, позвоните по номеру 1.800.244.6224
Office for Civil Rights Complaint Portal, available at:                   (TTY: 711).
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building
    Washington, D.C. 20201                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    1-800-368-1019, 800-537-7697 (TDD)                                    disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
Complaint forms are available at                                          dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
http://www.hhs.gov/ocr/office/file/index.html.                            (TTY: Rele 711).
                                                                          French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                      07-17
                                                                          Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                          carte d’identité. Sinon, veuillez appeler le numéro
Proficiency of Language Assistance Services                               1.800.244.6224 (ATS : composez le numéro 711).
English – ATTENTION: Language assistance services, free                   Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
of charge, are available to you. For current Cigna customers,             assistência linguística, totalmente gratuitos. Para clientes
call the number on the back of your ID card. Otherwise, call              Cigna atuais, ligue para o número que se encontra no verso do
1.800.244.6224 (TTY: Dial 711).                                           seu cartão de identificação. Caso contrário, ligue para
                                                                          1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de
idiomas, sin cargo, a su disposición. Si es un cliente actual de          Polish – UWAGA: w celu skorzystania z dostępnej,
Cigna, llame al número que figura en el reverso de su tarjeta             bezpłatnej pomocy językowej, obecni klienci firmy Cigna
de identificación. Si no lo es, llame al 1.800.244.6224 (los              mogą dzwonić pod numer podany na odwrocie karty
usuarios de TTY deben llamar al 711).                                     identyfikacyjnej. Wszystkie inne osoby prosimy o
                                                                          skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                           Japanese –
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                     注意事項：日本語を話される場合、無料の言語支援サー
                                                                          ビスをご利用いただけます。現在のCignaの
                                                                          お客様は、IDカード裏面の電話番号まで、お電話にてご


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連絡ください。その他の方は、1.800.244.6224（TTY:                                        benefits is available for review by Plan Administrators (e.g.
711）まで、お電話にてご連絡ください。                                                     employers) and covered persons by accessing the appropriate
                                                                         link below:
Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                Employers (Plan Administrators):
chiamare il numero sul retro della tessera di identificazione.               https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                 Log in, select Resources and Training, then select the
TTY: chiamare il numero 711).                                                NQTL document.
German – ACHTUNG: Die Leistungen der                                         Covered Persons: www.cigna.com\sp
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                To determine which document applies to your plan, select the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             relevant health plan product; medical management model
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 (inpatient only or inpatient and outpatient) which can be
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 located in this booklet immediately following The Schedule;
Sie 711).                                                                and pharmacy coverage (whether or not your plan includes
                                                                         pharmacy coverage).


                                                                         HC-NOT113                                                    01-20




                                                                         How To File Your Claim
                                                                         There’s no paperwork for In-Network care. Just show your
HC-NOT97                                                     07-17       identification card and pay your share of the cost, if any; your
                                                                         provider will submit a claim to Cigna for reimbursement. Out-
                                                                         of-Network claims can be submitted by the provider if the
Mental Health Parity and Addiction Equity Act of 2008                    provider is able and willing to file on your behalf. If the
(MHPAEA) - Non-Quantitative Treatment Limitations                        provider is not submitting on your behalf, you must send your
(NQTLs)                                                                  completed claim form and itemized bills to the claims address
Federal MHPAEA regulations provide that a plan cannot                    listed on the claim form.
impose a Non-Quantitative Treatment Limitation (NQTL) on                 You may get the required claim forms from the website listed
mental health or substance use disorder (MH/SUD) benefits in             on your identification card or by using the toll-free number on
any classification unless the processes, strategies, evidentiary         your identification card.
standards, or other factors used in applying the NQTL to
MH/SUD benefits are comparable to, and are applied no more               CLAIM REMINDERS
stringently than, those used in applying the NQTL to                      BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits           ACCOUNT/GROUP NUMBER WHEN YOU FILE
as written and in operation under the terms of the plan.                   CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include:                    YOUR CIGNA CLAIM OFFICE.
   Medical management standards limiting or excluding                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
    benefits based on Medical Necessity or whether the                       BENEFIT IDENTIFICATION CARD.
    treatment is experimental or investigative;                              YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
   Prescription drug formulary design;                                      YOUR BENEFIT IDENTIFICATION CARD.
   Network admission standards;                                            BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                             ON THE BACK OF THE CLAIM FORM CAREFULLY
   Methods for determining in-network and out-of-network                    WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;
                                                                         Timely Filing of Out-of-Network Claims
   Step therapy a/k/a fail-first requirements; and
                                                                         Cigna will consider claims for coverage under our plans when
   Exclusions and/or restrictions based on geographic location,         proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                 of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                      rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                Confinement, the limit will be counted from the last date of



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service. If claims are not submitted within 180 days for Out-            Effective Date of Employee Insurance
of-Network benefits, the claim will not be considered valid              You will become insured on the date you elect the insurance
and will be denied.                                                      by signing an approved payroll deduction or enrollment form,
WARNING: Any person who knowingly and with intent to                     as applicable, but no earlier than the date you become eligible.
defraud any insurance company or other person files an                   You will become insured on your first day of eligibility,
application for insurance or statement of claim containing any           following your election, if you are in Active Service on that
materially false information; or conceals for the purpose of             date, or if you are not in Active Service on that date due to
misleading, information concerning any material fact thereto,            your health status.
commits a fraudulent insurance act.
                                                                         Late Entrant - Employee
                                                                         You are a Late Entrant if:
HC-CLM25                                                    01-11
                                                             V11
                                                                            you elect the insurance more than 30 days after you become
                                                                             eligible; or
                                                                            you again elect it after you cancel your payroll deduction (if
                                                                             required).
Eligibility - Effective Date
                                                                         Dependent Insurance
Employee Insurance
                                                                         For your Dependents to be insured, you will have to pay the
This plan is offered to you as an Employee.                              required contribution, if any, toward the cost of Dependent
Eligibility for Employee Insurance                                       Insurance.
You will become eligible for insurance on the day you                    Effective Date of Dependent Insurance
complete the waiting period if:                                          Insurance for your Dependents will become effective on the
   you are in a Class of Eligible Employees; and                        date you elect it by signing an approved payroll deduction
   you are an eligible, full-time Employee; and                         form (if required), but no earlier than the day you become
                                                                         eligible for Dependent Insurance. All of your Dependents as
   you normally work at least 30 hours a week; and                      defined will be included.
   you pay any required contribution.                                   Your Dependents will be insured only if you are insured.
If you were previously insured and your insurance ceased, you            Late Entrant – Dependent
must satisfy the Waiting Period to become insured again. If
your insurance ceased because you were no longer employed                You are a Late Entrant for Dependent Insurance if:
in a Class of Eligible Employees, you are not required to                   you elect that insurance more than 30 days after you
satisfy any waiting period if you again become a member of a                 become eligible for it; or
Class of Eligible Employees within one year after your                      you again elect it after you cancel your payroll deduction (if
insurance ceased.                                                            required).
Employees on temporary furlough for up to 6 months will be               Exception for Newborns
considered active employees and coverage will continue
during this time period.                                                 Any Dependent child born while you are insured will become
                                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                      Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later            elect to insure your newborn child within such 31 days,
of:                                                                      coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                         for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                         HC-ELG274M                                                     01-19

Waiting Period
The first day of the month following date of hire.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
Employer.



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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .



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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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      BENEFIT HIGHLIGHTS                      IN-NETWORK                    OUT-OF-NETWORK
Lifetime Maximum                                              Unlimited
The Percentage of Covered Expenses   80%                            60% of the Maximum Reimbursable
the Plan Pays                                                       Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-    Not Applicable                 110%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 the provider’s normal charge for a
  similar service or supply; or
 the 80th percentile of charges made
  by providers of such service or
  supply in the geographic area where
  it is received as compiled in a
  database selected by Cigna. If
  sufficient charge data is unavailable
  in the database for that geographic
  area to determine the Maximum
  Reimbursable Charge, then data in
  the database for similar services may
  be used.

Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable copayment, deductibles
and/or coinsurance.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.

Calendar Year Deductible
  Individual                               $600 per person                 $1,000 per person

  Family Maximum                           $1,200 per family               $2,000 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $3,000 per person               $6,000 per person
  Family Maximum                           $6,000 per family               $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        No charge after $25 per office visit    60% of the Maximum Reimbursable
  Visit                                  copay                                   Charge after plan deductible


  Specialty Care Physician’s Office      No charge after $40 Specialist per      60% of the Maximum Reimbursable
  Visits                                 office visit copay                      Charge after plan deductible
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  Office                                 Specialist per office visit copay       Charge after plan deductible
  Second Opinion Consultations           No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  (provided on a voluntary basis)        Specialist per office visit copay       Charge after plan deductible
  Allergy Treatment/Injections           No charge after either the $25 PCP or   60% of the Maximum Reimbursable
                                         $40 Specialist per office visit copay   Charge after plan deductible
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               60% of the Maximum Reimbursable
  Physician in the office)                                                       Charge after plan deductible
Convenience Care Clinic                  No charge after the $25 per office      60% of the Maximum Reimbursable
                                         visit copay                             Charge after plan deductible




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        BENEFIT HIGHLIGHTS                               IN-NETWORK                        OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
    Urgent Virtual Care Services             No charge after the $25 PCP per       In-Network coverage only
                                             office visit copay
    Notes:
    Dedicated Virtual Providers may
    deliver services that are payable
    under other benefits (e.g., Preventive
    Care, Primary Care Physician,
    Behavioral; Dermatology/Specialty
    Care Physician).

    Lab services supporting a virtual
    visit must be obtained through
    dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                     No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                             Specialist per office visit copay     Charge after plan deductible
.
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
    Routine Preventive Care - all ages       No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible

    Immunizations - all ages                 No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Mammograms, PSA, PAP Smear
    Preventive Care Related Services         No charge                             60% of the Maximum Reimbursable
    (i.e. “routine” services)                                                      Charge after plan deductible
    Diagnostic Related Services (i.e.        Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
    “non-routine” services)                  benefit; based on place of service    benefit; based on place of service
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Inpatient Hospital – Facility Services    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Semi-Private Room and Board             Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Private Room                            Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Special Care Units (ICU/CCU)            Limited to the negotiated rate         Limited to the ICU/CCU daily room
                                                                                 rate

Outpatient Facility Services
 Operating Room, Recovery Room,           $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
 Procedures Room, Treatment Room          plan deductible                        of the Maximum Reimbursable
 and Observation Room                                                            Charge after plan deductible
  Note:
  Non-surgical treatment procedures
  are not subject to the facility copay
  or facility deductible.
Inpatient Hospital Physician’s            80% after plan deductible              60% of the Maximum Reimbursable
Visits/Consultations                                                             Charge after plan deductible

Inpatient Hospital Professional           80% after plan deductible              60% of the Maximum Reimbursable
Services                                                                         Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services          80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Urgent Care Facility or Outpatient      No charge after $35 per visit copay*    No charge after $35 per visit copay*
  Facility                                and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Emergency Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             80% after plan deductible               80% after plan deductible

Ambulance                                 80% after plan deductible               80% of the Maximum Reimbursable
                                                                                  Charge after plan deductible




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      BENEFIT HIGHLIGHTS                               IN-NETWORK                          OUT-OF-NETWORK
Inpatient Services at Other Health         80% after plan deductible                60% of the Maximum Reimbursable
Care Facilities                                                                     Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible
  Outpatient Hospital Facility             80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Independent X-ray and/or Lab             80% after plan deductible                60% of the Maximum Reimbursable
  Facility                                                                          Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 No charge                                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Inpatient Facility                       $250 per admission copay, then 80%       $500 per admission deductible, then
                                           after plan deductible                    60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Outpatient Facility                      80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
Outpatient Therapy Services                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
  Calendar Year Maximum:                   Specialist per office visit copay        Charge after plan deductible
  60 days for all therapies combined       Note:
  (The limit is not applicable to mental   Outpatient Therapy Services copay
  health conditions.)                      applies, regardless of place of
                                           service, including the home.
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          No charge after the $40 Specialist per   60% of the Maximum Reimbursable
  Calendar Year Maximum:                   office visit copay                       Charge after plan deductible
  36 days
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Physician’s Office Visit                 No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Physician’s Office Visit                No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                          Specialist per office visit copay     Charge after plan deductible
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% of the Maximum Reimbursable
  100 days (includes outpatient private                                         Charge after plan deductible
  nursing when approved as Medically
  Necessary)

  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Services                     80% after plan deductible             60% of the Maximum Reimbursable
  (same coinsurance level as Home                                               Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient                              80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $250 per admission copay, then 80%     In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible              60% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                 Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  to the global maternity fee when          Specialist per office visit copay      Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $250 per admission copay, then 80%     $500 per admission deductible, then
  (Inpatient Hospital, Birthing Center)     after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                      $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                     $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                    80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                              60% of the Maximum Reimbursable
  Tests and Counseling                                                           Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Inpatient Facility                    No charge                              $500 per admission deductible, then
                                                                                 60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   No charge                              $400 per visit deductible, then 60%
                                                                                 of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  Tests and Counseling                    Specialist per office visit copay      Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
    Inpatient Facility                    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility and Conception Services
Services offered through WINFertility
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility, as applicable.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Treatment and/or procedures performed to enable conception with or without an infertility condition
       Artificial Insemination/Intrauterine insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
       Fertility preservation when an infertility condition is imminent.
       Access to reproductive services for the purpose of pre-implantation genetic diagnosis (PGD) and embryo selection
        when parent(s), though fertile, are known carriers of genes associated with birth defects.
.
    Physician’s Office Visit (Lab and           No charge after the $25 PCP or $40         60 of the Maximum Reimbursable
    Radiology Tests, Counseling)                Specialist per office visit copay          Charge after plan deductible
    Inpatient Facility                          $250 per admission copay, then 80%         $500 per admission deductible, then
                                                after plan deductible                      60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Outpatient Facility                         $200 per visit copay, then 80% after       $400 per visit deductible, then 60%
                                                plan deductible                            of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Physician’s Services                        80% after plan deductible                  60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Cryopreserved Reproductive
    Material Storage Maximum:
    1 year

    Lifetime Maximum:
    $25,000 per member
     In-network and out-of-network
      services accumulate to the one
      maximum
    .




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                        OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                 No charge after the $25 PCP or $40     In-Network coverage only
                                           Specialist per office visit copay
  Inpatient Facility                       100% at LifeSOURCE center after        In-Network coverage only
                                           $250 per admission copay, otherwise
                                           80% after $250 per admission copay
                                           and plan deductible
  Physician’s Services                     100% at LifeSOURCE center,             In-Network coverage only
                                           otherwise 80% after plan deductible
  Lifetime Travel Maximum:                 No charge (only available when         In-Network coverage only
  $10,000 per transplant                   using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                   80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited
  .                                                                               Charge after plan deductible
Outpatient Dialysis Services
 Physician's Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                           Specialist per office visit copay      Charge after plan deductible
  Outpatient Facility                      $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                           plan deductible                        of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician's Services                     80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Home Setting                             80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
Breast Feeding Equipment and
Supplies
  Note:                                    No charge                              60% of the Maximum Reimbursable
  Includes the rental of one breast                                               Charge after plan deductible
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                          OUT-OF-NETWORK
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited                                                                        Charge after plan deductible
  .
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
  .                                                                                Charge after plan deductible




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $25 PCP or $40        60% of the Maximum Reimbursable
                                            Specialist per office visit copay         Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%        $500 per admission deductible, then
                                            after plan deductible                     60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      $400 per visit deductible, then 60%
                                            plan deductible                           of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Physician’s Services                      80% after plan deductible                 60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
Hearing Aids
  Calendar Year Maximum:                    80% after plan deductible                 60% of the Maximum Reimbursable
  Unlimited                                                                           Charge after plan deductible
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  No charge after the $25 PCP or $40        In-Network coverage only
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%        In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible                 In-Network coverage only
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              $250 per admission copay, then 80%   $500 per admission deductible, then
   Includes Acute Inpatient and         after plan deductible                60% of the Maximum Reimbursable
   Residential Treatment                                                     Charge after plan deductible

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                  60% of the Maximum Reimbursable
   Includes individual, family and                                           Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible            60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                        Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .
Substance Use Disorder
  Inpatient                             $250 per admission copay, then 80%   $500 per admission deductible, then
    Includes Acute Inpatient            after plan deductible                60% of the Maximum Reimbursable
    Detoxification, Acute Inpatient                                          Charge after plan deductible
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                  60% of the Maximum Reimbursable
   Includes individual, family and                                           Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible            60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                        Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Bed and Board, for treatment listed               Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary
                                                                                 defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a                             the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in                     Schedule of the Bright Futures Recommendations for
    The Schedule.                                                                  Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest                         the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can                       on Heritable Disorders in Newborns and Children; and
    be provided.
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received                     care and screening guidelines supported by the Health
    at a Hospital.                                                                 Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Internal Prosthetic/Medical Appliances
    For additional information on immunizations, visit the               Charges for internal prosthetic/medical appliances that provide
    immunization schedule section of www.cdc.gov.                        permanent or temporary internal functional supports for non-
   charges for surgical and non-surgical treatment of                   functional body parts are covered. Medically Necessary repair,
    Temporomandibular Joint Dysfunction (TMJ).                           maintenance or replacement of a covered appliance is also
   charges for acupuncture.                                             covered.
   charges for hearing aids and associated exam for device
    testing and fitting, including but not limited to semi-              HC-COV1122                                                       01-22
    implantable hearing devices, audiant bone conductors and
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
                                                                         Home Health Care Services
    any device that amplifies sound.
                                                                         Charges for skilled care provided by certain health care
   Medically Necessary orthognathic surgery to repair or
                                                                         providers during a visit to the home, when the home is
    correct a severe facial deformity or disfigurement.
                                                                         determined to be a medically appropriate setting for the
Virtual Care                                                             services. A visit is defined as a period of 2 hours or less.
Dedicated Virtual Providers                                              Home Health Care Services are subject to a maximum of 16
Charges for the delivery of medical and health-related services          hours in total per day.
and consultations by dedicated virtual providers as medically            Home Health Care Services are covered when skilled care is
appropriate through audio, video, and secure internet-based              required under any of the following conditions:
technologies.                                                               the required skilled care cannot be obtained in an outpatient
Virtual Physician Services                                                   facility.
Charges for the delivery of medical and health-related services             confinement in a Hospital or Other Health Care Facility is
and consultations as medically appropriate through audio,                    not required.
video, and secure internet-based technologies that are similar              the patient’s home is determined by Cigna to be the most
to office visit services provided in a face-to-face setting.                 medically appropriate place to receive specific services.
Charges for behavioral consultations and services via secure             Covered services include:
telecommunications technologies that shall include video
                                                                            skilled nursing services provided by a Registered Nurse
capability, including telephones and internet, when delivered
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
through a behavioral provider.
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
Convenience Care Clinic                                                      (APRN).
Convenience Care Clinics provide for common ailments and                    services provided by health care providers such as physical
routine services, including but not limited to, strep throat, ear            therapist, occupational therapist and speech therapist.
infections or pink eye, immunizations and flu shots.
                                                                            services of a home health aide when provided in direct
Nutritional Counseling                                                       support of those nurses and health care providers.
Charges for nutritional counseling when diet is a part of the               necessary consumable medical supplies and home infusion
medical management of a medical or behavioral condition.                     therapy administered or used by a health care provider.
Enteral Nutrition                                                        Note: Physical, occupational, and other Outpatient Therapy
Enteral Nutrition means medical foods that are specially                 Services provided in the home are covered under the
formulated for enteral feedings or oral consumption.                     Outpatient Therapy Services benefit shown in The Schedule.
Coverage includes medically approved formulas prescribed by              The following are excluded from coverage:
a Physician for treatment of inborn errors of metabolism (e.g.,             services provided by a person who is a member of the
disorders of amino acid or organic acid metabolism).                         patient’s family, even when that person is a health care
                                                                             provider.
                                                                            services provided by a person who normally resides in the
                                                                             patient’s house, even when that person is a health care
                                                                             provider.
                                                                            non-skilled care, Custodial Services, and assistance in the
                                                                             activities of daily living, including but not limited to eating,



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    bathing, dressing or other services; self-care activities;                   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.                                            services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent                        to the extent that any other benefits are payable for those
upon others for non-skilled care and/or Custodial Services, is                    expenses under the policy;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                      services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


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Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes. In determining benefits payable, charges
those who have ceased treatment and to those continuing to                    made for the treatment of any physiological conditions related
receive curative treatment and therapies.                                     to Mental Health will not be considered to be charges made
                                                                              for treatment of Mental Health.
Hospice Care Programs rendered by Hospice Facilities or
Hospitals include services:                                                   Substance Use Disorder is defined as the psychological or
                                                                              physical dependence on alcohol or other mind-altering drugs
   by a Hospice Facility for Room and Board and Services and                 that requires diagnosis, care, and treatment. In determining
    Supplies;                                                                 benefits payable, charges made for the treatment of any
   by a Hospice Facility for services provided on an outpatient              physiological conditions related to rehabilitation services for
    basis;                                                                    alcohol or drug abuse or addiction will not be considered to be
   by a Physician for professional services;                                 charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or                     Inpatient Mental Health Services
    ordained minister for individual and family counseling;                   Services that are provided by a Hospital while you or your
   for pain relief treatment, including drugs, medicines and                 Dependent is Confined in a Hospital for the treatment and
    medical supplies;                                                         evaluation of Mental Health. Inpatient Mental Health Services
                                                                              include Mental Health Residential Treatment Services.
Hospice Care Programs rendered by Other Health Care
Facilities or in the Home include services:                                   Mental Health Residential Treatment Services are services
                                                                              provided by a Hospital for the evaluation and treatment of the
   for part-time or intermittent nursing care by or under the                psychological and social functional disturbances that are a
    supervision of a Nurse;                                                   result of subacute Mental Health conditions.
   for part-time or intermittent services of an Other Health                 Mental Health Residential Treatment Center means an
    Professional;                                                             institution which specializes in the treatment of psychological
   physical, occupational and speech therapy;                                and social disturbances that are the result of Mental Health
   medical supplies;                                                         conditions; provides a subacute, structured, psychotherapeutic
                                                                              treatment program, under the supervision of Physicians;
   drugs and medicines lawfully dispensed only on the written                provides 24-hour care, in which a person lives in an open
    prescription of a Physician;                                              setting; and is licensed in accordance with the laws of the
   laboratory services;                                                      appropriate legally authorized agency as a residential
    but only to the extent such charges would have been                       treatment center.
    payable under the policy if the person had remained or been               A person is considered confined in a Mental Health
    Confined in a Hospital or Hospice Facility.                               Residential Treatment Center when she/he is a registered bed
The following charges for Hospice Care Services are not                       patient in a Mental Health Residential Treatment Center upon
included as Covered Expenses:                                                 the recommendation of a Physician.
   services of a person who is a member of your family or your
    Dependent's family or who normally resides in your house
    or your Dependent's house;


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Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.
                                                                          developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use
                                                                          counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for occupational problems.
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,
                                                                          vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
Physicians; provides 24-hour care, in which a person lives in             I.Q. testing.
an open setting; and is licensed in accordance with the laws of           custodial care, including but not limited to geriatric day
the appropriate legally authorized agency as a residential                 care.
treatment center.
                                                                          psychological testing on children requested by or for a
A person is considered confined in a Substance Use Disorder                school system.
Residential Treatment Center when she/he is a registered bed


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   occupational/recreational therapy programs even if                             External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                      charges made or ordered by a Physician for: the initial
    decline.                                                                         purchase and fitting of external prosthetic appliances and
                                                                                     devices available only by prescription which are necessary
HC-COV481                                                             12-15
                                                                                     for the alleviation or correction of Injury, Sickness or
                                                                                     congenital defect.
                                                                                   External prosthetic appliances and devices include
Durable Medical Equipment
                                                                                   prostheses/prosthetic appliances and devices; orthoses and
 charges made for purchase or rental of Durable Medical                           orthotic devices; braces; and splints.
  Equipment that is ordered or prescribed by a Physician and
                                                                                   Prostheses/Prosthetic Appliances and Devices
  provided by a vendor approved by Cigna for use outside a
  Hospital or Other Health Care Facility. Coverage for repair,                     Prostheses/prosthetic appliances and devices are defined as
  replacement or duplicate equipment is provided only when                         fabricated replacements for missing body parts.
  required due to anatomical change and/or reasonable wear                         Prostheses/prosthetic appliances and devices include, but are
  and tear. All maintenance and repairs that result from a                         not limited to:
  person’s misuse are the person’s responsibility.                                    limb prostheses;
Durable Medical Equipment is defined as items which are                               terminal devices such as hands or hooks;
designed for and able to withstand repeated use by more than                          speech prostheses; and
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                              facial prostheses.
appropriate for use in the home; and are not disposable. Such                      Orthoses and Orthotic Devices
equipment includes, but is not limited to, crutches, hospital                      Orthoses and orthotic devices are defined as orthopedic
beds, ventilators, insulin pumps and wheel chairs.                                 appliances or apparatuses used to support, align, prevent or
Durable Medical Equipment items that are not covered include                       correct deformities. Coverage is provided for custom foot
but are not limited to those that are listed below:                                orthoses and other orthoses as follows:
   Bed Related Items: bed trays, over the bed tables, bed                            Non-foot orthoses – only the following non-foot orthoses
    wedges, pillows, custom bedroom equipment, mattresses,                             are covered:
    including nonpower mattresses, custom mattresses and                                rigid and semi-rigid custom fabricated orthoses;
    posturepedic mattresses.
                                                                                        semi-rigid prefabricated and flexible orthoses; and
   Bath Related Items: bath lifts, nonportable whirlpools,
    bathtub rails, toilet rails, raised toilet seats, bath benches,                     rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                           and basic additions, such as bars and joints.
    and spas.                                                                         Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair                            covered as follows:
    ramps.                                                                              for persons with impaired peripheral sensation and/or
 Car/Van Modifications.                                                                 altered peripheral circulation (e.g. diabetic neuropathy
                                                                                         and peripheral vascular disease);
 Air Quality Items: room humidifiers, vaporizers and air
                                                                                        when the foot orthosis is an integral part of a leg brace
  purifiers.
                                                                                         and is necessary for the proper functioning of the brace;
   Other Equipment: centrifuges, needleless injectors, heat
    lamps, heating pads, cryounits, cryotherapy machines,                               when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                             substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                             toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                         Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise                              for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.                                                    (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                         spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
HC-COV1124                                                            02-21
                                                                                         improvement.




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The following are specifically excluded orthoses and orthotic              myoelectric and orthoses.
devices:
   prefabricated foot orthoses;                                        HC-COV1125                                                       01-22
   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for
                                                                        Infertility Services
    synostotic plagiocephaly. When used for this indication, the
    cranial orthosis will be subject to the limitations and              charges made for services related to diagnosis of infertility
    maximums of the External Prosthetic Appliances and                    and treatment of infertility once a condition of infertility has
    Devices benefit;                                                      been diagnosed. Services include, but are not limited to:
                                                                          infertility drugs which are administered or provided by a
   orthosis shoes, shoe additions, procedures for foot
                                                                          Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;
                                                                          procedures that have been demonstrated in existing peer-
   non-foot orthoses primarily used for cosmetic rather than             reviewed, evidence-based, scientific literature to have a
    functional reasons; and                                               reasonable likelihood of resulting in pregnancy; laboratory
   non-foot orthoses primarily for improved athletic                     tests; sperm washing or preparation; artificial insemination;
    performance or sports participation.                                  diagnostic evaluations; gamete intrafallopian transfer
Braces                                                                    (GIFT); in vitro fertilization (IVF); zygote intrafallopian
                                                                          transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that
supports or holds in correct position any movable part of the               Infertility is defined as:
body and that allows for motion of that part.                                the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                         conception after at least one year of unprotected
scoliosis braces.                                                             intercourse;
                                                                             the inability of opposite-sex partners to achieve
Splints
                                                                              conception after six months of unprotected intercourse,
A Splint is defined as an appliance for preventing movement                   when the female partner trying to conceive is age 35 or
of a joint or for the fixation of displaced or movable parts.                 older;
Coverage for replacement of external prosthetic appliances                   the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                      partner, to achieve conception after at least six trials of
   replacement due to regular wear. Replacement for damage                   medically supervised artificial insemination over a one-
    due to abuse or misuse by the person will not be covered.                 year period; and
   replacement required because anatomic change has rendered                the inability of a woman, with or without an opposite-sex
    the external prosthetic appliance or device ineffective.                  partner, to achieve conception after at least three trials of
    Anatomic change includes significant weight gain or loss,                 medically supervised artificial insemination over a six-
    atrophy and/or growth.                                                    month period of time, when the female partner trying to
   replacement due to a surgical alteration or revision of the               conceive is age 35 or older.
    impacted site.                                                      This benefit includes diagnosis and treatment of both male and
Coverage for replacement is limited as follows:                         female infertility.
   no more than once every 24 months for persons 19 years of           However, the following are specifically excluded infertility
    age and older.                                                      services:
   no more than once every 12 months for persons 18 years of              reversal of male and female voluntary sterilization;
    age and under.                                                         infertility services when the infertility is caused by or
The following are specifically excluded external prosthetic                 related to voluntary sterilization;
appliances and devices:                                                    donor charges and services;
   external and internal power enhancements for external                  cryopreservation of donor sperm and eggs; and
    prosthetic devices; or                                                 any experimental, investigational or unproven infertility
   microprocessor controlled prostheses and orthoses; and                  procedures or therapies.


                                                                        HC-COV734                                                        01-19




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                                                                            Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                 the following criteria are met:
Charges for the following therapy services:                                    The individual’s condition has the potential to improve or is
                                                                                improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic                            improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                 There is an expectation that the anticipated improvement is
                                                                                attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                of time.
  part of a program of treatment.
                                                                               The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation                                                          of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                    scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac                 The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-                   appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                 purposes of enabling individuals to perform the activities of
                                                                            daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status           sensory integration therapy.
    achieved through Phases I and II. Phase IV is an                           treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                         maintenance or preventive treatment provided to prevent
                                                                                recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                               charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an                  setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                      vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                  Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                     constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                     A separate Copayment applies to the services provided by
                                                                                each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
                                                                            HC-COV982                                                     01-21
   Restore function (called “rehabilitative”):
     To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                             charges made for reconstructive surgery following a
      body part.
                                                                              mastectomy; benefits include: surgical services for
   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the non-
     To improve, adapt or attain function that has been                      diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                             prosthetics, limited to the lowest cost alternative available
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been
                                                                              mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health
                                                                              lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.                                        or correct a severe physical deformity or disfigurement
                                                                              which is accompanied by functional deficit; (other than



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    abnormalities of the jaw or conditions related to TMJ                    Coverage for organ procurement costs are limited to costs
    disorder) provided that: the surgery or therapy restores or              directly related to the procurement of an organ, from a cadaver
    improves function; reconstruction is required as a result of             or a live donor. Organ procurement costs shall consist of
    Medically Necessary, non-cosmetic surgery; or the surgery                hospitalization and surgery necessary for removal of an organ
    or therapy is performed prior to age 19 and is required as a             and transportation of a live donor (refer to Transplant and
    result of the congenital absence or agenesis (lack of                    Related Specialty Care Travel Services). Compatibility testing
    formation or development) of a body part. Repeat or                      undertaken prior to procurement is covered if Medically
    subsequent surgeries for the same condition are covered                  Necessary. Costs related to the search for, and identification of
    only when there is the probability of significant additional             a bone marrow or stem cell donor for an allogeneic transplant
    improvement as determined by the utilization review                      are also covered.
    Physician.                                                               Advanced cellular therapy, including but not limited to,
                                                                             immune effector cell therapies and Chimeric Antigen Receptor
HC-COV631                                                       12-17
                                                                             Therapy (CAR-T) cellular therapy, is covered when performed
                                                                             at a Cigna LifeSOURCE Transplant Network® facility with
                                                                             an approved stem cell transplant program. Advanced cellular
Transplant Services and Related Specialty Care                               therapy received at Participating Provider facilities
Charges made for human organ and tissue transplant services                  specifically contracted with Cigna for advanced cellular
which include solid organ and bone marrow/stem cell                          therapy, other than Cigna LifeSOURCE Transplant Network®
procedures at designated facilities throughout the United                    facilities, are payable at the In-Network level. Advanced
States or its territories. This coverage is subject to the                   cellular therapy received at any other facility, including non-
following conditions and limitations.                                        Participating Provider facilities and Participating Provider
                                                                             facilities not specifically contracted with Cigna for advanced
Transplant services include the recipient’s medical, surgical
                                                                             cellular therapy, are not covered.
and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell                    Transplant and Related Specialty Care Travel Services
procurement. Transplant services are covered only if they are                Charges made for non-taxable travel expenses incurred by you
required to perform any of the following human to human                      in connection with a preapproved organ/tissue transplant are
organ or tissue transplants: allogeneic bone marrow/stem cell,               covered subject to the following conditions and limitations:
autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                                Transplant and related specialty care travel benefits are not
kidney, kidney/pancreas, liver, lung, pancreas or intestine
                                                                                 available for cornea transplants.
which includes small bowel-liver or multi-visceral.
Implantation procedures are also covered for artificial heart,                  Benefits for transportation and lodging are available to the
percutaneous ventricular assist device (PVAD), extracorporeal                    recipient of a preapproved organ/tissue transplant and/or
membrane oxygenation (ECMO) ventricular assist device                            related specialty care from a designated Cigna
(VAD) and intra-aortic balloon pump (IABP) are also covered.                     LifeSOURCE Transplant Network® facility.
   All transplant services and related specialty care services,                The term recipient is defined to include a person receiving
    other than cornea transplants, are covered when received at                  authorized transplant related services during any of the
    Cigna LifeSOURCE Transplant Network® facilities.                             following: evaluation, candidacy, transplant event, or post-
                                                                                 transplant care.
   Transplant services and related specialty care services
    received at Participating Provider facilities specifically                  Travel expenses for the person receiving the transplant will
    contracted with Cigna for those transplant services and                      include charges for: transportation to and from the
    related specialty care services, other than Cigna                            designated Cigna LifeSOURCE Transplant Network®
    LifeSOURCE Transplant Network® facilities, are payable                       facility (including charges for a rental car used during a
    at the In-Network level.                                                     period of care at the designated Cigna LifeSOURCE
                                                                                 Transplant Network® facility); and lodging while at, or
   Transplant services and related specialty care services
                                                                                 traveling to and from, the designated Cigna LifeSOURCE
    received at any other facility, including non-Participating
                                                                                 Transplant Network® facility.
    Provider facilities and Participating Provider facilities not
    specifically contracted with Cigna for transplant services                  In addition to your coverage for the charges associated with
    and related specialty care services, are not covered.                        the items above, such charges will also be considered
                                                                                 covered travel expenses for one companion to accompany
   Cornea transplants received at a facility that is specifically
                                                                                 you. The term companion includes your spouse, a member
    contracted with Cigna for this type of transplant are payable
                                                                                 of your family, your legal guardian, or any person not
    at the In-Network level.



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    related to you, but actively involved as your caregiver who             requirements should apply. Economic factors may include, but
    is at least 18 years of age.                                            are not limited to, the Medical Pharmaceutical’s cost
   The following are specifically excluded travel expenses: any            including, but not limited to, assessments on the cost
    expenses that if reimbursed would be taxable income, travel             effectiveness of the Medical Pharmaceuticals and available
    costs incurred due to travel within 60 miles of your home;              rebates. Regardless of its eligibility for coverage under your
    food and meals; laundry bills; telephone bills; alcohol or              plan, whether a particular Prescription Drug Product is
    tobacco products; and charges for transportation that exceed            appropriate for you or any of your Dependents is a
    coach class rates.                                                      determination that is made by you (or your Dependent) and
                                                                            the prescribing Physician.
These benefits for Transplant Services and Related Specialty
Care, and for Transplant and Related Specialty Care Travel                  The coverage criteria for a Medical Pharmaceutical may
Services are only available when the covered person is the                  change periodically for various reasons. For example, a
recipient of an organ/tissue transplant. Travel expenses for the            Medical Pharmaceutical may be removed from the market, a
designated live donor for a covered recipient are covered                   new Medical Pharmaceutical in the same therapeutic class as a
subject to the same conditions and limitations noted above.                 Medical Pharmaceutical may become available, or other
Charges for the expenses of a donor companion are not                       market events may occur. Market events that may affect the
covered. No transplant and related specialty care services or               coverage status of a Medical Pharmaceutical include, but are
travel benefits are available when the covered person is the                not limited to, an increase in the cost of a Medical
donor for an organ/tissue transplant, the transplant recipient’s            Pharmaceutical.
plan would cover all donor costs.
                                                                            HC-COV1168                                                     01-22

HC-COV1126                                                     01-22
                                                                            Gene Therapy
Medical Pharmaceuticals                                                     Charges for gene therapy products and services directly
                                                                            related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                    Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                   products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.                 (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                      replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                         gene.
determined by Cigna), are required to be administered, or the
administration of which must be directly supervised, by a                      inactivating a disease-causing gene that may not be
qualified Physician or Other Health Professional. Benefits                      functioning properly.
payable under this section include Medical Pharmaceuticals                     introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                       treat a disease.
Physician or Other Health Professional oversight but may be                 Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the                 and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                     which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                        part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                    and administered.
Additionally, certain Medical Pharmaceuticals are subject to                Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive              medical, surgical, and facility services directly related to
benefits for such Medical Pharmaceuticals, you are required to              administration of the gene therapy product; and professional
try a different Medical Pharmaceutical and/or Prescription                  services.
Drug Product first.
                                                                            Gene therapy products and their administration are covered
Utilization management requirements or other coverage                       when prior authorized to be received at In-Network facilities
conditions are based on a number of factors, which may                      specifically contracted with Cigna for the specific gene
include clinical and economic factors. Clinical factors may                 therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                        administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management



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Gene Therapy Travel Services                                                 The clinical trial must be a phase I, phase II, phase III, or
Charges made for non-taxable travel expenses incurred by you                 phase IV clinical trial conducted in relation to the prevention,
in connection with a prior authorized gene therapy procedure                 detection, or treatment of cancer or other life-threatening
are covered subject to the following conditions and                          disease or condition that meets any of the following criteria:
limitations.                                                                    it is a federally funded trial. The study or investigation is
Benefits for transportation and lodging are available to you                     approved or funded (which may include funding through in-
only when you are the recipient of a prior authorized gene                       kind contributions) by one or more of the following:
therapy; and when the gene therapy products and services                          National Institutes of Health (NIH).
directly related to their administration are received at a                        Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with
                                                                                  Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
is defined to include a person receiving prior authorized gene                    Centers for Medicare and Medicaid Services (CMS).
therapy related services during any of the following:                             a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                          a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or
                                                                                  any of the following: Department of Energy, Department
traveling to and from, the site.
                                                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered
                                                                                      the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The
term companion includes your spouse, a member of your                                  approved through a system of peer review comparable
family, your legal guardian, or any person not related to you,                         to the system of peer review of studies and
                                                                                       investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years
                                                                                       (NIH); and
of age.
                                                                                      the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any
                                                                                       the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel
costs incurred due to travel within 60 miles of your home;                             who have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                        the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                  the study or investigation is a drug trial that is exempt

HC-COV873                                                       01-20
                                                                                   from having such an investigational new drug application.
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials
                                                                                services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The
individual must be eligible to participate according to the trial                 the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                       provided solely to satisfy data collection and analysis
                                                                                   needs.
   the referring health care professional is a participating
    health care provider and has concluded that the individual’s                  an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                           management of the individual.
                                                                                  a service that is clearly inconsistent with widely accepted
   the individual provides medical and scientific information
    establishing that the individual’s participation in the clinical               and established standards of care for a particular
    trial would be appropriate.                                                    diagnosis.
In addition to qualifying as an individual, the clinical trial                  an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                  charge for any person enrolled in the trial.
and services to be covered.



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   travel and transportation expenses, unless otherwise covered                  treatment of an Injury or Sickness which is due to war,
    under the plan, including but not limited to the following:                    declared, or undeclared.
     fees for personal vehicle, rental car, taxi, medical van,                   charges which you are not obligated to pay or for which you
      ambulance, commercial airline, train.                                        are not billed or for which you would not have been billed
     mileage reimbursement for driving a personal vehicle.                        except that they were covered under this plan. For example,
                                                                                   if Cigna determines that a provider or Pharmacy is or has
     lodging.
                                                                                   waived, reduced, or forgiven any portion of its charges
     meals.                                                                       and/or any portion of Copayment, Deductible, and/or
   routine patient costs obtained out-of-network when Out-of-                     Coinsurance amount(s) you are required to pay for a
    Network benefits do not exist under the plan.                                  Covered Expense (as shown on The Schedule) without
                                                                                   Cigna’s express consent, then Cigna in its sole discretion
Examples of routine patient care costs and services include:                       shall have the right to deny the payment of benefits in
   radiological services.                                                         connection with the Covered Expense, or reduce the
   laboratory services.                                                           benefits in proportion to the amount of the Copayment,
                                                                                   Deductible, and/or Coinsurance amounts waived, forgiven
   intravenous therapy.
                                                                                   or reduced, regardless of whether the provider or Pharmacy
   anesthesia services.                                                           represents that you remain responsible for any amounts that
   Physician services.                                                            your plan does not cover. In the exercise of that discretion,
                                                                                   Cigna shall have the right to require you to provide proof
   office services.
                                                                                   sufficient to Cigna that you have made your required cost
   Hospital services.                                                             share payment(s) prior to the payment of any benefits by
   Room and Board, and medical supplies that typically would                      Cigna. This exclusion includes, but is not limited to, charges
    be covered under the plan for an individual who is not                         of a non-Participating Provider who has agreed to charge
    enrolled in a clinical trial.                                                  you or charged you at an In-Network benefits level or some
Clinical trials conducted by Out-of-Network providers will be                      other benefits level not otherwise applicable to the services
covered only when the following conditions are met:                                received.
                                                                                  charges arising out of or relating to any violation of a
 In-Network providers are not participating in the clinical
                                                                                   healthcare-related state or federal law or which themselves
    trial; or
                                                                                   are a violation of a healthcare-related state or federal law.
   the clinical trial is conducted outside the individual’s state
                                                                                  assistance in the activities of daily living, including but not
    of residence.
                                                                                   limited to eating, bathing, dressing or other Custodial
                                                                                   Services or self-care activities, homemaker services and
HC-COV1128                                                        01-22            services primarily for rest, domiciliary or convalescent care.
                                                                                  for or in connection with experimental, investigational or
                                                                                   unproven services.
Exclusions, Expenses Not Covered and                                               Experimental, investigational and unproven services are
                                                                                   medical, surgical, diagnostic, psychiatric, substance use
General Limitations                                                                disorder or other health care technologies, supplies,
Exclusions and Expenses Not Covered                                                treatments, procedures, drug or Biologic therapies or
Additional coverage limitations determined by plan or                              devices that are determined by the utilization review
provider type are shown in The Schedule. Payment for the                           Physician to be:
following is specifically excluded from this plan:                                  not approved by the U.S. Food and Drug Administration
 care for health conditions that are required by state or local                     (FDA) or other appropriate regulatory agency to be
  law to be treated in a public facility.                                            lawfully marketed;
   care required by state or federal law to be supplied by a                       not demonstrated, through existing peer-reviewed,
    public school system or school district.                                         evidence-based, scientific literature to be safe and
                                                                                     effective for treating or diagnosing the condition or
   care for military service disabilities treatable through                         Sickness for which its use is proposed;
    governmental services if you are legally entitled to such
    treatment and facilities are reasonably available.                              the subject of review or approval by an Institutional
                                                                                     Review Board for the proposed use except as provided in
                                                                                     the “Clinical Trials” sections of this plan; or


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     the subject of an ongoing phase I, II or III clinical trial,              weight loss programs or treatments, whether prescribed or
      except for routine patient care costs related to qualified                 recommended by a Physician or under medical
      clinical trials as provided in the “Clinical Trials” sections              supervision.
      of this plan.                                                           unless otherwise covered in this plan, for reports,
    In determining whether any such technologies, supplies,                    evaluations, physical examinations, or hospitalization not
    treatments, drug or Biologic therapies, or devices are                     required for health reasons, including but not limited to
    experimental, investigational, and/or unproven, the                        employment, insurance or government licenses, and court-
    utilization review Physician may rely on the clinical                      ordered, forensic or custodial evaluations.
    coverage policies maintained by Cigna or the Review                       court-ordered treatment or hospitalization, unless such
    Organization. Clinical coverage policies may incorporate,                  treatment is prescribed by a Physician and listed as covered
    without limitation and as applicable, criteria relating to U.S.            in this plan.
    Food and Drug Administration-approved labeling, the
    standard medical reference compendia and peer-reviewed,                   any medications, drugs, services or supplies for the
    evidence-based scientific literature or guidelines.                        treatment of male or female sexual dysfunction such as, but
                                                                               not limited to, treatment of erectile dysfunction (including
   cosmetic surgery and therapies. Cosmetic surgery or therapy                penile implants), anorgasmy, and premature ejaculation.
    is defined as surgery or therapy performed to improve or
    alter appearance or self-esteem.                                          medical and Hospital care and costs for the infant child of a
                                                                               Dependent, unless this infant child is otherwise eligible
   the following services are excluded from coverage                          under this plan.
    regardless of clinical indications: surgical treatment of
    varicose veins; abdominoplasty; panniculectomy;                           non-medical counseling and/or ancillary services, including
    rhinoplasty; blepharoplasty; redundant skin surgery;                       but not limited to Custodial Services, educational services,
    removal of skin tags; acupressure; dance therapy; movement                 vocational counseling, training and, rehabilitation services,
    therapy; applied kinesiology; rolfing; prolotherapy; and                   behavioral training, biofeedback, neurofeedback, hypnosis,
    extracorporeal shock wave lithotripsy (ESWL) for                           sleep therapy, return to work services, work hardening
    musculoskeletal and orthopedic conditions.                                 programs and driver safety courses.
   dental treatment of the teeth, gums or structures directly                therapy or treatment intended primarily to improve or
    supporting the teeth, including dental X-rays, examinations,               maintain general physical condition or for the purpose of
    repairs, orthodontics, periodontics, casts, splints and                    enhancing job, school, athletic or recreational performance,
    services for dental malocclusion, for any condition. Charges               including but not limited to routine, long term, or
    made for services or supplies provided for or in connection                maintenance care which is provided after the resolution of
    with an accidental Injury to teeth are covered provided a                  the acute medical problem and when significant therapeutic
    continuous course of dental treatment is started within six                improvement is not expected.
    months of an accident.                                                    consumable medical supplies other than ostomy supplies
   for medical and surgical services intended primarily for the               and urinary catheters. Excluded supplies include, but are not
    treatment or control of obesity. However, treatment of                     limited to bandages and other disposable medical supplies,
    clinically severe obesity, as defined by the Body Mass                     skin preparations and test strips, except as specified in the
    Index (BMI) classifications of the National Heart, Lung,                   “Home Health Care Services” or “Breast Reconstruction
    and Blood Institute (NHLBI) guideline is covered only at                   and Breast Prostheses” sections of this plan.
    approved centers if the services are demonstrated, through                private Hospital rooms and/or private duty nursing except as
    existing peer-reviewed, evidence-based, scientific literature              provided under the Home Health Care Services provision.
    and scientifically based guidelines, to be safe and effective             personal or comfort items such as personal care kits
    for treatment of the condition. Clinically severe obesity is               provided on admission to a Hospital, television, telephone,
    defined by the NHLBI as a BMI of 40 or greater without                     newborn infant photographs, complimentary meals, birth
    comorbidities, or 35-39 with comorbidities. The following                  announcements, and other articles which are not for the
    are specifically excluded:                                                 specific treatment of an Injury or Sickness.
     medical and surgical services to alter appearances or                   artificial aids, including but not limited to corrective
      physical changes that are the result of any surgery                      orthopedic shoes, arch supports, elastic stockings, garter
      performed for the management of obesity or clinically                    belts, corsets, dentures and wigs.
      severe (morbid) obesity; and
                                                                              aids or devices that assist with non-verbal communications,
                                                                               including but not limited to communication boards, pre-
                                                                               recorded speech devices, laptop computers, desktop


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    computers, Personal Digital Assistants (PDAs), Braille                  expenses incurred by a participant to the extent
    typewriters, visual alert systems for the deaf and memory                reimbursable under automobile insurance coverage.
    books.                                                                   Coverage under this plan is secondary to automobile no-
   eyeglass lenses and frames and contact lenses (except for                fault insurance or similar coverage. The coverage provided
    the first pair of contact lenses or the first set of eyeglass            under this plan does not constitute “Qualified Health
    lenses and frames, and associated services, for treatment of             Coverage” under Michigan law and therefore does not
    keratoconus or following cataract surgery).                              replace Personal Injury Protection (PIP) coverage provided
                                                                             under an automobile insurance policy issued to a Michigan
   routine refractions, eye exercises and surgical treatment for            resident. This plan will cover expenses only not otherwise
    the correction of a refractive error, including radial                   covered by the PIP coverage.
    keratotomy.
   all non-injectable prescription drugs, unless Physician
                                                                         General Limitations
    administration or oversight is required, injectable                  No payment will be made for expenses incurred for you or any
    prescription drugs to the extent they do not require                 one of your Dependents:
    Physician supervision and are typically considered self-                for charges by a Hospital owned or operated by or which
    administered drugs, non-prescription drugs, and                          provides care or performs services for, the United States
    investigational and experimental drugs, except as provided               Government, if such charges are directly related to a
    in this plan.                                                            military-service-connected Injury or Sickness.
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered when Medically
                                                                            to the extent that payment is unlawful where the person
    Necessary.
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
                                                                            for charges which would not have been made if the person
    weight loss programs and smoking cessation programs.
                                                                             had no insurance.
   genetic screening or pre-implantations genetic screening.
                                                                            to the extent that they are more than Maximum
    General population-based genetic screening is a testing
                                                                             Reimbursable Charges.
    method performed in the absence of any symptoms or any
    significant, proven risk factors for genetically linked                 to the extent of the exclusions imposed by any certification
    inheritable disease.                                                     requirement shown in this plan.
   dental implants for any condition.                                      expenses for supplies, care, treatment, or surgery that are
                                                                             not Medically Necessary.
   fees associated with the collection or donation of blood or
    blood products, except for autologous donation in                       charges by any covered provider who is a member of your
    anticipation of scheduled services where in the utilization              family or your Dependent's family.
    review Physician’s opinion the likelihood of excess blood               expenses incurred outside the United States other than
    loss is such that transfusion is an expected adjunct to                  expenses for Medically Necessary urgent or emergent care
    surgery.                                                                 while temporarily traveling abroad.
   blood administration for the purpose of general
    improvement in physical condition.
                                                                         HC-EXC466                                                         01-22
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational
    hazards and risks.
   cosmetics, dietary supplements and health and beauty aids.
                                                                         Coordination of Benefits
                                                                         This section applies if you or any one of your Dependents is
   enteral feedings, supplies and specially formulated medical
                                                                         covered under more than one Plan and determines how
    foods that are prescribed and non-prescribed, except for
                                                                         benefits payable from all such Plans will be coordinated. You
    infant formula needed for the treatment of inborn errors of
                                                                         should file all claims with each Plan.
    metabolism.
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.
   massage therapy.


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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an employee shall
each service is the Allowable Expense and is a paid benefit.               be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active employee (or as that              recorded for you to pay up to 100% of the total of all
    employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired employee (or as             Period, your benefit reserve will return to zero and a new
    that employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the Policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    employee or retiree (or as that employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare Plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this Policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 55 days of the request, the claim will be
Effect on the Benefits of This Plan                                         closed. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB272                                                       01-21

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                 No adult Participant hereunder may assign any rights that it
   Expenses incurred by a Participant to the extent any                    may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly              or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,           adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                    of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                   decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                             settlements or recoveries.
    compensation, government insurance (other than Medicaid),                No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                             The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a                  No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether                  The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                             The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by                In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                      Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                     the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                     the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                              the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                     the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                     the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in                  the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal                    Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Leave of Absence                                                           Notice of Provider Directory/Networks
If your Active Service ends due to leave of absence, your                  Notice Regarding Provider Directories and Provider
insurance will be continued until the date as determined by                Networks
your Employer.
                                                                           A list of network providers is available to you without charge
Injury or Sickness                                                         by visiting the website or by calling the phone number on your
If your Active Service ends due to an Injury or Sickness, your             ID card. The network consists of providers, including
insurance will be continued while you remain totally and                   hospitals, of varied specialties as well as general practice,
continuously disabled as a result of the Injury or Sickness.               affiliated or contracted with Cigna or an organization
However, your insurance will not continue past the date your               contracting on its behalf.
Employer cancels your insurance.
                                                                           HC-FED78                                                      10-10
Dependents
Your insurance for all of your Dependents will cease on the
earliest date below:                                                       Qualified Medical Child Support Order
   the date your insurance ceases.                                        (QMCSO)
   the date you cease to be eligible for Dependent Insurance.             Eligibility for Coverage Under a QMCSO
   the last day for which you have made any required                      If a Qualified Medical Child Support Order (QMCSO) is
    contribution for the insurance.                                        issued for your child, that child will be eligible for coverage as
   the date Dependent Insurance is cancelled.                             required by the order and you will not be considered a Late
The insurance for any one of your Dependents will cease on                 Entrant for Dependent Insurance.
the date that Dependent no longer qualifies as a Dependent.                You must notify your Employer and elect coverage for that
                                                                           child, and yourself if you are not already enrolled, within 31
                                                                           days of the QMCSO being issued.
HC-TRM128                                                     12-17
                                                                           Qualified Medical Child Support Order Defined
                                                                           A Qualified Medical Child Support Order is a judgment,
                                                                           decree or order (including approval of a settlement agreement)
Rescissions
                                                                           or administrative notice, which is issued pursuant to a state
Your coverage may not be rescinded (retroactively terminated)              domestic relations law (including a community property law),
by Cigna or the plan sponsor unless the plan sponsor or an                 or to an administrative process, which provides for child
individual (or a person seeking coverage on behalf of the                  support or provides for health benefit coverage to such child
individual) performs an act, practice or omission that                     and relates to benefits under the group health plan, and
constitutes fraud; or the plan sponsor or individual (or a                 satisfies all of the following:
person seeking coverage on behalf of the individual) makes an
                                                                              the order recognizes or creates a child’s right to receive
intentional misrepresentation of material fact.
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
HC-TRM80                                                      01-11           the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Federal Requirements                                                           subdivision may be substituted for the child’s mailing
                                                                               address;
The following pages explain your rights and responsibilities
                                                                              the order provides a description of the coverage to be
under federal laws and regulations. Some states may have
                                                                               provided, or the manner in which the type of coverage is to
similar requirements. If a similar provision appears elsewhere
                                                                               be determined;
in this booklet, the provision which provides the better benefit
will apply.                                                                   the order states the period to which it applies; and
                                                                              if the order is a National Medical Support Notice completed
                                                                               in accordance with the Child Support Performance and
HC-FED1                                                       10-10
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.



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The QMCSO may not require the health insurance policy to                      in the Plan. You must request enrollment within 60 days
provide coverage for any type or form of benefit or option not                after termination of Medicaid or CHIP coverage.
otherwise provided under the policy, except that an order may                Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
Payment of Benefits                                                           for the other coverage is lost, you and all of your eligible
Any payment of benefits in reimbursement for Covered                          Dependent(s) may request special enrollment in this Plan. If
Expenses paid by the child, or the child’s custodial parent or                required by the Plan, when enrollment in this Plan was
legal guardian, shall be made to the child, the child’s custodial             previously declined, it must have been declined in writing
parent or legal guardian, or a state official whose name and                  with a statement that the reason for declining enrollment
address have been substituted for the name and address of the                 was due to other health coverage. This provision applies to
child.                                                                        loss of eligibility as a result of any of the following:
                                                                               divorce or legal separation;

HC-FED4                                                      10-10
                                                                               cessation of Dependent status (such as reaching the
                                                                                limiting age);
                                                                               death of the Employee;

Special Enrollment Rights Under the Health                                     termination of employment;
Insurance Portability & Accountability Act                                     reduction in work hours to below the minimum required
(HIPAA)                                                                         for eligibility;
If you or your eligible Dependent(s) experience a special                      you or your Dependent(s) no longer reside, live or work
enrollment event as described below, you or your eligible                       in the other plan’s network service area and no other
Dependent(s) may be entitled to enroll in the Plan outside of a                 coverage is available under the other plan;
designated enrollment period upon the occurrence of one of                     you or your Dependent(s) incur a claim which meets or
the special enrollment events listed below. If you are already                  exceeds the lifetime maximum limit that is applicable to
enrolled in the Plan, you may request enrollment for you and                    all benefits offered under the other plan; or
your eligible Dependent(s) under a different option offered by                 the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible                         Termination of Employer contributions (excluding
Dependent(s). You and all of your eligible Dependent(s) must                  continuation coverage). If a current or former Employer
be covered under the same option. The special enrollment                      ceases all contributions toward the Employee’s or
events include:                                                               Dependent’s other coverage, special enrollment may be
                                                                              requested in this Plan for you and all of your eligible
   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment               Exhaustion of COBRA or other continuation coverage.
    for any of the following combinations of individuals if not               Special enrollment may be requested in this Plan for you
    already enrolled in the Plan: Employee only; spouse only;                 and all of your eligible Dependent(s) upon exhaustion of
    Employee and spouse; Dependent child(ren) only;                           COBRA or other continuation coverage. If you or your
    Employee and Dependent child(ren); Employee, spouse and                   Dependent(s) elect COBRA or other continuation coverage
    Dependent child(ren). Enrollment of Dependent children is                 following loss of coverage under another plan, the COBRA
    limited to the newborn or adopted children or children who                or other continuation coverage must be exhausted before
    became Dependent children of the Employee due to                          any special enrollment rights exist under this Plan. An
    marriage.                                                                 individual is considered to have exhausted COBRA or other
                                                                              continuation coverage only if such coverage ceases: due to
   Loss of eligibility for State Medicaid or Children’s                      failure of the Employer or other responsible entity to remit
    Health Insurance Program (CHIP). If you and/or your                       premiums on a timely basis; when the person no longer
    Dependent(s) were covered under a state Medicaid or CHIP                  resides or works in the other plan’s service area and there is
    plan and the coverage is terminated due to a loss of                      no other COBRA or continuation coverage available under
    eligibility, you may request special enrollment for yourself              the plan; or when the individual incurs a claim that would
    and any affected Dependent(s) who are not already enrolled                meet or exceed a lifetime maximum limit on all benefits and
                                                                              there is no other COBRA or other continuation coverage


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    available to the individual. This does not include                        if your Employer agrees, and you meet the criteria shown in
    termination of an Employer’s limited period of                             the following Sections B through H and enroll for or change
    contributions toward COBRA or other continuation                           coverage within the time period established by your
    coverage as provided under any severance or other                          Employer.
    agreement.                                                             B. Change of status
   Eligibility for employment assistance under State                      A change in status is defined as:
    Medicaid or Children’s Health Insurance Program
    (CHIP). If you and/or your Dependent(s) become eligible                   change in legal marital status due to marriage, death of a
    for assistance with group health plan premium payments                     spouse, divorce, annulment or legal separation;
    under a state Medicaid or CHIP plan, you may request                      change in number of Dependents due to birth, adoption,
    special enrollment for yourself and any affected                           placement for adoption, or death of a Dependent;
    Dependent(s) who are not already enrolled in the Plan. You                change in employment status of Employee, spouse or
    must request enrollment within 60 days after the date you                  Dependent due to termination or start of employment,
    are determined to be eligible for assistance.                              strike, lockout, beginning or end of unpaid leave of absence,
Except as stated above, special enrollment must be                             including under the Family and Medical Leave Act
requested within 30 days after the occurrence of the                           (FMLA), or change in worksite;
special enrollment event. If the special enrollment event is                  changes in employment status of Employee, spouse or
the birth or adoption of a Dependent child, coverage will                      Dependent resulting in eligibility or ineligibility for
be effective immediately on the date of birth, adoption or                     coverage;
placement for adoption. Coverage with regard to any other
                                                                              change in residence of Employee, spouse or Dependent to a
special enrollment event will be effective no later than the
                                                                               location outside of the Employer’s network service area;
first day of the first calendar month following receipt of
                                                                               and
the request for special enrollment.
Domestic Partners and their children (if not legal children of                changes which cause a Dependent to become eligible or
                                                                               ineligible for coverage.
the Employee) are not eligible for special enrollment.
Although federal law does not extend special enrollment rights             C. Court order
to Domestic Partners, this plan will extend these same benefits            A change in coverage due to and consistent with a court order
to Domestic Partners (and their children if not legal children             of the Employee or other person to cover a Dependent.
of the Employee) to the same extent they are provided to                   D. Medicare or Medicaid eligibility/entitlement
spouses and legal children of the Employee.
                                                                           The Employee, spouse or Dependent cancels or reduces
                                                                           coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                      04-17        enrolls or increases coverage due to loss of Medicare or
                                                                           Medicaid eligibility.
                                                                           E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                              If the cost of benefits increases or decreases during a benefit
Plan                                                                       period, your Employer may, in accordance with plan terms,
                                                                           automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                    When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax               increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                     a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                  you have elected, you may elect another available benefit
(salary).                                                                  option. When a new benefit option is added, you may change
                                                                           your election to the new benefit option.
A. Coverage elections
                                                                           F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to
                                                                           another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                   You may make a coverage election change if the plan of your
                                                                           spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as
                                                                           deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or
                                                                           Special Enrollment, Change in Status, Court Order or
                                                                           Medicare or Medicaid Eligibility/Entitlement; or this Plan and



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the other plan have different periods of coverage or open                less than 48 hours following a vaginal delivery, or less than 96
enrollment periods.                                                      hours following a cesarean section; or require that a provider
G. Reduction in work hours                                               obtain authorization from the plan or insurance issuer for
                                                                         prescribing a length of stay not in excess of the above periods.
If an Employee’s work hours are reduced below 30                         The law generally does not prohibit an attending provider of
hours/week (even if it does not result in the Employee losing            the mother or newborn, in consultation with the mother, from
eligibility for the Employer’s coverage); and the Employee               discharging the mother or newborn earlier than 48 or 96 hours,
(and family) intend to enroll in another plan that provides              as applicable.
Minimum Essential Coverage (MEC). The new coverage must
be effective no later than the 1st day of the 2nd month                  Please review this Plan for further details on the specific
following the month that includes the date the original                  coverage available to you and your Dependents.
coverage is revoked.
H. Enrollment in a Qualified Health Plan (QHP)                           HC-FED11                                                       10-10

The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                  Women’s Health and Cancer Rights Act
during the Marketplace’s annual open enrollment period; and              (WHCRA)
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP                Do you know that your plan, as required by the Women’s
through a Marketplace for new coverage effective beginning               Health and Cancer Rights Act of 1998, provides benefits for
no later than the day immediately following the last day of the          mastectomy-related services including all stages of
original coverage.                                                       reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
HC-FED95                                                    04-17        the toll free number listed on your ID card for more
                                                                         information.

Eligibility for Coverage for Adopted Children                            HC-FED12                                                       10-10

Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date           Group Plan Coverage Instead of Medicaid
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
                                                                         premiums for this coverage instead of for Medicaid, if it is
If a child placed for adoption is not adopted, all health                cost effective. This includes premiums for continuation
coverage ceases when the placement ends, and will not be                 coverage required by federal law.
continued.
The provisions in the “Exception for Newborns” section of
                                                                         HC-FED13                                                       10-10
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.


HC-FED67                                                    09-14




Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to


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Requirements of Family and Medical Leave Act                               For leaves of 31 days or more, you may continue coverage for
of 1993 (as amended) (FMLA)                                                yourself and your Dependents as follows:
Any provisions of the policy that provide for: continuation of             You may continue benefits by paying the required premium to
insurance during a leave of absence; and reinstatement of                  your Employer, until the earliest of the following:
insurance following a return to Active Service; are modified                  24 months from the last day of employment with the
by the following provisions of the federal Family and Medical                  Employer;
Leave Act of 1993, as amended, where applicable:                              the day after you fail to return to work; and
Continuation of Health Insurance During Leave                                 the date the policy cancels.
Your health insurance will be continued during a leave of                  Your Employer may charge you and your Dependents up to
absence if:                                                                102% of the total premium.
   that leave qualifies as a leave of absence under the Family            Reinstatement of Benefits (applicable to all coverages)
    and Medical Leave Act of 1993, as amended; and
                                                                           If your coverage ends during the leave of absence because you
   you are an eligible Employee under the terms of that Act.              do not elect USERRA at the expiration of USERRA and you
The cost of your health insurance during such leave must be                are reemployed by your current Employer, coverage for you
paid, whether entirely by your Employer or in part by you and              and your Dependents may be reinstated if you gave your
your Employer.                                                             Employer advance written or verbal notice of your military
Reinstatement of Canceled Insurance Following Leave                        service leave, and the duration of all military leaves while you
                                                                           are employed with your current Employer does not exceed 5
Upon your return to Active Service following a leave of                    years.
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life              You and your Dependents will be subject to only the balance
or disability) will be reinstated as of the date of your return.           of a waiting period that was not yet satisfied before the leave
                                                                           began. However, if an Injury or Sickness occurs or is
You will not be required to satisfy any eligibility or benefit             aggravated during the military leave, full Plan limitations will
waiting period to the extent that they had been satisfied prior            apply.
to the start of such leave of absence.
                                                                           If your coverage under this plan terminates as a result of your
Your Employer will give you detailed information about the                 eligibility for military medical and dental coverage and your
Family and Medical Leave Act of 1993, as amended.                          order to active duty is canceled before your active duty service
                                                                           commences, these reinstatement rights will continue to apply.
HC-FED93                                                      10-17

                                                                           HC-FED18                                                     10-10



Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)                                     Claim Determination Procedures under ERISA
The Uniformed Services Employment and Re-employment                        The following complies with federal law. Provisions of
Rights Act of 1994 (USERRA) sets requirements for                          applicable laws of your state may supersede.
continuation of health coverage and re-employment in regard                Procedures Regarding Medical Necessity Determinations
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you                  In general, health services and benefits must be Medically
and your Dependents. They do not apply to any Life, Short-                 Necessary to be covered under the plan. The procedures for
term or Long-term Disability or Accidental Death &                         determining Medical Necessity vary, according to the type of
Dismemberment coverage you may have.                                       service or benefit requested, and the type of health plan.
                                                                           Medical Necessity determinations are made on a preservice,
Continuation of Coverage                                                   concurrent, or postservice basis, as described below:
For leaves of less than 31 days, coverage will continue as                 Certain services require prior authorization in order to be
described in the Termination section regarding Leave of                    covered. The booklet describes who is responsible for
Absence.                                                                   obtaining this review. You or your authorized representative
                                                                           (typically, your health care professional) must request prior
                                                                           authorization according to the procedures described below, in




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the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific


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plan provisions on which the determination is based; a                     HC-FED88                                                       01-17
description of any additional material or information necessary
to perfect the claim and an explanation of why such material
or information is necessary; a description of the plan’s review
procedures and the time limits applicable, including a
                                                                           Medical - When You Have a Complaint or an
statement of a claimant’s rights to bring a civil action under             Appeal
section 502(a) of ERISA following an adverse benefit                       For the purposes of this section, any reference to "you" or
determination on appeal, (if applicable); upon request and free            "your" also refers to a representative or provider designated by
of charge, a copy of any internal rule, guideline, protocol or             you to act on your behalf; unless otherwise noted.
other similar criterion that was relied upon in making the                 We want you to be completely satisfied with the services you
adverse determination regarding your claim; and an                         receive. That is why we have established a process for
explanation of the scientific or clinical judgment for a                   addressing your concerns and solving your problems.
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a              Start With Customer Service
description of any available internal appeal and/or external               We are here to listen and help. If you have a concern
review process(es); information about any office of health                 regarding a person, a service, the quality of care, contractual
insurance consumer assistance or ombudsman available to                    benefits, or a rescission of coverage, you may call the toll-
assist you with the appeal process; and in the case of a claim             free number on your ID card, explanation of benefits, or
involving urgent care, a description of the expedited review               claim form and explain your concern to one of our Customer
process applicable to such claim.                                          Service representatives. You may also express that concern
                                                                           in writing.
HC-FED104                                                     01-19
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
                                                                           concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
Appointment of Authorized Representative                                   results of a coverage decision, you may start the appeals
You may appoint an authorized representative to assist you in              procedure.
submitting a claim or appealing a claim denial. However,                   Internal Appeals Procedure
Cigna may require you to designate your authorized
                                                                           To initiate an appeal of an adverse benefit determination, you
representative in writing using a form approved by Cigna. At
                                                                           must submit a request for an appeal to Cigna within 180 days
all times, the appointment of an authorized representative is
                                                                           of receipt of a denial notice. If you appeal a reduction or
revocable by you. To ensure that a prior appointment remains
                                                                           termination in coverage for an ongoing course of treatment
valid, Cigna may require you to re-appoint your authorized
                                                                           that Cigna previously approved, you will receive, as required
representative, from time to time.
                                                                           by applicable law, continued coverage pending the outcome of
Cigna reserves the right to refuse to honor the appointment of             an appeal.
a representative if Cigna reasonably determines that:
                                                                           You should state the reason why you feel your appeal should
   the signature on an authorized representative form may not             be approved and include any information supporting your
    be yours, or                                                           appeal. If you are unable or choose not to write, you may ask
   the authorized representative may not have disclosed to you            Cigna to register your appeal by telephone. Call or write us at
    all of the relevant facts and circumstances relating to the            the toll-free number on your ID card, explanation of benefits,
    overpayment or underpayment of any claim, including, for               or claim form.
    example, that the billing practices of the provider of medical         Your appeal will be reviewed and the decision made by
    services may have jeopardized your coverage through the                someone not involved in the initial decision. Appeals
    waiver of the cost-sharing amounts that you are required to            involving Medical Necessity or clinical appropriateness will
    pay under your plan.                                                   be considered by a health care professional.
If your designation of an authorized representative is revoked,            We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a             concurrent care coverage determination or a postservice
form approved by Cigna.                                                    Medical Necessity determination. We will respond within 60
                                                                           calendar days after we receive an appeal for any other
                                                                           postservice coverage determination. If more time or
                                                                           information is needed to make the determination, we will


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notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
In the event any new or additional information (evidence) is            including, if applicable, the denial code and its meaning and a
considered, relied upon or generated by Cigna in connection             description of any standard that was used in the denial;
with the appeal, this information will be provided                      reference to the specific plan provisions on which the
automatically to you as soon as possible and sufficiently in            determination is based; a statement that the claimant is entitled
advance of the decision, so that you will have an opportunity           to receive, upon request and free of charge, reasonable access
to respond. Also, if any new or additional rationale is                 to and copies of all documents, records, and other Relevant
considered by Cigna, Cigna will provide the rationale to you            Information as defined below; a statement describing any
as soon as possible and sufficiently in advance of the decision         voluntary appeal procedures offered by the plan and the
so that you will have an opportunity to respond.                        claimant's right to bring an action under ERISA section
                                                                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
External Review Procedure                                               dispute resolution options such as Mediation. One way to find
                                                                        out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's
                                                                        Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are              Relevant Information
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
There is no charge for you to initiate an external review. Cigna        course of making the benefit determination, without regard to
and your benefit plan will abide by the decision of the IRO.            whether such document, record, or other information was
                                                                        relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator
                                                                        compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review
                                                                        required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected
                                                                        or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
                                                                        Legal Action
received emergency services, but you have not yet been
discharged from a facility, the external review shall be                If your plan is governed by ERISA, you have the right to bring
completed within 72 hours.                                              a civil action under section 502(a) of ERISA if you are not
                                                                        satisfied with the outcome of the Appeals Procedure. In most
Notice of Benefit Determination on Appeal                               instances, you may not initiate a legal action against Cigna
Every notice of a determination on appeal will be provided in           until you have completed the appeal processes. However, no
writing or electronically and, if an adverse determination, will        action will be brought at all unless brought within 3 years after
include: information sufficient to identify the claim including,        a claim is submitted for In-Network Services or within three


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years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
HC-FED110                                                        01-21
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Although federal law does not extend COBRA continuation
                                                                              rights to domestic partners, this plan will extend these same
What is COBRA Continuation Coverage?                                          continuation benefits to domestic partners (and their children
Under federal law, you and/or your Dependents must be given                   if not legal children of the Employee) to the same extent they
the opportunity to continue health insurance when there is a                  are provided to spouses of the opposite sex and legal children
“qualifying event” that would result in loss of coverage under                of the Employee.
the Plan. You and/or your Dependents will be permitted to                     Secondary Qualifying Events
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying                      If, as a result of your termination of employment or reduction
event occurred, unless you move out of that plan’s coverage                   in work hours, your Dependent(s) have elected COBRA
area or the plan is no longer available. You and/or your                      continuation coverage and one or more Dependents experience
Dependents cannot change coverage options until the next                      another COBRA qualifying event, the affected Dependent(s)
open enrollment period.                                                       may elect to extend their COBRA continuation coverage for
                                                                              an additional 18 months (7 months if the secondary event
When is COBRA Continuation Available?                                         occurs within the disability extension period) for a maximum
For you and your Dependents, COBRA continuation is                            of 36 months from the initial qualifying event. The second
available for up to 18 months from the date of the following                  qualifying event must occur before the end of the initial 18
qualifying events if the event would result in a loss of                      months of COBRA continuation coverage or within the
coverage under the Plan:                                                      disability extension period discussed below. Under no
   your termination of employment for any reason, other than                 circumstances will COBRA continuation coverage be
    gross misconduct; or                                                      available for more than 36 months from the initial qualifying
                                                                              event. Secondary qualifying events are: your death; your
   your reduction in work hours.
                                                                              divorce or legal separation; or, for a Dependent child, failure
For your Dependents, COBRA continuation coverage is                           to continue to qualify as a Dependent under the Plan.
available for up to 36 months from the date of the following
                                                                              Disability Extension
qualifying events if the event would result in a loss of
coverage under the Plan:                                                      If, after electing COBRA continuation coverage due to your
                                                                              termination of employment or reduction in work hours, you or
   your death;
                                                                              one of your Dependents is determined by the Social Security
   your divorce or legal separation; or                                      Administration (SSA) to be totally disabled under Title II or
   for a Dependent child, failure to continue to qualify as a                XVI of the SSA, you and all of your Dependents who have
    Dependent under the Plan.                                                 elected COBRA continuation coverage may extend such
                                                                              continuation for an additional 11 months, for a maximum of
Who is Entitled to COBRA Continuation?
                                                                              29 months from the initial qualifying event.
Only a “qualified beneficiary” (as defined by federal law) may
                                                                              To qualify for the disability extension, all of the following
elect to continue health insurance coverage. A qualified
                                                                              requirements must be satisfied:
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:                    SSA must determine that the disability occurred prior to or
you, your spouse, and your Dependent children. Each                               within 60 days after the disabled individual elected COBRA
qualified beneficiary has their own right to elect or decline                     continuation coverage; and
COBRA continuation coverage even if you decline or are not                       A copy of the written SSA determination must be provided
eligible for COBRA continuation.                                                  to the Plan Administrator within 60 calendar days after the
The following individuals are not qualified beneficiaries for                     date the SSA determination is made AND before the end of
purposes of COBRA continuation: domestic partners,                                the initial 18-month continuation period.
grandchildren (unless adopted by you), stepchildren (unless


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If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than         Your Employer is required to provide you and/or your
30 days after the date the SSA makes a final determination              Dependents with the following notices:
that the disabled individual is no longer disabled.                        An initial notification of COBRA continuation rights must
All causes for “Termination of COBRA Continuation” listed                   be provided within 90 days after your (or your spouse’s)
below will also apply to the period of disability extension.                coverage under the Plan begins (or the Plan first becomes
                                                                            subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your                 A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your
                                                                             if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.
                                                                              and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
   the end of the COBRA continuation period of 18, 29 or 36                 if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
   failure to pay the required premium within 30 calendar days               Plan Administrator of a qualifying event starts upon the
    after the due date;                                                       occurrence of a qualifying event, 44 days after the
                                                                              qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;
                                                                             in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for
    which the new plan limits or excludes coverage under a pre-         The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will            who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable           inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                 include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an          coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;            election no later than the due date stated on the COBRA
                                                                        election notice. If a written election notice is required, it must
   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your          furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through             qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your             on behalf of their Dependent children. You or your spouse



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may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%                  Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or                Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active               The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                 continuation coverage. If the bankruptcy results in a loss of


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coverage for you, your Dependents or your surviving spouse              Plan Trustees
within one year before or after such proceeding, you and your           A list of any Trustees of the Plan, which includes name, title
covered Dependents will become COBRA qualified                          and address, is available upon request to the Plan
beneficiaries with respect to the bankruptcy. You will be               Administrator.
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will               Plan Type
be entitled to COBRA continuation coverage for up to 36                 The plan is a healthcare benefit plan.
months following your death. However, COBRA continuation                Collective Bargaining Agreements
coverage will cease upon the occurrence of any of the events
                                                                        You may contact the Plan Administrator to determine whether
listed under “Termination of COBRA Continuation” above.
                                                                        the Plan is maintained pursuant to one or more collective
Interaction With Other Continuation Benefits                            bargaining agreements and if a particular Employer is a
You may be eligible for other continuation benefits under state         sponsor. A copy is available for examination from the Plan
law. Refer to the Termination section for any other                     Administrator upon written request.
continuation benefits.                                                  Discretionary Authority
                                                                        The Plan Administrator delegates to Cigna the discretionary
HC-FED66                                                   07-14        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
                                                                        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
ERISA Required Information                                              persons desiring to enroll in or claim benefits under the plan,
The name of the Plan is:                                                the determination of whether a person is entitled to benefits
  Sunrun Group Health Plan                                              under the plan, and the computation of any and all benefit
                                                                        payments. The Plan Administrator also delegates to Cigna the
The name, address, ZIP code and business telephone number
                                                                        discretionary authority to perform a full and fair review, as
of the sponsor of the Plan is:
                                                                        required by ERISA, of each claim denial which has been
  Sunrun Inc.                                                           appealed by the claimant or his duly authorized representative.
  225 Bush, Suite 1400
                                                                        Plan Modification, Amendment and Termination
  San Francisco, CA 94104
  805-540-7643                                                          The Employer as Plan Sponsor reserves the right to, at any
                                                                        time, change or terminate benefits under the Plan, to change or
Employer Identification            Plan Number:
                                                                        terminate the eligibility of classes of employees to be covered
Number (EIN):
                                                                        by the Plan, to amend or eliminate any other plan term or
262841711                          501                                  condition, and to terminate the whole plan or any part of it.
The name, address, ZIP code and business telephone number               Contact the Employer for the procedure by which benefits
of the Plan Administrator is:                                           may be changed or terminated, by which the eligibility of
  Employer named above                                                  classes of employees may be changed or terminated, or by
                                                                        which part or all of the Plan may be terminated. No consent of
The name, address and ZIP code of the person designated as              any participant is required to terminate, modify, amend or
agent for service of legal process is:                                  change the Plan.
  Employer named above                                                  Termination of the Plan together with termination of the
The office designated to consider the appeal of denied claims           insurance policy(s) which funds the Plan benefits will have no
is:                                                                     adverse effect on any benefits to be paid under the policy(s)
  The Cigna Claim Office responsible for this Plan                      for any covered medical expenses incurred prior to the date
                                                                        that policy(s) terminates. Likewise, any extension of benefits
The cost of the Plan is shared by Employee and Employer.                under the policy(s) due to you or your Dependent's total
The Plan’s fiscal year ends on 12/31.                                   disability which began prior to and has continued beyond the
The preceding pages set forth the eligibility requirements and          date the policy(s) terminates will not be affected by the Plan
benefits provided for you under this Plan.                              termination. Rights to purchase limited amounts of life and
                                                                        medical insurance to replace part of the benefits lost because
                                                                        the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights
                                                                          not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income
                                                                          administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan
                                                                          or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office             thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union           order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance            federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy               the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the             asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the             Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security                The court will decide who should pay court costs and legal
  Administration.                                                         fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator
                                                                          If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.
                                                                          the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
 continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
  Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
  result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
  have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
  governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
  continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of neuromusculoskeletal conditions through
Health Service Act (42 USC 262(i)) (as amended by the                     manipulation and ancillary physiological treatment rendered to
Biologics Price Competition and Innovation Act of 2009, title             specific joints to restore motion, reduce pain and improve
VII of the Patient Protection and Affordable Care Act, Pub. L.            function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS55                                                    04-10
                                                                                                                                        V1

HC-DFS840                                                    10-16

                                                                          Convenience Care Clinics
Biosimilar                                                                Convenience Care Clinics are staffed by nurse practitioners
A Biologic that is highly similar to the reference Biologic               and physician assistants and offer customers convenient,
product notwithstanding minor differences in clinically                   professional walk-in care for common ailments and routine
inactive components, and has no clinically meaningful                     services. Convenience Care Clinics have extended hours and
differences from the reference Biologic in terms of its safety,           are located in or near easy-to-access, popular locations
purity, and potency, as defined under Section 351(i) of the               (pharmacies, grocery and free-standing locations) with or
Public Health Service Act (42 USC 262(i)) (as amended by                  without appointment.
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,              HC-DFS1629                                                  07-21




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                                                                            Benefits for a Dependent child will continue until the last day
Custodial Services                                                          of the calendar month in which the limiting age is reached.
Any services that are of a sheltering, protective, or                       Anyone who is eligible as an Employee will not be considered
safeguarding nature. Such services may include a stay in an                 as a Dependent spouse. A child under age 26 may be covered
institutional setting, at-home care, or nursing services to care            as either an Employee or as a Dependent child. You cannot be
for someone because of age or mental or physical condition.                 covered as an Employee while also covered as a Dependent of
This service primarily helps the person in daily living.                    an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS872                                                       10-16
for himself or herself. Custodial Services include but are not
limited to:
   Services related to watching or protecting a person;                    Domestic Partner
   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                     shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                               has resided with you for no less than one year;
    can be self administered, and
                                                                               is no less than 18 years of age;
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                          is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
   any child of yours who is
                                                                               is not a blood relative any closer than would prohibit legal
     less than 26 years old.
                                                                                marriage; and
     26 or more years old, unmarried, and primarily supported
                                                                               has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after                has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition                  is currently legally married to another person; or
      and dependence.                                                          has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
See your Employer for continuation benefits that apply to your           providing claim administration services.
Domestic Partner and that Domestic Partner’s child.
                                                                         HC-DFS1615                                                      01-22
HC-DFS47                                                    04-10
                                                              V1
                                                                         Essential Health Benefits
                                                                         Essential health benefits means, to the extent covered under
Emergency Medical Condition                                              the plan, expenses incurred with respect to covered services, in
Emergency medical condition means a medical condition                    at least the following categories: ambulatory patient services,
which manifests itself by acute symptoms of sufficient                   emergency services, hospitalization, maternity and newborn
severity (including severe pain) such that a prudent layperson,          care, mental health and substance use disorder services,
who possesses an average knowledge of health and medicine,               including behavioral health treatment, prescription drugs,
could reasonably expect the absence of immediate medical                 rehabilitative and habilitative services and devices, laboratory
attention to result in placing the health of the individual (or,         services, preventive and wellness services and chronic disease
with respect to a pregnant woman, the health of the woman or             management and pediatric services, including oral and vision
her unborn child) in serious jeopardy; serious impairment to             care.
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         HC-DFS411                                                       01-11


HC-DFS394                                                   11-10
                                                                         Expense Incurred
                                                                         An expense is incurred when the service or the supply for
Emergency Services                                                       which it is incurred is provided.
Emergency services means, with respect to an emergency
medical condition, a medical screening examination that is
                                                                         HC-DFS10                                                        04-10
within the capability of the emergency department of a
                                                                                                                                           V1
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate the emergency medical                   Free-Standing Surgical Facility
condition; and such further medical examination and
                                                                         The term Free-Standing Surgical Facility means an institution
treatment, to the extent they are within the capabilities of the
                                                                         which meets all of the following requirements:
staff and facilities available at the Hospital, to stabilize the
patient.                                                                    it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
                                                                            it maintains at least two operating rooms and one recovery
HC-DFS1482                                                  01-21
                                                                             room;
                                                                            it maintains diagnostic laboratory and x-ray facilities;
Employee
                                                                            it has equipment for emergency care;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                  it has a blood supply;
not include Employees who are part-time or temporary or who                 it maintains medical records;
normally work less than 30 hours a week for the Employer.                   it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
HC-DFS1094                                                  12-17
                                                                            it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                                an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                                an institution which qualifies as a hospital, a psychiatric
   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient                 an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                  V1
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                  Hospital Confinement or Confined in a Hospital
or any other licensed facility or agency under a Hospice Care                A person will be considered Confined in a Hospital if he is:
Program.
                                                                                a registered bed patient in a Hospital upon the
                                                                                 recommendation of a Physician;
HC-DFS52                                                        04-10           receiving treatment for Mental Health and Substance Use
                                                                  V1             Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.
Hospice Facility
The term Hospice Facility means an institution or part of it                 HC-DFS807                                                        12-15
which:
   primarily provides care for Terminally Ill patients;                     Injury
   is accredited by the National Hospice Organization;                      The term Injury means an accidental bodily injury.
   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in          HC-DFS12                                                         04-10
    which it operates.                                                                                                                          V1



HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                      Medicaid
The term Maintenance Treatment means:                                      The term Medicaid means a state program of medical aid for
   treatment rendered to keep or maintain the patient's current           needy persons established under Title XIX of the Social
    status.                                                                Security Act of 1965 as amended.


                                                                           HC-DFS16                                                          04-10
HC-DFS56                                                      04-10
                                                                                                                                               V1
                                                                V1



Maximum Reimbursable Charge - Medical                                      Medical Pharmaceutical
The Maximum Reimbursable Charge for covered services for                   An FDA-approved prescription pharmaceutical product,
Open Access Plus is determined based on the lesser of:                     including a Specialty Prescription Drug Product, typically
                                                                           required to be administered in connection with a covered
   the provider’s normal charge for a similar service or supply;          service by a Physician or Other Health Professional within the
   the amount agreed to by the Out-of-Network provider and                scope of the provider's license. This definition includes certain
    Cigna; or                                                              pharmaceutical products whose administration may initially or
   a policyholder-selected percentage of a fee schedule Cigna             typically require Physician or Other Health Professional
    has developed that is based upon a methodology similar to a            oversight but may be self-administered under certain
    methodology utilized by Medicare to determine the                      conditions specified in the product’s FDA labeling.
    allowable reimbursement for the same or similar service
    within the geographic market.                                          HC-DFS1632                                                        01-22
The percentage used to determine the Maximum Reimbursable
Charge is listed in The Schedule.
                                                                           Medically Necessary/Medical Necessity
In some cases, a Medicare based schedule will not be used and
the Maximum Reimbursable Charge for covered services is                    Health care services, supplies and medications provided for
determined based on the lesser of:                                         the purpose of preventing, evaluating, diagnosing or treating a
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
   the provider’s normal charge for a similar service or supply;          all of the following as determined by a Medical Director or
   the amount agreed to by the Out-of-Network provider and                Review Organization:
    Cigna; or                                                                 required to diagnose or treat an illness, Injury, disease or its
   the 80th percentile of charges made by providers of such                   symptoms;
    service or supply in the geographic area where it is received             in accordance with generally accepted standards of medical
    as compiled in a database selected by Cigna. If sufficient                 practice;
    charge data is unavailable in the database for that
    geographic area to determine the Maximum Reimbursable                     clinically appropriate in terms of type, frequency, extent,
    Charge, then data in the database for similar services may                 site and duration;
    be used.                                                                  not primarily for the convenience of the patient, Physician
The Maximum Reimbursable Charge is subject to all other                        or Other Health Professional;
benefit limitations and applicable coding and payment                         not more costly than an alternative service(s), medication(s)
methodologies determined by Cigna. Additional information                      or supply(ies) that is at least as likely to produce equivalent
about how Cigna determines the Maximum Reimbursable                            therapeutic or diagnostic results with the same safety profile
Charge is available upon request.                                              as to the prevention, evaluation, diagnosis or treatment of
                                                                               your Sickness, Injury, condition, disease or its symptoms;
                                                                               and
HC-DFS1631                                                    01-22
                                                                              rendered in the least intensive setting that is appropriate for
                                                                               the delivery of the services, supplies or medications. Where
                                                                               applicable, the Medical Director or Review Organization
                                                                               may compare the cost-effectiveness of alternative services,
                                                                               supplies, medications or settings when determining least
                                                                               intensive setting.




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In determining whether health care services, supplies, or                   Nurse
medications are Medically Necessary, the Medical Director or                The term Nurse means a Registered Graduate Nurse, a
Review Organization may rely on the clinical coverage                       Licensed Practical Nurse or a Licensed Vocational Nurse who
policies maintained by Cigna or the Review Organization.                    has the right to use the abbreviation "R.N.," "L.P.N." or
Clinical coverage policies may incorporate, without limitation              "L.V.N."
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical
reference compendia and peer-reviewed, evidence-based                       HC-DFS22                                                      04-10

scientific literature or guidelines.                                                                                                        V1




HC-DFS1486                                                     01-21        Other Health Care Facility
                                                                            The term Other Health Care Facility means a facility other
                                                                            than a Hospital or Hospice Facility. Examples of Other Health
Medicare
                                                                            Care Facilities include, but are not limited to, licensed skilled
The term Medicare means the program of medical care                         nursing facilities, rehabilitation Hospitals and subacute
benefits provided under Title XVIII of the Social Security Act              facilities.
of 1965 as amended.

                                                                            HC-DFS1489                                                    01-21
HC-DFS17                                                       04-10
                                                                 V1
                                                                            Other Health Professional
Necessary Services and Supplies                                             The term Other Health Professional means an individual other
                                                                            than a Physician who is licensed or otherwise authorized under
The term Necessary Services and Supplies includes any                       the applicable state law to deliver medical services and
charges, except charges for Room and Board, made by a                       supplies. Other Health Professionals include, but are not
Hospital for medical services and supplies actually used                    limited to physical therapists, registered nurses and licensed
during Hospital Confinement.                                                practical nurses. Other Health Professionals do not include
The term Necessary Services and Supplies will not include                   providers such as Certified First Assistants, Certified
any charges for special nursing fees, dental fees or medical                Operating Room Technicians, Certified Surgical
fees.                                                                       Assistants/Technicians, Licensed Certified Surgical
                                                                            Assistants/Technicians, Licensed Surgical Assistants,
                                                                            Orthopedic Physician Assistants and Surgical First Assistants.
HC-DFS1488                                                     01-21


                                                                            HC-DFS1490                                                    01-21
New Prescription Drug Product
A Prescription Drug Product, or new use or dosage form of a
previously FDA-approved Prescription Drug Product, for the                  Participating Provider
period of time starting on the date the Prescription Drug                   The term Participating Provider means a person or entity that
Product or newly-approved use or dosage form becomes                        has a direct or indirect contractual arrangement with Cigna to
available on the market following approval by the U.S. Food                 provide covered services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date Cigna                  which are Covered Expenses. It includes an entity that has
makes a Prescription Drug List coverage status decision.                    directly or indirectly contracted with Cigna to arrange, through
                                                                            contracts with providers of services and/or supplies, for the
                                                                            provision of any services and/or supplies, the Charges for
HC-DFS1498                                                     07-20
                                                                            which are Covered Expenses.


                                                                            HC-DFS1194                                                    01-19




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Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 means the             A drug, Biologic (including a Biosimilar), or other product
Patient Protection and Affordable Care Act of 2010 (Public               that has been approved by the U.S. Food and Drug
Law 111-148) as amended by the Health Care and Education                 Administration (FDA), certain products approved under the
Reconciliation Act of 2010 (Public Law 111-152).                         Drug Efficacy Study Implementation review, or products
                                                                         marketed prior to 1938 and not subject to review and that can,
HC-DFS412                                                   01-11
                                                                         under federal or state law, be dispensed only pursuant to a
                                                                         Prescription Order or Refill. For the purpose of benefits under
                                                                         the plan, this definition may also include products in the
Pharmacy & Therapeutics (P&T) Committee                                  following categories if specifically identified in the
A committee comprised of physicians and an independent                   Prescription Drug List:
pharmacist that represent a range of clinical specialties. The              Certain durable products and supplies that support drug
committee regularly reviews Medical Pharmaceuticals for                      therapy;
safety and efficacy, the findings of which clinical reviews
                                                                            Certain diagnostic testing and screening services that
inform coverage determinations made by the Business
                                                                             support drug therapy;
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug                 Certain medication consultation and other medication
Administration-approved labeling, standard medical reference                 administration services that support drug therapy; and
compendia, or scientific studies published in peer-reviewed                 Certain digital products, applications, electronic devices,
English-language bio-medical journals.                                       software and cloud based service solutions used to predict,
                                                                             detect and monitor health conditions in support of drug
                                                                             therapy.
HC-DFS1495                                                  07-20



                                                                         HC-DFS1633                                                    01-22
Physician
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 Prescription Order or Refill
licensed to prescribe and administer drugs or to perform                 The lawful directive to dispense a Prescription Drug Product
surgery. It will also include any other licensed medical                 issued by a Physician whose scope of practice permits issuing
practitioner whose services are required to be covered by law            such a directive.
in the locality where the policy is issued if he is:
   operating within the scope of his license; and                       HC-DFS856                                                     10-16
   performing a service for which benefits are provided under
    this plan when performed by a Physician.
                                                                         Preventive Treatment
                                                                         The term Preventive Treatment means treatment rendered to
HC-DFS25                                                    04-10
                                                                         prevent disease or its recurrence.
                                                              V1


                                                                         HC-DFS57                                                      04-10
Prescription Drug List                                                                                                                     V1
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug
benefits that have been approved by the U.S. Food and Drug
Administration (FDA). This list is adopted by your Employer
as part of the plan. The list is subject to periodic review and
change, and is subject to the limitations and exclusions of the
plan.


HC-DFS1496                                                  07-20




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Medical Pharmaceutical considered by Cigna to be a
                                                                          Specialty Prescription Drug Product based on consideration of
HC-DFS808                                                    12-15        the following factors, subject to applicable law: whether the
                                                                          Medical Pharmaceutical is prescribed and used for the
                                                                          treatment of a complex, chronic or rare condition; whether the
Room and Board                                                            Medical Pharmaceutical has a high acquisition cost; and,
The term Room and Board includes all charges made by a                    whether the Medical Pharmaceutical is subject to limited or
Hospital for room and meals and for all general services and              restricted distribution, requires special handling and/or
activities needed for the care of registered bed patients.                requires enhanced patient education, provider coordination or
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
HC-DFS1481                                                   01-21
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Medical Pharmaceutical will be considered a Specialty
                                                                          Prescription Drug Product. Specialty Prescription Drug
                                                                          Products may vary by plan benefit assignment based on


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factors such as method or site of clinical administration, or              but which are determined by Cigna, in accordance with
utilization management requirements based on factors such as               generally accepted medical standards, to have been necessary
acquisition cost. You may determine whether a medication is a              to treat a condition requiring prompt medical attention. This
Specialty Prescription Drug Product through the website                    does not include care that could have been foreseen before
shown on your ID card or by calling member services at the                 leaving the immediate area where you ordinarily receive
telephone number on your ID card.                                          and/or were scheduled to receive services. Such care includes,
                                                                           but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
HC-DFS858                                                   10-16
                                                                           that the insured should not travel due to any medical
                                                                           condition.
Stabilize
Stabilize means, with respect to an emergency medical                      HC-DFS34                                                     04-10
condition, to provide such medical treatment of the condition                                                                             V1
as may be necessary to assure, within reasonable medical
probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the
individual from a facility.


HC-DFS413                                                   01-11



Terminal Illness
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.


HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,


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                    Exhibit 2
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 CareATC, Inc.



  OPEN ACCESS PLUS MEDICAL
  BENEFITS
  Qualified High Deductible Health Plan


 EFFECTIVE DATE: January 1, 2024




  ASO1
  3345903




  This document printed in January, 2024 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY CAREATC, INC. WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                             HC-NOT89
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                                                        Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                          •   You, your dependent or an attending Physician can request
Special Plan Provisions                                                       Case Management services by calling the toll-free number
                                                                              shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                          •   The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                            •   You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of             •   Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                           •   The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care            •   The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,               •   Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1

appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Notices
details regarding any such arrangements.
                                                                         Important Information
                                                                         Rebates and Other Payments
HC-SPP3                                                     04-10
                                                                V1       Cigna or its affiliates may receive rebates or other
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
Incentives to Participating Providers
                                                                         under your plan. These rebates or remuneration are not
Cigna continuously develops programs to help our customers               obtained on you or your Employer’s or plan’s behalf or for
access quality, cost-effective health care. Some programs                your benefit.
include Participating Providers receiving financial incentives
                                                                         Cigna, its affiliates and the plan are not obligated to pass these
from Cigna for providing care to members in a way that meets
                                                                         rebates on to you, or apply them to your plan’s Deductible if
or exceeds certain quality and/or cost-efficiency standards,
                                                                         any or take them into account in determining your
when, in the Participating Provider’s professional judgment, it
                                                                         Copayments and/or Coinsurance. Cigna and its affiliates or
is appropriate to do so within the applicable standard of care.
                                                                         designees, conduct business with various pharmaceutical
For example, some Participating Providers could receive
                                                                         manufacturers separate and apart from this plan’s Medical
financial incentives for prescribing lower-cost prescription
                                                                         Pharmaceutical benefits. Such business may include, but is not
drugs to manage certain conditions, utilizing or referring you
                                                                         limited to, data collection, consulting, educational grants and
to alternative sites of care as determined by your plan rather
                                                                         research. Amounts received from pharmaceutical
than in a more expensive setting, or achieving particular
                                                                         manufacturers pursuant to such arrangements are not related to
outcomes for certain health conditions. Participating Providers
                                                                         this plan. Cigna and its affiliates are not required to pass on to
may also receive purchasing discounts when purchasing
                                                                         you, and do not pass on to you, such amounts.
certain prescription drugs from Cigna affiliates. Such
programs can help make you healthier, decrease your health               Coupons, Incentives and Other Communications
care costs, or both. These programs are not intended to affect           At various times, Cigna or its designee may send mailings to
your access to the health care that you need. We encourage               you or your Dependents or to your Physician that
you to talk to your Participating Provider if you have                   communicate a variety of messages, including information
questions about whether they receive financial incentives from           about Medical Pharmaceuticals. These mailings may contain
Cigna and whether those incentives apply to your care.                   coupons or offers from pharmaceutical manufacturers that
                                                                         enable you or your Dependents, at your discretion, to purchase
                                                                         the described Medical Pharmaceutical at a discount or to
HC-SPP85                                                    01-24
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
                                                                         for and/or provide the content for these mailings. Cigna, its
Care Management and Care Coordination Services                           affiliates and the plan are not responsible in any way for any
Your plan may enter into specific collaborative arrangements             decision you make in connection with any coupon, incentive,
with health care professionals committed to improving quality            or other offer you may receive from a pharmaceutical
care, patient satisfaction and affordability. Through these              manufacturer or Physician.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health               HC-IMP331                                                     12-22

care professionals in these collaborative arrangements.
                                                                         Discrimination is Against the Law
HC-SPP27                                                    06-15        Cigna complies with applicable Federal civil rights laws and
                                                                V1       does not discriminate on the basis of race, color, national
                                                                         origin, age, disability or sex. Cigna does not exclude people or
                                                                         treat them differently because of race, color, national origin,
                                                                         age, disability or sex.




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Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
•   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
    • Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
    • Written information in other formats (large print, audio,
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
•   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                           khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
    • Qualified interpreters
    • Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
                                                                           가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,               (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                           ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Cigna                                                                  kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Nondiscrimination Complaint Coordinator
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
                                                                           плане Cigna, позвоните по номеру, указанному на
If you need assistance filing a written grievance, please call             обратной стороне вашей идентификационной карточки
the number on the back of your ID card or send an email to                 участника плана. Если вы не являетесь участником одного
ACAGrievance@cigna.com. You can also file a civil rights                   из наших планов, позвоните по номеру 1.800.244.6224
complaint with the U.S. Department of Health and Human                     (TTY: 711).
Services, Office for Civil Rights electronically through the
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
    1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                           (TTY: Rele 711).
Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.                             French – ATTENTION: Des services d’aide linguistique vous
                                                                           sont proposés gratuitement. Si vous êtes un client actuel de
                                                                           Cigna, veuillez appeler le numéro indiqué au verso de votre
HC-NOT96                                                       07-17       carte d’identité. Sinon, veuillez appeler le numéro
                                                                           1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services                                Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                           assistência linguística, totalmente gratuitos. Para clientes
English – ATTENTION: Language assistance services, free
                                                                           Cigna atuais, ligue para o número que se encontra no verso do
of charge, are available to you. For current Cigna customers,
                                                                           seu cartão de identificação. Caso contrário, ligue para
call the number on the back of your ID card. Otherwise, call
                                                                           1.800.244.6224 (Dispositivos TTY: marque 711).
1.800.244.6224 (TTY: Dial 711).
                                                                           Polish – UWAGA: w celu skorzystania z dostępnej,
Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                           bezpłatnej pomocy językowej, obecni klienci firmy Cigna
idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           mogą dzwonić pod numer podany na odwrocie karty
Cigna, llame al número que figura en el reverso de su tarjeta


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identyfikacyjnej. Wszystkie inne osoby prosimy o                         Subject to change based on government guidance for CAA
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                 Section 204, Cigna will submit certain prescription drug and
Japanese –                                                               health care spending information to HHS through Plan Lists
注意事項：日本語を話される場合、無料の言語支援サー                                                Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
                                                                         Employer without an integrated pharmacy product aggregated
ビスをご利用いただけます。現在のCignaの
                                                                         at the market segment and state level, as outlined in guidance.
お客様は、IDカード裏面の電話番号まで、お電話にてご
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                     HC-IMP353                                                    01-24


Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,            Federal CAA - Consolidated Appropriations Act
chiamare il numero sul retro della tessera di identificazione.           Continuity of Care
In caso contrario, chiamare il numero 1.800.244.6224 (utenti
                                                                         In certain circumstances, if you are receiving continued care
TTY: chiamare il numero 711).
                                                                         from an In-Network provider or facility, and that provider’s
German – ACHTUNG: Die Leistungen der                                     network status changes from In-Network to Out-of-Network,
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                you may be eligible to continue to receive care from the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             provider at the In-Network cost-sharing amount for up to 90
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 days from the date you are notified of your provider’s
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 termination. A continuing care patient is an individual who is:
Sie 711).
                                                                         •   Undergoing treatment for a serious and complex condition
                                                                         •   Pregnant and undergoing treatment for the pregnancy
                                                                         •   Receiving inpatient care
                                                                         •   Scheduled to undergo urgent or emergent surgery, including
                                                                             postoperative
                                                                         •   Terminally ill (having a life expectancy of 6 months or less)
                                                                             and receiving treatment from the provider for the illness
                                                                         If applicable, Cigna will notify you of your continuity of care
HC-NOT97                                                    07-17
                                                                         options.
                                                                         Appeals
Federal CAA - Consolidated Appropriations Act and TIC                    Any external review process available under the plan will
- Transparency in Coverage Notice                                        apply to any adverse determination regarding claims subject to
Cigna will make available an internet-based self-service tool            the No Surprises Act.
for use by individual customers, as well as certain data in              Provider Directories and Provider Networks
machine-readable file format on a public website, as required
under the Transparency in Coverage rule. Customers can                   A list of network providers is available to you, without charge,
access the cost estimator tool on myCigna.com. Updated                   by visiting the website or calling the phone number on your ID
machine-readable files can be found on Cigna.com and/or                  card. The network consists of providers, including Hospitals,
CignaForEmployers.com on a monthly basis.                                of varied specialties as well as generic practice, affiliated or
                                                                         contracted with Cigna or an organization contracting on its
Pursuant to Consolidated Appropriations Act (CAA), Section               behalf.
106, Cigna will submit certain air ambulance claim
information to the Department of Health and Human Services               Provider directory content is verified and updated, and
(HHS) in accordance with guidance issued by HHS.                         processes are established for responding to provider network
                                                                         status inquiries, in accordance with applicable requirements of
                                                                         the No Surprises Act.
                                                                         If you rely on a provider’s In-Network status in the provider
                                                                         directory or by contacting Cigna at the website or phone
                                                                         number on your ID card to receive covered services from that
                                                                         provider, and that network status is incorrect, then your plan
                                                                         cannot impose Out-of-Network cost shares to that covered



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service. In-Network cost share must be applied as if the                   cost thousands of dollars depending on the procedure or
covered service were provided by an In-Network provider.                   service.
Direct Access to Obstetricians and Gynecologists                           You are protected from balance billing for:
You do not need prior authorization from the plan or from any              •   Emergency Services – If you have an Emergency Medical
other person (including a primary care provider) in order to                   Condition and get Emergency Services from an Out-of-
obtain access to obstetrical or gynecological care from a health               Network provider or facility, the most they can bill you is
care professional in our network who specializes in obstetrics                 your plan’s In-Network cost-sharing amount (such as a
or gynecology. The health care professional, however, may be                   Copayments, Coinsurance, and Deductibles). You cannot be
required to comply with certain procedures, including                          balanced billed for these Emergency Services. This includes
obtaining prior authorization for certain services, following a                services you may get after you are in stable condition,
pre-approved treatment plan, or procedures for making                          unless you give written consent and give up your
referrals. For a list of participating health care professionals               protections not to be balanced billed for these post-
who specialize in obstetrics or gynecology, access the website                 stabilization services.
or call the phone number on your ID card.                                  •   Certain non-emergency services at an In-Network
Selection of a Primary Care Provider                                           Hospital or ambulatory surgical center – When you get
This plan generally allows the designation of a primary care                   services from an In-Network Hospital or ambulatory
provider. You have the right to designate any primary care                     surgical center, certain providers there may be Out-of-
provider who participates in the network and who is available                  Network. In these cases, the most those providers can bill
to accept you or your family members. For children, you may                    you is your plan’s In-Network cost sharing amount. This
designate a pediatrician as the primary care provider. For                     applies to emergency medicine, anesthesia, pathology,
information on how to select a primary care provider, and for                  radiology, laboratory, neonatology, assistant surgeon,
a list of the participating primary care providers, access the                 hospitalist, or intensivist services. These providers cannot
website or call the phone number on your ID card.                              balance bill you and may not ask you to give up your
                                                                               protections not to be balanced billed.
Your Rights and Protections Against Surprise Medical
Bills                                                                      If you get other types of services at these In-Network
                                                                           facilities, Out-of-Network providers cannot balance bill you,
When you get emergency care or are treated by an Out-of-                   unless you give written consent and give up your protections.
Network provider at an In-Network Hospital or ambulatory
surgical center, you are protected from balance billing. In                You are never required to give up your protections from
these situations, you should not be charged more than your                 balance billing. You also are not required to get Out-of-
plan’s Copayments, Coinsurance, and/or Deductible.                         Network care. You can choose a provider or facility in
                                                                           your plan’s network.
What is “balance billing” (sometimes called “surprise
billing”)?                                                                 When balance billing is not allowed, you have these
                                                                           protections:
When you see a doctor or other health care provider, you may
owe certain out-of-pocket costs, such as a Copayment,                      •   You are only responsible for paying your share of the cost
Coinsurance, and/or Deductible. You may have additional                        (such as Copayments, Coinsurance, and Deductibles that
costs or have to pay the entire bill if you see a provider or visit            you would pay if the provider were In-Network). Your
a health care facility that is not in your health plan’s network.              health plan will pay any additional costs to Out-of-Network
                                                                               providers and facilities directly.
“Out-of-Network” means providers and facilities that have not
signed a contract with your health plan to provide services.               •   Generally, your health plan must:
Out-of-Network providers may be allowed to bill you for the                    • Cover Emergency Services without requiring you to get
difference between what your plan pays and the full amount                       approval in advance for services (also known as prior
charged for a service. This is called “balance billing”. This                    authorization).
amount is likely more than In-Network costs for the same                       • Cover Emergency Services provided by Out-of-Network
service and might not count toward your plan’s Deductible or                     providers.
annual out-of-pocket limit.
                                                                               • Base what you owe the provider or facility (cost sharing)
“Surprise billing” is an unexpected balance bill. This can                       on what it would pay an In-Network provider or facility
happen when you cannot control who is involved in your care                      and show that amount in your explanation of benefits
– such as when you have an emergency or when you schedule                        (EOB).
a visit at an In-Network facility but are unexpectedly treated
by an Out-of-Network provider. Surprise medical bills could



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    • Count any amount you pay for Emergency Services or                  and pharmacy coverage (whether or not your plan includes
      Out-of-Network services toward your In-Network                      pharmacy coverage).
      Deductible and out-of-pocket limit.
If you think you have been wrongly billed, contact Cigna at               HC-NOT113                                                    12-22
the phone number on your ID card. You can also contact No                                                                                V1
Surprises Help Desk at 1-800-985-3059 or
www.cms.gov/nosurprises for more information about your
rights under federal law.
                                                                          How To File Your Claim
HC-IMP326                                                    01-24
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
                                                                          provider will submit a claim to Cigna for reimbursement. Out-
Mental Health Parity and Addiction Equity Act of 2008                     of-Network claims can be submitted by the provider if the
(MHPAEA) - Non-Quantitative Treatment Limitations                         provider is able and willing to file on your behalf. If the
(NQTLs)                                                                   provider is not submitting on your behalf, you must send your
Federal MHPAEA regulations provide that a plan cannot                     completed claim form and itemized bills to the claims address
impose a Non-Quantitative Treatment Limitation (NQTL) on                  listed on the claim form.
mental health or substance use disorder (MH/SUD) benefits in              You may get the required claim forms from the website listed
any classification unless the processes, strategies, evidentiary          on your identification card or by using the toll-free number on
standards, or other factors used in applying the NQTL to                  your identification card.
MH/SUD benefits are comparable to, and are applied no more                CLAIM REMINDERS
stringently than, those used in applying the NQTL to
                                                                          • BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits
as written and in operation under the terms of the plan.                    ACCOUNT/GROUP NUMBER WHEN YOU FILE
                                                                            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include (to                  YOUR CIGNA CLAIM OFFICE.
the extent applicable under the plan):
                                                                              YOUR MEMBER ID IS THE ID SHOWN ON YOUR
•   medical management standards limiting or excluding                        BENEFIT IDENTIFICATION CARD.
    benefits based on Medical Necessity or whether the
    treatment is experimental or investigative;                               YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
                                                                              YOUR BENEFIT IDENTIFICATION CARD.
•   prescription drug formulary design;
                                                                          •   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
•   network admission standards;                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
•   methods for determining In-Network and Out-of-Network                     WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;                                         Timely Filing of Out-of-Network Claims
•   step therapy a/k/a fail-first requirements; and                       Cigna will consider claims for coverage under our plans when
•   exclusions and/or restrictions based on geographic location,          proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                  of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                       rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                 Confinement, the limit will be counted from the last date of
benefits is available for review by Plan Administrators (e.g.             service. If claims are not submitted within 180 days for Out-
Employers) and covered persons:                                           of-Network benefits, the claim will not be considered valid
                                                                          and will be denied.
    Employers (Plan Administrators):
    Please contact your Cigna Sales Representative to request             WARNING: Any person who knowingly and with intent to
    the NQTL comparative analysis.                                        defraud any insurance company or other person files an
    Covered Persons: www.cigna.com\sp                                     application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
To determine which document applies to your plan, select the              misleading, information concerning any material fact thereto,
relevant health plan product; medical management model                    commits a fraudulent insurance act.
(inpatient only or inpatient and outpatient) which can be
located in this booklet immediately following The Schedule;
                                                                          HC-CLM25                                                     01-11
                                                                                                                                        V11




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                                                                        date, or if you are not in Active Service on that date due to
                                                                        your health status.
Eligibility - Effective Date                                            Late Entrant - Employee
                                                                        You are a Late Entrant if:
Employee Insurance                                                      •   you elect the insurance more than 30 days after you become
This plan is offered to you as an Employee.                                 eligible; or
Eligibility for Employee Insurance                                      •   you again elect it after you cancel your payroll deduction (if
You will become eligible for insurance on the day you                       required).
complete the waiting period if:
•   you are in a Class of Eligible Employees; and
                                                                        Dependent Insurance
                                                                        For your Dependents to be insured, you will have to pay the
•   you are an eligible, full-time Employee; and
                                                                        required contribution, if any, toward the cost of Dependent
•   you normally work at least 20 hours a week; and                     Insurance.
•   you pay any required contribution.                                  Effective Date of Dependent Insurance
If you were previously insured and your insurance ceased, you           Insurance for your Dependents will become effective on the
must satisfy the New Employee Group Waiting Period to                   date you elect it by signing an approved payroll deduction
become insured again. If your insurance ceased because you              form (if required), but no earlier than the day you become
were no longer employed in a Class of Eligible Employees,               eligible for Dependent Insurance. All of your Dependents as
you are not required to satisfy any waiting period if you again         defined will be included.
become a member of a Class of Eligible Employees within
                                                                        Your Dependents will be insured only if you are insured.
one year after your insurance ceased.
                                                                        Late Entrant – Dependent
Initial Employee Group: You are in the Initial Employee
Group if you are employed in a class of employees on the date           You are a Late Entrant for Dependent Insurance if:
that class of employees becomes a Class of Eligible                     •   you elect that insurance more than 30 days after you
Employees as determined by your Employer.                                   become eligible for it; or
New Employee Group: You are in the New Employee Group                   •   you again elect it after you cancel your payroll deduction (if
if you are not in the Initial Employee Group.                               required).
Eligibility for Dependent Insurance                                     Exception for Newborns
You will become eligible for Dependent Insurance on the later           Any Dependent child born while you are insured will become
of:                                                                     insured on the date of his birth if you elect Dependent
•   the day you become eligible for yourself; or                        Insurance no later than 31 days after his birth. If you do not
                                                                        elect to insure your newborn child within such 31 days,
•   the day you acquire your first Dependent.
                                                                        coverage for that child will end on the 31st day. No benefits
                                                                        for expenses incurred beyond the 31st day will be payable.
Waiting Period
Initial Employee Group: None.
                                                                        HC-ELG274                                                       01-19
New Employee Group: The first of the month coinciding with
or next following date of hire.
Classes of Eligible Employees
                                                                        Important Information About Your
Each Employee as reported to the insurance company by your
Employer.                                                               Medical Plan
Effective Date of Employee Insurance                                    Details of your medical benefits are described on the
                                                                        following pages.
You will become insured on the date you elect the insurance
by signing an approved payroll deduction or enrollment form,            Opportunity to Select a Primary Care Physician
as applicable, but no earlier than the date you become eligible.        This medical plan does not require that you select a Primary
You will become insured on your first day of eligibility,               Care Physician or obtain a referral from a Primary Care
following your election, if you are in Active Service on that           Physician in order to receive all benefits available to you
                                                                        under this medical plan. Notwithstanding, a Primary Care



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Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents. If you need
assistance selecting your Primary Care Physician, please visit
our website at www.cigna.com or call the number on the back
of your ID Card.
The Primary Care Physician's role is to provide or arrange for
medical care for you and any of your Dependents.
You and your Dependents are allowed direct access to
Participating Physicians for covered services. Even if you
select a Primary Care Physician, there is no requirement to
obtain an authorization of care from your Primary Care
Physician for visits to the Participating Physician of your
choice, including Participating Specialist Physicians, for
covered services.
Changing Primary Care Physicians
You may request a transfer from one Primary Care Physician
to another by visiting our website at www.cigna.com or
calling the number on the back of your ID Card. Any such
transfer will be effective on the first day of the month
following the month in which the processing of the change
request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.
Direct Access For Mental Health and Substance Use
Disorder Services
You are allowed direct access to a licensed/certified
Participating Provider for covered Mental Health and
Substance Use Disorder Services. There is no requirement to
obtain an authorization of care from your Primary Care
Physician for individual or group therapy visits to the
Participating Provider of your choice for Mental Health and
Substance Use Disorder.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents

Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Important Notice on Mental Health and Substance Use Disorder Coverage
Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition will be
payable according to the Mental Health and Substance Use Disorder sections of The Schedule.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
• Coinsurance.
• Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
• Non-compliance penalties.
• Any benefit deductibles.
• Provider charges in excess of the Maximum Reimbursable Charge.
  .


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                                   Open Access Plus Medical Benefits
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Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
   Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air ambulance services rendered by an
   Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by
   applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses         90%                                      70%
the Plan Pays
See Definitions section for an
explanation of Maximum Reimbursable
Charge.
Calendar Year Deductible
  Individual                               $3,200 per person                        $7,000 per person
  Family Maximum                           $6,400 per family                        $14,000 per family
 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $6,000 per person                        $14,000 per person
  Family Maximum                           $12,000 per family                       $28,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                       Maximum Reimbursable Charge
  Specialty Care Physician’s Office      Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                       Maximum Reimbursable Charge
     Consultant and Referral
     Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
       Out-of-Network OB/GYN
       providers will be considered a
       Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                     Maximum Reimbursable Charge

    Specialty Care Physician’s Office    Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                     Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                     Maximum Reimbursable Charge
    Specialty Care Physician’s Office    Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                     Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
Convenience Care Clinic                  Plan deductible, then 90%            Plan deductible, then 70% of the
(includes any related lab and x-ray                                           Maximum Reimbursable Charge
services
.        and surgery)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
• Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
• MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
• Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
  MDLIVE Urgent Care Services             Plan deductible, then 90%            In-Network coverage only


  MDLIVE Primary Care Services            Plan deductible, then 90%            In-Network coverage only


  MDLIVE Specialty Care Services          Plan deductible, then 90%            In-Network coverage only


Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Primary Care Physician Virtual Office     Plan deductible, then 90%            Plan deductible, then 70% of the
Visit                                                                          Maximum Reimbursable Charge
Specialty Care Physician Virtual Office   Plan deductible, then 90%            Plan deductible, then 70% of the
.Visit                                                                         Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
 Immunizations - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
 . Visit                                                                          Maximum Reimbursable Charge
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       100%                                     Plan deductible, then 70% of the
  (i.e. “routine” services)                                                       Maximum Reimbursable Charge
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit &    Subject to the plan’s x-ray benefit &
  “non-routine” services)                lab benefit; based on place of service   lab benefit; based on place of service

Inpatient Hospital – Facility Services   Plan deductible, then 90%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate           Limited to the ICU/CCU daily room
                                                                                  rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 90%                Plan deductible, then 70% of the
  Procedures Room, Treatment Room                                                 Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 90%                Plan deductible, then 70% of the
Visits/Consultations                                                              Maximum Reimbursable Charge

Inpatient Professional Services          Plan deductible, then 90%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Professional Services           Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient       Plan deductible, then 90%            Plan deductible, then 70% of the
  Facility                                                                      Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.

  Advanced Radiological Imaging (i.e.      Plan deductible, then 90%            Plan deductible, then 70% of the
  MRIs, MRAs, CAT Scans, PET                                                    Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit


Emergency Services
  Hospital Emergency Room                  Plan deductible, then 90%            Plan deductible, then 90%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.
  Advanced Radiological Imaging (i.e.      Plan deductible, then 90%            Plan deductible, then 90%
  MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit


Air Ambulance                              Plan deductible, then 90%            Plan deductible, then 90%
Ambulance                                  Plan deductible, then 90%            Plan deductible, then 90% of the
                                                                                Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 90%            Plan deductible, then 70% of the
Care Facilities                                                                 Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  90 days combined




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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services
  Primary Care Physician’s Office     Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
  Independent Lab Facility            Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
Radiology Services
  Primary Care Physician’s Office     Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services
  (The limit is not applicable to mental
  health conditions.)
  Calendar Year Maximum:
  30 days
  Include:
  Speech Therapy

  Calendar Year Maximum:
  60 days for all therapies combined
  Includes:
  Physical Therapy
  Occupational Therapy

  Calendar Year Maximum:
  20 days for all therapies combined
  Includes:
  Pulmonary Rehab
  Cognitive Therapy

  Primary Care Physician’s Office          Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  .

Outpatient Cardiac Rehabilitation
 Calendar Year Maximum:
 36 days
  Primary Care Physician’s Office          Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
Chiropractic Care
  Calendar Year Maximum:
  12 days
  Primary Care Physician’s Office          Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge

  Specialty Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Home Health Care Services
  Calendar Year Maximum:                   Plan deductible, then 90%             Plan deductible, then 70% of the
  90 days (includes outpatient private                                           Maximum Reimbursable Charge
  nursing when approved as Medically
  Necessary)
  Dialysis services in the home setting
  will not accumulate to the Home
  Health Care maximum
  (The limit is not applicable to Mental
  Health and Substance Use Disorder
  conditions.)
  .
Hospice
 Inpatient Services                        Plan deductible, then 90%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Services                      Plan deductible, then 90%             Plan deductible, then 70% of the
  (same coinsurance level as Home                                                Maximum Reimbursable Charge
  Health Care Services)
  .
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                Plan deductible, then 90%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient                               Plan deductible, then 90%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
Services provided by Mental Health         Covered under Mental Health benefit   Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Inpatient Facility                       Plan deductible, then 90%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Cigna Pathwell Specialty Medical         Cigna Pathwell Specialty Network      In-Network coverage only
  Pharmaceuticals                          provider:
                                           Plan deductible, then 90%
                                           Non-Cigna Pathwell Specialty
                                           Network Providers:
                                           Not Covered
  Other Medical Pharmaceuticals            Plan deductible, then 90%             In-Network coverage only




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Covered same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 90%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 90%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 90%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 90%               In-Network coverage only
  Travel Maximum:                           Plan deductible, then 100%              In-Network coverage only
  $10,000 per episode of gene therapy       (available only for travel when prior
                                            authorized to receive gene therapy at
                                            a participating In-Network facility
                                            specifically contracted with Cigna to
                                            provide the specific gene therapy)
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.
  Advanced Cellular Therapy Product         Covered Same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 90%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 90%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 90%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 90%               In-Network coverage only
  Advanced Cellular Therapy Travel          Plan deductible, then 100%              In-Network coverage only
  Maximum:
  $10,000 per episode of advanced
  cellular therapy
  (Available only for travel when prior
  authorized to receive advanced
  cellular therapy from a provider
  located more than 60 miles of your
  primary residence and is contracted
  with Cigna for the specific advanced
  cellular therapy product and related
  services.)



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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
   Primary Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
   Visit                                                                       Maximum Reimbursable Charge
   Specialty Care Physician’s Office      Plan deductible, then 90%            Plan deductible, then 70% of the
   Visit                                                                       Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 90%            Plan deductible, then 70% of the
  Postnatal Visits and Physician’s                                             Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 90%            Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 90%            Plan deductible, then 70% of the
  (Inpatient Hospital, Birthing Center)                                        Maximum Reimbursable Charge

Abortion
Includes only non-elective procedures
  Primary Care Physician’s Office         Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 90%            Plan deductible, then 70% of the
   .                                                                           Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                         IN-NETWORK                    OUT-OF-NETWORK
Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
    Primary Care Physician                100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Specialty Care Physician              100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Primary Care Physician’s Office       100%                         Plan deductible, then 70% of the
    Visit                                                              Maximum Reimbursable Charge
    Specialty Care Physician’s Office     100%                         Plan deductible, then 70% of the
    Visit                                                              Maximum Reimbursable Charge
    Inpatient Facility                    100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Facility                   100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Inpatient Professional Services       100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Professional Services      100%                         Plan deductible, then 70% of the
    .                                                                  Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
      Primary Care Physician                  Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                   Maximum Reimbursable Charge
      Specialty Care Physician                Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                   Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
      Primary Care Physician’s Office         Plan deductible, then 90%            Plan deductible, then 70% of the
      Visit                                                                        Maximum Reimbursable Charge
      Specialty Care Physician’s Office       Plan deductible, then 90%            Plan deductible, then 70% of the
      Visit                                                                        Maximum Reimbursable Charge
      Inpatient Facility                      Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                   Maximum Reimbursable Charge
      Outpatient Facility                     Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                   Maximum Reimbursable Charge
      Inpatient Professional Services         Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                   Maximum Reimbursable Charge
     Outpatient Professional Services         Plan deductible, then 90%            Plan deductible, then 70% of the
    .                                                                              Maximum Reimbursable Charge
Infertility Services
Services Not Covered include:                 Not Covered                          Not Covered
  •   Testing performed specifically to
      determine the cause of infertility.
  •   Treatment and/or procedures
      performed specifically to restore
      fertility (e.g. procedures to correct
      an infertility condition).
  •   Artificial means of becoming
      pregnant (e.g. Artificial
      Insemination, In-vitro, GIFT,
      ZIFT, etc).
Note:
Coverage will be provided for the
treatment of an underlying medical
condition up to the point an infertility
condition is diagnosed. Services will be
covered as any other illness.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 100% at        Plan deductible, then 70% of the
                                           LifeSOURCE center, otherwise plan    Maximum Reimbursable Charge
                                           deductible, then 90%
  Inpatient Professional Services          Plan deductible, then 100% at        Plan deductible, then 70% of the
                                           LifeSOURCE center, otherwise plan    Maximum Reimbursable Charge
                                           deductible, then 90%
  Lifetime Travel Maximum:                 Plan deductible, then 100% (only     In-Network coverage only
  $10,000 per transplant                   available when using LifeSOURCE
                                           facility)
  .
Durable Medical Equipment                  Plan deductible, then 90%            Plan deductible, then 70% of the
  Calendar Year Maximum:                                                        Maximum Reimbursable Charge
. Unlimited
Outpatient Dialysis Services
  Primary Care Physician’s Office          Plan deductible, then 90%            In-Network coverage only
  Visit
  Specialty Care Physician’s Office        Plan deductible, then 90%            In-Network coverage only
  Visit
  Outpatient Facility Services             Plan deductible, then 90%            In-Network coverage only


  Outpatient Professional Services         Plan deductible, then 90%            In-Network coverage only
  Home Setting                             Plan deductible, then 90%            In-Network coverage only
Breast Feeding Equipment and               100%                                 Plan deductible, then 70% of the
Supplies                                                                        Maximum Reimbursable Charge
  Note:
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
External Prosthetic Appliances              Plan deductible, then 90%            Plan deductible, then 70% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
  Unlimited
Hearing Aids                                Plan deductible, then 90%            Plan deductible, then 70% of the
  Note: Maximum of 2 devices per 24                                              Maximum Reimbursable Charge
  months
Wigs                                        Plan deductible, then 90%            Plan deductible, then 90% of the
  Note: Maximum of 1 wig per 12                                                  Maximum Reimbursable Charge
. months
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Primary Care Physician’s Office           Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office         Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 90%            Plan deductible, then 70% of the
  .                                                                              Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office         Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
   Outpatient Professional Services       Plan deductible, then 90%            Plan deductible, then 70% of the
   .                                                                           Maximum Reimbursable Charge
Dental Care
Limited to charges made for a
continuous course of dental treatment
for an Injury to teeth.
  Primary Care Physician’s Office         Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 90%            Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                            IN-NETWORK                            OUT-OF-NETWORK
TMJ Surgical and Non-Surgical
Always excludes appliances and
orthodontic treatment.
    Primary Care Physician’s Office        Plan deductible, then 90%                 Plan deductible, then 70% of the
    Visit                                                                            Maximum Reimbursable Charge
    Specialty Care Physician’s Office      Plan deductible, then 90%                 Plan deductible, then 70% of the
    Visit                                                                            Maximum Reimbursable Charge
    Inpatient Facility                     Plan deductible, then 90%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
    Outpatient Facility                    Plan deductible, then 90%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
    Inpatient Professional Services        Plan deductible, then 90%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
    Outpatient Professional Services       Plan deductible, then 90%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
Non Surgical TMJ Services
(surgical services will be covered same
as any other illness)
Lifetime Maximum:
$1,000
.
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              Plan deductible, then 90%            Plan deductible, then 70% of the
   Includes Acute Inpatient and                                              Maximum Reimbursable Charge
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
    Outpatient - Office Visits          Plan deductible, then 90%            Plan deductible, then 70% of the
    Includes individual, family and                                          Maximum Reimbursable Charge
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         Plan deductible, then 90%            In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 90%            Plan deductible, then 70% of the
    Includes Partial Hospitalization,                                        Maximum Reimbursable Charge
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             Plan deductible, then 90%            Plan deductible, then 70% of the
    Includes Acute Inpatient                                                 Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
    Outpatient - Office Visits          Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         Plan deductible, then 90%            In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 90%            Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
•   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
•   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $500 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $500 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed             •   Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
•   Hospital charges for Room and Board, for treatment listed           •   Home Health Care Services.
    above for which PAC was performed, which are made for               •   Medical Pharmaceuticals.
    any day in excess of the number of days certified through           •   Radiation Therapy.
    PAC or CSR; and
•   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify          •   inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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•   inpatient services at any participating Other Health Care                •   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
•   residential treatment.                                                   •   charges for Emergency Services.
•   outpatient facility services.                                            •   charges for Urgent Care.
•   partial hospitalization.                                                 •   charges by a Physician or a Psychologist for professional
•   advanced radiological imaging.                                               services.
•   non-emergency Ambulance.                                                 •   charges by a Nurse for professional nursing service.
•   certain Medical Pharmaceuticals.                                         •   charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
•   home health care services.
                                                                             •   charges for diagnostic x-ray.
•   radiation therapy.
                                                                             •   charges for advanced radiological imaging, including for
•   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA55                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V1             therapeutic radiological procedures.
                                                                             •   charges for chemotherapy.
                                                                             •   charges for blood transfusions.
Covered Expenses                                                             •   charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                       •   charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:
                                                                             •   charges for screening prostate-specific antigen (PSA)
•   preventive care services; and                                                testing.
•   services or supplies that are Medically Necessary for the                •   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.
                                                                             •   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                             •   charges for abortion when a Physician certifies in writing
•   charges for inpatient Room and Board and other Necessary                     that the pregnancy would endanger the life of the mother, or
    Services and Supplies made by a Hospital, subject to the                     when the expenses are incurred to treat medical
    limits as shown in The Schedule.                                             complications due to abortion.
•   charges for inpatient Room and Board and other Necessary                 •   charges for the following preventive care services as
    Services and Supplies made by an Other Health Care                           defined by recommendations from the following:
    Facility, including a Skilled Nursing Facility, a                            • the U.S. Preventive Services Task Force (A and B
    Rehabilitation Hospital or a subacute facility as shown in                     recommendations);
    The Schedule.
                                                                                 • the Advisory Committee on Immunization Practices
•   charges for licensed Ambulance service to the nearest                          (ACIP) for immunizations;
    Hospital where the needed medical care and treatment can
                                                                                 • the American Academy of Pediatrics’ Periodicity
    be provided.
                                                                                   Schedule of the Bright Futures Recommendations for
•   charges for outpatient medical care and treatment received                     Pediatric Preventive Health Care;
    at a Hospital.
                                                                                 • the Uniform Panel of the Secretary’s Advisory Committee
                                                                                   on Heritable Disorders in Newborns and Children; and



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    • with respect to women, evidence-informed preventive                Enteral Nutrition
      care and screening guidelines supported by the Health              Enteral Nutrition means medical foods that are specially
      Resources and Services Administration.                             formulated for enteral feedings or oral consumption.
    Detailed information is available at www.healthcare.gov.             Coverage includes medically approved formulas prescribed by
    For additional information on immunizations, visit the               a Physician for treatment of inborn errors of metabolism (e.g.,
    immunization schedule section of www.cdc.gov.                        disorders of amino acid or organic acid metabolism).
•   charges for surgical and non-surgical treatment of                   Internal Prosthetic/Medical Appliances
    Temporomandibular Joint Dysfunction (TMJ).
                                                                         Charges for internal prosthetic/medical appliances that provide
•   charges for hearing aids and associated exam for device              permanent or temporary internal functional supports for non-
    testing and fitting, including but not limited to semi-              functional body parts are covered. Medically Necessary repair,
    implantable hearing devices, audiant bone conductors and             maintenance or replacement of a covered appliance is also
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is                 covered.
    any device that amplifies sound.
•   Medically Necessary orthognathic surgery to repair or
                                                                         HC-COV1122                                                      01-23
    correct a severe facial deformity or disfigurement.
                                                                                                                                           V1
Virtual Care
Dedicated Virtual Providers
                                                                         Home Health Care Services
Includes charges for the delivery of real-time medical and
                                                                         Charges for skilled care provided by certain health care
health-related services, consultations and remote monitoring
                                                                         providers during a visit to the home, when the home is
by dedicated virtual providers as medically appropriate
                                                                         determined to be a medically appropriate setting for the
through audio, video and secure internet-based technologies.
                                                                         services. A visit is defined as a period of 2 hours or less.
Includes charges for the delivery of mental health and                   Home Health Care Services are subject to a maximum of 16
substance use disorder-related services, consultations, and              hours in total per day.
remote monitoring by dedicated virtual providers as
                                                                         Home Health Care Services are covered when skilled care is
appropriate through audio, video and secure internet-based
                                                                         required under any of the following conditions:
technologies.
                                                                         •   the required skilled care cannot be obtained in an outpatient
Virtual Physician Services
                                                                             facility.
Includes charges for the delivery of real-time medical and
                                                                         •   confinement in a Hospital or Other Health Care Facility is
health-related services, consultations and remote monitoring
                                                                             not required.
as medically appropriate through audio, video and secure
internet-based technologies that are similar to office visit             •   the patient’s home is determined by Cigna to be the most
services provided in a face-to-face setting.                                 medically appropriate place to receive specific services.
Includes charges for the delivery of real-time mental health             Covered services include:
and substance use disorder consultations and services, via               •   skilled nursing services provided by a Registered Nurse
secure telecommunications technologies that shall include                    (RN), Licensed Practical Nurse (LPN), Licensed Vocational
video capability, telephone and internet, when such                          Nurse (LVN) and an Advanced Practice Registered Nurse
consultations and services are delivered by a behavioral                     (APRN).
provider and are similar to office visit services provided in a
                                                                         •   services provided by health care providers such as physical
face-to-face setting.
                                                                             therapist, occupational therapist and speech therapist.
Convenience Care Clinic
                                                                         •   services of a home health aide when provided in direct
Convenience Care Clinics provide for common ailments and                     support of those nurses and health care providers.
routine services, including but not limited to, strep throat, ear
                                                                         •   necessary consumable medical supplies and home infusion
infections or pink eye, immunizations and flu shots.
                                                                             therapy administered or used by a health care provider.
Nutritional Counseling
                                                                         Note: Physical, occupational, and other Outpatient Therapy
Charges for nutritional counseling when diet is a part of the            Services provided in the home are covered under the
medical management of a medical or behavioral condition.                 Outpatient Therapy Services benefit shown in The Schedule.




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The following are excluded from coverage:                                     •   laboratory services;
•   services provided by a person who is a member of the                          but only to the extent such charges would have been
    patient’s family, even when that person is a health care                      payable under the policy if the person had remained or been
    provider.                                                                     Confined in a Hospital or Hospice Facility.
•   services provided by a person who normally resides in the                 The following charges for Hospice Care Services are not
    patient’s house, even when that person is a health care                   included as Covered Expenses:
    provider.                                                                 •   services of a person who is a member of your family or your
•   non-skilled care, Custodial Services, and assistance in the                   Dependent's family or who normally resides in your house
    activities of daily living, including but not limited to eating,              or your Dependent's house;
    bathing, dressing or other services; self-care activities;                •   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.
                                                                              •   services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent
upon others for non-skilled care and/or Custodial Services, is                •   to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                          expenses under the policy;
present in the home at the time of the health care visit to                   •   services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


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Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes.
those who have ceased treatment and to those continuing to                    Substance Use Disorder is defined as the psychological or
receive curative treatment and therapies.                                     physical dependence on alcohol or other mind-altering drugs
Hospice Care Programs rendered by Hospice Facilities or                       that requires diagnosis, care, and treatment.
Hospitals include services:                                                   Inpatient Mental Health Services
•   by a Hospice Facility for Room and Board and Services and                 Services that are provided by a Hospital while you or your
    Supplies;                                                                 Dependent are Confined in a Hospital for the treatment and
•   by a Hospice Facility for services provided on an outpatient              evaluation of Mental Health. Inpatient Mental Health Services
    basis;                                                                    include Mental Health Residential Treatment Services.
•   by a Physician for professional services;                                 Mental Health Residential Treatment Services are services
•   by a Psychologist, social worker, family counselor or                     provided by a Hospital for the evaluation and treatment of the
    ordained minister for individual and family counseling;                   psychological and social functional disturbances that are a
                                                                              result of subacute Mental Health conditions.
•   for pain relief treatment, including drugs, medicines and
    medical supplies;                                                         Mental Health Residential Treatment Center means an
                                                                              institution which specializes in the treatment of psychological
Hospice Care Programs rendered by Other Health Care                           and social disturbances that are the result of Mental Health
Facilities or in the Home include services:                                   conditions; provides a subacute, structured, psychotherapeutic
•   for part-time or intermittent nursing care by or under the                treatment program, under the supervision of Physicians;
    supervision of a Nurse;                                                   provides 24-hour care, in which a person lives in an open
•   for part-time or intermittent services of an Other Health                 setting; and is licensed in accordance with the laws of the
    Professional;                                                             appropriate legally authorized agency as a residential
                                                                              treatment center.
•   physical, occupational and speech therapy;
                                                                              A person is considered confined in a Mental Health
•   medical supplies;                                                         Residential Treatment Center when she/he is a registered bed
•   drugs and medicines lawfully dispensed only on the written                patient in a Mental Health Residential Treatment Center upon
    prescription of a Physician;                                              the recommendation of a Physician.


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Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent are not Confined in a Hospital, and is               Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent are not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent are Confined in a Hospital, when required for the            •   counseling for activities of an educational nature.
diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient Substance Use Disorder Services include               •   counseling for borderline intellectual functioning.
Residential Treatment services.                                        •   counseling for occupational problems.
Substance Use Disorder Residential Treatment Services                  •   counseling related to consciousness raising.
are services provided by a Hospital for the evaluation and             •   vocational or religious counseling.
treatment of the psychological and social functional
                                                                       •   I.Q. testing.
disturbances that are a result of subacute Substance Use
Disorder conditions.                                                   •   custodial care, including but not limited to geriatric day
                                                                           care.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of             •   psychological testing on children requested by or for a
psychological and social disturbances that are the result of               school system.
Substance Use Disorder; provides a subacute, structured,               •   occupational/recreational therapy programs even if
psychotherapeutic treatment program, under the supervision of              combined with supportive therapy for age-related cognitive
Physicians; provides 24-hour care, in which a person lives in              decline.
an open setting; and is licensed in accordance with the laws of
the appropriate legally authorized agency as a residential
treatment center.                                                      HC-COV1409                                                       01-23


A person is considered confined in a Substance Use Disorder
Residential Treatment Center when she/he is a registered bed


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Durable Medical Equipment                                                      External prosthetic appliances and devices include
•   charges made for purchase or rental of Durable Medical                     prostheses/prosthetic appliances and devices; orthoses and
    Equipment that is ordered or prescribed by a Physician and                 orthotic devices; braces; and splints.
    provided by a vendor approved by Cigna for use outside a                   Prostheses/Prosthetic Appliances and Devices
    Hospital or Other Health Care Facility. Coverage for repair,               Prostheses/prosthetic appliances and devices are defined as
    replacement or duplicate equipment is provided only when                   fabricated replacements for missing body parts.
    required due to anatomical change and/or reasonable wear                   Prostheses/prosthetic appliances and devices include, but are
    and tear. All maintenance and repairs that result from a                   not limited to:
    person’s misuse are the person’s responsibility.
                                                                               •   limb prostheses;
Durable Medical Equipment is defined as items which are
designed for and able to withstand repeated use by more than                   •   terminal devices such as hands or hooks;
one person; customarily serve a medical purpose; generally                     •   speech prostheses; and
are not useful in the absence of Injury or Sickness; are                       •   facial prostheses.
appropriate for use in the home; and are not disposable. Such
equipment includes, but is not limited to, crutches, hospital                  Orthoses and Orthotic Devices
beds, ventilators, insulin pumps and wheel chairs.                             Orthoses and orthotic devices are defined as orthopedic
Durable Medical Equipment items that are not covered include                   appliances or apparatuses used to support, align, prevent or
but are not limited to those that are listed below:                            correct deformities. Coverage is provided for custom foot
                                                                               orthoses and other orthoses as follows:
•   Bed Related Items: bed trays, over the bed tables, bed
    wedges, pillows, custom bedroom equipment, mattresses,                     •   Non-foot orthoses – only the following non-foot orthoses
    including nonpower mattresses, custom mattresses and                           are covered:
    posturepedic mattresses.                                                       • rigid and semi-rigid custom fabricated orthoses;

•   Bath Related Items: bath lifts, nonportable whirlpools,                        • semi-rigid prefabricated and flexible orthoses; and
    bathtub rails, toilet rails, raised toilet seats, bath benches,                • rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                       and basic additions, such as bars and joints.
    and spas.
                                                                               •   Custom foot orthoses – custom foot orthoses are only
•   Fixtures to Real Property: ceiling lifts and wheelchair                        covered as follows:
    ramps.
                                                                                   • for persons with impaired peripheral sensation and/or
•   Car/Van Modifications.                                                           altered peripheral circulation (e.g. diabetic neuropathy
•   Air Quality Items: room humidifiers, vaporizers and air                          and peripheral vascular disease);
    purifiers.                                                                     • when the foot orthosis is an integral part of a leg brace
•   Other Equipment: centrifuges, needleless injectors, heat                         and is necessary for the proper functioning of the brace;
    lamps, heating pads, cryounits, cryotherapy machines,                          • when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                         substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                         toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                     Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise
                                                                                   • for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.
                                                                                     (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                     spasticity, malalignment, or pathological positioning of
HC-COV1124                                                        02-21              the foot and there is reasonable expectation of
                                                                                     improvement.
External Prosthetic Appliances and Devices                                     The following are specifically excluded orthoses and orthotic
                                                                               devices:
•   charges made or ordered by a Physician for: the initial
    purchase and fitting of external prosthetic appliances and                 •   prefabricated foot orthoses;
    devices available only by prescription which are necessary                 •   cranial banding and/or cranial orthoses. Other similar
    for the alleviation or correction of Injury, Sickness or                       devices are excluded except when used postoperatively for
    congenital defect.                                                             synostotic plagiocephaly. When used for this indication, the
                                                                                   cranial orthosis will be subject to the limitations and




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    maximums of the External Prosthetic Appliances and                         Outpatient Therapy Services
    Devices benefit;                                                           Charges for the following therapy services:
•   orthosis shoes, shoe additions, procedures for foot                        Cognitive Therapy, Occupational Therapy, Osteopathic
    orthopedic shoes, shoe modifications and transfers;                        Manipulation, Physical Therapy, Pulmonary
•   non-foot orthoses primarily used for cosmetic rather than                  Rehabilitation, Speech Therapy
    functional reasons; and                                                    •   Charges for therapy services are covered when provided as
•   non-foot orthoses primarily for improved athletic                              part of a program of treatment.
    performance or sports participation.                                       Cardiac Rehabilitation
Braces                                                                         •   Charges for Phase II cardiac rehabilitation provided on an
A Brace is defined as an orthosis or orthopedic appliance that                     outpatient basis following diagnosis of a qualifying cardiac
supports or holds in correct position any movable part of the                      condition when Medically Necessary. Phase II is a Hospital-
body and that allows for motion of that part.                                      based outpatient program following an inpatient Hospital
The following braces are specifically excluded: Copes                              discharge. The Phase II program must be Physician directed
scoliosis braces.                                                                  with active treatment and EKG monitoring.
Splints                                                                            Phase III and Phase IV cardiac rehabilitation is not covered.
                                                                                   Phase III follows Phase II and is generally conducted at a
A Splint is defined as an appliance for preventing movement                        recreational facility primarily to maintain the patient’s status
of a joint or for the fixation of displaced or movable parts.                      achieved through Phases I and II. Phase IV is an
Coverage for replacement of external prosthetic appliances                         advancement of Phase III which includes more active
and devices is limited to the following:                                           participation and weight training.
•   replacement due to regular wear. Replacement for damage                    Chiropractic Care Services
    due to abuse or misuse by the person will not be covered.                  •   Charges for diagnostic and treatment services utilized in an
•   replacement required because anatomic change has rendered                      office setting by chiropractic Physicians. Chiropractic
    the external prosthetic appliance or device ineffective.                       treatment includes the conservative management of acute
    Anatomic change includes significant weight gain or loss,                      neuromusculoskeletal conditions through manipulation and
    atrophy and/or growth.                                                         ancillary physiological treatment rendered to specific joints
•   replacement due to a surgical alteration or revision of the                    to restore motion, reduce pain, and improve function. For
    impacted site.                                                                 these services you have direct access to qualified
                                                                                   chiropractic Physicians.
Coverage for replacement is limited as follows:
                                                                               Coverage is provided when Medically Necessary in the most
•   no more than once every 24 months for persons 19 years of                  medically appropriate setting to:
    age and older.
                                                                               •   Restore function (called “rehabilitative”):
•   no more than once every 12 months for persons 18 years of
    age and under.                                                                 • To restore function that has been impaired or lost.

The following are specifically excluded external prosthetic                        • To reduce pain as a result of Sickness, Injury, or loss of a
appliances and devices:                                                              body part.
•   external and internal power enhancements for external                      •   Improve, adapt or attain function (sometimes called
    prosthetic devices; or                                                         “habilitative”):
•   microprocessor controlled prostheses and orthoses; and                         • To improve, adapt or attain function that has been
                                                                                     impaired or was never achieved as a result of congenital
•   myoelectric prostheses and orthoses.                                             abnormality (birth defect).
                                                                                   • To improve, adapt or attain function that has been
HC-COV1125                                                        01-22              impaired or was never achieved because of mental health
                                                                    V1               and substance use disorder conditions. Includes
                                                                                     conditions such as autism and intellectual disability, or
                                                                                     mental health and substance use disorder conditions that
                                                                                     result in a developmental delay.




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Coverage is provided as part of a program of treatment when                    Medically Necessary, non-cosmetic surgery; or the surgery
the following criteria are met:                                                or therapy is performed prior to age 19 and is required as a
•   The individual’s condition has the potential to improve or is              result of the congenital absence or agenesis (lack of
    improving in response to therapy, and maximum                              formation or development) of a body part. Repeat or
    improvement is yet to be attained.                                         subsequent surgeries for the same condition are covered
                                                                               only when there is the probability of significant additional
•   There is an expectation that the anticipated improvement is                improvement as determined by the utilization review
    attainable in a reasonable and generally predictable period                Physician.
    of time.
•   The therapy is provided by, or under the direct supervision
                                                                           HC-COV631                                                      12-17
    of, a licensed health care professional acting within the
    scope of the license.
•   The therapy is Medically Necessary and medically                       Transplant Services and Related Specialty Care
    appropriate for the diagnosed condition.                               Charges made for human organ and tissue transplant services
Coverage for occupational therapy is provided only for                     which include solid organ and bone marrow/stem cell
purposes of enabling individuals to perform the activities of              procedures at designated facilities throughout the United
daily living after an Injury or Sickness.                                  States or its territories. This coverage is subject to the
Therapy services that are not covered include:                             following conditions and limitations.
•   sensory integration therapy.                                           Transplant services include the recipient’s medical, surgical
                                                                           and Hospital services; inpatient immunosuppressive
•   treatment of dyslexia.                                                 medications; and costs for organ or bone marrow/stem cell
•   maintenance or preventive treatment provided to prevent                procurement. Transplant services are covered only if they are
    recurrence or to maintain the patient’s current status.                required to perform any of the following human to human
•   charges for Chiropractic Care not provided in an office                organ or tissue transplants: allogeneic bone marrow/stem cell,
    setting.                                                               autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                           kidney, kidney/pancreas, liver, lung, pancreas or intestine
•   vitamin therapy.                                                       which includes small bowel-liver or multi-visceral.
Coverage is administered according to the following:                       Implantation procedures are also covered for artificial heart,
•   Multiple therapy services provided on the same day                     percutaneous ventricular assist device (PVAD), extracorporeal
    constitute one day of service for each therapy type.                   membrane oxygenation (ECMO) ventricular assist device
                                                                           (VAD) and intra-aortic balloon pump (IABP) are also covered.
                                                                           •   All transplant services and related specialty care services,
HC-COV982                                                     01-21
                                                                               other than cornea transplants, are covered when received at
                                                                               Cigna LifeSOURCE Transplant Network® facilities.
Breast Reconstruction and Breast Prostheses
                                                                           •   Transplant services and related specialty care services
•   charges made for reconstructive surgery following a                        received at Participating Provider facilities specifically
    mastectomy; benefits include: surgical services for                        contracted with Cigna for those transplant services and
    reconstruction of the breast on which surgery was                          related specialty care services, other than Cigna
    performed; surgical services for reconstruction of the non-                LifeSOURCE Transplant Network® facilities, are payable
    diseased breast to produce symmetrical appearance;                         at the In-Network level.
    postoperative breast prostheses; and mastectomy bras and
                                                                           •   Transplant services and related specialty care services
    prosthetics, limited to the lowest cost alternative available
                                                                               received at any other facility, including non-Participating
    that meets prosthetic placement needs. During all stages of
                                                                               Provider facilities and Participating Provider facilities not
    mastectomy, treatment of physical complications, including
                                                                               specifically contracted with Cigna for transplant services
    lymphedema therapy, are covered.
                                                                               and related specialty care services, are covered at the Out-
Reconstructive Surgery                                                         of-Network level.
•   charges made for reconstructive surgery or therapy to repair           •   Cornea transplants received at a facility that is specifically
    or correct a severe physical deformity or disfigurement                    contracted with Cigna for this type of transplant are payable
    which is accompanied by functional deficit; (other than                    at the In-Network level.
    abnormalities of the jaw or conditions related to TMJ
                                                                           Coverage for organ procurement costs are limited to costs
    disorder) provided that: the surgery or therapy restores or
                                                                           directly related to the procurement of an organ, from a cadaver
    improves function; reconstruction is required as a result of


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or a live donor. Organ procurement costs shall consist of                travel benefits are available when the covered person is the
hospitalization and surgery necessary for removal of an organ            donor for an organ/tissue transplant, the transplant recipient’s
and transportation of a live donor (refer to Transplant and              plan would cover all donor costs.
Related Specialty Care Travel Services). Compatibility testing
undertaken prior to procurement is covered if Medically
                                                                         HC-COV1328                                                     04-23
Necessary. Costs related to the search for, and identification of
a bone marrow or stem cell donor for an allogeneic transplant
are also covered.                                                        Advanced Cellular Therapy
Transplant and Related Specialty Care Travel Services                    Charges for advanced cellular therapy products and services
Charges made for non-taxable travel expenses incurred by you             directly related to their administration are covered when
in connection with a preapproved organ/tissue transplant are             Medically Necessary. Coverage includes the cost of the
covered subject to the following conditions and limitations:             advanced cellular therapy product; medical, surgical, and
                                                                         facility services directly related to administration of the
•   Transplant and related specialty care travel benefits are not
                                                                         advanced cellular therapy product, and professional services.
    available for cornea transplants.
                                                                         Cigna determines which U.S. Food and Drug Administration
•   Benefits for transportation and lodging are available to the
                                                                         (FDA) approved products are in the category of advanced
    recipient of a preapproved organ/tissue transplant and/or
                                                                         cellular therapy, based on the nature of the treatment and how
    related specialty care from a designated Cigna
                                                                         it is manufactured, distributed and administered. An example
    LifeSOURCE Transplant Network® facility.
                                                                         of advanced cellular therapy is chimeric antigen receptor
•   The term recipient is defined to include a person receiving          (CAR) T-cell therapy that redirects a person’s T cells to
    authorized transplant related services during any of the             recognize and kill a specific type of cancer cell.
    following: evaluation, candidacy, transplant event, or post-
                                                                         Advanced cellular therapy products and their administration
    transplant care.
                                                                         are covered at the In-Network benefit level when prior
•   Travel expenses for the person receiving the transplant will         authorized to be received at a provider contracted with Cigna
    include charges for: transportation to and from the                  for the specific advanced cellular therapy product and related
    designated Cigna LifeSOURCE Transplant Network®                      services. Advanced cellular therapy products and their
    facility (including charges for a rental car used during a           administration received from a provider that is not contracted
    period of care at the designated Cigna LifeSOURCE                    with Cigna for the specific advanced cellular therapy product
    Transplant Network® facility); and lodging while at, or              and related services are not covered.
    traveling to and from, the designated Cigna LifeSOURCE
                                                                         Advanced Cellular Therapy Travel Services
    Transplant Network® facility.
                                                                         Charges made for non-taxable travel expenses incurred by you
•   In addition to your coverage for the charges associated with
                                                                         in connection with a prior authorized advanced cellular
    the items above, such charges will also be considered
                                                                         therapy product are covered, subject to the following
    covered travel expenses for one companion to accompany
                                                                         conditions and limitations.
    you. The term companion includes your spouse, a member
    of your family, your legal guardian, or any person not               Benefits for transportation and lodging are available to you
    related to you, but actively involved as your caregiver who          only when:
    is at least 18 years of age.                                         •   you are the recipient of a prior authorized advanced cellular
•   The following are specifically excluded travel expenses: any             therapy product;
    expenses that if reimbursed would be taxable income, travel          •   the term recipient is defined to include a person receiving
    costs incurred due to travel within 60 miles of your home;               prior authorized advanced cellular therapy related services
    food and meals; laundry bills; telephone bills; alcohol or               during any of the following: evaluation, candidacy, event, or
    tobacco products; and charges for transportation that exceed             post care;
    coach class rates.
                                                                         •   the advanced cellular therapy products and services directly
These benefits for Transplant Services and Related Specialty                 related to their administration are received at a provider
Care, and for Transplant and Related Specialty Care Travel                   contracted with Cigna for the specific advanced cellular
Services are only available when the covered person is the                   therapy product and related services; and
recipient of an organ/tissue transplant. Travel expenses for the
                                                                         •   the provider is not available within a 60 mile radius of your
designated live donor for a covered recipient are covered
                                                                             primary home residence.
subject to the same conditions and limitations noted above.
Charges for the expenses of a donor companion are not                    Travel expenses for the person receiving the advanced cellular
covered. No transplant and related specialty care services or            therapy include charges for: transportation to and from the


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advanced cellular therapy site (including charges for a rental              market events may occur. Market events that may affect the
car used during a period of care at the facility); and lodging              coverage status of a Medical Pharmaceutical include an
while at, or traveling to and from, the site.                               increase in the cost of a Medical Pharmaceutical.
In addition to your coverage for the charges associated with                Certain Medical Pharmaceuticals that are used for treatment of
the items above, such charges will also be considered covered               complex chronic conditions, are high cost, and are
travel expenses for one companion to accompany you. The                     administered and handled in a specialized manner may be
term companion includes your spouse, a member of your                       subject to additional coverage criteria or require
family, your legal guardian, or any person not related to you,              administration by a participating provider in the network for
but actively involved as your caregiver who is at least 18 years            the Cigna Pathwell Specialty Network. Cigna determines
of age.                                                                     which injections, infusions, and implantable drugs are subject
The following are specifically excluded travel expenses: any                to these criteria and requirements.
expenses that if reimbursed would be taxable income, travel                 The Cigna Pathwell Specialty Network includes contracted
costs incurred due to travel within a 60 mile radius of your                physician offices, ambulatory infusion centers, home and
primary home residence; food and meals; laundry bills;                      outpatient hospital infusion centers, and contracted specialty
telephone bills; alcohol or tobacco products; and charges for               pharmacies. When the Cigna Pathwell Specialty Network
transportation that exceed coach class rates.                               cannot meet the clinical needs of the customer as determined
                                                                            by Cigna, exceptions are considered and approved when
                                                                            appropriate.
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                                                                            A complete list of those Medical Pharmaceuticals subject to
                                                                            additional coverage criteria or that require administration by a
Medical Pharmaceuticals                                                     participating provider in the Cigna Pathwell Specialty
The plan covers charges made for Medical Pharmaceuticals                    Network is available at www.cigna.com/PathwellSpecialty.
that may be administered in an Inpatient setting, Outpatient                The following are not covered under the plan:
setting, Physician’s office, or in a covered person's home.
                                                                            •   Medical Pharmaceutical regimens that have a Therapeutic
Benefits under this section are provided only for Medical                       Equivalent or Therapeutic Alternative to another covered
Pharmaceuticals that, because of their characteristics as                       Prescription Drug Product(s);
determined by Cigna, require a qualified licensed health care
                                                                            •   Medical Pharmaceuticals newly approved by the Food &
professional to administer or directly supervise administration.
                                                                                Drug Administration (FDA) up to the first 180 days
Certain Medical Pharmaceuticals are subject to prior                            following its market launch;
authorization requirements or other coverage conditions.
                                                                            •   Medical Pharmaceutical regimens for which there is an
Additionally, certain Medical Pharmaceuticals are subject to
                                                                                appropriate lower cost alternative for treatment.
step therapy requirements. This means that in order to receive
coverage, the covered person may be required to try a specific              In the event a covered Medical Pharmaceutical is not clinically
Medical Pharmaceutical before trying others. Medical                        appropriate, Cigna makes available an exception process to
Pharmaceuticals administered in an Inpatient facility are                   allow for access to non-covered drugs when Medically
reviewed per Inpatient review guidelines.                                   Necessary.
Cigna determines the utilization management requirements                    Cigna may consider certain Medical Pharmaceutical regimens
and other coverage conditions that apply to a Medical                       as preferred when they are clinically effective treatments and
Pharmaceutical by considering a number of factors:                          the most cost effective. Preferred regimens are covered unless
                                                                            the covered person is not a candidate for the regimen and a
•   Clinical factors, which may include Cigna’s evaluations of
                                                                            Medical Necessity coverage exception is obtained.
    the site of care and the relative safety or relative efficacy of
    Medical Pharmaceuticals.
•   Economic factors, which may include the cost of the                     HC-COV1186                                                   04-23

    Medical Pharmaceutical and assessments of cost                                                                                           V2

    effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may                      Gene Therapy
change periodically for various reasons. For example, a                     Charges for gene therapy products and services directly
Medical Pharmaceutical may be removed from the market, a                    related to their administration are covered when Medically
new Medical Pharmaceutical in the same therapeutic class as a               Necessary. Gene therapy is a category of pharmaceutical
Medical Pharmaceutical may become available, or other



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products approved by the U.S. Food and Drug Administration              costs incurred due to travel within 60 miles of your home;
(FDA) to treat or cure a disease by:                                    food and meals; laundry bills; telephone bills; alcohol or
•   replacing a disease-causing gene with a healthy copy of the         tobacco products; and charges for transportation that exceed
    gene.                                                               coach class rates.
•   inactivating a disease-causing gene that may not be
    functioning properly.                                               HC-COV873                                                       01-20

•   introducing a new or modified gene into the body to help
    treat a disease.                                                    Clinical Trials
Each gene therapy product is specific to a particular disease           This plan covers routine patient care costs and services related
and is administered in a specialized manner. Cigna determines           to an approved clinical trial for a qualified individual. The
which products are in the category of gene therapy, based in            individual must be eligible to participate according to the trial
part on the nature of the treatment and how it is distributed           protocol and either of the following conditions must be met:
and administered.
                                                                        •   the referring health care professional is a participating
Coverage includes the cost of the gene therapy product;                     health care provider and has concluded that the individual’s
medical, surgical, and facility services directly related to                participation in such trial would be appropriate; or
administration of the gene therapy product; and professional
                                                                        •   the individual provides medical and scientific information
services.
                                                                            establishing that the individual’s participation in the clinical
Gene therapy products and their administration are covered                  trial would be appropriate.
when prior authorized to be received at In-Network facilities
                                                                        In addition to qualifying as an individual, the clinical trial
specifically contracted with Cigna for the specific gene
                                                                        must also meet certain criteria in order for patient care costs
therapy service. Gene therapy products and their
                                                                        and services to be covered.
administration received at other facilities are not covered.
                                                                        The clinical trial must be a phase I, phase II, phase III, or
Gene Therapy Travel Services
                                                                        phase IV clinical trial conducted in relation to the prevention,
Charges made for non-taxable travel expenses incurred by you            detection, or treatment of cancer or other life-threatening
in connection with a prior authorized gene therapy procedure            disease or condition that meets any of the following criteria:
are covered subject to the following conditions and
                                                                        •   it is a federally funded trial. The study or investigation is
limitations.
                                                                            approved or funded (which may include funding through in-
Benefits for transportation and lodging are available to you                kind contributions) by one or more of the following:
only when you are the recipient of a prior authorized gene
                                                                            • National Institutes of Health (NIH).
therapy; and when the gene therapy products and services
directly related to their administration are received at a                  • Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with              • Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
                                                                            • Centers for Medicare and Medicaid Services (CMS).
is defined to include a person receiving prior authorized gene
therapy related services during any of the following:                       • a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                   described above or the Department of Defense (DOD) or
                                                                              the Department of Veterans Affairs (VA).
Travel expenses for the person receiving the gene therapy
include charges for: transportation to and from the gene                    • a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or                   • any of the following: Department of Energy, Department
traveling to and from, the site.                                              of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                  the following conditions are met:
the items above, such charges will also be considered covered                 •   the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The                           approved through a system of peer review comparable
term companion includes your spouse, a member of your                             to the system of peer review of studies and
family, your legal guardian, or any person not related to you,                    investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years                  (NIH); and
of age.                                                                       •   the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any                      the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel                       who have no interest in the outcome of the review.


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    • the study or investigation is conducted under an                   •   the clinical trial is conducted outside the individual’s state
      investigational new drug application reviewed by the U.S.              of residence.
      Food and Drug Administration (FDA).
    • the study or investigation is a drug trial that is exempt          HC-COV1128                                                      01-22
      from having such an investigational new drug application.
The plan does not cover any of the following services
associated with a clinical trial:
                                                                         Exclusions, Expenses Not Covered and
•   services that are not considered routine patient care costs
    and services, including the following:                               General Limitations
    • the investigational drug, device, item, or service that is         Exclusions and Expenses Not Covered
      provided solely to satisfy data collection and analysis            Additional coverage limitations determined by plan or
      needs.                                                             provider type are shown in The Schedule. Payment for the
    • an item or service that is not used in the direct clinical         following is specifically excluded from this plan:
      management of the individual.                                      •   care for health conditions that are required by state or local
    • a service that is clearly inconsistent with widely accepted            law to be treated in a public facility.
      and established standards of care for a particular                 •   care required by state or federal law to be supplied by a
      diagnosis.                                                             public school system or school district.
•   an item or service provided by the research sponsors free of         •   care for military service disabilities treatable through
    charge for any person enrolled in the trial.                             governmental services if you are legally entitled to such
•   travel and transportation expenses, unless otherwise covered             treatment and facilities are reasonably available.
    under the plan, including but not limited to the following:          •   treatment of an Injury or Sickness which is due to war,
    • fees for personal vehicle, rental car, taxi, medical van,              declared, or undeclared.
      ambulance, commercial airline, train.                              •   charges which you are not obligated to pay and/or for which
    • mileage reimbursement for driving a personal vehicle.                  you are not billed. This exclusion includes, but is not
    • lodging.
                                                                             limited to:
                                                                             • any instance where Cigna determines that a provider or
    • meals.
                                                                               Pharmacy did not bill you for or has waived, reduced, or
•   routine patient costs obtained out-of-network when Out-of-                 forgiven any portion of its charges and/or any portion of
    Network benefits do not exist under the plan.                              any Copayment, Deductible, and/or Coinsurance
Examples of routine patient care costs and services include:                   amount(s) you are required to pay for an otherwise
•   radiological services.                                                     Covered Expense (as shown on The Schedule) without
                                                                               Cigna's express consent.
•   laboratory services.
                                                                             • charges of a non-Participating Provider who has agreed to
•   intravenous therapy.                                                       charge you at an In-Network benefits level or some other
•   anesthesia services.                                                       benefits level not otherwise applicable to the services
•   Physician services.                                                        received.
•   office services.                                                         In the event that Cigna determines that this exclusion
                                                                             applies, then Cigna in its sole discretion shall have the right
•   Hospital services.
                                                                             to:
•   Room and Board, and medical supplies that typically would
                                                                             • require you and/or any provider or Pharmacy submitting
    be covered under the plan for an individual who is not
                                                                               claims on your behalf to provide proof sufficient to Cigna
    enrolled in a clinical trial.
                                                                               that you have made your required cost-share payment(s)
Clinical trials conducted by Out-of-Network providers will be                  prior to the payment of any benefits by Cigna;
covered only when the following conditions are met:
                                                                             • deny the payment of benefits in connection with the
• In-Network providers are not participating in the clinical                   Covered Expense regardless of whether the provider or
    trial; or                                                                  the Pharmacy represents that you remain responsible for
                                                                               any amounts that your plan does not cover; or




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    • reduce the benefits in proportion to the amount of the                   veins; abdominoplasty; panniculectomy; rhinoplasty;
      Copayment, Deductible, and/or Coinsurance amounts                        blepharoplasty; redundant skin surgery; removal of skin
      waived, forgiven or reduced, regardless of whether the                   tags; acupressure; craniosacral/cranial therapy; dance
      provider or Pharmacy represents that you remain                          therapy; movement therapy; applied kinesiology; rolfing;
      responsible for any amounts that your plan does not                      prolotherapy; and extracorporeal shock wave lithotripsy
      cover.                                                                   (ESWL) for musculoskeletal and orthopedic conditions.
•   charges or payment for healthcare-related services that                •   dental treatment of the teeth, gums or structures directly
    violate state or federal law.                                              supporting the teeth, including dental X-rays, examinations,
•   assistance in the activities of daily living, including but not            repairs, orthodontics, periodontics, casts, splints and
    limited to eating, bathing, dressing or other Custodial                    services for dental malocclusion, for any condition.
    Services or self-care activities, homemaker services and                   However, charges made for a continuous course of dental
    services primarily for rest, domiciliary or convalescent care.             treatment for an Injury to teeth are covered.
•   for or in connection with experimental, investigational or             •   for medical and surgical services, initial and repeat,
    unproven services.                                                         intended for the treatment or control of obesity including
                                                                               clinically severe (morbid) obesity, including: medical and
    Experimental, investigational and unproven services are                    surgical services to alter appearance or physical changes
    medical, surgical, diagnostic, psychiatric, substance use                  that are the result of any surgery performed for the
    disorder or other health care technologies, supplies,                      management of obesity or clinically severe (morbid)
    treatments, procedures, drug or Biologic therapies or                      obesity; and weight loss programs or treatments, whether
    devices that are determined by the utilization review                      prescribed or recommended by a Physician or under
    Physician to be:                                                           medical supervision.
    • not approved by the U.S. Food and Drug Administration
                                                                           •   reports, evaluations, physical examinations, or
      (FDA) or other appropriate regulatory agency to be                       hospitalization not required for health reasons, including but
      lawfully marketed;                                                       not limited to employment, insurance or government
    • not demonstrated, through existing peer-reviewed,                        licenses, and court-ordered, forensic or custodial
      evidence-based, scientific literature to be safe and                     evaluations, unless otherwise covered under this plan.
      effective for treating or diagnosing the condition or                •   court-ordered treatment or hospitalization, unless treatment
      Sickness for which its use is proposed;                                  is prescribed by a Physician and is a covered service or
    • the subject of review or approval by an Institutional                    supply under this plan.
      Review Board for the proposed use except as provided in              •   infertility services including infertility drugs, surgical or
      the “Clinical Trials” sections of this plan; or                          medical treatment programs for infertility, including in vitro
    • the subject of an ongoing phase I, II or III clinical trial,             fertilization, gamete intrafallopian transfer (GIFT), zygote
      except for routine patient care costs related to qualified               intrafallopian transfer (ZIFT), variations of these
      clinical trials as provided in the “Clinical Trials” sections            procedures, and any costs associated with the collection,
      of this plan.                                                            washing, preparation or storage of sperm for artificial
    In determining whether any such technologies, supplies,                    insemination (including donor fees). Cryopreservation of
    treatments, drug or Biologic therapies, or devices are                     donor sperm and eggs is also excluded from coverage.
    experimental, investigational, and/or unproven, the                    •   reversal of male and female voluntary sterilization
    utilization review Physician may rely on the clinical                      procedures.
    coverage policies maintained by Cigna or the Review                    •   any medications, drugs, services or supplies for the
    Organization. Clinical coverage policies may incorporate,                  treatment of male or female sexual dysfunction such as, but
    without limitation and as applicable, criteria relating to U.S.            not limited to, treatment of erectile dysfunction (including
    Food and Drug Administration-approved labeling, the                        penile implants), anorgasmy, and premature ejaculation.
    standard medical reference compendia and peer-reviewed,
    evidence-based scientific literature or guidelines.                    •   medical and Hospital care and costs for the child of your
                                                                               Dependent child, unless the child is otherwise eligible under
•   cosmetic surgery and therapies. Cosmetic surgery or therapy                this plan.
    is defined as surgery or therapy performed to improve or
    alter appearance or self-esteem.                                       •   non-medical counseling and/or ancillary services, including
                                                                               but not limited to Custodial Services, educational services,
•   the following services are excluded from coverage                          vocational counseling, training and, rehabilitation services,
    regardless of clinical indications: macromastia or                         behavioral training, biofeedback, neurofeedback, hypnosis,
    gynecomastia surgeries; surgical treatment of varicose


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    sleep therapy, return to work services, work hardening                 •   membership costs and fees associated with health clubs,
    programs and driver safety courses.                                        weight loss programs or smoking cessation programs.
•   therapy or treatment intended primarily to improve or                  •   genetic screening or pre-implantations genetic screening.
    maintain general physical condition or for the purpose of                  General population-based genetic screening is a testing
    enhancing job, school, athletic or recreational performance,               method performed in the absence of any symptoms or any
    including but not limited to routine, long term, or                        significant, proven risk factors for genetically linked
    maintenance care which is provided after the resolution of                 inheritable disease.
    the acute medical problem and when significant therapeutic             •   dental implants for any condition.
    improvement is not expected.
                                                                           •   fees associated with the collection, storage or donation of
•   consumable medical supplies other than ostomy supplies                     blood or blood products, except for autologous donation in
    and urinary catheters. Excluded supplies include, but are not              anticipation of scheduled services when medical
    limited to bandages and other disposable medical supplies,                 management review determines the likelihood of excess
    skin preparations and test strips, except as specified in the              blood loss is such that transfusion is an expected adjunct to
    “Home Health Care Services” or “Breast Reconstruction                      surgery.
    and Breast Prostheses” sections of this plan.
                                                                           •   blood administration for the purpose of general
•   private Hospital rooms and/or private duty nursing except as               improvement in physical condition.
    provided under the Home Health Care Services provision.
                                                                           •   cost of biologicals that are immunizations or medications
•   personal or comfort items such as personal care kits                       for the purpose of travel, or to protect against occupational
    provided on admission to a Hospital, television, telephone,                hazards and risks.
    newborn infant photographs, complimentary meals, birth
    announcements, and other articles which are not for the                •   health and beauty aids, cosmetics and dietary supplements.
    specific treatment of an Injury or Sickness.                           •   all nutritional supplements, formulae, enteral feedings,
•   artificial aids, including but not limited to corrective                   supplies and specially formulated medical foods, whether
    orthopedic shoes, arch supports, elastic stockings, garter                 prescribed or not except for infant formula needed for the
    belts, corsets and dentures.                                               treatment of inborn errors of metabolism.
•   aids or devices that assist with non-verbal communications,            •   for or in connection with an Injury or Sickness arising out
    including but not limited to communication boards, pre-                    of, or in the course of, any employment for wage or profit.
    recorded speech devices, laptop computers, desktop                     •   charges related to an Injury or Sickness payable under
    computers, Personal Digital Assistants (PDAs), Braille                     worker’s compensation or similar laws.
    typewriters, visual alert systems for the deaf and memory              •   massage therapy.
    books.
                                                                           •   abortions, unless a Physician certifies in writing that the
•   eyeglass lenses and frames, contact lenses and associated                  pregnancy would endanger the life of the mother, or the
    services (exams and fittings) (except for the initial set after            expenses are incurred to treat medical complications due to
    treatment of keratoconus or following cataract surgery).                   abortion.
•   routine refractions, eye exercises and surgical treatment for          •   expenses incurred by a participant to the extent
    the correction of a refractive error, including radial                     reimbursable under automobile insurance coverage.
    keratotomy.                                                                Coverage under this plan is secondary to automobile no-
•   acupuncture.                                                               fault insurance or similar coverage. The coverage provided
•   all non-injectable prescription drugs, unless Physician                    under this plan does not constitute “Qualified Health
    administration or oversight is required, injectable                        Coverage” under Michigan law and therefore does not
    prescription drugs to the extent they do not require                       replace Personal Injury Protection (PIP) coverage provided
    Physician supervision and are typically considered self-                   under an automobile insurance policy issued to a Michigan
    administered drugs, non-prescription drugs, and                            resident. This plan will cover expenses only not otherwise
    investigational and experimental drugs, except as provided                 covered by the PIP coverage.
    in this plan.                                                          General Limitations
•   routine foot care, including the paring and removing of                No payment will be made for expenses incurred for you or any
    corns and calluses and toenail maintenance. However, foot              one of your Dependents:
    care services for diabetes, peripheral neuropathies and
                                                                           •   for charges by a Hospital owned or operated by or which
    peripheral vascular disease are covered when Medically
                                                                               provides care or performs services for, the United States
    Necessary.


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    Government, if such charges are directly related to a                    Closed Panel Plan
    military-service-connected Injury or Sickness.                           A Plan that provides medical or dental benefits primarily in
•   for any charges related to care provided through a public                the form of services through a panel of employed or
    program, other than Medicaid.                                            contracted providers, and that limits or excludes benefits
•   for charges which would not have been made if the person                 provided by providers outside of the panel, except in the case
    did not have coverage.                                                   of emergency or if referred by a provider within the panel.
•   to the extent that they are more than Maximum                            Primary Plan
    Reimbursable Charges.                                                    The Plan that determines and provides or pays benefits
•   to the extent of the exclusions imposed by any certification             without taking into consideration the existence of any other
    requirement shown in this plan.                                          Plan.
•   for expenses for services, supplies, care, treatment, drugs or           Secondary Plan
    surgery that are not Medically Necessary.                                A Plan that determines, and may reduce its benefits after
•   for charges made by any Physician or Other Health                        taking into consideration, the benefits provided or paid by the
    Professional who is a member of your family or your                      Primary Plan. A Secondary Plan may also recover from the
    Dependent's family.                                                      Primary Plan the Reasonable Cash Value of any services it
                                                                             provided to you.
•   for expenses incurred outside the United States other than
    expenses for Medically Necessary emergency or urgent care                Allowable Expense
    while temporarily traveling abroad.                                      The amount of charges considered for payment under the Plan
                                                                             for a Covered Service prior to any reductions due to
                                                                             coinsurance, copayment or deductible amounts. If Cigna
HC-EXC526                                                       01-24
                                                                             contracts with an entity to arrange for the provision of
                                                                  V1
                                                                             Covered Services through that entity’s contracted network of
                                                                             health care providers, the amount that Cigna has agreed to pay
                                                                             that entity is the allowable amount used to determine your
Coordination of Benefits                                                     coinsurance or deductible payments. If the Plan provides
                                                                             benefits in the form of services, the Reasonable Cash Value of
This section applies if you or any one of your Dependents is                 each service is the Allowable Expense and is a paid benefit.
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You                Examples of expenses or services that are not Allowable
should file all claims with each Plan.                                       Expenses include, but are not limited to the following:
Definitions                                                                  •   An expense or service or a portion of an expense or service
                                                                                 that is not covered by any of the Plans is not an Allowable
For the purposes of this section, the following terms have the                   Expense.
meanings set forth below:
                                                                             •   If you are confined to a private Hospital room and no Plan
Plan                                                                             provides coverage for more than a semiprivate room, the
Any of the following that provides benefits or services for                      difference in cost between a private and semiprivate room is
medical care or treatment:                                                       not an Allowable Expense.
•   Group insurance and/or group-type coverage, whether                      •   If you are covered by two or more Plans that provide
    insured or self-insured which neither can be purchased by                    services or supplies on the basis of reasonable and
    the general public, nor is individually underwritten,                        customary fees, any amount in excess of the highest
    including closed panel coverage.                                             reasonable and customary fee is not an Allowable Expense.
•   Coverage under Medicare and other governmental benefits                  •   If you are covered by one Plan that provides services or
    as permitted by law, excepting Medicaid and Medicare                         supplies on the basis of reasonable and customary fees and
    supplement policies.                                                         one Plan that provides services and supplies on the basis of
•   Medical benefits coverage of group, group-type, and                          negotiated fees, the Primary Plan's fee arrangement shall be
    individual automobile contracts.                                             the Allowable Expense.
Each Plan or part of a Plan which has the right to coordinate                •   If your benefits are reduced under the Primary Plan (through
benefits will be considered a separate Plan.                                     the imposition of a higher copayment amount, higher
                                                                                 coinsurance percentage, a deductible and/or a penalty)
                                                                                 because you did not comply with Plan provisions or because



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    you did not use a preferred provider, the amount of the                     be the Primary Plan. If the other Plan does not have a
    reduction is not an Allowable Expense. Such Plan                            similar provision and, as a result, the Plans cannot agree on
    provisions include second surgical opinions and                             the order of benefit determination, this paragraph shall not
    precertification of admissions or services.                                 apply.
Reasonable Cash Value                                                       •   If one of the Plans that covers you is issued out of the state
An amount which a duly licensed provider of health care                         whose laws govern this Policy, and determines the order of
services usually charges patients and which is within the range                 benefits based upon the gender of a parent, and as a result,
of fees usually charged for the same service by other health                    the Plans do not agree on the order of benefit determination,
care providers located within the immediate geographic area                     the Plan with the gender rules shall determine the order of
where the health care service is rendered under similar or                      benefits.
comparable circumstances.                                                   If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
                                                                            be primary.
A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
                                                                            Medicare, the benefit determination rules identified above,
•   The Plan that covers you as an enrollee or an Employee                  will be used to determine how benefits will be coordinated.
    shall be the Primary Plan and the Plan that covers you as a
    Dependent shall be the Secondary Plan;                                  Effect on the Benefits of This Plan
•   If you are a Dependent child whose parents are not divorced             If this Plan is the Secondary Plan, this Plan may reduce
    or legally separated, the Primary Plan shall be the Plan                benefits so that the total benefits paid by all Plans are not more
    which covers the parent whose birthday falls first in the               than 100% of the total of all Allowable Expenses.
    calendar year as an enrollee or Employee;                               Recovery of Excess Benefits
•   If you are the Dependent of divorced or separated parents,              If Cigna pays charges for benefits that should have been paid
    benefits for the Dependent shall be determined in the                   by the Primary Plan, or if Cigna pays charges in excess of
    following order:                                                        those for which we are obligated to provide under the Policy,
    • first, if a court decree states that one parent is responsible        Cigna will have the right to recover the actual payment made
      for the child's healthcare expenses or health coverage and            or the Reasonable Cash Value of any services.
      the Plan for that parent has actual knowledge of the terms            Cigna will have sole discretion to seek such recovery from any
      of the order, but only from the time of actual knowledge;             person to, or for whom, or with respect to whom, such
    • then, the Plan of the parent with custody of the child;               services were provided or such payments made by any
                                                                            insurance company, healthcare Plan or other organization. If
    • then, the Plan of the spouse of the parent with custody of
                                                                            we request, you must execute and deliver to us such
      the child;                                                            instruments and documents as we determine are necessary to
    • then, the Plan of the parent not having custody of the                secure the right of recovery.
      child; and                                                            Right to Receive and Release Information
    • finally, the Plan of the spouse of the parent not having
                                                                            Cigna, without consent or notice to you, may obtain
      custody of the child.                                                 information from and release information to any other Plan
•   The Plan that covers you as an active Employee (or as that              with respect to you in order to coordinate your benefits
    Employee's Dependent) shall be the Primary Plan and the                 pursuant to this section. You must provide us with any
    Plan that covers you as laid-off or retired Employee (or as             information we request in order to coordinate your benefits
    that Employee's Dependent) shall be the Secondary Plan. If              pursuant to this section. This request may occur in connection
    the other Plan does not have a similar provision and, as a              with a submitted claim; if so, you will be advised that the
    result, the Plans cannot agree on the order of benefit                  "other coverage" information, (including an Explanation of
    determination, this paragraph shall not apply.                          Benefits paid under the Primary Plan) is required before the
•   The Plan that covers you under a right of continuation                  claim will be processed for payment. If no response is
    which is provided by federal or state law shall be the                  received within 55 days of the request, the claim will be
    Secondary Plan and the Plan that covers you as an active                denied. If the requested information is subsequently received,
    Employee or retiree (or as that Employee's Dependent) shall             the claim will be processed.



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Coordination of Benefits with Medicare                                    IMPORTANT: If you, your spouse, or your Dependent do
If you, your spouse, or your Dependent are covered under this             not elect to enroll in Medicare Parts A and/or B when first
Plan and qualify for Medicare, federal law determines which               eligible, or you receive services from a provider who does
Plan is the primary payer and which is the secondary payer.               not accept Medicare payments, this Plan will calculate
The primary payer always determines covered benefits first,               payment based on what should have been paid by
without considering what any other coverage will pay. The                 Medicare as the primary payer if the person had been
secondary payer determines its coverage only after the                    enrolled or had received services from a provider who
Primary Plan has completed its determination.                             accepts Medicare payments. A person is considered
                                                                          eligible for Medicare on the earliest date any coverage
When Medicare is the Primary Payer                                        under Medicare could become effective.
Medicare will be the primary payer and this Plan will be the              Failure to Enroll in Medicare
secondary payer, even if you don’t elect to enroll in Medicare
or you receive services from a provider who does not accept               If you, your spouse, or your Dependent do not enroll in
Medicare payments, in the following situations:                           Medicare Parts A and/or B during the person’s initial
                                                                          Medicare enrollment period, or the person opts out of
•   COBRA or State Continuation: You, your spouse, or your                coverage, the person may be subject to Medicare late
    covered Dependent qualify for Medicare for any reason and             enrollment penalties, which can cause a delay in coverage and
    are covered under this Plan due to COBRA or state                     result in higher Medicare premiums when the person does
    continuation of coverage.                                             enroll. It can also result in a reduction in coverage under
•   Retirement or Termination of Employment: You, your                    Medicare Parts A and B. If you are planning to retire or
    spouse, or your covered Dependent qualify for Medicare for            terminate employment and you will be eligible for COBRA,
    any reason and are covered under this Plan due to your                state Continuation, or retiree coverage under this Plan, you
    retirement or termination of employment.                              should enroll in Medicare before you terminate employment to
•   Disability: You, your spouse, or your covered Dependent               avoid penalties and to receive the maximum coverage under
    qualify for Medicare due to a disability, you are an active           Medicare. Please consult Medicare or the Social Security
    Employee, and your Employer has fewer than 100                        Administration for more information.
    employees.                                                            Assistance with Medicare Questions
•   Age: You, your spouse, or your covered Dependent qualify              For more information on Medicare’s rules and regulations,
    for Medicare due to age, you are an active Employee, and              contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
    your Employer has fewer than 20 employees.                            4227) or at www.medicare.gov. You may also contact the
•   End Stage Renal Disease (ESRD): You, your spouse, or                  Social Security Administration toll-free at 1-800-772-1213, at
    your covered Dependent qualify for Medicare due to End                www.ssa.gov, or call your local Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration office.
    retired Employee. This Plan will be the primary payer for
    the first 30 months. Beginning with the 31st month,                   HC-COB273 M                                                    01-21
    Medicare will be the primary payer.
When This Plan is the Primary Payer
This Plan will be the primary payer and Medicare will be the              Expenses For Which A Third Party May
secondary payer in the following situations:
•   Disability: You, your spouse, or your covered Dependent
                                                                          Be Responsible
    qualify for Medicare due to a disability, you are an active           This plan does not cover:
    Employee, and your Employer has 100 or more employees.                •   Expenses incurred by you or your Dependent (hereinafter
•   Age: You, your spouse, or your covered Dependent qualify                  individually and collectively referred to as a "Participant,")
    for Medicare due to age, you are an active Employee, and                  for which another party may be responsible as a result of
    your Employer has 20 or more employees.                                   having caused or contributed to an Injury or Sickness.
•   End Stage Renal Disease (ESRD): You, your spouse, or                  •   Expenses incurred by a Participant to the extent any
    your covered Dependent qualify for Medicare due to End                    payment is received for them either directly or indirectly
    Stage Renal Disease (ESRD) and you are an active or                       from a third party tortfeasor or as a result of a settlement,
    retired Employee. This Plan is the primary payer for the first            judgment or arbitration award in connection with any
    30 months. Beginning with the 31st month, Medicare will be                automobile medical, automobile no-fault, uninsured or
    the primary payer.                                                        underinsured motorist, homeowners, workers'
                                                                              compensation, government insurance (other than Medicaid),


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    or similar type of insurance or coverage. The coverage                •   The plan’s right of recovery shall be a prior lien against any
    under this plan is secondary to any automobile no-fault                   proceeds recovered by the Participant. This right of
    insurance or similar coverage.                                            recovery shall not be defeated nor reduced by the
Subrogation/Right of Reimbursement                                            application of any so-called “Made-Whole Doctrine”,
                                                                              “Rimes Doctrine”, or any other such doctrine purporting to
If a Participant incurs a Covered Expense for which, in the                   defeat the plan’s recovery rights by allocating the proceeds
opinion of the plan or its claim administrator, another party                 exclusively to non-medical expense damages.
may be responsible or for which the Participant may receive
payment as described above:                                               •   No Participant hereunder shall incur any expenses on behalf
                                                                              of the plan in pursuit of the plan’s rights hereunder,
•   Subrogation: The plan shall, to the extent permitted by law,              specifically; no court costs, attorneys' fees or other
    be subrogated to all rights, claims or interests that a                   representatives' fees may be deducted from the plan’s
    Participant may have against such party and shall                         recovery without the prior express written consent of the
    automatically have a lien upon the proceeds of any recovery               plan. This right shall not be defeated by any so-called “Fund
    by a Participant from such party to the extent of any benefits            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    paid under the plan. A Participant or his/her representative              Doctrine”.
    shall execute such documents as may be required to secure
    the plan’s subrogation rights.                                        •   The plan shall recover the full amount of benefits provided
                                                                              hereunder without regard to any claim of fault on the part of
•   Right of Reimbursement: The plan is also granted a right of               any Participant, whether under comparative negligence or
    reimbursement from the proceeds of any recovery whether                   otherwise.
    by settlement, judgment, or otherwise. This right of
    reimbursement is cumulative with and not exclusive of the             •   The plan hereby disavows all equitable defenses in pursuit
    subrogation right granted in paragraph 1, but only to the                 of its right of recovery. The plan’s subrogation or recovery
    extent of the benefits provided by the plan.                              rights are neither affected nor diminished by equitable
                                                                              defenses.
Lien of the Plan
                                                                          •   In the event that a Participant shall fail or refuse to honor its
By accepting benefits under this plan, a Participant:                         obligations hereunder, then the plan shall be entitled to
•   grants a lien and assigns to the plan an amount equal to the              recover any costs incurred in enforcing the terms hereof
    benefits paid under the plan against any recovery made by                 including, but not limited to, attorney’s fees, litigation, court
    or on behalf of the Participant which is binding on any                   costs, and other expenses. The plan shall also be entitled to
    attorney or other party who represents the Participant                    offset the reimbursement obligation against any entitlement
    whether or not an agent of the Participant or of any                      to future medical benefits hereunder until the Participant has
    insurance company or other financially responsible party                  fully complied with his reimbursement obligations
    against whom a Participant may have a claim provided said                 hereunder, regardless of how those future medical benefits
    attorney, insurance carrier or other party has been notified              are incurred.
    by the plan or its agents;                                            •   Any reference to state law in any other provision of this
•   agrees that this lien shall constitute a charge against the               plan shall not be applicable to this provision, if the plan is
    proceeds of any recovery and the plan shall be entitled to                governed by ERISA. By acceptance of benefits under the
    assert a security interest thereon;                                       plan, the Participant agrees that a breach hereof would cause
•   agrees to hold the proceeds of any recovery in trust for the              irreparable and substantial harm and that no adequate
    benefit of the plan to the extent of any payment made by the              remedy at law would exist. Further, the Plan shall be
    plan.                                                                     entitled to invoke such equitable remedies as may be
                                                                              necessary to enforce the terms of the plan, including, but not
Additional Terms                                                              limited to, specific performance, restitution, the imposition
•   No adult Participant hereunder may assign any rights that it              of an equitable lien and/or constructive trust, as well as
    may have to recover medical expenses from any third party                 injunctive relief.
    or other person or entity to any minor Dependent of said              •   Participants must assist the plan in pursuing any subrogation
    adult Participant without the prior express written consent               or recovery rights by providing requested information.
    of the plan. The plan’s right to recover shall apply to
    decedents’, minors’, and incompetent or disabled persons’
    settlements or recoveries.                                            HC-SUB128                                                        03-20

•   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.


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Payment of Benefits                                                     the person to whom or on whose behalf it was made; or offset
                                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                      In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,         assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits         lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                 of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have             recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make           equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,          the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file              overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall           Calculation of Covered Expenses
be void and unenforceable under all circumstances.
                                                                        Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                 following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                   accordance with:
Participating Provider. When you authorize the payment of
your healthcare benefits to a Participating or Non-Participating        •   the methodologies in the most recent edition of the Current
Provider, you authorize the payment of the entire amount of                 Procedural terminology.
the benefits due on that claim. If a provider is overpaid               •   the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                 professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for
                                                                        HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the        Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare          Employees
services/items.
                                                                        Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
Participating Provider has been authorized by you, Cigna may,           •   the date you cease to be in a Class of Eligible Employees or
at its option, make payment of benefits to you. When benefits               cease to qualify for the insurance.
are paid to you or your Dependent, you or your Dependents               •   the last day for which you have made any required
are responsible for reimbursing the Non-Participating                       contribution for the insurance.
Provider.                                                               •   the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in            •   the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any            Service ends except as described below.
payment due him, such payment will be made to his legal
guardian. If no request for payment has been made by his legal          Any continuation of insurance must be based on a plan which
guardian, Cigna may, at its option, make payment to the                 precludes individual selection.
person or institution appearing to have assumed his custody             Temporary Layoff or Leave of Absence
and support.                                                            If your Active Service ends due to temporary layoff or leave
When one of our participants passes away, Cigna may receive             of absence, your insurance will be continued until the date as
notice that an executor of the estate has been established. The         determined by your Employer.
executor has the same rights as our insured and benefit
payments for unassigned claims should be made payable to the
executor.
Payment as described above will release Cigna from all
liability to the extent of any payment made.
Recovery of Overpayment
When an overpayment has been made by Cigna, Cigna will
have the right at any time to: recover that overpayment from



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Injury or Sickness                                                        Notice of Provider Directory/Networks
If your Active Service ends due to an Injury or Sickness, your            Notice Regarding Provider Directories and Provider
insurance will be continued while you remain totally and                  Networks
continuously disabled as a result of the Injury or Sickness.
                                                                          A list of network providers is available to you without charge
However, your insurance will not continue past the date your
                                                                          by visiting the website or by calling the phone number on your
Employer cancels your insurance.
                                                                          ID card. The network consists of providers, including
                                                                          hospitals, of varied specialties as well as general practice,
Dependents                                                                affiliated or contracted with Cigna or an organization
Your insurance for all of your Dependents will cease on the               contracting on its behalf.
earliest date below:
•   the date your insurance ceases.                                       HC-FED78                                                      10-10

•   the date you cease to be eligible for Dependent Insurance.
•   the last day for which you have made any required
    contribution for the insurance.                                       Qualified Medical Child Support Order
•   the date Dependent Insurance is cancelled.                            (QMCSO)
The insurance for any one of your Dependents will cease on                Eligibility for Coverage Under a QMCSO
the date that Dependent no longer qualifies as a Dependent.               If a Qualified Medical Child Support Order (QMCSO) is
                                                                          issued for your child, that child will be eligible for coverage as
HC-TRM128                                                    12-17
                                                                          required by the order and you will not be considered a Late
                                                                          Entrant for Dependent Insurance.
                                                                          You must notify your Employer and elect coverage for that
Rescissions                                                               child, and yourself if you are not already enrolled, within 31
                                                                          days of the QMCSO being issued.
Your coverage may not be rescinded (retroactively terminated)
                                                                          Qualified Medical Child Support Order Defined
by Cigna or the plan sponsor unless the plan sponsor or an
individual (or a person seeking coverage on behalf of the                 A Qualified Medical Child Support Order is a judgment,
individual) performs an act, practice or omission that                    decree or order (including approval of a settlement agreement)
constitutes fraud; or the plan sponsor or individual (or a                or administrative notice, which is issued pursuant to a state
person seeking coverage on behalf of the individual) makes an             domestic relations law (including a community property law),
intentional misrepresentation of material fact.                           or to an administrative process, which provides for child
                                                                          support or provides for health benefit coverage to such child
                                                                          and relates to benefits under the group health plan, and
HC-TRM80                                                     01-11        satisfies all of the following:
                                                                          •   the order recognizes or creates a child’s right to receive
                                                                              group health benefits for which a participant or beneficiary
Federal Requirements                                                          is eligible;
The following pages explain your rights and responsibilities              •   the order specifies your name and last known address, and
under federal laws and regulations. Some states may have                      the child’s name and last known address, except that the
similar requirements. If a similar provision appears elsewhere                name and address of an official of a state or political
in this booklet, the provision which provides the better benefit              subdivision may be substituted for the child’s mailing
will apply.                                                                   address;
                                                                          •   the order provides a description of the coverage to be
                                                                              provided, or the manner in which the type of coverage is to
HC-FED1                                                      10-10
                                                                              be determined;
                                                                          •   the order states the period to which it applies; and
                                                                          •   if the order is a National Medical Support Notice completed
                                                                              in accordance with the Child Support Performance and
                                                                              Incentive Act of 1998, such Notice meets the requirements
                                                                              above.



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The QMCSO may not require the health insurance policy to                      in the Plan. You must request enrollment within 60 days
provide coverage for any type or form of benefit or option not                after termination of Medicaid or CHIP coverage.
otherwise provided under the policy, except that an order may             •   Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
Payment of Benefits                                                           for the other coverage is lost, you and all of your eligible
Any payment of benefits in reimbursement for Covered                          Dependent(s) may request special enrollment in this Plan. If
Expenses paid by the child, or the child’s custodial parent or                required by the Plan, when enrollment in this Plan was
legal guardian, shall be made to the child, the child’s custodial             previously declined, it must have been declined in writing
parent or legal guardian, or a state official whose name and                  with a statement that the reason for declining enrollment
address have been substituted for the name and address of the                 was due to other health coverage. This provision applies to
child.                                                                        loss of eligibility as a result of any of the following:
                                                                              • divorce or legal separation;

HC-FED4                                                      10-10
                                                                              • cessation of Dependent status (such as reaching the
                                                                                limiting age);
                                                                              • death of the Employee;

Special Enrollment Rights Under the Health                                    • termination of employment;
Insurance Portability & Accountability Act                                    • reduction in work hours to below the minimum required
(HIPAA)                                                                         for eligibility;
If you or your eligible Dependent(s) experience a special                     • you or your Dependent(s) no longer reside, live or work
enrollment event as described below, you or your eligible                       in the other plan’s network service area and no other
Dependent(s) may be entitled to enroll in the Plan outside of a                 coverage is available under the other plan;
designated enrollment period upon the occurrence of one of                    • you or your Dependent(s) incur a claim which meets or
the special enrollment events listed below. If you are already                  exceeds the lifetime maximum limit that is applicable to
enrolled in the Plan, you may request enrollment for you and                    all benefits offered under the other plan; or
your eligible Dependent(s) under a different option offered by                • the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible                      •   Termination of Employer contributions (excluding
Dependent(s). You and all of your eligible Dependent(s) must                  continuation coverage). If a current or former Employer
be covered under the same option. The special enrollment                      ceases all contributions toward the Employee’s or
events include:                                                               Dependent’s other coverage, special enrollment may be
                                                                              requested in this Plan for you and all of your eligible
•   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment            •   Exhaustion of COBRA or other continuation coverage.
    for any of the following combinations of individuals if not               Special enrollment may be requested in this Plan for you
    already enrolled in the Plan: Employee only; spouse only;                 and all of your eligible Dependent(s) upon exhaustion of
    Employee and spouse; Dependent child(ren) only;                           COBRA or other continuation coverage. If you or your
    Employee and Dependent child(ren); Employee, spouse and                   Dependent(s) elect COBRA or other continuation coverage
    Dependent child(ren). Enrollment of Dependent children is                 following loss of coverage under another plan, the COBRA
    limited to the newborn or adopted children or children who                or other continuation coverage must be exhausted before
    became Dependent children of the Employee due to                          any special enrollment rights exist under this Plan. An
    marriage.                                                                 individual is considered to have exhausted COBRA or other
                                                                              continuation coverage only if such coverage ceases: due to
•   Loss of eligibility for State Medicaid or Children’s                      failure of the Employer or other responsible entity to remit
    Health Insurance Program (CHIP). If you and/or your                       premiums on a timely basis; when the person no longer
    Dependent(s) were covered under a state Medicaid or CHIP                  resides or works in the other plan’s service area and there is
    plan and the coverage is terminated due to a loss of                      no other COBRA or continuation coverage available under
    eligibility, you may request special enrollment for yourself              the plan; or when the individual incurs a claim that would
    and any affected Dependent(s) who are not already enrolled                meet or exceed a lifetime maximum limit on all benefits and
                                                                              there is no other COBRA or other continuation coverage


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    available to the individual. This does not include                     B. Change of status
    termination of an Employer’s limited period of                         A change in status is defined as:
    contributions toward COBRA or other continuation
    coverage as provided under any severance or other                      •   change in legal marital status due to marriage, death of a
    agreement.                                                                 spouse, divorce, annulment or legal separation;
•   Eligibility for employment assistance under State                      •   change in number of Dependents due to birth, adoption,
    Medicaid or Children’s Health Insurance Program                            placement for adoption, or death of a Dependent;
    (CHIP). If you and/or your Dependent(s) become eligible                •   change in employment status of Employee, spouse or
    for assistance with group health plan premium payments                     Dependent due to termination or start of employment,
    under a state Medicaid or CHIP plan, you may request                       strike, lockout, beginning or end of unpaid leave of absence,
    special enrollment for yourself and any affected                           including under the Family and Medical Leave Act
    Dependent(s) who are not already enrolled in the Plan. You                 (FMLA), or change in worksite;
    must request enrollment within 60 days after the date you              •   changes in employment status of Employee, spouse or
    are determined to be eligible for assistance.                              Dependent resulting in eligibility or ineligibility for
Except as stated above, special enrollment must be                             coverage;
requested within 30 days after the occurrence of the                       •   change in residence of Employee, spouse or Dependent to a
special enrollment event. If the special enrollment event is                   location outside of the Employer’s network service area;
the birth or adoption of a Dependent child, coverage will                      and
be effective immediately on the date of birth, adoption or
placement for adoption. Coverage with regard to any other                  •   changes which cause a Dependent to become eligible or
special enrollment event will be effective no later than the                   ineligible for coverage.
first day of the first calendar month following receipt of                 C. Court order
the request for special enrollment.                                        A change in coverage due to and consistent with a court order
Domestic Partners and their children (if not legal children of             of the Employee or other person to cover a Dependent.
the Employee) are not eligible for special enrollment.                     D. Medicare or Medicaid eligibility/entitlement
                                                                           The Employee, spouse or Dependent cancels or reduces
HC-FED96                                                      04-17        coverage due to entitlement to Medicare or Medicaid, or
                                                                           enrolls or increases coverage due to loss of Medicare or
                                                                           Medicaid eligibility.
Effect of Section 125 Tax Regulations on This                              E. Change in cost of coverage
Plan                                                                       If the cost of benefits increases or decreases during a benefit
                                                                           period, your Employer may, in accordance with plan terms,
Your Employer has chosen to administer this Plan in
                                                                           automatically change your elective contribution.
accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax               When the change in cost is significant, you may either
salary reduction put toward the cost of your benefits.                     increase your contribution or elect less-costly coverage. When
Otherwise, you will receive your taxable earnings as cash                  a significant overall reduction is made to the benefit option
(salary).                                                                  you have elected, you may elect another available benefit
                                                                           option. When a new benefit option is added, you may change
A. Coverage elections
                                                                           your election to the new benefit option.
Per Section 125 regulations, you are generally allowed to
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:
•   if you meet Special Enrollment criteria and enroll as
    described in the Special Enrollment section; or
•   if your Employer agrees, and you meet the criteria shown in
    the following Sections B through H and enroll for or change
    coverage within the time period established by your
    Employer.




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F. Changes in coverage of spouse or Dependent under                     adoption when you become legally obligated to support that
another employer’s plan                                                 child, totally or partially, prior to that child’s adoption.
You may make a coverage election change if the plan of your             If a child placed for adoption is not adopted, all health
spouse or Dependent: incurs a change such as adding or                  coverage ceases when the placement ends, and will not be
deleting a benefit option; allows election changes due to               continued.
Special Enrollment, Change in Status, Court Order or                    The provisions in the “Exception for Newborns” section of
Medicare or Medicaid Eligibility/Entitlement; or this Plan and          this document that describe requirements for enrollment and
the other plan have different periods of coverage or open               effective date of insurance will also apply to an adopted child
enrollment periods.                                                     or a child placed with you for adoption.
G. Reduction in work hours
If an Employee’s work hours are reduced below 30                        HC-FED67                                                      09-14
hours/week (even if it does not result in the Employee losing
eligibility for the Employer’s coverage); and the Employee
(and family) intend to enroll in another plan that provides
Minimum Essential Coverage (MEC). The new coverage must                 Coverage for Maternity Hospital Stay
be effective no later than the 1st day of the 2nd month                 Group health plans and health insurance issuers offering group
following the month that includes the date the original                 health insurance coverage generally may not, under a federal
coverage is revoked.                                                    law known as the “Newborns’ and Mothers’ Health Protection
H. Enrollment in a Qualified Health Plan (QHP)                          Act”: restrict benefits for any Hospital length of stay in
                                                                        connection with childbirth for the mother or newborn child to
Employee: The Employee must be eligible for a Special
                                                                        less than 48 hours following a vaginal delivery, or less than 96
Enrollment Period to enroll in a QHP through an Exchange
                                                                        hours following a cesarean section; or require that a provider
(Marketplace) or the Employee seeks to enroll in a QHP
                                                                        obtain authorization from the plan or insurance issuer for
through an Exchange during the Marketplace’s annual open
                                                                        prescribing a length of stay not in excess of the above periods.
enrollment period; and the disenrollment from the group plan
                                                                        The law generally does not prohibit an attending provider of
corresponds to the intended enrollment of the Employee (and
                                                                        the mother or newborn, in consultation with the mother, from
family) in a QHP through an Exchange for new coverage
                                                                        discharging the mother or newborn earlier than 48 or 96 hours,
effective beginning no later than the day immediately
                                                                        as applicable.
following the last day of the original coverage.
                                                                        Please review this Plan for further details on the specific
Family: A plan may allow an Employee to revoke family
                                                                        coverage available to you and your Dependents.
coverage midyear in order for family members (“related
individuals”) to enroll in a QHP through an Exchange
(Marketplace). The related individual(s) must be eligible for a         HC-FED11                                                      10-10
Special Enrollment Period to enroll in a QHP or seek to enroll
in a QHP during the Marketplace’s annual open enrollment
period, and the disenrollment from the group plan corresponds
to the intended enrollment of the individual(s) in a QHP for
                                                                        Women’s Health and Cancer Rights Act
new coverage effective beginning no later than the day                  (WHCRA)
immediately following the last day of the original coverage. If         Do you know that your plan, as required by the Women’s
the Employee does not enroll in a QHP, the Employee must                Health and Cancer Rights Act of 1998, provides benefits for
select self-only coverage or family coverage including one or           mastectomy-related services including all stages of
more already-covered individuals.                                       reconstruction and surgery to achieve symmetry between the
                                                                        breasts, prostheses, and complications resulting from a
                                                                        mastectomy, including lymphedema? Call Member Services at
HC-FED112                                                  01-23
                                                                        the toll free number listed on your ID card for more
                                                                        information.

Eligibility for Coverage for Adopted Children
                                                                        HC-FED12                                                      10-10
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for



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Group Plan Coverage Instead of Medicaid                                     and your Dependents. They do not apply to any Life, Short-
                                                                            term or Long-term Disability or Accidental Death &
If your income and liquid resources do not exceed certain
                                                                            Dismemberment coverage you may have.
limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is                Continuation of Coverage
cost effective. This includes premiums for continuation                     For leaves of less than 31 days, coverage will continue as
coverage required by federal law.                                           described in the Termination section regarding Leave of
                                                                            Absence.
HC-FED13                                                       10-10        For leaves of 31 days or more, you may continue coverage for
                                                                            yourself and your Dependents as follows:
                                                                            You may continue benefits by paying the required premium to
Requirements of Family and Medical Leave Act                                your Employer, until the earliest of the following:
of 1993 (as amended) (FMLA)                                                 •   24 months from the last day of employment with the
                                                                                Employer;
Any provisions of the policy that provide for: continuation of
insurance during a leave of absence; and reinstatement of                   •   the day after you fail to return to work; and
insurance following a return to Active Service; are modified                •   the date the policy cancels.
by the following provisions of the federal Family and Medical               Your Employer may charge you and your Dependents up to
Leave Act of 1993, as amended, where applicable:                            102% of the total premium.
Continuation of Health Insurance During Leave                               Reinstatement of Benefits (applicable to all coverages)
Your health insurance will be continued during a leave of                   If your coverage ends during the leave of absence because you
absence if:                                                                 do not elect USERRA at the expiration of USERRA and you
•   that leave qualifies as a leave of absence under the Family             are reemployed by your current Employer, coverage for you
    and Medical Leave Act of 1993, as amended; and                          and your Dependents may be reinstated if you gave your
•   you are an eligible Employee under the terms of that Act.               Employer advance written or verbal notice of your military
                                                                            service leave, and the duration of all military leaves while you
The cost of your health insurance during such leave must be
                                                                            are employed with your current Employer does not exceed 5
paid, whether entirely by your Employer or in part by you and
                                                                            years.
your Employer.
                                                                            You and your Dependents will be subject to only the balance
Reinstatement of Canceled Insurance Following Leave
                                                                            of a waiting period that was not yet satisfied before the leave
Upon your return to Active Service following a leave of                     began. However, if an Injury or Sickness occurs or is
absence that qualifies under the Family and Medical Leave                   aggravated during the military leave, full Plan limitations will
Act of 1993, as amended, any canceled insurance (health, life               apply.
or disability) will be reinstated as of the date of your return.
                                                                            If your coverage under this plan terminates as a result of your
You will not be required to satisfy any eligibility or benefit              eligibility for military medical and dental coverage and your
waiting period to the extent that they had been satisfied prior             order to active duty is canceled before your active duty service
to the start of such leave of absence.                                      commences, these reinstatement rights will continue to apply.
Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.                           HC-FED18                                                     10-10



HC-FED93                                                       10-17

                                                                            Claim Determination Procedures under ERISA
                                                                            The following complies with federal law. Provisions of
Uniformed Services Employment and Re-                                       applicable laws of your state may supersede.
Employment Rights Act of 1994 (USERRA)                                      Procedures Regarding Medical Necessity Determinations
The Uniformed Services Employment and Re-employment                         In general, health services and benefits must be Medically
Rights Act of 1994 (USERRA) sets requirements for                           Necessary to be covered under the plan. The procedures for
continuation of health coverage and re-employment in regard                 determining Medical Necessity vary, according to the type of
to an Employee’s military leave of absence. These                           service or benefit requested, and the type of health plan.
requirements apply to medical and dental coverage for you


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Medical Necessity determinations are made on a preservice,              expedited determination within 72 hours after receiving the
concurrent, or postservice basis, as described below:                   request.
Certain services require prior authorization in order to be             However, if necessary information is missing from the
covered. The booklet describes who is responsible for                   request, Cigna will notify you or your representative within 24
obtaining this review. You or your authorized representative            hours after receiving the request to specify what information is
(typically, your health care professional) must request prior           needed. You or your representative must provide the specified
authorization according to the procedures described below, in           information to Cigna within 48 hours after receiving the
the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of


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the following that pertain to the determination: information               If your designation of an authorized representative is revoked,
sufficient to identify the claim including, if applicable, the             or Cigna does not honor your designation, you may appoint a
date of service, provider and claim amount; diagnosis and                  new authorized representative at any time, in writing, using a
treatment codes, and their meanings; the specific reason or                form approved by Cigna.
reasons for the adverse determination including, if applicable,
the denial code and its meaning and a description of any
                                                                           HC-FED88                                                       01-17
standard that was used in the denial; reference to the specific
plan provisions on which the determination is based; a
description of any additional material or information necessary
to perfect the claim and an explanation of why such material               Medical - When You Have a Complaint or an
or information is necessary; a description of the plan’s review            Appeal
procedures and the time limits applicable, including a
statement of a claimant’s rights to bring a civil action under             For the purposes of this section, any reference to “you”,
section 502(a) of ERISA following an adverse benefit                       “your”, or “Member” also refers to a representative or
determination on appeal, (if applicable); upon request and free            provider designated by you to act on your behalf; unless
of charge, a copy of any internal rule, guideline, protocol or             otherwise noted.
other similar criterion that was relied upon in making the                 We want you to be completely satisfied with the care and
adverse determination regarding your claim; and an                         services you receive. That is why we have established a
explanation of the scientific or clinical judgment for a                   process for addressing your concerns and solving your
determination that is based on a Medical Necessity,                        problems.
experimental treatment or other similar exclusion or limit; a              Start With Member Services
description of any available internal appeal and/or external
                                                                           We are here to listen and help. If you have a concern regarding
review process(es); information about any office of health
                                                                           a person, a service, the quality of care, contractual benefits, or
insurance consumer assistance or ombudsman available to
                                                                           a rescission of coverage, you may call the toll-free number on
assist you with the appeal process; and in the case of a claim
                                                                           your Benefit Identification card, explanation of benefits, or
involving urgent care, a description of the expedited review
                                                                           claim form and explain your concern to one of our Member
process applicable to such claim.
                                                                           Services representatives. You may also express that concern in
                                                                           writing.
HC-FED104                                                     01-19        We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
                                                                           concern, we will get back to you as soon as possible, but in
Appointment of Authorized Representative                                   any case within 30 days. If you are not satisfied with the
                                                                           results of a coverage decision, you may start the appeals
You may appoint an authorized representative to assist you in
                                                                           procedure.
submitting a claim or appealing a claim denial. However,
Cigna may require you to designate your authorized                         Appeals Procedure
representative in writing using a form approved by Cigna. At               Cigna has a two-step appeals procedure for coverage
all times, the appointment of an authorized representative is              decisions. To initiate an appeal of an adverse benefit
revocable by you. To ensure that a prior appointment remains               determination, you must submit a request for an appeal in
valid, Cigna may require you to re-appoint your authorized                 writing to Cigna within 365 days of receipt of a denial notice.
representative, from time to time.                                         If you appeal a reduction or termination in coverage for an
Cigna reserves the right to refuse to honor the appointment of             ongoing course of treatment that Cigna previously approved,
a representative if Cigna reasonably determines that:                      you will receive, as required by applicable law, continued
                                                                           coverage pending the outcome of an appeal.
•   the signature on an authorized representative form may not
    be yours, or                                                           You should state the reason why you feel your appeal should
                                                                           be approved and include any information supporting your
•   the authorized representative may not have disclosed to you
                                                                           appeal. If you are unable or choose not to write, you may ask
    all of the relevant facts and circumstances relating to the
                                                                           Cigna to register your appeal by telephone. Call or write us at
    overpayment or underpayment of any claim, including, for
                                                                           the toll-free number on your Benefit Identification card,
    example, that the billing practices of the provider of medical
                                                                           explanation of benefits, or claim form.
    services may have jeopardized your coverage through the
    waiver of the cost-sharing amounts that you are required to
    pay under your plan.


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Level-One Appeal                                                       You may request that the appeal process be expedited if, the
Your appeal will be reviewed and the decision made by                  time frames under this process would seriously jeopardize
someone not involved in the initial decision. Appeals                  your life, health or ability to regain maximum functionality or
involving Medical Necessity or clinical appropriateness will           in the opinion of your health care provider, would cause you
be considered by a health care professional.                           severe pain which cannot be managed without the requested
                                                                       services; or your appeal involves nonauthorization of an
For level-one appeals, we will respond in writing with a               admission or continuing inpatient Hospital stay. Cigna’s
decision within 15 calendar days after we receive an appeal            reviewer, in consultation with the treating health care
for a required preservice or concurrent care coverage                  provider, will decide if an expedited appeal is necessary.
determination, and within 30 calendar days after we receive an         When an appeal is expedited, Cigna will respond orally with a
appeal for a postservice coverage determination. If more time          decision within 72 hours, followed up in writing.
or information is needed to make the determination, we will
notify you in writing to request an extension of up to 15              Independent Review Procedure
calendar days and to specify any additional information                If you are not fully satisfied with the decision of Cigna’s level-
needed to complete the review.                                         two appeal review and the appeal involves medical judgment
You may request that the appeal process be expedited if, the           or a rescission of coverage, you may request that your appeal
time frames under this process would seriously jeopardize              be referred to an Independent Review Organization. The
your life, health or ability to regain maximum functionality or        Independent Review Organization is composed of persons
in the opinion of your health care provider would cause you            who are not employed by Cigna HealthCare, or any of its
severe pain which cannot be managed without the requested              affiliates. A decision to request an appeal to an Independent
services.                                                              Review Organization will not affect the claimant’s rights to
                                                                       any other benefits under the plan.
If you request that your appeal be expedited, you may also ask
for an expedited external Independent Review at the same               There is no charge for you to initiate this Independent Review
time, if the time to complete an expedited level-one appeal            Process. Cigna will abide by the decision of the Independent
would be detrimental to your medical condition.                        Review Organization.
Cigna’s reviewer, in consultation with the treating health care        To request a review, you must notify the Appeals Coordinator
provider, will decide if an expedited appeal is necessary.             within 180 days of your receipt of Cigna’s level-two appeal
When an appeal is expedited, Cigna will respond orally with a          review denial. Cigna will then forward the file to the
decision within 72 hours, followed up in writing.                      Independent Review Organization. The Independent Review
                                                                       Organization will render an opinion within 45 days.
Level-Two Appeal
                                                                       When requested, and if a delay would be detrimental to your
If you are dissatisfied with our level-one appeal decision, you        medical condition, as determined by Cigna’s reviewer, or if
may request a second review. To initiate a level-two appeal,           your appeal concerns an admission, availability of care,
follow the same process required for a level-one appeal.               continued stay, or health care item or service for which you
For required preservice and concurrent care coverage                   received emergency services, but you have not yet been
determinations within 15 calendar days and for post service            discharged from a facility, the review shall be completed
claims within 30 calendar days. If more time or information is         within 72 hours.
needed to make the determination, we will notify you in                Notice of Benefit Determination on Appeal
writing to request an extension of up to 15 calendar days and
to specify any additional information needed to complete the           Every notice of a determination on appeal will be provided in
review.                                                                writing or electronically and, if an adverse determination, will
                                                                       include: information sufficient to identify the claim including,
In the event any new or additional information (evidence) is           if applicable, the date of service, provider and claim amount;
considered, relied upon or generated by Cigna in connection            diagnosis and treatment codes, and their meanings; the
with the level-two appeal, this information will be provided           specific reason or reasons for the adverse determination
automatically to you as soon as possible and sufficiently in           including, if applicable, the denial code and its meaning and a
advance so that you will have an opportunity to respond. Also,         description of any standard that was used in the denial;
if any new or additional rationale is considered by Cigna,             reference to the specific plan provisions on which the
Cigna will provide the rationale to you as soon as possible and        determination is based; a statement that the claimant is entitled
sufficiently in advance so that you will have an opportunity to        to receive, upon request and free of charge, reasonable access
respond.                                                               to and copies of all documents, records, and other Relevant
You will be notified in writing of the decision within 5               Information as defined; a statement describing any voluntary
business days.                                                         appeal procedures offered by the plan and the claimant's right



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to bring an action under ERISA section 502(a); upon request              COBRA Continuation Rights Under Federal
and free of charge, a copy of any internal rule, guideline,              Law
protocol or other similar criterion that was relied upon in
making the adverse determination regarding your appeal, and              For You and Your Dependents
an explanation of the scientific or clinical judgment for a              What is COBRA Continuation Coverage?
determination that is based on a Medical Necessity,                      Under federal law, you and/or your Dependents must be given
experimental treatment or other similar exclusion or limit; and          the opportunity to continue health insurance when there is a
information about any office of health insurance consumer                “qualifying event” that would result in loss of coverage under
assistance or ombudsman available to assist you in the appeal            the Plan. You and/or your Dependents will be permitted to
process. A final notice of an adverse determination will                 continue the same coverage under which you or your
include a discussion of the decision.                                    Dependents were covered on the day before the qualifying
You also have the right to bring a civil action under section            event occurred, unless you move out of that plan’s coverage
502(a) of ERISA if you are not satisfied with the decision on            area or the plan is no longer available. You and/or your
review. You or your plan may have other voluntary alternative            Dependents cannot change coverage options until the next
dispute resolution options such as Mediation. One way to find            open enrollment period.
out what may be available is to contact your local U.S.                  When is COBRA Continuation Available?
Department of Labor office and your State insurance
regulatory agency. You may also contact the Plan                         For you and your Dependents, COBRA continuation is
Administrator.                                                           available for up to 18 months from the date of the following
                                                                         qualifying events if the event would result in a loss of
Relevant Information                                                     coverage under the Plan:
Relevant Information is any document, record or other                    •   your termination of employment for any reason, other than
information which: was relied upon in making the benefit                     gross misconduct; or
determination; was submitted, considered or generated in the
course of making the benefit determination, without regard to            •   your reduction in work hours.
whether such document, record, or other information was                  For your Dependents, COBRA continuation coverage is
relied upon in making the benefit determination; demonstrates            available for up to 36 months from the date of the following
compliance with the administrative processes and safeguards              qualifying events if the event would result in a loss of
required by federal law in making the benefit determination;             coverage under the Plan:
or constitutes a statement of policy or guidance with respect to         •   your death;
the plan concerning the denied treatment option or benefit for
the claimant’s diagnosis, without regard to whether such                 •   your divorce or legal separation; or
advice or statement was relied upon in making the benefit                •   for a Dependent child, failure to continue to qualify as a
determination.                                                               Dependent under the Plan.
Legal Action                                                             Who is Entitled to COBRA Continuation?
If your plan is governed by ERISA, you have the right to bring           Only a “qualified beneficiary” (as defined by federal law) may
a civil action under section 502(a) of ERISA if you are not              elect to continue health insurance coverage. A qualified
satisfied with the outcome of the Appeals Procedure. In most             beneficiary may include the following individuals who were
instances, you may not initiate a legal action against Cigna             covered by the Plan on the day the qualifying event occurred:
until you have completed the Level-One and Level-Two                     you, your spouse, and your Dependent children. Each
appeal processes. If your appeal is expedited, there is no need          qualified beneficiary has their own right to elect or decline
to complete the Level-Two process prior to bringing legal                COBRA continuation coverage even if you decline or are not
action. However, no action will be brought at all unless                 eligible for COBRA continuation.
brought within 3 years after a claim is submitted for In-                The following individuals are not qualified beneficiaries for
Network Services or within three years after proof of claim is           purposes of COBRA continuation: domestic partners,
required under the Plan for Out-of-Network services.                     grandchildren (unless adopted by you), stepchildren (unless
                                                                         adopted by you). Although these individuals do not have an
HC-FED108                                                   01-21
                                                                         independent right to elect COBRA continuation coverage, if
                                                                         you elect COBRA continuation coverage for yourself, you
                                                                         may also cover your Dependents even if they are not
                                                                         considered qualified beneficiaries under COBRA. However,
                                                                         such individuals’ coverage will terminate when your COBRA
                                                                         continuation coverage terminates. The sections titled


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“Secondary Qualifying Events” and “Medicare Extension For              the qualifying event, COBRA continuation coverage for your
Your Dependents” are not applicable to these individuals.              Dependents will last for up to 36 months after the date you
Secondary Qualifying Events                                            became enrolled in Medicare. Your COBRA continuation
                                                                       coverage will last for up to 18 months from the date of your
If, as a result of your termination of employment or reduction         termination of employment or reduction in work hours.
in work hours, your Dependent(s) have elected COBRA
continuation coverage and one or more Dependents experience            Termination of COBRA Continuation
another COBRA qualifying event, the affected Dependent(s)              COBRA continuation coverage will be terminated upon the
may elect to extend their COBRA continuation coverage for              occurrence of any of the following:
an additional 18 months (7 months if the secondary event               •   the end of the COBRA continuation period of 18, 29 or 36
occurs within the disability extension period) for a maximum               months, as applicable;
of 36 months from the initial qualifying event. The second
qualifying event must occur before the end of the initial 18           •   failure to pay the required premium within 30 calendar days
months of COBRA continuation coverage or within the                        after the due date;
disability extension period discussed below. Under no                  •   cancellation of the Employer’s policy with Cigna;
circumstances will COBRA continuation coverage be                      •   after electing COBRA continuation coverage, a qualified
available for more than 36 months from the initial qualifying              beneficiary enrolls in Medicare (Part A, Part B, or both);
event. Secondary qualifying events are: your death; your
divorce or legal separation; or, for a Dependent child, failure        •   after electing COBRA continuation coverage, a qualified
to continue to qualify as a Dependent under the Plan.                      beneficiary becomes covered under another group health
                                                                           plan, unless the qualified beneficiary has a condition for
Disability Extension                                                       which the new plan limits or excludes coverage under a pre-
If, after electing COBRA continuation coverage due to your                 existing condition provision. In such case coverage will
termination of employment or reduction in work hours, you or               continue until the earliest of: the end of the applicable
one of your Dependents is determined by the Social Security                maximum period; the date the pre-existing condition
Administration (SSA) to be totally disabled under Title II or              provision is no longer applicable; or the occurrence of an
XVI of the SSA, you and all of your Dependents who have                    event described in one of the first three bullets above;
elected COBRA continuation coverage may extend such                    •   any reason the Plan would terminate coverage of a
continuation for an additional 11 months, for a maximum of                 participant or beneficiary who is not receiving continuation
29 months from the initial qualifying event.                               coverage (e.g., fraud).
To qualify for the disability extension, all of the following          Moving Out of Employer’s Service Area or Elimination of
requirements must be satisfied:                                        a Service Area
•   SSA must determine that the disability occurred prior to or        If you and/or your Dependents move out of the Employer’s
    within 60 days after the disabled individual elected COBRA         service area or the Employer eliminates a service area in your
    continuation coverage; and                                         location, your COBRA continuation coverage under the plan
•   A copy of the written SSA determination must be provided           will be limited to out-of-network coverage only. In-network
    to the Plan Administrator within 60 calendar days after the        coverage is not available outside of the Employer’s service
    date the SSA determination is made AND before the end of           area. If the Employer offers another benefit option through
    the initial 18-month continuation period.                          Cigna or another carrier which can provide coverage in your
If the SSA later determines that the individual is no longer           location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30             that option.
days after the date the final determination is made by SSA.            Employer’s Notification Requirements
The 11-month disability extension will terminate for all               Your Employer is required to provide you and/or your
covered persons on the first day of the month that is more than        Dependents with the following notices:
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.                    •   An initial notification of COBRA continuation rights must
                                                                           be provided within 90 days after your (or your spouse’s)
All causes for “Termination of COBRA Continuation” listed                  coverage under the Plan begins (or the Plan first becomes
below will also apply to the period of disability extension.               subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                     you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                      be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before              continuation coverage election notice as explained below.



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•   A COBRA continuation coverage election notice must be                 For example: If the Employee alone elects COBRA
    provided to you and/or your Dependents within the                     continuation coverage, the Employee will be charged 102%
    following timeframes:                                                 (or 150%) of the active Employee premium. If the spouse or
    • if the Plan provides that COBRA continuation coverage               one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the             coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the            Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the          elects COBRA continuation coverage, they will be charged
      Plan;                                                               102% (or 150%) of the applicable family premium.
    • if the Plan provides that COBRA continuation coverage               When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the             First payment for COBRA continuation
      Plan Administrator of a qualifying event starts upon the            If you elect COBRA continuation coverage, you do not have
      occurrence of a qualifying event, 44 days after the                 to send any payment with the election form. However, you
      qualifying event occurs; or                                         must make your first payment no later than 45 calendar days
    • in the case of a multi-employer plan, no later than 14 days         after the date of your election. (This is the date the Election
      after the end of the period in which Employers must                 Notice is postmarked, if mailed.) If you do not make your first
      provide notice of a qualifying event to the Plan                    payment within that 45 days, you will lose all COBRA
      Administrator.                                                      continuation rights under the Plan.
How to Elect COBRA Continuation Coverage                                  Subsequent payments
The COBRA coverage election notice will list the individuals              After you make your first payment for COBRA continuation
who are eligible for COBRA continuation coverage and                      coverage, you will be required to make subsequent payments
inform you of the applicable premium. The notice will also                of the required premium for each additional month of
include instructions for electing COBRA continuation                      coverage. Payment is due on the first day of each month. If
coverage. You must notify the Plan Administrator of your                  you make a payment on or before its due date, your coverage
election no later than the due date stated on the COBRA                   under the Plan will continue for that coverage period without
election notice. If a written election notice is required, it must        any break.
be post-marked no later than the due date stated on the                   Grace periods for subsequent payments
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your            Although subsequent payments are due by the first day of the
Dependents will lose the right to elect COBRA continuation                month, you will be given a grace period of 30 days after the
coverage. If you reject COBRA continuation coverage before                first day of the coverage period to make each monthly
the due date, you may change your mind as long as you                     payment. Your COBRA continuation coverage will be
furnish a completed election form before the due date.                    provided for each coverage period as long as payment for that
                                                                          coverage period is made before the end of the grace period for
Each qualified beneficiary has an independent right to elect              that payment. However, if your payment is received after the
COBRA continuation coverage. Continuation coverage may                    due date, your coverage under the Plan may be suspended
be elected for only one, several, or for all Dependents who are           during this time. Any providers who contact the Plan to
qualified beneficiaries. Parents may elect to continue coverage           confirm coverage during this time may be informed that
on behalf of their Dependent children. You or your spouse                 coverage has been suspended. If payment is received before
may elect continuation coverage on behalf of all the qualified            the end of the grace period, your coverage will be reinstated
beneficiaries. You are not required to elect COBRA                        back to the beginning of the coverage period. This means that
continuation coverage in order for your Dependents to elect               any claim you submit for benefits while your coverage is
COBRA continuation.                                                       suspended may be denied and may have to be resubmitted
How Much Does COBRA Continuation Coverage Cost?                           once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire              payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed                  period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both                 coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The
premium during the 11-month disability extension may not
exceed 150% of the cost to the group health plan (including
both employer and employee contributions) for coverage of a
similarly situated active Employee or family member.


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You Must Give Notice of Certain Qualifying Events                          coverage will cease upon the occurrence of any of the events
If you or your Dependent(s) experience one of the following                listed under “Termination of COBRA Continuation” above.
qualifying events, you must notify the Plan Administrator                  Interaction With Other Continuation Benefits
within 60 calendar days after the later of the date the                    You may be eligible for other continuation benefits under state
qualifying event occurs or the date coverage would cease as a              law. Refer to the Termination section for any other
result of the qualifying event:                                            continuation benefits.
•   Your divorce or legal separation; or
•   Your child ceases to qualify as a Dependent under the Plan.            HC-FED66                                                     07-14
•   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice
    must be received prior to the end of the initial 18- or 29-            ERISA Required Information
    month COBRA period).
                                                                           The name of the Plan is:
(Also refer to the section titled “Disability Extension” for
additional notice requirements.)                                             CareATC, Inc. Employee Benefit Plan
Notice must be made in writing and must include: the name of               The name, address, ZIP code and business telephone number
the Plan, name and address of the Employee covered under the               of the sponsor of the Plan is:
Plan, name and address(es) of the qualified beneficiaries                    CareATC, Inc.
affected by the qualifying event; the qualifying event; the date             4500 S 129th E Ave, Ste 191
the qualifying event occurred; and supporting documentation                  Tulsa, OK 74134
(e.g., divorce decree, birth certificate, disability determination,          800-993-8244
etc.).                                                                     Employer Identification             Plan Number:
Newly Acquired Dependents                                                  Number (EIN):
If you acquire a new Dependent through marriage, birth,                    731598062                           501
adoption or placement for adoption while your coverage is                  The name, address, ZIP code and business telephone number
being continued, you may cover such Dependent under your                   of the Plan Administrator is:
COBRA continuation coverage. However, only your newborn
or adopted Dependent child is a qualified beneficiary and may                Employer named above
continue COBRA continuation coverage for the remainder of                  The name, address and ZIP code of the person designated as
the coverage period following your early termination of                    agent for service of legal process is:
COBRA coverage or due to a secondary qualifying event.                       Employer named above
COBRA coverage for your Dependent spouse and any
Dependent children who are not your children (e.g.,                        The office designated to consider the appeal of denied claims
stepchildren or grandchildren) will cease on the date your                 is:
COBRA coverage ceases and they are not eligible for a                        The Cigna Claim Office responsible for this Plan
secondary qualifying event.                                                The cost of the Plan is shared by Employee and Employer.
COBRA Continuation for Retirees Following Employer’s                       The Plan’s fiscal year ends on 12/31.
Bankruptcy
                                                                           The preceding pages set forth the eligibility requirements and
If you are covered as a retiree, and a proceeding in bankruptcy            benefits provided for you under this Plan.
is filed with respect to the Employer under Title 11 of the
United States Code, you may be entitled to COBRA                           Plan Trustees
continuation coverage. If the bankruptcy results in a loss of              A list of any Trustees of the Plan, which includes name, title
coverage for you, your Dependents or your surviving spouse                 and address, is available upon request to the Plan
within one year before or after such proceeding, you and your              Administrator.
covered Dependents will become COBRA qualified                             Plan Type
beneficiaries with respect to the bankruptcy. You will be
                                                                           The plan is a healthcare benefit plan.
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will                  Collective Bargaining Agreements
be entitled to COBRA continuation coverage for up to 36                    You may contact the Plan Administrator to determine whether
months following your death. However, COBRA continuation                   the Plan is maintained pursuant to one or more collective
                                                                           bargaining agreements and if a particular Employer is a



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sponsor. A copy is available for examination from the Plan                under this policy(s). No extension of benefits or rights will be
Administrator upon written request.                                       available solely because the Plan terminates.
Discretionary Authority                                                   Statement of Rights
The Plan Administrator delegates to Cigna the discretionary               As a participant in the plan you are entitled to certain rights
authority to interpret and apply plan terms and to make factual           and protections under the Employee Retirement Income
determinations in connection with its review of claims under              Security Act of 1974 (ERISA). ERISA provides that all plan
the plan. Such discretionary authority is intended to include,            participants shall be entitled to:
but not limited to, the determination of the eligibility of               Receive Information About Your Plan and Benefits
persons desiring to enroll in or claim benefits under the plan,
the determination of whether a person is entitled to benefits             •   examine, without charge, at the Plan Administrator’s office
under the plan, and the computation of any and all benefit                    and at other specified locations, such as worksites and union
payments. The Plan Administrator also delegates to Cigna the                  halls, all documents governing the plan, including insurance
discretionary authority to perform a full and fair review, as                 contracts and collective bargaining agreements and a copy
required by ERISA, of each claim denial which has been                        of the latest annual report (Form 5500 Series) filed by the
appealed by the claimant or his duly authorized representative.               plan with the U.S. Department of Labor and available at the
                                                                              Public Disclosure room of the Employee Benefits Security
Plan Modification, Amendment and Termination                                  Administration.
The Employer as Plan Sponsor reserves the right to, at any                •   obtain, upon written request to the Plan Administrator,
time, change or terminate benefits under the Plan, to change or               copies of documents governing the Plan, including
terminate the eligibility of classes of employees to be covered               insurance contracts and collective bargaining agreements,
by the Plan, to amend or eliminate any other plan term or                     and a copy of the latest annual report (Form 5500 Series)
condition, and to terminate the whole plan or any part of it.                 and updated summary plan description. The administrator
Contact the Employer for the procedure by which benefits                      may make a reasonable charge for the copies.
may be changed or terminated, by which the eligibility of
classes of employees may be changed or terminated, or by                  •   receive a summary of the Plan’s annual financial report. The
which part or all of the Plan may be terminated. No consent of                Plan Administrator is required by law to furnish each person
any participant is required to terminate, modify, amend or                    under the Plan with a copy of this summary financial report.
change the Plan.                                                          Continue Group Health Plan Coverage
Termination of the Plan together with termination of the                  •   continue health care coverage for yourself, your spouse or
insurance policy(s) which funds the Plan benefits will have no                Dependents if there is a loss of coverage under the Plan as a
adverse effect on any benefits to be paid under the policy(s)                 result of a qualifying event. You or your Dependents may
for any covered medical expenses incurred prior to the date                   have to pay for such coverage. Review the documents
that policy(s) terminates. Likewise, any extension of benefits                governing the Plan on the rules governing your federal
under the policy(s) due to you or your Dependent's total                      continuation coverage rights.
disability which began prior to and has continued beyond the              Prudent Actions by Plan Fiduciaries
date the policy(s) terminates will not be affected by the Plan
termination. Rights to purchase limited amounts of life and               In addition to creating rights for plan participants, ERISA
medical insurance to replace part of the benefits lost because            imposes duties upon the people responsible for the operation
the policy(s) terminated may arise under the terms of the                 of the employee benefit plan. The people who operate your
policy(s). A subsequent Plan termination will not affect the              plan, called “fiduciaries” of the Plan, have a duty to do so
extension of benefits and rights under the policy(s).                     prudently and in the interest of you and other plan participants
                                                                          and beneficiaries. No one, including your employer, your
Your coverage under the Plan’s insurance policy(s) will end               union, or any other person may fire you or otherwise
on the earliest of the following dates:                                   discriminate against you in any way to prevent you from
•   the date you leave Active Service (or later as explained in           obtaining a welfare benefit or exercising your rights under
    the Termination Section;)                                             ERISA. If your claim for a welfare benefit is denied or
•   the date you are no longer in an eligible class;                      ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
•   if the Plan is contributory, the date you cease to contribute;        and to appeal any denial, all within certain time schedules.
•   the date the policy(s) terminates.                                    Enforce Your Rights
See your Plan Administrator to determine if any extension of              Under ERISA, there are steps you can take to enforce the
benefits or rights are available to you or your Dependents                above rights. For instance, if you request a copy of documents
                                                                          governing the plan or the latest annual report from the plan


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and do not receive them within 30 days, you may file suit in a            •   on a day which is not one of your Employer's scheduled
federal court. In such a case, the court may require the plan                 work days if you were in Active Service on the preceding
administrator to provide the materials and pay you up to $110                 scheduled work day.
a day until you receive the materials, unless the materials were
not sent because of reasons beyond the control of the
                                                                          HC-DFS1095                                                    12-17
administrator. If you have a claim for benefits which is denied
or ignored, in whole or in part, you may file suit in a state or
federal court.                                                            Ambulance
In addition, if you disagree with the plan’s decision or lack             Licensed ambulance transportation services involve the use of
thereof concerning the qualified status of a domestic relations           specially designed and equipped vehicles for transporting ill or
order or a medical child support order, you may file suit in              injured patients. It includes ground, air, or sea transportation
federal court. If it should happen that plan fiduciaries misuse           when Medically Necessary and clinically appropriate.
the plan’s money, or if you are discriminated against for
asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court.             HC-DFS1480                                                    01-21

The court will decide who should pay court costs and legal
fees. If you are successful the court may order the person you            Biologic
have sued to pay these costs and fees. If you lose, the court
may order you to pay these costs and fees, for example if it              A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
finds your claim is frivolous.                                            blood component or derivative, allergenic product, protein
                                                                          (except any chemically synthesized polypeptide), or analogous
Assistance with Your Questions                                            product, or arsphenamine or derivative of arsphenamine (or
If you have any questions about your plan, you should contact             any other trivalent organic arsenic compound), used for the
the plan administrator. If you have any questions about this              prevention, treatment, or cure of a disease or condition of
statement or about your rights under ERISA, or if you need                human beings, as defined under Section 351(i) of the Public
assistance in obtaining documents from the plan administrator,            Health Service Act (42 USC 262(i)) (as amended by the
you should contact the nearest office of the Employee Benefits            Biologics Price Competition and Innovation Act of 2009, title
Security Administration, U.S. Department of Labor listed in               VII of the Patient Protection and Affordable Care Act, Pub. L.
your telephone directory or the Division of Technical                     No. 111-148, § 7002 (2010), and as may be amended
Assistance and Inquiries, Employee Benefits Security                      thereafter).
Administration, U.S. Department of Labor, 200 Constitution
Avenue N.W., Washington, D.C. 20210. You may also obtain
                                                                          HC-DFS840                                                     10-16
certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the
Employee Benefits Security Administration.                                Biosimilar
                                                                          A Biologic that is highly similar to the reference Biologic
HC-FED72                                                     05-15        product notwithstanding minor differences in clinically
                                                                          inactive components, and has no clinically meaningful
                                                                          differences from the reference Biologic in terms of its safety,
                                                                          purity, and potency, as defined under Section 351(i) of the
Definitions                                                               Public Health Service Act (42 USC 262(i)) (as amended by
Active Service                                                            the Biologics Price Competition and Innovation Act of 2009,
You will be considered in Active Service:                                 title VII of the Patient Protection and Affordable Care Act,
                                                                          Pub. L. No. 111-148, § 7002 (2010), and as may be amended
•   on any of your Employer's scheduled work days if you are              thereafter).
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business
    or at some location to which you are required to travel for           HC-DFS841                                                     10-16

    your Employer's business.
                                                                          Business Decision Team
                                                                          A committee comprised of voting and non-voting
                                                                          representatives across various Cigna business units such as



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clinical, medical and business leadership that is duly                   cannot be intended to greatly improve a medical condition;
authorized by Cigna to effect changes regarding coverage                 they are intended to provide care while the patient cannot care
treatment of Medical Pharmaceuticals based on clinical                   for himself or herself. Custodial Services include but are not
findings provided by the P&T Committee, including, but not               limited to:
limited to, changes regarding tier placement and application of          •   Services related to watching or protecting a person;
utilization management to Medical Pharmaceuticals.
                                                                         •   Services related to performing or assisting a person in
                                                                             performing any activities of daily living, such as: walking,
HC-DFS1494                                                  07-20            grooming, bathing, dressing, getting in or out of bed,
                                                                             toileting, eating, preparing foods, or taking medications that
                                                                             can be self administered, and
Charges
                                                                         •   Services not required to be performed by trained or skilled
The term charges means the actual billed charges; except
                                                                             medical or paramedical personnel.
when Cigna has contracted directly or indirectly for a different
amount including where Cigna has directly or indirectly
contracted with an entity to arrange for the provision of                HC-DFS4                                                        04-10
services and/or supplies through contracts with providers of                                                                               V1
such services and/or supplies.
                                                                         Dependent
HC-DFS1193                                                  01-19
                                                                         Dependents are:
                                                                         •   your lawful spouse; and
Chiropractic Care                                                        •   any child of yours who is
The term Chiropractic Care means the conservative                            • less than 26 years old.
management of acute neuromusculoskeletal conditions
through manipulation and ancillary physiological treatment                   • 26 or more years old, unmarried, and primarily supported
rendered to specific joints to restore motion, reduce pain and                 by you and incapable of self-sustaining employment by
improve function.                                                              reason of mental or physical disability which arose while
                                                                               the child was covered as a Dependent under this Plan, or
                                                                               while covered as a dependent under a prior plan with no
HC-DFS1717                                                  01-22              break in coverage.
                                                                               Proof of the child's condition and dependence may be
Convenience Care Clinics                                                       required to be submitted to the plan within 31 days after
                                                                               the date the child ceases to qualify above. From time to
Convenience Care Clinics are staffed by nurse practitioners
                                                                               time, but not more frequently than once a year, the plan
and physician assistants and offer customers convenient,
                                                                               may require proof of the continuation of such condition
professional walk-in care for common ailments and routine
                                                                               and dependence.
services. Convenience Care Clinics have extended hours and
are located in or near easy-to-access, popular locations                 The term child means a child born to you or a child legally
(pharmacies, grocery and free-standing locations) with or                adopted by you. It also includes a stepchild, a foster child, or a
without appointment.                                                     child for whom you are the legal guardian.
                                                                         Benefits for a Dependent child will continue until the last day
                                                                         of the calendar month in which the limiting age is reached.
HC-DFS1629                                                  07-21
                                                                         Anyone who is eligible as an Employee will not be considered
                                                                         as a Dependent or Dependent spouse unless the Dependent or
Custodial Services                                                       Dependent spouse declines Employee coverage. A child under
Any services that are of a sheltering, protective, or                    age 26 may be covered as either an Employee or as a
safeguarding nature. Such services may include a stay in an              Dependent child. You cannot be covered as an Employee
institutional setting, at-home care, or nursing services to care         while also covered as a Dependent of an Employee.
for someone because of age or mental or physical condition.              No one may be considered as a Dependent of more than one
This service primarily helps the person in daily living.                 Employee.
Custodial care also can provide medical services, given mainly
to maintain the person’s current state of health. These services
                                                                         HC-DFS1718                                                     01-22




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                                                                         Essential Health Benefits
Emergency Medical Condition                                              Essential health benefits means, to the extent covered under
Emergency Medical Condition means a medical condition,                   the plan, expenses incurred with respect to covered services, in
including a mental health condition or substance use disorder,           at least the following categories: ambulatory patient services,
manifesting itself by acute symptoms of sufficient severity              emergency services, hospitalization, maternity and newborn
(including severe pain) such that a prudent layperson, who               care, mental health and substance use disorder services,
possesses an average knowledge of health and medicine, could             including behavioral health treatment, prescription drugs,
reasonably expect the absence of immediate medical attention             rehabilitative and habilitative services and devices, laboratory
to result in placing the health of the individual (or, with              services, preventive and wellness services and chronic disease
respect to a pregnant woman, the health of the woman or her              management and pediatric services, including oral and vision
unborn child) in serious jeopardy; serious impairment to                 care.
bodily functions; or serious dysfunction of any bodily organ or
part.                                                                    HC-DFS411                                                       01-11



HC-DFS1766                                                  01-23        Expense Incurred
                                                                         An expense is incurred when the service or the supply for
Emergency Services                                                       which it is incurred is provided.
Emergency Services means, with respect to an Emergency
Medical Condition, a medical screening examination that is               HC-DFS10                                                        04-10
within the capability of the emergency department of a                                                                                     V1
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate such Emergency Medical                  Free-Standing Surgical Facility
Condition, and such further medical examination and                      The term Free-Standing Surgical Facility means an institution
treatment, to the extent they are within the capabilities of the         which meets all of the following requirements:
staff and facilities available at the Hospital or emergency
                                                                         •   it has a medical staff of Physicians, Nurses and licensed
department, as are required to Stabilize the patient.
                                                                             anesthesiologists;
                                                                         •   it maintains at least two operating rooms and one recovery
HC-DFS1764                                                  01-23            room;
                                                                         •   it maintains diagnostic laboratory and x-ray facilities;
Employee                                                                 •   it has equipment for emergency care;
The term Employee means a full-time Employee of the                      •   it has a blood supply;
Employer who is currently in Active Service. The term does
                                                                         •   it maintains medical records;
not include Employees who are part-time or temporary or who
normally work less than 20 hours a week for the Employer.                •   it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
HC-DFS1094                                                  12-17
                                                                         •   it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.
Employer                                                                 A Free-Standing Surgical Facility, unless specifically noted
The term Employer means the plan sponsor self-insuring the               otherwise, is covered with the same cost share as an
benefits described in this booklet, on whose behalf Cigna is             Outpatient Facility.
providing claim administration services.
                                                                         HC-DFS1484                                                      01-21
HC-DFS1615                                                  01-22




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Hospice Care Program                                                               services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                               a hospital by the Joint Commission on the Accreditation of
                                                                                   Healthcare Organizations; or
•   a coordinated, interdisciplinary program to meet the
    physical, psychological, spiritual and social needs of dying               •   an institution which: specializes in treatment of Mental
    persons and their families;                                                    Health and Substance Use Disorder or other related illness;
                                                                                   provides residential treatment programs; and is licensed in
•   a program that provides palliative and supportive medical,                     accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                    authorized agency.
    care during the illness;
                                                                               The term Hospital does not include an institution which is
•   a program for persons who have a Terminal Illness and for                  primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                             home.

HC-DFS51                                                          04-10
                                                                               HC-DFS1485                                                       01-21
                                                                    V1



Hospice Care Services
                                                                               Hospital Confinement or Confined in a Hospital
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar                        A person will be considered Confined in a Hospital if he is:
institution, a Home Health Care Agency, a Hospice Facility,                    •   a registered bed patient in a Hospital upon the
or any other licensed facility or agency under a Hospice Care                      recommendation of a Physician;
Program.                                                                       •   receiving treatment for Mental Health and Substance Use
                                                                                   Disorder Services in a Mental Health or Substance Use
HC-DFS52                                                          04-10            Disorder Residential Treatment Center.
                                                                    V1

                                                                               HC-DFS807                                                        12-15

Hospice Facility
The term Hospice Facility means an institution or part of it                   Injury
which:                                                                         The term Injury means an accidental bodily injury.
•   primarily provides care for Terminally Ill patients;
•   is accredited by the National Hospice Organization;                        HC-DFS12                                                         04-10
•   meets standards established by Cigna; and                                                                                                     V1

•   fulfills any licensing requirements of the state or locality in
    which it operates.                                                         Maintenance Treatment
                                                                               The term Maintenance Treatment means:
HC-DFS53                                                          04-10
                                                                               •   treatment rendered to keep or maintain the patient's current
                                                                    V1
                                                                                   status.

Hospital                                                                       HC-DFS56                                                         04-10
The term Hospital means:                                                                                                                          V1

•   an institution licensed as a hospital, which: maintains, on
    the premises, all facilities necessary for medical and                     Maximum Reimbursable Charge – Medical
    surgical treatment; provides such treatment on an inpatient
    basis, for compensation, under the supervision of                          See The Medical Schedule for information about Out-of-
    Physicians; and provides 24-hour service by Registered                     Network Charges for Certain Services, Out-of-Network
    Graduate Nurses;                                                           Emergency Services Charges, and Out-of-Network Air
                                                                               Ambulance Services Charges.
•   an institution which qualifies as a hospital, a psychiatric
    hospital or a tuberculosis hospital, and a provider of


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The Maximum Reimbursable Charge (also referred to as                    Note: Some providers attempt to forgive, waive, or not collect
MRC) is the maximum amount that your plan will pay an Out-              the cost share obligation (e.g., your Coinsurance and/or
of-Network health care provider for a Covered Expense. Your             Deductible amount(s), if any), that this plan requires you to
applicable Out-of-Network Coinsurance and/or Deductible                 pay. This practice jeopardizes your coverage under this plan.
amount(s), if any, set forth in The Schedule are determined             Please read the Exclusions, Expenses Not Covered and
based on the MRC. Unless prohibited by applicable law or                General Limitations section, or call Cigna at the phone
agreement, Out-of-Network providers may also bill you for               number on your ID card for more details.
the difference between the MRC and their charges, and you
may be financially responsible for that amount. If you receive
                                                                        HC-DFS1853                                                        01-24
a bill from an Out-of-Network provider for more than the
What I Owe amount on the Explanation of Benefits (EOB),
please call Cigna at the phone number on your ID card.                  Medicaid
If an Out-of-Network provider is willing to agree to a rate that        The term Medicaid means a state program of medical aid for
Cigna, in its discretion, determines to be market competitive,          needy persons established under Title XIX of the Social
then that rate will become the MRC used to calculate the Out-           Security Act of 1965 as amended.
of-Network allowable amount for a Covered Expense. An
Out-of-Network provider can agree to a rate by: (i) entering
into an agreement with Cigna or one of Cigna’s third-party              HC-DFS16                                                          04-10

vendors that establishes the rate the Out-of-Network provider                                                                               V1

is willing to accept as payment for the Out-of-Network
Covered Expense; or (ii) receiving a payment from Cigna                 Medical Pharmaceutical
based on an allowed amount that Cigna or one of Cigna’s
third-party vendors has determined is a market competitive              Medical Pharmaceuticals are used for treatment of complex
rate without billing you and/or obligating you to pay the               chronic conditions, are administered and handled in a
difference between the payment amount and the charged                   specialized manner, and may be high cost. Because of their
amount.                                                                 characteristics, they require a qualified Physician to administer
                                                                        or directly supervise administration. Some Medical
If an Out-of-Network provider does not agree to a market                Pharmaceuticals may initially or typically require Physician
competitive rate as described in the previous paragraph, then           oversight but subsequently may be self-administered under
the MRC for Open Acess Plus will be based on an amount                  certain conditions specified in the product’s FDA labeling.
required by law, or if no amount is required by law, then the
lesser of:
                                                                        HC-DFS1722                                                        07-22
•   the providers normal charge for a similar service or supply;
    or
•   the planholder-selected percentage of a fee schedule Cigna          Medically Necessary/Medical Necessity
    has developed that is based upon a methodology similar to a         Health care services, supplies and medications provided for
    methodology utilized by Medicare to determine the                   the purpose of preventing, evaluating, diagnosing or treating a
    allowable reimbursement for the same or similar service or          Sickness, Injury, condition, disease or its symptoms, that are
    supply within the geographic market. In the event that              all of the following as determined by a Medical Director or
    Medicare does not have a published rate for a particular            Review Organization:
    service or supply, Cigna may, in its discretion, determine
                                                                        •   required to diagnose or treat an illness, Injury, disease or its
    the MRC based on a rate for the same or similar service or
                                                                            symptoms;
    supply by applying a Medicare-based methodology that
    Cigna deems appropriate.                                            •   in accordance with generally accepted standards of medical
                                                                            practice;
The percentage used to determine the Maximum Reimbursable
Charge is 110.                                                          •   clinically appropriate in terms of type, frequency, extent,
                                                                            site and duration;
                                                                        •   not primarily for the convenience of the patient, Physician
                                                                            or Other Health Professional;
                                                                        •   not more costly than an alternative service(s), medication(s)
                                                                            or supply(ies) that is at least as likely to produce equivalent
                                                                            therapeutic or diagnostic results with the same safety profile



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    as to the prevention, evaluation, diagnosis or treatment of              New Prescription Drug Product
    your Sickness, Injury, condition, disease or its symptoms;               A Prescription Drug Product, or new use or dosage form of a
    and                                                                      previously FDA-approved Prescription Drug Product, for the
•   rendered in the least intensive setting that is appropriate for          period of time starting on the date the Prescription Drug
    the delivery of the services, supplies or medications. Where             Product or newly-approved use or dosage form becomes
    applicable, the Medical Director or Review Organization                  available on the market following approval by the U.S. Food
    may compare the cost-effectiveness of alternative services,              and Drug Administration (FDA) and ending on the date Cigna
    supplies, medications or settings when determining least                 makes a Prescription Drug List coverage status decision.
    intensive setting.
In determining whether health care services, supplies, or                    HC-DFS1498                                                    07-20
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.                     Nurse
Clinical coverage policies may incorporate, without limitation               The term Nurse means a Registered Graduate Nurse, a
and as applicable, criteria relating to U.S. Food and Drug                   Licensed Practical Nurse or a Licensed Vocational Nurse who
Administration-approved labeling, the standard medical                       has the right to use the abbreviation "R.N.," "L.P.N." or
reference compendia and peer-reviewed, evidence-based                        "L.V.N."
scientific literature or guidelines.

                                                                             HC-DFS22                                                      04-10
HC-DFS1486                                                      01-21                                                                        V1



Medicare                                                                     Other Health Care Facility
The term Medicare means the program of medical care                          The term Other Health Care Facility means a facility other
benefits provided under Title XVIII of the Social Security Act               than a Hospital or Hospice Facility. Examples of Other Health
of 1965 as amended.                                                          Care Facilities include, but are not limited to, licensed skilled
                                                                             nursing facilities, rehabilitation Hospitals and subacute
                                                                             facilities.
HC-DFS17                                                        04-10
                                                                  V1

                                                                             HC-DFS1489                                                    01-21

Necessary Services and Supplies
The term Necessary Services and Supplies includes any                        Other Health Professional
charges, except charges for Room and Board, made by a                        The term Other Health Professional means an individual other
Hospital for medical services and supplies actually used                     than a Physician who is licensed or otherwise authorized under
during Hospital Confinement.                                                 the applicable state law to deliver medical services and
The term Necessary Services and Supplies will not include                    supplies. Other Health Professionals include, but are not
any charges for special nursing fees, dental fees or medical                 limited to physical therapists, registered nurses and licensed
fees.                                                                        practical nurses. Other Health Professionals do not include
                                                                             providers such as Certified First Assistants, Certified
                                                                             Operating Room Technicians, Certified Surgical
HC-DFS1488                                                      01-21        Assistants/Technicians, Licensed Certified Surgical
                                                                             Assistants/Technicians, Licensed Surgical Assistants,
                                                                             Orthopedic Physician Assistants and Surgical First Assistants.


                                                                             HC-DFS1490                                                    01-21



                                                                             Participating Provider
                                                                             The term Participating Provider means a person or entity that
                                                                             has a direct or indirect contractual arrangement with Cigna to



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provide covered services and/or supplies, the Charges for                Prescription Drug List
which are Covered Expenses. It includes an entity that has               A list that categorizes Prescription Drug Products covered
directly or indirectly contracted with Cigna to arrange, through         under the plan’s Prescription Drug Benefits. This list is
contracts with providers of services and/or supplies, for the            developed by Cigna based on clinical factors communicated
provision of any services and/or supplies, the Charges for               by the P&T Committee and adopted by your Employer as part
which are Covered Expenses.                                              of the plan. The list is subject to periodic review and change,
                                                                         and is subject to the limitations and exclusions of the plan.
HC-DFS1194                                                  01-19

                                                                         HC-DFS1775                                                    01-23

Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 means the             A drug, Biologic (including a Biosimilar), or other product
Patient Protection and Affordable Care Act of 2010 (Public               that has been approved by the U.S. Food and Drug
Law 111-148) as amended by the Health Care and Education                 Administration (FDA), certain products approved under the
Reconciliation Act of 2010 (Public Law 111-152).                         Drug Efficacy Study Implementation review, or products
                                                                         marketed prior to 1938 and not subject to review and that can,
HC-DFS412                                                   01-11
                                                                         under federal or state law, be dispensed only pursuant to a
                                                                         Prescription Order or Refill. For the purpose of benefits under
                                                                         the plan, this definition may also include products in the
Pharmacy & Therapeutics (P&T) Committee                                  following categories if specifically identified in the
A committee comprised of physicians and an independent                   Prescription Drug List:
pharmacist that represent a range of clinical specialties. The           •   Certain durable products and supplies that support drug
committee regularly reviews Medical Pharmaceuticals for                      therapy;
safety and efficacy, the findings of which clinical reviews
                                                                         •   Certain diagnostic testing and screening services that
inform coverage determinations made by the Business
                                                                             support drug therapy;
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug              •   Certain medication consultation and other medication
Administration-approved labeling, standard medical reference                 administration services that support drug therapy; and
compendia, or scientific studies published in peer-reviewed              •   Certain digital products, applications, electronic devices,
English-language bio-medical journals.                                       software and cloud based service solutions used to predict,
                                                                             detect and monitor health conditions in support of drug
                                                                             therapy.
HC-DFS1495                                                  07-20


                                                                         HC-DFS1633                                                    01-22
Physician
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 Prescription Order or Refill
licensed to prescribe and administer drugs or to perform                 The lawful directive to dispense a Prescription Drug Product
surgery. It will also include any other licensed medical                 issued by a Physician whose scope of practice permits issuing
practitioner whose services are required to be covered by law            such a directive.
in the locality where the policy is issued if he is:
•   operating within the scope of his license; and                       HC-DFS856                                                     10-16
•   performing a service for which benefits are provided under
    this plan when performed by a Physician.
                                                                         Preventive Treatment
                                                                         The term Preventive Treatment means treatment rendered to
HC-DFS25                                                    04-10
                                                                         prevent disease or its recurrence.
                                                              V1


                                                                         HC-DFS57                                                      04-10
                                                                                                                                           V1




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                                                                          Sickness – For Medical Insurance
Primary Care Physician                                                    The term Sickness means a physical or mental illness. It also
The term Primary Care Physician means a Physician who                     includes pregnancy. Expenses incurred for routine Hospital
qualifies as a Participating Provider in general practice,                and pediatric care of a newborn child prior to discharge from
internal medicine, family practice OB/GYN or pediatrics; and              the Hospital nursery will be considered to be incurred as a
who has been voluntarily selected by you and is contracted as             result of Sickness.
a Primary Care Physician with, as authorized by Cigna, to
provide or arrange for medical care for you or any of your                HC-DFS50                                                      04-10
insured Dependents.                                                                                                                       V1



HC-DFS40                                                     04-10        Skilled Nursing Facility
                                                               V1
                                                                          The term Skilled Nursing Facility means a licensed institution
                                                                          (other than a Hospital, as defined) which specializes in:
Psychologist                                                              •   physical rehabilitation on an inpatient basis; or
The term Psychologist means a person who is licensed or                   •   skilled nursing and medical care on an inpatient basis;
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who            but only if that institution: maintains on the premises all
is considered qualified as a clinical psychologist by a                   facilities necessary for medical treatment; provides such
recognized psychological association. It will also include any            treatment, for compensation, under the supervision of
other licensed counseling practitioner whose services are                 Physicians; and provides Nurses' services.
required to be covered by law in the locality where the policy
is issued if he is operating within the scope of his license and          HC-DFS31                                                      04-10
performing a service for which benefits are provided under                                                                                V1
this plan when performed by a Psychologist.

                                                                          Specialist
HC-DFS26                                                     04-10
                                                                          The term Specialist means a Physician who provides
                                                               V1
                                                                          specialized services, and is not engaged in general practice,
                                                                          family practice, internal medicine, obstetrics/gynecology or
Review Organization                                                       pediatrics.
The term Review Organization refers to an affiliate of Cigna
or another entity to which Cigna has delegated responsibility             HC-DFS33                                                      04-10
for performing utilization review services. The Review                                                                                    V1
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and               Specialty Prescription Drug Product
other trained staff members who perform utilization review                A Medical Pharmaceutical considered by Cigna to be a
services.                                                                 Specialty Prescription Drug Product based on consideration of
                                                                          the following factors, subject to applicable law: whether the
                                                                          Medical Pharmaceutical is prescribed and used for the
HC-DFS808                                                    12-15
                                                                          treatment of a complex, chronic or rare condition; whether the
                                                                          Medical Pharmaceutical has a high acquisition cost; and,
Room and Board                                                            whether the Medical Pharmaceutical is subject to limited or
The term Room and Board includes all charges made by a                    restricted distribution, requires special handling and/or
Hospital for room and meals and for all general services and              requires enhanced patient education, provider coordination or
activities needed for the care of registered bed patients.                clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
                                                                          presence of any one such characteristic does not guarantee that
HC-DFS1481                                                   01-21        a Medical Pharmaceutical will be considered a Specialty
                                                                          Prescription Drug Product. Specialty Prescription Drug
                                                                          Products may vary by plan benefit assignment based on


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factors such as method or site of clinical administration, or             generally accepted medical standards, to have been necessary
utilization management requirements based on factors such as              to treat a condition requiring prompt medical attention. This
acquisition cost. You may determine whether a medication is a             does not include care that could have been foreseen before
Specialty Prescription Drug Product through the website                   leaving the immediate area where you ordinarily receive
shown on your ID card or by calling member services at the                and/or were scheduled to receive services. Such care includes,
telephone number on your ID card.                                         but is not limited to, dialysis, scheduled medical treatments or
                                                                          therapy, or care received after a Physician's recommendation
                                                                          that the insured should not travel due to any medical
HC-DFS858                                                   10-16
                                                                          condition.

Stabilize
                                                                          HC-DFS34                                                     04-10
Stabilize means, with respect to an Emergency Medical                                                                                    V1
Condition, to provide medical treatment as necessary to assure
that no material deterioration of the condition is likely if the
individual is transferred from a facility, or, with respect to a
pregnant woman who is having contractions, to deliver.


HC-DFS1768                                                  01-23



Terminal Illness
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.


HC-DFS54                                                    04-10
                                                                V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with


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                     Exhibit 3
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  ARCADIS U.S., Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Health Savings Account
   Consumer Choice Plan


  EFFECTIVE DATE: January 1, 2023




  ASO70
  3157440




  This document printed in April, 2023 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY ARCADIS U.S., INC. WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
Care Management and Care Coordination Services                           the Prescription Drug List. These rebates or remuneration are
                                                                         not obtained on you or your Employer’s or plan’s behalf or for
Your plan may enter into specific collaborative arrangements
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
with health care professionals committed to improving quality
                                                                         to pass these rebates on to you, or apply them to your plan’s
care, patient satisfaction and affordability. Through these
                                                                         Deductible if any or take them into account in determining
collaborative arrangements, health care professionals commit
                                                                         your Copayments and/or Coinsurance.
to proactively providing participants with certain care
management and care coordination services to facilitate                  Cigna and its affiliates or designees, conduct business with
achievement of these goals. Reimbursement is provided at                 various pharmaceutical manufacturers separate and apart from
100% for these services when rendered by designated health               this plan’s Medical Pharmaceutical and Prescription Drug
care professionals in these collaborative arrangements.                  Product benefits. Such business may include, but is not limited
                                                                         to, data collection, consulting, educational grants and research.
                                                                         Amounts received from pharmaceutical manufacturers
HC-SPP27                                                    06-15        pursuant to such arrangements are not related to this plan.
                                                                V1       Cigna and its affiliates are not required to pass on to you, and
                                                                         do not pass on to you, such amounts.
                                                                         Coupons, Incentives and Other Communications
Important Notices                                                        At various times, Cigna or its designee may send mailings to
Direct Access to Obstetricians and Gynecologists                         you or your Dependents or to your Physician that
                                                                         communicate a variety of messages, including information
You do not need prior authorization from the plan or from any
                                                                         about Medical Pharmaceuticals and Prescription Drug
other person (including a primary care provider) in order to
                                                                         Products. These mailings may contain coupons or offers from
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           pharmaceutical manufacturers that enable you or your
                                                                         Dependents, at your discretion, to purchase the described
or gynecology. The health care professional, however, may be
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
required to comply with certain procedures, including
                                                                         discount or to obtain it at no charge. Pharmaceutical
obtaining prior authorization for certain services, following a
                                                                         manufacturers may pay for and/or provide the content for
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         these mailings. Cigna, its affiliates and the plan are not
who specialize in obstetrics or gynecology, visit                        responsible in any way for any decision you make in
                                                                         connection with any coupon, incentive, or other offer you may
www.mycigna.com or contact customer service at the phone
                                                                         receive from a pharmaceutical manufacturer or Physician.
number listed on the back of your ID card.
Selection of a Primary Care Provider
                                                                         HC-IMP304                                                      01-22
This plan generally allows the designation of a primary care
provider. You have the right to designate any primary care
provider who participates in the network and who is available            Discrimination is Against the Law
to accept you or your family members. For information on                 Cigna complies with applicable Federal civil rights laws and
how to select a primary care provider, and for a list of the             does not discriminate on the basis of race, color, national
participating primary care providers, visit www.mycigna.com              origin, age, disability or sex. Cigna does not exclude people or
or contact customer service at the phone number listed on the            treat them differently because of race, color, national origin,
back of your ID card.                                                    age, disability or sex.
For children, you may designate a pediatrician as the primary            Cigna:
care provider.
                                                                            Provides free aids and services to people with disabilities to
                                                                             communicate effectively with us, such as:
HC-NOT5                                                     01-11
                                                                              Qualified sign language interpreters




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     Written information in other formats (large print, audio,           Chinese – 注意：我們可為您免費提供語言協助服務。
      accessible electronic formats, other formats)                       對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
   Provides free language services to people whose primary               其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
    language is not English, such as                                      Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
     Qualified interpreters                                              về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
     Information written in other languages                              Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                          khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
If you need these services, contact customer service at the toll-
free phone number shown on your ID card, and ask a                        Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
Customer Service Associate for assistance.
                                                                          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
If you believe that Cigna has failed to provide these services
or discriminated in another way on the basis of race, color,              가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
national origin, age, disability or sex, you can file a grievance         연락해주십시오. 기타 다른 경우에는 1.800.244.6224
by sending an email to ACAGrievance@cigna.com or by
writing to the following address:                                         (TTY: 다이얼 711)번으로 전화해주십시오.
    Cigna                                                                 Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
    Nondiscrimination Complaint Coordinator                               tulong sa wika nang libre. Para sa mga kasalukuyang customer
    P.O. Box 188016                                                       ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Chattanooga, TN 37422                                                 kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
If you need assistance filing a written grievance, please call            Russian – ВНИМАНИЕ: вам могут предоставить
the number on the back of your ID card or send an email to                бесплатные услуги перевода. Если вы уже участвуете в
ACAGrievance@cigna.com. You can also file a civil rights                  плане Cigna, позвоните по номеру, указанному на
complaint with the U.S. Department of Health and Human                    обратной стороне вашей идентификационной карточки
Services, Office for Civil Rights electronically through the              участника плана. Если вы не являетесь участником одного
Office for Civil Rights Complaint Portal, available at:                   из наших планов, позвоните по номеру 1.800.244.6224
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or             (TTY: 711).
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building
    Washington, D.C. 20201
    1-800-368-1019, 800-537-7697 (TDD)                                    French Creole – ATANSYON: Gen sèvis èd nan lang ki
Complaint forms are available at                                          disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
http://www.hhs.gov/ocr/office/file/index.html.                            dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                          (TTY: Rele 711).
HC-NOT96                                                      07-17       French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
                                                                          Cigna, veuillez appeler le numéro indiqué au verso de votre
Proficiency of Language Assistance Services                               carte d’identité. Sinon, veuillez appeler le numéro
English – ATTENTION: Language assistance services, free                   1.800.244.6224 (ATS : composez le numéro 711).
of charge, are available to you. For current Cigna customers,             Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
call the number on the back of your ID card. Otherwise, call              assistência linguística, totalmente gratuitos. Para clientes
1.800.244.6224 (TTY: Dial 711).                                           Cigna atuais, ligue para o número que se encontra no verso do
Spanish – ATENCIÓN: Hay servicios de asistencia de                        seu cartão de identificação. Caso contrário, ligue para
idiomas, sin cargo, a su disposición. Si es un cliente actual de          1.800.244.6224 (Dispositivos TTY: marque 711).
Cigna, llame al número que figura en el reverso de su tarjeta             Polish – UWAGA: w celu skorzystania z dostępnej,
de identificación. Si no lo es, llame al 1.800.244.6224 (los              bezpłatnej pomocy językowej, obecni klienci firmy Cigna
usuarios de TTY deben llamar al 711).                                     mogą dzwonić pod numer podany na odwrocie karty
                                                                          identyfikacyjnej. Wszystkie inne osoby prosimy o
                                                                          skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).



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Japanese –                                                                   exclusions and/or restrictions based on geographic location,
注意事項：日本語を話される場合、無料の言語支援サー                                                     facility type or provider specialty.
ビスをご利用いただけます。現在のCignaの                                                    A description of your plan’s NQTL methodologies and
お客様は、IDカード裏面の電話番号まで、お電話にてご                                                processes applied to medical/surgical benefits and MH/SUD
連絡ください。その他の方は、1.800.244.6224（TTY:                                         benefits is available for review by Plan Administrators (e.g.
711）まで、お電話にてご連絡ください。                                                      Employers) and covered persons:
Italian – ATTENZIONE: Sono disponibili servizi di                             Employers (Plan Administrators):
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                 Please contact your Cigna Sales Representative to request
chiamare il numero sul retro della tessera di identificazione.                the NQTL comparative analysis.
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                  Covered Persons: www.cigna.com\sp
TTY: chiamare il numero 711).                                             To determine which document applies to your plan, select the
German – ACHTUNG: Die Leistungen der                                      relevant health plan product; medical management model
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                 (inpatient only or inpatient and outpatient) which can be
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die              located in this booklet immediately following The Schedule;
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                  and pharmacy coverage (whether or not your plan includes
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                  pharmacy coverage).
Sie 711).
                                                                          HC-NOT113                                                    12-22
                                                                                                                                          V1




                                                                          How To File Your Claim
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
                                                                          provider will submit a claim to Cigna for reimbursement. Out-
HC-NOT97                                                     07-17
                                                                          of-Network claims can be submitted by the provider if the
                                                                          provider is able and willing to file on your behalf. If the
Mental Health Parity and Addiction Equity Act of 2008                     provider is not submitting on your behalf, you must send your
(MHPAEA) - Non-Quantitative Treatment Limitations                         completed claim form and itemized bills to the claims address
(NQTLs)                                                                   listed on the claim form.
Federal MHPAEA regulations provide that a plan cannot                     You may get the required claim forms from the website listed
impose a Non-Quantitative Treatment Limitation (NQTL) on                  on your identification card or by using the toll-free number on
mental health or substance use disorder (MH/SUD) benefits in              your identification card.
any classification unless the processes, strategies, evidentiary          CLAIM REMINDERS
standards, or other factors used in applying the NQTL to
                                                                           BE SURE TO USE YOUR MEMBER ID AND
MH/SUD benefits are comparable to, and are applied no more
                                                                            ACCOUNT/GROUP NUMBER WHEN YOU FILE
stringently than, those used in applying the NQTL to
                                                                            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
medical/surgical benefits in the same classification of benefits
                                                                            YOUR CIGNA CLAIM OFFICE.
as written and in operation under the terms of the plan.
                                                                              YOUR MEMBER ID IS THE ID SHOWN ON YOUR
Non-Quantitative Treatment Limitations (NQTLs) include (to
                                                                              BENEFIT IDENTIFICATION CARD.
the extent applicable under the plan):
                                                                              YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
   medical management standards limiting or excluding
                                                                              YOUR BENEFIT IDENTIFICATION CARD.
    benefits based on Medical Necessity or whether the
    treatment is experimental or investigative;                              BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
   prescription drug formulary design;
                                                                              WHEN SUBMITTING A CLAIM TO CIGNA.
   network admission standards;
                                                                          Timely Filing of Out-of-Network Claims
   methods for determining In-Network and Out-of-Network
                                                                          Cigna will consider claims for coverage under our plans when
    provider reimbursement rates;
                                                                          proof of loss (a claim) is submitted within 180 days for Out-
   step therapy a/k/a fail-first requirements; and


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of-Network benefits after services are rendered. If services are             Effective Date of Employee Insurance
rendered on consecutive days, such as for a Hospital                         You will become insured on the date you elect the insurance
Confinement, the limit will be counted from the last date of                 by signing an approved payroll deduction or enrollment form,
service. If claims are not submitted within 180 days for Out-                as applicable, but no earlier than the date you become eligible.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                          You will become insured on your first day of eligibility,
                                                                             following your election, if you are in Active Service on that
WARNING: Any person who knowingly and with intent to                         date, or if you are not in Active Service on that date due to
defraud any insurance company or other person files an                       your health status.
application for insurance or statement of claim containing any
materially false information; or conceals for the purpose of                 Late Entrant - Employee
misleading, information concerning any material fact thereto,                You are a Late Entrant if:
commits a fraudulent insurance act.                                             you elect the insurance more than 30 days after you become
                                                                                 eligible; or
HC-CLM25                                                        01-11           you again elect it after you cancel your payroll deduction (if
                                                                 V11             required).

                                                                             Dependent Insurance
Eligibility - Effective Date                                                 For your Dependents to be insured, you will have to pay the
                                                                             required contribution, if any, toward the cost of Dependent
Employee Insurance                                                           Insurance.
This plan is offered to you as an Employee.                                  Effective Date of Dependent Insurance
Eligibility for Employee Insurance                                           Insurance for your Dependents will become effective on the
                                                                             date you elect it by signing an approved payroll deduction
You will become eligible for insurance on the day you                        form (if required), but no earlier than the day you become
complete the waiting period if:                                              eligible for Dependent Insurance. All of your Dependents as
   you are in a Class of Eligible Employees; and                            defined will be included.
   you are an eligible, full-time or part-time Employee; and                Your Dependents will be insured only if you are insured.
   you normally work at least 30 hours a week; and                          Late Entrant – Dependent
   you pay any required contribution.                                       You are a Late Entrant for Dependent Insurance if:
If you were previously insured and your insurance ceased, you                   you elect that insurance more than 30 days after you
must satisfy the Waiting Period to become insured again. If                      become eligible for it; or
your insurance ceased because you were no longer employed                       you again elect it after you cancel your payroll deduction (if
in a Class of Eligible Employees, you are not required to                        required).
satisfy any waiting period if you again become a member of a
Class of Eligible Employees within one year after your                       Exception for Newborns
insurance ceased.                                                            Any Dependent child born while you are insured will become
Eligibility for Dependent Insurance                                          insured on the date of his birth if you elect Dependent
                                                                             Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later                elect to insure your newborn child within such 31 days,
of:                                                                          coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                             for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                             HC-ELG274 M                                                    01-19
Waiting Period
A period of time as determined by your Employer.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
Employer.



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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


HC-IMP212                                                   01-18




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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.

Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Any benefit deductibles.
 Provider charges in excess of the Maximum Reimbursable Charge.
    .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will accumulate in one direction (that is, Out-of-Network will accumulate to
In-Network). All other plan maximums and service-specific maximums (dollar and occurrence) cross-accumulate between
.In- and Out-of-Network unless otherwise noted.



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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Note:
For information about your health fund benefit and how it can help you pay for expenses that may not be covered under
this plan, refer to “What You Should Know about Cigna Choice Fund”.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.


       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
The Percentage of Covered Expenses        80%                            60% of the Maximum Reimbursable
the Plan Pays                                                            Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in The Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-    Not Applicable                 110%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 the provider’s normal charge for a
  similar service or supply; or
 the 80th percentile of charges made
  by providers of such service or
  supply in the geographic area where
  it is received as compiled in a
  database selected by Cigna. If
  sufficient charge data is unavailable
  in the database for that geographic
  area to determine the Maximum
  Reimbursable Charge, then data in
  the database for similar services may
  be used.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles and/or
coinsurance.

Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.

Calendar Year Deductible
  Individual                               $1,500 per person               $4,500 per person

  Family Maximum                           $3,000 per family               $9,000 per family


  Collective Deductible:
  All family members contribute
  towards the family deductible. An
  individual cannot have claims
  covered under the plan coinsurance
  until the total family deductible has
  been satisfied.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Combined Medical/Pharmacy
Calendar Year Deductible
  Combined Medical/Pharmacy               Yes                             In-Network coverage only
  Deductible: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs            Yes                             In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Deductible
Combined Out-of-Pocket Maximum
for Medical and Pharmacy expenses
  Individual – Employee Only              $4,000 per person               $12,000 per person
  Employee Plus                           $8,000 per person               $24,000 per person
  Spouse/Partner/Children
  Family                                  $9,250 per family               $27,750 per family

  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-         Yes                                  In-Network coverage only
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs           Yes                                  In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office        80% after plan deductible            60% of the Maximum Reimbursable
  Visit                                                                       Charge after plan deductible
  Specialty Care Physician’s Office      80% after plan deductible            60% of the Maximum Reimbursable
  Visits                                                                      Charge after plan deductible
    Consultant and Referral
    Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with the
       Insurance Company.
  Surgery Performed in the Physician’s   80% after plan deductible            60% of the Maximum Reimbursable
  Office                                                                      Charge after plan deductible
  Second Opinion Consultations           80% after plan deductible            60% of the Maximum Reimbursable
  (provided on a voluntary basis)                                             Charge after plan deductible
  Allergy Treatment/Injections           80% after plan deductible            60% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Allergy Serum (dispensed by the        80% after plan deductible            60% of the Maximum Reimbursable
  Physician in the office)                                                    Charge after plan deductible
Convenience Care Clinic                  80% after plan deductible            60% of the Maximum Reimbursable
(includes any related lab and x-ray                                           Charge after plan deductible
.services and surgery)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
 Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
 MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
 Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
 MDLIVE Urgent Care Services              80% after plan deductible            In-Network coverage only


 MDLIVE Primary Care Services             80% after plan deductible            In-Network coverage only


 MDLIVE Specialty Care Services           80% after plan deductible            In-Network coverage only


Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Physician Virtual Office Visit            80% after plan deductible            60% of the Maximum Reimbursable
.                                                                              Charge after plan deductible




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                       OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages     No charge                            In-Network coverage only
 Immunizations - all ages                No charge                            In-Network coverage only
 (including Travel Immunizations)
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       No charge                            60% of the Maximum Reimbursable
  (i.e. “routine” services)                                                   Charge after plan deductible
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray & lab    Subject to the plan’s x-ray & lab
  “non-routine” services)                benefit; based on place of service   benefit; based on place of service
.
Inpatient Hospital – Facility Services   80% after plan deductible            60% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Semi-Private Room and Board            Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate       Limited to the ICU/CCU daily room
                                                                              rate

Outpatient Facility Services
 Operating Room, Recovery Room,          80% after plan deductible            60% of the Maximum Reimbursable
 Procedures Room, Treatment Room                                              Charge after plan deductible
 and Observation Room
Inpatient Hospital Physician’s           80% after plan deductible            60% of the Maximum Reimbursable
Visits/Consultations                                                          Charge after plan deductible

Inpatient Hospital Professional          80% after plan deductible            60% of the Maximum Reimbursable
Services                                                                      Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services         80% after plan deductible            60% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist



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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                80% after plan deductible            80% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Urgent Care Facility or Outpatient      80% after plan deductible            80% of the Maximum Reimbursable
  Facility                                                                     Charge after plan deductible

  Outpatient Professional Services        80% after plan deductible            80% of the Maximum Reimbursable
  (radiology, pathology, physician)                                            Charge after plan deductible
  X-ray and/or Lab performed at the       80% after plan deductible            80% of the Maximum Reimbursable
  Urgent Care Facility (billed by the                                          Charge after plan deductible
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     80% after plan deductible            80% of the Maximum Reimbursable
  MRIs, MRAs, CAT Scans, PET                                                   Charge after plan deductible
  Scans etc.)

Emergency Services
  Physician’s Office Visit                80% after plan deductible            80% after plan deductible
  Hospital Emergency Room                 80% after plan deductible            80% after plan deductible

  Outpatient Professional Services        80% after plan deductible            80% after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       80% after plan deductible            80% after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            80% after plan deductible            80% after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     80% after plan deductible            80% after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             80% after plan deductible            80% after plan deductible

Ambulance                                 80% after plan deductible            80% of the Maximum Reimbursable
                                                                               Charge after plan deductible
Inpatient Services at Other Health        80% after plan deductible            60% of the Maximum Reimbursable
Care Facilities                                                                Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
. 120 days combined




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit                80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Hospital Facility             80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Independent X-ray and/or Lab             80% after plan deductible            60% of the Maximum Reimbursable
  Facility                                                                      Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Inpatient Facility                       80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Facility                      80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Outpatient Therapy Services                80% after plan deductible            60% of the Maximum Reimbursable
  Calendar Year Maximum:                                                        Charge after plan deductible
  60 days for all therapies combined
  (The limit is not applicable to mental
  health conditions.)
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          80% after plan deductible            60% of the Maximum Reimbursable
  Calendar Year Maximum:                                                        Charge after plan deductible
  36 days
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Physician’s Office Visit                 80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Physician’s Office Visit                 80% after plan deductible            60% of the Maximum Reimbursable
                                                                                Charge after plan deductible


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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% of the Maximum Reimbursable
  40 days (includes outpatient private                                          Charge after plan deductible
  nursing when approved as Medically
  Necessary)
  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Services                     80% after plan deductible             60% of the Maximum Reimbursable
  (same coinsurance level as Home                                               Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient                              80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost     In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        80% after plan deductible               In-Network coverage only
  Outpatient Facility                       80% after plan deductible               In-Network coverage only
  Physician’s Services                      80% after plan deductible               In-Network coverage only
  Travel Maximum:                           No charge after plan deductible         In-Network coverage only
  $10,000 per episode of gene therapy       (available only for travel when prior
                                            authorized to receive gene therapy at
                                            a participating In-Network facility
                                            specifically contracted with Cigna to
                                            provide the specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         80% after plan deductible               60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible               60% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                  Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     80% after plan deductible               60% of the Maximum Reimbursable
  to the global maternity fee when                                                  Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       80% after plan deductible               60% of the Maximum Reimbursable
  (Inpatient Hospital, Birthing Center)                                             Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                       OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Inpatient Facility                      80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Outpatient Facility                     80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Physician’s Services                    80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                            60% of the Maximum Reimbursable
  Tests and Counseling                                                         Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Inpatient Facility                    No charge                            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Outpatient Facility                   No charge                            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Physician’s Services                  No charge                            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
Men’s Family Planning Services
  Office Visits, Lab and Radiology        80% after plan deductible            60% of the Maximum Reimbursable
  Tests and Counseling                                                         Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Inpatient Facility                    80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Outpatient Facility                   80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible
    Physician’s Services                  80% after plan deductible            60% of the Maximum Reimbursable
                                                                               Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
       Includes coverage for services performed to enable conception with or without an infertility condition.
.
    Physician’s Office Visit (Lab and           80% after plan deductible                  In-Network coverage only
    Radiology Tests, Counseling)
    Inpatient Facility                          80% after plan deductible                  In-Network coverage only
    Outpatient Facility                         80% after plan deductible                  In-Network coverage only
    Physician’s Services                        80% after plan deductible                  In-Network coverage only
    Lifetime Maximum:
    $20,000 per member

  Includes all related services billed
  with an infertility diagnosis (i.e. x-
  ray or lab services billed by an
  independent
  .             facility).
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
    Physician’s Office Visit                    80% after plan deductible                  In-Network coverage only
    Inpatient Facility                          100% at LifeSOURCE center after            In-Network coverage only
                                                plan deductible, otherwise 80% after
                                                plan deductible
    Physician’s Services                        100% at LifeSOURCE center after            In-Network coverage only
                                                plan deductible, otherwise 80% after
                                                plan deductible
    Lifetime Travel Maximum:                    No charge after plan deductible (only      In-Network coverage only
    $10,000 per transplant                      available when using LifeSOURCE
  .                                             facility)
Durable Medical Equipment
    Calendar Year Maximum:                      80% after plan deductible                  In-Network coverage only
    Unlimited
    .




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      BENEFIT HIGHLIGHTS                                IN-NETWORK                       OUT-OF-NETWORK
Outpatient Dialysis Services
 Physician's Office Visit                   80% after plan deductible            In-Network coverage only
  Outpatient Facility Services              80% after plan deductible            In-Network coverage only



  Physician's Services                      80% after plan deductible            In-Network coverage only
  Home Setting                              80% after plan deductible            In-Network coverage only
Breast Feeding Equipment and
Supplies
  Note:                                     No charge                            In-Network coverage only
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible            60% of the Maximum Reimbursable
  Unlimited                                                                      Charge after plan deductible
  .
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Inpatient Facility                        80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                       80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                      80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Inpatient Facility                        80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                       80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
   Physician’s Services                     80% after plan deductible            60% of the Maximum Reimbursable
   .                                                                             Charge after plan deductible
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Inpatient Facility                        80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                       80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                      80% after plan deductible            60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Hearing Aids                                80% after plan deductible            In-Network coverage only

Maximum:
$3,000 per 36 months




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  80% after plan deductible                 In-Network coverage only
  Inpatient Facility                        80% after plan deductible                 In-Network coverage only
  Outpatient Facility                       80% after plan deductible                 In-Network coverage only

  Physician’s Services                      80% after plan deductible                 In-Network coverage only
Cochlear Implants

Note:
  Covering unilateral cochlear              80% after plan deductible                 60% of the Maximum Reimbursable
  implants that are medically necessary                                               Charge after plan deductible
  for patients with bilateral
  sensorineural hearing loss when
  there is a reasonable expectation that
  a significant benefit will be achieved
  is covered.
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Travel Services
Authorized travel and lodging expenses for designated covered services administered at an In-Network facility/provider
when an In-Network facility/provider is not available within a 100-mile radius of your primary home residence subject to
any plan deductible.
The following designated services are covered by your plan and may be eligible for this travel benefit:
 all Medical and Mental Health and Substance Use Disorder services.

Lifetime Maximum for Travel and Lodging Expenses for Designated Services Combined
Note:
Does not include other services with separate travel and lodging dollar maximum(s) as noted in The Schedule.
Medical Benefit services other than Mental Health and Substance Use Disorder services: $4,000
Mental Health and Substance Use Disorder services: Unlimited
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              80% after plan deductible            60% of the Maximum Reimbursable
   Includes Acute Inpatient and                                              Charge after plan deductible
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           80% after plan deductible            60% of the Maximum Reimbursable
   Includes individual, family and                                           Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Dedicated Virtual Providers         80% after plan deductible            In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     80% after plan deductible            60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                        Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             80% after plan deductible            60% of the Maximum Reimbursable
    Includes Acute Inpatient                                                 Charge after plan deductible
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           80% after plan deductible            60% of the Maximum Reimbursable
   Includes individual, family and                                           Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Dedicated Virtual Providers         80% after plan deductible            In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     80% after plan deductible            60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                        Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $250 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $250 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Room and Board, for treatment listed              Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   advanced radiological imaging.                                               services.
   non-emergency Ambulance.                                                    charges by a Nurse for professional nursing service.
   certain Medical Pharmaceuticals.                                            charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   home health care services.
                                                                                charges for diagnostic x-ray.
   radiation therapy.
                                                                                charges for advanced radiological imaging, including for
   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA55                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V1             therapeutic radiological procedures.
                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:
                                                                                charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.
                                                                                charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary                       defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a
                                                                                  the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in
    The Schedule.                                                                  Schedule of the Bright Futures Recommendations for
                                                                                   Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest
                                                                                  the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can
    be provided.                                                                   on Heritable Disorders in Newborns and Children; and
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received
    at a Hospital.                                                                 care and screening guidelines supported by the Health
                                                                                   Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Coverage includes medically approved formulas prescribed by
    For additional information on immunizations, visit the               a Physician for treatment of inborn errors of metabolism (e.g.,
    immunization schedule section of www.cdc.gov.                        disorders of amino acid or organic acid metabolism).
   charges for surgical and non-surgical treatment of                   Internal Prosthetic/Medical Appliances
    Temporomandibular Joint Dysfunction (TMJ).                           Charges for internal prosthetic/medical appliances that provide
   charges for acupuncture.                                             permanent or temporary internal functional supports for non-
   charges for hearing aids and associated exam for device              functional body parts are covered. Medically Necessary repair,
    testing and fitting, including but not limited to semi-              maintenance or replacement of a covered appliance is also
    implantable hearing devices, audiant bone conductors and             covered.
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    any device that amplifies sound.                                     HC-COV1122                                                      01-23
   Medically Necessary orthognathic surgery to repair or                                                                                  V1

    correct a severe facial deformity or disfigurement.
Virtual Care                                                             Home Health Care Services
Dedicated Virtual Providers                                              Charges for skilled care provided by certain health care
Includes charges for the delivery of real-time medical and               providers during a visit to the home, when the home is
health-related services, consultations and remote monitoring             determined to be a medically appropriate setting for the
by dedicated virtual providers as medically appropriate                  services. A visit is defined as a period of 2 hours or less.
through audio, video and secure internet-based technologies.             Home Health Care Services are subject to a maximum of 16
                                                                         hours in total per day.
Includes charges for the delivery of mental health and
substance use disorder-related services, consultations, and              Home Health Care Services are covered when skilled care is
remote monitoring by dedicated virtual providers as                      required under any of the following conditions:
appropriate through audio, video and secure internet-based                  the required skilled care cannot be obtained in an outpatient
technologies.                                                                facility.
Virtual Physician Services                                                  confinement in a Hospital or Other Health Care Facility is
Includes charges for the delivery of real-time medical and                   not required.
health-related services, consultations and remote monitoring                the patient’s home is determined by Cigna to be the most
as medically appropriate through audio, video and secure                     medically appropriate place to receive specific services.
internet-based technologies that are similar to office visit
                                                                         Covered services include:
services provided in a face-to-face setting.
                                                                            skilled nursing services provided by a Registered Nurse
Includes charges for the delivery of real-time mental health
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
and substance use disorder consultations and services, via
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
secure telecommunications technologies that shall include
                                                                             (APRN).
video capability, telephone and internet, when such
consultations and services are delivered by a behavioral                    services provided by health care providers such as physical
provider and are similar to office visit services provided in a              therapist, occupational therapist and speech therapist.
face-to-face setting.                                                       services of a home health aide when provided in direct
Convenience Care Clinic                                                      support of those nurses and health care providers.
Convenience Care Clinics provide for common ailments and                    necessary consumable medical supplies and home infusion
routine services, including but not limited to, strep throat, ear            therapy administered or used by a health care provider.
infections or pink eye, immunizations and flu shots.                     Note: Physical, occupational, and other Outpatient Therapy
Nutritional Counseling                                                   Services provided in the home are covered under the
                                                                         Outpatient Therapy Services benefit shown in The Schedule.
Charges for nutritional counseling when diet is a part of the
medical management of a medical or behavioral condition.                 The following are excluded from coverage:
Enteral Nutrition                                                           services provided by a person who is a member of the
                                                                             patient’s family, even when that person is a health care
Enteral Nutrition means medical foods that are specially
                                                                             provider.
formulated for enteral feedings or oral consumption.




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   services provided by a person who normally resides in the                 The following charges for Hospice Care Services are not
    patient’s house, even when that person is a health care                   included as Covered Expenses:
    provider.                                                                    services of a person who is a member of your family or your
   non-skilled care, Custodial Services, and assistance in the                   Dependent's family or who normally resides in your house
    activities of daily living, including but not limited to eating,              or your Dependent's house;
    bathing, dressing or other services; self-care activities;                   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.
                                                                                 services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent
upon others for non-skilled care and/or Custodial Services, is                   to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                          expenses under the policy;
present in the home at the time of the health care visit to                      services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


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Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes. In determining benefits payable, charges
those who have ceased treatment and to those continuing to                    made for the treatment of any physiological conditions related
receive curative treatment and therapies.                                     to Mental Health will not be considered to be charges made
Hospice Care Programs rendered by Hospice Facilities or                       for treatment of Mental Health.
Hospitals include services:                                                   Substance Use Disorder is defined as the psychological or
   by a Hospice Facility for Room and Board and Services and                 physical dependence on alcohol or other mind-altering drugs
    Supplies;                                                                 that requires diagnosis, care, and treatment. In determining
                                                                              benefits payable, charges made for the treatment of any
   by a Hospice Facility for services provided on an outpatient              physiological conditions related to rehabilitation services for
    basis;                                                                    alcohol or drug abuse or addiction will not be considered to be
   by a Physician for professional services;                                 charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or                     Inpatient Mental Health Services
    ordained minister for individual and family counseling;                   Services that are provided by a Hospital while you or your
   for pain relief treatment, including drugs, medicines and                 Dependent is Confined in a Hospital for the treatment and
    medical supplies;                                                         evaluation of Mental Health. Inpatient Mental Health Services
Hospice Care Programs rendered by Other Health Care                           include Mental Health Residential Treatment Services.
Facilities or in the Home include services:                                   Mental Health Residential Treatment Services are services
   for part-time or intermittent nursing care by or under the                provided by a Hospital for the evaluation and treatment of the
    supervision of a Nurse;                                                   psychological and social functional disturbances that are a
                                                                              result of subacute Mental Health conditions.
   for part-time or intermittent services of an Other Health
    Professional;                                                             Mental Health Residential Treatment Center means an
                                                                              institution which specializes in the treatment of psychological
   physical, occupational and speech therapy;                                and social disturbances that are the result of Mental Health
   medical supplies;                                                         conditions; provides a subacute, structured, psychotherapeutic
   drugs and medicines lawfully dispensed only on the written                treatment program, under the supervision of Physicians;
    prescription of a Physician;                                              provides 24-hour care, in which a person lives in an open
                                                                              setting; and is licensed in accordance with the laws of the
   laboratory services;                                                      appropriate legally authorized agency as a residential
    but only to the extent such charges would have been                       treatment center.
    payable under the policy if the person had remained or been
    Confined in a Hospital or Hospice Facility.


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A person is considered confined in a Mental Health                     the appropriate legally authorized agency as a residential
Residential Treatment Center when she/he is a registered bed           treatment center.
patient in a Mental Health Residential Treatment Center upon           A person is considered confined in a Substance Use Disorder
the recommendation of a Physician.                                     Residential Treatment Center when she/he is a registered bed
Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.
                                                                          developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use
                                                                          counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for occupational problems.
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,
                                                                          vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
Physicians; provides 24-hour care, in which a person lives in             I.Q. testing.
an open setting; and is licensed in accordance with the laws of


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   custodial care, including but not limited to geriatric day                    Other Equipment: centrifuges, needleless injectors, heat
    care.                                                                          lamps, heating pads, cryounits, cryotherapy machines,
   psychological testing on children requested by or for a                        ultraviolet cabinets, that emit Ultraviolet A (UVA) rays
    school system.                                                                 sheepskin pads and boots, postural drainage board, AC/DC
                                                                                   adaptors, scales (baby and adult), stair gliders, elevators,
   occupational/recreational therapy programs even if                             saunas, cervical and lumbar traction devices, exercise
    combined with supportive therapy for age-related cognitive                     equipment and diathermy machines.
    decline.

                                                                               HC-COV1124                                                        02-21
HC-COV481                                                         12-15


                                                                               External Prosthetic Appliances and Devices
Durable Medical Equipment
                                                                                charges made or ordered by a Physician for: the initial
 charges made for purchase or rental of Durable Medical
                                                                                 purchase and fitting of external prosthetic appliances and
  Equipment that is ordered or prescribed by a Physician and                     devices available only by prescription which are necessary
  provided by a vendor approved by Cigna for use outside a                       for the alleviation or correction of Injury, Sickness or
  Hospital or Other Health Care Facility. Coverage for repair,                   congenital defect.
  replacement or duplicate equipment is provided only when
  required due to anatomical change and/or reasonable wear                     External prosthetic appliances and devices include
  and tear. All maintenance and repairs that result from a                     prostheses/prosthetic appliances and devices; orthoses and
  person’s misuse are the person’s responsibility.                             orthotic devices; braces; and splints.
Durable Medical Equipment is defined as items which are                        Prostheses/Prosthetic Appliances and Devices
designed for and able to withstand repeated use by more than                   Prostheses/prosthetic appliances and devices are defined as
one person; customarily serve a medical purpose; generally                     fabricated replacements for missing body parts.
are not useful in the absence of Injury or Sickness; are                       Prostheses/prosthetic appliances and devices include, but are
appropriate for use in the home; and are not disposable. Such                  not limited to:
equipment includes, but is not limited to, crutches, hospital                     limb prostheses;
beds, ventilators, insulin pumps and wheel chairs.
                                                                                  terminal devices such as hands or hooks;
Durable Medical Equipment items that are not covered include
but are not limited to those that are listed below:                               speech prostheses; and
   Bed Related Items: bed trays, over the bed tables, bed                        facial prostheses.
    wedges, pillows, custom bedroom equipment, mattresses,                     Orthoses and Orthotic Devices
    including nonpower mattresses, custom mattresses and                       Orthoses and orthotic devices are defined as orthopedic
    posturepedic mattresses.                                                   appliances or apparatuses used to support, align, prevent or
   Bath Related Items: bath lifts, nonportable whirlpools,                    correct deformities. Coverage is provided for custom foot
    bathtub rails, toilet rails, raised toilet seats, bath benches,            orthoses and other orthoses as follows:
    bath stools, hand held showers, paraffin baths, bath mats,                    Non-foot orthoses – only the following non-foot orthoses
    and spas.                                                                      are covered:
   Fixtures to Real Property: ceiling lifts and wheelchair                         rigid and semi-rigid custom fabricated orthoses;
    ramps.
                                                                                    semi-rigid prefabricated and flexible orthoses; and
 Car/Van Modifications.
                                                                                    rigid prefabricated orthoses including preparation, fitting
 Air Quality Items: room humidifiers, vaporizers and air                            and basic additions, such as bars and joints.
  purifiers.
                                                                                  Custom foot orthoses – custom foot orthoses are only
                                                                                   covered as follows:
                                                                                    for persons with impaired peripheral sensation and/or
                                                                                     altered peripheral circulation (e.g. diabetic neuropathy
                                                                                     and peripheral vascular disease);
                                                                                    when the foot orthosis is an integral part of a leg brace
                                                                                     and is necessary for the proper functioning of the brace;



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     when the foot orthosis is for use as a replacement or              Coverage for replacement is limited as follows:
      substitute for missing parts of the foot (e.g. amputated              no more than once every 24 months for persons 19 years of
      toes) and is necessary for the alleviation or correction of            age and older.
      Injury, Sickness or congenital defect; and
                                                                            no more than once every 12 months for persons 18 years of
     for persons with neurologic or neuromuscular condition                 age and under.
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing
      spasticity, malalignment, or pathological positioning of           The following are specifically excluded external prosthetic
      the foot and there is reasonable expectation of                    appliances and devices:
      improvement.                                                          external and internal power enhancements for external
     myoelectric prostheses and orthoses.
                                                                             prosthetic devices; or
                                                                            microprocessor controlled prostheses and orthoses; and
The following are specifically excluded orthoses and orthotic
devices:                                                                 HC-COV1125                                                       01-22
                                                                                                                                         V1 M
   prefabricated foot orthoses;
   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for            Infertility Services
    synostotic plagiocephaly. When used for this indication, the          charges made for services related to diagnosis of infertility
    cranial orthosis will be subject to the limitations and                and treatment of infertility once a condition of infertility has
    maximums of the External Prosthetic Appliances and                     been diagnosed. Services include, but are not limited to:
    Devices benefit;                                                       infertility drugs which are administered or provided by a
   orthosis shoes, shoe additions, procedures for foot                    Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;                    procedures that have been demonstrated in existing peer-
                                                                           reviewed, evidence-based, scientific literature to have a
   non-foot orthoses primarily used for cosmetic rather than
                                                                           reasonable likelihood of resulting in pregnancy; laboratory
    functional reasons; and
                                                                           tests; sperm washing or preparation; artificial insemination;
   non-foot orthoses primarily for improved athletic                      diagnostic evaluations; gamete intrafallopian transfer
    performance or sports participation.                                   (GIFT); in vitro fertilization (IVF); zygote intrafallopian
Braces                                                                     transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that               Infertility is defined as:
supports or holds in correct position any movable part of the                 the inability of opposite-sex partners to achieve
body and that allows for motion of that part.                                  conception after at least one year of unprotected
The following braces are specifically excluded: Copes                          intercourse;
scoliosis braces.                                                             the inability of opposite-sex partners to achieve
Splints                                                                        conception after six months of unprotected intercourse,
                                                                               when the female partner trying to conceive is age 35 or
A Splint is defined as an appliance for preventing movement
                                                                               older;
of a joint or for the fixation of displaced or movable parts.
                                                                              the inability of a woman, with or without an opposite-sex
Coverage for replacement of external prosthetic appliances
                                                                               partner, to achieve conception after at least six trials of
and devices is limited to the following:
                                                                               medically supervised artificial insemination over a one-
   replacement due to regular wear. Replacement for damage                    year period; and
    due to abuse or misuse by the person will not be covered.
                                                                              the inability of a woman, with or without an opposite-sex
   replacement required because anatomic change has rendered                  partner, to achieve conception after at least three trials of
    the external prosthetic appliance or device ineffective.                   medically supervised artificial insemination over a six-
    Anatomic change includes significant weight gain or loss,                  month period of time, when the female partner trying to
    atrophy and/or growth.                                                     conceive is age 35 or older.
   replacement due to a surgical alteration or revision of the          This benefit includes diagnosis and treatment of both male and
    impacted site.                                                       female infertility.




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However, the following are specifically excluded infertility                    Improve, adapt or attain function (sometimes called
services:                                                                        “habilitative”):
   reversal of male and female voluntary sterilization;                          To improve, adapt or attain function that has been
   infertility services when the infertility is caused by or                      impaired or was never achieved as a result of congenital
    related to voluntary sterilization;                                            abnormality (birth defect).
   donor charges and services;                                                   To improve, adapt or attain function that has been
                                                                                   impaired or was never achieved because of mental health
   cryopreservation of donor sperm and eggs; and                                  and substance use disorder conditions. Includes
   any experimental, investigational or unproven infertility                      conditions such as autism and intellectual disability, or
    procedures or therapies.                                                       mental health and substance use disorder conditions that
                                                                                   result in a developmental delay.
HC-COV734                                                       01-19        Coverage is provided as part of a program of treatment when
                                                                             the following criteria are met:
                                                                                The individual’s condition has the potential to improve or is
Outpatient Therapy Services
                                                                                 improving in response to therapy, and maximum
Charges for the following therapy services:                                      improvement is yet to be attained.
Cognitive Therapy, Occupational Therapy, Osteopathic                            There is an expectation that the anticipated improvement is
Manipulation, Physical Therapy, Pulmonary                                        attainable in a reasonable and generally predictable period
Rehabilitation, Speech Therapy                                                   of time.
 Charges for therapy services are covered when provided as                     The therapy is provided by, or under the direct supervision
  part of a program of treatment.                                                of, a licensed health care professional acting within the
Cardiac Rehabilitation                                                           scope of the license.
 Charges for Phase II cardiac rehabilitation provided on an                    The therapy is Medically Necessary and medically
  outpatient basis following diagnosis of a qualifying cardiac                   appropriate for the diagnosed condition.
  condition when Medically Necessary. Phase II is a Hospital-                Coverage for occupational therapy is provided only for
  based outpatient program following an inpatient Hospital                   purposes of enabling individuals to perform the activities of
  discharge. The Phase II program must be Physician directed                 daily living after an Injury or Sickness.
  with active treatment and EKG monitoring.
                                                                             Therapy services that are not covered include:
    Phase III and Phase IV cardiac rehabilitation is not covered.
                                                                                sensory integration therapy.
    Phase III follows Phase II and is generally conducted at a
    recreational facility primarily to maintain the patient’s status            treatment of dyslexia.
    achieved through Phases I and II. Phase IV is an                            maintenance or preventive treatment provided to prevent
    advancement of Phase III which includes more active                          recurrence or to maintain the patient’s current status.
    participation and weight training.
                                                                                charges for Chiropractic Care not provided in an office
Chiropractic Care Services                                                       setting.
 Charges for diagnostic and treatment services utilized in an                  vitamin therapy.
  office setting by chiropractic Physicians. Chiropractic
                                                                             Coverage is administered according to the following:
  treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and                      Multiple therapy services provided on the same day
  ancillary physiological treatment rendered to specific joints                  constitute one day of service for each therapy type.
  to restore motion, reduce pain, and improve function. For
  these services you have direct access to qualified                         HC-COV982                                                     01-21
  chiropractic Physicians.
Coverage is provided when Medically Necessary in the most                    Breast Reconstruction and Breast Prostheses
medically appropriate setting to:
                                                                              charges made for reconstructive surgery following a
   Restore function (called “rehabilitative”):                                mastectomy; benefits include: surgical services for
     To restore function that has been impaired or lost.                      reconstruction of the breast on which surgery was
     To reduce pain as a result of Sickness, Injury, or loss of a             performed; surgical services for reconstruction of the non-
      body part.                                                               diseased breast to produce symmetrical appearance;



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    postoperative breast prostheses; and mastectomy bras and                      LifeSOURCE Transplant Network® facilities, are payable
    prosthetics, limited to the lowest cost alternative available                 at the In-Network level.
    that meets prosthetic placement needs. During all stages of                  Transplant services and related specialty care services
    mastectomy, treatment of physical complications, including                    received at any other facility, including non-Participating
    lymphedema therapy, are covered.                                              Provider facilities and Participating Provider facilities not
Reconstructive Surgery                                                            specifically contracted with Cigna for transplant services
 charges made for reconstructive surgery or therapy to repair                    and related specialty care services, are not covered.
  or correct a severe physical deformity or disfigurement                        Cornea transplants received at a facility that is specifically
  which is accompanied by functional deficit; (other than                         contracted with Cigna for this type of transplant are payable
  abnormalities of the jaw or conditions related to TMJ                           at the In-Network level.
  disorder) provided that: the surgery or therapy restores or                 Coverage for organ procurement costs are limited to costs
  improves function; reconstruction is required as a result of                directly related to the procurement of an organ, from a cadaver
  Medically Necessary, non-cosmetic surgery; or the surgery                   or a live donor. Organ procurement costs shall consist of
  or therapy is performed prior to age 19 and is required as a                hospitalization and surgery necessary for removal of an organ
  result of the congenital absence or agenesis (lack of                       and transportation of a live donor (refer to Transplant and
  formation or development) of a body part. Repeat or                         Related Specialty Care Travel Services). Compatibility testing
  subsequent surgeries for the same condition are covered                     undertaken prior to procurement is covered if Medically
  only when there is the probability of significant additional                Necessary. Costs related to the search for, and identification of
  improvement as determined by the utilization review                         a bone marrow or stem cell donor for an allogeneic transplant
  Physician.                                                                  are also covered.
                                                                              Advanced cellular therapy, including but not limited to,
HC-COV631                                                        12-17        immune effector cell therapies and Chimeric Antigen Receptor
                                                                              Therapy (CAR-T) cellular therapy, is covered when performed
                                                                              at a Cigna LifeSOURCE Transplant Network® facility with
Transplant Services and Related Specialty Care
                                                                              an approved stem cell transplant program. Advanced cellular
Charges made for human organ and tissue transplant services                   therapy received at Participating Provider facilities
which include solid organ and bone marrow/stem cell                           specifically contracted with Cigna for advanced cellular
procedures at designated facilities throughout the United                     therapy, other than Cigna LifeSOURCE Transplant Network®
States or its territories. This coverage is subject to the                    facilities, are payable at the In-Network level. Advanced
following conditions and limitations.                                         cellular therapy received at any other facility, including non-
Transplant services include the recipient’s medical, surgical                 Participating Provider facilities and Participating Provider
and Hospital services; inpatient immunosuppressive                            facilities not specifically contracted with Cigna for advanced
medications; and costs for organ or bone marrow/stem cell                     cellular therapy, are not covered.
procurement. Transplant services are covered only if they are                 Transplant and Related Specialty Care Travel Services
required to perform any of the following human to human
                                                                              Charges made for non-taxable travel expenses incurred by you
organ or tissue transplants: allogeneic bone marrow/stem cell,
                                                                              in connection with a preapproved organ/tissue transplant are
autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                              covered subject to the following conditions and limitations:
kidney, kidney/pancreas, liver, lung, pancreas or intestine
which includes small bowel-liver or multi-visceral.                              Transplant and related specialty care travel benefits are not
Implantation procedures are also covered for artificial heart,                    available for cornea transplants.
percutaneous ventricular assist device (PVAD), extracorporeal                    Benefits for transportation and lodging are available to the
membrane oxygenation (ECMO) ventricular assist device                             recipient of a preapproved organ/tissue transplant and/or
(VAD) and intra-aortic balloon pump (IABP) are also covered.                      related specialty care from a designated Cigna
   All transplant services and related specialty care services,                  LifeSOURCE Transplant Network® facility.
    other than cornea transplants, are covered when received at                  The term recipient is defined to include a person receiving
    Cigna LifeSOURCE Transplant Network® facilities.                              authorized transplant related services during any of the
   Transplant services and related specialty care services                       following: evaluation, candidacy, transplant event, or post-
    received at Participating Provider facilities specifically                    transplant care.
    contracted with Cigna for those transplant services and                      Travel expenses for the person receiving the transplant will
    related specialty care services, other than Cigna                             include charges for: transportation to and from the
                                                                                  designated Cigna LifeSOURCE Transplant Network®



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    facility (including charges for a rental car used during a            benefits for such Medical Pharmaceuticals, you are required to
    period of care at the designated Cigna LifeSOURCE                     try a different Medical Pharmaceutical and/or Prescription
    Transplant Network® facility); and lodging while at, or               Drug Product first.
    traveling to and from, the designated Cigna LifeSOURCE                Utilization management requirements or other coverage
    Transplant Network® facility.                                         conditions are based on a number of factors, which may
   In addition to your coverage for the charges associated with          include clinical and economic factors. Clinical factors may
    the items above, such charges will also be considered                 include, but are not limited to, the P&T Committee’s
    covered travel expenses for one companion to accompany                evaluations of the place in therapy, relative safety or relative
    you. The term companion includes your spouse, a member                efficacy of Medical Pharmaceuticals as well as whether
    of your family, your legal guardian, or any person not                certain supply limits or other utilization management
    related to you, but actively involved as your caregiver who           requirements should apply. Economic factors may include, but
    is at least 18 years of age.                                          are not limited to, the Medical Pharmaceutical’s cost
   The following are specifically excluded travel expenses: any          including, but not limited to, assessments on the cost
    expenses that if reimbursed would be taxable income, travel           effectiveness of the Medical Pharmaceuticals and available
    costs incurred due to travel within 60 miles of your home;            rebates. Regardless of its eligibility for coverage under your
    food and meals; laundry bills; telephone bills; alcohol or            plan, whether a particular Prescription Drug Product is
    tobacco products; and charges for transportation that exceed          appropriate for you or any of your Dependents is a
    coach class rates.                                                    determination that is made by you (or your Dependent) and
                                                                          the prescribing Physician.
These benefits for Transplant Services and Related Specialty
Care, and for Transplant and Related Specialty Care Travel                The coverage criteria for a Medical Pharmaceutical may
Services are only available when the covered person is the                change periodically for various reasons. For example, a
recipient of an organ/tissue transplant. Travel expenses for the          Medical Pharmaceutical may be removed from the market, a
designated live donor for a covered recipient are covered                 new Medical Pharmaceutical in the same therapeutic class as a
subject to the same conditions and limitations noted above.               Medical Pharmaceutical may become available, or other
Charges for the expenses of a donor companion are not                     market events may occur. Market events that may affect the
covered. No transplant and related specialty care services or             coverage status of a Medical Pharmaceutical include, but are
travel benefits are available when the covered person is the              not limited to, an increase in the cost of a Medical
donor for an organ/tissue transplant, the transplant recipient’s          Pharmaceutical.
plan would cover all donor costs.
                                                                          HC-COV1168                                                     01-22

HC-COV1126                                                   01-22
                                                                          Gene Therapy
Medical Pharmaceuticals                                                   Charges for gene therapy products and services directly
                                                                          related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                  Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                 products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.               (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                    replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                       gene.
determined by Cigna), are required to be administered, or the
administration of which must be directly supervised, by a                    inactivating a disease-causing gene that may not be
qualified Physician or Other Health Professional. Benefits                    functioning properly.
payable under this section include Medical Pharmaceuticals                   introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                     treat a disease.
Physician or Other Health Professional oversight but may be               Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the               and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                   which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                      part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                  and administered.
Additionally, certain Medical Pharmaceuticals are subject to              Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive            medical, surgical, and facility services directly related to


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administration of the gene therapy product; and professional              Clinical Trials
services.                                                                 This plan covers routine patient care costs and services related
Gene therapy products and their administration are covered                to an approved clinical trial for a qualified individual. The
when prior authorized to be received at In-Network facilities             individual must be eligible to participate according to the trial
specifically contracted with Cigna for the specific gene                  protocol and either of the following conditions must be met:
therapy service. Gene therapy products and their                             the referring health care professional is a participating
administration received at other facilities are not covered.                  health care provider and has concluded that the individual’s
Gene Therapy Travel Services                                                  participation in such trial would be appropriate; or
Charges made for non-taxable travel expenses incurred by you                 the individual provides medical and scientific information
in connection with a prior authorized gene therapy procedure                  establishing that the individual’s participation in the clinical
are covered subject to the following conditions and                           trial would be appropriate.
limitations.                                                              In addition to qualifying as an individual, the clinical trial
Benefits for transportation and lodging are available to you              must also meet certain criteria in order for patient care costs
only when you are the recipient of a prior authorized gene                and services to be covered.
therapy; and when the gene therapy products and services                  The clinical trial must be a phase I, phase II, phase III, or
directly related to their administration are received at a                phase IV clinical trial conducted in relation to the prevention,
participating In-Network facility specifically contracted with            detection, or treatment of cancer or other life-threatening
Cigna for the specific gene therapy service. The term recipient           disease or condition that meets any of the following criteria:
is defined to include a person receiving prior authorized gene
therapy related services during any of the following:                        it is a federally funded trial. The study or investigation is
evaluation, candidacy, event, or post care.                                   approved or funded (which may include funding through in-
                                                                              kind contributions) by one or more of the following:
Travel expenses for the person receiving the gene therapy
                                                                               National Institutes of Health (NIH).
include charges for: transportation to and from the gene
therapy site (including charges for a rental car used during a                 Centers for Disease Control and Prevention (CDC).
period of care at the facility); and lodging while at, or                      Agency for Health Care Research and Quality (AHRQ).
traveling to and from, the site.
                                                                               Centers for Medicare and Medicaid Services (CMS).
In addition to your coverage for the charges associated with
                                                                               a cooperative group or center of any of the entities
the items above, such charges will also be considered covered
travel expenses for one companion to accompany you. The                         described above or the Department of Defense (DOD) or
term companion includes your spouse, a member of your                           the Department of Veterans Affairs (VA).
family, your legal guardian, or any person not related to you,                 a qualified non-governmental research entity identified in
but actively involved as your caregiver who is at least 18 years                NIH guidelines for center support grants.
of age.                                                                        any of the following: Department of Energy, Department
The following are specifically excluded travel expenses: any                    of Defense, Department of Veterans Affairs, if both of
expenses that if reimbursed would be taxable income, travel                     the following conditions are met:
costs incurred due to travel within 60 miles of your home;                         the study or investigation has been reviewed and
food and meals; laundry bills; telephone bills; alcohol or                          approved through a system of peer review comparable
tobacco products; and charges for transportation that exceed                        to the system of peer review of studies and
coach class rates.                                                                  investigations used by the National Institutes of Health
                                                                                    (NIH); and
HC-COV873                                                    01-20                 the study or investigation assures unbiased review of
                                                                                    the highest scientific standards by qualified individuals
                                                                                    who have no interest in the outcome of the review.
                                                                               the study or investigation is conducted under an
                                                                                investigational new drug application reviewed by the U.S.
                                                                                Food and Drug Administration (FDA).
                                                                               the study or investigation is a drug trial that is exempt
                                                                                from having such an investigational new drug application.




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The plan does not cover any of the following services                           Travel Services
associated with a clinical trial:                                               Charges for non-taxable travel and lodging expenses incurred
   services that are not considered routine patient care costs                 by you and one accompanying Companion/Caregiver (or up to
    and services, including the following:                                      two caregivers for a Dependent minor) are covered in
     the investigational drug, device, item, or service that is                connection with designated services.
      provided solely to satisfy data collection and analysis                   Travel services for a designated covered service may be
      needs.                                                                    authorized for coverage when an In-Network facility/provider
     an item or service that is not used in the direct clinical                is not available within a 100-mile radius of your primary home
      management of the individual.                                             residence. Travel and lodging expenses are covered for
                                                                                designated services administered at a participating In-Network
     a service that is clearly inconsistent with widely accepted
                                                                                facility/provider, subject to the maximum shown in The
      and established standards of care for a particular                        Schedule.
      diagnosis.
                                                                                Travel is available for the following designated services when
   an item or service provided by the research sponsors free of                covered by your plan:
    charge for any person enrolled in the trial.
                                                                                   all Medical and Mental Health and Substance Use Disorder
   travel and transportation expenses, unless otherwise covered                    services.
    under the plan, including but not limited to the following:
                                                                                Pre-authorization of travel is required by contacting Cigna at
     fees for personal vehicle, rental car, taxi, medical van,
                                                                                the number on the back of your ID card. Pre-authorization of
      ambulance, commercial airline, train.                                     the covered designated service also may be required.
     mileage reimbursement for driving a personal vehicle.
                                                                                The Companion/Caregiver can be your spouse, a member of
     lodging.                                                                  your family, your legal guardian, or any person not related to
     meals.                                                                    you, but actively involved as your caregiver who is at least 18
                                                                                years of age.
   routine patient costs obtained out-of-network when Out-of-
    Network benefits do not exist under the plan.                               Covered travel expenses are reimbursed within daily limits as
                                                                                defined by the Internal Revenue Service and include charges
Examples of routine patient care costs and services include:
                                                                                for:
   radiological services.
                                                                                   airfare (coach or economy), including baggage fees.
   laboratory services.
                                                                                   bus fare, train fare, taxi/Uber/Lyft, etc.
   intravenous therapy.                                                           vehicle rentals.
   anesthesia services.                                                           gasoline.
   Physician services.
                                                                                   highway tolls (not prepaid).
   office services.
                                                                                   parking.
   Hospital services.
                                                                                   shuttle services.
   Room and Board, and medical supplies that typically would
                                                                                   wheelchair van service to travel from local housing to
    be covered under the plan for an individual who is not                          facility/provider.
    enrolled in a clinical trial.
                                                                                   lodging up to $50 per night, per person for up to two people
Clinical trials conducted by Out-of-Network providers will be
                                                                                    (maximum of $100 per night, inclusive of taxes and
covered only when the following conditions are met:
                                                                                    nonrefundable fees), including but not limited to: hotel,
 In-Network providers are not participating in the clinical                        motel, rental from businesses such as Airbnb, VRBO, etc.
    trial; or                                                                   Excluded travel expenses include but are not limited to the
   the clinical trial is conducted outside the individual’s state              following:
    of residence.                                                                  any expenses that if reimbursed would be taxable income.
                                                                                   travel within the mile radius defined above of your primary
HC-COV1128                                                         01-22            home residence.
                                                                                   food and meals.
                                                                                   mileage.



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   incidentals, including but not limited to: laundry bills,
    telephone bills, alcohol or tobacco products.
   charges for transportation that exceed coach class rates.
   durable medical equipment, medical supplies, ambulance.
   refundable deposits for housing, utilities, etc.
   travel for services not designated above.
   services that are not covered by the plan.


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                                        Prescription Drug Benefits
                                                  The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded from coverage under this
plan. The amount you and your Dependent pays for any excluded Prescription Drug Product to the dispensing Pharmacy,
will not count towards your Deductible, if any, or Out-of-Pocket Maximum.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments
.          are amounts to be paid by you or your Dependent for covered Prescription Drug Products.

                                                      NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                     PHARMACY                                PHARMACY
Lifetime Maximum                         Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Calendar Year Deductible
  Individual                             Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
  Family                                 Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Pre-Deductible Preventive Medications
Certain Generic Pre-Deductible Preventive Medications identified by Cigna and that are dispensed by a retail or home
delivery Network Pharmacy are not subject to the Deductible. You may determine whether a drug is a Pre-Deductible
Preventive Care Medication through the website shown on your ID card or by calling member services at the telephone
number on your ID card.

Out-of-Pocket Maximum
  Individual                             Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
  Family                                 Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule




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                                                      NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                     PHARMACY                                 PHARMACY
Maintenance Drug Products
Maintenance Drug Products must be filled in an amount equal to a consecutive 90 day supply per Prescription Order or
Refill at a retail Designated Pharmacy or home delivery Pharmacy, after 1 30-day supply fill at a retail Pharmacy or home
delivery Pharmacy. If you do not fill your Maintenance Drug Products in a 90-day supply at a retail Designated Pharmacy
or home delivery Pharmacy after the specified 30-day supply fill limit, the Plan will not cover the Maintenance Drug
Product.

Certain Preventive Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

.
Prescription Drug Products at            The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                        consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                         Network Pharmacy                          Network Pharmacy
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy.




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                                                        NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                       PHARMACY                                PHARMACY
Tier 1
  Generic* Preventive drugs on the        Non-Maintenance Drug Products:             In-network coverage only
  Prescription Drug List                  No charge after $10 Copay

                                          Maintenance Drug Products:                 In-network coverage only
                                          No charge after $10 Copay after plan
                                          Deductible for the first 1 fill, then no
                                          coverage for a 30-day supply
  Generic* Non- Preventive drugs on       Non-Maintenance Drug Products:             In-network coverage only
  the Prescription Drug List              No charge after $10 Copay after plan
                                          Deductible
                                          Maintenance Drug Products:                 In-network coverage only
                                          No charge after $10 Copay after plan
                                          Deductible for the first 1 fill, then no
                                          coverage for a 30-day supply
Tier 2
  Brand Drugs designated as               Non-Maintenance Drug Products:             In-network coverage only
  preferred on the Prescription Drug      20% after plan Deductible
  List
                                          Maintenance Drug Products:                 In-network coverage only
                                          20% after plan Deductible for the first
                                          1 fill, then no coverage for a 30-day
                                          supply
Tier 3
  Brand Drugs designated as non-          Non-Maintenance Drug Products:             In-network coverage only
  preferred on the Prescription Drug      20% after plan Deductible
  List
                                          Maintenance Drug Products:                 In-network coverage only
                                          20% after plan Deductible for the first
                                          1 fill, then no coverage for a 30-day
  .                                       supply
Prescription Drug Products at             The amount you pay for up to a             The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                          Designated Pharmacy                        Designated Pharmacy

Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy.
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Preventive Drugs on the         No charge after $20 Copay                  In-network coverage only
  Prescription Drug List




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
  Generic Non-Preventive Drugs on        No charge after $20 Copay after plan       In-network coverage only
  the Prescription Drug List             Deductible
Tier 2
  Brand Drugs designated as              20% after plan Deductible                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         20% after plan Deductible                  In-network coverage only
  preferred on the Prescription Drug
  List

Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Preventive Drugs on the        No charge after $20 Copay                  In-network coverage only
  Prescription Drug List
  Generic Non-Preventive Drugs on        No charge after $20 Copay after plan       In-network coverage only
  the Prescription Drug List             Deductible
Tier 2
  Brand Drugs designated as              20% after plan Deductible                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         20% after plan Deductible                  In-network coverage only
  preferred on the Prescription Drug
  List




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Prescription Drug Benefits                                               Dependents is a determination that is made by you or your
                                                                         Dependent and the prescribing Physician.
Covered Expenses                                                         The coverage status of a Prescription Drug Product may
                                                                         change periodically for various reasons. For example, a
Your plan provides benefits for Prescription Drug Products               Prescription Drug Product may be removed from the market, a
dispensed by a Pharmacy. Details regarding your plan’s                   New Prescription Drug Product in the same therapeutic class
Covered Expenses, which for the purposes of the Prescription             as a Prescription Drug Product may become available, or other
Drug Benefit include Medically Necessary Prescription Drug               market events may occur. Market events that may affect the
Products ordered by a Physician, Limitations, and Exclusions             coverage status of a Prescription Drug Product include, but are
are provided below and/or are shown in The Schedule.                     not limited to, an increase in the acquisition cost of a
If you or any one of your Dependents, while insured for                  Prescription Drug Product. As a result of coverage changes,
Prescription Drug Benefits, incurs expenses for charges made             for the purposes of benefits the plan may require you to pay
by a Pharmacy for Medically Necessary Prescription Drug                  more or less for that Prescription Drug Product, to obtain the
Products ordered by a Physician, your plan provides coverage             Prescription Drug Product from a certain Pharmacy (ies) for
for those expenses as shown in The Schedule. Your benefits               coverage, or try another covered Prescription Drug Product(s).
may vary depending on which of the Prescription Drug List                Please access the internet through the website shown on your
tiers the Prescription Drug Product is listed, or the Pharmacy           ID card or call member services at the telephone number on
that provides the Prescription Drug Product.                             your ID card for the most up-to-date tier status, utilization
Coverage under your plan’s Prescription Drug Benefits also               management, or other coverage limitations for a Prescription
includes Medically Necessary Prescription Drug Products                  Drug Product.
dispensed pursuant to a Prescription Order or Refill issued to
you or your Dependents by a licensed dentist for the                     HC-PHR414                                                   07-20
prevention of infection or pain in conjunction with a dental
procedure.
When you or a Dependent are issued a Prescription Order or
                                                                         Limitations
Refill for Medically Necessary Prescription Drug Products as
part of the rendering of Emergency Services and Cigna                    For most Prescription Drug Products you and your Dependent
determines that it cannot reasonably be filled by a Network              pay only the cost sharing detailed in The Schedule or
Pharmacy, the prescription will be covered pursuant to the, as           Prescription Drug Benefits. However, in the event you or your
applicable, Copayment or Coinsurance for the Prescription                Dependent or your Physician insist on a more expensive Brand
Drug Product when dispensed by a Network Pharmacy.                       Drug where a Therapeutic Equivalent Generic Drug is
                                                                         available, you may be financially responsible for an Ancillary
Prescription Drug List Management
                                                                         Charge, in addition to any required Brand Drug Copayment
Your plan’s Prescription Drug List coverage tiers may contain            and/or Coinsurance. The Ancillary Charge will not apply to
Prescription Drug Products that are Generic Drugs, Brand                 your Deductible, if any, or Out of Pocket Maximum.
Drugs or Specialty Prescription Drug Products. Determination
                                                                         Your plan includes a Brand Drug for Generic Drug dispensing
of inclusion of a Prescription Drug Product to a certain
                                                                         program. This program allows certain Brand Drugs to be
coverage tier on the Prescription Drug List and utilization
                                                                         dispensed in place of the Therapeutic Equivalent Generic
management requirements or other coverage conditions are
                                                                         Drug at the time your Prescription Order or Refill is processed
based on a number of factors which may include, clinical and
                                                                         by a participating Pharmacy. Brand Drug for Generic Drug
economic factors. Clinical factors may include, but are not
                                                                         substitution will occur only for certain Brand Drugs included
limited to, the P&T Committee’s evaluations of the place in
                                                                         in the program. When this substitution program is applied, the
therapy, relative safety or relative efficacy of the Prescription
                                                                         participating Pharmacy will dispense the Brand Drug to you in
Drug Product, as well as whether certain supply limits or other
                                                                         place of the available Generic Drug. You will be responsible
utilization management requirements should apply. Economic
                                                                         for payment of only a Generic Drug Copayment and/or
factors may include, but are not limited to, the Prescription
                                                                         Coinsurance, after satisfying your Deductible, if any.
Drug Product's acquisition cost including, but not limited to,
assessments on the cost effectiveness of the Prescription Drug           Prior Authorization Requirements
Product and available rebates. Regardless of its eligibility for         Coverage for certain Prescription Drug Products prescribed to
coverage under the plan, whether a particular Prescription               you requires your Physician to obtain prior authorization from
Drug Product is appropriate for you or any of your                       Cigna or its Review Organization. The reason for obtaining
                                                                         prior authorization from Cigna is to determine whether the


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Prescription Drug Product is Medically Necessary in                     particular Prescription Drug Product is subject to step therapy
accordance with Cigna's coverage criteria. Coverage criteria            requirements at the website shown on your ID card or by
for a Prescription Drug Product may vary based on the clinical          calling member services at the telephone number on your ID
use for which the Prescription Order or Refill is submitted,            card.
and may change periodically based on changes in, without                Supply Limits
limitation, clinical guidelines or practice standards, or market
factors.                                                                Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single
If Cigna or its Review Organization reviews the                         Prescription Order or Refill, you may receive a Prescription
documentation provided and determines that the Prescription             Drug Product up to the stated supply limit.
Drug Product is not Medically Necessary or otherwise
excluded, your plan will not cover the Prescription Drug                Some products are subject to additional supply limits, quantity
Product. Cigna, or its Review Organization, will not review             limits or dosage limits based on coverage criteria that have
claims for excluded Prescription Drug Products or other                 been approved based on consideration of the P&T
services to determine if they are Medically Necessary, unless           Committee’s clinical findings. Coverage criteria are subject to
required by law.                                                        periodic review and modification. The limit may restrict the
                                                                        amount dispensed per Prescription Order or Refill and/or the
When Prescription Drug Products that require prior                      amount dispensed per month's supply, or may require that a
authorization are dispensed at a Pharmacy, you or your                  minimum amount be dispensed.
prescribing Physician are responsible for obtaining prior
authorization from Cigna. If you do not obtain prior                    You may determine whether a Prescription Drug Product has
authorization from us before the Prescription Drug Product is           been assigned a dispensing supply limit or similar limit or
dispensed by the Pharmacy, you can ask us to consider                   requirement at the website shown on your ID card or by
reimbursement after you pay for and receive the Prescription            calling member services at the telephone number on your ID
Drug Product. You will need to pay for the Prescription Drug            card.
Product at the Pharmacy prior to submitting a reimbursement             Specialty Prescription Drug Products
request.                                                                Benefits are provided for Specialty Prescription Drug
When you submit a claim on this basis, you will need to                 Products. If you require Specialty Prescription Drug Products,
submit a paper claim using the form that appears on the                 you may be directed to a Designated Pharmacy with whom
website shown on your ID card.                                          Cigna has an arrangement to provide those Specialty
If a prior authorization request is approved, your Physician            Prescription Drug Products.
will receive confirmation. The authorization will be processed          Designated Pharmacies
in the claim system to allow you to have coverage for the               If you require certain Prescription Drug Products, including,
Prescription Drug Product. The length of the authorization              but not limited to, Specialty Prescription Drug Products, we
may depend on the diagnosis and the Prescription Drug                   may direct you to a Designated Pharmacy with whom we have
Product. The authorization will at all times be subject to the          an arrangement to provide those Prescription Drug Products. If
plan’s terms of coverage for the Prescription Drug Product,             you are directed to a Designated Pharmacy and you choose not
which may change from time to time. When your Physician                 to obtain your Prescription Drug Product from a Designated
advises you that coverage for the Prescription Drug Product             Pharmacy, you may not receive coverage for the Prescription
has been approved, you can contact a Pharmacy to fill the               Drug Product or be subject to the non-Network Pharmacy
covered Prescription Order or Refill.                                   Benefit, if any, for that Prescription Drug Product. Refer to
If the prior authorization request is denied, your Physician and        The Schedule for further information.
you will be notified that coverage for the Prescription Drug            New Prescription Drug Products
Product is not authorized. If you disagree with a coverage
                                                                        New Prescription Drug Products may or may not be placed on
decision, you may appeal that decision in accordance with the
                                                                        a Prescription Drug List tier upon market entry. Cigna will use
provisions of the plan by submitting a written request stating
                                                                        reasonable efforts to make a tier placement decision for a New
why the Prescription Drug Product should be covered.
                                                                        Prescription Drug Product within six months of its market
Step Therapy                                                            availability. Cigna’s tier placement decision shall be based on
Certain Prescription Drug Products are subject to step therapy          consideration of, without limitation, the P&T Committee’s
requirements. This means that in order to receive Benefits for          clinical review of the New Prescription Drug Product and
such Prescription Drug Products you are required to try a               economic factors. If a New Prescription Drug Product not
different Prescription Drug Product(s) first unless you satisfy         listed on the Prescription Drug List is approved by Cigna or its
the plan's exception criteria. You may identify whether a               Review Organization as Medically Necessary in the interim,



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the New Prescription Drug Product shall be covered at the                     the Network Pharmacy’s submitted Usual and Customary
applicable coverage tier as set forth in The Schedule.                         (U&C) Charge, if any.
                                                                           When a treatment regimen contains more than one type of
HC-PHR522                                                     01-22
                                                                           Prescription Drug Products that are packaged together for your
                                                                           or your Dependent's convenience, any applicable Copayment
                                                                           or Coinsurance may apply to each Prescription Drug Product.
Your Payments
                                                                           You will need to obtain prior approval from Cigna or its
Covered Prescription Drug Products purchased at a Pharmacy
                                                                           Review Organization for any Prescription Drug Product not
are subject to any applicable Deductible, Copayments or
                                                                           listed on the Prescription Drug List that is not otherwise
Coinsurance shown in The Schedule, as well as any
                                                                           excluded. If Cigna or its Review Organization approves
limitations or exclusions set forth in this plan. Please refer to
                                                                           coverage for the Prescription Drug Product because it meets
The Schedule for any required Copayments, Coinsurance,
                                                                           the applicable coverage exception criteria, the Prescription
Deductibles or Out-of-Pocket Maximums.
                                                                           Drug Product shall be covered at the applicable coverage tier
Deductible                                                                 as set forth in The Schedule.
Your plan requires that you pay the costs for covered
Prescription Drug Products up to the Deductible amount set
                                                                           HC-PHR420                                                       01-21
forth in The Schedule. Until you meet that Deductible amount,
your costs under the plan for a covered Prescription Drug
Product dispensed by a Network Pharmacy will be the lowest
of the following amounts:                                                  Exclusions
   the Prescription Drug Charge; or                                       Coverage exclusions listed under the “Exclusions, Expenses
   the Network Pharmacy’s submitted Usual and Customary                   Not Covered and General Limitations” section also apply to
    (U&C) Charge, if any.                                                  benefits for Prescription Drug Products. In addition, the
                                                                           exclusions listed below apply to benefits for Prescription Drug
The Schedule sets forth your costs for covered Prescription                Products. When an exclusion or limitation applies to only
Drug Products after you have satisfied the Deductible amount.              certain Prescription Drug Products, you can access the
Copayment                                                                  Prescription Drug List through the website shown on your ID
Your plan requires that you pay a Copayment for covered                    card or call member services at the telephone number on your
Prescription Drug Products as set forth in The Schedule. After             ID card for information on which Prescription Drug Products
satisfying any applicable annual Deductible set forth in The               are excluded.
Schedule, your costs under the plan for a covered Prescription                coverage for Prescription Drug Products for the amount
Drug Product dispensed by a Network Pharmacy and that is                       dispensed (days' supply) which exceeds the applicable
subject to a Copayment requirement will be the lowest of the                   supply limit, or is less than any applicable supply minimum
following amounts:                                                             set forth in The Schedule, or which exceeds quantity limit(s)
   the Copayment for the Prescription Drug Product set forth                  or dosage limit(s) set by the P&T Committee.
    in The Schedule; or                                                       more than one Prescription Order or Refill for a given
   the Prescription Drug Charge; or                                           prescription supply period for the same Prescription Drug
                                                                               Product prescribed by one or more Physicians and
   the Network Pharmacy’s submitted Usual and Customary
                                                                               dispensed by one or more Pharmacies.
    (U&C) Charge, if any.
                                                                              Prescription Drug Products dispensed outside the
Coinsurance                                                                    jurisdiction of the United States, except as required for
Your plan requires that you pay a Coinsurance amount for                       emergency or Urgent Care treatment.
covered Prescription Drug Products as set forth in The                        Prescription Drug Products which are prescribed, dispensed
Schedule. After satisfying any applicable annual Deductible
                                                                               or intended to be taken by or administered to you while you
set forth in The Schedule, your costs under the plan for a
                                                                               are a patient in a licensed Hospital, Skilled Nursing Facility,
covered Prescription Drug Product dispensed by a Network
                                                                               rest home, rehabilitation facility, or similar institution which
Pharmacy and that is subject to a Coinsurance requirement                      operates on its premises or allows to be operated on its
will be the lowest of the following amounts:                                   premises a facility for dispensing pharmaceutical products.
   the amount that results from applying the applicable
                                                                              Prescription Drug Products furnished by the local, state or
    Coinsurance percentage set forth in The Schedule to the
                                                                               federal government (except for a Network Pharmacy owned
    Prescription Drug Charge; or
                                                                               or operated by a local, state or federal government).


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   any product dispensed for the purpose of appetite                       medications that are experimental investigational or
    suppression (anorectics) or weight loss.                                 unproven as described under the “General Exclusion and
   prescription and non-prescription supplies other than                    Limitations” section of your plan’s certificate.
    supplies covered as Prescription Drug Products.
   vitamins, except prenatal vitamins that require a                    HC-PHR589                                                       01-22
    Prescription Order or Refill, unless coverage for such
    product(s) is required by federal or state law.
   medications used for cosmetic purposes, including, without           Reimbursement/Filing a Claim
    limitation, medications used to reduce wrinkles,
                                                                         Retail Pharmacy
    medications used to promote hair growth and fade cream
    products.                                                            When you or your Dependents purchase your Prescription
                                                                         Drug Products through a Network Pharmacy, you pay any
   Prescription Drug Products as a replacement for a
                                                                         applicable Copayment, Coinsurance, or Deductible shown in
    previously dispensed Prescription Drug Product that was
                                                                         The Schedule at the time of purchase. You do not need to file
    lost, stolen, broken or destroyed.
                                                                         a claim form for a Prescription Drug Product obtained at a
   Medical Pharmaceuticals covered solely under the plan’s              Network Pharmacy unless you pay the full cost of a
    medical benefits.                                                    Prescription Drug Product at a Network Pharmacy and later
   any ingredient(s) in a compounded Prescription Drug                  seek reimbursement for the Prescription Drug Product under
    Product that has not been approved by the U.S. Food and              the plan. For example, if you must pay the full cost of a
    Drug Administration (FDA).                                           Prescription Drug Product to the retail Network Pharmacy
                                                                         because you did not have your ID card, then you must submit
   medications available over-the-counter that do not require a
                                                                         a claim to Cigna for any reimbursement or benefit you believe
    Prescription Order or Refill by federal or state law before
                                                                         is due to you under this plan. If, under this example, your
    being dispensed, unless state or federal law requires
                                                                         payment to the retail Network Pharmacy for the covered
    coverage of such medications or the over-the-counter
                                                                         Prescription Drug Product exceeds any applicable copay, then
    medication has been designated as eligible for coverage as if
                                                                         you will be reimbursed the difference, if any, between the
    it were a Prescription Drug Product.
                                                                         applicable copay and the Prescription Drug Charge for the
   certain Prescription Drug Products that are a Therapeutic            Prescription Drug Product.
    Equivalent or Therapeutic Alternative to an over-the-
    counter drug(s), or are available in over-the-counter form.
    Such coverage determinations may be made periodically,               HC-PHR273                                                       01-19

    and benefits for a Prescription Drug Product that was                                                                                  V1

    previously excluded under this provision may be reinstated
    at any time.
   any product for which the primary use is a source of                 Exclusions, Expenses Not Covered and
    nutrition, nutritional supplements, or dietary management of
    disease, even when used for the treatment of Sickness or
                                                                         General Limitations
    Injury, unless coverage for such product(s) is required by           Exclusions and Expenses Not Covered
    federal or state law.                                                Additional coverage limitations determined by plan or
   medications used for travel prophylaxis, unless specifically         provider type are shown in The Schedule. Payment for the
    identified on the Prescription Drug List.                            following is specifically excluded from this plan:
   immunization agents, virus detection testing, virus antibody          care for health conditions that are required by state or local
    testing, biological products for allergy immunization,                 law to be treated in a public facility.
    biological sera, blood, blood plasma and other blood                    care required by state or federal law to be supplied by a
    products or fractions unless specifically identified on the              public school system or school district.
    Prescription Drug List.
                                                                            care for military service disabilities treatable through
   certain Prescription Drug Products that are a Therapeutic                governmental services if you are legally entitled to such
    Equivalent or Therapeutic Alternative to another covered                 treatment and facilities are reasonably available.
    Prescription Drug Product(s). Such coverage determinations
    may be made periodically, and benefits for a Prescription               treatment of an Injury or Sickness which is due to war,
    Drug Product that was previously excluded under this                     declared, or undeclared.
    provision may be reinstated at any time.


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   charges which you are not obligated to pay and/or for which                 not demonstrated, through existing peer-reviewed,
    you are not billed. This exclusion includes, but is not                      evidence-based, scientific literature to be safe and
    limited to:                                                                  effective for treating or diagnosing the condition or
     any instance where Cigna determines that a provider or                     Sickness for which its use is proposed;
      Pharmacy did not bill you for or has waived, reduced, or                  the subject of review or approval by an Institutional
      forgiven any portion of its charges and/or any portion of                  Review Board for the proposed use except as provided in
      any Copayment, Deductible, and/or Coinsurance                              the “Clinical Trials” sections of this plan; or
      amount(s) you are required to pay for an otherwise                        the subject of an ongoing phase I, II or III clinical trial,
      Covered Expense (as shown on The Schedule) without                         except for routine patient care costs related to qualified
      Cigna's express consent.                                                   clinical trials as provided in the “Clinical Trials” sections
     charges of a non-Participating Provider who has agreed to                  of this plan.
      charge you at an in-network benefits level or some other                 In determining whether any such technologies, supplies,
      benefits level not otherwise applicable to the services                  treatments, drug or Biologic therapies, or devices are
      received.                                                                experimental, investigational, and/or unproven, the
     In the event that Cigna determines that this exclusion                   utilization review Physician may rely on the clinical
      applies, then Cigna in its sole discretion shall have the                coverage policies maintained by Cigna or the Review
      right to:                                                                Organization. Clinical coverage policies may incorporate,
         require you and/or any provider or Pharmacy                          without limitation and as applicable, criteria relating to U.S.
          submitting claims on your behalf to provide proof                    Food and Drug Administration-approved labeling, the
          sufficient to Cigna that you have made your required                 standard medical reference compendia and peer-reviewed,
          cost-share payment(s) prior to the payment of any                    evidence-based scientific literature or guidelines.
          benefits by Cigna.                                                  cosmetic surgery and therapies. Cosmetic surgery or therapy
         deny the payment of benefits in connection with the                  is defined as surgery or therapy performed to improve or
          Covered Expense regardless of whether the provider or                alter appearance or self-esteem.
          the Pharmacy represents that you remain responsible                 the following services are excluded from coverage
          for any amounts that your plan does not cover, or                    regardless of clinical indications: acupressure;
         reduce the benefits in proportion to the amount of the               craniosacral/cranial therapy; dance therapy; movement
          Copayment, Deductible, and/or Coinsurance amounts                    therapy; applied kinesiology; rolfing; prolotherapy; and
          waived, forgiven or reduced, regardless of whether the               extracorporeal shock wave lithotripsy (ESWL) for
          provider or Pharmacy represents that you remain                      musculoskeletal and orthopedic conditions.
          responsible for any amounts that your plan does not                 dental treatment of the teeth, gums or structures directly
          cover.                                                               supporting the teeth, including dental X-rays, examinations,
   charges or payment for healthcare-related services that                    repairs, orthodontics, periodontics, casts, splints and
    violate state or federal law.                                              services for dental malocclusion, for any condition. Charges
                                                                               made for services or supplies provided for or in connection
   assistance in the activities of daily living, including but not            with an accidental Injury to teeth are covered provided a
    limited to eating, bathing, dressing or other Custodial                    continuous course of dental treatment is started within six
    Services or self-care activities, homemaker services and                   months of an accident.
    services primarily for rest, domiciliary or convalescent care.
   for or in connection with experimental, investigational or
    unproven services.
    Experimental, investigational and unproven services are
    medical, surgical, diagnostic, psychiatric, substance use
    disorder or other health care technologies, supplies,
    treatments, procedures, drug or Biologic therapies or
    devices that are determined by the utilization review
    Physician to be:
     not approved by the U.S. Food and Drug Administration
      (FDA) or other appropriate regulatory agency to be
      lawfully marketed;




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   for medical and surgical services intended primarily for the              “Home Health Care Services” or “Breast Reconstruction
    treatment or control of obesity. However, treatment of                    and Breast Prostheses” sections of this plan.
    clinically severe obesity, as defined by the Body Mass                   private Hospital rooms and/or private duty nursing except as
    Index (BMI) classifications of the National Heart, Lung,                  provided under the Home Health Care Services provision.
    and Blood Institute (NHLBI) guideline is covered only at
    approved centers if the services are demonstrated, through               personal or comfort items such as personal care kits
    existing peer-reviewed, evidence-based, scientific literature             provided on admission to a Hospital, television, telephone,
    and scientifically based guidelines, to be safe and effective             newborn infant photographs, complimentary meals, birth
    for treatment of the condition. Clinically severe obesity is              announcements, and other articles which are not for the
    defined by the NHLBI as a BMI of 40 or greater without                    specific treatment of an Injury or Sickness.
    comorbidities, or 35-39 with comorbidities. The following                artificial aids, including but not limited to corrective
    are specifically excluded:                                                orthopedic shoes, arch supports, elastic stockings, garter
     medical and surgical services to alter appearances or
                                                                              belts, corsets and dentures.
      physical changes that are the result of any surgery                    aids or devices that assist with non-verbal communications,
      performed for the management of obesity or clinically                   including but not limited to communication boards, pre-
      severe (morbid) obesity; and                                            recorded speech devices, laptop computers, desktop
     weight loss programs or treatments, whether prescribed or
                                                                              computers, Personal Digital Assistants (PDAs), Braille
      recommended by a Physician or under medical                             typewriters, visual alert systems for the deaf and memory
      supervision.                                                            books.
   reports, evaluations, physical examinations, or                          eyeglass lenses and frames, contact lenses and associated
    hospitalization not required for health reasons, including but            services (exams and fittings) (except for the initial set after
    not limited to employment, insurance or government                        treatment of keratoconus or following cataract surgery).
    licenses, and court-ordered, forensic or custodial                       routine refractions, eye exercises and surgical treatment for
    evaluations, unless otherwise covered under this plan.                    the correction of a refractive error, including radial
   court-ordered treatment or hospitalization, unless treatment              keratotomy.
    is prescribed by a Physician and is a covered service or                 all non-injectable prescription drugs, unless Physician
    supply under this plan.                                                   administration or oversight is required, injectable
   any services or supplies for the treatment of male or female              prescription drugs to the extent they do not require
    sexual dysfunction such as, but not limited to, treatment of              Physician supervision and are typically considered self-
    erectile dysfunction (including penile implants), anorgasmy,              administered drugs, non-prescription drugs, and
    and premature ejaculation.                                                investigational and experimental drugs, except as provided
                                                                              in this plan.
   medical and Hospital care and costs for the child of your
    Dependent child, unless the child is otherwise eligible under            routine foot care, including the paring and removing of
    this plan.                                                                corns and calluses and toenail maintenance. However, foot
                                                                              care services for diabetes, peripheral neuropathies and
   non-medical counseling and/or ancillary services, including               peripheral vascular disease are covered when Medically
    but not limited to Custodial Services, educational services,              Necessary.
    vocational counseling, training and, rehabilitation services,
    behavioral training, biofeedback, neurofeedback, hypnosis,               membership costs and fees associated with health clubs,
    sleep therapy, return to work services, work hardening                    weight loss programs or smoking cessation programs.
    programs and driver safety courses.                                      genetic screening or pre-implantations genetic screening.
   therapy or treatment intended primarily to improve or                     General population-based genetic screening is a testing
    maintain general physical condition or for the purpose of                 method performed in the absence of any symptoms or any
    enhancing job, school, athletic or recreational performance,              significant, proven risk factors for genetically linked
    including but not limited to routine, long term, or                       inheritable disease.
    maintenance care which is provided after the resolution of               dental implants for any condition.
    the acute medical problem and when significant therapeutic               fees associated with the collection, storage or donation of
    improvement is not expected.                                              blood or blood products, except for autologous donation in
   consumable medical supplies other than ostomy supplies                    anticipation of scheduled services when medical
    and urinary catheters. Excluded supplies include, but are not             management review determines the likelihood of excess
    limited to bandages and other disposable medical supplies,                blood loss is such that transfusion is an expected adjunct to
    skin preparations and test strips, except as specified in the             surgery.


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   blood administration for the purpose of general                         charges by any Physician or Other Health Professional who
    improvement in physical condition.                                       is a member of your family or your Dependent's family.
   cost of biologicals that are immunizations or medications               expenses incurred outside the United States other than
    for the purpose of travel, or to protect against occupational            expenses for Medically Necessary emergency or urgent care
    hazards and risks.                                                       while temporarily traveling abroad.
   health and beauty aids, cosmetics and dietary supplements.
   all nutritional supplements, formulae, enteral feedings,             HC-EXC507 M                                                    01-22
    supplies and specially formulated medical foods, whether
    prescribed or not except for infant formula needed for the
    treatment of inborn errors of metabolism.
                                                                         Coordination of Benefits
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.          This section applies if you or any one of your Dependents is
                                                                         covered under more than one Plan and determines how
   charges related to an Injury or Sickness payable under               benefits payable from all such Plans will be coordinated. You
    worker’s compensation or similar laws.                               should file all claims with each Plan.
   massage therapy.                                                     Coverage under this Plan plus another Plan will not
   products and supplies associated with the administration of          guarantee 100% reimbursement.
    medications that are available to be covered under the               Definitions
    Prescription Drug Benefit. Such products and supplies
    include but are not limited to therapeutic Continuous                For the purposes of this section, the following terms have the
    Glucose Monitor (CGM) sensors and transmitters and                   meanings set forth below:
    insulin pods.                                                        Plan
   expenses incurred by a participant to the extent                     Any of the following that provides benefits or services for
    reimbursable under automobile insurance coverage.                    medical care or treatment:
    Coverage under this plan is secondary to automobile no-                 Group insurance and/or group-type coverage, whether
    fault insurance or similar coverage. The coverage provided               insured or self-insured which neither can be purchased by
    under this plan does not constitute “Qualified Health                    the general public nor is individually underwritten including
    Coverage” under Michigan law and therefore does not                      closed panel coverage.
    replace Personal Injury Protection (PIP) coverage provided
    under an automobile insurance policy issued to a Michigan               Coverage under Medicare and other governmental benefits
    resident. This plan will cover expenses only not otherwise               as permitted by law, excepting Medicaid and Medicare
    covered by the PIP coverage.                                             supplement policies.
                                                                            Medical benefits coverage of group, group-type, and
General Limitations                                                          individual automobile contracts.
No payment will be made for expenses incurred for you or any             Each Plan or part of a Plan which has the right to coordinate
one of your Dependents:                                                  benefits will be considered a separate Plan.
   for charges by a Hospital owned or operated by or which              Closed Panel Plan
    provides care or performs services for, the United States
    Government, if such charges are directly related to a                A Plan that provides medical or dental benefits primarily in
    military-service-connected Injury or Sickness.                       the form of services through a panel of employed or
                                                                         contracted providers, and which limits or excludes benefits
   any charges related to care provided through a public                provided by providers outside of the panel, except in the case
    program, other than Medicaid.                                        of emergency or if referred by a provider within the panel.
   for charges which would not have been made if the person             Primary Plan
    did not have coverage.
                                                                         The Plan that determines and provides or pays benefits
   to the extent that they are more than Maximum                        without taking into consideration the existence of any other
    Reimbursable Charges.                                                Plan.
   to the extent of the exclusions imposed by any certification         Secondary Plan
    requirement shown in this plan.
                                                                         A Plan that determines, and may reduce its benefits after
   expenses for services, supplies, care, treatment, drugs or           taking into consideration, the benefits provided or paid by the
    surgery that are not Medically Necessary.                            Primary Plan. A Secondary Plan may also recover from the


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Primary Plan the Reasonable Cash Value of any services it                       the order of benefit determination, this paragraph shall not
provided to you.                                                                apply.
Reasonable Cash Value                                                          If one of the Plans that covers you is issued out of the state
An amount which a duly licensed provider of health care                         whose laws govern this Policy, and determines the order of
services usually charges patients and which is within the range                 benefits based upon the gender of a parent, and as a result,
of fees usually charged for the same service if rendered under                  the Plans do not agree on the order of benefit determination,
similar or comparable circumstances by other health care                        the Plan with the gender rules shall determine the order of
providers located within the immediate geographic area where                    benefits.
the health care service was delivered.                                      If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
                                                                            be primary.
A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
                                                                            Medicare, the benefit determination rules identified above,
   The Plan that covers a person as an enrollee or an employee             will be used to determine how benefits will be coordinated.
    shall be the Primary Plan and the Plan that covers that
    person as a Dependent shall be the Secondary Plan;                      Effect on the Benefits of This Plan
   For a Dependent child whose parents are not divorced or                 If this Plan is the Secondary Plan, the benefits that would be
    legally separated, the Primary Plan shall be the Plan which             payable under this Plan in the absence of Coordination will be
    covers the parent whose birthday falls first in the calendar            reduced by the benefits payable under all other Plans for the
    year;                                                                   expense covered under this Plan.
   For the Dependent of divorced or separated parents, benefits            When a Plan provides benefits in the form of services, the
    for the Dependent shall be determined in the following                  Reasonable Cash Value of each service rendered will be
    order:                                                                  considered both an expense incurred and a benefit payable.
     first, if a court decree states that one parent is responsible        Recovery of Excess Benefits
      for the child's healthcare expenses or health coverage and            If Cigna pays charges for services and supplies that should
      the Plan for that parent has actual knowledge of the terms            have been paid by the Primary Plan, Cigna will have the right
      of the order, but only from the time of actual knowledge;             to recover such payments.
     then, the Plan of the parent with custody of the child;               Cigna will have sole discretion to seek such recovery from any
     then, the Plan of the spouse of the parent with custody of            person to, or for whom, or with respect to whom, such
      the child;                                                            services were provided or such payments were made by any
                                                                            insurance company, healthcare plan or other organization. If
     then, the Plan of the noncustodial parent of the child; and
                                                                            we request, you shall execute and deliver to us such
     finally, the Plan of the spouse of the parent not having              instruments and documents as we determine are necessary to
      custody of the child.                                                 secure the right of recovery.
   The Plan that covers you as an active employee (or as that              Right to Receive and Release Information
    employee's Dependent) shall be the Primary Plan and the                 Cigna, without consent or notice to you, may obtain
    Plan that covers you as laid-off or retired employee (or as             information from and release information to any other Plan
    that employee's Dependent) shall be the secondary Plan. If              with respect to you in order to coordinate your benefits
    the other Plan does not have a similar provision and, as a              pursuant to this section. You must provide us with any
    result, the Plans cannot agree on the order of benefit                  information we request in order to coordinate your benefits
    determination, this paragraph shall not apply.                          pursuant to this section. This request may occur in connection
   The Plan that covers you under a right of continuation                  with a submitted claim; if so, you will be advised that the
    which is provided by federal or state law shall be the                  "other coverage" information, (including an Explanation of
    Secondary Plan and the Plan that covers you as an active                Benefits paid under the Primary Plan) is required before the
    employee or retiree (or as that employee's Dependent) shall             claim will be processed for payment. If no response is
    be the Primary Plan. If the other Plan does not have a                  received within 55 days of the request, the claim will be
    similar provision and, as a result, the Plans cannot agree on           closed. If the requested information is subsequently received,
                                                                            the claim will be processed.


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Medicare Eligibles                                                       coverage is due to disability, the Medicare Secondary Payer
                                                                         Rules explained above will apply.
Cigna will pay as the Secondary Plan as permitted by the
Social Security Act of 1965 as amended for the following:
                                                                         HC-COB274                                                      01-21
(a) a former Employee who is eligible for Medicare and
    whose insurance is continued for any reason as provided in
    this Plan;
(b) a former Employee's Dependent, or a former Dependent                 Expenses For Which A Third Party May
    Spouse, who is eligible for Medicare and whose insurance             Be Responsible
    is continued for any reason as provided in this Plan;
                                                                         This plan does not cover:
(c) an Employee whose Employer and each other Employer
    participating in the Employer's plan have fewer than 100                Expenses incurred by you or your Dependent (hereinafter
    Employees and that Employee is eligible for Medicare due                 individually and collectively referred to as a "Participant,")
    to disability;                                                           for which another party may be responsible as a result of
                                                                             having caused or contributed to an Injury or Sickness.
(d) the Dependent of an Employee whose Employer and each
    other Employer participating in the Employer's plan have                Expenses incurred by a Participant to the extent any
    fewer than 100 Employees and that Dependent is eligible                  payment is received for them either directly or indirectly
    for Medicare due to disability;                                          from a third party tortfeasor or as a result of a settlement,
                                                                             judgment or arbitration award in connection with any
(e) an Employee or a Dependent of an Employee of an                          automobile medical, automobile no-fault, uninsured or
    Employer who has fewer than 20 Employees, if that person                 underinsured motorist, homeowners, workers'
    is eligible for Medicare due to age;                                     compensation, government insurance (other than Medicaid),
(f) an Employee, retired Employee, Employee's Dependent or                   or similar type of insurance or coverage. The coverage
    retired Employee's Dependent who is eligible for Medicare                under this plan is secondary to any automobile no-fault
    due to End Stage Renal Disease after that person has been                insurance or similar coverage.
    eligible for Medicare for 30 months.                                 Subrogation/Right of Reimbursement
Cigna will assume the amount payable under:                              If a Participant incurs a Covered Expense for which, in the
   Part A of Medicare for a person who is eligible for that Part        opinion of the plan or its claim administrator, another party
    without premium payment, but has not applied, to be the              may be responsible or for which the Participant may receive
    amount he would receive if he had applied.                           payment as described above:
   Part B of Medicare for a person who is entitled to be                   Subrogation: The plan shall, to the extent permitted by law,
    enrolled in that Part, but is not, to be the amount he would             be subrogated to all rights, claims or interests that a
    receive if he were enrolled.                                             Participant may have against such party and shall
   Part B of Medicare for a person who has entered into a                   automatically have a lien upon the proceeds of any recovery
    private contract with a provider, to be the amount he would              by a Participant from such party to the extent of any benefits
    receive in the absence of such private contract.                         paid under the plan. A Participant or his/her representative
                                                                             shall execute such documents as may be required to secure
A person is considered eligible for Medicare on the earliest                 the plan’s subrogation rights.
date any coverage under Medicare could become effective for
him.                                                                        Right of Reimbursement: The plan is also granted a right of
                                                                             reimbursement from the proceeds of any recovery whether
This reduction will not apply to any Employee and his                        by settlement, judgment, or otherwise. This right of
Dependent or any former Employee and his Dependent unless                    reimbursement is cumulative with and not exclusive of the
he is listed under (a) through (f) above.                                    subrogation right granted in paragraph 1, but only to the
Domestic Partners                                                            extent of the benefits provided by the plan.
Under federal law, the Medicare Secondary Payer Rules do                 Lien of the Plan
not apply to Domestic Partners covered under a group health              By accepting benefits under this plan, a Participant:
Plan when Medicare coverage is due to age. Therefore, when
Medicare coverage is due to age, Medicare is always the                     grants a lien and assigns to the plan an amount equal to the
Primary Plan for a person covered as a Domestic Partner, and                 benefits paid under the plan against any recovery made by
Cigna is the Secondary Plan. However, when Medicare                          or on behalf of the Participant which is binding on any
                                                                             attorney or other party who represents the Participant
                                                                             whether or not an agent of the Participant or of any


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    insurance company or other financially responsible party                     to future medical benefits hereunder until the Participant has
    against whom a Participant may have a claim provided said                    fully complied with his reimbursement obligations
    attorney, insurance carrier or other party has been notified                 hereunder, regardless of how those future medical benefits
    by the plan or its agents;                                                   are incurred.
   agrees that this lien shall constitute a charge against the                 Any reference to state law in any other provision of this
    proceeds of any recovery and the plan shall be entitled to                   plan shall not be applicable to this provision, if the plan is
    assert a security interest thereon;                                          governed by ERISA. By acceptance of benefits under the
   agrees to hold the proceeds of any recovery in trust for the                 plan, the Participant agrees that a breach hereof would cause
    benefit of the plan to the extent of any payment made by the                 irreparable and substantial harm and that no adequate
    plan.                                                                        remedy at law would exist. Further, the Plan shall be
                                                                                 entitled to invoke such equitable remedies as may be
Additional Terms                                                                 necessary to enforce the terms of the plan, including, but not
 No adult Participant hereunder may assign any rights that it                   limited to, specific performance, restitution, the imposition
  may have to recover medical expenses from any third party                      of an equitable lien and/or constructive trust, as well as
  or other person or entity to any minor Dependent of said                       injunctive relief.
  adult Participant without the prior express written consent                   Participants must assist the plan in pursuing any subrogation
  of the plan. The plan’s right to recover shall apply to                        or recovery rights by providing requested information.
  decedents’, minors’, and incompetent or disabled persons’
  settlements or recoveries.
                                                                             HC-SUB128                                                     03-20
   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.
   The plan’s right of recovery shall be a prior lien against any           Payment of Benefits
    proceeds recovered by the Participant. This right of                     Assignment and Payment of Benefits
    recovery shall not be defeated nor reduced by the
    application of any so-called “Made-Whole Doctrine”,                      You may not assign to any party, including, but not limited to,
    “Rimes Doctrine”, or any other such doctrine purporting to               a provider of healthcare services/items, your right to benefits
    defeat the plan’s recovery rights by allocating the proceeds             under this plan, nor may you assign any administrative,
    exclusively to non-medical expense damages.                              statutory, or legal rights or causes of action you may have
                                                                             under ERISA, including, but not limited to, any right to make
   No Participant hereunder shall incur any expenses on behalf              a claim for plan benefits, to request plan or other documents,
    of the plan in pursuit of the plan’s rights hereunder,                   to file appeals of denied claims or grievances, or to file
    specifically; no court costs, attorneys' fees or other                   lawsuits under ERISA. Any attempt to assign such rights shall
    representatives' fees may be deducted from the plan’s                    be void and unenforceable under all circumstances.
    recovery without the prior express written consent of the
    plan. This right shall not be defeated by any so-called “Fund            You may, however, authorize Cigna to pay any healthcare
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                   benefits under this policy to a Participating or Non-
    Doctrine”.                                                               Participating Provider. When you authorize the payment of
                                                                             your healthcare benefits to a Participating or Non-Participating
   The plan shall recover the full amount of benefits provided              Provider, you authorize the payment of the entire amount of
    hereunder without regard to any claim of fault on the part of            the benefits due on that claim. If a provider is overpaid
    any Participant, whether under comparative negligence or                 because of accepting duplicate payments from you and Cigna,
    otherwise.                                                               it is the provider’s responsibility to reimburse the
   The plan hereby disavows all equitable defenses in pursuit               overpayment to you. Cigna may pay all healthcare benefits for
    of its right of recovery. The plan’s subrogation or recovery             Covered Expenses directly to a Participating Provider without
    rights are neither affected nor diminished by equitable                  your authorization. You may not interpret or rely upon this
    defenses.                                                                discrete authorization or permission to pay any healthcare
   In the event that a Participant shall fail or refuse to honor its        benefits to a Participating or Non-Participating Provider as the
    obligations hereunder, then the plan shall be entitled to                authority to assign any other rights under this policy to any
    recover any costs incurred in enforcing the terms hereof                 party, including, but not limited to, a provider of healthcare
    including, but not limited to, attorney’s fees, litigation, court        services/items.
    costs, and other expenses. The plan shall also be entitled to            Even if the payment of healthcare benefits to a Non-
    offset the reimbursement obligation against any entitlement              Participating Provider has been authorized by you, Cigna may,



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at its option, make payment of benefits to you. When benefits             Termination of Insurance
are paid to you or your Dependent, you or your Dependents
are responsible for reimbursing the Non-Participating
Provider.                                                                 Employees
If any person to whom benefits are payable is a minor or, in              Your insurance will cease on the earliest date below:
the opinion of Cigna is not able to give a valid receipt for any             the date you cease to be in a Class of Eligible Employees or
payment due him, such payment will be made to his legal                       cease to qualify for the insurance.
guardian. If no request for payment has been made by his legal               the last day for which you have made any required
guardian, Cigna may, at its option, make payment to the                       contribution for the insurance.
person or institution appearing to have assumed his custody
and support.                                                                 the date the policy is cancelled.
When one of our participants passes away, Cigna may receive                  the last day of the calendar month in which your Active
notice that an executor of the estate has been established. The               Service ends except as described below.
executor has the same rights as our insured and benefit                   Any continuation of insurance must be based on a plan which
payments for unassigned claims should be made payable to the              precludes individual selection.
executor.                                                                 Temporary Layoff or Leave of Absence
Payment as described above will release Cigna from all                    If your Active Service ends due to temporary layoff or leave
liability to the extent of any payment made.                              of absence, your insurance will be continued until the date as
Recovery of Overpayment                                                   determined by your Employer.
When an overpayment has been made by Cigna, Cigna will                    Injury or Sickness
have the right at any time to: recover that overpayment from              If your Active Service ends due to an Injury or Sickness, your
the person to whom or on whose behalf it was made; or offset              insurance will be continued while you remain totally and
the amount of that overpayment from a future claim payment.               continuously disabled as a result of the Injury or Sickness.
In addition, your acceptance of benefits under this plan and/or           However, your insurance will not continue past the date your
assignment of Medical Benefits separately creates an equitable            Employer cancels your insurance.
lien by agreement pursuant to which Cigna may seek recovery
of any overpayment. You agree that Cigna, in seeking                      Dependents
recovery of any overpayment as a contractual right or as an
equitable lien by agreement, may pursue the general assets of             Your insurance for all of your Dependents will cease on the
the person or entity to whom or on whose behalf the                       earliest date below:
overpayment was made.                                                        the date your insurance ceases.
Calculation of Covered Expenses                                              the date you cease to be eligible for Dependent Insurance.
Cigna, in its discretion, will calculate Covered Expenses                    the last day for which you have made any required
following evaluation and validation of all provider billings in               contribution for the insurance.
accordance with:                                                             the date Dependent Insurance is cancelled.
   the methodologies in the most recent edition of the Current           The insurance for any one of your Dependents will cease on
    Procedural terminology.                                               the date that Dependent no longer qualifies as a Dependent.
   the methodologies as reported by generally recognized
    professionals or publications.
                                                                          HC-TRM128                                                     12-17


HC-POB132                                                    01-19




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Rescissions                                                               Notice of Provider Directory/Networks
Your coverage may not be rescinded (retroactively terminated)             Notice Regarding Provider Directories and Provider
by Cigna or the plan sponsor unless the plan sponsor or an                Networks
individual (or a person seeking coverage on behalf of the                 A list of network providers is available to you without charge
individual) performs an act, practice or omission that                    by visiting the website or by calling the phone number on your
constitutes fraud; or the plan sponsor or individual (or a                ID card. The network consists of providers, including
person seeking coverage on behalf of the individual) makes an             hospitals, of varied specialties as well as general practice,
intentional misrepresentation of material fact.                           affiliated or contracted with Cigna or an organization
                                                                          contracting on its behalf.
HC-TRM80                                                     01-11        Notice Regarding Pharmacy Directories and Pharmacy
                                                                          Networks
                                                                          A list of network pharmacies is available to you without
Medical Benefits Extension During                                         charge by visiting the website or by calling the phone number
                                                                          on your ID card. The network consists of pharmacies affiliated
Hospital Confinement                                                      or contracted with Cigna or an organization contracting on its
If the Medical Benefits under this plan cease for you or your             behalf.
Dependent, and you or your Dependent is Confined in a
Hospital on that date, Medical Benefits will be paid for
                                                                          HC-FED78                                                      10-10
Covered Expenses incurred in connection with that Hospital
Confinement. However, no benefits will be paid after the
earliest of:
   the date you exceed the Maximum Benefit, if any, shown in             Qualified Medical Child Support Order
    the Schedule;                                                         (QMCSO)
   the date you are covered for medical benefits under another           Eligibility for Coverage Under a QMCSO
    group plan;                                                           If a Qualified Medical Child Support Order (QMCSO) is
   the date you or your Dependent is no longer Hospital                  issued for your child, that child will be eligible for coverage as
    Confined; or                                                          required by the order and you will not be considered a Late
   3 months from the date your Medical Benefits cease.                   Entrant for Dependent Insurance.
The terms of this Medical Benefits Extension will not apply to            You must notify your Employer and elect coverage for that
a child born as a result of a pregnancy which exists when your            child, and yourself if you are not already enrolled, within 31
Medical Benefits cease or your Dependent's Medical Benefits               days of the QMCSO being issued.
cease.                                                                    Qualified Medical Child Support Order Defined
                                                                          A Qualified Medical Child Support Order is a judgment,
HC-BEX44                                                     01-13
                                                                          decree or order (including approval of a settlement agreement)
                                                                          or administrative notice, which is issued pursuant to a state
                                                                          domestic relations law (including a community property law),
                                                                          or to an administrative process, which provides for child
Federal Requirements                                                      support or provides for health benefit coverage to such child
The following pages explain your rights and responsibilities              and relates to benefits under the group health plan, and
under federal laws and regulations. Some states may have                  satisfies all of the following:
similar requirements. If a similar provision appears elsewhere               the order recognizes or creates a child’s right to receive
in this booklet, the provision which provides the better benefit              group health benefits for which a participant or beneficiary
will apply.                                                                   is eligible;
                                                                             the order specifies your name and last known address, and
HC-FED1                                                      10-10
                                                                              the child’s name and last known address, except that the
                                                                              name and address of an official of a state or political
                                                                              subdivision may be substituted for the child’s mailing
                                                                              address;




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   the order provides a description of the coverage to be                    became Dependent children of the Employee due to
    provided, or the manner in which the type of coverage is to               marriage.
    be determined;                                                           Loss of eligibility for State Medicaid or Children’s
   the order states the period to which it applies; and                      Health Insurance Program (CHIP). If you and/or your
   if the order is a National Medical Support Notice completed               Dependent(s) were covered under a state Medicaid or CHIP
    in accordance with the Child Support Performance and                      plan and the coverage is terminated due to a loss of
    Incentive Act of 1998, such Notice meets the requirements                 eligibility, you may request special enrollment for yourself
    above.                                                                    and any affected Dependent(s) who are not already enrolled
                                                                              in the Plan. You must request enrollment within 60 days
The QMCSO may not require the health insurance policy to                      after termination of Medicaid or CHIP coverage.
provide coverage for any type or form of benefit or option not
otherwise provided under the policy, except that an order may                Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
                                                                              for the other coverage is lost, you and all of your eligible
Payment of Benefits                                                           Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                          required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial             with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                  was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                 loss of eligibility as a result of any of the following:
child.                                                                         divorce or legal separation;
                                                                               cessation of Dependent status (such as reaching the
HC-FED4                                                      10-10              limiting age);
                                                                               death of the Employee;
                                                                               termination of employment;
Special Enrollment Rights Under the Health
                                                                               reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                      for eligibility;
(HIPAA)                                                                        you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                       in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                       coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                               you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of
                                                                                exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already
                                                                                all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and
your eligible Dependent(s) under a different option offered by                 the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special                   Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                          continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                  ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                      Dependent’s other coverage, special enrollment may be
events include:                                                               requested in this Plan for you and all of your eligible
   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or                        Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not               and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                 COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                           Dependent(s) elect COBRA or other continuation coverage
    Employee and Dependent child(ren); Employee, spouse and                   following loss of coverage under another plan, the COBRA
    Dependent child(ren). Enrollment of Dependent children is                 or other continuation coverage must be exhausted before
    limited to the newborn or adopted children or children who                any special enrollment rights exist under this Plan. An
                                                                              individual is considered to have exhausted COBRA or other


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    continuation coverage only if such coverage ceases: due to             A. Coverage elections
    failure of the Employer or other responsible entity to remit           Per Section 125 regulations, you are generally allowed to
    premiums on a timely basis; when the person no longer                  enroll for or change coverage only before each annual benefit
    resides or works in the other plan’s service area and there is         period. However, exceptions are allowed:
    no other COBRA or continuation coverage available under
    the plan; or when the individual incurs a claim that would                if you meet Special Enrollment criteria and enroll as
    meet or exceed a lifetime maximum limit on all benefits and                described in the Special Enrollment section; or
    there is no other COBRA or other continuation coverage                    if your Employer agrees, and you meet the criteria shown in
    available to the individual. This does not include                         the following Sections B through H and enroll for or change
    termination of an Employer’s limited period of                             coverage within the time period established by your
    contributions toward COBRA or other continuation                           Employer.
    coverage as provided under any severance or other                      B. Change of status
    agreement.
                                                                           A change in status is defined as:
   Eligibility for employment assistance under State
                                                                              change in legal marital status due to marriage, death of a
    Medicaid or Children’s Health Insurance Program
                                                                               spouse, divorce, annulment or legal separation;
    (CHIP). If you and/or your Dependent(s) become eligible
    for assistance with group health plan premium payments                    change in number of Dependents due to birth, adoption,
    under a state Medicaid or CHIP plan, you may request                       placement for adoption, or death of a Dependent;
    special enrollment for yourself and any affected                          change in employment status of Employee, spouse or
    Dependent(s) who are not already enrolled in the Plan. You                 Dependent due to termination or start of employment,
    must request enrollment within 60 days after the date you                  strike, lockout, beginning or end of unpaid leave of absence,
    are determined to be eligible for assistance.                              including under the Family and Medical Leave Act
Except as stated above, special enrollment must be                             (FMLA), or change in worksite;
requested within 30 days after the occurrence of the                          changes in employment status of Employee, spouse or
special enrollment event. If the special enrollment event is                   Dependent resulting in eligibility or ineligibility for
the birth or adoption of a Dependent child, coverage will                      coverage;
be effective immediately on the date of birth, adoption or
                                                                              change in residence of Employee, spouse or Dependent to a
placement for adoption. Coverage with regard to any other
                                                                               location outside of the Employer’s network service area;
special enrollment event will be effective no later than the
                                                                               and
first day of the first calendar month following receipt of
the request for special enrollment.                                           changes which cause a Dependent to become eligible or
                                                                               ineligible for coverage.
Domestic Partners and their children (if not legal children of
the Employee) are not eligible for special enrollment.                     C. Court order
                                                                           A change in coverage due to and consistent with a court order
                                                                           of the Employee or other person to cover a Dependent.
HC-FED96                                                      04-17
                                                                           D. Medicare or Medicaid eligibility/entitlement
                                                                           The Employee, spouse or Dependent cancels or reduces
Effect of Section 125 Tax Regulations on This                              coverage due to entitlement to Medicare or Medicaid, or
                                                                           enrolls or increases coverage due to loss of Medicare or
Plan                                                                       Medicaid eligibility.
Your Employer has chosen to administer this Plan in
                                                                           E. Change in cost of coverage
accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax               If the cost of benefits increases or decreases during a benefit
salary reduction put toward the cost of your benefits.                     period, your Employer may, in accordance with plan terms,
Otherwise, you will receive your taxable earnings as cash                  automatically change your elective contribution.
(salary).                                                                  When the change in cost is significant, you may either
                                                                           increase your contribution or elect less-costly coverage. When
                                                                           a significant overall reduction is made to the benefit option
                                                                           you have elected, you may elect another available benefit
                                                                           option. When a new benefit option is added, you may change
                                                                           your election to the new benefit option.



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F. Changes in coverage of spouse or Dependent under                      Coverage for Maternity Hospital Stay
another employer’s plan
                                                                         Group health plans and health insurance issuers offering group
You may make a coverage election change if the plan of your              health insurance coverage generally may not, under a federal
spouse or Dependent: incurs a change such as adding or                   law known as the “Newborns’ and Mothers’ Health Protection
deleting a benefit option; allows election changes due to                Act”: restrict benefits for any Hospital length of stay in
Special Enrollment, Change in Status, Court Order or                     connection with childbirth for the mother or newborn child to
Medicare or Medicaid Eligibility/Entitlement; or this Plan and           less than 48 hours following a vaginal delivery, or less than 96
the other plan have different periods of coverage or open                hours following a cesarean section; or require that a provider
enrollment periods.                                                      obtain authorization from the plan or insurance issuer for
G. Reduction in work hours                                               prescribing a length of stay not in excess of the above periods.
If an Employee’s work hours are reduced below 30                         The law generally does not prohibit an attending provider of
hours/week (even if it does not result in the Employee losing            the mother or newborn, in consultation with the mother, from
eligibility for the Employer’s coverage); and the Employee               discharging the mother or newborn earlier than 48 or 96 hours,
(and family) intend to enroll in another plan that provides              as applicable.
Minimum Essential Coverage (MEC). The new coverage must                  Please review this Plan for further details on the specific
be effective no later than the 1st day of the 2nd month                  coverage available to you and your Dependents.
following the month that includes the date the original
coverage is revoked.
                                                                         HC-FED11                                                       10-10
H. Enrollment in a Qualified Health Plan (QHP)
The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the                   Women’s Health and Cancer Rights Act
Employee wants to enroll in a QHP through a Marketplace
during the Marketplace’s annual open enrollment period; and
                                                                         (WHCRA)
the disenrollment from the group plan corresponds to the                 Do you know that your plan, as required by the Women’s
intended enrollment of the Employee (and family) in a QHP                Health and Cancer Rights Act of 1998, provides benefits for
through a Marketplace for new coverage effective beginning               mastectomy-related services including all stages of
no later than the day immediately following the last day of the          reconstruction and surgery to achieve symmetry between the
original coverage.                                                       breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
                                                                         the toll free number listed on your ID card for more
HC-FED95                                                    04-17        information.


                                                                         HC-FED12                                                       10-10
Eligibility for Coverage for Adopted Children
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
                                                                         Group Plan Coverage Instead of Medicaid
of placement with you. A child will be considered placed for             If your income and liquid resources do not exceed certain
adoption when you become legally obligated to support that               limits established by law, the state may decide to pay
child, totally or partially, prior to that child’s adoption.             premiums for this coverage instead of for Medicaid, if it is
                                                                         cost effective. This includes premiums for continuation
If a child placed for adoption is not adopted, all health
                                                                         coverage required by federal law.
coverage ceases when the placement ends, and will not be
continued.
The provisions in the “Exception for Newborns” section of                HC-FED13                                                       10-10

this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.                                 Requirements of Family and Medical Leave Act
                                                                         of 1993 (as amended) (FMLA)
HC-FED67                                                    09-14        Any provisions of the policy that provide for: continuation of
                                                                         insurance during a leave of absence; and reinstatement of


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insurance following a return to Active Service; are modified                  the date the policy cancels.
by the following provisions of the federal Family and Medical              Your Employer may charge you and your Dependents up to
Leave Act of 1993, as amended, where applicable:                           102% of the total premium.
Continuation of Health Insurance During Leave                              Reinstatement of Benefits (applicable to all coverages)
Your health insurance will be continued during a leave of                  If your coverage ends during the leave of absence because you
absence if:                                                                do not elect USERRA at the expiration of USERRA and you
   that leave qualifies as a leave of absence under the Family            are reemployed by your current Employer, coverage for you
    and Medical Leave Act of 1993, as amended; and                         and your Dependents may be reinstated if you gave your
   you are an eligible Employee under the terms of that Act.              Employer advance written or verbal notice of your military
                                                                           service leave, and the duration of all military leaves while you
The cost of your health insurance during such leave must be                are employed with your current Employer does not exceed 5
paid, whether entirely by your Employer or in part by you and              years.
your Employer.
                                                                           You and your Dependents will be subject to only the balance
Reinstatement of Canceled Insurance Following Leave                        of a waiting period that was not yet satisfied before the leave
Upon your return to Active Service following a leave of                    began. However, if an Injury or Sickness occurs or is
absence that qualifies under the Family and Medical Leave                  aggravated during the military leave, full Plan limitations will
Act of 1993, as amended, any canceled insurance (health, life              apply.
or disability) will be reinstated as of the date of your return.           If your coverage under this plan terminates as a result of your
You will not be required to satisfy any eligibility or benefit             eligibility for military medical and dental coverage and your
waiting period to the extent that they had been satisfied prior            order to active duty is canceled before your active duty service
to the start of such leave of absence.                                     commences, these reinstatement rights will continue to apply.
Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.                          HC-FED18                                                     10-10



HC-FED93                                                      10-17

                                                                           Claim Determination Procedures under ERISA
                                                                           The following complies with federal law. Provisions of
Uniformed Services Employment and Re-                                      applicable laws of your state may supersede.
Employment Rights Act of 1994 (USERRA)                                     Procedures Regarding Medical Necessity Determinations
The Uniformed Services Employment and Re-employment                        In general, health services and benefits must be Medically
Rights Act of 1994 (USERRA) sets requirements for                          Necessary to be covered under the plan. The procedures for
continuation of health coverage and re-employment in regard                determining Medical Necessity vary, according to the type of
to an Employee’s military leave of absence. These                          service or benefit requested, and the type of health plan.
requirements apply to medical and dental coverage for you                  Medical Necessity determinations are made on a preservice,
and your Dependents. They do not apply to any Life, Short-                 concurrent, or postservice basis, as described below:
term or Long-term Disability or Accidental Death &
                                                                           Certain services require prior authorization in order to be
Dismemberment coverage you may have.
                                                                           covered. The booklet describes who is responsible for
Continuation of Coverage                                                   obtaining this review. You or your authorized representative
For leaves of less than 31 days, coverage will continue as                 (typically, your health care professional) must request prior
described in the Termination section regarding Leave of                    authorization according to the procedures described below, in
Absence.                                                                   the booklet, and in your provider’s network participation
                                                                           documents as applicable.
For leaves of 31 days or more, you may continue coverage for
yourself and your Dependents as follows:                                   When services or benefits are determined to be not covered,
                                                                           you or your representative will receive a written description of
You may continue benefits by paying the required premium to
                                                                           the adverse determination, and may appeal the determination.
your Employer, until the earliest of the following:
                                                                           Appeal procedures are described in the booklet, in your
   24 months from the last day of employment with the                     provider’s network participation documents as applicable, and
    Employer;                                                              in the determination notices.
   the day after you fail to return to work; and



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Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the
benefit determination will be based on, your eligibility as of          When an ongoing course of treatment has been approved for
the date services were rendered to you and the terms and                you and you wish to extend the approval, you or your
conditions of the plan in effect as of the date services were           representative must request a required concurrent coverage
rendered to you.                                                        determination at least 24 hours prior to the expiration of the
                                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond
Cigna’s control, Cigna will notify you or your representative           When you or your representative requests a coverage
within 15 days after receiving your request. This notice will           determination or a claim payment determination after services
include the date a determination can be expected, which will            have been rendered, Cigna will notify you or your
be no more than 30 days after receipt of the request. If more           representative of the determination within 30 days after
time is needed because necessary information is missing from            receiving the request. However, if more time is needed to
the request, the notice will also specify what information is           make a determination due to matters beyond Cigna’s control,
needed, and you or your representative must provide the                 Cigna will notify you or your representative within 30 days
specified information to Cigna within 45 days after receiving           after receiving the request. This notice will include the date a
the notice. The determination period will be suspended on the           determination can be expected, which will be no more than 45
date Cigna sends such a notice of missing information, and the          days after receipt of the request.
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
If the determination periods above would seriously jeopardize           information is needed, and you or your representative must
your life or health, your ability to regain maximum function,           provide the specified information to Cigna within 45 days
or in the opinion of a health care professional with knowledge          after receiving the notice. The determination period will be
of your health condition, cause you severe pain which cannot            suspended on the date Cigna sends such a notice of missing
be managed without the requested services, Cigna will make              information, and the determination period will resume on the
the preservice determination on an expedited basis. Cigna will          date you or your representative responds to the notice.
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
If you or your representative attempts to request a preservice          statement of a claimant’s rights to bring a civil action under
determination, but fails to follow Cigna’s procedures for               section 502(a) of ERISA following an adverse benefit
requesting a required preservice determination, Cigna will              determination on appeal, (if applicable); upon request and free



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of charge, a copy of any internal rule, guideline, protocol or             We want you to be completely satisfied with the services you
other similar criterion that was relied upon in making the                 receive. That is why we have established a process for
adverse determination regarding your claim; and an                         addressing your concerns and solving your problems.
explanation of the scientific or clinical judgment for a                   Start With Customer Service
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a              We are here to listen and help. If you have a concern
description of any available internal appeal and/or external               regarding a person, a service, the quality of care, contractual
review process(es); information about any office of health                 benefits, or a rescission of coverage, you may call the toll-
insurance consumer assistance or ombudsman available to                    free number on your ID card, explanation of benefits, or
assist you with the appeal process; and in the case of a claim             claim form and explain your concern to one of our Customer
involving urgent care, a description of the expedited review               Service representatives. You may also express that concern
process applicable to such claim.                                          in writing.
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
HC-FED104                                                     01-19
                                                                           concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
                                                                           results of a coverage decision, you may start the appeals
Appointment of Authorized Representative                                   procedure.
You may appoint an authorized representative to assist you in              Internal Appeals Procedure
submitting a claim or appealing a claim denial. However,                   To initiate an appeal of an adverse benefit determination, you
Cigna may require you to designate your authorized                         must submit a request for an appeal to Cigna within 180 days
representative in writing using a form approved by Cigna. At               of receipt of a denial notice. If you appeal a reduction or
all times, the appointment of an authorized representative is              termination in coverage for an ongoing course of treatment
revocable by you. To ensure that a prior appointment remains               that Cigna previously approved, you will receive, as required
valid, Cigna may require you to re-appoint your authorized                 by applicable law, continued coverage pending the outcome of
representative, from time to time.                                         an appeal.
Cigna reserves the right to refuse to honor the appointment of             You should state the reason why you feel your appeal should
a representative if Cigna reasonably determines that:                      be approved and include any information supporting your
   the signature on an authorized representative form may not             appeal. If you are unable or choose not to write, you may ask
    be yours, or                                                           Cigna to register your appeal by telephone. Call or write us at
                                                                           the toll-free number on your ID card, explanation of benefits,
   the authorized representative may not have disclosed to you
                                                                           or claim form.
    all of the relevant facts and circumstances relating to the
    overpayment or underpayment of any claim, including, for               Your appeal will be reviewed and the decision made by
    example, that the billing practices of the provider of medical         someone not involved in the initial decision. Appeals
    services may have jeopardized your coverage through the                involving Medical Necessity or clinical appropriateness will
    waiver of the cost-sharing amounts that you are required to            be considered by a health care professional.
    pay under your plan.                                                   We will respond in writing with a decision within 30 calendar
If your designation of an authorized representative is revoked,            days after we receive an appeal for a required preservice or
or Cigna does not honor your designation, you may appoint a                concurrent care coverage determination or a postservice
new authorized representative at any time, in writing, using a             Medical Necessity determination. We will respond within 60
form approved by Cigna.                                                    calendar days after we receive an appeal for any other
                                                                           postservice coverage determination. If more time or
                                                                           information is needed to make the determination, we will
HC-FED88                                                      01-17        notify you in writing to request an extension of up to 15
                                                                           calendar days and to specify any additional information
                                                                           needed to complete the review.
Medical - When You Have a Complaint or an                                  In the event any new or additional information (evidence) is
Appeal                                                                     considered, relied upon or generated by Cigna in connection
                                                                           with the appeal, this information will be provided
For the purposes of this section, any reference to "you" or
                                                                           automatically to you as soon as possible and sufficiently in
"your" also refers to a representative or provider designated by
                                                                           advance of the decision, so that you will have an opportunity
you to act on your behalf; unless otherwise noted.
                                                                           to respond. Also, if any new or additional rationale is


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considered by Cigna, Cigna will provide the rationale to you            Benefits Department, 630 Plaza Drive, Suite 100, Highlands
as soon as possible and sufficiently in advance of the decision         Ranch, Colorado 80129-2379. For required pre service and
so that you will have an opportunity to respond.                        concurrent care coverage determinations the Committee
You may request that the appeal process be expedited if the             review will be completed within 30 calendar days and for post
time frames under this process would seriously jeopardize               service claims the Committee review will be completed within
your life, health or ability to regain maximum functionality or         60 calendar days. If more time or information is needed to
in the opinion of your health care provider would cause you             make the determination, we will notify you in writing to
severe pain which cannot be managed without the requested               request an extension of up to 15 calendar days and to specify
services.                                                               any additional information needed by the Committee to
                                                                        complete the review. You will be notified in writing of the
If you request that your appeal be expedited, you may also ask          Committee's decision within 5 business days after the
for an expedited external Independent Review at the same                Committee meeting, and within the review time frames above
time, if the time to complete an expedited level-one appeal             if the Committee does not approve the requested coverage.
would be detrimental to your medical condition.
                                                                        Notice of Benefit Determination on Appeal
When an appeal is expedited, Cigna will respond orally with a
decision within 72 hours, followed up in writing.                       Every notice of a determination on appeal will be provided in
                                                                        writing or electronically and, if an adverse determination, will
External Review Procedure                                               include: information sufficient to identify the claim including,
If you are not fully satisfied with the decision of Cigna's             if applicable, the date of service, provider and claim amount;
internal appeal review and the appeal involves medical                  diagnosis and treatment codes, and their meanings; the
judgment or a rescission of coverage, you may request that              specific reason or reasons for the adverse determination
your appeal be referred to an Independent Review                        including, if applicable, the denial code and its meaning and a
Organization (IRO). The IRO is composed of persons who are              description of any standard that was used in the denial;
not employed by Cigna, or any of its affiliates. A decision to          reference to the specific plan provisions on which the
request an external review to an IRO will not affect the                determination is based; a statement that the claimant is entitled
claimant's rights to any other benefits under the plan.                 to receive, upon request and free of charge, reasonable access
There is no charge for you to initiate an external review. Cigna        to and copies of all documents, records, and other Relevant
and your benefit plan will abide by the decision of the IRO.            Information as defined below; a statement describing any
                                                                        voluntary appeal procedures offered by the plan and the
To request a review, you must notify the Appeals Coordinator            claimant's right to bring an action under ERISA section
within 4 months of your receipt of Cigna's appeal review                502(a), if applicable; upon request and free of charge, a copy
denial. Cigna will then forward the file to a randomly selected
                                                                        of any internal rule, guideline, protocol or other similar
IRO. The IRO will render an opinion within 45 days.
                                                                        criterion that was relied upon in making the adverse
When requested, and if a delay would be detrimental to your             determination regarding your appeal, and an explanation of the
medical condition, as determined by Cigna's reviewer, or if             scientific or clinical judgment for a determination that is based
your appeal concerns an admission, availability of care,                on a Medical Necessity, experimental treatment or other
continued stay, or health care item or service for which you            similar exclusion or limit; and information about any office of
received emergency services, but you have not yet been                  health insurance consumer assistance or ombudsman available
discharged from a facility, the external review shall be                to assist you in the appeal process. A final notice of an adverse
completed within 72 hours.                                              determination will include a discussion of the decision.
Arcadis Health Care Committee Appeal                                    You also have the right to bring a civil action under section
If you are dissatisfied with the Cigna internal appeal review           502(a) of ERISA if you are not satisfied with the decision on
and/or Independent Review decision, you may request a final             review. You or your plan may have other voluntary alternative
review of non-urgent claims. If your appeal can be referred to          dispute resolution options such as Mediation. One way to find
an Independent Review Organization and you have not done                out what may be available is to contact your local U.S.
so already, you must complete the Independent Review                    Department of Labor office and your State insurance
Process prior to requesting this final review. The Arcadis              regulatory agency. You may also contact the Plan
Health Care Committee appeal is a voluntary program                     Administrator.
arranged by Arcadis. To initiate this appeal, follow the same           Relevant Information
process required for a Cigna Internal Appeal except send this
                                                                        Relevant Information is any document, record or other
appeal in writing to the Arcadis U.S., Inc. Health Care
                                                                        information which: was relied upon in making the benefit
Committee (the Committee) who will administer this final
                                                                        determination; was submitted, considered or generated in the
appeal. The Arcadis U.S., Inc. Health Care Committee,                   course of making the benefit determination, without regard to


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whether such document, record, or other information was                   qualifying events if the event would result in a loss of
relied upon in making the benefit determination; demonstrates             coverage under the Plan:
compliance with the administrative processes and safeguards                  your death;
required by federal law in making the benefit determination;
or constitutes a statement of policy or guidance with respect to             your divorce or legal separation; or
the plan concerning the denied treatment option or benefit for               for a Dependent child, failure to continue to qualify as a
the claimant's diagnosis, without regard to whether such                      Dependent under the Plan.
advice or statement was relied upon in making the benefit                 Who is Entitled to COBRA Continuation?
determination.
                                                                          Only a “qualified beneficiary” (as defined by federal law) may
Legal Action                                                              elect to continue health insurance coverage. A qualified
If your plan is governed by ERISA, you have the right to bring            beneficiary may include the following individuals who were
a civil action under section 502(a) of ERISA if you are not               covered by the Plan on the day the qualifying event occurred:
satisfied with the outcome of the Appeals Procedure. In most              you, your spouse, and your Dependent children. Each
instances, you may not initiate a legal action against Cigna              qualified beneficiary has their own right to elect or decline
until you have completed the appeal processes. However, no                COBRA continuation coverage even if you decline or are not
action will be brought at all unless brought within three years           eligible for COBRA continuation.
after proof of claim is required under the Plan. However, no              The following individuals are not qualified beneficiaries for
action will be brought at all unless brought within 3 years after         purposes of COBRA continuation: domestic partners,
a claim is submitted for In-Network Services or within three              grandchildren (unless adopted by you), stepchildren (unless
years after proof of claim is required under the Plan for Out-            adopted by you). Although these individuals do not have an
of-Network services.                                                      independent right to elect COBRA continuation coverage, if
                                                                          you elect COBRA continuation coverage for yourself, you
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                                                                          may also cover your Dependents even if they are not
                                                                          considered qualified beneficiaries under COBRA. However,
                                                                          such individuals’ coverage will terminate when your COBRA
                                                                          continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                   “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                       Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                               Secondary Qualifying Events
What is COBRA Continuation Coverage?                                      If, as a result of your termination of employment or reduction
Under federal law, you and/or your Dependents must be given               in work hours, your Dependent(s) have elected COBRA
the opportunity to continue health insurance when there is a              continuation coverage and one or more Dependents experience
“qualifying event” that would result in loss of coverage under            another COBRA qualifying event, the affected Dependent(s)
the Plan. You and/or your Dependents will be permitted to                 may elect to extend their COBRA continuation coverage for
continue the same coverage under which you or your                        an additional 18 months (7 months if the secondary event
Dependents were covered on the day before the qualifying                  occurs within the disability extension period) for a maximum
event occurred, unless you move out of that plan’s coverage               of 36 months from the initial qualifying event. The second
area or the plan is no longer available. You and/or your                  qualifying event must occur before the end of the initial 18
Dependents cannot change coverage options until the next                  months of COBRA continuation coverage or within the
open enrollment period.                                                   disability extension period discussed below. Under no
                                                                          circumstances will COBRA continuation coverage be
When is COBRA Continuation Available?                                     available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                        event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following              divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of                  to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                                  Disability Extension
   your termination of employment for any reason, other than             If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                                  termination of employment or reduction in work hours, you or
   your reduction in work hours.                                         one of your Dependents is determined by the Social Security
For your Dependents, COBRA continuation coverage is                       Administration (SSA) to be totally disabled under Title II or
available for up to 36 months from the date of the following              XVI of the SSA, you and all of your Dependents who have



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elected COBRA continuation coverage may extend such                       any reason the Plan would terminate coverage of a
continuation for an additional 11 months, for a maximum of                 participant or beneficiary who is not receiving continuation
29 months from the initial qualifying event.                               coverage (e.g., fraud).
To qualify for the disability extension, all of the following          Moving Out of Employer’s Service Area or Elimination of
requirements must be satisfied:                                        a Service Area
   SSA must determine that the disability occurred prior to or        If you and/or your Dependents move out of the Employer’s
    within 60 days after the disabled individual elected COBRA         service area or the Employer eliminates a service area in your
    continuation coverage; and                                         location, your COBRA continuation coverage under the plan
   A copy of the written SSA determination must be provided           will be limited to out-of-network coverage only. In-network
    to the Plan Administrator within 60 calendar days after the        coverage is not available outside of the Employer’s service
    date the SSA determination is made AND before the end of           area. If the Employer offers another benefit option through
    the initial 18-month continuation period.                          Cigna or another carrier which can provide coverage in your
                                                                       location, you may elect COBRA continuation coverage under
If the SSA later determines that the individual is no longer           that option.
disabled, you must notify the Plan Administrator within 30
days after the date the final determination is made by SSA.            Employer’s Notification Requirements
The 11-month disability extension will terminate for all               Your Employer is required to provide you and/or your
covered persons on the first day of the month that is more than        Dependents with the following notices:
30 days after the date the SSA makes a final determination                An initial notification of COBRA continuation rights must
that the disabled individual is no longer disabled.                        be provided within 90 days after your (or your spouse’s)
All causes for “Termination of COBRA Continuation” listed                  coverage under the Plan begins (or the Plan first becomes
below will also apply to the period of disability extension.               subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                     you and/or your Dependents experience a qualifying event
                                                                           before the end of that 90-day period, the initial notice must
When the qualifying event is your termination of employment                be provided within the time frame required for the COBRA
or reduction in work hours and you became enrolled in                      continuation coverage election notice as explained below.
Medicare (Part A, Part B or both) within the 18 months before
the qualifying event, COBRA continuation coverage for your                A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                       following timeframes:
coverage will last for up to 18 months from the date of your                if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.                        and the period within which an Employer must notify the
Termination of COBRA Continuation                                            Plan Administrator of a qualifying event starts upon the
                                                                             loss of coverage, 44 days after loss of coverage under the
COBRA continuation coverage will be terminated upon the                      Plan;
occurrence of any of the following:
                                                                            if the Plan provides that COBRA continuation coverage
   the end of the COBRA continuation period of 18, 29 or 36                 and the period within which an Employer must notify the
    months, as applicable;                                                   Plan Administrator of a qualifying event starts upon the
   failure to pay the required premium within 30 calendar days              occurrence of a qualifying event, 44 days after the
    after the due date;                                                      qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;                       in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                  after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);               provide notice of a qualifying event to the Plan
                                                                             Administrator.
   after electing COBRA continuation coverage, a qualified
    beneficiary becomes covered under another group health             How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for         The COBRA coverage election notice will list the individuals
    which the new plan limits or excludes coverage under a pre-        who are eligible for COBRA continuation coverage and
    existing condition provision. In such case coverage will           inform you of the applicable premium. The notice will also
    continue until the earliest of: the end of the applicable          include instructions for electing COBRA continuation
    maximum period; the date the pre-existing condition                coverage. You must notify the Plan Administrator of your
    provision is no longer applicable; or the occurrence of an         election no later than the due date stated on the COBRA
    event described in one of the first three bullets above;           election notice. If a written election notice is required, it must


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be post-marked no later than the due date stated on the                Grace periods for subsequent payments
COBRA election notice. If you do not make proper                       Although subsequent payments are due by the first day of the
notification by the due date shown on the notice, you and your         month, you will be given a grace period of 30 days after the
Dependents will lose the right to elect COBRA continuation             first day of the coverage period to make each monthly
coverage. If you reject COBRA continuation coverage before             payment. Your COBRA continuation coverage will be
the due date, you may change your mind as long as you                  provided for each coverage period as long as payment for that
furnish a completed election form before the due date.                 coverage period is made before the end of the grace period for
Each qualified beneficiary has an independent right to elect           that payment. However, if your payment is received after the
COBRA continuation coverage. Continuation coverage may                 due date, your coverage under the Plan may be suspended
be elected for only one, several, or for all Dependents who are        during this time. Any providers who contact the Plan to
qualified beneficiaries. Parents may elect to continue coverage        confirm coverage during this time may be informed that
on behalf of their Dependent children. You or your spouse              coverage has been suspended. If payment is received before
may elect continuation coverage on behalf of all the qualified         the end of the grace period, your coverage will be reinstated
beneficiaries. You are not required to elect COBRA                     back to the beginning of the coverage period. This means that
continuation coverage in order for your Dependents to elect            any claim you submit for benefits while your coverage is
COBRA continuation.                                                    suspended may be denied and may have to be resubmitted
How Much Does COBRA Continuation Coverage Cost?                        once your coverage is reinstated. If you fail to make a
                                                                       payment before the end of the grace period for that coverage
Each qualified beneficiary may be required to pay the entire           period, you will lose all rights to COBRA continuation
cost of continuation coverage. The amount may not exceed               coverage under the Plan.
102% of the cost to the group health plan (including both
Employer and Employee contributions) for coverage of a                 You Must Give Notice of Certain Qualifying Events
similarly situated active Employee or family member. The               If you or your Dependent(s) experience one of the following
premium during the 11-month disability extension may not               qualifying events, you must notify the Plan Administrator
exceed 150% of the cost to the group health plan (including            within 60 calendar days after the later of the date the
both employer and employee contributions) for coverage of a            qualifying event occurs or the date coverage would cease as a
similarly situated active Employee or family member.                   result of the qualifying event:
For example: If the Employee alone elects COBRA                           Your divorce or legal separation; or
continuation coverage, the Employee will be charged 102%                  Your child ceases to qualify as a Dependent under the Plan.
(or 150%) of the active Employee premium. If the spouse or
one Dependent child alone elects COBRA continuation                       The occurrence of a secondary qualifying event as discussed
coverage, they will be charged 102% (or 150%) of the active                under “Secondary Qualifying Events” above (this notice
Employee premium. If more than one qualified beneficiary                   must be received prior to the end of the initial 18- or 29-
elects COBRA continuation coverage, they will be charged                   month COBRA period).
102% (or 150%) of the applicable family premium.                       (Also refer to the section titled “Disability Extension” for
When and How to Pay COBRA Premiums                                     additional notice requirements.)
First payment for COBRA continuation                                   Notice must be made in writing and must include: the name of
                                                                       the Plan, name and address of the Employee covered under the
If you elect COBRA continuation coverage, you do not have              Plan, name and address(es) of the qualified beneficiaries
to send any payment with the election form. However, you               affected by the qualifying event; the qualifying event; the date
must make your first payment no later than 45 calendar days            the qualifying event occurred; and supporting documentation
after the date of your election. (This is the date the Election        (e.g., divorce decree, birth certificate, disability determination,
Notice is postmarked, if mailed.) If you do not make your first        etc.).
payment within that 45 days, you will lose all COBRA
continuation rights under the Plan.                                    Newly Acquired Dependents
Subsequent payments                                                    If you acquire a new Dependent through marriage, birth,
                                                                       adoption or placement for adoption while your coverage is
After you make your first payment for COBRA continuation               being continued, you may cover such Dependent under your
coverage, you will be required to make subsequent payments             COBRA continuation coverage. However, only your newborn
of the required premium for each additional month of                   or adopted Dependent child is a qualified beneficiary and may
coverage. Payment is due on the first day of each month. If            continue COBRA continuation coverage for the remainder of
you make a payment on or before its due date, your coverage            the coverage period following your early termination of
under the Plan will continue for that coverage period without          COBRA coverage or due to a secondary qualifying event.
any break.


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COBRA coverage for your Dependent spouse and any                          The office designated to consider the appeal of denied claims
Dependent children who are not your children (e.g.,                       is:
stepchildren or grandchildren) will cease on the date your                  The Cigna Claim Office responsible for this Plan
COBRA coverage ceases and they are not eligible for a
secondary qualifying event.                                               The cost of the Plan is shared by Employee and Employer.
COBRA Continuation for Retirees Following Employer’s                      The Plan’s fiscal year ends on 12/31.
Bankruptcy                                                                The preceding pages set forth the eligibility requirements and
If you are covered as a retiree, and a proceeding in bankruptcy           benefits provided for you under this Plan.
is filed with respect to the Employer under Title 11 of the               Plan Trustees
United States Code, you may be entitled to COBRA                          A list of any Trustees of the Plan, which includes name, title
continuation coverage. If the bankruptcy results in a loss of             and address, is available upon request to the Plan
coverage for you, your Dependents or your surviving spouse                Administrator.
within one year before or after such proceeding, you and your
covered Dependents will become COBRA qualified                            Plan Type
beneficiaries with respect to the bankruptcy. You will be                 The plan is a healthcare benefit plan.
entitled to COBRA continuation coverage until your death.                 Collective Bargaining Agreements
Your surviving spouse and covered Dependent children will
                                                                          You may contact the Plan Administrator to determine whether
be entitled to COBRA continuation coverage for up to 36
                                                                          the Plan is maintained pursuant to one or more collective
months following your death. However, COBRA continuation
                                                                          bargaining agreements and if a particular Employer is a
coverage will cease upon the occurrence of any of the events
                                                                          sponsor. A copy is available for examination from the Plan
listed under “Termination of COBRA Continuation” above.
                                                                          Administrator upon written request.
Interaction With Other Continuation Benefits
                                                                          Discretionary Authority
You may be eligible for other continuation benefits under state
                                                                          The Plan Administrator delegates to Cigna the discretionary
law. Refer to the Termination section for any other
                                                                          authority to interpret and apply plan terms and to make factual
continuation benefits.
                                                                          determinations in connection with its review of claims under
                                                                          the plan. Such discretionary authority is intended to include,
HC-FED66                                                     07-14        but not limited to, the determination of the eligibility of
                                                                          persons desiring to enroll in or claim benefits under the plan,
                                                                          the determination of whether a person is entitled to benefits
                                                                          under the plan, and the computation of any and all benefit
ERISA Required Information                                                payments. The Plan Administrator also delegates to Cigna the
The name of the Plan is:                                                  discretionary authority to perform a full and fair review, as
  Arcadis U.S., Inc. Welfare Benefits Plan                                required by ERISA, of each claim denial which has been
                                                                          appealed by the claimant or his duly authorized representative.
The name, address, ZIP code and business telephone number
of the sponsor of the Plan is:                                            Plan Modification, Amendment and Termination
  Arcadis U.S., Inc.                                                      The Employer as Plan Sponsor reserves the right to, at any
  630 Plaza Dr., Suite 100                                                time, change or terminate benefits under the Plan, to change or
  Highlands Ranch, CO 80129                                               terminate the eligibility of classes of employees to be covered
  720-344-3500                                                            by the Plan, to amend or eliminate any other plan term or
                                                                          condition, and to terminate the whole plan or any part of it.
Employer Identification            Plan Number:
                                                                          Contact the Employer for the procedure by which benefits
Number (EIN):
                                                                          may be changed or terminated, by which the eligibility of
570373224                          530                                    classes of employees may be changed or terminated, or by
The name, address, ZIP code and business telephone number                 which part or all of the Plan may be terminated. No consent of
of the Plan Administrator is:                                             any participant is required to terminate, modify, amend or
                                                                          change the Plan.
  Employer named above
                                                                          Termination of the Plan together with termination of the
The name, address and ZIP code of the person designated as
                                                                          insurance policy(s) which funds the Plan benefits will have no
agent for service of legal process is:
                                                                          adverse effect on any benefits to be paid under the policy(s)
  Employer named above                                                    for any covered medical expenses incurred prior to the date
                                                                          that policy(s) terminates. Likewise, any extension of benefits


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under the policy(s) due to you or your Dependent's total                  Prudent Actions by Plan Fiduciaries
disability which began prior to and has continued beyond the              In addition to creating rights for plan participants, ERISA
date the policy(s) terminates will not be affected by the Plan            imposes duties upon the people responsible for the operation
termination. Rights to purchase limited amounts of life and               of the employee benefit plan. The people who operate your
medical insurance to replace part of the benefits lost because            plan, called “fiduciaries” of the Plan, have a duty to do so
the policy(s) terminated may arise under the terms of the                 prudently and in the interest of you and other plan participants
policy(s). A subsequent Plan termination will not affect the              and beneficiaries. No one, including your employer, your
extension of benefits and rights under the policy(s).                     union, or any other person may fire you or otherwise
Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights           not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income                      administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan
                                                                          or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:
                                                                          federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office             thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union           order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance            federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy               the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the             asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the             Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security                The court will decide who should pay court costs and legal
  Administration.                                                         fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)
    and updated summary plan description. The administrator
    may make a reasonable charge for the copies.
   receive a summary of the Plan’s annual financial report. The
    Plan Administrator is required by law to furnish each person
    under the Plan with a copy of this summary financial report.
Continue Group Health Plan Coverage
 continue health care coverage for yourself, your spouse or
  Dependents if there is a loss of coverage under the Plan as a
  result of a qualifying event. You or your Dependents may
  have to pay for such coverage. Review the documents
  governing the Plan on the rules governing your federal
  continuation coverage rights.


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Assistance with Your Questions                                           Ancillary Charge
If you have any questions about your plan, you should contact            An additional cost, outside of plan cost sharing detailed in The
the plan administrator. If you have any questions about this             Schedule of Prescription Drug Benefits, which may apply to
statement or about your rights under ERISA, or if you need               some Prescription Drug Products when you request a more
assistance in obtaining documents from the plan administrator,           expensive Brand Drug when a lower cost, Therapeutic
you should contact the nearest office of the Employee Benefits           Equivalent, Generic Drug is available. The Ancillary Charge
Security Administration, U.S. Department of Labor listed in              is the amount by which the cost of the requested Brand Drug
your telephone directory or the Division of Technical                    exceeds the cost of the Generic Drug.
Assistance and Inquiries, Employee Benefits Security
Administration, U.S. Department of Labor, 200 Constitution
                                                                         HC-DFS1553                                                   01-21
Avenue N.W., Washington, D.C. 20210. You may also obtain
certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the                   Biologic
Employee Benefits Security Administration.
                                                                         A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
                                                                         blood component or derivative, allergenic product, protein
HC-FED72                                                    05-15        (except any chemically synthesized polypeptide), or analogous
                                                                         product, or arsphenamine or derivative of arsphenamine (or
                                                                         any other trivalent organic arsenic compound), used for the
                                                                         prevention, treatment, or cure of a disease or condition of
Definitions                                                              human beings, as defined under Section 351(i) of the Public
Active Service                                                           Health Service Act (42 USC 262(i)) (as amended by the
                                                                         Biologics Price Competition and Innovation Act of 2009, title
You will be considered in Active Service:
                                                                         VII of the Patient Protection and Affordable Care Act, Pub. L.
   on any of your Employer's scheduled work days if you are             No. 111-148, § 7002 (2010), and as may be amended
    performing the regular duties of your work on that day               thereafter).
    either at your Employer's place of business or at some
    location to which you are required to travel for your
    Employer's business.                                                 HC-DFS840                                                    10-16

   on a day which is not one of your Employer's scheduled
    work days if you were in Active Service on the preceding             Biosimilar
    scheduled work day.                                                  A Biologic that is highly similar to the reference Biologic
                                                                         product notwithstanding minor differences in clinically
HC-DFS1095 M                                                12-17        inactive components, and has no clinically meaningful
                                                                         differences from the reference Biologic in terms of its safety,
                                                                         purity, and potency, as defined under Section 351(i) of the
Ambulance                                                                Public Health Service Act (42 USC 262(i)) (as amended by
Licensed ambulance transportation services involve the use of            the Biologics Price Competition and Innovation Act of 2009,
specially designed and equipped vehicles for transporting ill or         title VII of the Patient Protection and Affordable Care Act,
injured patients. It includes ground, air, or sea transportation         Pub. L. No. 111-148, § 7002 (2010), and as may be amended
when Medically Necessary and clinically appropriate.                     thereafter).


HC-DFS1480                                                  01-21        HC-DFS841                                                    10-16



                                                                         Brand Drug
                                                                         A Prescription Drug Product that Cigna identifies as a Brand
                                                                         Drug product across its book-of-business, principally based on
                                                                         available data resources, including, but not limited to, First
                                                                         DataBank or another nationally recognized drug indicator
                                                                         source, that classify drugs or Biologics as either brand or
                                                                         generic based on a number of factors. Not all products
                                                                         identified as a "brand name" by the manufacturer, Pharmacy,


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or your Physician may be classified as a Brand Drug under the              Convenience Care Clinics
plan.                                                                      Convenience Care Clinics are staffed by nurse practitioners
                                                                           and physician assistants and offer customers convenient,
HC-DFS842                                                     10-16
                                                                           professional walk-in care for common ailments and routine
                                                                           services. Convenience Care Clinics have extended hours and
                                                                           are located in or near easy-to-access, popular locations
Business Decision Team                                                     (pharmacies, grocery and free-standing locations) with or
A committee comprised of voting and non-voting                             without appointment.
representatives across various Cigna business units such as
clinical, medical and business leadership that is duly
                                                                           HC-DFS1629                                                     07-21
authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical
Pharmaceuticals based on clinical findings provided by the                 Custodial Services
P&T Committee, including, but not limited to, changes                      Any services that are of a sheltering, protective, or
regarding tier placement and application of utilization                    safeguarding nature. Such services may include a stay in an
management to Prescription Drug Products and Medical                       institutional setting, at-home care, or nursing services to care
Pharmaceuticals.                                                           for someone because of age or mental or physical condition.
                                                                           This service primarily helps the person in daily living.
HC-DFS1494                                                    07-20
                                                                           Custodial care also can provide medical services, given mainly
                                                                           to maintain the person’s current state of health. These services
                                                                           cannot be intended to greatly improve a medical condition;
Charges                                                                    they are intended to provide care while the patient cannot care
The term charges means the actual billed charges; except                   for himself or herself. Custodial Services include but are not
when Cigna has contracted directly or indirectly for a different           limited to:
amount including where Cigna has directly or indirectly                       Services related to watching or protecting a person;
contracted with an entity to arrange for the provision of
                                                                              Services related to performing or assisting a person in
services and/or supplies through contracts with providers of
                                                                               performing any activities of daily living, such as: walking,
such services and/or supplies.
                                                                               grooming, bathing, dressing, getting in or out of bed,
                                                                               toileting, eating, preparing foods, or taking medications that
HC-DFS1193                                                    01-19            can be self administered, and
                                                                              Services not required to be performed by trained or skilled
Chiropractic Care                                                              medical or paramedical personnel.
The term Chiropractic Care means the conservative
management of acute neuromusculoskeletal conditions                        HC-DFS4                                                        04-10

through manipulation and ancillary physiological treatment                                                                                   V1

rendered to specific joints to restore motion, reduce pain and
improve function.
                                                                           Dependent
                                                                           Dependents are:
HC-DFS1717                                                    01-22
                                                                              your lawful spouse; or
                                                                              your Domestic Partner; and
                                                                              any child of yours who is
                                                                                less than 26 years old.
                                                                                26 or more years old, unmarried, and primarily supported
                                                                                 by you and incapable of self-sustaining employment by
                                                                                 reason of mental or physical disability which arose while
                                                                                 the child was covered as a Dependent under this Plan, or
                                                                                 while covered as a dependent under a prior plan with no
                                                                                 break in coverage.



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      Proof of the child's condition and dependence may be                   are no less than 18 years of age;
      required to be submitted to the plan within 31 days after              are financially interdependent and have proven such
      the date the child ceases to qualify above. From time to                interdependence by providing documentation of at least two
      time, but not more frequently than once a year, the plan                of the following arrangements: Common ownership of real
      may require proof of the continuation of such condition                 property or a common leasehold interest in such property;
      and dependence.                                                         community ownership of a motor vehicle: a joint bank
The term child means a child born to you or a child legally                   account or a joint credit account; designation as a
adopted by you. It also includes a step child or child for whom               beneficiary for life insurance or retirement benefits or under
you are the legal guardian or custodial parent. If your                       a will; or assign of a durable power of attorney etc;
Domestic Partner has a child, that child will also be included               are not blood relatives any closer than would prohibit legal
as a dependent.                                                               marriage; and
Benefits for a Dependent child will continue until the last day              have signed jointly, a notarized affidavit attesting to the
of the calendar month in which the limiting age is reached.                   above which can be made available to Cigna upon request.
Anyone who is eligible as an Employee will not be considered              In addition, you and your Domestic Partner will be considered
as a Dependent or Dependent spouse unless the Dependent or                to have met the terms of this definition as long as neither you
Dependent spouse declines Employee coverage. A child under                nor your Domestic Partner:
age 26 may be covered as either an Employee or as a
Dependent child. You cannot be covered as an Employee                        has signed a Domestic Partner affidavit or declaration with
while also covered as a Dependent of an Employee.                             any other person within twelve months prior to designating
                                                                              each other as Domestic Partners hereunder;
No one may be considered as a Dependent of more than one
Employee.                                                                    is currently legally married to another person; or
                                                                             has any other Domestic Partner, spouse or spouse equivalent
                                                                              of the same or opposite sex.
HC-DFS1718 M                                                 01-22
                                                                          You and your Domestic Partner must have registered as
                                                                          Domestic Partners, if you reside in a state that provides for
Designated Pharmacy                                                       such registration.
A Network Pharmacy that has entered into an agreement with                The section of this certificate entitled "COBRA Continuation
Cigna, or with an entity contracting on Cigna’s behalf, to                Rights Under Federal Law" will not apply to your Domestic
provide Prescription Drug Products or services, including,                Partner and his or her Dependents.
without limitation, specific Prescription Drug Products, to plan
enrollees on a preferred or exclusive basis. For example, a
Designated Pharmacy may provide enrollees certain Specialty               HC-DFS47                                                        04-10
                                                                                                                                          V1 M
Prescription Drug Products that have limited distribution
availability, provide enrollees with an extended days’ supply
of Prescription Drug Products or provide enrollees with                   Emergency Medical Condition
Prescription Drug Products on a preferred cost share basis. A
                                                                          Emergency medical condition means a medical condition
Pharmacy that is a Network Pharmacy is not necessarily a
                                                                          which manifests itself by acute symptoms of sufficient
Designated Pharmacy.
                                                                          severity (including severe pain) such that a prudent layperson,
                                                                          who possesses an average knowledge of health and medicine,
HC-DFS1614                                                   01-22        could reasonably expect the absence of immediate medical
                                                                          attention to result in placing the health of the individual (or,
                                                                          with respect to a pregnant woman, the health of the woman or
Domestic Partner                                                          her unborn child) in serious jeopardy; serious impairment to
A domestic partnership is a personal relationship between two             bodily functions; or serious dysfunction of any bodily organ or
individuals living together and sharing a common domestic                 part.
life together, but not joined by marriage, civil union or any
other type of legal partnership. A domestic partnership can
                                                                          HC-DFS394                                                       11-10
consist of any two people who:
   share a permanent residence;
   have resided together for no less than one year;



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Emergency Services                                                       Expense Incurred
Emergency services means, with respect to an emergency                   An expense is incurred when the service or the supply for
medical condition, a medical screening examination that is               which it is incurred is provided.
within the capability of the emergency department of a
Hospital or of an independent freestanding emergency facility,
                                                                         HC-DFS10                                                        04-10
including ancillary services routinely available to the
                                                                                                                                           V1
emergency department to evaluate the emergency medical
condition; and such further medical examination and
treatment, to the extent they are within the capabilities of the         Free-Standing Surgical Facility
staff and facilities available at the Hospital, to stabilize the         The term Free-Standing Surgical Facility means an institution
patient.                                                                 which meets all of the following requirements:
                                                                            it has a medical staff of Physicians, Nurses and licensed
HC-DFS1696                                                  01-22            anesthesiologists;
                                                                            it maintains at least two operating rooms and one recovery
Employee                                                                     room;
The term Employee means a full-time or part-time Employee                   it maintains diagnostic laboratory and x-ray facilities;
of the Employer who is currently in Active Service. The term                it has equipment for emergency care;
does not include Employees who are temporary or who
                                                                            it has a blood supply;
normally work less than 30 hours a week for the Employer.
                                                                            it maintains medical records;
                                                                            it has agreements with Hospitals for immediate acceptance
HC-DFS1094 M                                                12-17
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
Employer                                                                    it is licensed in accordance with the laws of the appropriate
The term Employer means the plan sponsor self-insuring the                   legally authorized agency.
benefits described in this booklet, on whose behalf Cigna is             A Free-Standing Surgical Facility, unless specifically noted
providing claim administration services.                                 otherwise, is covered with the same cost share as an
                                                                         Outpatient Facility.
HC-DFS1615                                                  01-22

                                                                         HC-DFS1484                                                      01-21

Essential Health Benefits
Essential health benefits means, to the extent covered under             Generic Drug
the plan, expenses incurred with respect to covered services, in         A Prescription Drug Product that Cigna identifies as a Generic
at least the following categories: ambulatory patient services,          Drug product at a book-of-business level principally based on
emergency services, hospitalization, maternity and newborn               available data resources, including, but not limited to, First
care, mental health and substance use disorder services,                 DataBank or another nationally recognized drug indicator
including behavioral health treatment, prescription drugs,               source, that classify drugs or Biologics (including Biosimilars)
rehabilitative and habilitative services and devices, laboratory         as either brand or generic based on a number of factors. Not
services, preventive and wellness services and chronic disease           all products identified as a “generic” by the manufacturer,
management and pediatric services, including oral and vision             Pharmacy or your Physician may be classified as a Generic
care.                                                                    Drug under the plan. A Biosimilar may be classified as a
                                                                         Generic Drug for the purposes of benefits under the plan even
HC-DFS411                                                   01-11
                                                                         if it is identified as a “brand name” drug by the manufacturer,
                                                                         Pharmacy or your Physician.


                                                                         HC-DFS846                                                       10-16




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Hospice Care Program                                                               services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                               a hospital by the Joint Commission on the Accreditation of
                                                                                   Healthcare Organizations; or
   a coordinated, interdisciplinary program to meet the
    physical, psychological, spiritual and social needs of dying                  an institution which: specializes in treatment of Mental
    persons and their families;                                                    Health and Substance Use Disorder or other related illness;
                                                                                   provides residential treatment programs; and is licensed in
   a program that provides palliative and supportive medical,                     accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                    authorized agency.
    care during the illness;
                                                                               The term Hospital does not include an institution which is
   a program for persons who have a Terminal Illness and for                  primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                             home.

HC-DFS51                                                          04-10
                                                                               HC-DFS1485                                                       01-21
                                                                    V1


                                                                               Hospital Confinement or Confined in a Hospital
Hospice Care Services
                                                                               A person will be considered Confined in a Hospital if he is:
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar                           a registered bed patient in a Hospital upon the
institution, a Home Health Care Agency, a Hospice Facility,                        recommendation of a Physician;
or any other licensed facility or agency under a Hospice Care                     receiving treatment for Mental Health and Substance Use
Program.                                                                           Disorder Services in a Mental Health or Substance Use
                                                                                   Disorder Residential Treatment Center.
HC-DFS52                                                          04-10
                                                                    V1         HC-DFS807                                                        12-15



Hospice Facility                                                               Injury
The term Hospice Facility means an institution or part of it                   The term Injury means an accidental bodily injury.
which:
   primarily provides care for Terminally Ill patients;                       HC-DFS12                                                         04-10
   is accredited by the National Hospice Organization;                                                                                           V1

   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in
    which it operates.


HC-DFS53                                                          04-10
                                                                    V1



Hospital
The term Hospital means:
   an institution licensed as a hospital, which: maintains, on
    the premises, all facilities necessary for medical and
    surgical treatment; provides such treatment on an inpatient
    basis, for compensation, under the supervision of
    Physicians; and provides 24-hour service by Registered
    Graduate Nurses;
   an institution which qualifies as a hospital, a psychiatric
    hospital or a tuberculosis hospital, and a provider of


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Maintenance Drug Product                                                       as compiled in a database selected by Cigna. If sufficient
A Prescription Drug Product that is prescribed for use over an                 charge data is unavailable in the database for that
extended period of time for the treatment of chronic or long-                  geographic area to determine the Maximum Reimbursable
term conditions such as asthma, hypertension, diabetes and                     Charge, then data in the database for similar services may
heart disease, and is identified principally based on                          be used.
consideration of available data resources, including, but not              The Maximum Reimbursable Charge is subject to all other
limited to, First DataBank or another nationally recognized                benefit limitations and applicable coding and payment
drug indicator source and clinical factors. For the purposes of            methodologies determined by Cigna. Additional information
benefits, the list of your plan’s Maintenance Drug Products                about how Cigna determines the Maximum Reimbursable
does not include compounded medications, Specialty                         Charge is available upon request.
Prescription Drug Products or Prescription Drug Products,
such as certain narcotics that a Pharmacy cannot dispense
                                                                           HC-DFS1631 M                                                      01-22
above certain supply limits per Prescription Drug Order or
Refill under applicable federal or state law. You may
determine whether a drug is a Maintenance Medication by                    Medicaid
calling member services at the telephone number on your ID
                                                                           The term Medicaid means a state program of medical aid for
card.
                                                                           needy persons established under Title XIX of the Social
                                                                           Security Act of 1965 as amended.
HC-DFS847                                                     10-16

                                                                           HC-DFS16                                                          04-10

Maintenance Treatment                                                                                                                          V1

The term Maintenance Treatment means:
   treatment rendered to keep or maintain the patient's current           Medical Pharmaceutical
    status.                                                                Medical Pharmaceuticals are used for treatment of complex
                                                                           chronic conditions, are administered and handled in a
                                                                           specialized manner, and may be high cost. Because of their
HC-DFS56                                                      04-10
                                                                           characteristics, they require a qualified Physician to administer
                                                                V1
                                                                           or directly supervise administration. Some Medical
                                                                           Pharmaceuticals may initially or typically require Physician
Maximum Reimbursable Charge - Medical                                      oversight but subsequently may be self-administered under
The Maximum Reimbursable Charge for covered services for                   certain conditions specified in the product’s FDA labeling.
Open Access Plus is determined based on the lesser of the
provider’s normal charge for a similar service or supply;                  HC-DFS1722                                                        07-22
   the amount agreed to by the Out-of-Network provider and
   a policyholder-selected percentage of a fee schedule Cigna             Medically Necessary/Medical Necessity
    has developed that is based upon a methodology similar to a
                                                                           Health care services, supplies and medications provided for
    methodology utilized by Medicare to determine the
                                                                           the purpose of preventing, evaluating, diagnosing or treating a
    allowable reimbursement for the same or similar service
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
    within the geographic market.
                                                                           all of the following as determined by a Medical Director or
The percentage used to determine the Maximum Reimbursable                  Review Organization:
Charge is listed in The Schedule.
                                                                              required to diagnose or treat an illness, Injury, disease or its
In some cases, a Medicare based schedule will not be used and                  symptoms;
the Maximum Reimbursable Charge for covered services is
                                                                              in accordance with generally accepted standards of medical
determined based on the lesser of:
                                                                               practice;
   the provider’s normal charge for a similar service or supply;
                                                                              clinically appropriate in terms of type, frequency, extent,
   the amount agreed to by the Out-of-Network provider and                    site and duration;
    Cigna; or
                                                                              not primarily for the convenience of the patient, Physician
   the 80th percentile of charges made by providers of such                   or Other Health Professional;
    service or supply in the geographic area where it is received


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   not more costly than an alternative service(s), medication(s)               agreed to accept specified reimbursement rates for
    or supply(ies) that is at least as likely to produce equivalent              dispensing Prescription Drug Products.
    therapeutic or diagnostic results with the same safety profile              been designated as a Network Pharmacy for the purposes of
    as to the prevention, evaluation, diagnosis or treatment of                  coverage under your Employer’s plan.
    your Sickness, Injury, condition, disease or its symptoms;
    and                                                                      This term may also include, as applicable, an entity that has
                                                                             directly or indirectly contracted with Cigna to arrange for the
   rendered in the least intensive setting that is appropriate for          provision of any Prescription Drug Products the charges for
    the delivery of the services, supplies or medications. Where             which are Covered Expenses.
    applicable, the Medical Director or Review Organization
    may compare the cost-effectiveness of alternative services,
    supplies, medications or settings when determining least                 HC-DFS1198                                                    01-19

    intensive setting.
In determining whether health care services, supplies, or                    New Prescription Drug Product
medications are Medically Necessary, the Medical Director or
                                                                             A Prescription Drug Product, or new use or dosage form of a
Review Organization may rely on the clinical coverage
                                                                             previously FDA-approved Prescription Drug Product, for the
policies maintained by Cigna or the Review Organization.
                                                                             period of time starting on the date the Prescription Drug
Clinical coverage policies may incorporate, without limitation
                                                                             Product or newly-approved use or dosage form becomes
and as applicable, criteria relating to U.S. Food and Drug
                                                                             available on the market following approval by the U.S. Food
Administration-approved labeling, the standard medical
                                                                             and Drug Administration (FDA) and ending on the date Cigna
reference compendia and peer-reviewed, evidence-based
                                                                             makes a Prescription Drug List coverage status decision.
scientific literature or guidelines.

                                                                             HC-DFS1498                                                    07-20
HC-DFS1486                                                      01-21


                                                                             Nurse
Medicare
                                                                             The term Nurse means a Registered Graduate Nurse, a
The term Medicare means the program of medical care
                                                                             Licensed Practical Nurse or a Licensed Vocational Nurse who
benefits provided under Title XVIII of the Social Security Act
                                                                             has the right to use the abbreviation "R.N.," "L.P.N." or
of 1965 as amended.
                                                                             "L.V.N."

HC-DFS17                                                        04-10
                                                                             HC-DFS22                                                      04-10
                                                                  V1
                                                                                                                                               V1



Necessary Services and Supplies
                                                                             Other Health Care Facility
The term Necessary Services and Supplies includes any
                                                                             The term Other Health Care Facility means a facility other
charges, except charges for Room and Board, made by a
                                                                             than a Hospital or Hospice Facility. Examples of Other Health
Hospital for medical services and supplies actually used
                                                                             Care Facilities include, but are not limited to, licensed skilled
during Hospital Confinement.
                                                                             nursing facilities, rehabilitation Hospitals and subacute
The term Necessary Services and Supplies will not include                    facilities.
any charges for special nursing fees, dental fees or medical
fees.
                                                                             HC-DFS1489                                                    01-21


HC-DFS1488                                                      01-21
                                                                             Other Health Professional
                                                                             The term Other Health Professional means an individual other
Network Pharmacy
                                                                             than a Physician who is licensed or otherwise authorized under
A retail or home delivery Pharmacy that has:                                 the applicable state law to deliver medical services and
   entered into an agreement with Cigna or an entity                        supplies. Other Health Professionals include, but are not
    contracting on Cigna's behalf to provide Prescription Drug               limited to physical therapists, registered nurses and licensed
    Products to plan enrollees.                                              practical nurses. Other Health Professionals do not include


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providers such as Certified First Assistants, Certified                   compendia, or scientific studies published in peer-reviewed
Operating Room Technicians, Certified Surgical                            English-language bio-medical journals.
Assistants/Technicians, Licensed Certified Surgical
Assistants/Technicians, Licensed Surgical Assistants,
                                                                          HC-DFS1495                                                    07-20
Orthopedic Physician Assistants and Surgical First Assistants.

                                                                          Physician
HC-DFS1490                                                   01-21
                                                                          The term Physician means a licensed medical practitioner who
                                                                          is practicing within the scope of his license and who is
Participating Provider                                                    licensed to prescribe and administer drugs or to perform
The term Participating Provider means a person or entity that             surgery. It will also include any other licensed medical
has a direct or indirect contractual arrangement with Cigna to            practitioner whose services are required to be covered by law
provide covered services and/or supplies, the Charges for                 in the locality where the policy is issued if he is:
which are Covered Expenses. It includes an entity that has                   operating within the scope of his license; and
directly or indirectly contracted with Cigna to arrange, through
contracts with providers of services and/or supplies, for the                performing a service for which benefits are provided under
provision of any services and/or supplies, the Charges for                    this plan when performed by a Physician.
which are Covered Expenses.
                                                                          HC-DFS25                                                      04-10
                                                                                                                                          V1
HC-DFS1194                                                   01-19



Patient Protection and Affordable Care Act of 2010                        Pre-Deductible Preventive Medication
(“PPACA”)                                                                 Pre-Deductible Preventive Medications are certain
Patient Protection and Affordable Care Act of 2010 means the              Prescription Drug Products that the Treasury Department and
Patient Protection and Affordable Care Act of 2010 (Public                IRS have deemed to be preventive care under Section
Law 111-148) as amended by the Health Care and Education                  223(c)(2) of the Internal Revenue Code, and can therefore be
Reconciliation Act of 2010 (Public Law 111-152).                          provided by high deductible health plans on a pre-deductible
                                                                          basis. Pre-Deductible Preventive Medications are used to
                                                                          prevent a disease that has not yet manifested itself or not yet
HC-DFS412                                                    01-11        become clinically apparent or to prevent the reoccurrence of a
                                                                          disease from which a person has recovered, such as
                                                                          Prescription Drug Products with demonstrated effectiveness in
Pharmacy                                                                  primary or secondary disease prevention. The term Pre-
A duly licensed Pharmacy that dispenses Prescription Drug                 Deductible Preventive Medication does not include
Products in a retail setting or via home delivery. A home                 medications covered at 100% as required by PPACA per
delivery Pharmacy is a Pharmacy that primarily provides                   preventive services guidelines (“PPACA Preventive
Prescription Drug Products through mail order.                            Medication”), the terms of coverage for which are addressed
                                                                          separately in this plan.
HC-DFS851                                                    10-16

                                                                          HC-DFS1514                                                    01-20
                                                                                                                                          V1
Pharmacy & Therapeutics (P&T) Committee
A committee comprised of physicians and an independent
pharmacist that represent a range of clinical specialties. The
committee regularly reviews Medical Pharmaceuticals or
Prescription Drug Products, including New Prescription Drug
Products, for safety and efficacy, the findings of which clinical
reviews inform coverage determinations made by the Business
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug
Administration-approved labeling, standard medical reference



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Prescription Drug Charge                                                    Prescription Order or Refill
The Prescription Drug Charge is the amount that, prior to                   The lawful directive to dispense a Prescription Drug Product
application of the plan’s cost-share requirement(s), the plan               issued by a Physician whose scope of practice permits issuing
sponsor is obligated to pay for a covered Prescription Drug                 such a directive.
Product dispensed at a Network Pharmacy, including any
applicable dispensing fee and tax.
                                                                            HC-DFS856                                                     10-16


HC-DFS1320                                                    01-19
                                                                  V1
                                                                            PPACA Preventive Medication
                                                                            The Prescription Drug Products or other medications
                                                                            (including over-the-counter medications) designated as
Prescription Drug List                                                      payable by the plan at 100% of the cost (without application of
A list that categorizes drugs, Biologics (including Biosimilars)            any Deductible, Copayment or Coinsurance) as required by
or other products covered under the plan’s Prescription Drug                applicable law under any of the following:
benefits that have been approved by the U.S. Food and Drug                     Evidence-based items or services that have in effect a rating
Administration (FDA) into coverage tiers. This list is adopted                  of "A" or "B" in the current recommendations of the United
by your Employer as part of the plan. The list is subject to                    States Preventive Services Task Force.
periodic review and change, and is subject to the limitations
and exclusions of the plan. You may determine to which tier a                  With respect to infants, children and adolescents, evidence-
particular Prescription Drug Product has been assigned                          informed preventive care and screenings provided for in the
through the website shown on your ID card or by calling                         comprehensive guidelines supported by the Health
customer service at the telephone number on your ID card.                       Resources and Services Administration.
                                                                               With respect to women, such additional preventive care and
                                                                                screenings as provided for in comprehensive guidelines
HC-DFS1496                                                    07-20
                                                                                supported by the Health Resources and Services
                                                                                Administration.
Prescription Drug Product                                                   A written prescription is required to process a claim for a
A drug, Biologic (including a Biosimilar), or other product                 PPACA Preventive Medication. You may determine whether a
that has been approved by the U.S. Food and Drug                            drug is a PPACA Preventive Medication through the internet
Administration (FDA), certain products approved under the                   website shown on your ID card or by calling member services
Drug Efficacy Study Implementation review, or products                      at the telephone number on your ID card.
marketed prior to 1938 and not subject to review and that can,
under federal or state law, be dispensed only pursuant to a
                                                                            HC-DFS1513                                                    10-20
Prescription Order or Refill. For the purpose of benefits under
the plan, this definition may also include products in the
following categories if specifically identified in the                      Preventive Treatment
Prescription Drug List:                                                     The term Preventive Treatment means treatment rendered to
   Certain durable products and supplies that support drug                 prevent disease or its recurrence.
    therapy;
   Certain diagnostic testing and screening services that                  HC-DFS57                                                      04-10
    support drug therapy;                                                                                                                   V1

   Certain medication consultation and other medication
    administration services that support drug therapy; and
   Certain digital products, applications, electronic devices,
    software and cloud based service solutions used to predict,
    detect and monitor health conditions in support of drug
    therapy.


HC-DFS1633                                                    01-22




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Prescription Drug Product or Medical Pharmaceutical
                                                                          considered by Cigna to be a Specialty Prescription Drug
HC-DFS808                                                    12-15        Product based on consideration of the following factors,
                                                                          subject to applicable law: whether the Prescription Drug
                                                                          Product or Medical Pharmaceutical is prescribed and used for
Room and Board                                                            the treatment of a complex, chronic or rare condition; whether
The term Room and Board includes all charges made by a                    the Prescription Drug Product or Medical Pharmaceutical has
Hospital for room and meals and for all general services and              a high acquisition cost; and, whether the Prescription Drug
activities needed for the care of registered bed patients.                Product or Medical Pharmaceutical is subject to limited or
                                                                          restricted distribution, requires special handling and/or
                                                                          requires enhanced patient education, provider coordination or
HC-DFS1481                                                   01-21
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Prescription Drug Product or Medical Pharmaceutical will


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be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit                        Urgent Care
assignment based on factors such as method or site of clinical
administration, or by tier assignment or utilization                       Urgent Care is medical, surgical, Hospital or related health
management requirements based on factors such as acquisition               care services and testing which are not Emergency Services,
cost. You may determine whether a medication is a Specialty                but which are determined by Cigna, in accordance with
Prescription Drug Product through the website shown on your                generally accepted medical standards, to have been necessary
ID card or by calling member services at the telephone                     to treat a condition requiring prompt medical attention. This
number on your ID card.                                                    does not include care that could have been foreseen before
                                                                           leaving the immediate area where you ordinarily receive
                                                                           and/or were scheduled to receive services. Such care includes,
HC-DFS858                                                   10-16          but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
                                                                           that the insured should not travel due to any medical
Stabilize
                                                                           condition.
Stabilize means, with respect to an emergency medical
condition, to provide such medical treatment of the condition
as may be necessary to assure, within reasonable medical                   HC-DFS34                                                     04-10

probability that no material deterioration of the condition is                                                                            V1

likely to result from or occur during the transfer of the
individual from a facility.                                                Usual and Customary (U&C) Charge
                                                                           The usual fee that a Pharmacy charges individuals for a
HC-DFS413                                                   01-11          Prescription Drug Product (and any services related to the
                                                                           dispensing thereof) without reference to reimbursement to the
                                                                           Pharmacy by third parties. The Usual and Customary (U&C)
Terminal Illness                                                           Charge includes a dispensing fee and any applicable sales tax.
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.                                      HC-DFS861                                                    10-16




HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Prescription Drug Product or Medical Pharmaceutical that is
of the same therapeutic or pharmacological class, and usually
can be expected to have similar outcomes and adverse reaction
profiles when administered in therapeutically equivalent doses
as, another Prescription Drug Product, Medical
Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16




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                     Exhibit 4
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  Ecolab Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Health Savings Account



  EFFECTIVE DATE: January 1, 2021




  ASO45
  3331790




  This document printed in March, 2021 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY ECOLAB INC. WHICH IS RESPONSIBLE
FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES
CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE
BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan. These rebates or remuneration are not
Care Management and Care Coordination Services                           obtained on you or your Employer’s or plan’s behalf or for
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
Your plan may enter into specific collaborative arrangements
                                                                         to pass these rebates on to you, or apply them to your plan’s
with health care professionals committed to improving quality
                                                                         Deductible if any or take them into account in determining
care, patient satisfaction and affordability. Through these
                                                                         your Copayments and/or Coinsurance.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care                  Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate                  various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at                 this plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health               may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                  educational grants and research. Amounts received from
                                                                         pharmaceutical manufacturers pursuant to such arrangements
                                                                         are not related to this plan. Cigna and its affiliates are not
HC-SPP27                                                    06-15        required to pass on to you, and do not pass on to you, such
                                                                V1       amounts.


                                                                         HC-IMP287 M                                                    10-20
Important Notices
Direct Access to Obstetricians and Gynecologists                         Discrimination is Against the Law
You do not need prior authorization from the plan or from any            Cigna complies with applicable Federal civil rights laws and
other person (including a primary care provider) in order to             does not discriminate on the basis of race, color, national
obtain access to obstetrical or gynecological care from a health         origin, age, disability or sex. Cigna does not exclude people or
care professional in our network who specializes in obstetrics           treat them differently because of race, color, national origin,
or gynecology. The health care professional, however, may be             age, disability or sex.
required to comply with certain procedures, including
obtaining prior authorization for certain services, following a          Cigna:
pre-approved treatment plan, or procedures for making                       Provides free aids and services to people with disabilities to
referrals. For a list of participating health care professionals             communicate effectively with us, such as:
who specialize in obstetrics or gynecology, visit                             Qualified sign language interpreters
www.mycigna.com or contact customer service at the phone
number listed on the back of your ID card.                                    Written information in other formats (large print, audio,
                                                                               accessible electronic formats, other formats)
Selection of a Primary Care Provider
                                                                            Provides free language services to people whose primary
This plan generally allows the designation of a primary care                 language is not English, such as
provider. You have the right to designate any primary care
provider who participates in the network and who is available                 Qualified interpreters
to accept you or your family members. For information on                      Information written in other languages
how to select a primary care provider, and for a list of the             If you need these services, contact customer service at the toll-
participating primary care providers, visit www.mycigna.com              free phone number shown on your ID card, and ask a
or contact customer service at the phone number listed on the            Customer Service Associate for assistance.
back of your ID card.
For children, you may designate a pediatrician as the primary
care provider.


HC-NOT5                                                     01-11




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If you believe that Cigna has failed to provide these services            연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,
national origin, age, disability or sex, you can file a grievance         (TTY: 다이얼 711)번으로 전화해주십시오.
by sending an email to ACAGrievance@cigna.com or by                       Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                         tulong sa wika nang libre. Para sa mga kasalukuyang customer
  Cigna                                                                   ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
  Nondiscrimination Complaint Coordinator                                 kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
  P.O. Box 188016                                                         Russian – ВНИМАНИЕ: вам могут предоставить
  Chattanooga, TN 37422                                                   бесплатные услуги перевода. Если вы уже участвуете в
If you need assistance filing a written grievance, please call            плане Cigna, позвоните по номеру, указанному на
the number on the back of your ID card or send an email to                обратной стороне вашей идентификационной карточки
ACAGrievance@cigna.com. You can also file a civil rights                  участника плана. Если вы не являетесь участником одного
complaint with the U.S. Department of Health and Human                    из наших планов, позвоните по номеру 1.800.244.6224
Services, Office for Civil Rights electronically through the              (TTY: 711).
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
  U.S. Department of Health and Human Services
  200 Independence Avenue, SW
  Room 509F, HHH Building                                                 French Creole – ATANSYON: Gen sèvis èd nan lang ki
  Washington, D.C. 20201                                                  disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
  1-800-368-1019, 800-537-7697 (TDD)                                      dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
Complaint forms are available at                                          (TTY: Rele 711).
http://www.hhs.gov/ocr/office/file/index.html.                            French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                      07-17       Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                          carte d’identité. Sinon, veuillez appeler le numéro
                                                                          1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services
                                                                          Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
English – ATTENTION: Language assistance services, free                   assistência linguística, totalmente gratuitos. Para clientes
of charge, are available to you. For current Cigna customers,             Cigna atuais, ligue para o número que se encontra no verso do
call the number on the back of your ID card. Otherwise, call              seu cartão de identificação. Caso contrário, ligue para
1.800.244.6224 (TTY: Dial 711).                                           1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de                        Polish – UWAGA: w celu skorzystania z dostępnej,
idiomas, sin cargo, a su disposición. Si es un cliente actual de          bezpłatnej pomocy językowej, obecni klienci firmy Cigna
Cigna, llame al número que figura en el reverso de su tarjeta             mogą dzwonić pod numer podany na odwrocie karty
de identificación. Si no lo es, llame al 1.800.244.6224 (los              identyfikacyjnej. Wszystkie inne osoby prosimy o
usuarios de TTY deben llamar al 711).                                     skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。                                             Japanese –
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                           注意事項：日本語を話される場合、無料の言語支援サー
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                     ビスをご利用いただけます。現在のCignaの
Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp                  お客様は、IDカード裏面の電話番号まで、お電話にてご
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của                    連絡ください。その他の方は、1.800.244.6224（TTY:
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp             711）まで、お電話にてご連絡ください。
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                          Italian – ATTENZIONE: Sono disponibili servizi di
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                         assistenza linguistica gratuiti. Per i clienti Cigna attuali,
                                                                          chiamare il numero sul retro della tessera di identificazione.
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                            In caso contrario, chiamare il numero 1.800.244.6224 (utenti
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                               TTY: chiamare il numero 711).



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German – ACHTUNG: Die Leistungen der                                      To determine which document applies to your plan, select the
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                 relevant health plan product; medical management model
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die              (inpatient only or inpatient and outpatient) which can be
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                  located in this booklet immediately following The Schedule;
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                  and pharmacy coverage (whether or not your plan includes
Sie 711).                                                                 pharmacy coverage).


                                                                          HC-NOT113                                                    01-20




                                                                          How To File Your Claim
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
HC-NOT97                                                     07-17        provider will submit a claim to Cigna for reimbursement. Out-
                                                                          of-Network claims can be submitted by the provider if the
                                                                          provider is able and willing to file on your behalf. If the
Mental Health Parity and Addiction Equity Act of 2008                     provider is not submitting on your behalf, you must send your
(MHPAEA) - Non-Quantitative Treatment Limitations                         completed claim form and itemized bills to the claims address
(NQTLs)                                                                   listed on the claim form.
Federal MHPAEA regulations provide that a plan cannot                     You may get the required claim forms from the website listed
impose a Non-Quantitative Treatment Limitation (NQTL) on                  on your identification card or by using the toll-free number on
mental health or substance use disorder (MH/SUD) benefits in              your identification card.
any classification unless the processes, strategies, evidentiary
standards, or other factors used in applying the NQTL to                  CLAIM REMINDERS
MH/SUD benefits are comparable to, and are applied no more                 BE SURE TO USE YOUR MEMBER ID AND
stringently than, those used in applying the NQTL to                        ACCOUNT/GROUP NUMBER WHEN YOU FILE
medical/surgical benefits in the same classification of benefits            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
as written and in operation under the terms of the plan.                    YOUR CIGNA CLAIM OFFICE.
Non-Quantitative Treatment Limitations (NQTLs) include:                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
                                                                              BENEFIT IDENTIFICATION CARD.
   Medical management standards limiting or excluding
    benefits based on Medical Necessity or whether the                        YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
    treatment is experimental or investigative;                               YOUR BENEFIT IDENTIFICATION CARD.
   Prescription drug formulary design;                                      BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
   Network admission standards;
                                                                              WHEN SUBMITTING A CLAIM TO CIGNA.
   Methods for determining in-network and out-of-network
    provider reimbursement rates;                                         Timely Filing of Out-of-Network Claims
                                                                          Cigna will consider claims for coverage under our plans when
   Step therapy a/k/a fail-first requirements; and
                                                                          proof of loss (a claim) is submitted within 180 days for Out-
   Exclusions and/or restrictions based on geographic location,          of-Network benefits after services are rendered. If services are
    facility type or provider specialty.                                  rendered on consecutive days, such as for a Hospital
A description of your plan’s NQTL methodologies and                       Confinement, the limit will be counted from the last date of
processes applied to medical/surgical benefits and MH/SUD                 service. If claims are not submitted within 180 days for Out-
benefits is available for review by Plan Administrators (e.g.             of-Network benefits, the claim will not be considered valid
employers) and covered persons by accessing the appropriate               and will be denied.
link below:
    Employers (Plan Administrators):
    https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
    Log in, select Resources and Training, then select the
    NQTL document.
    Covered Persons: www.cigna.com\sp


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WARNING: Any person who knowingly and with intent to                        You will become insured on your first day of eligibility,
defraud any insurance company or other person files an                      following your election, if you are in Active Service on that
application for insurance or statement of claim containing any              date, or if you are not in Active Service on that date due to
materially false information; or conceals for the purpose of                your health status.
misleading, information concerning any material fact thereto,               Late Entrant - Employee
commits a fraudulent insurance act.
                                                                            You are a Late Entrant if:
                                                                               you elect the insurance more than 30 days after you become
HC-CLM25                                                       01-11
                                                                                eligible; or
                                                                V11
                                                                               you again elect it after you cancel your payroll deduction (if
                                                                                required).

Eligibility - Effective Date                                                Dependent Insurance
                                                                            For your Dependents to be insured, you will have to pay the
Employee Insurance                                                          required contribution, if any, toward the cost of Dependent
This plan is offered to you as an Employee.                                 Insurance.
Eligibility for Employee Insurance                                          Effective Date of Dependent Insurance
You will become eligible for insurance on the day you                       Insurance for your Dependents will become effective on the
complete the waiting period if:                                             date you elect it by signing an approved payroll deduction
   you are in a Class of Eligible Employees; and                           form (if required), but no earlier than the day you become
                                                                            eligible for Dependent Insurance. All of your Dependents as
   you are an eligible, full-time Employee who is regularly                defined will be included.
    scheduled to work a full-time work week; or
                                                                            Your Dependents will be insured only if you are insured.
   you are an eligible, part-time Employee who normally
    works at least 20 hours a week; and you pay any required                Late Entrant – Dependent
    contribution.                                                           You are a Late Entrant for Dependent Insurance if:
If you were previously insured and your insurance ceased, you                  you elect that insurance more than 30 days after you
must satisfy the Waiting Period to become insured again. If                     become eligible for it; or
your insurance ceased because you were no longer employed                      you again elect it after you cancel your payroll deduction (if
in a Class of Eligible Employees, you are not required to                       required).
satisfy any waiting period if you again become a member of a
Class of Eligible Employees within one year after your                      Exception for Newborns
insurance ceased.                                                           Any Dependent child born while you are insured will become
Eligibility for Dependent Insurance                                         insured on the date of his birth if you elect Dependent
                                                                            Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later               elect to insure your newborn child within such 31 days,
of:                                                                         coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                            for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                            HC-ELG274                                                      01-19
Waiting Period
None.
Classes of Eligible Employees                                               Important Information About Your
Each Employee as reported to the insurance company by your                  Medical Plan
Employer.
                                                                            Details of your medical benefits are described on the
Effective Date of Employee Insurance                                        following pages.
You will become insured on the date you elect the insurance
by signing an approved payroll deduction or enrollment form,
as applicable, but no earlier than the date you become eligible.



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Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.

Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
   .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will accumulate in one direction (that is, Out-of-Network will accumulate to
In-Network). All other plan maximums and service-specific maximums (dollar and occurrence) cross-accumulate between
In-
. and Out-of-Network unless otherwise noted.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Note:
For information about your health fund benefit and how it can help you pay for expenses that may not be covered under
this plan, refer to “What You Should Know about Cigna Choice Fund”.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
   provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
   excluding any In-Network copay or coinsurance; (ii) the Maximum Reimbursable Charge; or (iii) the amount payable
   under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                             Unlimited
The Percentage of Covered Expenses         80%                                      60% of the Maximum Reimbursable
the Plan Pays                                                                       Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
Maximum Reimbursable Charge is
determined based on the lesser of the
provider’s normal charge for a similar
service or supply; or
A policyholder-selected percentage of a    Not Applicable                 150%
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable fee for the
same or similar services within the
geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
  the provider’s normal charge for a
   similar service or supply; or
 the 80th percentile of charges made
   by providers of such service or
   supply in the geographic area where
   it is received as compiled in a
   database selected by Cigna. If
   sufficient charge data is unavailable
   in the database for that geographic
   area to determine the Maximum
   Reimbursable Charge, then data in
   the database for similar services may
   be used.
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles and coinsurance.
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.
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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $1,500 per person               $3,000 per person

  Family Maximum                          $3,000 per family               $6,000 per family

  Family Maximum Calculation
  Collective Deductible:
  All family members contribute
  towards the family deductible. An
  individual cannot have claims
  covered under the plan coinsurance
  until the total family deductible has
  been satisfied.
Out-of-Pocket Maximum
  Individual – Employee Only              $4,000 per person               $8,000 per person
  Individual – within a Family            $4,000 per person               $8,000 per person
  Family Maximum                          $8,000 per family               $16,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                       OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        80% after plan deductible            60% after plan deductible
  Visit


  Specialty Care Physician’s Office      80% after plan deductible            60% after plan deductible
  Visits
    Consultant and Referral
    Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with the
       Insurance Company.
  Surgery Performed in the Physician’s   80% after plan deductible            60% after plan deductible
  Office
  Second Opinion Consultations           80% after plan deductible            60% after plan deductible
  (provided on a voluntary basis)
  Allergy Treatment/Injections           80% after plan deductible            60% after plan deductible
  Allergy Serum (dispensed by the        80% after plan deductible            60% after plan deductible
  Physician in the office)
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
  Virtual Care Services for minor        80% after plan deductible            In-Network coverage only
  medical conditions
  Virtual Wellness Screenings            No charge                            In-Network coverage only
  Note:
  Lab services supporting a virtual
  wellness screening must be obtained
  through dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                 80% after plan deductible            60% after plan deductible
.




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages     No charge                             In-Network coverage only
  Immunizations - all ages               No charge                             In-Network coverage only
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       No charge                             60% after plan deductible
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      100% after plan deductible            Subject to the plan’s x-ray & lab
  “non-routine” services)                                                      benefit; based on place of service
.
Inpatient Hospital – Facility Services   80% after plan deductible             60% after plan deductible

  Semi-Private Room and Board            Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate        Limited to the ICU/CCU daily room
                                                                               rate

Outpatient Facility Services
 Operating Room, Recovery Room,          80% after plan deductible             60% after plan deductible
 Procedures Room, Treatment Room
 and Observation Room
Inpatient Hospital Physician’s           80% after plan deductible             60% after plan deductible
Visits/Consultations

Inpatient Hospital Professional          80% after plan deductible             60% after plan deductible
Services
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services         80% after plan deductible             60% after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                80% after plan deductible             80% after plan deductible
  Urgent Care Facility or Outpatient      80% after plan deductible             80% after plan deductible
  Facility
  Outpatient Professional Services        80% after plan deductible             80% after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       80% after plan deductible             80% after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     80% after plan deductible             80% after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Emergency Services
  Physician’s Office Visit                80% after plan deductible             80% after plan deductible
  Hospital Emergency Room                 80% after $150 per visit copay* and   80% after $150 per visit copay* and
                                          plan deductible                       plan deductible

  Outpatient Professional Services        80% after plan deductible             80% after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       80% after plan deductible             80% after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            80% after plan deductible             80% after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     80% after plan deductible             80% after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Ambulance                                 80% after plan deductible             80% after plan deductible

Inpatient Services at Other Health        80% after plan deductible             60% after plan deductible
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
. 120 days combined




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services (includes pre-
admission testing)
  Physician’s Office Visit                 80% after plan deductible            60% after plan deductible
  Outpatient Hospital Facility             80% after plan deductible            60% after plan deductible
  Independent Lab Facility                 80% after plan deductible            60% after plan deductible
Radiology Services (includes pre-
admission testing)
  Physician’s Office Visit                 80% after plan deductible            80% after plan deductible
  Outpatient Hospital Facility             80% after plan deductible            80% after plan deductible
  Independent X-ray Facility               80% after plan deductible            80% after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 80% after plan deductible            60% after plan deductible
  Inpatient Facility                       80% after plan deductible            60% after plan deductible
  Outpatient Facility                      80% after plan deductible            60% after plan deductible
Outpatient Therapy Services                80% after plan deductible            60% after plan deductible
  Calendar Year Maximum:
  In Network: Unlimited days for all
  therapies combined
  Out of Network: 20 days for all
  therapies combined

  Note: Physical Therapy , Speech
  Therapy and Occupational Therapy
  for developmental delay for a
  medical diagnosis are subject to the
  Short Term Rehabilitation maximum


  (The limit is not applicable to mental
  health conditions.)
  Includes:
  Cardiac Rehab
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  .




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      BENEFIT HIGHLIGHTS                         IN-NETWORK                         OUT-OF-NETWORK
Chiropractic Care
  Calendar Year Maximum:
  In Network : 30 days
  Out of Network: 20 days
  Physician’s Office Visit             80% after plan deductible             60% after plan deductible

  Note: Maximum accumulates In-
  Network to Out- of -Network
Acupuncture
  Calendar Year Maximum:
  In Network : 30 days
  Out of Network: 20 days
  Physician’s Office Visit             80% after plan deductible             60% after plan deductible

Home Health Care Services
  Calendar Year Maximum:               80% after plan deductible             60% after plan deductible
  Unlimited (includes outpatient
  private nursing when approved as
  Medically Necessary)

  Note: Maximum accumulates In-
  Network
  .       to Out- of -Network
Hospice
 Inpatient Services                    80% after plan deductible             60% after plan deductible
  Outpatient Services                  80% after plan deductible             60% after plan deductible
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                            80% after plan deductible             60% after plan deductible
  Outpatient                           80% after plan deductible             60% after plan deductible
Services provided by Mental Health     Covered under Mental Health benefit   Covered under Mental Health benefit
Professional
Outpatient Dialysis Treatment
 Physician’s Office Visit              80% after plan deductible             In-Network coverage only
  Home Dialysis                        80% after plan deductible             In-Network coverage only
  Calendar Year Maximum:
  Unlimited
  Outpatient Facility                  80% after plan deductible             In-Network coverage only
  Outpatient Professional Services                                           In-Network coverage only




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                           OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost     In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        80% after plan deductible               In-Network coverage only
  Outpatient Facility                       80% after plan deductible               In-Network coverage only
  Physician’s Services                      80% after plan deductible               In-Network coverage only
  Travel Maximum:                           No charge after plan deductible         In-Network coverage only
  $10,000 per episode of gene therapy       (available only for travel when prior
                                            authorized to receive gene therapy at
                                            a participating In-Network facility
                                            specifically contracted with Cigna to
                                            provide the specific gene therapy)
Medical Pharmaceuticals
  Physician’s Office                        80% after plan deductible               60% after plan deductible
  Home Care                                 80% after plan deductible               60% after plan deductible
  Inpatient Facility                        80% after plan deductible               60% after plan deductible
  Outpatient Facility                       80% after plan deductible               60% after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                       OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy       80% after plan deductible            60% after plan deductible

  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,         80% after plan deductible            60% after plan deductible
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition   80% after plan deductible            60% after plan deductible
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                     80% after plan deductible            60% after plan deductible
  (Inpatient Hospital, Birthing Center)
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                80% after plan deductible            60% after plan deductible
  Inpatient Facility                      80% after plan deductible            60% after plan deductible
  Outpatient Facility                     80% after plan deductible            60% after plan deductible
  Physician’s Services                    80% after plan deductible            60% after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                            60% after plan deductible
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                            60% after plan deductible
    Inpatient Facility                    No charge                            60% after plan deductible
    Outpatient Facility                   No charge                            60% after plan deductible
    Physician’s Services                  No charge                            60% after plan deductible



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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Men’s Family Planning Services
    Office Visits, Lab and Radiology            80% after plan deductible                  60% after plan deductible
    Tests and Counseling
    Surgical Sterilization Procedures for
    Vasectomy (excludes reversals)
        Physician’s Office Visit                80% after plan deductible                  60% after plan deductible
        Inpatient Facility                      80% after plan deductible                  60% after plan deductible
        Outpatient Facility                     80% after plan deductible                  60% after plan deductible
        Physician’s Services                    80% after plan deductible                  60% after plan deductible
Infertility and Conception Services
Services offered through WINFertility
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Treatment and/or procedures performed to enable conception with or without an infertility condition.
       Artificial Insemination/ Intrauterine insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
       Fertility preservation when an infertility condition is imminent.
       Access to reproductive services for the purpose of pre-implantation genetic diagnosis (PGD) and embryo selection
        when parent(s), though fertile, are known carriers of genes associated with birth defects.
.
    Physician’s Office Visit (Lab and           80% after plan deductible                  60% after plan deductible
    Radiology Tests, Counseling)
    Inpatient Facility                          80% after plan deductible                  60% after plan deductible
    Outpatient Facility                         80% after plan deductible                  60% after plan deductible
    Physician’s Services                        80% after plan deductible                  60% after plan deductible
    Cryopreserved Reproductive
    Material
    Storage Maximum
    1 year

    Calendar Year:
    $30,000 per member
    In-network and out-of-network
    services accumulate to the one
    maximum.
    .




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Organ Transplants
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                 80% after plan deductible               In-Network coverage only
  Inpatient Facility                       100% at LifeSOURCE center after         In-Network coverage only
                                           plan deductible, otherwise 80% after
                                           plan deductible
  Physician’s Services                     100% at LifeSOURCE center after         In-Network coverage only
                                           plan deductible, otherwise 80% after
                                           plan deductible
  Lifetime Travel Maximum:                 No charge after plan deductible (only   In-Network coverage only
  $10,000 per transplant                   available when using LifeSOURCE
  .                                        facility)
Durable Medical Equipment
  Calendar Year Maximum:                   80% after plan deductible               60% after plan deductible
  Unlimited
  .
Breast Feeding Equipment and
Supplies
  Note:                                    No charge                               60% after plan deductible
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                          OUT-OF-NETWORK
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible             60% after plan deductible
  Unlimited
  .
Hearing Aids
  Calendar Year Maximum:                    80% after plan deductible             60% after plan deductible
  $500
Hearing Services
 Note : Limited to Routine Hearing          100% after plan deductible            In-Network coverage only
 Exam
Wigs
  Calendar Year Maximum:                    80% after plan deductible             60% after plan deductible
  $1,000
Foot Orthotics                              80% after plan deductible             60% after plan deductible

Varicose Vein Treatment                     80% after plan deductible             60% after plan deductible

Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  80% after plan deductible             60% after plan deductible
  Inpatient Facility                        80% after plan deductible             60% after plan deductible
  Outpatient Facility                       80% after plan deductible             60% after plan deductible
  Physician’s Services                      80% after plan deductible             60% after plan deductible

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  80% after plan deductible             60% after plan deductible
  Inpatient Facility                        80% after plan deductible             60% after plan deductible
  Outpatient Facility                       80% after plan deductible             60% after plan deductible
  Physician’s Services                      80% after plan deductible             60% after plan deductible
  .




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth. Dental surgery is covered, but
limited to medically necessary dental
surgery, including Dental Anesthesia,
Apicoectomy, Gingivectomy or
Gingivoplasty, Clinical Crown
Lengthening, Osseous Surgery, Bone
Replacement Graft, Soft Tissue Graft,
Guided Tissues Regeneration, Distal or
Proximal Wedge Procedure, Surgical
Removal of Erupted Tooth requiring
elevation of Mucoperiosteal Flap and
removal of Bone and/or Section of
Tooth, Removal of Impacted Teeth and
Surgical Removal of Residual Tooth
Roots.
   Physician’s Office Visit                 80% after plan deductible            60% after plan deductible
  Inpatient Facility                        80% after plan deductible            60% after plan deductible
  Outpatient Facility                       80% after plan deductible            60% after plan deductible
  Physician’s Services                      80% after plan deductible            60% after plan deductible
TMJ Surgical and Non-Surgical
Always excludes appliances and
orthodontic treatment.
  Physician’s Office Visit                  80% after plan deductible            60% after plan deductible
  Inpatient Facility                        80% after plan deductible            60% after plan deductible
  Outpatient Facility                       80% after plan deductible            60% after plan deductible

. Physician’s Services                      80% after plan deductible            60% after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                 80% after plan deductible                 In-Network coverage only
  Inpatient Facility                       80% after plan deductible                 In-Network coverage only
  Outpatient Facility                      80% after plan deductible                 In-Network coverage only

  Physician’s Services                     80% after plan deductible                 In-Network coverage only
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
 Inpatient                                 80% after plan deductible                 60% after plan deductible
   Includes Acute Inpatient and
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits              80% after plan deductible                 60% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services        80% after plan deductible                 60% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
       .




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             80% after plan deductible            60% after plan deductible
    Includes Acute Inpatient
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           80% after plan deductible            60% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible            60% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $500 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $500 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Bed and Board, for treatment listed               Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary
                                                                                 defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a                             the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in                     Schedule of the Bright Futures Recommendations for
    The Schedule.                                                                  Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest                         the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can                       on Heritable Disorders in Newborns and Children; and
    be provided.
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received                     care and screening guidelines supported by the Health
    at a Hospital.                                                                 Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.                 Home Health Care Services
    For additional information on immunizations, visit the                    charges made for Home Health Care Services when you:
    immunization schedule section of www.cdc.gov.                              require skilled care; are unable to obtain the required care as
   charges for surgical and non-surgical treatment of                         an ambulatory outpatient; and do not require confinement in
    Temporomandibular Joint Dysfunction (TMJ).                                 a Hospital or Other Health Care Facility.
   Medical prescription drugs when administered by a                          Home Health Care Services are provided only if Cigna has
    Physician, or in an inpatient/outpatient setting.                          determined that the home is a medically appropriate setting.
   charges for acupuncture.                                                   If you are a minor or an adult who is dependent upon others
                                                                               for nonskilled care and/or custodial services (e.g., bathing,
   charges for hearing aids and associated exam for device                    eating, toileting), Home Health Care Services will be
    testing and fitting, including but not limited to semi-                    provided for you only during times when there is a family
    implantable hearing devices, audiant bone conductors and                   member or care giver present in the home to meet your
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is                       nonskilled care and/or custodial services needs.
    any device that amplifies sound.
                                                                               Home Health Care Services are those skilled health care
   charges for the delivery of medical and health-related                     services that can be provided during visits by Other Health
    services and consultations by dedicated virtual providers as               Professionals. The services of a home health aide are
    medically appropriate through audio, video, and secure                     covered when rendered in direct support of skilled health
    internet-based technologies.                                               care services provided by Other Health Professionals. A
   charges for the delivery of medical and health-related                     visit is defined as a period of 2 hours or less. Home Health
    services and consultations as medically appropriate through                Care Services are subject to a maximum of 16 hours in total
    audio, video, and secure internet-based technologies that are              per day. Necessary consumable medical supplies and home
    similar to office visit services provided in a face-to-face                infusion therapy administered or used by Other Health
    setting.                                                                   Professionals in providing Home Health Care Services are
   behavioral consultations and services via secure                           covered.
    telecommunications technologies that shall include video                   Home Health Care Services do not include services by a
    capability, including telephones and internet, when                        person who is a member of your family or your
    delivered through a behavioral provider.                                   Dependent’s family or who normally resides in your house
   charges made for varicose vein treatment, limited to non-                  or your Dependent’s house even if that person is an Other
    cosmetic surgery when medically necessary.                                 Health Professional. Skilled nursing services or private duty
                                                                               nursing services provided in the home are subject to the
Nutritional Counseling                                                         Home Health Care Services benefit terms, conditions and
Charges for nutritional counseling when diet is a part of the                  benefit limitations. Outpatient Therapy Services provided in
medical management of a medical or behavioral condition.                       the home are not subject to the Home Health Care Services
Enteral Nutrition                                                              benefit limitations in the Schedule, but are subject to the
                                                                               benefit limitations described under Outpatient Therapy
Enteral Nutrition means medical foods that are specially
                                                                               Services Maximum shown in The Schedule.
formulated for enteral feedings or oral consumption.
Coverage includes medically approved formulas prescribed by
a Physician for treatment of inborn errors of metabolism (e.g.,              HC-COV979                                                    01-21

disorders of amino acid or organic acid metabolism).
Internal Prosthetic/Medical Appliances                                       Hospice Care Services
Charges for internal prosthetic/medical appliances that provide               charges for a person who has been diagnosed as having six
permanent or temporary internal functional supports for non-                   months or fewer to live, due to Terminal Illness, for the
functional body parts are covered. Medically Necessary repair,                 following Hospice Care Services provided under a Hospice
maintenance or replacement of a covered appliance is also                      Care Program:
covered.                                                                        by a Hospice Facility for Room and Board and Services
                                                                                  and Supplies;
HC-COV976                                                       01-21           by a Hospice Facility for services provided on an
                                                                                  outpatient basis;
                                                                                by a Physician for professional services;




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     by a Psychologist, social worker, family counselor or                    Inpatient Mental Health Services
      ordained minister for individual and family counseling;                  Services that are provided by a Hospital while you or your
     for pain relief treatment, including drugs, medicines and                Dependent is Confined in a Hospital for the treatment and
      medical supplies;                                                        evaluation of Mental Health. Inpatient Mental Health Services
     by an Other Health Care Facility for:                                    include Mental Health Residential Treatment Services.
         part-time or intermittent nursing care by or under the               Mental Health Residential Treatment Services are services
          supervision of a Nurse;                                              provided by a Hospital for the evaluation and treatment of the
                                                                               psychological and social functional disturbances that are a
         part-time or intermittent services of an Other Health                result of subacute Mental Health conditions.
          Professional;
                                                                               Mental Health Residential Treatment Center means an
     charges for physical, occupational and speech therapy;
                                                                               institution which specializes in the treatment of psychological
     charges for medical supplies; drugs and medicines                        and social disturbances that are the result of Mental Health
      lawfully dispensed only on the written prescription of a                 conditions; provides a subacute, structured, psychotherapeutic
      Physician; and laboratory services; but only to the extent               treatment program, under the supervision of Physicians;
      such charges would have been payable under the policy if                 provides 24-hour care, in which a person lives in an open
      the person had remained or been Confined in a Hospital                   setting; and is licensed in accordance with the laws of the
      or Hospice Facility.                                                     appropriate legally authorized agency as a residential
The following charges for Hospice Care Services are not                        treatment center.
included as Covered Expenses:                                                  A person is considered confined in a Mental Health
   for the services of a person who is a member of your family                Residential Treatment Center when she/he is a registered bed
    or your Dependent's family or who normally resides in your                 patient in a Mental Health Residential Treatment Center upon
    house or your Dependent's house;                                           the recommendation of a Physician.
   for any period when you or your Dependent is not under the                 Outpatient Mental Health Services
    care of a Physician;                                                       Services of Providers who are qualified to treat Mental Health
   for services or supplies not listed in the Hospice Care                    when treatment is provided on an outpatient basis, while you
    Program;                                                                   or your Dependent is not Confined in a Hospital, and is
                                                                               provided in an individual, group or Mental Health Partial
   for any curative or life-prolonging procedures;
                                                                               Hospitalization or Intensive Outpatient Therapy Program.
   to the extent that any other benefits are payable for those                Covered services include, but are not limited to, outpatient
    expenses under the policy;                                                 treatment of conditions such as: anxiety or depression which
   for services or supplies that are primarily to aid you or your             interfere with daily functioning; emotional adjustment or
    Dependent in daily living.                                                 concerns related to chronic conditions, such as psychosis or
                                                                               depression; emotional reactions associated with marital
                                                                               problems or divorce; child/adolescent problems of conduct or
HC-COV980                                                         01-21        poor impulse control; affective disorders; suicidal or
                                                                               homicidal threats or acts; eating disorders; or acute
Mental Health and Substance Use Disorder Services                              exacerbation of chronic Mental Health conditions (crisis
                                                                               intervention and relapse prevention) and outpatient testing and
Mental Health Services are services that are required to treat                 assessment.
a disorder that impairs the behavior, emotional reaction or
thought processes. In determining benefits payable, charges                    Mental Health Partial Hospitalization Services are rendered
made for the treatment of any physiological conditions related                 not less than 4 hours and not more than 12 hours in any 24-
to Mental Health will not be considered to be charges made                     hour period by a certified/licensed Mental Health program in
for treatment of Mental Health.                                                accordance with the laws of the appropriate legally authorized
                                                                               agency.
Substance Use Disorder is defined as the psychological or
physical dependence on alcohol or other mind-altering drugs                    A Mental Health Intensive Outpatient Therapy Program
that requires diagnosis, care, and treatment. In determining                   consists of distinct levels or phases of treatment that are
benefits payable, charges made for the treatment of any                        provided by a certified/licensed Mental Health program in
physiological conditions related to rehabilitation services for                accordance with the laws of the appropriate, legally authorized
alcohol or drug abuse or addiction will not be considered to be                agency. Intensive Outpatient Therapy Programs provide a
charges made for treatment of Substance Use Disorder.                          combination of individual, family and/or group therapy in a
                                                                               day, totaling nine or more hours in a week.


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Inpatient Substance Use Disorder Rehabilitation Services               Exclusions
Services provided for rehabilitation, while you or your                The following are specifically excluded from Mental Health
Dependent is Confined in a Hospital, when required for the             and Substance Use Disorder Services:
diagnosis and treatment of abuse or addiction to alcohol and/or           treatment of disorders which have been diagnosed as
drugs. Inpatient Substance Use Disorder Services include                   organic mental disorders associated with permanent
Residential Treatment services.                                            dysfunction of the brain.
Substance Use Disorder Residential Treatment Services                     developmental disorders, including but not limited to,
are services provided by a Hospital for the evaluation and                 developmental reading disorders, developmental arithmetic
treatment of the psychological and social functional                       disorders, developmental language disorders or
disturbances that are a result of subacute Substance Use                   developmental articulation disorders.
Disorder conditions.
                                                                          counseling for activities of an educational nature.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for borderline intellectual functioning.
psychological and social disturbances that are the result of              counseling for occupational problems.
Substance Use Disorder; provides a subacute, structured,                  counseling related to consciousness raising.
psychotherapeutic treatment program, under the supervision of
                                                                          vocational or religious counseling.
Physicians; provides 24-hour care, in which a person lives in
an open setting; and is licensed in accordance with the laws of           I.Q. testing.
the appropriate legally authorized agency as a residential                custodial care, including but not limited to geriatric day
treatment center.                                                          care.
A person is considered confined in a Substance Use Disorder               psychological testing on children requested by or for a
Residential Treatment Center when she/he is a registered bed               school system.
patient in a Substance Use Disorder Residential Treatment
                                                                          occupational/recreational therapy programs even if
Center upon the recommendation of a Physician.
                                                                           combined with supportive therapy for age-related cognitive
Outpatient Substance Use Disorder Rehabilitation Services                  decline.
Services provided for the diagnosis and treatment of
Substance Use Disorder or addiction to alcohol and/or drugs,
                                                                       HC-COV481                                                        12-15
while you or your Dependent is not Confined in a Hospital,
including outpatient rehabilitation in an individual, or a
Substance Use Disorder Partial Hospitalization or Intensive            Durable Medical Equipment
Outpatient Therapy Program.                                             charges made for purchase or rental of Durable Medical
Substance Use Disorder Partial Hospitalization Services are              Equipment that is ordered or prescribed by a Physician and
rendered no less than 4 hours and not more than 12 hours in              provided by a vendor approved by Cigna for use outside a
any 24-hour period by a certified/licensed Substance Use                 Hospital or Other Health Care Facility. Coverage for repair,
Disorder program in accordance with the laws of the                      replacement or duplicate equipment is provided only when
appropriate legally authorized agency.                                   required due to anatomical change and/or reasonable wear
A Substance Use Disorder Intensive Outpatient Therapy                    and tear. All maintenance and repairs that result from a
Program consists of distinct levels or phases of treatment that          person’s misuse are the person’s responsibility. Coverage
are provided by a certified/licensed Substance Use Disorder              for Durable Medical Equipment is limited to the lowest-cost
program in accordance with the laws of the appropriate legally           alternative as determined by the utilization review
authorized agency. Intensive Outpatient Therapy Programs                 Physician.
provide a combination of individual, family and/or group               Durable Medical Equipment is defined as items which are
therapy in a day, totaling nine, or more hours in a week.              designed for and able to withstand repeated use by more than
Substance Use Disorder Detoxification Services                         one person; customarily serve a medical purpose; generally
                                                                       are not useful in the absence of Injury or Sickness; are
Detoxification and related medical ancillary services are              appropriate for use in the home; and are not disposable. Such
provided when required for the diagnosis and treatment of              equipment includes, but is not limited to, crutches, hospital
addiction to alcohol and/or drugs. Cigna will decide, based on         beds, respirators, wheel chairs, and dialysis machines.
the Medical Necessity of each situation, whether such services
will be provided in an inpatient or outpatient setting.




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Durable Medical Equipment items that are not covered                                  terminal devices such as hands or hooks;
include but are not limited to those that are listed below:                           speech prostheses; and
   Bed Related Items: bed trays, over the bed tables, bed                            facial prostheses.
    wedges, pillows, custom bedroom equipment, mattresses,
    including nonpower mattresses, custom mattresses and                           Orthoses and Orthotic Devices
    posturepedic mattresses.                                                       Orthoses and orthotic devices are defined as orthopedic
   Bath Related Items: bath lifts, nonportable whirlpools,                        appliances or apparatuses used to support, align, prevent or
    bathtub rails, toilet rails, raised toilet seats, bath benches,                correct deformities. Coverage is provided for custom foot
    bath stools, hand held showers, paraffin baths, bath mats,                     orthoses and other orthoses as follows:
    and spas.                                                                         Non-foot orthoses – only the following non-foot orthoses
   Chairs, Lifts and Standing Devices: computerized or                                are covered:
    gyroscopic mobility systems, roll about chairs, geriatric                           rigid and semi-rigid custom fabricated orthoses;
    chairs, hip chairs, seat lifts (mechanical or motorized),                           semi-rigid prefabricated and flexible orthoses; and
    patient lifts (mechanical or motorized – manual hydraulic
                                                                                        rigid prefabricated orthoses including preparation, fitting
    lifts are covered if patient is two-person transfer), and auto
                                                                                         and basic additions, such as bars and joints.
    tilt chairs.
                                                                                      Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair
    ramps.                                                                             covered as follows:
                                                                                        for persons with impaired peripheral sensation and/or
 Car/Van Modifications.
                                                                                         altered peripheral circulation (e.g. diabetic neuropathy
 Air Quality Items: room humidifiers, vaporizers, air                                   and peripheral vascular disease);
  purifiers and electrostatic machines.
                                                                                        when the foot orthosis is an integral part of a leg brace
   Blood/Injection Related Items: blood pressure cuffs,                                 and is necessary for the proper functioning of the brace;
    centrifuges, nova pens and needleless injectors.
                                                                                        when the foot orthosis is for use as a replacement or
   Other Equipment: heat lamps, heating pads, cryounits,                                substitute for missing parts of the foot (e.g. amputated
    cryotherapy machines, electronic-controlled therapy units,                           toes) and is necessary for the alleviation or correction of
    ultraviolet cabinets, sheepskin pads and boots, postural                             Injury, Sickness or congenital defect; and
    drainage board, AC/DC adaptors, enuresis alarms, magnetic
                                                                                        for persons with neurologic or neuromuscular condition
    equipment, scales (baby and adult), stair gliders, elevators,
    saunas, any exercise equipment and diathermy machines.                               (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                         spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
HC-COV8                                                               04-10              improvement.
                                                                        V2
                                                                                   The following are specifically excluded orthoses and orthotic
                                                                                   devices:
External Prosthetic Appliances and Devices                                            prefabricated foot orthoses;
 charges made or ordered by a Physician for: the initial                             orthosis shoes, shoe additions, procedures for foot
  purchase and fitting of external prosthetic appliances and                           orthopedic shoes, shoe modifications and transfers;
  devices available only by prescription which are necessary                          non-foot orthoses primarily used for cosmetic rather than
  for the alleviation or correction of Injury, Sickness or                             functional reasons; and
  congenital defect.
                                                                                      non-foot orthoses primarily for improved athletic
External prosthetic appliances and devices include                                     performance or sports participation.
prostheses/prosthetic appliances and devices; orthoses and
orthotic devices; braces; and splints.                                             Braces
Prostheses/Prosthetic Appliances and Devices                                       A Brace is defined as an orthosis or orthopedic appliance that
                                                                                   supports or holds in correct position any movable part of the
Prostheses/prosthetic appliances and devices are defined as                        body and that allows for motion of that part.
fabricated replacements for missing body parts.
Prostheses/prosthetic appliances and devices include, but are                      The following braces are specifically excluded: Copes
not limited to:                                                                    scoliosis braces.
   limb prostheses;



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Splints                                                                          in pregnancy; laboratory tests; sperm washing or preparation;
A Splint is defined as an appliance for preventing movement                      artificial insemination; diagnostic evaluations; gamete
of a joint or for the fixation of displaced or movable parts.                    intrafallopian transfer (GIFT); in vitro fertilization (IVF);
                                                                                 zygote intrafallopian transfer (ZIFT); and the services of an
Coverage for replacement of external prosthetic appliances                       embryologist; gamete intrafallopian transfer (GIFT); in vitro
and devices is limited to the following:                                         fertilization (IVF); zygote intrafallopian transfer (ZIFT); and
   replacement due to regular wear. Replacement for damage                      the services of an embryologist.
    due to abuse or misuse by the person will not be covered.                        Infertility is defined as:
   replacement required because anatomic change has rendered                         the inability of opposite-sex partners to achieve
    the external prosthetic appliance or device ineffective.                           conception after at least one year of unprotected
    Anatomic change includes significant weight gain or loss,                          intercourse;
    atrophy and/or growth.
                                                                                      the inability of opposite-sex partners to achieve
   replacement due to a surgical alteration or revision of the                        conception after six months of unprotected intercourse,
    impacted site.                                                                     when the female partner trying to conceive is age 35 or
Coverage for replacement is limited as follows:                                        older;
   no more than once every 24 months for persons 19 years of                         the inability of a woman, with or without an opposite-sex
    age and older.                                                                     partner, to achieve conception after at least six trials of
   no more than once every 12 months for persons 18 years of                          medically supervised artificial insemination over a one-
    age and under.                                                                     year period; and
The following are specifically excluded external prosthetic                           the inability of a woman, with or without an opposite-sex
appliances and devices:                                                                partner, to achieve conception after at least three trials of
                                                                                       medically supervised artificial insemination over a six-
   external and internal power enhancements or power controls                         month period of time, when the female partner trying to
    for prosthetic limbs and terminal devices; and                                     conceive is age 35 or older.
   myoelectric prostheses peripheral nerve stimulators.
                                                                                 This benefit includes diagnosis and treatment of both male and
                                                                                 female infertility.
HC-COV978 M                                                         01-21        However, the following are specifically excluded infertility
                                                                                 services:
Infertility Services                                                                reversal of male and female voluntary sterilization;
Charges made for services related to:                                               infertility services when the infertility is caused by or
    diagnosis of infertility and treatment of infertility once a                    related to voluntary sterilization;
    condition of infertility has been diagnosed                                     donor charges and services;
    charges made for intrauterine insemination artificial                          cryopreservation of donor sperm and eggs;
    insemination services related to enabling conception                            Pre-implantation genetic screening (PGS) and genetic
    regardless of an infertility diagnosis;                                          screening of parents/donors beyond what is covered as by
    access to harvesting of sperm and oocytes for the purposes                      the medical plan;
    of cryopreservation and short term storage of sperm,                            any experimental, investigational or unproven infertility
    oocytes, and embryos when an infertility condition is                            procedures or therapies.
    imminent;
   access to reproductive services for the purpose of pre-
                                                                                 HC-COV734 M                                                      01-19
    implantation genetic diagnosis (PGD) and embryo selection
    when parent(s), though fertile, are known carriers of genes
    associated with birth defects.
Services include, but are not limited to: infertility drugs which
are administered or provided by a Physician; cryopreservation,
storage, and thawing of sperm and eggs and embryos;
approved surgeries and other therapeutic procedures that have
been demonstrated in existing peer-reviewed, evidence-based,
scientific literature to have a reasonable likelihood of resulting


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Outpatient Therapy Services                                                 Coverage is provided as part of a program of treatment when
Charges for the following therapy services:                                 the following criteria are met:
Cognitive Therapy, Occupational Therapy, Osteopathic                           The individual’s condition has the potential to improve or is
Manipulation, Physical Therapy, Pulmonary                                       improving in response to therapy, and maximum
Rehabilitation, Speech Therapy                                                  improvement is yet to be attained.
 Charges for therapy services are covered when provided as                    There is an expectation that the anticipated improvement is
  part of a program of treatment.                                               attainable in a reasonable and generally predictable period
                                                                                of time.
Cardiac Rehabilitation
                                                                               The therapy is provided by, or under the direct supervision
 Charges for Phase II cardiac rehabilitation provided on an
                                                                                of, a licensed health care professional acting within the
  outpatient basis following diagnosis of a qualifying cardiac                  scope of the license.
  condition when Medically Necessary. Phase II is a Hospital-
  based outpatient program following an inpatient Hospital                     The therapy is Medically Necessary and medically
  discharge. The Phase II program must be Physician directed                    appropriate for the diagnosed condition.
  with active treatment and EKG monitoring.                                 Coverage for occupational therapy is provided only for
    Phase III and Phase IV cardiac rehabilitation is not covered.           purposes of enabling individuals to perform the activities of
    Phase III follows Phase II and is generally conducted at a              daily living after an Injury or Sickness.
    recreational facility primarily to maintain the patient’s status        Therapy services that are not covered include:
    achieved through Phases I and II. Phase IV is an                           sensory integration therapy.
    advancement of Phase III which includes more active
    participation and weight training.                                         treatment of dyslexia.
Chiropractic Care Services                                                     maintenance or preventive treatment provided to prevent
                                                                                recurrence or to maintain the patient’s current status.
 Charges for diagnostic and treatment services utilized in an
  office setting by chiropractic Physicians. Chiropractic                      charges for Chiropractic Care not provided in an office
  treatment includes the conservative management of acute                       setting.
  neuromusculoskeletal conditions through manipulation and                     vitamin therapy.
  ancillary physiological treatment rendered to specific joints             Coverage is administered according to the following:
  to restore motion, reduce pain, and improve function. For
                                                                               Multiple therapy services provided on the same day
  these services you have direct access to qualified
  chiropractic Physicians.                                                      constitute one day of service for each therapy type.

Coverage is provided when Medically Necessary in the most
medically appropriate setting to:                                           HC-COV982                                                     01-21

   Restore function (called “rehabilitative”):
                                                                            Breast Reconstruction and Breast Prostheses
     To restore function that has been impaired or lost.
                                                                             charges made for reconstructive surgery following a
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                              mastectomy; benefits include: surgical services for
      body part.
                                                                              reconstruction of the breast on which surgery was
   Improve, adapt or attain function (sometimes called                       performed; surgical services for reconstruction of the non-
    “habilitative”):                                                          diseased breast to produce symmetrical appearance;
     To improve, adapt or attain function that has been                      postoperative breast prostheses; and mastectomy bras and
      impaired or was never achieved as a result of congenital                prosthetics, limited to the lowest cost alternative available
      abnormality (birth defect).                                             that meets prosthetic placement needs. During all stages of
                                                                              mastectomy, treatment of physical complications, including
     To improve, adapt or attain function that has been
                                                                              lymphedema therapy, are covered.
      impaired or was never achieved because of mental health
      and substance use disorder conditions. Includes                       Reconstructive Surgery
      conditions such as autism and intellectual disability, or              charges made for reconstructive surgery or therapy to repair
      mental health and substance use disorder conditions that                or correct a severe physical deformity or disfigurement
      result in a developmental delay.                                        which is accompanied by functional deficit; (other than
                                                                              abnormalities of the jaw or conditions related to TMJ
                                                                              disorder) provided that: the surgery or therapy restores or
                                                                              improves function; reconstruction is required as a result of


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  Medically Necessary, non-cosmetic surgery; or the surgery                Transplant Travel Services
  or therapy is performed prior to age 19 and is required as a             Charges made for non-taxable travel expenses incurred by you
  result of the congenital absence or agenesis (lack of                    in connection with a pre-approved organ/tissue transplant are
  formation or development) of a body part. Repeat or                      covered subject to the following conditions and limitations.
  subsequent surgeries for the same condition are covered                  Transplant travel benefits are not available for cornea
  only when there is the probability of significant additional             transplants. Benefits for transportation and lodging are
  improvement as determined by the utilization review                      available to you only if you are the recipient of a preapproved
  Physician.                                                               organ/tissue transplant from a designated Cigna
                                                                           LIFESOURCE Transplant Network® facility. The term
HC-COV631                                                     12-17
                                                                           recipient is defined to include a person receiving authorized
                                                                           transplant related services during any of the following:
                                                                           evaluation, candidacy, transplant event, or post-transplant
Transplant Services                                                        care. Travel expenses for the person receiving the transplant
 charges made for human organ and tissue Transplant                       will include charges for: transportation to and from the
  services which include solid organ and bone marrow/stem                  transplant site (including charges for a rental car used during a
  cell procedures at designated facilities throughout the                  period of care at the transplant facility); and lodging while at,
  United States or its territories. This coverage is subject to            or traveling to and from the transplant site.
  the following conditions and limitations.                                In addition to your coverage for the charges associated with
Transplant services include the recipient’s medical, surgical              the items above, such charges will also be considered covered
and Hospital services; inpatient immunosuppressive                         travel expenses for one companion to accompany you. The
medications; and costs for organ or bone marrow/stem cell                  term companion includes your spouse, a member of your
procurement. Transplant services are covered only if they are              family, your legal guardian, or any person not related to you,
required to perform any of the following human to human                    but actively involved as your caregiver who is at least 18 years
organ or tissue transplants: allogeneic bone marrow/stem cell,             of age. The following are specifically excluded travel
autologous bone marrow/stem cell, cornea, heart, heart/lung,               expenses: any expenses that if reimbursed would be taxable
kidney, kidney/pancreas, liver, lung, pancreas or intestine                income, travel costs incurred due to travel within 60 miles of
which includes small bowel-liver or multi-visceral.                        your home; food and meals; laundry bills; telephone bills;
                                                                           alcohol or tobacco products; and charges for transportation
All Transplant services, other than cornea, are covered at
                                                                           that exceed coach class rates.
100% when received at Cigna LIFESOURCE Transplant
Network® facilities. Cornea transplants are not covered at                 These benefits are only available when the covered person is
Cigna LIFESOURCE Transplant Network® facilities.                           the recipient of an organ/tissue transplant. Travel expenses for
Transplant services, including cornea, received at participating           the designated live donor for a covered recipient are covered
facilities specifically contracted with Cigna for those                    subject to the same conditions and limitations noted above.
Transplant services, other than Cigna LIFESOURCE                           Charges for the expenses of a donor companion are not
Transplant Network® facilities, are payable at the In-Network              covered. No benefits are available when the covered person is
level. Transplant services received at any other facilities,               a donor.
including Non-Participating Providers and Participating
Providers not specifically contracted with Cigna for
                                                                           HC-COV482                                                    12-15
Transplant services, are not covered.
Coverage for organ procurement costs are limited to costs
directly related to the procurement of an organ, from a cadaver            Medical Pharmaceuticals
or a live donor. Organ procurement costs shall consist of                  The plan covers charges made for Medical Pharmaceuticals
surgery necessary for organ removal, organ transportation and              that are administered in an Inpatient setting, Outpatient
the transportation (refer to Transplant Travel Services),                  setting, Physician’s office, or in a covered person's home.
hospitalization and surgery of a live donor. Compatibility                 Benefits under this section are provided only for Medical
testing undertaken prior to procurement is covered if                      Pharmaceuticals which, due to their characteristics (as
Medically Necessary. Costs related to the search for, and                  determined by Cigna), are required to be administered, or the
identification of a bone marrow or stem cell donor for an                  administration of which must be directly supervised, by a
allogeneic transplant are also covered.                                    qualified Physician. Benefits payable under this section
                                                                           include Medical Pharmaceuticals whose administration may
                                                                           initially, or typically, require Physician oversight but may be



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self-administered under certain conditions specified in the                 Each gene therapy product is specific to a particular disease
product’s FDA labeling.                                                     and is administered in a specialized manner. Cigna determines
Certain Medical Pharmaceuticals are subject to prior                        which products are in the category of gene therapy, based in
authorization requirements or other coverage conditions.                    part on the nature of the treatment and how it is distributed
Additionally, certain Medical Pharmaceuticals are subject to                and administered.
step therapy requirements. This means that in order to receive              Coverage includes the cost of the gene therapy product;
benefits for such Medical Pharmaceuticals, you are required to              medical, surgical, and facility services directly related to
try a different Medical Pharmaceutical and/or Prescription                  administration of the gene therapy product; and professional
Drug Product first.                                                         services.
Utilization management requirements or other coverage                       Gene therapy products and their administration are covered
conditions are based on a number of factors, which may                      when prior authorized to be received at In-Network facilities
include clinical and economic factors. Clinical factors may                 specifically contracted with Cigna for the specific gene
include, but are not limited to, the P&T Committee’s                        therapy service. Gene therapy products and their
evaluations of the place in therapy, relative safety or relative            administration received at other facilities are not covered.
efficacy of Medical Pharmaceuticals as well as whether                      Gene Therapy Travel Services
certain supply limits or other utilization management
requirements should apply. Economic factors may include, but                Charges made for non-taxable travel expenses incurred by you
are not limited to, the Medical Pharmaceutical’s cost                       in connection with a prior authorized gene therapy procedure
including, but not limited to, assessments on the cost                      are covered subject to the following conditions and
effectiveness of the Medical Pharmaceuticals and available                  limitations.
rebates. Regardless of its eligibility for coverage under your              Benefits for transportation and lodging are available to you
plan, whether a particular Prescription Drug Product is                     only when you are the recipient of a prior authorized gene
appropriate for you or any of your Dependents is a                          therapy; and when the gene therapy products and services
determination that is made by you (or your Dependent) and                   directly related to their administration are received at a
the prescribing Physician.                                                  participating In-Network facility specifically contracted with
The coverage criteria for a Medical Pharmaceutical may                      Cigna for the specific gene therapy service. The term recipient
change periodically for various reasons. For example, a                     is defined to include a person receiving prior authorized gene
Medical Pharmaceutical may be removed from the market, a                    therapy related services during any of the following:
new Medical Pharmaceutical in the same therapeutic class as a               evaluation, candidacy, event, or post care.
Medical Pharmaceutical may become available, or other                       Travel expenses for the person receiving the gene therapy
market events may occur. Market events that may affect the                  include charges for: transportation to and from the gene
coverage status of a Medical Pharmaceutical include, but are                therapy site (including charges for a rental car used during a
not limited to, an increase in the cost of a Medical                        period of care at the facility); and lodging while at, or
Pharmaceutical.                                                             traveling to and from, the site.
                                                                            In addition to your coverage for the charges associated with
HC-COV986                                                      07-20
                                                                            the items above, such charges will also be considered covered
                                                                            travel expenses for one companion to accompany you. The
                                                                            term companion includes your spouse, a member of your
Gene Therapy                                                                family, your legal guardian, or any person not related to you,
Charges for gene therapy products and services directly                     but actively involved as your caregiver who is at least 18 years
related to their administration are covered when Medically                  of age.
Necessary. Gene therapy is a category of pharmaceutical                     The following are specifically excluded travel expenses: any
products approved by the U.S. Food and Drug Administration                  expenses that if reimbursed would be taxable income, travel
(FDA) to treat or cure a disease by:                                        costs incurred due to travel within 60 miles of your home;
   replacing a disease-causing gene with a healthy copy of the             food and meals; laundry bills; telephone bills; alcohol or
    gene.                                                                   tobacco products; and charges for transportation that exceed
   inactivating a disease-causing gene that may not be                     coach class rates.
    functioning properly.
   introducing a new or modified gene into the body to help                HC-COV873                                                    01-20
    treat a disease.




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Clinical Trials                                                            The plan does not cover any of the following services
This plan covers routine patient care costs and services related           associated with a clinical trial:
to an approved clinical trial for a qualified individual. The                 services that are not considered routine patient care costs
individual must be eligible to participate according to the trial              and services, including the following:
protocol and either of the following conditions must be met:                    the investigational drug, device, item, or service that is
   the referring health care professional is a participating                    provided solely to satisfy data collection and analysis
    health care provider and has concluded that the individual’s                 needs.
    participation in such trial would be appropriate; or                        an item or service that is not used in the direct clinical
   the individual provides medical and scientific information                   management of the individual.
    establishing that the individual’s participation in the                     a service that is clearly inconsistent with widely accepted
    qualified trial would be appropriate.                                        and established standards of care for a particular
In addition to qualifying as an individual, the clinical trial                   diagnosis.
must also meet certain criteria in order for patient care costs               an item or service provided by the research sponsors free of
and services to be covered.                                                    charge for any person enrolled in the trial.
The clinical trial must be a phase I, phase II, phase III, or                 travel and transportation expenses, unless otherwise covered
phase IV clinical trial conducted in relation to the prevention,               under the plan, including but not limited to the following:
detection, or treatment of cancer or other life-threatening
                                                                                fees for personal vehicle, rental car, taxi, medical van,
disease or condition that meets any of the following criteria:
                                                                                 ambulance, commercial airline, train.
   it is federally funded trial. The study or investigation is
                                                                                mileage reimbursement for driving a personal vehicle.
    approved or funded (which may include funding through in-
    kind contributions) by one or more of the following:                        lodging.
     National Institutes of Health (NIH).                                      meals.
     Centers for Disease Control and Prevention (CDC).                       routine patient costs obtained out-of-network when Out-of-
     Agency for Health Care Research and Quality (AHRQ).
                                                                               Network benefits do not exist under the plan.
     Centers for Medicare and Medicaid Services (CMS).
                                                                           Examples of routine patient care costs and services include:
     a cooperative group or center of any of the entities
                                                                              radiological services.
      described above or the Department of Defense (DOD) or                   laboratory services.
      the Department of Veterans Affairs (VA).                                intravenous therapy.
     a qualified non-governmental research entity identified in              anesthesia services.
      NIH guidelines for center support grants.
                                                                              Physician services.
     any of the following: Department of Energy, Department
                                                                              office services.
      of Defense, Department of Veterans Affairs, if both of
      the following conditions are met:                                       Hospital services.
         the study or investigation has been reviewed and                    Room and Board, and medical supplies that typically would
          approved through a system of peer review comparable                  be covered under the plan for an individual who is not
          to the system of peer review of studies and                          enrolled in a clinical trial.
          investigations used by the National Institutes of Health         Clinical trials conducted by Out-of-Network providers will be
          (NIH); and                                                       covered only when the following conditions are met:
         the study or investigation assures unbiased review of             In-Network providers are not participating in the clinical
          the highest scientific standards by qualified individuals            trial; or
          who have no interest in the outcome of the review.
                                                                              the clinical trial is conducted outside the individual’s state
     the study or investigation is conducted under an                         of residence.
      investigational new drug application reviewed by the U.S.
      Food and Drug Administration (FDA).
                                                                           HC-COV970                                                          01-21
     the study or investigation is a drug trial that is exempt
      from having such an investigational new drug application.




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Exclusions, Expenses Not Covered and                                          for or in connection with experimental, investigational or
                                                                               unproven services.
General Limitations                                                            Experimental, investigational and unproven services are
Exclusions and Expenses Not Covered                                            medical, surgical, diagnostic, psychiatric, substance use
Additional coverage limitations determined by plan or                          disorder or other health care technologies, supplies,
provider type are shown in The Schedule. Payment for the                       treatments, procedures, drug or Biologic therapies or
following is specifically excluded from this plan:                             devices that are determined by the utilization review
                                                                               Physician to be:
 care for health conditions that are required by state or local
  law to be treated in a public facility.                                       not approved by the U.S. Food and Drug Administration
                                                                                 (FDA) or other appropriate regulatory agency to be
   care required by state or federal law to be supplied by a                    lawfully marketed;
    public school system or school district.
                                                                                not demonstrated, through existing peer-reviewed,
   care for military service disabilities treatable through                     evidence-based, scientific literature to be safe and
    governmental services if you are legally entitled to such                    effective for treating or diagnosing the condition or
    treatment and facilities are reasonably available.                           Sickness for which its use is proposed;
   treatment of an Injury or Sickness which is due to war,                     the subject of review or approval by an Institutional
    declared, or undeclared.                                                     Review Board for the proposed use except as provided in
   charges which you are not obligated to pay or for which you                  the “Clinical Trials” sections of this plan; or
    are not billed or for which you would not have been billed                  the subject of an ongoing phase I, II or III clinical trial,
    except that they were covered under this plan. For example,                  except for routine patient care costs related to qualified
    if Cigna determines that a provider or Pharmacy is or has                    clinical trials as provided in the “Clinical Trials” sections
    waived, reduced, or forgiven any portion of its charges                      of this plan.
    and/or any portion of Copayment, Deductible, and/or
    Coinsurance amount(s) you are required to pay for a                        In determining whether any such technologies, supplies,
    Covered Expense (as shown on The Schedule) without                         treatments, drug or Biologic therapies, or devices are
    Cigna’s express consent, then Cigna in its sole discretion                 experimental, investigational, and/or unproven, the
    shall have the right to deny the payment of benefits in                    utilization review Physician may rely on the clinical
    connection with the Covered Expense, or reduce the                         coverage policies maintained by Cigna or the Review
    benefits in proportion to the amount of the Copayment,                     Organization. Clinical coverage policies may incorporate,
    Deductible, and/or Coinsurance amounts waived, forgiven                    without limitation and as applicable, criteria relating to U.S.
    or reduced, regardless of whether the provider or Pharmacy                 Food and Drug Administration-approved labeling, the
    represents that you remain responsible for any amounts that                standard medical reference compendia and peer-reviewed,
    your plan does not cover. In the exercise of that discretion,              evidence-based scientific literature or guidelines.
    Cigna shall have the right to require you to provide proof                cosmetic surgery and therapies. Cosmetic surgery or therapy
    sufficient to Cigna that you have made your required cost                  is defined as surgery or therapy performed to improve or
    share payment(s) prior to the payment of any benefits by                   alter appearance or self-esteem.
    Cigna. This exclusion includes, but is not limited to, charges            the following services are excluded from coverage
    of a non-Participating Provider who has agreed to charge                   regardless of clinical indications: rhinoplasty; redundant
    you or charged you at an In-Network benefits level or some                 skin surgery; removal of skin tags; acupressure; dance
    other benefits level not otherwise applicable to the services              therapy; movement therapy; applied kinesiology; rolfing;
    received.                                                                  prolotherapy; and extracorporeal shock wave lithotripsy
   charges arising out of or relating to any violation of a                   (ESWL) for musculoskeletal and orthopedic conditions.
    healthcare-related state or federal law or which themselves               dental treatment of the teeth, gums or structures directly
    are a violation of a healthcare-related state or federal law.              supporting the teeth, including dental X-rays, examinations,
   assistance in the activities of daily living, including but not            repairs, orthodontics, periodontics, casts, splints and
    limited to eating, bathing, dressing or other Custodial                    services for dental malocclusion, for any condition. Charges
    Services or self-care activities, homemaker services and                   made for services or supplies provided for or in connection
    services primarily for rest, domiciliary or convalescent care.             with an accidental Injury to teeth are covered provided a
                                                                               continuous course of dental treatment is started within six
                                                                               months of an accident. Additionally, charges made by a
                                                                               Physician for any of the following Surgical Procedures are
                                                                               covered: excision of unerupted impacted wisdom tooth,


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    including removal of alveolar bone and sectioning of tooth;             consumable medical supplies other than ostomy supplies
    removal of residual root (when performed by a Dentist other              and urinary catheters. Excluded supplies include, but are not
    than the one who extracted the tooth).                                   limited to bandages and other disposable medical supplies,
   for medical and surgical services intended primarily for the             skin preparations and test strips, except as specified in the
    treatment or control of obesity. However, treatment of                   “Home Health Care Services” or “Breast Reconstruction
    clinically severe obesity, as defined by the Body Mass                   and Breast Prostheses” sections of this plan.
    Index (BMI) classifications of the National Heart, Lung,                private Hospital rooms and/or private duty nursing except as
    and Blood Institute (NHLBI) guideline is covered only at                 provided under the Home Health Care Services provision.
    approved centers if the services are demonstrated, through              personal or comfort items such as personal care kits
    existing peer-reviewed, evidence-based, scientific literature            provided on admission to a Hospital, television, telephone,
    and scientifically based guidelines, to be safe and effective            newborn infant photographs, complimentary meals, birth
    for treatment of the condition. Clinically severe obesity is             announcements, and other articles which are not for the
    defined by the NHLBI as a BMI of 40 or greater without                   specific treatment of an Injury or Sickness.
    comorbidities, or 35-39 with comorbidities. The following
    are specifically excluded:                                              artificial aids, including but not limited to corrective arch
                                                                             supports, elastic stockings, garter belts, corsets, and
     medical and surgical services to alter appearances or                  dentures.
      physical changes that are the result of any surgery
      performed for the management of obesity or clinically                 aids or devices that assist with non-verbal communications,
      severe (morbid) obesity; and                                           including but not limited to communication boards, pre-
                                                                             recorded speech devices, laptop computers, desktop
     weight loss programs or treatments, whether prescribed or              computers, Personal Digital Assistants (PDAs), Braille
      recommended by a Physician or under medical                            typewriters, visual alert systems for the deaf and memory
      supervision.                                                           books.
   unless otherwise covered in this plan, for reports,                     eyeglass lenses and frames and contact lenses (except for
    evaluations, physical examinations, or hospitalization not               the first pair of contact lenses or the first set of eyeglass
    required for health reasons, including but not limited to                lenses and frames, and associated services, for treatment of
    employment, insurance or government licenses, and court-                 keratoconus or following cataract surgery).
    ordered, forensic or custodial evaluations.
                                                                            routine refractions, eye exercises and surgical treatment for
   court-ordered treatment or hospitalization, unless such                  the correction of a refractive error, including radial
    treatment is prescribed by a Physician and listed as covered             keratotomy.
    in this plan.
                                                                            Prescription drugs, except those shown in the “Covered
   any medications, drugs, services or supplies for the                     Expenses.
    treatment of male or female sexual dysfunction such as, but
    not limited to, treatment of erectile dysfunction (including            routine foot care, including the paring and removing of
    penile implants), anorgasmy, and premature ejaculation.                  corns and calluses and toenail maintenance. However, foot
                                                                             care services for diabetes, peripheral neuropathies and
   medical and Hospital care and costs for the infant child of a            peripheral vascular disease are covered when Medically
    Dependent, unless this infant child is otherwise eligible                Necessary.
    under this plan.
                                                                            membership costs or fees associated with health clubs,
   non-medical counseling and/or ancillary services, including              weight loss programs and smoking cessation programs.
    but not limited to Custodial Services, educational services,
    vocational counseling, training and, rehabilitation services,           genetic screening or pre-implantations genetic screening.
    behavioral training, biofeedback, neurofeedback, hypnosis,               General population-based genetic screening is a testing
    sleep therapy, return to work services, work hardening                   method performed in the absence of any symptoms or any
    programs and driver safety courses.                                      significant, proven risk factors for genetically linked
                                                                             inheritable disease.
   therapy or treatment intended primarily to improve or
    maintain general physical condition or for the purpose of               dental implants for any condition.
    enhancing job, school, athletic or recreational performance,            fees associated with the collection or donation of blood or
    including but not limited to routine, long term, or                      blood products, except for autologous donation in
    maintenance care which is provided after the resolution of               anticipation of scheduled services where in the utilization
    the acute medical problem and when significant therapeutic               review Physician’s opinion the likelihood of excess blood
    improvement is not expected.                                             loss is such that transfusion is an expected adjunct to
                                                                             surgery.


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   blood administration for the purpose of general                         expenses incurred outside the United States other than
    improvement in physical condition.                                       expenses for Medically Necessary urgent or emergent care
   cost of biologicals that are immunizations or medications                while temporarily traveling abroad.
    for the purpose of travel, or to protect against occupational
    hazards and risks.                                                   HC-EXC406 M                                                    01-21
   cosmetics, dietary supplements and health and beauty aids.
   enteral feedings, supplies and specially formulated medical
    foods that are prescribed and non-prescribed, except for             Coordination of Benefits
    infant formula needed for the treatment of inborn errors of
    metabolism.                                                          This section applies if you or any one of your Dependents is
                                                                         covered under more than one Plan and determines how
   for or in connection with an Injury or Sickness arising out          benefits payable from all such Plans will be coordinated. You
    of, or in the course of, any employment for wage or profit.          should file all claims with each Plan.
   massage therapy.                                                     Coverage under this Plan plus another Plan will not
   expenses incurred by a participant to the extent                     guarantee 100% reimbursement.
    reimbursable under automobile insurance coverage.                    Definitions
    Coverage under this plan is secondary to automobile no-
    fault insurance or similar coverage. The coverage provided           For the purposes of this section, the following terms have the
    under this plan does not constitute “Qualified Health                meanings set forth below:
    Coverage” under Michigan law and therefore does not                  Plan
    replace Personal Injury Protection (PIP) coverage provided           Any of the following that provides benefits or services for
    under an automobile insurance policy issued to a Michigan            medical care or treatment:
    resident. This plan will cover expenses only not otherwise
    covered by the PIP coverage.                                            Group insurance and/or group-type coverage, whether
                                                                             insured or self-insured which neither can be purchased by
General Limitations                                                          the general public nor is individually underwritten including
No payment will be made for expenses incurred for you or any                 closed panel coverage.
one of your Dependents:                                                     Coverage under Medicare and other governmental benefits
   for charges by a Hospital owned or operated by or which                  as permitted by law, excepting Medicaid and Medicare
    provides care or performs services for, the United States                supplement policies.
    Government, if such charges are directly related to a                   Medical benefits coverage of group, group-type, and
    military-service-connected Injury or Sickness.                           individual automobile contracts.
   to the extent that you or any one of your Dependents is in           Each Plan or part of a Plan which has the right to coordinate
    any way paid or entitled to payment for those expenses by            benefits will be considered a separate Plan.
    or through a public program, other than Medicaid.                    Closed Panel Plan
   to the extent that payment is unlawful where the person              A Plan that provides medical or dental benefits primarily in
    resides when the expenses are incurred.                              the form of services through a panel of employed or
   for charges which would not have been made if the person             contracted providers, and which limits or excludes benefits
    had no insurance.                                                    provided by providers outside of the panel, except in the case
   to the extent that they are more than Maximum                        of emergency or if referred by a provider within the panel.
    Reimbursable Charges.                                                Primary Plan
   to the extent of the exclusions imposed by any certification         The Plan that determines and provides or pays benefits
    requirement shown in this plan.                                      without taking into consideration the existence of any other
   expenses for supplies, care, treatment, or surgery that are          Plan.
    not Medically Necessary.                                             Secondary Plan
   charges by any covered provider who is a member of your              A Plan that determines, and may reduce its benefits after
    family or your Dependent's family.                                   taking into consideration, the benefits provided or paid by the
                                                                         Primary Plan. A Secondary Plan may also recover from the
                                                                         Primary Plan the Reasonable Cash Value of any services it
                                                                         provided to you.



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Reasonable Cash Value                                                          If one of the Plans that covers you is issued out of the state
An amount which a duly licensed provider of health care                         whose laws govern this Policy, and determines the order of
services usually charges patients and which is within the range                 benefits based upon the gender of a parent, and as a result,
of fees usually charged for the same service if rendered under                  the Plans do not agree on the order of benefit determination,
similar or comparable circumstances by other health care                        the Plan with the gender rules shall determine the order of
providers located within the immediate geographic area where                    benefits.
the health care service was delivered.                                      If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
                                                                            be primary.
A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
                                                                            Medicare, the benefit determination rules identified above,
   The Plan that covers a person as an enrollee or an employee             will be used to determine how benefits will be coordinated.
    shall be the Primary Plan and the Plan that covers that
    person as a Dependent shall be the Secondary Plan;                      Effect on the Benefits of This Plan
   For a Dependent child whose parents are not divorced or                 If this Plan is the Secondary Plan, the benefits that would be
    legally separated, the Primary Plan shall be the Plan which             payable under this Plan in the absence of Coordination will be
    covers the parent whose birthday falls first in the calendar            reduced by the benefits payable under all other Plans for the
    year;                                                                   expense covered under this Plan.
   For the Dependent of divorced or separated parents, benefits            When a Plan provides benefits in the form of services, the
    for the Dependent shall be determined in the following                  Reasonable Cash Value of each service rendered will be
    order:                                                                  considered both an expense incurred and a benefit payable.
     first, if a court decree states that one parent is responsible        Recovery of Excess Benefits
      for the child's healthcare expenses or health coverage and            If Cigna pays charges for services and supplies that should
      the Plan for that parent has actual knowledge of the terms            have been paid by the Primary Plan, Cigna will have the right
      of the order, but only from the time of actual knowledge;             to recover such payments.
     then, the Plan of the parent with custody of the child;               Cigna will have sole discretion to seek such recovery from any
     then, the Plan of the spouse of the parent with custody of            person to, or for whom, or with respect to whom, such
      the child;                                                            services were provided or such payments were made by any
                                                                            insurance company, healthcare plan or other organization. If
     then, the Plan of the noncustodial parent of the child; and
                                                                            we request, you shall execute and deliver to us such
     finally, the Plan of the spouse of the parent not having              instruments and documents as we determine are necessary to
      custody of the child.                                                 secure the right of recovery.
   The Plan that covers you as an active employee (or as that              Right to Receive and Release Information
    employee's Dependent) shall be the Primary Plan and the                 Cigna, without consent or notice to you, may obtain
    Plan that covers you as laid-off or retired employee (or as             information from and release information to any other Plan
    that employee's Dependent) shall be the secondary Plan. If              with respect to you in order to coordinate your benefits
    the other Plan does not have a similar provision and, as a              pursuant to this section. You must provide us with any
    result, the Plans cannot agree on the order of benefit                  information we request in order to coordinate your benefits
    determination, this paragraph shall not apply.                          pursuant to this section. This request may occur in connection
   The Plan that covers you under a right of continuation                  with a submitted claim; if so, you will be advised that the
    which is provided by federal or state law shall be the                  "other coverage" information, (including an Explanation of
    Secondary Plan and the Plan that covers you as an active                Benefits paid under the Primary Plan) is required before the
    employee or retiree (or as that employee's Dependent) shall             claim will be processed for payment. If no response is
    be the Primary Plan. If the other Plan does not have a                  received within 55 days of the request, the claim will be
    similar provision and, as a result, the Plans cannot agree on           denied. If the requested information is subsequently received,
    the order of benefit determination, this paragraph shall not            the claim will be processed.
    apply.




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Medicare Eligibles                                                       coverage is due to disability, the Medicare Secondary Payer
                                                                         Rules explained above will apply.
Cigna will pay as the Secondary Plan as permitted by the
Social Security Act of 1965 as amended for the following:
                                                                         HC-COB265                                                       01-21
(a) a former Employee who is eligible for Medicare and
    whose insurance is continued for any reason as provided in
    this plan;
(b) a former Employee's Dependent, or a former Dependent                 Expenses For Which A Third Party May
    Spouse, who is eligible for Medicare and whose insurance             Be Responsible
    is continued for any reason as provided in this plan;
                                                                         This plan does not cover:
(c) an Employee whose Employer and each other Employer
    participating in the Employer's plan have fewer than 100                Expenses incurred by you or your Dependent (hereinafter
    Employees and that Employee is eligible for Medicare due                 individually and collectively referred to as a "Participant,")
    to disability;                                                           for which another party may be responsible as a result of
                                                                             having caused or contributed to an Injury or Sickness.
(d) the Dependent of an Employee whose Employer and each
    other Employer participating in the Employer's plan have                Expenses incurred by a Participant to the extent any
    fewer than 100 Employees and that Dependent is eligible                  payment is received for them either directly or indirectly
    for Medicare due to disability;                                          from a third party tortfeasor or as a result of a settlement,
                                                                             judgment or arbitration award in connection with any
(e) an Employee or a Dependent of an Employee of an                          automobile medical, automobile no-fault, uninsured or
    Employer who has fewer than 20 Employees, if that person                 underinsured motorist, homeowners, workers'
    is eligible for Medicare due to age;                                     compensation, government insurance (other than Medicaid),
(f) an Employee, retired Employee, Employee's Dependent or                   or similar type of insurance or coverage. The coverage
    retired Employee's Dependent who is eligible for Medicare                under this plan is secondary to any automobile no-fault
    due to End Stage Renal Disease after that person has been                insurance or similar coverage.
    eligible for Medicare for 30 months;                                 Subrogation/Right of Reimbursement
Cigna will assume the amount payable under:                              If a Participant incurs a Covered Expense for which, in the
   Part A of Medicare for a person who is eligible for that Part        opinion of the plan or its claim administrator, another party
    without premium payment, but has not applied, to be the              may be responsible or for which the Participant may receive
    amount he would receive if he had applied.                           payment as described above:
   Part B of Medicare for a person who is entitled to be                   Subrogation: The plan shall, to the extent permitted by law,
    enrolled in that Part, but is not, to be the amount he would             be subrogated to all rights, claims or interests that a
    receive if he were enrolled.                                             Participant may have against such party and shall
   Part B of Medicare for a person who has entered into a                   automatically have a lien upon the proceeds of any recovery
    private contract with a provider, to be the amount he would              by a Participant from such party to the extent of any benefits
    receive in the absence of such private contract.                         paid under the plan. A Participant or his/her representative
                                                                             shall execute such documents as may be required to secure
A person is considered eligible for Medicare on the earliest                 the plan’s subrogation rights.
date any coverage under Medicare could become effective for
him.                                                                        Right of Reimbursement: The plan is also granted a right of
                                                                             reimbursement from the proceeds of any recovery whether
This reduction will not apply to any Employee and his                        by settlement, judgment, or otherwise. This right of
Dependent or any former Employee and his Dependent unless                    reimbursement is cumulative with and not exclusive of the
he is listed under (a) through (f) above.                                    subrogation right granted in paragraph 1, but only to the
Domestic Partners                                                            extent of the benefits provided by the plan.
Under federal law, the Medicare Secondary Payer Rules do                 Lien of the Plan
not apply to Domestic Partners covered under a group health              By accepting benefits under this plan, a Participant:
Plan when Medicare coverage is due to age. Therefore, when
Medicare coverage is due to age, Medicare is always the                     grants a lien and assigns to the plan an amount equal to the
Primary Plan for a person covered as a Domestic Partner, and                 benefits paid under the plan against any recovery made by
Cigna is the Secondary Plan. However, when Medicare                          or on behalf of the Participant which is binding on any
                                                                             attorney or other party who represents the Participant
                                                                             whether or not an agent of the Participant or of any


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    insurance company or other financially responsible party                     to future medical benefits hereunder until the Participant has
    against whom a Participant may have a claim provided said                    fully complied with his reimbursement obligations
    attorney, insurance carrier or other party has been notified                 hereunder, regardless of how those future medical benefits
    by the plan or its agents;                                                   are incurred.
   agrees that this lien shall constitute a charge against the                 Any reference to state law in any other provision of this
    proceeds of any recovery and the plan shall be entitled to                   plan shall not be applicable to this provision, if the plan is
    assert a security interest thereon;                                          governed by ERISA. By acceptance of benefits under the
   agrees to hold the proceeds of any recovery in trust for the                 plan, the Participant agrees that a breach hereof would cause
    benefit of the plan to the extent of any payment made by the                 irreparable and substantial harm and that no adequate
    plan.                                                                        remedy at law would exist. Further, the Plan shall be
                                                                                 entitled to invoke such equitable remedies as may be
Additional Terms                                                                 necessary to enforce the terms of the plan, including, but not
 No adult Participant hereunder may assign any rights that it                   limited to, specific performance, restitution, the imposition
  may have to recover medical expenses from any third party                      of an equitable lien and/or constructive trust, as well as
  or other person or entity to any minor Dependent of said                       injunctive relief.
  adult Participant without the prior express written consent                   Participants must assist the plan in pursuing any subrogation
  of the plan. The plan’s right to recover shall apply to                        or recovery rights by providing requested information.
  decedents’, minors’, and incompetent or disabled persons’
  settlements or recoveries.
                                                                             HC-SUB128                                                     03-20
   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.
   The plan’s right of recovery shall be a prior lien against any           Payment of Benefits
    proceeds recovered by the Participant. This right of                     Assignment and Payment of Benefits
    recovery shall not be defeated nor reduced by the
    application of any so-called “Made-Whole Doctrine”,                      You may not assign to any party, including, but not limited to,
    “Rimes Doctrine”, or any other such doctrine purporting to               a provider of healthcare services/items, your right to benefits
    defeat the plan’s recovery rights by allocating the proceeds             under this plan, nor may you assign any administrative,
    exclusively to non-medical expense damages.                              statutory, or legal rights or causes of action you may have
                                                                             under ERISA, including, but not limited to, any right to make
   No Participant hereunder shall incur any expenses on behalf              a claim for plan benefits, to request plan or other documents,
    of the plan in pursuit of the plan’s rights hereunder,                   to file appeals of denied claims or grievances, or to file
    specifically; no court costs, attorneys' fees or other                   lawsuits under ERISA. Any attempt to assign such rights shall
    representatives' fees may be deducted from the plan’s                    be void and unenforceable under all circumstances.
    recovery without the prior express written consent of the
    plan. This right shall not be defeated by any so-called “Fund            You may, however, authorize Cigna to pay any healthcare
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                   benefits under this policy to a Participating or Non-
    Doctrine”.                                                               Participating Provider. When you authorize the payment of
                                                                             your healthcare benefits to a Participating or Non-Participating
   The plan shall recover the full amount of benefits provided              Provider, you authorize the payment of the entire amount of
    hereunder without regard to any claim of fault on the part of            the benefits due on that claim. If a provider is overpaid
    any Participant, whether under comparative negligence or                 because of accepting duplicate payments from you and Cigna,
    otherwise.                                                               it is the provider’s responsibility to reimburse the
   The plan hereby disavows all equitable defenses in pursuit               overpayment to you. Cigna may pay all healthcare benefits for
    of its right of recovery. The plan’s subrogation or recovery             Covered Expenses directly to a Participating Provider without
    rights are neither affected nor diminished by equitable                  your authorization. You may not interpret or rely upon this
    defenses.                                                                discrete authorization or permission to pay any healthcare
   In the event that a Participant shall fail or refuse to honor its        benefits to a Participating or Non-Participating Provider as the
    obligations hereunder, then the plan shall be entitled to                authority to assign any other rights under this policy to any
    recover any costs incurred in enforcing the terms hereof                 party, including, but not limited to, a provider of healthcare
    including, but not limited to, attorney’s fees, litigation, court        services/items.
    costs, and other expenses. The plan shall also be entitled to            Even if the payment of healthcare benefits to a Non-
    offset the reimbursement obligation against any entitlement              Participating Provider has been authorized by you, Cigna may,



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at its option, make payment of benefits to you. When benefits             Termination of Insurance
are paid to you or your Dependent, you or your Dependents
are responsible for reimbursing the Non-Participating
Provider.                                                                 Employees
If any person to whom benefits are payable is a minor or, in              Your insurance will cease on the earliest date below:
the opinion of Cigna is not able to give a valid receipt for any             the date you cease to be in a Class of Eligible Employees or
payment due him, such payment will be made to his legal                       cease to qualify for the insurance.
guardian. If no request for payment has been made by his legal               the last day for which you have made any required
guardian, Cigna may, at its option, make payment to the                       contribution for the insurance.
person or institution appearing to have assumed his custody
and support.                                                                 the date the policy is cancelled.
When one of our participants passes away, Cigna may receive                  the last day of the calendar month in which your Active
notice that an executor of the estate has been established. The               Service ends except as described below.
executor has the same rights as our insured and benefit                   Any continuation of insurance must be based on a plan which
payments for unassigned claims should be made payable to the              precludes individual selection.
executor.                                                                 Temporary Layoff or Leave of Absence
Payment as described above will release Cigna from all                    If your Active Service ends due to temporary layoff or leave
liability to the extent of any payment made.                              of absence, your insurance will be continued until the date as
Recovery of Overpayment                                                   determined by your Employer.
When an overpayment has been made by Cigna, Cigna will                    Injury or Sickness
have the right at any time to: recover that overpayment from              If your Active Service ends due to an Injury or Sickness, your
the person to whom or on whose behalf it was made; or offset              insurance will be continued while you remain totally and
the amount of that overpayment from a future claim payment.               continuously disabled as a result of the Injury or Sickness.
In addition, your acceptance of benefits under this plan and/or           However, your insurance will not continue past the date your
assignment of Medical Benefits separately creates an equitable            Employer cancels your insurance.
lien by agreement pursuant to which Cigna may seek recovery
of any overpayment. You agree that Cigna, in seeking                      Dependents
recovery of any overpayment as a contractual right or as an
equitable lien by agreement, may pursue the general assets of             Your insurance for all of your Dependents will cease on the
the person or entity to whom or on whose behalf the                       earliest date below:
overpayment was made.                                                        the date your insurance ceases.
Calculation of Covered Expenses                                              the date you cease to be eligible for Dependent Insurance.
Cigna, in its discretion, will calculate Covered Expenses                    the last day for which you have made any required
following evaluation and validation of all provider billings in               contribution for the insurance.
accordance with:                                                             the date Dependent Insurance is cancelled.
   the methodologies in the most recent edition of the Current           The insurance for any one of your Dependents will cease on
    Procedural terminology.                                               the date that Dependent no longer qualifies as a Dependent.
   the methodologies as reported by generally recognized
    professionals or publications.
                                                                          HC-TRM128                                                     12-17


HC-POB132                                                    01-19




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Rescissions                                                                Qualified Medical Child Support Order Defined
Your coverage may not be rescinded (retroactively terminated)              A Qualified Medical Child Support Order is a judgment,
by Cigna or the plan sponsor unless the plan sponsor or an                 decree or order (including approval of a settlement agreement)
individual (or a person seeking coverage on behalf of the                  or administrative notice, which is issued pursuant to a state
individual) performs an act, practice or omission that                     domestic relations law (including a community property law),
constitutes fraud; or the plan sponsor or individual (or a                 or to an administrative process, which provides for child
person seeking coverage on behalf of the individual) makes an              support or provides for health benefit coverage to such child
intentional misrepresentation of material fact.                            and relates to benefits under the group health plan, and
                                                                           satisfies all of the following:
                                                                              the order recognizes or creates a child’s right to receive
HC-TRM80                                                      01-11
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
                                                                              the order specifies your name and last known address, and
Federal Requirements                                                           the child’s name and last known address, except that the
The following pages explain your rights and responsibilities                   name and address of an official of a state or political
under federal laws and regulations. Some states may have                       subdivision may be substituted for the child’s mailing
similar requirements. If a similar provision appears elsewhere                 address;
in this booklet, the provision which provides the better benefit              the order provides a description of the coverage to be
will apply.                                                                    provided, or the manner in which the type of coverage is to
                                                                               be determined;
HC-FED1                                                       10-10           the order states the period to which it applies; and
                                                                              if the order is a National Medical Support Notice completed
                                                                               in accordance with the Child Support Performance and
Notice of Provider Directory/Networks                                          Incentive Act of 1998, such Notice meets the requirements
                                                                               above.
Notice Regarding Provider Directories and Provider
Networks                                                                   The QMCSO may not require the health insurance policy to
                                                                           provide coverage for any type or form of benefit or option not
A list of network providers is available to you without charge             otherwise provided under the policy, except that an order may
by visiting the website or by calling the phone number on your             require a plan to comply with State laws regarding health care
ID card. The network consists of providers, including                      coverage.
hospitals, of varied specialties as well as general practice,
affiliated or contracted with Cigna or an organization                     Payment of Benefits
contracting on its behalf.                                                 Any payment of benefits in reimbursement for Covered
                                                                           Expenses paid by the child, or the child’s custodial parent or
                                                                           legal guardian, shall be made to the child, the child’s custodial
HC-FED78                                                      10-10
                                                                           parent or legal guardian, or a state official whose name and
                                                                           address have been substituted for the name and address of the
                                                                           child.
Qualified Medical Child Support Order
(QMCSO)                                                                    HC-FED4                                                       10-10
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is
issued for your child, that child will be eligible for coverage as         Special Enrollment Rights Under the Health
required by the order and you will not be considered a Late                Insurance Portability & Accountability Act
Entrant for Dependent Insurance.
                                                                           (HIPAA)
You must notify your Employer and elect coverage for that
                                                                           If you or your eligible Dependent(s) experience a special
child, and yourself if you are not already enrolled, within 31
                                                                           enrollment event as described below, you or your eligible
days of the QMCSO being issued.
                                                                           Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
                                                                           the special enrollment events listed below. If you are already


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enrolled in the Plan, you may request enrollment for you and                  the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by                 similarly situated individuals.
the Employer for which you are currently eligible. If you are               Termination of Employer contributions (excluding
not already enrolled in the Plan, you must request special                   continuation coverage). If a current or former Employer
enrollment for yourself in addition to your eligible                         ceases all contributions toward the Employee’s or
Dependent(s). You and all of your eligible Dependent(s) must                 Dependent’s other coverage, special enrollment may be
be covered under the same option. The special enrollment                     requested in this Plan for you and all of your eligible
events include:                                                              Dependent(s).
   Acquiring a new Dependent. If you acquire a new                         Exhaustion of COBRA or other continuation coverage.
    Dependent(s) through marriage, birth, adoption or                        Special enrollment may be requested in this Plan for you
    placement for adoption, you may request special enrollment               and all of your eligible Dependent(s) upon exhaustion of
    for any of the following combinations of individuals if not              COBRA or other continuation coverage. If you or your
    already enrolled in the Plan: Employee only; spouse only;                Dependent(s) elect COBRA or other continuation coverage
    Employee and spouse; Dependent child(ren) only;                          following loss of coverage under another plan, the COBRA
    Employee and Dependent child(ren); Employee, spouse and                  or other continuation coverage must be exhausted before
    Dependent child(ren). Enrollment of Dependent children is                any special enrollment rights exist under this Plan. An
    limited to the newborn or adopted children or children who               individual is considered to have exhausted COBRA or other
    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
   Loss of eligibility for other coverage (excluding                        contributions toward COBRA or other continuation
    continuation coverage). If coverage was declined under                   coverage as provided under any severance or other
    this Plan due to coverage under another plan, and eligibility            agreement.
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
     divorce or legal separation;                                           must request enrollment within 60 days after the date you
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
      limiting age);                                                     Except as stated above, special enrollment must be
                                                                         requested within 30 days after the occurrence of the
     death of the Employee;
                                                                         special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
     reduction in work hours to below the minimum required              be effective immediately on the date of birth, adoption or
      for eligibility;                                                   placement for adoption. Coverage with regard to any other
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work
                                                                         first day of the first calendar month following receipt of
      in the other plan’s network service area and no other
                                                                         the request for special enrollment.
      coverage is available under the other plan;
     you or your Dependent(s) incur a claim which meets or
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or



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Domestic Partners and their children (if not legal children of                D. Medicare or Medicaid eligibility/entitlement
the Employee) are not eligible for special enrollment.                        The Employee, spouse or Dependent cancels or reduces
                                                                              coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                         04-17
                                                                              enrolls or increases coverage due to loss of Medicare or
                                                                              Medicaid eligibility.
                                                                              E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                                 If the cost of benefits increases or decreases during a benefit
Plan                                                                          period, your Employer may, in accordance with plan terms,
                                                                              automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                       When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax                  increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                        a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                     you have elected, you may elect another available benefit
(salary).                                                                     option. When a new benefit option is added, you may change
                                                                              your election to the new benefit option.
A. Coverage elections
                                                                              F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                     another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                      You may make a coverage election change if the plan of your
                                                                              spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                     deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                           Special Enrollment, Change in Status, Court Order or
   if your Employer agrees, and you meet the criteria shown in               Medicare or Medicaid Eligibility/Entitlement; or this Plan and
    the following Sections B through H and enroll for or change               the other plan have different periods of coverage or open
    coverage within the time period established by your                       enrollment periods.
    Employer.                                                                 G. Reduction in work hours
B. Change of status                                                           If an Employee’s work hours are reduced below 30
A change in status is defined as:                                             hours/week (even if it does not result in the Employee losing
   change in legal marital status due to marriage, death of a                eligibility for the Employer’s coverage); and the Employee
    spouse, divorce, annulment or legal separation;                           (and family) intend to enroll in another plan that provides
                                                                              Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,                    be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                          following the month that includes the date the original
   change in employment status of Employee, spouse or                        coverage is revoked.
    Dependent due to termination or start of employment,                      H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,
    including under the Family and Medical Leave Act                          The Employee must be eligible for a Special Enrollment
    (FMLA), or change in worksite;                                            Period to enroll in a QHP through a Marketplace or the
                                                                              Employee wants to enroll in a QHP through a Marketplace
   changes in employment status of Employee, spouse or                       during the Marketplace’s annual open enrollment period; and
    Dependent resulting in eligibility or ineligibility for                   the disenrollment from the group plan corresponds to the
    coverage;                                                                 intended enrollment of the Employee (and family) in a QHP
   change in residence of Employee, spouse or Dependent to a                 through a Marketplace for new coverage effective beginning
    location outside of the Employer’s network service area;                  no later than the day immediately following the last day of the
    and                                                                       original coverage.
   changes which cause a Dependent to become eligible or
    ineligible for coverage.                                                  HC-FED95                                                      04-17
C. Court order
A change in coverage due to and consistent with a court order
of the Employee or other person to cover a Dependent.




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Eligibility for Coverage for Adopted Children                              Women’s Health and Cancer Rights Act
Any child who is adopted by you, including a child who is                  (WHCRA)
placed with you for adoption, will be eligible for Dependent               Do you know that your plan, as required by the Women’s
Insurance, if otherwise eligible as a Dependent, upon the date             Health and Cancer Rights Act of 1998, provides benefits for
of placement with you. A child will be considered placed for               mastectomy-related services including all stages of
adoption when you become legally obligated to support that                 reconstruction and surgery to achieve symmetry between the
child, totally or partially, prior to that child’s adoption.               breasts, prostheses, and complications resulting from a
If a child placed for adoption is not adopted, all health                  mastectomy, including lymphedema? Call Member Services at
coverage ceases when the placement ends, and will not be                   the toll free number listed on your ID card for more
continued.                                                                 information.
The provisions in the “Exception for Newborns” section of
this document that describe requirements for enrollment and                HC-FED12                                                       10-10
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.
                                                                           Group Plan Coverage Instead of Medicaid
HC-FED67                                                      09-14
                                                                           If your income and liquid resources do not exceed certain
                                                                           limits established by law, the state may decide to pay
                                                                           premiums for this coverage instead of for Medicaid, if it is
Coverage for Maternity Hospital Stay                                       cost effective. This includes premiums for continuation
Group health plans and health insurance issuers offering group             coverage required by federal law.
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection                 HC-FED13                                                       10-10
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96
hours following a cesarean section; or require that a provider             Requirements of Family and Medical Leave Act
obtain authorization from the plan or insurance issuer for                 of 1993 (as amended) (FMLA)
prescribing a length of stay not in excess of the above periods.           Any provisions of the policy that provide for: continuation of
The law generally does not prohibit an attending provider of               insurance during a leave of absence; and reinstatement of
the mother or newborn, in consultation with the mother, from               insurance following a return to Active Service; are modified
discharging the mother or newborn earlier than 48 or 96 hours,             by the following provisions of the federal Family and Medical
as applicable.                                                             Leave Act of 1993, as amended, where applicable:
Please review this Plan for further details on the specific                Continuation of Health Insurance During Leave
coverage available to you and your Dependents.
                                                                           Your health insurance will be continued during a leave of
                                                                           absence if:
HC-FED11                                                      10-10           that leave qualifies as a leave of absence under the Family
                                                                               and Medical Leave Act of 1993, as amended; and
                                                                              you are an eligible Employee under the terms of that Act.
                                                                           The cost of your health insurance during such leave must be
                                                                           paid, whether entirely by your Employer or in part by you and
                                                                           your Employer.
                                                                           Reinstatement of Canceled Insurance Following Leave
                                                                           Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
                                                                           Act of 1993, as amended, any canceled insurance (health, life
                                                                           or disability) will be reinstated as of the date of your return.




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You will not be required to satisfy any eligibility or benefit            If your coverage under this plan terminates as a result of your
waiting period to the extent that they had been satisfied prior           eligibility for military medical and dental coverage and your
to the start of such leave of absence.                                    order to active duty is canceled before your active duty service
Your Employer will give you detailed information about the                commences, these reinstatement rights will continue to apply.
Family and Medical Leave Act of 1993, as amended.
                                                                          HC-FED18                                                     10-10

HC-FED93                                                     10-17



                                                                          Claim Determination Procedures under ERISA
Uniformed Services Employment and Re-                                     The following complies with federal law. Provisions of
Employment Rights Act of 1994 (USERRA)                                    applicable laws of your state may supersede.
The Uniformed Services Employment and Re-employment                       Procedures Regarding Medical Necessity Determinations
Rights Act of 1994 (USERRA) sets requirements for                         In general, health services and benefits must be Medically
continuation of health coverage and re-employment in regard               Necessary to be covered under the plan. The procedures for
to an Employee’s military leave of absence. These                         determining Medical Necessity vary, according to the type of
requirements apply to medical and dental coverage for you                 service or benefit requested, and the type of health plan.
and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The booklet describes who is responsible for
For leaves of less than 31 days, coverage will continue as                obtaining this review. You or your authorized representative
described in the Termination section regarding Leave of                   (typically, your health care professional) must request prior
Absence.                                                                  authorization according to the procedures described below, in
                                                                          the booklet, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for
                                                                          documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to
                                                                          you or your representative will receive a written description of
your Employer, until the earliest of the following:
                                                                          the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the booklet, in your
    Employer;                                                             provider’s network participation documents as applicable, and
   the day after you fail to return to work; and                         in the determination notices.
   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to
                                                                          service is a Covered Expense, is authorized for coverage by
102% of the total premium.
                                                                          the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.
                                                                          When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
                                                                          include the date a determination can be expected, which will


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be no more than 30 days after receipt of the request. If more           representative of the determination within 30 days after
time is needed because necessary information is missing from            receiving the request. However, if more time is needed to
the request, the notice will also specify what information is           make a determination due to matters beyond Cigna’s control,
needed, and you or your representative must provide the                 Cigna will notify you or your representative within 30 days
specified information to Cigna within 45 days after receiving           after receiving the request. This notice will include the date a
the notice. The determination period will be suspended on the           determination can be expected, which will be no more than 45
date Cigna sends such a notice of missing information, and the          days after receipt of the request.
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
If the determination periods above would seriously jeopardize           information is needed, and you or your representative must
your life or health, your ability to regain maximum function,           provide the specified information to Cigna within 45 days
or in the opinion of a health care professional with knowledge          after receiving the notice. The determination period will be
of your health condition, cause you severe pain which cannot            suspended on the date Cigna sends such a notice of missing
be managed without the requested services, Cigna will make              information, and the determination period will resume on the
the preservice determination on an expedited basis. Cigna will          date you or your representative responds to the notice.
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is
necessary. Cigna will notify you or your representative of an           Every notice of an adverse benefit determination will be
expedited determination within 72 hours after receiving the             provided in writing or electronically, and will include all of
request.                                                                the following that pertain to the determination: information
                                                                        sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
If you or your representative attempts to request a preservice          statement of a claimant’s rights to bring a civil action under
determination, but fails to follow Cigna’s procedures for               section 502(a) of ERISA following an adverse benefit
requesting a required preservice determination, Cigna will              determination on appeal, (if applicable); upon request and free
notify you or your representative of the failure and describe           of charge, a copy of any internal rule, guideline, protocol or
the proper procedures for filing within 5 days (or 24 hours, if         other similar criterion that was relied upon in making the
an expedited determination is required, as described above)             adverse determination regarding your claim; and an
after receiving the request. This notice may be provided orally,        explanation of the scientific or clinical judgment for a
unless you or your representative requests written notification.        determination that is based on a Medical Necessity,
Concurrent Determinations                                               experimental treatment or other similar exclusion or limit; a
                                                                        description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination
within 24 hours after receiving the request.                            HC-FED104                                                    01-19

Postservice Determinations
When you or your representative requests a coverage
determination or a claim payment determination after services
have been rendered, Cigna will notify you or your



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Appointment of Authorized Representative                                    results of a coverage decision, you may start the appeals
                                                                            procedure.
You may appoint an authorized representative to assist you in
submitting a claim or appealing a claim denial. However,                    Internal Appeals Procedure
Cigna may require you to designate your authorized                          To initiate an appeal of an adverse benefit determination, you
representative in writing using a form approved by Cigna. At                must submit a request for an appeal to Cigna within 180 days
all times, the appointment of an authorized representative is               of receipt of a denial notice. If you appeal a reduction or
revocable by you. To ensure that a prior appointment remains                termination in coverage for an ongoing course of treatment
valid, Cigna may require you to re-appoint your authorized                  that Cigna previously approved, you will receive, as required
representative, from time to time.                                          by applicable law, continued coverage pending the outcome of
Cigna reserves the right to refuse to honor the appointment of              an appeal.
a representative if Cigna reasonably determines that:                       You should state the reason why you feel your appeal should
   the signature on an authorized representative form may not              be approved and include any information supporting your
    be yours, or                                                            appeal. If you are unable or choose not to write, you may ask
                                                                            Cigna to register your appeal by telephone. Call or write us at
   the authorized representative may not have disclosed to you
                                                                            the toll-free number on your ID card, explanation of benefits,
    all of the relevant facts and circumstances relating to the
                                                                            or claim form.
    overpayment or underpayment of any claim, including, for
    example, that the billing practices of the provider of medical          Your appeal will be reviewed and the decision made by
    services may have jeopardized your coverage through the                 someone not involved in the initial decision. Appeals
    waiver of the cost-sharing amounts that you are required to             involving Medical Necessity or clinical appropriateness will
    pay under your plan.                                                    be considered by a health care professional.
If your designation of an authorized representative is revoked,             We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                 days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a              concurrent care coverage determination or a postservice
form approved by Cigna.                                                     Medical Necessity determination. We will respond within 60
                                                                            calendar days after we receive an appeal for any other post
                                                                            service coverage determination. If more information is needed
HC-FED88                                                       01-17        to make the determination, we will contact you to request an
                                                                            extension of up to 15 calendar days and to specify any
                                                                            additional information needed to complete the review.
Medical - When You Have a Complaint or an                                   In the event any new or additional information (evidence) is
Appeal                                                                      considered, relied upon or generated by Cigna in connection
                                                                            with the appeal, this information will be provided
For the purposes of this section, any reference to "you" or
                                                                            automatically to you as soon as possible and sufficiently in
"your" also refers to a representative or provider designated by
                                                                            advance of the decision, so that you will have an opportunity
you to act on your behalf; unless otherwise noted.
                                                                            to respond. Also, if any new or additional rationale is
We want you to be completely satisfied with the services you                considered by Cigna, Cigna will provide the rationale to you
receive. That is why we have established a process for                      as soon as possible and sufficiently in advance of the decision
addressing your concerns and solving your problems.                         so that you will have an opportunity to respond.
Start With Customer Service                                                 You may request that the appeal process be expedited if the
We are here to listen and help. If you have a concern                       time frames under this process would seriously jeopardize
regarding a person, a service, the quality of care, contractual             your life, health or ability to regain maximum functionality or
benefits, or a rescission of coverage, you may call the toll-               in the opinion of your health care provider would cause you
free number on your ID card, explanation of benefits, or                    severe pain which cannot be managed without the requested
claim form and explain your concern to one of our Customer                  services.
Service representatives. You may also express that concern                  If you request that your appeal be expedited, you may also ask
in writing.                                                                 for an expedited external Independent Review at the same
We will do our best to resolve the matter on your initial                   time, if the time to complete an expedited level-one appeal
contact. If we need more time to review or investigate your                 would be detrimental to your medical condition.
concern, we will get back to you as soon as possible, but in                When an appeal is expedited, Cigna will respond orally with a
any case within 30 days. If you are not satisfied with the                  decision within 72 hours, followed up in writing.



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External Review Procedure                                                dispute resolution options such as Mediation. One way to find
If you are not fully satisfied with the decision of Cigna's              out what may be available is to contact your local U.S.
internal appeal review and the appeal involves medical                   Department of Labor office and your State insurance
judgment or a rescission of coverage, you may request that               regulatory agency. You may also contact the Plan
your appeal be referred to an Independent Review                         Administrator.
Organization (IRO). The IRO is composed of persons who are               Relevant Information
not employed by Cigna, or any of its affiliates. A decision to           Relevant Information is any document, record or other
request an external review to an IRO will not affect the                 information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                  determination; was submitted, considered or generated in the
There is no charge for you to initiate an external review. Cigna         course of making the benefit determination, without regard to
and your benefit plan will abide by the decision of the IRO.             whether such document, record, or other information was
To request a review, you must notify the Appeals Coordinator             relied upon in making the benefit determination; demonstrates
within 4 months of your receipt of Cigna's appeal review                 compliance with the administrative processes and safeguards
denial. Cigna will then forward the file to a randomly selected          required by federal law in making the benefit determination;
IRO. The IRO will render an opinion within 45 days.                      or constitutes a statement of policy or guidance with respect to
                                                                         the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your              the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if              advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                 determination.
continued stay, or health care item or service for which you
received emergency services, but you have not yet been                   Legal Action
discharged from a facility, the external review shall be                 If your plan is governed by ERISA, you have the right to bring
completed within 72 hours.                                               a civil action under section 502(a) of ERISA if you are not
Notice of Benefit Determination on Appeal                                satisfied with the outcome of the Appeals Procedure. In most
                                                                         instances, you may not initiate a legal action against Cigna
Every notice of a determination on appeal will be provided in            until you have completed the appeal processes. However, no
writing or electronically and, if an adverse determination, will         action will be brought at all unless brought within 3 years after
include: information sufficient to identify the claim including,         a claim is submitted for In-Network Services or within three
if applicable, the date of service, provider and claim amount;           years after proof of claim is required under the Plan for Out-
diagnosis and treatment codes, and their meanings; the                   of-Network services.
specific reason or reasons for the adverse determination
including, if applicable, the denial code and its meaning and a
description of any standard that was used in the denial;                 HC-FED110                                                    01-21
reference to the specific plan provisions on which the
determination is based; a statement that the claimant is entitled
to receive, upon request and free of charge, reasonable access
                                                                         COBRA Continuation Rights Under Federal
to and copies of all documents, records, and other Relevant
Information as defined below; a statement describing any                 Law
voluntary appeal procedures offered by the plan and the                  For You and Your Dependents
claimant's right to bring an action under ERISA section                  What is COBRA Continuation Coverage?
502(a), if applicable; upon request and free of charge, a copy
of any internal rule, guideline, protocol or other similar               Under federal law, you and/or your Dependents must be given
criterion that was relied upon in making the adverse                     the opportunity to continue health insurance when there is a
determination regarding your appeal, and an explanation of the           “qualifying event” that would result in loss of coverage under
scientific or clinical judgment for a determination that is based        the Plan. You and/or your Dependents will be permitted to
on a Medical Necessity, experimental treatment or other                  continue the same coverage under which you or your
similar exclusion or limit; and information about any office of          Dependents were covered on the day before the qualifying
health insurance consumer assistance or ombudsman available              event occurred, unless you move out of that plan’s coverage
to assist you in the appeal process. A final notice of an adverse        area or the plan is no longer available. You and/or your
determination will include a discussion of the decision.                 Dependents cannot change coverage options until the next
                                                                         open enrollment period.
You also have the right to bring a civil action under section
502(a) of ERISA if you are not satisfied with the decision on
review. You or your plan may have other voluntary alternative



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When is COBRA Continuation Available?                                 available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                    event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following          divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of              to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                              Disability Extension
   your termination of employment for any reason, other than         If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                              termination of employment or reduction in work hours, you or
   your reduction in work hours.                                     one of your Dependents is determined by the Social Security
                                                                      Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is                   XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following          elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of              continuation for an additional 11 months, for a maximum of
coverage under the Plan:                                              29 months from the initial qualifying event.
   your death;                                                       To qualify for the disability extension, all of the following
   your divorce or legal separation; or                              requirements must be satisfied:
   for a Dependent child, failure to continue to qualify as a           SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                             within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                    continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may           A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                  to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were                date the SSA determination is made AND before the end of
covered by the Plan on the day the qualifying event occurred:             the initial 18-month continuation period.
you, your spouse, and your Dependent children. Each                   If the SSA later determines that the individual is no longer
qualified beneficiary has their own right to elect or decline         disabled, you must notify the Plan Administrator within 30
COBRA continuation coverage even if you decline or are not            days after the date the final determination is made by SSA.
eligible for COBRA continuation.                                      The 11-month disability extension will terminate for all
The following individuals are not qualified beneficiaries for         covered persons on the first day of the month that is more than
purposes of COBRA continuation: domestic partners,                    30 days after the date the SSA makes a final determination
grandchildren (unless adopted by you), stepchildren (unless           that the disabled individual is no longer disabled.
adopted by you). Although these individuals do not have an            All causes for “Termination of COBRA Continuation” listed
independent right to elect COBRA continuation coverage, if            below will also apply to the period of disability extension.
you elect COBRA continuation coverage for yourself, you               Medicare Extension for Your Dependents
may also cover your Dependents even if they are not
considered qualified beneficiaries under COBRA. However,              When the qualifying event is your termination of employment
such individuals’ coverage will terminate when your COBRA             or reduction in work hours and you became enrolled in
continuation coverage terminates. The sections titled                 Medicare (Part A, Part B or both) within the 18 months before
“Secondary Qualifying Events” and “Medicare Extension For             the qualifying event, COBRA continuation coverage for your
Your Dependents” are not applicable to these individuals.             Dependents will last for up to 36 months after the date you
                                                                      became enrolled in Medicare. Your COBRA continuation
Secondary Qualifying Events                                           coverage will last for up to 18 months from the date of your
If, as a result of your termination of employment or reduction        termination of employment or reduction in work hours.
in work hours, your Dependent(s) have elected COBRA                   Termination of COBRA Continuation
continuation coverage and one or more Dependents experience
another COBRA qualifying event, the affected Dependent(s)             COBRA continuation coverage will be terminated upon the
may elect to extend their COBRA continuation coverage for             occurrence of any of the following:
an additional 18 months (7 months if the secondary event                 the end of the COBRA continuation period of 18, 29 or 36
occurs within the disability extension period) for a maximum              months, as applicable;
of 36 months from the initial qualifying event. The second               failure to pay the required premium within 30 calendar days
qualifying event must occur before the end of the initial 18              after the due date;
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no                    cancellation of the Employer’s policy with Cigna;
circumstances will COBRA continuation coverage be


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   after electing COBRA continuation coverage, a qualified                 in the case of a multi-employer plan, no later than 14 days
    beneficiary enrolls in Medicare (Part A, Part B, or both);               after the end of the period in which Employers must
   after electing COBRA continuation coverage, a qualified                  provide notice of a qualifying event to the Plan
    beneficiary becomes covered under another group health                   Administrator.
    plan, unless the qualified beneficiary has a condition for           How to Elect COBRA Continuation Coverage
    which the new plan limits or excludes coverage under a pre-          The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will             who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable            inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                  include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an           coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;             election no later than the due date stated on the COBRA
   any reason the Plan would terminate coverage of a                    election notice. If a written election notice is required, it must
    participant or beneficiary who is not receiving continuation         be post-marked no later than the due date stated on the
    coverage (e.g., fraud).                                              COBRA election notice. If you do not make proper
Moving Out of Employer’s Service Area or Elimination of                  notification by the due date shown on the notice, you and your
a Service Area                                                           Dependents will lose the right to elect COBRA continuation
                                                                         coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                 the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your           furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan
will be limited to out-of-network coverage only. In-network              Each qualified beneficiary has an independent right to elect
coverage is not available outside of the Employer’s service              COBRA continuation coverage. Continuation coverage may
area. If the Employer offers another benefit option through              be elected for only one, several, or for all Dependents who are
Cigna or another carrier which can provide coverage in your              qualified beneficiaries. Parents may elect to continue coverage
location, you may elect COBRA continuation coverage under                on behalf of their Dependent children. You or your spouse
that option.                                                             may elect continuation coverage on behalf of all the qualified
                                                                         beneficiaries. You are not required to elect COBRA
Employer’s Notification Requirements                                     continuation coverage in order for your Dependents to elect
Your Employer is required to provide you and/or your                     COBRA continuation.
Dependents with the following notices:                                   How Much Does COBRA Continuation Coverage Cost?
   An initial notification of COBRA continuation rights must            Each qualified beneficiary may be required to pay the entire
    be provided within 90 days after your (or your spouse’s)             cost of continuation coverage. The amount may not exceed
    coverage under the Plan begins (or the Plan first becomes            102% of the cost to the group health plan (including both
    subject to COBRA continuation requirements, if later). If            Employer and Employee contributions) for coverage of a
    you and/or your Dependents experience a qualifying event             similarly situated active Employee or family member. The
    before the end of that 90-day period, the initial notice must        premium during the 11-month disability extension may not
    be provided within the time frame required for the COBRA             exceed 150% of the cost to the group health plan (including
    continuation coverage election notice as explained below.            both employer and employee contributions) for coverage of a
   A COBRA continuation coverage election notice must be                similarly situated active Employee or family member.
    provided to you and/or your Dependents within the                    For example: If the Employee alone elects COBRA
    following timeframes:                                                continuation coverage, the Employee will be charged 102%
     if the Plan provides that COBRA continuation coverage              (or 150%) of the active Employee premium. If the spouse or
      and the period within which an Employer must notify the            one Dependent child alone elects COBRA continuation
      Plan Administrator of a qualifying event starts upon the           coverage, they will be charged 102% (or 150%) of the active
      loss of coverage, 44 days after loss of coverage under the         Employee premium. If more than one qualified beneficiary
      Plan;                                                              elects COBRA continuation coverage, they will be charged
     if the Plan provides that COBRA continuation coverage              102% (or 150%) of the applicable family premium.
      and the period within which an Employer must notify the            When and How to Pay COBRA Premiums
      Plan Administrator of a qualifying event starts upon the           First payment for COBRA continuation
      occurrence of a qualifying event, 44 days after the
      qualifying event occurs; or                                        If you elect COBRA continuation coverage, you do not have
                                                                         to send any payment with the election form. However, you
                                                                         must make your first payment no later than 45 calendar days


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after the date of your election. (This is the date the Election         the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first         (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                    etc.).
continuation rights under the Plan.                                     Newly Acquired Dependents
Subsequent payments                                                     If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation                adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments              being continued, you may cover such Dependent under your
of the required premium for each additional month of                    COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If             or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage             continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without           the coverage period following your early termination of
any break.                                                              COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                   COBRA coverage for your Dependent spouse and any
                                                                        Dependent children who are not your children (e.g.,
Although subsequent payments are due by the first day of the            stepchildren or grandchildren) will cease on the date your
month, you will be given a grace period of 30 days after the            COBRA coverage ceases and they are not eligible for a
first day of the coverage period to make each monthly                   secondary qualifying event.
payment. Your COBRA continuation coverage will be
provided for each coverage period as long as payment for that           COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for          Bankruptcy
that payment. However, if your payment is received after the            If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                 is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                 United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                  continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before              coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated           within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that           covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                  entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                 Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage            be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                  months following your death. However, COBRA continuation
coverage under the Plan.                                                coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                       listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following             Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator               You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                 law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a           continuation benefits.
result of the qualifying event:
   Your divorce or legal separation; or                                HC-FED66                                                       07-14
   Your child ceases to qualify as a Dependent under the Plan.
   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice              ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
                                                                        The name of the Plan is:
    month COBRA period).
                                                                          Ecolab Health & Welfare Benefits Plan
(Also refer to the section titled “Disability Extension” for
additional notice requirements.)
Notice must be made in writing and must include: the name of
the Plan, name and address of the Employee covered under the
Plan, name and address(es) of the qualified beneficiaries
affected by the qualifying event; the qualifying event; the date


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The name, address, ZIP code and business telephone number              the determination of whether a person is entitled to benefits
of the sponsor of the Plan is:                                         under the plan, and the computation of any and all benefit
  Ecolab                                                               payments. The Plan Administrator also delegates to Cigna the
  Benefits Dept. EGH-03, 1 Ecolab Place                                discretionary authority to perform a full and fair review, as
  St. Paul, MN 55102                                                   required by ERISA, of each claim denial which has been
  800-964-0265                                                         appealed by the claimant or his duly authorized representative.
Employer Identification             Plan Number:                       Plan Modification, Amendment and Termination
Number (EIN):                                                          The Employer as Plan Sponsor reserves the right to, at any
410231510                           501                                time, change or terminate benefits under the Plan, to change or
                                                                       terminate the eligibility of classes of employees to be covered
The name, address, ZIP code and business telephone number              by the Plan, to amend or eliminate any other plan term or
of the Plan Administrator is:                                          condition, and to terminate the whole plan or any part of it.
  Ecolab Health & Welfare Benefits Plan                                Contact the Employer for the procedure by which benefits
  Benefits Dept. EGH-03, 1 Ecolab Place                                may be changed or terminated, by which the eligibility of
  St. Paul, MN 55102                                                   classes of employees may be changed or terminated, or by
  800-964-0265                                                         which part or all of the Plan may be terminated. No consent of
The name, address and ZIP code of the person designated as             any participant is required to terminate, modify, amend or
agent for service of legal process is:                                 change the Plan.
  Ecolab                                                               Termination of the Plan together with termination of the
  Benefits Dept. EGH-03, 1 Ecolab Place                                insurance policy(s) which funds the Plan benefits will have no
  St. Paul, MN 55102                                                   adverse effect on any benefits to be paid under the policy(s)
  800-964-0265                                                         for any covered medical expenses incurred prior to the date
                                                                       that policy(s) terminates. Likewise, any extension of benefits
The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:
                                                                       disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
The cost of the Plan is shared by Employee and Employer.               termination. Rights to purchase limited amounts of life and
                                                                       medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 12/31.
                                                                       the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
A list of any Trustees of the Plan, which includes name, title         on the earliest of the following dates:
and address, is available upon request to the Plan                        the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                                 the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                    if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                          the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.
Discretionary Authority
The Plan Administrator delegates to Cigna the discretionary
authority to interpret and apply plan terms and to make factual
determinations in connection with its review of claims under
the plan. Such discretionary authority is intended to include,
but not limited to, the determination of the eligibility of
persons desiring to enroll in or claim benefits under the plan,



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Statement of Rights                                                     administrator to provide the materials and pay you up to $110
As a participant in the plan you are entitled to certain rights         a day until you receive the materials, unless the materials were
and protections under the Employee Retirement Income                    not sent because of reasons beyond the control of the
Security Act of 1974 (ERISA). ERISA provides that all plan              administrator. If you have a claim for benefits which is denied
participants shall be entitled to:                                      or ignored, in whole or in part, you may file suit in a state or
                                                                        federal court.
Receive Information About Your Plan and Benefits
                                                                        In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office
                                                                        thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union         order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance          federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy             the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the           asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the           Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security              The court will decide who should pay court costs and legal
  Administration.                                                       fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,             have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                   may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,           finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)           Assistance with Your Questions
    and updated summary plan description. The administrator
    may make a reasonable charge for the copies.                        If you have any questions about your plan, you should contact
                                                                        the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The        statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person        assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.        you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                     Security Administration, U.S. Department of Labor listed in
 continue health care coverage for yourself, your spouse or            your telephone directory or the Division of Technical
  Dependents if there is a loss of coverage under the Plan as a         Assistance and Inquiries, Employee Benefits Security
  result of a qualifying event. You or your Dependents may              Administration, U.S. Department of Labor, 200 Constitution
  have to pay for such coverage. Review the documents                   Avenue N.W., Washington, D.C. 20210. You may also obtain
  governing the Plan on the rules governing your federal                certain publications about your rights and responsibilities
  continuation coverage rights.                                         under ERISA by calling the publications hotline of the
                                                                        Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
imposes duties upon the people responsible for the operation            HC-FED72 M                                                  05-15

of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants        Definitions
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise                    Active Service
discriminate against you in any way to prevent you from                 You will be considered in Active Service:
obtaining a welfare benefit or exercising your rights under                on any of your Employer's scheduled work days if you are
ERISA. If your claim for a welfare benefit is denied or                     performing the regular duties of your work on that day
ignored you have a right to know why this was done, to obtain               either at your Employer's place of business or at some
copies of documents relating to the decision without charge,                location to which you are required to travel for your
and to appeal any denial, all within certain time schedules.                Employer's business.
Enforce Your Rights                                                        on a day which is not one of your Employer's scheduled
Under ERISA, there are steps you can take to enforce the                    work days if you were in Active Service on the preceding
above rights. For instance, if you request a copy of documents              scheduled work day.
governing the plan or the latest annual report from the plan
and do not receive them within 30 days, you may file suit in a
                                                                        HC-DFS1095                                                  12-17
federal court. In such a case, the court may require the plan


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                                                                          Business Decision Team
Ambulance                                                                 A committee comprised of voting and non-voting
Licensed ambulance transportation services involve the use of             representatives across various Cigna business units such as
specially designed and equipped vehicles for transporting ill or          clinical, medical and business leadership that is duly
injured patients. It includes ground, air, or sea transportation          authorized by Cigna to effect changes regarding coverage
when Medically Necessary and clinically appropriate.                      treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1480                                                   01-21        utilization management to Medical Pharmaceuticals.

Biologic                                                                  HC-DFS1494                                                    07-20

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                Charges
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or                The term charges means the actual billed charges; except
any other trivalent organic arsenic compound), used for the               when Cigna has contracted directly or indirectly for a different
prevention, treatment, or cure of a disease or condition of               amount including where Cigna has directly or indirectly
human beings, as defined under Section 351(i) of the Public               contracted with an entity to arrange for the provision of
Health Service Act (42 USC 262(i)) (as amended by the                     services and/or supplies through contracts with providers of
Biologics Price Competition and Innovation Act of 2009, title             such services and/or supplies.
VII of the Patient Protection and Affordable Care Act, Pub. L.
No. 111-148, § 7002 (2010), and as may be amended                         HC-DFS1193                                                    01-19
thereafter).

                                                                          Chiropractic Care
HC-DFS840                                                    10-16
                                                                          The term Chiropractic Care means the conservative
                                                                          management of neuromusculoskeletal conditions through
Biosimilar                                                                manipulation and ancillary physiological treatment rendered to
A Biologic that is highly similar to the reference Biologic               specific joints to restore motion, reduce pain and improve
product notwithstanding minor differences in clinically                   function.
inactive components, and has no clinically meaningful
differences from the reference Biologic in terms of its safety,           HC-DFS55                                                      04-10
purity, and potency, as defined under Section 351(i) of the                                                                                  V1
Public Health Service Act (42 USC 262(i)) (as amended by
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,              Custodial Services
Pub. L. No. 111-148, § 7002 (2010), and as may be amended                 Any services that are of a sheltering, protective, or
thereafter).                                                              safeguarding nature. Such services may include a stay in an
                                                                          institutional setting, at-home care, or nursing services to care
                                                                          for someone because of age or mental or physical condition.
HC-DFS841                                                    10-16
                                                                          This service primarily helps the person in daily living.
                                                                          Custodial care also can provide medical services, given mainly
                                                                          to maintain the person’s current state of health. These services
                                                                          cannot be intended to greatly improve a medical condition;
                                                                          they are intended to provide care while the patient cannot care
                                                                          for himself or herself. Custodial Services include but are not
                                                                          limited to:
                                                                             Services related to watching or protecting a person;
                                                                             Services related to performing or assisting a person in
                                                                              performing any activities of daily living, such as: walking,
                                                                              grooming, bathing, dressing, getting in or out of bed,



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    toileting, eating, preparing foods, or taking medications that             has resided with you for no less than one year;
    can be self administered, and                                              is no less than 18 years of age;
   Services not required to be performed by trained or skilled                is financially interdependent with you and has proven such
    medical or paramedical personnel.                                           interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10
                                                                                property or a common leasehold interest in such property;
                                                                  V1
                                                                                community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
                                                                                beneficiary for life insurance or retirement benefits or under
Dependent                                                                       your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
                                                                                proof as is considered by Cigna to be sufficient to establish
   your lawful spouse; or
                                                                                financial interdependency under the circumstances of your
   your Domestic Partner; and                                                  particular case;
   any child of yours who is                                                  is not a blood relative any closer than would prohibit legal
     less than 26 years old.                                                   marriage; and
     26 or more years old, unmarried, and primarily supported                 has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or              In addition, you and your Domestic Partner will be considered
      while covered as a dependent under a prior plan with no               to have met the terms of this definition as long as neither you
      break in coverage.                                                    nor your Domestic Partner:
      Proof of the child's condition and dependence may be                     has signed a Domestic Partner affidavit or declaration with
      required to be submitted to the plan within 31 days after                 any other person within twelve months prior to designating
      the date the child ceases to qualify above. From time to                  each other as Domestic Partners hereunder;
      time, but not more frequently than once a year, the plan
                                                                               is currently legally married to another person; or
      may require proof of the continuation of such condition
      and dependence.                                                          has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.
Benefits for a Dependent child will continue until the last day             The section of this certificate entitled "COBRA Continuation
of the calendar month in which the limiting age is reached.                 Rights Under Federal Law" will not apply to your Domestic
Anyone who is eligible as an Employee will not be considered                Partner and his or her Dependents.
as a Dependent spouse. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be                HC-DFS47                                                        04-10
covered as an Employee while also covered as a Dependent of                                                                                    V1
an Employee.
No one may be considered as a Dependent of more than one
Employee.


HC-DFS872                                                      10-16



Domestic Partner
A Domestic Partner is defined as a person of the same or
opposite sex who:
   shares your permanent residence;



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Emergency Medical Condition                                               emergency services, hospitalization, maternity and newborn
Emergency medical condition means a medical condition                     care, mental health and substance use disorder services,
which manifests itself by acute symptoms of sufficient                    including behavioral health treatment, prescription drugs,
severity (including severe pain) such that a prudent layperson,           rehabilitative and habilitative services and devices, laboratory
who possesses an average knowledge of health and medicine,                services, preventive and wellness services and chronic disease
could reasonably expect the absence of immediate medical                  management and pediatric services, including oral and vision
attention to result in placing the health of the individual (or,          care.
with respect to a pregnant woman, the health of the woman or
her unborn child) in serious jeopardy; serious impairment to              HC-DFS411                                                       01-11
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                          Expense Incurred
                                                                          An expense is incurred when the service or the supply for
HC-DFS394                                                    11-10
                                                                          which it is incurred is provided.

Emergency Services
                                                                          HC-DFS10                                                        04-10
Emergency services means, with respect to an emergency                                                                                      V1
medical condition, a medical screening examination that is
within the capability of the emergency department of a
Hospital, including ancillary services routinely available to the         Free-Standing Surgical Facility
emergency department to evaluate the emergency medical                    The term Free-Standing Surgical Facility means an institution
condition; and such further medical examination and                       which meets all of the following requirements:
treatment, to the extent they are within the capabilities of the
                                                                             it has a medical staff of Physicians, Nurses and licensed
staff and facilities available at the Hospital, to stabilize the
                                                                              anesthesiologists;
patient.
                                                                             it maintains at least two operating rooms and one recovery
                                                                              room;
HC-DFS1482                                                   01-21
                                                                             it maintains diagnostic laboratory and x-ray facilities;
                                                                             it has equipment for emergency care;
Employee
                                                                             it has a blood supply;
The term Employee means a full-time or part-time employee
                                                                             it maintains medical records;
of the Employer who is currently in Active Service. The term
does not include employees who are temporary or who                          it has agreements with Hospitals for immediate acceptance
normally work less than 20 hours a week for the Employer.                     of patients who need Hospital Confinement on an inpatient
                                                                              basis; and
                                                                             it is licensed in accordance with the laws of the appropriate
HC-DFS1094                                                   12-17
                                                                              legally authorized agency.
                                                                          A Free-Standing Surgical Facility, unless specifically noted
Employer                                                                  otherwise, is covered with the same cost share as an
The term Employer means the plan sponsor self-insuring the                Outpatient Facility.
benefits described in this booklet, on whose behalf Cigna is
providing claim administration services.
                                                                          HC-DFS1484                                                      01-21


HC-DFS8                                                      04-10
                                                               V1
                                                                          Hospice Care Program
                                                                          The term Hospice Care Program means:
Essential Health Benefits                                                    a coordinated, interdisciplinary program to meet the
                                                                              physical, psychological, spiritual and social needs of dying
Essential health benefits means, to the extent covered under                  persons and their families;
the plan, expenses incurred with respect to covered services, in
at least the following categories: ambulatory patient services,



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   a program that provides palliative and supportive medical,                   accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                  authorized agency.
    care during the illness;                                                 The term Hospital does not include an institution which is
   a program for persons who have a Terminal Illness and for                primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                           home.


HC-DFS51                                                        04-10        HC-DFS1485                                                       01-21
                                                                  V1


                                                                             Hospital Confinement or Confined in a Hospital
Hospice Care Services                                                        A person will be considered Confined in a Hospital if he is:
The term Hospice Care Services means any services provided                      a registered bed patient in a Hospital upon the
by: a Hospital, a Skilled Nursing Facility or a similar                          recommendation of a Physician;
institution, a Home Health Care Agency, a Hospice Facility,
or any other licensed facility or agency under a Hospice Care                   receiving treatment for Mental Health and Substance Use
Program.                                                                         Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.

HC-DFS52                                                        04-10
                                                                             HC-DFS807                                                        12-15
                                                                  V1



Hospice Facility                                                             Injury
The term Hospice Facility means an institution or part of it                 The term Injury means an accidental bodily injury.
which:
   primarily provides care for Terminally Ill patients;                     HC-DFS12                                                         04-10
                                                                                                                                                V1
   is accredited by the National Hospice Organization;
   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in          Maintenance Treatment
    which it operates.                                                       The term Maintenance Treatment means:
                                                                                treatment rendered to keep or maintain the patient's current
HC-DFS53                                                        04-10
                                                                                 status.
                                                                  V1

                                                                             HC-DFS56                                                         04-10
                                                                                                                                                V1
Hospital
The term Hospital means:
   an institution licensed as a hospital, which: maintains, on              Maximum Reimbursable Charge - Medical
    the premises, all facilities necessary for medical and                   The Maximum Reimbursable Charge for covered services for
    surgical treatment; provides such treatment on an inpatient              Open Access Plus is determined based on the lesser of:
    basis, for compensation, under the supervision of                           the provider’s normal charge for a similar service or supply;
    Physicians; and provides 24-hour service by Registered                       or
    Graduate Nurses;
                                                                                a policyholder-selected percentage of a fee schedule Cigna
   an institution which qualifies as a hospital, a psychiatric                  has developed that is based upon a methodology similar to a
    hospital or a tuberculosis hospital, and a provider of                       methodology utilized by Medicare to determine the
    services under Medicare, if such institution is accredited as                allowable fee for the same or similar service within the
    a hospital by the Joint Commission on the Accreditation of                   geographic market.
    Healthcare Organizations; or
                                                                             The percentage used to determine the Maximum Reimbursable
   an institution which: specializes in treatment of Mental                 Charge is listed in The Schedule.
    Health and Substance Use Disorder or other related illness;
    provides residential treatment programs; and is licensed in


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In some cases, a Medicare based schedule will not be used and              all of the following as determined by a Medical Director or
the Maximum Reimbursable Charge for covered services is                    Review Organization:
determined based on the lesser of:                                            required to diagnose or treat an illness, Injury, disease or its
   the provider’s normal charge for a similar service or supply;              symptoms;
    or                                                                        in accordance with generally accepted standards of medical
   the 80th percentile of charges made by providers of such                   practice;
    service or supply in the geographic area where it is received             clinically appropriate in terms of type, frequency, extent,
    as compiled in a database selected by Cigna. If sufficient                 site and duration;
    charge data is unavailable in the database for that
    geographic area to determine the Maximum Reimbursable                     not primarily for the convenience of the patient, Physician
    Charge, then data in the database for similar services may                 or Other Health Professional;
    be used.                                                                  not more costly than an alternative service(s), medication(s)
The Maximum Reimbursable Charge is subject to all other                        or supply(ies) that is at least as likely to produce equivalent
benefit limitations and applicable coding and payment                          therapeutic or diagnostic results with the same safety profile
methodologies determined by Cigna. Additional information                      as to the prevention, evaluation, diagnosis or treatment of
about how Cigna determines the Maximum Reimbursable                            your Sickness, Injury, condition, disease or its symptoms;
Charge is available upon request.                                              and
                                                                              rendered in the least intensive setting that is appropriate for
                                                                               the delivery of the services, supplies or medications. Where
HC-DFS1365                                                    06-19
                                                                               applicable, the Medical Director or Review Organization
                                                                               may compare the cost-effectiveness of alternative services,
Medicaid                                                                       supplies, medications or settings when determining least
                                                                               intensive setting.
The term Medicaid means a state program of medical aid for
needy persons established under Title XIX of the Social                    In determining whether health care services, supplies, or
Security Act of 1965 as amended.                                           medications are Medically Necessary, the Medical Director or
                                                                           Review Organization may rely on the clinical coverage
                                                                           policies maintained by Cigna or the Review Organization.
HC-DFS16                                                      04-10        Clinical coverage policies may incorporate, without limitation
                                                                V1         and as applicable, criteria relating to U.S. Food and Drug
                                                                           Administration-approved labeling, the standard medical
Medical Pharmaceutical                                                     reference compendia and peer-reviewed, evidence-based
                                                                           scientific literature or guidelines.
An FDA-approved prescription pharmaceutical product,
including a Specialty Prescription Drug Product, typically
required to be administered in connection with a covered                   HC-DFS1486                                                        01-21
service by a Physician or Other Health Professional within the
scope of the provider's license. This definition includes certain
                                                                           Medicare
pharmaceutical products whose administration may initially or
typically require Physician oversight but may be self-                     The term Medicare means the program of medical care
administered under certain conditions specified in the                     benefits provided under Title XVIII of the Social Security Act
product’s FDA labeling. This definition does not include any               of 1965 as amended.
charges for mobile, web-based or other electronic applications
or software, even if approved for marketing as a prescription
                                                                           HC-DFS17                                                          04-10
product by the FDA.                                                                                                                            V1



HC-DFS1487                                                    01-21
                                                                           Necessary Services and Supplies
                                                                           The term Necessary Services and Supplies includes any
Medically Necessary/Medical Necessity                                      charges, except charges for Room and Board, made by a
Health care services, supplies and medications provided for                Hospital for medical services and supplies actually used
the purpose of preventing, evaluating, diagnosing or treating a            during Hospital Confinement.
Sickness, Injury, condition, disease or its symptoms, that are



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The term Necessary Services and Supplies will not include                   Other Health Professional
any charges for special nursing fees, dental fees or medical                The term Other Health Professional means an individual other
fees.                                                                       than a Physician who is licensed or otherwise authorized under
                                                                            the applicable state law to deliver medical services and
HC-DFS1488                                                     01-21
                                                                            supplies. Other Health Professionals include, but are not
                                                                            limited to physical therapists, registered nurses and licensed
                                                                            practical nurses. Other Health Professionals do not include
New Prescription Drug Product                                               providers such as Certified First Assistants, Certified
A Prescription Drug Product, or new use or dosage form of a                 Operating Room Technicians, Certified Surgical
previously FDA-approved Prescription Drug Product, for the                  Assistants/Technicians, Licensed Certified Surgical
period of time starting on the date the Prescription Drug                   Assistants/Technicians, Licensed Surgical Assistants,
Product or newly-approved use or dosage form becomes                        Orthopedic Physician Assistants and Surgical First Assistants.
available on the market following approval by the U.S. Food
and Drug Administration (FDA) and ending on the date Cigna
                                                                            HC-DFS1490                                                  01-21
makes a Prescription Drug List coverage status decision.

                                                                            Participating Provider
HC-DFS1498                                                     07-20
                                                                            The term Participating Provider means a person or entity that
                                                                            has a direct or indirect contractual arrangement with Cigna to
Nurse                                                                       provide covered services and/or supplies, the Charges for
The term Nurse means a Registered Graduate Nurse, a                         which are Covered Expenses. It includes an entity that has
Licensed Practical Nurse or a Licensed Vocational Nurse who                 directly or indirectly contracted with Cigna to arrange, through
has the right to use the abbreviation "R.N.," "L.P.N." or                   contracts with providers of services and/or supplies, for the
"L.V.N."                                                                    provision of any services and/or supplies, the Charges for
                                                                            which are Covered Expenses.

HC-DFS22                                                       04-10
                                                                 V1         HC-DFS1194                                                  01-19




Other Health Care Facility                                                  Patient Protection and Affordable Care Act of 2010
The term Other Health Care Facility means a facility other                  (“PPACA”)
than a Hospital or Hospice Facility. Examples of Other Health               Patient Protection and Affordable Care Act of 2010 means the
Care Facilities include, but are not limited to, licensed skilled           Patient Protection and Affordable Care Act of 2010 (Public
nursing facilities, rehabilitation Hospitals and subacute                   Law 111-148) as amended by the Health Care and Education
facilities.                                                                 Reconciliation Act of 2010 (Public Law 111-152).


HC-DFS1489                                                     01-21        HC-DFS412                                                   01-11




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Pharmacy & Therapeutics (P&T) Committee                                  characteristics, is approved by the FDA for self-administration
A committee comprised of physicians and an independent                   or administration by a non-skilled caregiver. For the purpose
pharmacist that represent a range of clinical specialties. The           of benefits under the plan, this definition also includes:
committee regularly reviews Medical Pharmaceuticals for                     The following diabetic supplies: alcohol pads, swabs, wipes,
safety and efficacy, the findings of which clinical reviews                  Glucagon/Glucagen, injection aids, insulin pump
inform coverage determinations made by the Business                          accessories (but excluding insulin pumps), needles
Decision Team. The P&T Committee’s review may be based                       including pen needles, syringes, test strips, lancets, urine
on consideration of, without limitation, U.S. Food and Drug                  glucose and ketone strips;
Administration-approved labeling, standard medical reference                Needles and syringes for self-administered medications or
compendia, or scientific studies published in peer-reviewed                  Biologics covered under the plan’s Prescription Drug
English-language bio-medical journals.                                       benefit; and
                                                                            Inhaler assistance devices and accessories, peak flow
HC-DFS1495                                                  07-20            meters.
                                                                         This definition does not include any charges for mobile, web-
Physician                                                                based or other electronic applications or software, even if
                                                                         approved for marketing as a prescription product by the FDA.
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is
licensed to prescribe and administer drugs or to perform                 HC-DFS1497                                                  07-20
surgery. It will also include any other licensed medical
practitioner whose services are required to be covered by law
in the locality where the policy is issued if he is:                     Prescription Order or Refill
   operating within the scope of his license; and                       The lawful directive to dispense a Prescription Drug Product
                                                                         issued by a Physician whose scope of practice permits issuing
   performing a service for which benefits are provided under           such a directive.
    this plan when performed by a Physician.

                                                                         HC-DFS856                                                   10-16
HC-DFS25                                                    04-10
                                                              V1
                                                                         Preventive Treatment
Prescription Drug List                                                   The term Preventive Treatment means treatment rendered to
                                                                         prevent disease or its recurrence.
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug
benefits that have been approved by the U.S. Food and Drug               HC-DFS57                                                    04-10
Administration (FDA). This list is adopted by your Employer                                                                              V1

as part of the plan. The list is subject to periodic review and
change, and is subject to the limitations and exclusions of the
                                                                         Primary Care Physician
plan.
                                                                         The term Primary Care Physician means a Physician who
                                                                         qualifies as a Participating Provider in general practice,
HC-DFS1496                                                  07-20        internal medicine, family practice OB/GYN or pediatrics; and
                                                                         who has been voluntarily selected by you and is contracted as
Prescription Drug Product                                                a Primary Care Physician with, as authorized by Cigna, to
                                                                         provide or arrange for medical care for you or any of your
A drug, Biologic (including a Biosimilar), or other product              insured Dependents.
that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the
Drug Efficacy Study Implementation review, or products                   HC-DFS40                                                    04-10

marketed prior to 1938 and not subject to review and that can,                                                                           V1

under federal or state law, be dispensed only pursuant to a
Prescription Order or Refill. A Prescription Drug Product
includes a drug, Biologic or product that, due to its



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Psychologist                                                              Skilled Nursing Facility
The term Psychologist means a person who is licensed or                   The term Skilled Nursing Facility means a licensed institution
certified as a clinical psychologist. Where no licensure or               (other than a Hospital, as defined) which specializes in:
certification exists, the term Psychologist means a person who               physical rehabilitation on an inpatient basis; or
is considered qualified as a clinical psychologist by a
recognized psychological association. It will also include any               skilled nursing and medical care on an inpatient basis;
other licensed counseling practitioner whose services are                 but only if that institution: maintains on the premises all
required to be covered by law in the locality where the policy            facilities necessary for medical treatment; provides such
is issued if he is operating within the scope of his license and          treatment, for compensation, under the supervision of
performing a service for which benefits are provided under                Physicians; and provides Nurses' services.
this plan when performed by a Psychologist.
                                                                          HC-DFS31                                                      04-10

HC-DFS26                                                     04-10                                                                        V1

                                                                V1

                                                                          Specialist
Review Organization                                                       The term Specialist means a Physician who provides
The term Review Organization refers to an affiliate of Cigna              specialized services, and is not engaged in general practice,
or another entity to which Cigna has delegated responsibility             family practice, internal medicine, obstetrics/gynecology or
for performing utilization review services. The Review                    pediatrics.
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed
                                                                          HC-DFS33                                                      04-10
mental health and substance use disorder professionals, and
                                                                                                                                          V1
other trained staff members who perform utilization review
services.
                                                                          Specialty Prescription Drug Product
HC-DFS808                                                    12-15        A Medical Pharmaceutical considered by Cigna to be a
                                                                          Specialty Prescription Drug Product based on consideration of
                                                                          the following factors, subject to applicable law: whether the
Room and Board                                                            Medical Pharmaceutical is prescribed and used for the
The term Room and Board includes all charges made by a                    treatment of a complex, chronic or rare condition; whether the
Hospital for room and meals and for all general services and              Medical Pharmaceutical has a high acquisition cost; and,
activities needed for the care of registered bed patients.                whether the Medical Pharmaceutical is subject to limited or
                                                                          restricted distribution, requires special handling and/or
                                                                          requires enhanced patient education, provider coordination or
HC-DFS1481                                                   01-21
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
Sickness – For Medical Insurance                                          presence of any one such characteristic does not guarantee that
                                                                          a Medical Pharmaceutical will be considered a Specialty
The term Sickness means a physical or mental illness. It also             Prescription Drug Product. Specialty Prescription Drug
includes pregnancy. Expenses incurred for routine Hospital                Products may vary by plan benefit assignment based on
and pediatric care of a newborn child prior to discharge from             factors such as method or site of clinical administration, or
the Hospital nursery will be considered to be incurred as a               utilization management requirements based on factors such as
result of Sickness.                                                       acquisition cost. You may determine whether a medication is a
                                                                          Specialty Prescription Drug Product through the website
HC-DFS50                                                     04-10        shown on your ID card or by calling member services at the
                                                                V1        telephone number on your ID card.


                                                                          HC-DFS858                                                     10-16




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Stabilize                                                                  Urgent Care
Stabilize means, with respect to an emergency medical                      Urgent Care is medical, surgical, Hospital or related health
condition, to provide such medical treatment of the condition              care services and testing which are not Emergency Services,
as may be necessary to assure, within reasonable medical                   but which are determined by Cigna, in accordance with
probability that no material deterioration of the condition is             generally accepted medical standards, to have been necessary
likely to result from or occur during the transfer of the                  to treat a condition requiring prompt medical attention. This
individual from a facility.                                                does not include care that could have been foreseen before
                                                                           leaving the immediate area where you ordinarily receive
                                                                           and/or were scheduled to receive services. Such care includes,
HC-DFS413                                                   01-11
                                                                           but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
Terminal Illness                                                           that the insured should not travel due to any medical
                                                                           condition.
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.                                      HC-DFS34                                                     04-10
                                                                                                                                          V1

HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16




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  The following pages describe the features of your Cigna Choice Fund - Health Savings Account. Please read
                                                them carefully.




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                                                                        include laser vision correction, acupuncture, chiropractic care,
                                                                        weight loss programs, fitness club and equipment discounts,
What You Should Know About Cigna                                        and more.
Choice Fund® – Health Savings Account                                   The Basics
Cigna Choice Fund is designed to give you:                              Who is eligible?
Control                                                                 You are eligible to open a Health Savings Account only if you
You decide how much you’d like to contribute (up to federal             are covered under a federally qualified high deductible health
limits) to your Health Savings Account. You decide how and              plan, such as the one described in this booklet. You cannot be
when to access your account. And the money in the account is            covered by Medicare or any other individual or group health
yours until you spend it. Unused dollars remain in your                 plan that is not a federally qualified high deductible health
account from year to year and earn interest.                            plan. You can no longer contribute to the HSA once you:
Choice                                                                  become entitled to Medicare due to age; or are no longer
                                                                        covered under a high deductible health plan. However, you
You have the freedom to choose any licensed doctor, even
                                                                        will still be able to use the HSA funds for qualified health care
those who do not participate with Cigna. Your costs are
                                                                        expenses.
lower for services from Cigna contracted health care
professionals and facilities because they have agreed to accept         How does it work?
discounted payments to help you make the most of your health            The Health Savings Account combines a health care plan with
care dollars.                                                           a tax-free savings account.
Easy Access to your HSA Dollars                                         1. You, your employer or both may contribute to your
You can draw money directly from your health savings                       account. Contributions are tax-free up to federal limits.
account using your HSA debit card, checkbook (if purchased)             2. You choose how to pay for qualified health care
or online bill pay. Or, you may choose automatic claim                     expenses:
forwarding, which allows qualified medical claims to pay                    You may pay for qualified expenses on your own using a
directly from your account to your doctor or hospital.                       debit card, checkbook (if purchased) or online bill pay
Flexibility and Tax Savings                                                  that draws from your health savings account.
You can also choose to pay for medical expenses out of your                You may choose the Automatic Claim Forwarding option,
pocket until you reach the deductible, allowing you to save for             allowing qualifying medical expenses to be paid directly
qualified health care expenses in future years or retirement.               to your doctor, hospital, or other facility from your HSA.
You are not taxed on your HSA withdrawals unless you use                    You can change your election at any time during the year.
the money to pay for nonqualified expenses.                                You may choose to cover your expenses using other
Health Information and Education                                            personal funds. This allows you to save the money in your
Call the toll-free number on your ID card to reach Cigna's 24-              HSA for qualified health care expenses in future years or
Hour Health Information LineSM, giving you access to trained                at retirement. The balance in your savings account will
nurses and an audio library of health topics 24 hours a day. In             earn interest.
addition, the Cigna Healthy Pregnancies, Healthy Babies®                3. Once you meet your deductible, you and your plan share
program provides prenatal education and support for mothers-               the costs. Depending on your plan, you pay pre-determined
to-be.                                                                     coinsurance or copayments for certain services. Your
Tools & Support                                                            employer determines the maximum amount of out-of-pocket
                                                                           expenses you pay each year. Once you meet the maximum,
We help you keep track of your health and coverage with
                                                                           the plan pays covered expenses at 100%.
online benefits information, transactions, and account activity;
medical and drug cost comparisons; monthly statements; and              Your HSA can be a tax-sheltered savings tool. Because your
more. You also have 24/7/365 toll-free access to a dedicated            HSA rolls over year after year, and unused money
Customer Service team, specially trained to answer your                 accumulates tax-deferred interest, you have the option to pay
questions and address your needs.                                       for current qualified health care expenses out of your pocket
                                                                        and use the account to save for future qualified expenses.
Savings on Health and Wellness Products and Services
                                                                        Please note: Your HSA contributions are not taxable under
Through Cigna Healthy Rewards®, you can save money on a
                                                                        federal and most state laws. However, your contributions to
variety of health-related products and services. Offerings



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your HSA may be taxable as income in certain states. Please             Wherever you go in the U.S., you take the Cigna 24-Hour
consult your tax advisor for guidance.                                  Health Information Line with you.
Which services are covered by my Cigna Choice Fund                      Whether it’s late at night, or your child has a fever, or you’re
Health Savings Account?                                                 traveling and you’re not sure where to get care, or you don’t
Money in your HSA can be used only to cover qualified health            feel well and you’re unsure about the symptoms, you can call
care expenses for you and your dependents as allowed under              the Cigna 24-Hour Health Information Line whenever you
federal tax law. In addition, your HSA may be used to cover             have a question. Call the toll-free number on your Cigna ID
COBRA continuation premiums, qualified long-term care                   card and you will speak to a nurse who will help direct you to
insurance premiums, health plan premiums when you are                   the appropriate care.
receiving unemployment compensation, or Medicare or retiree             www.myCigna.com
health plan premiums (excluding Medicare Supplement or                  www.myCigna.com provides fast, reliable and personalized
Medigap premiums) once you reach age 65. If you use your                information and service, including:
HSA funds for expenses that are not allowed under federal tax
law, the withdrawal will be subject to tax, and you will incur a           Online access to your current account balance, past
20 percent tax penalty. The 20 percent penalty is not                       transactions and claim status, as well as your Explanation of
applicable once you reach age 65. A list of qualified health                Benefits and health statements.
care expenses is available through www.myCigna.com.                        Medical cost and drug cost information, including cost
Which services are covered by my Cigna medical plan, and                    estimates specific to you and your plan.
which will I have to pay out of my own pocket?                             Explanations of other Cigna products and services, what
Covered services vary depending on your plan, so visit                      they are and how you can use them.
www.myCigna.com or check your plan materials in this                       Frequently asked questions about health care in general and
booklet for specific information. In addition to your monthly               Cigna Choice Fund specifically.
premiums deducted from your paycheck, you’ll be responsible                A number of convenient, helpful tools that let you:
for paying:
                                                                            Compare costs
   Any health care services not covered by your plan.
                                                                            Use tools to compare costs and help you decide where to get
   Costs for any services you receive until you meet your                  care. You can compare out-of-pocket estimates, specific to
    deductible, if you choose not to use your health savings                your coverage plan, for actual treatment and procedures and
    account, or after you spend all the money in your account.              costs.
   Your share of the cost for your covered health care expenses            Find out more about your local hospitals
    (coinsurance or copayments) after you meet the deductible
                                                                            Learn how hospitals rank by number of procedures
    and your medical plan coverage begins.
                                                                            performed, patients’ average length of stay, and cost. Go to
Tools and Resources at Your Fingertips                                      our online healthcare professional directory for estimated
If you’re not sure where to begin, you have access to health                costs for certain procedures, including total charges and
advocates.                                                                  your out-of-pocket expense, based on your Cigna plan. You
You now have access to health specialists, including                        can also find hospitals that earn the Centers of Excellence
individuals trained as nurses, coaches, nutritionists and                   designation based on effectiveness in treating selected
clinicians, who will listen, understand your needs and help you             procedures/conditions and cost.
find solutions, even when you’re not sure where to begin.                   Get the facts about your medication, cost, treatment
Partner with a health coach and get help to maintain good                   options and side effects
eating and exercise habits; support and encouragement to set                Use the pharmacy tools to: check your prescription drug
and reach health improvement goals; and guidance to better                  costs, listed by specific pharmacy and location (including
manage conditions, including coronary artery disease, low                   Cigna Home Delivery Pharmacy); and review your claims
back pain, osteoarthritis, high blood pressure, high cholesterol            history for the past 16 months. Look at condition-specific
and more. From quick answers to health questions to                         drug treatments and compare characteristics of more than
assistance with managing more serious health needs, call the                200 common medications. Evaluate up to 10 medications at
toll-free number on your Cigna ID card or visit                             once to better understand side effects, drug interactions and
www.myCigna.com. See your benefits administrator for more                   alternatives.
details about all of the services you have access to through
your plan.




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    Take control of your health                                             www.myCigna.com also includes a Healthcare Professional
    Take the health assessment, an online questionnaire that can             Excellence Recognition Directory. This directory includes
    help you identify and monitor your health status. You can                information on:
    learn about preventive care and check your progress toward                Participating physicians who have achieved recognition
    healthy goals. And if your results show that you may benefit               from the National Committee for Quality Assurance
    from other services, you can learn about related Cigna                     (NCQA) for diabetes and/or heart and stroke care.
    programs on the same site.                                                Hospitals that fully meet The Leapfrog Group patient
    Explore topics on medicine, health and wellness                            safety standards.
    Get information on more than 5,000 health conditions,                A little knowledge goes a long way.
    health and wellness, first aid and medical exams through             Getting the facts about your care, such as treatment options
    Healthwise® Medical Encyclopedia, an interactive library.            and health risks is important to your health and well-being,
    Keep track of your personal health information                       and your pocketbook. For instance:
    Health Record is your central, secure location for your                 Getting appropriate preventive care is key to staying
    medical conditions, medications, allergies, surgeries,                   healthy. Visit www.myCigna.com to learn more about
    immunizations, and emergency contacts. You can add your                  proper preventive care and what’s covered under your plan.
    health assessment results to Health Record, so you can                  When it comes to medications, talk to your doctor about
    easily print and share the information with your doctor.                 whether generic drugs are right for you. The brand-name
    Your lab results from certain facilities can be automatically            drugs you are prescribed may have generic alternatives that
    entered into your Personal Health Record.                                could lower your costs. If a generic version of your brand-
    Chart progress of important health indicators                            name drug is not available, other generic drugs with the
    Input key data such as blood pressure, blood sugar,                      same treatment effect may meet your needs.
    cholesterol (Total/LDL/HDL), height and weight, and                     Tools on www.myCigna.com can help you take control of
    exercise regimen. Health Tracker makes it easy to chart                  your health and health care spending. You can learn about
    the results and share them with your doctor.                             medical topics and wellness, and keep track of your
Getting the Most from Your HSA                                               personal health information. You can also print personalized
                                                                             reports to discuss with your doctor.
As a consumer, you make decisions every day, from buying
the family car to choosing the breakfast cereal. Make yourself
a more educated health care consumer and you’ll find that                NOT153                                                         V5
you, too, can make a difference in the health care services you
receive and what you ultimately pay.
If you choose to see a Cigna participating health care
professional, the cost is based on discounted rates, so your
costs will be lower. If you visit a health care professional or
facility not in the network, you may still use your HSA to pay
for the cost of those services, but you will pay a higher rate,
and you may have to file claims.
If you need hospital care, there are several tools to help
you make informed decisions about quality and cost.
 With the Hospital Comparison tool on www.myCigna.com,
   you can learn how hospitals rank by number of procedures
   performed, patients’ average length of stay, and cost.
   Visit our healthcare professional directory for Cigna Centers
    of Excellence, providing hospital scores for specific
    procedures/conditions, such as cardiac care, hip and knee
    replacement, and bariatric surgery. Scores are based on cost
    and effectiveness in treating the procedure/condition, based
    on publicly available data.




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  Saint-Gobain Corporation



   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Cigna Choice Fund/HRA 80 Plan


  - a component of the Saint-Gobain
     Corporation Group Insurance Plan


  EFFECTIVE DATE: January 1, 2022




  ASO32
  3207020




  This document printed in October, 2022 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY SAINT-GOBAIN CORPORATION WHICH
IS RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
Care Management and Care Coordination Services                           the Prescription Drug List. These rebates or remuneration are
                                                                         not obtained on you or your Employer’s or plan’s behalf or for
Your plan may enter into specific collaborative arrangements
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
with health care professionals committed to improving quality
                                                                         to pass these rebates on to you, or apply them to your plan’s
care, patient satisfaction and affordability. Through these
                                                                         Deductible if any or take them into account in determining
collaborative arrangements, health care professionals commit
                                                                         your Copayments and/or Coinsurance.
to proactively providing participants with certain care
management and care coordination services to facilitate                  Cigna and its affiliates or designees, conduct business with
achievement of these goals. Reimbursement is provided at                 various pharmaceutical manufacturers separate and apart from
100% for these services when rendered by designated health               this plan’s Medical Pharmaceutical and Prescription Drug
care professionals in these collaborative arrangements.                  Product benefits. Such business may include, but is not limited
                                                                         to, data collection, consulting, educational grants and research.
                                                                         Amounts received from pharmaceutical manufacturers
HC-SPP27                                                    06-15        pursuant to such arrangements are not related to this plan.
                                                                V1       Cigna and its affiliates are not required to pass on to you, and
                                                                         do not pass on to you, such amounts.
                                                                         Coupons, Incentives and Other Communications
Important Notices                                                        At various times, Cigna or its designee may send mailings to
Direct Access to Obstetricians and Gynecologists                         you or your Dependents or to your Physician that
                                                                         communicate a variety of messages, including information
You do not need prior authorization from the plan or from any
                                                                         about Medical Pharmaceuticals and Prescription Drug
other person (including a primary care provider) in order to
                                                                         Products. These mailings may contain coupons or offers from
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           pharmaceutical manufacturers that enable you or your
                                                                         Dependents, at your discretion, to purchase the described
or gynecology. The health care professional, however, may be
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
required to comply with certain procedures, including
                                                                         discount or to obtain it at no charge. Pharmaceutical
obtaining prior authorization for certain services, following a
                                                                         manufacturers may pay for and/or provide the content for
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         these mailings. Cigna, its affiliates and the plan are not
who specialize in obstetrics or gynecology, visit                        responsible in any way for any decision you make in
                                                                         connection with any coupon, incentive, or other offer you may
www.mycigna.com or contact customer service at the phone
                                                                         receive from a pharmaceutical manufacturer or Physician.
number listed on the back of your ID card.
                                                                         Additional programs are available for rebates. These include
Selection of a Primary Care Provider
                                                                         but are not limited to: MDLive, Coaching for Chronic
This plan generally allows the designation of a primary care             Conditions, Healthy Pregnancies, Tobacco Cessation and
provider. You have the right to designate any primary care               Healthy Rewards. Please contact your provider for details.
provider who participates in the network and who is available
to accept you or your family members. For information on
how to select a primary care provider, and for a list of the             HC-IMP304 M                                                   01-22

participating primary care providers, visit www.mycigna.com
or contact customer service at the phone number listed on the            Discrimination is Against the Law
back of your ID card.
                                                                         Cigna complies with applicable Federal civil rights laws and
For children, you may designate a pediatrician as the primary            does not discriminate on the basis of race, color, national
care provider.                                                           origin, age, disability or sex. Cigna does not exclude people or
                                                                         treat them differently because of race, color, national origin,
HC-NOT5                                                     01-11        age, disability or sex.




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Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
     Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
     Written information in other formats (large print, audio,            其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                           khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Qualified interpreters
     Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
                                                                           가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,               (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                           ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Cigna                                                                  kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Nondiscrimination Complaint Coordinator
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
                                                                           плане Cigna, позвоните по номеру, указанному на
If you need assistance filing a written grievance, please call             обратной стороне вашей идентификационной карточки
the number on the back of your ID card or send an email to                 участника плана. Если вы не являетесь участником одного
ACAGrievance@cigna.com. You can also file a civil rights                   из наших планов, позвоните по номеру 1.800.244.6224
complaint with the U.S. Department of Health and Human                     (TTY: 711).
Services, Office for Civil Rights electronically through the
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
    1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                           (TTY: Rele 711).
Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.                             French – ATTENTION: Des services d’aide linguistique vous
                                                                           sont proposés gratuitement. Si vous êtes un client actuel de
                                                                           Cigna, veuillez appeler le numéro indiqué au verso de votre
HC-NOT96                                                       07-17       carte d’identité. Sinon, veuillez appeler le numéro
                                                                           1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services                                Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                           assistência linguística, totalmente gratuitos. Para clientes
English – ATTENTION: Language assistance services, free
                                                                           Cigna atuais, ligue para o número que se encontra no verso do
of charge, are available to you. For current Cigna customers,
                                                                           seu cartão de identificação. Caso contrário, ligue para
call the number on the back of your ID card. Otherwise, call
1.800.244.6224 (TTY: Dial 711).                                            1.800.244.6224 (Dispositivos TTY: marque 711).

Spanish – ATENCIÓN: Hay servicios de asistencia de                         Polish – UWAGA: w celu skorzystania z dostępnej,
                                                                           bezpłatnej pomocy językowej, obecni klienci firmy Cigna
idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           mogą dzwonić pod numer podany na odwrocie karty
Cigna, llame al número que figura en el reverso de su tarjeta


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identyfikacyjnej. Wszystkie inne osoby prosimy o                             Step therapy a/k/a fail-first requirements; and
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                     Exclusions and/or restrictions based on geographic location,
Japanese –                                                                    facility type or provider specialty.
注意事項：日本語を話される場合、無料の言語支援サー                                                 A description of your plan’s NQTL methodologies and
ビスをご利用いただけます。現在のCignaの                                                    processes applied to medical/surgical benefits and MH/SUD
お客様は、IDカード裏面の電話番号まで、お電話にてご                                                benefits is available for review by Plan Administrators (e.g.
連絡ください。その他の方は、1.800.244.6224（TTY:                                         employers) and covered persons by accessing the appropriate
711）まで、お電話にてご連絡ください。                                                      link below:
Italian – ATTENZIONE: Sono disponibili servizi di                             Employers (Plan Administrators):
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                 https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
chiamare il numero sul retro della tessera di identificazione.                Log in, select Resources and Training, then select the
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                  NQTL document.
TTY: chiamare il numero 711).                                                 Covered Persons: www.cigna.com\sp
German – ACHTUNG: Die Leistungen der                                      To determine which document applies to your plan, select the
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                 relevant health plan product; medical management model
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die              (inpatient only or inpatient and outpatient) which can be
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                  located in this booklet immediately following The Schedule;
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                  and pharmacy coverage (whether or not your plan includes
Sie 711).                                                                 pharmacy coverage).


                                                                          HC-NOT113                                                    01-20




                                                                          How To File Your Claim
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
HC-NOT97                                                     07-17        provider will submit a claim to Cigna for reimbursement. Out-
                                                                          of-Network claims can be submitted by the provider if the
                                                                          provider is able and willing to file on your behalf. If the
Mental Health Parity and Addiction Equity Act of 2008                     provider is not submitting on your behalf, you must send your
(MHPAEA) - Non-Quantitative Treatment Limitations                         completed claim form and itemized bills to the claims address
(NQTLs)                                                                   listed on the claim form.
Federal MHPAEA regulations provide that a plan cannot                     You may get the required claim forms from the website listed
impose a Non-Quantitative Treatment Limitation (NQTL) on                  on your identification card or by using the toll-free number on
mental health or substance use disorder (MH/SUD) benefits in              your identification card.
any classification unless the processes, strategies, evidentiary
standards, or other factors used in applying the NQTL to                  CLAIM REMINDERS
MH/SUD benefits are comparable to, and are applied no more                 BE SURE TO USE YOUR MEMBER ID AND
stringently than, those used in applying the NQTL to                        ACCOUNT/GROUP NUMBER WHEN YOU FILE
medical/surgical benefits in the same classification of benefits            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
as written and in operation under the terms of the plan.                    YOUR CIGNA CLAIM OFFICE.
Non-Quantitative Treatment Limitations (NQTLs) include:                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
                                                                              BENEFIT IDENTIFICATION CARD.
   Medical management standards limiting or excluding
    benefits based on Medical Necessity or whether the                        YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
    treatment is experimental or investigative;                               YOUR BENEFIT IDENTIFICATION CARD.
   Prescription drug formulary design;                                      BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
   Network admission standards;
                                                                              WHEN SUBMITTING A CLAIM TO CIGNA.
   Methods for determining in-network and out-of-network
    provider reimbursement rates;


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Timely Filing of Out-of-Network Claims                                    Waiting Period
Cigna will consider claims for coverage under our plans when              Varies by business unit. Your Employer will manage any
proof of loss (a claim) is submitted within 180 days for Out-             waiting period that applies.
of-Network benefits after services are rendered. If services are
                                                                          Classes of Eligible Employees
rendered on consecutive days, such as for a Hospital
Confinement, the limit will be counted from the last date of              Each Employee as reported to the insurance company by your
service. If claims are not submitted within 180 days for Out-             Employer.
of-Network benefits, the claim will not be considered valid               Effective Date of Employee Insurance
and will be denied.
                                                                          You will become insured on the date you elect the insurance
WARNING: Any person who knowingly and with intent to                      by signing an approved payroll deduction or enrollment form,
defraud any insurance company or other person files an                    as applicable, but no earlier than the date you become eligible.
application for insurance or statement of claim containing any
                                                                          You will become insured on your first day of eligibility,
materially false information; or conceals for the purpose of
                                                                          following your election, if you are in Active Service on that
misleading, information concerning any material fact thereto,
                                                                          date, or if you are not in Active Service on that date due to
commits a fraudulent insurance act.
                                                                          your health status.
                                                                          Late Entrant - Employee
HC-CLM25                                                     01-11
                                                                          You are a Late Entrant if:
                                                              V11
                                                                             you attempt to elect the insurance more than 30 days after
                                                                              you become eligible; or
                                                                             you again attempt to elect it after you cancel your payroll
Eligibility - Effective Date                                                  deduction (if required) and have not experienced a valid
                                                                              mid-year election change event.
Employee Insurance
This plan is offered to you as an Employee.                               Dependent Insurance
Eligibility for Employee Insurance                                        For your Dependents to be insured, you will have to pay the
You will become eligible for insurance on the day you                     required contribution, if any, toward the cost of Dependent
complete the waiting period if:                                           Insurance.
   you are in a Class of Eligible Employees; and                         Effective Date of Dependent Insurance
   you are an eligible, full-time Employee who normally works            Insurance for your Dependents will become effective on the
    at least 30 hours a week or;                                          date you elect it by signing an approved payroll deduction
                                                                          form (if required), but no earlier than the day you become
   you are an eligible, part-time Employee who normally
                                                                          eligible for Dependent Insurance. All of your Dependents as
    works at least 16 hours a week; and
                                                                          defined will be included.
   you pay any required contribution.
                                                                          Your Dependents will be insured only if you are insured.
If you were previously insured and your insurance ceased, you
                                                                          Late Entrant – Dependent
must satisfy the Waiting Period to become insured again. If
your insurance ceased because you were no longer employed                 You are a Late Entrant for Dependent Insurance if:
in a Class of Eligible Employees, you are not required to                    you attempt to elect the insurance more than 30 days after
satisfy any waiting period if you again become a member of a                  you become eligible; or
Class of Eligible Employees within one year after your
                                                                             you again attempt to elect it after you cancel your payroll
insurance ceased.
                                                                              deduction (if required) and have not experienced a valid
Eligibility for Dependent Insurance                                           mid-year election change event.
You will become eligible for Dependent Insurance on the later
of:
   the day you become eligible for yourself; or
   the day you acquire your first Dependent.




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Exception for Newborns
Any Dependent child born while you are insured will become
insured on the date of his birth if you elect Dependent
Insurance no later than 31 days after his birth. If you do not
elect to insure your newborn child within such 31 days,
coverage for that child will end after the first 48 hours for a
vaginal delivery or 96 hours after a cesarean. No benefits for
expenses incurred beyond the 48 or 96 hours will be payable.

Note: Expanded definition for Newborns - includes
Grandchildren for birth only; coverage will end after 48 hours
for vaginal delivery or 96 hours for a cesarean.


HC-ELG274 M                                                 01-19




Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


HC-IMP212                                                   01-18




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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Any benefit deductibles.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.


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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Note:
For information about your health fund benefit and how it can help you pay for expenses that may not be covered under
this plan, refer to “What You Should Know about Cigna Choice Fund”.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses          80%                                      60% of the Maximum Reimbursable
the Plan Pays                                                                        Charge




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-      Not Applicable                 80th Percentile
Network provider and Cigna, or a
policyholder-selected percentile of
charges made by providers of such
service or supply in the geographic area
where it is received as compiled in a
database selected by Cigna. If sufficient
charge data is unavailable in the
database for that geographic area to
determine the Maximum Reimbursable
Charge, then state, regional or national
charge data may be used. If sufficient
charge data is unavailable in the
database for that geographic area to
determine the Maximum Reimbursable
Charge, then data in the database for
similar services may be used.
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles and/or
coinsurance.
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note: Cigna HRA Reimbursement
amounts (In and Out of Network):
One Person: $800
Two Persons: $1,600
Family: $2,400

Note: The Plan will automatically use
your HRA dollars to pay providers for
medical deductibles and coinsurance
until your account is depleted. These
amounts are provided annually, based
on your coverage tier.
Calendar Year Deductible
  Individual – Employee Only              $2,500 per person               $2,500 per person
  Individual Plus One (either Spouse      $3,750 per family               $3,750 per family
  or Child)
  Family                                  $5,000 per family               $5,000 per family

  Collective Deductible:
  All family members contribute
  towards the family deductible. An
  individual cannot have claims
  covered under the plan coinsurance
  until the total family deductible has
  been satisfied.
Out-of-Pocket Maximum
  Individual – Employee Only              $5,000 per person               $5,500 per person
  Individual within Individual Plus       $5,650 per person               $6,650 per person
  One
  Individual Plus One (either Spouse      $7,500 per family               $8,500 per family
  or Child)
  Individual within a Family              $5,650 per person               $6,650 per person
  Family                                  $10,000 per family              $11,500 per family

  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                       Maximum Reimbursable Charge
  Specialty Care Physician’s Office      Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                       Maximum Reimbursable Charge
     Consultant and Referral
     Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
       Out-of-Network OB/GYN
       providers will be considered a
       Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                     Maximum Reimbursable Charge
    Specialty Care Physician’s Office    Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                     Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                     Maximum Reimbursable Charge
    Specialty Care Physician’s Office    Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                     Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
Convenience Care Clinic                  Plan deductible, then 80%            Plan deductible, then 60% of the
(includes any related lab and x-ray                                           Maximum Reimbursable Charge
services
.        and surgery)




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
  Urgent Virtual Care Services              Plan deductible, then 80%            In-Network coverage only
  Notes:
  Dedicated Virtual Providers may
  deliver services that are payable under
  other benefits (e.g., Preventive Care,
  Primary Care Physician, Behavioral;
  Dermatology/Specialty Care
  Physician).

  Lab services supporting a virtual visit
  must be obtained through dedicated
  labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Primary Care Physician’s Office Visit       Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
Specialty Care Physician’s Office Visit     Plan deductible, then 80%            Plan deductible, then 60% of the
.                                                                                Maximum Reimbursable Charge
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages
    Primary Care Physician’s Office         100%                                 Plan deductible, then 60% of the
    Visit                                                                        Maximum Reimbursable Charge
    Specialty Care Physician’s Office       100%                                 Plan deductible, then 60% of the
    Visit                                                                        Maximum Reimbursable Charge
  Immunizations - all ages
    Primary Care Physician’s Office         100%                                 Plan deductible, then 60% of the
    Visit                                                                        Maximum Reimbursable Charge
    Specialty Care Physician’s Office       100%                                 Plan deductible, then 60% of the
    Visit                                                                        Maximum Reimbursable Charge
Note: Coverage includes skin cancer
screening performed by a PCP or a
Specialist.
  .


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      BENEFIT HIGHLIGHTS                            IN-NETWORK                        OUT-OF-NETWORK
Mammograms, PSA, Early Cancer
Detection Colon/Rectal
  Preventive Care Related Services       100%                                 Plan deductible, then 60% of the
  (i.e. “routine” services)                                                   Maximum Reimbursable Charge
  Diagnostic Related Services (i.e.      100%                                 Plan deductible, then 60% of the
  “non-routine” services)                                                     Maximum Reimbursable Charge
  Notes:
  Applies to routine and medically
  necessary mammograms and related
  charges on the same date of service.
  3D mammograms are covered as
  preventive.
  Includes routine and medically
  necessary PSA tests and related
  charges.
  Applies to routine and medically
  necessary colonoscopy, fecal occult
  and sigmoidoscopy expenses and
  related charges, when identified.
PAP Smear
  Preventive Care Related Services       100%                                 Plan deductible, then 60% of the
  (i.e. “routine” services)                                                   Maximum Reimbursable Charge
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray & lab    Subject to the plan’s x-ray & lab
  “non-routine” services)                benefit; based on place of service   benefit; based on place of service
Inpatient Hospital - Facility Services   Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate       Limited to the ICU/CCU daily room
                                                                              rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 80%            Plan deductible, then 60% of the
  Procedures Room, Treatment Room                                             Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 80%            Plan deductible, then 60% of the
Visits/Consultations                                                          Maximum Reimbursable Charge

Inpatient Professional Services          Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Professional Services           Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient       Plan deductible, then 80%            Plan deductible, then 80% of the
  Facility                                                                      Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.
  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%            Plan deductible, then 80% of the
  MRIs, MRAs, CAT Scans, PET                                                    Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit
Emergency Services
  Hospital Emergency Room                  Plan deductible, then 80%            Plan deductible, then 80%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.
  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%            Plan deductible, then 80%
  MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit
Air Ambulance                              Plan deductible, then 80%            Plan deductible, then 80%
Ambulance                                  Plan deductible, then 80%            Plan deductible, then 80% of the
                                                                                Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 80%            Plan deductible, then 60% of the
Care Facilities                                                                 Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  100 days combined




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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services
  Primary Care Physician’s Office     Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                           Maximum Reimbursable Charge
  Independent Lab Facility            Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                           Maximum Reimbursable Charge
Radiology Services
  Primary Care Physician’s Office     Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                           Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                    Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                           Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                           Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services
  Calendar Year Maximum:
  120 days for all therapies combined
  (The limit is not applicable to mental
  health conditions.)
  Note: Speech therapy for children
  birth through age 6 is covered when
  used to improve speech skills that
  have not been fully developed
  (developmental delay). Normal pre-
  authorization guidelines apply.
  Includes:
  Cardiac Rehab
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Primary Care Physician’s Office          Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit
  .                                                                             Maximum Reimbursable Charge
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Primary Care Physician’s Office          Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
Home Health Care Services
  Calendar Year Maximum:                   Plan deductible, then 80%            Plan deductible, then 60% of the
  100 days (includes outpatient private                                         Maximum Reimbursable Charge
  nursing when approved as Medically
  Necessary)
  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
  (The limit is not applicable to Mental
  Health and Substance Use Disorder
  conditions.)
  .




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                           OUT-OF-NETWORK
Hospice
 Inpatient Services                         Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient Services                       Plan deductible, then 80%               Plan deductible, then 60% of the
  (same coinsurance level as Home                                                   Maximum Reimbursable Charge
  .Health Care Services)
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                 Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient                                Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
Services provided by Mental Health          Covered under Mental Health benefit     Covered under Mental Health benefit
.Professional
Medical Pharmaceuticals
  Physician’s Office                        Plan deductible, then 80%               In-Network coverage only
  Home Care                                 Plan deductible, then 80%               In-Network coverage only
  Inpatient Facility                        Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%               In-Network coverage only
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
   Gene Therapy Product                     Covered same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 80%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 80%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 80%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 80%               In-Network coverage only
  Travel Maximum:                           100% (available only for travel when    In-Network coverage only
  $10,000 per episode of gene therapy       prior authorized to receive gene
                                            therapy at a participating In-Network
                                            facility specifically contracted with
                                            Cigna to provide the specific gene
                                            therapy)




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
    Primary Care Physician’s Office       Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 80%            Plan deductible, then 60% of the
  Postnatal Visits and Physician’s                                             Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%            Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 80%            Plan deductible, then 60% of the
  (Inpatient Hospital, Birthing Center)                                        Maximum Reimbursable Charge
Abortion
Includes only non-elective procedures
  Primary Care Physician’s Office         Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                        Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%            Plan deductible, then 60% of the
   .                                                                           Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                         IN-NETWORK                    OUT-OF-NETWORK
Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
    Primary Care Physician                100%                         Plan deductible, then 60% of the
                                                                       Maximum Reimbursable Charge
    Specialty Care Physician              100%                         Plan deductible, then 60% of the
                                                                       Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Primary Care Physician’s Office       100%                         Plan deductible, then 60% of the
    Visit                                                              Maximum Reimbursable Charge
    Specialty Care Physician’s Office     100%                         Plan deductible, then 60% of the
    Visit                                                              Maximum Reimbursable Charge
    Inpatient Facility                    100%                         Plan deductible, then 60% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Facility                   100%                         Plan deductible, then 60% of the
                                                                       Maximum Reimbursable Charge
    Inpatient Professional Services       100%                         Plan deductible, then 60% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Professional Services      100%                         Plan deductible, then 60% of the
    .                                                                  Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
    Primary Care Physician                  Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
      Specialty Care Physician              Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Primary Care Physician’s Office         Plan deductible, then 80%                Plan deductible, then 60% of the
    Visit                                                                            Maximum Reimbursable Charge
    Specialty Care Physician’s Office       Plan deductible, then 80%                Plan deductible, then 60% of the
    Visit                                                                            Maximum Reimbursable Charge
    Inpatient Facility                      Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
      Outpatient Facility                   Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
      Inpatient Professional Services       Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
     Outpatient Professional Services      Plan deductible, then 80%                 Plan deductible, then 60% of the
    .                                                                                Maximum Reimbursable Charge
Infertility Services
Coverage will be provided for the following services:
   Testing and treatment services performed in connection with an underlying medical condition.
   Testing performed specifically to determine the cause of infertility.
   Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
    condition).
Surgical Treatment: Limited to procedures for the correction of infertility (excludes In-vitro, GIFT, ZIFT, Artificial
Insemination,
.             etc.)
  Physician’s Office Visit (Lab and
  Radiology Tests, Counseling)
    Primary Care Physician                 Plan deductible, then 80%                   Plan deductible, then 60% of the
                                                                                       Maximum Reimbursable Charge
    Specialty Care Physician               Plan deductible, then 80%                   Plan deductible, then 60% of the
                                                                                       Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 80%                   Plan deductible, then 60% of the
                                                                                       Maximum Reimbursable Charge
  Outpatient Facility                      Plan deductible, then 80%                   Plan deductible, then 60% of the
                                                                                       Maximum Reimbursable Charge
  Inpatient Professional Services          Plan deductible, then 80%                   Plan deductible, then 60% of the
                                                                                       Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 80%                   Plan deductible, then 60% of the
  .                                                                                    Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                       100% at LifeSOURCE center,            Plan deductible, then 60% of the
                                           otherwise plan deductible, then 80%   Maximum Reimbursable Charge
  Inpatient Professional Services          100% at LifeSOURCE center,            Plan deductible, then 60% of the
                                           otherwise plan deductible, then 80%   Maximum Reimbursable Charge
  Transplant Transportation and            100% (only available when using       In-Network coverage only
  Lodging Maximum:                         LifeSOURCE facility)
  Unlimited
  .
Durable Medical Equipment                  Plan deductible, then 80%             Plan deductible, then 60% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
  Unlimited
Note: Other consumable medical
supplies limited to supplies used in
providing Home Health Care Services
or used in conjunction with authorized
Durable Medical Equipment. Not
limited to use by Health Care
Professionals.
.
Outpatient Dialysis Services
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Outpatient Facility Services             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Home Setting                             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
Breast Feeding Equipment and               100%                                  Plan deductible, then 60% of the
Supplies                                                                         Maximum Reimbursable Charge
  Note:
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
External Prosthetic Appliances              Plan deductible, then 80%            Plan deductible, then 60% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Primary Care Physician’s Office           Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office         Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 80%            Plan deductible, then 60% of the
  .                                                                              Maximum Reimbursable Charge
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office           Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office         Plan deductible, then 80%            Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 80%            Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 80%            Plan deductible, then 60% of the
  .                                                                              Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Primary Care Physician’s Office          Plan deductible, then 80%                 Plan deductible, then 60% of the
   Visit                                                                              Maximum Reimbursable Charge
   Specialty Care Physician’s Office        Plan deductible, then 80%                 Plan deductible, then 60% of the
   Visit                                                                              Maximum Reimbursable Charge
   Inpatient Facility                       Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Outpatient Facility                     Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Inpatient Professional Services         Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Outpatient Professional Services        Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
Wigs                                        Plan deductible, then 80%                 Plan deductible, then 80% of the
 Lifetime Maximum: 1 wig                                                              Maximum Reimbursable Charge
TMJ Surgical and Non-Surgical
Always excludes appliances and
orthodontic treatment. (Subject to
medical necessity.)
    Primary Care Physician’s Office         Plan deductible, then 80%                 Plan deductible, then 60% of the
    Visit                                                                             Maximum Reimbursable Charge
    Specialty Care Physician’s Office       Plan deductible, then 80%                 Plan deductible, then 60% of the
    Visit                                                                             Maximum Reimbursable Charge
    Inpatient Facility                      Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Outpatient Facility                     Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Inpatient Professional Services         Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                      Maximum Reimbursable Charge
    Outpatient Professional Services        Plan deductible, then 80%                 Plan deductible, then 60% of the
.                                                                                     Maximum Reimbursable Charge
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.


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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              Plan deductible, then 80%            Plan deductible, then 60% of the
   Includes Acute Inpatient and                                              Maximum Reimbursable Charge
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           Plan deductible, then 80%            Plan deductible, then 60% of the
   Includes individual, family and                                           Maximum Reimbursable Charge
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     Plan deductible, then 80%            Plan deductible, then 60% of the
    Includes Partial Hospitalization,                                        Maximum Reimbursable Charge
    Intensive Outpatient Services,
    virtual care, etc.

   Calendar Year Maximum:
   Unlimited
Substance Use Disorder
  Inpatient                             Plan deductible, then 80%            Plan deductible, then 60% of the
    Includes Acute Inpatient                                                 Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           Plan deductible, then 80%            Plan deductible, then 60% of the
   Includes individual, family and                                           Maximum Reimbursable Charge
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     Plan deductible, then 80%            Plan deductible, then 60% of the
    Includes Partial Hospitalization,                                        Maximum Reimbursable Charge
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 20% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will be reduced by 20% for
an admission due to pregnancy, you should call the Review               charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 20% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will be reduced by 20%:                                               PET scans.
   Hospital charges for Room and Board, for treatment listed              Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122 M                                                  01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for abortion when a Physician certifies in writing
 charges for inpatient Room and Board and other Necessary
                                                                                 that the pregnancy would endanger the life of the mother, or
  Services and Supplies made by a Hospital, subject to the                       when the expenses are incurred to treat medical
  limits as shown in The Schedule.                                               complications due to abortion.
   charges for inpatient Room and Board and other Necessary                    charges for the following preventive care services as
    Services and Supplies made by an Other Health Care                           defined by recommendations from the following:
    Facility, including a Skilled Nursing Facility, a                             the U.S. Preventive Services Task Force (A and B
    Rehabilitation Hospital or a subacute facility as shown in                     recommendations);
    The Schedule.                                                                 the Advisory Committee on Immunization Practices
   charges for licensed Ambulance service to the nearest                          (ACIP) for immunizations;
    Hospital where the needed medical care and treatment can                      the American Academy of Pediatrics’ Periodicity
    be provided.                                                                   Schedule of the Bright Futures Recommendations for
   charges for outpatient medical care and treatment received                     Pediatric Preventive Health Care;
    at a Hospital.                                                                the Uniform Panel of the Secretary’s Advisory Committee
                                                                                   on Heritable Disorders in Newborns and Children; and



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     with respect to women, evidence-informed preventive                 functional body parts are covered. Medically Necessary repair,
      care and screening guidelines supported by the Health               maintenance or replacement of a covered appliance is also
      Resources and Services Administration.                              covered.
    Detailed information is available at www.healthcare.gov.
    For additional information on immunizations, visit the                HC-COV1122                                                       01-22
    immunization schedule section of www.cdc.gov.
   charges for medical diagnostic services to determine the
                                                                          Home Health Care Services
    cause of erectile dysfunction. Penile implants are covered
    for an established medical condition that clearly is the cause        Charges for skilled care provided by certain health care
    of erectile dysfunction, such as postoperative prostatectomy          providers during a visit to the home, when the home is
    and diabetes. Penile implants are not covered as treatment            determined to be a medically appropriate setting for the
    of psychogenic erectile dysfunction.                                  services. A visit is defined as a period of 2 hours or less.
                                                                          Home Health Care Services are subject to a maximum of 16
   charges for surgical and non-surgical treatment of
                                                                          hours in total per day.
    Temporomandibular Joint Dysfunction (TMJ).
                                                                          Home Health Care Services are covered when skilled care is
   Medically Necessary orthognathic surgery to repair or
                                                                          required under any of the following conditions:
    correct a severe facial deformity or disfigurement.
                                                                             the required skilled care cannot be obtained in an outpatient
Virtual Care
                                                                              facility.
Dedicated Virtual Providers
                                                                             confinement in a Hospital or Other Health Care Facility is
Charges for the delivery of medical and health-related services               not required.
and consultations by dedicated virtual providers as medically
                                                                             the patient’s home is determined by Cigna to be the most
appropriate through audio, video, and secure internet-based
                                                                              medically appropriate place to receive specific services.
technologies.
                                                                          Covered services include:
Virtual Physician Services
                                                                             skilled nursing services provided by a Registered Nurse
Charges for the delivery of medical and health-related services
                                                                              (RN), Licensed Practical Nurse (LPN), Licensed Vocational
and consultations as medically appropriate through audio,
                                                                              Nurse (LVN) and an Advanced Practice Registered Nurse
video, and secure internet-based technologies that are similar
                                                                              (APRN).
to office visit services provided in a face-to-face setting.
                                                                             services provided by health care providers such as physical
Charges for behavioral consultations and services via secure
                                                                              therapist, occupational therapist and speech therapist.
telecommunications technologies that shall include video
capability, including telephones and internet, when delivered                services of a home health aide when provided in direct
through a behavioral provider.                                                support of those nurses and health care providers.
Convenience Care Clinic                                                      necessary consumable medical supplies and home infusion
                                                                              therapy administered or used by a health care provider.
Convenience Care Clinics provide for common ailments and
routine services, including but not limited to, strep throat, ear         Note: Physical, occupational, and other Outpatient Therapy
infections or pink eye, immunizations and flu shots.                      Services provided in the home are covered under the
                                                                          Outpatient Therapy Services benefit shown in The Schedule.
Nutritional Counseling
                                                                          The following are excluded from coverage:
Charges for nutritional counseling when diet is a part of the
medical management of a medical or behavioral condition.                     services provided by a person who is a member of the
                                                                              patient’s family, even when that person is a health care
Enteral Nutrition
                                                                              provider.
Enteral Nutrition means medical foods that are specially
                                                                             services provided by a person who normally resides in the
formulated for enteral feedings or oral consumption.
                                                                              patient’s house, even when that person is a health care
Coverage includes medically approved formulas prescribed by                   provider.
a Physician for treatment of inborn errors of metabolism (e.g.,
                                                                             non-skilled care, Custodial Services, and assistance in the
disorders of amino acid or organic acid metabolism).
                                                                              activities of daily living, including but not limited to eating,
Internal Prosthetic/Medical Appliances                                        bathing, dressing or other services; self-care activities;
Charges for internal prosthetic/medical appliances that provide               homemaker services; and services primarily for rest,
permanent or temporary internal functional supports for non-                  domiciliary or convalescent care.



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Home Health Care Services, for a patient who is dependent                        services or supplies not listed in the Hospice Care Program;
upon others for non-skilled care and/or Custodial Services, is                   to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                          expenses under the policy;
present in the home at the time of the health care visit to
provide the non-skilled care and/or Custodial Services.                          services or supplies that are primarily to aid you or your
                                                                                  Dependent in daily living.

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Hospice Care Services
                                                                              Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced
illness having a life expectancy of twelve or fewer months.                   Mental Health Services are services that are required to treat
Services provided by a Hospice Care Program are available to                  a disorder that impairs the behavior, emotional reaction or
those who have ceased treatment and to those continuing to                    thought processes. In determining benefits payable, charges
receive curative treatment and therapies.                                     made for the treatment of any physiological conditions related
                                                                              to Mental Health will not be considered to be charges made
Hospice Care Programs rendered by Hospice Facilities or                       for treatment of Mental Health.
Hospitals include services:
                                                                              Substance Use Disorder is defined as the psychological or
   by a Hospice Facility for Room and Board and Services and                 physical dependence on alcohol or other mind-altering drugs
    Supplies;                                                                 that requires diagnosis, care, and treatment. In determining
   by a Hospice Facility for services provided on an outpatient              benefits payable, charges made for the treatment of any
    basis;                                                                    physiological conditions related to rehabilitation services for
   by a Physician for professional services;                                 alcohol or drug abuse or addiction will not be considered to be
                                                                              charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or
    ordained minister for individual and family counseling;                   Inpatient Mental Health Services
   for pain relief treatment, including drugs, medicines and                 Services that are provided by a Hospital while you or your
    medical supplies;                                                         Dependent is Confined in a Hospital for the treatment and
                                                                              evaluation of Mental Health. Inpatient Mental Health Services
Hospice Care Programs rendered by Other Health Care                           include Mental Health Residential Treatment Services.
Facilities or in the Home include services:
                                                                              Mental Health Residential Treatment Services are services
   for part-time or intermittent nursing care by or under the                provided by a Hospital for the evaluation and treatment of the
    supervision of a Nurse;                                                   psychological and social functional disturbances that are a
   for part-time or intermittent services of an Other Health                 result of subacute Mental Health conditions.
    Professional;                                                             Mental Health Residential Treatment Center means an
   physical, occupational and speech therapy;                                institution which specializes in the treatment of psychological
   medical supplies;                                                         and social disturbances that are the result of Mental Health
                                                                              conditions; provides a subacute, structured, psychotherapeutic
   drugs and medicines lawfully dispensed only on the written
                                                                              treatment program, under the supervision of Physicians;
    prescription of a Physician;
                                                                              provides 24-hour care, in which a person lives in an open
   laboratory services;                                                      setting; and is licensed in accordance with the laws of the
    but only to the extent such charges would have been                       appropriate legally authorized agency as a residential
    payable under the policy if the person had remained or been               treatment center.
    Confined in a Hospital or Hospice Facility.                               A person is considered confined in a Mental Health
The following charges for Hospice Care Services are not                       Residential Treatment Center when she/he is a registered bed
included as Covered Expenses:                                                 patient in a Mental Health Residential Treatment Center upon
                                                                              the recommendation of a Physician.
   services of a person who is a member of your family or your
    Dependent's family or who normally resides in your house                  Outpatient Mental Health Services
    or your Dependent's house;                                                Services of Providers who are qualified to treat Mental Health
   services for any period when you or your Dependent is not                 when treatment is provided on an outpatient basis, while you
    under the care of a Physician;                                            or your Dependent is not Confined in a Hospital, and is
                                                                              provided in an individual, group or Mental Health Partial


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Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization Services are
depression; emotional reactions associated with marital                rendered no less than 4 hours and not more than 12 hours in
problems or divorce; child/adolescent problems of conduct or           any 24-hour period by a certified/licensed Substance Use
poor impulse control; affective disorders; suicidal or                 Disorder program in accordance with the laws of the
homicidal threats or acts; eating disorders; or acute                  appropriate legally authorized agency.
exacerbation of chronic Mental Health conditions (crisis
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
                                                                       are provided by a certified/licensed Substance Use Disorder
Mental Health Partial Hospitalization Services are rendered            program in accordance with the laws of the appropriate legally
not less than 4 hours and not more than 12 hours in any 24-            authorized agency. Intensive Outpatient Therapy Programs
hour period by a certified/licensed Mental Health program in           provide a combination of individual, family and/or group
accordance with the laws of the appropriate legally authorized         therapy in a day, totaling nine, or more hours in a week.
agency.
                                                                       Substance Use Disorder Detoxification Services
A Mental Health Intensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.                                           developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use                  counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
                                                                          counseling for occupational problems.
means an institution which specializes in the treatment of
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,                  vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
                                                                          I.Q. testing.
Physicians; provides 24-hour care, in which a person lives in
an open setting; and is licensed in accordance with the laws of           custodial care, including but not limited to geriatric day
the appropriate legally authorized agency as a residential                 care.
treatment center.                                                         psychological testing on children requested by or for a
A person is considered confined in a Substance Use Disorder                school system.
Residential Treatment Center when she/he is a registered bed              occupational/recreational therapy programs even if
patient in a Substance Use Disorder Residential Treatment                  combined with supportive therapy for age-related cognitive
Center upon the recommendation of a Physician.                             decline.
Outpatient Substance Use Disorder Rehabilitation Services
Services provided for the diagnosis and treatment of                   HC-COV481                                                        12-15
Substance Use Disorder or addiction to alcohol and/or drugs,


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                                                                                   External prosthetic appliances and devices include
Durable Medical Equipment                                                          prostheses/prosthetic appliances and devices; orthoses and
                                                                                   orthotic devices; braces; and splints.
 charges made for purchase or rental of Durable Medical
  Equipment that is ordered or prescribed by a Physician and                       Prostheses/Prosthetic Appliances and Devices
  provided by a vendor approved by Cigna for use outside a                         Prostheses/prosthetic appliances and devices are defined as
  Hospital or Other Health Care Facility. Coverage for repair,                     fabricated replacements for missing body parts.
  replacement or duplicate equipment is provided only when                         Prostheses/prosthetic appliances and devices include, but are
  required due to anatomical change and/or reasonable wear                         not limited to:
  and tear. All maintenance and repairs that result from a                            limb prostheses;
  person’s misuse are the person’s responsibility.
                                                                                      terminal devices such as hands or hooks;
Durable Medical Equipment is defined as items which are
designed for and able to withstand repeated use by more than                          speech prostheses; and
one person; customarily serve a medical purpose; generally                            facial prostheses.
are not useful in the absence of Injury or Sickness; are                           Orthoses and Orthotic Devices
appropriate for use in the home; and are not disposable. Such
                                                                                   Orthoses and orthotic devices are defined as orthopedic
equipment includes, but is not limited to, crutches, hospital
                                                                                   appliances or apparatuses used to support, align, prevent or
beds, ventilators, insulin pumps and wheel chairs.
                                                                                   correct deformities. Coverage is provided for custom foot
Durable Medical Equipment items that are not covered include                       orthoses and other orthoses as follows:
but are not limited to those that are listed below:
                                                                                      Non-foot orthoses – only the following non-foot orthoses
   Bed Related Items: bed trays, over the bed tables, bed                             are covered:
    wedges, pillows, custom bedroom equipment, mattresses,
                                                                                        rigid and semi-rigid custom fabricated orthoses;
    including nonpower mattresses, custom mattresses and
    posturepedic mattresses.                                                            semi-rigid prefabricated and flexible orthoses; and

   Bath Related Items: bath lifts, nonportable whirlpools,                             rigid prefabricated orthoses including preparation, fitting
    bathtub rails, toilet rails, raised toilet seats, bath benches,                      and basic additions, such as bars and joints.
    bath stools, hand held showers, paraffin baths, bath mats,                        Custom foot orthoses – custom foot orthoses are only
    and spas.                                                                          covered as follows:
   Fixtures to Real Property: ceiling lifts and wheelchair                             for persons with impaired peripheral sensation and/or
    ramps.                                                                               altered peripheral circulation (e.g. diabetic neuropathy
 Car/Van Modifications.                                                                 and peripheral vascular disease);
 Air Quality Items: room humidifiers, vaporizers and air                               when the foot orthosis is an integral part of a leg brace
  purifiers.                                                                             and is necessary for the proper functioning of the brace;
   Other Equipment: centrifuges, needleless injectors, heat                            when the foot orthosis is for use as a replacement or
    lamps, heating pads, cryounits, cryotherapy machines,                                substitute for missing parts of the foot (e.g. amputated
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                             toes) and is necessary for the alleviation or correction of
    sheepskin pads and boots, postural drainage board, AC/DC                             Injury, Sickness or congenital defect; and
    adaptors, scales (baby and adult), stair gliders, elevators,                        for persons with neurologic or neuromuscular condition
    saunas, cervical and lumbar traction devices, exercise                               (e.g. cerebral palsy, hemiplegia, spina bifida) producing
    equipment and diathermy machines.                                                    spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
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                                                                                         improvement.
                                                                                   The following are specifically excluded orthoses and orthotic
                                                                                   devices:
External Prosthetic Appliances and Devices
                                                                                      prefabricated foot orthoses;
 charges made or ordered by a Physician for: the initial
  purchase and fitting of external prosthetic appliances and                          orthosis shoes, shoe additions, procedures for foot
  devices available only by prescription which are necessary                           orthopedic shoes, shoe modifications and transfers;
  for the alleviation or correction of Injury, Sickness or                            non-foot orthoses primarily used for cosmetic rather than
  congenital defect.                                                                   functional reasons; and



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   non-foot orthoses primarily for improved athletic                              Infertility is defined as:
    performance or sports participation.                                            the inability of opposite-sex partners to achieve
Braces                                                                               conception after at least one year of unprotected
A Brace is defined as an orthosis or orthopedic appliance that                       intercourse;
supports or holds in correct position any movable part of the                       the inability of opposite-sex partners to achieve
body and that allows for motion of that part.                                        conception after six months of unprotected intercourse,
The following braces are specifically excluded: Copes                                when the female partner trying to conceive is age 35 or
scoliosis braces.                                                                    older;
Splints                                                                             the inability of a woman, with or without an opposite-sex
                                                                                     partner, to achieve conception after at least six trials of
A Splint is defined as an appliance for preventing movement                          medically supervised artificial insemination over a one-
of a joint or for the fixation of displaced or movable parts.                        year period; and
Coverage for replacement of external prosthetic appliances                          the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                             partner, to achieve conception after at least three trials of
   replacement due to regular wear. Replacement for damage                          medically supervised artificial insemination over a six-
    due to abuse or misuse by the person will not be covered.                        month period of time, when the female partner trying to
   replacement required because anatomic change has rendered                        conceive is age 35 or older.
    the external prosthetic appliance or device ineffective.                   This benefit includes diagnosis and treatment of both male and
    Anatomic change includes significant weight gain or loss,                  female infertility.
    atrophy and/or growth.                                                     However, the following are specifically excluded infertility
   replacement due to a surgical alteration or revision of the                services:
    impacted site.                                                                Infertility drugs;
Coverage for replacement is limited as follows:                                   In vitro fertilization (IVF); gamete intrafallopian transfer
   no more than once every 24 months for persons 19 years of                      (GIFT); zygote intrafallopian transfer (ZIFT); Artificial
    age and older.                                                                 Insemination and variations of these procedures;
   no more than once every 12 months for persons 18 years of                     Reversal of male and female voluntary sterilization;
    age and under.                                                                Infertility services when the infertility is caused by or
The following are specifically excluded external prosthetic                        related to voluntary sterilization;
appliances and devices:                                                           Donor charges and services;
   external and internal power enhancements for external                         Cryopreservation of donor sperm and eggs; and
    prosthetic devices; or
                                                                                  Any experimental, investigational or unproven infertility
   microprocessor controlled prostheses and orthoses; and                         procedures or therapies.
   myoelectric prostheses and orthoses.
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                                                                  V1 M
                                                                               Outpatient Therapy Services
                                                                               Charges for the following therapy services:
Infertility Services
                                                                               Cognitive Therapy, Occupational Therapy, Osteopathic
 charges made for services related to diagnosis of infertility
                                                                               Manipulation, Physical Therapy, Pulmonary
  and treatment of infertility once a condition of infertility has
                                                                               Rehabilitation, Speech Therapy
  been diagnosed. Services include, but are not limited to:
  approved surgeries and other therapeutic procedures that                      Charges for therapy services are covered when provided as
  have been demonstrated in existing peer-reviewed,                              part of a program of treatment.
  evidence-based, scientific literature to have a reasonable                   Cardiac Rehabilitation
  likelihood of resulting in pregnancy; laboratory tests; sperm                 Charges for Phase II cardiac rehabilitation provided on an
  washing or preparation; and diagnostic evaluations.                            outpatient basis following diagnosis of a qualifying cardiac
                                                                                 condition when Medically Necessary. Phase II is a Hospital-
                                                                                 based outpatient program following an inpatient Hospital


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    discharge. The Phase II program must be Physician directed              Coverage for occupational therapy is provided only for
    with active treatment and EKG monitoring.                               purposes of enabling individuals to perform the activities of
    Phase III and Phase IV cardiac rehabilitation is not covered.           daily living after an Injury or Sickness.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status           sensory integration therapy.
    achieved through Phases I and II. Phase IV is an
    advancement of Phase III which includes more active                        treatment of dyslexia.
    participation and weight training.                                         maintenance or preventive treatment provided to prevent
Chiropractic Care Services                                                      recurrence or to maintain the patient’s current status.
 Charges for diagnostic and treatment services utilized in an
                                                                               charges for Chiropractic Care not provided in an office
  office setting by chiropractic Physicians. Chiropractic                       setting.
  treatment includes the conservative management of acute                      vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                  Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints
                                                                               Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For
                                                                                constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.
Coverage is provided when Medically Necessary in the most                   HC-COV982                                                     01-21

medically appropriate setting to:
   Restore function (called “rehabilitative”):                             Breast Reconstruction and Breast Prostheses
     To restore function that has been impaired or lost.                    charges made for reconstructive surgery following a
                                                                              mastectomy; benefits include: surgical services for
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                              reconstruction of the breast on which surgery was
      body part.
                                                                              performed; surgical services for reconstruction of the non-
   Improve, adapt or attain function (sometimes called                       diseased breast to produce symmetrical appearance;
    “habilitative”):                                                          postoperative breast prostheses; and mastectomy bras and
     To improve, adapt or attain function that has been                      prosthetics, limited to the lowest cost alternative available
      impaired or was never achieved as a result of congenital                that meets prosthetic placement needs. During all stages of
      abnormality (birth defect).                                             mastectomy, treatment of physical complications, including
                                                                              lymphedema therapy, are covered.
     To improve, adapt or attain function that has been
      impaired or was never achieved because of mental health               Reconstructive Surgery
      and substance use disorder conditions. Includes                        charges made for reconstructive surgery or therapy to repair
      conditions such as autism and intellectual disability, or               or correct a severe physical deformity or disfigurement
      mental health and substance use disorder conditions that                which is accompanied by functional deficit; (other than
      result in a developmental delay.                                        abnormalities of the jaw or conditions related to TMJ
Coverage is provided as part of a program of treatment when                   disorder) provided that: the surgery or therapy restores or
the following criteria are met:                                               improves function; reconstruction is required as a result of
                                                                              Medically Necessary, non-cosmetic surgery; or the surgery
   The individual’s condition has the potential to improve or is
                                                                              or therapy is performed prior to age 19 and is required as a
    improving in response to therapy, and maximum
                                                                              result of the congenital absence or agenesis (lack of
    improvement is yet to be attained.
                                                                              formation or development) of a body part. Repeat or
   There is an expectation that the anticipated improvement is               subsequent surgeries for the same condition are covered
    attainable in a reasonable and generally predictable period               only when there is the probability of significant additional
    of time.                                                                  improvement as determined by the utilization review
   The therapy is provided by, or under the direct supervision               Physician.
    of, a licensed health care professional acting within the
    scope of the license.
                                                                            HC-COV631                                                     12-17
   The therapy is Medically Necessary and medically
    appropriate for the diagnosed condition.




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Transplant Services and Related Specialty Care                            an approved stem cell transplant program. Advanced cellular
Charges made for human organ and tissue transplant services               therapy received at Participating Provider facilities
which include solid organ and bone marrow/stem cell                       specifically contracted with Cigna for advanced cellular
procedures at designated facilities throughout the United                 therapy, other than Cigna LifeSOURCE Transplant Network®
States or its territories. This coverage is subject to the                facilities, are payable at the In-Network level. Advanced
following conditions and limitations.                                     cellular therapy received at any other facility, including non-
                                                                          Participating Provider facilities and Participating Provider
Transplant services include the recipient’s medical, surgical             facilities not specifically contracted with Cigna for advanced
and Hospital services; inpatient immunosuppressive                        cellular therapy, covered at the Out-of-Network level.
medications; and costs for organ or bone marrow/stem cell
procurement. Transplant services are covered only if they are             Transplant and Related Specialty Care Travel Services
required to perform any of the following human to human                   Charges made for non-taxable travel expenses incurred by you
organ or tissue transplants: allogeneic bone marrow/stem cell,            in connection with a preapproved organ/tissue transplant are
autologous bone marrow/stem cell, cornea, heart, heart/lung,              covered subject to the following conditions and limitations:
kidney, kidney/pancreas, liver, lung, pancreas or intestine                  Transplant and related specialty care travel benefits are not
which includes small bowel-liver or multi-visceral.                           available for cornea transplants.
Implantation procedures are also covered for artificial heart,
percutaneous ventricular assist device (PVAD), extracorporeal                Benefits for transportation and lodging are available to the
membrane oxygenation (ECMO) ventricular assist device                         recipient of a preapproved organ/tissue transplant and/or
(VAD) and intra-aortic balloon pump (IABP) are also covered.                  related specialty care from a designated Cigna
                                                                              LifeSOURCE Transplant Network® facility.
   All transplant services and related specialty care services,
    other than cornea transplants, are covered when received at              The term recipient is defined to include a person receiving
    Cigna LifeSOURCE Transplant Network® facilities.                          authorized transplant related services during any of the
                                                                              following: evaluation, candidacy, transplant event, or post-
   Transplant services and related specialty care services                   transplant care.
    received at Participating Provider facilities specifically
    contracted with Cigna for those transplant services and                  Travel expenses for the person receiving the transplant will
    related specialty care services, other than Cigna                         include charges for: transportation to and from the
    LifeSOURCE Transplant Network® facilities, are payable                    designated Cigna LifeSOURCE Transplant Network®
    at the In-Network level.                                                  facility (including charges for a rental car used during a
                                                                              period of care at the designated Cigna LifeSOURCE
   Transplant services and related specialty care services                   Transplant Network® facility); and lodging while at, or
    received at any other facility, including non-Participating               traveling to and from, the designated Cigna LifeSOURCE
    Provider facilities and Participating Provider facilities not             Transplant Network® facility.
    specifically contracted with Cigna for transplant services
    and related specialty care services, are covered at the Out-             In addition to your coverage for the charges associated with
    of-Network level.                                                         the items above, such charges will also be considered
                                                                              covered travel expenses for one companion to accompany
   Cornea transplants received at a facility that is specifically            you. The term companion includes your spouse, a member
    contracted with Cigna for this type of transplant are payable             of your family, your legal guardian, or any person not
    at the In-Network level.                                                  related to you, but actively involved as your caregiver who
Coverage for organ procurement costs are limited to costs                     is at least 18 years of age.
directly related to the procurement of an organ, from a cadaver              The following are specifically excluded travel expenses: any
or a live donor. Organ procurement costs shall consist of                     expenses that if reimbursed would be taxable income, travel
hospitalization and surgery necessary for removal of an organ                 costs incurred due to travel within 60 miles of your home;
and transportation of a live donor (refer to Transplant and                   food and meals; laundry bills; telephone bills; alcohol or
Related Specialty Care Travel Services). Compatibility testing                tobacco products; and charges for transportation that exceed
undertaken prior to procurement is covered if Medically                       coach class rates.
Necessary. Costs related to the search for, and identification of
a bone marrow or stem cell donor for an allogeneic transplant             These benefits for Transplant Services and Related Specialty
are also covered.                                                         Care, and for Transplant and Related Specialty Care Travel
                                                                          Services are only available when the covered person is the
Advanced cellular therapy, including but not limited to,                  recipient of an organ/tissue transplant. Travel expenses for the
immune effector cell therapies and Chimeric Antigen Receptor              designated live donor for a covered recipient are covered
Therapy (CAR-T) cellular therapy, is covered when performed               subject to the same conditions and limitations noted above.
at a Cigna LifeSOURCE Transplant Network® facility with                   Charges for the expenses of a donor companion are not


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covered. No transplant and related specialty care services or             The coverage criteria for a Medical Pharmaceutical may
travel benefits are available when the covered person is the              change periodically for various reasons. For example, a
donor for an organ/tissue transplant, the transplant recipient’s          Medical Pharmaceutical may be removed from the market, a
plan would cover all donor costs.                                         new Medical Pharmaceutical in the same therapeutic class as a
Gender Transition and Realignment Surgery                                 Medical Pharmaceutical may become available, or other
                                                                          market events may occur. Market events that may affect the
The Plan covers charges for services related to gender                    coverage status of a Medical Pharmaceutical include, but are
transition, including gender reassignment surgery. Coverage               not limited to, an increase in the cost of a Medical
when applicable includes behavioral counseling, hormone                   Pharmaceutical.
therapy, genital reconstructive surgical procedures, and initial
mastectomy or breast reduction.
                                                                          HC-COV1168                                                     01-22


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                                                                          Gene Therapy
                                                                          Charges for gene therapy products and services directly
Medical Pharmaceuticals                                                   related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                  Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                 products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.               (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                    replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                       gene.
determined by Cigna), are required to be administered, or the                inactivating a disease-causing gene that may not be
administration of which must be directly supervised, by a                     functioning properly.
qualified Physician or Other Health Professional. Benefits
payable under this section include Medical Pharmaceuticals                   introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                     treat a disease.
Physician or Other Health Professional oversight but may be               Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the               and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                   which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                      part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                  and administered.
Additionally, certain Medical Pharmaceuticals are subject to              Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive            medical, surgical, and facility services directly related to
benefits for such Medical Pharmaceuticals, you are required to            administration of the gene therapy product; and professional
try a different Medical Pharmaceutical and/or Prescription                services.
Drug Product first.                                                       Gene therapy products and their administration are covered
Utilization management requirements or other coverage                     when prior authorized to be received at In-Network facilities
conditions are based on a number of factors, which may                    specifically contracted with Cigna for the specific gene
include clinical and economic factors. Clinical factors may               therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                      administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative          Gene Therapy Travel Services
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management                     Charges made for non-taxable travel expenses incurred by you
requirements should apply. Economic factors may include, but              in connection with a prior authorized gene therapy procedure
are not limited to, the Medical Pharmaceutical’s cost                     are covered subject to the following conditions and
including, but not limited to, assessments on the cost                    limitations.
effectiveness of the Medical Pharmaceuticals and available                Benefits for transportation and lodging are available to you
rebates. Regardless of its eligibility for coverage under your            only when you are the recipient of a prior authorized gene
plan, whether a particular Prescription Drug Product is                   therapy; and when the gene therapy products and services
appropriate for you or any of your Dependents is a                        directly related to their administration are received at a
determination that is made by you (or your Dependent) and                 participating In-Network facility specifically contracted with
the prescribing Physician.                                                Cigna for the specific gene therapy service. The term recipient



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is defined to include a person receiving prior authorized gene                    Centers for Medicare and Medicaid Services (CMS).
therapy related services during any of the following:                             a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                          a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or
                                                                                  any of the following: Department of Energy, Department
traveling to and from, the site.
                                                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered
travel expenses for one companion to accompany you. The                               the study or investigation has been reviewed and
term companion includes your spouse, a member of your                                  approved through a system of peer review comparable
family, your legal guardian, or any person not related to you,                         to the system of peer review of studies and
but actively involved as your caregiver who is at least 18 years                       investigations used by the National Institutes of Health
of age.                                                                                (NIH); and
The following are specifically excluded travel expenses: any                          the study or investigation assures unbiased review of
expenses that if reimbursed would be taxable income, travel                            the highest scientific standards by qualified individuals
costs incurred due to travel within 60 miles of your home;                             who have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                        the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                  the study or investigation is a drug trial that is exempt
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                                                                                   from having such an investigational new drug application.
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials
                                                                                services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The
individual must be eligible to participate according to the trial                 the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                       provided solely to satisfy data collection and analysis
                                                                                   needs.
   the referring health care professional is a participating
    health care provider and has concluded that the individual’s                  an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                           management of the individual.
   the individual provides medical and scientific information                    a service that is clearly inconsistent with widely accepted
    establishing that the individual’s participation in the clinical               and established standards of care for a particular
    trial would be appropriate.                                                    diagnosis.
In addition to qualifying as an individual, the clinical trial                  an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                  charge for any person enrolled in the trial.
and services to be covered.                                                     travel and transportation expenses, unless otherwise covered
The clinical trial must be a phase I, phase II, phase III, or                    under the plan, including but not limited to the following:
phase IV clinical trial conducted in relation to the prevention,                  fees for personal vehicle, rental car, taxi, medical van,
detection, or treatment of cancer or other life-threatening                        ambulance, commercial airline, train.
disease or condition that meets any of the following criteria:                    mileage reimbursement for driving a personal vehicle.
   it is a federally funded trial. The study or investigation is                 lodging.
    approved or funded (which may include funding through in-
    kind contributions) by one or more of the following:                          meals.

     National Institutes of Health (NIH).                                      routine patient costs obtained out-of-network when Out-of-
                                                                                 Network benefits do not exist under the plan.
     Centers for Disease Control and Prevention (CDC).
                                                                             Examples of routine patient care costs and services include:
     Agency for Health Care Research and Quality (AHRQ).
                                                                                radiological services.


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   laboratory services.
   intravenous therapy.
   anesthesia services.
   Physician services.
   office services.
   Hospital services.
   Room and Board, and medical supplies that typically would
    be covered under the plan for an individual who is not
    enrolled in a clinical trial.
Clinical trials conducted by Out-of-Network providers will be
covered only when the following conditions are met:
 In-Network providers are not participating in the clinical
    trial; or
   the clinical trial is conducted outside the individual’s state
    of residence.


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                                        Prescription Drug Benefits
                                                  The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded from coverage under this
plan. The amount you and your Dependent pays for any excluded Prescription Drug Product to the dispensing Pharmacy,
will not count towards your Deductible, if any, or Out-of-Pocket Maximum.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Calendar Year Deductible
Deductibles are Covered Expenses to be paid by you or your Dependent for Covered Prescription Drug Products before
benefits are payable under this plan. These Deductibles are in addition to any Copayments or Coinsurance. Once the
Deductible maximum shown in The Schedule has been reached you and your family need not satisfy any further
Prescription
.            Drug Deductible for the rest of that year.
Out-of-Pocket Expenses
Out-of-Pocket Expenses are Covered Expenses incurred at a Pharmacy for Prescription Drug Products for which the Plan
provides no payment because of the Coinsurance factor and any Copayments or Deductibles. When the Out-of-Pocket
Maximum shown in The Schedule is reached, benefits are payable at 100%.
                                                      NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                     PHARMACY                                PHARMACY
Calendar Year Deductible
  Individual                             $60 per person                           $60 per person
  Employee Plus One (either Spouse       $60 per person                           $60 per person
  or Child)
  Family                                 $180 per family                          $180 per family
Out-of-Pocket Maximum
  Individual                             $1,500 per person                        Not Applicable
  Family                                 $3,000 per family                        Not Applicable
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Pharmacy or home delivery Pharmacy.




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.
Note: There is no cost for asthma and diabetes medications for members who participate in health coaching for their
condition.
.
Prescription Drug Products at            The amount you pay for up to a          The amount you pay for up to a
Retail Pharmacies                        consecutive 30-day supply at a          consecutive 30-day supply at a non-
                                         Network Pharmacy                        Network Pharmacy
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy. (Also
includes mandatory generics.)
Tier 1
  Generic Drugs on the Prescription       Subject to a minimum of $10, then the     50% after pharmacy Deductible
  Drug List                               Plan pays 100% after pharmacy
                                          Deductible
Tier 2
  Brand Drugs designated as               30%, subject to a maximum of $75,         50% after pharmacy Deductible
  preferred on the Prescription Drug      then the Plan pays 100% after
  List                                    pharmacy Deductible
Tier 3
  Brand Drugs designated as non-          50%, subject to a maximum of $125,        50% after pharmacy Deductible
  preferred on the Prescription Drug      then the Plan pays 100% after
  List
  .                                       pharmacy Deductible
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy. (Also
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       Subject to a minimum of $20, then the     50% after pharmacy Deductible
  Drug List                               Plan pays 100% after pharmacy
                                          Deductible
Tier 2
  Brand Drugs designated as               30%, subject to a maximum of $150,        50% after pharmacy Deductible
  preferred on the Prescription Drug      then the Plan pays 100% after
  List                                    pharmacy Deductible




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Tier 3
  Brand Drugs designated as non-         50%, subject to a maximum of $250,         50% after pharmacy Deductible
  preferred on the Prescription Drug     then the Plan pays 100% after
  List                                   pharmacy Deductible
Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      Subject to a minimum of $20, then the      In-network coverage only
  Drug List                              Plan pays 100% after pharmacy
                                         Deductible
Tier 2
  Brand Drugs designated as              30%, subject to a maximum of $150,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after
  List                                   pharmacy Deductible
Tier 3
  Brand Drugs designated as non-         50%, subject to a maximum of $250,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after
  List                                   pharmacy Deductible




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Prescription Drug Benefits                                               Dependents is a determination that is made by you or your
                                                                         Dependent and the prescribing Physician.
Covered Expenses                                                         The coverage status of a Prescription Drug Product may
                                                                         change periodically for various reasons. For example, a
Your plan provides benefits for Prescription Drug Products               Prescription Drug Product may be removed from the market, a
dispensed by a Pharmacy. Details regarding your plan’s                   New Prescription Drug Product in the same therapeutic class
Covered Expenses, which for the purposes of the Prescription             as a Prescription Drug Product may become available, or other
Drug Benefit include Medically Necessary Prescription Drug               market events may occur. Market events that may affect the
Products ordered by a Physician, Limitations, and Exclusions             coverage status of a Prescription Drug Product include, but are
are provided below and/or are shown in The Schedule.                     not limited to, an increase in the acquisition cost of a
If you or any one of your Dependents, while insured for                  Prescription Drug Product. As a result of coverage changes,
Prescription Drug Benefits, incurs expenses for charges made             for the purposes of benefits the plan may require you to pay
by a Pharmacy for Medically Necessary Prescription Drug                  more or less for that Prescription Drug Product, to obtain the
Products ordered by a Physician, your plan provides coverage             Prescription Drug Product from a certain Pharmacy (ies) for
for those expenses as shown in The Schedule. Your benefits               coverage, or try another covered Prescription Drug Product(s).
may vary depending on which of the Prescription Drug List                Please access the internet through the website shown on your
tiers the Prescription Drug Product is listed, or the Pharmacy           ID card or call member services at the telephone number on
that provides the Prescription Drug Product.                             your ID card for the most up-to-date tier status, utilization
Coverage under your plan’s Prescription Drug Benefits also               management, or other coverage limitations for a Prescription
includes Medically Necessary Prescription Drug Products                  Drug Product.
dispensed pursuant to a Prescription Order or Refill issued to
you or your Dependents by a licensed dentist for the                     HC-PHR414                                                   07-20
prevention of infection or pain in conjunction with a dental
procedure.
When you or a Dependent are issued a Prescription Order or
                                                                         Limitations
Refill for Medically Necessary Prescription Drug Products as
part of the rendering of Emergency Services and Cigna                    For most Prescription Drug Products you and your Dependent
determines that it cannot reasonably be filled by a Network              pay only the cost sharing detailed in The Schedule or
Pharmacy, the prescription will be covered pursuant to the, as           Prescription Drug Benefits. However, in the event you or your
applicable, Copayment or Coinsurance for the Prescription                Dependent or your Physician insist on a more expensive Brand
Drug Product when dispensed by a Network Pharmacy.                       Drug where a Therapeutic Equivalent Generic Drug is
                                                                         available, you may be financially responsible for an Ancillary
Prescription Drug List Management
                                                                         Charge, in addition to any required Brand Drug Copayment
Your plan’s Prescription Drug List coverage tiers may contain            and/or Coinsurance. The Ancillary Charge will not apply to
Prescription Drug Products that are Generic Drugs, Brand                 your Deductible, if any, or Out of Pocket Maximum.
Drugs or Specialty Prescription Drug Products. Determination
                                                                         Your plan includes a Brand Drug for Generic Drug dispensing
of inclusion of a Prescription Drug Product to a certain
                                                                         program. This program allows certain Brand Drugs to be
coverage tier on the Prescription Drug List and utilization
                                                                         dispensed in place of the Therapeutic Equivalent Generic
management requirements or other coverage conditions are
                                                                         Drug at the time your Prescription Order or Refill is processed
based on a number of factors which may include, clinical and
                                                                         by a participating Pharmacy. Brand Drug for Generic Drug
economic factors. Clinical factors may include, but are not
                                                                         substitution will occur only for certain Brand Drugs included
limited to, the P&T Committee’s evaluations of the place in
                                                                         in the program. When this substitution program is applied, the
therapy, relative safety or relative efficacy of the Prescription
                                                                         participating Pharmacy will dispense the Brand Drug to you in
Drug Product, as well as whether certain supply limits or other
                                                                         place of the available Generic Drug. You will be responsible
utilization management requirements should apply. Economic
                                                                         for payment of only a Generic Drug Copayment and/or
factors may include, but are not limited to, the Prescription
                                                                         Coinsurance, after satisfying your Deductible, if any.
Drug Product's acquisition cost including, but not limited to,
assessments on the cost effectiveness of the Prescription Drug           Prior Authorization Requirements
Product and available rebates. Regardless of its eligibility for         Coverage for certain Prescription Drug Products prescribed to
coverage under the plan, whether a particular Prescription               you requires your Physician to obtain prior authorization from
Drug Product is appropriate for you or any of your                       Cigna or its Review Organization. The reason for obtaining
                                                                         prior authorization from Cigna is to determine whether the


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Prescription Drug Product is Medically Necessary in                     Some products are subject to additional supply limits, quantity
accordance with Cigna's coverage criteria. Coverage criteria            limits or dosage limits based on coverage criteria that have
for a Prescription Drug Product may vary based on the clinical          been approved based on consideration of the P&T
use for which the Prescription Order or Refill is submitted,            Committee’s clinical findings. Coverage criteria are subject to
and may change periodically based on changes in, without                periodic review and modification. The limit may restrict the
limitation, clinical guidelines or practice standards, or market        amount dispensed per Prescription Order or Refill and/or the
factors.                                                                amount dispensed per month's supply, or may require that a
If Cigna or its Review Organization reviews the                         minimum amount be dispensed.
documentation provided and determines that the Prescription             You may determine whether a Prescription Drug Product has
Drug Product is not Medically Necessary or otherwise                    been assigned a dispensing supply limit or similar limit or
excluded, your plan will not cover the Prescription Drug                requirement at the website shown on your ID card or by
Product. Cigna, or its Review Organization, will not review             calling member services at the telephone number on your ID
claims for excluded Prescription Drug Products or other                 card.
services to determine if they are Medically Necessary, unless           Specialty Prescription Drug Products
required by law.
                                                                        Benefits are provided for Specialty Prescription Drug
When Prescription Drug Products that require prior                      Products. If you require Specialty Prescription Drug Products,
authorization are dispensed at a Pharmacy, you or your                  you may be directed to a Designated Pharmacy with whom
prescribing Physician are responsible for obtaining prior               Cigna has an arrangement to provide those Specialty
authorization from Cigna. If you do not obtain prior                    Prescription Drug Products.
authorization from us before the Prescription Drug Product is
dispensed by the Pharmacy, you can ask us to consider                   Designated Pharmacies
reimbursement after you pay for and receive the Prescription            If you require certain Prescription Drug Products, including,
Drug Product. You will need to pay for the Prescription Drug            but not limited to, Specialty Prescription Drug Products, we
Product at the Pharmacy prior to submitting a reimbursement             may direct you to a Designated Pharmacy with whom we have
request.                                                                an arrangement to provide those Prescription Drug Products. If
When you submit a claim on this basis, you will need to                 you are directed to a Designated Pharmacy and you choose not
submit a paper claim using the form that appears on the                 to obtain your Prescription Drug Product from a Designated
website shown on your ID card.                                          Pharmacy, you may not receive coverage for the Prescription
                                                                        Drug Product or be subject to the non-Network Pharmacy
If a prior authorization request is approved, your Physician            Benefit, if any, for that Prescription Drug Product. Refer to
will receive confirmation. The authorization will be processed          The Schedule for further information.
in the claim system to allow you to have coverage for the
Prescription Drug Product. The length of the authorization              New Prescription Drug Products
may depend on the diagnosis and the Prescription Drug                   New Prescription Drug Products may or may not be placed on
Product. The authorization will at all times be subject to the          a Prescription Drug List tier upon market entry. Cigna will use
plan’s terms of coverage for the Prescription Drug Product,             reasonable efforts to make a tier placement decision for a New
which may change from time to time. When your Physician                 Prescription Drug Product within six months of its market
advises you that coverage for the Prescription Drug Product             availability. Cigna’s tier placement decision shall be based on
has been approved, you can contact a Pharmacy to fill the               consideration of, without limitation, the P&T Committee’s
covered Prescription Order or Refill.                                   clinical review of the New Prescription Drug Product and
If the prior authorization request is denied, your Physician and        economic factors. If a New Prescription Drug Product not
you will be notified that coverage for the Prescription Drug            listed on the Prescription Drug List is approved by Cigna or its
Product is not authorized. If you disagree with a coverage              Review Organization as Medically Necessary in the interim,
decision, you may appeal that decision in accordance with the           the New Prescription Drug Product shall be covered at the
provisions of the plan by submitting a written request stating          applicable coverage tier as set forth in The Schedule.
why the Prescription Drug Product should be covered.
Supply Limits                                                           HC-PHR522 M                                                 01-22

Benefits for Prescription Drug Products are subject to the
supply limits that are stated in The Schedule. For a single             Your Payments
Prescription Order or Refill, you may receive a Prescription            Covered Prescription Drug Products purchased at a Pharmacy
Drug Product up to the stated supply limit.                             are subject to any applicable Deductible, Copayments or
                                                                        Coinsurance shown in The Schedule, as well as any



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limitations or exclusions set forth in this plan. Please refer to        coverage for the Prescription Drug Product because it meets
The Schedule for any required Copayments, Coinsurance,                   the applicable coverage exception criteria, the Prescription
Deductibles or Out-of-Pocket Maximums.                                   Drug Product shall be covered at the applicable coverage tier
Deductible                                                               as set forth in The Schedule.
Your plan requires that you pay the costs for covered
Prescription Drug Products up to the Deductible amount set               HC-PHR420                                                       01-21
forth in The Schedule. Until you meet that Deductible amount,
your costs under the plan for a covered Prescription Drug
Product dispensed by a Network Pharmacy will be the lowest
                                                                         Exclusions
of the following amounts:
                                                                         Coverage exclusions listed under the “Exclusions, Expenses
   the Prescription Drug Charge; or
                                                                         Not Covered and General Limitations” section also apply to
   the Network Pharmacy’s submitted Usual and Customary                 benefits for Prescription Drug Products. In addition, the
    (U&C) Charge, if any.                                                exclusions listed below apply to benefits for Prescription Drug
The Schedule sets forth your costs for covered Prescription              Products. When an exclusion or limitation applies to only
Drug Products after you have satisfied the Deductible amount.            certain Prescription Drug Products, you can access the
                                                                         Prescription Drug List through the website shown on your ID
Coinsurance
                                                                         card or call member services at the telephone number on your
Your plan requires that you pay a Coinsurance amount for                 ID card for information on which Prescription Drug Products
covered Prescription Drug Products as set forth in The                   are excluded.
Schedule. After satisfying any applicable annual Deductible
                                                                            coverage for Prescription Drug Products for the amount
set forth in The Schedule, your costs under the plan for a
                                                                             dispensed (days' supply) which exceeds the applicable
covered Prescription Drug Product dispensed by a Network
                                                                             supply limit, or is less than any applicable supply minimum
Pharmacy and that is subject to a Coinsurance requirement
                                                                             set forth in The Schedule, or which exceeds quantity limit(s)
will be the lowest of the following amounts:
                                                                             or dosage limit(s) set by the P&T Committee.
   the amount that results from applying the applicable
                                                                            more than one Prescription Order or Refill for a given
    Coinsurance percentage set forth in The Schedule to the
                                                                             prescription supply period for the same Prescription Drug
    Prescription Drug Charge; or
                                                                             Product prescribed by one or more Physicians and
   the Network Pharmacy’s submitted Usual and Customary                     dispensed by one or more Pharmacies.
    (U&C) Charge, if any.
                                                                            Prescription Drug Products dispensed outside the
Payments at Non-Network Pharmacies                                           jurisdiction of the United States, except as required for
Any reimbursement due to you under this plan for a covered                   emergency or Urgent Care treatment.
Prescription Drug Product dispensed by a non-Network                        Prescription Drug Products which are prescribed, dispensed
Pharmacy may be determined by applying the Deductible, if                    or intended to be taken by or administered to you while you
any, and/or non-Network Pharmacy Coinsurance amount set                      are a patient in a licensed Hospital, Skilled Nursing Facility,
forth in The Schedule to the average wholesale price (or                     rest home, rehabilitation facility, or similar institution which
“AWP”), or other benchmark price Cigna applies, for a                        operates on its premises or allows to be operated on its
Prescription Drug Product dispensed by a non-Network                         premises a facility for dispensing pharmaceutical products.
Pharmacy. Your reimbursement, if any, for a covered
                                                                            Prescription Drug Products furnished by the local, state or
Prescription Drug Product dispensed by a non-Network
                                                                             federal government (except for a Network Pharmacy owned
Pharmacy will never exceed the average wholesale price (or
                                                                             or operated by a local, state or federal government).
other benchmark price applied by Cigna) for the Prescription
Drug Product.                                                               any product dispensed for the purpose of appetite
                                                                             suppression (anorectics) or weight loss.
When a treatment regimen contains more than one type of
Prescription Drug Products that are packaged together for your              Prescription and non-prescription supplies other than
or your Dependent's convenience, any applicable Copayment                    supplies covered as Prescription Drug Products.
or Coinsurance may apply to each Prescription Drug Product.                 vitamins, except prenatal vitamins that require a
You will need to obtain prior approval from Cigna or its                     Prescription Order or Refill, unless coverage for such
Review Organization for any Prescription Drug Product not                    product(s) is required by federal or state law.
listed on the Prescription Drug List that is not otherwise                  medications used for cosmetic purposes, including, without
excluded. If Cigna or its Review Organization approves                       limitation, medications used to reduce wrinkles,



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    medications used to promote hair growth and fade cream                  medications that are experimental investigational or
    products.                                                                unproven as described under the “General Exclusion and
   Prescription Drug Products as a replacement for a                        Limitations” section of your plan’s certificate.
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.                                   HC-PHR530                                                    01-22
   Prescription Drug Products used for the treatment of
    infertility.
   Medical Pharmaceuticals covered solely under the plan’s              Reimbursement/Filing a Claim
    medical benefits.
                                                                         Retail Pharmacy
   Prescription Drug Products used for the treatment of male or
                                                                         When you or your Dependents purchase your Prescription
    female sexual dysfunction, including, but not limited to
                                                                         Drug Products through a Network Pharmacy, you pay any
    erectile dysfunction, delayed ejaculation, anorgasmy,
                                                                         applicable Copayment, Coinsurance, or Deductible shown in
    hypoactive sexual desire disorder and decreased libido.
                                                                         The Schedule at the time of purchase. You do not need to file
   any ingredient(s) in a compounded Prescription Drug                  a claim form for a Prescription Drug Product obtained at a
    Product that has not been approved by the U.S. Food and              Network Pharmacy unless you pay the full cost of a
    Drug Administration (FDA).                                           Prescription Drug Product at a Network Pharmacy and later
   medications available over-the-counter that do not require a         seek reimbursement for the Prescription Drug Product under
    Prescription Order or Refill by federal or state law before          the plan. For example, if you must pay the full cost of a
    being dispensed, unless state or federal law requires                Prescription Drug Product to the retail Network Pharmacy
    coverage of such medications or the over-the-counter                 because you did not have your ID card, then you must submit
    medication has been designated as eligible for coverage as if        a claim to Cigna for any reimbursement or benefit you believe
    it were a Prescription Drug Product.                                 is due to you under this plan. If, under this example, your
                                                                         payment to the retail Network Pharmacy for the covered
   certain Prescription Drug Products that are a Therapeutic
                                                                         Prescription Drug Product exceeds any applicable copay, then
    Equivalent or Therapeutic Alternative to an over-the-
                                                                         you will be reimbursed the difference, if any, between the
    counter drug(s), or are available in over-the-counter form.
                                                                         applicable copay and the Prescription Drug Charge for the
    Such coverage determinations may be made periodically,
                                                                         Prescription Drug Product.
    and benefits for a Prescription Drug Product that was
    previously excluded under this provision may be reinstated           If you obtain a covered Prescription Drug Product dispensed
    at any time.                                                         by a non-Network Pharmacy, then you must pay the non-
                                                                         Network Pharmacy for the Prescription Drug Product and then
   any product for which the primary use is a source of
                                                                         submit a claim to Cigna for any reimbursement or benefit you
    nutrition, nutritional supplements, or dietary management of
                                                                         believe is due to you under this plan. You can obtain a claim
    disease, even when used for the treatment of Sickness or
                                                                         form through the website shown on your ID card or by calling
    Injury, unless coverage for such product(s) is required by
                                                                         member services at the telephone number on your ID card.
    federal or state law.
   medications used for travel prophylaxis, immunization
    agents, virus detection testing, virus antibody testing,             HC-PHR273                                                    01-19

    biological products for allergy immunization, biological                                                                            V1

    sera, blood, blood plasma and other blood products or
    fractions unless specifically identified on the Prescription
    Drug List.                                                           Exclusions, Expenses Not Covered and
   smoking cessation medications except those required by
    federal law to be covered as PPACA Preventive
                                                                         General Limitations
    Medications.                                                         Exclusions and Expenses Not Covered
   certain Prescription Drug Products that are a Therapeutic            Additional coverage limitations determined by plan or
    Equivalent or Therapeutic Alternative to another covered             provider type are shown in The Schedule. Payment for the
    Prescription Drug Product(s). Such coverage determinations           following is specifically excluded from this plan:
    may be made periodically, and benefits for a Prescription             care for health conditions that are required by state or local
    Drug Product that was previously excluded under this                   law to be treated in a public facility.
    provision may be reinstated at any time.




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   care required by state or federal law to be supplied by a                    effective for treating or diagnosing the condition or
    public school system or school district.                                     Sickness for which its use is proposed;
   care for military service disabilities treatable through                    the subject of review or approval by an Institutional
    governmental services if you are legally entitled to such                    Review Board for the proposed use except as provided in
    treatment and facilities are reasonably available.                           the “Clinical Trials” sections of this plan; or
   treatment of an Injury or Sickness which is due to war,                     the subject of an ongoing phase I, II or III clinical trial,
    declared, or undeclared.                                                     except for routine patient care costs related to qualified
   charges which you are not obligated to pay or for which you                  clinical trials as provided in the “Clinical Trials” sections
    are not billed or for which you would not have been billed                   of this plan.
    except that they were covered under this plan. For example,                In determining whether any such technologies, supplies,
    if Cigna determines that a provider or Pharmacy is or has                  treatments, drug or Biologic therapies, or devices are
    waived, reduced, or forgiven any portion of its charges                    experimental, investigational, and/or unproven, the
    and/or any portion of Copayment, Deductible, and/or                        utilization review Physician may rely on the clinical
    Coinsurance amount(s) you are required to pay for a                        coverage policies maintained by Cigna or the Review
    Covered Expense (as shown on The Schedule) without                         Organization. Clinical coverage policies may incorporate,
    Cigna’s express consent, then Cigna in its sole discretion                 without limitation and as applicable, criteria relating to U.S.
    shall have the right to deny the payment of benefits in                    Food and Drug Administration-approved labeling, the
    connection with the Covered Expense, or reduce the                         standard medical reference compendia and peer-reviewed,
    benefits in proportion to the amount of the Copayment,                     evidence-based scientific literature or guidelines.
    Deductible, and/or Coinsurance amounts waived, forgiven                   cosmetic surgery and therapies. Cosmetic surgery or therapy
    or reduced, regardless of whether the provider or Pharmacy                 is defined as surgery or therapy performed to improve or
    represents that you remain responsible for any amounts that                alter appearance or self-esteem.
    your plan does not cover. In the exercise of that discretion,
    Cigna shall have the right to require you to provide proof                the following services are excluded from coverage
    sufficient to Cigna that you have made your required cost                  regardless of clinical indications: redundant skin surgery;
    share payment(s) prior to the payment of any benefits by                   removal of skin tags; acupressure; craniosacral/cranial
    Cigna. This exclusion includes, but is not limited to, charges             therapy; dance therapy; movement therapy; applied
    of a non-Participating Provider who has agreed to charge                   kinesiology; rolfing; prolotherapy; and extracorporeal shock
    you or charged you at an In-Network benefits level or some                 wave lithotripsy (ESWL) for musculoskeletal and
    other benefits level not otherwise applicable to the services              orthopedic conditions.
    received.                                                                 dental treatment of the teeth, gums or structures directly
   charges arising out of or relating to any violation of a                   supporting the teeth, including dental X-rays, examinations,
    healthcare-related state or federal law or which themselves                repairs, orthodontics, periodontics, casts, splints and
    are a violation of a healthcare-related state or federal law.              services for dental malocclusion, for any condition. Charges
                                                                               made for services or supplies provided for or in connection
   assistance in the activities of daily living, including but not            with an accidental Injury to teeth are covered provided a
    limited to eating, bathing, dressing or other Custodial                    continuous course of dental treatment is started within six
    Services or self-care activities, homemaker services and                   months of an accident.
    services primarily for rest, domiciliary or convalescent care.
                                                                              for medical and surgical services intended primarily for the
   for or in connection with experimental, investigational or                 treatment or control of obesity. However, treatment of
    unproven services.                                                         clinically severe obesity, as defined by the Body Mass
    Experimental, investigational and unproven services are                    Index (BMI) classifications of the National Heart, Lung and
    medical, surgical, diagnostic, psychiatric, substance use                  Blood Institute guideline is covered if the services are
    disorder or other health care technologies, supplies,                      demonstrated, through peer-reviewed medical literature and
    treatments, procedures, drug or Biologic therapies or                      scientifically based guidelines, to be safe and effective for
    devices that are determined by the utilization review                      treatment of the condition.
    Physician to be:                                                          unless otherwise covered in this plan, for reports,
     not approved by the U.S. Food and Drug Administration                    evaluations, physical examinations, or hospitalization not
      (FDA) or other appropriate regulatory agency to be                       required for health reasons, including but not limited to
      lawfully marketed;                                                       employment, insurance or government licenses, and court-
     not demonstrated, through existing peer-reviewed,                        ordered, forensic or custodial evaluations.
      evidence-based, scientific literature to be safe and


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   court-ordered treatment or hospitalization, unless such                 eyeglass lenses and frames and contact lenses (except for
    treatment is prescribed by a Physician and listed as covered             the first pair of contact lenses or the first set of eyeglass
    in this plan.                                                            lenses and frames, and associated services, for treatment of
   for treatment of erectile dysfunction. However, penile                   keratoconus or following cataract surgery).
    implants are covered when an established medical condition              routine refractions, eye exercises and surgical treatment for
    is the cause of erectile dysfunction, anorgasmy, and                     the correction of a refractive error, including radial
    premature ejaculation.                                                   keratotomy.
   medical and Hospital care and costs for the infant child of a           treatment by acupuncture.
    Dependent, unless this infant child is otherwise eligible               all non-injectable prescription drugs, unless Physician
    under this plan.                                                         administration or oversight is required, injectable
   non-medical counseling and/or ancillary services, including              prescription drugs to the extent they do not require
    but not limited to Custodial Services, educational services,             Physician supervision and are typically considered self-
    vocational counseling, training and, rehabilitation services,            administered drugs, non-prescription drugs, and
    behavioral training, biofeedback, neurofeedback, hypnosis,               investigational and experimental drugs, except as provided
    sleep therapy, return to work services, work hardening                   in this plan.
    programs and driver safety courses.                                     routine foot care, including the paring and removing of
   therapy or treatment intended primarily to improve or                    corns and calluses and toenail maintenance. However, foot
    maintain general physical condition or for the purpose of                care services for diabetes, peripheral neuropathies and
    enhancing job, school, athletic or recreational performance,             peripheral vascular disease are covered when Medically
    including but not limited to routine, long term, or                      Necessary.
    maintenance care which is provided after the resolution of              membership costs or fees associated with health clubs,
    the acute medical problem and when significant therapeutic               weight loss programs and smoking cessation programs.
    improvement is not expected.
                                                                            genetic screening or pre-implantations genetic screening.
   consumable medical supplies other than ostomy supplies                   General population-based genetic screening is a testing
    and urinary catheters. Excluded supplies include, but are not            method performed in the absence of any symptoms or any
    limited to bandages and other disposable medical supplies,               significant, proven risk factors for genetically linked
    skin preparations and test strips, except as specified in the            inheritable disease.
    “Home Health Care Services” or “Breast Reconstruction
    and Breast Prostheses” sections of this plan.                           dental implants for any condition.
   private Hospital rooms and/or private duty nursing except as            fees associated with the collection or donation of blood or
    provided under the Home Health Care Services provision.                  blood products, except for autologous donation in
                                                                             anticipation of scheduled services where in the utilization
   personal or comfort items such as personal care kits                     review Physician’s opinion the likelihood of excess blood
    provided on admission to a Hospital, television, telephone,              loss is such that transfusion is an expected adjunct to
    newborn infant photographs, complimentary meals, birth                   surgery.
    announcements, and other articles which are not for the
    specific treatment of an Injury or Sickness.                            blood administration for the purpose of general
                                                                             improvement in physical condition.
   artificial aids, including but not limited to corrective
    orthopedic shoes, arch supports, elastic stockings, garter              cost of biologicals that are immunizations or medications
    belts, corsets and dentures.                                             for the purpose of travel, or to protect against occupational
                                                                             hazards and risks.
   hearing aids, including but not limited to semi-implantable
    hearing devices, audiant bone conductors and Bone                       cosmetics, dietary supplements and health and beauty aids.
    Anchored Hearing Aids (BAHAs). A hearing aid is any                     enteral feedings, supplies and specially formulated medical
    device that amplifies sound.                                             foods that are prescribed and non-prescribed, except for
   aids or devices that assist with non-verbal communications,              infant formula needed for the treatment of inborn errors of
    including but not limited to communication boards, pre-                  metabolism.
    recorded speech devices, laptop computers, desktop                      for or in connection with an Injury or Sickness arising out
    computers, Personal Digital Assistants (PDAs), Braille                   of, or in the course of, any employment for wage or profit.
    typewriters, visual alert systems for the deaf and memory               massage therapy.
    books.
                                                                            products and supplies associated with the administration of
                                                                             medications that are available to be covered under the


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    Prescription Drug Benefit. Such products and supplies
    include but are not limited to therapeutic Continuous
    Glucose Monitor (CGM) sensors and transmitters and                         Coordination of Benefits
    insulin pods.
                                                                               This section applies if you or any one of your Dependents is
   abortions, unless a Physician certifies in writing that the
                                                                               covered under more than one Plan and determines how
    pregnancy would endanger the life of the mother, or the
                                                                               benefits payable from all such Plans will be coordinated. You
    expenses are incurred to treat medical complications due to
                                                                               should file all claims with each Plan. If you are an early retiree
    abortion.
                                                                               or considered to be in a split family under a retiree, Cigna will
   expenses incurred by a participant to the extent                           always pay primary.
    reimbursable under automobile insurance coverage.
                                                                               Coverage under this Plan plus another Plan will not
    Coverage under this plan is secondary to automobile no-
                                                                               guarantee 100% reimbursement.
    fault insurance or similar coverage. The coverage provided
    under this plan does not constitute “Qualified Health                      Definitions
    Coverage” under Michigan law and therefore does not                        For the purposes of this section, the following terms have the
    replace Personal Injury Protection (PIP) coverage provided                 meanings set forth below:
    under an automobile insurance policy issued to a Michigan                  Plan
    resident. This plan will cover expenses only not otherwise
    covered by the PIP coverage.                                               Any of the following that provides benefits or services for
                                                                               medical care or treatment:
   Cobra participants, members out on Long Term Disability
    and members who are enrolled within the pre/post 65                           Group insurance and/or group-type coverage, whether
    benefits are not eligible for the MotivateMe incentive.                        insured or self-insured which neither can be purchased by
                                                                                   the general public, nor is individually underwritten,
General Limitations                                                                including closed panel coverage.
No payment will be made for expenses incurred for you or any                      Governmental benefits as permitted by law, excepting
one of your Dependents:                                                            Medicaid, Medicare and Medicare supplement policies.
   for charges by a Hospital owned or operated by or which                       Medical benefits coverage of group, group-type, and
    provides care or performs services for, the United States                      individual automobile contracts.
    Government, if such charges are directly related to a
                                                                               Each Plan or part of a Plan which has the right to coordinate
    military-service-connected Injury or Sickness.
                                                                               benefits will be considered a separate Plan.
   to the extent that you or any one of your Dependents is in
                                                                               Closed Panel Plan
    any way paid or entitled to payment for those expenses by
    or through a public program, other than Medicaid.                          A Plan that provides medical or dental benefits primarily in
                                                                               the form of services through a panel of employed or
   to the extent that payment is unlawful where the person
                                                                               contracted providers, and that limits or excludes benefits
    resides when the expenses are incurred.
                                                                               provided by providers outside of the panel, except in the case
   for charges which would not have been made if the person                   of emergency or if referred by a provider within the panel.
    had no insurance.
                                                                               Primary Plan
   to the extent that they are more than Maximum
                                                                               The Plan that determines and provides or pays benefits
    Reimbursable Charges.
                                                                               without taking into consideration the existence of any other
   to the extent of the exclusions imposed by any certification               Plan.
    requirement shown in this plan.
                                                                               Secondary Plan
   expenses for supplies, care, treatment, or surgery that are
                                                                               A Plan that determines, and may reduce its benefits after
    not Medically Necessary.
                                                                               taking into consideration, the benefits provided or paid by the
   charges by any covered provider who is a member of your                    Primary Plan. A Secondary Plan may also recover from the
    family or your Dependent's family.                                         Primary Plan the Reasonable Cash Value of any services it
   expenses incurred outside the United States other than                     provided to you.
    expenses for Medically Necessary urgent or emergent care                   Reasonable Cash Value
    while temporarily traveling abroad.
                                                                               An amount which a duly licensed provider of health care
                                                                               services usually charges patients and which is within the range
HC-EXC466 M                                                       01-22        of fees usually charged for the same service by other health



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care providers located within the immediate geographic area                   the Plan with the gender rules shall determine the order of
where the health care service is rendered under similar or                    benefits.
comparable circumstances.                                                   If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
A Plan that does not have a coordination of benefits rule                   be primary.
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
   The Plan that covers you as an enrollee or an employee shall            Medicare, the benefit determination rules identified above,
    be the Primary Plan and the Plan that covers you as a                   will be used to determine how benefits will be coordinated.
    Dependent shall be the Secondary Plan;                                  Effect on the Benefits of This Plan
   If you are a Dependent child whose parents are not divorced             If this Plan is the Secondary Plan, the benefits that would be
    or legally separated, the Primary Plan shall be the Plan                payable under this Plan in the absence of Coordination will be
    which covers the parent whose birthday falls first in the               reduced by the benefits payable under all other Plans for the
    calendar year as an enrollee or employee;                               expense covered under this Plan.
   If you are the Dependent of divorced or separated parents,              When a Plan provides benefits in the form of services, the
    benefits for the Dependent shall be determined in the                   Reasonable Cash Value of each service rendered will be
    following order:                                                        considered both an expense incurred and a benefit payable.
     first, if a court decree states that one parent is responsible        Recovery of Excess Benefits
      for the child's healthcare expenses or health coverage and            If Cigna pays charges for services and supplies that should
      the Plan for that parent has actual knowledge of the terms            have been paid by the Primary Plan, Cigna will have the right
      of the order, but only from the time of actual knowledge;             to recover such payments.
     then, the Plan of the parent with custody of the child;               Cigna will have sole discretion to seek such recovery from any
     then, the Plan of the spouse of the parent with custody of            person to, or for whom, or with respect to whom, such
      the child;                                                            services were provided or such payments made by any
     then, the Plan of the parent not having custody of the                insurance company, healthcare Plan or other organization. If
      child; and                                                            we request, you shall execute and deliver to us such
                                                                            instruments and documents as we determine are necessary to
     finally, the Plan of the spouse of the parent not having
                                                                            secure the right of recovery.
      custody of the child.
                                                                            Right to Receive and Release Information
   The Plan that covers you as an active employee (or as that
    employee's Dependent) shall be the Primary Plan and the                 Cigna, without consent or notice to you, may obtain
    Plan that covers you as laid-off or retired employee (or as             information from and release information to any other Plan
    that employee's Dependent) shall be the Secondary Plan. If              with respect to you in order to coordinate your benefits
    the other Plan does not have a similar provision and, as a              pursuant to this section. You must provide us with any
    result, the Plans cannot agree on the order of benefit                  information we request in order to coordinate your benefits
    determination, this paragraph shall not apply.                          pursuant to this section. This request may occur in connection
                                                                            with a submitted claim; if so, you will be advised that the
   The Plan that covers you under a right of continuation                  "other coverage" information, (including an Explanation of
    which is provided by federal or state law shall be the                  Benefits paid under the Primary Plan) is required before the
    Secondary Plan and the Plan that covers you as an active                claim will be processed for payment. If no response is
    employee or retiree (or as that employee's Dependent) shall             received within 55 days of the request, the claim will be
    be the Primary Plan. If the other Plan does not have a                  closed. If the requested information is subsequently received,
    similar provision and, as a result, the Plans cannot agree on           the claim will be processed.
    the order of benefit determination, this paragraph shall not
    apply.
                                                                            HC-COB272 M                                                  01-21
   If one of the Plans that covers you is issued out of the state
    whose laws govern this Policy, and determines the order of
    benefits based upon the gender of a parent, and as a result,
    the Plans do not agree on the order of benefit determination,



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Medicare Eligibles                                                       coverage is due to disability, the Medicare Secondary Payer
                                                                         rules explained above will apply.
Cigna will pay as the Secondary Plan as permitted by the
Social Security Act of 1965 as amended for the following:
                                                                         HC-COB274 M                                                     01-21
(a) a former Employee who is eligible for Medicare and
    whose insurance is continued for any reason as provided in
    this Plan;
(b) a former Employee's Dependent, or a former Dependent                 Expenses For Which A Third Party May
    Spouse, who is eligible for Medicare and whose insurance             Be Responsible
    is continued for any reason as provided in this Plan;
                                                                         This plan does not cover:
(c) an Employee whose Employer and each other Employer
    participating in the Employer's plan have fewer than 100                Expenses incurred by you or your Dependent (hereinafter
    Employees and that Employee is eligible for Medicare due                 individually and collectively referred to as a "Participant,")
    to disability;                                                           for which another party may be responsible as a result of
                                                                             having caused or contributed to an Injury or Sickness.
(d) the Dependent of an Employee whose Employer and each
    other Employer participating in the Employer's plan have                Expenses incurred by a Participant to the extent any
    fewer than 100 Employees and that Dependent is eligible                  payment is received for them either directly or indirectly
    for Medicare due to disability;                                          from a third party tortfeasor or as a result of a settlement,
                                                                             judgment or arbitration award in connection with any
(e) an Employee or a Dependent of an Employee of an
                                                                             automobile medical, automobile no-fault, uninsured or
    Employer who has fewer than 20 Employees, if that person
                                                                             underinsured motorist, homeowners, workers'
    is eligible for Medicare due to age;
                                                                             compensation, government insurance (other than Medicaid),
(f) an Employee, retired Employee, Employee's Dependent or                   or similar type of insurance or coverage. The coverage
    retired Employee's Dependent who is eligible for Medicare                under this plan is secondary to any automobile no-fault
    due to End Stage Renal Disease after that person has been                insurance or similar coverage.
    eligible for Medicare for 30 months.
                                                                         Subrogation/Right of Reimbursement
Cigna will assume the amount payable under:
                                                                         If a Participant incurs a Covered Expense for which, in the
   Part A of Medicare for a person who is eligible for that Part        opinion of the plan or its claim administrator, another party
    without premium payment, but has not applied, to be the              may be responsible or for which the Participant may receive
    amount he would receive if he had applied.                           payment as described above:
   Part B of Medicare for a person who is entitled to be                   Subrogation: The plan shall, to the extent permitted by law,
    enrolled in that Part, but is not, to be the amount he would             be subrogated to all rights, claims or interests that a
    receive if he were enrolled.                                             Participant may have against such party and shall
   Part B of Medicare for a person who has entered into a                   automatically have a lien upon the proceeds of any recovery
    private contract with a provider, to be the amount he would              by a Participant from such party to the extent of any benefits
    receive in the absence of such private contract.                         paid under the plan. A Participant or his/her representative
                                                                             shall execute such documents as may be required to secure
A person is considered eligible for Medicare on the earliest
                                                                             the plan’s subrogation rights.
date any coverage under Medicare could become effective for
him.                                                                        Right of Reimbursement: The plan is also granted a right of
                                                                             reimbursement from the proceeds of any recovery whether
This reduction will not apply to any Employee and his
                                                                             by settlement, judgment, or otherwise. This right of
Dependent or any former Employee and his Dependent unless
                                                                             reimbursement is cumulative with and not exclusive of the
he is listed under (a) through (f) above.
                                                                             subrogation right granted in paragraph 1, but only to the
Domestic Partners                                                            extent of the benefits provided by the plan.
Under federal law, the Medicare Secondary Payer Rules do                 Lien of the Plan
not apply to Domestic Partners covered under a group health              By accepting benefits under this plan, a Participant:
plan when Medicare coverage is due to age. Therefore, when
Medicare coverage is due to age, Medicare is always the                     grants a lien and assigns to the plan an amount equal to the
Primary Plan for a person covered as a Domestic Partner, and                 benefits paid under the plan against any recovery made by
                                                                             or on behalf of the Participant which is binding on any
Cigna is the Secondary Plan. However, when Medicare
                                                                             attorney or other party who represents the Participant



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    whether or not an agent of the Participant or of any                         offset the reimbursement obligation against any entitlement
    insurance company or other financially responsible party                     to future medical benefits hereunder until the Participant has
    against whom a Participant may have a claim provided said                    fully complied with his reimbursement obligations
    attorney, insurance carrier or other party has been notified                 hereunder, regardless of how those future medical benefits
    by the plan or its agents;                                                   are incurred.
   agrees that this lien shall constitute a charge against the                 Any reference to state law in any other provision of this
    proceeds of any recovery and the plan shall be entitled to                   plan shall not be applicable to this provision, if the plan is
    assert a security interest thereon;                                          governed by ERISA. By acceptance of benefits under the
   agrees to hold the proceeds of any recovery in trust for the                 plan, the Participant agrees that a breach hereof would cause
    benefit of the plan to the extent of any payment made by the                 irreparable and substantial harm and that no adequate
    plan.                                                                        remedy at law would exist. Further, the Plan shall be
                                                                                 entitled to invoke such equitable remedies as may be
Additional Terms                                                                 necessary to enforce the terms of the plan, including, but not
 No adult Participant hereunder may assign any rights that it                   limited to, specific performance, restitution, the imposition
  may have to recover medical expenses from any third party                      of an equitable lien and/or constructive trust, as well as
  or other person or entity to any minor Dependent of said                       injunctive relief.
  adult Participant without the prior express written consent                   Participants must assist the plan in pursuing any subrogation
  of the plan. The plan’s right to recover shall apply to                        or recovery rights by providing requested information.
  decedents’, minors’, and incompetent or disabled persons’
  settlements or recoveries.
                                                                             HC-SUB128                                                     03-20
   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.
   The plan’s right of recovery shall be a prior lien against any           Payment of Benefits
    proceeds recovered by the Participant. This right of                     Assignment and Payment of Benefits
    recovery shall not be defeated nor reduced by the
    application of any so-called “Made-Whole Doctrine”,                      You may not assign to any party, including, but not limited to,
    “Rimes Doctrine”, or any other such doctrine purporting to               a provider of healthcare services/items, your right to benefits
    defeat the plan’s recovery rights by allocating the proceeds             under this plan, nor may you assign any administrative,
    exclusively to non-medical expense damages.                              statutory, or legal rights or causes of action you may have
                                                                             under ERISA, including, but not limited to, any right to make
   No Participant hereunder shall incur any expenses on behalf              a claim for plan benefits, to request plan or other documents,
    of the plan in pursuit of the plan’s rights hereunder,                   to file appeals of denied claims or grievances, or to file
    specifically; no court costs, attorneys' fees or other                   lawsuits under ERISA. Any attempt to assign such rights shall
    representatives' fees may be deducted from the plan’s                    be void and unenforceable under all circumstances.
    recovery without the prior express written consent of the
    plan. This right shall not be defeated by any so-called “Fund            You may, however, authorize Cigna to pay any healthcare
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                   benefits under this policy to a Participating or Non-
    Doctrine”.                                                               Participating Provider. When you authorize the payment of
                                                                             your healthcare benefits to a Participating or Non-Participating
   The plan shall recover the full amount of benefits provided              Provider, you authorize the payment of the entire amount of
    hereunder without regard to any claim of fault on the part of            the benefits due on that claim. If a provider is overpaid
    any Participant, whether under comparative negligence or                 because of accepting duplicate payments from you and Cigna,
    otherwise.                                                               it is the provider’s responsibility to reimburse the
   The plan hereby disavows all equitable defenses in pursuit               overpayment to you. Cigna may pay all healthcare benefits for
    of its right of recovery. The plan’s subrogation or recovery             Covered Expenses directly to a Participating Provider without
    rights are neither affected nor diminished by equitable                  your authorization. You may not interpret or rely upon this
    defenses.                                                                discrete authorization or permission to pay any healthcare
   In the event that a Participant shall fail or refuse to honor its        benefits to a Participating or Non-Participating Provider as the
    obligations hereunder, then the plan shall be entitled to                authority to assign any other rights under this policy to any
    recover any costs incurred in enforcing the terms hereof                 party, including, but not limited to, a provider of healthcare
    including, but not limited to, attorney’s fees, litigation, court        services/items.
    costs, and other expenses. The plan shall also be entitled to



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Even if the payment of healthcare benefits to a Non-                      Termination of Insurance
Participating Provider has been authorized by you, Cigna may,
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                 Employees
are responsible for reimbursing the Non-Participating                     Your insurance will cease on the earliest date below:
Provider.                                                                    the date you cease to be in a Class of Eligible Employees or
If any person to whom benefits are payable is a minor or, in                  cease to qualify for the insurance.
the opinion of Cigna is not able to give a valid receipt for any             the last day for which you have made any required
payment due him, such payment will be made to his legal                       contribution for the insurance.
guardian. If no request for payment has been made by his legal
guardian, Cigna may, at its option, make payment to the                      the date the policy is cancelled.
person or institution appearing to have assumed his custody                  the date that you or your dependent(s) commit fraud or
and support.                                                                  misrepresentation against the plan.
When one of our participants passes away, Cigna may receive                  the last day of the calendar month in which your Active
notice that an executor of the estate has been established. The               Service ends except as described below.
executor has the same rights as our insured and benefit                   Any continuation of insurance must be based on a plan which
payments for unassigned claims should be made payable to the              precludes individual selection.
executor.
                                                                          Temporary Layoff or Leave of Absence
Payment as described above will release Cigna from all
                                                                          If your Active Service ends due to temporary layoff or leave
liability to the extent of any payment made.
                                                                          of absence, your insurance will be continued as determined by
Recovery of Overpayment                                                   your business unit.
When an overpayment has been made by Cigna, Cigna will                    Injury or Sickness
have the right at any time to: recover that overpayment from
                                                                          If your Active Service ends due to an Injury or Sickness, your
the person to whom or on whose behalf it was made; or offset
                                                                          insurance will be continued while you remain totally and
the amount of that overpayment from a future claim payment.
                                                                          continuously disabled as a result of the Injury or Sickness.
In addition, your acceptance of benefits under this plan and/or
                                                                          However, your insurance will not continue past the date your
assignment of Medical Benefits separately creates an equitable
                                                                          Employer cancels your insurance.
lien by agreement pursuant to which Cigna may seek recovery
of any overpayment. You agree that Cigna, in seeking                      Retirement
recovery of any overpayment as a contractual right or as an               If your Active Service ends because you retire, and you are
equitable lien by agreement, may pursue the general assets of             under age 65, your insurance will be continued until the earlier
the person or entity to whom or on whose behalf the                       of: (a) the date on which your Employer terminates this
overpayment was made.                                                     coverage option (or the retiree coverage component thereof);
Calculation of Covered Expenses                                           or (b) the last day of the month prior to your 65th birthday.
Cigna, in its discretion, will calculate Covered Expenses
following evaluation and validation of all provider billings in           Dependents
accordance with:                                                          Your insurance for all of your Dependents will cease on the
   the methodologies in the most recent edition of the Current           earliest date below:
    Procedural terminology.                                                  the date your insurance ceases.
   the methodologies as reported by generally recognized                    the date you cease to be eligible for Dependent Insurance.
    professionals or publications.                                           the last day for which you have made any required
                                                                              contribution for the insurance.
HC-POB132                                                    01-19           the date that you or your dependent(s) commit fraud or
                                                                              misrepresentation against the plan.
                                                                             the date Dependent Insurance is cancelled.
                                                                          The insurance for any one of your Dependents will cease on
                                                                          the date that Dependent no longer qualifies as a Dependent.


                                                                          HC-TRM128 M                                                   12-17




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                                                                          Qualified Medical Child Support Order
                                                                          (QMCSO)
Rescissions                                                               Eligibility for Coverage Under a QMCSO
Your coverage may not be rescinded (retroactively terminated)
                                                                          If a Qualified Medical Child Support Order (QMCSO) is
by Cigna or the plan sponsor unless the plan sponsor or an
                                                                          issued for your child, that child will be eligible for coverage as
individual (or a person seeking coverage on behalf of the
                                                                          required by the order and you will not be considered a Late
individual) performs an act, practice or omission that
                                                                          Entrant for Dependent Insurance.
constitutes fraud; or the plan sponsor or individual (or a
person seeking coverage on behalf of the individual) makes an             You must notify your Employer and elect coverage for that
intentional misrepresentation of material fact.                           child, and yourself if you are not already enrolled, within 31
                                                                          days of the QMCSO being issued.
                                                                          Qualified Medical Child Support Order Defined
HC-TRM80                                                     01-11
                                                                          A Qualified Medical Child Support Order is a judgment,
                                                                          decree or order (including approval of a settlement agreement)
                                                                          or administrative notice, which is issued pursuant to a state
Federal Requirements                                                      domestic relations law (including a community property law),
The following pages explain your rights and responsibilities              or to an administrative process, which provides for child
under federal laws and regulations. Some states may have                  support or provides for health benefit coverage to such child
similar requirements. If a similar provision appears elsewhere            and relates to benefits under the group health plan, and
in this booklet, the provision which provides the better benefit          satisfies all of the following:
will apply.                                                                  the order recognizes or creates a child’s right to receive
                                                                              group health benefits for which a participant or beneficiary
                                                                              is eligible;
HC-FED1                                                      10-10
                                                                             the order specifies your name and last known address, and
                                                                              the child’s name and last known address, except that the
                                                                              name and address of an official of a state or political
Notice of Provider Directory/Networks                                         subdivision may be substituted for the child’s mailing
Notice Regarding Provider Directories and Provider                            address;
Networks                                                                     the order provides a description of the coverage to be
A list of network providers is available to you without charge                provided, or the manner in which the type of coverage is to
by visiting the website or by calling the phone number on your                be determined;
ID card. The network consists of providers, including                        the order states the period to which it applies; and
hospitals, of varied specialties as well as general practice,
affiliated or contracted with Cigna or an organization                       if the order is a National Medical Support Notice completed
contracting on its behalf.                                                    in accordance with the Child Support Performance and
                                                                              Incentive Act of 1998, such Notice meets the requirements
Notice Regarding Pharmacy Directories and Pharmacy                            above.
Networks
                                                                          The QMCSO may not require the health insurance policy to
A list of network pharmacies is available to you without                  provide coverage for any type or form of benefit or option not
charge by visiting the website or by calling the phone number             otherwise provided under the policy, except that an order may
on your ID card. The network consists of pharmacies affiliated            require a plan to comply with State laws regarding health care
or contracted with Cigna or an organization contracting on its            coverage.
behalf.


HC-FED78                                                     10-10




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Payment of Benefits                                                            Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                           required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                 previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial              with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                   was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                  loss of eligibility as a result of any of the following:
child.                                                                          divorce or legal separation;
                                                                                cessation of Dependent status (such as reaching the
HC-FED4                                                       10-10
                                                                                 limiting age);
                                                                                death of the Employee;
                                                                                termination of employment;
Special Enrollment Rights Under the Health                                      reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                       for eligibility;
(HIPAA)                                                                         you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                        in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                        coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a                 you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of                       exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already                   all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and                    the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by                   similarly situated individuals.
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special                    Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                           continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                   ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                       Dependent’s other coverage, special enrollment may be
events include:                                                                requested in this Plan for you and all of your eligible
                                                                               Dependent(s).
   Acquiring a new Dependent. If you acquire a new
    Dependent(s) through marriage, birth, adoption or                         Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                 Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not                and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                  COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                            Dependent(s) elect COBRA or other continuation coverage
    Employee and Dependent child(ren); Employee, spouse and                    following loss of coverage under another plan, the COBRA
    Dependent child(ren). Enrollment of Dependent children is                  or other continuation coverage must be exhausted before
    limited to the newborn or adopted children or children who                 any special enrollment rights exist under this Plan. An
    became Dependent children of the Employee due to                           individual is considered to have exhausted COBRA or other
    marriage.                                                                  continuation coverage only if such coverage ceases: due to
                                                                               failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                       premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                        resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                   no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                       the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself               meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled                 there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                    available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                            termination of an Employer’s limited period of
   Loss of eligibility for other coverage (excluding                          contributions toward COBRA or other continuation
    continuation coverage). If coverage was declined under                     coverage as provided under any severance or other
    this Plan due to coverage under another plan, and eligibility              agreement.
    for the other coverage is lost, you and all of your eligible



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   Eligibility for employment assistance under State                            change in employment status of Employee, spouse or
    Medicaid or Children’s Health Insurance Program                               Dependent due to termination or start of employment,
    (CHIP). If you and/or your Dependent(s) become eligible                       strike, lockout, beginning or end of unpaid leave of absence,
    for assistance with group health plan premium payments                        including under the Family and Medical Leave Act
    under a state Medicaid or CHIP plan, you may request                          (FMLA), or change in worksite;
    special enrollment for yourself and any affected                             changes in employment status of Employee, spouse or
    Dependent(s) who are not already enrolled in the Plan. You                    Dependent resulting in eligibility or ineligibility for
    must request enrollment within 60 days after the date you                     coverage;
    are determined to be eligible for assistance.
                                                                                 change in residence of Employee, spouse or Dependent to a
Except as stated above, special enrollment must be                                location outside of the Employer’s network service area;
requested within 30 days after the occurrence of the                              and
special enrollment event. If the special enrollment event is
the birth or adoption of a Dependent child, coverage will                        changes which cause a Dependent to become eligible or
be effective immediately on the date of birth, adoption or                        ineligible for coverage.
placement for adoption. Coverage with regard to any other                     C. Court order
special enrollment event will be effective no later than the                  A change in coverage due to and consistent with a court order
first day of the first calendar month following receipt of                    of the Employee or other person to cover a Dependent.
the request for special enrollment.
                                                                              D. Medicare or Medicaid eligibility/entitlement
Domestic Partners and their children (if not legal children of
                                                                              The Employee, spouse or Dependent cancels or reduces
the Employee) are not eligible for special enrollment.
                                                                              coverage due to entitlement to Medicare or Medicaid, or
                                                                              enrolls or increases coverage due to loss of Medicare or
HC-FED96                                                         04-17        Medicaid eligibility.
                                                                              E. Change in cost of coverage
                                                                              If the cost of benefits increases or decreases during a benefit
Effect of Section 125 Tax Regulations on This                                 period, your Employer may, in accordance with plan terms,
Plan                                                                          automatically change your elective contribution.
Your Employer has chosen to administer this Plan in                           When the change in cost is significant, you may either
accordance with Section 125 regulations of the Internal                       increase your contribution or elect less-costly coverage. When
Revenue Code. Per this regulation, you may agree to a pretax                  a significant overall reduction is made to the benefit option
salary reduction put toward the cost of your benefits.                        you have elected, you may elect another available benefit
Otherwise, you will receive your taxable earnings as cash                     option. When a new benefit option is added, you may change
(salary).                                                                     your election to the new benefit option.
A. Coverage elections                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                     another employer’s plan
enroll for or change coverage only before each annual benefit                 You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                      spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                     deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                           Special Enrollment, Change in Status, Court Order or
                                                                              Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in               the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change               enrollment periods.
    coverage within the time period established by your
    Employer.                                                                 G. Reduction in work hours
                                                                              If an Employee’s work hours are reduced below 30
B. Change of status
                                                                              hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                             eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a                (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                           Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,                    be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                          following the month that includes the date the original
                                                                              coverage is revoked.


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H. Enrollment in a Qualified Health Plan (QHP)                            Please review this Plan for further details on the specific
The Employee must be eligible for a Special Enrollment                    coverage available to you and your Dependents.
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                   HC-FED11                                                       10-10
during the Marketplace’s annual open enrollment period; and
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP
through a Marketplace for new coverage effective beginning                Women’s Health and Cancer Rights Act
no later than the day immediately following the last day of the           (WHCRA)
original coverage.                                                        Do you know that your plan, as required by the Women’s
                                                                          Health and Cancer Rights Act of 1998, provides benefits for
HC-FED95                                                     04-17
                                                                          mastectomy-related services including all stages of
                                                                          reconstruction and surgery to achieve symmetry between the
                                                                          breasts, prostheses, and complications resulting from a
                                                                          mastectomy, including lymphedema? Call Member Services at
Eligibility for Coverage for Adopted Children                             the toll free number listed on your ID card for more
Any child who is adopted by you, including a child who is                 information.
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
                                                                          HC-FED12                                                       10-10
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that
child, totally or partially, prior to that child’s adoption.
If a child placed for adoption is not adopted, all health                 Group Plan Coverage Instead of Medicaid
coverage ceases when the placement ends, and will not be                  If your income and liquid resources do not exceed certain
continued.                                                                limits established by law, the state may decide to pay
The provisions in the “Exception for Newborns” section of                 premiums for this coverage instead of for Medicaid, if it is
this document that describe requirements for enrollment and               cost effective. This includes premiums for continuation
effective date of insurance will also apply to an adopted child           coverage required by federal law.
or a child placed with you for adoption.
                                                                          HC-FED13                                                       10-10

HC-FED67                                                     09-14



                                                                          Requirements of Family and Medical Leave Act
Coverage for Maternity Hospital Stay                                      of 1993 (as amended) (FMLA)
Group health plans and health insurance issuers offering group            Any provisions of the policy that provide for: continuation of
health insurance coverage generally may not, under a federal              insurance during a leave of absence; and reinstatement of
law known as the “Newborns’ and Mothers’ Health Protection                insurance following a return to Active Service; are modified
Act”: restrict benefits for any Hospital length of stay in                by the following provisions of the federal Family and Medical
connection with childbirth for the mother or newborn child to             Leave Act of 1993, as amended, where applicable:
less than 48 hours following a vaginal delivery, or less than 96          Continuation of Health Insurance During Leave
hours following a cesarean section; or require that a provider
                                                                          Your health insurance will be continued during a leave of
obtain authorization from the plan or insurance issuer for
                                                                          absence if:
prescribing a length of stay not in excess of the above periods.
The law generally does not prohibit an attending provider of                 that leave qualifies as a leave of absence under the Family
the mother or newborn, in consultation with the mother, from                  and Medical Leave Act of 1993, as amended; and
discharging the mother or newborn earlier than 48 or 96 hours,               you are an eligible Employee under the terms of that Act.
as applicable.                                                            The cost of your health insurance during such leave must be
                                                                          paid, whether entirely by your Employer or in part by you and
                                                                          your Employer.




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Reinstatement of Canceled Insurance Following Leave                       began. However, if an Injury or Sickness occurs or is
Upon your return to Active Service following a leave of                   aggravated during the military leave, full Plan limitations will
absence that qualifies under the Family and Medical Leave                 apply.
Act of 1993, as amended, any canceled insurance (health, life             If your coverage under this plan terminates as a result of your
or disability) will be reinstated as of the date of your return.          eligibility for military medical and dental coverage and your
You will not be required to satisfy any eligibility or benefit            order to active duty is canceled before your active duty service
waiting period to the extent that they had been satisfied prior           commences, these reinstatement rights will continue to apply.
to the start of such leave of absence.
Your Employer will give you detailed information about the                HC-FED18                                                     10-10
Family and Medical Leave Act of 1993, as amended.


HC-FED93                                                     10-17        Claim Determination Procedures under ERISA
                                                                          The following complies with federal law. Provisions of
                                                                          applicable laws of your state may supersede.
Uniformed Services Employment and Re-                                     Procedures Regarding Medical Necessity Determinations
Employment Rights Act of 1994 (USERRA)                                    In general, health services and benefits must be Medically
The Uniformed Services Employment and Re-employment                       Necessary to be covered under the plan. The procedures for
Rights Act of 1994 (USERRA) sets requirements for                         determining Medical Necessity vary, according to the type of
continuation of health coverage and re-employment in regard               service or benefit requested, and the type of health plan.
to an Employee’s military leave of absence. These                         Medical Necessity determinations are made on a preservice,
requirements apply to medical and dental coverage for you                 concurrent, or postservice basis, as described below:
and your Dependents.                                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The booklet describes who is responsible for
                                                                          obtaining this review. You or your authorized representative
For leaves of less than 31 days, coverage will continue as
                                                                          (typically, your health care professional) must request prior
described in the Termination section regarding Leave of
                                                                          authorization according to the procedures described below, in
Absence.
                                                                          the booklet, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for              documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to               you or your representative will receive a written description of
your Employer, until the earliest of the following:                       the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the booklet, in your
    Employer;                                                             provider’s network participation documents as applicable, and
                                                                          in the determination notices.
   the day after you fail to return to work; and
                                                                          Note: An oral statement made to you by a representative of
   the date the policy cancels.
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to                    service is a Covered Expense, is authorized for coverage by
102% of the total premium.                                                the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.                                                                    When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.



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However, if more time is needed due to matters beyond                   Postservice Determinations
Cigna’s control, Cigna will notify you or your representative           When you or your representative requests a coverage
within 15 days after receiving your request. This notice will           determination or a claim payment determination after services
include the date a determination can be expected, which will            have been rendered, Cigna will notify you or your
be no more than 30 days after receipt of the request. If more           representative of the determination within 30 days after
time is needed because necessary information is missing from            receiving the request. However, if more time is needed to
the request, the notice will also specify what information is           make a determination due to matters beyond Cigna’s control,
needed, and you or your representative must provide the                 Cigna will notify you or your representative within 30 days
specified information to Cigna within 45 days after receiving           after receiving the request. This notice will include the date a
the notice. The determination period will be suspended on the           determination can be expected, which will be no more than 45
date Cigna sends such a notice of missing information, and the          days after receipt of the request.
determination period will resume on the date you or your
representative responds to the notice.                                  If more time is needed because necessary information is
                                                                        missing from the request, the notice will also specify what
If the determination periods above would seriously jeopardize           information is needed, and you or your representative must
your life or health, your ability to regain maximum function,           provide the specified information to Cigna within 45 days
or in the opinion of a health care professional with knowledge          after receiving the notice. The determination period will be
of your health condition, cause you severe pain which cannot            suspended on the date Cigna sends such a notice of missing
be managed without the requested services, Cigna will make              information, and the determination period will resume on the
the preservice determination on an expedited basis. Cigna will          date you or your representative responds to the notice.
defer to the determination of the treating health care
professional regarding whether an expedited determination is            Notice of Adverse Determination
necessary. Cigna will notify you or your representative of an           Every notice of an adverse benefit determination will be
expedited determination within 72 hours after receiving the             provided in writing or electronically, and will include all of
request.                                                                the following that pertain to the determination: information
However, if necessary information is missing from the                   sufficient to identify the claim including, if applicable, the
request, Cigna will notify you or your representative within 24         date of service, provider and claim amount; diagnosis and
hours after receiving the request to specify what information is        treatment codes, and their meanings; the specific reason or
needed. You or your representative must provide the specified           reasons for the adverse determination including, if applicable,
information to Cigna within 48 hours after receiving the                the denial code and its meaning and a description of any
notice. Cigna will notify you or your representative of the             standard that was used in the denial; reference to the specific
expedited benefit determination within 48 hours after you or            plan provisions on which the determination is based; a
your representative responds to the notice. Expedited                   description of any additional material or information necessary
determinations may be provided orally, followed within 3 days           to perfect the claim and an explanation of why such material
by written or electronic notification.                                  or information is necessary; a description of the plan’s review
                                                                        procedures and the time limits applicable, including a
If you or your representative attempts to request a preservice          statement of a claimant’s rights to bring a civil action under
determination, but fails to follow Cigna’s procedures for               section 502(a) of ERISA following an adverse benefit
requesting a required preservice determination, Cigna will              determination on appeal, (if applicable); upon request and free
notify you or your representative of the failure and describe           of charge, a copy of any internal rule, guideline, protocol or
the proper procedures for filing within 5 days (or 24 hours, if         other similar criterion that was relied upon in making the
an expedited determination is required, as described above)             adverse determination regarding your claim; and an
after receiving the request. This notice may be provided orally,        explanation of the scientific or clinical judgment for a
unless you or your representative requests written notification.        determination that is based on a Medical Necessity,
Concurrent Determinations                                               experimental treatment or other similar exclusion or limit; a
When an ongoing course of treatment has been approved for               description of any available internal appeal and/or external
you and you wish to extend the approval, you or your                    review process(es); information about any office of health
representative must request a required concurrent coverage              insurance consumer assistance or ombudsman available to
determination at least 24 hours prior to the expiration of the          assist you with the appeal process; and in the case of a claim
approved period of time or number of treatments. When you               involving urgent care, a description of the expedited review
or your representative requests such a determination, Cigna             process applicable to such claim.
will notify you or your representative of the determination
within 24 hours after receiving the request.                            HC-FED104                                                    01-19




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                                                                            any case within 30 days. If you are not satisfied with the
                                                                            results of a coverage decision, you may start the appeals
Appointment of Authorized Representative                                    procedure.
You may appoint an authorized representative to assist you in               Internal Appeals Procedure
submitting a claim or appealing a claim denial. However,                    To initiate an appeal of an adverse benefit determination, you
Cigna may require you to designate your authorized                          must submit a request for an appeal to Cigna within 180 days
representative in writing using a form approved by Cigna. At                of receipt of a denial notice. If you appeal a reduction or
all times, the appointment of an authorized representative is               termination in coverage for an ongoing course of treatment
revocable by you. To ensure that a prior appointment remains                that Cigna previously approved, you will receive, as required
valid, Cigna may require you to re-appoint your authorized                  by applicable law, continued coverage pending the outcome of
representative, from time to time.                                          an appeal.
Cigna reserves the right to refuse to honor the appointment of              You should state the reason why you feel your appeal should
a representative if Cigna reasonably determines that:                       be approved and include any information supporting your
   the signature on an authorized representative form may not              appeal. If you are unable or choose not to write, you may ask
    be yours, or                                                            Cigna to register your appeal by telephone. Call or write us at
                                                                            the toll-free number on your ID card, explanation of benefits,
   the authorized representative may not have disclosed to you
                                                                            or claim form.
    all of the relevant facts and circumstances relating to the
    overpayment or underpayment of any claim, including, for                Your appeal will be reviewed and the decision made by
    example, that the billing practices of the provider of medical          someone not involved in the initial decision. Appeals
    services may have jeopardized your coverage through the                 involving Medical Necessity or clinical appropriateness will
    waiver of the cost-sharing amounts that you are required to             be considered by a health care professional.
    pay under your plan.                                                    We will respond in writing with a decision within 30 calendar
If your designation of an authorized representative is revoked,             days after we receive an appeal for a required preservice or
or Cigna does not honor your designation, you may appoint a                 concurrent care coverage determination or a postservice
new authorized representative at any time, in writing, using a              Medical Necessity determination. We will respond within 60
form approved by Cigna.                                                     calendar days after we receive an appeal for any other
                                                                            postservice coverage determination. If more time or
                                                                            information is needed to make the determination, we will
HC-FED88                                                       01-17        notify you in writing to request an extension of up to 15
                                                                            calendar days and to specify any additional information
                                                                            needed to complete the review.
Medical - When You Have a Complaint or an                                   In the event any new or additional information (evidence) is
Appeal                                                                      considered, relied upon or generated by Cigna in connection
                                                                            with the appeal, this information will be provided
For the purposes of this section, any reference to "you" or
                                                                            automatically to you as soon as possible and sufficiently in
"your" also refers to a representative or provider designated by
                                                                            advance of the decision, so that you will have an opportunity
you to act on your behalf; unless otherwise noted.
                                                                            to respond. Also, if any new or additional rationale is
We want you to be completely satisfied with the services you                considered by Cigna, Cigna will provide the rationale to you
receive. That is why we have established a process for                      as soon as possible and sufficiently in advance of the decision
addressing your concerns and solving your problems.                         so that you will have an opportunity to respond.
Start With Customer Service                                                 You may request that the appeal process be expedited if the
We are here to listen and help. If you have a concern                       time frames under this process would seriously jeopardize
regarding a person, a service, the quality of care, contractual             your life, health or ability to regain maximum functionality or
benefits, or a rescission of coverage, you may call the toll-               in the opinion of your health care provider would cause you
free number on your ID card, explanation of benefits, or                    severe pain which cannot be managed without the requested
claim form and explain your concern to one of our Customer                  services.
Service representatives. You may also express that concern                  If you request that your appeal be expedited, you may also ask
in writing.                                                                 for an expedited external Independent Review at the same
We will do our best to resolve the matter on your initial                   time, if the time to complete an expedited level-one appeal
contact. If we need more time to review or investigate your                 would be detrimental to your medical condition.
concern, we will get back to you as soon as possible, but in


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When an appeal is expedited, Cigna will respond orally with a            You also have the right to bring a civil action under section
decision within 72 hours, followed up in writing.                        502(a) of ERISA if you are not satisfied with the decision on
External Review Procedure                                                review. You or your plan may have other voluntary alternative
                                                                         dispute resolution options such as Mediation. One way to find
If you are not fully satisfied with the decision of Cigna's              out what may be available is to contact your local U.S.
internal appeal review and the appeal involves medical                   Department of Labor office and your State insurance
judgment or a rescission of coverage, you may request that               regulatory agency. You may also contact the Plan
your appeal be referred to an Independent Review                         Administrator.
Organization (IRO). The IRO is composed of persons who are
not employed by Cigna, or any of its affiliates. A decision to           Relevant Information
request an external review to an IRO will not affect the                 Relevant Information is any document, record or other
claimant's rights to any other benefits under the plan.                  information which: was relied upon in making the benefit
There is no charge for you to initiate an external review. Cigna         determination; was submitted, considered or generated in the
and your benefit plan will abide by the decision of the IRO.             course of making the benefit determination, without regard to
                                                                         whether such document, record, or other information was
To request a review, you must notify the Appeals Coordinator             relied upon in making the benefit determination; demonstrates
within 4 months of your receipt of Cigna's appeal review                 compliance with the administrative processes and safeguards
denial. Cigna will then forward the file to a randomly selected          required by federal law in making the benefit determination;
IRO. The IRO will render an opinion within 45 days.                      or constitutes a statement of policy or guidance with respect to
When requested, and if a delay would be detrimental to your              the plan concerning the denied treatment option or benefit for
medical condition, as determined by Cigna's reviewer, or if              the claimant's diagnosis, without regard to whether such
your appeal concerns an admission, availability of care,                 advice or statement was relied upon in making the benefit
continued stay, or health care item or service for which you             determination.
received emergency services, but you have not yet been                   Final Appeal Procedure
discharged from a facility, the external review shall be
completed within 72 hours.                                               If the participant is dissatisfied with the Cigna appeal decision,
                                                                         he/she or his/her authorized representative may appeal the
Notice of Benefit Determination on Appeal
                                                                         decision by requesting a formal review of the denied claim.
Every notice of a determination on appeal will be provided in            The participant has 180 days from the date notification of the
writing or electronically and, if an adverse determination, will         denied claim was received to request an appeal. The appeal
include: information sufficient to identify the claim including,         must be submitted in writing to Saint-Gobain, following the
if applicable, the date of service, provider and claim amount;           same process required previously, except the appeal is sent to
diagnosis and treatment codes, and their meanings; the                   the following address: Benefits Committee of Saint-Gobain
specific reason or reasons for the adverse determination
                                                                         Corporation 20 Moores Road Malvern, PA 19355 (610) 893-
including, if applicable, the denial code and its meaning and a
                                                                         6000. The Plan Administrator will make a decision on the
description of any standard that was used in the denial;
                                                                         appeal within the time frames appropriate for the type of
reference to the specific plan provisions on which the
determination is based; a statement that the claimant is entitled        claim, but no later than 60 days for post-service claims. If
to receive, upon request and free of charge, reasonable access           more time or information is needed to make the determination,
to and copies of all documents, records, and other Relevant              the participant will be notified in writing to request an
Information as defined below; a statement describing any                 extension and to specify any additional information needed by
voluntary appeal procedures offered by the plan and the                  the Benefits Committee to complete the review. The
claimant's right to bring an action under ERISA section                  participant will be notified in writing of the Benefits
502(a), if applicable; upon request and free of charge, a copy           Committee’s decision within five business days after the
of any internal rule, guideline, protocol or other similar               Benefits Committee meeting. The decision on appeal by the
criterion that was relied upon in making the adverse                     Plan Administrator will not be subject to further review.
determination regarding your appeal, and an explanation of the           Legal Action
scientific or clinical judgment for a determination that is based
                                                                         If your plan is governed by ERISA, you have the right to bring
on a Medical Necessity, experimental treatment or other
                                                                         a civil action under section 502(a) of ERISA if you are not
similar exclusion or limit; and information about any office of
                                                                         satisfied with the outcome of the Appeals Procedure. In most
health insurance consumer assistance or ombudsman available
                                                                         instances, you may not initiate a legal action against Cigna
to assist you in the appeal process. A final notice of an adverse
                                                                         until you have completed the appeal processes. However, no
determination will include a discussion of the decision.
                                                                         action will be brought at all unless brought within one year
                                                                         after proof of claim is required under the Plan. However, no


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action will be brought at all unless brought within one year                  The following individuals are not qualified beneficiaries for
after a claim is submitted for In-Network Services or within                  purposes of COBRA continuation: domestic partners,
one year after proof of claim is required under the Plan for                  grandchildren (unless adopted by you), stepchildren (unless
Out-of-Network services.                                                      adopted by you). Although these individuals do not have an
                                                                              independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
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                                                                              may also cover your Dependents even if they are not
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
COBRA Continuation Rights Under Federal                                       continuation coverage terminates. The sections titled
Law                                                                           “Secondary Qualifying Events” and “Medicare Extension For
                                                                              Your Dependents” are not applicable to these individuals.
For You and Your Dependents
                                                                              Secondary Qualifying Events
What is COBRA Continuation Coverage?
                                                                              If, as a result of your termination of employment or reduction
Under federal law, you and/or your Dependents must be given                   in work hours, your Dependent(s) have elected COBRA
the opportunity to continue health insurance when there is a                  continuation coverage and one or more Dependents experience
“qualifying event” that would result in loss of coverage under                another COBRA qualifying event, the affected Dependent(s)
the Plan. You and/or your Dependents will be permitted to                     may elect to extend their COBRA continuation coverage for
continue the same coverage under which you or your                            an additional 18 months (7 months if the secondary event
Dependents were covered on the day before the qualifying                      occurs within the disability extension period) for a maximum
event occurred, unless you move out of that plan’s coverage                   of 36 months from the initial qualifying event. The second
area or the plan is no longer available. You and/or your                      qualifying event must occur before the end of the initial 18
Dependents cannot change coverage options until the next                      months of COBRA continuation coverage or within the
open enrollment period.                                                       disability extension period discussed below. Under no
When is COBRA Continuation Available?                                         circumstances will COBRA continuation coverage be
For you and your Dependents, COBRA continuation is                            available for more than 36 months from the initial qualifying
available for up to 18 months from the date of the following                  event. Secondary qualifying events are: your death; your
qualifying events if the event would result in a loss of                      divorce or legal separation; or, for a Dependent child, failure
coverage under the Plan:                                                      to continue to qualify as a Dependent under the Plan.
   your termination of employment for any reason, other than                 Disability Extension
    gross misconduct; or                                                      If, after electing COBRA continuation coverage due to your
   your reduction in work hours.                                             termination of employment or reduction in work hours, you or
                                                                              one of your Dependents is determined by the Social Security
For your Dependents, COBRA continuation coverage is
                                                                              Administration (SSA) to be totally disabled under Title II or
available for up to 36 months from the date of the following
                                                                              XVI of the SSA, you and all of your Dependents who have
qualifying events if the event would result in a loss of
                                                                              elected COBRA continuation coverage may extend such
coverage under the Plan:
                                                                              continuation for an additional 11 months, for a maximum of
   your death;                                                               29 months from the initial qualifying event.
   your divorce or legal separation; or                                      To qualify for the disability extension, all of the following
   for a Dependent child, failure to continue to qualify as a                requirements must be satisfied:
    Dependent under the Plan.                                                    SSA must determine that the disability occurred prior to or
Who is Entitled to COBRA Continuation?                                            within 60 days after the disabled individual elected COBRA
                                                                                  continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may
elect to continue health insurance coverage. A qualified                         A copy of the written SSA determination must be provided
beneficiary may include the following individuals who were                        to the Plan Administrator within 60 calendar days after the
covered by the Plan on the day the qualifying event occurred:                     date the SSA determination is made AND before the end of
you, your spouse, and your Dependent children. Each                               the initial 18-month continuation period.
qualified beneficiary has their own right to elect or decline                 If the SSA later determines that the individual is no longer
COBRA continuation coverage even if you decline or are not                    disabled, you must notify the Plan Administrator within 30
eligible for COBRA continuation.                                              days after the date the final determination is made by SSA.
                                                                              The 11-month disability extension will terminate for all


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covered persons on the first day of the month that is more than         Employer’s Notification Requirements
30 days after the date the SSA makes a final determination              Your Employer is required to provide you and/or your
that the disabled individual is no longer disabled.                     Dependents with the following notices:
All causes for “Termination of COBRA Continuation” listed                  An initial notification of COBRA continuation rights must
below will also apply to the period of disability extension.                be provided within 90 days after your (or your spouse’s)
Medicare Extension for Your Dependents                                      coverage under the Plan begins (or the Plan first becomes
When the qualifying event is your termination of employment                 subject to COBRA continuation requirements, if later). If
or reduction in work hours and you became enrolled in                       you and/or your Dependents experience a qualifying event
Medicare (Part A, Part B or both) within the 18 months before               before the end of that 90-day period, the initial notice must
the qualifying event, COBRA continuation coverage for your                  be provided within the time frame required for the COBRA
Dependents will last for up to 36 months after the date you                 continuation coverage election notice as explained below.
became enrolled in Medicare. Your COBRA continuation                       A COBRA continuation coverage election notice must be
coverage will last for up to 18 months from the date of your                provided to you and/or your Dependents within the
termination of employment or reduction in work hours.                       following timeframes:
Termination of COBRA Continuation                                            if the Plan provides that COBRA continuation coverage
COBRA continuation coverage will be terminated upon the                       and the period within which an Employer must notify the
occurrence of any of the following:                                           Plan Administrator of a qualifying event starts upon the
                                                                              loss of coverage, 44 days after loss of coverage under the
   the end of the COBRA continuation period of 18, 29 or 36                  Plan;
    months, as applicable;
                                                                             if the Plan provides that COBRA continuation coverage
   failure to pay the required premium within 30 calendar days               and the period within which an Employer must notify the
    after the due date;                                                       Plan Administrator of a qualifying event starts upon the
   cancellation of the Employer’s policy with Cigna;                         occurrence of a qualifying event, 44 days after the
   after electing COBRA continuation coverage, a qualified                   qualifying event occurs; or
    beneficiary enrolls in Medicare (Part A, Part B, or both);               in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary becomes covered under another group health                    provide notice of a qualifying event to the Plan
    plan, unless the qualified beneficiary has a condition for                Administrator.
    which the new plan limits or excludes coverage under a pre-         How to Elect COBRA Continuation Coverage
    existing condition provision. In such case coverage will            The COBRA coverage election notice will list the individuals
    continue until the earliest of: the end of the applicable           who are eligible for COBRA continuation coverage and
    maximum period; the date the pre-existing condition                 inform you of the applicable premium. The notice will also
    provision is no longer applicable; or the occurrence of an          include instructions for electing COBRA continuation
    event described in one of the first three bullets above;            coverage. You must notify the Plan Administrator of your
   any reason the Plan would terminate coverage of a                   election no later than the due date stated on the COBRA
    participant or beneficiary who is not receiving continuation        election notice. If a written election notice is required, it must
    coverage (e.g., fraud).                                             be post-marked no later than the due date stated on the
Moving Out of Employer’s Service Area or Elimination of                 COBRA election notice. If you do not make proper
a Service Area                                                          notification by the due date shown on the notice, you and your
                                                                        Dependents will lose the right to elect COBRA continuation
If you and/or your Dependents move out of the Employer’s                coverage. If you reject COBRA continuation coverage before
service area or the Employer eliminates a service area in your          the due date, you may change your mind as long as you
location, your COBRA continuation coverage under the plan
                                                                        furnish a completed election form before the due date.
will be limited to out-of-network coverage only. In-network
coverage is not available outside of the Employer’s service             Each qualified beneficiary has an independent right to elect
area. If the Employer offers another benefit option through             COBRA continuation coverage. Continuation coverage may
Cigna or another carrier which can provide coverage in your             be elected for only one, several, or for all Dependents who are
location, you may elect COBRA continuation coverage under               qualified beneficiaries. Parents may elect to continue coverage
that option.                                                            on behalf of their Dependent children. You or your spouse
                                                                        may elect continuation coverage on behalf of all the qualified
                                                                        beneficiaries. You are not required to elect COBRA



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continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%                  Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or                Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active               The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                 continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before             coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated          within one year before or after such proceeding, you and your


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covered Dependents will become COBRA qualified                           Collective Bargaining Agreements
beneficiaries with respect to the bankruptcy. You will be                You may contact the Plan Administrator to determine whether
entitled to COBRA continuation coverage until your death.                the Plan is maintained pursuant to one or more collective
Your surviving spouse and covered Dependent children will                bargaining agreements and if a particular Employer is a
be entitled to COBRA continuation coverage for up to 36                  sponsor. A copy is available for examination from the Plan
months following your death. However, COBRA continuation                 Administrator upon written request.
coverage will cease upon the occurrence of any of the events
listed under “Termination of COBRA Continuation” above.                  Discretionary Authority
Interaction With Other Continuation Benefits                             The Plan Administrator delegates to Cigna the discretionary
                                                                         authority to interpret and apply plan terms and to make factual
You may be eligible for other continuation benefits under state          determinations in connection with its review of claims under
law. Refer to the Termination section for any other                      the plan. Such discretionary authority is intended to include,
continuation benefits.                                                   but not limited to, the determination of the eligibility of
                                                                         persons desiring to enroll in or claim benefits under the plan,
HC-FED66                                                    07-14
                                                                         the determination of whether a person is entitled to benefits
                                                                         under the plan, and the computation of any and all benefit
                                                                         payments. The Plan Administrator also delegates to Cigna the
                                                                         discretionary authority to perform a full and fair review, as
ERISA Required Information                                               required by ERISA, of each claim denial which has been
The name of the Plan is:                                                 appealed by the claimant or his duly authorized representative.
  Saint-Gobain Corporation Group Insurance Plan                          Plan Modification, Amendment and Termination
The name, address, ZIP code and business telephone number                The Employer as Plan Sponsor reserves the right to, at any
of the sponsor of the Plan is:                                           time, change or terminate benefits under the Plan, to change or
  Saint-Gobain Corporation                                               terminate the eligibility of classes of employees to be covered
  20 Moores Road                                                         by the Plan, to amend or eliminate any other plan term or
  Malvern, PA 19355                                                      condition, and to terminate the whole plan or any part of it.
  610-893-6000                                                           Contact the Employer for the procedure by which benefits
                                                                         may be changed or terminated, by which the eligibility of
Employer Identification             Plan Number:                         classes of employees may be changed or terminated, or by
Number (EIN):                                                            which part or all of the Plan may be terminated. No consent of
232615166                           501                                  any participant is required to terminate, modify, amend or
The name, address, ZIP code and business telephone number                change the Plan.
of the Plan Administrator is:                                            Termination of the Plan together with termination of the
  Benefits Committee of Saint-Gobain Corporation                         insurance policy(s) which funds the Plan benefits will have no
  20 Moores Road                                                         adverse effect on any benefits to be paid under the policy(s)
  Malvern, PA 19355                                                      for any covered medical expenses incurred prior to the date
  610-893-6000                                                           that policy(s) terminates. Likewise, any extension of benefits
                                                                         under the policy(s) due to you or your Dependent's total
The name, address and ZIP code of the person designated as               disability which began prior to and has continued beyond the
agent for service of legal process is:                                   date the policy(s) terminates will not be affected by the Plan
  Employer named above                                                   termination. Rights to purchase limited amounts of life and
The office designated to consider the appeal of denied claims            medical insurance to replace part of the benefits lost because
is:                                                                      the policy(s) terminated may arise under the terms of the
                                                                         policy(s). A subsequent Plan termination will not affect the
  The Cigna Claim Office responsible for this Plan                       extension of benefits and rights under the policy(s).
The cost of the Plan is shared by Employee and Employer.                 Your coverage under the Plan’s insurance policy(s) will end
The Plan’s fiscal year ends on 12/31.                                    on the earliest of the following dates:
The preceding pages set forth the eligibility requirements and              the date you leave Active Service (or later as explained in
benefits provided for you under this Plan.                                   the Termination Section;)
Plan Type                                                                   the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                      if the Plan is contributory, the date you cease to contribute;



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   the date that you or your dependent(s) commit fraud or              copies of documents relating to the decision without charge,
    misrepresentation against the plan.                                 and to appeal any denial, all within certain time schedules.
   the date the policy(s) terminates.                                  Enforce Your Rights
See your Plan Administrator to determine if any extension of            Under ERISA, there are steps you can take to enforce the
benefits or rights are available to you or your Dependents              above rights. For instance, if you request a copy of documents
under this policy(s). No extension of benefits or rights will be        governing the plan or the latest annual report from the plan
available solely because the Plan terminates.                           and do not receive them within 30 days, you may file suit in a
Statement of Rights                                                     federal court. In such a case, the court may require the plan
                                                                        administrator to provide the materials and pay you up to $110
As a participant in the plan you are entitled to certain rights         a day until you receive the materials, unless the materials were
and protections under the Employee Retirement Income                    not sent because of reasons beyond the control of the
Security Act of 1974 (ERISA). ERISA provides that all plan              administrator. If you have a claim for benefits which is denied
participants shall be entitled to:                                      or ignored, in whole or in part, you may file suit in a state or
Receive Information About Your Plan and Benefits                        federal court.
 examine, without charge, at the Plan Administrator’s office           In addition, if you disagree with the plan’s decision or lack
  and at other specified locations, such as worksites and union         thereof concerning the qualified status of a domestic relations
  halls, all documents governing the plan, including insurance          order or a medical child support order, you may file suit in
  contracts and collective bargaining agreements and a copy             federal court. If it should happen that plan fiduciaries misuse
  of the latest annual report (Form 5500 Series) filed by the           the plan’s money, or if you are discriminated against for
  plan with the U.S. Department of Labor and available at the           asserting your rights, you may seek assistance from the U.S.
  Public Disclosure room of the Employee Benefits Security              Department of Labor, or you may file suit in a federal court.
  Administration.                                                       The court will decide who should pay court costs and legal
   obtain, upon written request to the Plan Administrator,             fees. If you are successful the court may order the person you
    copies of documents governing the Plan, including                   have sued to pay these costs and fees. If you lose, the court
    insurance contracts and collective bargaining agreements,           may order you to pay these costs and fees, for example if it
    and a copy of the latest annual report (Form 5500 Series)           finds your claim is frivolous.
    and updated summary plan description. The administrator             Assistance with Your Questions
    may make a reasonable charge for the copies.                        If you have any questions about your plan, you should contact
   receive a summary of the Plan’s annual financial report. The        the plan administrator. If you have any questions about this
    Plan Administrator is required by law to furnish each person        statement or about your rights under ERISA, or if you need
    under the Plan with a copy of this summary financial report.        assistance in obtaining documents from the plan administrator,
Continue Group Health Plan Coverage                                     you should contact the nearest office of the Employee Benefits
                                                                        Security Administration, U.S. Department of Labor listed in
 continue health care coverage for yourself, your spouse or
                                                                        your telephone directory or the Division of Technical
  Dependents if there is a loss of coverage under the Plan as a         Assistance and Inquiries, Employee Benefits Security
  result of a qualifying event. You or your Dependents may              Administration, U.S. Department of Labor, 200 Constitution
  have to pay for such coverage. Review the documents
                                                                        Avenue N.W., Washington, D.C. 20210. You may also obtain
  governing the Plan on the rules governing your federal
                                                                        certain publications about your rights and responsibilities
  continuation coverage rights.
                                                                        under ERISA by calling the publications hotline of the
Prudent Actions by Plan Fiduciaries                                     Employee Benefits Security Administration.
In addition to creating rights for plan participants, ERISA
imposes duties upon the people responsible for the operation            HC-FED72 M                                                  05-15
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your                Definitions
union, or any other person may fire you or otherwise
                                                                        Active Service
discriminate against you in any way to prevent you from
obtaining a welfare benefit or exercising your rights under             You will be considered in Active Service:
ERISA. If your claim for a welfare benefit is denied or                    on any of your Employer's scheduled work days if you are
ignored you have a right to know why this was done, to obtain               performing the regular duties of your work on that day
                                                                            either at your Employer's place of business or at some


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    location to which you are required to travel for your                  differences from the reference Biologic in terms of its safety,
    Employer's business.                                                   purity, and potency, as defined under Section 351(i) of the
   on a day which is not one of your Employer's scheduled                 Public Health Service Act (42 USC 262(i)) (as amended by
    work days if you were in Active Service on the preceding               the Biologics Price Competition and Innovation Act of 2009,
    scheduled work day.                                                    title VII of the Patient Protection and Affordable Care Act,
                                                                           Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                           thereafter).
HC-DFS1095 M                                                  12-17


                                                                           HC-DFS841                                                     10-16
Ambulance
Licensed ambulance transportation services involve the use of              Brand Drug
specially designed and equipped vehicles for transporting ill or
injured patients. It includes ground, air, or sea transportation           A Prescription Drug Product that Cigna identifies as a Brand
when Medically Necessary and clinically appropriate.                       Drug product across its book-of-business, principally based on
                                                                           available data resources, including, but not limited to, First
                                                                           DataBank or another nationally recognized drug indicator
HC-DFS1480                                                    01-21        source, that classify drugs or Biologics as either brand or
                                                                           generic based on a number of factors. Not all products
                                                                           identified as a "brand name" by the manufacturer, Pharmacy,
Ancillary Charge
                                                                           or your Physician may be classified as a Brand Drug under the
An additional cost, outside of plan cost sharing detailed in The           plan.
Schedule of Prescription Drug Benefits, which may apply to
some Prescription Drug Products when you request a more
expensive Brand Drug when a lower cost, Therapeutic                        HC-DFS842                                                     10-16

Equivalent, Generic Drug is available. The Ancillary Charge
is the amount by which the cost of the requested Brand Drug                Business Decision Team
exceeds the cost of the Generic Drug.
                                                                           A committee comprised of voting and non-voting
                                                                           representatives across various Cigna business units such as
HC-DFS1553                                                    01-21        clinical, medical and business leadership that is duly
                                                                           authorized by Cigna to effect changes regarding coverage
                                                                           treatment of Prescription Drug Products and Medical
Biologic
                                                                           Pharmaceuticals based on clinical findings provided by the
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,              P&T Committee, including, but not limited to, changes
blood component or derivative, allergenic product, protein                 regarding tier placement and application of utilization
(except any chemically synthesized polypeptide), or analogous              management to Prescription Drug Products and Medical
product, or arsphenamine or derivative of arsphenamine (or                 Pharmaceuticals.
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of
human beings, as defined under Section 351(i) of the Public                HC-DFS1494                                                    07-20

Health Service Act (42 USC 262(i)) (as amended by the
Biologics Price Competition and Innovation Act of 2009, title              Charges
VII of the Patient Protection and Affordable Care Act, Pub. L.
No. 111-148, § 7002 (2010), and as may be amended                          The term charges means the actual billed charges; except
thereafter).                                                               when Cigna has contracted directly or indirectly for a different
                                                                           amount including where Cigna has directly or indirectly
                                                                           contracted with an entity to arrange for the provision of
HC-DFS840                                                     10-16        services and/or supplies through contracts with providers of
                                                                           such services and/or supplies.
Biosimilar
A Biologic that is highly similar to the reference Biologic                HC-DFS1193                                                    01-19

product notwithstanding minor differences in clinically
inactive components, and has no clinically meaningful



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Chiropractic Care                                                           Dependent
The term Chiropractic Care means the conservative                           Dependents are:
management of neuromusculoskeletal conditions through                          your lawful spouse; or
manipulation and ancillary physiological treatment rendered to
specific joints to restore motion, reduce pain and improve                     your Domestic Partner; and
function.                                                                      any child of yours who is
                                                                                 less than 26 years old.
HC-DFS55                                                       04-10             26 or more years old, unmarried, and primarily supported
                                                                  V1              by you and incapable of self-sustaining employment by
                                                                                  reason of mental or physical disability which arose while
                                                                                  the child was covered as a Dependent under this Plan, or
Convenience Care Clinics                                                          while covered as a dependent under a prior plan with no
Convenience Care Clinics are staffed by nurse practitioners                       break in coverage.
and physician assistants and offer customers convenient,
                                                                                  Proof of the child's condition and dependence may be
professional walk-in care for common ailments and routine
                                                                                  required to be submitted to the plan within 31 days after
services. Convenience Care Clinics have extended hours and
                                                                                  the date the child ceases to qualify above. From time to
are located in or near easy-to-access, popular locations
                                                                                  time, but not more frequently than once a year, the plan
(pharmacies, grocery and free-standing locations) with or
                                                                                  may require proof of the continuation of such condition
without appointment.
                                                                                  and dependence.
                                                                            The term child means a child born to you or a child legally
HC-DFS1629                                                     07-21        adopted by you. It also includes a stepchild or a child for
                                                                            whom you are the legal guardian. If your Domestic Partner has
Custodial Services                                                          a child, that child will also be included as a Dependent.
Any services that are of a sheltering, protective, or                       Benefits for a Dependent child will continue until the last day
safeguarding nature. Such services may include a stay in an                 of the calendar month in which the limiting age is reached.
institutional setting, at-home care, or nursing services to care            Anyone who is eligible as an Employee will not be considered
for someone because of age or mental or physical condition.                 as a Dependent spouse. A child under age 26 may be covered
This service primarily helps the person in daily living.                    as either an Employee or as a Dependent child. You cannot be
Custodial care also can provide medical services, given mainly              covered as an Employee while also covered as a Dependent of
to maintain the person’s current state of health. These services            an Employee.
cannot be intended to greatly improve a medical condition;                  No one may be considered as a Dependent of more than one
they are intended to provide care while the patient cannot care             Employee.
for himself or herself. Custodial Services include but are not
limited to:
                                                                            HC-DFS872                                                    10-16
   Services related to watching or protecting a person;
   Services related to performing or assisting a person in
    performing any activities of daily living, such as: walking,
    grooming, bathing, dressing, getting in or out of bed,
    toileting, eating, preparing foods, or taking medications that
    can be self administered, and
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.


HC-DFS4                                                        04-10
                                                                  V1




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Designated Pharmacy                                                      condition; and such further medical examination and
A Network Pharmacy that has entered into an agreement with               treatment, to the extent they are within the capabilities of the
Cigna, or with an entity contracting on Cigna’s behalf, to               staff and facilities available at the Hospital, to stabilize the
provide Prescription Drug Products or services, including,               patient.
without limitation, specific Prescription Drug Products, to plan
enrollees on a preferred or exclusive basis. For example, a              HC-DFS1696                                                    01-22
Designated Pharmacy may provide enrollees certain Specialty
Prescription Drug Products that have limited distribution
availability, provide enrollees with an extended days’ supply            Employee
of Prescription Drug Products or provide enrollees with                  The term Employee means a full-time or part-time Employee
Prescription Drug Products on a preferred cost share basis. A            of the Employer who is currently in Active Service. The term
Pharmacy that is a Network Pharmacy is not necessarily a                 does not include Employees who are temporary or who
Designated Pharmacy.                                                     normally work less than 16 hours a week for the Employer.

HC-DFS1614                                                  01-22        HC-DFS1094 M                                                  12-17



Domestic Partner                                                         Employer
A person in a relationship with an eligible Employee, such that          The term Employer means the plan sponsor self-insuring the
he or she meets the criteria for a domestic partnership                  benefits described in this booklet, on whose behalf Cigna is
established by the Plan and there is a valid “Affidavit of               providing claim administration services.
Domestic Partnership” on file with the Plan. The criteria for
being in a valid domestic partnership are set forth in the
Affidavit of Domestic Partnership..                                      HC-DFS1615                                                    01-22




HC-DFS47                                                    04-10
                                                                         Essential Health Benefits
                                                            V1 M         Essential health benefits means, to the extent covered under
                                                                         the plan, expenses incurred with respect to covered services, in
                                                                         at least the following categories: ambulatory patient services,
Emergency Medical Condition                                              emergency services, hospitalization, maternity and newborn
Emergency medical condition means a medical condition                    care, mental health and substance use disorder services,
which manifests itself by acute symptoms of sufficient                   including behavioral health treatment, prescription drugs,
severity (including severe pain) such that a prudent layperson,          rehabilitative and habilitative services and devices, laboratory
who possesses an average knowledge of health and medicine,               services, preventive and wellness services and chronic disease
could reasonably expect the absence of immediate medical                 management and pediatric services, including oral and vision
attention to result in placing the health of the individual (or,         care.
with respect to a pregnant woman, the health of the woman or
her unborn child) in serious jeopardy; serious impairment to
                                                                         HC-DFS411                                                     01-11
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         Expense Incurred
HC-DFS394                                                   11-10        An expense is incurred when the service or the supply for
                                                                         which it is incurred is provided.

Emergency Services
                                                                         HC-DFS10                                                      04-10
Emergency services means, with respect to an emergency
                                                                                                                                            V1
medical condition, a medical screening examination that is
within the capability of the emergency department of a
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate the emergency medical



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Free-Standing Surgical Facility                                                 a program for persons who have a Terminal Illness and for
The term Free-Standing Surgical Facility means an institution                    the families of those persons.
which meets all of the following requirements:
   it has a medical staff of Physicians, Nurses and licensed                HC-DFS51                                                        04-10
    anesthesiologists;                                                                                                                         V1

   it maintains at least two operating rooms and one recovery
    room;                                                                    Hospice Care Services
   it maintains diagnostic laboratory and x-ray facilities;                 The term Hospice Care Services means any services provided
   it has equipment for emergency care;                                     by: a Hospital, a Skilled Nursing Facility or a similar
                                                                             institution, a Home Health Care Agency, a Hospice Facility,
   it has a blood supply;
                                                                             or any other licensed facility or agency under a Hospice Care
   it maintains medical records;                                            Program.
   it has agreements with Hospitals for immediate acceptance
    of patients who need Hospital Confinement on an inpatient
                                                                             HC-DFS52                                                        04-10
    basis; and
                                                                                                                                               V1
   it is licensed in accordance with the laws of the appropriate
    legally authorized agency.
                                                                             Hospice Facility
A Free-Standing Surgical Facility, unless specifically noted
otherwise, is covered with the same cost share as an                         The term Hospice Facility means an institution or part of it
Outpatient Facility.                                                         which:
                                                                                primarily provides care for Terminally Ill patients;
HC-DFS1484                                                      01-21           is accredited by the National Hospice Organization;
                                                                                meets standards established by Cigna; and
Generic Drug                                                                    fulfills any licensing requirements of the state or locality in
                                                                                 which it operates.
A Prescription Drug Product that Cigna identifies as a Generic
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First               HC-DFS53                                                        04-10
DataBank or another nationally recognized drug indicator                                                                                       V1
source, that classify drugs or Biologics (including Biosimilars)
as either brand or generic based on a number of factors. Not
all products identified as a “generic” by the manufacturer,                  Hospital
Pharmacy or your Physician may be classified as a Generic                    The term Hospital means:
Drug under the plan. A Biosimilar may be classified as a                        an institution licensed as a hospital, which: maintains, on
Generic Drug for the purposes of benefits under the plan even                    the premises, all facilities necessary for medical and
if it is identified as a “brand name” drug by the manufacturer,                  surgical treatment; provides such treatment on an inpatient
Pharmacy or your Physician.                                                      basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
HC-DFS846                                                       10-16
                                                                                 Graduate Nurses;
                                                                                an institution which qualifies as a hospital, a psychiatric
                                                                                 hospital or a tuberculosis hospital, and a provider of
Hospice Care Program                                                             services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                             a hospital by the Joint Commission on the Accreditation of
   a coordinated, interdisciplinary program to meet the                         Healthcare Organizations; or
    physical, psychological, spiritual and social needs of dying                an institution which: specializes in treatment of Mental
    persons and their families;                                                  Health and Substance Use Disorder or other related illness;
   a program that provides palliative and supportive medical,                   provides residential treatment programs; and is licensed in
    nursing and other health services through home or inpatient                  accordance with the laws of the appropriate legally
    care during the illness;                                                     authorized agency.



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The term Hospital does not include an institution which is
primarily a place for rest, a place for the aged, or a nursing                Maintenance Treatment
home.
                                                                              The term Maintenance Treatment means:
                                                                                 treatment rendered to keep or maintain the patient's current
HC-DFS1485                                                       01-21
                                                                                  status.

Hospital Confinement or Confined in a Hospital                                HC-DFS56                                                      04-10
A person will be considered Confined in a Hospital if he is:                                                                                  V1

   a registered bed patient in a Hospital upon the
    recommendation of a Physician;                                            Maximum Reimbursable Charge - Medical
   receiving treatment for Mental Health and Substance Use                   The Maximum Reimbursable Charge for covered services for
    Disorder Services in a Mental Health or Substance Use                     Open Access Plus is determined based on the lesser of:
    Disorder Residential Treatment Center.
                                                                                 the provider’s normal charge for a similar service or supply;
                                                                                 the amount agreed to by the Out-of-Network provider and
HC-DFS807                                                        12-15
                                                                                  Cigna; or
                                                                                 a policyholder-selected percentile of charges made by
Health Reimbursement Account (HRA)                                                providers of such service or supply in the geographic area
The Health Reimbursement Account is an account owned by                           where it is received as compiled in a database selected by
your Employer that you can use to pay for eligible health care                    Cigna. If sufficient charge data is unavailable in the
expenses. For more information on your HRA, please                                database for that geographic area to determine the
                                                                                  Maximum Reimbursable Charge, then state, regional or
reference the back of this booklet.
                                                                                  national charge data may be used. If sufficient charge data is
                                                                                  unavailable in the database for that geographic area to
Injury                                                                            determine the Maximum Reimbursable Charge, then data in
The term Injury means an accidental bodily injury.                                the database for similar services may be used.
                                                                              The percentile used to determine the Maximum Reimbursable
                                                                              Charge is listed in The Schedule.
HC-DFS12                                                         04-10
                                                                 V1 M
                                                                              The Maximum Reimbursable Charge is subject to all other
                                                                              benefit limitations and applicable coding and payment
                                                                              methodologies determined by Cigna. Additional information
Maintenance Drug Product                                                      about how Cigna determines the Maximum Reimbursable
A Prescription Drug Product that is prescribed for use over an                Charge is available upon request.
extended period of time for the treatment of chronic or long-
term conditions such as asthma, hypertension, diabetes and                    HC-DFS1631                                                    01-22
heart disease, and is identified principally based on
consideration of available data resources, including, but not
limited to, First DataBank or another nationally recognized                   Medicaid
drug indicator source and clinical factors. For the purposes of               The term Medicaid means a state program of medical aid for
benefits, the list of your plan’s Maintenance Drug Products                   needy persons established under Title XIX of the Social
does not include compounded medications, Specialty                            Security Act of 1965 as amended.
Prescription Drug Products or Prescription Drug Products,
such as certain narcotics that a Pharmacy cannot dispense
above certain supply limits per Prescription Drug Order or                    HC-DFS16                                                      04-10

Refill under applicable federal or state law. You may                                                                                         V1

determine whether a drug is a Maintenance Medication by
calling member services at the telephone number on your ID
                                                                              Medical Pharmaceutical
card.
                                                                              An FDA-approved prescription pharmaceutical product,
                                                                              including a Specialty Prescription Drug Product, typically
HC-DFS847                                                        10-16        required to be administered in connection with a covered


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service by a Physician or Other Health Professional within the                 Medicare
scope of the provider's license. This definition includes certain              The term Medicare means the program of medical care
pharmaceutical products whose administration may initially or                  benefits provided under Title XVIII of the Social Security Act
typically require Physician or Other Health Professional                       of 1965 as amended.
oversight but may be self-administered under certain
conditions specified in the product’s FDA labeling.
                                                                               HC-DFS17                                                       04-10
                                                                                                                                                 V1
HC-DFS1632                                                        01-22


                                                                               Necessary Services and Supplies
Medically Necessary/Medical Necessity
                                                                               The term Necessary Services and Supplies includes any
Health care services, supplies and medications provided for                    charges, except charges for Room and Board, made by a
the purpose of preventing, evaluating, diagnosing or treating a                Hospital for medical services and supplies actually used
Sickness, Injury, condition, disease or its symptoms, that are                 during Hospital Confinement.
all of the following as determined by a Medical Director or
Review Organization:                                                           The term Necessary Services and Supplies will not include
                                                                               any charges for special nursing fees, dental fees or medical
   required to diagnose or treat an illness, Injury, disease or its           fees.
    symptoms;
   in accordance with generally accepted standards of medical
                                                                               HC-DFS1488                                                     01-21
    practice;
   clinically appropriate in terms of type, frequency, extent,
    site and duration;                                                         Network Pharmacy
   not primarily for the convenience of the patient, Physician                A retail or home delivery Pharmacy that has:
    or Other Health Professional;                                                 entered into an agreement with Cigna or an entity
   not more costly than an alternative service(s), medication(s)                  contracting on Cigna's behalf to provide Prescription Drug
    or supply(ies) that is at least as likely to produce equivalent                Products to plan enrollees.
    therapeutic or diagnostic results with the same safety profile                agreed to accept specified reimbursement rates for
    as to the prevention, evaluation, diagnosis or treatment of                    dispensing Prescription Drug Products.
    your Sickness, Injury, condition, disease or its symptoms;
                                                                                  been designated as a Network Pharmacy for the purposes of
    and
                                                                                   coverage under your Employer’s plan.
   rendered in the least intensive setting that is appropriate for
                                                                               This term may also include, as applicable, an entity that has
    the delivery of the services, supplies or medications. Where               directly or indirectly contracted with Cigna to arrange for the
    applicable, the Medical Director or Review Organization                    provision of any Prescription Drug Products the charges for
    may compare the cost-effectiveness of alternative services,
                                                                               which are Covered Expenses.
    supplies, medications or settings when determining least
    intensive setting.
In determining whether health care services, supplies, or                      HC-DFS1198                                                     01-19

medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage                          New Prescription Drug Product
policies maintained by Cigna or the Review Organization.
Clinical coverage policies may incorporate, without limitation                 A Prescription Drug Product, or new use or dosage form of a
and as applicable, criteria relating to U.S. Food and Drug                     previously FDA-approved Prescription Drug Product, for the
Administration-approved labeling, the standard medical                         period of time starting on the date the Prescription Drug
reference compendia and peer-reviewed, evidence-based                          Product or newly-approved use or dosage form becomes
scientific literature or guidelines.                                           available on the market following approval by the U.S. Food
                                                                               and Drug Administration (FDA) and ending on the date Cigna
                                                                               makes a Prescription Drug List coverage status decision.
HC-DFS1486                                                        01-21


                                                                               HC-DFS1498                                                     07-20




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Nurse                                                                      Patient Protection and Affordable Care Act of 2010
The term Nurse means a Registered Graduate Nurse, a                        (“PPACA”)
Licensed Practical Nurse or a Licensed Vocational Nurse who                Patient Protection and Affordable Care Act of 2010 means the
has the right to use the abbreviation "R.N.," "L.P.N." or                  Patient Protection and Affordable Care Act of 2010 (Public
"L.V.N."                                                                   Law 111-148) as amended by the Health Care and Education
                                                                           Reconciliation Act of 2010 (Public Law 111-152).
HC-DFS22                                                      04-10
                                                                V1         HC-DFS412                                                    01-11



Other Health Care Facility                                                 Pharmacy
The term Other Health Care Facility means a facility other                 A duly licensed Pharmacy that dispenses Prescription Drug
than a Hospital or Hospice Facility. Examples of Other Health              Products in a retail setting or via home delivery. A home
Care Facilities include, but are not limited to, licensed skilled          delivery Pharmacy is a Pharmacy that primarily provides
nursing facilities, rehabilitation Hospitals and subacute                  Prescription Drug Products through mail order.
facilities.
                                                                           HC-DFS851                                                    10-16
HC-DFS1489                                                    01-21


                                                                           Pharmacy & Therapeutics (P&T) Committee
Other Health Professional                                                  A committee comprised of physicians and an independent
The term Other Health Professional means an individual other               pharmacist that represent a range of clinical specialties. The
than a Physician who is licensed or otherwise authorized under             committee regularly reviews Medical Pharmaceuticals or
the applicable state law to deliver medical services and                   Prescription Drug Products, including New Prescription Drug
supplies. Other Health Professionals include, but are not                  Products, for safety and efficacy, the findings of which clinical
limited to physical therapists, registered nurses and licensed             reviews inform coverage determinations made by the Business
practical nurses. Other Health Professionals do not include                Decision Team. The P&T Committee’s review may be based
providers such as Certified First Assistants, Certified                    on consideration of, without limitation, U.S. Food and Drug
Operating Room Technicians, Certified Surgical                             Administration-approved labeling, standard medical reference
Assistants/Technicians, Licensed Certified Surgical                        compendia, or scientific studies published in peer-reviewed
Assistants/Technicians, Licensed Surgical Assistants,                      English-language bio-medical journals.
Orthopedic Physician Assistants and Surgical First Assistants.
                                                                           HC-DFS1495                                                   07-20
HC-DFS1490                                                    01-21


                                                                           Physician
Participating Provider                                                     The term Physician means a licensed medical practitioner who
The term Participating Provider means a person or entity that              is practicing within the scope of his license and who is
has a direct or indirect contractual arrangement with Cigna to             licensed to prescribe and administer drugs or to perform
provide covered services and/or supplies, the Charges for                  surgery. It will also include any other licensed medical
which are Covered Expenses. It includes an entity that has                 practitioner whose services are required to be covered by law
directly or indirectly contracted with Cigna to arrange, through           in the locality where the policy is issued if he is:
contracts with providers of services and/or supplies, for the                 operating within the scope of his license; and
provision of any services and/or supplies, the Charges for
which are Covered Expenses.                                                   performing a service for which benefits are provided under
                                                                               this plan when performed by a Physician.

HC-DFS1194                                                    01-19
                                                                           HC-DFS25                                                     04-10
                                                                                                                                          V1




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Prescription Drug Charge                                                    Prescription Order or Refill
The Prescription Drug Charge is the amount that, prior to                   The lawful directive to dispense a Prescription Drug Product
application of the plan’s cost-share requirement(s), the plan               issued by a Physician whose scope of practice permits issuing
sponsor is obligated to pay for a covered Prescription Drug                 such a directive.
Product dispensed at a Network Pharmacy, including any
applicable dispensing fee and tax.
                                                                            HC-DFS856                                                     10-16


HC-DFS1320                                                     01-19
                                                                  V1
                                                                            PPACA Preventive Medication
                                                                            The Prescription Drug Products or other medications
                                                                            (including over-the-counter medications) designated as
Prescription Drug List                                                      payable by the plan at 100% of the cost (without application of
A list that categorizes drugs, Biologics (including Biosimilars)            any Deductible, Copayment or Coinsurance) as required by
or other products covered under the plan’s Prescription Drug                applicable law under any of the following:
benefits that have been approved by the U.S. Food and Drug                     Evidence-based items or services that have in effect a rating
Administration (FDA) into coverage tiers. This list is adopted                  of "A" or "B" in the current recommendations of the United
by your Employer as part of the plan. The list is subject to                    States Preventive Services Task Force.
periodic review and change, and is subject to the limitations
and exclusions of the plan. You may determine to which tier a                  With respect to infants, children and adolescents, evidence-
particular Prescription Drug Product has been assigned                          informed preventive care and screenings provided for in the
through the website shown on your ID card or by calling                         comprehensive guidelines supported by the Health
customer service at the telephone number on your ID card.                       Resources and Services Administration.
                                                                               With respect to women, such additional preventive care and
                                                                                screenings as provided for in comprehensive guidelines
HC-DFS1496                                                     07-20
                                                                                supported by the Health Resources and Services
                                                                                Administration.
Prescription Drug Product                                                   A written prescription is required to process a claim for a
A drug, Biologic (including a Biosimilar), or other product                 PPACA Preventive Medication. You may determine whether a
that has been approved by the U.S. Food and Drug                            drug is a PPACA Preventive Medication through the internet
Administration (FDA), certain products approved under the                   website shown on your ID card or by calling member services
Drug Efficacy Study Implementation review, or products                      at the telephone number on your ID card.
marketed prior to 1938 and not subject to review and that can,
under federal or state law, be dispensed only pursuant to a
                                                                            HC-DFS1513                                                    10-20
Prescription Order or Refill. For the purpose of benefits under
the plan, this definition may also include products in the
following categories if specifically identified in the                      Preventive Treatment
Prescription Drug List:                                                     The term Preventive Treatment means treatment rendered to
   Certain durable products and supplies that support drug                 prevent disease or its recurrence.
    therapy;
   Certain diagnostic testing and screening services that                  HC-DFS57                                                      04-10
    support drug therapy;                                                                                                                   V1

   Certain medication consultation and other medication
    administration services that support drug therapy; and
   Certain digital products, applications, electronic devices,
    software and cloud based service solutions used to predict,
    detect and monitor health conditions in support of drug
    therapy.


HC-DFS1633                                                     01-22




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Prescription Drug Product or Medical Pharmaceutical
                                                                          considered by Cigna to be a Specialty Prescription Drug
HC-DFS808                                                    12-15        Product based on consideration of the following factors,
                                                                          subject to applicable law: whether the Prescription Drug
                                                                          Product or Medical Pharmaceutical is prescribed and used for
Room and Board                                                            the treatment of a complex, chronic or rare condition; whether
The term Room and Board includes all charges made by a                    the Prescription Drug Product or Medical Pharmaceutical has
Hospital for room and meals and for all general services and              a high acquisition cost; and, whether the Prescription Drug
activities needed for the care of registered bed patients.                Product or Medical Pharmaceutical is subject to limited or
                                                                          restricted distribution, requires special handling and/or
                                                                          requires enhanced patient education, provider coordination or
HC-DFS1481                                                   01-21
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Prescription Drug Product or Medical Pharmaceutical will


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be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit                        Urgent Care
assignment based on factors such as method or site of clinical
administration, or by tier assignment or utilization                       Urgent Care is medical, surgical, Hospital or related health
management requirements based on factors such as acquisition               care services and testing which are not Emergency Services,
cost. You may determine whether a medication is a Specialty                but which are determined by Cigna, in accordance with
Prescription Drug Product through the website shown on your                generally accepted medical standards, to have been necessary
ID card or by calling member services at the telephone                     to treat a condition requiring prompt medical attention. This
number on your ID card.                                                    does not include care that could have been foreseen before
                                                                           leaving the immediate area where you ordinarily receive
                                                                           and/or were scheduled to receive services. Such care includes,
HC-DFS858                                                   10-16          but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
                                                                           that the insured should not travel due to any medical
Stabilize
                                                                           condition.
Stabilize means, with respect to an emergency medical
condition, to provide such medical treatment of the condition
as may be necessary to assure, within reasonable medical                   HC-DFS34                                                     04-10

probability that no material deterioration of the condition is                                                                            V1

likely to result from or occur during the transfer of the
individual from a facility.                                                Usual and Customary (U&C) Charge
                                                                           The usual fee that a Pharmacy charges individuals for a
HC-DFS413                                                   01-11          Prescription Drug Product (and any services related to the
                                                                           dispensing thereof) without reference to reimbursement to the
                                                                           Pharmacy by third parties. The Usual and Customary (U&C)
Terminal Illness                                                           Charge includes a dispensing fee and any applicable sales tax.
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.                                      HC-DFS861                                                    10-16




HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Prescription Drug Product or Medical Pharmaceutical that is
of the same therapeutic or pharmacological class, and usually
can be expected to have similar outcomes and adverse reaction
profiles when administered in therapeutically equivalent doses
as, another Prescription Drug Product, Medical
Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16




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  The following pages describe the features of your Cigna Choice Fund/HRA 80 Plan - Health Reimbursement
                                     Account. Please read them carefully.




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                                                                        Tools & Support
What You Should Know About Cigna                                        We help you keep track with online benefits information,
                                                                        transactions, and account activity; medical and drug cost
Choice Fund®/HRA 80 Plan – Health                                       comparisons; monthly statements; and more. You also have
Reimbursement Account                                                   toll-free access to dedicated Customer Service teams, specially
Cigna Choice Fund/HRA 80 Plan is designed to give you:                  trained to answer your questions and address your needs.
                                                                        Customer Service is available 24 hours a day, 7 days a week,
Control                                                                 every day of the year!
More control over how your health care dollars are spent. The           Savings on Health and Wellness Products and Services
health services you get and where you get them are up to you.
                                                                        Through Cigna Healthy Rewards®, you can save money on a
Choice                                                                  variety of health-related products and services. Offerings
You have the freedom to choose any licensed doctor.                     include laser vision correction, acupuncture, chiropractic care,
However, your costs will be lower for services from Cigna               weight loss programs, fitness club and equipment discounts
contracted health care professionals because they have agreed           and more.
to accept discounted payments to help you make the most of              The Basics
your health care dollars.
                                                                        How does it work?
Flexibility
                                                                        The Health Reimbursement Account (HRA) is a company-
Flexibility to help you proactively manage your health and              funded account. These funds are used first to pay for covered
maximize your plan coverage. By using our cost and quality              medical, pharmacy and dental expenses. Once the funds are
tools to find a higher quality and more cost effective doctor,          depleted, an annual deductible must be satisfied before the
lab or facility, you can reduce the costs that are paid out of          Plan begins paying benefits. When the annual deductible has
your HRA. And if you don’t use all of the money in your                 been satisfied, the coinsurance portion of the Plan covers
health reimbursement account, some or all of the unused                 expenses at 80% when an in-network provider is used and at
money may be added to your account for the following year,              60% when an out-of-network provider is used.
as long as you stay in the plan. Ask your employer, call Cigna,
or log into www.myCigna.com to find out if your HRA limits              Preventive care is covered at 100% in-network with no
the amount that can roll over to the next year.                         deductible. Eligible medical expenses that are non-preventive
                                                                        (diagnostic) are paid by money in the Health Reimbursement
Your plan covers medical care when you’re sick, but also                Account (HRA) until it is depleted. When funds in the HRA
includes coverage for preventive care services to help keep             have been exhausted, the remaining deductible must be met
you well. Your preventive care is covered at 100% in-                   (expenses paid from the HRA apply to the deductible). (See
network; therefore no HRA funds will need to be used for                the applicable medical Plan Summary for more information.)
these services. Preventive health coverage is one of the most
important benefits of your health plan. Getting the right               There is a calendar year deductible for services received from
preventive services at the right time can help you stay healthy         both in-network and out-of-network providers. After the
by preventing diseases or by detecting a health problem at a            calendar year deductible has been met, the Plan pays a
stage that may be easier to treat. Make sure you take                   percentage of a negotiated fee (in-network) or the reasonable
advantage of your fully covered in-network preventive care              and customary expenses (out-of-network) until the out-of-
coverage. Log in to www.myCigna.com and read the                        pocket maximum is reached.
Preventive Care Quick Reference Guide under the Review My               The Cigna Choice Fund/HRA 80 Plan Health Reimbursement
Medical Coverage section.                                               Account combines medical coverage with a reimbursement
Health Information and Education                                        account that includes contributions from your employer.
Is it late at night, and you’re not sure if you should go to the        1. Employer contribution: Your employer deposits a specific
Emergency Room for an injury or just wait until your doctor is             amount of money in a health account to help you pay for
available the next day? Just call the toll-free number on your             some of the costs of covered medical expenses. The health
ID card to reach Cigna's 24-Hour Health Information Line.                  services you receive and where you get them are up to you.
You’ll have access to trained nurses who can help! You also                The health care costs paid from your HRA typically count
have access to an audio library of health topics 24 hours a day.           toward your deductible (an annual amount you’ll pay before
In addition, the Cigna Healthy Pregnancies, Healthy Babies®                the health plan begins to pay for covered health care costs),
program provides prenatal education and support for mothers-               reducing your share.
to-be.


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2. Your share: Once you’ve used the money in your health                member's HRA and/or FSA funds are still available for
   account, you pay your expenses up to the deductible.                 eligible out-of-pocket expenses, however, the member must
3. Your health plan: After your deductible is met, you pay              pay the provider at the time of service and manually submit a
   pre-determined coinsurance or copayments for eligible                reimbursement request to Cigna.
   expenses and the plan pays the rest. When you meet your              Turning OFF Auto Pay allows secondary coverage like
   out-of-pocket maximum (the most you can pay in a plan                Medicaid to pay benefits before using your HRA and/or FSA
   year), your plan pays eligible expenses at 100%.                     funds.
If you leave the plan or your employer, the account stays               Tools and Resources at Your Fingertips
behind.                                                                 www.myCigna.com
Which services are covered by my Health Reimbursement                   www.myCigna.com provides fast, reliable and personalized
Account?                                                                information and services, including:
According to federal law, HRA funds can be used to cover                   Online access to your current account balance, past
only qualified medical expenses for you and your dependents.                transactions and claim status, as well as your Explanation of
However, your employer may choose not to allow coverage                     Benefits and health statements.
for certain qualified expenses. Please refer to
www.myCigna.com for information on the services for which                  Medical cost and drug cost information, including cost
your HRA funds may be used.                                                 estimates specific to you and your plan.
Which services are covered by my medical plan, and which
will I have to pay out of my own pocket?                                NOT154 M                                                       V6

Covered services vary depending on your plan, so visit
www.myCigna.com or check your plan materials in this
booklet for specific information. In addition to your premiums
deducted from your paycheck, you’ll be responsible for
paying:
   Costs for any services needed after you’ve spent your health
    fund, if you haven’t met your deductible.
   Your coinsurance or copayments after you meet the
    deductible and your medical plan coverage begins.
If all of your medical expenses are covered services and the
total cost doesn’t exceed the amount in your HRA, you may
not have additional out-of-pocket costs. Unused money may
be available to you if you enroll in the plan again the
following year. Check with your employer, call Cigna, or log
into www.myCigna.com to see if this option is available to
you.
Are services covered if I use out-of-network doctors?
You can visit any licensed doctor or facility. However, if you
choose a doctor who participates with Cigna, your costs will
be lower.
Auto Claim Forwarding
The Plan will automatically use your HRA dollars to pay
providers for medical, pharmacy and dental deductibles and
coinsurance until your account is depleted. These amounts are
provided annually based on your coverage tier. Once the HRA
funds are depleted, claims will automatically be paid from
your FSA (if you have one. Please refer to your FSA Booklet
for more details).
You have the option to turn OFF the Auto Pay Forward
feature for pharmacy, dental and/or FSA at any time. The


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                   Infinity Fasteners, Inc.

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Mental Health Parity and Addiction Equity Act of 2008 (MHPAEA) -
Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NTQLs) include (to the extent applicable under the plan):
  medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  prescription drug formulary design;
  network admission standards;
  methods for determining In-Network and Non-Network provider reimbursement rates;
  step therapy, a.k.a. fail-first requirements; and
  exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons:
Employers (Plan Administrators): Please contact your Cigna Sales Representative to request the NQTL
comparative analysis.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) which can be located in this booklet immediately following
The Schedule; and pharmacy coverage (whether or not your plan includes pharmacy coverage).




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:

Cigna
Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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NOTICIA PARA LOS PARTICIPANTES DEL PLAN

SI USTED NO SABE LEER INGLES COMUNIQUESE CON EL ADMINISTRADOR DEL PLAN. EL LE
EXPLICARA EN ESPANOL LOS TERMINOS DEL PLAN, SUS DERECHOS Y BENEFICIOS.
Literally translated, this means:

Notice To Plan Participants

If you are unable to read English, contact the Plan Administrator who will arrange to have the terms of the Plan,
your rights and the benefits available under the plan explained to you in Spanish.
Federal CAA - Consolidated Appropriations Act and TIC - Transparency in Coverage Notice




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Cigna will make available an internet-based self-service tool for use by individual customers, as well as certain
data in machine-readable file format on a public website, as required under the Transparency in Coverage rule.
Customers can access the cost estimator tool on myCigna.com. Updated machine-readable files can be found on
Cigna.com and/or CignaForEmployers.com on a monthly basis.
Pursuant to Consolidated Appropriations Act (CAA), Section 106, Cigna will submit certain air ambulance
claim information to the Department of Health and Human Services (HHS) in accordance with guidance issued
by HHS.
Subject to change based on government guidance for CAA Section 204, Cigna will submit certain prescription
drug and health care spending information to HHS through Plan Lists Files (P1-P3) and Data Files (D1-D8)
(D1-D2) for an Employer without an integrated pharmacy product aggregated at the market segment and state
level, as outlined in guidance.

Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.

Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.

Notice Regarding Provider Directories and Provider Networks

A list of network providers and network pharmacies is available, without charge, by visiting the website or
calling the phone number on your health care ID card. The network(s) consist of providers, including hospitals,
of varied specialties as well as general practice, and pharmacies, affiliated or contracted with Cigna or an
organization contracting on its behalf.

Direct Access to Obstetricians and Gynecologists



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You do not need prior authorization from the Plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in the network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit the website or contact customer service at the phone number shown
on your ID card.

Selection of a Primary Care Provider

This Plan allows the designation of a primary care provider. You have the right to designate any primary care
provider who participates in the network and who is available to accept you or your family members. For
information on how to select a primary care provider, and for a list of network primary care providers, visit the
website or contact Member Services at the phone number listed on your ID card. A pediatrician may be
designated as a child's primary care provider.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services

The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.
Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, but some or all of the rebate
value that Cigna earns for certain Prescription Drug Products may, for example, be reflected in the discount,
such as the Prescription Drug Charge, used to assess your deductible, copay or coinsurance payment, if any, for
certain Prescription Drug Products for which Cigna earns a rebate.
Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.


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Coupons, Incentives and Other Communications

At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.
■   About This Plan
Infinity Fasteners, Inc. (the Employer) has established an Employee Welfare Benefit Plan within the meaning of
the Employee Retirement Income Security Act of 1974 (ERISA). As of August 1, 2023, the medical and drug
benefits described in this booklet form a part of the Employee Welfare Benefit Plan and are referred to
collectively in this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained pursuant to the
medical and drug benefit terms described in this booklet. The Plan may be amended from time to time.

This booklet takes the place of any other issued to you on a prior date.

Defined terms are capitalized and have specific meaning with respect to medical and drug benefits, see
GLOSSARY.

The medical and drug benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.

Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission



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A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
  performs an act, practice or omission that constitutes fraud; or
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
  an intentional misrepresentation of material fact.




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.

When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.

When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.

Multiple Surgical Reduction
Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges

Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)

Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the in-network cost-sharing level if services are received from a non-
   participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services
   rendered in an out-of-network Hospital, or by an out-of-network provider in an in-network Hospital, is the
   amount agreed to by the out-of-network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan's benefit payment when out-of-network Emergency
   Services result in an inpatient admission is the median amount negotiated with in-network facilities.
The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the in-network cost-sharing level if services are received from
   a non-Participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered air ambulance services
   rendered by an out-of-network provider is the amount agreed to by the out-of-network provider and Cigna, or
   as required by applicable state or Federal law.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Charges for Certain Services
Charges for services furnished by an out-of-network provider in an in-network facility while you are receiving
in-network services at that in-network facility: (i) are payable at the in-network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the out-of-network
provider and Cigna, or as required by applicable state or Federal law.

The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Plan Deductible
The Plan Deductible is the amount of covered medical expenses that must be incurred (paid) by you and/or your
Dependents each calendar year before benefits are payable under this Plan.
Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.
Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.

The Plan Deductible applies to all covered expenses except:
 - expenses subject to a copay, other than Emergency Room
- expenses for Network Urgent Care Facility (includes all services rendered as part of the visit)
- expenses for contraceptives from a Network or outside the Network area provider
- expenses for mental health Network outpatient office visits
- expenses for substance use disorder Network outpatient office visits
- expenses for Network provider office visits (office services are separate from the office visit)
  Note: This refers to office visits other than for, if covered under the Plan, mental health and substance use
   disorders.
- expenses for Network Virtual provider office visits
- expenses for surgery performed in a Network provider's office
- expenses for lab tests performed in a Network provider's office
- expenses for x-rays, other than advanced radiology, performed in a Network provider's office
- expenses for other office services (diagnostic services, allergy injections) performed in a Network Doctor's
  office


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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  Note: See “Office Visits and Services” in Covered Expenses for information about what is considered to be
   other office services
- expenses for lab tests performed in a Network outpatient facility
- expenses for x-rays, other than advanced radiology, performed in a Network outpatient facility
- expenses for Network Advanced Cellular Therapy Travel
- expenses for Condition-Specific Care
- expenses for Condition-Specific Care Travel Services
- expenses for MDLIVE Urgent Care Services
- expenses for MDLIVE Primary Care Services
- expenses for MDLIVE Specialty Care Services
- expenses for Convenience Care Clinic

Individual Calendar Year Deductible                                                                $1,000.00
Family Calendar Year Deductible                                                                    $2,000.00


Medical Management Program
Ineligible Expense Penalty per claim                                                                 $250.00


Out-of-Pocket Maximum

Plan Deductible, medical expense copays and coinsurance amounts paid by you and your covered Dependents
accumulate to the Out-of-Pocket Maximum.

Prescription drug copay amounts paid by you and your covered Dependents accumulate to the Out-of-Pocket
Maximum.

The following expenses do not accumulate to the Out-of-Pocket Maximum:
- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Calendar Year Out-of-Pocket Maximum must be met before covered expenses will be payable at
100% for the remainder of that calendar year.
If the Family Calendar Year Out-of-Pocket Maximum is met, then covered expenses for all covered family
Members, even those who have not yet met the Individual Calendar Year Out-of-Pocket Maximum, will be
payable at 100% for the remainder of that calendar year.

Plan Deductible does not apply after the Out-of-Pocket Maximum has been met.
Medical expense copays do not apply after the Out-of-Pocket Maximum has been met.
Individual Calendar Year Out-of-Pocket Maximum                                                     $3,500.00


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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Family Calendar Year Out-of-Pocket Maximum                                                            $7,000.00

Benefit Maximum(s)

The benefit maximum(s) shown here are per person (Member), per calendar year, unless otherwise noted.
- Home Health Care Services                                                                        60 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                              60 days
- Outpatient Therapy Services - Physical Therapy                                                       20 visits
- Outpatient Therapy Services - Speech, Hearing and Occupational Therapy                               20 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Outpatient Therapy Services - Chiropractic Care Services                                             20 visits
- Gene Therapy - Approved Travel Expenses to and from a network facility               $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                            gene therapy
- Condition-Specific Care Travel Services - Travel amount is a variable flat dollar
amount, up to a travel maximum, based on factors such as a patient's treatment
                                                                                             $600 per procedure
plan, location and duration of facility stay; and subject to program participation
requirements
                                                                                       $10,000.00 per episode of
- Advanced Cellular Therapy Travel
                                                                                       advanced cellular therapy
 (Available only for travel when prior authorized to receive advanced cellular
 therapy from a provider located more than 60 miles of your primary residence
 and is contracted with Cigna for the specific advanced cellular therapy product
 and related services.)

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.
- Transplant Services and Related Specialty Care - Approved Travel Expenses (only
                                                                                                     $10,000.00
available when using a Cigna LifeSOURCE Transplant Network® facility)
Lifetime Maximum Benefit for all Covered Expenses                                                     Unlimited


Copays for Covered Expenses
Copays are amounts to be paid by you and/or your Dependents (the Member) for Covered Expenses.
 - Mental Health - Network Outpatient Office Visits (such as individual and group
                                                                                            $75.00
   psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                   $75.00
 - Substance Use Disorders - Network Outpatient Office Visits (such as individual and
                                                                                            $75.00
   group psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                   $75.00


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
 - Network Outpatient Therapy Services - Physical Therapy                                    $75.00
 - Network Outpatient Therapy Services - Speech, Hearing and Occupational Therapy            $75.00
 - Network Convenience Care Clinic                                                           $25.00
 - Virtual Care - Dedicated Virtual Providers
  Dedicated virtual care services may be provided by MDLIVE, a Cigna affiliate.
  Services available through contracted virtual providers as medically appropriate.
  MDLIVE Urgent Care Services                                                                $25.00
  MDLIVE Primary Care Services                                                               $25.00
  MDLIVE Specialty Care Services                                                             $75.00
 - Virtual Care - Virtual Physician Services - Services available through Physicians as
   medically appropriate.
  Primary Care Physicians Virtual Office Visit                                               $25.00
  Specialty Care Physicians Virtual Office Visit                                             $75.00
  Note: Physicians may deliver services virtually that are payable under other benefits
   (e.g., Preventive Care, Outpatient Therapy Services).
                                                                                             $50.00 per day and
 - Network Urgent Care Facility (includes all services rendered as part of the visit)
                                                                                             per provider
 - Emergency Room (includes all services rendered as part of the visit, and this copay is
                                                                                             $300.00
   waived if the visit is immediately followed by an inpatient admission)
 - Other Network Office Visits - Primary Care                                                $25.00
 - Other Network Office Visits - Specialist Care                                             $75.00

The Other Network Office Visits copay does not apply to office visits for contraceptives, preventive care and
chiropractic services.
Coinsurance for all Covered Expenses

“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.



                                                                         NETWORK             NON-NETWORK
Mental Health - Inpatient                                                80%                 Not Covered
Mental Health - Outpatient
 - Office Visits (such as individual, family and group psychotherapy,
                                                                      100%                   Not Covered
   medication management, virtual care)
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%                Not Covered
 - All Other Outpatient Services (such as partial hospitalization,
                                                                         80%                 Not Covered
   intensive outpatient services, virtual care)

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                         NETWORK           NON-NETWORK
Substance Use Disorders - Inpatient                                      80%               Not Covered
Substance Use Disorders - Outpatient
 - Office Visits (such as individual, family and group psychotherapy,
                                                                      100%                 Not Covered
   medication management, virtual care)
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%              Not Covered
 - All Other Outpatient Services (such as partial hospitalization,
                                                                         80%               Not Covered
   intensive outpatient services, virtual care)
Preventive Care
 - Preventive Care Office Visits                                         100%              Not Covered
 - Preventive Care Services other than lab tests and x-rays              100%              Not Covered
 - Preventive Care lab tests and x-rays ordered as part of Preventive
                                                                      100%                 Not Covered
   Care and performed in a provider's office
 - Preventive Care lab tests and x-rays ordered as part of Preventive
                                                                      100%                 Not Covered
   Care and performed in an independent or outpatient facility
Office Visits and Office Services
 - Office Visits
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
 - Lab Tests performed in the provider's office
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
 - X-rays performed in the provider's office
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
 - Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
   nuclear medicine) performed in the provider's office
  * Primary Care                                                         80%               Not Covered
  * Specialist Care                                                      80%               Not Covered
 - Office Surgery
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
 - Other Office Services (such as diagnostic services, allergy
   injections)
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
Convenience Care Clinic                                                  100%              Not Covered

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                       NETWORK             NON-NETWORK
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
 - Outpatient Facility                                                 80%                 Not Covered
 - Outpatient Ancillary Facility Charges                               80%                 Not Covered
 - Outpatient Professional Services - Surgeon                          80%                 Not Covered
 - Outpatient Professional Services - Other (including but not limited
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      80%                 Not Covered
   Based Doctors)
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:
 - Independent Facility                                                100%                Not Covered
 - Outpatient Facility                                                 100%                Not Covered
Outpatient X-rays ordered as part of an Office Visit or outpatient
                                                                       100%                Not Covered
care and performed in an outpatient facility
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
Scan and nuclear medicine) ordered as part of an Office Visit or       80%                 Not Covered
outpatient care and performed in an outpatient facility
Outpatient Dialysis Treatment                                          Based on place and Not Covered
                                                                       type of service
Inpatient Hospital
 - Inpatient Facility                                                  80%                 Not Covered
 - Inpatient Ancillary Facility Charges                                80%                 Not Covered
 - Inpatient Professional Services - Surgeon                           80%                 Not Covered
 - Inpatient Professional Services - Radiologist, Pathologist,
                                                                       80%                 Not Covered
   Anesthesiologist, other Hospital-Based Doctors
 - Inpatient Professional Services - Doctor Visits/Consultations       80%                 Not Covered
Urgent Care Facility (includes all services rendered as part of the
                                                                       100%                Not Covered
visit)
Emergency Room (includes all services rendered as part of the
                                                                       80%                 80%
visit)
Air Ambulance                                                          80%                 80%
                                                                                           80% of the
                                                                                           Maximum
Ambulance Services                                                     80%
                                                                                           Reimbursable
                                                                                           Charge
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                  Same as Inpatient   Not Covered

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                         NETWORK            NON-NETWORK
                                                                         Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                            80%                Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                        Not Covered        Not Covered
 - Other Medical Pharmaceuticals                                         80%                Not Covered
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                         Same as Medical
- Gene therapy product                                                                      Not Covered
                                                                         Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide        Based on place and
                                                                                            Not Covered
 the specific gene therapy                                               type of service
 * Other Network facilities                                              Not Covered        Not Covered
 * Non-network facilities                                                Not Covered        Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene          100%               Not Covered
therapy
Advanced Cellular Therapy
 Includes prior authorized advanced cellular therapy products and
 related services when Medically Necessary.
                                                                         Same as Medical
- Advanced Cellular Therapy Product                                                         Not Covered
                                                                         Pharmaceuticals
- Inpatient Facility                                                     80%                Not Covered
- Outpatient Facility                                                    80%                Not Covered
- Inpatient Professional Services
 * Surgeon                                                               80%                Not Covered
 * Radiologist, Pathologist, Anesthesiologist                            80%                Not Covered
- Outpatient Professional Services
 * Surgeon                                                               80%                Not Covered
 * Radiologist, Pathologist, Anesthesiologist                            80%                Not Covered
- Advanced Cellular Therapy Travel                                       100%               Not Covered
Home Health Care Services                                                80%                Not Covered
Skilled Nursing Facility                                                 80%                Not Covered
Hospice Care


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                     NETWORK             NON-NETWORK
 - Inpatient Hospice                                                 Same as Inpatient   Not Covered
                                                                     Hospital
 - Outpatient Hospice                                                Same as Home        Not Covered
                                                                     Health Care
Contraceptives                                                       100%                Not Covered

Family Planning                                                      Based on place and Not Covered
                                                                     type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%                Not Covered
(excluding reversals)
Breast-Feeding Equipment (rental of one breast pump per
pregnancy up to the purchase price, and related supplies, when the   100%                Not Covered
pump is ordered or prescribed by a Doctor)
Durable Medical Equipment                                            80%                 Not Covered
Outpatient Therapy Services - includes in-network coverage for
cognitive therapy, osteopathic manipulation, pulmonary
rehabilitation, cardiac rehabilitation, and:
- Physical Therapy                                                   100%                Not Covered
- Speech, Hearing and Occupational Therapy                           100%                Not Covered
- Chiropractic Care Services                                         80%                 Not Covered
 Condition-Specific Care - Includes select Medically Necessary
  preauthorized surgical procedures and services, subject to program
                                                                     100% subject to
  participation requirements. Charges for covered expenses not
                                                                     program
  included in the bundled charge are payable subject to any                              Not Covered
                                                                     participation
  applicable copays, coinsurance, deductible. If you choose not to
                                                                     requirements
  enroll in the program, charges for covered expenses are payable
  subject to any applicable copays, coinsurance, deductible.
 Condition-Specific Care Travel Services - Travel amount is a
  variable flat dollar amount, up to a travel maximum, based on
                                                                       100%              Not Covered
  factors such as a patient's treatment plan, location and duration of
  facility stay; and subject to program participation requirements.
 Transplant Services and Related Specialty Care
 - Medically appropriate, non-experimental transplants
  * Cigna LifeSOURCE Transplant Network ® facilities                 80%                 Not Covered
  * Other Network facilities                                         Not Covered         Not Covered
  * Non-network facilities                                           Not Covered         Not Covered
 - Approved Travel Expenses (only available when using a Cigna
                                                                     100%                Not Covered
   LifeSOURCE Transplant Network ® facility)



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                        NETWORK          NON-NETWORK
 Dedicated Virtual Providers
 Dedicated virtual care services may be provided by MDLIVE, a
  Cigna affiliate.
 Services available through contracted virtual providers as medically
  appropriate.
  Notes:
  - Primary Care cost share applies to routine care. Virtual wellness
    screenings are payable under preventive care.
  - MDLIVE Behavioral Services, please refer to the Mental Health
    and Substance Use Disorder section (above).
  - Lab services supporting a virtual visit must be obtained through
    dedicated labs.
MDLIVE Urgent Care Services                                             100%             Not Covered
MDLIVE Primary Care Services                                            100%             Not Covered
MDLIVE Specialty Care Services                                          100%             Not Covered
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
Primary Care Physicians Virtual Office Visit                            100%             Not Covered
Specialty Care Physicians Virtual Office Visit                          100%             Not Covered
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
Other Covered Expenses                                                  80%              Not Covered


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 80%, except as indicated below.
 - Preventive Care Office Visits                     100%
 - Preventive Care Services other than lab tests
                                                     100%
   and x-rays
 - Preventive Care lab tests and x-rays ordered as
   part of Preventive Care and performed in:
  * a provider's office                              100%
  * an independent or outpatient facility            100%




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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- Breast-Feeding Equipment (rental of one
  breast pump per pregnancy up to the purchase
                                                100%
  price, and related supplies, when the pump is
  ordered or prescribed by a Doctor)
- Contraceptives                              100%
- Ambulance Services                          80%
- Emergency Room (includes all services
                                              80%
  rendered as part of the visit)
- Transplant and Related Specialty Care
                                              Not Covered
  Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).
A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.
To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.
You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov) are payable at 100% not subject to any deductible, copay or coinsurance, when
purchased from a Network Pharmacy. A written prescription is required.

FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.

Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.
Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.

As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.
Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.
The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in this Schedule may be reduced in order for Patient Assurance Program discounts earned by Cigna to be
applied or credited to the copay or coinsurance, if any, as described above.



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in this
Schedule for the insulin product. In addition, the covered insulin products eligible for Patient Assurance
Program discounts shall not be subject to the deductible, if any.
Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your out-of-pocket maximum.
Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your out-of-pocket maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.
Copays and Coinsurance

Copays are amounts to be paid by you for covered Prescription Drug Products. A coinsurance is the percentage
of the Prescription Drug Charge for a covered Prescription Drug Product that you are required to pay under this
Plan in addition to the Deductible, if any.
Retail Network Pharmacy - up to a 30-day supply

The amount you pay per Prescription Order or Refill for up to a consecutive 30-day supply of a Prescription
Drug Product purchased at a Network Pharmacy is shown here.
Tier 1 - Generic Drugs on the Prescription Drug List                                               $15.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                         $50.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $150.00 copay


Non-Network Pharmacy - not covered
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. If a prescription is filled
at a Non-Network Pharmacy, you must pay 100% of the cost at the time of purchase and submit a
claim for reimbursement. Prescription Drug Products purchased at a Non-Network Pharmacy are
not covered, except as described in COVERED EXPENSES for covered expenses incurred as part
of Emergency Services.


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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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90-Day Retail Network Pharmacy - up to a 90-day supply

The 90-Day Retail option is not available for Specialty Prescription Drug Products.
The amount you pay per Prescription Order or Refill for up to a consecutive 90-day supply of a Prescription
Drug Product purchased at a retail Designated Pharmacy is shown here. Note: In this context, a retail Designated
Pharmacy is a retail Network Pharmacy contracted for dispensing covered Prescription Drug Products, including
Maintenance Drug Products, in 90-day supplies per Prescription Order or Refill.
Tier 1 - Generic Drugs on the Prescription Drug List                                              $38.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                      $125.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                  $375.00 copay


Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply
Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.
The amount you pay per Prescription Order or Refill for up to a consecutive 90-day supply of a Prescription
Drug Product purchased at a home delivery Network Pharmacy is shown here.
Tier 1 - Generic drugs on the Prescription Drug List                                             $38.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                      $125.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                  $375.00 copay


Tier 4 - Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery
Pharmacy.
You pay $300.00 per Prescription Order or Refill for up to a consecutive 30-day supply of a
Specialty Prescription Drug Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical and drug benefits, an eligible Employee, as determined by your Employer, is a
person who is in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Domestic Partner are eligible to be covered as Employees: A person who is eligible
as an Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered
as a Dependent of more than one Employee.

If you are eligible to be covered as an Employee and as a Dependent child of another Employee:
Anyone who is eligible as an Employee will not be considered as an eligible Dependent or Dependent spouse
unless the Dependent or Dependent spouse declines Employee coverage. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be covered as an Employee while also covered as a
Dependent of an Employee.
It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.

Your Dependents must live in the United States to be eligible for coverage.
Eligible Dependents are:
    your legal spouse; or
    your Domestic Partner.
    a child under age 26.
Domestic Partner

“Domestic Partner” means the person, regardless of gender, named in the Affidavit of Domestic Partnership that
you have submitted to and has been approved by the Employer.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your covered Domestic Partner.
Handicapped/Disabled Child


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ELIGIBILITY___
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The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.
Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.
When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.
Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
 For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
 birth; and
 For any other adoptive child, from the date of placement.
■ What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.
Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.

A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights

For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.

If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.
A special enrollment event occurs if:



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WHEN COVERAGE BEGINS & ENDS___
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    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under another health
    insurance plan or arrangement and coverage under the other plan was lost as a result of:
    - Exhausting the maximum period of COBRA coverage; or
    - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
      status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
      the service area; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
      meets or exceeds the lifetime maximum for that plan; or
    - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
      class; or
    - Termination of the employer's contribution for the other plan's coverage.
    You must have stated in writing that the other health coverage was the reason you declined coverage under
    this Plan, but only if the Employer required such a statement and notified you of the consequences of the
    requirement when you declined coverage.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
    Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
    this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
    enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
    terminated.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
    state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
    request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
    Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
    assistance.
    You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
    do so and later experience a change in family status because you acquire a Dependent through marriage, birth
    or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
    Dependents.
If you apply within 30 days of the date:
    Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
    under the other plan.
    You acquire a new Dependent, coverage will start:
    - In the case of marriage, on the date of marriage.
    - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.
If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.


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WHEN COVERAGE BEGINS & ENDS___
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All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES and
CONTINUATION OF COVERAGE - COBRA.




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OPEN ACCESS PLUS MEDICAL BENEFITS___
■    How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.
You and your covered Dependents are encouraged, but are not required, to select a Primary Care Physician
(PCP) in the network. The PCP provides care and can assist with arranging and coordinating care. You and your
covered Dependents may obtain covered services from providers who are designated as specialists without
getting PCP approval. To select or change a PCP, contact Member Services at the phone number or website
address shown on the Member ID card.

Medical Management Program

Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.
As used in this provision “you” refers to the covered Member.
Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.
If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.

You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.
Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.
Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.
Certain services and supplies require pretreatment authorization, including, but not limited to:
    Air Ambulance, when used for non-Emergency Medical Conditions.
    Durable medical equipment, based on type of equipment.
    Genetic testing.

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 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)
The MEDICAL BENEFITS SCHEDULE shows deductibles and copays, as well as any Plan maximums and
Plan coinsurance payment percentages.
The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit

Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:




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  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then non-network Hospital charges will not be covered and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then non-network Doctor charges will not be covered.
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then non-network Doctor charges will not be covered.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Primary Care includes Preventive Care and care rendered by Doctors who agree to serve as Primary Care
Physicians. In general, Primary Care Physicians include Doctors in the fields of General Practice, Family
Practice, Pediatrics and Internal Medicine. OB/GYNs are also included. Members may determine a provider's
classification by using the member web site or by calling Member Services.

Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.

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  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

Breast Reconstruction and Breast Prostheses

The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.

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See the PRESCRIPTION DRUG BENEFIT for information on coverage of contraceptives purchased from a
licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies.

Infertility Testing

The Plan covers diagnostic testing for the purpose of diagnosing infertility.

Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.
In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.
Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.

Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.
A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.
Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.
A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.

Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders


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The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.
In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.
A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.
A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.
Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.


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  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.
Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.
Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following:
  Multiple therapy services provided on the same day constitute one day of service for each therapy type.
  A separate copay applies to the services provided by each provider per visit.
Home Health Care Services



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The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.
Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.
Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.
Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.
Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;
  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;



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but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.
Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Condition-Specific Care

The Plan covers select Medically Necessary preauthorized surgical procedures and services that may be eligible
for Condition-Specific Care that may include bundling certain charges into a streamlined claim approach that
may reduce out-of-pocket costs.
Contact Cigna at the phone number on your ID card to be directed to the program for a list of services and
supplies included and excluded under the program, and to enroll in the program.
To participate in the program, you must enroll in the program prior to surgery; fulfill your responsibilities under
the program; receive your surgical services from a qualifying provider who participates in the program. This
Plan must be your primary medical plan for coordination of benefits purposes.

If all program requirements are met, and subject to Plan terms and conditions, the bundled charge will be
payable under the Plan as shown in the Condition-Specific Care information in the Schedule.
Charges for covered expenses not included in the bundled charge are payable subject to any applicable copays,
coinsurance, and deductible.

If you choose not to enroll in the program, charges for covered expenses are payable subject to any applicable
copays, coinsurance, and deductible.
Condition-Specific Care Travel Services - Charges for non-taxable travel expenses incurred by you in
connection with a preapproved procedure or service under the program are covered subject to the following
conditions and limitations. Benefits for transportation and lodging are available to you only if you are the
recipient of a preapproved procedure or service under the program from a designated program provider.
The term “recipient” is defined to include a person receiving authorized procedures or services under the
program.



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The travel benefit is designed to offset the recipient's travel expenses, including charges for: transportation to
and from the procedure or service site; and lodging while at, or traveling to and from, the procedure or service
site.
In addition, the travel benefit is designed to offset travel expenses for charges associated with the items above
for one companion to accompany you. The term companion incudes your spouse, a member of your family, your
legal guardian, or any person not related to you, but actively involved as your caregiver who is at least 18 years
of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income; travel costs incurred due to travel within 60 miles of your home, depending on the procedure being
performed; food and meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for
transportation that exceed coach class rates.

Transplant Services and Related Specialty Care

The Plan covers charges for human organ and tissue transplant services, which include solid organ and bone
marrow/stem cell procedures at designated facilities throughout the United States of its territories. This coverage
is subject to the following conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures for
artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane oxygenation (ECMO)
ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are not covered.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the Network level.
Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.



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  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network ® facility.
  The term recipient is defined to include a person receiving authorized transplant related services during any of
  the following: evaluation, candidacy, transplant event, or post-transplant care.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network ® facility); and lodging while at,
  or traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs.

Advanced Cellular Therapy

Charges for advanced cellular therapy products and services directly related to their administration are covered
when Medically Necessary. Coverage includes the cost of the advanced cellular therapy product; medical,
surgical, and facility services directly related to administration of the advanced cellular therapy product, and
professional services.
Cigna determines which U.S. Food and Drug Administration (FDA) approved products are in the category of
advanced cellular therapy, based on the nature of the treatment and how it is manufactured, distributed and
administered. An example of advanced cellular therapy is chimeric antigen receptor (CAR) T-cell therapy that
redirects a person's T cells to recognize and kill a specific type of cancer cell.
Advanced cellular therapy products and their administration are covered at the in-network benefit level when
prior authorized to be received at a provider contracted with Cigna for the specific advanced cellular therapy
product and related services. Advanced cellular therapy products and their administration received from a
provider that is not contracted with Cigna for the specific advanced cellular therapy product and related services
are not covered.

Advanced Cellular Therapy Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a prior authorized advanced
cellular therapy product are covered, subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when:
  you are the recipient of a prior authorized advanced cellular therapy product;

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  the term recipient is defined to include a person receiving prior authorized advanced cellular therapy related
  services during any of the following: evaluation, candidacy, event, or post care;
  the advanced cellular therapy products and services directly related to their administration are received at a
  provider contracted with Cigna for the specific advanced cellular therapy product and related services; and
  the provider is not available within a 60 mile radius of your primary home residence.
Travel expenses for the person receiving the advanced cellular therapy include charges for: transportation to and
from the advanced cellular therapy site (including charges for a rental car used during a period of care at the
facility); and lodging while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 mile radius of your primary home residence; food and
meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for transportation that exceed
coach class rates.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.

Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.




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Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.
Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.
Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.


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Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling

The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.

Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.



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The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).
  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
     the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
     both of the following conditions are met:
     * the study or investigation has been reviewed and approved through a system of peer review comparable to
        the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
        and
     * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.
  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.


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Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.
  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Virtual Care
Dedicated Virtual Providers
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring by dedicated virtual providers as medically appropriate through audio, video and secure internet-
based technologies.
Includes charges for the delivery of mental health and substance use disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as appropriate through audio, video and secure internet-based
technologies.

Virtual Physician Services
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring as medically appropriate through audio, video and secure internet-based technologies that are similar
to office visit services provided in a face-to-face setting.

Includes charges for the delivery of real-time mental health and substance use disorder consultations and
services, via secure telecommunications technologies that shall include video capability, telephone and internet,
when such consultations and services are delivered by a behavioral provider and are similar to office visit
services provided in a face-to-face setting.



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PRESCRIPTION DRUG BENEFITS___
■    What's Covered? (Covered Expenses)
As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on which of the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.
The drug benefit includes coverage of contraceptives.

Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.
When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.

Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.
Copay - Your Plan requires that you pay a copay for covered Prescription Drug Products as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual deductible set forth in
the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy and that is subject to a copay requirement will be the lowest of the following amounts:
    the copay for the Prescription Drug Product set forth in the SCHEDULE; or
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
Coinsurance - Your Plan requires that you pay a coinsurance amount for covered Prescription Drug Products as
set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual
deductible set forth in the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product
dispensed by a Network Pharmacy and that is subject to a coinsurance requirement will be the lowest of the
following amounts:
    the amount that results from applying the applicable coinsurance percentage set forth in the SCHEDULE to
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.




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PRESCRIPTION DRUG BENEFITS___
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Payments at Non-Network Pharmacies - Any reimbursement due to you under this Plan for a covered
Prescription Drug Product dispensed by a non-network Pharmacy may be determined by applying the non-
network pharmacy copay and/or coinsurance amount set forth in the PRESCRIPTION DRUG BENEFITS
SCHEDULE to the average wholesale price (or “AWP”), or other benchmark price Cigna applies, for a
Prescription Drug Product dispensed by a non-network Pharmacy. Your reimbursement, if any, for a covered
Prescription Drug Product dispensed by a non-network Pharmacy will never exceed the average wholesale price
(or other benchmark price applied by Cigna) for the Prescription Drug Product.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.
You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE.
For most Prescription Drug Products you pay only the cost sharing detailed in the PRESCRIPTION DRUG
BENEFITS SCHEDULE. However, in the event you insist on a more expensive Brand Drug where a
Therapeutic Equivalent Generic Drug is available, you may be financially responsible for an Ancillary Charge,
in addition to any required Brand Drug copay and/or coinsurance. In this case, the Ancillary Charge will not
apply to any deductible or any out-of-pocket maximum. However, in the event your Doctor determines that the
Generic Drug is not an acceptable alternative for you (and indicates Dispense as Written on the Prescription
Order or Refill), you will only be responsible for payment of the appropriate Brand Drug copay and/or
coinsurance.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.

Prescription Drug List Management

Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.




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PRESCRIPTION DRUG BENEFITS___
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The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date tier status, utilization management, or other coverage limitations for a Prescription Drug
Product.

New Prescription Drug Products

New Prescription Drug Products may or may not be placed on a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in the Schedule.

Prior Authorization Requirements

Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.
When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.




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PRESCRIPTION DRUG BENEFITS___
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If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.
If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.

Step Therapy

Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.

Supply Limits

Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.

Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.

Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.

Specialty Clinical Days' Supply




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PRESCRIPTION DRUG BENEFITS___
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Specialty clinical days' supply is designed to improve customer adherence and satisfaction while reducing the
waste of Specialty Prescription Drug Products resulting from changes in prescription drug therapy. Specialty
clinical days' supply uses clinical guidelines, customer experience, financial considerations, and Cigna's home
delivery pharmacy expertise to establish an optimum maximum days' supply for each fill of a Specialty
Prescription Drug Product. The maximum days' supply of a Specialty Prescription Drug product, dispensed by a
Cigna designated specialty pharmacy, may be limited to less than the home delivery days' supply maximum
indicated in The Schedule depending on the drug, condition, and demonstrated patient stability on prescription
drug therapy.

Designated Pharmacies

If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which you are not obligated to pay and/ or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible and /or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense without Cigna's express
    consent.
  - charges of a non-Participating Provider who has agreed to charge you at an in-network benefits level or
    some other benefits level not otherwise applicable to the services received.
  - In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
    right to:
    * require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient
       to Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
       Cigna.
    * deny the payment of benefits in connection with the Covered Expense regardless of whether the provider
       or the Pharmacy represents that you remain responsible for any amounts that your plan does not cover, or
    * reduce the benefits in proportion to the amount of the Deductible, Copay or Coinsurance amount(s)
       waived, discounted, forgiven or reduced, regardless of whether the provider or Pharmacy represents that
       you remain responsible for any amounts that the Plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.

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BENEFIT LIMITATIONS___
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  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.
  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or urgent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
  not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
  evaluations, unless otherwise covered under this plan.
  court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
  service or supply under this Plan.
  medical and Hospital care costs for the child of your Dependent child, unless the child is otherwise eligible
  under this Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. However, charges made for a continuous course of dental treatment for an accidental Injury to teeth
  are covered.

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BENEFIT LIMITATIONS___
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 for medical and surgical services, initial and repeat, intended for the treatment or control of obesity including
 clinically severe (morbid) obesity, including: medical and surgical services to alter appearance or physical
 changes that are the result of any surgery performed for the management of obesity or clinically severe
 (morbid) obesity; and weight loss programs or treatments, whether prescribed or recommended by a Doctor or
 under medical supervision.
 infertility testing (except as described in the Infertility Testing provision), infertility services, infertility drugs,
 surgical or medical treatment programs for infertility, including in-vitro fertilization, gamete intrafallopian
 transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of these procedures, and any costs associated
 with the collection, washing, preparation or storage of sperm for artificial insemination (including donor fees).
 Cryopreservation of donor sperm and eggs are also excluded from coverage.
 reversal of male and female voluntary sterilization procedures.
 elective abortions.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 acupuncture.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs or smoking cessation programs.



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BENEFIT LIMITATIONS___
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  genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
  testing method performed in the absence of any symptoms or any significant, proven risk factors for
  genetically linked inheritable disease.
  fees associated with the collection, storage or donation of blood or blood products, except for autologous
  donation in anticipation of scheduled services when medical management review determines the likelihood of
  excess blood loss is such that transfusion is an expected adjunct to surgery.
  blood administration for the purpose of general improvement in physical condition.
  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  all nutritional supplements, formulae, enteral feedings, supplies and specially formulated medical foods,
  whether prescribed and not, except as specifically provided in the “Enteral Nutrition” benefit.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).

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 any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
 prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.
 medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
 medications used to promote hair growth, and fade cream products.
 Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
 lost, stolen, broken or destroyed.
 Prescription Drug Products used for the treatment of infertility.
 Medical Pharmaceuticals covered solely under the Plan's medical benefit.
 Prescription Drug Products used for the treatment of male or female sexual dysfunction, including but not
 limited to erectile dysfunction, delayed ejaculation, anorgasmy, hypoactive sexual desire disorder and
 decreased libido.
 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis unless specifically identified on the Prescription Drug List.
 immunization agents, virus detection testing, virus antibody testing, biological products for allergy
 immunization, biological sera, blood, blood plasma and other blood products or fractions unless specifically
 identified on the Prescription Drug List.
 smoking cessation medications, except those required by federal law to be covered as PPACA Preventive Care
 Medications.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.
For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.




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Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.
If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations

When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.




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If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations

When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination




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Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.
Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure

To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.




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Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.
You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.
If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.
When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal




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Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.
This provision applies if you are covered under this Plan as an Employee and also as a Dependent of an
Employee.
This provision does not apply to your Prescription Drug Benefits.
Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.


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Definitions

For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.
  “Claim Determination Period” means a calendar year, but does not include any part of a year during which you
  are not covered under this Plan or any date before this provision or any similar provision takes effect.


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  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.
When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan

The Coordination of Benefits provision is applied throughout each Claim Determination Period.



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If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.

When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.



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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner (including Domestic Partners as
defined in the Plan). However, when Medicare coverage is due to disability, the Disability payer explanations
above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions



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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.
No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.
Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.
Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Ancillary Charge

An additional cost, outside of Plan cost sharing detailed in the PRESCRIPTION DRUG BENEFITS
SCHEDULE, which may apply to some Prescription Drug Products when you request a more expensive Brand
Drug, when a lower cost, Therapeutic Equivalent, Generic Drug is available. The Ancillary Charge is the
amount by which the cost of the requested Brand Drug exceeds the cost of the Generic Drug.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.


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GLOSSARY___
         - Continued
Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.

Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician



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A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition

A medical condition, including a mental health condition or substance use disorder, manifesting itself by acute
symptoms of sufficient severity (including severe pain) such that a prudent layperson, who possesses an average
knowledge of health and medicine, could reasonably expect the absence of immediate medical attention to result
in placing the health of the individual (or, with respect to a pregnant woman, the health of the woman or her
unborn child) in serious jeopardy; serious impairment to bodily functions; or serious dysfunction of a bodily part
or organ.

Emergency Services

With respect to an Emergency Medical Condition, a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital or emergency department, as are required to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  Infinity Fasteners, Inc.; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.




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Generic Drug

A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

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Maintenance Drug Product

A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

The Maximum Reimbursable Charge does not apply to Emergency Services.
When the provider is a network provider, the covered expense amount is determined based on a fee agreed upon
with the provider.

If the provider is not a network provider, the Maximum Reimbursable Charge for covered expenses is
determined based on the lesser of:
  the provider's normal charge for a similar service or supply;
  the amount agreed to by the Out-of-Network provider and Cigna, or
  a percentage of a fee schedule developed by Cigna that is based upon a methodology similar to a methodology
  utilized by Medicare to determine the allowable reimbursement for the same or similar service within the
  geographic market.
The percentage used to determine the Maximum Reimbursable Charge can be obtained by contacting Member
Services.
In some cases, a Medicare based schedule will not be used and the Maximum Reimbursable Charge for covered
services is determined based on the lesser of:
  the provider's normal charge for a similar service or supply;
  the amount agreed to by the Out-of-Network provider and Cigna, or
  the 80th percentile of charges made by providers of such service or supply in the geographic area where it is
  received as compiled in a database selected by Cigna. If sufficient charge data is unavailable in the database
  for that geographic area to determine the Maximum Reimbursable Charge, then data in the database for similar
  services may be used.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.
Some providers forgive or waive the cost share obligation (such as any deductible, copay, coinsurance) that this
Plan requires you to pay. Waiver of your required cost share obligation can jeopardize your coverage under this
Plan. For more details, see the BENEFIT LIMITATIONS section.

Medical Pharmaceutical



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Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

Medically Necessary/Medical Necessity

Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies

The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy



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A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.

New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication

The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.

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A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

Pharmacy

A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical and drug benefits described in this booklet.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug List

A list that categorizes drugs, Biologics (including Biosimilars) or other products covered under the Plan's
Prescription Drug Benefit that have been approved by the U.S. Food and Drug Administration (FDA) into
coverage tiers. This list is adopted by your Employer as part of the Plan. The list is subject to periodic review
and change, and is subject to the limitations and exclusions of the Plan. You may determine to which tier a
particular Prescription Drug Product has been assigned through the website shown on your ID card or by calling
Customer Service at the telephone number on your card.

Prescription Drug Product

A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;

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  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.
Prescription Order or Refill

The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Review Organization

The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product

A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by tier
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize




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With respect to an Emergency Medical Condition, to provide medical treatment as necessary to assure that no
material deterioration of the condition is likely if the individual is transferred from a facility, or, with respect to a
pregnant woman who is having contractions, to deliver.

Terminal Illness

A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

Therapeutic Alternative

A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees
Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents
Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.



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You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical and prescription drug coverage that you (the
Employee) had in effect for yourself and your Dependents.

“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical and Prescription Drug Coverage

Under USERRA, you are eligible to elect continued medical and prescription drug coverage for yourself and
your Dependents when you terminate Service with the Employer for the purpose of Uniformed Service.
The Employer should establish reasonable procedures for electing continued medical and prescription drug
coverage and for payment of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.
However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage
If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
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Period of Continued Coverage
During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.
Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.
COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.
To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.
For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.
After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction in the Employee's work hours to below 30 hours per week, even if it does not result in the
  employee losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child
  intend to enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage
  is effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  Employee: enrollment in an Exchange Marketplace qualified health plan (QHP) when the Employee is eligible
  for a special enrollment period to enroll in a QHP through an Exchange (Marketplace) or the Employee seeks
  to enroll in a QHP through an Exchange during the Marketplace's annual open enrollment period, and the
  disenrollment from the group plan corresponds to the intended enrollment of the Employee and family in a
  QHP through a Marketplace for new coverage effective beginning no later than the day immediately following
  the last day of the original coverage.
  Family: A plan may allow an Employee to revoke family coverage midyear in order for family members
  (“related individuals”) to enroll in a QHP through an Exchange (Marketplace). The related individual(s) must
  be eligible for a special enrollment period to enroll in a QHP or seek to enroll in a QHP during the
  Marketplace's annual open enrollment period, and the disenrollment from the group plan corresponds to the
  intended enrollment of the individual(s) in a QHP for new coverage effective beginning no later than the day
  immediately following the last day of the original coverage. If the Employee does not enroll in a QHP, the
  Employee must select self-only coverage or family coverage including one or more already-covered
  individuals.

Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: Infinity Fasteners, Inc.
The name, address, ZIP code and business telephone number of the Employer is:
  Infinity Fasteners, Inc.
  11028 Strang Line Rd
  Lenexa, KS 662152113
  913-438-2252
The Employer Identification Number (EIN) is: XX-XXXXXXX
The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above
The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.
Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.




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ERISA GENERAL INFORMATION___
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The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending October 31.
The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.

Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.


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STATEMENT OF ERISA RIGHTS___
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Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries

In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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  Epidaurus DBA Amity
  Foundation



   OPEN ACCESS PLUS IN-NETWORK




  EFFECTIVE DATE: July 1, 2023




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  3344395




  This document printed in August, 2023 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                                                                                  Home Office: Bloomfield, Connecticut
                                                                         Mailing Address: Hartford, Connecticut 06152




 CIGNA HEALTH AND LIFE INSURANCE COMPANY
 a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
 provided by the following policy(s):




 POLICYHOLDER: Epidaurus DBA Amity Foundation



 GROUP POLICY(S) — COVERAGE
 3344395 - OAIN OPEN ACCESS PLUS IN-NETWORK



 EFFECTIVE DATE: July 1, 2023




 This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
 the policy(s). If questions arise, the policy(s) will govern.
 This certificate takes the place of any other issued to you on a prior date which described the insu rance.




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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                              Monday through Friday. In addition, your employer, a claim
                                                                              office or a utilization review program (see the PAC/CSR
Special Plan Provisions                                                       section of your certificate) may refer an individual for Case
Participating Providers include Physicians, Hospitals and                     Management.
Other Health Professionals and Other Health Care Facilities.
                                                                             The Review Organization assesses each case to determine
Consult your Physician Guide for a list of Participating
                                                                              whether Case Management is appropriate.
Providers in your area. Participating Providers are committed
to providing you and your Dependents appropriate care while                  You or your Dependent is contacted by an assigned Case
lowering medical costs.                                                       Manager who explains in detail how the program works.
                                                                              Participation in the program is voluntary - no penalty or
Services Available in Conjunction With Your Medical
                                                                              benefit reduction is imposed if you do not wish to
Plan
                                                                              participate in Case Management.
The following pages describe helpful services available in
                                                                             Following an initial assessment, the Case Manager works
conjunction with your medical plan. You can access these
                                                                              with you, your family and Physician to determine the needs
services by calling the toll-free number shown on the back of
                                                                              of the patient and to identify what alternate treatment
your ID card.
                                                                              programs are available (for example, in-home medical care
                                                                              in lieu of an extended Hospital convalescence). You are not
HC-SPP63                                                      01-20           penalized if the alternate treatment program is not followed.
                                                                             The Case Manager arranges for alternate treatment services
Case Management                                                               and supplies, as needed (for example, nursing services or a
                                                                              Hospital bed and other Durable Medical Equipment for the
Case Management is a service provided through a Review                        home).
Organization, which assists individuals with treatment needs
that extend beyond the acute care setting. The goal of Case                  The Case Manager also acts as a liaison between the insurer,
Management is to ensure that patients receive appropriate care                the patient, his or her family and Physician as needed (for
in the most effective setting possible whether at home, as an                 example, by helping you to understand a complex medical
outpatient, or an inpatient in a Hospital or specialized facility.            diagnosis or treatment plan).
Should the need for Case Management arise, a Case                            Once the alternate treatment program is in place, the Case
Management professional will work closely with the patient,                   Manager continues to manage the case to ensure the
his or her family and the attending Physician to determine                    treatment program remains appropriate to the patient's
appropriate treatment options which will best meet the                        needs.
patient's needs and keep costs manageable. The Case Manager               While participation in Case Management is strictly voluntary,
will help coordinate the treatment program and arrange for                Case Management professionals can offer quality, cost-
necessary resources. Case Managers are also available to                  effective treatment alternatives, as well as provide assistance
answer questions and provide ongoing support for the family               in obtaining needed medical resources and ongoing family
in times of medical crisis.                                               support in a time of need.
Case Managers are Registered Nurses (RNs) and other
credentialed health care professionals, each trained in a
                                                                          HC-SPP2                                                         04-10
clinical specialty area such as trauma, high risk pregnancy and
                                                                                                                                            V1
neonates, oncology, mental health, rehabilitation or general
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the
Case Manager recommends alternate treatment programs and
helps coordinate needed resources, the patient's attending
Physician remains responsible for the actual medical care.
   You, your dependent or an attending Physician can request
    Case Management services by calling the toll-free number
    shown on your ID card during normal business hours,


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Additional Programs                                                         or contact customer service at the phone number listed on the
We may, from time to time, offer or arrange for various                     back of your ID card.
entities to offer discounts, benefits, or other consideration to            For children, you may designate a pediatrician as the primary
our members for the purpose of promoting the general health                 care provider.
and well being of our members. We may also arrange for the
reimbursement of all or a portion of the cost of services
                                                                            HC-NOT5                                                       01-11
provided by other parties to the Policyholder. Contact us for
details regarding any such arrangements.
                                                                            Important Information
HC-SPP3                                                       04-10         Mental Health Parity and Addiction Equity Act
                                                                   V1       The Certificate is amended as stated below:
                                                                            In the event of a conflict between the provisions of your plan
Care Management and Care Coordination Services                              documents and the provisions of this notice, the provisions
Cigna may enter into specific collaborative arrangements with               that provide the better benefit shall apply.
health care professionals committed to improving quality care,              Visit Limits:
patient satisfaction and affordability. Through these
collaborative arrangements, health care professionals commit                Any health care service billed with a Mental Health or
to proactively providing participants with certain care                     Substance Use Disorder diagnosis, will not incur a visit limit,
management and care coordination services to facilitate                     including but not limited to genetic counseling.
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health                  HC-NOT93                                                      08-17
care professionals in these collaborative arrangements.

                                                                            Important Information
HC-SPP27                                                      06-15
                                                                            Rebates and Other Payments
                                                                   V1
                                                                            Cigna or its affiliates may receive rebates or other
                                                                            remuneration from pharmaceutical manufacturers in
                                                                            connection with certain Medical Pharmaceuticals covered
Important Notices                                                           under your plan and Prescription Drug Products included on
Direct Access to Obstetricians and Gynecologists                            the Prescription Drug List. These rebates or remuneration are
                                                                            not obtained on you or your Employer’s or plan’s behalf or for
You do not need prior authorization from the plan or from any
                                                                            your benefit.
other person (including a primary care provider) in order to
obtain access to obstetrical or gynecological care from a health            Cigna, its affiliates and the plan are not obligated to pass these
care professional in our network who specializes in obstetrics              rebates on to you, or apply them to your plan’s Deductible if
or gynecology. The health care professional, however, may be                any or take them into account in determining your
required to comply with certain procedures, including                       Copayments and/or Coinsurance. Cigna and its affiliates or
obtaining prior authorization for certain services, following a             designees may conduct business with various pharmaceutical
pre-approved treatment plan, or procedures for making                       manufacturers separate and apart from this plan’s Medical
referrals. For a list of participating health care professionals            Pharmaceutical and Prescription Drug Product benefits. Such
who specialize in obstetrics or gynecology, visit                           business may include, but is not limited to, data collection,
www.mycigna.com or contact customer service at the phone                    consulting, educational grants and research. Amounts received
number listed on the back of your ID card.                                  from pharmaceutical manufacturers pursuant to such
                                                                            arrangements are not related to this plan. Cigna and its
Selection of a Primary Care Provider
                                                                            affiliates are not required to pass on to you, and do not pass on
This plan generally allows the designation of a primary care                to you, such amounts.
provider. You have the right to designate any primary care
                                                                            Coupons, Incentives and Other Communications
provider who participates in the network and who is available
to accept you or your family members. For information on                    At various times, Cigna or its designee may send mailings to
how to select a primary care provider, and for a list of the                you or your Dependents or to your Physician that
participating primary care providers, visit www.mycigna.com                 communicate a variety of messages, including information
                                                                            about Medical Pharmaceuticals and Prescription Drug
                                                                            Products. These mailings may contain coupons or offers from


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pharmaceutical manufacturers that enable you or your                    Cigna:
Dependents, at your discretion, to purchase the described                  Provides free aids and services to people with disabilities to
Medical Pharmaceutical and Prescription Drug Product at a                   communicate effectively with us, such as:
discount or to obtain it at no charge. Pharmaceutical
                                                                             Qualified sign language interpreters
manufacturers may pay for and/or provide the content for
these mailings. Cigna, its affiliates and the plan are not                   Written information in other formats (large print, audio,
responsible in any way for any decision you make in                           accessible electronic formats, other formats)
connection with any coupon, incentive, or other offer you may              Provides free language services to people whose primary
receive from a pharmaceutical manufacturer or Physician.                    language is not English, such as
If Cigna determines that a Pharmacy, pharmaceutical                          Qualified interpreters
manufacturer or other third party is or has waived, reduced, or
                                                                             Information written in other languages
forgiven any portion of the charges and/or any portion of
Copayment, Deductible, and/or Coinsurance amount(s) you                 If you need these services, contact customer service at the toll-
are required to pay for a Prescription Drug Product without             free phone number shown on your ID card, and ask a
Cigna’s express consent, then Cigna in its sole discretion shall        Customer Service Associate for assistance.
have the right to deny the payment of plan benefits in                  If you believe that Cigna has failed to provide these services
connection with the Prescription Drug Product, or reduce the            or discriminated in another way on the basis of race, color,
benefits in proportion to the amount of the Copayment,                  national origin, age, disability or sex, you can file a grievance
Deductible, and/or Coinsurance amounts waived, forgiven or              by sending an email to ACAGrievance@cigna.com or by
reduced, regardless of whether the Pharmacy, pharmaceutical             writing to the following address:
manufacturer or other third party represents that you remain
                                                                            Cigna
responsible for any amounts that your plan does not cover. In
                                                                            Nondiscrimination Complaint Coordinator
the exercise of that discretion, Cigna shall have the right to
                                                                            P.O. Box 188016
require you to provide proof sufficient to Cigna that you have
                                                                            Chattanooga, TN 37422
made your required cost share payment(s) prior to the payment
of any benefits by the plan.                                            If you need assistance filing a written grievance, please call
                                                                        the number on the back of your ID card or send an email to
For example, if you use a coupon provided by a
                                                                        ACAGrievance@cigna.com. You can also file a civil rights
pharmaceutical manufacturer or other third party that
                                                                        complaint with the U.S. Department of Health and Human
discounts the cost of a Prescription Drug Product, Cigna may,
                                                                        Services, Office for Civil Rights electronically through the
in its sole discretion, reduce the benefits up to the amount of
                                                                        Office for Civil Rights Complaint Portal, available at:
the incentive, which may be 100% if the incentive covers
                                                                        https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
100%. This includes any amount of the Copayment,
                                                                        phone at:
Deductible, and/or Coinsurance amounts to which the value of
the coupon has been applied by the Pharmacy or other third                  U.S. Department of Health and Human Services
party. The amount of the incentive will be excluded from                    200 Independence Avenue, SW
accumulation toward any plan Deductible or Out-of-Pocket                    Room 509F, HHH Building
Maximum if the value of any coupon was applied to any                       Washington, D.C. 20201
Copayment, Deductible and/or Co-insurance you are required                  1-800-368-1019, 800-537-7697 (TDD)
to pay.                                                                 Complaint forms are available at
                                                                        http://www.hhs.gov/ocr/office/file/index.html.
HC-IMP267                                                   08-19
                                                              V3        HC-NOT96                                                       07-17



Discrimination is Against the Law                                       Proficiency of Language Assistance Services
Cigna complies with applicable Federal civil rights laws and            English – ATTENTION: Language assistance services, free
does not discriminate on the basis of race, color, national             of charge, are available to you. For current Cigna customers,
origin, age, disability or sex. Cigna does not exclude people or        call the number on the back of your ID card. Otherwise, call
treat them differently because of race, color, national origin,         1.800.244.6224 (TTY: Dial 711).
age, disability or sex.
                                                                        Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                        idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                        Cigna, llame al número que figura en el reverso de su tarjeta


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de identificación. Si no lo es, llame al 1.800.244.6224 (los         identyfikacyjnej. Wszystkie inne osoby prosimy o
usuarios de TTY deben llamar al 711).                                skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。                                        Japanese –
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                      注意事項：日本語を話される場合、無料の言語支援サー
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                ビスをご利用いただけます。現在のCignaの
Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp             お客様は、IDカード裏面の電話番号まで、お電話にてご
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của               連絡ください。その他の方は、1.800.244.6224（TTY:
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp        711）まで、お電話にてご連絡ください。
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).                   Italian – ATTENZIONE: Sono disponibili servizi di
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                    assistenza linguistica gratuiti. Per i clienti Cigna attuali,
                                                                     chiamare il numero sul retro della tessera di identificazione.
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                       In caso contrario, chiamare il numero 1.800.244.6224 (utenti
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                          TTY: chiamare il numero 711).
                                                                     German – ACHTUNG: Die Leistungen der
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                   Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
(TTY: 다이얼 711)번으로 전화해주십시오.                                           Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
                                                                     Nummer auf der Rückseite Ihrer Krankenversicherungskarte
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                  an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
tulong sa wika nang libre. Para sa mga kasalukuyang customer         Sie 711).
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).
                                                                     HC-NOT97                                                    07-17



                                                                     Special Plan Provisions
                                                                     The Cigna 24-Hour Health Information Line
                                                                     The 24-Hour Health Information Line (HIL) assists you in
French Creole – ATANSYON: Gen sèvis èd nan lang ki                   understanding the right level of treatment at the right time.
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki          Trained Nurses provide health and medical information and
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                    assist you to choose the most appropriate care resource. Our
(TTY: Rele 711).                                                     Health Information Line Nurses identify level of care
French – ATTENTION: Des services d’aide linguistique vous            resources in the individual’s area (emergency, urgent,
sont proposés gratuitement. Si vous êtes un client actuel de         Physician, home/self-care), provide general health information
Cigna, veuillez appeler le numéro indiqué au verso de votre          (preventive care, illness condition definitions, diagnostic and
carte d’identité. Sinon, veuillez appeler le numéro                  surgical procedures, etc.), and can help you find network
1.800.244.6224 (ATS : composez le numéro 711).                       providers. You can call the Health Information Line and get
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                  live support 24 hours a day, 7 days a week. Dial the number
assistência linguística, totalmente gratuitos. Para clientes         on the back of your Cigna ID card and you’ll be connected
Cigna atuais, ligue para o número que se encontra no verso do        directly to a Specialist trained as a Nurse who is ready to help
seu cartão de identificação. Caso contrário, ligue para              answer your health questions.
1.800.244.6224 (Dispositivos TTY: marque 711).                       Appointment Scheduling
Polish – UWAGA: w celu skorzystania z dostępnej,                     You should have access to timely appointments and
bezpłatnej pomocy językowej, obecni klienci firmy Cigna              scheduling. The following guidelines represent both the plan’s
mogą dzwonić pod numer podany na odwrocie karty



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and the state of California’s requirements for appointment               Accessing Health Care
accessibility with Participating Providers:                              To contact the Department of Insurance, for complaints
   Emergent or high risk cases should have access to                    regarding your ability to access health care in a timely
    immediate appointments, appropriate emergency room                   manner, write or call:
    authorization or direction to dial 911.                                Consumer Affairs Division
   Urgent cases not requiring prior-authorization should have             California Department of Insurance
    access to appointments within 24 hours of the appointment              Ronald Reagan Building
    request.                                                               300 South Spring Street
   If services must be prior authorized, appointments should be           Los Angeles, CA 90013
    offered concurrent with the prior authorization request and            Calling within California: 1-800-927-4357
    the appointment should be provided within 96 hours of the              Los Angeles Area and Outside California: 1-213-897-
    appointment request.                                                   8921
   Non-urgent, symptomatic or routine appointments with a               The Department of Insurance should be contacted only
    PCP should be scheduled within 10 days of the appointment            after discussions with the insurer have failed to produce a
    request.                                                             satisfactory resolution to the problem.
   Non-urgent, symptomatic or routine appointments with a               PLEASE READ THE FOLLOWING INFORMATION
    Specialist should be scheduled within 15 days of the                 SO YOU WILL KNOW FROM WHOM OR WHAT
    appointment request.                                                 GROUP OF PROVIDERS HEALTH CARE MAY BE
   Preventive screenings and physicals should be scheduled              OBTAINED
    within 30 days of the appointment request.                           Participating Providers
   Non-urgent appointments for ancillary services for the               Copayment, Deductible, and Coinsurance options reflect the
    diagnosis or treatment of Injury or Sickness, or other health        amount the covered person will pay for In-Network and Out-
    condition should be scheduled within 15 days of the                  of-Network benefits. In-Network benefits require use of
    appointment request.                                                 Participating Providers or facilities in the Service Area. Cigna
   Non-urgent appointments with a non-Physician mental                  recommends use of Participating Providers and facilities, as
    health care provider should be scheduled within 10 business          member out-of-pocket costs could be lower than when using
    days of the appointment request.                                     non-Participating Providers.
   Average waiting time in the office should not exceed 30              Service Area
    minutes.                                                             The term Service Area means the area in which Cigna has a
   When it is necessary for you or a health care professional to        Participating Provider network. Cigna's national network of
    reschedule an appointment, the appointment shall be                  Participating Providers is within the United States. Cigna's
    promptly rescheduled in a manner that is appropriate for             toll-free care line personnel can provide you with the names of
    your health care needs, and ensures continuity of care               Participating Providers. If you or your Dependents need
    consistent with good professional practice.                          medical care, you may obtain a listing of Participating
   The applicable waiting time for a particular appointment             Providers by calling the number on your ID card. A listing of
    may be extended if the referring or treating provider, or the        Participating Providers can also be found at www.cigna.com.
    health professional providing triage or screening services,          Away From Home Care
    has determined and noted in the relevant record that a               If you or your Dependents need medical care while away from
    longer wait time will not have a detrimental impact on your          home, you may have access to a national network of
    health.                                                              Participating Providers through Cigna's Away-From-Home
                                                                         Care feature. Call the number on your ID card for the names
                                                                         of Participating Providers in other network areas.
                                                                         Emergency Services
                                                                         Benefits for services and supplies received outside the Service
                                                                         Area are covered only for medical emergencies and other
                                                                         urgent situations where treatment could not have been
                                                                         reasonably delayed until the insured person was able to return
                                                                         to the United States.




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To contact the Department of Insurance, write or call:                  choice regarding available coverage. For more information,
    Consumer Affairs Division                                           please call the number on your ID card.
    California Department of Insurance                                  If you believe your HIPAA rights have been violated, you
    Ronald Reagan Building                                              should contact the CA Department of Insurance or visit the
    300 South Spring Street                                             Department’s web site.
    Los Angeles, CA 90013                                               Discrimination is Against the Law
    Calling within California: 1-800-927-4357
    Los Angeles Area and Outside California: 1-213-897-8921             Cigna complies with applicable Federal civil rights laws and
                                                                        does not discriminate on the basis of race, color, national
The Department of Insurance should be contacted only after              origin, age, disability, or sex. Cigna also does not discriminate
discussions with the insurer have failed to produce a                   on the basis of race, color, national origin, ancestry, religion,
satisfactory resolution to the problem.                                 sex, marital status, gender, gender identity, sexual orientation
Your Rights Under HIPAA If You Lose Group Coverage                      age or disability.
Federal law known as the Health Insurance Portability and               Cigna:
Accountability Act of 1996 (HIPAA) protects health insurance               Provides free aids and services to people with disabilities to
coverage for workers and their families when they change or                 communicate effectively with us, such as:
lose their jobs. California law provides similar and additional
                                                                             qualified sign language interpreters.
protections. If you lose group health insurance coverage and
meet certain criteria, you are entitled to purchase individual               written information in other formats (large print, audio,
health coverage (non-group) from any health plan that sells                   accessible electronic formats, other formats).
individual coverage for hospital, medical or surgical benefits.            Provides free language services to people whose primary
Every health plan that sells individual health coverage for                 language is not English, such as:
these benefits must offer individual coverage to an eligible
                                                                             qualified interpreters.
person under HIPAA. The health plan cannot reject your
application if: you are an eligible person under HIPAA; you                  information written in other languages.
agree to pay the required premiums; and you live or work                If you need these services, contact customer service at the toll-
inside the plan's service area. To be considered an eligible            free number shown on your ID card, and ask a Customer
person under HIPAA you must meet the following                          Service Associate for assistance.
requirements:
                                                                        If you believe that Cigna has failed to provide these services
   you have 18 or more months of creditable coverage without           or discriminated in another way on the basis of race, color,
    a break of 63 days or more between any of the periods of            national origin, ancestry, religion, sex, marital status, gender,
    creditable coverage or since your most recent coverage was          gender identity, sexual orientation age or disability, you can
    terminated;                                                         file a grievance by sending an email to the Nondiscrimination
   your most recent creditable coverage was a group,                   Complaint Coordinator at ACAGrievance@Cigna.com or by
    government or church plan that provided hospital, medical           writing to the following address:
    or surgical benefits. (COBRA and Cal-COBRA are                          Cigna
    considered group coverage);                                             Nondiscrimination Complaint Coordinator
   you were not terminated from your most recent creditable                PO Box 188016
    coverage due to nonpayment of premiums or fraud;                        Chattanooga, TN 37422
                                                                            You may also call the number on the back of your ID card
   you are not eligible for coverage under a group health plan,
                                                                            or 1-800-244-6224
    Medicare, or Medicaid (Medi-Cal);
                                                                            Fax: 866-254-9406
   you have no other health insurance coverage; and
                                                                        If you need assistance filing a written grievance, please call
   you have elected and exhausted any continuation coverage            the number on the back of your ID card or send an email to
    you were offered under COBRA or Cal-COBRA.                          ACAGrievance@Cigna.com. You can also file a civil rights
There are important choices you need to make in a very short            complaint with the U.S. Department of Health and Human
time frame regarding the options available to you following             Services, Office for Civil Rights electronically through the
termination of your group health care coverage. You should              Office for Civil Rights Complaint Portal, available at
read carefully all available information regarding HIPAA                https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
coverage so you can understand fully the special protections of         phone at:
HIPAA coverage and make an informed comparison and




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    U.S. Department of Health and Human Services                          application for insurance or statement of claim containing any
    200 Independence Avenue, SW                                           materially false information; or conceals for the purpose of
    Room 509F, HHH Building                                               misleading, information concerning any material fact thereto,
    Washington, DC 20201                                                  commits a fraudulent insurance act.
    1-800-368-1019, 1-800-537-7697 (TDD)
Complaint forms are available at                                          HC-CLM25                                                    01-11
http://www.hhs.gov/ocr/office/file/index.html.                                                                                            V11



HC-IMP241                                                    06-18

                                                               V1         Eligibility - Effective Date
                                                                          Employee Insurance
How To File Your Claim                                                    This plan is offered to you as an Employee.
If your plan provides coverage when care is received only                 Eligibility for Employee Insurance
from In-Network providers, you may still have Out-of-                     You will become eligible for insurance on the day you
Network claims (for example, when Emergency Services are                  complete the waiting period if:
received from an Out-of-Network provider) and should follow
                                                                             you are in a Class of Eligible Employees; and
the claim submission instructions for those claims. Claims can
be submitted by the provider if the provider is able and willing             you are an eligible, full-time Employee; and
to file on your behalf. If the provider is not submitting on your            you normally work at least 30 hours a week; and
behalf, you must send your completed claim form and
                                                                             you pay any required contribution.
itemized bills to the claims address listed on the claim form.
                                                                          If you were previously insured and your insurance ceased, you
You may get the required claim forms from the website listed
                                                                          must satisfy the Waiting Period to become insured again. If
on your identification card or by using the toll-free number on
                                                                          your insurance ceased because you were no longer employed
your identification card.
                                                                          in a Class of Eligible Employees, you are not required to
CLAIM REMINDERS                                                           satisfy any waiting period if you again become a member of a
 BE SURE TO USE YOUR MEMBER ID AND                                       Class of Eligible Employees within one year after your
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                      insurance ceased.
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                   Eligibility for Dependent Insurance
  YOUR CIGNA CLAIM OFFICE.
                                                                          You will become eligible for Dependent Insurance on the later
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                of:
    BENEFIT IDENTIFICATION CARD.
                                                                             the day you become eligible for yourself; or
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
                                                                             the day you acquire your first Dependent.
    YOUR BENEFIT IDENTIFICATION CARD.
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                          Waiting Period
    ON THE BACK OF THE CLAIM FORM CAREFULLY
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     The first day of the month following 60 days from date of hire.
Timely Filing of Out-of-Network Claims                                    Classes of Eligible Employees
Cigna will consider claims for coverage under our plans when              Each Employee as reported to the insurance company by your
proof of loss (a claim) is submitted within 180 days for Out-             Employer.
of-Network benefits after services are rendered. If services are          Effective Date of Employee Insurance
rendered on consecutive days, such as for a Hospital
                                                                          You will become insured on the date you elect the insurance
Confinement, the limit will be counted from the last date of
                                                                          by signing an approved payroll deduction or enrollment form,
service. If claims are not submitted within 180 days for Out-
                                                                          as applicable, but no earlier than the date you become eligible.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                       You will become insured on your first day of eligibility,
                                                                          following your election, if you are in Active Service on that
WARNING: Any person who knowingly and with intent to
                                                                          date, or if you are not in Active Service on that date due to
defraud any insurance company or other person files an
                                                                          your health status.


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Late Entrant - Employee                                                     Important Information About Your
You are a Late Entrant if:                                                  Medical Plan
   you elect the insurance more than 30 days after you become
                                                                            Details of your medical benefits are described on the
    eligible; or
                                                                            following pages.
   you are eligible for coverage through a guarantee
                                                                            Opportunity to Select a Primary Care Physician
    association and you elect the insurance more than 60 days
    after you become eligible; or                                           Choice of Primary Care Physician:
   you again elect it after you cancel your payroll deduction (if          This medical plan does not require that you select a Primary
    required).                                                              Care Physician or obtain a referral from a Primary Care
                                                                            Physician in order to receive all benefits available to you
Dependent Insurance                                                         under this medical plan. Notwithstanding, a Primary Care
                                                                            Physician may serve an important role in meeting your health
For your Dependents to be insured, you will have to pay the                 care needs by providing or arranging for medical care for you
required contribution, if any, toward the cost of Dependent                 and your Dependents. For this reason, we encourage the use of
Insurance.                                                                  Primary Care Physicians and provide you with the opportunity
Effective Date of Dependent Insurance                                       to select a Primary Care Physician from a list provided by
Insurance for your Dependents will become effective on the                  Cigna for yourself and your Dependents. If you choose to
date you elect it by signing an approved payroll deduction                  select a Primary Care Physician, the Primary Care Physician
form (if required), but no earlier than the day you become                  you select for yourself may be different from the Primary Care
eligible for Dependent Insurance. All of your Dependents as                 Physician you select for each of your Dependents.
defined will be included.                                                   Changing Primary Care Physicians:
Your Dependents will be insured only if you are insured.                    You may request a transfer from one Primary Care Physician
Late Entrant – Dependent                                                    to another by contacting us at the member services number on
                                                                            your ID card. Any such transfer will be effective on the first
You are a Late Entrant for Dependent Insurance if:                          day of the month following the month in which the processing
   you elect that insurance more than 30 days after you                    of the change request is completed.
    become eligible for it; or                                              In addition, if at any time a Primary Care Physician ceases to
   you are a Dependent who has lost or will lose coverage                  be a Participating Provider, you or your Dependent will be
    under Medi-Cal, the Healthy Families Program (HFP), or                  notified for the purpose of selecting a new Primary Care
    the Access for Infants and Mothers Program (AIM) and you                Physician.
    elect the insurance more than 60 days after you become                  Direct Access for OB/GYN Services:
    eligible and you declined coverage during your initial
    enrollment period by signing a Declination of Medical                   Female insureds covered by this plan are allowed direct access
    Coverage form, provided by your Employer; or                            to a licensed/certified Participating Provider for covered
                                                                            OB/GYN services. There is no requirement to obtain an
   you again elect it after you cancel your payroll deduction (if          authorization from your Primary Care Physician for visits to
    required).                                                              the Participating Provider of your choice for pregnancy, well-
Exception for Newborns and Adopted Children                                 woman gynecological exams, primary and preventive
Any Dependent child born or placed for adoption, while you                  gynecological care, and acute gynecological conditions.
are insured will become insured on the date of his birth or                 Direct Access for Treatment of Certain Reproductive and
placement for adoption, if you elect Dependent Insurance no                 Sexual Health Care Services
later than 31 days after his birth or placement for adoption. If            Insureds covered by this plan are allowed direct access to a
you do not elect to insure your newborn child or child placed               licensed/certified Participating Provider for covered
for adoption within 31 days, coverage for that child will end               reproductive and sexual health care services. There is no
on the 31st day. No benefits for expenses incurred beyond the               requirement to obtain an authorization from your Primary
31st day will be payable.                                                   Care Physician for visits to the Participating Provider of your
                                                                            choice for:
HC-ELG219                                                      01-19           care related to the prevention or treatment of pregnancy,
                                                                 V1             including sterilization and abortion;




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   diagnosis or treatment related to an infectious, contagious or
    communicable disease, including public health conditions
    and sexually transmitted diseases;
   diagnosis and treatment related to rape, including the
    collection of medical evidence;
   diagnosis and treatment for sexual assault, including the
    collection of medical evidence with regard to the alleged
    sexual assault; and
   diagnosis and treatment for HIV and other tests.
Direct Access for Mental Health and Substance Use Disorder
Services:
Insureds covered by this plan are allowed direct access to a
licensed/certified Participating Provider for covered mental
health and substance use disorder services. There is no
requirement to obtain an authorization from your Primary
Care Physician for individual or group therapy visits to a
Participating Provider for mental health and substance use
disorder services.


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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
For You and Your Dependents

Open Access Plus In-Network Medical Benefits provide coverage for care In-Network. To receive Open Access Plus In-
Network Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for
services and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate, or you do not have timely access to, an In-Network Provider in your area who can provide you
with a service or supply that is covered under this plan, you may use an Out-of-Network Provider. If you call the number
on the back of your I.D. card to obtain assistance with your Out-of-Network Provider coverage, Cigna may negotiate Out-
of-Network billed charges on your behalf with the Out-of-Network Provider. If you contact Cigna and do obtain
authorization for services provided by an Out-of-Network Provider, Cigna will arrange for those services and benefits for
those services will be covered at the In-Network benefit level. Otherwise, they may be covered at an Out-of-Network cost
share.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
(Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
excluding any In-Network copay or coinsurance; or (ii) the amount payable under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Lifetime Maximum                                                             Unlimited
The Percentage of Covered                                                       80%
Expenses the Plan Pays
Calendar Year Deductible
  Individual                                                             $1,500 per person
  Family Maximum                                                         $3,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual deductible and then their
  claims will be covered under the
  plan coinsurance; if the family
  deductible has been met prior to
  their individual deductible being
  met, their claims will be paid at the
  plan coinsurance.




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Out-of-Pocket Maximum
  Individual                                            $3,000 per person
  Family Maximum                                        $6,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at
  100%; if the family Out-of-Pocket
  has been met prior to their
  individual Out-of-Pocket being met,
  their claims will be paid at 100%.
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-                              Yes
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs                                Yes
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
  .




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BENEFIT HIGHLIGHTS                                         IN-NETWORK

Physician’s Services
  Primary Care Physician’s Office                   $20 per visit copay, then 100%
  Visit


  Specialty Care Physician’s Office                 $20 per visit copay, then 100%
  Visit
  Consultant and Referral Physician’s
  Services


      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with
      Cigna on an In-Network basis.
  Surgery Performed in the
  Physician’s Office
      Primary Care Physician                        $20 per visit copay, then 100%
      Specialty Care Physician                      $20 per visit copay, then 100%
  Second Opinion Consultations
  (provided on a voluntary basis)
      Primary Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician's                    $20 per visit copay, then 100%
      Office Visit
  Allergy Treatment/Injections

      Primary Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician’s                    $20 per visit copay, then 100%
      Office Visit
  Allergy Serum (dispensed by the
  Physician in the office)
      Primary Care Physician                                    100%
      Specialty Care Physician                                  100%




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BENEFIT HIGHLIGHTS                                                    IN-NETWORK

Virtual Care
 Dedicated Virtual Providers
 Services available through contracted
 virtual providers as medically
 appropriate.

 Virtual Care Services for minor                               $20 per visit copay, then 100%
 medical conditions
 Virtual Wellness Screenings                                                100%


 Virtual Physician Services
 Services available through
 Physicians as medically appropriate.

 Note:
 Preventive services covered at the
 preventive level.
 Primary Care Physician's Office Visit                         $20 per visit copay, then 100%
 Specialty Care Physician’s Office                             $20 per visit copay, then 100%
 Visit
 .
Preventive Care
  Routine Preventive Care - all ages                                        100%
 Immunizations - all ages                                                   100%
 .
Mammograms, PSA, PAP Smear
  Preventive Care Related Services                                          100%
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit & lab benefit; based on place of service
  “non-routine” services)


Inpatient Hospital - Facility Services                           Plan deductible, then 80%


Bed and Board Limit
  Semi-Private Room                                      Limited to the semi-private negotiated rate
  Private Room                                           Limited to the semi-private negotiated rate

  Special Care Units (ICU/CCU)                                 Limited to the negotiated rate




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BENEFIT HIGHLIGHTS                                                IN-NETWORK

Outpatient Facility Services
Operating Room, Recovery Room,                               Plan deductible, then 80%
Procedures Room, Treatment Room
and Observation Room
Inpatient Hospital Physician’s                               Plan deductible, then 80%
Visits/Consultations
Inpatient Professional Services                              Plan deductible, then 80%
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Outpatient Professional Services                             Plan deductible, then 80%
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient                      $50 per visit copay, then 100%
  Facility
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.



  Advanced Radiological Imaging               $100 per scan copay, then $50 per visit copay, then 100%
  (i.e. MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the UC visit
  The scan copay applies per type of
  scan per day




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Emergency Services
  Hospital Emergency Room                                         100%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.


  Advanced Radiological Imaging                       $100 per scan copay, then 100%
  (i.e. MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit
  The scan copay applies per type of
  scan per day
Ambulance                                                Plan deductible, then 80%


Inpatient Services at Other Health                       Plan deductible, then 80%
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  60 days combined
Laboratory Services
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Outpatient Hospital Facility                                    100%
  Independent Lab Facility                                        100%
Radiology Services
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Outpatient Hospital Facility                                    100%




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BENEFIT HIGHLIGHTS                                                      IN-NETWORK

Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)

  The scan copay applies per type of
  scan per day
  Primary Care Physician’s Office                  $100 per scan copay, then $20 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                $100 per scan copay, then $20 per visit copay, then 100%
  Visit

  Inpatient Facility                                              Plan deductible, then 80%

  Outpatient Facility                                $100 per scan copay, then plan deductible, then 80%

Outpatient Therapy Services and
Chiropractic Services
  Calendar Year Maximum:
  100 days for all therapies combined
  (The limit is not applicable to
  mental health conditions.)
  Note:
  The Outpatient Therapy Services
  maximum does not apply to the
  treatment of autism.


  Includes:
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Chiropractic Therapy (includes
  Chiropractors)
  Primary Care Physician’s Office                              $20 per visit copay*, then 100%
  Visit
  Specialty Care Physician’s Office                            $20 per visit copay*, then 100%
  Visit
                                        *Note:
                                        Outpatient Therapy Services copay applies, regardless of place of service,
                                        including the home.
  .




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Outpatient Cardiac Rehabilitation
  Calendar Year Maximum:
  36 days
  Primary Care Physician’s Office                    $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                  $20 per visit copay, then 100%
  Visit
Home Health Care Services
  Calendar Year Maximum:                                Plan deductible, then 80%
  100 days (includes outpatient
  private nursing when approved as
  Medically Necessary)
 (The limit is not applicable to
 Mental Health and Substance Use
 Disorder conditions.)
 .
Hospice
  Inpatient Services                                    Plan deductible, then 80%
  Outpatient Services                                   Plan deductible, then 80%
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                             Plan deductible, then 80%
  Outpatient                                            Plan deductible, then 80%
Services provided by Mental Health                 Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Physician’s Office                                             100%

  Home Care                                             Plan deductible, then 80%

  Inpatient Facility                                    Plan deductible, then 80%
  Outpatient Facility                                   Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                                      IN-NETWORK

 Gene Therapy
 Includes prior authorized gene
 therapy products and services
 directly related to their
 administration, when Medically
 Necessary.
 Gene therapy must be received at an
 In-Network facility specifically
 contracted with Cigna to provide the
 specific gene therapy. Gene therapy
 at other In-Network facilities is not
 covered.
 Gene Therapy Product                                     Covered same as Medical Pharmaceuticals
 Inpatient Facility                                                Plan deductible, then 80%
 Outpatient Facility                                               Plan deductible, then 80%
 Inpatient Professional Services                                   Plan deductible, then 80%
 Outpatient Professional Services                                  Plan deductible, then 80%
 Travel Maximum:                                                              100%
 $10,000 per episode of gene therapy      (available only for travel when prior authorized to receive gene therapy at a
                                         participating In-Network facility specifically contracted with Cigna to provide
 .                                                                  the specific gene therapy)




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Maternity Care Services
  Initial Visit to Confirm Pregnancy
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  All subsequent Prenatal Visits,                        Plan deductible, then 80%
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  Delivery - Facility                                    Plan deductible, then 80%
  (Inpatient Hospital, Birthing Center)

Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Inpatient Facility                                              100%
  Outpatient Facility                                             100%
  Inpatient Professional Services                                 100%

  Outpatient Professional Services                                100%
  .




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a
  physician. Diaphragms also are
  covered when services are provided
  in the physician’s office.
      Primary Care Physician                                      100%
      Specialty Care Physician                                    100%
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
      Primary Care Physician’s                                    100%
      Office Visit
      Specialty Care Physician’s                                  100%
      Office Visit
      Inpatient Facility                                          100%
      Outpatient Facility                                         100%
      Inpatient Professional Services                             100%
      Outpatient Professional                                     100%
      Services
      .
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
      Primary Care Physician                          $20 per visit copay, then 100%
      Specialty Care Physician                        $20 per visit copay, then 100%
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
      Primary Care Physician’s                        $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Inpatient Facility                                 Plan deductible, then 80%
      Outpatient Facility                                Plan deductible, then 80%
      Inpatient Professional Services                    Plan deductible, then 80%
      Outpatient Professional                            Plan deductible, then 80%
      Services
      .


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BENEFIT HIGHLIGHTS                                                                IN-NETWORK

Infertility Services
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
         Primary Care Physician                                         $20 per visit copay, then 100%

         Specialty Care Physician                                       $20 per visit copay, then 100%
    Inpatient Facility                                                     Plan deductible, then 80%
    Outpatient Facility                                                    Plan deductible, then 80%
    Inpatient Professional Services                                        Plan deductible, then 80%
    Outpatient Professional Services                                       Plan deductible, then 80%
  Lifetime Maximum:
  Unlimited
  Includes all related services billed
  with an infertility diagnosis (i.e. x-
  ray or lab services billed by an
  independent
  .             facility).
Organ Transplants
Includes all medically appropriate,
non-experimental transplants
    Primary Care Physician’s Office                                     $20 per visit copay, then 100%
    Visit
    Specialty Care Physician’s Office                                   $20 per visit copay, then 100%
    Visit
    Inpatient Facility                                100% at LifeSOURCE center, otherwise plan deductible, then 80%
    Inpatient Professional Services                   100% at LifeSOURCE center, otherwise plan deductible, then 80%
  Lifetime Travel Maximum:                                 100% (only available when using LifeSOURCE facility)
  $10,000 per transplant
Durable Medical Equipment                                                  Plan deductible, then 80%
Calendar Year Maximum:
Unlimited




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BENEFIT HIGHLIGHTS                                             IN-NETWORK

External Prosthetic Appliances                             Plan deductible, then 80%
Calendar Year Maximum:
Unlimited
Hearing Aids                                               Plan deductible, then 80%
  1 Per ear Maximum per individual
  every 3 years

. $2,500
Diabetic Equipment                                         Plan deductible, then 80%
Calendar Year Maximum:
Unlimited
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Primary Care Physician’s Office                       $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                       Plan deductible, then 80%
  Outpatient Facility                                      Plan deductible, then 80%
  Inpatient Professional Services                          Plan deductible, then 80%
  Outpatient Professional Services                         Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit

  Inpatient Facility                                     Plan deductible, then 80%

  Outpatient Facility                                    Plan deductible, then 80%

  Inpatient Professional Services                        Plan deductible, then 80%

   Outpatient Professional Services                      Plan deductible, then 80%
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury
to teeth.
   Primary Care Physician’s Office                    $20 per visit copay, then 100%
   Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                     Plan deductible, then 80%
  Outpatient Facility                                    Plan deductible, then 80%
  Inpatient Professional Services                        Plan deductible, then 80%
  Outpatient Professional Services                       Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Obesity/Bariatric Surgery
Note:
Coverage is provided subject to
medical necessity and clinical
guidelines subject to any limitations
shown in the “Exclusions, Expenses
Not Covered and General Limitations”
section of this certificate.
  Primary Care Physician’s Office                                  $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                                $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                                 Plan deductible, then 80%
  Outpatient Facility                                                Plan deductible, then 80%
  Inpatient Professional Services                                    Plan deductible, then 80%

  Outpatient Professional Services                                   Plan deductible, then 80%

Surgical Professional Services
Lifetime Maximum:
Unlimited

Notes:
  Includes charges for surgeon only;
   does not include radiologist,
   anesthesiologist, etc.
.
Routine Foot Disorders                    Not covered except for services associated with foot care for diabetes,
                                          peripheral neuropathies and peripheral vascular disease when Medically
                                          Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Mental Health
  Inpatient                                          Plan deductible, then 80%

  Includes Acute Inpatient and
  Residential Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $20 per visit copay, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited




  Outpatient - All Other Services                             100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Includes coverage for Applied
  Behavioral Analysis (ABA) for the
  treatment of autism.

  Calendar Year Maximum:
  Unlimited




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Substance Use Disorder
  Inpatient                                          Plan deductible, then 80%

  Includes Acute Inpatient
  Detoxification, Acute Inpatient
  Rehabilitation and Residential
  Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $20 per visit copay, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited
  Outpatient - All Other Services                             100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Calendar Year Maximum:
  Unlimited




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Open Access Plus In-Network Medical                                          Covered Expenses
Benefits                                                                     The term Covered Expenses means expenses incurred by a
                                                                             person while covered under this plan for the charges listed
Prior Authorization/Pre-Authorized                                           below for:
The term Prior Authorization means the approval that a                          preventive care services, and
Participating Provider must receive from the Review
                                                                                services or supplies that are Medically Necessary for the
Organization, prior to services being rendered, in order for
                                                                                 care and treatment of an Injury or a Sickness, as determined
certain services and benefits to be covered under this policy.
                                                                                 by Cigna.
Services that require Prior Authorization are covered services
                                                                             As determined by Cigna, Covered Expenses may also include
in the following categories:
                                                                             all charges made by an entity that has directly or indirectly
   inpatient Hospital services, except for 48/96 hour maternity             contracted with Cigna to arrange, through contracts with
    stays;                                                                   providers of services and/or supplies, for the provision of any
   inpatient services at any participating Other Health Care                services and/or supplies listed below. Any applicable
    Facility;                                                                Copayments, Deductibles or limits are shown in The
                                                                             Schedule.
   residential treatment;
                                                                             Covered Expenses
   outpatient facility services;
                                                                              charges for inpatient Room and Board and other Necessary
   partial hospitalizations;
                                                                               Services and Supplies; made by a Hospital; subject to the
   advanced radiological imaging;                                             limits as shown in The Schedule.
   non-emergency Ambulance;                                                    charges for licensed Ambulance service to the nearest
   certain Medical Pharmaceuticals;                                             Hospital where the needed medical care and treatment can
   transplant services;                                                         be provided.

   speech, occupational and physical therapy;                                  charges for outpatient medical care and treatment received
                                                                                 at a Hospital.
   Applied Behavior Analysis (ABA);
                                                                                charges for outpatient medical care and treatment received
   infertility services;                                                        at a Free-Standing Surgical Facility.
   durable medical equipment;                                                  charges for Emergency Services.
   Home Health Care Services;                                                  charges for Urgent Care.
   home infusion services;                                                     charges made by a Physician or a Psychologist for
   back/spine procedures;                                                       professional services.
   ear devices;                                                                charges made by a Nurse for professional nursing service.
   oral pharynx procedures;                                                    charges made for anesthetics, including, but not limited to
   orthotics and prosthetics;                                                   supplies and their administration.
   radiation therapy;                                                          charges for diagnostic x-ray.
   sleep management; genetic testing; or                                       charges for advanced radiological imaging, including for
                                                                                 example:
   musculoskeletal pain management services.
                                                                                  CT Scans, MRI, MRA and PET scans and laboratory
                                                                                   examinations, x-ray, radiation therapy and radium and
HC-PRA48                                                        01-22              radioactive isotope treatment and other therapeutic
                                                                  V2               radiological procedures.
                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
                                                                                charges for oxygen and other gases and their administration.




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   charges made for Medically Necessary foot care for                      charges made for hearing aids and associated exam for
    diabetes, peripheral neuropathies and peripheral vascular                device testing and fitting, including but not limited to semi-
    disease.                                                                 implantable hearing devices, audiant bone conductors and
   charges made for or in connection with mammograms for                    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    breast cancer screenings or diagnostic purposes including,               any device that amplifies and delivers speech and other
    but not limited to: a baseline mammogram for women age                   sounds at levels equivalent to that of normal speech and
    35, but less than 40; a mammogram for women age 40, but                  conversation.
    less than 50, every two years or more, if Medically                  Dedicated Virtual Providers
    Necessary and if recommended by a Physician, nurse                    charges for the delivery of medical and health-related
    practitioner or a nurse midwife; and a mammogram every                 services and consultations by dedicated virtual providers as
    year for women age 50 and over.                                        medically appropriate through audio, video and secure
   charges made for an annual Papanicolaou laboratory                     internet-based technologies.
    screening test.                                                      Virtual Physician Services
   charges for the screening and diagnosis of prostate cancer,           charges for the delivery of medical and health-related
    including, but not limited to, Medically Necessary prostate-           services and consultations as medically appropriate through
    specific antigen (PSA) testing and digital rectal                      audio, video and secure internet-based technologies that are
    examinations.                                                          similar to office visit services provided in a face-to-face
   charges made for services related to the diagnosis,                    setting.
    treatment, and management of osteoporosis. Covered                      Includes charges made for telehealth services on the same
    services include, but are not limited to, all FDA approved               basis, or better, and to the same extent, or better, as the
    technologies, including bone mass measurement                            same service through in-person diagnosis, consultation, or
    technologies as deemed Medically Necessary.                              treatment. Telehealth means the mode of delivering health
   charges made for expenses incurred at any of the                         care services and public health via information and
    Approximate Age Intervals shown below for a Dependent                    communication technologies to facilitate the diagnosis,
    child who is age 16 or less, for charges made for Child                  treatment, education, care management, and self-
    Preventive Care consisting of the following services                     management of a patient's health care while the patient is at
    delivered or supervised by a Physician, in keeping with                  the originating site and the Provider for telehealth is at a
    prevailing medical standards:                                            distant site. Telehealth facilitates patient self-management
     physical examinations;                                                 and caregiver support for patients and includes:
     appropriate immunizations; and                                          Synchronous Interactions: Synchronous Interaction means
                                                                               a real-time interaction between a patient and a Health
     laboratory tests in connection with physical examinations.
                                                                               Care Provider for telehealth located at a distant site; and
    excluding any charges for:                                                Asynchronous Store and Forward transfers:
     more than one visit to one provider for Child Preventive                 Asynchronous Store and Forward means the transmission
      Care Services at each of the Appropriate Age Intervals up                of a patient's medical information from an originating site
      to a total of 18 visits for each Dependent child;                        to the health care provider for telehealth at a distant site
     services for which benefits are otherwise provided under                 without the presence of the patient.
      this Covered Expenses section; or                                  Originating site means a site where a patient is located at the
     services for which benefits are not payable according to           time health care services are provided via telecommunications
      the "Expenses Not Covered" section.                                system or where the Asynchronous Store and Forward service
                                                                         originates.
    Approximate Age Intervals are: Birth, 2 months, 4 months,
    6 months, 9 months, 12 months, 15 months, 18 months, 2               Distant site means a site where a Health Care Provider for
    years, 3 years, 4 years, 5 years, 6 years, 8 years, 10 years,        telehealth who provides health care services is located while
    12 years, 14 years and 16 years.                                     providing these services via a telecommunications system.
   HIV testing regardless of whether testing is related to the             coverage for the testing and treatment of PKU. This
    patient's primary diagnosis.                                             includes formulas and special food products that are part of
                                                                             a diet prescribed by a Physician and managed by a health
   charges made for laboratory services, radiation therapy and
                                                                             care professional in consultation with a Physician
    other diagnostic and therapeutic radiological procedures.
                                                                             specializing in the treatment of metabolic diseases. The diet
                                                                             must be deemed Medically Necessary to avoid the



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    development of serious mental or physical disabilities or to                and medications listed previously, and any additional
    promote normal development or function resulting from                       diabetes outpatient self-management training, education,
    PKU.                                                                        and medical nutrition therapy prescribed by or directed by a
    Formula means an enteral product used in the home and                       Physician.
    prescribed by a Physician, nurse practitioner, or registered               charges for insulin, insulin syringes, Prescriptive
    dietician for Medically Necessary treatment of PKU.                         medications for the treatment of diabetes, lancets and lancet
    Special food products are those that are prescribed by a                    puncture devices, blood glucose testing strips, ketone urine
    Physician or Nurse practitioner for the treatment of PKU                    testing strips, pen delivery systems for the administration of
    and are consistent with the recommendations and best                        insulin and Glucagon.
    practices of qualified health professionals with expertise in              charges for cancer screening tests that are based on
    treatment and care of PKU. It does not include a food that is               generally accepted medical guidelines or scientific
    naturally low in protein. It may include a food product that                evidence.
    is specially formulated to have less than one gram of protein
    per serving and is used instead of normal food products                    charges for prenatal testing resulting from participation in
    used by the general population, such as grocery store foods.                the Expanded Alpha Feto Protein program administered by
                                                                                the State Department of Health Services. No Cost share
   charges made for Medically Necessary treatment of Severe
    Mental Illness for covered persons of any age, and Serious                 charges for general anesthesia and associated facility
    Emotional Disturbances of a Dependent Child under 18                        charges for dental procedures rendered in a Hospital or
    years old.                                                                  Ambulatory Surgical Facility for: a child under the age of 7;
                                                                                an individual who is developmentally disabled; or an
   charges made for prosthetic appliances, including devices to                individual whose health is compromised and general
    restore a method of speaking following a laryngectomy,                      anesthesia is Medically Necessary.
    other than electronic voice-producing machines.
                                                                               charges for a Hospital stay resulting from a mastectomy
   charges made by a licensed social worker, a registered                      and/or lymph node dissection for a period of time
    Nurse licensed in psychiatric-mental health or a licensed                   determined by a Physician in consultation with the patient.
    marriage, family or child counselor, for Mental Health
    services, when such services are recommended by a                          charges made for a drug that has been prescribed for
    Physician.                                                                  purposes other than those approved by the FDA will be
                                                                                covered if:
   charges for at least 48 hours of inpatient care following a
                                                                                 the drug is otherwise approved by the FDA;
    vaginal delivery and at least 96 hours of inpatient care
    following a cesarean section for both mother and newborn.                    the drug is used to treat a life-threatening condition or, a
    The mother and/or newborn may be discharged earlier if the                    chronic and seriously debilitating condition and the drug
    Physician consults with the mother. If discharged early,                      is Medically Necessary to treat that condition;
    there will be at least one follow-up visit within 48 hours of                the drug has been recognized for the treatment prescribed
    discharge. Follow-up care may be in the mother's home, in                     by any of the following: the American Hospital
    the Physician's office, or in a licensed facility. An additional              Formulary Service Drug Information, one of the
    length of stay beyond the 48/96 hours will be covered if                      following compendia if recognized by the federal Centers
    Medically Necessary.                                                          for Medicare and Medicaid Services as part of an
The following describes coverage provided for the treatment                       anticancer chemotherapeutic regimen: The Elsevier Gold
of diabetes:                                                                      Standard’s Clinical Pharmacology; The National
   charges for the following Medically Necessary equipment                       Comprehensive Cancer Network Drug and Biologics
    for the management and treatment of insulin-using diabetes,                   compendium; The Thomson Micromedix Drug Dex; or
    noninsulin-using diabetes, and gestational diabetes: blood                    two articles from major peer reviewed medical journals
    glucose monitors; blood glucose monitors designed to assist                   that present data supporting the proposed use or uses as
    the visually impaired; insulin pumps and all related                          generally safe and effective unless there is clear and
    necessary supplies; podiatric devices to prevent or treat                     convincing contradictory evidence presented in a major
    diabetes-related complications; and visual aids (not                          peer reviewed medical journal.
    including eyewear) to assist the visually impaired with
    proper dosing of insulin.
   charges for diabetes outpatient self-management training,
    education, and medical nutrition therapy necessary to allow
    a covered person to properly use the equipment, supplies,


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Second Opinions                                                             if you are requesting a second opinion about care from a
You or your Physician may request a second opinion relating                  Specialist, you may obtain the second opinion from any
to a medical treatment or surgical procedure. Reasons for a                  Qualified Health Care Professional of the same or
second opinion to be provided or authorized shall include, but               equivalent specialty of your choice. If not authorized by
are not limited to, the following:                                           Cigna or the Primary Care Physician’s medical group,
                                                                             additional medical opinions not within the Primary Care
   if you question the reasonableness or necessity of                       Physician’s medical group shall be your responsibility.
    recommended surgical procedures.
                                                                         In approving a second opinion the Physician and/or Cigna
   if you question a diagnosis or plan of care for a condition          shall take into account your ability to travel to the provider.
    that threatens loss of life, loss of limb, loss of bodily            Cigna shall require the second opinion health professional to
    function, or substantial impairment, including, but not              provide you and the initial health professional with a
    limited to, a serious chronic condition.                             consultation report, including any recommended procedures or
   if the clinical indications are not clear or are complex and         tests that the second opinion health professional believes
    confusing, a diagnosis is in doubt due to conflicting test           appropriate.
    results, or the treating health professional is unable to            You are limited to one (1) second medical opinion per medical
    diagnose the condition, and you request an additional                treatment or surgical procedure, unless Cigna based on its
    diagnosis.                                                           independent determination, authorizes additional medical
   if the treatment plan in progress is not improving your              opinions concerning your medical condition.
    medical condition within an appropriate period of time                  charges for the treatment of nicotine use.
    given the diagnosis and plan of care, and you request a
    second opinion regarding the diagnosis or continuance of                charges made for Family Planning, including medical
    the treatment.                                                           history, physical exam, related laboratory tests, medical
                                                                             supervision in accordance with generally accepted medical
   if you have attempted to follow the plan of care or consulted            practices, other medical services, information and
    with your initial provider concerning serious concerns about             counseling on contraception, implanted/injected
    the diagnosis or plan of care.                                           contraceptives, after appropriate counseling, medical
If you or the Physician who is treating you requests a second                services connected with surgical therapies (tubal ligations,
opinion pursuant to this section, an authorization or denial                 vasectomies).
shall be provided in an expeditious manner. When your                       FDA-approved, self-administered hormonal contraceptives
condition is such that you face an imminent and serious threat               will be covered for up to a 12-month supply when dispensed
to your health, including, but not limited to, the potential loss            at one time.
of life, limb, or other major bodily function, or lack of
timeliness that would be detrimental to your ability to regain              Alternate methods of contraception, including over-the-
maximum function, the second opinion shall be authorized or                  counter contraceptive drugs as prescribed by a Physician
denied in a timely fashion appropriate for the nature of your                and deemed Medically Necessary.
condition, not to exceed seventy-two (72) hours after Cigna's               charges made for preventive care services as defined by
receipt of the request, whenever possible.                                   recommendations from the following:
Appropriately Qualified Health Care Professional                              The U.S. Preventive Services Task Force (A and B
An Appropriately Qualified Health Care Professional is a                       recommendations);
Primary Care Physician or Specialist who is acting within                     The Advisory Committee on Immunization Practices
his/her scope of practice and who possesses a clinical                         (ACIP) for immunizations;
background, including training and expertise, related to the                  The American Academy of Pediatrics’ Periodicity
particular illness, disease, condition or conditions associated                Schedule of the Bright Futures Recommendations for
with the request for a second opinion.                                         Pediatric Preventive Health Care;
You may obtain a second opinion in one of the following                       The Uniform Panel of the Secretary’s Advisory
ways:                                                                          Committee on Heritable Disorders in Newborns and
   if you request a second opinion about care from your                       Children; and
    Primary Care Physician, the second opinion shall be                       With respect to women, evidence-informed preventive
    provided by an Appropriately Qualified Health Care                         care and screening guidelines supported by the Health
    Professional, of your choice within the primary care                       Resources and Services Administration.
    Physician’s medical group.




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    Detailed information is available at www.healthcare.gov.
    For additional information on immunizations, visit the                   Obesity Treatment
    immunization schedule section of www.cdc.gov.
                                                                              charges made for medical and surgical services only at
   charges made for surgical or non-surgical treatment of                     approved centers for the treatment or control of clinically
    Temporomandibular Joint Dysfunction (TMJ).                                 severe (morbid) obesity as defined below and if the services
   charges for federal Food and Drug Administration (FDA)-                    are demonstrated, through existing peer reviewed, evidence
    approved prescription contraceptive methods, as designated                 based, scientific literature and scientifically based
    by Cigna. If your Physician determines that none of the                    guidelines, to be safe and effective for the treatment or
    methods designated by Cigna are medically appropriate for                  control of the condition. Clinically severe (morbid) obesity
    you because of your medical or personal history, Cigna will                is defined by the National Heart, Lung and Blood Institute
    cover the alternative FDA-approved prescription                            (NHLBI) as a Body Mass Index (BMI) of 40 or greater
    contraceptive prescribed by your Physician.                                without comorbidities, or a BMI of 35-39 with
Autism Spectrum Disorder                                                       comorbidities. The following items are specifically
                                                                               excluded:
Covered expenses are professional services and treatment
programs, including applied behavior analysis (ABA), and                        medical and surgical services to alter appearances or
evidence-based behavior intervention programs that develop                       physical changes that are the result of any medical or
or restore to the maximum extent practicable, the functioning                    surgical services performed for the treatment or control of
of an individual with pervasive developmental disorder or                        obesity or clinically severe (morbid) obesity; and
autism provided that:                                                           weight loss programs or treatments, whether or not they
   The treatment is prescribed by a licensed Physician or is                    are prescribed or recommended by a Physician or under
    developed by a licensed psychologist.                                        medical supervision.
   The treatment is provided under a treatment plan prescribed
    by a qualified autism service provider.                                  HC-COV2                                                     04-10
                                                                                                                                           V1
   The treatment plan has measurable goals over a specific
    time-line that is developed and approved by the qualified
    autism service provider for the specific patient being                   Home Health Services
    treated.
                                                                              charges made for Home Health Services when you: require
   The treatment plan is not used for purposes of                             skilled care; are unable to obtain the required care as an
    providing/reimbursing respite care, day care or educational                ambulatory outpatient; and do not require confinement in a
    services and is not used to reimburse a parent for                         Hospital or Other Health Care Facility.
    participating in the treatment program.
                                                                               Home Health Services are provided only if Cigna has
Telecommunication Technologies - Mental Health and                             determined that the home is a medically appropriate setting.
Substance Use Disorder                                                         If you are a minor or an adult who is dependent upon others
 behavioral consultations and services via secure                             for nonskilled care and/or custodial services (e.g., bathing,
  telecommunications technologies that shall include video                     eating, toileting), Home Health Services will be provided
  capability, including telephones and internet, when                          for you only during times when there is a family member or
  delivered through a behavioral provider.                                     care giver present in the home to meet your nonskilled care
                                                                               and/or custodial services needs.
Nutritional Counseling
                                                                               Home Health Services are those skilled health care services
Charges for counseling when diet is a part of the medical
                                                                               that can be provided during visits by Other Health Care
management of a medical or behavioral condition.
                                                                               Professionals. The services of a home health aide are
Internal Prosthetic/Medical Appliances                                         covered when rendered in direct support of skilled health
Charges for internal prosthetic/medical appliances that provide                care services provided by Other Health Care Professionals.
permanent or temporary internal functional supports for                        A visit is defined as a period of 2 hours or less. Home
nonfunctional body parts are covered. Medically Necessary                      Health Services are subject to a maximum of 16 hours in
repair, maintenance or replacement of a covered appliance is                   total per day. Necessary consumable medical supplies and
also covered.                                                                  home infusion therapy administered or used by Other
                                                                               Health Care Professionals in providing Home Health
                                                                               Services are covered. Home Health Services do not include
HC-COV992 M                                                     01-20
                                                                               services by a person who is a member of your family or



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    your Dependent’s family or who normally resides in your                       for services or supplies not listed in the Hospice Care
    house or your Dependent’s house even if that person is an                      Program;
    Other Health Care Professional. Skilled nursing services or                   for any curative or life-prolonging procedures;
    private duty nursing services provided in the home are
    subject to the Home Health Services benefit terms,                            to the extent that any other benefits are payable for those
    conditions and benefit limitations. Physical, occupational,                    expenses under the policy;
    and other Short-Term Rehabilitative Therapy services                          for services or supplies that are primarily to aid you or your
    provided in the home are not subject to the Home Health                        Dependent in daily living.
    Services benefit limitations in the Schedule, but are subject
    to the benefit limitations described under Short-term
                                                                               HC-COV994                                                         01-20
    Rehabilitative Therapy Maximum shown in The Schedule.

HC-COV76                                                          04-10
                                                                               Mental Health and Substance Abuse Services
                                                                    V1         Mental Health Services are services that are required to treat
                                                                               a disorder that impairs the behavior, emotional reaction or
                                                                               thought processes. In determining benefits payable, charges
Hospice Care Services
                                                                               made for the treatment of any physiological conditions related
 charges for a person who has been diagnosed as having six                    to Mental Health will not be considered to be charges made
  months or fewer to live, due to Terminal Illness, for the                    for treatment of Mental Health.
  following Hospice Care Services provided under a Hospice
                                                                               Substance Abuse is defined as the psychological or physical
  Care Program:
                                                                               dependence on alcohol or other mind-altering drugs that
     by a Hospice Facility for Room and Board and Services                    requires diagnosis, care, and treatment. In determining
      and Supplies;                                                            benefits payable, charges made for the treatment of any
     by a Hospice Facility for services provided on an                        physiological conditions related to rehabilitation services for
      outpatient basis;                                                        alcohol or drug abuse or addiction will not be considered to be
                                                                               charges made for treatment of Substance Abuse.
     by a Physician for professional services;
                                                                               Inpatient Mental Health Services
     by a Psychologist, social worker, family counselor or
      ordained minister for individual and family counseling;                  Services that are provided by a Hospital while you or your
                                                                               Dependent is Confined in a Hospital for the treatment and
     for pain relief treatment, including drugs, medicines and
                                                                               evaluation of Mental Health. Inpatient Mental Health Services
      medical supplies;
                                                                               include Partial Hospitalization and Mental Health Residential
     by an Other Health Care Facility for:                                    Treatment Services.
         part-time or intermittent nursing care by or under the               Partial Hospitalization sessions are services that are provided
          supervision of a Nurse;                                              for not less than 4 hours and not more than 12 hours in any 24-
         part-time or intermittent services of an Other Health                hour period.
          Care Professional;                                                   Mental Health Residential Treatment Services are services
     charges for physical, occupational and speech therapy;                   provided by a Hospital for the evaluation and treatment of the
     charges for medical supplies; drugs and medicines
                                                                               psychological and social functional disturbances that are a
      lawfully dispensed only on the written prescription of a                 result of subacute Mental Health conditions.
      Physician; and laboratory services; but only to the extent               Mental Health Residential Treatment Center means an
      such charges would have been payable under the policy if                 institution which specializes in the treatment of psychological
      the person had remained or been Confined in a Hospital                   and social disturbances that are the result of Mental Health
      or Hospice Facility.                                                     conditions; provides a subacute, structured, psychotherapeutic
The following charges for Hospice Care Services are not                        treatment program, under the supervision of Physicians;
included as Covered Expenses:                                                  provides 24-hour care, in which a person lives in an open
                                                                               setting; and is licensed in accordance with the laws of the
   for the services of a person who is a member of your family                appropriate legally authorized agency as a residential
    or your Dependent's family or who normally resides in your                 treatment center.
    house or your Dependent's house;
                                                                               A person is considered confined in a Mental Health
   for any period when you or your Dependent is not under the                 Residential Treatment Center when she/he is a registered bed
    care of a Physician;



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patient in a Mental Health Residential Treatment Center upon              Outpatient Substance Abuse Rehabilitation Services
the recommendation of a Physician.                                        Services provided for the diagnosis and treatment of abuse or
Outpatient Mental Health Services                                         addiction to alcohol and/or drugs, while you or your
Services of Providers who are qualified to treat Mental Health            Dependent is not Confined in a Hospital, including outpatient
when treatment is provided on an outpatient basis, while you              rehabilitation in an individual, or a Substance Abuse Intensive
or your Dependent is not Confined in a Hospital, and is                   Outpatient Therapy Program.
provided in an individual, group or Mental Health Intensive               A Substance Abuse Intensive Outpatient Therapy Program
Outpatient Therapy Program. Covered services include, but                 consists of distinct levels or phases of treatment that are
are not limited to, outpatient treatment of conditions such as:           provided by a certified/licensed Substance Abuse program.
anxiety or depression which interfere with daily functioning;             Intensive Outpatient Therapy Programs provide a combination
emotional adjustment or concerns related to chronic                       of individual, family and/or group therapy in a day, totaling
conditions, such as psychosis or depression; emotional                    nine, or more hours in a week.
reactions associated with marital problems or divorce;                    Substance Abuse Detoxification Services
child/adolescent problems of conduct or poor impulse control;
affective disorders; suicidal or homicidal threats or acts; eating        Detoxification and related medical ancillary services are
disorders; or acute exacerbation of chronic Mental Health                 provided when required for the diagnosis and treatment of
conditions (crisis intervention and relapse prevention) and               addiction to alcohol and/or drugs. Cigna will decide, based on
outpatient testing and assessment.                                        the Medical Necessity of each situation, whether such services
                                                                          will be provided in an inpatient or outpatient setting.
A Mental Health Intensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are               Exclusions
provided by a certified/licensed Mental Health program.                   The following are specifically excluded from Mental Health
Intensive Outpatient Therapy Programs provide a combination               and Substance Abuse Services:
of individual, family and/or group therapy in a day, totaling                any court ordered treatment or therapy, or any treatment or
nine or more hours in a week.                                                 therapy ordered as a condition of parole, probation or
Inpatient Substance Abuse Rehabilitation Services                             custody or visitation evaluations unless Medically
Services provided for rehabilitation, while you or your                       Necessary and otherwise covered under this policy or
Dependent is Confined in a Hospital, when required for the                    agreement.
diagnosis and treatment of abuse or addiction to alcohol and/or              treatment of disorders which have been diagnosed as
drugs. Inpatient Substance Abuse Services include Partial                     organic mental disorders associated with permanent
Hospitalization sessions and Residential Treatment services.                  dysfunction of the brain.
Partial Hospitalization sessions are services that are provided              developmental disorders, including but not limited to,
for not less than 4 hours and not more than 12 hours in any 24-               developmental reading disorders, developmental arithmetic
hour period.                                                                  disorders, developmental language disorders or
Substance Abuse Residential Treatment Services are                            developmental articulation disorders.
services provided by a Hospital for the evaluation and                       counseling for activities of an educational nature.
treatment of the psychological and social functional                         counseling for borderline intellectual functioning.
disturbances that are a result of subacute Substance Abuse
                                                                             counseling for occupational problems.
conditions.
                                                                             counseling related to consciousness raising.
Substance Abuse Residential Treatment Center means an
institution which specializes in the treatment of psychological              vocational or religious counseling.
and social disturbances that are the result of Substance Abuse;              I.Q. testing.
provides a subacute, structured, psychotherapeutic treatment
                                                                             custodial care, including but not limited to geriatric day
program, under the supervision of Physicians; provides 24-
                                                                              care.
hour care, in which a person lives in an open setting; and is
licensed in accordance with the laws of the appropriate legally              psychological testing on children requested by or for a
authorized agency as a residential treatment center.                          school system.
A person is considered confined in a Substance Abuse
Residential Treatment Center when she/he is a registered bed
patient in a Substance Abuse Residential Treatment Center
upon the recommendation of a Physician.



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   occupational/recreational therapy programs even if                                Other Equipment: heat lamps, heating pads, cryounits,
    combined with supportive therapy for age-related cognitive                         cryotherapy machines, electronic-controlled therapy units,
    decline.                                                                           ultraviolet cabinets, sheepskin pads and boots, postural
                                                                                       drainage board, AC/DC adaptors, enuresis alarms, magnetic
                                                                                       equipment, scales (baby and adult), stair gliders, elevators,
HC-COV7                                                               04-10
                                                                                       saunas, any exercise equipment and diathermy machines.
                                                                        V4


                                                                                   HC-COV8                                                           04-10
Durable Medical Equipment
                                                                                                                                                       V2
 charges made for purchase or rental of Durable Medical
  Equipment that is ordered or prescribed by a Physician and
  provided by a vendor approved by Cigna for use outside a                         External Prosthetic Appliances and Devices
  Hospital or Other Health Care Facility. Coverage for repair,                      charges made or ordered by a Physician for: the initial
  replacement or duplicate equipment is provided only when                           purchase and fitting of external prosthetic appliances and
  required due to anatomical change and/or reasonable wear                           devices available only by prescription which are necessary
  and tear. All maintenance and repairs that result from a                           for the alleviation or correction of Injury, Sickness or
  person’s misuse are the person’s responsibility. Coverage                          congenital defect.
  for Durable Medical Equipment is limited to the lowest-cost                      External prosthetic appliances and devices include
  alternative as determined by the utilization review                              prostheses/prosthetic appliances and devices; orthoses and
  Physician.                                                                       orthotic devices; braces; and splints.
Durable Medical Equipment is defined as items which are                            Prostheses/Prosthetic Appliances and Devices
designed for and able to withstand repeated use by more than
one person; customarily serve a medical purpose; generally                         Prostheses/prosthetic appliances and devices are defined as
are not useful in the absence of Injury or Sickness; are                           fabricated replacements for missing body parts.
appropriate for use in the home; and are not disposable. Such                      Prostheses/prosthetic appliances and devices include, but are
equipment includes, but is not limited to, crutches, hospital                      not limited to:
beds, respirators, wheel chairs, and dialysis machines.                               limb prostheses;
Durable Medical Equipment items that are not covered                                  terminal devices such as hands or hooks;
include but are not limited to those that are listed below:                           speech prostheses; and
   Bed Related Items: bed trays, over the bed tables, bed                            facial prostheses.
    wedges, pillows, custom bedroom equipment, mattresses,
    including nonpower mattresses, custom mattresses and                           Orthoses and Orthotic Devices
    posturepedic mattresses.                                                       Orthoses and orthotic devices are defined as orthopedic
   Bath Related Items: bath lifts, nonportable whirlpools,                        appliances or apparatuses used to support, align, prevent or
                                                                                   correct deformities. Coverage is provided for custom foot
    bathtub rails, toilet rails, raised toilet seats, bath benches,
                                                                                   orthoses and other orthoses as follows:
    bath stools, hand held showers, paraffin baths, bath mats,
    and spas.                                                                         Non-foot orthoses – only the following non-foot orthoses
                                                                                       are covered:
   Chairs, Lifts and Standing Devices: computerized or
    gyroscopic mobility systems, roll about chairs, geriatric                           rigid and semi-rigid custom fabricated orthoses;
    chairs, hip chairs, seat lifts (mechanical or motorized),                           semi-rigid prefabricated and flexible orthoses; and
    patient lifts (mechanical or motorized – manual hydraulic
                                                                                        rigid prefabricated orthoses including preparation, fitting
    lifts are covered if patient is two-person transfer), and auto
                                                                                         and basic additions, such as bars and joints.
    tilt chairs.
                                                                                      Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair
                                                                                       covered as follows:
    ramps.
                                                                                        for persons with impaired peripheral sensation and/or
 Car/Van Modifications.
                                                                                         altered peripheral circulation (e.g. diabetic neuropathy
 Air Quality Items: room humidifiers, vaporizers, air                                   and peripheral vascular disease);
  purifiers and electrostatic machines.
                                                                                        when the foot orthosis is an integral part of a leg brace
   Blood/Injection Related Items: blood pressure cuffs,                                 and is necessary for the proper functioning of the brace;
    centrifuges, nova pens and needleless injectors.



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     when the foot orthosis is for use as a replacement or                 no more than once every 12 months for persons 18 years of
      substitute for missing parts of the foot (e.g. amputated               age and under.
      toes) and is necessary for the alleviation or correction of        The following are specifically excluded external prosthetic
      Injury, Sickness or congenital defect; and                         appliances and devices:
     for persons with neurologic or neuromuscular condition                external and internal power enhancements or power controls
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing              for prosthetic limbs and terminal devices; and
      spasticity, malalignment, or pathological positioning of
      the foot and there is reasonable expectation of                       myoelectric prostheses peripheral nerve stimulators.
      improvement.
The following are specifically excluded orthoses and orthotic            HC-COV890                                                       01-20

devices:
   prefabricated foot orthoses;                                         Infertility Services
   cranial banding and/or cranial orthoses. Other similar                charges made for services related to diagnosis of infertility
    devices are excluded except when used postoperatively for              and treatment of infertility once a condition of infertility has
    synostotic plagiocephaly. When used for this indication, the           been diagnosed. Services include, but are not limited to:
    cranial orthosis will be subject to the limitations and                infertility drugs which are administered or provided by a
    maximums of the External Prosthetic Appliances and                     Physician; approved surgeries and other therapeutic
    Devices benefit;                                                       procedures that have been demonstrated in existing peer-
   orthosis shoes, shoe additions, procedures for foot                    reviewed, evidence-based, scientific literature to have a
    orthopedic shoes, shoe modifications and transfers;                    reasonable likelihood of resulting in pregnancy; laboratory
                                                                           tests; sperm washing or preparation; artificial insemination;
   non-foot orthoses primarily used for cosmetic rather than
                                                                           diagnostic evaluations; gamete intrafallopian transfer
    functional reasons; and
                                                                           (GIFT); in vitro fertilization (IVF); zygote intrafallopian
   non-foot orthoses primarily for improved athletic                      transfer (ZIFT); and the services of an embryologist.
    performance or sports participation.
                                                                             Infertility is defined as:
Braces
                                                                              the inability of opposite-sex partners to achieve
A Brace is defined as an orthosis or orthopedic appliance that                 conception after at least one year of unprotected
supports or holds in correct position any movable part of the                  intercourse;
body and that allows for motion of that part.
                                                                              the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                          conception after six months of unprotected intercourse,
scoliosis braces.                                                              when the female partner trying to conceive is age 35 or
Splints                                                                        older;
A Splint is defined as an appliance for preventing movement                   the inability of a woman, with or without an opposite-sex
of a joint or for the fixation of displaced or movable parts.                  partner, to achieve conception after at least six trials of
Coverage for replacement of external prosthetic appliances                     medically supervised artificial insemination over a one-
and devices is limited to the following:                                       year period; and
                                                                              the inability of a woman, with or without an opposite-sex
   replacement due to regular wear. Replacement for damage
    due to abuse or misuse by the person will not be covered.                  partner, to achieve conception after at least three trials of
                                                                               medically supervised artificial insemination over a six-
   replacement required because anatomic change has rendered                  month period of time, when the female partner trying to
    the external prosthetic appliance or device ineffective.                   conceive is age 35 or older.
    Anatomic change includes significant weight gain or loss,
    atrophy and/or growth.                                               This benefit includes diagnosis and treatment of both male and
                                                                         female infertility.
   replacement due to a surgical alteration or revision of the
    impacted site.                                                       However, the following are specifically excluded infertility
                                                                         services:
Coverage for replacement is limited as follows:
                                                                            reversal of male and female voluntary sterilization;
   no more than once every 24 months for persons 19 years of
    age and older.                                                          infertility services when the infertility is caused by or
                                                                             related to voluntary sterilization;
                                                                            donor charges and services;


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   cryopreservation of donor sperm and eggs; and                                 To improve, adapt or attain function that has been
   any experimental, investigational or unproven infertility                      impaired or was never achieved because of mental health
    procedures or therapies.                                                       and substance use disorder conditions. Includes
                                                                                   conditions such as autism and intellectual disability, or
                                                                                   mental health and substance use disorder conditions that
HC-COV734                                                       01-19              result in a developmental delay.
                                                                             Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                  the following criteria are met:
Charges for the following therapy services:                                     The individual’s condition has the potential to improve or is
                                                                                 improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                                 improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                  There is an expectation that the anticipated improvement is
                                                                                 attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                 of time.
  part of a program of treatment.
                                                                                The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation
                                                                                 of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                     scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac
                                                                                The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-
                                                                                 appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                 Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                  purposes of enabling individuals to perform the activities of
                                                                             daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a               Therapy services that are not covered include:
    recreational facility primarily to maintain the patient's status            sensory integration therapy.
    achieved through Phases I and II. Phase IV is an
                                                                                treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                          maintenance or preventive treatment provided to prevent
                                                                                 recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                                charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an
                                                                                 setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                       vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                   Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                 Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                      constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                      A separate Copayment applies to the services provided by
                                                                                 each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
   Restore function (called “rehabilitative”):                              HC-COV887                                                     01-20
                                                                                                                                               V1
     To restore function that has been impaired or lost.
     To reduce pain as a result of Sickness, Injury, or loss of a
      body part.                                                             Breast Reconstruction and Breast Prostheses
                                                                              charges made for reconstructive surgery following a
   Improve, adapt or attain function (sometimes called
    “habilitative”):                                                           mastectomy; benefits include: surgical services for
                                                                               reconstruction of the breast on which surgery was
     To improve, adapt or attain function that has been                       performed; surgical services for reconstruction of the
      impaired or was never achieved as a result of congenital                 nondiseased breast to produce symmetrical appearance;
      abnormality (birth defect).                                              postoperative breast prostheses; and mastectomy bras and
                                                                               prosthetics, limited to the lowest cost alternative available



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  that meets prosthetic placement needs. During all stages of              or a live donor. Organ procurement costs shall consist of
  mastectomy, treatment of physical complications, including               surgery necessary for organ removal, organ transportation and
  lymphedema therapy, are covered.                                         the transportation, hospitalization and surgery of a live donor.
Reconstructive Surgery                                                     Compatibility testing undertaken prior to procurement is
                                                                           covered if Medically Necessary. Costs related to the search
 charges made for reconstructive surgery or therapy to
                                                                           for, and identification of a bone marrow or stem cell donor for
  correct or repair abnormal structures of the body caused by              an allogeneic transplant are also covered.
  congenital defects, developmental abnormalities, trauma,
  infection, tumors, or disease to do either of the following: 1)          Transplant Travel Services
  to improve function; or 2) to create normal appearance, to               Charges made for reasonable travel expenses incurred by you
  the extent possible. Reconstructive Surgery also includes                in connection with a preapproved organ/tissue transplant are
  Medically Necessary dental or orthodontic services that are              covered subject to the following conditions and limitations.
  an integral part of reconstructive surgery for cleft palate              Transplant travel benefits are not available for cornea
  procedures. Cleft palate means a condition that may include              transplants. Benefits for transportation, lodging and food are
  cleft palate, cleft lip or other craniofacial anomalies                  available to you only if you are the recipient of a preapproved
  associated with cleft palate. Repeat or subsequent surgeries             organ/tissue transplant from a designated Cigna
  for the same condition are covered only when there is the                LIFESOURCE Transplant Network® facility. The term
  probability of significant additional improvement as                     recipient is defined to include a person receiving authorized
  determined by the utilization review Physician.                          transplant related services during any of the following:
                                                                           evaluation, candidacy, transplant event, or post-transplant
                                                                           care. Travel expenses for the person receiving the transplant
HC-COV728                                                     08-18
                                                                           will include charges for: transportation to and from the
                                                                           transplant site (including charges for a rental car used during a
Transplant Services                                                        period of care at the transplant facility); lodging while at, or
                                                                           traveling to and from the transplant site; and food while at, or
 charges made for human organ and tissue Transplant
                                                                           traveling to and from the transplant site.
  services which include solid organ and bone marrow/stem
  cell procedures at designated facilities throughout the                  In addition to your coverage for the charges associated with
  United States or its territories. This coverage is subject to            the items above, such charges will also be considered covered
  the following conditions and limitations.                                travel expenses for one companion to accompany you. The
                                                                           term companion includes your spouse, a member of your
Transplant services include the recipient’s medical, surgical
                                                                           family, your legal guardian, or any person not related to you,
and Hospital services; inpatient immunosuppressive
                                                                           but actively involved as your caregiver. The following are
medications; and costs for organ or bone marrow/stem cell
                                                                           specifically excluded travel expenses: travel costs incurred due
procurement. Transplant services are covered only if they are
                                                                           to travel within 60 miles of your home; laundry bills;
required to perform any of the following human to human
                                                                           telephone bills; alcohol or tobacco products; and charges for
organ or tissue transplants: allogeneic bone marrow/stem cell,
                                                                           transportation that exceed coach class rates.
autologous bone marrow/stem cell, cornea, heart, heart/lung,
kidney, kidney/pancreas, liver, lung, pancreas or intestine                These benefits are only available when the covered person is
which includes small bowel-liver or multi-visceral.                        the recipient of an organ transplant. No benefits are available
                                                                           when the covered person is a donor.
All Transplant services, other than cornea, are covered at
100% when received at Cigna LIFESOURCE Transplant
Network® facilities. Cornea transplants are not covered at                 HC-COV15                                                     04-10
Cigna LIFESOURCE Transplant Network® facilities.                                                                                             V2
Transplant services, including cornea, received at participating
facilities specifically contracted with Cigna for those                    Medical Pharmaceuticals
Transplant services, other than Cigna LIFESOURCE
Transplant Network® facilities, are payable at the In-Network              The plan covers charges made for Medical Pharmaceuticals
level. Transplant services received at any other facilities,               that are administered in an Inpatient setting, Outpatient
including Non-Participating Providers and Participating                    setting, Physician’s office, or in a covered person's home.
Providers not specifically contracted with Cigna for                       Benefits under this section are provided only for Medical
Transplant services, are not covered.                                      Pharmaceuticals which, due to their characteristics (as
Coverage for organ procurement costs are limited to costs                  determined by Cigna), are required to be administered, or the
directly related to the procurement of an organ, from a cadaver            administration of which must be directly supervised, by a
                                                                           qualified Physician. Benefits payable under this section


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include Medical Pharmaceuticals whose administration may                     inactivating a disease-causing gene that may not be
initially, or typically, require Physician oversight but may be               functioning properly.
self-administered under certain conditions specified in the                  introducing a new or modified gene into the body to help
product’s FDA labeling. Certain Medical Pharmaceuticals are                   treat a disease.
subject to prior authorization requirements or other coverage
conditions. Additionally, certain Medical Pharmaceuticals are             Each gene therapy product is specific to a particular disease
subject to step therapy requirements. This means that in order            and is administered in a specialized manner. Cigna determines
to receive benefits for such Medical Pharmaceuticals, you are             which products are in the category of gene therapy, based in
required to try a different Medical Pharmaceutical and/or                 part on the nature of the treatment and how it is distributed
Prescription Drug Product first.                                          and administered.
The Cigna Business Decision Team determines whether                       Coverage includes the cost of the gene therapy product;
utilization management requirements or other coverage                     medical, surgical, and facility services directly related to
conditions should apply to a Medical Pharmaceutical by                    administration of the gene therapy product; and professional
considering a number of factors, including, but not limited to,           services.
clinical and economic factors. Clinical factors may include,              Gene therapy products and their administration are covered
but are not limited to, the P&T Committee’s evaluations of the            when prior authorized to be received at In-Network facilities
place in therapy, relative safety or relative efficacy of Medical         specifically contracted with Cigna for the specific gene
Pharmaceuticals as well as whether utilization management                 therapy service. Gene therapy products and their
requirements should apply. Economic factors may include, but              administration received at other facilities are not covered.
are not limited to, the Medical Pharmaceutical’s cost                     Gene Therapy Travel Services
including, but not limited to, assessments on the cost
                                                                          Charges made for non-taxable travel expenses incurred by you
effectiveness of the Medical Pharmaceuticals and available
rebates. When considering a Medical Pharmaceutical for a                  in connection with a prior authorized gene therapy procedure
coverage status, the Business Decision Team reviews clinical              are covered subject to the following conditions and
                                                                          limitations.
and economic factors regarding enrollees as a general
population across its book-of-business. Regardless of its                 Benefits for transportation and lodging are available to you
eligibility for coverage under your plan, whether a particular            only when you are the recipient of a prior authorized gene
Prescription Drug Product is appropriate for you or any of                therapy; and when the gene therapy products and services
your Dependents is a determination that is made by you (or                directly related to their administration are received at a
your Dependent) and the prescribing Physician.                            participating In-Network facility specifically contracted with
                                                                          Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may
                                                                          is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a
                                                                          therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a
                                                                          evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a
Medical Pharmaceutical may become available, or other                     Travel expenses for the person receiving the gene therapy
market events may occur. Market events that may affect the                include charges for: transportation to and from the gene
coverage status of a Medical Pharmaceutical include, but are              therapy site (including charges for a rental car used during a
not limited to, an increase in the cost of a Medical                      period of care at the facility); and lodging while at, or
Pharmaceutical.                                                           traveling to and from, the site.
                                                                          In addition to your coverage for the charges associated with
HC-COV553                                                    10-16
                                                                          the items above, such charges will also be considered covered
                                                                          travel expenses for one companion to accompany you. The
                                                                          term companion includes your spouse, a member of your
Gene Therapy                                                              family, your legal guardian, or any person not related to you,
Charges for gene therapy products and services directly                   but actively involved as your caregiver who is at least 18 years
related to their administration are covered when Medically                of age.
Necessary. Gene therapy is a category of pharmaceutical
products approved by the U.S. Food and Drug Administration
(FDA) to treat or cure a disease by:
   replacing a disease-causing gene with a healthy copy of the
    gene.




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The following are specifically excluded travel expenses: any                     the study or investigation assures unbiased review of the
expenses that if reimbursed would be taxable income, travel                       highest scientific standards by qualified individuals who
costs incurred due to travel within 60 miles of your home;                        have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                     the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                    investigational new drug application reviewed by the U.S.
coach class rates.                                                              Food and Drug Administration (FDA).
                                                                               the study or investigation is a drug trial that is exempt from
HC-COV886                                                      01-20            having such an investigational new drug application.
                                                                            The plan does not cover any of the following services
Clinical Trials                                                             associated with a clinical trial:
This plan covers routine patient care costs and services related               services that are not considered routine patient care costs
to an approved clinical trial for a qualified individual. The                   and services, including the following:
individual must be eligible to participate according to the trial                the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                      provided solely to satisfy data collection and analysis
   the referring health care professional is a participating                     needs.
    health care provider and has concluded that the individual’s                 an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                          management of the individual.
   the individual provides medical and scientific information                   a service that is clearly inconsistent with widely accepted
    establishing that the individual’s participation in the                       and established standards of care for a particular
    qualified trial would be appropriate.                                         diagnosis.
In addition to qualifying as an individual, the clinical trial                 an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                 charge for any person enrolled in the trial.
and services to be covered.                                                    travel and transportation expenses, unless otherwise covered
The clinical trial must be a phase I, phase II, phase III, or                   under the plan, including but not limited to the following:
phase IV clinical trial conducted in relation to the prevention,                 fees for personal vehicle, rental car, taxi, medical van,
detection, or treatment of cancer or other life-threatening                       ambulance, commercial airline, train.
disease or condition that meets any of the following criteria:
                                                                                 mileage reimbursement for driving a personal vehicle.
   it is a federally funded trial. The study or investigation is
    approved or funded (which may include funding through in-                    lodging.
    kind contributions) by one or more of the following:                         meals.
     National Institutes of Health (NIH).                                     routine patient costs obtained out-of-network when Out-of-
     Centers for Disease Control and Prevention (CDC).                         Network benefits do not exist under the plan.
     Agency for Health Care Research and Quality (AHRQ).                   Examples of routine patient care costs and services include:
     Centers for Medicare and Medicaid Services (CMS).                        radiological services.
     a cooperative group or center of any of the entities                     laboratory services.
      described above or the Department of Defense (DOD) or                    intravenous therapy.
      the Department of Veterans Affairs (VA).                                 anesthesia services.
     a qualified non-governmental research entity identified in               Physician services.
      NIH guidelines for center support grants.
                                                                               office services.
   any of the following: Department of Energy, Department of
    Defense, Department of Veterans Affairs, if both of the                    Hospital services.
    following conditions are met:                                              Room and Board, and medical supplies that typically would
     the study or investigation has been reviewed and
                                                                                be covered under the plan for an individual who is not
      approved through a system of peer review comparable to                    enrolled in a clinical trial.
      the system of peer review of studies and investigations               
      used by the National Institutes of Health (NIH); and
                                                                            HC-COV884                                                          01-20




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                                         Prescription Drug Benefits
                                                   The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
Ng it
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at Network
Pharmacies at 100% with no deductible and if applicable at non-Network Pharmacies, the same as the out of network
medical cost share for injectable/IV chemotherapy.


                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule




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                                                       NETWORK                                NON-NETWORK
       BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
    Individual                            Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
    Family                                Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Network Pharmacy.

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $25 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $50 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       No charge after $20 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $50 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-          No charge after $100 Copay                In-network coverage only
  preferred on the Prescription Drug
  List




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      No charge after $20 Copay                  In-network coverage only
  Drug List
Tier 2
  Brand Drugs designated as              No charge after $50 Copay                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         No charge after $100 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List




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Prescription Drug Benefits                                              factors. Clinical factors may include, but are not limited to, the
                                                                        P&T Committee’s evaluations of the place in therapy, relative
                                                                        safety or relative efficacy of the Prescription Drug Product, as
Covered Expenses                                                        well as whether certain supply limits or other utilization
Your plan provides benefits for Prescription Drug Products              management requirements should apply. Economic factors
dispensed by a Pharmacy. Details regarding your plan’s                  may include, but are not limited to, the Prescription Drug
Covered Expenses, which for the purposes of the Prescription            Product's acquisition cost including, but not limited to,
Drug Benefit include Medically Necessary Prescription Drug              assessments on the cost effectiveness of the Prescription Drug
Products ordered by a Physician, Limitations and Exclusions             Product and available rebates. When considering a
are provided below and/or are shown in The Schedule.                    Prescription Drug Product for tier placement on the
If you or any one of your Dependents, while insured for                 Prescription Drug List or other coverage conditions, the
Prescription Drug Benefits, incurs expenses for charges made            Business Decision Team reviews clinical and economic
by a Pharmacy for Medically Necessary Prescription Drug                 factors regarding enrollees as a general population across its
Products ordered by a Physician, your plan will provide                 book-of-business. Regardless of its eligibility for coverage
coverage for those expenses as shown in The Schedule. Your              under the plan, whether a particular Prescription Drug Product
benefits may vary depending on which of the Prescription                is appropriate for you or any of your Dependents is a
Drug List tiers the Prescription Drug Product is listed, or the         determination that is made by you or your Dependent and the
Pharmacy that provides the Prescription Drug Product.                   prescribing Physician. A copy of the formulary is available at
                                                                        www.cigna.com/prescription-drug-list or by calling the
Coverage under your plan’s Prescription Drug Benefits also              number on the back of your ID card.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to          The coverage status of a Prescription Drug Product may
you or your Dependents by a licensed dentist for the                    change periodically for various reasons. For example, a
prevention of infection or pain in conjunction with a dental            Prescription Drug Product may be removed from the market, a
procedure.                                                              New Prescription Drug Product in the same therapeutic class
                                                                        as a Prescription Drug Product may become available, or other
For combination anti-retroviral drug treatments that are                market events may occur. Market events that may affect the
Medically Necessary for the treatment of AIDS/HIV, this plan            coverage status of a Prescription Drug Product include, but are
covers a single-tablet drug regimen that is as effective as a           not limited to, an increase in the acquisition cost of a
multi-tablet regimen unless, consistent with clinical guidelines        Prescription Drug Product. As a result of coverage changes,
and peer-reviewed scientific and medical literature, the multi-         for the purposes of benefits the plan may require you to pay
tablet regimen is clinically equal or more effective and more           more or less for that Prescription Drug Product, to obtain the
likely to result in adherence to a drug regimen.                        Prescription Drug Product from a certain Pharmacy(ies) for
When you or a Dependent are issued a Prescription Order or              coverage, or try another covered Prescription Drug Product(s).
Refill for Medically Necessary Prescription Drug Products as            Please access the internet through the website shown on your
part of the rendering of Emergency Services and Cigna                   ID card or call member services at the telephone number on
determines that it cannot reasonably be filled by a Network             your ID card for the most up-to-date tier status, utilization
Pharmacy, the prescription will be covered pursuant to the, as          management, or other coverage limitations for a Prescription
applicable, Copayment or Coinsurance for the Prescription               Drug Product.
Drug Product when dispensed by a Network Pharmacy.                      A Prescription Drug Product that is not on the Prescription
Prescription Drug List Management                                       Drug List may be covered if the Prescription Drug Product is
The Prescription Drug List (or formulary) offered under your            determined to be Medically Necessary and your Physician
Employer’s plan is managed by the Cigna Business Decision               obtains authorization for coverage of the non-Prescription
Team. Your plan’s Prescription Drug List coverage tiers may             Drug List Prescription Drug Product.
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The                HC-PHR321                                                     01-19
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should             Limitations
apply to a Prescription Drug Product by considering a number            In the event you or your Dependent insist on a more expensive
of factors including, but not limited to, clinical and economic         Brand Drug where a Generic Drug is available, you will be



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financially responsible for the amount by which the cost of the         When you submit a claim on this basis, you will need to
Brand Drug exceeds the cost of the Generic Drug, plus any               submit a paper claim using the form that appears on the
required Brand Drug Copayment and/or Coinsurance. In this               website shown on your ID card.
case, the amount by which the cost of the Brand Drug exceeds            If a prior authorization request is approved, you and your
the cost of the Generic Drug will not apply to your Deductible,         Physician will receive confirmation within 72 hours for non-
if any, or Out-of-Pocket Maximum. However, in the event                 urgent requests and within 24 hours for exigent requests. The
your Physician determines that the Generic Drug is not an               authorization will be processed in the claim system to allow
acceptable alternative for you (and indicates Dispensed as              you to have coverage for the Prescription Drug Product. The
Written on the Prescription Order or Refill), you will only be          length of the authorization may depend on the diagnosis and
responsible for payment of the appropriate Brand Drug                   the Prescription Drug Product. The authorization will at all
Coinsurance and/or Copayment after satisfying your                      times be subject to the plan’s terms of coverage for the
Deductible, if any.                                                     Prescription Drug Product, which may change from time to
Contraceptives                                                          time. When your Physician advises you that coverage for the
Additionally, in the event your Physician determines that a             Prescription Drug Product has been approved, you can contact
prescription contraceptive that would be payable at 100% is             a Pharmacy to fill the covered Prescription Order or Refill.
not a medically acceptable alternative for you, the applicable          If the prior authorization request is denied, your Physician and
cost-share for a covered alternative contraceptive will be              you will be notified that coverage for the Prescription Drug
waived. Contact Cigna at the website or phone number on                 Product is not authorized within 72 hours for non-urgent
your ID card.                                                           requests and within 24 hours for exigent requests. If you
Prior Authorization Requirements                                        disagree with a coverage decision, you may appeal that
                                                                        decision in accordance with the provisions of the plan by
Coverage for certain Prescription Drug Products prescribed to           submitting a written request stating why the Prescription Drug
you requires your Physician to obtain prior authorization from          Product should be covered. The appeal provisions, including
Cigna or its Review Organization. The reason for obtaining              the address for submitting an appeal, are outlined in the
prior authorization from Cigna is to determine whether the              “When You Have A Complaint Or An Adverse Determination
Prescription Drug Product is Medically Necessary in                     Appeal” section of your certificate. You may also call
accordance with Cigna's coverage criteria. Coverage criteria            Customer Service at the toll-free number on your
for a Prescription Drug Product may vary based on the clinical          Identification Card if you have questions about the appeal
use for which the Prescription Order or Refill is submitted,            process.
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market        Step Therapy
factors.                                                                Certain Prescription Drug Products are subject to step therapy
If Cigna or its Review Organization reviews the                         requirements. This means that in order to receive benefits for
documentation provided and determines that the Prescription             such Prescription Drug Products you are required to try a
Drug Product is not Medically Necessary or otherwise                    different Prescription Drug Product(s) first unless you satisfy
excluded, your plan will not cover the Prescription Drug                the plan’s exception criteria. You may identify whether a
Product. Cigna, or its Review Organization, will not review             particular Prescription Drug Product is subject to step therapy
claims for excluded Prescription Drug Products or other                 requirements at the website shown on your ID card or by
services to determine if they are Medically Necessary, unless           calling member services at the telephone number on your ID
required by law.                                                        card.In circumstances where you or your Dependent are
                                                                        changing policies, the new policy shall not require a repeat of
When Prescription Drug Products that require prior                      step therapy when the insured is already being treated for a
authorization are dispensed at a Pharmacy, you or your                  medical condition by a Prescription Drug Product that is
prescribing Physician are responsible for obtaining prior               appropriately prescribed and is considered safe and effective.
authorization from Cigna. If you do not obtain prior                    The new policy can impose a prior authorization requirement
authorization from us before the Prescription Drug Product is           for the continued coverage of a Prescription Drug Product
dispensed by the Pharmacy, you can ask us to consider                   prescribed pursuant to step therapy imposed by the former
reimbursement after you pay for and receive the Prescription            policy. A prescribing provider may prescribe another
Drug Product. You will need to pay for the Prescription Drug            Prescription Drug Product covered by the new policy that is
Product at the Pharmacy prior to submitting a reimbursement             medically appropriate for the insured.
request.
                                                                        Supply Limits
                                                                        Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single


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Prescription Order or Refill, you may receive a Prescription               Copayment
Drug Product up to the stated supply limit.                                Your plan requires that you pay a Copayment for covered
Some products are subject to additional supply limits, quantity            Prescription Drug Products as set forth in The Schedule. After
limits or dosage limits based on coverage criteria that have               satisfying any applicable annual Deductible set forth in The
been approved based on consideration of the P&T                            Schedule, your costs under the plan for a covered Prescription
Committee’s clinical findings. Coverage criteria are subject to            Drug Product dispensed by a Network Pharmacy and that is
periodic review and modification. The limit may restrict the               subject to a Copayment requirement will be the lowest of the
amount dispensed per Prescription Order or Refill and/or the               following amounts:
amount dispensed per month's supply, or may require that a                    the Copayment for the Prescription Drug Product set forth
minimum amount be dispensed.                                                   in The Schedule; or
You may determine whether a Prescription Drug Product has                     the Prescription Drug Charge; or
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by                        the Network Pharmacy’s submitted Usual and Customary
calling member services at the telephone number on your ID                     (U&C) Charge, if any.
card.                                                                      When a treatment regimen contains more than one type of
FDA-approved, self-administered hormonal contraceptives                    Prescription Drug Products that are packaged together for your
will be covered for up to a 12-month supply when dispensed at              or your Dependent's convenience, any applicable Copayment
one time.                                                                  or Coinsurance may apply to each Prescription Drug Product.
Specialty Prescription Drug Products                                       You will need to obtain prior approval from Cigna or its
                                                                           Review Organization for any Prescription Drug Product not
Benefits are provided for Specialty Prescription Drug                      listed on the Prescription Drug List that is not otherwise
Products.                                                                  excluded. If Cigna or its Review Organization approves
New Prescription Drug Products                                             coverage for the Prescription Drug Product because it meets
The Business Decision Team may or may not place a New                      the applicable coverage exception criteria, the Prescription
Prescription Drug Product on a Prescription Drug List tier                 Drug Product shall be covered at the applicable coverage tier
upon its market entry. The Business Decision Team will use                 as set forth in The Schedule.
reasonable efforts to make a tier placement decision for a New             The amount you or your Dependent pays for any excluded
Prescription Drug Product within six months of its market                  Prescription Drug Product or other product or service will not
availability. The Business Decision Team’s tier placement                  be included in calculating any applicable plan Out-of-Pocket
decision shall be based on consideration of, without limitation,           Maximum. You are responsible for paying 100% of the cost
the P&T Committee’s clinical review of the New Prescription                (the amount the Pharmacy charges you) for any excluded
Drug Product and economic factors. If a New Prescription                   Prescription Drug Product or other product.
Drug Product not listed on the Prescription Drug List is
approved by Cigna or its Review Organization as Medically
                                                                           HC-PHR272                                                   01-19
Necessary in the interim, the New Prescription Drug Product
                                                                                                                                           V2
shall be covered at the applicable coverage tier as set forth in
The Schedule.

                                                                           Exclusions
HC-PHR150                                                     01-20
                                                                V1         Coverage exclusions listed under the “Exclusions, Expenses
                                                                           Not Covered and General Limitations” section also apply to
                                                                           benefits for Prescription Drug Products. In addition, the
                                                                           exclusions listed below apply to benefits for Prescription Drug
Your Payments                                                              Products. When an exclusion or limitation applies to only
Covered Prescription Drug Products purchased at a Pharmacy                 certain Prescription Drug Products, you can access the
are subject to any applicable Deductible, Copayments or                    Prescription Drug List through the website shown on your ID
Coinsurance shown in The Schedule, as well as any                          card or call member services at the telephone number on your
limitations or exclusions set forth in this plan. Please refer to          ID card for information on which Prescription Drug Products
The Schedule for any required Copayments, Coinsurance,                     are excluded.
Deductibles or Out-of-Pocket Maximums.                                        coverage for Prescription Drug Products for the amount
                                                                               dispensed (days' supply) which exceeds the applicable
                                                                               supply limit, or is less than any applicable supply minimum


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    set forth in The Schedule, or which exceeds quantity limit(s)              certain Prescription Drug Products that are a Therapeutic
    or dosage limit(s) set by the P&T Committee.                                Equivalent or Therapeutic Alternative to an over-the-
   more than one Prescription Order or Refill for a given                      counter drug(s), or are available in over-the-counter form.
    prescription supply period for the same Prescription Drug                   Such coverage determinations may be made periodically,
    Product prescribed by one or more Physicians and                            and benefits for a Prescription Drug Product that was
    dispensed by one or more Pharmacies.                                        previously excluded under this provision may be reinstated
                                                                                at any time.
   Prescription Drug Products dispensed outside the
    jurisdiction of the United States, except as required for                  any product for which the primary use is a source of
    emergency or Urgent Care treatment.                                         nutrition, nutritional supplements, or dietary management of
                                                                                disease, even when used for the treatment of Sickness or
   Prescription Drug Products which are prescribed, dispensed                  Injury, unless coverage for such product(s) is required by
    or intended to be taken by or administered to you while you                 federal or state law.
    are a patient in a licensed Hospital, Skilled Nursing Facility,
    rest home, rehabilitation facility, or similar institution which           immunization agents, biological products for allergy
    operates on its premises or allows to be operated on its                    immunization, biological sera, blood, blood plasma and
    premises a facility for dispensing pharmaceutical products.                 other blood products or fractions and medications used for
                                                                                travel prophylaxis unless specifically identified on the
   Prescription Drug Products furnished by the local, state or                 Prescription Drug List.
    federal government (except for a Network Pharmacy owned
    or operated by a local, state or federal government).                      smoking cessation medications except those required by
                                                                                federal law to be covered as Preventive Care Medications.
   any product dispensed for the purpose of appetite
    suppression (anorectics) or weight loss.                                   certain Prescription Drug Products that are a Therapeutic
                                                                                Equivalent or Therapeutic Alternative to another covered
   prescription and non-prescription supplies other than                       Prescription Drug Product(s). Such coverage determinations
    supplies covered as Prescription Drug Products.                             may be made periodically, and benefits for a Prescription
   vitamins, except prenatal vitamins that require a                           Drug Product that was previously excluded under this
    Prescription Order or Refill, unless coverage for such                      provision may be reinstated at any time.
    product(s) is required by federal or state law.                            medications that are experimental, investigational, or
   medications used for cosmetic purposes, including, without                  unproven as described under the “General Exclusion and
    limitation, medications used to reduce wrinkles,                            Limitations” section of your plan’s certificate.
    medications used to promote hair growth, or medications
    used to control perspiration and fade cream products.
                                                                            HC-PHR416                                                    01-20
   Prescription Drug Products as a replacement for a                                                                                        V1
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.
   Medical Pharmaceuticals covered solely under the plan’s
                                                                            Reimbursement/Filing a Claim
    medical benefits.
                                                                            Retail Pharmacy
   Prescription Drug Products used for the treatment of male or
    female sexual dysfunction, including, but not limited to                When you or your Dependents purchase your Prescription
    erectile dysfunction, delayed ejaculation, anorgasmy,                   Drug Products through a Network Pharmacy, you pay any
    hypoactive sexual desire disorder and decreased libido.                 applicable Copayment, Coinsurance, or Deductible shown in
                                                                            The Schedule at the time of purchase. You do not need to file
   any ingredient(s) in a compounded Prescription Drug
                                                                            a claim form for a Prescription Drug Product obtained at a
    Product that has not been approved by the U.S. Food and
                                                                            Network Pharmacy unless you pay the full cost of a
    Drug Administration (FDA), and do not meet the definition
                                                                            Prescription Drug Product at a Network Pharmacy and later
    of a Part D eligible drug.
                                                                            seek reimbursement for the Prescription Drug Product under
   medications available over-the-counter that do not require a            the plan. For example, if you must pay the full cost of a
    Prescription Order or Refill by federal or state law before             Prescription Drug Product to the retail Network Pharmacy
    being dispensed, unless state or federal law requires                   because you did not have your ID card, then you must submit
    coverage of such medications or the over-the-counter                    a claim to Cigna for any reimbursement or benefit you believe
    medication has been designated as eligible for coverage as if           is due to you under this plan. If, under this example, your
    it were a Prescription Drug Product.                                    payment to the retail Network Pharmacy for the covered
                                                                            Prescription Drug Product exceeds any applicable copay, then



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you will be reimbursed the difference, if any, between the                       accumulation toward any plan Deductible or Out-of-Pocket
applicable copay and the Prescription Drug Charge for the                        Maximum the value of any coupon applied to any
Prescription Drug Product.                                                       Copayment, Deductible and/or Coinsurance you are
                                                                                 required to pay.
HC-PHR273                                                       01-19
                                                                                charges arising out of or relating to any violation of a
                                                                  V2
                                                                                 healthcare-related state or federal law or which themselves
                                                                                 are a violation of a healthcare-related state or federal law.
                                                                                assistance in the activities of daily living, including but not
                                                                                 limited to eating, bathing, dressing or other Custodial
Exclusions, Expenses Not Covered and                                             Services or self-care activities, homemaker services and
General Limitations                                                              services primarily for rest, domiciliary or convalescent care.
Exclusions and Expenses Not Covered                                             for or in connection with experimental, investigational or
                                                                                 unproven services.
Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, substance use
                                                                                 disorder or other health care technologies, supplies,
 care for health conditions that are required by state or local
                                                                                 treatments, procedures, drug or Biologic therapies or
  law to be treated in a public facility.
                                                                                 devices that are determined by the utilization review
   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                  not approved by the U.S. Food and Drug Administration
   treatment of an Injury or Sickness which is due to war,                        (FDA) or other appropriate regulatory agency to be
    declared, or undeclared.                                                       lawfully marketed;
   charges which you are not obligated to pay or for which you                   not demonstrated, through existing peer-reviewed,
    are not billed or for which you would not have been billed                     evidence-based, scientific literature to be safe and
    except that they were covered under this plan. For example,                    effective for treating or diagnosing the condition or
    if Cigna determines that a provider or Pharmacy is or has                      Sickness for which its use is proposed;
    waived, reduced, or forgiven any portion of its charges
                                                                                  the subject of review or approval by an Institutional
    and/or any portion of Copayment, Deductible, and/or
                                                                                   Review Board for the proposed use except as provided in
    Coinsurance amount(s) you are required to pay for a
                                                                                   the “Clinical Trials” sections of this plan; or
    Covered Expense (as shown on The Schedule) without
    Cigna's express consent, then Cigna shall have the right to                   the subject of an ongoing phase I, II, or III clinical trial,
    deny the payment of benefits in connection with the                            except for routine patient care costs related to qualified
    Covered Expense, or reduce the benefits in proportion to the                   clinical trials as provided in the “Clinical Trials” sections
    amount of the Copayment, Deductible, and/or Coinsurance                        of this plan.
    amounts waived, forgiven or reduced, regardless of whether                   In determining whether any such technologies, supplies,
    the provider or Pharmacy represents that you remain                          treatments, drug or Biologic therapies, or devices are
    responsible for any amounts that your plan does not cover.                   experimental, investigational, and/or unproven, the
    Cigna shall have the right to require you to provide proof                   utilization review Physician may rely on the clinical
    sufficient to Cigna that you have made your required cost                    coverage policies maintained by Cigna or the Review
    share payment(s) prior to the payment of any benefits by                     Organization. Clinical coverage policies may incorporate,
    Cigna. This exclusion includes, but is not limited to, charges               without limitation and as applicable, criteria relating to U.S.
    of a non-Participating Provider who has agreed to charge                     Food and Drug Administration-approved labeling, the
    you or charged you at an In-Network benefits level or some                   standard medical reference compendia and peer-reviewed,
    other benefits level not otherwise applicable to the services                evidence-based scientific literature or guidelines. The plan
    received. Provided further, if you use a coupon provided by                  or policy shall not deny coverage for a drug or Biologic
    a pharmaceutical manufacturer or other third party that                      therapy as experimental, investigational and unproven if the
    discounts the cost of a prescription medication or other                     drug or Biologic therapy is otherwise approved by the FDA
    product, Cigna may, in its sole discretion, reduce the                       to be lawfully marketed, has not been contraindicated by the
    benefits provided under the plan in proportion to the amount                 FDA for the use for which the drug or Biologic has been
    of the Copayment, Deductible, and/or Coinsurance amounts                     prescribed, and is recognized as safe and effective for the
    to which the value of the coupon has been applied by the                     treatment of cancer in any of the standard reference
    Pharmacy or other third party, and/or exclude from                           compendia: (A) The American Hospital Formulary Service's


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    Drug Information, (B) One of the following compendia if                   required for health reasons including, but not limited to,
    recognized by the federal Centers for Medicare and                        employment, insurance or government licenses, and court-
    Medicaid Services as part of an anticancer                                ordered, forensic or custodial evaluations.
    chemotherapeutic regimen: (i). The Elsevier Gold                         court-ordered treatment or hospitalization, unless such
    Standard's Clinical Pharmacology; (ii) The National                       treatment is prescribed by a Physician and listed as covered
    Comprehensive Cancer Network Drug and Biologics                           in this plan.
    compendium; (iii) The Thomson Micromedix DrugDex, (C)
    two articles from major peer-reviewed medical journals that              any services or supplies for the treatment of male or female
    that present data supporting the proposed off-label use or                sexual dysfunction such as, but not limited to, treatment of
    uses as generally safe and effective unless there is clear and            erectile dysfunction (including penile implants), anorgasmy,
    convincing contradictory evidence presented in a major                    and premature ejaculation.
    peer-reviewed medical journal.                                           medical and Hospital care and costs for the infant child of a
   cosmetic surgery and therapies. Cosmetic surgery or therapy               Dependent, unless this infant child is otherwise eligible
    is defined as surgery or therapy performed to improve or                  under this plan.
    alter appearance or self-esteem or to treat psychological                non-medical counseling and/or ancillary services including,
    symptomatology or psychosocial complaints related to                      but not limited to, Custodial Services, educational services,
    one’s appearance. Cosmetic surgery and therapy does not                   vocational counseling, training and rehabilitation services,
    include gender reassignment services.                                     behavioral training (other than behavioral training services
   the following services are excluded from coverage                         for pervasive developmental disorder or autism),
    regardless of clinical indications: macromastia or                        biofeedback, neurofeedback, hypnosis, sleep therapy, return
    gynecomastia surgeries; surgical treatment of varicose                    to work services, work hardening programs, and driver
    veins; abdominoplasty; panniculectomy; rhinoplasty;                       safety courses.
    blepharoplasty; redundant skin surgery; removal of skin                  consumable medical supplies other than ostomy supplies
    tags; acupressure; craniosacral/cranial therapy; dance                    and urinary catheters. Excluded supplies include, but are not
    therapy; movement therapy; applied kinesiology; rolfing;                  limited to bandages and other disposable medical supplies,
    prolotherapy; and extracorporeal shock wave lithotripsy                   skin preparations and test strips, except as specified in the
    (ESWL) for musculoskeletal and orthopedic conditions.                     “Home Health Care Services” or “Breast Reconstruction
   dental treatment of the teeth, gums or structures directly                and Breast Prostheses” sections of this plan.
    supporting the teeth, including dental X-rays, examinations,             private Hospital rooms and/or private duty nursing except as
    repairs, orthodontics (unless services are an integral part of            provided under the Home Health Services provision.
    reconstructive surgery for Cleft Palate), periodontics, casts,           personal or comfort items such as personal care kits
    splints and services for dental malocclusion, for any                     provided on admission to a Hospital, television, telephone,
    condition. However, facility charges and charges for general              newborn infant photographs, complimentary meals, birth
    anesthesia or deep sedation which cannot be administered in               announcements, and other articles which are not for the
    a dental office are covered when Medically Necessary.                     specific treatment of an Injury or Sickness.
    Charges made for services or supplies provided for or in
                                                                             artificial aids including, but not limited to, corrective
    connection with an accidental Injury to teeth are also
                                                                              orthopedic shoes, arch supports, elastic stockings, garter
    covered provided a continuous course of dental treatment is
                                                                              belts, corsets, dentures and wigs.
    started within six months of an accident.
                                                                             aids or devices that assist with non-verbal communications,
   medical and surgical services, initial and repeat, intended
    for the treatment or control of obesity, except for treatment             including but not limited to communication boards, pre-
    of clinically severe (morbid) obesity as shown in Covered                 recorded speech devices, laptop computers, desktop
                                                                              computers, Personal Digital Assistants (PDAs), Braille
    Expenses, including: medical and surgical services to alter
                                                                              typewriters, visual alert systems for the deaf and memory
    appearance or physical changes that are the result of any
                                                                              books.
    surgery performed for the management of obesity or
    clinically severe (morbid) obesity; and weight loss programs             corrective lenses and associated services (prescription
    or treatments, whether prescribed or recommended by a                     exams and fittings), including eyeglass lenses and frames
    Physician or under medical supervision. This does not apply               and contact lenses, except for the first pair of corrective
    to obesity screening and counseling as outlined in the US                 lenses, or the first set of eyeglass lenses and frames and
    Preventive Services Task Force.                                           associated services for treatment of keratoconus or
                                                                              following cataract surgery.
   unless otherwise covered in this plan, for reports,
    evaluations, physical examinations, or hospitalization not


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   routine refractions, eye exercises and surgical treatment for           certain Medical Pharmaceuticals that are a Therapeutic
    the correction of a refractive error, including radial                   Equivalent or Therapeutic Alternative to another covered
    keratotomy.                                                              Medical Pharmaceutical(s) and is administered in
   treatment by acupuncture.                                                connection with a covered service rendered in an inpatient,
                                                                             outpatient, Physician’s office or home health care setting.
   all non-injectable prescription drugs unless Physician                   Such determinations may be made periodically, and benefits
    administration or oversight is required, injectable                      for a Medical Pharmaceutical that was previously excluded
    prescription drugs to the extent they do not require                     under this provision may be reinstated at any time.
    Physician supervision and are typically considered self-
    administered drugs, non-prescription drugs, and                      General Limitations
    investigational and experimental drugs, except as provided           No payment will be made for expenses incurred for you or any
    in this plan.                                                        one of your Dependents:
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered.
                                                                            to the extent that payment is unlawful where the person
   membership costs or fees associated with health clubs,                   resides when the expenses are incurred.
    weight loss programs and smoking cessation programs. This
                                                                            for charges which would not have been made if the person
    does not apply to in-person and telephonic behavioral
                                                                             had no insurance.
    tobacco cessation counseling.
                                                                            to the extent that they are more than Maximum
   for a diagnosis other than pervasive developmental disorder
                                                                             Reimbursable Charges applicable to care, if any, received
    or autism, the following exclusions apply - genetic
                                                                             Out-of-Network (for example, emergency care).
    screening or pre-implantations genetic screening. General
    population-based genetic screening is a testing method                  to the extent of the exclusions imposed by any certification
    performed in the absence of any symptoms or any                          requirement shown in this plan.
    significant, proven risk factors for genetically linked                 expenses for supplies, care, treatment, or surgery that are
    inheritable disease.                                                     not Medically Necessary.
   dental implants for any condition unless services are an                charges made by any covered provider who is a member of
    integral part of reconstructive surgery for Cleft Palate.                your family or your Dependent's family.
   fees associated with the collection or donation of blood or             expenses incurred outside the United States other than
    blood products, except for autologous donation in                        expenses for Medically Necessary urgent or emergent care
    anticipation of scheduled services where in the utilization              while temporarily traveling abroad.
    review Physician’s opinion the likelihood of excess blood
    loss is such that transfusion is an expected adjunct to
    surgery.                                                             HC-EXC414                                                         01-20
                                                                                                                                             V2
   blood administration for the purpose of general
    improvement in physical condition.
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational        Coordination of Benefits
    hazards and risks.                                                   This section applies if you or any one of your Dependents is
   cosmetics, dietary supplements and health and beauty aids.           covered under more than one Plan and determines how
                                                                         benefits payable from all such Plans will be coordinated. You
   enteral feedings, supplies and specialty formulated medical
                                                                         should file all claims with each Plan.
    foods that are prescribed and non-prescribed, except for
    infant formula needed for the treatment of inborn errors of
    metabolism.
   for services related to an Injury or Sickness paid under
    workers’ compensation, occupational disease or similar
    laws.
   massage therapy.




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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an Employee
each service is the Allowable Expense and is a paid benefit.               shall be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or Employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active Employee (or as that              recorded for you to pay up to 100% of the total of all
    Employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired Employee (or as             Period, your benefit reserve will return to zero and a new
    that Employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    Employee or retiree (or as that Employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 90 days of the request, the claim will be
Effect on the Benefits of This Plan                                         denied. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent is covered under this              Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31 st month,                  For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB224                                                       01-19

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent; (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of                 adult Participant without the prior express written consent
    having caused or contributed to an Injury or Sickness.                    of the plan. The plan’s right to recover shall apply to
   Expenses incurred by a Participant to the extent any                      decedents’, minors’, and incompetent or disabled persons’
    payment is received for them either directly or indirectly                settlements or recoveries.
    from a third party tortfeasor or as a result of a settlement,            No Participant shall make any settlement, which specifically
    judgment or arbitration award in connection with any                      reduces or excludes, or attempts to reduce or exclude, the
    automobile medical, automobile no-fault, uninsured or                     benefits provided by the plan.
    underinsured motorist, homeowners, workers'                              The plan’s right of recovery shall be a prior lien against any
    compensation, government insurance (other than Medicaid),                 proceeds recovered by the Participant. This right of
    or similar type of insurance or coverage.                                 recovery shall not be defeated nor reduced by the
Subrogation/Right of Reimbursement                                            application of any so-called “Made-Whole Doctrine”,
If a Participant incurs a Covered Expense for which, in the                   “Rimes Doctrine”, or any other such doctrine purporting to
opinion of the plan or its claim administrator, another party                 defeat the plan’s recovery rights by allocating the proceeds
may be responsible or for which the Participant may receive                   exclusively to non-medical expense damages.
payment as described above:                                                  No Participant hereunder shall incur any expenses on behalf
   Subrogation: The plan shall, to the extent permitted by law,              of the plan in pursuit of the plan’s rights hereunder,
    be subrogated to all rights, claims or interests that a                   specifically; no court costs, attorneys' fees or other
    Participant may have against such party and shall                         representatives' fees may be deducted from the plan’s
    automatically have a lien upon the proceeds of any recovery               recovery without the prior express written consent of the
    by a Participant from such party to the extent of any benefits            plan. This right shall not be defeated by any so-called “Fund
    paid under the plan. A Participant or his/her representative              Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    shall execute such documents as may be required to secure                 Doctrine”.
    the plan’s subrogation rights.                                           The plan shall recover the full amount of benefits provided
   Right of Reimbursement: The plan is also granted a right of               hereunder without regard to any claim of fault on the part of
    reimbursement from the proceeds of any recovery whether                   any Participant, whether under comparative negligence or
    by settlement, judgment, or otherwise. This right of                      otherwise.
    reimbursement is cumulative with and not exclusive of the                In the event that a Participant shall fail or refuse to honor its
    subrogation right granted in paragraph 1, but only to the                 obligations hereunder, then the plan shall be entitled to
    extent of the benefits provided by the plan.                              recover any costs incurred in enforcing the terms hereof
Lien of the Plan                                                              including, but not limited to, attorney’s fees, litigation, court
                                                                              costs, and other expenses. The plan shall also be entitled to
By accepting benefits under this plan, a Participant:                         offset the reimbursement obligation against any entitlement
   grants a lien and assigns to the plan an amount equal to the              to future medical benefits hereunder until the Participant has
    benefits paid under the plan against any recovery made by                 fully complied with his reimbursement obligations
    or on behalf of the Participant which is binding on any                   hereunder, regardless of how those future medical benefits
    attorney or other party who represents the Participant                    are incurred.
    whether or not an agent of the Participant or of any                     Any reference to state law in any other provision of this
    insurance company or other financially responsible party                  plan shall not be applicable to this provision, if the plan is
    against whom a Participant may have a claim provided said                 governed by ERISA. By acceptance of benefits under the
    attorney, insurance carrier or other party has been notified              plan, the Participant agrees that a breach hereof would cause
    by the plan or its agents;                                                irreparable and substantial harm and that no adequate
   agrees that this lien shall constitute a charge against the               remedy at law would exist. Further, the Plan shall be
    proceeds of any recovery and the plan shall be entitled to                entitled to invoke such equitable remedies as may be
    assert a security interest thereon;                                       necessary to enforce the terms of the plan, including, but not
   agrees to hold the proceeds of any recovery in trust for the              limited to, specific performance, restitution, the imposition
    benefit of the plan to the extent of any payment made by the              of an equitable lien and/or constructive trust, as well as
    plan.                                                                     injunctive relief.
Additional Terms
 No adult Participant hereunder may assign any rights that it            HC-SUB1                                                            V1

  may have to recover medical expenses from any third party
  or other person or entity to any minor Dependent of said


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Payment of Benefits                                                     Recovery of Overpayment
Assignment and Payment of Benefits                                      When an overpayment has been made by Cigna, Cigna will
                                                                        have the right at any time to: recover that overpayment from
You may not assign to any party, including, but not limited to,         the person to whom or on whose behalf it was made; or offset
a provider of healthcare services/items, your right to benefits         the amount of that overpayment from a future claim payment.
under this plan, nor may you assign any administrative,
statutory, or legal rights or causes of action you may have
under ERISA, including, but not limited to, any right to make           HC-POB143                                                     01-19

a claim for plan benefits, to request plan or other documents,
to file appeals of denied claims or grievances, or to file
lawsuits under ERISA. Any attempt to assign such rights shall
be void and unenforceable under all circumstances.
                                                                        Termination Of Insurance
You may, however, authorize Cigna to pay any healthcare
benefits under this policy to a Participating or non-
                                                                        Employees
Participating Provider. When you authorize the payment of               Your insurance will cease on the earliest date below:
your healthcare benefits to a Participating or non-Participating           the date you cease to be in a Class of Eligible Employees or
Provider, you authorize the payment of the entire amount of                 cease to qualify for the insurance.
the benefits due on that claim. If a provider is overpaid
                                                                           the last day for which you have made any required
because of accepting duplicate payments from you and Cigna,
                                                                            contribution for the insurance.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              the date the policy is canceled.
Covered Expenses directly to a Participating Provider without              the last day of the calendar month in which your Active
your authorization. You may not interpret or rely upon this                 Service ends except as described below.
discrete authorization or permission to pay any healthcare              Any continuation of insurance must be based on a plan which
benefits to a Participating or non-Participating Provider as the        precludes individual selection.
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare
services/items.                                                         Injury or Sickness
Even if the payment of healthcare benefits to a non-                    If your Active Service ends due to an Injury or Sickness, your
Participating Provider has been authorized by you, Cigna may,           insurance will be continued while you remain totally and
at its option, make payment of benefits to you. When benefits           continuously disabled as a result of the Injury or Sickness.
are paid to you, you or your Dependents are responsible for             However, your insurance will not continue past the date your
reimbursing the non-Participating Provider.                             Employer stops paying premium for you or otherwise cancels
Ambulance benefits will be paid directly to the provider of the         your insurance.
ambulance service.
If any person to whom benefits are payable is a minor or, in            Dependents
the opinion of Cigna is not able to give a valid receipt for any        Your insurance for all of your Dependents will cease on the
payment due him, such payment will be made to his legal                 earliest date below:
guardian. If no request for payment has been made by his legal             the date your insurance ceases.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody                the date you cease to be eligible for Dependent Insurance.
and support.                                                               the last day for which you have made any required
When one of our participants passes away, Cigna may receive                 contribution for the insurance.
notice that an executor of the estate has been established. The            the date Dependent Insurance is canceled.
executor has the same rights as our insured and benefit                 The insurance for any one of your Dependents will cease on
payments for unassigned claims should be made payable to the            the date that Dependent no longer qualifies as a Dependent.
executor.
Payment as described above will release Cigna from all
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liability to the extent of any payment made.




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Continuation of Coverage Under Cal-COBRA                                   a Dependent child ceasing to qualify as an eligible
                                                                            Dependent under the plan.
Please examine your options carefully before declining this
coverage. You should be aware that companies selling                    Notification Requirements
individual health insurance typically require a review of               The Employer will notify Cigna (or an administrator acting on
your medical history that could result in a higher premium              Cigna's behalf) in writing, of termination or reduction of hours
or you could be denied coverage entirely.                               with respect to any Employee who is employed by the
Employer groups with 20 or more Employees                               Employer, within 30 days of the date of the qualifying event.
                                                                        You may be disqualified from receiving Cal-COBRA
You and your Dependents may elect to continue health
                                                                        continuation coverage if your Employer does not provide the
coverage after you have exhausted continuation coverage
                                                                        required written notification to Cigna (or an administrator
under COBRA. Cal-COBRA is not applicable to Domestic
                                                                        acting on Cigna's behalf).
Partners and their Dependents or to stepchildren. This
continuation coverage (Cal-COBRA) will be provided for up               The Employer shall also notify Cigna (or an administrator
to 36 months from the date your COBRA continuation                      acting on Cigna's behalf) in writing, within 30 days of the
coverage began, if you are entitled to less than 36 months of           date, when the Employer becomes subject to Section 4980B of
continuation coverage under COBRA.                                      the United States Internal Revenue Code or Chapter 18 of the
                                                                        Employee Retirement Income Security Act, 29 U.S.C. Sec.
Employer groups with less than 20 Employees
                                                                        1161 et seq., or when the Employer becomes subject to federal
This Continuation applies to you and your Dependents if your            COBRA requirements.
Employer is subject to Cal-COBRA law. Domestic Partners
                                                                        To be eligible for continuation coverage, for one of the
and stepchildren will not be eligible for Cal-COBRA
                                                                        Qualifying Event(s) you or your Dependent must notify Cigna
independent from the Employee. Cal-COBRA law applies to                 (or an administrator acting on Cigna's behalf) in writing of
any small Employer that employed 2 to 19 eligible Employees             such Qualifying Event within 60 days after the event occurs.
on at least 50 percent of its working days during the preceding
calendar year, or, if the Employer was not in business during           If you or your Dependent do not notify Cigna (or an
any part of the preceding calendar year, employed 2 to 19               administrator acting on Cigna's behalf) in writing within 60
eligible Employees on at least 50 percent of its working days           days of the Qualifying Event(s), you will be disqualified from
during the preceding calendar quarter. This continuation                receiving Cal-COBRA continuation coverage.
coverage will be provided for up to 36 months from the date             Once notified of the Qualifying Event, Cigna (or an
of the Qualifying Event.                                                administrator acting on Cigna’s behalf) will send you or your
Notice Requirements                                                     Dependent the necessary benefit information, premium
                                                                        information, enrollment form and notice requirements within
Under the requirements of Cal-COBRA, an Employer must                   14 days after receiving notification of the Qualifying Event
give notice to its Employees and Dependents the right to                from the Employer, you or your Dependent. The information
continue their group health care benefits. A person who would           shall be sent to the qualified beneficiary’s last known address.
otherwise lose coverage as a result of a Qualifying Event is            Notice of the right to continue coverage to your spouse will be
generally entitled to continue the same benefits that were in           deemed notice to any Dependent child residing with your
effect the day before the date of the qualifying event.                 spouse.
Coverage may be continued under Cal-COBRA only if the
required premiums are paid when due and will be subject to              Formal Election
future plan changes.                                                    To continue group coverage under Cal-COBRA you must
Qualifying Events for Continuation of Cal-COBRA                         make a formal election by submitting a written request to
Coverage                                                                Cigna (or an administrator acting on Cigna’s behalf) at: Cigna,
                                                                        Attn: State Continuation Unit, P.O. Box 2010, Concord, NH
A Qualifying Event is any of the following:                             03302. For questions, call 1-800-315-6011.
   termination of the Employee’s employment (other than for            The written request must be delivered by first-class mail,
    gross misconduct) or reduction of hours worked so as to             certified mail or other reliable means of delivery within 60
    render the Employee ineligible for coverage;                        days of the later of the following dates:
   death of the Employee;                                                 the date of the Qualifying Event;
   divorce or legal separation of the Employee from his or her            the date the qualified beneficiary receives notice of the
    spouse;                                                                 ability to continue group coverage as provided above; or
   with respect to Dependents only, the loss of coverage due to
    the Employee becoming entitled to Medicare;


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   the date coverage under the Employer's health plan                        the qualified beneficiary moves out of the service area or
    terminates or will terminate by reason of the Qualifying                   the qualified beneficiary commits fraud or deception in the
    Event.                                                                     use of services.
If a formal election is not received by Cigna (or an                       Continuation of Coverage for Totally Disabled Individuals
administrator acting on Cigna's behalf) within this time period,           A qualified beneficiary who is eligible for continuation
you or your Dependent will not receive Cal-COBRA benefits.                 coverage due to termination of the Employee's employment
Cal-COBRA Premium Payments                                                 (other than for gross misconduct) or reduction of hours
To complete the election process, you must make the first                  worked so as to render the Employee ineligible for coverage
required premium payment no more than 45 days after                        and who is totally disabled under the Social Security Act
submitting your completed application to Cigna (or an                      during the first 60 days of continuation coverage is entitled to
administrator acting on Cigna's behalf). All subsequent                    a maximum period of 36 months after the date the qualified
premiums will be due on a monthly basis. Your first premium                beneficiary’s benefits under the contract would otherwise have
payment should be delivered to Cigna (or an administrator                  terminated because of a Qualifying Event. The Employee or
acting on Cigna's behalf) at Cigna, Attn: State Continuation               Dependent must provide Cigna (or an administrator acting on
Unit, P.O. Box 2010, Concord, NH 03302 by first-class mail,                Cigna’s behalf) with a copy of the Social Security
certified mail, or other reliable means of delivery. The first             Administration’s determination of total disability within 60
premium payment must satisfy any required premiums and all                 days of the date of the determination letter and prior to the end
premiums due. Failure to submit the correct premium amount                 of the original 36 month continuation coverage period in order
within the 45 day period will disqualify the qualified                     to be eligible for coverage pursuant to this paragraph. If the
beneficiary from receiving Cal-COBRA coverage. There is a                  qualified beneficiary is no longer disabled under the Social
30 day grace period to pay subsequent premiums. If the                     Security Act, the benefits provided in this paragraph shall
premium is not paid before the expiration of the grace period,             terminate on the later of 36 months after the date the qualified
Cal-COBRA continuation benefits will terminate at midnight                 beneficiary’s benefits under the policy would otherwise have
at the end of the period for which premium payments were                   terminated because of a Qualifying Event, or the month that
made.                                                                      begins more than 31 days after the date of the final
                                                                           determination under Social Security Act that the qualified
If elected, the maximum period of continuation coverage for a              beneficiary is no longer disabled. The qualified beneficiary
Qualifying Event is 36 months from the date the qualified                  eligible for 36 months of continuation coverage as a result of a
beneficiary’s benefits under the policy would have otherwise               disability shall notify Cigna (or an administrator acting on
terminated because of the Qualifying Event.                                Cigna’s behalf) within 30 days of a determination that the
Other events will cause Cal-COBRA benefits to end sooner                   qualified beneficiary is no longer disabled.
and this will occur on the earliest of any of the following:               Continuation of Coverage Upon Termination of Prior
   the date the Employer ceases to provide any group health               Group Health Plan
    plan to any Employee;                                                  The Employer shall notify qualified beneficiaries currently
   the end of the period for which premium payments were                  receiving continuation coverage, whose continuation coverage
    made, if the qualified beneficiary ceases to make payments             will terminate under one group benefit plan prior to the end of
    or fails to make timely payments of a required premium, in             the period the qualified beneficiary would have remained
    accordance with the terms and conditions of the policy;                covered as specified above, of the qualified beneficiary’s
   the first day after the date of election on which the qualified        ability to continue coverage under a new group benefit plan
    beneficiary first becomes covered under any other group                for the balance of the period the qualified beneficiary would
    health plan which does not contain any exclusions or                   have remained covered under the prior group benefit plan.
    limitations with respect to any pre-existing condition for             This notice shall be provided either 30 days prior to the
    such person; or the date such exclusion or limitation no               termination or when all enrolled Employees are notified,
    longer applies to the Employee or Dependent;                           whichever is later.
   the first day after the date of election on which the qualified        Cigna (or an administrator acting on Cigna's behalf) shall
    beneficiary first becomes entitled to Medicare;                        provide to the Employer replacing a health plan contract
                                                                           issued by Cigna, or to the Employer’s agent or broker
   the coverage for a qualified beneficiary that is determined to
                                                                           representative, within 15 days of any written request,
    be disabled under the Social Security Act will terminate as
                                                                           information in possession of Cigna reasonably required to
    described below;
                                                                           administer the notification requirements of this Notification
                                                                           section.



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The Employer shall notify the successor plan in writing of the            Medical Benefits Extension
qualified beneficiaries currently receiving continuation
coverage so that the successor plan, or contracting Employer              Upon Policy Cancellation
or administrator, may provide those qualified beneficiaries               If the Medical Benefits under this plan cease for you or your
with the necessary premium information, enrollment forms,                 Dependent due to cancellation of the policy, and you or your
and instructions consistent with the disclosure required by this          Dependent is Totally Disabled on that date due to an Injury or
Notification section to allow the qualified beneficiary to                Sickness, Medical Benefits will be paid without requirement
continue coverage. This information shall be sent to all                  of premium for Covered Expenses incurred in connection with
qualified beneficiaries who are enrolled in the plan and those            that Injury or Sickness. However, no benefits will be paid after
qualified beneficiaries who have been notified as specified in            the earliest of:
this Cal-COBRA section of their ability to continue their                    the date you exceed the Maximum Benefit, if any, shown in
coverage and may still elect coverage within the specified 60                 the Schedule;
day period. This information shall be sent to the qualified
beneficiary’s last known address, as provided to the Employer                the date you are covered for medical benefits under another
by Cigna (or an administrator acting on Cigna's behalf),                      group policy;
currently providing continuation coverage to the qualified                   the date you are no longer Totally Disabled;
beneficiary. The successor plan shall not be obligated to                    12 months from the date your Medical Benefits cease;
provide this information to qualified beneficiaries if the
Employer or prior plan fails to comply with this section.                    12 months from the date the policy is canceled.
If the plan provides for a conversion privilege, the plan must            Totally Disabled
offer this option within the 180 days of the end of the                   You will be considered Totally Disabled if, because of an
maximum period. However, no conversion will be provided if                Injury or a Sickness:
the qualified beneficiary does not actually maintain Cal-                    you are unable to perform the basic duties of your
COBRA coverage to the expiration date.                                        occupation; and
IMPORTANT NOTICE – CAL-COBRA BENEFITS WILL                                   you are not performing any other work or engaging in any
ONLY BE ADMINISTERED ACCORDING TO THE                                         other occupation for wage or profit.
TERMS OF THE CONTRACT. CIGNA WILL NOT BE
                                                                          Your Dependent will be considered Totally Disabled if,
OBLIGATED TO ADMINISTER, OR FURNISH, ANY
                                                                          because of an Injury or a Sickness:
CAL-COBRA BENEFITS AFTER THE CONTRACT HAS
TERMINATED.                                                                  he is unable to engage in the normal activities of a person of
                                                                              the same age, sex and ability; or
                                                                             in the case of a Dependent who normally works for wage or
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                                                                              profit, he is not performing such work.
                                                                          The terms of this Medical Benefits Extension will not apply to
                                                                          a child born as a result of a pregnancy which exists when your
Rescissions                                                               or your Dependent's Medical Benefits cease.
Your coverage may not be rescinded (retroactively terminated)
by Cigna or the plan sponsor unless the plan sponsor or an
                                                                          HC-BEX7                                                       04-10
individual (or a person seeking coverage on behalf of the
                                                                                                                                           V1
individual) performs an act, practice or omission that
constitutes fraud; or the plan sponsor or individual (or a
person seeking coverage on behalf of the individual) makes an
intentional misrepresentation of material fact.                           Federal Requirements
                                                                          The following pages explain your rights and responsibilities
HC-TRM80                                                     01-11        under federal laws and regulations. Some states may have
                                                                          similar requirements. If a similar provision appears elsewhere
                                                                          in this booklet, the provision which provides the better benefit
                                                                          will apply.


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Notice of Provider Directory/Networks                                         the order provides a description of the coverage to be
                                                                               provided, or the manner in which the type of coverage is to
Notice Regarding Provider Directories and Provider
                                                                               be determined;
Networks
                                                                              the order states the period to which it applies; and
A list of network providers is available to you without charge
by visiting the website or by calling the phone number on your                if the order is a National Medical Support Notice completed
ID card. The network consists of providers, including                          in accordance with the Child Support Performance and
hospitals, of varied specialties as well as general practice,                  Incentive Act of 1998, such Notice meets the requirements
affiliated or contracted with Cigna or an organization                         above.
contracting on its behalf.                                                 The QMCSO may not require the health insurance policy to
Notice Regarding Pharmacy Directories and Pharmacy                         provide coverage for any type or form of benefit or option not
Networks                                                                   otherwise provided under the policy, except that an order may
                                                                           require a plan to comply with State laws regarding health care
A list of network pharmacies is available to you without
                                                                           coverage.
charge by visiting the website or by calling the phone number
on your ID card. The network consists of pharmacies affiliated             Payment of Benefits
or contracted with Cigna or an organization contracting on its             Any payment of benefits in reimbursement for Covered
behalf.                                                                    Expenses paid by the child, or the child’s custodial parent or
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
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                                                                           address have been substituted for the name and address of the
                                                                           child.

Qualified Medical Child Support Order
                                                                           HC-FED4                                                      10-10
(QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is                      Special Enrollment Rights Under the Health
issued for your child, that child will be eligible for coverage as
                                                                           Insurance Portability & Accountability Act
required by the order and you will not be considered a Late
Entrant for Dependent Insurance.                                           (HIPAA)
You must notify your Employer and elect coverage for that                  If you or your eligible Dependent(s) experience a special
child, and yourself if you are not already enrolled, within 31             enrollment event as described below, you or your eligible
days of the QMCSO being issued.                                            Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
Qualified Medical Child Support Order Defined                              the special enrollment events listed below. If you are already
A Qualified Medical Child Support Order is a judgment,                     enrolled in the Plan, you may request enrollment for you and
decree or order (including approval of a settlement agreement)             your eligible Dependent(s) under a different option offered by
or administrative notice, which is issued pursuant to a state              the Employer for which you are currently eligible. If you are
domestic relations law (including a community property law),               not already enrolled in the Plan, you must request special
or to an administrative process, which provides for child                  enrollment for yourself in addition to your eligible
support or provides for health benefit coverage to such child              Dependent(s). You and all of your eligible Dependent(s) must
and relates to benefits under the group health plan, and                   be covered under the same option. The special enrollment
satisfies all of the following:                                            events include:
   the order recognizes or creates a child’s right to receive                Acquiring a new Dependent. If you acquire a new
    group health benefits for which a participant or beneficiary               Dependent(s) through marriage, birth, adoption or
    is eligible;                                                               placement for adoption, you may request special enrollment
   the order specifies your name and last known address, and                  for any of the following combinations of individuals if not
    the child’s name and last known address, except that the                   already enrolled in the Plan: Employee only; spouse only;
    name and address of an official of a state or political                    Employee and spouse; Dependent child(ren) only;
    subdivision may be substituted for the child’s mailing                     Employee and Dependent child(ren); Employee, spouse and
    address;                                                                   Dependent child(ren). Enrollment of Dependent children is
                                                                               limited to the newborn or adopted children or children who



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    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
                                                                             contributions toward COBRA or other continuation
   Loss of eligibility for other coverage (excluding                        coverage as provided under any severance or other
    continuation coverage). If coverage was declined under                   agreement.
    this Plan due to coverage under another plan, and eligibility
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
                                                                             must request enrollment within 60 days after the date you
     divorce or legal separation;
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
                                                                         Except as stated above, special enrollment must be
      limiting age);                                                     requested within 30 days after the occurrence of the
     death of the Employee;                                             special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
                                                                         be effective immediately on the date of birth, adoption or
     reduction in work hours to below the minimum required
                                                                         placement for adoption. Coverage with regard to any other
      for eligibility;
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work            first day of the first calendar month following receipt of
      in the other plan’s network service area and no other              the request for special enrollment.
      coverage is available under the other plan;
                                                                         Domestic Partners and their children (if not legal children of
     you or your Dependent(s) incur a claim which meets or              the Employee) are not eligible for special enrollment.
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or
                                                                         HC-FED96                                                      04-17
     the other plan no longer offers any benefits to a class of
      similarly situated individuals.
   Termination of Employer contributions (excluding
    continuation coverage). If a current or former Employer              Effect of Section 125 Tax Regulations on This
    ceases all contributions toward the Employee’s or                    Plan
    Dependent’s other coverage, special enrollment may be                Your Employer has chosen to administer this Plan in
    requested in this Plan for you and all of your eligible              accordance with Section 125 regulations of the Internal
    Dependent(s).                                                        Revenue Code. Per this regulation, you may agree to a pretax
   Exhaustion of COBRA or other continuation coverage.                  salary reduction put toward the cost of your benefits.
    Special enrollment may be requested in this Plan for you             Otherwise, you will receive your taxable earnings as cash
    and all of your eligible Dependent(s) upon exhaustion of             (salary).
    COBRA or other continuation coverage. If you or your
    Dependent(s) elect COBRA or other continuation coverage
    following loss of coverage under another plan, the COBRA
    or other continuation coverage must be exhausted before
    any special enrollment rights exist under this Plan. An
    individual is considered to have exhausted COBRA or other


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A. Coverage elections                                                    F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                another employer’s plan
enroll for or change coverage only before each annual benefit            You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                 spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                      Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in          the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change          enrollment periods.
    coverage within the time period established by your
    Employer.                                                            G. Reduction in work hours
B. Change of status                                                      If an Employee’s work hours are reduced below 30
                                                                         hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                        eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a           (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                      Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,               be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                     following the month that includes the date the original
                                                                         coverage is revoked.
   change in employment status of Employee, spouse or
    Dependent due to termination or start of employment,                 H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,        Employee: The Employee must be eligible for a Special
    including under the Family and Medical Leave Act                     Enrollment Period to enroll in a QHP through an Exchange
    (FMLA), or change in worksite;                                       (Marketplace) or the Employee seeks to enroll in a QHP
   changes in employment status of Employee, spouse or                  through an Exchange during the Marketplace’s annual open
    Dependent resulting in eligibility or ineligibility for              enrollment period; and the disenrollment from the group plan
    coverage;                                                            corresponds to the intended enrollment of the Employee (and
                                                                         family) in a QHP through an Exchange for new coverage
   change in residence of Employee, spouse or Dependent to a
                                                                         effective beginning no later than the day immediately
    location outside of the Employer’s network service area;
                                                                         following the last day of the original coverage.
    and
                                                                         Family: A plan may allow an Employee to revoke family
   changes which cause a Dependent to become eligible or                coverage midyear in order for family members (“related
    ineligible for coverage.
                                                                         individuals”) to enroll in a QHP through an Exchange
C. Court order                                                           (Marketplace). The related individual(s) must be eligible for a
A change in coverage due to and consistent with a court order            Special Enrollment Period to enroll in a QHP or seek to enroll
of the Employee or other person to cover a Dependent.                    in a QHP during the Marketplace’s annual open enrollment
                                                                         period, and the disenrollment from the group plan corresponds
D. Medicare or Medicaid eligibility/entitlement
                                                                         to the intended enrollment of the individual(s) in a QHP for
The Employee, spouse or Dependent cancels or reduces                     new coverage effective beginning no later than the day
coverage due to entitlement to Medicare or Medicaid, or                  immediately following the last day of the original coverage. If
enrolls or increases coverage due to loss of Medicare or                 the Employee does not enroll in a QHP, the Employee must
Medicaid eligibility.                                                    select self-only coverage or family coverage including one or
E. Change in cost of coverage                                            more already-covered individuals.
If the cost of benefits increases or decreases during a benefit
period, your Employer may, in accordance with plan terms,                HC-FED111                                                  01-23
automatically change your elective contribution.
When the change in cost is significant, you may either
increase your contribution or elect less-costly coverage. When           Eligibility for Coverage for Adopted Children
a significant overall reduction is made to the benefit option
you have elected, you may elect another available benefit                Any child who is adopted by you, including a child who is
option. When a new benefit option is added, you may change               placed with you for adoption, will be eligible for Dependent
your election to the new benefit option.                                 Insurance, if otherwise eligible as a Dependent, upon the date
                                                                         of placement with you. A child will be considered placed for



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adoption when you become legally obligated to support that                 Group Plan Coverage Instead of Medicaid
child, totally or partially, prior to that child’s adoption.
                                                                           If your income and liquid resources do not exceed certain
If a child placed for adoption is not adopted, all health                  limits established by law, the state may decide to pay
coverage ceases when the placement ends, and will not be                   premiums for this coverage instead of for Medicaid, if it is
continued.                                                                 cost effective. This includes premiums for continuation
The provisions in the “Exception for Newborns” section of                  coverage required by federal law.
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
                                                                           HC-FED13                                                       10-10
or a child placed with you for adoption.


HC-FED67                                                      09-14
                                                                           Requirements of Family and Medical Leave Act
                                                                           of 1993 (as amended) (FMLA)
                                                                           Any provisions of the policy that provide for: continuation of
Coverage for Maternity Hospital Stay                                       insurance during a leave of absence; and reinstatement of
Group health plans and health insurance issuers offering group             insurance following a return to Active Service; are modified
health insurance coverage generally may not, under a federal               by the following provisions of the federal Family and Medical
law known as the “Newborns’ and Mothers’ Health Protection                 Leave Act of 1993, as amended, where applicable:
Act”: restrict benefits for any Hospital length of stay in                 Continuation of Health Insurance During Leave
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96           Your health insurance will be continued during a leave of
hours following a cesarean section; or require that a provider             absence if:
obtain authorization from the plan or insurance issuer for                    that leave qualifies as a leave of absence under the Family
prescribing a length of stay not in excess of the above periods.               and Medical Leave Act of 1993, as amended; and
The law generally does not prohibit an attending provider of                  you are an eligible Employee under the terms of that Act.
the mother or newborn, in consultation with the mother, from
discharging the mother or newborn earlier than 48 or 96 hours,             The cost of your health insurance during such leave must be
as applicable.                                                             paid, whether entirely by your Employer or in part by you and
                                                                           your Employer.
Please review this Plan for further details on the specific
coverage available to you and your Dependents.                             Reinstatement of Canceled Insurance Following Leave
                                                                           Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
HC-FED11                                                      10-10
                                                                           Act of 1993, as amended, any canceled insurance (health, life
                                                                           or disability) will be reinstated as of the date of your return.
                                                                           You will not be required to satisfy any eligibility or benefit
Women’s Health and Cancer Rights Act                                       waiting period to the extent that they had been satisfied prior
(WHCRA)                                                                    to the start of such leave of absence.
Do you know that your plan, as required by the Women’s                     Your Employer will give you detailed information about the
Health and Cancer Rights Act of 1998, provides benefits for                Family and Medical Leave Act of 1993, as amended.
mastectomy-related services including all stages of
reconstruction and surgery to achieve symmetry between the
                                                                           HC-FED93                                                       10-17
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more
information.                                                               Uniformed Services Employment and Re-
                                                                           Employment Rights Act of 1994 (USERRA)
HC-FED12                                                      10-10        The Uniformed Services Employment and Re-employment
                                                                           Rights Act of 1994 (USERRA) sets requirements for
                                                                           continuation of health coverage and re-employment in regard
                                                                           to an Employee’s military leave of absence. These
                                                                           requirements apply to medical and dental coverage for you


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and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The Certificate describes who is responsible for
For leaves of less than 31 days, coverage will continue as                obtaining this review. You or your authorized representative
described in the Termination section regarding Leave of                   (typically, your health care professional) must request prior
Absence.                                                                  authorization according to the procedures described below, in
                                                                          the Certificate, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for              documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to               you or your representative will receive a written description of
your Employer, until the earliest of the following:                       the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the Certificate, in your
    Employer;                                                             provider’s network participation documents as applicable, and
   the day after you fail to return to work; and                         in the determination notices.
   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to                    service is a Covered Expense, is authorized for coverage by
102% of the total premium.                                                the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.
                                                                          When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
If your coverage under this plan terminates as a result of your           include the date a determination can be expected, which will
eligibility for military medical and dental coverage and your             be no more than 30 days after receipt of the request. If more
order to active duty is canceled before your active duty service          time is needed because necessary information is missing from
commences, these reinstatement rights will continue to apply.             the request, the notice will also specify what information is
                                                                          needed, and you or your representative must provide the
                                                                          specified information to Cigna within 45 days after receiving
HC-FED18                                                     10-10        the notice. The determination period will be suspended on the
                                                                          date Cigna sends such a notice of missing information, and the
                                                                          determination period will resume on the date you or your
Claim Determination Procedures under ERISA                                representative responds to the notice.
The following complies with federal law. Provisions of                    If the determination periods above would seriously jeopardize
applicable laws of your state may supersede.                              your life or health, your ability to regain maximum function,
                                                                          or in the opinion of a health care professional with knowledge
Procedures Regarding Medical Necessity Determinations                     of your health condition, cause you severe pain which cannot
In general, health services and benefits must be Medically                be managed without the requested services, Cigna will make
Necessary to be covered under the plan. The procedures for                the preservice determination on an expedited basis. Cigna will
determining Medical Necessity vary, according to the type of              defer to the determination of the treating health care
service or benefit requested, and the type of health plan.                professional regarding whether an expedited determination is
                                                                          necessary. Cigna will notify you or your representative of an


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expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
                                                                        statement of a claimant’s rights to bring a civil action under
If you or your representative attempts to request a preservice          section 502(a) of ERISA following an adverse benefit
determination, but fails to follow Cigna’s procedures for               determination on appeal, (if applicable); upon request and free
requesting a required preservice determination, Cigna will              of charge, a copy of any internal rule, guideline, protocol or
notify you or your representative of the failure and describe           other similar criterion that was relied upon in making the
the proper procedures for filing within 5 days (or 24 hours, if         adverse determination regarding your claim; and an
an expedited determination is required, as described above)             explanation of the scientific or clinical judgment for a
after receiving the request. This notice may be provided orally,        determination that is based on a Medical Necessity,
unless you or your representative requests written notification.        experimental treatment or other similar exclusion or limit; a
Concurrent Determinations                                               description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination             HC-FED104                                                  01-19
within 24 hours after receiving the request.
Postservice Determinations
When you or your representative requests a coverage                     COBRA Continuation Rights Under Federal
determination or a claim payment determination after services           Law
have been rendered, Cigna will notify you or your
representative of the determination within 30 days after                For You and Your Dependents
receiving the request. However, if more time is needed to               What is COBRA Continuation Coverage?
make a determination due to matters beyond Cigna’s control,             Under federal law, you and/or your Dependents must be given
Cigna will notify you or your representative within 30 days             the opportunity to continue health insurance when there is a
after receiving the request. This notice will include the date a        “qualifying event” that would result in loss of coverage under
determination can be expected, which will be no more than 45            the Plan. You and/or your Dependents will be permitted to
days after receipt of the request.                                      continue the same coverage under which you or your
If more time is needed because necessary information is                 Dependents were covered on the day before the qualifying
missing from the request, the notice will also specify what             event occurred, unless you move out of that plan’s coverage
information is needed, and you or your representative must              area or the plan is no longer available. You and/or your
provide the specified information to Cigna within 45 days               Dependents cannot change coverage options until the next
after receiving the notice. The determination period will be            open enrollment period.
suspended on the date Cigna sends such a notice of missing
information, and the determination period will resume on the
date you or your representative responds to the notice.
Notice of Adverse Determination
Every notice of an adverse benefit determination will be
provided in writing or electronically, and will include all of


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When is COBRA Continuation Available?                                 available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                    event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following          divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of              to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                              Disability Extension
   your termination of employment for any reason, other than         If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                              termination of employment or reduction in work hours, you or
   your reduction in work hours.                                     one of your Dependents is determined by the Social Security
                                                                      Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is                   XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following          elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of              continuation for an additional 11 months, for a maximum of
coverage under the Plan:                                              29 months from the initial qualifying event.
   your death;                                                       To qualify for the disability extension, all of the following
   your divorce or legal separation; or                              requirements must be satisfied:
   for a Dependent child, failure to continue to qualify as a           SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                             within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                    continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may           A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                  to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were                date the SSA determination is made AND before the end of
covered by the Plan on the day the qualifying event occurred:             the initial 18-month continuation period.
you, your spouse, and your Dependent children. Each                   If the SSA later determines that the individual is no longer
qualified beneficiary has their own right to elect or decline         disabled, you must notify the Plan Administrator within 30
COBRA continuation coverage even if you decline or are not            days after the date the final determination is made by SSA.
eligible for COBRA continuation.                                      The 11-month disability extension will terminate for all
The following individuals are not qualified beneficiaries for         covered persons on the first day of the month that is more than
purposes of COBRA continuation: domestic partners,                    30 days after the date the SSA makes a final determination
grandchildren (unless adopted by you), stepchildren (unless           that the disabled individual is no longer disabled.
adopted by you). Although these individuals do not have an            All causes for “Termination of COBRA Continuation” listed
independent right to elect COBRA continuation coverage, if            below will also apply to the period of disability extension.
you elect COBRA continuation coverage for yourself, you               Medicare Extension for Your Dependents
may also cover your Dependents even if they are not
considered qualified beneficiaries under COBRA. However,              When the qualifying event is your termination of employment
such individuals’ coverage will terminate when your COBRA             or reduction in work hours and you became enrolled in
continuation coverage terminates. The sections titled                 Medicare (Part A, Part B or both) within the 18 months before
“Secondary Qualifying Events” and “Medicare Extension For             the qualifying event, COBRA continuation coverage for your
Your Dependents” are not applicable to these individuals.             Dependents will last for up to 36 months after the date you
                                                                      became enrolled in Medicare. Your COBRA continuation
Secondary Qualifying Events                                           coverage will last for up to 18 months from the date of your
If, as a result of your termination of employment or reduction        termination of employment or reduction in work hours.
in work hours, your Dependent(s) have elected COBRA                   Termination of COBRA Continuation
continuation coverage and one or more Dependents experience
another COBRA qualifying event, the affected Dependent(s)             COBRA continuation coverage will be terminated upon the
may elect to extend their COBRA continuation coverage for             occurrence of any of the following:
an additional 18 months (7 months if the secondary event                 the end of the COBRA continuation period of 18, 29 or 36
occurs within the disability extension period) for a maximum              months, as applicable;
of 36 months from the initial qualifying event. The second               failure to pay the required premium within 30 calendar days
qualifying event must occur before the end of the initial 18              after the due date;
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no                    cancellation of the Employer’s policy with Cigna;
circumstances will COBRA continuation coverage be


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   after electing COBRA continuation coverage, a qualified                 in the case of a multi-employer plan, no later than 14 days
    beneficiary enrolls in Medicare (Part A, Part B, or both);               after the end of the period in which Employers must
   after electing COBRA continuation coverage, a qualified                  provide notice of a qualifying event to the Plan
    beneficiary becomes covered under another group health                   Administrator.
    plan, unless the qualified beneficiary has a condition for           How to Elect COBRA Continuation Coverage
    which the new plan limits or excludes coverage under a pre-          The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will             who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable            inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                  include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an           coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;             election no later than the due date stated on the COBRA
   any reason the Plan would terminate coverage of a                    election notice. If a written election notice is required, it must
    participant or beneficiary who is not receiving continuation         be post-marked no later than the due date stated on the
    coverage (e.g., fraud).                                              COBRA election notice. If you do not make proper
Moving Out of Employer’s Service Area or Elimination of                  notification by the due date shown on the notice, you and your
a Service Area                                                           Dependents will lose the right to elect COBRA continuation
                                                                         coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                 the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your           furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan
will be limited to emergency services only. Because the Plan             Each qualified beneficiary has an independent right to elect
does not provide out-of-network coverage, nonemergency                   COBRA continuation coverage. Continuation coverage may
services will not be covered under the plan outside of the               be elected for only one, several, or for all Dependents who are
Employer’s service area. If the Employer offers another                  qualified beneficiaries. Parents may elect to continue coverage
benefit option through Cigna or another carrier which can                on behalf of their Dependent children. You or your spouse
provide coverage in your location, you may elect COBRA                   may elect continuation coverage on behalf of all the qualified
continuation coverage under that option.                                 beneficiaries. You are not required to elect COBRA
                                                                         continuation coverage in order for your Dependents to elect
Employer’s Notification Requirements                                     COBRA continuation.
Your Employer is required to provide you and/or your                     How Much Does COBRA Continuation Coverage Cost?
Dependents with the following notices:
                                                                         Each qualified beneficiary may be required to pay the entire
   An initial notification of COBRA continuation rights must            cost of continuation coverage. The amount may not exceed
    be provided within 90 days after your (or your spouse’s)             102% of the cost to the group health plan (including both
    coverage under the Plan begins (or the Plan first becomes            Employer and Employee contributions) for coverage of a
    subject to COBRA continuation requirements, if later). If            similarly situated active Employee or family member. The
    you and/or your Dependents experience a qualifying event             premium during the 11-month disability extension may not
    before the end of that 90-day period, the initial notice must        exceed 150% of the cost to the group health plan (including
    be provided within the time frame required for the COBRA             both employer and employee contributions) for coverage of a
    continuation coverage election notice as explained below.            similarly situated active Employee or family member.
   A COBRA continuation coverage election notice must be                For example: If the Employee alone elects COBRA
    provided to you and/or your Dependents within the                    continuation coverage, the Employee will be charged 102%
    following timeframes:                                                (or 150%) of the active Employee premium. If the spouse or
     if the Plan provides that COBRA continuation coverage              one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the            coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the           Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the         elects COBRA continuation coverage, they will be charged
      Plan;                                                              102% (or 150%) of the applicable family premium.
     if the Plan provides that COBRA continuation coverage              When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the            First payment for COBRA continuation
      Plan Administrator of a qualifying event starts upon the
      occurrence of a qualifying event, 44 days after the                If you elect COBRA continuation coverage, you do not have
      qualifying event occurs; or                                        to send any payment with the election form. However, you
                                                                         must make your first payment no later than 45 calendar days


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after the date of your election. (This is the date the Election         the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first         (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                    etc.).
continuation rights under the Plan.                                     Newly Acquired Dependents
Subsequent payments                                                     If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation                adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments              being continued, you may cover such Dependent under your
of the required premium for each additional month of                    COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If             or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage             continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without           the coverage period following your early termination of
any break.                                                              COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                   COBRA coverage for your Dependent spouse and any
                                                                        Dependent children who are not your children (e.g.,
Although subsequent payments are due by the first day of the            stepchildren or grandchildren) will cease on the date your
month, you will be given a grace period of 30 days after the            COBRA coverage ceases and they are not eligible for a
first day of the coverage period to make each monthly                   secondary qualifying event.
payment. Your COBRA continuation coverage will be
provided for each coverage period as long as payment for that           COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for          Bankruptcy
that payment. However, if your payment is received after the            If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                 is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                 United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                  continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before              coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated           within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that           covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                  entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                 Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage            be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                  months following your death. However, COBRA continuation
coverage under the Plan.                                                coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                       listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following             Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator               You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                 law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a           continuation benefits.
result of the qualifying event:
   Your divorce or legal separation; or                                HC-FED66                                                       07-14
   Your child ceases to qualify as a Dependent under the Plan.
   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice              ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
                                                                        The name of the Plan is:
    month COBRA period).
                                                                          Amity Foundation Welfare Benefit Plan
(Also refer to the section titled “Disability Extension” for
additional notice requirements.)
Notice must be made in writing and must include: the name of
the Plan, name and address of the Employee covered under the
Plan, name and address(es) of the qualified beneficiaries
affected by the qualifying event; the qualifying event; the date


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The name, address, ZIP code and business telephone number              Plan Modification, Amendment and Termination
of the sponsor of the Plan is:                                         The Employer as Plan Sponsor reserves the right to, at any
  Amity Foundation                                                     time, change or terminate benefits under the Plan, to change or
  3801 South Broadway                                                  terminate the eligibility of classes of employees to be covered
  Los Angeles, CA 90037                                                by the Plan, to amend or eliminate any other plan term or
  808-400-8808                                                         condition, and to terminate the whole plan or any part of it.
Employer Identification             Plan Number:                       Contact the Employer for the procedure by which benefits
Number (EIN):                                                          may be changed or terminated, by which the eligibility of
                                                                       classes of employees may be changed or terminated, or by
770418201                           501                                which part or all of the Plan may be terminated. No consent of
The name, address, ZIP code and business telephone number              any participant is required to terminate, modify, amend or
of the Plan Administrator is:                                          change the Plan.
  Employer named above                                                 Termination of the Plan together with termination of the
The name, address and ZIP code of the person designated as             insurance policy(s) which funds the Plan benefits will have no
agent for service of legal process is:                                 adverse effect on any benefits to be paid under the policy(s)
                                                                       for any covered medical expenses incurred prior to the date
  Employer named above
                                                                       that policy(s) terminates. Likewise, any extension of benefits
The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:                                                                    disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
                                                                       termination. Rights to purchase limited amounts of life and
The cost of the Plan is shared by Employee and Employer.
                                                                       medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 06/30.                                  the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
                                                                       on the earliest of the following dates:
A list of any Trustees of the Plan, which includes name, title
and address, is available upon request to the Plan                        the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                                 the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                    if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                          the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.                                    Statement of Rights
Discretionary Authority                                                As a participant in the plan you are entitled to certain rights
The Plan Administrator delegates to Cigna the discretionary            and protections under the Employee Retirement Income
authority to interpret and apply plan terms and to make factual        Security Act of 1974 (ERISA). ERISA provides that all plan
determinations in connection with its review of claims under           participants shall be entitled to:
the plan. Such discretionary authority is intended to include,         Receive Information About Your Plan and Benefits
but not limited to, the determination of the eligibility of
                                                                        examine, without charge, at the Plan Administrator’s office
persons desiring to enroll in or claim benefits under the plan,
                                                                         and at other specified locations, such as worksites and union
the determination of whether a person is entitled to benefits
                                                                         halls, all documents governing the plan, including insurance
under the plan, and the computation of any and all benefit
                                                                         contracts and collective bargaining agreements and a copy
payments. The Plan Administrator also delegates to Cigna the
                                                                         of the latest annual report (Form 5500 Series) filed by the
discretionary authority to perform a full and fair review, as
                                                                         plan with the U.S. Department of Labor and available at the
required by ERISA, of each claim denial which has been
                                                                         Public Disclosure room of the Employee Benefits Security
appealed by the claimant or his duly authorized representative.
                                                                         Administration.


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   obtain, upon written request to the Plan Administrator,             have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                   may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,           finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)           Assistance with Your Questions
    and updated summary plan description. The administrator
    may make a reasonable charge for the copies.                        If you have any questions about your plan, you should contact
                                                                        the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The        statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person        assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.        you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                     Security Administration, U.S. Department of Labor listed in
 continue health care coverage for yourself, your spouse or            your telephone directory or the Division of Technical
  Dependents if there is a loss of coverage under the Plan as a         Assistance and Inquiries, Employee Benefits Security
  result of a qualifying event. You or your Dependents may              Administration, U.S. Department of Labor, 200 Constitution
  have to pay for such coverage. Review the documents                   Avenue N.W., Washington, D.C. 20210. You may also obtain
  governing the Plan on the rules governing your federal                certain publications about your rights and responsibilities
  continuation coverage rights.                                         under ERISA by calling the publications hotline of the
                                                                        Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                        HC-FED72                                                        05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants        Notice of an Appeal or a Grievance
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise                    The appeal or grievance provision in this certificate may be
discriminate against you in any way to prevent you from                 superseded by the law of your state. Please see your
obtaining a welfare benefit or exercising your rights under             explanation of benefits for the applicable appeal or grievance
ERISA. If your claim for a welfare benefit is denied or                 procedure.
ignored you have a right to know why this was done, to obtain
copies of documents relating to the decision without charge,            HC-SPP4                                                         04-10
and to appeal any denial, all within certain time schedules.                                                                              V1

Enforce Your Rights
Under ERISA, there are steps you can take to enforce the
above rights. For instance, if you request a copy of documents          Appointment of Authorized Representative
governing the plan or the latest annual report from the plan            You may appoint an authorized representative to assist you in
and do not receive them within 30 days, you may file suit in a          submitting a claim or appealing a claim denial. However,
federal court. In such a case, the court may require the plan           Cigna may require you to designate your authorized
administrator to provide the materials and pay you up to $110           representative in writing using a form approved by Cigna. At
a day until you receive the materials, unless the materials were        all times, the appointment of an authorized representative is
not sent because of reasons beyond the control of the                   revocable by you. To ensure that a prior appointment remains
administrator. If you have a claim for benefits which is denied         valid, Cigna may require you to re-appoint your authorized
or ignored, in whole or in part, you may file suit in a state or        representative, from time to time.
federal court.
                                                                        Cigna reserves the right to refuse to honor the appointment of
In addition, if you disagree with the plan’s decision or lack           a representative if Cigna reasonably determines that:
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in               the signature on an authorized representative form may not
federal court. If it should happen that plan fiduciaries misuse             be yours, or
the plan’s money, or if you are discriminated against for                  the authorized representative may not have disclosed to you
asserting your rights, you may seek assistance from the U.S.                all of the relevant facts and circumstances relating to the
Department of Labor, or you may file suit in a federal court.               overpayment or underpayment of any claim, including, for
The court will decide who should pay court costs and legal                  example, that the billing practices of the provider of medical
fees. If you are successful the court may order the person you              services may have jeopardized your coverage through the


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  waiver of the cost-sharing amounts that you are required to               continued coverage pending the outcome of an appeal.
  pay under your plan.                                                      Appeals may be submitted to the following address:
If your designation of an authorized representative is revoked,               Cigna
or Cigna does not honor your designation, you may appoint a                   National Appeals Organization (NAO)
new authorized representative at any time, in writing, using a                PO Box 188011
form approved by Cigna.                                                       Chattanooga, TN 37422
If for any reason, you are not capable of appointing a new                  You should state the reason why you feel your appeal should
authorized representative, a duly authorized representative                 be approved and include any information supporting your
may do so on your behalf. If Cigna does not honor your                      appeal. If you are unable or choose not to write, you may ask
designation of an authorized representative, you may request                to register your appeal by telephone. Call us at the toll-free
reconsideration of Cigna's determination by, as applicable,                 number on your Benefit Identification card, explanation of
confirming that the signature on the authorization is yours, or             benefits or claim form.
that the authorized representative fully disclosed to you all               Your appeal will be reviewed and the decision made by
relevant facts regarding its billing practices.                             someone not involved in the initial decision. Appeals
                                                                            involving Medical Necessity or clinical appropriateness will
HC-AAR2                                                        01-17
                                                                            be considered by a health care professional.
                                                                            We will respond in writing with a decision within 30 calendar
                                                                            days after we receive an appeal for a required pre-service or
                                                                            concurrent care coverage determination (decision). We will
When You Have A Complaint Or An                                             respond within 30 calendar days after we receive an appeal for
Adverse Determination Appeal                                                a post-service coverage determination. If more time or
For the purposes of this section, any reference to "you",                   information is needed to make the determination, we will
"your” or "Member" also refers to a representative or provider              notify you in writing to request an extension of up to 30
designated by you to act on your behalf, unless otherwise                   calendar days and to specify any additional information
noted.                                                                      needed to complete the review. Please note that the California
                                                                            Department of Insurance (CDI) does not require you to
We want you to be completely satisfied with the care and                    participate in Cigna's appeals review for more than 30 days
service you receive. That is why we have established a process              although you may choose to do so. At the completion of this
for addressing your concerns and solving your problems.                     30-day-review period, when the disputed decision is upheld or
Start with Customer Service                                                 your case remains unresolved, you may apply to the CDI for a
We are here to listen and help. If you have a concern regarding             review of your case.
a person, a service, the quality of care, or contractual benefits,          In the event any new or additional information (evidence) is
or a rescission of coverage, you can call our toll-free number              considered, relied upon or generated by Cigna in connection
and explain your concern to one of our Customer Service                     with the appeal, Cigna will provide this information to you as
representatives. Please call us at the Customer Service toll-free           soon as possible and sufficiently in advance of the decision, so
number that appears on your Benefit Identification card,                    that you will have an opportunity to respond. Also, if any new
explanation of benefits or claim form.                                      or additional rationale is considered by Cigna, Cigna will
We will do our best to resolve the matter on your initial                   provide the rationale to you as soon as possible and
contact. If we need more time to review or investigate your                 sufficiently in advance of the decision so that you will have an
concern, we will get back to you as soon as possible, but in                opportunity to respond.
any case within 30 days.                                                    You may request that the appeal process be expedited if, your
If you are not satisfied with the results of a coverage decision,           treating Physician certifies in writing that an imminent and
you can start the appeals procedure.                                        serious threat to your health may exist, including, but not
                                                                            limited to, serious pain, the potential loss of life, limb, or
Internal Appeal Procedure                                                   major bodily function, or the immediate and serious
Cigna has a one-step appeal procedure for appeals decisions.                deterioration of your health.
To initiate an appeal for most claims, you must submit a                    If you request that your appeal be expedited, you may also ask
request for an appeal within 365 days of receipt of a denial                for an expedited external Independent Review at the same
notice. If you appeal a reduction or termination in coverage for            time, if the time to complete an expedited internal appeal
an ongoing course of treatment that Cigna previously                        would be detrimental to your medical condition.
approved, you will receive, as required by applicable law,



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When an appeal is expedited, we will respond orally with a                   seriously debilitating condition; your Physician’s
decision within 72 hours, followed up in writing. The CDI                    certification must also indicate that standard therapies have
allows you to apply for an Independent Medical Review after                  not been effective in treating your condition or the requested
this expedited decision if you are unsatisfied with our                      therapy is likely to be more beneficial than any standard
determination.                                                               therapy as documented in two separate sources of medical
Independent Medical Review Procedures                                        or scientific evidence;
When the disputed decision is upheld or your case remains                   an envelope for you to return the completed forms to us.
unresolved after 30 days and when your case meets the criteria           A “life-threatening” condition means either or both of the
outlined below, you are eligible to apply to the CDI for an              following:
Independent Medical Review (IMR). The CDI has final                         diseases or conditions where the likelihood of death is high
authority to accept or deny cases for the IMR process. If your               unless the course of the disease is interrupted.
case is not accepted for IMR, the CDI will treat your
application as a request for the CDI itself to review your issues           diseases or conditions with potentially fatal outcomes,
and concerns. Prior to application for an IMR, you are free to               where the end point of clinical intervention is survival.
seek other avenues of appeal with Cigna. If you choose to do                a “seriously debilitating” condition means diseases or
so, you will not forfeit your eligibility to apply for the IMR.              conditions that cause major irreversible morbidity.
The Independent Medical Review Organization is composed                  “Medical and scientific evidence” means any of the following:
of persons who are not employed by Cigna or any of its                      peer-reviewed scientific studies published in or accepted for
affiliates. A decision to use the voluntary level of appeal will             publication by medical journals that meet nationally
not affect the claimant's rights to any other benefits under the             recognized requirements for scientific manuscripts and that
policy.                                                                      submit most of their published articles for review by experts
There is no charge for you to apply for or participate in this               who are not part of the editorial staff.
IMR process. Cigna will abide by the decision of the                        peer-reviewed literature, biomedical compendia and other
Independent Medical Review Organization.                                     medical literature that meet the criteria of the National
In order to qualify for an IMR, certain conditions must be met:              Institutes of Health's National Library of Medicine for
your Physician has recommended a health care service as                      indexing in Index Medicus, Excerpta Medicus (EMBASE),
Medically Necessary and Cigna has disagreed with this                        Medline and MEDLARS database Health Services
determination, or you have received urgent care or emergency                 Technology Assessment Research (HSTAR).
services that a Physician has deemed Medically Necessary and                medical journals recognized by the Secretary of Health and
Cigna has disagreed with this determination, or you have been                Human Services, under section 1861(t)(2) of the Social
seen by a Physician for the diagnosis or treatment of the                    Security Act.
medical condition for which you are seeking an Independent
                                                                            either of the following standard reference compendia: The
Medical Review and Cigna has determined these services as
                                                                             American Hospital Formulary Service-Drug Information,
not Medically Necessary or clinically appropriate.
Administrative, eligibility or benefit coverage limits or                    the American Dental Association Accepted Dental
exclusions are not eligible for an independent medical appeal                Therapeutics and The United States Pharmacopoeia-Drug
                                                                             Information.
under this process. You remain entitled to send such issues to
the CDI for a Department review.                                            any of the following reference compendia if recognized by
                                                                             the Federal Center for Medicare and Medicaid Services as
Independent Review Process for Experimental and
                                                                             part of an anticancer chemotherapeutic regimen: The
Investigational Therapies
                                                                             Elsevier Gold Standard's Clinical Pharmacology, The
Special provisions apply to the IMR process for coverage                     National Comprehensive Cancer Network Drug and
decisions related to experimental or investigational therapies.              Biologics Compendium, The Thomson Micromedex
If Cigna denies your appeal because the requested service or                 DrugDex.
treatment is experimental or investigational, Cigna will send
                                                                            findings, studies, or research conducted by or under the
you a letter within 5 business days of making the denial
decision. The letter will include:                                           auspices of federal government agencies and nationally
                                                                             recognized federal research institutes, including the Federal
   a notice explaining your right to an IMR;                                Agency for Health Care Policy and Research, National
   an IMR application;                                                      Institutes of Health, National Cancer Institute, National
   a Physician Certification Form for your Physician to                     Academy of Sciences, Health Care Financing
    complete which certifies that you have a life-threatening or             Administration, Congressional Office of Technology
                                                                             Assessment, and any national board recognized by the


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    National Institutes of Health for the purpose of evaluating          statement describing any voluntary appeal procedures offered
    the medical value of health services.                                by the plan and the claimant's right to bring an action under
   peer-reviewed abstracts accepted for presentation at major           ERISA section 502(a); upon request and free of charge, a copy
    medical association meetings.                                        of any internal rule, guideline, protocol or other similar
                                                                         criterion that was relied upon in making the adverse
The IMR will be conducted by an Independent Medical                      determination regarding your appeal, and an explanation of the
Review Organization which is qualified to review issues                  scientific or clinical judgment for a determination that is based
related to experimental and investigational therapies as
                                                                         on a Medical Necessity, experimental treatment or other
selected by the CDI. The IMR must be completed within 30
                                                                         similar exclusion or limit; and information about any office of
calendar days. If your Physician determines that the proposed
                                                                         health insurance consumer assistance or ombudsman available
therapy which is the subject of the IMR would be significantly
                                                                         to assist you in the appeal process. A final notice of adverse
less effective if not initiated promptly, an expedited IMR is
available. An expedited IMR will be completed within 7                   determination will include a discussion of the decision.
calendar days from the date an expedited IMR was requested.              You also have the right to bring a civil action under section
This timeframe may be extended by up to 3 calendar days if               502(a) of ERISA if you are not satisfied with the decision on
there is a delay in providing any documents which the                    review. You or your plan may have other voluntary alternative
Independent Medical Review Organization requests for                     dispute resolution options such as Mediation. One way to find
review. The IMR’s decision must state the reason that the                out what may be available is to contact your local U.S.
therapy should or should not be covered, citing your specific            Department of Labor office and your state insurance
medical condition, the relevant documents, and the relevant              regulatory agency. You may also contact the Plan
medical and scientific evidence. Cigna will cover the services           Administrator.
subject to the terms and conditions generally applicable to
                                                                         Relevant Information
other benefits under your policy.
                                                                         Relevant Information is any document, record, or other
Assistance from the State of California
                                                                         information which was relied upon in making the benefit
We will provide you with an application and instructions on              determination; was submitted, considered, or generated in the
how to apply to the CDI for an IMR. You must submit the                  course of making the benefit determination, without regard to
application to the CDI within 180 days of your receipt of our            whether such document, record, or other information was
appeal review denial. In compelling circumstances, the                   relied upon in making the benefit determination; demonstrate
Commissioner of Insurance may grant an extension.                        compliance with the administrative processes and safeguards
The Independent Medical Review Organization will render an               required by federal law in making the benefit determination;
opinion within 30 days. If a delay would be detrimental to               or constitutes a statement of policy or guidance with respect to
your medical condition, you may apply to the Department for              the policy concerning the denied treatment option or benefit or
an expedited review of your case. If accepted, the Independent           the claimant's diagnosis, without regard to whether such
Medical Review Organization will render a decision in three              advice or statement was relied upon in making the benefit
days.                                                                    determination.
You have the right to contact the California Department of               Legal Action
Insurance for assistance at any time. The Commissioner may               If your plan is governed by ERISA, you have the right to bring
be contacted at the following address and fax number:                    a civil action under section 502(a) of ERISA if you are not
    California Department of Insurance                                   satisfied with the outcome of the Appeals Procedure. In most
    Claims Service Bureau, Attn: IMR                                     instances, you may not initiate a legal action against Cigna
    300 South Spring Street                                              until you have completed the appeal processes. However, no
    Los Angeles, CA 90013                                                action will be brought at all unless brought within three years
    or fax to 213-897-5891                                               after a claim is submitted for In-Network services.
Notice of Benefit Determination on Appeal
Every notice of an appeal decision will be provided in writing           HC-APL415                                                    01-20

or electronically and, if an adverse determination, will include:
information sufficient to identify the claim; the specific reason        Definitions
or reasons for the denial decision; reference to the specific
policy provisions on which the decision is based; a statement            Active Service
that the claimant is entitled to receive, upon request and free          You will be considered in Active Service:
of charge, reasonable access to and copies of all documents,                on any of your Employer's scheduled work days if you are
records, and other Relevant Information as defined; a                        performing the regular duties of your work on a full-time


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    basis on that day either at your Employer's place of business          Biosimilar
    or at some location to which you are required to travel for            A Biologic that is highly similar to the reference Biologic
    your Employer's business.                                              product notwithstanding minor differences in clinically
   on a day which is not one of your Employer's scheduled                 inactive components, and has no clinically meaningful
    work days if you were in Active Service on the preceding               differences from the reference Biologic in terms of its safety,
    scheduled work day.                                                    purity, and potency, as defined under Section 351(i) of the
                                                                           Public Health Service Act (42 USC 262(i)) (as amended by
                                                                           the Biologics Price Competition and Innovation Act of 2009,
HC-DFS1186                                             HC-DFS1095V4
                                                                           title VII of the Patient Protection and Affordable Care Act,
                                                              08-18
                                                                           Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                           thereafter).
Ambulance
Licensed ambulance transportation services involve the use of              HC-DFS1130                                             HC-DFS841V2
specially designed and equipped vehicles for transporting ill or                                                                         10-16
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.
                                                                           Brand Drug
                                                                           A Prescription Drug Product that Cigna identifies as a Brand
HC-DFS1406                                                    01-20
                                                                           Drug product across its book-of-business, principally based on
                                                                           available data resources, including, but not limited to, First
Biologic                                                                   DataBank or another nationally recognized drug indicator
                                                                           source, that classify drugs or Biologics as either brand or
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
                                                                           generic based on a number of factors. Not all products
blood component or derivative, allergenic product, protein
                                                                           identified as a "brand name" by the manufacturer, Pharmacy,
(except any chemically synthesized polypeptide), or analogous
                                                                           or your Physician may be classified as a Brand Drug under the
product, or arsphenamine or derivative of arsphenamine (or
                                                                           plan.
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of
human beings, as defined under Section 351(i) of the Public                HC-DFS1130                                             HC-DFS842V3
Health Service Act (42 USC 262(i)) (as amended by the                                                                                    10-16
Biologics Price Competition and Innovation Act of 2009, title
VII of the Patient Protection and Affordable Care Act, Pub. L.
No. 111-148, § 7002 (2010), and as may be amended                          Business Decision Team
thereafter).                                                               A committee comprised of voting and non-voting
                                                                           representatives across various Cigna business units such as
                                                                           clinical, medical and business leadership that is duly
HC-DFS1130                                             HC-DFS840V2
                                                                           authorized by Cigna to make – subject to the P&T
                                                              10-16
                                                                           Committee’s findings – decisions regarding coverage
                                                                           treatment of Prescription Drug Products or Medical
                                                                           Pharmaceuticals based on clinical findings provided by the
                                                                           P&T Committee, including, but not limited to, decisions
                                                                           regarding tier placement and application of utilization
                                                                           management to Prescription Drug Products or Medical
                                                                           Pharmaceuticals. The P&T Committee is responsible for
                                                                           ensuring that the plan offers a clinically appropriate
                                                                           Prescription Drug List to enrollees consistent with the
                                                                           requirements of CIC 10123.201(b)(6).
                                                                           A decision by the P&T Committee is paramount to a decision
                                                                           by the Business Decision Team.


                                                                           HC-DFS1130                                              HC-DFS1099
                                                                                                                                         10-16




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                                                                                 proof of handicap/dependency annually, after the two year
Charges                                                                          period following the child's 26th birthday.
The term charges means the actual billed charges; except                    The term child means a child born to you, a child legally
when Cigna has contracted directly or indirectly for a different            adopted by you from the date the child is placed in your
amount including where Cigna has directly or indirectly                     physical custody prior to the finalization of the child's
contracted with an entity to arrange for the provision of                   adoption, or a child supported by you pursuant to a court order
services and/or supplies through contracts with providers of                (including a qualified medical child support order). It also
such services and/or supplies.                                              includes a stepchild or a child for whom you are the legal
                                                                            guardian. If your Domestic Partner has a child, that child will
                                                                            also be included as a Dependent.
HC-DFS1193                                                     01-19
                                                                            Benefits for a Dependent child will continue until the last day
                                                                            of the calendar month in which the limiting age is reached.
Custodial Services                                                          Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent.
safeguarding nature. Such services may include a stay in an                 No one may be considered as a Dependent of more than one
institutional setting, at-home care, or nursing services to care            Employee.
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly              HC-DFS1023                                                  10-16

to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;                  Designated Pharmacy
they are intended to provide care while the patient cannot care
for himself or herself. Custodial Services include but are not              A Network Pharmacy that has entered into an agreement with
limited to:                                                                 Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                            provide Prescription Drug Products or services, including,
   Services related to watching or protecting a person;                    without limitation, specific Prescription Drug Products, to plan
   Services related to performing or assisting a person in                 enrollees on a preferred or exclusive basis. For example, a
    performing any activities of daily living, such as: walking,            Designated Pharmacy may provide enrollees certain Specialty
    grooming, bathing, dressing, getting in or out of bed,                  Prescription Drug Products that have limited distribution
    toileting, eating, preparing foods, or taking medications that          availability, provide enrollees with an extended days’ supply
    can be self administered, and                                           of Prescription Drug Products or provide enrollees with
   Services not required to be performed by trained or skilled             Prescription Drug Products on a preferred cost share basis.
    medical or paramedical personnel.                                       The fact that a Pharmacy is a Network Pharmacy does not
                                                                            mean that it is a Designated Pharmacy.

HC-DFS4                                                        04-10
                                                                            HC-DFS1131                                            HC-DFS845V2
                                                                  V1
                                                                                                                                        10-16


Dependent
                                                                            Domestic Partner
Dependents are:
                                                                            A Domestic Partner is defined as your Domestic Partner who
   your lawful spouse; or                                                  has registered the domestic partnership by filing a Declaration
   your Domestic Partner; and                                              of Domestic Partnership with the California Secretary of state
   any child of yours who is                                               pursuant to Section 298 of the Family Code or an equivalent
                                                                            document issued by a local agency of California, another state,
     less than 26 years old.
                                                                            or a local agency of another state under which the partnership
     26 or more years old, unmarried, and primarily supported              was created.
      by you and incapable of self-sustaining employment by
      reason of mental or physical disability. The plan may
      require written proof of such disability and dependency
      within 60 days of receiving our request for written proof.
      After the original proof is received, the plan may ask for



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The sections of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" and “Continuation of Coverage                   The term Employer means the Policyholder and all Affiliated
under Cal-COBRA” will not apply to your Domestic Partner                  Employers.
and his or her Dependents.

                                                                          HC-DFS8                                                         04-10
HC-DFS1024                                                   10-16
                                                                                                                                            V1



Emergency Medical Condition                                               Essential Health Benefits
Emergency medical condition means a medical condition                     Essential health benefits means, to the extent covered under
which manifests itself by acute symptoms of sufficient                    the plan, expenses incurred with respect to covered services, in
severity (including severe pain) such that a prudent layperson,           at least the following categories: ambulatory patient services,
who possesses an average knowledge of health and medicine,                emergency services, hospitalization, maternity and newborn
could reasonably expect the absence of immediate medical                  care, mental health and substance use disorder services,
attention to result in placing the health of the individual (or,          including behavioral health treatment, prescription drugs,
with respect to a pregnant woman, the health of the woman or              rehabilitative and habilitative services and devices, laboratory
her unborn child) in serious jeopardy; serious impairment to              services, preventive and wellness services and chronic disease
bodily functions; or serious dysfunction of any bodily organ or           management and pediatric services, including oral and vision
part.                                                                     care.

HC-DFS394                                                    11-10        HC-DFS411                                                       01-11



Emergency Services                                                        Expense Incurred
Emergency services means, with respect to an emergency                    An expense is incurred when the service or the supply for
medical condition, a medical screening examination that is                which it is incurred is provided.
within the capability of the emergency department of a
Hospital, including ancillary services routinely available to the
emergency department to evaluate the emergency medical                    HC-DFS10                                                        04-10

condition; and such further medical examination and                                                                                         V1

treatment, to the extent they are within the capabilities of the
staff and facilities available at the Hospital, to stabilize the          Free-Standing Surgical Facility
patient.
                                                                          The term Free-Standing Surgical Facility means an institution
                                                                          which meets all of the following requirements:
HC-DFS1414                                                   01-20
                                                                             it has a medical staff of Physicians, Nurses and licensed
                                                                              anesthesiologists;
Employee                                                                     it maintains at least two operating rooms and one recovery
The term Employee means a full-time Employee of the                           room;
Employer who is currently in Active Service. The term does                   it maintains diagnostic laboratory and x-ray facilities;
not include Employees who are part-time or temporary or who
                                                                             it has equipment for emergency care;
normally work less than 30 hours a week for the Employer.
                                                                             it has a blood supply;
                                                                             it maintains medical records;
HC-DFS1186                                              HC-DFS1189
                                                             08-18           it has agreements with Hospitals for immediate acceptance
                                                                              of patients who need Hospital Confinement on an inpatient
                                                                              basis; and
                                                                             it is licensed in accordance with the laws of the appropriate
                                                                              legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted               Hospice Facility
otherwise, is covered with the same cost share as an                       The term Hospice Facility means an institution or part of it
Outpatient Facility.                                                       which:
                                                                              primarily provides care for Terminally Ill patients;
HC-DFS1407                                                    01-20
                                                                              is accredited by the National Hospice Organization;
                                                                              meets standards established by Cigna; and
Generic Drug                                                                  fulfills any licensing requirements of the state or locality in
A Prescription Drug Product that Cigna identifies as a Generic                 which it operates.
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator                   HC-DFS53                                                         04-10
                                                                                                                                              V1
source, that classify drugs or Biologics (including Biosimilars)
as either brand or generic based on a number of factors. Not
all products identified as a "generic" by the manufacturer,                Hospital
Pharmacy or your Physician may be classified as a Generic
                                                                           The term Hospital means:
Drug under the plan. A Biosimilar may be classified as a
Generic Drug for the purposes of benefits under the plan even                 an institution licensed as a hospital, which: maintains, on
if it is identified as a “brand name” drug by the manufacturer,                the premises, all facilities necessary for medical and
Pharmacy or your Physician.                                                    surgical treatment; provides such treatment on an inpatient
                                                                               basis, for compensation, under the supervision of
                                                                               Physicians; and provides 24-hour service by Registered
HC-DFS1131                                              HC-DFS846V3            Graduate Nurses;
                                                              10-16
                                                                              an institution which qualifies as a hospital, a psychiatric
                                                                               hospital or a tuberculosis hospital, and a provider of
Hospice Care Program                                                           services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                           a hospital by the Joint Commission on the Accreditation of
                                                                               Healthcare Organizations; or
   a coordinated, interdisciplinary program to meet the
    physical, psychological, spiritual and social needs of dying              an institution which: specializes in treatment of Mental
    persons and their families;                                                Health and Substance Use Disorder or other related illness;
                                                                               provides residential treatment programs; and is licensed in
   a program that provides palliative and supportive medical,                 accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                authorized agency.
    care during the illness;
                                                                           The term Hospital does not include an institution which is
   a program for persons who have a Terminal Illness and for              primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                         home.

HC-DFS51                                                      04-10
                                                                           HC-DFS1415                                                       01-20
                                                                V1
                                                                                                                                              V2



Hospice Care Services                                                      Hospital Confinement or Confined in a Hospital
The term Hospice Care Services means any services provided                 A person will be considered Confined in a Hospital if he is:
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                   a registered bed patient in a Hospital upon the
or any other licensed facility or agency under a Hospice Care                  recommendation of a Physician;
Program.                                                                      receiving treatment for Mental Health and Substance Abuse
                                                                               Services in a Partial Hospitalization program;
HC-DFS52                                                      04-10
                                                                V1




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   receiving treatment for Mental Health and Substance Abuse              In some cases, a Medicare based schedule will not be used and
    Services in a Mental Health or Substance Abuse Residential             the Maximum Reimbursable Charge for covered services is
    Treatment Center.                                                      determined based on the lesser of:
                                                                              the provider’s normal charge for a similar service or supply;
HC-DFS49                                                      04-10
                                                                               or
                                                                V1            the 80th percentile of charges made by providers of such
                                                                               service or supply in the geographic area where it is received
                                                                               as compiled in a database selected by Cigna. If sufficient
Injury
                                                                               charge data is unavailable in the database for that
The term Injury means an accidental bodily injury.                             geographic area to determine the Maximum Reimbursable
                                                                               Charge, then data in the database for similar services may
                                                                               be used.
HC-DFS12                                                      04-10
                                                                V1         The Maximum Reimbursable Charge is subject to all other
                                                                           benefit limitations and applicable coding and payment
                                                                           methodologies determined by Cigna. Additional information
Maintenance Drug Product                                                   about how Cigna determines the Maximum Reimbursable
A Prescription Drug Product that is prescribed for use over an             Charge is available upon request.
extended period of time for the treatment of chronic or long-
term conditions such as asthma, hypertension, diabetes and
heart disease, and is identified principally based on                      HC-DFS1196                                                    01-19

consideration of available data resources, including, but not
limited to, First DataBank or another nationally recognized                Medicaid
drug indicator source and clinical factors. For the purposes of
                                                                           The term Medicaid means a state program of medical aid for
benefits, the list of your plan’s Maintenance Drug Products
                                                                           needy persons established under Title XIX of the Social
does not include compounded medications, Specialty
                                                                           Security Act of 1965 as amended.
Prescription Drug Products or Prescription Drug Products,
such as certain narcotics that a Pharmacy cannot dispense
above certain supply limits per Prescription Drug Order or                 HC-DFS16                                                      04-10
Refill under applicable federal or state law. You may                                                                                      V1
determine whether a drug is a Maintenance Medication by
calling member services at the telephone number on your ID
card.                                                                      Medical Pharmaceutical
                                                                           An FDA-approved prescription pharmaceutical product,
                                                                           including a Specialty Prescription Drug Product, typically
HC-DFS1306                                              HC-DFS847V2
                                                                           required to be administered in connection with a covered
                                                              01-19
                                                                           service by a Physician or Other Health Professional within the
                                                                           scope of the provider's license. This definition includes certain
Maximum Reimbursable Charge - Medical                                      pharmaceutical products whose administration may initially or
                                                                           typically require Physician oversight but may be self-
The Maximum Reimbursable Charge does not apply to
                                                                           administered under certain conditions specified in the
Emergency Services.
                                                                           product’s FDA labeling. This definition does not include any
The Maximum Reimbursable Charge for covered services is                    charges for mobile, web-based or other electronic applications
determined based on the lesser of:                                         or software, even if approved for marketing as a prescription
   the provider’s normal charge for a similar service or supply;          product by the FDA.
    or
   a policyholder-selected percentage of a schedule that Cigna            HC-DFS1410                                                    01-20
    has developed that is based upon a methodology similar to a
    methodology utilized by Medicare to determine the
    allowable fee for the same or similar service within the               Medically Necessary/Medical Necessity
    geographic market.                                                     Health care services, supplies and medications provided for
The percentage used to determine the Maximum Reimbursable                  the purpose of preventing, evaluating, diagnosing or treating a
Charge is listed in The Schedule.                                          Sickness, Injury, condition, disease or its symptoms, that are



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all of the following as determined by a Medical Director or                    The term Necessary Services and Supplies will not include
Review Organization:                                                           any charges for special nursing fees, dental fees or medical
   required to diagnose or treat an illness, Injury, disease or its           fees.
    symptoms;
   in accordance with generally accepted standards of medical                 HC-DFS1409                                                      01-20
    practice;
   clinically appropriate in terms of type, frequency, extent,                Network Pharmacy
    site and duration;
                                                                               A retail or home delivery Pharmacy that has:
   not primarily for the convenience of the patient, Physician
                                                                                  entered into an agreement with Cigna or an entity
    or Other Health Professional;
                                                                                   contracting on Cigna's behalf to provide Prescription Drug
   not more costly than an alternative service(s), medication(s)                  Products to plan enrollees.
    or supply(ies) that is at least as likely to produce equivalent
                                                                                  agreed to accept specified reimbursement rates for
    therapeutic or diagnostic results with the same safety profile
                                                                                   dispensing Prescription Drug Products.
    as to the prevention, evaluation, diagnosis or treatment of
    your Sickness, Injury, condition, disease or its symptoms;                    been designated as a Network Pharmacy for the purposes of
    and                                                                            coverage under your Employer’s plan.
   rendered in the least intensive setting that is appropriate for            This term may also include, as applicable, an entity that has
    the delivery of the services, supplies or medications. Where               directly or indirectly contracted with Cigna to arrange for the
    applicable, the Medical Director or Review Organization                    provision of any Prescription Drug Products the charges for
    may compare the cost-effectiveness of alternative services,                which are Covered Expenses.
    supplies, medications or settings when determining least
    intensive setting.
                                                                               HC-DFS1305                                               HC-DFS1198V1
In determining whether health care services, supplies, or                                                                                      01-19
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.                       New Prescription Drug Product
Clinical coverage policies may incorporate, without limitation                 A Prescription Drug Product, or new use or dosage form of a
and as applicable, criteria relating to U.S. Food and Drug                     previously FDA-approved Prescription Drug Product, for the
Administration-approved labeling, the standard medical                         period of time starting on the date the Prescription Drug
reference compendia and peer-reviewed, evidence-based                          Product or newly-approved use or dosage form becomes
scientific literature or guidelines.                                           available on the market following approval by the U.S. Food
                                                                               and Drug Administration (FDA) and ending on the date
                                                                               Cigna's Business Decision Team makes a Prescription Drug
HC-DFS1411                                                        01-20
                                                                               List coverage status decision.

Medicare                                                                       HC-DFS1305                                               HC-DFS850V2
The term Medicare means the program of medical care                                                                                            01-19
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.
                                                                               Nurse
                                                                               The term Nurse means a Registered Graduate Nurse, a
HC-DFS17                                                          04-10
                                                                               Licensed Practical Nurse or a Licensed Vocational Nurse who
                                                                    V1
                                                                               has the right to use the abbreviation "R.N.," "L.P.N." or
                                                                               "L.V.N."
Necessary Services and Supplies
The term Necessary Services and Supplies includes any                          HC-DFS22                                                        04-10
charges, except charges for Room and Board, made by a                                                                                            V1
Hospital for medical services and supplies actually used
during Hospital Confinement.




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Other Health Care Facility                                                 Pharmacy
The term Other Health Care Facility means a facility other                 A duly licensed Pharmacy that dispenses Prescription Drug
than a Hospital or Hospice Facility. Examples of Other Health              Products in a retail setting or via home delivery. A home
Care Facilities include, but are not limited to, licensed skilled          delivery Pharmacy is a Pharmacy that primarily provides
nursing facilities, rehabilitation Hospitals and subacute                  Prescription Drug Products through mail order.
facilities.
                                                                           HC-DFS1178                                            HC-DFS851V2
HC-DFS1412                                                    01-20


                                                                           Pharmacy & Therapeutics (P&T) Committee
Other Health Professional                                                  A committee comprised of both voting and non-voting Cigna-
The term Other Health Professional means an individual other               employed clinicians, Medical Directors and Pharmacy
than a Physician who is licensed or otherwise authorized under             Directors and non-employees such as Participating Providers
the applicable state law to deliver medical services and                   that represent a range of clinical specialties, and the
supplies. Other Health Professionals include, but are not                  composition of which satisfies the membership requirements
limited to physical therapists, registered nurses and licensed             of CIC 10123.201. The committee regularly reviews Medical
practical nurses. Other Health Professionals do not include                Pharmaceuticals or Prescription Drug Products, including New
providers such as Certified First Assistants, Certified                    Prescription Drug Products, for safety and efficacy, the
Operating Room Technicians, Certified Surgical                             findings of which clinical reviews inform coverage status
Assistants/Technicians, Licensed Certified Surgical                        decisions made by the Business Decision Team. The P&T
Assistants/Technicians, Licensed Surgical Assistants,                      Committee’s review may be based on consideration of,
Orthopedic Physician Assistants and Surgical First Assistants.             without limitation, U.S. Food and Drug Administration-
                                                                           approved labeling, standard medical reference compendia, or
                                                                           scientific studies published in peer-reviewed English-language
HC-DFS1413                                                    01-20
                                                                           bio-medical journals.
                                                                           A decision by the P&T Committee is paramount to a decision
Participating Provider                                                     by the Business Decision Team.
The term Participating Provider means a person or entity that
has a direct or indirect contractual arrangement with Cigna to
                                                                           HC-DFS1178                                             HC-DFS1100
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has
directly or indirectly contracted with Cigna to arrange, through           Physician
contracts with providers of services and/or supplies, for the              The term Physician means a licensed medical practitioner who
provision of any services and/or supplies, the Charges for                 is practicing within the scope of his license and who is
which are Covered Expenses.                                                licensed to prescribe and administer drugs or to perform
                                                                           surgery. It will also include any other licensed medical
HC-DFS1194                                                    01-19
                                                                           practitioner whose services are required to be covered by law
                                                                           in the locality where the policy is issued if he is:
                                                                              operating within the scope of his license; and
Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                     performing a service for which benefits are provided under
                                                                               this plan when performed by a Physician.
Patient Protection and Affordable Care Act of 2010 means the
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education                   HC-DFS25                                                    04-10
Reconciliation Act of 2010 (Public Law 111-152).                                                                                         V1



HC-DFS412                                                     01-11        Prescription Drug Charge
                                                                           The Prescription Drug Charge is the amount that, prior to
                                                                           application of the plan’s cost-share requirement(s), is payable
                                                                           by Cigna to its Pharmacy Benefit Manager for a specific
                                                                           covered Prescription Drug Product dispensed at a Network


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Pharmacy, including any applicable dispensing fee and tax.                This definition does not include any charges for mobile, web-
The “Pharmacy Benefit Manager” is the business unit,                      based or other electronic applications or software, even if
affiliate, or other entity that manages the Prescription Drug             approved for marketing as a prescription product by the FDA.
Benefit for Cigna.
                                                                          HC-DFS1178                                              HC-DFS855V2
HC-DFS1178                                              HC-DFS1179


                                                                          Prescription Order or Refill
Prescription Drug List                                                    The lawful directive to dispense a Prescription Drug Product
A list that categorizes drugs, Biologics (including Biosimilars)          issued by a Physician whose scope of practice permits issuing
or other products covered under the plan’s Prescription Drug              such a directive.
Benefits that have been approved by the U.S. Food and Drug
Administration (FDA) into coverage tiers. This list is
                                                                          HC-DFS1178                                              HC-DFS856V2
developed by Cigna's Business Decision Team based on
clinical factors communicated by the P&T Committee, and
adopted by your Employer as part of the plan. The list is                 Preventive Care Medications
subject to periodic review and change, and is subject to the
                                                                          The Prescription Drug Products or other medications
limitations and exclusions of the plan. You may determine to
                                                                          (including over-the-counter medications) designated as
which tier a particular Prescription Drug Product has been
                                                                          payable by the plan at 100% of the cost (without application of
assigned through the website shown on your ID card or by
                                                                          any Deductible, Copayment or Coinsurance) as required by
calling customer service at the telephone number on your ID
                                                                          applicable law under any of the following:
card.
                                                                             Evidence-based items or services that have in effect a rating
                                                                              of "A" or "B" in the current recommendations of the United
HC-DFS1178                                             HC-DFS854V2            States Preventive Services Task Force.
                                                                             With respect to infants, children and adolescents, evidence-
Prescription Drug Product                                                     informed preventive care and screenings provided for in the
A drug, Biologic (including a Biosimilar), or other product                   comprehensive guidelines supported by the Health
that has been approved by the U.S. Food and Drug                              Resources and Services Administration.
Administration (FDA), certain products approved under the                    With respect to women, such additional preventive care and
Drug Efficacy Study Implementation review, or products                        screenings as provided for in comprehensive guidelines
marketed prior to 1938 and not subject to review and that can,                supported by the Health Resources and Services
under federal or state law, be dispensed only pursuant to a                   Administration.
Prescription Order or Refill. A Prescription Drug Product                 A written prescription is required to process a claim for a
includes a drug, Biologic or product that, due to its                     Preventive Care Medication. You may determine whether a
characteristics, is approved by the FDA for self-administration           drug is a Preventive Care Medication through the internet
or administration by a non-skilled caregiver. For the purpose             website shown on your ID card or by calling member services
of benefits under the plan, this definition also includes:                at the telephone number on your ID card.
   The following diabetic supplies: alcohol pads, swabs, wipes,
    Glucagon/Glucagen, injection aids, insulin pump
                                                                          HC-DFS1178                                              HC-DFS857V2
    accessories (but excluding insulin pumps), needles
    including pen needles, syringes, test strips, lancets, urine
    glucose and ketone strips;
   Needles and syringes for self-administered medications or
    Biologics covered under the plan’s Prescription Drug
    benefit; and
   Inhaler assistance devices and accessories, peak flow
    meters.




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Primary Care Physician                                                    Serious Emotional Disturbances
The term Primary Care Physician means a Physician who                     A Seriously Emotionally Disturbed (SED) child shall be
qualifies as a Participating Provider in general practice,                defined as a child who:
internal medicine, family practice, obstetrics/gynecology or                 has one or more mental disorders as identified in the most
pediatrics; and who has been selected by you, as authorized by                recent edition of the Diagnostic and Statistical Manual of
Cigna, to provide or arrange for medical care for you or any of               Mental Disorders, other than a primary substance abuse
your insured Dependents.                                                      disorder or developmental disorder, that results in behavior
                                                                              inappropriate to the child's age according to expected
HC-DFS167                                                    04-10
                                                                              developmental norms; and
                                                               V2            is under the age of 18 years old; and
                                                                             meets the criteria in as follows:
Psychologist                                                                   as a result of the mental disorder, the child has substantial
The term Psychologist means a person who is licensed or                         impairment in at least two of the following areas: self-
certified as a clinical psychologist. Where no licensure or                     care, school functioning, family relationships, or ability to
certification exists, the term Psychologist means a person who                  function in the community; and either of the following
is considered qualified as a clinical psychologist by a                         occur:
recognized psychological association. It will also include any                     the child is at risk of removal from the home or has
other licensed counseling practitioner whose services are                           already been removed from the home;
required to be covered by law in the locality where the policy
                                                                                   the mental disorder and impairments have been present
is issued if he is operating within the scope of his license and
                                                                                    for more than six months or are likely to continue for
performing a service for which benefits are provided under
                                                                                    more than one year without treatment.
this plan when performed by a Psychologist.
                                                                               the child displays one of the following: psychotic
                                                                                features, risk of suicide or violence due to a mental
HC-DFS26                                                     04-10              disorder; or
                                                               V1
                                                                               the child meets special education eligibility requirements
                                                                                under Chapter 26.5 (commencing with Section 7570) of
Review Organization                                                             Division 7 of Title 1 of the Government Code.
The term Review Organization refers to an affiliate of Cigna
or another entity to which Cigna has delegated responsibility             HC-DFS168                                                        04-10
for performing utilization review services. The Review                                                                                       V2
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance abuse professionals, and other                Severe Mental Illness
trained staff members who perform utilization review services.            A severe mental illness is defined as: schizophrenia; bipolar
                                                                          disorder; obsessive-compulsive disorder; major depressive
                                                                          disorders; panic disorder; anorexia nervosa; bulimia nervosa;
HC-DFS30                                                     04-10
                                                                          schizoaffective disorder; and pervasive developmental
                                                               V1
                                                                          disorder or autism.

Room and Board
                                                                          HC-DFS169                                                        04-10
The term Room and Board includes all charges made by a                                                                                       V1
Hospital for room and meals and for all general services and
activities needed for the care of registered bed patients.


HC-DFS1408                                                   01-20




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Sickness – For Medical Insurance                                           be considered a Specialty Prescription Drug Product. Specialty
The term Sickness means a physical or mental illness. It also              Prescription Drug Products may vary by plan benefit
includes pregnancy. Expenses incurred for routine Hospital                 assignment based on factors such as method or site of clinical
and pediatric care of a newborn child prior to discharge from              administration, or by tier assignment or utilization
the Hospital nursery will be considered to be incurred as a                management requirements based on factors such as acquisition
result of Sickness.                                                        cost. You may determine whether a medication is a Specialty
                                                                           Prescription Drug Product through the website shown on your
                                                                           ID card or by calling member services at the telephone
HC-DFS50                                                      04-10        number on your ID card.
                                                                V1


                                                                           HC-DFS1135                                            HC-DFS858V2
Skilled Nursing Facility                                                                                                               10-16

The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:                  Stabilize
   physical rehabilitation on an inpatient basis; or                      Stabilize means, with respect to an emergency medical
   skilled nursing and medical care on an inpatient basis;                condition, to provide such medical treatment of the condition
but only if that institution: maintains on the premises all                as may be necessary to assure, within reasonable medical
facilities necessary for medical treatment; provides such                  probability that no material deterioration of the condition is
treatment, for compensation, under the supervision of                      likely to result from or occur during the transfer of the
Physicians; and provides Nurses' services.                                 individual from a facility.


HC-DFS31                                                      04-10        HC-DFS413                                                   01-11

                                                                V1

                                                                           Terminal Illness
Specialist                                                                 A Terminal Illness will be considered to exist if a person
The term Specialist means a Physician who provides                         becomes terminally ill with a prognosis of six months or less
specialized services, and is not engaged in general practice,              to live, as diagnosed by a Physician.
family practice, internal medicine, obstetrics/gynecology or
pediatrics.                                                                HC-DFS54                                                    04-10
                                                                                                                                            V1

HC-DFS33                                                      04-10
                                                                V1
                                                                           Therapeutic Alternative
                                                                           A Prescription Drug Product or Medical Pharmaceutical that is
Specialty Prescription Drug Product                                        of the same therapeutic or pharmacological class, and usually
A Prescription Drug Product or Medical Pharmaceutical                      can be expected to have similar outcomes and adverse reaction
considered by Cigna to be a Specialty Prescription Drug                    profiles when administered in therapeutically equivalent doses
Product based on consideration of the following factors,                   as, another Prescription Drug Product, Medical
subject to applicable law: whether the Prescription Drug                   Pharmaceutical or over-the-counter medication.
Product or Medical Pharmaceutical is prescribed and used for
the treatment of a complex, chronic or rare condition; whether             HC-DFS1135                                            HC-DFS859V2
the Prescription Drug Product or Medical Pharmaceutical has                                                                            10-16
a high acquisition cost; and, whether the Prescription Drug
Product or Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or
clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that
a Prescription Drug Product or Medical Pharmaceutical will


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Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS1135                                             HC-DFS860V2
                                                             10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS1135                                             HC-DFS861V2
                                                             10-16




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                     Exhibit 8
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  ACADIA Pharmaceuticals Inc




   OPEN ACCESS PLUS




  EFFECTIVE DATE: January 1, 2024




  CN059
  3337835




  This document printed in November, 2023 takes the place of any documents previously issued to you
  which described your benefits.



  Printed in U.S.A.
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                                                                                  Home Office: Bloomfield, Connecticut
                                                                         Mailing Address: Hartford, Connecticut 06152




 CIGNA HEALTH AND LIFE INSURANCE COMPANY
 a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
 provided by the following policy(s):




 POLICYHOLDER: ACADIA Pharmaceuticals Inc



 GROUP POLICY(S) — COVERAGE
 3337835 - OAP OPEN ACCESS PLUS



 EFFECTIVE DATE: January 1, 2024




 This certificate describes the main features of the insurance. It does not waive or alter any of th e terms of
 the policy(s). If questions arise, the policy(s) will govern.
 This certificate takes the place of any other issued to you on a prior date which described the insu rance.




 HC-CER5                                                                                                   04-10
                                                                                                             V2
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this Plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
                                                                             Following an initial assessment, the Case Manager works
services by calling the toll-free number shown on the back of
                                                                              with you, your family and Physician to determine the needs
your ID card.
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP63                                                      01-20           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
                                                                              and supplies, as needed (for example, nursing services or a
Case Management is a service provided through a Review                        Hospital bed and other Durable Medical Equipment for the
Organization, which assists individuals with treatment needs                  home).
that extend beyond the acute care setting. The goal of Case
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for                While participation in Case Management is strictly voluntary,
necessary resources. Case Managers are also available to                  Case Management professionals can offer quality, cost-
answer questions and provide ongoing support for the family               effective treatment alternatives, as well as provide assistance
in times of medical crisis.                                               in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
                                                                          HC-SPP2                                                         04-10
neonates, oncology, mental health, rehabilitation or general
                                                                                                                                             V1
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by               Additional Programs
a panel of Physician advisors who offer guidance on up-to-                We may, from time to time, offer or arrange for various
date treatment programs and medical technology. While the                 entities to offer discounts, benefits, or other consideration to
Case Manager recommends alternate treatment programs and                  our members for the purpose of promoting the general health
helps coordinate needed resources, the patient's attending                and well being of our members. We may also arrange for the
Physician remains responsible for the actual medical care.                reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Mental Health Parity and Addiction Equity Act
                                                                         The Certificate is amended as stated below:
HC-SPP3                                                     04-10
                                                                         In the event of a conflict between the provisions of your plan
                                                                V1
                                                                         documents and the provisions of this notice, the provisions
                                                                         that provide the better benefit shall apply.
Care Management and Care Coordination Services
                                                                         Visit Limits:
Cigna may enter into specific collaborative arrangements with
                                                                         Any health care service billed with a Mental Health or
health care professionals committed to improving quality care,
                                                                         Substance Use Disorder diagnosis, will not incur a visit limit,
patient satisfaction and affordability. Through these
                                                                         including but not limited to genetic counseling.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate                  HC-NOT93                                                      08-17
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health
care professionals in these collaborative arrangements.                  Important Information
                                                                         Rebates and Other Payments
HC-SPP27                                                    06-15
                                                                         Cigna or its affiliates may receive rebates or other
                                                                V1
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
                                                                         the Prescription Drug List. These rebates or remuneration are
Important Notices                                                        not obtained on you or your Employer’s or plan’s behalf or for
Direct Access to Obstetricians and Gynecologists                         your benefit.
You do not need prior authorization from the plan or from any            Cigna, its affiliates and the plan are not obligated to pass these
other person (including a primary care provider) in order to             rebates on to you, or apply them to your plan’s Deductible if
obtain access to obstetrical or gynecological care from a health         any or take them into account in determining your
care professional in our network who specializes in obstetrics           Copayments and/or Coinsurance. Cigna and its affiliates or
or gynecology. The health care professional, however, may be             designees may conduct business with various pharmaceutical
required to comply with certain procedures, including                    manufacturers separate and apart from this plan’s Medical
obtaining prior authorization for certain services, following a          Pharmaceutical and Prescription Drug Product benefits. Such
pre-approved treatment plan, or procedures for making                    business may include, but is not limited to, data collection,
referrals. For a list of participating health care professionals         consulting, educational grants and research. Amounts received
who specialize in obstetrics or gynecology, visit                        from pharmaceutical manufacturers pursuant to such
www.mycigna.com or contact customer service at the phone                 arrangements are not related to this plan. Cigna and its
number listed on the back of your ID card.                               affiliates are not required to pass on to you, and do not pass on
                                                                         to you, such amounts.
Selection of a Primary Care Provider
                                                                         Coupons, Incentives and Other Communications
This plan generally allows the designation of a primary care
provider. You have the right to designate any primary care               At various times, Cigna or its designee may send mailings to
provider who participates in the network and who is available            you or your Dependents or to your Physician that
to accept you or your family members. For information on                 communicate a variety of messages, including information
how to select a primary care provider, and for a list of the             about Medical Pharmaceuticals and Prescription Drug
participating primary care providers, visit www.mycigna.com              Products. These mailings may contain coupons or offers from
or contact customer service at the phone number listed on the            pharmaceutical manufacturers that enable you or your
back of your ID card.                                                    Dependents, at your discretion, to purchase the described
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
For children, you may designate a pediatrician as the primary            discount or to obtain it at no charge. Pharmaceutical
care provider.                                                           manufacturers may pay for and/or provide the content for
                                                                         these mailings. Cigna, its affiliates and the plan are not
HC-NOT5                                                     01-11
                                                                         responsible in any way for any decision you make in




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connection with any coupon, incentive, or other offer you may                 Provides free language services to people whose primary
receive from a pharmaceutical manufacturer or Physician.                       language is not English, such as
If Cigna determines that a Pharmacy, pharmaceutical                             Qualified interpreters
manufacturer or other third party is or has waived, reduced, or                 Information written in other languages
forgiven any portion of the charges and/or any portion of
Copayment, Deductible, and/or Coinsurance amount(s) you                    If you need these services, contact customer service at the toll-
are required to pay for a Prescription Drug Product without                free phone number shown on your ID card, and ask a
Cigna’s express consent, then Cigna in its sole discretion shall           Customer Service Associate for assistance.
have the right to deny the payment of plan benefits in                     If you believe that Cigna has failed to provide these services
connection with the Prescription Drug Product, or reduce the               or discriminated in another way on the basis of race, color,
benefits in proportion to the amount of the Copayment,                     national origin, age, disability or sex, you can file a grievance
Deductible, and/or Coinsurance amounts waived, forgiven or                 by sending an email to ACAGrievance@cigna.com or by
reduced, regardless of whether the Pharmacy, pharmaceutical                writing to the following address:
manufacturer or other third party represents that you remain                   Cigna
responsible for any amounts that your plan does not cover. In                  Nondiscrimination Complaint Coordinator
the exercise of that discretion, Cigna shall have the right to                 P.O. Box 188016
require you to provide proof sufficient to Cigna that you have                 Chattanooga, TN 37422
made your required cost share payment(s) prior to the payment
of any benefits by the plan.                                               If you need assistance filing a written grievance, please call
                                                                           the number on the back of your ID card or send an email to
For example, if you use a coupon provided by a                             ACAGrievance@cigna.com. You can also file a civil rights
pharmaceutical manufacturer or other third party that                      complaint with the U.S. Department of Health and Human
discounts the cost of a Prescription Drug Product, Cigna may,              Services, Office for Civil Rights electronically through the
in its sole discretion, reduce the benefits up to the amount of            Office for Civil Rights Complaint Portal, available at:
the incentive, which may be 100% if the incentive covers                   https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
100%. This includes any amount of the Copayment,                           phone at:
Deductible, and/or Coinsurance amounts to which the value of
                                                                               U.S. Department of Health and Human Services
the coupon has been applied by the Pharmacy or other third
                                                                               200 Independence Avenue, SW
party. The amount of the incentive will be excluded from
accumulation toward any plan Deductible or Out-of-Pocket                       Room 509F, HHH Building
Maximum if the value of any coupon was applied to any                          Washington, D.C. 20201
                                                                               1-800-368-1019, 800-537-7697 (TDD)
Copayment, Deductible and/or Co-insurance you are required
to pay.                                                                    Complaint forms are available at
                                                                           http://www.hhs.gov/ocr/office/file/index.html.

HC-IMP267                                                      08-19
                                                                  V3       HC-NOT96                                                      07-17




Discrimination is Against the Law                                          Proficiency of Language Assistance Services
Cigna complies with applicable Federal civil rights laws and               English – ATTENTION: Language assistance services, free
does not discriminate on the basis of race, color, national                of charge, are available to you. For current Cigna customers,
origin, age, disability or sex. Cigna does not exclude people or           call the number on the back of your ID card. Otherwise, call
treat them differently because of race, color, national origin,            1.800.244.6224 (TTY: Dial 711).
age, disability or sex.                                                    Spanish – ATENCIÓN: Hay servicios de asistencia de
Cigna:                                                                     idiomas, sin cargo, a su disposición. Si es un cliente actual de
   Provides free aids and services to people with disabilities to         Cigna, llame al número que figura en el reverso de su tarjeta
    communicate effectively with us, such as:                              de identificación. Si no lo es, llame al 1.800.244.6224 (los
                                                                           usuarios de TTY deben llamar al 711).
     Qualified sign language interpreters
                                                                           Chinese – 注意：我們可為您免費提供語言協助服務。
     Written information in other formats (large print, audio,
                                                                           對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
      accessible electronic formats, other formats)
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。




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Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp             連絡ください。その他の方は、1.800.244.6224（TTY:
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của               711）まで、お電話にてご連絡ください。
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                     Italian – ATTENZIONE: Sono disponibili servizi di
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                     assistenza linguistica gratuiti. Per i clienti Cigna attuali,
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                    chiamare il numero sul retro della tessera di identificazione.
                                                                     In caso contrario, chiamare il numero 1.800.244.6224 (utenti
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                       TTY: chiamare il numero 711).
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                          German – ACHTUNG: Die Leistungen der
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                   Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
                                                                     Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
(TTY: 다이얼 711)번으로 전화해주십시오.                                           Nummer auf der Rückseite Ihrer Krankenversicherungskarte
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                  an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
tulong sa wika nang libre. Para sa mga kasalukuyang customer         Sie 711).
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).                                                          HC-NOT97                                                    07-17



                                                                     Special Plan Provisions
                                                                     The Cigna 24-Hour Health Information Line
                                                                     The 24-Hour Health Information Line (HIL) assists you in
French Creole – ATANSYON: Gen sèvis èd nan lang ki                   understanding the right level of treatment at the right time.
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki          Trained Nurses provide health and medical information and
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                    assist you to choose the most appropriate care resource. Our
(TTY: Rele 711).                                                     Health Information Line Nurses identify level of care
                                                                     resources in the individual’s area (emergency, urgent,
French – ATTENTION: Des services d’aide linguistique vous            Physician, home/self-care), provide general health information
sont proposés gratuitement. Si vous êtes un client actuel de         (preventive care, illness condition definitions, diagnostic and
Cigna, veuillez appeler le numéro indiqué au verso de votre          surgical procedures, etc.), and can help you find network
carte d’identité. Sinon, veuillez appeler le numéro                  providers. You can call the Health Information Line and get
1.800.244.6224 (ATS : composez le numéro 711).                       live support 24 hours a day, 7 days a week. Dial the number
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                  on the back of your Cigna ID card and you’ll be connected
assistência linguística, totalmente gratuitos. Para clientes         directly to a Specialist trained as a Nurse who is ready to help
Cigna atuais, ligue para o número que se encontra no verso do        answer your health questions.
seu cartão de identificação. Caso contrário, ligue para              Appointment Scheduling
1.800.244.6224 (Dispositivos TTY: marque 711).
                                                                     You should have access to timely appointments and
Polish – UWAGA: w celu skorzystania z dostępnej,                     scheduling. The following guidelines represent both the plan’s
bezpłatnej pomocy językowej, obecni klienci firmy Cigna              and the state of California’s requirements for appointment
mogą dzwonić pod numer podany na odwrocie karty                      accessibility with Participating Providers:
identyfikacyjnej. Wszystkie inne osoby prosimy o
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                Emergent or high risk cases should have access to
                                                                         immediate appointments, appropriate emergency room
Japanese –                                                               authorization or direction to dial 911.
注意事項：日本語を話される場合、無料の言語支援サー
ビスをご利用いただけます。現在のCignaの
お客様は、IDカード裏面の電話番号まで、お電話にてご


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   Urgent cases not requiring prior-authorization should have           The Department of Insurance should be contacted only
    access to appointments within 24 hours of the appointment            after discussions with the insurer have failed to produce a
    request.                                                             satisfactory resolution to the problem.
   If services must be prior authorized, appointments should be         PLEASE READ THE FOLLOWING INFORMATION
    offered concurrent with the prior authorization request and          SO YOU WILL KNOW FROM WHOM OR WHAT
    the appointment should be provided within 96 hours of the            GROUP OF PROVIDERS HEALTH CARE MAY BE
    appointment request.                                                 OBTAINED
   Non-urgent, symptomatic or routine appointments with a               Participating Providers
    PCP should be scheduled within 10 days of the appointment            Copayment, Deductible, and Coinsurance options reflect the
    request.                                                             amount the covered person will pay for In-Network and Out-
   Non-urgent, symptomatic or routine appointments with a               of-Network benefits. In-Network benefits require use of
    Specialist should be scheduled within 15 days of the                 Participating Providers or facilities in the Service Area. Cigna
    appointment request.                                                 recommends use of Participating Providers and facilities, as
   Preventive screenings and physicals should be scheduled              member out-of-pocket costs could be lower than when using
    within 30 days of the appointment request.                           non-Participating Providers.
   Non-urgent appointments for ancillary services for the               Service Area
    diagnosis or treatment of Injury or Sickness, or other health        The term Service Area means the area in which Cigna has a
    condition should be scheduled within 15 days of the                  Participating Provider network. Cigna's national network of
    appointment request.                                                 Participating Providers is within the United States. Cigna's
   Non-urgent appointments with a non-Physician mental                  toll-free care line personnel can provide you with the names of
    health care provider should be scheduled within 10 business          Participating Providers. If you or your Dependents need
    days of the appointment request.                                     medical care, you may obtain a listing of Participating
                                                                         Providers by calling the number on your ID card. A listing of
   Average waiting time in the office should not exceed 30              Participating Providers can also be found at www.cigna.com.
    minutes.
                                                                         Away From Home Care
   When it is necessary for you or a health care professional to
    reschedule an appointment, the appointment shall be                  If you or your Dependents need medical care while away from
    promptly rescheduled in a manner that is appropriate for             home, you may have access to a national network of
    your health care needs, and ensures continuity of care               Participating Providers through Cigna's Away-From-Home
    consistent with good professional practice.                          Care feature. Call the number on your ID card for the names
                                                                         of Participating Providers in other network areas.
   The applicable waiting time for a particular appointment
    may be extended if the referring or treating provider, or the        Emergency Services
    health professional providing triage or screening services,          Benefits for services and supplies received outside the Service
    has determined and noted in the relevant record that a               Area are covered only for medical emergencies and other
    longer wait time will not have a detrimental impact on your          urgent situations where treatment could not have been
    health.                                                              reasonably delayed until the insured person was able to return
                                                                         to the United States.
Accessing Health Care                                                    To contact the Department of Insurance, write or call:
To contact the Department of Insurance, for complaints                     Consumer Affairs Division
regarding your ability to access health care in a timely                   California Department of Insurance
manner, write or call:                                                     Ronald Reagan Building
                                                                           300 South Spring Street
    Consumer Affairs Division                                              Los Angeles, CA 90013
    California Department of Insurance                                     Calling within California: 1-800-927-4357
    Ronald Reagan Building                                                 Los Angeles Area and Outside California: 1-213-897-8921
    300 South Spring Street
    Los Angeles, CA 90013                                                The Department of Insurance should be contacted only after
                                                                         discussions with the insurer have failed to produce a
    Calling within California: 1-800-927-4357                            satisfactory resolution to the problem.
    Los Angeles Area and Outside California: 1-213-897-
    8921



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Your Rights Under HIPAA If You Lose Group Coverage                      Discrimination is Against the Law
Federal law known as the Health Insurance Portability and               Cigna complies with applicable Federal civil rights laws and
Accountability Act of 1996 (HIPAA) protects health insurance            does not discriminate on the basis of race, color, national
coverage for workers and their families when they change or             origin, age, disability, or sex. Cigna also does not discriminate
lose their jobs. California law provides similar and additional         on the basis of race, color, national origin, ancestry, religion,
protections. If you lose group health insurance coverage and            sex, marital status, gender, gender identity, sexual orientation
meet certain criteria, you are entitled to purchase individual          age or disability.
health coverage (non-group) from any health plan that sells             Cigna:
individual coverage for hospital, medical or surgical benefits.
Every health plan that sells individual health coverage for                Provides free aids and services to people with disabilities to
these benefits must offer individual coverage to an eligible                communicate effectively with us, such as:
person under HIPAA. The health plan cannot reject your                       qualified sign language interpreters.
application if: you are an eligible person under HIPAA; you                  written information in other formats (large print, audio,
agree to pay the required premiums; and you live or work                      accessible electronic formats, other formats).
inside the plan's service area. To be considered an eligible
                                                                           Provides free language services to people whose primary
person under HIPAA you must meet the following
                                                                            language is not English, such as:
requirements:
                                                                             qualified interpreters.
   you have 18 or more months of creditable coverage without
    a break of 63 days or more between any of the periods of                 information written in other languages.
    creditable coverage or since your most recent coverage was          If you need these services, contact customer service at the toll-
    terminated;                                                         free number shown on your ID card, and ask a Customer
   your most recent creditable coverage was a group,                   Service Associate for assistance.
    government or church plan that provided hospital, medical           If you believe that Cigna has failed to provide these services
    or surgical benefits. (COBRA and Cal-COBRA are                      or discriminated in another way on the basis of race, color,
    considered group coverage);                                         national origin, ancestry, religion, sex, marital status, gender,
   you were not terminated from your most recent creditable            gender identity, sexual orientation age or disability, you can
    coverage due to nonpayment of premiums or fraud;                    file a grievance by sending an email to the Nondiscrimination
                                                                        Complaint Coordinator at ACAGrievance@Cigna.com or by
   you are not eligible for coverage under a group health plan,
    Medicare, or Medicaid (Medi-Cal);                                   writing to the following address:

   you have no other health insurance coverage; and                        Cigna
                                                                            Nondiscrimination Complaint Coordinator
   you have elected and exhausted any continuation coverage                PO Box 188016
    you were offered under COBRA or Cal-COBRA.                              Chattanooga, TN 37422
There are important choices you need to make in a very short                You may also call the number on the back of your ID card
time frame regarding the options available to you following                 or 1-800-244-6224
termination of your group health care coverage. You should                  Fax: 866-254-9406
read carefully all available information regarding HIPAA                If you need assistance filing a written grievance, please call
coverage so you can understand fully the special protections of         the number on the back of your ID card or send an email to
HIPAA coverage and make an informed comparison and                      ACAGrievance@Cigna.com. You can also file a civil rights
choice regarding available coverage. For more information,              complaint with the U.S. Department of Health and Human
please call the number on your ID card.                                 Services, Office for Civil Rights electronically through the
If you believe your HIPAA rights have been violated, you                Office for Civil Rights Complaint Portal, available at
should contact the CA Department of Insurance or visit the              https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
Department’s web site.                                                  phone at:
                                                                            U.S. Department of Health and Human Services
                                                                            200 Independence Avenue, SW
                                                                            Room 509F, HHH Building
                                                                            Washington, DC 20201
                                                                            1-800-368-1019, 1-800-537-7697 (TDD)




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Complaint forms are available at                                          WARNING: Any person who knowingly and with intent to
http://www.hhs.gov/ocr/office/file/index.html.                            defraud any insurance company or other person files an
                                                                          application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
HC-IMP241                                                    06-18
                                                                          misleading, information concerning any material fact thereto,
                                                               V1         commits a fraudulent insurance act.


                                                                          HC-CLM25                                                     01-11
How To File Your Claim                                                                                                                    V11

There’s no paperwork for In-Network care. Just show your
identification card and pay your share of the cost, if any; your
provider will submit a claim to Cigna for reimbursement. Out-             Eligibility - Effective Date
of-Network claims can be submitted by the provider if the
provider is able and willing to file on your behalf. If the
provider is not submitting on your behalf, you must send your             Employee Insurance
completed claim form and itemized bills to the claims address             This plan is offered to you as an Employee.
listed on the claim form.                                                 Eligibility for Employee Insurance
You may get the required claim forms from the website listed              You will become eligible for insurance on the day you
on your identification card or by using the toll-free number on           complete the waiting period if:
your identification card.
                                                                             you are in a Class of Eligible Employees; and
CLAIM REMINDERS
                                                                             you are an eligible, full-time Employee; and
 BE SURE TO USE YOUR MEMBER ID AND
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                         you normally work at least 30 hours a week; and
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                      you pay any required contribution.
  YOUR CIGNA CLAIM OFFICE.                                                If you were previously insured and your insurance ceased, you
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                must satisfy the Waiting Period to become insured again. If
    BENEFIT IDENTIFICATION CARD.                                          your insurance ceased because you were no longer employed
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON                                 in a Class of Eligible Employees, you are not required to
    YOUR BENEFIT IDENTIFICATION CARD.                                     satisfy any waiting period if you again become a member of a
                                                                          Class of Eligible Employees within one year after your
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED                             insurance ceased.
    ON THE BACK OF THE CLAIM FORM CAREFULLY
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     Eligibility for Dependent Insurance
Timely Filing of Out-of-Network Claims                                    You will become eligible for Dependent Insurance on the later
                                                                          of:
Cigna will consider claims for coverage under our plans when
proof of loss (a claim) is submitted within 180 days for Out-                the day you become eligible for yourself; or
of-Network benefits after services are rendered. If services are             the day you acquire your first Dependent.
rendered on consecutive days, such as for a Hospital
Confinement, the limit will be counted from the last date of              Waiting Period
service. If claims are not submitted within 180 days for Out-
                                                                          None.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                       Classes of Eligible Employees
                                                                          Each Employee as reported to the insurance company by your
                                                                          Employer.
                                                                          Effective Date of Employee Insurance
                                                                          You will become insured on the date you elect the insurance
                                                                          by signing an approved payroll deduction or enrollment form,
                                                                          as applicable, but no earlier than the date you become eligible.
                                                                          You will become insured on your first day of eligibility,
                                                                          following your election, if you are in Active Service on that


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date, or if you are not in Active Service on that date due to
your health status.
Late Entrant - Employee                                                      Important Information About Your
You are a Late Entrant if:                                                   Medical Plan
   you elect the insurance more than 30 days after you become               Details of your medical benefits are described on the
    eligible; or                                                             following pages.
   you are eligible for coverage through a guarantee                        Opportunity to Select a Primary Care Physician
    association and you elect the insurance more than 60 days
                                                                             Choice of Primary Care Physician:
    after you become eligible; or
                                                                             This medical plan does not require that you select a Primary
   you again elect it after you cancel your payroll deduction (if
                                                                             Care Physician or obtain a referral from a Primary Care
    required).
                                                                             Physician in order to receive all benefits available to you
                                                                             under this medical plan. Notwithstanding, a Primary Care
Dependent Insurance                                                          Physician may serve an important role in meeting your health
For your Dependents to be insured, you will have to pay the                  care needs by providing or arranging for medical care for you
required contribution, if any, toward the cost of Dependent                  and your Dependents. For this reason, we encourage the use of
Insurance.                                                                   Primary Care Physicians and provide you with the opportunity
Effective Date of Dependent Insurance                                        to select a Primary Care Physician from a list provided by
                                                                             Cigna for yourself and your Dependents. If you choose to
Insurance for your Dependents will become effective on the                   select a Primary Care Physician, the Primary Care Physician
date you elect it by signing an approved payroll deduction                   you select for yourself may be different from the Primary Care
form (if required), but no earlier than the day you become                   Physician you select for each of your Dependents.
eligible for Dependent Insurance. All of your Dependents as
defined will be included.                                                    Changing Primary Care Physicians:
Your Dependents will be insured only if you are insured.                     You may request a transfer from one Primary Care Physician
                                                                             to another by contacting us at the member services number on
Late Entrant – Dependent                                                     your ID card. Any such transfer will be effective on the first
You are a Late Entrant for Dependent Insurance if:                           day of the month following the month in which the processing
   you elect that insurance more than 30 days after you                     of the change request is completed.
    become eligible for it; or                                               In addition, if at any time a Primary Care Physician ceases to
   you are a Dependent who has lost or will lose coverage                   be a Participating Provider, you or your Dependent will be
    under Medi-Cal, the Healthy Families Program (HFP), or                   notified for the purpose of selecting a new Primary Care
    the Access for Infants and Mothers Program (AIM) and you                 Physician.
    elect the insurance more than 60 days after you become                   Direct Access for OB/GYN Services:
    eligible and you declined coverage during your initial                   Female insureds covered by this plan are allowed direct access
    enrollment period by signing a Declination of Medical                    to a licensed/certified Participating Provider for covered
    Coverage form, provided by your Employer; or                             OB/GYN services. There is no requirement to obtain an
   you again elect it after you cancel your payroll deduction (if           authorization from your Primary Care Physician for visits to
    required).                                                               the Participating Provider of your choice for pregnancy, well-
Exception for Newborns and Adopted Children                                  woman gynecological exams, primary and preventive
                                                                             gynecological care, and acute gynecological conditions.
Any Dependent child born or placed for adoption, while you
are insured will become insured on the date of his birth or                  Direct Access for Treatment of Certain Reproductive and
placement for adoption, if you elect Dependent Insurance no                  Sexual Health Care Services
later than 31 days after his birth or placement for adoption. If             Insureds covered by this plan are allowed direct access to a
you do not elect to insure your newborn child or child placed                licensed/certified Participating Provider for covered
for adoption within 31 days, coverage for that child will end                reproductive and sexual health care services. There is no
on the 31st day. No benefits for expenses incurred beyond the                requirement to obtain an authorization from your Primary
31st day will be payable.                                                    Care Physician for visits to the Participating Provider of your
                                                                             choice for:
HC-ELG219                                                       01-19
                                                                                care related to the prevention or treatment of pregnancy,
                                                                  V1             including sterilization and abortion;


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   diagnosis or treatment related to an infectious, contagious or
    communicable disease, including public health conditions
    and sexually transmitted diseases;
   diagnosis and treatment related to rape, including the
    collection of medical evidence;
   diagnosis and treatment for sexual assault, including the
    collection of medical evidence with regard to the alleged
    sexual assault; and
   diagnosis and treatment for HIV and other tests.
Direct Access for Mental Health and Substance Use Disorder
Services:
Insureds covered by this plan are allowed direct access to a
licensed/certified Participating Provider for covered mental
health and substance use disorder services. There is no
requirement to obtain an authorization from your Primary
Care Physician for individual or group therapy visits to a
Participating Provider for mental health and substance use
disorder services.


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                                    Open Access Plus Medical Benefits
                                                      The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate, or you do not have timely access to, an In-Network Provider in your area who can provide you
with a service or supply that is covered under this plan, you may use an Out-of-Network Provider. If you call the number
on the back of your I.D. card to obtain assistance with your Out-of-Network Provider coverage, Cigna may negotiate Out-
of-Network billed charges on your behalf with the Out-of-Network Provider. If you contact Cigna and do obtain
authorization for services provided by an Out-of-Network Provider, Cigna will arrange for those services and benefits for
those services will be covered at the In-Network benefit level. Otherwise, they may be covered at an Out-of-Network cost
share.
If you receive a covered service at an In-Network health facility but from a non-Participating Provider who is licensed in
California, you only have to pay the In-Network cost share amount shown in The Schedule. An In-Network “health
facility” includes, but is not limited to, a licensed hospital, ambulatory surgery center, or other outpatient setting such as a
lab, or a radiology or imaging center. At the time that Cigna reimburses the non-Participating Provider for the services
provided, Cigna will inform you of any In-Network cost-sharing amount you may owe. Any In-Network cost sharing will
be applied toward the In-Network Deductible and Out-of-Pocket maximum.
In certain situations, you may voluntarily choose to pay a non-Participating Provider at the Out-of-Network cost share. If
you and the non-Participating Provider agree to this arrangement, the non-Participating Provider must receive your written
authorization at least 24 hours in advance of providing service. The non-Participating Provider must also submit a copy of
such authorization with the request for reimbursement.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                                  Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
   provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
   excluding any In-Network copay or coinsurance; (ii) the Maximum Reimbursable Charge; or (iii) the amount payable
   under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                             Unlimited
The Percentage of Covered Expenses         80%                                      60% of the Maximum Reimbursable
the Plan Pays                                                                       Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
Maximum Reimbursable Charge is
determined based on the lesser of the
provider’s normal charge for a similar
service or supply; or
A policyholder-selected percentage of a    Not Applicable                 110%
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable fee for the
same or similar services within the
geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
  the provider’s normal charge for a
   similar service or supply; or
 the 80th percentile of charges made
   by providers of such service or
   supply in the geographic area where
   it is received as compiled in a
   database selected by Cigna. If
   sufficient charge data is unavailable
   in the database for that geographic
   area to determine the Maximum
   Reimbursable Charge, then data in
   the database for similar services may
   be used.
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles, copayments and
coinsurance.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $500 per person                 $750 per person

  Family Maximum                          $1,500 per family               $2,250 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                              $3,000 per person               $9,000 per person
  Family Maximum                          $6,000 per family               $18,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-         Yes                                     No
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs           Yes                                     In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office        No charge after $25 per office visit    60% after plan deductible
  Visit                                  copay
  Specialty Care Physician’s Office      No charge after $40 Specialist per      60% after plan deductible
  Visits                                 office visit copay
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $25 PCP or $40      60% after plan deductible
  Office                                 Specialist per office visit copay
  Second Opinion Consultations           No charge after the $25 PCP or $40      60% after plan deductible
  (provided on a voluntary basis)        Specialist per office visit copay
  Allergy Treatment/Injections           No charge after either the $25 PCP or   60% after plan deductible
                                         $40 Specialist per office visit copay
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               60% after plan deductible
  Physician in the office)




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
  Virtual Care Services for minor        No charge after the $25 PCP per      In-Network coverage only
  medical conditions                     office visit copay
  Virtual Wellness Screenings            No charge                            In-Network coverage only

Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                 No charge after the $25 PCP or $40   60% after plan deductible
                                         Specialist per office visit copay
.
Preventive Care
  Routine Preventive Care - all ages     No charge                            60% after plan deductible
 Immunizations - all ages                No charge                            60% after plan deductible
 .
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       No charge                            60% after plan deductible
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray & lab    Subject to the plan’s x-ray & lab
  “non-routine” services)                benefit; based on place of service   benefit; based on place of service

.
Inpatient Hospital – Facility Services   $250 per admission copay, then 80%   $500 per admission deductible, then
                                         after plan deductible                60% after plan deductible
Bed and Board Limit
  Semi-Private Room                      Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room     Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate       Limited to the ICU/CCU daily room
                                                                              rate




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                        OUT-OF-NETWORK
Outpatient Facility Services
 Operating Room, Recovery Room,           $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
 Procedures Room, Treatment Room          plan deductible                        after plan deductible
 and Observation Room
  Note:
  Non-surgical treatment procedures
  are not subject to the facility copay
  or facility deductible.
Inpatient Hospital Physician’s            80% after plan deductible              60% after plan deductible
Visits/Consultations

Inpatient Hospital Professional           80% after plan deductible              60% after plan deductible
Services
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services          80% after plan deductible              60% after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Urgent Care Services
  Physician’s Office Visit                No charge after the $25 PCP or $40     No charge after the $25 PCP or $40
                                          Specialist per office visit copay      Specialist per office visit copay
  Urgent Care Facility or Outpatient      No charge after $25 per visit copay*   No charge after $25 per visit copay*
  Facility
                                          *waived if admitted                    *waived if admitted
  Outpatient Professional Services        No charge                              No charge
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       No charge                              No charge
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     No charge                              No charge
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Emergency Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge                               No charge
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge                               No charge
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge                               No charge
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge                               No charge
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Ambulance                                 80% after plan deductible               80% after plan deductible

Inpatient Services at Other Health        80% after plan deductible               60% after plan deductible
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit               No charge after the $25 PCP or $40      60% after plan deductible
                                          Specialist per office visit copay
  Outpatient Hospital Facility            80% after plan deductible               60% after plan deductible
  Independent X-ray and/or Lab            80% after plan deductible               60% after plan deductible
  Facility
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                No charge                               60% after plan deductible
  Inpatient Facility                      $250 per admission copay, then 80%      $500 per admission deductible, then
                                          after plan deductible                   60% after plan deductible
  Outpatient Facility                     80% after plan deductible               60% after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services and           No charge after the $25 PCP or $40    60% after plan deductible
Chiropractic Services                     Specialist per office visit copay
  Calendar Year Maximum:                  Note:
  Unlimited                               Outpatient Therapy Services copay
  Includes:                               applies, regardless of place of
  Cardiac Rehab                           service, including the home.
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Chiropractic Therapy (includes
  Chiropractors)
  .
Acupuncture                               No charge after the $25 PCP or $40    60% after plan deductible
  Calendar Year Maximum:                  Specialist per office visit copay
  20 days
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% after plan deductible
  100 days (includes outpatient private
  nursing when approved as Medically
  Necessary)
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% after plan deductible
  Outpatient Services                     80% after plan deductible             60% after plan deductible
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% after plan deductible
  Outpatient                              80% after plan deductible             60% after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $250 per admission copay, then 80%     In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $125 per visit copay, then 80% after   In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $25 PCP or $40     60% after plan deductible
                                            Specialist per office visit copay
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible              60% after plan deductible
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $25 PCP or $40     60% after plan deductible
  to the global maternity fee when          Specialist per office visit copay
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $250 per admission copay, then 80%     $500 per admission deductible, then
  (Inpatient Hospital, Birthing Center)     after plan deductible                  60% after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $25 PCP or $40     60% after plan deductible
                                          Specialist per office visit copay
  Inpatient Facility                      $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% after plan deductible
  Outpatient Facility                     $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
                                          plan deductible                        after plan deductible
  Physician’s Services                    80% after plan deductible              60% after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                              60% after plan deductible
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                              60% after plan deductible
    Inpatient Facility                    No charge                              $500 per admission deductible, then
                                                                                 60% after plan deductible
    Outpatient Facility                   No charge                              $250 per visit deductible, then 60%
                                                                                 after plan deductible
    Physician’s Services                  No charge                              60% after plan deductible
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $25 PCP or $40     60% after plan deductible
  Tests and Counseling                    Specialist per office visit copay
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $25 PCP or $40     60% after plan deductible
                                          Specialist per office visit copay
    Inpatient Facility                    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% after plan deductible
    Outpatient Facility                   $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
                                          plan deductible                        after plan deductible
    Physician’s Services                  80% after plan deductible              60% after plan deductible




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        BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Infertility Treatment
Services Not Covered include:                 Not Covered                           Not Covered
     Testing performed specifically to
      determine the cause of infertility.
     Treatment and/or procedures
      performed specifically to restore
      fertility (e.g. procedures to correct
      an infertility condition).
     Artificial means of becoming
      pregnant (e.g. Artificial
      Insemination, In-vitro, GIFT,
      ZIFT, etc).
Note:
Coverage will be provided for the
treatment of an underlying medical
condition up to the point an infertility
condition is diagnosed. Services will be
covered
.       as any other illness.
Organ Transplants
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                    No charge after the $25 PCP or $40    In-Network coverage only
                                              Specialist per office visit copay
  Inpatient Facility                          100% at LifeSOURCE center after       In-Network coverage only
                                              $250 per admission copay, otherwise
                                              80% after $250 per admission copay
                                              and plan deductible
  Physician’s Services                        100% at LifeSOURCE center,            In-Network coverage only
                                              otherwise 80% after plan deductible
  Lifetime Travel Maximum:                    No charge (only available when        In-Network coverage only
  $10,000 per transplant                      using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                      80% after plan deductible             60% after plan deductible
  Unlimited
  .
External Prosthetic Appliances
  Calendar Year Maximum:                      80% after plan deductible             60% after plan deductible
  Unlimited
Hearing Aids
  Calendar Year Maximum:                      80% after plan deductible             60% after plan deductible
  $5,000
  .      Maximum per individual
Diabetic Equipment                            80% after plan deductible             60% after plan deductible
  Calendar Year Maximum:
  Unlimited




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% after plan deductible
  Outpatient Facility                       $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
                                            plan deductible                        after plan deductible
  Physician’s Services                      80% after plan deductible              60% after plan deductible

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% after plan deductible
  Outpatient Facility                       $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
                                            plan deductible                        after plan deductible
   Physician’s Services                     80% after plan deductible              60% after plan deductible
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $25 PCP or $40     60% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% after plan deductible
  Outpatient Facility                       $125 per visit copay, then 80% after   $250 per visit deductible, then 60%
                                            plan deductible                        after plan deductible
  Physician’s Services                      80% after plan deductible              60% after plan deductible




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
 Inpatient                                 $250 per admission copay, then 80%        $500 per admission deductible, then
   Includes Acute Inpatient and            after plan deductible                     60% after plan deductible
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits              $25 per visit copay                       60% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services        80% after plan deductible                 60% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Includes coverage for Applied
    Behavioral Analysis (ABA) for the
    treatment of autism.

    Calendar Year Maximum:
    Unlimited
      .




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             $250 per admission copay, then 80%   $500 per admission deductible, then
    Includes Acute Inpatient            after plan deductible                60% after plan deductible
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $25 per visit copay                  60% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible            60% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Room and Board, for treatment listed              Home Health Care Services.
    above for which PAC was performed, which are made for                  Durable medical equipment.
    any day in excess of the number of days certified through              External prosthetics.
    PAC or CSR; and
                                                                           Medical Pharmaceuticals.
   any Hospital charges for treatment listed above for which
    PAC was requested, but which was not certified as                      Radiation therapy.
    Medically Necessary.                                                Continuity of Care
PAC and CSR are performed through a utilization review                  Upon your request, Cigna shall provide or arrange for the
program by a Review Organization with which Cigna has                   completion of covered services from a terminated
contracted.                                                             Participating Provider or a non-Participating Provider if you
In any case, those expenses incurred for which payment is               have one of the following conditions and were receiving
excluded by the terms set forth above will not be considered as         services from the terminated Participating Provider or non-
expenses incurred for the purpose of any other part of this             Participating Provider at the time of the contract termination
plan, except for the "Coordination of Benefits" section.                or at the time you became eligible under the Policy. You will
                                                                        qualify to receive continued services for the following
Outpatient Certification Requirements – Out-of-Network                  conditions and specified time periods:
Outpatient Certification refers to the process used to certify             an acute condition. An acute condition is a medical
the Medical Necessity of outpatient diagnostic testing and                  condition that involves a sudden onset of symptoms due to


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    an illness, Injury, or other medical problem that requires           Cigna is not obligated to arrange for continuity of care with a
    prompt medical attention and that has a limited duration.            terminated Participating Provider or non-Participating
    Completion of covered services shall be provided for the             Provider who has been terminated for medical disciplinary
    duration of the acute condition.                                     reasons or who has committed fraud or other criminal
   a serious chronic condition. A serious chronic condition is          activities.
    a medical condition due to a disease, illness, or other              Arranging for Continuity of Care. If the insured meets the
    medical problem or medical disorder that is serious in               necessary requirements for continuity of care as described
    nature and that persists without full cure or worsens over an        herein, and would like to continue his/her care with a
    extended period of time or requires ongoing treatment to             terminated Participating Provider or non-Participating
    maintain remission or prevent deterioration. Completion of           Provider, the insured should call the Member Services
    covered services shall be provided for a period of time              Department at the number shown on the I.D. card to make a
    necessary to complete a course of treatment and to arrange           formal request for continuity of care.
    for a safe transfer to another provider, as determined by            This information will be reviewed by Cigna to determine if the
    Cigna in consultation with you and the terminated                    insured's medical condition and the terminated Participating
    Participating Provider or non-Participating Provider and             Provider or non-Participating Provider’s status qualifies for
    consistent with good professional practice. Completion of            continuity of care.
    covered services under this paragraph shall not exceed 12
    months from the contract termination date or 12 months               The insured will be notified if continuity of care arrangements
    from the effective date of coverage for a newly covered              can be made with the insured's current terminated
    person.                                                              Participating Provider or non-Participating Provider and will
                                                                         receive information relating to the extent and length of care
   a pregnancy. A pregnancy is the three trimesters of                  that can be provided. Cigna will make every effort to expedite
    pregnancy and the immediate postpartum period.                       the review and inform the insured of the continuity of care
    Completion of covered services shall be provided for the             decision as soon as possible. If the insured does not meet the
    duration of the pregnancy.                                           requirements for continuity of care or if the terminated
   a terminal illness. A terminal illness is an incurable or            Participating Provider or non-Participating Provider refuses to
    irreversible condition that has a high probability of causing        render care or has been determined unacceptable for quality or
    death within one year or less. Completion of covered                 contractual reasons, Cigna will work with the insured to
    services shall be provided for the duration of a terminal            accomplish a timely transition to another qualified
    illness.                                                             Participating Provider.
   The care of a newborn child between birth and age 36                 To make a request for continuity of care, please call the
    months. Completion of covered services under this                    number on your I.D. card as early as possible so the review
    paragraph shall not exceed 12 months from the contract               process can begin and your treatment can continue.
    termination date or 12 months from the effective date of
    coverage for a newly covered person.
                                                                         HC-PAC124                                                       01-20
   performance of a surgery or other procedure that is
    authorized by Cigna as part of a documented course of
    treatment and has been recommended and documented by
    the provider to occur within 180 days of the contract's              Prior Authorization/Pre-Authorized
    termination date or within 180 days of the effective date of         The term Prior Authorization means the approval that a
    coverage for a newly covered person.                                 Participating Provider must receive from the Review
Provider’s Responsibility. In order for a terminated                     Organization, prior to services being rendered, in order for
Participating Provider or non-Participating Provider to                  certain services and benefits to be covered under this policy.
continue caring for an insured, the terminated Participating             Services that require Prior Authorization are covered services
Provider or non-Participating Provider must comply with                  in the following categories:
Cigna's contractual and credentialing requirements and must                 inpatient Hospital services, except for 48/96 hour maternity
meet Cigna's standards for utilization review and quality                    stays;
assurance. The terminated Participating Provider or non-
Participating Provider must also agree to a mutually                        inpatient services at any participating Other Health Care
acceptable rate of payment. If these conditions are not met,                 Facility;
Cigna is not required to arrange for continuity of care.                    residential treatment;
                                                                            outpatient facility services;



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   partial hospitalizations;                                                 charges for outpatient medical care and treatment received
   advanced radiological imaging;                                             at a Hospital.
   non-emergency Ambulance;                                                  charges for outpatient medical care and treatment received
                                                                               at a Free-Standing Surgical Facility.
   certain Medical Pharmaceuticals;
                                                                              charges for Emergency Services.
   transplant services;
                                                                              charges for Urgent Care.
   speech, occupational and physical therapy;
                                                                              charges made by a Physician or a Psychologist for
   Applied Behavior Analysis (ABA);                                           professional services.
   infertility services;                                                     charges made by a Nurse for professional nursing service.
   durable medical equipment;                                                charges made for anesthetics, including, but not limited to
   Home Health Care Services;                                                 supplies and their administration.
   home infusion services;                                                   charges for diagnostic x-ray.
   back/spine procedures;                                                    charges for advanced radiological imaging, including for
   ear devices;                                                               example:
   oral pharynx procedures;                                                    CT Scans, MRI, MRA and PET scans and laboratory
                                                                                 examinations, x-ray, radiation therapy and radium and
   orthotics and prosthetics;
                                                                                 radioactive isotope treatment and other therapeutic
   radiation therapy;                                                           radiological procedures.
   sleep management; genetic testing; or                                     charges for chemotherapy.
   musculoskeletal pain management services.                                 charges for blood transfusions.
                                                                              charges for oxygen and other gases and their administration.
HC-PRA48                                                      01-22           charges made for Medically Necessary foot care for
                                                                V2             diabetes, peripheral neuropathies and peripheral vascular
                                                                               disease.
                                                                              charges made for or in connection with mammograms for
Covered Expenses                                                               breast cancer screenings or diagnostic purposes including,
The term Covered Expenses means expenses incurred by a                         but not limited to: a baseline mammogram for women age
person while covered under this plan for the charges listed                    35, but less than 40; a mammogram for women age 40, but
below for:                                                                     less than 50, every two years or more, if Medically
                                                                               Necessary and if recommended by a Physician, nurse
   preventive care services, and                                              practitioner or a nurse midwife; and a mammogram every
   services or supplies that are Medically Necessary for the                  year for women age 50 and over.
    care and treatment of an Injury or a Sickness, as determined              charges made for an annual Papanicolaou laboratory
    by Cigna.                                                                  screening test.
As determined by Cigna, Covered Expenses may also include                     charges for the screening and diagnosis of prostate cancer,
all charges made by an entity that has directly or indirectly                  including, but not limited to, Medically Necessary prostate-
contracted with Cigna to arrange, through contracts with                       specific antigen (PSA) testing and digital rectal
providers of services and/or supplies, for the provision of any                examinations.
services and/or supplies listed below. Any applicable
Copayments, Deductibles or limits are shown in The                            charges made for services related to the diagnosis,
Schedule.                                                                      treatment, and management of osteoporosis. Covered
                                                                               services include, but are not limited to, all FDA approved
Covered Expenses                                                               technologies, including bone mass measurement
 charges for inpatient Room and Board and other Necessary                     technologies as deemed Medically Necessary.
  Services and Supplies; made by a Hospital; subject to the                   charges made for expenses incurred at any of the
  limits as shown in The Schedule.                                             Approximate Age Intervals shown below for a Dependent
   charges for licensed Ambulance service to the nearest                      child who is age 16 or less, for charges made for Child
    Hospital where the needed medical care and treatment can                   Preventive Care consisting of the following services
    be provided.


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    delivered or supervised by a Physician, in keeping with                   distant site. Telehealth facilitates patient self-management
    prevailing medical standards:                                             and caregiver support for patients and includes:
     physical examinations;                                                   Synchronous Interactions: Synchronous Interaction means
     appropriate immunizations; and                                            a real-time interaction between a patient and a Health
                                                                                Care Provider for telehealth located at a distant site; and
     laboratory tests in connection with physical examinations.
                                                                               Asynchronous Store and Forward transfers:
    excluding any charges for:                                                  Asynchronous Store and Forward means the transmission
     more than one visit to one provider for Child Preventive                  of a patient's medical information from an originating site
      Care Services at each of the Appropriate Age Intervals up                 to the health care provider for telehealth at a distant site
      to a total of 18 visits for each Dependent child;                         without the presence of the patient.
     services for which benefits are otherwise provided under            Originating site means a site where a patient is located at the
      this Covered Expenses section; or                                   time health care services are provided via telecommunications
     services for which benefits are not payable according to            system or where the Asynchronous Store and Forward service
      the "Expenses Not Covered" section.                                 originates.
    Approximate Age Intervals are: Birth, 2 months, 4 months,             Distant site means a site where a Health Care Provider for
    6 months, 9 months, 12 months, 15 months, 18 months, 2                telehealth who provides health care services is located while
    years, 3 years, 4 years, 5 years, 6 years, 8 years, 10 years,         providing these services via a telecommunications system.
    12 years, 14 years and 16 years.                                         coverage for the testing and treatment of PKU. This
   HIV testing regardless of whether testing is related to the               includes formulas and special food products that are part of
    patient's primary diagnosis.                                              a diet prescribed by a Physician and managed by a health
                                                                              care professional in consultation with a Physician
   charges made for laboratory services, radiation therapy and
                                                                              specializing in the treatment of metabolic diseases. The diet
    other diagnostic and therapeutic radiological procedures.                 must be deemed Medically Necessary to avoid the
   charges made for hearing aids and associated exam for                     development of serious mental or physical disabilities or to
    device testing and fitting, including but not limited to semi-            promote normal development or function resulting from
    implantable hearing devices, audiant bone conductors and                  PKU.
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
                                                                              Formula means an enteral product used in the home and
    any device that amplifies and delivers speech and other
                                                                              prescribed by a Physician, nurse practitioner, or registered
    sounds at levels equivalent to that of normal speech and                  dietician for Medically Necessary treatment of PKU.
    conversation.                                                             Special food products are those that are prescribed by a
Dedicated Virtual Providers                                                   Physician or Nurse practitioner for the treatment of PKU
 charges for the delivery of medical and health-related                      and are consistent with the recommendations and best
  services and consultations by dedicated virtual providers as                practices of qualified health professionals with expertise in
  medically appropriate through audio, video and secure                       treatment and care of PKU. It does not include a food that is
  internet-based technologies.                                                naturally low in protein. It may include a food product that
                                                                              is specially formulated to have less than one gram of protein
Virtual Physician Services
                                                                              per serving and is used instead of normal food products
 charges for the delivery of medical and health-related                      used by the general population, such as grocery store foods.
  services and consultations as medically appropriate through
                                                                             charges made for Medically Necessary treatment of Severe
  audio, video and secure internet-based technologies that are
                                                                              Mental Illness for covered persons of any age, and Serious
  similar to office visit services provided in a face-to-face
                                                                              Emotional Disturbances of a Dependent Child under 18
  setting.
                                                                              years old.
   Includes charges made for telehealth services on the same
                                                                             charges made for prosthetic appliances, including devices to
    basis, or better, and to the same extent, or better, as the
                                                                              restore a method of speaking following a laryngectomy,
    same service through in-person diagnosis, consultation, or
                                                                              other than electronic voice-producing machines.
    treatment. Telehealth means the mode of delivering health
    care services and public health via information and                      charges made by a licensed social worker, a registered
    communication technologies to facilitate the diagnosis,                   Nurse licensed in psychiatric-mental health or a licensed
    treatment, education, care management, and self-                          marriage, family or child counselor, for Mental Health
    management of a patient's health care while the patient is at             services, when such services are recommended by a
    the originating site and the Provider for telehealth is at a              Physician.



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   charges for at least 48 hours of inpatient care following a                charges made for a drug that has been prescribed for
    vaginal delivery and at least 96 hours of inpatient care                    purposes other than those approved by the FDA will be
    following a cesarean section for both mother and newborn.                   covered if:
    The mother and/or newborn may be discharged earlier if the                   the drug is otherwise approved by the FDA;
    Physician consults with the mother. If discharged early,
                                                                                 the drug is used to treat a life-threatening condition or, a
    there will be at least one follow-up visit within 48 hours of
    discharge. Follow-up care may be in the mother's home, in                     chronic and seriously debilitating condition and the drug
    the Physician's office, or in a licensed facility. An additional              is Medically Necessary to treat that condition;
    length of stay beyond the 48/96 hours will be covered if                     the drug has been recognized for the treatment prescribed
    Medically Necessary.                                                          by any of the following: the American Hospital
The following describes coverage provided for the treatment                       Formulary Service Drug Information, one of the
of diabetes:                                                                      following compendia if recognized by the federal Centers
                                                                                  for Medicare and Medicaid Services as part of an
   charges for the following Medically Necessary equipment                       anticancer chemotherapeutic regimen: The Elsevier Gold
    for the management and treatment of insulin-using diabetes,                   Standard’s Clinical Pharmacology; The National
    noninsulin-using diabetes, and gestational diabetes: blood                    Comprehensive Cancer Network Drug and Biologics
    glucose monitors; blood glucose monitors designed to assist                   compendium; The Thomson Micromedix Drug Dex; or
    the visually impaired; insulin pumps and all related                          two articles from major peer reviewed medical journals
    necessary supplies; podiatric devices to prevent or treat                     that present data supporting the proposed use or uses as
    diabetes-related complications; and visual aids (not                          generally safe and effective unless there is clear and
    including eyewear) to assist the visually impaired with                       convincing contradictory evidence presented in a major
    proper dosing of insulin.                                                     peer reviewed medical journal.
   charges for diabetes outpatient self-management training,               Second Opinions
    education, and medical nutrition therapy necessary to allow
    a covered person to properly use the equipment, supplies,               You or your Physician may request a second opinion relating
    and medications listed previously, and any additional                   to a medical treatment or surgical procedure. Reasons for a
    diabetes outpatient self-management training, education,                second opinion to be provided or authorized shall include, but
    and medical nutrition therapy prescribed by or directed by a            are not limited to, the following:
    Physician.                                                                 if you question the reasonableness or necessity of
   charges for insulin, insulin syringes, Prescriptive                         recommended surgical procedures.
    medications for the treatment of diabetes, lancets and lancet              if you question a diagnosis or plan of care for a condition
    puncture devices, blood glucose testing strips, ketone urine                that threatens loss of life, loss of limb, loss of bodily
    testing strips, pen delivery systems for the administration of              function, or substantial impairment, including, but not
    insulin and Glucagon.                                                       limited to, a serious chronic condition.
   charges for cancer screening tests that are based on                       if the clinical indications are not clear or are complex and
    generally accepted medical guidelines or scientific                         confusing, a diagnosis is in doubt due to conflicting test
    evidence.                                                                   results, or the treating health professional is unable to
   charges for prenatal testing resulting from participation in                diagnose the condition, and you request an additional
    the Expanded Alpha Feto Protein program administered by                     diagnosis.
    the State Department of Health Services. No Cost share                     if the treatment plan in progress is not improving your
   charges for general anesthesia and associated facility                      medical condition within an appropriate period of time
    charges for dental procedures rendered in a Hospital or                     given the diagnosis and plan of care, and you request a
    Ambulatory Surgical Facility for: a child under the age of 7;               second opinion regarding the diagnosis or continuance of
    an individual who is developmentally disabled; or an                        the treatment.
    individual whose health is compromised and general                         if you have attempted to follow the plan of care or consulted
    anesthesia is Medically Necessary.                                          with your initial provider concerning serious concerns about
   charges for a Hospital stay resulting from a mastectomy                     the diagnosis or plan of care.
    and/or lymph node dissection for a period of time                       If you or the Physician who is treating you requests a second
    determined by a Physician in consultation with the patient.             opinion pursuant to this section, an authorization or denial
                                                                            shall be provided in an expeditious manner. When your
                                                                            condition is such that you face an imminent and serious threat
                                                                            to your health, including, but not limited to, the potential loss


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of life, limb, or other major bodily function, or lack of                  Alternate methods of contraception, including over-the-
timeliness that would be detrimental to your ability to regain              counter contraceptive drugs as prescribed by a Physician
maximum function, the second opinion shall be authorized or                 and deemed Medically Necessary.
denied in a timely fashion appropriate for the nature of your              charges made for preventive care services as defined by
condition, not to exceed seventy-two (72) hours after Cigna's               recommendations from the following:
receipt of the request, whenever possible.
                                                                             The U.S. Preventive Services Task Force (A and B
Appropriately Qualified Health Care Professional                              recommendations);
An Appropriately Qualified Health Care Professional is a                     The Advisory Committee on Immunization Practices
Primary Care Physician or Specialist who is acting within                     (ACIP) for immunizations;
his/her scope of practice and who possesses a clinical
                                                                             The American Academy of Pediatrics’ Periodicity
background, including training and expertise, related to the
particular illness, disease, condition or conditions associated               Schedule of the Bright Futures Recommendations for
with the request for a second opinion.                                        Pediatric Preventive Health Care;
                                                                             The Uniform Panel of the Secretary’s Advisory
You may obtain a second opinion in one of the following
ways:                                                                         Committee on Heritable Disorders in Newborns and
                                                                              Children; and
   if you request a second opinion about care from your
                                                                             With respect to women, evidence-informed preventive
    Primary Care Physician, the second opinion shall be
    provided by an Appropriately Qualified Health Care                        care and screening guidelines supported by the Health
    Professional, of your choice within the primary care                      Resources and Services Administration.
    Physician’s medical group.                                              Detailed information is available at www.healthcare.gov.
   if you are requesting a second opinion about care from a                For additional information on immunizations, visit the
    Specialist, you may obtain the second opinion from any                  immunization schedule section of www.cdc.gov.
    Qualified Health Care Professional of the same or                      charges made for surgical or non-surgical treatment of
    equivalent specialty of your choice. If not authorized by               Temporomandibular Joint Dysfunction (TMJ).
    Cigna or the Primary Care Physician’s medical group,                   charges for federal Food and Drug Administration (FDA)-
    additional medical opinions not within the Primary Care                 approved prescription contraceptive methods, as designated
    Physician’s medical group shall be your responsibility.                 by Cigna. If your Physician determines that none of the
In approving a second opinion the Physician and/or Cigna                    methods designated by Cigna are medically appropriate for
shall take into account your ability to travel to the provider.             you because of your medical or personal history, Cigna will
Cigna shall require the second opinion health professional to               cover the alternative FDA-approved prescription
provide you and the initial health professional with a                      contraceptive prescribed by your Physician.
consultation report, including any recommended procedures or               charges made for acupuncture services involving the
tests that the second opinion health professional believes                  stimulation of specific anatomical locations on the skin
appropriate.                                                                through the penetration of fine needles, for the purpose of
You are limited to one (1) second medical opinion per medical               relieving pain or treating disease as Medically Necessary.
treatment or surgical procedure, unless Cigna based on its              Autism Spectrum Disorder
independent determination, authorizes additional medical
                                                                        Covered expenses are professional services and treatment
opinions concerning your medical condition.
                                                                        programs, including applied behavior analysis (ABA), and
   charges for the treatment of nicotine use.                          evidence-based behavior intervention programs that develop
   charges made for Family Planning, including medical                 or restore to the maximum extent practicable, the functioning
    history, physical exam, related laboratory tests, medical           of an individual with pervasive developmental disorder or
    supervision in accordance with generally accepted medical           autism provided that:
    practices, other medical services, information and                     The treatment is prescribed by a licensed Physician or is
    counseling on contraception, implanted/injected                         developed by a licensed psychologist.
    contraceptives, after appropriate counseling, medical
    services connected with surgical therapies (tubal ligations,           The treatment is provided under a treatment plan prescribed
    vasectomies).                                                           by a qualified autism service provider.
                                                                           The treatment plan has measurable goals over a specific
   FDA-approved, self-administered hormonal contraceptives
                                                                            time-line that is developed and approved by the qualified
    will be covered for up to a 12-month supply when dispensed
                                                                            autism service provider for the specific patient being
    at one time.
                                                                            treated.


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   The treatment plan is not used for purposes of                             Other Health Care Professional. Skilled nursing services or
    providing/reimbursing respite care, day care or educational                private duty nursing services provided in the home are
    services and is not used to reimburse a parent for                         subject to the Home Health Services benefit terms,
    participating in the treatment program.                                    conditions and benefit limitations. Physical, occupational,
Telecommunication Technologies - Mental Health and                             and other Short-Term Rehabilitative Therapy services
Substance Use Disorder                                                         provided in the home are not subject to the Home Health
                                                                               Services benefit limitations in the Schedule, but are subject
 behavioral consultations and services via secure
                                                                               to the benefit limitations described under Short-term
  telecommunications technologies that shall include video                     Rehabilitative Therapy Maximum shown in The Schedule.
  capability, including telephones and internet, when
  delivered through a behavioral provider.
                                                                           HC-COV76                                                          04-10
Nutritional Counseling
                                                                                                                                               V1
Charges for counseling when diet is a part of the medical
management of a medical or behavioral condition.
                                                                           Hospice Care Services
Internal Prosthetic/Medical Appliances
                                                                            charges for a person who has been diagnosed as having six
Charges for internal prosthetic/medical appliances that provide              months or fewer to live, due to Terminal Illness, for the
permanent or temporary internal functional supports for                      following Hospice Care Services provided under a Hospice
nonfunctional body parts are covered. Medically Necessary                    Care Program:
repair, maintenance or replacement of a covered appliance is
also covered.                                                                   by a Hospice Facility for Room and Board and Services
                                                                                 and Supplies;
                                                                                by a Hospice Facility for services provided on an
HC-COV992 M                                                   01-20
                                                                                 outpatient basis;
                                                                                by a Physician for professional services;
Home Health Services
                                                                                by a Psychologist, social worker, family counselor or
 charges made for Home Health Services when you: require                        ordained minister for individual and family counseling;
  skilled care; are unable to obtain the required care as an
                                                                                for pain relief treatment, including drugs, medicines and
  ambulatory outpatient; and do not require confinement in a
                                                                                 medical supplies;
  Hospital or Other Health Care Facility.
                                                                                by an Other Health Care Facility for:
    Home Health Services are provided only if Cigna has
    determined that the home is a medically appropriate setting.                    part-time or intermittent nursing care by or under the
    If you are a minor or an adult who is dependent upon others                      supervision of a Nurse;
    for nonskilled care and/or custodial services (e.g., bathing,                   part-time or intermittent services of an Other Health
    eating, toileting), Home Health Services will be provided                        Care Professional;
    for you only during times when there is a family member or                  charges for physical, occupational and speech therapy;
    care giver present in the home to meet your nonskilled care
    and/or custodial services needs.                                            charges for medical supplies; drugs and medicines
                                                                                 lawfully dispensed only on the written prescription of a
    Home Health Services are those skilled health care services                  Physician; and laboratory services; but only to the extent
    that can be provided during visits by Other Health Care                      such charges would have been payable under the policy if
    Professionals. The services of a home health aide are                        the person had remained or been Confined in a Hospital
    covered when rendered in direct support of skilled health                    or Hospice Facility.
    care services provided by Other Health Care Professionals.
    A visit is defined as a period of 2 hours or less. Home                The following charges for Hospice Care Services are not
    Health Services are subject to a maximum of 16 hours in                included as Covered Expenses:
    total per day. Necessary consumable medical supplies and                  for the services of a person who is a member of your family
    home infusion therapy administered or used by Other                        or your Dependent's family or who normally resides in your
    Health Care Professionals in providing Home Health                         house or your Dependent's house;
    Services are covered. Home Health Services do not include                 for any period when you or your Dependent is not under the
    services by a person who is a member of your family or                     care of a Physician;
    your Dependent’s family or who normally resides in your
    house or your Dependent’s house even if that person is an                 for services or supplies not listed in the Hospice Care
                                                                               Program;


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   for any curative or life-prolonging procedures;                            Outpatient Mental Health Services
   to the extent that any other benefits are payable for those                Services of Providers who are qualified to treat Mental Health
    expenses under the policy;                                                 when treatment is provided on an outpatient basis, while you
   for services or supplies that are primarily to aid you or your             or your Dependent is not Confined in a Hospital, and is
    Dependent in daily living.                                                 provided in an individual, group or Mental Health Intensive
                                                                               Outpatient Therapy Program. Covered services include, but
                                                                               are not limited to, outpatient treatment of conditions such as:
HC-COV994                                                         01-20        anxiety or depression which interfere with daily functioning;
                                                                               emotional adjustment or concerns related to chronic
                                                                               conditions, such as psychosis or depression; emotional
Mental Health and Substance Abuse Services
                                                                               reactions associated with marital problems or divorce;
Mental Health Services are services that are required to treat                 child/adolescent problems of conduct or poor impulse control;
a disorder that impairs the behavior, emotional reaction or                    affective disorders; suicidal or homicidal threats or acts; eating
thought processes. In determining benefits payable, charges                    disorders; or acute exacerbation of chronic Mental Health
made for the treatment of any physiological conditions related                 conditions (crisis intervention and relapse prevention) and
to Mental Health will not be considered to be charges made                     outpatient testing and assessment.
for treatment of Mental Health.
                                                                               A Mental Health Intensive Outpatient Therapy Program
Substance Abuse is defined as the psychological or physical                    consists of distinct levels or phases of treatment that are
dependence on alcohol or other mind-altering drugs that                        provided by a certified/licensed Mental Health program.
requires diagnosis, care, and treatment. In determining                        Intensive Outpatient Therapy Programs provide a combination
benefits payable, charges made for the treatment of any                        of individual, family and/or group therapy in a day, totaling
physiological conditions related to rehabilitation services for                nine or more hours in a week.
alcohol or drug abuse or addiction will not be considered to be
                                                                               Inpatient Substance Abuse Rehabilitation Services
charges made for treatment of Substance Abuse.
                                                                               Services provided for rehabilitation, while you or your
Inpatient Mental Health Services
                                                                               Dependent is Confined in a Hospital, when required for the
Services that are provided by a Hospital while you or your                     diagnosis and treatment of abuse or addiction to alcohol and/or
Dependent is Confined in a Hospital for the treatment and                      drugs. Inpatient Substance Abuse Services include Partial
evaluation of Mental Health. Inpatient Mental Health Services                  Hospitalization sessions and Residential Treatment services.
include Partial Hospitalization and Mental Health Residential
                                                                               Partial Hospitalization sessions are services that are provided
Treatment Services.
                                                                               for not less than 4 hours and not more than 12 hours in any 24-
Partial Hospitalization sessions are services that are provided                hour period.
for not less than 4 hours and not more than 12 hours in any 24-
                                                                               Substance Abuse Residential Treatment Services are
hour period.
                                                                               services provided by a Hospital for the evaluation and
Mental Health Residential Treatment Services are services                      treatment of the psychological and social functional
provided by a Hospital for the evaluation and treatment of the                 disturbances that are a result of subacute Substance Abuse
psychological and social functional disturbances that are a                    conditions.
result of subacute Mental Health conditions.
                                                                               Substance Abuse Residential Treatment Center means an
Mental Health Residential Treatment Center means an                            institution which specializes in the treatment of psychological
institution which specializes in the treatment of psychological                and social disturbances that are the result of Substance Abuse;
and social disturbances that are the result of Mental Health                   provides a subacute, structured, psychotherapeutic treatment
conditions; provides a subacute, structured, psychotherapeutic                 program, under the supervision of Physicians; provides 24-
treatment program, under the supervision of Physicians;                        hour care, in which a person lives in an open setting; and is
provides 24-hour care, in which a person lives in an open                      licensed in accordance with the laws of the appropriate legally
setting; and is licensed in accordance with the laws of the                    authorized agency as a residential treatment center.
appropriate legally authorized agency as a residential
                                                                               A person is considered confined in a Substance Abuse
treatment center.
                                                                               Residential Treatment Center when she/he is a registered bed
A person is considered confined in a Mental Health                             patient in a Substance Abuse Residential Treatment Center
Residential Treatment Center when she/he is a registered bed                   upon the recommendation of a Physician.
patient in a Mental Health Residential Treatment Center upon
the recommendation of a Physician.




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Outpatient Substance Abuse Rehabilitation Services                        occupational/recreational therapy programs even if
Services provided for the diagnosis and treatment of abuse or              combined with supportive therapy for age-related cognitive
addiction to alcohol and/or drugs, while you or your                       decline.
Dependent is not Confined in a Hospital, including outpatient
rehabilitation in an individual, or a Substance Abuse Intensive        HC-COV7                                                               04-10
Outpatient Therapy Program.                                                                                                                    V4

A Substance Abuse Intensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are
                                                                       Durable Medical Equipment
provided by a certified/licensed Substance Abuse program.
Intensive Outpatient Therapy Programs provide a combination             charges made for purchase or rental of Durable Medical
of individual, family and/or group therapy in a day, totaling            Equipment that is ordered or prescribed by a Physician and
nine, or more hours in a week.                                           provided by a vendor approved by Cigna for use outside a
                                                                         Hospital or Other Health Care Facility. Coverage for repair,
Substance Abuse Detoxification Services
                                                                         replacement or duplicate equipment is provided only when
Detoxification and related medical ancillary services are                required due to anatomical change and/or reasonable wear
provided when required for the diagnosis and treatment of                and tear. All maintenance and repairs that result from a
addiction to alcohol and/or drugs. Cigna will decide, based on           person’s misuse are the person’s responsibility. Coverage
the Medical Necessity of each situation, whether such services           for Durable Medical Equipment is limited to the lowest-cost
will be provided in an inpatient or outpatient setting.                  alternative as determined by the utilization review
Exclusions                                                               Physician.
The following are specifically excluded from Mental Health             Durable Medical Equipment is defined as items which are
and Substance Abuse Services:                                          designed for and able to withstand repeated use by more than
                                                                       one person; customarily serve a medical purpose; generally
   any court ordered treatment or therapy, or any treatment or
                                                                       are not useful in the absence of Injury or Sickness; are
    therapy ordered as a condition of parole, probation or
                                                                       appropriate for use in the home; and are not disposable. Such
    custody or visitation evaluations unless Medically
                                                                       equipment includes, but is not limited to, crutches, hospital
    Necessary and otherwise covered under this policy or
                                                                       beds, respirators, wheel chairs, and dialysis machines.
    agreement.
                                                                       Durable Medical Equipment items that are not covered
   treatment of disorders which have been diagnosed as
                                                                       include but are not limited to those that are listed below:
    organic mental disorders associated with permanent
    dysfunction of the brain.                                             Bed Related Items: bed trays, over the bed tables, bed
                                                                           wedges, pillows, custom bedroom equipment, mattresses,
   developmental disorders, including but not limited to,
                                                                           including nonpower mattresses, custom mattresses and
    developmental reading disorders, developmental arithmetic
                                                                           posturepedic mattresses.
    disorders, developmental language disorders or
    developmental articulation disorders.                                 Bath Related Items: bath lifts, nonportable whirlpools,
                                                                           bathtub rails, toilet rails, raised toilet seats, bath benches,
   counseling for activities of an educational nature.
                                                                           bath stools, hand held showers, paraffin baths, bath mats,
   counseling for borderline intellectual functioning.                    and spas.
   counseling for occupational problems.                                 Chairs, Lifts and Standing Devices: computerized or
   counseling related to consciousness raising.                           gyroscopic mobility systems, roll about chairs, geriatric
   vocational or religious counseling.                                    chairs, hip chairs, seat lifts (mechanical or motorized),
                                                                           patient lifts (mechanical or motorized – manual hydraulic
   I.Q. testing.                                                          lifts are covered if patient is two-person transfer), and auto
   custodial care, including but not limited to geriatric day             tilt chairs.
    care.                                                                 Fixtures to Real Property: ceiling lifts and wheelchair
   psychological testing on children requested by or for a                ramps.
    school system.                                                      Car/Van Modifications.
                                                                        Air Quality Items: room humidifiers, vaporizers, air
                                                                         purifiers and electrostatic machines.
                                                                          Blood/Injection Related Items: blood pressure cuffs,
                                                                           centrifuges, nova pens and needleless injectors.



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   Other Equipment: heat lamps, heating pads, cryounits,                           when the foot orthosis is for use as a replacement or
    cryotherapy machines, electronic-controlled therapy units,                       substitute for missing parts of the foot (e.g. amputated
    ultraviolet cabinets, sheepskin pads and boots, postural                         toes) and is necessary for the alleviation or correction of
    drainage board, AC/DC adaptors, enuresis alarms, magnetic                        Injury, Sickness or congenital defect; and
    equipment, scales (baby and adult), stair gliders, elevators,                   for persons with neurologic or neuromuscular condition
    saunas, any exercise equipment and diathermy machines.                           (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                     spasticity, malalignment, or pathological positioning of
HC-COV8                                                           04-10
                                                                                     the foot and there is reasonable expectation of
                                                                    V2
                                                                                     improvement.
                                                                               The following are specifically excluded orthoses and orthotic
                                                                               devices:
External Prosthetic Appliances and Devices
                                                                                  prefabricated foot orthoses;
 charges made or ordered by a Physician for: the initial
  purchase and fitting of external prosthetic appliances and                      cranial banding and/or cranial orthoses. Other similar
  devices available only by prescription which are necessary                       devices are excluded except when used postoperatively for
  for the alleviation or correction of Injury, Sickness or                         synostotic plagiocephaly. When used for this indication, the
  congenital defect.                                                               cranial orthosis will be subject to the limitations and
                                                                                   maximums of the External Prosthetic Appliances and
External prosthetic appliances and devices include
                                                                                   Devices benefit;
prostheses/prosthetic appliances and devices; orthoses and
orthotic devices; braces; and splints.                                            orthosis shoes, shoe additions, procedures for foot
                                                                                   orthopedic shoes, shoe modifications and transfers;
Prostheses/Prosthetic Appliances and Devices
                                                                                  non-foot orthoses primarily used for cosmetic rather than
Prostheses/prosthetic appliances and devices are defined as
                                                                                   functional reasons; and
fabricated replacements for missing body parts.
Prostheses/prosthetic appliances and devices include, but are                     non-foot orthoses primarily for improved athletic
not limited to:                                                                    performance or sports participation.
   limb prostheses;                                                           Braces
   terminal devices such as hands or hooks;                                   A Brace is defined as an orthosis or orthopedic appliance that
                                                                               supports or holds in correct position any movable part of the
   speech prostheses; and
                                                                               body and that allows for motion of that part.
   facial prostheses.
                                                                               The following braces are specifically excluded: Copes
Orthoses and Orthotic Devices                                                  scoliosis braces.
Orthoses and orthotic devices are defined as orthopedic                        Splints
appliances or apparatuses used to support, align, prevent or
                                                                               A Splint is defined as an appliance for preventing movement
correct deformities. Coverage is provided for custom foot
                                                                               of a joint or for the fixation of displaced or movable parts.
orthoses and other orthoses as follows:
                                                                               Coverage for replacement of external prosthetic appliances
   Non-foot orthoses – only the following non-foot orthoses
                                                                               and devices is limited to the following:
    are covered:
                                                                                  replacement due to regular wear. Replacement for damage
     rigid and semi-rigid custom fabricated orthoses;
                                                                                   due to abuse or misuse by the person will not be covered.
     semi-rigid prefabricated and flexible orthoses; and
                                                                                  replacement required because anatomic change has rendered
     rigid prefabricated orthoses including preparation, fitting                  the external prosthetic appliance or device ineffective.
      and basic additions, such as bars and joints.                                Anatomic change includes significant weight gain or loss,
   Custom foot orthoses – custom foot orthoses are only                           atrophy and/or growth.
    covered as follows:                                                           replacement due to a surgical alteration or revision of the
     for persons with impaired peripheral sensation and/or                        impacted site.
      altered peripheral circulation (e.g. diabetic neuropathy                 Coverage for replacement is limited as follows:
      and peripheral vascular disease);
                                                                                  no more than once every 24 months for persons 19 years of
     when the foot orthosis is an integral part of a leg brace                    age and older.
      and is necessary for the proper functioning of the brace;




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   no more than once every 12 months for persons 18 years of                   Improve, adapt or attain function (sometimes called
    age and under.                                                               “habilitative”):
The following are specifically excluded external prosthetic                       To improve, adapt or attain function that has been
appliances and devices:                                                            impaired or was never achieved as a result of congenital
   external and internal power enhancements or power controls                     abnormality (birth defect).
    for prosthetic limbs and terminal devices; and                                To improve, adapt or attain function that has been
   myoelectric prostheses peripheral nerve stimulators.                           impaired or was never achieved because of mental health
                                                                                   and substance use disorder conditions. Includes
                                                                                   conditions such as autism and intellectual disability, or
HC-COV890                                                       01-20              mental health and substance use disorder conditions that
                                                                                   result in a developmental delay.
Outpatient Therapy Services                                                  Coverage is provided as part of a program of treatment when
                                                                             the following criteria are met:
Charges for the following therapy services:
                                                                                The individual’s condition has the potential to improve or is
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                                 improving in response to therapy, and maximum
Manipulation, Physical Therapy, Pulmonary
                                                                                 improvement is yet to be attained.
Rehabilitation, Speech Therapy
                                                                                There is an expectation that the anticipated improvement is
 Charges for therapy services are covered when provided as
                                                                                 attainable in a reasonable and generally predictable period
  part of a program of treatment.
                                                                                 of time.
Cardiac Rehabilitation
                                                                                The therapy is provided by, or under the direct supervision
 Charges for Phase II cardiac rehabilitation provided on an                     of, a licensed health care professional acting within the
  outpatient basis following diagnosis of a qualifying cardiac                   scope of the license.
  condition when Medically Necessary. Phase II is a Hospital-
                                                                                The therapy is Medically Necessary and medically
  based outpatient program following an inpatient Hospital
                                                                                 appropriate for the diagnosed condition.
  discharge. The Phase II program must be Physician directed
  with active treatment and EKG monitoring.                                  Coverage for occupational therapy is provided only for
                                                                             purposes of enabling individuals to perform the activities of
    Phase III and Phase IV cardiac rehabilitation is not covered.
                                                                             daily living after an Injury or Sickness.
    Phase III follows Phase II and is generally conducted at a
    recreational facility primarily to maintain the patient's status         Therapy services that are not covered include:
    achieved through Phases I and II. Phase IV is an                            sensory integration therapy.
    advancement of Phase III which includes more active
                                                                                treatment of dyslexia.
    participation and weight training.
                                                                                maintenance or preventive treatment provided to prevent
Chiropractic Care Services
                                                                                 recurrence or to maintain the patient’s current status.
 Charges for diagnostic and treatment services utilized in an
                                                                                charges for Chiropractic Care not provided in an office
  office setting by chiropractic Physicians. Chiropractic
                                                                                 setting.
  treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and                      vitamin therapy.
  ancillary physiological treatment rendered to specific joints              Coverage is administered according to the following:
  to restore motion, reduce pain, and improve function. For                     Multiple therapy services provided on the same day
  these services you have direct access to qualified                             constitute one day of service for each therapy type.
  chiropractic Physicians.
                                                                                A separate Copayment applies to the services provided by
Coverage is provided when Medically Necessary in the most                        each provider for each therapy type per day.
medically appropriate setting to:
   Restore function (called “rehabilitative”):
                                                                             HC-COV887                                                     01-20
     To restore function that has been impaired or lost.
                                                                                                                                               V1
     To reduce pain as a result of Sickness, Injury, or loss of a
      body part.
                                                                             Breast Reconstruction and Breast Prostheses
                                                                              charges made for reconstructive surgery following a
                                                                               mastectomy; benefits include: surgical services for


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  reconstruction of the breast on which surgery was                        Providers not specifically contracted with Cigna for
  performed; surgical services for reconstruction of the                   Transplant services, are not covered.
  nondiseased breast to produce symmetrical appearance;                    Coverage for organ procurement costs are limited to costs
  postoperative breast prostheses; and mastectomy bras and                 directly related to the procurement of an organ, from a cadaver
  prosthetics, limited to the lowest cost alternative available            or a live donor. Organ procurement costs shall consist of
  that meets prosthetic placement needs. During all stages of              surgery necessary for organ removal, organ transportation and
  mastectomy, treatment of physical complications, including               the transportation, hospitalization and surgery of a live donor.
  lymphedema therapy, are covered.                                         Compatibility testing undertaken prior to procurement is
Reconstructive Surgery                                                     covered if Medically Necessary. Costs related to the search
 charges made for reconstructive surgery or therapy to                    for, and identification of a bone marrow or stem cell donor for
  correct or repair abnormal structures of the body caused by              an allogeneic transplant are also covered.
  congenital defects, developmental abnormalities, trauma,                 Transplant Travel Services
  infection, tumors, or disease to do either of the following: 1)          Charges made for reasonable travel expenses incurred by you
  to improve function; or 2) to create normal appearance, to               in connection with a preapproved organ/tissue transplant are
  the extent possible. Reconstructive Surgery also includes                covered subject to the following conditions and limitations.
  Medically Necessary dental or orthodontic services that are              Transplant travel benefits are not available for cornea
  an integral part of reconstructive surgery for cleft palate              transplants. Benefits for transportation, lodging and food are
  procedures. Cleft palate means a condition that may include              available to you only if you are the recipient of a preapproved
  cleft palate, cleft lip or other craniofacial anomalies                  organ/tissue transplant from a designated Cigna
  associated with cleft palate. Repeat or subsequent surgeries             LIFESOURCE Transplant Network® facility. The term
  for the same condition are covered only when there is the                recipient is defined to include a person receiving authorized
  probability of significant additional improvement as                     transplant related services during any of the following:
  determined by the utilization review Physician.                          evaluation, candidacy, transplant event, or post-transplant
                                                                           care. Travel expenses for the person receiving the transplant
HC-COV728                                                     08-18
                                                                           will include charges for: transportation to and from the
                                                                           transplant site (including charges for a rental car used during a
                                                                           period of care at the transplant facility); lodging while at, or
Transplant Services                                                        traveling to and from the transplant site; and food while at, or
 charges made for human organ and tissue Transplant                       traveling to and from the transplant site.
  services which include solid organ and bone marrow/stem                  In addition to your coverage for the charges associated with
  cell procedures at designated facilities throughout the                  the items above, such charges will also be considered covered
  United States or its territories. This coverage is subject to            travel expenses for one companion to accompany you. The
  the following conditions and limitations.                                term companion includes your spouse, a member of your
Transplant services include the recipient’s medical, surgical              family, your legal guardian, or any person not related to you,
and Hospital services; inpatient immunosuppressive                         but actively involved as your caregiver. The following are
medications; and costs for organ or bone marrow/stem cell                  specifically excluded travel expenses: travel costs incurred due
procurement. Transplant services are covered only if they are              to travel within 60 miles of your home; laundry bills;
required to perform any of the following human to human                    telephone bills; alcohol or tobacco products; and charges for
organ or tissue transplants: allogeneic bone marrow/stem cell,             transportation that exceed coach class rates.
autologous bone marrow/stem cell, cornea, heart, heart/lung,               These benefits are only available when the covered person is
kidney, kidney/pancreas, liver, lung, pancreas or intestine                the recipient of an organ transplant. No benefits are available
which includes small bowel-liver or multi-visceral.                        when the covered person is a donor.
All Transplant services, other than cornea, are covered at
100% when received at Cigna LIFESOURCE Transplant
                                                                           HC-COV15                                                     04-10
Network® facilities. Cornea transplants are not covered at                                                                                   V2
Cigna LIFESOURCE Transplant Network® facilities.
Transplant services, including cornea, received at participating
facilities specifically contracted with Cigna for those                    Medical Pharmaceuticals
Transplant services, other than Cigna LIFESOURCE                           The plan covers charges made for Medical Pharmaceuticals
Transplant Network® facilities, are payable at the In-Network              that are administered in an Inpatient setting, Outpatient
level. Transplant services received at any other facilities,               setting, Physician’s office, or in a covered person's home.
including Non-Participating Providers and Participating


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Benefits under this section are provided only for Medical                 products approved by the U.S. Food and Drug Administration
Pharmaceuticals which, due to their characteristics (as                   (FDA) to treat or cure a disease by:
determined by Cigna), are required to be administered, or the                replacing a disease-causing gene with a healthy copy of the
administration of which must be directly supervised, by a                     gene.
qualified Physician. Benefits payable under this section
include Medical Pharmaceuticals whose administration may                     inactivating a disease-causing gene that may not be
initially, or typically, require Physician oversight but may be               functioning properly.
self-administered under certain conditions specified in the                  introducing a new or modified gene into the body to help
product’s FDA labeling. Certain Medical Pharmaceuticals are                   treat a disease.
subject to prior authorization requirements or other coverage             Each gene therapy product is specific to a particular disease
conditions. Additionally, certain Medical Pharmaceuticals are             and is administered in a specialized manner. Cigna determines
subject to step therapy requirements. This means that in order            which products are in the category of gene therapy, based in
to receive benefits for such Medical Pharmaceuticals, you are             part on the nature of the treatment and how it is distributed
required to try a different Medical Pharmaceutical and/or                 and administered.
Prescription Drug Product first.
                                                                          Coverage includes the cost of the gene therapy product;
The Cigna Business Decision Team determines whether                       medical, surgical, and facility services directly related to
utilization management requirements or other coverage                     administration of the gene therapy product; and professional
conditions should apply to a Medical Pharmaceutical by                    services.
considering a number of factors, including, but not limited to,
                                                                          Gene therapy products and their administration are covered
clinical and economic factors. Clinical factors may include,
                                                                          when prior authorized to be received at In-Network facilities
but are not limited to, the P&T Committee’s evaluations of the
                                                                          specifically contracted with Cigna for the specific gene
place in therapy, relative safety or relative efficacy of Medical
Pharmaceuticals as well as whether utilization management                 therapy service. Gene therapy products and their
requirements should apply. Economic factors may include, but              administration received at other facilities are not covered.
are not limited to, the Medical Pharmaceutical’s cost                     Gene Therapy Travel Services
including, but not limited to, assessments on the cost                    Charges made for non-taxable travel expenses incurred by you
effectiveness of the Medical Pharmaceuticals and available                in connection with a prior authorized gene therapy procedure
rebates. When considering a Medical Pharmaceutical for a                  are covered subject to the following conditions and
coverage status, the Business Decision Team reviews clinical              limitations.
and economic factors regarding enrollees as a general
                                                                          Benefits for transportation and lodging are available to you
population across its book-of-business. Regardless of its
                                                                          only when you are the recipient of a prior authorized gene
eligibility for coverage under your plan, whether a particular
                                                                          therapy; and when the gene therapy products and services
Prescription Drug Product is appropriate for you or any of
                                                                          directly related to their administration are received at a
your Dependents is a determination that is made by you (or
                                                                          participating In-Network facility specifically contracted with
your Dependent) and the prescribing Physician.
                                                                          Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may                    is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a                   therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a                  evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a
                                                                          Travel expenses for the person receiving the gene therapy
Medical Pharmaceutical may become available, or other
                                                                          include charges for: transportation to and from the gene
market events may occur. Market events that may affect the
                                                                          therapy site (including charges for a rental car used during a
coverage status of a Medical Pharmaceutical include, but are
                                                                          period of care at the facility); and lodging while at, or
not limited to, an increase in the cost of a Medical
                                                                          traveling to and from, the site.
Pharmaceutical.
                                                                          In addition to your coverage for the charges associated with
                                                                          the items above, such charges will also be considered covered
HC-COV553                                                    10-16        travel expenses for one companion to accompany you. The
                                                                          term companion includes your spouse, a member of your
Gene Therapy                                                              family, your legal guardian, or any person not related to you,
Charges for gene therapy products and services directly                   but actively involved as your caregiver who is at least 18 years
related to their administration are covered when Medically                of age.
Necessary. Gene therapy is a category of pharmaceutical                   The following are specifically excluded travel expenses: any
                                                                          expenses that if reimbursed would be taxable income, travel


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costs incurred due to travel within 60 miles of your home;                     the study or investigation is conducted under an
food and meals; laundry bills; telephone bills; alcohol or                      investigational new drug application reviewed by the U.S.
tobacco products; and charges for transportation that exceed                    Food and Drug Administration (FDA).
coach class rates.                                                             the study or investigation is a drug trial that is exempt from
                                                                                having such an investigational new drug application.
HC-COV886                                                      01-20        The plan does not cover any of the following services
                                                                            associated with a clinical trial:
Clinical Trials                                                                services that are not considered routine patient care costs
                                                                                and services, including the following:
This plan covers routine patient care costs and services related
to an approved clinical trial for a qualified individual. The                    the investigational drug, device, item, or service that is
individual must be eligible to participate according to the trial                 provided solely to satisfy data collection and analysis
protocol and either of the following conditions must be met:                      needs.
   the referring health care professional is a participating                    an item or service that is not used in the direct clinical
    health care provider and has concluded that the individual’s                  management of the individual.
    participation in such trial would be appropriate; or                         a service that is clearly inconsistent with widely accepted
   the individual provides medical and scientific information                    and established standards of care for a particular
    establishing that the individual’s participation in the                       diagnosis.
    qualified trial would be appropriate.                                      an item or service provided by the research sponsors free of
In addition to qualifying as an individual, the clinical trial                  charge for any person enrolled in the trial.
must also meet certain criteria in order for patient care costs                travel and transportation expenses, unless otherwise covered
and services to be covered.                                                     under the plan, including but not limited to the following:
The clinical trial must be a phase I, phase II, phase III, or                    fees for personal vehicle, rental car, taxi, medical van,
phase IV clinical trial conducted in relation to the prevention,                  ambulance, commercial airline, train.
detection, or treatment of cancer or other life-threatening                      mileage reimbursement for driving a personal vehicle.
disease or condition that meets any of the following criteria:
                                                                                 lodging.
   it is a federally funded trial. The study or investigation is
    approved or funded (which may include funding through in-                    meals.
    kind contributions) by one or more of the following:                       routine patient costs obtained out-of-network when Out-of-
     National Institutes of Health (NIH).                                      Network benefits do not exist under the plan.
     Centers for Disease Control and Prevention (CDC).                     Examples of routine patient care costs and services include:
     Agency for Health Care Research and Quality (AHRQ).                      radiological services.
     Centers for Medicare and Medicaid Services (CMS).                        laboratory services.
     a cooperative group or center of any of the entities                     intravenous therapy.
      described above or the Department of Defense (DOD) or                    anesthesia services.
      the Department of Veterans Affairs (VA).                                 Physician services.
     a qualified non-governmental research entity identified in               office services.
      NIH guidelines for center support grants.
                                                                               Hospital services.
   any of the following: Department of Energy, Department of
    Defense, Department of Veterans Affairs, if both of the                    Room and Board, and medical supplies that typically would
    following conditions are met:                                               be covered under the plan for an individual who is not
                                                                                enrolled in a clinical trial.
     the study or investigation has been reviewed and
      approved through a system of peer review comparable to                Clinical trials conducted by Out-of-Network providers will be
      the system of peer review of studies and investigations               covered only when the following conditions are met:
      used by the National Institutes of Health (NIH); and                     In-Network providers are not participating in the clinical
     the study or investigation assures unbiased review of the                 trial; or
      highest scientific standards by qualified individuals who
      have no interest in the outcome of the review.



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   The clinical trial is conducted outside the individual’s state
    of residence.


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                                         Prescription Drug Benefits
                                                   The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at Network
Pharmacies at 100% with no deductible and if applicable at non-Network Pharmacies, the same as the out of network
medical cost share for injectable/IV chemotherapy.


                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule




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                                                       NETWORK                                NON-NETWORK
       BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
    Individual                            Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
    Family                                Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Network Pharmacy.

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $30 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $50 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 4
  Specialty Prescription Drug             No charge after $100 Copay                In-network coverage only
  Products
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       No charge after $20 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $60 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-          No charge after $100 Copay                In-network coverage only
  preferred on the Prescription Drug
  List




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                                                       NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                PHARMACY
Tier 4
  Specialty Prescription Drug            Specialty Prescription Drug Products       In-network coverage only
  Products                               are limited to up to a consecutive 30
                                         day supply per Prescription Order or
                                         Refill.

Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      No charge after $20 Copay                  In-network coverage only
  Drug List
Tier 2
  Brand Drugs designated as              No charge after $60 Copay                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         No charge after $100 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 4
  Specialty Prescription Drug            Specialty Prescription Drug Products       In-network coverage only
  Products                               are limited to up to a consecutive 30
                                         day supply per Prescription Order or
                                         Refill.




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Prescription Drug Benefits                                              factors. Clinical factors may include, but are not limited to, the
                                                                        P&T Committee’s evaluations of the place in therapy, relative
                                                                        safety or relative efficacy of the Prescription Drug Product, as
Covered Expenses                                                        well as whether certain supply limits or other utilization
Your plan provides benefits for Prescription Drug Products              management requirements should apply. Economic factors
dispensed by a Pharmacy. Details regarding your plan’s                  may include, but are not limited to, the Prescription Drug
Covered Expenses, which for the purposes of the Prescription            Product's acquisition cost including, but not limited to,
Drug Benefit include Medically Necessary Prescription Drug              assessments on the cost effectiveness of the Prescription Drug
Products ordered by a Physician, Limitations and Exclusions             Product and available rebates. When considering a
are provided below and/or are shown in The Schedule.                    Prescription Drug Product for tier placement on the
If you or any one of your Dependents, while insured for                 Prescription Drug List or other coverage conditions, the
Prescription Drug Benefits, incurs expenses for charges made            Business Decision Team reviews clinical and economic
by a Pharmacy for Medically Necessary Prescription Drug                 factors regarding enrollees as a general population across its
Products ordered by a Physician, your plan will provide                 book-of-business. Regardless of its eligibility for coverage
coverage for those expenses as shown in The Schedule. Your              under the plan, whether a particular Prescription Drug Product
benefits may vary depending on which of the Prescription                is appropriate for you or any of your Dependents is a
Drug List tiers the Prescription Drug Product is listed, or the         determination that is made by you or your Dependent and the
Pharmacy that provides the Prescription Drug Product.                   prescribing Physician. A copy of the formulary is available at
                                                                        www.cigna.com/prescription-drug-list or by calling the
Coverage under your plan’s Prescription Drug Benefits also              number on the back of your ID card.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to          The coverage status of a Prescription Drug Product may
you or your Dependents by a licensed dentist for the                    change periodically for various reasons. For example, a
prevention of infection or pain in conjunction with a dental            Prescription Drug Product may be removed from the market, a
procedure.                                                              New Prescription Drug Product in the same therapeutic class
                                                                        as a Prescription Drug Product may become available, or other
For combination anti-retroviral drug treatments that are                market events may occur. Market events that may affect the
Medically Necessary for the treatment of AIDS/HIV, this plan            coverage status of a Prescription Drug Product include, but are
covers a single-tablet drug regimen that is as effective as a           not limited to, an increase in the acquisition cost of a
multi-tablet regimen unless, consistent with clinical guidelines        Prescription Drug Product. As a result of coverage changes,
and peer-reviewed scientific and medical literature, the multi-         for the purposes of benefits the plan may require you to pay
tablet regimen is clinically equal or more effective and more           more or less for that Prescription Drug Product, to obtain the
likely to result in adherence to a drug regimen.                        Prescription Drug Product from a certain Pharmacy(ies) for
When you or a Dependent are issued a Prescription Order or              coverage, or try another covered Prescription Drug Product(s).
Refill for Medically Necessary Prescription Drug Products as            Please access the internet through the website shown on your
part of the rendering of Emergency Services and Cigna                   ID card or call member services at the telephone number on
determines that it cannot reasonably be filled by a Network             your ID card for the most up-to-date tier status, utilization
Pharmacy, the prescription will be covered pursuant to the, as          management, or other coverage limitations for a Prescription
applicable, Copayment or Coinsurance for the Prescription               Drug Product.
Drug Product when dispensed by a Network Pharmacy.                      A Prescription Drug Product that is not on the Prescription
Prescription Drug List Management                                       Drug List may be covered if the Prescription Drug Product is
The Prescription Drug List (or formulary) offered under your            determined to be Medically Necessary and your Physician
Employer’s plan is managed by the Cigna Business Decision               obtains authorization for coverage of the non-Prescription
Team. Your plan’s Prescription Drug List coverage tiers may             Drug List Prescription Drug Product.
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The                HC-PHR321                                                     01-19
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should             Limitations
apply to a Prescription Drug Product by considering a number            In the event you or your Dependent insist on a more expensive
of factors including, but not limited to, clinical and economic         Brand Drug where a Generic Drug is available, you will be



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financially responsible for the amount by which the cost of the         When you submit a claim on this basis, you will need to
Brand Drug exceeds the cost of the Generic Drug, plus any               submit a paper claim using the form that appears on the
required Brand Drug Copayment and/or Coinsurance. In this               website shown on your ID card.
case, the amount by which the cost of the Brand Drug exceeds            If a prior authorization request is approved, you and your
the cost of the Generic Drug will not apply to your Deductible,         Physician will receive confirmation within 72 hours for non-
if any, or Out-of-Pocket Maximum. However, in the event                 urgent requests and within 24 hours for exigent requests. The
your Physician determines that the Generic Drug is not an               authorization will be processed in the claim system to allow
acceptable alternative for you (and indicates Dispensed as              you to have coverage for the Prescription Drug Product. The
Written on the Prescription Order or Refill), you will only be          length of the authorization may depend on the diagnosis and
responsible for payment of the appropriate Brand Drug                   the Prescription Drug Product. The authorization will at all
Coinsurance and/or Copayment after satisfying your                      times be subject to the plan’s terms of coverage for the
Deductible, if any.                                                     Prescription Drug Product, which may change from time to
Contraceptives                                                          time. When your Physician advises you that coverage for the
Additionally, in the event your Physician determines that a             Prescription Drug Product has been approved, you can contact
prescription contraceptive that would be payable at 100% is             a Pharmacy to fill the covered Prescription Order or Refill.
not a medically acceptable alternative for you, the applicable          If the prior authorization request is denied, your Physician and
cost-share for a covered alternative contraceptive will be              you will be notified that coverage for the Prescription Drug
waived. Contact Cigna at the website or phone number on                 Product is not authorized within 72 hours for non-urgent
your ID card.                                                           requests and within 24 hours for exigent requests. If you
Prior Authorization Requirements                                        disagree with a coverage decision, you may appeal that
                                                                        decision in accordance with the provisions of the plan by
Coverage for certain Prescription Drug Products prescribed to           submitting a written request stating why the Prescription Drug
you requires your Physician to obtain prior authorization from          Product should be covered. The appeal provisions, including
Cigna or its Review Organization. The reason for obtaining              the address for submitting an appeal, are outlined in the
prior authorization from Cigna is to determine whether the              “When You Have A Complaint Or An Adverse Determination
Prescription Drug Product is Medically Necessary in                     Appeal” section of your certificate. You may also call
accordance with Cigna's coverage criteria. Coverage criteria            Customer Service at the toll-free number on your
for a Prescription Drug Product may vary based on the clinical          Identification Card if you have questions about the appeal
use for which the Prescription Order or Refill is submitted,            process.
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market        Step Therapy
factors.                                                                Certain Prescription Drug Products are subject to step therapy
If Cigna or its Review Organization reviews the                         requirements. This means that in order to receive benefits for
documentation provided and determines that the Prescription             such Prescription Drug Products you are required to try a
Drug Product is not Medically Necessary or otherwise                    different Prescription Drug Product(s) first unless you satisfy
excluded, your plan will not cover the Prescription Drug                the plan’s exception criteria. You may identify whether a
Product. Cigna, or its Review Organization, will not review             particular Prescription Drug Product is subject to step therapy
claims for excluded Prescription Drug Products or other                 requirements at the website shown on your ID card or by
services to determine if they are Medically Necessary, unless           calling member services at the telephone number on your ID
required by law.                                                        card.In circumstances where you or your Dependent are
                                                                        changing policies, the new policy shall not require a repeat of
When Prescription Drug Products that require prior                      step therapy when the insured is already being treated for a
authorization are dispensed at a Pharmacy, you or your                  medical condition by a Prescription Drug Product that is
prescribing Physician are responsible for obtaining prior               appropriately prescribed and is considered safe and effective.
authorization from Cigna. If you do not obtain prior                    The new policy can impose a prior authorization requirement
authorization from us before the Prescription Drug Product is           for the continued coverage of a Prescription Drug Product
dispensed by the Pharmacy, you can ask us to consider                   prescribed pursuant to step therapy imposed by the former
reimbursement after you pay for and receive the Prescription            policy. A prescribing provider may prescribe another
Drug Product. You will need to pay for the Prescription Drug            Prescription Drug Product covered by the new policy that is
Product at the Pharmacy prior to submitting a reimbursement             medically appropriate for the insured.
request.
                                                                        Supply Limits
                                                                        Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single


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Prescription Order or Refill, you may receive a Prescription               Copayment
Drug Product up to the stated supply limit.                                Your plan requires that you pay a Copayment for covered
Some products are subject to additional supply limits, quantity            Prescription Drug Products as set forth in The Schedule. After
limits or dosage limits based on coverage criteria that have               satisfying any applicable annual Deductible set forth in The
been approved based on consideration of the P&T                            Schedule, your costs under the plan for a covered Prescription
Committee’s clinical findings. Coverage criteria are subject to            Drug Product dispensed by a Network Pharmacy and that is
periodic review and modification. The limit may restrict the               subject to a Copayment requirement will be the lowest of the
amount dispensed per Prescription Order or Refill and/or the               following amounts:
amount dispensed per month's supply, or may require that a                    the Copayment for the Prescription Drug Product set forth
minimum amount be dispensed.                                                   in The Schedule; or
You may determine whether a Prescription Drug Product has                     the Prescription Drug Charge; or
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by                        the Network Pharmacy’s submitted Usual and Customary
calling member services at the telephone number on your ID                     (U&C) Charge, if any.
card.                                                                      Coinsurance
FDA-approved, self-administered hormonal contraceptives                    Your plan requires that you pay a Coinsurance amount for
will be covered for up to a 12-month supply when dispensed at              covered Prescription Drug Products as set forth in The
one time.                                                                  Schedule. After satisfying any applicable annual Deductible
Specialty Prescription Drug Products                                       set forth in The Schedule, your costs under the plan for a
                                                                           covered Prescription Drug Product dispensed by a Network
Benefits are provided for Specialty Prescription Drug                      Pharmacy and that is subject to a Coinsurance requirement
Products.                                                                  will be the lowest of the following amounts:
New Prescription Drug Products                                                the amount that results from applying the applicable
The Business Decision Team may or may not place a New                          Coinsurance percentage set forth in The Schedule to the
Prescription Drug Product on a Prescription Drug List tier                     Prescription Drug Charge; or
upon its market entry. The Business Decision Team will use                    the Network Pharmacy’s submitted Usual and Customary
reasonable efforts to make a tier placement decision for a New                 (U&C) Charge, if any.
Prescription Drug Product within six months of its market
availability. The Business Decision Team’s tier placement                  When a treatment regimen contains more than one type of
decision shall be based on consideration of, without limitation,           Prescription Drug Products that are packaged together for your
the P&T Committee’s clinical review of the New Prescription                or your Dependent's convenience, any applicable Copayment
Drug Product and economic factors. If a New Prescription                   or Coinsurance may apply to each Prescription Drug Product.
Drug Product not listed on the Prescription Drug List is                   You will need to obtain prior approval from Cigna or its
approved by Cigna or its Review Organization as Medically                  Review Organization for any Prescription Drug Product not
Necessary in the interim, the New Prescription Drug Product                listed on the Prescription Drug List that is not otherwise
shall be covered at the applicable coverage tier as set forth in           excluded. If Cigna or its Review Organization approves
The Schedule.                                                              coverage for the Prescription Drug Product because it meets
                                                                           the applicable coverage exception criteria, the Prescription
                                                                           Drug Product shall be covered at the applicable coverage tier
HC-PHR150                                                     01-20
                                                                           as set forth in The Schedule.
                                                                V1
                                                                           The amount you or your Dependent pays for any excluded
                                                                           Prescription Drug Product or other product or service will not
                                                                           be included in calculating any applicable plan Out-of-Pocket
Your Payments                                                              Maximum. You are responsible for paying 100% of the cost
Covered Prescription Drug Products purchased at a Pharmacy                 (the amount the Pharmacy charges you) for any excluded
are subject to any applicable Deductible, Copayments or                    Prescription Drug Product or other product.
Coinsurance shown in The Schedule, as well as any
limitations or exclusions set forth in this plan. Please refer to
                                                                           HC-PHR272                                                     01-19
The Schedule for any required Copayments, Coinsurance,
                                                                                                                                           V2
Deductibles or Out-of-Pocket Maximums.




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Exclusions                                                                     Medical Pharmaceuticals covered solely under the plan’s
                                                                                medical benefits.
Coverage exclusions listed under the “Exclusions, Expenses
Not Covered and General Limitations” section also apply to                     Prescription Drug Products used for the treatment of male or
benefits for Prescription Drug Products. In addition, the                       female sexual dysfunction, including, but not limited to
exclusions listed below apply to benefits for Prescription Drug                 erectile dysfunction, delayed ejaculation, anorgasmy,
Products. When an exclusion or limitation applies to only                       hypoactive sexual desire disorder and decreased libido.
certain Prescription Drug Products, you can access the                         any ingredient(s) in a compounded Prescription Drug
Prescription Drug List through the website shown on your ID                     Product that has not been approved by the U.S. Food and
card or call member services at the telephone number on your                    Drug Administration (FDA), and do not meet the definition
ID card for information on which Prescription Drug Products                     of a Part D eligible drug.
are excluded.                                                                  medications available over-the-counter that do not require a
   coverage for Prescription Drug Products for the amount                      Prescription Order or Refill by federal or state law before
    dispensed (days' supply) which exceeds the applicable                       being dispensed, unless state or federal law requires
    supply limit, or is less than any applicable supply minimum                 coverage of such medications or the over-the-counter
    set forth in The Schedule, or which exceeds quantity limit(s)               medication has been designated as eligible for coverage as if
    or dosage limit(s) set by the P&T Committee.                                it were a Prescription Drug Product.
   more than one Prescription Order or Refill for a given                     certain Prescription Drug Products that are a Therapeutic
    prescription supply period for the same Prescription Drug                   Equivalent or Therapeutic Alternative to an over-the-
    Product prescribed by one or more Physicians and                            counter drug(s), or are available in over-the-counter form.
    dispensed by one or more Pharmacies.                                        Such coverage determinations may be made periodically,
   Prescription Drug Products dispensed outside the                            and benefits for a Prescription Drug Product that was
    jurisdiction of the United States, except as required for                   previously excluded under this provision may be reinstated
    emergency or Urgent Care treatment.                                         at any time.
   Prescription Drug Products which are prescribed, dispensed                 any product for which the primary use is a source of
    or intended to be taken by or administered to you while you                 nutrition, nutritional supplements, or dietary management of
    are a patient in a licensed Hospital, Skilled Nursing Facility,             disease, even when used for the treatment of Sickness or
    rest home, rehabilitation facility, or similar institution which            Injury, unless coverage for such product(s) is required by
    operates on its premises or allows to be operated on its                    federal or state law.
    premises a facility for dispensing pharmaceutical products.                immunization agents, biological products for allergy
   Prescription Drug Products furnished by the local, state or                 immunization, biological sera, blood, blood plasma and
    federal government (except for a Network Pharmacy owned                     other blood products or fractions and medications used for
    or operated by a local, state or federal government).                       travel prophylaxis unless specifically identified on the
                                                                                Prescription Drug List.
   any product dispensed for the purpose of appetite
    suppression (anorectics) or weight loss.                                   smoking cessation medications except those required by
                                                                                federal law to be covered as Preventive Care Medications.
   prescription and non-prescription supplies other than
    supplies covered as Prescription Drug Products.                            certain Prescription Drug Products that are a Therapeutic
                                                                                Equivalent or Therapeutic Alternative to another covered
   vitamins, except prenatal vitamins that require a
                                                                                Prescription Drug Product(s). Such coverage determinations
    Prescription Order or Refill, unless coverage for such
                                                                                may be made periodically, and benefits for a Prescription
    product(s) is required by federal or state law.
                                                                                Drug Product that was previously excluded under this
   medications used for cosmetic purposes, including, without                  provision may be reinstated at any time.
    limitation, medications used to reduce wrinkles,
                                                                               medications that are experimental, investigational, or
    medications used to promote hair growth, or medications
                                                                                unproven as described under the “General Exclusion and
    used to control perspiration and fade cream products.
                                                                                Limitations” section of your plan’s certificate.
   Prescription Drug Products as a replacement for a
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.                                      HC-PHR416                                                     01-20
                                                                                                                                             V1
   Prescription Drug Products used for the treatment of
    infertility.




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Reimbursement/Filing a Claim                                                     amounts waived, forgiven or reduced, regardless of whether
                                                                                 the provider or Pharmacy represents that you remain
Retail Pharmacy
                                                                                 responsible for any amounts that your plan does not cover.
When you or your Dependents purchase your Prescription                           Cigna shall have the right to require you to provide proof
Drug Products through a Network Pharmacy, you pay any                            sufficient to Cigna that you have made your required cost
applicable Copayment, Coinsurance, or Deductible shown in                        share payment(s) prior to the payment of any benefits by
The Schedule at the time of purchase. You do not need to file                    Cigna. This exclusion includes, but is not limited to, charges
a claim form for a Prescription Drug Product obtained at a                       of a non-Participating Provider who has agreed to charge
Network Pharmacy unless you pay the full cost of a                               you or charged you at an In-Network benefits level or some
Prescription Drug Product at a Network Pharmacy and later                        other benefits level not otherwise applicable to the services
seek reimbursement for the Prescription Drug Product under                       received. Provided further, if you use a coupon provided by
the plan. For example, if you must pay the full cost of a                        a pharmaceutical manufacturer or other third party that
Prescription Drug Product to the retail Network Pharmacy                         discounts the cost of a prescription medication or other
because you did not have your ID card, then you must submit                      product, Cigna may, in its sole discretion, reduce the
a claim to Cigna for any reimbursement or benefit you believe                    benefits provided under the plan in proportion to the amount
is due to you under this plan. If, under this example, your                      of the Copayment, Deductible, and/or Coinsurance amounts
payment to the retail Network Pharmacy for the covered                           to which the value of the coupon has been applied by the
Prescription Drug Product exceeds any applicable copay, then                     Pharmacy or other third party, and/or exclude from
you will be reimbursed the difference, if any, between the                       accumulation toward any plan Deductible or Out-of-Pocket
applicable copay and the Prescription Drug Charge for the                        Maximum the value of any coupon applied to any
Prescription Drug Product.                                                       Copayment, Deductible and/or Coinsurance you are
                                                                                 required to pay.
HC-PHR273                                                       01-19           charges arising out of or relating to any violation of a
                                                                  V2             healthcare-related state or federal law or which themselves
                                                                                 are a violation of a healthcare-related state or federal law.
                                                                                assistance in the activities of daily living, including but not
Exclusions, Expenses Not Covered and                                             limited to eating, bathing, dressing or other Custodial
                                                                                 Services or self-care activities, homemaker services and
General Limitations                                                              services primarily for rest, domiciliary or convalescent care.
Exclusions and Expenses Not Covered                                             for or in connection with experimental, investigational or
Additional coverage limitations determined by plan or                            unproven services.
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, substance use
 care for health conditions that are required by state or local
                                                                                 disorder or other health care technologies, supplies,
  law to be treated in a public facility.                                        treatments, procedures, drug or Biologic therapies or
                                                                                 devices that are determined by the utilization review
   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                  not approved by the U.S. Food and Drug Administration
   treatment of an Injury or Sickness which is due to war,                        (FDA) or other appropriate regulatory agency to be
    declared, or undeclared.                                                       lawfully marketed;
   charges which you are not obligated to pay or for which you                   not demonstrated, through existing peer-reviewed,
    are not billed or for which you would not have been billed                     evidence-based, scientific literature to be safe and
    except that they were covered under this plan. For example,                    effective for treating or diagnosing the condition or
    if Cigna determines that a provider or Pharmacy is or has                      Sickness for which its use is proposed;
    waived, reduced, or forgiven any portion of its charges
                                                                                  the subject of review or approval by an Institutional
    and/or any portion of Copayment, Deductible, and/or
    Coinsurance amount(s) you are required to pay for a                            Review Board for the proposed use except as provided in
    Covered Expense (as shown on The Schedule) without                             the “Clinical Trials” sections of this plan; or
    Cigna's express consent, then Cigna shall have the right to                   the subject of an ongoing phase I, II, or III clinical trial,
    deny the payment of benefits in connection with the                            except for routine patient care costs related to qualified
    Covered Expense, or reduce the benefits in proportion to the                   clinical trials as provided in the “Clinical Trials” sections
    amount of the Copayment, Deductible, and/or Coinsurance                        of this plan.


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    In determining whether any such technologies, supplies,                    a dental office are covered when Medically Necessary.
    treatments, drug or Biologic therapies, or devices are                     Charges made for services or supplies provided for or in
    experimental, investigational, and/or unproven, the                        connection with an accidental Injury to teeth are also
    utilization review Physician may rely on the clinical                      covered provided a continuous course of dental treatment is
    coverage policies maintained by Cigna or the Review                        started within six months of an accident.
    Organization. Clinical coverage policies may incorporate,                 for medical and surgical services, initial and repeat,
    without limitation and as applicable, criteria relating to U.S.            intended for the treatment or control of obesity including
    Food and Drug Administration-approved labeling, the                        clinically severe (morbid) obesity, including: medical and
    standard medical reference compendia and peer-reviewed,                    surgical services to alter appearance or physical changes
    evidence-based scientific literature or guidelines. The plan               that are the result of any surgery performed for the
    or policy shall not deny coverage for a drug or Biologic                   management of obesity or clinically severe (morbid)
    therapy as experimental, investigational and unproven if the               obesity; and weight loss programs or treatments, whether
    drug or Biologic therapy is otherwise approved by the FDA                  prescribed or recommended by a Physician or under
    to be lawfully marketed, has not been contraindicated by the               medical supervision. This does not apply to obesity
    FDA for the use for which the drug or Biologic has been                    screening and counseling as outlined in the US Preventive
    prescribed, and is recognized as safe and effective for the                Services Task Force.
    treatment of cancer in any of the standard reference
    compendia: (A) The American Hospital Formulary Service's                  unless otherwise covered in this plan, for reports,
    Drug Information, (B) One of the following compendia if                    evaluations, physical examinations, or hospitalization not
    recognized by the federal Centers for Medicare and                         required for health reasons including, but not limited to,
    Medicaid Services as part of an anticancer                                 employment, insurance or government licenses, and court-
    chemotherapeutic regimen: (i). The Elsevier Gold                           ordered, forensic or custodial evaluations.
    Standard's Clinical Pharmacology; (ii) The National                       court-ordered treatment or hospitalization, unless such
    Comprehensive Cancer Network Drug and Biologics                            treatment is prescribed by a Physician and listed as covered
    compendium; (iii) The Thomson Micromedix DrugDex, (C)                      in this plan.
    two articles from major peer-reviewed medical journals that               infertility services including infertility drugs, surgical or
    that present data supporting the proposed off-label use or                 medical treatment programs for infertility, including in vitro
    uses as generally safe and effective unless there is clear and             fertilization, gamete intrafallopian transfer (GIFT), zygote
    convincing contradictory evidence presented in a major                     intrafallopian transfer (ZIFT), variations of these
    peer-reviewed medical journal.                                             procedures, and any costs associated with the collection,
   cosmetic surgery and therapies. Cosmetic surgery or therapy                washing, preparation or storage of sperm for artificial
    is defined as surgery or therapy performed to improve or                   insemination (including donor fees). Cryopreservation of
    alter appearance or self-esteem or to treat psychological                  donor sperm and eggs are also excluded from coverage.
    symptomatology or psychosocial complaints related to                      reversal of male or female voluntary sterilization
    one’s appearance. Cosmetic surgery and therapy does not                    procedures.
    include gender reassignment services.
                                                                              any services or supplies for the treatment of male or female
   the following services are excluded from coverage                          sexual dysfunction such as, but not limited to, treatment of
    regardless of clinical indications: macromastia or                         erectile dysfunction (including penile implants), anorgasmy,
    gynecomastia surgeries; abdominoplasty; panniculectomy;                    and premature ejaculation.
    rhinoplasty; blepharoplasty; redundant skin surgery;
    removal of skin tags; acupressure; craniosacral/cranial                   medical and Hospital care and costs for the infant child of a
    therapy; dance therapy; movement therapy; applied                          Dependent, unless this infant child is otherwise eligible
                                                                               under this plan.
    kinesiology; rolfing; prolotherapy; and extracorporeal shock
    wave lithotripsy (ESWL) for musculoskeletal and                           non-medical counseling and/or ancillary services including,
    orthopedic conditions.                                                     but not limited to, Custodial Services, educational services,
   dental treatment of the teeth, gums or structures directly                 vocational counseling, training and rehabilitation services,
    supporting the teeth, including dental X-rays, examinations,               behavioral training (other than behavioral training services
                                                                               for pervasive developmental disorder or autism),
    repairs, orthodontics (unless services are an integral part of
                                                                               biofeedback, neurofeedback, hypnosis, sleep therapy, return
    reconstructive surgery for Cleft Palate), periodontics, casts,
                                                                               to work services, work hardening programs, and driver
    splints and services for dental malocclusion, for any
                                                                               safety courses.
    condition. However, facility charges and charges for general
    anesthesia or deep sedation which cannot be administered in               consumable medical supplies other than ostomy supplies
                                                                               and urinary catheters. Excluded supplies include, but are not


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    limited to bandages and other disposable medical supplies,               significant, proven risk factors for genetically linked
    skin preparations and test strips, except as specified in the            inheritable disease.
    “Home Health Care Services” or “Breast Reconstruction                   dental implants for any condition unless services are an
    and Breast Prostheses” sections of this plan.                            integral part of reconstructive surgery for Cleft Palate.
   private Hospital rooms and/or private duty nursing except as            fees associated with the collection or donation of blood or
    provided under the Home Health Services provision.                       blood products, except for autologous donation in
   personal or comfort items such as personal care kits                     anticipation of scheduled services where in the utilization
    provided on admission to a Hospital, television, telephone,              review Physician’s opinion the likelihood of excess blood
    newborn infant photographs, complimentary meals, birth                   loss is such that transfusion is an expected adjunct to
    announcements, and other articles which are not for the                  surgery.
    specific treatment of an Injury or Sickness.                            blood administration for the purpose of general
   artificial aids including, but not limited to, corrective                improvement in physical condition.
    orthopedic shoes, arch supports, elastic stockings, garter              cost of biologicals that are immunizations or medications
    belts, corsets, dentures and wigs.                                       for the purpose of travel, or to protect against occupational
   aids or devices that assist with non-verbal communications,              hazards and risks.
    including but not limited to communication boards, pre-                 cosmetics, dietary supplements and health and beauty aids.
    recorded speech devices, laptop computers, desktop
    computers, Personal Digital Assistants (PDAs), Braille                  enteral feedings, supplies and specialty formulated medical
    typewriters, visual alert systems for the deaf and memory                foods that are prescribed and non-prescribed, except for
    books.                                                                   infant formula needed for the treatment of inborn errors of
                                                                             metabolism.
   corrective lenses and associated services (prescription
    exams and fittings), including eyeglass lenses and frames               for services related to an Injury or Sickness paid under
    and contact lenses, except for the first pair of corrective              workers’ compensation, occupational disease or similar
    lenses, or the first set of eyeglass lenses and frames and               laws.
    associated services for treatment of keratoconus or                     massage therapy.
    following cataract surgery.                                             certain Medical Pharmaceuticals that are a Therapeutic
   routine refractions, eye exercises and surgical treatment for            Equivalent or Therapeutic Alternative to another covered
    the correction of a refractive error, including radial                   Medical Pharmaceutical(s) and is administered in
    keratotomy.                                                              connection with a covered service rendered in an inpatient,
   all non-injectable prescription drugs unless Physician                   outpatient, Physician’s office or home health care setting.
    administration or oversight is required, injectable                      Such determinations may be made periodically, and benefits
    prescription drugs to the extent they do not require                     for a Medical Pharmaceutical that was previously excluded
    Physician supervision and are typically considered self-                 under this provision may be reinstated at any time.
    administered drugs, non-prescription drugs, and                      General Limitations
    investigational and experimental drugs, except as provided
                                                                         No payment will be made for expenses incurred for you or any
    in this plan.
                                                                         one of your Dependents:
   routine foot care, including the paring and removing of
                                                                            to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot
                                                                             any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and
                                                                             or through a public program, other than Medicaid.
    peripheral vascular disease are covered.
                                                                            to the extent that payment is unlawful where the person
   membership costs or fees associated with health clubs,
                                                                             resides when the expenses are incurred.
    weight loss programs and smoking cessation programs. This
    does not apply to in-person and telephonic behavioral                   for charges which would not have been made if the person
    tobacco cessation counseling.                                            had no insurance.
   for a diagnosis other than pervasive developmental disorder             to the extent that they are more than Maximum
    or autism, the following exclusions apply - genetic                      Reimbursable Charges.
    screening or pre-implantations genetic screening. General               to the extent of the exclusions imposed by any certification
    population-based genetic screening is a testing method                   requirement shown in this plan.
    performed in the absence of any symptoms or any                         expenses for supplies, care, treatment, or surgery that are
                                                                             not Medically Necessary.


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   charges made by any covered provider who is a member of                 Primary Plan the Reasonable Cash Value of any services it
    your family or your Dependent's family.                                 provided to you.
   expenses incurred outside the United States other than                  Allowable Expense
    expenses for Medically Necessary urgent or emergent care                The amount of charges considered for payment under the Plan
    while temporarily traveling abroad.                                     for a Covered Service prior to any reductions due to
                                                                            coinsurance, copayment or deductible amounts. If Cigna
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                                                                            contracts with an entity to arrange for the provision of
                                                               V2 M
                                                                            Covered Services through that entity’s contracted network of
                                                                            health care providers, the amount that Cigna has agreed to pay
                                                                            that entity is the allowable amount used to determine your
                                                                            coinsurance or deductible payments. If the Plan provides
Coordination of Benefits                                                    benefits in the form of services, the Reasonable Cash Value of
This section applies if you or any one of your Dependents is                each service is the Allowable Expense and is a paid benefit.
covered under more than one Plan and determines how                         Examples of expenses or services that are not Allowable
benefits payable from all such Plans will be coordinated. You               Expenses include, but are not limited to the following:
should file all claims with each Plan.                                         An expense or service or a portion of an expense or service
Definitions                                                                     that is not covered by any of the Plans is not an Allowable
For the purposes of this section, the following terms have the                  Expense.
meanings set forth below:                                                      If you are confined to a private Hospital room and no Plan
Plan                                                                            provides coverage for more than a semiprivate room, the
                                                                                difference in cost between a private and semiprivate room is
Any of the following that provides benefits or services for
                                                                                not an Allowable Expense.
medical care or treatment:
                                                                               If you are covered by two or more Plans that provide
   Group insurance and/or group-type coverage, whether                         services or supplies on the basis of reasonable and
    insured or self-insured which neither can be purchased by                   customary fees, any amount in excess of the highest
    the general public, nor is individually underwritten,
                                                                                reasonable and customary fee is not an Allowable Expense.
    including closed panel coverage.
                                                                               If you are covered by one Plan that provides services or
   Coverage under Medicare and other governmental benefits
                                                                                supplies on the basis of reasonable and customary fees and
    as permitted by law, excepting Medicaid and Medicare                        one Plan that provides services and supplies on the basis of
    supplement policies.                                                        negotiated fees, the Primary Plan's fee arrangement shall be
   Medical benefits coverage of group, group-type, and                         the Allowable Expense.
    individual automobile contracts.
                                                                               If your benefits are reduced under the Primary Plan (through
Each Plan or part of a Plan which has the right to coordinate                   the imposition of a higher copayment amount, higher
benefits will be considered a separate Plan.                                    coinsurance percentage, a deductible and/or a penalty)
Closed Panel Plan                                                               because you did not comply with Plan provisions or because
                                                                                you did not use a preferred provider, the amount of the
A Plan that provides medical or dental benefits primarily in
                                                                                reduction is not an Allowable Expense. Such Plan
the form of services through a panel of employed or
                                                                                provisions include second surgical opinions and
contracted providers, and that limits or excludes benefits
                                                                                precertification of admissions or services.
provided by providers outside of the panel, except in the case
of emergency or if referred by a provider within the panel.                 Claim Determination Period
Primary Plan                                                                A calendar year, but does not include any part of a year during
                                                                            which you are not covered under this policy or any date before
The Plan that determines and provides or pays benefits
                                                                            this section or any similar provision takes effect.
without taking into consideration the existence of any other
Plan.                                                                       Reasonable Cash Value
Secondary Plan                                                              An amount which a duly licensed provider of health care
                                                                            services usually charges patients and which is within the range
A Plan that determines, and may reduce its benefits after
                                                                            of fees usually charged for the same service by other health
taking into consideration, the benefits provided or paid by the
                                                                            care providers located within the immediate geographic area
Primary Plan. A Secondary Plan may also recover from the
                                                                            where the health care service is rendered under similar or
                                                                            comparable circumstances.


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Order of Benefit Determination Rules                                        If none of the above rules determines the order of benefits, the
A Plan that does not have a coordination of benefits rule                   Plan that has covered you for the longer period of time shall
consistent with this section shall always be the Primary Plan.              be primary.
If the Plan does have a coordination of benefits rule consistent            When coordinating benefits with Medicare, this Plan will be
with this section, the first of the following rules that applies to         the Secondary Plan and determine benefits after Medicare,
the situation is the one to use:                                            where permitted by the Social Security Act of 1965, as
   The Plan that covers you as an enrollee or an Employee                  amended. However, when more than one Plan is secondary to
    shall be the Primary Plan and the Plan that covers you as a             Medicare, the benefit determination rules identified above,
    Dependent shall be the Secondary Plan;                                  will be used to determine how benefits will be coordinated.
   If you are a Dependent child whose parents are not divorced             Effect on the Benefits of This Plan
    or legally separated, the Primary Plan shall be the Plan                If this Plan is the Secondary Plan, this Plan may reduce
    which covers the parent whose birthday falls first in the               benefits so that the total benefits paid by all Plans during a
    calendar year as an enrollee or Employee;                               Claim Determination Period are not more than 100% of the
   If you are the Dependent of divorced or separated parents,              total of all Allowable Expenses.
    benefits for the Dependent shall be determined in the                   The difference between the amount that this Plan would have
    following order:                                                        paid if this Plan had been the Primary Plan, and the benefit
     first, if a court decree states that one parent is responsible        payments that this Plan had actually paid as the Secondary
      for the child's healthcare expenses or health coverage and            Plan, will be recorded as a benefit reserve for you. Cigna will
      the Plan for that parent has actual knowledge of the terms            use this benefit reserve to pay any Allowable Expense not
      of the order, but only from the time of actual knowledge;             otherwise paid during the Claim Determination Period.
     then, the Plan of the parent with custody of the child;               As each claim is submitted, Cigna will determine the
                                                                            following:
     then, the Plan of the spouse of the parent with custody of
      the child;                                                               Cigna's obligation to provide services and supplies under
                                                                                this policy;
     then, the Plan of the parent not having custody of the
      child; and                                                               whether a benefit reserve has been recorded for you; and
     finally, the Plan of the spouse of the parent not having                 whether there are any unpaid Allowable Expenses during
      custody of the child.                                                     the Claims Determination Period.
   The Plan that covers you as an active Employee (or as that              If there is a benefit reserve, Cigna will use the benefit reserve
    Employee's Dependent) shall be the Primary Plan and the                 recorded for you to pay up to 100% of the total of all
    Plan that covers you as laid-off or retired Employee (or as             Allowable Expenses. At the end of the Claim Determination
    that Employee's Dependent) shall be the Secondary Plan. If              Period, your benefit reserve will return to zero and a new
    the other Plan does not have a similar provision and, as a              benefit reserve will be calculated for each new Claim
    result, the Plans cannot agree on the order of benefit                  Determination Period.
    determination, this paragraph shall not apply.                          Recovery of Excess Benefits
   The Plan that covers you under a right of continuation                  If Cigna pays charges for benefits that should have been paid
    which is provided by federal or state law shall be the                  by the Primary Plan, or if Cigna pays charges in excess of
    Secondary Plan and the Plan that covers you as an active                those for which we are obligated to provide under the policy,
    Employee or retiree (or as that Employee's Dependent) shall             Cigna will have the right to recover the actual payment made
    be the Primary Plan. If the other Plan does not have a                  or the Reasonable Cash Value of any services.
    similar provision and, as a result, the Plans cannot agree on           Cigna will have sole discretion to seek such recovery from any
    the order of benefit determination, this paragraph shall not            person to, or for whom, or with respect to whom, such
    apply.                                                                  services were provided or such payments made by any
   If one of the Plans that covers you is issued out of the state          insurance company, healthcare plan or other organization. If
    whose laws govern this policy, and determines the order of              we request, you must execute and deliver to us such
    benefits based upon the gender of a parent, and as a result,            instruments and documents as we determine are necessary to
    the Plans do not agree on the order of benefit determination,           secure the right of recovery.
    the Plan with the gender rules shall determine the order of             Right to Receive and Release Information
    benefits.
                                                                            Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan


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with respect to you in order to coordinate your benefits               When This Plan is the Primary Payer
pursuant to this section. You must provide us with any                 This Plan will be the primary payer and Medicare will be the
information we request in order to coordinate your benefits            secondary payer in the following situations:
pursuant to this section. This request may occur in connection
with a submitted claim; if so, you will be advised that the               Disability: You, your spouse, or your covered Dependent
"other coverage" information, (including an Explanation of                 qualify for Medicare due to a disability, you are an active
Benefits paid under the Primary Plan) is required before the               Employee, and your Employer has 100 or more employees.
claim will be processed for payment. If no response is                    Age: You, your spouse, or your covered Dependent qualify
received within 90 days of the request, the claim will be                  for Medicare due to age, you are an active Employee, and
denied. If the requested information is subsequently received,             your Employer has 20 or more employees.
the claim will be processed.                                              End Stage Renal Disease (ESRD): You, your spouse, or
Coordination of Benefits with Medicare                                     your covered Dependent qualify for Medicare due to End
If you, your spouse, or your Dependent is covered under this               Stage Renal Disease (ESRD) and you are an active or
Plan and qualify for Medicare, federal law determines which                retired Employee. This Plan is the primary payer for the first
plan is the primary payer and which is the secondary payer.                30 months. Beginning with the 31st month, Medicare will be
The primary payer always determines covered benefits first,                the primary payer.
without considering what any other coverage will pay. The              Domestic Partners
secondary payer determines its coverage only after the                 Under federal law, when Medicare coverage is due to age,
Primary Plan has completed its determination.                          Medicare is always the primary payer and this Plan is the
When Medicare is the Primary Payer                                     secondary payer for a person covered under this Plan as a
Medicare will be the primary payer and this Plan will be the           Domestic Partner. However, when Medicare coverage is due
secondary payer, even if you don’t elect to enroll in Medicare         to disability, the Disability payer explanations above will
or you receive services from a provider who does not accept            apply.
Medicare payments, in the following situations:                        IMPORTANT: If you, your spouse, or your Dependent do
   COBRA or State Continuation: You, your spouse, or your             not elect to enroll in Medicare Parts A and/or B when first
    covered Dependent qualify for Medicare for any reason and          eligible, or you receive services from a provider who does
    are covered under this Plan due to COBRA or state                  not accept Medicare payments, this Plan will calculate
    continuation of coverage.                                          payment based on what should have been paid by
                                                                       Medicare as the primary payer if the person had been
   Retirement or Termination of Employment: You, your                 enrolled or had received services from a provider who
    spouse, or your covered Dependent qualify for Medicare for         accepts Medicare payments. A person is considered
    any reason and are covered under this Plan due to your             eligible for Medicare on the earliest date any coverage
    retirement or termination of employment.                           under Medicare could become effective.
   Disability: You, your spouse, or your covered Dependent            Failure to Enroll in Medicare
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has fewer than 100                     If you, your spouse, or your Dependent do not enroll in
    employees.                                                         Medicare Parts A and/or B during the person’s initial
                                                                       Medicare enrollment period, or the person opts out of
   Age: You, your spouse, or your covered Dependent qualify           coverage, the person may be subject to Medicare late
    for Medicare due to age, you are an active Employee, and           enrollment penalties, which can cause a delay in coverage and
    your Employer has fewer than 20 employees.                         result in higher Medicare premiums when the person does
   End Stage Renal Disease (ESRD): You, your spouse, or               enroll. It can also result in a reduction in coverage under
    your covered Dependent qualify for Medicare due to End             Medicare Parts A and B. If you are planning to retire or
    Stage Renal Disease (ESRD) and you are an active or                terminate employment and you will be eligible for COBRA,
    retired Employee. This Plan will be the primary payer for          state Continuation, or retiree coverage under this Plan, you
    the first 30 months. Beginning with the 31 st month,               should enroll in Medicare before you terminate employment to
    Medicare will be the primary payer.                                avoid penalties and to receive the maximum coverage under
                                                                       Medicare. Please consult Medicare or the Social Security
                                                                       Administration for more information.
                                                                       Assistance with Medicare Questions
                                                                       For more information on Medicare’s rules and regulations,
                                                                       contact Medicare toll-free at 1-800-MEDICARE (1-800-633-


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4227) or at www.medicare.gov. You may also contact the                          insurance company or other financially responsible party
Social Security Administration toll-free at 1-800-772-1213, at                  against whom a Participant may have a claim provided said
www.ssa.gov, or call your local Social Security                                 attorney, insurance carrier or other party has been notified
Administration office.                                                          by the plan or its agents;
                                                                               agrees that this lien shall constitute a charge against the
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                                                                                proceeds of any recovery and the plan shall be entitled to
                                                                                assert a security interest thereon;
                                                                               agrees to hold the proceeds of any recovery in trust for the
                                                                                benefit of the plan to the extent of any payment made by the
Expenses For Which A Third Party May                                            plan.
Be Responsible                                                              Additional Terms
This plan does not cover:                                                    No adult Participant hereunder may assign any rights that it
   Expenses incurred by you or your Dependent; (hereinafter                  may have to recover medical expenses from any third party
    individually and collectively referred to as a "Participant,")            or other person or entity to any minor Dependent of said
    for which another party may be responsible as a result of                 adult Participant without the prior express written consent
    having caused or contributed to an Injury or Sickness.                    of the plan. The plan’s right to recover shall apply to
   Expenses incurred by a Participant to the extent any                      decedents’, minors’, and incompetent or disabled persons’
    payment is received for them either directly or indirectly                settlements or recoveries.
    from a third party tortfeasor or as a result of a settlement,              No Participant shall make any settlement, which specifically
    judgment or arbitration award in connection with any                        reduces or excludes, or attempts to reduce or exclude, the
    automobile medical, automobile no-fault, uninsured or                       benefits provided by the plan.
    underinsured motorist, homeowners, workers'                                The plan’s right of recovery shall be a prior lien against any
    compensation, government insurance (other than Medicaid),                   proceeds recovered by the Participant. This right of
    or similar type of insurance or coverage.                                   recovery shall not be defeated nor reduced by the
Subrogation/Right of Reimbursement                                              application of any so-called “Made-Whole Doctrine”,
If a Participant incurs a Covered Expense for which, in the                     “Rimes Doctrine”, or any other such doctrine purporting to
opinion of the plan or its claim administrator, another party                   defeat the plan’s recovery rights by allocating the proceeds
may be responsible or for which the Participant may receive                     exclusively to non-medical expense damages.
payment as described above:                                                    No Participant hereunder shall incur any expenses on behalf
   Subrogation: The plan shall, to the extent permitted by law,                of the plan in pursuit of the plan’s rights hereunder,
    be subrogated to all rights, claims or interests that a                     specifically; no court costs, attorneys' fees or other
    Participant may have against such party and shall                           representatives' fees may be deducted from the plan’s
    automatically have a lien upon the proceeds of any recovery                 recovery without the prior express written consent of the
    by a Participant from such party to the extent of any benefits              plan. This right shall not be defeated by any so-called “Fund
    paid under the plan. A Participant or his/her representative                Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    shall execute such documents as may be required to secure                   Doctrine”.
    the plan’s subrogation rights.                                             The plan shall recover the full amount of benefits provided
   Right of Reimbursement: The plan is also granted a right of                 hereunder without regard to any claim of fault on the part of
    reimbursement from the proceeds of any recovery whether                     any Participant, whether under comparative negligence or
    by settlement, judgment, or otherwise. This right of                        otherwise.
    reimbursement is cumulative with and not exclusive of the                  In the event that a Participant shall fail or refuse to honor its
    subrogation right granted in paragraph 1, but only to the                   obligations hereunder, then the plan shall be entitled to
    extent of the benefits provided by the plan.                                recover any costs incurred in enforcing the terms hereof
Lien of the Plan                                                                including, but not limited to, attorney’s fees, litigation, court
                                                                                costs, and other expenses. The plan shall also be entitled to
By accepting benefits under this plan, a Participant:                           offset the reimbursement obligation against any entitlement
   grants a lien and assigns to the plan an amount equal to the                to future medical benefits hereunder until the Participant has
    benefits paid under the plan against any recovery made by                   fully complied with his reimbursement obligations
    or on behalf of the Participant which is binding on any                     hereunder, regardless of how those future medical benefits
    attorney or other party who represents the Participant                      are incurred.
    whether or not an agent of the Participant or of any


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   Any reference to state law in any other provision of this             If any person to whom benefits are payable is a minor or, in
    plan shall not be applicable to this provision, if the plan is        the opinion of Cigna is not able to give a valid receipt for any
    governed by ERISA. By acceptance of benefits under the                payment due him, such payment will be made to his legal
    plan, the Participant agrees that a breach hereof would cause         guardian. If no request for payment has been made by his legal
    irreparable and substantial harm and that no adequate                 guardian, Cigna may, at its option, make payment to the
    remedy at law would exist. Further, the Plan shall be                 person or institution appearing to have assumed his custody
    entitled to invoke such equitable remedies as may be                  and support.
    necessary to enforce the terms of the plan, including, but not        When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition         notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as            executor has the same rights as our insured and benefit
    injunctive relief.                                                    payments for unassigned claims should be made payable to the
                                                                          executor.
HC-SUB1                                                         V1        Payment as described above will release Cigna from all
                                                                          liability to the extent of any payment made.
                                                                          Recovery of Overpayment
Payment of Benefits                                                       When an overpayment has been made by Cigna, Cigna will
Assignment and Payment of Benefits                                        have the right at any time to: recover that overpayment from
                                                                          the person to whom or on whose behalf it was made; or offset
You may not assign to any party, including, but not limited to,           the amount of that overpayment from a future claim payment.
a provider of healthcare services/items, your right to benefits
under this plan, nor may you assign any administrative,
statutory, or legal rights or causes of action you may have               HC-POB143                                                     01-19

under ERISA, including, but not limited to, any right to make
a claim for plan benefits, to request plan or other documents,
to file appeals of denied claims or grievances, or to file
lawsuits under ERISA. Any attempt to assign such rights shall             Termination Of Insurance
be void and unenforceable under all circumstances.
You may, however, authorize Cigna to pay any healthcare
                                                                          Employees
benefits under this policy to a Participating or non-                     Your insurance will cease on the earliest date below:
Participating Provider. When you authorize the payment of                    the date you cease to be in a Class of Eligible Employees or
your healthcare benefits to a Participating or non-Participating              cease to qualify for the insurance.
Provider, you authorize the payment of the entire amount of
                                                                             the last day for which you have made any required
the benefits due on that claim. If a provider is overpaid
                                                                              contribution for the insurance.
because of accepting duplicate payments from you and Cigna,
it is the provider’s responsibility to reimburse the                         the date the policy is canceled.
overpayment to you. Cigna may pay all healthcare benefits for                the last day of the calendar month in which your Active
Covered Expenses directly to a Participating Provider without                 Service ends except as described below.
your authorization. You may not interpret or rely upon this
                                                                          Any continuation of insurance must be based on a plan which
discrete authorization or permission to pay any healthcare
                                                                          precludes individual selection.
benefits to a Participating or non-Participating Provider as the
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare
services/items.
Even if the payment of healthcare benefits to a non-
Participating Provider has been authorized by you, Cigna may,
at its option, make payment of benefits to you. When benefits
are paid to you, you or your Dependents are responsible for
reimbursing the non-Participating Provider.
Ambulance benefits will be paid directly to the provider of the
ambulance service.




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Injury or Sickness                                                        coverage will be provided for up to 36 months from the date
If your Active Service ends due to an Injury or Sickness, your            of the Qualifying Event.
insurance will be continued while you remain totally and                  Notice Requirements
continuously disabled as a result of the Injury or Sickness.              Under the requirements of Cal-COBRA, an Employer must
However, your insurance will not continue past the date your              give notice to its Employees and Dependents the right to
Employer stops paying premium for you or otherwise cancels                continue their group health care benefits. A person who would
your insurance.                                                           otherwise lose coverage as a result of a Qualifying Event is
                                                                          generally entitled to continue the same benefits that were in
Dependents                                                                effect the day before the date of the qualifying event.
Your insurance for all of your Dependents will cease on the               Coverage may be continued under Cal-COBRA only if the
earliest date below:                                                      required premiums are paid when due and will be subject to
                                                                          future plan changes.
   the date your insurance ceases.
                                                                          Qualifying Events for Continuation of Cal-COBRA
   the date you cease to be eligible for Dependent Insurance.
                                                                          Coverage
   the last day for which you have made any required
                                                                          A Qualifying Event is any of the following:
    contribution for the insurance.
                                                                             termination of the Employee’s employment (other than for
   the date Dependent Insurance is canceled.
                                                                              gross misconduct) or reduction of hours worked so as to
The insurance for any one of your Dependents will cease on                    render the Employee ineligible for coverage;
the date that Dependent no longer qualifies as a Dependent.
                                                                             death of the Employee;
                                                                             divorce or legal separation of the Employee from his or her
HC-TRM159 M                                                  01-19            spouse;
                                                                             with respect to Dependents only, the loss of coverage due to
                                                                              the Employee becoming entitled to Medicare;
Continuation of Coverage Under Cal-COBRA                                     a Dependent child ceasing to qualify as an eligible
Please examine your options carefully before declining this                   Dependent under the plan.
coverage. You should be aware that companies selling                      Notification Requirements
individual health insurance typically require a review of
your medical history that could result in a higher premium                The Employer will notify Cigna (or an administrator acting on
or you could be denied coverage entirely.                                 Cigna's behalf) in writing, of termination or reduction of hours
                                                                          with respect to any Employee who is employed by the
Employer groups with 20 or more Employees                                 Employer, within 30 days of the date of the qualifying event.
You and your Dependents may elect to continue health                      You may be disqualified from receiving Cal-COBRA
coverage after you have exhausted continuation coverage                   continuation coverage if your Employer does not provide the
under COBRA. Cal-COBRA is not applicable to Domestic                      required written notification to Cigna (or an administrator
Partners and their Dependents or to stepchildren. This                    acting on Cigna's behalf).
continuation coverage (Cal-COBRA) will be provided for up                 The Employer shall also notify Cigna (or an administrator
to 36 months from the date your COBRA continuation                        acting on Cigna's behalf) in writing, within 30 days of the
coverage began, if you are entitled to less than 36 months of             date, when the Employer becomes subject to Section 4980B of
continuation coverage under COBRA.                                        the United States Internal Revenue Code or Chapter 18 of the
Employer groups with less than 20 Employees                               Employee Retirement Income Security Act, 29 U.S.C. Sec.
This Continuation applies to you and your Dependents if your              1161 et seq., or when the Employer becomes subject to federal
Employer is subject to Cal-COBRA law. Domestic Partners                   COBRA requirements.
and stepchildren will not be eligible for Cal-COBRA                       To be eligible for continuation coverage, for one of the
independent from the Employee. Cal-COBRA law applies to                   Qualifying Event(s) you or your Dependent must notify Cigna
any small Employer that employed 2 to 19 eligible Employees               (or an administrator acting on Cigna's behalf) in writing of
on at least 50 percent of its working days during the preceding           such Qualifying Event within 60 days after the event occurs.
calendar year, or, if the Employer was not in business during             If you or your Dependent do not notify Cigna (or an
any part of the preceding calendar year, employed 2 to 19                 administrator acting on Cigna's behalf) in writing within 60
eligible Employees on at least 50 percent of its working days             days of the Qualifying Event(s), you will be disqualified from
during the preceding calendar quarter. This continuation                  receiving Cal-COBRA continuation coverage.


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Once notified of the Qualifying Event, Cigna (or an                     beneficiary’s benefits under the policy would have otherwise
administrator acting on Cigna’s behalf) will send you or your           terminated because of the Qualifying Event.
Dependent the necessary benefit information, premium                    Other events will cause Cal-COBRA benefits to end sooner
information, enrollment form and notice requirements within             and this will occur on the earliest of any of the following:
14 days after receiving notification of the Qualifying Event
from the Employer, you or your Dependent. The information                  the date the Employer ceases to provide any group health
shall be sent to the qualified beneficiary’s last known address.            plan to any Employee;
Notice of the right to continue coverage to your spouse will be            the end of the period for which premium payments were
deemed notice to any Dependent child residing with your                     made, if the qualified beneficiary ceases to make payments
spouse.                                                                     or fails to make timely payments of a required premium, in
Formal Election                                                             accordance with the terms and conditions of the policy;
To continue group coverage under Cal-COBRA you must                        the first day after the date of election on which the qualified
make a formal election by submitting a written request to                   beneficiary first becomes covered under any other group
Cigna (or an administrator acting on Cigna’s behalf) at: Cigna,             health plan which does not contain any exclusions or
Attn: State Continuation Unit, P.O. Box 2010, Concord, NH                   limitations with respect to any pre-existing condition for
03302. For questions, call 1-800-315-6011.                                  such person; or the date such exclusion or limitation no
                                                                            longer applies to the Employee or Dependent;
The written request must be delivered by first-class mail,
certified mail or other reliable means of delivery within 60               the first day after the date of election on which the qualified
days of the later of the following dates:                                   beneficiary first becomes entitled to Medicare;
   the date of the Qualifying Event;                                      the coverage for a qualified beneficiary that is determined to
                                                                            be disabled under the Social Security Act will terminate as
   the date the qualified beneficiary receives notice of the               described below;
    ability to continue group coverage as provided above; or
                                                                           the qualified beneficiary moves out of the service area or
   the date coverage under the Employer's health plan                      the qualified beneficiary commits fraud or deception in the
    terminates or will terminate by reason of the Qualifying                use of services.
    Event.
                                                                        Continuation of Coverage for Totally Disabled Individuals
If a formal election is not received by Cigna (or an
administrator acting on Cigna's behalf) within this time period,        A qualified beneficiary who is eligible for continuation
you or your Dependent will not receive Cal-COBRA benefits.              coverage due to termination of the Employee's employment
                                                                        (other than for gross misconduct) or reduction of hours
Cal-COBRA Premium Payments                                              worked so as to render the Employee ineligible for coverage
To complete the election process, you must make the first               and who is totally disabled under the Social Security Act
required premium payment no more than 45 days after                     during the first 60 days of continuation coverage is entitled to
submitting your completed application to Cigna (or an                   a maximum period of 36 months after the date the qualified
administrator acting on Cigna's behalf). All subsequent                 beneficiary’s benefits under the contract would otherwise have
premiums will be due on a monthly basis. Your first premium             terminated because of a Qualifying Event. The Employee or
payment should be delivered to Cigna (or an administrator               Dependent must provide Cigna (or an administrator acting on
acting on Cigna's behalf) at Cigna, Attn: State Continuation            Cigna’s behalf) with a copy of the Social Security
Unit, P.O. Box 2010, Concord, NH 03302 by first-class mail,             Administration’s determination of total disability within 60
certified mail, or other reliable means of delivery. The first          days of the date of the determination letter and prior to the end
premium payment must satisfy any required premiums and all              of the original 36 month continuation coverage period in order
premiums due. Failure to submit the correct premium amount              to be eligible for coverage pursuant to this paragraph. If the
within the 45 day period will disqualify the qualified                  qualified beneficiary is no longer disabled under the Social
beneficiary from receiving Cal-COBRA coverage. There is a               Security Act, the benefits provided in this paragraph shall
30 day grace period to pay subsequent premiums. If the                  terminate on the later of 36 months after the date the qualified
premium is not paid before the expiration of the grace period,          beneficiary’s benefits under the policy would otherwise have
Cal-COBRA continuation benefits will terminate at midnight              terminated because of a Qualifying Event, or the month that
at the end of the period for which premium payments were                begins more than 31 days after the date of the final
made.                                                                   determination under Social Security Act that the qualified
If elected, the maximum period of continuation coverage for a           beneficiary is no longer disabled. The qualified beneficiary
Qualifying Event is 36 months from the date the qualified               eligible for 36 months of continuation coverage as a result of a
                                                                        disability shall notify Cigna (or an administrator acting on



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Cigna’s behalf) within 30 days of a determination that the              IMPORTANT NOTICE – CAL-COBRA BENEFITS WILL
qualified beneficiary is no longer disabled.                            ONLY BE ADMINISTERED ACCORDING TO THE
Continuation of Coverage Upon Termination of Prior                      TERMS OF THE CONTRACT. CIGNA WILL NOT BE
Group Health Plan                                                       OBLIGATED TO ADMINISTER, OR FURNISH, ANY
                                                                        CAL-COBRA BENEFITS AFTER THE CONTRACT HAS
The Employer shall notify qualified beneficiaries currently             TERMINATED.
receiving continuation coverage, whose continuation coverage
will terminate under one group benefit plan prior to the end of
the period the qualified beneficiary would have remained                HC-TRM118                                                   10-16
covered as specified above, of the qualified beneficiary’s
ability to continue coverage under a new group benefit plan
for the balance of the period the qualified beneficiary would
                                                                        Rescissions
have remained covered under the prior group benefit plan.
This notice shall be provided either 30 days prior to the               Your coverage may not be rescinded (retroactively terminated)
termination or when all enrolled Employees are notified,                by Cigna or the plan sponsor unless the plan sponsor or an
whichever is later.                                                     individual (or a person seeking coverage on behalf of the
                                                                        individual) performs an act, practice or omission that
Cigna (or an administrator acting on Cigna's behalf) shall
                                                                        constitutes fraud; or the plan sponsor or individual (or a
provide to the Employer replacing a health plan contract
                                                                        person seeking coverage on behalf of the individual) makes an
issued by Cigna, or to the Employer’s agent or broker
                                                                        intentional misrepresentation of material fact.
representative, within 15 days of any written request,
information in possession of Cigna reasonably required to
administer the notification requirements of this Notification           HC-TRM80                                                    01-11
section.
The Employer shall notify the successor plan in writing of the
qualified beneficiaries currently receiving continuation                Medical Benefits Extension
coverage so that the successor plan, or contracting Employer
or administrator, may provide those qualified beneficiaries             Upon Policy Cancellation
with the necessary premium information, enrollment forms,               If the Medical Benefits under this plan cease for you or your
and instructions consistent with the disclosure required by this        Dependent due to cancellation of the policy, and you or your
Notification section to allow the qualified beneficiary to              Dependent is Totally Disabled on that date due to an Injury or
continue coverage. This information shall be sent to all                Sickness, Medical Benefits will be paid without requirement
qualified beneficiaries who are enrolled in the plan and those          of premium for Covered Expenses incurred in connection with
qualified beneficiaries who have been notified as specified in          that Injury or Sickness. However, no benefits will be paid after
this Cal-COBRA section of their ability to continue their               the earliest of:
coverage and may still elect coverage within the specified 60              the date you exceed the Maximum Benefit, if any, shown in
day period. This information shall be sent to the qualified                 the Schedule;
beneficiary’s last known address, as provided to the Employer
by Cigna (or an administrator acting on Cigna's behalf),                   the date you are covered for medical benefits under another
currently providing continuation coverage to the qualified                  group policy;
beneficiary. The successor plan shall not be obligated to                  the date you are no longer Totally Disabled;
provide this information to qualified beneficiaries if the                 12 months from the date your Medical Benefits cease;
Employer or prior plan fails to comply with this section.
                                                                           12 months from the date the policy is canceled.
If the plan provides for a conversion privilege, the plan must
offer this option within the 180 days of the end of the                 Totally Disabled
maximum period. However, no conversion will be provided if              You will be considered Totally Disabled if, because of an
the qualified beneficiary does not actually maintain Cal-               Injury or a Sickness:
COBRA coverage to the expiration date.                                     you are unable to perform the basic duties of your
                                                                            occupation; and
                                                                           you are not performing any other work or engaging in any
                                                                            other occupation for wage or profit.




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Your Dependent will be considered Totally Disabled if,                     Qualified Medical Child Support Order
because of an Injury or a Sickness:                                        (QMCSO)
   he is unable to engage in the normal activities of a person of         Eligibility for Coverage Under a QMCSO
    the same age, sex and ability; or
                                                                           If a Qualified Medical Child Support Order (QMCSO) is
   in the case of a Dependent who normally works for wage or              issued for your child, that child will be eligible for coverage as
    profit, he is not performing such work.                                required by the order and you will not be considered a Late
The terms of this Medical Benefits Extension will not apply to             Entrant for Dependent Insurance.
a child born as a result of a pregnancy which exists when your             You must notify your Employer and elect coverage for that
or your Dependent's Medical Benefits cease.                                child, and yourself if you are not already enrolled, within 31
                                                                           days of the QMCSO being issued.
HC-BEX7                                                       04-10        Qualified Medical Child Support Order Defined
                                                                V1
                                                                           A Qualified Medical Child Support Order is a judgment,
                                                                           decree or order (including approval of a settlement agreement)
                                                                           or administrative notice, which is issued pursuant to a state
Federal Requirements                                                       domestic relations law (including a community property law),
                                                                           or to an administrative process, which provides for child
The following pages explain your rights and responsibilities
                                                                           support or provides for health benefit coverage to such child
under federal laws and regulations. Some states may have
                                                                           and relates to benefits under the group health plan, and
similar requirements. If a similar provision appears elsewhere
                                                                           satisfies all of the following:
in this booklet, the provision which provides the better benefit
will apply.                                                                   the order recognizes or creates a child’s right to receive
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
HC-FED1                                                       10-10
                                                                              the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Notice of Provider Directory/Networks                                          subdivision may be substituted for the child’s mailing
Notice Regarding Provider Directories and Provider                             address;
Networks                                                                      the order provides a description of the coverage to be
A list of network providers is available to you without charge                 provided, or the manner in which the type of coverage is to
by visiting the website or by calling the phone number on your                 be determined;
ID card. The network consists of providers, including                         the order states the period to which it applies; and
hospitals, of varied specialties as well as general practice,                 if the order is a National Medical Support Notice completed
affiliated or contracted with Cigna or an organization                         in accordance with the Child Support Performance and
contracting on its behalf.                                                     Incentive Act of 1998, such Notice meets the requirements
Notice Regarding Pharmacy Directories and Pharmacy                             above.
Networks                                                                   The QMCSO may not require the health insurance policy to
A list of network pharmacies is available to you without                   provide coverage for any type or form of benefit or option not
charge by visiting the website or by calling the phone number              otherwise provided under the policy, except that an order may
on your ID card. The network consists of pharmacies affiliated             require a plan to comply with State laws regarding health care
or contracted with Cigna or an organization contracting on its             coverage.
behalf.


HC-FED78                                                      10-10




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Payment of Benefits                                                            Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                           required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                 previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial              with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                   was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                  loss of eligibility as a result of any of the following:
child.                                                                          divorce or legal separation;
                                                                                cessation of Dependent status (such as reaching the
HC-FED4                                                       10-10
                                                                                 limiting age);
                                                                                death of the Employee;
                                                                                termination of employment;
Special Enrollment Rights Under the Health                                      reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                       for eligibility;
(HIPAA)                                                                         you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                        in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                        coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a                 you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of                       exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already                   all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and                    the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by                   similarly situated individuals.
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special                    Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                           continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                   ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                       Dependent’s other coverage, special enrollment may be
events include:                                                                requested in this Plan for you and all of your eligible
                                                                               Dependent(s).
   Acquiring a new Dependent. If you acquire a new
    Dependent(s) through marriage, birth, adoption or                         Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                 Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not                and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                  COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                            Dependent(s) elect COBRA or other continuation coverage
    Employee and Dependent child(ren); Employee, spouse and                    following loss of coverage under another plan, the COBRA
    Dependent child(ren). Enrollment of Dependent children is                  or other continuation coverage must be exhausted before
    limited to the newborn or adopted children or children who                 any special enrollment rights exist under this Plan. An
    became Dependent children of the Employee due to                           individual is considered to have exhausted COBRA or other
    marriage.                                                                  continuation coverage only if such coverage ceases: due to
                                                                               failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                       premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                        resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                   no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                       the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself               meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled                 there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                    available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                            termination of an Employer’s limited period of
   Loss of eligibility for other coverage (excluding                          contributions toward COBRA or other continuation
    continuation coverage). If coverage was declined under                     coverage as provided under any severance or other
    this Plan due to coverage under another plan, and eligibility              agreement.
    for the other coverage is lost, you and all of your eligible



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   Eligibility for employment assistance under State                            change in employment status of Employee, spouse or
    Medicaid or Children’s Health Insurance Program                               Dependent due to termination or start of employment,
    (CHIP). If you and/or your Dependent(s) become eligible                       strike, lockout, beginning or end of unpaid leave of absence,
    for assistance with group health plan premium payments                        including under the Family and Medical Leave Act
    under a state Medicaid or CHIP plan, you may request                          (FMLA), or change in worksite;
    special enrollment for yourself and any affected                             changes in employment status of Employee, spouse or
    Dependent(s) who are not already enrolled in the Plan. You                    Dependent resulting in eligibility or ineligibility for
    must request enrollment within 60 days after the date you                     coverage;
    are determined to be eligible for assistance.
                                                                                 change in residence of Employee, spouse or Dependent to a
Except as stated above, special enrollment must be                                location outside of the Employer’s network service area;
requested within 30 days after the occurrence of the                              and
special enrollment event. If the special enrollment event is
the birth or adoption of a Dependent child, coverage will                        changes which cause a Dependent to become eligible or
be effective immediately on the date of birth, adoption or                        ineligible for coverage.
placement for adoption. Coverage with regard to any other                     C. Court order
special enrollment event will be effective no later than the                  A change in coverage due to and consistent with a court order
first day of the first calendar month following receipt of                    of the Employee or other person to cover a Dependent.
the request for special enrollment.
                                                                              D. Medicare or Medicaid eligibility/entitlement
Domestic Partners and their children (if not legal children of
                                                                              The Employee, spouse or Dependent cancels or reduces
the Employee) are not eligible for special enrollment.
                                                                              coverage due to entitlement to Medicare or Medicaid, or
                                                                              enrolls or increases coverage due to loss of Medicare or
HC-FED96                                                         04-17        Medicaid eligibility.
                                                                              E. Change in cost of coverage
                                                                              If the cost of benefits increases or decreases during a benefit
Effect of Section 125 Tax Regulations on This                                 period, your Employer may, in accordance with plan terms,
Plan                                                                          automatically change your elective contribution.
Your Employer has chosen to administer this Plan in                           When the change in cost is significant, you may either
accordance with Section 125 regulations of the Internal                       increase your contribution or elect less-costly coverage. When
Revenue Code. Per this regulation, you may agree to a pretax                  a significant overall reduction is made to the benefit option
salary reduction put toward the cost of your benefits.                        you have elected, you may elect another available benefit
Otherwise, you will receive your taxable earnings as cash                     option. When a new benefit option is added, you may change
(salary).                                                                     your election to the new benefit option.
A. Coverage elections                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                     another employer’s plan
enroll for or change coverage only before each annual benefit                 You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                      spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                     deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                           Special Enrollment, Change in Status, Court Order or
                                                                              Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in               the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change               enrollment periods.
    coverage within the time period established by your
    Employer.                                                                 G. Reduction in work hours
                                                                              If an Employee’s work hours are reduced below 30
B. Change of status
                                                                              hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                             eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a                (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                           Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,                    be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                          following the month that includes the date the original
                                                                              coverage is revoked.


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H. Enrollment in a Qualified Health Plan (QHP)                           Act”: restrict benefits for any Hospital length of stay in
Employee: The Employee must be eligible for a Special                    connection with childbirth for the mother or newborn child to
Enrollment Period to enroll in a QHP through an Exchange                 less than 48 hours following a vaginal delivery, or less than 96
(Marketplace) or the Employee seeks to enroll in a QHP                   hours following a cesarean section; or require that a provider
through an Exchange during the Marketplace’s annual open                 obtain authorization from the plan or insurance issuer for
enrollment period; and the disenrollment from the group plan             prescribing a length of stay not in excess of the above periods.
corresponds to the intended enrollment of the Employee (and              The law generally does not prohibit an attending provider of
family) in a QHP through an Exchange for new coverage                    the mother or newborn, in consultation with the mother, from
effective beginning no later than the day immediately                    discharging the mother or newborn earlier than 48 or 96 hours,
following the last day of the original coverage.                         as applicable.
Family: A plan may allow an Employee to revoke family                    Please review this Plan for further details on the specific
coverage midyear in order for family members (“related                   coverage available to you and your Dependents.
individuals”) to enroll in a QHP through an Exchange
(Marketplace). The related individual(s) must be eligible for a          HC-FED11                                                       10-10
Special Enrollment Period to enroll in a QHP or seek to enroll
in a QHP during the Marketplace’s annual open enrollment
period, and the disenrollment from the group plan corresponds
to the intended enrollment of the individual(s) in a QHP for             Women’s Health and Cancer Rights Act
new coverage effective beginning no later than the day                   (WHCRA)
immediately following the last day of the original coverage. If          Do you know that your plan, as required by the Women’s
the Employee does not enroll in a QHP, the Employee must                 Health and Cancer Rights Act of 1998, provides benefits for
select self-only coverage or family coverage including one or            mastectomy-related services including all stages of
more already-covered individuals.                                        reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
HC-FED111                                                   01-23
                                                                         mastectomy, including lymphedema? Call Member Services at
                                                                         the toll free number listed on your ID card for more
                                                                         information.

Eligibility for Coverage for Adopted Children
                                                                         HC-FED12                                                       10-10
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for             Group Plan Coverage Instead of Medicaid
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
If a child placed for adoption is not adopted, all health                premiums for this coverage instead of for Medicaid, if it is
coverage ceases when the placement ends, and will not be                 cost effective. This includes premiums for continuation
continued.                                                               coverage required by federal law.
The provisions in the “Exception for Newborns” section of
this document that describe requirements for enrollment and              HC-FED13                                                       10-10
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.


HC-FED67                                                    09-14




Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection



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Requirements of Family and Medical Leave Act                              For leaves of 31 days or more, you may continue coverage for
of 1993 (as amended) (FMLA)                                               yourself and your Dependents as follows:
Any provisions of the policy that provide for: continuation of            You may continue benefits by paying the required premium to
insurance during a leave of absence; and reinstatement of                 your Employer, until the earliest of the following:
insurance following a return to Active Service; are modified                 24 months from the last day of employment with the
by the following provisions of the federal Family and Medical                 Employer;
Leave Act of 1993, as amended, where applicable:                             the day after you fail to return to work; and
Continuation of Health Insurance During Leave                                the date the policy cancels.
Your health insurance will be continued during a leave of                 Your Employer may charge you and your Dependents up to
absence if:                                                               102% of the total premium.
   that leave qualifies as a leave of absence under the Family           Reinstatement of Benefits (applicable to all coverages)
    and Medical Leave Act of 1993, as amended; and
                                                                          If your coverage ends during the leave of absence because you
   you are an eligible Employee under the terms of that Act.             do not elect USERRA at the expiration of USERRA and you
The cost of your health insurance during such leave must be               are reemployed by your current Employer, coverage for you
paid, whether entirely by your Employer or in part by you and             and your Dependents may be reinstated if you gave your
your Employer.                                                            Employer advance written or verbal notice of your military
Reinstatement of Canceled Insurance Following Leave                       service leave, and the duration of all military leaves while you
                                                                          are employed with your current Employer does not exceed 5
Upon your return to Active Service following a leave of                   years.
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life             You and your Dependents will be subject to only the balance
or disability) will be reinstated as of the date of your return.          of a waiting period that was not yet satisfied before the leave
                                                                          began. However, if an Injury or Sickness occurs or is
You will not be required to satisfy any eligibility or benefit            aggravated during the military leave, full Plan limitations will
waiting period to the extent that they had been satisfied prior           apply.
to the start of such leave of absence.
                                                                          If your coverage under this plan terminates as a result of your
Your Employer will give you detailed information about the                eligibility for military medical and dental coverage and your
Family and Medical Leave Act of 1993, as amended.                         order to active duty is canceled before your active duty service
                                                                          commences, these reinstatement rights will continue to apply.
HC-FED93                                                     10-17

                                                                          HC-FED18                                                     10-10



Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)                                    Claim Determination Procedures under ERISA
The Uniformed Services Employment and Re-employment                       The following complies with federal law. Provisions of
Rights Act of 1994 (USERRA) sets requirements for                         applicable laws of your state may supersede.
continuation of health coverage and re-employment in regard               Procedures Regarding Medical Necessity Determinations
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you                 In general, health services and benefits must be Medically
and your Dependents. They do not apply to any Life, Short-                Necessary to be covered under the plan. The procedures for
term or Long-term Disability or Accidental Death &                        determining Medical Necessity vary, according to the type of
Dismemberment coverage you may have.                                      service or benefit requested, and the type of health plan.
                                                                          Medical Necessity determinations are made on a preservice,
Continuation of Coverage                                                  concurrent, or postservice basis, as described below:
For leaves of less than 31 days, coverage will continue as                Certain services require prior authorization in order to be
described in the Termination section regarding Leave of                   covered. The Certificate describes who is responsible for
Absence.                                                                  obtaining this review. You or your authorized representative
                                                                          (typically, your health care professional) must request prior
                                                                          authorization according to the procedures described below, in




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the Certificate, and in your provider’s network participation           notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the Certificate, in your             If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific


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plan provisions on which the determination is based; a                  For your Dependents, COBRA continuation coverage is
description of any additional material or information necessary         available for up to 36 months from the date of the following
to perfect the claim and an explanation of why such material            qualifying events if the event would result in a loss of
or information is necessary; a description of the plan’s review         coverage under the Plan:
procedures and the time limits applicable, including a                     your death;
statement of a claimant’s rights to bring a civil action under
section 502(a) of ERISA following an adverse benefit                       your divorce or legal separation; or
determination on appeal, (if applicable); upon request and free            for a Dependent child, failure to continue to qualify as a
of charge, a copy of any internal rule, guideline, protocol or              Dependent under the Plan.
other similar criterion that was relied upon in making the              Who is Entitled to COBRA Continuation?
adverse determination regarding your claim; and an
explanation of the scientific or clinical judgment for a                Only a “qualified beneficiary” (as defined by federal law) may
determination that is based on a Medical Necessity,                     elect to continue health insurance coverage. A qualified
                                                                        beneficiary may include the following individuals who were
experimental treatment or other similar exclusion or limit; a
                                                                        covered by the Plan on the day the qualifying event occurred:
description of any available internal appeal and/or external
                                                                        you, your spouse, and your Dependent children. Each
review process(es); information about any office of health
                                                                        qualified beneficiary has their own right to elect or decline
insurance consumer assistance or ombudsman available to
assist you with the appeal process; and in the case of a claim          COBRA continuation coverage even if you decline or are not
involving urgent care, a description of the expedited review            eligible for COBRA continuation.
process applicable to such claim.                                       The following individuals are not qualified beneficiaries for
                                                                        purposes of COBRA continuation: domestic partners,
                                                                        grandchildren (unless adopted by you), stepchildren (unless
HC-FED104                                                  01-19        adopted by you). Although these individuals do not have an
                                                                        independent right to elect COBRA continuation coverage, if
                                                                        you elect COBRA continuation coverage for yourself, you
COBRA Continuation Rights Under Federal                                 may also cover your Dependents even if they are not
Law                                                                     considered qualified beneficiaries under COBRA. However,
                                                                        such individuals’ coverage will terminate when your COBRA
For You and Your Dependents                                             continuation coverage terminates. The sections titled
What is COBRA Continuation Coverage?                                    “Secondary Qualifying Events” and “Medicare Extension For
Under federal law, you and/or your Dependents must be given             Your Dependents” are not applicable to these individuals.
the opportunity to continue health insurance when there is a            Secondary Qualifying Events
“qualifying event” that would result in loss of coverage under          If, as a result of your termination of employment or reduction
the Plan. You and/or your Dependents will be permitted to               in work hours, your Dependent(s) have elected COBRA
continue the same coverage under which you or your                      continuation coverage and one or more Dependents experience
Dependents were covered on the day before the qualifying                another COBRA qualifying event, the affected Dependent(s)
event occurred, unless you move out of that plan’s coverage             may elect to extend their COBRA continuation coverage for
area or the plan is no longer available. You and/or your                an additional 18 months (7 months if the secondary event
Dependents cannot change coverage options until the next                occurs within the disability extension period) for a maximum
open enrollment period.                                                 of 36 months from the initial qualifying event. The second
When is COBRA Continuation Available?                                   qualifying event must occur before the end of the initial 18
For you and your Dependents, COBRA continuation is                      months of COBRA continuation coverage or within the
available for up to 18 months from the date of the following            disability extension period discussed below. Under no
qualifying events if the event would result in a loss of                circumstances will COBRA continuation coverage be
coverage under the Plan:                                                available for more than 36 months from the initial qualifying
                                                                        event. Secondary qualifying events are: your death; your
   your termination of employment for any reason, other than           divorce or legal separation; or, for a Dependent child, failure
    gross misconduct; or                                                to continue to qualify as a Dependent under the Plan.
   your reduction in work hours.                                       Disability Extension
                                                                        If, after electing COBRA continuation coverage due to your
                                                                        termination of employment or reduction in work hours, you or
                                                                        one of your Dependents is determined by the Social Security



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Administration (SSA) to be totally disabled under Title II or              provision is no longer applicable; or the occurrence of an
XVI of the SSA, you and all of your Dependents who have                    event described in one of the first three bullets above;
elected COBRA continuation coverage may extend such                       any reason the Plan would terminate coverage of a
continuation for an additional 11 months, for a maximum of                 participant or beneficiary who is not receiving continuation
29 months from the initial qualifying event.                               coverage (e.g., fraud).
To qualify for the disability extension, all of the following          Moving Out of Employer’s Service Area or Elimination of
requirements must be satisfied:                                        a Service Area
   SSA must determine that the disability occurred prior to or        If you and/or your Dependents move out of the Employer’s
    within 60 days after the disabled individual elected COBRA         service area or the Employer eliminates a service area in your
    continuation coverage; and                                         location, your COBRA continuation coverage under the plan
   A copy of the written SSA determination must be provided           will be limited to out-of-network coverage only. In-network
    to the Plan Administrator within 60 calendar days after the        coverage is not available outside of the Employer’s service
    date the SSA determination is made AND before the end of           area. If the Employer offers another benefit option through
    the initial 18-month continuation period.                          Cigna or another carrier which can provide coverage in your
If the SSA later determines that the individual is no longer           location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30             that option.
days after the date the final determination is made by SSA.            Employer’s Notification Requirements
The 11-month disability extension will terminate for all               Your Employer is required to provide you and/or your
covered persons on the first day of the month that is more than        Dependents with the following notices:
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.                       An initial notification of COBRA continuation rights must
                                                                           be provided within 90 days after your (or your spouse’s)
All causes for “Termination of COBRA Continuation” listed                  coverage under the Plan begins (or the Plan first becomes
below will also apply to the period of disability extension.               subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                     you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                      be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before              continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your                A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                       following timeframes:
coverage will last for up to 18 months from the date of your                if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.                        and the period within which an Employer must notify the
Termination of COBRA Continuation                                            Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                      loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                          Plan;
   the end of the COBRA continuation period of 18, 29 or 36                if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                   and the period within which an Employer must notify the
                                                                             Plan Administrator of a qualifying event starts upon the
   failure to pay the required premium within 30 calendar days              occurrence of a qualifying event, 44 days after the
    after the due date;                                                      qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;                       in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                  after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);               provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                  Administrator.
    beneficiary becomes covered under another group health             How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for         The COBRA coverage election notice will list the individuals
    which the new plan limits or excludes coverage under a pre-        who are eligible for COBRA continuation coverage and
    existing condition provision. In such case coverage will           inform you of the applicable premium. The notice will also
    continue until the earliest of: the end of the applicable          include instructions for electing COBRA continuation
    maximum period; the date the pre-existing condition                coverage. You must notify the Plan Administrator of your


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election no later than the due date stated on the COBRA                   under the Plan will continue for that coverage period without
election notice. If a written election notice is required, it must        any break.
be post-marked no later than the due date stated on the                   Grace periods for subsequent payments
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your            Although subsequent payments are due by the first day of the
Dependents will lose the right to elect COBRA continuation                month, you will be given a grace period of 30 days after the
coverage. If you reject COBRA continuation coverage before                first day of the coverage period to make each monthly
the due date, you may change your mind as long as you                     payment. Your COBRA continuation coverage will be
furnish a completed election form before the due date.                    provided for each coverage period as long as payment for that
                                                                          coverage period is made before the end of the grace period for
Each qualified beneficiary has an independent right to elect              that payment. However, if your payment is received after the
COBRA continuation coverage. Continuation coverage may                    due date, your coverage under the Plan may be suspended
be elected for only one, several, or for all Dependents who are           during this time. Any providers who contact the Plan to
qualified beneficiaries. Parents may elect to continue coverage           confirm coverage during this time may be informed that
on behalf of their Dependent children. You or your spouse                 coverage has been suspended. If payment is received before
may elect continuation coverage on behalf of all the qualified            the end of the grace period, your coverage will be reinstated
beneficiaries. You are not required to elect COBRA                        back to the beginning of the coverage period. This means that
continuation coverage in order for your Dependents to elect               any claim you submit for benefits while your coverage is
COBRA continuation.                                                       suspended may be denied and may have to be resubmitted
How Much Does COBRA Continuation Coverage Cost?                           once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire              payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed                  period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both                 coverage under the Plan.
Employer and Employee contributions) for coverage of a                    You Must Give Notice of Certain Qualifying Events
similarly situated active Employee or family member. The                  If you or your Dependent(s) experience one of the following
premium during the 11-month disability extension may not                  qualifying events, you must notify the Plan Administrator
exceed 150% of the cost to the group health plan (including               within 60 calendar days after the later of the date the
both employer and employee contributions) for coverage of a               qualifying event occurs or the date coverage would cease as a
similarly situated active Employee or family member.                      result of the qualifying event:
For example: If the Employee alone elects COBRA                              Your divorce or legal separation; or
continuation coverage, the Employee will be charged 102%
(or 150%) of the active Employee premium. If the spouse or                   Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation                          The occurrence of a secondary qualifying event as discussed
coverage, they will be charged 102% (or 150%) of the active                   under “Secondary Qualifying Events” above (this notice
Employee premium. If more than one qualified beneficiary                      must be received prior to the end of the initial 18- or 29-
elects COBRA continuation coverage, they will be charged                      month COBRA period).
102% (or 150%) of the applicable family premium.                          (Also refer to the section titled “Disability Extension” for
When and How to Pay COBRA Premiums                                        additional notice requirements.)
First payment for COBRA continuation                                      Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have                 the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you                  Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days               affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election           the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first           (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                      etc.).
continuation rights under the Plan.                                       Newly Acquired Dependents
Subsequent payments                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation                  adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments                being continued, you may cover such Dependent under your
of the required premium for each additional month of                      COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If               or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage               continue COBRA continuation coverage for the remainder of


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the coverage period following your early termination of                   The name, address and ZIP code of the person designated as
COBRA coverage or due to a secondary qualifying event.                    agent for service of legal process is:
COBRA coverage for your Dependent spouse and any                            Employer named above
Dependent children who are not your children (e.g.,
stepchildren or grandchildren) will cease on the date your                The office designated to consider the appeal of denied claims
COBRA coverage ceases and they are not eligible for a                     is:
secondary qualifying event.                                                 The Cigna Claim Office responsible for this Plan
COBRA Continuation for Retirees Following Employer’s                      The cost of the Plan is shared by Employee and Employer.
Bankruptcy                                                                The Plan’s fiscal year ends on 12/31.
If you are covered as a retiree, and a proceeding in bankruptcy           The preceding pages set forth the eligibility requirements and
is filed with respect to the Employer under Title 11 of the               benefits provided for you under this Plan.
United States Code, you may be entitled to COBRA
continuation coverage. If the bankruptcy results in a loss of             Plan Trustees
coverage for you, your Dependents or your surviving spouse                A list of any Trustees of the Plan, which includes name, title
within one year before or after such proceeding, you and your             and address, is available upon request to the Plan
covered Dependents will become COBRA qualified                            Administrator.
beneficiaries with respect to the bankruptcy. You will be                 Plan Type
entitled to COBRA continuation coverage until your death.
                                                                          The plan is a healthcare benefit plan.
Your surviving spouse and covered Dependent children will
be entitled to COBRA continuation coverage for up to 36                   Collective Bargaining Agreements
months following your death. However, COBRA continuation                  You may contact the Plan Administrator to determine whether
coverage will cease upon the occurrence of any of the events              the Plan is maintained pursuant to one or more collective
listed under “Termination of COBRA Continuation” above.                   bargaining agreements and if a particular Employer is a
Interaction With Other Continuation Benefits                              sponsor. A copy is available for examination from the Plan
                                                                          Administrator upon written request.
You may be eligible for other continuation benefits under state
law. Refer to the Termination section for any other                       Discretionary Authority
continuation benefits.                                                    The Plan Administrator delegates to Cigna the discretionary
                                                                          authority to interpret and apply plan terms and to make factual
                                                                          determinations in connection with its review of claims under
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                                                                          the plan. Such discretionary authority is intended to include,
                                                                          but not limited to, the determination of the eligibility of
                                                                          persons desiring to enroll in or claim benefits under the plan,
ERISA Required Information                                                the determination of whether a person is entitled to benefits
The name of the Plan is:                                                  under the plan, and the computation of any and all benefit
                                                                          payments. The Plan Administrator also delegates to Cigna the
  ACADIA Pharmaceuticals Inc                                              discretionary authority to perform a full and fair review, as
The name, address, ZIP code and business telephone number                 required by ERISA, of each claim denial which has been
of the sponsor of the Plan is:                                            appealed by the claimant or his duly authorized representative.
  ACADIA Pharmaceuticals Inc                                              Plan Modification, Amendment and Termination
  12830 El Camino Real, Suite 400                                         The Employer as Plan Sponsor reserves the right to, at any
  San Diego, CA 92130                                                     time, change or terminate benefits under the Plan, to change or
  858-465-7481                                                            terminate the eligibility of classes of employees to be covered
Employer Identification            Plan Number:                           by the Plan, to amend or eliminate any other plan term or
Number (EIN):                                                             condition, and to terminate the whole plan or any part of it.
061376651                          501                                    Contact the Employer for the procedure by which benefits
                                                                          may be changed or terminated, by which the eligibility of
The name, address, ZIP code and business telephone number
                                                                          classes of employees may be changed or terminated, or by
of the Plan Administrator is:
                                                                          which part or all of the Plan may be terminated. No consent of
  Employer named above                                                    any participant is required to terminate, modify, amend or
                                                                          change the Plan.




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Termination of the Plan together with termination of the                  Continue Group Health Plan Coverage
insurance policy(s) which funds the Plan benefits will have no             continue health care coverage for yourself, your spouse or
adverse effect on any benefits to be paid under the policy(s)               Dependents if there is a loss of coverage under the Plan as a
for any covered medical expenses incurred prior to the date                 result of a qualifying event. You or your Dependents may
that policy(s) terminates. Likewise, any extension of benefits              have to pay for such coverage. Review the documents
under the policy(s) due to you or your Dependent's total                    governing the Plan on the rules governing your federal
disability which began prior to and has continued beyond the                continuation coverage rights.
date the policy(s) terminates will not be affected by the Plan
termination. Rights to purchase limited amounts of life and               Prudent Actions by Plan Fiduciaries
medical insurance to replace part of the benefits lost because            In addition to creating rights for plan participants, ERISA
the policy(s) terminated may arise under the terms of the                 imposes duties upon the people responsible for the operation
policy(s). A subsequent Plan termination will not affect the              of the employee benefit plan. The people who operate your
extension of benefits and rights under the policy(s).                     plan, called “fiduciaries” of the Plan, have a duty to do so
Your coverage under the Plan’s insurance policy(s) will end               prudently and in the interest of you and other plan participants
on the earliest of the following dates:                                   and beneficiaries. No one, including your employer, your
                                                                          union, or any other person may fire you or otherwise
   the date you leave Active Service (or later as explained in           discriminate against you in any way to prevent you from
    the Termination Section;)                                             obtaining a welfare benefit or exercising your rights under
   the date you are no longer in an eligible class;                      ERISA. If your claim for a welfare benefit is denied or
   if the Plan is contributory, the date you cease to contribute;        ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date the policy(s) terminates.                                    and to appeal any denial, all within certain time schedules.
See your Plan Administrator to determine if any extension of              Enforce Your Rights
benefits or rights are available to you or your Dependents
under this policy(s). No extension of benefits or rights will be          Under ERISA, there are steps you can take to enforce the
available solely because the Plan terminates.                             above rights. For instance, if you request a copy of documents
                                                                          governing the plan or the latest annual report from the plan
Statement of Rights                                                       and do not receive them within 30 days, you may file suit in a
As a participant in the plan you are entitled to certain rights           federal court. In such a case, the court may require the plan
and protections under the Employee Retirement Income                      administrator to provide the materials and pay you up to $110
Security Act of 1974 (ERISA). ERISA provides that all plan                a day until you receive the materials, unless the materials were
participants shall be entitled to:                                        not sent because of reasons beyond the control of the
Receive Information About Your Plan and Benefits                          administrator. If you have a claim for benefits which is denied
                                                                          or ignored, in whole or in part, you may file suit in a state or
 examine, without charge, at the Plan Administrator’s office
                                                                          federal court.
  and at other specified locations, such as worksites and union
  halls, all documents governing the plan, including insurance            In addition, if you disagree with the plan’s decision or lack
  contracts and collective bargaining agreements and a copy               thereof concerning the qualified status of a domestic relations
  of the latest annual report (Form 5500 Series) filed by the             order or a medical child support order, you may file suit in
  plan with the U.S. Department of Labor and available at the             federal court. If it should happen that plan fiduciaries misuse
  Public Disclosure room of the Employee Benefits Security                the plan’s money, or if you are discriminated against for
  Administration.                                                         asserting your rights, you may seek assistance from the U.S.
                                                                          Department of Labor, or you may file suit in a federal court.
   obtain, upon written request to the Plan Administrator,               The court will decide who should pay court costs and legal
    copies of documents governing the Plan, including                     fees. If you are successful the court may order the person you
    insurance contracts and collective bargaining agreements,
                                                                          have sued to pay these costs and fees. If you lose, the court
    and a copy of the latest annual report (Form 5500 Series)
                                                                          may order you to pay these costs and fees, for example if it
    and updated summary plan description. The administrator
                                                                          finds your claim is frivolous.
    may make a reasonable charge for the copies.
                                                                          Assistance with Your Questions
   receive a summary of the Plan’s annual financial report. The
    Plan Administrator is required by law to furnish each person          If you have any questions about your plan, you should contact
    under the Plan with a copy of this summary financial report.          the plan administrator. If you have any questions about this
                                                                          statement or about your rights under ERISA, or if you need
                                                                          assistance in obtaining documents from the plan administrator,
                                                                          you should contact the nearest office of the Employee Benefits


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Security Administration, U.S. Department of Labor listed in                designation of an authorized representative, you may request
your telephone directory or the Division of Technical                      reconsideration of Cigna's determination by, as applicable,
Assistance and Inquiries, Employee Benefits Security                       confirming that the signature on the authorization is yours, or
Administration, U.S. Department of Labor, 200 Constitution                 that the authorized representative fully disclosed to you all
Avenue N.W., Washington, D.C. 20210. You may also obtain                   relevant facts regarding its billing practices.
certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the
                                                                           HC-AAR2                                                        01-17
Employee Benefits Security Administration.


                                                                           When You Have A Complaint Or An
HC-FED72                                                      05-15


                                                                           Adverse Determination Appeal
Notice of an Appeal or a Grievance                                         For the purposes of this section, any reference to "you",
                                                                           "your” or "Member" also refers to a representative or provider
The appeal or grievance provision in this certificate may be               designated by you to act on your behalf, unless otherwise
superseded by the law of your state. Please see your                       noted.
explanation of benefits for the applicable appeal or grievance
procedure.                                                                 We want you to be completely satisfied with the care and
                                                                           service you receive. That is why we have established a process
                                                                           for addressing your concerns and solving your problems.
HC-SPP4                                                       04-10
                                                                           Start with Customer Service
                                                                 V1
                                                                           We are here to listen and help. If you have a concern regarding
                                                                           a person, a service, the quality of care, or contractual benefits,
                                                                           or a rescission of coverage, you can call our toll-free number
Appointment of Authorized Representative                                   and explain your concern to one of our Customer Service
You may appoint an authorized representative to assist you in              representatives. Please call us at the Customer Service toll-free
submitting a claim or appealing a claim denial. However,                   number that appears on your Benefit Identification card,
Cigna may require you to designate your authorized                         explanation of benefits or claim form.
representative in writing using a form approved by Cigna. At               We will do our best to resolve the matter on your initial
all times, the appointment of an authorized representative is              contact. If we need more time to review or investigate your
revocable by you. To ensure that a prior appointment remains               concern, we will get back to you as soon as possible, but in
valid, Cigna may require you to re-appoint your authorized                 any case within 30 days.
representative, from time to time.
                                                                           If you are not satisfied with the results of a coverage decision,
Cigna reserves the right to refuse to honor the appointment of             you can start the appeals procedure.
a representative if Cigna reasonably determines that:
                                                                           Internal Appeal Procedure
   the signature on an authorized representative form may not
    be yours, or                                                           Cigna has a one-step appeal procedure for appeals decisions.
                                                                           To initiate an appeal for most claims, you must submit a
   the authorized representative may not have disclosed to you            request for an appeal within 365 days of receipt of a denial
    all of the relevant facts and circumstances relating to the            notice. If you appeal a reduction or termination in coverage for
    overpayment or underpayment of any claim, including, for               an ongoing course of treatment that Cigna previously
    example, that the billing practices of the provider of medical         approved, you will receive, as required by applicable law,
    services may have jeopardized your coverage through the                continued coverage pending the outcome of an appeal.
    waiver of the cost-sharing amounts that you are required to            Appeals may be submitted to the following address:
    pay under your plan.
                                                                             Cigna
If your designation of an authorized representative is revoked,              National Appeals Organization (NAO)
or Cigna does not honor your designation, you may appoint a                  PO Box 188011
new authorized representative at any time, in writing, using a               Chattanooga, TN 37422
form approved by Cigna.
                                                                           You should state the reason why you feel your appeal should
If for any reason, you are not capable of appointing a new                 be approved and include any information supporting your
authorized representative, a duly authorized representative                appeal. If you are unable or choose not to write, you may ask
may do so on your behalf. If Cigna does not honor your                     to register your appeal by telephone. Call us at the toll-free


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number on your Benefit Identification card, explanation of              case is not accepted for IMR, the CDI will treat your
benefits or claim form.                                                 application as a request for the CDI itself to review your issues
Your appeal will be reviewed and the decision made by                   and concerns. Prior to application for an IMR, you are free to
someone not involved in the initial decision. Appeals                   seek other avenues of appeal with Cigna. If you choose to do
involving Medical Necessity or clinical appropriateness will            so, you will not forfeit your eligibility to apply for the IMR.
be considered by a health care professional.                            The Independent Medical Review Organization is composed
We will respond in writing with a decision within 30 calendar           of persons who are not employed by Cigna or any of its
days after we receive an appeal for a required pre-service or           affiliates. A decision to use the voluntary level of appeal will
concurrent care coverage determination (decision). We will              not affect the claimant's rights to any other benefits under the
respond within 30 calendar days after we receive an appeal for          policy.
a post-service coverage determination. If more time or                  There is no charge for you to apply for or participate in this
information is needed to make the determination, we will                IMR process. Cigna will abide by the decision of the
notify you in writing to request an extension of up to 30               Independent Medical Review Organization.
calendar days and to specify any additional information                 In order to qualify for an IMR, certain conditions must be met:
needed to complete the review. Please note that the California          your Physician has recommended a health care service as
Department of Insurance (CDI) does not require you to                   Medically Necessary and Cigna has disagreed with this
participate in Cigna's appeals review for more than 30 days             determination, or you have received urgent care or emergency
although you may choose to do so. At the completion of this             services that a Physician has deemed Medically Necessary and
30-day-review period, when the disputed decision is upheld or           Cigna has disagreed with this determination, or you have been
your case remains unresolved, you may apply to the CDI for a            seen by a Physician for the diagnosis or treatment of the
review of your case.                                                    medical condition for which you are seeking an Independent
In the event any new or additional information (evidence) is            Medical Review and Cigna has determined these services as
considered, relied upon or generated by Cigna in connection             not Medically Necessary or clinically appropriate.
with the appeal, Cigna will provide this information to you as          Administrative, eligibility or benefit coverage limits or
soon as possible and sufficiently in advance of the decision, so        exclusions are not eligible for an independent medical appeal
that you will have an opportunity to respond. Also, if any new          under this process. You remain entitled to send such issues to
or additional rationale is considered by Cigna, Cigna will              the CDI for a Department review.
provide the rationale to you as soon as possible and                    Independent Review Process for Experimental and
sufficiently in advance of the decision so that you will have an        Investigational Therapies
opportunity to respond.
                                                                        Special provisions apply to the IMR process for coverage
You may request that the appeal process be expedited if, your           decisions related to experimental or investigational therapies.
treating Physician certifies in writing that an imminent and            If Cigna denies your appeal because the requested service or
serious threat to your health may exist, including, but not             treatment is experimental or investigational, Cigna will send
limited to, serious pain, the potential loss of life, limb, or          you a letter within 5 business days of making the denial
major bodily function, or the immediate and serious                     decision. The letter will include:
deterioration of your health.
                                                                           a notice explaining your right to an IMR;
If you request that your appeal be expedited, you may also ask
for an expedited external Independent Review at the same                   an IMR application;
time, if the time to complete an expedited internal appeal                 a Physician Certification Form for your Physician to
would be detrimental to your medical condition.                             complete which certifies that you have a life-threatening or
When an appeal is expedited, we will respond orally with a                  seriously debilitating condition; your Physician’s
decision within 72 hours, followed up in writing. The CDI                   certification must also indicate that standard therapies have
allows you to apply for an Independent Medical Review after                 not been effective in treating your condition or the requested
this expedited decision if you are unsatisfied with our                     therapy is likely to be more beneficial than any standard
determination.                                                              therapy as documented in two separate sources of medical
                                                                            or scientific evidence;
Independent Medical Review Procedures
                                                                           an envelope for you to return the completed forms to us.
When the disputed decision is upheld or your case remains
unresolved after 30 days and when your case meets the criteria          A “life-threatening” condition means either or both of the
outlined below, you are eligible to apply to the CDI for an             following:
Independent Medical Review (IMR). The CDI has final                        diseases or conditions where the likelihood of death is high
authority to accept or deny cases for the IMR process. If your              unless the course of the disease is interrupted.


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   diseases or conditions with potentially fatal outcomes,              available. An expedited IMR will be completed within 7
    where the end point of clinical intervention is survival.            calendar days from the date an expedited IMR was requested.
   a “seriously debilitating” condition means diseases or               This timeframe may be extended by up to 3 calendar days if
    conditions that cause major irreversible morbidity.                  there is a delay in providing any documents which the
                                                                         Independent Medical Review Organization requests for
“Medical and scientific evidence” means any of the following:            review. The IMR’s decision must state the reason that the
   peer-reviewed scientific studies published in or accepted for        therapy should or should not be covered, citing your specific
    publication by medical journals that meet nationally                 medical condition, the relevant documents, and the relevant
    recognized requirements for scientific manuscripts and that          medical and scientific evidence. Cigna will cover the services
    submit most of their published articles for review by experts        subject to the terms and conditions generally applicable to
    who are not part of the editorial staff.                             other benefits under your policy.
   peer-reviewed literature, biomedical compendia and other             Assistance from the State of California
    medical literature that meet the criteria of the National            We will provide you with an application and instructions on
    Institutes of Health's National Library of Medicine for              how to apply to the CDI for an IMR. You must submit the
    indexing in Index Medicus, Excerpta Medicus (EMBASE),                application to the CDI within 180 days of your receipt of our
    Medline and MEDLARS database Health Services                         appeal review denial. In compelling circumstances, the
    Technology Assessment Research (HSTAR).                              Commissioner of Insurance may grant an extension.
   medical journals recognized by the Secretary of Health and           The Independent Medical Review Organization will render an
    Human Services, under section 1861(t)(2) of the Social               opinion within 30 days. If a delay would be detrimental to
    Security Act.                                                        your medical condition, you may apply to the Department for
   either of the following standard reference compendia: The            an expedited review of your case. If accepted, the Independent
    American Hospital Formulary Service-Drug Information,                Medical Review Organization will render a decision in three
    the American Dental Association Accepted Dental                      days.
    Therapeutics and The United States Pharmacopoeia-Drug                You have the right to contact the California Department of
    Information.                                                         Insurance for assistance at any time. The Commissioner may
   any of the following reference compendia if recognized by            be contacted at the following address and fax number:
    the Federal Center for Medicare and Medicaid Services as               California Department of Insurance
    part of an anticancer chemotherapeutic regimen: The                    Claims Service Bureau, Attn: IMR
    Elsevier Gold Standard's Clinical Pharmacology, The                    300 South Spring Street
    National Comprehensive Cancer Network Drug and                         Los Angeles, CA 90013
    Biologics Compendium, The Thomson Micromedex                           or fax to 213-897-5891
    DrugDex.                                                             Notice of Benefit Determination on Appeal
   findings, studies, or research conducted by or under the             Every notice of an appeal decision will be provided in writing
    auspices of federal government agencies and nationally               or electronically and, if an adverse determination, will include:
    recognized federal research institutes, including the Federal        information sufficient to identify the claim; the specific reason
    Agency for Health Care Policy and Research, National                 or reasons for the denial decision; reference to the specific
    Institutes of Health, National Cancer Institute, National            policy provisions on which the decision is based; a statement
    Academy of Sciences, Health Care Financing                           that the claimant is entitled to receive, upon request and free
    Administration, Congressional Office of Technology                   of charge, reasonable access to and copies of all documents,
    Assessment, and any national board recognized by the                 records, and other Relevant Information as defined; a
    National Institutes of Health for the purpose of evaluating          statement describing any voluntary appeal procedures offered
    the medical value of health services.                                by the plan and the claimant's right to bring an action under
   peer-reviewed abstracts accepted for presentation at major           ERISA section 502(a); upon request and free of charge, a copy
    medical association meetings.                                        of any internal rule, guideline, protocol or other similar
The IMR will be conducted by an Independent Medical                      criterion that was relied upon in making the adverse
Review Organization which is qualified to review issues                  determination regarding your appeal, and an explanation of the
related to experimental and investigational therapies as                 scientific or clinical judgment for a determination that is based
selected by the CDI. The IMR must be completed within 30                 on a Medical Necessity, experimental treatment or other
calendar days. If your Physician determines that the proposed            similar exclusion or limit; and information about any office of
therapy which is the subject of the IMR would be significantly           health insurance consumer assistance or ombudsman available
less effective if not initiated promptly, an expedited IMR is            to assist you in the appeal process. A final notice of adverse
                                                                         determination will include a discussion of the decision.


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You also have the right to bring a civil action under section
502(a) of ERISA if you are not satisfied with the decision on              Ambulance
review. You or your plan may have other voluntary alternative
dispute resolution options such as Mediation. One way to find              Licensed ambulance transportation services involve the use of
out what may be available is to contact your local U.S.                    specially designed and equipped vehicles for transporting ill or
Department of Labor office and your state insurance                        injured patients. It includes ground, air, or sea transportation
regulatory agency. You may also contact the Plan                           when Medically Necessary and clinically appropriate.
Administrator.
Relevant Information                                                       HC-DFS1406                                                   01-20

Relevant Information is any document, record, or other
information which was relied upon in making the benefit                    Biologic
determination; was submitted, considered, or generated in the
                                                                           A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
course of making the benefit determination, without regard to
                                                                           blood component or derivative, allergenic product, protein
whether such document, record, or other information was
                                                                           (except any chemically synthesized polypeptide), or analogous
relied upon in making the benefit determination; demonstrate
                                                                           product, or arsphenamine or derivative of arsphenamine (or
compliance with the administrative processes and safeguards
                                                                           any other trivalent organic arsenic compound), used for the
required by federal law in making the benefit determination;
                                                                           prevention, treatment, or cure of a disease or condition of
or constitutes a statement of policy or guidance with respect to
                                                                           human beings, as defined under Section 351(i) of the Public
the policy concerning the denied treatment option or benefit or
                                                                           Health Service Act (42 USC 262(i)) (as amended by the
the claimant's diagnosis, without regard to whether such
                                                                           Biologics Price Competition and Innovation Act of 2009, title
advice or statement was relied upon in making the benefit
                                                                           VII of the Patient Protection and Affordable Care Act, Pub. L.
determination.
                                                                           No. 111-148, § 7002 (2010), and as may be amended
Legal Action                                                               thereafter).
If your plan is governed by ERISA, you have the right to bring
a civil action under section 502(a) of ERISA if you are not
                                                                           HC-DFS1130                                             HC-DFS840V2
satisfied with the outcome of the Appeals Procedure. In most
                                                                                                                                        10-16
instances, you may not initiate a legal action against Cigna
until you have completed the appeal processes. However, no
action will be brought at all unless brought within three years            Biosimilar
after a claim is submitted for In-Network services or within               A Biologic that is highly similar to the reference Biologic
three years after proof of claim is required under the Plan for            product notwithstanding minor differences in clinically
Out-of-Network services.                                                   inactive components, and has no clinically meaningful
                                                                           differences from the reference Biologic in terms of its safety,
HC-APL415                                                     01-20
                                                                           purity, and potency, as defined under Section 351(i) of the
                                                                           Public Health Service Act (42 USC 262(i)) (as amended by
                                                                           the Biologics Price Competition and Innovation Act of 2009,
Definitions                                                                title VII of the Patient Protection and Affordable Care Act,
Active Service                                                             Pub. L. No. 111-148, § 7002 (2010), and as may be amended
You will be considered in Active Service:                                  thereafter).
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time              HC-DFS1130                                             HC-DFS841V2
    basis on that day either at your Employer's place of business                                                                       10-16

    or at some location to which you are required to travel for
    your Employer's business.
                                                                           Brand Drug
   on a day which is not one of your Employer's scheduled
                                                                           A Prescription Drug Product that Cigna identifies as a Brand
    work days if you were in Active Service on the preceding
                                                                           Drug product across its book-of-business, principally based on
    scheduled work day.
                                                                           available data resources, including, but not limited to, First
                                                                           DataBank or another nationally recognized drug indicator
HC-DFS1186                                             HC-DFS1095V4        source, that classify drugs or Biologics as either brand or
                                                              08-18        generic based on a number of factors. Not all products



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identified as a "brand name" by the manufacturer, Pharmacy,                for himself or herself. Custodial Services include but are not
or your Physician may be classified as a Brand Drug under the              limited to:
plan.                                                                         Services related to watching or protecting a person;
                                                                              Services related to performing or assisting a person in
HC-DFS1130                                            HC-DFS842V3              performing any activities of daily living, such as: walking,
                                                              10-16            grooming, bathing, dressing, getting in or out of bed,
                                                                               toileting, eating, preparing foods, or taking medications that
                                                                               can be self administered, and
Business Decision Team
                                                                              Services not required to be performed by trained or skilled
A committee comprised of voting and non-voting
                                                                               medical or paramedical personnel.
representatives across various Cigna business units such as
clinical, medical and business leadership that is duly
authorized by Cigna to make – subject to the P&T                           HC-DFS4                                                        04-10
Committee’s findings – decisions regarding coverage                                                                                          V1
treatment of Prescription Drug Products or Medical
Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, decisions                    Dependent
regarding tier placement and application of utilization                    Dependents are:
management to Prescription Drug Products or Medical                           your lawful spouse; or
Pharmaceuticals. The P&T Committee is responsible for
                                                                              your Domestic Partner; and
ensuring that the plan offers a clinically appropriate
Prescription Drug List to enrollees consistent with the                       any child of yours who is
requirements of CIC 10123.201(b)(6).                                            less than 26 years old.
A decision by the P&T Committee is paramount to a decision                      26 or more years old, unmarried, and primarily supported
by the Business Decision Team.                                                   by you and incapable of self-sustaining employment by
                                                                                 reason of mental or physical disability. The plan may
HC-DFS1130                                             HC-DFS1099
                                                                                 require written proof of such disability and dependency
                                                              10-16
                                                                                 within 60 days of receiving our request for written proof.
                                                                                 After the original proof is received, the plan may ask for
                                                                                 proof of handicap/dependency annually, after the two year
Charges                                                                          period following the child's 26th birthday.
The term charges means the actual billed charges; except                   The term child means a child born to you, a child legally
when Cigna has contracted directly or indirectly for a different           adopted by you from the date the child is placed in your
amount including where Cigna has directly or indirectly                    physical custody prior to the finalization of the child's
contracted with an entity to arrange for the provision of                  adoption, or a child supported by you pursuant to a court order
services and/or supplies through contracts with providers of               (including a qualified medical child support order). It also
such services and/or supplies.                                             includes a stepchild or a child for whom you are the legal
                                                                           guardian. If your Domestic Partner has a child, that child will
                                                                           also be included as a Dependent.
HC-DFS1193                                                    01-19
                                                                           Benefits for a Dependent child will continue until the last day
                                                                           of the calendar month in which the limiting age is reached.
Custodial Services
                                                                           Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                      as a Dependent.
safeguarding nature. Such services may include a stay in an
                                                                           No one may be considered as a Dependent of more than one
institutional setting, at-home care, or nursing services to care
                                                                           Employee.
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly             HC-DFS1023                                                     10-16
to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care



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Designated Pharmacy                                                      Emergency Services
A Network Pharmacy that has entered into an agreement with               Emergency services means, with respect to an emergency
Cigna, or with an entity contracting on Cigna’s behalf, to               medical condition, a medical screening examination that is
provide Prescription Drug Products or services, including,               within the capability of the emergency department of a
without limitation, specific Prescription Drug Products, to plan         Hospital, including ancillary services routinely available to the
enrollees on a preferred or exclusive basis. For example, a              emergency department to evaluate the emergency medical
Designated Pharmacy may provide enrollees certain Specialty              condition; and such further medical examination and
Prescription Drug Products that have limited distribution                treatment, to the extent they are within the capabilities of the
availability, provide enrollees with an extended days’ supply            staff and facilities available at the Hospital, to stabilize the
of Prescription Drug Products or provide enrollees with                  patient.
Prescription Drug Products on a preferred cost share basis.
The fact that a Pharmacy is a Network Pharmacy does not
                                                                         HC-DFS1414                                                   01-20
mean that it is a Designated Pharmacy.

                                                                         Employee
HC-DFS1131                                            HC-DFS845V2
                                                            10-16        The term Employee means a full-time Employee of the
                                                                         Employer who is currently in Active Service. The term does
                                                                         not include Employees who are part-time or temporary or who
Domestic Partner                                                         normally work less than 30 hours a week for the Employer.
A Domestic Partner is defined as your Domestic Partner who
has registered the domestic partnership by filing a Declaration
                                                                         HC-DFS1186                                              HC-DFS1189
of Domestic Partnership with the California Secretary of state
                                                                                                                                      08-18
pursuant to Section 298 of the Family Code or an equivalent
document issued by a local agency of California, another state,
or a local agency of another state under which the partnership           Employer
was created.
                                                                         The term Employer means the Policyholder and all Affiliated
The sections of this certificate entitled "COBRA Continuation            Employers.
Rights Under Federal Law" and “Continuation of Coverage
under Cal-COBRA” will not apply to your Domestic Partner
and his or her Dependents.                                               HC-DFS8                                                      04-10
                                                                                                                                        V1


HC-DFS1024                                                  10-16
                                                                         Essential Health Benefits
                                                                         Essential health benefits means, to the extent covered under
Emergency Medical Condition                                              the plan, expenses incurred with respect to covered services, in
Emergency medical condition means a medical condition                    at least the following categories: ambulatory patient services,
which manifests itself by acute symptoms of sufficient                   emergency services, hospitalization, maternity and newborn
severity (including severe pain) such that a prudent layperson,          care, mental health and substance use disorder services,
who possesses an average knowledge of health and medicine,               including behavioral health treatment, prescription drugs,
could reasonably expect the absence of immediate medical                 rehabilitative and habilitative services and devices, laboratory
attention to result in placing the health of the individual (or,         services, preventive and wellness services and chronic disease
with respect to a pregnant woman, the health of the woman or             management and pediatric services, including oral and vision
her unborn child) in serious jeopardy; serious impairment to             care.
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         HC-DFS411                                                    01-11


HC-DFS394                                                   11-10




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Expense Incurred                                                             Hospice Care Program
An expense is incurred when the service or the supply for                    The term Hospice Care Program means:
which it is incurred is provided.                                               a coordinated, interdisciplinary program to meet the
                                                                                 physical, psychological, spiritual and social needs of dying
HC-DFS10                                                        04-10
                                                                                 persons and their families;
                                                                  V1            a program that provides palliative and supportive medical,
                                                                                 nursing and other health services through home or inpatient
                                                                                 care during the illness;
Free-Standing Surgical Facility
                                                                                a program for persons who have a Terminal Illness and for
The term Free-Standing Surgical Facility means an institution
                                                                                 the families of those persons.
which meets all of the following requirements:
   it has a medical staff of Physicians, Nurses and licensed
    anesthesiologists;                                                       HC-DFS51                                                          04-10
                                                                                                                                                 V1
   it maintains at least two operating rooms and one recovery
    room;
   it maintains diagnostic laboratory and x-ray facilities;                 Hospice Care Services
   it has equipment for emergency care;                                     The term Hospice Care Services means any services provided
                                                                             by: a Hospital, a Skilled Nursing Facility or a similar
   it has a blood supply;                                                   institution, a Home Health Care Agency, a Hospice Facility,
   it maintains medical records;                                            or any other licensed facility or agency under a Hospice Care
   it has agreements with Hospitals for immediate acceptance                Program.
    of patients who need Hospital Confinement on an inpatient
    basis; and                                                               HC-DFS52                                                          04-10
   it is licensed in accordance with the laws of the appropriate                                                                                V1
    legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted                 Hospice Facility
otherwise, is covered with the same cost share as an
                                                                             The term Hospice Facility means an institution or part of it
Outpatient Facility.
                                                                             which:
                                                                                primarily provides care for Terminally Ill patients;
HC-DFS1407                                                      01-20
                                                                                is accredited by the National Hospice Organization;
                                                                                meets standards established by Cigna; and
Generic Drug
                                                                                fulfills any licensing requirements of the state or locality in
A Prescription Drug Product that Cigna identifies as a Generic                   which it operates.
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator                     HC-DFS53                                                          04-10

source, that classify drugs or Biologics (including Biosimilars)                                                                                 V1

as either brand or generic based on a number of factors. Not
all products identified as a "generic" by the manufacturer,
                                                                             Hospital
Pharmacy or your Physician may be classified as a Generic
Drug under the plan. A Biosimilar may be classified as a                     The term Hospital means:
Generic Drug for the purposes of benefits under the plan even                   an institution licensed as a hospital, which: maintains, on
if it is identified as a “brand name” drug by the manufacturer,                  the premises, all facilities necessary for medical and
Pharmacy or your Physician.                                                      surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
HC-DFS1131                                               HC-DFS846V3
                                                                                 Graduate Nurses;
                                                                10-16
                                                                                an institution which qualifies as a hospital, a psychiatric
                                                                                 hospital or a tuberculosis hospital, and a provider of


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    services under Medicare, if such institution is accredited as             determine whether a drug is a Maintenance Medication by
    a hospital by the Joint Commission on the Accreditation of                calling member services at the telephone number on your ID
    Healthcare Organizations; or                                              card.
   an institution which: specializes in treatment of Mental
    Health and Substance Use Disorder or other related illness;               HC-DFS1306                                              HC-DFS847V2
    provides residential treatment programs; and is licensed in                                                                             01-19
    accordance with the laws of the appropriate legally
    authorized agency.
                                                                              Maximum Reimbursable Charge - Medical
The term Hospital does not include an institution which is
primarily a place for rest, a place for the aged, or a nursing                The Maximum Reimbursable Charge for covered services is
home.                                                                         determined based on the lesser of:
                                                                                 the provider’s normal charge for a similar service or supply;
                                                                                  or
HC-DFS1415                                                       01-20
                                                                   V2            a policyholder-selected percentage of a schedule that Cigna
                                                                                  has developed that is based upon a methodology similar to a
                                                                                  methodology utilized by Medicare to determine the
Hospital Confinement or Confined in a Hospital                                    allowable fee for the same or similar service within the
A person will be considered Confined in a Hospital if he is:                      geographic market.
   a registered bed patient in a Hospital upon the                           The percentage used to determine the Maximum Reimbursable
    recommendation of a Physician;                                            Charge is listed in The Schedule.
   receiving treatment for Mental Health and Substance Abuse                 In some cases, a Medicare based schedule will not be used and
    Services in a Partial Hospitalization program;                            the Maximum Reimbursable Charge for covered services is
   receiving treatment for Mental Health and Substance Abuse                 determined based on the lesser of:
    Services in a Mental Health or Substance Abuse Residential                   the provider’s normal charge for a similar service or supply;
    Treatment Center.                                                             or
                                                                                 the 80th percentile of charges made by providers of such
HC-DFS49                                                         04-10
                                                                                  service or supply in the geographic area where it is received
                                                                   V1
                                                                                  as compiled in a database selected by Cigna. If sufficient
                                                                                  charge data is unavailable in the database for that
                                                                                  geographic area to determine the Maximum Reimbursable
Injury                                                                            Charge, then data in the database for similar services may
The term Injury means an accidental bodily injury.                                be used.
                                                                              The Maximum Reimbursable Charge is subject to all other
                                                                              benefit limitations and applicable coding and payment
HC-DFS12                                                         04-10
                                                                   V1
                                                                              methodologies determined by Cigna. Additional information
                                                                              about how Cigna determines the Maximum Reimbursable
                                                                              Charge is available upon request.
Maintenance Drug Product
A Prescription Drug Product that is prescribed for use over an                HC-DFS1196                                                    01-19
extended period of time for the treatment of chronic or long-
term conditions such as asthma, hypertension, diabetes and
heart disease, and is identified principally based on                         Medicaid
consideration of available data resources, including, but not                 The term Medicaid means a state program of medical aid for
limited to, First DataBank or another nationally recognized                   needy persons established under Title XIX of the Social
drug indicator source and clinical factors. For the purposes of               Security Act of 1965 as amended.
benefits, the list of your plan’s Maintenance Drug Products
does not include compounded medications, Specialty
Prescription Drug Products or Prescription Drug Products,                     HC-DFS16                                                      04-10

such as certain narcotics that a Pharmacy cannot dispense                                                                                     V1

above certain supply limits per Prescription Drug Order or
Refill under applicable federal or state law. You may


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Medical Pharmaceutical                                                         reference compendia and peer-reviewed, evidence-based
An FDA-approved prescription pharmaceutical product,                           scientific literature or guidelines.
including a Specialty Prescription Drug Product, typically
required to be administered in connection with a covered                       HC-DFS1411                                                      01-20
service by a Physician or Other Health Professional within the
scope of the provider's license. This definition includes certain
pharmaceutical products whose administration may initially or                  Medicare
typically require Physician oversight but may be self-                         The term Medicare means the program of medical care
administered under certain conditions specified in the                         benefits provided under Title XVIII of the Social Security Act
product’s FDA labeling. This definition does not include any                   of 1965 as amended.
charges for mobile, web-based or other electronic applications
or software, even if approved for marketing as a prescription
product by the FDA.                                                            HC-DFS17                                                        04-10
                                                                                                                                                 V1


HC-DFS1410                                                        01-20
                                                                               Necessary Services and Supplies
                                                                               The term Necessary Services and Supplies includes any
Medically Necessary/Medical Necessity                                          charges, except charges for Room and Board, made by a
Health care services, supplies and medications provided for                    Hospital for medical services and supplies actually used
the purpose of preventing, evaluating, diagnosing or treating a                during Hospital Confinement.
Sickness, Injury, condition, disease or its symptoms, that are                 The term Necessary Services and Supplies will not include
all of the following as determined by a Medical Director or                    any charges for special nursing fees, dental fees or medical
Review Organization:
                                                                               fees.
   required to diagnose or treat an illness, Injury, disease or its
    symptoms;
                                                                               HC-DFS1409                                                      01-20
   in accordance with generally accepted standards of medical
    practice;
   clinically appropriate in terms of type, frequency, extent,                Network Pharmacy
    site and duration;                                                         A retail or home delivery Pharmacy that has:
   not primarily for the convenience of the patient, Physician                   entered into an agreement with Cigna or an entity
    or Other Health Professional;                                                  contracting on Cigna's behalf to provide Prescription Drug
   not more costly than an alternative service(s), medication(s)                  Products to plan enrollees.
    or supply(ies) that is at least as likely to produce equivalent               agreed to accept specified reimbursement rates for
    therapeutic or diagnostic results with the same safety profile                 dispensing Prescription Drug Products.
    as to the prevention, evaluation, diagnosis or treatment of                   been designated as a Network Pharmacy for the purposes of
    your Sickness, Injury, condition, disease or its symptoms;                     coverage under your Employer’s plan.
    and
                                                                               This term may also include, as applicable, an entity that has
   rendered in the least intensive setting that is appropriate for            directly or indirectly contracted with Cigna to arrange for the
    the delivery of the services, supplies or medications. Where               provision of any Prescription Drug Products the charges for
    applicable, the Medical Director or Review Organization                    which are Covered Expenses.
    may compare the cost-effectiveness of alternative services,
    supplies, medications or settings when determining least
    intensive setting.                                                         HC-DFS1305                                               HC-DFS1198V1
                                                                                                                                               01-19
In determining whether health care services, supplies, or
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage                          New Prescription Drug Product
policies maintained by Cigna or the Review Organization.                       A Prescription Drug Product, or new use or dosage form of a
Clinical coverage policies may incorporate, without limitation                 previously FDA-approved Prescription Drug Product, for the
and as applicable, criteria relating to U.S. Food and Drug                     period of time starting on the date the Prescription Drug
Administration-approved labeling, the standard medical                         Product or newly-approved use or dosage form becomes


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available on the market following approval by the U.S. Food                provision of any services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date                       which are Covered Expenses.
Cigna's Business Decision Team makes a Prescription Drug
List coverage status decision.
                                                                           HC-DFS1194                                                   01-19


HC-DFS1305                                             HC-DFS850V2
                                                              01-19
                                                                           Patient Protection and Affordable Care Act of 2010
                                                                           (“PPACA”)
                                                                           Patient Protection and Affordable Care Act of 2010 means the
Nurse                                                                      Patient Protection and Affordable Care Act of 2010 (Public
The term Nurse means a Registered Graduate Nurse, a                        Law 111-148) as amended by the Health Care and Education
Licensed Practical Nurse or a Licensed Vocational Nurse who                Reconciliation Act of 2010 (Public Law 111-152).
has the right to use the abbreviation "R.N.," "L.P.N." or
"L.V.N."
                                                                           HC-DFS412                                                    01-11


HC-DFS22                                                      04-10
                                                                V1
                                                                           Pharmacy
                                                                           A duly licensed Pharmacy that dispenses Prescription Drug
                                                                           Products in a retail setting or via home delivery. A home
Other Health Care Facility                                                 delivery Pharmacy is a Pharmacy that primarily provides
The term Other Health Care Facility means a facility other                 Prescription Drug Products through mail order.
than a Hospital or Hospice Facility. Examples of Other Health
Care Facilities include, but are not limited to, licensed skilled
nursing facilities, rehabilitation Hospitals and subacute                  HC-DFS1178                                            HC-DFS851V2

facilities.
                                                                           Pharmacy & Therapeutics (P&T) Committee
HC-DFS1412                                                    01-20        A committee comprised of both voting and non-voting Cigna-
                                                                           employed clinicians, Medical Directors and Pharmacy
                                                                           Directors and non-employees such as Participating Providers
Other Health Professional                                                  that represent a range of clinical specialties, and the
The term Other Health Professional means an individual other               composition of which satisfies the membership requirements
than a Physician who is licensed or otherwise authorized under             of CIC 10123.201. The committee regularly reviews Medical
the applicable state law to deliver medical services and                   Pharmaceuticals or Prescription Drug Products, including New
supplies. Other Health Professionals include, but are not                  Prescription Drug Products, for safety and efficacy, the
limited to physical therapists, registered nurses and licensed             findings of which clinical reviews inform coverage status
practical nurses. Other Health Professionals do not include                decisions made by the Business Decision Team. The P&T
providers such as Certified First Assistants, Certified                    Committee’s review may be based on consideration of,
Operating Room Technicians, Certified Surgical                             without limitation, U.S. Food and Drug Administration-
Assistants/Technicians, Licensed Certified Surgical                        approved labeling, standard medical reference compendia, or
Assistants/Technicians, Licensed Surgical Assistants,                      scientific studies published in peer-reviewed English-language
Orthopedic Physician Assistants and Surgical First Assistants.             bio-medical journals.
                                                                           A decision by the P&T Committee is paramount to a decision
HC-DFS1413                                                    01-20        by the Business Decision Team.


Participating Provider                                                     HC-DFS1178                                             HC-DFS1100

The term Participating Provider means a person or entity that
has a direct or indirect contractual arrangement with Cigna to             Physician
provide covered services and/or supplies, the Charges for                  The term Physician means a licensed medical practitioner who
which are Covered Expenses. It includes an entity that has                 is practicing within the scope of his license and who is
directly or indirectly contracted with Cigna to arrange, through           licensed to prescribe and administer drugs or to perform
contracts with providers of services and/or supplies, for the


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surgery. It will also include any other licensed medical                 characteristics, is approved by the FDA for self-administration
practitioner whose services are required to be covered by law            or administration by a non-skilled caregiver. For the purpose
in the locality where the policy is issued if he is:                     of benefits under the plan, this definition also includes:
   operating within the scope of his license; and                          The following diabetic supplies: alcohol pads, swabs, wipes,
   performing a service for which benefits are provided under               Glucagon/Glucagen, injection aids, insulin pump
    this plan when performed by a Physician.                                 accessories (but excluding insulin pumps), needles
                                                                             including pen needles, syringes, test strips, lancets, urine
                                                                             glucose and ketone strips;
HC-DFS25                                                    04-10
                                                                            Needles and syringes for self-administered medications or
                                                              V1
                                                                             Biologics covered under the plan’s Prescription Drug
                                                                             benefit; and
Prescription Drug Charge                                                    Inhaler assistance devices and accessories, peak flow
The Prescription Drug Charge is the amount that, prior to                    meters.
application of the plan’s cost-share requirement(s), is payable          This definition does not include any charges for mobile, web-
by Cigna to its Pharmacy Benefit Manager for a specific                  based or other electronic applications or software, even if
covered Prescription Drug Product dispensed at a Network                 approved for marketing as a prescription product by the FDA.
Pharmacy, including any applicable dispensing fee and tax.
The “Pharmacy Benefit Manager” is the business unit,
affiliate, or other entity that manages the Prescription Drug            HC-DFS1178                                              HC-DFS855V2

Benefit for Cigna.
                                                                         Prescription Order or Refill
HC-DFS1178                                             HC-DFS1179        The lawful directive to dispense a Prescription Drug Product
                                                                         issued by a Physician whose scope of practice permits issuing
                                                                         such a directive.
Prescription Drug List
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug             HC-DFS1178                                              HC-DFS856V2

Benefits that have been approved by the U.S. Food and Drug
Administration (FDA) into coverage tiers. This list is                   Preventive Care Medications
developed by Cigna's Business Decision Team based on
clinical factors communicated by the P&T Committee, and                  The Prescription Drug Products or other medications
adopted by your Employer as part of the plan. The list is                (including over-the-counter medications) designated as
subject to periodic review and change, and is subject to the             payable by the plan at 100% of the cost (without application of
limitations and exclusions of the plan. You may determine to             any Deductible, Copayment or Coinsurance) as required by
which tier a particular Prescription Drug Product has been               applicable law under any of the following:
assigned through the website shown on your ID card or by                    Evidence-based items or services that have in effect a rating
calling customer service at the telephone number on your ID                  of "A" or "B" in the current recommendations of the United
card.                                                                        States Preventive Services Task Force.
                                                                            With respect to infants, children and adolescents, evidence-
HC-DFS1178                                            HC-DFS854V2
                                                                             informed preventive care and screenings provided for in the
                                                                             comprehensive guidelines supported by the Health
                                                                             Resources and Services Administration.
Prescription Drug Product                                                   With respect to women, such additional preventive care and
A drug, Biologic (including a Biosimilar), or other product                  screenings as provided for in comprehensive guidelines
that has been approved by the U.S. Food and Drug                             supported by the Health Resources and Services
Administration (FDA), certain products approved under the                    Administration.
Drug Efficacy Study Implementation review, or products
marketed prior to 1938 and not subject to review and that can,
under federal or state law, be dispensed only pursuant to a
Prescription Order or Refill. A Prescription Drug Product
includes a drug, Biologic or product that, due to its



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A written prescription is required to process a claim for a               Room and Board
Preventive Care Medication. You may determine whether a                   The term Room and Board includes all charges made by a
drug is a Preventive Care Medication through the internet                 Hospital for room and meals and for all general services and
website shown on your ID card or by calling member services               activities needed for the care of registered bed patients.
at the telephone number on your ID card.

                                                                          HC-DFS1408                                                       01-20
HC-DFS1178                                             HC-DFS857V2


                                                                          Serious Emotional Disturbances
Primary Care Physician
                                                                          A Seriously Emotionally Disturbed (SED) child shall be
The term Primary Care Physician means a Physician who                     defined as a child who:
qualifies as a Participating Provider in general practice,
internal medicine, family practice, obstetrics/gynecology or                 has one or more mental disorders as identified in the most
pediatrics; and who has been selected by you, as authorized by                recent edition of the Diagnostic and Statistical Manual of
Cigna, to provide or arrange for medical care for you or any of               Mental Disorders, other than a primary substance abuse
your insured Dependents.                                                      disorder or developmental disorder, that results in behavior
                                                                              inappropriate to the child's age according to expected
                                                                              developmental norms; and
HC-DFS167                                                    04-10
                                                                             is under the age of 18 years old; and
                                                               V2
                                                                             meets the criteria in as follows:
                                                                               as a result of the mental disorder, the child has substantial
Psychologist                                                                    impairment in at least two of the following areas: self-
The term Psychologist means a person who is licensed or                         care, school functioning, family relationships, or ability to
certified as a clinical psychologist. Where no licensure or                     function in the community; and either of the following
certification exists, the term Psychologist means a person who                  occur:
is considered qualified as a clinical psychologist by a
                                                                                   the child is at risk of removal from the home or has
recognized psychological association. It will also include any
                                                                                    already been removed from the home;
other licensed counseling practitioner whose services are
required to be covered by law in the locality where the policy                     the mental disorder and impairments have been present
is issued if he is operating within the scope of his license and                    for more than six months or are likely to continue for
performing a service for which benefits are provided under                          more than one year without treatment.
this plan when performed by a Psychologist.                                    the child displays one of the following: psychotic
                                                                                features, risk of suicide or violence due to a mental
                                                                                disorder; or
HC-DFS26                                                     04-10
                                                               V1              the child meets special education eligibility requirements
                                                                                under Chapter 26.5 (commencing with Section 7570) of
                                                                                Division 7 of Title 1 of the Government Code.
Review Organization
The term Review Organization refers to an affiliate of Cigna
                                                                          HC-DFS168                                                        04-10
or another entity to which Cigna has delegated responsibility
                                                                                                                                             V2
for performing utilization review services. The Review
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed              Severe Mental Illness
mental health and substance abuse professionals, and other                A severe mental illness is defined as: schizophrenia; bipolar
trained staff members who perform utilization review services.            disorder; obsessive-compulsive disorder; major depressive
                                                                          disorders; panic disorder; anorexia nervosa; bulimia nervosa;
HC-DFS30                                                     04-10        schizoaffective disorder; and pervasive developmental
                                                               V1         disorder or autism.


                                                                          HC-DFS169                                                        04-10
                                                                                                                                             V1




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                                                                           a Prescription Drug Product or Medical Pharmaceutical will
Sickness – For Medical Insurance                                           be considered a Specialty Prescription Drug Product. Specialty
                                                                           Prescription Drug Products may vary by plan benefit
The term Sickness means a physical or mental illness. It also              assignment based on factors such as method or site of clinical
includes pregnancy. Expenses incurred for routine Hospital                 administration, or by tier assignment or utilization
and pediatric care of a newborn child prior to discharge from              management requirements based on factors such as acquisition
the Hospital nursery will be considered to be incurred as a                cost. You may determine whether a medication is a Specialty
result of Sickness.                                                        Prescription Drug Product through the website shown on your
                                                                           ID card or by calling member services at the telephone
HC-DFS50                                                      04-10        number on your ID card.
                                                                V1

                                                                           HC-DFS1135                                            HC-DFS858V2

Skilled Nursing Facility                                                                                                               10-16

The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:                  Stabilize
   physical rehabilitation on an inpatient basis; or                      Stabilize means, with respect to an emergency medical
   skilled nursing and medical care on an inpatient basis;                condition, to provide such medical treatment of the condition
                                                                           as may be necessary to assure, within reasonable medical
but only if that institution: maintains on the premises all
                                                                           probability that no material deterioration of the condition is
facilities necessary for medical treatment; provides such
                                                                           likely to result from or occur during the transfer of the
treatment, for compensation, under the supervision of                      individual from a facility.
Physicians; and provides Nurses' services.

                                                                           HC-DFS413                                                   01-11
HC-DFS31                                                      04-10
                                                                V1
                                                                           Terminal Illness
Specialist                                                                 A Terminal Illness will be considered to exist if a person
                                                                           becomes terminally ill with a prognosis of six months or less
The term Specialist means a Physician who provides
                                                                           to live, as diagnosed by a Physician.
specialized services, and is not engaged in general practice,
family practice, internal medicine, obstetrics/gynecology or
pediatrics.                                                                HC-DFS54                                                    04-10
                                                                                                                                            V1


HC-DFS33                                                      04-10
                                                                V1         Therapeutic Alternative
                                                                           A Prescription Drug Product or Medical Pharmaceutical that is
Specialty Prescription Drug Product                                        of the same therapeutic or pharmacological class, and usually
                                                                           can be expected to have similar outcomes and adverse reaction
A Prescription Drug Product or Medical Pharmaceutical
                                                                           profiles when administered in therapeutically equivalent doses
considered by Cigna to be a Specialty Prescription Drug
                                                                           as, another Prescription Drug Product, Medical
Product based on consideration of the following factors,
                                                                           Pharmaceutical or over-the-counter medication.
subject to applicable law: whether the Prescription Drug
Product or Medical Pharmaceutical is prescribed and used for
the treatment of a complex, chronic or rare condition; whether             HC-DFS1135                                            HC-DFS859V2
the Prescription Drug Product or Medical Pharmaceutical has                                                                            10-16
a high acquisition cost; and, whether the Prescription Drug
Product or Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or
clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that


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Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS1135                                             HC-DFS860V2
                                                             10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS1135                                             HC-DFS861V2
                                                             10-16




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                     Exhibit 9
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  Entegris, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS




  EFFECTIVE DATE: January 1, 2024




  ASO19
  3342187




  This document printed in April, 2024 takes the place of any documents previously issued to you which
  described your benefits.



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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY ENTEGRIS, INC. WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                        Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                          •   You, your dependent or an attending Physician can request
Special Plan Provisions                                                       Case Management services by calling the toll-free number
                                                                              shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                          •   The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                            •   You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of             •   Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                           •   The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care            •   The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,               •   Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1

appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Notices
details regarding any such arrangements.
                                                                         Important Information
                                                                         Rebates and Other Payments
HC-SPP3                                                     04-10
                                                                V1       Cigna or its affiliates may receive rebates or other
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
Incentives to Participating Providers
                                                                         under your plan. These rebates or remuneration are not
Cigna continuously develops programs to help our customers               obtained on you or your Employer’s or plan’s behalf or for
access quality, cost-effective health care. Some programs                your benefit.
include Participating Providers receiving financial incentives
                                                                         Cigna, its affiliates and the plan are not obligated to pass these
from Cigna for providing care to members in a way that meets
                                                                         rebates on to you, or apply them to your plan’s Deductible if
or exceeds certain quality and/or cost-efficiency standards,
                                                                         any or take them into account in determining your
when, in the Participating Provider’s professional judgment, it
                                                                         Copayments and/or Coinsurance. Cigna and its affiliates or
is appropriate to do so within the applicable standard of care.
                                                                         designees, conduct business with various pharmaceutical
For example, some Participating Providers could receive
                                                                         manufacturers separate and apart from this plan’s Medical
financial incentives for prescribing lower-cost prescription
                                                                         Pharmaceutical benefits. Such business may include, but is not
drugs to manage certain conditions, utilizing or referring you
                                                                         limited to, data collection, consulting, educational grants and
to alternative sites of care as determined by your plan rather
                                                                         research. Amounts received from pharmaceutical
than in a more expensive setting, or achieving particular
                                                                         manufacturers pursuant to such arrangements are not related to
outcomes for certain health conditions. Participating Providers
                                                                         this plan. Cigna and its affiliates are not required to pass on to
may also receive purchasing discounts when purchasing
                                                                         you, and do not pass on to you, such amounts.
certain prescription drugs from Cigna affiliates. Such
programs can help make you healthier, decrease your health               Coupons, Incentives and Other Communications
care costs, or both. These programs are not intended to affect           At various times, Cigna or its designee may send mailings to
your access to the health care that you need. We encourage               you or your Dependents or to your Physician that
you to talk to your Participating Provider if you have                   communicate a variety of messages, including information
questions about whether they receive financial incentives from           about Medical Pharmaceuticals. These mailings may contain
Cigna and whether those incentives apply to your care.                   coupons or offers from pharmaceutical manufacturers that
                                                                         enable you or your Dependents, at your discretion, to purchase
                                                                         the described Medical Pharmaceutical at a discount or to
HC-SPP85                                                    01-24
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
                                                                         for and/or provide the content for these mailings. Cigna, its
Care Management and Care Coordination Services                           affiliates and the plan are not responsible in any way for any
Your plan may enter into specific collaborative arrangements             decision you make in connection with any coupon, incentive,
with health care professionals committed to improving quality            or other offer you may receive from a pharmaceutical
care, patient satisfaction and affordability. Through these              manufacturer or Physician.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health               HC-IMP331                                                     12-22

care professionals in these collaborative arrangements.
                                                                         Discrimination is Against the Law
HC-SPP27                                                    06-15        Cigna complies with applicable Federal civil rights laws and
                                                                V1       does not discriminate on the basis of race, color, national
                                                                         origin, age, disability or sex. Cigna does not exclude people or
                                                                         treat them differently because of race, color, national origin,
                                                                         age, disability or sex.




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Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
•   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
    • Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
    • Written information in other formats (large print, audio,
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
•   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                           khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
    • Qualified interpreters
    • Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
                                                                           가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,               (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                           ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Cigna                                                                  kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Nondiscrimination Complaint Coordinator
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
                                                                           плане Cigna, позвоните по номеру, указанному на
If you need assistance filing a written grievance, please call             обратной стороне вашей идентификационной карточки
the number on the back of your ID card or send an email to                 участника плана. Если вы не являетесь участником одного
ACAGrievance@cigna.com. You can also file a civil rights                   из наших планов, позвоните по номеру 1.800.244.6224
complaint with the U.S. Department of Health and Human                     (TTY: 711).
Services, Office for Civil Rights electronically through the
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
    1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                           (TTY: Rele 711).
Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.                             French – ATTENTION: Des services d’aide linguistique vous
                                                                           sont proposés gratuitement. Si vous êtes un client actuel de
                                                                           Cigna, veuillez appeler le numéro indiqué au verso de votre
HC-NOT96                                                       07-17       carte d’identité. Sinon, veuillez appeler le numéro
                                                                           1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services                                Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                           assistência linguística, totalmente gratuitos. Para clientes
English – ATTENTION: Language assistance services, free
                                                                           Cigna atuais, ligue para o número que se encontra no verso do
of charge, are available to you. For current Cigna customers,
                                                                           seu cartão de identificação. Caso contrário, ligue para
call the number on the back of your ID card. Otherwise, call
                                                                           1.800.244.6224 (Dispositivos TTY: marque 711).
1.800.244.6224 (TTY: Dial 711).
                                                                           Polish – UWAGA: w celu skorzystania z dostępnej,
Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                           bezpłatnej pomocy językowej, obecni klienci firmy Cigna
idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           mogą dzwonić pod numer podany na odwrocie karty
Cigna, llame al número que figura en el reverso de su tarjeta


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identyfikacyjnej. Wszystkie inne osoby prosimy o                         Subject to change based on government guidance for CAA
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                 Section 204, Cigna will submit certain prescription drug and
Japanese –                                                               health care spending information to HHS through Plan Lists
注意事項：日本語を話される場合、無料の言語支援サー                                                Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
                                                                         Employer without an integrated pharmacy product aggregated
ビスをご利用いただけます。現在のCignaの
                                                                         at the market segment and state level, as outlined in guidance.
お客様は、IDカード裏面の電話番号まで、お電話にてご
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                     HC-IMP353                                                    01-24


Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,            Federal CAA - Consolidated Appropriations Act
chiamare il numero sul retro della tessera di identificazione.           Continuity of Care
In caso contrario, chiamare il numero 1.800.244.6224 (utenti
                                                                         In certain circumstances, if you are receiving continued care
TTY: chiamare il numero 711).
                                                                         from an In-Network provider or facility, and that provider’s
German – ACHTUNG: Die Leistungen der                                     network status changes from In-Network to Out-of-Network,
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                you may be eligible to continue to receive care from the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             provider at the In-Network cost-sharing amount for up to 90
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 days from the date you are notified of your provider’s
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 termination. A continuing care patient is an individual who is:
Sie 711).
                                                                         •   Undergoing treatment for a serious and complex condition
                                                                         •   Pregnant and undergoing treatment for the pregnancy
                                                                         •   Receiving inpatient care
                                                                         •   Scheduled to undergo urgent or emergent surgery, including
                                                                             postoperative
                                                                         •   Terminally ill (having a life expectancy of 6 months or less)
                                                                             and receiving treatment from the provider for the illness
                                                                         If applicable, Cigna will notify you of your continuity of care
HC-NOT97                                                    07-17
                                                                         options.
                                                                         Appeals
Federal CAA - Consolidated Appropriations Act and TIC                    Any external review process available under the plan will
- Transparency in Coverage Notice                                        apply to any adverse determination regarding claims subject to
Cigna will make available an internet-based self-service tool            the No Surprises Act.
for use by individual customers, as well as certain data in              Provider Directories and Provider Networks
machine-readable file format on a public website, as required
under the Transparency in Coverage rule. Customers can                   A list of network providers is available to you, without charge,
access the cost estimator tool on myCigna.com. Updated                   by visiting the website or calling the phone number on your ID
machine-readable files can be found on Cigna.com and/or                  card. The network consists of providers, including Hospitals,
CignaForEmployers.com on a monthly basis.                                of varied specialties as well as generic practice, affiliated or
                                                                         contracted with Cigna or an organization contracting on its
Pursuant to Consolidated Appropriations Act (CAA), Section               behalf.
106, Cigna will submit certain air ambulance claim
information to the Department of Health and Human Services               Provider directory content is verified and updated, and
(HHS) in accordance with guidance issued by HHS.                         processes are established for responding to provider network
                                                                         status inquiries, in accordance with applicable requirements of
                                                                         the No Surprises Act.
                                                                         If you rely on a provider’s In-Network status in the provider
                                                                         directory or by contacting Cigna at the website or phone
                                                                         number on your ID card to receive covered services from that
                                                                         provider, and that network status is incorrect, then your plan
                                                                         cannot impose Out-of-Network cost shares to that covered



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service. In-Network cost share must be applied as if the                   cost thousands of dollars depending on the procedure or
covered service were provided by an In-Network provider.                   service.
Direct Access to Obstetricians and Gynecologists                           You are protected from balance billing for:
You do not need prior authorization from the plan or from any              •   Emergency Services – If you have an Emergency Medical
other person (including a primary care provider) in order to                   Condition and get Emergency Services from an Out-of-
obtain access to obstetrical or gynecological care from a health               Network provider or facility, the most they can bill you is
care professional in our network who specializes in obstetrics                 your plan’s In-Network cost-sharing amount (such as a
or gynecology. The health care professional, however, may be                   Copayments, Coinsurance, and Deductibles). You cannot be
required to comply with certain procedures, including                          balanced billed for these Emergency Services. This includes
obtaining prior authorization for certain services, following a                services you may get after you are in stable condition,
pre-approved treatment plan, or procedures for making                          unless you give written consent and give up your
referrals. For a list of participating health care professionals               protections not to be balanced billed for these post-
who specialize in obstetrics or gynecology, access the website                 stabilization services.
or call the phone number on your ID card.                                  •   Certain non-emergency services at an In-Network
Selection of a Primary Care Provider                                           Hospital or ambulatory surgical center – When you get
This plan generally allows the designation of a primary care                   services from an In-Network Hospital or ambulatory
provider. You have the right to designate any primary care                     surgical center, certain providers there may be Out-of-
provider who participates in the network and who is available                  Network. In these cases, the most those providers can bill
to accept you or your family members. For children, you may                    you is your plan’s In-Network cost sharing amount. This
designate a pediatrician as the primary care provider. For                     applies to emergency medicine, anesthesia, pathology,
information on how to select a primary care provider, and for                  radiology, laboratory, neonatology, assistant surgeon,
a list of the participating primary care providers, access the                 hospitalist, or intensivist services. These providers cannot
website or call the phone number on your ID card.                              balance bill you and may not ask you to give up your
                                                                               protections not to be balanced billed.
Your Rights and Protections Against Surprise Medical
Bills                                                                      If you get other types of services at these In-Network
                                                                           facilities, Out-of-Network providers cannot balance bill you,
When you get emergency care or are treated by an Out-of-                   unless you give written consent and give up your protections.
Network provider at an In-Network Hospital or ambulatory
surgical center, you are protected from balance billing. In                You are never required to give up your protections from
these situations, you should not be charged more than your                 balance billing. You also are not required to get Out-of-
plan’s Copayments, Coinsurance, and/or Deductible.                         Network care. You can choose a provider or facility in
                                                                           your plan’s network.
What is “balance billing” (sometimes called “surprise
billing”)?                                                                 When balance billing is not allowed, you have these
                                                                           protections:
When you see a doctor or other health care provider, you may
owe certain out-of-pocket costs, such as a Copayment,                      •   You are only responsible for paying your share of the cost
Coinsurance, and/or Deductible. You may have additional                        (such as Copayments, Coinsurance, and Deductibles that
costs or have to pay the entire bill if you see a provider or visit            you would pay if the provider were In-Network). Your
a health care facility that is not in your health plan’s network.              health plan will pay any additional costs to Out-of-Network
                                                                               providers and facilities directly.
“Out-of-Network” means providers and facilities that have not
signed a contract with your health plan to provide services.               •   Generally, your health plan must:
Out-of-Network providers may be allowed to bill you for the                    • Cover Emergency Services without requiring you to get
difference between what your plan pays and the full amount                       approval in advance for services (also known as prior
charged for a service. This is called “balance billing”. This                    authorization).
amount is likely more than In-Network costs for the same                       • Cover Emergency Services provided by Out-of-Network
service and might not count toward your plan’s Deductible or                     providers.
annual out-of-pocket limit.
                                                                               • Base what you owe the provider or facility (cost sharing)
“Surprise billing” is an unexpected balance bill. This can                       on what it would pay an In-Network provider or facility
happen when you cannot control who is involved in your care                      and show that amount in your explanation of benefits
– such as when you have an emergency or when you schedule                        (EOB).
a visit at an In-Network facility but are unexpectedly treated
by an Out-of-Network provider. Surprise medical bills could



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    • Count any amount you pay for Emergency Services or                  and pharmacy coverage (whether or not your plan includes
      Out-of-Network services toward your In-Network                      pharmacy coverage).
      Deductible and out-of-pocket limit.
If you think you have been wrongly billed, contact Cigna at               HC-NOT113                                                    12-22
the phone number on your ID card. You can also contact No                                                                                V1
Surprises Help Desk at 1-800-985-3059 or
www.cms.gov/nosurprises for more information about your
rights under federal law.
                                                                          How To File Your Claim
HC-IMP326                                                    01-24
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
                                                                          provider will submit a claim to Cigna for reimbursement. Out-
Mental Health Parity and Addiction Equity Act of 2008                     of-Network claims can be submitted by the provider if the
(MHPAEA) - Non-Quantitative Treatment Limitations                         provider is able and willing to file on your behalf. If the
(NQTLs)                                                                   provider is not submitting on your behalf, you must send your
Federal MHPAEA regulations provide that a plan cannot                     completed claim form and itemized bills to the claims address
impose a Non-Quantitative Treatment Limitation (NQTL) on                  listed on the claim form.
mental health or substance use disorder (MH/SUD) benefits in              You may get the required claim forms from the website listed
any classification unless the processes, strategies, evidentiary          on your identification card or by using the toll-free number on
standards, or other factors used in applying the NQTL to                  your identification card.
MH/SUD benefits are comparable to, and are applied no more                CLAIM REMINDERS
stringently than, those used in applying the NQTL to
                                                                          • BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits
as written and in operation under the terms of the plan.                    ACCOUNT/GROUP NUMBER WHEN YOU FILE
                                                                            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include (to                  YOUR CIGNA CLAIM OFFICE.
the extent applicable under the plan):
                                                                              YOUR MEMBER ID IS THE ID SHOWN ON YOUR
•   medical management standards limiting or excluding                        BENEFIT IDENTIFICATION CARD.
    benefits based on Medical Necessity or whether the
    treatment is experimental or investigative;                               YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
                                                                              YOUR BENEFIT IDENTIFICATION CARD.
•   prescription drug formulary design;
                                                                          •   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
•   network admission standards;                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
•   methods for determining In-Network and Out-of-Network                     WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;                                         Timely Filing of Out-of-Network Claims
•   step therapy a/k/a fail-first requirements; and                       Cigna will consider claims for coverage under our plans when
•   exclusions and/or restrictions based on geographic location,          proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                  of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                       rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                 Confinement, the limit will be counted from the last date of
benefits is available for review by Plan Administrators (e.g.             service. If claims are not submitted within 180 days for Out-
Employers) and covered persons:                                           of-Network benefits, the claim will not be considered valid
                                                                          and will be denied.
    Employers (Plan Administrators):
    Please contact your Cigna Sales Representative to request             WARNING: Any person who knowingly and with intent to
    the NQTL comparative analysis.                                        defraud any insurance company or other person files an
    Covered Persons: www.cigna.com\sp                                     application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
To determine which document applies to your plan, select the              misleading, information concerning any material fact thereto,
relevant health plan product; medical management model                    commits a fraudulent insurance act.
(inpatient only or inpatient and outpatient) which can be
located in this booklet immediately following The Schedule;
                                                                          HC-CLM25                                                     01-11
                                                                                                                                        V11




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                                                                          Dependent Insurance
                                                                          For your Dependents to be insured, you will have to pay the
Eligibility - Effective Date                                              required contribution, if any, toward the cost of Dependent
                                                                          Insurance.
Employee Insurance                                                        Effective Date of Dependent Insurance
This plan is offered to you as an Employee.                               Insurance for your Dependents will become effective on the
Eligibility for Employee Insurance                                        date you elect it by signing an approved payroll deduction
                                                                          form (if required), but no earlier than the day you become
You will become eligible for insurance on the day you
                                                                          eligible for Dependent Insurance. All of your Dependents as
complete the waiting period if:
                                                                          defined will be included.
•   you are in a Class of Eligible Employees; and
                                                                          Your Dependents will be insured only if you are insured.
•   you are an eligible, full-time Employee; and
                                                                          Late Entrant – Dependent
•   you normally work at least 30 hours a week; and
                                                                          You are a Late Entrant for Dependent Insurance if:
•   you pay any required contribution.
                                                                          •   you elect that insurance more than 30 days after you
If you were previously insured and your insurance ceased, you                 become eligible for it; or
must satisfy the Waiting Period to become insured again. If
                                                                          •   you again elect it after you cancel your payroll deduction (if
your insurance ceased because you were no longer employed
                                                                              required).
in a Class of Eligible Employees, you are not required to
satisfy any waiting period if you again become a member of a              Exception for Newborns
Class of Eligible Employees within one year after your                    Any Dependent child born while you are insured will become
insurance ceased.                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                       Insurance no later than 31 days after his birth. If you do not
                                                                          elect to insure your newborn child within such 31 days,
You will become eligible for Dependent Insurance on the later
                                                                          coverage for that child will end on the 31st day. No benefits
of:
                                                                          for expenses incurred beyond the 31st day will be payable.
•   the day you become eligible for yourself; or
•   the day you acquire your first Dependent.
                                                                          HC-ELG274                                                     01-19


Waiting Period
The first day of the month following date of hire.
                                                                          Important Information About Your
Classes of Eligible Employees
                                                                          Medical Plan
Each Employee as reported to the insurance company by your
Employer.                                                                 Details of your medical benefits are described on the
                                                                          following pages.
Effective Date of Employee Insurance
                                                                          Opportunity to Select a Primary Care Physician
You will become insured on the date you elect the insurance
by signing an approved payroll deduction or enrollment form,              This medical plan does not require that you select a Primary
as applicable, but no earlier than the date you become eligible.          Care Physician or obtain a referral from a Primary Care
                                                                          Physician in order to receive all benefits available to you
You will become insured on your first day of eligibility,                 under this medical plan. Notwithstanding, a Primary Care
following your election, if you are in Active Service on that             Physician may serve an important role in meeting your health
date, or if you are not in Active Service on that date due to             care needs by providing or arranging for medical care for you
your health status.                                                       and your Dependents. For this reason, we encourage the use of
Late Entrant - Employee                                                   Primary Care Physicians and provide you with the opportunity
You are a Late Entrant if:                                                to select a Primary Care Physician from a list provided by
                                                                          Cigna for yourself and your Dependents. If you choose to
•   you elect the insurance more than 30 days after you become
                                                                          select a Primary Care Physician, the Primary Care Physician
    eligible; or
                                                                          you select for yourself may be different from the Primary Care
•   you again elect it after you cancel your payroll deduction (if        Physician you select for each of your Dependents. If you need
    required).                                                            assistance selecting your Primary Care Physician, please visit



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our website at www.cigna.com or call the number on the back
of your ID Card.
The Primary Care Physician's role is to provide or arrange for
medical care for you and any of your Dependents.
You and your Dependents are allowed direct access to
Participating Physicians for covered services. Even if you
select a Primary Care Physician, there is no requirement to
obtain an authorization of care from your Primary Care
Physician for visits to the Participating Physician of your
choice, including Participating Specialist Physicians, for
covered services.
Changing Primary Care Physicians
You may request a transfer from one Primary Care Physician
to another by visiting our website at www.cigna.com or
calling the number on the back of your ID Card. Any such
transfer will be effective on the first day of the month
following the month in which the processing of the change
request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.
Direct Access For Mental Health and Substance Use
Disorder Services
You are allowed direct access to a licensed/certified
Participating Provider for covered Mental Health and
Substance Use Disorder Services. There is no requirement to
obtain an authorization of care from your Primary Care
Physician for individual or group therapy visits to the
Participating Provider of your choice for Mental Health and
Substance Use Disorder.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents

Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Important Notice on Mental Health and Substance Use Disorder Coverage
Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition will be
payable according to the Mental Health and Substance Use Disorder sections of The Schedule.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
• Coinsurance.
• Plan Deductible.
• Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
• Non-compliance penalties.
• Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
   Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air ambulance services rendered by an
   Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by
   applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses          85%                                      70%
the Plan Pays
See Definitions section for an
explanation of Maximum Reimbursable
Charge.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $500 per person                 $1,000 per person
  Family Maximum                          $1,500 per family               $3,000 per family
 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                              $2,000 per person               $4,000 per person
  Family Maximum                          $6,000 per family               $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                          IN-NETWORK                        OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                      Maximum Reimbursable Charge
  Specialty Care Physician’s Office      $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                      Maximum Reimbursable Charge
     Consultant and Referral
     Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
       Out-of-Network OB/GYN
       providers will be considered a
       Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               $20 per visit copay, then 100%      Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Specialty Care Physician             $40 per visit copay, then 100%      Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      $20 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge

    Specialty Care Physician’s Office    $40 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      $20 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
    Specialty Care Physician’s Office    $40 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               100%                                Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Specialty Care Physician             100%                                Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
Convenience Care Clinic                  $20 per visit copay, then 100%      Plan deductible, then 70% of the
(includes any related lab and x-ray                                          Maximum Reimbursable Charge
services
.        and surgery)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                        OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
• Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
• MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
• Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
  MDLIVE Urgent Care Services             $20 per visit copay, then 100%      In-Network coverage only


  MDLIVE Primary Care Services            $20 per visit copay, then 100%      In-Network coverage only


  MDLIVE Specialty Care Services          $40 per visit copay, then 100%      In-Network coverage only


Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Primary Care Physician Virtual Office     $20 per visit copay, then 100%      Plan deductible, then 70% of the
Visit                                                                         Maximum Reimbursable Charge
Specialty Care Physician Virtual Office   $40 per visit copay, then 100%      Plan deductible, then 70% of the
.Visit                                                                        Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
 Immunizations - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
 . Visit                                                                          Maximum Reimbursable Charge
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       100%                                     Subject to the plan’s x-ray benefit &
  (i.e. “routine” services)                                                       lab benefit; based on place of service

  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit &    Subject to the plan’s x-ray benefit &
  “non-routine” services)                lab benefit; based on place of service   lab benefit; based on place of service

Inpatient Hospital – Facility Services   Plan deductible, then 85%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate           Limited to the ICU/CCU daily room
                                                                                  rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 85%                Plan deductible, then 70% of the
  Procedures Room, Treatment Room                                                 Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 85%                Plan deductible, then 70% of the
Visits/Consultations                                                              Maximum Reimbursable Charge

Inpatient Professional Services          Plan deductible, then 85%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Professional Services           Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient       $50 per visit copay, then 85%        Plan deductible, then 70% of the
  Facility                                                                      Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.

  Advanced Radiological Imaging (i.e.      $50 per visit copay, then 85%        Plan deductible, then 70% of the
  MRIs, MRAs, CAT Scans, PET                                                    Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit


Emergency Services
  Hospital Emergency Room                  $50 per visit copay (waived if       $50 per visit copay (waived if
  Includes Outpatient Professional         admitted), then 85%                  admitted), then 85%
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.
  Advanced Radiological Imaging (i.e.      $50 per visit copay (waived if       $50 per visit copay (waived if
  MRIs, MRAs, CAT Scans, PET               admitted), then 85%                  admitted), then 85%
  Scans etc.) billed by the facility as
  part of the ER visit


Air Ambulance                              Plan deductible, then 85%            Plan deductible, then 85%
Ambulance                                  Plan deductible, then 85%            Plan deductible, then 85% of the
                                                                                Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 85%            Plan deductible, then 70% of the
Care Facilities                                                                 Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  120 days combined




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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services
  Primary Care Physician’s Office     $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
  Independent Lab Facility            Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
Radiology Services
  Primary Care Physician’s Office     $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                    Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                           Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                        IN-NETWORK                        OUT-OF-NETWORK
Outpatient Therapy Services
  Calendar Year Maximum:
  Unlimited
  Includes:
  Speech Therapy
  Pulmonary Rehab
  Cognitive Therapy

  Calendar Year Maximum:
  100 days for all therapies combined

  Includes:
  Physical Therapy
  Occupational Therapy


  Primary Care Physician’s Office       $20 per visit copay*, then 100%     Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office     $40 per visit copay*, then 100%     Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
                                        *Note:
                                        Outpatient Therapy Services copay
                                        applies, regardless of place of
  .                                     service, including the home.
Outpatient Cardiac Rehabilitation
 Calendar Year Maximum:
 36 days
  Primary Care Physician’s Office       $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office     $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
Chiropractic Care
  Calendar Year Maximum:
  60 days
  Primary Care Physician’s Office       $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge

  Specialty Care Physician’s Office     $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Primary Care Physician’s Office         $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge

Home Health Care Services
  Calendar Year Maximum:                  Plan deductible, then 85%             Plan deductible, then 70% of the
  Unlimited (includes outpatient                                                Maximum Reimbursable Charge
  private nursing when approved as
  Medically
  .
             Necessary)
Hospice
 Inpatient Services                       Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Services                     Plan deductible, then 85%             Plan deductible, then 70% of the
  (same coinsurance level as Home                                               Maximum Reimbursable Charge
  Health Care Services)
  .
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient                              Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Inpatient Facility                      Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Cigna Pathwell Specialty Medical        Cigna Pathwell Specialty Network      In-Network coverage only
  Pharmaceuticals                         provider:
                                          Plan deductible, then 85%
                                          Non-Cigna Pathwell Specialty
                                          Network Providers:
                                          Not Covered
  Other Medical Pharmaceuticals           Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge



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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Covered same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 85%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 85%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 85%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 85%               In-Network coverage only
  Travel Maximum:                           100% (available only for travel when    In-Network coverage only
  $10,000 per episode of gene therapy       prior authorized to receive gene
                                            therapy at a participating In-Network
                                            facility specifically contracted with
                                            Cigna to provide the specific gene
                                            therapy)
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.
  Advanced Cellular Therapy Product         Covered Same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 85%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 85%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 85%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 85%               In-Network coverage only
  Advanced Cellular Therapy Travel          100%                                    In-Network coverage only
  Maximum:
  $10,000 per episode of advanced
  cellular therapy
  (Available only for travel when prior
  authorized to receive advanced
  cellular therapy from a provider
  located more than 60 miles of your
  primary residence and is contracted
  with Cigna for the specific advanced
  cellular therapy product and related
  services.)



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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
   Primary Care Physician’s Office        $20 per visit copay, then 100%       Plan deductible, then 70% of the
   Visit                                                                       Maximum Reimbursable Charge
   Specialty Care Physician’s Office      $40 per visit copay, then 100%       Plan deductible, then 70% of the
   Visit                                                                       Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 85%            Plan deductible, then 70% of the
  Postnatal Visits and Physician’s                                             Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       $20 per visit copay, then 100%       Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office     $40 per visit copay, then 100%       Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 85%            Plan deductible, then 70% of the
  (Inpatient Hospital, Birthing Center)                                        Maximum Reimbursable Charge

Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office         $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office       $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                        Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 85%            Plan deductible, then 70% of the
   .                                                                           Maximum Reimbursable Charge



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      BENEFIT HIGHLIGHTS                         IN-NETWORK                    OUT-OF-NETWORK
Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
    Primary Care Physician                100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Specialty Care Physician              100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Primary Care Physician’s Office       100%                         Plan deductible, then 70% of the
    Visit                                                              Maximum Reimbursable Charge
    Specialty Care Physician’s Office     100%                         Plan deductible, then 70% of the
    Visit                                                              Maximum Reimbursable Charge
    Inpatient Facility                    100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Facility                   100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Inpatient Professional Services       100%                         Plan deductible, then 70% of the
                                                                       Maximum Reimbursable Charge
    Outpatient Professional Services      100%                         Plan deductible, then 70% of the
    .                                                                  Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
    Primary Care Physician                $20 per visit copay, then 100%       Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
    Specialty Care Physician              $40 per visit copay, then 100%       Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Primary Care Physician’s Office       $20 per visit copay, then 100%       Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office     $40 per visit copay, then 100%       Plan deductible, then 70% of the
    Visit                                                                      Maximum Reimbursable Charge
    Inpatient Facility                    Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
    Outpatient Facility                   Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
    Inpatient Professional Services       Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                               Maximum Reimbursable Charge
    Outpatient Professional Services      Plan deductible, then 85%            Plan deductible, then 70% of the
    .                                                                          Maximum Reimbursable Charge




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          BENEFIT HIGHLIGHTS                             IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
    • Testing and treatment services performed in connection with an underlying medical condition.
    • Testing performed specifically to determine the cause of infertility.
    • Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
      condition).
    • Treatment and/or procedures performed to enable conception with or without an infertility condition.
    • Artificial Insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
    • Fertility preservation when an infertility condition is imminent.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
        Primary Care Physician                $20 per visit copay, then 100%             Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
        Specialty Care Physician              $40 per visit copay, then 100%             Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Facility                        Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Facility                       Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Professional Services           Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Professional Services          Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Cryopreserved Reproductive
    Material Storage Maximum:
    Unlimited

    Lifetime Maximum:
    Unlimited
    Includes all related services billed
    with an infertility diagnosis (i.e. x-
    ray or lab services billed by an
    independent facility).
    .




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          $20 per visit copay, then 100%        In-Network coverage only
  Visit
  Specialty Care Physician’s Office        $40 per visit copay, then 100%        In-Network coverage only
  Visit
  Inpatient Facility                       100% at LifeSOURCE center,            In-Network coverage only
                                           otherwise plan deductible, then 85%
  Inpatient Professional Services          100% at LifeSOURCE center,            In-Network coverage only
                                           otherwise plan deductible, then 85%
  Lifetime Travel Maximum:                 100% (only available when using       In-Network coverage only
  $10,000 per transplant                   LifeSOURCE facility)
  .
Durable Medical Equipment                  Plan deductible, then 85%             Plan deductible, then 70% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited
Outpatient Dialysis Services
  Primary Care Physician’s Office          $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Outpatient Facility Services             Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge

  Outpatient Professional Services         Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Home Setting                             Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
Breast Feeding Equipment and               100%                                  Plan deductible, then 70% of the
Supplies                                                                         Maximum Reimbursable Charge
  Note:
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.
External Prosthetic Appliances             Plan deductible, then 85%             Plan deductible, then 70% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Primary Care Physician’s Office           $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office         $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 85%            Plan deductible, then 70% of the
  .                                                                              Maximum Reimbursable Charge
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office           $20 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office         $40 per visit copay, then 100%       Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 85%            Plan deductible, then 70% of the
  .                                                                              Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
for an Injury to teeth.
  Primary Care Physician’s Office          $20 per visit copay, then 100%            Plan deductible, then 70% of the
  Visit                                                                              Maximum Reimbursable Charge
  Specialty Care Physician’s Office        $40 per visit copay, then 100%            Plan deductible, then 70% of the
  Visit                                                                              Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Facility                      Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Inpatient Professional Services          Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Primary Care Physician’s Office          $20 per visit copay, then 100%            In-Network coverage only
  Visit
  Specialty Care Physician’s Office        $40 per visit copay, then 100%            In-Network coverage only
  Visit
  Inpatient Facility                       Plan deductible, then 85%                 In-Network coverage only
  Outpatient Facility                      Plan deductible, then 85%                 In-Network coverage only
  Inpatient Professional Services          Plan deductible, then 85%                 In-Network coverage only
   Outpatient Professional Services        Plan deductible, then 85%                 In-Network coverage only
 .
Hearing Aids                               Plan deductible, then 85%                 Plan deductible, then 70% of the
Note: Maximum of 2 devices per 24                                                    Maximum Reimbursable Charge
months Includes testing and fitting of
hearing aid devices at Physician Office
Visit cost share

Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.




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        BENEFIT HIGHLIGHTS                            IN-NETWORK                             OUT-OF-NETWORK
Travel Services
Authorized travel and lodging expenses for designated covered services administered at an In-Network facility/provider
when an In-Network facility/provider is not available within a 60-mile radius of your primary home residence not subject
to any plan deductible.
The following designated services are covered by your plan and may be eligible for this travel benefit:
•   all Medical and Mental Health and Substance Use Disorder services.
Lifetime Maximum for Travel and Lodging Expenses for Designated Services Combined
Note:
Does not include other services with separate travel and lodging dollar maximum(s) as noted in The Schedule.
Medical Benefit services other than Mental Health and Substance Use Disorder services: $10,000
Mental
.      Health and Substance Use Disorder services: Unlimited
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
   Inpatient                                 Plan deductible, then 85%                 Plan deductible, then 70% of the
     Includes Acute Inpatient and                                                      Maximum Reimbursable Charge
     Residential Treatment

     Calendar Year Maximum:
     Unlimited
    Outpatient
      Outpatient - Office Visits            $20 per visit copay, then 100%           Plan deductible, then 70% of the
      Includes individual, family and                                                Maximum Reimbursable Charge
      group psychotherapy; medication
      management, virtual care, etc.

      Calendar Year Maximum:
      Unlimited
      Dedicated Virtual Providers           $20 per visit copay, then 100%           In-Network coverage only
      MDLIVE Behavioral Services
      Outpatient - All Other Services       Plan deductible, then 85%                Plan deductible, then 70% of the
      Includes Partial Hospitalization,                                              Maximum Reimbursable Charge
      Intensive Outpatient Services,
      virtual care, etc.

      Calendar Year Maximum:
      Unlimited




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             Plan deductible, then 85%            Plan deductible, then 70% of the
    Includes Acute Inpatient                                                 Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
    Outpatient - Office Visits          $20 per visit copay, then 100%       Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         $20 per visit copay, then 100%       In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 85%            Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
•   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
•   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $750 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $750 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed             •   Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
•   Hospital charges for Room and Board, for treatment listed           •   Home Health Care Services.
    above for which PAC was performed, which are made for               •   Medical Pharmaceuticals.
    any day in excess of the number of days certified through           •   Radiation Therapy.
    PAC or CSR; and
•   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify          •   inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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•   inpatient services at any participating Other Health Care                •   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
•   residential treatment.                                                   •   charges for Emergency Services.
•   outpatient facility services.                                            •   charges for Urgent Care.
•   partial hospitalization.                                                 •   charges by a Physician or a Psychologist for professional
•   advanced radiological imaging.                                               services.
•   non-emergency Ambulance.                                                 •   charges by a Nurse for professional nursing service.
•   certain Medical Pharmaceuticals.                                         •   charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
•   home health care services.
                                                                             •   charges for diagnostic x-ray.
•   radiation therapy.
                                                                             •   charges for advanced radiological imaging, including for
•   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA55                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V1             therapeutic radiological procedures.
                                                                             •   charges for chemotherapy.
                                                                             •   charges for blood transfusions.
Covered Expenses                                                             •   charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                       •   charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:
                                                                             •   charges for screening prostate-specific antigen (PSA)
•   preventive care services; and                                                testing.
•   services or supplies that are Medically Necessary for the                •   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.
                                                                             •   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                             •   charges for the following preventive care services as
•   charges for inpatient Room and Board and other Necessary                     defined by recommendations from the following:
    Services and Supplies made by a Hospital, subject to the                     • the U.S. Preventive Services Task Force (A and B
    limits as shown in The Schedule.                                               recommendations);
•   charges for inpatient Room and Board and other Necessary                     • the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a
                                                                                 • the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in
    The Schedule.                                                                  Schedule of the Bright Futures Recommendations for
                                                                                   Pediatric Preventive Health Care;
•   charges for licensed Ambulance service to the nearest
                                                                                 • the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can
    be provided.                                                                   on Heritable Disorders in Newborns and Children; and
                                                                                 • with respect to women, evidence-informed preventive
•   charges for outpatient medical care and treatment received
    at a Hospital.                                                                 care and screening guidelines supported by the Health
                                                                                   Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Coverage includes medically approved formulas prescribed by
    For additional information on immunizations, visit the               a Physician for treatment of inborn errors of metabolism (e.g.,
    immunization schedule section of www.cdc.gov.                        disorders of amino acid or organic acid metabolism).
•   charges for surgical and non-surgical treatment of                   Internal Prosthetic/Medical Appliances
    Temporomandibular Joint Dysfunction (TMJ).                           Charges for internal prosthetic/medical appliances that provide
•   charges for acupuncture.                                             permanent or temporary internal functional supports for non-
•   charges for hearing aids and associated exam for device              functional body parts are covered. Medically Necessary repair,
    testing and fitting, including but not limited to semi-              maintenance or replacement of a covered appliance is also
    implantable hearing devices, audiant bone conductors and             covered.
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    any device that amplifies sound.                                     HC-COV1122                                                      01-23
•   Medically Necessary orthognathic surgery to repair or                                                                                  V1

    correct a severe facial deformity or disfigurement.
Virtual Care                                                             Home Health Care Services
Dedicated Virtual Providers                                              Charges for skilled care provided by certain health care
Includes charges for the delivery of real-time medical and               providers during a visit to the home, when the home is
health-related services, consultations and remote monitoring             determined to be a medically appropriate setting for the
by dedicated virtual providers as medically appropriate                  services. A visit is defined as a period of 2 hours or less.
through audio, video and secure internet-based technologies.             Home Health Care Services are subject to a maximum of 16
                                                                         hours in total per day.
Includes charges for the delivery of mental health and
substance use disorder-related services, consultations, and              Home Health Care Services are covered when skilled care is
remote monitoring by dedicated virtual providers as                      required under any of the following conditions:
appropriate through audio, video and secure internet-based               •   the required skilled care cannot be obtained in an outpatient
technologies.                                                                facility.
Virtual Physician Services                                               •   confinement in a Hospital or Other Health Care Facility is
Includes charges for the delivery of real-time medical and                   not required.
health-related services, consultations and remote monitoring             •   the patient’s home is determined by Cigna to be the most
as medically appropriate through audio, video and secure                     medically appropriate place to receive specific services.
internet-based technologies that are similar to office visit
                                                                         Covered services include:
services provided in a face-to-face setting.
                                                                         •   skilled nursing services provided by a Registered Nurse
Includes charges for the delivery of real-time mental health
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
and substance use disorder consultations and services, via
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
secure telecommunications technologies that shall include
                                                                             (APRN).
video capability, telephone and internet, when such
consultations and services are delivered by a behavioral                 •   services provided by health care providers such as physical
provider and are similar to office visit services provided in a              therapist, occupational therapist and speech therapist.
face-to-face setting.                                                    •   services of a home health aide when provided in direct
Convenience Care Clinic                                                      support of those nurses and health care providers.
Convenience Care Clinics provide for common ailments and                 •   necessary consumable medical supplies and home infusion
routine services, including but not limited to, strep throat, ear            therapy administered or used by a health care provider.
infections or pink eye, immunizations and flu shots.                     Note: Physical, occupational, and other Outpatient Therapy
Nutritional Counseling                                                   Services provided in the home are covered under the
                                                                         Outpatient Therapy Services benefit shown in The Schedule.
Charges for nutritional counseling when diet is a part of the
medical management of a medical or behavioral condition.                 The following are excluded from coverage:
Enteral Nutrition                                                        •   services provided by a person who is a member of the
                                                                             patient’s family, even when that person is a health care
Enteral Nutrition means medical foods that are specially
                                                                             provider.
formulated for enteral feedings or oral consumption.




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•   services provided by a person who normally resides in the                 The following charges for Hospice Care Services are not
    patient’s house, even when that person is a health care                   included as Covered Expenses:
    provider.                                                                 •   services of a person who is a member of your family or your
•   non-skilled care, Custodial Services, and assistance in the                   Dependent's family or who normally resides in your house
    activities of daily living, including but not limited to eating,              or your Dependent's house;
    bathing, dressing or other services; self-care activities;                •   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.
                                                                              •   services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent
upon others for non-skilled care and/or Custodial Services, is                •   to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                          expenses under the policy;
present in the home at the time of the health care visit to                   •   services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


HC-COV1123                                                       01-22        HC-COV1180                                                        01-22




Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes.
those who have ceased treatment and to those continuing to                    Substance Use Disorder is defined as the psychological or
receive curative treatment and therapies.                                     physical dependence on alcohol or other mind-altering drugs
Hospice Care Programs rendered by Hospice Facilities or                       that requires diagnosis, care, and treatment.
Hospitals include services:                                                   Inpatient Mental Health Services
•   by a Hospice Facility for Room and Board and Services and                 Services that are provided by a Hospital while you or your
    Supplies;                                                                 Dependent are Confined in a Hospital for the treatment and
•   by a Hospice Facility for services provided on an outpatient              evaluation of Mental Health. Inpatient Mental Health Services
    basis;                                                                    include Mental Health Residential Treatment Services.
•   by a Physician for professional services;                                 Mental Health Residential Treatment Services are services
•   by a Psychologist, social worker, family counselor or                     provided by a Hospital for the evaluation and treatment of the
    ordained minister for individual and family counseling;                   psychological and social functional disturbances that are a
                                                                              result of subacute Mental Health conditions.
•   for pain relief treatment, including drugs, medicines and
    medical supplies;                                                         Mental Health Residential Treatment Center means an
                                                                              institution which specializes in the treatment of psychological
Hospice Care Programs rendered by Other Health Care                           and social disturbances that are the result of Mental Health
Facilities or in the Home include services:                                   conditions; provides a subacute, structured, psychotherapeutic
•   for part-time or intermittent nursing care by or under the                treatment program, under the supervision of Physicians;
    supervision of a Nurse;                                                   provides 24-hour care, in which a person lives in an open
•   for part-time or intermittent services of an Other Health                 setting; and is licensed in accordance with the laws of the
    Professional;                                                             appropriate legally authorized agency as a residential
                                                                              treatment center.
•   physical, occupational and speech therapy;
                                                                              A person is considered confined in a Mental Health
•   medical supplies;                                                         Residential Treatment Center when she/he is a registered bed
•   drugs and medicines lawfully dispensed only on the written                patient in a Mental Health Residential Treatment Center upon
    prescription of a Physician;                                              the recommendation of a Physician.
•   laboratory services;                                                      Outpatient Mental Health Services
    but only to the extent such charges would have been                       Services of Providers who are qualified to treat Mental Health
    payable under the policy if the person had remained or been               when treatment is provided on an outpatient basis, while you
    Confined in a Hospital or Hospice Facility.                               or your Dependent are not Confined in a Hospital, and is


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provided in an individual, group or Mental Health Partial              Outpatient Substance Use Disorder Rehabilitation Services
Hospitalization or Intensive Outpatient Therapy Program.               Services provided for the diagnosis and treatment of
Covered services include, but are not limited to, outpatient           Substance Use Disorder or addiction to alcohol and/or drugs,
treatment of conditions such as: anxiety or depression which           while you or your Dependent are not Confined in a Hospital,
interfere with daily functioning; emotional adjustment or              including outpatient rehabilitation in an individual, or a
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization or Intensive
depression; emotional reactions associated with marital                Outpatient Therapy Program.
problems or divorce; child/adolescent problems of conduct or
poor impulse control; affective disorders; suicidal or                 Substance Use Disorder Partial Hospitalization Services are
homicidal threats or acts; eating disorders; or acute                  rendered no less than 4 hours and not more than 12 hours in
exacerbation of chronic Mental Health conditions (crisis               any 24-hour period by a certified/licensed Substance Use
intervention and relapse prevention) and outpatient testing and        Disorder program in accordance with the laws of the
assessment.                                                            appropriate legally authorized agency.
Mental Health Partial Hospitalization Services are rendered            A Substance Use Disorder Intensive Outpatient Therapy
not less than 4 hours and not more than 12 hours in any 24-            Program consists of distinct levels or phases of treatment that
hour period by a certified/licensed Mental Health program in           are provided by a certified/licensed Substance Use Disorder
accordance with the laws of the appropriate legally authorized         program in accordance with the laws of the appropriate legally
agency.                                                                authorized agency. Intensive Outpatient Therapy Programs
                                                                       provide a combination of individual, family and/or group
A Mental Health Intensive Outpatient Therapy Program                   therapy in a day, totaling nine, or more hours in a week.
consists of distinct levels or phases of treatment that are
provided by a certified/licensed Mental Health program in              Substance Use Disorder Detoxification Services
accordance with the laws of the appropriate, legally authorized        Detoxification and related medical ancillary services are
agency. Intensive Outpatient Therapy Programs provide a                provided when required for the diagnosis and treatment of
combination of individual, family and/or group therapy in a            addiction to alcohol and/or drugs. Cigna will decide, based on
day, totaling nine or more hours in a week.                            the Medical Necessity of each situation, whether such services
Inpatient Substance Use Disorder Rehabilitation Services               will be provided in an inpatient or outpatient setting.
Services provided for rehabilitation, while you or your                Exclusions
Dependent are Confined in a Hospital, when required for the            The following are specifically excluded from Mental Health
diagnosis and treatment of abuse or addiction to alcohol and/or        and Substance Use Disorder Services:
drugs. Inpatient Substance Use Disorder Services include               •   counseling for activities of an educational nature.
Residential Treatment services.
                                                                       •   counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Services
are services provided by a Hospital for the evaluation and             •   counseling for occupational problems.
treatment of the psychological and social functional                   •   counseling related to consciousness raising.
disturbances that are a result of subacute Substance Use               •   vocational or religious counseling.
Disorder conditions.
                                                                       •   I.Q. testing.
Substance Use Disorder Residential Treatment Center
                                                                       •   custodial care, including but not limited to geriatric day
means an institution which specializes in the treatment of
                                                                           care.
psychological and social disturbances that are the result of
Substance Use Disorder; provides a subacute, structured,               •   psychological testing on children requested by or for a
psychotherapeutic treatment program, under the supervision of              school system.
Physicians; provides 24-hour care, in which a person lives in          •   occupational/recreational therapy programs even if
an open setting; and is licensed in accordance with the laws of            combined with supportive therapy for age-related cognitive
the appropriate legally authorized agency as a residential                 decline.
treatment center.
A person is considered confined in a Substance Use Disorder            HC-COV1409                                                       01-23
Residential Treatment Center when she/he is a registered bed
patient in a Substance Use Disorder Residential Treatment
Center upon the recommendation of a Physician.                         Durable Medical Equipment
                                                                       •   charges made for purchase or rental of Durable Medical
                                                                           Equipment that is ordered or prescribed by a Physician and


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    provided by a vendor approved by Cigna for use outside a                   Prostheses/Prosthetic Appliances and Devices
    Hospital or Other Health Care Facility. Coverage for repair,               Prostheses/prosthetic appliances and devices are defined as
    replacement or duplicate equipment is provided only when                   fabricated replacements for missing body parts.
    required due to anatomical change and/or reasonable wear                   Prostheses/prosthetic appliances and devices include, but are
    and tear. All maintenance and repairs that result from a                   not limited to:
    person’s misuse are the person’s responsibility.
                                                                               •   limb prostheses;
Durable Medical Equipment is defined as items which are
designed for and able to withstand repeated use by more than                   •   terminal devices such as hands or hooks;
one person; customarily serve a medical purpose; generally                     •   speech prostheses; and
are not useful in the absence of Injury or Sickness; are                       •   facial prostheses.
appropriate for use in the home; and are not disposable. Such
equipment includes, but is not limited to, crutches, hospital                  Orthoses and Orthotic Devices
beds, ventilators, insulin pumps and wheel chairs.                             Orthoses and orthotic devices are defined as orthopedic
Durable Medical Equipment items that are not covered include                   appliances or apparatuses used to support, align, prevent or
but are not limited to those that are listed below:                            correct deformities. Coverage is provided for custom foot
                                                                               orthoses and other orthoses as follows:
•   Bed Related Items: bed trays, over the bed tables, bed
    wedges, pillows, custom bedroom equipment, mattresses,                     •   Non-foot orthoses – only the following non-foot orthoses
    including nonpower mattresses, custom mattresses and                           are covered:
    posturepedic mattresses.                                                       • rigid and semi-rigid custom fabricated orthoses;

•   Bath Related Items: bath lifts, nonportable whirlpools,                        • semi-rigid prefabricated and flexible orthoses; and
    bathtub rails, toilet rails, raised toilet seats, bath benches,                • rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                       and basic additions, such as bars and joints.
    and spas.
                                                                               •   Custom foot orthoses – custom foot orthoses are only
•   Fixtures to Real Property: ceiling lifts and wheelchair                        covered as follows:
    ramps.
                                                                                   • for persons with impaired peripheral sensation and/or
•   Car/Van Modifications.                                                           altered peripheral circulation (e.g. diabetic neuropathy
•   Air Quality Items: room humidifiers, vaporizers and air                          and peripheral vascular disease);
    purifiers.                                                                     • when the foot orthosis is an integral part of a leg brace
•   Other Equipment: centrifuges, needleless injectors, heat                         and is necessary for the proper functioning of the brace;
    lamps, heating pads, cryounits, cryotherapy machines,                          • when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                         substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                         toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                     Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise
                                                                                   • for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.
                                                                                     (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                     spasticity, malalignment, or pathological positioning of
HC-COV1124                                                        02-21              the foot and there is reasonable expectation of
                                                                                     improvement.
External Prosthetic Appliances and Devices                                     The following are specifically excluded orthoses and orthotic
                                                                               devices:
•   charges made or ordered by a Physician for: the initial
    purchase and fitting of external prosthetic appliances and                 •   prefabricated foot orthoses;
    devices available only by prescription which are necessary                 •   cranial banding and/or cranial orthoses. Other similar
    for the alleviation or correction of Injury, Sickness or                       devices are excluded except when used postoperatively for
    congenital defect.                                                             synostotic plagiocephaly. When used for this indication, the
External prosthetic appliances and devices include                                 cranial orthosis will be subject to the limitations and
prostheses/prosthetic appliances and devices; orthoses and                         maximums of the External Prosthetic Appliances and
orthotic devices; braces; and splints.                                             Devices benefit;
                                                                               •   orthosis shoes, shoe additions, procedures for foot
                                                                                   orthopedic shoes, shoe modifications and transfers;



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•   non-foot orthoses primarily used for cosmetic rather than                      tests; sperm washing or preparation; artificial insemination;
    functional reasons; and                                                        diagnostic evaluations; gamete intrafallopian transfer
•   non-foot orthoses primarily for improved athletic                              (GIFT); in vitro fertilization (IVF); zygote intrafallopian
    performance or sports participation.                                           transfer (ZIFT); and the services of an embryologist.
Braces                                                                             Infertility is defined as:
A Brace is defined as an orthosis or orthopedic appliance that                     • the inability of opposite-sex partners to achieve
supports or holds in correct position any movable part of the                        conception after at least one year of unprotected
body and that allows for motion of that part.                                        intercourse;
The following braces are specifically excluded: Copes                              • the inability of opposite-sex partners to achieve
scoliosis braces.                                                                    conception after six months of unprotected intercourse,
                                                                                     when the female partner trying to conceive is age 35 or
Splints                                                                              older;
A Splint is defined as an appliance for preventing movement                        • the inability of a woman, with or without an opposite-sex
of a joint or for the fixation of displaced or movable parts.                        partner, to achieve conception after at least six trials of
Coverage for replacement of external prosthetic appliances                           medically supervised artificial insemination over a one-
and devices is limited to the following:                                             year period; and
•   replacement due to regular wear. Replacement for damage                        • the inability of a woman, with or without an opposite-sex
    due to abuse or misuse by the person will not be covered.                        partner, to achieve conception after at least three trials of
•   replacement required because anatomic change has rendered                        medically supervised artificial insemination over a six-
    the external prosthetic appliance or device ineffective.                         month period of time, when the female partner trying to
    Anatomic change includes significant weight gain or loss,                        conceive is age 35 or older.
    atrophy and/or growth.                                                     This benefit includes diagnosis and treatment of both male and
•   replacement due to a surgical alteration or revision of the                female infertility.
    impacted site.                                                             However, the following are specifically excluded infertility
Coverage for replacement is limited as follows:                                services:
•   no more than once every 24 months for persons 19 years of                  •   reversal of male and female voluntary sterilization;
    age and older.                                                             •   infertility services when the infertility is caused by or
•   no more than once every 12 months for persons 18 years of                      related to voluntary sterilization;
    age and under.                                                             •   donor charges and services;
The following are specifically excluded external prosthetic                    •   cryopreservation of donor sperm and eggs; and
appliances and devices:                                                        •   any experimental, investigational or unproven infertility
•   external and internal power enhancements for external                          procedures or therapies.
    prosthetic devices; or
•   microprocessor controlled prostheses and orthoses; and                     HC-COV734                                                       01-19
•   myoelectric prostheses and orthoses.
                                                                               Outpatient Therapy Services
HC-COV1125                                                        01-22
                                                                               Charges for the following therapy services:
                                                                    V1
                                                                               Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                               Manipulation, Physical Therapy, Pulmonary
Infertility Services                                                           Rehabilitation, Speech Therapy
•   charges made for services related to diagnosis of infertility              •   Charges for therapy services are covered when provided as
    and treatment of infertility once a condition of infertility has               part of a program of treatment.
    been diagnosed. Services include, but are not limited to:                  Cardiac Rehabilitation
    infertility drugs which are administered or provided by a
    Physician; approved surgeries and other therapeutic                        •   Charges for Phase II cardiac rehabilitation provided on an
    procedures that have been demonstrated in existing peer-                       outpatient basis following diagnosis of a qualifying cardiac
    reviewed, evidence-based, scientific literature to have a                      condition when Medically Necessary. Phase II is a Hospital-
    reasonable likelihood of resulting in pregnancy; laboratory                    based outpatient program following an inpatient Hospital


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    discharge. The Phase II program must be Physician directed              Coverage for occupational therapy is provided only for
    with active treatment and EKG monitoring.                               purposes of enabling individuals to perform the activities of
    Phase III and Phase IV cardiac rehabilitation is not covered.           daily living after an Injury or Sickness.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status        •   sensory integration therapy.
    achieved through Phases I and II. Phase IV is an
    advancement of Phase III which includes more active                     •   treatment of dyslexia.
    participation and weight training.                                      •   maintenance or preventive treatment provided to prevent
Chiropractic Care Services                                                      recurrence or to maintain the patient’s current status.
•   Charges for diagnostic and treatment services utilized in an            •   charges for Chiropractic Care not provided in an office
    office setting by chiropractic Physicians. Chiropractic                     setting.
    treatment includes the conservative management of acute                 •   vitamin therapy.
    neuromusculoskeletal conditions through manipulation and                Coverage is administered according to the following:
    ancillary physiological treatment rendered to specific joints
    to restore motion, reduce pain, and improve function. For               •   Multiple therapy services provided on the same day
    these services you have direct access to qualified                          constitute one day of service for each therapy type.
    chiropractic Physicians.                                                •   A separate Copayment applies to the services provided by
Coverage is provided when Medically Necessary in the most                       each provider for each therapy type per day.
medically appropriate setting to:
•   Restore function (called “rehabilitative”):                             HC-COV982                                                     01-21

    • To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
    • To reduce pain as a result of Sickness, Injury, or loss of a
      body part.                                                            •   charges made for reconstructive surgery following a
                                                                                mastectomy; benefits include: surgical services for
•   Improve, adapt or attain function (sometimes called
                                                                                reconstruction of the breast on which surgery was
    “habilitative”):
                                                                                performed; surgical services for reconstruction of the non-
    • To improve, adapt or attain function that has been                        diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                  postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                               prosthetics, limited to the lowest cost alternative available
    • To improve, adapt or attain function that has been                        that meets prosthetic placement needs. During all stages of
      impaired or was never achieved because of mental health                   mastectomy, treatment of physical complications, including
      and substance use disorder conditions. Includes                           lymphedema therapy, are covered.
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that
                                                                            •   charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.
                                                                                or correct a severe physical deformity or disfigurement
Coverage is provided as part of a program of treatment when                     which is accompanied by functional deficit; (other than
the following criteria are met:                                                 abnormalities of the jaw or conditions related to TMJ
•   The individual’s condition has the potential to improve or is               disorder) provided that: the surgery or therapy restores or
    improving in response to therapy, and maximum                               improves function; reconstruction is required as a result of
    improvement is yet to be attained.                                          Medically Necessary, non-cosmetic surgery; or the surgery
                                                                                or therapy is performed prior to age 19 and is required as a
•   There is an expectation that the anticipated improvement is
                                                                                result of the congenital absence or agenesis (lack of
    attainable in a reasonable and generally predictable period
                                                                                formation or development) of a body part. Repeat or
    of time.
                                                                                subsequent surgeries for the same condition are covered
•   The therapy is provided by, or under the direct supervision                 only when there is the probability of significant additional
    of, a licensed health care professional acting within the                   improvement as determined by the utilization review
    scope of the license.                                                       Physician.
•   The therapy is Medically Necessary and medically
    appropriate for the diagnosed condition.
                                                                            HC-COV631                                                     12-17




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Transplant Services and Related Specialty Care                            Transplant and Related Specialty Care Travel Services
Charges made for human organ and tissue transplant services               Charges made for non-taxable travel expenses incurred by you
which include solid organ and bone marrow/stem cell                       in connection with a preapproved organ/tissue transplant are
procedures at designated facilities throughout the United                 covered subject to the following conditions and limitations:
States or its territories. This coverage is subject to the                •   Transplant and related specialty care travel benefits are not
following conditions and limitations.                                         available for cornea transplants.
Transplant services include the recipient’s medical, surgical             •   Benefits for transportation and lodging are available to the
and Hospital services; inpatient immunosuppressive                            recipient of a preapproved organ/tissue transplant and/or
medications; and costs for organ or bone marrow/stem cell                     related specialty care from a designated Cigna
procurement. Transplant services are covered only if they are                 LifeSOURCE Transplant Network® facility.
required to perform any of the following human to human
organ or tissue transplants: allogeneic bone marrow/stem cell,            •   The term recipient is defined to include a person receiving
autologous bone marrow/stem cell, cornea, heart, heart/lung,                  authorized transplant related services during any of the
kidney, kidney/pancreas, liver, lung, pancreas or intestine                   following: evaluation, candidacy, transplant event, or post-
which includes small bowel-liver or multi-visceral.                           transplant care.
Implantation procedures are also covered for artificial heart,            •   Travel expenses for the person receiving the transplant will
percutaneous ventricular assist device (PVAD), extracorporeal                 include charges for: transportation to and from the
membrane oxygenation (ECMO) ventricular assist device                         designated Cigna LifeSOURCE Transplant Network®
(VAD) and intra-aortic balloon pump (IABP) are also covered.                  facility (including charges for a rental car used during a
•   All transplant services and related specialty care services,              period of care at the designated Cigna LifeSOURCE
    other than cornea transplants, are covered when received at               Transplant Network® facility); and lodging while at, or
    Cigna LifeSOURCE Transplant Network® facilities.                          traveling to and from, the designated Cigna LifeSOURCE
                                                                              Transplant Network® facility.
•   Transplant services and related specialty care services
    received at Participating Provider facilities specifically            •   In addition to your coverage for the charges associated with
    contracted with Cigna for those transplant services and                   the items above, such charges will also be considered
    related specialty care services, other than Cigna                         covered travel expenses for one companion to accompany
    LifeSOURCE Transplant Network® facilities, are payable                    you. The term companion includes your spouse, a member
    at the In-Network level.                                                  of your family, your legal guardian, or any person not
                                                                              related to you, but actively involved as your caregiver who
•   Transplant services and related specialty care services                   is at least 18 years of age.
    received at any other facility, including non-Participating
    Provider facilities and Participating Provider facilities not         •   The following are specifically excluded travel expenses: any
    specifically contracted with Cigna for transplant services                expenses that if reimbursed would be taxable income, travel
    and related specialty care services, are not covered.                     costs incurred due to travel within 60 miles of your home;
                                                                              food and meals; laundry bills; telephone bills; alcohol or
•   Cornea transplants received at a facility that is specifically            tobacco products; and charges for transportation that exceed
    contracted with Cigna for this type of transplant are payable             coach class rates.
    at the In-Network level.
                                                                          These benefits for Transplant Services and Related Specialty
Coverage for organ procurement costs are limited to costs                 Care, and for Transplant and Related Specialty Care Travel
directly related to the procurement of an organ, from a cadaver           Services are only available when the covered person is the
or a live donor. Organ procurement costs shall consist of                 recipient of an organ/tissue transplant. Travel expenses for the
hospitalization and surgery necessary for removal of an organ             designated live donor for a covered recipient are covered
and transportation of a live donor (refer to Transplant and               subject to the same conditions and limitations noted above.
Related Specialty Care Travel Services). Compatibility testing            Charges for the expenses of a donor companion are not
undertaken prior to procurement is covered if Medically                   covered. No transplant and related specialty care services or
Necessary. Costs related to the search for, and identification of         travel benefits are available when the covered person is the
a bone marrow or stem cell donor for an allogeneic transplant             donor for an organ/tissue transplant, the transplant recipient’s
are also covered.                                                         plan would cover all donor costs.


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Advanced Cellular Therapy                                                family, your legal guardian, or any person not related to you,
Charges for advanced cellular therapy products and services              but actively involved as your caregiver who is at least 18 years
directly related to their administration are covered when                of age.
Medically Necessary. Coverage includes the cost of the                   The following are specifically excluded travel expenses: any
advanced cellular therapy product; medical, surgical, and                expenses that if reimbursed would be taxable income, travel
facility services directly related to administration of the              costs incurred due to travel within a 60 mile radius of your
advanced cellular therapy product, and professional services.            primary home residence; food and meals; laundry bills;
Cigna determines which U.S. Food and Drug Administration                 telephone bills; alcohol or tobacco products; and charges for
(FDA) approved products are in the category of advanced                  transportation that exceed coach class rates.
cellular therapy, based on the nature of the treatment and how
it is manufactured, distributed and administered. An example             HC-COV1327                                                04-23
of advanced cellular therapy is chimeric antigen receptor
(CAR) T-cell therapy that redirects a person’s T cells to
recognize and kill a specific type of cancer cell.                       Medical Pharmaceuticals
Advanced cellular therapy products and their administration              The plan covers charges made for Medical Pharmaceuticals
are covered at the In-Network benefit level when prior                   that may be administered in an Inpatient setting, Outpatient
authorized to be received at a provider contracted with Cigna            setting, Physician’s office, or in a covered person's home.
for the specific advanced cellular therapy product and related           Benefits under this section are provided only for Medical
services. Advanced cellular therapy products and their                   Pharmaceuticals that, because of their characteristics as
administration received from a provider that is not contracted           determined by Cigna, require a qualified licensed health care
with Cigna for the specific advanced cellular therapy product            professional to administer or directly supervise administration.
and related services are not covered.
                                                                         Certain Medical Pharmaceuticals are subject to prior
Advanced Cellular Therapy Travel Services                                authorization requirements or other coverage conditions.
Charges made for non-taxable travel expenses incurred by you             Additionally, certain Medical Pharmaceuticals are subject to
in connection with a prior authorized advanced cellular                  step therapy requirements. This means that in order to receive
therapy product are covered, subject to the following                    coverage, the covered person may be required to try a specific
conditions and limitations.                                              Medical Pharmaceutical before trying others. Medical
                                                                         Pharmaceuticals administered in an Inpatient facility are
Benefits for transportation and lodging are available to you
                                                                         reviewed per Inpatient review guidelines.
only when:
                                                                         Cigna determines the utilization management requirements
•   you are the recipient of a prior authorized advanced cellular
                                                                         and other coverage conditions that apply to a Medical
    therapy product;
                                                                         Pharmaceutical by considering a number of factors:
•   the term recipient is defined to include a person receiving
                                                                         •   Clinical factors, which may include Cigna’s evaluations of
    prior authorized advanced cellular therapy related services
                                                                             the site of care and the relative safety or relative efficacy of
    during any of the following: evaluation, candidacy, event, or
                                                                             Medical Pharmaceuticals.
    post care;
                                                                         •   Economic factors, which may include the cost of the
•   the advanced cellular therapy products and services directly
                                                                             Medical Pharmaceutical and assessments of cost
    related to their administration are received at a provider
                                                                             effectiveness after rebates.
    contracted with Cigna for the specific advanced cellular
    therapy product and related services; and                            The coverage criteria for a Medical Pharmaceutical may
                                                                         change periodically for various reasons. For example, a
•   the provider is not available within a 60 mile radius of your
                                                                         Medical Pharmaceutical may be removed from the market, a
    primary home residence.
                                                                         new Medical Pharmaceutical in the same therapeutic class as a
Travel expenses for the person receiving the advanced cellular           Medical Pharmaceutical may become available, or other
therapy include charges for: transportation to and from the              market events may occur. Market events that may affect the
advanced cellular therapy site (including charges for a rental           coverage status of a Medical Pharmaceutical include an
car used during a period of care at the facility); and lodging           increase in the cost of a Medical Pharmaceutical.
while at, or traveling to and from, the site.
                                                                         Certain Medical Pharmaceuticals that are used for treatment of
In addition to your coverage for the charges associated with             complex chronic conditions, are high cost, and are
the items above, such charges will also be considered covered            administered and handled in a specialized manner may be
travel expenses for one companion to accompany you. The                  subject to additional coverage criteria or require
term companion includes your spouse, a member of your


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administration by a participating provider in the network for               Each gene therapy product is specific to a particular disease
the Cigna Pathwell Specialty Network. Cigna determines                      and is administered in a specialized manner. Cigna determines
which injections, infusions, and implantable drugs are subject              which products are in the category of gene therapy, based in
to these criteria and requirements.                                         part on the nature of the treatment and how it is distributed
The Cigna Pathwell Specialty Network includes contracted                    and administered.
physician offices, ambulatory infusion centers, home and                    Coverage includes the cost of the gene therapy product;
outpatient hospital infusion centers, and contracted specialty              medical, surgical, and facility services directly related to
pharmacies. When the Cigna Pathwell Specialty Network                       administration of the gene therapy product; and professional
cannot meet the clinical needs of the customer as determined                services.
by Cigna, exceptions are considered and approved when                       Gene therapy products and their administration are covered
appropriate.                                                                when prior authorized to be received at In-Network facilities
A complete list of those Medical Pharmaceuticals subject to                 specifically contracted with Cigna for the specific gene
additional coverage criteria or that require administration by a            therapy service. Gene therapy products and their
participating provider in the Cigna Pathwell Specialty                      administration received at other facilities are not covered.
Network is available at www.cigna.com/PathwellSpecialty.                    Gene Therapy Travel Services
The following are not covered under the plan:                               Charges made for non-taxable travel expenses incurred by you
•   Medical Pharmaceutical regimens that have a Therapeutic                 in connection with a prior authorized gene therapy procedure
    Equivalent or Therapeutic Alternative to another covered                are covered subject to the following conditions and
    Prescription Drug Product(s);                                           limitations.
•   Medical Pharmaceuticals newly approved by the Food &                    Benefits for transportation and lodging are available to you
    Drug Administration (FDA) up to the first 180 days                      only when you are the recipient of a prior authorized gene
    following its market launch;                                            therapy; and when the gene therapy products and services
•   Medical Pharmaceutical regimens for which there is an                   directly related to their administration are received at a
    appropriate lower cost alternative for treatment.                       participating In-Network facility specifically contracted with
                                                                            Cigna for the specific gene therapy service. The term recipient
In the event a covered Medical Pharmaceutical is not clinically             is defined to include a person receiving prior authorized gene
appropriate, Cigna makes available an exception process to                  therapy related services during any of the following:
allow for access to non-covered drugs when Medically                        evaluation, candidacy, event, or post care.
Necessary.
                                                                            Travel expenses for the person receiving the gene therapy
Cigna may consider certain Medical Pharmaceutical regimens                  include charges for: transportation to and from the gene
as preferred when they are clinically effective treatments and              therapy site (including charges for a rental car used during a
the most cost effective. Preferred regimens are covered unless              period of care at the facility); and lodging while at, or
the covered person is not a candidate for the regimen and a                 traveling to and from, the site.
Medical Necessity coverage exception is obtained.
                                                                            In addition to your coverage for the charges associated with
                                                                            the items above, such charges will also be considered covered
HC-COV1186                                                     04-23        travel expenses for one companion to accompany you. The
                                                                 V2         term companion includes your spouse, a member of your
                                                                            family, your legal guardian, or any person not related to you,
                                                                            but actively involved as your caregiver who is at least 18 years
Gene Therapy
                                                                            of age.
Charges for gene therapy products and services directly
                                                                            The following are specifically excluded travel expenses: any
related to their administration are covered when Medically
                                                                            expenses that if reimbursed would be taxable income, travel
Necessary. Gene therapy is a category of pharmaceutical
                                                                            costs incurred due to travel within 60 miles of your home;
products approved by the U.S. Food and Drug Administration
                                                                            food and meals; laundry bills; telephone bills; alcohol or
(FDA) to treat or cure a disease by:
                                                                            tobacco products; and charges for transportation that exceed
•   replacing a disease-causing gene with a healthy copy of the             coach class rates.
    gene.
•   inactivating a disease-causing gene that may not be
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    functioning properly.
•   introducing a new or modified gene into the body to help
    treat a disease.


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Clinical Trials                                                             The plan does not cover any of the following services
This plan covers routine patient care costs and services related            associated with a clinical trial:
to an approved clinical trial for a qualified individual. The               •   services that are not considered routine patient care costs
individual must be eligible to participate according to the trial               and services, including the following:
protocol and either of the following conditions must be met:                    • the investigational drug, device, item, or service that is
•   the referring health care professional is a participating                     provided solely to satisfy data collection and analysis
    health care provider and has concluded that the individual’s                  needs.
    participation in such trial would be appropriate; or                        • an item or service that is not used in the direct clinical
•   the individual provides medical and scientific information                    management of the individual.
    establishing that the individual’s participation in the clinical            • a service that is clearly inconsistent with widely accepted
    trial would be appropriate.                                                   and established standards of care for a particular
In addition to qualifying as an individual, the clinical trial                    diagnosis.
must also meet certain criteria in order for patient care costs             •   an item or service provided by the research sponsors free of
and services to be covered.                                                     charge for any person enrolled in the trial.
The clinical trial must be a phase I, phase II, phase III, or               •   travel and transportation expenses, unless otherwise covered
phase IV clinical trial conducted in relation to the prevention,                under the plan, including but not limited to the following:
detection, or treatment of cancer or other life-threatening
                                                                                • fees for personal vehicle, rental car, taxi, medical van,
disease or condition that meets any of the following criteria:
                                                                                  ambulance, commercial airline, train.
•   it is a federally funded trial. The study or investigation is
                                                                                • mileage reimbursement for driving a personal vehicle.
    approved or funded (which may include funding through in-
    kind contributions) by one or more of the following:                        • lodging.
    • National Institutes of Health (NIH).                                      • meals.
    • Centers for Disease Control and Prevention (CDC).                     •   routine patient costs obtained out-of-network when Out-of-
    • Agency for Health Care Research and Quality (AHRQ).
                                                                                Network benefits do not exist under the plan.
    • Centers for Medicare and Medicaid Services (CMS).
                                                                            Examples of routine patient care costs and services include:
    • a cooperative group or center of any of the entities
                                                                            •   radiological services.
      described above or the Department of Defense (DOD) or                 •   laboratory services.
      the Department of Veterans Affairs (VA).                              •   intravenous therapy.
    • a qualified non-governmental research entity identified in            •   anesthesia services.
      NIH guidelines for center support grants.
                                                                            •   Physician services.
    • any of the following: Department of Energy, Department
      of Defense, Department of Veterans Affairs, if both of                •   office services.
      the following conditions are met:                                     •   Hospital services.
      •   the study or investigation has been reviewed and                  •   Room and Board, and medical supplies that typically would
          approved through a system of peer review comparable                   be covered under the plan for an individual who is not
          to the system of peer review of studies and                           enrolled in a clinical trial.
          investigations used by the National Institutes of Health          Clinical trials conducted by Out-of-Network providers will be
          (NIH); and                                                        covered only when the following conditions are met:
      •   the study or investigation assures unbiased review of             • In-Network providers are not participating in the clinical
          the highest scientific standards by qualified individuals             trial; or
          who have no interest in the outcome of the review.
                                                                            •   the clinical trial is conducted outside the individual’s state
    • the study or investigation is conducted under an                          of residence.
      investigational new drug application reviewed by the U.S.
      Food and Drug Administration (FDA).
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    • the study or investigation is a drug trial that is exempt
      from having such an investigational new drug application.




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Travel Services                                                         •   incidentals, including but not limited to: laundry bills,
Charges for non-taxable travel and lodging expenses incurred                telephone bills, alcohol or tobacco products.
by you and one accompanying Companion/Caregiver (or up to               •   charges for transportation that exceed coach class rates.
two caregivers for a Dependent minor) are covered in                    •   durable medical equipment, medical supplies, ambulance.
connection with designated services.
                                                                        •   refundable deposits for housing, utilities, etc.
Travel services for a designated covered service may be
authorized for coverage when an In-Network facility/provider            •   travel for services not designated above.
is not available within a 60-mile radius of your primary home           •   services that are not covered by the plan.
residence. Travel and lodging expenses are covered for
designated services administered at a participating In-Network
                                                                        HC-COV1317                                                      10-22
facility/provider, subject to the maximum shown in The
Schedule.
Travel is available for the following designated services when
covered by your plan:                                                   Exclusions, Expenses Not Covered and
•   all Medical and Mental Health and Substance Use Disorder            General Limitations
    services.
                                                                        Exclusions and Expenses Not Covered
Pre-authorization of travel is required by contacting Cigna at
                                                                        Additional coverage limitations determined by plan or
the number on the back of your ID card. Pre-authorization of
                                                                        provider type are shown in The Schedule. Payment for the
the covered designated service also may be required.
                                                                        following is specifically excluded from this plan:
The Companion/Caregiver can be your spouse, a member of
                                                                        •   care for health conditions that are required by state or local
your family, your legal guardian, or any person not related to
                                                                            law to be treated in a public facility.
you, but actively involved as your caregiver who is at least 18
years of age.                                                           •   care required by state or federal law to be supplied by a
                                                                            public school system or school district.
Covered travel expenses are reimbursed within daily limits as
defined by the Internal Revenue Service and include charges             •   care for military service disabilities treatable through
for:                                                                        governmental services if you are legally entitled to such
                                                                            treatment and facilities are reasonably available.
•   airfare (coach or economy), including baggage fees.
                                                                        •   treatment of an Injury or Sickness which is due to war,
•   bus fare, train fare, taxi/Uber/Lyft, etc.
                                                                            declared, or undeclared.
•   vehicle rentals.
                                                                        •   charges which you are not obligated to pay and/or for which
•   gasoline.                                                               you are not billed. This exclusion includes, but is not
•   highway tolls (not prepaid).                                            limited to:
•   parking.                                                                • any instance where Cigna determines that a provider or

•   shuttle services.                                                         Pharmacy did not bill you for or has waived, reduced, or
                                                                              forgiven any portion of its charges and/or any portion of
•   wheelchair van service to travel from local housing to                    any Copayment, Deductible, and/or Coinsurance
    facility/provider.                                                        amount(s) you are required to pay for an otherwise
•   lodging up to $50 per night, per person for up to two people              Covered Expense (as shown on The Schedule) without
    (maximum of $100 per night, inclusive of taxes and                        Cigna's express consent.
    nonrefundable fees), including but not limited to: hotel,               • charges of a non-Participating Provider who has agreed to
    motel, rental from businesses such as Airbnb, VRBO, etc.                  charge you at an In-Network benefits level or some other
Excluded travel expenses include but are not limited to the                   benefits level not otherwise applicable to the services
following:                                                                    received.
•   any expenses that if reimbursed would be taxable income.                In the event that Cigna determines that this exclusion
•   travel within the mile radius defined above of your primary             applies, then Cigna in its sole discretion shall have the right
    home residence.                                                         to:
                                                                            • require you and/or any provider or Pharmacy submitting
•   food and meals.
                                                                              claims on your behalf to provide proof sufficient to Cigna
•   mileage.



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      that you have made your required cost-share payment(s)               •   cosmetic surgery and therapies. Cosmetic surgery or therapy
      prior to the payment of any benefits by Cigna;                           is defined as surgery or therapy performed to improve or
    • deny the payment of benefits in connection with the                      alter appearance or self-esteem.
      Covered Expense regardless of whether the provider or                •   the following services are excluded from coverage
      the Pharmacy represents that you remain responsible for                  regardless of clinical indications: abdominoplasty;
      any amounts that your plan does not cover; or                            panniculectomy; blepharoplasty; acupressure;removal of
    • reduce the benefits in proportion to the amount of the                   redundant skin craniosacral/cranial therapy; dance therapy;
      Copayment, Deductible, and/or Coinsurance amounts                        movement therapy; applied kinesiology; rolfing;
      waived, forgiven or reduced, regardless of whether the                   prolotherapy; and extracorporeal shock wave lithotripsy
      provider or Pharmacy represents that you remain                          (ESWL) for musculoskeletal and orthopedic conditions.
      responsible for any amounts that your plan does not                  •   dental treatment of the teeth, gums or structures directly
      cover.                                                                   supporting the teeth, including dental X-rays, examinations,
•   charges or payment for healthcare-related services that                    repairs, orthodontics, periodontics, casts, splints and
    violate state or federal law.                                              services for dental malocclusion, for any condition.
                                                                               However, charges made for a continuous course of dental
•   assistance in the activities of daily living, including but not            treatment for an Injury to teeth are covered.
    limited to eating, bathing, dressing or other Custodial
    Services or self-care activities, homemaker services and               •   for medical and surgical services intended primarily for the
    services primarily for rest, domiciliary or convalescent care.             treatment or control of obesity. However, treatment of
                                                                               clinically severe obesity, as defined by the Body Mass
•   for or in connection with experimental, investigational or                 Index (BMI) classifications of the National Heart, Lung,
    unproven services.                                                         and Blood Institute (NHLBI) guideline is covered only at
    Experimental, investigational and unproven services are                    approved centers if the services are demonstrated, through
    medical, surgical, diagnostic, psychiatric, substance use                  existing peer-reviewed, evidence-based, scientific literature
    disorder or other health care technologies, supplies,                      and scientifically based guidelines, to be safe and effective
    treatments, procedures, drug or Biologic therapies or                      for treatment of the condition. Clinically severe obesity is
    devices that are determined by the utilization review                      defined by the NHLBI as a BMI of 40 or greater without
    Physician to be:                                                           comorbidities, or 35-39 with comorbidities. The following
    • not approved by the U.S. Food and Drug Administration                    are specifically excluded:
      (FDA) or other appropriate regulatory agency to be                       • medical and surgical services to alter appearances or
      lawfully marketed;                                                         physical changes that are the result of any surgery
    • not demonstrated, through existing peer-reviewed,                          performed for the management of obesity or clinically
      evidence-based, scientific literature to be safe and                       severe (morbid) obesity; and
      effective for treating or diagnosing the condition or                    • weight loss programs or treatments, whether prescribed or
      Sickness for which its use is proposed;                                    recommended by a Physician or under medical
    • the subject of review or approval by an Institutional                      supervision.
      Review Board for the proposed use except as provided in              •   reports, evaluations, physical examinations, or
      the “Clinical Trials” sections of this plan; or                          hospitalization not required for health reasons, including but
    • the subject of an ongoing phase I, II or III clinical trial,             not limited to employment, insurance or government
      except for routine patient care costs related to qualified               licenses, and court-ordered, forensic or custodial
      clinical trials as provided in the “Clinical Trials” sections            evaluations, unless otherwise covered under this plan.
      of this plan.                                                        •   court-ordered treatment or hospitalization, unless treatment
    In determining whether any such technologies, supplies,                    is prescribed by a Physician and is a covered service or
    treatments, drug or Biologic therapies, or devices are                     supply under this plan.
    experimental, investigational, and/or unproven, the                    •   any medications, drugs, services or supplies for the
    utilization review Physician may rely on the clinical                      treatment of male or female sexual dysfunction such as, but
    coverage policies maintained by Cigna or the Review                        not limited to, treatment of erectile dysfunction (including
    Organization. Clinical coverage policies may incorporate,                  penile implants), anorgasmy, and premature ejaculation.
    without limitation and as applicable, criteria relating to U.S.        •   medical and Hospital care and costs for the child of your
    Food and Drug Administration-approved labeling, the                        Dependent child, unless the child is otherwise eligible under
    standard medical reference compendia and peer-reviewed,                    this plan.
    evidence-based scientific literature or guidelines.


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•   non-medical counseling and/or ancillary services, including                care services for diabetes, peripheral neuropathies and
    but not limited to Custodial Services, educational services,               peripheral vascular disease are covered when Medically
    vocational counseling, training and, rehabilitation services,              Necessary.
    behavioral training, biofeedback, neurofeedback, hypnosis,             •   membership costs and fees associated with health clubs,
    sleep therapy, return to work services, work hardening                     weight loss programs or smoking cessation programs.
    programs and driver safety courses.
                                                                           •   genetic screening or pre-implantations genetic screening.
•   therapy or treatment intended primarily to improve or                      General population-based genetic screening is a testing
    maintain general physical condition or for the purpose of                  method performed in the absence of any symptoms or any
    enhancing job, school, athletic or recreational performance,               significant, proven risk factors for genetically linked
    including but not limited to routine, long term, or                        inheritable disease.
    maintenance care which is provided after the resolution of
    the acute medical problem and when significant therapeutic             •   dental implants for any condition.
    improvement is not expected.                                           •   fees associated with the collection, storage or donation of
•   consumable medical supplies other than ostomy supplies                     blood or blood products, except for autologous donation in
    and urinary catheters. Excluded supplies include, but are not              anticipation of scheduled services when medical
    limited to bandages and other disposable medical supplies,                 management review determines the likelihood of excess
    skin preparations and test strips, except as specified in the              blood loss is such that transfusion is an expected adjunct to
    “Home Health Care Services” or “Breast Reconstruction                      surgery.
    and Breast Prostheses” sections of this plan.                          •   blood administration for the purpose of general
•   private Hospital rooms and/or private duty nursing except as               improvement in physical condition.
    provided under the Home Health Care Services provision.                •   cost of biologicals that are immunizations or medications
•   personal or comfort items such as personal care kits                       for the purpose of travel, or to protect against occupational
    provided on admission to a Hospital, television, telephone,                hazards and risks.
    newborn infant photographs, complimentary meals, birth                 •   health and beauty aids, cosmetics and dietary supplements.
    announcements, and other articles which are not for the                •   all nutritional supplements, formulae, enteral feedings,
    specific treatment of an Injury or Sickness.                               supplies and specially formulated medical foods, whether
•   artificial aids, including but not limited to corrective                   prescribed or not except for infant formula needed for the
    orthopedic shoes, arch supports, elastic stockings, garter                 treatment of inborn errors of metabolism.
    belts, corsets, dentures and wigs.                                     •   for or in connection with an Injury or Sickness arising out
•   aids or devices that assist with non-verbal communications,                of, or in the course of, any employment for wage or profit.
    including but not limited to communication boards, pre-                •   charges related to an Injury or Sickness payable under
    recorded speech devices, laptop computers, desktop                         worker’s compensation or similar laws.
    computers, Personal Digital Assistants (PDAs), Braille
    typewriters, visual alert systems for the deaf and memory              •   massage therapy.
    books.                                                                 •   expenses incurred by a participant to the extent
•   eyeglass lenses and frames, contact lenses and associated                  reimbursable under automobile insurance coverage.
    services (exams and fittings) (except for the initial set after            Coverage under this plan is secondary to automobile no-
    treatment of keratoconus or following cataract surgery).                   fault insurance or similar coverage. The coverage provided
                                                                               under this plan does not constitute “Qualified Health
•   routine refractions, eye exercises and surgical treatment for              Coverage” under Michigan law and therefore does not
    the correction of a refractive error, including radial                     replace Personal Injury Protection (PIP) coverage provided
    keratotomy.                                                                under an automobile insurance policy issued to a Michigan
•   all non-injectable prescription drugs, unless Physician                    resident. This plan will cover expenses only not otherwise
    administration or oversight is required, injectable                        covered by the PIP coverage.
    prescription drugs to the extent they do not require                   General Limitations
    Physician supervision and are typically considered self-
    administered drugs, non-prescription drugs, and                        No payment will be made for expenses incurred for you or any
    investigational and experimental drugs, except as provided             one of your Dependents:
    in this plan.                                                          •   for charges by a Hospital owned or operated by or which
•   routine foot care, including the paring and removing of                    provides care or performs services for, the United States
    corns and calluses and toenail maintenance. However, foot



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    Government, if such charges are directly related to a                    Closed Panel Plan
    military-service-connected Injury or Sickness.                           A Plan that provides medical or dental benefits primarily in
•   for any charges related to care provided through a public                the form of services through a panel of employed or
    program, other than Medicaid.                                            contracted providers, and that limits or excludes benefits
•   for charges which would not have been made if the person                 provided by providers outside of the panel, except in the case
    did not have coverage.                                                   of emergency or if referred by a provider within the panel.
•   to the extent that they are more than Maximum                            Primary Plan
    Reimbursable Charges.                                                    The Plan that determines and provides or pays benefits
•   to the extent of the exclusions imposed by any certification             without taking into consideration the existence of any other
    requirement shown in this plan.                                          Plan.
•   for expenses for services, supplies, care, treatment, drugs or           Secondary Plan
    surgery that are not Medically Necessary.                                A Plan that determines, and may reduce its benefits after
•   for charges made by any Physician or Other Health                        taking into consideration, the benefits provided or paid by the
    Professional who is a member of your family or your                      Primary Plan. A Secondary Plan may also recover from the
    Dependent's family.                                                      Primary Plan the Reasonable Cash Value of any services it
                                                                             provided to you.
•   for expenses incurred outside the United States other than
    expenses for Medically Necessary emergency or urgent care                Allowable Expense
    while temporarily traveling abroad.                                      The amount of charges considered for payment under the Plan
                                                                             for a Covered Service prior to any reductions due to
                                                                             coinsurance, copayment or deductible amounts. If Cigna
HC-EXC526                                                       01-24
                                                                             contracts with an entity to arrange for the provision of
                                                                V1 M
                                                                             Covered Services through that entity’s contracted network of
                                                                             health care providers, the amount that Cigna has agreed to pay
                                                                             that entity is the allowable amount used to determine your
Coordination of Benefits                                                     coinsurance or deductible payments. If the Plan provides
                                                                             benefits in the form of services, the Reasonable Cash Value of
This section applies if you or any one of your Dependents is                 each service is the Allowable Expense and is a paid benefit.
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You                Examples of expenses or services that are not Allowable
should file all claims with each Plan.                                       Expenses include, but are not limited to the following:
Definitions                                                                  •   An expense or service or a portion of an expense or service
                                                                                 that is not covered by any of the Plans is not an Allowable
For the purposes of this section, the following terms have the                   Expense.
meanings set forth below:
                                                                             •   If you are confined to a private Hospital room and no Plan
Plan                                                                             provides coverage for more than a semiprivate room, the
Any of the following that provides benefits or services for                      difference in cost between a private and semiprivate room is
medical care or treatment:                                                       not an Allowable Expense.
•   Group insurance and/or group-type coverage, whether                      •   If you are covered by two or more Plans that provide
    insured or self-insured which neither can be purchased by                    services or supplies on the basis of reasonable and
    the general public, nor is individually underwritten,                        customary fees, any amount in excess of the highest
    including closed panel coverage.                                             reasonable and customary fee is not an Allowable Expense.
•   Coverage under Medicare and other governmental benefits                  •   If you are covered by one Plan that provides services or
    as permitted by law, excepting Medicaid and Medicare                         supplies on the basis of reasonable and customary fees and
    supplement policies.                                                         one Plan that provides services and supplies on the basis of
•   Medical benefits coverage of group, group-type, and                          negotiated fees, the Primary Plan's fee arrangement shall be
    individual automobile contracts.                                             the Allowable Expense.
Each Plan or part of a Plan which has the right to coordinate                •   If your benefits are reduced under the Primary Plan (through
benefits will be considered a separate Plan.                                     the imposition of a higher copayment amount, higher
                                                                                 coinsurance percentage, a deductible and/or a penalty)
                                                                                 because you did not comply with Plan provisions or because



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    you did not use a preferred provider, the amount of the                     be the Primary Plan. If the other Plan does not have a
    reduction is not an Allowable Expense. Such Plan                            similar provision and, as a result, the Plans cannot agree on
    provisions include second surgical opinions and                             the order of benefit determination, this paragraph shall not
    precertification of admissions or services.                                 apply.
Reasonable Cash Value                                                       •   If one of the Plans that covers you is issued out of the state
An amount which a duly licensed provider of health care                         whose laws govern this Policy, and determines the order of
services usually charges patients and which is within the range                 benefits based upon the gender of a parent, and as a result,
of fees usually charged for the same service by other health                    the Plans do not agree on the order of benefit determination,
care providers located within the immediate geographic area                     the Plan with the gender rules shall determine the order of
where the health care service is rendered under similar or                      benefits.
comparable circumstances.                                                   If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
                                                                            be primary.
A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
                                                                            Medicare, the benefit determination rules identified above,
•   The Plan that covers you as an enrollee or an Employee                  will be used to determine how benefits will be coordinated.
    shall be the Primary Plan and the Plan that covers you as a
    Dependent shall be the Secondary Plan;                                  Effect on the Benefits of This Plan
•   If you are a Dependent child whose parents are not divorced             If this Plan is the Secondary Plan, this Plan may reduce
    or legally separated, the Primary Plan shall be the Plan                benefits so that the total benefits paid by all Plans are not more
    which covers the parent whose birthday falls first in the               than 100% of the total of all Allowable Expenses.
    calendar year as an enrollee or Employee;                               Recovery of Excess Benefits
•   If you are the Dependent of divorced or separated parents,              If Cigna pays charges for benefits that should have been paid
    benefits for the Dependent shall be determined in the                   by the Primary Plan, or if Cigna pays charges in excess of
    following order:                                                        those for which we are obligated to provide under the Policy,
    • first, if a court decree states that one parent is responsible        Cigna will have the right to recover the actual payment made
      for the child's healthcare expenses or health coverage and            or the Reasonable Cash Value of any services.
      the Plan for that parent has actual knowledge of the terms            Cigna will have sole discretion to seek such recovery from any
      of the order, but only from the time of actual knowledge;             person to, or for whom, or with respect to whom, such
    • then, the Plan of the parent with custody of the child;               services were provided or such payments made by any
                                                                            insurance company, healthcare Plan or other organization. If
    • then, the Plan of the spouse of the parent with custody of
                                                                            we request, you must execute and deliver to us such
      the child;                                                            instruments and documents as we determine are necessary to
    • then, the Plan of the parent not having custody of the                secure the right of recovery.
      child; and                                                            Right to Receive and Release Information
    • finally, the Plan of the spouse of the parent not having
                                                                            Cigna, without consent or notice to you, may obtain
      custody of the child.                                                 information from and release information to any other Plan
•   The Plan that covers you as an active Employee (or as that              with respect to you in order to coordinate your benefits
    Employee's Dependent) shall be the Primary Plan and the                 pursuant to this section. You must provide us with any
    Plan that covers you as laid-off or retired Employee (or as             information we request in order to coordinate your benefits
    that Employee's Dependent) shall be the Secondary Plan. If              pursuant to this section. This request may occur in connection
    the other Plan does not have a similar provision and, as a              with a submitted claim; if so, you will be advised that the
    result, the Plans cannot agree on the order of benefit                  "other coverage" information, (including an Explanation of
    determination, this paragraph shall not apply.                          Benefits paid under the Primary Plan) is required before the
•   The Plan that covers you under a right of continuation                  claim will be processed for payment. If no response is
    which is provided by federal or state law shall be the                  received within 55 days of the request, the claim will be
    Secondary Plan and the Plan that covers you as an active                closed. If the requested information is subsequently received,
    Employee or retiree (or as that Employee's Dependent) shall             the claim will be processed.



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
•   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
•   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
•   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
•   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
•   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
•   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB273                                                      01-21

•   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
•   End Stage Renal Disease (ESRD): You, your spouse, or                  Be Responsible
    your covered Dependent qualify for Medicare due to End
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first        •   Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                •   No adult Participant hereunder may assign any rights that it
•   Expenses incurred by a Participant to the extent any                      may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly                or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,             adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                      of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                     decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                               settlements or recoveries.
    compensation, government insurance (other than Medicaid),             •   No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                          •   The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
•   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a               •   No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
•   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether               •   The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                          •   The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
•   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by             •   In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
•   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                   •   Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
•   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
•   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                  •   the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                  •   the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                           •   the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                  •   the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                  •   the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in               •   the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal
                                                                           Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Temporary Layoff or Leave of Absence                                      Federal Requirements
If your Active Service ends due to temporary layoff or leave              The following pages explain your rights and responsibilities
of absence, your insurance will be continued until the date as            under federal laws and regulations. Some states may have
determined by your Employer.                                              similar requirements. If a similar provision appears elsewhere
Injury or Sickness                                                        in this booklet, the provision which provides the better benefit
If your Active Service ends due to an Injury or Sickness, your            will apply.
insurance will be continued while you remain totally and
continuously disabled as a result of the Injury or Sickness.              HC-FED1                                                       10-10
However, your insurance will not continue past the date your
Employer cancels your insurance.
Retirement
                                                                          Notice of Provider Directory/Networks
If your Active Service ends because you retire, your insurance
                                                                          Notice Regarding Provider Directories and Provider
will be continued until the date on which your Employer
                                                                          Networks
cancels the insurance.
                                                                          A list of network providers is available to you without charge
Dependents                                                                by visiting the website or by calling the phone number on your
                                                                          ID card. The network consists of providers, including
Your insurance for all of your Dependents will cease on the               hospitals, of varied specialties as well as general practice,
earliest date below:                                                      affiliated or contracted with Cigna or an organization
•   the date your insurance ceases.                                       contracting on its behalf.
•   the date you cease to be eligible for Dependent Insurance.
•   the last day for which you have made any required                     HC-FED78                                                      10-10
    contribution for the insurance.
•   the date Dependent Insurance is cancelled.
The insurance for any one of your Dependents will cease on                Qualified Medical Child Support Order
the date that Dependent no longer qualifies as a Dependent.               (QMCSO)
                                                                          Eligibility for Coverage Under a QMCSO
HC-TRM128                                                    12-17        If a Qualified Medical Child Support Order (QMCSO) is
                                                                          issued for your child, that child will be eligible for coverage as
                                                                          required by the order and you will not be considered a Late
Rescissions                                                               Entrant for Dependent Insurance.
Your coverage may not be rescinded (retroactively terminated)             You must notify your Employer and elect coverage for that
by Cigna or the plan sponsor unless the plan sponsor or an                child, and yourself if you are not already enrolled, within 31
individual (or a person seeking coverage on behalf of the                 days of the QMCSO being issued.
individual) performs an act, practice or omission that                    Qualified Medical Child Support Order Defined
constitutes fraud; or the plan sponsor or individual (or a                A Qualified Medical Child Support Order is a judgment,
person seeking coverage on behalf of the individual) makes an             decree or order (including approval of a settlement agreement)
intentional misrepresentation of material fact.                           or administrative notice, which is issued pursuant to a state
                                                                          domestic relations law (including a community property law),
HC-TRM80                                                     01-11
                                                                          or to an administrative process, which provides for child
                                                                          support or provides for health benefit coverage to such child
                                                                          and relates to benefits under the group health plan, and
                                                                          satisfies all of the following:
                                                                          •   the order recognizes or creates a child’s right to receive
                                                                              group health benefits for which a participant or beneficiary
                                                                              is eligible;
                                                                          •   the order specifies your name and last known address, and
                                                                              the child’s name and last known address, except that the



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    name and address of an official of a state or political                    Employee and Dependent child(ren); Employee, spouse and
    subdivision may be substituted for the child’s mailing                     Dependent child(ren). Enrollment of Dependent children is
    address;                                                                   limited to the newborn or adopted children or children who
•   the order provides a description of the coverage to be                     became Dependent children of the Employee due to
    provided, or the manner in which the type of coverage is to                marriage.
    be determined;                                                         •   Loss of eligibility for State Medicaid or Children’s
•   the order states the period to which it applies; and                       Health Insurance Program (CHIP). If you and/or your
                                                                               Dependent(s) were covered under a state Medicaid or CHIP
•   if the order is a National Medical Support Notice completed                plan and the coverage is terminated due to a loss of
    in accordance with the Child Support Performance and                       eligibility, you may request special enrollment for yourself
    Incentive Act of 1998, such Notice meets the requirements                  and any affected Dependent(s) who are not already enrolled
    above.                                                                     in the Plan. You must request enrollment within 60 days
The QMCSO may not require the health insurance policy to                       after termination of Medicaid or CHIP coverage.
provide coverage for any type or form of benefit or option not             •   Loss of eligibility for other coverage (excluding
otherwise provided under the policy, except that an order may                  continuation coverage). If coverage was declined under
require a plan to comply with State laws regarding health care                 this Plan due to coverage under another plan, and eligibility
coverage.                                                                      for the other coverage is lost, you and all of your eligible
Payment of Benefits                                                            Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                           required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                 previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial              with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                   was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                  loss of eligibility as a result of any of the following:
child.                                                                         • divorce or legal separation;
                                                                               • cessation of Dependent status (such as reaching the
HC-FED4                                                       10-10              limiting age);
                                                                               • death of the Employee;
                                                                               • termination of employment;
Special Enrollment Rights Under the Health                                     • reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                       for eligibility;
(HIPAA)                                                                        • you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                        in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                        coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a                • you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of                       exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already                   all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and
                                                                               • the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by
                                                                                 similarly situated individuals.
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special                 •   Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                           continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                   ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                       Dependent’s other coverage, special enrollment may be
events include:                                                                requested in this Plan for you and all of your eligible
                                                                               Dependent(s).
•   Acquiring a new Dependent. If you acquire a new
    Dependent(s) through marriage, birth, adoption or                      •   Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                 Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not                and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                  COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                            Dependent(s) elect COBRA or other continuation coverage
                                                                               following loss of coverage under another plan, the COBRA


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    or other continuation coverage must be exhausted before                A. Coverage elections
    any special enrollment rights exist under this Plan. An                Per Section 125 regulations, you are generally allowed to
    individual is considered to have exhausted COBRA or other              enroll for or change coverage only before each annual benefit
    continuation coverage only if such coverage ceases: due to             period. However, exceptions are allowed:
    failure of the Employer or other responsible entity to remit
    premiums on a timely basis; when the person no longer                  •   if you meet Special Enrollment criteria and enroll as
    resides or works in the other plan’s service area and there is             described in the Special Enrollment section; or
    no other COBRA or continuation coverage available under                •   if your Employer agrees, and you meet the criteria shown in
    the plan; or when the individual incurs a claim that would                 the following Sections B through H and enroll for or change
    meet or exceed a lifetime maximum limit on all benefits and                coverage within the time period established by your
    there is no other COBRA or other continuation coverage                     Employer.
    available to the individual. This does not include                     B. Change of status
    termination of an Employer’s limited period of
    contributions toward COBRA or other continuation                       A change in status is defined as:
    coverage as provided under any severance or other                      •   change in legal marital status due to marriage, death of a
    agreement.                                                                 spouse, divorce, annulment or legal separation;
•   Eligibility for employment assistance under State                      •   change in number of Dependents due to birth, adoption,
    Medicaid or Children’s Health Insurance Program                            placement for adoption, or death of a Dependent;
    (CHIP). If you and/or your Dependent(s) become eligible                •   change in employment status of Employee, spouse or
    for assistance with group health plan premium payments                     Dependent due to termination or start of employment,
    under a state Medicaid or CHIP plan, you may request                       strike, lockout, beginning or end of unpaid leave of absence,
    special enrollment for yourself and any affected                           including under the Family and Medical Leave Act
    Dependent(s) who are not already enrolled in the Plan. You                 (FMLA), or change in worksite;
    must request enrollment within 60 days after the date you
                                                                           •   changes in employment status of Employee, spouse or
    are determined to be eligible for assistance.
                                                                               Dependent resulting in eligibility or ineligibility for
Except as stated above, special enrollment must be                             coverage;
requested within 30 days after the occurrence of the
                                                                           •   change in residence of Employee, spouse or Dependent to a
special enrollment event. If the special enrollment event is
                                                                               location outside of the Employer’s network service area;
the birth or adoption of a Dependent child, coverage will
                                                                               and
be effective immediately on the date of birth, adoption or
placement for adoption. Coverage with regard to any other                  •   changes which cause a Dependent to become eligible or
special enrollment event will be effective no later than the                   ineligible for coverage.
first day of the first calendar month following receipt of                 C. Court order
the request for special enrollment.
                                                                           A change in coverage due to and consistent with a court order
Domestic Partners and their children (if not legal children of             of the Employee or other person to cover a Dependent.
the Employee) are not eligible for special enrollment.
                                                                           D. Medicare or Medicaid eligibility/entitlement
                                                                           The Employee, spouse or Dependent cancels or reduces
HC-FED96                                                      04-17        coverage due to entitlement to Medicare or Medicaid, or
                                                                           enrolls or increases coverage due to loss of Medicare or
                                                                           Medicaid eligibility.
Effect of Section 125 Tax Regulations on This                              E. Change in cost of coverage
Plan                                                                       If the cost of benefits increases or decreases during a benefit
Your Employer has chosen to administer this Plan in                        period, your Employer may, in accordance with plan terms,
accordance with Section 125 regulations of the Internal                    automatically change your elective contribution.
Revenue Code. Per this regulation, you may agree to a pretax               When the change in cost is significant, you may either
salary reduction put toward the cost of your benefits.                     increase your contribution or elect less-costly coverage. When
Otherwise, you will receive your taxable earnings as cash                  a significant overall reduction is made to the benefit option
(salary).                                                                  you have elected, you may elect another available benefit
                                                                           option. When a new benefit option is added, you may change
                                                                           your election to the new benefit option.



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F. Changes in coverage of spouse or Dependent under                     adoption when you become legally obligated to support that
another employer’s plan                                                 child, totally or partially, prior to that child’s adoption.
You may make a coverage election change if the plan of your             If a child placed for adoption is not adopted, all health
spouse or Dependent: incurs a change such as adding or                  coverage ceases when the placement ends, and will not be
deleting a benefit option; allows election changes due to               continued.
Special Enrollment, Change in Status, Court Order or                    The provisions in the “Exception for Newborns” section of
Medicare or Medicaid Eligibility/Entitlement; or this Plan and          this document that describe requirements for enrollment and
the other plan have different periods of coverage or open               effective date of insurance will also apply to an adopted child
enrollment periods.                                                     or a child placed with you for adoption.
G. Reduction in work hours
If an Employee’s work hours are reduced below 30                        HC-FED67                                                      09-14
hours/week (even if it does not result in the Employee losing
eligibility for the Employer’s coverage); and the Employee
(and family) intend to enroll in another plan that provides
Minimum Essential Coverage (MEC). The new coverage must                 Coverage for Maternity Hospital Stay
be effective no later than the 1st day of the 2nd month                 Group health plans and health insurance issuers offering group
following the month that includes the date the original                 health insurance coverage generally may not, under a federal
coverage is revoked.                                                    law known as the “Newborns’ and Mothers’ Health Protection
H. Enrollment in a Qualified Health Plan (QHP)                          Act”: restrict benefits for any Hospital length of stay in
                                                                        connection with childbirth for the mother or newborn child to
Employee: The Employee must be eligible for a Special
                                                                        less than 48 hours following a vaginal delivery, or less than 96
Enrollment Period to enroll in a QHP through an Exchange
                                                                        hours following a cesarean section; or require that a provider
(Marketplace) or the Employee seeks to enroll in a QHP
                                                                        obtain authorization from the plan or insurance issuer for
through an Exchange during the Marketplace’s annual open
                                                                        prescribing a length of stay not in excess of the above periods.
enrollment period; and the disenrollment from the group plan
                                                                        The law generally does not prohibit an attending provider of
corresponds to the intended enrollment of the Employee (and
                                                                        the mother or newborn, in consultation with the mother, from
family) in a QHP through an Exchange for new coverage
                                                                        discharging the mother or newborn earlier than 48 or 96 hours,
effective beginning no later than the day immediately
                                                                        as applicable.
following the last day of the original coverage.
                                                                        Please review this Plan for further details on the specific
Family: A plan may allow an Employee to revoke family
                                                                        coverage available to you and your Dependents.
coverage midyear in order for family members (“related
individuals”) to enroll in a QHP through an Exchange
(Marketplace). The related individual(s) must be eligible for a         HC-FED11                                                      10-10
Special Enrollment Period to enroll in a QHP or seek to enroll
in a QHP during the Marketplace’s annual open enrollment
period, and the disenrollment from the group plan corresponds
to the intended enrollment of the individual(s) in a QHP for
                                                                        Women’s Health and Cancer Rights Act
new coverage effective beginning no later than the day                  (WHCRA)
immediately following the last day of the original coverage. If         Do you know that your plan, as required by the Women’s
the Employee does not enroll in a QHP, the Employee must                Health and Cancer Rights Act of 1998, provides benefits for
select self-only coverage or family coverage including one or           mastectomy-related services including all stages of
more already-covered individuals.                                       reconstruction and surgery to achieve symmetry between the
                                                                        breasts, prostheses, and complications resulting from a
                                                                        mastectomy, including lymphedema? Call Member Services at
HC-FED112                                                  01-23
                                                                        the toll free number listed on your ID card for more
                                                                        information.

Eligibility for Coverage for Adopted Children
                                                                        HC-FED12                                                      10-10
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for



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Group Plan Coverage Instead of Medicaid                                     and your Dependents. They do not apply to any Life, Short-
                                                                            term or Long-term Disability or Accidental Death &
If your income and liquid resources do not exceed certain
                                                                            Dismemberment coverage you may have.
limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is                Continuation of Coverage
cost effective. This includes premiums for continuation                     For leaves of less than 31 days, coverage will continue as
coverage required by federal law.                                           described in the Termination section regarding Leave of
                                                                            Absence.
HC-FED13                                                       10-10        For leaves of 31 days or more, you may continue coverage for
                                                                            yourself and your Dependents as follows:
                                                                            You may continue benefits by paying the required premium to
Requirements of Family and Medical Leave Act                                your Employer, until the earliest of the following:
of 1993 (as amended) (FMLA)                                                 •   24 months from the last day of employment with the
                                                                                Employer;
Any provisions of the policy that provide for: continuation of
insurance during a leave of absence; and reinstatement of                   •   the day after you fail to return to work; and
insurance following a return to Active Service; are modified                •   the date the policy cancels.
by the following provisions of the federal Family and Medical               Your Employer may charge you and your Dependents up to
Leave Act of 1993, as amended, where applicable:                            102% of the total premium.
Continuation of Health Insurance During Leave                               Reinstatement of Benefits (applicable to all coverages)
Your health insurance will be continued during a leave of                   If your coverage ends during the leave of absence because you
absence if:                                                                 do not elect USERRA at the expiration of USERRA and you
•   that leave qualifies as a leave of absence under the Family             are reemployed by your current Employer, coverage for you
    and Medical Leave Act of 1993, as amended; and                          and your Dependents may be reinstated if you gave your
•   you are an eligible Employee under the terms of that Act.               Employer advance written or verbal notice of your military
                                                                            service leave, and the duration of all military leaves while you
The cost of your health insurance during such leave must be
                                                                            are employed with your current Employer does not exceed 5
paid, whether entirely by your Employer or in part by you and
                                                                            years.
your Employer.
                                                                            You and your Dependents will be subject to only the balance
Reinstatement of Canceled Insurance Following Leave
                                                                            of a waiting period that was not yet satisfied before the leave
Upon your return to Active Service following a leave of                     began. However, if an Injury or Sickness occurs or is
absence that qualifies under the Family and Medical Leave                   aggravated during the military leave, full Plan limitations will
Act of 1993, as amended, any canceled insurance (health, life               apply.
or disability) will be reinstated as of the date of your return.
                                                                            If your coverage under this plan terminates as a result of your
You will not be required to satisfy any eligibility or benefit              eligibility for military medical and dental coverage and your
waiting period to the extent that they had been satisfied prior             order to active duty is canceled before your active duty service
to the start of such leave of absence.                                      commences, these reinstatement rights will continue to apply.
Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.                           HC-FED18                                                     10-10



HC-FED93                                                       10-17

                                                                            Claim Determination Procedures under ERISA
                                                                            The following complies with federal law. Provisions of
Uniformed Services Employment and Re-                                       applicable laws of your state may supersede.
Employment Rights Act of 1994 (USERRA)                                      Procedures Regarding Medical Necessity Determinations
The Uniformed Services Employment and Re-employment                         In general, health services and benefits must be Medically
Rights Act of 1994 (USERRA) sets requirements for                           Necessary to be covered under the plan. The procedures for
continuation of health coverage and re-employment in regard                 determining Medical Necessity vary, according to the type of
to an Employee’s military leave of absence. These                           service or benefit requested, and the type of health plan.
requirements apply to medical and dental coverage for you


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Medical Necessity determinations are made on a preservice,              expedited determination within 72 hours after receiving the
concurrent, or postservice basis, as described below:                   request.
Certain services require prior authorization in order to be             However, if necessary information is missing from the
covered. The booklet describes who is responsible for                   request, Cigna will notify you or your representative within 24
obtaining this review. You or your authorized representative            hours after receiving the request to specify what information is
(typically, your health care professional) must request prior           needed. You or your representative must provide the specified
authorization according to the procedures described below, in           information to Cigna within 48 hours after receiving the
the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of


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the following that pertain to the determination: information               If your designation of an authorized representative is revoked,
sufficient to identify the claim including, if applicable, the             or Cigna does not honor your designation, you may appoint a
date of service, provider and claim amount; diagnosis and                  new authorized representative at any time, in writing, using a
treatment codes, and their meanings; the specific reason or                form approved by Cigna.
reasons for the adverse determination including, if applicable,
the denial code and its meaning and a description of any
                                                                           HC-FED88                                                       01-17
standard that was used in the denial; reference to the specific
plan provisions on which the determination is based; a
description of any additional material or information necessary
to perfect the claim and an explanation of why such material               Medical - When You Have a Complaint or an
or information is necessary; a description of the plan’s review            Appeal
procedures and the time limits applicable, including a
statement of a claimant’s rights to bring a civil action under             For the purposes of this section, any reference to "you" or
section 502(a) of ERISA following an adverse benefit                       "your" also refers to a representative or provider designated by
determination on appeal, (if applicable); upon request and free            you to act on your behalf; unless otherwise noted.
of charge, a copy of any internal rule, guideline, protocol or             We want you to be completely satisfied with the services you
other similar criterion that was relied upon in making the                 receive. That is why we have established a process for
adverse determination regarding your claim; and an                         addressing your concerns and solving your problems.
explanation of the scientific or clinical judgment for a                   Start With Customer Service
determination that is based on a Medical Necessity,
                                                                           We are here to listen and help. If you have a concern
experimental treatment or other similar exclusion or limit; a
                                                                           regarding a person, a service, the quality of care, contractual
description of any available internal appeal and/or external
                                                                           benefits, or a rescission of coverage, you may call the toll-
review process(es); information about any office of health
                                                                           free number on your ID card, explanation of benefits, or
insurance consumer assistance or ombudsman available to
                                                                           claim form and explain your concern to one of our Customer
assist you with the appeal process; and in the case of a claim
                                                                           Service representatives. You may also express that concern
involving urgent care, a description of the expedited review
                                                                           in writing.
process applicable to such claim.
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
HC-FED104                                                     01-19        concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
                                                                           results of a coverage decision, you may start the appeals
Appointment of Authorized Representative                                   procedure.
You may appoint an authorized representative to assist you in              Internal Appeals Procedure
submitting a claim or appealing a claim denial. However,                   To initiate an appeal of an adverse benefit determination, you
Cigna may require you to designate your authorized                         must submit a request for an appeal to Cigna within 180 days
representative in writing using a form approved by Cigna. At               of receipt of a denial notice. If you appeal a reduction or
all times, the appointment of an authorized representative is              termination in coverage for an ongoing course of treatment
revocable by you. To ensure that a prior appointment remains               that Cigna previously approved, you will receive, as required
valid, Cigna may require you to re-appoint your authorized                 by applicable law, continued coverage pending the outcome of
representative, from time to time.                                         an appeal.
Cigna reserves the right to refuse to honor the appointment of             You should state the reason why you feel your appeal should
a representative if Cigna reasonably determines that:                      be approved and include any information supporting your
•   the signature on an authorized representative form may not             appeal. If you are unable or choose not to write, you may ask
    be yours, or                                                           Cigna to register your appeal by telephone. Call or write us at
                                                                           the toll-free number on your ID card, explanation of benefits,
•   the authorized representative may not have disclosed to you
                                                                           or claim form.
    all of the relevant facts and circumstances relating to the
    overpayment or underpayment of any claim, including, for               Your appeal will be reviewed and the decision made by
    example, that the billing practices of the provider of medical         someone not involved in the initial decision. Appeals
    services may have jeopardized your coverage through the                involving Medical Necessity or clinical appropriateness will
    waiver of the cost-sharing amounts that you are required to            be considered by a health care professional.
    pay under your plan.


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We will respond in writing with a decision within 30 calendar           discharged from a facility, the external review shall be
days after we receive an appeal for a required preservice or            completed within 72 hours.
concurrent care coverage determination or a postservice                 Notice of Benefit Determination on Appeal
Medical Necessity determination. We will respond within 60
calendar days after we receive an appeal for any other                  Every notice of a determination on appeal will be provided in
postservice coverage determination. If more time or                     writing or electronically and, if an adverse determination, will
information is needed to make the determination, we will                include: information sufficient to identify the claim including,
notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
                                                                        including, if applicable, the denial code and its meaning and a
In the event any new or additional information (evidence) is            description of any standard that was used in the denial;
considered, relied upon or generated by Cigna in connection             reference to the specific plan provisions on which the
with the appeal, this information will be provided                      determination is based; a statement that the claimant is entitled
automatically to you as soon as possible and sufficiently in            to receive, upon request and free of charge, reasonable access
advance of the decision, so that you will have an opportunity           to and copies of all documents, records, and other Relevant
to respond. Also, if any new or additional rationale is                 Information as defined below; a statement describing any
considered by Cigna, Cigna will provide the rationale to you            voluntary appeal procedures offered by the plan and the
as soon as possible and sufficiently in advance of the decision         claimant's right to bring an action under ERISA section
so that you will have an opportunity to respond.                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
                                                                        dispute resolution options such as Mediation. One way to find
External Review Procedure                                               out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's             Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review                        Relevant Information
Organization (IRO). The IRO is composed of persons who are
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
                                                                        course of making the benefit determination, without regard to
There is no charge for you to initiate an external review. Cigna        whether such document, record, or other information was
and your benefit plan will abide by the decision of the IRO.            relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator            compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review                required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected         or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
received emergency services, but you have not yet been


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Legal Action                                                                  covered by the Plan on the day the qualifying event occurred:
If your plan is governed by ERISA, you have the right to bring                you, your spouse, and your Dependent children. Each
a civil action under section 502(a) of ERISA if you are not                   qualified beneficiary has their own right to elect or decline
satisfied with the outcome of the Appeals Procedure. In most                  COBRA continuation coverage even if you decline or are not
instances, you may not initiate a legal action against Cigna                  eligible for COBRA continuation.
until you have completed the appeal processes. However, no                    The following individuals are not qualified beneficiaries for
action will be brought at all unless brought within 3 years after             purposes of COBRA continuation: domestic partners,
a claim is submitted for In-Network Services or within three                  grandchildren (unless adopted by you), stepchildren (unless
years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
HC-FED110                                                        01-21
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Secondary Qualifying Events
What is COBRA Continuation Coverage?                                          If, as a result of your termination of employment or reduction
                                                                              in work hours, your Dependent(s) have elected COBRA
Under federal law, you and/or your Dependents must be given                   continuation coverage and one or more Dependents experience
the opportunity to continue health insurance when there is a                  another COBRA qualifying event, the affected Dependent(s)
“qualifying event” that would result in loss of coverage under                may elect to extend their COBRA continuation coverage for
the Plan. You and/or your Dependents will be permitted to                     an additional 18 months (7 months if the secondary event
continue the same coverage under which you or your                            occurs within the disability extension period) for a maximum
Dependents were covered on the day before the qualifying                      of 36 months from the initial qualifying event. The second
event occurred, unless you move out of that plan’s coverage                   qualifying event must occur before the end of the initial 18
area or the plan is no longer available. You and/or your                      months of COBRA continuation coverage or within the
Dependents cannot change coverage options until the next                      disability extension period discussed below. Under no
open enrollment period.                                                       circumstances will COBRA continuation coverage be
When is COBRA Continuation Available?                                         available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                            event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following                  divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of                      to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                                      Disability Extension
•   your termination of employment for any reason, other than                 If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                                      termination of employment or reduction in work hours, you or
•   your reduction in work hours.                                             one of your Dependents is determined by the Social Security
                                                                              Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is
                                                                              XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following
                                                                              elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of
                                                                              continuation for an additional 11 months, for a maximum of
coverage under the Plan:
                                                                              29 months from the initial qualifying event.
•   your death;
                                                                              To qualify for the disability extension, all of the following
•   your divorce or legal separation; or                                      requirements must be satisfied:
•   for a Dependent child, failure to continue to qualify as a                •   SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                                     within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                            continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may                •   A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                          to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were


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    date the SSA determination is made AND before the end of            area. If the Employer offers another benefit option through
    the initial 18-month continuation period.                           Cigna or another carrier which can provide coverage in your
If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all                Your Employer is required to provide you and/or your
covered persons on the first day of the month that is more than         Dependents with the following notices:
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.                     •   An initial notification of COBRA continuation rights must
                                                                            be provided within 90 days after your (or your spouse’s)
All causes for “Termination of COBRA Continuation” listed                   coverage under the Plan begins (or the Plan first becomes
below will also apply to the period of disability extension.                subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your              •   A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your                • if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.                         and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
•   the end of the COBRA continuation period of 18, 29 or 36                • if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
                                                                              Plan Administrator of a qualifying event starts upon the
•   failure to pay the required premium within 30 calendar days               occurrence of a qualifying event, 44 days after the
    after the due date;                                                       qualifying event occurs; or
•   cancellation of the Employer’s policy with Cigna;                       • in the case of a multi-employer plan, no later than 14 days
•   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
•   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for          The COBRA coverage election notice will list the individuals
    which the new plan limits or excludes coverage under a pre-         who are eligible for COBRA continuation coverage and
    existing condition provision. In such case coverage will            inform you of the applicable premium. The notice will also
    continue until the earliest of: the end of the applicable           include instructions for electing COBRA continuation
    maximum period; the date the pre-existing condition                 coverage. You must notify the Plan Administrator of your
    provision is no longer applicable; or the occurrence of an          election no later than the due date stated on the COBRA
    event described in one of the first three bullets above;            election notice. If a written election notice is required, it must
•   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
                                                                        the due date, you may change your mind as long as you
If you and/or your Dependents move out of the Employer’s                furnish a completed election form before the due date.
service area or the Employer eliminates a service area in your
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are



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qualified beneficiaries. Parents may elect to continue coverage        during this time. Any providers who contact the Plan to
on behalf of their Dependent children. You or your spouse              confirm coverage during this time may be informed that
may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%               •   Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or             •   Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active            •   The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the


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United States Code, you may be entitled to COBRA                        Plan Trustees
continuation coverage. If the bankruptcy results in a loss of           A list of any Trustees of the Plan, which includes name, title
coverage for you, your Dependents or your surviving spouse              and address, is available upon request to the Plan
within one year before or after such proceeding, you and your           Administrator.
covered Dependents will become COBRA qualified
beneficiaries with respect to the bankruptcy. You will be               Plan Type
entitled to COBRA continuation coverage until your death.               The plan is a healthcare benefit plan.
Your surviving spouse and covered Dependent children will               Collective Bargaining Agreements
be entitled to COBRA continuation coverage for up to 36
months following your death. However, COBRA continuation                You may contact the Plan Administrator to determine whether
coverage will cease upon the occurrence of any of the events            the Plan is maintained pursuant to one or more collective
listed under “Termination of COBRA Continuation” above.                 bargaining agreements and if a particular Employer is a
                                                                        sponsor. A copy is available for examination from the Plan
Interaction With Other Continuation Benefits                            Administrator upon written request.
You may be eligible for other continuation benefits under state         Discretionary Authority
law. Refer to the Termination section for any other
continuation benefits.                                                  The Plan Administrator delegates to Cigna the discretionary
                                                                        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
HC-FED66                                                   07-14        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
                                                                        persons desiring to enroll in or claim benefits under the plan,
                                                                        the determination of whether a person is entitled to benefits
ERISA Required Information                                              under the plan, and the computation of any and all benefit
The name of the Plan is:                                                payments. The Plan Administrator also delegates to Cigna the
  Entegris, Inc. Welfare Benefits Plan                                  discretionary authority to perform a full and fair review, as
                                                                        required by ERISA, of each claim denial which has been
The name, address, ZIP code and business telephone number
                                                                        appealed by the claimant or his duly authorized representative.
of the sponsor of the Plan is:
                                                                        Plan Modification, Amendment and Termination
  Entegris, Inc.
  129 Concord Road                                                      The Employer as Plan Sponsor reserves the right to, at any
  Billerica, MA 01821                                                   time, change or terminate benefits under the Plan, to change or
  952-556-3131                                                          terminate the eligibility of classes of employees to be covered
                                                                        by the Plan, to amend or eliminate any other plan term or
Employer Identification            Plan Number:
                                                                        condition, and to terminate the whole plan or any part of it.
Number (EIN):
                                                                        Contact the Employer for the procedure by which benefits
411941551                          520                                  may be changed or terminated, by which the eligibility of
The name, address, ZIP code and business telephone number               classes of employees may be changed or terminated, or by
of the Plan Administrator is:                                           which part or all of the Plan may be terminated. No consent of
  Employer named above                                                  any participant is required to terminate, modify, amend or
                                                                        change the Plan.
The name, address and ZIP code of the person designated as
agent for service of legal process is:                                  Termination of the Plan together with termination of the
                                                                        insurance policy(s) which funds the Plan benefits will have no
  Employer named above                                                  adverse effect on any benefits to be paid under the policy(s)
The office designated to consider the appeal of denied claims           for any covered medical expenses incurred prior to the date
is:                                                                     that policy(s) terminates. Likewise, any extension of benefits
  The Cigna Claim Office responsible for this Plan                      under the policy(s) due to you or your Dependent's total
                                                                        disability which began prior to and has continued beyond the
The cost of the Plan is shared by Employee and Employer.                date the policy(s) terminates will not be affected by the Plan
The Plan’s fiscal year ends on 12/31.                                   termination. Rights to purchase limited amounts of life and
The preceding pages set forth the eligibility requirements and          medical insurance to replace part of the benefits lost because
benefits provided for you under this Plan.                              the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
•   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
•   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
•   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
•   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights           not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income                      administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan                or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
•   examine, without charge, at the Plan Administrator’s office           thereof concerning the qualified status of a domestic relations
    and at other specified locations, such as worksites and union         order or a medical child support order, you may file suit in
    halls, all documents governing the plan, including insurance          federal court. If it should happen that plan fiduciaries misuse
    contracts and collective bargaining agreements and a copy             the plan’s money, or if you are discriminated against for
    of the latest annual report (Form 5500 Series) filed by the           asserting your rights, you may seek assistance from the U.S.
    plan with the U.S. Department of Labor and available at the           Department of Labor, or you may file suit in a federal court.
    Public Disclosure room of the Employee Benefits Security              The court will decide who should pay court costs and legal
    Administration.                                                       fees. If you are successful the court may order the person you
•   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator               If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.                          the plan administrator. If you have any questions about this
•   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
•   continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
    Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
    result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
    have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
    governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
    continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
•   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
•   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of acute neuromusculoskeletal conditions
Health Service Act (42 USC 262(i)) (as amended by the                     through manipulation and ancillary physiological treatment
Biologics Price Competition and Innovation Act of 2009, title             rendered to specific joints to restore motion, reduce pain and
VII of the Patient Protection and Affordable Care Act, Pub. L.            improve function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS1717                                                  01-22



HC-DFS840                                                    10-16
                                                                          Convenience Care Clinics
                                                                          Convenience Care Clinics are staffed by nurse practitioners
Biosimilar                                                                and physician assistants and offer customers convenient,
A Biologic that is highly similar to the reference Biologic               professional walk-in care for common ailments and routine
product notwithstanding minor differences in clinically                   services. Convenience Care Clinics have extended hours and
inactive components, and has no clinically meaningful                     are located in or near easy-to-access, popular locations
differences from the reference Biologic in terms of its safety,           (pharmacies, grocery and free-standing locations) with or
purity, and potency, as defined under Section 351(i) of the               without appointment.
Public Health Service Act (42 USC 262(i)) (as amended by
the Biologics Price Competition and Innovation Act of 2009,
                                                                          HC-DFS1629                                                  07-21
title VII of the Patient Protection and Affordable Care Act,



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Custodial Services                                                          Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent or Dependent spouse unless the Dependent or
safeguarding nature. Such services may include a stay in an                 Dependent spouse declines Employee coverage. A child under
institutional setting, at-home care, or nursing services to care            age 26 may be covered as either an Employee or as a
for someone because of age or mental or physical condition.                 Dependent child. You cannot be covered as an Employee
This service primarily helps the person in daily living.                    while also covered as a Dependent of an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS1718                                                      01-22
for himself or herself. Custodial Services include but are not
limited to:
•   Services related to watching or protecting a person;                    Domestic Partner
•   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                  •   shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                            •   has resided with you for no less than one year;
    can be self administered, and
                                                                            •   is no less than 18 years of age;
•   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                       •   is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
•   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
•   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
•   any child of yours who is
                                                                            •   is not a blood relative any closer than would prohibit legal
    • less than 26 years old.
                                                                                marriage; and
    • 26 or more years old, unmarried, and primarily supported
                                                                            •   has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after             •   has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition               •   is currently legally married to another person; or
      and dependence.                                                       •   has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.
Benefits for a Dependent child will continue until the last day
of the calendar month in which the limiting age is reached.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
                                                                         providing claim administration services.
HC-DFS47                                                    04-10
                                                              V1
                                                                         HC-DFS1615                                                      01-22



Emergency Medical Condition                                              Essential Health Benefits
Emergency Medical Condition means a medical condition,                   Essential health benefits means, to the extent covered under
including a mental health condition or substance use disorder,           the plan, expenses incurred with respect to covered services, in
manifesting itself by acute symptoms of sufficient severity              at least the following categories: ambulatory patient services,
(including severe pain) such that a prudent layperson, who               emergency services, hospitalization, maternity and newborn
possesses an average knowledge of health and medicine, could             care, mental health and substance use disorder services,
reasonably expect the absence of immediate medical attention             including behavioral health treatment, prescription drugs,
to result in placing the health of the individual (or, with              rehabilitative and habilitative services and devices, laboratory
respect to a pregnant woman, the health of the woman or her              services, preventive and wellness services and chronic disease
unborn child) in serious jeopardy; serious impairment to                 management and pediatric services, including oral and vision
bodily functions; or serious dysfunction of any bodily organ or          care.
part.

                                                                         HC-DFS411                                                       01-11
HC-DFS1766                                                  01-23


                                                                         Expense Incurred
Emergency Services
                                                                         An expense is incurred when the service or the supply for
Emergency Services means, with respect to an Emergency                   which it is incurred is provided.
Medical Condition, a medical screening examination that is
within the capability of the emergency department of a
Hospital or of an independent freestanding emergency facility,           HC-DFS10                                                        04-10
including ancillary services routinely available to the                                                                                    V1

emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and
                                                                         Free-Standing Surgical Facility
treatment, to the extent they are within the capabilities of the
staff and facilities available at the Hospital or emergency              The term Free-Standing Surgical Facility means an institution
department, as are required to Stabilize the patient.                    which meets all of the following requirements:
                                                                         •   it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
HC-DFS1764                                                  01-23
                                                                         •   it maintains at least two operating rooms and one recovery
                                                                             room;
Employee
                                                                         •   it maintains diagnostic laboratory and x-ray facilities;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does               •   it has equipment for emergency care;
not include Employees who are part-time or temporary or who              •   it has a blood supply;
normally work less than 30 hours a week for the Employer.                •   it maintains medical records;
                                                                         •   it has agreements with Hospitals for immediate acceptance
HC-DFS1094                                                  12-17            of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
                                                                         •   it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                             •   an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                             •   an institution which qualifies as a hospital, a psychiatric
•   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
•   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient              •   an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
•   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                  V1
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,
or any other licensed facility or agency under a Hospice Care                Hospital Confinement or Confined in a Hospital
Program.
                                                                             A person will be considered Confined in a Hospital if he is:
                                                                             •   a registered bed patient in a Hospital upon the
HC-DFS52                                                        04-10            recommendation of a Physician;
                                                                  V1
                                                                             •   receiving treatment for Mental Health and Substance Use
                                                                                 Disorder Services in a Mental Health or Substance Use
Hospice Facility                                                                 Disorder Residential Treatment Center.
The term Hospice Facility means an institution or part of it
which:                                                                       HC-DFS807                                                        12-15
•   primarily provides care for Terminally Ill patients;
•   is accredited by the National Hospice Organization;                      Injury
•   meets standards established by Cigna; and                                The term Injury means an accidental bodily injury.
•   fulfills any licensing requirements of the state or locality in
    which it operates.
                                                                             HC-DFS12                                                         04-10
                                                                                                                                                V1

HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                          allowable reimbursement for the same or similar service or
The term Maintenance Treatment means:                                          supply within the geographic market. In the event that
                                                                               Medicare does not have a published rate for a particular
•   treatment rendered to keep or maintain the patient's current               service or supply, Cigna may, in its discretion, determine
    status.                                                                    the MRC based on a rate for the same or similar service or
                                                                               supply by applying a Medicare-based methodology that
HC-DFS56                                                      04-10            Cigna deems appropriate.
                                                                V1         The percentage used to determine the Maximum Reimbursable
                                                                           Charge is 110.
Maximum Reimbursable Charge – Medical                                      Note: Some providers attempt to forgive, waive, or not collect
                                                                           the cost share obligation (e.g., your Copayment, Coinsurance
See The Medical Schedule for information about Out-of-
                                                                           and/or Deductible amount(s), if any), that this plan requires
Network Charges for Certain Services, Out-of-Network
                                                                           you to pay. This practice jeopardizes your coverage under this
Emergency Services Charges, and Out-of-Network Air
                                                                           plan. Please read the Exclusions, Expenses Not Covered and
Ambulance Services Charges.
                                                                           General Limitations section, or call Cigna at the phone
The Maximum Reimbursable Charge (also referred to as                       number on your ID card for more details.
MRC) is the maximum amount that your plan will pay an Out-
of-Network health care provider for a Covered Expense. Your
applicable Out-of-Network Copayment, Coinsurance and/or                    HC-DFS1853                                                       01-24

Deductible amount(s), if any, set forth in The Schedule are
determined based on the MRC. Unless prohibited by                          Medicaid
applicable law or agreement, Out-of-Network providers may
also bill you for the difference between the MRC and their                 The term Medicaid means a state program of medical aid for
charges, and you may be financially responsible for that                   needy persons established under Title XIX of the Social
amount. If you receive a bill from an Out-of-Network provider              Security Act of 1965 as amended.
for more than the What I Owe amount on the Explanation of
Benefits (EOB), please call Cigna at the phone number on                   HC-DFS16                                                         04-10
your ID card.                                                                                                                                 V1
If an Out-of-Network provider is willing to agree to a rate that
Cigna, in its discretion, determines to be market competitive,
                                                                           Medical Pharmaceutical
then that rate will become the MRC used to calculate the Out-
of-Network allowable amount for a Covered Expense. An                      Medical Pharmaceuticals are used for treatment of complex
Out-of-Network provider can agree to a rate by: (i) entering               chronic conditions, are administered and handled in a
into an agreement with Cigna or one of Cigna’s third-party                 specialized manner, and may be high cost. Because of their
vendors that establishes the rate the Out-of-Network provider              characteristics, they require a qualified Physician to administer
is willing to accept as payment for the Out-of-Network                     or directly supervise administration. Some Medical
Covered Expense; or (ii) receiving a payment from Cigna                    Pharmaceuticals may initially or typically require Physician
based on an allowed amount that Cigna or one of Cigna’s                    oversight but subsequently may be self-administered under
third-party vendors has determined is a market competitive                 certain conditions specified in the product’s FDA labeling.
rate without billing you and/or obligating you to pay the
difference between the payment amount and the charged
                                                                           HC-DFS1722                                                       07-22
amount.
If an Out-of-Network provider does not agree to a market
competitive rate as described in the previous paragraph, then              Medically Necessary/Medical Necessity
the MRC for Open Access Plus will be based on an amount                    Health care services, supplies and medications provided for
required by law, or if no amount is required by law, then the              the purpose of preventing, evaluating, diagnosing or treating a
lesser of:                                                                 Sickness, Injury, condition, disease or its symptoms, that are
•   the providers normal charge for a similar service or supply;           all of the following as determined by a Medical Director or
    or                                                                     Review Organization:
•   the planholder-selected percentage of a fee schedule Cigna             •   required to diagnose or treat an illness, Injury, disease or its
    has developed that is based upon a methodology similar to a                symptoms;
    methodology utilized by Medicare to determine the


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•   in accordance with generally accepted standards of medical
    practice;                                                                  New Prescription Drug Product
•   clinically appropriate in terms of type, frequency, extent,                A Prescription Drug Product, or new use or dosage form of a
    site and duration;                                                         previously FDA-approved Prescription Drug Product, for the
•   not primarily for the convenience of the patient, Physician                period of time starting on the date the Prescription Drug
    or Other Health Professional;                                              Product or newly-approved use or dosage form becomes
•   not more costly than an alternative service(s), medication(s)              available on the market following approval by the U.S. Food
    or supply(ies) that is at least as likely to produce equivalent            and Drug Administration (FDA) and ending on the date Cigna
    therapeutic or diagnostic results with the same safety profile             makes a Prescription Drug List coverage status decision.
    as to the prevention, evaluation, diagnosis or treatment of
    your Sickness, Injury, condition, disease or its symptoms;                 HC-DFS1498                                                    07-20
    and
•   rendered in the least intensive setting that is appropriate for
                                                                               Nurse
    the delivery of the services, supplies or medications. Where
    applicable, the Medical Director or Review Organization                    The term Nurse means a Registered Graduate Nurse, a
    may compare the cost-effectiveness of alternative services,                Licensed Practical Nurse or a Licensed Vocational Nurse who
    supplies, medications or settings when determining least                   has the right to use the abbreviation "R.N.," "L.P.N." or
    intensive setting.                                                         "L.V.N."
In determining whether health care services, supplies, or
medications are Medically Necessary, the Medical Director or                   HC-DFS22                                                      04-10
Review Organization may rely on the clinical coverage                                                                                          V1
policies maintained by Cigna or the Review Organization.
Clinical coverage policies may incorporate, without limitation
and as applicable, criteria relating to U.S. Food and Drug                     Other Health Care Facility
Administration-approved labeling, the standard medical                         The term Other Health Care Facility means a facility other
reference compendia and peer-reviewed, evidence-based                          than a Hospital or Hospice Facility. Examples of Other Health
scientific literature or guidelines.                                           Care Facilities include, but are not limited to, licensed skilled
                                                                               nursing facilities, rehabilitation Hospitals and subacute
                                                                               facilities.
HC-DFS1486                                                        01-21


                                                                               HC-DFS1489                                                    01-21
Medicare
The term Medicare means the program of medical care
benefits provided under Title XVIII of the Social Security Act                 Other Health Professional
of 1965 as amended.                                                            The term Other Health Professional means an individual other
                                                                               than a Physician who is licensed or otherwise authorized under
                                                                               the applicable state law to deliver medical services and
HC-DFS17                                                          04-10
                                                                               supplies. Other Health Professionals include, but are not
                                                                    V1
                                                                               limited to physical therapists, registered nurses and licensed
                                                                               practical nurses. Other Health Professionals do not include
Necessary Services and Supplies                                                providers such as Certified First Assistants, Certified
                                                                               Operating Room Technicians, Certified Surgical
The term Necessary Services and Supplies includes any
                                                                               Assistants/Technicians, Licensed Certified Surgical
charges, except charges for Room and Board, made by a
                                                                               Assistants/Technicians, Licensed Surgical Assistants,
Hospital for medical services and supplies actually used
                                                                               Orthopedic Physician Assistants and Surgical First Assistants.
during Hospital Confinement.
The term Necessary Services and Supplies will not include
any charges for special nursing fees, dental fees or medical                   HC-DFS1490                                                    01-21

fees.


HC-DFS1488                                                        01-21




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Participating Provider                                                   a Primary Care Physician with, as authorized by Cigna, to
The term Participating Provider means a person or entity that            provide or arrange for medical care for you or any of your
has a direct or indirect contractual arrangement with Cigna to           insured Dependents.
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has               HC-DFS40                                                     04-10
directly or indirectly contracted with Cigna to arrange, through                                                                        V1
contracts with providers of services and/or supplies, for the
provision of any services and/or supplies, the Charges for
which are Covered Expenses.                                              Psychologist
                                                                         The term Psychologist means a person who is licensed or
                                                                         certified as a clinical psychologist. Where no licensure or
HC-DFS1194                                                  01-19
                                                                         certification exists, the term Psychologist means a person who
                                                                         is considered qualified as a clinical psychologist by a
Patient Protection and Affordable Care Act of 2010                       recognized psychological association. It will also include any
(“PPACA”)                                                                other licensed counseling practitioner whose services are
Patient Protection and Affordable Care Act of 2010 means the             required to be covered by law in the locality where the policy
Patient Protection and Affordable Care Act of 2010 (Public               is issued if he is operating within the scope of his license and
Law 111-148) as amended by the Health Care and Education                 performing a service for which benefits are provided under
Reconciliation Act of 2010 (Public Law 111-152).                         this plan when performed by a Psychologist.


                                                                         HC-DFS26                                                     04-10
HC-DFS412                                                   01-11
                                                                                                                                        V1


Physician
                                                                         Review Organization
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 The term Review Organization refers to an affiliate of Cigna
licensed to prescribe and administer drugs or to perform                 or another entity to which Cigna has delegated responsibility
surgery. It will also include any other licensed medical                 for performing utilization review services. The Review
practitioner whose services are required to be covered by law            Organization is an organization with a staff of clinicians which
in the locality where the policy is issued if he is:                     may include Physicians, Registered Graduate Nurses, licensed
                                                                         mental health and substance use disorder professionals, and
•   operating within the scope of his license; and                       other trained staff members who perform utilization review
•   performing a service for which benefits are provided under           services.
    this plan when performed by a Physician.
                                                                         HC-DFS808                                                    12-15
HC-DFS25                                                    04-10
                                                              V1
                                                                         Room and Board
                                                                         The term Room and Board includes all charges made by a
Preventive Treatment                                                     Hospital for room and meals and for all general services and
The term Preventive Treatment means treatment rendered to                activities needed for the care of registered bed patients.
prevent disease or its recurrence.
                                                                         HC-DFS1481                                                   01-21
HC-DFS57                                                    04-10
                                                              V1



Primary Care Physician
The term Primary Care Physician means a Physician who
qualifies as a Participating Provider in general practice,
internal medicine, family practice OB/GYN or pediatrics; and
who has been voluntarily selected by you and is contracted as


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Sickness – For Medical Insurance                                           factors such as method or site of clinical administration, or
The term Sickness means a physical or mental illness. It also              utilization management requirements based on factors such as
includes pregnancy. Expenses incurred for routine Hospital                 acquisition cost. You may determine whether a medication is a
and pediatric care of a newborn child prior to discharge from              Specialty Prescription Drug Product through the website
the Hospital nursery will be considered to be incurred as a                shown on your ID card or by calling member services at the
result of Sickness.                                                        telephone number on your ID card.


                                                                           HC-DFS858                                                   10-16
HC-DFS50                                                      04-10
                                                                V1

                                                                           Stabilize
Skilled Nursing Facility                                                   Stabilize means, with respect to an Emergency Medical
The term Skilled Nursing Facility means a licensed institution             Condition, to provide medical treatment as necessary to assure
(other than a Hospital, as defined) which specializes in:                  that no material deterioration of the condition is likely if the
                                                                           individual is transferred from a facility, or, with respect to a
•   physical rehabilitation on an inpatient basis; or                      pregnant woman who is having contractions, to deliver.
•   skilled nursing and medical care on an inpatient basis;
but only if that institution: maintains on the premises all                HC-DFS1768                                                  01-23
facilities necessary for medical treatment; provides such
treatment, for compensation, under the supervision of
Physicians; and provides Nurses' services.                                 Terminal Illness
                                                                           A Terminal Illness will be considered to exist if a person
HC-DFS31                                                      04-10
                                                                           becomes terminally ill with a prognosis of six months or less
                                                                V1
                                                                           to live, as diagnosed by a Physician.


Specialist                                                                 HC-DFS54                                                    04-10
                                                                                                                                           V1
The term Specialist means a Physician who provides
specialized services, and is not engaged in general practice,
family practice, internal medicine, obstetrics/gynecology or               Therapeutic Alternative
pediatrics.                                                                A Medical Pharmaceutical that is of the same therapeutic or
                                                                           pharmacological class, and usually can be expected to have
HC-DFS33                                                      04-10
                                                                           similar outcomes and adverse reaction profiles when
                                                                V1
                                                                           administered in therapeutically equivalent doses as, another
                                                                           Medical Pharmaceutical or over-the-counter medication.

Specialty Prescription Drug Product
                                                                           HC-DFS859                                                   10-16
A Medical Pharmaceutical considered by Cigna to be a
Specialty Prescription Drug Product based on consideration of
the following factors, subject to applicable law: whether the              Therapeutic Equivalent
Medical Pharmaceutical is prescribed and used for the                      A Medical Pharmaceutical that is a pharmaceutical equivalent
treatment of a complex, chronic or rare condition; whether the             to another Medical Pharmaceutical or over-the-counter
Medical Pharmaceutical has a high acquisition cost; and,                   medication.
whether the Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or              HC-DFS860                                                   10-16

clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
                                                                           Urgent Care
presence of any one such characteristic does not guarantee that
a Medical Pharmaceutical will be considered a Specialty                    Urgent Care is medical, surgical, Hospital or related health
Prescription Drug Product. Specialty Prescription Drug                     care services and testing which are not Emergency Services,
Products may vary by plan benefit assignment based on                      but which are determined by Cigna, in accordance with


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generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1




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                   Exhibit 10
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                    Kellogg Supply, Inc.

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Mental Health Parity and Addiction Equity Act of 2008 (MHPAEA) -
Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NQTLs) include (to the extent applicable under the plan):
  medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  prescription drug formulary design;
  network admission standards;
  methods for determining In-Network and Non-Network provider reimbursement rates;
  step therapy, a.k.a. fail-first requirements; and
  exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons:
Employers (Plan Administrators): Please contact your Cigna Sales Representative to request the NQTL
comparative analysis.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) which can be located in this booklet immediately following
The Schedule; and pharmacy coverage (whether or not your plan includes pharmacy coverage).




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:

Cigna
Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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Federal CAA - Consolidated Appropriations Act and TIC - Transparency in Coverage Notice
Cigna will make available an internet-based self-service tool for use by individual customers, as well as certain
data in machine-readable file format on a public website, as required under the Transparency in Coverage rule.
Customers can access the cost estimator tool on myCigna.com. Updated machine-readable files can be found on
Cigna.com and/or CignaForEmployers.com on a monthly basis.
Pursuant to Consolidated Appropriations Act (CAA), Section 106, Cigna will submit certain air ambulance
claim information to the Department of Health and Human Services (HHS) in accordance with guidance issued
by HHS.
Subject to change based on government guidance for CAA Section 204, Cigna will submit certain prescription
drug and health care spending information to HHS through Plan Lists Files (P1-P3) and Data Files (D1-D8)
(D1-D2) for an Employer without an integrated pharmacy product aggregated at the market segment and state
level, as outlined in guidance.



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Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.

Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.

Notice Regarding Provider Directories and Provider Networks

A list of network providers and network pharmacies is available, without charge, by visiting the website or
calling the phone number on your health care ID card. The network(s) consist of providers, including hospitals,
of varied specialties as well as general practice, and pharmacies, affiliated or contracted with Cigna or an
organization contracting on its behalf.

Direct Access to Obstetricians and Gynecologists

You do not need prior authorization from the Plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in the network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit the website or contact customer service at the phone number shown
on your ID card.

Selection of a Primary Care Provider




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This Plan allows the designation of a primary care provider. You have the right to designate any primary care
provider who participates in the network and who is available to accept you or your family members. For
information on how to select a primary care provider, and for a list of network primary care providers, visit the
website or contact Member Services at the phone number listed on your ID card. A pediatrician may be
designated as a child's primary care provider.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services

The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.

Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, but some or all of the rebate
value that Cigna earns for certain Prescription Drug Products may, for example, be reflected in the discount,
such as the Prescription Drug Charge, used to assess your deductible, copay or coinsurance payment, if any, for
certain Prescription Drug Products for which Cigna earns a rebate.
Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.

Coupons, Incentives and Other Communications




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At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.

Specialty Prescription Drug Manufacturer Assistance and Support Benefit

Certain Specialty Prescription Drugs on the Prescription Drug List have been classified as non-essential health
benefits (NEHBs) and the cost of such NEHB Specialty Prescription Drugs will not be applied toward satisfying
the Out-of-Pocket Maximum. A list of these NEHB Specialty Prescription Drugs and the applicable Coinsurance
for each NEHB Specialty Prescription Drug can be accessed at www.saveonsp.com/cigna-west.
This list will change from time to time.

If you are prescribed one of these NEHB Specialty Prescription Drugs, you will be contacted by SaveOn SP,
LLC (“SaveOnSP”) and required to enroll in the applicable prescription drug manufacturer assistance or support
program. Once enrolled, you provide SaveOnSP with consent to monitor your account. Any Coinsurance
required for NEHB Specialty Prescription Drugs and/or any Coinsurance remaining after the available
prescription drug manufacturer assistance is applied or is exhausted will be credited, and your Out-of-Pocket
cost share will be reduced to $0.00. In the event you fail to enroll in the applicable prescription drug
manufacturer assistance or support program, or you do not provide consent to SaveOnSP to monitor your
account, you will be responsible for the full required Coinsurance for the NEHB Specialty Prescription Drug
without such payment applying to the Out-of-Pocket Maximum.
In the event you enroll, or attempt to enroll, in the applicable/available prescription drug manufacturer assistance
or support program and are denied any and all prescription drug manufacturer assistance or support due to a
prescription drug manufacturer and/or legal restriction, the required Coinsurance for the NEHB Specialty
Prescription Drugs will be credited and your Out-of-Pocket cost share will be reduced to $0.00, so long as you
have given SaveOnSP consent to monitor your account.
■   About This Plan
Kellogg Supply, Inc. (the Employer) has established an Employee Welfare Benefit Plan within the meaning of
the Employee Retirement Income Security Act of 1974 (ERISA). As of August 1, 2023, the medical and drug
benefits described in this booklet form a part of the Employee Welfare Benefit Plan and are referred to
collectively in this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained pursuant to the
medical and drug benefit terms described in this booklet. The Plan may be amended from time to time.

This booklet takes the place of any other issued to you on a prior date.

Defined terms are capitalized and have specific meaning with respect to medical and drug benefits, see
GLOSSARY.




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The medical and drug benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.

Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission

A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
  performs an act, practice or omission that constitutes fraud; or
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
  an intentional misrepresentation of material fact.




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.

When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.

When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.

Multiple Surgical Reduction
Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges

Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)

Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the in-network cost-sharing level if services are received from a non-
   participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services
   rendered in an out-of-network Hospital, or by an out-of-network provider in an in-network Hospital, is the
   amount agreed to by the out-of-network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan's benefit payment when out-of-network Emergency
   Services result in an inpatient admission is the median amount negotiated with in-network facilities.
The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the in-network cost-sharing level if services are received from
   a non-Participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered air ambulance services
   rendered by an out-of-network provider is the amount agreed to by the out-of-network provider and Cigna, or
   as required by applicable state or Federal law.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Charges for Certain Services
Charges for services furnished by an out-of-network provider in an in-network facility while you are receiving
in-network services at that in-network facility: (i) are payable at the in-network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the out-of-network
provider and Cigna, or as required by applicable state or Federal law.

The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Plan Deductible
The Plan Deductible is the amount of covered medical expenses that must be incurred (paid) by you and/or your
Dependents each calendar year before benefits are payable under this Plan.
Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.
Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.

The Plan Deductible applies to all covered expenses except:
 - expenses that are subject to the Inpatient Hospital Facility Services Per Admission Deductible
- expenses subject to a copay
- expenses for Network Urgent Care Facility (includes all services rendered as part of the visit)
- expenses for Emergency Room (includes all services rendered as part of the visit)
- expenses for contraceptives from a Network or outside the Network area provider
- expenses for mental health Network inpatient professional services
- expenses for substance use disorder Network inpatient professional services
- expenses for mental health Network outpatient office visits
- expenses for mental health Network outpatient services other than office visits
- expenses for substance use disorder Network outpatient office visits
- expenses for substance use disorder Network outpatient services other than office visits
- expenses for Dedicated Virtual Providers MDLive Behavioral Services




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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- expenses for Network provider office visits (office services are separate from the office visit)
  Note: This refers to office visits other than for, if covered under the Plan, mental health and substance use
   disorders.
- expenses for Network Virtual provider office visits
- expenses for lab tests performed in a Network independent facility
- expenses for lab tests performed in a Network outpatient facility
- expenses for x-rays and advanced radiology performed in a Network outpatient facility
- expenses for Network Advanced Cellular Therapy Travel
- expenses for Condition-Specific Care
- expenses for Condition-Specific Care Travel Services
- expenses for MDLIVE Urgent Care Services
- expenses for MDLIVE Primary Care Services
- expenses for MDLIVE Specialty Care Services
- expenses for Convenience Care Clinic

Individual Calendar Year Deductible                                                                      $6,600.00
Family Calendar Year Deductible                                                                        $13,200.00


Inpatient Hospital Facility Services Per Admission Deductible

This Per Admission Deductible is the amount of covered facility charges for each inpatient admission in a
Hospital or other facility that must be incurred (paid) by you and/or your Dependents before the Plan begins
paying benefits for inpatient facility charges. This Per Admission Deductible is separate from the Plan
Deductible, and continues to apply after the Plan Deductible is satisfied.

This Per Admission Deductible does not apply to Hospice or Skilled Nursing Facility inpatient admissions.
Per Admission                                                                                         $500.00

Medical Management Program
Ineligible Expense Penalty per claim                                                                      $250.00


Out-of-Pocket Maximum
Plan Deductible, Inpatient Hospital Facility Services Per Admission Deductible, medical expense copays and
coinsurance amounts paid by you and your covered Dependents accumulate to the Out-of-Pocket Maximum.
Prescription drug deductible and copay amounts paid by you and your covered Dependents accumulate to the
Out-of-Pocket Maximum.
The following expenses do not accumulate to the Out-of-Pocket Maximum:




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Calendar Year Out-of-Pocket Maximum must be met before covered expenses will be payable at
100% for the remainder of that calendar year.

If the Family Calendar Year Out-of-Pocket Maximum is met, then covered expenses for all covered family
Members, even those who have not yet met the Individual Calendar Year Out-of-Pocket Maximum, will be
payable at 100% for the remainder of that calendar year.
Plan Deductible and Inpatient Hospital Services Per Admission Deductible do not apply after the Out-of-Pocket
Maximum has been met.
Medical expense copays do not apply after the Out-of-Pocket Maximum has been met.
Individual Calendar Year Out-of-Pocket Maximum                                                        $6,600.00
Family Calendar Year Out-of-Pocket Maximum                                                           $13,200.00

Benefit Maximum(s)

The benefit maximum(s) shown here are per person (Member), per calendar year, unless otherwise noted.
- Home Health Care Services                                                                        60 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                              60 days
- Outpatient Therapy Services - Physical Therapy                                                       20 visits
- Outpatient Therapy Services - Speech, Hearing and Occupational Therapy                               20 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Gene Therapy - Approved Travel Expenses to and from a network facility               $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                            gene therapy
- Condition-Specific Care Travel Services - Travel amount is a variable flat dollar
amount, up to a travel maximum, based on factors such as a patient's treatment
                                                                                             $600 per procedure
plan, location and duration of facility stay; and subject to program participation
requirements
                                                                                       $10,000.00 per episode of
- Advanced Cellular Therapy Travel
                                                                                       advanced cellular therapy
 (Available only for travel when prior authorized to receive advanced cellular
 therapy from a provider located more than 60 miles of your primary residence
 and is contracted with Cigna for the specific advanced cellular therapy product
 and related services.)

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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- Transplant Services and Related Specialty Care - Approved Travel Expenses (only
                                                                                                       $10,000.00
available when using a Cigna LifeSOURCE Transplant Network® facility)
Lifetime Maximum Benefit for all Covered Expenses                                                      Unlimited


Copays for Covered Expenses
Copays are amounts to be paid by you and/or your Dependents (the Member) for Covered Expenses.
 - Mental Health - Network Outpatient Office Visits (such as individual and group
                                                                                      $30.00
   psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                    $30.00
 - Substance Use Disorders - Network Outpatient Office Visits (such as individual and
                                                                                             $30.00
   group psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                    $30.00
 - Network Convenience Care Clinic                                                           $30.00
 - Virtual Care - Dedicated Virtual Providers
  Dedicated virtual care services may be provided by MDLIVE, a Cigna affiliate.
  Services available through contracted virtual providers as medically appropriate.
  MDLIVE Urgent Care Services                                                                $30.00
  MDLIVE Primary Care Services                                                               $30.00
  MDLIVE Specialty Care Services                                                             $30.00
 - Virtual Care - Virtual Physician Services - Services available through Physicians as
   medically appropriate.
  Primary Care Physicians Virtual Office Visit                                               $30.00
  Specialty Care Physicians Virtual Office Visit                                             $30.00
  Note: Physicians may deliver services virtually that are payable under other benefits
   (e.g., Preventive Care, Outpatient Therapy Services).
                                                                                             $75.00 per day and
 - Network Urgent Care Facility (includes all services rendered as part of the visit)
                                                                                             per provider
 - Emergency Room (includes all services rendered as part of the visit, and this copay is
                                                                                             $300.00
   waived if the visit is immediately followed by an inpatient admission)
 - Other Network Office Visits - Primary Care                                                $30.00
 - Other Network Office Visits - Specialist Care                                             $30.00

The Other Network Office Visits copay does not apply to office visits for contraceptives, preventive care,
chiropractic services, outpatient physical, speech, hearing and occupational therapies.

Coinsurance for all Covered Expenses
“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                         NETWORK           NON-NETWORK
Mental Health - Inpatient                                                70%               Not Covered
Mental Health - Outpatient
 - Office Visits (such as individual, family and group psychotherapy,
                                                                      100%                 Not Covered
   medication management, virtual care)
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%              Not Covered
 - All Other Outpatient Services (such as partial hospitalization,
                                                                         70%               Not Covered
   intensive outpatient services, virtual care)
Substance Use Disorders - Inpatient                                      70%               Not Covered
Substance Use Disorders - Outpatient
 - Office Visits (such as individual, family and group psychotherapy,
                                                                      100%                 Not Covered
   medication management, virtual care)
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%              Not Covered
 - All Other Outpatient Services (such as partial hospitalization,
                                                                         70%               Not Covered
   intensive outpatient services, virtual care)
Preventive Care
 - Preventive Care Office Visits                                         100%              Not Covered
 - Preventive Care Services other than lab tests and x-rays              100%              Not Covered
 - Preventive Care lab tests and x-rays ordered as part of Preventive
                                                                      100%                 Not Covered
   Care and performed in a provider's office
 - Preventive Care lab tests and x-rays ordered as part of Preventive
                                                                      100%                 Not Covered
   Care and performed in an independent or outpatient facility
Office Visits and Office Services
 - Office Visits
  * Primary Care                                                         100%              Not Covered
  * Specialist Care                                                      100%              Not Covered
 - Lab Tests performed in the provider's office
  * Primary Care                                                         70%               Not Covered
  * Specialist Care                                                      70%               Not Covered
 - X-rays performed in the provider's office
  * Primary Care                                                         70%               Not Covered
  * Specialist Care                                                      70%               Not Covered
 - Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
   nuclear medicine) performed in the provider's office
  * Primary Care                                                         70%               Not Covered


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                       NETWORK            NON-NETWORK
  * Specialist Care                                                    70%                Not Covered
 - Office Surgery
  * Primary Care                                                       70%                Not Covered
  * Specialist Care                                                    70%                Not Covered
 - Other Office Services (such as diagnostic services, allergy
   injections)
  * Primary Care                                                       70%                Not Covered
  * Specialist Care                                                    70%                Not Covered
Convenience Care Clinic                                                100%               Not Covered
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
 - Outpatient Facility                                                 70%                Not Covered
 - Outpatient Ancillary Facility Charges                               70%                Not Covered
 - Outpatient Professional Services - Surgeon                          70%                Not Covered
 - Outpatient Professional Services - Other (including but not limited
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      70%                Not Covered
   Based Doctors)
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:
 - Independent Facility                                                100%               Not Covered
 - Outpatient Facility                                                 100%               Not Covered
Outpatient X-rays ordered as part of an Office Visit or outpatient
                                                                       100%               Not Covered
care and performed in an outpatient facility
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
Scan and nuclear medicine) ordered as part of an Office Visit or       100%               Not Covered
outpatient care and performed in an outpatient facility
Outpatient Dialysis Treatment                                          Based on place and Not Covered
                                                                       type of service
Inpatient Hospital
 - Inpatient Facility                                                  70%                Not Covered
 - Inpatient Ancillary Facility Charges                                70%                Not Covered
 - Inpatient Professional Services - Surgeon                           70%                Not Covered
 - Inpatient Professional Services - Radiologist, Pathologist,
                                                                       70%                Not Covered
   Anesthesiologist, other Hospital-Based Doctors
 - Inpatient Professional Services - Doctor Visits/Consultations       70%                Not Covered



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                         NETWORK             NON-NETWORK
Urgent Care Facility (includes all services rendered as part of the
                                                                         100%                Not Covered
visit)
Emergency Room (includes all services rendered as part of the
                                                                         100%                100%
visit)
Air Ambulance                                                            70%                 70%
                                                                                             70% of the
                                                                                             Maximum
Ambulance Services                                                       70%
                                                                                             Reimbursable
                                                                                             Charge
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                    Same as Inpatient   Not Covered
                                                                         Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                            70%                 Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                        Not Covered         Not Covered
 - Other Medical Pharmaceuticals                                         70%                 Not Covered
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                         Same as Medical
- Gene therapy product                                                                       Not Covered
                                                                         Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide        Based on place and
                                                                                            Not Covered
 the specific gene therapy                                               type of service
 * Other Network facilities                                              Not Covered         Not Covered
 * Non-network facilities                                                Not Covered         Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene          100%                Not Covered
therapy
Advanced Cellular Therapy
 Includes prior authorized advanced cellular therapy products and
 related services when Medically Necessary.
                                                                         Same as Medical
- Advanced Cellular Therapy Product                                                          Not Covered
                                                                         Pharmaceuticals
- Inpatient Facility                                                     70%                 Not Covered
- Outpatient Facility                                                    70%                 Not Covered
- Inpatient Professional Services

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                     NETWORK             NON-NETWORK
 * Surgeon                                                           70%                 Not Covered
 * Radiologist, Pathologist, Anesthesiologist                        70%                 Not Covered
- Outpatient Professional Services
 * Surgeon                                                           70%                 Not Covered
 * Radiologist, Pathologist, Anesthesiologist                        70%                 Not Covered
- Advanced Cellular Therapy Travel                                   100%                Not Covered
Home Health Care Services                                            70%                 Not Covered
Skilled Nursing Facility                                             70%                 Not Covered
Hospice Care
 - Inpatient Hospice                                                 Same as Inpatient   Not Covered
                                                                     Hospital
 - Outpatient Hospice                                                Same as Home        Not Covered
                                                                     Health Care
Contraceptives                                                       100%                Not Covered
Family Planning                                                      Based on place and Not Covered
                                                                     type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%                Not Covered
(excluding reversals)
Breast-Feeding Equipment (rental of one breast pump per
pregnancy up to the purchase price, and related supplies, when the   100%                Not Covered
pump is ordered or prescribed by a Doctor)
Durable Medical Equipment                                            70%                 Not Covered
Outpatient Therapy Services - includes in-network coverage for
cognitive therapy, osteopathic manipulation, pulmonary
rehabilitation, cardiac rehabilitation, and:
- Physical Therapy                                                   70%                 Not Covered
- Speech, Hearing and Occupational Therapy                           70%                 Not Covered
- Chiropractic Care Services                                         70%                 Not Covered
 Condition-Specific Care - Includes select Medically Necessary
  preauthorized surgical procedures and services, subject to program
                                                                     100% subject to
  participation requirements. Charges for covered expenses not
                                                                     program
  included in the bundled charge are payable subject to any                              Not Covered
                                                                     participation
  applicable copays, coinsurance, deductible. If you choose not to
                                                                     requirements
  enroll in the program, charges for covered expenses are payable
  subject to any applicable copays, coinsurance, deductible.




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK            NON-NETWORK
 Condition-Specific Care Travel Services - Travel amount is a
  variable flat dollar amount, up to a travel maximum, based on
                                                                       100%                Not Covered
  factors such as a patient's treatment plan, location and duration of
  facility stay; and subject to program participation requirements.
 Transplant Services and Related Specialty Care
 - Medically appropriate, non-experimental transplants
  * Cigna LifeSOURCE Transplant Network ® facilities                    70%                Not Covered
  * Other Network facilities                                            Not Covered        Not Covered
  * Non-network facilities                                              Not Covered        Not Covered
 - Approved Travel Expenses (only available when using a Cigna
                                                                        100%               Not Covered
   LifeSOURCE Transplant Network ® facility)
 Dedicated Virtual Providers
 Dedicated virtual care services may be provided by MDLIVE, a
  Cigna affiliate.
 Services available through contracted virtual providers as medically
  appropriate.
  Notes:
  - Primary Care cost share applies to routine care. Virtual wellness
    screenings are payable under preventive care.
  - MDLIVE Behavioral Services, please refer to the Mental Health
    and Substance Use Disorder section (above).
  - Lab services supporting a virtual visit must be obtained through
    dedicated labs.
MDLIVE Urgent Care Services                                             100%               Not Covered
MDLIVE Primary Care Services                                            100%               Not Covered
MDLIVE Specialty Care Services                                          100%               Not Covered
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
Primary Care Physicians Virtual Office Visit                            100%               Not Covered
Specialty Care Physicians Virtual Office Visit                          100%               Not Covered
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
Other Covered Expenses                                                  70%                Not Covered


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 60%, except as indicated below.

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
- Preventive Care Office Visits                     100%
- Preventive Care Services other than lab tests
                                                    100%
  and x-rays
- Preventive Care lab tests and x-rays ordered as
  part of Preventive Care and performed in:
 * a provider's office                              100%
 * an independent or outpatient facility            100%
- Breast-Feeding Equipment (rental of one
  breast pump per pregnancy up to the purchase
                                                100%
  price, and related supplies, when the pump is
  ordered or prescribed by a Doctor)
- Contraceptives                                    100%
- Ambulance Services                                70%
- Emergency Room (includes all services
                                                    100%
  rendered as part of the visit)
- Transplant and Related Specialty Care
                                                    Not Covered
  Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).
A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.
To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.
You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov) are payable at 100% not subject to any deductible, copay or coinsurance, when
purchased from a Network Pharmacy. A written prescription is required.

FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.

Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.
Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.

As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.
Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.
The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in this Schedule may be reduced in order for Patient Assurance Program discounts earned by Cigna to be
applied or credited to the copay or coinsurance, if any, as described above.



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in this
Schedule for the insulin product. In addition, the covered insulin products eligible for Patient Assurance
Program discounts shall not be subject to the deductible, if any.
Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your out-of-pocket maximum.
Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your out-of-pocket maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.
Deductible

The calendar year deductible is a separate deductible equal to the amount of covered Brand Drug expenses that
must be incurred (paid) by you before benefits are payable under the Plan for prescription drug benefits for
Brand Drug prescriptions. This calendar year deductible applies to all Brand Drug prescriptions. Generic Drugs
are not subject to the drug deductible.
Only Brand Drug prescription expenses that are payable under the drug benefit may be used to satisfy this
deductible. Expenses incurred but not covered under the drug benefit cannot be used to satisfy the drug
deductible.
Per Individual                                                                                        $150.00
Per Family                                                                                            $300.00


Copays

Copays are amounts to be paid by you for covered Prescription Drug Products.
Retail Network Pharmacy - up to a 30-day supply
The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
30-day supply of a Prescription Drug Product purchased at a Network Pharmacy is shown here.


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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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Tier 1 - Generic Drugs on the Prescription Drug List                                              $10.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                        $35.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                    $50.00 copay


Non-Network Pharmacy - not covered
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. If a prescription is filled
at a Non-Network Pharmacy, you must pay 100% of the cost at the time of purchase and submit a
claim for reimbursement. Prescription Drug Products purchased at a Non-Network Pharmacy are
not covered, except as described in COVERED EXPENSES for covered expenses incurred as part
of Emergency Services.


90-Day Retail Network Pharmacy - up to a 90-day supply
The 90-Day Retail option is not available for Specialty Prescription Drug Products.

The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
90-day supply of a Prescription Drug Product purchased at a retail Designated Pharmacy is shown here. Note: In
this context, a retail Designated Pharmacy is a retail Network Pharmacy contracted for dispensing covered
Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per Prescription Order or
Refill.
Tier 1 - Generic Drugs on the Prescription Drug List                                              $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                       $105.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $150.00 copay


Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply

Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.

The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
90-day supply of a Prescription Drug Product purchased at a home delivery Network Pharmacy is shown here.
Tier 1 - Generic drugs on the Prescription Drug List                                              $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                       $105.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $150.00 copay


Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery
Pharmacy.




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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After you satisfy the Deductible, you pay the applicable Retail Network Pharmacy tier copay per
Prescription Order or Refill for up to a consecutive 30-day supply of a Specialty Prescription Drug
Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical and drug benefits, an eligible Employee, as determined by your Employer, is a
person who is in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Cohabiter are eligible to be covered as Employees: A person who is eligible as an
Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered as a
Dependent of only one Employee.
If you are eligible to be covered as an Employee and as a Dependent child of another Employee:
Anyone who is eligible as an Employee will not be considered as an eligible Dependent or Dependent spouse
unless the Dependent or Dependent spouse declines Employee coverage. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be covered as an Employee while also covered as a
Dependent of an Employee.

It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.
Your Dependents must live in the United States to be eligible for coverage.
Eligible Dependents are:
    your legal spouse; or
    your Cohabiter.
    a child under age 26.
Cohabiter

“Cohabiter” means the person of your same gender named in the Cohabiter Affidavit that you have submitted to
and has been approved by the Employer. See the Plan Administrator for more information.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your Cohabiter.
Handicapped/Disabled Child


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ELIGIBILITY___
            - Continued
The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.

Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.

When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.

Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
    For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
    birth; and
    For any other adoptive child, from the date of placement.
Cohabiter Eligibility

If your Employer accepts your Cohabiter Affidavit that has been submitted to and approved by the Employer,
you submit an Application for Membership and make any required contribution, then your Cohabiter and his or
her Dependent children will be covered under this Plan.

You must comply with the Internal Revenue, any applicable regulations, and any applicable state laws pertaining
to the value of benefits provided to your Cohabiter. The benefits your Cohabiter receives generally are treated as
taxable.
■    What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.
Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.

A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights



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WHEN COVERAGE BEGINS & ENDS___
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For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.
If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.
A special enrollment event occurs if:
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under another health
  insurance plan or arrangement and coverage under the other plan was lost as a result of:
  - Exhausting the maximum period of COBRA coverage; or
  - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
    status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
    the service area; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
    meets or exceeds the lifetime maximum for that plan; or
  - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
    class; or
  - Termination of the employer's contribution for the other plan's coverage.
  You must have stated in writing that the other health coverage was the reason you declined coverage under
  this Plan, but only if the Employer required such a statement and notified you of the consequences of the
  requirement when you declined coverage.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
  Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
  this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
  enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
  terminated.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
  state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
  request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
  Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
  assistance.
  You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
  do so and later experience a change in family status because you acquire a Dependent through marriage, birth
  or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
  Dependents.
If you apply within 30 days of the date:
  Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
  under the other plan.
  You acquire a new Dependent, coverage will start:
  - In the case of marriage, on the date of marriage.
  - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.

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WHEN COVERAGE BEGINS & ENDS___
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If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.
All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage Under California Family Rights Act (CFRA) Leave

If the Employer approves your CFRA Leave, coverage under the Plan will continue during your leave. You may
be eligible for a CFRA leave to attend to any of the following:
    The birth or adoption of your child; or
    Placement of a child in your custody for foster care; or
    To care for your spouse, child, or parent with a serious health condition; or
    Your serious Illness that makes you unable to perform the functions of your job. For the purpose of leave
    provided under CFRA, your own serious Illness will not include pregnancy or medical conditions related to
    pregnancy or childbirth.
Contributions must be paid by you and the Employer. If contributions are not paid, your coverage will cease.
However, on the date you return to work, coverage will be on the same basis as that provided for any active
Member on that date. If you have questions about Family and Medical Leave, see the Plan Administrator.
If you are also eligible to continue coverage under the federal FMLA law, then the continuation of coverage
periods under the Federal FMLA and CFRA will run concurrently.

Pregnancy Disability Leave

If you:
    Are employed in California; and

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WHEN COVERAGE BEGINS & ENDS___
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    Are a female Employee who is unable to Work due to childbirth, pregnancy, or related medical conditions;
Then you may be eligible for disability leave under California Government Code Section 12945.
If you are eligible for leave under California Government Code Section 12945, coverage under the Plan will
continue during your leave. Contributions must be paid by you and your Employer.
For more information about disability leave under California Government Code Section 12945, please see your
Plan Administrator for details.

Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES,
CONTINUATION OF COVERAGE - FMLA and CONTINUATION OF COVERAGE - COBRA.
■    Can Coverage Be Reinstated?
If your coverage ended because of termination of your Service, you may be eligible for reinstatement of
coverage if you return to Service within 3 months after the date your coverage ended.
On the date you return to Service, coverage for you and your eligible Dependents will be on the same basis as
that provided for any other active Employee and his or her Dependents as of that date. However, any restrictions
on your coverage that were in effect before your reinstatement will still apply.
See USERRA RIGHTS AND RESPONSIBILITIES for information about reinstatement of coverage upon
return from leave for military service.




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OPEN ACCESS PLUS MEDICAL BENEFITS___
■    How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.

When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.
You and your covered Dependents are encouraged, but are not required, to select a Primary Care Physician
(PCP) in the network. The PCP provides care and can assist with arranging and coordinating care. You and your
covered Dependents may obtain covered services from providers who are designated as specialists without
getting PCP approval. To select or change a PCP, contact Member Services at the phone number or website
address shown on the Member ID card.

Medical Management Program

Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.
As used in this provision “you” refers to the covered Member.
Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.

If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.
You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.

Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.
Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.

Certain services and supplies require pretreatment authorization, including, but not limited to:
    Air Ambulance, when used for non-Emergency Medical Conditions.
    Durable medical equipment, based on type of equipment.
    Genetic testing.

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 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)
The MEDICAL BENEFITS SCHEDULE shows deductibles and copays, as well as any Plan maximums and
Plan coinsurance payment percentages.
The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.

All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit

Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:




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  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then non-network Hospital charges will not be covered and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then non-network Doctor charges will not be covered.
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then non-network Doctor charges will not be covered.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Primary Care includes Preventive Care and care rendered by Doctors who agree to serve as Primary Care
Physicians. In general, Primary Care Physicians include Doctors in the fields of General Practice, Family
Practice, Pediatrics and Internal Medicine. OB/GYNs are also included. Members may determine a provider's
classification by using the member web site or by calling Member Services.

Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.

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  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

Breast Reconstruction and Breast Prostheses

The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.

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See the PRESCRIPTION DRUG BENEFIT for information on coverage of contraceptives purchased from a
licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies. Elective abortions are also covered.

Infertility Testing

The Plan covers diagnostic testing for the purpose of diagnosing infertility.

Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.
In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.
Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.

Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.
A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.
Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.

A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.
Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders


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The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.

In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.

A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.

A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.
Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.


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  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.
Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.
Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following: Multiple therapy services provided on the same day
constitute one day of service for each therapy type.

Home Health Care Services




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The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.
Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.

Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.
Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.
Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;
  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;



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but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.
Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Condition-Specific Care

The Plan covers select Medically Necessary preauthorized surgical procedures and services that may be eligible
for Condition-Specific Care that may include bundling certain charges into a streamlined claim approach that
may reduce out-of-pocket costs.
Contact Cigna at the phone number on your ID card to be directed to the program for a list of services and
supplies included and excluded under the program, and to enroll in the program.
To participate in the program, you must enroll in the program prior to surgery; fulfill your responsibilities under
the program; receive your surgical services from a qualifying provider who participates in the program. This
Plan must be your primary medical plan for coordination of benefits purposes.

If all program requirements are met, and subject to Plan terms and conditions, the bundled charge will be
payable under the Plan as shown in the Condition-Specific Care information in the Schedule.
Charges for covered expenses not included in the bundled charge are payable subject to any applicable copays,
coinsurance, and deductible.

If you choose not to enroll in the program, charges for covered expenses are payable subject to any applicable
copays, coinsurance, and deductible.
Condition-Specific Care Travel Services - Charges for non-taxable travel expenses incurred by you in
connection with a preapproved procedure or service under the program are covered subject to the following
conditions and limitations. Benefits for transportation and lodging are available to you only if you are the
recipient of a preapproved procedure or service under the program from a designated program provider.
The term “recipient” is defined to include a person receiving authorized procedures or services under the
program.



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The travel benefit is designed to offset the recipient's travel expenses, including charges for: transportation to
and from the procedure or service site; and lodging while at, or traveling to and from, the procedure or service
site.
In addition, the travel benefit is designed to offset travel expenses for charges associated with the items above
for one companion to accompany you. The term companion incudes your spouse, a member of your family, your
legal guardian, or any person not related to you, but actively involved as your caregiver who is at least 18 years
of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income; travel costs incurred due to travel within 60 miles of your home, depending on the procedure being
performed; food and meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for
transportation that exceed coach class rates.

Transplant Services and Related Specialty Care

The Plan covers charges for human organ and tissue transplant services, which include solid organ and bone
marrow/stem cell procedures at designated facilities throughout the United States of its territories. This coverage
is subject to the following conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures for
artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane oxygenation (ECMO)
ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are not covered.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the Network level.
Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.



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  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network ® facility.
  The term recipient is defined to include a person receiving authorized transplant related services during any of
  the following: evaluation, candidacy, transplant event, or post-transplant care.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network ® facility); and lodging while at,
  or traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs.

Advanced Cellular Therapy

Charges for advanced cellular therapy products and services directly related to their administration are covered
when Medically Necessary. Coverage includes the cost of the advanced cellular therapy product; medical,
surgical, and facility services directly related to administration of the advanced cellular therapy product, and
professional services.
Cigna determines which U.S. Food and Drug Administration (FDA) approved products are in the category of
advanced cellular therapy, based on the nature of the treatment and how it is manufactured, distributed and
administered. An example of advanced cellular therapy is chimeric antigen receptor (CAR) T-cell therapy that
redirects a person's T cells to recognize and kill a specific type of cancer cell.
Advanced cellular therapy products and their administration are covered at the in-network benefit level when
prior authorized to be received at a provider contracted with Cigna for the specific advanced cellular therapy
product and related services. Advanced cellular therapy products and their administration received from a
provider that is not contracted with Cigna for the specific advanced cellular therapy product and related services
are not covered.

Advanced Cellular Therapy Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a prior authorized advanced
cellular therapy product are covered, subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when:
  you are the recipient of a prior authorized advanced cellular therapy product;

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  the term recipient is defined to include a person receiving prior authorized advanced cellular therapy related
  services during any of the following: evaluation, candidacy, event, or post care;
  the advanced cellular therapy products and services directly related to their administration are received at a
  provider contracted with Cigna for the specific advanced cellular therapy product and related services; and
  the provider is not available within a 60 mile radius of your primary home residence.
Travel expenses for the person receiving the advanced cellular therapy include charges for: transportation to and
from the advanced cellular therapy site (including charges for a rental car used during a period of care at the
facility); and lodging while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 mile radius of your primary home residence; food and
meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for transportation that exceed
coach class rates.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.
Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.

Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.




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Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.

Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.
Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.
Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.


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Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling

The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.

Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.



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The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).
  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
     the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
     both of the following conditions are met:
     * the study or investigation has been reviewed and approved through a system of peer review comparable to
        the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
        and
     * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.
  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.


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Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.
  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Virtual Care
Dedicated Virtual Providers
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring by dedicated virtual providers as medically appropriate through audio, video and secure internet-
based technologies.
Includes charges for the delivery of mental health and substance use disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as appropriate through audio, video and secure internet-based
technologies.
Virtual Physician Services
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring as medically appropriate through audio, video and secure internet-based technologies that are similar
to office visit services provided in a face-to-face setting.
Includes charges for the delivery of real-time mental health and substance use disorder consultations and
services, via secure telecommunications technologies that shall include video capability, telephone and internet,
when such consultations and services are delivered by a behavioral provider and are similar to office visit
services provided in a face-to-face setting.



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PRESCRIPTION DRUG BENEFITS___
■    What's Covered? (Covered Expenses)
As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on which of the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.

The drug benefit includes coverage of contraceptives.
Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.

When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.
Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.

Deductible - Your Plan requires that you pay the costs for covered Prescription Drug Products up to the
deductible amount set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Until you meet that
deductible amount, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy will be the lowest of the following amounts:
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
The SCHEDULE sets forth your costs for covered Prescription Drug Products after you have satisfied the
deductible amount.
Copay - Your Plan requires that you pay a copay for covered Prescription Drug Products as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual deductible set forth in
the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy and that is subject to a copay requirement will be the lowest of the following amounts:
    the copay for the Prescription Drug Product set forth in the SCHEDULE; or
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.




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PRESCRIPTION DRUG BENEFITS___
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Payments at Non-Network Pharmacies - Any reimbursement due to you under this Plan for a covered
Prescription Drug Product dispensed by a non-network Pharmacy may be determined by applying the non-
network pharmacy copay and/or coinsurance amount set forth in the PRESCRIPTION DRUG BENEFITS
SCHEDULE to the average wholesale price (or “AWP”), or other benchmark price Cigna applies, for a
Prescription Drug Product dispensed by a non-network Pharmacy. Your reimbursement, if any, for a covered
Prescription Drug Product dispensed by a non-network Pharmacy will never exceed the average wholesale price
(or other benchmark price applied by Cigna) for the Prescription Drug Product.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.

You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.

Prescription Drug List Management

Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.
The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date tier status, utilization management, or other coverage limitations for a Prescription Drug
Product.



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PRESCRIPTION DRUG BENEFITS___
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New Prescription Drug Products

New Prescription Drug Products may or may not be placed on a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in the Schedule.

Prior Authorization Requirements

Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.
When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.
If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.

If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.

Step Therapy




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PRESCRIPTION DRUG BENEFITS___
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Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.

Supply Limits

Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.
Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.

Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.

Specialty Clinical Days' Supply

Specialty clinical days' supply is designed to improve customer adherence and satisfaction while reducing the
waste of Specialty Prescription Drug Products resulting from changes in prescription drug therapy. Specialty
clinical days' supply uses clinical guidelines, customer experience, financial considerations, and Cigna's home
delivery pharmacy expertise to establish an optimum maximum days' supply for each fill of a Specialty
Prescription Drug Product. The maximum days' supply of a Specialty Prescription Drug product, dispensed by a
Cigna designated specialty pharmacy, may be limited to less than the home delivery days' supply maximum
indicated in The Schedule depending on the drug, condition, and demonstrated patient stability on prescription
drug therapy.

Designated Pharmacies

If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which you are not obligated to pay and/ or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible and /or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense without Cigna's express
    consent.
  - charges of a non-Participating Provider who has agreed to charge you at an in-network benefits level or
    some other benefits level not otherwise applicable to the services received.
  - In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
    right to:
    * require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient
       to Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
       Cigna.
    * deny the payment of benefits in connection with the Covered Expense regardless of whether the provider
       or the Pharmacy represents that you remain responsible for any amounts that your plan does not cover, or
    * reduce the benefits in proportion to the amount of the Deductible, Copay or Coinsurance amount(s)
       waived, discounted, forgiven or reduced, regardless of whether the provider or Pharmacy represents that
       you remain responsible for any amounts that the Plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.

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  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.
  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or urgent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
  not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
  evaluations, unless otherwise covered under this plan.
  court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
  service or supply under this Plan.
  medical and Hospital care costs for the child of your Dependent child, unless the child is otherwise eligible
  under this Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. However, charges made for a continuous course of dental treatment for an accidental Injury to teeth
  are covered.

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 for medical and surgical services, initial and repeat, intended for the treatment or control of obesity including
 clinically severe (morbid) obesity, including: medical and surgical services to alter appearance or physical
 changes that are the result of any surgery performed for the management of obesity or clinically severe
 (morbid) obesity; and weight loss programs or treatments, whether prescribed or recommended by a Doctor or
 under medical supervision.
 infertility testing (except as described in the Infertility Testing provision), infertility services, infertility drugs,
 surgical or medical treatment programs for infertility, including in-vitro fertilization, gamete intrafallopian
 transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of these procedures, and any costs associated
 with the collection, washing, preparation or storage of sperm for artificial insemination (including donor fees).
 Cryopreservation of donor sperm and eggs are also excluded from coverage.
 reversal of male and female voluntary sterilization procedures.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 acupuncture.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs or smoking cessation programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.

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  fees associated with the collection, storage or donation of blood or blood products, except for autologous
  donation in anticipation of scheduled services when medical management review determines the likelihood of
  excess blood loss is such that transfusion is an expected adjunct to surgery.
  blood administration for the purpose of general improvement in physical condition.
  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  all nutritional supplements, formulae, enteral feedings, supplies and specially formulated medical foods,
  whether prescribed and not, except as specifically provided in the “Enteral Nutrition” benefit.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).
  any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
  prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.


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 medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
 medications used to promote hair growth, and fade cream products.
 Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
 lost, stolen, broken or destroyed.
 Prescription Drug Products used for the treatment of infertility.
 Medical Pharmaceuticals covered solely under the Plan's medical benefit.
 Prescription Drug Products used for the treatment of male or female sexual dysfunction, including but not
 limited to erectile dysfunction, delayed ejaculation, anorgasmy, hypoactive sexual desire disorder and
 decreased libido.
 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis unless specifically identified on the Prescription Drug List.
 immunization agents, virus detection testing, virus antibody testing, biological products for allergy
 immunization, biological sera, blood, blood plasma and other blood products or fractions unless specifically
 identified on the Prescription Drug List.
 smoking cessation medications, except those required by federal law to be covered as PPACA Preventive Care
 Medications.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.
For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.
You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.




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Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.
If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations

When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.




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If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations

When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination




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Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.
Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure

To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.




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Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.

In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.
You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.
If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.
When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal




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Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.
This provision does not apply to your Prescription Drug Benefits.
Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.

Definitions



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For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.
  “Claim Determination Period” means a calendar year, but does not include any part of a year during which you
  are not covered under this Plan or any date before this provision or any similar provision takes effect.




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  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.

When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan

The Coordination of Benefits provision is applied throughout each Claim Determination Period.



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If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.
When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.



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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner, Cohabiters as defined in the
Plan. However, when Medicare coverage is due to disability, the Disability payer explanations above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions




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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.
No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.
Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.

Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.

Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.



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Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician

A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition



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A medical condition, including a mental health condition or substance use disorder, manifesting itself by acute
symptoms of sufficient severity (including severe pain) such that a prudent layperson, who possesses an average
knowledge of health and medicine, could reasonably expect the absence of immediate medical attention to result
in placing the health of the individual (or, with respect to a pregnant woman, the health of the woman or her
unborn child) in serious jeopardy; serious impairment to bodily functions; or serious dysfunction of a bodily part
or organ.

Emergency Services

With respect to an Emergency Medical Condition, a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital or emergency department, as are required to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  Kellogg Supply, Inc.; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.

Generic Drug




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GLOSSARY___
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A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

Maintenance Drug Product

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A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

The Maximum Reimbursable Charge does not apply to Emergency Services.
When the provider is a network provider, the covered expense amount is determined based on a fee agreed upon
with the provider.
If the provider is not a network provider, the Maximum Reimbursable Charge for covered expenses is
determined based on the lesser of:
  the provider's normal charge for a similar service or supply;
  the amount agreed to by the Out-of-Network provider and Cigna, or
  a percentile of charges made by providers of such service or supply in the geographic area where it is received
  as compiled in a database selected by Cigna. If sufficient charge data is unavailable in the database for that
  geographic area to determine the Maximum Reimbursable Charge, then state, regional or national charge data
  may be used. If sufficient charge data is unavailable in the database for that geographic area to determine the
  Maximum Reimbursable Charge, then data in the database for similar services may be used.
The percentile used to determine the Maximum Reimbursable Charge can be obtained by contacting Member
Services.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.

Some providers forgive or waive the cost share obligation (such as any deductible, copay, coinsurance) that this
Plan requires you to pay. Waiver of your required cost share obligation can jeopardize your coverage under this
Plan. For more details, see the BENEFIT LIMITATIONS section.

Medical Pharmaceutical

Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

Medically Necessary/Medical Necessity




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Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies

The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy

A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.



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New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication

The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

Pharmacy




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A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical and drug benefits described in this booklet.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug List

A list that categorizes drugs, Biologics (including Biosimilars) or other products covered under the Plan's
Prescription Drug Benefit that have been approved by the U.S. Food and Drug Administration (FDA) into
coverage tiers. This list is adopted by your Employer as part of the Plan. The list is subject to periodic review
and change, and is subject to the limitations and exclusions of the Plan. You may determine to which tier a
particular Prescription Drug Product has been assigned through the website shown on your ID card or by calling
Customer Service at the telephone number on your card.

Prescription Drug Product

A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.
Prescription Order or Refill

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The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Review Organization

The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product

A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by tier
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize

With respect to an Emergency Medical Condition, to provide medical treatment as necessary to assure that no
material deterioration of the condition is likely if the individual is transferred from a facility, or, with respect to a
pregnant woman who is having contractions, to deliver.

Terminal Illness

A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

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Therapeutic Alternative

A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees
Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents
Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical and prescription drug coverage that you (the
Employee) had in effect for yourself and your Dependents.

“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical and Prescription Drug Coverage

Under USERRA, you are eligible to elect continued medical and prescription drug coverage for yourself and
your Dependents when you terminate Service with the Employer for the purpose of Uniformed Service.
The Employer should establish reasonable procedures for electing continued medical and prescription drug
coverage and for payment of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.
However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage
If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
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Period of Continued Coverage
During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.
Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.
COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.
To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.
For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.
After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
                                             - Continued
A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction in the Employee's work hours to below 30 hours per week, even if it does not result in the
  employee losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child
  intend to enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage
  is effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  Employee: enrollment in an Exchange Marketplace qualified health plan (QHP) when the Employee is eligible
  for a special enrollment period to enroll in a QHP through an Exchange (Marketplace) or the Employee seeks
  to enroll in a QHP through an Exchange during the Marketplace's annual open enrollment period, and the
  disenrollment from the group plan corresponds to the intended enrollment of the Employee and family in a
  QHP through a Marketplace for new coverage effective beginning no later than the day immediately following
  the last day of the original coverage.
  Family: A plan may allow an Employee to revoke family coverage midyear in order for family members
  (“related individuals”) to enroll in a QHP through an Exchange (Marketplace). The related individual(s) must
  be eligible for a special enrollment period to enroll in a QHP or seek to enroll in a QHP during the
  Marketplace's annual open enrollment period, and the disenrollment from the group plan corresponds to the
  intended enrollment of the individual(s) in a QHP for new coverage effective beginning no later than the day
  immediately following the last day of the original coverage. If the Employee does not enroll in a QHP, the
  Employee must select self-only coverage or family coverage including one or more already-covered
  individuals.

Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: Kellogg Supply, Inc.
The name, address, ZIP code and business telephone number of the Employer is:
  Kellogg Supply, Inc.
  350 West Sepulveda Blvd.
  Carson, CA 90745
  310-952-5001
The Employer Identification Number (EIN) is: XX-XXXXXXX
The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above
The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.
Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.




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ERISA GENERAL INFORMATION___
                          - Continued
The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending July 31.
The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.

Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.


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STATEMENT OF ERISA RIGHTS___
                          - Continued
Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries

In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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                   Exhibit 11
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  Epidaurus DBA Amity
  Foundation



   OPEN ACCESS PLUS IN-NETWORK




  EFFECTIVE DATE: July 1, 2023




  CN012
  3344395




  This document printed in August, 2023 takes the place of any documents previously issued to you which
  described your benefits.



  Printed in U.S.A.
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                                                                                  Home Office: Bloomfield, Connecticut
                                                                         Mailing Address: Hartford, Connecticut 06152




 CIGNA HEALTH AND LIFE INSURANCE COMPANY
 a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
 provided by the following policy(s):




 POLICYHOLDER: Epidaurus DBA Amity Foundation



 GROUP POLICY(S) — COVERAGE
 3344395 - OAIN OPEN ACCESS PLUS IN-NETWORK



 EFFECTIVE DATE: July 1, 2023




 This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
 the policy(s). If questions arise, the policy(s) will govern.
 This certificate takes the place of any other issued to you on a prior date which described the insu rance.




 HC-CER5                                                                                                   04-10
                                                                                                             V2
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                              Monday through Friday. In addition, your employer, a claim
                                                                              office or a utilization review program (see the PAC/CSR
Special Plan Provisions                                                       section of your certificate) may refer an individual for Case
Participating Providers include Physicians, Hospitals and                     Management.
Other Health Professionals and Other Health Care Facilities.
                                                                             The Review Organization assesses each case to determine
Consult your Physician Guide for a list of Participating
                                                                              whether Case Management is appropriate.
Providers in your area. Participating Providers are committed
to providing you and your Dependents appropriate care while                  You or your Dependent is contacted by an assigned Case
lowering medical costs.                                                       Manager who explains in detail how the program works.
                                                                              Participation in the program is voluntary - no penalty or
Services Available in Conjunction With Your Medical
                                                                              benefit reduction is imposed if you do not wish to
Plan
                                                                              participate in Case Management.
The following pages describe helpful services available in
                                                                             Following an initial assessment, the Case Manager works
conjunction with your medical plan. You can access these
                                                                              with you, your family and Physician to determine the needs
services by calling the toll-free number shown on the back of
                                                                              of the patient and to identify what alternate treatment
your ID card.
                                                                              programs are available (for example, in-home medical care
                                                                              in lieu of an extended Hospital convalescence). You are not
HC-SPP63                                                      01-20           penalized if the alternate treatment program is not followed.
                                                                             The Case Manager arranges for alternate treatment services
Case Management                                                               and supplies, as needed (for example, nursing services or a
                                                                              Hospital bed and other Durable Medical Equipment for the
Case Management is a service provided through a Review                        home).
Organization, which assists individuals with treatment needs
that extend beyond the acute care setting. The goal of Case                  The Case Manager also acts as a liaison between the insurer,
Management is to ensure that patients receive appropriate care                the patient, his or her family and Physician as needed (for
in the most effective setting possible whether at home, as an                 example, by helping you to understand a complex medical
outpatient, or an inpatient in a Hospital or specialized facility.            diagnosis or treatment plan).
Should the need for Case Management arise, a Case                            Once the alternate treatment program is in place, the Case
Management professional will work closely with the patient,                   Manager continues to manage the case to ensure the
his or her family and the attending Physician to determine                    treatment program remains appropriate to the patient's
appropriate treatment options which will best meet the                        needs.
patient's needs and keep costs manageable. The Case Manager               While participation in Case Management is strictly voluntary,
will help coordinate the treatment program and arrange for                Case Management professionals can offer quality, cost-
necessary resources. Case Managers are also available to                  effective treatment alternatives, as well as provide assistance
answer questions and provide ongoing support for the family               in obtaining needed medical resources and ongoing family
in times of medical crisis.                                               support in a time of need.
Case Managers are Registered Nurses (RNs) and other
credentialed health care professionals, each trained in a
                                                                          HC-SPP2                                                         04-10
clinical specialty area such as trauma, high risk pregnancy and
                                                                                                                                            V1
neonates, oncology, mental health, rehabilitation or general
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the
Case Manager recommends alternate treatment programs and
helps coordinate needed resources, the patient's attending
Physician remains responsible for the actual medical care.
   You, your dependent or an attending Physician can request
    Case Management services by calling the toll-free number
    shown on your ID card during normal business hours,


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Additional Programs                                                         or contact customer service at the phone number listed on the
We may, from time to time, offer or arrange for various                     back of your ID card.
entities to offer discounts, benefits, or other consideration to            For children, you may designate a pediatrician as the primary
our members for the purpose of promoting the general health                 care provider.
and well being of our members. We may also arrange for the
reimbursement of all or a portion of the cost of services
                                                                            HC-NOT5                                                       01-11
provided by other parties to the Policyholder. Contact us for
details regarding any such arrangements.
                                                                            Important Information
HC-SPP3                                                       04-10         Mental Health Parity and Addiction Equity Act
                                                                   V1       The Certificate is amended as stated below:
                                                                            In the event of a conflict between the provisions of your plan
Care Management and Care Coordination Services                              documents and the provisions of this notice, the provisions
Cigna may enter into specific collaborative arrangements with               that provide the better benefit shall apply.
health care professionals committed to improving quality care,              Visit Limits:
patient satisfaction and affordability. Through these
collaborative arrangements, health care professionals commit                Any health care service billed with a Mental Health or
to proactively providing participants with certain care                     Substance Use Disorder diagnosis, will not incur a visit limit,
management and care coordination services to facilitate                     including but not limited to genetic counseling.
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health                  HC-NOT93                                                      08-17
care professionals in these collaborative arrangements.

                                                                            Important Information
HC-SPP27                                                      06-15
                                                                            Rebates and Other Payments
                                                                   V1
                                                                            Cigna or its affiliates may receive rebates or other
                                                                            remuneration from pharmaceutical manufacturers in
                                                                            connection with certain Medical Pharmaceuticals covered
Important Notices                                                           under your plan and Prescription Drug Products included on
Direct Access to Obstetricians and Gynecologists                            the Prescription Drug List. These rebates or remuneration are
                                                                            not obtained on you or your Employer’s or plan’s behalf or for
You do not need prior authorization from the plan or from any
                                                                            your benefit.
other person (including a primary care provider) in order to
obtain access to obstetrical or gynecological care from a health            Cigna, its affiliates and the plan are not obligated to pass these
care professional in our network who specializes in obstetrics              rebates on to you, or apply them to your plan’s Deductible if
or gynecology. The health care professional, however, may be                any or take them into account in determining your
required to comply with certain procedures, including                       Copayments and/or Coinsurance. Cigna and its affiliates or
obtaining prior authorization for certain services, following a             designees may conduct business with various pharmaceutical
pre-approved treatment plan, or procedures for making                       manufacturers separate and apart from this plan’s Medical
referrals. For a list of participating health care professionals            Pharmaceutical and Prescription Drug Product benefits. Such
who specialize in obstetrics or gynecology, visit                           business may include, but is not limited to, data collection,
www.mycigna.com or contact customer service at the phone                    consulting, educational grants and research. Amounts received
number listed on the back of your ID card.                                  from pharmaceutical manufacturers pursuant to such
                                                                            arrangements are not related to this plan. Cigna and its
Selection of a Primary Care Provider
                                                                            affiliates are not required to pass on to you, and do not pass on
This plan generally allows the designation of a primary care                to you, such amounts.
provider. You have the right to designate any primary care
                                                                            Coupons, Incentives and Other Communications
provider who participates in the network and who is available
to accept you or your family members. For information on                    At various times, Cigna or its designee may send mailings to
how to select a primary care provider, and for a list of the                you or your Dependents or to your Physician that
participating primary care providers, visit www.mycigna.com                 communicate a variety of messages, including information
                                                                            about Medical Pharmaceuticals and Prescription Drug
                                                                            Products. These mailings may contain coupons or offers from


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pharmaceutical manufacturers that enable you or your                    Cigna:
Dependents, at your discretion, to purchase the described                  Provides free aids and services to people with disabilities to
Medical Pharmaceutical and Prescription Drug Product at a                   communicate effectively with us, such as:
discount or to obtain it at no charge. Pharmaceutical
                                                                             Qualified sign language interpreters
manufacturers may pay for and/or provide the content for
these mailings. Cigna, its affiliates and the plan are not                   Written information in other formats (large print, audio,
responsible in any way for any decision you make in                           accessible electronic formats, other formats)
connection with any coupon, incentive, or other offer you may              Provides free language services to people whose primary
receive from a pharmaceutical manufacturer or Physician.                    language is not English, such as
If Cigna determines that a Pharmacy, pharmaceutical                          Qualified interpreters
manufacturer or other third party is or has waived, reduced, or
                                                                             Information written in other languages
forgiven any portion of the charges and/or any portion of
Copayment, Deductible, and/or Coinsurance amount(s) you                 If you need these services, contact customer service at the toll-
are required to pay for a Prescription Drug Product without             free phone number shown on your ID card, and ask a
Cigna’s express consent, then Cigna in its sole discretion shall        Customer Service Associate for assistance.
have the right to deny the payment of plan benefits in                  If you believe that Cigna has failed to provide these services
connection with the Prescription Drug Product, or reduce the            or discriminated in another way on the basis of race, color,
benefits in proportion to the amount of the Copayment,                  national origin, age, disability or sex, you can file a grievance
Deductible, and/or Coinsurance amounts waived, forgiven or              by sending an email to ACAGrievance@cigna.com or by
reduced, regardless of whether the Pharmacy, pharmaceutical             writing to the following address:
manufacturer or other third party represents that you remain
                                                                            Cigna
responsible for any amounts that your plan does not cover. In
                                                                            Nondiscrimination Complaint Coordinator
the exercise of that discretion, Cigna shall have the right to
                                                                            P.O. Box 188016
require you to provide proof sufficient to Cigna that you have
                                                                            Chattanooga, TN 37422
made your required cost share payment(s) prior to the payment
of any benefits by the plan.                                            If you need assistance filing a written grievance, please call
                                                                        the number on the back of your ID card or send an email to
For example, if you use a coupon provided by a
                                                                        ACAGrievance@cigna.com. You can also file a civil rights
pharmaceutical manufacturer or other third party that
                                                                        complaint with the U.S. Department of Health and Human
discounts the cost of a Prescription Drug Product, Cigna may,
                                                                        Services, Office for Civil Rights electronically through the
in its sole discretion, reduce the benefits up to the amount of
                                                                        Office for Civil Rights Complaint Portal, available at:
the incentive, which may be 100% if the incentive covers
                                                                        https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
100%. This includes any amount of the Copayment,
                                                                        phone at:
Deductible, and/or Coinsurance amounts to which the value of
the coupon has been applied by the Pharmacy or other third                  U.S. Department of Health and Human Services
party. The amount of the incentive will be excluded from                    200 Independence Avenue, SW
accumulation toward any plan Deductible or Out-of-Pocket                    Room 509F, HHH Building
Maximum if the value of any coupon was applied to any                       Washington, D.C. 20201
Copayment, Deductible and/or Co-insurance you are required                  1-800-368-1019, 800-537-7697 (TDD)
to pay.                                                                 Complaint forms are available at
                                                                        http://www.hhs.gov/ocr/office/file/index.html.
HC-IMP267                                                   08-19
                                                              V3        HC-NOT96                                                       07-17



Discrimination is Against the Law                                       Proficiency of Language Assistance Services
Cigna complies with applicable Federal civil rights laws and            English – ATTENTION: Language assistance services, free
does not discriminate on the basis of race, color, national             of charge, are available to you. For current Cigna customers,
origin, age, disability or sex. Cigna does not exclude people or        call the number on the back of your ID card. Otherwise, call
treat them differently because of race, color, national origin,         1.800.244.6224 (TTY: Dial 711).
age, disability or sex.
                                                                        Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                        idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                        Cigna, llame al número que figura en el reverso de su tarjeta


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de identificación. Si no lo es, llame al 1.800.244.6224 (los         identyfikacyjnej. Wszystkie inne osoby prosimy o
usuarios de TTY deben llamar al 711).                                skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。                                        Japanese –
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                      注意事項：日本語を話される場合、無料の言語支援サー
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                ビスをご利用いただけます。現在のCignaの
Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp             お客様は、IDカード裏面の電話番号まで、お電話にてご
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của               連絡ください。その他の方は、1.800.244.6224（TTY:
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp        711）まで、お電話にてご連絡ください。
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).                   Italian – ATTENZIONE: Sono disponibili servizi di
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                    assistenza linguistica gratuiti. Per i clienti Cigna attuali,
                                                                     chiamare il numero sul retro della tessera di identificazione.
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                       In caso contrario, chiamare il numero 1.800.244.6224 (utenti
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                          TTY: chiamare il numero 711).
                                                                     German – ACHTUNG: Die Leistungen der
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                   Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
(TTY: 다이얼 711)번으로 전화해주십시오.                                           Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
                                                                     Nummer auf der Rückseite Ihrer Krankenversicherungskarte
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                  an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
tulong sa wika nang libre. Para sa mga kasalukuyang customer         Sie 711).
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).
                                                                     HC-NOT97                                                    07-17



                                                                     Special Plan Provisions
                                                                     The Cigna 24-Hour Health Information Line
                                                                     The 24-Hour Health Information Line (HIL) assists you in
French Creole – ATANSYON: Gen sèvis èd nan lang ki                   understanding the right level of treatment at the right time.
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki          Trained Nurses provide health and medical information and
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                    assist you to choose the most appropriate care resource. Our
(TTY: Rele 711).                                                     Health Information Line Nurses identify level of care
French – ATTENTION: Des services d’aide linguistique vous            resources in the individual’s area (emergency, urgent,
sont proposés gratuitement. Si vous êtes un client actuel de         Physician, home/self-care), provide general health information
Cigna, veuillez appeler le numéro indiqué au verso de votre          (preventive care, illness condition definitions, diagnostic and
carte d’identité. Sinon, veuillez appeler le numéro                  surgical procedures, etc.), and can help you find network
1.800.244.6224 (ATS : composez le numéro 711).                       providers. You can call the Health Information Line and get
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                  live support 24 hours a day, 7 days a week. Dial the number
assistência linguística, totalmente gratuitos. Para clientes         on the back of your Cigna ID card and you’ll be connected
Cigna atuais, ligue para o número que se encontra no verso do        directly to a Specialist trained as a Nurse who is ready to help
seu cartão de identificação. Caso contrário, ligue para              answer your health questions.
1.800.244.6224 (Dispositivos TTY: marque 711).                       Appointment Scheduling
Polish – UWAGA: w celu skorzystania z dostępnej,                     You should have access to timely appointments and
bezpłatnej pomocy językowej, obecni klienci firmy Cigna              scheduling. The following guidelines represent both the plan’s
mogą dzwonić pod numer podany na odwrocie karty



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and the state of California’s requirements for appointment               Accessing Health Care
accessibility with Participating Providers:                              To contact the Department of Insurance, for complaints
   Emergent or high risk cases should have access to                    regarding your ability to access health care in a timely
    immediate appointments, appropriate emergency room                   manner, write or call:
    authorization or direction to dial 911.                                Consumer Affairs Division
   Urgent cases not requiring prior-authorization should have             California Department of Insurance
    access to appointments within 24 hours of the appointment              Ronald Reagan Building
    request.                                                               300 South Spring Street
   If services must be prior authorized, appointments should be           Los Angeles, CA 90013
    offered concurrent with the prior authorization request and            Calling within California: 1-800-927-4357
    the appointment should be provided within 96 hours of the              Los Angeles Area and Outside California: 1-213-897-
    appointment request.                                                   8921
   Non-urgent, symptomatic or routine appointments with a               The Department of Insurance should be contacted only
    PCP should be scheduled within 10 days of the appointment            after discussions with the insurer have failed to produce a
    request.                                                             satisfactory resolution to the problem.
   Non-urgent, symptomatic or routine appointments with a               PLEASE READ THE FOLLOWING INFORMATION
    Specialist should be scheduled within 15 days of the                 SO YOU WILL KNOW FROM WHOM OR WHAT
    appointment request.                                                 GROUP OF PROVIDERS HEALTH CARE MAY BE
   Preventive screenings and physicals should be scheduled              OBTAINED
    within 30 days of the appointment request.                           Participating Providers
   Non-urgent appointments for ancillary services for the               Copayment, Deductible, and Coinsurance options reflect the
    diagnosis or treatment of Injury or Sickness, or other health        amount the covered person will pay for In-Network and Out-
    condition should be scheduled within 15 days of the                  of-Network benefits. In-Network benefits require use of
    appointment request.                                                 Participating Providers or facilities in the Service Area. Cigna
   Non-urgent appointments with a non-Physician mental                  recommends use of Participating Providers and facilities, as
    health care provider should be scheduled within 10 business          member out-of-pocket costs could be lower than when using
    days of the appointment request.                                     non-Participating Providers.
   Average waiting time in the office should not exceed 30              Service Area
    minutes.                                                             The term Service Area means the area in which Cigna has a
   When it is necessary for you or a health care professional to        Participating Provider network. Cigna's national network of
    reschedule an appointment, the appointment shall be                  Participating Providers is within the United States. Cigna's
    promptly rescheduled in a manner that is appropriate for             toll-free care line personnel can provide you with the names of
    your health care needs, and ensures continuity of care               Participating Providers. If you or your Dependents need
    consistent with good professional practice.                          medical care, you may obtain a listing of Participating
   The applicable waiting time for a particular appointment             Providers by calling the number on your ID card. A listing of
    may be extended if the referring or treating provider, or the        Participating Providers can also be found at www.cigna.com.
    health professional providing triage or screening services,          Away From Home Care
    has determined and noted in the relevant record that a               If you or your Dependents need medical care while away from
    longer wait time will not have a detrimental impact on your          home, you may have access to a national network of
    health.                                                              Participating Providers through Cigna's Away-From-Home
                                                                         Care feature. Call the number on your ID card for the names
                                                                         of Participating Providers in other network areas.
                                                                         Emergency Services
                                                                         Benefits for services and supplies received outside the Service
                                                                         Area are covered only for medical emergencies and other
                                                                         urgent situations where treatment could not have been
                                                                         reasonably delayed until the insured person was able to return
                                                                         to the United States.




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To contact the Department of Insurance, write or call:                  choice regarding available coverage. For more information,
    Consumer Affairs Division                                           please call the number on your ID card.
    California Department of Insurance                                  If you believe your HIPAA rights have been violated, you
    Ronald Reagan Building                                              should contact the CA Department of Insurance or visit the
    300 South Spring Street                                             Department’s web site.
    Los Angeles, CA 90013                                               Discrimination is Against the Law
    Calling within California: 1-800-927-4357
    Los Angeles Area and Outside California: 1-213-897-8921             Cigna complies with applicable Federal civil rights laws and
                                                                        does not discriminate on the basis of race, color, national
The Department of Insurance should be contacted only after              origin, age, disability, or sex. Cigna also does not discriminate
discussions with the insurer have failed to produce a                   on the basis of race, color, national origin, ancestry, religion,
satisfactory resolution to the problem.                                 sex, marital status, gender, gender identity, sexual orientation
Your Rights Under HIPAA If You Lose Group Coverage                      age or disability.
Federal law known as the Health Insurance Portability and               Cigna:
Accountability Act of 1996 (HIPAA) protects health insurance               Provides free aids and services to people with disabilities to
coverage for workers and their families when they change or                 communicate effectively with us, such as:
lose their jobs. California law provides similar and additional
                                                                             qualified sign language interpreters.
protections. If you lose group health insurance coverage and
meet certain criteria, you are entitled to purchase individual               written information in other formats (large print, audio,
health coverage (non-group) from any health plan that sells                   accessible electronic formats, other formats).
individual coverage for hospital, medical or surgical benefits.            Provides free language services to people whose primary
Every health plan that sells individual health coverage for                 language is not English, such as:
these benefits must offer individual coverage to an eligible
                                                                             qualified interpreters.
person under HIPAA. The health plan cannot reject your
application if: you are an eligible person under HIPAA; you                  information written in other languages.
agree to pay the required premiums; and you live or work                If you need these services, contact customer service at the toll-
inside the plan's service area. To be considered an eligible            free number shown on your ID card, and ask a Customer
person under HIPAA you must meet the following                          Service Associate for assistance.
requirements:
                                                                        If you believe that Cigna has failed to provide these services
   you have 18 or more months of creditable coverage without           or discriminated in another way on the basis of race, color,
    a break of 63 days or more between any of the periods of            national origin, ancestry, religion, sex, marital status, gender,
    creditable coverage or since your most recent coverage was          gender identity, sexual orientation age or disability, you can
    terminated;                                                         file a grievance by sending an email to the Nondiscrimination
   your most recent creditable coverage was a group,                   Complaint Coordinator at ACAGrievance@Cigna.com or by
    government or church plan that provided hospital, medical           writing to the following address:
    or surgical benefits. (COBRA and Cal-COBRA are                          Cigna
    considered group coverage);                                             Nondiscrimination Complaint Coordinator
   you were not terminated from your most recent creditable                PO Box 188016
    coverage due to nonpayment of premiums or fraud;                        Chattanooga, TN 37422
                                                                            You may also call the number on the back of your ID card
   you are not eligible for coverage under a group health plan,
                                                                            or 1-800-244-6224
    Medicare, or Medicaid (Medi-Cal);
                                                                            Fax: 866-254-9406
   you have no other health insurance coverage; and
                                                                        If you need assistance filing a written grievance, please call
   you have elected and exhausted any continuation coverage            the number on the back of your ID card or send an email to
    you were offered under COBRA or Cal-COBRA.                          ACAGrievance@Cigna.com. You can also file a civil rights
There are important choices you need to make in a very short            complaint with the U.S. Department of Health and Human
time frame regarding the options available to you following             Services, Office for Civil Rights electronically through the
termination of your group health care coverage. You should              Office for Civil Rights Complaint Portal, available at
read carefully all available information regarding HIPAA                https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
coverage so you can understand fully the special protections of         phone at:
HIPAA coverage and make an informed comparison and




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    U.S. Department of Health and Human Services                          application for insurance or statement of claim containing any
    200 Independence Avenue, SW                                           materially false information; or conceals for the purpose of
    Room 509F, HHH Building                                               misleading, information concerning any material fact thereto,
    Washington, DC 20201                                                  commits a fraudulent insurance act.
    1-800-368-1019, 1-800-537-7697 (TDD)
Complaint forms are available at                                          HC-CLM25                                                    01-11
http://www.hhs.gov/ocr/office/file/index.html.                                                                                            V11



HC-IMP241                                                    06-18

                                                               V1         Eligibility - Effective Date
                                                                          Employee Insurance
How To File Your Claim                                                    This plan is offered to you as an Employee.
If your plan provides coverage when care is received only                 Eligibility for Employee Insurance
from In-Network providers, you may still have Out-of-                     You will become eligible for insurance on the day you
Network claims (for example, when Emergency Services are                  complete the waiting period if:
received from an Out-of-Network provider) and should follow
                                                                             you are in a Class of Eligible Employees; and
the claim submission instructions for those claims. Claims can
be submitted by the provider if the provider is able and willing             you are an eligible, full-time Employee; and
to file on your behalf. If the provider is not submitting on your            you normally work at least 30 hours a week; and
behalf, you must send your completed claim form and
                                                                             you pay any required contribution.
itemized bills to the claims address listed on the claim form.
                                                                          If you were previously insured and your insurance ceased, you
You may get the required claim forms from the website listed
                                                                          must satisfy the Waiting Period to become insured again. If
on your identification card or by using the toll-free number on
                                                                          your insurance ceased because you were no longer employed
your identification card.
                                                                          in a Class of Eligible Employees, you are not required to
CLAIM REMINDERS                                                           satisfy any waiting period if you again become a member of a
 BE SURE TO USE YOUR MEMBER ID AND                                       Class of Eligible Employees within one year after your
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                      insurance ceased.
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                   Eligibility for Dependent Insurance
  YOUR CIGNA CLAIM OFFICE.
                                                                          You will become eligible for Dependent Insurance on the later
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                of:
    BENEFIT IDENTIFICATION CARD.
                                                                             the day you become eligible for yourself; or
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
                                                                             the day you acquire your first Dependent.
    YOUR BENEFIT IDENTIFICATION CARD.
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                          Waiting Period
    ON THE BACK OF THE CLAIM FORM CAREFULLY
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     The first day of the month following 60 days from date of hire.
Timely Filing of Out-of-Network Claims                                    Classes of Eligible Employees
Cigna will consider claims for coverage under our plans when              Each Employee as reported to the insurance company by your
proof of loss (a claim) is submitted within 180 days for Out-             Employer.
of-Network benefits after services are rendered. If services are          Effective Date of Employee Insurance
rendered on consecutive days, such as for a Hospital
                                                                          You will become insured on the date you elect the insurance
Confinement, the limit will be counted from the last date of
                                                                          by signing an approved payroll deduction or enrollment form,
service. If claims are not submitted within 180 days for Out-
                                                                          as applicable, but no earlier than the date you become eligible.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                       You will become insured on your first day of eligibility,
                                                                          following your election, if you are in Active Service on that
WARNING: Any person who knowingly and with intent to
                                                                          date, or if you are not in Active Service on that date due to
defraud any insurance company or other person files an
                                                                          your health status.


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Late Entrant - Employee                                                     Important Information About Your
You are a Late Entrant if:                                                  Medical Plan
   you elect the insurance more than 30 days after you become
                                                                            Details of your medical benefits are described on the
    eligible; or
                                                                            following pages.
   you are eligible for coverage through a guarantee
                                                                            Opportunity to Select a Primary Care Physician
    association and you elect the insurance more than 60 days
    after you become eligible; or                                           Choice of Primary Care Physician:
   you again elect it after you cancel your payroll deduction (if          This medical plan does not require that you select a Primary
    required).                                                              Care Physician or obtain a referral from a Primary Care
                                                                            Physician in order to receive all benefits available to you
Dependent Insurance                                                         under this medical plan. Notwithstanding, a Primary Care
                                                                            Physician may serve an important role in meeting your health
For your Dependents to be insured, you will have to pay the                 care needs by providing or arranging for medical care for you
required contribution, if any, toward the cost of Dependent                 and your Dependents. For this reason, we encourage the use of
Insurance.                                                                  Primary Care Physicians and provide you with the opportunity
Effective Date of Dependent Insurance                                       to select a Primary Care Physician from a list provided by
Insurance for your Dependents will become effective on the                  Cigna for yourself and your Dependents. If you choose to
date you elect it by signing an approved payroll deduction                  select a Primary Care Physician, the Primary Care Physician
form (if required), but no earlier than the day you become                  you select for yourself may be different from the Primary Care
eligible for Dependent Insurance. All of your Dependents as                 Physician you select for each of your Dependents.
defined will be included.                                                   Changing Primary Care Physicians:
Your Dependents will be insured only if you are insured.                    You may request a transfer from one Primary Care Physician
Late Entrant – Dependent                                                    to another by contacting us at the member services number on
                                                                            your ID card. Any such transfer will be effective on the first
You are a Late Entrant for Dependent Insurance if:                          day of the month following the month in which the processing
   you elect that insurance more than 30 days after you                    of the change request is completed.
    become eligible for it; or                                              In addition, if at any time a Primary Care Physician ceases to
   you are a Dependent who has lost or will lose coverage                  be a Participating Provider, you or your Dependent will be
    under Medi-Cal, the Healthy Families Program (HFP), or                  notified for the purpose of selecting a new Primary Care
    the Access for Infants and Mothers Program (AIM) and you                Physician.
    elect the insurance more than 60 days after you become                  Direct Access for OB/GYN Services:
    eligible and you declined coverage during your initial
    enrollment period by signing a Declination of Medical                   Female insureds covered by this plan are allowed direct access
    Coverage form, provided by your Employer; or                            to a licensed/certified Participating Provider for covered
                                                                            OB/GYN services. There is no requirement to obtain an
   you again elect it after you cancel your payroll deduction (if          authorization from your Primary Care Physician for visits to
    required).                                                              the Participating Provider of your choice for pregnancy, well-
Exception for Newborns and Adopted Children                                 woman gynecological exams, primary and preventive
Any Dependent child born or placed for adoption, while you                  gynecological care, and acute gynecological conditions.
are insured will become insured on the date of his birth or                 Direct Access for Treatment of Certain Reproductive and
placement for adoption, if you elect Dependent Insurance no                 Sexual Health Care Services
later than 31 days after his birth or placement for adoption. If            Insureds covered by this plan are allowed direct access to a
you do not elect to insure your newborn child or child placed               licensed/certified Participating Provider for covered
for adoption within 31 days, coverage for that child will end               reproductive and sexual health care services. There is no
on the 31st day. No benefits for expenses incurred beyond the               requirement to obtain an authorization from your Primary
31st day will be payable.                                                   Care Physician for visits to the Participating Provider of your
                                                                            choice for:
HC-ELG219                                                      01-19           care related to the prevention or treatment of pregnancy,
                                                                 V1             including sterilization and abortion;




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   diagnosis or treatment related to an infectious, contagious or
    communicable disease, including public health conditions
    and sexually transmitted diseases;
   diagnosis and treatment related to rape, including the
    collection of medical evidence;
   diagnosis and treatment for sexual assault, including the
    collection of medical evidence with regard to the alleged
    sexual assault; and
   diagnosis and treatment for HIV and other tests.
Direct Access for Mental Health and Substance Use Disorder
Services:
Insureds covered by this plan are allowed direct access to a
licensed/certified Participating Provider for covered mental
health and substance use disorder services. There is no
requirement to obtain an authorization from your Primary
Care Physician for individual or group therapy visits to a
Participating Provider for mental health and substance use
disorder services.


HC-IMP252                                                       01-19




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
For You and Your Dependents

Open Access Plus In-Network Medical Benefits provide coverage for care In-Network. To receive Open Access Plus In-
Network Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for
services and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate, or you do not have timely access to, an In-Network Provider in your area who can provide you
with a service or supply that is covered under this plan, you may use an Out-of-Network Provider. If you call the number
on the back of your I.D. card to obtain assistance with your Out-of-Network Provider coverage, Cigna may negotiate Out-
of-Network billed charges on your behalf with the Out-of-Network Provider. If you contact Cigna and do obtain
authorization for services provided by an Out-of-Network Provider, Cigna will arrange for those services and benefits for
those services will be covered at the In-Network benefit level. Otherwise, they may be covered at an Out-of-Network cost
share.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
(Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
excluding any In-Network copay or coinsurance; or (ii) the amount payable under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Lifetime Maximum                                                             Unlimited
The Percentage of Covered                                                       80%
Expenses the Plan Pays
Calendar Year Deductible
  Individual                                                             $1,500 per person
  Family Maximum                                                         $3,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual deductible and then their
  claims will be covered under the
  plan coinsurance; if the family
  deductible has been met prior to
  their individual deductible being
  met, their claims will be paid at the
  plan coinsurance.




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Out-of-Pocket Maximum
  Individual                                            $3,000 per person
  Family Maximum                                        $6,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at
  100%; if the family Out-of-Pocket
  has been met prior to their
  individual Out-of-Pocket being met,
  their claims will be paid at 100%.
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-                              Yes
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs                                Yes
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
  .




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BENEFIT HIGHLIGHTS                                         IN-NETWORK

Physician’s Services
  Primary Care Physician’s Office                   $20 per visit copay, then 100%
  Visit


  Specialty Care Physician’s Office                 $20 per visit copay, then 100%
  Visit
  Consultant and Referral Physician’s
  Services


      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with
      Cigna on an In-Network basis.
  Surgery Performed in the
  Physician’s Office
      Primary Care Physician                        $20 per visit copay, then 100%
      Specialty Care Physician                      $20 per visit copay, then 100%
  Second Opinion Consultations
  (provided on a voluntary basis)
      Primary Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician's                    $20 per visit copay, then 100%
      Office Visit
  Allergy Treatment/Injections

      Primary Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician’s                    $20 per visit copay, then 100%
      Office Visit
  Allergy Serum (dispensed by the
  Physician in the office)
      Primary Care Physician                                    100%
      Specialty Care Physician                                  100%




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BENEFIT HIGHLIGHTS                                                    IN-NETWORK

Virtual Care
 Dedicated Virtual Providers
 Services available through contracted
 virtual providers as medically
 appropriate.

 Virtual Care Services for minor                               $20 per visit copay, then 100%
 medical conditions
 Virtual Wellness Screenings                                                100%


 Virtual Physician Services
 Services available through
 Physicians as medically appropriate.

 Note:
 Preventive services covered at the
 preventive level.
 Primary Care Physician's Office Visit                         $20 per visit copay, then 100%
 Specialty Care Physician’s Office                             $20 per visit copay, then 100%
 Visit
 .
Preventive Care
  Routine Preventive Care - all ages                                        100%
 Immunizations - all ages                                                   100%
 .
Mammograms, PSA, PAP Smear
  Preventive Care Related Services                                          100%
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit & lab benefit; based on place of service
  “non-routine” services)


Inpatient Hospital - Facility Services                           Plan deductible, then 80%


Bed and Board Limit
  Semi-Private Room                                      Limited to the semi-private negotiated rate
  Private Room                                           Limited to the semi-private negotiated rate

  Special Care Units (ICU/CCU)                                 Limited to the negotiated rate




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BENEFIT HIGHLIGHTS                                                IN-NETWORK

Outpatient Facility Services
Operating Room, Recovery Room,                               Plan deductible, then 80%
Procedures Room, Treatment Room
and Observation Room
Inpatient Hospital Physician’s                               Plan deductible, then 80%
Visits/Consultations
Inpatient Professional Services                              Plan deductible, then 80%
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Outpatient Professional Services                             Plan deductible, then 80%
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient                      $50 per visit copay, then 100%
  Facility
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.



  Advanced Radiological Imaging               $100 per scan copay, then $50 per visit copay, then 100%
  (i.e. MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the UC visit
  The scan copay applies per type of
  scan per day




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Emergency Services
  Hospital Emergency Room                                         100%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.


  Advanced Radiological Imaging                       $100 per scan copay, then 100%
  (i.e. MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit
  The scan copay applies per type of
  scan per day
Ambulance                                                Plan deductible, then 80%


Inpatient Services at Other Health                       Plan deductible, then 80%
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  60 days combined
Laboratory Services
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Outpatient Hospital Facility                                    100%
  Independent Lab Facility                                        100%
Radiology Services
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Outpatient Hospital Facility                                    100%




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BENEFIT HIGHLIGHTS                                                      IN-NETWORK

Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)

  The scan copay applies per type of
  scan per day
  Primary Care Physician’s Office                  $100 per scan copay, then $20 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                $100 per scan copay, then $20 per visit copay, then 100%
  Visit

  Inpatient Facility                                              Plan deductible, then 80%

  Outpatient Facility                                $100 per scan copay, then plan deductible, then 80%

Outpatient Therapy Services and
Chiropractic Services
  Calendar Year Maximum:
  100 days for all therapies combined
  (The limit is not applicable to
  mental health conditions.)
  Note:
  The Outpatient Therapy Services
  maximum does not apply to the
  treatment of autism.


  Includes:
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Chiropractic Therapy (includes
  Chiropractors)
  Primary Care Physician’s Office                              $20 per visit copay*, then 100%
  Visit
  Specialty Care Physician’s Office                            $20 per visit copay*, then 100%
  Visit
                                        *Note:
                                        Outpatient Therapy Services copay applies, regardless of place of service,
                                        including the home.
  .




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Outpatient Cardiac Rehabilitation
  Calendar Year Maximum:
  36 days
  Primary Care Physician’s Office                    $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                  $20 per visit copay, then 100%
  Visit
Home Health Care Services
  Calendar Year Maximum:                                Plan deductible, then 80%
  100 days (includes outpatient
  private nursing when approved as
  Medically Necessary)
 (The limit is not applicable to
 Mental Health and Substance Use
 Disorder conditions.)
 .
Hospice
  Inpatient Services                                    Plan deductible, then 80%
  Outpatient Services                                   Plan deductible, then 80%
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                             Plan deductible, then 80%
  Outpatient                                            Plan deductible, then 80%
Services provided by Mental Health                 Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Physician’s Office                                             100%

  Home Care                                             Plan deductible, then 80%

  Inpatient Facility                                    Plan deductible, then 80%
  Outpatient Facility                                   Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                                      IN-NETWORK

 Gene Therapy
 Includes prior authorized gene
 therapy products and services
 directly related to their
 administration, when Medically
 Necessary.
 Gene therapy must be received at an
 In-Network facility specifically
 contracted with Cigna to provide the
 specific gene therapy. Gene therapy
 at other In-Network facilities is not
 covered.
 Gene Therapy Product                                     Covered same as Medical Pharmaceuticals
 Inpatient Facility                                                Plan deductible, then 80%
 Outpatient Facility                                               Plan deductible, then 80%
 Inpatient Professional Services                                   Plan deductible, then 80%
 Outpatient Professional Services                                  Plan deductible, then 80%
 Travel Maximum:                                                              100%
 $10,000 per episode of gene therapy      (available only for travel when prior authorized to receive gene therapy at a
                                         participating In-Network facility specifically contracted with Cigna to provide
 .                                                                  the specific gene therapy)




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Maternity Care Services
  Initial Visit to Confirm Pregnancy
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  All subsequent Prenatal Visits,                        Plan deductible, then 80%
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  Delivery - Facility                                    Plan deductible, then 80%
  (Inpatient Hospital, Birthing Center)

Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office                                 100%
  Visit
  Specialty Care Physician’s Office                               100%
  Visit
  Inpatient Facility                                              100%
  Outpatient Facility                                             100%
  Inpatient Professional Services                                 100%

  Outpatient Professional Services                                100%
  .




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a
  physician. Diaphragms also are
  covered when services are provided
  in the physician’s office.
      Primary Care Physician                                      100%
      Specialty Care Physician                                    100%
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
      Primary Care Physician’s                                    100%
      Office Visit
      Specialty Care Physician’s                                  100%
      Office Visit
      Inpatient Facility                                          100%
      Outpatient Facility                                         100%
      Inpatient Professional Services                             100%
      Outpatient Professional                                     100%
      Services
      .
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
      Primary Care Physician                          $20 per visit copay, then 100%
      Specialty Care Physician                        $20 per visit copay, then 100%
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
      Primary Care Physician’s                        $20 per visit copay, then 100%
      Office Visit
      Specialty Care Physician’s                      $20 per visit copay, then 100%
      Office Visit
      Inpatient Facility                                 Plan deductible, then 80%
      Outpatient Facility                                Plan deductible, then 80%
      Inpatient Professional Services                    Plan deductible, then 80%
      Outpatient Professional                            Plan deductible, then 80%
      Services
      .


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BENEFIT HIGHLIGHTS                                                                IN-NETWORK

Infertility Services
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
         Primary Care Physician                                         $20 per visit copay, then 100%

         Specialty Care Physician                                       $20 per visit copay, then 100%
    Inpatient Facility                                                     Plan deductible, then 80%
    Outpatient Facility                                                    Plan deductible, then 80%
    Inpatient Professional Services                                        Plan deductible, then 80%
    Outpatient Professional Services                                       Plan deductible, then 80%
  Lifetime Maximum:
  Unlimited
  Includes all related services billed
  with an infertility diagnosis (i.e. x-
  ray or lab services billed by an
  independent
  .             facility).
Organ Transplants
Includes all medically appropriate,
non-experimental transplants
    Primary Care Physician’s Office                                     $20 per visit copay, then 100%
    Visit
    Specialty Care Physician’s Office                                   $20 per visit copay, then 100%
    Visit
    Inpatient Facility                                100% at LifeSOURCE center, otherwise plan deductible, then 80%
    Inpatient Professional Services                   100% at LifeSOURCE center, otherwise plan deductible, then 80%
  Lifetime Travel Maximum:                                 100% (only available when using LifeSOURCE facility)
  $10,000 per transplant
Durable Medical Equipment                                                  Plan deductible, then 80%
Calendar Year Maximum:
Unlimited




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BENEFIT HIGHLIGHTS                                             IN-NETWORK

External Prosthetic Appliances                             Plan deductible, then 80%
Calendar Year Maximum:
Unlimited
Hearing Aids                                               Plan deductible, then 80%
  1 Per ear Maximum per individual
  every 3 years

. $2,500
Diabetic Equipment                                         Plan deductible, then 80%
Calendar Year Maximum:
Unlimited
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Primary Care Physician’s Office                       $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                     $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                       Plan deductible, then 80%
  Outpatient Facility                                      Plan deductible, then 80%
  Inpatient Professional Services                          Plan deductible, then 80%
  Outpatient Professional Services                         Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                           IN-NETWORK

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office                     $20 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit

  Inpatient Facility                                     Plan deductible, then 80%

  Outpatient Facility                                    Plan deductible, then 80%

  Inpatient Professional Services                        Plan deductible, then 80%

   Outpatient Professional Services                      Plan deductible, then 80%
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury
to teeth.
   Primary Care Physician’s Office                    $20 per visit copay, then 100%
   Visit
  Specialty Care Physician’s Office                   $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                     Plan deductible, then 80%
  Outpatient Facility                                    Plan deductible, then 80%
  Inpatient Professional Services                        Plan deductible, then 80%
  Outpatient Professional Services                       Plan deductible, then 80%




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BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Obesity/Bariatric Surgery
Note:
Coverage is provided subject to
medical necessity and clinical
guidelines subject to any limitations
shown in the “Exclusions, Expenses
Not Covered and General Limitations”
section of this certificate.
  Primary Care Physician’s Office                                  $20 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                                $20 per visit copay, then 100%
  Visit
  Inpatient Facility                                                 Plan deductible, then 80%
  Outpatient Facility                                                Plan deductible, then 80%
  Inpatient Professional Services                                    Plan deductible, then 80%

  Outpatient Professional Services                                   Plan deductible, then 80%

Surgical Professional Services
Lifetime Maximum:
Unlimited

Notes:
  Includes charges for surgeon only;
   does not include radiologist,
   anesthesiologist, etc.
.
Routine Foot Disorders                    Not covered except for services associated with foot care for diabetes,
                                          peripheral neuropathies and peripheral vascular disease when Medically
                                          Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Mental Health
  Inpatient                                          Plan deductible, then 80%

  Includes Acute Inpatient and
  Residential Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $20 per visit copay, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited




  Outpatient - All Other Services                             100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Includes coverage for Applied
  Behavioral Analysis (ABA) for the
  treatment of autism.

  Calendar Year Maximum:
  Unlimited




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Substance Use Disorder
  Inpatient                                          Plan deductible, then 80%

  Includes Acute Inpatient
  Detoxification, Acute Inpatient
  Rehabilitation and Residential
  Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $20 per visit copay, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited
  Outpatient - All Other Services                             100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Calendar Year Maximum:
  Unlimited




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Open Access Plus In-Network Medical                                          Covered Expenses
Benefits                                                                     The term Covered Expenses means expenses incurred by a
                                                                             person while covered under this plan for the charges listed
Prior Authorization/Pre-Authorized                                           below for:
The term Prior Authorization means the approval that a                          preventive care services, and
Participating Provider must receive from the Review
                                                                                services or supplies that are Medically Necessary for the
Organization, prior to services being rendered, in order for
                                                                                 care and treatment of an Injury or a Sickness, as determined
certain services and benefits to be covered under this policy.
                                                                                 by Cigna.
Services that require Prior Authorization are covered services
                                                                             As determined by Cigna, Covered Expenses may also include
in the following categories:
                                                                             all charges made by an entity that has directly or indirectly
   inpatient Hospital services, except for 48/96 hour maternity             contracted with Cigna to arrange, through contracts with
    stays;                                                                   providers of services and/or supplies, for the provision of any
   inpatient services at any participating Other Health Care                services and/or supplies listed below. Any applicable
    Facility;                                                                Copayments, Deductibles or limits are shown in The
                                                                             Schedule.
   residential treatment;
                                                                             Covered Expenses
   outpatient facility services;
                                                                              charges for inpatient Room and Board and other Necessary
   partial hospitalizations;
                                                                               Services and Supplies; made by a Hospital; subject to the
   advanced radiological imaging;                                             limits as shown in The Schedule.
   non-emergency Ambulance;                                                    charges for licensed Ambulance service to the nearest
   certain Medical Pharmaceuticals;                                             Hospital where the needed medical care and treatment can
   transplant services;                                                         be provided.

   speech, occupational and physical therapy;                                  charges for outpatient medical care and treatment received
                                                                                 at a Hospital.
   Applied Behavior Analysis (ABA);
                                                                                charges for outpatient medical care and treatment received
   infertility services;                                                        at a Free-Standing Surgical Facility.
   durable medical equipment;                                                  charges for Emergency Services.
   Home Health Care Services;                                                  charges for Urgent Care.
   home infusion services;                                                     charges made by a Physician or a Psychologist for
   back/spine procedures;                                                       professional services.
   ear devices;                                                                charges made by a Nurse for professional nursing service.
   oral pharynx procedures;                                                    charges made for anesthetics, including, but not limited to
   orthotics and prosthetics;                                                   supplies and their administration.
   radiation therapy;                                                          charges for diagnostic x-ray.
   sleep management; genetic testing; or                                       charges for advanced radiological imaging, including for
                                                                                 example:
   musculoskeletal pain management services.
                                                                                  CT Scans, MRI, MRA and PET scans and laboratory
                                                                                   examinations, x-ray, radiation therapy and radium and
HC-PRA48                                                        01-22              radioactive isotope treatment and other therapeutic
                                                                  V2               radiological procedures.
                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
                                                                                charges for oxygen and other gases and their administration.




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   charges made for Medically Necessary foot care for                      charges made for hearing aids and associated exam for
    diabetes, peripheral neuropathies and peripheral vascular                device testing and fitting, including but not limited to semi-
    disease.                                                                 implantable hearing devices, audiant bone conductors and
   charges made for or in connection with mammograms for                    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    breast cancer screenings or diagnostic purposes including,               any device that amplifies and delivers speech and other
    but not limited to: a baseline mammogram for women age                   sounds at levels equivalent to that of normal speech and
    35, but less than 40; a mammogram for women age 40, but                  conversation.
    less than 50, every two years or more, if Medically                  Dedicated Virtual Providers
    Necessary and if recommended by a Physician, nurse                    charges for the delivery of medical and health-related
    practitioner or a nurse midwife; and a mammogram every                 services and consultations by dedicated virtual providers as
    year for women age 50 and over.                                        medically appropriate through audio, video and secure
   charges made for an annual Papanicolaou laboratory                     internet-based technologies.
    screening test.                                                      Virtual Physician Services
   charges for the screening and diagnosis of prostate cancer,           charges for the delivery of medical and health-related
    including, but not limited to, Medically Necessary prostate-           services and consultations as medically appropriate through
    specific antigen (PSA) testing and digital rectal                      audio, video and secure internet-based technologies that are
    examinations.                                                          similar to office visit services provided in a face-to-face
   charges made for services related to the diagnosis,                    setting.
    treatment, and management of osteoporosis. Covered                      Includes charges made for telehealth services on the same
    services include, but are not limited to, all FDA approved               basis, or better, and to the same extent, or better, as the
    technologies, including bone mass measurement                            same service through in-person diagnosis, consultation, or
    technologies as deemed Medically Necessary.                              treatment. Telehealth means the mode of delivering health
   charges made for expenses incurred at any of the                         care services and public health via information and
    Approximate Age Intervals shown below for a Dependent                    communication technologies to facilitate the diagnosis,
    child who is age 16 or less, for charges made for Child                  treatment, education, care management, and self-
    Preventive Care consisting of the following services                     management of a patient's health care while the patient is at
    delivered or supervised by a Physician, in keeping with                  the originating site and the Provider for telehealth is at a
    prevailing medical standards:                                            distant site. Telehealth facilitates patient self-management
     physical examinations;                                                 and caregiver support for patients and includes:
     appropriate immunizations; and                                          Synchronous Interactions: Synchronous Interaction means
                                                                               a real-time interaction between a patient and a Health
     laboratory tests in connection with physical examinations.
                                                                               Care Provider for telehealth located at a distant site; and
    excluding any charges for:                                                Asynchronous Store and Forward transfers:
     more than one visit to one provider for Child Preventive                 Asynchronous Store and Forward means the transmission
      Care Services at each of the Appropriate Age Intervals up                of a patient's medical information from an originating site
      to a total of 18 visits for each Dependent child;                        to the health care provider for telehealth at a distant site
     services for which benefits are otherwise provided under                 without the presence of the patient.
      this Covered Expenses section; or                                  Originating site means a site where a patient is located at the
     services for which benefits are not payable according to           time health care services are provided via telecommunications
      the "Expenses Not Covered" section.                                system or where the Asynchronous Store and Forward service
                                                                         originates.
    Approximate Age Intervals are: Birth, 2 months, 4 months,
    6 months, 9 months, 12 months, 15 months, 18 months, 2               Distant site means a site where a Health Care Provider for
    years, 3 years, 4 years, 5 years, 6 years, 8 years, 10 years,        telehealth who provides health care services is located while
    12 years, 14 years and 16 years.                                     providing these services via a telecommunications system.
   HIV testing regardless of whether testing is related to the             coverage for the testing and treatment of PKU. This
    patient's primary diagnosis.                                             includes formulas and special food products that are part of
                                                                             a diet prescribed by a Physician and managed by a health
   charges made for laboratory services, radiation therapy and
                                                                             care professional in consultation with a Physician
    other diagnostic and therapeutic radiological procedures.
                                                                             specializing in the treatment of metabolic diseases. The diet
                                                                             must be deemed Medically Necessary to avoid the



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    development of serious mental or physical disabilities or to                and medications listed previously, and any additional
    promote normal development or function resulting from                       diabetes outpatient self-management training, education,
    PKU.                                                                        and medical nutrition therapy prescribed by or directed by a
    Formula means an enteral product used in the home and                       Physician.
    prescribed by a Physician, nurse practitioner, or registered               charges for insulin, insulin syringes, Prescriptive
    dietician for Medically Necessary treatment of PKU.                         medications for the treatment of diabetes, lancets and lancet
    Special food products are those that are prescribed by a                    puncture devices, blood glucose testing strips, ketone urine
    Physician or Nurse practitioner for the treatment of PKU                    testing strips, pen delivery systems for the administration of
    and are consistent with the recommendations and best                        insulin and Glucagon.
    practices of qualified health professionals with expertise in              charges for cancer screening tests that are based on
    treatment and care of PKU. It does not include a food that is               generally accepted medical guidelines or scientific
    naturally low in protein. It may include a food product that                evidence.
    is specially formulated to have less than one gram of protein
    per serving and is used instead of normal food products                    charges for prenatal testing resulting from participation in
    used by the general population, such as grocery store foods.                the Expanded Alpha Feto Protein program administered by
                                                                                the State Department of Health Services. No Cost share
   charges made for Medically Necessary treatment of Severe
    Mental Illness for covered persons of any age, and Serious                 charges for general anesthesia and associated facility
    Emotional Disturbances of a Dependent Child under 18                        charges for dental procedures rendered in a Hospital or
    years old.                                                                  Ambulatory Surgical Facility for: a child under the age of 7;
                                                                                an individual who is developmentally disabled; or an
   charges made for prosthetic appliances, including devices to                individual whose health is compromised and general
    restore a method of speaking following a laryngectomy,                      anesthesia is Medically Necessary.
    other than electronic voice-producing machines.
                                                                               charges for a Hospital stay resulting from a mastectomy
   charges made by a licensed social worker, a registered                      and/or lymph node dissection for a period of time
    Nurse licensed in psychiatric-mental health or a licensed                   determined by a Physician in consultation with the patient.
    marriage, family or child counselor, for Mental Health
    services, when such services are recommended by a                          charges made for a drug that has been prescribed for
    Physician.                                                                  purposes other than those approved by the FDA will be
                                                                                covered if:
   charges for at least 48 hours of inpatient care following a
                                                                                 the drug is otherwise approved by the FDA;
    vaginal delivery and at least 96 hours of inpatient care
    following a cesarean section for both mother and newborn.                    the drug is used to treat a life-threatening condition or, a
    The mother and/or newborn may be discharged earlier if the                    chronic and seriously debilitating condition and the drug
    Physician consults with the mother. If discharged early,                      is Medically Necessary to treat that condition;
    there will be at least one follow-up visit within 48 hours of                the drug has been recognized for the treatment prescribed
    discharge. Follow-up care may be in the mother's home, in                     by any of the following: the American Hospital
    the Physician's office, or in a licensed facility. An additional              Formulary Service Drug Information, one of the
    length of stay beyond the 48/96 hours will be covered if                      following compendia if recognized by the federal Centers
    Medically Necessary.                                                          for Medicare and Medicaid Services as part of an
The following describes coverage provided for the treatment                       anticancer chemotherapeutic regimen: The Elsevier Gold
of diabetes:                                                                      Standard’s Clinical Pharmacology; The National
   charges for the following Medically Necessary equipment                       Comprehensive Cancer Network Drug and Biologics
    for the management and treatment of insulin-using diabetes,                   compendium; The Thomson Micromedix Drug Dex; or
    noninsulin-using diabetes, and gestational diabetes: blood                    two articles from major peer reviewed medical journals
    glucose monitors; blood glucose monitors designed to assist                   that present data supporting the proposed use or uses as
    the visually impaired; insulin pumps and all related                          generally safe and effective unless there is clear and
    necessary supplies; podiatric devices to prevent or treat                     convincing contradictory evidence presented in a major
    diabetes-related complications; and visual aids (not                          peer reviewed medical journal.
    including eyewear) to assist the visually impaired with
    proper dosing of insulin.
   charges for diabetes outpatient self-management training,
    education, and medical nutrition therapy necessary to allow
    a covered person to properly use the equipment, supplies,


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Second Opinions                                                             if you are requesting a second opinion about care from a
You or your Physician may request a second opinion relating                  Specialist, you may obtain the second opinion from any
to a medical treatment or surgical procedure. Reasons for a                  Qualified Health Care Professional of the same or
second opinion to be provided or authorized shall include, but               equivalent specialty of your choice. If not authorized by
are not limited to, the following:                                           Cigna or the Primary Care Physician’s medical group,
                                                                             additional medical opinions not within the Primary Care
   if you question the reasonableness or necessity of                       Physician’s medical group shall be your responsibility.
    recommended surgical procedures.
                                                                         In approving a second opinion the Physician and/or Cigna
   if you question a diagnosis or plan of care for a condition          shall take into account your ability to travel to the provider.
    that threatens loss of life, loss of limb, loss of bodily            Cigna shall require the second opinion health professional to
    function, or substantial impairment, including, but not              provide you and the initial health professional with a
    limited to, a serious chronic condition.                             consultation report, including any recommended procedures or
   if the clinical indications are not clear or are complex and         tests that the second opinion health professional believes
    confusing, a diagnosis is in doubt due to conflicting test           appropriate.
    results, or the treating health professional is unable to            You are limited to one (1) second medical opinion per medical
    diagnose the condition, and you request an additional                treatment or surgical procedure, unless Cigna based on its
    diagnosis.                                                           independent determination, authorizes additional medical
   if the treatment plan in progress is not improving your              opinions concerning your medical condition.
    medical condition within an appropriate period of time                  charges for the treatment of nicotine use.
    given the diagnosis and plan of care, and you request a
    second opinion regarding the diagnosis or continuance of                charges made for Family Planning, including medical
    the treatment.                                                           history, physical exam, related laboratory tests, medical
                                                                             supervision in accordance with generally accepted medical
   if you have attempted to follow the plan of care or consulted            practices, other medical services, information and
    with your initial provider concerning serious concerns about             counseling on contraception, implanted/injected
    the diagnosis or plan of care.                                           contraceptives, after appropriate counseling, medical
If you or the Physician who is treating you requests a second                services connected with surgical therapies (tubal ligations,
opinion pursuant to this section, an authorization or denial                 vasectomies).
shall be provided in an expeditious manner. When your                       FDA-approved, self-administered hormonal contraceptives
condition is such that you face an imminent and serious threat               will be covered for up to a 12-month supply when dispensed
to your health, including, but not limited to, the potential loss            at one time.
of life, limb, or other major bodily function, or lack of
timeliness that would be detrimental to your ability to regain              Alternate methods of contraception, including over-the-
maximum function, the second opinion shall be authorized or                  counter contraceptive drugs as prescribed by a Physician
denied in a timely fashion appropriate for the nature of your                and deemed Medically Necessary.
condition, not to exceed seventy-two (72) hours after Cigna's               charges made for preventive care services as defined by
receipt of the request, whenever possible.                                   recommendations from the following:
Appropriately Qualified Health Care Professional                              The U.S. Preventive Services Task Force (A and B
An Appropriately Qualified Health Care Professional is a                       recommendations);
Primary Care Physician or Specialist who is acting within                     The Advisory Committee on Immunization Practices
his/her scope of practice and who possesses a clinical                         (ACIP) for immunizations;
background, including training and expertise, related to the                  The American Academy of Pediatrics’ Periodicity
particular illness, disease, condition or conditions associated                Schedule of the Bright Futures Recommendations for
with the request for a second opinion.                                         Pediatric Preventive Health Care;
You may obtain a second opinion in one of the following                       The Uniform Panel of the Secretary’s Advisory
ways:                                                                          Committee on Heritable Disorders in Newborns and
   if you request a second opinion about care from your                       Children; and
    Primary Care Physician, the second opinion shall be                       With respect to women, evidence-informed preventive
    provided by an Appropriately Qualified Health Care                         care and screening guidelines supported by the Health
    Professional, of your choice within the primary care                       Resources and Services Administration.
    Physician’s medical group.




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    Detailed information is available at www.healthcare.gov.
    For additional information on immunizations, visit the                   Obesity Treatment
    immunization schedule section of www.cdc.gov.
                                                                              charges made for medical and surgical services only at
   charges made for surgical or non-surgical treatment of                     approved centers for the treatment or control of clinically
    Temporomandibular Joint Dysfunction (TMJ).                                 severe (morbid) obesity as defined below and if the services
   charges for federal Food and Drug Administration (FDA)-                    are demonstrated, through existing peer reviewed, evidence
    approved prescription contraceptive methods, as designated                 based, scientific literature and scientifically based
    by Cigna. If your Physician determines that none of the                    guidelines, to be safe and effective for the treatment or
    methods designated by Cigna are medically appropriate for                  control of the condition. Clinically severe (morbid) obesity
    you because of your medical or personal history, Cigna will                is defined by the National Heart, Lung and Blood Institute
    cover the alternative FDA-approved prescription                            (NHLBI) as a Body Mass Index (BMI) of 40 or greater
    contraceptive prescribed by your Physician.                                without comorbidities, or a BMI of 35-39 with
Autism Spectrum Disorder                                                       comorbidities. The following items are specifically
                                                                               excluded:
Covered expenses are professional services and treatment
programs, including applied behavior analysis (ABA), and                        medical and surgical services to alter appearances or
evidence-based behavior intervention programs that develop                       physical changes that are the result of any medical or
or restore to the maximum extent practicable, the functioning                    surgical services performed for the treatment or control of
of an individual with pervasive developmental disorder or                        obesity or clinically severe (morbid) obesity; and
autism provided that:                                                           weight loss programs or treatments, whether or not they
   The treatment is prescribed by a licensed Physician or is                    are prescribed or recommended by a Physician or under
    developed by a licensed psychologist.                                        medical supervision.
   The treatment is provided under a treatment plan prescribed
    by a qualified autism service provider.                                  HC-COV2                                                     04-10
                                                                                                                                           V1
   The treatment plan has measurable goals over a specific
    time-line that is developed and approved by the qualified
    autism service provider for the specific patient being                   Home Health Services
    treated.
                                                                              charges made for Home Health Services when you: require
   The treatment plan is not used for purposes of                             skilled care; are unable to obtain the required care as an
    providing/reimbursing respite care, day care or educational                ambulatory outpatient; and do not require confinement in a
    services and is not used to reimburse a parent for                         Hospital or Other Health Care Facility.
    participating in the treatment program.
                                                                               Home Health Services are provided only if Cigna has
Telecommunication Technologies - Mental Health and                             determined that the home is a medically appropriate setting.
Substance Use Disorder                                                         If you are a minor or an adult who is dependent upon others
 behavioral consultations and services via secure                             for nonskilled care and/or custodial services (e.g., bathing,
  telecommunications technologies that shall include video                     eating, toileting), Home Health Services will be provided
  capability, including telephones and internet, when                          for you only during times when there is a family member or
  delivered through a behavioral provider.                                     care giver present in the home to meet your nonskilled care
                                                                               and/or custodial services needs.
Nutritional Counseling
                                                                               Home Health Services are those skilled health care services
Charges for counseling when diet is a part of the medical
                                                                               that can be provided during visits by Other Health Care
management of a medical or behavioral condition.
                                                                               Professionals. The services of a home health aide are
Internal Prosthetic/Medical Appliances                                         covered when rendered in direct support of skilled health
Charges for internal prosthetic/medical appliances that provide                care services provided by Other Health Care Professionals.
permanent or temporary internal functional supports for                        A visit is defined as a period of 2 hours or less. Home
nonfunctional body parts are covered. Medically Necessary                      Health Services are subject to a maximum of 16 hours in
repair, maintenance or replacement of a covered appliance is                   total per day. Necessary consumable medical supplies and
also covered.                                                                  home infusion therapy administered or used by Other
                                                                               Health Care Professionals in providing Home Health
                                                                               Services are covered. Home Health Services do not include
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                                                                               services by a person who is a member of your family or



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    your Dependent’s family or who normally resides in your                       for services or supplies not listed in the Hospice Care
    house or your Dependent’s house even if that person is an                      Program;
    Other Health Care Professional. Skilled nursing services or                   for any curative or life-prolonging procedures;
    private duty nursing services provided in the home are
    subject to the Home Health Services benefit terms,                            to the extent that any other benefits are payable for those
    conditions and benefit limitations. Physical, occupational,                    expenses under the policy;
    and other Short-Term Rehabilitative Therapy services                          for services or supplies that are primarily to aid you or your
    provided in the home are not subject to the Home Health                        Dependent in daily living.
    Services benefit limitations in the Schedule, but are subject
    to the benefit limitations described under Short-term
                                                                               HC-COV994                                                         01-20
    Rehabilitative Therapy Maximum shown in The Schedule.

HC-COV76                                                          04-10
                                                                               Mental Health and Substance Abuse Services
                                                                    V1         Mental Health Services are services that are required to treat
                                                                               a disorder that impairs the behavior, emotional reaction or
                                                                               thought processes. In determining benefits payable, charges
Hospice Care Services
                                                                               made for the treatment of any physiological conditions related
 charges for a person who has been diagnosed as having six                    to Mental Health will not be considered to be charges made
  months or fewer to live, due to Terminal Illness, for the                    for treatment of Mental Health.
  following Hospice Care Services provided under a Hospice
                                                                               Substance Abuse is defined as the psychological or physical
  Care Program:
                                                                               dependence on alcohol or other mind-altering drugs that
     by a Hospice Facility for Room and Board and Services                    requires diagnosis, care, and treatment. In determining
      and Supplies;                                                            benefits payable, charges made for the treatment of any
     by a Hospice Facility for services provided on an                        physiological conditions related to rehabilitation services for
      outpatient basis;                                                        alcohol or drug abuse or addiction will not be considered to be
                                                                               charges made for treatment of Substance Abuse.
     by a Physician for professional services;
                                                                               Inpatient Mental Health Services
     by a Psychologist, social worker, family counselor or
      ordained minister for individual and family counseling;                  Services that are provided by a Hospital while you or your
                                                                               Dependent is Confined in a Hospital for the treatment and
     for pain relief treatment, including drugs, medicines and
                                                                               evaluation of Mental Health. Inpatient Mental Health Services
      medical supplies;
                                                                               include Partial Hospitalization and Mental Health Residential
     by an Other Health Care Facility for:                                    Treatment Services.
         part-time or intermittent nursing care by or under the               Partial Hospitalization sessions are services that are provided
          supervision of a Nurse;                                              for not less than 4 hours and not more than 12 hours in any 24-
         part-time or intermittent services of an Other Health                hour period.
          Care Professional;                                                   Mental Health Residential Treatment Services are services
     charges for physical, occupational and speech therapy;                   provided by a Hospital for the evaluation and treatment of the
     charges for medical supplies; drugs and medicines
                                                                               psychological and social functional disturbances that are a
      lawfully dispensed only on the written prescription of a                 result of subacute Mental Health conditions.
      Physician; and laboratory services; but only to the extent               Mental Health Residential Treatment Center means an
      such charges would have been payable under the policy if                 institution which specializes in the treatment of psychological
      the person had remained or been Confined in a Hospital                   and social disturbances that are the result of Mental Health
      or Hospice Facility.                                                     conditions; provides a subacute, structured, psychotherapeutic
The following charges for Hospice Care Services are not                        treatment program, under the supervision of Physicians;
included as Covered Expenses:                                                  provides 24-hour care, in which a person lives in an open
                                                                               setting; and is licensed in accordance with the laws of the
   for the services of a person who is a member of your family                appropriate legally authorized agency as a residential
    or your Dependent's family or who normally resides in your                 treatment center.
    house or your Dependent's house;
                                                                               A person is considered confined in a Mental Health
   for any period when you or your Dependent is not under the                 Residential Treatment Center when she/he is a registered bed
    care of a Physician;



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patient in a Mental Health Residential Treatment Center upon              Outpatient Substance Abuse Rehabilitation Services
the recommendation of a Physician.                                        Services provided for the diagnosis and treatment of abuse or
Outpatient Mental Health Services                                         addiction to alcohol and/or drugs, while you or your
Services of Providers who are qualified to treat Mental Health            Dependent is not Confined in a Hospital, including outpatient
when treatment is provided on an outpatient basis, while you              rehabilitation in an individual, or a Substance Abuse Intensive
or your Dependent is not Confined in a Hospital, and is                   Outpatient Therapy Program.
provided in an individual, group or Mental Health Intensive               A Substance Abuse Intensive Outpatient Therapy Program
Outpatient Therapy Program. Covered services include, but                 consists of distinct levels or phases of treatment that are
are not limited to, outpatient treatment of conditions such as:           provided by a certified/licensed Substance Abuse program.
anxiety or depression which interfere with daily functioning;             Intensive Outpatient Therapy Programs provide a combination
emotional adjustment or concerns related to chronic                       of individual, family and/or group therapy in a day, totaling
conditions, such as psychosis or depression; emotional                    nine, or more hours in a week.
reactions associated with marital problems or divorce;                    Substance Abuse Detoxification Services
child/adolescent problems of conduct or poor impulse control;
affective disorders; suicidal or homicidal threats or acts; eating        Detoxification and related medical ancillary services are
disorders; or acute exacerbation of chronic Mental Health                 provided when required for the diagnosis and treatment of
conditions (crisis intervention and relapse prevention) and               addiction to alcohol and/or drugs. Cigna will decide, based on
outpatient testing and assessment.                                        the Medical Necessity of each situation, whether such services
                                                                          will be provided in an inpatient or outpatient setting.
A Mental Health Intensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are               Exclusions
provided by a certified/licensed Mental Health program.                   The following are specifically excluded from Mental Health
Intensive Outpatient Therapy Programs provide a combination               and Substance Abuse Services:
of individual, family and/or group therapy in a day, totaling                any court ordered treatment or therapy, or any treatment or
nine or more hours in a week.                                                 therapy ordered as a condition of parole, probation or
Inpatient Substance Abuse Rehabilitation Services                             custody or visitation evaluations unless Medically
Services provided for rehabilitation, while you or your                       Necessary and otherwise covered under this policy or
Dependent is Confined in a Hospital, when required for the                    agreement.
diagnosis and treatment of abuse or addiction to alcohol and/or              treatment of disorders which have been diagnosed as
drugs. Inpatient Substance Abuse Services include Partial                     organic mental disorders associated with permanent
Hospitalization sessions and Residential Treatment services.                  dysfunction of the brain.
Partial Hospitalization sessions are services that are provided              developmental disorders, including but not limited to,
for not less than 4 hours and not more than 12 hours in any 24-               developmental reading disorders, developmental arithmetic
hour period.                                                                  disorders, developmental language disorders or
Substance Abuse Residential Treatment Services are                            developmental articulation disorders.
services provided by a Hospital for the evaluation and                       counseling for activities of an educational nature.
treatment of the psychological and social functional                         counseling for borderline intellectual functioning.
disturbances that are a result of subacute Substance Abuse
                                                                             counseling for occupational problems.
conditions.
                                                                             counseling related to consciousness raising.
Substance Abuse Residential Treatment Center means an
institution which specializes in the treatment of psychological              vocational or religious counseling.
and social disturbances that are the result of Substance Abuse;              I.Q. testing.
provides a subacute, structured, psychotherapeutic treatment
                                                                             custodial care, including but not limited to geriatric day
program, under the supervision of Physicians; provides 24-
                                                                              care.
hour care, in which a person lives in an open setting; and is
licensed in accordance with the laws of the appropriate legally              psychological testing on children requested by or for a
authorized agency as a residential treatment center.                          school system.
A person is considered confined in a Substance Abuse
Residential Treatment Center when she/he is a registered bed
patient in a Substance Abuse Residential Treatment Center
upon the recommendation of a Physician.



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   occupational/recreational therapy programs even if                                Other Equipment: heat lamps, heating pads, cryounits,
    combined with supportive therapy for age-related cognitive                         cryotherapy machines, electronic-controlled therapy units,
    decline.                                                                           ultraviolet cabinets, sheepskin pads and boots, postural
                                                                                       drainage board, AC/DC adaptors, enuresis alarms, magnetic
                                                                                       equipment, scales (baby and adult), stair gliders, elevators,
HC-COV7                                                               04-10
                                                                                       saunas, any exercise equipment and diathermy machines.
                                                                        V4


                                                                                   HC-COV8                                                           04-10
Durable Medical Equipment
                                                                                                                                                       V2
 charges made for purchase or rental of Durable Medical
  Equipment that is ordered or prescribed by a Physician and
  provided by a vendor approved by Cigna for use outside a                         External Prosthetic Appliances and Devices
  Hospital or Other Health Care Facility. Coverage for repair,                      charges made or ordered by a Physician for: the initial
  replacement or duplicate equipment is provided only when                           purchase and fitting of external prosthetic appliances and
  required due to anatomical change and/or reasonable wear                           devices available only by prescription which are necessary
  and tear. All maintenance and repairs that result from a                           for the alleviation or correction of Injury, Sickness or
  person’s misuse are the person’s responsibility. Coverage                          congenital defect.
  for Durable Medical Equipment is limited to the lowest-cost                      External prosthetic appliances and devices include
  alternative as determined by the utilization review                              prostheses/prosthetic appliances and devices; orthoses and
  Physician.                                                                       orthotic devices; braces; and splints.
Durable Medical Equipment is defined as items which are                            Prostheses/Prosthetic Appliances and Devices
designed for and able to withstand repeated use by more than
one person; customarily serve a medical purpose; generally                         Prostheses/prosthetic appliances and devices are defined as
are not useful in the absence of Injury or Sickness; are                           fabricated replacements for missing body parts.
appropriate for use in the home; and are not disposable. Such                      Prostheses/prosthetic appliances and devices include, but are
equipment includes, but is not limited to, crutches, hospital                      not limited to:
beds, respirators, wheel chairs, and dialysis machines.                               limb prostheses;
Durable Medical Equipment items that are not covered                                  terminal devices such as hands or hooks;
include but are not limited to those that are listed below:                           speech prostheses; and
   Bed Related Items: bed trays, over the bed tables, bed                            facial prostheses.
    wedges, pillows, custom bedroom equipment, mattresses,
    including nonpower mattresses, custom mattresses and                           Orthoses and Orthotic Devices
    posturepedic mattresses.                                                       Orthoses and orthotic devices are defined as orthopedic
   Bath Related Items: bath lifts, nonportable whirlpools,                        appliances or apparatuses used to support, align, prevent or
                                                                                   correct deformities. Coverage is provided for custom foot
    bathtub rails, toilet rails, raised toilet seats, bath benches,
                                                                                   orthoses and other orthoses as follows:
    bath stools, hand held showers, paraffin baths, bath mats,
    and spas.                                                                         Non-foot orthoses – only the following non-foot orthoses
                                                                                       are covered:
   Chairs, Lifts and Standing Devices: computerized or
    gyroscopic mobility systems, roll about chairs, geriatric                           rigid and semi-rigid custom fabricated orthoses;
    chairs, hip chairs, seat lifts (mechanical or motorized),                           semi-rigid prefabricated and flexible orthoses; and
    patient lifts (mechanical or motorized – manual hydraulic
                                                                                        rigid prefabricated orthoses including preparation, fitting
    lifts are covered if patient is two-person transfer), and auto
                                                                                         and basic additions, such as bars and joints.
    tilt chairs.
                                                                                      Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair
                                                                                       covered as follows:
    ramps.
                                                                                        for persons with impaired peripheral sensation and/or
 Car/Van Modifications.
                                                                                         altered peripheral circulation (e.g. diabetic neuropathy
 Air Quality Items: room humidifiers, vaporizers, air                                   and peripheral vascular disease);
  purifiers and electrostatic machines.
                                                                                        when the foot orthosis is an integral part of a leg brace
   Blood/Injection Related Items: blood pressure cuffs,                                 and is necessary for the proper functioning of the brace;
    centrifuges, nova pens and needleless injectors.



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     when the foot orthosis is for use as a replacement or                 no more than once every 12 months for persons 18 years of
      substitute for missing parts of the foot (e.g. amputated               age and under.
      toes) and is necessary for the alleviation or correction of        The following are specifically excluded external prosthetic
      Injury, Sickness or congenital defect; and                         appliances and devices:
     for persons with neurologic or neuromuscular condition                external and internal power enhancements or power controls
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing              for prosthetic limbs and terminal devices; and
      spasticity, malalignment, or pathological positioning of
      the foot and there is reasonable expectation of                       myoelectric prostheses peripheral nerve stimulators.
      improvement.
The following are specifically excluded orthoses and orthotic            HC-COV890                                                       01-20

devices:
   prefabricated foot orthoses;                                         Infertility Services
   cranial banding and/or cranial orthoses. Other similar                charges made for services related to diagnosis of infertility
    devices are excluded except when used postoperatively for              and treatment of infertility once a condition of infertility has
    synostotic plagiocephaly. When used for this indication, the           been diagnosed. Services include, but are not limited to:
    cranial orthosis will be subject to the limitations and                infertility drugs which are administered or provided by a
    maximums of the External Prosthetic Appliances and                     Physician; approved surgeries and other therapeutic
    Devices benefit;                                                       procedures that have been demonstrated in existing peer-
   orthosis shoes, shoe additions, procedures for foot                    reviewed, evidence-based, scientific literature to have a
    orthopedic shoes, shoe modifications and transfers;                    reasonable likelihood of resulting in pregnancy; laboratory
                                                                           tests; sperm washing or preparation; artificial insemination;
   non-foot orthoses primarily used for cosmetic rather than
                                                                           diagnostic evaluations; gamete intrafallopian transfer
    functional reasons; and
                                                                           (GIFT); in vitro fertilization (IVF); zygote intrafallopian
   non-foot orthoses primarily for improved athletic                      transfer (ZIFT); and the services of an embryologist.
    performance or sports participation.
                                                                             Infertility is defined as:
Braces
                                                                              the inability of opposite-sex partners to achieve
A Brace is defined as an orthosis or orthopedic appliance that                 conception after at least one year of unprotected
supports or holds in correct position any movable part of the                  intercourse;
body and that allows for motion of that part.
                                                                              the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                          conception after six months of unprotected intercourse,
scoliosis braces.                                                              when the female partner trying to conceive is age 35 or
Splints                                                                        older;
A Splint is defined as an appliance for preventing movement                   the inability of a woman, with or without an opposite-sex
of a joint or for the fixation of displaced or movable parts.                  partner, to achieve conception after at least six trials of
Coverage for replacement of external prosthetic appliances                     medically supervised artificial insemination over a one-
and devices is limited to the following:                                       year period; and
                                                                              the inability of a woman, with or without an opposite-sex
   replacement due to regular wear. Replacement for damage
    due to abuse or misuse by the person will not be covered.                  partner, to achieve conception after at least three trials of
                                                                               medically supervised artificial insemination over a six-
   replacement required because anatomic change has rendered                  month period of time, when the female partner trying to
    the external prosthetic appliance or device ineffective.                   conceive is age 35 or older.
    Anatomic change includes significant weight gain or loss,
    atrophy and/or growth.                                               This benefit includes diagnosis and treatment of both male and
                                                                         female infertility.
   replacement due to a surgical alteration or revision of the
    impacted site.                                                       However, the following are specifically excluded infertility
                                                                         services:
Coverage for replacement is limited as follows:
                                                                            reversal of male and female voluntary sterilization;
   no more than once every 24 months for persons 19 years of
    age and older.                                                          infertility services when the infertility is caused by or
                                                                             related to voluntary sterilization;
                                                                            donor charges and services;


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   cryopreservation of donor sperm and eggs; and                                 To improve, adapt or attain function that has been
   any experimental, investigational or unproven infertility                      impaired or was never achieved because of mental health
    procedures or therapies.                                                       and substance use disorder conditions. Includes
                                                                                   conditions such as autism and intellectual disability, or
                                                                                   mental health and substance use disorder conditions that
HC-COV734                                                       01-19              result in a developmental delay.
                                                                             Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                  the following criteria are met:
Charges for the following therapy services:                                     The individual’s condition has the potential to improve or is
                                                                                 improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                                 improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                  There is an expectation that the anticipated improvement is
                                                                                 attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                 of time.
  part of a program of treatment.
                                                                                The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation
                                                                                 of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                     scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac
                                                                                The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-
                                                                                 appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                 Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                  purposes of enabling individuals to perform the activities of
                                                                             daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a               Therapy services that are not covered include:
    recreational facility primarily to maintain the patient's status            sensory integration therapy.
    achieved through Phases I and II. Phase IV is an
                                                                                treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                          maintenance or preventive treatment provided to prevent
                                                                                 recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                                charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an
                                                                                 setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                       vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                   Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                 Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                      constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                      A separate Copayment applies to the services provided by
                                                                                 each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
   Restore function (called “rehabilitative”):                              HC-COV887                                                     01-20
                                                                                                                                               V1
     To restore function that has been impaired or lost.
     To reduce pain as a result of Sickness, Injury, or loss of a
      body part.                                                             Breast Reconstruction and Breast Prostheses
                                                                              charges made for reconstructive surgery following a
   Improve, adapt or attain function (sometimes called
    “habilitative”):                                                           mastectomy; benefits include: surgical services for
                                                                               reconstruction of the breast on which surgery was
     To improve, adapt or attain function that has been                       performed; surgical services for reconstruction of the
      impaired or was never achieved as a result of congenital                 nondiseased breast to produce symmetrical appearance;
      abnormality (birth defect).                                              postoperative breast prostheses; and mastectomy bras and
                                                                               prosthetics, limited to the lowest cost alternative available



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  that meets prosthetic placement needs. During all stages of              or a live donor. Organ procurement costs shall consist of
  mastectomy, treatment of physical complications, including               surgery necessary for organ removal, organ transportation and
  lymphedema therapy, are covered.                                         the transportation, hospitalization and surgery of a live donor.
Reconstructive Surgery                                                     Compatibility testing undertaken prior to procurement is
                                                                           covered if Medically Necessary. Costs related to the search
 charges made for reconstructive surgery or therapy to
                                                                           for, and identification of a bone marrow or stem cell donor for
  correct or repair abnormal structures of the body caused by              an allogeneic transplant are also covered.
  congenital defects, developmental abnormalities, trauma,
  infection, tumors, or disease to do either of the following: 1)          Transplant Travel Services
  to improve function; or 2) to create normal appearance, to               Charges made for reasonable travel expenses incurred by you
  the extent possible. Reconstructive Surgery also includes                in connection with a preapproved organ/tissue transplant are
  Medically Necessary dental or orthodontic services that are              covered subject to the following conditions and limitations.
  an integral part of reconstructive surgery for cleft palate              Transplant travel benefits are not available for cornea
  procedures. Cleft palate means a condition that may include              transplants. Benefits for transportation, lodging and food are
  cleft palate, cleft lip or other craniofacial anomalies                  available to you only if you are the recipient of a preapproved
  associated with cleft palate. Repeat or subsequent surgeries             organ/tissue transplant from a designated Cigna
  for the same condition are covered only when there is the                LIFESOURCE Transplant Network® facility. The term
  probability of significant additional improvement as                     recipient is defined to include a person receiving authorized
  determined by the utilization review Physician.                          transplant related services during any of the following:
                                                                           evaluation, candidacy, transplant event, or post-transplant
                                                                           care. Travel expenses for the person receiving the transplant
HC-COV728                                                     08-18
                                                                           will include charges for: transportation to and from the
                                                                           transplant site (including charges for a rental car used during a
Transplant Services                                                        period of care at the transplant facility); lodging while at, or
                                                                           traveling to and from the transplant site; and food while at, or
 charges made for human organ and tissue Transplant
                                                                           traveling to and from the transplant site.
  services which include solid organ and bone marrow/stem
  cell procedures at designated facilities throughout the                  In addition to your coverage for the charges associated with
  United States or its territories. This coverage is subject to            the items above, such charges will also be considered covered
  the following conditions and limitations.                                travel expenses for one companion to accompany you. The
                                                                           term companion includes your spouse, a member of your
Transplant services include the recipient’s medical, surgical
                                                                           family, your legal guardian, or any person not related to you,
and Hospital services; inpatient immunosuppressive
                                                                           but actively involved as your caregiver. The following are
medications; and costs for organ or bone marrow/stem cell
                                                                           specifically excluded travel expenses: travel costs incurred due
procurement. Transplant services are covered only if they are
                                                                           to travel within 60 miles of your home; laundry bills;
required to perform any of the following human to human
                                                                           telephone bills; alcohol or tobacco products; and charges for
organ or tissue transplants: allogeneic bone marrow/stem cell,
                                                                           transportation that exceed coach class rates.
autologous bone marrow/stem cell, cornea, heart, heart/lung,
kidney, kidney/pancreas, liver, lung, pancreas or intestine                These benefits are only available when the covered person is
which includes small bowel-liver or multi-visceral.                        the recipient of an organ transplant. No benefits are available
                                                                           when the covered person is a donor.
All Transplant services, other than cornea, are covered at
100% when received at Cigna LIFESOURCE Transplant
Network® facilities. Cornea transplants are not covered at                 HC-COV15                                                     04-10
Cigna LIFESOURCE Transplant Network® facilities.                                                                                             V2
Transplant services, including cornea, received at participating
facilities specifically contracted with Cigna for those                    Medical Pharmaceuticals
Transplant services, other than Cigna LIFESOURCE
Transplant Network® facilities, are payable at the In-Network              The plan covers charges made for Medical Pharmaceuticals
level. Transplant services received at any other facilities,               that are administered in an Inpatient setting, Outpatient
including Non-Participating Providers and Participating                    setting, Physician’s office, or in a covered person's home.
Providers not specifically contracted with Cigna for                       Benefits under this section are provided only for Medical
Transplant services, are not covered.                                      Pharmaceuticals which, due to their characteristics (as
Coverage for organ procurement costs are limited to costs                  determined by Cigna), are required to be administered, or the
directly related to the procurement of an organ, from a cadaver            administration of which must be directly supervised, by a
                                                                           qualified Physician. Benefits payable under this section


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include Medical Pharmaceuticals whose administration may                     inactivating a disease-causing gene that may not be
initially, or typically, require Physician oversight but may be               functioning properly.
self-administered under certain conditions specified in the                  introducing a new or modified gene into the body to help
product’s FDA labeling. Certain Medical Pharmaceuticals are                   treat a disease.
subject to prior authorization requirements or other coverage
conditions. Additionally, certain Medical Pharmaceuticals are             Each gene therapy product is specific to a particular disease
subject to step therapy requirements. This means that in order            and is administered in a specialized manner. Cigna determines
to receive benefits for such Medical Pharmaceuticals, you are             which products are in the category of gene therapy, based in
required to try a different Medical Pharmaceutical and/or                 part on the nature of the treatment and how it is distributed
Prescription Drug Product first.                                          and administered.
The Cigna Business Decision Team determines whether                       Coverage includes the cost of the gene therapy product;
utilization management requirements or other coverage                     medical, surgical, and facility services directly related to
conditions should apply to a Medical Pharmaceutical by                    administration of the gene therapy product; and professional
considering a number of factors, including, but not limited to,           services.
clinical and economic factors. Clinical factors may include,              Gene therapy products and their administration are covered
but are not limited to, the P&T Committee’s evaluations of the            when prior authorized to be received at In-Network facilities
place in therapy, relative safety or relative efficacy of Medical         specifically contracted with Cigna for the specific gene
Pharmaceuticals as well as whether utilization management                 therapy service. Gene therapy products and their
requirements should apply. Economic factors may include, but              administration received at other facilities are not covered.
are not limited to, the Medical Pharmaceutical’s cost                     Gene Therapy Travel Services
including, but not limited to, assessments on the cost
                                                                          Charges made for non-taxable travel expenses incurred by you
effectiveness of the Medical Pharmaceuticals and available
rebates. When considering a Medical Pharmaceutical for a                  in connection with a prior authorized gene therapy procedure
coverage status, the Business Decision Team reviews clinical              are covered subject to the following conditions and
                                                                          limitations.
and economic factors regarding enrollees as a general
population across its book-of-business. Regardless of its                 Benefits for transportation and lodging are available to you
eligibility for coverage under your plan, whether a particular            only when you are the recipient of a prior authorized gene
Prescription Drug Product is appropriate for you or any of                therapy; and when the gene therapy products and services
your Dependents is a determination that is made by you (or                directly related to their administration are received at a
your Dependent) and the prescribing Physician.                            participating In-Network facility specifically contracted with
                                                                          Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may
                                                                          is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a
                                                                          therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a
                                                                          evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a
Medical Pharmaceutical may become available, or other                     Travel expenses for the person receiving the gene therapy
market events may occur. Market events that may affect the                include charges for: transportation to and from the gene
coverage status of a Medical Pharmaceutical include, but are              therapy site (including charges for a rental car used during a
not limited to, an increase in the cost of a Medical                      period of care at the facility); and lodging while at, or
Pharmaceutical.                                                           traveling to and from, the site.
                                                                          In addition to your coverage for the charges associated with
HC-COV553                                                    10-16
                                                                          the items above, such charges will also be considered covered
                                                                          travel expenses for one companion to accompany you. The
                                                                          term companion includes your spouse, a member of your
Gene Therapy                                                              family, your legal guardian, or any person not related to you,
Charges for gene therapy products and services directly                   but actively involved as your caregiver who is at least 18 years
related to their administration are covered when Medically                of age.
Necessary. Gene therapy is a category of pharmaceutical
products approved by the U.S. Food and Drug Administration
(FDA) to treat or cure a disease by:
   replacing a disease-causing gene with a healthy copy of the
    gene.




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The following are specifically excluded travel expenses: any                     the study or investigation assures unbiased review of the
expenses that if reimbursed would be taxable income, travel                       highest scientific standards by qualified individuals who
costs incurred due to travel within 60 miles of your home;                        have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                     the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                    investigational new drug application reviewed by the U.S.
coach class rates.                                                              Food and Drug Administration (FDA).
                                                                               the study or investigation is a drug trial that is exempt from
HC-COV886                                                      01-20            having such an investigational new drug application.
                                                                            The plan does not cover any of the following services
Clinical Trials                                                             associated with a clinical trial:
This plan covers routine patient care costs and services related               services that are not considered routine patient care costs
to an approved clinical trial for a qualified individual. The                   and services, including the following:
individual must be eligible to participate according to the trial                the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                      provided solely to satisfy data collection and analysis
   the referring health care professional is a participating                     needs.
    health care provider and has concluded that the individual’s                 an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                          management of the individual.
   the individual provides medical and scientific information                   a service that is clearly inconsistent with widely accepted
    establishing that the individual’s participation in the                       and established standards of care for a particular
    qualified trial would be appropriate.                                         diagnosis.
In addition to qualifying as an individual, the clinical trial                 an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                 charge for any person enrolled in the trial.
and services to be covered.                                                    travel and transportation expenses, unless otherwise covered
The clinical trial must be a phase I, phase II, phase III, or                   under the plan, including but not limited to the following:
phase IV clinical trial conducted in relation to the prevention,                 fees for personal vehicle, rental car, taxi, medical van,
detection, or treatment of cancer or other life-threatening                       ambulance, commercial airline, train.
disease or condition that meets any of the following criteria:
                                                                                 mileage reimbursement for driving a personal vehicle.
   it is a federally funded trial. The study or investigation is
    approved or funded (which may include funding through in-                    lodging.
    kind contributions) by one or more of the following:                         meals.
     National Institutes of Health (NIH).                                     routine patient costs obtained out-of-network when Out-of-
     Centers for Disease Control and Prevention (CDC).                         Network benefits do not exist under the plan.
     Agency for Health Care Research and Quality (AHRQ).                   Examples of routine patient care costs and services include:
     Centers for Medicare and Medicaid Services (CMS).                        radiological services.
     a cooperative group or center of any of the entities                     laboratory services.
      described above or the Department of Defense (DOD) or                    intravenous therapy.
      the Department of Veterans Affairs (VA).                                 anesthesia services.
     a qualified non-governmental research entity identified in               Physician services.
      NIH guidelines for center support grants.
                                                                               office services.
   any of the following: Department of Energy, Department of
    Defense, Department of Veterans Affairs, if both of the                    Hospital services.
    following conditions are met:                                              Room and Board, and medical supplies that typically would
     the study or investigation has been reviewed and
                                                                                be covered under the plan for an individual who is not
      approved through a system of peer review comparable to                    enrolled in a clinical trial.
      the system of peer review of studies and investigations               
      used by the National Institutes of Health (NIH); and
                                                                            HC-COV884                                                          01-20




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                                         Prescription Drug Benefits
                                                   The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
Ng it
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at Network
Pharmacies at 100% with no deductible and if applicable at non-Network Pharmacies, the same as the out of network
medical cost share for injectable/IV chemotherapy.


                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule




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                                                       NETWORK                                NON-NETWORK
       BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
    Individual                            Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
    Family                                Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Network Pharmacy.

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $25 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $50 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       No charge after $20 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $50 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-          No charge after $100 Copay                In-network coverage only
  preferred on the Prescription Drug
  List




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      No charge after $20 Copay                  In-network coverage only
  Drug List
Tier 2
  Brand Drugs designated as              No charge after $50 Copay                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         No charge after $100 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List




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Prescription Drug Benefits                                              factors. Clinical factors may include, but are not limited to, the
                                                                        P&T Committee’s evaluations of the place in therapy, relative
                                                                        safety or relative efficacy of the Prescription Drug Product, as
Covered Expenses                                                        well as whether certain supply limits or other utilization
Your plan provides benefits for Prescription Drug Products              management requirements should apply. Economic factors
dispensed by a Pharmacy. Details regarding your plan’s                  may include, but are not limited to, the Prescription Drug
Covered Expenses, which for the purposes of the Prescription            Product's acquisition cost including, but not limited to,
Drug Benefit include Medically Necessary Prescription Drug              assessments on the cost effectiveness of the Prescription Drug
Products ordered by a Physician, Limitations and Exclusions             Product and available rebates. When considering a
are provided below and/or are shown in The Schedule.                    Prescription Drug Product for tier placement on the
If you or any one of your Dependents, while insured for                 Prescription Drug List or other coverage conditions, the
Prescription Drug Benefits, incurs expenses for charges made            Business Decision Team reviews clinical and economic
by a Pharmacy for Medically Necessary Prescription Drug                 factors regarding enrollees as a general population across its
Products ordered by a Physician, your plan will provide                 book-of-business. Regardless of its eligibility for coverage
coverage for those expenses as shown in The Schedule. Your              under the plan, whether a particular Prescription Drug Product
benefits may vary depending on which of the Prescription                is appropriate for you or any of your Dependents is a
Drug List tiers the Prescription Drug Product is listed, or the         determination that is made by you or your Dependent and the
Pharmacy that provides the Prescription Drug Product.                   prescribing Physician. A copy of the formulary is available at
                                                                        www.cigna.com/prescription-drug-list or by calling the
Coverage under your plan’s Prescription Drug Benefits also              number on the back of your ID card.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to          The coverage status of a Prescription Drug Product may
you or your Dependents by a licensed dentist for the                    change periodically for various reasons. For example, a
prevention of infection or pain in conjunction with a dental            Prescription Drug Product may be removed from the market, a
procedure.                                                              New Prescription Drug Product in the same therapeutic class
                                                                        as a Prescription Drug Product may become available, or other
For combination anti-retroviral drug treatments that are                market events may occur. Market events that may affect the
Medically Necessary for the treatment of AIDS/HIV, this plan            coverage status of a Prescription Drug Product include, but are
covers a single-tablet drug regimen that is as effective as a           not limited to, an increase in the acquisition cost of a
multi-tablet regimen unless, consistent with clinical guidelines        Prescription Drug Product. As a result of coverage changes,
and peer-reviewed scientific and medical literature, the multi-         for the purposes of benefits the plan may require you to pay
tablet regimen is clinically equal or more effective and more           more or less for that Prescription Drug Product, to obtain the
likely to result in adherence to a drug regimen.                        Prescription Drug Product from a certain Pharmacy(ies) for
When you or a Dependent are issued a Prescription Order or              coverage, or try another covered Prescription Drug Product(s).
Refill for Medically Necessary Prescription Drug Products as            Please access the internet through the website shown on your
part of the rendering of Emergency Services and Cigna                   ID card or call member services at the telephone number on
determines that it cannot reasonably be filled by a Network             your ID card for the most up-to-date tier status, utilization
Pharmacy, the prescription will be covered pursuant to the, as          management, or other coverage limitations for a Prescription
applicable, Copayment or Coinsurance for the Prescription               Drug Product.
Drug Product when dispensed by a Network Pharmacy.                      A Prescription Drug Product that is not on the Prescription
Prescription Drug List Management                                       Drug List may be covered if the Prescription Drug Product is
The Prescription Drug List (or formulary) offered under your            determined to be Medically Necessary and your Physician
Employer’s plan is managed by the Cigna Business Decision               obtains authorization for coverage of the non-Prescription
Team. Your plan’s Prescription Drug List coverage tiers may             Drug List Prescription Drug Product.
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The                HC-PHR321                                                     01-19
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should             Limitations
apply to a Prescription Drug Product by considering a number            In the event you or your Dependent insist on a more expensive
of factors including, but not limited to, clinical and economic         Brand Drug where a Generic Drug is available, you will be



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financially responsible for the amount by which the cost of the         When you submit a claim on this basis, you will need to
Brand Drug exceeds the cost of the Generic Drug, plus any               submit a paper claim using the form that appears on the
required Brand Drug Copayment and/or Coinsurance. In this               website shown on your ID card.
case, the amount by which the cost of the Brand Drug exceeds            If a prior authorization request is approved, you and your
the cost of the Generic Drug will not apply to your Deductible,         Physician will receive confirmation within 72 hours for non-
if any, or Out-of-Pocket Maximum. However, in the event                 urgent requests and within 24 hours for exigent requests. The
your Physician determines that the Generic Drug is not an               authorization will be processed in the claim system to allow
acceptable alternative for you (and indicates Dispensed as              you to have coverage for the Prescription Drug Product. The
Written on the Prescription Order or Refill), you will only be          length of the authorization may depend on the diagnosis and
responsible for payment of the appropriate Brand Drug                   the Prescription Drug Product. The authorization will at all
Coinsurance and/or Copayment after satisfying your                      times be subject to the plan’s terms of coverage for the
Deductible, if any.                                                     Prescription Drug Product, which may change from time to
Contraceptives                                                          time. When your Physician advises you that coverage for the
Additionally, in the event your Physician determines that a             Prescription Drug Product has been approved, you can contact
prescription contraceptive that would be payable at 100% is             a Pharmacy to fill the covered Prescription Order or Refill.
not a medically acceptable alternative for you, the applicable          If the prior authorization request is denied, your Physician and
cost-share for a covered alternative contraceptive will be              you will be notified that coverage for the Prescription Drug
waived. Contact Cigna at the website or phone number on                 Product is not authorized within 72 hours for non-urgent
your ID card.                                                           requests and within 24 hours for exigent requests. If you
Prior Authorization Requirements                                        disagree with a coverage decision, you may appeal that
                                                                        decision in accordance with the provisions of the plan by
Coverage for certain Prescription Drug Products prescribed to           submitting a written request stating why the Prescription Drug
you requires your Physician to obtain prior authorization from          Product should be covered. The appeal provisions, including
Cigna or its Review Organization. The reason for obtaining              the address for submitting an appeal, are outlined in the
prior authorization from Cigna is to determine whether the              “When You Have A Complaint Or An Adverse Determination
Prescription Drug Product is Medically Necessary in                     Appeal” section of your certificate. You may also call
accordance with Cigna's coverage criteria. Coverage criteria            Customer Service at the toll-free number on your
for a Prescription Drug Product may vary based on the clinical          Identification Card if you have questions about the appeal
use for which the Prescription Order or Refill is submitted,            process.
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market        Step Therapy
factors.                                                                Certain Prescription Drug Products are subject to step therapy
If Cigna or its Review Organization reviews the                         requirements. This means that in order to receive benefits for
documentation provided and determines that the Prescription             such Prescription Drug Products you are required to try a
Drug Product is not Medically Necessary or otherwise                    different Prescription Drug Product(s) first unless you satisfy
excluded, your plan will not cover the Prescription Drug                the plan’s exception criteria. You may identify whether a
Product. Cigna, or its Review Organization, will not review             particular Prescription Drug Product is subject to step therapy
claims for excluded Prescription Drug Products or other                 requirements at the website shown on your ID card or by
services to determine if they are Medically Necessary, unless           calling member services at the telephone number on your ID
required by law.                                                        card.In circumstances where you or your Dependent are
                                                                        changing policies, the new policy shall not require a repeat of
When Prescription Drug Products that require prior                      step therapy when the insured is already being treated for a
authorization are dispensed at a Pharmacy, you or your                  medical condition by a Prescription Drug Product that is
prescribing Physician are responsible for obtaining prior               appropriately prescribed and is considered safe and effective.
authorization from Cigna. If you do not obtain prior                    The new policy can impose a prior authorization requirement
authorization from us before the Prescription Drug Product is           for the continued coverage of a Prescription Drug Product
dispensed by the Pharmacy, you can ask us to consider                   prescribed pursuant to step therapy imposed by the former
reimbursement after you pay for and receive the Prescription            policy. A prescribing provider may prescribe another
Drug Product. You will need to pay for the Prescription Drug            Prescription Drug Product covered by the new policy that is
Product at the Pharmacy prior to submitting a reimbursement             medically appropriate for the insured.
request.
                                                                        Supply Limits
                                                                        Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single


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Prescription Order or Refill, you may receive a Prescription               Copayment
Drug Product up to the stated supply limit.                                Your plan requires that you pay a Copayment for covered
Some products are subject to additional supply limits, quantity            Prescription Drug Products as set forth in The Schedule. After
limits or dosage limits based on coverage criteria that have               satisfying any applicable annual Deductible set forth in The
been approved based on consideration of the P&T                            Schedule, your costs under the plan for a covered Prescription
Committee’s clinical findings. Coverage criteria are subject to            Drug Product dispensed by a Network Pharmacy and that is
periodic review and modification. The limit may restrict the               subject to a Copayment requirement will be the lowest of the
amount dispensed per Prescription Order or Refill and/or the               following amounts:
amount dispensed per month's supply, or may require that a                    the Copayment for the Prescription Drug Product set forth
minimum amount be dispensed.                                                   in The Schedule; or
You may determine whether a Prescription Drug Product has                     the Prescription Drug Charge; or
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by                        the Network Pharmacy’s submitted Usual and Customary
calling member services at the telephone number on your ID                     (U&C) Charge, if any.
card.                                                                      When a treatment regimen contains more than one type of
FDA-approved, self-administered hormonal contraceptives                    Prescription Drug Products that are packaged together for your
will be covered for up to a 12-month supply when dispensed at              or your Dependent's convenience, any applicable Copayment
one time.                                                                  or Coinsurance may apply to each Prescription Drug Product.
Specialty Prescription Drug Products                                       You will need to obtain prior approval from Cigna or its
                                                                           Review Organization for any Prescription Drug Product not
Benefits are provided for Specialty Prescription Drug                      listed on the Prescription Drug List that is not otherwise
Products.                                                                  excluded. If Cigna or its Review Organization approves
New Prescription Drug Products                                             coverage for the Prescription Drug Product because it meets
The Business Decision Team may or may not place a New                      the applicable coverage exception criteria, the Prescription
Prescription Drug Product on a Prescription Drug List tier                 Drug Product shall be covered at the applicable coverage tier
upon its market entry. The Business Decision Team will use                 as set forth in The Schedule.
reasonable efforts to make a tier placement decision for a New             The amount you or your Dependent pays for any excluded
Prescription Drug Product within six months of its market                  Prescription Drug Product or other product or service will not
availability. The Business Decision Team’s tier placement                  be included in calculating any applicable plan Out-of-Pocket
decision shall be based on consideration of, without limitation,           Maximum. You are responsible for paying 100% of the cost
the P&T Committee’s clinical review of the New Prescription                (the amount the Pharmacy charges you) for any excluded
Drug Product and economic factors. If a New Prescription                   Prescription Drug Product or other product.
Drug Product not listed on the Prescription Drug List is
approved by Cigna or its Review Organization as Medically
                                                                           HC-PHR272                                                   01-19
Necessary in the interim, the New Prescription Drug Product
                                                                                                                                           V2
shall be covered at the applicable coverage tier as set forth in
The Schedule.

                                                                           Exclusions
HC-PHR150                                                     01-20
                                                                V1         Coverage exclusions listed under the “Exclusions, Expenses
                                                                           Not Covered and General Limitations” section also apply to
                                                                           benefits for Prescription Drug Products. In addition, the
                                                                           exclusions listed below apply to benefits for Prescription Drug
Your Payments                                                              Products. When an exclusion or limitation applies to only
Covered Prescription Drug Products purchased at a Pharmacy                 certain Prescription Drug Products, you can access the
are subject to any applicable Deductible, Copayments or                    Prescription Drug List through the website shown on your ID
Coinsurance shown in The Schedule, as well as any                          card or call member services at the telephone number on your
limitations or exclusions set forth in this plan. Please refer to          ID card for information on which Prescription Drug Products
The Schedule for any required Copayments, Coinsurance,                     are excluded.
Deductibles or Out-of-Pocket Maximums.                                        coverage for Prescription Drug Products for the amount
                                                                               dispensed (days' supply) which exceeds the applicable
                                                                               supply limit, or is less than any applicable supply minimum


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    set forth in The Schedule, or which exceeds quantity limit(s)              certain Prescription Drug Products that are a Therapeutic
    or dosage limit(s) set by the P&T Committee.                                Equivalent or Therapeutic Alternative to an over-the-
   more than one Prescription Order or Refill for a given                      counter drug(s), or are available in over-the-counter form.
    prescription supply period for the same Prescription Drug                   Such coverage determinations may be made periodically,
    Product prescribed by one or more Physicians and                            and benefits for a Prescription Drug Product that was
    dispensed by one or more Pharmacies.                                        previously excluded under this provision may be reinstated
                                                                                at any time.
   Prescription Drug Products dispensed outside the
    jurisdiction of the United States, except as required for                  any product for which the primary use is a source of
    emergency or Urgent Care treatment.                                         nutrition, nutritional supplements, or dietary management of
                                                                                disease, even when used for the treatment of Sickness or
   Prescription Drug Products which are prescribed, dispensed                  Injury, unless coverage for such product(s) is required by
    or intended to be taken by or administered to you while you                 federal or state law.
    are a patient in a licensed Hospital, Skilled Nursing Facility,
    rest home, rehabilitation facility, or similar institution which           immunization agents, biological products for allergy
    operates on its premises or allows to be operated on its                    immunization, biological sera, blood, blood plasma and
    premises a facility for dispensing pharmaceutical products.                 other blood products or fractions and medications used for
                                                                                travel prophylaxis unless specifically identified on the
   Prescription Drug Products furnished by the local, state or                 Prescription Drug List.
    federal government (except for a Network Pharmacy owned
    or operated by a local, state or federal government).                      smoking cessation medications except those required by
                                                                                federal law to be covered as Preventive Care Medications.
   any product dispensed for the purpose of appetite
    suppression (anorectics) or weight loss.                                   certain Prescription Drug Products that are a Therapeutic
                                                                                Equivalent or Therapeutic Alternative to another covered
   prescription and non-prescription supplies other than                       Prescription Drug Product(s). Such coverage determinations
    supplies covered as Prescription Drug Products.                             may be made periodically, and benefits for a Prescription
   vitamins, except prenatal vitamins that require a                           Drug Product that was previously excluded under this
    Prescription Order or Refill, unless coverage for such                      provision may be reinstated at any time.
    product(s) is required by federal or state law.                            medications that are experimental, investigational, or
   medications used for cosmetic purposes, including, without                  unproven as described under the “General Exclusion and
    limitation, medications used to reduce wrinkles,                            Limitations” section of your plan’s certificate.
    medications used to promote hair growth, or medications
    used to control perspiration and fade cream products.
                                                                            HC-PHR416                                                    01-20
   Prescription Drug Products as a replacement for a                                                                                        V1
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.
   Medical Pharmaceuticals covered solely under the plan’s
                                                                            Reimbursement/Filing a Claim
    medical benefits.
                                                                            Retail Pharmacy
   Prescription Drug Products used for the treatment of male or
    female sexual dysfunction, including, but not limited to                When you or your Dependents purchase your Prescription
    erectile dysfunction, delayed ejaculation, anorgasmy,                   Drug Products through a Network Pharmacy, you pay any
    hypoactive sexual desire disorder and decreased libido.                 applicable Copayment, Coinsurance, or Deductible shown in
                                                                            The Schedule at the time of purchase. You do not need to file
   any ingredient(s) in a compounded Prescription Drug
                                                                            a claim form for a Prescription Drug Product obtained at a
    Product that has not been approved by the U.S. Food and
                                                                            Network Pharmacy unless you pay the full cost of a
    Drug Administration (FDA), and do not meet the definition
                                                                            Prescription Drug Product at a Network Pharmacy and later
    of a Part D eligible drug.
                                                                            seek reimbursement for the Prescription Drug Product under
   medications available over-the-counter that do not require a            the plan. For example, if you must pay the full cost of a
    Prescription Order or Refill by federal or state law before             Prescription Drug Product to the retail Network Pharmacy
    being dispensed, unless state or federal law requires                   because you did not have your ID card, then you must submit
    coverage of such medications or the over-the-counter                    a claim to Cigna for any reimbursement or benefit you believe
    medication has been designated as eligible for coverage as if           is due to you under this plan. If, under this example, your
    it were a Prescription Drug Product.                                    payment to the retail Network Pharmacy for the covered
                                                                            Prescription Drug Product exceeds any applicable copay, then



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you will be reimbursed the difference, if any, between the                       accumulation toward any plan Deductible or Out-of-Pocket
applicable copay and the Prescription Drug Charge for the                        Maximum the value of any coupon applied to any
Prescription Drug Product.                                                       Copayment, Deductible and/or Coinsurance you are
                                                                                 required to pay.
HC-PHR273                                                       01-19
                                                                                charges arising out of or relating to any violation of a
                                                                  V2
                                                                                 healthcare-related state or federal law or which themselves
                                                                                 are a violation of a healthcare-related state or federal law.
                                                                                assistance in the activities of daily living, including but not
                                                                                 limited to eating, bathing, dressing or other Custodial
Exclusions, Expenses Not Covered and                                             Services or self-care activities, homemaker services and
General Limitations                                                              services primarily for rest, domiciliary or convalescent care.
Exclusions and Expenses Not Covered                                             for or in connection with experimental, investigational or
                                                                                 unproven services.
Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, substance use
                                                                                 disorder or other health care technologies, supplies,
 care for health conditions that are required by state or local
                                                                                 treatments, procedures, drug or Biologic therapies or
  law to be treated in a public facility.
                                                                                 devices that are determined by the utilization review
   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                  not approved by the U.S. Food and Drug Administration
   treatment of an Injury or Sickness which is due to war,                        (FDA) or other appropriate regulatory agency to be
    declared, or undeclared.                                                       lawfully marketed;
   charges which you are not obligated to pay or for which you                   not demonstrated, through existing peer-reviewed,
    are not billed or for which you would not have been billed                     evidence-based, scientific literature to be safe and
    except that they were covered under this plan. For example,                    effective for treating or diagnosing the condition or
    if Cigna determines that a provider or Pharmacy is or has                      Sickness for which its use is proposed;
    waived, reduced, or forgiven any portion of its charges
                                                                                  the subject of review or approval by an Institutional
    and/or any portion of Copayment, Deductible, and/or
                                                                                   Review Board for the proposed use except as provided in
    Coinsurance amount(s) you are required to pay for a
                                                                                   the “Clinical Trials” sections of this plan; or
    Covered Expense (as shown on The Schedule) without
    Cigna's express consent, then Cigna shall have the right to                   the subject of an ongoing phase I, II, or III clinical trial,
    deny the payment of benefits in connection with the                            except for routine patient care costs related to qualified
    Covered Expense, or reduce the benefits in proportion to the                   clinical trials as provided in the “Clinical Trials” sections
    amount of the Copayment, Deductible, and/or Coinsurance                        of this plan.
    amounts waived, forgiven or reduced, regardless of whether                   In determining whether any such technologies, supplies,
    the provider or Pharmacy represents that you remain                          treatments, drug or Biologic therapies, or devices are
    responsible for any amounts that your plan does not cover.                   experimental, investigational, and/or unproven, the
    Cigna shall have the right to require you to provide proof                   utilization review Physician may rely on the clinical
    sufficient to Cigna that you have made your required cost                    coverage policies maintained by Cigna or the Review
    share payment(s) prior to the payment of any benefits by                     Organization. Clinical coverage policies may incorporate,
    Cigna. This exclusion includes, but is not limited to, charges               without limitation and as applicable, criteria relating to U.S.
    of a non-Participating Provider who has agreed to charge                     Food and Drug Administration-approved labeling, the
    you or charged you at an In-Network benefits level or some                   standard medical reference compendia and peer-reviewed,
    other benefits level not otherwise applicable to the services                evidence-based scientific literature or guidelines. The plan
    received. Provided further, if you use a coupon provided by                  or policy shall not deny coverage for a drug or Biologic
    a pharmaceutical manufacturer or other third party that                      therapy as experimental, investigational and unproven if the
    discounts the cost of a prescription medication or other                     drug or Biologic therapy is otherwise approved by the FDA
    product, Cigna may, in its sole discretion, reduce the                       to be lawfully marketed, has not been contraindicated by the
    benefits provided under the plan in proportion to the amount                 FDA for the use for which the drug or Biologic has been
    of the Copayment, Deductible, and/or Coinsurance amounts                     prescribed, and is recognized as safe and effective for the
    to which the value of the coupon has been applied by the                     treatment of cancer in any of the standard reference
    Pharmacy or other third party, and/or exclude from                           compendia: (A) The American Hospital Formulary Service's


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    Drug Information, (B) One of the following compendia if                   required for health reasons including, but not limited to,
    recognized by the federal Centers for Medicare and                        employment, insurance or government licenses, and court-
    Medicaid Services as part of an anticancer                                ordered, forensic or custodial evaluations.
    chemotherapeutic regimen: (i). The Elsevier Gold                         court-ordered treatment or hospitalization, unless such
    Standard's Clinical Pharmacology; (ii) The National                       treatment is prescribed by a Physician and listed as covered
    Comprehensive Cancer Network Drug and Biologics                           in this plan.
    compendium; (iii) The Thomson Micromedix DrugDex, (C)
    two articles from major peer-reviewed medical journals that              any services or supplies for the treatment of male or female
    that present data supporting the proposed off-label use or                sexual dysfunction such as, but not limited to, treatment of
    uses as generally safe and effective unless there is clear and            erectile dysfunction (including penile implants), anorgasmy,
    convincing contradictory evidence presented in a major                    and premature ejaculation.
    peer-reviewed medical journal.                                           medical and Hospital care and costs for the infant child of a
   cosmetic surgery and therapies. Cosmetic surgery or therapy               Dependent, unless this infant child is otherwise eligible
    is defined as surgery or therapy performed to improve or                  under this plan.
    alter appearance or self-esteem or to treat psychological                non-medical counseling and/or ancillary services including,
    symptomatology or psychosocial complaints related to                      but not limited to, Custodial Services, educational services,
    one’s appearance. Cosmetic surgery and therapy does not                   vocational counseling, training and rehabilitation services,
    include gender reassignment services.                                     behavioral training (other than behavioral training services
   the following services are excluded from coverage                         for pervasive developmental disorder or autism),
    regardless of clinical indications: macromastia or                        biofeedback, neurofeedback, hypnosis, sleep therapy, return
    gynecomastia surgeries; surgical treatment of varicose                    to work services, work hardening programs, and driver
    veins; abdominoplasty; panniculectomy; rhinoplasty;                       safety courses.
    blepharoplasty; redundant skin surgery; removal of skin                  consumable medical supplies other than ostomy supplies
    tags; acupressure; craniosacral/cranial therapy; dance                    and urinary catheters. Excluded supplies include, but are not
    therapy; movement therapy; applied kinesiology; rolfing;                  limited to bandages and other disposable medical supplies,
    prolotherapy; and extracorporeal shock wave lithotripsy                   skin preparations and test strips, except as specified in the
    (ESWL) for musculoskeletal and orthopedic conditions.                     “Home Health Care Services” or “Breast Reconstruction
   dental treatment of the teeth, gums or structures directly                and Breast Prostheses” sections of this plan.
    supporting the teeth, including dental X-rays, examinations,             private Hospital rooms and/or private duty nursing except as
    repairs, orthodontics (unless services are an integral part of            provided under the Home Health Services provision.
    reconstructive surgery for Cleft Palate), periodontics, casts,           personal or comfort items such as personal care kits
    splints and services for dental malocclusion, for any                     provided on admission to a Hospital, television, telephone,
    condition. However, facility charges and charges for general              newborn infant photographs, complimentary meals, birth
    anesthesia or deep sedation which cannot be administered in               announcements, and other articles which are not for the
    a dental office are covered when Medically Necessary.                     specific treatment of an Injury or Sickness.
    Charges made for services or supplies provided for or in
                                                                             artificial aids including, but not limited to, corrective
    connection with an accidental Injury to teeth are also
                                                                              orthopedic shoes, arch supports, elastic stockings, garter
    covered provided a continuous course of dental treatment is
                                                                              belts, corsets, dentures and wigs.
    started within six months of an accident.
                                                                             aids or devices that assist with non-verbal communications,
   medical and surgical services, initial and repeat, intended
    for the treatment or control of obesity, except for treatment             including but not limited to communication boards, pre-
    of clinically severe (morbid) obesity as shown in Covered                 recorded speech devices, laptop computers, desktop
                                                                              computers, Personal Digital Assistants (PDAs), Braille
    Expenses, including: medical and surgical services to alter
                                                                              typewriters, visual alert systems for the deaf and memory
    appearance or physical changes that are the result of any
                                                                              books.
    surgery performed for the management of obesity or
    clinically severe (morbid) obesity; and weight loss programs             corrective lenses and associated services (prescription
    or treatments, whether prescribed or recommended by a                     exams and fittings), including eyeglass lenses and frames
    Physician or under medical supervision. This does not apply               and contact lenses, except for the first pair of corrective
    to obesity screening and counseling as outlined in the US                 lenses, or the first set of eyeglass lenses and frames and
    Preventive Services Task Force.                                           associated services for treatment of keratoconus or
                                                                              following cataract surgery.
   unless otherwise covered in this plan, for reports,
    evaluations, physical examinations, or hospitalization not


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   routine refractions, eye exercises and surgical treatment for           certain Medical Pharmaceuticals that are a Therapeutic
    the correction of a refractive error, including radial                   Equivalent or Therapeutic Alternative to another covered
    keratotomy.                                                              Medical Pharmaceutical(s) and is administered in
   treatment by acupuncture.                                                connection with a covered service rendered in an inpatient,
                                                                             outpatient, Physician’s office or home health care setting.
   all non-injectable prescription drugs unless Physician                   Such determinations may be made periodically, and benefits
    administration or oversight is required, injectable                      for a Medical Pharmaceutical that was previously excluded
    prescription drugs to the extent they do not require                     under this provision may be reinstated at any time.
    Physician supervision and are typically considered self-
    administered drugs, non-prescription drugs, and                      General Limitations
    investigational and experimental drugs, except as provided           No payment will be made for expenses incurred for you or any
    in this plan.                                                        one of your Dependents:
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered.
                                                                            to the extent that payment is unlawful where the person
   membership costs or fees associated with health clubs,                   resides when the expenses are incurred.
    weight loss programs and smoking cessation programs. This
                                                                            for charges which would not have been made if the person
    does not apply to in-person and telephonic behavioral
                                                                             had no insurance.
    tobacco cessation counseling.
                                                                            to the extent that they are more than Maximum
   for a diagnosis other than pervasive developmental disorder
                                                                             Reimbursable Charges applicable to care, if any, received
    or autism, the following exclusions apply - genetic
                                                                             Out-of-Network (for example, emergency care).
    screening or pre-implantations genetic screening. General
    population-based genetic screening is a testing method                  to the extent of the exclusions imposed by any certification
    performed in the absence of any symptoms or any                          requirement shown in this plan.
    significant, proven risk factors for genetically linked                 expenses for supplies, care, treatment, or surgery that are
    inheritable disease.                                                     not Medically Necessary.
   dental implants for any condition unless services are an                charges made by any covered provider who is a member of
    integral part of reconstructive surgery for Cleft Palate.                your family or your Dependent's family.
   fees associated with the collection or donation of blood or             expenses incurred outside the United States other than
    blood products, except for autologous donation in                        expenses for Medically Necessary urgent or emergent care
    anticipation of scheduled services where in the utilization              while temporarily traveling abroad.
    review Physician’s opinion the likelihood of excess blood
    loss is such that transfusion is an expected adjunct to
    surgery.                                                             HC-EXC414                                                         01-20
                                                                                                                                             V2
   blood administration for the purpose of general
    improvement in physical condition.
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational        Coordination of Benefits
    hazards and risks.                                                   This section applies if you or any one of your Dependents is
   cosmetics, dietary supplements and health and beauty aids.           covered under more than one Plan and determines how
                                                                         benefits payable from all such Plans will be coordinated. You
   enteral feedings, supplies and specialty formulated medical
                                                                         should file all claims with each Plan.
    foods that are prescribed and non-prescribed, except for
    infant formula needed for the treatment of inborn errors of
    metabolism.
   for services related to an Injury or Sickness paid under
    workers’ compensation, occupational disease or similar
    laws.
   massage therapy.




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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an Employee
each service is the Allowable Expense and is a paid benefit.               shall be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or Employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active Employee (or as that              recorded for you to pay up to 100% of the total of all
    Employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired Employee (or as             Period, your benefit reserve will return to zero and a new
    that Employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    Employee or retiree (or as that Employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 90 days of the request, the claim will be
Effect on the Benefits of This Plan                                         denied. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent is covered under this              Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31 st month,                  For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB224                                                       01-19

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent; (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of                 adult Participant without the prior express written consent
    having caused or contributed to an Injury or Sickness.                    of the plan. The plan’s right to recover shall apply to
   Expenses incurred by a Participant to the extent any                      decedents’, minors’, and incompetent or disabled persons’
    payment is received for them either directly or indirectly                settlements or recoveries.
    from a third party tortfeasor or as a result of a settlement,            No Participant shall make any settlement, which specifically
    judgment or arbitration award in connection with any                      reduces or excludes, or attempts to reduce or exclude, the
    automobile medical, automobile no-fault, uninsured or                     benefits provided by the plan.
    underinsured motorist, homeowners, workers'                              The plan’s right of recovery shall be a prior lien against any
    compensation, government insurance (other than Medicaid),                 proceeds recovered by the Participant. This right of
    or similar type of insurance or coverage.                                 recovery shall not be defeated nor reduced by the
Subrogation/Right of Reimbursement                                            application of any so-called “Made-Whole Doctrine”,
If a Participant incurs a Covered Expense for which, in the                   “Rimes Doctrine”, or any other such doctrine purporting to
opinion of the plan or its claim administrator, another party                 defeat the plan’s recovery rights by allocating the proceeds
may be responsible or for which the Participant may receive                   exclusively to non-medical expense damages.
payment as described above:                                                  No Participant hereunder shall incur any expenses on behalf
   Subrogation: The plan shall, to the extent permitted by law,              of the plan in pursuit of the plan’s rights hereunder,
    be subrogated to all rights, claims or interests that a                   specifically; no court costs, attorneys' fees or other
    Participant may have against such party and shall                         representatives' fees may be deducted from the plan’s
    automatically have a lien upon the proceeds of any recovery               recovery without the prior express written consent of the
    by a Participant from such party to the extent of any benefits            plan. This right shall not be defeated by any so-called “Fund
    paid under the plan. A Participant or his/her representative              Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    shall execute such documents as may be required to secure                 Doctrine”.
    the plan’s subrogation rights.                                           The plan shall recover the full amount of benefits provided
   Right of Reimbursement: The plan is also granted a right of               hereunder without regard to any claim of fault on the part of
    reimbursement from the proceeds of any recovery whether                   any Participant, whether under comparative negligence or
    by settlement, judgment, or otherwise. This right of                      otherwise.
    reimbursement is cumulative with and not exclusive of the                In the event that a Participant shall fail or refuse to honor its
    subrogation right granted in paragraph 1, but only to the                 obligations hereunder, then the plan shall be entitled to
    extent of the benefits provided by the plan.                              recover any costs incurred in enforcing the terms hereof
Lien of the Plan                                                              including, but not limited to, attorney’s fees, litigation, court
                                                                              costs, and other expenses. The plan shall also be entitled to
By accepting benefits under this plan, a Participant:                         offset the reimbursement obligation against any entitlement
   grants a lien and assigns to the plan an amount equal to the              to future medical benefits hereunder until the Participant has
    benefits paid under the plan against any recovery made by                 fully complied with his reimbursement obligations
    or on behalf of the Participant which is binding on any                   hereunder, regardless of how those future medical benefits
    attorney or other party who represents the Participant                    are incurred.
    whether or not an agent of the Participant or of any                     Any reference to state law in any other provision of this
    insurance company or other financially responsible party                  plan shall not be applicable to this provision, if the plan is
    against whom a Participant may have a claim provided said                 governed by ERISA. By acceptance of benefits under the
    attorney, insurance carrier or other party has been notified              plan, the Participant agrees that a breach hereof would cause
    by the plan or its agents;                                                irreparable and substantial harm and that no adequate
   agrees that this lien shall constitute a charge against the               remedy at law would exist. Further, the Plan shall be
    proceeds of any recovery and the plan shall be entitled to                entitled to invoke such equitable remedies as may be
    assert a security interest thereon;                                       necessary to enforce the terms of the plan, including, but not
   agrees to hold the proceeds of any recovery in trust for the              limited to, specific performance, restitution, the imposition
    benefit of the plan to the extent of any payment made by the              of an equitable lien and/or constructive trust, as well as
    plan.                                                                     injunctive relief.
Additional Terms
 No adult Participant hereunder may assign any rights that it            HC-SUB1                                                            V1

  may have to recover medical expenses from any third party
  or other person or entity to any minor Dependent of said


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Payment of Benefits                                                     Recovery of Overpayment
Assignment and Payment of Benefits                                      When an overpayment has been made by Cigna, Cigna will
                                                                        have the right at any time to: recover that overpayment from
You may not assign to any party, including, but not limited to,         the person to whom or on whose behalf it was made; or offset
a provider of healthcare services/items, your right to benefits         the amount of that overpayment from a future claim payment.
under this plan, nor may you assign any administrative,
statutory, or legal rights or causes of action you may have
under ERISA, including, but not limited to, any right to make           HC-POB143                                                     01-19

a claim for plan benefits, to request plan or other documents,
to file appeals of denied claims or grievances, or to file
lawsuits under ERISA. Any attempt to assign such rights shall
be void and unenforceable under all circumstances.
                                                                        Termination Of Insurance
You may, however, authorize Cigna to pay any healthcare
benefits under this policy to a Participating or non-
                                                                        Employees
Participating Provider. When you authorize the payment of               Your insurance will cease on the earliest date below:
your healthcare benefits to a Participating or non-Participating           the date you cease to be in a Class of Eligible Employees or
Provider, you authorize the payment of the entire amount of                 cease to qualify for the insurance.
the benefits due on that claim. If a provider is overpaid
                                                                           the last day for which you have made any required
because of accepting duplicate payments from you and Cigna,
                                                                            contribution for the insurance.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              the date the policy is canceled.
Covered Expenses directly to a Participating Provider without              the last day of the calendar month in which your Active
your authorization. You may not interpret or rely upon this                 Service ends except as described below.
discrete authorization or permission to pay any healthcare              Any continuation of insurance must be based on a plan which
benefits to a Participating or non-Participating Provider as the        precludes individual selection.
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare
services/items.                                                         Injury or Sickness
Even if the payment of healthcare benefits to a non-                    If your Active Service ends due to an Injury or Sickness, your
Participating Provider has been authorized by you, Cigna may,           insurance will be continued while you remain totally and
at its option, make payment of benefits to you. When benefits           continuously disabled as a result of the Injury or Sickness.
are paid to you, you or your Dependents are responsible for             However, your insurance will not continue past the date your
reimbursing the non-Participating Provider.                             Employer stops paying premium for you or otherwise cancels
Ambulance benefits will be paid directly to the provider of the         your insurance.
ambulance service.
If any person to whom benefits are payable is a minor or, in            Dependents
the opinion of Cigna is not able to give a valid receipt for any        Your insurance for all of your Dependents will cease on the
payment due him, such payment will be made to his legal                 earliest date below:
guardian. If no request for payment has been made by his legal             the date your insurance ceases.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody                the date you cease to be eligible for Dependent Insurance.
and support.                                                               the last day for which you have made any required
When one of our participants passes away, Cigna may receive                 contribution for the insurance.
notice that an executor of the estate has been established. The            the date Dependent Insurance is canceled.
executor has the same rights as our insured and benefit                 The insurance for any one of your Dependents will cease on
payments for unassigned claims should be made payable to the            the date that Dependent no longer qualifies as a Dependent.
executor.
Payment as described above will release Cigna from all
                                                                        HC-TRM159 M                                                   01-19
liability to the extent of any payment made.




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Continuation of Coverage Under Cal-COBRA                                   a Dependent child ceasing to qualify as an eligible
                                                                            Dependent under the plan.
Please examine your options carefully before declining this
coverage. You should be aware that companies selling                    Notification Requirements
individual health insurance typically require a review of               The Employer will notify Cigna (or an administrator acting on
your medical history that could result in a higher premium              Cigna's behalf) in writing, of termination or reduction of hours
or you could be denied coverage entirely.                               with respect to any Employee who is employed by the
Employer groups with 20 or more Employees                               Employer, within 30 days of the date of the qualifying event.
                                                                        You may be disqualified from receiving Cal-COBRA
You and your Dependents may elect to continue health
                                                                        continuation coverage if your Employer does not provide the
coverage after you have exhausted continuation coverage
                                                                        required written notification to Cigna (or an administrator
under COBRA. Cal-COBRA is not applicable to Domestic
                                                                        acting on Cigna's behalf).
Partners and their Dependents or to stepchildren. This
continuation coverage (Cal-COBRA) will be provided for up               The Employer shall also notify Cigna (or an administrator
to 36 months from the date your COBRA continuation                      acting on Cigna's behalf) in writing, within 30 days of the
coverage began, if you are entitled to less than 36 months of           date, when the Employer becomes subject to Section 4980B of
continuation coverage under COBRA.                                      the United States Internal Revenue Code or Chapter 18 of the
                                                                        Employee Retirement Income Security Act, 29 U.S.C. Sec.
Employer groups with less than 20 Employees
                                                                        1161 et seq., or when the Employer becomes subject to federal
This Continuation applies to you and your Dependents if your            COBRA requirements.
Employer is subject to Cal-COBRA law. Domestic Partners
                                                                        To be eligible for continuation coverage, for one of the
and stepchildren will not be eligible for Cal-COBRA
                                                                        Qualifying Event(s) you or your Dependent must notify Cigna
independent from the Employee. Cal-COBRA law applies to                 (or an administrator acting on Cigna's behalf) in writing of
any small Employer that employed 2 to 19 eligible Employees             such Qualifying Event within 60 days after the event occurs.
on at least 50 percent of its working days during the preceding
calendar year, or, if the Employer was not in business during           If you or your Dependent do not notify Cigna (or an
any part of the preceding calendar year, employed 2 to 19               administrator acting on Cigna's behalf) in writing within 60
eligible Employees on at least 50 percent of its working days           days of the Qualifying Event(s), you will be disqualified from
during the preceding calendar quarter. This continuation                receiving Cal-COBRA continuation coverage.
coverage will be provided for up to 36 months from the date             Once notified of the Qualifying Event, Cigna (or an
of the Qualifying Event.                                                administrator acting on Cigna’s behalf) will send you or your
Notice Requirements                                                     Dependent the necessary benefit information, premium
                                                                        information, enrollment form and notice requirements within
Under the requirements of Cal-COBRA, an Employer must                   14 days after receiving notification of the Qualifying Event
give notice to its Employees and Dependents the right to                from the Employer, you or your Dependent. The information
continue their group health care benefits. A person who would           shall be sent to the qualified beneficiary’s last known address.
otherwise lose coverage as a result of a Qualifying Event is            Notice of the right to continue coverage to your spouse will be
generally entitled to continue the same benefits that were in           deemed notice to any Dependent child residing with your
effect the day before the date of the qualifying event.                 spouse.
Coverage may be continued under Cal-COBRA only if the
required premiums are paid when due and will be subject to              Formal Election
future plan changes.                                                    To continue group coverage under Cal-COBRA you must
Qualifying Events for Continuation of Cal-COBRA                         make a formal election by submitting a written request to
Coverage                                                                Cigna (or an administrator acting on Cigna’s behalf) at: Cigna,
                                                                        Attn: State Continuation Unit, P.O. Box 2010, Concord, NH
A Qualifying Event is any of the following:                             03302. For questions, call 1-800-315-6011.
   termination of the Employee’s employment (other than for            The written request must be delivered by first-class mail,
    gross misconduct) or reduction of hours worked so as to             certified mail or other reliable means of delivery within 60
    render the Employee ineligible for coverage;                        days of the later of the following dates:
   death of the Employee;                                                 the date of the Qualifying Event;
   divorce or legal separation of the Employee from his or her            the date the qualified beneficiary receives notice of the
    spouse;                                                                 ability to continue group coverage as provided above; or
   with respect to Dependents only, the loss of coverage due to
    the Employee becoming entitled to Medicare;


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   the date coverage under the Employer's health plan                        the qualified beneficiary moves out of the service area or
    terminates or will terminate by reason of the Qualifying                   the qualified beneficiary commits fraud or deception in the
    Event.                                                                     use of services.
If a formal election is not received by Cigna (or an                       Continuation of Coverage for Totally Disabled Individuals
administrator acting on Cigna's behalf) within this time period,           A qualified beneficiary who is eligible for continuation
you or your Dependent will not receive Cal-COBRA benefits.                 coverage due to termination of the Employee's employment
Cal-COBRA Premium Payments                                                 (other than for gross misconduct) or reduction of hours
To complete the election process, you must make the first                  worked so as to render the Employee ineligible for coverage
required premium payment no more than 45 days after                        and who is totally disabled under the Social Security Act
submitting your completed application to Cigna (or an                      during the first 60 days of continuation coverage is entitled to
administrator acting on Cigna's behalf). All subsequent                    a maximum period of 36 months after the date the qualified
premiums will be due on a monthly basis. Your first premium                beneficiary’s benefits under the contract would otherwise have
payment should be delivered to Cigna (or an administrator                  terminated because of a Qualifying Event. The Employee or
acting on Cigna's behalf) at Cigna, Attn: State Continuation               Dependent must provide Cigna (or an administrator acting on
Unit, P.O. Box 2010, Concord, NH 03302 by first-class mail,                Cigna’s behalf) with a copy of the Social Security
certified mail, or other reliable means of delivery. The first             Administration’s determination of total disability within 60
premium payment must satisfy any required premiums and all                 days of the date of the determination letter and prior to the end
premiums due. Failure to submit the correct premium amount                 of the original 36 month continuation coverage period in order
within the 45 day period will disqualify the qualified                     to be eligible for coverage pursuant to this paragraph. If the
beneficiary from receiving Cal-COBRA coverage. There is a                  qualified beneficiary is no longer disabled under the Social
30 day grace period to pay subsequent premiums. If the                     Security Act, the benefits provided in this paragraph shall
premium is not paid before the expiration of the grace period,             terminate on the later of 36 months after the date the qualified
Cal-COBRA continuation benefits will terminate at midnight                 beneficiary’s benefits under the policy would otherwise have
at the end of the period for which premium payments were                   terminated because of a Qualifying Event, or the month that
made.                                                                      begins more than 31 days after the date of the final
                                                                           determination under Social Security Act that the qualified
If elected, the maximum period of continuation coverage for a              beneficiary is no longer disabled. The qualified beneficiary
Qualifying Event is 36 months from the date the qualified                  eligible for 36 months of continuation coverage as a result of a
beneficiary’s benefits under the policy would have otherwise               disability shall notify Cigna (or an administrator acting on
terminated because of the Qualifying Event.                                Cigna’s behalf) within 30 days of a determination that the
Other events will cause Cal-COBRA benefits to end sooner                   qualified beneficiary is no longer disabled.
and this will occur on the earliest of any of the following:               Continuation of Coverage Upon Termination of Prior
   the date the Employer ceases to provide any group health               Group Health Plan
    plan to any Employee;                                                  The Employer shall notify qualified beneficiaries currently
   the end of the period for which premium payments were                  receiving continuation coverage, whose continuation coverage
    made, if the qualified beneficiary ceases to make payments             will terminate under one group benefit plan prior to the end of
    or fails to make timely payments of a required premium, in             the period the qualified beneficiary would have remained
    accordance with the terms and conditions of the policy;                covered as specified above, of the qualified beneficiary’s
   the first day after the date of election on which the qualified        ability to continue coverage under a new group benefit plan
    beneficiary first becomes covered under any other group                for the balance of the period the qualified beneficiary would
    health plan which does not contain any exclusions or                   have remained covered under the prior group benefit plan.
    limitations with respect to any pre-existing condition for             This notice shall be provided either 30 days prior to the
    such person; or the date such exclusion or limitation no               termination or when all enrolled Employees are notified,
    longer applies to the Employee or Dependent;                           whichever is later.
   the first day after the date of election on which the qualified        Cigna (or an administrator acting on Cigna's behalf) shall
    beneficiary first becomes entitled to Medicare;                        provide to the Employer replacing a health plan contract
                                                                           issued by Cigna, or to the Employer’s agent or broker
   the coverage for a qualified beneficiary that is determined to
                                                                           representative, within 15 days of any written request,
    be disabled under the Social Security Act will terminate as
                                                                           information in possession of Cigna reasonably required to
    described below;
                                                                           administer the notification requirements of this Notification
                                                                           section.



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The Employer shall notify the successor plan in writing of the            Medical Benefits Extension
qualified beneficiaries currently receiving continuation
coverage so that the successor plan, or contracting Employer              Upon Policy Cancellation
or administrator, may provide those qualified beneficiaries               If the Medical Benefits under this plan cease for you or your
with the necessary premium information, enrollment forms,                 Dependent due to cancellation of the policy, and you or your
and instructions consistent with the disclosure required by this          Dependent is Totally Disabled on that date due to an Injury or
Notification section to allow the qualified beneficiary to                Sickness, Medical Benefits will be paid without requirement
continue coverage. This information shall be sent to all                  of premium for Covered Expenses incurred in connection with
qualified beneficiaries who are enrolled in the plan and those            that Injury or Sickness. However, no benefits will be paid after
qualified beneficiaries who have been notified as specified in            the earliest of:
this Cal-COBRA section of their ability to continue their                    the date you exceed the Maximum Benefit, if any, shown in
coverage and may still elect coverage within the specified 60                 the Schedule;
day period. This information shall be sent to the qualified
beneficiary’s last known address, as provided to the Employer                the date you are covered for medical benefits under another
by Cigna (or an administrator acting on Cigna's behalf),                      group policy;
currently providing continuation coverage to the qualified                   the date you are no longer Totally Disabled;
beneficiary. The successor plan shall not be obligated to                    12 months from the date your Medical Benefits cease;
provide this information to qualified beneficiaries if the
Employer or prior plan fails to comply with this section.                    12 months from the date the policy is canceled.
If the plan provides for a conversion privilege, the plan must            Totally Disabled
offer this option within the 180 days of the end of the                   You will be considered Totally Disabled if, because of an
maximum period. However, no conversion will be provided if                Injury or a Sickness:
the qualified beneficiary does not actually maintain Cal-                    you are unable to perform the basic duties of your
COBRA coverage to the expiration date.                                        occupation; and
IMPORTANT NOTICE – CAL-COBRA BENEFITS WILL                                   you are not performing any other work or engaging in any
ONLY BE ADMINISTERED ACCORDING TO THE                                         other occupation for wage or profit.
TERMS OF THE CONTRACT. CIGNA WILL NOT BE
                                                                          Your Dependent will be considered Totally Disabled if,
OBLIGATED TO ADMINISTER, OR FURNISH, ANY
                                                                          because of an Injury or a Sickness:
CAL-COBRA BENEFITS AFTER THE CONTRACT HAS
TERMINATED.                                                                  he is unable to engage in the normal activities of a person of
                                                                              the same age, sex and ability; or
                                                                             in the case of a Dependent who normally works for wage or
HC-TRM118                                                    10-16
                                                                              profit, he is not performing such work.
                                                                          The terms of this Medical Benefits Extension will not apply to
                                                                          a child born as a result of a pregnancy which exists when your
Rescissions                                                               or your Dependent's Medical Benefits cease.
Your coverage may not be rescinded (retroactively terminated)
by Cigna or the plan sponsor unless the plan sponsor or an
                                                                          HC-BEX7                                                       04-10
individual (or a person seeking coverage on behalf of the
                                                                                                                                           V1
individual) performs an act, practice or omission that
constitutes fraud; or the plan sponsor or individual (or a
person seeking coverage on behalf of the individual) makes an
intentional misrepresentation of material fact.                           Federal Requirements
                                                                          The following pages explain your rights and responsibilities
HC-TRM80                                                     01-11        under federal laws and regulations. Some states may have
                                                                          similar requirements. If a similar provision appears elsewhere
                                                                          in this booklet, the provision which provides the better benefit
                                                                          will apply.


                                                                          HC-FED1                                                       10-10




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Notice of Provider Directory/Networks                                         the order provides a description of the coverage to be
                                                                               provided, or the manner in which the type of coverage is to
Notice Regarding Provider Directories and Provider
                                                                               be determined;
Networks
                                                                              the order states the period to which it applies; and
A list of network providers is available to you without charge
by visiting the website or by calling the phone number on your                if the order is a National Medical Support Notice completed
ID card. The network consists of providers, including                          in accordance with the Child Support Performance and
hospitals, of varied specialties as well as general practice,                  Incentive Act of 1998, such Notice meets the requirements
affiliated or contracted with Cigna or an organization                         above.
contracting on its behalf.                                                 The QMCSO may not require the health insurance policy to
Notice Regarding Pharmacy Directories and Pharmacy                         provide coverage for any type or form of benefit or option not
Networks                                                                   otherwise provided under the policy, except that an order may
                                                                           require a plan to comply with State laws regarding health care
A list of network pharmacies is available to you without
                                                                           coverage.
charge by visiting the website or by calling the phone number
on your ID card. The network consists of pharmacies affiliated             Payment of Benefits
or contracted with Cigna or an organization contracting on its             Any payment of benefits in reimbursement for Covered
behalf.                                                                    Expenses paid by the child, or the child’s custodial parent or
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
HC-FED78                                                      10-10
                                                                           address have been substituted for the name and address of the
                                                                           child.

Qualified Medical Child Support Order
                                                                           HC-FED4                                                      10-10
(QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is                      Special Enrollment Rights Under the Health
issued for your child, that child will be eligible for coverage as
                                                                           Insurance Portability & Accountability Act
required by the order and you will not be considered a Late
Entrant for Dependent Insurance.                                           (HIPAA)
You must notify your Employer and elect coverage for that                  If you or your eligible Dependent(s) experience a special
child, and yourself if you are not already enrolled, within 31             enrollment event as described below, you or your eligible
days of the QMCSO being issued.                                            Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
Qualified Medical Child Support Order Defined                              the special enrollment events listed below. If you are already
A Qualified Medical Child Support Order is a judgment,                     enrolled in the Plan, you may request enrollment for you and
decree or order (including approval of a settlement agreement)             your eligible Dependent(s) under a different option offered by
or administrative notice, which is issued pursuant to a state              the Employer for which you are currently eligible. If you are
domestic relations law (including a community property law),               not already enrolled in the Plan, you must request special
or to an administrative process, which provides for child                  enrollment for yourself in addition to your eligible
support or provides for health benefit coverage to such child              Dependent(s). You and all of your eligible Dependent(s) must
and relates to benefits under the group health plan, and                   be covered under the same option. The special enrollment
satisfies all of the following:                                            events include:
   the order recognizes or creates a child’s right to receive                Acquiring a new Dependent. If you acquire a new
    group health benefits for which a participant or beneficiary               Dependent(s) through marriage, birth, adoption or
    is eligible;                                                               placement for adoption, you may request special enrollment
   the order specifies your name and last known address, and                  for any of the following combinations of individuals if not
    the child’s name and last known address, except that the                   already enrolled in the Plan: Employee only; spouse only;
    name and address of an official of a state or political                    Employee and spouse; Dependent child(ren) only;
    subdivision may be substituted for the child’s mailing                     Employee and Dependent child(ren); Employee, spouse and
    address;                                                                   Dependent child(ren). Enrollment of Dependent children is
                                                                               limited to the newborn or adopted children or children who



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    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
                                                                             contributions toward COBRA or other continuation
   Loss of eligibility for other coverage (excluding                        coverage as provided under any severance or other
    continuation coverage). If coverage was declined under                   agreement.
    this Plan due to coverage under another plan, and eligibility
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
                                                                             must request enrollment within 60 days after the date you
     divorce or legal separation;
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
                                                                         Except as stated above, special enrollment must be
      limiting age);                                                     requested within 30 days after the occurrence of the
     death of the Employee;                                             special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
                                                                         be effective immediately on the date of birth, adoption or
     reduction in work hours to below the minimum required
                                                                         placement for adoption. Coverage with regard to any other
      for eligibility;
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work            first day of the first calendar month following receipt of
      in the other plan’s network service area and no other              the request for special enrollment.
      coverage is available under the other plan;
                                                                         Domestic Partners and their children (if not legal children of
     you or your Dependent(s) incur a claim which meets or              the Employee) are not eligible for special enrollment.
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or
                                                                         HC-FED96                                                      04-17
     the other plan no longer offers any benefits to a class of
      similarly situated individuals.
   Termination of Employer contributions (excluding
    continuation coverage). If a current or former Employer              Effect of Section 125 Tax Regulations on This
    ceases all contributions toward the Employee’s or                    Plan
    Dependent’s other coverage, special enrollment may be                Your Employer has chosen to administer this Plan in
    requested in this Plan for you and all of your eligible              accordance with Section 125 regulations of the Internal
    Dependent(s).                                                        Revenue Code. Per this regulation, you may agree to a pretax
   Exhaustion of COBRA or other continuation coverage.                  salary reduction put toward the cost of your benefits.
    Special enrollment may be requested in this Plan for you             Otherwise, you will receive your taxable earnings as cash
    and all of your eligible Dependent(s) upon exhaustion of             (salary).
    COBRA or other continuation coverage. If you or your
    Dependent(s) elect COBRA or other continuation coverage
    following loss of coverage under another plan, the COBRA
    or other continuation coverage must be exhausted before
    any special enrollment rights exist under this Plan. An
    individual is considered to have exhausted COBRA or other


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A. Coverage elections                                                    F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                another employer’s plan
enroll for or change coverage only before each annual benefit            You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                 spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                      Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in          the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change          enrollment periods.
    coverage within the time period established by your
    Employer.                                                            G. Reduction in work hours
B. Change of status                                                      If an Employee’s work hours are reduced below 30
                                                                         hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                        eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a           (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                      Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,               be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                     following the month that includes the date the original
                                                                         coverage is revoked.
   change in employment status of Employee, spouse or
    Dependent due to termination or start of employment,                 H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,        Employee: The Employee must be eligible for a Special
    including under the Family and Medical Leave Act                     Enrollment Period to enroll in a QHP through an Exchange
    (FMLA), or change in worksite;                                       (Marketplace) or the Employee seeks to enroll in a QHP
   changes in employment status of Employee, spouse or                  through an Exchange during the Marketplace’s annual open
    Dependent resulting in eligibility or ineligibility for              enrollment period; and the disenrollment from the group plan
    coverage;                                                            corresponds to the intended enrollment of the Employee (and
                                                                         family) in a QHP through an Exchange for new coverage
   change in residence of Employee, spouse or Dependent to a
                                                                         effective beginning no later than the day immediately
    location outside of the Employer’s network service area;
                                                                         following the last day of the original coverage.
    and
                                                                         Family: A plan may allow an Employee to revoke family
   changes which cause a Dependent to become eligible or                coverage midyear in order for family members (“related
    ineligible for coverage.
                                                                         individuals”) to enroll in a QHP through an Exchange
C. Court order                                                           (Marketplace). The related individual(s) must be eligible for a
A change in coverage due to and consistent with a court order            Special Enrollment Period to enroll in a QHP or seek to enroll
of the Employee or other person to cover a Dependent.                    in a QHP during the Marketplace’s annual open enrollment
                                                                         period, and the disenrollment from the group plan corresponds
D. Medicare or Medicaid eligibility/entitlement
                                                                         to the intended enrollment of the individual(s) in a QHP for
The Employee, spouse or Dependent cancels or reduces                     new coverage effective beginning no later than the day
coverage due to entitlement to Medicare or Medicaid, or                  immediately following the last day of the original coverage. If
enrolls or increases coverage due to loss of Medicare or                 the Employee does not enroll in a QHP, the Employee must
Medicaid eligibility.                                                    select self-only coverage or family coverage including one or
E. Change in cost of coverage                                            more already-covered individuals.
If the cost of benefits increases or decreases during a benefit
period, your Employer may, in accordance with plan terms,                HC-FED111                                                  01-23
automatically change your elective contribution.
When the change in cost is significant, you may either
increase your contribution or elect less-costly coverage. When           Eligibility for Coverage for Adopted Children
a significant overall reduction is made to the benefit option
you have elected, you may elect another available benefit                Any child who is adopted by you, including a child who is
option. When a new benefit option is added, you may change               placed with you for adoption, will be eligible for Dependent
your election to the new benefit option.                                 Insurance, if otherwise eligible as a Dependent, upon the date
                                                                         of placement with you. A child will be considered placed for



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adoption when you become legally obligated to support that                 Group Plan Coverage Instead of Medicaid
child, totally or partially, prior to that child’s adoption.
                                                                           If your income and liquid resources do not exceed certain
If a child placed for adoption is not adopted, all health                  limits established by law, the state may decide to pay
coverage ceases when the placement ends, and will not be                   premiums for this coverage instead of for Medicaid, if it is
continued.                                                                 cost effective. This includes premiums for continuation
The provisions in the “Exception for Newborns” section of                  coverage required by federal law.
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
                                                                           HC-FED13                                                       10-10
or a child placed with you for adoption.


HC-FED67                                                      09-14
                                                                           Requirements of Family and Medical Leave Act
                                                                           of 1993 (as amended) (FMLA)
                                                                           Any provisions of the policy that provide for: continuation of
Coverage for Maternity Hospital Stay                                       insurance during a leave of absence; and reinstatement of
Group health plans and health insurance issuers offering group             insurance following a return to Active Service; are modified
health insurance coverage generally may not, under a federal               by the following provisions of the federal Family and Medical
law known as the “Newborns’ and Mothers’ Health Protection                 Leave Act of 1993, as amended, where applicable:
Act”: restrict benefits for any Hospital length of stay in                 Continuation of Health Insurance During Leave
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96           Your health insurance will be continued during a leave of
hours following a cesarean section; or require that a provider             absence if:
obtain authorization from the plan or insurance issuer for                    that leave qualifies as a leave of absence under the Family
prescribing a length of stay not in excess of the above periods.               and Medical Leave Act of 1993, as amended; and
The law generally does not prohibit an attending provider of                  you are an eligible Employee under the terms of that Act.
the mother or newborn, in consultation with the mother, from
discharging the mother or newborn earlier than 48 or 96 hours,             The cost of your health insurance during such leave must be
as applicable.                                                             paid, whether entirely by your Employer or in part by you and
                                                                           your Employer.
Please review this Plan for further details on the specific
coverage available to you and your Dependents.                             Reinstatement of Canceled Insurance Following Leave
                                                                           Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
HC-FED11                                                      10-10
                                                                           Act of 1993, as amended, any canceled insurance (health, life
                                                                           or disability) will be reinstated as of the date of your return.
                                                                           You will not be required to satisfy any eligibility or benefit
Women’s Health and Cancer Rights Act                                       waiting period to the extent that they had been satisfied prior
(WHCRA)                                                                    to the start of such leave of absence.
Do you know that your plan, as required by the Women’s                     Your Employer will give you detailed information about the
Health and Cancer Rights Act of 1998, provides benefits for                Family and Medical Leave Act of 1993, as amended.
mastectomy-related services including all stages of
reconstruction and surgery to achieve symmetry between the
                                                                           HC-FED93                                                       10-17
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more
information.                                                               Uniformed Services Employment and Re-
                                                                           Employment Rights Act of 1994 (USERRA)
HC-FED12                                                      10-10        The Uniformed Services Employment and Re-employment
                                                                           Rights Act of 1994 (USERRA) sets requirements for
                                                                           continuation of health coverage and re-employment in regard
                                                                           to an Employee’s military leave of absence. These
                                                                           requirements apply to medical and dental coverage for you


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and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The Certificate describes who is responsible for
For leaves of less than 31 days, coverage will continue as                obtaining this review. You or your authorized representative
described in the Termination section regarding Leave of                   (typically, your health care professional) must request prior
Absence.                                                                  authorization according to the procedures described below, in
                                                                          the Certificate, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for              documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to               you or your representative will receive a written description of
your Employer, until the earliest of the following:                       the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the Certificate, in your
    Employer;                                                             provider’s network participation documents as applicable, and
   the day after you fail to return to work; and                         in the determination notices.
   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to                    service is a Covered Expense, is authorized for coverage by
102% of the total premium.                                                the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.
                                                                          When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
If your coverage under this plan terminates as a result of your           include the date a determination can be expected, which will
eligibility for military medical and dental coverage and your             be no more than 30 days after receipt of the request. If more
order to active duty is canceled before your active duty service          time is needed because necessary information is missing from
commences, these reinstatement rights will continue to apply.             the request, the notice will also specify what information is
                                                                          needed, and you or your representative must provide the
                                                                          specified information to Cigna within 45 days after receiving
HC-FED18                                                     10-10        the notice. The determination period will be suspended on the
                                                                          date Cigna sends such a notice of missing information, and the
                                                                          determination period will resume on the date you or your
Claim Determination Procedures under ERISA                                representative responds to the notice.
The following complies with federal law. Provisions of                    If the determination periods above would seriously jeopardize
applicable laws of your state may supersede.                              your life or health, your ability to regain maximum function,
                                                                          or in the opinion of a health care professional with knowledge
Procedures Regarding Medical Necessity Determinations                     of your health condition, cause you severe pain which cannot
In general, health services and benefits must be Medically                be managed without the requested services, Cigna will make
Necessary to be covered under the plan. The procedures for                the preservice determination on an expedited basis. Cigna will
determining Medical Necessity vary, according to the type of              defer to the determination of the treating health care
service or benefit requested, and the type of health plan.                professional regarding whether an expedited determination is
                                                                          necessary. Cigna will notify you or your representative of an


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expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
                                                                        statement of a claimant’s rights to bring a civil action under
If you or your representative attempts to request a preservice          section 502(a) of ERISA following an adverse benefit
determination, but fails to follow Cigna’s procedures for               determination on appeal, (if applicable); upon request and free
requesting a required preservice determination, Cigna will              of charge, a copy of any internal rule, guideline, protocol or
notify you or your representative of the failure and describe           other similar criterion that was relied upon in making the
the proper procedures for filing within 5 days (or 24 hours, if         adverse determination regarding your claim; and an
an expedited determination is required, as described above)             explanation of the scientific or clinical judgment for a
after receiving the request. This notice may be provided orally,        determination that is based on a Medical Necessity,
unless you or your representative requests written notification.        experimental treatment or other similar exclusion or limit; a
Concurrent Determinations                                               description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination             HC-FED104                                                  01-19
within 24 hours after receiving the request.
Postservice Determinations
When you or your representative requests a coverage                     COBRA Continuation Rights Under Federal
determination or a claim payment determination after services           Law
have been rendered, Cigna will notify you or your
representative of the determination within 30 days after                For You and Your Dependents
receiving the request. However, if more time is needed to               What is COBRA Continuation Coverage?
make a determination due to matters beyond Cigna’s control,             Under federal law, you and/or your Dependents must be given
Cigna will notify you or your representative within 30 days             the opportunity to continue health insurance when there is a
after receiving the request. This notice will include the date a        “qualifying event” that would result in loss of coverage under
determination can be expected, which will be no more than 45            the Plan. You and/or your Dependents will be permitted to
days after receipt of the request.                                      continue the same coverage under which you or your
If more time is needed because necessary information is                 Dependents were covered on the day before the qualifying
missing from the request, the notice will also specify what             event occurred, unless you move out of that plan’s coverage
information is needed, and you or your representative must              area or the plan is no longer available. You and/or your
provide the specified information to Cigna within 45 days               Dependents cannot change coverage options until the next
after receiving the notice. The determination period will be            open enrollment period.
suspended on the date Cigna sends such a notice of missing
information, and the determination period will resume on the
date you or your representative responds to the notice.
Notice of Adverse Determination
Every notice of an adverse benefit determination will be
provided in writing or electronically, and will include all of


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When is COBRA Continuation Available?                                 available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                    event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following          divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of              to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                              Disability Extension
   your termination of employment for any reason, other than         If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                              termination of employment or reduction in work hours, you or
   your reduction in work hours.                                     one of your Dependents is determined by the Social Security
                                                                      Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is                   XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following          elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of              continuation for an additional 11 months, for a maximum of
coverage under the Plan:                                              29 months from the initial qualifying event.
   your death;                                                       To qualify for the disability extension, all of the following
   your divorce or legal separation; or                              requirements must be satisfied:
   for a Dependent child, failure to continue to qualify as a           SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                             within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                    continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may           A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                  to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were                date the SSA determination is made AND before the end of
covered by the Plan on the day the qualifying event occurred:             the initial 18-month continuation period.
you, your spouse, and your Dependent children. Each                   If the SSA later determines that the individual is no longer
qualified beneficiary has their own right to elect or decline         disabled, you must notify the Plan Administrator within 30
COBRA continuation coverage even if you decline or are not            days after the date the final determination is made by SSA.
eligible for COBRA continuation.                                      The 11-month disability extension will terminate for all
The following individuals are not qualified beneficiaries for         covered persons on the first day of the month that is more than
purposes of COBRA continuation: domestic partners,                    30 days after the date the SSA makes a final determination
grandchildren (unless adopted by you), stepchildren (unless           that the disabled individual is no longer disabled.
adopted by you). Although these individuals do not have an            All causes for “Termination of COBRA Continuation” listed
independent right to elect COBRA continuation coverage, if            below will also apply to the period of disability extension.
you elect COBRA continuation coverage for yourself, you               Medicare Extension for Your Dependents
may also cover your Dependents even if they are not
considered qualified beneficiaries under COBRA. However,              When the qualifying event is your termination of employment
such individuals’ coverage will terminate when your COBRA             or reduction in work hours and you became enrolled in
continuation coverage terminates. The sections titled                 Medicare (Part A, Part B or both) within the 18 months before
“Secondary Qualifying Events” and “Medicare Extension For             the qualifying event, COBRA continuation coverage for your
Your Dependents” are not applicable to these individuals.             Dependents will last for up to 36 months after the date you
                                                                      became enrolled in Medicare. Your COBRA continuation
Secondary Qualifying Events                                           coverage will last for up to 18 months from the date of your
If, as a result of your termination of employment or reduction        termination of employment or reduction in work hours.
in work hours, your Dependent(s) have elected COBRA                   Termination of COBRA Continuation
continuation coverage and one or more Dependents experience
another COBRA qualifying event, the affected Dependent(s)             COBRA continuation coverage will be terminated upon the
may elect to extend their COBRA continuation coverage for             occurrence of any of the following:
an additional 18 months (7 months if the secondary event                 the end of the COBRA continuation period of 18, 29 or 36
occurs within the disability extension period) for a maximum              months, as applicable;
of 36 months from the initial qualifying event. The second               failure to pay the required premium within 30 calendar days
qualifying event must occur before the end of the initial 18              after the due date;
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no                    cancellation of the Employer’s policy with Cigna;
circumstances will COBRA continuation coverage be


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   after electing COBRA continuation coverage, a qualified                 in the case of a multi-employer plan, no later than 14 days
    beneficiary enrolls in Medicare (Part A, Part B, or both);               after the end of the period in which Employers must
   after electing COBRA continuation coverage, a qualified                  provide notice of a qualifying event to the Plan
    beneficiary becomes covered under another group health                   Administrator.
    plan, unless the qualified beneficiary has a condition for           How to Elect COBRA Continuation Coverage
    which the new plan limits or excludes coverage under a pre-          The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will             who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable            inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                  include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an           coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;             election no later than the due date stated on the COBRA
   any reason the Plan would terminate coverage of a                    election notice. If a written election notice is required, it must
    participant or beneficiary who is not receiving continuation         be post-marked no later than the due date stated on the
    coverage (e.g., fraud).                                              COBRA election notice. If you do not make proper
Moving Out of Employer’s Service Area or Elimination of                  notification by the due date shown on the notice, you and your
a Service Area                                                           Dependents will lose the right to elect COBRA continuation
                                                                         coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                 the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your           furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan
will be limited to emergency services only. Because the Plan             Each qualified beneficiary has an independent right to elect
does not provide out-of-network coverage, nonemergency                   COBRA continuation coverage. Continuation coverage may
services will not be covered under the plan outside of the               be elected for only one, several, or for all Dependents who are
Employer’s service area. If the Employer offers another                  qualified beneficiaries. Parents may elect to continue coverage
benefit option through Cigna or another carrier which can                on behalf of their Dependent children. You or your spouse
provide coverage in your location, you may elect COBRA                   may elect continuation coverage on behalf of all the qualified
continuation coverage under that option.                                 beneficiaries. You are not required to elect COBRA
                                                                         continuation coverage in order for your Dependents to elect
Employer’s Notification Requirements                                     COBRA continuation.
Your Employer is required to provide you and/or your                     How Much Does COBRA Continuation Coverage Cost?
Dependents with the following notices:
                                                                         Each qualified beneficiary may be required to pay the entire
   An initial notification of COBRA continuation rights must            cost of continuation coverage. The amount may not exceed
    be provided within 90 days after your (or your spouse’s)             102% of the cost to the group health plan (including both
    coverage under the Plan begins (or the Plan first becomes            Employer and Employee contributions) for coverage of a
    subject to COBRA continuation requirements, if later). If            similarly situated active Employee or family member. The
    you and/or your Dependents experience a qualifying event             premium during the 11-month disability extension may not
    before the end of that 90-day period, the initial notice must        exceed 150% of the cost to the group health plan (including
    be provided within the time frame required for the COBRA             both employer and employee contributions) for coverage of a
    continuation coverage election notice as explained below.            similarly situated active Employee or family member.
   A COBRA continuation coverage election notice must be                For example: If the Employee alone elects COBRA
    provided to you and/or your Dependents within the                    continuation coverage, the Employee will be charged 102%
    following timeframes:                                                (or 150%) of the active Employee premium. If the spouse or
     if the Plan provides that COBRA continuation coverage              one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the            coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the           Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the         elects COBRA continuation coverage, they will be charged
      Plan;                                                              102% (or 150%) of the applicable family premium.
     if the Plan provides that COBRA continuation coverage              When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the            First payment for COBRA continuation
      Plan Administrator of a qualifying event starts upon the
      occurrence of a qualifying event, 44 days after the                If you elect COBRA continuation coverage, you do not have
      qualifying event occurs; or                                        to send any payment with the election form. However, you
                                                                         must make your first payment no later than 45 calendar days


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after the date of your election. (This is the date the Election         the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first         (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                    etc.).
continuation rights under the Plan.                                     Newly Acquired Dependents
Subsequent payments                                                     If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation                adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments              being continued, you may cover such Dependent under your
of the required premium for each additional month of                    COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If             or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage             continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without           the coverage period following your early termination of
any break.                                                              COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                   COBRA coverage for your Dependent spouse and any
                                                                        Dependent children who are not your children (e.g.,
Although subsequent payments are due by the first day of the            stepchildren or grandchildren) will cease on the date your
month, you will be given a grace period of 30 days after the            COBRA coverage ceases and they are not eligible for a
first day of the coverage period to make each monthly                   secondary qualifying event.
payment. Your COBRA continuation coverage will be
provided for each coverage period as long as payment for that           COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for          Bankruptcy
that payment. However, if your payment is received after the            If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                 is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                 United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                  continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before              coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated           within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that           covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                  entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                 Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage            be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                  months following your death. However, COBRA continuation
coverage under the Plan.                                                coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                       listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following             Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator               You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                 law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a           continuation benefits.
result of the qualifying event:
   Your divorce or legal separation; or                                HC-FED66                                                       07-14
   Your child ceases to qualify as a Dependent under the Plan.
   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice              ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
                                                                        The name of the Plan is:
    month COBRA period).
                                                                          Amity Foundation Welfare Benefit Plan
(Also refer to the section titled “Disability Extension” for
additional notice requirements.)
Notice must be made in writing and must include: the name of
the Plan, name and address of the Employee covered under the
Plan, name and address(es) of the qualified beneficiaries
affected by the qualifying event; the qualifying event; the date


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The name, address, ZIP code and business telephone number              Plan Modification, Amendment and Termination
of the sponsor of the Plan is:                                         The Employer as Plan Sponsor reserves the right to, at any
  Amity Foundation                                                     time, change or terminate benefits under the Plan, to change or
  3801 South Broadway                                                  terminate the eligibility of classes of employees to be covered
  Los Angeles, CA 90037                                                by the Plan, to amend or eliminate any other plan term or
  808-400-8808                                                         condition, and to terminate the whole plan or any part of it.
Employer Identification             Plan Number:                       Contact the Employer for the procedure by which benefits
Number (EIN):                                                          may be changed or terminated, by which the eligibility of
                                                                       classes of employees may be changed or terminated, or by
770418201                           501                                which part or all of the Plan may be terminated. No consent of
The name, address, ZIP code and business telephone number              any participant is required to terminate, modify, amend or
of the Plan Administrator is:                                          change the Plan.
  Employer named above                                                 Termination of the Plan together with termination of the
The name, address and ZIP code of the person designated as             insurance policy(s) which funds the Plan benefits will have no
agent for service of legal process is:                                 adverse effect on any benefits to be paid under the policy(s)
                                                                       for any covered medical expenses incurred prior to the date
  Employer named above
                                                                       that policy(s) terminates. Likewise, any extension of benefits
The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:                                                                    disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
                                                                       termination. Rights to purchase limited amounts of life and
The cost of the Plan is shared by Employee and Employer.
                                                                       medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 06/30.                                  the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
                                                                       on the earliest of the following dates:
A list of any Trustees of the Plan, which includes name, title
and address, is available upon request to the Plan                        the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                                 the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                    if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                          the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.                                    Statement of Rights
Discretionary Authority                                                As a participant in the plan you are entitled to certain rights
The Plan Administrator delegates to Cigna the discretionary            and protections under the Employee Retirement Income
authority to interpret and apply plan terms and to make factual        Security Act of 1974 (ERISA). ERISA provides that all plan
determinations in connection with its review of claims under           participants shall be entitled to:
the plan. Such discretionary authority is intended to include,         Receive Information About Your Plan and Benefits
but not limited to, the determination of the eligibility of
                                                                        examine, without charge, at the Plan Administrator’s office
persons desiring to enroll in or claim benefits under the plan,
                                                                         and at other specified locations, such as worksites and union
the determination of whether a person is entitled to benefits
                                                                         halls, all documents governing the plan, including insurance
under the plan, and the computation of any and all benefit
                                                                         contracts and collective bargaining agreements and a copy
payments. The Plan Administrator also delegates to Cigna the
                                                                         of the latest annual report (Form 5500 Series) filed by the
discretionary authority to perform a full and fair review, as
                                                                         plan with the U.S. Department of Labor and available at the
required by ERISA, of each claim denial which has been
                                                                         Public Disclosure room of the Employee Benefits Security
appealed by the claimant or his duly authorized representative.
                                                                         Administration.


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   obtain, upon written request to the Plan Administrator,             have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                   may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,           finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)           Assistance with Your Questions
    and updated summary plan description. The administrator
    may make a reasonable charge for the copies.                        If you have any questions about your plan, you should contact
                                                                        the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The        statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person        assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.        you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                     Security Administration, U.S. Department of Labor listed in
 continue health care coverage for yourself, your spouse or            your telephone directory or the Division of Technical
  Dependents if there is a loss of coverage under the Plan as a         Assistance and Inquiries, Employee Benefits Security
  result of a qualifying event. You or your Dependents may              Administration, U.S. Department of Labor, 200 Constitution
  have to pay for such coverage. Review the documents                   Avenue N.W., Washington, D.C. 20210. You may also obtain
  governing the Plan on the rules governing your federal                certain publications about your rights and responsibilities
  continuation coverage rights.                                         under ERISA by calling the publications hotline of the
                                                                        Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                        HC-FED72                                                        05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants        Notice of an Appeal or a Grievance
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise                    The appeal or grievance provision in this certificate may be
discriminate against you in any way to prevent you from                 superseded by the law of your state. Please see your
obtaining a welfare benefit or exercising your rights under             explanation of benefits for the applicable appeal or grievance
ERISA. If your claim for a welfare benefit is denied or                 procedure.
ignored you have a right to know why this was done, to obtain
copies of documents relating to the decision without charge,            HC-SPP4                                                         04-10
and to appeal any denial, all within certain time schedules.                                                                              V1

Enforce Your Rights
Under ERISA, there are steps you can take to enforce the
above rights. For instance, if you request a copy of documents          Appointment of Authorized Representative
governing the plan or the latest annual report from the plan            You may appoint an authorized representative to assist you in
and do not receive them within 30 days, you may file suit in a          submitting a claim or appealing a claim denial. However,
federal court. In such a case, the court may require the plan           Cigna may require you to designate your authorized
administrator to provide the materials and pay you up to $110           representative in writing using a form approved by Cigna. At
a day until you receive the materials, unless the materials were        all times, the appointment of an authorized representative is
not sent because of reasons beyond the control of the                   revocable by you. To ensure that a prior appointment remains
administrator. If you have a claim for benefits which is denied         valid, Cigna may require you to re-appoint your authorized
or ignored, in whole or in part, you may file suit in a state or        representative, from time to time.
federal court.
                                                                        Cigna reserves the right to refuse to honor the appointment of
In addition, if you disagree with the plan’s decision or lack           a representative if Cigna reasonably determines that:
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in               the signature on an authorized representative form may not
federal court. If it should happen that plan fiduciaries misuse             be yours, or
the plan’s money, or if you are discriminated against for                  the authorized representative may not have disclosed to you
asserting your rights, you may seek assistance from the U.S.                all of the relevant facts and circumstances relating to the
Department of Labor, or you may file suit in a federal court.               overpayment or underpayment of any claim, including, for
The court will decide who should pay court costs and legal                  example, that the billing practices of the provider of medical
fees. If you are successful the court may order the person you              services may have jeopardized your coverage through the


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  waiver of the cost-sharing amounts that you are required to               continued coverage pending the outcome of an appeal.
  pay under your plan.                                                      Appeals may be submitted to the following address:
If your designation of an authorized representative is revoked,               Cigna
or Cigna does not honor your designation, you may appoint a                   National Appeals Organization (NAO)
new authorized representative at any time, in writing, using a                PO Box 188011
form approved by Cigna.                                                       Chattanooga, TN 37422
If for any reason, you are not capable of appointing a new                  You should state the reason why you feel your appeal should
authorized representative, a duly authorized representative                 be approved and include any information supporting your
may do so on your behalf. If Cigna does not honor your                      appeal. If you are unable or choose not to write, you may ask
designation of an authorized representative, you may request                to register your appeal by telephone. Call us at the toll-free
reconsideration of Cigna's determination by, as applicable,                 number on your Benefit Identification card, explanation of
confirming that the signature on the authorization is yours, or             benefits or claim form.
that the authorized representative fully disclosed to you all               Your appeal will be reviewed and the decision made by
relevant facts regarding its billing practices.                             someone not involved in the initial decision. Appeals
                                                                            involving Medical Necessity or clinical appropriateness will
HC-AAR2                                                        01-17
                                                                            be considered by a health care professional.
                                                                            We will respond in writing with a decision within 30 calendar
                                                                            days after we receive an appeal for a required pre-service or
                                                                            concurrent care coverage determination (decision). We will
When You Have A Complaint Or An                                             respond within 30 calendar days after we receive an appeal for
Adverse Determination Appeal                                                a post-service coverage determination. If more time or
For the purposes of this section, any reference to "you",                   information is needed to make the determination, we will
"your” or "Member" also refers to a representative or provider              notify you in writing to request an extension of up to 30
designated by you to act on your behalf, unless otherwise                   calendar days and to specify any additional information
noted.                                                                      needed to complete the review. Please note that the California
                                                                            Department of Insurance (CDI) does not require you to
We want you to be completely satisfied with the care and                    participate in Cigna's appeals review for more than 30 days
service you receive. That is why we have established a process              although you may choose to do so. At the completion of this
for addressing your concerns and solving your problems.                     30-day-review period, when the disputed decision is upheld or
Start with Customer Service                                                 your case remains unresolved, you may apply to the CDI for a
We are here to listen and help. If you have a concern regarding             review of your case.
a person, a service, the quality of care, or contractual benefits,          In the event any new or additional information (evidence) is
or a rescission of coverage, you can call our toll-free number              considered, relied upon or generated by Cigna in connection
and explain your concern to one of our Customer Service                     with the appeal, Cigna will provide this information to you as
representatives. Please call us at the Customer Service toll-free           soon as possible and sufficiently in advance of the decision, so
number that appears on your Benefit Identification card,                    that you will have an opportunity to respond. Also, if any new
explanation of benefits or claim form.                                      or additional rationale is considered by Cigna, Cigna will
We will do our best to resolve the matter on your initial                   provide the rationale to you as soon as possible and
contact. If we need more time to review or investigate your                 sufficiently in advance of the decision so that you will have an
concern, we will get back to you as soon as possible, but in                opportunity to respond.
any case within 30 days.                                                    You may request that the appeal process be expedited if, your
If you are not satisfied with the results of a coverage decision,           treating Physician certifies in writing that an imminent and
you can start the appeals procedure.                                        serious threat to your health may exist, including, but not
                                                                            limited to, serious pain, the potential loss of life, limb, or
Internal Appeal Procedure                                                   major bodily function, or the immediate and serious
Cigna has a one-step appeal procedure for appeals decisions.                deterioration of your health.
To initiate an appeal for most claims, you must submit a                    If you request that your appeal be expedited, you may also ask
request for an appeal within 365 days of receipt of a denial                for an expedited external Independent Review at the same
notice. If you appeal a reduction or termination in coverage for            time, if the time to complete an expedited internal appeal
an ongoing course of treatment that Cigna previously                        would be detrimental to your medical condition.
approved, you will receive, as required by applicable law,



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When an appeal is expedited, we will respond orally with a                   seriously debilitating condition; your Physician’s
decision within 72 hours, followed up in writing. The CDI                    certification must also indicate that standard therapies have
allows you to apply for an Independent Medical Review after                  not been effective in treating your condition or the requested
this expedited decision if you are unsatisfied with our                      therapy is likely to be more beneficial than any standard
determination.                                                               therapy as documented in two separate sources of medical
Independent Medical Review Procedures                                        or scientific evidence;
When the disputed decision is upheld or your case remains                   an envelope for you to return the completed forms to us.
unresolved after 30 days and when your case meets the criteria           A “life-threatening” condition means either or both of the
outlined below, you are eligible to apply to the CDI for an              following:
Independent Medical Review (IMR). The CDI has final                         diseases or conditions where the likelihood of death is high
authority to accept or deny cases for the IMR process. If your               unless the course of the disease is interrupted.
case is not accepted for IMR, the CDI will treat your
application as a request for the CDI itself to review your issues           diseases or conditions with potentially fatal outcomes,
and concerns. Prior to application for an IMR, you are free to               where the end point of clinical intervention is survival.
seek other avenues of appeal with Cigna. If you choose to do                a “seriously debilitating” condition means diseases or
so, you will not forfeit your eligibility to apply for the IMR.              conditions that cause major irreversible morbidity.
The Independent Medical Review Organization is composed                  “Medical and scientific evidence” means any of the following:
of persons who are not employed by Cigna or any of its                      peer-reviewed scientific studies published in or accepted for
affiliates. A decision to use the voluntary level of appeal will             publication by medical journals that meet nationally
not affect the claimant's rights to any other benefits under the             recognized requirements for scientific manuscripts and that
policy.                                                                      submit most of their published articles for review by experts
There is no charge for you to apply for or participate in this               who are not part of the editorial staff.
IMR process. Cigna will abide by the decision of the                        peer-reviewed literature, biomedical compendia and other
Independent Medical Review Organization.                                     medical literature that meet the criteria of the National
In order to qualify for an IMR, certain conditions must be met:              Institutes of Health's National Library of Medicine for
your Physician has recommended a health care service as                      indexing in Index Medicus, Excerpta Medicus (EMBASE),
Medically Necessary and Cigna has disagreed with this                        Medline and MEDLARS database Health Services
determination, or you have received urgent care or emergency                 Technology Assessment Research (HSTAR).
services that a Physician has deemed Medically Necessary and                medical journals recognized by the Secretary of Health and
Cigna has disagreed with this determination, or you have been                Human Services, under section 1861(t)(2) of the Social
seen by a Physician for the diagnosis or treatment of the                    Security Act.
medical condition for which you are seeking an Independent
                                                                            either of the following standard reference compendia: The
Medical Review and Cigna has determined these services as
                                                                             American Hospital Formulary Service-Drug Information,
not Medically Necessary or clinically appropriate.
Administrative, eligibility or benefit coverage limits or                    the American Dental Association Accepted Dental
exclusions are not eligible for an independent medical appeal                Therapeutics and The United States Pharmacopoeia-Drug
                                                                             Information.
under this process. You remain entitled to send such issues to
the CDI for a Department review.                                            any of the following reference compendia if recognized by
                                                                             the Federal Center for Medicare and Medicaid Services as
Independent Review Process for Experimental and
                                                                             part of an anticancer chemotherapeutic regimen: The
Investigational Therapies
                                                                             Elsevier Gold Standard's Clinical Pharmacology, The
Special provisions apply to the IMR process for coverage                     National Comprehensive Cancer Network Drug and
decisions related to experimental or investigational therapies.              Biologics Compendium, The Thomson Micromedex
If Cigna denies your appeal because the requested service or                 DrugDex.
treatment is experimental or investigational, Cigna will send
                                                                            findings, studies, or research conducted by or under the
you a letter within 5 business days of making the denial
decision. The letter will include:                                           auspices of federal government agencies and nationally
                                                                             recognized federal research institutes, including the Federal
   a notice explaining your right to an IMR;                                Agency for Health Care Policy and Research, National
   an IMR application;                                                      Institutes of Health, National Cancer Institute, National
   a Physician Certification Form for your Physician to                     Academy of Sciences, Health Care Financing
    complete which certifies that you have a life-threatening or             Administration, Congressional Office of Technology
                                                                             Assessment, and any national board recognized by the


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    National Institutes of Health for the purpose of evaluating          statement describing any voluntary appeal procedures offered
    the medical value of health services.                                by the plan and the claimant's right to bring an action under
   peer-reviewed abstracts accepted for presentation at major           ERISA section 502(a); upon request and free of charge, a copy
    medical association meetings.                                        of any internal rule, guideline, protocol or other similar
                                                                         criterion that was relied upon in making the adverse
The IMR will be conducted by an Independent Medical                      determination regarding your appeal, and an explanation of the
Review Organization which is qualified to review issues                  scientific or clinical judgment for a determination that is based
related to experimental and investigational therapies as
                                                                         on a Medical Necessity, experimental treatment or other
selected by the CDI. The IMR must be completed within 30
                                                                         similar exclusion or limit; and information about any office of
calendar days. If your Physician determines that the proposed
                                                                         health insurance consumer assistance or ombudsman available
therapy which is the subject of the IMR would be significantly
                                                                         to assist you in the appeal process. A final notice of adverse
less effective if not initiated promptly, an expedited IMR is
available. An expedited IMR will be completed within 7                   determination will include a discussion of the decision.
calendar days from the date an expedited IMR was requested.              You also have the right to bring a civil action under section
This timeframe may be extended by up to 3 calendar days if               502(a) of ERISA if you are not satisfied with the decision on
there is a delay in providing any documents which the                    review. You or your plan may have other voluntary alternative
Independent Medical Review Organization requests for                     dispute resolution options such as Mediation. One way to find
review. The IMR’s decision must state the reason that the                out what may be available is to contact your local U.S.
therapy should or should not be covered, citing your specific            Department of Labor office and your state insurance
medical condition, the relevant documents, and the relevant              regulatory agency. You may also contact the Plan
medical and scientific evidence. Cigna will cover the services           Administrator.
subject to the terms and conditions generally applicable to
                                                                         Relevant Information
other benefits under your policy.
                                                                         Relevant Information is any document, record, or other
Assistance from the State of California
                                                                         information which was relied upon in making the benefit
We will provide you with an application and instructions on              determination; was submitted, considered, or generated in the
how to apply to the CDI for an IMR. You must submit the                  course of making the benefit determination, without regard to
application to the CDI within 180 days of your receipt of our            whether such document, record, or other information was
appeal review denial. In compelling circumstances, the                   relied upon in making the benefit determination; demonstrate
Commissioner of Insurance may grant an extension.                        compliance with the administrative processes and safeguards
The Independent Medical Review Organization will render an               required by federal law in making the benefit determination;
opinion within 30 days. If a delay would be detrimental to               or constitutes a statement of policy or guidance with respect to
your medical condition, you may apply to the Department for              the policy concerning the denied treatment option or benefit or
an expedited review of your case. If accepted, the Independent           the claimant's diagnosis, without regard to whether such
Medical Review Organization will render a decision in three              advice or statement was relied upon in making the benefit
days.                                                                    determination.
You have the right to contact the California Department of               Legal Action
Insurance for assistance at any time. The Commissioner may               If your plan is governed by ERISA, you have the right to bring
be contacted at the following address and fax number:                    a civil action under section 502(a) of ERISA if you are not
    California Department of Insurance                                   satisfied with the outcome of the Appeals Procedure. In most
    Claims Service Bureau, Attn: IMR                                     instances, you may not initiate a legal action against Cigna
    300 South Spring Street                                              until you have completed the appeal processes. However, no
    Los Angeles, CA 90013                                                action will be brought at all unless brought within three years
    or fax to 213-897-5891                                               after a claim is submitted for In-Network services.
Notice of Benefit Determination on Appeal
Every notice of an appeal decision will be provided in writing           HC-APL415                                                    01-20

or electronically and, if an adverse determination, will include:
information sufficient to identify the claim; the specific reason        Definitions
or reasons for the denial decision; reference to the specific
policy provisions on which the decision is based; a statement            Active Service
that the claimant is entitled to receive, upon request and free          You will be considered in Active Service:
of charge, reasonable access to and copies of all documents,                on any of your Employer's scheduled work days if you are
records, and other Relevant Information as defined; a                        performing the regular duties of your work on a full-time


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    basis on that day either at your Employer's place of business          Biosimilar
    or at some location to which you are required to travel for            A Biologic that is highly similar to the reference Biologic
    your Employer's business.                                              product notwithstanding minor differences in clinically
   on a day which is not one of your Employer's scheduled                 inactive components, and has no clinically meaningful
    work days if you were in Active Service on the preceding               differences from the reference Biologic in terms of its safety,
    scheduled work day.                                                    purity, and potency, as defined under Section 351(i) of the
                                                                           Public Health Service Act (42 USC 262(i)) (as amended by
                                                                           the Biologics Price Competition and Innovation Act of 2009,
HC-DFS1186                                             HC-DFS1095V4
                                                                           title VII of the Patient Protection and Affordable Care Act,
                                                              08-18
                                                                           Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                           thereafter).
Ambulance
Licensed ambulance transportation services involve the use of              HC-DFS1130                                             HC-DFS841V2
specially designed and equipped vehicles for transporting ill or                                                                         10-16
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.
                                                                           Brand Drug
                                                                           A Prescription Drug Product that Cigna identifies as a Brand
HC-DFS1406                                                    01-20
                                                                           Drug product across its book-of-business, principally based on
                                                                           available data resources, including, but not limited to, First
Biologic                                                                   DataBank or another nationally recognized drug indicator
                                                                           source, that classify drugs or Biologics as either brand or
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
                                                                           generic based on a number of factors. Not all products
blood component or derivative, allergenic product, protein
                                                                           identified as a "brand name" by the manufacturer, Pharmacy,
(except any chemically synthesized polypeptide), or analogous
                                                                           or your Physician may be classified as a Brand Drug under the
product, or arsphenamine or derivative of arsphenamine (or
                                                                           plan.
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of
human beings, as defined under Section 351(i) of the Public                HC-DFS1130                                             HC-DFS842V3
Health Service Act (42 USC 262(i)) (as amended by the                                                                                    10-16
Biologics Price Competition and Innovation Act of 2009, title
VII of the Patient Protection and Affordable Care Act, Pub. L.
No. 111-148, § 7002 (2010), and as may be amended                          Business Decision Team
thereafter).                                                               A committee comprised of voting and non-voting
                                                                           representatives across various Cigna business units such as
                                                                           clinical, medical and business leadership that is duly
HC-DFS1130                                             HC-DFS840V2
                                                                           authorized by Cigna to make – subject to the P&T
                                                              10-16
                                                                           Committee’s findings – decisions regarding coverage
                                                                           treatment of Prescription Drug Products or Medical
                                                                           Pharmaceuticals based on clinical findings provided by the
                                                                           P&T Committee, including, but not limited to, decisions
                                                                           regarding tier placement and application of utilization
                                                                           management to Prescription Drug Products or Medical
                                                                           Pharmaceuticals. The P&T Committee is responsible for
                                                                           ensuring that the plan offers a clinically appropriate
                                                                           Prescription Drug List to enrollees consistent with the
                                                                           requirements of CIC 10123.201(b)(6).
                                                                           A decision by the P&T Committee is paramount to a decision
                                                                           by the Business Decision Team.


                                                                           HC-DFS1130                                              HC-DFS1099
                                                                                                                                         10-16




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                                                                                 proof of handicap/dependency annually, after the two year
Charges                                                                          period following the child's 26th birthday.
The term charges means the actual billed charges; except                    The term child means a child born to you, a child legally
when Cigna has contracted directly or indirectly for a different            adopted by you from the date the child is placed in your
amount including where Cigna has directly or indirectly                     physical custody prior to the finalization of the child's
contracted with an entity to arrange for the provision of                   adoption, or a child supported by you pursuant to a court order
services and/or supplies through contracts with providers of                (including a qualified medical child support order). It also
such services and/or supplies.                                              includes a stepchild or a child for whom you are the legal
                                                                            guardian. If your Domestic Partner has a child, that child will
                                                                            also be included as a Dependent.
HC-DFS1193                                                     01-19
                                                                            Benefits for a Dependent child will continue until the last day
                                                                            of the calendar month in which the limiting age is reached.
Custodial Services                                                          Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent.
safeguarding nature. Such services may include a stay in an                 No one may be considered as a Dependent of more than one
institutional setting, at-home care, or nursing services to care            Employee.
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly              HC-DFS1023                                                  10-16

to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;                  Designated Pharmacy
they are intended to provide care while the patient cannot care
for himself or herself. Custodial Services include but are not              A Network Pharmacy that has entered into an agreement with
limited to:                                                                 Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                            provide Prescription Drug Products or services, including,
   Services related to watching or protecting a person;                    without limitation, specific Prescription Drug Products, to plan
   Services related to performing or assisting a person in                 enrollees on a preferred or exclusive basis. For example, a
    performing any activities of daily living, such as: walking,            Designated Pharmacy may provide enrollees certain Specialty
    grooming, bathing, dressing, getting in or out of bed,                  Prescription Drug Products that have limited distribution
    toileting, eating, preparing foods, or taking medications that          availability, provide enrollees with an extended days’ supply
    can be self administered, and                                           of Prescription Drug Products or provide enrollees with
   Services not required to be performed by trained or skilled             Prescription Drug Products on a preferred cost share basis.
    medical or paramedical personnel.                                       The fact that a Pharmacy is a Network Pharmacy does not
                                                                            mean that it is a Designated Pharmacy.

HC-DFS4                                                        04-10
                                                                            HC-DFS1131                                            HC-DFS845V2
                                                                  V1
                                                                                                                                        10-16


Dependent
                                                                            Domestic Partner
Dependents are:
                                                                            A Domestic Partner is defined as your Domestic Partner who
   your lawful spouse; or                                                  has registered the domestic partnership by filing a Declaration
   your Domestic Partner; and                                              of Domestic Partnership with the California Secretary of state
   any child of yours who is                                               pursuant to Section 298 of the Family Code or an equivalent
                                                                            document issued by a local agency of California, another state,
     less than 26 years old.
                                                                            or a local agency of another state under which the partnership
     26 or more years old, unmarried, and primarily supported              was created.
      by you and incapable of self-sustaining employment by
      reason of mental or physical disability. The plan may
      require written proof of such disability and dependency
      within 60 days of receiving our request for written proof.
      After the original proof is received, the plan may ask for



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The sections of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" and “Continuation of Coverage                   The term Employer means the Policyholder and all Affiliated
under Cal-COBRA” will not apply to your Domestic Partner                  Employers.
and his or her Dependents.

                                                                          HC-DFS8                                                         04-10
HC-DFS1024                                                   10-16
                                                                                                                                            V1



Emergency Medical Condition                                               Essential Health Benefits
Emergency medical condition means a medical condition                     Essential health benefits means, to the extent covered under
which manifests itself by acute symptoms of sufficient                    the plan, expenses incurred with respect to covered services, in
severity (including severe pain) such that a prudent layperson,           at least the following categories: ambulatory patient services,
who possesses an average knowledge of health and medicine,                emergency services, hospitalization, maternity and newborn
could reasonably expect the absence of immediate medical                  care, mental health and substance use disorder services,
attention to result in placing the health of the individual (or,          including behavioral health treatment, prescription drugs,
with respect to a pregnant woman, the health of the woman or              rehabilitative and habilitative services and devices, laboratory
her unborn child) in serious jeopardy; serious impairment to              services, preventive and wellness services and chronic disease
bodily functions; or serious dysfunction of any bodily organ or           management and pediatric services, including oral and vision
part.                                                                     care.

HC-DFS394                                                    11-10        HC-DFS411                                                       01-11



Emergency Services                                                        Expense Incurred
Emergency services means, with respect to an emergency                    An expense is incurred when the service or the supply for
medical condition, a medical screening examination that is                which it is incurred is provided.
within the capability of the emergency department of a
Hospital, including ancillary services routinely available to the
emergency department to evaluate the emergency medical                    HC-DFS10                                                        04-10

condition; and such further medical examination and                                                                                         V1

treatment, to the extent they are within the capabilities of the
staff and facilities available at the Hospital, to stabilize the          Free-Standing Surgical Facility
patient.
                                                                          The term Free-Standing Surgical Facility means an institution
                                                                          which meets all of the following requirements:
HC-DFS1414                                                   01-20
                                                                             it has a medical staff of Physicians, Nurses and licensed
                                                                              anesthesiologists;
Employee                                                                     it maintains at least two operating rooms and one recovery
The term Employee means a full-time Employee of the                           room;
Employer who is currently in Active Service. The term does                   it maintains diagnostic laboratory and x-ray facilities;
not include Employees who are part-time or temporary or who
                                                                             it has equipment for emergency care;
normally work less than 30 hours a week for the Employer.
                                                                             it has a blood supply;
                                                                             it maintains medical records;
HC-DFS1186                                              HC-DFS1189
                                                             08-18           it has agreements with Hospitals for immediate acceptance
                                                                              of patients who need Hospital Confinement on an inpatient
                                                                              basis; and
                                                                             it is licensed in accordance with the laws of the appropriate
                                                                              legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted               Hospice Facility
otherwise, is covered with the same cost share as an                       The term Hospice Facility means an institution or part of it
Outpatient Facility.                                                       which:
                                                                              primarily provides care for Terminally Ill patients;
HC-DFS1407                                                    01-20
                                                                              is accredited by the National Hospice Organization;
                                                                              meets standards established by Cigna; and
Generic Drug                                                                  fulfills any licensing requirements of the state or locality in
A Prescription Drug Product that Cigna identifies as a Generic                 which it operates.
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator                   HC-DFS53                                                         04-10
                                                                                                                                              V1
source, that classify drugs or Biologics (including Biosimilars)
as either brand or generic based on a number of factors. Not
all products identified as a "generic" by the manufacturer,                Hospital
Pharmacy or your Physician may be classified as a Generic
                                                                           The term Hospital means:
Drug under the plan. A Biosimilar may be classified as a
Generic Drug for the purposes of benefits under the plan even                 an institution licensed as a hospital, which: maintains, on
if it is identified as a “brand name” drug by the manufacturer,                the premises, all facilities necessary for medical and
Pharmacy or your Physician.                                                    surgical treatment; provides such treatment on an inpatient
                                                                               basis, for compensation, under the supervision of
                                                                               Physicians; and provides 24-hour service by Registered
HC-DFS1131                                              HC-DFS846V3            Graduate Nurses;
                                                              10-16
                                                                              an institution which qualifies as a hospital, a psychiatric
                                                                               hospital or a tuberculosis hospital, and a provider of
Hospice Care Program                                                           services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                           a hospital by the Joint Commission on the Accreditation of
                                                                               Healthcare Organizations; or
   a coordinated, interdisciplinary program to meet the
    physical, psychological, spiritual and social needs of dying              an institution which: specializes in treatment of Mental
    persons and their families;                                                Health and Substance Use Disorder or other related illness;
                                                                               provides residential treatment programs; and is licensed in
   a program that provides palliative and supportive medical,                 accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                authorized agency.
    care during the illness;
                                                                           The term Hospital does not include an institution which is
   a program for persons who have a Terminal Illness and for              primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                         home.

HC-DFS51                                                      04-10
                                                                           HC-DFS1415                                                       01-20
                                                                V1
                                                                                                                                              V2



Hospice Care Services                                                      Hospital Confinement or Confined in a Hospital
The term Hospice Care Services means any services provided                 A person will be considered Confined in a Hospital if he is:
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                   a registered bed patient in a Hospital upon the
or any other licensed facility or agency under a Hospice Care                  recommendation of a Physician;
Program.                                                                      receiving treatment for Mental Health and Substance Abuse
                                                                               Services in a Partial Hospitalization program;
HC-DFS52                                                      04-10
                                                                V1




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   receiving treatment for Mental Health and Substance Abuse              In some cases, a Medicare based schedule will not be used and
    Services in a Mental Health or Substance Abuse Residential             the Maximum Reimbursable Charge for covered services is
    Treatment Center.                                                      determined based on the lesser of:
                                                                              the provider’s normal charge for a similar service or supply;
HC-DFS49                                                      04-10
                                                                               or
                                                                V1            the 80th percentile of charges made by providers of such
                                                                               service or supply in the geographic area where it is received
                                                                               as compiled in a database selected by Cigna. If sufficient
Injury
                                                                               charge data is unavailable in the database for that
The term Injury means an accidental bodily injury.                             geographic area to determine the Maximum Reimbursable
                                                                               Charge, then data in the database for similar services may
                                                                               be used.
HC-DFS12                                                      04-10
                                                                V1         The Maximum Reimbursable Charge is subject to all other
                                                                           benefit limitations and applicable coding and payment
                                                                           methodologies determined by Cigna. Additional information
Maintenance Drug Product                                                   about how Cigna determines the Maximum Reimbursable
A Prescription Drug Product that is prescribed for use over an             Charge is available upon request.
extended period of time for the treatment of chronic or long-
term conditions such as asthma, hypertension, diabetes and
heart disease, and is identified principally based on                      HC-DFS1196                                                    01-19

consideration of available data resources, including, but not
limited to, First DataBank or another nationally recognized                Medicaid
drug indicator source and clinical factors. For the purposes of
                                                                           The term Medicaid means a state program of medical aid for
benefits, the list of your plan’s Maintenance Drug Products
                                                                           needy persons established under Title XIX of the Social
does not include compounded medications, Specialty
                                                                           Security Act of 1965 as amended.
Prescription Drug Products or Prescription Drug Products,
such as certain narcotics that a Pharmacy cannot dispense
above certain supply limits per Prescription Drug Order or                 HC-DFS16                                                      04-10
Refill under applicable federal or state law. You may                                                                                      V1
determine whether a drug is a Maintenance Medication by
calling member services at the telephone number on your ID
card.                                                                      Medical Pharmaceutical
                                                                           An FDA-approved prescription pharmaceutical product,
                                                                           including a Specialty Prescription Drug Product, typically
HC-DFS1306                                              HC-DFS847V2
                                                                           required to be administered in connection with a covered
                                                              01-19
                                                                           service by a Physician or Other Health Professional within the
                                                                           scope of the provider's license. This definition includes certain
Maximum Reimbursable Charge - Medical                                      pharmaceutical products whose administration may initially or
                                                                           typically require Physician oversight but may be self-
The Maximum Reimbursable Charge does not apply to
                                                                           administered under certain conditions specified in the
Emergency Services.
                                                                           product’s FDA labeling. This definition does not include any
The Maximum Reimbursable Charge for covered services is                    charges for mobile, web-based or other electronic applications
determined based on the lesser of:                                         or software, even if approved for marketing as a prescription
   the provider’s normal charge for a similar service or supply;          product by the FDA.
    or
   a policyholder-selected percentage of a schedule that Cigna            HC-DFS1410                                                    01-20
    has developed that is based upon a methodology similar to a
    methodology utilized by Medicare to determine the
    allowable fee for the same or similar service within the               Medically Necessary/Medical Necessity
    geographic market.                                                     Health care services, supplies and medications provided for
The percentage used to determine the Maximum Reimbursable                  the purpose of preventing, evaluating, diagnosing or treating a
Charge is listed in The Schedule.                                          Sickness, Injury, condition, disease or its symptoms, that are



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all of the following as determined by a Medical Director or                    The term Necessary Services and Supplies will not include
Review Organization:                                                           any charges for special nursing fees, dental fees or medical
   required to diagnose or treat an illness, Injury, disease or its           fees.
    symptoms;
   in accordance with generally accepted standards of medical                 HC-DFS1409                                                      01-20
    practice;
   clinically appropriate in terms of type, frequency, extent,                Network Pharmacy
    site and duration;
                                                                               A retail or home delivery Pharmacy that has:
   not primarily for the convenience of the patient, Physician
                                                                                  entered into an agreement with Cigna or an entity
    or Other Health Professional;
                                                                                   contracting on Cigna's behalf to provide Prescription Drug
   not more costly than an alternative service(s), medication(s)                  Products to plan enrollees.
    or supply(ies) that is at least as likely to produce equivalent
                                                                                  agreed to accept specified reimbursement rates for
    therapeutic or diagnostic results with the same safety profile
                                                                                   dispensing Prescription Drug Products.
    as to the prevention, evaluation, diagnosis or treatment of
    your Sickness, Injury, condition, disease or its symptoms;                    been designated as a Network Pharmacy for the purposes of
    and                                                                            coverage under your Employer’s plan.
   rendered in the least intensive setting that is appropriate for            This term may also include, as applicable, an entity that has
    the delivery of the services, supplies or medications. Where               directly or indirectly contracted with Cigna to arrange for the
    applicable, the Medical Director or Review Organization                    provision of any Prescription Drug Products the charges for
    may compare the cost-effectiveness of alternative services,                which are Covered Expenses.
    supplies, medications or settings when determining least
    intensive setting.
                                                                               HC-DFS1305                                               HC-DFS1198V1
In determining whether health care services, supplies, or                                                                                      01-19
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.                       New Prescription Drug Product
Clinical coverage policies may incorporate, without limitation                 A Prescription Drug Product, or new use or dosage form of a
and as applicable, criteria relating to U.S. Food and Drug                     previously FDA-approved Prescription Drug Product, for the
Administration-approved labeling, the standard medical                         period of time starting on the date the Prescription Drug
reference compendia and peer-reviewed, evidence-based                          Product or newly-approved use or dosage form becomes
scientific literature or guidelines.                                           available on the market following approval by the U.S. Food
                                                                               and Drug Administration (FDA) and ending on the date
                                                                               Cigna's Business Decision Team makes a Prescription Drug
HC-DFS1411                                                        01-20
                                                                               List coverage status decision.

Medicare                                                                       HC-DFS1305                                               HC-DFS850V2
The term Medicare means the program of medical care                                                                                            01-19
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.
                                                                               Nurse
                                                                               The term Nurse means a Registered Graduate Nurse, a
HC-DFS17                                                          04-10
                                                                               Licensed Practical Nurse or a Licensed Vocational Nurse who
                                                                    V1
                                                                               has the right to use the abbreviation "R.N.," "L.P.N." or
                                                                               "L.V.N."
Necessary Services and Supplies
The term Necessary Services and Supplies includes any                          HC-DFS22                                                        04-10
charges, except charges for Room and Board, made by a                                                                                            V1
Hospital for medical services and supplies actually used
during Hospital Confinement.




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Other Health Care Facility                                                 Pharmacy
The term Other Health Care Facility means a facility other                 A duly licensed Pharmacy that dispenses Prescription Drug
than a Hospital or Hospice Facility. Examples of Other Health              Products in a retail setting or via home delivery. A home
Care Facilities include, but are not limited to, licensed skilled          delivery Pharmacy is a Pharmacy that primarily provides
nursing facilities, rehabilitation Hospitals and subacute                  Prescription Drug Products through mail order.
facilities.
                                                                           HC-DFS1178                                            HC-DFS851V2
HC-DFS1412                                                    01-20


                                                                           Pharmacy & Therapeutics (P&T) Committee
Other Health Professional                                                  A committee comprised of both voting and non-voting Cigna-
The term Other Health Professional means an individual other               employed clinicians, Medical Directors and Pharmacy
than a Physician who is licensed or otherwise authorized under             Directors and non-employees such as Participating Providers
the applicable state law to deliver medical services and                   that represent a range of clinical specialties, and the
supplies. Other Health Professionals include, but are not                  composition of which satisfies the membership requirements
limited to physical therapists, registered nurses and licensed             of CIC 10123.201. The committee regularly reviews Medical
practical nurses. Other Health Professionals do not include                Pharmaceuticals or Prescription Drug Products, including New
providers such as Certified First Assistants, Certified                    Prescription Drug Products, for safety and efficacy, the
Operating Room Technicians, Certified Surgical                             findings of which clinical reviews inform coverage status
Assistants/Technicians, Licensed Certified Surgical                        decisions made by the Business Decision Team. The P&T
Assistants/Technicians, Licensed Surgical Assistants,                      Committee’s review may be based on consideration of,
Orthopedic Physician Assistants and Surgical First Assistants.             without limitation, U.S. Food and Drug Administration-
                                                                           approved labeling, standard medical reference compendia, or
                                                                           scientific studies published in peer-reviewed English-language
HC-DFS1413                                                    01-20
                                                                           bio-medical journals.
                                                                           A decision by the P&T Committee is paramount to a decision
Participating Provider                                                     by the Business Decision Team.
The term Participating Provider means a person or entity that
has a direct or indirect contractual arrangement with Cigna to
                                                                           HC-DFS1178                                             HC-DFS1100
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has
directly or indirectly contracted with Cigna to arrange, through           Physician
contracts with providers of services and/or supplies, for the              The term Physician means a licensed medical practitioner who
provision of any services and/or supplies, the Charges for                 is practicing within the scope of his license and who is
which are Covered Expenses.                                                licensed to prescribe and administer drugs or to perform
                                                                           surgery. It will also include any other licensed medical
HC-DFS1194                                                    01-19
                                                                           practitioner whose services are required to be covered by law
                                                                           in the locality where the policy is issued if he is:
                                                                              operating within the scope of his license; and
Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                     performing a service for which benefits are provided under
                                                                               this plan when performed by a Physician.
Patient Protection and Affordable Care Act of 2010 means the
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education                   HC-DFS25                                                    04-10
Reconciliation Act of 2010 (Public Law 111-152).                                                                                         V1



HC-DFS412                                                     01-11        Prescription Drug Charge
                                                                           The Prescription Drug Charge is the amount that, prior to
                                                                           application of the plan’s cost-share requirement(s), is payable
                                                                           by Cigna to its Pharmacy Benefit Manager for a specific
                                                                           covered Prescription Drug Product dispensed at a Network


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Pharmacy, including any applicable dispensing fee and tax.                This definition does not include any charges for mobile, web-
The “Pharmacy Benefit Manager” is the business unit,                      based or other electronic applications or software, even if
affiliate, or other entity that manages the Prescription Drug             approved for marketing as a prescription product by the FDA.
Benefit for Cigna.
                                                                          HC-DFS1178                                              HC-DFS855V2
HC-DFS1178                                              HC-DFS1179


                                                                          Prescription Order or Refill
Prescription Drug List                                                    The lawful directive to dispense a Prescription Drug Product
A list that categorizes drugs, Biologics (including Biosimilars)          issued by a Physician whose scope of practice permits issuing
or other products covered under the plan’s Prescription Drug              such a directive.
Benefits that have been approved by the U.S. Food and Drug
Administration (FDA) into coverage tiers. This list is
                                                                          HC-DFS1178                                              HC-DFS856V2
developed by Cigna's Business Decision Team based on
clinical factors communicated by the P&T Committee, and
adopted by your Employer as part of the plan. The list is                 Preventive Care Medications
subject to periodic review and change, and is subject to the
                                                                          The Prescription Drug Products or other medications
limitations and exclusions of the plan. You may determine to
                                                                          (including over-the-counter medications) designated as
which tier a particular Prescription Drug Product has been
                                                                          payable by the plan at 100% of the cost (without application of
assigned through the website shown on your ID card or by
                                                                          any Deductible, Copayment or Coinsurance) as required by
calling customer service at the telephone number on your ID
                                                                          applicable law under any of the following:
card.
                                                                             Evidence-based items or services that have in effect a rating
                                                                              of "A" or "B" in the current recommendations of the United
HC-DFS1178                                             HC-DFS854V2            States Preventive Services Task Force.
                                                                             With respect to infants, children and adolescents, evidence-
Prescription Drug Product                                                     informed preventive care and screenings provided for in the
A drug, Biologic (including a Biosimilar), or other product                   comprehensive guidelines supported by the Health
that has been approved by the U.S. Food and Drug                              Resources and Services Administration.
Administration (FDA), certain products approved under the                    With respect to women, such additional preventive care and
Drug Efficacy Study Implementation review, or products                        screenings as provided for in comprehensive guidelines
marketed prior to 1938 and not subject to review and that can,                supported by the Health Resources and Services
under federal or state law, be dispensed only pursuant to a                   Administration.
Prescription Order or Refill. A Prescription Drug Product                 A written prescription is required to process a claim for a
includes a drug, Biologic or product that, due to its                     Preventive Care Medication. You may determine whether a
characteristics, is approved by the FDA for self-administration           drug is a Preventive Care Medication through the internet
or administration by a non-skilled caregiver. For the purpose             website shown on your ID card or by calling member services
of benefits under the plan, this definition also includes:                at the telephone number on your ID card.
   The following diabetic supplies: alcohol pads, swabs, wipes,
    Glucagon/Glucagen, injection aids, insulin pump
                                                                          HC-DFS1178                                              HC-DFS857V2
    accessories (but excluding insulin pumps), needles
    including pen needles, syringes, test strips, lancets, urine
    glucose and ketone strips;
   Needles and syringes for self-administered medications or
    Biologics covered under the plan’s Prescription Drug
    benefit; and
   Inhaler assistance devices and accessories, peak flow
    meters.




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Primary Care Physician                                                    Serious Emotional Disturbances
The term Primary Care Physician means a Physician who                     A Seriously Emotionally Disturbed (SED) child shall be
qualifies as a Participating Provider in general practice,                defined as a child who:
internal medicine, family practice, obstetrics/gynecology or                 has one or more mental disorders as identified in the most
pediatrics; and who has been selected by you, as authorized by                recent edition of the Diagnostic and Statistical Manual of
Cigna, to provide or arrange for medical care for you or any of               Mental Disorders, other than a primary substance abuse
your insured Dependents.                                                      disorder or developmental disorder, that results in behavior
                                                                              inappropriate to the child's age according to expected
HC-DFS167                                                    04-10
                                                                              developmental norms; and
                                                               V2            is under the age of 18 years old; and
                                                                             meets the criteria in as follows:
Psychologist                                                                   as a result of the mental disorder, the child has substantial
The term Psychologist means a person who is licensed or                         impairment in at least two of the following areas: self-
certified as a clinical psychologist. Where no licensure or                     care, school functioning, family relationships, or ability to
certification exists, the term Psychologist means a person who                  function in the community; and either of the following
is considered qualified as a clinical psychologist by a                         occur:
recognized psychological association. It will also include any                     the child is at risk of removal from the home or has
other licensed counseling practitioner whose services are                           already been removed from the home;
required to be covered by law in the locality where the policy
                                                                                   the mental disorder and impairments have been present
is issued if he is operating within the scope of his license and
                                                                                    for more than six months or are likely to continue for
performing a service for which benefits are provided under
                                                                                    more than one year without treatment.
this plan when performed by a Psychologist.
                                                                               the child displays one of the following: psychotic
                                                                                features, risk of suicide or violence due to a mental
HC-DFS26                                                     04-10              disorder; or
                                                               V1
                                                                               the child meets special education eligibility requirements
                                                                                under Chapter 26.5 (commencing with Section 7570) of
Review Organization                                                             Division 7 of Title 1 of the Government Code.
The term Review Organization refers to an affiliate of Cigna
or another entity to which Cigna has delegated responsibility             HC-DFS168                                                        04-10
for performing utilization review services. The Review                                                                                       V2
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance abuse professionals, and other                Severe Mental Illness
trained staff members who perform utilization review services.            A severe mental illness is defined as: schizophrenia; bipolar
                                                                          disorder; obsessive-compulsive disorder; major depressive
                                                                          disorders; panic disorder; anorexia nervosa; bulimia nervosa;
HC-DFS30                                                     04-10
                                                                          schizoaffective disorder; and pervasive developmental
                                                               V1
                                                                          disorder or autism.

Room and Board
                                                                          HC-DFS169                                                        04-10
The term Room and Board includes all charges made by a                                                                                       V1
Hospital for room and meals and for all general services and
activities needed for the care of registered bed patients.


HC-DFS1408                                                   01-20




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Sickness – For Medical Insurance                                           be considered a Specialty Prescription Drug Product. Specialty
The term Sickness means a physical or mental illness. It also              Prescription Drug Products may vary by plan benefit
includes pregnancy. Expenses incurred for routine Hospital                 assignment based on factors such as method or site of clinical
and pediatric care of a newborn child prior to discharge from              administration, or by tier assignment or utilization
the Hospital nursery will be considered to be incurred as a                management requirements based on factors such as acquisition
result of Sickness.                                                        cost. You may determine whether a medication is a Specialty
                                                                           Prescription Drug Product through the website shown on your
                                                                           ID card or by calling member services at the telephone
HC-DFS50                                                      04-10        number on your ID card.
                                                                V1


                                                                           HC-DFS1135                                            HC-DFS858V2
Skilled Nursing Facility                                                                                                               10-16

The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:                  Stabilize
   physical rehabilitation on an inpatient basis; or                      Stabilize means, with respect to an emergency medical
   skilled nursing and medical care on an inpatient basis;                condition, to provide such medical treatment of the condition
but only if that institution: maintains on the premises all                as may be necessary to assure, within reasonable medical
facilities necessary for medical treatment; provides such                  probability that no material deterioration of the condition is
treatment, for compensation, under the supervision of                      likely to result from or occur during the transfer of the
Physicians; and provides Nurses' services.                                 individual from a facility.


HC-DFS31                                                      04-10        HC-DFS413                                                   01-11

                                                                V1

                                                                           Terminal Illness
Specialist                                                                 A Terminal Illness will be considered to exist if a person
The term Specialist means a Physician who provides                         becomes terminally ill with a prognosis of six months or less
specialized services, and is not engaged in general practice,              to live, as diagnosed by a Physician.
family practice, internal medicine, obstetrics/gynecology or
pediatrics.                                                                HC-DFS54                                                    04-10
                                                                                                                                            V1

HC-DFS33                                                      04-10
                                                                V1
                                                                           Therapeutic Alternative
                                                                           A Prescription Drug Product or Medical Pharmaceutical that is
Specialty Prescription Drug Product                                        of the same therapeutic or pharmacological class, and usually
A Prescription Drug Product or Medical Pharmaceutical                      can be expected to have similar outcomes and adverse reaction
considered by Cigna to be a Specialty Prescription Drug                    profiles when administered in therapeutically equivalent doses
Product based on consideration of the following factors,                   as, another Prescription Drug Product, Medical
subject to applicable law: whether the Prescription Drug                   Pharmaceutical or over-the-counter medication.
Product or Medical Pharmaceutical is prescribed and used for
the treatment of a complex, chronic or rare condition; whether             HC-DFS1135                                            HC-DFS859V2
the Prescription Drug Product or Medical Pharmaceutical has                                                                            10-16
a high acquisition cost; and, whether the Prescription Drug
Product or Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or
clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that
a Prescription Drug Product or Medical Pharmaceutical will


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Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS1135                                             HC-DFS860V2
                                                             10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS1135                                             HC-DFS861V2
                                                             10-16




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  Amazon.com Services LLC




   OPEN ACCESS PLUS IN-NETWORK
   MEDICAL BENEFITS
   Enhanced Plan


  EFFECTIVE DATE: January 1, 2024




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  3345145




  This document printed in July, 2024 takes the place of any documents previously issued to you which
  described your benefits.



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                                         Important Information

Amazon.com Services, LLC (“Amazon”) is pleased to provide you with this Summary Plan Description
(“SPD”) which describes medical benefits available to you and your covered family members under the Group
Health and Welfare Plan.
This Summary Plan Description describes the Open Access Plus In-Network Medical Benefits Enhanced Plan
(the “Plan”), which is a component of the Group Health and Welfare Plan.The Plan, including any benefits
described in this SPD or any booklet or rider attached hereto and incorporated into this SPD, is self-funded by
Amazon and participating subsidiaries. Amazon is financially responsible for the payment of Plan benefits.
Amazon has the final discretionary authority to determine eligibility for benefits and claims and to construe the
terms of the Plan.
Amazon has contracted with Cigna to process claims and for other administrative duties. Amazon has delegated
to Cigna the discretionary authority to determine claims for benefits and to construe the terms used in this Plan
to the extent necessary to perform Cigna’s services. Cigna doesn’t insure this Plan or any of the benefits
described in this SPD. In this Summary Plan Description Cigna is called the “Claims Administrator.”
This SPD is designed to meet your information needs and the disclosure requirements of the Employee
Retirement Income Security Act of 1974 (ERISA).

This Plan complies with the 2010 federal health care reform law, called the Affordable Care Act (see
Definitions). If Congress, federal or state regulators, or the courts make further changes or clarifications
regarding the Affordable Care Act and its implementing regulations, including changes which become
effective on the beginning of the calendar year, this Plan will comply with them even if they are not stated
in this SPD or if they conflict with statements made in this SPD.


THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY AMAZON WHICH IS RESPONSIBLE FOR
THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES CLAIM
ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE BENEFITS
DESCRIBED.
                                                                                                  HC-NOT89




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                                                         Explanation of Terms
You will find terms starting with capital letters throughout your SPD. To help you understand your benefits, most of these terms are
defined in the Definitions section of your SPD.

                                                          The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your coverage. For a full description of
each benefit, refer to the appropriate section listed in this SPD.




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                                                                             Monday through Friday. In addition, your Employer, a
                                                                             claim office or a utilization review program (see the
Special Plan Provisions                                                      PAC/CSR section of your certificate) may refer an
Participating Providers include Physicians, Hospitals and                    individual for Case Management.
Other Health Professionals and Other Health Care Facilities.
                                                                          • The Review Organization assesses each case to determine
Consult your Physician Guide for a list of Participating
Providers in your area. Participating Providers are committed                whether Case Management is appropriate.
to providing you and your Dependents appropriate care while               • You or your Dependent is contacted by an assigned Case
lowering medical costs.                                                      Manager who explains in detail how the program works.
                                                                             Participation in the program is voluntary - no penalty or
Services Available in Conjunction With Your Medical
                                                                             benefit reduction is imposed if you do not wish to
Plan
                                                                             participate in Case Management.
The following pages describe helpful services available in
                                                                          • Following an initial assessment, the Case Manager works
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                with you, your family and Physician to determine the needs
your ID card.                                                                of the patient and to identify what alternate treatment
                                                                             programs are available (for example, in-home medical care
                                                                             in lieu of an extended Hospital convalescence). You are not
HC-SPP70                                                      01-21          penalized if the alternate treatment program is not followed.
                                                                          • The Case Manager arranges for alternate treatment services
Case Management                                                              and supplies, as needed (for example, nursing services or a
Case Management is a service provided through a Review                       Hospital bed and other Durable Medical Equipment for the
Organization, which assists individuals with treatment needs                 home).
that extend beyond the acute care setting. The goal of Case               • The Case Manager also acts as a liaison between the Plan,
Management is to ensure that patients receive appropriate care               the patient, their family and Physician as needed (for
in the most effective setting possible whether at home, as an                example, by helping you to understand a complex medical
outpatient, or an inpatient in a Hospital or specialized facility.           diagnosis or treatment plan).
Should the need for Case Management arise, a Case                         • Once the alternate treatment program is in place, the Case
Management professional will work closely with the patient,                  Manager continues to manage the case to ensure the
their family and the attending Physician to determine                        treatment program remains appropriate to the patient's
appropriate treatment options which will best meet the                       needs.
patient's needs and keep costs manageable. The Case Manager
will help coordinate the treatment program and arrange for                While participation in Case Management is strictly voluntary,
necessary resources. Case Managers are also available to                  Case Management professionals can offer quality, cost-
answer questions and provide ongoing support for the family               effective treatment alternatives, as well as provide assistance
in times of medical crisis.                                               in obtaining needed medical resources and ongoing family
                                                                          support in a time of need.
Case Managers are Registered Nurses (RNs) and other
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and           HC-SPP2                                                     04-10
neonates, oncology, mental health, rehabilitation or general                                                                            V1

medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your Dependent. In addition, Case Managers are supported by               Additional Programs
a panel of Physician advisors who offer guidance on up -to-               We may, from time to time, offer or arrange for various
date treatment programs and medical technology. While the                 entities to offer discounts, benefits, or other consideration to
Case Manager recommends alternate treatment programs and                  our members for the purpose of promoting the general health
helps coordinate needed resources, the patient's attending                and well being of our members. We may also arrange for the
Physician remains responsible for the actual medical care.                reimbursement of all or a portion of the cost of services
• You, your Dependent or an attending Physician can request
   Case Management services by calling the toll-free number
   shown on your ID card during normal business hours,



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provided by other parties to the Employer. Contact us for              Providers. Under tiered benefits, you pay a lower Copayment
details regarding any such arrangements.                               or Coinsurance level for certain covered services rendered by
                                                                       Tier 1-identified Participating Providers than if you receive
                                                                       the same covered services from a Participating Provider that is
HC-SPP3                                                    04-10
                                                                       not identified by Cigna as a Tier 1 Participating Provider.
                                                             V1
Incentives to Participating Providers                                  Cigna identifies Participating Providers as “Tier 1” based on
                                                                       consideration of criteria used to measure cost-efficiency and
Cigna continuously develops programs to help our customers
                                                                       quality and consideration of other factors, including, but not
access quality, cost-effective health care. Some programs
include Participating Providers receiving financial incentives         limited to, local market need.
from Cigna for providing care to members in a way that meets           Refer to The Schedule to identify the covered services that are
or exceeds certain quality and/or cost-efficiency standards,           subject to tiered benefits. In order to receive a higher level of
when, in the Participating Provider’s professional judgment, it        In-Network benefits for covered services identified in The
is appropriate to do so within the applicable standard of care.        Schedule as subject to a tiered benefit, you should also verify
For example, some Participating Providers could receive                that your Primary Care Physician, or Specialist as applicable,
financial incentives for prescribing lower-cost prescription           has been designated by Cigna as a Tier 1 Participating
drugs to manage certain conditions, utilizing or referring you         Provider. Participating Provider tier designations are assessed
to alternative sites of care as determined by your Plan rather         and may change annually. You can access a list of all
than in a more expensive setting, or achieving particular              Participating Providers by visiting www.cigna.com or
outcomes for certain health conditions. Participating Providers        mycigna.com; or by calling the toll-free telephone number on
may also receive purchasing discounts when purchasing                  your ID card. Tier 1 Participating Providers are specifically
certain prescription drugs from Cigna affiliates. Such                 identified in this listing.
programs can help make you healthier, decrease your health
care costs, or both. These programs are not intended to affect         HC-SPP71                                                      01-21
your access to the health care that you need. We encourage
you to talk to your Participating Provider if you have
questions about whether they receive financial incentives from         Important Information
Cigna and whether those incentives apply to your care.                 Rebates and Other Payments
                                                                       Cigna or its affiliates may receive rebates or other
HC-SPP85                                                   01-24       remuneration from pharmaceutical manufacturers in
                                                                       connection with certain Medical Pharmaceuticals covered
                                                                       under your Plan. These rebates or remuneration are not
Care Management and Care Coordination Services                         obtained on you or your Employer’s or Plan’s behalf or for
Your Plan may enter into specific collaborative arrangements           your benefit. Cigna, its affiliates and the Plan are not obligated
with health care professionals committed to improving quality          to pass these rebates on to you, or apply them to your Plan’s
care, patient satisfaction and affordability. Through these            Deductible if any or take them into account in determining
collaborative arrangements, health care professionals commit           your Copayments and/or Coinsurance.
to proactively providing participants with certain care
                                                                       Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate
                                                                       various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at               this Plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health             may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                educational grants and research. Amounts received from
                                                                       pharmaceutical manufacturers pursuant to such arrangements
HC-SPP27                                                   06-15       are not related to this Plan. Cigna and its affiliates are not
                                                             V1        required to pass on to you, and do not pass on to you, such
                                                                       amounts.
                                                                       Coupons, Incentives and Other Communications
Important Notices                                                      At various times, Cigna or its designee may send mailings to
                                                                       you or your Dependents or to your Physician that
Information Regarding Tiering
                                                                       communicate a variety of messages, including information
This plan includes tiered benefits for certain covered services        about Medical Pharmaceuticals. These mailings may contain
identified in The Schedule rendered by Participating                   coupons or offers from pharmaceutical manufacturers that


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enable you or your Dependents, at your discretion, to purchase           https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
the described Medical Pharmaceutical at a discount or to                 phone at:
obtain it at no charge. Pharmaceutical manufacturers may pay               U.S. Department of Health and Human Services
for and/or provide the content for these mailings. Cigna, its              200 Independence Avenue, SW
affiliates and the Plan are not responsible in any way for any             Room 509F, HHH Building
decision you make in connection with any coupon, incentive,                Washington, D.C. 20201
or other offer you may receive from a pharmaceutical                       1-800-368-1019, 1-800-537-7697 (TDD)
manufacturer or Physician.
                                                                         Complaint forms are available at
                                                                         http://www.hhs.gov/ocr/office/file/index.html.
HC-IMP304                                                    01-22


                                                                         HC-NOT96                                                    07-17
Discrimination is Against the Law
Cigna complies with applicable Federal civil rights laws and             Proficiency of Language Assistance Services
does not discriminate on the basis of race, color, national
origin, age, disability or sex. Cigna does not exclude people or         English – ATTENTION: Language assistance services, free
treat them differently because of race, color, national origin,          of charge, are available to you. For current Cigna customers,
                                                                         call the number on the back of your ID card. Otherwise, call 1-
age, disability or sex.
                                                                         800-244-6224 (TTY: Dial 711).
Cigna:
                                                                         Spanish – ATENCIÓN: Hay servicios de asistencia de
• Provides free aids and services to people with disabilities to         idiomas, sin cargo, a su disposición. Si es un cliente actual de
   communicate effectively with us, such as:                             Cigna, llame al número que figura en el reverso de su tarjeta
   • Qualified sign language interpreters                                de identificación. Si no lo es, llame al 1-800-244-6224 (los
   • Written information in other formats (large print, audio,           usuarios de TTY deben llamar al 711).
     accessible electronic formats, other formats)                       Chinese – 注意：我們可為您免費提供語言協助服務。
• Provides free language services to people whose primary                對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
   language is not English, such as                                      其他客戶請致電 1-800-244-6224 （聽障專線：請撥 711）。
   • Qualified interpreters                                              Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
   • Information written in other languages                              về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
                                                                         Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
If you need these services, contact customer service at the toll-
                                                                         khác xin gọi số 1-800-244-6224 (TTY: Quay số 711).
free phone number shown on your ID card, and ask a
Customer Service Associate for assistance.                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you believe that Cigna has failed to provide these services           서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
or discriminated in another way on the basis of race, color,
national origin, age, disability or sex, you can file a grievance        가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
by sending an email to ACAGrievance@cigna.com or by                      연락해주십시오. 기타 다른 경우에는 1.800.244.6224
writing to the following address:
                                                                         (TTY: 다이얼 711)번으로 전화해주십시오.
   Cigna
   Nondiscrimination Complaint Coordinator                               Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
   P.O. Box 188016                                                       tulong sa wika nang libre. Para sa mga kasalukuyang customer
   Chattanooga, TN 37422                                                 ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
If you need assistance filing a written grievance, please call           kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
the number on the back of your ID card or send an email to               Russian – ВНИМАНИЕ: вам могут предоставить
ACAGrievance@cigna.com. You can also file a civil rights                 бесплатные услуги перевода. Если вы уже участвуете в
complaint with the U.S. Department of Health and Human                   плане Cigna, позвоните по номеру, указанному на
Services, Office for Civil Rights electronically through the             обратной стороне вашей идентификационной карточки
Office for Civil Rights Complaint Portal, available at:                  участника плана. Если вы не являетесь участником одного
                                                                         из наших планов, позвоните по номеру 1-800-244-6224
                                                                         (TTY: 711).



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                                                                      Federal CAA - Consolidated Appropriations Act and TIC
French Creole – ATANSYON: Gen sèvis èd nan lang ki                    - Transparency in Coverage Notice
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki           Cigna will make available an internet-based self-service tool
dèyè kat ID ou. Sinon, rele nimewo 1-800-244-6224                     for use by individual customers, as well as certain data in
(TTY: Rele 711).                                                      machine-readable file format on a public website, as required
                                                                      under the Transparency in Coverage rule. Customers can
French – ATTENTION: Des services d’aide linguistique vous
                                                                      access the cost estimator tool on myCigna.com. Updated
sont proposés gratuitement. Si vous êtes un client actuel de
                                                                      machine-readable files can be found on Cigna.com and/or
Cigna, veuillez appeler le numéro indiqué au verso de votre
carte d’identité. Sinon, veuillez appeler le numéro 1-800-244-        CignaForEmployers.com on a monthly basis.
6224 (ATS : composez le numéro 711).                                  Pursuant to Consolidated Appropriations Act (CAA), Section
                                                                      106, Cigna will submit certain air Ambulance claim
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                      information to the Department of Health and Human Services
assistência linguística, totalmente gratuitos. Para clientes
Cigna atuais, ligue para o número que se encontra no verso do         (HHS) in accordance with guidance issued by HHS.
seu cartão de identificação. Caso contrário, ligue para 1-800-        Subject to change based on government guidance for CAA
244-6224 (Dispositivos TTY: marque 711).                              Section 204, Cigna will submit certain prescription drug and
                                                                      health care spending information to HHS through Plan Lists
Polish – UWAGA: w celu skorzystania z dostępnej,
                                                                      Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
bezpłatnej pomocy językowej, obecni klienci firmy Cigna
                                                                      Employer without an integrated pharmacy product aggregated
mogą dzwonić pod numer podany na odwrocie karty
identyfikacyjnej. Wszystkie inne osoby prosimy o                      at the market segment and state level, as outlined in guidance.
skorzystanie z numeru 1-800-244-6224 (TTY: wybierz 711).
Japanese – 注意事項：日本語を話される場合、無料の                                        HC-IMP353                                                  01-24

言語支援サービスをご利用いただけます。現在の Cigna
の お客様は、ID カード裏面の電話番号まで、お電話に                                           Federal CAA - Consolidated Appropriations Act
てご連絡ください。その他の方は、1-800-244-                                            Continuity of Care
6224（TTY: 711）まで、お電話にてご連絡ください。                                        In certain circumstances, if you are receiving continued care
Italian – ATTENZIONE: Sono disponibili servizi di                     from an In-Network provider or facility, and that provider’s
assistenza linguistica gratuiti. Per i clienti Cigna attuali,         network status changes from In-Network to Out-of-Network,
chiamare il numero sul retro della tessera di identificazione.        you may be eligible to continue to receive care from the
In caso contrario, chiamare il numero 1-800-244-6224 (utenti          provider at the In-Network cost-sharing amount for up to 90
TTY: chiamare il numero 711).                                         days from the date you are notified of your provider’s
German – ACHTUNG: Die Leistungen der                                  termination. A continuing care patient is an individual who is:
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.             • Undergoing treatment for a serious and complex condition
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die          •  Pregnant and undergoing treatment for the pregnancy
Nummer auf der Rückseite Ihrer Krankenversicherungskarte
an. Andernfalls rufen Sie 1-800-244-6224 an (TTY: Wählen              • Receiving inpatient care
Sie 711).                                                             • Scheduled to undergo urgent or emergent surgery, including
                                                                         postoperative
                                                                      • Terminally ill (having a life expectancy of 6 months or less)
                                                                         and receiving treatment from the provider for the illness
                                                                      If applicable, Cigna will notify you of your continuity of care
                                                                      options.
                                                                      Appeals
                                                                      Any external review process available under the Plan will
                                                                      apply to any adverse determination regarding claims subject to
HC-NOT97                                                  07-17
                                                                      the No Surprises Act.




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Provider Directories and Provider Networks                             What is “balance billing” (sometimes called “surprise
A list of network providers is available to you, without charge,       billing”)?
by visiting the website or calling the phone number on your ID         When you see a Physician or other health care provider, you
card. The network consists of providers, including Hospitals,          may owe certain out-of-pocket costs, such as a Copayment,
of varied specialties as well as generic practice, affiliated or       Coinsurance, and/or Deductible. You may have additional
contracted with Cigna or an organization contracting on its            costs or have to pay the entire bill if you see a provider or visit
behalf.                                                                a health care facility that is not in your health plan’s network.
Provider directory content is verified and updated, and                “Out-of-Network” means providers and facilities that have not
processes are established for responding to provider network           signed a contract with your health plan to provide services.
status inquiries, in accordance with applicable requirements of        Out-of-Network providers may be allowed to bill you for the
the No Surprises Act.                                                  difference between what your Plan pays and the full amount
If you rely on a provider’s In-Network status in the provider          charged for a service. This is called “balance billing”. This
directory or by contacting Cigna at the website or phone               amount is likely more than In-Network costs for the same
number on your ID card to receive covered services from that           service and might not count toward your Plan’s Deductible or
provider, and that network status is incorrect, then your Plan         annual out-of-pocket limit.
cannot impose Out-of-Network cost shares to that covered               “Surprise billing” is an unexpected balance bill. This can
service. In-Network cost share must be applied as if the               happen when you cannot control who is involved in your care
covered service were provided by an In-Network provider.               – such as when you have an emergency or when you schedule
Direct Access to Obstetricians and Gynecologists                       a visit at an In-Network facility but are unexpectedly treated
                                                                       by an Out-of-Network provider. Surprise medical bills could
You do not need prior authorization from the Plan or from any          cost thousands of dollars depending on the procedure or
other person (including a primary care provider) in order to           service.
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics         You are protected from balance billing for:
or gynecology. The health care professional, however, may be           • Emergency Services – If you have an Emergency Medical
required to comply with certain procedures, including                     Condition and get Emergency Services from an Out-of-
obtaining prior authorization for certain services, following a           Network provider or facility, the most they can bill you is
pre-approved treatment plan, or procedures for making                     your Plan’s In-Network cost-sharing amount (such as a
referrals. For a list of participating health care professionals          Copayments, Coinsurance, and Deductibles). You cannot be
who specialize in obstetrics or gynecology, access the website            balanced billed for these Emergency Services. This includes
or call the phone number on your ID card.                                 services you may get after you are in stable condition,
Selection of a Primary Care Provider                                      unless you give written consent and give up your
                                                                          protections not to be balanced billed for these post-
This Plan generally allows the designation of a primary care              stabilization services.
provider. You have the right to designate any primary care
provider who participates in the network and who is available          • Certain non-Emergency Services at an In-Network
to accept you or your family members. For children, you may               Hospital or ambulatory surgical center – When you get
designate a pediatrician as the primary care provider. For                services from an In-Network Hospital or ambulatory
information on how to select a primary care provider, and for             surgical center, certain providers there may be Out-of-
a list of the participating primary care providers, access the            Network. In these cases, the most those providers can bill
website or call the phone number on your ID card.                         you is your Plan’s In-Network cost sharing amount. This
                                                                          applies to emergency medicine, anesthesia, pathology,
Your Rights and Protections Against Surprise Medical                      radiology, laboratory, neonatology, assistant surgeon,
Bills                                                                     hospitalist, or intensivist services. These providers cannot
When you get emergency care or are treated by an Out-of-                  balance bill you and may not ask you to give up your
Network provider at an In-Network Hospital or ambulatory                  protections not to be balanced billed.
surgical center, you are protected from balance billing. In            If you get other types of services at these In-Network
these situations, you should not be charged more than your             facilities, Out-of-Network providers cannot balance bill you,
Plan’s Copayments, Coinsurance, and/or Deductible.                     unless you give written consent and give up your protections.
                                                                       You are never required to give up your protections from
                                                                       balance billing. You also are not required to get Out-of-




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Network care. You can choose a provider or facility in                 Non-Quantitative Treatment Limitations (NQTLs) include (to
your Plan’s network.                                                   the extent applicable under the Plan):
When balance billing is not allowed, you have these                    • Medical management standards limiting or excluding
protections:                                                             benefits based on Medical Necessity or whether the
• You are only responsible for paying your share of the cost             treatment is experimental or investigative;
   (such as Copayments, Coinsurance, and Deductibles that              • prescription drug formulary design;
   you would pay if the provider were In-Network). Your                •  network admission standards;
   health plan will pay any additional costs to Out-of-Network
                                                                       •  methods for determining In-Network and Out-of-Network
   providers and facilities directly.
                                                                          provider reimbursement rates;
• Generally, your health plan must:
                                                                       • step therapy a/k/a fail-first requirements; and
   • Cover Emergency Services without requiring you to get
                                                                       • exclusions and/or restrictions based on geographic location,
     approval in advance for services (also known as prior
     authorization).                                                      facility type or provider specialty.
   • Cover Emergency Services provided by Out-of-Network
                                                                       A description of your Plan’s NQTL methodologies and
     providers.                                                        processes applied to medical/surgical benefits and Mental
                                                                       Health and Substance Use Disorder benefits is available for
   • Base what you owe the provider or facility (cost sharing)         review by Plan Administrators (e.g. the Employer) and
     on what it would pay an In-Network provider or facility           covered persons:
     and show that amount in your explanation of benefits
                                                                          Employers (Plan Administrators):
     (EOB).
                                                                          https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
   • Count any amount you pay for Emergency Services or                   Log in, select Resources and Training, then select the
     Out-of-Network services toward your In-Network                       NQTL document.
     Deductible and out-of-pocket limit.
                                                                          Participants: www.cigna.com\sp
If you think you have been wrongly billed, contact Cigna at
the phone number on your ID card. You can also contact No              To determine which document applies to your Plan, select the
Surprises Help Desk at 1-800-985-3059 or                               relevant health plan product; medical management model
www.cms.gov/nosurprises for more information about your                (inpatient only or inpatient and outpatient) which can be
rights under federal law.                                              located in this SPD immediately following The Schedule; and
                                                                       pharmacy coverage.

HC-IMP326                                                 01-24
                                                                       HC-NOT113                                                    12-22




Mental Health Parity and Addiction Equity Act of 2008                  How To File Your Claim
(MHPAEA) - Non-Quantitative Treatment Limitations
(NQTLs)                                                                If your Plan provides coverage when care is received only
                                                                       from In-Network providers, you may still have Out-of-
Federal MHPAEA regulations provide that a plan cannot                  Network claims (for example, when Emergency Services are
impose a Non-Quantitative Treatment Limitation (NQTL) on               received from an Out-of-Network provider) and should follow
Mental Health or Substance Use Disorder (MH/SUD) benefits              the claim submission instructions for those claims. Claims can
in any classification unless the processes, strategies,
                                                                       be submitted by the provider if the provider is able and willing
evidentiary standards, or other factors used in applying the
                                                                       to file on your behalf. If the provider is not submitting on your
NQTL to MH/SUD benefits are comparable to, and are
                                                                       behalf, you must send your completed claim form and
applied no more stringently than, those used in applying the
                                                                       itemized bills to the claims address listed on the claim form.
NQTL to medical/surgical benefits in the same classification
of benefits as written and in operation under the terms of the         You may get the required claim forms from the website listed
Plan.                                                                  on your ID card or by using the toll-free number on your ID
                                                                       card.
                                                                       CLAIM REMINDERS
                                                                       • BE SURE TO USE YOUR MEMBER ID AND
                                                                          ACCOUNT/GROUP NUMBER WHEN YOU FILE



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   CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                 Eligibility for Dependent Coverage
   YOUR CIGNA CLAIM OFFICE.                                              You will become eligible for Dependent Coverage on the later
   YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                of:
   BENEFIT ID CARD.                                                      • the day you become eligible for yourself; or
   YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON                                 • the day you acquire your first Dependent.
   YOUR BENEFIT ID CARD.
                                                                         When Employee Coverage Begins
• BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
   ON THE BACK OF THE CLAIM FORM CAREFULLY                               You will become enrolled on the date you elect the coverage
   WHEN SUBMITTING A CLAIM TO CIGNA.                                     by completing an approved payroll deduction or enrollment
                                                                         form, as applicable, and coverage will begin no earlier than
Timely Filing of Out-of-Network Claims                                   the date you are eligible. See How and When to Enroll in
Cigna will consider claims for coverage under the Plan when              Benefits chart:
proof of loss (a claim) is submitted within 180 days for Out-
of-Network benefits after services are rendered. If services are
rendered on consecutive days, such as for a Hospital                        How and When to Enroll in Benefits
Confinement, the limit will be counted from the last date of                If you are… And your       You must        Your
service. If claims are not submitted within 180 days for Out-                           regularly      enroll…         medical
of-Network benefits, the claim will not be considered valid                             scheduled                      coverage
and will be denied.                                                                     work                           will then
WARNING: Any person who knowingly and with intent to                                    hours/week                     begin…
defraud Amazon or other person files an application for                                 are…
coverage or statement of claim containing any materially false              A regular   40             Within 30       On your
information; or conceals for the purpose of misleading,                     full-time   hours/week     calendar        date of hire
information concerning any material fact thereto, commits a                 Employee                   days
fraudulent coverage act.                                                    (Class F)                  starting on
                                                                                                       your date
                                                                                                       of hire
HC-CLM25                                                    01-11
                                                             V11            A regular   30-39          Within 30       On your
                                                                            reduced-    hours/week     calendar        date of hire
                                                                            time                       days
                                                                            Employee                   starting on
Eligibility and Enrollment                                                  (Class R)                  your date
                                                                                                       of hire
Employee Coverage                                                           A regular   20-29          Within 30       On your
This Plan is offered to you as an Employee.                                 part-time   hours/week     calendar        date of hire
Eligibility for Employee Coverage                                           Employee                   days
                                                                            (Class H)                  starting on
You are eligible for coverageunder this Plan, if you are                                               your date
classified as one of the following:                                                                    of hire
• Regular full-time Employee (Class F)
• Regular reduced-time Employee (Class R); or
• Regular part-time Employee (Class H)                                   You are not eligible for coverage if:you elect the coverage
• Notwithstanding the above, the Employer has discretionary              more than 30 days after you become eligible.
  authority to determine whether an Employee is eligible for
  benefits under the Plan, regardless of their employment                Dependent Coverage
  classification..                                                       For your Dependents to be covered, you will have to pay the
                                                                         required contribution, if any, toward the cost of Dependent
                                                                         Coverage.




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When Dependent Coverage Begins                                         Plan. All transfers to the Plan must occur during open
Coverage for your Dependents will become effective once you            enrollment or on another date set by Amazon.
complete the enrollment process, and no earlier than the day           When you transfer from Amazon’s other plan, and there’s no
you become eligible for Dependent Coverage. All of your                lapse in your coverage, the following provisions that apply to
Dependents as defined will be included.                                the Plan, if applicable, will be reduced to the extent they were
Your Dependents will be covered only if you are covered.               satisfied under the prior Plan:
You are not eligible for for Dependent Coverage if:                    • Benefit maximums
• you elect that coverage more than 30 days after you become           • Out-of-pocket Maximum
  eligible for it.                                                     • Plan Year deductible
Exception for Newborns
Any Dependent child born while you are covered will become             HC-ELG274                                                   01-19
covered on the date of their birth if you elect Dependent
Coverage no later than 60 days after their birth. If you do not
elect to cover your newborn child within such 60 days,
coverage for that child will end on the 31st day. No benefits          Important Information About Your
for expenses incurred beyond the 31st day will be payable.             Medical Plan
                                                                       Details of your medical benefits are described on the
                                                                       following pages.
Open Enrollment
                                                                       Primary Care Physician
If you are not enrolled when you first become eligible, unless
                                                                       This medical plan does not require that you select a Primary
allowed under Special Enrollment Rights Under the Health               Care Physician or obtain a referral from a Primary Care
Insurance Portability & Accountability Act (HIPAA) and                 Physician in order to receive all benefits available to you
Effect of Section 125 Tax Regulations on This Plan, described          under this medical plan. Notwithstanding, a Primary Care
later in this SPD, you cannot be enrolled until Amazon’s next          Physician may serve an important role in meeting your health
open enrollment period. An open enrollment period occurs               care needs by providing or arranging for medical care for you
once a year, prior to the beginning of the Plan year. The Plan
                                                                       and your Dependents. For this reason, we encourage the use of
year runs January 1st through December 31st. During this               Primary Care Physicians and provide you with the Primary
period, eligible Employees and their Dependents can enroll for         Care Physician from a list provided by Cigna for yourself and
coverage under this Plan.                                              your Dependents. If you choose to select a Primary Care
If you're enrolled under one of Amazon’s other health care             Physician, the Primary Care Physician you select for yourself
plans, or if you become ineligible for the other group health          may be different from the Primary Care Physician you select
plan, enrollment for coverage under the Plan can only be made          for each of your Dependents. If you need assistance selecting
during Amazon’s open enrollment period unless you qualify              your Primary Care Physician, please visit our website at
for a mid year election change.                                        www.cigna.com or call the number on the back of your ID
                                                                       Card.
Changes in Coverage                                                    The Primary Care Physician's role is to provide or arrange for
No rights are vested under the Plan. Changes to the Plan will          medical care for you and any of your Dependents.
apply as of the date the change becomes effective to you and           You and your Dependents are allowed direct access to
all your Depdendents and to eligible Employees and                     Participating Physicians for covered services. Even if you
Dependents that become covered under the Plan after the date           select a Primary Care Physician, there is no requirement to
the change becomes effective.                                          obtain an authorization of care from your Primary Care
The exception is care described in Continuity of Coverage, if          Physician for visits to the Participating Physician of your
applicable.                                                            choice, including Participating Specialist Physicians, for
                                                                       covered services.
Plan Transfers                                                         Changing Primary Care Physicians
Participants (including Depdendents) may be allowed to                 You may request a transfer from one Primary Care Physician
transfer to the Plan from another plan offered by Amazon.              to another by visiting our website at www.cigna.com or
Transfers also occur if Amazon replaces another plan with the          calling the number on the back of your ID Card. Any such
                                                                       transfer will be effective on the first day of the month


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following the month in which the processing of the change             Substance Use Disorder Services. There is no requirement to
request is completed.                                                 obtain an authorization of care from your Primary Care
In addition, if at any time a Primary Care Physician ceases to        Physician for individual or group therapy visits to the
be a Participating Provider, you or your Dependent will be            Participating Provider of your choice for Mental Health and
notified for the purpose of selecting a new Primary Care              Substance Use Disorder.
Physician, if you choose.
Direct Access For Mental Health and Substance Use                     HC-IMP361                                              01-24

Disorder Services
You are allowed direct access to a licensed/certified
Participating Provider for covered Mental Health and




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
For You and Your Dependents
Open Access Plus In-Network Medical Benefits provide coverage for care In-Network. To receive Open Access Plus In-
Network Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for
services and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In -Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this Plan, you must call the number on the back of your I.D. card to obtain authorization for Out -of-
Network Provider coverage. If you obtain authorization for services provided by an Out -of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
Important Notice on Mental Health and Substance Use Disorder Coverage
Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition will be
payable according to the Mental Health and Substance Use Disorder sections of The Schedule.
Coinsurance
” Coinsurance” means the percentage of Covered Expenses that a participant is required to pay under the Plan in addition
to the Deductible, if any.
Copayments/Deductibles
“Copayments” are amounts to be paid by you or your Dependent for covered services. “Deductibles” are Covered
Expenses to be paid by you or your Dependent before benefits are payable under this Plan. Deductible amounts are
separate from and not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the
Deductible maximum in The Schedule has been reached, you and your family need not satisfy any further medical
Deductible for the rest of that year.
Out-of-Pocket Expenses
Out-of-pocket expenses are Covered Expenses incurred for that are not paid by the Plan because of any Deductibles,
Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except Charges for non-compliance penalties, are
payable by the Plan at 100%.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
Charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to Charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable Charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
Charge means the amount payable to the surgeon prior to any reductions due to Coinsurance or Deductible amounts.)
Co-Surgeon
The maximum amount payable for Charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out -of-Network provider and Cigna,
or as required by applicable state or Federal law.
The participant is responsible for applicable In-Network cost-sharing amounts (any Deductible, Copayment or
Coinsurance). The participant is not responsible for any Charges that may be made in excess of the allowable amount. If
the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on the Explanation of
Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
(Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
Out-of-Network provider and Cigna, or as required by applicable state or Feder al law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
in an inpatient admission is the median amount negotiated with In -Network facilities.
The participant is responsible for applicable In-Network cost-sharing amounts (any Deductible, Copayment or
Coinsurance). The participant is not responsible for any Charges that may be made in excess of the allowable amount. If
the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on the Explanation of
Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air Ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air Ambulance services rendered by an
Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by applicable
state or Federal law.
The participant is responsible for applicable In-Network cost-sharing amounts (any Deductible, Copayment or
Coinsurance). The participant is not responsible for any Charges that may be made in excess of the allowable amount. If
the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on the Explanation of
Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.




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BENEFIT HIGHLIGHTS                                       IN-NETWORK

Lifetime Maximum                                           Unlimited
The Percentage of Covered                                    100%
Expenses the Plan Pays
Out-of-Pocket Maximum
  Individual Maximum                                   $3,000 per person
  Individual Plus Spouse                               $6,000 per person
  Individual Plus Child(ren)                           $6,000 per person
  Family                                                $9,000 per family
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket Maximum
  and then their claims will be
  covered at 100%; if the family Out-
  of-Pocket Maximum has been met
  prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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BENEFIT HIGHLIGHTS                                                IN-NETWORK

Physician’s Services
  Primary Care Physician’s Office       $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit


  Specialty Care Physician’s Office     $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Consultant and Referral Physician’s
  Services


      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with
      Cigna on an In-Network basis.
  Surgery Performed in the
  Physician’s Office
      Primary Care Physician            $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
      Specialty Care Physician          $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Second Opinion Consultations
  (provided on a voluntary basis)
      Primary Care Physician’s          $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
      Office Visit
      Specialty Care Physician's        $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
      Office Visit
  Allergy Treatment/Injections

      Primary Care Physician’s          $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
      Office Visit
      Specialty Care Physician’s        $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
      Office Visit
  Allergy Serum (dispensed by the
  Physician in the office)
      Primary Care Physician                                          100%
      Specialty Care Physician                                        100%
Convenience Care Clinic                                 $25 per visit Copayment, then 100%
(includes any related lab and x-ray
.services and surgery)




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BENEFIT HIGHLIGHTS                                                IN-NETWORK

Virtual Care
 Dedicated Virtual Providers
 Dedicated virtual care services may
 be provided by MDLIVE, a Cigna
 affiliate.

 Services available through contracted
 virtual providers as medically
 appropriate.
 Notes:
 • Primary Care cost share applies to
   routine care. Virtual wellness
   screenings are payable under
   preventive care.
 • MDLIVE Behavioral Services,
   please refer to the Mental Health
   and Substance Use Disorder
   section (below).
 • Lab services supporting a virtual
   visit must be obtained through
   dedicated labs.

 MDLIVE Urgent Care Services                            $15 per visit Copayment,, then 100%


 MDLIVE Primary Care Services                           $15 per visit Copayment,, then 100%


 MDLIVE Specialty Care Services                         $15 per visit Copayment,, then 100%


 Virtual Physician Services
 Services available through
 Physicians as medically appropriate.

 Note:
 Physicians may deliver services
 virtually that are payable under other
 benefits (e.g., Preventive Care,
 Outpatient Therapy Services).
 Primary Care Physician Virtual            $15 (Tier 1) or $15 (non-Tier 1) per visit copay, then 100%
 Office Visit
 Specialty Care Physician Virtual          $15 (Tier 1) or $15 (non-Tier 1) per visit copay, then 100%
 Office Visit




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BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Preventive Care
Note:
Includes coverage of additional
services, such as urinalysis, EKG, and
other laboratory tests, supplementing
the standard Preventive Care benefit.

  Routine Preventive Care - all ages                                           100%
  Immunizations - all ages                                                     100%
Mammograms, PSA, PAP Smear
  Preventive Care Related Services                                             100%
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.       Subject to the Plan’s x-ray benefit & lab benefit; based on place of service
  “non-routine” services)

Inpatient Hospital - Facility Services                  $1,000 per admission Copayment,, then 100%
  Semi-Private Room and Board                             Limited to the semi-private negotiated rate
  Private Room                                            Limited to the semi-private negotiated rate

  Special Care Units (ICU/CCU)                                     Limited to the negotiated rate
Outpatient Facility Services
Operating Room, Recovery Room,                                 $300 per visit Copayment,, then 100%
Procedures Room, Treatment Room
and Observation Room
Note:
Non-surgical treatment procedures are
not subject to the facility Copayment,.
Inpatient Hospital Physician’s                                                 100%
Visits/Consultations
Inpatient Professional Services                                                100%
  Surgeon
  Radiologist, Pathologist,                                                    100%
  Anesthesiologist
Outpatient Professional Services                                               100%
  Surgeon
  Radiologist, Pathologist,                                                    100%
  Anesthesiologist




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BENEFIT HIGHLIGHTS                                                        IN-NETWORK

Urgent Care Services
  Urgent Care Facility or Outpatient                            $60 per visit Copayment,, then 100%
  Facility
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.



  Advanced Radiological Imaging               $90 per scan Copayment,, then $60 per visit Copayment,, then 100%
  (i.e. MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the UC visit
  The scan Copayment, applies per
  type of scan per day
Emergency Services
  Hospital Emergency Room                          $300 per visit Copayment, (waived if admitted), then 100%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.


  Advanced Radiological Imaging            $90 per scan Copayment,, then $300 per visit Copayment, (waived if admitted),
  (i.e. MRIs, MRAs, CAT Scans, PET                                         then 100%
  Scans etc.) billed by the facility as
  part of the ER visit
  The scan Copayment, applies per
  type of scan per day
Air Ambulance                                                   $300 per day deductible then 100%

Ambulance                                                       $300 per day deductible then 100%


Inpatient Services at Other Health                                            100%
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  60 days combined




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BENEFIT HIGHLIGHTS                                                   IN-NETWORK

Laboratory Services
  Primary Care Physician’s Office          $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office       $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Outpatient Hospital Facility                                           100%
  Independent Lab Facility                                               100%
Radiology Services
  Primary Care Physician’s Office          $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office       $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Outpatient Hospital Facility                                           100%
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)

  The scan Copayment applies per
  type of scan per day
  Primary Care Physician’s Office     $90 per scan copay, then $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment,
  Visit                                                                then 100%
  Specialty Care Physician’s Office       $90 per scan copay, then $60 (Tier 1) or $100 (non-Tier 1) per visit
  Visit                                                         Copayment, then 100%
  Inpatient Facility                                 $1,000 per admission Copayment, then 100%

  Outpatient Facility                       $90 per scan copay, then $300 per visit Copayment, then 100%




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BENEFIT HIGHLIGHTS                                                   IN-NETWORK

Outpatient Therapy Services
  Calendar Year Maximum:
  60 days for all therapies combined
  (The limit is not applicable to
  mental health conditions.)
  Includes:
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy

  Primary Care Physician’s Office                           $30 per visit copay*, then 100%
  Visit
  Specialty Care Physician’s Office                         $30 per visit copay*, then 100%
  Visit
                                       *Note:
                                       Outpatient Therapy Services copay applies, regardless of place of service,
                                       including the home.
Outpatient Cardiac Rehabilitation
  Calendar Year Maximum:
  60 days
  Primary Care Physician’s Office                            $30 per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office                          $30 per visit copay, then 100%
  Visit
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Primary Care Physician’s Office                            $30 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                          $30 per visit copay, then 100%
  Visit




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BENEFIT HIGHLIGHTS                                              IN-NETWORK

Acupuncture/Massage Therapy

Self-referred, Medically Necessary
treatment of pain or disease by
acupuncture provided on an outpatient
basis, limited to a 18 day maximum
per person per Calendar Year

  Primary Care Physician’s Office                       $30 per visit copay, then 100%
  Visit

  Specialty Care Physician’s Office                     $60 per visit copay, then 100%
  Visit

Home Health Care Services
  Calendar Year Maximum:                                            100%
  120 days (includes outpatient
  private nursing when approved as
  Medically Necessary)
  Dialysis services in the home setting
  will not accumulate to the Home
  Health Care maximum

  (The limit is not applicable to
  Mental Health and Substance Use
  Disorder conditions.)
Hospice
  Inpatient Services                                                100%
  Outpatient Services                                               100%
  (same Coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                                         100%
  Outpatient                                                        100%
Services provided by Mental Health                    Covered under Mental Health benefit
Professional




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BENEFIT HIGHLIGHTS                               IN-NETWORK

Medical Pharmaceuticals
  Physician’s Office                                100%

  Home Setting                                      100%

  Inpatient Facility                                100%
  Outpatient Facility                               100%




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BENEFIT HIGHLIGHTS                                                       IN-NETWORK

  Gene Therapy
  Includes prior authorized gene
  therapy products and services
  directly related to their
  administration, when Medically
  Necessary.
  Gene therapy must be received at an
  In-Network facility specifically
  contracted with Cigna to provide the
  specific gene therapy. Gene therapy
  at other In-Network facilities is not
  covered.
  Gene Therapy Product                                     Covered same as Medical Pharmaceuticals
  Inpatient Facility                                        $1,000 per admission copay, then 100%
  Outpatient Facility                                           $300 per visit copay, then 100%
  Inpatient Professional Services                                             100%
  Surgeon                                                      100% (Tier 1) or 100% (non-Tier 1)
  Radiologist, Pathologist,                                                   100%
  Anesthesiologist
  Outpatient Professional Services
  Surgeon                                                      100% (Tier 1) or 100% (non-Tier 1)
  Radiologist, Pathologist,                                                   100%
  Anesthesiologist
  Travel Maximum:
  $10,000 per episode of gene therapy
                                          (available only for travel when prior authorized to receive gene therapy at a
                                          participating In-Network facility specifically contracted with Cigna to provide
                                                                    the specific gene therapy)
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.

Advanced Cellular Therapy Product                          Covered Same as Medical Pharmaceuticals

Inpatient Facility                                          $1,000 per admission copay, then 100%

Outpatient Facility                                             $300 per visit copay, then 100%

Inpatient Professional Services

Surgeon                                                                100% (non-Tier 1)




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BENEFIT HIGHLIGHTS                                         IN-NETWORK

Radiologist, Pathologist,                                     100%
Anesthesiologist

Outpatient Professional Services

Surgeon                                                  100% (non-Tier 1)

Radiologist, Pathologist,                                     100%
Anesthesiologist

Advanced Cellular Therapy Travel                              100%
Maximum:
$10,000 per episode of advanced
cellular therapy
(Available only for travel when prior
authorized to receive advanced cellular
therapy from a provider located more
than 60 miles of your primary
residence and is contracted with Cigna
for the specific advanced cellular
therapy product and related services.)




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BENEFIT HIGHLIGHTS                                               IN-NETWORK

Maternity Care Services
  Initial Visit to Confirm Pregnancy
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
  Primary Care Physician’s Office          $30 (Tier 1) or $50 (non-Tier 1) per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office        $60 (Tier 1) or $100 (non-Tier 1) per visit copay, then 100%
  Visit
  All subsequent Prenatal Visits,                       100% (Tier 1) or 100% (non-Tier 1)
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
  Primary Care Physician’s Office          $30 (Tier 1) or $50 (non-Tier 1) per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office        $60 (Tier 1) or $100 (non-Tier 1) per visit copay, then 100%
  Visit
  Delivery - Facility                                $1,000 per admission copay, then 100%
  (Inpatient Hospital, Birthing Center)

Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office          $30 (Tier 1) or $50 (non-Tier 1) per visit copay, then 100%
  Visit
  Specialty Care Physician’s Office        $60 (Tier 1) or $100 (non-Tier 1) per visit copay, then 100%
  Visit
  Inpatient Facility                                 $1,000 per admission copay, then 100%
  Outpatient Facility                                    $300 per visit copay, then 100%
  Inpatient Professional Services                                     100%

  Outpatient Professional Services                                    100%




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BENEFIT HIGHLIGHTS                                         IN-NETWORK

Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a
  physician. Diaphragms also are
  covered when services are provided
  in the Physician’s office.
      Primary Care Physician                                  100%
      Specialty Care Physician                                100%
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
      Primary Care Physician’s                                100%
      Office Visit
      Specialty Care Physician’s                              100%
      Office Visit
      Inpatient Facility                                      100%
      Outpatient Facility                                     100%
      Inpatient Professional Services                         100%
      Outpatient Professional                                 100%
      Services




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BENEFIT HIGHLIGHTS                                                       IN-NETWORK

Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
      Primary Care Physician                   $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
        Specialty Care Physician              $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
        Primary Care Physician’s              $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
        Office Visit
        Specialty Care Physician’s            $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
        Office Visit
        Inpatient Facility                               $1,000 per admission Copayment, then 100%
        Outpatient Facility                                    $300 per visit Copayment, then 100%
        Inpatient Professional Services                                      100%
        Outpatient Professional                                              100%
        Services
Infertility Services
Cigna coverage will be provided for the following services:
  • Testing and treatment services performed in connection with an underlying medical condition.
  • Testing performed specifically to determine the cause of infertility.
  • Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
    condition).
  • Surgical treatments and drug therapy is covered under the Progyny benefit. For more information about the Progyny
    benefit please contact Progyny at 1-855-369-3343.
  Physician’s Office Visit (Lab and
  Radiology Tests, Counseling)
      Primary Care Physician                   $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%

      Specialty Care Physician                $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Inpatient Facility                                     $1,000 per admission Copayment, then 100%
  Outpatient Facility                                          $300 per visit Copayment, then 100%
  Inpatient Professional Services                                            100%
  Outpatient Professional Services                                           100%




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BENEFIT HIGHLIGHTS                                                   IN-NETWORK

Transplant Services and Related
Specialty Care
Includes all medically appropriate,
non-experimental transplants
  Primary Care Physician’s Office           $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office        $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Inpatient Facility                      $1,000 per admission Copayment, then 100% at LifeSOURCE center,
                                                otherwise $1,000 per admission Copayment, then 100%
  Inpatient Professional Services                   100% at LifeSOURCE center, otherwise 100%
  Lifetime Travel Maximum:                      100% (only available when using LifeSOURCE facility)
  $10,000 per transplant


Travel and Lodging

Limit:
  $10,000 per participant per Plan
  year for life-threatening conditions.
                                                                         100%
  $4,000 per participant per Plan year
  for select specialty conditions.                                       100%
Durable Medical Equipment                                                100%
Calendar Year Maximum:
Unlimited


Outpatient Dialysis Services
  Primary Care Physician’s Office           $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office        $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Outpatient Facility Services                             $300 per visit Copayment, then 100%
  Outpatient Professional Services                                       100%
  Home Setting                                                           100%
Breast Feeding Equipment and                                             100%
Supplies
Note:
Includes the rental of one breast pump
per birth as ordered or prescribed by a
physician. Includes related supplies.




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BENEFIT HIGHLIGHTS                                                    IN-NETWORK

External Prosthetic Appliances                                            100%
Calendar Year Maximum:
Unlimited
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of Mental Health and Substance Use
  Disorder conditions.
  Primary Care Physician’s Office           $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office         $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Inpatient Facility                                  $1,000 per admission Copayment, then 100%
  Outpatient Facility                                       $300 per visit Copayment, then 100%
  Inpatient Professional Services                                         100%
  Outpatient Professional Services                                        100%
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office           $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit

  Specialty Care Physician’s Office         $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit

  Inpatient Facility                                  $1,000 per admission Copayment, then 100%

  Outpatient Facility                                       $300 per visit Copayment, then 100%

  Inpatient Professional Services                                         100%

  Outpatient Professional Services                                        100%




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BENEFIT HIGHLIGHTS                                                     IN-NETWORK

Dental Care
Limited to Charges made for a
continuous course of dental treatment
started within six months of an Injury
to teeth.
   Primary Care Physician’s Office             $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
   Visit
  Specialty Care Physician’s Office           $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Inpatient Facility                                    $1,000 per admission Copayment, then 100%
  Outpatient Facility                                       $300 per visit Copayment, then 100%
  Inpatient Professional Services                                           100%
  Outpatient Professional Services                                          100%
Abdominoplasty/Panniculectomy                                               100%
Note: Covered when Medically
Necessary
Hearing Aids                                                                100%
Note: $3,000 Maximum per 36 months
Hearing Services                                               $100 per visit copay, then 100%
Note: 1 exam every 12 months
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of
this certificate.
  Primary Care Physician’s Office              $30 (Tier 1) or $50 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Specialty Care Physician’s Office           $60 (Tier 1) or $100 (non-Tier 1) per visit Copayment, then 100%
  Visit
  Inpatient Facility                                    $1,000 per admission Copayment, then 100%
  Outpatient Facility                                          $300 per visit copay, then 100%
  Inpatient Professional Services                                           100%

  Outpatient Professional Services                                          100%

Routine Foot Disorders                    Not covered except for services associated with foot care for diabetes,
                                          peripheral neuropathies and peripheral vascular disease when Medically
                                          Necessary.




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BENEFIT HIGHLIGHTS                                                         IN-NETWORK

Travel Services
Authorized travel and lodging expenses for designated covered services administered at an In-Network facility/provider
when an In-Network facility/provider is not available within a 100-mile radius of your primary home residence not subject
to any Plan Deductible.
The following designated services are covered by your Plan and may be eligible for this travel benefit:
 • all Medical and Mental Health and Substance Use Disorder services.
 • select specialty conditions include services related to Gender Affirmation, cardiology, oncology, congenital anomalies,
   bariatric, cellular gene therapies ("Cellular gene therapies covered separate from and in addition to the standard Gene
   Therapy Travel’.), substance abuse disorder and mental health services requiring admission to facility or for residential
   treatment care, maternity services including elective abortion and infertility.

Lifetime Maximum for Travel and Lodging Expenses for Designated Services Combined
Note:
Does not include other services with separate travel and lodging dollar maximum(s) as noted in The Schedule.
Medical Benefit services other than Mental Health and Substance Use Disorder services: $10,000
Mental Health and Substance Use Disorder services: Unlimited



Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is Stabilized. Once the medical condition is Stabilized, whether the treatment will be
characterized as either a medical expense or a Mental Health/Substance Use Disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines .




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BENEFIT HIGHLIGHTS                                          IN-NETWORK

Mental Health
  Inpatient                                 $1,000 per admission Copayment, then 100%

  Includes Acute Inpatient and
  Residential Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $30 per visit Copayment, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited




  Dedicated Virtual Providers                     $30 per visit Copayment, then 100%
  MDLIVE Behavioral Services

  Outpatient - All Other Services                               100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Calendar Year Maximum:
  Unlimited

  Note: Outpatient Mental Health
  Physician's office visit includes
  Applied Behavior Analysis (ABA
  Therapy)




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BENEFIT HIGHLIGHTS                                          IN-NETWORK

Substance Use Disorder
  Inpatient                                 $1,000 per admission Copayment, then 100%

  Includes Acute Inpatient
  Detoxification, Acute Inpatient
  Rehabilitation and Residential
  Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                      $30 per visit Copayment, then 100%

  Includes individual, family and
  group psychotherapy; medication
  management, virtual care, etc.

  Calendar Year Maximum:
  Unlimited
  Dedicated Virtual Providers                     $30 per visit Copayment, then 100%
  MDLIVE Behavioral Services

  Outpatient - All Other Services                               100%

  Includes Partial Hospitalization,
  Intensive Outpatient Services,
  virtual care, etc.

  Calendar Year Maximum:
  Unlimited

  Note: Outpatient Substance Abuse
  Physician's office visit includes
  Applied Behavior Analysis (ABA
  Therapy)




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                                                                        • Charges for inpatient Room and Board and other Necessary
Open Access Plus In-Network Medical                                       Services and Supplies made by an Other Health Care
Benefits                                                                  Facility, including a Skilled Nursing Facility, a
                                                                          Rehabilitation Hospital or a subacute facility as shown in
Prior Authorization/Pre-Authorized                                        The Schedule.
“” Prior Authorization” means the approval that a                       • Charges for licensed Ambulance service to the nearest
Participating Provider must receive from the Review                       Hospital where the needed medical care and treatment can
Organization, prior to services being rendered, in order for              be provided.
certain services and benefits to be covered under this Plan.            • Charges for outpatient medical care and treatment received
Services that require Prior Authorization include, but are not            at a Hospital.
limited to:                                                             • Charges for outpatient medical care and treatment received
• inpatient Hospital services, except for 48/96 hour maternity            at a Free-Standing Surgical Facility.
  stays.                                                                • Charges for Emergency Services.
• inpatient services at any participating Other Health Care             • Charges for Urgent Care.
  Facility.
                                                                        • Charges by a Physician or a Psychologist for professional
• residential treatment.                                                  services.
• outpatient facility services.                                         • Charges by a Nurse for professional nursing service.
• partial hospitalization.                                              • Charges for anesthetics, including, but not limited to
•                                                                         supplies and their administration.
• advanced radiological imaging.                                        • Charges for diagnostic x-ray.

• non-emergency Ambulance.                                              • Charges for advanced radiological imaging, including for

• certain Medical Pharmaceuticals.
                                                                          example CT Scans, MRI, MRA and PET scans and
                                                                          laboratory examinations, x-ray, radiation therapy and
•   home health care services.                                            radium and radioactive isotope treatment and other
                                                                          therapeutic radiological procedures.
HC-PRA55                                                   01-22        • Charges for chemotherapy.

                                                                        • Charges for blood transfusions.
                                                                        • Charges for oxygen and other gases and their
Covered Expenses                                                          administration.
” Covered Expenses” means expenses incurred by a person                 • Charges for Medically Necessary foot care for diabetes,
while covered under this Plan for the Charges listed below for:           peripheral neuropathies, and peripheral vascular disease.
• preventive care services; and                                         • Charges for screening prostate-specific antigen (PSA)
• services or supplies that are Medically Necessary for the               testing.
   care and treatment of an Injury or a Sickness, as determined         • Charges for laboratory services, radiation therapy and other
   by Cigna.                                                              diagnostic and therapeutic radiological procedures.
As determined by Cigna, Covered Expenses may also include               • Charges made for Family Planning, including medical
all Charges made by an entity that has directly or indirectly             history, physical exam, related laboratory tests, medical
contracted with Cigna to arrange, through contracts with                  supervision in accordance with generally accepted medical
providers of services and/or supplies, for the provision of any           practices, other medical services, information and
services and/or supplies listed below. Any applicable                     counseling on contraception, implanted/injected
Copayments, Deductibles or limits are shown in The                        contraceptives, after appropriate counseling, medical
Schedule.                                                                 services connected with surgical therapies (tubal ligations,
Covered Expenses                                                          vasectomies).
• Charges for inpatient Room and Board and other Necessary              • Charges for the following preventive care services as
   Services and Supplies made by a Hospital, subject to the               defined by recommendations from the following:
   limits as shown in The Schedule.                                       • the U.S. Preventive Services Task Force (A and B
                                                                            recommendations);



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  • the Advisory Committee on Immunization Practices                   internet-based technologies that are similar to office visit
     (ACIP) for immunizations;                                         services provided in a face-to-face setting.
  • the American Academy of Pediatrics’ Periodicity                    Includes Charges for the delivery of real-time Mental Health
     Schedule of the Bright Futures Recommendations for                and Substance Use Disorder consultations and services, via
     Pediatric Preventive Health Care;                                 secure telecommunications technologies that shall include
  • the Uniform Panel of the Secretary’s Advisory Committee            video capability, telephone and internet, when such
     on Heritable Disorders in Newborns and Children; and              consultations and services are delivered by a behavioral
                                                                       provider and are similar to office visit services provided in a
  • with respect to women, evidence-informed preventive
                                                                       face-to-face setting.
     care and screening guidelines supported by the Health
     Resources and Services Administration.                            Convenience Care Clinic
  Detailed information is available at www.healthcare.gov.             Convenience Care Clinics provide for common ailments and
  For additional information on immunizations, visit the               routine services, including but not limited to, strep throat, ear
  immunization schedule section of www.cdc.gov.                        infections or pink eye, immunizations and flu shots.
• Charges for surgical and non-surgical treatment of                   Nutritional Counseling
  Temporomandibular Joint Dysfunction (TMJ).                           Charges for nutritional counseling when diet is a part of the
• Charges for acupuncture.                                             medical management of a medical or behavioral condition.
• Charges for hearing aids and associated exam for device              Enteral Nutrition
  testing and fitting, including but not limited to semi-              Enteral Nutrition means medical foods that are specially
  implantable hearing devices, audiant bone conductors and             formulated for enteral feedings or oral consumption.
  Bone Anchored Hearing Aids (BAHAs). A hearing aid is                 Coverage includes medically approved formulas prescribed by
  any device that amplifies sound.                                     a Physician for treatment of inborn errors of metabolism (e.g.,
• Medically Necessary orthognathic surgery to repair or                disorders of amino acid or organic acid metabolism).
  correct a severe facial deformity or disfigurement.                  Internal Prosthetic/Medical Appliances
Gender Affirmation                                                     Charges for internal prosthetic/medical appliances that provide
Charges for services related to gender affirmation, including          permanent or temporary internal functional supports for non-
gender reassignment surgery. Coverage when applicable                  functional body parts are covered. Medically Necessary repair,
includes behavioral counseling, hormone therapy, genital               maintenance or replacement of a covered appliance is also
reconstructive surgical procedures, and chest reconstructive           covered.
surgical procedures. Also covered: other facial
masculinization and feminization procedures electrolysis (hair
                                                                       HC-COV1122                                                   01-23
removal) for face, neck, and body; laser hair removal for face,
neck, and body; tattooing (nipple – areola) and rib excision;                                                                       V1 M

hip, gluteal and calf implants..
Virtual Care                                                           Home Health Care Services
Dedicated Virtual Providers                                            Charges for skilled care provided by certain health care
                                                                       providers during a visit to the home, when the home is
Includes Charges for the delivery of real-time medical and
                                                                       determined to be a medically appropriate setting for the
health-related services, consultations and remote monitoring
                                                                       services. A visit is defined as a period of 2 hours or less.
by dedicated virtual providers as medically appropriate
                                                                       Home Health Care Services are subject to a maximum of 16
through audio, video and secure internet-based technologies.
                                                                       hours in total per day.
Includes Charges for the delivery of Mental Health and
                                                                       Home Health Care Services are covered when skilled care is
Substance Use Disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as                    required under any of the following conditions:
appropriate through audio, video and secure internet-based             • the required skilled care cannot be obtained in an outpatient
technologies.                                                            facility.
Virtual Physician Services                                             • confinement in a Hospital or Other Health Care Facility is
                                                                         not required.
Includes Charges for the delivery of real-time medical and
health-related services, consultations and remote monitoring           • the patient’s home is determined by Cigna to be the most
as medically appropriate through audio, video and secure                 medically appropriate place to receive specific services.


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Covered services include:                                                  • by a Psychologist, social worker, family counselor or
• skilled nursing services provided by a Registered Nurse                    ordained minister for individual and family counseling;
  (RN), Licensed Practical Nurse (LPN), Licensed Vocational                • for pain relief treatment, including drugs, medicines and
  Nurse (LVN) and an Advanced Practice Registered Nurse                      medical supplies;
  (APRN).                                                                  Hospice Care Programs rendered by Other Health Care
• services provided by health care providers such as physical              Facilities or in the Home include services:
  therapist, occupational therapist and speech therapist.                  • for part-time or intermittent nursing care by or under the
• services of a home health aide when provided in direct                     supervision of a Nurse;
  support of those Nurses and health care providers.                       • for part-time or intermittent services of an Other Health
• necessary consumable medical supplies and home infusion                    Professional;
  therapy administered or used by a health care provider.                  • physical, occupational and speech therapy;
Note: Physical, occupational, and other Outpatient Therapy                 • medical supplies;
Services provided in the home are covered under the
                                                                           • drugs and medicines lawfully dispensed only on the written
Outpatient Therapy Services benefit shown in The Schedule.
                                                                             prescription of a Physician;
The following are excluded from coverage:
                                                                           • laboratory services;
• services provided by a person who is a member of the
  patient’s family, even when that person is a health care                   but only to the extent such Charges would have been
  provider.                                                                  payable under the Plan if the person had remained or been
                                                                             Confined in a Hospital or Hospice Facility.
• services provided by a person who normally resides in the
  patient’s house, even when that person is a health care                  The following Charges for Hospice Care Services are not
  provider.                                                                included as Covered Expenses:
                                                                           • services of a person who is a member of your family or your
• non-skilled care, Custodial Services, and assistance in the
  activities of daily living, including but not limited to eating,           Dependent's family or who normally resides in your house
  bathing, dressing or other services; self-care activities;                 or your Dependent's house;
  homemaker services; and services primarily for rest,                     • services for any period when you or your Dependent is not
  domiciliary or convalescent care.                                          under the care of a Physician;
Home Health Care Services, for a patient who is dependent                  • services or supplies not listed in the Hospice Care Program;
upon others for non-skilled care and/or Custodial Services, is             • to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                     expenses under the Plan;
present in the home at the time of the health care visit to
                                                                           • services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.
                                                                             Dependent in daily living.

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Hospice Care Services
                                                                           Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced
illness having a life expectancy of twelve or fewer months.                Charges for Mental Health and Substance Use Disorder
Services provided by a Hospice Care Program are available to               Services.
those who have ceased treatment and to those continuing to                 “Mental Health” services are services that are required to treat
receive curative treatment and therapies.                                  a disorder that impairs the behavior, emotional reaction or
Hospice Care Programs rendered by Hospice Facilities or                    thought processes.
Hospitals include services:                                                “Substance Use Disorder” is the psychological or physical
• by a Hospice Facility for Room and Board and Services and
                                                                           dependence on alcohol or other mind-altering drugs that
                                                                           requires diagnosis, care, and treatment. In determining
   Supplies;
                                                                           benefits payable, Charges made for the treatment of any
• by a Hospice Facility for services provided on an outpatient             physiological conditions related to rehabilitation services for
   basis;                                                                  alcohol or drug abuse or addiction will not be considered to be
•   by a Physician for professional services;                              Charges made for treatment of Substance Use Disorder.


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Inpatient Mental Health Services                                       combination of individual, family and/or group therapy in a
Services that are provided by a Hospital while you or your             day, totaling nine or more hours in a week.
Dependent is Confined in a Hospital for the treatment and              Inpatient Substance Use Disorder Rehabilitation Services
evaluation of Mental Health. Inpatient Mental Health Services          Services provided for rehabilitation, while you or your
include Mental Health Residential Treatment Services.                  Dependent is Confined in a Hospital, when required for the
Mental Health Residential Treatment Services are services              diagnosis and treatment of abuse or addiction to alcohol and/or
provided by a Hospital for the evaluation and treatment of the         drugs. Inpatient Substance Use Disorder Services include
psychological and social functional disturbances that are a            Residential Treatment services.
result of subacute Mental Health conditions.                           Substance Use Disorder Residential Treatment Services
Mental Health Residential Treatment Center means an                    are services provided by a Hospital for the evaluation and
institution which specializes in the treatment of psychological        treatment of the psychological and social functional
and social disturbances that are the result of Mental Health           disturbances that are a result of subacute Substance Use
conditions; provides a subacute, structured, psychotherapeutic         Disorder conditions.
treatment program, under the supervision of Physicians;                Substance Use Disorder Residential Treatment Center
provides 24-hour care, in which a person lives in an open              means an institution which specializes in the treatment of
setting; and is licensed in accordance with the laws of the            psychological and social disturbances that are the result of
appropriate legally authorized agency as a residential                 Substance Use Disorder; provides a subacute, structured,
treatment center.                                                      psychotherapeutic treatment program, under the supervision of
A person is considered confined in a Mental Health                     Physicians; provides 24-hour care, in which a person lives in
Residential Treatment Center when she/he is a registered bed           an open setting; and is licensed in accordance with the laws of
patient in a Mental Health Residential Treatment Center upon           the appropriate legally authorized agency as a residential
the recommendation of a Physician.                                     treatment center.
Outpatient Mental Health Services                                      A person is considered confined in a Substance Use Disorder
Services of Providers who are qualified to treat Mental Health         Residential Treatment Center when she/he is a registered bed
when treatment is provided on an outpatient basis, while you           patient in a Substance Use Disorder Residential Treatment
or your Dependent is not Confined in a Hospital, and is                Center upon the recommendation of a Physician.
provided in an individual, group or Mental Health Partial              Outpatient Substance Use Disorder Rehabilitation Services
Hospitalization or Intensive Outpatient Therapy Program.               Services provided for the diagnosis and treatment of
Covered services include, but are not limited to, outpatient           Substance Use Disorder or addiction to alcohol and/or drugs,
treatment of conditions such as: anxiety or depression which           while you or your Dependent is not Confined in a Hospital,
interfere with daily functioning; emotional adjustment or              including outpatient rehabilitation in an individual, or a
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization or Intensive
depression; emotional reactions associated with marital                Outpatient Therapy Program.
problems or divorce; child/adolescent problems of conduct or
poor impulse control; affective disorders; suicidal or                 Substance Use Disorder Partial Hospitalization Services are
homicidal threats or acts; eating disorders; or acute                  rendered no less than 4 hours and not more than 12 hours in
exacerbation of chronic Mental Health conditions (crisis               any 24-hour period by a certified/licensed Substance Use
intervention and relapse prevention) and outpatient testing and        Disorder program in accordance with the laws of the
assessment.                                                            appropriate legally authorized agency.
Mental Health Partial Hospitalization Services are rendered            A Substance Use Disorder Intensive Outpatient Therapy
not less than 4 hours and not more than 12 hours in any 24 -           Program consists of distinct levels or phases of treatment that
hour period by a certified/licensed Mental Health program in           are provided by a certified/licensed Substance Use Disorder
accordance with the laws of the appropriate legally authorized         program in accordance with the laws of the appropriate legally
agency.                                                                authorized agency. Intensive Outpatient Therapy Programs
                                                                       provide a combination of individual, family and/or group
A Mental Health Intensive Outpatient Therapy Program                   therapy in a day, totaling nine, or more hours in a week.
consists of distinct levels or phases of treatment that are
provided by a certified/licensed Mental Health program in              Substance Use Disorder Detoxification Services
accordance with the laws of the appropriate, legally authorized        Detoxification and related medical ancillary services are
agency. Intensive Outpatient Therapy Programs provide a                provided when required for the diagnosis and treatment of
                                                                       addiction to alcohol and/or drugs. Cigna will decide, based on



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the Medical Necessity of each situation, whether such services            • Fixtures to Real Property: ceiling lifts and wheelchair
will be provided in an inpatient or outpatient setting.                     ramps.
Exclusions                                                                • Car/Van Modifications.
The following are specifically excluded from Mental Health                • Air Quality Items: room humidifiers, vaporizers and air
and Substance Use Disorder Services:                                        purifiers.
• counseling for activities of an educational nature.                     • Other Equipment: centrifuges, needleless injectors, heat

• counseling for borderline intellectual functioning.                       lamps, heating pads, cryounits, cryotherapy machines,
                                                                            ultraviolet cabinets, that emit Ultraviolet A (UVA) rays
• counseling for occupational problems.                                     sheepskin pads and boots, postural drainage board, AC/DC
• counseling related to consciousness raising.                              adaptors, scales (baby and adult), stair gliders, elevators,
• vocational or religious counseling.                                       saunas, cervical and lumbar traction devices, exercise
                                                                            equipment and diathermy machines.
• I.Q. testing.
• custodial care, including but not limited to geriatric day
                                                                          HC-COV1124                                                   02-21
  care.
• psychological testing on children requested by or for a
  school system.                                                          External Prosthetic Appliances and Devices
• occupational/recreational therapy programs even if                      • Charges made or ordered by a Physician for: the initial
  combined with supportive therapy for age-related cognitive                purchase and fitting of external prosthetic appliances and
  decline.                                                                  devices available only by prescription which are necessary
                                                                            for the alleviation or correction of Injury, Sickness or
                                                                            congenital defect.
HC-COV1409                                                   01-23
                                                                          External prosthetic appliances and devices include
                                                                          prostheses/prosthetic appliances and devices; orthoses and
Durable Medical Equipment                                                 orthotic devices; braces; and splints.
• Charges made for purchase or rental of Durable Medical                  Prostheses/Prosthetic Appliances and Devices
  Equipment that is ordered or prescribed by a Physician and              Prostheses/prosthetic appliances and devices are defined as
  provided by a vendor approved by Cigna for use outside a                fabricated replacements for missing body parts.
  Hospital or Other Health Care Facility. Coverage for repair,            Prostheses/prosthetic appliances and devices include, but are
  replacement or duplicate equipment is provided only when
                                                                          not limited to:
  required due to anatomical change and/or reasonable wear
  and tear. All maintenance and repairs that result from a                • limb prostheses;
  person’s misuse are the person’s responsibility.                        • terminal devices such as hands or hooks;
Durable Medical Equipment is defined as items which are                   • speech prostheses; and
designed for and able to withstand repeated use by more than              • facial prostheses.
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                  Orthoses and Orthotic Devices
appropriate for use in the home; and are not disposable. Such             Orthoses and orthotic devices are defined as orthopedic
equipment includes, but is not limited to, crutches, Hospital             appliances or apparatuses used to support, align, prevent or
beds, ventilators, insulin pumps and wheel chairs.                        correct deformities. Coverage is provided for custom foot
Durable Medical Equipment items that are not covered include              orthoses and other orthoses as follows:
but are not limited to those that are listed below:                       • Non-foot orthoses – only the following non-foot orthoses
• Bed Related Items: bed trays, over the bed tables, bed                    are covered:
  wedges, pillows, custom bedroom equipment, mattresses,                      • rigid and semi-rigid custom fabricated orthoses;
  including nonpower mattresses, custom mattresses and                        • semi-rigid prefabricated and flexible orthoses; and
  posturepedic mattresses.
                                                                              • rigid prefabricated orthoses including preparation, fitting
• Bath Related Items: bath lifts, nonportable whirlpools,
                                                                                and basic additions, such as bars and joints.
  bathtub rails, toilet rails, raised toilet seats, bath benches,
  bath stools, hand held showers, paraffin baths, bath mats,
  and spas.


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• Custom foot orthoses – custom foot orthoses are only                   Anatomic change includes significant weight gain or loss,
  covered as follows:                                                    atrophy and/or growth.
  • for persons with impaired peripheral sensation and/or              • replacement due to a surgical alteration or revision of the
    altered peripheral circulation (e.g. diabetic neuropathy             impacted site.
    and peripheral vascular disease);                                  Coverage for replacement is limited as follows:
  • when the foot orthosis is an integral part of a leg brace          • no more than once every 24 months for persons 19 years of
    and is necessary for the proper functioning of the brace;            age and older.
  • when the foot orthosis is for use as a replacement or              • no more than once every 12 months for persons 18 years of
    substitute for missing parts of the foot (e.g. amputated             age and under.
    toes) and is necessary for the alleviation or correction of
    Injury, Sickness or congenital defect; and                         The following are specifically excluded external prosthetic
                                                                       appliances and devices:
  • for persons with neurologic or neuromuscular condition
                                                                       • external and internal power enhancements for external
    (e.g. cerebral palsy, hemiplegia, spina bifida) producing
    spasticity, malalignment, or pathological positioning of             prosthetic devices; or
    the foot and there is reasonable expectation of                    • microprocessor controlled prostheses and orthoses; and
    improvement.                                                       • myoelectric prostheses and orthoses.
The following are specifically excluded orthoses and orthotic
devices:
                                                                       HC-COV1125                                                 01-22
• prefabricated foot orthoses;                                                                                                      V1

• cranial banding and/or cranial orthoses. Other similar
  devices are excluded except when used postoperatively for
                                                                       Infertility Services
  synostotic plagiocephaly. When used for this indication, the
  cranial orthosis will be subject to the limitations and              Charges made for services related to diagnosis of infertility
  maximums of the External Prosthetic Appliances and                   and treatment of infertility. Services include, but are not
  Devices benefit;                                                     limited to: approved surgeries and other therapeutic
                                                                       procedures that have been demonstrated in existing peer-
• orthosis shoes, shoe additions, procedures for foot
                                                                       reviewed, evidence-based, scientific literature to have a
  orthopedic shoes, shoe modifications and transfers;                  reasonable likelihood of resulting in pregnancy.
• non-foot orthoses primarily used for cosmetic rather than
                                                                       This benefit includes diagnosis and treatment of both male and
  functional reasons; and
                                                                       female infertility.
• non-foot orthoses primarily for improved athletic
                                                                       However, the following are specifically excluded infertility
  performance or sports participation.                                 services from this Cigna Plan and are offered through the
Braces                                                                 Progyny fertility benefit. Progyny covers services such as, but
A Brace is defined as an orthosis or orthopedic appliance that         not limited to, the following:
supports or holds in correct position any movable part of the          • Infertility drugs;
body and that allows for motion of that part.                          • In vitro fertilization (IVF); gamete intrafallopian transfer
The following braces are specifically excluded: Copes                    (GIFT); zygote intrafallopian transfer (ZIFT) and variations
scoliosis braces.                                                        of these procedures;
Splints                                                                • Reversal of male and female voluntary sterilization;
A Splint is defined as an appliance for preventing movement            • Infertility services when the infertility is caused by or
of a joint or for the fixation of displaced or movable parts.            related to voluntary sterilization;
Coverage for replacement of external prosthetic appliances             •   Donor Charges and services;
and devices is limited to the following:
                                                                       •   Cryopreservation of donor sperm and eggs; and
• replacement due to regular wear. Replacement for damage
  due to abuse or misuse by the person will not be covered.
• replacement required because anatomic change has rendered
  the external prosthetic appliance or device ineffective.




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•   Any experimental, investigational or unproven infertility              • Improve, adapt or attain function (sometimes called
    procedures or therapies.                                                 “habilitative”):
                                                                             • To improve, adapt or attain function that has been
For more information about the Progyny benefit please contact                   impaired or was never achieved as a result of congenital
Progyny at 1-855-369-3343                                                       abnormality (birth defect).
                                                                             • To improve, adapt or attain function that has been
                                                                                impaired or was never achieved because of Mental Health
HC-COV733                                                     01-19
                                                                                and Substance Use Disorder conditions. Includes
                                                                                conditions such as autism and intellectual disability, or
Outpatient Therapy Services                                                     Mental Health and Substance Use Disorder conditions
                                                                                that result in a developmental delay.
Charges for the following therapy services:
                                                                           Coverage is provided as part of a program of treatment when
Cognitive Therapy, Occupational Therapy, Osteopathic
Manipulation, Physical Therapy, Pulmonary                                  the following criteria are met:
Rehabilitation, Speech Therapy                                             • The individual’s condition has the potential to improve or is
                                                                             improving in response to therapy, and maximum
• Charges for therapy services are covered when provided as
                                                                             improvement is yet to be attained.
  part of a program of treatment.
                                                                           • There is an expectation that the anticipated improvement is
Cardiac Rehabilitation
                                                                             attainable in a reasonable and generally predictable period
• Charges for Phase II cardiac rehabilitation provided on an                 of time.
  outpatient basis following diagnosis of a qualifying cardiac
                                                                           • The therapy is provided by, or under the direct supervision
  condition when Medically Necessary. Phase II is a Hospital-
                                                                             of, a licensed health care professional acting within the
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                 scope of the license.
  with active treatment and EKG monitoring.                                • The therapy is Medically Necessary and medically
                                                                             appropriate for the diagnosed condition.
  Phase III and Phase IV cardiac rehabilitation is not covered.
  Phase III follows Phase II and is generally conducted at a               Coverage for occupational therapy is provided only for
  recreational facility primarily to maintain the patient’s status         purposes of enabling individuals to perform the activities of
  achieved through Phases I and II. Phase IV is an                         daily living after an Injury or Sickness.
  advancement of Phase III which includes more active                      Therapy services that are not covered include:
  participation and weight training.
                                                                           • sensory integration therapy.
Chiropractic Care Services                                                 • treatment of dyslexia.
• Charges for diagnostic and treatment services utilized in an
                                                                           • maintenance or Preventive Trreatment provided to prevent
  office setting by chiropractic Physicians. Chiropractic
                                                                             recurrence or to maintain the patient’s current status.
  treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and                 • Charges for Chiropractic Care not provided in an office
  ancillary physiological treatment rendered to specific joints              setting.
  to restore motion, reduce pain, and improve function. For                • vitamin therapy.
  these services you have direct access to qualified                       Coverage is administered according to the following:
  chiropractic Physicians.
                                                                           • Multiple therapy services provided on the same day
Coverage is provided when Medically Necessary in the most
                                                                             constitute one day of service for each therapy type.
medically appropriate setting to:
                                                                           • A separate Copayment applies to the services provided by
• Restore function (called “rehabilitative”):
                                                                             each provider for each therapy type per day.
    • To restore function that has been impaired or lost.
    • To reduce pain as a result of Sickness, Injury, or loss of a
                                                                           HC-COV982                                                  01-21
      body part.
                                                                           Cancer Care Program
                                                                           Charges for the Plan’s Cancer Care Program, which is
                                                                           available to all Plan enrollees after initial diagnosis through



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remission. There are three main components including a center           The Cancer Support Line, also referred to as the Cancer
of excellence network, a cancer support line staffed by                 Support Team is a telephone line staffed by oncology Nurses,
oncology Nurses, and expert medical opinions.                           accessible Monday through Friday from 6 a.m. to 6 p.m. PST
Contigo Health - Oncology Center of Excellence                          at 1-800-811-4993. Specialty trained oncology Nurses are
                                                                        available to provide guidance preparing for oncology
You may be eligible for participation in Amazon’s Oncology              appointments and answer questions around nutrition, various
Center of Excellence Program administered by Contigo Health             treatments, symptoms and side effects. The support line is
at any point after initial diagnosis through remission. Eligible        available to patients and caregivers. There is no limit on the
participants will have a diagnosis or situation that renders            number of times you can call. Support is provided at no cost to
them a candidate for the program. To be eligible, a participant         participants.
is required to have a local Primary Care Physician, and be
deemed safe for travel. Participants who are determined to be           AccessHope Expert Medical Opinion - Expert Advisory
ineligible for the Center of Excellence are referred to                 Review
AccessHope for support from the Cancer Support Line, and an             Expert Advisory Review is a participant requested expert
Expert Advisory Review.                                                 medical opinion. Participants can call the Cancer Support Line
Claims for eligible services performed at one of the Centers of         or schedule an appointment to be called back at
Excellence are covered at 100 percent with no annual                    https://go.myaccesshope.org/expert-opinion/. After requesting
Deductible. However, participants enrolled in an HSA Plan               an Expert Advisory Review, AccessHope will work to obtain
must meet the annual Deductible before the Plan will make               a Participant’s medical records to complete analysis of the
any payments, due to federal tax laws. Additionally, travel,            diagnosis and treatment plan. The final review results in a
lodging and a daily allowance will be provided for the                  report and the offer of a telephonic consultation with the
recipient and a caregiver (two caregivers for pediatric                 treating oncologist. Procedures and/or therapeutics
recipients). All travel and lodging must be scheduled through           recommended by AccessHope Oncologists in the written
the Centers of Excellence program. Payment is subject to                expert medical opinion are guaranteed to be approved by the
otherwise applicable limits.                                            Plan. The service is voluntary and offered to participants at no
                                                                        cost.
    •    The participant and designated caregiver must agree
                                                                        AccessHope Expert Medical Opinion - Accountable Precision
         to abide by program requirements.
                                                                        Oncology
    •    The participant must be safe to travel for medical
                                                                        Accountable Precision Oncology is an expert medical opinion
         care as determined by the medical center.                      program which identifies potential candidates for the
    •    The participant acknowledges that the medical center           voluntary program using claims data. The intent is to ensure
         must receive necessary medical records prior to                both the participant and their provider are aware of the
         acceptance into the program.                                   additional support available. After diagnosis, a participant and
    •    The participant must provide the Physician with                their treating oncologist will receive communication
                                                                        describing the services offered by the voluntary program.
         contact information for a local Physician that has
                                                                        Should the participant and provider collectively opt to
         agreed to manage follow-up care after the participant          participate in the program, AccessHope will request the
         returns home from the medical center.                          medical records to complete analysis of the diagnosis and
    •    Centers of Excellence services must be pre-                    treatment plan. The final review results in a report and the
         authorized by Contigo Health, the administrator of             offer of a telephonic consultation with the treating oncologist.
         the program, in order to be covered under the Plan. If         Procedures and/or therapeutics recommended by AccessHope
                                                                        Oncologists in the written expert medical opinion are
         Contigo determines that the Center of Excellence
                                                                        guaranteed to be approved by the Plan. The service is
         Program is not appropriate for the patient, Contigo
                                                                        voluntary and offered to participants at no cost.
         Health will refer the patient to AccessHope for a
                                                                        Breast Reconstruction and Breast Prostheses
         Expert Advisory Review (Expert Medical Opinion).
                                                                        • Charges made for reconstructive surgery following a
Contigo Nurses liaise with the local care team and provide 12              mastectomy; benefits include: surgical services for
months of aftercare support to the participant. Support is                 reconstruction of the breast on which surgery was
provided to ensure the participant has the holistic support they           performed; surgical services for reconstruction of the non-
need. Contigo Health is available at 1-877-885-0652.                       diseased breast to produce symmetrical appearance;
                                                                           postoperative breast prostheses; and mastectomy bras and
AccessHope - Cancer Support Line                                           prosthetics, limited to the lowest cost alternative available


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  that meets prosthetic placement needs. During all stages of          •  Transplant services and related specialty care services
  mastectomy, treatment of physical complications, including              received at any other facility, including non-Participating
  lymphedema therapy, are covered.                                        Provider facilities and Participating Provider facilities not
Reconstructive Surgery                                                    specifically contracted with Cigna for transplant services
                                                                          and related specialty care services, are not covered.
• Charges made for reconstructive surgery or therapy to repair
  or correct a severe physical deformity or disfigurement              • Cornea transplants received at a facility that is specifically

  which is accompanied by functional deficit; (other than                 contracted with Cigna for this type of transplant are payable
  abnormalities of the jaw or conditions related to TMJ                   at the In-Network level.
  disorder) provided that: the surgery or therapy restores or          Coverage for organ procurement costs are limited to costs
  improves function; reconstruction is required as a result of         directly related to the procurement of an organ, from a cadaver
  Medically Necessary, non-cosmetic surgery; or the surgery            or a live donor. Organ procurement costs shall consist of
  or therapy is performed prior to age 19 and is required as a         hospitalization and surgery necessary for removal of an organ
  result of the congenital absence or agenesis (lack of                and transportation of a live donor (refer to Transplant and
  formation or development) of a body part. Repeat or                  Related Specialty Care Travel Services). Compatibility testing
  subsequent surgeries for the same condition are covered              undertaken prior to procurement is covered if Medically
  only when there is the probability of significant additional         Necessary. Costs related to the search for, and identification of
  improvement as determined by the utilization review                  a bone marrow or stem cell donor for an allogeneic transplant
  Physician.                                                           Transplant and Related Specialty Care Travel Services
                                                                       Charges made for non-taxable travel expenses incurred by you
HC-COV631                                                 12-17        in connection with a preapproved organ/tissue transplant are
                                                                       covered subject to the following conditions and limitations:
Transplant Services and Related Specialty Care                         • Transplant and related specialty care travel benefits are not
                                                                          available for cornea transplants.
Charges made for human organ and tissue transplant services
which include solid organ and bone marrow/stem cell                    • Benefits for transportation and lodging are available to the
procedures at designated facilities throughout the United                 recipient of a preapproved organ/tissue transplant and/or
States or its territories. This coverage is subject to the                related specialty care from a designated Cigna
following conditions and limitations.                                     LifeSOURCE Transplant Network® facility.
Transplant services include the recipient’s medical, surgical          • The term recipient is defined to include a person receiving
and Hospital services; inpatient immunosuppressive                        authorized transplant related services during any of the
medications; and costs for organ or bone marrow/stem cell                 following: evaluation, candidacy, transplant event, or post-
procurement. Transplant services are covered only if they are             transplant care.
required to perform any of the following human to human                • Travel expenses for the person receiving the transplant will
organ or tissue transplants: allogeneic bone marrow/stem cell,            include Charges for: transportation to and from the
autologous bone marrow/stem cell, cornea, heart, heart/lung,              designated Cigna LifeSOURCE Transplant Network®
kidney, kidney/pancreas, liver, lung, pancreas or intestine               facility (including Charges for a rental car used during a
which includes small bowel-liver or multi-visceral.                       period of care at the designated Cigna LifeSOURCE
Implantation procedures are also covered for artificial heart,            Transplant Network® facility); and lodging while at, or
percutaneous ventricular assist device (PVAD), extracorporeal             traveling to and from, the designated Cigna LifeSOURCE
membrane oxygenation (ECMO) ventricular assist device                     Transplant Network® facility.
(VAD) and intra-aortic balloon pump (IABP) are also covered.           • In addition to your coverage for the Charges associated with
• All transplant services and related specialty care services,            the items above, such Charges will also be considered
  other than cornea transplants, are covered when received at             covered travel expenses for one companion to accompany
  Cigna LifeSOURCE Transplant Network® facilities.                        you. The term companion includes your spouse, a member
• Transplant services and related specialty care services                 of your family, your legal guardian, or any person not
  received at Participating Provider facilities specifically              related to you, but actively involved as your caregiver who
  contracted with Cigna for those transplant services and                 is at least 18 years of age.
  related specialty care services, other than Cigna                    • The following are specifically excluded travel expenses: any
  LifeSOURCE Transplant Network® facilities, are payable                  expenses that if reimbursed would be taxable income, travel
  at the In-Network level.                                                costs incurred due to travel within 60 miles of your home;
                                                                          food and meals; laundry bills; telephone bills; alcohol or


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  tobacco products; and Charges for transportation that                   companion for hotel lodging away from home is at a rate of
  exceed coach class rates.                                               $50 per night per person, or $100 per night total.
                                                                          Overall Maximum: Limited to $10,000 per participant per
  These benefits for Transplant Services and Related                      Plan year for life-threatening conditions. Limited to $4,000
  Specialty Care, and for Transplant and Related Specialty                per participant per Plan year for select specialty conditions.
  Care Travel Services are only available when the covered                Companions: Benefits are provided if a companion is needed
  person is the recipient of an organ/tissue transplant. Travel           to accompany you or your Dependent due to medical necessity
  expenses for the designated live donor for a covered                    or safety.
  recipient are covered subject to the same conditions and                • Adult Patient – 1 companion is permitted.
  limitations noted above. Charges for the expenses of a
  donor companion are not covered. No transplant and related              • Child Patient – 2 parents or guardians are permitted
  specialty care services or travel benefits are available when           Limits: The Plan covers travel and lodging costs up to the
  the covered person is the donor for an organ/tissue                     IRS limits in place on the date you had the expense. The per
  transplant, the transplant recipient’s plan would cover all             day limits and requirements can change if IRS regulations
  donor costs.                                                            change. Please go to the IRS website, www.irs.gov, for details.
                                                                          This summary is not and should not be assumed to be tax
                                                                          advice.
                                                                          Non-Covered Expenses:
Travel and Lodging
                                                                          • Airport parking fees
Travel and lodging reimbursement benefits are available when
travel is necessary in order to treat a life-threatening condition        • Alcohol/tobacco
or select specialty conditions when a local treatment option              • Baggage fees
isn’t available within 100 miles of the patient’s home. A life-
threatening condition is any disease or condition from which              • Car rental
the likelihood of death is probable unless the course of the              • Entertainment (e.g., movies, visits to museums, additional
disease or condition is interrupted. Coverage for select                  mileage for sightseeing, etc.)
specialty conditions include: services related to Gender                  • Expenses for persons other than the patient and their
Affirmation, cardiology, oncology, congenital anomalies,                  covered companion
bariatric, cellular gene therapies, Substance Use Disorder and
Mental Health services requiring admission to facility or for             • Lodging in any location other than a hotel or motel
residential treatment care, and maternity services including              • Costs for pets or animals, other than service animals
elective abortion and infertility.
                                                                          • Meals
Travel Allowances: Travel is reimbursed between the
patient’s home and the Facility for round trip (air, train, or            • Personal care items (e.g., shampoo, deodorant, toothbrush
bus) transportation cost. Airfare must be for a regularly                 etc.)
scheduled commercial flight (coach class only). If traveling by           • Souvenirs (e.g., T-shirts, sweatshirts, toys, etc.)
auto to the Facility, mileage, parking and toll costs are                 • Telephone calls
reimbursed. Mileage reimbursement will be based on the
current IRS medical mileage reimbursement. Please refer to                Limitations/exclusions:
the IRS Website, www.irs.gov, for current rates.                          • Travel reimbursements are not covered for travel outside of
Lodging Allowances: Hotel or motel stays away from home.                  the United States
Reimbursement of expenses incurred by a patient and                       • The patient must be covered by a this Plan
                                                                          • The medical treatment requiring travel must be a covered
                                                                          benefit
                                                                          • Limits: The Plan covers travel and lodging costs up to the
                                                                          IRS limits in place on the date you had the expense. The per
                                                                          day limits and requirements can change if IRS regulations
                                                                          change. Please go to the IRS website, www.irs.gov, for details.
                                                                          Prior authorization is highly recommended for you or your
                                                                          Dependents considering seeking care that requires travel for



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non-emergency, but life-threatening conditions. For                       Travel expenses for the person receiving the advanced cellular
information on obtaining a prior authorization, please see                therapy include Charges for: transportation to and from the
Prior Authorization earlier in this Summary Plan Description              advanced cellular therapy site (including Charges for a rental
or contact Cigna for more details.                                        car used during a period of care at the facility); and lodging
                                                                          while at, or traveling to and from, the site.
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                                                                          In addition to your coverage for the Charges associated with
                                                                          the items above, such Charges will also be considered covered
                                                                          travel expenses for one companion to accompany you. The
Advanced Cellular Therapy                                                 term companion includes your spouse, a member of your
Charges for advanced cellular therapy products and services               family, your legal guardian, or any person not related to you,
directly related to their administration are covered when                 but actively involved as your caregiver who is at least 18 years
Medically Necessary. Coverage includes the cost of the                    of age.
advanced cellular therapy product; medical, surgical, and                 The following are specifically excluded travel expenses: any
facility services directly related to administration of the               expenses that if reimbursed would be taxable income, travel
advanced cellular therapy product, and professional services.             costs incurred due to travel within a 60 mile radius of your
Cigna determines which U.S. Food and Drug Administration                  primary home residence; food and meals; laundry bills;
(FDA) approved products are in the category of advanced                   telephone bills; alcohol or tobacco products; and Charges for
cellular therapy, based on the nature of the treatment and how            transportation that exceed coach class rates.
it is manufactured, distributed and administered. An example
of advanced cellular therapy is chimeric antigen receptor
                                                                          HC-COV1327                                           04-23
(CAR) T-cell therapy that redirects a person’s T cells to
recognize and kill a specific type of cancer cell.
Advanced cellular therapy products and their administration               Medical Pharmaceuticals
are covered at the In-Network benefit level when prior                    The Plan covers Charges made for Medical Pharmaceuticals
authorized to be received at a provider contracted with Cigna             that are administered in an Inpatient setting, Outpatient
for the specific advanced cellular therapy product and related            setting, Physician’s office, or in a participant's home.
services. Advanced cellular therapy products and their                    Benefits under this section are provided only for Medical
administration received from a provider that is not contracted            Pharmaceuticals which, due to their characteristics (as
with Cigna for the specific advanced cellular therapy product             determined by Cigna), are required to be administered, or the
and related services are not covered.                                     administration of which must be directly supervised, by a
Advanced Cellular Therapy Travel Services                                 qualified Physician or Other Health Professional. Benefits
Charges made for non-taxable travel expenses incurred by you              payable under this section include Medical Pharmaceuticals
in connection with a prior authorized advanced cellular                   whose administration may initially, or typically, require
therapy product are covered, subject to the following                     Physician or Other Health Professional oversight but may be
conditions and limitations.                                               self-administered under certain conditions specified in the
                                                                          product’s FDA labeling.
Benefits for transportation and lodging are available to you
only when:                                                                Certain Medical Pharmaceuticals are subject to prior
                                                                          authorization requirements or other coverage conditions.
• you are the recipient of a prior authorized advanced cellular
                                                                          Additionally, certain Medical Pharmaceuticals are subject to
    therapy product;                                                      step therapy requirements. This means that in order to receive
• the term recipient is defined to include a person receiving             benefits for such Medical Pharmaceuticals, you are required to
    prior authorized advanced cellular therapy related services           try a different Medical Pharmaceutical and/or Prescription
    during any of the following: evaluation, candidacy, event, or         Drug Product first.
    post care;                                                            Utilization management requirements or other coverage
the advanced cellular therapy products and services                       conditions are based on a number of factors, which may
directly related to their administration are received at a                include clinical and economic factors. Clinical factors may
provider contracted with Cigna for the specific advanced                  include, but are not limited to, the P&T Committee’s
cellular therapy product and related services; and                        evaluations of the place in therapy, relative safety or relative
• the provider is not available within a 60 mile radius of your           efficacy of Medical Pharmaceuticals as well as whether
    primary home residence.                                               certain supply limits or other utilization management
                                                                          requirements should apply. Economic factors may include, but


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are not limited to, the Medical Pharmaceutical’s cost                  are covered subject to the following conditions and
including, but not limited to, assessments on the cost                 limitations.
effectiveness of the Medical Pharmaceuticals and available             Benefits for transportation and lodging are available to you
rebates. Regardless of its eligibility for coverage under your         only when you are the recipient of a prior authorized gene
Plan, whether a particular Prescription Drug Product is                therapy; and when the gene therapy products and services
appropriate for you or any of your Dependents is a                     directly related to their administration are received at a
determination that is made by you (or your Dependent) and              participating In-Network facility specifically contracted with
the prescribing Physician.                                             Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may                 is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a                therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a               evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a          Travel expenses for the person receiving the gene therapy
Medical Pharmaceutical may become available, or other                  include Charges for: transportation to and from the gene
market events may occur. Market events that may affect the             therapy site (including Charges for a rental car used during a
coverage status of a Medical Pharmaceutical include, but are           period of care at the facility); and lodging while at, or
not limited to, an increase in the cost of a Medical                   traveling to and from, the site.
Pharmaceutical.
                                                                       In addition to your coverage for the Charges associated with
                                                                       the items above, such Charges will also be considered covered
HC-COV1168                                                01-22        travel expenses for one companion to accompany you. The
                                                                       term companion includes your spouse, a member of your
Gene Therapy                                                           family, your legal guardian, or any person not related to you,
                                                                       but actively involved as your caregiver who is at least 18 years
Charges for gene therapy products and services directly
                                                                       of age.
related to their administration are covered when Medically
Necessary. Gene therapy is a category of pharmaceutical                The following are specifically excluded travel expenses: any
products approved by the U.S. Food and Drug Administration             expenses that if reimbursed would be taxable income, travel
(FDA) to treat or cure a disease by:                                   costs incurred due to travel within 100 miles of your home;
                                                                       food and meals; laundry bills; telephone bills; alcohol or
• replacing a disease-causing gene with a healthy copy of the
                                                                       tobacco products; and Charges for transportation that exceed
  gene.
                                                                       coach class rates.
• inactivating a disease-causing gene that may not be
  functioning properly.
                                                                       HC-COV873                                                      01-20
• introducing a new or modified gene into the body to help
  treat a disease.
Each gene therapy product is specific to a particular disease          Clinical Trials
and is administered in a specialized manner. Cigna determines          This Plan covers routine patient care costs and services related
which products are in the category of gene therapy, based in           to an approved clinical trial for a qualified individual. The
part on the nature of the treatment and how it is distributed          individual must be eligible to participate according to the trial
and administered.                                                      protocol and either of the following conditions must be met:
Coverage includes the cost of the gene therapy product;                • the referring health care professional is a participating
medical, surgical, and facility services directly related to              health care provider and has concluded that the individual’s
administration of the gene therapy product; and professional              participation in such trial would be appropriate; or
services.                                                              • the individual provides medical and scientific information
Gene therapy products and their administration are covered                establishing that the individual’s participation in the clinical
when prior authorized to be received at In-Network facilities             trial would be appropriate.
specifically contracted with Cigna for the specific gene               In addition to qualifying as an individual, the clinical trial
therapy service. Gene therapy products and their                       must also meet certain criteria in order for patient care costs
administration received at other facilities are not covered.           and services to be covered.
Gene Therapy Travel Services                                           The clinical trial must be a phase I, phase II, phase III, or
Charges made for non-taxable travel expenses incurred by you           phase IV clinical trial conducted in relation to the prevention,
in connection with a prior authorized gene therapy procedure


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detection, or treatment of cancer or other life-threatening             •   travel and transportation expenses, unless otherwise covered
disease or condition that meets any of the following criteria:              under the Plan, including but not limited to the following:
• it is a federally funded trial. The study or investigation is             • fees for personal vehicle, rental car, taxi, medical van,
  approved or funded (which may include funding through in-                   Ambulance, commercial airline, train.
  kind contributions) by one or more of the following:                      • mileage reimbursement for driving a personal vehicle.
  • National Institutes of Health (NIH).                                    • lodging.
  • Centers for Disease Control and Prevention (CDC).                       • meals.
  • Agency for Health Care Research and Quality (AHRQ).                 • routine patient costs obtained out-of-network when Out-of-
  • Centers for Medicare and Medicaid Services (CMS).                     Network benefits do not exist under the Plan.
  • a cooperative group or center of any of the entities                Examples of routine patient care costs and services include:
    described above or the Department of Defense (DOD) or               • radiological services.
    the Department of Veterans Affairs (VA).
                                                                        • laboratory services.
  • a qualified non-governmental research entity identified in
                                                                        • intravenous therapy.
    NIH guidelines for center support grants.
  • any of the following: Department of Energy, Department              • anesthesia services.
    of Defense, Department of Veterans Affairs, if both of              • Physician services.
    the following conditions are met:                                   • office services.
    • the study or investigation has been reviewed and                  • Hospital services.
       approved through a system of peer review comparable
                                                                        • Room and Board, and medical supplies that typically would
       to the system of peer review of studies and
       investigations used by the National Institutes of Health           be covered under the Plan for an individual who is not
       (NIH); and                                                         enrolled in a clinical trial.
    • the study or investigation assures unbiased review of
       the highest scientific standards by qualified individuals        HC-COV1128                                                  01-22

       who have no interest in the outcome of the review.
  • the study or investigation is conducted under an
    investigational new drug application reviewed by the U.S.           Exclusions, Expenses Not Covered and
    Food and Drug Administration (FDA).
                                                                        General Limitations
  • the study or investigation is a drug trial that is exempt
    from having such an investigational new drug application.           Exclusions and Expenses Not Covered
The Plan does not cover any of the following services                   Additional coverage limitations determined by Plan or
associated with a clinical trial:                                       provider type are shown in The Schedule. Payment for the
• services that are not considered routine patient care costs
                                                                        following is specifically excluded from this Plan:
  and services, including the following:                                • care for health conditions that are required by state or local

  • the investigational drug, device, item, or service that is
                                                                          law to be treated in a public facility.
    provided solely to satisfy data collection and analysis             • care required by state or federal law to be supplied by a
    needs.                                                                public school system or school district.
  • an item or service that is not used in the direct clinical          • care for military service disabilities treatable through
    management of the individual.                                         governmental services if you are legally entitled to such
  • a service that is clearly inconsistent with widely accepted
                                                                          treatment and facilities are reasonably available.
    and established standards of care for a particular                  • treatment of an Injury or Sickness which is due to war,
    diagnosis.                                                            declared, or undeclared.
• an item or service provided by the research sponsors free of          • Charges which you are not obligated to pay and/or for
  Charge for any person enrolled in the trial.                            which you are not billed. This exclusion includes, but is not
                                                                          limited to:
                                                                          • any instance where Cigna determines that a provider or
                                                                             Pharmacy did not bill you for or has waived, reduced, or



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    forgiven any portion of its Charges and/or any portion of              • the subject of review or approval by an Institutional
    any Copayment, Deductible, and/or Coinsurance                             Review Board for the proposed use except as provided in
    amount(s) you are required to pay for an otherwise                        the “Clinical Trials” sections of this Plan; or
    Covered Expense (as shown on The Schedule) without                     • the subject of an ongoing phase I, II or III clinical trial,
    Cigna's express consent.                                                  except for routine patient care costs related to qualified
  • Charges of a non-Participating Provider who has agreed                    clinical trials as provided in the “Clinical Trials” sections
    to charge you at an in-network benefits level or some                     of this Plan.
    other benefits level not otherwise applicable to the                   In determining whether any such technologies, supplies,
    services received.                                                     treatments, drug or Biologic therapies, or devices are
  • In the event that Cigna determines that this exclusion                 experimental, investigational, and/or unproven, the
    applies, then Cigna in its sole discretion shall have the              utilization review Physician may rely on the clinical
    right to:                                                              coverage policies maintained by Cigna or the Review
    • require you and/or any provider or Pharmacy                          Organization. Clinical coverage policies may incorporate,
       submitting claims on your behalf to provide proof                   without limitation and as applicable, criteria relating to U.S.
       sufficient to Cigna that you have made your required                Food and Drug Administration-approved labeling, the
       cost-share payment(s) prior to the payment of any                   standard medical reference compendia and peer-reviewed,
       benefits by Cigna.                                                  evidence-based scientific literature or guidelines.
    • deny the payment of benefits in connection with the                • cosmetic surgery and therapies. Cosmetic surgery or therapy

       Covered Expense regardless of whether the provider or               is defined as surgery or therapy performed to improve or
       the Pharmacy represents that you remain responsible                 alter appearance or self-esteem.
       for any amounts that your Plan does not cover, or                 • the following services are excluded from coverage
    • reduce the benefits in proportion to the amount of the               regardless of clinical indications (except as may be covered
       Copayment, Deductible, and/or Coinsurance amounts                   as services related to “Gender Affirmation” ): redundant
       waived, forgiven or reduced, regardless of whether the              skin surgery; removal of skin tags; acupressure;
       provider or Pharmacy represents that you remain                     craniosacral/cranial therapy; dance therapy; movement
       responsible for any amounts that your Plan does not                 therapy; applied kinesiology; rolfing; prolotherapy; and
       cover.                                                              extracorporeal shock wave lithotripsy (ESWL) for
• Charges or payment for healthcare-related services that
                                                                           musculoskeletal and orthopedic conditions.
  violate state or federal law.                                          • dental treatment of the teeth, gums or structures directly
                                                                           supporting the teeth, including dental X-rays, examinations,
• assistance in the activities of daily living, including but not
                                                                           repairs, orthodontics, periodontics, casts, splints and
  limited to eating, bathing, dressing or other Custodial
                                                                           services for dental malocclusion, for any condition. Charges
  Services or self-care activities, homemaker services and
                                                                           made for services or supplies provided for or in connection
  services primarily for rest, domiciliary or convalescent care.
                                                                           with an accidental Injury to teeth are covered provided a
• for or in connection with experimental, investigational or               continuous course of dental treatment is started within six
  unproven services.                                                       months of an accident.
  Experimental, investigational and unproven services are                • for medical and surgical services intended primarily for the
  medical, surgical, diagnostic, psychiatric, Substance Use                treatment or control of obesity. However, treatment of
  Disorder or other health care technologies, supplies,                    clinically severe obesity, as defined by the Body Mass
  treatments, procedures, drug or Biologic therapies or                    Index (BMI) classifications of the National Heart, Lung,
  devices that are determined by the utilization review                    and Blood Institute (NHLBI) guideline is covered only at
  Physician to be:                                                         approved centers if the services are demonstrated, through
  • not approved by the U.S. Food and Drug Administration                  existing peer-reviewed, evidence-based, scientific literature
    (FDA) or other appropriate regulatory agency to be                     and scientifically based guidelines, to be safe and effective
    lawfully marketed;                                                     for treatment of the condition. Clinically severe obesity is
  • not demonstrated, through existing peer-reviewed,
                                                                           defined by the NHLBI as a BMI of 40 or greater without
    evidence-based, scientific literature to be safe and                   comorbidities, or 35-39 with comorbidities. The following
    effective for treating or diagnosing the condition or                  are specifically excluded:
    Sickness for which its use is proposed;                                • medical and surgical services to alter appearances or
                                                                              physical changes that are the result of any surgery



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     performed for the management of obesity or clinically              • aids or devices that assist with non-verbal communications,
     severe (morbid) obesity; and                                         including but not limited to communication boards, pre-
  • weight loss programs or treatments, whether prescribed or             recorded speech devices, laptop computers, desktop
     recommended by a Physician or under medical                          computers, Personal Digital Assistants (PDAs), Braille
     supervision.                                                         typewriters, visual alert systems for the deaf and memory
                                                                          books.
• reports, evaluations, physical examinations, or
  hospitalization not required for health reasons, including but        • eyeglass lenses and frames, contact lenses and associated
  not limited to employment, insurance or government                      services (exams and fittings) (except for the initial set after
  licenses, and court-ordered, forensic or custodial                      treatment of keratoconus or following cataract surgery).
  evaluations, unless otherwise covered under this Plan.                • routine refractions, eye exercises and surgical treatment for
• court-ordered treatment or hospitalization, unless treatment            the correction of a refractive error, including radial
  is prescribed by a Physician and is a covered service or                keratotomy.
  supply under this Plan.                                               • all non-injectable prescription drugs, unless Physician
• any medications, drugs, services or supplies for the                    administration or oversight is required, injectable
  treatment of male or female sexual dysfunction such as, but             prescription drugs to the extent they do not require
  not limited to, treatment of erectile dysfunction (including            Physician supervision and are typically considered self-
  penile implants), anorgasmy, and premature ejaculation.                 administered drugs, non-prescription drugs, and
                                                                          investigational and experimental drugs, except as provided
• medical and Hospital care and costs for the child of your
                                                                          in this Plan.
  Dependent child, unless the child is otherwise eligible under
                                                                        • routine foot care, including the paring and removing of
  this Plan.
                                                                          corns and calluses and toenail maintenance. However, foot
• non-medical counseling and/or ancillary services, including
                                                                          care services for diabetes, peripheral neuropathies and
  but not limited to Custodial Services, educational services,            peripheral vascular disease are covered when Medically
  vocational counseling, training and, rehabilitation services,           Necessary.
  behavioral training, biofeedback, neurofeedback, hypnosis,
  sleep therapy, return to work services, work hardening                • membership costs and fees associated with health clubs,

  programs and driver safety courses.                                     weight loss programs or smoking cessation programs.
• therapy or treatment intended primarily to improve or                 • genetic screening or pre-implantations genetic screening.
  maintain general physical condition or for the purpose of               General population-based genetic screening is a testing
  enhancing job, school, athletic or recreational performance,            method performed in the absence of any symptoms or any
  including but not limited to routine, long term, or                     significant, proven risk factors for genetically linked
  maintenance care which is provided after the resolution of              inheritable disease.
  the acute medical problem and when significant therapeutic            • dental implants for any condition.
  improvement is not expected.                                          • fees associated with the collection, storage or donation of
• consumable medical supplies other than ostomy supplies                  blood or blood products, except for autologous donation in
  and urinary catheters. Excluded supplies include, but are not           anticipation of scheduled services when medical
  limited to bandages and other disposable medical supplies,              management review determines the likelihood of excess
  skin preparations and test strips, except as specified in the           blood loss is such that transfusion is an expected adjunct to
  “Home Health Care Services” or “Breast Reconstruction                   surgery.
  and Breast Prostheses” sections of this Plan.                         • blood administration for the purpose of general
• private Hospital rooms and/or private duty nursing except as            improvement in physical condition.
  provided under the Home Health Care Services provision.               • cost of biologicals that are immunizations or medications
• personal or comfort items such as personal care kits                    for the purpose of travel, or to protect against occupational
  provided on admission to a Hospital, television, telephone,             hazards and risks.
  newborn infant photographs, complimentary meals, birth                • health and beauty aids, cosmetics and dietary supplements.
  announcements, and other articles which are not for the
                                                                        • all nutritional supplements, formulae, enteral feedings,
  specific treatment of an Injury or Sickness.
                                                                          supplies and specially formulated medical foods, whether
• artificial aids, including but not limited to corrective                prescribed or not except for infant formula needed for the
  orthopedic shoes, arch supports, elastic stockings, garter              treatment of inborn errors of metabolism.
  belts, corsets, dentures and wigs.



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• for or in connection with an Injury or Sickness arising out            Definitions
  of, or in the course of, any employment for wage or profit.            For the purposes of this section, the following terms have the
• Charges related to an Injury or Sickness payable under                 meanings set forth below:
  worker’s compensation or similar laws.                                 Plan
• expenses incurred by a participant to the extent                       Any of the following that provides benefits or services for
  reimbursable under automobile insurance coverage.                      medical care or treatment:
  Coverage under this Plan is secondary to automobile no-
                                                                         • Group insurance and/or group-type coverage, whether
  fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health                    insured or self-insured which neither can be purchased by
  Coverage” under Michigan law and therefore does not                      the general public, nor is individually underwritten,
  replace Personal Injury Protection (PIP) coverage provided               including closed panel coverage.
  under an automobile insurance policy issued to a Michigan              • Coverage under Medicare and other governmental benefits
  resident. This Plan will cover expenses only not otherwise               as permitted by law, excepting Medicaid and Medicare
  covered by the PIP coverage.                                             supplement policies.
General Limitations                                                      • Medical benefits coverage of group, group-type, and
                                                                           individual automobile contracts.
No payment will be made for expenses incurred for you or any
one of your Dependents:                                                  Each Plan or part of a Plan which has the right to coordinate
                                                                         benefits will be considered a separate Plan.
• for Charges by a Hospital owned or operated by or which
  provides care or performs services for, the United States              Closed Panel Plan
  Government, if such Charges are directly related to a                  A Plan that provides medical or dental benefits primarily in
  military-service-connected Injury or Sickness.                         the form of services through a panel of employed or
• any Charges related to care provided through a public                  contracted providers, and that limits or excludes benefits
  program, other than Medicaid.                                          provided by providers outside of the panel, except in the case
                                                                         of emergency or if referred by a provider within the panel.
• for Charges which would not have been made if the person
  did not have coverage.                                                 Primary Plan
• to the extent that they are more than Maximum                          The Plan that determines and provides or pays benefits
  Reimbursable Charges applicable to care, if any, received              without taking into consideration the existence of any other
  Out-of-Network.                                                        Plan.
• to the extent of the exclusions imposed by any certification           Secondary Plan
  requirement shown in this Plan.                                        A Plan that determines, and may reduce its benefits after
• for expenses for services, supplies, care, treatment, drugs or         taking into consideration, the benefits provided or paid by the
  surgery that are not Medically Necessary.                              Primary Plan. A Secondary Plan may also recover from the
                                                                         Primary Plan the Reasonable Cash Value of any services it
• for Charges by any Physician or Other Health Professional
                                                                         provided to you.
  who is a member of your family or your Dependent's
  family.                                                                Allowable Expense
• for expenses incurred outside the United States other than             The amount of Charges considered for payment under the Plan
  expenses for Medically Necessary emergency or Urgent                   for a Covered Service prior to any reductions due to
  Care while temporarily traveling abroad.                               Coinsurance, Copayment or Deductible amounts. If Cigna
                                                                         contracts with an entity to arrange for the provision of
                                                                         Covered Services through that entity’s contracted network of
HC-EXC526                                                   01-24        health care providers, the amount that Cigna has agreed to pay
                                                                         that entity is the allowable amount used to determine you r
                                                                         Coinsurance or Deductible payments. If the Plan provides
                                                                         benefits in the form of services, the Reasonable Cash Value of
Coordination of Benefits                                                 each service is the Allowable Expense and is a paid benefit.
This section applies if you or any one of your Dependents is
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You
should file all claims with each Plan.



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Examples of expenses or services that are not Allowable                       which covers the parent whose birthday falls first in the
Expenses include, but are not limited to the following:                       calendar year as an enrollee or Employee;
• An expense or service or a portion of an expense or service              • If you are the Dependent of divorced or separated parents,
  that is not covered by any of the Plans is not an Allowable                 benefits for the Dependent shall be determined in the
  Expense.                                                                    following order:
• If you are confined to a private Hospital room and no Plan                  • first, if a court decree states that one parent is responsible
  provides coverage for more than a semiprivate room, the                       for the child's healthcare expenses or health coverage and
  difference in cost between a private and semiprivate room is                  the Plan for that parent has actual knowledge of the terms
  not an Allowable Expense.                                                     of the order, but only from the time of actual knowledge;
• If you are covered by two or more Plans that provide                        • then, the Plan of the parent with custody of the child;
  services or supplies on the basis of reasonable and                         • then, the Plan of the spouse of the parent with custody of
  customary fees, any amount in excess of the highest                           the child;
  reasonable and customary fee is not an Allowable Expense.
                                                                              • then, the Plan of the parent not having custody of the
• If you are covered by one Plan that provides services or
                                                                                child; and
  supplies on the basis of reasonable and customary fees and
                                                                              • finally, the Plan of the spouse of the parent not having
  one Plan that provides services and supplies on the basis of
  negotiated fees, the Primary Plan's fee arrangement shall be                  custody of the child.
  the Allowable Expense.                                                   • The Plan that covers you as an active Employee (or as that

• If your benefits are reduced under the Primary Plan (through
                                                                              Employee 's Dependent) shall be the Primary Plan and the
  the imposition of a higher Copayment amount, higher                         Plan that covers you as laid-off or retired Employee (or as
  Coinsurance percentage, a Deductible and/or a penalty)                      that Employee's Dependent) shall be the Secondary Plan. If
  because you did not comply with Plan provisions or because                  the other Plan does not have a similar provision and, as a
  you did not use a preferred provider, the amount of the                     result, the Plans cannot agree on the order of benefit
  reduction is not an Allowable Expense. Such Plan                            determination, this paragraph shall not apply.
  provisions include second surgical opinions and                          • The Plan that covers you under a right of continuation
  precertification of admissions or services.                                 which is provided by federal or state law shall be the
Claim Determination Period                                                    Secondary Plan and the Plan that covers you as an active
                                                                              Employee or retiree (or as that Employee’s Dependent)
A calendar year, but does not include any part of a year during               shall be the Primary Plan. If the other Plan does not have a
which you are not covered under this Plan or any date before                  similar provision and, as a result, the Plans cannot agree on
this section or any similar provision takes effect.                           the order of benefit determination, this paragraph shall not
Reasonable Cash Value                                                         apply.
An amount which a duly licensed provider of health care                    • If one of the Plans that covers you is issued out of the state
services usually charges patients and which is within the range               whose laws govern this Plan, and determines the order of
of fees usually charged for the same service by other health                  benefits based upon the gender of a parent, and as a result,
care providers located within the immediate geographic area                   the Plans do not agree on the order of benefit determination,
where the health care service is rendered under similar or                    the Plan with the gender rules shall determine the order of
comparable circumstances.                                                     benefits.
Order of Benefit Determination Rules                                       If none of the above rules determines the order of benefits, the
A Plan that does not have a coordination of benefits rule                  Plan that has covered you for the longer period of time shall
consistent with this section shall always be the Primary Plan.             be primary.
If the Plan does have a coordination of benefits rule consistent           When coordinating benefits with Medicare, this Plan will be
with this section, the first of the following rules that applies to        the Secondary Plan and determine benefits after Medicare,
the situation is the one to use:                                           where permitted by the Social Security Act of 1965, as
• The Plan that covers you as an enrollee or an employee shall             amended. However, when more than one Plan is secondary to
   be the Primary Plan and the Plan that covers you as a                   Medicare, the benefit determination rules identified above,
   Dependent shall be the Secondary Plan;                                  will be used to determine how benefits will be coordinated.
• If you are a Dependent child whose parents are not divorced              Effect on the Benefits of This Plan
   or legally separated, the Primary Plan shall be the Plan                If this Plan is the Secondary Plan, this Plan may reduce
                                                                           benefits so that the total benefits paid by all Plans during a


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Claim Determination Period are not more than 100% of the                any reason and are covered under this Plan due to your
total of all Allowable Expenses.                                        retirement or termination of employment.
Recovery of Excess Benefits                                           • Disability: You, your spouse, or your covered Dependent
If Cigna pays Charges for benefits that should have been paid           qualify for Medicare due to a disability, you are an active
by the Primary Plan, or if Cigna pays Charges in excess of              Employee, and your Employer has fewer than 100
those for which we are obligated to provide under the Plan,             Employees.
Cigna will have the right to recover the actual payment made          • Age: You, your spouse, or your covered Dependent qualify
or the Reasonable Cash Value of any services.                           for Medicare due to age, you are an active Employee, and
Cigna will have sole discretion to seek such recovery from any          your Employer has fewer than 20 Employees.
person to, or for whom, or with respect to whom, such                 • End Stage Renal Disease (ESRD): You, your spouse, or
services were provided or such payments made by any                     your covered Dependent qualify for Medicare due to End
insurance company, healthcare Plan or other organization. If            Stage Renal Disease (ESRD) and you are an active or
we request, you must execute and deliver to us such                     retired Employee. This Plan will be the primary payer for
instruments and documents as we determine are necessary to              the first 30 months. Beginning with the 31 st month,
secure the right of recovery.                                           Medicare will be the primary payer.
Right to Receive and Release Information                              When This Plan is the Primary Payer
Cigna, without consent or notice to you, may obtain                   This Plan will be the primary payer and Medicare will be the
information from and release information to any other Plan            secondary payer in the following situations:
with respect to you in order to coordinate your benefits              • Disability: You, your spouse, or your covered Dependent
pursuant to this section. You must provide us with any                  qualify for Medicare due to a disability, you are an active
information we request in order to coordinate your benefits             Employee, and your Employer has 100 or more Employees.
pursuant to this section. This request may occur in connection
                                                                      • Age: You, your spouse, or your covered Dependent qualify
with a submitted claim; if so, you will be advised that the
"other coverage" information, (including an Explanation of              for Medicare due to age, you are an active Employee, and
Benefits paid under the Primary Plan) is required before the            your Employer has 20 or more Employees.
claim will be processed for payment. If no response is                • End Stage Renal Disease (ESRD): You, your spouse, or
received within 55 days of the request, the claim will be               your covered Dependent qualify for Medicare due to End
closed. If the requested information is subsequently received,          Stage Renal Disease (ESRD) and you are an active or
the claim will be processed.                                            retired Employee. This Plan is the primary payer for the first
Coordination of Benefits with Medicare                                  30 months. Beginning with the 31 st month, Medicare will be
                                                                        the primary payer.
If you, your spouse, or your Dependent are covered under this
Plan and qualify for Medicare, federal law determines which           Domestic Partners
Plan is the primary payer and which is the secondary payer.           Under federal law, when Medicare coverage is due to age,
The primary payer always determines covered benefits first,           Medicare is always the primary payer and this Plan is the
without considering what any other coverage will pay. The             secondary payer for a person covered under this Plan as a
secondary payer determines its coverage only after the                Domestic Partner. However, when Medicare coverage is due
Primary Plan has completed its determination.                         to disability, the Disability payer explanations above will
When Medicare is the Primary Payer                                    apply.
Medicare will be the primary payer and this Plan will be the          IMPORTANT: If you, your spouse, or your Dependent do
secondary payer, even if you don’t elect to enroll in Medicare        not elect to enroll in Medicare Parts A and/or B when first
or you receive services from a provider who does not accept           eligible, or you receive services from a provider who does
Medicare payments, in the following situations:                       not accept Medicare payments, this Plan will calculate
                                                                      payment based on what should have been paid by
• COBRA or State Continuation: You, your spouse, or your              Medicare as the primary payer if the person had been
   covered Dependent qualify for Medicare for any reason and          enrolled or had received services from a provider who
   are covered under this Plan due to COBRA or state                  accepts Medicare payments. A person is considered
   continuation of coverage.                                          eligible for Medicare on the earliest date any coverage
• Retirement or Termination of Employment: You, your                  under Medicare could become effective.
   spouse, or your covered Dependent qualify for Medicare for




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Failure to Enroll in Medicare                                              may be responsible or for which the participant may receive
If you, your spouse, or your Dependent do not enroll in                    payment as described above:
Medicare Parts A and/or B during the person’s initial                      • Subrogation: The Plan shall, to the extent permitted by law,
Medicare enrollment period, or the person opts out of                        be subrogated to all rights, claims or interests that a
coverage, the person may be subject to Medicare late                         participant may have against such party and shall
enrollment penalties, which can cause a delay in coverage and                automatically have a lien upon the proceeds of any recovery
result in higher Medicare premiums when the person does                      by a articipant from such party to the extent of any benefits
enroll. It can also result in a reduction in coverage under                  paid under the Plan. A participant or their representative
Medicare Parts A and B. If you are planning to retire or                     shall execute such documents as may be required to secure
terminate employment and you will be eligible for COBRA,                     the Plan’s subrogation rights.
state Continuation, or retiree coverage under this Plan, you               • Right of Reimbursement: The Plan is also granted a right of
should enroll in Medicare before you terminate employment to                 reimbursement from the proceeds of any recovery whether
avoid penalties and to receive the maximum coverage under                    by settlement, judgment, or otherwise. This right of
Medicare. Please consult Medicare or the Social Security                     reimbursement is cumulative with and not exclusive of the
Administration for more information.                                         subrogation right granted in paragraph 1, but only to the
Assistance with Medicare Questions                                           extent of the benefits provided by the Plan.
For more information on Medicare’s rules and regulations,                  Lien of the Plan
contact Medicare toll-free at 1-800-MEDICARE (1-800-633-                   By accepting benefits under this Plan, a participant:
4227) or at www.medicare.gov. You may also contact the
                                                                           • grants a lien and assigns to the Plan an amount equal to the
Social Security Administration toll-free at 1-800-772-1213, at
www.ssa.gov, or call your local Social Security                              benefits paid under the Plan against any recovery made by
Administration office.                                                       or on behalf of the participant which is binding on any
                                                                             attorney or other party who represents the participant
                                                                             whether or not an agent of the participant or of any
HC-COB272                                                     01-21          insurance company or other financially responsible party
                                                                             against whom a participant may have a claim provided said
                                                                             attorney, insurance carrier or other party has been notified
                                                                             by the Plan or its agents;
Expenses For Which A Third Party May
                                                                           • agrees that this lien shall constitute a Charge against the
Be Responsible                                                               proceeds of any recovery and the Plan shall be entitled to
This Plan does not cover:                                                    assert a security interest thereon;
• Expenses incurred by you or your Dependent (hereinafter                  • agrees to hold the proceeds of any recovery in trust for the
   individually and collectively referred to as a "participant,"in           benefit of the Plan to the extent of any payment made by the
   this section) for which another party may be responsible as               Plan.
   a result of having caused or contributed to an Injury or                Additional Terms
   Sickness.
                                                                           • No adult participant hereunder may assign any rights that it
• Expenses incurred by a participant to the extent any                       may have to recover medical expenses from any third party
   payment is received for them either directly or indirectly                or other person or entity to any minor Dependent of said
   from a third party tortfeasor or as a result of a settlement,             adult participant without the prior express written consent of
   judgment or arbitration award in connection with any                      the Plan. The Plan’s right to recover shall apply to
   automobile medical, automobile no-fault, uninsured or                     decedents’, minors’, and incompetent or disabled persons’
   underinsured motorist, homeowners, workers'                               settlements or recoveries.
   compensation, government insurance (other than Medicaid),
                                                                           • No participant shall make any settlement, which specifically
   or similar type of insurance or coverage. The coverage
   under this Plan is secondary to any automobile no-fault                   reduces or excludes, or attempts to reduce or exclude, the
   insurance or similar coverage.                                            benefits provided by the Plan.
                                                                           • The Plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement
                                                                             proceeds recovered by the participant. This right of recovery
If a participant incurs a Covered Expense for which, in the                  shall not be defeated nor reduced by the application of any
opinion of the Plan or its claim administrator, another party                so-called “Made-Whole Doctrine”, “Rimes Doctrine”, or
                                                                             any other such doctrine purporting to defeat the Plan’s



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  recovery rights by allocating the proceeds exclusively to                 Payment of Benefits
  non-medical expense damages.
                                                                            Assignment and Payment of Benefits
• No participant hereunder shall incur any expenses on behalf
  of the Plan in pursuit of the Plan’s rights hereunder,                    You may not assign to any party, including, but not limited to,
  specifically; no court costs, attorneys' fees or other                    a provider of healthcare services/items, your right to benefits
  representatives' fees may be deducted from the Plan’s                     under this Plan, nor may you assign any administrative,
  recovery without the prior express written consent of the                 statutory, or legal rights or causes of action you may have
  Plan. This right shall not be defeated by any so-called “Fund             under ERISA, including, but not limited to, any right to make
  Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                    a claim for Plan benefits, to request Plan or other documents,
  Doctrine”.                                                                to file appeals of denied claims or grievances, or to file
                                                                            lawsuits under ERISA. Benefits of the Plan are available only
• The Plan shall recover the full amount of benefits provided
                                                                            to you and your Dependants. Any attempt to assign such rights
  hereunder without regard to any claim of fault on the part of
                                                                            shall be void and unenforceable under all circumstances.
  any participant, whether under comparative negligence or
  otherwise.                                                                You may, however, authorize Cigna to pay any healthcare
                                                                            benefits under this Plan to a Participating or non-Participating
• The Plan is entitled to full revocery regardless of whether
                                                                            Provider. When you authorize the payment of your healthcare
  any of the settlement or judgment purports to allocate any                benefits to a Participating or non-Participating Provider, you
  portion of such settlement or judgment to payment of                      authorize the payment of the entire amount of the benefits due
  expenses other than medical expenses                                      on that claim. If a provider is overpaid because of accepting
• The Plan hereby disavows all equitable defenses in pursuit                duplicate payments from you and Cigna, it is the provider’s
  of its right of recovery. The Plan’s subrogation or recovery              responsibility to reimburse the overpayment to you. Cigna
  rights are neither affected nor diminished by equitable                   may pay all healthcare benefits for Covered Expenses directly
  defenses.                                                                 to a Participating Provider without your authorization. You
• In the event that a participant shall fail or refuse to honor its         may not interpret or rely upon this discrete authorization or
  obligations hereunder, then the Plan shall be entitled to                 permission to pay any healthcare benefits to a Participating or
  recover any costs incurred in enforcing the terms hereof                  non-Participating Provider as the authority to assign any other
  including, but not limited to, attorney’s fees, litigation, court         rights under this Plan to any party, including, but not limited
  costs, and other expenses. The Plan shall also be entitled to             to, a provider of healthcare services/items. Health care
  offset the reimbursement obligation against any entitlement               providers are not, and shall not be construed as either
  to future medical benefits hereunder until the participant has            “participants” or “beneficiaries” under this Plan and have no
  fully complied with their reimbursement obligations                       rights to receive benefits from the Plan under any
  hereunder, regardless of how those future medical benefits                circumstances.
  are incurred.                                                             Even if the payment of healthcare benefits to a non-
• Any reference to state law in any other provision of this                 Participating Provider has been authorized by you, Cigna may,
  Plan shall not be applicable to this provision, if the Plan is            at its option, make payment of benefits to you. When benefits
  governed by ERISA. By acceptance of benefits under the                    are paid to you or your Dependent, you or your Dependents
  Plan, the participant agrees that a breach hereof would cause             are responsible for reimbursing the non-Participating Provider.
  irreparable and substantial harm and that no adequate                     If any person to whom benefits are payable is a minor or, in
  remedy at law would exist. Further, the Plan shall be                     the opinion of Cigna is not able to give a valid receipt for any
  entitled to invoke such equitable remedies as may be                      payment due to them, such payment will be made to their legal
  necessary to enforce the terms of the Plan, including, but                guardian. If no request for payment has been made by their
  not limited to, specific performance, restitution, the                    legal guardian, Cigna may, at its option, make payment to the
  imposition of an equitable lien and/or constructive trust, as             person or institution appearing to have assumed their custody
  well as injunctive relief.                                                and support.
• Participants must assist the Plan in pursuing any                         When one of our participants passes away, Cigna may receive
  subrogation or recovery rights by providing requested                     notice that an executor of the estate has been established. The
  information.                                                              executor has the same rights as our insured and benefit
                                                                            payments for unassigned claims should be made payable to the
                                                                            executor.
HC-SUB128                                                      03-20
                                                                            Payment as described above will release Cigna from all
                                                                            liability to the extent of any payment made.



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Recovery of Overpayment                                                  Leave of Absence
When an overpayment has been made by Cigna, Cigna will                   Coverage will continue on a leave in accordance with the
have the right at any time to: recover that overpayment from             FMLA and/or applicable state law, Amazon’s short term
the person to whom or on whose behalf it was made; or offset             disability program, and Amazon’s leave of absence programs,
the amount of that overpayment from a future claim payment               as they may be amended from time to time. Contact Amazon
for Participating Providers. In addition, your acceptance of
                                                                         at https://atoz.amazon.work/myhr for additional information..
benefits under this Plan creates an equitable lien by agreement
pursuant to which Cigna may seek recovery of any
overpayment. You agree that Cigna, in seeking recovery of                HC-TRM128                                                    12-17
any overpayment as a contractual right or as an equitable lien
by agreement, may pursue the general assets of the person or
entity to whom or on whose behalf the overpayment was
                                                                         Rescissions
made.
                                                                         Your coverage may not be rescinded (retroactively terminated)
Calculation of Covered Expenses                                          by Cigna or the plan sponsor unless the plan sponsor or an
Cigna, in its discretion, will calculate Covered Expenses                individual (or a person seeking coverage on behalf of the
following evaluation and validation of all provider billings in          individual) performs an act, practice or omission that
accordance with:                                                         constitutes fraud; or the plan sponsor or individual (or a
• the methodologies in the most recent edition of the Current            person seeking coverage on behalf of the individual) makes an
  Procedural Terminology.                                                intentional misrepresentation of material fact.
• the methodologies as reported by generally recognized
  professionals or publications.                                         HC-TRM80                                                     01-11



HC-POB132                                                   01-19

                                                                         Federal Requirements
                                                                         The following pages explain your rights and responsibilities
Termination of Coverage                                                  under federal laws and regulations. Some states may have
                                                                         similar requirements. If a similar provision appears elsewhere
Events that End Coverage                                                 in this SPD, the provision which provides the better benefit
                                                                         will apply.
Your coverage will cease without notice, except as specified
later in this SPD ,on the first day of the month in which one of
these events occurs:                                                     HC-FED1                                                      10-10

• for you and your Dependents when your employment is
   terminated, you die (subject to three months of additional no
   cost coverage for Dependents enrolled when the participant            Notice of Provider Directory/Networks
   dies) or you are otherwise no longer eligible.                        Notice Regarding Provider Directories and Provider
• for a Dependent spouse when their marriage to you is                   Networks
   annulled, or when you become legally separated or divorced            A list of network providers (Participating Providers) is
   for your Depdendent Domestic Partner when your domestic               available to you without Charge by visiting the website or by
   partnership is terminated.                                            calling the phone number on your ID card. The network
• for a Dependent child when they no longer meet the                     consists of providers, including Hospitals, of varied specialties
   requirements for Dependent coverage.                                  as well as general practice, affiliated or contracted with Cigna
• For you and your Depdendents if you fail to make required              or an organization contracting on its behalf.
   contributions or monthly payments.
the date the Plan is amended to no longer provide a particular           HC-FED78                                                     10-10
benefit or is terminated.Any continuation of coverage must be
based on a Plan which precludes individual selection.




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Qualified Medical Child Support Order                                     be covered under the same option. The special enrollment
(QMCSO)                                                                   events include:
                                                                          • Acquiring a new Dependent. If you acquire a new
Eligibility for Coverage Under a QMCSO
                                                                            Dependentthrough marriage, birth, adoption or placement
If a Qualified Medical Child Support Order (QMCSO) is                       for adoption, you may request special enrollment within 60
issued for your child, that child will be eligible for Dependent            days. These are not HIPAA special enrollment events, but
coverage as required by the order.                                          eligible Employees may add a child with coverage effective
You must notify your Employer and elect coverage for that                   the date they are granted legal guardianship or a foster child
child, and yourself if you are not already enrolled, within 31              with coverage effective the first of the month after
days of the QMCSO being issued.                                             placement.
Qualified Medical Child Support Order Defined                             • Loss of eligibility for State Medicaid or Children’s

The Plan extends medical benefits to an Employee’s non-                     Health Insurance Program (CHIP). If you and/or your
custodial child, as required by any qualified medical child                 Dependent(s) were covered under a state Medicaid or CHIP
support order (“QMCSO”) as defined in ERISA Section                         plan and the coverage is terminated due to a loss of
609(a). The Plan has procedures for determining whether an                  eligibility, you may request special enrollment for yourself
order or National Medical Support Notice qualifies as a                     and any affected Dependent(s) who are not already enrolled
QMCSO. Participants and beneficiaries can obtain, without                   in the Plan. You must request enrollment within 60 days
Charge, a copy of such procedures by calling the Employee                   after termination of Medicaid or CHIP coverage.
Resource Center at 1-888-892.7180.                                        • Loss of eligibility for other coverage (excluding
The QMCSO may not require the Plan to provide coverage for                  continuation coverage). If coverage was declined under
any type or form of benefit or option not otherwise provided                this Plan due to coverage under another plan, and eligibility
under the Plan.                                                             for the other coverage is lost, you and all of your eligible
                                                                            Dependent(s) may request special enrollment in this Plan
Payment of Benefits                                                         within 60 days. This provision applies to loss of eligibility
Any payment of benefits in reimbursement for Covered                        as a result of any of the following:
Expenses paid by the child, or the child’s custodial parent or              • divorce or legal separation;
legal guardian, shall be made to the child, the child’s custodial
parent or legal guardian, or a state official whose name and                • cessation of Dependent status (such as reaching the

address have been substituted for the name and address of the                 limiting age);
child.                                                                      • death of the Employee;
                                                                            • termination of employment;
HC-FED4                                                      10-10          • reduction in work hours to below the minimum required
                                                                              for eligibility;
                                                                            • you or your Dependent(s) no longer reside, live or work
Special Enrollment Rights Under the Health                                    in the other plan’s network service area and no other
Insurance Portability & Accountability Act                                    coverage is available under the other plan;
(HIPAA)                                                                     • termination of Employer contributions toward such
                                                                              coverage;
If you or your eligible Dependent(s) experience a special
enrollment event as described below, you or your eligible                   • you and/or your Dependent were covered under COBRA
Dependent(s) may be entitled to enroll in the Plan outside of a               at the time coverage under the Plan was previously
designated enrollment period upon the occurrence of one of                    offered and COBRA coverage has been exhausted; or
the special enrollment events listed below. If you are already              • the other plan no longer offers any benefits to a class of
enrolled in the Plan, you may request enrollment for you and                  similarly situated individuals.
your eligible Dependent(s) under a different option offered by            • Eligibility for employment assistance under State
the Employer for which you are currently eligible. If you are               Medicaid or Children’s Health Insurance Program
not already enrolled in the Plan, you must request special                  (CHIP). If you and/or your Dependent(s) become eligible
enrollment for yourself in addition to your eligible                        for assistance with group health plan premium payments
Dependent(s). You and all of your eligible Dependent(s) must                under a state Medicaid or CHIP plan, you may request
                                                                            special enrollment for yourself and any affected
                                                                            Dependent(s) who are not already enrolled in the Plan. You


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  must request enrollment within 60 days after the date you                 including under the Family and Medical Leave Act
  are determined to be eligible for assistance.                             (FMLA), or change in worksite;
Special enrollment must be requested within 60 days after                • changes in employment status of Employee, spouse or
the occurrence of the special enrollment event. If the                      Dependent resulting in eligibility or ineligibility for
special enrollment event is the birth or adoption of a                      coverage;
Dependent child, coverage will be effective immediately on               • change in residence of Employee, spouse or Dependent to a
the date of birth, adoption or placement for adoption.                      location outside of the Employer’s network service area;
Coverage with regard to any other special enrollment                        and
event will be effective no later than the first day of the first
                                                                         • changes which cause a Dependent to become eligible or
calendar month following receipt of the request for special
enrollment.                                                                 ineligible for coverage.
Domestic Partners and their children (if not legal children of           Where applicable, the changes you make to your coverage
                                                                            must be consistent with and "on account of and
the Employee) are not eligible for special enrollment.
                                                                            correspond with" the change in status event. For
                                                                            example, if your child no longer is eligible for medical
HC-FED96                                                    04-17           benefits, you may cancel medical coverage only for that
                                                                            child, not yourself or your spouse or other Dependent.
                                                                         C. Judgment, Decree or Court order
                                                                         A change in coverage due to and consistent with a judgment,
                                                                         decree, or court order (such as a QMCSO) of the Employee or
Effect of Section 125 Tax Regulations on This                            other person to cover a Dependent.
Plan                                                                     D. Medicare or Medicaid eligibility/entitlement
Your Employer has chosen to administer this Plan in                      The Employee, spouse or Dependent cancels or reduces
accordance with Section 125 regulations of the Internal                  coverage due to entitlement to Medicare or Medicaid, or
Revenue Code. Per this regulation, you may agree to a pretax             enrolls or increases coverage due to loss of Medicare or
salary reduction put toward the cost of your benefits.                   Medicaid eligibility.
Otherwise, you will receive your taxable earnings as cash                E. Change in cost of coverage
(salary).                                                                If the cost of benefits increases or decreases during a benefit
A. Coverage elections                                                    period, your Employer may, in accordance with Plan terms,
Per Section 125 regulations, you are generally allowed to                automatically change your elective contribution.
enroll for or a change in coverage only before each annual               When the change in cost is significant, you may either
benefit period. However, exceptions are allowed:                         increase your contribution or elect less-costly coverage. When
• if you meet Special Enrollment criteria and enroll as
                                                                         a significant overall reduction is made to the benefit option
  described in the Special Enrollment section; or                        you have elected, you may elect another available benefit
                                                                         option. When a new benefit option is added, you may change
• if you meet the criteria shown in the following Sections B
                                                                         your election to the new benefit option.
  through H, you may change your election mid year by
  notifying Amazon at https://atoz.amazon.work/myhr within               F. Changes in coverage of spouse or Dependent under
  60 days .                                                              another employer’s plan
B. Change of status                                                      You may make a coverage election change if the plan of your
                                                                         spouse or Dependent: incurs a change such as adding or
A change in status is defined as:                                        deleting a benefit option; allows election changes due to
• change in legal marital status due to marriage, death of a             Special Enrollment, Change in Status, Court Order or
  spouse, divorce, annulment or legal separation;                        Medicare or Medicaid Eligibility/Entitlement; or this Plan and
• change in number of Dependents due to birth, adoption,                 the other plan have different periods of coverage or open
  placement for adoption, or death of a Dependent;                       enrollment periods.
• change in employment status of Employee, spouse or                     G. Reduction in work hours
  Dependent due to termination or start of employment,                   If you were reasonably expected to average 30 hours of
  strike, lockout, beginning or end of unpaid leave of absence,          service or more per week and your work hours are reduced




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such that you are reasonably expected to average less than 30            Women’s Health and Cancer Rights Act
hours of service per week.                                               (WHCRA)
H. Health Insurance Marketplace Eligibility                              Do you know that your Plan, as required by the Women’s
If you are enrolled in this Plan and become eligible to enroll           Health and Cancer Rights Act of 1998, provides benefits for
for coverage through the Marketplace’s special or annual                 mastectomy-related services including all stages of
enrollment period.                                                       reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member
HC-FED112                                                   01-23
                                                                         Services/Customer Service at the toll free number listed on
                                                                         your ID card for more information.

Eligibility for Coverage for Adopted Children
                                                                         HC-FED12                                                   10-10
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Coverage, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for             Group Plan Coverage Instead of Medicaid
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
If a child placed for adoption is not adopted, all health                premiums for this coverage instead of for Medicaid, if it is
coverage ceases when the placement ends, and will not be                 cost effective. This includes premiums for continuation
continued.                                                               coverage required by federal law.
The provisions in the “Exception for Newborns” section of
this SPD that describe requirements for enrollment and                   HC-FED13                                                   10-10
effective date of coverage will also apply to an adopted child
or a child placed with you for adoption.

HC-FED67                                                    09-14
                                                                         Uniformed Services Employment and Re-
                                                                         Employment Rights Act of 1994 (USERRA)
                                                                         The Uniformed Services Employment And Reemployment
Coverage for Maternity Hospital Stay                                     Rights Act (USERRA) protects the job rights, including
Group health plans generally may not, under a federal law                enrollment rights for Employer-provided health care coverage,
known as the “Newborns’ and Mothers’ Health Protection                   of individuals who voluntarily or involuntarily leave
Act”: restrict benefits for any Hospital length of stay in               employment positions to undertake military service. If you
connection with childbirth for the mother or newborn child to            leave your job to perform military service, you have the right
less than 48 hours following a vaginal delivery, or less than 96         to elect to continue existing employer-based health plan
hours following a cesarean section; or require that a provider           coverage for you and your Dependents for up to 24 months
obtain authorization from the Plan for prescribing a length of           while in the military. Even if you don't elect to continue
stay not in excess of the above periods. The law generally               coverage during your military service, you have the right to be
does not prohibit an attending provider of the mother or                 reinstated in your Employer's health plan when you are re-
newborn, in consultation with the mother, from discharging               employed, generally without any exclusions except for
the mother or newborn earlier than 48 or 96 hours, as                    service-connected Illnesses or injuries.
applicable.                                                              Contact Amazon’s Employee Resource Center at 1-888-
Please review this Plan for further details on the specific              892-7180 Monday through Friday, between 8 a.m. and 11
coverage available to you and your Dependents.                           p.m. (Eastern Standard Time) for information on USERRA
                                                                         rights and requirements. An online guide to USERRA can be
                                                                         viewed at webapps.dol.gov/elaws/vets/userra/.
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                                                                         HC-FED18AMZ                                                10-10




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Claim Determination Procedures under ERISA                              If the determination periods above would seriously jeopardize
                                                                        your life or health, your ability to regain maximum function,
The following complies with federal law.                                or in the opinion of a health care professional with knowledge
Procedures Regarding Medical Necessity Determinations                   of your health condition, cause you severe pain which cannot
In general, health services and benefits must be Medically              be managed without the requested services, Cigna will make
Necessary to be covered under the Plan. The procedures for              the preservice determination on an expedited basis. Cigna will
determining Medical Necessity vary, according to the type of            defer to the determination of the treating health care
service or benefit requested, and the type of health plan.              professional regarding whether an expedited determination is
Medical Necessity determinations are made on a preservice,              necessary. Cigna will notify you or your representative of an
concurrent, or postservice basis, as described below:                   expedited determination within 72 hours after receiving the
Certain services require prior authorization in order to be             request.
covered. The SPD describes who is responsible for obtaining             However, if necessary information is missing from the
this review. You or your authorized representative (typically,          request, Cigna will notify you or your representative within 24
your health care professional) must request prior authorization         hours after receiving the request to specify what information is
according to the procedures described below, in the SPD, and            needed. You or your representative must provide the specified
in your provider’s network participation documents as                   information to Cigna within 48 hours after receiving the
applicable.                                                             notice. Cigna will notify you or your representative of the
                                                                        expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,
you or your representative will receive a written description of        your representative responds to the notice. Expedited
the adverse determination, and may appeal the determination.            determinations may be provided orally, followed within 3 days
Appeal procedures are described in the SPD, in your                     by written or electronic notification.
provider’s network participation documents as applicable, and           If you or your representative attempts to request a preservice
in the determination notices.                                           determination, but fails to follow Cigna’s procedures for
                                                                        requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of
Cigna or its designee that indicates, for example, a particular         notify you or your representative of the failure and describe
service is a Covered Expense, is authorized for coverage by             the proper procedures for filing within 5 days (or 24 hours, if
                                                                        an expedited determination is required, as described above)
the Plan, or that you are eligible for coverage is not a
                                                                        after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this
Plan. Cigna will make a benefit determination after a claim is          unless you or your representative requests written notification.
received from you or your authorized representative, and the            Concurrent Determinations
benefit determination will be based on, your eligibility as of          When an ongoing course of treatment has been approved for
the date services were rendered to you and the terms and                you and you wish to extend the approval, you or your
conditions of the Plan in effect as of the date services were           representative must request a required concurrent coverage
rendered to you.                                                        determination at least 24 hours prior to the expiration of the
Preservice Determinations                                               approved period of time or number of treatments. When you
                                                                        or your representative requests such a determination, Cigna
When you or your representative requests a required prior
authorization, Cigna will notify you or your representative of          will notify you or your representative of the determination
the determination within 15 days after receiving the request.           within 24 hours after receiving the request.
However, if more time is needed due to matters beyond                   Postservice Determinations
Cigna’s control, Cigna will notify you or your representative           When you or your representative requests a coverage
within 15 days after receiving your request. This notice will           determination or a claim payment determination after services
include the date a determination can be expected, which will            have been rendered, Cigna will notify you or your
be no more than 30 days after receipt of the request. If more           representative of the determination within 30 days after
time is needed because necessary information is missing from            receiving the request. However, if more time is needed to
the request, the notice will also specify what information is           make a determination due to matters beyond Cigna’s control,
needed, and you or your representative must provide the                 Cigna will notify you or your representative within 30 days
specified information to Cigna within 45 days after receiving           after receiving the request. This notice will include the date a
the notice. The determination period will be suspended on the           determination can be expected, which will be no more than 45
date Cigna sends such a notice of missing information, and the          days after receipt of the request.
determination period will resume on the date you or your
                                                                        If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what


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information is needed, and you or your representative must              Cigna reserves the right to refuse to honor the appointment of
provide the specified information to Cigna within 45 days               a representative if Cigna reasonably determines that:
after receiving the notice. The determination period will be            • the signature on an authorized representative form may not
suspended on the date Cigna sends such a notice of missing                 be yours, or
information, and the determination period will resume on the
                                                                        • the authorized representative may not have disclosed to you
date you or your representative responds to the notice.
                                                                           all of the relevant facts and circumstances relating to the
Notice of Adverse Determination                                            overpayment or underpayment of any claim, including, for
Every notice of an adverse benefit determination will be                   example, that the billing practices of the provider of medical
provided in writing or electronically, and will include all of             services may have jeopardized your coverage through the
the following that pertain to the determination: information               waiver of the cost-sharing amounts that you are required to
sufficient to identify the claim including, if applicable, the             pay under your Plan.
date of service, provider and claim amount; diagnosis and               If your designation of an authorized representative is revoked,
treatment codes, and their meanings; the specific reason or             or Cigna does not honor your designation, you may appoint a
reasons for the adverse determination including, if applicable,         new authorized representative at any time, in writing, using a
the denial code and its meaning and a description of any                form approved by Cigna.
standard that was used in the denial; reference to the specific
Plan provisions on which the determination is based; a
description of any additional material or information necessary         HC-FED88                                                     01-17

to perfect the claim and an explanation of why such material
or information is necessary; a description of the Plan’s review
procedures and the time limits applicable, including a                  Medical - When You Have a Complaint or an
statement of a claimant’s rights to bring a civil action under
section 502(a) of ERISA following an adverse benefit                    Appeal
determination on appeal, (if applicable); upon request and free         For the purposes of this section, any reference to "you" or
of Charge, a copy of any internal rule, guideline, protocol or          "your" also refers to a representative or provider designated by
other similar criterion that was relied upon in making the              you to act on your behalf; unless otherwise noted.
adverse determination regarding your claim; and an                      We want you to be completely satisfied with the services you
explanation of the scientific or clinical judgment for a                receive. That is why we have established a process for
determination that is based on a Medical Necessity,                     addressing your concerns and solving your problems.
experimental treatment or other similar exclusion or limit; a
description of any available internal appeal and/or external            Start With Customer Service
review process(es); and in the case of a claim involving                We are here to listen and help. If you have a concern
Urgent Care, a description of the expedited review process              regarding a person, a service, the quality of care, contractual
applicable to such claim.                                               benefits, or a rescission of coverage, you may call the toll-
                                                                        free number on your ID card, explanation of benefits, or
                                                                        claim form and explain your concern to one of our Customer
HC-FED104                                                  01-19        Service representatives. You may also express that concern
                                                                        in writing.
                                                                        We will do our best to resolve the matter on your initial
Appointment of Authorized Representative                                contact. If we need more time to review or investigate your
You may appoint an authorized representative to assist you in           concern, we will get back to you as soon as possible, but in
submitting a claim or appealing a claim denial. However,                any case within 30 days. If you are not satisfied with the
Cigna may require you to designate your authorized                      results of a coverage decision, you may start the appeals
representative in writing using a form approved by Cigna. At            procedure.
all times, the appointment of an authorized representative is           Internal Appeals Procedure
revocable by you. To ensure that a prior appointment remains            To initiate an appeal of an adverse benefit determination, you
valid, Cigna may require you to re-appoint your authorized              must submit a request for an appeal to Cigna within 180 days
representative, from time to time.                                      of receipt of a denial notice. If you appeal a reduction or
                                                                        termination in coverage for an ongoing course of treatment
                                                                        that Cigna previously approved, you will receive, as required




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by applicable law, continued coverage pending the outcome of           You may also request that your appeal be referred to an IRO
an appeal.                                                             for decisions related to the Plan’s compliance with protections
You should state the reason why you feel your appeal should            established by the No Surprises Act (NSA), such as:
be approved and include any information supporting your                • Cost-sharing and surprise billing for Emergency Services;
appeal. If you are unable or choose not to write, you may ask          • Cost-sharing and surprise billing protections related to care
Cigna to register your appeal by telephone. Call or write us at        you received from non-Participating Providers at participating
the toll-free number on your ID card, explanation of benefits,         facilities;
or claim form.
                                                                       • Your condition to receive notice and provide informed
Your appeal will be reviewed and the decision made by                  consent to waive NSA protections; and
someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will           • If a claim for care received is coded correctly and accurately
be considered by a health care professional.                           reflects the treatments received, and the associated NSA
                                                                       protections related to patient cost-sharing and surprise billing.
We will respond in writing with a decision within 30 calendar
days after we receive an appeal for a required preservice or           The IRO is composed of persons who are not employed by
concurrent care coverage determination or a postservice                Cigna, or any of its affiliates. A decision to request an external
Medical Necessity determination. We will respond within 60             review be referred to an IRO will not affect the claimant's
calendar days after we receive an appeal for any other                 rights to any other benefits under the Plan.
postservice coverage determination. If more time or                    There is no Charge for you to initiate an external review.
information is needed to make the determination, we will               Cigna and your benefit plan will abide by the decision of the
notify you in writing to request an extension of up to 15              IRO.
calendar days and to specify any additional information                To request a review, you must notify the Appeals Coordinator
needed to complete the review.                                         within 4 months of your receipt of Cigna's appeal review
In the event any new or additional information (evidence) is           denial. Cigna will then forward the file to a randomly selected
considered, relied upon or generated by Cigna in connection            IRO. The IRO will render an opinion within 45 days.
with the appeal, this information will be provided                     When requested, and if a delay would be detrimental to your
automatically to you as soon as possible and sufficiently in           medical condition, as determined by Cigna's reviewer, or if
advance of the decision, so that you will have an opportunity          your appeal concerns an admission, availability of care,
to respond. Also, if any new or additional rationale is                continued stay, or health care item or service for which you
considered by Cigna, Cigna will provide the rationale to you           received Emergency Services, but you have not yet been
as soon as possible and sufficiently in advance of the decision        discharged from a facility, the external review shall be
so that you will have an opportunity to respond.                       completed within 72 hours.
You may request that the appeal process be expedited if the            Notice of Benefit Determination on Appeal
time frames under this process would seriously jeopardize
your life, health or ability to regain maximum functionality or        Every notice of a determination on appeal will be provided in
in the opinion of your health care provider would cause you            writing or electronically and, if an adverse determination, will
severe pain which cannot be managed without the requested              include: information sufficient to identify the claim including,
                                                                       if applicable, the date of service, provider and claim amount;
services.
                                                                       diagnosis and treatment codes, and their meanings; the
If you request that your appeal be expedited, you may also ask         specific reason or reasons for the adverse determination
for an expedited external Independent Review at the same               including, if applicable, the denial code and its meaning and a
time, if the time to complete an expedited appeal would be             description of any standard that was used in the denial;
detrimental to your medical condition.                                 reference to the specific Plan provisions on which the
When an appeal is expedited, Cigna will respond orally with a          determination is based; a statement that the claimant is entitled
decision within 72 hours, followed up in writing.                      to receive, upon request and free of Charge, reasonable access
External Review Procedure                                              to and copies of all documents, records, and other Relevant
                                                                       Information as defined below; a statement describing any
If you are not satisfied with the decision of Cigna's internal         voluntary appeal procedures offered by the Plan and the
appeal review and the appeal involves medical judgment or a            claimant's right to bring an action under ERISA section
rescission of coverage, you may request that your appeal be            502(a), if applicable; upon request and free of Charge, a copy
referred to an Independent Review Organization (IRO).                  of any internal rule, guideline, protocol or other similar
                                                                       criterion that was relied upon in making the adverse
                                                                       determination regarding your appeal, and an explanation of the


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scientific or clinical judgment for a determination that is based         COBRA Continuation Rights Under Federal
on a Medical Necessity, experimental treatment or other                   Law
similar exclusion or limit. A final notice of an adverse
determination will include a discussion of the decision.                  For You and Your Dependents
You also have the right to bring a civil action under section             What is COBRA Continuation Coverage?
502(a) of ERISA if you are not satisfied with the decision on             Under federal law, you and/or your Dependents must be given
review. You or your Plan may have other voluntary alternative             the opportunity to continue health coverage when there is a
dispute resolution options such as Mediation. One way to find             “qualifying event” that would result in loss of coverage under
out what may be available is to contact your local U.S.                   the Plan. You and/or your Dependents will be permitted to
Department of Labor office and your State insurance                       continue the same coverage under which you or your
regulatory agency. You may also contact the Plan                          Dependents were covered on the day before the qualifying
Administrator.                                                            event occurred, You and/or your Dependents cannot change
Relevant Information                                                      coverage options until the next open enrollment period.You
                                                                          and your Dependents are eligible to continue health care
Relevant Information is any document, record or other                     flexible spending account (“health care fsa”) coverage through
information which: was relied upon in making the benefit                  COBRA if the maximum benefit available under the health
determination; was submitted, considered or generated in the              care fsa for the year as of the date of the qualifying event
course of making the benefit determination, without regard to             equals or exceeds the COBRA premium that applies for
whether such document, record, or other information was                   coverage for the remainder of the Plan Year. If you elect
relied upon in making the benefit determination; demonstrates             COBRA, your health care fsa coverage will continue only
compliance with the administrative processes and safeguards               through the end of the Plan Year in which your COBRA
required by federal law in making the benefit determination;              qualifying event occurred (plus the grace period). In addition,
or constitutes a statement of policy or guidance with respect to          you must make your monthly contributions to the health care
the Plan concerning the denied treatment option or benefit for            fsa on an after-tax basis. In all other respects, your health care
the claimant's diagnosis, without regard to whether such                  fsa will operate the same as when you were an active
advice or statement was relied upon in making the benefit                 Employee, except that you may be required to pay an
determination.                                                            additional two percent for administration costs.
Legal Action
This Plan is governed by ERISA, so you have the right to
                                                                          When is COBRA Continuation Available?
bring a civil action under section 502(a) of ERISA if you are
not satisfied with the outcome of the claims and appeals                  For you and your Dependents, COBRA continuation is
process. In most instances, you may not initiate a legal action           available for up to 18 months from the date of the following
against the Plan, Group Health and Welfare Plan, Plan                     qualifying events if the event would result in a loss of
Administrator, Amazon (and its affiliates, Employees or                   coverage under the Plan:
agents), and Cigna until you have completed/exhausted the                 • your termination of employment for any reason, other than
claims and appeal procedures described in this SPD. The legal               gross misconduct; or
action must be brought within 180 days of the date the rights             • your reduction in work hours.
or benefits claimed under the Plan were denied in writing, or
of the completion date of the independent review process if               For your Dependents, COBRA continuation coverage is
applicable.. However, no action will be brought at all unless             available for up to 36 months from the date of the following
brought within 3 years after a claim is submitted for In-                 qualifying events if the event would result in a loss of
Network Services.                                                         coverage under the Plan:
                                                                          • your death;

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                                                                          • your divorce or legal separation; or
                                                                          • for a Dependent child, failure to continue to qualify as a
                                                                            Dependent under the Plan.
                                                                          Who is Entitled to COBRA Continuation?
                                                                          Only a “qualified beneficiary” (as defined by federal law)
                                                                          must be able to elect to continue health coverage. A qualified
                                                                          beneficiary may include the following individuals who were
                                                                          covered by the Plan on the day the qualifying event occurred:



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you, your spouse, and your Dependent children. Each                    days after the date the final determination is made by SSA.
qualified beneficiary has their own right to elect or decline          The 11-month disability extension will terminate for all
COBRA continuation coverage even if you decline or are not             participants on the first day of the month that is more than 30
eligible for COBRA continuation.                                       days after the date the SSA makes a final determination that
While the IRS does not define Domestic Partners and all of the         the disabled individual is no longer disabled.
dependents covered under this Plan as qualified beneficiaries,         All causes for “Termination of COBRA Continuation” listed
Amazon extends COBRA coverage to your Domestic Partner                 below will also apply to the period of disability extension.
and other Dependents covered under the Plan. .                         Medicare Extension for Your Dependents
Secondary Qualifying Events                                            When the qualifying event is your termination of employment
If, as a result of your termination of employment or reduction         or reduction in work hours and you became enrolled in
in work hours, your Dependent(s) have elected COBRA                    Medicare (Part A, Part B or both) within the 18 months before
continuation coverage and one or more Dependents experience            the qualifying event, COBRA continuation coverage for your
another COBRA qualifying event, the affected Dependent(s)              Dependents will last for up to 36 months after the date you
may elect to extend their COBRA continuation coverage for              became enrolled in Medicare. Your COBRA continuation
an additional 18 months (7 months if the secondary event               coverage will last for up to 18 months from the date of your
occurs within the disability extension period) for a maximum           termination of employment or reduction in work hours.
of 36 months from the initial qualifying event. The second             Termination of COBRA Continuation
qualifying event must occur before the end of the initial 18
months of COBRA continuation coverage or within the                    COBRA continuation coverage will be terminated upon the
disability extension period discussed below. Under no                  occurrence of any of the following:
circumstances will COBRA continuation coverage be                      • the end of the COBRA continuation period of 18, 29 or 36
available for more than 36 months from the initial qualifying             months, as applicable;
event. Secondary qualifying events are: your death; your               • failure to pay the required premium within 30 calendar days
divorce or legal separation; or, for a Dependent child, failure           after the due date;
to continue to qualify as a Dependent under the Plan.
                                                                       • after electing COBRA continuation coverage, a qualified
Disability Extension                                                      beneficiary enrolls in Medicare (Part A, Part B, or both);
If, after electing COBRA continuation coverage due to your             • after electing COBRA continuation coverage, a qualified
termination of employment or reduction in work hours, you or              beneficiary becomes covered under another group health
one of your Dependents is determined by the Social Security               plan;
Administration (SSA) to be totally disabled under Title II or
                                                                       • any reason the Plan would terminate coverage of a
XVI of the SSA, you and all of your Dependents who have
                                                                          participant or beneficiary who is not receiving continuation
elected COBRA continuation coverage may extend such
continuation for an additional 11 months, for a maximum of                coverage (e.g., fraud).
29 months from the initial qualifying event.                           Moving Out of Employer’s Service Area or Elimination of
To qualify for the disability extension, all of the following          a Service Area
requirements must be satisfied:                                        If you and/or your Dependents move out of the Employer’s
                                                                       service area or the Employer eliminates a service area in your
• SSA must determine that the disability occurred prior to or
                                                                       location, your COBRA continuation coverage under the Plan
   within 60 days after the disabled individual elected COBRA
                                                                       will be limited to Emergency Services only. You may elect
   continuation coverage; and
                                                                       COBRA continuation coverage under another plan option
• A copy of the written SSA determination must be provided
   to the Plan Administrator within 60 calendar days after the         and should contact the Benefits Service Center at 1-877-292-
   date the SSA determination is made AND before the end of            6272 for more information.
   the initial 18-month continuation period. Please Note:
   Determinations that a qualified beneficiary is disabled             Employer’s Notification Requirements
   must be given to Amazon before the 18-month
                                                                       Your Employer is required to provide you and/or your
   continuation period ends. This means that the qualified
   beneficiary might not have the full 60 days in which to             Dependents with the following notices:
   give the notice.                                                    • Amazon must notify you or your covered dependents of
                                                                         their rights under COBRA. Amazon’s third party
If the SSA later determines that the individual is no longer
                                                                         administrator (BenefitConnect) is responsible for notifying
disabled, you must notify the Plan Administrator within 30
                                                                         qualified beneficiaries on behalf of Amazon. In such cases,


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   Amazon has 30 days in which to notify its third party                  payment within that 45 days, you will lose all COBRA
   administrator of a participant’s termination of employment,            continuation rights under the Plan.
   reduction in hours, death or Medicare entitlement. The third           Subsequent payments
   party administrator then has 14 days after it receives notice
   of a qualifying event from Amazon in which to notify the               After you make your first payment for COBRA continuation
   qualified beneficiaries of their COBRA rights. If you have             coverage, you will be required to make subsequent payments
   an urgent health care need before you receive your COBRA               of the required premium for each additional month of
   enrollment information contact the Benefits Service Center             coverage. Payment is due on the first day of each month. If
   at 1-877-292-6272.                                                     you make a payment on or before its due date, your coverage
                                                                          under the Plan will continue for that coverage period without
• Important Note: If Amazon informs you of its notice
                                                                          any break.
   procedures after the notice period start date above for
   your qualifying event, the notice period will not start                Grace periods for subsequent payments
   until the date you’re informed by Amazon.                              Although subsequent payments are due by the first day of the
How to Elect COBRA Continuation Coverage                                  month, you will be given a grace period of 30 days after the
                                                                          first day of the coverage period to make each monthly
The COBRA coverage election notice will list the individuals              payment. Your COBRA continuation coverage will be
who are eligible for COBRA continuation coverage and                      provided for each coverage period as long as payment for that
inform you of the applicable premium. The notice will also                coverage period is made before the end of the grace period for
include instructions for electing COBRA continuation                      that payment. However, if your payment is received after the
coverage. You must notify the Plan Administrator of your                  due date, your coverage under the Plan may be suspended
election no later than the due date stated on the COBRA                   during this time. Any providers who contact the Plan to
election notice. If a written election notice is required, it must        confirm coverage during this time may be informed that
be post-marked no later than the due date stated on the                   coverage has been suspended. If payment is received before
COBRA election notice. If you do not make proper                          the end of the grace period, your coverage will be reinstated
notification by the due date shown on the notice, you and your            back to the beginning of the coverage period. This means that
Dependents will lose the right to elect COBRA continuation                any claim you submit for benefits while your coverage is
coverage. If you reject COBRA continuation coverage before                suspended may be denied and may have to be resubmitted
the due date, you may change your mind as long as you                     once your coverage is reinstated. If you fail to make a
furnish a completed election form before the due date.                    payment before the end of the grace period for that coverage
Each qualified beneficiary has an independent right to elect              period, you will lose all rights to COBRA continuation
COBRA continuation coverage. Continuation coverage may                    coverage under the Plan.
be elected for only one, several, or for all Dependents who are           You Must Give Notice of Certain Qualifying Events
qualified beneficiaries. Parents may elect to continue coverage
on behalf of their Dependent children. You or your spouse                 If you or your Dependent(s) experience one of the following
may elect continuation coverage on behalf of all the qualified            qualifying events, you must notify the Plan Administrator
beneficiaries. You are not required to elect COBRA                        within 60 calendar days after the later of the date the
continuation coverage in order for your Dependents to elect               qualifying event occurs or the date coverage would cease as a
COBRA continuation.                                                       result of the qualifying event:
                                                                          • Your divorce or legal separation; or
How Much Does COBRA Continuation Coverage Cost?
Each qualified beneficiary may be required to pay the entire              • Your child ceases to qualify as a Dependent under the Plan.
cost of continuation coverage. The amount may not exceed                  • The occurrence of a secondary qualifying event as discussed
102% of the cost to the group health plan (including both                   under “Secondary Qualifying Events” above (this notice
Employer and Employee contributions) for coverage of a                      must be received prior to the end of the initial 18- or 29-
similarly situated active Employee or family member.                        month COBRA period).
When and How to Pay COBRA Premiums                                        (Also refer to the section titled “Disability Extension” for
First payment for COBRA continuation                                      additional notice requirements.)
If you elect COBRA continuation coverage, you do not have                 Notice may need to be made in writing and may require: the
to send any payment with the election form. However, you                  name of the Plan, name and address of the Employee covered
must make your first payment no later than 45 calendar days               under the Plan, name and address(es) of the qualified
after the date of your election. (This is the date the Election           beneficiaries affected by the qualifying event; the qualifying
Notice is postmarked, if mailed.) If you do not make your first           event; the date the qualifying event occurred; and supporting



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documentation (e.g., divorce decree, birth certificate, disability         Employer Identification          Plan Number:
determination, etc.).                                                      Number (EIN):
Newly Acquired Dependents                                                  XX-XXXXXXX                       501
If you acquire a new Dependent through marriage, birth,                    Plan Administrator
adoption or placement for adoption while your coverage is                  The name, address, ZIP code and business telephone number
being continued, you may cover such Dependent under your                   of the Plan Administrator is:
COBRA continuation coverage. However, only your newborn
or adopted Dependent child is a qualified beneficiary and may                 Employer named above
continue COBRA continuation coverage for the remainder of                  Agent for Service of Legal Process
the coverage period following your early termination of                    The name, address and ZIP code of the person designated as
COBRA coverage or due to a secondary qualifying event.                     agent for service of legal process is:
COBRA coverage for your Dependent spouse and any
Dependent children who are not your children (e.g.,                           Employer named above
stepchildren or grandchildren) will cease on the date your                 The office designated to consider the appeal of denied claims
COBRA coverage ceases and they are not eligible for a                      is:
secondary qualifying event.                                                   The Cigna Claim Office responsible for this Plan; see the
                                                                              back of your benefit ID card for more information
Questions about your Plan or your rights under COBRA                       Funding Medium
should be addressed to the Benefit Service Center at 1-877-                This benefit component is self-funded and benefits are paid
292-6272.                                                                  from the general assets of the Employer. No benefits are
Interaction With Other Continuation Benefits                               payable by an insurance company. The cost of the Plan is
You may be eligible for other continuation benefits under state            shared by the Employee and Employer.
law                                                                        ERISA Plan Year
                                                                           The Plan’s fiscal year is the period of 12 consecutive months
HC-FED66                                                      07-14
                                                                           that starts each January 1 and ends on the next December 31.
                                                                           Type of Benefit Component
                                                                           Self-funded employee medical component of a group health
ERISA Required Information                                                 and welfare plan.
Open Access Plus In-Network Medical Benefits Enhanced                      Type of Benefit Component Administration
Plan is a component of the Group Health and Welfare Plan, an               Third-party administration for claims and certain
employee welfare benefit plan that is subject to the Employee              administrative services. The third-party administrator has
Retirement Income Security Act of 1974 (“ERISA”). The                      discretionary authority to interpret and administer the Plan and
preceding pages set forth the eligibility requirements and                 to make factual determinations.
benefits provided for you under this Plan.                                 Discretionary Authority
Name of Benefit Component                                                  The Plan Administrator delegates to Cigna the discretionary
In-Network Only Enhanced Medical Plan (a component of the                  authority to interpret and apply Plan terms and to make factual
Group Health and Welfare Plan)                                             determinations in connection with its review of claims under
Plan Sponsor                                                               the Plan. Such discretionary authority is intended to include,
                                                                           but not limited to, the determination of the eligibility of
                                                                           persons desiring to enroll in or claim benefits under the Plan,
The name, address, ZIP code and business telephone number                  the determination of whether a person is entitled to benefits
of the Employer sponsor of the Plan is:                                    under the Plan, and the computation of any and all benefit
  Amazon.com Services LLC                                                  payments. The Plan Administrator also delegates to Cigna the
  440 Terry Avenue North                                                   discretionary authority to perform a full and fair review, as
  Seattle, WA 98109                                                        required by ERISA, of each claim denial which has been
  206-266-1000                                                             appealed by the claimant or their duly authorized
                                                                           representative. Notwithstanding the above, Amazon has the
                                                                           ultimate discretionary authority to determine whether an
                                                                           Employee is eligible for benefits under the Plan.


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Plan Modification, Amendment and Termination                               governing the Plan on the rules governing your federal
The Employer as plan sponsor reserves the right to, at any                 continuation coverage rights.
time, change or terminate benefits under the Plan, to change or         Prudent Actions by Plan Fiduciaries
terminate the eligibility of classes of Employees to be covered         In addition to creating rights for Plan participants, ERISA
by the Plan, to amend or eliminate any other Plan term or               imposes duties upon the people responsible for the operation
condition, and to terminate the whole Plan or any part of it.           of the employee benefit plan. The people who operate your
Contact the Employer for the procedure by which benefits                Plan, called “fiduciaries” of the Plan, have a duty to do so
may be changed or terminated, by which the eligibility of               prudently and in the interest of you and other Plan participants
classes of Employees may be changed or terminated, or by                and beneficiaries. No one, including your employer, your
which part or all of the Plan may be terminated. No consent of          union, or any other person may fire you or otherwise
any participant is required to terminate, modify, amend or              discriminate against you in any way to prevent you from
change the Plan.                                                        obtaining a welfare benefit or exercising your rights under
Termination of the Plan will have no adverse effect on any              ERISA. If your claim for a welfare benefit is denied or
benefits to be paid under the Plan for any covered medical              ignored you have a right to know why this was done, to obtain
expenses incurred prior to the date the Plan terminates.                copies of documents relating to the decision without Charge,
Contact Amazon’s Employee Resource Center at 1-888-892-                 and to appeal any denial, all within certain time schedules.
7180 to determine if any extension of benefits or rights are            Enforce Your Rights
available to you or your Dependents under this Plan. No                 Under ERISA, there are steps you can take to enforce the
extension of benefits or rights will be available solely because        above rights. For instance, if you request a copy of documents
the Plan terminates.                                                    governing the Plan or the latest annual report from the Plan
Statement of Rights                                                     and do not receive them within 30 days, you may file suit in a
As a participant in the Plan you are entitled to certain rights         federal court. In such a case, the court may require the plan
and protections under the Employee Retirement Income                    administrator to provide the materials and pay you up to $110
Security Act of 1974 (ERISA). ERISA provides that all Plan              a day until you receive the materials, unless the materials were
participants shall be entitled to:                                      not sent because of reasons beyond the control of the
                                                                        administrator. If you have a claim for benefits which is denied
Receive Information About Your Plan and Benefits                        or ignored, in whole or in part, you may file suit in a state or
• examine, without Charge, at the Plan Administrator’s office           federal court.
   and at other specified locations, such as worksites and union        In addition, if you disagree with the Plan’s decision or lack
   halls, all documents governing the Plan, including insurance         thereof concerning the qualified status of a domestic relations
   contracts and collective bargaining agreements and a copy            order or a medical child support order, you may file suit in
   of the latest annual report (Form 5500 Series) filed by the          federal court. If it should happen that Plan fiduciaries misuse
   Plan with the U.S. Department of Labor and available at the          the Plan’s money, or if you are discriminated against for
   Public Disclosure room of the Employee Benefits Security             asserting your rights, you may seek assistance from the U.S.
   Administration.                                                      Department of Labor, or you may file suit in a federal court.
• obtain, upon written request to the Plan Administrator,               The court will decide who should pay court costs and legal
   copies of documents governing the Plan, including                    fees. If you are successful the court may order the person you
   insurance contracts and collective bargaining agreements,            have sued to pay these costs and fees. If you lose, the court
   and a copy of the latest annual report (Form 5500 Series)            may order you to pay these costs and fees, for example if it
   and updated summary plan description. The administrator              finds your claim is frivolous.
   may make a reasonable Charge for the copies.                         Assistance with Your Questions
• receive a summary of the Plan’s annual financial report. The
                                                                        If you have any questions about your Plan, you should contact
   Plan Administrator is required by law to furnish each person         the plan administrator. If you have any questions about this
   under the Plan with a copy of this summary financial report.         statement or about your rights under ERISA, or if you need
Continue Group Health Plan Coverage                                     assistance in obtaining documents from the plan administrator,
• continue health care coverage for yourself, your spouse or            you should contact the nearest office of the Employee Benefits
   Dependents if there is a loss of coverage under the Plan as a        Security Administration, U.S. Department of Labor listed in
   result of a qualifying event. You or your Dependents may             your telephone directory or the Division of Technical
   have to pay for such coverage. Review the documents                  Assistance and Inquiries, Employee Benefits Security
                                                                        Administration, U.S. Department of Labor, 200 Constitution
                                                                        Avenue N.W., Washington, D.C. 20210. You may also obtain


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certain publications about your rights and responsibilities              Business Decision Team
under ERISA by calling the publications hotline of the                   A committee comprised of voting and non-voting
Employee Benefits Security Administration.                               representatives across various Cigna business units such as
                                                                         clinical, medical and business leadership that is duly
HC-FED72 M                                                  05-15
                                                                         authorized by Cigna to effect changes regarding coverage
                                                                         treatment of Medical Pharmaceuticals based on clinical
                                                                         findings provided by the P&T Committee, including, but not
                                                                         limited to, changes regarding tier placement and application of
Definitions                                                              utilization management to Medical Pharmaceuticals.
Ambulance
Licensed Ambulance transportation services involve the use of            HC-DFS1494                                                  07-20
specially designed and equipped vehicles for transporting ill or
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                     Charges
                                                                         The term Charges means the actual billed Charges; except
                                                                         when Cigna has contracted directly or indirectly for a different
HC-DFS1480                                                  01-21        amount including where Cigna has directly or indirectly
                                                                         contracted with an entity to arrange for the provision of
Biologic                                                                 services and/or supplies through contracts with providers of
                                                                         such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein
(except any chemically synthesized polypeptide), or analogous            HC-DFS1193                                                  01-19
product, or arsphenamine or derivative of arsphenamine (or
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of              Chiropractic Care
human beings, as defined under Section 351(i) of the Public              The term Chiropractic Care means the conservative
Health Service Act (42 USC 262(i)) (as amended by the                    management of acute neuromusculoskeletal conditions
Biologics Price Competition and Innovation Act of 2009, title            through manipulation and ancillary physiological treatment
VII of the Patient Protection and Affordable Care Act, Pub. L.           rendered to specific joints to restore motion, reduce pain and
No. 111-148, § 7002 (2010), and as may be amended                        improve function.
thereafter).
                                                                         HC-DFS1717                                                  01-22

HC-DFS840                                                   10-16

                                                                         Convenience Care Clinics
Biosimilar                                                               Convenience Care Clinics are staffed by Nurse practitioners
A Biologic that is highly similar to the reference Biologic              and physician assistants and offer customers convenient,
product notwithstanding minor differences in clinically                  professional walk-in care for common ailments and routine
inactive components, and has no clinically meaningful                    services. Convenience Care Clinics have extended hours and
differences from the reference Biologic in terms of its safety,          are located in or near easy-to-access, popular locations
purity, and potency, as defined under Section 351(i) of the              (pharmacies, grocery and free-standing locations) with or
Public Health Service Act (42 USC 262(i)) (as amended by                 without appointment.
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,
                                                                         HC-DFS1629                                                  07-21
Pub. L. No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                         Custodial Services
HC-DFS841                                                   10-16
                                                                         Any services that are of a sheltering, protective, or
                                                                         safeguarding nature. Such services may include a stay in an
                                                                         institutional setting, at-home care, or nursing services to care
                                                                         for someone because of age or mental or physical condition.


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This service primarily helps the person in daily living.                            order terminates or expires, the child is no longer an
Custodial care also can provide medical services, given mainly                      eligible child.
to maintain the person’s current state of health. These services               o Grandchildren in your court-ordered custody.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care                o Your foster child.
for himself or herself. Custodial Services include but are not              26 or more years old, for a dependent child with a physical
limited to:                                                                   or mental condition which prevents them from providing
• Services related to watching or protecting a person;
                                                                              self-sustaining employment. The child will continue to be
                                                                              eligible if all the following are met:
• Services related to performing or assisting a person in
   performing any activities of daily living, such as: walking,                o The child became incapable of self-sustaining
   grooming, bathing, dressing, getting in or out of bed,                           employment before reaching the limiting age of 26.
   toileting, eating, preparing foods, or taking medications that              o The dependent child is incapable of self-sustaining
   can be self administered, and                                                    employment by reason of developmental disability
• Services not required to be performed by trained or skilled
                                                                                    or physical handicap and is chiefly dependent on
   medical or paramedical personnel.                                                you for support and maintenance.
                                                                               o You are covered under this Plan.
HC-DFS4                                                      04-10
                                                                               o You provide Cigna with proof of the child’s
                                                               V1
                                                                                    condition and dependent status when requested, or if
                                                                                    Cigna certifies termporary or permanent overaged
                                                                                    dependent status.
Dependent
Dependents are:                                                           The term child means a child born to you or a child legally
• your lawful spouse of the participant, unless legally                   adopted by you. It also includes a stepchild, a child of your
  separated. Lawful spouse means an individual who is                     Domestic Partner, a child placed with you for adoption, a
  recognized as married under a U.S. state, possession, or                legally placed ward of you or your spouse, a grandchild in
  territory where the marriage was entered in to or under the             your court-ordered custody, or a foster child.
  laws of a foreign jurisdiction if the marriage would be
                                                                          Benefits for a Dependent child will continue until the last day
  recognized under the laws of at least one U.S. state,
                                                                          of the calendar month in which the limiting age is reached.
  possession, or territory; or
                                                                          Anyone who is eligible as an Employee will not be considered
• your Domestic Partner;
                                                                          as a Dependent child or Dependent spouse unless the
• your tax dependent under the code; and                                  Dependent child or Dependent spouse declines Employee
• any eligible Dependent child of yours who is one of the                 coverage. A child under age 26 may be covered as either an
  following:                                                              Employee or as a Dependent child. You cannot be covered as
                                                                          an Employee while also covered as a Dependent child of an
  • under 26 years of age (coverage extends through the end
                                                                          Employee.
    of the month in which the child turns age 26) and:.
                                                                          No one may be considered as a Dependent of more than one
     o Your natural child.
                                                                          Employee.
     o Your stepchild.
     o A legally adopted child of either or both you or your
                                                                          HC-DFS1718                                                  01-22
          spouse.
     o A child placed with you for the purpose of legal
          adoption in accordance with state law. Placed for               Domestic Partner
          adoption means assumption and retention by you of               Domestic Partner means a person with whom you have
          a legal obligation for total or partial support of a            established a domestic partnership, pursuant to Amazon’s
          child in anticipation of adoption of such child.                policy on domestic partnerships, as amended from tiem to
     o A legally placed Dependent of you or your spouse,                  time. The person with whom you have established a domestic
          There must be a court order signed by a judge,                  partnership will not be considered your Domestic Partner
          which grants guardianship of the child to you or                under this Plan if either of you have signed a Domestic Partner
          your spouse as of a specific date. When the court



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affidavit or declaration with any other person within the six            Employee and on Amazon’s or participating related
months prior to designating each other as domestic partners.             employer’s W-2 payroll, excluding:
                                                                         (a) any Employee of a related employer not participating in
All rights, benefits and obligations afforded to a “spouse”              the Plan;
under this Plan will also be afforded to an eligible Domestic            (b) any individual who is not treated by Amazon as an
Partner. In determining benefits for Domestic Partners and               Employee for payroll tax purposes at the time he or she
their children under this Plan, the term “establishment of the           performs services for Amazon (including those individuals
domestic partnership” shall be used in place of “marriage”; the          paid by a temporary or other staffing agency), whether or not
term “termination of the domestic partnership” shall be used in          such individual is subsequently determined by a government
place of “legal separation” and “divorce.”                               agency, by the conclusion or settlement of threatened or
                                                                         pending litigation, or otherwise to be or have been a common-
                                                                         law Employee of the Employer during such period;
                                                                         (c) any leased employee (including but not limited to those
HC-DFS47AMZ                                                 04-10
                                                                         individuals defined as leased employees in Code
                                                              V1
                                                                         Section 414(n));
                                                                         (d) an employee not on the U.S. payroll of Amazon or a
Emergency Medical Condition                                              participating related employer;
Emergency Medical Condition means a medical condition,                   (e) any such employee who is a nonresident alien with no U.S.
including a Mental Health condition or Substance Use                     source income (within the meaning of Code Section
Disorder, manifesting itself by acute symptoms of sufficient             911(d)(2));
severity (including severe pain) such that a prudent layperson,
                                                                         (f) any employee who is included in a unit of employees
who possesses an average knowledge of health and medicine,
                                                                         covered by a collective bargaining agreement.
could reasonably expect the absence of immediate medical
attention to result in placing the health of the individual (or,
with respect to a pregnant woman, the health of the woman or             HC-DFS1094                                               12-17
their unborn child) in serious jeopardy; serious impairment to
bodily functions; or serious dysfunction of any bodily organ or
part.                                                                    Employer
                                                                         The term Employer means Amazon, the plan sponsor self-
                                                                         insuring the benefits described in this SPD, on whose behalf
HC-DFS1766                                                  01-23
                                                                         Cigna is providing claim administration services.

Emergency Services                                                       HC-DFS1615                                               01-22
Emergency services means, with respect to an Emergency
Medical Condition, a medical screening examination that is
within the capability of the emergency department of a                   Essential Health Benefits
Hospital or of an independent freestanding emergency facility,           Essential Health Benefits means, to the extent covered under
including ancillary services routinely available to the                  the Plan, expenses incurred with respect to covered services,
emergency department to evaluate such Emergency Medical                  in at least the following categories: ambulatory patient
Condition; and such further medical examination and                      services, emergency services, hospitalization, maternity and
treatment, to the extent they are within the capabilities of the         newborn care, Mental Health and Substance Use Disorder
staff and facilities available at the Hospital or emergency              services, including behavioral health treatment, prescription
department – as are required, to Surgetabilize the patient.              drugs, rehabilitative and habilitative services and devices,
                                                                         laboratory services, preventive and wellness services and
                                                                         chronic disease management and pediatric services, including
HC-DFS1764                                                  01-23
                                                                         oral and vision care.

Employee                                                                 HC-DFS411                                                01-11
The term Employee means an individual classified by Amazon
and its participating related employers as its common-law



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Expense Incurred                                                        Hospice Care Services
An expense is incurred when the service or the supply for               The term Hospice Care Services means any services provided
which it is incurred is provided.                                       by: a Hospital, a Skilled Nursing Facility or a similar
                                                                        institution, a Home Health Care Agency, a Hospice Facility,
                                                                        or any other licensed facility or agency under a Hospice Care
HC-DFS10                                                   04-10
                                                                        Program.
                                                             V1


                                                                        HC-DFS52                                                       04-10
Free-Standing Surgical Facility                                                                                                          V1
The term Free-Standing Surgical Facility means an institution
which meets all of the following requirements:
                                                                        Hospice Facility
• it has a medical staff of Physicians, Nurses and licensed
  anesthesiologists;                                                    The term Hospice Facility means an institution or part of it
                                                                        which:
• it maintains at least two operating rooms and one recovery
  room;                                                                 • primarily provides care for Terminally Ill patients;

• it maintains diagnostic laboratory and x-ray facilities;              • is accredited by the National Hospice Organization;

• it has equipment for emergency care;                                  •   meets standards established by Cigna; and
                                                                        •   fulfills any licensing requirements of the state or locality in
• it has a blood supply;
                                                                            which it operates.
• it maintains medical records;
• it has agreements with Hospitals for immediate acceptance
                                                                        HC-DFS53                                                       04-10
  of patients who need Hospital Confinement on an inpatient
                                                                                                                                         V1
  basis; and
• it is licensed in accordance with the laws of the appropriate
  legally authorized agency.                                            Hospital
A Free-Standing Surgical Facility, unless specifically noted            The term Hospital means:
otherwise, is covered with the same cost share as an                    • an institution licensed as a Hospital, which: maintains, on
Outpatient Facility.                                                      the premises, all facilities necessary for medical and
                                                                          surgical treatment; provides such treatment on an inpatient
                                                                          basis, for compensation, under the supervision of
HC-DFS1484                                                 01-21
                                                                          Physicians; and provides 24-hour service by Registered
                                                                          Graduate Nurses;
Hospice Care Program                                                    • an institution which qualifies as a Hospital, a psychiatric
The term Hospice Care Program means:                                      Hospital or a tuberculosis Hospital, and a provider of
• a coordinated, interdisciplinary program to meet the                    services under Medicare, if such institution is accredited as
  physical, psychological, spiritual and social needs of dying            a Hospital by the Joint Commission on the Accreditation of
  persons and their families;                                             Healthcare Organizations; or
• a program that provides palliative and supportive medical,            • an institution which: specializes in treatment of Mental
  nursing and other health services through home or inpatient             Health and Substance Use Disorder or other related illness;
  care during the illness;                                                provides residential treatment programs; and is licensed in
                                                                          accordance with the laws of the appropriate legally
• a program for persons who have a Terminal Illness and for
                                                                          authorized agency.
  the families of those persons.
                                                                        The term Hospital does not include an institution which is
                                                                        primarily a place for rest, a place for the aged, or a nursing
HC-DFS51                                                   04-10        home.
                                                             V1


                                                                        HC-DFS1485                                                     01-21




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Hospital Confinement or Confined in a Hospital                             payment from Cigna based on an allowed amount that Cigna
A person will be considered Confined in a Hospital if he is:               or one of Cigna’s third-party vendors has determined is a
                                                                           market competitive rate without billing you and/or obligating
• a registered bed patient in a Hospital upon the
                                                                           you to pay the difference between the payment amount and the
  recommendation of a Physician;                                           charged amount.
• receiving treatment for Mental Health and Substance Use
                                                                           If a provider does not agree to a market competitive rate as
  Disorder Services in a Mental Health or Substance Use                    described in the previous paragraph, then the MRC for this
  Disorder Residential Treatment Center.                                   Plan will be based on an amount required by law, or if no
                                                                           amount is required by law, then the lesser of:
HC-DFS807                                                     12-15        • the providers normal Charge for a similar service or supply;
                                                                              or
Injury                                                                     • the percentage of a fee schedule Cigna has developed that is
                                                                              based upon a methodology similar to a methodology
The term Injury means an accidental bodily Injury.
                                                                              utilized by Medicare to determine the allowable
                                                                              reimbursement for the same or similar service or supply
HC-DFS12                                                      04-10           within the geographic market. In the event that Medicare
                                                                V1            does not have a published rate for a particular service or
                                                                              supply, Cigna may, in its discretion, determine the MRC
                                                                              based on a rate for the same or similar service or supply by
Maintenance Treatment                                                         applying a Medicare-based methodology that Cigna deems
The term Maintenance Treatment means:                                         appropriate.
• treatment rendered to keep or maintain the patient's current             The percentage used to determine the Maximum Reimbursable
  status.                                                                  Charge can be obtained by contacting Member
                                                                           Services/Customer Service.
HC-DFS56                                                      04-10        The Maximum Reimbursable Charge is subject to all other
                                                                V1         benefit limitations and exclusions and Cigna’s applicable
                                                                           Coverage Policies, Reimbursement Policies, and other coding
                                                                           and payment methodologies. Additional information about
Maximum Reimbursable Charge – Medical                                      how Cigna determines the Maximum Reimbursable Charge is
See The Medical Schedule for information about Out-of-                     available upon request.
Network Charges for Certain Services, Out-of-Network                       Note: Some providers attempt to forgive, waive, or not collect
Emergency Services Charges, and Out-of-Network Air                         the cost share obligation (e.g., your Copayment, Coinsurance
Ambulance Services Charges.                                                and/or Deductible amount(s), if any), that this Plan requires
The Maximum Reimbursable Charge (also referred to as                       you to pay. This practice jeopardizes your coverage under this
MRC) is the maximum amount that your Plan will pay a                       Plan. Please read the Exclusions, Expenses Not Covered and
health care provider for a Covered Expense. Your applicable                General Limitations section, or call Cigna at the phone
Copayment, Coinsurance and/or Deductible amount(s), if any,                number on your ID card for more details.
set forth in The Schedule are determined based on the MRC.
Unless prohibited by applicable law or agreement, providers
                                                                           HC-DFS1853                                                 01-24
may also bill you for the difference between the MRC and
their charges, and you may be financially responsible for that             Medicaid
amount. If you receive a bill from a provider for more than the            The term Medicaid means a state program of medical aid for
What I Owe amount on the Explanation of Benefits (EOB),                    needy persons established under Title XIX of the Social
please call Cigna at the phone number on your ID card.                     Security Act of 1965 as amended.
If a provider is willing to agree to a rate that Cigna, in its
discretion, determines to be market competitive, then that rate            HC-DFS16                                                   04-10
will become the MRC used to calculate the allowable amount                                                                              V1
for a Covered Expense. A provider can agree to a rate by: (i)
entering into an agreement with Cigna or one of Cigna’s third-
party vendors that establishes the rate the provider is willing to
accept as payment for the Covered Expense; or (ii) receiving a


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Medical Pharmaceutical                                                     reference compendia and peer-reviewed, evidence-based
Medical Pharmaceuticals are used for treatment of complex                  scientific literature or guidelines.
chronic conditions, are administered and handled in a
specialized manner, and may be high cost. Because of their                 HC-DFS1486                                                01-21
characteristics, they require a qualified Physician to administer
or directly supervise administration. Some Medical
Pharmaceuticals may initially or typically require Physician               Medicare
oversight but subsequently may be self-administered under                  The term Medicare means the program of medical care
certain conditions specified in the product’s FDA labeling.                benefits provided under Title XVIII of the Social Security Act
                                                                           of 1965 as amended.
HC-DFS1722                                                    07-22

                                                                           HC-DFS17                                                  04-10
                                                                                                                                       V1
Medically Necessary/Medical Necessity
Health care services, supplies and medications provided for
the purpose of preventing, evaluating, diagnosing or treating a            Necessary Services and Supplies
Sickness, Injury, condition, disease or its symptoms, that are             The term Necessary Services and Supplies includes any
all of the following as determined by a Medical Director or                Charges, except Charges for Room and Board, made by a
Review Organization:                                                       Hospital for medical services and supplies actually used
• required to diagnose or treat an illness, Injury, disease or its         during Hospital Confinement.
   symptoms;                                                               The term Necessary Services and Supplies will not include
• in accordance with generally accepted standards of medical               any Charges for special nursing fees, dental fees or medical
   practice;                                                               fees.
• clinically appropriate in terms of type, frequency, extent,
   site and duration;                                                      HC-DFS1488                                                01-21

• not primarily for the convenience of the patient, Physician
   or Other Health Professional;                                           New Prescription Drug Product
• not more costly than an alternative service(s), medication(s)
                                                                           A Prescription Drug Product, or new use or dosage form of a
   or supply(ies) that is at least as likely to produce equivalent         previously FDA-approved Prescription Drug Product, for the
   therapeutic or diagnostic results with the same safety profile          period of time starting on the date the Prescription Drug
   as to the prevention, evaluation, diagnosis or treatment of             Product or newly-approved use or dosage form becomes
   your Sickness, Injury, condition, disease or its symptoms;              available on the market following approval by the U.S. Food
   and                                                                     and Drug Administration (FDA) and ending on the date Cigna
• rendered in the least intensive setting that is appropriate for          makes a Prescription Drug List coverage status decision.
   the delivery of the services, supplies or medications. Where
   applicable, the Medical Director or Review Organization
                                                                           HC-DFS1498                                                07-20
   may compare the cost-effectiveness of alternative services,
   supplies, medications or settings when determining least
   intensive setting.                                                      Nurse
In determining whether health care services, supplies, or                  The term Nurse means a Registered Graduate Nurse, a
medications are Medically Necessary, the Medical Director or               Licensed Practical Nurse or a Licensed Vocational Nurse who
Review Organization may rely on the clinical coverage                      has the right to use the abbreviation "R.N.," "L.P.N." or
policies maintained by Cigna or the Review Organization.                   "L.V.N."
Clinical coverage policies may incorporate, without limitation
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical                     HC-DFS22                                                  04-10
                                                                                                                                       V1




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Other Health Care Facility                                                Pharmacy & Therapeutics (P&T) Committee
The term Other Health Care Facility means a facility other                A committee comprised of Physicians and an independent
than a Hospital or Hospice Facility. Examples of Other Health             pharmacist that represent a range of clinical specialties. The
Care Facilities include, but are not limited to, licensed Skilled         committee regularly reviews Medical Pharmaceuticals for
Nursing Facilities, rehabilitation Hospitals and subacute                 safety and efficacy, the findings of which clinical reviews
facilities.                                                               inform coverage determinations made by the Business
                                                                          Decision Team. The P&T Committee’s review may be based
                                                                          on consideration of, without limitation, U.S. Food and Drug
HC-DFS1489                                                   01-21
                                                                          Administration-approved labeling, standard medical reference
                                                                          compendia, or scientific studies published in peer-reviewed
Other Health Professional                                                 English-language bio-medical journals.
The term Other Health Professional means an individual other
than a Physician who is licensed or otherwise authorized under            HC-DFS1495                                                 07-20
the applicable state law to deliver medical services and
supplies. Other Health Professionals include, but are not
limited to physical therapists, registered Nurses and licensed            Physician
practical Nurses. Other Health Professionals do not include               The term Physician means a licensed medical practitioner who
providers such as Certified First Assistants, Certified                   is practicing within the scope of their license and who is
Operating Room Technicians, Certified Surgical                            licensed to prescribe and administer drugs or to perform
Assistants/Technicians, Licensed Certified Surgical                       surgery. It will also include any other licensed medical
Assistants/Technicians, Licensed Surgical Assistants,                     practitioner whose services are required to be covered by law
Orthopedic Physician Assistants and Surgical First Assistants.            in the locality where the Plan is in effect if he is:
                                                                          • operating within the scope of their license; and
HC-DFS1490                                                   01-21        • performing a service for which benefits are provided under
                                                                             this Plan when performed by a Physician.
Participating Provider
The term Participating Provider means a person or entity that             HC-DFS25                                                   04-10
                                                                                                                                       V1
has a direct or indirect contractual arrangement with Cigna to
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has                Prescription Drug List
directly or indirectly contracted with Cigna to arrange, through
contracts with providers of services and/or supplies, for the             A list that categorizes Prescription Drug Products covered
provision of any services and/or supplies, the Charges for                under the Plan’s Prescription Drug Benefits. This list is
                                                                          developed by Cigna based on clinical factors communicated
which are Covered Expenses.
                                                                          by the P&T Committee and adopted by your Employer as part
                                                                          of the Plan. The list is subject to periodic review and change,
HC-DFS1194                                                   01-19        and is subject to the limitations and exclusions of the Plan.

Patient Protection and Affordable Care Act of 2010                        HC-DFS1775                                                 01-23
(“PPACA”)
Patient Protection and Affordable Care Act of 2010 means the              Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education                  A drug, Biologic (including a Biosimilar), or other product
                                                                          that has been approved by the U.S. Food and Drug
Reconciliation Act of 2010 (Public Law 111-152).
                                                                          Administration (FDA), certain products approved under the
                                                                          Drug Efficacy Study Implementation review, or products
HC-DFS412                                                    01-11        marketed prior to 1938 and not subject to review and that can,
                                                                          under federal or state law, be dispensed only pursuant to a
                                                                          Prescription Order or Refill. For the purpose of benefits under
                                                                          the Plan, this definition may also include products in the



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following categories if specifically identified in the                 recognized psychological association. It will also include any
Prescription Drug List:                                                other licensed counseling practitioner whose services are
• Certain durable products and supplies that support drug              required to be covered by law in the locality where the Plan is
  therapy;                                                             in effect if he is operating within the scope of their license and
                                                                       performing a service for which benefits are provided under
• Certain diagnostic testing and screening services that
                                                                       this Plan when performed by a Psychologist.
  support drug therapy;
• Certain medication consultation and other medication
                                                                       HC-DFS26                                                      04-10
  administration services that support drug therapy; and
                                                                                                                                       V1
• Certain digital products, applications, electronic devices,
  software and cloud based service solutions used to predict,
  detect and monitor health conditions in support of drug              Review Organization
  therapy.                                                             The term Review Organization refers to an affiliate of Cigna
                                                                       or another entity to which Cigna has delegated responsibility
                                                                       for performing utilization review services. The Review
HC-DFS1633                                                01-22
                                                                       Organization is an organization with a staff of clinicians which
                                                                       may include Physicians, Registered Graduate Nurses, licensed
Prescription Order or Refill                                           Mental Health and Substance Use Disorder professionals, and
The lawful directive to dispense a Prescription Drug Product           other trained staff members who perform utilization review
issued by a Physician whose scope of practice permits issuing          services.
such a directive.
                                                                       HC-DFS808                                                     12-15

HC-DFS856                                                 10-16

                                                                       Room and Board
Preventive Treatment                                                   The term Room and Board includes all Charges made by a
The term Preventive Treatment means treatment rendered to              Hospital for room and meals and for all general services and
prevent disease or its recurrence.                                     activities needed for the care of registered bed patients.

                                                                       HC-DFS1481                                                    01-21
HC-DFS57                                                  04-10
                                                            V1

                                                                       Sickness – For Medical Coverage
Primary Care Physician                                                 The term Sickness means a physical or mental illness. It also
The term Primary Care Physician means a Physician who                  includes pregnancy. Expenses incurred for routine Hospital
qualifies as a Participating Provider in general practice,             and pediatric care of a newborn child prior to discharge from
internal medicine, family practice OB/GYN or pediatrics; and           the Hospital nursery will be considered to be incurred as a
who has been voluntarily selected by you and is contracted as          result of Sickness.
a Primary Care Physician with, as authorized by Cigna, to
provide or arrange for medical care for you or any of your             HC-DFS50                                                      04-10
covered Dependents.                                                                                                                    V1



HC-DFS40                                                  04-10
                                                                       Skilled Nursing Facility
                                                            V1
                                                                       The term Skilled Nursing Facility means a licensed institution
                                                                       (other than a Hospital, as defined) which specializes in:
Psychologist                                                           • physical rehabilitation on an inpatient basis; or
The term Psychologist means a person who is licensed or                • skilled nursing and medical care on an inpatient basis;
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who         but only if that institution: maintains on the premises all
is considered qualified as a clinical psychologist by a                facilities necessary for medical treatment; provides such



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treatment, for compensation, under the supervision of                     individual is transferred from a facility, or, with respect to a
Physicians; and provides Nurses' services.                                pregnant woman who is having contractions, to deliver.

HC-DFS31                                                     04-10        HC-DFS1768                                                    0123
                                                               V1


                                                                          Terminal Illness
Specialist                                                                A Terminal Illness will be considered to exist if a person
The term Specialist means a Physician who provides                        becomes terminally ill with a prognosis of six months or less
specialized services, and is not engaged in general practice,             to live, as diagnosed by a Physician.
family practice, internal medicine, obstetrics/gynecology or
pediatrics.
                                                                          HC-DFS54                                                     04-10
                                                                                                                                         V1
HC-DFS33                                                     04-10
                                                               V1
                                                                          Therapeutic Alternative
                                                                          A Medical Pharmaceutical that is of the same therapeutic or
Specialty Prescription Drug Product                                       pharmacological class, and usually can be expected to have
A Medical Pharmaceutical considered by Cigna to be a                      similar outcomes and adverse reaction profiles when
Specialty Prescription Drug Product based on consideration of             administered in therapeutically equivalent doses as, another
the following factors, subject to applicable law: whether the             Medical Pharmaceutical or over-the-counter medication.
Medical Pharmaceutical is prescribed and used for the
treatment of a complex, chronic or rare condition; whether the
                                                                          HC-DFS859                                                    10-16
Medical Pharmaceutical has a high acquisition cost; and,
whether the Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or                 Therapeutic Equivalent
requires enhanced patient education, provider coordination or
                                                                          A Medical Pharmaceutical that is a pharmaceutical equivalent
clinical oversight. A Specialty Prescription Drug Product may
                                                                          to another Medical Pharmaceutical or over-the-counter
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that           medication.
a Medical Pharmaceutical will be considered a Specialty
Prescription Drug Product. Specialty Prescription Drug                    HC-DFS860                                                    10-16
Products may vary by Plan benefit assignment based on                     Tiered Benefits
factors such as method or site of clinical administration , or
utilization management requirements based on factors such as              This Plan includes tiered benefits for certain covered services
acquisition cost. You may determine whether a medication is a             identified in The Schedule rendered by Participating
Specialty Prescription Drug Product through the website                   Providers. Under tiered benefits, you pay a lower Copayment
shown on your ID card or by calling Member                                or Coinsurance level for certain covered services rendered by
Services/Customer Service at the telephone number on your                 Tier 1-identified Participating Providers than if you receive
ID card.                                                                  the same covered services from a Participating Provider that is
                                                                          not identified by Cigna as a Tier 1 Participating Provider.
                                                                          Cigna identifies Participating Providers as “Tier 1” based on
HC-DFS858                                                    10-16
                                                                          consideration of criteria used to measure cost-efficiency and
                                                                          quality and consideration of other factors, including, but not
Stabilize                                                                 limited to, local market need.
Stabilize means, with respect to an Emergency Medical                     Refer to The Schedule to identify the covered services that are
Condition, to provide medical treatment as necessary to assure            subject to tiered benefits. In order to receive a higher level of
that no material deterioration of the condition is likely if the          In-Network benefits for covered services identified in The
                                                                          Schedule as subject to a tiered benefit, you should also verify
                                                                          that your Primary Care Physician or, as applicable, Specialist
                                                                          has been designated by Cigna as a Tier 1 Participating
                                                                          Provider. Participating Provider tier designations are assessed


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and may change annually. You can access a list of all
Participating Providers by visiting www.cigna.com; or                    Other Third Party Administrators
mycigna.com; or by calling the toll-free telephone number on
your ID card. Tier 1 Participating Providers are specifically
identified in this listing.                                              COBRA Administration - BenefitConnect
                                                                         BenefitConnect | COBRA
                                                                         DEPT: COBRA
HC-DFS1197                                                  01-19
                                                                         P.O. Box 981915
                                                                         El Paso, TX 79998
Urgent Care                                                              1-877-29COBRA (26272) (858-314-5108 International only)
                                                                         https://cobra.ehr.com
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,              EAP – Resources for Living
but which are determined by Cigna, in accordance with
                                                                         www.resourcesforliving.com/amazon
generally accepted medical standards, to have been necessary
                                                                         1-833-721-2323
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
                                                                         Eligibility – Amazon’s My HR Live Support
leaving the immediate area where you ordinarily receive
                                                                         https://atoz.amazon.work/myhr
and/or were scheduled to receive services. Such care includes,           1-800-621-8041
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
                                                                         Assisted Reproduction Benefits – Progyny
that the insured should not travel due to any medical
                                                                         progyny.com/find-a-provider
condition.                                                               1-855-369-3343

HC-DFS34                                                    04-10
                                                              V1         HC-DFS34                                            04-10
                                                                                                                               V1




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                    Exhibit 13
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  Entegris, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS




  EFFECTIVE DATE: January 1, 2024




   ASO19
   3342187




   This document printed in April, 2024 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY ENTEGRIS, INC. WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                        Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                          •   You, your dependent or an attending Physician can request
Special Plan Provisions                                                       Case Management services by calling the toll-free number
                                                                              shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                          •   The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                            •   You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of             •   Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                           •   The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care            •   The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,               •   Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1

appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Notices
details regarding any such arrangements.
                                                                         Important Information
                                                                         Rebates and Other Payments
HC-SPP3                                                     04-10
                                                                V1       Cigna or its affiliates may receive rebates or other
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
Incentives to Participating Providers
                                                                         under your plan. These rebates or remuneration are not
Cigna continuously develops programs to help our customers               obtained on you or your Employer’s or plan’s behalf or for
access quality, cost-effective health care. Some programs                your benefit.
include Participating Providers receiving financial incentives
                                                                         Cigna, its affiliates and the plan are not obligated to pass these
from Cigna for providing care to members in a way that meets
                                                                         rebates on to you, or apply them to your plan’s Deductible if
or exceeds certain quality and/or cost-efficiency standards,
                                                                         any or take them into account in determining your
when, in the Participating Provider’s professional judgment, it
                                                                         Copayments and/or Coinsurance. Cigna and its affiliates or
is appropriate to do so within the applicable standard of care.
                                                                         designees, conduct business with various pharmaceutical
For example, some Participating Providers could receive
                                                                         manufacturers separate and apart from this plan’s Medical
financial incentives for prescribing lower-cost prescription
                                                                         Pharmaceutical benefits. Such business may include, but is not
drugs to manage certain conditions, utilizing or referring you
                                                                         limited to, data collection, consulting, educational grants and
to alternative sites of care as determined by your plan rather
                                                                         research. Amounts received from pharmaceutical
than in a more expensive setting, or achieving particular
                                                                         manufacturers pursuant to such arrangements are not related to
outcomes for certain health conditions. Participating Providers
                                                                         this plan. Cigna and its affiliates are not required to pass on to
may also receive purchasing discounts when purchasing
                                                                         you, and do not pass on to you, such amounts.
certain prescription drugs from Cigna affiliates. Such
programs can help make you healthier, decrease your health               Coupons, Incentives and Other Communications
care costs, or both. These programs are not intended to affect           At various times, Cigna or its designee may send mailings to
your access to the health care that you need. We encourage               you or your Dependents or to your Physician that
you to talk to your Participating Provider if you have                   communicate a variety of messages, including information
questions about whether they receive financial incentives from           about Medical Pharmaceuticals. These mailings may contain
Cigna and whether those incentives apply to your care.                   coupons or offers from pharmaceutical manufacturers that
                                                                         enable you or your Dependents, at your discretion, to purchase
                                                                         the described Medical Pharmaceutical at a discount or to
HC-SPP85                                                    01-24
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
                                                                         for and/or provide the content for these mailings. Cigna, its
Care Management and Care Coordination Services                           affiliates and the plan are not responsible in any way for any
Your plan may enter into specific collaborative arrangements             decision you make in connection with any coupon, incentive,
with health care professionals committed to improving quality            or other offer you may receive from a pharmaceutical
care, patient satisfaction and affordability. Through these              manufacturer or Physician.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health               HC-IMP331                                                     12-22

care professionals in these collaborative arrangements.
                                                                         Discrimination is Against the Law
HC-SPP27                                                    06-15        Cigna complies with applicable Federal civil rights laws and
                                                                V1       does not discriminate on the basis of race, color, national
                                                                         origin, age, disability or sex. Cigna does not exclude people or
                                                                         treat them differently because of race, color, national origin,
                                                                         age, disability or sex.




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Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
•   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
    • Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
    • Written information in other formats (large print, audio,
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
•   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                           khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
    • Qualified interpreters
    • Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
                                                                           가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,               (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                           ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Cigna                                                                  kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Nondiscrimination Complaint Coordinator
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
                                                                           плане Cigna, позвоните по номеру, указанному на
If you need assistance filing a written grievance, please call             обратной стороне вашей идентификационной карточки
the number on the back of your ID card or send an email to                 участника плана. Если вы не являетесь участником одного
ACAGrievance@cigna.com. You can also file a civil rights                   из наших планов, позвоните по номеру 1.800.244.6224
complaint with the U.S. Department of Health and Human                     (TTY: 711).
Services, Office for Civil Rights electronically through the
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
    1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                           (TTY: Rele 711).
Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.                             French – ATTENTION: Des services d’aide linguistique vous
                                                                           sont proposés gratuitement. Si vous êtes un client actuel de
                                                                           Cigna, veuillez appeler le numéro indiqué au verso de votre
HC-NOT96                                                       07-17       carte d’identité. Sinon, veuillez appeler le numéro
                                                                           1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services                                Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                           assistência linguística, totalmente gratuitos. Para clientes
English – ATTENTION: Language assistance services, free
                                                                           Cigna atuais, ligue para o número que se encontra no verso do
of charge, are available to you. For current Cigna customers,
                                                                           seu cartão de identificação. Caso contrário, ligue para
call the number on the back of your ID card. Otherwise, call
                                                                           1.800.244.6224 (Dispositivos TTY: marque 711).
1.800.244.6224 (TTY: Dial 711).
                                                                           Polish – UWAGA: w celu skorzystania z dostępnej,
Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                           bezpłatnej pomocy językowej, obecni klienci firmy Cigna
idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           mogą dzwonić pod numer podany na odwrocie karty
Cigna, llame al número que figura en el reverso de su tarjeta


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identyfikacyjnej. Wszystkie inne osoby prosimy o                         Subject to change based on government guidance for CAA
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                 Section 204, Cigna will submit certain prescription drug and
Japanese –                                                               health care spending information to HHS through Plan Lists
注意事項：日本語を話される場合、無料の言語支援サー                                                Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
                                                                         Employer without an integrated pharmacy product aggregated
ビスをご利用いただけます。現在のCignaの
                                                                         at the market segment and state level, as outlined in guidance.
お客様は、IDカード裏面の電話番号まで、お電話にてご
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                     HC-IMP353                                                    01-24


Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,            Federal CAA - Consolidated Appropriations Act
chiamare il numero sul retro della tessera di identificazione.           Continuity of Care
In caso contrario, chiamare il numero 1.800.244.6224 (utenti
                                                                         In certain circumstances, if you are receiving continued care
TTY: chiamare il numero 711).
                                                                         from an In-Network provider or facility, and that provider’s
German – ACHTUNG: Die Leistungen der                                     network status changes from In-Network to Out-of-Network,
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                you may be eligible to continue to receive care from the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             provider at the In-Network cost-sharing amount for up to 90
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 days from the date you are notified of your provider’s
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 termination. A continuing care patient is an individual who is:
Sie 711).
                                                                         •   Undergoing treatment for a serious and complex condition
                                                                         •   Pregnant and undergoing treatment for the pregnancy
                                                                         •   Receiving inpatient care
                                                                         •   Scheduled to undergo urgent or emergent surgery, including
                                                                             postoperative
                                                                         •   Terminally ill (having a life expectancy of 6 months or less)
                                                                             and receiving treatment from the provider for the illness
                                                                         If applicable, Cigna will notify you of your continuity of care
HC-NOT97                                                    07-17
                                                                         options.
                                                                         Appeals
Federal CAA - Consolidated Appropriations Act and TIC                    Any external review process available under the plan will
- Transparency in Coverage Notice                                        apply to any adverse determination regarding claims subject to
Cigna will make available an internet-based self-service tool            the No Surprises Act.
for use by individual customers, as well as certain data in              Provider Directories and Provider Networks
machine-readable file format on a public website, as required
under the Transparency in Coverage rule. Customers can                   A list of network providers is available to you, without charge,
access the cost estimator tool on myCigna.com. Updated                   by visiting the website or calling the phone number on your ID
machine-readable files can be found on Cigna.com and/or                  card. The network consists of providers, including Hospitals,
CignaForEmployers.com on a monthly basis.                                of varied specialties as well as generic practice, affiliated or
                                                                         contracted with Cigna or an organization contracting on its
Pursuant to Consolidated Appropriations Act (CAA), Section               behalf.
106, Cigna will submit certain air ambulance claim
information to the Department of Health and Human Services               Provider directory content is verified and updated, and
(HHS) in accordance with guidance issued by HHS.                         processes are established for responding to provider network
                                                                         status inquiries, in accordance with applicable requirements of
                                                                         the No Surprises Act.
                                                                         If you rely on a provider’s In-Network status in the provider
                                                                         directory or by contacting Cigna at the website or phone
                                                                         number on your ID card to receive covered services from that
                                                                         provider, and that network status is incorrect, then your plan
                                                                         cannot impose Out-of-Network cost shares to that covered



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service. In-Network cost share must be applied as if the                   cost thousands of dollars depending on the procedure or
covered service were provided by an In-Network provider.                   service.
Direct Access to Obstetricians and Gynecologists                           You are protected from balance billing for:
You do not need prior authorization from the plan or from any              •   Emergency Services – If you have an Emergency Medical
other person (including a primary care provider) in order to                   Condition and get Emergency Services from an Out-of-
obtain access to obstetrical or gynecological care from a health               Network provider or facility, the most they can bill you is
care professional in our network who specializes in obstetrics                 your plan’s In-Network cost-sharing amount (such as a
or gynecology. The health care professional, however, may be                   Copayments, Coinsurance, and Deductibles). You cannot be
required to comply with certain procedures, including                          balanced billed for these Emergency Services. This includes
obtaining prior authorization for certain services, following a                services you may get after you are in stable condition,
pre-approved treatment plan, or procedures for making                          unless you give written consent and give up your
referrals. For a list of participating health care professionals               protections not to be balanced billed for these post-
who specialize in obstetrics or gynecology, access the website                 stabilization services.
or call the phone number on your ID card.                                  •   Certain non-emergency services at an In-Network
Selection of a Primary Care Provider                                           Hospital or ambulatory surgical center – When you get
This plan generally allows the designation of a primary care                   services from an In-Network Hospital or ambulatory
provider. You have the right to designate any primary care                     surgical center, certain providers there may be Out-of-
provider who participates in the network and who is available                  Network. In these cases, the most those providers can bill
to accept you or your family members. For children, you may                    you is your plan’s In-Network cost sharing amount. This
designate a pediatrician as the primary care provider. For                     applies to emergency medicine, anesthesia, pathology,
information on how to select a primary care provider, and for                  radiology, laboratory, neonatology, assistant surgeon,
a list of the participating primary care providers, access the                 hospitalist, or intensivist services. These providers cannot
website or call the phone number on your ID card.                              balance bill you and may not ask you to give up your
                                                                               protections not to be balanced billed.
Your Rights and Protections Against Surprise Medical
Bills                                                                      If you get other types of services at these In-Network
                                                                           facilities, Out-of-Network providers cannot balance bill you,
When you get emergency care or are treated by an Out-of-                   unless you give written consent and give up your protections.
Network provider at an In-Network Hospital or ambulatory
surgical center, you are protected from balance billing. In                You are never required to give up your protections from
these situations, you should not be charged more than your                 balance billing. You also are not required to get Out-of-
plan’s Copayments, Coinsurance, and/or Deductible.                         Network care. You can choose a provider or facility in
                                                                           your plan’s network.
What is “balance billing” (sometimes called “surprise
billing”)?                                                                 When balance billing is not allowed, you have these
                                                                           protections:
When you see a doctor or other health care provider, you may
owe certain out-of-pocket costs, such as a Copayment,                      •   You are only responsible for paying your share of the cost
Coinsurance, and/or Deductible. You may have additional                        (such as Copayments, Coinsurance, and Deductibles that
costs or have to pay the entire bill if you see a provider or visit            you would pay if the provider were In-Network). Your
a health care facility that is not in your health plan’s network.              health plan will pay any additional costs to Out-of-Network
                                                                               providers and facilities directly.
“Out-of-Network” means providers and facilities that have not
signed a contract with your health plan to provide services.               •   Generally, your health plan must:
Out-of-Network providers may be allowed to bill you for the                    • Cover Emergency Services without requiring you to get
difference between what your plan pays and the full amount                       approval in advance for services (also known as prior
charged for a service. This is called “balance billing”. This                    authorization).
amount is likely more than In-Network costs for the same                       • Cover Emergency Services provided by Out-of-Network
service and might not count toward your plan’s Deductible or                     providers.
annual out-of-pocket limit.
                                                                               • Base what you owe the provider or facility (cost sharing)
“Surprise billing” is an unexpected balance bill. This can                       on what it would pay an In-Network provider or facility
happen when you cannot control who is involved in your care                      and show that amount in your explanation of benefits
– such as when you have an emergency or when you schedule                        (EOB).
a visit at an In-Network facility but are unexpectedly treated
by an Out-of-Network provider. Surprise medical bills could



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    • Count any amount you pay for Emergency Services or                  and pharmacy coverage (whether or not your plan includes
      Out-of-Network services toward your In-Network                      pharmacy coverage).
      Deductible and out-of-pocket limit.
If you think you have been wrongly billed, contact Cigna at               HC-NOT113                                                    12-22
the phone number on your ID card. You can also contact No                                                                                V1
Surprises Help Desk at 1-800-985-3059 or
www.cms.gov/nosurprises for more information about your
rights under federal law.
                                                                          How To File Your Claim
HC-IMP326                                                    01-24
                                                                          There’s no paperwork for In-Network care. Just show your
                                                                          identification card and pay your share of the cost, if any; your
                                                                          provider will submit a claim to Cigna for reimbursement. Out-
Mental Health Parity and Addiction Equity Act of 2008                     of-Network claims can be submitted by the provider if the
(MHPAEA) - Non-Quantitative Treatment Limitations                         provider is able and willing to file on your behalf. If the
(NQTLs)                                                                   provider is not submitting on your behalf, you must send your
Federal MHPAEA regulations provide that a plan cannot                     completed claim form and itemized bills to the claims address
impose a Non-Quantitative Treatment Limitation (NQTL) on                  listed on the claim form.
mental health or substance use disorder (MH/SUD) benefits in              You may get the required claim forms from the website listed
any classification unless the processes, strategies, evidentiary          on your identification card or by using the toll-free number on
standards, or other factors used in applying the NQTL to                  your identification card.
MH/SUD benefits are comparable to, and are applied no more                CLAIM REMINDERS
stringently than, those used in applying the NQTL to
                                                                          • BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits
as written and in operation under the terms of the plan.                    ACCOUNT/GROUP NUMBER WHEN YOU FILE
                                                                            CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include (to                  YOUR CIGNA CLAIM OFFICE.
the extent applicable under the plan):
                                                                              YOUR MEMBER ID IS THE ID SHOWN ON YOUR
•   medical management standards limiting or excluding                        BENEFIT IDENTIFICATION CARD.
    benefits based on Medical Necessity or whether the
    treatment is experimental or investigative;                               YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
                                                                              YOUR BENEFIT IDENTIFICATION CARD.
•   prescription drug formulary design;
                                                                          •   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
•   network admission standards;                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
•   methods for determining In-Network and Out-of-Network                     WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;                                         Timely Filing of Out-of-Network Claims
•   step therapy a/k/a fail-first requirements; and                       Cigna will consider claims for coverage under our plans when
•   exclusions and/or restrictions based on geographic location,          proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                  of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                       rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                 Confinement, the limit will be counted from the last date of
benefits is available for review by Plan Administrators (e.g.             service. If claims are not submitted within 180 days for Out-
Employers) and covered persons:                                           of-Network benefits, the claim will not be considered valid
                                                                          and will be denied.
    Employers (Plan Administrators):
    Please contact your Cigna Sales Representative to request             WARNING: Any person who knowingly and with intent to
    the NQTL comparative analysis.                                        defraud any insurance company or other person files an
    Covered Persons: www.cigna.com\sp                                     application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
To determine which document applies to your plan, select the              misleading, information concerning any material fact thereto,
relevant health plan product; medical management model                    commits a fraudulent insurance act.
(inpatient only or inpatient and outpatient) which can be
located in this booklet immediately following The Schedule;
                                                                          HC-CLM25                                                     01-11
                                                                                                                                        V11




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                                                                          Dependent Insurance
                                                                          For your Dependents to be insured, you will have to pay the
Eligibility - Effective Date                                              required contribution, if any, toward the cost of Dependent
                                                                          Insurance.
Employee Insurance                                                        Effective Date of Dependent Insurance
This plan is offered to you as an Employee.                               Insurance for your Dependents will become effective on the
Eligibility for Employee Insurance                                        date you elect it by signing an approved payroll deduction
                                                                          form (if required), but no earlier than the day you become
You will become eligible for insurance on the day you
                                                                          eligible for Dependent Insurance. All of your Dependents as
complete the waiting period if:
                                                                          defined will be included.
•   you are in a Class of Eligible Employees; and
                                                                          Your Dependents will be insured only if you are insured.
•   you are an eligible, full-time Employee; and
                                                                          Late Entrant – Dependent
•   you normally work at least 30 hours a week; and
                                                                          You are a Late Entrant for Dependent Insurance if:
•   you pay any required contribution.
                                                                          •   you elect that insurance more than 30 days after you
If you were previously insured and your insurance ceased, you                 become eligible for it; or
must satisfy the Waiting Period to become insured again. If
                                                                          •   you again elect it after you cancel your payroll deduction (if
your insurance ceased because you were no longer employed
                                                                              required).
in a Class of Eligible Employees, you are not required to
satisfy any waiting period if you again become a member of a              Exception for Newborns
Class of Eligible Employees within one year after your                    Any Dependent child born while you are insured will become
insurance ceased.                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                       Insurance no later than 31 days after his birth. If you do not
                                                                          elect to insure your newborn child within such 31 days,
You will become eligible for Dependent Insurance on the later
                                                                          coverage for that child will end on the 31st day. No benefits
of:
                                                                          for expenses incurred beyond the 31st day will be payable.
•   the day you become eligible for yourself; or
•   the day you acquire your first Dependent.
                                                                          HC-ELG274                                                     01-19


Waiting Period
The first day of the month following date of hire.
                                                                          Important Information About Your
Classes of Eligible Employees
                                                                          Medical Plan
Each Employee as reported to the insurance company by your
Employer.                                                                 Details of your medical benefits are described on the
                                                                          following pages.
Effective Date of Employee Insurance
                                                                          Opportunity to Select a Primary Care Physician
You will become insured on the date you elect the insurance
by signing an approved payroll deduction or enrollment form,              This medical plan does not require that you select a Primary
as applicable, but no earlier than the date you become eligible.          Care Physician or obtain a referral from a Primary Care
                                                                          Physician in order to receive all benefits available to you
You will become insured on your first day of eligibility,                 under this medical plan. Notwithstanding, a Primary Care
following your election, if you are in Active Service on that             Physician may serve an important role in meeting your health
date, or if you are not in Active Service on that date due to             care needs by providing or arranging for medical care for you
your health status.                                                       and your Dependents. For this reason, we encourage the use of
Late Entrant - Employee                                                   Primary Care Physicians and provide you with the opportunity
You are a Late Entrant if:                                                to select a Primary Care Physician from a list provided by
                                                                          Cigna for yourself and your Dependents. If you choose to
•   you elect the insurance more than 30 days after you become
                                                                          select a Primary Care Physician, the Primary Care Physician
    eligible; or
                                                                          you select for yourself may be different from the Primary Care
•   you again elect it after you cancel your payroll deduction (if        Physician you select for each of your Dependents. If you need
    required).                                                            assistance selecting your Primary Care Physician, please visit



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our website at www.cigna.com or call the number on the back
of your ID Card.
The Primary Care Physician's role is to provide or arrange for
medical care for you and any of your Dependents.
You and your Dependents are allowed direct access to
Participating Physicians for covered services. Even if you
select a Primary Care Physician, there is no requirement to
obtain an authorization of care from your Primary Care
Physician for visits to the Participating Physician of your
choice, including Participating Specialist Physicians, for
covered services.
Changing Primary Care Physicians
You may request a transfer from one Primary Care Physician
to another by visiting our website at www.cigna.com or
calling the number on the back of your ID Card. Any such
transfer will be effective on the first day of the month
following the month in which the processing of the change
request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.
Direct Access For Mental Health and Substance Use
Disorder Services
You are allowed direct access to a licensed/certified
Participating Provider for covered Mental Health and
Substance Use Disorder Services. There is no requirement to
obtain an authorization of care from your Primary Care
Physician for individual or group therapy visits to the
Participating Provider of your choice for Mental Health and
Substance Use Disorder.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents

Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Important Notice on Mental Health and Substance Use Disorder Coverage
Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition will be
payable according to the Mental Health and Substance Use Disorder sections of The Schedule.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
• Coinsurance.
• Plan Deductible.
• Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
• Non-compliance penalties.
• Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
   Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air ambulance services rendered by an
   Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by
   applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses          85%                                      70%
the Plan Pays
See Definitions section for an
explanation of Maximum Reimbursable
Charge.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $500 per person                  $1,000 per person
  Family Maximum                          $1,500 per family                $3,000 per family
 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                              $2,000 per person                $4,000 per person
  Family Maximum                          $6,000 per family                $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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       BENEFIT HIGHLIGHTS                          IN-NETWORK                       OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                      Maximum Reimbursable Charge
  Specialty Care Physician’s Office      $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                      Maximum Reimbursable Charge
     Consultant and Referral
     Physician’s Services
       Note:
       OB/GYN providers will be
       considered either as a PCP or
       Specialist, depending on how
       the provider contracts with
       Cigna on an In-Network basis.
       Out-of-Network OB/GYN
       providers will be considered a
       Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               $20 per visit copay, then 100%      Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Specialty Care Physician             $40 per visit copay, then 100%      Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      $20 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge

    Specialty Care Physician’s Office    $40 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      $20 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
    Specialty Care Physician’s Office    $40 per visit copay, then 100%      Plan deductible, then 70% of the
    Visit                                                                    Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               100%                                Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
    Specialty Care Physician             100%                                Plan deductible, then 70% of the
                                                                             Maximum Reimbursable Charge
Convenience Care Clinic                  $20 per visit copay, then 100%      Plan deductible, then 70% of the
(includes any related lab and x-ray                                          Maximum Reimbursable Charge
services
.        and surgery)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
• Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
• MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
• Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
  MDLIVE Urgent Care Services             $20 per visit copay, then 100%      In-Network coverage only


  MDLIVE Primary Care Services            $20 per visit copay, then 100%      In-Network coverage only


  MDLIVE Specialty Care Services          $40 per visit copay, then 100%      In-Network coverage only


Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Primary Care Physician Virtual Office     $20 per visit copay, then 100%      Plan deductible, then 70% of the
Visit                                                                         Maximum Reimbursable Charge
Specialty Care Physician Virtual Office   $40 per visit copay, then 100%      Plan deductible, then 70% of the
.Visit                                                                        Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
 Immunizations - all ages
   Primary Care Physician’s Office       100%                                     Plan deductible, then 70% of the
   Visit                                                                          Maximum Reimbursable Charge
   Specialty Care Physician’s Office     100%                                     Plan deductible, then 70% of the
 . Visit                                                                          Maximum Reimbursable Charge
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       100%                                     Subject to the plan’s x-ray benefit &
  (i.e. “routine” services)                                                       lab benefit; based on place of service

  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit &    Subject to the plan’s x-ray benefit &
  “non-routine” services)                lab benefit; based on place of service   lab benefit; based on place of service

Inpatient Hospital – Facility Services   Plan deductible, then 85%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate           Limited to the ICU/CCU daily room
                                                                                  rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 85%                Plan deductible, then 70% of the
  Procedures Room, Treatment Room                                                 Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 85%                Plan deductible, then 70% of the
Visits/Consultations                                                              Maximum Reimbursable Charge

Inpatient Professional Services          Plan deductible, then 85%                Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Professional Services           Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient       $50 per visit copay, then 85%         Plan deductible, then 70% of the
  Facility                                                                       Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.

  Advanced Radiological Imaging (i.e.      $50 per visit copay, then 85%         Plan deductible, then 70% of the
  MRIs, MRAs, CAT Scans, PET                                                     Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit


Emergency Services
  Hospital Emergency Room                  $50 per visit copay (waived if        $50 per visit copay (waived if
  Includes Outpatient Professional         admitted), then 85%                   admitted), then 85%
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.
  Advanced Radiological Imaging (i.e.      $50 per visit copay (waived if        $50 per visit copay (waived if
  MRIs, MRAs, CAT Scans, PET               admitted), then 85%                   admitted), then 85%
  Scans etc.) billed by the facility as
  part of the ER visit


Air Ambulance                              Plan deductible, then 85%             Plan deductible, then 85%
Ambulance                                  Plan deductible, then 85%             Plan deductible, then 85% of the
                                                                                 Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 85%             Plan deductible, then 70% of the
Care Facilities                                                                  Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  120 days combined




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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services
  Primary Care Physician’s Office     $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                            Maximum Reimbursable Charge
  Independent Lab Facility            Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                            Maximum Reimbursable Charge
Radiology Services
  Primary Care Physician’s Office     $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                            Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                            Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                       OUT-OF-NETWORK
Outpatient Therapy Services
  Calendar Year Maximum:
  Unlimited
  Includes:
  Speech Therapy
  Pulmonary Rehab
  Cognitive Therapy

  Calendar Year Maximum:
  100 days for all therapies combined

  Includes:
  Physical Therapy
  Occupational Therapy


  Primary Care Physician’s Office       $20 per visit copay*, then 100%     Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office     $40 per visit copay*, then 100%     Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
                                        *Note:
                                        Outpatient Therapy Services copay
                                        applies, regardless of place of
  .                                     service, including the home.
Outpatient Cardiac Rehabilitation
 Calendar Year Maximum:
 36 days
  Primary Care Physician’s Office       $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office     $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge
Chiropractic Care
  Calendar Year Maximum:
  60 days
  Primary Care Physician’s Office       $20 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge

  Specialty Care Physician’s Office     $40 per visit copay, then 100%      Plan deductible, then 70% of the
  Visit                                                                     Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Primary Care Physician’s Office         $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge

Home Health Care Services
  Calendar Year Maximum:                  Plan deductible, then 85%             Plan deductible, then 70% of the
  Unlimited (includes outpatient                                                Maximum Reimbursable Charge
  private nursing when approved as
  Medically
  .
             Necessary)
Hospice
 Inpatient Services                       Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Services                     Plan deductible, then 85%             Plan deductible, then 70% of the
  (same coinsurance level as Home                                               Maximum Reimbursable Charge
  Health Care Services)
  .
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient                              Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Inpatient Facility                      Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Cigna Pathwell Specialty Medical        Cigna Pathwell Specialty Network      In-Network coverage only
  Pharmaceuticals                         provider:
                                          Plan deductible, then 85%
                                          Non-Cigna Pathwell Specialty
                                          Network Providers:
                                          Not Covered
  Other Medical Pharmaceuticals           Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge



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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Covered same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 85%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 85%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 85%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 85%               In-Network coverage only
  Travel Maximum:                           100% (available only for travel when    In-Network coverage only
  $10,000 per episode of gene therapy       prior authorized to receive gene
                                            therapy at a participating In-Network
                                            facility specifically contracted with
                                            Cigna to provide the specific gene
                                            therapy)
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.
  Advanced Cellular Therapy Product         Covered Same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 85%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 85%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 85%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 85%               In-Network coverage only
  Advanced Cellular Therapy Travel          100%                                    In-Network coverage only
  Maximum:
  $10,000 per episode of advanced
  cellular therapy
  (Available only for travel when prior
  authorized to receive advanced
  cellular therapy from a provider
  located more than 60 miles of your
  primary residence and is contracted
  with Cigna for the specific advanced
  cellular therapy product and related
  services.)



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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
   Primary Care Physician’s Office        $20 per visit copay, then 100%        Plan deductible, then 70% of the
   Visit                                                                        Maximum Reimbursable Charge
   Specialty Care Physician’s Office      $40 per visit copay, then 100%        Plan deductible, then 70% of the
   Visit                                                                        Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 85%             Plan deductible, then 70% of the
  Postnatal Visits and Physician’s                                              Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       $20 per visit copay, then 100%        Plan deductible, then 70% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     $40 per visit copay, then 100%        Plan deductible, then 70% of the
    Visit                                                                       Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 85%             Plan deductible, then 70% of the
  (Inpatient Hospital, Birthing Center)                                         Maximum Reimbursable Charge

Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office         $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 85%             Plan deductible, then 70% of the
   .                                                                            Maximum Reimbursable Charge



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      BENEFIT HIGHLIGHTS                         IN-NETWORK                    OUT-OF-NETWORK
Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
    Primary Care Physician                100%                          Plan deductible, then 70% of the
                                                                        Maximum Reimbursable Charge
    Specialty Care Physician              100%                          Plan deductible, then 70% of the
                                                                        Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Primary Care Physician’s Office       100%                          Plan deductible, then 70% of the
    Visit                                                               Maximum Reimbursable Charge
    Specialty Care Physician’s Office     100%                          Plan deductible, then 70% of the
    Visit                                                               Maximum Reimbursable Charge
    Inpatient Facility                    100%                          Plan deductible, then 70% of the
                                                                        Maximum Reimbursable Charge
    Outpatient Facility                   100%                          Plan deductible, then 70% of the
                                                                        Maximum Reimbursable Charge
    Inpatient Professional Services       100%                          Plan deductible, then 70% of the
                                                                        Maximum Reimbursable Charge
    Outpatient Professional Services      100%                          Plan deductible, then 70% of the
    .                                                                   Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
    Primary Care Physician                $20 per visit copay, then 100%        Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
    Specialty Care Physician              $40 per visit copay, then 100%        Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Primary Care Physician’s Office       $20 per visit copay, then 100%        Plan deductible, then 70% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     $40 per visit copay, then 100%        Plan deductible, then 70% of the
    Visit                                                                       Maximum Reimbursable Charge
    Inpatient Facility                    Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
    Outpatient Facility                   Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
    Inpatient Professional Services       Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                Maximum Reimbursable Charge
    Outpatient Professional Services      Plan deductible, then 85%             Plan deductible, then 70% of the
    .                                                                           Maximum Reimbursable Charge




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          BENEFIT HIGHLIGHTS                             IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
    • Testing and treatment services performed in connection with an underlying medical condition.
    • Testing performed specifically to determine the cause of infertility.
    • Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
      condition).
    • Treatment and/or procedures performed to enable conception with or without an infertility condition.
    • Artificial Insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
    • Fertility preservation when an infertility condition is imminent.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
        Primary Care Physician                $20 per visit copay, then 100%             Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
        Specialty Care Physician              $40 per visit copay, then 100%             Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Facility                        Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Facility                       Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Professional Services           Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Professional Services          Plan deductible, then 85%                  Plan deductible, then 70% of the
                                                                                         Maximum Reimbursable Charge
    Cryopreserved Reproductive
    Material Storage Maximum:
    Unlimited

    Lifetime Maximum:
    Unlimited
    Includes all related services billed
    with an infertility diagnosis (i.e. x-
    ray or lab services billed by an
    independent facility).
    .




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          $20 per visit copay, then 100%        In-Network coverage only
  Visit
  Specialty Care Physician’s Office        $40 per visit copay, then 100%        In-Network coverage only
  Visit
  Inpatient Facility                       100% at LifeSOURCE center,            In-Network coverage only
                                           otherwise plan deductible, then 85%
  Inpatient Professional Services          100% at LifeSOURCE center,            In-Network coverage only
                                           otherwise plan deductible, then 85%
  Lifetime Travel Maximum:                 100% (only available when using       In-Network coverage only
  $10,000 per transplant                   LifeSOURCE facility)
  .
Durable Medical Equipment                  Plan deductible, then 85%             Plan deductible, then 70% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited
Outpatient Dialysis Services
  Primary Care Physician’s Office          $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                          Maximum Reimbursable Charge
  Outpatient Facility Services             Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge

  Outpatient Professional Services         Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
  Home Setting                             Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                 Maximum Reimbursable Charge
Breast Feeding Equipment and               100%                                  Plan deductible, then 70% of the
Supplies                                                                         Maximum Reimbursable Charge
  Note:
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.
External Prosthetic Appliances             Plan deductible, then 85%             Plan deductible, then 70% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Primary Care Physician’s Office           $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office         $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                           Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 85%             Plan deductible, then 70% of the
  .                                                                               Maximum Reimbursable Charge
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office           $20 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office         $40 per visit copay, then 100%        Plan deductible, then 70% of the
  Visit                                                                           Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 85%             Plan deductible, then 70% of the
  .                                                                               Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
for an Injury to teeth.
  Primary Care Physician’s Office          $20 per visit copay, then 100%            Plan deductible, then 70% of the
  Visit                                                                              Maximum Reimbursable Charge
  Specialty Care Physician’s Office        $40 per visit copay, then 100%            Plan deductible, then 70% of the
  Visit                                                                              Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Facility                      Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Inpatient Professional Services          Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 85%                 Plan deductible, then 70% of the
                                                                                     Maximum Reimbursable Charge
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Primary Care Physician’s Office          $20 per visit copay, then 100%            In-Network coverage only
  Visit
  Specialty Care Physician’s Office        $40 per visit copay, then 100%            In-Network coverage only
  Visit
  Inpatient Facility                       Plan deductible, then 85%                 In-Network coverage only
  Outpatient Facility                      Plan deductible, then 85%                 In-Network coverage only
  Inpatient Professional Services          Plan deductible, then 85%                 In-Network coverage only
   Outpatient Professional Services        Plan deductible, then 85%                 In-Network coverage only
 .
Hearing Aids                               Plan deductible, then 85%                 Plan deductible, then 70% of the
Note: Maximum of 2 devices per 24                                                    Maximum Reimbursable Charge
months Includes testing and fitting of
hearing aid devices at Physician Office
Visit cost share

Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.




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        BENEFIT HIGHLIGHTS                            IN-NETWORK                             OUT-OF-NETWORK
Travel Services
Authorized travel and lodging expenses for designated covered services administered at an In-Network facility/provider
when an In-Network facility/provider is not available within a 60-mile radius of your primary home residence not subject
to any plan deductible.
The following designated services are covered by your plan and may be eligible for this travel benefit:
•   all Medical and Mental Health and Substance Use Disorder services.
Lifetime Maximum for Travel and Lodging Expenses for Designated Services Combined
Note:
Does not include other services with separate travel and lodging dollar maximum(s) as noted in The Schedule.
Medical Benefit services other than Mental Health and Substance Use Disorder services: $10,000
Mental
.      Health and Substance Use Disorder services: Unlimited
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
   Inpatient                                 Plan deductible, then 85%                 Plan deductible, then 70% of the
     Includes Acute Inpatient and                                                      Maximum Reimbursable Charge
     Residential Treatment

     Calendar Year Maximum:
     Unlimited
    Outpatient
      Outpatient - Office Visits            $20 per visit copay, then 100%           Plan deductible, then 70% of the
      Includes individual, family and                                                Maximum Reimbursable Charge
      group psychotherapy; medication
      management, virtual care, etc.

      Calendar Year Maximum:
      Unlimited
      Dedicated Virtual Providers           $20 per visit copay, then 100%           In-Network coverage only
      MDLIVE Behavioral Services
      Outpatient - All Other Services       Plan deductible, then 85%                Plan deductible, then 70% of the
      Includes Partial Hospitalization,                                              Maximum Reimbursable Charge
      Intensive Outpatient Services,
      virtual care, etc.

      Calendar Year Maximum:
      Unlimited




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             Plan deductible, then 85%             Plan deductible, then 70% of the
    Includes Acute Inpatient                                                  Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
    Outpatient - Office Visits          $20 per visit copay, then 100%        Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         $20 per visit copay, then 100%        In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 85%             Plan deductible, then 70% of the
                                                                              Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
•   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
•   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $750 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $750 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed             •   Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
•   Hospital charges for Room and Board, for treatment listed           •   Home Health Care Services.
    above for which PAC was performed, which are made for               •   Medical Pharmaceuticals.
    any day in excess of the number of days certified through           •   Radiation Therapy.
    PAC or CSR; and
•   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify          •   inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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•   inpatient services at any participating Other Health Care                •   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
•   residential treatment.                                                   •   charges for Emergency Services.
•   outpatient facility services.                                            •   charges for Urgent Care.
•   partial hospitalization.                                                 •   charges by a Physician or a Psychologist for professional
•   advanced radiological imaging.                                               services.
•   non-emergency Ambulance.                                                 •   charges by a Nurse for professional nursing service.
•   certain Medical Pharmaceuticals.                                         •   charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
•   home health care services.
                                                                             •   charges for diagnostic x-ray.
•   radiation therapy.
                                                                             •   charges for advanced radiological imaging, including for
•   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA55                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V1             therapeutic radiological procedures.
                                                                             •   charges for chemotherapy.
                                                                             •   charges for blood transfusions.
Covered Expenses                                                             •   charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                       •   charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:
                                                                             •   charges for screening prostate-specific antigen (PSA)
•   preventive care services; and                                                testing.
•   services or supplies that are Medically Necessary for the                •   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.
                                                                             •   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                             •   charges for the following preventive care services as
•   charges for inpatient Room and Board and other Necessary                     defined by recommendations from the following:
    Services and Supplies made by a Hospital, subject to the                     • the U.S. Preventive Services Task Force (A and B
    limits as shown in The Schedule.                                               recommendations);
•   charges for inpatient Room and Board and other Necessary                     • the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a
                                                                                 • the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in
    The Schedule.                                                                  Schedule of the Bright Futures Recommendations for
                                                                                   Pediatric Preventive Health Care;
•   charges for licensed Ambulance service to the nearest
                                                                                 • the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can
    be provided.                                                                   on Heritable Disorders in Newborns and Children; and
                                                                                 • with respect to women, evidence-informed preventive
•   charges for outpatient medical care and treatment received
    at a Hospital.                                                                 care and screening guidelines supported by the Health
                                                                                   Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Coverage includes medically approved formulas prescribed by
    For additional information on immunizations, visit the               a Physician for treatment of inborn errors of metabolism (e.g.,
    immunization schedule section of www.cdc.gov.                        disorders of amino acid or organic acid metabolism).
•   charges for surgical and non-surgical treatment of                   Internal Prosthetic/Medical Appliances
    Temporomandibular Joint Dysfunction (TMJ).                           Charges for internal prosthetic/medical appliances that provide
•   charges for acupuncture.                                             permanent or temporary internal functional supports for non-
•   charges for hearing aids and associated exam for device              functional body parts are covered. Medically Necessary repair,
    testing and fitting, including but not limited to semi-              maintenance or replacement of a covered appliance is also
    implantable hearing devices, audiant bone conductors and             covered.
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    any device that amplifies sound.                                     HC-COV1122                                                      01-23
•   Medically Necessary orthognathic surgery to repair or                                                                                  V1

    correct a severe facial deformity or disfigurement.
Virtual Care                                                             Home Health Care Services
Dedicated Virtual Providers                                              Charges for skilled care provided by certain health care
Includes charges for the delivery of real-time medical and               providers during a visit to the home, when the home is
health-related services, consultations and remote monitoring             determined to be a medically appropriate setting for the
by dedicated virtual providers as medically appropriate                  services. A visit is defined as a period of 2 hours or less.
through audio, video and secure internet-based technologies.             Home Health Care Services are subject to a maximum of 16
                                                                         hours in total per day.
Includes charges for the delivery of mental health and
substance use disorder-related services, consultations, and              Home Health Care Services are covered when skilled care is
remote monitoring by dedicated virtual providers as                      required under any of the following conditions:
appropriate through audio, video and secure internet-based               •   the required skilled care cannot be obtained in an outpatient
technologies.                                                                facility.
Virtual Physician Services                                               •   confinement in a Hospital or Other Health Care Facility is
Includes charges for the delivery of real-time medical and                   not required.
health-related services, consultations and remote monitoring             •   the patient’s home is determined by Cigna to be the most
as medically appropriate through audio, video and secure                     medically appropriate place to receive specific services.
internet-based technologies that are similar to office visit
                                                                         Covered services include:
services provided in a face-to-face setting.
                                                                         •   skilled nursing services provided by a Registered Nurse
Includes charges for the delivery of real-time mental health
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
and substance use disorder consultations and services, via
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
secure telecommunications technologies that shall include
                                                                             (APRN).
video capability, telephone and internet, when such
consultations and services are delivered by a behavioral                 •   services provided by health care providers such as physical
provider and are similar to office visit services provided in a              therapist, occupational therapist and speech therapist.
face-to-face setting.                                                    •   services of a home health aide when provided in direct
Convenience Care Clinic                                                      support of those nurses and health care providers.
Convenience Care Clinics provide for common ailments and                 •   necessary consumable medical supplies and home infusion
routine services, including but not limited to, strep throat, ear            therapy administered or used by a health care provider.
infections or pink eye, immunizations and flu shots.                     Note: Physical, occupational, and other Outpatient Therapy
Nutritional Counseling                                                   Services provided in the home are covered under the
                                                                         Outpatient Therapy Services benefit shown in The Schedule.
Charges for nutritional counseling when diet is a part of the
medical management of a medical or behavioral condition.                 The following are excluded from coverage:
Enteral Nutrition                                                        •   services provided by a person who is a member of the
                                                                             patient’s family, even when that person is a health care
Enteral Nutrition means medical foods that are specially
                                                                             provider.
formulated for enteral feedings or oral consumption.




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•   services provided by a person who normally resides in the                 The following charges for Hospice Care Services are not
    patient’s house, even when that person is a health care                   included as Covered Expenses:
    provider.                                                                 •   services of a person who is a member of your family or your
•   non-skilled care, Custodial Services, and assistance in the                   Dependent's family or who normally resides in your house
    activities of daily living, including but not limited to eating,              or your Dependent's house;
    bathing, dressing or other services; self-care activities;                •   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.
                                                                              •   services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent
upon others for non-skilled care and/or Custodial Services, is                •   to the extent that any other benefits are payable for those
provided only when there is a family member or caregiver                          expenses under the policy;
present in the home at the time of the health care visit to                   •   services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


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Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes.
those who have ceased treatment and to those continuing to                    Substance Use Disorder is defined as the psychological or
receive curative treatment and therapies.                                     physical dependence on alcohol or other mind-altering drugs
Hospice Care Programs rendered by Hospice Facilities or                       that requires diagnosis, care, and treatment.
Hospitals include services:                                                   Inpatient Mental Health Services
•   by a Hospice Facility for Room and Board and Services and                 Services that are provided by a Hospital while you or your
    Supplies;                                                                 Dependent are Confined in a Hospital for the treatment and
•   by a Hospice Facility for services provided on an outpatient              evaluation of Mental Health. Inpatient Mental Health Services
    basis;                                                                    include Mental Health Residential Treatment Services.
•   by a Physician for professional services;                                 Mental Health Residential Treatment Services are services
•   by a Psychologist, social worker, family counselor or                     provided by a Hospital for the evaluation and treatment of the
    ordained minister for individual and family counseling;                   psychological and social functional disturbances that are a
                                                                              result of subacute Mental Health conditions.
•   for pain relief treatment, including drugs, medicines and
    medical supplies;                                                         Mental Health Residential Treatment Center means an
                                                                              institution which specializes in the treatment of psychological
Hospice Care Programs rendered by Other Health Care                           and social disturbances that are the result of Mental Health
Facilities or in the Home include services:                                   conditions; provides a subacute, structured, psychotherapeutic
•   for part-time or intermittent nursing care by or under the                treatment program, under the supervision of Physicians;
    supervision of a Nurse;                                                   provides 24-hour care, in which a person lives in an open
•   for part-time or intermittent services of an Other Health                 setting; and is licensed in accordance with the laws of the
    Professional;                                                             appropriate legally authorized agency as a residential
                                                                              treatment center.
•   physical, occupational and speech therapy;
                                                                              A person is considered confined in a Mental Health
•   medical supplies;                                                         Residential Treatment Center when she/he is a registered bed
•   drugs and medicines lawfully dispensed only on the written                patient in a Mental Health Residential Treatment Center upon
    prescription of a Physician;                                              the recommendation of a Physician.
•   laboratory services;                                                      Outpatient Mental Health Services
    but only to the extent such charges would have been                       Services of Providers who are qualified to treat Mental Health
    payable under the policy if the person had remained or been               when treatment is provided on an outpatient basis, while you
    Confined in a Hospital or Hospice Facility.                               or your Dependent are not Confined in a Hospital, and is


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provided in an individual, group or Mental Health Partial              Outpatient Substance Use Disorder Rehabilitation Services
Hospitalization or Intensive Outpatient Therapy Program.               Services provided for the diagnosis and treatment of
Covered services include, but are not limited to, outpatient           Substance Use Disorder or addiction to alcohol and/or drugs,
treatment of conditions such as: anxiety or depression which           while you or your Dependent are not Confined in a Hospital,
interfere with daily functioning; emotional adjustment or              including outpatient rehabilitation in an individual, or a
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization or Intensive
depression; emotional reactions associated with marital                Outpatient Therapy Program.
problems or divorce; child/adolescent problems of conduct or
poor impulse control; affective disorders; suicidal or                 Substance Use Disorder Partial Hospitalization Services are
homicidal threats or acts; eating disorders; or acute                  rendered no less than 4 hours and not more than 12 hours in
exacerbation of chronic Mental Health conditions (crisis               any 24-hour period by a certified/licensed Substance Use
intervention and relapse prevention) and outpatient testing and        Disorder program in accordance with the laws of the
assessment.                                                            appropriate legally authorized agency.
Mental Health Partial Hospitalization Services are rendered            A Substance Use Disorder Intensive Outpatient Therapy
not less than 4 hours and not more than 12 hours in any 24-            Program consists of distinct levels or phases of treatment that
hour period by a certified/licensed Mental Health program in           are provided by a certified/licensed Substance Use Disorder
accordance with the laws of the appropriate legally authorized         program in accordance with the laws of the appropriate legally
agency.                                                                authorized agency. Intensive Outpatient Therapy Programs
                                                                       provide a combination of individual, family and/or group
A Mental Health Intensive Outpatient Therapy Program                   therapy in a day, totaling nine, or more hours in a week.
consists of distinct levels or phases of treatment that are
provided by a certified/licensed Mental Health program in              Substance Use Disorder Detoxification Services
accordance with the laws of the appropriate, legally authorized        Detoxification and related medical ancillary services are
agency. Intensive Outpatient Therapy Programs provide a                provided when required for the diagnosis and treatment of
combination of individual, family and/or group therapy in a            addiction to alcohol and/or drugs. Cigna will decide, based on
day, totaling nine or more hours in a week.                            the Medical Necessity of each situation, whether such services
Inpatient Substance Use Disorder Rehabilitation Services               will be provided in an inpatient or outpatient setting.
Services provided for rehabilitation, while you or your                Exclusions
Dependent are Confined in a Hospital, when required for the            The following are specifically excluded from Mental Health
diagnosis and treatment of abuse or addiction to alcohol and/or        and Substance Use Disorder Services:
drugs. Inpatient Substance Use Disorder Services include               •   counseling for activities of an educational nature.
Residential Treatment services.
                                                                       •   counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Services
are services provided by a Hospital for the evaluation and             •   counseling for occupational problems.
treatment of the psychological and social functional                   •   counseling related to consciousness raising.
disturbances that are a result of subacute Substance Use               •   vocational or religious counseling.
Disorder conditions.
                                                                       •   I.Q. testing.
Substance Use Disorder Residential Treatment Center
                                                                       •   custodial care, including but not limited to geriatric day
means an institution which specializes in the treatment of
                                                                           care.
psychological and social disturbances that are the result of
Substance Use Disorder; provides a subacute, structured,               •   psychological testing on children requested by or for a
psychotherapeutic treatment program, under the supervision of              school system.
Physicians; provides 24-hour care, in which a person lives in          •   occupational/recreational therapy programs even if
an open setting; and is licensed in accordance with the laws of            combined with supportive therapy for age-related cognitive
the appropriate legally authorized agency as a residential                 decline.
treatment center.
A person is considered confined in a Substance Use Disorder            HC-COV1409                                                       01-23
Residential Treatment Center when she/he is a registered bed
patient in a Substance Use Disorder Residential Treatment
Center upon the recommendation of a Physician.                         Durable Medical Equipment
                                                                       •   charges made for purchase or rental of Durable Medical
                                                                           Equipment that is ordered or prescribed by a Physician and


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    provided by a vendor approved by Cigna for use outside a                   Prostheses/Prosthetic Appliances and Devices
    Hospital or Other Health Care Facility. Coverage for repair,               Prostheses/prosthetic appliances and devices are defined as
    replacement or duplicate equipment is provided only when                   fabricated replacements for missing body parts.
    required due to anatomical change and/or reasonable wear                   Prostheses/prosthetic appliances and devices include, but are
    and tear. All maintenance and repairs that result from a                   not limited to:
    person’s misuse are the person’s responsibility.
                                                                               •   limb prostheses;
Durable Medical Equipment is defined as items which are
designed for and able to withstand repeated use by more than                   •   terminal devices such as hands or hooks;
one person; customarily serve a medical purpose; generally                     •   speech prostheses; and
are not useful in the absence of Injury or Sickness; are                       •   facial prostheses.
appropriate for use in the home; and are not disposable. Such
equipment includes, but is not limited to, crutches, hospital                  Orthoses and Orthotic Devices
beds, ventilators, insulin pumps and wheel chairs.                             Orthoses and orthotic devices are defined as orthopedic
Durable Medical Equipment items that are not covered include                   appliances or apparatuses used to support, align, prevent or
but are not limited to those that are listed below:                            correct deformities. Coverage is provided for custom foot
                                                                               orthoses and other orthoses as follows:
•   Bed Related Items: bed trays, over the bed tables, bed
    wedges, pillows, custom bedroom equipment, mattresses,                     •   Non-foot orthoses – only the following non-foot orthoses
    including nonpower mattresses, custom mattresses and                           are covered:
    posturepedic mattresses.                                                       • rigid and semi-rigid custom fabricated orthoses;

•   Bath Related Items: bath lifts, nonportable whirlpools,                        • semi-rigid prefabricated and flexible orthoses; and
    bathtub rails, toilet rails, raised toilet seats, bath benches,                • rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                       and basic additions, such as bars and joints.
    and spas.
                                                                               •   Custom foot orthoses – custom foot orthoses are only
•   Fixtures to Real Property: ceiling lifts and wheelchair                        covered as follows:
    ramps.
                                                                                   • for persons with impaired peripheral sensation and/or
•   Car/Van Modifications.                                                           altered peripheral circulation (e.g. diabetic neuropathy
•   Air Quality Items: room humidifiers, vaporizers and air                          and peripheral vascular disease);
    purifiers.                                                                     • when the foot orthosis is an integral part of a leg brace
•   Other Equipment: centrifuges, needleless injectors, heat                         and is necessary for the proper functioning of the brace;
    lamps, heating pads, cryounits, cryotherapy machines,                          • when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                         substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                         toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                     Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise
                                                                                   • for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.
                                                                                     (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                     spasticity, malalignment, or pathological positioning of
HC-COV1124                                                        02-21              the foot and there is reasonable expectation of
                                                                                     improvement.
External Prosthetic Appliances and Devices                                     The following are specifically excluded orthoses and orthotic
                                                                               devices:
•   charges made or ordered by a Physician for: the initial
    purchase and fitting of external prosthetic appliances and                 •   prefabricated foot orthoses;
    devices available only by prescription which are necessary                 •   cranial banding and/or cranial orthoses. Other similar
    for the alleviation or correction of Injury, Sickness or                       devices are excluded except when used postoperatively for
    congenital defect.                                                             synostotic plagiocephaly. When used for this indication, the
External prosthetic appliances and devices include                                 cranial orthosis will be subject to the limitations and
prostheses/prosthetic appliances and devices; orthoses and                         maximums of the External Prosthetic Appliances and
orthotic devices; braces; and splints.                                             Devices benefit;
                                                                               •   orthosis shoes, shoe additions, procedures for foot
                                                                                   orthopedic shoes, shoe modifications and transfers;



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•   non-foot orthoses primarily used for cosmetic rather than                      tests; sperm washing or preparation; artificial insemination;
    functional reasons; and                                                        diagnostic evaluations; gamete intrafallopian transfer
•   non-foot orthoses primarily for improved athletic                              (GIFT); in vitro fertilization (IVF); zygote intrafallopian
    performance or sports participation.                                           transfer (ZIFT); and the services of an embryologist.
Braces                                                                             Infertility is defined as:
A Brace is defined as an orthosis or orthopedic appliance that                     • the inability of opposite-sex partners to achieve
supports or holds in correct position any movable part of the                        conception after at least one year of unprotected
body and that allows for motion of that part.                                        intercourse;
The following braces are specifically excluded: Copes                              • the inability of opposite-sex partners to achieve
scoliosis braces.                                                                    conception after six months of unprotected intercourse,
                                                                                     when the female partner trying to conceive is age 35 or
Splints                                                                              older;
A Splint is defined as an appliance for preventing movement                        • the inability of a woman, with or without an opposite-sex
of a joint or for the fixation of displaced or movable parts.                        partner, to achieve conception after at least six trials of
Coverage for replacement of external prosthetic appliances                           medically supervised artificial insemination over a one-
and devices is limited to the following:                                             year period; and
•   replacement due to regular wear. Replacement for damage                        • the inability of a woman, with or without an opposite-sex
    due to abuse or misuse by the person will not be covered.                        partner, to achieve conception after at least three trials of
•   replacement required because anatomic change has rendered                        medically supervised artificial insemination over a six-
    the external prosthetic appliance or device ineffective.                         month period of time, when the female partner trying to
    Anatomic change includes significant weight gain or loss,                        conceive is age 35 or older.
    atrophy and/or growth.                                                     This benefit includes diagnosis and treatment of both male and
•   replacement due to a surgical alteration or revision of the                female infertility.
    impacted site.                                                             However, the following are specifically excluded infertility
Coverage for replacement is limited as follows:                                services:
•   no more than once every 24 months for persons 19 years of                  •   reversal of male and female voluntary sterilization;
    age and older.                                                             •   infertility services when the infertility is caused by or
•   no more than once every 12 months for persons 18 years of                      related to voluntary sterilization;
    age and under.                                                             •   donor charges and services;
The following are specifically excluded external prosthetic                    •   cryopreservation of donor sperm and eggs; and
appliances and devices:                                                        •   any experimental, investigational or unproven infertility
•   external and internal power enhancements for external                          procedures or therapies.
    prosthetic devices; or
•   microprocessor controlled prostheses and orthoses; and                     HC-COV734                                                       01-19
•   myoelectric prostheses and orthoses.
                                                                               Outpatient Therapy Services
HC-COV1125                                                        01-22
                                                                               Charges for the following therapy services:
                                                                    V1
                                                                               Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                               Manipulation, Physical Therapy, Pulmonary
Infertility Services                                                           Rehabilitation, Speech Therapy
•   charges made for services related to diagnosis of infertility              •   Charges for therapy services are covered when provided as
    and treatment of infertility once a condition of infertility has               part of a program of treatment.
    been diagnosed. Services include, but are not limited to:                  Cardiac Rehabilitation
    infertility drugs which are administered or provided by a
    Physician; approved surgeries and other therapeutic                        •   Charges for Phase II cardiac rehabilitation provided on an
    procedures that have been demonstrated in existing peer-                       outpatient basis following diagnosis of a qualifying cardiac
    reviewed, evidence-based, scientific literature to have a                      condition when Medically Necessary. Phase II is a Hospital-
    reasonable likelihood of resulting in pregnancy; laboratory                    based outpatient program following an inpatient Hospital


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    discharge. The Phase II program must be Physician directed              Coverage for occupational therapy is provided only for
    with active treatment and EKG monitoring.                               purposes of enabling individuals to perform the activities of
    Phase III and Phase IV cardiac rehabilitation is not covered.           daily living after an Injury or Sickness.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status        •   sensory integration therapy.
    achieved through Phases I and II. Phase IV is an
    advancement of Phase III which includes more active                     •   treatment of dyslexia.
    participation and weight training.                                      •   maintenance or preventive treatment provided to prevent
Chiropractic Care Services                                                      recurrence or to maintain the patient’s current status.
•   Charges for diagnostic and treatment services utilized in an            •   charges for Chiropractic Care not provided in an office
    office setting by chiropractic Physicians. Chiropractic                     setting.
    treatment includes the conservative management of acute                 •   vitamin therapy.
    neuromusculoskeletal conditions through manipulation and                Coverage is administered according to the following:
    ancillary physiological treatment rendered to specific joints
    to restore motion, reduce pain, and improve function. For               •   Multiple therapy services provided on the same day
    these services you have direct access to qualified                          constitute one day of service for each therapy type.
    chiropractic Physicians.                                                •   A separate Copayment applies to the services provided by
Coverage is provided when Medically Necessary in the most                       each provider for each therapy type per day.
medically appropriate setting to:
•   Restore function (called “rehabilitative”):                             HC-COV982                                                     01-21

    • To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
    • To reduce pain as a result of Sickness, Injury, or loss of a
      body part.                                                            •   charges made for reconstructive surgery following a
                                                                                mastectomy; benefits include: surgical services for
•   Improve, adapt or attain function (sometimes called
                                                                                reconstruction of the breast on which surgery was
    “habilitative”):
                                                                                performed; surgical services for reconstruction of the non-
    • To improve, adapt or attain function that has been                        diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                  postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                               prosthetics, limited to the lowest cost alternative available
    • To improve, adapt or attain function that has been                        that meets prosthetic placement needs. During all stages of
      impaired or was never achieved because of mental health                   mastectomy, treatment of physical complications, including
      and substance use disorder conditions. Includes                           lymphedema therapy, are covered.
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that
                                                                            •   charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.
                                                                                or correct a severe physical deformity or disfigurement
Coverage is provided as part of a program of treatment when                     which is accompanied by functional deficit; (other than
the following criteria are met:                                                 abnormalities of the jaw or conditions related to TMJ
•   The individual’s condition has the potential to improve or is               disorder) provided that: the surgery or therapy restores or
    improving in response to therapy, and maximum                               improves function; reconstruction is required as a result of
    improvement is yet to be attained.                                          Medically Necessary, non-cosmetic surgery; or the surgery
                                                                                or therapy is performed prior to age 19 and is required as a
•   There is an expectation that the anticipated improvement is
                                                                                result of the congenital absence or agenesis (lack of
    attainable in a reasonable and generally predictable period
                                                                                formation or development) of a body part. Repeat or
    of time.
                                                                                subsequent surgeries for the same condition are covered
•   The therapy is provided by, or under the direct supervision                 only when there is the probability of significant additional
    of, a licensed health care professional acting within the                   improvement as determined by the utilization review
    scope of the license.                                                       Physician.
•   The therapy is Medically Necessary and medically
    appropriate for the diagnosed condition.
                                                                            HC-COV631                                                     12-17




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Transplant Services and Related Specialty Care                            Transplant and Related Specialty Care Travel Services
Charges made for human organ and tissue transplant services               Charges made for non-taxable travel expenses incurred by you
which include solid organ and bone marrow/stem cell                       in connection with a preapproved organ/tissue transplant are
procedures at designated facilities throughout the United                 covered subject to the following conditions and limitations:
States or its territories. This coverage is subject to the                •   Transplant and related specialty care travel benefits are not
following conditions and limitations.                                         available for cornea transplants.
Transplant services include the recipient’s medical, surgical             •   Benefits for transportation and lodging are available to the
and Hospital services; inpatient immunosuppressive                            recipient of a preapproved organ/tissue transplant and/or
medications; and costs for organ or bone marrow/stem cell                     related specialty care from a designated Cigna
procurement. Transplant services are covered only if they are                 LifeSOURCE Transplant Network® facility.
required to perform any of the following human to human
organ or tissue transplants: allogeneic bone marrow/stem cell,            •   The term recipient is defined to include a person receiving
autologous bone marrow/stem cell, cornea, heart, heart/lung,                  authorized transplant related services during any of the
kidney, kidney/pancreas, liver, lung, pancreas or intestine                   following: evaluation, candidacy, transplant event, or post-
which includes small bowel-liver or multi-visceral.                           transplant care.
Implantation procedures are also covered for artificial heart,            •   Travel expenses for the person receiving the transplant will
percutaneous ventricular assist device (PVAD), extracorporeal                 include charges for: transportation to and from the
membrane oxygenation (ECMO) ventricular assist device                         designated Cigna LifeSOURCE Transplant Network®
(VAD) and intra-aortic balloon pump (IABP) are also covered.                  facility (including charges for a rental car used during a
•   All transplant services and related specialty care services,              period of care at the designated Cigna LifeSOURCE
    other than cornea transplants, are covered when received at               Transplant Network® facility); and lodging while at, or
    Cigna LifeSOURCE Transplant Network® facilities.                          traveling to and from, the designated Cigna LifeSOURCE
                                                                              Transplant Network® facility.
•   Transplant services and related specialty care services
    received at Participating Provider facilities specifically            •   In addition to your coverage for the charges associated with
    contracted with Cigna for those transplant services and                   the items above, such charges will also be considered
    related specialty care services, other than Cigna                         covered travel expenses for one companion to accompany
    LifeSOURCE Transplant Network® facilities, are payable                    you. The term companion includes your spouse, a member
    at the In-Network level.                                                  of your family, your legal guardian, or any person not
                                                                              related to you, but actively involved as your caregiver who
•   Transplant services and related specialty care services                   is at least 18 years of age.
    received at any other facility, including non-Participating
    Provider facilities and Participating Provider facilities not         •   The following are specifically excluded travel expenses: any
    specifically contracted with Cigna for transplant services                expenses that if reimbursed would be taxable income, travel
    and related specialty care services, are not covered.                     costs incurred due to travel within 60 miles of your home;
                                                                              food and meals; laundry bills; telephone bills; alcohol or
•   Cornea transplants received at a facility that is specifically            tobacco products; and charges for transportation that exceed
    contracted with Cigna for this type of transplant are payable             coach class rates.
    at the In-Network level.
                                                                          These benefits for Transplant Services and Related Specialty
Coverage for organ procurement costs are limited to costs                 Care, and for Transplant and Related Specialty Care Travel
directly related to the procurement of an organ, from a cadaver           Services are only available when the covered person is the
or a live donor. Organ procurement costs shall consist of                 recipient of an organ/tissue transplant. Travel expenses for the
hospitalization and surgery necessary for removal of an organ             designated live donor for a covered recipient are covered
and transportation of a live donor (refer to Transplant and               subject to the same conditions and limitations noted above.
Related Specialty Care Travel Services). Compatibility testing            Charges for the expenses of a donor companion are not
undertaken prior to procurement is covered if Medically                   covered. No transplant and related specialty care services or
Necessary. Costs related to the search for, and identification of         travel benefits are available when the covered person is the
a bone marrow or stem cell donor for an allogeneic transplant             donor for an organ/tissue transplant, the transplant recipient’s
are also covered.                                                         plan would cover all donor costs.


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Advanced Cellular Therapy                                                family, your legal guardian, or any person not related to you,
Charges for advanced cellular therapy products and services              but actively involved as your caregiver who is at least 18 years
directly related to their administration are covered when                of age.
Medically Necessary. Coverage includes the cost of the                   The following are specifically excluded travel expenses: any
advanced cellular therapy product; medical, surgical, and                expenses that if reimbursed would be taxable income, travel
facility services directly related to administration of the              costs incurred due to travel within a 60 mile radius of your
advanced cellular therapy product, and professional services.            primary home residence; food and meals; laundry bills;
Cigna determines which U.S. Food and Drug Administration                 telephone bills; alcohol or tobacco products; and charges for
(FDA) approved products are in the category of advanced                  transportation that exceed coach class rates.
cellular therapy, based on the nature of the treatment and how
it is manufactured, distributed and administered. An example             HC-COV1327                                                04-23
of advanced cellular therapy is chimeric antigen receptor
(CAR) T-cell therapy that redirects a person’s T cells to
recognize and kill a specific type of cancer cell.                       Medical Pharmaceuticals
Advanced cellular therapy products and their administration              The plan covers charges made for Medical Pharmaceuticals
are covered at the In-Network benefit level when prior                   that may be administered in an Inpatient setting, Outpatient
authorized to be received at a provider contracted with Cigna            setting, Physician’s office, or in a covered person's home.
for the specific advanced cellular therapy product and related           Benefits under this section are provided only for Medical
services. Advanced cellular therapy products and their                   Pharmaceuticals that, because of their characteristics as
administration received from a provider that is not contracted           determined by Cigna, require a qualified licensed health care
with Cigna for the specific advanced cellular therapy product            professional to administer or directly supervise administration.
and related services are not covered.
                                                                         Certain Medical Pharmaceuticals are subject to prior
Advanced Cellular Therapy Travel Services                                authorization requirements or other coverage conditions.
Charges made for non-taxable travel expenses incurred by you             Additionally, certain Medical Pharmaceuticals are subject to
in connection with a prior authorized advanced cellular                  step therapy requirements. This means that in order to receive
therapy product are covered, subject to the following                    coverage, the covered person may be required to try a specific
conditions and limitations.                                              Medical Pharmaceutical before trying others. Medical
                                                                         Pharmaceuticals administered in an Inpatient facility are
Benefits for transportation and lodging are available to you
                                                                         reviewed per Inpatient review guidelines.
only when:
                                                                         Cigna determines the utilization management requirements
•   you are the recipient of a prior authorized advanced cellular
                                                                         and other coverage conditions that apply to a Medical
    therapy product;
                                                                         Pharmaceutical by considering a number of factors:
•   the term recipient is defined to include a person receiving
                                                                         •   Clinical factors, which may include Cigna’s evaluations of
    prior authorized advanced cellular therapy related services
                                                                             the site of care and the relative safety or relative efficacy of
    during any of the following: evaluation, candidacy, event, or
                                                                             Medical Pharmaceuticals.
    post care;
                                                                         •   Economic factors, which may include the cost of the
•   the advanced cellular therapy products and services directly
                                                                             Medical Pharmaceutical and assessments of cost
    related to their administration are received at a provider
                                                                             effectiveness after rebates.
    contracted with Cigna for the specific advanced cellular
    therapy product and related services; and                            The coverage criteria for a Medical Pharmaceutical may
                                                                         change periodically for various reasons. For example, a
•   the provider is not available within a 60 mile radius of your
                                                                         Medical Pharmaceutical may be removed from the market, a
    primary home residence.
                                                                         new Medical Pharmaceutical in the same therapeutic class as a
Travel expenses for the person receiving the advanced cellular           Medical Pharmaceutical may become available, or other
therapy include charges for: transportation to and from the              market events may occur. Market events that may affect the
advanced cellular therapy site (including charges for a rental           coverage status of a Medical Pharmaceutical include an
car used during a period of care at the facility); and lodging           increase in the cost of a Medical Pharmaceutical.
while at, or traveling to and from, the site.
                                                                         Certain Medical Pharmaceuticals that are used for treatment of
In addition to your coverage for the charges associated with             complex chronic conditions, are high cost, and are
the items above, such charges will also be considered covered            administered and handled in a specialized manner may be
travel expenses for one companion to accompany you. The                  subject to additional coverage criteria or require
term companion includes your spouse, a member of your


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administration by a participating provider in the network for               Each gene therapy product is specific to a particular disease
the Cigna Pathwell Specialty Network. Cigna determines                      and is administered in a specialized manner. Cigna determines
which injections, infusions, and implantable drugs are subject              which products are in the category of gene therapy, based in
to these criteria and requirements.                                         part on the nature of the treatment and how it is distributed
The Cigna Pathwell Specialty Network includes contracted                    and administered.
physician offices, ambulatory infusion centers, home and                    Coverage includes the cost of the gene therapy product;
outpatient hospital infusion centers, and contracted specialty              medical, surgical, and facility services directly related to
pharmacies. When the Cigna Pathwell Specialty Network                       administration of the gene therapy product; and professional
cannot meet the clinical needs of the customer as determined                services.
by Cigna, exceptions are considered and approved when                       Gene therapy products and their administration are covered
appropriate.                                                                when prior authorized to be received at In-Network facilities
A complete list of those Medical Pharmaceuticals subject to                 specifically contracted with Cigna for the specific gene
additional coverage criteria or that require administration by a            therapy service. Gene therapy products and their
participating provider in the Cigna Pathwell Specialty                      administration received at other facilities are not covered.
Network is available at www.cigna.com/PathwellSpecialty.                    Gene Therapy Travel Services
The following are not covered under the plan:                               Charges made for non-taxable travel expenses incurred by you
•   Medical Pharmaceutical regimens that have a Therapeutic                 in connection with a prior authorized gene therapy procedure
    Equivalent or Therapeutic Alternative to another covered                are covered subject to the following conditions and
    Prescription Drug Product(s);                                           limitations.
•   Medical Pharmaceuticals newly approved by the Food &                    Benefits for transportation and lodging are available to you
    Drug Administration (FDA) up to the first 180 days                      only when you are the recipient of a prior authorized gene
    following its market launch;                                            therapy; and when the gene therapy products and services
•   Medical Pharmaceutical regimens for which there is an                   directly related to their administration are received at a
    appropriate lower cost alternative for treatment.                       participating In-Network facility specifically contracted with
                                                                            Cigna for the specific gene therapy service. The term recipient
In the event a covered Medical Pharmaceutical is not clinically             is defined to include a person receiving prior authorized gene
appropriate, Cigna makes available an exception process to                  therapy related services during any of the following:
allow for access to non-covered drugs when Medically                        evaluation, candidacy, event, or post care.
Necessary.
                                                                            Travel expenses for the person receiving the gene therapy
Cigna may consider certain Medical Pharmaceutical regimens                  include charges for: transportation to and from the gene
as preferred when they are clinically effective treatments and              therapy site (including charges for a rental car used during a
the most cost effective. Preferred regimens are covered unless              period of care at the facility); and lodging while at, or
the covered person is not a candidate for the regimen and a                 traveling to and from, the site.
Medical Necessity coverage exception is obtained.
                                                                            In addition to your coverage for the charges associated with
                                                                            the items above, such charges will also be considered covered
HC-COV1186                                                     04-23        travel expenses for one companion to accompany you. The
                                                                 V2         term companion includes your spouse, a member of your
                                                                            family, your legal guardian, or any person not related to you,
                                                                            but actively involved as your caregiver who is at least 18 years
Gene Therapy
                                                                            of age.
Charges for gene therapy products and services directly
                                                                            The following are specifically excluded travel expenses: any
related to their administration are covered when Medically
                                                                            expenses that if reimbursed would be taxable income, travel
Necessary. Gene therapy is a category of pharmaceutical
                                                                            costs incurred due to travel within 60 miles of your home;
products approved by the U.S. Food and Drug Administration
                                                                            food and meals; laundry bills; telephone bills; alcohol or
(FDA) to treat or cure a disease by:
                                                                            tobacco products; and charges for transportation that exceed
•   replacing a disease-causing gene with a healthy copy of the             coach class rates.
    gene.
•   inactivating a disease-causing gene that may not be
                                                                            HC-COV873                                                    01-20
    functioning properly.
•   introducing a new or modified gene into the body to help
    treat a disease.


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Clinical Trials                                                             The plan does not cover any of the following services
This plan covers routine patient care costs and services related            associated with a clinical trial:
to an approved clinical trial for a qualified individual. The               •   services that are not considered routine patient care costs
individual must be eligible to participate according to the trial               and services, including the following:
protocol and either of the following conditions must be met:                    • the investigational drug, device, item, or service that is
•   the referring health care professional is a participating                     provided solely to satisfy data collection and analysis
    health care provider and has concluded that the individual’s                  needs.
    participation in such trial would be appropriate; or                        • an item or service that is not used in the direct clinical
•   the individual provides medical and scientific information                    management of the individual.
    establishing that the individual’s participation in the clinical            • a service that is clearly inconsistent with widely accepted
    trial would be appropriate.                                                   and established standards of care for a particular
In addition to qualifying as an individual, the clinical trial                    diagnosis.
must also meet certain criteria in order for patient care costs             •   an item or service provided by the research sponsors free of
and services to be covered.                                                     charge for any person enrolled in the trial.
The clinical trial must be a phase I, phase II, phase III, or               •   travel and transportation expenses, unless otherwise covered
phase IV clinical trial conducted in relation to the prevention,                under the plan, including but not limited to the following:
detection, or treatment of cancer or other life-threatening
                                                                                • fees for personal vehicle, rental car, taxi, medical van,
disease or condition that meets any of the following criteria:
                                                                                  ambulance, commercial airline, train.
•   it is a federally funded trial. The study or investigation is
                                                                                • mileage reimbursement for driving a personal vehicle.
    approved or funded (which may include funding through in-
    kind contributions) by one or more of the following:                        • lodging.
    • National Institutes of Health (NIH).                                      • meals.
    • Centers for Disease Control and Prevention (CDC).                     •   routine patient costs obtained out-of-network when Out-of-
    • Agency for Health Care Research and Quality (AHRQ).
                                                                                Network benefits do not exist under the plan.
    • Centers for Medicare and Medicaid Services (CMS).
                                                                            Examples of routine patient care costs and services include:
    • a cooperative group or center of any of the entities
                                                                            •   radiological services.
      described above or the Department of Defense (DOD) or                 •   laboratory services.
      the Department of Veterans Affairs (VA).                              •   intravenous therapy.
    • a qualified non-governmental research entity identified in            •   anesthesia services.
      NIH guidelines for center support grants.
                                                                            •   Physician services.
    • any of the following: Department of Energy, Department
      of Defense, Department of Veterans Affairs, if both of                •   office services.
      the following conditions are met:                                     •   Hospital services.
      •   the study or investigation has been reviewed and                  •   Room and Board, and medical supplies that typically would
          approved through a system of peer review comparable                   be covered under the plan for an individual who is not
          to the system of peer review of studies and                           enrolled in a clinical trial.
          investigations used by the National Institutes of Health          Clinical trials conducted by Out-of-Network providers will be
          (NIH); and                                                        covered only when the following conditions are met:
      •   the study or investigation assures unbiased review of             • In-Network providers are not participating in the clinical
          the highest scientific standards by qualified individuals             trial; or
          who have no interest in the outcome of the review.
                                                                            •   the clinical trial is conducted outside the individual’s state
    • the study or investigation is conducted under an                          of residence.
      investigational new drug application reviewed by the U.S.
      Food and Drug Administration (FDA).
                                                                            HC-COV1128                                                         01-22
    • the study or investigation is a drug trial that is exempt
      from having such an investigational new drug application.




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Travel Services                                                         •   incidentals, including but not limited to: laundry bills,
Charges for non-taxable travel and lodging expenses incurred                telephone bills, alcohol or tobacco products.
by you and one accompanying Companion/Caregiver (or up to               •   charges for transportation that exceed coach class rates.
two caregivers for a Dependent minor) are covered in                    •   durable medical equipment, medical supplies, ambulance.
connection with designated services.
                                                                        •   refundable deposits for housing, utilities, etc.
Travel services for a designated covered service may be
authorized for coverage when an In-Network facility/provider            •   travel for services not designated above.
is not available within a 60-mile radius of your primary home           •   services that are not covered by the plan.
residence. Travel and lodging expenses are covered for
designated services administered at a participating In-Network
                                                                        HC-COV1317                                                      10-22
facility/provider, subject to the maximum shown in The
Schedule.
Travel is available for the following designated services when
covered by your plan:                                                   Exclusions, Expenses Not Covered and
•   all Medical and Mental Health and Substance Use Disorder            General Limitations
    services.
                                                                        Exclusions and Expenses Not Covered
Pre-authorization of travel is required by contacting Cigna at
                                                                        Additional coverage limitations determined by plan or
the number on the back of your ID card. Pre-authorization of
                                                                        provider type are shown in The Schedule. Payment for the
the covered designated service also may be required.
                                                                        following is specifically excluded from this plan:
The Companion/Caregiver can be your spouse, a member of
                                                                        •   care for health conditions that are required by state or local
your family, your legal guardian, or any person not related to
                                                                            law to be treated in a public facility.
you, but actively involved as your caregiver who is at least 18
years of age.                                                           •   care required by state or federal law to be supplied by a
                                                                            public school system or school district.
Covered travel expenses are reimbursed within daily limits as
defined by the Internal Revenue Service and include charges             •   care for military service disabilities treatable through
for:                                                                        governmental services if you are legally entitled to such
                                                                            treatment and facilities are reasonably available.
•   airfare (coach or economy), including baggage fees.
                                                                        •   treatment of an Injury or Sickness which is due to war,
•   bus fare, train fare, taxi/Uber/Lyft, etc.
                                                                            declared, or undeclared.
•   vehicle rentals.
                                                                        •   charges which you are not obligated to pay and/or for which
•   gasoline.                                                               you are not billed. This exclusion includes, but is not
•   highway tolls (not prepaid).                                            limited to:
•   parking.                                                                • any instance where Cigna determines that a provider or

•   shuttle services.                                                         Pharmacy did not bill you for or has waived, reduced, or
                                                                              forgiven any portion of its charges and/or any portion of
•   wheelchair van service to travel from local housing to                    any Copayment, Deductible, and/or Coinsurance
    facility/provider.                                                        amount(s) you are required to pay for an otherwise
•   lodging up to $50 per night, per person for up to two people              Covered Expense (as shown on The Schedule) without
    (maximum of $100 per night, inclusive of taxes and                        Cigna's express consent.
    nonrefundable fees), including but not limited to: hotel,               • charges of a non-Participating Provider who has agreed to
    motel, rental from businesses such as Airbnb, VRBO, etc.                  charge you at an In-Network benefits level or some other
Excluded travel expenses include but are not limited to the                   benefits level not otherwise applicable to the services
following:                                                                    received.
•   any expenses that if reimbursed would be taxable income.                In the event that Cigna determines that this exclusion
•   travel within the mile radius defined above of your primary             applies, then Cigna in its sole discretion shall have the right
    home residence.                                                         to:
                                                                            • require you and/or any provider or Pharmacy submitting
•   food and meals.
                                                                              claims on your behalf to provide proof sufficient to Cigna
•   mileage.



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      that you have made your required cost-share payment(s)               •   cosmetic surgery and therapies. Cosmetic surgery or therapy
      prior to the payment of any benefits by Cigna;                           is defined as surgery or therapy performed to improve or
    • deny the payment of benefits in connection with the                      alter appearance or self-esteem.
      Covered Expense regardless of whether the provider or                •   the following services are excluded from coverage
      the Pharmacy represents that you remain responsible for                  regardless of clinical indications: abdominoplasty;
      any amounts that your plan does not cover; or                            panniculectomy; blepharoplasty; acupressure;removal of
    • reduce the benefits in proportion to the amount of the                   redundant skin craniosacral/cranial therapy; dance therapy;
      Copayment, Deductible, and/or Coinsurance amounts                        movement therapy; applied kinesiology; rolfing;
      waived, forgiven or reduced, regardless of whether the                   prolotherapy; and extracorporeal shock wave lithotripsy
      provider or Pharmacy represents that you remain                          (ESWL) for musculoskeletal and orthopedic conditions.
      responsible for any amounts that your plan does not                  •   dental treatment of the teeth, gums or structures directly
      cover.                                                                   supporting the teeth, including dental X-rays, examinations,
•   charges or payment for healthcare-related services that                    repairs, orthodontics, periodontics, casts, splints and
    violate state or federal law.                                              services for dental malocclusion, for any condition.
                                                                               However, charges made for a continuous course of dental
•   assistance in the activities of daily living, including but not            treatment for an Injury to teeth are covered.
    limited to eating, bathing, dressing or other Custodial
    Services or self-care activities, homemaker services and               •   for medical and surgical services intended primarily for the
    services primarily for rest, domiciliary or convalescent care.             treatment or control of obesity. However, treatment of
                                                                               clinically severe obesity, as defined by the Body Mass
•   for or in connection with experimental, investigational or                 Index (BMI) classifications of the National Heart, Lung,
    unproven services.                                                         and Blood Institute (NHLBI) guideline is covered only at
    Experimental, investigational and unproven services are                    approved centers if the services are demonstrated, through
    medical, surgical, diagnostic, psychiatric, substance use                  existing peer-reviewed, evidence-based, scientific literature
    disorder or other health care technologies, supplies,                      and scientifically based guidelines, to be safe and effective
    treatments, procedures, drug or Biologic therapies or                      for treatment of the condition. Clinically severe obesity is
    devices that are determined by the utilization review                      defined by the NHLBI as a BMI of 40 or greater without
    Physician to be:                                                           comorbidities, or 35-39 with comorbidities. The following
    • not approved by the U.S. Food and Drug Administration                    are specifically excluded:
      (FDA) or other appropriate regulatory agency to be                       • medical and surgical services to alter appearances or
      lawfully marketed;                                                         physical changes that are the result of any surgery
    • not demonstrated, through existing peer-reviewed,                          performed for the management of obesity or clinically
      evidence-based, scientific literature to be safe and                       severe (morbid) obesity; and
      effective for treating or diagnosing the condition or                    • weight loss programs or treatments, whether prescribed or
      Sickness for which its use is proposed;                                    recommended by a Physician or under medical
    • the subject of review or approval by an Institutional                      supervision.
      Review Board for the proposed use except as provided in              •   reports, evaluations, physical examinations, or
      the “Clinical Trials” sections of this plan; or                          hospitalization not required for health reasons, including but
    • the subject of an ongoing phase I, II or III clinical trial,             not limited to employment, insurance or government
      except for routine patient care costs related to qualified               licenses, and court-ordered, forensic or custodial
      clinical trials as provided in the “Clinical Trials” sections            evaluations, unless otherwise covered under this plan.
      of this plan.                                                        •   court-ordered treatment or hospitalization, unless treatment
    In determining whether any such technologies, supplies,                    is prescribed by a Physician and is a covered service or
    treatments, drug or Biologic therapies, or devices are                     supply under this plan.
    experimental, investigational, and/or unproven, the                    •   any medications, drugs, services or supplies for the
    utilization review Physician may rely on the clinical                      treatment of male or female sexual dysfunction such as, but
    coverage policies maintained by Cigna or the Review                        not limited to, treatment of erectile dysfunction (including
    Organization. Clinical coverage policies may incorporate,                  penile implants), anorgasmy, and premature ejaculation.
    without limitation and as applicable, criteria relating to U.S.        •   medical and Hospital care and costs for the child of your
    Food and Drug Administration-approved labeling, the                        Dependent child, unless the child is otherwise eligible under
    standard medical reference compendia and peer-reviewed,                    this plan.
    evidence-based scientific literature or guidelines.


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•   non-medical counseling and/or ancillary services, including                care services for diabetes, peripheral neuropathies and
    but not limited to Custodial Services, educational services,               peripheral vascular disease are covered when Medically
    vocational counseling, training and, rehabilitation services,              Necessary.
    behavioral training, biofeedback, neurofeedback, hypnosis,             •   membership costs and fees associated with health clubs,
    sleep therapy, return to work services, work hardening                     weight loss programs or smoking cessation programs.
    programs and driver safety courses.
                                                                           •   genetic screening or pre-implantations genetic screening.
•   therapy or treatment intended primarily to improve or                      General population-based genetic screening is a testing
    maintain general physical condition or for the purpose of                  method performed in the absence of any symptoms or any
    enhancing job, school, athletic or recreational performance,               significant, proven risk factors for genetically linked
    including but not limited to routine, long term, or                        inheritable disease.
    maintenance care which is provided after the resolution of
    the acute medical problem and when significant therapeutic             •   dental implants for any condition.
    improvement is not expected.                                           •   fees associated with the collection, storage or donation of
•   consumable medical supplies other than ostomy supplies                     blood or blood products, except for autologous donation in
    and urinary catheters. Excluded supplies include, but are not              anticipation of scheduled services when medical
    limited to bandages and other disposable medical supplies,                 management review determines the likelihood of excess
    skin preparations and test strips, except as specified in the              blood loss is such that transfusion is an expected adjunct to
    “Home Health Care Services” or “Breast Reconstruction                      surgery.
    and Breast Prostheses” sections of this plan.                          •   blood administration for the purpose of general
•   private Hospital rooms and/or private duty nursing except as               improvement in physical condition.
    provided under the Home Health Care Services provision.                •   cost of biologicals that are immunizations or medications
•   personal or comfort items such as personal care kits                       for the purpose of travel, or to protect against occupational
    provided on admission to a Hospital, television, telephone,                hazards and risks.
    newborn infant photographs, complimentary meals, birth                 •   health and beauty aids, cosmetics and dietary supplements.
    announcements, and other articles which are not for the                •   all nutritional supplements, formulae, enteral feedings,
    specific treatment of an Injury or Sickness.                               supplies and specially formulated medical foods, whether
•   artificial aids, including but not limited to corrective                   prescribed or not except for infant formula needed for the
    orthopedic shoes, arch supports, elastic stockings, garter                 treatment of inborn errors of metabolism.
    belts, corsets, dentures and wigs.                                     •   for or in connection with an Injury or Sickness arising out
•   aids or devices that assist with non-verbal communications,                of, or in the course of, any employment for wage or profit.
    including but not limited to communication boards, pre-                •   charges related to an Injury or Sickness payable under
    recorded speech devices, laptop computers, desktop                         worker’s compensation or similar laws.
    computers, Personal Digital Assistants (PDAs), Braille
    typewriters, visual alert systems for the deaf and memory              •   massage therapy.
    books.                                                                 •   expenses incurred by a participant to the extent
•   eyeglass lenses and frames, contact lenses and associated                  reimbursable under automobile insurance coverage.
    services (exams and fittings) (except for the initial set after            Coverage under this plan is secondary to automobile no-
    treatment of keratoconus or following cataract surgery).                   fault insurance or similar coverage. The coverage provided
                                                                               under this plan does not constitute “Qualified Health
•   routine refractions, eye exercises and surgical treatment for              Coverage” under Michigan law and therefore does not
    the correction of a refractive error, including radial                     replace Personal Injury Protection (PIP) coverage provided
    keratotomy.                                                                under an automobile insurance policy issued to a Michigan
•   all non-injectable prescription drugs, unless Physician                    resident. This plan will cover expenses only not otherwise
    administration or oversight is required, injectable                        covered by the PIP coverage.
    prescription drugs to the extent they do not require                   General Limitations
    Physician supervision and are typically considered self-
    administered drugs, non-prescription drugs, and                        No payment will be made for expenses incurred for you or any
    investigational and experimental drugs, except as provided             one of your Dependents:
    in this plan.                                                          •   for charges by a Hospital owned or operated by or which
•   routine foot care, including the paring and removing of                    provides care or performs services for, the United States
    corns and calluses and toenail maintenance. However, foot



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    Government, if such charges are directly related to a                    Closed Panel Plan
    military-service-connected Injury or Sickness.                           A Plan that provides medical or dental benefits primarily in
•   for any charges related to care provided through a public                the form of services through a panel of employed or
    program, other than Medicaid.                                            contracted providers, and that limits or excludes benefits
•   for charges which would not have been made if the person                 provided by providers outside of the panel, except in the case
    did not have coverage.                                                   of emergency or if referred by a provider within the panel.
•   to the extent that they are more than Maximum                            Primary Plan
    Reimbursable Charges.                                                    The Plan that determines and provides or pays benefits
•   to the extent of the exclusions imposed by any certification             without taking into consideration the existence of any other
    requirement shown in this plan.                                          Plan.
•   for expenses for services, supplies, care, treatment, drugs or           Secondary Plan
    surgery that are not Medically Necessary.                                A Plan that determines, and may reduce its benefits after
•   for charges made by any Physician or Other Health                        taking into consideration, the benefits provided or paid by the
    Professional who is a member of your family or your                      Primary Plan. A Secondary Plan may also recover from the
    Dependent's family.                                                      Primary Plan the Reasonable Cash Value of any services it
                                                                             provided to you.
•   for expenses incurred outside the United States other than
    expenses for Medically Necessary emergency or urgent care                Allowable Expense
    while temporarily traveling abroad.                                      The amount of charges considered for payment under the Plan
                                                                             for a Covered Service prior to any reductions due to
                                                                             coinsurance, copayment or deductible amounts. If Cigna
HC-EXC526                                                       01-24
                                                                             contracts with an entity to arrange for the provision of
                                                                V1 M
                                                                             Covered Services through that entity’s contracted network of
                                                                             health care providers, the amount that Cigna has agreed to pay
                                                                             that entity is the allowable amount used to determine your
Coordination of Benefits                                                     coinsurance or deductible payments. If the Plan provides
                                                                             benefits in the form of services, the Reasonable Cash Value of
This section applies if you or any one of your Dependents is                 each service is the Allowable Expense and is a paid benefit.
covered under more than one Plan and determines how
benefits payable from all such Plans will be coordinated. You                Examples of expenses or services that are not Allowable
should file all claims with each Plan.                                       Expenses include, but are not limited to the following:
Definitions                                                                  •   An expense or service or a portion of an expense or service
                                                                                 that is not covered by any of the Plans is not an Allowable
For the purposes of this section, the following terms have the                   Expense.
meanings set forth below:
                                                                             •   If you are confined to a private Hospital room and no Plan
Plan                                                                             provides coverage for more than a semiprivate room, the
Any of the following that provides benefits or services for                      difference in cost between a private and semiprivate room is
medical care or treatment:                                                       not an Allowable Expense.
•   Group insurance and/or group-type coverage, whether                      •   If you are covered by two or more Plans that provide
    insured or self-insured which neither can be purchased by                    services or supplies on the basis of reasonable and
    the general public, nor is individually underwritten,                        customary fees, any amount in excess of the highest
    including closed panel coverage.                                             reasonable and customary fee is not an Allowable Expense.
•   Coverage under Medicare and other governmental benefits                  •   If you are covered by one Plan that provides services or
    as permitted by law, excepting Medicaid and Medicare                         supplies on the basis of reasonable and customary fees and
    supplement policies.                                                         one Plan that provides services and supplies on the basis of
•   Medical benefits coverage of group, group-type, and                          negotiated fees, the Primary Plan's fee arrangement shall be
    individual automobile contracts.                                             the Allowable Expense.
Each Plan or part of a Plan which has the right to coordinate                •   If your benefits are reduced under the Primary Plan (through
benefits will be considered a separate Plan.                                     the imposition of a higher copayment amount, higher
                                                                                 coinsurance percentage, a deductible and/or a penalty)
                                                                                 because you did not comply with Plan provisions or because



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    you did not use a preferred provider, the amount of the                     be the Primary Plan. If the other Plan does not have a
    reduction is not an Allowable Expense. Such Plan                            similar provision and, as a result, the Plans cannot agree on
    provisions include second surgical opinions and                             the order of benefit determination, this paragraph shall not
    precertification of admissions or services.                                 apply.
Reasonable Cash Value                                                       •   If one of the Plans that covers you is issued out of the state
An amount which a duly licensed provider of health care                         whose laws govern this Policy, and determines the order of
services usually charges patients and which is within the range                 benefits based upon the gender of a parent, and as a result,
of fees usually charged for the same service by other health                    the Plans do not agree on the order of benefit determination,
care providers located within the immediate geographic area                     the Plan with the gender rules shall determine the order of
where the health care service is rendered under similar or                      benefits.
comparable circumstances.                                                   If none of the above rules determines the order of benefits, the
Order of Benefit Determination Rules                                        Plan that has covered you for the longer period of time shall
                                                                            be primary.
A Plan that does not have a coordination of benefits rule
consistent with this section shall always be the Primary Plan.              When coordinating benefits with Medicare, this Plan will be
If the Plan does have a coordination of benefits rule consistent            the Secondary Plan and determine benefits after Medicare,
with this section, the first of the following rules that applies to         where permitted by the Social Security Act of 1965, as
the situation is the one to use:                                            amended. However, when more than one Plan is secondary to
                                                                            Medicare, the benefit determination rules identified above,
•   The Plan that covers you as an enrollee or an Employee                  will be used to determine how benefits will be coordinated.
    shall be the Primary Plan and the Plan that covers you as a
    Dependent shall be the Secondary Plan;                                  Effect on the Benefits of This Plan
•   If you are a Dependent child whose parents are not divorced             If this Plan is the Secondary Plan, this Plan may reduce
    or legally separated, the Primary Plan shall be the Plan                benefits so that the total benefits paid by all Plans are not more
    which covers the parent whose birthday falls first in the               than 100% of the total of all Allowable Expenses.
    calendar year as an enrollee or Employee;                               Recovery of Excess Benefits
•   If you are the Dependent of divorced or separated parents,              If Cigna pays charges for benefits that should have been paid
    benefits for the Dependent shall be determined in the                   by the Primary Plan, or if Cigna pays charges in excess of
    following order:                                                        those for which we are obligated to provide under the Policy,
    • first, if a court decree states that one parent is responsible        Cigna will have the right to recover the actual payment made
      for the child's healthcare expenses or health coverage and            or the Reasonable Cash Value of any services.
      the Plan for that parent has actual knowledge of the terms            Cigna will have sole discretion to seek such recovery from any
      of the order, but only from the time of actual knowledge;             person to, or for whom, or with respect to whom, such
    • then, the Plan of the parent with custody of the child;               services were provided or such payments made by any
                                                                            insurance company, healthcare Plan or other organization. If
    • then, the Plan of the spouse of the parent with custody of
                                                                            we request, you must execute and deliver to us such
      the child;                                                            instruments and documents as we determine are necessary to
    • then, the Plan of the parent not having custody of the                secure the right of recovery.
      child; and                                                            Right to Receive and Release Information
    • finally, the Plan of the spouse of the parent not having
                                                                            Cigna, without consent or notice to you, may obtain
      custody of the child.                                                 information from and release information to any other Plan
•   The Plan that covers you as an active Employee (or as that              with respect to you in order to coordinate your benefits
    Employee's Dependent) shall be the Primary Plan and the                 pursuant to this section. You must provide us with any
    Plan that covers you as laid-off or retired Employee (or as             information we request in order to coordinate your benefits
    that Employee's Dependent) shall be the Secondary Plan. If              pursuant to this section. This request may occur in connection
    the other Plan does not have a similar provision and, as a              with a submitted claim; if so, you will be advised that the
    result, the Plans cannot agree on the order of benefit                  "other coverage" information, (including an Explanation of
    determination, this paragraph shall not apply.                          Benefits paid under the Primary Plan) is required before the
•   The Plan that covers you under a right of continuation                  claim will be processed for payment. If no response is
    which is provided by federal or state law shall be the                  received within 55 days of the request, the claim will be
    Secondary Plan and the Plan that covers you as an active                closed. If the requested information is subsequently received,
    Employee or retiree (or as that Employee's Dependent) shall             the claim will be processed.



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
•   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
•   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
•   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
•   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
•   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
•   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB273                                                      01-21

•   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
•   End Stage Renal Disease (ESRD): You, your spouse, or                  Be Responsible
    your covered Dependent qualify for Medicare due to End
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first        •   Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                •   No adult Participant hereunder may assign any rights that it
•   Expenses incurred by a Participant to the extent any                      may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly                or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,             adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                      of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                     decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                               settlements or recoveries.
    compensation, government insurance (other than Medicaid),             •   No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                          •   The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
•   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a               •   No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
•   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether               •   The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                          •   The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
•   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by             •   In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
•   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                   •   Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
•   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
•   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                  •   the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                  •   the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                           •   the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                  •   the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                  •   the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in               •   the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal
                                                                           Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Temporary Layoff or Leave of Absence                                      Federal Requirements
If your Active Service ends due to temporary layoff or leave              The following pages explain your rights and responsibilities
of absence, your insurance will be continued until the date as            under federal laws and regulations. Some states may have
determined by your Employer.                                              similar requirements. If a similar provision appears elsewhere
Injury or Sickness                                                        in this booklet, the provision which provides the better benefit
If your Active Service ends due to an Injury or Sickness, your            will apply.
insurance will be continued while you remain totally and
continuously disabled as a result of the Injury or Sickness.              HC-FED1                                                       10-10
However, your insurance will not continue past the date your
Employer cancels your insurance.
Retirement
                                                                          Notice of Provider Directory/Networks
If your Active Service ends because you retire, your insurance
                                                                          Notice Regarding Provider Directories and Provider
will be continued until the date on which your Employer
                                                                          Networks
cancels the insurance.
                                                                          A list of network providers is available to you without charge
Dependents                                                                by visiting the website or by calling the phone number on your
                                                                          ID card. The network consists of providers, including
Your insurance for all of your Dependents will cease on the               hospitals, of varied specialties as well as general practice,
earliest date below:                                                      affiliated or contracted with Cigna or an organization
•   the date your insurance ceases.                                       contracting on its behalf.
•   the date you cease to be eligible for Dependent Insurance.
•   the last day for which you have made any required                     HC-FED78                                                      10-10
    contribution for the insurance.
•   the date Dependent Insurance is cancelled.
The insurance for any one of your Dependents will cease on                Qualified Medical Child Support Order
the date that Dependent no longer qualifies as a Dependent.               (QMCSO)
                                                                          Eligibility for Coverage Under a QMCSO
HC-TRM128                                                    12-17        If a Qualified Medical Child Support Order (QMCSO) is
                                                                          issued for your child, that child will be eligible for coverage as
                                                                          required by the order and you will not be considered a Late
Rescissions                                                               Entrant for Dependent Insurance.
Your coverage may not be rescinded (retroactively terminated)             You must notify your Employer and elect coverage for that
by Cigna or the plan sponsor unless the plan sponsor or an                child, and yourself if you are not already enrolled, within 31
individual (or a person seeking coverage on behalf of the                 days of the QMCSO being issued.
individual) performs an act, practice or omission that                    Qualified Medical Child Support Order Defined
constitutes fraud; or the plan sponsor or individual (or a                A Qualified Medical Child Support Order is a judgment,
person seeking coverage on behalf of the individual) makes an             decree or order (including approval of a settlement agreement)
intentional misrepresentation of material fact.                           or administrative notice, which is issued pursuant to a state
                                                                          domestic relations law (including a community property law),
HC-TRM80                                                     01-11
                                                                          or to an administrative process, which provides for child
                                                                          support or provides for health benefit coverage to such child
                                                                          and relates to benefits under the group health plan, and
                                                                          satisfies all of the following:
                                                                          •   the order recognizes or creates a child’s right to receive
                                                                              group health benefits for which a participant or beneficiary
                                                                              is eligible;
                                                                          •   the order specifies your name and last known address, and
                                                                              the child’s name and last known address, except that the



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    name and address of an official of a state or political                    Employee and Dependent child(ren); Employee, spouse and
    subdivision may be substituted for the child’s mailing                     Dependent child(ren). Enrollment of Dependent children is
    address;                                                                   limited to the newborn or adopted children or children who
•   the order provides a description of the coverage to be                     became Dependent children of the Employee due to
    provided, or the manner in which the type of coverage is to                marriage.
    be determined;                                                         •   Loss of eligibility for State Medicaid or Children’s
•   the order states the period to which it applies; and                       Health Insurance Program (CHIP). If you and/or your
                                                                               Dependent(s) were covered under a state Medicaid or CHIP
•   if the order is a National Medical Support Notice completed                plan and the coverage is terminated due to a loss of
    in accordance with the Child Support Performance and                       eligibility, you may request special enrollment for yourself
    Incentive Act of 1998, such Notice meets the requirements                  and any affected Dependent(s) who are not already enrolled
    above.                                                                     in the Plan. You must request enrollment within 60 days
The QMCSO may not require the health insurance policy to                       after termination of Medicaid or CHIP coverage.
provide coverage for any type or form of benefit or option not             •   Loss of eligibility for other coverage (excluding
otherwise provided under the policy, except that an order may                  continuation coverage). If coverage was declined under
require a plan to comply with State laws regarding health care                 this Plan due to coverage under another plan, and eligibility
coverage.                                                                      for the other coverage is lost, you and all of your eligible
Payment of Benefits                                                            Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                           required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                 previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial              with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                   was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                  loss of eligibility as a result of any of the following:
child.                                                                         • divorce or legal separation;
                                                                               • cessation of Dependent status (such as reaching the
HC-FED4                                                       10-10              limiting age);
                                                                               • death of the Employee;
                                                                               • termination of employment;
Special Enrollment Rights Under the Health                                     • reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                       for eligibility;
(HIPAA)                                                                        • you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                        in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                        coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a                • you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of                       exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already                   all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and
                                                                               • the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by
                                                                                 similarly situated individuals.
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special                 •   Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                           continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                   ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                       Dependent’s other coverage, special enrollment may be
events include:                                                                requested in this Plan for you and all of your eligible
                                                                               Dependent(s).
•   Acquiring a new Dependent. If you acquire a new
    Dependent(s) through marriage, birth, adoption or                      •   Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                 Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not                and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                  COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                            Dependent(s) elect COBRA or other continuation coverage
                                                                               following loss of coverage under another plan, the COBRA


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    or other continuation coverage must be exhausted before                A. Coverage elections
    any special enrollment rights exist under this Plan. An                Per Section 125 regulations, you are generally allowed to
    individual is considered to have exhausted COBRA or other              enroll for or change coverage only before each annual benefit
    continuation coverage only if such coverage ceases: due to             period. However, exceptions are allowed:
    failure of the Employer or other responsible entity to remit
    premiums on a timely basis; when the person no longer                  •   if you meet Special Enrollment criteria and enroll as
    resides or works in the other plan’s service area and there is             described in the Special Enrollment section; or
    no other COBRA or continuation coverage available under                •   if your Employer agrees, and you meet the criteria shown in
    the plan; or when the individual incurs a claim that would                 the following Sections B through H and enroll for or change
    meet or exceed a lifetime maximum limit on all benefits and                coverage within the time period established by your
    there is no other COBRA or other continuation coverage                     Employer.
    available to the individual. This does not include                     B. Change of status
    termination of an Employer’s limited period of
    contributions toward COBRA or other continuation                       A change in status is defined as:
    coverage as provided under any severance or other                      •   change in legal marital status due to marriage, death of a
    agreement.                                                                 spouse, divorce, annulment or legal separation;
•   Eligibility for employment assistance under State                      •   change in number of Dependents due to birth, adoption,
    Medicaid or Children’s Health Insurance Program                            placement for adoption, or death of a Dependent;
    (CHIP). If you and/or your Dependent(s) become eligible                •   change in employment status of Employee, spouse or
    for assistance with group health plan premium payments                     Dependent due to termination or start of employment,
    under a state Medicaid or CHIP plan, you may request                       strike, lockout, beginning or end of unpaid leave of absence,
    special enrollment for yourself and any affected                           including under the Family and Medical Leave Act
    Dependent(s) who are not already enrolled in the Plan. You                 (FMLA), or change in worksite;
    must request enrollment within 60 days after the date you
                                                                           •   changes in employment status of Employee, spouse or
    are determined to be eligible for assistance.
                                                                               Dependent resulting in eligibility or ineligibility for
Except as stated above, special enrollment must be                             coverage;
requested within 30 days after the occurrence of the
                                                                           •   change in residence of Employee, spouse or Dependent to a
special enrollment event. If the special enrollment event is
                                                                               location outside of the Employer’s network service area;
the birth or adoption of a Dependent child, coverage will
                                                                               and
be effective immediately on the date of birth, adoption or
placement for adoption. Coverage with regard to any other                  •   changes which cause a Dependent to become eligible or
special enrollment event will be effective no later than the                   ineligible for coverage.
first day of the first calendar month following receipt of                 C. Court order
the request for special enrollment.
                                                                           A change in coverage due to and consistent with a court order
Domestic Partners and their children (if not legal children of             of the Employee or other person to cover a Dependent.
the Employee) are not eligible for special enrollment.
                                                                           D. Medicare or Medicaid eligibility/entitlement
                                                                           The Employee, spouse or Dependent cancels or reduces
HC-FED96                                                      04-17        coverage due to entitlement to Medicare or Medicaid, or
                                                                           enrolls or increases coverage due to loss of Medicare or
                                                                           Medicaid eligibility.
Effect of Section 125 Tax Regulations on This                              E. Change in cost of coverage
Plan                                                                       If the cost of benefits increases or decreases during a benefit
Your Employer has chosen to administer this Plan in                        period, your Employer may, in accordance with plan terms,
accordance with Section 125 regulations of the Internal                    automatically change your elective contribution.
Revenue Code. Per this regulation, you may agree to a pretax               When the change in cost is significant, you may either
salary reduction put toward the cost of your benefits.                     increase your contribution or elect less-costly coverage. When
Otherwise, you will receive your taxable earnings as cash                  a significant overall reduction is made to the benefit option
(salary).                                                                  you have elected, you may elect another available benefit
                                                                           option. When a new benefit option is added, you may change
                                                                           your election to the new benefit option.



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F. Changes in coverage of spouse or Dependent under                     adoption when you become legally obligated to support that
another employer’s plan                                                 child, totally or partially, prior to that child’s adoption.
You may make a coverage election change if the plan of your             If a child placed for adoption is not adopted, all health
spouse or Dependent: incurs a change such as adding or                  coverage ceases when the placement ends, and will not be
deleting a benefit option; allows election changes due to               continued.
Special Enrollment, Change in Status, Court Order or                    The provisions in the “Exception for Newborns” section of
Medicare or Medicaid Eligibility/Entitlement; or this Plan and          this document that describe requirements for enrollment and
the other plan have different periods of coverage or open               effective date of insurance will also apply to an adopted child
enrollment periods.                                                     or a child placed with you for adoption.
G. Reduction in work hours
If an Employee’s work hours are reduced below 30                        HC-FED67                                                      09-14
hours/week (even if it does not result in the Employee losing
eligibility for the Employer’s coverage); and the Employee
(and family) intend to enroll in another plan that provides
Minimum Essential Coverage (MEC). The new coverage must                 Coverage for Maternity Hospital Stay
be effective no later than the 1st day of the 2nd month                 Group health plans and health insurance issuers offering group
following the month that includes the date the original                 health insurance coverage generally may not, under a federal
coverage is revoked.                                                    law known as the “Newborns’ and Mothers’ Health Protection
H. Enrollment in a Qualified Health Plan (QHP)                          Act”: restrict benefits for any Hospital length of stay in
                                                                        connection with childbirth for the mother or newborn child to
Employee: The Employee must be eligible for a Special
                                                                        less than 48 hours following a vaginal delivery, or less than 96
Enrollment Period to enroll in a QHP through an Exchange
                                                                        hours following a cesarean section; or require that a provider
(Marketplace) or the Employee seeks to enroll in a QHP
                                                                        obtain authorization from the plan or insurance issuer for
through an Exchange during the Marketplace’s annual open
                                                                        prescribing a length of stay not in excess of the above periods.
enrollment period; and the disenrollment from the group plan
                                                                        The law generally does not prohibit an attending provider of
corresponds to the intended enrollment of the Employee (and
                                                                        the mother or newborn, in consultation with the mother, from
family) in a QHP through an Exchange for new coverage
                                                                        discharging the mother or newborn earlier than 48 or 96 hours,
effective beginning no later than the day immediately
                                                                        as applicable.
following the last day of the original coverage.
                                                                        Please review this Plan for further details on the specific
Family: A plan may allow an Employee to revoke family
                                                                        coverage available to you and your Dependents.
coverage midyear in order for family members (“related
individuals”) to enroll in a QHP through an Exchange
(Marketplace). The related individual(s) must be eligible for a         HC-FED11                                                      10-10
Special Enrollment Period to enroll in a QHP or seek to enroll
in a QHP during the Marketplace’s annual open enrollment
period, and the disenrollment from the group plan corresponds
to the intended enrollment of the individual(s) in a QHP for
                                                                        Women’s Health and Cancer Rights Act
new coverage effective beginning no later than the day                  (WHCRA)
immediately following the last day of the original coverage. If         Do you know that your plan, as required by the Women’s
the Employee does not enroll in a QHP, the Employee must                Health and Cancer Rights Act of 1998, provides benefits for
select self-only coverage or family coverage including one or           mastectomy-related services including all stages of
more already-covered individuals.                                       reconstruction and surgery to achieve symmetry between the
                                                                        breasts, prostheses, and complications resulting from a
                                                                        mastectomy, including lymphedema? Call Member Services at
HC-FED112                                                  01-23
                                                                        the toll free number listed on your ID card for more
                                                                        information.

Eligibility for Coverage for Adopted Children
                                                                        HC-FED12                                                      10-10
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for



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Group Plan Coverage Instead of Medicaid                                     and your Dependents. They do not apply to any Life, Short-
                                                                            term or Long-term Disability or Accidental Death &
If your income and liquid resources do not exceed certain
                                                                            Dismemberment coverage you may have.
limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is                Continuation of Coverage
cost effective. This includes premiums for continuation                     For leaves of less than 31 days, coverage will continue as
coverage required by federal law.                                           described in the Termination section regarding Leave of
                                                                            Absence.
HC-FED13                                                       10-10        For leaves of 31 days or more, you may continue coverage for
                                                                            yourself and your Dependents as follows:
                                                                            You may continue benefits by paying the required premium to
Requirements of Family and Medical Leave Act                                your Employer, until the earliest of the following:
of 1993 (as amended) (FMLA)                                                 •   24 months from the last day of employment with the
                                                                                Employer;
Any provisions of the policy that provide for: continuation of
insurance during a leave of absence; and reinstatement of                   •   the day after you fail to return to work; and
insurance following a return to Active Service; are modified                •   the date the policy cancels.
by the following provisions of the federal Family and Medical               Your Employer may charge you and your Dependents up to
Leave Act of 1993, as amended, where applicable:                            102% of the total premium.
Continuation of Health Insurance During Leave                               Reinstatement of Benefits (applicable to all coverages)
Your health insurance will be continued during a leave of                   If your coverage ends during the leave of absence because you
absence if:                                                                 do not elect USERRA at the expiration of USERRA and you
•   that leave qualifies as a leave of absence under the Family             are reemployed by your current Employer, coverage for you
    and Medical Leave Act of 1993, as amended; and                          and your Dependents may be reinstated if you gave your
•   you are an eligible Employee under the terms of that Act.               Employer advance written or verbal notice of your military
                                                                            service leave, and the duration of all military leaves while you
The cost of your health insurance during such leave must be
                                                                            are employed with your current Employer does not exceed 5
paid, whether entirely by your Employer or in part by you and
                                                                            years.
your Employer.
                                                                            You and your Dependents will be subject to only the balance
Reinstatement of Canceled Insurance Following Leave
                                                                            of a waiting period that was not yet satisfied before the leave
Upon your return to Active Service following a leave of                     began. However, if an Injury or Sickness occurs or is
absence that qualifies under the Family and Medical Leave                   aggravated during the military leave, full Plan limitations will
Act of 1993, as amended, any canceled insurance (health, life               apply.
or disability) will be reinstated as of the date of your return.
                                                                            If your coverage under this plan terminates as a result of your
You will not be required to satisfy any eligibility or benefit              eligibility for military medical and dental coverage and your
waiting period to the extent that they had been satisfied prior             order to active duty is canceled before your active duty service
to the start of such leave of absence.                                      commences, these reinstatement rights will continue to apply.
Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.                           HC-FED18                                                     10-10



HC-FED93                                                       10-17

                                                                            Claim Determination Procedures under ERISA
                                                                            The following complies with federal law. Provisions of
Uniformed Services Employment and Re-                                       applicable laws of your state may supersede.
Employment Rights Act of 1994 (USERRA)                                      Procedures Regarding Medical Necessity Determinations
The Uniformed Services Employment and Re-employment                         In general, health services and benefits must be Medically
Rights Act of 1994 (USERRA) sets requirements for                           Necessary to be covered under the plan. The procedures for
continuation of health coverage and re-employment in regard                 determining Medical Necessity vary, according to the type of
to an Employee’s military leave of absence. These                           service or benefit requested, and the type of health plan.
requirements apply to medical and dental coverage for you


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Medical Necessity determinations are made on a preservice,              expedited determination within 72 hours after receiving the
concurrent, or postservice basis, as described below:                   request.
Certain services require prior authorization in order to be             However, if necessary information is missing from the
covered. The booklet describes who is responsible for                   request, Cigna will notify you or your representative within 24
obtaining this review. You or your authorized representative            hours after receiving the request to specify what information is
(typically, your health care professional) must request prior           needed. You or your representative must provide the specified
authorization according to the procedures described below, in           information to Cigna within 48 hours after receiving the
the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of


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the following that pertain to the determination: information               If your designation of an authorized representative is revoked,
sufficient to identify the claim including, if applicable, the             or Cigna does not honor your designation, you may appoint a
date of service, provider and claim amount; diagnosis and                  new authorized representative at any time, in writing, using a
treatment codes, and their meanings; the specific reason or                form approved by Cigna.
reasons for the adverse determination including, if applicable,
the denial code and its meaning and a description of any
                                                                           HC-FED88                                                       01-17
standard that was used in the denial; reference to the specific
plan provisions on which the determination is based; a
description of any additional material or information necessary
to perfect the claim and an explanation of why such material               Medical - When You Have a Complaint or an
or information is necessary; a description of the plan’s review            Appeal
procedures and the time limits applicable, including a
statement of a claimant’s rights to bring a civil action under             For the purposes of this section, any reference to "you" or
section 502(a) of ERISA following an adverse benefit                       "your" also refers to a representative or provider designated by
determination on appeal, (if applicable); upon request and free            you to act on your behalf; unless otherwise noted.
of charge, a copy of any internal rule, guideline, protocol or             We want you to be completely satisfied with the services you
other similar criterion that was relied upon in making the                 receive. That is why we have established a process for
adverse determination regarding your claim; and an                         addressing your concerns and solving your problems.
explanation of the scientific or clinical judgment for a                   Start With Customer Service
determination that is based on a Medical Necessity,
                                                                           We are here to listen and help. If you have a concern
experimental treatment or other similar exclusion or limit; a
                                                                           regarding a person, a service, the quality of care, contractual
description of any available internal appeal and/or external
                                                                           benefits, or a rescission of coverage, you may call the toll-
review process(es); information about any office of health
                                                                           free number on your ID card, explanation of benefits, or
insurance consumer assistance or ombudsman available to
                                                                           claim form and explain your concern to one of our Customer
assist you with the appeal process; and in the case of a claim
                                                                           Service representatives. You may also express that concern
involving urgent care, a description of the expedited review
                                                                           in writing.
process applicable to such claim.
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
HC-FED104                                                     01-19        concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
                                                                           results of a coverage decision, you may start the appeals
Appointment of Authorized Representative                                   procedure.
You may appoint an authorized representative to assist you in              Internal Appeals Procedure
submitting a claim or appealing a claim denial. However,                   To initiate an appeal of an adverse benefit determination, you
Cigna may require you to designate your authorized                         must submit a request for an appeal to Cigna within 180 days
representative in writing using a form approved by Cigna. At               of receipt of a denial notice. If you appeal a reduction or
all times, the appointment of an authorized representative is              termination in coverage for an ongoing course of treatment
revocable by you. To ensure that a prior appointment remains               that Cigna previously approved, you will receive, as required
valid, Cigna may require you to re-appoint your authorized                 by applicable law, continued coverage pending the outcome of
representative, from time to time.                                         an appeal.
Cigna reserves the right to refuse to honor the appointment of             You should state the reason why you feel your appeal should
a representative if Cigna reasonably determines that:                      be approved and include any information supporting your
•   the signature on an authorized representative form may not             appeal. If you are unable or choose not to write, you may ask
    be yours, or                                                           Cigna to register your appeal by telephone. Call or write us at
                                                                           the toll-free number on your ID card, explanation of benefits,
•   the authorized representative may not have disclosed to you
                                                                           or claim form.
    all of the relevant facts and circumstances relating to the
    overpayment or underpayment of any claim, including, for               Your appeal will be reviewed and the decision made by
    example, that the billing practices of the provider of medical         someone not involved in the initial decision. Appeals
    services may have jeopardized your coverage through the                involving Medical Necessity or clinical appropriateness will
    waiver of the cost-sharing amounts that you are required to            be considered by a health care professional.
    pay under your plan.


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We will respond in writing with a decision within 30 calendar           discharged from a facility, the external review shall be
days after we receive an appeal for a required preservice or            completed within 72 hours.
concurrent care coverage determination or a postservice                 Notice of Benefit Determination on Appeal
Medical Necessity determination. We will respond within 60
calendar days after we receive an appeal for any other                  Every notice of a determination on appeal will be provided in
postservice coverage determination. If more time or                     writing or electronically and, if an adverse determination, will
information is needed to make the determination, we will                include: information sufficient to identify the claim including,
notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
                                                                        including, if applicable, the denial code and its meaning and a
In the event any new or additional information (evidence) is            description of any standard that was used in the denial;
considered, relied upon or generated by Cigna in connection             reference to the specific plan provisions on which the
with the appeal, this information will be provided                      determination is based; a statement that the claimant is entitled
automatically to you as soon as possible and sufficiently in            to receive, upon request and free of charge, reasonable access
advance of the decision, so that you will have an opportunity           to and copies of all documents, records, and other Relevant
to respond. Also, if any new or additional rationale is                 Information as defined below; a statement describing any
considered by Cigna, Cigna will provide the rationale to you            voluntary appeal procedures offered by the plan and the
as soon as possible and sufficiently in advance of the decision         claimant's right to bring an action under ERISA section
so that you will have an opportunity to respond.                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
                                                                        dispute resolution options such as Mediation. One way to find
External Review Procedure                                               out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's             Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review                        Relevant Information
Organization (IRO). The IRO is composed of persons who are
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
                                                                        course of making the benefit determination, without regard to
There is no charge for you to initiate an external review. Cigna        whether such document, record, or other information was
and your benefit plan will abide by the decision of the IRO.            relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator            compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review                required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected         or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
received emergency services, but you have not yet been


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Legal Action                                                                  covered by the Plan on the day the qualifying event occurred:
If your plan is governed by ERISA, you have the right to bring                you, your spouse, and your Dependent children. Each
a civil action under section 502(a) of ERISA if you are not                   qualified beneficiary has their own right to elect or decline
satisfied with the outcome of the Appeals Procedure. In most                  COBRA continuation coverage even if you decline or are not
instances, you may not initiate a legal action against Cigna                  eligible for COBRA continuation.
until you have completed the appeal processes. However, no                    The following individuals are not qualified beneficiaries for
action will be brought at all unless brought within 3 years after             purposes of COBRA continuation: domestic partners,
a claim is submitted for In-Network Services or within three                  grandchildren (unless adopted by you), stepchildren (unless
years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
HC-FED110                                                        01-21
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Secondary Qualifying Events
What is COBRA Continuation Coverage?                                          If, as a result of your termination of employment or reduction
                                                                              in work hours, your Dependent(s) have elected COBRA
Under federal law, you and/or your Dependents must be given                   continuation coverage and one or more Dependents experience
the opportunity to continue health insurance when there is a                  another COBRA qualifying event, the affected Dependent(s)
“qualifying event” that would result in loss of coverage under                may elect to extend their COBRA continuation coverage for
the Plan. You and/or your Dependents will be permitted to                     an additional 18 months (7 months if the secondary event
continue the same coverage under which you or your                            occurs within the disability extension period) for a maximum
Dependents were covered on the day before the qualifying                      of 36 months from the initial qualifying event. The second
event occurred, unless you move out of that plan’s coverage                   qualifying event must occur before the end of the initial 18
area or the plan is no longer available. You and/or your                      months of COBRA continuation coverage or within the
Dependents cannot change coverage options until the next                      disability extension period discussed below. Under no
open enrollment period.                                                       circumstances will COBRA continuation coverage be
When is COBRA Continuation Available?                                         available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                            event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following                  divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of                      to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                                      Disability Extension
•   your termination of employment for any reason, other than                 If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                                      termination of employment or reduction in work hours, you or
•   your reduction in work hours.                                             one of your Dependents is determined by the Social Security
                                                                              Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is
                                                                              XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following
                                                                              elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of
                                                                              continuation for an additional 11 months, for a maximum of
coverage under the Plan:
                                                                              29 months from the initial qualifying event.
•   your death;
                                                                              To qualify for the disability extension, all of the following
•   your divorce or legal separation; or                                      requirements must be satisfied:
•   for a Dependent child, failure to continue to qualify as a                •   SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                                     within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                            continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may                •   A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                          to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were


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    date the SSA determination is made AND before the end of            area. If the Employer offers another benefit option through
    the initial 18-month continuation period.                           Cigna or another carrier which can provide coverage in your
If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all                Your Employer is required to provide you and/or your
covered persons on the first day of the month that is more than         Dependents with the following notices:
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.                     •   An initial notification of COBRA continuation rights must
                                                                            be provided within 90 days after your (or your spouse’s)
All causes for “Termination of COBRA Continuation” listed                   coverage under the Plan begins (or the Plan first becomes
below will also apply to the period of disability extension.                subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your              •   A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your                • if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.                         and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
•   the end of the COBRA continuation period of 18, 29 or 36                • if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
                                                                              Plan Administrator of a qualifying event starts upon the
•   failure to pay the required premium within 30 calendar days               occurrence of a qualifying event, 44 days after the
    after the due date;                                                       qualifying event occurs; or
•   cancellation of the Employer’s policy with Cigna;                       • in the case of a multi-employer plan, no later than 14 days
•   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
•   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for          The COBRA coverage election notice will list the individuals
    which the new plan limits or excludes coverage under a pre-         who are eligible for COBRA continuation coverage and
    existing condition provision. In such case coverage will            inform you of the applicable premium. The notice will also
    continue until the earliest of: the end of the applicable           include instructions for electing COBRA continuation
    maximum period; the date the pre-existing condition                 coverage. You must notify the Plan Administrator of your
    provision is no longer applicable; or the occurrence of an          election no later than the due date stated on the COBRA
    event described in one of the first three bullets above;            election notice. If a written election notice is required, it must
•   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
                                                                        the due date, you may change your mind as long as you
If you and/or your Dependents move out of the Employer’s                furnish a completed election form before the due date.
service area or the Employer eliminates a service area in your
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are



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qualified beneficiaries. Parents may elect to continue coverage        during this time. Any providers who contact the Plan to
on behalf of their Dependent children. You or your spouse              confirm coverage during this time may be informed that
may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%               •   Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or             •   Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active            •   The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the


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United States Code, you may be entitled to COBRA                        Plan Trustees
continuation coverage. If the bankruptcy results in a loss of           A list of any Trustees of the Plan, which includes name, title
coverage for you, your Dependents or your surviving spouse              and address, is available upon request to the Plan
within one year before or after such proceeding, you and your           Administrator.
covered Dependents will become COBRA qualified
beneficiaries with respect to the bankruptcy. You will be               Plan Type
entitled to COBRA continuation coverage until your death.               The plan is a healthcare benefit plan.
Your surviving spouse and covered Dependent children will               Collective Bargaining Agreements
be entitled to COBRA continuation coverage for up to 36
months following your death. However, COBRA continuation                You may contact the Plan Administrator to determine whether
coverage will cease upon the occurrence of any of the events            the Plan is maintained pursuant to one or more collective
listed under “Termination of COBRA Continuation” above.                 bargaining agreements and if a particular Employer is a
                                                                        sponsor. A copy is available for examination from the Plan
Interaction With Other Continuation Benefits                            Administrator upon written request.
You may be eligible for other continuation benefits under state         Discretionary Authority
law. Refer to the Termination section for any other
continuation benefits.                                                  The Plan Administrator delegates to Cigna the discretionary
                                                                        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
HC-FED66                                                   07-14        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
                                                                        persons desiring to enroll in or claim benefits under the plan,
                                                                        the determination of whether a person is entitled to benefits
ERISA Required Information                                              under the plan, and the computation of any and all benefit
The name of the Plan is:                                                payments. The Plan Administrator also delegates to Cigna the
  Entegris, Inc. Welfare Benefits Plan                                  discretionary authority to perform a full and fair review, as
                                                                        required by ERISA, of each claim denial which has been
The name, address, ZIP code and business telephone number
                                                                        appealed by the claimant or his duly authorized representative.
of the sponsor of the Plan is:
                                                                        Plan Modification, Amendment and Termination
  Entegris, Inc.
  129 Concord Road                                                      The Employer as Plan Sponsor reserves the right to, at any
  Billerica, MA 01821                                                   time, change or terminate benefits under the Plan, to change or
  952-556-3131                                                          terminate the eligibility of classes of employees to be covered
                                                                        by the Plan, to amend or eliminate any other plan term or
Employer Identification            Plan Number:
                                                                        condition, and to terminate the whole plan or any part of it.
Number (EIN):
                                                                        Contact the Employer for the procedure by which benefits
411941551                          520                                  may be changed or terminated, by which the eligibility of
The name, address, ZIP code and business telephone number               classes of employees may be changed or terminated, or by
of the Plan Administrator is:                                           which part or all of the Plan may be terminated. No consent of
  Employer named above                                                  any participant is required to terminate, modify, amend or
                                                                        change the Plan.
The name, address and ZIP code of the person designated as
agent for service of legal process is:                                  Termination of the Plan together with termination of the
                                                                        insurance policy(s) which funds the Plan benefits will have no
  Employer named above                                                  adverse effect on any benefits to be paid under the policy(s)
The office designated to consider the appeal of denied claims           for any covered medical expenses incurred prior to the date
is:                                                                     that policy(s) terminates. Likewise, any extension of benefits
  The Cigna Claim Office responsible for this Plan                      under the policy(s) due to you or your Dependent's total
                                                                        disability which began prior to and has continued beyond the
The cost of the Plan is shared by Employee and Employer.                date the policy(s) terminates will not be affected by the Plan
The Plan’s fiscal year ends on 12/31.                                   termination. Rights to purchase limited amounts of life and
The preceding pages set forth the eligibility requirements and          medical insurance to replace part of the benefits lost because
benefits provided for you under this Plan.                              the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
•   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
•   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
•   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
•   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights           not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income                      administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan                or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
•   examine, without charge, at the Plan Administrator’s office           thereof concerning the qualified status of a domestic relations
    and at other specified locations, such as worksites and union         order or a medical child support order, you may file suit in
    halls, all documents governing the plan, including insurance          federal court. If it should happen that plan fiduciaries misuse
    contracts and collective bargaining agreements and a copy             the plan’s money, or if you are discriminated against for
    of the latest annual report (Form 5500 Series) filed by the           asserting your rights, you may seek assistance from the U.S.
    plan with the U.S. Department of Labor and available at the           Department of Labor, or you may file suit in a federal court.
    Public Disclosure room of the Employee Benefits Security              The court will decide who should pay court costs and legal
    Administration.                                                       fees. If you are successful the court may order the person you
•   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator               If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.                          the plan administrator. If you have any questions about this
•   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
•   continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
    Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
    result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
    have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
    governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
    continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
•   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
•   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of acute neuromusculoskeletal conditions
Health Service Act (42 USC 262(i)) (as amended by the                     through manipulation and ancillary physiological treatment
Biologics Price Competition and Innovation Act of 2009, title             rendered to specific joints to restore motion, reduce pain and
VII of the Patient Protection and Affordable Care Act, Pub. L.            improve function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS1717                                                  01-22



HC-DFS840                                                    10-16
                                                                          Convenience Care Clinics
                                                                          Convenience Care Clinics are staffed by nurse practitioners
Biosimilar                                                                and physician assistants and offer customers convenient,
A Biologic that is highly similar to the reference Biologic               professional walk-in care for common ailments and routine
product notwithstanding minor differences in clinically                   services. Convenience Care Clinics have extended hours and
inactive components, and has no clinically meaningful                     are located in or near easy-to-access, popular locations
differences from the reference Biologic in terms of its safety,           (pharmacies, grocery and free-standing locations) with or
purity, and potency, as defined under Section 351(i) of the               without appointment.
Public Health Service Act (42 USC 262(i)) (as amended by
the Biologics Price Competition and Innovation Act of 2009,
                                                                          HC-DFS1629                                                  07-21
title VII of the Patient Protection and Affordable Care Act,



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Custodial Services                                                          Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent or Dependent spouse unless the Dependent or
safeguarding nature. Such services may include a stay in an                 Dependent spouse declines Employee coverage. A child under
institutional setting, at-home care, or nursing services to care            age 26 may be covered as either an Employee or as a
for someone because of age or mental or physical condition.                 Dependent child. You cannot be covered as an Employee
This service primarily helps the person in daily living.                    while also covered as a Dependent of an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS1718                                                      01-22
for himself or herself. Custodial Services include but are not
limited to:
•   Services related to watching or protecting a person;                    Domestic Partner
•   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                  •   shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                            •   has resided with you for no less than one year;
    can be self administered, and
                                                                            •   is no less than 18 years of age;
•   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                       •   is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
•   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
•   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
•   any child of yours who is
                                                                            •   is not a blood relative any closer than would prohibit legal
    • less than 26 years old.
                                                                                marriage; and
    • 26 or more years old, unmarried, and primarily supported
                                                                            •   has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after             •   has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition               •   is currently legally married to another person; or
      and dependence.                                                       •   has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.
Benefits for a Dependent child will continue until the last day
of the calendar month in which the limiting age is reached.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
                                                                         providing claim administration services.
HC-DFS47                                                    04-10
                                                              V1
                                                                         HC-DFS1615                                                      01-22



Emergency Medical Condition                                              Essential Health Benefits
Emergency Medical Condition means a medical condition,                   Essential health benefits means, to the extent covered under
including a mental health condition or substance use disorder,           the plan, expenses incurred with respect to covered services, in
manifesting itself by acute symptoms of sufficient severity              at least the following categories: ambulatory patient services,
(including severe pain) such that a prudent layperson, who               emergency services, hospitalization, maternity and newborn
possesses an average knowledge of health and medicine, could             care, mental health and substance use disorder services,
reasonably expect the absence of immediate medical attention             including behavioral health treatment, prescription drugs,
to result in placing the health of the individual (or, with              rehabilitative and habilitative services and devices, laboratory
respect to a pregnant woman, the health of the woman or her              services, preventive and wellness services and chronic disease
unborn child) in serious jeopardy; serious impairment to                 management and pediatric services, including oral and vision
bodily functions; or serious dysfunction of any bodily organ or          care.
part.

                                                                         HC-DFS411                                                       01-11
HC-DFS1766                                                  01-23


                                                                         Expense Incurred
Emergency Services
                                                                         An expense is incurred when the service or the supply for
Emergency Services means, with respect to an Emergency                   which it is incurred is provided.
Medical Condition, a medical screening examination that is
within the capability of the emergency department of a
Hospital or of an independent freestanding emergency facility,           HC-DFS10                                                        04-10
including ancillary services routinely available to the                                                                                    V1

emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and
                                                                         Free-Standing Surgical Facility
treatment, to the extent they are within the capabilities of the
staff and facilities available at the Hospital or emergency              The term Free-Standing Surgical Facility means an institution
department, as are required to Stabilize the patient.                    which meets all of the following requirements:
                                                                         •   it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
HC-DFS1764                                                  01-23
                                                                         •   it maintains at least two operating rooms and one recovery
                                                                             room;
Employee
                                                                         •   it maintains diagnostic laboratory and x-ray facilities;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does               •   it has equipment for emergency care;
not include Employees who are part-time or temporary or who              •   it has a blood supply;
normally work less than 30 hours a week for the Employer.                •   it maintains medical records;
                                                                         •   it has agreements with Hospitals for immediate acceptance
HC-DFS1094                                                  12-17            of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
                                                                         •   it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                             •   an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                             •   an institution which qualifies as a hospital, a psychiatric
•   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
•   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient              •   an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
•   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                  V1
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,
or any other licensed facility or agency under a Hospice Care                Hospital Confinement or Confined in a Hospital
Program.
                                                                             A person will be considered Confined in a Hospital if he is:
                                                                             •   a registered bed patient in a Hospital upon the
HC-DFS52                                                        04-10            recommendation of a Physician;
                                                                  V1
                                                                             •   receiving treatment for Mental Health and Substance Use
                                                                                 Disorder Services in a Mental Health or Substance Use
Hospice Facility                                                                 Disorder Residential Treatment Center.
The term Hospice Facility means an institution or part of it
which:                                                                       HC-DFS807                                                        12-15
•   primarily provides care for Terminally Ill patients;
•   is accredited by the National Hospice Organization;                      Injury
•   meets standards established by Cigna; and                                The term Injury means an accidental bodily injury.
•   fulfills any licensing requirements of the state or locality in
    which it operates.
                                                                             HC-DFS12                                                         04-10
                                                                                                                                                V1

HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                          allowable reimbursement for the same or similar service or
The term Maintenance Treatment means:                                          supply within the geographic market. In the event that
                                                                               Medicare does not have a published rate for a particular
•   treatment rendered to keep or maintain the patient's current               service or supply, Cigna may, in its discretion, determine
    status.                                                                    the MRC based on a rate for the same or similar service or
                                                                               supply by applying a Medicare-based methodology that
HC-DFS56                                                      04-10            Cigna deems appropriate.
                                                                V1         The percentage used to determine the Maximum Reimbursable
                                                                           Charge is 110.
Maximum Reimbursable Charge – Medical                                      Note: Some providers attempt to forgive, waive, or not collect
                                                                           the cost share obligation (e.g., your Copayment, Coinsurance
See The Medical Schedule for information about Out-of-
                                                                           and/or Deductible amount(s), if any), that this plan requires
Network Charges for Certain Services, Out-of-Network
                                                                           you to pay. This practice jeopardizes your coverage under this
Emergency Services Charges, and Out-of-Network Air
                                                                           plan. Please read the Exclusions, Expenses Not Covered and
Ambulance Services Charges.
                                                                           General Limitations section, or call Cigna at the phone
The Maximum Reimbursable Charge (also referred to as                       number on your ID card for more details.
MRC) is the maximum amount that your plan will pay an Out-
of-Network health care provider for a Covered Expense. Your
applicable Out-of-Network Copayment, Coinsurance and/or                    HC-DFS1853                                                       01-24

Deductible amount(s), if any, set forth in The Schedule are
determined based on the MRC. Unless prohibited by                          Medicaid
applicable law or agreement, Out-of-Network providers may
also bill you for the difference between the MRC and their                 The term Medicaid means a state program of medical aid for
charges, and you may be financially responsible for that                   needy persons established under Title XIX of the Social
amount. If you receive a bill from an Out-of-Network provider              Security Act of 1965 as amended.
for more than the What I Owe amount on the Explanation of
Benefits (EOB), please call Cigna at the phone number on                   HC-DFS16                                                         04-10
your ID card.                                                                                                                                 V1
If an Out-of-Network provider is willing to agree to a rate that
Cigna, in its discretion, determines to be market competitive,
                                                                           Medical Pharmaceutical
then that rate will become the MRC used to calculate the Out-
of-Network allowable amount for a Covered Expense. An                      Medical Pharmaceuticals are used for treatment of complex
Out-of-Network provider can agree to a rate by: (i) entering               chronic conditions, are administered and handled in a
into an agreement with Cigna or one of Cigna’s third-party                 specialized manner, and may be high cost. Because of their
vendors that establishes the rate the Out-of-Network provider              characteristics, they require a qualified Physician to administer
is willing to accept as payment for the Out-of-Network                     or directly supervise administration. Some Medical
Covered Expense; or (ii) receiving a payment from Cigna                    Pharmaceuticals may initially or typically require Physician
based on an allowed amount that Cigna or one of Cigna’s                    oversight but subsequently may be self-administered under
third-party vendors has determined is a market competitive                 certain conditions specified in the product’s FDA labeling.
rate without billing you and/or obligating you to pay the
difference between the payment amount and the charged
                                                                           HC-DFS1722                                                       07-22
amount.
If an Out-of-Network provider does not agree to a market
competitive rate as described in the previous paragraph, then              Medically Necessary/Medical Necessity
the MRC for Open Access Plus will be based on an amount                    Health care services, supplies and medications provided for
required by law, or if no amount is required by law, then the              the purpose of preventing, evaluating, diagnosing or treating a
lesser of:                                                                 Sickness, Injury, condition, disease or its symptoms, that are
•   the providers normal charge for a similar service or supply;           all of the following as determined by a Medical Director or
    or                                                                     Review Organization:
•   the planholder-selected percentage of a fee schedule Cigna             •   required to diagnose or treat an illness, Injury, disease or its
    has developed that is based upon a methodology similar to a                symptoms;
    methodology utilized by Medicare to determine the


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•   in accordance with generally accepted standards of medical
    practice;                                                                  New Prescription Drug Product
•   clinically appropriate in terms of type, frequency, extent,                A Prescription Drug Product, or new use or dosage form of a
    site and duration;                                                         previously FDA-approved Prescription Drug Product, for the
•   not primarily for the convenience of the patient, Physician                period of time starting on the date the Prescription Drug
    or Other Health Professional;                                              Product or newly-approved use or dosage form becomes
•   not more costly than an alternative service(s), medication(s)              available on the market following approval by the U.S. Food
    or supply(ies) that is at least as likely to produce equivalent            and Drug Administration (FDA) and ending on the date Cigna
    therapeutic or diagnostic results with the same safety profile             makes a Prescription Drug List coverage status decision.
    as to the prevention, evaluation, diagnosis or treatment of
    your Sickness, Injury, condition, disease or its symptoms;                 HC-DFS1498                                                    07-20
    and
•   rendered in the least intensive setting that is appropriate for
                                                                               Nurse
    the delivery of the services, supplies or medications. Where
    applicable, the Medical Director or Review Organization                    The term Nurse means a Registered Graduate Nurse, a
    may compare the cost-effectiveness of alternative services,                Licensed Practical Nurse or a Licensed Vocational Nurse who
    supplies, medications or settings when determining least                   has the right to use the abbreviation "R.N.," "L.P.N." or
    intensive setting.                                                         "L.V.N."
In determining whether health care services, supplies, or
medications are Medically Necessary, the Medical Director or                   HC-DFS22                                                      04-10
Review Organization may rely on the clinical coverage                                                                                          V1
policies maintained by Cigna or the Review Organization.
Clinical coverage policies may incorporate, without limitation
and as applicable, criteria relating to U.S. Food and Drug                     Other Health Care Facility
Administration-approved labeling, the standard medical                         The term Other Health Care Facility means a facility other
reference compendia and peer-reviewed, evidence-based                          than a Hospital or Hospice Facility. Examples of Other Health
scientific literature or guidelines.                                           Care Facilities include, but are not limited to, licensed skilled
                                                                               nursing facilities, rehabilitation Hospitals and subacute
                                                                               facilities.
HC-DFS1486                                                        01-21


                                                                               HC-DFS1489                                                    01-21
Medicare
The term Medicare means the program of medical care
benefits provided under Title XVIII of the Social Security Act                 Other Health Professional
of 1965 as amended.                                                            The term Other Health Professional means an individual other
                                                                               than a Physician who is licensed or otherwise authorized under
                                                                               the applicable state law to deliver medical services and
HC-DFS17                                                          04-10
                                                                               supplies. Other Health Professionals include, but are not
                                                                    V1
                                                                               limited to physical therapists, registered nurses and licensed
                                                                               practical nurses. Other Health Professionals do not include
Necessary Services and Supplies                                                providers such as Certified First Assistants, Certified
                                                                               Operating Room Technicians, Certified Surgical
The term Necessary Services and Supplies includes any
                                                                               Assistants/Technicians, Licensed Certified Surgical
charges, except charges for Room and Board, made by a
                                                                               Assistants/Technicians, Licensed Surgical Assistants,
Hospital for medical services and supplies actually used
                                                                               Orthopedic Physician Assistants and Surgical First Assistants.
during Hospital Confinement.
The term Necessary Services and Supplies will not include
any charges for special nursing fees, dental fees or medical                   HC-DFS1490                                                    01-21

fees.


HC-DFS1488                                                        01-21




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Participating Provider                                                   a Primary Care Physician with, as authorized by Cigna, to
The term Participating Provider means a person or entity that            provide or arrange for medical care for you or any of your
has a direct or indirect contractual arrangement with Cigna to           insured Dependents.
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has               HC-DFS40                                                     04-10
directly or indirectly contracted with Cigna to arrange, through                                                                        V1
contracts with providers of services and/or supplies, for the
provision of any services and/or supplies, the Charges for
which are Covered Expenses.                                              Psychologist
                                                                         The term Psychologist means a person who is licensed or
                                                                         certified as a clinical psychologist. Where no licensure or
HC-DFS1194                                                  01-19
                                                                         certification exists, the term Psychologist means a person who
                                                                         is considered qualified as a clinical psychologist by a
Patient Protection and Affordable Care Act of 2010                       recognized psychological association. It will also include any
(“PPACA”)                                                                other licensed counseling practitioner whose services are
Patient Protection and Affordable Care Act of 2010 means the             required to be covered by law in the locality where the policy
Patient Protection and Affordable Care Act of 2010 (Public               is issued if he is operating within the scope of his license and
Law 111-148) as amended by the Health Care and Education                 performing a service for which benefits are provided under
Reconciliation Act of 2010 (Public Law 111-152).                         this plan when performed by a Psychologist.


                                                                         HC-DFS26                                                     04-10
HC-DFS412                                                   01-11
                                                                                                                                        V1


Physician
                                                                         Review Organization
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 The term Review Organization refers to an affiliate of Cigna
licensed to prescribe and administer drugs or to perform                 or another entity to which Cigna has delegated responsibility
surgery. It will also include any other licensed medical                 for performing utilization review services. The Review
practitioner whose services are required to be covered by law            Organization is an organization with a staff of clinicians which
in the locality where the policy is issued if he is:                     may include Physicians, Registered Graduate Nurses, licensed
                                                                         mental health and substance use disorder professionals, and
•   operating within the scope of his license; and                       other trained staff members who perform utilization review
•   performing a service for which benefits are provided under           services.
    this plan when performed by a Physician.
                                                                         HC-DFS808                                                    12-15
HC-DFS25                                                    04-10
                                                              V1
                                                                         Room and Board
                                                                         The term Room and Board includes all charges made by a
Preventive Treatment                                                     Hospital for room and meals and for all general services and
The term Preventive Treatment means treatment rendered to                activities needed for the care of registered bed patients.
prevent disease or its recurrence.
                                                                         HC-DFS1481                                                   01-21
HC-DFS57                                                    04-10
                                                              V1



Primary Care Physician
The term Primary Care Physician means a Physician who
qualifies as a Participating Provider in general practice,
internal medicine, family practice OB/GYN or pediatrics; and
who has been voluntarily selected by you and is contracted as


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Sickness – For Medical Insurance                                           factors such as method or site of clinical administration, or
The term Sickness means a physical or mental illness. It also              utilization management requirements based on factors such as
includes pregnancy. Expenses incurred for routine Hospital                 acquisition cost. You may determine whether a medication is a
and pediatric care of a newborn child prior to discharge from              Specialty Prescription Drug Product through the website
the Hospital nursery will be considered to be incurred as a                shown on your ID card or by calling member services at the
result of Sickness.                                                        telephone number on your ID card.


                                                                           HC-DFS858                                                   10-16
HC-DFS50                                                      04-10
                                                                V1

                                                                           Stabilize
Skilled Nursing Facility                                                   Stabilize means, with respect to an Emergency Medical
The term Skilled Nursing Facility means a licensed institution             Condition, to provide medical treatment as necessary to assure
(other than a Hospital, as defined) which specializes in:                  that no material deterioration of the condition is likely if the
                                                                           individual is transferred from a facility, or, with respect to a
•   physical rehabilitation on an inpatient basis; or                      pregnant woman who is having contractions, to deliver.
•   skilled nursing and medical care on an inpatient basis;
but only if that institution: maintains on the premises all                HC-DFS1768                                                  01-23
facilities necessary for medical treatment; provides such
treatment, for compensation, under the supervision of
Physicians; and provides Nurses' services.                                 Terminal Illness
                                                                           A Terminal Illness will be considered to exist if a person
HC-DFS31                                                      04-10
                                                                           becomes terminally ill with a prognosis of six months or less
                                                                V1
                                                                           to live, as diagnosed by a Physician.


Specialist                                                                 HC-DFS54                                                    04-10
                                                                                                                                           V1
The term Specialist means a Physician who provides
specialized services, and is not engaged in general practice,
family practice, internal medicine, obstetrics/gynecology or               Therapeutic Alternative
pediatrics.                                                                A Medical Pharmaceutical that is of the same therapeutic or
                                                                           pharmacological class, and usually can be expected to have
HC-DFS33                                                      04-10
                                                                           similar outcomes and adverse reaction profiles when
                                                                V1
                                                                           administered in therapeutically equivalent doses as, another
                                                                           Medical Pharmaceutical or over-the-counter medication.

Specialty Prescription Drug Product
                                                                           HC-DFS859                                                   10-16
A Medical Pharmaceutical considered by Cigna to be a
Specialty Prescription Drug Product based on consideration of
the following factors, subject to applicable law: whether the              Therapeutic Equivalent
Medical Pharmaceutical is prescribed and used for the                      A Medical Pharmaceutical that is a pharmaceutical equivalent
treatment of a complex, chronic or rare condition; whether the             to another Medical Pharmaceutical or over-the-counter
Medical Pharmaceutical has a high acquisition cost; and,                   medication.
whether the Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or              HC-DFS860                                                   10-16

clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
                                                                           Urgent Care
presence of any one such characteristic does not guarantee that
a Medical Pharmaceutical will be considered a Specialty                    Urgent Care is medical, surgical, Hospital or related health
Prescription Drug Product. Specialty Prescription Drug                     care services and testing which are not Emergency Services,
Products may vary by plan benefit assignment based on                      but which are determined by Cigna, in accordance with


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generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1




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                    Exhibit 14
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  Federal Defenders of San
  Diego, Inc.



   OPEN ACCESS PLUS




  EFFECTIVE DATE: February 1, 2022




   CN007
   3339685




   This document printed in March, 2022 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                                                                                   Home Office: Bloomfield, Connecticut
                                                                          Mailing Address: Hartford, Connecticut 06152




  CIGNA HEALTH AND LIFE INSURANCE COMPANY
  a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
  provided by the following policy(s):




  POLICYHOLDER: Federal Defenders of San Diego, Inc.



  GROUP POLICY(S) — COVERAGE
  3339685 - OAP4 OPEN ACCESS PLUS



  EFFECTIVE DATE: February 1, 2022




  This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
  the policy(s). If questions arise, the policy(s) will govern.
  This certificate takes the place of any other issued to you on a prior date which described the insu rance.




  HC-CER5                                                                                                   04-10
                                                                                                              V2
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this Plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
                                                                             Following an initial assessment, the Case Manager works
services by calling the toll-free number shown on the back of
                                                                              with you, your family and Physician to determine the needs
your ID card.
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP63                                                      01-20           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
                                                                              and supplies, as needed (for example, nursing services or a
Case Management is a service provided through a Review                        Hospital bed and other Durable Medical Equipment for the
Organization, which assists individuals with treatment needs                  home).
that extend beyond the acute care setting. The goal of Case
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for                While participation in Case Management is strictly voluntary,
necessary resources. Case Managers are also available to                  Case Management professionals can offer quality, cost-
answer questions and provide ongoing support for the family               effective treatment alternatives, as well as provide assistance
in times of medical crisis.                                               in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
                                                                          HC-SPP2                                                         04-10
neonates, oncology, mental health, rehabilitation or general
                                                                                                                                             V1
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by               Additional Programs
a panel of Physician advisors who offer guidance on up-to-                We may, from time to time, offer or arrange for various
date treatment programs and medical technology. While the                 entities to offer discounts, benefits, or other consideration to
Case Manager recommends alternate treatment programs and                  our members for the purpose of promoting the general health
helps coordinate needed resources, the patient's attending                and well being of our members. We may also arrange for the
Physician remains responsible for the actual medical care.                reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Mental Health Parity and Addiction Equity Act
                                                                         The Certificate is amended as stated below:
HC-SPP3                                                     04-10
                                                                         In the event of a conflict between the provisions of your plan
                                                                V1
                                                                         documents and the provisions of this notice, the provisions
                                                                         that provide the better benefit shall apply.
Care Management and Care Coordination Services
                                                                         Visit Limits:
Cigna may enter into specific collaborative arrangements with
                                                                         Any health care service billed with a Mental Health or
health care professionals committed to improving quality care,
                                                                         Substance Use Disorder diagnosis, will not incur a visit limit,
patient satisfaction and affordability. Through these
                                                                         including but not limited to genetic counseling.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate                  HC-NOT93                                                      08-17
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health
care professionals in these collaborative arrangements.                  Important Information
                                                                         Rebates and Other Payments
HC-SPP27                                                    06-15
                                                                         Cigna or its affiliates may receive rebates or other
                                                                V1
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
                                                                         the Prescription Drug List. These rebates or remuneration are
Important Notices                                                        not obtained on you or your Employer’s or plan’s behalf or for
Direct Access to Obstetricians and Gynecologists                         your benefit.
You do not need prior authorization from the plan or from any            Cigna, its affiliates and the plan are not obligated to pass these
other person (including a primary care provider) in order to             rebates on to you, or apply them to your plan’s Deductible if
obtain access to obstetrical or gynecological care from a health         any or take them into account in determining your
care professional in our network who specializes in obstetrics           Copayments and/or Coinsurance. Cigna and its affiliates or
or gynecology. The health care professional, however, may be             designees may conduct business with various pharmaceutical
required to comply with certain procedures, including                    manufacturers separate and apart from this plan’s Medical
obtaining prior authorization for certain services, following a          Pharmaceutical and Prescription Drug Product benefits. Such
pre-approved treatment plan, or procedures for making                    business may include, but is not limited to, data collection,
referrals. For a list of participating health care professionals         consulting, educational grants and research. Amounts received
who specialize in obstetrics or gynecology, visit                        from pharmaceutical manufacturers pursuant to such
www.mycigna.com or contact customer service at the phone                 arrangements are not related to this plan. Cigna and its
number listed on the back of your ID card.                               affiliates are not required to pass on to you, and do not pass on
                                                                         to you, such amounts.
Selection of a Primary Care Provider
                                                                         Coupons, Incentives and Other Communications
This plan generally allows the designation of a primary care
provider. You have the right to designate any primary care               At various times, Cigna or its designee may send mailings to
provider who participates in the network and who is available            you or your Dependents or to your Physician that
to accept you or your family members. For information on                 communicate a variety of messages, including information
how to select a primary care provider, and for a list of the             about Medical Pharmaceuticals and Prescription Drug
participating primary care providers, visit www.mycigna.com              Products. These mailings may contain coupons or offers from
or contact customer service at the phone number listed on the            pharmaceutical manufacturers that enable you or your
back of your ID card.                                                    Dependents, at your discretion, to purchase the described
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
For children, you may designate a pediatrician as the primary            discount or to obtain it at no charge. Pharmaceutical
care provider.                                                           manufacturers may pay for and/or provide the content for
                                                                         these mailings. Cigna, its affiliates and the plan are not
HC-NOT5                                                     01-11
                                                                         responsible in any way for any decision you make in




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connection with any coupon, incentive, or other offer you may                 Provides free language services to people whose primary
receive from a pharmaceutical manufacturer or Physician.                       language is not English, such as
If Cigna determines that a Pharmacy, pharmaceutical                             Qualified interpreters
manufacturer or other third party is or has waived, reduced, or                 Information written in other languages
forgiven any portion of the charges and/or any portion of
Copayment, Deductible, and/or Coinsurance amount(s) you                    If you need these services, contact customer service at the toll-
are required to pay for a Prescription Drug Product without                free phone number shown on your ID card, and ask a
Cigna’s express consent, then Cigna in its sole discretion shall           Customer Service Associate for assistance.
have the right to deny the payment of plan benefits in                     If you believe that Cigna has failed to provide these services
connection with the Prescription Drug Product, or reduce the               or discriminated in another way on the basis of race, color,
benefits in proportion to the amount of the Copayment,                     national origin, age, disability or sex, you can file a grievance
Deductible, and/or Coinsurance amounts waived, forgiven or                 by sending an email to ACAGrievance@cigna.com or by
reduced, regardless of whether the Pharmacy, pharmaceutical                writing to the following address:
manufacturer or other third party represents that you remain                   Cigna
responsible for any amounts that your plan does not cover. In                  Nondiscrimination Complaint Coordinator
the exercise of that discretion, Cigna shall have the right to                 P.O. Box 188016
require you to provide proof sufficient to Cigna that you have                 Chattanooga, TN 37422
made your required cost share payment(s) prior to the payment
of any benefits by the plan.                                               If you need assistance filing a written grievance, please call
                                                                           the number on the back of your ID card or send an email to
For example, if you use a coupon provided by a                             ACAGrievance@cigna.com. You can also file a civil rights
pharmaceutical manufacturer or other third party that                      complaint with the U.S. Department of Health and Human
discounts the cost of a Prescription Drug Product, Cigna may,              Services, Office for Civil Rights electronically through the
in its sole discretion, reduce the benefits up to the amount of            Office for Civil Rights Complaint Portal, available at:
the incentive, which may be 100% if the incentive covers                   https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
100%. This includes any amount of the Copayment,                           phone at:
Deductible, and/or Coinsurance amounts to which the value of
                                                                               U.S. Department of Health and Human Services
the coupon has been applied by the Pharmacy or other third
                                                                               200 Independence Avenue, SW
party. The amount of the incentive will be excluded from
accumulation toward any plan Deductible or Out-of-Pocket                       Room 509F, HHH Building
Maximum if the value of any coupon was applied to any                          Washington, D.C. 20201
                                                                               1-800-368-1019, 800-537-7697 (TDD)
Copayment, Deductible and/or Co-insurance you are required
to pay.                                                                    Complaint forms are available at
                                                                           http://www.hhs.gov/ocr/office/file/index.html.

HC-IMP267                                                      08-19
                                                                  V3       HC-NOT96                                                      07-17




Discrimination is Against the Law                                          Proficiency of Language Assistance Services
Cigna complies with applicable Federal civil rights laws and               English – ATTENTION: Language assistance services, free
does not discriminate on the basis of race, color, national                of charge, are available to you. For current Cigna customers,
origin, age, disability or sex. Cigna does not exclude people or           call the number on the back of your ID card. Otherwise, call
treat them differently because of race, color, national origin,            1.800.244.6224 (TTY: Dial 711).
age, disability or sex.                                                    Spanish – ATENCIÓN: Hay servicios de asistencia de
Cigna:                                                                     idiomas, sin cargo, a su disposición. Si es un cliente actual de
   Provides free aids and services to people with disabilities to         Cigna, llame al número que figura en el reverso de su tarjeta
    communicate effectively with us, such as:                              de identificación. Si no lo es, llame al 1.800.244.6224 (los
                                                                           usuarios de TTY deben llamar al 711).
     Qualified sign language interpreters
                                                                           Chinese – 注意：我們可為您免費提供語言協助服務。
     Written information in other formats (large print, audio,
                                                                           對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
      accessible electronic formats, other formats)
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。




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Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp             連絡ください。その他の方は、1.800.244.6224（TTY:
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của               711）まで、お電話にてご連絡ください。
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                     Italian – ATTENZIONE: Sono disponibili servizi di
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                     assistenza linguistica gratuiti. Per i clienti Cigna attuali,
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                    chiamare il numero sul retro della tessera di identificazione.
                                                                     In caso contrario, chiamare il numero 1.800.244.6224 (utenti
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                       TTY: chiamare il numero 711).
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                          German – ACHTUNG: Die Leistungen der
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                   Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
                                                                     Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
(TTY: 다이얼 711)번으로 전화해주십시오.                                           Nummer auf der Rückseite Ihrer Krankenversicherungskarte
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                  an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
tulong sa wika nang libre. Para sa mga kasalukuyang customer         Sie 711).
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).                                                          HC-NOT97                                                    07-17



                                                                     Special Plan Provisions
                                                                     The Cigna 24-Hour Health Information Line
                                                                     The 24-Hour Health Information Line (HIL) assists you in
French Creole – ATANSYON: Gen sèvis èd nan lang ki                   understanding the right level of treatment at the right time.
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki          Trained Nurses provide health and medical information and
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                    assist you to choose the most appropriate care resource. Our
(TTY: Rele 711).                                                     Health Information Line Nurses identify level of care
                                                                     resources in the individual’s area (emergency, urgent,
French – ATTENTION: Des services d’aide linguistique vous            Physician, home/self-care), provide general health information
sont proposés gratuitement. Si vous êtes un client actuel de         (preventive care, illness condition definitions, diagnostic and
Cigna, veuillez appeler le numéro indiqué au verso de votre          surgical procedures, etc.), and can help you find network
carte d’identité. Sinon, veuillez appeler le numéro                  providers. You can call the Health Information Line and get
1.800.244.6224 (ATS : composez le numéro 711).                       live support 24 hours a day, 7 days a week. Dial the number
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                  on the back of your Cigna ID card and you’ll be connected
assistência linguística, totalmente gratuitos. Para clientes         directly to a Specialist trained as a Nurse who is ready to help
Cigna atuais, ligue para o número que se encontra no verso do        answer your health questions.
seu cartão de identificação. Caso contrário, ligue para              Appointment Scheduling
1.800.244.6224 (Dispositivos TTY: marque 711).
                                                                     You should have access to timely appointments and
Polish – UWAGA: w celu skorzystania z dostępnej,                     scheduling. The following guidelines represent both the plan’s
bezpłatnej pomocy językowej, obecni klienci firmy Cigna              and the state of California’s requirements for appointment
mogą dzwonić pod numer podany na odwrocie karty                      accessibility with Participating Providers:
identyfikacyjnej. Wszystkie inne osoby prosimy o
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                Emergent or high risk cases should have access to
                                                                         immediate appointments, appropriate emergency room
Japanese –                                                               authorization or direction to dial 911.
注意事項：日本語を話される場合、無料の言語支援サー
ビスをご利用いただけます。現在のCignaの
お客様は、IDカード裏面の電話番号まで、お電話にてご


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   Urgent cases not requiring prior-authorization should have           The Department of Insurance should be contacted only
    access to appointments within 24 hours of the appointment            after discussions with the insurer have failed to produce a
    request.                                                             satisfactory resolution to the problem.
   If services must be prior authorized, appointments should be         PLEASE READ THE FOLLOWING INFORMATION
    offered concurrent with the prior authorization request and          SO YOU WILL KNOW FROM WHOM OR WHAT
    the appointment should be provided within 96 hours of the            GROUP OF PROVIDERS HEALTH CARE MAY BE
    appointment request.                                                 OBTAINED
   Non-urgent, symptomatic or routine appointments with a               Participating Providers
    PCP should be scheduled within 10 days of the appointment            Copayment, Deductible, and Coinsurance options reflect the
    request.                                                             amount the covered person will pay for In-Network and Out-
   Non-urgent, symptomatic or routine appointments with a               of-Network benefits. In-Network benefits require use of
    Specialist should be scheduled within 15 days of the                 Participating Providers or facilities in the Service Area. Cigna
    appointment request.                                                 recommends use of Participating Providers and facilities, as
   Preventive screenings and physicals should be scheduled              member out-of-pocket costs could be lower than when using
    within 30 days of the appointment request.                           non-Participating Providers.
   Non-urgent appointments for ancillary services for the               Service Area
    diagnosis or treatment of Injury or Sickness, or other health        The term Service Area means the area in which Cigna has a
    condition should be scheduled within 15 days of the                  Participating Provider network. Cigna's national network of
    appointment request.                                                 Participating Providers is within the United States. Cigna's
   Non-urgent appointments with a non-Physician mental                  toll-free care line personnel can provide you with the names of
    health care provider should be scheduled within 10 business          Participating Providers. If you or your Dependents need
    days of the appointment request.                                     medical care, you may obtain a listing of Participating
                                                                         Providers by calling the number on your ID card. A listing of
   Average waiting time in the office should not exceed 30              Participating Providers can also be found at www.cigna.com.
    minutes.
                                                                         Away From Home Care
   When it is necessary for you or a health care professional to
    reschedule an appointment, the appointment shall be                  If you or your Dependents need medical care while away from
    promptly rescheduled in a manner that is appropriate for             home, you may have access to a national network of
    your health care needs, and ensures continuity of care               Participating Providers through Cigna's Away-From-Home
    consistent with good professional practice.                          Care feature. Call the number on your ID card for the names
                                                                         of Participating Providers in other network areas.
   The applicable waiting time for a particular appointment
    may be extended if the referring or treating provider, or the        Emergency Services
    health professional providing triage or screening services,          Benefits for services and supplies received outside the Service
    has determined and noted in the relevant record that a               Area are covered only for medical emergencies and other
    longer wait time will not have a detrimental impact on your          urgent situations where treatment could not have been
    health.                                                              reasonably delayed until the insured person was able to return
                                                                         to the United States.
Accessing Health Care                                                    To contact the Department of Insurance, write or call:
To contact the Department of Insurance, for complaints                     Consumer Affairs Division
regarding your ability to access health care in a timely                   California Department of Insurance
manner, write or call:                                                     Ronald Reagan Building
                                                                           300 South Spring Street
    Consumer Affairs Division                                              Los Angeles, CA 90013
    California Department of Insurance                                     Calling within California: 1-800-927-4357
    Ronald Reagan Building                                                 Los Angeles Area and Outside California: 1-213-897-8921
    300 South Spring Street
    Los Angeles, CA 90013                                                The Department of Insurance should be contacted only after
                                                                         discussions with the insurer have failed to produce a
    Calling within California: 1-800-927-4357                            satisfactory resolution to the problem.
    Los Angeles Area and Outside California: 1-213-897-
    8921



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Your Rights Under HIPAA If You Lose Group Coverage                      Discrimination is Against the Law
Federal law known as the Health Insurance Portability and               Cigna complies with applicable Federal civil rights laws and
Accountability Act of 1996 (HIPAA) protects health insurance            does not discriminate on the basis of race, color, national
coverage for workers and their families when they change or             origin, age, disability, or sex. Cigna also does not discriminate
lose their jobs. California law provides similar and additional         on the basis of race, color, national origin, ancestry, religion,
protections. If you lose group health insurance coverage and            sex, marital status, gender, gender identity, sexual orientation
meet certain criteria, you are entitled to purchase individual          age or disability.
health coverage (non-group) from any health plan that sells             Cigna:
individual coverage for hospital, medical or surgical benefits.
Every health plan that sells individual health coverage for                Provides free aids and services to people with disabilities to
these benefits must offer individual coverage to an eligible                communicate effectively with us, such as:
person under HIPAA. The health plan cannot reject your                       qualified sign language interpreters.
application if: you are an eligible person under HIPAA; you                  written information in other formats (large print, audio,
agree to pay the required premiums; and you live or work                      accessible electronic formats, other formats).
inside the plan's service area. To be considered an eligible
                                                                           Provides free language services to people whose primary
person under HIPAA you must meet the following
                                                                            language is not English, such as:
requirements:
                                                                             qualified interpreters.
   you have 18 or more months of creditable coverage without
    a break of 63 days or more between any of the periods of                 information written in other languages.
    creditable coverage or since your most recent coverage was          If you need these services, contact customer service at the toll-
    terminated;                                                         free number shown on your ID card, and ask a Customer
   your most recent creditable coverage was a group,                   Service Associate for assistance.
    government or church plan that provided hospital, medical           If you believe that Cigna has failed to provide these services
    or surgical benefits. (COBRA and Cal-COBRA are                      or discriminated in another way on the basis of race, color,
    considered group coverage);                                         national origin, ancestry, religion, sex, marital status, gender,
   you were not terminated from your most recent creditable            gender identity, sexual orientation age or disability, you can
    coverage due to nonpayment of premiums or fraud;                    file a grievance by sending an email to the Nondiscrimination
                                                                        Complaint Coordinator at ACAGrievance@Cigna.com or by
   you are not eligible for coverage under a group health plan,
    Medicare, or Medicaid (Medi-Cal);                                   writing to the following address:

   you have no other health insurance coverage; and                        Cigna
                                                                            Nondiscrimination Complaint Coordinator
   you have elected and exhausted any continuation coverage                PO Box 188016
    you were offered under COBRA or Cal-COBRA.                              Chattanooga, TN 37422
There are important choices you need to make in a very short                You may also call the number on the back of your ID card
time frame regarding the options available to you following                 or 1-800-244-6224
termination of your group health care coverage. You should                  Fax: 866-254-9406
read carefully all available information regarding HIPAA                If you need assistance filing a written grievance, please call
coverage so you can understand fully the special protections of         the number on the back of your ID card or send an email to
HIPAA coverage and make an informed comparison and                      ACAGrievance@Cigna.com. You can also file a civil rights
choice regarding available coverage. For more information,              complaint with the U.S. Department of Health and Human
please call the number on your ID card.                                 Services, Office for Civil Rights electronically through the
If you believe your HIPAA rights have been violated, you                Office for Civil Rights Complaint Portal, available at
should contact the CA Department of Insurance or visit the              https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
Department’s web site.                                                  phone at:
                                                                            U.S. Department of Health and Human Services
                                                                            200 Independence Avenue, SW
                                                                            Room 509F, HHH Building
                                                                            Washington, DC 20201
                                                                            1-800-368-1019, 1-800-537-7697 (TDD)




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Complaint forms are available at                                          WARNING: Any person who knowingly and with intent to
http://www.hhs.gov/ocr/office/file/index.html.                            defraud any insurance company or other person files an
                                                                          application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
HC-IMP241                                                    06-18
                                                                          misleading, information concerning any material fact thereto,
                                                               V1         commits a fraudulent insurance act.


                                                                          HC-CLM25                                                     01-11
How To File Your Claim                                                                                                                    V11

There’s no paperwork for In-Network care. Just show your
identification card and pay your share of the cost, if any; your
provider will submit a claim to Cigna for reimbursement. Out-             Eligibility - Effective Date
of-Network claims can be submitted by the provider if the
provider is able and willing to file on your behalf. If the
provider is not submitting on your behalf, you must send your             Employee Insurance
completed claim form and itemized bills to the claims address             This plan is offered to you as an Employee.
listed on the claim form.                                                 Eligibility for Employee Insurance
You may get the required claim forms from the website listed              You will become eligible for insurance on the day you
on your identification card or by using the toll-free number on           complete the waiting period if:
your identification card.
                                                                             you are in a Class of Eligible Employees; and
CLAIM REMINDERS
                                                                             you are an eligible, full-time Employee; and
 BE SURE TO USE YOUR MEMBER ID AND
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                         you normally work at least 20 hours a week; and
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                      you pay any required contribution.
  YOUR CIGNA CLAIM OFFICE.                                                If you were previously insured and your insurance ceased, you
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                must satisfy the Waiting Period to become insured again. If
    BENEFIT IDENTIFICATION CARD.                                          your insurance ceased because you were no longer employed
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON                                 in a Class of Eligible Employees, you are not required to
    YOUR BENEFIT IDENTIFICATION CARD.                                     satisfy any waiting period if you again become a member of a
                                                                          Class of Eligible Employees within one year after your
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED                             insurance ceased.
    ON THE BACK OF THE CLAIM FORM CAREFULLY
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     Eligibility for Dependent Insurance
Timely Filing of Out-of-Network Claims                                    You will become eligible for Dependent Insurance on the later
                                                                          of:
Cigna will consider claims for coverage under our plans when
proof of loss (a claim) is submitted within 180 days for Out-                the day you become eligible for yourself; or
of-Network benefits after services are rendered. If services are             the day you acquire your first Dependent.
rendered on consecutive days, such as for a Hospital
Confinement, the limit will be counted from the last date of              Waiting Period
service. If claims are not submitted within 180 days for Out-
                                                                          The first day of the month following date of hire.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                       Classes of Eligible Employees
                                                                          Each Employee as reported to the insurance company by your
                                                                          Employer.
                                                                          Effective Date of Employee Insurance
                                                                          You will become insured on the date you elect the insurance
                                                                          by signing an approved payroll deduction or enrollment form,
                                                                          as applicable, but no earlier than the date you become eligible.
                                                                          You will become insured on your first day of eligibility,
                                                                          following your election, if you are in Active Service on that


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date, or if you are not in Active Service on that date due to
your health status.
Late Entrant - Employee                                                      Important Information About Your
You are a Late Entrant if:                                                   Medical Plan
   you elect the insurance more than 30 days after you become               Details of your medical benefits are described on the
    eligible; or                                                             following pages.
   you are eligible for coverage through a guarantee                        Opportunity to Select a Primary Care Physician
    association and you elect the insurance more than 60 days
                                                                             Choice of Primary Care Physician:
    after you become eligible; or
                                                                             This medical plan does not require that you select a Primary
   you again elect it after you cancel your payroll deduction (if
                                                                             Care Physician or obtain a referral from a Primary Care
    required).
                                                                             Physician in order to receive all benefits available to you
                                                                             under this medical plan. Notwithstanding, a Primary Care
Dependent Insurance                                                          Physician may serve an important role in meeting your health
For your Dependents to be insured, you will have to pay the                  care needs by providing or arranging for medical care for you
required contribution, if any, toward the cost of Dependent                  and your Dependents. For this reason, we encourage the use of
Insurance.                                                                   Primary Care Physicians and provide you with the opportunity
Effective Date of Dependent Insurance                                        to select a Primary Care Physician from a list provided by
                                                                             Cigna for yourself and your Dependents. If you choose to
Insurance for your Dependents will become effective on the                   select a Primary Care Physician, the Primary Care Physician
date you elect it by signing an approved payroll deduction                   you select for yourself may be different from the Primary Care
form (if required), but no earlier than the day you become                   Physician you select for each of your Dependents.
eligible for Dependent Insurance. All of your Dependents as
defined will be included.                                                    Changing Primary Care Physicians:
Your Dependents will be insured only if you are insured.                     You may request a transfer from one Primary Care Physician
                                                                             to another by contacting us at the member services number on
Late Entrant – Dependent                                                     your ID card. Any such transfer will be effective on the first
You are a Late Entrant for Dependent Insurance if:                           day of the month following the month in which the processing
   you elect that insurance more than 30 days after you                     of the change request is completed.
    become eligible for it; or                                               In addition, if at any time a Primary Care Physician ceases to
   you are a Dependent who has lost or will lose coverage                   be a Participating Provider, you or your Dependent will be
    under Medi-Cal, the Healthy Families Program (HFP), or                   notified for the purpose of selecting a new Primary Care
    the Access for Infants and Mothers Program (AIM) and you                 Physician.
    elect the insurance more than 60 days after you become                   Direct Access for OB/GYN Services:
    eligible and you declined coverage during your initial                   Female insureds covered by this plan are allowed direct access
    enrollment period by signing a Declination of Medical                    to a licensed/certified Participating Provider for covered
    Coverage form, provided by your Employer; or                             OB/GYN services. There is no requirement to obtain an
   you again elect it after you cancel your payroll deduction (if           authorization from your Primary Care Physician for visits to
    required).                                                               the Participating Provider of your choice for pregnancy, well-
Exception for Newborns and Adopted Children                                  woman gynecological exams, primary and preventive
                                                                             gynecological care, and acute gynecological conditions.
Any Dependent child born or placed for adoption, while you
are insured will become insured on the date of his birth or                  Direct Access for Treatment of Certain Reproductive and
placement for adoption, if you elect Dependent Insurance no                  Sexual Health Care Services
later than 31 days after his birth or placement for adoption. If             Insureds covered by this plan are allowed direct access to a
you do not elect to insure your newborn child or child placed                licensed/certified Participating Provider for covered
for adoption within 31 days, coverage for that child will end                reproductive and sexual health care services. There is no
on the 31st day. No benefits for expenses incurred beyond the                requirement to obtain an authorization from your Primary
31st day will be payable.                                                    Care Physician for visits to the Participating Provider of your
                                                                             choice for:
HC-ELG219                                                       01-19
                                                                                care related to the prevention or treatment of pregnancy,
                                                                  V1             including sterilization and abortion;


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   diagnosis or treatment related to an infectious, contagious or
    communicable disease, including public health conditions
    and sexually transmitted diseases;
   diagnosis and treatment related to rape, including the
    collection of medical evidence;
   diagnosis and treatment for sexual assault, including the
    collection of medical evidence with regard to the alleged
    sexual assault; and
   diagnosis and treatment for HIV and other tests.
Direct Access for Mental Health and Substance Use Disorder
Services:
Insureds covered by this plan are allowed direct access to a
licensed/certified Participating Provider for covered mental
health and substance use disorder services. There is no
requirement to obtain an authorization from your Primary
Care Physician for individual or group therapy visits to a
Participating Provider for mental health and substance use
disorder services.


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                                    Open Access Plus Medical Benefits
                                                      The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate, or you do not have timely access to, an In-Network Provider in your area who can provide you
with a service or supply that is covered under this plan, you may use an Out-of-Network Provider. If you call the number
on the back of your I.D. card to obtain assistance with your Out-of-Network Provider coverage, Cigna may negotiate Out-
of-Network billed charges on your behalf with the Out-of-Network Provider. If you contact Cigna and do obtain
authorization for services provided by an Out-of-Network Provider, Cigna will arrange for those services and benefits for
those services will be covered at the In-Network benefit level. Otherwise, they may be covered at an Out-of-Network cost
share.
If you receive a covered service at an In-Network health facility but from a non-Participating Provider who is licensed in
California, you only have to pay the In-Network cost share amount shown in The Schedule. An In-Network “health
facility” includes, but is not limited to, a licensed hospital, ambulatory surgery center, or other outpatient setting such as a
lab, or a radiology or imaging center. At the time that Cigna reimburses the non-Participating Provider for the services
provided, Cigna will inform you of any In-Network cost-sharing amount you may owe. Any In-Network cost sharing will
be applied toward the In-Network Deductible and Out-of-Pocket maximum.
In certain situations, you may voluntarily choose to pay a non-Participating Provider at the Out-of-Network cost share. If
you and the non-Participating Provider agree to this arrangement, the non-Participating Provider must receive your written
authorization at least 24 hours in advance of providing service. The non-Participating Provider must also submit a copy of
such authorization with the request for reimbursement.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Any copayments and/or benefit deductibles.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
   provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
   excluding any In-Network copay or coinsurance; (ii) the Maximum Reimbursable Charge; or (iii) the amount payable
   under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                     OUT-OF-NETWORK
Lifetime Maximum                                                      Unlimited
The Percentage of Covered Expenses         90%                              70% of the Maximum Reimbursable
the Plan Pays                                                               Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.
Maximum Reimbursable Charge
Maximum Reimbursable Charge is
determined based on the lesser of the
provider’s normal charge for a similar
service or supply; or
A policyholder-selected percentage of a    Not Applicable                   110%
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable fee for the
same or similar services within the
geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
  the provider’s normal charge for a
   similar service or supply; or
 the 80th percentile of charges made
   by providers of such service or
   supply in the geographic area where
   it is received as compiled in a
   database selected by Cigna. If
   sufficient charge data is unavailable
   in the database for that geographic
   area to determine the Maximum
   Reimbursable Charge, then data in
   the database for similar services may
   be used.
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles, copayments and
coinsurance.
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $300 per person                  $900 per person

  Family Maximum                          $600 per family                  $1,800 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                              $2,250 per person                $4,500 per person
  Family Maximum                          $4,500 per family                $9,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-         Yes                                     No
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs           Yes                                     In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office        No charge after $20 per office visit    70% after plan deductible
  Visit                                  copay


  Specialty Care Physician’s Office      No charge after $40 Specialist per      70% after plan deductible
  Visits                                 office visit copay
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $20 PCP or $40      70% after plan deductible
  Office                                 Specialist per office visit copay
  Second Opinion Consultations           No charge after the $20 PCP or $40      70% after plan deductible
  (provided on a voluntary basis)        Specialist per office visit copay
  Allergy Treatment/Injections           No charge after either the $20 PCP or   70% after plan deductible
                                         $40 Specialist per office visit copay
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               70% after plan deductible
  Physician in the office)




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
  Virtual Care Services for minor        No charge after the $20 PCP per       In-Network coverage only
  medical conditions                     office visit copay
  Virtual Wellness Screenings            No charge                             In-Network coverage only

Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                 No charge after the $20 PCP or $40    70% after plan deductible
                                         Specialist per office visit copay
.
Preventive Care
  Routine Preventive Care - all ages     No charge                             70% after plan deductible
 Immunizations - (Covering all Travel    No charge                             70% after plan deductible
 Vaccines without Prior
 Authorization) - all ages
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       No charge                             70% after plan deductible
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
  “non-routine” services)                benefit; based on place of service    benefit; based on place of service
.
Inpatient Hospital – Facility Services   90% after plan deductible             70% after plan deductible

Bed and Board Limit
  Semi-Private Room                      Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate        Limited to the ICU/CCU daily room
                                                                               rate




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                          OUT-OF-NETWORK
Outpatient Facility Services
 Operating Room, Recovery Room,         90% after plan deductible              70% after plan deductible
 Procedures Room, Treatment Room
 and Observation Room
Inpatient Hospital Physician’s          90% after plan deductible              70% after plan deductible
Visits/Consultations

Inpatient Hospital Professional         90% after plan deductible              70% after plan deductible
Services
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services        90% after plan deductible              70% after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Urgent Care Services
  Physician’s Office Visit              No charge after the $20 PCP or $40     No charge after the $20 PCP or $40
                                        Specialist per office visit copay      Specialist per office visit copay
  Urgent Care Facility or Outpatient    No charge after $25 per visit copay*   No charge after $25 per visit copay*
  Facility                              and plan deductible                    and plan deductible

                                        *waived if admitted                    *waived if admitted
  Outpatient Professional Services      No charge after plan deductible        No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the     No charge after plan deductible        No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.   No charge after plan deductible        No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Emergency Services
  Physician’s Office Visit                No charge after the $20 PCP or $40      No charge after the $20 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $100 per visit copay*   No charge after $100 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Ambulance                                 90% after plan deductible               90% after plan deductible

Inpatient Services at Other Health        90% after plan deductible               70% after plan deductible
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
  Physician’s Office Visit                No charge after the $20 PCP or $40      70% after plan deductible
                                          Specialist per office visit copay
  Outpatient Hospital Facility            90% after plan deductible               70% after plan deductible
  Independent X-ray and/or Lab            90% after plan deductible               70% after plan deductible
  Facility
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                No charge                               70% after plan deductible
  Inpatient Facility                      90% after plan deductible               70% after plan deductible
  Outpatient Facility                     90% after plan deductible               70% after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services and           No charge after the $20 PCP or $40    70% after plan deductible
Chiropractic Services                     Specialist per office visit copay
  Calendar Year Maximum:                  Note:
  Unlimited                               Outpatient Therapy Services copay
  Includes:                               applies, regardless of place of
  Cardiac Rehab                           service, including the home.
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Chiropractic Therapy (includes
  Chiropractors)
  .
Acupuncture                               No charge after the $20 PCP or $40    70% after plan deductible
  Calendar Year Maximum:                  Specialist per office visit copay
  12 days
Home Health Care Services
  Calendar Year Maximum:                  90% after plan deductible             70% after plan deductible
  100 days (includes outpatient private
  nursing when approved as Medically
  Necessary)

 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       90% after plan deductible             70% after plan deductible
  Outpatient Services                     90% after plan deductible             70% after plan deductible
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               90% after plan deductible             70% after plan deductible
  Outpatient                              90% after plan deductible             70% after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        90% after plan deductible              In-Network coverage only
  Outpatient Facility                       90% after plan deductible              In-Network coverage only
  Physician’s Services                      90% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $20 PCP or $40     70% after plan deductible
                                            Specialist per office visit copay
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           90% after plan deductible              70% after plan deductible
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $20 PCP or $40     70% after plan deductible
  to the global maternity fee when          Specialist per office visit copay
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       90% after plan deductible              70% after plan deductible
  (Inpatient Hospital, Birthing Center)




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                       OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $20 PCP or $40    70% after plan deductible
                                          Specialist per office visit copay
  Inpatient Facility                      90% after plan deductible             70% after plan deductible
  Outpatient Facility                     90% after plan deductible             70% after plan deductible
  Physician’s Services                    90% after plan deductible             70% after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                             70% after plan deductible
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                             70% after plan deductible
    Inpatient Facility                    No charge                             70% after plan deductible
    Outpatient Facility                   No charge                             70% after plan deductible
    Physician’s Services                  No charge                             70% after plan deductible
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $20 PCP or $40    70% after plan deductible
  Tests and Counseling                    Specialist per office visit copay
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $20 PCP or $40    70% after plan deductible
                                          Specialist per office visit copay
    Inpatient Facility                    90% after plan deductible             70% after plan deductible
    Outpatient Facility                   90% after plan deductible             70% after plan deductible
    Physician’s Services                  90% after plan deductible             70% after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and           No charge after the $20 PCP or $40         In-Network coverage only
    Radiology Tests, Counseling)                Specialist per office visit copay
    Inpatient Facility                          90% after plan deductible                  In-Network coverage only
    Outpatient Facility                         90% after plan deductible                  In-Network coverage only
    Physician’s Services                        90% after plan deductible                  In-Network coverage only
  Lifetime Maximum:
  $! per member
  Includes all related services billed
  with an infertility diagnosis (i.e. x-
  ray or lab services billed by an
  independent facility).
  .
Organ Transplants
Includes all medically appropriate, non-
experimental transplants
    Physician’s Office Visit                    No charge after the $20 PCP or $40         In-Network coverage only
                                                Specialist per office visit copay
    Inpatient Facility                          100% at LifeSOURCE center,                 In-Network coverage only
                                                otherwise 90% after plan deductible
    Physician’s Services                        100% at LifeSOURCE center,                 In-Network coverage only
                                                otherwise 90% after plan deductible
    Lifetime Travel Maximum:                    No charge (only available when             In-Network coverage only
    $10,000
    .       per transplant                      using LifeSOURCE facility)
Durable Medical Equipment
    Calendar Year Maximum:                      90% after plan deductible                  70% after plan deductible
    Unlimited
    .
External Prosthetic Appliances
  Calendar Year Maximum:                        90% after plan deductible                  70% after plan deductible
  Unlimited
  .
Diabetic Equipment                              90% after plan deductible                  70% after plan deductible
  Calendar Year Maximum:
  Unlimited




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Hearing Aids                                90% after plan deductible             70% after plan deductible
Note: Maximum of 2 devices per
lifetime and Includes testing and fitting
of hearing aid devices at Physician
Office Visit Cost share.



Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Physician’s Office Visit                  No charge after the $20 PCP or $40    70% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        90% after plan deductible             70% after plan deductible
  Outpatient Facility                       90% after plan deductible             70% after plan deductible
  Physician’s Services                      90% after plan deductible             70% after plan deductible
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $20 PCP or $40    70% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        90% after plan deductible             70% after plan deductible
  Outpatient Facility                       90% after plan deductible             70% after plan deductible
   Physician’s Services                     90% after plan deductible             70% after plan deductible
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $20 PCP or $40    70% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        90% after plan deductible             70% after plan deductible
  Outpatient Facility                       90% after plan deductible             70% after plan deductible
  Physician’s Services                      90% after plan deductible             70% after plan deductible




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
 Inpatient                                 90% after plan deductible                 70% after plan deductible
   Includes Acute Inpatient and
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits              $40 per visit copay                       70% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Outpatient - All Other Services        90% after plan deductible                 70% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Includes coverage for Applied
    Behavioral Analysis (ABA) for the
    treatment of autism.

    Calendar Year Maximum:
    Unlimited
      .




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             90% after plan deductible             70% after plan deductible
    Includes Acute Inpatient
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   70% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Outpatient - All Other Services     90% after plan deductible             70% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Room and Board, for treatment listed              Home Health Care Services.
    above for which PAC was performed, which are made for                  Durable medical equipment.
    any day in excess of the number of days certified through              External prosthetics.
    PAC or CSR; and
                                                                           Medical Pharmaceuticals.
   any Hospital charges for treatment listed above for which
    PAC was requested, but which was not certified as                      Radiation therapy.
    Medically Necessary.                                                Continuity of Care
PAC and CSR are performed through a utilization review                  Upon your request, Cigna shall provide or arrange for the
program by a Review Organization with which Cigna has                   completion of covered services from a terminated
contracted.                                                             Participating Provider or a non-Participating Provider if you
In any case, those expenses incurred for which payment is               have one of the following conditions and were receiving
excluded by the terms set forth above will not be considered as         services from the terminated Participating Provider or non-
expenses incurred for the purpose of any other part of this             Participating Provider at the time of the contract termination
plan, except for the "Coordination of Benefits" section.                or at the time you became eligible under the Policy. You will
                                                                        qualify to receive continued services for the following
Outpatient Certification Requirements – Out-of-Network                  conditions and specified time periods:
Outpatient Certification refers to the process used to certify             an acute condition. An acute condition is a medical
the Medical Necessity of outpatient diagnostic testing and                  condition that involves a sudden onset of symptoms due to


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    an illness, Injury, or other medical problem that requires           Cigna is not obligated to arrange for continuity of care with a
    prompt medical attention and that has a limited duration.            terminated Participating Provider or non-Participating
    Completion of covered services shall be provided for the             Provider who has been terminated for medical disciplinary
    duration of the acute condition.                                     reasons or who has committed fraud or other criminal
   a serious chronic condition. A serious chronic condition is          activities.
    a medical condition due to a disease, illness, or other              Arranging for Continuity of Care. If the insured meets the
    medical problem or medical disorder that is serious in               necessary requirements for continuity of care as described
    nature and that persists without full cure or worsens over an        herein, and would like to continue his/her care with a
    extended period of time or requires ongoing treatment to             terminated Participating Provider or non-Participating
    maintain remission or prevent deterioration. Completion of           Provider, the insured should call the Member Services
    covered services shall be provided for a period of time              Department at the number shown on the I.D. card to make a
    necessary to complete a course of treatment and to arrange           formal request for continuity of care.
    for a safe transfer to another provider, as determined by            This information will be reviewed by Cigna to determine if the
    Cigna in consultation with you and the terminated                    insured's medical condition and the terminated Participating
    Participating Provider or non-Participating Provider and             Provider or non-Participating Provider’s status qualifies for
    consistent with good professional practice. Completion of            continuity of care.
    covered services under this paragraph shall not exceed 12
    months from the contract termination date or 12 months               The insured will be notified if continuity of care arrangements
    from the effective date of coverage for a newly covered              can be made with the insured's current terminated
    person.                                                              Participating Provider or non-Participating Provider and will
                                                                         receive information relating to the extent and length of care
   a pregnancy. A pregnancy is the three trimesters of                  that can be provided. Cigna will make every effort to expedite
    pregnancy and the immediate postpartum period.                       the review and inform the insured of the continuity of care
    Completion of covered services shall be provided for the             decision as soon as possible. If the insured does not meet the
    duration of the pregnancy.                                           requirements for continuity of care or if the terminated
   a terminal illness. A terminal illness is an incurable or            Participating Provider or non-Participating Provider refuses to
    irreversible condition that has a high probability of causing        render care or has been determined unacceptable for quality or
    death within one year or less. Completion of covered                 contractual reasons, Cigna will work with the insured to
    services shall be provided for the duration of a terminal            accomplish a timely transition to another qualified
    illness.                                                             Participating Provider.
   The care of a newborn child between birth and age 36                 To make a request for continuity of care, please call the
    months. Completion of covered services under this                    number on your I.D. card as early as possible so the review
    paragraph shall not exceed 12 months from the contract               process can begin and your treatment can continue.
    termination date or 12 months from the effective date of
    coverage for a newly covered person.
                                                                         HC-PAC124                                                       01-20
   performance of a surgery or other procedure that is
    authorized by Cigna as part of a documented course of
    treatment and has been recommended and documented by
    the provider to occur within 180 days of the contract's              Prior Authorization/Pre-Authorized
    termination date or within 180 days of the effective date of         The term Prior Authorization means the approval that a
    coverage for a newly covered person.                                 Participating Provider must receive from the Review
Provider’s Responsibility. In order for a terminated                     Organization, prior to services being rendered, in order for
Participating Provider or non-Participating Provider to                  certain services and benefits to be covered under this policy.
continue caring for an insured, the terminated Participating             Services that require Prior Authorization are covered services
Provider or non-Participating Provider must comply with                  in the following categories:
Cigna's contractual and credentialing requirements and must                 inpatient Hospital services, except for 48/96 hour maternity
meet Cigna's standards for utilization review and quality                    stays;
assurance. The terminated Participating Provider or non-
Participating Provider must also agree to a mutually                        inpatient services at any participating Other Health Care
acceptable rate of payment. If these conditions are not met,                 Facility;
Cigna is not required to arrange for continuity of care.                    residential treatment;
                                                                            outpatient facility services;



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   partial hospitalizations;                                                 charges for licensed Ambulance service to the nearest
   intensive outpatient programs;                                             Hospital where the needed medical care and treatment can
                                                                               be provided.
   advanced radiological imaging;
                                                                              charges for outpatient medical care and treatment received
   non-emergency Ambulance;                                                   at a Hospital.
   certain Medical Pharmaceuticals;                                          charges for outpatient medical care and treatment received
   transplant services;                                                       at a Free-Standing Surgical Facility.
   speech, occupational and physical therapy;                                charges for Emergency Services.
   Applied Behavior Analysis (ABA);                                          charges for Urgent Care.
   infertility services;                                                     charges made by a Physician or a Psychologist for
   durable medical equipment;                                                 professional services.
   Home Health Care Services;                                                charges made by a Nurse for professional nursing service.
   home infusion services;                                                   charges made for anesthetics, including, but not limited to
                                                                               supplies and their administration.
   back/spine procedures;
                                                                              charges for diagnostic x-ray.
   ear devices;
                                                                              charges for advanced radiological imaging, including for
   oral pharynx procedures;
                                                                               example:
   orthotics and prosthetics;                                                  CT Scans, MRI, MRA and PET scans and laboratory
   radiation therapy;                                                           examinations, x-ray, radiation therapy and radium and
   sleep management; genetic testing; or                                        radioactive isotope treatment and other therapeutic
                                                                                 radiological procedures.
   musculoskeletal pain management services.
                                                                              charges for chemotherapy.
                                                                              charges for blood transfusions.
HC-PRA48                                                      01-19
                                                                V1            charges for oxygen and other gases and their administration.
                                                                              charges made for Medically Necessary foot care for
                                                                               diabetes, peripheral neuropathies and peripheral vascular
Covered Expenses                                                               disease.
The term Covered Expenses means expenses incurred by a                        charges made for or in connection with mammograms for
person while covered under this plan for the charges listed                    breast cancer screenings or diagnostic purposes including,
below for:                                                                     but not limited to: a baseline mammogram for women age
                                                                               35, but less than 40; a mammogram for women age 40, but
   preventive care services, and                                              less than 50, every two years or more, if Medically
   services or supplies that are Medically Necessary for the                  Necessary and if recommended by a Physician, nurse
    care and treatment of an Injury or a Sickness, as determined               practitioner or a nurse midwife; and a mammogram every
    by Cigna.                                                                  year for women age 50 and over.
As determined by Cigna, Covered Expenses may also include                     charges made for an annual Papanicolaou laboratory
all charges made by an entity that has directly or indirectly                  screening test.
contracted with Cigna to arrange, through contracts with                      charges for the screening and diagnosis of prostate cancer,
providers of services and/or supplies, for the provision of any                including, but not limited to, Medically Necessary prostate-
services and/or supplies listed below. Any applicable                          specific antigen (PSA) testing and digital rectal
Copayments, Deductibles or limits are shown in The                             examinations.
Schedule.
                                                                              charges made for services related to the diagnosis,
Covered Expenses                                                               treatment, and management of osteoporosis. Covered
 charges for inpatient Room and Board and other Necessary                     services include, but are not limited to, all FDA approved
  Services and Supplies; made by a Hospital; subject to the                    technologies, including bone mass measurement
  limits as shown in The Schedule.                                             technologies as deemed Medically Necessary.




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   charges made for expenses incurred at any of the                        Includes charges made for telehealth services on the same
    Approximate Age Intervals shown below for a Dependent                    basis, or better, and to the same extent, or better, as the
    child who is age 16 or less, for charges made for Child                  same service through in-person diagnosis, consultation, or
    Preventive Care consisting of the following services                     treatment. Telehealth means the mode of delivering health
    delivered or supervised by a Physician, in keeping with                  care services and public health via information and
    prevailing medical standards:                                            communication technologies to facilitate the diagnosis,
     physical examinations;                                                 treatment, education, care management, and self-
                                                                             management of a patient's health care while the patient is at
     appropriate immunizations; and
                                                                             the originating site and the Provider for telehealth is at a
     laboratory tests in connection with physical examinations.             distant site. Telehealth facilitates patient self-management
    excluding any charges for:                                               and caregiver support for patients and includes:
     more than one visit to one provider for Child Preventive                Synchronous Interactions: Synchronous Interaction means
      Care Services at each of the Appropriate Age Intervals up                a real-time interaction between a patient and a Health
      to a total of 18 visits for each Dependent child;                        Care Provider for telehealth located at a distant site; and
     services for which benefits are otherwise provided under                Asynchronous Store and Forward transfers:
      this Covered Expenses section; or                                        Asynchronous Store and Forward means the transmission
                                                                               of a patient's medical information from an originating site
     services for which benefits are not payable according to
                                                                               to the health care provider for telehealth at a distant site
      the "Expenses Not Covered" section.                                      without the presence of the patient.
    Approximate Age Intervals are: Birth, 2 months, 4 months,
                                                                         Originating site means a site where a patient is located at the
    6 months, 9 months, 12 months, 15 months, 18 months, 2
                                                                         time health care services are provided via telecommunications
    years, 3 years, 4 years, 5 years, 6 years, 8 years, 10 years,
                                                                         system or where the Asynchronous Store and Forward service
    12 years, 14 years and 16 years.                                     originates.
   HIV testing regardless of whether testing is related to the          Distant site means a site where a Health Care Provider for
    patient's primary diagnosis.
                                                                         telehealth who provides health care services is located while
   charges made for laboratory services, radiation therapy and          providing these services via a telecommunications system.
    other diagnostic and therapeutic radiological procedures.
                                                                            coverage for the testing and treatment of PKU. This
Dedicated Virtual Providers                                                  includes formulas and special food products that are part of
 charges for the delivery of medical and health-related                     a diet prescribed by a Physician and managed by a health
  services and consultations by dedicated virtual providers as               care professional in consultation with a Physician
  medically appropriate through audio, video and secure                      specializing in the treatment of metabolic diseases. The diet
  internet-based technologies.                                               must be deemed Medically Necessary to avoid the
                                                                             development of serious mental or physical disabilities or to
Virtual Physician Services
                                                                             promote normal development or function resulting from
 charges for the delivery of medical and health-related                     PKU.
  services and consultations as medically appropriate through
                                                                             Formula means an enteral product used in the home and
  audio, video and secure internet-based technologies that are
                                                                             prescribed by a Physician, nurse practitioner, or registered
  similar to office visit services provided in a face-to-face
                                                                             dietician for Medically Necessary treatment of PKU.
  setting.
                                                                             Special food products are those that are prescribed by a
                                                                             Physician or Nurse practitioner for the treatment of PKU
                                                                             and are consistent with the recommendations and best
                                                                             practices of qualified health professionals with expertise in
                                                                             treatment and care of PKU. It does not include a food that is
                                                                             naturally low in protein. It may include a food product that
                                                                             is specially formulated to have less than one gram of protein
                                                                             per serving and is used instead of normal food products
                                                                             used by the general population, such as grocery store foods.
                                                                            charges made for Medically Necessary treatment of Severe
                                                                             Mental Illness for covered persons of any age, and Serious
                                                                             Emotional Disturbances of a Dependent Child under 18
                                                                             years old.



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   charges made for prosthetic appliances, including devices to                individual whose health is compromised and general
    restore a method of speaking following a laryngectomy,                      anesthesia is Medically Necessary.
    other than electronic voice-producing machines.                            charges for a Hospital stay resulting from a mastectomy
   charges made by a licensed social worker, a registered                      and/or lymph node dissection for a period of time
    Nurse licensed in psychiatric-mental health or a licensed                   determined by a Physician in consultation with the patient.
    marriage, family or child counselor, for Mental Health                     charges made for a drug that has been prescribed for
    services, when such services are recommended by a                           purposes other than those approved by the FDA will be
    Physician.                                                                  covered if:
   charges for at least 48 hours of inpatient care following a                  the drug is otherwise approved by the FDA;
    vaginal delivery and at least 96 hours of inpatient care
                                                                                 the drug is used to treat a life-threatening condition or, a
    following a cesarean section for both mother and newborn.
    The mother and/or newborn may be discharged earlier if the                    chronic and seriously debilitating condition and the drug
    Physician consults with the mother. If discharged early,                      is Medically Necessary to treat that condition;
    there will be at least one follow-up visit within 48 hours of                the drug has been recognized for the treatment prescribed
    discharge. Follow-up care may be in the mother's home, in                     by any of the following: the American Hospital
    the Physician's office, or in a licensed facility. An additional              Formulary Service Drug Information, one of the
    length of stay beyond the 48/96 hours will be covered if                      following compendia if recognized by the federal Centers
    Medically Necessary.                                                          for Medicare and Medicaid Services as part of an
The following describes coverage provided for the treatment                       anticancer chemotherapeutic regimen: The Elsevier Gold
of diabetes:                                                                      Standard’s Clinical Pharmacology; The National
                                                                                  Comprehensive Cancer Network Drug and Biologics
   charges for the following Medically Necessary equipment                       compendium; The Thomson Micromedix Drug Dex; or
    for the management and treatment of insulin-using diabetes,                   two articles from major peer reviewed medical journals
    noninsulin-using diabetes, and gestational diabetes: blood                    that present data supporting the proposed use or uses as
    glucose monitors; blood glucose monitors designed to assist                   generally safe and effective unless there is clear and
    the visually impaired; insulin pumps and all related                          convincing contradictory evidence presented in a major
    necessary supplies; podiatric devices to prevent or treat                     peer reviewed medical journal.
    diabetes-related complications; and visual aids (not
    including eyewear) to assist the visually impaired with                 Second Opinions
    proper dosing of insulin.                                               You or your Physician may request a second opinion relating
   charges for diabetes outpatient self-management training,               to a medical treatment or surgical procedure. Reasons for a
    education, and medical nutrition therapy necessary to allow             second opinion to be provided or authorized shall include, but
    a covered person to properly use the equipment, supplies,               are not limited to, the following:
    and medications listed previously, and any additional                      if you question the reasonableness or necessity of
    diabetes outpatient self-management training, education,                    recommended surgical procedures.
    and medical nutrition therapy prescribed by or directed by a               if you question a diagnosis or plan of care for a condition
    Physician.                                                                  that threatens loss of life, loss of limb, loss of bodily
   charges for insulin, insulin syringes, Prescriptive                         function, or substantial impairment, including, but not
    medications for the treatment of diabetes, lancets and lancet               limited to, a serious chronic condition.
    puncture devices, blood glucose testing strips, ketone urine               if the clinical indications are not clear or are complex and
    testing strips, pen delivery systems for the administration of              confusing, a diagnosis is in doubt due to conflicting test
    insulin and Glucagon.                                                       results, or the treating health professional is unable to
   charges for cancer screening tests that are based on                        diagnose the condition, and you request an additional
    generally accepted medical guidelines or scientific                         diagnosis.
    evidence.                                                                  if the treatment plan in progress is not improving your
   charges for prenatal testing resulting from participation in                medical condition within an appropriate period of time
    the Expanded Alpha Feto Protein program administered by                     given the diagnosis and plan of care, and you request a
    the State Department of Health Services. No Cost share                      second opinion regarding the diagnosis or continuance of
   charges for general anesthesia and associated facility                      the treatment.
    charges for dental procedures rendered in a Hospital or                    if you have attempted to follow the plan of care or consulted
    Ambulatory Surgical Facility for: a child under the age of 7;               with your initial provider concerning serious concerns about
    an individual who is developmentally disabled; or an                        the diagnosis or plan of care.


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If you or the Physician who is treating you requests a second                services connected with surgical therapies (tubal ligations,
opinion pursuant to this section, an authorization or denial                 vasectomies).
shall be provided in an expeditious manner. When your                       FDA-approved, self-administered hormonal contraceptives
condition is such that you face an imminent and serious threat               will be covered for up to a 12-month supply when dispensed
to your health, including, but not limited to, the potential loss            at one time.
of life, limb, or other major bodily function, or lack of
timeliness that would be detrimental to your ability to regain              Alternate methods of contraception, including over-the-
maximum function, the second opinion shall be authorized or                  counter contraceptive drugs as prescribed by a Physician
denied in a timely fashion appropriate for the nature of your                and deemed Medically Necessary.
condition, not to exceed seventy-two (72) hours after Cigna's               charges made for preventive care services as defined by
receipt of the request, whenever possible.                                   recommendations from the following:
Appropriately Qualified Health Care Professional                              The U.S. Preventive Services Task Force (A and B
An Appropriately Qualified Health Care Professional is a                       recommendations);
Primary Care Physician or Specialist who is acting within                     The Advisory Committee on Immunization Practices
his/her scope of practice and who possesses a clinical                         (ACIP) for immunizations;
background, including training and expertise, related to the                  The American Academy of Pediatrics’ Periodicity
particular illness, disease, condition or conditions associated                Schedule of the Bright Futures Recommendations for
with the request for a second opinion.                                         Pediatric Preventive Health Care;
You may obtain a second opinion in one of the following                       The Uniform Panel of the Secretary’s Advisory
ways:                                                                          Committee on Heritable Disorders in Newborns and
   if you request a second opinion about care from your                       Children; and
    Primary Care Physician, the second opinion shall be                       With respect to women, evidence-informed preventive
    provided by an Appropriately Qualified Health Care                         care and screening guidelines supported by the Health
    Professional, of your choice within the primary care                       Resources and Services Administration.
    Physician’s medical group.
                                                                             Detailed information is available at www.healthcare.gov.
   if you are requesting a second opinion about care from a                 For additional information on immunizations, visit the
    Specialist, you may obtain the second opinion from any                   immunization schedule section of www.cdc.gov.
    Qualified Health Care Professional of the same or
    equivalent specialty of your choice. If not authorized by               charges made for surgical or non-surgical treatment of
    Cigna or the Primary Care Physician’s medical group,                     Temporomandibular Joint Dysfunction (TMJ).
    additional medical opinions not within the Primary Care                 charges for federal Food and Drug Administration (FDA)-
    Physician’s medical group shall be your responsibility.                  approved prescription contraceptive methods, as designated
                                                                             by Cigna. If your Physician determines that none of the
In approving a second opinion the Physician and/or Cigna
                                                                             methods designated by Cigna are medically appropriate for
shall take into account your ability to travel to the provider.
Cigna shall require the second opinion health professional to                you because of your medical or personal history, Cigna will
provide you and the initial health professional with a                       cover the alternative FDA-approved prescription
                                                                             contraceptive prescribed by your Physician.
consultation report, including any recommended procedures or
tests that the second opinion health professional believes                  charges made for acupuncture services involving the
appropriate.                                                                 stimulation of specific anatomical locations on the skin
                                                                             through the penetration of fine needles, for the purpose of
You are limited to one (1) second medical opinion per medical
treatment or surgical procedure, unless Cigna based on its                   relieving pain or treating disease as Medically Necessary.
independent determination, authorizes additional medical                 Autism Spectrum Disorder
opinions concerning your medical condition.                              Covered expenses are professional services and treatment
   charges for the treatment of nicotine use.                           programs, including applied behavior analysis (ABA), and
                                                                         evidence-based behavior intervention programs that develop
   charges made for Family Planning, including medical
    history, physical exam, related laboratory tests, medical            or restore to the maximum extent practicable, the functioning
    supervision in accordance with generally accepted medical            of an individual with pervasive developmental disorder or
                                                                         autism provided that:
    practices, other medical services, information and
    counseling on contraception, implanted/injected                         The treatment is prescribed by a licensed Physician or is
    contraceptives, after appropriate counseling, medical                    developed by a licensed psychologist.



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   The treatment is provided under a treatment plan prescribed                home infusion therapy administered or used by Other
    by a qualified autism service provider.                                    Health Care Professionals in providing Home Health
   The treatment plan has measurable goals over a specific                    Services are covered. Home Health Services do not include
    time-line that is developed and approved by the qualified                  services by a person who is a member of your family or
    autism service provider for the specific patient being                     your Dependent’s family or who normally resides in your
    treated.                                                                   house or your Dependent’s house even if that person is an
                                                                               Other Health Care Professional. Skilled nursing services or
   The treatment plan is not used for purposes of                             private duty nursing services provided in the home are
    providing/reimbursing respite care, day care or educational                subject to the Home Health Services benefit terms,
    services and is not used to reimburse a parent for                         conditions and benefit limitations. Physical, occupational,
    participating in the treatment program.                                    and other Short-Term Rehabilitative Therapy services
Telecommunication Technologies - Mental Health and                             provided in the home are not subject to the Home Health
Substance Use Disorder                                                         Services benefit limitations in the Schedule, but are subject
 behavioral consultations and services via secure                             to the benefit limitations described under Short-term
  telecommunications technologies that shall include video                     Rehabilitative Therapy Maximum shown in The Schedule.
  capability, including telephones and internet, when
  delivered through a behavioral provider.                                   HC-COV76                                                         04-10

Nutritional Counseling                                                                                                                          V1

Charges for counseling when diet is a part of the medical
management of a medical or behavioral condition.                             Hospice Care Services
Internal Prosthetic/Medical Appliances                                        charges for a person who has been diagnosed as having six
Charges for internal prosthetic/medical appliances that provide                months or fewer to live, due to Terminal Illness, for the
permanent or temporary internal functional supports for                        following Hospice Care Services provided under a Hospice
nonfunctional body parts are covered. Medically Necessary                      Care Program:
repair, maintenance or replacement of a covered appliance is                    by a Hospice Facility for Room and Board and Services
also covered.                                                                    and Supplies;
                                                                                by a Hospice Facility for services provided on an
HC-COV992                                                       01-20            outpatient basis;
                                                                                by a Physician for professional services;

Home Health Services                                                            by a Psychologist, social worker, family counselor or
                                                                                 ordained minister for individual and family counseling;
 charges made for Home Health Services when you: require
  skilled care; are unable to obtain the required care as an                    for pain relief treatment, including drugs, medicines and
  ambulatory outpatient; and do not require confinement in a                     medical supplies;
  Hospital or Other Health Care Facility.                                       by an Other Health Care Facility for:
    Home Health Services are provided only if Cigna has                              part-time or intermittent nursing care by or under the
    determined that the home is a medically appropriate setting.                      supervision of a Nurse;
    If you are a minor or an adult who is dependent upon others
                                                                                     part-time or intermittent services of an Other Health
    for nonskilled care and/or custodial services (e.g., bathing,
                                                                                      Care Professional;
    eating, toileting), Home Health Services will be provided
    for you only during times when there is a family member or                  charges for physical, occupational and speech therapy;
    care giver present in the home to meet your nonskilled care                 charges for medical supplies; drugs and medicines
    and/or custodial services needs.                                             lawfully dispensed only on the written prescription of a
    Home Health Services are those skilled health care services                  Physician; and laboratory services; but only to the extent
    that can be provided during visits by Other Health Care                      such charges would have been payable under the policy if
    Professionals. The services of a home health aide are                        the person had remained or been Confined in a Hospital
    covered when rendered in direct support of skilled health                    or Hospice Facility.
    care services provided by Other Health Care Professionals.
    A visit is defined as a period of 2 hours or less. Home
    Health Services are subject to a maximum of 16 hours in
    total per day. Necessary consumable medical supplies and


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The following charges for Hospice Care Services are not                        treatment program, under the supervision of Physicians;
included as Covered Expenses:                                                  provides 24-hour care, in which a person lives in an open
   for the services of a person who is a member of your family                setting; and is licensed in accordance with the laws of the
    or your Dependent's family or who normally resides in your                 appropriate legally authorized agency as a residential
    house or your Dependent's house;                                           treatment center.
   for any period when you or your Dependent is not under the                 A person is considered confined in a Mental Health
    care of a Physician;                                                       Residential Treatment Center when she/he is a registered bed
                                                                               patient in a Mental Health Residential Treatment Center upon
   for services or supplies not listed in the Hospice Care                    the recommendation of a Physician.
    Program;
                                                                               Outpatient Mental Health Services
   for any curative or life-prolonging procedures;
                                                                               Services of Providers who are qualified to treat Mental Health
   to the extent that any other benefits are payable for those                when treatment is provided on an outpatient basis, while you
    expenses under the policy;                                                 or your Dependent is not Confined in a Hospital, and is
   for services or supplies that are primarily to aid you or your             provided in an individual, group or Mental Health Intensive
    Dependent in daily living.                                                 Outpatient Therapy Program. Covered services include, but
                                                                               are not limited to, outpatient treatment of conditions such as:
                                                                               anxiety or depression which interfere with daily functioning;
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                                                                               emotional adjustment or concerns related to chronic
                                                                               conditions, such as psychosis or depression; emotional
Mental Health and Substance Abuse Services                                     reactions associated with marital problems or divorce;
Mental Health Services are services that are required to treat                 child/adolescent problems of conduct or poor impulse control;
a disorder that impairs the behavior, emotional reaction or                    affective disorders; suicidal or homicidal threats or acts; eating
thought processes. In determining benefits payable, charges                    disorders; or acute exacerbation of chronic Mental Health
made for the treatment of any physiological conditions related                 conditions (crisis intervention and relapse prevention) and
to Mental Health will not be considered to be charges made                     outpatient testing and assessment.
for treatment of Mental Health.                                                A Mental Health Intensive Outpatient Therapy Program
Substance Abuse is defined as the psychological or physical                    consists of distinct levels or phases of treatment that are
dependence on alcohol or other mind-altering drugs that                        provided by a certified/licensed Mental Health program.
requires diagnosis, care, and treatment. In determining                        Intensive Outpatient Therapy Programs provide a combination
benefits payable, charges made for the treatment of any                        of individual, family and/or group therapy in a day, totaling
physiological conditions related to rehabilitation services for                nine or more hours in a week.
alcohol or drug abuse or addiction will not be considered to be                Inpatient Substance Abuse Rehabilitation Services
charges made for treatment of Substance Abuse.                                 Services provided for rehabilitation, while you or your
Inpatient Mental Health Services                                               Dependent is Confined in a Hospital, when required for the
Services that are provided by a Hospital while you or your                     diagnosis and treatment of abuse or addiction to alcohol and/or
Dependent is Confined in a Hospital for the treatment and                      drugs. Inpatient Substance Abuse Services include Partial
evaluation of Mental Health. Inpatient Mental Health Services                  Hospitalization sessions and Residential Treatment services.
include Partial Hospitalization and Mental Health Residential                  Partial Hospitalization sessions are services that are provided
Treatment Services.                                                            for not less than 4 hours and not more than 12 hours in any 24-
Partial Hospitalization sessions are services that are provided                hour period.
for not less than 4 hours and not more than 12 hours in any 24-                Substance Abuse Residential Treatment Services are
hour period.                                                                   services provided by a Hospital for the evaluation and
Mental Health Residential Treatment Services are services                      treatment of the psychological and social functional
provided by a Hospital for the evaluation and treatment of the                 disturbances that are a result of subacute Substance Abuse
psychological and social functional disturbances that are a                    conditions.
result of subacute Mental Health conditions.                                   Substance Abuse Residential Treatment Center means an
Mental Health Residential Treatment Center means an                            institution which specializes in the treatment of psychological
institution which specializes in the treatment of psychological                and social disturbances that are the result of Substance Abuse;
and social disturbances that are the result of Mental Health                   provides a subacute, structured, psychotherapeutic treatment
conditions; provides a subacute, structured, psychotherapeutic                 program, under the supervision of Physicians; provides 24-
                                                                               hour care, in which a person lives in an open setting; and is


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licensed in accordance with the laws of the appropriate legally           psychological testing on children requested by or for a
authorized agency as a residential treatment center.                       school system.
A person is considered confined in a Substance Abuse                      occupational/recreational therapy programs even if
Residential Treatment Center when she/he is a registered bed               combined with supportive therapy for age-related cognitive
patient in a Substance Abuse Residential Treatment Center                  decline.
upon the recommendation of a Physician.
Outpatient Substance Abuse Rehabilitation Services                     HC-COV7                                                               04-10
Services provided for the diagnosis and treatment of abuse or                                                                                  V4

addiction to alcohol and/or drugs, while you or your
Dependent is not Confined in a Hospital, including outpatient
                                                                       Durable Medical Equipment
rehabilitation in an individual, or a Substance Abuse Intensive
Outpatient Therapy Program.                                             charges made for purchase or rental of Durable Medical
                                                                         Equipment that is ordered or prescribed by a Physician and
A Substance Abuse Intensive Outpatient Therapy Program
                                                                         provided by a vendor approved by Cigna for use outside a
consists of distinct levels or phases of treatment that are
                                                                         Hospital or Other Health Care Facility. Coverage for repair,
provided by a certified/licensed Substance Abuse program.
                                                                         replacement or duplicate equipment is provided only when
Intensive Outpatient Therapy Programs provide a combination
                                                                         required due to anatomical change and/or reasonable wear
of individual, family and/or group therapy in a day, totaling
                                                                         and tear. All maintenance and repairs that result from a
nine, or more hours in a week.
                                                                         person’s misuse are the person’s responsibility. Coverage
Substance Abuse Detoxification Services                                  for Durable Medical Equipment is limited to the lowest-cost
Detoxification and related medical ancillary services are                alternative as determined by the utilization review
provided when required for the diagnosis and treatment of                Physician.
addiction to alcohol and/or drugs. Cigna will decide, based on         Durable Medical Equipment is defined as items which are
the Medical Necessity of each situation, whether such services         designed for and able to withstand repeated use by more than
will be provided in an inpatient or outpatient setting.                one person; customarily serve a medical purpose; generally
Exclusions                                                             are not useful in the absence of Injury or Sickness; are
                                                                       appropriate for use in the home; and are not disposable. Such
The following are specifically excluded from Mental Health
                                                                       equipment includes, but is not limited to, crutches, hospital
and Substance Abuse Services:
                                                                       beds, respirators, wheel chairs, and dialysis machines.
   any court ordered treatment or therapy, or any treatment or
                                                                       Durable Medical Equipment items that are not covered
    therapy ordered as a condition of parole, probation or
                                                                       include but are not limited to those that are listed below:
    custody or visitation evaluations unless Medically
    Necessary and otherwise covered under this policy or                  Bed Related Items: bed trays, over the bed tables, bed
    agreement.                                                             wedges, pillows, custom bedroom equipment, mattresses,
                                                                           including nonpower mattresses, custom mattresses and
   treatment of disorders which have been diagnosed as
                                                                           posturepedic mattresses.
    organic mental disorders associated with permanent
    dysfunction of the brain.                                             Bath Related Items: bath lifts, nonportable whirlpools,
                                                                           bathtub rails, toilet rails, raised toilet seats, bath benches,
   developmental disorders, including but not limited to,
                                                                           bath stools, hand held showers, paraffin baths, bath mats,
    developmental reading disorders, developmental arithmetic
                                                                           and spas.
    disorders, developmental language disorders or
    developmental articulation disorders.                                 Chairs, Lifts and Standing Devices: computerized or
                                                                           gyroscopic mobility systems, roll about chairs, geriatric
   counseling for activities of an educational nature.
                                                                           chairs, hip chairs, seat lifts (mechanical or motorized),
   counseling for borderline intellectual functioning.                    patient lifts (mechanical or motorized – manual hydraulic
   counseling for occupational problems.                                  lifts are covered if patient is two-person transfer), and auto
   counseling related to consciousness raising.                           tilt chairs.
   vocational or religious counseling.                                   Fixtures to Real Property: ceiling lifts and wheelchair
                                                                           ramps.
   I.Q. testing.
                                                                        Car/Van Modifications.
   custodial care, including but not limited to geriatric day
                                                                        Air Quality Items: room humidifiers, vaporizers, air
    care.
                                                                         purifiers and electrostatic machines.



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   Blood/Injection Related Items: blood pressure cuffs,                           when the foot orthosis is an integral part of a leg brace
    centrifuges, nova pens and needleless injectors.                                and is necessary for the proper functioning of the brace;
   Other Equipment: heat lamps, heating pads, cryounits,                          when the foot orthosis is for use as a replacement or
    cryotherapy machines, electronic-controlled therapy units,                      substitute for missing parts of the foot (e.g. amputated
    ultraviolet cabinets, sheepskin pads and boots, postural                        toes) and is necessary for the alleviation or correction of
    drainage board, AC/DC adaptors, enuresis alarms, magnetic                       Injury, Sickness or congenital defect; and
    equipment, scales (baby and adult), stair gliders, elevators,                  for persons with neurologic or neuromuscular condition
    saunas, any exercise equipment and diathermy machines.                          (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                    spasticity, malalignment, or pathological positioning of
HC-COV8                                                          04-10
                                                                                    the foot and there is reasonable expectation of
                                                                   V2               improvement.
                                                                              The following are specifically excluded orthoses and orthotic
                                                                              devices:
External Prosthetic Appliances and Devices
                                                                                 prefabricated foot orthoses;
 charges made or ordered by a Physician for: the initial
  purchase and fitting of external prosthetic appliances and                     cranial banding and/or cranial orthoses. Other similar
  devices available only by prescription which are necessary                      devices are excluded except when used postoperatively for
  for the alleviation or correction of Injury, Sickness or                        synostotic plagiocephaly. When used for this indication, the
  congenital defect.                                                              cranial orthosis will be subject to the limitations and
                                                                                  maximums of the External Prosthetic Appliances and
External prosthetic appliances and devices include
                                                                                  Devices benefit;
prostheses/prosthetic appliances and devices; orthoses and
orthotic devices; braces; and splints.                                           orthosis shoes, shoe additions, procedures for foot
                                                                                  orthopedic shoes, shoe modifications and transfers;
Prostheses/Prosthetic Appliances and Devices
                                                                                 non-foot orthoses primarily used for cosmetic rather than
Prostheses/prosthetic appliances and devices are defined as
                                                                                  functional reasons; and
fabricated replacements for missing body parts.
Prostheses/prosthetic appliances and devices include, but are                    non-foot orthoses primarily for improved athletic
not limited to:                                                                   performance or sports participation.
   limb prostheses;                                                          Braces
   terminal devices such as hands or hooks;                                  A Brace is defined as an orthosis or orthopedic appliance that
                                                                              supports or holds in correct position any movable part of the
   speech prostheses; and
                                                                              body and that allows for motion of that part.
   facial prostheses.
                                                                              The following braces are specifically excluded: Copes
Orthoses and Orthotic Devices                                                 scoliosis braces.
Orthoses and orthotic devices are defined as orthopedic                       Splints
appliances or apparatuses used to support, align, prevent or
                                                                              A Splint is defined as an appliance for preventing movement
correct deformities. Coverage is provided for custom foot
                                                                              of a joint or for the fixation of displaced or movable parts.
orthoses and other orthoses as follows:
                                                                              Coverage for replacement of external prosthetic appliances
   Non-foot orthoses – only the following non-foot orthoses
                                                                              and devices is limited to the following:
    are covered:
                                                                                 replacement due to regular wear. Replacement for damage
     rigid and semi-rigid custom fabricated orthoses;
                                                                                  due to abuse or misuse by the person will not be covered.
     semi-rigid prefabricated and flexible orthoses; and
                                                                                 replacement required because anatomic change has rendered
     rigid prefabricated orthoses including preparation, fitting                 the external prosthetic appliance or device ineffective.
      and basic additions, such as bars and joints.                               Anatomic change includes significant weight gain or loss,
   Custom foot orthoses – custom foot orthoses are only                          atrophy and/or growth.
    covered as follows:                                                          replacement due to a surgical alteration or revision of the
     for persons with impaired peripheral sensation and/or                       impacted site.
      altered peripheral circulation (e.g. diabetic neuropathy
      and peripheral vascular disease);




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Coverage for replacement is limited as follows:                                  infertility services when the infertility is caused by or
   no more than once every 24 months for persons 19 years of                     related to voluntary sterilization;
    age and older.                                                               donor charges and services;
   no more than once every 12 months for persons 18 years of                    cryopreservation of donor sperm and eggs; and
    age and under.                                                               any experimental, investigational or unproven infertility
The following are specifically excluded external prosthetic                       procedures or therapies.
appliances and devices:
   external and internal power enhancements or power controls                HC-COV734                                                       01-19
    for prosthetic limbs and terminal devices; and
   myoelectric prostheses peripheral nerve stimulators.
                                                                              Outpatient Therapy Services
                                                                              Charges for the following therapy services:
HC-COV890                                                        01-20
                                                                              Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                              Manipulation, Physical Therapy, Pulmonary
Infertility Services                                                          Rehabilitation, Speech Therapy
 charges made for services related to diagnosis of infertility                Charges for therapy services are covered when provided as
  and treatment of infertility once a condition of infertility has              part of a program of treatment.
  been diagnosed. Services include, but are not limited to:                   Cardiac Rehabilitation
  infertility drugs which are administered or provided by a
                                                                               Charges for Phase II cardiac rehabilitation provided on an
  Physician; approved surgeries and other therapeutic
  procedures that have been demonstrated in existing peer-                      outpatient basis following diagnosis of a qualifying cardiac
  reviewed, evidence-based, scientific literature to have a                     condition when Medically Necessary. Phase II is a Hospital-
  reasonable likelihood of resulting in pregnancy; laboratory                   based outpatient program following an inpatient Hospital
  tests; sperm washing or preparation; artificial insemination;                 discharge. The Phase II program must be Physician directed
  diagnostic evaluations; gamete intrafallopian transfer                        with active treatment and EKG monitoring.
  (GIFT); in vitro fertilization (IVF); zygote intrafallopian                     Phase III and Phase IV cardiac rehabilitation is not covered.
  transfer (ZIFT); and the services of an embryologist.                           Phase III follows Phase II and is generally conducted at a
    Infertility is defined as:                                                    recreational facility primarily to maintain the patient's status
                                                                                  achieved through Phases I and II. Phase IV is an
     the inability of opposite-sex partners to achieve                           advancement of Phase III which includes more active
      conception after at least one year of unprotected                           participation and weight training.
      intercourse;
                                                                              Chiropractic Care Services
     the inability of opposite-sex partners to achieve
                                                                               Charges for diagnostic and treatment services utilized in an
      conception after six months of unprotected intercourse,
      when the female partner trying to conceive is age 35 or                   office setting by chiropractic Physicians. Chiropractic
      older;                                                                    treatment includes the conservative management of acute
                                                                                neuromusculoskeletal conditions through manipulation and
     the inability of a woman, with or without an opposite-sex                 ancillary physiological treatment rendered to specific joints
      partner, to achieve conception after at least six trials of               to restore motion, reduce pain, and improve function. For
      medically supervised artificial insemination over a one-                  these services you have direct access to qualified
      year period; and                                                          chiropractic Physicians.
     the inability of a woman, with or without an opposite-sex               Coverage is provided when Medically Necessary in the most
      partner, to achieve conception after at least three trials of           medically appropriate setting to:
      medically supervised artificial insemination over a six-
      month period of time, when the female partner trying to                    Restore function (called “rehabilitative”):
      conceive is age 35 or older.                                                 To restore function that has been impaired or lost.
This benefit includes diagnosis and treatment of both male and                     To reduce pain as a result of Sickness, Injury, or loss of a
female infertility.                                                                 body part.
However, the following are specifically excluded infertility
services:
   reversal of male and female voluntary sterilization;


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   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the
     To improve, adapt or attain function that has been                      nondiseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                             prosthetics, limited to the lowest cost alternative available
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been
                                                                              mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health                 lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to
      result in a developmental delay.                                        correct or repair abnormal structures of the body caused by
Coverage is provided as part of a program of treatment when                   congenital defects, developmental abnormalities, trauma,
the following criteria are met:                                               infection, tumors, or disease to do either of the following: 1)
                                                                              to improve function; or 2) to create normal appearance, to
   The individual’s condition has the potential to improve or is             the extent possible. Reconstructive Surgery also includes
    improving in response to therapy, and maximum                             Medically Necessary dental or orthodontic services that are
    improvement is yet to be attained.                                        an integral part of reconstructive surgery for cleft palate
   There is an expectation that the anticipated improvement is               procedures. Cleft palate means a condition that may include
    attainable in a reasonable and generally predictable period               cleft palate, cleft lip or other craniofacial anomalies
    of time.                                                                  associated with cleft palate. Repeat or subsequent surgeries
   The therapy is provided by, or under the direct supervision               for the same condition are covered only when there is the
    of, a licensed health care professional acting within the                 probability of significant additional improvement as
    scope of the license.                                                     determined by the utilization review Physician.
   The therapy is Medically Necessary and medically
    appropriate for the diagnosed condition.                                HC-COV728                                                     08-18

Coverage for occupational therapy is provided only for
purposes of enabling individuals to perform the activities of               Transplant Services
daily living after an Injury or Sickness.
                                                                             charges made for human organ and tissue Transplant
Therapy services that are not covered include:                                services which include solid organ and bone marrow/stem
   sensory integration therapy.                                              cell procedures at designated facilities throughout the
   treatment of dyslexia.                                                    United States or its territories. This coverage is subject to
                                                                              the following conditions and limitations.
   maintenance or preventive treatment provided to prevent
    recurrence or to maintain the patient’s current status.                 Transplant services include the recipient’s medical, surgical
                                                                            and Hospital services; inpatient immunosuppressive
   charges for Chiropractic Care not provided in an office                 medications; and costs for organ or bone marrow/stem cell
    setting.                                                                procurement. Transplant services are covered only if they are
   vitamin therapy.                                                        required to perform any of the following human to human
Coverage is administered according to the following:                        organ or tissue transplants: allogeneic bone marrow/stem cell,
                                                                            autologous bone marrow/stem cell, cornea, heart, heart/lung,
   Multiple therapy services provided on the same day                      kidney, kidney/pancreas, liver, lung, pancreas or intestine
    constitute one day of service for each therapy type.                    which includes small bowel-liver or multi-visceral.
   A separate Copayment applies to the services provided by                All Transplant services, other than cornea, are covered at
    each provider for each therapy type per day.                            100% when received at Cigna LIFESOURCE Transplant
                                                                            Network® facilities. Cornea transplants are not covered at
HC-COV887                                                     01-20         Cigna LIFESOURCE Transplant Network® facilities.
                                                                  V1        Transplant services, including cornea, received at participating
                                                                            facilities specifically contracted with Cigna for those
                                                                            Transplant services, other than Cigna LIFESOURCE
Breast Reconstruction and Breast Prostheses                                 Transplant Network® facilities, are payable at the In-Network
 charges made for reconstructive surgery following a                       level. Transplant services received at any other facilities,
  mastectomy; benefits include: surgical services for                       including Non-Participating Providers and Participating


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Providers not specifically contracted with Cigna for                        Benefits under this section are provided only for Medical
Transplant services, are not covered.                                       Pharmaceuticals which, due to their characteristics (as
Coverage for organ procurement costs are limited to costs                   determined by Cigna), are required to be administered, or the
directly related to the procurement of an organ, from a cadaver             administration of which must be directly supervised, by a
or a live donor. Organ procurement costs shall consist of                   qualified Physician. Benefits payable under this section
surgery necessary for organ removal, organ transportation and               include Medical Pharmaceuticals whose administration may
the transportation, hospitalization and surgery of a live donor.            initially, or typically, require Physician oversight but may be
Compatibility testing undertaken prior to procurement is                    self-administered under certain conditions specified in the
covered if Medically Necessary. Costs related to the search                 product’s FDA labeling. Certain Medical Pharmaceuticals are
for, and identification of a bone marrow or stem cell donor for             subject to prior authorization requirements or other coverage
an allogeneic transplant are also covered.                                  conditions. Additionally, certain Medical Pharmaceuticals are
                                                                            subject to step therapy requirements. This means that in order
Transplant Travel Services                                                  to receive benefits for such Medical Pharmaceuticals, you are
Charges made for reasonable travel expenses incurred by you                 required to try a different Medical Pharmaceutical and/or
in connection with a preapproved organ/tissue transplant are                Prescription Drug Product first.
covered subject to the following conditions and limitations.                The Cigna Business Decision Team determines whether
Transplant travel benefits are not available for cornea                     utilization management requirements or other coverage
transplants. Benefits for transportation, lodging and food are              conditions should apply to a Medical Pharmaceutical by
available to you only if you are the recipient of a preapproved             considering a number of factors, including, but not limited to,
organ/tissue transplant from a designated Cigna                             clinical and economic factors. Clinical factors may include,
LIFESOURCE Transplant Network® facility. The term                           but are not limited to, the P&T Committee’s evaluations of the
recipient is defined to include a person receiving authorized               place in therapy, relative safety or relative efficacy of Medical
transplant related services during any of the following:                    Pharmaceuticals as well as whether utilization management
evaluation, candidacy, transplant event, or post-transplant                 requirements should apply. Economic factors may include, but
care. Travel expenses for the person receiving the transplant               are not limited to, the Medical Pharmaceutical’s cost
will include charges for: transportation to and from the                    including, but not limited to, assessments on the cost
transplant site (including charges for a rental car used during a           effectiveness of the Medical Pharmaceuticals and available
period of care at the transplant facility); lodging while at, or            rebates. When considering a Medical Pharmaceutical for a
traveling to and from the transplant site; and food while at, or            coverage status, the Business Decision Team reviews clinical
traveling to and from the transplant site.                                  and economic factors regarding enrollees as a general
In addition to your coverage for the charges associated with                population across its book-of-business. Regardless of its
the items above, such charges will also be considered covered               eligibility for coverage under your plan, whether a particular
travel expenses for one companion to accompany you. The                     Prescription Drug Product is appropriate for you or any of
term companion includes your spouse, a member of your                       your Dependents is a determination that is made by you (or
family, your legal guardian, or any person not related to you,              your Dependent) and the prescribing Physician.
but actively involved as your caregiver. The following are                  The coverage criteria for a Medical Pharmaceutical may
specifically excluded travel expenses: travel costs incurred due            change periodically for various reasons. For example, a
to travel within 60 miles of your home; laundry bills;                      Medical Pharmaceutical may be removed from the market, a
telephone bills; alcohol or tobacco products; and charges for               new Medical Pharmaceutical in the same therapeutic class as a
transportation that exceed coach class rates.                               Medical Pharmaceutical may become available, or other
These benefits are only available when the covered person is                market events may occur. Market events that may affect the
the recipient of an organ transplant. No benefits are available             coverage status of a Medical Pharmaceutical include, but are
when the covered person is a donor.                                         not limited to, an increase in the cost of a Medical
                                                                            Pharmaceutical.
HC-COV15                                                     04-10
                                                                  V2        HC-COV553                                                    10-16



Medical Pharmaceuticals                                                     Gene Therapy
The plan covers charges made for Medical Pharmaceuticals                    Charges for gene therapy products and services directly
that are administered in an Inpatient setting, Outpatient                   related to their administration are covered when Medically
setting, Physician’s office, or in a covered person's home.                 Necessary. Gene therapy is a category of pharmaceutical



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products approved by the U.S. Food and Drug Administration              costs incurred due to travel within 60 miles of your home;
(FDA) to treat or cure a disease by:                                    food and meals; laundry bills; telephone bills; alcohol or
   replacing a disease-causing gene with a healthy copy of the         tobacco products; and charges for transportation that exceed
    gene.                                                               coach class rates.
   inactivating a disease-causing gene that may not be
    functioning properly.                                               HC-COV886                                                     01-20

   introducing a new or modified gene into the body to help
    treat a disease.                                                    Clinical Trials
Each gene therapy product is specific to a particular disease           This plan covers routine patient care costs and services related
and is administered in a specialized manner. Cigna determines           to an approved clinical trial for a qualified individual. The
which products are in the category of gene therapy, based in            individual must be eligible to participate according to the trial
part on the nature of the treatment and how it is distributed           protocol and either of the following conditions must be met:
and administered.
                                                                           the referring health care professional is a participating
Coverage includes the cost of the gene therapy product;                     health care provider and has concluded that the individual’s
medical, surgical, and facility services directly related to                participation in such trial would be appropriate; or
administration of the gene therapy product; and professional
                                                                           the individual provides medical and scientific information
services.
                                                                            establishing that the individual’s participation in the
Gene therapy products and their administration are covered                  qualified trial would be appropriate.
when prior authorized to be received at In-Network facilities
                                                                        In addition to qualifying as an individual, the clinical trial
specifically contracted with Cigna for the specific gene
                                                                        must also meet certain criteria in order for patient care costs
therapy service. Gene therapy products and their
                                                                        and services to be covered.
administration received at other facilities are not covered.
                                                                        The clinical trial must be a phase I, phase II, phase III, or
Gene Therapy Travel Services
                                                                        phase IV clinical trial conducted in relation to the prevention,
Charges made for non-taxable travel expenses incurred by you            detection, or treatment of cancer or other life-threatening
in connection with a prior authorized gene therapy procedure            disease or condition that meets any of the following criteria:
are covered subject to the following conditions and
                                                                           it is a federally funded trial. The study or investigation is
limitations.
                                                                            approved or funded (which may include funding through in-
Benefits for transportation and lodging are available to you                kind contributions) by one or more of the following:
only when you are the recipient of a prior authorized gene
                                                                             National Institutes of Health (NIH).
therapy; and when the gene therapy products and services
directly related to their administration are received at a                   Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with               Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
                                                                             Centers for Medicare and Medicaid Services (CMS).
is defined to include a person receiving prior authorized gene
therapy related services during any of the following:                        a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                   described above or the Department of Defense (DOD) or
                                                                              the Department of Veterans Affairs (VA).
Travel expenses for the person receiving the gene therapy
include charges for: transportation to and from the gene                     a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or                  any of the following: Department of Energy, Department of
traveling to and from, the site.                                            Defense, Department of Veterans Affairs, if both of the
In addition to your coverage for the charges associated with                following conditions are met:
the items above, such charges will also be considered covered                the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The                       approved through a system of peer review comparable to
term companion includes your spouse, a member of your                         the system of peer review of studies and investigations
family, your legal guardian, or any person not related to you,                used by the National Institutes of Health (NIH); and
but actively involved as your caregiver who is at least 18 years             the study or investigation assures unbiased review of the
of age.                                                                       highest scientific standards by qualified individuals who
The following are specifically excluded travel expenses: any                  have no interest in the outcome of the review.
expenses that if reimbursed would be taxable income, travel


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   the study or investigation is conducted under an                         The clinical trial is conducted outside the individual’s state
    investigational new drug application reviewed by the U.S.                 of residence.
    Food and Drug Administration (FDA).
   the study or investigation is a drug trial that is exempt from        HC-COV884                                                       01-20
    having such an investigational new drug application.
The plan does not cover any of the following services
associated with a clinical trial:
   services that are not considered routine patient care costs
    and services, including the following:
     the investigational drug, device, item, or service that is
      provided solely to satisfy data collection and analysis
      needs.
     an item or service that is not used in the direct clinical
      management of the individual.
     a service that is clearly inconsistent with widely accepted
      and established standards of care for a particular
      diagnosis.
   an item or service provided by the research sponsors free of
    charge for any person enrolled in the trial.
   travel and transportation expenses, unless otherwise covered
    under the plan, including but not limited to the following:
     fees for personal vehicle, rental car, taxi, medical van,
      ambulance, commercial airline, train.
     mileage reimbursement for driving a personal vehicle.
     lodging.
     meals.
   routine patient costs obtained out-of-network when Out-of-
    Network benefits do not exist under the plan.
Examples of routine patient care costs and services include:
   radiological services.
   laboratory services.
   intravenous therapy.
   anesthesia services.
   Physician services.
   office services.
   Hospital services.
   Room and Board, and medical supplies that typically would
    be covered under the plan for an individual who is not
    enrolled in a clinical trial.
Clinical trials conducted by Out-of-Network providers will be
covered only when the following conditions are met:
   In-Network providers are not participating in the clinical
    trial; or




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                                         Prescription Drug Benefits
                                                   The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.

Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at Network
Pharmacies at 100% with no deductible and if applicable at non-Network Pharmacies, the same as the out of network
medical cost share for injectable/IV chemotherapy.


                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Out-of-Pocket Maximum
  Individual                              Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
  Family                                  Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $25 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $45 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
  .




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      No charge after $20 Copay                  In-network coverage only
  Drug List
Tier 2
  Brand Drugs designated as              No charge after $50 Copay                  In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         No charge after $90 Copay                  In-network coverage only
  preferred on the Prescription Drug
  List




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Prescription Drug Benefits                                              factors. Clinical factors may include, but are not limited to, the
                                                                        P&T Committee’s evaluations of the place in therapy, relative
                                                                        safety or relative efficacy of the Prescription Drug Product, as
Covered Expenses                                                        well as whether certain supply limits or other utilization
Your plan provides benefits for Prescription Drug Products              management requirements should apply. Economic factors
dispensed by a Pharmacy. Details regarding your plan’s                  may include, but are not limited to, the Prescription Drug
Covered Expenses, which for the purposes of the Prescription            Product's acquisition cost including, but not limited to,
Drug Benefit include Medically Necessary Prescription Drug              assessments on the cost effectiveness of the Prescription Drug
Products ordered by a Physician, Limitations and Exclusions             Product and available rebates. When considering a
are provided below and/or are shown in The Schedule.                    Prescription Drug Product for tier placement on the
If you or any one of your Dependents, while insured for                 Prescription Drug List or other coverage conditions, the
Prescription Drug Benefits, incurs expenses for charges made            Business Decision Team reviews clinical and economic
by a Pharmacy for Medically Necessary Prescription Drug                 factors regarding enrollees as a general population across its
Products ordered by a Physician, your plan will provide                 book-of-business. Regardless of its eligibility for coverage
coverage for those expenses as shown in The Schedule. Your              under the plan, whether a particular Prescription Drug Product
benefits may vary depending on which of the Prescription                is appropriate for you or any of your Dependents is a
Drug List tiers the Prescription Drug Product is listed, or the         determination that is made by you or your Dependent and the
Pharmacy that provides the Prescription Drug Product.                   prescribing Physician. A copy of the formulary is available at
                                                                        www.cigna.com/prescription-drug-list or by calling the
Coverage under your plan’s Prescription Drug Benefits also              number on the back of your ID card.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to          The coverage status of a Prescription Drug Product may
you or your Dependents by a licensed dentist for the                    change periodically for various reasons. For example, a
prevention of infection or pain in conjunction with a dental            Prescription Drug Product may be removed from the market, a
procedure.                                                              New Prescription Drug Product in the same therapeutic class
                                                                        as a Prescription Drug Product may become available, or other
For combination anti-retroviral drug treatments that are                market events may occur. Market events that may affect the
Medically Necessary for the treatment of AIDS/HIV, this plan            coverage status of a Prescription Drug Product include, but are
covers a single-tablet drug regimen that is as effective as a           not limited to, an increase in the acquisition cost of a
multi-tablet regimen unless, consistent with clinical guidelines        Prescription Drug Product. As a result of coverage changes,
and peer-reviewed scientific and medical literature, the multi-         for the purposes of benefits the plan may require you to pay
tablet regimen is clinically equal or more effective and more           more or less for that Prescription Drug Product, to obtain the
likely to result in adherence to a drug regimen.                        Prescription Drug Product from a certain Pharmacy(ies) for
When you or a Dependent are issued a Prescription Order or              coverage, or try another covered Prescription Drug Product(s).
Refill for Medically Necessary Prescription Drug Products as            Please access the internet through the website shown on your
part of the rendering of Emergency Services and Cigna                   ID card or call member services at the telephone number on
determines that it cannot reasonably be filled by a Network             your ID card for the most up-to-date tier status, utilization
Pharmacy, the prescription will be covered pursuant to the, as          management, or other coverage limitations for a Prescription
applicable, Copayment or Coinsurance for the Prescription               Drug Product.
Drug Product when dispensed by a Network Pharmacy.                      A Prescription Drug Product that is not on the Prescription
Prescription Drug List Management                                       Drug List may be covered if the Prescription Drug Product is
The Prescription Drug List (or formulary) offered under your            determined to be Medically Necessary and your Physician
Employer’s plan is managed by the Cigna Business Decision               obtains authorization for coverage of the non-Prescription
Team. Your plan’s Prescription Drug List coverage tiers may             Drug List Prescription Drug Product.
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The                HC-PHR321                                                     01-19
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should             Limitations
apply to a Prescription Drug Product by considering a number            In the event you or your Dependent insist on a more expensive
of factors including, but not limited to, clinical and economic         Brand Drug where a Generic Drug is available, you will be



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financially responsible for the amount by which the cost of the         When you submit a claim on this basis, you will need to
Brand Drug exceeds the cost of the Generic Drug, plus any               submit a paper claim using the form that appears on the
required Brand Drug Copayment and/or Coinsurance. In this               website shown on your ID card.
case, the amount by which the cost of the Brand Drug exceeds            If a prior authorization request is approved, you and your
the cost of the Generic Drug will not apply to your Deductible,         Physician will receive confirmation within 72 hours for non-
if any, or Out-of-Pocket Maximum. However, in the event                 urgent requests and within 24 hours for exigent requests. The
your Physician determines that the Generic Drug is not an               authorization will be processed in the claim system to allow
acceptable alternative for you (and indicates Dispensed as              you to have coverage for the Prescription Drug Product. The
Written on the Prescription Order or Refill), you will only be          length of the authorization may depend on the diagnosis and
responsible for payment of the appropriate Brand Drug                   the Prescription Drug Product. The authorization will at all
Coinsurance and/or Copayment after satisfying your                      times be subject to the plan’s terms of coverage for the
Deductible, if any.                                                     Prescription Drug Product, which may change from time to
Contraceptives                                                          time. When your Physician advises you that coverage for the
Additionally, in the event your Physician determines that a             Prescription Drug Product has been approved, you can contact
prescription contraceptive that would be payable at 100% is             a Pharmacy to fill the covered Prescription Order or Refill.
not a medically acceptable alternative for you, the applicable          If the prior authorization request is denied, your Physician and
cost-share for a covered alternative contraceptive will be              you will be notified that coverage for the Prescription Drug
waived. Contact Cigna at the website or phone number on                 Product is not authorized within 72 hours for non-urgent
your ID card.                                                           requests and within 24 hours for exigent requests. If you
Prior Authorization Requirements                                        disagree with a coverage decision, you may appeal that
                                                                        decision in accordance with the provisions of the plan by
Coverage for certain Prescription Drug Products prescribed to           submitting a written request stating why the Prescription Drug
you requires your Physician to obtain prior authorization from          Product should be covered. The appeal provisions, including
Cigna or its Review Organization. The reason for obtaining              the address for submitting an appeal, are outlined in the
prior authorization from Cigna is to determine whether the              “When You Have A Complaint Or An Adverse Determination
Prescription Drug Product is Medically Necessary in                     Appeal” section of your certificate. You may also call
accordance with Cigna's coverage criteria. Coverage criteria            Customer Service at the toll-free number on your
for a Prescription Drug Product may vary based on the clinical          Identification Card if you have questions about the appeal
use for which the Prescription Order or Refill is submitted,            process.
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market        Step Therapy
factors.                                                                Certain Prescription Drug Products are subject to step therapy
If Cigna or its Review Organization reviews the                         requirements. This means that in order to receive benefits for
documentation provided and determines that the Prescription             such Prescription Drug Products you are required to try a
Drug Product is not Medically Necessary or otherwise                    different Prescription Drug Product(s) first unless you satisfy
excluded, your plan will not cover the Prescription Drug                the plan’s exception criteria. You may identify whether a
Product. Cigna, or its Review Organization, will not review             particular Prescription Drug Product is subject to step therapy
claims for excluded Prescription Drug Products or other                 requirements at the website shown on your ID card or by
services to determine if they are Medically Necessary, unless           calling member services at the telephone number on your ID
required by law.                                                        card.In circumstances where you or your Dependent are
                                                                        changing policies, the new policy shall not require a repeat of
When Prescription Drug Products that require prior                      step therapy when the insured is already being treated for a
authorization are dispensed at a Pharmacy, you or your                  medical condition by a Prescription Drug Product that is
prescribing Physician are responsible for obtaining prior               appropriately prescribed and is considered safe and effective.
authorization from Cigna. If you do not obtain prior                    The new policy can impose a prior authorization requirement
authorization from us before the Prescription Drug Product is           for the continued coverage of a Prescription Drug Product
dispensed by the Pharmacy, you can ask us to consider                   prescribed pursuant to step therapy imposed by the former
reimbursement after you pay for and receive the Prescription            policy. A prescribing provider may prescribe another
Drug Product. You will need to pay for the Prescription Drug            Prescription Drug Product covered by the new policy that is
Product at the Pharmacy prior to submitting a reimbursement             medically appropriate for the insured.
request.
                                                                        Supply Limits
                                                                        Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single


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Prescription Order or Refill, you may receive a Prescription               Copayment
Drug Product up to the stated supply limit.                                Your plan requires that you pay a Copayment for covered
Some products are subject to additional supply limits, quantity            Prescription Drug Products as set forth in The Schedule. After
limits or dosage limits based on coverage criteria that have               satisfying any applicable annual Deductible set forth in The
been approved based on consideration of the P&T                            Schedule, your costs under the plan for a covered Prescription
Committee’s clinical findings. Coverage criteria are subject to            Drug Product dispensed by a Network Pharmacy and that is
periodic review and modification. The limit may restrict the               subject to a Copayment requirement will be the lowest of the
amount dispensed per Prescription Order or Refill and/or the               following amounts:
amount dispensed per month's supply, or may require that a                    the Copayment for the Prescription Drug Product set forth
minimum amount be dispensed.                                                   in The Schedule; or
You may determine whether a Prescription Drug Product has                     the Prescription Drug Charge; or
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by                        the Network Pharmacy’s submitted Usual and Customary
calling member services at the telephone number on your ID                     (U&C) Charge, if any.
card.                                                                      When a treatment regimen contains more than one type of
FDA-approved, self-administered hormonal contraceptives                    Prescription Drug Products that are packaged together for your
will be covered for up to a 12-month supply when dispensed at              or your Dependent's convenience, any applicable Copayment
one time.                                                                  or Coinsurance may apply to each Prescription Drug Product.
Specialty Prescription Drug Products                                       You will need to obtain prior approval from Cigna or its
                                                                           Review Organization for any Prescription Drug Product not
Benefits are provided for Specialty Prescription Drug                      listed on the Prescription Drug List that is not otherwise
Products.                                                                  excluded. If Cigna or its Review Organization approves
New Prescription Drug Products                                             coverage for the Prescription Drug Product because it meets
The Business Decision Team may or may not place a New                      the applicable coverage exception criteria, the Prescription
Prescription Drug Product on a Prescription Drug List tier                 Drug Product shall be covered at the applicable coverage tier
upon its market entry. The Business Decision Team will use                 as set forth in The Schedule.
reasonable efforts to make a tier placement decision for a New             The amount you or your Dependent pays for any excluded
Prescription Drug Product within six months of its market                  Prescription Drug Product or other product or service will not
availability. The Business Decision Team’s tier placement                  be included in calculating any applicable plan Out-of-Pocket
decision shall be based on consideration of, without limitation,           Maximum. You are responsible for paying 100% of the cost
the P&T Committee’s clinical review of the New Prescription                (the amount the Pharmacy charges you) for any excluded
Drug Product and economic factors. If a New Prescription                   Prescription Drug Product or other product.
Drug Product not listed on the Prescription Drug List is
approved by Cigna or its Review Organization as Medically
                                                                           HC-PHR272                                                   01-19
Necessary in the interim, the New Prescription Drug Product
                                                                                                                                           V2
shall be covered at the applicable coverage tier as set forth in
The Schedule.

                                                                           Exclusions
HC-PHR150                                                     01-20
                                                                V1         Coverage exclusions listed under the “Exclusions, Expenses
                                                                           Not Covered and General Limitations” section also apply to
                                                                           benefits for Prescription Drug Products. In addition, the
                                                                           exclusions listed below apply to benefits for Prescription Drug
Your Payments                                                              Products. When an exclusion or limitation applies to only
Covered Prescription Drug Products purchased at a Pharmacy                 certain Prescription Drug Products, you can access the
are subject to any applicable Deductible, Copayments or                    Prescription Drug List through the website shown on your ID
Coinsurance shown in The Schedule, as well as any                          card or call member services at the telephone number on your
limitations or exclusions set forth in this plan. Please refer to          ID card for information on which Prescription Drug Products
The Schedule for any required Copayments, Coinsurance,                     are excluded.
Deductibles or Out-of-Pocket Maximums.                                        coverage for Prescription Drug Products for the amount
                                                                               dispensed (days' supply) which exceeds the applicable
                                                                               supply limit, or is less than any applicable supply minimum


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    set forth in The Schedule, or which exceeds quantity limit(s)              certain Prescription Drug Products that are a Therapeutic
    or dosage limit(s) set by the P&T Committee.                                Equivalent or Therapeutic Alternative to an over-the-
   more than one Prescription Order or Refill for a given                      counter drug(s), or are available in over-the-counter form.
    prescription supply period for the same Prescription Drug                   Such coverage determinations may be made periodically,
    Product prescribed by one or more Physicians and                            and benefits for a Prescription Drug Product that was
    dispensed by one or more Pharmacies.                                        previously excluded under this provision may be reinstated
                                                                                at any time.
   Prescription Drug Products dispensed outside the
    jurisdiction of the United States, except as required for                  any product for which the primary use is a source of
    emergency or Urgent Care treatment.                                         nutrition, nutritional supplements, or dietary management of
                                                                                disease, even when used for the treatment of Sickness or
   Prescription Drug Products which are prescribed, dispensed                  Injury, unless coverage for such product(s) is required by
    or intended to be taken by or administered to you while you                 federal or state law.
    are a patient in a licensed Hospital, Skilled Nursing Facility,
    rest home, rehabilitation facility, or similar institution which           immunization agents, biological products for allergy
    operates on its premises or allows to be operated on its                    immunization, biological sera, blood, blood plasma and
    premises a facility for dispensing pharmaceutical products.                 other blood products or fractions and medications used for
                                                                                travel prophylaxis unless specifically identified on the
   Prescription Drug Products furnished by the local, state or                 Prescription Drug List.
    federal government (except for a Network Pharmacy owned
    or operated by a local, state or federal government).                      smoking cessation medications except those required by
                                                                                federal law to be covered as Preventive Care Medications.
   any product dispensed for the purpose of appetite
    suppression (anorectics) or weight loss.                                   certain Prescription Drug Products that are a Therapeutic
                                                                                Equivalent or Therapeutic Alternative to another covered
   prescription and non-prescription supplies other than                       Prescription Drug Product(s). Such coverage determinations
    supplies covered as Prescription Drug Products.                             may be made periodically, and benefits for a Prescription
   vitamins, except prenatal vitamins that require a                           Drug Product that was previously excluded under this
    Prescription Order or Refill, unless coverage for such                      provision may be reinstated at any time.
    product(s) is required by federal or state law.                            medications that are experimental, investigational, or
   medications used for cosmetic purposes, including, without                  unproven as described under the “General Exclusion and
    limitation, medications used to reduce wrinkles,                            Limitations” section of your plan’s certificate.
    medications used to promote hair growth, or medications
    used to control perspiration and fade cream products.
                                                                            HC-PHR416                                                    01-20
   Prescription Drug Products as a replacement for a                                                                                        V1
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.
   Medical Pharmaceuticals covered solely under the plan’s
                                                                            Reimbursement/Filing a Claim
    medical benefits.
                                                                            Retail Pharmacy
   Prescription Drug Products used for the treatment of male or
    female sexual dysfunction, including, but not limited to                When you or your Dependents purchase your Prescription
    erectile dysfunction, delayed ejaculation, anorgasmy,                   Drug Products through a Network Pharmacy, you pay any
    hypoactive sexual desire disorder and decreased libido.                 applicable Copayment, Coinsurance, or Deductible shown in
                                                                            The Schedule at the time of purchase. You do not need to file
   any ingredient(s) in a compounded Prescription Drug
                                                                            a claim form for a Prescription Drug Product obtained at a
    Product that has not been approved by the U.S. Food and
                                                                            Network Pharmacy unless you pay the full cost of a
    Drug Administration (FDA), and do not meet the definition
                                                                            Prescription Drug Product at a Network Pharmacy and later
    of a Part D eligible drug.
                                                                            seek reimbursement for the Prescription Drug Product under
   medications available over-the-counter that do not require a            the plan. For example, if you must pay the full cost of a
    Prescription Order or Refill by federal or state law before             Prescription Drug Product to the retail Network Pharmacy
    being dispensed, unless state or federal law requires                   because you did not have your ID card, then you must submit
    coverage of such medications or the over-the-counter                    a claim to Cigna for any reimbursement or benefit you believe
    medication has been designated as eligible for coverage as if           is due to you under this plan. If, under this example, your
    it were a Prescription Drug Product.                                    payment to the retail Network Pharmacy for the covered
                                                                            Prescription Drug Product exceeds any applicable copay, then



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you will be reimbursed the difference, if any, between the                       accumulation toward any plan Deductible or Out-of-Pocket
applicable copay and the Prescription Drug Charge for the                        Maximum the value of any coupon applied to any
Prescription Drug Product.                                                       Copayment, Deductible and/or Coinsurance you are
                                                                                 required to pay.
HC-PHR273                                                       01-19
                                                                                charges arising out of or relating to any violation of a
                                                                  V2
                                                                                 healthcare-related state or federal law or which themselves
                                                                                 are a violation of a healthcare-related state or federal law.
                                                                                assistance in the activities of daily living, including but not
                                                                                 limited to eating, bathing, dressing or other Custodial
Exclusions, Expenses Not Covered and                                             Services or self-care activities, homemaker services and
General Limitations                                                              services primarily for rest, domiciliary or convalescent care.
Exclusions and Expenses Not Covered                                             for or in connection with experimental, investigational or
                                                                                 unproven services.
Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, substance use
                                                                                 disorder or other health care technologies, supplies,
 care for health conditions that are required by state or local
                                                                                 treatments, procedures, drug or Biologic therapies or
  law to be treated in a public facility.
                                                                                 devices that are determined by the utilization review
   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                  not approved by the U.S. Food and Drug Administration
   treatment of an Injury or Sickness which is due to war,                        (FDA) or other appropriate regulatory agency to be
    declared, or undeclared.                                                       lawfully marketed;
   charges which you are not obligated to pay or for which you                   not demonstrated, through existing peer-reviewed,
    are not billed or for which you would not have been billed                     evidence-based, scientific literature to be safe and
    except that they were covered under this plan. For example,                    effective for treating or diagnosing the condition or
    if Cigna determines that a provider or Pharmacy is or has                      Sickness for which its use is proposed;
    waived, reduced, or forgiven any portion of its charges
                                                                                  the subject of review or approval by an Institutional
    and/or any portion of Copayment, Deductible, and/or
                                                                                   Review Board for the proposed use except as provided in
    Coinsurance amount(s) you are required to pay for a
                                                                                   the “Clinical Trials” sections of this plan; or
    Covered Expense (as shown on The Schedule) without
    Cigna's express consent, then Cigna shall have the right to                   the subject of an ongoing phase I, II, or III clinical trial,
    deny the payment of benefits in connection with the                            except for routine patient care costs related to qualified
    Covered Expense, or reduce the benefits in proportion to the                   clinical trials as provided in the “Clinical Trials” sections
    amount of the Copayment, Deductible, and/or Coinsurance                        of this plan.
    amounts waived, forgiven or reduced, regardless of whether                   In determining whether any such technologies, supplies,
    the provider or Pharmacy represents that you remain                          treatments, drug or Biologic therapies, or devices are
    responsible for any amounts that your plan does not cover.                   experimental, investigational, and/or unproven, the
    Cigna shall have the right to require you to provide proof                   utilization review Physician may rely on the clinical
    sufficient to Cigna that you have made your required cost                    coverage policies maintained by Cigna or the Review
    share payment(s) prior to the payment of any benefits by                     Organization. Clinical coverage policies may incorporate,
    Cigna. This exclusion includes, but is not limited to, charges               without limitation and as applicable, criteria relating to U.S.
    of a non-Participating Provider who has agreed to charge                     Food and Drug Administration-approved labeling, the
    you or charged you at an In-Network benefits level or some                   standard medical reference compendia and peer-reviewed,
    other benefits level not otherwise applicable to the services                evidence-based scientific literature or guidelines. The plan
    received. Provided further, if you use a coupon provided by                  or policy shall not deny coverage for a drug or Biologic
    a pharmaceutical manufacturer or other third party that                      therapy as experimental, investigational and unproven if the
    discounts the cost of a prescription medication or other                     drug or Biologic therapy is otherwise approved by the FDA
    product, Cigna may, in its sole discretion, reduce the                       to be lawfully marketed, has not been contraindicated by the
    benefits provided under the plan in proportion to the amount                 FDA for the use for which the drug or Biologic has been
    of the Copayment, Deductible, and/or Coinsurance amounts                     prescribed, and is recognized as safe and effective for the
    to which the value of the coupon has been applied by the                     treatment of cancer in any of the standard reference
    Pharmacy or other third party, and/or exclude from                           compendia: (A) The American Hospital Formulary Service's


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    Drug Information, (B) One of the following compendia if                   required for health reasons including, but not limited to,
    recognized by the federal Centers for Medicare and                        employment, insurance or government licenses, and court-
    Medicaid Services as part of an anticancer                                ordered, forensic or custodial evaluations.
    chemotherapeutic regimen: (i). The Elsevier Gold                         court-ordered treatment or hospitalization, unless such
    Standard's Clinical Pharmacology; (ii) The National                       treatment is prescribed by a Physician and listed as covered
    Comprehensive Cancer Network Drug and Biologics                           in this plan.
    compendium; (iii) The Thomson Micromedix DrugDex, (C)
    two articles from major peer-reviewed medical journals that              any services or supplies for the treatment of male or female
    that present data supporting the proposed off-label use or                sexual dysfunction such as, but not limited to, treatment of
    uses as generally safe and effective unless there is clear and            erectile dysfunction (including penile implants), anorgasmy,
    convincing contradictory evidence presented in a major                    and premature ejaculation.
    peer-reviewed medical journal.                                           medical and Hospital care and costs for the infant child of a
   cosmetic surgery and therapies. Cosmetic surgery or therapy               Dependent, unless this infant child is otherwise eligible
    is defined as surgery or therapy performed to improve or                  under this plan.
    alter appearance or self-esteem or to treat psychological                non-medical counseling and/or ancillary services including,
    symptomatology or psychosocial complaints related to                      but not limited to, Custodial Services, educational services,
    one’s appearance. Cosmetic surgery and therapy does not                   vocational counseling, training and rehabilitation services,
    include gender reassignment services.                                     behavioral training (other than behavioral training services
   the following services are excluded from coverage                         for pervasive developmental disorder or autism),
    regardless of clinical indications: macromastia or                        biofeedback, neurofeedback, hypnosis, sleep therapy, return
    gynecomastia surgeries; surgical treatment of varicose                    to work services, work hardening programs, and driver
    veins; abdominoplasty; panniculectomy; rhinoplasty;                       safety courses.
    blepharoplasty; redundant skin surgery; removal of skin                  consumable medical supplies other than ostomy supplies
    tags; acupressure; craniosacral/cranial therapy; dance                    and urinary catheters. Excluded supplies include, but are not
    therapy; movement therapy; applied kinesiology; rolfing;                  limited to bandages and other disposable medical supplies,
    prolotherapy; and extracorporeal shock wave lithotripsy                   skin preparations and test strips, except as specified in the
    (ESWL) for musculoskeletal and orthopedic conditions.                     “Home Health Care Services” or “Breast Reconstruction
   dental treatment of the teeth, gums or structures directly                and Breast Prostheses” sections of this plan.
    supporting the teeth, including dental X-rays, examinations,             private Hospital rooms and/or private duty nursing except as
    repairs, orthodontics (unless services are an integral part of            provided under the Home Health Services provision.
    reconstructive surgery for Cleft Palate), periodontics, casts,           personal or comfort items such as personal care kits
    splints and services for dental malocclusion, for any                     provided on admission to a Hospital, television, telephone,
    condition. However, facility charges and charges for general              newborn infant photographs, complimentary meals, birth
    anesthesia or deep sedation which cannot be administered in               announcements, and other articles which are not for the
    a dental office are covered when Medically Necessary.                     specific treatment of an Injury or Sickness.
    Charges made for services or supplies provided for or in
                                                                             artificial aids including, but not limited to, corrective
    connection with an accidental Injury to teeth are also
                                                                              orthopedic shoes, arch supports, elastic stockings, garter
    covered provided a continuous course of dental treatment is
                                                                              belts, corsets, dentures and wigs.
    started within six months of an accident.
                                                                             aids or devices that assist with non-verbal communications,
   for medical and surgical services, initial and repeat,
    intended for the treatment or control of obesity including                including but not limited to communication boards, pre-
    clinically severe (morbid) obesity, including: medical and                recorded speech devices, laptop computers, desktop
                                                                              computers, Personal Digital Assistants (PDAs), Braille
    surgical services to alter appearance or physical changes
                                                                              typewriters, visual alert systems for the deaf and memory
    that are the result of any surgery performed for the
                                                                              books.
    management of obesity or clinically severe (morbid)
    obesity; and weight loss programs or treatments, whether                 corrective lenses and associated services (prescription
    prescribed or recommended by a Physician or under                         exams and fittings), including eyeglass lenses and frames
    medical supervision. This does not apply to obesity                       and contact lenses, except for the first pair of corrective
    screening and counseling as outlined in the US Preventive                 lenses, or the first set of eyeglass lenses and frames and
    Services Task Force.                                                      associated services for treatment of keratoconus or
                                                                              following cataract surgery.
   unless otherwise covered in this plan, for reports,
    evaluations, physical examinations, or hospitalization not


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   routine refractions, eye exercises and surgical treatment for            Medical Pharmaceutical(s) and is administered in
    the correction of a refractive error, including radial                   connection with a covered service rendered in an inpatient,
    keratotomy.                                                              outpatient, Physician’s office or home health care setting.
   all non-injectable prescription drugs unless Physician                   Such determinations may be made periodically, and benefits
    administration or oversight is required, injectable                      for a Medical Pharmaceutical that was previously excluded
    prescription drugs to the extent they do not require                     under this provision may be reinstated at any time.
    Physician supervision and are typically considered self-             General Limitations
    administered drugs, non-prescription drugs, and
                                                                         No payment will be made for expenses incurred for you or any
    investigational and experimental drugs, except as provided
                                                                         one of your Dependents:
    in this plan.
                                                                            to the extent that you or any one of your Dependents is in
   routine foot care, including the paring and removing of
                                                                             any way paid or entitled to payment for those expenses by
    corns and calluses and toenail maintenance. However, foot
                                                                             or through a public program, other than Medicaid.
    care services for diabetes, peripheral neuropathies and
    peripheral vascular disease are covered.                                to the extent that payment is unlawful where the person
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
    weight loss programs and smoking cessation programs. This               for charges which would not have been made if the person
    does not apply to in-person and telephonic behavioral                    had no insurance.
    tobacco cessation counseling.                                           to the extent that they are more than Maximum
   for a diagnosis other than pervasive developmental disorder              Reimbursable Charges.
    or autism, the following exclusions apply - genetic                     to the extent of the exclusions imposed by any certification
    screening or pre-implantations genetic screening. General                requirement shown in this plan.
    population-based genetic screening is a testing method
                                                                            expenses for supplies, care, treatment, or surgery that are
    performed in the absence of any symptoms or any
                                                                             not Medically Necessary.
    significant, proven risk factors for genetically linked
    inheritable disease.                                                    charges made by any covered provider who is a member of
                                                                             your family or your Dependent's family.
   dental implants for any condition unless services are an
    integral part of reconstructive surgery for Cleft Palate.               expenses incurred outside the United States other than
                                                                             expenses for Medically Necessary urgent or emergent care
   fees associated with the collection or donation of blood or
                                                                             while temporarily traveling abroad.
    blood products, except for autologous donation in
    anticipation of scheduled services where in the utilization
    review Physician’s opinion the likelihood of excess blood            HC-EXC414                                                         01-20
    loss is such that transfusion is an expected adjunct to                                                                                  V2
    surgery.
   blood administration for the purpose of general
    improvement in physical condition.                                   Coordination of Benefits
   cost of biologicals that are immunizations or medications            This section applies if you or any one of your Dependents is
    for the purpose of travel, or to protect against occupational        covered under more than one Plan and determines how
    hazards and risks.                                                   benefits payable from all such Plans will be coordinated. You
   cosmetics, dietary supplements and health and beauty aids.           should file all claims with each Plan.
   enteral feedings, supplies and specialty formulated medical          Definitions
    foods that are prescribed and non-prescribed, except for             For the purposes of this section, the following terms have the
    infant formula needed for the treatment of inborn errors of          meanings set forth below:
    metabolism.
                                                                         Plan
   for services related to an Injury or Sickness paid under
    workers’ compensation, occupational disease or similar               Any of the following that provides benefits or services for
    laws.                                                                medical care or treatment:
   massage therapy.                                                        Group insurance and/or group-type coverage, whether
                                                                             insured or self-insured which neither can be purchased by
   certain Medical Pharmaceuticals that are a Therapeutic                   the general public, nor is individually underwritten,
    Equivalent or Therapeutic Alternative to another covered                 including closed panel coverage.


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   Coverage under Medicare and other governmental benefits                 one Plan that provides services and supplies on the basis of
    as permitted by law, excepting Medicaid and Medicare                    negotiated fees, the Primary Plan's fee arrangement shall be
    supplement policies.                                                    the Allowable Expense.
   Medical benefits coverage of group, group-type, and                    If your benefits are reduced under the Primary Plan (through
    individual automobile contracts.                                        the imposition of a higher copayment amount, higher
Each Plan or part of a Plan which has the right to coordinate               coinsurance percentage, a deductible and/or a penalty)
benefits will be considered a separate Plan.                                because you did not comply with Plan provisions or because
                                                                            you did not use a preferred provider, the amount of the
Closed Panel Plan                                                           reduction is not an Allowable Expense. Such Plan
A Plan that provides medical or dental benefits primarily in                provisions include second surgical opinions and
the form of services through a panel of employed or                         precertification of admissions or services.
contracted providers, and that limits or excludes benefits              Claim Determination Period
provided by providers outside of the panel, except in the case
of emergency or if referred by a provider within the panel.             A calendar year, but does not include any part of a year during
                                                                        which you are not covered under this policy or any date before
Primary Plan                                                            this section or any similar provision takes effect.
The Plan that determines and provides or pays benefits                  Reasonable Cash Value
without taking into consideration the existence of any other
Plan.                                                                   An amount which a duly licensed provider of health care
                                                                        services usually charges patients and which is within the range
Secondary Plan                                                          of fees usually charged for the same service by other health
A Plan that determines, and may reduce its benefits after               care providers located within the immediate geographic area
taking into consideration, the benefits provided or paid by the         where the health care service is rendered under similar or
Primary Plan. A Secondary Plan may also recover from the                comparable circumstances.
Primary Plan the Reasonable Cash Value of any services it               Order of Benefit Determination Rules
provided to you.
                                                                        A Plan that does not have a coordination of benefits rule
Allowable Expense                                                       consistent with this section shall always be the Primary Plan.
The amount of charges considered for payment under the Plan             If the Plan does have a coordination of benefits rule consistent
for a Covered Service prior to any reductions due to                    with this section, the first of the following rules that applies to
coinsurance, copayment or deductible amounts. If Cigna                  the situation is the one to use:
contracts with an entity to arrange for the provision of                   The Plan that covers you as an enrollee or an Employee
Covered Services through that entity’s contracted network of                shall be the Primary Plan and the Plan that covers you as a
health care providers, the amount that Cigna has agreed to pay              Dependent shall be the Secondary Plan;
that entity is the allowable amount used to determine your
coinsurance or deductible payments. If the Plan provides                   If you are a Dependent child whose parents are not divorced
benefits in the form of services, the Reasonable Cash Value of              or legally separated, the Primary Plan shall be the Plan
each service is the Allowable Expense and is a paid benefit.                which covers the parent whose birthday falls first in the
                                                                            calendar year as an enrollee or Employee;
Examples of expenses or services that are not Allowable
Expenses include, but are not limited to the following:                    If you are the Dependent of divorced or separated parents,
                                                                            benefits for the Dependent shall be determined in the
   An expense or service or a portion of an expense or service             following order:
    that is not covered by any of the Plans is not an Allowable
    Expense.                                                                 first, if a court decree states that one parent is responsible
                                                                              for the child's healthcare expenses or health coverage and
   If you are confined to a private Hospital room and no Plan                the Plan for that parent has actual knowledge of the terms
    provides coverage for more than a semiprivate room, the                   of the order, but only from the time of actual knowledge;
    difference in cost between a private and semiprivate room is
    not an Allowable Expense.                                                then, the Plan of the parent with custody of the child;

   If you are covered by two or more Plans that provide                     then, the Plan of the spouse of the parent with custody of
    services or supplies on the basis of reasonable and                       the child;
    customary fees, any amount in excess of the highest                      then, the Plan of the parent not having custody of the
    reasonable and customary fee is not an Allowable Expense.                 child; and
   If you are covered by one Plan that provides services or                 finally, the Plan of the spouse of the parent not having
    supplies on the basis of reasonable and customary fees and                custody of the child.


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   The Plan that covers you as an active Employee (or as that            Allowable Expenses. At the end of the Claim Determination
    Employee's Dependent) shall be the Primary Plan and the               Period, your benefit reserve will return to zero and a new
    Plan that covers you as laid-off or retired Employee (or as           benefit reserve will be calculated for each new Claim
    that Employee's Dependent) shall be the Secondary Plan. If            Determination Period.
    the other Plan does not have a similar provision and, as a            Recovery of Excess Benefits
    result, the Plans cannot agree on the order of benefit
    determination, this paragraph shall not apply.                        If Cigna pays charges for benefits that should have been paid
                                                                          by the Primary Plan, or if Cigna pays charges in excess of
   The Plan that covers you under a right of continuation                those for which we are obligated to provide under the policy,
    which is provided by federal or state law shall be the                Cigna will have the right to recover the actual payment made
    Secondary Plan and the Plan that covers you as an active              or the Reasonable Cash Value of any services.
    Employee or retiree (or as that Employee's Dependent) shall
    be the Primary Plan. If the other Plan does not have a                Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on         person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not          services were provided or such payments made by any
    apply.                                                                insurance company, healthcare plan or other organization. If
                                                                          we request, you must execute and deliver to us such
   If one of the Plans that covers you is issued out of the state        instruments and documents as we determine are necessary to
    whose laws govern this policy, and determines the order of            secure the right of recovery.
    benefits based upon the gender of a parent, and as a result,
    the Plans do not agree on the order of benefit determination,         Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of           Cigna, without consent or notice to you, may obtain
    benefits.                                                             information from and release information to any other Plan
If none of the above rules determines the order of benefits, the          with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall             pursuant to this section. You must provide us with any
be primary.                                                               information we request in order to coordinate your benefits
                                                                          pursuant to this section. This request may occur in connection
When coordinating benefits with Medicare, this Plan will be               with a submitted claim; if so, you will be advised that the
the Secondary Plan and determine benefits after Medicare,                 "other coverage" information, (including an Explanation of
where permitted by the Social Security Act of 1965, as                    Benefits paid under the Primary Plan) is required before the
amended. However, when more than one Plan is secondary to                 claim will be processed for payment. If no response is
Medicare, the benefit determination rules identified above,               received within 90 days of the request, the claim will be
will be used to determine how benefits will be coordinated.               denied. If the requested information is subsequently received,
Effect on the Benefits of This Plan                                       the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce                  Coordination of Benefits with Medicare
benefits so that the total benefits paid by all Plans during a            If you, your spouse, or your Dependent is covered under this
Claim Determination Period are not more than 100% of the                  Plan and qualify for Medicare, federal law determines which
total of all Allowable Expenses.                                          plan is the primary payer and which is the secondary payer.
The difference between the amount that this Plan would have               The primary payer always determines covered benefits first,
paid if this Plan had been the Primary Plan, and the benefit              without considering what any other coverage will pay. The
payments that this Plan had actually paid as the Secondary                secondary payer determines its coverage only after the
Plan, will be recorded as a benefit reserve for you. Cigna will           Primary Plan has completed its determination.
use this benefit reserve to pay any Allowable Expense not                 When Medicare is the Primary Payer
otherwise paid during the Claim Determination Period.
                                                                          Medicare will be the primary payer and this Plan will be the
As each claim is submitted, Cigna will determine the                      secondary payer, even if you don’t elect to enroll in Medicare
following:                                                                or you receive services from a provider who does not accept
   Cigna's obligation to provide services and supplies under             Medicare payments, in the following situations:
    this policy;                                                             COBRA or State Continuation: You, your spouse, or your
   whether a benefit reserve has been recorded for you; and                  covered Dependent qualify for Medicare for any reason and
   whether there are any unpaid Allowable Expenses during                    are covered under this Plan due to COBRA or state
    the Claims Determination Period.                                          continuation of coverage.
If there is a benefit reserve, Cigna will use the benefit reserve            Retirement or Termination of Employment: You, your
recorded for you to pay up to 100% of the total of all                        spouse, or your covered Dependent qualify for Medicare for


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    any reason and are covered under this Plan due to your                Failure to Enroll in Medicare
    retirement or termination of employment.                              If you, your spouse, or your Dependent do not enroll in
   Disability: You, your spouse, or your covered Dependent               Medicare Parts A and/or B during the person’s initial
    qualify for Medicare due to a disability, you are an active           Medicare enrollment period, or the person opts out of
    Employee, and your Employer has fewer than 100                        coverage, the person may be subject to Medicare late
    employees.                                                            enrollment penalties, which can cause a delay in coverage and
   Age: You, your spouse, or your covered Dependent qualify              result in higher Medicare premiums when the person does
    for Medicare due to age, you are an active Employee, and              enroll. It can also result in a reduction in coverage under
    your Employer has fewer than 20 employees.                            Medicare Parts A and B. If you are planning to retire or
                                                                          terminate employment and you will be eligible for COBRA,
   End Stage Renal Disease (ESRD): You, your spouse, or                  state Continuation, or retiree coverage under this Plan, you
    your covered Dependent qualify for Medicare due to End                should enroll in Medicare before you terminate employment to
    Stage Renal Disease (ESRD) and you are an active or                   avoid penalties and to receive the maximum coverage under
    retired Employee. This Plan will be the primary payer for             Medicare. Please consult Medicare or the Social Security
    the first 30 months. Beginning with the 31 st month,                  Administration for more information.
    Medicare will be the primary payer.
                                                                          Assistance with Medicare Questions
When This Plan is the Primary Payer
                                                                          For more information on Medicare’s rules and regulations,
This Plan will be the primary payer and Medicare will be the              contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
secondary payer in the following situations:                              4227) or at www.medicare.gov. You may also contact the
   Disability: You, your spouse, or your covered Dependent               Social Security Administration toll-free at 1-800-772-1213, at
    qualify for Medicare due to a disability, you are an active           www.ssa.gov, or call your local Social Security
    Employee, and your Employer has 100 or more employees.                Administration office.
   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and              HC-COB224                                                       01-19
    your Employer has 20 or more employees.
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
    Stage Renal Disease (ESRD) and you are an active or                   Expenses For Which A Third Party May
    retired Employee. This Plan is the primary payer for the first        Be Responsible
    30 months. Beginning with the 31st month, Medicare will be
                                                                          This plan does not cover:
    the primary payer.
                                                                             Expenses incurred by you or your Dependent; (hereinafter
Domestic Partners                                                             individually and collectively referred to as a "Participant,")
Under federal law, when Medicare coverage is due to age,                      for which another party may be responsible as a result of
Medicare is always the primary payer and this Plan is the                     having caused or contributed to an Injury or Sickness.
secondary payer for a person covered under this Plan as a
                                                                             Expenses incurred by a Participant to the extent any
Domestic Partner. However, when Medicare coverage is due
                                                                              payment is received for them either directly or indirectly
to disability, the Disability payer explanations above will
                                                                              from a third party tortfeasor or as a result of a settlement,
apply.
                                                                              judgment or arbitration award in connection with any
IMPORTANT: If you, your spouse, or your Dependent do                          automobile medical, automobile no-fault, uninsured or
not elect to enroll in Medicare Parts A and/or B when first                   underinsured motorist, homeowners, workers'
eligible, or you receive services from a provider who does                    compensation, government insurance (other than Medicaid),
not accept Medicare payments, this Plan will calculate                        or similar type of insurance or coverage.
payment based on what should have been paid by
                                                                          Subrogation/Right of Reimbursement
Medicare as the primary payer if the person had been
enrolled or had received services from a provider who                     If a Participant incurs a Covered Expense for which, in the
accepts Medicare payments. A person is considered                         opinion of the plan or its claim administrator, another party
eligible for Medicare on the earliest date any coverage                   may be responsible or for which the Participant may receive
under Medicare could become effective.                                    payment as described above:
                                                                             Subrogation: The plan shall, to the extent permitted by law,
                                                                              be subrogated to all rights, claims or interests that a
                                                                              Participant may have against such party and shall


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    automatically have a lien upon the proceeds of any recovery               recovery without the prior express written consent of the
    by a Participant from such party to the extent of any benefits            plan. This right shall not be defeated by any so-called “Fund
    paid under the plan. A Participant or his/her representative              Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    shall execute such documents as may be required to secure                 Doctrine”.
    the plan’s subrogation rights.                                           The plan shall recover the full amount of benefits provided
   Right of Reimbursement: The plan is also granted a right of               hereunder without regard to any claim of fault on the part of
    reimbursement from the proceeds of any recovery whether                   any Participant, whether under comparative negligence or
    by settlement, judgment, or otherwise. This right of                      otherwise.
    reimbursement is cumulative with and not exclusive of the                In the event that a Participant shall fail or refuse to honor its
    subrogation right granted in paragraph 1, but only to the                 obligations hereunder, then the plan shall be entitled to
    extent of the benefits provided by the plan.                              recover any costs incurred in enforcing the terms hereof
Lien of the Plan                                                              including, but not limited to, attorney’s fees, litigation, court
By accepting benefits under this plan, a Participant:                         costs, and other expenses. The plan shall also be entitled to
                                                                              offset the reimbursement obligation against any entitlement
   grants a lien and assigns to the plan an amount equal to the              to future medical benefits hereunder until the Participant has
    benefits paid under the plan against any recovery made by                 fully complied with his reimbursement obligations
    or on behalf of the Participant which is binding on any                   hereunder, regardless of how those future medical benefits
    attorney or other party who represents the Participant                    are incurred.
    whether or not an agent of the Participant or of any
    insurance company or other financially responsible party                 Any reference to state law in any other provision of this
    against whom a Participant may have a claim provided said                 plan shall not be applicable to this provision, if the plan is
    attorney, insurance carrier or other party has been notified              governed by ERISA. By acceptance of benefits under the
    by the plan or its agents;                                                plan, the Participant agrees that a breach hereof would cause
                                                                              irreparable and substantial harm and that no adequate
   agrees that this lien shall constitute a charge against the               remedy at law would exist. Further, the Plan shall be
    proceeds of any recovery and the plan shall be entitled to                entitled to invoke such equitable remedies as may be
    assert a security interest thereon;                                       necessary to enforce the terms of the plan, including, but not
   agrees to hold the proceeds of any recovery in trust for the              limited to, specific performance, restitution, the imposition
    benefit of the plan to the extent of any payment made by the              of an equitable lien and/or constructive trust, as well as
    plan.                                                                     injunctive relief.
Additional Terms
 No adult Participant hereunder may assign any rights that it            HC-SUB1                                                            V1
  may have to recover medical expenses from any third party
  or other person or entity to any minor Dependent of said
  adult Participant without the prior express written consent
  of the plan. The plan’s right to recover shall apply to                 Payment of Benefits
  decedents’, minors’, and incompetent or disabled persons’               Assignment and Payment of Benefits
  settlements or recoveries.                                              You may not assign to any party, including, but not limited to,
   No Participant shall make any settlement, which specifically          a provider of healthcare services/items, your right to benefits
    reduces or excludes, or attempts to reduce or exclude, the            under this plan, nor may you assign any administrative,
    benefits provided by the plan.                                        statutory, or legal rights or causes of action you may have
   The plan’s right of recovery shall be a prior lien against any        under ERISA, including, but not limited to, any right to make
    proceeds recovered by the Participant. This right of                  a claim for plan benefits, to request plan or other documents,
    recovery shall not be defeated nor reduced by the                     to file appeals of denied claims or grievances, or to file
    application of any so-called “Made-Whole Doctrine”,                   lawsuits under ERISA. Any attempt to assign such rights shall
    “Rimes Doctrine”, or any other such doctrine purporting to            be void and unenforceable under all circumstances.
    defeat the plan’s recovery rights by allocating the proceeds          You may, however, authorize Cigna to pay any healthcare
    exclusively to non-medical expense damages.                           benefits under this policy to a Participating or non-
   No Participant hereunder shall incur any expenses on behalf           Participating Provider. When you authorize the payment of
    of the plan in pursuit of the plan’s rights hereunder,                your healthcare benefits to a Participating or non-Participating
    specifically; no court costs, attorneys' fees or other                Provider, you authorize the payment of the entire amount of
    representatives' fees may be deducted from the plan’s                 the benefits due on that claim. If a provider is overpaid



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because of accepting duplicate payments from you and Cigna,                  the date the policy is canceled.
it is the provider’s responsibility to reimburse the                         the last day of the calendar month in which your Active
overpayment to you. Cigna may pay all healthcare benefits for                 Service ends except as described below.
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this               Any continuation of insurance must be based on a plan which
discrete authorization or permission to pay any healthcare                precludes individual selection.
benefits to a Participating or non-Participating Provider as the          Temporary Layoff or Leave of Absence
authority to assign any other rights under this policy to any             If your Active Service ends due to temporary layoff or leave
party, including, but not limited to, a provider of healthcare            of absence, your insurance will be continued until the date
services/items.                                                           your Employer stops paying premium for you or otherwise
Even if the payment of healthcare benefits to a non-                      cancels your insurance. However, your insurance will not be
Participating Provider has been authorized by you, Cigna may,             continued for more than 60 days past the date your Active
at its option, make payment of benefits to you. When benefits             Service ends.
are paid to you, you or your Dependents are responsible for               Injury or Sickness
reimbursing the non-Participating Provider.
                                                                          If your Active Service ends due to an Injury or Sickness, your
Ambulance benefits will be paid directly to the provider of the           insurance will be continued while you remain totally and
ambulance service.                                                        continuously disabled as a result of the Injury or Sickness.
If any person to whom benefits are payable is a minor or, in              However, your insurance will not continue past the date your
the opinion of Cigna is not able to give a valid receipt for any          Employer stops paying premium for you or otherwise cancels
payment due him, such payment will be made to his legal                   your insurance.
guardian. If no request for payment has been made by his legal
guardian, Cigna may, at its option, make payment to the                   Dependents
person or institution appearing to have assumed his custody
                                                                          Your insurance for all of your Dependents will cease on the
and support.
                                                                          earliest date below:
When one of our participants passes away, Cigna may receive
                                                                             the date your insurance ceases.
notice that an executor of the estate has been established. The
executor has the same rights as our insured and benefit                      the date you cease to be eligible for Dependent Insurance.
payments for unassigned claims should be made payable to the                 the last day for which you have made any required
executor.                                                                     contribution for the insurance.
Payment as described above will release Cigna from all                       the date Dependent Insurance is canceled.
liability to the extent of any payment made.
                                                                          The insurance for any one of your Dependents will cease on
Recovery of Overpayment                                                   the date that Dependent no longer qualifies as a Dependent.
When an overpayment has been made by Cigna, Cigna will
have the right at any time to: recover that overpayment from              HC-TRM159                                                     01-19
the person to whom or on whose behalf it was made; or offset
the amount of that overpayment from a future claim payment.

                                                                          Continuation of Coverage Under Cal-COBRA
HC-POB143                                                    01-19
                                                                          Please examine your options carefully before declining this
                                                                          coverage. You should be aware that companies selling
                                                                          individual health insurance typically require a review of
Termination Of Insurance                                                  your medical history that could result in a higher premium
                                                                          or you could be denied coverage entirely.
Employees                                                                 Employer groups with 20 or more Employees
Your insurance will cease on the earliest date below:                     You and your Dependents may elect to continue health
   the date you cease to be in a Class of Eligible Employees or          coverage after you have exhausted continuation coverage
    cease to qualify for the insurance.                                   under COBRA. Cal-COBRA is not applicable to Domestic
                                                                          Partners and their Dependents or to stepchildren. This
   the last day for which you have made any required                     continuation coverage (Cal-COBRA) will be provided for up
    contribution for the insurance.                                       to 36 months from the date your COBRA continuation



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coverage began, if you are entitled to less than 36 months of           date, when the Employer becomes subject to Section 4980B of
continuation coverage under COBRA.                                      the United States Internal Revenue Code or Chapter 18 of the
Employer groups with less than 20 Employees                             Employee Retirement Income Security Act, 29 U.S.C. Sec.
                                                                        1161 et seq., or when the Employer becomes subject to federal
This Continuation applies to you and your Dependents if your            COBRA requirements.
Employer is subject to Cal-COBRA law. Domestic Partners
and stepchildren will not be eligible for Cal-COBRA                     To be eligible for continuation coverage, for one of the
                                                                        Qualifying Event(s) you or your Dependent must notify Cigna
independent from the Employee. Cal-COBRA law applies to
                                                                        (or an administrator acting on Cigna's behalf) in writing of
any small Employer that employed 2 to 19 eligible Employees
                                                                        such Qualifying Event within 60 days after the event occurs.
on at least 50 percent of its working days during the preceding
calendar year, or, if the Employer was not in business during           If you or your Dependent do not notify Cigna (or an
any part of the preceding calendar year, employed 2 to 19               administrator acting on Cigna's behalf) in writing within 60
eligible Employees on at least 50 percent of its working days           days of the Qualifying Event(s), you will be disqualified from
during the preceding calendar quarter. This continuation                receiving Cal-COBRA continuation coverage.
coverage will be provided for up to 36 months from the date             Once notified of the Qualifying Event, Cigna (or an
of the Qualifying Event.                                                administrator acting on Cigna’s behalf) will send you or your
Notice Requirements                                                     Dependent the necessary benefit information, premium
                                                                        information, enrollment form and notice requirements within
Under the requirements of Cal-COBRA, an Employer must
                                                                        14 days after receiving notification of the Qualifying Event
give notice to its Employees and Dependents the right to
                                                                        from the Employer, you or your Dependent. The information
continue their group health care benefits. A person who would
                                                                        shall be sent to the qualified beneficiary’s last known address.
otherwise lose coverage as a result of a Qualifying Event is
                                                                        Notice of the right to continue coverage to your spouse will be
generally entitled to continue the same benefits that were in
                                                                        deemed notice to any Dependent child residing with your
effect the day before the date of the qualifying event.
                                                                        spouse.
Coverage may be continued under Cal-COBRA only if the
required premiums are paid when due and will be subject to              Formal Election
future plan changes.                                                    To continue group coverage under Cal-COBRA you must
Qualifying Events for Continuation of Cal-COBRA                         make a formal election by submitting a written request to
Coverage                                                                Cigna (or an administrator acting on Cigna’s behalf) at: Cigna,
                                                                        Attn: State Continuation Unit, P.O. Box 2010, Concord, NH
A Qualifying Event is any of the following:
                                                                        03302. For questions, call 1-800-315-6011.
   termination of the Employee’s employment (other than for
                                                                        The written request must be delivered by first-class mail,
    gross misconduct) or reduction of hours worked so as to
                                                                        certified mail or other reliable means of delivery within 60
    render the Employee ineligible for coverage;
                                                                        days of the later of the following dates:
   death of the Employee;
                                                                           the date of the Qualifying Event;
   divorce or legal separation of the Employee from his or her
                                                                           the date the qualified beneficiary receives notice of the
    spouse;
                                                                            ability to continue group coverage as provided above; or
   with respect to Dependents only, the loss of coverage due to
                                                                           the date coverage under the Employer's health plan
    the Employee becoming entitled to Medicare;
                                                                            terminates or will terminate by reason of the Qualifying
   a Dependent child ceasing to qualify as an eligible                     Event.
    Dependent under the plan.
                                                                        If a formal election is not received by Cigna (or an
Notification Requirements                                               administrator acting on Cigna's behalf) within this time period,
The Employer will notify Cigna (or an administrator acting on           you or your Dependent will not receive Cal-COBRA benefits.
Cigna's behalf) in writing, of termination or reduction of hours        Cal-COBRA Premium Payments
with respect to any Employee who is employed by the
                                                                        To complete the election process, you must make the first
Employer, within 30 days of the date of the qualifying event.
                                                                        required premium payment no more than 45 days after
You may be disqualified from receiving Cal-COBRA
                                                                        submitting your completed application to Cigna (or an
continuation coverage if your Employer does not provide the
                                                                        administrator acting on Cigna's behalf). All subsequent
required written notification to Cigna (or an administrator
                                                                        premiums will be due on a monthly basis. Your first premium
acting on Cigna's behalf).
                                                                        payment should be delivered to Cigna (or an administrator
The Employer shall also notify Cigna (or an administrator               acting on Cigna's behalf) at Cigna, Attn: State Continuation
acting on Cigna's behalf) in writing, within 30 days of the             Unit, P.O. Box 2010, Concord, NH 03302 by first-class mail,


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certified mail, or other reliable means of delivery. The first             of the original 36 month continuation coverage period in order
premium payment must satisfy any required premiums and all                 to be eligible for coverage pursuant to this paragraph. If the
premiums due. Failure to submit the correct premium amount                 qualified beneficiary is no longer disabled under the Social
within the 45 day period will disqualify the qualified                     Security Act, the benefits provided in this paragraph shall
beneficiary from receiving Cal-COBRA coverage. There is a                  terminate on the later of 36 months after the date the qualified
30 day grace period to pay subsequent premiums. If the                     beneficiary’s benefits under the policy would otherwise have
premium is not paid before the expiration of the grace period,             terminated because of a Qualifying Event, or the month that
Cal-COBRA continuation benefits will terminate at midnight                 begins more than 31 days after the date of the final
at the end of the period for which premium payments were                   determination under Social Security Act that the qualified
made.                                                                      beneficiary is no longer disabled. The qualified beneficiary
If elected, the maximum period of continuation coverage for a              eligible for 36 months of continuation coverage as a result of a
Qualifying Event is 36 months from the date the qualified                  disability shall notify Cigna (or an administrator acting on
beneficiary’s benefits under the policy would have otherwise               Cigna’s behalf) within 30 days of a determination that the
terminated because of the Qualifying Event.                                qualified beneficiary is no longer disabled.
Other events will cause Cal-COBRA benefits to end sooner                   Continuation of Coverage Upon Termination of Prior
and this will occur on the earliest of any of the following:               Group Health Plan
   the date the Employer ceases to provide any group health               The Employer shall notify qualified beneficiaries currently
    plan to any Employee;                                                  receiving continuation coverage, whose continuation coverage
                                                                           will terminate under one group benefit plan prior to the end of
   the end of the period for which premium payments were                  the period the qualified beneficiary would have remained
    made, if the qualified beneficiary ceases to make payments             covered as specified above, of the qualified beneficiary’s
    or fails to make timely payments of a required premium, in             ability to continue coverage under a new group benefit plan
    accordance with the terms and conditions of the policy;                for the balance of the period the qualified beneficiary would
   the first day after the date of election on which the qualified        have remained covered under the prior group benefit plan.
    beneficiary first becomes covered under any other group                This notice shall be provided either 30 days prior to the
    health plan which does not contain any exclusions or                   termination or when all enrolled Employees are notified,
    limitations with respect to any pre-existing condition for             whichever is later.
    such person; or the date such exclusion or limitation no               Cigna (or an administrator acting on Cigna's behalf) shall
    longer applies to the Employee or Dependent;                           provide to the Employer replacing a health plan contract
   the first day after the date of election on which the qualified        issued by Cigna, or to the Employer’s agent or broker
    beneficiary first becomes entitled to Medicare;                        representative, within 15 days of any written request,
   the coverage for a qualified beneficiary that is determined to         information in possession of Cigna reasonably required to
    be disabled under the Social Security Act will terminate as            administer the notification requirements of this Notification
    described below;                                                       section.
   the qualified beneficiary moves out of the service area or             The Employer shall notify the successor plan in writing of the
    the qualified beneficiary commits fraud or deception in the            qualified beneficiaries currently receiving continuation
    use of services.                                                       coverage so that the successor plan, or contracting Employer
                                                                           or administrator, may provide those qualified beneficiaries
Continuation of Coverage for Totally Disabled Individuals                  with the necessary premium information, enrollment forms,
A qualified beneficiary who is eligible for continuation                   and instructions consistent with the disclosure required by this
coverage due to termination of the Employee's employment                   Notification section to allow the qualified beneficiary to
(other than for gross misconduct) or reduction of hours                    continue coverage. This information shall be sent to all
worked so as to render the Employee ineligible for coverage                qualified beneficiaries who are enrolled in the plan and those
and who is totally disabled under the Social Security Act                  qualified beneficiaries who have been notified as specified in
during the first 60 days of continuation coverage is entitled to           this Cal-COBRA section of their ability to continue their
a maximum period of 36 months after the date the qualified                 coverage and may still elect coverage within the specified 60
beneficiary’s benefits under the contract would otherwise have             day period. This information shall be sent to the qualified
terminated because of a Qualifying Event. The Employee or                  beneficiary’s last known address, as provided to the Employer
Dependent must provide Cigna (or an administrator acting on                by Cigna (or an administrator acting on Cigna's behalf),
Cigna’s behalf) with a copy of the Social Security                         currently providing continuation coverage to the qualified
Administration’s determination of total disability within 60               beneficiary. The successor plan shall not be obligated to
days of the date of the determination letter and prior to the end



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provide this information to qualified beneficiaries if the                Totally Disabled
Employer or prior plan fails to comply with this section.                 You will be considered Totally Disabled if, because of an
If the plan provides for a conversion privilege, the plan must            Injury or a Sickness:
offer this option within the 180 days of the end of the                      you are unable to perform the basic duties of your
maximum period. However, no conversion will be provided if                    occupation; and
the qualified beneficiary does not actually maintain Cal-
COBRA coverage to the expiration date.                                       you are not performing any other work or engaging in any
                                                                              other occupation for wage or profit.
IMPORTANT NOTICE – CAL-COBRA BENEFITS WILL
ONLY BE ADMINISTERED ACCORDING TO THE                                     Your Dependent will be considered Totally Disabled if,
TERMS OF THE CONTRACT. CIGNA WILL NOT BE                                  because of an Injury or a Sickness:
OBLIGATED TO ADMINISTER, OR FURNISH, ANY                                     he is unable to engage in the normal activities of a person of
CAL-COBRA BENEFITS AFTER THE CONTRACT HAS                                     the same age, sex and ability; or
TERMINATED.                                                                  in the case of a Dependent who normally works for wage or
                                                                              profit, he is not performing such work.
HC-TRM118                                                    10-16        The terms of this Medical Benefits Extension will not apply to
                                                                          a child born as a result of a pregnancy which exists when your
                                                                          or your Dependent's Medical Benefits cease.
Rescissions
Your coverage may not be rescinded (retroactively terminated)             HC-BEX7                                                       04-10

by Cigna or the plan sponsor unless the plan sponsor or an                                                                                V1

individual (or a person seeking coverage on behalf of the
individual) performs an act, practice or omission that
constitutes fraud; or the plan sponsor or individual (or a                Federal Requirements
person seeking coverage on behalf of the individual) makes an
intentional misrepresentation of material fact.                           The following pages explain your rights and responsibilities
                                                                          under federal laws and regulations. Some states may have
                                                                          similar requirements. If a similar provision appears elsewhere
HC-TRM80                                                     01-11        in this booklet, the provision which provides the better benefit
                                                                          will apply.

Medical Benefits Extension                                                HC-FED1                                                       10-10

Upon Policy Cancellation
If the Medical Benefits under this plan cease for you or your
Dependent due to cancellation of the policy, and you or your
Dependent is Totally Disabled on that date due to an Injury or
Sickness, Medical Benefits will be paid without requirement
of premium for Covered Expenses incurred in connection with
that Injury or Sickness. However, no benefits will be paid after
the earliest of:
   the date you exceed the Maximum Benefit, if any, shown in
    the Schedule;
   the date you are covered for medical benefits under another
    group policy;
   the date you are no longer Totally Disabled;
   12 months from the date your Medical Benefits cease;
   12 months from the date the policy is canceled.




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Notice of Provider Directory/Networks                                         the order provides a description of the coverage to be
                                                                               provided, or the manner in which the type of coverage is to
Notice Regarding Provider Directories and Provider
                                                                               be determined;
Networks
                                                                              the order states the period to which it applies; and
A list of network providers is available to you without charge
by visiting the website or by calling the phone number on your                if the order is a National Medical Support Notice completed
ID card. The network consists of providers, including                          in accordance with the Child Support Performance and
hospitals, of varied specialties as well as general practice,                  Incentive Act of 1998, such Notice meets the requirements
affiliated or contracted with Cigna or an organization                         above.
contracting on its behalf.                                                 The QMCSO may not require the health insurance policy to
Notice Regarding Pharmacy Directories and Pharmacy                         provide coverage for any type or form of benefit or option not
Networks                                                                   otherwise provided under the policy, except that an order may
                                                                           require a plan to comply with State laws regarding health care
A list of network pharmacies is available to you without
                                                                           coverage.
charge by visiting the website or by calling the phone number
on your ID card. The network consists of pharmacies affiliated             Payment of Benefits
or contracted with Cigna or an organization contracting on its             Any payment of benefits in reimbursement for Covered
behalf.                                                                    Expenses paid by the child, or the child’s custodial parent or
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
HC-FED78                                                      10-10
                                                                           address have been substituted for the name and address of the
                                                                           child.

Qualified Medical Child Support Order
                                                                           HC-FED4                                                      10-10
(QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is                      Special Enrollment Rights Under the Health
issued for your child, that child will be eligible for coverage as
                                                                           Insurance Portability & Accountability Act
required by the order and you will not be considered a Late
Entrant for Dependent Insurance.                                           (HIPAA)
You must notify your Employer and elect coverage for that                  If you or your eligible Dependent(s) experience a special
child, and yourself if you are not already enrolled, within 31             enrollment event as described below, you or your eligible
days of the QMCSO being issued.                                            Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
Qualified Medical Child Support Order Defined                              the special enrollment events listed below. If you are already
A Qualified Medical Child Support Order is a judgment,                     enrolled in the Plan, you may request enrollment for you and
decree or order (including approval of a settlement agreement)             your eligible Dependent(s) under a different option offered by
or administrative notice, which is issued pursuant to a state              the Employer for which you are currently eligible. If you are
domestic relations law (including a community property law),               not already enrolled in the Plan, you must request special
or to an administrative process, which provides for child                  enrollment for yourself in addition to your eligible
support or provides for health benefit coverage to such child              Dependent(s). You and all of your eligible Dependent(s) must
and relates to benefits under the group health plan, and                   be covered under the same option. The special enrollment
satisfies all of the following:                                            events include:
   the order recognizes or creates a child’s right to receive                Acquiring a new Dependent. If you acquire a new
    group health benefits for which a participant or beneficiary               Dependent(s) through marriage, birth, adoption or
    is eligible;                                                               placement for adoption, you may request special enrollment
   the order specifies your name and last known address, and                  for any of the following combinations of individuals if not
    the child’s name and last known address, except that the                   already enrolled in the Plan: Employee only; spouse only;
    name and address of an official of a state or political                    Employee and spouse; Dependent child(ren) only;
    subdivision may be substituted for the child’s mailing                     Employee and Dependent child(ren); Employee, spouse and
    address;                                                                   Dependent child(ren). Enrollment of Dependent children is
                                                                               limited to the newborn or adopted children or children who



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    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
                                                                             contributions toward COBRA or other continuation
   Loss of eligibility for other coverage (excluding                        coverage as provided under any severance or other
    continuation coverage). If coverage was declined under                   agreement.
    this Plan due to coverage under another plan, and eligibility
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
                                                                             must request enrollment within 60 days after the date you
     divorce or legal separation;
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
                                                                         Except as stated above, special enrollment must be
      limiting age);                                                     requested within 30 days after the occurrence of the
     death of the Employee;                                             special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
                                                                         be effective immediately on the date of birth, adoption or
     reduction in work hours to below the minimum required
                                                                         placement for adoption. Coverage with regard to any other
      for eligibility;
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work            first day of the first calendar month following receipt of
      in the other plan’s network service area and no other              the request for special enrollment.
      coverage is available under the other plan;
                                                                         Domestic Partners and their children (if not legal children of
     you or your Dependent(s) incur a claim which meets or              the Employee) are not eligible for special enrollment.
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or
                                                                         HC-FED96                                                      04-17
     the other plan no longer offers any benefits to a class of
      similarly situated individuals.
   Termination of Employer contributions (excluding
    continuation coverage). If a current or former Employer              Effect of Section 125 Tax Regulations on This
    ceases all contributions toward the Employee’s or                    Plan
    Dependent’s other coverage, special enrollment may be                Your Employer has chosen to administer this Plan in
    requested in this Plan for you and all of your eligible              accordance with Section 125 regulations of the Internal
    Dependent(s).                                                        Revenue Code. Per this regulation, you may agree to a pretax
   Exhaustion of COBRA or other continuation coverage.                  salary reduction put toward the cost of your benefits.
    Special enrollment may be requested in this Plan for you             Otherwise, you will receive your taxable earnings as cash
    and all of your eligible Dependent(s) upon exhaustion of             (salary).
    COBRA or other continuation coverage. If you or your
    Dependent(s) elect COBRA or other continuation coverage
    following loss of coverage under another plan, the COBRA
    or other continuation coverage must be exhausted before
    any special enrollment rights exist under this Plan. An
    individual is considered to have exhausted COBRA or other


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A. Coverage elections                                                    F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                another employer’s plan
enroll for or change coverage only before each annual benefit            You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                 spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                      Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in          the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change          enrollment periods.
    coverage within the time period established by your
    Employer.                                                            G. Reduction in work hours
B. Change of status                                                      If an Employee’s work hours are reduced below 30
                                                                         hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                        eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a           (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                      Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,               be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                     following the month that includes the date the original
                                                                         coverage is revoked.
   change in employment status of Employee, spouse or
    Dependent due to termination or start of employment,                 H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,        The Employee must be eligible for a Special Enrollment
    including under the Family and Medical Leave Act                     Period to enroll in a QHP through a Marketplace or the
    (FMLA), or change in worksite;                                       Employee wants to enroll in a QHP through a Marketplace
   changes in employment status of Employee, spouse or                  during the Marketplace’s annual open enrollment period; and
    Dependent resulting in eligibility or ineligibility for              the disenrollment from the group plan corresponds to the
    coverage;                                                            intended enrollment of the Employee (and family) in a QHP
                                                                         through a Marketplace for new coverage effective beginning
   change in residence of Employee, spouse or Dependent to a
                                                                         no later than the day immediately following the last day of the
    location outside of the Employer’s network service area;
                                                                         original coverage.
    and
   changes which cause a Dependent to become eligible or
    ineligible for coverage.                                             HC-FED95                                                    04-17


C. Court order
A change in coverage due to and consistent with a court order
of the Employee or other person to cover a Dependent.                    Eligibility for Coverage for Adopted Children
D. Medicare or Medicaid eligibility/entitlement                          Any child who is adopted by you, including a child who is
                                                                         placed with you for adoption, will be eligible for Dependent
The Employee, spouse or Dependent cancels or reduces                     Insurance, if otherwise eligible as a Dependent, upon the date
coverage due to entitlement to Medicare or Medicaid, or                  of placement with you. A child will be considered placed for
enrolls or increases coverage due to loss of Medicare or                 adoption when you become legally obligated to support that
Medicaid eligibility.                                                    child, totally or partially, prior to that child’s adoption.
E. Change in cost of coverage                                            If a child placed for adoption is not adopted, all health
If the cost of benefits increases or decreases during a benefit          coverage ceases when the placement ends, and will not be
period, your Employer may, in accordance with plan terms,                continued.
automatically change your elective contribution.                         The provisions in the “Exception for Newborns” section of
When the change in cost is significant, you may either                   this document that describe requirements for enrollment and
increase your contribution or elect less-costly coverage. When           effective date of insurance will also apply to an adopted child
a significant overall reduction is made to the benefit option            or a child placed with you for adoption.
you have elected, you may elect another available benefit
option. When a new benefit option is added, you may change
                                                                         HC-FED67                                                    09-14
your election to the new benefit option.



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Coverage for Maternity Hospital Stay                                        insurance following a return to Active Service; are modified
                                                                            by the following provisions of the federal Family and Medical
Group health plans and health insurance issuers offering group
                                                                            Leave Act of 1993, as amended, where applicable:
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection                  Continuation of Health Insurance During Leave
Act”: restrict benefits for any Hospital length of stay in                  Your health insurance will be continued during a leave of
connection with childbirth for the mother or newborn child to               absence if:
less than 48 hours following a vaginal delivery, or less than 96               that leave qualifies as a leave of absence under the Family
hours following a cesarean section; or require that a provider                  and Medical Leave Act of 1993, as amended; and
obtain authorization from the plan or insurance issuer for
prescribing a length of stay not in excess of the above periods.               you are an eligible Employee under the terms of that Act.
The law generally does not prohibit an attending provider of                The cost of your health insurance during such leave must be
the mother or newborn, in consultation with the mother, from                paid, whether entirely by your Employer or in part by you and
discharging the mother or newborn earlier than 48 or 96 hours,              your Employer.
as applicable.                                                              Reinstatement of Canceled Insurance Following Leave
Please review this Plan for further details on the specific                 Upon your return to Active Service following a leave of
coverage available to you and your Dependents.                              absence that qualifies under the Family and Medical Leave
                                                                            Act of 1993, as amended, any canceled insurance (health, life
HC-FED11                                                       10-10        or disability) will be reinstated as of the date of your return.
                                                                            You will not be required to satisfy any eligibility or benefit
                                                                            waiting period to the extent that they had been satisfied prior
Women’s Health and Cancer Rights Act                                        to the start of such leave of absence.
(WHCRA)                                                                     Your Employer will give you detailed information about the
                                                                            Family and Medical Leave Act of 1993, as amended.
Do you know that your plan, as required by the Women’s
Health and Cancer Rights Act of 1998, provides benefits for
mastectomy-related services including all stages of                         HC-FED93                                                      10-17
reconstruction and surgery to achieve symmetry between the
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
                                                                            Uniformed Services Employment and Re-
the toll free number listed on your ID card for more
information.                                                                Employment Rights Act of 1994 (USERRA)
                                                                            The Uniformed Services Employment and Re-employment
                                                                            Rights Act of 1994 (USERRA) sets requirements for
HC-FED12                                                       10-10
                                                                            continuation of health coverage and re-employment in regard
                                                                            to an Employee’s military leave of absence. These
                                                                            requirements apply to medical and dental coverage for you
Group Plan Coverage Instead of Medicaid                                     and your Dependents. They do not apply to any Life, Short-
If your income and liquid resources do not exceed certain                   term or Long-term Disability or Accidental Death &
limits established by law, the state may decide to pay                      Dismemberment coverage you may have.
premiums for this coverage instead of for Medicaid, if it is                Continuation of Coverage
cost effective. This includes premiums for continuation                     For leaves of less than 31 days, coverage will continue as
coverage required by federal law.                                           described in the Termination section regarding Leave of
                                                                            Absence.
HC-FED13                                                       10-10        For leaves of 31 days or more, you may continue coverage for
                                                                            yourself and your Dependents as follows:
                                                                            You may continue benefits by paying the required premium to
Requirements of Family and Medical Leave Act                                your Employer, until the earliest of the following:
of 1993 (as amended) (FMLA)                                                    24 months from the last day of employment with the
                                                                                Employer;
Any provisions of the policy that provide for: continuation of
insurance during a leave of absence; and reinstatement of                      the day after you fail to return to work; and



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   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
Your Employer may charge you and your Dependents up to                    Cigna or its designee that indicates, for example, a particular
102% of the total premium.                                                service is a Covered Expense, is authorized for coverage by
                                                                          the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.
                                                                          When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
If your coverage under this plan terminates as a result of your           include the date a determination can be expected, which will
eligibility for military medical and dental coverage and your             be no more than 30 days after receipt of the request. If more
order to active duty is canceled before your active duty service          time is needed because necessary information is missing from
commences, these reinstatement rights will continue to apply.             the request, the notice will also specify what information is
                                                                          needed, and you or your representative must provide the
                                                                          specified information to Cigna within 45 days after receiving
HC-FED18                                                     10-10
                                                                          the notice. The determination period will be suspended on the
                                                                          date Cigna sends such a notice of missing information, and the
                                                                          determination period will resume on the date you or your
Claim Determination Procedures under ERISA                                representative responds to the notice.
The following complies with federal law. Provisions of                    If the determination periods above would seriously jeopardize
applicable laws of your state may supersede.                              your life or health, your ability to regain maximum function,
Procedures Regarding Medical Necessity Determinations                     or in the opinion of a health care professional with knowledge
                                                                          of your health condition, cause you severe pain which cannot
In general, health services and benefits must be Medically                be managed without the requested services, Cigna will make
Necessary to be covered under the plan. The procedures for                the preservice determination on an expedited basis. Cigna will
determining Medical Necessity vary, according to the type of              defer to the determination of the treating health care
service or benefit requested, and the type of health plan.                professional regarding whether an expedited determination is
Medical Necessity determinations are made on a preservice,                necessary. Cigna will notify you or your representative of an
concurrent, or postservice basis, as described below:                     expedited determination within 72 hours after receiving the
Certain services require prior authorization in order to be               request.
covered. The Certificate describes who is responsible for                 However, if necessary information is missing from the
obtaining this review. You or your authorized representative              request, Cigna will notify you or your representative within 24
(typically, your health care professional) must request prior             hours after receiving the request to specify what information is
authorization according to the procedures described below, in             needed. You or your representative must provide the specified
the Certificate, and in your provider’s network participation             information to Cigna within 48 hours after receiving the
documents as applicable.                                                  notice. Cigna will notify you or your representative of the
When services or benefits are determined to be not covered,               expedited benefit determination within 48 hours after you or
you or your representative will receive a written description of          your representative responds to the notice. Expedited
the adverse determination, and may appeal the determination.              determinations may be provided orally, followed within 3 days
Appeal procedures are described in the Certificate, in your               by written or electronic notification.
provider’s network participation documents as applicable, and             If you or your representative attempts to request a preservice
in the determination notices.                                             determination, but fails to follow Cigna’s procedures for
                                                                          requesting a required preservice determination, Cigna will


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notify you or your representative of the failure and describe           of charge, a copy of any internal rule, guideline, protocol or
the proper procedures for filing within 5 days (or 24 hours, if         other similar criterion that was relied upon in making the
an expedited determination is required, as described above)             adverse determination regarding your claim; and an
after receiving the request. This notice may be provided orally,        explanation of the scientific or clinical judgment for a
unless you or your representative requests written notification.        determination that is based on a Medical Necessity,
Concurrent Determinations                                               experimental treatment or other similar exclusion or limit; a
                                                                        description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination
within 24 hours after receiving the request.                            HC-FED104                                                        01-19

Postservice Determinations
When you or your representative requests a coverage
determination or a claim payment determination after services           COBRA Continuation Rights Under Federal
have been rendered, Cigna will notify you or your                       Law
representative of the determination within 30 days after                For You and Your Dependents
receiving the request. However, if more time is needed to
make a determination due to matters beyond Cigna’s control,             What is COBRA Continuation Coverage?
Cigna will notify you or your representative within 30 days             Under federal law, you and/or your Dependents must be given
after receiving the request. This notice will include the date a        the opportunity to continue health insurance when there is a
determination can be expected, which will be no more than 45            “qualifying event” that would result in loss of coverage under
days after receipt of the request.                                      the Plan. You and/or your Dependents will be permitted to
If more time is needed because necessary information is                 continue the same coverage under which you or your
missing from the request, the notice will also specify what             Dependents were covered on the day before the qualifying
information is needed, and you or your representative must              event occurred, unless you move out of that plan’s coverage
provide the specified information to Cigna within 45 days               area or the plan is no longer available. You and/or your
after receiving the notice. The determination period will be            Dependents cannot change coverage options until the next
suspended on the date Cigna sends such a notice of missing              open enrollment period.
information, and the determination period will resume on the            When is COBRA Continuation Available?
date you or your representative responds to the notice.                 For you and your Dependents, COBRA continuation is
Notice of Adverse Determination                                         available for up to 18 months from the date of the following
Every notice of an adverse benefit determination will be                qualifying events if the event would result in a loss of
provided in writing or electronically, and will include all of          coverage under the Plan:
the following that pertain to the determination: information               your termination of employment for any reason, other than
sufficient to identify the claim including, if applicable, the              gross misconduct; or
date of service, provider and claim amount; diagnosis and                  your reduction in work hours.
treatment codes, and their meanings; the specific reason or
reasons for the adverse determination including, if applicable,         For your Dependents, COBRA continuation coverage is
the denial code and its meaning and a description of any                available for up to 36 months from the date of the following
standard that was used in the denial; reference to the specific         qualifying events if the event would result in a loss of
plan provisions on which the determination is based; a                  coverage under the Plan:
description of any additional material or information necessary            your death;
to perfect the claim and an explanation of why such material               your divorce or legal separation; or
or information is necessary; a description of the plan’s review
                                                                           for a Dependent child, failure to continue to qualify as a
procedures and the time limits applicable, including a
                                                                            Dependent under the Plan.
statement of a claimant’s rights to bring a civil action under
section 502(a) of ERISA following an adverse benefit
determination on appeal, (if applicable); upon request and free



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Who is Entitled to COBRA Continuation?                                 To qualify for the disability extension, all of the following
Only a “qualified beneficiary” (as defined by federal law) may         requirements must be satisfied:
elect to continue health insurance coverage. A qualified                  SSA must determine that the disability occurred prior to or
beneficiary may include the following individuals who were                 within 60 days after the disabled individual elected COBRA
covered by the Plan on the day the qualifying event occurred:              continuation coverage; and
you, your spouse, and your Dependent children. Each                       A copy of the written SSA determination must be provided
qualified beneficiary has their own right to elect or decline              to the Plan Administrator within 60 calendar days after the
COBRA continuation coverage even if you decline or are not                 date the SSA determination is made AND before the end of
eligible for COBRA continuation.                                           the initial 18-month continuation period.
The following individuals are not qualified beneficiaries for          If the SSA later determines that the individual is no longer
purposes of COBRA continuation: domestic partners,                     disabled, you must notify the Plan Administrator within 30
grandchildren (unless adopted by you), stepchildren (unless            days after the date the final determination is made by SSA.
adopted by you). Although these individuals do not have an             The 11-month disability extension will terminate for all
independent right to elect COBRA continuation coverage, if             covered persons on the first day of the month that is more than
you elect COBRA continuation coverage for yourself, you                30 days after the date the SSA makes a final determination
may also cover your Dependents even if they are not                    that the disabled individual is no longer disabled.
considered qualified beneficiaries under COBRA. However,
such individuals’ coverage will terminate when your COBRA              All causes for “Termination of COBRA Continuation” listed
continuation coverage terminates. The sections titled                  below will also apply to the period of disability extension.
“Secondary Qualifying Events” and “Medicare Extension For              Medicare Extension for Your Dependents
Your Dependents” are not applicable to these individuals.              When the qualifying event is your termination of employment
Secondary Qualifying Events                                            or reduction in work hours and you became enrolled in
If, as a result of your termination of employment or reduction         Medicare (Part A, Part B or both) within the 18 months before
in work hours, your Dependent(s) have elected COBRA                    the qualifying event, COBRA continuation coverage for your
continuation coverage and one or more Dependents experience            Dependents will last for up to 36 months after the date you
another COBRA qualifying event, the affected Dependent(s)              became enrolled in Medicare. Your COBRA continuation
may elect to extend their COBRA continuation coverage for              coverage will last for up to 18 months from the date of your
an additional 18 months (7 months if the secondary event               termination of employment or reduction in work hours.
occurs within the disability extension period) for a maximum           Termination of COBRA Continuation
of 36 months from the initial qualifying event. The second             COBRA continuation coverage will be terminated upon the
qualifying event must occur before the end of the initial 18           occurrence of any of the following:
months of COBRA continuation coverage or within the
                                                                          the end of the COBRA continuation period of 18, 29 or 36
disability extension period discussed below. Under no
                                                                           months, as applicable;
circumstances will COBRA continuation coverage be
available for more than 36 months from the initial qualifying             failure to pay the required premium within 30 calendar days
event. Secondary qualifying events are: your death; your                   after the due date;
divorce or legal separation; or, for a Dependent child, failure           cancellation of the Employer’s policy with Cigna;
to continue to qualify as a Dependent under the Plan.
                                                                          after electing COBRA continuation coverage, a qualified
Disability Extension                                                       beneficiary enrolls in Medicare (Part A, Part B, or both);
If, after electing COBRA continuation coverage due to your                after electing COBRA continuation coverage, a qualified
termination of employment or reduction in work hours, you or               beneficiary becomes covered under another group health
one of your Dependents is determined by the Social Security                plan, unless the qualified beneficiary has a condition for
Administration (SSA) to be totally disabled under Title II or              which the new plan limits or excludes coverage under a pre-
XVI of the SSA, you and all of your Dependents who have                    existing condition provision. In such case coverage will
elected COBRA continuation coverage may extend such                        continue until the earliest of: the end of the applicable
continuation for an additional 11 months, for a maximum of                 maximum period; the date the pre-existing condition
29 months from the initial qualifying event.                               provision is no longer applicable; or the occurrence of an
                                                                           event described in one of the first three bullets above;
                                                                          any reason the Plan would terminate coverage of a
                                                                           participant or beneficiary who is not receiving continuation
                                                                           coverage (e.g., fraud).


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Moving Out of Employer’s Service Area or Elimination of                   Dependents will lose the right to elect COBRA continuation
a Service Area                                                            coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                  the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your            furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan                 Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network               COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service               be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through               qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your               on behalf of their Dependent children. You or your spouse
location, you may elect COBRA continuation coverage under                 may elect continuation coverage on behalf of all the qualified
that option.                                                              beneficiaries. You are not required to elect COBRA
Employer’s Notification Requirements                                      continuation coverage in order for your Dependents to elect
                                                                          COBRA continuation.
Your Employer is required to provide you and/or your
Dependents with the following notices:                                    How Much Does COBRA Continuation Coverage Cost?
   An initial notification of COBRA continuation rights must             Each qualified beneficiary may be required to pay the entire
    be provided within 90 days after your (or your spouse’s)              cost of continuation coverage. The amount may not exceed
    coverage under the Plan begins (or the Plan first becomes             102% of the cost to the group health plan (including both
    subject to COBRA continuation requirements, if later). If             Employer and Employee contributions) for coverage of a
    you and/or your Dependents experience a qualifying event              similarly situated active Employee or family member. The
    before the end of that 90-day period, the initial notice must         premium during the 11-month disability extension may not
    be provided within the time frame required for the COBRA              exceed 150% of the cost to the group health plan (including
    continuation coverage election notice as explained below.             both employer and employee contributions) for coverage of a
                                                                          similarly situated active Employee or family member.
   A COBRA continuation coverage election notice must be
    provided to you and/or your Dependents within the                     For example: If the Employee alone elects COBRA
    following timeframes:                                                 continuation coverage, the Employee will be charged 102%
                                                                          (or 150%) of the active Employee premium. If the spouse or
     if the Plan provides that COBRA continuation coverage
                                                                          one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the             coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the            Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the          elects COBRA continuation coverage, they will be charged
      Plan;                                                               102% (or 150%) of the applicable family premium.
     if the Plan provides that COBRA continuation coverage
                                                                          When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the
      Plan Administrator of a qualifying event starts upon the            First payment for COBRA continuation
      occurrence of a qualifying event, 44 days after the                 If you elect COBRA continuation coverage, you do not have
      qualifying event occurs; or                                         to send any payment with the election form. However, you
     in the case of a multi-employer plan, no later than 14 days         must make your first payment no later than 45 calendar days
      after the end of the period in which Employers must                 after the date of your election. (This is the date the Election
      provide notice of a qualifying event to the Plan                    Notice is postmarked, if mailed.) If you do not make your first
      Administrator.                                                      payment within that 45 days, you will lose all COBRA
                                                                          continuation rights under the Plan.
How to Elect COBRA Continuation Coverage
                                                                          Subsequent payments
The COBRA coverage election notice will list the individuals
who are eligible for COBRA continuation coverage and                      After you make your first payment for COBRA continuation
inform you of the applicable premium. The notice will also                coverage, you will be required to make subsequent payments
include instructions for electing COBRA continuation                      of the required premium for each additional month of
coverage. You must notify the Plan Administrator of your                  coverage. Payment is due on the first day of each month. If
election no later than the due date stated on the COBRA                   you make a payment on or before its due date, your coverage
election notice. If a written election notice is required, it must        under the Plan will continue for that coverage period without
be post-marked no later than the due date stated on the                   any break.
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your



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Grace periods for subsequent payments                                      COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the               Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the               stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                      COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                          secondary qualifying event.
provided for each coverage period as long as payment for that              COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for             Bankruptcy
that payment. However, if your payment is received after the               If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                    is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                    United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                     continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before                 coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated              within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that              covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                   beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                     entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                    Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage               be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                     months following your death. However, COBRA continuation
coverage under the Plan.                                                   coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                          listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following                Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator                  You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                    law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a              continuation benefits.
result of the qualifying event:
   Your divorce or legal separation; or
                                                                           HC-FED66                                                     07-14
   Your child ceases to qualify as a Dependent under the Plan.
   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice
                                                                           ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
    month COBRA period).                                                   The name of the Plan is:
(Also refer to the section titled “Disability Extension” for               Federal Defenders of San Diego, Inc. Health and Welfare Plan
additional notice requirements.)                                           The name, address, ZIP code and business telephone number
Notice must be made in writing and must include: the name of               of the sponsor of the Plan is:
the Plan, name and address of the Employee covered under the                 Federal Defenders of San Diego
Plan, name and address(es) of the qualified beneficiaries                    225 Broadway
affected by the qualifying event; the qualifying event; the date             Suite 900
the qualifying event occurred; and supporting documentation                  San Diego, CA 92101
(e.g., divorce decree, birth certificate, disability determination,          (619) 234-8467
etc.).                                                                     Employer Identification            Plan Number:
Newly Acquired Dependents                                                  Number (EIN):
If you acquire a new Dependent through marriage, birth,                    952678506                          501
adoption or placement for adoption while your coverage is                  The name, address, ZIP code and business telephone number
being continued, you may cover such Dependent under your                   of the Plan Administrator is:
COBRA continuation coverage. However, only your newborn
or adopted Dependent child is a qualified beneficiary and may                Employer named above
continue COBRA continuation coverage for the remainder of                  The name, address and ZIP code of the person designated as
the coverage period following your early termination of                    agent for service of legal process is:
COBRA coverage or due to a secondary qualifying event.                       Employer named above


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The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:                                                                    disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
                                                                       termination. Rights to purchase limited amounts of life and
The cost of the Plan is shared by Employee and Employer.               medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 01/31.                                  the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
                                                                       on the earliest of the following dates:
A list of any Trustees of the Plan, which includes name, title
and address, is available upon request to the Plan                        the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                                 the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                    if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                          the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.                                    Statement of Rights
Discretionary Authority                                                As a participant in the plan you are entitled to certain rights
The Plan Administrator delegates to Cigna the discretionary            and protections under the Employee Retirement Income
authority to interpret and apply plan terms and to make factual        Security Act of 1974 (ERISA). ERISA provides that all plan
determinations in connection with its review of claims under           participants shall be entitled to:
the plan. Such discretionary authority is intended to include,         Receive Information About Your Plan and Benefits
but not limited to, the determination of the eligibility of             examine, without charge, at the Plan Administrator’s office
persons desiring to enroll in or claim benefits under the plan,          and at other specified locations, such as worksites and union
the determination of whether a person is entitled to benefits            halls, all documents governing the plan, including insurance
under the plan, and the computation of any and all benefit               contracts and collective bargaining agreements and a copy
payments. The Plan Administrator also delegates to Cigna the             of the latest annual report (Form 5500 Series) filed by the
discretionary authority to perform a full and fair review, as            plan with the U.S. Department of Labor and available at the
required by ERISA, of each claim denial which has been                   Public Disclosure room of the Employee Benefits Security
appealed by the claimant or his duly authorized representative.          Administration.
Plan Modification, Amendment and Termination                              obtain, upon written request to the Plan Administrator,
The Employer as Plan Sponsor reserves the right to, at any                 copies of documents governing the Plan, including
time, change or terminate benefits under the Plan, to change or            insurance contracts and collective bargaining agreements,
terminate the eligibility of classes of employees to be covered            and a copy of the latest annual report (Form 5500 Series)
by the Plan, to amend or eliminate any other plan term or                  and updated summary plan description. The administrator
condition, and to terminate the whole plan or any part of it.              may make a reasonable charge for the copies.
Contact the Employer for the procedure by which benefits                  receive a summary of the Plan’s annual financial report. The
may be changed or terminated, by which the eligibility of                  Plan Administrator is required by law to furnish each person
classes of employees may be changed or terminated, or by                   under the Plan with a copy of this summary financial report.
which part or all of the Plan may be terminated. No consent of
any participant is required to terminate, modify, amend or             Continue Group Health Plan Coverage
change the Plan.                                                        continue health care coverage for yourself, your spouse or
Termination of the Plan together with termination of the                 Dependents if there is a loss of coverage under the Plan as a
insurance policy(s) which funds the Plan benefits will have no           result of a qualifying event. You or your Dependents may
adverse effect on any benefits to be paid under the policy(s)            have to pay for such coverage. Review the documents
for any covered medical expenses incurred prior to the date              governing the Plan on the rules governing your federal
that policy(s) terminates. Likewise, any extension of benefits           continuation coverage rights.


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Prudent Actions by Plan Fiduciaries                                     Assistance with Your Questions
In addition to creating rights for plan participants, ERISA             If you have any questions about your plan, you should contact
imposes duties upon the people responsible for the operation            the plan administrator. If you have any questions about this
of the employee benefit plan. The people who operate your               statement or about your rights under ERISA, or if you need
plan, called “fiduciaries” of the Plan, have a duty to do so            assistance in obtaining documents from the plan administrator,
prudently and in the interest of you and other plan participants        you should contact the nearest office of the Employee Benefits
and beneficiaries. No one, including your employer, your                Security Administration, U.S. Department of Labor listed in
union, or any other person may fire you or otherwise                    your telephone directory or the Division of Technical
discriminate against you in any way to prevent you from                 Assistance and Inquiries, Employee Benefits Security
obtaining a welfare benefit or exercising your rights under             Administration, U.S. Department of Labor, 200 Constitution
ERISA. If your claim for a welfare benefit is denied or                 Avenue N.W., Washington, D.C. 20210. You may also obtain
ignored you have a right to know why this was done, to obtain           certain publications about your rights and responsibilities
copies of documents relating to the decision without charge,            under ERISA by calling the publications hotline of the
and to appeal any denial, all within certain time schedules.            Employee Benefits Security Administration.
Enforce Your Rights
Under ERISA, there are steps you can take to enforce the                HC-FED72                                                      05-15
above rights. For instance, if you request a copy of documents
governing the plan or the latest annual report from the plan
and do not receive them within 30 days, you may file suit in a
federal court. In such a case, the court may require the plan           Notice of an Appeal or a Grievance
administrator to provide the materials and pay you up to $110           The appeal or grievance provision in this certificate may be
a day until you receive the materials, unless the materials were        superseded by the law of your state. Please see your
not sent because of reasons beyond the control of the                   explanation of benefits for the applicable appeal or grievance
administrator. If you have a claim for benefits which is denied         procedure.
or ignored, in whole or in part, you may file suit in a state or
federal court.
                                                                        HC-SPP4                                                       04-10
In addition, if you disagree with the plan’s decision or lack                                                                            V1
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in
federal court. If it should happen that plan fiduciaries misuse
the plan’s money, or if you are discriminated against for               Appointment of Authorized Representative
asserting your rights, you may seek assistance from the U.S.            You may appoint an authorized representative to assist you in
Department of Labor, or you may file suit in a federal court.           submitting a claim or appealing a claim denial. However,
The court will decide who should pay court costs and legal              Cigna may require you to designate your authorized
fees. If you are successful the court may order the person you          representative in writing using a form approved by Cigna. At
have sued to pay these costs and fees. If you lose, the court           all times, the appointment of an authorized representative is
may order you to pay these costs and fees, for example if it            revocable by you. To ensure that a prior appointment remains
finds your claim is frivolous.                                          valid, Cigna may require you to re-appoint your authorized
                                                                        representative, from time to time.
                                                                        Cigna reserves the right to refuse to honor the appointment of
                                                                        a representative if Cigna reasonably determines that:
                                                                           the signature on an authorized representative form may not
                                                                            be yours, or
                                                                           the authorized representative may not have disclosed to you
                                                                            all of the relevant facts and circumstances relating to the
                                                                            overpayment or underpayment of any claim, including, for
                                                                            example, that the billing practices of the provider of medical
                                                                            services may have jeopardized your coverage through the
                                                                            waiver of the cost-sharing amounts that you are required to
                                                                            pay under your plan.




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If your designation of an authorized representative is revoked,             Internal Appeal Procedure
or Cigna does not honor your designation, you may appoint a                 Cigna has a one-step appeal procedure for appeals decisions.
new authorized representative at any time, in writing, using a              To initiate an appeal for most claims, you must submit a
form approved by Cigna.                                                     request for an appeal within 365 days of receipt of a denial
If for any reason, you are not capable of appointing a new                  notice. If you appeal a reduction or termination in coverage for
authorized representative, a duly authorized representative                 an ongoing course of treatment that Cigna previously
may do so on your behalf. If Cigna does not honor your                      approved, you will receive, as required by applicable law,
designation of an authorized representative, you may request                continued coverage pending the outcome of an appeal.
reconsideration of Cigna's determination by, as applicable,                 Appeals may be submitted to the following address:
confirming that the signature on the authorization is yours, or               Cigna
that the authorized representative fully disclosed to you all                 National Appeals Organization (NAO)
relevant facts regarding its billing practices.                               PO Box 188011
                                                                              Chattanooga, TN 37422
HC-AAR2                                                        01-17        You should state the reason why you feel your appeal should
                                                                            be approved and include any information supporting your
                                                                            appeal. If you are unable or choose not to write, you may ask
                                                                            to register your appeal by telephone. Call us at the toll-free
When You Have A Complaint Or An                                             number on your Benefit Identification card, explanation of
Adverse Determination Appeal                                                benefits or claim form.
For the purposes of this section, any reference to "you",                   Your appeal will be reviewed and the decision made by
"your” or "Member" also refers to a representative or provider              someone not involved in the initial decision. Appeals
designated by you to act on your behalf, unless otherwise                   involving Medical Necessity or clinical appropriateness will
noted.                                                                      be considered by a health care professional.
We want you to be completely satisfied with the care and                    We will respond in writing with a decision within 30 calendar
service you receive. That is why we have established a process              days after we receive an appeal for a required pre-service or
for addressing your concerns and solving your problems.                     concurrent care coverage determination (decision). We will
Start with Customer Service                                                 respond within 30 calendar days after we receive an appeal for
                                                                            a post-service coverage determination. If more time or
We are here to listen and help. If you have a concern regarding             information is needed to make the determination, we will
a person, a service, the quality of care, or contractual benefits,          notify you in writing to request an extension of up to 30
or a rescission of coverage, you can call our toll-free number              calendar days and to specify any additional information
and explain your concern to one of our Customer Service                     needed to complete the review. Please note that the California
representatives. Please call us at the Customer Service toll-free           Department of Insurance (CDI) does not require you to
number that appears on your Benefit Identification card,                    participate in Cigna's appeals review for more than 30 days
explanation of benefits or claim form.                                      although you may choose to do so. At the completion of this
We will do our best to resolve the matter on your initial                   30-day-review period, when the disputed decision is upheld or
contact. If we need more time to review or investigate your                 your case remains unresolved, you may apply to the CDI for a
concern, we will get back to you as soon as possible, but in                review of your case.
any case within 30 days.                                                    In the event any new or additional information (evidence) is
If you are not satisfied with the results of a coverage decision,           considered, relied upon or generated by Cigna in connection
you can start the appeals procedure.                                        with the appeal, Cigna will provide this information to you as
                                                                            soon as possible and sufficiently in advance of the decision, so
                                                                            that you will have an opportunity to respond. Also, if any new
                                                                            or additional rationale is considered by Cigna, Cigna will
                                                                            provide the rationale to you as soon as possible and
                                                                            sufficiently in advance of the decision so that you will have an
                                                                            opportunity to respond.
                                                                            You may request that the appeal process be expedited if, your
                                                                            treating Physician certifies in writing that an imminent and
                                                                            serious threat to your health may exist, including, but not
                                                                            limited to, serious pain, the potential loss of life, limb, or



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major bodily function, or the immediate and serious                      you a letter within 5 business days of making the denial
deterioration of your health.                                            decision. The letter will include:
If you request that your appeal be expedited, you may also ask              a notice explaining your right to an IMR;
for an expedited external Independent Review at the same                    an IMR application;
time, if the time to complete an expedited internal appeal
would be detrimental to your medical condition.                             a Physician Certification Form for your Physician to
                                                                             complete which certifies that you have a life-threatening or
When an appeal is expedited, we will respond orally with a                   seriously debilitating condition; your Physician’s
decision within 72 hours, followed up in writing. The CDI                    certification must also indicate that standard therapies have
allows you to apply for an Independent Medical Review after                  not been effective in treating your condition or the requested
this expedited decision if you are unsatisfied with our                      therapy is likely to be more beneficial than any standard
determination.                                                               therapy as documented in two separate sources of medical
Independent Medical Review Procedures                                        or scientific evidence;
When the disputed decision is upheld or your case remains                   an envelope for you to return the completed forms to us.
unresolved after 30 days and when your case meets the criteria           A “life-threatening” condition means either or both of the
outlined below, you are eligible to apply to the CDI for an              following:
Independent Medical Review (IMR). The CDI has final
authority to accept or deny cases for the IMR process. If your              diseases or conditions where the likelihood of death is high
case is not accepted for IMR, the CDI will treat your                        unless the course of the disease is interrupted.
application as a request for the CDI itself to review your issues           diseases or conditions with potentially fatal outcomes,
and concerns. Prior to application for an IMR, you are free to               where the end point of clinical intervention is survival.
seek other avenues of appeal with Cigna. If you choose to do                a “seriously debilitating” condition means diseases or
so, you will not forfeit your eligibility to apply for the IMR.              conditions that cause major irreversible morbidity.
The Independent Medical Review Organization is composed                  “Medical and scientific evidence” means any of the following:
of persons who are not employed by Cigna or any of its
                                                                            peer-reviewed scientific studies published in or accepted for
affiliates. A decision to use the voluntary level of appeal will
                                                                             publication by medical journals that meet nationally
not affect the claimant's rights to any other benefits under the
                                                                             recognized requirements for scientific manuscripts and that
policy.
                                                                             submit most of their published articles for review by experts
There is no charge for you to apply for or participate in this               who are not part of the editorial staff.
IMR process. Cigna will abide by the decision of the
Independent Medical Review Organization.                                    peer-reviewed literature, biomedical compendia and other
                                                                             medical literature that meet the criteria of the National
In order to qualify for an IMR, certain conditions must be met:              Institutes of Health's National Library of Medicine for
your Physician has recommended a health care service as                      indexing in Index Medicus, Excerpta Medicus (EMBASE),
Medically Necessary and Cigna has disagreed with this                        Medline and MEDLARS database Health Services
determination, or you have received urgent care or emergency                 Technology Assessment Research (HSTAR).
services that a Physician has deemed Medically Necessary and
Cigna has disagreed with this determination, or you have been               medical journals recognized by the Secretary of Health and
                                                                             Human Services, under section 1861(t)(2) of the Social
seen by a Physician for the diagnosis or treatment of the
                                                                             Security Act.
medical condition for which you are seeking an Independent
Medical Review and Cigna has determined these services as                   either of the following standard reference compendia: The
not Medically Necessary or clinically appropriate.                           American Hospital Formulary Service-Drug Information,
Administrative, eligibility or benefit coverage limits or                    the American Dental Association Accepted Dental
exclusions are not eligible for an independent medical appeal                Therapeutics and The United States Pharmacopoeia-Drug
under this process. You remain entitled to send such issues to               Information.
the CDI for a Department review.                                            any of the following reference compendia if recognized by
Independent Review Process for Experimental and                              the Federal Center for Medicare and Medicaid Services as
Investigational Therapies                                                    part of an anticancer chemotherapeutic regimen: The
Special provisions apply to the IMR process for coverage                     Elsevier Gold Standard's Clinical Pharmacology, The
                                                                             National Comprehensive Cancer Network Drug and
decisions related to experimental or investigational therapies.
                                                                             Biologics Compendium, The Thomson Micromedex
If Cigna denies your appeal because the requested service or
                                                                             DrugDex.
treatment is experimental or investigational, Cigna will send



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   findings, studies, or research conducted by or under the             Notice of Benefit Determination on Appeal
    auspices of federal government agencies and nationally               Every notice of an appeal decision will be provided in writing
    recognized federal research institutes, including the Federal        or electronically and, if an adverse determination, will include:
    Agency for Health Care Policy and Research, National                 information sufficient to identify the claim; the specific reason
    Institutes of Health, National Cancer Institute, National            or reasons for the denial decision; reference to the specific
    Academy of Sciences, Health Care Financing                           policy provisions on which the decision is based; a statement
    Administration, Congressional Office of Technology                   that the claimant is entitled to receive, upon request and free
    Assessment, and any national board recognized by the                 of charge, reasonable access to and copies of all documents,
    National Institutes of Health for the purpose of evaluating          records, and other Relevant Information as defined; a
    the medical value of health services.                                statement describing any voluntary appeal procedures offered
   peer-reviewed abstracts accepted for presentation at major           by the plan and the claimant's right to bring an action under
    medical association meetings.                                        ERISA section 502(a); upon request and free of charge, a copy
The IMR will be conducted by an Independent Medical                      of any internal rule, guideline, protocol or other similar
Review Organization which is qualified to review issues                  criterion that was relied upon in making the adverse
related to experimental and investigational therapies as                 determination regarding your appeal, and an explanation of the
selected by the CDI. The IMR must be completed within 30                 scientific or clinical judgment for a determination that is based
calendar days. If your Physician determines that the proposed            on a Medical Necessity, experimental treatment or other
therapy which is the subject of the IMR would be significantly           similar exclusion or limit; and information about any office of
less effective if not initiated promptly, an expedited IMR is            health insurance consumer assistance or ombudsman available
available. An expedited IMR will be completed within 7                   to assist you in the appeal process. A final notice of adverse
calendar days from the date an expedited IMR was requested.              determination will include a discussion of the decision.
This timeframe may be extended by up to 3 calendar days if               You also have the right to bring a civil action under section
there is a delay in providing any documents which the                    502(a) of ERISA if you are not satisfied with the decision on
Independent Medical Review Organization requests for                     review. You or your plan may have other voluntary alternative
review. The IMR’s decision must state the reason that the                dispute resolution options such as Mediation. One way to find
therapy should or should not be covered, citing your specific            out what may be available is to contact your local U.S.
medical condition, the relevant documents, and the relevant              Department of Labor office and your state insurance
medical and scientific evidence. Cigna will cover the services
                                                                         regulatory agency. You may also contact the Plan
subject to the terms and conditions generally applicable to
                                                                         Administrator.
other benefits under your policy.
                                                                         Relevant Information
Assistance from the State of California
We will provide you with an application and instructions on              Relevant Information is any document, record, or other
how to apply to the CDI for an IMR. You must submit the                  information which was relied upon in making the benefit
application to the CDI within 180 days of your receipt of our            determination; was submitted, considered, or generated in the
appeal review denial. In compelling circumstances, the                   course of making the benefit determination, without regard to
                                                                         whether such document, record, or other information was
Commissioner of Insurance may grant an extension.
                                                                         relied upon in making the benefit determination; demonstrate
The Independent Medical Review Organization will render an               compliance with the administrative processes and safeguards
opinion within 30 days. If a delay would be detrimental to               required by federal law in making the benefit determination;
your medical condition, you may apply to the Department for              or constitutes a statement of policy or guidance with respect to
an expedited review of your case. If accepted, the Independent           the policy concerning the denied treatment option or benefit or
Medical Review Organization will render a decision in three              the claimant's diagnosis, without regard to whether such
days.                                                                    advice or statement was relied upon in making the benefit
You have the right to contact the California Department of               determination.
Insurance for assistance at any time. The Commissioner may               Legal Action
be contacted at the following address and fax number:
                                                                         If your plan is governed by ERISA, you have the right to bring
    California Department of Insurance                                   a civil action under section 502(a) of ERISA if you are not
    Claims Service Bureau, Attn: IMR                                     satisfied with the outcome of the Appeals Procedure. In most
    300 South Spring Street                                              instances, you may not initiate a legal action against Cigna
    Los Angeles, CA 90013                                                until you have completed the appeal processes. However, no
    or fax to 213-897-5891                                               action will be brought at all unless brought within three years
                                                                         after a claim is submitted for In-Network services or within



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three years after proof of claim is required under the Plan for            Biosimilar
Out-of-Network services.                                                   A Biologic that is highly similar to the reference Biologic
                                                                           product notwithstanding minor differences in clinically
HC-APL415                                                     01-20
                                                                           inactive components, and has no clinically meaningful
                                                                           differences from the reference Biologic in terms of its safety,
                                                                           purity, and potency, as defined under Section 351(i) of the
Definitions                                                                Public Health Service Act (42 USC 262(i)) (as amended by
Active Service                                                             the Biologics Price Competition and Innovation Act of 2009,
You will be considered in Active Service:                                  title VII of the Patient Protection and Affordable Care Act,
                                                                           Pub. L. No. 111-148, § 7002 (2010), and as may be amended
   on any of your Employer's scheduled work days if you are               thereafter).
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business
    or at some location to which you are required to travel for            HC-DFS1130                                             HC-DFS841V2
    your Employer's business.                                                                                                            10-16

   on a day which is not one of your Employer's scheduled
    work days if you were in Active Service on the preceding               Brand Drug
    scheduled work day.
                                                                           A Prescription Drug Product that Cigna identifies as a Brand
                                                                           Drug product across its book-of-business, principally based on
HC-DFS1186                                             HC-DFS1095V4        available data resources, including, but not limited to, First
                                                              08-18        DataBank or another nationally recognized drug indicator
                                                                           source, that classify drugs or Biologics as either brand or
                                                                           generic based on a number of factors. Not all products
Ambulance                                                                  identified as a "brand name" by the manufacturer, Pharmacy,
Licensed ambulance transportation services involve the use of              or your Physician may be classified as a Brand Drug under the
specially designed and equipped vehicles for transporting ill or           plan.
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.
                                                                           HC-DFS1130                                             HC-DFS842V3
                                                                                                                                         10-16
HC-DFS1406                                                    01-20


                                                                           Business Decision Team
Biologic                                                                   A committee comprised of voting and non-voting
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,              representatives across various Cigna business units such as
blood component or derivative, allergenic product, protein                 clinical, medical and business leadership that is duly
(except any chemically synthesized polypeptide), or analogous              authorized by Cigna to make – subject to the P&T
product, or arsphenamine or derivative of arsphenamine (or                 Committee’s findings – decisions regarding coverage
any other trivalent organic arsenic compound), used for the                treatment of Prescription Drug Products or Medical
prevention, treatment, or cure of a disease or condition of                Pharmaceuticals based on clinical findings provided by the
human beings, as defined under Section 351(i) of the Public                P&T Committee, including, but not limited to, decisions
Health Service Act (42 USC 262(i)) (as amended by the                      regarding tier placement and application of utilization
Biologics Price Competition and Innovation Act of 2009, title              management to Prescription Drug Products or Medical
VII of the Patient Protection and Affordable Care Act, Pub. L.             Pharmaceuticals. The P&T Committee is responsible for
No. 111-148, § 7002 (2010), and as may be amended                          ensuring that the plan offers a clinically appropriate
thereafter).                                                               Prescription Drug List to enrollees consistent with the
                                                                           requirements of CIC 10123.201(b)(6).
HC-DFS1130                                             HC-DFS840V2
                                                                           A decision by the P&T Committee is paramount to a decision
                                                              10-16        by the Business Decision Team.


                                                                           HC-DFS1130                                              HC-DFS1099
                                                                                                                                         10-16




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                                                                                  proof of handicap/dependency annually, after the two year
Charges                                                                           period following the child's 26th birthday.
The term charges means the actual billed charges; except                    The term child means a child born to you, a child legally
when Cigna has contracted directly or indirectly for a different            adopted by you from the date the child is placed in your
amount including where Cigna has directly or indirectly                     physical custody prior to the finalization of the child's
contracted with an entity to arrange for the provision of                   adoption, or a child supported by you pursuant to a court order
services and/or supplies through contracts with providers of                (including a qualified medical child support order). It also
such services and/or supplies.                                              includes a stepchild or a child for whom you are the legal
                                                                            guardian. If your Domestic Partner has a child, that child will
                                                                            also be included as a Dependent.
HC-DFS1193                                                     01-19
                                                                            Benefits for a Dependent child will continue until the last day
                                                                            of the calendar month in which the limiting age is reached.
Custodial Services                                                          Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent.
safeguarding nature. Such services may include a stay in an                 No one may be considered as a Dependent of more than one
institutional setting, at-home care, or nursing services to care            Employee.
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly              HC-DFS1023                                                  10-16

to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;                  Designated Pharmacy
they are intended to provide care while the patient cannot care
for himself or herself. Custodial Services include but are not              A Network Pharmacy that has entered into an agreement with
limited to:                                                                 Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                            provide Prescription Drug Products or services, including,
   Services related to watching or protecting a person;                    without limitation, specific Prescription Drug Products, to plan
   Services related to performing or assisting a person in                 enrollees on a preferred or exclusive basis. For example, a
    performing any activities of daily living, such as: walking,            Designated Pharmacy may provide enrollees certain Specialty
    grooming, bathing, dressing, getting in or out of bed,                  Prescription Drug Products that have limited distribution
    toileting, eating, preparing foods, or taking medications that          availability, provide enrollees with an extended days’ supply
    can be self administered, and                                           of Prescription Drug Products or provide enrollees with
   Services not required to be performed by trained or skilled             Prescription Drug Products on a preferred cost share basis.
    medical or paramedical personnel.                                       The fact that a Pharmacy is a Network Pharmacy does not
                                                                            mean that it is a Designated Pharmacy.

HC-DFS4                                                        04-10
                                                                            HC-DFS1131                                            HC-DFS845V2
                                                                  V1
                                                                                                                                        10-16


Dependent
                                                                            Domestic Partner
Dependents are:
                                                                            A Domestic Partner is defined as your Domestic Partner who
   your lawful spouse; or                                                  has registered the domestic partnership by filing a Declaration
   your Domestic Partner; and                                              of Domestic Partnership with the California Secretary of state
   any child of yours who is                                               pursuant to Section 298 of the Family Code or an equivalent
                                                                            document issued by a local agency of California, another state,
     less than 26 years old.
                                                                            or a local agency of another state under which the partnership
     26 or more years old, unmarried, and primarily supported              was created.
      by you and incapable of self-sustaining employment by
                                                                            A Domestic Partner is also defined as a person of the same or
      reason of mental or physical disability. The plan may
                                                                            opposite sex who has not registered the domestic partnership
      require written proof of such disability and dependency
                                                                            as stated above and:
      within 60 days of receiving our request for written proof.
      After the original proof is received, the plan may ask for               shares your permanent residence;



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   has resided with you for no less than one year;
   is no less than 18 years of age;                                        Emergency Services
   is financially interdependent with you and has proven such              Emergency services means, with respect to an emergency
    interdependence by providing documentation of at least two              medical condition, a medical screening examination that is
    of the following arrangements: common ownership of real                 within the capability of the emergency department of a
    property or a common leasehold interest in such property;               Hospital, including ancillary services routinely available to the
    community ownership of a motor vehicle; a joint bank                    emergency department to evaluate the emergency medical
    account or a joint credit account; designation as a                     condition; and such further medical examination and
    beneficiary for life insurance or retirement benefits or under          treatment, to the extent they are within the capabilities of the
    your partner's will; assignment of a durable power of                   staff and facilities available at the Hospital, to stabilize the
    attorney or health care power of attorney; or such other                patient.
    proof as is considered by Cigna to be sufficient to establish
    financial interdependency under the circumstances of your
                                                                            HC-DFS1414                                                   01-20
    particular case;
   is not a blood relative any closer than would prohibit legal
    marriage; and                                                           Employee
   has signed jointly with you, a notarized affidavit attesting to         The term Employee means a full-time Employee of the
    the above which can be made available to Cigna upon                     Employer who is currently in Active Service. The term does
    request.                                                                not include Employees who are part-time or temporary or who
                                                                            normally work less than 20 hours a week for the Employer.
In addition, you and your Domestic Partner will be considered
to have met the terms of this definition as long as neither you
nor your Domestic Partner:                                                  HC-DFS1186                                              HC-DFS1189

   has signed a Domestic Partner affidavit or declaration with                                                                          08-18

    any other person within twelve months prior to designating
    each other as Domestic Partners hereunder;                              Employer
   is currently legally married to another person; or                      The term Employer means the Policyholder and all Affiliated
   has any other Domestic Partner, spouse or spouse equivalent             Employers.
    of the same or opposite sex.
The section of this certificate entitled "COBRA Continuation                HC-DFS8                                                      04-10
Rights Under Federal Law" and “Continuation of Coverage                                                                                    V1
under Cal-COBRA” will not apply to your Domestic Partner
and his or her Dependents.
                                                                            Essential Health Benefits
                                                                            Essential health benefits means, to the extent covered under
HC-DFS1024                                                     10-16
                                                                            the plan, expenses incurred with respect to covered services, in
                                                                            at least the following categories: ambulatory patient services,
Emergency Medical Condition                                                 emergency services, hospitalization, maternity and newborn
Emergency medical condition means a medical condition                       care, mental health and substance use disorder services,
which manifests itself by acute symptoms of sufficient                      including behavioral health treatment, prescription drugs,
severity (including severe pain) such that a prudent layperson,             rehabilitative and habilitative services and devices, laboratory
who possesses an average knowledge of health and medicine,                  services, preventive and wellness services and chronic disease
could reasonably expect the absence of immediate medical                    management and pediatric services, including oral and vision
attention to result in placing the health of the individual (or,            care.
with respect to a pregnant woman, the health of the woman or
her unborn child) in serious jeopardy; serious impairment to                HC-DFS411                                                    01-11
bodily functions; or serious dysfunction of any bodily organ or
part.


HC-DFS394                                                      11-10




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Expense Incurred                                                             Hospice Care Program
An expense is incurred when the service or the supply for                    The term Hospice Care Program means:
which it is incurred is provided.                                               a coordinated, interdisciplinary program to meet the
                                                                                 physical, psychological, spiritual and social needs of dying
HC-DFS10                                                        04-10
                                                                                 persons and their families;
                                                                  V1            a program that provides palliative and supportive medical,
                                                                                 nursing and other health services through home or inpatient
                                                                                 care during the illness;
Free-Standing Surgical Facility
                                                                                a program for persons who have a Terminal Illness and for
The term Free-Standing Surgical Facility means an institution
                                                                                 the families of those persons.
which meets all of the following requirements:
   it has a medical staff of Physicians, Nurses and licensed
    anesthesiologists;                                                       HC-DFS51                                                          04-10
                                                                                                                                                 V1
   it maintains at least two operating rooms and one recovery
    room;
   it maintains diagnostic laboratory and x-ray facilities;                 Hospice Care Services
   it has equipment for emergency care;                                     The term Hospice Care Services means any services provided
                                                                             by: a Hospital, a Skilled Nursing Facility or a similar
   it has a blood supply;                                                   institution, a Home Health Care Agency, a Hospice Facility,
   it maintains medical records;                                            or any other licensed facility or agency under a Hospice Care
   it has agreements with Hospitals for immediate acceptance                Program.
    of patients who need Hospital Confinement on an inpatient
    basis; and                                                               HC-DFS52                                                          04-10
   it is licensed in accordance with the laws of the appropriate                                                                                V1
    legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted                 Hospice Facility
otherwise, is covered with the same cost share as an
                                                                             The term Hospice Facility means an institution or part of it
Outpatient Facility.
                                                                             which:
                                                                                primarily provides care for Terminally Ill patients;
HC-DFS1407                                                      01-20
                                                                                is accredited by the National Hospice Organization;
                                                                                meets standards established by Cigna; and
Generic Drug
                                                                                fulfills any licensing requirements of the state or locality in
A Prescription Drug Product that Cigna identifies as a Generic                   which it operates.
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator                     HC-DFS53                                                          04-10

source, that classify drugs or Biologics (including Biosimilars)                                                                                 V1

as either brand or generic based on a number of factors. Not
all products identified as a "generic" by the manufacturer,
                                                                             Hospital
Pharmacy or your Physician may be classified as a Generic
Drug under the plan. A Biosimilar may be classified as a                     The term Hospital means:
Generic Drug for the purposes of benefits under the plan even                   an institution licensed as a hospital, which: maintains, on
if it is identified as a “brand name” drug by the manufacturer,                  the premises, all facilities necessary for medical and
Pharmacy or your Physician.                                                      surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
HC-DFS1131                                               HC-DFS846V3
                                                                                 Graduate Nurses;
                                                                10-16
                                                                                an institution which qualifies as a hospital, a psychiatric
                                                                                 hospital or a tuberculosis hospital, and a provider of


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    services under Medicare, if such institution is accredited as             In some cases, a Medicare based schedule will not be used and
    a hospital by the Joint Commission on the Accreditation of                the Maximum Reimbursable Charge for covered services is
    Healthcare Organizations; or                                              determined based on the lesser of:
   an institution which: specializes in treatment of Mental                     the provider’s normal charge for a similar service or supply;
    Health and Substance Use Disorder or other related illness;                   or
    provides residential treatment programs; and is licensed in                  the 80th percentile of charges made by providers of such
    accordance with the laws of the appropriate legally                           service or supply in the geographic area where it is received
    authorized agency.                                                            as compiled in a database selected by Cigna. If sufficient
The term Hospital does not include an institution which is                        charge data is unavailable in the database for that
primarily a place for rest, a place for the aged, or a nursing                    geographic area to determine the Maximum Reimbursable
home.                                                                             Charge, then data in the database for similar services may
                                                                                  be used.
HC-DFS1415                                                       01-20
                                                                              The Maximum Reimbursable Charge is subject to all other
                                                                   V2
                                                                              benefit limitations and applicable coding and payment
                                                                              methodologies determined by Cigna. Additional information
                                                                              about how Cigna determines the Maximum Reimbursable
Hospital Confinement or Confined in a Hospital                                Charge is available upon request.
A person will be considered Confined in a Hospital if he is:
   a registered bed patient in a Hospital upon the                           HC-DFS1196                                                    01-19
    recommendation of a Physician;
   receiving treatment for Mental Health and Substance Abuse
                                                                              Medicaid
    Services in a Partial Hospitalization program;
                                                                              The term Medicaid means a state program of medical aid for
   receiving treatment for Mental Health and Substance Abuse                 needy persons established under Title XIX of the Social
    Services in a Mental Health or Substance Abuse Residential                Security Act of 1965 as amended.
    Treatment Center.

                                                                              HC-DFS16                                                      04-10
HC-DFS49                                                         04-10
                                                                                                                                              V1
                                                                   V1


                                                                              Medical Pharmaceutical
Injury
                                                                              An FDA-approved prescription pharmaceutical product,
The term Injury means an accidental bodily injury.                            including a Specialty Prescription Drug Product, typically
                                                                              required to be administered in connection with a covered
HC-DFS12                                                         04-10        service by a Physician or Other Health Professional within the
                                                                   V1         scope of the provider's license. This definition includes certain
                                                                              pharmaceutical products whose administration may initially or
                                                                              typically require Physician oversight but may be self-
Maximum Reimbursable Charge - Medical                                         administered under certain conditions specified in the
The Maximum Reimbursable Charge for covered services is                       product’s FDA labeling. This definition does not include any
determined based on the lesser of:                                            charges for mobile, web-based or other electronic applications
   the provider’s normal charge for a similar service or supply;             or software, even if approved for marketing as a prescription
    or                                                                        product by the FDA.
   a policyholder-selected percentage of a schedule that Cigna
    has developed that is based upon a methodology similar to a               HC-DFS1410                                                    01-20
    methodology utilized by Medicare to determine the
    allowable fee for the same or similar service within the
                                                                              Medically Necessary/Medical Necessity
    geographic market.
                                                                              Health care services, supplies and medications provided for
The percentage used to determine the Maximum Reimbursable
                                                                              the purpose of preventing, evaluating, diagnosing or treating a
Charge is listed in The Schedule.
                                                                              Sickness, Injury, condition, disease or its symptoms, that are



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all of the following as determined by a Medical Director or                    The term Necessary Services and Supplies will not include
Review Organization:                                                           any charges for special nursing fees, dental fees or medical
   required to diagnose or treat an illness, Injury, disease or its           fees.
    symptoms;
   in accordance with generally accepted standards of medical                 HC-DFS1409                                                      01-20
    practice;
   clinically appropriate in terms of type, frequency, extent,                Network Pharmacy
    site and duration;
                                                                               A retail or home delivery Pharmacy that has:
   not primarily for the convenience of the patient, Physician
                                                                                  entered into an agreement with Cigna or an entity
    or Other Health Professional;
                                                                                   contracting on Cigna's behalf to provide Prescription Drug
   not more costly than an alternative service(s), medication(s)                  Products to plan enrollees.
    or supply(ies) that is at least as likely to produce equivalent
                                                                                  agreed to accept specified reimbursement rates for
    therapeutic or diagnostic results with the same safety profile
                                                                                   dispensing Prescription Drug Products.
    as to the prevention, evaluation, diagnosis or treatment of
    your Sickness, Injury, condition, disease or its symptoms;                    been designated as a Network Pharmacy for the purposes of
    and                                                                            coverage under your Employer’s plan.
   rendered in the least intensive setting that is appropriate for            This term may also include, as applicable, an entity that has
    the delivery of the services, supplies or medications. Where               directly or indirectly contracted with Cigna to arrange for the
    applicable, the Medical Director or Review Organization                    provision of any Prescription Drug Products the charges for
    may compare the cost-effectiveness of alternative services,                which are Covered Expenses.
    supplies, medications or settings when determining least
    intensive setting.
                                                                               HC-DFS1305                                               HC-DFS1198V1
In determining whether health care services, supplies, or                                                                                      01-19
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.                       New Prescription Drug Product
Clinical coverage policies may incorporate, without limitation                 A Prescription Drug Product, or new use or dosage form of a
and as applicable, criteria relating to U.S. Food and Drug                     previously FDA-approved Prescription Drug Product, for the
Administration-approved labeling, the standard medical                         period of time starting on the date the Prescription Drug
reference compendia and peer-reviewed, evidence-based                          Product or newly-approved use or dosage form becomes
scientific literature or guidelines.                                           available on the market following approval by the U.S. Food
                                                                               and Drug Administration (FDA) and ending on the date
                                                                               Cigna's Business Decision Team makes a Prescription Drug
HC-DFS1411                                                        01-20
                                                                               List coverage status decision.

Medicare                                                                       HC-DFS1305                                               HC-DFS850V2
The term Medicare means the program of medical care                                                                                            01-19
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.
                                                                               Nurse
                                                                               The term Nurse means a Registered Graduate Nurse, a
HC-DFS17                                                          04-10
                                                                               Licensed Practical Nurse or a Licensed Vocational Nurse who
                                                                    V1
                                                                               has the right to use the abbreviation "R.N.," "L.P.N." or
                                                                               "L.V.N."
Necessary Services and Supplies
The term Necessary Services and Supplies includes any                          HC-DFS22                                                        04-10
charges, except charges for Room and Board, made by a                                                                                            V1
Hospital for medical services and supplies actually used
during Hospital Confinement.




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Other Health Care Facility                                                 Pharmacy
The term Other Health Care Facility means a facility other                 A duly licensed Pharmacy that dispenses Prescription Drug
than a Hospital or Hospice Facility. Examples of Other Health              Products in a retail setting or via home delivery. A home
Care Facilities include, but are not limited to, licensed skilled          delivery Pharmacy is a Pharmacy that primarily provides
nursing facilities, rehabilitation Hospitals and subacute                  Prescription Drug Products through mail order.
facilities.
                                                                           HC-DFS1178                                            HC-DFS851V2
HC-DFS1412                                                    01-20


                                                                           Pharmacy & Therapeutics (P&T) Committee
Other Health Professional                                                  A committee comprised of both voting and non-voting Cigna-
The term Other Health Professional means an individual other               employed clinicians, Medical Directors and Pharmacy
than a Physician who is licensed or otherwise authorized under             Directors and non-employees such as Participating Providers
the applicable state law to deliver medical services and                   that represent a range of clinical specialties, and the
supplies. Other Health Professionals include, but are not                  composition of which satisfies the membership requirements
limited to physical therapists, registered nurses and licensed             of CIC 10123.201. The committee regularly reviews Medical
practical nurses. Other Health Professionals do not include                Pharmaceuticals or Prescription Drug Products, including New
providers such as Certified First Assistants, Certified                    Prescription Drug Products, for safety and efficacy, the
Operating Room Technicians, Certified Surgical                             findings of which clinical reviews inform coverage status
Assistants/Technicians, Licensed Certified Surgical                        decisions made by the Business Decision Team. The P&T
Assistants/Technicians, Licensed Surgical Assistants,                      Committee’s review may be based on consideration of,
Orthopedic Physician Assistants and Surgical First Assistants.             without limitation, U.S. Food and Drug Administration-
                                                                           approved labeling, standard medical reference compendia, or
                                                                           scientific studies published in peer-reviewed English-language
HC-DFS1413                                                    01-20
                                                                           bio-medical journals.
                                                                           A decision by the P&T Committee is paramount to a decision
Participating Provider                                                     by the Business Decision Team.
The term Participating Provider means a person or entity that
has a direct or indirect contractual arrangement with Cigna to
                                                                           HC-DFS1178                                             HC-DFS1100
provide covered services and/or supplies, the Charges for
which are Covered Expenses. It includes an entity that has
directly or indirectly contracted with Cigna to arrange, through           Physician
contracts with providers of services and/or supplies, for the              The term Physician means a licensed medical practitioner who
provision of any services and/or supplies, the Charges for                 is practicing within the scope of his license and who is
which are Covered Expenses.                                                licensed to prescribe and administer drugs or to perform
                                                                           surgery. It will also include any other licensed medical
HC-DFS1194                                                    01-19
                                                                           practitioner whose services are required to be covered by law
                                                                           in the locality where the policy is issued if he is:
                                                                              operating within the scope of his license; and
Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                     performing a service for which benefits are provided under
                                                                               this plan when performed by a Physician.
Patient Protection and Affordable Care Act of 2010 means the
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education                   HC-DFS25                                                    04-10
Reconciliation Act of 2010 (Public Law 111-152).                                                                                         V1



HC-DFS412                                                     01-11        Prescription Drug Charge
                                                                           The Prescription Drug Charge is the amount that, prior to
                                                                           application of the plan’s cost-share requirement(s), is payable
                                                                           by Cigna to its Pharmacy Benefit Manager for a specific
                                                                           covered Prescription Drug Product dispensed at a Network


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Pharmacy, including any applicable dispensing fee and tax.                This definition does not include any charges for mobile, web-
The “Pharmacy Benefit Manager” is the business unit,                      based or other electronic applications or software, even if
affiliate, or other entity that manages the Prescription Drug             approved for marketing as a prescription product by the FDA.
Benefit for Cigna.
                                                                          HC-DFS1178                                              HC-DFS855V2
HC-DFS1178                                              HC-DFS1179


                                                                          Prescription Order or Refill
Prescription Drug List                                                    The lawful directive to dispense a Prescription Drug Product
A list that categorizes drugs, Biologics (including Biosimilars)          issued by a Physician whose scope of practice permits issuing
or other products covered under the plan’s Prescription Drug              such a directive.
Benefits that have been approved by the U.S. Food and Drug
Administration (FDA) into coverage tiers. This list is
                                                                          HC-DFS1178                                              HC-DFS856V2
developed by Cigna's Business Decision Team based on
clinical factors communicated by the P&T Committee, and
adopted by your Employer as part of the plan. The list is                 Preventive Care Medications
subject to periodic review and change, and is subject to the
                                                                          The Prescription Drug Products or other medications
limitations and exclusions of the plan. You may determine to
                                                                          (including over-the-counter medications) designated as
which tier a particular Prescription Drug Product has been
                                                                          payable by the plan at 100% of the cost (without application of
assigned through the website shown on your ID card or by
                                                                          any Deductible, Copayment or Coinsurance) as required by
calling customer service at the telephone number on your ID
                                                                          applicable law under any of the following:
card.
                                                                             Evidence-based items or services that have in effect a rating
                                                                              of "A" or "B" in the current recommendations of the United
HC-DFS1178                                             HC-DFS854V2            States Preventive Services Task Force.
                                                                             With respect to infants, children and adolescents, evidence-
Prescription Drug Product                                                     informed preventive care and screenings provided for in the
A drug, Biologic (including a Biosimilar), or other product                   comprehensive guidelines supported by the Health
that has been approved by the U.S. Food and Drug                              Resources and Services Administration.
Administration (FDA), certain products approved under the                    With respect to women, such additional preventive care and
Drug Efficacy Study Implementation review, or products                        screenings as provided for in comprehensive guidelines
marketed prior to 1938 and not subject to review and that can,                supported by the Health Resources and Services
under federal or state law, be dispensed only pursuant to a                   Administration.
Prescription Order or Refill. A Prescription Drug Product                 A written prescription is required to process a claim for a
includes a drug, Biologic or product that, due to its                     Preventive Care Medication. You may determine whether a
characteristics, is approved by the FDA for self-administration           drug is a Preventive Care Medication through the internet
or administration by a non-skilled caregiver. For the purpose             website shown on your ID card or by calling member services
of benefits under the plan, this definition also includes:                at the telephone number on your ID card.
   The following diabetic supplies: alcohol pads, swabs, wipes,
    Glucagon/Glucagen, injection aids, insulin pump
                                                                          HC-DFS1178                                              HC-DFS857V2
    accessories (but excluding insulin pumps), needles
    including pen needles, syringes, test strips, lancets, urine
    glucose and ketone strips;
   Needles and syringes for self-administered medications or
    Biologics covered under the plan’s Prescription Drug
    benefit; and
   Inhaler assistance devices and accessories, peak flow
    meters.




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Primary Care Physician                                                    Serious Emotional Disturbances
The term Primary Care Physician means a Physician who                     A Seriously Emotionally Disturbed (SED) child shall be
qualifies as a Participating Provider in general practice,                defined as a child who:
internal medicine, family practice, obstetrics/gynecology or                 has one or more mental disorders as identified in the most
pediatrics; and who has been selected by you, as authorized by                recent edition of the Diagnostic and Statistical Manual of
Cigna, to provide or arrange for medical care for you or any of               Mental Disorders, other than a primary substance abuse
your insured Dependents.                                                      disorder or developmental disorder, that results in behavior
                                                                              inappropriate to the child's age according to expected
HC-DFS167                                                    04-10
                                                                              developmental norms; and
                                                               V2            is under the age of 18 years old; and
                                                                             meets the criteria in as follows:
Psychologist                                                                   as a result of the mental disorder, the child has substantial
The term Psychologist means a person who is licensed or                         impairment in at least two of the following areas: self-
certified as a clinical psychologist. Where no licensure or                     care, school functioning, family relationships, or ability to
certification exists, the term Psychologist means a person who                  function in the community; and either of the following
is considered qualified as a clinical psychologist by a                         occur:
recognized psychological association. It will also include any                      the child is at risk of removal from the home or has
other licensed counseling practitioner whose services are                            already been removed from the home;
required to be covered by law in the locality where the policy
                                                                                    the mental disorder and impairments have been present
is issued if he is operating within the scope of his license and
                                                                                     for more than six months or are likely to continue for
performing a service for which benefits are provided under
                                                                                     more than one year without treatment.
this plan when performed by a Psychologist.
                                                                               the child displays one of the following: psychotic
                                                                                features, risk of suicide or violence due to a mental
HC-DFS26                                                     04-10              disorder; or
                                                               V1
                                                                               the child meets special education eligibility requirements
                                                                                under Chapter 26.5 (commencing with Section 7570) of
Review Organization                                                             Division 7 of Title 1 of the Government Code.
The term Review Organization refers to an affiliate of Cigna
or another entity to which Cigna has delegated responsibility             HC-DFS168                                                         04-10
for performing utilization review services. The Review                                                                                        V2
Organization is an organization with a staff of clinicians which
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance abuse professionals, and other                Severe Mental Illness
trained staff members who perform utilization review services.            A severe mental illness is defined as: schizophrenia; bipolar
                                                                          disorder; obsessive-compulsive disorder; major depressive
                                                                          disorders; panic disorder; anorexia nervosa; bulimia nervosa;
HC-DFS30                                                     04-10
                                                                          schizoaffective disorder; and pervasive developmental
                                                               V1
                                                                          disorder or autism.

Room and Board
                                                                          HC-DFS169                                                         04-10
The term Room and Board includes all charges made by a                                                                                        V1
Hospital for room and meals and for all general services and
activities needed for the care of registered bed patients.


HC-DFS1408                                                   01-20




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Sickness – For Medical Insurance                                           be considered a Specialty Prescription Drug Product. Specialty
The term Sickness means a physical or mental illness. It also              Prescription Drug Products may vary by plan benefit
includes pregnancy. Expenses incurred for routine Hospital                 assignment based on factors such as method or site of clinical
and pediatric care of a newborn child prior to discharge from              administration, or by tier assignment or utilization
the Hospital nursery will be considered to be incurred as a                management requirements based on factors such as acquisition
result of Sickness.                                                        cost. You may determine whether a medication is a Specialty
                                                                           Prescription Drug Product through the website shown on your
                                                                           ID card or by calling member services at the telephone
HC-DFS50                                                      04-10        number on your ID card.
                                                                V1


                                                                           HC-DFS1135                                            HC-DFS858V2
Skilled Nursing Facility                                                                                                               10-16

The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:                  Stabilize
   physical rehabilitation on an inpatient basis; or                      Stabilize means, with respect to an emergency medical
   skilled nursing and medical care on an inpatient basis;                condition, to provide such medical treatment of the condition
but only if that institution: maintains on the premises all                as may be necessary to assure, within reasonable medical
facilities necessary for medical treatment; provides such                  probability that no material deterioration of the condition is
treatment, for compensation, under the supervision of                      likely to result from or occur during the transfer of the
Physicians; and provides Nurses' services.                                 individual from a facility.


HC-DFS31                                                      04-10        HC-DFS413                                                   01-11

                                                                V1

                                                                           Terminal Illness
Specialist                                                                 A Terminal Illness will be considered to exist if a person
The term Specialist means a Physician who provides                         becomes terminally ill with a prognosis of six months or less
specialized services, and is not engaged in general practice,              to live, as diagnosed by a Physician.
family practice, internal medicine, obstetrics/gynecology or
pediatrics.                                                                HC-DFS54                                                    04-10
                                                                                                                                            V1

HC-DFS33                                                      04-10
                                                                V1
                                                                           Therapeutic Alternative
                                                                           A Prescription Drug Product or Medical Pharmaceutical that is
Specialty Prescription Drug Product                                        of the same therapeutic or pharmacological class, and usually
A Prescription Drug Product or Medical Pharmaceutical                      can be expected to have similar outcomes and adverse reaction
considered by Cigna to be a Specialty Prescription Drug                    profiles when administered in therapeutically equivalent doses
Product based on consideration of the following factors,                   as, another Prescription Drug Product, Medical
subject to applicable law: whether the Prescription Drug                   Pharmaceutical or over-the-counter medication.
Product or Medical Pharmaceutical is prescribed and used for
the treatment of a complex, chronic or rare condition; whether             HC-DFS1135                                            HC-DFS859V2
the Prescription Drug Product or Medical Pharmaceutical has                                                                            10-16
a high acquisition cost; and, whether the Prescription Drug
Product or Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or
requires enhanced patient education, provider coordination or
clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that
a Prescription Drug Product or Medical Pharmaceutical will


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Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS1135                                             HC-DFS860V2
                                                             10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS1135                                             HC-DFS861V2
                                                             10-16




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                    Exhibit 15
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  Helena Agri-Enterprises, LLC


   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Health Savings Account
   Option 1 Plan


  EFFECTIVE DATE: January 1, 2022




   ASO56a
   3196392




   This document printed in June, 2022 takes the place of any documents previously issued to you which
   described your benefits.



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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY HELENA AGRI-ENTERPRISES, LLC
WHICH IS RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE
COMPANY (CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA
DOES NOT INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
Care Management and Care Coordination Services                           the Prescription Drug List. These rebates or remuneration are
                                                                         not obtained on you or your Employer’s or plan’s behalf or for
Your plan may enter into specific collaborative arrangements
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
with health care professionals committed to improving quality
                                                                         to pass these rebates on to you, or apply them to your plan’s
care, patient satisfaction and affordability. Through these
                                                                         Deductible if any or take them into account in determining
collaborative arrangements, health care professionals commit
                                                                         your Copayments and/or Coinsurance.
to proactively providing participants with certain care
management and care coordination services to facilitate                  Cigna and its affiliates or designees, conduct business with
achievement of these goals. Reimbursement is provided at                 various pharmaceutical manufacturers separate and apart from
100% for these services when rendered by designated health               this plan’s Medical Pharmaceutical and Prescription Drug
care professionals in these collaborative arrangements.                  Product benefits. Such business may include, but is not limited
                                                                         to, data collection, consulting, educational grants and research.
                                                                         Amounts received from pharmaceutical manufacturers
HC-SPP27                                                    06-15        pursuant to such arrangements are not related to this plan.
                                                                V1       Cigna and its affiliates are not required to pass on to you, and
                                                                         do not pass on to you, such amounts.
                                                                         Coupons, Incentives and Other Communications
Important Notices                                                        At various times, Cigna or its designee may send mailings to
Direct Access to Obstetricians and Gynecologists                         you or your Dependents or to your Physician that
                                                                         communicate a variety of messages, including information
You do not need prior authorization from the plan or from any
                                                                         about Medical Pharmaceuticals and Prescription Drug
other person (including a primary care provider) in order to
                                                                         Products. These mailings may contain coupons or offers from
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           pharmaceutical manufacturers that enable you or your
                                                                         Dependents, at your discretion, to purchase the described
or gynecology. The health care professional, however, may be
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
required to comply with certain procedures, including
                                                                         discount or to obtain it at no charge. Pharmaceutical
obtaining prior authorization for certain services, following a
                                                                         manufacturers may pay for and/or provide the content for
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         these mailings. Cigna, its affiliates and the plan are not
who specialize in obstetrics or gynecology, visit                        responsible in any way for any decision you make in
                                                                         connection with any coupon, incentive, or other offer you may
www.mycigna.com or contact customer service at the phone
                                                                         receive from a pharmaceutical manufacturer or Physician.
number listed on the back of your ID card.
                                                                         If Cigna determines that a Pharmacy, pharmaceutical
Selection of a Primary Care Provider
                                                                         manufacturer or other third party is or has waived, reduced, or
This plan generally allows the designation of a primary care             forgiven any portion of the charges and/or any portion of
provider. You have the right to designate any primary care               Copayment, Deductible, and/or Coinsurance amount(s) you
provider who participates in the network and who is available            are required to pay for a Prescription Drug Product without
to accept you or your family members. For information on                 Cigna’s express consent, then Cigna in its sole discretion shall
how to select a primary care provider, and for a list of the             have the right to deny the payment of plan benefits in
participating primary care providers, visit www.mycigna.com              connection with the Prescription Drug Product, or reduce the
or contact customer service at the phone number listed on the            benefits in proportion to the amount of the Copayment,
back of your ID card.                                                    Deductible, and/or Coinsurance amounts waived, forgiven or
For children, you may designate a pediatrician as the primary            reduced, regardless of whether the Pharmacy, pharmaceutical
care provider.                                                           manufacturer or other third party represents that you remain
                                                                         responsible for any amounts that your plan does not cover. In
                                                                         the exercise of that discretion, Cigna shall have the right to
HC-NOT5                                                     01-11
                                                                         require you to provide proof sufficient to Cigna that you have



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made your required cost share payment(s) prior to the payment              Services, Office for Civil Rights electronically through the
of any benefits by the plan.                                               Office for Civil Rights Complaint Portal, available at:
For example, if you use a coupon provided by a                             https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
pharmaceutical manufacturer or other third party that                      phone at:
discounts the cost of a Prescription Drug Product, Cigna may,                U.S. Department of Health and Human Services
in its sole discretion, reduce the benefits provided under the               200 Independence Avenue, SW
plan in proportion to the amount of the Copayment,                           Room 509F, HHH Building
Deductible, and/or Coinsurance amounts to which the value of                 Washington, D.C. 20201
the coupon has been applied by the Pharmacy or other third                   1-800-368-1019, 800-537-7697 (TDD)
party, and/or exclude from accumulation toward any plan                    Complaint forms are available at
Deductible or Out-of-Pocket Maximum the value of any                       http://www.hhs.gov/ocr/office/file/index.html.
coupon applied to any Copayment, Deductible and/or
Coinsurance you are required to pay.
                                                                           HC-NOT96                                                        07-17


HC-IMP304                                                      01-22
                                                                           Proficiency of Language Assistance Services
Discrimination is Against the Law                                          English – ATTENTION: Language assistance services, free
                                                                           of charge, are available to you. For current Cigna customers,
Cigna complies with applicable Federal civil rights laws and               call the number on the back of your ID card. Otherwise, call
does not discriminate on the basis of race, color, national                1.800.244.6224 (TTY: Dial 711).
origin, age, disability or sex. Cigna does not exclude people or
treat them differently because of race, color, national origin,            Spanish – ATENCIÓN: Hay servicios de asistencia de
age, disability or sex.                                                    idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           Cigna, llame al número que figura en el reverso de su tarjeta
Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
     Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
     Written information in other formats (large print, audio,            其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
     Qualified interpreters                                               khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
Customer Service Associate for assistance.                                 가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,
                                                                           (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
    Cigna                                                                  ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Nondiscrimination Complaint Coordinator                                kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
If you need assistance filing a written grievance, please call             плане Cigna, позвоните по номеру, указанному на
the number on the back of your ID card or send an email to                 обратной стороне вашей идентификационной карточки
ACAGrievance@cigna.com. You can also file a civil rights                   участника плана. Если вы не являетесь участником одного
complaint with the U.S. Department of Health and Human



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из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).




                                                                      HC-NOT97                                                     07-17
French Creole – ATANSYON: Gen sèvis èd nan lang ki
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                     Mental Health Parity and Addiction Equity Act of 2008
(TTY: Rele 711).                                                      (MHPAEA) - Non-Quantitative Treatment Limitations
French – ATTENTION: Des services d’aide linguistique vous             (NQTLs)
sont proposés gratuitement. Si vous êtes un client actuel de          Federal MHPAEA regulations provide that a plan cannot
Cigna, veuillez appeler le numéro indiqué au verso de votre           impose a Non-Quantitative Treatment Limitation (NQTL) on
carte d’identité. Sinon, veuillez appeler le numéro                   mental health or substance use disorder (MH/SUD) benefits in
1.800.244.6224 (ATS : composez le numéro 711).                        any classification unless the processes, strategies, evidentiary
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                   standards, or other factors used in applying the NQTL to
assistência linguística, totalmente gratuitos. Para clientes          MH/SUD benefits are comparable to, and are applied no more
Cigna atuais, ligue para o número que se encontra no verso do         stringently than, those used in applying the NQTL to
seu cartão de identificação. Caso contrário, ligue para               medical/surgical benefits in the same classification of benefits
1.800.244.6224 (Dispositivos TTY: marque 711).                        as written and in operation under the terms of the plan.
Polish – UWAGA: w celu skorzystania z dostępnej,                      Non-Quantitative Treatment Limitations (NQTLs) include:
bezpłatnej pomocy językowej, obecni klienci firmy Cigna                  Medical management standards limiting or excluding
mogą dzwonić pod numer podany na odwrocie karty                           benefits based on Medical Necessity or whether the
identyfikacyjnej. Wszystkie inne osoby prosimy o                          treatment is experimental or investigative;
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                 Prescription drug formulary design;
Japanese –                                                               Network admission standards;
注意事項：日本語を話される場合、無料の言語支援サー
                                                                         Methods for determining in-network and out-of-network
ビスをご利用いただけます。現在のCignaの                                                    provider reimbursement rates;
お客様は、IDカード裏面の電話番号まで、お電話にてご
                                                                         Step therapy a/k/a fail-first requirements; and
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                     Exclusions and/or restrictions based on geographic location,
                                                                          facility type or provider specialty.
Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,         A description of your plan’s NQTL methodologies and
chiamare il numero sul retro della tessera di identificazione.        processes applied to medical/surgical benefits and MH/SUD
In caso contrario, chiamare il numero 1.800.244.6224 (utenti          benefits is available for review by Plan Administrators (e.g.
TTY: chiamare il numero 711).                                         employers) and covered persons by accessing the appropriate
                                                                      link below:
German – ACHTUNG: Die Leistungen der
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                 Employers (Plan Administrators):
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die              https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                  Log in, select Resources and Training, then select the
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                  NQTL document.
Sie 711).                                                                 Covered Persons: www.cigna.com\sp




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To determine which document applies to your plan, select the              WARNING: Any person who knowingly and with intent to
relevant health plan product; medical management model                    defraud any insurance company or other person files an
(inpatient only or inpatient and outpatient) which can be                 application for insurance or statement of claim containing any
located in this booklet immediately following The Schedule;               materially false information; or conceals for the purpose of
and pharmacy coverage (whether or not your plan includes                  misleading, information concerning any material fact thereto,
pharmacy coverage).                                                       commits a fraudulent insurance act.


HC-NOT113                                                    01-20        HC-CLM25                                                     01-11
                                                                                                                                        V11




How To File Your Claim
There’s no paperwork for In-Network care. Just show your                  Eligibility - Effective Date
identification card and pay your share of the cost, if any; your
provider will submit a claim to Cigna for reimbursement. Out-             Employee Insurance
of-Network claims can be submitted by the provider if the                 This plan is offered to you as an Employee.
provider is able and willing to file on your behalf. If the
                                                                          Eligibility for Employee Insurance
provider is not submitting on your behalf, you must send your
completed claim form and itemized bills to the claims address             You will become eligible for insurance on the day you
listed on the claim form.                                                 complete the waiting period if:
You may get the required claim forms from the website listed                 you are in a Class of Eligible Employees as determined by
on your identification card or by using the toll-free number on               your Employer; and
your identification card.                                                    you are an eligible Employee as determined by your
CLAIM REMINDERS                                                               Employer; and
 BE SURE TO USE YOUR MEMBER ID AND                                          you pay any required contribution.
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                      If you were previously insured and your insurance ceased, you
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                   must satisfy the Waiting Period to become insured again. If
  YOUR CIGNA CLAIM OFFICE.                                                your insurance ceased because you were no longer employed
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                in a Class of Eligible Employees, you are not required to
    BENEFIT IDENTIFICATION CARD.                                          satisfy any waiting period if you again become a member of a
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON                                 Class of Eligible Employees within one year after your
    YOUR BENEFIT IDENTIFICATION CARD.                                     insurance ceased.
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED                             Eligibility for Dependent Insurance
    ON THE BACK OF THE CLAIM FORM CAREFULLY                               You will become eligible for Dependent Insurance on the later
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     of:
Timely Filing of Out-of-Network Claims                                       the day you become eligible for yourself; or
Cigna will consider claims for coverage under our plans when                 the day you acquire your first Dependent.
proof of loss (a claim) is submitted within 180 days for Out-
of-Network benefits after services are rendered. If services are          Waiting Period
rendered on consecutive days, such as for a Hospital
                                                                          A period of time as determined by your Employer.
Confinement, the limit will be counted from the last date of
service. If claims are not submitted within 180 days for Out-             Classes of Eligible Employees
of-Network benefits, the claim will not be considered valid               Each Employee as reported to the insurance company by your
and will be denied.                                                       Employer.
                                                                          Effective Date of Employee Insurance
                                                                          You will become insured on the date you elect the insurance
                                                                          by signing an approved payroll deduction or enrollment form,
                                                                          as applicable, but no earlier than the date you become eligible.




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You will become insured on your first day of eligibility,                   Opportunity to Select a Primary Care Physician
following your election, if you are in Active Service on that               Choice of Primary Care Physician:
date, or if you are not in Active Service on that date due to
your health status.                                                         This medical plan does not require that you select a Primary
                                                                            Care Physician or obtain a referral from a Primary Care
Late Entrant - Employee                                                     Physician in order to receive all benefits available to you
You are a Late Entrant if:                                                  under this medical plan. Notwithstanding, a Primary Care
   you elect the insurance more than 30 days after you become              Physician may serve an important role in meeting your health
    eligible; or                                                            care needs by providing or arranging for medical care for you
                                                                            and your Dependents. For this reason, we encourage the use of
   you again elect it after you cancel your payroll deduction (if          Primary Care Physicians and provide you with the opportunity
    required).                                                              to select a Primary Care Physician from a list provided by
                                                                            Cigna for yourself and your Dependents. If you choose to
Dependent Insurance                                                         select a Primary Care Physician, the Primary Care Physician
For your Dependents to be insured, you will have to pay the                 you select for yourself may be different from the Primary Care
required contribution, if any, toward the cost of Dependent                 Physician you select for each of your Dependents.
Insurance.                                                                  Changing Primary Care Physicians:
Effective Date of Dependent Insurance                                       You may request a transfer from one Primary Care Physician
Insurance for your Dependents will become effective on the                  to another by contacting us at the member services number on
date you elect it by signing an approved payroll deduction                  your ID card. Any such transfer will be effective on the first
form (if required), but no earlier than the day you become                  day of the month following the month in which the processing
eligible for Dependent Insurance. All of your Dependents as                 of the change request is completed.
defined will be included.                                                   In addition, if at any time a Primary Care Physician ceases to
Your Dependents will be insured only if you are insured.                    be a Participating Provider, you or your Dependent will be
                                                                            notified for the purpose of selecting a new Primary Care
Late Entrant – Dependent
                                                                            Physician.
You are a Late Entrant for Dependent Insurance if:
   you elect that insurance more than 30 days after you
                                                                            HC-IMP212                                                   01-18
    become eligible for it; or
   you again elect it after you cancel your payroll deduction (if
    required).
Exception for Newborns
Any Dependent child born while you are insured will become
insured on the date of his birth if you elect Dependent
Insurance no later than 31 days after his birth. If you do not
elect to insure your newborn child within such 31 days,
coverage for that child will end on the 31st day. No benefits
for expenses incurred beyond the 31st day will be payable.


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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.




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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.

Contract Year
Contract Year means a twelve month period beginning on each 01/01.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Any benefit deductibles.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .




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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
Note:
For information about your health fund benefit and how it can help you pay for expenses that may not be covered under
this plan, refer to “What You Should Know about Cigna Choice Fund”.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited



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      BENEFIT HIGHLIGHTS                   IN-NETWORK                    OUT-OF-NETWORK
The Percentage of Covered Expenses   85%                          65% of the Maximum Reimbursable
the Plan Pays                                                     Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-      Not Applicable                  80th Percentile
Network provider and Cigna, or a
policyholder-selected percentile of
charges made by providers of such
service or supply in the geographic area
where it is received as compiled in a
database selected by Cigna. If sufficient
charge data is unavailable in the
database for that geographic area to
determine the Maximum Reimbursable
Charge, then state, regional or national
charge data may be used. If sufficient
charge data is unavailable in the
database for that geographic area to
determine the Maximum Reimbursable
Charge, then data in the database for
similar services may be used.

Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles and/or
coinsurance.
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Contract Year Deductible
  Individual                              $1,500 per person                $3,000 per person

  Family Maximum                          $3,000 per family                $6,000 per family

  Family Maximum Calculation
  Collective Deductible:
  All family members contribute
  towards the family deductible. An
  individual cannot have claims
  covered under the plan coinsurance
  until the total family deductible has
  been satisfied.
Combined Medical/Pharmacy
Contract Year Deductible
  Combined Medical/Pharmacy               Yes                              In-Network coverage only
  Deductible: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs            Yes                              In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Deductible
Combined Out-of-Pocket Maximum
for Medical and Pharmacy expenses
  Individual – Employee Only              $4,000 per person                $10,500 per person
  Individual – within a Family            $6,550 per person                $21,000 per person
  Family Maximum                          $8,000 per family                $21,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-         Yes                                   In-Network coverage only
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs           Yes                                   In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office        85% after plan deductible             65% of the Maximum Reimbursable
  Visit                                                                        Charge after plan deductible


  Specialty Care Physician’s Office      85% after plan deductible             65% of the Maximum Reimbursable
  Visits                                                                       Charge after plan deductible
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   85% after plan deductible             65% of the Maximum Reimbursable
  Office                                                                       Charge after plan deductible
  Second Opinion Consultations           85% after plan deductible             65% of the Maximum Reimbursable
  (provided on a voluntary basis)                                              Charge after plan deductible
  Allergy Treatment/Injections           85% after plan deductible             65% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Allergy Serum (dispensed by the        85% after plan deductible             65% of the Maximum Reimbursable
  Physician in the office)                                                     Charge after plan deductible
Convenience Care Clinic                  85% after plan deductible             65% of the Maximum Reimbursable
                                                                               Charge after plan deductible




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        BENEFIT HIGHLIGHTS                               IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
Urgent Virtual Care Services                 85% after plan deductible             In-Network coverage only

    Notes:
    Dedicated Virtual Providers may
    deliver services that are payable
    under other benefits (e.g., Preventive
    Care, Primary Care Physician,
    Behavioral; Dermatology/Specialty
    Care Physician).
    Lab services supporting a virtual
    visit must be obtained through
    dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                     85% after plan deductible             65% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
.
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
    Routine Preventive Care - all ages       No charge                             In-Network coverage only
    Immunizations - all ages                 No charge                             In-Network coverage only
Mammograms, PSA, PAP Smear
    Preventive Care Related Services         No charge                             65% of the Maximum Reimbursable
    (i.e. “routine” services)                                                      Charge after plan deductible
    Diagnostic Related Services (i.e.        Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
    “non-routine” services)                  benefit; based on place of service    benefit; based on place of service
.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Inpatient Hospital – Facility Services   85% after plan deductible             65% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Semi-Private Room and Board            Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate        Limited to the ICU/CCU daily room
                                                                               rate

Outpatient Facility Services
 Operating Room, Recovery Room,          85% after plan deductible             65% of the Maximum Reimbursable
 Procedures Room, Treatment Room                                               Charge after plan deductible
 and Observation Room
Inpatient Hospital Physician’s           85% after plan deductible             65% of the Maximum Reimbursable
Visits/Consultations                                                           Charge after plan deductible

Inpatient Hospital Professional          85% after plan deductible             65% of the Maximum Reimbursable
Services                                                                       Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services         85% after plan deductible             65% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Urgent Care Services
  Physician’s Office Visit               85% after plan deductible             85% of the Maximum Reimbursable
                                                                               Charge after plan deductible
  Urgent Care Facility or Outpatient     85% after plan deductible             85% of the Maximum Reimbursable
  Facility                                                                     Charge after plan deductible

  Outpatient Professional Services       85% after plan deductible             85% of the Maximum Reimbursable
  (radiology, pathology, physician)                                            Charge after plan deductible
  X-ray and/or Lab performed at the      85% after plan deductible             85% of the Maximum Reimbursable
  Urgent Care Facility (billed by the                                          Charge after plan deductible
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.    85% after plan deductible             85% of the Maximum Reimbursable
  MRIs, MRAs, CAT Scans, PET                                                   Charge after plan deductible
  Scans etc.)




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Emergency Services
  Physician’s Office Visit                85% after plan deductible             85% after plan deductible
  Hospital Emergency Room                 85% after plan deductible             85% after plan deductible

  Outpatient Professional Services        85% after plan deductible             85% after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       85% after plan deductible             85% after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            85% after plan deductible             85% after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     85% after plan deductible             85% after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             85% after plan deductible             85% after plan deductible

Ambulance                                 85% after plan deductible             85% of the Maximum Reimbursable
                                                                                Charge after plan deductible

Inpatient Services at Other Health        85% after plan deductible             65% of the Maximum Reimbursable
Care Facilities                                                                 Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Contract Year Maximum:
. 90 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit               85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Hospital Facility            85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Independent X-ray and/or Lab            85% after plan deductible             65% of the Maximum Reimbursable
  Facility                                                                      Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Inpatient Facility                      85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Facility                     85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible



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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services                85% after plan deductible             65% of the Maximum Reimbursable
  Contract Year Maximum:                                                         Charge after plan deductible
  60 days for all therapies combined
  (The limit is not applicable to mental
  health conditions.)
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          85% after plan deductible             65% of the Maximum Reimbursable
  Contract Year Maximum:                                                         Charge after plan deductible
  36 days
Chiropractic Care
  Contract Year Maximum:
  25 days
  Physician’s Office Visit                 85% after plan deductible             65% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Home Health Care Services
  Contract Year Maximum:                   85% after plan deductible             65% of the Maximum Reimbursable
  Unlimited (includes outpatient                                                 Charge after plan deductible
  private nursing when approved as
  Medically Necessary)
 .
Hospice
 Inpatient Services                        85% after plan deductible             65% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Services                      85% after plan deductible             65% of the Maximum Reimbursable
  (same coinsurance level as Home                                                Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                85% after plan deductible             65% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient                               85% after plan deductible             65% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Services provided by Mental Health         Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost     In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        85% after plan deductible               In-Network coverage only
  Outpatient Facility                       85% after plan deductible               In-Network coverage only
  Physician’s Services                      85% after plan deductible               In-Network coverage only
  Travel Maximum:                           No charge after plan deductible         In-Network coverage only
  $10,000 per episode of gene therapy       (available only for travel when prior
                                            authorized to receive gene therapy at
                                            a participating In-Network facility
                                            specifically contracted with Cigna to
                                            provide the specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         85% after plan deductible               65% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           85% after plan deductible               65% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                  Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     85% after plan deductible               65% of the Maximum Reimbursable
  to the global maternity fee when                                                  Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       85% after plan deductible               65% of the Maximum Reimbursable
  (Inpatient Hospital, Birthing Center)                                             Charge after plan deductible




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                       OUT-OF-NETWORK
Abortion
Includes only non-elective procedures
  Physician’s Office Visit                85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Inpatient Facility                      85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Facility                     85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Physician’s Services                    85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                             65% of the Maximum Reimbursable
  Tests and Counseling                                                          Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Inpatient Facility                    No charge                             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Outpatient Facility                   No charge                             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Physician’s Services                  No charge                             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Men’s Family Planning Services
  Office Visits, Lab and Radiology        85% after plan deductible             65% of the Maximum Reimbursable
  Tests and Counseling                                                          Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Inpatient Facility                    85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Outpatient Facility                   85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible
    Physician’s Services                  85% after plan deductible             65% of the Maximum Reimbursable
                                                                                Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and           85% after plan deductible                  65% of the Maximum Reimbursable
    Radiology Tests, Counseling)                                                           Charge after plan deductible
    Inpatient Facility                          85% after plan deductible                  65% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Outpatient Facility                         85% after plan deductible                  65% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Physician’s Services                        85% after plan deductible                  65% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
  Lifetime Maximum:
  $25,000 per member
  Includes all related services billed
  with an infertility diagnosis (i.e. x-
  ray or lab services billed by an
  independent facility).
  .
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
    Physician’s Office Visit                    85% after plan deductible                  In-Network coverage only
    Inpatient Facility                          100% at LifeSOURCE center after            In-Network coverage only
                                                plan deductible, otherwise 85% after
                                                plan deductible
    Physician’s Services                        100% at LifeSOURCE center after            In-Network coverage only
                                                plan deductible, otherwise 85% after
                                                plan deductible
    Lifetime Travel Maximum:                    No charge after plan deductible (only      In-Network coverage only
    $10,000 per transplant                      available when using LifeSOURCE
  .                                             facility)
Durable Medical Equipment
    Contract Year Maximum:                      85% after plan deductible                  65% of the Maximum Reimbursable
    Unlimited
    .                                                                                      Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                       OUT-OF-NETWORK
Outpatient Dialysis Services
 Physician's Office Visit               85% after plan deductible             65% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Outpatient Facility                   85% after plan deductible             65% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Physician's Services                  85% after plan deductible             65% of the Maximum Reimbursable
                                                                              Charge after plan deductible
  Home Setting                          85% after plan deductible             65% of the Maximum Reimbursable
                                                                              Charge after plan deductible
Breast Feeding Equipment and
Supplies
  Note:                                 No charge                             In-Network coverage only
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                               IN-NETWORK                        OUT-OF-NETWORK
Foot Orthotics
  Contract Year Maximum:                    85% after plan deductible             65% of the Maximum Reimbursable
  $500                                                                            Charge after plan deductible

Hearing Aids
  Note:                                     85% after plan deductible             65% of the Maximum Reimbursable
  Limited to $3,000 every three                                                   Charge after plan deductible
  contract years.                           Note: Dollar maximum does not
  .                                         apply to those under the age of 18.
External Prosthetic Appliances
  Contract Year Maximum:                    85% after plan deductible             65% of the Maximum Reimbursable
  Unlimited                                                                       Charge after plan deductible
Wigs
 Note:                                      85% after plan deductible             65% of the Maximum Reimbursable
 Limited to 1 wig up to a $500                                                    Charge after plan deductible
 maximum every 3 year.
Nutritional Counseling
  Contract Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Inpatient Facility                        85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Outpatient Facility                       85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician’s Services                      85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
Genetic Counseling
  Contract Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Inpatient Facility                        85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Outpatient Facility                       85% after plan deductible             65% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician’s Services                      85% after plan deductible             65% of the Maximum Reimbursable
  .                                                                               Charge after plan deductible


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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 85% after plan deductible                 65% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Inpatient Facility                        85% after plan deductible                 65% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Outpatient Facility                       85% after plan deductible                 65% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Physician’s Services                      85% after plan deductible                 65% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  85% after plan deductible                 In-Network coverage only
  Inpatient Facility                        85% after plan deductible                 In-Network coverage only
  Outpatient Facility                       85% after plan deductible                 In-Network coverage only

  Physician’s Services                      85% after plan deductible                 In-Network coverage only
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              85% after plan deductible             65% of the Maximum Reimbursable
   Includes Acute Inpatient and                                               Charge after plan deductible
   Residential Treatment

   Contract Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           85% after plan deductible             65% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Contract Year Maximum:
    Unlimited
    Outpatient - All Other Services     85% after plan deductible             65% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Contract Year Maximum:
    Unlimited
      .
Substance Use Disorder
  Inpatient                             85% after plan deductible             65% of the Maximum Reimbursable
    Includes Acute Inpatient                                                  Charge after plan deductible
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Contract Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           85% after plan deductible             65% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Contract Year Maximum:
    Unlimited
    Outpatient - All Other Services     85% after plan deductible             65% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Contract Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                          Prior Authorization/Pre-Authorized
Certification Requirements - Out-of-Network                                The term Prior Authorization means the approval that a
                                                                           Participating Provider must receive from the Review
For You and Your Dependents                                                Organization, prior to services being rendered, in order for
Pre-Admission Certification/Continued Stay Review for                      certain services and benefits to be covered under this policy.
Hospital Confinement                                                       Services that require Prior Authorization include, but are not
Pre-Admission Certification (PAC) and Continued Stay                       limited to:
Review (CSR) refer to the process used to certify the Medical                 inpatient Hospital services, except for 48/96 hour maternity
Necessity and length of a Hospital Confinement when you or                     stays.
your Dependent require treatment in a Hospital:
                                                                              inpatient services at any participating Other Health Care
   as a registered bed patient, except for 48/96 hour maternity               Facility.
    stays;
                                                                              residential treatment.
   for Mental Health or Substance Use Disorder Residential
                                                                              non-emergency Ambulance.
    Treatment Services.
You or your Dependent should request PAC prior to any non-
emergency treatment in a Hospital described above. In the                  HC-PRA55                                                        01-21

case of an emergency admission, you should contact the
Review Organization within 48 hours after the admission. For
an admission due to pregnancy, you should call the Review                  Covered Expenses
Organization by the end of the third month of pregnancy. CSR
should be requested, prior to the end of the certified length of           The term Covered Expenses means expenses incurred by a
stay, for continued Hospital Confinement.                                  person while covered under this plan for the charges listed
                                                                           below for:
Covered Expenses incurred will not include the first $500 of
Hospital charges made for each separate admission to the                      preventive care services; and
Hospital unless PAC is received: prior to the date of                         services or supplies that are Medically Necessary for the
admission; or in the case of an emergency admission, within                    care and treatment of an Injury or a Sickness, as determined
48 hours after the date of admission.                                          by Cigna.
Covered Expenses incurred for which benefits would                         As determined by Cigna, Covered Expenses may also include
otherwise be payable under this plan for the charges listed                all charges made by an entity that has directly or indirectly
below will be reduced by 50%:                                              contracted with Cigna to arrange, through contracts with
   Hospital charges for Bed and Board, for treatment listed               providers of services and/or supplies, for the provision of any
    above for which PAC was performed, which are made for                  services and/or supplies listed below. Any applicable
    any day in excess of the number of days certified through              Copayments, Deductibles or limits are shown in The
    PAC or CSR; and                                                        Schedule.
   any Hospital charges for treatment listed above for which              Covered Expenses
    PAC was requested, but which was not certified as                       charges for inpatient Room and Board and other Necessary
    Medically Necessary.                                                     Services and Supplies made by a Hospital, subject to the
PAC and CSR are performed through a utilization review                       limits as shown in The Schedule.
program by a Review Organization with which Cigna has                         charges for inpatient Room and Board and other Necessary
contracted.                                                                    Services and Supplies made by an Other Health Care
In any case, those expenses incurred for which payment is                      Facility, including a Skilled Nursing Facility, a
excluded by the terms set forth above will not be considered as                Rehabilitation Hospital or a subacute facility as shown in
expenses incurred for the purpose of any other part of this                    The Schedule.
plan, except for the "Coordination of Benefits" section.                      charges for licensed Ambulance service to the nearest
                                                                               Hospital where the needed medical care and treatment can
                                                                               be provided.
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                                                                              charges for outpatient medical care and treatment received
                                                                               at a Hospital.


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   charges for outpatient medical care and treatment received                with respect to women, evidence-informed preventive
    at a Free-Standing Surgical Facility.                                      care and screening guidelines supported by the Health
   charges for Emergency Services.                                            Resources and Services Administration.
   charges for Urgent Care.                                                 Detailed information is available at www.healthcare.gov.
                                                                             For additional information on immunizations, visit the
   charges by a Physician or a Psychologist for professional                immunization schedule section of www.cdc.gov.
    services.
                                                                            charges for surgical and non-surgical treatment of
   charges by a Nurse for professional nursing service.                     Temporomandibular Joint Dysfunction (TMJ).
   charges for anesthetics, including, but not limited to                  charges for hearing aids and associated exam for device
    supplies and their administration.                                       testing and fitting, for children through age 18, including
   charges for diagnostic x-ray.                                            but not limited to semi-implantable hearing devices, audiant
   charges for advanced radiological imaging, including for                 bone conductors and Bone Anchored Hearing Aids
    example CT Scans, MRI, MRA and PET scans and                             (BAHAs). A hearing aid is any device that amplifies sound.
    laboratory examinations, x-ray, radiation therapy and                   Medically Necessary orthognathic surgery to repair or
    radium and radioactive isotope treatment and other                       correct a severe facial deformity or disfigurement.
    therapeutic radiological procedures.                                 Virtual Care
   charges for chemotherapy.                                            Dedicated Virtual Providers
   charges for blood transfusions.                                      Charges for the delivery of medical and health-related services
   charges for oxygen and other gases and their administration.         and consultations by dedicated virtual providers as medically
   charges for Medically Necessary foot care for diabetes,              appropriate through audio, video, and secure internet-based
    peripheral neuropathies, and peripheral vascular disease.            technologies.
   charges for screening prostate-specific antigen (PSA)                Virtual Physician Services
    testing.                                                             Charges for the delivery of medical and health-related services
   charges for laboratory services, radiation therapy and other         and consultations as medically appropriate through audio,
    diagnostic and therapeutic radiological procedures.                  video, and secure internet-based technologies that are similar
                                                                         to office visit services provided in a face-to-face setting.
   charges made for Family Planning, including medical
    history, physical exam, related laboratory tests, medical            Charges for behavioral consultations and services via secure
    supervision in accordance with generally accepted medical            telecommunications technologies that shall include video
    practices, other medical services, information and                   capability, including telephones and internet, when delivered
    counseling on contraception, implanted/injected                      through a behavioral provider.
    contraceptives, after appropriate counseling, medical                Convenience Care Clinic
    services connected with surgical therapies (tubal ligations,         Convenience Care Clinics provide for common ailments and
    vasectomies).                                                        routine services, including but not limited to, strep throat, ear
   charges for abortion when a Physician certifies in writing           infections or pink eye, immunizations and flu shots.
    that the pregnancy would endanger the life of the mother, or         Nutritional Counseling
    when the expenses are incurred to treat medical
    complications due to abortion.                                       Charges for nutritional counseling when diet is a part of the
                                                                         medical management of a medical or behavioral condition.
   charges for the following preventive care services as
    defined by recommendations from the following:                       Enteral Nutrition
     the U.S. Preventive Services Task Force (A and B                   Enteral Nutrition means medical foods that are specially
      recommendations);                                                  formulated for enteral feedings or oral consumption.
     the Advisory Committee on Immunization Practices                   Coverage includes medically approved formulas prescribed by
      (ACIP) for immunizations;                                          a Physician for treatment of inborn errors of metabolism (e.g.,
                                                                         disorders of amino acid or organic acid metabolism).
     the American Academy of Pediatrics’ Periodicity
      Schedule of the Bright Futures Recommendations for                 Internal Prosthetic/Medical Appliances
      Pediatric Preventive Health Care;                                  Charges for internal prosthetic/medical appliances that provide
     the Uniform Panel of the Secretary’s Advisory Committee            permanent or temporary internal functional supports for non-
      on Heritable Disorders in Newborns and Children; and               functional body parts are covered. Medically Necessary repair,



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maintenance or replacement of a covered appliance is also                     Home Health Care Services, for a patient who is dependent
covered.                                                                      upon others for non-skilled care and/or Custodial Services, is
                                                                              provided only when there is a family member or caregiver
                                                                              present in the home at the time of the health care visit to
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                                                                              provide the non-skilled care and/or Custodial Services.

Home Health Care Services
                                                                              HC-COV1123                                                       01-22
Charges for skilled care provided by certain health care
providers during a visit to the home, when the home is
determined to be a medically appropriate setting for the                      Hospice Care Services
services. A visit is defined as a period of 2 hours or less.                  Charges for services for a person diagnosed with advanced
Home Health Care Services are subject to a maximum of 16                      illness having a life expectancy of twelve or fewer months.
hours in total per day.                                                       Services provided by a Hospice Care Program are available to
Home Health Care Services are covered when skilled care is                    those who have ceased treatment and to those continuing to
required under any of the following conditions:                               receive curative treatment and therapies.
   the required skilled care cannot be obtained in an outpatient             Hospice Care Programs rendered by Hospice Facilities or
    facility.                                                                 Hospitals include services:
   confinement in a Hospital or Other Health Care Facility is                   by a Hospice Facility for Room and Board and Services and
    not required.                                                                 Supplies;
   the patient’s home is determined by Cigna to be the most                     by a Hospice Facility for services provided on an outpatient
    medically appropriate place to receive specific services.                     basis;
Covered services include:                                                        by a Physician for professional services;
   skilled nursing services provided by a Registered Nurse                      by a Psychologist, social worker, family counselor or
    (RN), Licensed Practical Nurse (LPN), Licensed Vocational                     ordained minister for individual and family counseling;
    Nurse (LVN) and an Advanced Practice Registered Nurse                        for pain relief treatment, including drugs, medicines and
    (APRN).                                                                       medical supplies;
   services provided by health care providers such as physical               Hospice Care Programs rendered by Other Health Care
    therapist, occupational therapist and speech therapist.                   Facilities or in the Home include services:
   services of a home health aide when provided in direct                       for part-time or intermittent nursing care by or under the
    support of those nurses and health care providers.                            supervision of a Nurse;
   necessary consumable medical supplies and home infusion                      for part-time or intermittent services of an Other Health
    therapy administered or used by a health care provider.                       Professional;
Note: Physical, occupational, and other Outpatient Therapy                       physical, occupational and speech therapy;
Services provided in the home are covered under the                              medical supplies;
Outpatient Therapy Services benefit shown in The Schedule.
                                                                                 drugs and medicines lawfully dispensed only on the written
The following are excluded from coverage:                                         prescription of a Physician;
   services provided by a person who is a member of the                         laboratory services;
    patient’s family, even when that person is a health care
    provider.                                                                     but only to the extent such charges would have been
                                                                                  payable under the policy if the person had remained or been
   services provided by a person who normally resides in the                     Confined in a Hospital or Hospice Facility.
    patient’s house, even when that person is a health care
    provider.                                                                 The following charges for Hospice Care Services are not
                                                                              included as Covered Expenses:
   non-skilled care, Custodial Services, and assistance in the
    activities of daily living, including but not limited to eating,             services of a person who is a member of your family or your
    bathing, dressing or other services; self-care activities;                    Dependent's family or who normally resides in your house
    homemaker services; and services primarily for rest,                          or your Dependent's house;
    domiciliary or convalescent care.                                            services for any period when you or your Dependent is not
                                                                                  under the care of a Physician;



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   services or supplies not listed in the Hospice Care Program;               Hospitalization or Intensive Outpatient Therapy Program.
   to the extent that any other benefits are payable for those                Covered services include, but are not limited to, outpatient
    expenses under the policy;                                                 treatment of conditions such as: anxiety or depression which
                                                                               interfere with daily functioning; emotional adjustment or
   services or supplies that are primarily to aid you or your                 concerns related to chronic conditions, such as psychosis or
    Dependent in daily living.                                                 depression; emotional reactions associated with marital
                                                                               problems or divorce; child/adolescent problems of conduct or
HC-COV1180                                                        01-22        poor impulse control; affective disorders; suicidal or
                                                                               homicidal threats or acts; eating disorders; or acute
                                                                               exacerbation of chronic Mental Health conditions (crisis
Mental Health and Substance Use Disorder Services                              intervention and relapse prevention) and outpatient testing and
Mental Health Services are services that are required to treat                 assessment.
a disorder that impairs the behavior, emotional reaction or                    Mental Health Partial Hospitalization Services are rendered
thought processes. In determining benefits payable, charges                    not less than 4 hours and not more than 12 hours in any 24-
made for the treatment of any physiological conditions related                 hour period by a certified/licensed Mental Health program in
to Mental Health will not be considered to be charges made                     accordance with the laws of the appropriate legally authorized
for treatment of Mental Health.                                                agency.
Substance Use Disorder is defined as the psychological or                      A Mental Health Intensive Outpatient Therapy Program
physical dependence on alcohol or other mind-altering drugs                    consists of distinct levels or phases of treatment that are
that requires diagnosis, care, and treatment. In determining                   provided by a certified/licensed Mental Health program in
benefits payable, charges made for the treatment of any                        accordance with the laws of the appropriate, legally authorized
physiological conditions related to rehabilitation services for                agency. Intensive Outpatient Therapy Programs provide a
alcohol or drug abuse or addiction will not be considered to be                combination of individual, family and/or group therapy in a
charges made for treatment of Substance Use Disorder.                          day, totaling nine or more hours in a week.
Inpatient Mental Health Services                                               Inpatient Substance Use Disorder Rehabilitation Services
Services that are provided by a Hospital while you or your                     Services provided for rehabilitation, while you or your
Dependent is Confined in a Hospital for the treatment and                      Dependent is Confined in a Hospital, when required for the
evaluation of Mental Health. Inpatient Mental Health Services                  diagnosis and treatment of abuse or addiction to alcohol and/or
include Mental Health Residential Treatment Services.                          drugs. Inpatient Substance Use Disorder Services include
Mental Health Residential Treatment Services are services                      Residential Treatment services.
provided by a Hospital for the evaluation and treatment of the                 Substance Use Disorder Residential Treatment Services
psychological and social functional disturbances that are a                    are services provided by a Hospital for the evaluation and
result of subacute Mental Health conditions.                                   treatment of the psychological and social functional
Mental Health Residential Treatment Center means an                            disturbances that are a result of subacute Substance Use
institution which specializes in the treatment of psychological                Disorder conditions.
and social disturbances that are the result of Mental Health                   Substance Use Disorder Residential Treatment Center
conditions; provides a subacute, structured, psychotherapeutic                 means an institution which specializes in the treatment of
treatment program, under the supervision of Physicians;                        psychological and social disturbances that are the result of
provides 24-hour care, in which a person lives in an open                      Substance Use Disorder; provides a subacute, structured,
setting; and is licensed in accordance with the laws of the                    psychotherapeutic treatment program, under the supervision of
appropriate legally authorized agency as a residential                         Physicians; provides 24-hour care, in which a person lives in
treatment center.                                                              an open setting; and is licensed in accordance with the laws of
A person is considered confined in a Mental Health                             the appropriate legally authorized agency as a residential
Residential Treatment Center when she/he is a registered bed                   treatment center.
patient in a Mental Health Residential Treatment Center upon                   A person is considered confined in a Substance Use Disorder
the recommendation of a Physician.                                             Residential Treatment Center when she/he is a registered bed
Outpatient Mental Health Services                                              patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health                 Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you                   Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                        Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial                      Substance Use Disorder or addiction to alcohol and/or drugs,


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while you or your Dependent is not Confined in a Hospital,
including outpatient rehabilitation in an individual, or a                    Durable Medical Equipment
Substance Use Disorder Partial Hospitalization or Intensive
                                                                               charges made for purchase or rental of Durable Medical
Outpatient Therapy Program.
                                                                                Equipment that is ordered or prescribed by a Physician and
Substance Use Disorder Partial Hospitalization Services are                     provided by a vendor approved by Cigna for use outside a
rendered no less than 4 hours and not more than 12 hours in                     Hospital or Other Health Care Facility. Coverage for repair,
any 24-hour period by a certified/licensed Substance Use                        replacement or duplicate equipment is provided only when
Disorder program in accordance with the laws of the                             required due to anatomical change and/or reasonable wear
appropriate legally authorized agency.                                          and tear. All maintenance and repairs that result from a
A Substance Use Disorder Intensive Outpatient Therapy                           person’s misuse are the person’s responsibility.
Program consists of distinct levels or phases of treatment that               Durable Medical Equipment is defined as items which are
are provided by a certified/licensed Substance Use Disorder                   designed for and able to withstand repeated use by more than
program in accordance with the laws of the appropriate legally                one person; customarily serve a medical purpose; generally
authorized agency. Intensive Outpatient Therapy Programs                      are not useful in the absence of Injury or Sickness; are
provide a combination of individual, family and/or group                      appropriate for use in the home; and are not disposable. Such
therapy in a day, totaling nine, or more hours in a week.                     equipment includes, but is not limited to, crutches, hospital
Substance Use Disorder Detoxification Services                                beds, ventilators, insulin pumps and wheel chairs.
Detoxification and related medical ancillary services are                     Durable Medical Equipment items that are not covered include
provided when required for the diagnosis and treatment of                     but are not limited to those that are listed below:
addiction to alcohol and/or drugs. Cigna will decide, based on                   Bed Related Items: bed trays, over the bed tables, bed
the Medical Necessity of each situation, whether such services                    wedges, pillows, custom bedroom equipment, mattresses,
will be provided in an inpatient or outpatient setting.                           including nonpower mattresses, custom mattresses and
Exclusions                                                                        posturepedic mattresses.
The following are specifically excluded from Mental Health                       Bath Related Items: bath lifts, nonportable whirlpools,
and Substance Use Disorder Services:                                              bathtub rails, toilet rails, raised toilet seats, bath benches,
   treatment of disorders which have been diagnosed as                           bath stools, hand held showers, paraffin baths, bath mats,
    organic mental disorders associated with permanent                            and spas.
    dysfunction of the brain.                                                    Fixtures to Real Property: ceiling lifts and wheelchair
   developmental disorders, including but not limited to,                        ramps.
    developmental reading disorders, developmental arithmetic                  Car/Van Modifications.
    disorders, developmental language disorders or                             Air Quality Items: room humidifiers, vaporizers and air
    developmental articulation disorders.                                       purifiers.
   counseling for activities of an educational nature.                          Other Equipment: centrifuges, needleless injectors, heat
   counseling for borderline intellectual functioning.                           lamps, heating pads, cryounits, cryotherapy machines,
   counseling for occupational problems.                                         ultraviolet cabinets, that emit Ultraviolet A (UVA) rays
                                                                                  sheepskin pads and boots, postural drainage board, AC/DC
   counseling related to consciousness raising.                                  adaptors, scales (baby and adult), stair gliders, elevators,
   vocational or religious counseling.                                           saunas, cervical and lumbar traction devices, exercise
   I.Q. testing.                                                                 equipment and diathermy machines.
   custodial care, including but not limited to geriatric day
    care.                                                                     HC-COV1124                                                            02-21

   psychological testing on children requested by or for a
    school system.                                                            External Prosthetic Appliances and Devices
   occupational/recreational therapy programs even if                         charges made or ordered by a Physician for: the initial
    combined with supportive therapy for age-related cognitive                  purchase and fitting of external prosthetic appliances and
    decline.                                                                    devices available only by prescription which are necessary
                                                                                for the alleviation or correction of Injury, Sickness or
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                                                                                congenital defect.



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External prosthetic appliances and devices include                           maximums of the External Prosthetic Appliances and
prostheses/prosthetic appliances and devices; orthoses and                   Devices benefit;
orthotic devices; braces; and splints.                                      orthosis shoes, shoe additions, procedures for foot
Prostheses/Prosthetic Appliances and Devices                                 orthopedic shoes, shoe modifications and transfers;
Prostheses/prosthetic appliances and devices are defined as                 non-foot orthoses primarily used for cosmetic rather than
fabricated replacements for missing body parts.                              functional reasons; and
Prostheses/prosthetic appliances and devices include, but are               non-foot orthoses primarily for improved athletic
not limited to:                                                              performance or sports participation.
   limb prostheses;                                                     Braces
   terminal devices such as hands or hooks;                             A Brace is defined as an orthosis or orthopedic appliance that
   speech prostheses; and                                               supports or holds in correct position any movable part of the
   facial prostheses.                                                   body and that allows for motion of that part.
Orthoses and Orthotic Devices                                            The following braces are specifically excluded: Copes
                                                                         scoliosis braces.
Orthoses and orthotic devices are defined as orthopedic
appliances or apparatuses used to support, align, prevent or             Splints
correct deformities. Coverage is provided for custom foot                A Splint is defined as an appliance for preventing movement
orthoses and other orthoses as follows:                                  of a joint or for the fixation of displaced or movable parts.
   Non-foot orthoses – only the following non-foot orthoses             Coverage for replacement of external prosthetic appliances
    are covered:                                                         and devices is limited to the following:
     rigid and semi-rigid custom fabricated orthoses;                      replacement due to regular wear. Replacement for damage
     semi-rigid prefabricated and flexible orthoses; and                    due to abuse or misuse by the person will not be covered.
     rigid prefabricated orthoses including preparation, fitting           replacement required because anatomic change has rendered
      and basic additions, such as bars and joints.                          the external prosthetic appliance or device ineffective.
                                                                             Anatomic change includes significant weight gain or loss,
   Custom foot orthoses – custom foot orthoses are only                     atrophy and/or growth.
    covered as follows:
                                                                            replacement due to a surgical alteration or revision of the
     for persons with impaired peripheral sensation and/or
                                                                             impacted site.
      altered peripheral circulation (e.g. diabetic neuropathy
      and peripheral vascular disease);                                  Coverage for replacement is limited as follows:
     when the foot orthosis is an integral part of a leg brace             no more than once every 24 months for persons 19 years of
      and is necessary for the proper functioning of the brace;              age and older.
     when the foot orthosis is for use as a replacement or                 no more than once every 12 months for persons 18 years of
      substitute for missing parts of the foot (e.g. amputated               age and under.
      toes) and is necessary for the alleviation or correction of        The following are specifically excluded external prosthetic
      Injury, Sickness or congenital defect; and                         appliances and devices:
     for persons with neurologic or neuromuscular condition                external and internal power enhancements for external
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing              prosthetic devices; or
      spasticity, malalignment, or pathological positioning of              microprocessor controlled prostheses and orthoses; and
      the foot and there is reasonable expectation of
      improvement.                                                          myoelectric and orthoses.
The following are specifically excluded orthoses and orthotic
devices:                                                                 HC-COV1125                                                        01-22

   prefabricated foot orthoses;
   cranial banding and/or cranial orthoses. Other similar               Infertility Services
    devices are excluded except when used postoperatively for             charges made for services related to diagnosis of infertility
    synostotic plagiocephaly. When used for this indication, the           and treatment of infertility once a condition of infertility has
    cranial orthosis will be subject to the limitations and                been diagnosed. Services include, but are not limited to:
                                                                           infertility drugs which are administered or provided by a


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    Physician; approved surgeries and other therapeutic                      Cardiac Rehabilitation
    procedures that have been demonstrated in existing peer-                  Charges for Phase II cardiac rehabilitation provided on an
    reviewed, evidence-based, scientific literature to have a                  outpatient basis following diagnosis of a qualifying cardiac
    reasonable likelihood of resulting in pregnancy; laboratory                condition when Medically Necessary. Phase II is a Hospital-
    tests; sperm washing or preparation; artificial insemination;              based outpatient program following an inpatient Hospital
    diagnostic evaluations; gamete intrafallopian transfer                     discharge. The Phase II program must be Physician directed
    (GIFT); in vitro fertilization (IVF); zygote intrafallopian                with active treatment and EKG monitoring.
    transfer (ZIFT); and the services of an embryologist.
                                                                                 Phase III and Phase IV cardiac rehabilitation is not covered.
    Infertility is defined as:                                                   Phase III follows Phase II and is generally conducted at a
     the inability of opposite-sex partners to achieve                          recreational facility primarily to maintain the patient’s status
      conception after at least one year of unprotected                          achieved through Phases I and II. Phase IV is an
      intercourse;                                                               advancement of Phase III which includes more active
     the inability of opposite-sex partners to achieve                          participation and weight training.
      conception after six months of unprotected intercourse,                Chiropractic Care Services
      when the female partner trying to conceive is age 35 or                 Charges for diagnostic and treatment services utilized in an
      older;                                                                   office setting by chiropractic Physicians. Chiropractic
     the inability of a woman, with or without an opposite-sex                treatment includes the conservative management of acute
      partner, to achieve conception after at least six trials of              neuromusculoskeletal conditions through manipulation and
      medically supervised artificial insemination over a one-                 ancillary physiological treatment rendered to specific joints
      year period; and                                                         to restore motion, reduce pain, and improve function. For
     the inability of a woman, with or without an opposite-sex                these services you have direct access to qualified
      partner, to achieve conception after at least three trials of            chiropractic Physicians.
      medically supervised artificial insemination over a six-               Coverage is provided when Medically Necessary in the most
      month period of time, when the female partner trying to                medically appropriate setting to:
      conceive is age 35 or older.                                              Restore function (called “rehabilitative”):
This benefit includes diagnosis and treatment of both male and                    To restore function that has been impaired or lost.
female infertility.
                                                                                  To reduce pain as a result of Sickness, Injury, or loss of a
However, the following are specifically excluded infertility                       body part.
services:
                                                                                Improve, adapt or attain function (sometimes called
   reversal of male and female voluntary sterilization;                         “habilitative”):
   infertility services when the infertility is caused by or                     To improve, adapt or attain function that has been
    related to voluntary sterilization;                                            impaired or was never achieved as a result of congenital
   donor charges and services;                                                    abnormality (birth defect).
   cryopreservation of donor sperm and eggs; and                                 To improve, adapt or attain function that has been
   any experimental, investigational or unproven infertility                      impaired or was never achieved because of mental health
    procedures or therapies.                                                       and substance use disorder conditions. Includes
                                                                                   conditions such as autism and intellectual disability, or
                                                                                   mental health and substance use disorder conditions that
HC-COV734                                                       01-19              result in a developmental delay.
                                                                             Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                  the following criteria are met:
Charges for the following therapy services:                                     The individual’s condition has the potential to improve or is
                                                                                 improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                                 improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                  There is an expectation that the anticipated improvement is
                                                                                 attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                 of time.
  part of a program of treatment.




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   The therapy is provided by, or under the direct supervision            Reconstructive Surgery
    of, a licensed health care professional acting within the               charges made for reconstructive surgery or therapy to repair
    scope of the license.                                                    or correct a severe physical deformity or disfigurement
   The therapy is Medically Necessary and medically                         which is accompanied by functional deficit; (other than
    appropriate for the diagnosed condition.                                 abnormalities of the jaw or conditions related to TMJ
Coverage for occupational therapy is provided only for                       disorder) provided that: the surgery or therapy restores or
purposes of enabling individuals to perform the activities of                improves function; reconstruction is required as a result of
daily living after an Injury or Sickness.                                    Medically Necessary, non-cosmetic surgery; or the surgery
                                                                             or therapy is performed prior to age 19 and is required as a
Therapy services that are not covered include:                               result of the congenital absence or agenesis (lack of
   sensory integration therapy.                                             formation or development) of a body part. Repeat or
   treatment of dyslexia.                                                   subsequent surgeries for the same condition are covered
                                                                             only when there is the probability of significant additional
   maintenance or preventive treatment provided to prevent
                                                                             improvement as determined by the utilization review
    recurrence or to maintain the patient’s current status.
                                                                             Physician.
   charges for Chiropractic Care not provided in an office
    setting.
                                                                           HC-COV631                                                       12-17
   vitamin therapy.
Coverage is administered according to the following:
                                                                           Transplant Services and Related Specialty Care
   Multiple therapy services provided on the same day
    constitute one day of service for each therapy type.                   Charges made for human organ and tissue transplant services
                                                                           which include solid organ and bone marrow/stem cell
                                                                           procedures at designated facilities throughout the United
HC-COV982                                                     01-21        States or its territories. This coverage is subject to the
                                                                           following conditions and limitations.
Breast Reconstruction and Breast Prostheses                                Transplant services include the recipient’s medical, surgical
 charges made for reconstructive surgery following a                      and Hospital services; inpatient immunosuppressive
  mastectomy; benefits include: surgical services for                      medications; and costs for organ or bone marrow/stem cell
  reconstruction of the breast on which surgery was                        procurement. Transplant services are covered only if they are
  performed; surgical services for reconstruction of the non-              required to perform any of the following human to human
  diseased breast to produce symmetrical appearance;                       organ or tissue transplants: allogeneic bone marrow/stem cell,
  postoperative breast prostheses; and mastectomy bras and                 autologous bone marrow/stem cell, cornea, heart, heart/lung,
  prosthetics, limited to the lowest cost alternative available            kidney, kidney/pancreas, liver, lung, pancreas or intestine
  that meets prosthetic placement needs. During all stages of              which includes small bowel-liver or multi-visceral.
  mastectomy, treatment of physical complications, including               Implantation procedures are also covered for artificial heart,
  lymphedema therapy, are covered.                                         percutaneous ventricular assist device (PVAD), extracorporeal
                                                                           membrane oxygenation (ECMO) ventricular assist device
                                                                           (VAD) and intra-aortic balloon pump (IABP) are also covered.
                                                                              All transplant services and related specialty care services,
                                                                               other than cornea transplants, are covered when received at
                                                                               Cigna LifeSOURCE Transplant Network® facilities.
                                                                              Transplant services and related specialty care services
                                                                               received at Participating Provider facilities specifically
                                                                               contracted with Cigna for those transplant services and
                                                                               related specialty care services, other than Cigna
                                                                               LifeSOURCE Transplant Network® facilities, are payable
                                                                               at the In-Network level.
                                                                              Transplant services and related specialty care services
                                                                               received at any other facility, including non-Participating
                                                                               Provider facilities and Participating Provider facilities not




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    specifically contracted with Cigna for transplant services               In addition to your coverage for the charges associated with
    and related specialty care services, are not covered.                     the items above, such charges will also be considered
   Cornea transplants received at a facility that is specifically            covered travel expenses for one companion to accompany
    contracted with Cigna for this type of transplant are payable             you. The term companion includes your spouse, a member
    at the In-Network level.                                                  of your family, your legal guardian, or any person not
                                                                              related to you, but actively involved as your caregiver who
Coverage for organ procurement costs are limited to costs                     is at least 18 years of age.
directly related to the procurement of an organ, from a cadaver
or a live donor. Organ procurement costs shall consist of                    The following are specifically excluded travel expenses: any
hospitalization and surgery necessary for removal of an organ                 expenses that if reimbursed would be taxable income, travel
and transportation of a live donor (refer to Transplant and                   costs incurred due to travel within 60 miles of your home;
Related Specialty Care Travel Services). Compatibility testing                food and meals; laundry bills; telephone bills; alcohol or
undertaken prior to procurement is covered if Medically                       tobacco products; and charges for transportation that exceed
Necessary. Costs related to the search for, and identification of             coach class rates.
a bone marrow or stem cell donor for an allogeneic transplant             These benefits for Transplant Services and Related Specialty
are also covered.                                                         Care, and for Transplant and Related Specialty Care Travel
Advanced cellular therapy, including but not limited to,                  Services are only available when the covered person is the
immune effector cell therapies and Chimeric Antigen Receptor              recipient of an organ/tissue transplant. Travel expenses for the
Therapy (CAR-T) cellular therapy, is covered when performed               designated live donor for a covered recipient are covered
at a Cigna LifeSOURCE Transplant Network® facility with                   subject to the same conditions and limitations noted above.
an approved stem cell transplant program. Advanced cellular               Charges for the expenses of a donor companion are not
therapy received at Participating Provider facilities                     covered. No transplant and related specialty care services or
specifically contracted with Cigna for advanced cellular                  travel benefits are available when the covered person is the
therapy, other than Cigna LifeSOURCE Transplant Network®                  donor for an organ/tissue transplant, the transplant recipient’s
facilities, are payable at the In-Network level. Advanced                 plan would cover all donor costs.
cellular therapy received at any other facility, including non-
Participating Provider facilities and Participating Provider              HC-COV1126                                                   01-22
facilities not specifically contracted with Cigna for advanced
cellular therapy, are not covered.
                                                                          Medical Pharmaceuticals
Transplant and Related Specialty Care Travel Services
                                                                          The plan covers charges made for Medical Pharmaceuticals
Charges made for non-taxable travel expenses incurred by you
                                                                          that are administered in an Inpatient setting, Outpatient
in connection with a preapproved organ/tissue transplant are
                                                                          setting, Physician’s office, or in a covered person's home.
covered subject to the following conditions and limitations:
                                                                          Benefits under this section are provided only for Medical
   Transplant and related specialty care travel benefits are not
                                                                          Pharmaceuticals which, due to their characteristics (as
    available for cornea transplants.
                                                                          determined by Cigna), are required to be administered, or the
   Benefits for transportation and lodging are available to the          administration of which must be directly supervised, by a
    recipient of a preapproved organ/tissue transplant and/or             qualified Physician or Other Health Professional. Benefits
    related specialty care from a designated Cigna                        payable under this section include Medical Pharmaceuticals
    LifeSOURCE Transplant Network® facility.                              whose administration may initially, or typically, require
   The term recipient is defined to include a person receiving           Physician or Other Health Professional oversight but may be
    authorized transplant related services during any of the              self-administered under certain conditions specified in the
    following: evaluation, candidacy, transplant event, or post-          product’s FDA labeling.
    transplant care.                                                      Certain Medical Pharmaceuticals are subject to prior
   Travel expenses for the person receiving the transplant will          authorization requirements or other coverage conditions.
    include charges for: transportation to and from the                   Additionally, certain Medical Pharmaceuticals are subject to
    designated Cigna LifeSOURCE Transplant Network®                       step therapy requirements. This means that in order to receive
    facility (including charges for a rental car used during a            benefits for such Medical Pharmaceuticals, you are required to
    period of care at the designated Cigna LifeSOURCE                     try a different Medical Pharmaceutical and/or Prescription
    Transplant Network® facility); and lodging while at, or               Drug Product first.
    traveling to and from, the designated Cigna LifeSOURCE                Utilization management requirements or other coverage
    Transplant Network® facility.                                         conditions are based on a number of factors, which may



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include clinical and economic factors. Clinical factors may                 therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                        administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative            Gene Therapy Travel Services
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management                       Charges made for non-taxable travel expenses incurred by you
requirements should apply. Economic factors may include, but                in connection with a prior authorized gene therapy procedure
are not limited to, the Medical Pharmaceutical’s cost                       are covered subject to the following conditions and
including, but not limited to, assessments on the cost                      limitations.
effectiveness of the Medical Pharmaceuticals and available                  Benefits for transportation and lodging are available to you
rebates. Regardless of its eligibility for coverage under your              only when you are the recipient of a prior authorized gene
plan, whether a particular Prescription Drug Product is                     therapy; and when the gene therapy products and services
appropriate for you or any of your Dependents is a                          directly related to their administration are received at a
determination that is made by you (or your Dependent) and                   participating In-Network facility specifically contracted with
the prescribing Physician.                                                  Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may                      is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a                     therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a                    evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a               Travel expenses for the person receiving the gene therapy
Medical Pharmaceutical may become available, or other                       include charges for: transportation to and from the gene
market events may occur. Market events that may affect the                  therapy site (including charges for a rental car used during a
coverage status of a Medical Pharmaceutical include, but are                period of care at the facility); and lodging while at, or
not limited to, an increase in the cost of a Medical                        traveling to and from, the site.
Pharmaceutical.                                                             In addition to your coverage for the charges associated with
                                                                            the items above, such charges will also be considered covered
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                                                                            travel expenses for one companion to accompany you. The
                                                                            term companion includes your spouse, a member of your
                                                                            family, your legal guardian, or any person not related to you,
Gene Therapy                                                                but actively involved as your caregiver who is at least 18 years
Charges for gene therapy products and services directly                     of age.
related to their administration are covered when Medically                  The following are specifically excluded travel expenses: any
Necessary. Gene therapy is a category of pharmaceutical                     expenses that if reimbursed would be taxable income, travel
products approved by the U.S. Food and Drug Administration                  costs incurred due to travel within 60 miles of your home;
(FDA) to treat or cure a disease by:                                        food and meals; laundry bills; telephone bills; alcohol or
   replacing a disease-causing gene with a healthy copy of the             tobacco products; and charges for transportation that exceed
    gene.                                                                   coach class rates.
   inactivating a disease-causing gene that may not be
    functioning properly.                                                   HC-COV873                                                       01-20
   introducing a new or modified gene into the body to help
    treat a disease.
                                                                            Clinical Trials
Each gene therapy product is specific to a particular disease
and is administered in a specialized manner. Cigna determines               This plan covers routine patient care costs and services related
which products are in the category of gene therapy, based in                to an approved clinical trial for a qualified individual. The
part on the nature of the treatment and how it is distributed               individual must be eligible to participate according to the trial
and administered.                                                           protocol and either of the following conditions must be met:
Coverage includes the cost of the gene therapy product;                        the referring health care professional is a participating
medical, surgical, and facility services directly related to                    health care provider and has concluded that the individual’s
administration of the gene therapy product; and professional                    participation in such trial would be appropriate; or
services.                                                                      the individual provides medical and scientific information
Gene therapy products and their administration are covered                      establishing that the individual’s participation in the clinical
when prior authorized to be received at In-Network facilities                   trial would be appropriate.
specifically contracted with Cigna for the specific gene


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In addition to qualifying as an individual, the clinical trial                an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                charge for any person enrolled in the trial.
and services to be covered.                                                   travel and transportation expenses, unless otherwise covered
The clinical trial must be a phase I, phase II, phase III, or                  under the plan, including but not limited to the following:
phase IV clinical trial conducted in relation to the prevention,                fees for personal vehicle, rental car, taxi, medical van,
detection, or treatment of cancer or other life-threatening                      ambulance, commercial airline, train.
disease or condition that meets any of the following criteria:
                                                                                mileage reimbursement for driving a personal vehicle.
   it is a federally funded trial. The study or investigation is
                                                                                lodging.
    approved or funded (which may include funding through in-
    kind contributions) by one or more of the following:                        meals.
     National Institutes of Health (NIH).                                    routine patient costs obtained out-of-network when Out-of-
     Centers for Disease Control and Prevention (CDC).
                                                                               Network benefits do not exist under the plan.
     Agency for Health Care Research and Quality (AHRQ).
                                                                           Examples of routine patient care costs and services include:
     Centers for Medicare and Medicaid Services (CMS).
                                                                              radiological services.
     a cooperative group or center of any of the entities
                                                                              laboratory services.
      described above or the Department of Defense (DOD) or                   intravenous therapy.
      the Department of Veterans Affairs (VA).                                anesthesia services.
     a qualified non-governmental research entity identified in              Physician services.
      NIH guidelines for center support grants.
                                                                              office services.
     any of the following: Department of Energy, Department
                                                                              Hospital services.
      of Defense, Department of Veterans Affairs, if both of
      the following conditions are met:                                       Room and Board, and medical supplies that typically would
         the study or investigation has been reviewed and                     be covered under the plan for an individual who is not
          approved through a system of peer review comparable                  enrolled in a clinical trial.
          to the system of peer review of studies and                      Clinical trials conducted by Out-of-Network providers will be
          investigations used by the National Institutes of Health         covered only when the following conditions are met:
          (NIH); and                                                        In-Network providers are not participating in the clinical
         the study or investigation assures unbiased review of                trial; or
          the highest scientific standards by qualified individuals           the clinical trial is conducted outside the individual’s state
          who have no interest in the outcome of the review.                   of residence.
     the study or investigation is conducted under an
      investigational new drug application reviewed by the U.S.
                                                                           HC-COV1128                                                        01-22
      Food and Drug Administration (FDA).
     the study or investigation is a drug trial that is exempt
      from having such an investigational new drug application.
The plan does not cover any of the following services
associated with a clinical trial:
   services that are not considered routine patient care costs
    and services, including the following:
     the investigational drug, device, item, or service that is
      provided solely to satisfy data collection and analysis
      needs.
     an item or service that is not used in the direct clinical
      management of the individual.
     a service that is clearly inconsistent with widely accepted
      and established standards of care for a particular
      diagnosis.



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                                        Prescription Drug Benefits
                                                  The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded from coverage under this
plan. The amount you and your Dependent pays for any excluded Prescription Drug Product to the dispensing Pharmacy,
will not count towards your Deductible, if any, or Out-of-Pocket Maximum.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
                                                      NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                     PHARMACY                                PHARMACY
Lifetime Maximum                         Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Contract Year Deductible
  Individual                             Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
  Family                                 Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Pre-Deductible Preventive Medications
Certain Generic Pre-Deductible Preventive Medications identified by Cigna and that are dispensed by a retail or home
delivery Network Pharmacy are not subject to the Deductible and Copay and Coinsurance. Certain Brand Pre-Deductible
Preventive Medications identified by Cigna and that are dispensed by a retail or home delivery Network Pharmacy are not
subject to the Deductible and Copay and Coinsurance. You may determine whether a drug is a Pre-Deductible Preventive
Care Medication through the website shown on your ID card or by calling member services at the telephone number on
your ID card.




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.

Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program does not count toward your Deductible and counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program does not count toward your Deductible and counts
toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
  Individual                              Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
  Family                                  Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Pharmacy.




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Certain PPACA Preventive Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) and certain other preventive care medications as recommended by Cigna
are payable at 100% with no Copayment or Deductible, when purchased from a Network Pharmacy. A written
prescription is required.

.
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy.


Tier 1
  Generic Drugs on the Prescription       20% after plan Deductible                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               25%, subject to a maximum of $100,        In-network coverage only
  preferred on the Prescription Drug      then the Plan pays 100% after plan
  List                                    Deductible
Tier 3
  Brand Drugs designated as non-          45%, subject to a maximum of $200,        In-network coverage only
  preferred on the Prescription Drug      then the Plan pays 100% after plan
  List                                    Deductible
Tier 4
  Specialty Prescription Drug             10%, subject to a maximum of $60,         In-network coverage only
  Products                                then the Plan pays 100% after plan
                                          Deductible
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery Pharmacy.
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       15% after plan Deductible                 In-network coverage only
  Drug List




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Tier 2
  Brand Drugs designated as              20%, subject to a maximum of $250,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after plan
  List                                   Deductible

Tier 3
  Brand Drugs designated as non-         40%, subject to a maximum of $500,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after plan
  List                                   Deductible

Tier 4
  Specialty Prescription Drug            Specialty Prescription Drug Products       In-network coverage only
  Products                               are limited to up to a consecutive 30
                                         day supply per Prescription Order or
                                         Refill.

Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      15% after plan Deductible                  In-network coverage only
  Drug List
Tier 2
  Brand Drugs designated as              20%, subject to a maximum of $250,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after plan
  List                                   Deductible

Tier 3
  Brand Drugs designated as non-         40%, subject to a maximum of $500,         In-network coverage only
  preferred on the Prescription Drug     then the Plan pays 100% after plan
  List                                   Deductible

Tier 4
  Specialty Prescription Drug            Specialty Prescription Drug Products       In-network coverage only
  Products                               are limited to up to a consecutive 30
                                         day supply per Prescription Order or
                                         Refill.




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Prescription Drug Benefits                                               Dependents is a determination that is made by you or your
                                                                         Dependent and the prescribing Physician.
Covered Expenses                                                         The coverage status of a Prescription Drug Product may
                                                                         change periodically for various reasons. For example, a
Your plan provides benefits for Prescription Drug Products               Prescription Drug Product may be removed from the market, a
dispensed by a Pharmacy. Details regarding your plan’s                   New Prescription Drug Product in the same therapeutic class
Covered Expenses, which for the purposes of the Prescription             as a Prescription Drug Product may become available, or other
Drug Benefit include Medically Necessary Prescription Drug               market events may occur. Market events that may affect the
Products ordered by a Physician, Limitations, and Exclusions             coverage status of a Prescription Drug Product include, but are
are provided below and/or are shown in The Schedule.                     not limited to, an increase in the acquisition cost of a
If you or any one of your Dependents, while insured for                  Prescription Drug Product. As a result of coverage changes,
Prescription Drug Benefits, incurs expenses for charges made             for the purposes of benefits the plan may require you to pay
by a Pharmacy for Medically Necessary Prescription Drug                  more or less for that Prescription Drug Product, to obtain the
Products ordered by a Physician, your plan provides coverage             Prescription Drug Product from a certain Pharmacy (ies) for
for those expenses as shown in The Schedule. Your benefits               coverage, or try another covered Prescription Drug Product(s).
may vary depending on which of the Prescription Drug List                Please access the internet through the website shown on your
tiers the Prescription Drug Product is listed, or the Pharmacy           ID card or call member services at the telephone number on
that provides the Prescription Drug Product.                             your ID card for the most up-to-date tier status, utilization
Coverage under your plan’s Prescription Drug Benefits also               management, or other coverage limitations for a Prescription
includes Medically Necessary Prescription Drug Products                  Drug Product.
dispensed pursuant to a Prescription Order or Refill issued to
you or your Dependents by a licensed dentist for the                     HC-PHR414                                                   07-20
prevention of infection or pain in conjunction with a dental
procedure.
When you or a Dependent are issued a Prescription Order or
                                                                         Limitations
Refill for Medically Necessary Prescription Drug Products as
part of the rendering of Emergency Services and Cigna
determines that it cannot reasonably be filled by a Network              Your plan includes a Brand Drug for Generic Drug dispensing
Pharmacy, the prescription will be covered pursuant to the, as           program. This program allows certain Brand Drugs to be
applicable, Copayment or Coinsurance for the Prescription                dispensed in place of the Therapeutic Equivalent Generic
Drug Product when dispensed by a Network Pharmacy.                       Drug at the time your Prescription Order or Refill is processed
Prescription Drug List Management                                        by a participating Pharmacy. Brand Drug for Generic Drug
                                                                         substitution will occur only for certain Brand Drugs included
Your plan’s Prescription Drug List coverage tiers may contain
                                                                         in the program. When this substitution program is applied, the
Prescription Drug Products that are Generic Drugs, Brand
                                                                         participating Pharmacy will dispense the Brand Drug to you in
Drugs or Specialty Prescription Drug Products. Determination
                                                                         place of the available Generic Drug. You will be responsible
of inclusion of a Prescription Drug Product to a certain
                                                                         for payment of only a Generic Drug Copayment and/or
coverage tier on the Prescription Drug List and utilization
                                                                         Coinsurance, after satisfying your Deductible, if any.
management requirements or other coverage conditions are
based on a number of factors which may include, clinical and             Prior Authorization Requirements
economic factors. Clinical factors may include, but are not              Coverage for certain Prescription Drug Products prescribed to
limited to, the P&T Committee’s evaluations of the place in              you requires your Physician to obtain prior authorization from
therapy, relative safety or relative efficacy of the Prescription        Cigna or its Review Organization. The reason for obtaining
Drug Product, as well as whether certain supply limits or other          prior authorization from Cigna is to determine whether the
utilization management requirements should apply. Economic               Prescription Drug Product is Medically Necessary in
factors may include, but are not limited to, the Prescription            accordance with Cigna's coverage criteria. Coverage criteria
Drug Product's acquisition cost including, but not limited to,           for a Prescription Drug Product may vary based on the clinical
assessments on the cost effectiveness of the Prescription Drug           use for which the Prescription Order or Refill is submitted,
Product and available rebates. Regardless of its eligibility for         and may change periodically based on changes in, without
coverage under the plan, whether a particular Prescription               limitation, clinical guidelines or practice standards, or market
Drug Product is appropriate for you or any of your                       factors.



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If Cigna or its Review Organization reviews the                         Prescription Order or Refill, you may receive a Prescription
documentation provided and determines that the Prescription             Drug Product up to the stated supply limit.
Drug Product is not Medically Necessary or otherwise                    Some products are subject to additional supply limits, quantity
excluded, your plan will not cover the Prescription Drug                limits or dosage limits based on coverage criteria that have
Product. Cigna, or its Review Organization, will not review             been approved based on consideration of the P&T
claims for excluded Prescription Drug Products or other                 Committee’s clinical findings. Coverage criteria are subject to
services to determine if they are Medically Necessary, unless           periodic review and modification. The limit may restrict the
required by law.                                                        amount dispensed per Prescription Order or Refill and/or the
When Prescription Drug Products that require prior                      amount dispensed per month's supply, or may require that a
authorization are dispensed at a Pharmacy, you or your                  minimum amount be dispensed.
prescribing Physician are responsible for obtaining prior               You may determine whether a Prescription Drug Product has
authorization from Cigna. If you do not obtain prior                    been assigned a dispensing supply limit or similar limit or
authorization from us before the Prescription Drug Product is           requirement at the website shown on your ID card or by
dispensed by the Pharmacy, you can ask us to consider                   calling member services at the telephone number on your ID
reimbursement after you pay for and receive the Prescription            card.
Drug Product. You will need to pay for the Prescription Drug
Product at the Pharmacy prior to submitting a reimbursement             Specialty Prescription Drug Products
request.                                                                Benefits are provided for Specialty Prescription Drug
When you submit a claim on this basis, you will need to                 Products. If you require Specialty Prescription Drug Products,
submit a paper claim using the form that appears on the                 you may be directed to a Designated Pharmacy with whom
website shown on your ID card.                                          Cigna has an arrangement to provide those Specialty
                                                                        Prescription Drug Products.
If a prior authorization request is approved, your Physician
will receive confirmation. The authorization will be processed          Designated Pharmacies
in the claim system to allow you to have coverage for the               If you require certain Prescription Drug Products, including,
Prescription Drug Product. The length of the authorization              but not limited to, Specialty Prescription Drug Products, we
may depend on the diagnosis and the Prescription Drug                   may direct you to a Designated Pharmacy with whom we have
Product. The authorization will at all times be subject to the          an arrangement to provide those Prescription Drug Products. If
plan’s terms of coverage for the Prescription Drug Product,             you are directed to a Designated Pharmacy and you choose not
which may change from time to time. When your Physician                 to obtain your Prescription Drug Product from a Designated
advises you that coverage for the Prescription Drug Product             Pharmacy, you may not receive coverage for the Prescription
has been approved, you can contact a Pharmacy to fill the               Drug Product or be subject to the non-Network Pharmacy
covered Prescription Order or Refill.                                   Benefit, if any, for that Prescription Drug Product. Refer to
If the prior authorization request is denied, your Physician and        The Schedule for further information.
you will be notified that coverage for the Prescription Drug            New Prescription Drug Products
Product is not authorized. If you disagree with a coverage              New Prescription Drug Products may or may not be placed on
decision, you may appeal that decision in accordance with the           a Prescription Drug List tier upon market entry. Cigna will use
provisions of the plan by submitting a written request stating          reasonable efforts to make a tier placement decision for a New
why the Prescription Drug Product should be covered.                    Prescription Drug Product within six months of its market
Step Therapy                                                            availability. Cigna’s tier placement decision shall be based on
Certain Prescription Drug Products are subject to step therapy          consideration of, without limitation, the P&T Committee’s
requirements. This means that in order to receive Benefits for          clinical review of the New Prescription Drug Product and
such Prescription Drug Products you are required to try a               economic factors. If a New Prescription Drug Product not
different Prescription Drug Product(s) first unless you satisfy         listed on the Prescription Drug List is approved by Cigna or its
the plan's exception criteria. You may identify whether a               Review Organization as Medically Necessary in the interim,
particular Prescription Drug Product is subject to step therapy         the New Prescription Drug Product shall be covered at the
requirements at the website shown on your ID card or by                 applicable coverage tier as set forth in The Schedule.
calling member services at the telephone number on your ID
card.                                                                   HC-PHR522                                                   01-22

Supply Limits
Benefits for Prescription Drug Products are subject to the
supply limits that are stated in The Schedule. For a single


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Your Payments                                                              Exclusions
Covered Prescription Drug Products purchased at a Pharmacy                 Coverage exclusions listed under the “Exclusions, Expenses
are subject to any applicable Deductible, Copayments or                    Not Covered and General Limitations” section also apply to
Coinsurance shown in The Schedule, as well as any                          benefits for Prescription Drug Products. In addition, the
limitations or exclusions set forth in this plan. Please refer to          exclusions listed below apply to benefits for Prescription Drug
The Schedule for any required Copayments, Coinsurance,                     Products. When an exclusion or limitation applies to only
Deductibles or Out-of-Pocket Maximums.                                     certain Prescription Drug Products, you can access the
Deductible                                                                 Prescription Drug List through the website shown on your ID
                                                                           card or call member services at the telephone number on your
Your plan requires that you pay the costs for covered                      ID card for information on which Prescription Drug Products
Prescription Drug Products up to the Deductible amount set                 are excluded.
forth in The Schedule. Until you meet that Deductible amount,
your costs under the plan for a covered Prescription Drug                     coverage for Prescription Drug Products for the amount
Product dispensed by a Network Pharmacy will be the lowest                     dispensed (days' supply) which exceeds the applicable
of the following amounts:                                                      supply limit, or is less than any applicable supply minimum
                                                                               set forth in The Schedule, or which exceeds quantity limit(s)
   the Prescription Drug Charge; or                                           or dosage limit(s) set by the P&T Committee.
   the Network Pharmacy’s submitted Usual and Customary                      more than one Prescription Order or Refill for a given
    (U&C) Charge, if any.                                                      prescription supply period for the same Prescription Drug
The Schedule sets forth your costs for covered Prescription                    Product prescribed by one or more Physicians and
Drug Products after you have satisfied the Deductible amount.                  dispensed by one or more Pharmacies.
Coinsurance                                                                   Prescription Drug Products dispensed outside the
Your plan requires that you pay a Coinsurance amount for                       jurisdiction of the United States, except as required for
covered Prescription Drug Products as set forth in The                         emergency or Urgent Care treatment.
Schedule. After satisfying any applicable annual Deductible                   Prescription Drug Products which are prescribed, dispensed
set forth in The Schedule, your costs under the plan for a                     or intended to be taken by or administered to you while you
covered Prescription Drug Product dispensed by a Network                       are a patient in a licensed Hospital, Skilled Nursing Facility,
Pharmacy and that is subject to a Coinsurance requirement                      rest home, rehabilitation facility, or similar institution which
will be the lowest of the following amounts:                                   operates on its premises or allows to be operated on its
   the amount that results from applying the applicable                       premises a facility for dispensing pharmaceutical products.
    Coinsurance percentage set forth in The Schedule to the                   Prescription Drug Products furnished by the local, state or
    Prescription Drug Charge; or                                               federal government (except for a Network Pharmacy owned
   the Network Pharmacy’s submitted Usual and Customary                       or operated by a local, state or federal government).
    (U&C) Charge, if any.                                                     any product dispensed for the purpose of appetite
When a treatment regimen contains more than one type of                        suppression (anorectics) or weight loss.
Prescription Drug Products that are packaged together for your                Prescription and non-prescription supplies other than
or your Dependent's convenience, any applicable Copayment                      supplies covered as Prescription Drug Products.
or Coinsurance may apply to each Prescription Drug Product.                   vitamins, except prenatal vitamins that require a
You will need to obtain prior approval from Cigna or its                       Prescription Order or Refill, unless coverage for such
Review Organization for any Prescription Drug Product not                      product(s) is required by federal or state law.
listed on the Prescription Drug List that is not otherwise                    medications used for cosmetic purposes, including, without
excluded. If Cigna or its Review Organization approves                         limitation, medications used to reduce wrinkles,
coverage for the Prescription Drug Product because it meets                    medications used to promote hair growth and fade cream
the applicable coverage exception criteria, the Prescription                   products.
Drug Product shall be covered at the applicable coverage tier
as set forth in The Schedule.                                                 Prescription Drug Products as a replacement for a
                                                                               previously dispensed Prescription Drug Product that was
                                                                               lost, stolen, broken or destroyed.
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                                                                              Medical Pharmaceuticals covered solely under the plan’s
                                                                               medical benefits.




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   any ingredient(s) in a compounded Prescription Drug                     medications that are experimental investigational or
    Product that has not been approved by the U.S. Food and                  unproven as described under the “General Exclusion and
    Drug Administration (FDA).                                               Limitations” section of your plan’s certificate.
   medications available over-the-counter that do not require a         Provided further, if you use a coupon provided by a
    Prescription Order or Refill by federal or state law before          pharmaceutical manufacturer or other third party that
    being dispensed, unless state or federal law requires                discounts the cost of a prescription medication or other
    coverage of such medications or the over-the-counter                 product, Cigna may, in its sole discretion, reduce the benefits
    medication has been designated as eligible for coverage as if        provided under the plan in proportion to the amount of the
    it were a Prescription Drug Product.                                 Copayment, Deductible, and/or Coinsurance amounts to which
   certain Prescription Drug Products that are a Therapeutic            the value of the coupon has been applied by the Pharmacy or
    Equivalent or Therapeutic Alternative to an over-the-                other third party, and/or exclude from accumulation toward
    counter drug(s), or are available in over-the-counter form.          any plan Deductible or Out-of-Pocket Maximum the value of
    Such coverage determinations may be made periodically,               any coupon applied to any Copayment, Deductible and/or
    and benefits for a Prescription Drug Product that was                Coinsurance you are required to pay.
    previously excluded under this provision may be reinstated
    at any time.                                                         HC-PHR530                                                    01-22
   any product for which the primary use is a source of
    nutrition, nutritional supplements, or dietary management of
    disease, even when used for the treatment of Sickness or
                                                                         Reimbursement/Filing a Claim
    Injury, unless coverage for such product(s) is required by
    federal or state law.                                                Retail Pharmacy
   medications used for travel prophylaxis, immunization                When you or your Dependents purchase your Prescription
    agents, virus detection testing, virus antibody testing,             Drug Products through a Network Pharmacy, you pay any
    biological products for allergy immunization, biological             applicable Copayment, Coinsurance, or Deductible shown in
    sera, blood, blood plasma and other blood products or                The Schedule at the time of purchase. You do not need to file
    fractions unless specifically identified on the Prescription         a claim form for a Prescription Drug Product obtained at a
    Drug List.                                                           Network Pharmacy unless you pay the full cost of a
                                                                         Prescription Drug Product at a Network Pharmacy and later
   smoking cessation medications except those required by
                                                                         seek reimbursement for the Prescription Drug Product under
    federal law to be covered as PPACA Preventive
                                                                         the plan. For example, if you must pay the full cost of a
    Medications.
                                                                         Prescription Drug Product to the retail Network Pharmacy
   certain Prescription Drug Products that are a Therapeutic            because you did not have your ID card, then you must submit
    Equivalent or Therapeutic Alternative to another covered             a claim to Cigna for any reimbursement or benefit you believe
    Prescription Drug Product(s). Such coverage determinations           is due to you under this plan. If, under this example, your
    may be made periodically, and benefits for a Prescription            payment to the retail Network Pharmacy for the covered
    Drug Product that was previously excluded under this                 Prescription Drug Product exceeds any applicable copay, then
    provision may be reinstated at any time.                             you will be reimbursed the difference, if any, between the
                                                                         applicable copay and the Prescription Drug Charge for the
                                                                         Prescription Drug Product.


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Exclusions, Expenses Not Covered and                                          Copayment, Deductible and/or Coinsurance you are
                                                                              required to pay.
General Limitations                                                          charges arising out of or relating to any violation of a
Exclusions and Expenses Not Covered                                           healthcare-related state or federal law or which themselves
Additional coverage limitations determined by plan or                         are a violation of a healthcare-related state or federal law.
provider type are shown in The Schedule. Payment for the                     assistance in the activities of daily living, including but not
following is specifically excluded from this plan:                            limited to eating, bathing, dressing or other Custodial
 care for health conditions that are required by state or local              Services or self-care activities, homemaker services and
  law to be treated in a public facility.                                     services primarily for rest, domiciliary or convalescent care.
   care required by state or federal law to be supplied by a                for or in connection with experimental, investigational or
    public school system or school district.                                  unproven services.
   care for military service disabilities treatable through                  Experimental, investigational and unproven services are
    governmental services if you are legally entitled to such                 medical, surgical, diagnostic, psychiatric, substance use
    treatment and facilities are reasonably available.                        disorder or other health care technologies, supplies,
                                                                              treatments, procedures, drug or Biologic therapies or
   treatment of an Injury or Sickness which is due to war,                   devices that are determined by the utilization review
    declared, or undeclared.                                                  Physician to be:
   charges which you are not obligated to pay or for which you                not approved by the U.S. Food and Drug Administration
    are not billed or for which you would not have been billed                  (FDA) or other appropriate regulatory agency to be
    except that they were covered under this plan. For example,                 lawfully marketed;
    if Cigna determines that a provider or Pharmacy is or has
    waived, reduced, or forgiven any portion of its charges                    not demonstrated, through existing peer-reviewed,
    and/or any portion of Copayment, Deductible, and/or                         evidence-based, scientific literature to be safe and
    Coinsurance amount(s) you are required to pay for a                         effective for treating or diagnosing the condition or
    Covered Expense (as shown on The Schedule) without                          Sickness for which its use is proposed;
    Cigna’s express consent, then Cigna in its sole discretion                 the subject of review or approval by an Institutional
    shall have the right to deny the payment of benefits in                     Review Board for the proposed use except as provided in
    connection with the Covered Expense, or reduce the                          the “Clinical Trials” sections of this plan; or
    benefits in proportion to the amount of the Copayment,                     the subject of an ongoing phase I, II or III clinical trial,
    Deductible, and/or Coinsurance amounts waived, forgiven                     except for routine patient care costs related to qualified
    or reduced, regardless of whether the provider or Pharmacy                  clinical trials as provided in the “Clinical Trials” sections
    represents that you remain responsible for any amounts that                 of this plan.
    your plan does not cover. In the exercise of that discretion,
    Cigna shall have the right to require you to provide proof                In determining whether any such technologies, supplies,
    sufficient to Cigna that you have made your required cost                 treatments, drug or Biologic therapies, or devices are
    share payment(s) prior to the payment of any benefits by                  experimental, investigational, and/or unproven, the
    Cigna. This exclusion includes, but is not limited to, charges            utilization review Physician may rely on the clinical
    of a non-Participating Provider who has agreed to charge                  coverage policies maintained by Cigna or the Review
    you or charged you at an In-Network benefits level or some                Organization. Clinical coverage policies may incorporate,
    other benefits level not otherwise applicable to the services             without limitation and as applicable, criteria relating to U.S.
    received.                                                                 Food and Drug Administration-approved labeling, the
                                                                              standard medical reference compendia and peer-reviewed,
    Provided further, if you use a coupon provided by a                       evidence-based scientific literature or guidelines.
    pharmaceutical manufacturer or other third party that
    discounts the cost of a prescription medication or other                 cosmetic surgery and therapies. Cosmetic surgery or therapy
    product, Cigna may, in its sole discretion, reduce the                    is defined as surgery or therapy performed to improve or
    benefits provided under the plan in proportion to the amount              alter appearance or self-esteem.
    of the Copayment, Deductible, and/or Coinsurance amounts                 the following services are excluded from coverage
    to which the value of the coupon has been applied by the                  regardless of clinical indications: abdominoplasty;
    Pharmacy or other third party, and/or exclude from                        panniculectomy; blepharoplasty; redundant skin surgery;
    accumulation toward any plan Deductible or Out-of-Pocket                  removal of skin tags; acupressure; craniosacral/cranial
    Maximum the value of any coupon applied to any                            therapy; dance therapy; movement therapy; applied
                                                                              kinesiology; rolfing; prolotherapy; and extracorporeal shock


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    wave lithotripsy (ESWL) for musculoskeletal and                          vocational counseling, training and, rehabilitation services,
    orthopedic conditions.                                                   behavioral training, biofeedback, neurofeedback, hypnosis,
   dental treatment of the teeth, gums or structures directly               sleep therapy, return to work services, work hardening
    supporting the teeth, including dental X-rays, examinations,             programs and driver safety courses.
    repairs, orthodontics, periodontics, casts, splints and                 therapy or treatment intended primarily to improve or
    services for dental malocclusion, for any condition. Charges             maintain general physical condition or for the purpose of
    made for services or supplies provided for or in connection              enhancing job, school, athletic or recreational performance,
    with an accidental Injury to teeth are covered provided a                including but not limited to routine, long term, or
    continuous course of dental treatment is started within six              maintenance care which is provided after the resolution of
    months of an accident. Additionally, charges made by a                   the acute medical problem and when significant therapeutic
    Physician for any of the following Surgical Procedures are               improvement is not expected.
    covered: excision of unerupted impacted wisdom tooth,                   consumable medical supplies other than ostomy supplies
    including removal of alveolar bone and sectioning of tooth;              and urinary catheters. Excluded supplies include, but are not
    removal of residual root (when performed by a Dentist other              limited to bandages and other disposable medical supplies,
    than the one who extracted the tooth).                                   skin preparations and test strips, except as specified in the
   for medical and surgical services intended primarily for the             “Home Health Care Services” or “Breast Reconstruction
    treatment or control of obesity. However, treatment of                   and Breast Prostheses” sections of this plan.
    clinically severe obesity, as defined by the Body Mass                  private Hospital rooms and/or private duty nursing except as
    Index (BMI) classifications of the National Heart, Lung,                 provided under the Home Health Care Services provision.
    and Blood Institute (NHLBI) guideline is covered only at
    approved centers if the services are demonstrated, through              personal or comfort items such as personal care kits
    existing peer-reviewed, evidence-based, scientific literature            provided on admission to a Hospital, television, telephone,
    and scientifically based guidelines, to be safe and effective            newborn infant photographs, complimentary meals, birth
    for treatment of the condition. Clinically severe obesity is             announcements, and other articles which are not for the
    defined by the NHLBI as a BMI of 40 or greater without                   specific treatment of an Injury or Sickness.
    comorbidities, or 35-39 with comorbidities. The following               artificial aids, including but not limited to corrective
    are specifically excluded:                                               orthopedic shoes, arch supports, elastic stockings, garter
     medical and surgical services to alter appearances or
                                                                             belts, corsets and dentures.
      physical changes that are the result of any surgery                   aids or devices that assist with non-verbal communications,
      performed for the management of obesity or clinically                  including but not limited to communication boards, pre-
      severe (morbid) obesity; and                                           recorded speech devices, laptop computers, desktop
     weight loss programs or treatments, whether prescribed or
                                                                             computers, Personal Digital Assistants (PDAs), Braille
      recommended by a Physician or under medical                            typewriters, visual alert systems for the deaf and memory
      supervision.                                                           books.
   unless otherwise covered in this plan, for reports,                     eyeglass lenses and frames and contact lenses (except for
    evaluations, physical examinations, or hospitalization not               the first pair of contact lenses or the first set of eyeglass
    required for health reasons, including but not limited to                lenses and frames, and associated services, for treatment of
    employment, insurance or government licenses, and court-                 keratoconus or following cataract surgery).
    ordered, forensic or custodial evaluations.                             routine refractions, eye exercises and surgical treatment for
   court-ordered treatment or hospitalization, unless such                  the correction of a refractive error, including radial
    treatment is prescribed by a Physician and listed as covered             keratotomy.
    in this plan.                                                           treatment by acupuncture.
   any services or supplies for the treatment of male or female            all non-injectable prescription drugs, unless Physician
    sexual dysfunction such as, but not limited to, treatment of             administration or oversight is required, injectable
    erectile dysfunction (including penile implants), anorgasmy,             prescription drugs to the extent they do not require
    and premature ejaculation.                                               Physician supervision and are typically considered self-
   medical and Hospital care and costs for the infant child of a            administered drugs, non-prescription drugs, and
    Dependent, unless this infant child is otherwise eligible                investigational and experimental drugs, except as provided
    under this plan.                                                         in this plan.
   non-medical counseling and/or ancillary services, including             routine foot care, including the paring and removing of
    but not limited to Custodial Services, educational services,             corns and calluses and toenail maintenance. However, foot


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    care services for diabetes, peripheral neuropathies and                  resident. This plan will cover expenses only not otherwise
    peripheral vascular disease are covered when Medically                   covered by the PIP coverage.
    Necessary.
                                                                         General Limitations
   membership costs or fees associated with health clubs,
                                                                         No payment will be made for expenses incurred for you or any
    weight loss programs and smoking cessation programs.
                                                                         one of your Dependents:
   genetic screening or pre-implantations genetic screening.
                                                                            for charges by a Hospital owned or operated by or which
    General population-based genetic screening is a testing
                                                                             provides care or performs services for, the United States
    method performed in the absence of any symptoms or any
                                                                             Government, if such charges are directly related to a
    significant, proven risk factors for genetically linked
                                                                             military-service-connected Injury or Sickness.
    inheritable disease.
                                                                            to the extent that you or any one of your Dependents is in
   dental implants for any condition.
                                                                             any way paid or entitled to payment for those expenses by
   gender reassignment surgery.                                             or through a public program, other than Medicaid.
   fees associated with the collection or donation of blood or             to the extent that payment is unlawful where the person
    blood products, except for autologous donation in                        resides when the expenses are incurred.
    anticipation of scheduled services where in the utilization
                                                                            for charges which would not have been made if the person
    review Physician’s opinion the likelihood of excess blood
                                                                             had no insurance.
    loss is such that transfusion is an expected adjunct to
    surgery.                                                                to the extent that they are more than Maximum
                                                                             Reimbursable Charges.
   blood administration for the purpose of general
    improvement in physical condition.                                      to the extent of the exclusions imposed by any certification
                                                                             requirement shown in this plan.
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational           expenses for supplies, care, treatment, or surgery that are
    hazards and risks.                                                       not Medically Necessary.
   cosmetics, dietary supplements and health and beauty aids.              charges by any covered provider who is a member of your
                                                                             family or your Dependent's family.
   enteral feedings, supplies and specially formulated medical
    foods that are prescribed and non-prescribed, except for                expenses incurred outside the United States other than
    infant formula needed for the treatment of inborn errors of              expenses for Medically Necessary urgent or emergent care
    metabolism.                                                              while temporarily traveling abroad.
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.          HC-EXC466 M                                                       01-22

   massage therapy.
   products and supplies associated with the administration of
    medications that are available to be covered under the               Coordination of Benefits
    Prescription Drug Benefit. Such products and supplies
                                                                         This section applies if you or any one of your Dependents is
    include but are not limited to therapeutic Continuous
                                                                         covered under more than one Plan and determines how
    Glucose Monitor (CGM) sensors and transmitters and
                                                                         benefits payable from all such Plans will be coordinated. You
    insulin pods.
                                                                         should file all claims with each Plan.
   abortions, unless a Physician certifies in writing that the
                                                                         Definitions
    pregnancy would endanger the life of the mother, or the
    expenses are incurred to treat medical complications due to          For the purposes of this section, the following terms have the
    abortion.                                                            meanings set forth below:
   expenses incurred by a participant to the extent                     Plan
    reimbursable under automobile insurance coverage.                    Any of the following that provides benefits or services for
    Coverage under this plan is secondary to automobile no-              medical care or treatment:
    fault insurance or similar coverage. The coverage provided              Group insurance and/or group-type coverage, whether
    under this plan does not constitute “Qualified Health
                                                                             insured or self-insured which neither can be purchased by
    Coverage” under Michigan law and therefore does not
                                                                             the general public, nor is individually underwritten,
    replace Personal Injury Protection (PIP) coverage provided
                                                                             including closed panel coverage.
    under an automobile insurance policy issued to a Michigan


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   Coverage under Medicare and other governmental benefits                 one Plan that provides services and supplies on the basis of
    as permitted by law, excepting Medicaid and Medicare                    negotiated fees, the Primary Plan's fee arrangement shall be
    supplement policies.                                                    the Allowable Expense.
   Medical benefits coverage of group, group-type, and                    If your benefits are reduced under the Primary Plan (through
    individual automobile contracts.                                        the imposition of a higher copayment amount, higher
Each Plan or part of a Plan which has the right to coordinate               coinsurance percentage, a deductible and/or a penalty)
benefits will be considered a separate Plan.                                because you did not comply with Plan provisions or because
                                                                            you did not use a preferred provider, the amount of the
Closed Panel Plan                                                           reduction is not an Allowable Expense. Such Plan
A Plan that provides medical or dental benefits primarily in                provisions include second surgical opinions and
the form of services through a panel of employed or                         precertification of admissions or services.
contracted providers, and that limits or excludes benefits              Reasonable Cash Value
provided by providers outside of the panel, except in the case
of emergency or if referred by a provider within the panel.             An amount which a duly licensed provider of health care
                                                                        services usually charges patients and which is within the range
Primary Plan                                                            of fees usually charged for the same service by other health
The Plan that determines and provides or pays benefits                  care providers located within the immediate geographic area
without taking into consideration the existence of any other            where the health care service is rendered under similar or
Plan.                                                                   comparable circumstances.
Secondary Plan                                                          Order of Benefit Determination Rules
A Plan that determines, and may reduce its benefits after               A Plan that does not have a coordination of benefits rule
taking into consideration, the benefits provided or paid by the         consistent with this section shall always be the Primary Plan.
Primary Plan. A Secondary Plan may also recover from the                If the Plan does have a coordination of benefits rule consistent
Primary Plan the Reasonable Cash Value of any services it               with this section, the first of the following rules that applies to
provided to you.                                                        the situation is the one to use:
Allowable Expense                                                          The Plan that covers you as an enrollee or an Employee
The amount of charges considered for payment under the Plan                 shall be the Primary Plan and the Plan that covers you as a
for a Covered Service prior to any reductions due to                        Dependent shall be the Secondary Plan;
coinsurance, copayment or deductible amounts. If Cigna                     If you are a Dependent child whose parents are not divorced
contracts with an entity to arrange for the provision of                    or legally separated, the Primary Plan shall be the Plan
Covered Services through that entity’s contracted network of                which covers the parent whose birthday falls first in the
health care providers, the amount that Cigna has agreed to pay              calendar year as an enrollee or Employee;
that entity is the allowable amount used to determine your                 If you are the Dependent of divorced or separated parents,
coinsurance or deductible payments. If the Plan provides                    benefits for the Dependent shall be determined in the
benefits in the form of services, the Reasonable Cash Value of              following order:
each service is the Allowable Expense and is a paid benefit.
                                                                             first, if a court decree states that one parent is responsible
Examples of expenses or services that are not Allowable                       for the child's healthcare expenses or health coverage and
Expenses include, but are not limited to the following:                       the Plan for that parent has actual knowledge of the terms
   An expense or service or a portion of an expense or service               of the order, but only from the time of actual knowledge;
    that is not covered by any of the Plans is not an Allowable              then, the Plan of the parent with custody of the child;
    Expense.
                                                                             then, the Plan of the spouse of the parent with custody of
   If you are confined to a private Hospital room and no Plan                the child;
    provides coverage for more than a semiprivate room, the
    difference in cost between a private and semiprivate room is             then, the Plan of the parent not having custody of the
    not an Allowable Expense.                                                 child; and
   If you are covered by two or more Plans that provide                     finally, the Plan of the spouse of the parent not having
    services or supplies on the basis of reasonable and                       custody of the child.
    customary fees, any amount in excess of the highest                    The Plan that covers you as an active Employee (or as that
    reasonable and customary fee is not an Allowable Expense.               Employee's Dependent) shall be the Primary Plan and the
   If you are covered by one Plan that provides services or                Plan that covers you as laid-off or retired Employee (or as
    supplies on the basis of reasonable and customary fees and              that Employee's Dependent) shall be the Secondary Plan. If


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    the other Plan does not have a similar provision and, as a            with a submitted claim; if so, you will be advised that the
    result, the Plans cannot agree on the order of benefit                "other coverage" information, (including an Explanation of
    determination, this paragraph shall not apply.                        Benefits paid under the Primary Plan) is required before the
   The Plan that covers you under a right of continuation                claim will be processed for payment. If no response is
    which is provided by federal or state law shall be the                received within 55 days of the request, the claim will be
    Secondary Plan and the Plan that covers you as an active              closed. If the requested information is subsequently received,
    Employee or retiree (or as that Employee's Dependent) shall           the claim will be processed.
    be the Primary Plan. If the other Plan does not have a                Coordination of Benefits with Medicare
    similar provision and, as a result, the Plans cannot agree on         If you, your spouse, or your Dependent are covered under this
    the order of benefit determination, this paragraph shall not          Plan and qualify for Medicare, federal law determines which
    apply.                                                                Plan is the primary payer and which is the secondary payer.
   If one of the Plans that covers you is issued out of the state        The primary payer always determines covered benefits first,
    whose laws govern this Policy, and determines the order of            without considering what any other coverage will pay. The
    benefits based upon the gender of a parent, and as a result,          secondary payer determines its coverage only after the
    the Plans do not agree on the order of benefit determination,         Primary Plan has completed its determination.
    the Plan with the gender rules shall determine the order of           When Medicare is the Primary Payer
    benefits.
                                                                          Medicare will be the primary payer and this Plan will be the
If none of the above rules determines the order of benefits, the          secondary payer, even if you don’t elect to enroll in Medicare
Plan that has covered you for the longer period of time shall             or you receive services from a provider who does not accept
be primary.                                                               Medicare payments, in the following situations:
When coordinating benefits with Medicare, this Plan will be                  COBRA or State Continuation: You, your spouse, or your
the Secondary Plan and determine benefits after Medicare,                     covered Dependent qualify for Medicare for any reason and
where permitted by the Social Security Act of 1965, as                        are covered under this Plan due to COBRA or state
amended. However, when more than one Plan is secondary to                     continuation of coverage.
Medicare, the benefit determination rules identified above,
will be used to determine how benefits will be coordinated.                  Retirement or Termination of Employment: You, your
                                                                              spouse, or your covered Dependent qualify for Medicare for
Effect on the Benefits of This Plan                                           any reason and are covered under this Plan due to your
If this Plan is the Secondary Plan, this Plan may reduce                      retirement or termination of employment.
benefits so that the total benefits paid by all Plans are not more           Disability: You, your spouse, or your covered Dependent
than 100% of the total of all Allowable Expenses.                             qualify for Medicare due to a disability, you are an active
Recovery of Excess Benefits                                                   Employee, and your Employer has fewer than 100
If Cigna pays charges for benefits that should have been paid                 employees.
by the Primary Plan, or if Cigna pays charges in excess of                   Age: You, your spouse, or your covered Dependent qualify
those for which we are obligated to provide under the Policy,                 for Medicare due to age, you are an active Employee, and
Cigna will have the right to recover the actual payment made                  your Employer has fewer than 20 employees.
or the Reasonable Cash Value of any services.                                End Stage Renal Disease (ESRD): You, your spouse, or
Cigna will have sole discretion to seek such recovery from any                your covered Dependent qualify for Medicare due to End
person to, or for whom, or with respect to whom, such                         Stage Renal Disease (ESRD) and you are an active or
services were provided or such payments made by any                           retired Employee. This Plan will be the primary payer for
insurance company, healthcare Plan or other organization. If                  the first 30 months. Beginning with the 31 st month,
we request, you must execute and deliver to us such                           Medicare will be the primary payer.
instruments and documents as we determine are necessary to                When This Plan is the Primary Payer
secure the right of recovery.
                                                                          This Plan will be the primary payer and Medicare will be the
Right to Receive and Release Information                                  secondary payer in the following situations:
Cigna, without consent or notice to you, may obtain                          Disability: You, your spouse, or your covered Dependent
information from and release information to any other Plan                    qualify for Medicare due to a disability, you are an active
with respect to you in order to coordinate your benefits                      Employee, and your Employer has 100 or more employees.
pursuant to this section. You must provide us with any
information we request in order to coordinate your benefits
pursuant to this section. This request may occur in connection


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   Age: You, your spouse, or your covered Dependent qualify               Expenses For Which A Third Party May
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                                Be Responsible
   End Stage Renal Disease (ESRD): You, your spouse, or                   This plan does not cover:
    your covered Dependent qualify for Medicare due to End                    Expenses incurred by you or your Dependent (hereinafter
    Stage Renal Disease (ESRD) and you are an active or                        individually and collectively referred to as a "Participant,")
    retired Employee. This Plan is the primary payer for the first             for which another party may be responsible as a result of
    30 months. Beginning with the 31st month, Medicare will be                 having caused or contributed to an Injury or Sickness.
    the primary payer.                                                        Expenses incurred by a Participant to the extent any
IMPORTANT: If you, your spouse, or your Dependent do                           payment is received for them either directly or indirectly
not elect to enroll in Medicare Parts A and/or B when first                    from a third party tortfeasor or as a result of a settlement,
eligible, or you receive services from a provider who does                     judgment or arbitration award in connection with any
not accept Medicare payments, this Plan will calculate                         automobile medical, automobile no-fault, uninsured or
payment based on what should have been paid by                                 underinsured motorist, homeowners, workers'
Medicare as the primary payer if the person had been                           compensation, government insurance (other than Medicaid),
enrolled or had received services from a provider who                          or similar type of insurance or coverage. The coverage
accepts Medicare payments. A person is considered                              under this plan is secondary to any automobile no-fault
eligible for Medicare on the earliest date any coverage                        insurance or similar coverage.
under Medicare could become effective.                                     Subrogation/Right of Reimbursement
Failure to Enroll in Medicare                                              If a Participant incurs a Covered Expense for which, in the
If you, your spouse, or your Dependent do not enroll in                    opinion of the plan or its claim administrator, another party
Medicare Parts A and/or B during the person’s initial                      may be responsible or for which the Participant may receive
Medicare enrollment period, or the person opts out of                      payment as described above:
coverage, the person may be subject to Medicare late                          Subrogation: The plan shall, to the extent permitted by law,
enrollment penalties, which can cause a delay in coverage and                  be subrogated to all rights, claims or interests that a
result in higher Medicare premiums when the person does                        Participant may have against such party and shall
enroll. It can also result in a reduction in coverage under                    automatically have a lien upon the proceeds of any recovery
Medicare Parts A and B. If you are planning to retire or                       by a Participant from such party to the extent of any benefits
terminate employment and you will be eligible for COBRA,                       paid under the plan. A Participant or his/her representative
state Continuation, or retiree coverage under this Plan, you                   shall execute such documents as may be required to secure
should enroll in Medicare before you terminate employment to                   the plan’s subrogation rights.
avoid penalties and to receive the maximum coverage under
Medicare. Please consult Medicare or the Social Security                      Right of Reimbursement: The plan is also granted a right of
Administration for more information.                                           reimbursement from the proceeds of any recovery whether
                                                                               by settlement, judgment, or otherwise. This right of
Assistance with Medicare Questions                                             reimbursement is cumulative with and not exclusive of the
For more information on Medicare’s rules and regulations,                      subrogation right granted in paragraph 1, but only to the
contact Medicare toll-free at 1-800-MEDICARE (1-800-633-                       extent of the benefits provided by the plan.
4227) or at www.medicare.gov. You may also contact the
                                                                           Lien of the Plan
Social Security Administration toll-free at 1-800-772-1213, at
www.ssa.gov, or call your local Social Security                            By accepting benefits under this plan, a Participant:
Administration office.                                                        grants a lien and assigns to the plan an amount equal to the
                                                                               benefits paid under the plan against any recovery made by
                                                                               or on behalf of the Participant which is binding on any
HC-COB273                                                     01-21
                                                                               attorney or other party who represents the Participant
                                                                               whether or not an agent of the Participant or of any
                                                                               insurance company or other financially responsible party
                                                                               against whom a Participant may have a claim provided said
                                                                               attorney, insurance carrier or other party has been notified
                                                                               by the plan or its agents;




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   agrees that this lien shall constitute a charge against the                 Any reference to state law in any other provision of this
    proceeds of any recovery and the plan shall be entitled to                   plan shall not be applicable to this provision, if the plan is
    assert a security interest thereon;                                          governed by ERISA. By acceptance of benefits under the
   agrees to hold the proceeds of any recovery in trust for the                 plan, the Participant agrees that a breach hereof would cause
    benefit of the plan to the extent of any payment made by the                 irreparable and substantial harm and that no adequate
    plan.                                                                        remedy at law would exist. Further, the Plan shall be
                                                                                 entitled to invoke such equitable remedies as may be
Additional Terms                                                                 necessary to enforce the terms of the plan, including, but not
 No adult Participant hereunder may assign any rights that it                   limited to, specific performance, restitution, the imposition
  may have to recover medical expenses from any third party                      of an equitable lien and/or constructive trust, as well as
  or other person or entity to any minor Dependent of said                       injunctive relief.
  adult Participant without the prior express written consent                   Participants must assist the plan in pursuing any subrogation
  of the plan. The plan’s right to recover shall apply to                        or recovery rights by providing requested information.
  decedents’, minors’, and incompetent or disabled persons’
  settlements or recoveries.
                                                                             HC-SUB128                                                     03-20
   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.
   The plan’s right of recovery shall be a prior lien against any           Payment of Benefits
    proceeds recovered by the Participant. This right of                     Assignment and Payment of Benefits
    recovery shall not be defeated nor reduced by the
    application of any so-called “Made-Whole Doctrine”,                      You may not assign to any party, including, but not limited to,
    “Rimes Doctrine”, or any other such doctrine purporting to               a provider of healthcare services/items, your right to benefits
    defeat the plan’s recovery rights by allocating the proceeds             under this plan, nor may you assign any administrative,
    exclusively to non-medical expense damages.                              statutory, or legal rights or causes of action you may have
                                                                             under ERISA, including, but not limited to, any right to make
   No Participant hereunder shall incur any expenses on behalf              a claim for plan benefits, to request plan or other documents,
    of the plan in pursuit of the plan’s rights hereunder,                   to file appeals of denied claims or grievances, or to file
    specifically; no court costs, attorneys' fees or other                   lawsuits under ERISA. Any attempt to assign such rights shall
    representatives' fees may be deducted from the plan’s                    be void and unenforceable under all circumstances.
    recovery without the prior express written consent of the
    plan. This right shall not be defeated by any so-called “Fund            You may, however, authorize Cigna to pay any healthcare
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                   benefits under this policy to a Participating or Non-
    Doctrine”.                                                               Participating Provider. When you authorize the payment of
                                                                             your healthcare benefits to a Participating or Non-Participating
   The plan shall recover the full amount of benefits provided              Provider, you authorize the payment of the entire amount of
    hereunder without regard to any claim of fault on the part of            the benefits due on that claim. If a provider is overpaid
    any Participant, whether under comparative negligence or                 because of accepting duplicate payments from you and Cigna,
    otherwise.                                                               it is the provider’s responsibility to reimburse the
   The plan hereby disavows all equitable defenses in pursuit               overpayment to you. Cigna may pay all healthcare benefits for
    of its right of recovery. The plan’s subrogation or recovery             Covered Expenses directly to a Participating Provider without
    rights are neither affected nor diminished by equitable                  your authorization. You may not interpret or rely upon this
    defenses.                                                                discrete authorization or permission to pay any healthcare
   In the event that a Participant shall fail or refuse to honor its        benefits to a Participating or Non-Participating Provider as the
    obligations hereunder, then the plan shall be entitled to                authority to assign any other rights under this policy to any
    recover any costs incurred in enforcing the terms hereof                 party, including, but not limited to, a provider of healthcare
    including, but not limited to, attorney’s fees, litigation, court        services/items.
    costs, and other expenses. The plan shall also be entitled to            Even if the payment of healthcare benefits to a Non-
    offset the reimbursement obligation against any entitlement              Participating Provider has been authorized by you, Cigna may,
    to future medical benefits hereunder until the Participant has           at its option, make payment of benefits to you. When benefits
    fully complied with his reimbursement obligations                        are paid to you or your Dependent, you or your Dependents
    hereunder, regardless of how those future medical benefits               are responsible for reimbursing the Non-Participating
    are incurred.                                                            Provider.



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If any person to whom benefits are payable is a minor or, in                 the date your Active Service ends except as described
the opinion of Cigna is not able to give a valid receipt for any              below.
payment due him, such payment will be made to his legal                   Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal            precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody               Temporary Layoff or Leave of Absence
and support.                                                              If your Active Service ends due to temporary layoff or leave
When one of our participants passes away, Cigna may receive               of absence, your insurance will be continued until the date as
notice that an executor of the estate has been established. The           determined by your Employer.
executor has the same rights as our insured and benefit                   Injury or Sickness
payments for unassigned claims should be made payable to the              If your Active Service ends due to an Injury or Sickness, your
executor.                                                                 insurance will be continued while you remain totally and
Payment as described above will release Cigna from all                    continuously disabled as a result of the Injury or Sickness.
liability to the extent of any payment made.                              However, your insurance will not continue past the date your
Recovery of Overpayment                                                   Employer cancels your insurance.
When an overpayment has been made by Cigna, Cigna will
have the right at any time to: recover that overpayment from
                                                                          Dependents
the person to whom or on whose behalf it was made; or offset              Your insurance for all of your Dependents will cease on the
the amount of that overpayment from a future claim payment.               earliest date below:
In addition, your acceptance of benefits under this plan and/or              the date your insurance ceases.
assignment of Medical Benefits separately creates an equitable
                                                                             the date you cease to be eligible for Dependent Insurance.
lien by agreement pursuant to which Cigna may seek recovery
of any overpayment. You agree that Cigna, in seeking                         the last day for which you have made any required
recovery of any overpayment as a contractual right or as an                   contribution for the insurance.
equitable lien by agreement, may pursue the general assets of                the date Dependent Insurance is cancelled.
the person or entity to whom or on whose behalf the
                                                                          The insurance for any one of your Dependents will cease on
overpayment was made.                                                     the date that Dependent no longer qualifies as a Dependent.
Calculation of Covered Expenses
Cigna, in its discretion, will calculate Covered Expenses
                                                                          HC-TRM128                                                    12-17
following evaluation and validation of all provider billings in
accordance with:
   the methodologies in the most recent edition of the Current
    Procedural terminology.
                                                                          Rescissions
   the methodologies as reported by generally recognized                 Your coverage may not be rescinded (retroactively terminated)
    professionals or publications.                                        by Cigna or the plan sponsor unless the plan sponsor or an
                                                                          individual (or a person seeking coverage on behalf of the
                                                                          individual) performs an act, practice or omission that
HC-POB132                                                    01-19        constitutes fraud; or the plan sponsor or individual (or a
                                                                          person seeking coverage on behalf of the individual) makes an
                                                                          intentional misrepresentation of material fact.
Termination of Insurance
                                                                          HC-TRM80                                                     01-11

Employees
Your insurance will cease on the earliest date below:
   the date you cease to be in a Class of Eligible Employees or
    cease to qualify for the insurance.
   the last day for which you have made any required
    contribution for the insurance.
   the date the policy is cancelled.



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Federal Requirements                                                       and relates to benefits under the group health plan, and
                                                                           satisfies all of the following:
The following pages explain your rights and responsibilities
under federal laws and regulations. Some states may have                      the order recognizes or creates a child’s right to receive
similar requirements. If a similar provision appears elsewhere                 group health benefits for which a participant or beneficiary
in this booklet, the provision which provides the better benefit               is eligible;
will apply.                                                                   the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
HC-FED1                                                       10-10
                                                                               subdivision may be substituted for the child’s mailing
                                                                               address;
                                                                              the order provides a description of the coverage to be
Notice of Provider Directory/Networks                                          provided, or the manner in which the type of coverage is to
Notice Regarding Provider Directories and Provider                             be determined;
Networks                                                                      the order states the period to which it applies; and
A list of network providers is available to you without charge                if the order is a National Medical Support Notice completed
by visiting the website or by calling the phone number on your                 in accordance with the Child Support Performance and
ID card. The network consists of providers, including                          Incentive Act of 1998, such Notice meets the requirements
hospitals, of varied specialties as well as general practice,                  above.
affiliated or contracted with Cigna or an organization
                                                                           The QMCSO may not require the health insurance policy to
contracting on its behalf.
                                                                           provide coverage for any type or form of benefit or option not
Notice Regarding Pharmacy Directories and Pharmacy                         otherwise provided under the policy, except that an order may
Networks                                                                   require a plan to comply with State laws regarding health care
A list of network pharmacies is available to you without                   coverage.
charge by visiting the website or by calling the phone number              Payment of Benefits
on your ID card. The network consists of pharmacies affiliated
                                                                           Any payment of benefits in reimbursement for Covered
or contracted with Cigna or an organization contracting on its
                                                                           Expenses paid by the child, or the child’s custodial parent or
behalf.
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
HC-FED78                                                      10-10        address have been substituted for the name and address of the
                                                                           child.


Qualified Medical Child Support Order                                      HC-FED4                                                       10-10

(QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is                      Special Enrollment Rights Under the Health
issued for your child, that child will be eligible for coverage as         Insurance Portability & Accountability Act
required by the order and you will not be considered a Late                (HIPAA)
Entrant for Dependent Insurance.                                           If you or your eligible Dependent(s) experience a special
You must notify your Employer and elect coverage for that                  enrollment event as described below, you or your eligible
child, and yourself if you are not already enrolled, within 31             Dependent(s) may be entitled to enroll in the Plan outside of a
days of the QMCSO being issued.                                            designated enrollment period upon the occurrence of one of
Qualified Medical Child Support Order Defined                              the special enrollment events listed below. If you are already
                                                                           enrolled in the Plan, you may request enrollment for you and
A Qualified Medical Child Support Order is a judgment,                     your eligible Dependent(s) under a different option offered by
decree or order (including approval of a settlement agreement)             the Employer for which you are currently eligible. If you are
or administrative notice, which is issued pursuant to a state              not already enrolled in the Plan, you must request special
domestic relations law (including a community property law),               enrollment for yourself in addition to your eligible
or to an administrative process, which provides for child                  Dependent(s). You and all of your eligible Dependent(s) must
support or provides for health benefit coverage to such child



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be covered under the same option. The special enrollment                     requested in this Plan for you and all of your eligible
events include:                                                              Dependent(s).
   Acquiring a new Dependent. If you acquire a new                         Exhaustion of COBRA or other continuation coverage.
    Dependent(s) through marriage, birth, adoption or                        Special enrollment may be requested in this Plan for you
    placement for adoption, you may request special enrollment               and all of your eligible Dependent(s) upon exhaustion of
    for any of the following combinations of individuals if not              COBRA or other continuation coverage. If you or your
    already enrolled in the Plan: Employee only; spouse only;                Dependent(s) elect COBRA or other continuation coverage
    Employee and spouse; Dependent child(ren) only;                          following loss of coverage under another plan, the COBRA
    Employee and Dependent child(ren); Employee, spouse and                  or other continuation coverage must be exhausted before
    Dependent child(ren). Enrollment of Dependent children is                any special enrollment rights exist under this Plan. An
    limited to the newborn or adopted children or children who               individual is considered to have exhausted COBRA or other
    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
                                                                             contributions toward COBRA or other continuation
   Loss of eligibility for other coverage (excluding                        coverage as provided under any severance or other
    continuation coverage). If coverage was declined under                   agreement.
    this Plan due to coverage under another plan, and eligibility
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
                                                                             must request enrollment within 60 days after the date you
     divorce or legal separation;
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
                                                                         Except as stated above, special enrollment must be
      limiting age);                                                     requested within 30 days after the occurrence of the
     death of the Employee;                                             special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
                                                                         be effective immediately on the date of birth, adoption or
     reduction in work hours to below the minimum required
                                                                         placement for adoption. Coverage with regard to any other
      for eligibility;
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work            first day of the first calendar month following receipt of
      in the other plan’s network service area and no other              the request for special enrollment.
      coverage is available under the other plan;
                                                                         Domestic Partners and their children (if not legal children of
     you or your Dependent(s) incur a claim which meets or              the Employee) are not eligible for special enrollment.
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or
                                                                         HC-FED96                                                      04-17
     the other plan no longer offers any benefits to a class of
      similarly situated individuals.
   Termination of Employer contributions (excluding
    continuation coverage). If a current or former Employer
    ceases all contributions toward the Employee’s or
    Dependent’s other coverage, special enrollment may be


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Effect of Section 125 Tax Regulations on This                            E. Change in cost of coverage
Plan                                                                     If the cost of benefits increases or decreases during a benefit
Your Employer has chosen to administer this Plan in                      period, your Employer may, in accordance with plan terms,
accordance with Section 125 regulations of the Internal                  automatically change your elective contribution.
Revenue Code. Per this regulation, you may agree to a pretax             When the change in cost is significant, you may either
salary reduction put toward the cost of your benefits.                   increase your contribution or elect less-costly coverage. When
Otherwise, you will receive your taxable earnings as cash                a significant overall reduction is made to the benefit option
(salary).                                                                you have elected, you may elect another available benefit
A. Coverage elections                                                    option. When a new benefit option is added, you may change
                                                                         your election to the new benefit option.
Per Section 125 regulations, you are generally allowed to
enroll for or change coverage only before each annual benefit            F. Changes in coverage of spouse or Dependent under
period. However, exceptions are allowed:                                 another employer’s plan
   if you meet Special Enrollment criteria and enroll as                You may make a coverage election change if the plan of your
    described in the Special Enrollment section; or                      spouse or Dependent: incurs a change such as adding or
                                                                         deleting a benefit option; allows election changes due to
   if your Employer agrees, and you meet the criteria shown in          Special Enrollment, Change in Status, Court Order or
    the following Sections B through H and enroll for or change          Medicare or Medicaid Eligibility/Entitlement; or this Plan and
    coverage within the time period established by your                  the other plan have different periods of coverage or open
    Employer.                                                            enrollment periods.
B. Change of status                                                      G. Reduction in work hours
A change in status is defined as:                                        If an Employee’s work hours are reduced below 30
   change in legal marital status due to marriage, death of a           hours/week (even if it does not result in the Employee losing
    spouse, divorce, annulment or legal separation;                      eligibility for the Employer’s coverage); and the Employee
   change in number of Dependents due to birth, adoption,               (and family) intend to enroll in another plan that provides
    placement for adoption, or death of a Dependent;                     Minimum Essential Coverage (MEC). The new coverage must
                                                                         be effective no later than the 1st day of the 2nd month
   change in employment status of Employee, spouse or                   following the month that includes the date the original
    Dependent due to termination or start of employment,                 coverage is revoked.
    strike, lockout, beginning or end of unpaid leave of absence,
    including under the Family and Medical Leave Act                     H. Enrollment in a Qualified Health Plan (QHP)
    (FMLA), or change in worksite;                                       The Employee must be eligible for a Special Enrollment
   changes in employment status of Employee, spouse or                  Period to enroll in a QHP through a Marketplace or the
    Dependent resulting in eligibility or ineligibility for              Employee wants to enroll in a QHP through a Marketplace
    coverage;                                                            during the Marketplace’s annual open enrollment period; and
                                                                         the disenrollment from the group plan corresponds to the
   change in residence of Employee, spouse or Dependent to a            intended enrollment of the Employee (and family) in a QHP
    location outside of the Employer’s network service area;             through a Marketplace for new coverage effective beginning
    and                                                                  no later than the day immediately following the last day of the
   changes which cause a Dependent to become eligible or                original coverage.
    ineligible for coverage.
C. Court order                                                           HC-FED95                                                      04-17
A change in coverage due to and consistent with a court order
of the Employee or other person to cover a Dependent.
D. Medicare or Medicaid eligibility/entitlement                          Eligibility for Coverage for Adopted Children
The Employee, spouse or Dependent cancels or reduces                     Any child who is adopted by you, including a child who is
coverage due to entitlement to Medicare or Medicaid, or                  placed with you for adoption, will be eligible for Dependent
enrolls or increases coverage due to loss of Medicare or                 Insurance, if otherwise eligible as a Dependent, upon the date
Medicaid eligibility.                                                    of placement with you. A child will be considered placed for
                                                                         adoption when you become legally obligated to support that
                                                                         child, totally or partially, prior to that child’s adoption.



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If a child placed for adoption is not adopted, all health                  premiums for this coverage instead of for Medicaid, if it is
coverage ceases when the placement ends, and will not be                   cost effective. This includes premiums for continuation
continued.                                                                 coverage required by federal law.
The provisions in the “Exception for Newborns” section of
this document that describe requirements for enrollment and                HC-FED13                                                       10-10
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.

                                                                           Requirements of Family and Medical Leave Act
HC-FED67                                                      09-14
                                                                           of 1993 (as amended) (FMLA)
                                                                           Any provisions of the policy that provide for: continuation of
                                                                           insurance during a leave of absence; and reinstatement of
Coverage for Maternity Hospital Stay                                       insurance following a return to Active Service; are modified
Group health plans and health insurance issuers offering group             by the following provisions of the federal Family and Medical
health insurance coverage generally may not, under a federal               Leave Act of 1993, as amended, where applicable:
law known as the “Newborns’ and Mothers’ Health Protection                 Continuation of Health Insurance During Leave
Act”: restrict benefits for any Hospital length of stay in
                                                                           Your health insurance will be continued during a leave of
connection with childbirth for the mother or newborn child to
                                                                           absence if:
less than 48 hours following a vaginal delivery, or less than 96
hours following a cesarean section; or require that a provider                that leave qualifies as a leave of absence under the Family
obtain authorization from the plan or insurance issuer for                     and Medical Leave Act of 1993, as amended; and
prescribing a length of stay not in excess of the above periods.              you are an eligible Employee under the terms of that Act.
The law generally does not prohibit an attending provider of
                                                                           The cost of your health insurance during such leave must be
the mother or newborn, in consultation with the mother, from
                                                                           paid, whether entirely by your Employer or in part by you and
discharging the mother or newborn earlier than 48 or 96 hours,
                                                                           your Employer.
as applicable.
                                                                           Reinstatement of Canceled Insurance Following Leave
Please review this Plan for further details on the specific
coverage available to you and your Dependents.                             Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
                                                                           Act of 1993, as amended, any canceled insurance (health, life
HC-FED11                                                      10-10        or disability) will be reinstated as of the date of your return.
                                                                           You will not be required to satisfy any eligibility or benefit
                                                                           waiting period to the extent that they had been satisfied prior
Women’s Health and Cancer Rights Act                                       to the start of such leave of absence.
(WHCRA)                                                                    Your Employer will give you detailed information about the
Do you know that your plan, as required by the Women’s                     Family and Medical Leave Act of 1993, as amended.
Health and Cancer Rights Act of 1998, provides benefits for
mastectomy-related services including all stages of                        HC-FED93                                                       10-17
reconstruction and surgery to achieve symmetry between the
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more                       Uniformed Services Employment and Re-
information.                                                               Employment Rights Act of 1994 (USERRA)
                                                                           The Uniformed Services Employment and Re-employment
HC-FED12                                                      10-10        Rights Act of 1994 (USERRA) sets requirements for
                                                                           continuation of health coverage and re-employment in regard
                                                                           to an Employee’s military leave of absence. These
                                                                           requirements apply to medical and dental coverage for you
Group Plan Coverage Instead of Medicaid                                    and your Dependents. They do not apply to any Life, Short-
If your income and liquid resources do not exceed certain                  term or Long-term Disability or Accidental Death &
limits established by law, the state may decide to pay                     Dismemberment coverage you may have.



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Continuation of Coverage                                                   obtaining this review. You or your authorized representative
For leaves of less than 31 days, coverage will continue as                 (typically, your health care professional) must request prior
described in the Termination section regarding Leave of                    authorization according to the procedures described below, in
Absence.                                                                   the booklet, and in your provider’s network participation
                                                                           documents as applicable.
For leaves of 31 days or more, you may continue coverage for
yourself and your Dependents as follows:                                   When services or benefits are determined to be not covered,
                                                                           you or your representative will receive a written description of
You may continue benefits by paying the required premium to                the adverse determination, and may appeal the determination.
your Employer, until the earliest of the following:                        Appeal procedures are described in the booklet, in your
   24 months from the last day of employment with the                     provider’s network participation documents as applicable, and
    Employer;                                                              in the determination notices.
   the day after you fail to return to work; and                          Note: An oral statement made to you by a representative of
   the date the policy cancels.                                           Cigna or its designee that indicates, for example, a particular
                                                                           service is a Covered Expense, is authorized for coverage by
Your Employer may charge you and your Dependents up to
                                                                           the plan, or that you are eligible for coverage is not a
102% of the total premium.
                                                                           guarantee that you will receive benefits for services under this
Reinstatement of Benefits (applicable to all coverages)                    plan. Cigna will make a benefit determination after a claim is
If your coverage ends during the leave of absence because you              received from you or your authorized representative, and the
do not elect USERRA at the expiration of USERRA and you                    benefit determination will be based on, your eligibility as of
are reemployed by your current Employer, coverage for you                  the date services were rendered to you and the terms and
and your Dependents may be reinstated if you gave your                     conditions of the plan in effect as of the date services were
Employer advance written or verbal notice of your military                 rendered to you.
service leave, and the duration of all military leaves while you           Preservice Determinations
are employed with your current Employer does not exceed 5                  When you or your representative requests a required prior
years.
                                                                           authorization, Cigna will notify you or your representative of
You and your Dependents will be subject to only the balance                the determination within 15 days after receiving the request.
of a waiting period that was not yet satisfied before the leave            However, if more time is needed due to matters beyond
began. However, if an Injury or Sickness occurs or is                      Cigna’s control, Cigna will notify you or your representative
aggravated during the military leave, full Plan limitations will           within 15 days after receiving your request. This notice will
apply.                                                                     include the date a determination can be expected, which will
If your coverage under this plan terminates as a result of your            be no more than 30 days after receipt of the request. If more
eligibility for military medical and dental coverage and your              time is needed because necessary information is missing from
order to active duty is canceled before your active duty service           the request, the notice will also specify what information is
commences, these reinstatement rights will continue to apply.              needed, and you or your representative must provide the
                                                                           specified information to Cigna within 45 days after receiving
                                                                           the notice. The determination period will be suspended on the
HC-FED18                                                      10-10        date Cigna sends such a notice of missing information, and the
                                                                           determination period will resume on the date you or your
                                                                           representative responds to the notice.
Claim Determination Procedures under ERISA                                 If the determination periods above would seriously jeopardize
The following complies with federal law. Provisions of                     your life or health, your ability to regain maximum function,
applicable laws of your state may supersede.                               or in the opinion of a health care professional with knowledge
                                                                           of your health condition, cause you severe pain which cannot
Procedures Regarding Medical Necessity Determinations                      be managed without the requested services, Cigna will make
In general, health services and benefits must be Medically                 the preservice determination on an expedited basis. Cigna will
Necessary to be covered under the plan. The procedures for                 defer to the determination of the treating health care
determining Medical Necessity vary, according to the type of               professional regarding whether an expedited determination is
service or benefit requested, and the type of health plan.                 necessary. Cigna will notify you or your representative of an
Medical Necessity determinations are made on a preservice,                 expedited determination within 72 hours after receiving the
concurrent, or postservice basis, as described below:                      request.
Certain services require prior authorization in order to be                However, if necessary information is missing from the
covered. The booklet describes who is responsible for                      request, Cigna will notify you or your representative within 24


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hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
If you or your representative attempts to request a preservice          statement of a claimant’s rights to bring a civil action under
determination, but fails to follow Cigna’s procedures for               section 502(a) of ERISA following an adverse benefit
requesting a required preservice determination, Cigna will              determination on appeal, (if applicable); upon request and free
notify you or your representative of the failure and describe           of charge, a copy of any internal rule, guideline, protocol or
the proper procedures for filing within 5 days (or 24 hours, if         other similar criterion that was relied upon in making the
an expedited determination is required, as described above)             adverse determination regarding your claim; and an
after receiving the request. This notice may be provided orally,        explanation of the scientific or clinical judgment for a
unless you or your representative requests written notification.        determination that is based on a Medical Necessity,
                                                                        experimental treatment or other similar exclusion or limit; a
Concurrent Determinations                                               description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination
                                                                        HC-FED104                                                     01-19
within 24 hours after receiving the request.
Postservice Determinations
When you or your representative requests a coverage
determination or a claim payment determination after services
                                                                        Appointment of Authorized Representative
have been rendered, Cigna will notify you or your                       You may appoint an authorized representative to assist you in
representative of the determination within 30 days after                submitting a claim or appealing a claim denial. However,
receiving the request. However, if more time is needed to               Cigna may require you to designate your authorized
make a determination due to matters beyond Cigna’s control,             representative in writing using a form approved by Cigna. At
Cigna will notify you or your representative within 30 days             all times, the appointment of an authorized representative is
after receiving the request. This notice will include the date a        revocable by you. To ensure that a prior appointment remains
determination can be expected, which will be no more than 45            valid, Cigna may require you to re-appoint your authorized
days after receipt of the request.                                      representative, from time to time.
If more time is needed because necessary information is                 Cigna reserves the right to refuse to honor the appointment of
missing from the request, the notice will also specify what             a representative if Cigna reasonably determines that:
information is needed, and you or your representative must                 the signature on an authorized representative form may not
provide the specified information to Cigna within 45 days                   be yours, or
after receiving the notice. The determination period will be
                                                                           the authorized representative may not have disclosed to you
suspended on the date Cigna sends such a notice of missing
                                                                            all of the relevant facts and circumstances relating to the
information, and the determination period will resume on the
                                                                            overpayment or underpayment of any claim, including, for
date you or your representative responds to the notice.
                                                                            example, that the billing practices of the provider of medical
Notice of Adverse Determination                                             services may have jeopardized your coverage through the
Every notice of an adverse benefit determination will be                    waiver of the cost-sharing amounts that you are required to
provided in writing or electronically, and will include all of              pay under your plan.
the following that pertain to the determination: information
sufficient to identify the claim including, if applicable, the
date of service, provider and claim amount; diagnosis and
treatment codes, and their meanings; the specific reason or


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If your designation of an authorized representative is revoked,             We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                 days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a              concurrent care coverage determination or a postservice
form approved by Cigna.                                                     Medical Necessity determination. We will respond within 60
                                                                            calendar days after we receive an appeal for any other
                                                                            postservice coverage determination. If more time or
HC-FED88                                                       01-17
                                                                            information is needed to make the determination, we will
                                                                            notify you in writing to request an extension of up to 15
                                                                            calendar days and to specify any additional information
Medical - When You Have a Complaint or an                                   needed to complete the review.
Appeal                                                                      In the event any new or additional information (evidence) is
For the purposes of this section, any reference to "you" or                 considered, relied upon or generated by Cigna in connection
"your" also refers to a representative or provider designated by            with the appeal, this information will be provided
you to act on your behalf; unless otherwise noted.                          automatically to you as soon as possible and sufficiently in
                                                                            advance of the decision, so that you will have an opportunity
We want you to be completely satisfied with the services you                to respond. Also, if any new or additional rationale is
receive. That is why we have established a process for                      considered by Cigna, Cigna will provide the rationale to you
addressing your concerns and solving your problems.                         as soon as possible and sufficiently in advance of the decision
Start With Customer Service                                                 so that you will have an opportunity to respond.
We are here to listen and help. If you have a concern                       You may request that the appeal process be expedited if the
regarding a person, a service, the quality of care, contractual             time frames under this process would seriously jeopardize
benefits, or a rescission of coverage, you may call the toll-               your life, health or ability to regain maximum functionality or
free number on your ID card, explanation of benefits, or                    in the opinion of your health care provider would cause you
claim form and explain your concern to one of our Customer                  severe pain which cannot be managed without the requested
Service representatives. You may also express that concern                  services.
in writing.                                                                 If you request that your appeal be expedited, you may also ask
We will do our best to resolve the matter on your initial                   for an expedited external Independent Review at the same
contact. If we need more time to review or investigate your                 time, if the time to complete an expedited level-one appeal
concern, we will get back to you as soon as possible, but in                would be detrimental to your medical condition.
any case within 30 days. If you are not satisfied with the                  When an appeal is expedited, Cigna will respond orally with a
results of a coverage decision, you may start the appeals                   decision within 72 hours, followed up in writing.
procedure.
                                                                            External Review Procedure
Internal Appeals Procedure
                                                                            If you are not fully satisfied with the decision of Cigna's
To initiate an appeal of an adverse benefit determination, you              internal appeal review and the appeal involves medical
must submit a request for an appeal to Cigna within 180 days                judgment or a rescission of coverage, you may request that
of receipt of a denial notice. If you appeal a reduction or                 your appeal be referred to an Independent Review
termination in coverage for an ongoing course of treatment                  Organization (IRO). The IRO is composed of persons who are
that Cigna previously approved, you will receive, as required               not employed by Cigna, or any of its affiliates. A decision to
by applicable law, continued coverage pending the outcome of                request an external review to an IRO will not affect the
an appeal.                                                                  claimant's rights to any other benefits under the plan.
You should state the reason why you feel your appeal should                 There is no charge for you to initiate an external review. Cigna
be approved and include any information supporting your                     and your benefit plan will abide by the decision of the IRO.
appeal. If you are unable or choose not to write, you may ask
Cigna to register your appeal by telephone. Call or write us at             To request a review, you must notify the Appeals Coordinator
the toll-free number on your ID card, explanation of benefits,              within 4 months of your receipt of Cigna's appeal review
or claim form.                                                              denial. Cigna will then forward the file to a randomly selected
                                                                            IRO. The IRO will render an opinion within 45 days.
Your appeal will be reviewed and the decision made by
someone not involved in the initial decision. Appeals                       When requested, and if a delay would be detrimental to your
involving Medical Necessity or clinical appropriateness will                medical condition, as determined by Cigna's reviewer, or if
be considered by a health care professional.                                your appeal concerns an admission, availability of care,
                                                                            continued stay, or health care item or service for which you
                                                                            received emergency services, but you have not yet been


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discharged from a facility, the external review shall be                 Legal Action
completed within 72 hours.                                               If your plan is governed by ERISA, you have the right to bring
Notice of Benefit Determination on Appeal                                a civil action under section 502(a) of ERISA if you are not
Every notice of a determination on appeal will be provided in            satisfied with the outcome of the Appeals Procedure. In most
writing or electronically and, if an adverse determination, will         instances, you may not initiate a legal action against Cigna
include: information sufficient to identify the claim including,         until you have completed the appeal processes. However, no
if applicable, the date of service, provider and claim amount;           action will be brought at all unless brought within three years
diagnosis and treatment codes, and their meanings; the                   after proof of claim is required under the Plan. However, no
specific reason or reasons for the adverse determination                 action will be brought at all unless brought within 3 years after
including, if applicable, the denial code and its meaning and a          a claim is submitted for In-Network Services or within three
description of any standard that was used in the denial;                 years after proof of claim is required under the Plan for Out-
reference to the specific plan provisions on which the                   of-Network services.
determination is based; a statement that the claimant is entitled
to receive, upon request and free of charge, reasonable access           HC-FED110                                                        01-21
to and copies of all documents, records, and other Relevant
Information as defined below; a statement describing any
voluntary appeal procedures offered by the plan and the
claimant's right to bring an action under ERISA section                  COBRA Continuation Rights Under Federal
502(a), if applicable; upon request and free of charge, a copy           Law
of any internal rule, guideline, protocol or other similar               For You and Your Dependents
criterion that was relied upon in making the adverse
determination regarding your appeal, and an explanation of the           What is COBRA Continuation Coverage?
scientific or clinical judgment for a determination that is based        Under federal law, you and/or your Dependents must be given
on a Medical Necessity, experimental treatment or other                  the opportunity to continue health insurance when there is a
similar exclusion or limit; and information about any office of          “qualifying event” that would result in loss of coverage under
health insurance consumer assistance or ombudsman available              the Plan. You and/or your Dependents will be permitted to
to assist you in the appeal process. A final notice of an adverse        continue the same coverage under which you or your
determination will include a discussion of the decision.                 Dependents were covered on the day before the qualifying
You also have the right to bring a civil action under section            event occurred, unless you move out of that plan’s coverage
502(a) of ERISA if you are not satisfied with the decision on            area or the plan is no longer available. You and/or your
review. You or your plan may have other voluntary alternative            Dependents cannot change coverage options until the next
dispute resolution options such as Mediation. One way to find            open enrollment period.
out what may be available is to contact your local U.S.                  When is COBRA Continuation Available?
Department of Labor office and your State insurance                      For you and your Dependents, COBRA continuation is
regulatory agency. You may also contact the Plan                         available for up to 18 months from the date of the following
Administrator.                                                           qualifying events if the event would result in a loss of
Relevant Information                                                     coverage under the Plan:
Relevant Information is any document, record or other                       your termination of employment for any reason, other than
information which: was relied upon in making the benefit                     gross misconduct; or
determination; was submitted, considered or generated in the                your reduction in work hours.
course of making the benefit determination, without regard to
                                                                         For your Dependents, COBRA continuation coverage is
whether such document, record, or other information was
                                                                         available for up to 36 months from the date of the following
relied upon in making the benefit determination; demonstrates
                                                                         qualifying events if the event would result in a loss of
compliance with the administrative processes and safeguards
                                                                         coverage under the Plan:
required by federal law in making the benefit determination;
or constitutes a statement of policy or guidance with respect to            your death;
the plan concerning the denied treatment option or benefit for              your divorce or legal separation; or
the claimant's diagnosis, without regard to whether such
                                                                            for a Dependent child, failure to continue to qualify as a
advice or statement was relied upon in making the benefit
                                                                             Dependent under the Plan.
determination.




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Who is Entitled to COBRA Continuation?                                 To qualify for the disability extension, all of the following
Only a “qualified beneficiary” (as defined by federal law) may         requirements must be satisfied:
elect to continue health insurance coverage. A qualified                  SSA must determine that the disability occurred prior to or
beneficiary may include the following individuals who were                 within 60 days after the disabled individual elected COBRA
covered by the Plan on the day the qualifying event occurred:              continuation coverage; and
you, your spouse, and your Dependent children. Each                       A copy of the written SSA determination must be provided
qualified beneficiary has their own right to elect or decline              to the Plan Administrator within 60 calendar days after the
COBRA continuation coverage even if you decline or are not                 date the SSA determination is made AND before the end of
eligible for COBRA continuation.                                           the initial 18-month continuation period.
The following individuals are not qualified beneficiaries for          If the SSA later determines that the individual is no longer
purposes of COBRA continuation: domestic partners,                     disabled, you must notify the Plan Administrator within 30
grandchildren (unless adopted by you), stepchildren (unless            days after the date the final determination is made by SSA.
adopted by you). Although these individuals do not have an             The 11-month disability extension will terminate for all
independent right to elect COBRA continuation coverage, if             covered persons on the first day of the month that is more than
you elect COBRA continuation coverage for yourself, you                30 days after the date the SSA makes a final determination
may also cover your Dependents even if they are not                    that the disabled individual is no longer disabled.
considered qualified beneficiaries under COBRA. However,
such individuals’ coverage will terminate when your COBRA              All causes for “Termination of COBRA Continuation” listed
continuation coverage terminates. The sections titled                  below will also apply to the period of disability extension.
“Secondary Qualifying Events” and “Medicare Extension For              Medicare Extension for Your Dependents
Your Dependents” are not applicable to these individuals.              When the qualifying event is your termination of employment
Secondary Qualifying Events                                            or reduction in work hours and you became enrolled in
If, as a result of your termination of employment or reduction         Medicare (Part A, Part B or both) within the 18 months before
in work hours, your Dependent(s) have elected COBRA                    the qualifying event, COBRA continuation coverage for your
continuation coverage and one or more Dependents experience            Dependents will last for up to 36 months after the date you
another COBRA qualifying event, the affected Dependent(s)              became enrolled in Medicare. Your COBRA continuation
may elect to extend their COBRA continuation coverage for              coverage will last for up to 18 months from the date of your
an additional 18 months (7 months if the secondary event               termination of employment or reduction in work hours.
occurs within the disability extension period) for a maximum           Termination of COBRA Continuation
of 36 months from the initial qualifying event. The second             COBRA continuation coverage will be terminated upon the
qualifying event must occur before the end of the initial 18           occurrence of any of the following:
months of COBRA continuation coverage or within the
                                                                          the end of the COBRA continuation period of 18, 29 or 36
disability extension period discussed below. Under no
                                                                           months, as applicable;
circumstances will COBRA continuation coverage be
available for more than 36 months from the initial qualifying             failure to pay the required premium within 30 calendar days
event. Secondary qualifying events are: your death; your                   after the due date;
divorce or legal separation; or, for a Dependent child, failure           cancellation of the Employer’s policy with Cigna;
to continue to qualify as a Dependent under the Plan.
                                                                          after electing COBRA continuation coverage, a qualified
Disability Extension                                                       beneficiary enrolls in Medicare (Part A, Part B, or both);
If, after electing COBRA continuation coverage due to your                after electing COBRA continuation coverage, a qualified
termination of employment or reduction in work hours, you or               beneficiary becomes covered under another group health
one of your Dependents is determined by the Social Security                plan, unless the qualified beneficiary has a condition for
Administration (SSA) to be totally disabled under Title II or              which the new plan limits or excludes coverage under a pre-
XVI of the SSA, you and all of your Dependents who have                    existing condition provision. In such case coverage will
elected COBRA continuation coverage may extend such                        continue until the earliest of: the end of the applicable
continuation for an additional 11 months, for a maximum of                 maximum period; the date the pre-existing condition
29 months from the initial qualifying event.                               provision is no longer applicable; or the occurrence of an
                                                                           event described in one of the first three bullets above;
                                                                          any reason the Plan would terminate coverage of a
                                                                           participant or beneficiary who is not receiving continuation
                                                                           coverage (e.g., fraud).


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Moving Out of Employer’s Service Area or Elimination of                   Dependents will lose the right to elect COBRA continuation
a Service Area                                                            coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                  the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your            furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan                 Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network               COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service               be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through               qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your               on behalf of their Dependent children. You or your spouse
location, you may elect COBRA continuation coverage under                 may elect continuation coverage on behalf of all the qualified
that option.                                                              beneficiaries. You are not required to elect COBRA
Employer’s Notification Requirements                                      continuation coverage in order for your Dependents to elect
                                                                          COBRA continuation.
Your Employer is required to provide you and/or your
Dependents with the following notices:                                    How Much Does COBRA Continuation Coverage Cost?
   An initial notification of COBRA continuation rights must             Each qualified beneficiary may be required to pay the entire
    be provided within 90 days after your (or your spouse’s)              cost of continuation coverage. The amount may not exceed
    coverage under the Plan begins (or the Plan first becomes             102% of the cost to the group health plan (including both
    subject to COBRA continuation requirements, if later). If             Employer and Employee contributions) for coverage of a
    you and/or your Dependents experience a qualifying event              similarly situated active Employee or family member. The
    before the end of that 90-day period, the initial notice must         premium during the 11-month disability extension may not
    be provided within the time frame required for the COBRA              exceed 150% of the cost to the group health plan (including
    continuation coverage election notice as explained below.             both employer and employee contributions) for coverage of a
                                                                          similarly situated active Employee or family member.
   A COBRA continuation coverage election notice must be
    provided to you and/or your Dependents within the                     For example: If the Employee alone elects COBRA
    following timeframes:                                                 continuation coverage, the Employee will be charged 102%
                                                                          (or 150%) of the active Employee premium. If the spouse or
     if the Plan provides that COBRA continuation coverage
                                                                          one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the             coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the            Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the          elects COBRA continuation coverage, they will be charged
      Plan;                                                               102% (or 150%) of the applicable family premium.
     if the Plan provides that COBRA continuation coverage
                                                                          When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the
      Plan Administrator of a qualifying event starts upon the            First payment for COBRA continuation
      occurrence of a qualifying event, 44 days after the                 If you elect COBRA continuation coverage, you do not have
      qualifying event occurs; or                                         to send any payment with the election form. However, you
     in the case of a multi-employer plan, no later than 14 days         must make your first payment no later than 45 calendar days
      after the end of the period in which Employers must                 after the date of your election. (This is the date the Election
      provide notice of a qualifying event to the Plan                    Notice is postmarked, if mailed.) If you do not make your first
      Administrator.                                                      payment within that 45 days, you will lose all COBRA
                                                                          continuation rights under the Plan.
How to Elect COBRA Continuation Coverage
                                                                          Subsequent payments
The COBRA coverage election notice will list the individuals
who are eligible for COBRA continuation coverage and                      After you make your first payment for COBRA continuation
inform you of the applicable premium. The notice will also                coverage, you will be required to make subsequent payments
include instructions for electing COBRA continuation                      of the required premium for each additional month of
coverage. You must notify the Plan Administrator of your                  coverage. Payment is due on the first day of each month. If
election no later than the due date stated on the COBRA                   you make a payment on or before its due date, your coverage
election notice. If a written election notice is required, it must        under the Plan will continue for that coverage period without
be post-marked no later than the due date stated on the                   any break.
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your



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Grace periods for subsequent payments                                      COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the               Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the               stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                      COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                          secondary qualifying event.
provided for each coverage period as long as payment for that              COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for             Bankruptcy
that payment. However, if your payment is received after the               If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                    is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                    United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                     continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before                 coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated              within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that              covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                   beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                     entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                    Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage               be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                     months following your death. However, COBRA continuation
coverage under the Plan.                                                   coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                          listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following                Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator                  You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                    law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a              continuation benefits.
result of the qualifying event:
   Your divorce or legal separation; or
                                                                           HC-FED66                                                     07-14
   Your child ceases to qualify as a Dependent under the Plan.
   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice
                                                                           ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
    month COBRA period).                                                   The name of the Plan is:
(Also refer to the section titled “Disability Extension” for                 Health & Welfare for Employees of Helena Agri-
additional notice requirements.)                                             Enterprises, LLC
Notice must be made in writing and must include: the name of               The name, address, ZIP code and business telephone number
the Plan, name and address of the Employee covered under the               of the sponsor of the Plan is:
Plan, name and address(es) of the qualified beneficiaries                    Helena Agri-Enterprises, LLC
affected by the qualifying event; the qualifying event; the date             225 Schilling Blvd. #300
the qualifying event occurred; and supporting documentation                  Collierville, TN 38017
(e.g., divorce decree, birth certificate, disability determination,          901-537-7241
etc.).                                                                     Employer Identification            Plan Number:
Newly Acquired Dependents                                                  Number (EIN):
If you acquire a new Dependent through marriage, birth,                    710293688                          501
adoption or placement for adoption while your coverage is                  The name, address, ZIP code and business telephone number
being continued, you may cover such Dependent under your                   of the Plan Administrator is:
COBRA continuation coverage. However, only your newborn
or adopted Dependent child is a qualified beneficiary and may                Employer named above
continue COBRA continuation coverage for the remainder of                  The name, address and ZIP code of the person designated as
the coverage period following your early termination of                    agent for service of legal process is:
COBRA coverage or due to a secondary qualifying event.                       Employer named above


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The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:                                                                    disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
                                                                       termination. Rights to purchase limited amounts of life and
The cost of the Plan is shared by Employee and Employer.               medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 12/31.                                  the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
                                                                       on the earliest of the following dates:
A list of any Trustees of the Plan, which includes name, title
and address, is available upon request to the Plan                        the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                                 the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                    if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                          the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.                                    Statement of Rights
Discretionary Authority                                                As a participant in the plan you are entitled to certain rights
The Plan Administrator delegates to Cigna the discretionary            and protections under the Employee Retirement Income
authority to interpret and apply plan terms and to make factual        Security Act of 1974 (ERISA). ERISA provides that all plan
determinations in connection with its review of claims under           participants shall be entitled to:
the plan. Such discretionary authority is intended to include,         Receive Information About Your Plan and Benefits
but not limited to, the determination of the eligibility of             examine, without charge, at the Plan Administrator’s office
persons desiring to enroll in or claim benefits under the plan,          and at other specified locations, such as worksites and union
the determination of whether a person is entitled to benefits            halls, all documents governing the plan, including insurance
under the plan, and the computation of any and all benefit               contracts and collective bargaining agreements and a copy
payments. The Plan Administrator also delegates to Cigna the             of the latest annual report (Form 5500 Series) filed by the
discretionary authority to perform a full and fair review, as            plan with the U.S. Department of Labor and available at the
required by ERISA, of each claim denial which has been                   Public Disclosure room of the Employee Benefits Security
appealed by the claimant or his duly authorized representative.          Administration.
Plan Modification, Amendment and Termination                              obtain, upon written request to the Plan Administrator,
The Employer as Plan Sponsor reserves the right to, at any                 copies of documents governing the Plan, including
time, change or terminate benefits under the Plan, to change or            insurance contracts and collective bargaining agreements,
terminate the eligibility of classes of employees to be covered            and a copy of the latest annual report (Form 5500 Series)
by the Plan, to amend or eliminate any other plan term or                  and updated summary plan description. The administrator
condition, and to terminate the whole plan or any part of it.              may make a reasonable charge for the copies.
Contact the Employer for the procedure by which benefits                  receive a summary of the Plan’s annual financial report. The
may be changed or terminated, by which the eligibility of                  Plan Administrator is required by law to furnish each person
classes of employees may be changed or terminated, or by                   under the Plan with a copy of this summary financial report.
which part or all of the Plan may be terminated. No consent of
any participant is required to terminate, modify, amend or             Continue Group Health Plan Coverage
change the Plan.                                                        continue health care coverage for yourself, your spouse or
Termination of the Plan together with termination of the                 Dependents if there is a loss of coverage under the Plan as a
insurance policy(s) which funds the Plan benefits will have no           result of a qualifying event. You or your Dependents may
adverse effect on any benefits to be paid under the policy(s)            have to pay for such coverage. Review the documents
for any covered medical expenses incurred prior to the date              governing the Plan on the rules governing your federal
that policy(s) terminates. Likewise, any extension of benefits           continuation coverage rights.


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Prudent Actions by Plan Fiduciaries                                     Assistance with Your Questions
In addition to creating rights for plan participants, ERISA             If you have any questions about your plan, you should contact
imposes duties upon the people responsible for the operation            the plan administrator. If you have any questions about this
of the employee benefit plan. The people who operate your               statement or about your rights under ERISA, or if you need
plan, called “fiduciaries” of the Plan, have a duty to do so            assistance in obtaining documents from the plan administrator,
prudently and in the interest of you and other plan participants        you should contact the nearest office of the Employee Benefits
and beneficiaries. No one, including your employer, your                Security Administration, U.S. Department of Labor listed in
union, or any other person may fire you or otherwise                    your telephone directory or the Division of Technical
discriminate against you in any way to prevent you from                 Assistance and Inquiries, Employee Benefits Security
obtaining a welfare benefit or exercising your rights under             Administration, U.S. Department of Labor, 200 Constitution
ERISA. If your claim for a welfare benefit is denied or                 Avenue N.W., Washington, D.C. 20210. You may also obtain
ignored you have a right to know why this was done, to obtain           certain publications about your rights and responsibilities
copies of documents relating to the decision without charge,            under ERISA by calling the publications hotline of the
and to appeal any denial, all within certain time schedules.            Employee Benefits Security Administration.
Enforce Your Rights
Under ERISA, there are steps you can take to enforce the                HC-FED72                                                    05-15
above rights. For instance, if you request a copy of documents
governing the plan or the latest annual report from the plan
and do not receive them within 30 days, you may file suit in a
federal court. In such a case, the court may require the plan           Definitions
administrator to provide the materials and pay you up to $110           Active Service
a day until you receive the materials, unless the materials were        You will be considered in Active Service:
not sent because of reasons beyond the control of the
administrator. If you have a claim for benefits which is denied            on any of your Employer's scheduled work days if you are
or ignored, in whole or in part, you may file suit in a state or            performing the regular duties of your work as determined by
federal court.                                                              your Employer on that day either at your Employer's place
                                                                            of business or at some location to which you are required to
In addition, if you disagree with the plan’s decision or lack               travel for your Employer's business.
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in               on a day which is not one of your Employer's scheduled
federal court. If it should happen that plan fiduciaries misuse             work days if you were in Active Service on the preceding
the plan’s money, or if you are discriminated against for                   scheduled work day.
asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court.           HC-DFS1095                                                  12-17
The court will decide who should pay court costs and legal
fees. If you are successful the court may order the person you
have sued to pay these costs and fees. If you lose, the court           Ambulance
may order you to pay these costs and fees, for example if it            Licensed ambulance transportation services involve the use of
finds your claim is frivolous.                                          specially designed and equipped vehicles for transporting ill or
                                                                        injured patients. It includes ground, air, or sea transportation
                                                                        when Medically Necessary and clinically appropriate.


                                                                        HC-DFS1480                                                  01-21




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Ancillary Charge                                                          or your Physician may be classified as a Brand Drug under the
An additional cost, outside of plan cost sharing detailed in The          plan.
Schedule of Prescription Drug Benefits, which may apply to
some Prescription Drug Products when you request a more                   HC-DFS842                                                     10-16
expensive Brand Drug when a lower cost, Therapeutic
Equivalent, Generic Drug is available. The Ancillary Charge
is the amount by which the cost of the requested Brand Drug               Business Decision Team
exceeds the cost of the Generic Drug.                                     A committee comprised of voting and non-voting
                                                                          representatives across various Cigna business units such as
                                                                          clinical, medical and business leadership that is duly
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                                                                          authorized by Cigna to effect changes regarding coverage
                                                                          treatment of Prescription Drug Products and Medical
Biologic                                                                  Pharmaceuticals based on clinical findings provided by the
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,             P&T Committee, including, but not limited to, changes
blood component or derivative, allergenic product, protein                regarding tier placement and application of utilization
(except any chemically synthesized polypeptide), or analogous             management to Prescription Drug Products and Medical
product, or arsphenamine or derivative of arsphenamine (or                Pharmaceuticals.
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               HC-DFS1494                                                    07-20
human beings, as defined under Section 351(i) of the Public
Health Service Act (42 USC 262(i)) (as amended by the
Biologics Price Competition and Innovation Act of 2009, title             Charges
VII of the Patient Protection and Affordable Care Act, Pub. L.            The term charges means the actual billed charges; except
No. 111-148, § 7002 (2010), and as may be amended                         when Cigna has contracted directly or indirectly for a different
thereafter).                                                              amount including where Cigna has directly or indirectly
                                                                          contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
HC-DFS840                                                    10-16
                                                                          such services and/or supplies.

Biosimilar
                                                                          HC-DFS1193                                                    01-19
A Biologic that is highly similar to the reference Biologic
product notwithstanding minor differences in clinically
inactive components, and has no clinically meaningful                     Chiropractic Care
differences from the reference Biologic in terms of its safety,           The term Chiropractic Care means the conservative
purity, and potency, as defined under Section 351(i) of the               management of neuromusculoskeletal conditions through
Public Health Service Act (42 USC 262(i)) (as amended by                  manipulation and ancillary physiological treatment rendered to
the Biologics Price Competition and Innovation Act of 2009,               specific joints to restore motion, reduce pain and improve
title VII of the Patient Protection and Affordable Care Act,              function.
Pub. L. No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS55                                                      04-10
                                                                                                                                          V1
HC-DFS841                                                    10-16



Brand Drug
A Prescription Drug Product that Cigna identifies as a Brand
Drug product across its book-of-business, principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator
source, that classify drugs or Biologics as either brand or
generic based on a number of factors. Not all products
identified as a "brand name" by the manufacturer, Pharmacy,


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Convenience Care Clinics                                                         the date the child ceases to qualify above. From time to
Convenience Care Clinics are staffed by nurse practitioners                      time, but not more frequently than once a year, the plan
and physician assistants and offer customers convenient,                         may require proof of the continuation of such condition
professional walk-in care for common ailments and routine                        and dependence.
services. Convenience Care Clinics have extended hours and                  The term child means a child born to you or a child legally
are located in or near easy-to-access, popular locations                    adopted by you. It also includes a stepchild or a child for
(pharmacies, grocery and free-standing locations) with or                   whom you are the legal guardian.
without appointment.                                                        Benefits for a Dependent child will continue until the last day
                                                                            of the calendar month in which the limiting age is reached.
HC-DFS1629                                                     07-21        Anyone who is eligible as an Employee will not be considered
                                                                            as a Dependent spouse. A child under age 26 may be covered
                                                                            as either an Employee or as a Dependent child. You cannot be
Custodial Services
                                                                            covered as an Employee while also covered as a Dependent of
Any services that are of a sheltering, protective, or                       an Employee.
safeguarding nature. Such services may include a stay in an
                                                                            No one may be considered as a Dependent of more than one
institutional setting, at-home care, or nursing services to care
                                                                            Employee.
for someone because of age or mental or physical condition.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly              HC-DFS872                                                     10-16
to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care             Designated Pharmacy
for himself or herself. Custodial Services include but are not              A Network Pharmacy that has entered into an agreement with
limited to:                                                                 Cigna, or with an entity contracting on Cigna’s behalf, to
   Services related to watching or protecting a person;                    provide Prescription Drug Products or services, including,
                                                                            without limitation, specific Prescription Drug Products, to plan
   Services related to performing or assisting a person in                 enrollees on a preferred or exclusive basis. For example, a
    performing any activities of daily living, such as: walking,            Designated Pharmacy may provide enrollees certain Specialty
    grooming, bathing, dressing, getting in or out of bed,                  Prescription Drug Products that have limited distribution
    toileting, eating, preparing foods, or taking medications that          availability, provide enrollees with an extended days’ supply
    can be self administered, and                                           of Prescription Drug Products or provide enrollees with
   Services not required to be performed by trained or skilled             Prescription Drug Products on a preferred cost share basis. A
    medical or paramedical personnel.                                       Pharmacy that is a Network Pharmacy is not necessarily a
                                                                            Designated Pharmacy.
HC-DFS4                                                        04-10
                                                                  V1        HC-DFS1614                                                    01-22



Dependent                                                                   Emergency Medical Condition
Dependents are:                                                             Emergency medical condition means a medical condition
   your lawful spouse; and                                                 which manifests itself by acute symptoms of sufficient
                                                                            severity (including severe pain) such that a prudent layperson,
   any child of yours who is                                               who possesses an average knowledge of health and medicine,
     less than 26 years old.                                               could reasonably expect the absence of immediate medical
     26 or more years old, unmarried, and primarily supported              attention to result in placing the health of the individual (or,
      by you and incapable of self-sustaining employment by                 with respect to a pregnant woman, the health of the woman or
      reason of mental or physical disability which arose while             her unborn child) in serious jeopardy; serious impairment to
      the child was covered as a Dependent under this Plan, or              bodily functions; or serious dysfunction of any bodily organ or
      while covered as a dependent under a prior plan with no               part.
      break in coverage.
      Proof of the child's condition and dependence may be                  HC-DFS394                                                     11-10
      required to be submitted to the plan within 31 days after


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                                                                         Expense Incurred
Emergency Services                                                       An expense is incurred when the service or the supply for
Emergency services means, with respect to an emergency                   which it is incurred is provided.
medical condition, a medical screening examination that is
within the capability of the emergency department of a                   HC-DFS10                                                        04-10
Hospital or of an independent freestanding emergency facility,                                                                             V1
including ancillary services routinely available to the
emergency department to evaluate the emergency medical
condition; and such further medical examination and                      Free-Standing Surgical Facility
treatment, to the extent they are within the capabilities of the         The term Free-Standing Surgical Facility means an institution
staff and facilities available at the Hospital, to stabilize the         which meets all of the following requirements:
patient.
                                                                            it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
HC-DFS1482 M                                                01-21           it maintains at least two operating rooms and one recovery
                                                                             room;
Employee                                                                    it maintains diagnostic laboratory and x-ray facilities;
The term Employee means an Employee as determined by                        it has equipment for emergency care;
your Employer who is currently in Active Service.                           it has a blood supply;
                                                                            it maintains medical records;
HC-DFS1094                                                  12-17           it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
Employer                                                                     basis; and
The term Employer means the plan sponsor self-insuring the                  it is licensed in accordance with the laws of the appropriate
benefits described in this booklet, on whose behalf Cigna is                 legally authorized agency.
providing claim administration services.                                 A Free-Standing Surgical Facility, unless specifically noted
                                                                         otherwise, is covered with the same cost share as an
                                                                         Outpatient Facility.
HC-DFS1615                                                  01-22


                                                                         HC-DFS1484                                                      01-21
Essential Health Benefits
Essential health benefits means, to the extent covered under
the plan, expenses incurred with respect to covered services, in         Generic Drug
at least the following categories: ambulatory patient services,          A Prescription Drug Product that Cigna identifies as a Generic
emergency services, hospitalization, maternity and newborn               Drug product at a book-of-business level principally based on
care, mental health and substance use disorder services,                 available data resources, including, but not limited to, First
including behavioral health treatment, prescription drugs,               DataBank or another nationally recognized drug indicator
rehabilitative and habilitative services and devices, laboratory         source, that classify drugs or Biologics (including Biosimilars)
services, preventive and wellness services and chronic disease           as either brand or generic based on a number of factors. Not
management and pediatric services, including oral and vision             all products identified as a “generic” by the manufacturer,
care.                                                                    Pharmacy or your Physician may be classified as a Generic
                                                                         Drug under the plan. A Biosimilar may be classified as a
                                                                         Generic Drug for the purposes of benefits under the plan even
HC-DFS411                                                   01-11
                                                                         if it is identified as a “brand name” drug by the manufacturer,
                                                                         Pharmacy or your Physician.


                                                                         HC-DFS846                                                       10-16




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Hospice Care Program                                                               services under Medicare, if such institution is accredited as
The term Hospice Care Program means:                                               a hospital by the Joint Commission on the Accreditation of
                                                                                   Healthcare Organizations; or
   a coordinated, interdisciplinary program to meet the
    physical, psychological, spiritual and social needs of dying                  an institution which: specializes in treatment of Mental
    persons and their families;                                                    Health and Substance Use Disorder or other related illness;
                                                                                   provides residential treatment programs; and is licensed in
   a program that provides palliative and supportive medical,                     accordance with the laws of the appropriate legally
    nursing and other health services through home or inpatient                    authorized agency.
    care during the illness;
                                                                               The term Hospital does not include an institution which is
   a program for persons who have a Terminal Illness and for                  primarily a place for rest, a place for the aged, or a nursing
    the families of those persons.                                             home.

HC-DFS51                                                          04-10
                                                                               HC-DFS1485                                                       01-21
                                                                    V1


                                                                               Hospital Confinement or Confined in a Hospital
Hospice Care Services
                                                                               A person will be considered Confined in a Hospital if he is:
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar                           a registered bed patient in a Hospital upon the
institution, a Home Health Care Agency, a Hospice Facility,                        recommendation of a Physician;
or any other licensed facility or agency under a Hospice Care                     receiving treatment for Mental Health and Substance Use
Program.                                                                           Disorder Services in a Mental Health or Substance Use
                                                                                   Disorder Residential Treatment Center.
HC-DFS52                                                          04-10
                                                                    V1         HC-DFS807                                                        12-15



Hospice Facility                                                               Injury
The term Hospice Facility means an institution or part of it                   The term Injury means an accidental bodily injury.
which:
   primarily provides care for Terminally Ill patients;                       HC-DFS12                                                         04-10
   is accredited by the National Hospice Organization;                                                                                           V1

   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in
    which it operates.


HC-DFS53                                                          04-10
                                                                    V1



Hospital
The term Hospital means:
   an institution licensed as a hospital, which: maintains, on
    the premises, all facilities necessary for medical and
    surgical treatment; provides such treatment on an inpatient
    basis, for compensation, under the supervision of
    Physicians; and provides 24-hour service by Registered
    Graduate Nurses;
   an institution which qualifies as a hospital, a psychiatric
    hospital or a tuberculosis hospital, and a provider of


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Maintenance Drug Product                                                   methodologies determined by Cigna. Additional information
A Prescription Drug Product that is prescribed for use over an             about how Cigna determines the Maximum Reimbursable
extended period of time for the treatment of chronic or long-              Charge is available upon request.
term conditions such as asthma, hypertension, diabetes and
heart disease, and is identified principally based on                      HC-DFS1631                                                        01-22
consideration of available data resources, including, but not
limited to, First DataBank or another nationally recognized
drug indicator source and clinical factors. For the purposes of            Medicaid
benefits, the list of your plan’s Maintenance Drug Products                The term Medicaid means a state program of medical aid for
does not include compounded medications, Specialty                         needy persons established under Title XIX of the Social
Prescription Drug Products or Prescription Drug Products,                  Security Act of 1965 as amended.
such as certain narcotics that a Pharmacy cannot dispense
above certain supply limits per Prescription Drug Order or
Refill under applicable federal or state law. You may                      HC-DFS16                                                          04-10

determine whether a drug is a Maintenance Medication by                                                                                        V1

calling member services at the telephone number on your ID
card.                                                                      Medical Pharmaceutical
                                                                           An FDA-approved prescription pharmaceutical product,
HC-DFS847                                                     10-16        including a Specialty Prescription Drug Product, typically
                                                                           required to be administered in connection with a covered
                                                                           service by a Physician or Other Health Professional within the
Maintenance Treatment                                                      scope of the provider's license. This definition includes certain
The term Maintenance Treatment means:                                      pharmaceutical products whose administration may initially or
   treatment rendered to keep or maintain the patient's current           typically require Physician or Other Health Professional
    status.                                                                oversight but may be self-administered under certain
                                                                           conditions specified in the product’s FDA labeling.

HC-DFS56                                                      04-10
                                                                V1         HC-DFS1632                                                        01-22




Maximum Reimbursable Charge - Medical                                      Medically Necessary/Medical Necessity
The Maximum Reimbursable Charge for covered services for                   Health care services, supplies and medications provided for
Open Access Plus is determined based on the lesser of:                     the purpose of preventing, evaluating, diagnosing or treating a
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
   the provider’s normal charge for a similar service or supply;
                                                                           all of the following as determined by a Medical Director or
   the amount agreed to by the Out-of-Network provider and                Review Organization:
    Cigna; or
                                                                              required to diagnose or treat an illness, Injury, disease or its
   a policyholder-selected percentile of charges made by                      symptoms;
    providers of such service or supply in the geographic area
                                                                              in accordance with generally accepted standards of medical
    where it is received as compiled in a database selected by
                                                                               practice;
    Cigna. If sufficient charge data is unavailable in the
    database for that geographic area to determine the                        clinically appropriate in terms of type, frequency, extent,
    Maximum Reimbursable Charge, then state, regional or                       site and duration;
    national charge data may be used. If sufficient charge data is            not primarily for the convenience of the patient, Physician
    unavailable in the database for that geographic area to                    or Other Health Professional;
    determine the Maximum Reimbursable Charge, then data in
                                                                              not more costly than an alternative service(s), medication(s)
    the database for similar services may be used.
                                                                               or supply(ies) that is at least as likely to produce equivalent
The percentile used to determine the Maximum Reimbursable                      therapeutic or diagnostic results with the same safety profile
Charge is listed in The Schedule.                                              as to the prevention, evaluation, diagnosis or treatment of
The Maximum Reimbursable Charge is subject to all other                        your Sickness, Injury, condition, disease or its symptoms;
benefit limitations and applicable coding and payment                          and



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   rendered in the least intensive setting that is appropriate for          This term may also include, as applicable, an entity that has
    the delivery of the services, supplies or medications. Where             directly or indirectly contracted with Cigna to arrange for the
    applicable, the Medical Director or Review Organization                  provision of any Prescription Drug Products the charges for
    may compare the cost-effectiveness of alternative services,              which are Covered Expenses.
    supplies, medications or settings when determining least
    intensive setting.
                                                                             HC-DFS1198                                                    01-19
In determining whether health care services, supplies, or
medications are Medically Necessary, the Medical Director or
Review Organization may rely on the clinical coverage                        New Prescription Drug Product
policies maintained by Cigna or the Review Organization.                     A Prescription Drug Product, or new use or dosage form of a
Clinical coverage policies may incorporate, without limitation               previously FDA-approved Prescription Drug Product, for the
and as applicable, criteria relating to U.S. Food and Drug                   period of time starting on the date the Prescription Drug
Administration-approved labeling, the standard medical                       Product or newly-approved use or dosage form becomes
reference compendia and peer-reviewed, evidence-based                        available on the market following approval by the U.S. Food
scientific literature or guidelines.                                         and Drug Administration (FDA) and ending on the date Cigna
                                                                             makes a Prescription Drug List coverage status decision.
HC-DFS1486                                                      01-21

                                                                             HC-DFS1498                                                    07-20

Medicare
The term Medicare means the program of medical care                          Nurse
benefits provided under Title XVIII of the Social Security Act               The term Nurse means a Registered Graduate Nurse, a
of 1965 as amended.                                                          Licensed Practical Nurse or a Licensed Vocational Nurse who
                                                                             has the right to use the abbreviation "R.N.," "L.P.N." or
                                                                             "L.V.N."
HC-DFS17                                                        04-10
                                                                  V1

                                                                             HC-DFS22                                                      04-10
                                                                                                                                               V1
Necessary Services and Supplies
The term Necessary Services and Supplies includes any
charges, except charges for Room and Board, made by a                        Other Health Care Facility
Hospital for medical services and supplies actually used                     The term Other Health Care Facility means a facility other
during Hospital Confinement.                                                 than a Hospital or Hospice Facility. Examples of Other Health
The term Necessary Services and Supplies will not include                    Care Facilities include, but are not limited to, licensed skilled
any charges for special nursing fees, dental fees or medical                 nursing facilities, rehabilitation Hospitals and subacute
fees.                                                                        facilities.


HC-DFS1488                                                      01-21        HC-DFS1489                                                    01-21




Network Pharmacy
A retail or home delivery Pharmacy that has:
   entered into an agreement with Cigna or an entity
    contracting on Cigna's behalf to provide Prescription Drug
    Products to plan enrollees.
   agreed to accept specified reimbursement rates for
    dispensing Prescription Drug Products.
   been designated as a Network Pharmacy for the purposes of
    coverage under your Employer’s plan.




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Other Health Professional                                                 committee regularly reviews Medical Pharmaceuticals or
The term Other Health Professional means an individual other              Prescription Drug Products, including New Prescription Drug
than a Physician who is licensed or otherwise authorized under            Products, for safety and efficacy, the findings of which clinical
the applicable state law to deliver medical services and                  reviews inform coverage determinations made by the Business
supplies. Other Health Professionals include, but are not                 Decision Team. The P&T Committee’s review may be based
limited to physical therapists, registered nurses and licensed            on consideration of, without limitation, U.S. Food and Drug
practical nurses. Other Health Professionals do not include               Administration-approved labeling, standard medical reference
providers such as Certified First Assistants, Certified                   compendia, or scientific studies published in peer-reviewed
Operating Room Technicians, Certified Surgical                            English-language bio-medical journals.
Assistants/Technicians, Licensed Certified Surgical
Assistants/Technicians, Licensed Surgical Assistants,                     HC-DFS1495                                                   07-20
Orthopedic Physician Assistants and Surgical First Assistants.

                                                                          Physician
HC-DFS1490                                                   01-21
                                                                          The term Physician means a licensed medical practitioner who
                                                                          is practicing within the scope of his license and who is
Participating Provider                                                    licensed to prescribe and administer drugs or to perform
The term Participating Provider means a person or entity that             surgery. It will also include any other licensed medical
has a direct or indirect contractual arrangement with Cigna to            practitioner whose services are required to be covered by law
provide covered services and/or supplies, the Charges for                 in the locality where the policy is issued if he is:
which are Covered Expenses. It includes an entity that has                   operating within the scope of his license; and
directly or indirectly contracted with Cigna to arrange, through             performing a service for which benefits are provided under
contracts with providers of services and/or supplies, for the                 this plan when performed by a Physician.
provision of any services and/or supplies, the Charges for
which are Covered Expenses.
                                                                          HC-DFS25                                                     04-10
                                                                                                                                         V1
HC-DFS1194                                                   01-19


                                                                          Pre-Deductible Preventive Medication
Patient Protection and Affordable Care Act of 2010
                                                                          Pre-Deductible Preventive Medications are certain
(“PPACA”)
                                                                          Prescription Drug Products that the Treasury Department and
Patient Protection and Affordable Care Act of 2010 means the              IRS have deemed to be preventive care under Section
Patient Protection and Affordable Care Act of 2010 (Public                223(c)(2) of the Internal Revenue Code, and can therefore be
Law 111-148) as amended by the Health Care and Education                  provided by high deductible health plans on a pre-deductible
Reconciliation Act of 2010 (Public Law 111-152).                          basis. Pre-Deductible Preventive Medications are used to
                                                                          prevent a disease that has not yet manifested itself or not yet
HC-DFS412                                                    01-11
                                                                          become clinically apparent or to prevent the reoccurrence of a
                                                                          disease from which a person has recovered, such as
                                                                          Prescription Drug Products with demonstrated effectiveness in
Pharmacy                                                                  primary or secondary disease prevention. The term Pre-
A duly licensed Pharmacy that dispenses Prescription Drug                 Deductible Preventive Medication does not include
Products in a retail setting or via home delivery. A home                 medications covered at 100% as required by PPACA per
delivery Pharmacy is a Pharmacy that primarily provides                   preventive services guidelines (“PPACA Preventive
Prescription Drug Products through mail order.                            Medication”), the terms of coverage for which are addressed
                                                                          separately in this plan.

HC-DFS851                                                    10-16
                                                                          HC-DFS1514                                                   01-20
                                                                                                                                         V1
Pharmacy & Therapeutics (P&T) Committee
A committee comprised of physicians and an independent
pharmacist that represent a range of clinical specialties. The



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Prescription Drug Charge                                                    Prescription Order or Refill
The Prescription Drug Charge is the amount that, prior to                   The lawful directive to dispense a Prescription Drug Product
application of the plan’s cost-share requirement(s), the plan               issued by a Physician whose scope of practice permits issuing
sponsor is obligated to pay for a covered Prescription Drug                 such a directive.
Product dispensed at a Network Pharmacy, including any
applicable dispensing fee and tax.
                                                                            HC-DFS856                                                     10-16


HC-DFS1320                                                    01-19
                                                                  V1
                                                                            PPACA Preventive Medication
                                                                            The Prescription Drug Products or other medications
                                                                            (including over-the-counter medications) designated as
Prescription Drug List                                                      payable by the plan at 100% of the cost (without application of
A list that categorizes drugs, Biologics (including Biosimilars)            any Deductible, Copayment or Coinsurance) as required by
or other products covered under the plan’s Prescription Drug                applicable law under any of the following:
benefits that have been approved by the U.S. Food and Drug                     Evidence-based items or services that have in effect a rating
Administration (FDA) into coverage tiers. This list is adopted                  of "A" or "B" in the current recommendations of the United
by your Employer as part of the plan. The list is subject to                    States Preventive Services Task Force.
periodic review and change, and is subject to the limitations
and exclusions of the plan. You may determine to which tier a                  With respect to infants, children and adolescents, evidence-
particular Prescription Drug Product has been assigned                          informed preventive care and screenings provided for in the
through the website shown on your ID card or by calling                         comprehensive guidelines supported by the Health
customer service at the telephone number on your ID card.                       Resources and Services Administration.
                                                                               With respect to women, such additional preventive care and
                                                                                screenings as provided for in comprehensive guidelines
HC-DFS1496                                                    07-20
                                                                                supported by the Health Resources and Services
                                                                                Administration.
Prescription Drug Product                                                   A written prescription is required to process a claim for a
A drug, Biologic (including a Biosimilar), or other product                 PPACA Preventive Medication. You may determine whether a
that has been approved by the U.S. Food and Drug                            drug is a PPACA Preventive Medication through the internet
Administration (FDA), certain products approved under the                   website shown on your ID card or by calling member services
Drug Efficacy Study Implementation review, or products                      at the telephone number on your ID card.
marketed prior to 1938 and not subject to review and that can,
under federal or state law, be dispensed only pursuant to a
                                                                            HC-DFS1513                                                    10-20
Prescription Order or Refill. For the purpose of benefits under
the plan, this definition may also include products in the
following categories if specifically identified in the                      Preventive Treatment
Prescription Drug List:                                                     The term Preventive Treatment means treatment rendered to
   Certain durable products and supplies that support drug                 prevent disease or its recurrence.
    therapy;
   Certain diagnostic testing and screening services that                  HC-DFS57                                                      04-10
    support drug therapy;                                                                                                                   V1

   Certain medication consultation and other medication
    administration services that support drug therapy; and
   Certain digital products, applications, electronic devices,
    software and cloud based service solutions used to predict,
    detect and monitor health conditions in support of drug
    therapy.


HC-DFS1633                                                    01-22




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Prescription Drug Product or Medical Pharmaceutical
                                                                          considered by Cigna to be a Specialty Prescription Drug
HC-DFS808                                                    12-15        Product based on consideration of the following factors,
                                                                          subject to applicable law: whether the Prescription Drug
                                                                          Product or Medical Pharmaceutical is prescribed and used for
Room and Board                                                            the treatment of a complex, chronic or rare condition; whether
The term Room and Board includes all charges made by a                    the Prescription Drug Product or Medical Pharmaceutical has
Hospital for room and meals and for all general services and              a high acquisition cost; and, whether the Prescription Drug
activities needed for the care of registered bed patients.                Product or Medical Pharmaceutical is subject to limited or
                                                                          restricted distribution, requires special handling and/or
                                                                          requires enhanced patient education, provider coordination or
HC-DFS1481                                                   01-21
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Prescription Drug Product or Medical Pharmaceutical will


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be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit                        Urgent Care
assignment based on factors such as method or site of clinical
administration, or by tier assignment or utilization                       Urgent Care is medical, surgical, Hospital or related health
management requirements based on factors such as acquisition               care services and testing which are not Emergency Services,
cost. You may determine whether a medication is a Specialty                but which are determined by Cigna, in accordance with
Prescription Drug Product through the website shown on your                generally accepted medical standards, to have been necessary
ID card or by calling member services at the telephone                     to treat a condition requiring prompt medical attention. This
number on your ID card.                                                    does not include care that could have been foreseen before
                                                                           leaving the immediate area where you ordinarily receive
                                                                           and/or were scheduled to receive services. Such care includes,
HC-DFS858                                                   10-16          but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
                                                                           that the insured should not travel due to any medical
Stabilize
                                                                           condition.
Stabilize means, with respect to an emergency medical
condition, to provide such medical treatment of the condition
as may be necessary to assure, within reasonable medical                   HC-DFS34                                                     04-10

probability that no material deterioration of the condition is                                                                            V1

likely to result from or occur during the transfer of the
individual from a facility.                                                Usual and Customary (U&C) Charge
                                                                           The usual fee that a Pharmacy charges individuals for a
HC-DFS413                                                   01-11          Prescription Drug Product (and any services related to the
                                                                           dispensing thereof) without reference to reimbursement to the
                                                                           Pharmacy by third parties. The Usual and Customary (U&C)
Terminal Illness                                                           Charge includes a dispensing fee and any applicable sales tax.
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.                                      HC-DFS861                                                    10-16




HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Prescription Drug Product or Medical Pharmaceutical that is
of the same therapeutic or pharmacological class, and usually
can be expected to have similar outcomes and adverse reaction
profiles when administered in therapeutically equivalent doses
as, another Prescription Drug Product, Medical
Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16




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   The following pages describe the features of your Cigna Choice Fund - Health Savings Account. Please read
                                                 them carefully.




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                                                                        weight loss programs, fitness club and equipment discounts,
                                                                        and more.
What You Should Know About Cigna
Choice Fund® – Health Savings Account                                   The Basics
                                                                        Who is eligible?
Cigna Choice Fund is designed to give you:
                                                                        You are eligible to open a Health Savings Account only if you
Control                                                                 are covered under a federally qualified high deductible health
You decide how much you’d like to contribute (up to federal             plan, such as the one described in this booklet. You cannot be
limits) to your Health Savings Account. You decide how and              covered by Medicare or any other individual or group health
when to access your account. And the money in the account is            plan that is not a federally qualified high deductible health
yours until you spend it. Unused dollars remain in your                 plan. You can no longer contribute to the HSA once you:
account from year to year and earn interest.                            become entitled to Medicare due to age; or are no longer
Choice                                                                  covered under a high deductible health plan. However, you
                                                                        will still be able to use the HSA funds for qualified health care
You have the freedom to choose any licensed doctor, even
                                                                        expenses.
those who do not participate with Cigna. Your costs are
lower for services from Cigna contracted health care                    How does it work?
professionals and facilities because they have agreed to accept         The Health Savings Account combines a health care plan with
discounted payments to help you make the most of your health            a tax-free savings account.
care dollars.
                                                                        1. You, your employer or both may contribute to your
Easy Access to your HSA Dollars                                            account. Contributions are tax-free up to federal limits.
You can draw money directly from your health savings                    2. You choose how to pay for qualified health care
account using your HSA debit card, checkbook (if purchased)                expenses:
or online bill pay. Or, you may choose automatic claim                      You may pay for qualified expenses on your own using a
forwarding, which allows qualified medical claims to pay                     debit card, checkbook (if purchased) or online bill pay
directly from your account to your doctor or hospital.                       that draws from your health savings account.
Flexibility and Tax Savings                                                You may choose the Automatic Claim Forwarding option,
You can also choose to pay for medical expenses out of your                 allowing qualifying medical expenses to be paid directly
pocket until you reach the deductible, allowing you to save for             to your doctor, hospital, or other facility from your HSA.
qualified health care expenses in future years or retirement.               You can change your election at any time during the year.
You are not taxed on your HSA withdrawals unless you use                   You may choose to cover your expenses using other
the money to pay for nonqualified expenses.                                 personal funds. This allows you to save the money in your
Health Information and Education                                            HSA for qualified health care expenses in future years or
Call the toll-free number on your ID card to reach Cigna's 24-              at retirement. The balance in your savings account will
Hour Health Information LineSM, giving you access to trained                earn interest.
nurses and an audio library of health topics 24 hours a day. In         3. Once you meet your deductible, you and your plan share
addition, the Cigna Healthy Pregnancies, Healthy Babies®                   the costs. Depending on your plan, you pay pre-determined
program provides prenatal education and support for mothers-               coinsurance or copayments for certain services. Your
to-be.                                                                     employer determines the maximum amount of out-of-pocket
Tools & Support                                                            expenses you pay each year. Once you meet the maximum,
                                                                           the plan pays covered expenses at 100%.
We help you keep track of your health and coverage with
online benefits information, transactions, and account activity;        Your HSA can be a tax-sheltered savings tool. Because your
medical and drug cost comparisons; monthly statements; and              HSA rolls over year after year, and unused money
more. You also have 24/7/365 toll-free access to a dedicated            accumulates tax-deferred interest, you have the option to pay
Customer Service team, specially trained to answer your                 for current qualified health care expenses out of your pocket
questions and address your needs.                                       and use the account to save for future qualified expenses.
Savings on Health and Wellness Products and Services                    Please note: Your HSA contributions are not taxable under
                                  ®                                     federal and most state laws. However, your contributions to
Through Cigna Healthy Rewards , you can save money on a
                                                                        your HSA may be taxable as income in certain states. Please
variety of health-related products and services. Offerings
                                                                        consult your tax advisor for guidance.
include laser vision correction, acupuncture, chiropractic care,


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Which services are covered by my Cigna Choice Fund                      Wherever you go in the U.S., you take the Cigna 24-Hour
Health Savings Account?                                                 Health Information Line with you.
Money in your HSA can be used only to cover qualified health            Whether it’s late at night, or your child has a fever, or you’re
care expenses for you and your dependents as allowed under              traveling and you’re not sure where to get care, or you don’t
federal tax law. In addition, your HSA may be used to cover             feel well and you’re unsure about the symptoms, you can call
COBRA continuation premiums, qualified long-term care                   the Cigna 24-Hour Health Information Line whenever you
insurance premiums, health plan premiums when you are                   have a question. Call the toll-free number on your Cigna ID
receiving unemployment compensation, or Medicare or retiree             card and you will speak to a nurse who will help direct you to
health plan premiums (excluding Medicare Supplement or                  the appropriate care.
Medigap premiums) once you reach age 65. If you use your                www.myCigna.com
HSA funds for expenses that are not allowed under federal tax
law, the withdrawal will be subject to tax, and you will incur a        www.myCigna.com provides fast, reliable and personalized
20 percent tax penalty. The 20 percent penalty is not                   information and service, including:
applicable once you reach age 65. A list of qualified health               Online access to your current account balance, past
care expenses is available through www.myCigna.com.                         transactions and claim status, as well as your Explanation of
Which services are covered by my Cigna medical plan, and                    Benefits and health statements.
which will I have to pay out of my own pocket?                             Medical cost and drug cost information, including cost
Covered services vary depending on your plan, so visit                      estimates specific to you and your plan.
www.myCigna.com or check your plan materials in this                       Explanations of other Cigna products and services, what
booklet for specific information. In addition to your monthly               they are and how you can use them.
premiums deducted from your paycheck, you’ll be responsible                Frequently asked questions about health care in general and
for paying:                                                                 Cigna Choice Fund specifically.
   Any health care services not covered by your plan.                     A number of convenient, helpful tools that let you:
   Costs for any services you receive until you meet your                  Compare costs
    deductible, if you choose not to use your health savings
                                                                            Use tools to compare costs and help you decide where to get
    account, or after you spend all the money in your account.
                                                                            care. You can compare out-of-pocket estimates, specific to
   Your share of the cost for your covered health care expenses            your coverage plan, for actual treatment and procedures and
    (coinsurance or copayments) after you meet the deductible               costs.
    and your medical plan coverage begins.
                                                                            Find out more about your local hospitals
Tools and Resources at Your Fingertips
                                                                            Learn how hospitals rank by number of procedures
If you’re not sure where to begin, you have access to health                performed, patients’ average length of stay, and cost. Go to
advocates.                                                                  our online healthcare professional directory for estimated
You now have access to health specialists, including                        costs for certain procedures, including total charges and
individuals trained as nurses, coaches, nutritionists and                   your out-of-pocket expense, based on your Cigna plan. You
clinicians, who will listen, understand your needs and help you             can also find hospitals that earn the Centers of Excellence
find solutions, even when you’re not sure where to begin.                   designation based on effectiveness in treating selected
Partner with a health coach and get help to maintain good                   procedures/conditions and cost.
eating and exercise habits; support and encouragement to set                Get the facts about your medication, cost, treatment
and reach health improvement goals; and guidance to better                  options and side effects
manage conditions, including coronary artery disease, low
back pain, osteoarthritis, high blood pressure, high cholesterol            Use the pharmacy tools to: check your prescription drug
and more. From quick answers to health questions to                         costs, listed by specific pharmacy and location (including
                                                                            Cigna Home Delivery Pharmacy); and review your claims
assistance with managing more serious health needs, call the
                                                                            history for the past 16 months. Look at condition-specific
toll-free number on your Cigna ID card or visit
                                                                            drug treatments and compare characteristics of more than
www.myCigna.com. See your benefits administrator for more
details about all of the services you have access to through                200 common medications. Evaluate up to 10 medications at
your plan.                                                                  once to better understand side effects, drug interactions and
                                                                            alternatives.




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    Take control of your health                                             www.myCigna.com also includes a Healthcare Professional
    Take the health assessment, an online questionnaire that can             Excellence Recognition Directory. This directory includes
    help you identify and monitor your health status. You can                information on:
    learn about preventive care and check your progress toward                Participating physicians who have achieved recognition
    healthy goals. And if your results show that you may benefit               from the National Committee for Quality Assurance
    from other services, you can learn about related Cigna                     (NCQA) for diabetes and/or heart and stroke care.
    programs on the same site.                                                Hospitals that fully meet The Leapfrog Group patient
    Explore topics on medicine, health and wellness                            safety standards.
    Get information on more than 5,000 health conditions,                A little knowledge goes a long way.
    health and wellness, first aid and medical exams through             Getting the facts about your care, such as treatment options
    Healthwise® Medical Encyclopedia, an interactive library.            and health risks is important to your health and well-being,
    Keep track of your personal health information                       and your pocketbook. For instance:
    Health Record is your central, secure location for your                 Getting appropriate preventive care is key to staying
    medical conditions, medications, allergies, surgeries,                   healthy. Visit www.myCigna.com to learn more about
    immunizations, and emergency contacts. You can add your                  proper preventive care and what’s covered under your plan.
    health assessment results to Health Record, so you can                  When it comes to medications, talk to your doctor about
    easily print and share the information with your doctor.                 whether generic drugs are right for you. The brand-name
    Your lab results from certain facilities can be automatically            drugs you are prescribed may have generic alternatives that
    entered into your Personal Health Record.                                could lower your costs. If a generic version of your brand-
    Chart progress of important health indicators                            name drug is not available, other generic drugs with the
    Input key data such as blood pressure, blood sugar,                      same treatment effect may meet your needs.
    cholesterol (Total/LDL/HDL), height and weight, and                     Tools on www.myCigna.com can help you take control of
    exercise regimen. Health Tracker makes it easy to chart                  your health and health care spending. You can learn about
    the results and share them with your doctor.                             medical topics and wellness, and keep track of your
Getting the Most from Your HSA                                               personal health information. You can also print personalized
                                                                             reports to discuss with your doctor.
As a consumer, you make decisions every day, from buying
the family car to choosing the breakfast cereal. Make yourself
a more educated health care consumer and you’ll find that                NOT153                                                         V5
you, too, can make a difference in the health care services you
receive and what you ultimately pay.
If you choose to see a Cigna participating health care
professional, the cost is based on discounted rates, so your
costs will be lower. If you visit a health care professional or
facility not in the network, you may still use your HSA to pay
for the cost of those services, but you will pay a higher rate,
and you may have to file claims.
If you need hospital care, there are several tools to help
you make informed decisions about quality and cost.
 With the Hospital Comparison tool on www.myCigna.com,
   you can learn how hospitals rank by number of procedures
   performed, patients’ average length of stay, and cost.
   Visit our healthcare professional directory for Cigna Centers
    of Excellence, providing hospital scores for specific
    procedures/conditions, such as cardiac care, hip and knee
    replacement, and bariatric surgery. Scores are based on cost
    and effectiveness in treating the procedure/condition, based
    on publicly available data.




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                    Exhibit 16
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  Michael Sullivan & Associates
  LLP



   OPEN ACCESS PLUS




  EFFECTIVE DATE: August 1, 2023




   CN019
   3337191




   This document printed in August, 2023 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                                                                                   Home Office: Bloomfield, Connecticut
                                                                          Mailing Address: Hartford, Connecticut 06152




  CIGNA HEALTH AND LIFE INSURANCE COMPANY
  a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
  provided by the following policy(s):




  POLICYHOLDER: Michael Sullivan & Associates LLP



  GROUP POLICY(S) — COVERAGE
  3337191 - OAP OPEN ACCESS PLUS



  EFFECTIVE DATE: August 1, 2023




  This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
  the policy(s). If questions arise, the policy(s) will govern.
  This certificate takes the place of any other issued to you on a prior date which described the insu rance.




  HC-CER5                                                                                                   04-10
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this Plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
                                                                             Following an initial assessment, the Case Manager works
services by calling the toll-free number shown on the back of
                                                                              with you, your family and Physician to determine the needs
your ID card.
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP63                                                      01-20           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
                                                                              and supplies, as needed (for example, nursing services or a
Case Management is a service provided through a Review                        Hospital bed and other Durable Medical Equipment for the
Organization, which assists individuals with treatment needs                  home).
that extend beyond the acute care setting. The goal of Case
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for                While participation in Case Management is strictly voluntary,
necessary resources. Case Managers are also available to                  Case Management professionals can offer quality, cost-
answer questions and provide ongoing support for the family               effective treatment alternatives, as well as provide assistance
in times of medical crisis.                                               in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
                                                                          HC-SPP2                                                         04-10
neonates, oncology, mental health, rehabilitation or general
                                                                                                                                             V1
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by               Additional Programs
a panel of Physician advisors who offer guidance on up-to-                We may, from time to time, offer or arrange for various
date treatment programs and medical technology. While the                 entities to offer discounts, benefits, or other consideration to
Case Manager recommends alternate treatment programs and                  our members for the purpose of promoting the general health
helps coordinate needed resources, the patient's attending                and well being of our members. We may also arrange for the
Physician remains responsible for the actual medical care.                reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Mental Health Parity and Addiction Equity Act
                                                                         The Certificate is amended as stated below:
HC-SPP3                                                     04-10
                                                                         In the event of a conflict between the provisions of your plan
                                                                V1
                                                                         documents and the provisions of this notice, the provisions
                                                                         that provide the better benefit shall apply.
Care Management and Care Coordination Services
                                                                         Visit Limits:
Cigna may enter into specific collaborative arrangements with
                                                                         Any health care service billed with a Mental Health or
health care professionals committed to improving quality care,
                                                                         Substance Use Disorder diagnosis, will not incur a visit limit,
patient satisfaction and affordability. Through these
                                                                         including but not limited to genetic counseling.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care
management and care coordination services to facilitate                  HC-NOT93                                                      08-17
achievement of these goals. Reimbursement is provided at
100% for these services when rendered by designated health
care professionals in these collaborative arrangements.                  Important Information
                                                                         Rebates and Other Payments
HC-SPP27                                                    06-15
                                                                         Cigna or its affiliates may receive rebates or other
                                                                V1
                                                                         remuneration from pharmaceutical manufacturers in
                                                                         connection with certain Medical Pharmaceuticals covered
                                                                         under your plan and Prescription Drug Products included on
                                                                         the Prescription Drug List. These rebates or remuneration are
Important Notices                                                        not obtained on you or your Employer’s or plan’s behalf or for
Direct Access to Obstetricians and Gynecologists                         your benefit.
You do not need prior authorization from the plan or from any            Cigna, its affiliates and the plan are not obligated to pass these
other person (including a primary care provider) in order to             rebates on to you, or apply them to your plan’s Deductible if
obtain access to obstetrical or gynecological care from a health         any or take them into account in determining your
care professional in our network who specializes in obstetrics           Copayments and/or Coinsurance. Cigna and its affiliates or
or gynecology. The health care professional, however, may be             designees may conduct business with various pharmaceutical
required to comply with certain procedures, including                    manufacturers separate and apart from this plan’s Medical
obtaining prior authorization for certain services, following a          Pharmaceutical and Prescription Drug Product benefits. Such
pre-approved treatment plan, or procedures for making                    business may include, but is not limited to, data collection,
referrals. For a list of participating health care professionals         consulting, educational grants and research. Amounts received
who specialize in obstetrics or gynecology, visit                        from pharmaceutical manufacturers pursuant to such
www.mycigna.com or contact customer service at the phone                 arrangements are not related to this plan. Cigna and its
number listed on the back of your ID card.                               affiliates are not required to pass on to you, and do not pass on
                                                                         to you, such amounts.
Selection of a Primary Care Provider
                                                                         Coupons, Incentives and Other Communications
This plan generally allows the designation of a primary care
provider. You have the right to designate any primary care               At various times, Cigna or its designee may send mailings to
provider who participates in the network and who is available            you or your Dependents or to your Physician that
to accept you or your family members. For information on                 communicate a variety of messages, including information
how to select a primary care provider, and for a list of the             about Medical Pharmaceuticals and Prescription Drug
participating primary care providers, visit www.mycigna.com              Products. These mailings may contain coupons or offers from
or contact customer service at the phone number listed on the            pharmaceutical manufacturers that enable you or your
back of your ID card.                                                    Dependents, at your discretion, to purchase the described
                                                                         Medical Pharmaceutical and Prescription Drug Product at a
For children, you may designate a pediatrician as the primary            discount or to obtain it at no charge. Pharmaceutical
care provider.                                                           manufacturers may pay for and/or provide the content for
                                                                         these mailings. Cigna, its affiliates and the plan are not
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                                                                         responsible in any way for any decision you make in




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connection with any coupon, incentive, or other offer you may                 Provides free language services to people whose primary
receive from a pharmaceutical manufacturer or Physician.                       language is not English, such as
If Cigna determines that a Pharmacy, pharmaceutical                             Qualified interpreters
manufacturer or other third party is or has waived, reduced, or                 Information written in other languages
forgiven any portion of the charges and/or any portion of
Copayment, Deductible, and/or Coinsurance amount(s) you                    If you need these services, contact customer service at the toll-
are required to pay for a Prescription Drug Product without                free phone number shown on your ID card, and ask a
Cigna’s express consent, then Cigna in its sole discretion shall           Customer Service Associate for assistance.
have the right to deny the payment of plan benefits in                     If you believe that Cigna has failed to provide these services
connection with the Prescription Drug Product, or reduce the               or discriminated in another way on the basis of race, color,
benefits in proportion to the amount of the Copayment,                     national origin, age, disability or sex, you can file a grievance
Deductible, and/or Coinsurance amounts waived, forgiven or                 by sending an email to ACAGrievance@cigna.com or by
reduced, regardless of whether the Pharmacy, pharmaceutical                writing to the following address:
manufacturer or other third party represents that you remain                   Cigna
responsible for any amounts that your plan does not cover. In                  Nondiscrimination Complaint Coordinator
the exercise of that discretion, Cigna shall have the right to                 P.O. Box 188016
require you to provide proof sufficient to Cigna that you have                 Chattanooga, TN 37422
made your required cost share payment(s) prior to the payment
of any benefits by the plan.                                               If you need assistance filing a written grievance, please call
                                                                           the number on the back of your ID card or send an email to
For example, if you use a coupon provided by a                             ACAGrievance@cigna.com. You can also file a civil rights
pharmaceutical manufacturer or other third party that                      complaint with the U.S. Department of Health and Human
discounts the cost of a Prescription Drug Product, Cigna may,              Services, Office for Civil Rights electronically through the
in its sole discretion, reduce the benefits up to the amount of            Office for Civil Rights Complaint Portal, available at:
the incentive, which may be 100% if the incentive covers                   https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
100%. This includes any amount of the Copayment,                           phone at:
Deductible, and/or Coinsurance amounts to which the value of
                                                                               U.S. Department of Health and Human Services
the coupon has been applied by the Pharmacy or other third
                                                                               200 Independence Avenue, SW
party. The amount of the incentive will be excluded from
accumulation toward any plan Deductible or Out-of-Pocket                       Room 509F, HHH Building
Maximum if the value of any coupon was applied to any                          Washington, D.C. 20201
                                                                               1-800-368-1019, 800-537-7697 (TDD)
Copayment, Deductible and/or Co-insurance you are required
to pay.                                                                    Complaint forms are available at
                                                                           http://www.hhs.gov/ocr/office/file/index.html.

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                                                                  V3       HC-NOT96                                                      07-17




Discrimination is Against the Law                                          Proficiency of Language Assistance Services
Cigna complies with applicable Federal civil rights laws and               English – ATTENTION: Language assistance services, free
does not discriminate on the basis of race, color, national                of charge, are available to you. For current Cigna customers,
origin, age, disability or sex. Cigna does not exclude people or           call the number on the back of your ID card. Otherwise, call
treat them differently because of race, color, national origin,            1.800.244.6224 (TTY: Dial 711).
age, disability or sex.                                                    Spanish – ATENCIÓN: Hay servicios de asistencia de
Cigna:                                                                     idiomas, sin cargo, a su disposición. Si es un cliente actual de
   Provides free aids and services to people with disabilities to         Cigna, llame al número que figura en el reverso de su tarjeta
    communicate effectively with us, such as:                              de identificación. Si no lo es, llame al 1.800.244.6224 (los
                                                                           usuarios de TTY deben llamar al 711).
     Qualified sign language interpreters
                                                                           Chinese – 注意：我們可為您免費提供語言協助服務。
     Written information in other formats (large print, audio,
                                                                           對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
      accessible electronic formats, other formats)
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。




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Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp             連絡ください。その他の方は、1.800.244.6224（TTY:
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của               711）まで、お電話にてご連絡ください。
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                     Italian – ATTENZIONE: Sono disponibili servizi di
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                     assistenza linguistica gratuiti. Per i clienti Cigna attuali,
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                    chiamare il numero sul retro della tessera di identificazione.
                                                                     In caso contrario, chiamare il numero 1.800.244.6224 (utenti
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                       TTY: chiamare il numero 711).
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                          German – ACHTUNG: Die Leistungen der
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                   Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
                                                                     Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
(TTY: 다이얼 711)번으로 전화해주십시오.                                           Nummer auf der Rückseite Ihrer Krankenversicherungskarte
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                  an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
tulong sa wika nang libre. Para sa mga kasalukuyang customer         Sie 711).
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).                                                          HC-NOT97                                                    07-17



                                                                     Special Plan Provisions
                                                                     The Cigna 24-Hour Health Information Line
                                                                     The 24-Hour Health Information Line (HIL) assists you in
French Creole – ATANSYON: Gen sèvis èd nan lang ki                   understanding the right level of treatment at the right time.
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki          Trained Nurses provide health and medical information and
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                    assist you to choose the most appropriate care resource. Our
(TTY: Rele 711).                                                     Health Information Line Nurses identify level of care
                                                                     resources in the individual’s area (emergency, urgent,
French – ATTENTION: Des services d’aide linguistique vous            Physician, home/self-care), provide general health information
sont proposés gratuitement. Si vous êtes un client actuel de         (preventive care, illness condition definitions, diagnostic and
Cigna, veuillez appeler le numéro indiqué au verso de votre          surgical procedures, etc.), and can help you find network
carte d’identité. Sinon, veuillez appeler le numéro                  providers. You can call the Health Information Line and get
1.800.244.6224 (ATS : composez le numéro 711).                       live support 24 hours a day, 7 days a week. Dial the number
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                  on the back of your Cigna ID card and you’ll be connected
assistência linguística, totalmente gratuitos. Para clientes         directly to a Specialist trained as a Nurse who is ready to help
Cigna atuais, ligue para o número que se encontra no verso do        answer your health questions.
seu cartão de identificação. Caso contrário, ligue para              Appointment Scheduling
1.800.244.6224 (Dispositivos TTY: marque 711).
                                                                     You should have access to timely appointments and
Polish – UWAGA: w celu skorzystania z dostępnej,                     scheduling. The following guidelines represent both the plan’s
bezpłatnej pomocy językowej, obecni klienci firmy Cigna              and the state of California’s requirements for appointment
mogą dzwonić pod numer podany na odwrocie karty                      accessibility with Participating Providers:
identyfikacyjnej. Wszystkie inne osoby prosimy o
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                Emergent or high risk cases should have access to
                                                                         immediate appointments, appropriate emergency room
Japanese –                                                               authorization or direction to dial 911.
注意事項：日本語を話される場合、無料の言語支援サー
ビスをご利用いただけます。現在のCignaの
お客様は、IDカード裏面の電話番号まで、お電話にてご


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   Urgent cases not requiring prior-authorization should have           The Department of Insurance should be contacted only
    access to appointments within 24 hours of the appointment            after discussions with the insurer have failed to produce a
    request.                                                             satisfactory resolution to the problem.
   If services must be prior authorized, appointments should be         PLEASE READ THE FOLLOWING INFORMATION
    offered concurrent with the prior authorization request and          SO YOU WILL KNOW FROM WHOM OR WHAT
    the appointment should be provided within 96 hours of the            GROUP OF PROVIDERS HEALTH CARE MAY BE
    appointment request.                                                 OBTAINED
   Non-urgent, symptomatic or routine appointments with a               Participating Providers
    PCP should be scheduled within 10 days of the appointment            Copayment, Deductible, and Coinsurance options reflect the
    request.                                                             amount the covered person will pay for In-Network and Out-
   Non-urgent, symptomatic or routine appointments with a               of-Network benefits. In-Network benefits require use of
    Specialist should be scheduled within 15 days of the                 Participating Providers or facilities in the Service Area. Cigna
    appointment request.                                                 recommends use of Participating Providers and facilities, as
   Preventive screenings and physicals should be scheduled              member out-of-pocket costs could be lower than when using
    within 30 days of the appointment request.                           non-Participating Providers.
   Non-urgent appointments for ancillary services for the               Service Area
    diagnosis or treatment of Injury or Sickness, or other health        The term Service Area means the area in which Cigna has a
    condition should be scheduled within 15 days of the                  Participating Provider network. Cigna's national network of
    appointment request.                                                 Participating Providers is within the United States. Cigna's
   Non-urgent appointments with a non-Physician mental                  toll-free care line personnel can provide you with the names of
    health care provider should be scheduled within 10 business          Participating Providers. If you or your Dependents need
    days of the appointment request.                                     medical care, you may obtain a listing of Participating
                                                                         Providers by calling the number on your ID card. A listing of
   Average waiting time in the office should not exceed 30              Participating Providers can also be found at www.cigna.com.
    minutes.
                                                                         Away From Home Care
   When it is necessary for you or a health care professional to
    reschedule an appointment, the appointment shall be                  If you or your Dependents need medical care while away from
    promptly rescheduled in a manner that is appropriate for             home, you may have access to a national network of
    your health care needs, and ensures continuity of care               Participating Providers through Cigna's Away-From-Home
    consistent with good professional practice.                          Care feature. Call the number on your ID card for the names
                                                                         of Participating Providers in other network areas.
   The applicable waiting time for a particular appointment
    may be extended if the referring or treating provider, or the        Emergency Services
    health professional providing triage or screening services,          Benefits for services and supplies received outside the Service
    has determined and noted in the relevant record that a               Area are covered only for medical emergencies and other
    longer wait time will not have a detrimental impact on your          urgent situations where treatment could not have been
    health.                                                              reasonably delayed until the insured person was able to return
                                                                         to the United States.
Accessing Health Care                                                    To contact the Department of Insurance, write or call:
To contact the Department of Insurance, for complaints                     Consumer Affairs Division
regarding your ability to access health care in a timely                   California Department of Insurance
manner, write or call:                                                     Ronald Reagan Building
                                                                           300 South Spring Street
    Consumer Affairs Division                                              Los Angeles, CA 90013
    California Department of Insurance                                     Calling within California: 1-800-927-4357
    Ronald Reagan Building                                                 Los Angeles Area and Outside California: 1-213-897-8921
    300 South Spring Street
    Los Angeles, CA 90013                                                The Department of Insurance should be contacted only after
                                                                         discussions with the insurer have failed to produce a
    Calling within California: 1-800-927-4357                            satisfactory resolution to the problem.
    Los Angeles Area and Outside California: 1-213-897-
    8921



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Your Rights Under HIPAA If You Lose Group Coverage                      Discrimination is Against the Law
Federal law known as the Health Insurance Portability and               Cigna complies with applicable Federal civil rights laws and
Accountability Act of 1996 (HIPAA) protects health insurance            does not discriminate on the basis of race, color, national
coverage for workers and their families when they change or             origin, age, disability, or sex. Cigna also does not discriminate
lose their jobs. California law provides similar and additional         on the basis of race, color, national origin, ancestry, religion,
protections. If you lose group health insurance coverage and            sex, marital status, gender, gender identity, sexual orientation
meet certain criteria, you are entitled to purchase individual          age or disability.
health coverage (non-group) from any health plan that sells             Cigna:
individual coverage for hospital, medical or surgical benefits.
Every health plan that sells individual health coverage for                Provides free aids and services to people with disabilities to
these benefits must offer individual coverage to an eligible                communicate effectively with us, such as:
person under HIPAA. The health plan cannot reject your                       qualified sign language interpreters.
application if: you are an eligible person under HIPAA; you                  written information in other formats (large print, audio,
agree to pay the required premiums; and you live or work                      accessible electronic formats, other formats).
inside the plan's service area. To be considered an eligible
                                                                           Provides free language services to people whose primary
person under HIPAA you must meet the following
                                                                            language is not English, such as:
requirements:
                                                                             qualified interpreters.
   you have 18 or more months of creditable coverage without
    a break of 63 days or more between any of the periods of                 information written in other languages.
    creditable coverage or since your most recent coverage was          If you need these services, contact customer service at the toll-
    terminated;                                                         free number shown on your ID card, and ask a Customer
   your most recent creditable coverage was a group,                   Service Associate for assistance.
    government or church plan that provided hospital, medical           If you believe that Cigna has failed to provide these services
    or surgical benefits. (COBRA and Cal-COBRA are                      or discriminated in another way on the basis of race, color,
    considered group coverage);                                         national origin, ancestry, religion, sex, marital status, gender,
   you were not terminated from your most recent creditable            gender identity, sexual orientation age or disability, you can
    coverage due to nonpayment of premiums or fraud;                    file a grievance by sending an email to the Nondiscrimination
                                                                        Complaint Coordinator at ACAGrievance@Cigna.com or by
   you are not eligible for coverage under a group health plan,
    Medicare, or Medicaid (Medi-Cal);                                   writing to the following address:

   you have no other health insurance coverage; and                        Cigna
                                                                            Nondiscrimination Complaint Coordinator
   you have elected and exhausted any continuation coverage                PO Box 188016
    you were offered under COBRA or Cal-COBRA.                              Chattanooga, TN 37422
There are important choices you need to make in a very short                You may also call the number on the back of your ID card
time frame regarding the options available to you following                 or 1-800-244-6224
termination of your group health care coverage. You should                  Fax: 866-254-9406
read carefully all available information regarding HIPAA                If you need assistance filing a written grievance, please call
coverage so you can understand fully the special protections of         the number on the back of your ID card or send an email to
HIPAA coverage and make an informed comparison and                      ACAGrievance@Cigna.com. You can also file a civil rights
choice regarding available coverage. For more information,              complaint with the U.S. Department of Health and Human
please call the number on your ID card.                                 Services, Office for Civil Rights electronically through the
If you believe your HIPAA rights have been violated, you                Office for Civil Rights Complaint Portal, available at
should contact the CA Department of Insurance or visit the              https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
Department’s web site.                                                  phone at:
                                                                            U.S. Department of Health and Human Services
                                                                            200 Independence Avenue, SW
                                                                            Room 509F, HHH Building
                                                                            Washington, DC 20201
                                                                            1-800-368-1019, 1-800-537-7697 (TDD)




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Complaint forms are available at                                          WARNING: Any person who knowingly and with intent to
http://www.hhs.gov/ocr/office/file/index.html.                            defraud any insurance company or other person files an
                                                                          application for insurance or statement of claim containing any
                                                                          materially false information; or conceals for the purpose of
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                                                                          misleading, information concerning any material fact thereto,
                                                               V1         commits a fraudulent insurance act.


                                                                          HC-CLM25                                                     01-11
How To File Your Claim                                                                                                                    V11

There’s no paperwork for In-Network care. Just show your
identification card and pay your share of the cost, if any; your
provider will submit a claim to Cigna for reimbursement. Out-             Eligibility - Effective Date
of-Network claims can be submitted by the provider if the
provider is able and willing to file on your behalf. If the
provider is not submitting on your behalf, you must send your             Employee Insurance
completed claim form and itemized bills to the claims address             This plan is offered to you as an Employee.
listed on the claim form.                                                 Eligibility for Employee Insurance
You may get the required claim forms from the website listed              You will become eligible for insurance on the day you
on your identification card or by using the toll-free number on           complete the waiting period if:
your identification card.
                                                                             you are in a Class of Eligible Employees; and
CLAIM REMINDERS
                                                                             you are an eligible, full-time Employee; and
 BE SURE TO USE YOUR MEMBER ID AND
  ACCOUNT/GROUP NUMBER WHEN YOU FILE                                         you normally work at least 30 hours a week; and
  CIGNA’S CLAIM FORMS, OR WHEN YOU CALL                                      you pay any required contribution.
  YOUR CIGNA CLAIM OFFICE.                                                If you were previously insured and your insurance ceased, you
    YOUR MEMBER ID IS THE ID SHOWN ON YOUR                                must satisfy the Waiting Period to become insured again. If
    BENEFIT IDENTIFICATION CARD.                                          your insurance ceased because you were no longer employed
    YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON                                 in a Class of Eligible Employees, you are not required to
    YOUR BENEFIT IDENTIFICATION CARD.                                     satisfy any waiting period if you again become a member of a
                                                                          Class of Eligible Employees within one year after your
   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED                             insurance ceased.
    ON THE BACK OF THE CLAIM FORM CAREFULLY
    WHEN SUBMITTING A CLAIM TO CIGNA.                                     Eligibility for Dependent Insurance
Timely Filing of Out-of-Network Claims                                    You will become eligible for Dependent Insurance on the later
                                                                          of:
Cigna will consider claims for coverage under our plans when
proof of loss (a claim) is submitted within 180 days for Out-                the day you become eligible for yourself; or
of-Network benefits after services are rendered. If services are             the day you acquire your first Dependent.
rendered on consecutive days, such as for a Hospital
Confinement, the limit will be counted from the last date of              Waiting Period
service. If claims are not submitted within 180 days for Out-
                                                                          The first day of the month following 30 days from date of hire.
of-Network benefits, the claim will not be considered valid
and will be denied.                                                       Classes of Eligible Employees
                                                                          Each Employee as reported to the insurance company by your
                                                                          Employer.
                                                                          Effective Date of Employee Insurance
                                                                          You will become insured on the date you elect the insurance
                                                                          by signing an approved payroll deduction or enrollment form,
                                                                          as applicable, but no earlier than the date you become eligible.
                                                                          You will become insured on your first day of eligibility,
                                                                          following your election, if you are in Active Service on that


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date, or if you are not in Active Service on that date due to
your health status.
Late Entrant - Employee                                                      Important Information About Your
You are a Late Entrant if:                                                   Medical Plan
   you elect the insurance more than 30 days after you become               Details of your medical benefits are described on the
    eligible; or                                                             following pages.
   you are eligible for coverage through a guarantee                        Opportunity to Select a Primary Care Physician
    association and you elect the insurance more than 60 days
                                                                             Choice of Primary Care Physician:
    after you become eligible; or
                                                                             This medical plan does not require that you select a Primary
   you again elect it after you cancel your payroll deduction (if
                                                                             Care Physician or obtain a referral from a Primary Care
    required).
                                                                             Physician in order to receive all benefits available to you
                                                                             under this medical plan. Notwithstanding, a Primary Care
Dependent Insurance                                                          Physician may serve an important role in meeting your health
For your Dependents to be insured, you will have to pay the                  care needs by providing or arranging for medical care for you
required contribution, if any, toward the cost of Dependent                  and your Dependents. For this reason, we encourage the use of
Insurance.                                                                   Primary Care Physicians and provide you with the opportunity
Effective Date of Dependent Insurance                                        to select a Primary Care Physician from a list provided by
                                                                             Cigna for yourself and your Dependents. If you choose to
Insurance for your Dependents will become effective on the                   select a Primary Care Physician, the Primary Care Physician
date you elect it by signing an approved payroll deduction                   you select for yourself may be different from the Primary Care
form (if required), but no earlier than the day you become                   Physician you select for each of your Dependents.
eligible for Dependent Insurance. All of your Dependents as
defined will be included.                                                    Changing Primary Care Physicians:
Your Dependents will be insured only if you are insured.                     You may request a transfer from one Primary Care Physician
                                                                             to another by contacting us at the member services number on
Late Entrant – Dependent                                                     your ID card. Any such transfer will be effective on the first
You are a Late Entrant for Dependent Insurance if:                           day of the month following the month in which the processing
   you elect that insurance more than 30 days after you                     of the change request is completed.
    become eligible for it; or                                               In addition, if at any time a Primary Care Physician ceases to
   you are a Dependent who has lost or will lose coverage                   be a Participating Provider, you or your Dependent will be
    under Medi-Cal, the Healthy Families Program (HFP), or                   notified for the purpose of selecting a new Primary Care
    the Access for Infants and Mothers Program (AIM) and you                 Physician.
    elect the insurance more than 60 days after you become                   Direct Access for OB/GYN Services:
    eligible and you declined coverage during your initial                   Female insureds covered by this plan are allowed direct access
    enrollment period by signing a Declination of Medical                    to a licensed/certified Participating Provider for covered
    Coverage form, provided by your Employer; or                             OB/GYN services. There is no requirement to obtain an
   you again elect it after you cancel your payroll deduction (if           authorization from your Primary Care Physician for visits to
    required).                                                               the Participating Provider of your choice for pregnancy, well-
Exception for Newborns and Adopted Children                                  woman gynecological exams, primary and preventive
                                                                             gynecological care, and acute gynecological conditions.
Any Dependent child born or placed for adoption, while you
are insured will become insured on the date of his birth or                  Direct Access for Treatment of Certain Reproductive and
placement for adoption, if you elect Dependent Insurance no                  Sexual Health Care Services
later than 31 days after his birth or placement for adoption. If             Insureds covered by this plan are allowed direct access to a
you do not elect to insure your newborn child or child placed                licensed/certified Participating Provider for covered
for adoption within 31 days, coverage for that child will end                reproductive and sexual health care services. There is no
on the 31st day. No benefits for expenses incurred beyond the                requirement to obtain an authorization from your Primary
31st day will be payable.                                                    Care Physician for visits to the Participating Provider of your
                                                                             choice for:
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                                                                                care related to the prevention or treatment of pregnancy,
                                                                  V1             including sterilization and abortion;


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   diagnosis or treatment related to an infectious, contagious or
    communicable disease, including public health conditions
    and sexually transmitted diseases;
   diagnosis and treatment related to rape, including the
    collection of medical evidence;
   diagnosis and treatment for sexual assault, including the
    collection of medical evidence with regard to the alleged
    sexual assault; and
   diagnosis and treatment for HIV and other tests.
Direct Access for Mental Health and Substance Use Disorder
Services:
Insureds covered by this plan are allowed direct access to a
licensed/certified Participating Provider for covered mental
health and substance use disorder services. There is no
requirement to obtain an authorization from your Primary
Care Physician for individual or group therapy visits to a
Participating Provider for mental health and substance use
disorder services.


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                                    Open Access Plus Medical Benefits
                                                      The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate, or you do not have timely access to, an In-Network Provider in your area who can provide you
with a service or supply that is covered under this plan, you may use an Out-of-Network Provider. If you call the number
on the back of your I.D. card to obtain assistance with your Out-of-Network Provider coverage, Cigna may negotiate Out-
of-Network billed charges on your behalf with the Out-of-Network Provider. If you contact Cigna and do obtain
authorization for services provided by an Out-of-Network Provider, Cigna will arrange for those services and benefits for
those services will be covered at the In-Network benefit level. Otherwise, they may be covered at an Out-of-Network cost
share.
If you receive a covered service at an In-Network health facility but from a non-Participating Provider who is licensed in
California, you only have to pay the In-Network cost share amount shown in The Schedule. An In-Network “health
facility” includes, but is not limited to, a licensed hospital, ambulatory surgery center, or other outpatient setting such as a
lab, or a radiology or imaging center. At the time that Cigna reimburses the non-Participating Provider for the services
provided, Cigna will inform you of any In-Network cost-sharing amount you may owe. Any In-Network cost sharing will
be applied toward the In-Network Deductible and Out-of-Pocket maximum.
In certain situations, you may voluntarily choose to pay a non-Participating Provider at the Out-of-Network cost share. If
you and the non-Participating Provider agree to this arrangement, the non-Participating Provider must receive your written
authorization at least 24 hours in advance of providing service. The non-Participating Provider must also submit a copy of
such authorization with the request for reimbursement.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                                  Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums do not cross-accumulate (that is, In-Network will accumulate to In-Network
and Out-of-Network will accumulate to Out-of-Network). All other plan maximums and service-specific maximums
(dollar
.       and occurrence) cross-accumulate between In- and Out-of-Network unless otherwise noted.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule

Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or if no amount is agreed to, the greatest of the following, not to exceed the
   provider’s billed charges: (i) the median amount negotiated with In-Network providers for the Emergency Service,
   excluding any In-Network copay or coinsurance; (ii) the Maximum Reimbursable Charge; or (iii) the amount payable
   under the Medicare program.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                             Unlimited
The Percentage of Covered Expenses         90%                                      50% of the Maximum Reimbursable
the Plan Pays                                                                       Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
Maximum Reimbursable Charge is
determined based on the lesser of the
provider’s normal charge for a similar
service or supply; or
A policyholder-selected percentage of a    Not Applicable                  110%
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable fee for the
same or similar services within the
geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
  the provider’s normal charge for a
   similar service or supply; or
 the 80th percentile of charges made
   by providers of such service or
   supply in the geographic area where
   it is received as compiled in a
   database selected by Cigna. If
   sufficient charge data is unavailable
   in the database for that geographic
   area to determine the Maximum
   Reimbursable Charge, then data in
   the database for similar services may
   be used.
Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable deductibles, copayments and
coinsurance.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                              $250 per person                  $500 per person

  Family Maximum                          $500 per family                  $1,000 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                              $5,000 per person                $10,000 per person
  Family Maximum                          $10,000 per family               $20,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-         Yes                                     No
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs           Yes                                     In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office        No charge after $20 per office visit    50% after plan deductible
  Visit                                  copay
  Specialty Care Physician’s Office      No charge after $40 Specialist per      50% after plan deductible
  Visits                                 office visit copay
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $20 PCP or $40      50% after plan deductible
  Office                                 Specialist per office visit copay
  Second Opinion Consultations           No charge after the $20 PCP or $40      50% after plan deductible
  (provided on a voluntary basis)        Specialist per office visit copay
  Allergy Treatment/Injections           No charge after either the $20 PCP or   50% after plan deductible
                                         $40 Specialist per office visit copay
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               50% after plan deductible
  Physician in the office)




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
  Virtual Care Services for minor        No charge after the $20 PCP per       In-Network coverage only
  medical conditions                     office visit copay
  Virtual Wellness Screenings            No charge                             In-Network coverage only

Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                 No charge after the $20 PCP or $40    50% after plan deductible
                                         Specialist per office visit copay
.
Preventive Care
  Routine Preventive Care (for           No charge                             50% after plan deductible
  children through age 16)
  Immunizations (for children through    No charge                             50% after plan deductible
  age 16)
  Routine Preventive Care (for ages 17   No charge                             In-Network coverage only
  and over)
  Immunizations (for ages 17 and         No charge                             In-Network coverage only
  over)
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       No charge                             50% after plan deductible
  (i.e. “routine” services)
  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
  “non-routine” services)                benefit; based on place of service    benefit; based on place of service

.
Inpatient Hospital – Facility Services   $1,500 per admission copay, then      $3,000 per admission deductible,
                                         90% after plan deductible             then 50% after plan deductible
Bed and Board Limit
  Semi-Private Room                      Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate        Limited to the ICU/CCU daily room
                                                                               rate




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                          OUT-OF-NETWORK
Outpatient Facility Services
 Operating Room, Recovery Room,         90% after plan deductible              $250 per visit deductible, then 50%
 Procedures Room, Treatment Room                                               after plan deductible
 and Observation Room
  Note:
  Non-surgical treatment procedures
  are not subject to the facility
  deductible.
Inpatient Hospital Physician’s          90% after plan deductible              50% after plan deductible
Visits/Consultations

Inpatient Hospital Professional         90% after plan deductible              50% after plan deductible
Services
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services        90% after plan deductible              50% after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Urgent Care Services
  Physician’s Office Visit              No charge after the $20 PCP or $40     No charge after the $20 PCP or $40
                                        Specialist per office visit copay      Specialist per office visit copay
  Urgent Care Facility or Outpatient    No charge after $75 per visit copay*   No charge after $75 per visit copay*
  Facility                              and plan deductible                    and plan deductible

                                        *waived if admitted                    *waived if admitted
  Outpatient Professional Services      No charge after plan deductible        No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the     No charge after plan deductible        No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.   No charge after plan deductible        No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Emergency Services
  Physician’s Office Visit                No charge after the $20 PCP or $40      No charge after the $20 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Ambulance                                 90% after plan deductible               90% after plan deductible

Inpatient Services at Other Health        90% after plan deductible               50% after plan deductible
Care Facilities
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
  Physician’s Office Visit                No charge after the $20 PCP or $40      50% after plan deductible
                                          Specialist per office visit copay
  Outpatient Hospital Facility            90% after plan deductible               50% after plan deductible
  Independent X-ray and/or Lab            90% after plan deductible               50% after plan deductible
  Facility
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                No charge                               50% after plan deductible
  Inpatient Facility                      $1,500 per admission copay, then        $3,000 per admission deductible,
                                          90% after plan deductible               then 50% after plan deductible
  Outpatient Facility                     90% after plan deductible               50% after plan deductible




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services and            No charge after the $20 PCP or $40    50% after plan deductible
Chiropractic Services                      Specialist per office visit copay
  Calendar Year Maximum:                   Note:
  20 days for all therapies combined       Outpatient Therapy Services copay
  (The limit is not applicable to mental   applies, regardless of place of
  health conditions.)                      service, including the home.
  Note:
  The Outpatient Therapy Services
  maximum does not apply to the
  treatment of autism.
 Includes:
 Cardiac Rehab
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 Chiropractic Therapy (includes
 Chiropractors)
 .
Home Health Care Services
  Calendar Year Maximum:                   90% after plan deductible             50% after plan deductible
  100 days (includes outpatient private
  nursing when approved as Medically
  Necessary)
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                        90% after plan deductible             50% after plan deductible
  Outpatient Services                      90% after plan deductible             50% after plan deductible
  (same coinsurance level as Home
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                90% after plan deductible             50% after plan deductible
  Outpatient                               90% after plan deductible             50% after plan deductible
Services provided by Mental Health         Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $1,500 per admission copay, then       In-Network coverage only
                                            90% after plan deductible
  Outpatient Facility                       90% after plan deductible              In-Network coverage only
  Physician’s Services                      90% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $20 PCP or $40     50% after plan deductible
                                            Specialist per office visit copay
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           90% after plan deductible              50% after plan deductible
  Postnatal Visits and Physician’s
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $20 PCP or $40     50% after plan deductible
  to the global maternity fee when          Specialist per office visit copay
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $1,500 per admission copay, then       $3,000 per admission deductible,
  (Inpatient Hospital, Birthing Center)     90% after plan deductible              then 50% after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                       OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $20 PCP or $40    50% after plan deductible
                                          Specialist per office visit copay
  Inpatient Facility                      $1,500 per admission copay, then      $3,000 per admission deductible,
                                          90% after plan deductible             then 50% after plan deductible
  Outpatient Facility                     90% after plan deductible             $250 per visit deductible, then 50%
                                                                                after plan deductible
  Physician’s Services                    90% after plan deductible             50% after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                             50% after plan deductible
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                             50% after plan deductible
    Inpatient Facility                    No charge                             $3,000 per admission deductible,
                                                                                then 50% after plan deductible
    Outpatient Facility                   No charge                             $250 per visit deductible, then 50%
                                                                                after plan deductible
    Physician’s Services                  No charge                             50% after plan deductible
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $20 PCP or $40    50% after plan deductible
  Tests and Counseling                    Specialist per office visit copay
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $20 PCP or $40    50% after plan deductible
                                          Specialist per office visit copay
    Inpatient Facility                    $1,500 per admission copay, then      $3,000 per admission deductible,
                                          90% after plan deductible             then 50% after plan deductible
    Outpatient Facility                   90% after plan deductible             $250 per visit deductible, then 50%
                                                                                after plan deductible
    Physician’s Services                  90% after plan deductible             50% after plan deductible




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        BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
Infertility Treatment
Services Not Covered include:                 Not Covered                           Not Covered
     Testing performed specifically to
      determine the cause of infertility.
     Treatment and/or procedures
      performed specifically to restore
      fertility (e.g. procedures to correct
      an infertility condition).
     Artificial means of becoming
      pregnant (e.g. Artificial
      Insemination, In-vitro, GIFT,
      ZIFT, etc).
Note:
Coverage will be provided for the
treatment of an underlying medical
condition up to the point an infertility
condition is diagnosed. Services will be
covered
.       as any other illness.
Organ Transplants
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                    No charge after the $20 PCP or $40    In-Network coverage only
                                              Specialist per office visit copay
  Inpatient Facility                          100% at LifeSOURCE center after       In-Network coverage only
                                              $1,500 per admission copay,
                                              otherwise 90% after $1,500 per
                                              admission copay and plan deductible
  Physician’s Services                        100% at LifeSOURCE center,            In-Network coverage only
                                              otherwise 90% after plan deductible
  Lifetime Travel Maximum:                    No charge (only available when        In-Network coverage only
  $10,000 per transplant                      using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                      90% after plan deductible             50% after plan deductible
  Unlimited
  .
External Prosthetic Appliances
  Calendar Year Maximum:                      90% after plan deductible             50% after plan deductible
  .Unlimited
Diabetic Equipment                            90% after plan deductible             50% after plan deductible
  Calendar Year Maximum:
  Unlimited




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Physician’s Office Visit                  No charge after the $20 PCP or $40    50% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $1,500 per admission copay, then      $3,000 per admission deductible,
                                            90% after plan deductible             then 50% after plan deductible
  Outpatient Facility                       90% after plan deductible             $250 per visit deductible, then 50%
                                                                                  after plan deductible
  Physician’s Services                      90% after plan deductible             50% after plan deductible

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $20 PCP or $40    50% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $1,500 per admission copay, then      $3,000 per admission deductible,
                                            90% after plan deductible             then 50% after plan deductible
  Outpatient Facility                       90% after plan deductible             $250 per visit deductible, then 50%
                                                                                  after plan deductible
   Physician’s Services                     90% after plan deductible             50% after plan deductible
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $20 PCP or $40    50% after plan deductible
                                            Specialist per office visit copay
  Inpatient Facility                        $1,500 per admission copay, then      $3,000 per admission deductible,
                                            90% after plan deductible             then 50% after plan deductible
  Outpatient Facility                       90% after plan deductible             $250 per visit deductible, then 50%
                                                                                  after plan deductible
  Physician’s Services                      90% after plan deductible             50% after plan deductible




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
 Inpatient                                 $1,500 per admission copay, then          $3,000 per admission deductible,
   Includes Acute Inpatient and            90% after plan deductible                 then 50% after plan deductible
   Residential Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits              $40 per visit copay                       50% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Outpatient - All Other Services        90% after plan deductible                 50% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Includes coverage for Applied
    Behavioral Analysis (ABA) for the
    treatment of autism.

    Calendar Year Maximum:
    Unlimited
      .




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             $1,500 per admission copay, then      $3,000 per admission deductible,
    Includes Acute Inpatient            90% after plan deductible             then 50% after plan deductible
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   50% after plan deductible
   Includes individual, family and
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited

    Outpatient - All Other Services     90% after plan deductible             50% after plan deductible
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Room and Board, for treatment listed              Home Health Care Services.
    above for which PAC was performed, which are made for                  Durable medical equipment.
    any day in excess of the number of days certified through              External prosthetics.
    PAC or CSR; and
                                                                           Medical Pharmaceuticals.
   any Hospital charges for treatment listed above for which
    PAC was requested, but which was not certified as                      Radiation therapy.
    Medically Necessary.                                                Continuity of Care
PAC and CSR are performed through a utilization review                  Upon your request, Cigna shall provide or arrange for the
program by a Review Organization with which Cigna has                   completion of covered services from a terminated
contracted.                                                             Participating Provider or a non-Participating Provider if you
In any case, those expenses incurred for which payment is               have one of the following conditions and were receiving
excluded by the terms set forth above will not be considered as         services from the terminated Participating Provider or non-
expenses incurred for the purpose of any other part of this             Participating Provider at the time of the contract termination
plan, except for the "Coordination of Benefits" section.                or at the time you became eligible under the Policy. You will
                                                                        qualify to receive continued services for the following
Outpatient Certification Requirements – Out-of-Network                  conditions and specified time periods:
Outpatient Certification refers to the process used to certify             an acute condition. An acute condition is a medical
the Medical Necessity of outpatient diagnostic testing and                  condition that involves a sudden onset of symptoms due to


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    an illness, Injury, or other medical problem that requires           Cigna is not obligated to arrange for continuity of care with a
    prompt medical attention and that has a limited duration.            terminated Participating Provider or non-Participating
    Completion of covered services shall be provided for the             Provider who has been terminated for medical disciplinary
    duration of the acute condition.                                     reasons or who has committed fraud or other criminal
   a serious chronic condition. A serious chronic condition is          activities.
    a medical condition due to a disease, illness, or other              Arranging for Continuity of Care. If the insured meets the
    medical problem or medical disorder that is serious in               necessary requirements for continuity of care as described
    nature and that persists without full cure or worsens over an        herein, and would like to continue his/her care with a
    extended period of time or requires ongoing treatment to             terminated Participating Provider or non-Participating
    maintain remission or prevent deterioration. Completion of           Provider, the insured should call the Member Services
    covered services shall be provided for a period of time              Department at the number shown on the I.D. card to make a
    necessary to complete a course of treatment and to arrange           formal request for continuity of care.
    for a safe transfer to another provider, as determined by            This information will be reviewed by Cigna to determine if the
    Cigna in consultation with you and the terminated                    insured's medical condition and the terminated Participating
    Participating Provider or non-Participating Provider and             Provider or non-Participating Provider’s status qualifies for
    consistent with good professional practice. Completion of            continuity of care.
    covered services under this paragraph shall not exceed 12
    months from the contract termination date or 12 months               The insured will be notified if continuity of care arrangements
    from the effective date of coverage for a newly covered              can be made with the insured's current terminated
    person.                                                              Participating Provider or non-Participating Provider and will
                                                                         receive information relating to the extent and length of care
   a pregnancy. A pregnancy is the three trimesters of                  that can be provided. Cigna will make every effort to expedite
    pregnancy and the immediate postpartum period.                       the review and inform the insured of the continuity of care
    Completion of covered services shall be provided for the             decision as soon as possible. If the insured does not meet the
    duration of the pregnancy.                                           requirements for continuity of care or if the terminated
   a terminal illness. A terminal illness is an incurable or            Participating Provider or non-Participating Provider refuses to
    irreversible condition that has a high probability of causing        render care or has been determined unacceptable for quality or
    death within one year or less. Completion of covered                 contractual reasons, Cigna will work with the insured to
    services shall be provided for the duration of a terminal            accomplish a timely transition to another qualified
    illness.                                                             Participating Provider.
   The care of a newborn child between birth and age 36                 To make a request for continuity of care, please call the
    months. Completion of covered services under this                    number on your I.D. card as early as possible so the review
    paragraph shall not exceed 12 months from the contract               process can begin and your treatment can continue.
    termination date or 12 months from the effective date of
    coverage for a newly covered person.
                                                                         HC-PAC124                                                       01-20
   performance of a surgery or other procedure that is
    authorized by Cigna as part of a documented course of
    treatment and has been recommended and documented by
    the provider to occur within 180 days of the contract's              Prior Authorization/Pre-Authorized
    termination date or within 180 days of the effective date of         The term Prior Authorization means the approval that a
    coverage for a newly covered person.                                 Participating Provider must receive from the Review
Provider’s Responsibility. In order for a terminated                     Organization, prior to services being rendered, in order for
Participating Provider or non-Participating Provider to                  certain services and benefits to be covered under this policy.
continue caring for an insured, the terminated Participating             Services that require Prior Authorization are covered services
Provider or non-Participating Provider must comply with                  in the following categories:
Cigna's contractual and credentialing requirements and must                 inpatient Hospital services, except for 48/96 hour maternity
meet Cigna's standards for utilization review and quality                    stays;
assurance. The terminated Participating Provider or non-
Participating Provider must also agree to a mutually                        inpatient services at any participating Other Health Care
acceptable rate of payment. If these conditions are not met,                 Facility;
Cigna is not required to arrange for continuity of care.                    residential treatment;
                                                                            outpatient facility services;



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   partial hospitalizations;                                                 charges for outpatient medical care and treatment received
   advanced radiological imaging;                                             at a Hospital.
   non-emergency Ambulance;                                                  charges for outpatient medical care and treatment received
                                                                               at a Free-Standing Surgical Facility.
   certain Medical Pharmaceuticals;
                                                                              charges for Emergency Services.
   transplant services;
                                                                              charges for Urgent Care.
   speech, occupational and physical therapy;
                                                                              charges made by a Physician or a Psychologist for
   Applied Behavior Analysis (ABA);                                           professional services.
   infertility services;                                                     charges made by a Nurse for professional nursing service.
   durable medical equipment;                                                charges made for anesthetics, including, but not limited to
   Home Health Care Services;                                                 supplies and their administration.
   home infusion services;                                                   charges for diagnostic x-ray.
   back/spine procedures;                                                    charges for advanced radiological imaging, including for
   ear devices;                                                               example:
   oral pharynx procedures;                                                    CT Scans, MRI, MRA and PET scans and laboratory
                                                                                 examinations, x-ray, radiation therapy and radium and
   orthotics and prosthetics;
                                                                                 radioactive isotope treatment and other therapeutic
   radiation therapy;                                                           radiological procedures.
   sleep management; genetic testing; or                                     charges for chemotherapy.
   musculoskeletal pain management services.                                 charges for blood transfusions.
                                                                              charges for oxygen and other gases and their administration.
HC-PRA48                                                      01-22           charges made for Medically Necessary foot care for
                                                                V2             diabetes, peripheral neuropathies and peripheral vascular
                                                                               disease.
                                                                              charges made for or in connection with mammograms for
Covered Expenses                                                               breast cancer screenings or diagnostic purposes including,
The term Covered Expenses means expenses incurred by a                         but not limited to: a baseline mammogram for women age
person while covered under this plan for the charges listed                    35, but less than 40; a mammogram for women age 40, but
below for:                                                                     less than 50, every two years or more, if Medically
                                                                               Necessary and if recommended by a Physician, nurse
   preventive care services, and                                              practitioner or a nurse midwife; and a mammogram every
   services or supplies that are Medically Necessary for the                  year for women age 50 and over.
    care and treatment of an Injury or a Sickness, as determined              charges made for an annual Papanicolaou laboratory
    by Cigna.                                                                  screening test.
As determined by Cigna, Covered Expenses may also include                     charges for the screening and diagnosis of prostate cancer,
all charges made by an entity that has directly or indirectly                  including, but not limited to, Medically Necessary prostate-
contracted with Cigna to arrange, through contracts with                       specific antigen (PSA) testing and digital rectal
providers of services and/or supplies, for the provision of any                examinations.
services and/or supplies listed below. Any applicable
Copayments, Deductibles or limits are shown in The                            charges made for services related to the diagnosis,
Schedule.                                                                      treatment, and management of osteoporosis. Covered
                                                                               services include, but are not limited to, all FDA approved
Covered Expenses                                                               technologies, including bone mass measurement
 charges for inpatient Room and Board and other Necessary                     technologies as deemed Medically Necessary.
  Services and Supplies; made by a Hospital; subject to the                   charges made for expenses incurred at any of the
  limits as shown in The Schedule.                                             Approximate Age Intervals shown below for a Dependent
   charges for licensed Ambulance service to the nearest                      child who is age 16 or less, for charges made for Child
    Hospital where the needed medical care and treatment can                   Preventive Care consisting of the following services
    be provided.


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    delivered or supervised by a Physician, in keeping with                    of a patient's medical information from an originating site
    prevailing medical standards:                                              to the health care provider for telehealth at a distant site
     physical examinations;                                                   without the presence of the patient.
     appropriate immunizations; and                                     Originating site means a site where a patient is located at the
                                                                         time health care services are provided via telecommunications
     laboratory tests in connection with physical examinations.
                                                                         system or where the Asynchronous Store and Forward service
    excluding any charges for:                                           originates.
     more than one visit to one provider for Child Preventive           Distant site means a site where a Health Care Provider for
      Care Services at each of the Appropriate Age Intervals up          telehealth who provides health care services is located while
      to a total of 18 visits for each Dependent child;                  providing these services via a telecommunications system.
     services for which benefits are otherwise provided under              coverage for the testing and treatment of PKU. This
      this Covered Expenses section; or                                      includes formulas and special food products that are part of
     services for which benefits are not payable according to               a diet prescribed by a Physician and managed by a health
      the "Expenses Not Covered" section.                                    care professional in consultation with a Physician
                                                                             specializing in the treatment of metabolic diseases. The diet
    Approximate Age Intervals are: Birth, 2 months, 4 months,
                                                                             must be deemed Medically Necessary to avoid the
    6 months, 9 months, 12 months, 15 months, 18 months, 2
                                                                             development of serious mental or physical disabilities or to
    years, 3 years, 4 years, 5 years, 6 years, 8 years, 10 years,            promote normal development or function resulting from
    12 years, 14 years and 16 years.                                         PKU.
   HIV testing regardless of whether testing is related to the
                                                                             Formula means an enteral product used in the home and
    patient's primary diagnosis.
                                                                             prescribed by a Physician, nurse practitioner, or registered
   charges made for laboratory services, radiation therapy and              dietician for Medically Necessary treatment of PKU.
    other diagnostic and therapeutic radiological procedures.                Special food products are those that are prescribed by a
Dedicated Virtual Providers                                                  Physician or Nurse practitioner for the treatment of PKU
                                                                             and are consistent with the recommendations and best
 charges for the delivery of medical and health-related
                                                                             practices of qualified health professionals with expertise in
  services and consultations by dedicated virtual providers as
                                                                             treatment and care of PKU. It does not include a food that is
  medically appropriate through audio, video and secure
                                                                             naturally low in protein. It may include a food product that
  internet-based technologies.
                                                                             is specially formulated to have less than one gram of protein
Virtual Physician Services                                                   per serving and is used instead of normal food products
 charges for the delivery of medical and health-related                     used by the general population, such as grocery store foods.
  services and consultations as medically appropriate through               charges made for Medically Necessary treatment of Severe
  audio, video and secure internet-based technologies that are               Mental Illness for covered persons of any age, and Serious
  similar to office visit services provided in a face-to-face                Emotional Disturbances of a Dependent Child under 18
  setting.                                                                   years old.
   Includes charges made for telehealth services on the same               charges made for prosthetic appliances, including devices to
    basis, or better, and to the same extent, or better, as the              restore a method of speaking following a laryngectomy,
    same service through in-person diagnosis, consultation, or               other than electronic voice-producing machines.
    treatment. Telehealth means the mode of delivering health
                                                                            charges made by a licensed social worker, a registered
    care services and public health via information and
                                                                             Nurse licensed in psychiatric-mental health or a licensed
    communication technologies to facilitate the diagnosis,
                                                                             marriage, family or child counselor, for Mental Health
    treatment, education, care management, and self-
                                                                             services, when such services are recommended by a
    management of a patient's health care while the patient is at
                                                                             Physician.
    the originating site and the Provider for telehealth is at a
    distant site. Telehealth facilitates patient self-management            charges for at least 48 hours of inpatient care following a
    and caregiver support for patients and includes:                         vaginal delivery and at least 96 hours of inpatient care
                                                                             following a cesarean section for both mother and newborn.
     Synchronous Interactions: Synchronous Interaction means
                                                                             The mother and/or newborn may be discharged earlier if the
      a real-time interaction between a patient and a Health
                                                                             Physician consults with the mother. If discharged early,
      Care Provider for telehealth located at a distant site; and
                                                                             there will be at least one follow-up visit within 48 hours of
     Asynchronous Store and Forward transfers:                              discharge. Follow-up care may be in the mother's home, in
      Asynchronous Store and Forward means the transmission                  the Physician's office, or in a licensed facility. An additional


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    length of stay beyond the 48/96 hours will be covered if                    following compendia if recognized by the federal Centers
    Medically Necessary.                                                        for Medicare and Medicaid Services as part of an
The following describes coverage provided for the treatment                     anticancer chemotherapeutic regimen: The Elsevier Gold
of diabetes:                                                                    Standard’s Clinical Pharmacology; The National
                                                                                Comprehensive Cancer Network Drug and Biologics
   charges for the following Medically Necessary equipment                     compendium; The Thomson Micromedix Drug Dex; or
    for the management and treatment of insulin-using diabetes,                 two articles from major peer reviewed medical journals
    noninsulin-using diabetes, and gestational diabetes: blood                  that present data supporting the proposed use or uses as
    glucose monitors; blood glucose monitors designed to assist                 generally safe and effective unless there is clear and
    the visually impaired; insulin pumps and all related                        convincing contradictory evidence presented in a major
    necessary supplies; podiatric devices to prevent or treat                   peer reviewed medical journal.
    diabetes-related complications; and visual aids (not
    including eyewear) to assist the visually impaired with               Second Opinions
    proper dosing of insulin.                                             You or your Physician may request a second opinion relating
   charges for diabetes outpatient self-management training,             to a medical treatment or surgical procedure. Reasons for a
    education, and medical nutrition therapy necessary to allow           second opinion to be provided or authorized shall include, but
    a covered person to properly use the equipment, supplies,             are not limited to, the following:
    and medications listed previously, and any additional                    if you question the reasonableness or necessity of
    diabetes outpatient self-management training, education,                  recommended surgical procedures.
    and medical nutrition therapy prescribed by or directed by a             if you question a diagnosis or plan of care for a condition
    Physician.                                                                that threatens loss of life, loss of limb, loss of bodily
   charges for insulin, insulin syringes, Prescriptive                       function, or substantial impairment, including, but not
    medications for the treatment of diabetes, lancets and lancet             limited to, a serious chronic condition.
    puncture devices, blood glucose testing strips, ketone urine             if the clinical indications are not clear or are complex and
    testing strips, pen delivery systems for the administration of            confusing, a diagnosis is in doubt due to conflicting test
    insulin and Glucagon.                                                     results, or the treating health professional is unable to
   charges for cancer screening tests that are based on                      diagnose the condition, and you request an additional
    generally accepted medical guidelines or scientific                       diagnosis.
    evidence.                                                                if the treatment plan in progress is not improving your
   charges for prenatal testing resulting from participation in              medical condition within an appropriate period of time
    the Expanded Alpha Feto Protein program administered by                   given the diagnosis and plan of care, and you request a
    the State Department of Health Services. No Cost share                    second opinion regarding the diagnosis or continuance of
   charges for general anesthesia and associated facility                    the treatment.
    charges for dental procedures rendered in a Hospital or                  if you have attempted to follow the plan of care or consulted
    Ambulatory Surgical Facility for: a child under the age of 7;             with your initial provider concerning serious concerns about
    an individual who is developmentally disabled; or an                      the diagnosis or plan of care.
    individual whose health is compromised and general                    If you or the Physician who is treating you requests a second
    anesthesia is Medically Necessary.                                    opinion pursuant to this section, an authorization or denial
   charges for a Hospital stay resulting from a mastectomy               shall be provided in an expeditious manner. When your
    and/or lymph node dissection for a period of time                     condition is such that you face an imminent and serious threat
    determined by a Physician in consultation with the patient.           to your health, including, but not limited to, the potential loss
   charges made for a drug that has been prescribed for                  of life, limb, or other major bodily function, or lack of
    purposes other than those approved by the FDA will be                 timeliness that would be detrimental to your ability to regain
    covered if:                                                           maximum function, the second opinion shall be authorized or
                                                                          denied in a timely fashion appropriate for the nature of your
     the drug is otherwise approved by the FDA;
                                                                          condition, not to exceed seventy-two (72) hours after Cigna's
     the drug is used to treat a life-threatening condition or, a        receipt of the request, whenever possible.
      chronic and seriously debilitating condition and the drug           Appropriately Qualified Health Care Professional
      is Medically Necessary to treat that condition;
                                                                          An Appropriately Qualified Health Care Professional is a
     the drug has been recognized for the treatment prescribed
                                                                          Primary Care Physician or Specialist who is acting within
      by any of the following: the American Hospital                      his/her scope of practice and who possesses a clinical
      Formulary Service Drug Information, one of the


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background, including training and expertise, related to the                 The American Academy of Pediatrics’ Periodicity
particular illness, disease, condition or conditions associated               Schedule of the Bright Futures Recommendations for
with the request for a second opinion.                                        Pediatric Preventive Health Care;
You may obtain a second opinion in one of the following                      The Uniform Panel of the Secretary’s Advisory
ways:                                                                         Committee on Heritable Disorders in Newborns and
   if you request a second opinion about care from your                      Children; and
    Primary Care Physician, the second opinion shall be                      With respect to women, evidence-informed preventive
    provided by an Appropriately Qualified Health Care                        care and screening guidelines supported by the Health
    Professional, of your choice within the primary care                      Resources and Services Administration.
    Physician’s medical group.                                              Detailed information is available at www.healthcare.gov.
   if you are requesting a second opinion about care from a                For additional information on immunizations, visit the
    Specialist, you may obtain the second opinion from any                  immunization schedule section of www.cdc.gov.
    Qualified Health Care Professional of the same or                      charges made for surgical or non-surgical treatment of
    equivalent specialty of your choice. If not authorized by               Temporomandibular Joint Dysfunction (TMJ).
    Cigna or the Primary Care Physician’s medical group,
    additional medical opinions not within the Primary Care                charges for federal Food and Drug Administration (FDA)-
    Physician’s medical group shall be your responsibility.                 approved prescription contraceptive methods, as designated
                                                                            by Cigna. If your Physician determines that none of the
In approving a second opinion the Physician and/or Cigna                    methods designated by Cigna are medically appropriate for
shall take into account your ability to travel to the provider.             you because of your medical or personal history, Cigna will
Cigna shall require the second opinion health professional to               cover the alternative FDA-approved prescription
provide you and the initial health professional with a                      contraceptive prescribed by your Physician.
consultation report, including any recommended procedures or
tests that the second opinion health professional believes              Autism Spectrum Disorder
appropriate.                                                            Covered expenses are professional services and treatment
You are limited to one (1) second medical opinion per medical           programs, including applied behavior analysis (ABA), and
treatment or surgical procedure, unless Cigna based on its              evidence-based behavior intervention programs that develop
independent determination, authorizes additional medical                or restore to the maximum extent practicable, the functioning
opinions concerning your medical condition.                             of an individual with pervasive developmental disorder or
                                                                        autism provided that:
   charges for the treatment of nicotine use.
                                                                           The treatment is prescribed by a licensed Physician or is
   charges made for Family Planning, including medical                     developed by a licensed psychologist.
    history, physical exam, related laboratory tests, medical
    supervision in accordance with generally accepted medical              The treatment is provided under a treatment plan prescribed
    practices, other medical services, information and                      by a qualified autism service provider.
    counseling on contraception, implanted/injected                        The treatment plan has measurable goals over a specific
    contraceptives, after appropriate counseling, medical                   time-line that is developed and approved by the qualified
    services connected with surgical therapies (tubal ligations,            autism service provider for the specific patient being
    vasectomies).                                                           treated.
   FDA-approved, self-administered hormonal contraceptives                The treatment plan is not used for purposes of
    will be covered for up to a 12-month supply when dispensed              providing/reimbursing respite care, day care or educational
    at one time.                                                            services and is not used to reimburse a parent for
   Alternate methods of contraception, including over-the-                 participating in the treatment program.
    counter contraceptive drugs as prescribed by a Physician            Telecommunication Technologies - Mental Health and
    and deemed Medically Necessary.                                     Substance Use Disorder
   charges made for preventive care services as defined by              behavioral consultations and services via secure
    recommendations from the following:                                   telecommunications technologies that shall include video
     The U.S. Preventive Services Task Force (A and B
                                                                          capability, including telephones and internet, when
      recommendations);                                                   delivered through a behavioral provider.
     The Advisory Committee on Immunization Practices
                                                                        Nutritional Counseling
      (ACIP) for immunizations;                                         Charges for counseling when diet is a part of the medical
                                                                        management of a medical or behavioral condition.


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Internal Prosthetic/Medical Appliances                                   Hospice Care Services
Charges for internal prosthetic/medical appliances that provide           charges for a person who has been diagnosed as having six
permanent or temporary internal functional supports for                    months or fewer to live, due to Terminal Illness, for the
nonfunctional body parts are covered. Medically Necessary                  following Hospice Care Services provided under a Hospice
repair, maintenance or replacement of a covered appliance is               Care Program:
also covered.                                                                 by a Hospice Facility for Room and Board and Services
                                                                               and Supplies;
HC-COV992                                                   01-20             by a Hospice Facility for services provided on an
                                                                               outpatient basis;
Home Health Services                                                          by a Physician for professional services;

 charges made for Home Health Services when you: require                     by a Psychologist, social worker, family counselor or
  skilled care; are unable to obtain the required care as an                   ordained minister for individual and family counseling;
  ambulatory outpatient; and do not require confinement in a                  for pain relief treatment, including drugs, medicines and
  Hospital or Other Health Care Facility.                                      medical supplies;
  Home Health Services are provided only if Cigna has                         by an Other Health Care Facility for:
  determined that the home is a medically appropriate setting.                     part-time or intermittent nursing care by or under the
  If you are a minor or an adult who is dependent upon others                       supervision of a Nurse;
  for nonskilled care and/or custodial services (e.g., bathing,
  eating, toileting), Home Health Services will be provided                        part-time or intermittent services of an Other Health
  for you only during times when there is a family member or                        Care Professional;
  care giver present in the home to meet your nonskilled care                 charges for physical, occupational and speech therapy;
  and/or custodial services needs.                                            charges for medical supplies; drugs and medicines
  Home Health Services are those skilled health care services                  lawfully dispensed only on the written prescription of a
  that can be provided during visits by Other Health Care                      Physician; and laboratory services; but only to the extent
  Professionals. The services of a home health aide are                        such charges would have been payable under the policy if
  covered when rendered in direct support of skilled health                    the person had remained or been Confined in a Hospital
  care services provided by Other Health Care Professionals.                   or Hospice Facility.
  A visit is defined as a period of 2 hours or less. Home                The following charges for Hospice Care Services are not
  Health Services are subject to a maximum of 16 hours in                included as Covered Expenses:
  total per day. Necessary consumable medical supplies and
  home infusion therapy administered or used by Other                       for the services of a person who is a member of your family
  Health Care Professionals in providing Home Health                         or your Dependent's family or who normally resides in your
  Services are covered. Home Health Services do not include                  house or your Dependent's house;
  services by a person who is a member of your family or                    for any period when you or your Dependent is not under the
  your Dependent’s family or who normally resides in your                    care of a Physician;
  house or your Dependent’s house even if that person is an                 for services or supplies not listed in the Hospice Care
  Other Health Care Professional. Skilled nursing services or                Program;
  private duty nursing services provided in the home are
  subject to the Home Health Services benefit terms,                        for any curative or life-prolonging procedures;
  conditions and benefit limitations. Physical, occupational,               to the extent that any other benefits are payable for those
  and other Short-Term Rehabilitative Therapy services                       expenses under the policy;
  provided in the home are not subject to the Home Health                   for services or supplies that are primarily to aid you or your
  Services benefit limitations in the Schedule, but are subject              Dependent in daily living.
  to the benefit limitations described under Short-term
  Rehabilitative Therapy Maximum shown in The Schedule.
                                                                         HC-COV994                                                          01-20


HC-COV76                                                    04-10
                                                              V1         Mental Health and Substance Abuse Services
                                                                         Mental Health Services are services that are required to treat
                                                                         a disorder that impairs the behavior, emotional reaction or



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thought processes. In determining benefits payable, charges               conditions (crisis intervention and relapse prevention) and
made for the treatment of any physiological conditions related            outpatient testing and assessment.
to Mental Health will not be considered to be charges made                A Mental Health Intensive Outpatient Therapy Program
for treatment of Mental Health.                                           consists of distinct levels or phases of treatment that are
Substance Abuse is defined as the psychological or physical               provided by a certified/licensed Mental Health program.
dependence on alcohol or other mind-altering drugs that                   Intensive Outpatient Therapy Programs provide a combination
requires diagnosis, care, and treatment. In determining                   of individual, family and/or group therapy in a day, totaling
benefits payable, charges made for the treatment of any                   nine or more hours in a week.
physiological conditions related to rehabilitation services for           Inpatient Substance Abuse Rehabilitation Services
alcohol or drug abuse or addiction will not be considered to be
charges made for treatment of Substance Abuse.                            Services provided for rehabilitation, while you or your
                                                                          Dependent is Confined in a Hospital, when required for the
Inpatient Mental Health Services                                          diagnosis and treatment of abuse or addiction to alcohol and/or
Services that are provided by a Hospital while you or your                drugs. Inpatient Substance Abuse Services include Partial
Dependent is Confined in a Hospital for the treatment and                 Hospitalization sessions and Residential Treatment services.
evaluation of Mental Health. Inpatient Mental Health Services             Partial Hospitalization sessions are services that are provided
include Partial Hospitalization and Mental Health Residential             for not less than 4 hours and not more than 12 hours in any 24-
Treatment Services.                                                       hour period.
Partial Hospitalization sessions are services that are provided           Substance Abuse Residential Treatment Services are
for not less than 4 hours and not more than 12 hours in any 24-           services provided by a Hospital for the evaluation and
hour period.                                                              treatment of the psychological and social functional
Mental Health Residential Treatment Services are services                 disturbances that are a result of subacute Substance Abuse
provided by a Hospital for the evaluation and treatment of the            conditions.
psychological and social functional disturbances that are a               Substance Abuse Residential Treatment Center means an
result of subacute Mental Health conditions.                              institution which specializes in the treatment of psychological
Mental Health Residential Treatment Center means an                       and social disturbances that are the result of Substance Abuse;
institution which specializes in the treatment of psychological           provides a subacute, structured, psychotherapeutic treatment
and social disturbances that are the result of Mental Health              program, under the supervision of Physicians; provides 24-
conditions; provides a subacute, structured, psychotherapeutic            hour care, in which a person lives in an open setting; and is
treatment program, under the supervision of Physicians;                   licensed in accordance with the laws of the appropriate legally
provides 24-hour care, in which a person lives in an open                 authorized agency as a residential treatment center.
setting; and is licensed in accordance with the laws of the               A person is considered confined in a Substance Abuse
appropriate legally authorized agency as a residential                    Residential Treatment Center when she/he is a registered bed
treatment center.                                                         patient in a Substance Abuse Residential Treatment Center
A person is considered confined in a Mental Health                        upon the recommendation of a Physician.
Residential Treatment Center when she/he is a registered bed              Outpatient Substance Abuse Rehabilitation Services
patient in a Mental Health Residential Treatment Center upon
the recommendation of a Physician.                                        Services provided for the diagnosis and treatment of abuse or
                                                                          addiction to alcohol and/or drugs, while you or your
Outpatient Mental Health Services                                         Dependent is not Confined in a Hospital, including outpatient
Services of Providers who are qualified to treat Mental Health            rehabilitation in an individual, or a Substance Abuse Intensive
when treatment is provided on an outpatient basis, while you              Outpatient Therapy Program.
or your Dependent is not Confined in a Hospital, and is                   A Substance Abuse Intensive Outpatient Therapy Program
provided in an individual, group or Mental Health Intensive               consists of distinct levels or phases of treatment that are
Outpatient Therapy Program. Covered services include, but                 provided by a certified/licensed Substance Abuse program.
are not limited to, outpatient treatment of conditions such as:           Intensive Outpatient Therapy Programs provide a combination
anxiety or depression which interfere with daily functioning;             of individual, family and/or group therapy in a day, totaling
emotional adjustment or concerns related to chronic                       nine, or more hours in a week.
conditions, such as psychosis or depression; emotional
reactions associated with marital problems or divorce;                    Substance Abuse Detoxification Services
child/adolescent problems of conduct or poor impulse control;             Detoxification and related medical ancillary services are
affective disorders; suicidal or homicidal threats or acts; eating        provided when required for the diagnosis and treatment of
disorders; or acute exacerbation of chronic Mental Health                 addiction to alcohol and/or drugs. Cigna will decide, based on


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the Medical Necessity of each situation, whether such services                Durable Medical Equipment is defined as items which are
will be provided in an inpatient or outpatient setting.                       designed for and able to withstand repeated use by more than
Exclusions                                                                    one person; customarily serve a medical purpose; generally
                                                                              are not useful in the absence of Injury or Sickness; are
The following are specifically excluded from Mental Health                    appropriate for use in the home; and are not disposable. Such
and Substance Abuse Services:                                                 equipment includes, but is not limited to, crutches, hospital
   any court ordered treatment or therapy, or any treatment or               beds, respirators, wheel chairs, and dialysis machines.
    therapy ordered as a condition of parole, probation or                    Durable Medical Equipment items that are not covered
    custody or visitation evaluations unless Medically                        include but are not limited to those that are listed below:
    Necessary and otherwise covered under this policy or
    agreement.                                                                   Bed Related Items: bed trays, over the bed tables, bed
                                                                                  wedges, pillows, custom bedroom equipment, mattresses,
   treatment of disorders which have been diagnosed as                           including nonpower mattresses, custom mattresses and
    organic mental disorders associated with permanent                            posturepedic mattresses.
    dysfunction of the brain.
                                                                                 Bath Related Items: bath lifts, nonportable whirlpools,
   developmental disorders, including but not limited to,                        bathtub rails, toilet rails, raised toilet seats, bath benches,
    developmental reading disorders, developmental arithmetic                     bath stools, hand held showers, paraffin baths, bath mats,
    disorders, developmental language disorders or                                and spas.
    developmental articulation disorders.
                                                                                 Chairs, Lifts and Standing Devices: computerized or
   counseling for activities of an educational nature.                           gyroscopic mobility systems, roll about chairs, geriatric
   counseling for borderline intellectual functioning.                           chairs, hip chairs, seat lifts (mechanical or motorized),
   counseling for occupational problems.                                         patient lifts (mechanical or motorized – manual hydraulic
                                                                                  lifts are covered if patient is two-person transfer), and auto
   counseling related to consciousness raising.                                  tilt chairs.
   vocational or religious counseling.                                          Fixtures to Real Property: ceiling lifts and wheelchair
   I.Q. testing.                                                                 ramps.
   custodial care, including but not limited to geriatric day                 Car/Van Modifications.
    care.
                                                                               Air Quality Items: room humidifiers, vaporizers, air
   psychological testing on children requested by or for a                     purifiers and electrostatic machines.
    school system.                                                               Blood/Injection Related Items: blood pressure cuffs,
   occupational/recreational therapy programs even if                            centrifuges, nova pens and needleless injectors.
    combined with supportive therapy for age-related cognitive
                                                                                 Other Equipment: heat lamps, heating pads, cryounits,
    decline.
                                                                                  cryotherapy machines, electronic-controlled therapy units,
                                                                                  ultraviolet cabinets, sheepskin pads and boots, postural
HC-COV7                                                          04-10            drainage board, AC/DC adaptors, enuresis alarms, magnetic
                                                                   V4             equipment, scales (baby and adult), stair gliders, elevators,
                                                                                  saunas, any exercise equipment and diathermy machines.
Durable Medical Equipment
                                                                              HC-COV8                                                               04-10
 charges made for purchase or rental of Durable Medical
                                                                                                                                                      V2
  Equipment that is ordered or prescribed by a Physician and
  provided by a vendor approved by Cigna for use outside a
  Hospital or Other Health Care Facility. Coverage for repair,                External Prosthetic Appliances and Devices
  replacement or duplicate equipment is provided only when
                                                                               charges made or ordered by a Physician for: the initial
  required due to anatomical change and/or reasonable wear
                                                                                purchase and fitting of external prosthetic appliances and
  and tear. All maintenance and repairs that result from a                      devices available only by prescription which are necessary
  person’s misuse are the person’s responsibility. Coverage                     for the alleviation or correction of Injury, Sickness or
  for Durable Medical Equipment is limited to the lowest-cost
                                                                                congenital defect.
  alternative as determined by the utilization review
  Physician.                                                                  External prosthetic appliances and devices include
                                                                              prostheses/prosthetic appliances and devices; orthoses and
                                                                              orthotic devices; braces; and splints.


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Prostheses/Prosthetic Appliances and Devices                                non-foot orthoses primarily used for cosmetic rather than
Prostheses/prosthetic appliances and devices are defined as                  functional reasons; and
fabricated replacements for missing body parts.                             non-foot orthoses primarily for improved athletic
Prostheses/prosthetic appliances and devices include, but are                performance or sports participation.
not limited to:                                                          Braces
   limb prostheses;                                                     A Brace is defined as an orthosis or orthopedic appliance that
   terminal devices such as hands or hooks;                             supports or holds in correct position any movable part of the
   speech prostheses; and                                               body and that allows for motion of that part.
   facial prostheses.                                                   The following braces are specifically excluded: Copes
                                                                         scoliosis braces.
Orthoses and Orthotic Devices
                                                                         Splints
Orthoses and orthotic devices are defined as orthopedic
appliances or apparatuses used to support, align, prevent or             A Splint is defined as an appliance for preventing movement
correct deformities. Coverage is provided for custom foot                of a joint or for the fixation of displaced or movable parts.
orthoses and other orthoses as follows:                                  Coverage for replacement of external prosthetic appliances
   Non-foot orthoses – only the following non-foot orthoses             and devices is limited to the following:
    are covered:                                                            replacement due to regular wear. Replacement for damage
     rigid and semi-rigid custom fabricated orthoses;                       due to abuse or misuse by the person will not be covered.
     semi-rigid prefabricated and flexible orthoses; and                   replacement required because anatomic change has rendered
                                                                             the external prosthetic appliance or device ineffective.
     rigid prefabricated orthoses including preparation, fitting
                                                                             Anatomic change includes significant weight gain or loss,
      and basic additions, such as bars and joints.                          atrophy and/or growth.
   Custom foot orthoses – custom foot orthoses are only                    replacement due to a surgical alteration or revision of the
    covered as follows:                                                      impacted site.
     for persons with impaired peripheral sensation and/or
                                                                         Coverage for replacement is limited as follows:
      altered peripheral circulation (e.g. diabetic neuropathy
      and peripheral vascular disease);                                     no more than once every 24 months for persons 19 years of
                                                                             age and older.
     when the foot orthosis is an integral part of a leg brace
      and is necessary for the proper functioning of the brace;             no more than once every 12 months for persons 18 years of
                                                                             age and under.
     when the foot orthosis is for use as a replacement or
      substitute for missing parts of the foot (e.g. amputated           The following are specifically excluded external prosthetic
      toes) and is necessary for the alleviation or correction of        appliances and devices:
      Injury, Sickness or congenital defect; and                            external and internal power enhancements or power controls
     for persons with neurologic or neuromuscular condition                 for prosthetic limbs and terminal devices; and
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing             myoelectric prostheses peripheral nerve stimulators.
      spasticity, malalignment, or pathological positioning of
      the foot and there is reasonable expectation of
                                                                         HC-COV890                                                         01-20
      improvement.
The following are specifically excluded orthoses and orthotic
devices:                                                                 Outpatient Therapy Services
   prefabricated foot orthoses;                                         Charges for the following therapy services:
   cranial banding and/or cranial orthoses. Other similar               Cognitive Therapy, Occupational Therapy, Osteopathic
    devices are excluded except when used postoperatively for            Manipulation, Physical Therapy, Pulmonary
    synostotic plagiocephaly. When used for this indication, the         Rehabilitation, Speech Therapy
    cranial orthosis will be subject to the limitations and               Charges for therapy services are covered when provided as
    maximums of the External Prosthetic Appliances and                     part of a program of treatment.
    Devices benefit;
                                                                         Cardiac Rehabilitation
   orthosis shoes, shoe additions, procedures for foot
                                                                          Charges for Phase II cardiac rehabilitation provided on an
    orthopedic shoes, shoe modifications and transfers;
                                                                           outpatient basis following diagnosis of a qualifying cardiac


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    condition when Medically Necessary. Phase II is a Hospital-             Coverage for occupational therapy is provided only for
    based outpatient program following an inpatient Hospital                purposes of enabling individuals to perform the activities of
    discharge. The Phase II program must be Physician directed              daily living after an Injury or Sickness.
    with active treatment and EKG monitoring.                               Therapy services that are not covered include:
    Phase III and Phase IV cardiac rehabilitation is not covered.              sensory integration therapy.
    Phase III follows Phase II and is generally conducted at a
    recreational facility primarily to maintain the patient's status           treatment of dyslexia.
    achieved through Phases I and II. Phase IV is an                           maintenance or preventive treatment provided to prevent
    advancement of Phase III which includes more active                         recurrence or to maintain the patient’s current status.
    participation and weight training.                                         charges for Chiropractic Care not provided in an office
Chiropractic Care Services                                                      setting.
 Charges for diagnostic and treatment services utilized in an                 vitamin therapy.
  office setting by chiropractic Physicians. Chiropractic                   Coverage is administered according to the following:
  treatment includes the conservative management of acute
                                                                               Multiple therapy services provided on the same day
  neuromusculoskeletal conditions through manipulation and
                                                                                constitute one day of service for each therapy type.
  ancillary physiological treatment rendered to specific joints
  to restore motion, reduce pain, and improve function. For                    A separate Copayment applies to the services provided by
  these services you have direct access to qualified                            each provider for each therapy type per day.
  chiropractic Physicians.
Coverage is provided when Medically Necessary in the most                   HC-COV887                                                     01-20
medically appropriate setting to:                                                                                                           V1

   Restore function (called “rehabilitative”):
     To restore function that has been impaired or lost.                   Breast Reconstruction and Breast Prostheses
     To reduce pain as a result of Sickness, Injury, or loss of a           charges made for reconstructive surgery following a
      body part.                                                              mastectomy; benefits include: surgical services for
   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the
                                                                              nondiseased breast to produce symmetrical appearance;
     To improve, adapt or attain function that has been
                                                                              postoperative breast prostheses; and mastectomy bras and
      impaired or was never achieved as a result of congenital
                                                                              prosthetics, limited to the lowest cost alternative available
      abnormality (birth defect).
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been                      mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health                 lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
                                                                            Reconstructive Surgery
      conditions such as autism and intellectual disability, or
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to
      result in a developmental delay.                                        correct or repair abnormal structures of the body caused by
                                                                              congenital defects, developmental abnormalities, trauma,
Coverage is provided as part of a program of treatment when
                                                                              infection, tumors, or disease to do either of the following: 1)
the following criteria are met:
                                                                              to improve function; or 2) to create normal appearance, to
   The individual’s condition has the potential to improve or is             the extent possible. Reconstructive Surgery also includes
    improving in response to therapy, and maximum                             Medically Necessary dental or orthodontic services that are
    improvement is yet to be attained.                                        an integral part of reconstructive surgery for cleft palate
   There is an expectation that the anticipated improvement is               procedures. Cleft palate means a condition that may include
    attainable in a reasonable and generally predictable period               cleft palate, cleft lip or other craniofacial anomalies
    of time.                                                                  associated with cleft palate. Repeat or subsequent surgeries
                                                                              for the same condition are covered only when there is the
   The therapy is provided by, or under the direct supervision
                                                                              probability of significant additional improvement as
    of, a licensed health care professional acting within the
                                                                              determined by the utilization review Physician.
    scope of the license.
   The therapy is Medically Necessary and medically
    appropriate for the diagnosed condition.                                HC-COV728                                                     08-18




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                                                                        transplant site (including charges for a rental car used during a
Transplant Services                                                     period of care at the transplant facility); lodging while at, or
                                                                        traveling to and from the transplant site; and food while at, or
 charges made for human organ and tissue Transplant
                                                                        traveling to and from the transplant site.
  services which include solid organ and bone marrow/stem
  cell procedures at designated facilities throughout the               In addition to your coverage for the charges associated with
  United States or its territories. This coverage is subject to         the items above, such charges will also be considered covered
  the following conditions and limitations.                             travel expenses for one companion to accompany you. The
                                                                        term companion includes your spouse, a member of your
Transplant services include the recipient’s medical, surgical           family, your legal guardian, or any person not related to you,
and Hospital services; inpatient immunosuppressive                      but actively involved as your caregiver. The following are
medications; and costs for organ or bone marrow/stem cell               specifically excluded travel expenses: travel costs incurred due
procurement. Transplant services are covered only if they are           to travel within 60 miles of your home; laundry bills;
required to perform any of the following human to human                 telephone bills; alcohol or tobacco products; and charges for
organ or tissue transplants: allogeneic bone marrow/stem cell,          transportation that exceed coach class rates.
autologous bone marrow/stem cell, cornea, heart, heart/lung,
kidney, kidney/pancreas, liver, lung, pancreas or intestine             These benefits are only available when the covered person is
which includes small bowel-liver or multi-visceral.                     the recipient of an organ transplant. No benefits are available
                                                                        when the covered person is a donor.
All Transplant services, other than cornea, are covered at
100% when received at Cigna LIFESOURCE Transplant
Network® facilities. Cornea transplants are not covered at              HC-COV15                                                     04-10
Cigna LIFESOURCE Transplant Network® facilities.                                                                                          V2

Transplant services, including cornea, received at participating
facilities specifically contracted with Cigna for those                 Medical Pharmaceuticals
Transplant services, other than Cigna LIFESOURCE
                                                                        The plan covers charges made for Medical Pharmaceuticals
Transplant Network® facilities, are payable at the In-Network
                                                                        that are administered in an Inpatient setting, Outpatient
level. Transplant services received at any other facilities,
                                                                        setting, Physician’s office, or in a covered person's home.
including Non-Participating Providers and Participating
Providers not specifically contracted with Cigna for                    Benefits under this section are provided only for Medical
Transplant services, are not covered.                                   Pharmaceuticals which, due to their characteristics (as
                                                                        determined by Cigna), are required to be administered, or the
Coverage for organ procurement costs are limited to costs
                                                                        administration of which must be directly supervised, by a
directly related to the procurement of an organ, from a cadaver
                                                                        qualified Physician. Benefits payable under this section
or a live donor. Organ procurement costs shall consist of
                                                                        include Medical Pharmaceuticals whose administration may
surgery necessary for organ removal, organ transportation and
                                                                        initially, or typically, require Physician oversight but may be
the transportation, hospitalization and surgery of a live donor.
                                                                        self-administered under certain conditions specified in the
Compatibility testing undertaken prior to procurement is
                                                                        product’s FDA labeling. Certain Medical Pharmaceuticals are
covered if Medically Necessary. Costs related to the search
                                                                        subject to prior authorization requirements or other coverage
for, and identification of a bone marrow or stem cell donor for
                                                                        conditions. Additionally, certain Medical Pharmaceuticals are
an allogeneic transplant are also covered.
                                                                        subject to step therapy requirements. This means that in order
Transplant Travel Services                                              to receive benefits for such Medical Pharmaceuticals, you are
Charges made for reasonable travel expenses incurred by you             required to try a different Medical Pharmaceutical and/or
in connection with a preapproved organ/tissue transplant are            Prescription Drug Product first.
covered subject to the following conditions and limitations.            The Cigna Business Decision Team determines whether
Transplant travel benefits are not available for cornea                 utilization management requirements or other coverage
transplants. Benefits for transportation, lodging and food are          conditions should apply to a Medical Pharmaceutical by
available to you only if you are the recipient of a preapproved         considering a number of factors, including, but not limited to,
organ/tissue transplant from a designated Cigna                         clinical and economic factors. Clinical factors may include,
LIFESOURCE Transplant Network® facility. The term                       but are not limited to, the P&T Committee’s evaluations of the
recipient is defined to include a person receiving authorized           place in therapy, relative safety or relative efficacy of Medical
transplant related services during any of the following:                Pharmaceuticals as well as whether utilization management
evaluation, candidacy, transplant event, or post-transplant             requirements should apply. Economic factors may include, but
care. Travel expenses for the person receiving the transplant           are not limited to, the Medical Pharmaceutical’s cost
will include charges for: transportation to and from the                including, but not limited to, assessments on the cost


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effectiveness of the Medical Pharmaceuticals and available                  Gene Therapy Travel Services
rebates. When considering a Medical Pharmaceutical for a                    Charges made for non-taxable travel expenses incurred by you
coverage status, the Business Decision Team reviews clinical                in connection with a prior authorized gene therapy procedure
and economic factors regarding enrollees as a general                       are covered subject to the following conditions and
population across its book-of-business. Regardless of its                   limitations.
eligibility for coverage under your plan, whether a particular
Prescription Drug Product is appropriate for you or any of                  Benefits for transportation and lodging are available to you
your Dependents is a determination that is made by you (or                  only when you are the recipient of a prior authorized gene
your Dependent) and the prescribing Physician.                              therapy; and when the gene therapy products and services
                                                                            directly related to their administration are received at a
The coverage criteria for a Medical Pharmaceutical may                      participating In-Network facility specifically contracted with
change periodically for various reasons. For example, a                     Cigna for the specific gene therapy service. The term recipient
Medical Pharmaceutical may be removed from the market, a                    is defined to include a person receiving prior authorized gene
new Medical Pharmaceutical in the same therapeutic class as a               therapy related services during any of the following:
Medical Pharmaceutical may become available, or other                       evaluation, candidacy, event, or post care.
market events may occur. Market events that may affect the
coverage status of a Medical Pharmaceutical include, but are                Travel expenses for the person receiving the gene therapy
not limited to, an increase in the cost of a Medical                        include charges for: transportation to and from the gene
Pharmaceutical.                                                             therapy site (including charges for a rental car used during a
                                                                            period of care at the facility); and lodging while at, or
                                                                            traveling to and from, the site.
HC-COV553                                                      10-16
                                                                            In addition to your coverage for the charges associated with
                                                                            the items above, such charges will also be considered covered
Gene Therapy                                                                travel expenses for one companion to accompany you. The
Charges for gene therapy products and services directly                     term companion includes your spouse, a member of your
related to their administration are covered when Medically                  family, your legal guardian, or any person not related to you,
Necessary. Gene therapy is a category of pharmaceutical                     but actively involved as your caregiver who is at least 18 years
products approved by the U.S. Food and Drug Administration                  of age.
(FDA) to treat or cure a disease by:                                        The following are specifically excluded travel expenses: any
   replacing a disease-causing gene with a healthy copy of the             expenses that if reimbursed would be taxable income, travel
    gene.                                                                   costs incurred due to travel within 60 miles of your home;
                                                                            food and meals; laundry bills; telephone bills; alcohol or
   inactivating a disease-causing gene that may not be
                                                                            tobacco products; and charges for transportation that exceed
    functioning properly.
                                                                            coach class rates.
   introducing a new or modified gene into the body to help
    treat a disease.
                                                                            HC-COV886                                                     01-20
Each gene therapy product is specific to a particular disease
and is administered in a specialized manner. Cigna determines
which products are in the category of gene therapy, based in                Clinical Trials
part on the nature of the treatment and how it is distributed               This plan covers routine patient care costs and services related
and administered.                                                           to an approved clinical trial for a qualified individual. The
Coverage includes the cost of the gene therapy product;                     individual must be eligible to participate according to the trial
medical, surgical, and facility services directly related to                protocol and either of the following conditions must be met:
administration of the gene therapy product; and professional                   the referring health care professional is a participating
services.                                                                       health care provider and has concluded that the individual’s
Gene therapy products and their administration are covered                      participation in such trial would be appropriate; or
when prior authorized to be received at In-Network facilities                  the individual provides medical and scientific information
specifically contracted with Cigna for the specific gene                        establishing that the individual’s participation in the
therapy service. Gene therapy products and their                                qualified trial would be appropriate.
administration received at other facilities are not covered.
                                                                            In addition to qualifying as an individual, the clinical trial
                                                                            must also meet certain criteria in order for patient care costs
                                                                            and services to be covered.



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The clinical trial must be a phase I, phase II, phase III, or                travel and transportation expenses, unless otherwise covered
phase IV clinical trial conducted in relation to the prevention,              under the plan, including but not limited to the following:
detection, or treatment of cancer or other life-threatening                    fees for personal vehicle, rental car, taxi, medical van,
disease or condition that meets any of the following criteria:                  ambulance, commercial airline, train.
   it is a federally funded trial. The study or investigation is              mileage reimbursement for driving a personal vehicle.
    approved or funded (which may include funding through in-
                                                                               lodging.
    kind contributions) by one or more of the following:
                                                                               meals.
     National Institutes of Health (NIH).
     Centers for Disease Control and Prevention (CDC).
                                                                             routine patient costs obtained out-of-network when Out-of-
                                                                              Network benefits do not exist under the plan.
     Agency for Health Care Research and Quality (AHRQ).
                                                                          Examples of routine patient care costs and services include:
     Centers for Medicare and Medicaid Services (CMS).
                                                                             radiological services.
     a cooperative group or center of any of the entities
      described above or the Department of Defense (DOD) or                  laboratory services.
      the Department of Veterans Affairs (VA).                               intravenous therapy.
     a qualified non-governmental research entity identified in             anesthesia services.
      NIH guidelines for center support grants.                              Physician services.
   any of the following: Department of Energy, Department of                office services.
    Defense, Department of Veterans Affairs, if both of the
    following conditions are met:                                            Hospital services.
                                                                             Room and Board, and medical supplies that typically would
     the study or investigation has been reviewed and
                                                                              be covered under the plan for an individual who is not
      approved through a system of peer review comparable to
                                                                              enrolled in a clinical trial.
      the system of peer review of studies and investigations
      used by the National Institutes of Health (NIH); and                Clinical trials conducted by Out-of-Network providers will be
     the study or investigation assures unbiased review of the
                                                                          covered only when the following conditions are met:
      highest scientific standards by qualified individuals who              In-Network providers are not participating in the clinical
      have no interest in the outcome of the review.                          trial; or
   the study or investigation is conducted under an                         The clinical trial is conducted outside the individual’s state
    investigational new drug application reviewed by the U.S.                 of residence.
    Food and Drug Administration (FDA).
   the study or investigation is a drug trial that is exempt from        HC-COV884                                                         01-20
    having such an investigational new drug application.
The plan does not cover any of the following services
associated with a clinical trial:
   services that are not considered routine patient care costs
    and services, including the following:
     the investigational drug, device, item, or service that is
      provided solely to satisfy data collection and analysis
      needs.
     an item or service that is not used in the direct clinical
      management of the individual.
     a service that is clearly inconsistent with widely accepted
      and established standards of care for a particular
      diagnosis.
   an item or service provided by the research sponsors free of
    charge for any person enrolled in the trial.




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                                         Prescription Drug Benefits
                                                   The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at Network
Pharmacies at 100% with no deductible and if applicable at non-Network Pharmacies, the same as the out of network
medical cost share for injectable/IV chemotherapy.


                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule




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                                                       NETWORK                                NON-NETWORK
       BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program does not count toward your Deductible and counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program does not count toward your Deductible and counts
toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
    Individual                            Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
    Family                                Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Designated Pharmacy or home delivery Network Pharmacy.

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.

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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $20 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $40 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.
Tier 1
  Generic Drugs on the Prescription       No charge after $30 Copay                 In-network coverage only
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $60 Copay                 In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-          No charge after $120 Copay                In-network coverage only
  preferred on the Prescription Drug
  List

Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Home Delivery Pharmacies                  consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $20 Copay                 In-network coverage only
  Drug List




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                                                   NETWORK                           NON-NETWORK
     BENEFIT HIGHLIGHTS
                                                  PHARMACY                            PHARMACY
Tier 2
  Brand Drugs designated as            No charge after $40 Copay            In-network coverage only
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-       No charge after $80 Copay            In-network coverage only
  preferred on the Prescription Drug
  List




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Prescription Drug Benefits                                              factors. Clinical factors may include, but are not limited to, the
                                                                        P&T Committee’s evaluations of the place in therapy, relative
                                                                        safety or relative efficacy of the Prescription Drug Product, as
Covered Expenses                                                        well as whether certain supply limits or other utilization
Your plan provides benefits for Prescription Drug Products              management requirements should apply. Economic factors
dispensed by a Pharmacy. Details regarding your plan’s                  may include, but are not limited to, the Prescription Drug
Covered Expenses, which for the purposes of the Prescription            Product's acquisition cost including, but not limited to,
Drug Benefit include Medically Necessary Prescription Drug              assessments on the cost effectiveness of the Prescription Drug
Products ordered by a Physician, Limitations and Exclusions             Product and available rebates. When considering a
are provided below and/or are shown in The Schedule.                    Prescription Drug Product for tier placement on the
If you or any one of your Dependents, while insured for                 Prescription Drug List or other coverage conditions, the
Prescription Drug Benefits, incurs expenses for charges made            Business Decision Team reviews clinical and economic
by a Pharmacy for Medically Necessary Prescription Drug                 factors regarding enrollees as a general population across its
Products ordered by a Physician, your plan will provide                 book-of-business. Regardless of its eligibility for coverage
coverage for those expenses as shown in The Schedule. Your              under the plan, whether a particular Prescription Drug Product
benefits may vary depending on which of the Prescription                is appropriate for you or any of your Dependents is a
Drug List tiers the Prescription Drug Product is listed, or the         determination that is made by you or your Dependent and the
Pharmacy that provides the Prescription Drug Product.                   prescribing Physician. A copy of the formulary is available at
                                                                        www.cigna.com/prescription-drug-list or by calling the
Coverage under your plan’s Prescription Drug Benefits also              number on the back of your ID card.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to          The coverage status of a Prescription Drug Product may
you or your Dependents by a licensed dentist for the                    change periodically for various reasons. For example, a
prevention of infection or pain in conjunction with a dental            Prescription Drug Product may be removed from the market, a
procedure.                                                              New Prescription Drug Product in the same therapeutic class
                                                                        as a Prescription Drug Product may become available, or other
For combination anti-retroviral drug treatments that are                market events may occur. Market events that may affect the
Medically Necessary for the treatment of AIDS/HIV, this plan            coverage status of a Prescription Drug Product include, but are
covers a single-tablet drug regimen that is as effective as a           not limited to, an increase in the acquisition cost of a
multi-tablet regimen unless, consistent with clinical guidelines        Prescription Drug Product. As a result of coverage changes,
and peer-reviewed scientific and medical literature, the multi-         for the purposes of benefits the plan may require you to pay
tablet regimen is clinically equal or more effective and more           more or less for that Prescription Drug Product, to obtain the
likely to result in adherence to a drug regimen.                        Prescription Drug Product from a certain Pharmacy(ies) for
When you or a Dependent are issued a Prescription Order or              coverage, or try another covered Prescription Drug Product(s).
Refill for Medically Necessary Prescription Drug Products as            Please access the internet through the website shown on your
part of the rendering of Emergency Services and Cigna                   ID card or call member services at the telephone number on
determines that it cannot reasonably be filled by a Network             your ID card for the most up-to-date tier status, utilization
Pharmacy, the prescription will be covered pursuant to the, as          management, or other coverage limitations for a Prescription
applicable, Copayment or Coinsurance for the Prescription               Drug Product.
Drug Product when dispensed by a Network Pharmacy.                      A Prescription Drug Product that is not on the Prescription
Prescription Drug List Management                                       Drug List may be covered if the Prescription Drug Product is
The Prescription Drug List (or formulary) offered under your            determined to be Medically Necessary and your Physician
Employer’s plan is managed by the Cigna Business Decision               obtains authorization for coverage of the non-Prescription
Team. Your plan’s Prescription Drug List coverage tiers may             Drug List Prescription Drug Product.
contain Prescription Drug Products that are Generic Drugs,
Brand Drugs or Specialty Prescription Drug Products. The                HC-PHR321                                                     01-19
Business Decision Team makes the final assignment of a
Prescription Drug Product to a certain coverage tier on the
Prescription Drug List and decides whether utilization
management requirements or other coverage conditions should             Limitations
apply to a Prescription Drug Product by considering a number            In the event you or your Dependent insist on a more expensive
of factors including, but not limited to, clinical and economic         Brand Drug where a Generic Drug is available, you will be



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financially responsible for the amount by which the cost of the         When you submit a claim on this basis, you will need to
Brand Drug exceeds the cost of the Generic Drug, plus any               submit a paper claim using the form that appears on the
required Brand Drug Copayment and/or Coinsurance. In this               website shown on your ID card.
case, the amount by which the cost of the Brand Drug exceeds            If a prior authorization request is approved, you and your
the cost of the Generic Drug will not apply to your Deductible,         Physician will receive confirmation within 72 hours for non-
if any, or Out-of-Pocket Maximum. However, in the event                 urgent requests and within 24 hours for exigent requests. The
your Physician determines that the Generic Drug is not an               authorization will be processed in the claim system to allow
acceptable alternative for you (and indicates Dispensed as              you to have coverage for the Prescription Drug Product. The
Written on the Prescription Order or Refill), you will only be          length of the authorization may depend on the diagnosis and
responsible for payment of the appropriate Brand Drug                   the Prescription Drug Product. The authorization will at all
Coinsurance and/or Copayment after satisfying your                      times be subject to the plan’s terms of coverage for the
Deductible, if any.                                                     Prescription Drug Product, which may change from time to
Contraceptives                                                          time. When your Physician advises you that coverage for the
Additionally, in the event your Physician determines that a             Prescription Drug Product has been approved, you can contact
prescription contraceptive that would be payable at 100% is             a Pharmacy to fill the covered Prescription Order or Refill.
not a medically acceptable alternative for you, the applicable          If the prior authorization request is denied, your Physician and
cost-share for a covered alternative contraceptive will be              you will be notified that coverage for the Prescription Drug
waived. Contact Cigna at the website or phone number on                 Product is not authorized within 72 hours for non-urgent
your ID card.                                                           requests and within 24 hours for exigent requests. If you
Prior Authorization Requirements                                        disagree with a coverage decision, you may appeal that
                                                                        decision in accordance with the provisions of the plan by
Coverage for certain Prescription Drug Products prescribed to           submitting a written request stating why the Prescription Drug
you requires your Physician to obtain prior authorization from          Product should be covered. The appeal provisions, including
Cigna or its Review Organization. The reason for obtaining              the address for submitting an appeal, are outlined in the
prior authorization from Cigna is to determine whether the              “When You Have A Complaint Or An Adverse Determination
Prescription Drug Product is Medically Necessary in                     Appeal” section of your certificate. You may also call
accordance with Cigna's coverage criteria. Coverage criteria            Customer Service at the toll-free number on your
for a Prescription Drug Product may vary based on the clinical          Identification Card if you have questions about the appeal
use for which the Prescription Order or Refill is submitted,            process.
and may change periodically based on changes in, without
limitation, clinical guidelines or practice standards, or market        Step Therapy
factors.                                                                Certain Prescription Drug Products are subject to step therapy
If Cigna or its Review Organization reviews the                         requirements. This means that in order to receive benefits for
documentation provided and determines that the Prescription             such Prescription Drug Products you are required to try a
Drug Product is not Medically Necessary or otherwise                    different Prescription Drug Product(s) first unless you satisfy
excluded, your plan will not cover the Prescription Drug                the plan’s exception criteria. You may identify whether a
Product. Cigna, or its Review Organization, will not review             particular Prescription Drug Product is subject to step therapy
claims for excluded Prescription Drug Products or other                 requirements at the website shown on your ID card or by
services to determine if they are Medically Necessary, unless           calling member services at the telephone number on your ID
required by law.                                                        card.In circumstances where you or your Dependent are
                                                                        changing policies, the new policy shall not require a repeat of
When Prescription Drug Products that require prior                      step therapy when the insured is already being treated for a
authorization are dispensed at a Pharmacy, you or your                  medical condition by a Prescription Drug Product that is
prescribing Physician are responsible for obtaining prior               appropriately prescribed and is considered safe and effective.
authorization from Cigna. If you do not obtain prior                    The new policy can impose a prior authorization requirement
authorization from us before the Prescription Drug Product is           for the continued coverage of a Prescription Drug Product
dispensed by the Pharmacy, you can ask us to consider                   prescribed pursuant to step therapy imposed by the former
reimbursement after you pay for and receive the Prescription            policy. A prescribing provider may prescribe another
Drug Product. You will need to pay for the Prescription Drug            Prescription Drug Product covered by the new policy that is
Product at the Pharmacy prior to submitting a reimbursement             medically appropriate for the insured.
request.
                                                                        Supply Limits
                                                                        Benefits for Prescription Drug Products are subject to the
                                                                        supply limits that are stated in The Schedule. For a single


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Prescription Order or Refill, you may receive a Prescription               Copayment
Drug Product up to the stated supply limit.                                Your plan requires that you pay a Copayment for covered
Some products are subject to additional supply limits, quantity            Prescription Drug Products as set forth in The Schedule. After
limits or dosage limits based on coverage criteria that have               satisfying any applicable annual Deductible set forth in The
been approved based on consideration of the P&T                            Schedule, your costs under the plan for a covered Prescription
Committee’s clinical findings. Coverage criteria are subject to            Drug Product dispensed by a Network Pharmacy and that is
periodic review and modification. The limit may restrict the               subject to a Copayment requirement will be the lowest of the
amount dispensed per Prescription Order or Refill and/or the               following amounts:
amount dispensed per month's supply, or may require that a                    the Copayment for the Prescription Drug Product set forth
minimum amount be dispensed.                                                   in The Schedule; or
You may determine whether a Prescription Drug Product has                     the Prescription Drug Charge; or
been assigned a dispensing supply limit or similar limit or
requirement at the website shown on your ID card or by                        the Network Pharmacy’s submitted Usual and Customary
calling member services at the telephone number on your ID                     (U&C) Charge, if any.
card.                                                                      When a treatment regimen contains more than one type of
FDA-approved, self-administered hormonal contraceptives                    Prescription Drug Products that are packaged together for your
will be covered for up to a 12-month supply when dispensed at              or your Dependent's convenience, any applicable Copayment
one time.                                                                  or Coinsurance may apply to each Prescription Drug Product.
Specialty Prescription Drug Products                                       You will need to obtain prior approval from Cigna or its
                                                                           Review Organization for any Prescription Drug Product not
Benefits are provided for Specialty Prescription Drug                      listed on the Prescription Drug List that is not otherwise
Products.                                                                  excluded. If Cigna or its Review Organization approves
New Prescription Drug Products                                             coverage for the Prescription Drug Product because it meets
The Business Decision Team may or may not place a New                      the applicable coverage exception criteria, the Prescription
Prescription Drug Product on a Prescription Drug List tier                 Drug Product shall be covered at the applicable coverage tier
upon its market entry. The Business Decision Team will use                 as set forth in The Schedule.
reasonable efforts to make a tier placement decision for a New             The amount you or your Dependent pays for any excluded
Prescription Drug Product within six months of its market                  Prescription Drug Product or other product or service will not
availability. The Business Decision Team’s tier placement                  be included in calculating any applicable plan Out-of-Pocket
decision shall be based on consideration of, without limitation,           Maximum. You are responsible for paying 100% of the cost
the P&T Committee’s clinical review of the New Prescription                (the amount the Pharmacy charges you) for any excluded
Drug Product and economic factors. If a New Prescription                   Prescription Drug Product or other product.
Drug Product not listed on the Prescription Drug List is
approved by Cigna or its Review Organization as Medically
                                                                           HC-PHR272                                                   01-19
Necessary in the interim, the New Prescription Drug Product
                                                                                                                                           V2
shall be covered at the applicable coverage tier as set forth in
The Schedule.

                                                                           Exclusions
HC-PHR150                                                     01-20
                                                                V1         Coverage exclusions listed under the “Exclusions, Expenses
                                                                           Not Covered and General Limitations” section also apply to
                                                                           benefits for Prescription Drug Products. In addition, the
                                                                           exclusions listed below apply to benefits for Prescription Drug
Your Payments                                                              Products. When an exclusion or limitation applies to only
Covered Prescription Drug Products purchased at a Pharmacy                 certain Prescription Drug Products, you can access the
are subject to any applicable Deductible, Copayments or                    Prescription Drug List through the website shown on your ID
Coinsurance shown in The Schedule, as well as any                          card or call member services at the telephone number on your
limitations or exclusions set forth in this plan. Please refer to          ID card for information on which Prescription Drug Products
The Schedule for any required Copayments, Coinsurance,                     are excluded.
Deductibles or Out-of-Pocket Maximums.                                        coverage for Prescription Drug Products for the amount
                                                                               dispensed (days' supply) which exceeds the applicable
                                                                               supply limit, or is less than any applicable supply minimum


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    set forth in The Schedule, or which exceeds quantity limit(s)               medication has been designated as eligible for coverage as if
    or dosage limit(s) set by the P&T Committee.                                it were a Prescription Drug Product.
   more than one Prescription Order or Refill for a given                     certain Prescription Drug Products that are a Therapeutic
    prescription supply period for the same Prescription Drug                   Equivalent or Therapeutic Alternative to an over-the-
    Product prescribed by one or more Physicians and                            counter drug(s), or are available in over-the-counter form.
    dispensed by one or more Pharmacies.                                        Such coverage determinations may be made periodically,
   Prescription Drug Products dispensed outside the                            and benefits for a Prescription Drug Product that was
    jurisdiction of the United States, except as required for                   previously excluded under this provision may be reinstated
    emergency or Urgent Care treatment.                                         at any time.
   Prescription Drug Products which are prescribed, dispensed                 any product for which the primary use is a source of
    or intended to be taken by or administered to you while you                 nutrition, nutritional supplements, or dietary management of
    are a patient in a licensed Hospital, Skilled Nursing Facility,             disease, even when used for the treatment of Sickness or
    rest home, rehabilitation facility, or similar institution which            Injury, unless coverage for such product(s) is required by
    operates on its premises or allows to be operated on its                    federal or state law.
    premises a facility for dispensing pharmaceutical products.                immunization agents, biological products for allergy
   Prescription Drug Products furnished by the local, state or                 immunization, biological sera, blood, blood plasma and
    federal government (except for a Network Pharmacy owned                     other blood products or fractions and medications used for
    or operated by a local, state or federal government).                       travel prophylaxis unless specifically identified on the
                                                                                Prescription Drug List.
   any product dispensed for the purpose of appetite
    suppression (anorectics) or weight loss.                                   smoking cessation medications except those required by
                                                                                federal law to be covered as Preventive Care Medications.
   prescription and non-prescription supplies other than
    supplies covered as Prescription Drug Products.                            certain Prescription Drug Products that are a Therapeutic
                                                                                Equivalent or Therapeutic Alternative to another covered
   vitamins, except prenatal vitamins that require a                           Prescription Drug Product(s). Such coverage determinations
    Prescription Order or Refill, unless coverage for such                      may be made periodically, and benefits for a Prescription
    product(s) is required by federal or state law.                             Drug Product that was previously excluded under this
   medications used for cosmetic purposes, including, without                  provision may be reinstated at any time.
    limitation, medications used to reduce wrinkles,                           medications that are experimental, investigational, or
    medications used to promote hair growth, or medications                     unproven as described under the “General Exclusion and
    used to control perspiration and fade cream products.                       Limitations” section of your plan’s certificate.
   Prescription Drug Products as a replacement for a
    previously dispensed Prescription Drug Product that was
                                                                            HC-PHR416                                                    01-20
    lost, stolen, broken or destroyed.
                                                                                                                                             V1
   Prescription Drug Products used for the treatment of
    infertility.
   Medical Pharmaceuticals covered solely under the plan’s
                                                                            Reimbursement/Filing a Claim
    medical benefits.
                                                                            Retail Pharmacy
   Prescription Drug Products used for the treatment of male or
    female sexual dysfunction, including, but not limited to                When you or your Dependents purchase your Prescription
    erectile dysfunction, delayed ejaculation, anorgasmy,                   Drug Products through a Network Pharmacy, you pay any
    hypoactive sexual desire disorder and decreased libido.                 applicable Copayment, Coinsurance, or Deductible shown in
                                                                            The Schedule at the time of purchase. You do not need to file
   any ingredient(s) in a compounded Prescription Drug
                                                                            a claim form for a Prescription Drug Product obtained at a
    Product that has not been approved by the U.S. Food and
                                                                            Network Pharmacy unless you pay the full cost of a
    Drug Administration (FDA), and do not meet the definition
                                                                            Prescription Drug Product at a Network Pharmacy and later
    of a Part D eligible drug.
                                                                            seek reimbursement for the Prescription Drug Product under
   medications available over-the-counter that do not require a            the plan. For example, if you must pay the full cost of a
    Prescription Order or Refill by federal or state law before             Prescription Drug Product to the retail Network Pharmacy
    being dispensed, unless state or federal law requires                   because you did not have your ID card, then you must submit
    coverage of such medications or the over-the-counter                    a claim to Cigna for any reimbursement or benefit you believe
                                                                            is due to you under this plan. If, under this example, your


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payment to the retail Network Pharmacy for the covered                           to which the value of the coupon has been applied by the
Prescription Drug Product exceeds any applicable copay, then                     Pharmacy or other third party, and/or exclude from
you will be reimbursed the difference, if any, between the                       accumulation toward any plan Deductible or Out-of-Pocket
applicable copay and the Prescription Drug Charge for the                        Maximum the value of any coupon applied to any
Prescription Drug Product.                                                       Copayment, Deductible and/or Coinsurance you are
                                                                                 required to pay.
HC-PHR273                                                       01-19
                                                                                charges arising out of or relating to any violation of a
                                                                  V2
                                                                                 healthcare-related state or federal law or which themselves
                                                                                 are a violation of a healthcare-related state or federal law.
                                                                                assistance in the activities of daily living, including but not
                                                                                 limited to eating, bathing, dressing or other Custodial
Exclusions, Expenses Not Covered and                                             Services or self-care activities, homemaker services and
General Limitations                                                              services primarily for rest, domiciliary or convalescent care.
Exclusions and Expenses Not Covered                                             for or in connection with experimental, investigational or
                                                                                 unproven services.
Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, substance use
                                                                                 disorder or other health care technologies, supplies,
 care for health conditions that are required by state or local
                                                                                 treatments, procedures, drug or Biologic therapies or
  law to be treated in a public facility.
                                                                                 devices that are determined by the utilization review
   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                  not approved by the U.S. Food and Drug Administration
   treatment of an Injury or Sickness which is due to war,                        (FDA) or other appropriate regulatory agency to be
    declared, or undeclared.                                                       lawfully marketed;
   charges which you are not obligated to pay or for which you                   not demonstrated, through existing peer-reviewed,
    are not billed or for which you would not have been billed                     evidence-based, scientific literature to be safe and
    except that they were covered under this plan. For example,                    effective for treating or diagnosing the condition or
    if Cigna determines that a provider or Pharmacy is or has                      Sickness for which its use is proposed;
    waived, reduced, or forgiven any portion of its charges
                                                                                  the subject of review or approval by an Institutional
    and/or any portion of Copayment, Deductible, and/or
                                                                                   Review Board for the proposed use except as provided in
    Coinsurance amount(s) you are required to pay for a
                                                                                   the “Clinical Trials” sections of this plan; or
    Covered Expense (as shown on The Schedule) without
    Cigna's express consent, then Cigna shall have the right to                   the subject of an ongoing phase I, II, or III clinical trial,
    deny the payment of benefits in connection with the                            except for routine patient care costs related to qualified
    Covered Expense, or reduce the benefits in proportion to the                   clinical trials as provided in the “Clinical Trials” sections
    amount of the Copayment, Deductible, and/or Coinsurance                        of this plan.
    amounts waived, forgiven or reduced, regardless of whether                   In determining whether any such technologies, supplies,
    the provider or Pharmacy represents that you remain                          treatments, drug or Biologic therapies, or devices are
    responsible for any amounts that your plan does not cover.                   experimental, investigational, and/or unproven, the
    Cigna shall have the right to require you to provide proof                   utilization review Physician may rely on the clinical
    sufficient to Cigna that you have made your required cost                    coverage policies maintained by Cigna or the Review
    share payment(s) prior to the payment of any benefits by                     Organization. Clinical coverage policies may incorporate,
    Cigna. This exclusion includes, but is not limited to, charges               without limitation and as applicable, criteria relating to U.S.
    of a non-Participating Provider who has agreed to charge                     Food and Drug Administration-approved labeling, the
    you or charged you at an In-Network benefits level or some                   standard medical reference compendia and peer-reviewed,
    other benefits level not otherwise applicable to the services                evidence-based scientific literature or guidelines. The plan
    received. Provided further, if you use a coupon provided by                  or policy shall not deny coverage for a drug or Biologic
    a pharmaceutical manufacturer or other third party that                      therapy as experimental, investigational and unproven if the
    discounts the cost of a prescription medication or other                     drug or Biologic therapy is otherwise approved by the FDA
    product, Cigna may, in its sole discretion, reduce the                       to be lawfully marketed, has not been contraindicated by the
    benefits provided under the plan in proportion to the amount                 FDA for the use for which the drug or Biologic has been
    of the Copayment, Deductible, and/or Coinsurance amounts                     prescribed, and is recognized as safe and effective for the


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    treatment of cancer in any of the standard reference                     unless otherwise covered in this plan, for reports,
    compendia: (A) The American Hospital Formulary Service's                  evaluations, physical examinations, or hospitalization not
    Drug Information, (B) One of the following compendia if                   required for health reasons including, but not limited to,
    recognized by the federal Centers for Medicare and                        employment, insurance or government licenses, and court-
    Medicaid Services as part of an anticancer                                ordered, forensic or custodial evaluations.
    chemotherapeutic regimen: (i). The Elsevier Gold                         court-ordered treatment or hospitalization, unless such
    Standard's Clinical Pharmacology; (ii) The National                       treatment is prescribed by a Physician and listed as covered
    Comprehensive Cancer Network Drug and Biologics                           in this plan.
    compendium; (iii) The Thomson Micromedix DrugDex, (C)
    two articles from major peer-reviewed medical journals that              infertility services including infertility drugs, surgical or
    that present data supporting the proposed off-label use or                medical treatment programs for infertility, including in vitro
    uses as generally safe and effective unless there is clear and            fertilization, gamete intrafallopian transfer (GIFT), zygote
    convincing contradictory evidence presented in a major                    intrafallopian transfer (ZIFT), variations of these
    peer-reviewed medical journal.                                            procedures, and any costs associated with the collection,
                                                                              washing, preparation or storage of sperm for artificial
   cosmetic surgery and therapies. Cosmetic surgery or therapy               insemination (including donor fees). Cryopreservation of
    is defined as surgery or therapy performed to improve or                  donor sperm and eggs are also excluded from coverage.
    alter appearance or self-esteem or to treat psychological
    symptomatology or psychosocial complaints related to                     reversal of male or female voluntary sterilization
    one’s appearance. Cosmetic surgery and therapy does not                   procedures.
    include gender reassignment services.                                    any services or supplies for the treatment of male or female
   the following services are excluded from coverage                         sexual dysfunction such as, but not limited to, treatment of
    regardless of clinical indications: macromastia or                        erectile dysfunction (including penile implants), anorgasmy,
    gynecomastia surgeries; surgical treatment of varicose                    and premature ejaculation.
    veins; abdominoplasty; panniculectomy; rhinoplasty;                      medical and Hospital care and costs for the infant child of a
    blepharoplasty; redundant skin surgery; removal of skin                   Dependent, unless this infant child is otherwise eligible
    tags; acupressure; craniosacral/cranial therapy; dance                    under this plan.
    therapy; movement therapy; applied kinesiology; rolfing;                 non-medical counseling and/or ancillary services including,
    prolotherapy; and extracorporeal shock wave lithotripsy                   but not limited to, Custodial Services, educational services,
    (ESWL) for musculoskeletal and orthopedic conditions.                     vocational counseling, training and rehabilitation services,
   dental treatment of the teeth, gums or structures directly                behavioral training (other than behavioral training services
    supporting the teeth, including dental X-rays, examinations,              for pervasive developmental disorder or autism),
    repairs, orthodontics (unless services are an integral part of            biofeedback, neurofeedback, hypnosis, sleep therapy, return
    reconstructive surgery for Cleft Palate), periodontics, casts,            to work services, work hardening programs, and driver
    splints and services for dental malocclusion, for any                     safety courses.
    condition. However, facility charges and charges for general             consumable medical supplies other than ostomy supplies
    anesthesia or deep sedation which cannot be administered in               and urinary catheters. Excluded supplies include, but are not
    a dental office are covered when Medically Necessary.                     limited to bandages and other disposable medical supplies,
    Charges made for services or supplies provided for or in                  skin preparations and test strips, except as specified in the
    connection with an accidental Injury to teeth are also                    “Home Health Care Services” or “Breast Reconstruction
    covered provided a continuous course of dental treatment is               and Breast Prostheses” sections of this plan.
    started within six months of an accident.
                                                                             private Hospital rooms and/or private duty nursing except as
   for medical and surgical services, initial and repeat,                    provided under the Home Health Services provision.
    intended for the treatment or control of obesity including
                                                                             personal or comfort items such as personal care kits
    clinically severe (morbid) obesity, including: medical and
                                                                              provided on admission to a Hospital, television, telephone,
    surgical services to alter appearance or physical changes
    that are the result of any surgery performed for the                      newborn infant photographs, complimentary meals, birth
    management of obesity or clinically severe (morbid)                       announcements, and other articles which are not for the
                                                                              specific treatment of an Injury or Sickness.
    obesity; and weight loss programs or treatments, whether
    prescribed or recommended by a Physician or under                        artificial aids including, but not limited to, corrective
    medical supervision. This does not apply to obesity                       orthopedic shoes, arch supports, elastic stockings, garter
    screening and counseling as outlined in the US Preventive                 belts, corsets, dentures and wigs.
    Services Task Force.



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   hearing aids, including but not limited to semi-implantable             blood administration for the purpose of general
    hearing devices, audiant bone conductors and Bone                        improvement in physical condition.
    Anchored Hearing Aids (BAHAs). A hearing aid is any                     cost of biologicals that are immunizations or medications
    device that amplifies sound.                                             for the purpose of travel, or to protect against occupational
   aids or devices that assist with non-verbal communications,              hazards and risks.
    including but not limited to communication boards, pre-                 cosmetics, dietary supplements and health and beauty aids.
    recorded speech devices, laptop computers, desktop
    computers, Personal Digital Assistants (PDAs), Braille                  enteral feedings, supplies and specialty formulated medical
    typewriters, visual alert systems for the deaf and memory                foods that are prescribed and non-prescribed, except for
    books.                                                                   infant formula needed for the treatment of inborn errors of
                                                                             metabolism.
   corrective lenses and associated services (prescription
    exams and fittings), including eyeglass lenses and frames               for services related to an Injury or Sickness paid under
    and contact lenses, except for the first pair of corrective              workers’ compensation, occupational disease or similar
    lenses, or the first set of eyeglass lenses and frames and               laws.
    associated services for treatment of keratoconus or                     massage therapy.
    following cataract surgery.                                             certain Medical Pharmaceuticals that are a Therapeutic
   routine refractions, eye exercises and surgical treatment for            Equivalent or Therapeutic Alternative to another covered
    the correction of a refractive error, including radial                   Medical Pharmaceutical(s) and is administered in
    keratotomy.                                                              connection with a covered service rendered in an inpatient,
   treatment by acupuncture.                                                outpatient, Physician’s office or home health care setting.
                                                                             Such determinations may be made periodically, and benefits
   all non-injectable prescription drugs unless Physician                   for a Medical Pharmaceutical that was previously excluded
    administration or oversight is required, injectable                      under this provision may be reinstated at any time.
    prescription drugs to the extent they do not require
    Physician supervision and are typically considered self-             General Limitations
    administered drugs, non-prescription drugs, and                      No payment will be made for expenses incurred for you or any
    investigational and experimental drugs, except as provided           one of your Dependents:
    in this plan.
                                                                            to the extent that you or any one of your Dependents is in
   routine foot care, including the paring and removing of                  any way paid or entitled to payment for those expenses by
    corns and calluses and toenail maintenance. However, foot                or through a public program, other than Medicaid.
    care services for diabetes, peripheral neuropathies and
                                                                            to the extent that payment is unlawful where the person
    peripheral vascular disease are covered.
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
                                                                            for charges which would not have been made if the person
    weight loss programs and smoking cessation programs. This
                                                                             had no insurance.
    does not apply to in-person and telephonic behavioral
    tobacco cessation counseling.                                           to the extent that they are more than Maximum
                                                                             Reimbursable Charges.
   for a diagnosis other than pervasive developmental disorder
    or autism, the following exclusions apply - genetic                     to the extent of the exclusions imposed by any certification
    screening or pre-implantations genetic screening. General                requirement shown in this plan.
    population-based genetic screening is a testing method                  expenses for supplies, care, treatment, or surgery that are
    performed in the absence of any symptoms or any                          not Medically Necessary.
    significant, proven risk factors for genetically linked                 charges made by any covered provider who is a member of
    inheritable disease.                                                     your family or your Dependent's family.
   dental implants for any condition unless services are an                expenses incurred outside the United States other than
    integral part of reconstructive surgery for Cleft Palate.                expenses for Medically Necessary urgent or emergent care
   fees associated with the collection or donation of blood or              while temporarily traveling abroad.
    blood products, except for autologous donation in
    anticipation of scheduled services where in the utilization
    review Physician’s opinion the likelihood of excess blood            HC-EXC414                                                         01-20
                                                                                                                                             V2
    loss is such that transfusion is an expected adjunct to
    surgery.



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Coordination of Benefits                                               benefits in the form of services, the Reasonable Cash Value of
                                                                       each service is the Allowable Expense and is a paid benefit.
This section applies if you or any one of your Dependents is
covered under more than one Plan and determines how                    Examples of expenses or services that are not Allowable
benefits payable from all such Plans will be coordinated. You          Expenses include, but are not limited to the following:
should file all claims with each Plan.                                    An expense or service or a portion of an expense or service
Definitions                                                                that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
For the purposes of this section, the following terms have the
meanings set forth below:                                                 If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
Plan                                                                       difference in cost between a private and semiprivate room is
Any of the following that provides benefits or services for                not an Allowable Expense.
medical care or treatment:                                                If you are covered by two or more Plans that provide
   Group insurance and/or group-type coverage, whether                    services or supplies on the basis of reasonable and
    insured or self-insured which neither can be purchased by              customary fees, any amount in excess of the highest
    the general public, nor is individually underwritten,                  reasonable and customary fee is not an Allowable Expense.
    including closed panel coverage.                                      If you are covered by one Plan that provides services or
   Coverage under Medicare and other governmental benefits                supplies on the basis of reasonable and customary fees and
    as permitted by law, excepting Medicaid and Medicare                   one Plan that provides services and supplies on the basis of
    supplement policies.                                                   negotiated fees, the Primary Plan's fee arrangement shall be
   Medical benefits coverage of group, group-type, and                    the Allowable Expense.
    individual automobile contracts.                                      If your benefits are reduced under the Primary Plan (through
Each Plan or part of a Plan which has the right to coordinate              the imposition of a higher copayment amount, higher
benefits will be considered a separate Plan.                               coinsurance percentage, a deductible and/or a penalty)
                                                                           because you did not comply with Plan provisions or because
Closed Panel Plan                                                          you did not use a preferred provider, the amount of the
A Plan that provides medical or dental benefits primarily in               reduction is not an Allowable Expense. Such Plan
the form of services through a panel of employed or                        provisions include second surgical opinions and
contracted providers, and that limits or excludes benefits                 precertification of admissions or services.
provided by providers outside of the panel, except in the case         Claim Determination Period
of emergency or if referred by a provider within the panel.
                                                                       A calendar year, but does not include any part of a year during
Primary Plan                                                           which you are not covered under this policy or any date before
The Plan that determines and provides or pays benefits                 this section or any similar provision takes effect.
without taking into consideration the existence of any other           Reasonable Cash Value
Plan.
                                                                       An amount which a duly licensed provider of health care
Secondary Plan                                                         services usually charges patients and which is within the range
A Plan that determines, and may reduce its benefits after              of fees usually charged for the same service by other health
taking into consideration, the benefits provided or paid by the        care providers located within the immediate geographic area
Primary Plan. A Secondary Plan may also recover from the               where the health care service is rendered under similar or
Primary Plan the Reasonable Cash Value of any services it              comparable circumstances.
provided to you.                                                       Order of Benefit Determination Rules
Allowable Expense                                                      A Plan that does not have a coordination of benefits rule
The amount of charges considered for payment under the Plan            consistent with this section shall always be the Primary Plan.
for a Covered Service prior to any reductions due to                   If the Plan does have a coordination of benefits rule consistent
coinsurance, copayment or deductible amounts. If Cigna                 with this section, the first of the following rules that applies to
contracts with an entity to arrange for the provision of               the situation is the one to use:
Covered Services through that entity’s contracted network of              The Plan that covers you as an enrollee or an Employee
health care providers, the amount that Cigna has agreed to pay             shall be the Primary Plan and the Plan that covers you as a
that entity is the allowable amount used to determine your                 Dependent shall be the Secondary Plan;
coinsurance or deductible payments. If the Plan provides



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   If you are a Dependent child whose parents are not divorced             Effect on the Benefits of This Plan
    or legally separated, the Primary Plan shall be the Plan                If this Plan is the Secondary Plan, this Plan may reduce
    which covers the parent whose birthday falls first in the               benefits so that the total benefits paid by all Plans during a
    calendar year as an enrollee or Employee;                               Claim Determination Period are not more than 100% of the
   If you are the Dependent of divorced or separated parents,              total of all Allowable Expenses.
    benefits for the Dependent shall be determined in the                   The difference between the amount that this Plan would have
    following order:                                                        paid if this Plan had been the Primary Plan, and the benefit
     first, if a court decree states that one parent is responsible        payments that this Plan had actually paid as the Secondary
      for the child's healthcare expenses or health coverage and            Plan, will be recorded as a benefit reserve for you. Cigna will
      the Plan for that parent has actual knowledge of the terms            use this benefit reserve to pay any Allowable Expense not
      of the order, but only from the time of actual knowledge;             otherwise paid during the Claim Determination Period.
     then, the Plan of the parent with custody of the child;               As each claim is submitted, Cigna will determine the
     then, the Plan of the spouse of the parent with custody of            following:
      the child;                                                               Cigna's obligation to provide services and supplies under
     then, the Plan of the parent not having custody of the                    this policy;
      child; and                                                               whether a benefit reserve has been recorded for you; and
     finally, the Plan of the spouse of the parent not having                 whether there are any unpaid Allowable Expenses during
      custody of the child.                                                     the Claims Determination Period.
   The Plan that covers you as an active Employee (or as that              If there is a benefit reserve, Cigna will use the benefit reserve
    Employee's Dependent) shall be the Primary Plan and the                 recorded for you to pay up to 100% of the total of all
    Plan that covers you as laid-off or retired Employee (or as             Allowable Expenses. At the end of the Claim Determination
    that Employee's Dependent) shall be the Secondary Plan. If              Period, your benefit reserve will return to zero and a new
    the other Plan does not have a similar provision and, as a              benefit reserve will be calculated for each new Claim
    result, the Plans cannot agree on the order of benefit                  Determination Period.
    determination, this paragraph shall not apply.                          Recovery of Excess Benefits
   The Plan that covers you under a right of continuation                  If Cigna pays charges for benefits that should have been paid
    which is provided by federal or state law shall be the                  by the Primary Plan, or if Cigna pays charges in excess of
    Secondary Plan and the Plan that covers you as an active                those for which we are obligated to provide under the policy,
    Employee or retiree (or as that Employee's Dependent) shall             Cigna will have the right to recover the actual payment made
    be the Primary Plan. If the other Plan does not have a                  or the Reasonable Cash Value of any services.
    similar provision and, as a result, the Plans cannot agree on
    the order of benefit determination, this paragraph shall not            Cigna will have sole discretion to seek such recovery from any
    apply.                                                                  person to, or for whom, or with respect to whom, such
                                                                            services were provided or such payments made by any
   If one of the Plans that covers you is issued out of the state          insurance company, healthcare plan or other organization. If
    whose laws govern this policy, and determines the order of              we request, you must execute and deliver to us such
    benefits based upon the gender of a parent, and as a result,            instruments and documents as we determine are necessary to
    the Plans do not agree on the order of benefit determination,           secure the right of recovery.
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Right to Receive and Release Information
If none of the above rules determines the order of benefits, the            Cigna, without consent or notice to you, may obtain
Plan that has covered you for the longer period of time shall               information from and release information to any other Plan
be primary.                                                                 with respect to you in order to coordinate your benefits
                                                                            pursuant to this section. You must provide us with any
When coordinating benefits with Medicare, this Plan will be                 information we request in order to coordinate your benefits
the Secondary Plan and determine benefits after Medicare,                   pursuant to this section. This request may occur in connection
where permitted by the Social Security Act of 1965, as                      with a submitted claim; if so, you will be advised that the
amended. However, when more than one Plan is secondary to                   "other coverage" information, (including an Explanation of
Medicare, the benefit determination rules identified above,                 Benefits paid under the Primary Plan) is required before the
will be used to determine how benefits will be coordinated.                 claim will be processed for payment. If no response is
                                                                            received within 90 days of the request, the claim will be



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denied. If the requested information is subsequently received,              30 months. Beginning with the 31st month, Medicare will be
the claim will be processed.                                                the primary payer.
Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent is covered under this              Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31 st month,                  For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB224                                                  01-19

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
    Stage Renal Disease (ESRD) and you are an active or
    retired Employee. This Plan is the primary payer for the first


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Expenses For Which A Third Party May                                         agrees to hold the proceeds of any recovery in trust for the
                                                                              benefit of the plan to the extent of any payment made by the
Be Responsible                                                                plan.
This plan does not cover:                                                 Additional Terms
   Expenses incurred by you or your Dependent; (hereinafter               No adult Participant hereunder may assign any rights that it
    individually and collectively referred to as a "Participant,")          may have to recover medical expenses from any third party
    for which another party may be responsible as a result of               or other person or entity to any minor Dependent of said
    having caused or contributed to an Injury or Sickness.                  adult Participant without the prior express written consent
   Expenses incurred by a Participant to the extent any                    of the plan. The plan’s right to recover shall apply to
    payment is received for them either directly or indirectly              decedents’, minors’, and incompetent or disabled persons’
    from a third party tortfeasor or as a result of a settlement,           settlements or recoveries.
    judgment or arbitration award in connection with any                     No Participant shall make any settlement, which specifically
    automobile medical, automobile no-fault, uninsured or                     reduces or excludes, or attempts to reduce or exclude, the
    underinsured motorist, homeowners, workers'                               benefits provided by the plan.
    compensation, government insurance (other than Medicaid),
                                                                             The plan’s right of recovery shall be a prior lien against any
    or similar type of insurance or coverage.
                                                                              proceeds recovered by the Participant. This right of
Subrogation/Right of Reimbursement                                            recovery shall not be defeated nor reduced by the
If a Participant incurs a Covered Expense for which, in the                   application of any so-called “Made-Whole Doctrine”,
opinion of the plan or its claim administrator, another party                 “Rimes Doctrine”, or any other such doctrine purporting to
may be responsible or for which the Participant may receive                   defeat the plan’s recovery rights by allocating the proceeds
payment as described above:                                                   exclusively to non-medical expense damages.
   Subrogation: The plan shall, to the extent permitted by law,             No Participant hereunder shall incur any expenses on behalf
    be subrogated to all rights, claims or interests that a                   of the plan in pursuit of the plan’s rights hereunder,
    Participant may have against such party and shall                         specifically; no court costs, attorneys' fees or other
    automatically have a lien upon the proceeds of any recovery               representatives' fees may be deducted from the plan’s
    by a Participant from such party to the extent of any benefits            recovery without the prior express written consent of the
    paid under the plan. A Participant or his/her representative              plan. This right shall not be defeated by any so-called “Fund
    shall execute such documents as may be required to secure                 Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
    the plan’s subrogation rights.                                            Doctrine”.
   Right of Reimbursement: The plan is also granted a right of              The plan shall recover the full amount of benefits provided
    reimbursement from the proceeds of any recovery whether                   hereunder without regard to any claim of fault on the part of
    by settlement, judgment, or otherwise. This right of                      any Participant, whether under comparative negligence or
    reimbursement is cumulative with and not exclusive of the                 otherwise.
    subrogation right granted in paragraph 1, but only to the                In the event that a Participant shall fail or refuse to honor its
    extent of the benefits provided by the plan.                              obligations hereunder, then the plan shall be entitled to
Lien of the Plan                                                              recover any costs incurred in enforcing the terms hereof
By accepting benefits under this plan, a Participant:                         including, but not limited to, attorney’s fees, litigation, court
                                                                              costs, and other expenses. The plan shall also be entitled to
   grants a lien and assigns to the plan an amount equal to the              offset the reimbursement obligation against any entitlement
    benefits paid under the plan against any recovery made by                 to future medical benefits hereunder until the Participant has
    or on behalf of the Participant which is binding on any                   fully complied with his reimbursement obligations
    attorney or other party who represents the Participant                    hereunder, regardless of how those future medical benefits
    whether or not an agent of the Participant or of any                      are incurred.
    insurance company or other financially responsible party
    against whom a Participant may have a claim provided said                Any reference to state law in any other provision of this
    attorney, insurance carrier or other party has been notified              plan shall not be applicable to this provision, if the plan is
    by the plan or its agents;                                                governed by ERISA. By acceptance of benefits under the
                                                                              plan, the Participant agrees that a breach hereof would cause
   agrees that this lien shall constitute a charge against the               irreparable and substantial harm and that no adequate
    proceeds of any recovery and the plan shall be entitled to                remedy at law would exist. Further, the Plan shall be
    assert a security interest thereon;                                       entitled to invoke such equitable remedies as may be
                                                                              necessary to enforce the terms of the plan, including, but not


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  limited to, specific performance, restitution, the imposition             executor has the same rights as our insured and benefit
  of an equitable lien and/or constructive trust, as well as                payments for unassigned claims should be made payable to the
  injunctive relief.                                                        executor.
                                                                            Payment as described above will release Cigna from all
HC-SUB1                                                           V1
                                                                            liability to the extent of any payment made.
                                                                            Recovery of Overpayment
                                                                            When an overpayment has been made by Cigna, Cigna will
Payment of Benefits                                                         have the right at any time to: recover that overpayment from
                                                                            the person to whom or on whose behalf it was made; or offset
Assignment and Payment of Benefits                                          the amount of that overpayment from a future claim payment.
You may not assign to any party, including, but not limited to,
a provider of healthcare services/items, your right to benefits
                                                                            HC-POB143                                                     01-19
under this plan, nor may you assign any administrative,
statutory, or legal rights or causes of action you may have
under ERISA, including, but not limited to, any right to make
a claim for plan benefits, to request plan or other documents,              Termination Of Insurance
to file appeals of denied claims or grievances, or to file
lawsuits under ERISA. Any attempt to assign such rights shall
be void and unenforceable under all circumstances.
                                                                            Employees
                                                                            Your insurance will cease on the earliest date below:
You may, however, authorize Cigna to pay any healthcare
benefits under this policy to a Participating or non-                          the date you cease to be in a Class of Eligible Employees or
Participating Provider. When you authorize the payment of                       cease to qualify for the insurance.
your healthcare benefits to a Participating or non-Participating               the last day for which you have made any required
Provider, you authorize the payment of the entire amount of                     contribution for the insurance.
the benefits due on that claim. If a provider is overpaid
                                                                               the date the policy is canceled.
because of accepting duplicate payments from you and Cigna,
it is the provider’s responsibility to reimburse the                           the last day of the calendar month in which your Active
overpayment to you. Cigna may pay all healthcare benefits for                   Service ends except as described below.
Covered Expenses directly to a Participating Provider without               Any continuation of insurance must be based on a plan which
your authorization. You may not interpret or rely upon this                 precludes individual selection.
discrete authorization or permission to pay any healthcare
                                                                            Temporary Layoff or Leave of Absence
benefits to a Participating or non-Participating Provider as the
authority to assign any other rights under this policy to any               If your Active Service ends due to temporary layoff or leave
party, including, but not limited to, a provider of healthcare              of absence, your insurance will be continued until the date
services/items.                                                             your Employer stops paying premium for you or otherwise
                                                                            cancels your insurance. However, your insurance will not be
Even if the payment of healthcare benefits to a non-                        continued for more than 60 days past the date your Active
Participating Provider has been authorized by you, Cigna may,
                                                                            Service ends.
at its option, make payment of benefits to you. When benefits
are paid to you, you or your Dependents are responsible for                 Injury or Sickness
reimbursing the non-Participating Provider.                                 If your Active Service ends due to an Injury or Sickness, your
Ambulance benefits will be paid directly to the provider of the             insurance will be continued while you remain totally and
ambulance service.                                                          continuously disabled as a result of the Injury or Sickness.
                                                                            However, your insurance will not continue past the date your
If any person to whom benefits are payable is a minor or, in
                                                                            Employer stops paying premium for you or otherwise cancels
the opinion of Cigna is not able to give a valid receipt for any
                                                                            your insurance.
payment due him, such payment will be made to his legal
guardian. If no request for payment has been made by his legal
guardian, Cigna may, at its option, make payment to the                     Dependents
person or institution appearing to have assumed his custody                 Your insurance for all of your Dependents will cease on the
and support.                                                                earliest date below:
When one of our participants passes away, Cigna may receive                    the date your insurance ceases.
notice that an executor of the estate has been established. The                the date you cease to be eligible for Dependent Insurance.


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   the last day for which you have made any required                    Qualifying Events for Continuation of Cal-COBRA
    contribution for the insurance.                                      Coverage
   the date Dependent Insurance is canceled.                            A Qualifying Event is any of the following:
The insurance for any one of your Dependents will cease on                  termination of the Employee’s employment (other than for
the date that Dependent no longer qualifies as a Dependent.                  gross misconduct) or reduction of hours worked so as to
                                                                             render the Employee ineligible for coverage;
HC-TRM159                                                   01-19
                                                                            death of the Employee;
                                                                            divorce or legal separation of the Employee from his or her
                                                                             spouse;
Continuation of Coverage Under Cal-COBRA                                    with respect to Dependents only, the loss of coverage due to
                                                                             the Employee becoming entitled to Medicare;
Please examine your options carefully before declining this
coverage. You should be aware that companies selling                        a Dependent child ceasing to qualify as an eligible
individual health insurance typically require a review of                    Dependent under the plan.
your medical history that could result in a higher premium               Notification Requirements
or you could be denied coverage entirely.
                                                                         The Employer will notify Cigna (or an administrator acting on
Employer groups with 20 or more Employees                                Cigna's behalf) in writing, of termination or reduction of hours
You and your Dependents may elect to continue health                     with respect to any Employee who is employed by the
coverage after you have exhausted continuation coverage                  Employer, within 30 days of the date of the qualifying event.
under COBRA. Cal-COBRA is not applicable to Domestic                     You may be disqualified from receiving Cal-COBRA
Partners and their Dependents or to stepchildren. This                   continuation coverage if your Employer does not provide the
continuation coverage (Cal-COBRA) will be provided for up                required written notification to Cigna (or an administrator
to 36 months from the date your COBRA continuation                       acting on Cigna's behalf).
coverage began, if you are entitled to less than 36 months of            The Employer shall also notify Cigna (or an administrator
continuation coverage under COBRA.                                       acting on Cigna's behalf) in writing, within 30 days of the
Employer groups with less than 20 Employees                              date, when the Employer becomes subject to Section 4980B of
                                                                         the United States Internal Revenue Code or Chapter 18 of the
This Continuation applies to you and your Dependents if your
                                                                         Employee Retirement Income Security Act, 29 U.S.C. Sec.
Employer is subject to Cal-COBRA law. Domestic Partners
                                                                         1161 et seq., or when the Employer becomes subject to federal
and stepchildren will not be eligible for Cal-COBRA
                                                                         COBRA requirements.
independent from the Employee. Cal-COBRA law applies to
any small Employer that employed 2 to 19 eligible Employees              To be eligible for continuation coverage, for one of the
on at least 50 percent of its working days during the preceding          Qualifying Event(s) you or your Dependent must notify Cigna
calendar year, or, if the Employer was not in business during            (or an administrator acting on Cigna's behalf) in writing of
any part of the preceding calendar year, employed 2 to 19                such Qualifying Event within 60 days after the event occurs.
eligible Employees on at least 50 percent of its working days            If you or your Dependent do not notify Cigna (or an
during the preceding calendar quarter. This continuation                 administrator acting on Cigna's behalf) in writing within 60
coverage will be provided for up to 36 months from the date              days of the Qualifying Event(s), you will be disqualified from
of the Qualifying Event.                                                 receiving Cal-COBRA continuation coverage.
Notice Requirements                                                      Once notified of the Qualifying Event, Cigna (or an
Under the requirements of Cal-COBRA, an Employer must                    administrator acting on Cigna’s behalf) will send you or your
give notice to its Employees and Dependents the right to                 Dependent the necessary benefit information, premium
continue their group health care benefits. A person who would            information, enrollment form and notice requirements within
otherwise lose coverage as a result of a Qualifying Event is             14 days after receiving notification of the Qualifying Event
generally entitled to continue the same benefits that were in            from the Employer, you or your Dependent. The information
effect the day before the date of the qualifying event.                  shall be sent to the qualified beneficiary’s last known address.
Coverage may be continued under Cal-COBRA only if the                    Notice of the right to continue coverage to your spouse will be
required premiums are paid when due and will be subject to               deemed notice to any Dependent child residing with your
future plan changes.                                                     spouse.




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Formal Election                                                            the first day after the date of election on which the qualified
To continue group coverage under Cal-COBRA you must                         beneficiary first becomes covered under any other group
make a formal election by submitting a written request to                   health plan which does not contain any exclusions or
Cigna (or an administrator acting on Cigna’s behalf) at: Cigna,             limitations with respect to any pre-existing condition for
Attn: State Continuation Unit, P.O. Box 2010, Concord, NH                   such person; or the date such exclusion or limitation no
03302. For questions, call 1-800-315-6011.                                  longer applies to the Employee or Dependent;
The written request must be delivered by first-class mail,                 the first day after the date of election on which the qualified
certified mail or other reliable means of delivery within 60                beneficiary first becomes entitled to Medicare;
days of the later of the following dates:                                  the coverage for a qualified beneficiary that is determined to
   the date of the Qualifying Event;                                       be disabled under the Social Security Act will terminate as
                                                                            described below;
   the date the qualified beneficiary receives notice of the
    ability to continue group coverage as provided above; or               the qualified beneficiary moves out of the service area or
                                                                            the qualified beneficiary commits fraud or deception in the
   the date coverage under the Employer's health plan                      use of services.
    terminates or will terminate by reason of the Qualifying
    Event.                                                              Continuation of Coverage for Totally Disabled Individuals
If a formal election is not received by Cigna (or an                    A qualified beneficiary who is eligible for continuation
administrator acting on Cigna's behalf) within this time period,        coverage due to termination of the Employee's employment
you or your Dependent will not receive Cal-COBRA benefits.              (other than for gross misconduct) or reduction of hours
                                                                        worked so as to render the Employee ineligible for coverage
Cal-COBRA Premium Payments                                              and who is totally disabled under the Social Security Act
To complete the election process, you must make the first               during the first 60 days of continuation coverage is entitled to
required premium payment no more than 45 days after                     a maximum period of 36 months after the date the qualified
submitting your completed application to Cigna (or an                   beneficiary’s benefits under the contract would otherwise have
administrator acting on Cigna's behalf). All subsequent                 terminated because of a Qualifying Event. The Employee or
premiums will be due on a monthly basis. Your first premium             Dependent must provide Cigna (or an administrator acting on
payment should be delivered to Cigna (or an administrator               Cigna’s behalf) with a copy of the Social Security
acting on Cigna's behalf) at Cigna, Attn: State Continuation            Administration’s determination of total disability within 60
Unit, P.O. Box 2010, Concord, NH 03302 by first-class mail,             days of the date of the determination letter and prior to the end
certified mail, or other reliable means of delivery. The first          of the original 36 month continuation coverage period in order
premium payment must satisfy any required premiums and all              to be eligible for coverage pursuant to this paragraph. If the
premiums due. Failure to submit the correct premium amount              qualified beneficiary is no longer disabled under the Social
within the 45 day period will disqualify the qualified                  Security Act, the benefits provided in this paragraph shall
beneficiary from receiving Cal-COBRA coverage. There is a               terminate on the later of 36 months after the date the qualified
30 day grace period to pay subsequent premiums. If the                  beneficiary’s benefits under the policy would otherwise have
premium is not paid before the expiration of the grace period,          terminated because of a Qualifying Event, or the month that
Cal-COBRA continuation benefits will terminate at midnight              begins more than 31 days after the date of the final
at the end of the period for which premium payments were                determination under Social Security Act that the qualified
made.                                                                   beneficiary is no longer disabled. The qualified beneficiary
If elected, the maximum period of continuation coverage for a           eligible for 36 months of continuation coverage as a result of a
Qualifying Event is 36 months from the date the qualified               disability shall notify Cigna (or an administrator acting on
beneficiary’s benefits under the policy would have otherwise            Cigna’s behalf) within 30 days of a determination that the
terminated because of the Qualifying Event.                             qualified beneficiary is no longer disabled.
Other events will cause Cal-COBRA benefits to end sooner                Continuation of Coverage Upon Termination of Prior
and this will occur on the earliest of any of the following:            Group Health Plan
   the date the Employer ceases to provide any group health            The Employer shall notify qualified beneficiaries currently
    plan to any Employee;                                               receiving continuation coverage, whose continuation coverage
                                                                        will terminate under one group benefit plan prior to the end of
   the end of the period for which premium payments were
                                                                        the period the qualified beneficiary would have remained
    made, if the qualified beneficiary ceases to make payments
                                                                        covered as specified above, of the qualified beneficiary’s
    or fails to make timely payments of a required premium, in
                                                                        ability to continue coverage under a new group benefit plan
    accordance with the terms and conditions of the policy;
                                                                        for the balance of the period the qualified beneficiary would



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have remained covered under the prior group benefit plan.                 person seeking coverage on behalf of the individual) makes an
This notice shall be provided either 30 days prior to the                 intentional misrepresentation of material fact.
termination or when all enrolled Employees are notified,
whichever is later.
                                                                          HC-TRM80                                                      01-11
Cigna (or an administrator acting on Cigna's behalf) shall
provide to the Employer replacing a health plan contract
issued by Cigna, or to the Employer’s agent or broker
representative, within 15 days of any written request,                    Medical Benefits Extension
information in possession of Cigna reasonably required to                 Upon Policy Cancellation
administer the notification requirements of this Notification
section.                                                                  If the Medical Benefits under this plan cease for you or your
                                                                          Dependent due to cancellation of the policy, and you or your
The Employer shall notify the successor plan in writing of the            Dependent is Totally Disabled on that date due to an Injury or
qualified beneficiaries currently receiving continuation                  Sickness, Medical Benefits will be paid without requirement
coverage so that the successor plan, or contracting Employer              of premium for Covered Expenses incurred in connection with
or administrator, may provide those qualified beneficiaries               that Injury or Sickness. However, no benefits will be paid after
with the necessary premium information, enrollment forms,                 the earliest of:
and instructions consistent with the disclosure required by this
Notification section to allow the qualified beneficiary to                   the date you exceed the Maximum Benefit, if any, shown in
continue coverage. This information shall be sent to all                      the Schedule;
qualified beneficiaries who are enrolled in the plan and those               the date you are covered for medical benefits under another
qualified beneficiaries who have been notified as specified in                group policy;
this Cal-COBRA section of their ability to continue their                    the date you are no longer Totally Disabled;
coverage and may still elect coverage within the specified 60
                                                                             12 months from the date your Medical Benefits cease;
day period. This information shall be sent to the qualified
beneficiary’s last known address, as provided to the Employer                12 months from the date the policy is canceled.
by Cigna (or an administrator acting on Cigna's behalf),                  Totally Disabled
currently providing continuation coverage to the qualified
                                                                          You will be considered Totally Disabled if, because of an
beneficiary. The successor plan shall not be obligated to
                                                                          Injury or a Sickness:
provide this information to qualified beneficiaries if the
Employer or prior plan fails to comply with this section.                    you are unable to perform the basic duties of your
                                                                              occupation; and
If the plan provides for a conversion privilege, the plan must
offer this option within the 180 days of the end of the                      you are not performing any other work or engaging in any
maximum period. However, no conversion will be provided if                    other occupation for wage or profit.
the qualified beneficiary does not actually maintain Cal-                 Your Dependent will be considered Totally Disabled if,
COBRA coverage to the expiration date.                                    because of an Injury or a Sickness:
IMPORTANT NOTICE – CAL-COBRA BENEFITS WILL                                   he is unable to engage in the normal activities of a person of
ONLY BE ADMINISTERED ACCORDING TO THE                                         the same age, sex and ability; or
TERMS OF THE CONTRACT. CIGNA WILL NOT BE                                     in the case of a Dependent who normally works for wage or
OBLIGATED TO ADMINISTER, OR FURNISH, ANY                                      profit, he is not performing such work.
CAL-COBRA BENEFITS AFTER THE CONTRACT HAS
TERMINATED.                                                               The terms of this Medical Benefits Extension will not apply to
                                                                          a child born as a result of a pregnancy which exists when your
                                                                          or your Dependent's Medical Benefits cease.
HC-TRM118                                                    10-16


                                                                          HC-BEX7                                                       04-10
                                                                                                                                           V1
Rescissions
Your coverage may not be rescinded (retroactively terminated)
by Cigna or the plan sponsor unless the plan sponsor or an
individual (or a person seeking coverage on behalf of the
                                                                          Federal Requirements
individual) performs an act, practice or omission that                    The following pages explain your rights and responsibilities
constitutes fraud; or the plan sponsor or individual (or a                under federal laws and regulations. Some states may have


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similar requirements. If a similar provision appears elsewhere             Qualified Medical Child Support Order Defined
in this booklet, the provision which provides the better benefit           A Qualified Medical Child Support Order is a judgment,
will apply.                                                                decree or order (including approval of a settlement agreement)
                                                                           or administrative notice, which is issued pursuant to a state
HC-FED1                                                       10-10
                                                                           domestic relations law (including a community property law),
                                                                           or to an administrative process, which provides for child
                                                                           support or provides for health benefit coverage to such child
                                                                           and relates to benefits under the group health plan, and
Notice of Provider Directory/Networks                                      satisfies all of the following:
Notice Regarding Provider Directories and Provider                            the order recognizes or creates a child’s right to receive
Networks                                                                       group health benefits for which a participant or beneficiary
A list of network providers is available to you without charge                 is eligible;
by visiting the website or by calling the phone number on your                the order specifies your name and last known address, and
ID card. The network consists of providers, including                          the child’s name and last known address, except that the
hospitals, of varied specialties as well as general practice,                  name and address of an official of a state or political
affiliated or contracted with Cigna or an organization                         subdivision may be substituted for the child’s mailing
contracting on its behalf.                                                     address;
Notice Regarding Pharmacy Directories and Pharmacy                            the order provides a description of the coverage to be
Networks                                                                       provided, or the manner in which the type of coverage is to
A list of network pharmacies is available to you without                       be determined;
charge by visiting the website or by calling the phone number                 the order states the period to which it applies; and
on your ID card. The network consists of pharmacies affiliated
                                                                              if the order is a National Medical Support Notice completed
or contracted with Cigna or an organization contracting on its
                                                                               in accordance with the Child Support Performance and
behalf.
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.
HC-FED78                                                      10-10        The QMCSO may not require the health insurance policy to
                                                                           provide coverage for any type or form of benefit or option not
                                                                           otherwise provided under the policy, except that an order may
Qualified Medical Child Support Order                                      require a plan to comply with State laws regarding health care
(QMCSO)                                                                    coverage.
                                                                           Payment of Benefits
Eligibility for Coverage Under a QMCSO
                                                                           Any payment of benefits in reimbursement for Covered
If a Qualified Medical Child Support Order (QMCSO) is
                                                                           Expenses paid by the child, or the child’s custodial parent or
issued for your child, that child will be eligible for coverage as
                                                                           legal guardian, shall be made to the child, the child’s custodial
required by the order and you will not be considered a Late
                                                                           parent or legal guardian, or a state official whose name and
Entrant for Dependent Insurance.
                                                                           address have been substituted for the name and address of the
You must notify your Employer and elect coverage for that                  child.
child, and yourself if you are not already enrolled, within 31
days of the QMCSO being issued.
                                                                           HC-FED4                                                       10-10




                                                                           Special Enrollment Rights Under the Health
                                                                           Insurance Portability & Accountability Act
                                                                           (HIPAA)
                                                                           If you or your eligible Dependent(s) experience a special
                                                                           enrollment event as described below, you or your eligible
                                                                           Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
                                                                           the special enrollment events listed below. If you are already


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enrolled in the Plan, you may request enrollment for you and                  the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by                 similarly situated individuals.
the Employer for which you are currently eligible. If you are               Termination of Employer contributions (excluding
not already enrolled in the Plan, you must request special                   continuation coverage). If a current or former Employer
enrollment for yourself in addition to your eligible                         ceases all contributions toward the Employee’s or
Dependent(s). You and all of your eligible Dependent(s) must                 Dependent’s other coverage, special enrollment may be
be covered under the same option. The special enrollment                     requested in this Plan for you and all of your eligible
events include:                                                              Dependent(s).
   Acquiring a new Dependent. If you acquire a new                         Exhaustion of COBRA or other continuation coverage.
    Dependent(s) through marriage, birth, adoption or                        Special enrollment may be requested in this Plan for you
    placement for adoption, you may request special enrollment               and all of your eligible Dependent(s) upon exhaustion of
    for any of the following combinations of individuals if not              COBRA or other continuation coverage. If you or your
    already enrolled in the Plan: Employee only; spouse only;                Dependent(s) elect COBRA or other continuation coverage
    Employee and spouse; Dependent child(ren) only;                          following loss of coverage under another plan, the COBRA
    Employee and Dependent child(ren); Employee, spouse and                  or other continuation coverage must be exhausted before
    Dependent child(ren). Enrollment of Dependent children is                any special enrollment rights exist under this Plan. An
    limited to the newborn or adopted children or children who               individual is considered to have exhausted COBRA or other
    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
   Loss of eligibility for other coverage (excluding                        contributions toward COBRA or other continuation
    continuation coverage). If coverage was declined under                   coverage as provided under any severance or other
    this Plan due to coverage under another plan, and eligibility            agreement.
    for the other coverage is lost, you and all of your eligible            Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
     divorce or legal separation;                                           must request enrollment within 60 days after the date you
                                                                             are determined to be eligible for assistance.
     cessation of Dependent status (such as reaching the
      limiting age);                                                     Except as stated above, special enrollment must be
                                                                         requested within 30 days after the occurrence of the
     death of the Employee;
                                                                         special enrollment event. If the special enrollment event is
     termination of employment;                                         the birth or adoption of a Dependent child, coverage will
     reduction in work hours to below the minimum required              be effective immediately on the date of birth, adoption or
      for eligibility;                                                   placement for adoption. Coverage with regard to any other
                                                                         special enrollment event will be effective no later than the
     you or your Dependent(s) no longer reside, live or work
                                                                         first day of the first calendar month following receipt of
      in the other plan’s network service area and no other
                                                                         the request for special enrollment.
      coverage is available under the other plan;
     you or your Dependent(s) incur a claim which meets or
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or



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Domestic Partners and their children (if not legal children of                D. Medicare or Medicaid eligibility/entitlement
the Employee) are not eligible for special enrollment.                        The Employee, spouse or Dependent cancels or reduces
                                                                              coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                         04-17
                                                                              enrolls or increases coverage due to loss of Medicare or
                                                                              Medicaid eligibility.
                                                                              E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                                 If the cost of benefits increases or decreases during a benefit
Plan                                                                          period, your Employer may, in accordance with plan terms,
                                                                              automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                       When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax                  increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                        a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                     you have elected, you may elect another available benefit
(salary).                                                                     option. When a new benefit option is added, you may change
                                                                              your election to the new benefit option.
A. Coverage elections
                                                                              F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                     another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                      You may make a coverage election change if the plan of your
                                                                              spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                     deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                           Special Enrollment, Change in Status, Court Order or
   if your Employer agrees, and you meet the criteria shown in               Medicare or Medicaid Eligibility/Entitlement; or this Plan and
    the following Sections B through H and enroll for or change               the other plan have different periods of coverage or open
    coverage within the time period established by your                       enrollment periods.
    Employer.                                                                 G. Reduction in work hours
B. Change of status                                                           If an Employee’s work hours are reduced below 30
A change in status is defined as:                                             hours/week (even if it does not result in the Employee losing
   change in legal marital status due to marriage, death of a                eligibility for the Employer’s coverage); and the Employee
    spouse, divorce, annulment or legal separation;                           (and family) intend to enroll in another plan that provides
                                                                              Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,                    be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                          following the month that includes the date the original
   change in employment status of Employee, spouse or                        coverage is revoked.
    Dependent due to termination or start of employment,                      H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,
    including under the Family and Medical Leave Act                          Employee: The Employee must be eligible for a Special
    (FMLA), or change in worksite;                                            Enrollment Period to enroll in a QHP through an Exchange
                                                                              (Marketplace) or the Employee seeks to enroll in a QHP
   changes in employment status of Employee, spouse or                       through an Exchange during the Marketplace’s annual open
    Dependent resulting in eligibility or ineligibility for                   enrollment period; and the disenrollment from the group plan
    coverage;                                                                 corresponds to the intended enrollment of the Employee (and
   change in residence of Employee, spouse or Dependent to a                 family) in a QHP through an Exchange for new coverage
    location outside of the Employer’s network service area;                  effective beginning no later than the day immediately
    and                                                                       following the last day of the original coverage.
   changes which cause a Dependent to become eligible or                     Family: A plan may allow an Employee to revoke family
    ineligible for coverage.                                                  coverage midyear in order for family members (“related
C. Court order                                                                individuals”) to enroll in a QHP through an Exchange
                                                                              (Marketplace). The related individual(s) must be eligible for a
A change in coverage due to and consistent with a court order
                                                                              Special Enrollment Period to enroll in a QHP or seek to enroll
of the Employee or other person to cover a Dependent.
                                                                              in a QHP during the Marketplace’s annual open enrollment
                                                                              period, and the disenrollment from the group plan corresponds


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to the intended enrollment of the individual(s) in a QHP for               Women’s Health and Cancer Rights Act
new coverage effective beginning no later than the day                     (WHCRA)
immediately following the last day of the original coverage. If
the Employee does not enroll in a QHP, the Employee must                   Do you know that your plan, as required by the Women’s
select self-only coverage or family coverage including one or              Health and Cancer Rights Act of 1998, provides benefits for
more already-covered individuals.                                          mastectomy-related services including all stages of
                                                                           reconstruction and surgery to achieve symmetry between the
                                                                           breasts, prostheses, and complications resulting from a
HC-FED111                                                     01-23        mastectomy, including lymphedema? Call Member Services at
                                                                           the toll free number listed on your ID card for more
                                                                           information.
Eligibility for Coverage for Adopted Children
Any child who is adopted by you, including a child who is                  HC-FED12                                                       10-10

placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for               Group Plan Coverage Instead of Medicaid
adoption when you become legally obligated to support that
child, totally or partially, prior to that child’s adoption.               If your income and liquid resources do not exceed certain
                                                                           limits established by law, the state may decide to pay
If a child placed for adoption is not adopted, all health                  premiums for this coverage instead of for Medicaid, if it is
coverage ceases when the placement ends, and will not be                   cost effective. This includes premiums for continuation
continued.                                                                 coverage required by federal law.
The provisions in the “Exception for Newborns” section of
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child            HC-FED13                                                       10-10

or a child placed with you for adoption.


HC-FED67                                                      09-14
                                                                           Requirements of Family and Medical Leave Act
                                                                           of 1993 (as amended) (FMLA)
                                                                           Any provisions of the policy that provide for: continuation of
Coverage for Maternity Hospital Stay                                       insurance during a leave of absence; and reinstatement of
                                                                           insurance following a return to Active Service; are modified
Group health plans and health insurance issuers offering group             by the following provisions of the federal Family and Medical
health insurance coverage generally may not, under a federal               Leave Act of 1993, as amended, where applicable:
law known as the “Newborns’ and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in                 Continuation of Health Insurance During Leave
connection with childbirth for the mother or newborn child to              Your health insurance will be continued during a leave of
less than 48 hours following a vaginal delivery, or less than 96           absence if:
hours following a cesarean section; or require that a provider                that leave qualifies as a leave of absence under the Family
obtain authorization from the plan or insurance issuer for                     and Medical Leave Act of 1993, as amended; and
prescribing a length of stay not in excess of the above periods.
                                                                              you are an eligible Employee under the terms of that Act.
The law generally does not prohibit an attending provider of
the mother or newborn, in consultation with the mother, from               The cost of your health insurance during such leave must be
discharging the mother or newborn earlier than 48 or 96 hours,             paid, whether entirely by your Employer or in part by you and
as applicable.                                                             your Employer.
Please review this Plan for further details on the specific                Reinstatement of Canceled Insurance Following Leave
coverage available to you and your Dependents.                             Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
                                                                           Act of 1993, as amended, any canceled insurance (health, life
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                                                                           or disability) will be reinstated as of the date of your return.




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You will not be required to satisfy any eligibility or benefit            If your coverage under this plan terminates as a result of your
waiting period to the extent that they had been satisfied prior           eligibility for military medical and dental coverage and your
to the start of such leave of absence.                                    order to active duty is canceled before your active duty service
Your Employer will give you detailed information about the                commences, these reinstatement rights will continue to apply.
Family and Medical Leave Act of 1993, as amended.
                                                                          HC-FED18                                                     10-10

HC-FED93                                                     10-17



                                                                          Claim Determination Procedures under ERISA
Uniformed Services Employment and Re-                                     The following complies with federal law. Provisions of
Employment Rights Act of 1994 (USERRA)                                    applicable laws of your state may supersede.
The Uniformed Services Employment and Re-employment                       Procedures Regarding Medical Necessity Determinations
Rights Act of 1994 (USERRA) sets requirements for                         In general, health services and benefits must be Medically
continuation of health coverage and re-employment in regard               Necessary to be covered under the plan. The procedures for
to an Employee’s military leave of absence. These                         determining Medical Necessity vary, according to the type of
requirements apply to medical and dental coverage for you                 service or benefit requested, and the type of health plan.
and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The Certificate describes who is responsible for
For leaves of less than 31 days, coverage will continue as                obtaining this review. You or your authorized representative
described in the Termination section regarding Leave of                   (typically, your health care professional) must request prior
Absence.                                                                  authorization according to the procedures described below, in
                                                                          the Certificate, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for
                                                                          documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to
                                                                          you or your representative will receive a written description of
your Employer, until the earliest of the following:
                                                                          the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the Certificate, in your
    Employer;                                                             provider’s network participation documents as applicable, and
   the day after you fail to return to work; and                         in the determination notices.
   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to
                                                                          service is a Covered Expense, is authorized for coverage by
102% of the total premium.
                                                                          the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.
                                                                          When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
                                                                          include the date a determination can be expected, which will


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be no more than 30 days after receipt of the request. If more           representative of the determination within 30 days after
time is needed because necessary information is missing from            receiving the request. However, if more time is needed to
the request, the notice will also specify what information is           make a determination due to matters beyond Cigna’s control,
needed, and you or your representative must provide the                 Cigna will notify you or your representative within 30 days
specified information to Cigna within 45 days after receiving           after receiving the request. This notice will include the date a
the notice. The determination period will be suspended on the           determination can be expected, which will be no more than 45
date Cigna sends such a notice of missing information, and the          days after receipt of the request.
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
If the determination periods above would seriously jeopardize           information is needed, and you or your representative must
your life or health, your ability to regain maximum function,           provide the specified information to Cigna within 45 days
or in the opinion of a health care professional with knowledge          after receiving the notice. The determination period will be
of your health condition, cause you severe pain which cannot            suspended on the date Cigna sends such a notice of missing
be managed without the requested services, Cigna will make              information, and the determination period will resume on the
the preservice determination on an expedited basis. Cigna will          date you or your representative responds to the notice.
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is
necessary. Cigna will notify you or your representative of an           Every notice of an adverse benefit determination will be
expedited determination within 72 hours after receiving the             provided in writing or electronically, and will include all of
request.                                                                the following that pertain to the determination: information
                                                                        sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
If you or your representative attempts to request a preservice          statement of a claimant’s rights to bring a civil action under
determination, but fails to follow Cigna’s procedures for               section 502(a) of ERISA following an adverse benefit
requesting a required preservice determination, Cigna will              determination on appeal, (if applicable); upon request and free
notify you or your representative of the failure and describe           of charge, a copy of any internal rule, guideline, protocol or
the proper procedures for filing within 5 days (or 24 hours, if         other similar criterion that was relied upon in making the
an expedited determination is required, as described above)             adverse determination regarding your claim; and an
after receiving the request. This notice may be provided orally,        explanation of the scientific or clinical judgment for a
unless you or your representative requests written notification.        determination that is based on a Medical Necessity,
Concurrent Determinations                                               experimental treatment or other similar exclusion or limit; a
                                                                        description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination
within 24 hours after receiving the request.                            HC-FED104                                                    01-19

Postservice Determinations
When you or your representative requests a coverage
determination or a claim payment determination after services
have been rendered, Cigna will notify you or your



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COBRA Continuation Rights Under Federal                               “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                   Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                           Secondary Qualifying Events
What is COBRA Continuation Coverage?                                  If, as a result of your termination of employment or reduction
                                                                      in work hours, your Dependent(s) have elected COBRA
Under federal law, you and/or your Dependents must be given           continuation coverage and one or more Dependents experience
the opportunity to continue health insurance when there is a          another COBRA qualifying event, the affected Dependent(s)
“qualifying event” that would result in loss of coverage under        may elect to extend their COBRA continuation coverage for
the Plan. You and/or your Dependents will be permitted to             an additional 18 months (7 months if the secondary event
continue the same coverage under which you or your                    occurs within the disability extension period) for a maximum
Dependents were covered on the day before the qualifying              of 36 months from the initial qualifying event. The second
event occurred, unless you move out of that plan’s coverage           qualifying event must occur before the end of the initial 18
area or the plan is no longer available. You and/or your              months of COBRA continuation coverage or within the
Dependents cannot change coverage options until the next              disability extension period discussed below. Under no
open enrollment period.                                               circumstances will COBRA continuation coverage be
When is COBRA Continuation Available?                                 available for more than 36 months from the initial qualifying
For you and your Dependents, COBRA continuation is                    event. Secondary qualifying events are: your death; your
available for up to 18 months from the date of the following          divorce or legal separation; or, for a Dependent child, failure
qualifying events if the event would result in a loss of              to continue to qualify as a Dependent under the Plan.
coverage under the Plan:                                              Disability Extension
   your termination of employment for any reason, other than         If, after electing COBRA continuation coverage due to your
    gross misconduct; or                                              termination of employment or reduction in work hours, you or
   your reduction in work hours.                                     one of your Dependents is determined by the Social Security
                                                                      Administration (SSA) to be totally disabled under Title II or
For your Dependents, COBRA continuation coverage is                   XVI of the SSA, you and all of your Dependents who have
available for up to 36 months from the date of the following          elected COBRA continuation coverage may extend such
qualifying events if the event would result in a loss of              continuation for an additional 11 months, for a maximum of
coverage under the Plan:                                              29 months from the initial qualifying event.
   your death;                                                       To qualify for the disability extension, all of the following
   your divorce or legal separation; or                              requirements must be satisfied:
   for a Dependent child, failure to continue to qualify as a           SSA must determine that the disability occurred prior to or
    Dependent under the Plan.                                             within 60 days after the disabled individual elected COBRA
Who is Entitled to COBRA Continuation?                                    continuation coverage; and
Only a “qualified beneficiary” (as defined by federal law) may           A copy of the written SSA determination must be provided
elect to continue health insurance coverage. A qualified                  to the Plan Administrator within 60 calendar days after the
beneficiary may include the following individuals who were                date the SSA determination is made AND before the end of
covered by the Plan on the day the qualifying event occurred:             the initial 18-month continuation period.
you, your spouse, and your Dependent children. Each                   If the SSA later determines that the individual is no longer
qualified beneficiary has their own right to elect or decline         disabled, you must notify the Plan Administrator within 30
COBRA continuation coverage even if you decline or are not            days after the date the final determination is made by SSA.
eligible for COBRA continuation.                                      The 11-month disability extension will terminate for all
The following individuals are not qualified beneficiaries for         covered persons on the first day of the month that is more than
purposes of COBRA continuation: domestic partners,                    30 days after the date the SSA makes a final determination
grandchildren (unless adopted by you), stepchildren (unless           that the disabled individual is no longer disabled.
adopted by you). Although these individuals do not have an            All causes for “Termination of COBRA Continuation” listed
independent right to elect COBRA continuation coverage, if            below will also apply to the period of disability extension.
you elect COBRA continuation coverage for yourself, you               Medicare Extension for Your Dependents
may also cover your Dependents even if they are not
considered qualified beneficiaries under COBRA. However,              When the qualifying event is your termination of employment
such individuals’ coverage will terminate when your COBRA             or reduction in work hours and you became enrolled in
continuation coverage terminates. The sections titled                 Medicare (Part A, Part B or both) within the 18 months before


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the qualifying event, COBRA continuation coverage for your                  A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                  provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                         following timeframes:
coverage will last for up to 18 months from the date of your                  if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.                          and the period within which an Employer must notify the
Termination of COBRA Continuation                                              Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                        loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                            Plan;
   the end of the COBRA continuation period of 18, 29 or 36                  if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                     and the period within which an Employer must notify the
                                                                               Plan Administrator of a qualifying event starts upon the
   failure to pay the required premium within 30 calendar days                occurrence of a qualifying event, 44 days after the
    after the due date;                                                        qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;                         in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                    after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                 provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                    Administrator.
    beneficiary becomes covered under another group health               How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for           The COBRA coverage election notice will list the individuals
    which the new plan limits or excludes coverage under a pre-          who are eligible for COBRA continuation coverage and
    existing condition provision. In such case coverage will             inform you of the applicable premium. The notice will also
    continue until the earliest of: the end of the applicable            include instructions for electing COBRA continuation
    maximum period; the date the pre-existing condition                  coverage. You must notify the Plan Administrator of your
    provision is no longer applicable; or the occurrence of an           election no later than the due date stated on the COBRA
    event described in one of the first three bullets above;             election notice. If a written election notice is required, it must
   any reason the Plan would terminate coverage of a                    be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation         COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                              notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                  Dependents will lose the right to elect COBRA continuation
a Service Area                                                           coverage. If you reject COBRA continuation coverage before
                                                                         the due date, you may change your mind as long as you
If you and/or your Dependents move out of the Employer’s
                                                                         furnish a completed election form before the due date.
service area or the Employer eliminates a service area in your
location, your COBRA continuation coverage under the plan                Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network              COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service              be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through              qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your              on behalf of their Dependent children. You or your spouse
location, you may elect COBRA continuation coverage under                may elect continuation coverage on behalf of all the qualified
that option.                                                             beneficiaries. You are not required to elect COBRA
                                                                         continuation coverage in order for your Dependents to elect
Employer’s Notification Requirements                                     COBRA continuation.
Your Employer is required to provide you and/or your
                                                                         How Much Does COBRA Continuation Coverage Cost?
Dependents with the following notices:
                                                                         Each qualified beneficiary may be required to pay the entire
   An initial notification of COBRA continuation rights must
                                                                         cost of continuation coverage. The amount may not exceed
    be provided within 90 days after your (or your spouse’s)
                                                                         102% of the cost to the group health plan (including both
    coverage under the Plan begins (or the Plan first becomes            Employer and Employee contributions) for coverage of a
    subject to COBRA continuation requirements, if later). If            similarly situated active Employee or family member. The
    you and/or your Dependents experience a qualifying event
                                                                         premium during the 11-month disability extension may not
    before the end of that 90-day period, the initial notice must
                                                                         exceed 150% of the cost to the group health plan (including
    be provided within the time frame required for the COBRA
                                                                         both employer and employee contributions) for coverage of a
    continuation coverage election notice as explained below.
                                                                         similarly situated active Employee or family member.


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For example: If the Employee alone elects COBRA                        You Must Give Notice of Certain Qualifying Events
continuation coverage, the Employee will be charged 102%               If you or your Dependent(s) experience one of the following
(or 150%) of the active Employee premium. If the spouse or             qualifying events, you must notify the Plan Administrator
one Dependent child alone elects COBRA continuation                    within 60 calendar days after the later of the date the
coverage, they will be charged 102% (or 150%) of the active            qualifying event occurs or the date coverage would cease as a
Employee premium. If more than one qualified beneficiary               result of the qualifying event:
elects COBRA continuation coverage, they will be charged
102% (or 150%) of the applicable family premium.                          Your divorce or legal separation; or
When and How to Pay COBRA Premiums                                        Your child ceases to qualify as a Dependent under the Plan.
First payment for COBRA continuation                                      The occurrence of a secondary qualifying event as discussed
                                                                           under “Secondary Qualifying Events” above (this notice
If you elect COBRA continuation coverage, you do not have                  must be received prior to the end of the initial 18- or 29-
to send any payment with the election form. However, you                   month COBRA period).
must make your first payment no later than 45 calendar days
after the date of your election. (This is the date the Election        (Also refer to the section titled “Disability Extension” for
Notice is postmarked, if mailed.) If you do not make your first        additional notice requirements.)
payment within that 45 days, you will lose all COBRA                   Notice must be made in writing and must include: the name of
continuation rights under the Plan.                                    the Plan, name and address of the Employee covered under the
Subsequent payments                                                    Plan, name and address(es) of the qualified beneficiaries
                                                                       affected by the qualifying event; the qualifying event; the date
After you make your first payment for COBRA continuation               the qualifying event occurred; and supporting documentation
coverage, you will be required to make subsequent payments             (e.g., divorce decree, birth certificate, disability determination,
of the required premium for each additional month of                   etc.).
coverage. Payment is due on the first day of each month. If
you make a payment on or before its due date, your coverage            Newly Acquired Dependents
under the Plan will continue for that coverage period without          If you acquire a new Dependent through marriage, birth,
any break.                                                             adoption or placement for adoption while your coverage is
Grace periods for subsequent payments                                  being continued, you may cover such Dependent under your
                                                                       COBRA continuation coverage. However, only your newborn
Although subsequent payments are due by the first day of the           or adopted Dependent child is a qualified beneficiary and may
month, you will be given a grace period of 30 days after the           continue COBRA continuation coverage for the remainder of
first day of the coverage period to make each monthly                  the coverage period following your early termination of
payment. Your COBRA continuation coverage will be                      COBRA coverage or due to a secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA coverage for your Dependent spouse and any
coverage period is made before the end of the grace period for         Dependent children who are not your children (e.g.,
that payment. However, if your payment is received after the           stepchildren or grandchildren) will cease on the date your
due date, your coverage under the Plan may be suspended                COBRA coverage ceases and they are not eligible for a
during this time. Any providers who contact the Plan to                secondary qualifying event.
confirm coverage during this time may be informed that
coverage has been suspended. If payment is received before             COBRA Continuation for Retirees Following Employer’s
the end of the grace period, your coverage will be reinstated          Bankruptcy
back to the beginning of the coverage period. This means that          If you are covered as a retiree, and a proceeding in bankruptcy
any claim you submit for benefits while your coverage is               is filed with respect to the Employer under Title 11 of the
suspended may be denied and may have to be resubmitted                 United States Code, you may be entitled to COBRA
once your coverage is reinstated. If you fail to make a                continuation coverage. If the bankruptcy results in a loss of
payment before the end of the grace period for that coverage           coverage for you, your Dependents or your surviving spouse
period, you will lose all rights to COBRA continuation                 within one year before or after such proceeding, you and your
coverage under the Plan.                                               covered Dependents will become COBRA qualified
                                                                       beneficiaries with respect to the bankruptcy. You will be
                                                                       entitled to COBRA continuation coverage until your death.
                                                                       Your surviving spouse and covered Dependent children will
                                                                       be entitled to COBRA continuation coverage for up to 36
                                                                       months following your death. However, COBRA continuation




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coverage will cease upon the occurrence of any of the events              sponsor. A copy is available for examination from the Plan
listed under “Termination of COBRA Continuation” above.                   Administrator upon written request.
Interaction With Other Continuation Benefits                              Discretionary Authority
You may be eligible for other continuation benefits under state           The Plan Administrator delegates to Cigna the discretionary
law. Refer to the Termination section for any other                       authority to interpret and apply plan terms and to make factual
continuation benefits.                                                    determinations in connection with its review of claims under
                                                                          the plan. Such discretionary authority is intended to include,
                                                                          but not limited to, the determination of the eligibility of
HC-FED66                                                     07-14
                                                                          persons desiring to enroll in or claim benefits under the plan,
                                                                          the determination of whether a person is entitled to benefits
                                                                          under the plan, and the computation of any and all benefit
ERISA Required Information                                                payments. The Plan Administrator also delegates to Cigna the
The name of the Plan is:                                                  discretionary authority to perform a full and fair review, as
                                                                          required by ERISA, of each claim denial which has been
  Michael Sullivan & Associates LLP                                       appealed by the claimant or his duly authorized representative.
The name, address, ZIP code and business telephone number                 Plan Modification, Amendment and Termination
of the sponsor of the Plan is:
                                                                          The Employer as Plan Sponsor reserves the right to, at any
  Michael Sullivan & Associates LLP                                       time, change or terminate benefits under the Plan, to change or
  400 Continental Blvd., Ste. 250                                         terminate the eligibility of classes of employees to be covered
  El Segundo, CA 90245                                                    by the Plan, to amend or eliminate any other plan term or
  310-337-4480                                                            condition, and to terminate the whole plan or any part of it.
Employer Identification             Plan Number:                          Contact the Employer for the procedure by which benefits
Number (EIN):                                                             may be changed or terminated, by which the eligibility of
460904871                           501                                   classes of employees may be changed or terminated, or by
                                                                          which part or all of the Plan may be terminated. No consent of
The name, address, ZIP code and business telephone number                 any participant is required to terminate, modify, amend or
of the Plan Administrator is:                                             change the Plan.
  Employer named above                                                    Termination of the Plan together with termination of the
The name, address and ZIP code of the person designated as                insurance policy(s) which funds the Plan benefits will have no
agent for service of legal process is:                                    adverse effect on any benefits to be paid under the policy(s)
  Employer named above                                                    for any covered medical expenses incurred prior to the date
                                                                          that policy(s) terminates. Likewise, any extension of benefits
The office designated to consider the appeal of denied claims             under the policy(s) due to you or your Dependent's total
is:                                                                       disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                        date the policy(s) terminates will not be affected by the Plan
The cost of the Plan is shared by Employee and Employer.                  termination. Rights to purchase limited amounts of life and
                                                                          medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 07/30.
                                                                          the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and            policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                                extension of benefits and rights under the policy(s).
Plan Trustees                                                             Your coverage under the Plan’s insurance policy(s) will end
A list of any Trustees of the Plan, which includes name, title            on the earliest of the following dates:
and address, is available upon request to the Plan                           the date you leave Active Service (or later as explained in
Administrator.                                                                the Termination Section;)
Plan Type                                                                    the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                       if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                             the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether               See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective                 benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a



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under this policy(s). No extension of benefits or rights will be        and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                           federal court. In such a case, the court may require the plan
Statement of Rights                                                     administrator to provide the materials and pay you up to $110
                                                                        a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights         not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income                    administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan              or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                      federal court.
Receive Information About Your Plan and Benefits                        In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office           thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union         order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance          federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy             the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the           asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the           Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security              The court will decide who should pay court costs and legal
  Administration.                                                       fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,             have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                   may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,           finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)           Assistance with Your Questions
    and updated summary plan description. The administrator             If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.                        the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The        statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person        assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.        you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                     Security Administration, U.S. Department of Labor listed in
                                                                        your telephone directory or the Division of Technical
 continue health care coverage for yourself, your spouse or
                                                                        Assistance and Inquiries, Employee Benefits Security
  Dependents if there is a loss of coverage under the Plan as a         Administration, U.S. Department of Labor, 200 Constitution
  result of a qualifying event. You or your Dependents may
                                                                        Avenue N.W., Washington, D.C. 20210. You may also obtain
  have to pay for such coverage. Review the documents
                                                                        certain publications about your rights and responsibilities
  governing the Plan on the rules governing your federal
                                                                        under ERISA by calling the publications hotline of the
  continuation coverage rights.
                                                                        Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA             HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants        Notice of an Appeal or a Grievance
and beneficiaries. No one, including your employer, your                The appeal or grievance provision in this certificate may be
union, or any other person may fire you or otherwise                    superseded by the law of your state. Please see your
discriminate against you in any way to prevent you from                 explanation of benefits for the applicable appeal or grievance
obtaining a welfare benefit or exercising your rights under             procedure.
ERISA. If your claim for a welfare benefit is denied or
ignored you have a right to know why this was done, to obtain
copies of documents relating to the decision without charge,            HC-SPP4                                                     04-10
and to appeal any denial, all within certain time schedules.                                                                             V1

Enforce Your Rights
Under ERISA, there are steps you can take to enforce the
above rights. For instance, if you request a copy of documents
governing the plan or the latest annual report from the plan


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Appointment of Authorized Representative                                   or a rescission of coverage, you can call our toll-free number
                                                                           and explain your concern to one of our Customer Service
You may appoint an authorized representative to assist you in
                                                                           representatives. Please call us at the Customer Service toll-free
submitting a claim or appealing a claim denial. However,
                                                                           number that appears on your Benefit Identification card,
Cigna may require you to designate your authorized
                                                                           explanation of benefits or claim form.
representative in writing using a form approved by Cigna. At
all times, the appointment of an authorized representative is              We will do our best to resolve the matter on your initial
revocable by you. To ensure that a prior appointment remains               contact. If we need more time to review or investigate your
valid, Cigna may require you to re-appoint your authorized                 concern, we will get back to you as soon as possible, but in
representative, from time to time.                                         any case within 30 days.
Cigna reserves the right to refuse to honor the appointment of             If you are not satisfied with the results of a coverage decision,
a representative if Cigna reasonably determines that:                      you can start the appeals procedure.
   the signature on an authorized representative form may not             Internal Appeal Procedure
    be yours, or                                                           Cigna has a one-step appeal procedure for appeals decisions.
   the authorized representative may not have disclosed to you            To initiate an appeal for most claims, you must submit a
    all of the relevant facts and circumstances relating to the            request for an appeal within 365 days of receipt of a denial
    overpayment or underpayment of any claim, including, for               notice. If you appeal a reduction or termination in coverage for
    example, that the billing practices of the provider of medical         an ongoing course of treatment that Cigna previously
    services may have jeopardized your coverage through the                approved, you will receive, as required by applicable law,
    waiver of the cost-sharing amounts that you are required to            continued coverage pending the outcome of an appeal.
    pay under your plan.                                                   Appeals may be submitted to the following address:
If your designation of an authorized representative is revoked,              Cigna
or Cigna does not honor your designation, you may appoint a                  National Appeals Organization (NAO)
new authorized representative at any time, in writing, using a               PO Box 188011
form approved by Cigna.                                                      Chattanooga, TN 37422
If for any reason, you are not capable of appointing a new                 You should state the reason why you feel your appeal should
authorized representative, a duly authorized representative                be approved and include any information supporting your
may do so on your behalf. If Cigna does not honor your                     appeal. If you are unable or choose not to write, you may ask
designation of an authorized representative, you may request               to register your appeal by telephone. Call us at the toll-free
reconsideration of Cigna's determination by, as applicable,                number on your Benefit Identification card, explanation of
confirming that the signature on the authorization is yours, or            benefits or claim form.
that the authorized representative fully disclosed to you all              Your appeal will be reviewed and the decision made by
relevant facts regarding its billing practices.                            someone not involved in the initial decision. Appeals
                                                                           involving Medical Necessity or clinical appropriateness will
                                                                           be considered by a health care professional.
HC-AAR2                                                       01-17
                                                                           We will respond in writing with a decision within 30 calendar
                                                                           days after we receive an appeal for a required pre-service or
                                                                           concurrent care coverage determination (decision). We will
When You Have A Complaint Or An                                            respond within 30 calendar days after we receive an appeal for
Adverse Determination Appeal                                               a post-service coverage determination. If more time or
                                                                           information is needed to make the determination, we will
For the purposes of this section, any reference to "you",                  notify you in writing to request an extension of up to 30
"your” or "Member" also refers to a representative or provider             calendar days and to specify any additional information
designated by you to act on your behalf, unless otherwise                  needed to complete the review. Please note that the California
noted.                                                                     Department of Insurance (CDI) does not require you to
We want you to be completely satisfied with the care and                   participate in Cigna's appeals review for more than 30 days
service you receive. That is why we have established a process             although you may choose to do so. At the completion of this
for addressing your concerns and solving your problems.                    30-day-review period, when the disputed decision is upheld or
Start with Customer Service                                                your case remains unresolved, you may apply to the CDI for a
                                                                           review of your case.
We are here to listen and help. If you have a concern regarding
a person, a service, the quality of care, or contractual benefits,         In the event any new or additional information (evidence) is
                                                                           considered, relied upon or generated by Cigna in connection


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with the appeal, Cigna will provide this information to you as           Administrative, eligibility or benefit coverage limits or
soon as possible and sufficiently in advance of the decision, so         exclusions are not eligible for an independent medical appeal
that you will have an opportunity to respond. Also, if any new           under this process. You remain entitled to send such issues to
or additional rationale is considered by Cigna, Cigna will               the CDI for a Department review.
provide the rationale to you as soon as possible and                     Independent Review Process for Experimental and
sufficiently in advance of the decision so that you will have an         Investigational Therapies
opportunity to respond.
                                                                         Special provisions apply to the IMR process for coverage
You may request that the appeal process be expedited if, your            decisions related to experimental or investigational therapies.
treating Physician certifies in writing that an imminent and             If Cigna denies your appeal because the requested service or
serious threat to your health may exist, including, but not              treatment is experimental or investigational, Cigna will send
limited to, serious pain, the potential loss of life, limb, or           you a letter within 5 business days of making the denial
major bodily function, or the immediate and serious                      decision. The letter will include:
deterioration of your health.
                                                                            a notice explaining your right to an IMR;
If you request that your appeal be expedited, you may also ask
for an expedited external Independent Review at the same                    an IMR application;
time, if the time to complete an expedited internal appeal                  a Physician Certification Form for your Physician to
would be detrimental to your medical condition.                              complete which certifies that you have a life-threatening or
When an appeal is expedited, we will respond orally with a                   seriously debilitating condition; your Physician’s
decision within 72 hours, followed up in writing. The CDI                    certification must also indicate that standard therapies have
allows you to apply for an Independent Medical Review after                  not been effective in treating your condition or the requested
this expedited decision if you are unsatisfied with our                      therapy is likely to be more beneficial than any standard
determination.                                                               therapy as documented in two separate sources of medical
                                                                             or scientific evidence;
Independent Medical Review Procedures
                                                                            an envelope for you to return the completed forms to us.
When the disputed decision is upheld or your case remains
unresolved after 30 days and when your case meets the criteria           A “life-threatening” condition means either or both of the
outlined below, you are eligible to apply to the CDI for an              following:
Independent Medical Review (IMR). The CDI has final                         diseases or conditions where the likelihood of death is high
authority to accept or deny cases for the IMR process. If your               unless the course of the disease is interrupted.
case is not accepted for IMR, the CDI will treat your                       diseases or conditions with potentially fatal outcomes,
application as a request for the CDI itself to review your issues            where the end point of clinical intervention is survival.
and concerns. Prior to application for an IMR, you are free to
                                                                            a “seriously debilitating” condition means diseases or
seek other avenues of appeal with Cigna. If you choose to do
                                                                             conditions that cause major irreversible morbidity.
so, you will not forfeit your eligibility to apply for the IMR.
                                                                         “Medical and scientific evidence” means any of the following:
The Independent Medical Review Organization is composed
of persons who are not employed by Cigna or any of its                      peer-reviewed scientific studies published in or accepted for
affiliates. A decision to use the voluntary level of appeal will             publication by medical journals that meet nationally
not affect the claimant's rights to any other benefits under the             recognized requirements for scientific manuscripts and that
policy.                                                                      submit most of their published articles for review by experts
                                                                             who are not part of the editorial staff.
There is no charge for you to apply for or participate in this
IMR process. Cigna will abide by the decision of the                        peer-reviewed literature, biomedical compendia and other
Independent Medical Review Organization.                                     medical literature that meet the criteria of the National
In order to qualify for an IMR, certain conditions must be met:              Institutes of Health's National Library of Medicine for
                                                                             indexing in Index Medicus, Excerpta Medicus (EMBASE),
your Physician has recommended a health care service as
                                                                             Medline and MEDLARS database Health Services
Medically Necessary and Cigna has disagreed with this
                                                                             Technology Assessment Research (HSTAR).
determination, or you have received urgent care or emergency
services that a Physician has deemed Medically Necessary and                medical journals recognized by the Secretary of Health and
Cigna has disagreed with this determination, or you have been                Human Services, under section 1861(t)(2) of the Social
seen by a Physician for the diagnosis or treatment of the                    Security Act.
medical condition for which you are seeking an Independent                  either of the following standard reference compendia: The
Medical Review and Cigna has determined these services as                    American Hospital Formulary Service-Drug Information,
not Medically Necessary or clinically appropriate.                           the American Dental Association Accepted Dental


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    Therapeutics and The United States Pharmacopoeia-Drug                You have the right to contact the California Department of
    Information.                                                         Insurance for assistance at any time. The Commissioner may
   any of the following reference compendia if recognized by            be contacted at the following address and fax number:
    the Federal Center for Medicare and Medicaid Services as               California Department of Insurance
    part of an anticancer chemotherapeutic regimen: The                    Claims Service Bureau, Attn: IMR
    Elsevier Gold Standard's Clinical Pharmacology, The                    300 South Spring Street
    National Comprehensive Cancer Network Drug and                         Los Angeles, CA 90013
    Biologics Compendium, The Thomson Micromedex                           or fax to 213-897-5891
    DrugDex.                                                             Notice of Benefit Determination on Appeal
   findings, studies, or research conducted by or under the             Every notice of an appeal decision will be provided in writing
    auspices of federal government agencies and nationally               or electronically and, if an adverse determination, will include:
    recognized federal research institutes, including the Federal        information sufficient to identify the claim; the specific reason
    Agency for Health Care Policy and Research, National                 or reasons for the denial decision; reference to the specific
    Institutes of Health, National Cancer Institute, National            policy provisions on which the decision is based; a statement
    Academy of Sciences, Health Care Financing                           that the claimant is entitled to receive, upon request and free
    Administration, Congressional Office of Technology                   of charge, reasonable access to and copies of all documents,
    Assessment, and any national board recognized by the                 records, and other Relevant Information as defined; a
    National Institutes of Health for the purpose of evaluating          statement describing any voluntary appeal procedures offered
    the medical value of health services.                                by the plan and the claimant's right to bring an action under
   peer-reviewed abstracts accepted for presentation at major           ERISA section 502(a); upon request and free of charge, a copy
    medical association meetings.                                        of any internal rule, guideline, protocol or other similar
The IMR will be conducted by an Independent Medical                      criterion that was relied upon in making the adverse
Review Organization which is qualified to review issues                  determination regarding your appeal, and an explanation of the
related to experimental and investigational therapies as                 scientific or clinical judgment for a determination that is based
selected by the CDI. The IMR must be completed within 30                 on a Medical Necessity, experimental treatment or other
calendar days. If your Physician determines that the proposed            similar exclusion or limit; and information about any office of
therapy which is the subject of the IMR would be significantly           health insurance consumer assistance or ombudsman available
less effective if not initiated promptly, an expedited IMR is            to assist you in the appeal process. A final notice of adverse
available. An expedited IMR will be completed within 7                   determination will include a discussion of the decision.
calendar days from the date an expedited IMR was requested.              You also have the right to bring a civil action under section
This timeframe may be extended by up to 3 calendar days if               502(a) of ERISA if you are not satisfied with the decision on
there is a delay in providing any documents which the                    review. You or your plan may have other voluntary alternative
Independent Medical Review Organization requests for                     dispute resolution options such as Mediation. One way to find
review. The IMR’s decision must state the reason that the                out what may be available is to contact your local U.S.
therapy should or should not be covered, citing your specific            Department of Labor office and your state insurance
medical condition, the relevant documents, and the relevant              regulatory agency. You may also contact the Plan
medical and scientific evidence. Cigna will cover the services
                                                                         Administrator.
subject to the terms and conditions generally applicable to
other benefits under your policy.                                        Relevant Information
Assistance from the State of California                                  Relevant Information is any document, record, or other
We will provide you with an application and instructions on              information which was relied upon in making the benefit
                                                                         determination; was submitted, considered, or generated in the
how to apply to the CDI for an IMR. You must submit the
                                                                         course of making the benefit determination, without regard to
application to the CDI within 180 days of your receipt of our
appeal review denial. In compelling circumstances, the                   whether such document, record, or other information was
Commissioner of Insurance may grant an extension.                        relied upon in making the benefit determination; demonstrate
                                                                         compliance with the administrative processes and safeguards
The Independent Medical Review Organization will render an               required by federal law in making the benefit determination;
opinion within 30 days. If a delay would be detrimental to               or constitutes a statement of policy or guidance with respect to
your medical condition, you may apply to the Department for              the policy concerning the denied treatment option or benefit or
an expedited review of your case. If accepted, the Independent           the claimant's diagnosis, without regard to whether such
Medical Review Organization will render a decision in three              advice or statement was relied upon in making the benefit
days.                                                                    determination.



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Legal Action                                                               No. 111-148, § 7002 (2010), and as may be amended
If your plan is governed by ERISA, you have the right to bring             thereafter).
a civil action under section 502(a) of ERISA if you are not
satisfied with the outcome of the Appeals Procedure. In most               HC-DFS1130                                             HC-DFS840V2
instances, you may not initiate a legal action against Cigna                                                                             10-16
until you have completed the appeal processes. However, no
action will be brought at all unless brought within three years
after a claim is submitted for In-Network services or within               Biosimilar
three years after proof of claim is required under the Plan for            A Biologic that is highly similar to the reference Biologic
Out-of-Network services.                                                   product notwithstanding minor differences in clinically
                                                                           inactive components, and has no clinically meaningful
                                                                           differences from the reference Biologic in terms of its safety,
HC-APL415                                                     01-20
                                                                           purity, and potency, as defined under Section 351(i) of the
                                                                           Public Health Service Act (42 USC 262(i)) (as amended by
Definitions                                                                the Biologics Price Competition and Innovation Act of 2009,
Active Service                                                             title VII of the Patient Protection and Affordable Care Act,
                                                                           Pub. L. No. 111-148, § 7002 (2010), and as may be amended
You will be considered in Active Service:
                                                                           thereafter).
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business          HC-DFS1130                                             HC-DFS841V2

    or at some location to which you are required to travel for                                                                          10-16

    your Employer's business.
   on a day which is not one of your Employer's scheduled                 Brand Drug
    work days if you were in Active Service on the preceding               A Prescription Drug Product that Cigna identifies as a Brand
    scheduled work day.                                                    Drug product across its book-of-business, principally based on
                                                                           available data resources, including, but not limited to, First
HC-DFS1186                                             HC-DFS1095V4
                                                                           DataBank or another nationally recognized drug indicator
                                                              08-18        source, that classify drugs or Biologics as either brand or
                                                                           generic based on a number of factors. Not all products
                                                                           identified as a "brand name" by the manufacturer, Pharmacy,
Ambulance                                                                  or your Physician may be classified as a Brand Drug under the
Licensed ambulance transportation services involve the use of              plan.
specially designed and equipped vehicles for transporting ill or
injured patients. It includes ground, air, or sea transportation
                                                                           HC-DFS1130                                             HC-DFS842V3
when Medically Necessary and clinically appropriate.
                                                                                                                                         10-16



HC-DFS1406                                                    01-20
                                                                           Business Decision Team
                                                                           A committee comprised of voting and non-voting
Biologic                                                                   representatives across various Cigna business units such as
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,              clinical, medical and business leadership that is duly
blood component or derivative, allergenic product, protein                 authorized by Cigna to make – subject to the P&T
(except any chemically synthesized polypeptide), or analogous              Committee’s findings – decisions regarding coverage
product, or arsphenamine or derivative of arsphenamine (or                 treatment of Prescription Drug Products or Medical
any other trivalent organic arsenic compound), used for the                Pharmaceuticals based on clinical findings provided by the
prevention, treatment, or cure of a disease or condition of                P&T Committee, including, but not limited to, decisions
human beings, as defined under Section 351(i) of the Public                regarding tier placement and application of utilization
Health Service Act (42 USC 262(i)) (as amended by the                      management to Prescription Drug Products or Medical
Biologics Price Competition and Innovation Act of 2009, title              Pharmaceuticals. The P&T Committee is responsible for
VII of the Patient Protection and Affordable Care Act, Pub. L.             ensuring that the plan offers a clinically appropriate




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Prescription Drug List to enrollees consistent with the                         any child of yours who is
requirements of CIC 10123.201(b)(6).                                              less than 26 years old.
A decision by the P&T Committee is paramount to a decision                        26 or more years old, unmarried, and primarily supported
by the Business Decision Team.                                                     by you and incapable of self-sustaining employment by
                                                                                   reason of mental or physical disability. The plan may
HC-DFS1130                                                 HC-DFS1099
                                                                                   require written proof of such disability and dependency
                                                                10-16
                                                                                   within 60 days of receiving our request for written proof.
                                                                                   After the original proof is received, the plan may ask for
                                                                                   proof of handicap/dependency annually, after the two year
Charges                                                                            period following the child's 26th birthday.
The term charges means the actual billed charges; except                     The term child means a child born to you, a child legally
when Cigna has contracted directly or indirectly for a different             adopted by you from the date the child is placed in your
amount including where Cigna has directly or indirectly                      physical custody prior to the finalization of the child's
contracted with an entity to arrange for the provision of                    adoption, or a child supported by you pursuant to a court order
services and/or supplies through contracts with providers of                 (including a qualified medical child support order). It also
such services and/or supplies.                                               includes a stepchild or a child for whom you are the legal
                                                                             guardian. If your Domestic Partner has a child, that child will
                                                                             also be included as a Dependent.
HC-DFS1193                                                      01-19
                                                                             Benefits for a Dependent child will continue until the last day
                                                                             of the calendar month in which the limiting age is reached.
Custodial Services
                                                                             Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                        as a Dependent.
safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care             No one may be considered as a Dependent of more than one
for someone because of age or mental or physical condition.                  Employee.
This service primarily helps the person in daily living.
Custodial care also can provide medical services, given mainly               HC-DFS1023                                                  10-16
to maintain the person’s current state of health. These services
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care              Designated Pharmacy
for himself or herself. Custodial Services include but are not               A Network Pharmacy that has entered into an agreement with
limited to:                                                                  Cigna, or with an entity contracting on Cigna’s behalf, to
   Services related to watching or protecting a person;                     provide Prescription Drug Products or services, including,
                                                                             without limitation, specific Prescription Drug Products, to plan
   Services related to performing or assisting a person in
                                                                             enrollees on a preferred or exclusive basis. For example, a
    performing any activities of daily living, such as: walking,
                                                                             Designated Pharmacy may provide enrollees certain Specialty
    grooming, bathing, dressing, getting in or out of bed,
                                                                             Prescription Drug Products that have limited distribution
    toileting, eating, preparing foods, or taking medications that
                                                                             availability, provide enrollees with an extended days’ supply
    can be self administered, and
                                                                             of Prescription Drug Products or provide enrollees with
   Services not required to be performed by trained or skilled              Prescription Drug Products on a preferred cost share basis.
    medical or paramedical personnel.                                        The fact that a Pharmacy is a Network Pharmacy does not
                                                                             mean that it is a Designated Pharmacy.
HC-DFS4                                                         04-10
                                                                  V1         HC-DFS1131                                            HC-DFS845V2
                                                                                                                                         10-16

Dependent
Dependents are:                                                              Domestic Partner
   your lawful spouse; or                                                   A Domestic Partner is defined as your Domestic Partner who
   your Domestic Partner; and                                               has registered the domestic partnership by filing a Declaration
                                                                             of Domestic Partnership with the California Secretary of state
                                                                             pursuant to Section 298 of the Family Code or an equivalent


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document issued by a local agency of California, another state,              attention to result in placing the health of the individual (or,
or a local agency of another state under which the partnership               with respect to a pregnant woman, the health of the woman or
was created.                                                                 her unborn child) in serious jeopardy; serious impairment to
A Domestic Partner is also defined as a person of the same or                bodily functions; or serious dysfunction of any bodily organ or
opposite sex who has not registered the domestic partnership                 part.
as stated above and:
   shares your permanent residence;                                         HC-DFS394                                                    11-10

   has resided with you for no less than one year;
   is no less than 18 years of age;                                         Emergency Services
   is financially interdependent with you and has proven such               Emergency services means, with respect to an emergency
    interdependence by providing documentation of at least two               medical condition, a medical screening examination that is
    of the following arrangements: common ownership of real                  within the capability of the emergency department of a
    property or a common leasehold interest in such property;                Hospital, including ancillary services routinely available to the
    community ownership of a motor vehicle; a joint bank                     emergency department to evaluate the emergency medical
    account or a joint credit account; designation as a                      condition; and such further medical examination and
    beneficiary for life insurance or retirement benefits or under           treatment, to the extent they are within the capabilities of the
    your partner's will; assignment of a durable power of                    staff and facilities available at the Hospital, to stabilize the
    attorney or health care power of attorney; or such other                 patient.
    proof as is considered by Cigna to be sufficient to establish
    financial interdependency under the circumstances of your
                                                                             HC-DFS1414                                                   01-20
    particular case;
   is not a blood relative any closer than would prohibit legal
    marriage; and                                                            Employee
   has signed jointly with you, a notarized affidavit attesting to          The term Employee means a full-time Employee of the
    the above which can be made available to Cigna upon                      Employer who is currently in Active Service. The term does
    request.                                                                 not include Employees who are part-time or temporary or who
                                                                             normally work less than 30 hours a week for the Employer.
In addition, you and your Domestic Partner will be considered
to have met the terms of this definition as long as neither you
nor your Domestic Partner:                                                   HC-DFS1186                                              HC-DFS1189

   has signed a Domestic Partner affidavit or declaration with                                                                           08-18

    any other person within twelve months prior to designating
    each other as Domestic Partners hereunder;                               Employer
   is currently legally married to another person; or                       The term Employer means the Policyholder and all Affiliated
   has any other Domestic Partner, spouse or spouse equivalent              Employers.
    of the same or opposite sex.
The section of this certificate entitled "COBRA Continuation                 HC-DFS8                                                      04-10
Rights Under Federal Law" and “Continuation of Coverage                                                                                     V1
under Cal-COBRA” will not apply to your Domestic Partner
and his or her Dependents.


HC-DFS1024                                                      10-16



Emergency Medical Condition
Emergency medical condition means a medical condition
which manifests itself by acute symptoms of sufficient
severity (including severe pain) such that a prudent layperson,
who possesses an average knowledge of health and medicine,
could reasonably expect the absence of immediate medical



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Essential Health Benefits                                                    available data resources, including, but not limited to, First
Essential health benefits means, to the extent covered under                 DataBank or another nationally recognized drug indicator
the plan, expenses incurred with respect to covered services, in             source, that classify drugs or Biologics (including Biosimilars)
at least the following categories: ambulatory patient services,              as either brand or generic based on a number of factors. Not
emergency services, hospitalization, maternity and newborn                   all products identified as a "generic" by the manufacturer,
care, mental health and substance use disorder services,                     Pharmacy or your Physician may be classified as a Generic
including behavioral health treatment, prescription drugs,                   Drug under the plan. A Biosimilar may be classified as a
rehabilitative and habilitative services and devices, laboratory             Generic Drug for the purposes of benefits under the plan even
services, preventive and wellness services and chronic disease               if it is identified as a “brand name” drug by the manufacturer,
management and pediatric services, including oral and vision                 Pharmacy or your Physician.
care.
                                                                             HC-DFS1131                                                 HC-DFS846V3
                                                                                                                                              10-16
HC-DFS411                                                       01-11



Expense Incurred                                                             Hospice Care Program
An expense is incurred when the service or the supply for                    The term Hospice Care Program means:
which it is incurred is provided.                                               a coordinated, interdisciplinary program to meet the
                                                                                 physical, psychological, spiritual and social needs of dying
                                                                                 persons and their families;
HC-DFS10                                                        04-10
                                                                  V1
                                                                                a program that provides palliative and supportive medical,
                                                                                 nursing and other health services through home or inpatient
                                                                                 care during the illness;
Free-Standing Surgical Facility
                                                                                a program for persons who have a Terminal Illness and for
The term Free-Standing Surgical Facility means an institution                    the families of those persons.
which meets all of the following requirements:
   it has a medical staff of Physicians, Nurses and licensed
                                                                             HC-DFS51                                                         04-10
    anesthesiologists;                                                                                                                          V1
   it maintains at least two operating rooms and one recovery
    room;
                                                                             Hospice Care Services
   it maintains diagnostic laboratory and x-ray facilities;
                                                                             The term Hospice Care Services means any services provided
   it has equipment for emergency care;                                     by: a Hospital, a Skilled Nursing Facility or a similar
   it has a blood supply;                                                   institution, a Home Health Care Agency, a Hospice Facility,
   it maintains medical records;                                            or any other licensed facility or agency under a Hospice Care
                                                                             Program.
   it has agreements with Hospitals for immediate acceptance
    of patients who need Hospital Confinement on an inpatient
    basis; and                                                               HC-DFS52                                                         04-10
                                                                                                                                                V1
   it is licensed in accordance with the laws of the appropriate
    legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted                 Hospice Facility
otherwise, is covered with the same cost share as an                         The term Hospice Facility means an institution or part of it
Outpatient Facility.                                                         which:
                                                                                primarily provides care for Terminally Ill patients;
HC-DFS1407                                                      01-20           is accredited by the National Hospice Organization;
                                                                                meets standards established by Cigna; and
Generic Drug
A Prescription Drug Product that Cigna identifies as a Generic
Drug product at a book-of-business level principally based on


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   fulfills any licensing requirements of the state or locality in           Injury
    which it operates.                                                        The term Injury means an accidental bodily injury.

HC-DFS53                                                         04-10
                                                                              HC-DFS12                                                      04-10
                                                                   V1
                                                                                                                                              V1



Hospital                                                                      Maintenance Drug Product
The term Hospital means:                                                      A Prescription Drug Product that is prescribed for use over an
   an institution licensed as a hospital, which: maintains, on               extended period of time for the treatment of chronic or long-
    the premises, all facilities necessary for medical and                    term conditions such as asthma, hypertension, diabetes and
    surgical treatment; provides such treatment on an inpatient               heart disease, and is identified principally based on
    basis, for compensation, under the supervision of                         consideration of available data resources, including, but not
    Physicians; and provides 24-hour service by Registered                    limited to, First DataBank or another nationally recognized
    Graduate Nurses;                                                          drug indicator source and clinical factors. For the purposes of
   an institution which qualifies as a hospital, a psychiatric               benefits, the list of your plan’s Maintenance Drug Products
    hospital or a tuberculosis hospital, and a provider of                    does not include compounded medications, Specialty
    services under Medicare, if such institution is accredited as             Prescription Drug Products or Prescription Drug Products,
    a hospital by the Joint Commission on the Accreditation of                such as certain narcotics that a Pharmacy cannot dispense
    Healthcare Organizations; or                                              above certain supply limits per Prescription Drug Order or
                                                                              Refill under applicable federal or state law. You may
   an institution which: specializes in treatment of Mental                  determine whether a drug is a Maintenance Medication by
    Health and Substance Use Disorder or other related illness;               calling member services at the telephone number on your ID
    provides residential treatment programs; and is licensed in               card.
    accordance with the laws of the appropriate legally
    authorized agency.
                                                                              HC-DFS1306                                              HC-DFS847V2
The term Hospital does not include an institution which is
                                                                                                                                            01-19
primarily a place for rest, a place for the aged, or a nursing
home.
                                                                              Maximum Reimbursable Charge - Medical
HC-DFS1415                                                       01-20        The Maximum Reimbursable Charge for covered services is
                                                                   V2         determined based on the lesser of:
                                                                                 the provider’s normal charge for a similar service or supply;
Hospital Confinement or Confined in a Hospital                                    or
A person will be considered Confined in a Hospital if he is:                     a policyholder-selected percentage of a schedule that Cigna
                                                                                  has developed that is based upon a methodology similar to a
   a registered bed patient in a Hospital upon the                               methodology utilized by Medicare to determine the
    recommendation of a Physician;                                                allowable fee for the same or similar service within the
   receiving treatment for Mental Health and Substance Abuse                     geographic market.
    Services in a Partial Hospitalization program;                            The percentage used to determine the Maximum Reimbursable
   receiving treatment for Mental Health and Substance Abuse                 Charge is listed in The Schedule.
    Services in a Mental Health or Substance Abuse Residential                In some cases, a Medicare based schedule will not be used and
    Treatment Center.                                                         the Maximum Reimbursable Charge for covered services is
                                                                              determined based on the lesser of:
HC-DFS49                                                         04-10           the provider’s normal charge for a similar service or supply;
                                                                   V1             or
                                                                                 the 80th percentile of charges made by providers of such
                                                                                  service or supply in the geographic area where it is received
                                                                                  as compiled in a database selected by Cigna. If sufficient
                                                                                  charge data is unavailable in the database for that



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    geographic area to determine the Maximum Reimbursable                         not primarily for the convenience of the patient, Physician
    Charge, then data in the database for similar services may                     or Other Health Professional;
    be used.                                                                      not more costly than an alternative service(s), medication(s)
The Maximum Reimbursable Charge is subject to all other                            or supply(ies) that is at least as likely to produce equivalent
benefit limitations and applicable coding and payment                              therapeutic or diagnostic results with the same safety profile
methodologies determined by Cigna. Additional information                          as to the prevention, evaluation, diagnosis or treatment of
about how Cigna determines the Maximum Reimbursable                                your Sickness, Injury, condition, disease or its symptoms;
Charge is available upon request.                                                  and
                                                                                  rendered in the least intensive setting that is appropriate for
HC-DFS1196                                                        01-19
                                                                                   the delivery of the services, supplies or medications. Where
                                                                                   applicable, the Medical Director or Review Organization
                                                                                   may compare the cost-effectiveness of alternative services,
Medicaid                                                                           supplies, medications or settings when determining least
The term Medicaid means a state program of medical aid for                         intensive setting.
needy persons established under Title XIX of the Social                        In determining whether health care services, supplies, or
Security Act of 1965 as amended.                                               medications are Medically Necessary, the Medical Director or
                                                                               Review Organization may rely on the clinical coverage
                                                                               policies maintained by Cigna or the Review Organization.
HC-DFS16                                                          04-10
                                                                               Clinical coverage policies may incorporate, without limitation
                                                                    V1
                                                                               and as applicable, criteria relating to U.S. Food and Drug
                                                                               Administration-approved labeling, the standard medical
Medical Pharmaceutical                                                         reference compendia and peer-reviewed, evidence-based
An FDA-approved prescription pharmaceutical product,                           scientific literature or guidelines.
including a Specialty Prescription Drug Product, typically
required to be administered in connection with a covered                       HC-DFS1411                                                      01-20
service by a Physician or Other Health Professional within the
scope of the provider's license. This definition includes certain
pharmaceutical products whose administration may initially or                  Medicare
typically require Physician oversight but may be self-                         The term Medicare means the program of medical care
administered under certain conditions specified in the                         benefits provided under Title XVIII of the Social Security Act
product’s FDA labeling. This definition does not include any                   of 1965 as amended.
charges for mobile, web-based or other electronic applications
or software, even if approved for marketing as a prescription
product by the FDA.                                                            HC-DFS17                                                        04-10
                                                                                                                                                 V1


HC-DFS1410                                                        01-20
                                                                               Necessary Services and Supplies
                                                                               The term Necessary Services and Supplies includes any
Medically Necessary/Medical Necessity
                                                                               charges, except charges for Room and Board, made by a
Health care services, supplies and medications provided for                    Hospital for medical services and supplies actually used
the purpose of preventing, evaluating, diagnosing or treating a                during Hospital Confinement.
Sickness, Injury, condition, disease or its symptoms, that are
                                                                               The term Necessary Services and Supplies will not include
all of the following as determined by a Medical Director or
                                                                               any charges for special nursing fees, dental fees or medical
Review Organization:
                                                                               fees.
   required to diagnose or treat an illness, Injury, disease or its
    symptoms;
                                                                               HC-DFS1409                                                      01-20
   in accordance with generally accepted standards of medical
    practice;
   clinically appropriate in terms of type, frequency, extent,
    site and duration;



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Network Pharmacy
A retail or home delivery Pharmacy that has:                                 Other Health Professional
   entered into an agreement with Cigna or an entity                        The term Other Health Professional means an individual other
    contracting on Cigna's behalf to provide Prescription Drug               than a Physician who is licensed or otherwise authorized under
    Products to plan enrollees.                                              the applicable state law to deliver medical services and
   agreed to accept specified reimbursement rates for                       supplies. Other Health Professionals include, but are not
    dispensing Prescription Drug Products.                                   limited to physical therapists, registered nurses and licensed
                                                                             practical nurses. Other Health Professionals do not include
   been designated as a Network Pharmacy for the purposes of                providers such as Certified First Assistants, Certified
    coverage under your Employer’s plan.                                     Operating Room Technicians, Certified Surgical
This term may also include, as applicable, an entity that has                Assistants/Technicians, Licensed Certified Surgical
directly or indirectly contracted with Cigna to arrange for the              Assistants/Technicians, Licensed Surgical Assistants,
provision of any Prescription Drug Products the charges for                  Orthopedic Physician Assistants and Surgical First Assistants.
which are Covered Expenses.
                                                                             HC-DFS1413                                                  01-20
HC-DFS1305                                               HC-DFS1198V1
                                                                01-19
                                                                             Participating Provider
                                                                             The term Participating Provider means a person or entity that
New Prescription Drug Product                                                has a direct or indirect contractual arrangement with Cigna to
A Prescription Drug Product, or new use or dosage form of a                  provide covered services and/or supplies, the Charges for
previously FDA-approved Prescription Drug Product, for the                   which are Covered Expenses. It includes an entity that has
period of time starting on the date the Prescription Drug                    directly or indirectly contracted with Cigna to arrange, through
Product or newly-approved use or dosage form becomes                         contracts with providers of services and/or supplies, for the
available on the market following approval by the U.S. Food                  provision of any services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date                         which are Covered Expenses.
Cigna's Business Decision Team makes a Prescription Drug
List coverage status decision.
                                                                             HC-DFS1194                                                  01-19


HC-DFS1305                                               HC-DFS850V2
                                                                01-19
                                                                             Patient Protection and Affordable Care Act of 2010
                                                                             (“PPACA”)
                                                                             Patient Protection and Affordable Care Act of 2010 means the
Nurse
                                                                             Patient Protection and Affordable Care Act of 2010 (Public
The term Nurse means a Registered Graduate Nurse, a                          Law 111-148) as amended by the Health Care and Education
Licensed Practical Nurse or a Licensed Vocational Nurse who                  Reconciliation Act of 2010 (Public Law 111-152).
has the right to use the abbreviation "R.N.," "L.P.N." or
"L.V.N."
                                                                             HC-DFS412                                                   01-11


HC-DFS22                                                        04-10
                                                                  V1         Pharmacy
                                                                             A duly licensed Pharmacy that dispenses Prescription Drug
                                                                             Products in a retail setting or via home delivery. A home
Other Health Care Facility
                                                                             delivery Pharmacy is a Pharmacy that primarily provides
The term Other Health Care Facility means a facility other                   Prescription Drug Products through mail order.
than a Hospital or Hospice Facility. Examples of Other Health
Care Facilities include, but are not limited to, licensed skilled
nursing facilities, rehabilitation Hospitals and subacute                    HC-DFS1178                                            HC-DFS851V2

facilities.


HC-DFS1412                                                      01-20




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Pharmacy & Therapeutics (P&T) Committee                                  Prescription Drug List
A committee comprised of both voting and non-voting Cigna-               A list that categorizes drugs, Biologics (including Biosimilars)
employed clinicians, Medical Directors and Pharmacy                      or other products covered under the plan’s Prescription Drug
Directors and non-employees such as Participating Providers              Benefits that have been approved by the U.S. Food and Drug
that represent a range of clinical specialties, and the                  Administration (FDA) into coverage tiers. This list is
composition of which satisfies the membership requirements               developed by Cigna's Business Decision Team based on
of CIC 10123.201. The committee regularly reviews Medical                clinical factors communicated by the P&T Committee, and
Pharmaceuticals or Prescription Drug Products, including New             adopted by your Employer as part of the plan. The list is
Prescription Drug Products, for safety and efficacy, the                 subject to periodic review and change, and is subject to the
findings of which clinical reviews inform coverage status                limitations and exclusions of the plan. You may determine to
decisions made by the Business Decision Team. The P&T                    which tier a particular Prescription Drug Product has been
Committee’s review may be based on consideration of,                     assigned through the website shown on your ID card or by
without limitation, U.S. Food and Drug Administration-                   calling customer service at the telephone number on your ID
approved labeling, standard medical reference compendia, or              card.
scientific studies published in peer-reviewed English-language
bio-medical journals.
                                                                         HC-DFS1178                                             HC-DFS854V2
A decision by the P&T Committee is paramount to a decision
by the Business Decision Team.
                                                                         Prescription Drug Product
                                                                         A drug, Biologic (including a Biosimilar), or other product
HC-DFS1178                                             HC-DFS1100
                                                                         that has been approved by the U.S. Food and Drug
                                                                         Administration (FDA), certain products approved under the
Physician                                                                Drug Efficacy Study Implementation review, or products
The term Physician means a licensed medical practitioner who             marketed prior to 1938 and not subject to review and that can,
is practicing within the scope of his license and who is                 under federal or state law, be dispensed only pursuant to a
licensed to prescribe and administer drugs or to perform                 Prescription Order or Refill. A Prescription Drug Product
surgery. It will also include any other licensed medical                 includes a drug, Biologic or product that, due to its
practitioner whose services are required to be covered by law            characteristics, is approved by the FDA for self-administration
in the locality where the policy is issued if he is:                     or administration by a non-skilled caregiver. For the purpose
                                                                         of benefits under the plan, this definition also includes:
   operating within the scope of his license; and
                                                                            The following diabetic supplies: alcohol pads, swabs, wipes,
   performing a service for which benefits are provided under               Glucagon/Glucagen, injection aids, insulin pump
    this plan when performed by a Physician.                                 accessories (but excluding insulin pumps), needles
                                                                             including pen needles, syringes, test strips, lancets, urine
HC-DFS25                                                    04-10            glucose and ketone strips;
                                                              V1            Needles and syringes for self-administered medications or
                                                                             Biologics covered under the plan’s Prescription Drug
                                                                             benefit; and
Prescription Drug Charge
The Prescription Drug Charge is the amount that, prior to                   Inhaler assistance devices and accessories, peak flow
                                                                             meters.
application of the plan’s cost-share requirement(s), is payable
by Cigna to its Pharmacy Benefit Manager for a specific                  This definition does not include any charges for mobile, web-
covered Prescription Drug Product dispensed at a Network                 based or other electronic applications or software, even if
Pharmacy, including any applicable dispensing fee and tax.               approved for marketing as a prescription product by the FDA.
The “Pharmacy Benefit Manager” is the business unit,
affiliate, or other entity that manages the Prescription Drug
                                                                         HC-DFS1178                                             HC-DFS855V2
Benefit for Cigna.


HC-DFS1178                                             HC-DFS1179




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Prescription Order or Refill                                               is considered qualified as a clinical psychologist by a
The lawful directive to dispense a Prescription Drug Product               recognized psychological association. It will also include any
issued by a Physician whose scope of practice permits issuing              other licensed counseling practitioner whose services are
such a directive.                                                          required to be covered by law in the locality where the policy
                                                                           is issued if he is operating within the scope of his license and
                                                                           performing a service for which benefits are provided under
HC-DFS1178                                              HC-DFS856V2        this plan when performed by a Psychologist.

Preventive Care Medications                                                HC-DFS26                                                      04-10

The Prescription Drug Products or other medications                                                                                        V1

(including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of            Review Organization
any Deductible, Copayment or Coinsurance) as required by
applicable law under any of the following:                                 The term Review Organization refers to an affiliate of Cigna
                                                                           or another entity to which Cigna has delegated responsibility
   Evidence-based items or services that have in effect a rating          for performing utilization review services. The Review
    of "A" or "B" in the current recommendations of the United             Organization is an organization with a staff of clinicians which
    States Preventive Services Task Force.                                 may include Physicians, Registered Graduate Nurses, licensed
   With respect to infants, children and adolescents, evidence-           mental health and substance abuse professionals, and other
    informed preventive care and screenings provided for in the            trained staff members who perform utilization review services.
    comprehensive guidelines supported by the Health
    Resources and Services Administration.
                                                                           HC-DFS30                                                      04-10
   With respect to women, such additional preventive care and                                                                             V1
    screenings as provided for in comprehensive guidelines
    supported by the Health Resources and Services
    Administration.                                                        Room and Board
A written prescription is required to process a claim for a                The term Room and Board includes all charges made by a
Preventive Care Medication. You may determine whether a                    Hospital for room and meals and for all general services and
drug is a Preventive Care Medication through the internet                  activities needed for the care of registered bed patients.
website shown on your ID card or by calling member services
at the telephone number on your ID card.
                                                                           HC-DFS1408                                                    01-20



HC-DFS1178                                              HC-DFS857V2
                                                                           Serious Emotional Disturbances
                                                                           A Seriously Emotionally Disturbed (SED) child shall be
Primary Care Physician                                                     defined as a child who:
The term Primary Care Physician means a Physician who                         has one or more mental disorders as identified in the most
qualifies as a Participating Provider in general practice,                     recent edition of the Diagnostic and Statistical Manual of
internal medicine, family practice, obstetrics/gynecology or                   Mental Disorders, other than a primary substance abuse
pediatrics; and who has been selected by you, as authorized by                 disorder or developmental disorder, that results in behavior
Cigna, to provide or arrange for medical care for you or any of                inappropriate to the child's age according to expected
your insured Dependents.                                                       developmental norms; and
                                                                              is under the age of 18 years old; and
HC-DFS167                                                     04-10
                                                                V2



Psychologist
The term Psychologist means a person who is licensed or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who



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   meets the criteria in as follows:                                          but only if that institution: maintains on the premises all
     as a result of the mental disorder, the child has substantial            facilities necessary for medical treatment; provides such
      impairment in at least two of the following areas: self-                 treatment, for compensation, under the supervision of
      care, school functioning, family relationships, or ability to            Physicians; and provides Nurses' services.
      function in the community; and either of the following
      occur:                                                                   HC-DFS31                                                      04-10
          the child is at risk of removal from the home or has                                                                                V1

           already been removed from the home;
          the mental disorder and impairments have been present               Specialist
           for more than six months or are likely to continue for
                                                                               The term Specialist means a Physician who provides
           more than one year without treatment.
                                                                               specialized services, and is not engaged in general practice,
     the child displays one of the following: psychotic                       family practice, internal medicine, obstetrics/gynecology or
      features, risk of suicide or violence due to a mental                    pediatrics.
      disorder; or
     the child meets special education eligibility requirements
                                                                               HC-DFS33                                                      04-10
      under Chapter 26.5 (commencing with Section 7570) of
                                                                                                                                               V1
      Division 7 of Title 1 of the Government Code.

                                                                               Specialty Prescription Drug Product
HC-DFS168                                                         04-10
                                                                    V2
                                                                               A Prescription Drug Product or Medical Pharmaceutical
                                                                               considered by Cigna to be a Specialty Prescription Drug
                                                                               Product based on consideration of the following factors,
Severe Mental Illness                                                          subject to applicable law: whether the Prescription Drug
A severe mental illness is defined as: schizophrenia; bipolar                  Product or Medical Pharmaceutical is prescribed and used for
disorder; obsessive-compulsive disorder; major depressive                      the treatment of a complex, chronic or rare condition; whether
disorders; panic disorder; anorexia nervosa; bulimia nervosa;                  the Prescription Drug Product or Medical Pharmaceutical has
schizoaffective disorder; and pervasive developmental                          a high acquisition cost; and, whether the Prescription Drug
disorder or autism.                                                            Product or Medical Pharmaceutical is subject to limited or
                                                                               restricted distribution, requires special handling and/or
                                                                               requires enhanced patient education, provider coordination or
HC-DFS169                                                         04-10        clinical oversight. A Specialty Prescription Drug Product may
                                                                    V1
                                                                               not possess all or most of the foregoing characteristics, and the
                                                                               presence of any one such characteristic does not guarantee that
Sickness – For Medical Insurance                                               a Prescription Drug Product or Medical Pharmaceutical will
                                                                               be considered a Specialty Prescription Drug Product. Specialty
The term Sickness means a physical or mental illness. It also                  Prescription Drug Products may vary by plan benefit
includes pregnancy. Expenses incurred for routine Hospital                     assignment based on factors such as method or site of clinical
and pediatric care of a newborn child prior to discharge from
                                                                               administration, or by tier assignment or utilization
the Hospital nursery will be considered to be incurred as a
                                                                               management requirements based on factors such as acquisition
result of Sickness.
                                                                               cost. You may determine whether a medication is a Specialty
                                                                               Prescription Drug Product through the website shown on your
HC-DFS50                                                          04-10        ID card or by calling member services at the telephone
                                                                    V1         number on your ID card.


Skilled Nursing Facility                                                       HC-DFS1135                                              HC-DFS858V2
                                                                                                                                             10-16
The term Skilled Nursing Facility means a licensed institution
(other than a Hospital, as defined) which specializes in:
   physical rehabilitation on an inpatient basis; or                          Stabilize
   skilled nursing and medical care on an inpatient basis;                    Stabilize means, with respect to an emergency medical
                                                                               condition, to provide such medical treatment of the condition



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as may be necessary to assure, within reasonable medical                      Urgent Care
probability that no material deterioration of the condition is                Urgent Care is medical, surgical, Hospital or related health
likely to result from or occur during the transfer of the                     care services and testing which are not Emergency Services,
individual from a facility.                                                   but which are determined by Cigna, in accordance with
                                                                              generally accepted medical standards, to have been necessary
HC-DFS413                                                        01-11
                                                                              to treat a condition requiring prompt medical attention. This
                                                                              does not include care that could have been foreseen before
                                                                              leaving the immediate area where you ordinarily receive
Terminal Illness                                                              and/or were scheduled to receive services. Such care includes,
A Terminal Illness will be considered to exist if a person                    but is not limited to, dialysis, scheduled medical treatments or
becomes terminally ill with a prognosis of six months or less                 therapy, or care received after a Physician's recommendation
to live, as diagnosed by a Physician.                                         that the insured should not travel due to any medical
                                                                              condition.

HC-DFS54                                                         04-10
                                                                   V1         HC-DFS34                                                     04-10
                                                                                                                                             V1


Therapeutic Alternative
                                                                              Usual and Customary (U&C) Charge
A Prescription Drug Product or Medical Pharmaceutical that is
of the same therapeutic or pharmacological class, and usually                 The usual fee that a Pharmacy charges individuals for a
can be expected to have similar outcomes and adverse reaction                 Prescription Drug Product (and any services related to the
profiles when administered in therapeutically equivalent doses                dispensing thereof) without reference to reimbursement to the
as, another Prescription Drug Product, Medical                                Pharmacy by third parties. The Usual and Customary (U&C)
Pharmaceutical or over-the-counter medication.                                Charge includes a dispensing fee and any applicable sales tax.


HC-DFS1135                                             HC-DFS859V2            HC-DFS1135                                             HC-DFS861V2

                                                                 10-16                                                                     10-16




Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS1135                                             HC-DFS860V2
                                                                 10-16




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                 MyComputerCareer, Inc.

                  HSA Buy Up PPO Plan
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Mental Health Parity and Addiction Equity Act of 2008 (MHPAEA) -
Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NQTLs) include (to the extent applicable under the plan):
  medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  prescription drug formulary design;
  network admission standards;
  methods for determining In-Network and Non-Network provider reimbursement rates;
  step therapy, a.k.a. fail-first requirements; and
  exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons:
Employers (Plan Administrators): Please contact your Cigna Sales Representative to request the NQTL
comparative analysis.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) which can be located in this booklet immediately following
The Schedule; and pharmacy coverage (whether or not your plan includes pharmacy coverage).




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:

Cigna
Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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INTRODUCTION___
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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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Federal CAA - Consolidated Appropriations Act and TIC - Transparency in Coverage Notice
Cigna will make available an internet-based self-service tool for use by individual customers, as well as certain
data in machine-readable file format on a public website, as required under the Transparency in Coverage rule.
Customers can access the cost estimator tool on myCigna.com. Updated machine-readable files can be found on
Cigna.com and/or CignaForEmployers.com on a monthly basis.
Pursuant to Consolidated Appropriations Act (CAA), Section 106, Cigna will submit certain air ambulance
claim information to the Department of Health and Human Services (HHS) in accordance with guidance issued
by HHS.
Subject to change based on government guidance for CAA Section 204, Cigna will submit certain prescription
drug and health care spending information to HHS through Plan Lists Files (P1-P3) and Data Files (D1-D8)
(D1-D2) for an Employer without an integrated pharmacy product aggregated at the market segment and state
level, as outlined in guidance.
Continuity of Care

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INTRODUCTION___
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In certain circumstances, if you are receiving continued care from an in-network provider or facility, and that
provider's network status changes from in-network to out-of-network, you may be eligible to continue to receive
care from the provider at the in-network cost-sharing amount for up to 90 days from the date you are notified of
your provider's termination. A continuing care patient is an individual who is:
  Undergoing treatment for a serious and complex condition
  Pregnant and undergoing treatment for the pregnancy
  Receiving inpatient care
  Scheduled to undergo urgent or emergent surgery, including postoperative
  Terminally ill (having a life expectancy of 6 months or less) and receiving treatment from the provider for the
  illness
If applicable, Cigna will notify you of your continuity of care options.
Appeals
Any external review process available under the plan will apply to any adverse determination regarding claims
subject to the No Surprises Act.

Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.

Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.
Provider Directories and Provider Networks

A list of network providers is available to you, without charge, by visiting the website or calling the phone
number on your ID card. The network consists of providers, including hospitals, of varied specialties as well as
generic practice, affiliated or contracted with Cigna or an organization contracting on its behalf.



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A list of network pharmacies is available to you, without charge, by visiting the website or calling the phone
number on your ID card. The network consists of pharmacies affiliated or contracted with Cigna or an
organization contracting on its behalf.
Provider directory content is verified and updated, and processes are established for responding to provider
network status inquiries, in accordance with applicable requirements of the No Surprises Act.
If you rely on a provider's in-network status in the provider directory or by contacting Cigna at the website or
phone number on your ID card to receive covered services from that provider, and that network status is
incorrect, then your plan cannot impose out-of-network cost shares to that covered service. In-network cost
share must be applied as if the covered service were provided by a network provider.

Direct Access to Obstetricians and Gynecologists
You do not need prior authorization from the plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in our network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, access the website or call the phone number on your ID card.
Selection of a Primary Care Provider
This Plan generally allows the designation of a primary care provider. You have the right to designate any
primary care provider who participates in the network and who is available to accept you or your family
members. Until you make this designation, Cigna designates one for you. For children, you may designate a
pediatrician as the primary care provider. For information on how to select a primary care provider, and for a list
of the participating primary care providers, access the website or call the phone number on your ID card.
Your Rights and Protections Against Surprise Medical Bills

When you get emergency care or are treated by an out-of-network provider at an in-network hospital or
ambulatory surgical center, you are protected from balance billing. In these situations, you should not be charged
more than your plan's copayments, coinsura nce, and/or deductible.
What is “balance billing” (sometimes called “surprise billing”)?

When you see a doctor or other health care provider, you may owe certain out-of-pocket costs, such as a
copayment, coinsurance, and/or deductible. You may have additional costs or have to pay the entire bill if you
see a provider or visit a health care facility that is not in your health plan's network.
“Out-of-network” means providers and facilities that have not signed a contract with your health plan to provide
services. Out-of-network providers may be allowed to bill you for the difference between what your plan pays
and the full amount charged for a service. This is called “balance billing”. This amount is likely more than in-
network costs for the same service and might not count toward your plan's deductible or annual out-of-pocket
limit.
“Surprise billing” is an unexpected balance bill. This can happen when you cannot control who is involved in
your care - such as when you have an emergency or when you schedule a visit at an in-network facility but are
unexpectedly treated by an out-of-network provider. Surprise medical bills could cost thousands of dollars
depending on the procedure or service.

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You are protected from balance billing for:
  Emergency services - If you have an emergency medical condition and get emergency services from an out-
  of-network provider or facility, the most they can bill you is your plan's in-network cost-sharing amount (such
  as a copayments, coinsurance, and deductibles). You cannot be balanced billed for these emergency services.
  This includes services you may get after you are in stable condition, unless you give written consent and give
  up your protections not to be balanced billed for these post-stabilization services.
  Certain non-emergency services at an in-network hospital or ambulatory surgical center - When you get
  services from an in-network hospital or ambulatory surgical center, certain providers there may be out-of-
  network. In these cases, the most those providers can bill you is your plan's in-network cost sharing amount.
  This applies to emergency medicine, anesthesia, pathology, radiology, laboratory, neonatology, assistant
  surgeon, hospitalist, or intensivist services. These providers cannot balance bill you and may not ask you to
  give up your protections not to be balanced billed.
  If you get other types of services at these in-network facilities, out-of-network providers cannot balance bill
  you, unless you give written consent and give up your protections.

You are never required to give up your protections from balance billing. You also are not required to get
out-of-network care. You can choose a provider or facility in your plan's network.

When balance billing is not allowed, you have these protections:
  You are only responsible for paying your share of the cost (such as copayments, coinsurance, and deductibles
  that you would pay if the provider were in-network). Your health plan will pay any additional costs to out-of-
  network providers and facilities directly.
  Generally, your health plan must:
  - Cover emergency services without requiring you to get approval in advance for services (also known as prior
    authorization).
  - Cover emergency services provided by out-of-network providers.
  - Base what you owe the provider or facility (cost sharing) on what it would pay an in-network provider or
    facility and show that amount in your explanation of benefits (EOB).
  - Count any amount you pay for emergency services or out-of-network services toward your in-network
    deductible and out-of-pocket limit.
If you think you have been wrongly billed, contact Cigna at the phone number on your ID card. You can also
contact No Surprises Help Desk at 1-800-985-3059 or www.cms.gov/nosurprises for more information about
your rights under federal law.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services




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INTRODUCTION___
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The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.
Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, but some or all of the rebate
value that Cigna earns for certain Prescription Drug Products may, for example, be reflected in the discount,
such as the Prescription Drug Charge, used to assess your deductible, copay or coinsurance payment, if any, for
certain Prescription Drug Products for which Cigna earns a rebate.

Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.

Coupons, Incentives and Other Communications

At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.

Incentives to Participating Providers

Cigna continuously develops programs to help our customers access quality, cost-effective health care. Some
programs include Participating Providers receiving financial incentives from Cigna for providing care to
Members in a way that meets or exceeds certain quality and/or cost-efficiency standards, when, in the
Participating Provider's professional judgment, it is appropriate to do so within the applicable standard of care.
For example, some Participating Providers could receive financial incentives for utilizing or referring you to
alternative sites of care as determined by your plan rather than in a more expensive setting, or achieving
particular outcomes for certain health conditions. Participating Providers may also receive purchasing discounts
when purchasing certain prescription drugs from Cigna affiliates. Such programs can help make you healthier,
decrease your health care costs, or both. These programs are not intended to affect your access to the health care
that you need. We encourage you to talk to your Participating Provider if you have questions about whether they
receive financial incentives from Cigna and whether those incentives apply to your care.


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INTRODUCTION___
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■    About This Plan
MyComputerCareer, Inc. (the Employer) has established an Employee Welfare Benefit Plan within the meaning
of the Employee Retirement Income Security Act of 1974 (ERISA). As of January 1, 2024, the medical benefits
described in this booklet form a part of the Employee Welfare Benefit Plan and are referred to collectively in
this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained pursuant to the medical benefit
terms described in this booklet. The Plan may be amended from time to time.

This booklet takes the place of any other issued to you on a prior date.

Defined terms are capitalized and have specific meaning with respect to medical benefits, see GLOSSARY.
The medical benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.

Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission

A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:
    the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
    performs an act, practice or omission that constitutes fraud; or
    the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
    an intentional misrepresentation of material fact.




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.

When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
Multiple Surgical Reduction

Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.

Assistant Surgeon and Co-Surgeon Charges

Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)
Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the in-network cost-sharing level if services are received from a non-
   participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services
   rendered in an out-of-network Hospital, or by an out-of-network provider in an in-network Hospital, is the
   amount agreed to by the out-of-network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan's benefit payment when out-of-network Emergency
   Services result in an inpatient admission is the median amount negotiated with in-network facilities.
The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the in-network cost-sharing level if services are received from
   a non-Participating (out-of-network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered air ambulance services
   rendered by an out-of-network provider is the amount agreed to by the out-of-network provider and Cigna, or
   as required by applicable state or Federal law.

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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
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BENEFITS SCHEDULE___
The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Charges for Certain Services

Charges for services furnished by an out-of-network provider in an in-network facility while you are receiving
in-network services at that in-network facility: (i) are payable at the in-network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the out-of-network
provider and Cigna, or as required by applicable state or Federal law.

The member is responsible for applicable in-network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the out-of-network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.
Important Notice on Mental Health and Substance Use Disorder Coverage

Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition
will be payable according to the Mental Health and Substance Use Disorder sections of the Medical Schedule.

Plan Deductible

The Plan Deductible is the amount of covered medical and prescription drug benefit expenses that must be
incurred (paid) by you and/or your Dependents each Plan Year before benefits are payable under this Plan.
Expenses paid by you and/or your dependents for covered network services and covered services outside the
network area will apply to the network deductible, but will not apply to the non-network deductible. Expenses
paid by you and/or your Dependents for covered non-network services will apply to the non-network deductible,
but will not apply to the network deductible.
If Dependent coverage is elected - For covered expenses that are subject to the deductible, benefits will be
payable at the Plan coinsurance for an individual family member who has satisfied the individual Plan Year
deductible even if the entire family has not yet met the family Plan Year deductible.

Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.

Non-Network Preventive Care - The Plan Deductible does not apply to expenses for Preventive Care services,
including lab tests and x-rays, and office visits.

Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.

The Plan Deductible applies to all covered expenses except:
 - expenses for contraceptives from a Network or outside the Network area provider




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
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BENEFITS SCHEDULE___
Individual Plan Year Deductible
- Network and outside the Network Area                                                             $3,200.00
- Non-network                                                                                      $6,400.00
Family Plan Year Deductible
- Network and outside the Network Area                                                             $6,400.00
- Non-network                                                                                     $12,800.00


Medical Management Program
Ineligible Expense Penalty per claim                                                                 $250.00


Out-of-Pocket Maximum

Plan Deductible and coinsurance amounts paid by you and your covered Dependents for network services and
services outside the network area accumulate to the Network and Services outside the Network Area Out-of-
Pocket Maximum.
Prescription drug coinsurance amounts paid by you and your covered Dependents for prescription drugs
purchased at a Network Pharmacy accumulate to the Network and Services outside the Network Area Out-of-
Pocket Maximum.

Plan Deductible and coinsurance amounts paid by you and your covered Dependents for non-network services
accumulate to the Non-network Out-of-Pocket Maximum.

The following expenses do not accumulate to the Out-of-Pocket Maximums:
- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Plan Year Out-of-Pocket Maximum for Network and Services outside the Network Area must be
met before covered expenses for network services and services outside the network area will be payable at 100%
for the remainder of that Plan Year.

The Individual Plan Year Out-of-Pocket Maximum for Non-Network must be met before covered expenses for
non-network services will be payable at 100% for the remainder of that Plan Year.

If the Family Plan Year Out-of-Pocket Maximum for Network and Services outside the Network Area is met,
then covered expenses for network services and services outside the network area for all covered family
Members, even those who have not yet met the Individual Plan Year Out-of-Pocket Maximum for Network and
Services outside the Network Area, will be payable at 100% for the remainder of that Plan Year.
If the Family Plan Year Out-of-Pocket Maximum for Non-Network is met, then covered expenses for non-
network services for all covered family Members, even those who have not yet met the Individual Plan Year
Out-of-Pocket Maximum for Non-Network, will be payable at 100% for the remainder of that Plan Year.


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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
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BENEFITS SCHEDULE___
Expenses paid by you and/or your dependents for covered network services and covered services outside the
network area will apply to the Network Out-of-Pocket Maximum, but will not apply to the Non-Network Out-
of-Pocket Maximum. Expenses paid by you and/or your dependents for covered non-network services will apply
to the Non-Network Out-of-Pocket Maximum, but will not apply to the Network Out-of-Pocket Maximum.
Plan Deductible does not apply after the Out-of-Pocket Maximum has been met.
Individual Plan Year Out-of-Pocket Maximum
- Network and Services outside the Network Area                                                   $3,200.00
- Non-Network                                                                                     $6,400.00
Family Plan Year Out-of-Pocket Maximum
- Network and Services outside the Network Area                                                   $6,400.00
- Non-Network                                                                                    $12,800.00

Benefit Maximum(s)
The benefit maximum(s) shown here are per person (Member), per Plan Year, unless otherwise noted.
- Home Health Care Services                                                                       60 visits
 Maximum does not apply to dialysis services in the home setting.
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                          60 days
- Outpatient Therapy Services - Physical Therapy                                                   20 visits
- Outpatient Therapy Services - Speech, Hearing and Occupational Therapy                           20 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Outpatient Therapy Services - Chiropractic Care Services                                         20 visits
- Transplant Services and Related Specialty Care - Approved Travel Expenses
(only available when using a Cigna LifeSOURCE Transplant Network® facility;                      $10,000.00
maximum is per transplant)
- Transplant Services and Related Specialty Care at facilities that are not Cigna
LifeSOURCE Transplant Network ® facilities (maximums are per transplant)
 * Heart                                                                                        $150,000.00
 * Liver                                                                                        $230,000.00
 * Bone Marrow                                                                                  $130,000.00
 * Heart/Lung                                                                                   $185,000.00
 * Lung                                                                                         $185,000.00
 * Pancreas                                                                                      $50,000.00
 * Kidney                                                                                        $80,000.00
 * Kidney/Pancreas                                                                               $80,000.00

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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
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BENEFITS SCHEDULE___
- Gene Therapy - Approved Travel Expenses to and from a network facility               $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                            gene therapy
- Condition-Specific Care Travel Services - Approved travel amount is variable, up
to the travel maximum per procedure, based on factors such as a patient's treatment
                                                                                             $600 per procedure
plan, location and duration of facility stay; and subject to program participation
requirements
                                                                                       $10,000.00 per episode of
- Advanced Cellular Therapy Travel
                                                                                       advanced cellular therapy
 (Available only for travel when prior authorized to receive advanced cellular
 therapy from a provider located more than 60 miles of your primary residence
 and is contracted with Cigna for the specific advanced cellular therapy product
 and related services.)

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.
Lifetime Maximum Benefit for all Covered Expenses                                                     Unlimited


Coinsurance for Covered Expenses (except Prescription Drugs)

“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.



                                                                          NETWORK           NON-NETWORK
                                                                                            70% of the
                                                                                            Maximum
Mental Health - Inpatient                                                100%
                                                                                            Reimbursable
                                                                                            Charge
Mental Health - Outpatient
                                                                                            70% of the
 - Office Visits (such as individual, family and group psychotherapy,                       Maximum
                                                                      100%
   medication management, virtual care)                                                     Reimbursable
                                                                                            Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%               Not Covered
                                                                                            70% of the
 - All Other Outpatient Services (such as partial hospitalization,                          Maximum
                                                                         100%
   intensive outpatient services, virtual care)                                             Reimbursable
                                                                                            Charge




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BENEFITS SCHEDULE___
                                                                          NETWORK          NON-NETWORK
                                                                                           70% of the
                                                                                           Maximum
Substance Use Disorders - Inpatient                                      100%
                                                                                           Reimbursable
                                                                                           Charge
Substance Use Disorders - Outpatient
                                                                                           70% of the
 - Office Visits (such as individual, family and group psychotherapy,                      Maximum
                                                                      100%
   medication management, virtual care)                                                    Reimbursable
                                                                                           Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%              Not Covered
                                                                                           70% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         100%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
Preventive Care
                                                                                           100% of the
                                                                                           Maximum
 - Preventive Care Office Visits                                         100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           100% of the
                                                                                           Maximum
 - Preventive Care Services other than lab tests and x-rays              100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           100% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in a provider's office                                               Reimbursable
                                                                                           Charge
                                                                                           100% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in an independent or outpatient facility                             Reimbursable
                                                                                           Charge
Office Visits and Office Services
 - Office Visits
                                                                                           70% of the
                                                                                           Maximum
  * Primary Care                                                         100%
                                                                                           Reimbursable
                                                                                           Charge




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BENEFITS SCHEDULE___
                                                                    NETWORK         NON-NETWORK
                                                                                    70% of the
                                                                                    Maximum
 * Specialist Care                                                  100%
                                                                                    Reimbursable
                                                                                    Charge
- Lab Tests performed in the provider's office
                                                                                    70% of the
                                                                                    Maximum
 * Primary Care                                                     100%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    70% of the
                                                                                    Maximum
 * Specialist Care                                                  100%
                                                                                    Reimbursable
                                                                                    Charge
- X-rays performed in the provider's office
                                                                                    70% of the
                                                                                    Maximum
 * Primary Care                                                     100%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    70% of the
                                                                                    Maximum
 * Specialist Care                                                  100%
                                                                                    Reimbursable
                                                                                    Charge
- Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
  nuclear medicine) performed in the provider's office
                                                                                    70% of the
                                                                                    Maximum
 * Primary Care                                                     100%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    70% of the
                                                                                    Maximum
 * Specialist Care                                                  100%
                                                                                    Reimbursable
                                                                                    Charge
- Office Surgery
                                                                                    70% of the
                                                                                    Maximum
 * Primary Care                                                     100%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    70% of the
                                                                                    Maximum
 * Specialist Care                                                  100%
                                                                                    Reimbursable
                                                                                    Charge

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BENEFITS SCHEDULE___
                                                                      NETWORK           NON-NETWORK
 - Other Office Services (such as diagnostic services, allergy
   injections)
                                                                                       70% of the
                                                                                       Maximum
  * Primary Care                                                      100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       70% of the
                                                                                       Maximum
  * Specialist Care                                                   100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       70% of the
                                                                                       Maximum
Convenience Care Clinic                                               100%
                                                                                       Reimbursable
                                                                                       Charge
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
                                                                                       70% of the
                                                                                       Maximum
 - Outpatient Facility                                                100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       70% of the
                                                                                       Maximum
 - Outpatient Ancillary Facility Charges                              100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       70% of the
                                                                                       Maximum
 - Outpatient Professional Services - Surgeon                         100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       70% of the
 - Outpatient Professional Services - Other (including but not limited
                                                                                       Maximum
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      100%
                                                                                       Reimbursable
   Based Doctors)
                                                                                       Charge
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:
                                                                                       70% of the
                                                                                       Maximum
 - Independent Facility                                               100%
                                                                                       Reimbursable
                                                                                       Charge




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BENEFITS SCHEDULE___
                                                                        NETWORK           NON-NETWORK
                                                                                          70% of the
                                                                                          Maximum
 - Outpatient Facility                                                 100%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          70% of the
Outpatient X-rays ordered as part of an Office Visit or outpatient                        Maximum
                                                                       100%
care and performed in an outpatient facility                                              Reimbursable
                                                                                          Charge
                                                                                          70% of the
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
                                                                                          Maximum
Scan and nuclear medicine) ordered as part of an Office Visit or       100%
                                                                                          Reimbursable
outpatient care and performed in an outpatient facility
                                                                                          Charge
Outpatient Dialysis Treatment                                          Based on place and Based on place and
                                                                       type of service    type of service
Inpatient Hospital
                                                                                          70% of the
                                                                                          Maximum
 - Inpatient Facility                                                  100%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          70% of the
                                                                                          Maximum
 - Inpatient Ancillary Facility Charges                                100%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          70% of the
                                                                                          Maximum
 - Inpatient Professional Services - Surgeon                           100%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          70% of the
 - Inpatient Professional Services - Radiologist, Pathologist,                            Maximum
                                                                       100%
   Anesthesiologist, other Hospital-Based Doctors                                         Reimbursable
                                                                                          Charge
                                                                                          70% of the
                                                                                          Maximum
 - Inpatient Professional Services - Doctor Visits/Consultations       100%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          70% of the
Urgent Care Facility (includes all services rendered as part of the                       Maximum
                                                                       100%
visit)                                                                                    Reimbursable
                                                                                          Charge
Emergency Room (includes all services rendered as part of the
                                                                       100%               100%
visit)

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BENEFITS SCHEDULE___
                                                                      NETWORK             NON-NETWORK
Air Ambulance                                                         100%                100%
                                                                                          100% of the
                                                                                          Maximum
Ambulance Services                                                    100%
                                                                                          Reimbursable
                                                                                          Charge
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                 Same as Inpatient   Same as Inpatient
                                                                      Hospital benefit    Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                         100%                Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                     Not Covered         Not Covered
                                                                                          70% of the
                                                                                          Maximum
 - Other Medical Pharmaceuticals                                      100%
                                                                                          Reimbursable
                                                                                          Charge
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                      Same as Medical
- Gene therapy product                                                                    Not Covered
                                                                      Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide     Based on place and
                                                                                         Not Covered
 the specific gene therapy                                            type of service
 * Other Network facilities                                           Not Covered         Not Covered
 * Non-network facilities                                             Not Covered         Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene       100%                Not Covered
therapy
Advanced Cellular Therapy
 Includes prior authorized advanced cellular therapy products and
 related services when Medically Necessary.
                                                                      Same as Medical
- Advanced Cellular Therapy Product                                                       Not Covered
                                                                      Pharmaceuticals
- Inpatient Facility                                                  100%                Not Covered
- Outpatient Facility                                                 100%                Not Covered
- Inpatient Professional Services


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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
                  - Continued
BENEFITS SCHEDULE___
                                                                     NETWORK             NON-NETWORK
 * Surgeon                                                           100%                Not Covered
 * Radiologist, Pathologist, Anesthesiologist                        100%                Not Covered
- Outpatient Professional Services
 * Surgeon                                                           100%                Not Covered
 * Radiologist, Pathologist, Anesthesiologist                        100%                Not Covered
- Advanced Cellular Therapy Travel                                   100%                Not Covered
                                                                                         70% of the
                                                                                         Maximum
Home Health Care Services                                            100%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         70% of the
                                                                                         Maximum
Skilled Nursing Facility                                             100%
                                                                                         Reimbursable
                                                                                         Charge
Hospice Care
 - Inpatient Hospice                                                 Same as Inpatient   Same as Inpatient
                                                                     Hospital            Hospital
 - Outpatient Hospice                                                Same as Home        Same as Home
                                                                     Health Care         Health Care
Contraceptives                                                       100%                Based on place and
                                                                                         type of service
Family Planning                                                      Based on place and Based on place and
                                                                     type of service     type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%                Based on place and
(excluding reversals)                                                                    type of service
                                                                                         70% of the
Breast-Feeding Equipment (rental of one breast pump per
                                                                                         Maximum
pregnancy up to the purchase price, and related supplies, when the   100%
                                                                                         Reimbursable
pump is ordered or prescribed by a Doctor)
                                                                                         Charge
                                                                                         70% of the
                                                                                         Maximum
Durable Medical Equipment                                            100%
                                                                                         Reimbursable
                                                                                         Charge
TMJ Treatment                                                        Based on place and Based on place and
                                                                     type of service     type of service




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
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BENEFITS SCHEDULE___
                                                                      NETWORK             NON-NETWORK
Outpatient Therapy Services - includes cognitive therapy,
osteopathic manipulation, pulmonary rehabilitation, cardiac
rehabilitation, and:
                                                                                         70% of the
                                                                                         Maximum
- Physical Therapy                                                    100%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         70% of the
                                                                                         Maximum
- Speech, Hearing and Occupational Therapy                            100%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         70% of the
                                                                                         Maximum
- Chiropractic Care Services                                          100%
                                                                                         Reimbursable
                                                                                         Charge
 Condition-Specific Care - Includes select Medically Necessary
  preauthorized services, supplies, and/or surgical procedures,
  subject to program participation requirements. Charges for
  covered expenses not preauthorized as included in the program are
  payable subject to any applicable copays, coinsurance, deductible.
                                                                     100%                Not Applicable
  If you choose to not actively enroll in the program, do not
  complete the program participation requirements, or utilize a
  provider who is not designated for the program, charges for
  covered expenses are payable subject to any applicable copays,
  coinsurance, deductible.
 Condition-Specific Care Travel Services - Approved travel
  amount is variable, up to the travel maximum per procedure,
  based on factors such as a patient's treatment plan, location and   100%               Not Applicable
  duration of facility stay; and subject to program participation
  requirements.
 Transplant Services and Related Specialty Care
 - Medically appropriate, non-experimental transplants
  * Cigna LifeSOURCE Transplant Network ® facilities                  100%               Not Covered
  * Other Network facilities                                          70%                Not Covered
                                                                                         70% of the
                                                                                         Maximum
  * Non-network facilities                                            Not Covered
                                                                                         Reimbursable
                                                                                         Charge
 - Approved Travel Expenses (only available when using a Cigna
                                                                      100%               Not Covered
   LifeSOURCE Transplant Network ® facility)
 Dedicated Virtual Providers

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BENEFITS SCHEDULE___
                                                                        NETWORK           NON-NETWORK
 Dedicated virtual care services may be provided by MDLIVE, a
  Cigna affiliate.
 Services available through contracted virtual providers as medically
  appropriate.
  Notes:
  - Primary Care cost share applies to routine care. Virtual wellness
    screenings are payable under preventive care.
  - MDLIVE Behavioral Services, please refer to the Mental Health
    and Substance Use Disorder section (above).
  - Lab services supporting a virtual visit must be obtained through
    dedicated labs.
MDLIVE Urgent Care Services                                             100%             Not Covered
MDLIVE Primary Care Services                                            100%             Not Covered
MDLIVE Specialty Care Services                                          100%             Not Covered
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
                                                                                         70% of the
                                                                                         Maximum
Primary Care Physicians Virtual Office Visit                            100%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         70% of the
                                                                                         Maximum
Specialty Care Physicians Virtual Office Visit                          100%
                                                                                         Reimbursable
                                                                                         Charge
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
                                                                                         70% of the
                                                                                         Maximum
Other Covered Expenses                                                  100%
                                                                                         Reimbursable
                                                                                         Charge


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 80%, except as indicated below.




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
                  - Continued
BENEFITS SCHEDULE___
- Preventive Care Office Visits                     100%
- Preventive Care Services other than lab tests
                                                    100%
  and x-rays
- Preventive Care lab tests and x-rays ordered as
  part of Preventive Care and performed in:
 * a provider's office                              100%
 * an independent or outpatient facility            100%
- Breast-Feeding Equipment (rental of one
  breast pump per pregnancy up to the purchase
                                                100%
  price, and related supplies, when the pump is
  ordered or prescribed by a Doctor)
- Contraceptives                                    100%
- Ambulance Services                                100%
- Emergency Room (includes all services
                                                    100%
  rendered as part of the visit)
- Transplant and Related Specialty Care
                                                    70% of the Maximum Reimbursable Charge
  Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).

A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.

To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.

You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov) are payable at 100% not subject to any deductible, copay or coinsurance, when
purchased from a Network Pharmacy. A written prescription is required.
FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.
Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.

Pre-Deductible Preventive Medications
Certain Generic Pre-Deductible Preventive Medications identified by Cigna and that are dispensed by a retail or
home delivery Network Pharmacy are not subject to the Deductible and Coinsurance. You may determine
whether a drug is a Pre-Deductible Preventive Medication through the website shown on your ID card or by
calling member services at the telephone number on your ID card.
Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.
As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
                                   - Continued
Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.
The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in the MEDICAL BENEFITS SCHEDULE may be reduced in order for Patient Assurance Program
discounts earned by Cigna to be applied or credited to the copay or coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in the
MEDICAL BENEFITS SCHEDULE for the insulin product. In addition, the covered insulin products eligible
for Patient Assurance Program discounts shall not be subject to the deductible, if any.
Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your deductible and counts toward your out-of-pocket maximum.
Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your deductible and counts
toward your out-of-pocket maximum.

Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.
Deductible
The prescription drug benefit is subject to the Plan Deductible shown on the MEDICAL BENEFITS
SCHEDULE. The Plan Deductible must be paid by you before the Plan begins to pay prescription drug benefits.
Out-of-Pocket Maximum

The prescription drug benefit is subject to the Out-of-Pocket Maximum shown on the MEDICAL BENEFITS
SCHEDULE.
Coinsurance



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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A coinsurance is the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you are required to pay under this Plan in addition to the Deductible, if any.
Retail Network Pharmacy - up to a 30-day supply

After you satisfy the Plan Deductible, the Plan pays 100% of the cost per Prescription Order or Refill for up to a
30-day supply of a covered Prescription Drug Product purchased at a retail Network Pharmacy.
Non-Network Pharmacy - up to a 30-day supply
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. You must pay the
Pharmacy 100% of the cost at the time of purchase and submit a claim for reimbursement.
Reimbursement for covered expenses will be based on the Network Pharmacy coinsurance and will
be subject to the Plan Deductible.


90-Day Retail Network Pharmacy - up to a 90-day supply
The 90-Day Retail option is not available for Specialty Prescription Drug Products.
After you satisfy the Plan Deductible, the Plan pays 100% of the cost per Prescription Order or Refill for up to a
consecutive 90-day supply of a covered Prescription Drug Product purchased at a retail Designated Pharmacy.
Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna
for dispensing covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies
per Prescription Order or Refill.
Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply
Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.

After you satisfy the Plan Deductible, the Plan pays 100% of the cost per Prescription Order or Refill for up to a
consecutive 90-day supply of a covered Prescription Drug Product purchased at a home delivery Network
Pharmacy.
Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
After you satisfy the Plan Deductible, you pay the Retail Network Pharmacy coinsurance per
Prescription Order or Refill for up to a consecutive 30-day supply of a Specialty Prescription Drug
Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical benefits, an eligible Employee, as determined by your Employer, is a person who is
in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Domestic Partner are eligible to be covered as Employees: A person who is eligible
as an Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered
as a Dependent of only one Employee.
If you are eligible to be covered as an Employee and as a Dependent child of another Employee:
Anyone who is eligible as an Employee will not be considered as an eligible Dependent or Dependent spouse
unless the Dependent or Dependent spouse declines Employee coverage. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be covered as an Employee while also covered as a
Dependent of an Employee.
It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.

Your Dependents must live in the United States to be eligible for coverage.
Eligible Dependents are:
    your legal spouse; or
    your Domestic Partner.
    a child under age 26.
Domestic Partner

“Domestic Partner” means the person, regardless of gender, named in the Affidavit of Domestic Partnership that
you have submitted to and has been approved by the Employer.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your covered Domestic Partner.
Handicapped/Disabled Child


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ELIGIBILITY___
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The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.
Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.
When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.
Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
 For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
 birth; and
 For any other adoptive child, from the date of placement.
■ What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.
Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.
A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights

For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.
If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.

A special enrollment event occurs if:



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WHEN COVERAGE BEGINS & ENDS___
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    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under another health
    insurance plan or arrangement and coverage under the other plan was lost as a result of:
    - Exhausting the maximum period of COBRA coverage; or
    - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
      status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
      the service area; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
      meets or exceeds the lifetime maximum for that plan; or
    - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
      class; or
    - Termination of the employer's contribution for the other plan's coverage.
    You must have stated in writing that the other health coverage was the reason you declined coverage under
    this Plan, but only if the Employer required such a statement and notified you of the consequences of the
    requirement when you declined coverage.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
    Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
    this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
    enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
    terminated.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
    state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
    request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
    Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
    assistance.
    You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
    do so and later experience a change in family status because you acquire a Dependent through marriage, birth
    or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
    Dependents.
If you apply within 30 days of the date:
    Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
    under the other plan.
    You acquire a new Dependent, coverage will start:
    - In the case of marriage, on the date of marriage.
    - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.
If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    What If I Was Covered Under the Employer's Prior Plan?
A Member who had similar coverage for medical and prescription drug benefits under the Employer's prior plan
on the date of its termination will be covered under this Plan on the Plan effective date.



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WHEN COVERAGE BEGINS & ENDS___
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Any waiting period under this Plan will be reduced by the part of the waiting period that had been satisfied
under the prior plan.
If a Member was on COBRA or any other continuation coverage or extension of benefits under the prior plan
and that plan terminated, coverage will be provided for that Member until the earlier of:
    The date on which coverage would end under the terms of the Plan; or
    The last day of the period for which coverage would have been provided had the prior plan not terminated.
If a Member was covered under any extension of benefits under the prior plan, the benefits provided under this
Plan will be the same as those provided by the prior plan, less any amount paid under the prior plan.
If you (Employee) were on Family and Medical Leave on the effective date of this Plan and you were covered
under the Employer's prior plan on the date of its termination, then you will become covered for the benefits
provided under this Plan as of its effective date.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.
All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES,
CONTINUATION OF COVERAGE - FMLA and CONTINUATION OF COVERAGE - COBRA.
■    Can Coverage Be Reinstated?
If your coverage ended because of termination of your Service, you may be eligible for reinstatement of
coverage if you return to Service within 3 months after the date your coverage ended.




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WHEN COVERAGE BEGINS & ENDS___
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On the date you return to Service, coverage for you and your eligible Dependents will be on the same basis as
that provided for any other active Employee and his or her Dependents as of that date. However, any restrictions
on your coverage that were in effect before your reinstatement will still apply.
See USERRA RIGHTS AND RESPONSIBILITIES for information about reinstatement of coverage upon
return from leave for military service.




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HEALTH SAVINGS ACCOUNT (HSA)___
The Medical Plan is a high deductible health plan (HDHP) as defined by the HSA law (Tax Code Sec. 223).
While you are enrolled in the Medical Plan, you may be eligible to contribute to a Health Savings Account
(HSA).
Please note that you are not eligible for an HSA if you are enrolled under Medicare, can be claimed as a tax
dependent on another person's tax return or are covered by another health plan that is not a high deductible
health plan.

A Health Savings Account is a tax-advantaged account for individuals covered under a high deductible health
plan. Funds in the account may be used to pay for qualified medical expenses. These are expenses for “medical
care” as determined by the IRS that are paid by you, your spouse or your tax dependents which are not paid or
payable by any health plan coverage. The expenses must be incurred after you have opened an HSA.
“Qualified medical expenses” are determined by IRS guidelines. Information about examples of qualified
medical expenses is available through the website on your health coverage ID card, HSA Plan Administrator or
the IRS. A list of qualified health care expenses is available through www.myCigna.com.

You will have to pay income tax and a penalty tax if HSA money is used for expenses that are not considered
qualified medical expenses.
A Health Savings Account is separate and apart from the Medical Plan. Even if your Employer elects to
contribute to your HSA, the HSA is not an employer-provided health or welfare benefit plan. An HSA, once
opened, is yours to keep. You can continue to contribute to and use your HSA even after you move your
coverage to a different HDHP. However, if you are no longer enrolled in a HDHP, you may only continue to
access your money in the HSA but may no longer contribute additional money until such time that you are
enrolled in another HDHP.
Your Employer has arranged with an HSA-qualified financial institution to serve as your HSA custodian/trustee
and HSA service provider. The HSA custodian/trustee or your Employer will provide you with HSA enrollment
forms, related materials and information. To open your HSA, you must complete and submit any necessary HSA
forms required by the HSA custodian/trustee and be found to meet the HSA custodian's requirements. You also
have an option of opening your HSA with another HSA trustee or custodian of your own choosing. Further
information about the HSA is available on the IRS website at www.treas.gov.
HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - PPO MEDICAL
BENEFITS___
■   How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.

Medical Management Program


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BENEFITS___
Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.
As used in this provision “you” refers to the covered Member.

Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.
If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.
You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.
Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.

Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.
Certain services and supplies require pretreatment authorization, including, but not limited to:
 Air Ambulance, when used for non-Emergency Medical Conditions.
 Durable medical equipment, based on type of equipment.
 Genetic testing.
 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)
The MEDICAL BENEFITS SCHEDULE shows deductibles any Plan maximums and Plan coinsurance payment
percentages.
The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and



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BENEFITS___
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit
Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:
  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then covered Hospital charges will be payable at the non-network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.


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BENEFITS___
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.
  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

Breast Reconstruction and Breast Prostheses




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BENEFITS___
The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.
See “Prescription Drugs” for information on coverage of contraceptives purchased from a licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies. Elective abortions are also covered.

Infertility Services

The Plan covers charges made for services related to diagnosis of infertility and treatment of infertility once a
condition of infertility has been diagnosed. This includes, but is not limited to:
  infertility drugs administered or provided by a Doctor.
  infertility drugs purchased from a Pharmacy. When covered under the prescription drug benefit, coverage will
  be subject to the provisions of the prescription drug benefit.

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BENEFITS___
  approved surgeries and other therapeutic procedures that have been demonstrated in existing peer-reviewed,
  evidence-based, scientific literature to have a reasonable likelihood of resulting in pregnancy.
  laboratory tests.
  sperm washing or preparation.
  artificial insemination.
  diagnostic evaluations.
  gamete intrafallopian transfer (GIFT).
  in vitro fertilization (IVF).
  zygote intrafallopian transfer (ZIFT).
  services of an embryologist.
Infertility is defined as the inability of opposite sex partners to achieve conception after one year of unprotected
intercourse; or the inability of a woman to achieve conception after six trials of artificial insemination over a
one-year period. This benefit includes diagnosis and treatment of both male and female infertility.

The following are specifically excluded:
  reversal of male and female voluntary sterilization.
  infertility services when the infertility is caused by or related to voluntary sterilization.
  donor charges and services.
  cryopreservation of donor sperm and eggs.
  any experimental, investigational or unproven infertility procedures or therapies.
Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.
In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.
Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.
A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.
Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.

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A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.
Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders

The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.
In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.
A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.
A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.




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BENEFITS___
Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.
  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.
Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.

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Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.

Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following: Multiple therapy services provided on the same day
constitute one day of service for each therapy type.

Home Health Care Services

The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.

Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.
Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.
Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.

Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.

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BENEFITS___
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;
  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;
but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.
Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Condition-Specific Care

The Condition-Specific Care benefit supports programs that are designed to help guide your care and may
reduce your out-of-pocket costs related to select Medically Necessary preauthorized services, supplies, and/or
surgical procedures.




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Contact Cigna at the phone number on your ID card for information about the programs available under the
Condition-Specific Care benefit. For the program you are interested in, a list of services, supplies, and/or
surgical procedures included under the program will be provided to you. In order to be eligible for Condition-
Specific Care benefits, you must enroll in an available program prior to receiving services, supplies, and/or
surgical procedure(s) covered under the program; fulfill your responsibilities under the program; receive your
care from a designated provider for the program; and this Plan must be your primary medical plan for
coordination of benefits purposes. To enroll in the program, contact Cigna at the phone number on your ID card.
If all requirements are met, and subject to Plan terms and conditions, the preauthorized services, supplies, and/or
surgical procedure(s) will be payable under the Plan as shown in the Condition-Specific Care benefit in the
Schedule.
Charges for covered expenses not included in the preauthorized services, supplies, and/or surgical procedure(s)
are payable subject to any applicable copays, coinsurance, and deductible.
If you choose to not actively enroll in the program, do not complete the program participation requirements, or
utilize a provider who is not designated for the program, charges for covered expenses are payable subject to any
applicable copays, coinsurance, and deductible.

Condition-Specific Care Travel Services - Charges for non-taxable travel expenses for transportation and lodging
incurred by you in connection with a pre-approved procedure or service under the program are covered subject
to the following conditions and limitations:
  You are the recipient of a preapproved procedure or service under the program.
  The service and/or procedure is received from a designated provider for the program.
  You need to travel more than a 60-mile radius from your primary residence.
The term “recipient” is defined to include a person receiving authorized procedures or services under the
program.
The travel benefit is designed to offset the recipient's travel expenses, including charges for: transportation to
and from the procedure or service site; and lodging while at, or traveling to and from, the procedure or service
site.
In addition, the travel benefit is designed to offset travel expenses for charges associated with the items above
for one companion to accompany you. The term companion incudes your spouse, a member of your family, your
legal guardian, or any person not related to you, but actively involved as your caregiver who is at least 18 years
of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income; travel costs incurred due to travel within a 60-mile radius of your home, depending on the procedure
being performed; food and meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for
transportation that exceed coach class rates.

Transplant Services and Related Specialty Care

The Plan covers charges for human organ and tissue transplant services, which include solid organ and bone
marrow/stem cell procedures at designated facilities throughout the United States of its territories. This coverage
is subject to the following conditions and limitations.


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Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures for
artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane oxygenation (ECMO)
ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are covered at the Non-Network level.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the Network level.
Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.
  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network ® facility.
  The term recipient is defined to include a person receiving authorized transplant related services during any of
  the following: evaluation, candidacy, transplant event, or post-transplant care.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network ® facility); and lodging while at,
  or traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.




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BENEFITS___
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs. Transplant travel expenses are
subject the Plan Deductible and will be applied to the Plan Year out-of-pocket maximum.

Advanced Cellular Therapy

Charges for advanced cellular therapy products and services directly related to their administration are covered
when Medically Necessary. Coverage includes the cost of the advanced cellular therapy product; medical,
surgical, and facility services directly related to administration of the advanced cellular therapy product, and
professional services.

Cigna determines which U.S. Food and Drug Administration (FDA) approved products are in the category of
advanced cellular therapy, based on the nature of the treatment and how it is manufactured, distributed and
administered. An example of advanced cellular therapy is chimeric antigen receptor (CAR) T-cell therapy that
redirects a person's T cells to recognize and kill a specific type of cancer cell.
Advanced cellular therapy products and their administration are covered at the in-network benefit level when
prior authorized to be received at a provider contracted with Cigna for the specific advanced cellular therapy
product and related services. Advanced cellular therapy products and their administration received from a
provider that is not contracted with Cigna for the specific advanced cellular therapy product and related services
are not covered.

Advanced Cellular Therapy Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a prior authorized advanced
cellular therapy product are covered, subject to the following conditions and limitations.

Benefits for transportation and lodging are available to you only when:
  you are the recipient of a prior authorized advanced cellular therapy product;
  the term recipient is defined to include a person receiving prior authorized advanced cellular therapy related
  services during any of the following: evaluation, candidacy, event, or post care;
  the advanced cellular therapy products and services directly related to their administration are received at a
  provider contracted with Cigna for the specific advanced cellular therapy product and related services; and
  the provider is not available within a 60 mile radius of your primary home residence.
Travel expenses for the person receiving the advanced cellular therapy include charges for: transportation to and
from the advanced cellular therapy site (including charges for a rental car used during a period of care at the
facility); and lodging while at, or traveling to and from, the site.

In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.


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BENEFITS___
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 mile radius of your primary home residence; food and
meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for transportation that exceed
coach class rates.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.
Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.
Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.

A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:


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BENEFITS___
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.
Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.
Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.

Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.




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In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling

The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.

Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.
The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).

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  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
    the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
    both of the following conditions are met:
    * the study or investigation has been reviewed and approved through a system of peer review comparable to
       the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
       and
    * the study or investigation assures unbiased review of the highest scientific standards by qualified
       individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.
  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.
Clinical trials conducted by out-of-network (non-network) providers will be covered only when the following
conditions are met:
  in-network providers are not participating in the clinical trial; or
  the clinical trial is conducted outside the individual's state of residence.
Prescription Drug Benefits



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BENEFITS___
As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on the Pharmacy that provides the Prescription Drug Product.
The drug benefit includes coverage of contraceptives.
Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.

When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.
Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.
Deductible - Your Plan requires that you pay the costs for covered Prescription Drug Products up to the
deductible amount set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Until you meet that
deductible amount, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy will be the lowest of the following amounts:
  the Prescription Drug Charge; or
  the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
The SCHEDULE sets forth your costs for covered Prescription Drug Products after you have satisfied the
deductible amount.
Coinsurance - Your Plan requires that you pay a coinsurance amount for covered Prescription Drug Products as
set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual
deductible set forth in the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product
dispensed by a Network Pharmacy and that is subject to a coinsurance requirement will be the lowest of the
following amounts:
  the amount that results from applying the applicable coinsurance percentage set forth in the SCHEDULE to
  the Prescription Drug Charge; or
  the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.

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BENEFITS___
You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the coinsurance as set forth in the PRESCRIPTION DRUG
BENEFITS SCHEDULE.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.

Prescription Drug List Management
Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.
The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date coverage status, utilization management, or other coverage limitations for a Prescription
Drug Product.

New Prescription Drug Products
New Prescription Drug Products may or may not be placed on the Prescription Drug List upon market entry.
Cigna will use reasonable efforts to make a decision for a New Prescription Drug Product within six months of
its market availability. Cigna's decision shall be based on consideration of, without limitation, the P&T
Committee's clinical review of the New Prescription Drug Product and economic factors. If a New Prescription
Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review Organization as
Medically Necessary in the interim, the New Prescription Drug Product shall be covered as set forth in the
Schedule.


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BENEFITS___
Prior Authorization Requirements
Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.
When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.
If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.
If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.
Step Therapy
Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.
Supply Limits
Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.


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Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.
Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.
Designated Pharmacies
If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered, or
the Prescription Drug Product may be subject to the non-network pharmacy benefit as shown on the
SCHEDULE.

Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.
  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).



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  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Virtual Care
Dedicated Virtual Providers
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring by dedicated virtual providers as medically appropriate through audio, video and secure internet-
based technologies.
Includes charges for the delivery of mental health and substance use disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as appropriate through audio, video and secure internet-based
technologies.
Virtual Physician Services
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring as medically appropriate through audio, video and secure internet-based technologies that are similar
to office visit services provided in a face-to-face setting.
Includes charges for the delivery of real-time mental health and substance use disorder consultations and
services, via secure telecommunications technologies that shall include video capability, telephone and internet,
when such consultations and services are delivered by a behavioral provider and are similar to office visit
services provided in a face-to-face setting.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which you are not obligated to pay and/ or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible and /or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense without Cigna's express
    consent.
  - charges of a non-Participating Provider who has agreed to charge you at an in-network benefits level or
    some other benefits level not otherwise applicable to the services received.
  - In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
    right to:
    * require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient
       to Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
       Cigna.
    * deny the payment of benefits in connection with the Covered Expense regardless of whether the provider
       or the Pharmacy represents that you remain responsible for any amounts that your plan does not cover, or
    * reduce the benefits in proportion to the amount of the Deductible, Copay or Coinsurance amount(s)
       waived, discounted, forgiven or reduced, regardless of whether the provider or Pharmacy represents that
       you remain responsible for any amounts that the Plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.

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BENEFIT LIMITATIONS___
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  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.
  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or urgent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
  not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
  evaluations, unless otherwise covered under this plan.
  court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
  service or supply under this Plan.
  medical and Hospital care costs for the child of your Dependent child, unless the child is otherwise eligible
  under this Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. However, charges made for a continuous course of dental treatment for an accidental Injury to teeth
  are covered. However, facility charges and charges for general anesthesia or deep sedation which cannot be
  administered in a dental office are covered when Medically Necessary.

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BENEFIT LIMITATIONS___
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 for medical and surgical services, initial and repeat, intended for the treatment or control of obesity including
 clinically severe (morbid) obesity, including: medical and surgical services to alter appearance or physical
 changes that are the result of any surgery performed for the management of obesity or clinically severe
 (morbid) obesity; and weight loss programs or treatments, whether prescribed or recommended by a Doctor or
 under medical supervision.
 reversal of male and female voluntary sterilization procedures.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 acupuncture.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs or smoking cessation programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.
 fees associated with the collection, storage or donation of blood or blood products, except for autologous
 donation in anticipation of scheduled services when medical management review determines the likelihood of
 excess blood loss is such that transfusion is an expected adjunct to surgery.
 blood administration for the purpose of general improvement in physical condition.


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BENEFIT LIMITATIONS___
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  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  all nutritional supplements, formulae, enteral feedings, supplies and specially formulated medical foods,
  whether prescribed and not, except as specifically provided in the “Enteral Nutrition” benefit.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).
  any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
  prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.
  medications used for cosmetic or anti-aging purposes, including, without limitation, medications used to
  reduce wrinkles, medications used to promote hair growth, and fade cream products.
  Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
  lost, stolen, broken or destroyed.
  Medical Pharmaceuticals covered solely under the Plan's medical benefit.

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BENEFIT LIMITATIONS___
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 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis unless specifically identified on the Prescription Drug List.
 immunization agents, virus detection testing, virus antibody testing, biological products for allergy
 immunization, biological sera, blood, blood plasma and other blood products or fractions unless specifically
 identified on the Prescription Drug List.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.

For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
If you obtain a covered Prescription Drug Product dispensed by a non-network Pharmacy, then you must pay the
non-network Pharmacy for the Prescription Drug Product and then submit a claim to Cigna for any
reimbursement or benefit you believe is due to you under this Plan. You can obtain a claim form through the
website or by calling Members Services at the phone number shown on your ID card.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.




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You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.
Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.

If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations




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When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.
If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.

However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations




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When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination

Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.

Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure




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To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.
Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.
You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.

If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.




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When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal

Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.


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Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.

Definitions

For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.


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  “Claim Determination Period” means a Plan Year, but does not include any part of a year during which you are
  not covered under this Plan or any date before this provision or any similar provision takes effect.
  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.
When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan



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The Coordination of Benefits provision is applied throughout each Claim Determination Period.
If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.
When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.

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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner (including Domestic Partners as
defined in the Plan). However, when Medicare coverage is due to disability, the Disability payer explanations
above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions



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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.
No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.
Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.
Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.

Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding list placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.

Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.



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GLOSSARY___
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Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician

A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition



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GLOSSARY___
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A medical condition, including a mental health condition or substance use disorder, manifesting itself by acute
symptoms of sufficient severity (including severe pain) such that a prudent layperson, who possesses an average
knowledge of health and medicine, could reasonably expect the absence of immediate medical attention to result
in placing the health of the individual (or, with respect to a pregnant woman, the health of the woman or her
unborn child) in serious jeopardy; serious impairment to bodily functions; or serious dysfunction of a bodily part
or organ.

Emergency Services

With respect to an Emergency Medical Condition, a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital or emergency department, as are required to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  MyComputerCareer, Inc.; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.

Generic Drug




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         - Continued
A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

Maintenance Drug Product

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A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

See the Schedule for information about Out-of-Network Charges for Certain Services, Out-of-Network
Emergency Services Charges, and Out-of-Network Air Ambulance Services Charges.
The Maximum Reimbursable Charge (also referred to as MRC) is the maximum amount that your plan will pay
a provider who is not a network provider (an out-of-network provider) for a Covered Expense. Your applicable
copayment and/or coinsurance and deductible amount(s), if any, set forth in the Schedule are determined based
on the MRC. Unless prohibited by applicable law or agreement, providers who are not network providers may
also bill you for the difference between the MRC and their charges, and you may be financially responsible for
that amount. If you receive a bill from a provider who is not a network provider for more than the What I Owe
amount on the Explanation of Benefits (EOB), please call Cigna at the phone number on your ID card.
If an out-of-network provider is willing to agree to a rate that Cigna, in its discretion, determines to be market
competitive, then that rate will become the MRC used to calculate the allowable amount for a Covered Expense.
An out-of-network provider can agree to a rate by: (i) entering into an agreement with Cigna or one of Cigna's
third-party vendors that establishes the rate the provider is willing to accept as payment for the Covered
Expense; or (ii) receiving a payment from Cigna based on an allowed amount that Cigna or one of Cigna's third-
party vendors has determined is a market competitive rate without billing you and/or obligating you to pay the
difference between the payment amount and the charged amount.
If a provider who is not a network provider does not agree to a market competitive rate as described in the
previous paragraph, then the MRC will be based on an amount required by law, or if no amount is required by
law, then the lesser of:
  the provider's normal charge for a similar service or supply; or
  the Employer-selected percentage of a fee schedule Cigna has developed that is based upon a methodology
  similar to a methodology utilized by Medicare to determine the allowable reimbursement for the same or
  similar service or supply within the geographic market. In the event that Medicare does not have a published
  rate for a particular service or supply, Cigna may, in its discretion, determine the MRC based on a rate for the
  same or similar service or supply by applying a Medicare-based methodology that Cigna deems appropriate.
The percentage used to determine the Maximum Reimbursable Charge is 110%.
The Maximum Reimbursable Charge is subject to all other benefit limitations and exclusions and Cigna's
applicable Coverage Policies, Reimbursement Policies, and other coding and payment methodologies.
Additional information about how Cigna determines the Maximum Reimbursable Charge is available upon
request.




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Note: Some providers attempt to forgive, waive, or not collect the cost share obligations (e.g., your copays,
coinsurance and/or deductible amount(s), if any, that this Plan requires you to pay. This practice jeopardizes
your coverage under this Plan. Please read the General Limitations and Exclusions section, or call Cigna at the
phone number on your ID card for more details.

Medical Pharmaceutical

Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

Medically Necessary/Medical Necessity

Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies




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The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy

A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.

New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication




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The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

Pharmacy

A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical benefits described in this booklet.

Plan Year

JANUARY 1 of one year to DECEMBER 31 of the next year.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug Product




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A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.
Prescription Order or Refill

The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Pre-Deductible Preventive Medication

Pre-Deductible Preventive Medications are certain Prescription Drug Products that the Treasury Department and
IRS have deemed to be preventive care under Section 223(c)(2) of the Internal Revenue Code, and can therefore
be provided by high deductible health plans on a pre-deductible basis. Pre-Deductible Preventive Medications
are used to prevent a disease that has not yet manifested itself or not yet become clinically apparent or to prevent
the reoccurrence of a disease from which a person has recovered, such as Prescription Drug Products with
demonstrated effectiveness in primary or secondary disease prevention. The term Pre-Deductible Preventive
Medication does not include medications covered at 100% as required by PPACA per preventive services
guidelines (“PPACA Preventive Medication”), the terms of coverage for which are addressed separately in this
plan.

Review Organization

The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product




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A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by list
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize

With respect to an Emergency Medical Condition, to provide medical treatment as necessary to assure that no
material deterioration of the condition is likely if the individual is transferred from a facility, or, with respect to a
pregnant woman who is having contractions, to deliver.

Terminal Illness

A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

Therapeutic Alternative

A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees
Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents



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Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical coverage that you (the Employee) had in
effect for yourself and your Dependents.
“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical Coverage

Under USERRA, you are eligible to elect continued medical coverage for yourself and your Dependents when
you terminate Service with the Employer for the purpose of Uniformed Service.
The Employer should establish reasonable procedures for electing continued medical coverage and for payment
of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.

However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage
If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
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Period of Continued Coverage

During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.
Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.

COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.
To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
                                             - Continued
  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.
For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.
After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction in the Employee's work hours to below 30 hours per week, even if it does not result in the
  employee losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child
  intend to enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage
  is effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  Employee: enrollment in an Exchange Marketplace qualified health plan (QHP) when the Employee is eligible
  for a special enrollment period to enroll in a QHP through an Exchange (Marketplace) or the Employee seeks
  to enroll in a QHP through an Exchange during the Marketplace's annual open enrollment period, and the
  disenrollment from the group plan corresponds to the intended enrollment of the Employee and family in a
  QHP through a Marketplace for new coverage effective beginning no later than the day immediately following
  the last day of the original coverage.
  Family: A plan may allow an Employee to revoke family coverage midyear in order for family members
  (“related individuals”) to enroll in a QHP through an Exchange (Marketplace). The related individual(s) must
  be eligible for a special enrollment period to enroll in a QHP or seek to enroll in a QHP during the
  Marketplace's annual open enrollment period, and the disenrollment from the group plan corresponds to the
  intended enrollment of the individual(s) in a QHP for new coverage effective beginning no later than the day
  immediately following the last day of the original coverage. If the Employee does not enroll in a QHP, the
  Employee must select self-only coverage or family coverage including one or more already-covered
  individuals.

Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: MyComputerCareer, Inc.

The name, address, ZIP code and business telephone number of the Employer is:
  MyComputerCareer, Inc.
  346 Raleigh Street
  Holly Springs, NC 27540
  919-261-6459
The Employer Identification Number (EIN) is: XX-XXXXXXX
The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above
The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.
Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.




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ERISA GENERAL INFORMATION___
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The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending December 31.

The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.

Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.


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STATEMENT OF ERISA RIGHTS___
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Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries

In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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                    Exhibit 18
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For Tomorrow ®

2024 Benefits
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Para obtener una versión de este folleto en español, llame 800-964-3373.

This booklet highlights some of the main features of                               Certain aspects of this communication may not apply
WM’s 2024 benefits and includes information about                                  to team members covered under a current collective
eligibility and enrolling. It also serves as a Summary of                          bargaining agreement. For more information, please
Material Modifications (SMM) and contains changes to                               contact your HR Representative.
the benefits described in your latest Health & Welfare
Benefits Summary Plan Description (SPD).




Top Tips for Managing Your Benefits
        Keep your contact information current and
        up-to-date (WM Now > People @ WM > MyHR)

        Review/assign a beneficiary for your WM benefit
        plans — life insurance and 401k (WM Now >
        People @ WM > WM Total Rewards)

        Review your 2024 Benefits in detail. Take
        advantage of free plans/offerings (WM Now >
        People @ WM > WM Total Rewards)

        Stay alert/watch for company communications
        — don’t miss out on important benefits deadlines




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Eligibility
Full-time team members (regularly scheduled to work at       Benefits generally begin on your 91st day of
least 30 hours per week) are eligible for most benefits on   employment, as long as you enroll in a timely manner.
their 91st day of employment. Eligibility for the Employee   If you are not actively at work on that day, life and
Stock Purchase Plan (ESPP) and long-term care insurance      disability coverage begins the first day you return to
is somewhat different; see Pages 28 and 29 for details.      work. Benefit coverage generally ends on the last day
                                                             of the month that the team member separates from
You may also cover:                                          employment. In most cases, dependent coverage
•   Legal spouse                                             ends on the same day your coverage ends. However,
•   Dependent children to age 26 for medical, dental,        for enrolled dependent children who reach age 26,
    vision, life and AD&D                                    coverage ends on the last day of the month following
•   Dependent children from age 18 to 26 for Your            the child’s 26th birthday.
    Tomorrow education benefit
                                                             If you and your spouse both work for WM ...
Dependent children include:                                  ... and are eligible for the benefits program, neither
•   Biological, foster and legally-adopted children          you nor your spouse can be covered both as a team
•   Children placed in your home for legal adoption,         member and as a dependent. This means:
    from the date of placement                               • Each of you is covered as a team member in the
•   Grandchildren born to your eligible dependent                 life insurance plan and may not be covered as a
    child, provided both live in your home                        dependent spouse
•   Stepchildren living in your home                         • Your eligible dependent children can only be
•   Children for whom you are the legal guardian                  covered by one parent under all benefit plans
•   Eligible children age 26 and above who are unable
    to support themselves because of a mental or
    physical disability (proof of disability required)




New baby? Just married?
Newly-added dependent?
Action Needed!
You will need to provide documentation certifying
eligibility for your newly-added dependent. This is a
requirement for WM’s dependent eligibility rules, so
watch your mail for important time-sensitive notices
explaining the dependent verification process and
submission deadlines. To view verification status,
submit documents and access helpful information,
visit the Dependent Verification Center website
at mywmtotalrewards.com. On the homepage, click on
the Message Center icon in the upper, right corner of
the page. There will be a link for Dependent Audit.




mywmtotalrewards.com                                                                               2024 Benefits | 3
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Enrolling
As a newly-eligible team member, you must enroll to participate in certain benefit plans, and you participate
automatically in others when you become eligible:


                        Benefits                                          Enrollment required?
                         Medical                                                      Yes

                          Dental                                                      Yes

                          Vision                                                      Yes

     Employee Assistance Program (EAP) - Confide                                      No

              Flexible Spending Accounts                                              Yes
   Basic Life and Accidental Death & Dismemberment                              For you, no.
                   (AD&D) Insurance                                         For dependents, yes.
           Optional Life and AD&D Insurance                                           Yes

          Short-Term and Long-Term Disability                                         No
            Critical Illness Insurance — Basic                      No (if enrolled in a WM medical plan)
                        — Optional                                                    Yes
                    Legal Services Plan                                               No

                     Long-Term Care                                                   Yes

         Employee Stock Purchase Plan (ESPP)                                          Yes
                                                                  If you don’t enroll, you will automatically
            401(k) Retirement Savings Plan
                                                                              be enrolled at 3%
           Backup Child/Adult Care/Pet Care                                           No

           Your Tomorrow Education Benefit                           For you, no. For dependents, yes.

               Student Loan Refinancing                                               No

           Caregiver Support/Parent Support                                           No

                 WM Discount Programs                                                 No


New team members have 90 days from date of hire            have a qualified life status change during the year; see
to enroll (this means you must enroll before you           Changing Your Coverage During the Year on Page 7).
become eligible).
                                                           Temporary or contract-to-permanent team members
Rehired team members may need to enroll within             will have the previous contract/temp time worked at
30 days of their return to WM or within 90 days            WM counted toward the 90-day benefits probationary
(depending on the situation; see your enrollment kit       period, if you are a direct hire to a full-time position
for your specific deadline).                               with no break in employment.

Currently-enrolled team members may only change            In these instances, you will have 30 days from your hire
elections each year during annual enrollment (unless you   date to enroll for benefits.




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Three ways to enroll: mobile, online or telephone
ONLINE ENROLLMENT
Enrolling online is fast and easy. Go to mywmtotalrewards.com or to the WM Now App > People @ WM >
WM Total Rewards and the system will guide you.

New team member enrollment
1.   Click New User? You’ll need the last four digits of your Social Security number, your birth date and home ZIP code.
2.   Create a user ID and password. Be sure to create a hint in case you forget your password.
3.   Click on the Enroll in Your Benefits To-Do and you will be taken to the New Hire Enrollment page.
4.   Click Explore Your WM Benefits to take a video tour.
5.   Listen to the benefits information and click the Enroll button.

Annual enrollment
1. Enter your user ID and password then click Log On.
2. Click on the Annual Enrollment banner.
3. Review the Checklist and Learn about your benefits.
4. To allow the system to highlight important benefits and provide enrollment guidance, click on Continue.
   Otherwise, click on Review on my own.
5. Review your options, make your selections and submit your enrollment. You will see a “Your Enrollment is
   Confirmed” page.

Print a copy for your records. If you do not see this page, your elections have not been saved.


TELEPHONE ENROLLMENT
If you don’t have internet access, you can enroll by calling the Benefits Center at 800-964-3373. You will need
your user ID and phone PIN — which is different than your online password. Remember: if you have a WM email
address, you must enroll online.


DID YOU FORGET YOUR USER ID OR PASSWORD?
If so, click on Forgot User ID or Password. Provide the last four digits of your Social Security number and your
birthdate, and your user ID will be provided to you. If you don’t remember your password, click Forgot Password.
On the next screen, select the option that best works for you. You have three options to choose from:
1. Text: If your mobile number is on file, then
   receive an access code by text.
2. Phone: If your phone number is on file, then
   receive an access code by phone.                             Upcoming security changes to your Benefits Account access:
                                                                The WM benefits center takes your information seriously and in
3. Email/Postal Mail: if your email is on file, receive
                                                                order to better safeguard your data, certain security protocols
   the password reset via email or alternatively by             will be implemented. Starting 12/19/2023, only account
   postal mail. Allow 5–7 business days for mail.               holders (employees) will be able to secure the account
                                                                telephonically with the Phone Pin. A spouse/domestic partner,
                                                                dependent(s), or third party(ies) will be unable to access the
                                                                employee’s account when they call the Benefits Center. In the
                                                                event that someone other than the account holder calls to
                                                                request information, the account holder MUST be on the line
                                                                to secure the account and provide permission.




mywmtotalrewards.com                                                                                        2024 Benefits | 5
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Confirmation
Whether you enroll online or by phone, you need to         •   If you enroll by phone, the Benefits Center
confirm your elections.                                        representative will confirm your elections over the
• If you enroll online, you must see the “Your                 phone and mail you a confirmation statement. Your
   Enrollment is Confirmed” page to know your                  benefit choices cannot be changed until the next
   elections have been saved. If your email address            annual enrollment unless you have a qualified life
   was on file before you made your elections,                 status change (see Page 7).
   an email will be sent to you confirming your
   enrollment was received.


If you don’t enroll
New team members
You’ll have only the company-paid benefits for ‘self’ (team member only): basic life and AD&D, short-term and long-
term disability, legal services, Your Tomorrow Education Benefit and Employee Assistance Program (EAP) — Confide.

Current team members

If you are enrolled in:                    For 2024 you will:
 Med 900                                   Have Med 900 at 2024 plan design and rates

 Med 1200                                  Have Med 1200 at 2024 plan design and rates

 Med 1600                                  Have Med 1600 at 2024 plan design and rates
 The High-Deductible Health Plan with      Have the same plan at 2024 rates, with no HSA employee
 HSA option                                contribution. You will still receive WM’s contribution to your account.
                                           Have similar coverage, if available in 2024, at 2024 rates. Otherwise,
 HMO/Out of Area
                                           you will default into this option: Med 1200
 Waived Medical                            Not have medical coverage
                                           Receive WM’s contribution to your account, but your contribution
 Health Savings Account
                                           amount will default to $0
 Dental Plan (PPO or DHMO)                 Have the same plan at 2024 rates
 Vision Plan                               Have the same plan at 2024 rates
                                           Not participate in a flexible spending account in 2024; you must
 Flexible Spending Accounts
                                           enroll each year
 Optional Life and AD&D                    Have the same election at 2024 rates
 ESPP                                      Have same election as the July – December 2024 offering period
 Employees Care Fund                       Continue contributing at the same contribution amount




   WM Benefits Center
   If you receive a confirmation statement that is not correct, call the Benefits Center at 800-964-3373 within
   14 days from the date on the statement and speak to a representative.




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Cost
The company pays the entire cost for some benefits, you    you the cost. Your contributions for medical, dental,
and the company share in the cost of others, and you can   vision, flexible spending accounts, health savings
participate in optional benefits at your own expense.      account and the 401(k) plan are paid on a pre-tax
                                                           basis each paycheck. Your contributions for optional
When you enroll online, your cost is shown to you          life insurance, ESPP, Employees Care Fund and Roth
before you confirm your selections. If you enroll on       401(k) contributions are deducted from your pay on an
the phone, the Benefits Center representative will tell    after-tax basis.




Changing Your Coverage
During the Year


          Changes?                                            *About divorce and court orders for medical coverage:
          800-964-3373                                        A former spouse cannot be covered as your dependent
                                                              on a WM medical plan. You must report a legal separation
          Call the Benefits Center to update your             or divorce to the Benefits Center within 30 days.
          benefit selections before the deadline.




You may only change your elections during the year         deadline, you must wait until the next annual enrollment
if you have a qualified life status change and report it   period to make a change. Note: Your elections in
before the deadline.                                       the 401(k), ESPP, Employees Care Fund and Your
                                                           Tomorrow education benefit may be changed more
Within 30 days of these events:                            often; see each section for details.
• Dependent child’s loss of benefit eligibility
• Marriage, legal separation, annulment or divorce*        Special rule: New children may be added after the
• Death of a spouse or dependent                           60-day limit only if the addition does not change your
• Termination or commencement of                           per-pay-period contribution.
    spouse’s employment
                                                           WHEN COVERAGES END
Within 60 days of these events:                            In general, your coverages end on the last day of the
• Birth or adoption of a child                             month that:
• Dependent child’s loss of other health coverage,         • Your employment with WM ends (e.g., you retire,
    including Medicaid or Children’s Health Insurance          quit or are otherwise terminated, including a layoff)
    Program (CHIP)                                         • You are no longer eligible to participate
Any benefit change must be consistent with the             • You stop making required contributions for
qualified life status change you have. If you miss the         plan coverage
                                                           • You elect to terminate coverage




mywmtotalrewards.com                                                                                2024 Benefits | 7
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Medical
Health benefits are a significant part of your total pay
and provide important protection for you and your
family. WM offers several health plan options for you to             Seeking weight loss,
choose from:                                                         high blood pressure
•   Three Cigna PPO plans
                                                                     management, or
•   A high-deductible plan with health savings                       diabetes control?
    account (HSA)
                                                                     Omada Health is confidential user-
•   An HMO (health maintenance organization),
                                                                     friendly digital lifestyle change program
    if available in your area
                                                                     that combines the latest technology with
•   BCBS Exclusive, if available in your area
                                                                     ongoing support, so you can make the
•   To waive your health plan
                                                                     changes that matter most. It’s an approach
                                                                     shown to help you lose weight and reduce
Choosing a medical plan                                              the risks of type 2 diabetes, heart disease
                                                                     and other chronic illnesses.
To help you make an informed choice, use the plan
comparison tool on mywmtotalrewards.com. Here’s how                  You’ll receive the program at no additional
to get started:                                                      cost if you, or your covered adult dependents
                                                                     are enrolled in a Cigna or Blue Cross
•   Choose who’s covered for medical
                                                                     Blue Shield medical plan have high blood
•   Personalize estimates of your future medical expenses
                                                                     pressure, are at risk for diabetes or a current
•   Search for a doctor in the network
                                                                     diabetic and are accepted into the program.
•   Review the overall annual cost estimate and choose
                                                                     You can log in to omadahealth.com/wm to
    the plan that you want
                                                                     see if you qualify.
•   Download the Cigna app, where you can access
    your digital cards
•   Physical ID cards will no longer be issued

You can also view Summaries of Benefits and Coverage (SBCs) that provide information about health plans in
a standard written format. Find your SBC by visiting the homepage of mywmtotalrewards.com. Click on the
Document Library quick link at the center of the page. A paper copy is also available, free of charge, by calling the
Benefits Center.




    In search of an alternative perspective?
    If you and your family are facing a health care challenge, from a new diagnosis or possible surgery to a
    medication change, 2nd.MD lets you discuss your treatment options with a top expert on your condition by
    video conference or phone. It’s the private, confidential second opinion you need — and it’s available at no
    cost to you through your WM medical benefits. Your parents (and your spouse’s parents) may also use this
    service. You must activate your account to request a consultation through 2nd.MD. Go to the Programs tab of
    mywmtotalrewards.com and click the 2nd.MD tile to get started.




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Select your plan
You can select a plan that best suits you and
your family.


WHICH PLAN BEST MEETS YOUR NEEDS?

Med 900 (in- and out-of-network coverage)
• In-network deductible —
   individual $900/family $2,700
• In-network coinsurance — 70%
• Copay prescription benefit


Med 1200 (in-network coverage only)
• In-network deductible —
   individual $1,200/family $3,600
• In-network coinsurance — 70%
• Copay prescription benefit

Med 1600 (in-network coverage only)
• In-network deductible —
   individual $1,600/family $4,800
• In-network coinsurance — 70%
• Copay/coinsurance prescription benefit


HDHP (in- and out-of-network coverage)                             The Health & Life tab
• In-network deductible —                                          displays Your Health Care Expenses. You can
  individual $1,600/family $3,200                                  view a year-to-date summary of doctor visits
• In-network coinsurance — 80% after deductible                    and see how much you’ve spent on medical,
• Copay/coinsurance prescription benefit — 80%                     dental and prescription drugs.
  after deductible



                               Med 900               Med 1200           Med 1600                      HDHP
Network Option       In-network   Out-of-network   In-network only    In-network only    In-Network     Out-of-network
Deductible
Individual           $900         $2,500           $1,200             $1,600            $1,600        $3,000
Family               $2,700       $7,500           $3,600             $4,800            $3,200        $6,000
Coinsurance          70%          50%              70%                70%               80%           50%
Out-of-pocket max
Single               $4,500       $9,000           $5,500             $6,350            $6,350        $11,500
Family               $9,000       $18,000          $11,000            $12,700           $12,700       $23,000
Pharmacy benefit     Copay        No coverage      Copay benefit      Copay/            80% after     50% after
Details on page 13   benefit                                          coinsurance       deductible    deductible




mywmtotalrewards.com                                                                                  2024 Benefits | 9
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Medical

   Things to consider:
   •   If you and your dependents have convenient access to network providers, you may want to consider an
       in-network only plan
   •   If you and your dependents want the freedom to go to providers outside the network, the Med 900
       in- and out-of-network plan may be for you.
   •   Preventive screenings are covered at 100% (in-network) under all options.
   •   Emergencies are always covered at the in-network level regardless of which plan is chosen.




   Struggling with
   discomfort and soreness?
   Team members and their dependents, enrolled
   in Cigna or Blue Cross Blue Shield medical
   plan, get zero-cost access to Hinge Health’s
   digital therapy programs for back or joint pain.
   Once enrolled in the program, Hinge Health
   will create a customized care plan just for
   you. From there, your health coach or physical
   therapist will guide you through exercise
   therapy in the Hinge Health app. When you
   join Hinge Health, you may get

   •   Wearable sensors to help guide stretches
       and exercises
   •   Personalized physical therapy and a dedicated
       care team
   •   Unlimited one-on-one health coaching

   Go to hingehealth.com/wm to learn more and
   get started.



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Health Savings Accounts and High-Deductible Health Plans
The combination of a high-deductible health plan          member-only coverage or $400 if you enroll yourself
(HDHP) and a health savings account (HSA) can be          plus any dependents; annual amount is prorated for
a good approach to address your health care needs         partial-year enrollment. When you complete Be Well
now and in the future. Here’s a summary of how that       Bucks activities (see Pages 15 – 17), you can receive
combination works.                                        additional HSA contributions from WM. You may also
                                                          contribute your own money, and the total amount
HSAs are savings accounts for qualified health            contributed cannot be more than the IRS limits.
expenses. To contribute to an HSA, you must be            Contribution limits for 2024 are:
covered by an HDHP and not be covered by any other        • $4,150 for individual coverage and $8,300 for 		
first-dollar medical coverage. For example, if your           family coverage (You can contribute an additional
spouse has a PPO medical plan and you are covered             $1,000 if you are age 55 and older)
by it, you cannot contribute to an HSA.
                                                          Note: These limits are based on a calendar year. If you
HOW IT WORKS                                              had another HSA during the year (such as an individual
You decide how much to put in, and all contributions      HSA or through another employer), total contributions
are tax-free. If you don’t use all the money in your      are limited to the IRS maximums. For complete details,
HSA, it carries over to the next year — you will never    see the IRS Publication 969.
lose it. You can use this money to pay for health care
expenses such as copays, deductibles, coinsurance,        You never lose this money. Anything you don’t use rolls
eyeglasses, contact lenses and even certain over-the-     to the next year. Some people use these accounts to save
counter supplies. Or, you can pay those expenses          tax-free money for medical expenses when they retire.
from your own pocket and build a balance that can be      PLANNING TIPS
used in the future.
                                                          If you cover any dependents in your HDHP, you must
• Your HSA belongs to you, and you take it with you
                                                          meet the family deductible before the HDHP pays
    if you leave WM for any reason — change jobs,
                                                          anything. There are no copays for doctor’s office
    retire, move, etc.
                                                          visits or prescription drugs. Rather, you pay the full
• You can use your HSA for health care expenses,
                                                          cost for these services until you meet your deductible
    including dental, acupuncture, massage therapy,
                                                          (with the exception of certain preventive services,
    vision, prescriptions, etc.
                                                          which are covered at 100% with no copay, whether
• Money in your account at the end of the year
                                                          or not the deductible has been met). Then, you pay
    accumulates from year to year without restrictions.
                                                          your coinsurance amount until you’ve paid an amount
• HSA deposits are tax-free and can earn interest.
                                                          equal to your out-of-pocket maximum. After that, the
    Funds can be withdrawn tax-free to cover qualified
                                                          plan pays 100% of covered expenses.
    medical expenses.
• You can set it up when you enroll (easiest way —
                                                          You can use your HSA for all eligible medical, dental
    with convenient payroll deductions, so you get the
                                                          and vision care expenses. Do you need a limited-use
    tax savings in every paycheck).
                                                          health care flexible spending account? (See Page 20.)
HOW MUCH TO PUT IN AN HSA                                 One reason you might is if you want to max out your
A good rule of thumb for people who need the              HSA (remember, you never forfeit HSA money, so you
money for current medical expenses is to put in at        can keep it in that account for the long term) and also
least your deductible. IRS regulations limit the total    set aside tax-free money for dental and vision care.
amount that can be contributed to an HSA each year.
WM contributes an annual amount of $200 for team
                                                              Refer to page 20 for more information
                                                              on Limited-Use Health Care FSA.




mywmtotalrewards.com                                                                         2024 Benefits | 1 1
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Confide — An Employee Assistance Program
Confide (EAP) is a valuable resource accessible to all
eligible WM team members and their families. This program
is designed to offer confidential support and assistance in
various aspects of life. If you need help solving personal
issues or want to work through mental and emotional
health struggles, tackle stressors or better balance your life,
a Confide navigator can put you on the right path to better
manage stress, address depression and anxiety, cope with
illness and adjust to life challenges.

Confide is available 24/7/365, is free and confidential,
and can be used by anyone in your household.

You are eligible for 6 visits with a therapist — in-person
or virtual visits per concern each year. To connect to            EAP Counselor. This confidential support system
a Confide Navigator: Call 800-862-3558 and select                 aims to enhance the overall well-being of you and
“Confide Navigator and EAP” and a personal guide will             your family, ensuring that you have the necessary
assist you. For online support, visit mycigna.com >               tools and assistance to address life’s challenges and
Coverage > EAP and Confide Navigator, select Visit an             maintain a healthy work-life balance.



Mental health and substance abuse services
                                                                  In addition to the comprehensive medical benefits
                                                                  included in your plan, mental health and substance
                                                                  abuse services are an integral part of the coverage
                                                                  provided. For HMO members, you can expect
                                                                  similar comprehensive coverage tailored to your
                                                                  specific plan. When it comes to addressing mental
                                                                  health or substance abuse concerns, you’re not
                                                                  alone in navigating this journey. You can reach out
                                                                  to our dedicated support line at 800-862-3558,
                                                                  where a wide range of mental health and substance
                                                                  abuse treatment services are readily available.

                                                                  The clinical staff, committed to assisting you and
                                                                  your family, is accessible 24 hours a day, ensuring
                                                                  that help is always within reach when you need it
                                                                  most. It’s important to note that pre-certification
                                                                  is a requirement for all inpatient and alternative
                                                                  levels of care, both in-network and out-of-network.
                                                                  This step is crucial to ensure that you receive the
                                                                  necessary approvals for treatment. Without pre-
                                                                  certification, claims may be denied, potentially
                                                                  causing undue financial burdens. We are here to
                                                                  guide you through this process and help you access
                                                                  the care you or your loved ones require, promoting
                                                                  the overall well-being of our team members.


1 2 | 2024 Benefits
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MDLIVE
WM team members and family members enrolled in
any WM medical plan have access to the MDLIVE
telemedicine option.                                               Virtual house calls
                                                                  24/7/365 access by phone, online video or
Use MDLIVE for 24/7/365 access to non-urgent care by
                                                                  secure email
board-certified primary care doctors and pediatricians
by phone, online video or secure email. It’s a virtual
house call, whether you are at home, traveling or in the
office — and it’s the same cost as a visit to your primary care provider. You’ll need to register before using the
service. Go to the Programs tab of mywmtotalrewards.com and click the MDLIVE tile for more information.




Prescription Drugs
Here is a snapshot of the prescription drug program that includes the retail and home delivery components:


                                                       Copay                           Copay/coinsurance

                                                                     Non-                                   Non-
                                           Generic    Preferred                Generic     Preferred
                                                                   preferred                              preferred

  30-day                                                                                      40%         60%
  supply              In-network              $5        $30           $60         $5      coinsurance coinsurance
   Retail                                                                                  $75 max     $100 max
 pharmacy
                    Out-of-network                                You will pay 100% of the cost.



                90-day network retail        $15        $90           $180       $15          40%         60%
  90-day                                                                                  coinsurance coinsurance
  supply                                                                                   $225 max    $300 max
                Cigna Home Delivery
 Pharmacy                                    $15        $90           $180       $15
                     Pharmacy

                 Any other pharmacy                               You will pay 100% of the cost.


mywmtotalrewards.com                                                                               2024 Benefits | 1 3
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Prescription Drugs
About generics and preferred drug lists (formularies)
When you fill your prescription through a retail            brand-name prescription drug that is listed on this
pharmacy, you automatically receive the generic             preferred drug list (also called a formulary) than
equivalent (when available and permitted by law).           for a non-preferred, brand-name drug. To find out
However, you or your doctor may request that your           what your prescription will cost before you go to
prescription be filled with a brand-name medication. In     the pharmacy, go to mywmtotalrewards.com and
this case, you are responsible for paying the difference    navigate to cigna.com. Choose prescriptions from
between the brand-name and generic drug, in addition        the main menu and then choose Price a Medication.
to any other copay/coinsurance amounts that apply.          Type in your medication strength and quantity to see
                                                            what your cost will be.
The plan also has a list of preferred brand-name
drugs that are covered. Your cost is less for a


About specialty medications
Specialty medications are generally administered            If you are prescribed a specialty medication, you
through injection or infusion, and treat rare or complex    only pay 10% of the cost, up to $110 for generic or
diseases that require clinical management. They can cost    preferred brands, and up to $160 for non-preferred
thousands of dollars per dose. WM’s specialty pharmacy      brand medications. For more information about how
benefit helps make these drugs more affordable.             to use this program, call 800-545-6534.
                                                                                              Need help
Health maintenance organizations (HMOs)                                                       spending less on
Depending on where you live, you may be eligible for                                          prescriptions?
                                                       the HMO. During enrollment, you may search     for and

                                                                                              We’ve       got you
an HMO. If so, it will be listed online, or a Benefits select a PCP on mywmtotalrewards.com by using the
Center representative can tell you. Details on the HMO Find A Doctor, Dentist or Hospital quick link at the
option can be found online if you are eligible. HMOs
often use primary care physicians (PCPs) to manage
                                                       center of the homepage.                covered.
                                                            Note: The prescription drug benefits described in this
your medical needs. If you enroll in an HMO, you may                                              Have you used Rx Savings
                                                            booklet may not be applicable if you select an HMO.
need to choose a PCP for each person covered by
                                                                                             WM brings you a trusted
                                                                                             service, created and run by
                                                                                             pharmacists, that helps you
    BCBS members will not receive a separate prescription ID card from Cigna. Members should register  onof your
                                                                                             take control
    myCigna or download the myCigna mobile app to access their digital prescription ID card. prescription drug costs.

    For participating pharmacies, go to mywmtotalrewards.com, navigate to mycigna.com and choose
    Prescriptions and Find a Pharmacy, or call the WM team at 800-545-6534.

                                                                                                  Activate your account now to
                                                                                                  pay less for prescriptions.

Rx Savings Solutions                                                                              Get started at myrxss.com



As a Cigna and BCBS member, you and your covered
                                                                 Activate                                             Scan the QR code
                                                                                                                      to download the
dependents are eligible for this free and confidential           your account                                         RxSS mobile app
                                                                                                                      and activate your
service that can help lower your prescription drug costs.                                                             account.
                                                                 Scan the QR code to download
Activate your account to see all the ways you can save           the RxSS mobile app and activate your account.
money on the medications you’re already taking.


1 4 | 2024 Benefits
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Be Well Bucks
Be Well Bucks are part of your WM Total Rewards.
Be Well Bucks are money from WM that (if enrolled in a WM
medical plan) can be used for eligible health care expenses      Who’s eligible?
paid out-of-pocket, including copays, coinsurance and
                                                                 •   WM team members enrolled for coverage
deductibles at the doctor, dentist or pharmacy (vision
                                                                     in any WM medical plan
expenses are not eligible). You earn them by completing
                                                                 •   Spouses enrolled for coverage in a WM
the wellness activities for up to $300 per eligible
                                                                     medical plan
participant ($600 total per family). Be Well Bucks are
deposited into your account beginning January 1, 2024.



Track the activities you complete:

 1     Biometric screening
       Required before Be Well Bucks can be                   Know your numbers. Complete blood pressure,
       deposited into your health reimbursement or            cholesterol, blood sugar, waist circumference
       health savings account.                                and body mass index (BMI) screening. Complete
                                                              your health screening form (available at
       Complete at an onsite event, with your doctor,         mywmtotalrewards.com) and return to Cigna.
       or at a LabCorp Patient Service Center
       (voucher needed).



                                                                 You can earn Be Well Bucks from September 1
                                                                 — August 31. Be Well Bucks accumulate year
                                                                 over year and do not expire.




mywmtotalrewards.com                                                                         2024 Benefits | 1 5
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Be Well Bucks
Track the activities you complete:

 2      Health assessment — $50                            Get an annual physical and/or well
                                                           woman exam — $50 each
      Go to myCigna.com > Wellness > My Health
      Assessment                                          Complete with your doctor. Receive Be Well Bucks
      Fill out a confidential questionnaire that asks     when your claim is processed.
      you about your health and well-being and            A preventive exam that’s used to reinforce good
      provides a personalized recommendation based        health and address potential and chronic problems.
      on your current health.

                                                           Get a mammogram screening — $50
        Get a flu shot — $50                               (NEW FOR 2024)
      Complete at an onsite event, with your doctor
                                                          Up to 90% of breast cancers are detected through
      or pharmacy.
                                                          vital mammogram screenings. Act now and give
      Team members can present their WM pharmacy
                                                          yourself the best chance for early detection and
      card at participating pharmacies. Get a seasonal
                                                          peace of mind.
      vaccination to protect against yearly
      influenza viruses.
                                                           Get a colon cancer screening — $100
        Achieve health goals — $50 each                    (NEW FOR 2024)
      Measure health goals with a medical                 Schedule your colon cancer screening today. Early
      professional. Measurements recorded on              detection of colon cancer leads to effective treatment
      Health Screening Form. Measurements can be          options and better outcomes.
      resubmitted if improvements are achieved.
      • Achieve a healthy body mass index (BMI) of
          <30 or improve weight by 5%.                     Preventive dental (up to two per year)
      • Achieve a healthy blood pressure of 139/89         — $25 Each (NEW FOR 2024)
          or improve blood pressure to a healthy level.
                                                          A preventive dental exam is used to reinforce good
      • Achieve a healthy waist circumference of 35”
                                                          health and address potential and chronic problems.
          (women) or 40” (men) or less.
                                                          To complete this goal, schedule an appointment with
                                                          your dentist for a dental cleaning and preventive exam.
      Alternative available: receive a physician
      alternative/waiver.




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 Disease Prevention/Progression Programs                 Participate in an onsite live webinar
 — $100 each (NEW FOR 2024)                              or in-person EAP group presentation
                                                         provided by the EAP program — $50
    •   Omada diabetes prevention program — reduce
                                                         (NEW FOR 2024)
        your weight by 5% compared to your initial
        weight at the beginning of the program          Whether you participate virtually or in person, don’t
        (eligible once per lifetime). This online       miss the chance to gain valuable insights and personal
        program offers support for healthy weight       growth while enhancing your well-being journey.
        loss and better nutrition, which helps reduce
        the risk for developing diabetes.
                                                         Complete a WM-organized walker tracker
        OR                                               challenge (up to two per year) — $25 each
    •   Complete 16 lessons in the Omada program
                                                         (NEW FOR 2024)
        for hypertension and type 1 or 2 diabetes. If
                                                        Join the WM-organized walker tracker challenge
        you have been diagnosed with hypertension
                                                        and step towards a healthier you. Engage in this
        and/or type 1 or 2 diabetes, enroll in
                                                        semi-annual challenge to track your daily strides and
        this digital coaching program offered in
                                                        embrace an active lifestyle.
        partnership with Omada to learn how to
        better manage your health.


 Participate in a company-wide wellness
 challenge (up to two per year) — $50 each

Programs promoted onsite.
Participate in health and wellness activities with
your family and peers.


mywmtotalrewards.com                                                                         2024 Benefits | 1 7
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Dental
The dental plan helps pay the cost of dental expenses and is
designed to promote and encourage preventive dental care. You
may choose coverage for yourself and your eligible family members:
                                                                                     NEW in 2024
                                                                                     You can earn Be Well Bucks
•   Cigna Dental PPO                                                                 for preventive screenings.
•   Cigna Dental Exclusive (DHMO) – Only available in select
    areas. If this option is available in your area, it will be listed as
    an option when you enroll.


                                                                                                 Cigna Dental Exclusive
                                               Cigna Dental PPO coverage
                                                                                                   (DHMO) coverage

                                         In-network                   Out-of-network                   In-network

Annual deductible                                                                              No deductible
Individual                      $50                            $75
Family                          $150                           $225
Preventive services
Routine checkups                100%                           90%                             100%
(2 per year)
Basic services                  80% after                      70% after                       100%
Fillings (traditional or        deductible                     deductible
white), extractions
Major services                  50% after                      40% after                       50%
Crowns, bridges,                deductible                     deductible
dentures, implants
Annual plan                     $2,500 per person              $2,500 per person               No maximum
maximum benefit
Orthodontia services            50% after                      50% after                       50%
Adult and child                 deductible                     deductible
Orthodontia maximum             $2,500 per lifetime,           $2,500 per lifetime,            No maximum
                                per person                     per person




                                                                            Find a dentist
                                                                            To locate a PPO dentist in your area, select
                                                                            the Find a Doctor, Dentist or Hospital
                                                                            quick link at mywmtotalrewards.com.




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Vision
When you participate in the vision plan, you receive        any provider; however, when you visit a participating
discounts on services and supplies such as exams,           EyeMed provider, you pay less for covered services
eyeglasses and contact lenses. Benefits are provided        and supplies.
through the EyeMed Insight network. You may visit


                 EyeMed                              In-network                          Out-of-network

 Vision exam                            Plan pays 100%                        Plan reimburses up to $50
 1/person/year*

 Eyeglass lenses                        Plan pays 100% after $25 copay
 1 pair/person/year*                    (polycarbonate lenses for
 Single                                 dependent children)                   Plan reimburses up to $50
 Lined bifocal                                                                Plan reimburses up to $75
 Lined trifocal                                                               Plan reimburses up to $100

 Covered frames                         Plan pays up to $160 after $0 copay
 Children: 1 pair/person/year*          PLUS Providers - Plan pays up to      Plan reimburses up to $70
 Adults: 1 pair/person/2 years*         $210 after $0 copay

 Contact lenses                         Plan pays up to $160. Additional $20 Plan reimburses up to $120
 Normal or disposable/year*             allowance with contactsdirect.com

LASIK                                   15% off the retail price or 5% off    $500 allowance
                                        the promotional price, less $500
                                        allowance

*Calendar year                                               Additional discounts
                                                             • 40% off a second pair of prescription glasses
Note: Download the EyeMed app to view benefits and           • 20% off non-prescription sunglasses
eligibility status, pull up ID cards, find providers and     • 20% off remaining balance beyond plan coverage
view special member offers.                                  • 40% off hearing exams and a low price guarantee
                                                                on discounted hearing aids (in-network only)
Use frame and contact lens allowance in the same
benefit year.




   NEW Eye360!
   As an EyeMed member, you receive enhanced
   benefits when you visit a PLUS Provider. No promo
   codes, no coupons, no paperwork!

   You get an additional $50 enhanced frame allowance.

   PLUS Providers are available nationwide in over
   4,500 convenient, easy to find locations, including
                                                                         Look for the PLUS Provider mark.
   independent, retail and online options.




mywmtotalrewards.com                                                                            2024 Benefits | 1 9
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Your Flexible Spending Accounts
Flexible spending accounts (FSAs) give you a way           You may contribute from $120 to $3,200 each year.
to save money on health and dependent day care
                                                           COORDINATING WITH YOUR BE WELL ACCOUNT
expenses by using pre-tax money you’ve contributed
to your account to reimburse yourself for the expense.     If you have money in your Be Well HRA or HSA, your
There are two accounts:                                    Be Well Account will reimburse/pay any eligible
• The Health Care FSA gives you tax savings                medical expense up to the amount available in your
    on eligible health care expenses for you and           account before funds are used from your Health Care
    your dependents.                                       FSA or Limited-Use Health Care FSA. You can manage
• The Dependent Day Care FSA gives you tax savings         your account to deduct funds from your FSA first by
    on eligible day care expenses for dependent            updating your preferences at mycigna.com. Choose
    children, an elderly parent residing in your home      Profile, and select Reimbursement Preferences.
    or your disabled spouse. This account is not for
    dependent medical expenses.                            THINGS TO CONSIDER
THE HEALTH CARE FLEXIBLE
SPENDING ACCOUNT
Your Health Care FSA reimburses you for health care          •   Do you have medical expenses such as
expenses that aren’t covered by medical, dental,                 copays or deductibles?
vision or other insurance plans, including copays
                                                             •   Are you and your spouse working parents
and deductibles. You also can receive reimbursement
                                                                 with children in day care and/or summer
for certain over-the-counter supplies, such as
                                                                 day camp?
bandages, insulin and diabetic supplies. Over-the-
counter medications require a doctor’s prescription          •   Do you have an elderly parent who depends
to be eligible for reimbursement. For a list of eligible         on you for support and needs day care?
expenses, go to mywmtotalrewards.com and click on
the Health Care Spending Account quick link.




    Limited-Use
    Health Care FSA
    If you participate in the High Deductible Health
    Plan with an HSA, you may participate in a
    Limited-Use Health Care FSA. This means that
    FSA funds can be used to reimburse eligible
    dental and vision care expenses only.




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THE DEPENDENT DAY CARE FLEXIBLE                             •   The care is needed so that both you and your
SPENDING ACCOUNT                                                spouse (if married) can work or attend school
Save on child care expenses and/or care for a disabled          full time
spouse or elderly parent living in your home. Dependent     •   The amount to be reimbursed is not greater
care expenses can be paid through the Dependent Day             than your income or the income of your spouse,
Care FSA if:                                                    whichever is lower (specific rules apply if your
• Your eligible dependents are your dependent                   spouse is a full-time student or is disabled)
    children under the age of 13 (or disabled
    dependent children of any age), your elderly parent     You may contribute from $520 to $5,000 each year.
    claimed as a dependent on your income tax return,
    or your disabled spouse



OTHER THINGS TO NOTE


    •   If you use a day care center that cares for
        six or more individuals at the same time, the
        facility must be licensed.

    •   You’ll be required to provide the tax
        identification or Social Security number of your
        dependent care provider.

    •   Expenses cannot be paid to your own child
        who is under age 19, or to anyone else you
        claim as a dependent.




HOW FSAs WORK:
•   Decide the total dollar amount you want to put into         pharmacy claims. (See automatic reimbursement on
    one or both accounts for the year.                          Page 23.) The Be Well Account will reimburse/pay
•   The money is put into your account(s) in equal              any eligible expense, up to the amount available in
    amounts through pre-tax payroll deductions.                 the account, before funds are used from your FSA.
•   If you participate in a Cigna medical plan, and/or      •   If you are not in a Cigna plan or you have other
    the dental and vision plans, when you have an               expenses, you may submit claims online (you may
    eligible expense during the year, it is automatically       have to send copies of receipts as well).
    submitted for reimbursement. This includes              •   You’ll be paid back — reimbursed — with tax-free
                                                                money from your account.




mywmtotalrewards.com                                                                            2024 Benefits | 2 1
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You don’t pay federal or Social Security taxes on FSA money — which means you can save money in taxes. Most
people save at least 20% on eligible expenses by using an FSA. Here’s an example of how a family can save with
both a Health Care and Dependent Day Care Account:


          Eligible expenses                  Without spending accounts                With spending accounts
Health Care Account:
Medical copays/deductibles/                                   $600                               $600
coinsurance
Dental deductibles/coinsurance                                $400                               $400
Over-the-counter drugs with                                   $330                               $330
prescription
Prescription drug copays                                      $125                               $125
Total expenses                                       $1,455 (after-tax)                     $1,455 (pre-tax)
Taxes paid* on $1,455 of income                       $364 (in taxes)                         $0 (in taxes)
Total out-of-pocket                                           $1,819                             $1,455
Savings with Health Care Account                                                                 $364
Dependent Day Care Account:
After-school program (12 months)                              $2,400                            $2,400
Summer day camp                                               $800                               $800
Total expenses                                       $3,200 (after-tax)                     $3,200 (pre-tax)
Taxes paid* on $3,200 of income                       $800 (in taxes)                         $0 (in taxes)
Total out-of-pocket                                           $4,000                            $3,200
Savings with Dependent Day                                                                       $800
Care Account


*Assumes state, federal and Social Security taxes of approximately 25%; your savings may be different.

YOUR REIMBURSEMENT ACCOUNT ONLINE
Access Your Reimbursement Account at any time by
logging on to mywmtotalrewards.com. You can:                           Faster
• Submit your claims and review claim status
• Learn about eligible expenses                                        reimbursement
• Check your current account balances                                  Enroll for direct deposit payment
• Sign up for direct deposit of your reimbursements                    to your bank account. Log on to
                                                                       mywmtotalrewards.com and click on
If you have questions or need assistance, call the
                                                                       Reimbursement Accounts. You’ll need to
Benefits Center at 800-964-3373. Representatives are
                                                                       provide your account information so you
available to take your call weekdays from 7 a.m. to 7 p.m.,
                                                                       can get your money faster.
Central time.

REIMBURSEMENT
There are two ways for you to be reimbursed: through
automatic reimbursement or by filing claims. You may
receive reimbursement in either case by direct deposit
or check.


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AUTOMATIC REIMBURSEMENT                                  •   Online — Go to mywmtotalrewards.com and click
If you participate in a WM medical plan (other than          the HC FSA or DC FSA quick link, then click on
an HMO), and/or the WM dental and vision plans, the          Create Health Care Claim under Take Action, or use
expenses you pay out of pocket are automatically             the mobile app.
submitted for reimbursement — there’s no need to         •   Paper — If you don’t have internet access, you can
submit claims. (This includes pharmacy expenses.) If         get a paper claim form by calling the Benefits Center.
you do not want automatic reimbursement, you can         You must send a signed form to the Benefits Center,
opt out of this feature (contact the Benefits Center)    along with supporting documentation, such as an
and file claims as described next.                       EOB (explanation of benefits) from your health plan (if
FILING CLAIMS                                            claiming health care provider expenses) or itemized
                                                         receipts. If you don’t fax or mail this supporting
For expenses that are not automatically reimbursed,      documentation with your completed claim, your claim
you have options for submitting claims:                  will not be processed and you won’t be reimbursed.



                                                  Key dates
                                                        Payroll deductions up to the contribution amount you
January 1, 2024, through December 31, 2024
                                                        elected for 2024
January 1, 2024, through March 15, 2025                 Incur eligible expenses and file claims for 2024
                                                        All claims must be filed for expenses incurred through
April 30, 2025
                                                        March 15, 2024


PLAN CAREFULLY                                                year for eligible expenses incurred on or before the
IRS rules require that you forfeit money left unused          date you terminate employment. You may continue
in your account. You can’t change your contributions          participating in the Health Care FSA, subject to
during the plan year unless you have a qualified life         the provisions of COBRA. Contributions to this
status change, so plan carefully. If your employment          account while you are on COBRA must be paid on
ends for any reason, your tax-free contributions              an after-tax basis.
to your FSAs stop. However, you may receive              •    From the Dependent Day Care FSA — up to the
reimbursement for eligible expenses:                          amount credited to your account prior to your
• From the Health Care FSA — up to the contribution           termination for expenses that you incur before the
    amount you elected at the beginning of the plan           date you terminate employment.




    Smart-Choice mobile app
    You can access your account to:         •   Upload compatible files on
    • Check balances and payments               your phone
    • Review alerts and claim history       For more information, go to
    • Submit claims                         mywmtotalrewards.com and click
    • Upload claim documentation            Reimbursement Accounts.
       using your phone’s camera




mywmtotalrewards.com                                                                          2024 Benefits | 2 3
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Life and AD&D Insurance
Life and AD&D (accidental death & dismemberment)            that is 6x your pay or higher (even if only one level up)
insurance pays benefits in the event of your death          or if it exceeds $750,000.
or the death of a dependent. The plan also pays a
                                                            Any changes made to your basic and optional life
tax-free benefit if you or a dependent are paralyzed or
                                                            insurance amounts while on a leave of absence will go
loses a limb, vision, speech or hearing, or dies due to
                                                            into effect if and after you actively return to work.
an accident.

BASIC LIFE AND AD&D INSURANCE                               For costs of optional life and AD&D insurance, go to
The company pays the full cost to provide life and          mywmtotalrewards.com and review your choices. If you
AD&D coverage for:                                          don’t have internet access, contact the Benefits Center
• You — 1x your annual pay                                  and speak to a representative. If you use tobacco, the
• Your spouse — $5,000                                      cost for optional life and AD&D insurance is higher.
• Your child — $2,500
                                                            A tobacco user is one who has used cigarettes, cigars,
Remember: You must enroll your dependents for this          pipes, chewing tobacco or snuff within the past
basic coverage. If you do not, you will not receive this    36 months.
company-paid dependent coverage.

OPTIONAL LIFE AND AD&D INSURANCE                            THINGS TO CONSIDER
You may buy additional life and AD&D insurance for
yourself for coverage of 1x to 8x your annual pay.
As a new hire, you will be required to provide evidence         •   Do you depend on your spouse’s income?
of insurability if you elect an amount that exceeds the
                                                                •   Do you have enough savings to meet
lesser of 3x your annual pay or $750,000.
                                                                    expenses in the event of a spouse’s or
                                                                    dependent’s death?
After your initial enrollment period, you are required to
provide evidence of insurability any time you increase
your coverage by more than one level, for any amount




Annual pay
Annual pay means your hourly rate as of August 1, 2023,
times 40 hours, times 52 weeks (or your annual base
pay plus eligible commissions); $25,000 minimum
for hourly team members; $56,000 for incentive-paid
drivers. It does not include bonuses or overtime.




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                                                              New hires may choose spouse coverage up
                                                              to $30,000 and child coverage up to $25,000
                                                              without evidence of insurability.

                                                              Current team members may enroll dependents
                                                              or increase coverage
                                                              for dependents each year during annual
                                                              enrollment. Evidence of insurability is required
OPTIONAL LIFE AND AD&D INSURANCE FOR                          for increases in spouse optional life insurance
YOUR DEPENDENTS                                               greater than one level over your spouse’s
You may buy life and AD&D insurance for your                  current coverage. Note: Elections for more than
spouse and children. You must be enrolled in optional         $30,000 will require that your spouse provide
coverage for yourself to elect additional coverage for        evidence of insurability.
your dependents.

You may choose the following coverage amounts:            NAME A BENEFICIARY
• Spouse: minimum of $10,000, maximum of                  It is important that you name a beneficiary to
   $100,000, in $10,000 multiples (cannot be more         receive your life insurance benefit. You can name and
   than 50% of your own optional coverage)                update your WM life insurance beneficiary by going
• Children: $5,000, $10,000 or $25,000                    to the Health & Life tab of mywmtotalrewards.com
                                                          and selecting Manage Beneficiaries. You need to
Premiums for team members and spouse optional
                                                          go through the process to name the beneficiary for
life insurance are based on age and tobacco usage.
                                                          your basic life insurance benefit and, if you have it,
Dependent child coverage includes all your dependent
                                                          your optional life insurance benefit. Remember to
children for one contribution (premium) amount.
                                                          check your beneficiary designation from time to time,
You are automatically the beneficiary of any dependent    especially when you have a family event that may
life insurance benefits. The full AD&D amount (equal      require you to change it (e.g., marriage, divorce, birth,
to the life insurance amount) is also payable to you if   adoption or death).
your spouse or children have certain injuries or die as
a result of an accident.


mywmtotalrewards.com                                                                           2024 Benefits | 2 5
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Disability Plan
Short-term and long-term disability coverage provides income if you are ill or injured and cannot work. The company
pays the full cost of this coverage that provides a guaranteed level of income based on your current rate of pay.

Annual pay means your base hourly rate times 40 hours, times 52 weeks (or annual base pay plus eligible
commissions). Your disability must be certified by a physician and approved by the disability claims administrator.
Disability benefits begin after you have been disabled for a defined period of continuous disability:
• For sickness or hospitalization, benefits begin on the eighth day
• For accident, benefits begin on the first day

SHORT-TERM DISABILITY                                       LONG-TERM DISABILITY
Generally, the short-term disability plan pays a benefit    Long-term disability coverage provides continuing
of 60% of your pay. The benefits end when you are           income if you are disabled for more than 180 days
no longer disabled, when the short-term disability          and cannot work. This plan pays a benefit of 60% of
period ends (maximum of 26 weeks) or when you are           pay and typically begins paying after your short-term
transitioned to long-term disability benefits.              disability benefits end.



    Sedgwick                                                    New York Life Group
    (leave/short-term disability)                               Benefit Solutions
    844-601-6700                                                (long-term disability)
                                                                mynylgbs.com
                                                                888-842-4462



Critical Illness Insurance
Critical illness insurance can supplement your medical      You are automatically covered for the basic benefit
coverage by helping you pay for additional, unplanned       amount ($3,000) if you are enrolled in a WM medical
medical expenses or other indirect costs if you are         plan in 2024. You have the option of purchasing an
diagnosed with a covered critical illness such as a         additional $3,000 for yourself (for a total of $6,000)
heart attack or aggressive cancer. The plan pays            or additional for yourself and basic coverage for your
a lump sum benefit that can be used to cover                spouse. If you use tobacco, the cost of additional
costs, including:                                           coverage is higher.
• Lost wages
• Prescription drugs
• Medical copays
     and deductibles                                            Access Cigna Critical
• Alternative treatments
• Travel to see a specialist
                                                                Illness Insurance
• Help around the house                                         Scan the QR code to view
• Child care                                                    plan details or to file a claim.




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LeagalEASE Plan
The LegalEASE Plan helps you plan for the future and            •    Estate planning (wills, trusts, powers of attorney
prepare for the unexpected. Services are FREE (with                  and healthcare directives) — Our self-service portal
the exception of attorney representation, which is                   guides you through the estate-planning process
provided at a discount). Coverage includes:                          and provides attorney review. You also have the
• Legal services                                                     option to work directly with a local attorney in
• Financial planning                                                 person on your estate planning documents.
• ID theft protection                                           •    Local attorney representation at 25% discount for
                                                                     personal services — divorce, child custody, name
ADVICE SESSIONS                                                      changes, real estate, lawsuits, debt collections and
Meet with LegalEASE attorneys and financial                          many more ...
professionals to get answers to your legal and
financial questions. Sessions are free and easy to              FINANCIAL SERVICES
sign up for via the LegalEASE Plan online portal at             •    Unlimited financial counseling with coaches
mywmtotalrewards.com.                                           •    Financial resources online
LEGAL & FINANCIAL LIBRARIES &                                   •    Financial planning advice sessions with
ONLINE RESOURCES                                                     licensed professionals

The LegalEASE Plan includes articles, interactive courses,
                                                                ID THEFT PROTECTION
pre-formatted documents, webinars and videos.
                                                                With just a few simple steps, you can protect your
LEGAL SERVICES                                                  identity and take advantage of restoration services, all
The plan provides a wide range of services that                 included in your LegalEASE Plan.
include the following:

•   Traffic ticket representation at no cost
•   Online downloadable legal documents with
    attorney review



REAL-LIFE EXAMPLE


    In the whirlwind of having a child, there’s going to be plenty on
    your mind. Stress can take on a new form, and your life may
    feel out of balance. How does a child impact your finances
    and plans for the future? In new and uncertain times, your
    LegalEASE Plan can provide key advice and guidance on the
    issues that matter the most.

    Legal
    Update your                                     LegalEASE
    estate planning                                    plan
                                               For more information, please
    Financial
                                               visit legaleaseplan.com/wm
    Plan for college                               or call 877-856-5549

    When life takes a turn, you
    always have a plan with LegalEASE



mywmtotalrewards.com                                                                                 2024 Benefits | 2 7
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Long-Term Care
Long-Term Care (LTC) insurance helps pay for self-care    If you become chronically ill, your policy will pay you 4%
services when you can no longer perform everyday          of your death benefit each month you receive LTC, up to
activities on your own. These activities can range from   75 months. You can use this money any way you choose,
help at home with meal preparation and housekeeping       and your premiums will be waived. As life insurance, the
to personal care services like bathing and dressing.      benefit protects your family with money that can be used
Care is typically received at home, in a nursing home     to pay rent, mortgage, tuition for your children, etc.
or in an assisted living facility, which is a homelike
                                                          NEW HIRES/NEWLY ELIGIBLE
setting that offers safety and security.
                                                          If you are a new hire or newly eligible after January 1,
Your health insurance, disability benefit and Medicare    2024, you will have a one-time opportunity to enroll
do not cover most LTC costs. Also, LTC isn’t just for     with guaranteed acceptance during the long-term care
the elderly. An accident or prolonged illness means       enrollment period in May. After you become eligible,
the need for LTC services can happen to anyone at         you will receive plan information and instructions to
any age.                                                  enroll during this special enrollment window.
ONE POLICY WITH TWO BENEFITS
When you enroll, you receive one policy with two
benefits: LTC protection if you need care and life
insurance protection for your family. You can select a        If you become chronically ill, your policy will
benefit from $25,000 up to $150,000. If you enroll, you       pay you 4% of your death benefit each month
may also enroll your eligible spouse or partner.              you receive LTC, up to 75 months.
                                                              getltci.com/wm or 888-504-2308




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Employee Stock Purchase Plan
The ESPP provides you an opportunity to buy shares of           and money already deducted will be refunded as
WM common stock at a reduced cost. Team members                 long as you make this request at least 45 days prior
that customarily work at least 20 hours per week                to the end of the offering period.
and have completed 30 days of service prior to each         •   For each future purchase period, if you do nothing,
offering date (January 1 and July 1) are eligible to join       your current election remains in force.
the ESPP.                                                   •   There are two purchase periods each year, January
• You decide how much to set aside each pay period              – June and July – December.
    — from 1% to 10% of your eligible pay.                  •   You purchase shares at 85% of the fair market value
• Contributions are made on an after-tax basis, and             (closing price) of WM Stock on the purchase date
    WM holds the money without interest until stock is          (the last business day of June or December). This
    purchased and deposited in your account with the            way, you are guaranteed a minimum discount of
    plan record keeper.                                         15%; however, there are no guarantees as to the
• You may not increase or decrease your payroll                 performance of WM stock.
    deduction percentage during the purchase period.
    However, you may terminate your payroll deduction,


REMEMBER

    To participate in the ESPP, you must enroll, and you will continue to participate at that level until you
    make a new election. Before you can conduct any transactions related to your ESPP, you’ll need to open
    a Merrill brokerage account.




Retirement Savings Plan – 401(k)
You can join the 401(k) plan anytime during the year        the investment earnings, until you take the money out.
after completing the 90-day service requirement.            Here are some of the other key features:
You may elect to contribute a percentage of your            • Company matching contributions — dollar-for-
eligible pay, up to the annual IRS limit. If you are at         dollar on the first 3% of pay you contribute and 50
least 50 years old before the end of the calendar year,         cents on the dollar for the next 3% of pay.
you may make additional catch-up contributions.             • 100% vesting — you own all the money that
                                                                goes into the plan, your contributions and the
A 401(k) enrollment kit will be sent to your home.              company’s matching contributions.
After you receive your kit, go to benefits.ml.com to        • Flexibility — save as little as 1% or as much as 50%
make your elections. Your contributions may be either           of your pay, and change the amount you save as
pre-tax, Roth after-tax or a combination of both.               often as you like.
                                                            • Investment choices — various investment funds, a
As a new eligible team member, you will be                      self-directed account option and target retirement
automatically enrolled in the plan at a pre-tax rate of         funds that make investing easy.
3% of your eligible compensation. You can cancel/           • Investment advice — available through Personal
change your automatic enrollment at any time prior to           Retirement Strategy. It is personalized, objective
your initial eligibility date.                                  investment and retirement planning advice.
You pay no taxes on the money you put in the pre-tax        • Portability — when you leave WM for any reason, you
plan, on the money the company puts in, or on any of            can leave your 401(k) as is or roll it into an individual
                                                                retirement account or another employer plan.


mywmtotalrewards.com                                                                              2024 Benefits | 2 9
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Retirement Savings Plan – 401(k)

    All your WM Financial benefits, now in one place
    Merrill is the current service provider for our:            accounts, plus easy access to a wide range of resources,
    •    Retirement savings plan                                new services and retirement planning tools. Enrollment
    •    409A deferral savings plan                             for ESPP offering periods is on the Merrill site.
    •    ESPP
    •    Long-term incentive programs                           Access your WM financial benefit accounts through
                                                                mywmtotalrewards.com, or visit the Merrill site at
    All these plans together under Merrill means there’s a      benefits.ml.com. To view your accounts by smartphone,
    single website, statement and call center for all your WM   visit m.benefits.ml.com.




RethinkCare Parental Support
RethinkCare provides a Parental Success solution                resources to help you understand, teach and better
that helps families raise more resilient children,              communicate with your child. You will also have
including those with developmental and learning                 access to free parenting consultations with Board
challenges. Your benefit will provide family support            Certified Behavior Analysts. This benefit is provided
when you need it, including 24/7 access to tools and            by WM at no cost to you.




                                                                         Visit connect.rethinkcare.com/sponsor/wm
                                                                         to learn more.




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Bright Horizons
Backup Care — Don’t stress about school breaks,           Virtual Tutoring — You can use your Backup Care
bad weather or caregiver cancellations. You have          benefit to schedule time with an experienced tutor and
access to Bright Horizons nationwide network of care      access support in 3,000+ undergraduate and graduate
professionals for your alternative care arrangements.     subjects, including graduate school entrance exams.
Reserve high-quality child care in a center, or in-home
care for your child or adult relatives.                   Pet Care — You can exchange your Backup Care
                                                          benefit for pet care needs like dog walking, dog
Additional family support — Easily find sitters, adult
                                                          sitting, pet boarding, drop-in visits and house-sitting.
care and pet care (your membership fee to the
database is waived). Jump ahead on the wait list or
enjoy discounts at participating child care centers.



Your Tomorrow Education Benefit
Go back to school with the Your Tomorrow education
benefit. Earn a bachelor’s or associate degree in
in-demand fields like business, technology, science
or mathematics from a broad network of accredited
colleges and universities. WM employees also have the
option to pursue a master’s program. Your Tomorrow
even provides a benefit to assist with obtaining a high
school diploma or college prep classes.

Visit mywmtotalrewards.com > Programs to learn more.



    Enroll/update your eligible dependents at any
    time throughout the year by calling 800-964-3373
    or online at mywmtotalrewards.com.




Student Loan Refinancing
                                                          SoFi is an online lending platform that may help
                                                          you save money with lower interest rates when you
                                                          refinance your student loan debt or an education loan
                                                          you took for your child. With low interest rates and
                                                          no fees, SoFi can help reduce monthly payments and
                                                          shorten the loan term. Plus, SoFi has other perks like
                                                          personal loans for unexpected expenses.



                                                              Reduce monthly payments with
                                                              low interest rates and no fees.




mywmtotalrewards.com                                                                            2024 Benefits | 3 1
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WM Scholarship Program
The WM Scholarship Program offers four distinctive scholarships to children of WM employees that are planning
to pursue higher education following graduation (this may include a bachelor, associate, vocational or graduate
degree): the WM General Scholarship, the Stephanie Valdez Memorial Scholarship, the Robert Simpson Honorary
Scholarship and the National Merit WM Scholarship. These scholarships are administered by Scholarship America,
the nation’s largest designer and manager of scholarship and tuition reimbursement programs for corporations,
foundations, associations and individuals. Information and applications are available in mid-January of each year.

Visit mywmtotalrewards.com > Programs to learn more.



Adoption Assistance Program
                                                            WM helps you with eligible expenses incurred in
                                                            connection with the legal adoption of a child. The
                                                            program reimburses you up to $5,000 on successful
                                                            completion of the adoption process.

                                                            ELIGIBILITY DATE
                                                            The program will not reimburse you for any expense
                                                            you incurred before you become an eligible team
                                                            member, after you end your employment with WM
                                                            or after the termination of the program. See the
                                                            summary description plan for a list of eligible and
                                                            non-eligible expenses.



WM Employees Care Fund
As a People First company we support each other
like any other family. Whether a natural disaster or a
coworker’s individual misfortune, WM team members
look for ways to help one another in times of need.
The Employees Care Fund is an elective benefit that
allows you to contribute as little as $1 per pay period
to an account with the sole purpose of assisting
fellow team members in times of need. The fund is
managed by team members who are responsible
for reviewing hardship requests and awarding the
appropriate financial assistance. WM pays the
administrative fees associated with maintaining
the fund – 100% of contributions made by team
members are used for the grants made to those in
need. Contributions are tax-deductible (U.S. team
members only), as the fund is a registered 501(c)
(3) organization. You can change/cancel your payroll
contribution at any time by calling 800-964-3373 or             WM Employees Care Fund applications
online at mywmtotalrewards.com.                                 can be found on mywmtotalrewards.com.



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Green & Grateful — My WM Recognition
You have the opportunity to accumulate
recognition points that can be exchanged for
valuable merchandise. Recognition points are
earned by going above and beyond to contribute
to WM’s success.

To access your recognition account, visit
mywmtotalrewards.com, and right at the center
of the homepage, you’ll find a convenient quick
link labeled My WM Recognition. By clicking
on this link, you’ll be able to access all the
information and tools necessary to start earning
those recognition points and ultimately enjoy the
rewards they bring. Dive into this opportunity to
not only enhance your personal achievements but
also contribute to the collective success of WM.



                                                     WM Discount Programs
                                                     As an eligible team member, take advantage of the
                                                     WM employee discounts and enjoy great savings
                                                     with nationwide companies. Find hot discounts
                                                     and cash back offers in many categories, including:
                                                     •   WM exclusives
                                                     •   Apparel & accessories
                                                     •   Auto
                                                     •   Cell phones
                                                     •   Electronics
                                                     •   Entertainment
                                                     •   Home
                                                     •   Travel and much more



                                                         Find more information
                                                         though the WM Now App
                                                         WM Now App > People @ WM
                                                         > Employee Discounts
                                                         or online at
                                                         mywmtotalrewards.com
                                                         > Programs




mywmtotalrewards.com                                                                   2024 Benefits | 3 3
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Terms You Need to Know
Basic dental services: Fillings, endodontics, oral           Full-time: Regularly scheduled to work at least 30
surgery, periodontics, etc.                                  hours each week.

Build-your-own-plan: A medical plan option that allows       Legally married: To be eligible for coverage, your
you to select from a number of plan features. Cost           spouse must be legally married to you. Under the
depends on your selections.                                  plan, you and your spouse are not legally married if
                                                             you are legally separated or divorced or your marriage
Coinsurance: The percentage of covered health care           has been annulled. Common-law marriages are not
services paid by WM.                                         legal marriages unless they are recognized in your
                                                             state and the necessary documentation has been filed
Copay or copayment: A fixed amount (not a
                                                             with the state.
percentage, as in coinsurance) that you must pay for
some services.                                               Major dental services: Crowns, inlays, onlays, bridges,
                                                             dentures, etc.
Covered services: The services provided by a hospital
or doctor for which the plan provides benefits.              Maximum reimbursable charge (MRC): For covered
                                                             out-of-network care, benefits will be based on
Deductible: The amount of certain covered health
                                                             the MRC.
care expenses that you must pay each year before WM
starts paying benefits.                                      Orthodontic dental services: Procedures used to
                                                             realign or reposition teeth (generally, braces).
Disabled: Unable to perform a job for wage or profit
because of a physical or mental impairment. Total            Out-of-pocket maximum: The total amount of covered
disability means your impairment prevents you from           expenses you are responsible for paying in one
engaging in any job for wages or profit for which you are    year – including deductibles, copays and your
reasonably qualified by education, training or experience.   coinsurance payments. When the total reaches the
                                                             out-of-pocket maximum, WM will pay 100% of that
Qualified life status change: Life events that allow you
                                                             person’s covered expenses for the rest of the year.
to make changes in benefit elections during the year.
                                                             Amounts paid for expenses that are not covered or
Qualified life status changes include:
                                                             that exceed the maximum reimbursable charge do
• Marriage, legal separation, annulment or divorce
                                                             not apply to the out-of-pocket maximum.
• Death of a spouse or dependent
• Birth or adoption of a child, or addition of a             Pre-certification: An authorization process designed
    dependent                                                to ensure that the health care services you and your
• Loss of eligibility of a dependent child                   family receive are medically necessary, of high quality
• Termination or commencement of spouse’s                    and are provided in the most appropriate settings.
    employment                                               Pre-certification must be obtained for all inpatient and
• Unpaid leave of absence                                    alternative mental health/substance abuse services.
• Change in your residence that makes your current           Additionally, all inpatient medical hospitalizations must
    coverage unavailable                                     be pre-certified, as additional charges may apply and
• Loss of eligibility for Medicaid or CHIP (Children’s       services may not be covered if they are not.
    Health Insurance Program)
• Eligibility for Medicaid or CHIP premium assistance        Preferred drug list (formulary): A listing of brand
                                                             prescription medications that are covered by
You have 30 days from the date of the event to make          the prescription drug plan for a lower cost.
a change by contacting the Benefits Center. In the
case of adding a newborn or child due to adoption,           Preventive dental services: Oral exams, X-rays,
eligibility for Medicaid or CHIP, or for premium             cleanings, fluoride treatment, etc.
assistance, you have 60 days.




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Important Notices
This brochure provides a brief summary of your WM             the plan may include information pertaining to HIV/
benefits for 2024. It does not contain all of the details,    AIDS, mental health, mental retardation, and drug and
rules and limits. For additional information, refer to the    alcohol treatment. The receipt of covered services by
summary plan descriptions and official plan documents         participants shall constitute participants’ consent to the
which govern these programs. In the event that the            release of these records under state law.
content of this brochure or any oral representation
                                                              WOMEN’S HEALTH AND CANCER RIGHTS ACT
made by any person regarding the plans conflicts
with or is inconsistent with the provisions of the plan       WM’s medical plan covers mastectomies and therefore,
documents, the provisions of the plan documents are           as required by the Women’s Health and Cancer Rights
controlling. Your enrollment in WM benefits is subject        Act, coverage is provided for mastectomy-related
to all limitations of the plans, including any pre-existing   services in a manner determined in consultation
conditions exclusions, waiting periods and at-work            with the attending physician and the patient for
requirements. WM reserves the right to amend, modify          all stages of surgery, reconstruction to produce a
or terminate any of the plans, policies or procedures         symmetrical appearance, prostheses and treatment of
(in whole or in part) at any time without notice. Claims      physical complications of the mastectomy, including
data used by claims administrators to review and              lymphedema. These services are subject to the same
process claims for participants are provided to the           copayment and deductible provisions that apply to
plan. The claims data requested by and provided to            other benefits under WM’s medical plan.




mywmtotalrewards.com                                                                               2024 Benefits | 3 5
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Important Numbers and Websites
For questions or to get more information about the benefit plans, contact the appropriate resources below.


                                   LOG ON OR CALL WHEN ...                                                        PHONE NUMBER AND WEBSITE
mywmtotalrewards.com               You want to view your pay                                                      mywmtotalrewards.com
or WM Now App > People @ WM >      You want to enroll for benefits
WM Total Rewards                   You want more information about your benefits
The Benefits Center                You have questions about your benefits eligibility                             800-964-3373
                                   You have a qualified life status change                                        mywmtotalrewards.com
                                   One of the vendors below cannot answer your questions
Be Well Bucks                      You need to check your account balance/claims                                  mywmtotalrewards.com
                                   You need to confirm your incentive activities
Cigna Medical                      You need an ID card                                                            800-545-6534
                                   You have questions about your medical claims                                   mywmtotalrewards.com
                                   You need to locate a participating provider                                    mycigna.com
Cigna Pharmacy                     You want a list of participating pharmacies
                                   You want to order prescriptions by mail
                                   You need an ID card
Cigna Dental                       You have questions about your dental claims
                                   You need to locate a network provider
Cigna Critical Illness             You have questions about critical illness coverage
Cigna Behavioral Health            You need to locate a network provider                                          800-545-6534
                                   You have questions about your mental health/substance abuse claims             mycigna.com
Sedgwick (Leave/                   You need to file a short-term disability claim                                 844-601-6700
Short-Term Disability)             You have questions about coverage
New York Life Group Benefit        You need to file a long-term disability claim                                  888-842-4462
Solutions (Long-Term Disability)   You have questions about your disability claim or coverage                     mynylgbs.com
MDLIVE                             You need non-urgent care and want to talk with a doctor by phone               888-726-3171
                                   or online                                                                      Cigna members:
                                                                                                                  mdlive.com/wmcigna
                                                                                                                  Non-Cigna members:
                                                                                                                  mdlive.com/wm
2nd.MD                             You have questions about a diagnosis, surgery or medication change and want    866-841-2575
                                   to talk to a specialist by phone or online                                     mywmtotalrewards.com
EyeMed                             You have questions about your coverage                                         844-409-3401
                                   You need to locate a network provider                                          mywmtotalrewards.com
                                   You need an ID card                                                            eyemed.com
Flexible Spending Accounts         You have questions about your accounts                                         800-964-3373
                                   You need to determine eligible expenses                                        mywmtotalrewards.com
MetLife                            You have a life or AD&D insurance claim or question                            888-801-9142
                                   You wish to convert or port life or AD&D coverage
WM Absence Management              You need to file a medical, military, personal or admin leave                  844-601-6700
                                   You have questions about your leave
LegalEASE Plan                     You have questions about covered services                                      877-856-5549
                                   You need to locate a network provider                                          legaleaseplan.com/wm
Merrill                            You have questions about your ESPP account or enrollment                       844-4WM-401K (496-4015)
                                   You have questions about the 401(k) plan, want to enroll or change             mywmtotalrewards.com
                                   deferral percentage                                                            benefits.ml.com
Your Tomorrow Education Benefit    You need to consult with a coach                                               mywmtotalrewards.com
                                   You need tuition assistance
                                   You have questions about reimbursement
WM Scholarship Program             You have questions about the program                                           847-866-5700
                                   You want to check on the status of your application                            mywmtotalrewards.com

Bright Horizons                    You have questions about covered services                                      877-242-2737
                                   You need to locate a network provider                                          clients.brighthorizons.com/wm

RethinkCare Parental Support       You need to schedule consultations with a behavior expert                      800-714-9285
                                   You want to teach your child crucial skills, self-help, academics              connect.rethinkcare.com/sponsor/wm
                                                                                                                  Code: wm
SoFi                               You have questions about covered services                                      855-456-7634
                                   You need to locate a network provider                                          sofi.com/wm
WM Discount Programs               You want to get discounts on new cars, banking services, cell phone services   866-664-4621
                                   and supplies, and much more                                                    mywmtotalrewards.com




                                                                                                                                                       H000271025
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                    Exhibit 19
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  ConvaTec Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Qualified High Deductible Health Plan


  EFFECTIVE DATE: January 1, 2024




   ASO11
   3340291




   This document printed in April, 2024 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY CONVATEC INC. WHICH IS
RESPONSIBLE FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY
(CIGNA) PROVIDES CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT
INSURE THE BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                        Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                          •   You, your dependent or an attending Physician can request
Special Plan Provisions                                                       Case Management services by calling the toll-free number
                                                                              shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                          •   The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                            •   You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of             •   Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                           •   The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care            •   The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,               •   Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1

appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



                                                                      7                                                   myCigna.com
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provided by other parties to the Policyholder. Contact us for             Important Notices
details regarding any such arrangements.
                                                                          Important Information
                                                                          Rebates and Other Payments
HC-SPP3                                                       04-10
                                                                V1        Cigna or its affiliates may receive rebates or other
                                                                          remuneration from pharmaceutical manufacturers in
                                                                          connection with certain Medical Pharmaceuticals covered
Incentives to Participating Providers
                                                                          under your plan and Prescription Drug Products included on
Cigna continuously develops programs to help our customers                the Prescription Drug List. These rebates or remuneration are
access quality, cost-effective health care. Some programs                 not obtained on you or your Employer’s or plan’s behalf or for
include Participating Providers receiving financial incentives            your benefit.
from Cigna for providing care to members in a way that meets
                                                                          Cigna, its affiliates and the plan are not obligated to pass these
or exceeds certain quality and/or cost-efficiency standards,
                                                                          rebates on to you, or apply them to your plan’s Deductible if
when, in the Participating Provider’s professional judgment, it
                                                                          any or take them into account in determining your
is appropriate to do so within the applicable standard of care.
                                                                          Copayments and/or Coinsurance. Cigna and its affiliates or
For example, some Participating Providers could receive
                                                                          designees, conduct business with various pharmaceutical
financial incentives for utilizing or referring you to alternative
                                                                          manufacturers separate and apart from this plan’s Medical
sites of care as determined by your plan rather than in a more
                                                                          Pharmaceutical and Prescription Drug Product benefits. Such
expensive setting, or achieving particular outcomes for certain
                                                                          business may include, but is not limited to, data collection,
health conditions. Participating Providers may also receive
                                                                          consulting, educational grants and research. Amounts received
purchasing discounts when purchasing certain prescription
                                                                          from pharmaceutical manufacturers pursuant to such
drugs from Cigna affiliates. Such programs can help make you
                                                                          arrangements are not related to this plan. Cigna and its
healthier, decrease your health care costs, or both. These
                                                                          affiliates are not required to pass on to you, and do not pass on
programs are not intended to affect your access to the health
                                                                          to you, such amounts.
care that you need. We encourage you to talk to your
Participating Provider if you have questions about whether                Coupons, Incentives and Other Communications
they receive financial incentives from Cigna and whether                  At various times, Cigna or its designee may send mailings to
those incentives apply to your care.                                      you or your Dependents or to your Physician that
                                                                          communicate a variety of messages, including information
                                                                          about Medical Pharmaceuticals and Prescription Drug
HC-SPP85                                                      01-24
                                                                          Products. These mailings may contain coupons or offers from
                                                                          pharmaceutical manufacturers that enable you or your
Care Management and Care Coordination Services                            Dependents, at your discretion, to purchase the described
Your plan may enter into specific collaborative arrangements              Medical Pharmaceutical and Prescription Drug Product at a
with health care professionals committed to improving quality             discount or to obtain it at no charge. Pharmaceutical
care, patient satisfaction and affordability. Through these               manufacturers may pay for and/or provide the content for
collaborative arrangements, health care professionals commit              these mailings. Cigna, its affiliates and the plan are not
to proactively providing participants with certain care                   responsible in any way for any decision you make in
management and care coordination services to facilitate                   connection with any coupon, incentive, or other offer you may
achievement of these goals. Reimbursement is provided at                  receive from a pharmaceutical manufacturer or Physician.
100% for these services when rendered by designated health
care professionals in these collaborative arrangements.


HC-SPP27                                                      06-15
                                                                          HC-IMP331                                                     12-22
                                                                V1


                                                                          Discrimination is Against the Law
                                                                          Cigna complies with applicable Federal civil rights laws and
                                                                          does not discriminate on the basis of race, color, national
                                                                          origin, age, disability or sex. Cigna does not exclude people or
                                                                          treat them differently because of race, color, national origin,
                                                                          age, disability or sex.


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Cigna:                                                                     de identificación. Si no lo es, llame al 1.800.244.6224 (los
•   Provides free aids and services to people with disabilities to         usuarios de TTY deben llamar al 711).
    communicate effectively with us, such as:                              Chinese – 注意：我們可為您免費提供語言協助服務。
    • Qualified sign language interpreters                                 對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
    • Written information in other formats (large print, audio,
                                                                           其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
      accessible electronic formats, other formats)                        Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
•   Provides free language services to people whose primary                về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
    language is not English, such as                                       Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                           khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
    • Qualified interpreters
    • Information written in other languages                               Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
If you need these services, contact customer service at the toll-          서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
free phone number shown on your ID card, and ask a
                                                                           가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services             연락해주십시오. 기타 다른 경우에는 1.800.244.6224
or discriminated in another way on the basis of race, color,               (TTY: 다이얼 711)번으로 전화해주십시오.
national origin, age, disability or sex, you can file a grievance
by sending an email to ACAGrievance@cigna.com or by                        Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
writing to the following address:                                          tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                           ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    Cigna                                                                  kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Nondiscrimination Complaint Coordinator
    P.O. Box 188016                                                        Russian – ВНИМАНИЕ: вам могут предоставить
    Chattanooga, TN 37422                                                  бесплатные услуги перевода. Если вы уже участвуете в
                                                                           плане Cigna, позвоните по номеру, указанному на
If you need assistance filing a written grievance, please call             обратной стороне вашей идентификационной карточки
the number on the back of your ID card or send an email to                 участника плана. Если вы не являетесь участником одного
ACAGrievance@cigna.com. You can also file a civil rights                   из наших планов, позвоните по номеру 1.800.244.6224
complaint with the U.S. Department of Health and Human                     (TTY: 711).
Services, Office for Civil Rights electronically through the
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
    1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
                                                                           (TTY: Rele 711).
Complaint forms are available at
http://www.hhs.gov/ocr/office/file/index.html.                             French – ATTENTION: Des services d’aide linguistique vous
                                                                           sont proposés gratuitement. Si vous êtes un client actuel de
                                                                           Cigna, veuillez appeler le numéro indiqué au verso de votre
HC-NOT96                                                       07-17       carte d’identité. Sinon, veuillez appeler le numéro
                                                                           1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services                                Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
                                                                           assistência linguística, totalmente gratuitos. Para clientes
English – ATTENTION: Language assistance services, free
                                                                           Cigna atuais, ligue para o número que se encontra no verso do
of charge, are available to you. For current Cigna customers,
                                                                           seu cartão de identificação. Caso contrário, ligue para
call the number on the back of your ID card. Otherwise, call
                                                                           1.800.244.6224 (Dispositivos TTY: marque 711).
1.800.244.6224 (TTY: Dial 711).
                                                                           Polish – UWAGA: w celu skorzystania z dostępnej,
Spanish – ATENCIÓN: Hay servicios de asistencia de
                                                                           bezpłatnej pomocy językowej, obecni klienci firmy Cigna
idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                           mogą dzwonić pod numer podany na odwrocie karty
Cigna, llame al número que figura en el reverso de su tarjeta


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identyfikacyjnej. Wszystkie inne osoby prosimy o                         Subject to change based on government guidance for CAA
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).                 Section 204, Cigna will submit certain prescription drug and
Japanese –                                                               health care spending information to HHS through Plan Lists
注意事項：日本語を話される場合、無料の言語支援サー                                                Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
                                                                         Employer without an integrated pharmacy product aggregated
ビスをご利用いただけます。現在のCignaの
                                                                         at the market segment and state level, as outlined in guidance.
お客様は、IDカード裏面の電話番号まで、お電話にてご
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                     HC-IMP353                                                    01-24


Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,            Federal CAA - Consolidated Appropriations Act
chiamare il numero sul retro della tessera di identificazione.           Continuity of Care
In caso contrario, chiamare il numero 1.800.244.6224 (utenti
                                                                         In certain circumstances, if you are receiving continued care
TTY: chiamare il numero 711).
                                                                         from an In-Network provider or facility, and that provider’s
German – ACHTUNG: Die Leistungen der                                     network status changes from In-Network to Out-of-Network,
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                you may be eligible to continue to receive care from the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             provider at the In-Network cost-sharing amount for up to 90
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 days from the date you are notified of your provider’s
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 termination. A continuing care patient is an individual who is:
Sie 711).
                                                                         •   Undergoing treatment for a serious and complex condition
                                                                         •   Pregnant and undergoing treatment for the pregnancy
                                                                         •   Receiving inpatient care
                                                                         •   Scheduled to undergo urgent or emergent surgery, including
                                                                             postoperative
                                                                         •   Terminally ill (having a life expectancy of 6 months or less)
                                                                             and receiving treatment from the provider for the illness
                                                                         If applicable, Cigna will notify you of your continuity of care
HC-NOT97                                                    07-17
                                                                         options.
                                                                         Appeals
Federal CAA - Consolidated Appropriations Act and TIC                    Any external review process available under the plan will
- Transparency in Coverage Notice                                        apply to any adverse determination regarding claims subject to
Cigna will make available an internet-based self-service tool            the No Surprises Act.
for use by individual customers, as well as certain data in              Provider Directories and Provider Networks
machine-readable file format on a public website, as required
under the Transparency in Coverage rule. Customers can                   A list of network providers is available to you, without charge,
access the cost estimator tool on myCigna.com. Updated                   by visiting the website or calling the phone number on your ID
machine-readable files can be found on Cigna.com and/or                  card. The network consists of providers, including Hospitals,
CignaForEmployers.com on a monthly basis.                                of varied specialties as well as generic practice, affiliated or
                                                                         contracted with Cigna or an organization contracting on its
Pursuant to Consolidated Appropriations Act (CAA), Section               behalf.
106, Cigna will submit certain air ambulance claim
information to the Department of Health and Human Services               A list of network pharmacies is available to you, without
(HHS) in accordance with guidance issued by HHS.                         charge, by visiting the website or calling the phone number on
                                                                         your ID card. The network consists of pharmacies affiliated or
                                                                         contracted with Cigna or an organization contracting on its
                                                                         behalf.
                                                                         Provider directory content is verified and updated, and
                                                                         processes are established for responding to provider network
                                                                         status inquiries, in accordance with applicable requirements of
                                                                         the No Surprises Act.



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If you rely on a provider’s In-Network status in the provider              “Surprise billing” is an unexpected balance bill. This can
directory or by contacting Cigna at the website or phone                   happen when you cannot control who is involved in your care
number on your ID card to receive covered services from that               – such as when you have an emergency or when you schedule
provider, and that network status is incorrect, then your plan             a visit at an In-Network facility but are unexpectedly treated
cannot impose Out-of-Network cost shares to that covered                   by an Out-of-Network provider. Surprise medical bills could
service. In-Network cost share must be applied as if the                   cost thousands of dollars depending on the procedure or
covered service were provided by an In-Network provider.                   service.
Direct Access to Obstetricians and Gynecologists                           You are protected from balance billing for:
You do not need prior authorization from the plan or from any              •   Emergency Services – If you have an Emergency Medical
other person (including a primary care provider) in order to                   Condition and get Emergency Services from an Out-of-
obtain access to obstetrical or gynecological care from a health               Network provider or facility, the most they can bill you is
care professional in our network who specializes in obstetrics                 your plan’s In-Network cost-sharing amount (such as a
or gynecology. The health care professional, however, may be                   Copayments, Coinsurance, and Deductibles). You cannot be
required to comply with certain procedures, including                          balanced billed for these Emergency Services. This includes
obtaining prior authorization for certain services, following a                services you may get after you are in stable condition,
pre-approved treatment plan, or procedures for making                          unless you give written consent and give up your
referrals. For a list of participating health care professionals               protections not to be balanced billed for these post-
who specialize in obstetrics or gynecology, access the website                 stabilization services.
or call the phone number on your ID card.                                  •   Certain non-emergency services at an In-Network
Selection of a Primary Care Provider                                           Hospital or ambulatory surgical center – When you get
This plan generally allows the designation of a primary care                   services from an In-Network Hospital or ambulatory
provider. You have the right to designate any primary care                     surgical center, certain providers there may be Out-of-
provider who participates in the network and who is available                  Network. In these cases, the most those providers can bill
to accept you or your family members. For children, you may                    you is your plan’s In-Network cost sharing amount. This
designate a pediatrician as the primary care provider. For                     applies to emergency medicine, anesthesia, pathology,
information on how to select a primary care provider, and for                  radiology, laboratory, neonatology, assistant surgeon,
a list of the participating primary care providers, access the                 hospitalist, or intensivist services. These providers cannot
website or call the phone number on your ID card.                              balance bill you and may not ask you to give up your
                                                                               protections not to be balanced billed.
Your Rights and Protections Against Surprise Medical
Bills                                                                      If you get other types of services at these In-Network
                                                                           facilities, Out-of-Network providers cannot balance bill you,
When you get emergency care or are treated by an Out-of-                   unless you give written consent and give up your protections.
Network provider at an In-Network Hospital or ambulatory
surgical center, you are protected from balance billing. In                You are never required to give up your protections from
these situations, you should not be charged more than your                 balance billing. You also are not required to get Out-of-
plan’s Copayments, Coinsurance, and/or Deductible.                         Network care. You can choose a provider or facility in
                                                                           your plan’s network.
What is “balance billing” (sometimes called “surprise
billing”)?                                                                 When balance billing is not allowed, you have these
                                                                           protections:
When you see a doctor or other health care provider, you may
owe certain out-of-pocket costs, such as a Copayment,                      •   You are only responsible for paying your share of the cost
Coinsurance, and/or Deductible. You may have additional                        (such as Copayments, Coinsurance, and Deductibles that
costs or have to pay the entire bill if you see a provider or visit            you would pay if the provider were In-Network). Your
a health care facility that is not in your health plan’s network.              health plan will pay any additional costs to Out-of-Network
                                                                               providers and facilities directly.
“Out-of-Network” means providers and facilities that have not
signed a contract with your health plan to provide services.               •   Generally, your health plan must:
Out-of-Network providers may be allowed to bill you for the                    • Cover Emergency Services without requiring you to get
difference between what your plan pays and the full amount                       approval in advance for services (also known as prior
charged for a service. This is called “balance billing”. This                    authorization).
amount is likely more than In-Network costs for the same                       • Cover Emergency Services provided by Out-of-Network
service and might not count toward your plan’s Deductible or                     providers.
annual out-of-pocket limit.



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    • Base what you owe the provider or facility (cost sharing)           To determine which document applies to your plan, select the
      on what it would pay an In-Network provider or facility             relevant health plan product; medical management model
      and show that amount in your explanation of benefits                (inpatient only or inpatient and outpatient) which can be
      (EOB).                                                              located in this booklet immediately following The Schedule;
    • Count any amount you pay for Emergency Services or                  and pharmacy coverage (whether or not your plan includes
      Out-of-Network services toward your In-Network                      pharmacy coverage).
      Deductible and out-of-pocket limit.
If you think you have been wrongly billed, contact Cigna at               HC-NOT113                                                    12-22
the phone number on your ID card. You can also contact No                                                                                V1

Surprises Help Desk at 1-800-985-3059 or
www.cms.gov/nosurprises for more information about your
rights under federal law.
                                                                          How To File Your Claim
                                                                          There’s no paperwork for In-Network care. Just show your
HC-IMP326                                                    01-24
                                                                          identification card and pay your share of the cost, if any; your
                                                                          provider will submit a claim to Cigna for reimbursement. Out-
Mental Health Parity and Addiction Equity Act of 2008                     of-Network claims can be submitted by the provider if the
(MHPAEA) - Non-Quantitative Treatment Limitations                         provider is able and willing to file on your behalf. If the
(NQTLs)                                                                   provider is not submitting on your behalf, you must send your
                                                                          completed claim form and itemized bills to the claims address
Federal MHPAEA regulations provide that a plan cannot
                                                                          listed on the claim form.
impose a Non-Quantitative Treatment Limitation (NQTL) on
mental health or substance use disorder (MH/SUD) benefits in              You may get the required claim forms from the website listed
any classification unless the processes, strategies, evidentiary          on your identification card or by using the toll-free number on
standards, or other factors used in applying the NQTL to                  your identification card.
MH/SUD benefits are comparable to, and are applied no more                CLAIM REMINDERS
stringently than, those used in applying the NQTL to                      • BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits            ACCOUNT/GROUP NUMBER WHEN YOU FILE
as written and in operation under the terms of the plan.                    CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include (to                  YOUR CIGNA CLAIM OFFICE.
the extent applicable under the plan):                                        YOUR MEMBER ID IS THE ID SHOWN ON YOUR
•   medical management standards limiting or excluding                        BENEFIT IDENTIFICATION CARD.
    benefits based on Medical Necessity or whether the                        YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
    treatment is experimental or investigative;                               YOUR BENEFIT IDENTIFICATION CARD.
•   prescription drug formulary design;                                   •   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
•   network admission standards;                                              ON THE BACK OF THE CLAIM FORM CAREFULLY
•   methods for determining In-Network and Out-of-Network                     WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;                                         Timely Filing of Out-of-Network Claims
•   step therapy a/k/a fail-first requirements; and                       Cigna will consider claims for coverage under our plans when
•   exclusions and/or restrictions based on geographic location,          proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                  of-Network benefits after services are rendered. If services are
                                                                          rendered on consecutive days, such as for a Hospital
A description of your plan’s NQTL methodologies and                       Confinement, the limit will be counted from the last date of
processes applied to medical/surgical benefits and MH/SUD                 service. If claims are not submitted within 180 days for Out-
benefits is available for review by Plan Administrators (e.g.             of-Network benefits, the claim will not be considered valid
Employers) and covered persons:                                           and will be denied.
    Employers (Plan Administrators):                                      WARNING: Any person who knowingly and with intent to
    Please contact your Cigna Sales Representative to request             defraud any insurance company or other person files an
    the NQTL comparative analysis.                                        application for insurance or statement of claim containing any
    Covered Persons: www.cigna.com\sp                                     materially false information; or conceals for the purpose of




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misleading, information concerning any material fact thereto,              Late Entrant - Employee
commits a fraudulent insurance act.                                        You are a Late Entrant if:
                                                                           •   you elect the insurance more than 30 days after you become
HC-CLM25                                                    01-11              eligible; or
                                                                V11
                                                                           •   you again elect it after you cancel your payroll deduction (if
                                                                               required).

Eligibility - Effective Date                                               Dependent Insurance
                                                                           For your Dependents to be insured, you will have to pay the
Employee Insurance                                                         required contribution, if any, toward the cost of Dependent
This plan is offered to you as an Employee.                                Insurance.
Eligibility for Employee Insurance                                         Effective Date of Dependent Insurance
You will become eligible for insurance on the day you                      Insurance for your Dependents will become effective on the
complete the waiting period if:                                            date you elect it by signing an approved payroll deduction
                                                                           form (if required), but no earlier than the day you become
•   you are in a Class of Eligible Employees as determined by              eligible for Dependent Insurance. All of your Dependents as
    your Employer; and                                                     defined will be included.
•   you are an eligible Employee as determined by your                     Your Dependents will be insured only if you are insured.
    Employer; and
                                                                           Late Entrant – Dependent
•   you pay any required contribution.
                                                                           You are a Late Entrant for Dependent Insurance if:
If you were previously insured and your insurance ceased, you
must satisfy the Waiting Period to become insured again. If                •   you elect that insurance more than 30 days after you
your insurance ceased because you were no longer employed                      become eligible for it; or
in a Class of Eligible Employees, you are not required to                  •   you again elect it after you cancel your payroll deduction (if
satisfy any waiting period if you again become a member of a                   required).
Class of Eligible Employees within one year after your                     Exception for Newborns
insurance ceased.
                                                                           Any Dependent child born while you are insured will become
Eligibility for Dependent Insurance                                        insured on the date of his birth if you elect Dependent
You will become eligible for Dependent Insurance on the later              Insurance no later than 31 days after his birth. If you do not
of:                                                                        elect to insure your newborn child within such 31 days,
•   the day you become eligible for yourself; or                           coverage for that child will end on the 31st day. No benefits
                                                                           for expenses incurred beyond the 31st day will be payable.
•   the day you acquire your first Dependent.

Waiting Period                                                             HC-ELG274                                                     01-19


A period of time as determined by your Employer.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
                                                                           Important Information About Your
Employer.                                                                  Medical Plan
Effective Date of Employee Insurance                                       Details of your medical benefits are described on the
You will become insured on the date you elect the insurance                following pages.
by signing an approved payroll deduction or enrollment form,               Opportunity to Select a Primary Care Physician
as applicable, but no earlier than the date you become eligible.           This medical plan does not require that you select a Primary
You will become insured on your first day of eligibility,                  Care Physician or obtain a referral from a Primary Care
following your election, if you are in Active Service on that              Physician in order to receive all benefits available to you
date, or if you are not in Active Service on that date due to              under this medical plan. Notwithstanding, a Primary Care
your health status.                                                        Physician may serve an important role in meeting your health
                                                                           care needs by providing or arranging for medical care for you



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and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents. If you need
assistance selecting your Primary Care Physician, please visit
our website at www.cigna.com or call the number on the back
of your ID Card.
The Primary Care Physician's role is to provide or arrange for
medical care for you and any of your Dependents.
You and your Dependents are allowed direct access to
Participating Physicians for covered services. Even if you
select a Primary Care Physician, there is no requirement to
obtain an authorization of care from your Primary Care
Physician for visits to the Participating Physician of your
choice, including Participating Specialist Physicians, for
covered services.
Changing Primary Care Physicians
You may request a transfer from one Primary Care Physician
to another by visiting our website at www.cigna.com or
calling the number on the back of your ID Card. Any such
transfer will be effective on the first day of the month
following the month in which the processing of the change
request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.
Direct Access For Mental Health and Substance Use
Disorder Services
You are allowed direct access to a licensed/certified
Participating Provider for covered Mental Health and
Substance Use Disorder Services. There is no requirement to
obtain an authorization of care from your Primary Care
Physician for individual or group therapy visits to the
Participating Provider of your choice for Mental Health and
Substance Use Disorder.


HC-IMP361                                                     01-24




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                                  Open Access Plus Medical Benefits
                                                  The Schedule
For You and Your Dependents

Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Important Notice on Mental Health and Substance Use Disorder Coverage
Covered medical services received to diagnose or treat a Mental Health or Substance Use Disorder condition will be
payable according to the Mental Health and Substance Use Disorder sections of The Schedule.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.




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                                   Open Access Plus Medical Benefits
                                                    The Schedule
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
• Coinsurance.
• Plan Deductible.
• Any coinsurance and/or benefit deductibles for the following:
  •   obesity/bariatric surgery.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any benefit
deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
• Non-compliance penalties.
• Any benefit deductibles not listed above as accumulating to the Out-of-Pocket maximum.
• Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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                                    Open Access Plus Medical Benefits
                                                   The Schedule
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
   Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air ambulance services rendered by an
   Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by
   applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                             IN-NETWORK                            OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses         80%                                      60%
the Plan Pays
See Definitions section for an
explanation of Maximum Reimbursable
Charge.
Calendar Year Deductible
  Individual                               $1,600 per person                        $3,000 per person
  Family Maximum                           $3,300 per family                        $6,400 per family
  Family Maximum Calculation
  Collective Deductible:
  All family members contribute
  towards the family deductible. An
  individual cannot have claims
  covered under the plan coinsurance
  until the total family deductible has
  been satisfied.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Combined Medical/Pharmacy
Calendar Year Deductible
  Combined Medical/Pharmacy               Yes                              Yes
  Deductible: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs            Yes                              In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Deductible
Combined Out-of-Pocket Maximum
for Medical and Pharmacy expenses
  Individual – Employee Only              $4,000 per person                $8,000 per person
  Individual – within a Family            $4,000 per person                $8,000 per person
  Family Maximum                          $7,800 per family                $16,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-          Yes                              Yes
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs            Yes                              In-Network coverage only
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
  .




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                        Maximum Reimbursable Charge
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with
      Cigna on an In-Network basis.
      Out-of-Network OB/GYN
      providers will be considered a
      Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge

    Specialty Care Physician’s Office    Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office    Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                      Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                               Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Convenience Care Clinic                   Plan deductible, then 80%             Plan deductible, then 60% of the
(includes any related lab and x-ray                                             Maximum Reimbursable Charge
services
.        and surgery)
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
• Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
• MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
• Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
  MDLIVE Urgent Care Services             Plan deductible, then 100%            In-Network coverage only
  MDLIVE Primary Care Services            80%                                   In-Network coverage only
  MDLIVE Specialty Care Services          80%                                   In-Network coverage only
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Primary Care Physician Virtual Office     Plan deductible, then 80%             Plan deductible, then 60% of the
Visit                                                                           Maximum Reimbursable Charge
Specialty Care Physician Virtual Office   Plan deductible, then 80%             Plan deductible, then 60% of the
Visit                                                                           Maximum Reimbursable Charge
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
  Routine Preventive Care - all ages
    Primary Care Physician’s Office      100%                                     60% of the Maximum Reimbursable
    Visit                                                                         Charge
    Specialty Care Physician’s Office    100%                                     60% of the Maximum Reimbursable
    Visit                                                                         Charge
  Immunizations - all ages
    Primary Care Physician’s Office      100%                                     60% of the Maximum Reimbursable
    Visit                                                                         Charge
    Specialty Care Physician’s Office    100%                                     60% of the Maximum Reimbursable
    Visit                                                                         Charge
 .
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       100%                                     Subject to the plan’s x-ray benefit &
  (i.e. “routine” services)                                                       lab benefit; based on place of service

  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit &    Subject to the plan’s x-ray benefit &
  “non-routine” services)                lab benefit; based on place of service   lab benefit; based on place of service

Inpatient Hospital – Facility Services   Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room         Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate           Limited to the ICU/CCU daily room
                                                                                  rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 80%                Plan deductible, then 60% of the
  Procedures Room, Treatment Room                                                 Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 80%                Plan deductible, then 60% of the
Visits/Consultations                                                              Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Inpatient Professional Services            Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Outpatient Professional Services           Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Urgent Care Services
  Urgent Care Facility or Outpatient       Plan deductible, then 80%             Plan deductible, then 60% of the
  Facility                                                                       Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.

  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%             Plan deductible, then 60% of the
  MRIs, MRAs, CAT Scans, PET                                                     Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit

Emergency Services
  Hospital Emergency Room                  Plan deductible, then 80%             Plan deductible, then 80%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.

  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%             Plan deductible, then 80%
  MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit

Air Ambulance                              Plan deductible, then 80%             Plan deductible, then 80%
Ambulance                                  Plan deductible, then 80%             Plan deductible, then 80% of the
                                                                                 Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 80%             Plan deductible, then 60% of the
Care Facilities                                                                  Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  120 days combined


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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Laboratory Services
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
  Independent Lab Facility            Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
Radiology Services
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Outpatient Therapy Services
  Calendar Year Maximum:
  30 days
  Includes:
  Pulmonary Rehab
  Calendar Year Maximum:
  30 days
  Includes:
  Cognitive Therapy
  Calendar Year Maximum:
  30 days
  Includes:
  Physical Therapy
  Calendar Year Maximum:
  30 days
  Includes:
  Occupational Therapy
  Calendar Year Maximum:
  60 days
  Includes:
  Speech Therapy
  (The limit is not applicable to mental
  health conditions.)
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge

  Note: Coverage review for Physical
  Therapy and Occupational Therapy
  begins
  .
         after 12 visits per condition.
Outpatient Cardiac Rehabilitation
 Calendar Year Maximum:
 36 days
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Chiropractic Care
  Calendar Year Maximum:
  30 days
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge

  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge

  Note: Coverage review for
  Chiropractic Care begins after 12
  visits.
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge

Home Health Care Services
  Calendar Year Maximum:                   Plan deductible, then 80%             Plan deductible, then 60% of the
  100 days (includes outpatient private                                          Maximum Reimbursable Charge
  nursing when approved as Medically
  Necessary)
  Dialysis services in the home setting
  will not accumulate to the Home
  Health Care maximum
  (The limit is not applicable to Mental
  Health and Substance Use Disorder
  conditions.)
  .
Hospice
 Inpatient Services                        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Services                      Plan deductible, then 80%             Plan deductible, then 60% of the
  (same coinsurance level as Home                                                Maximum Reimbursable Charge
  Health Care Services)
  .




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                           OUT-OF-NETWORK
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                 Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient                                Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
Services provided by Mental Health          Covered under Mental Health benefit     Covered under Mental Health benefit
Professional
.
Medical Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 80%               Plan deductible, then 60% of the
                                                                                    Maximum Reimbursable Charge
  Cigna Pathwell Specialty Medical          Cigna Pathwell Specialty Network        In-Network coverage only
  Pharmaceuticals                           provider:
                                            Plan deductible, then 80%
                                            Non-Cigna Pathwell Specialty
                                            Network Providers:
                                            Not Covered
  Other Medical Pharmaceuticals             Plan deductible, then 80%               In-Network coverage only
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Covered same as Medical                 In-Network coverage only
                                            Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 80%               In-Network coverage only
  Outpatient Facility                       Plan deductible, then 80%               In-Network coverage only
  Inpatient Professional Services           Plan deductible, then 80%               In-Network coverage only
  Outpatient Professional Services          Plan deductible, then 80%               In-Network coverage only
  Travel Maximum:                           Plan deductible, then 100%              In-Network coverage only
  $10,000 per episode of gene therapy       (available only for travel when prior
                                            authorized to receive gene therapy at
                                            a participating In-Network facility
                                            specifically contracted with Cigna to
                                            provide the specific gene therapy)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.
  Advanced Cellular Therapy Product       Covered Same as Medical               In-Network coverage only
                                          Pharmaceuticals
  Inpatient Facility                      Plan deductible, then 80%             In-Network coverage only
  Outpatient Facility                     Plan deductible, then 80%             In-Network coverage only
  Inpatient Professional Services         Plan deductible, then 80%             In-Network coverage only
  Outpatient Professional Services        Plan deductible, then 80%             In-Network coverage only
  Advanced Cellular Therapy Travel        Plan deductible, then 100%            In-Network coverage only
  Maximum:
  $10,000 per episode of advanced
  cellular therapy
  (Available only for travel when prior
  authorized to receive advanced
  cellular therapy from a provider
  located more than 60 miles of your
  primary residence and is contracted
  with Cigna for the specific advanced
  cellular therapy product and related
  services.)




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
    Primary Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 80%             Plan deductible, then 60% of the
  Postnatal Visits and Physician’s                                              Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 80%             Plan deductible, then 60% of the
  (Inpatient Hospital, Birthing Center)                                         Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                      IN-NETWORK                         OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                     Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
  Inpatient Professional Services     Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Professional Services    Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                            Maximum Reimbursable Charge
    .




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        BENEFIT HIGHLIGHTS                       IN-NETWORK                    OUT-OF-NETWORK
Women’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
    Primary Care Physician                100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
    Specialty Care Physician              100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Primary Care Physician’s Office       100%                          Plan deductible, then 60% of the
    Visit                                                               Maximum Reimbursable Charge
    Specialty Care Physician’s Office     100%                          Plan deductible, then 60% of the
    Visit                                                               Maximum Reimbursable Charge
    Inpatient Facility                    100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
    Outpatient Facility                   100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
    Inpatient Professional Services       100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
    Outpatient Professional Services      100%                          Plan deductible, then 60% of the
                                                                        Maximum Reimbursable Charge
    .




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        BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology
  Tests and Counseling
    Primary Care Physician                Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
    Specialty Care Physician              Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Primary Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 60% of the
    Visit                                                                       Maximum Reimbursable Charge
    Inpatient Facility                    Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
    Outpatient Facility                   Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
    Inpatient Professional Services       Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
    Outpatient Professional Services      Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
    .




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          BENEFIT HIGHLIGHTS                             IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
    • Testing and treatment services performed in connection with an underlying medical condition.
    • Testing performed specifically to determine the cause of infertility.
    • Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
      condition).
    • Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
        Primary Care Physician                Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
        Specialty Care Physician              Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Facility                        Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Facility                       Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Professional Services           Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Professional Services          Plan deductible, then 80%                  Plan deductible, then 60% of the
                                                                                         Maximum Reimbursable Charge
    Lifetime Maximum:
    $50,000 per member
    Includes all related services billed
    with an infertility diagnosis (i.e. x-
    ray or lab services billed by an
    independent facility).
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       BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 100% at         Plan deductible, then 60% of the
                                           LifeSOURCE center, otherwise plan     Maximum Reimbursable Charge
                                           deductible, then 80%
  Inpatient Professional Services          Plan deductible, then 100% at         Plan deductible, then 60% of the
                                           LifeSOURCE center, otherwise plan     Maximum Reimbursable Charge
                                           deductible, then 80%
  Lifetime Travel Maximum:                 Plan deductible, then 100% (only      In-Network coverage only
  $10,000 per transplant                   available when using LifeSOURCE
                                           facility)
  .
Durable Medical Equipment                  Plan deductible, then 80%             Plan deductible, then 60% of the
  Calendar Year Maximum:                                                         Maximum Reimbursable Charge
. Unlimited
Outpatient Dialysis Services
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                          Maximum Reimbursable Charge
  Outpatient Facility Services             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
  Home Setting                             Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                 Maximum Reimbursable Charge
Breast Feeding Equipment and               100%                                  Plan deductible, then 60% of the
Supplies                                                                         Maximum Reimbursable Charge
  Note:
  Includes the rental of one breast
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
External Prosthetic Appliances              Plan deductible, then 80%             Plan deductible, then 60% of the
  Calendar Year Maximum:                                                          Maximum Reimbursable Charge
  Unlimited

  Note: Includes Prescription
  Orthotics.
Hearing Aids                                80%                                   In-Network coverage only
  Maximum:
  Coverage through children under age
  18: maximum of 2 devices per 12
  months.
  Coverage through age 18 or above :
  maximum of 2 devices per 36
  months.

  Note: Include implantable devices
  such as cochlear.
Hearing Services                            Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  Note: Includes hearing exams and
  diagnosis.
Wigs                                        Plan deductible, then 80%             Plan deductible, then 80% of the
  Calendar Year Maximum:                                                          Maximum Reimbursable Charge
  $500
.
Nutritional Counseling
  Calendar Year Maximum:
  6 visits per person however, the 6
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Primary Care Physician’s Office           Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                           Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                  Maximum Reimbursable Charge
  .




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
for an Injury to teeth.
  Primary Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 60% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                                Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                            OUT-OF-NETWORK
Obesity/Bariatric Surgery
Note:
Coverage is provided subject to
medical necessity and clinical
guidelines subject to any limitations
shown in the “Exclusions, Expenses
Not Covered and General Limitations”
section of this certificate.
  Primary Care Physician’s Office        Plan deductible, then 80%                 Plan deductible, then 60% of the
  Visit                                                                            Maximum Reimbursable Charge
  Specialty Care Physician’s Office      Plan deductible, then 80%                 Plan deductible, then 60% of the
  Visit                                                                            Maximum Reimbursable Charge
  Inpatient Facility                     Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                   Maximum Reimbursable Charge
  Outpatient Facility                    Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                   Maximum Reimbursable Charge
  Inpatient Professional Services        Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                   Maximum Reimbursable Charge
  Outpatient Professional Services       Plan deductible, then 80%                 Plan deductible, then 60% of the
                                                                                   Maximum Reimbursable Charge
Surgical Professional Services
Lifetime Maximum:
$10,000

Notes:
• Includes charges for surgeon only;
  does not include radiologist,
  anesthesiologist, etc.
• Accumulates to the Out-of-Pocket
  Maximum.
• Only surgical services accumulate to
  the maximum.
.
Routine Foot Disorders                   Not covered except for services           Not covered except for services
                                         associated with foot care for diabetes,   associated with foot care for diabetes,
                                         peripheral neuropathies and               peripheral neuropathies and
                                         peripheral vascular disease when          peripheral vascular disease when
                                         Medically Necessary.                      Medically Necessary.




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                             OUT-OF-NETWORK
Travel Services
Authorized travel and lodging expenses for designated covered services administered at an In-Network facility/provider
when an In-Network facility/provider is not available within a 100-mile radius of your primary home residence subject to
any plan deductible.
The following designated services are covered by your plan and may be eligible for this travel benefit:
• all Medical and Mental Health and Substance Use Disorder services.

Lifetime Maximum for Travel and Lodging Expenses for Designated Services Combined
Note:
Does not include other services with separate travel and lodging dollar maximum(s) as noted in The Schedule.
Medical Benefit services other than Mental Health and Substance Use Disorder services: $10,000
Mental
.      Health and Substance Use Disorder services: Unlimited
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.
Mental Health
 Inpatient                                  Plan deductible, then 80%                Plan deductible, then 60% of the
   Includes Acute Inpatient and                                                      Maximum Reimbursable Charge
   Residential Treatment

    Calendar Year Maximum:
    Unlimited
  Outpatient
    Outpatient - Office Visits              Plan deductible, then 100%               Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers             Plan deductible, then 100%               In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services         Plan deductible, then 80%                Plan deductible, then 60% of the
                                                                                     Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             Plan deductible, then 80%             Plan deductible, then 60% of the
    Includes Acute Inpatient                                                  Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

    Calendar Year Maximum:
    Unlimited
  Outpatient
    Outpatient - Office Visits          Plan deductible, then 100%            Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         Plan deductible, then 100%            In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 80%             Plan deductible, then 60% of the
                                                                              Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
•   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
•   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will not include the first $500 for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will not include the first $500 of            excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed             •   Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
•   Hospital charges for Room and Board, for treatment listed           •   Home Health Care Services.
    above for which PAC was performed, which are made for               •   Medical Pharmaceuticals.
    any day in excess of the number of days certified through           •   Radiation Therapy.
    PAC or CSR; and
•   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify          •   inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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•   inpatient services at any participating Other Health Care                •   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
•   residential treatment.                                                   •   charges for Emergency Services.
•   outpatient facility services.                                            •   charges for Urgent Care.
•   partial hospitalization.                                                 •   charges by a Physician or a Psychologist for professional
•   advanced radiological imaging.                                               services.
•   non-emergency Ambulance.                                                 •   charges by a Nurse for professional nursing service.
•   certain Medical Pharmaceuticals.                                         •   charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
•   home health care services.
                                                                             •   charges for diagnostic x-ray.
•   radiation therapy.
                                                                             •   charges for advanced radiological imaging, including for
•   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA55                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V1             therapeutic radiological procedures.
                                                                             •   charges for chemotherapy.
                                                                             •   charges for blood transfusions.
Covered Expenses                                                             •   charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                       •   charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:
                                                                             •   charges for screening prostate-specific antigen (PSA)
•   preventive care services; and                                                testing.
•   services or supplies that are Medically Necessary for the                •   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.
                                                                             •   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                             •   charges for the following preventive care services as
•   charges for inpatient Room and Board and other Necessary                     defined by recommendations from the following:
    Services and Supplies made by a Hospital, subject to the                     • the U.S. Preventive Services Task Force (A and B
    limits as shown in The Schedule.                                               recommendations);
•   charges for inpatient Room and Board and other Necessary                     • the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a
                                                                                 • the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in
    The Schedule.                                                                  Schedule of the Bright Futures Recommendations for
                                                                                   Pediatric Preventive Health Care;
•   charges for licensed Ambulance service to the nearest
                                                                                 • the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can
    be provided.                                                                   on Heritable Disorders in Newborns and Children; and
                                                                                 • with respect to women, evidence-informed preventive
•   charges for outpatient medical care and treatment received
    at a Hospital.                                                                 care and screening guidelines supported by the Health
                                                                                   Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Coverage includes medically approved formulas prescribed by
    For additional information on immunizations, visit the               a Physician for treatment of inborn errors of metabolism (e.g.,
    immunization schedule section of www.cdc.gov.                        disorders of amino acid or organic acid metabolism).
•   charges for surgical and non-surgical treatment of                   Internal Prosthetic/Medical Appliances
    Temporomandibular Joint Dysfunction (TMJ).                           Charges for internal prosthetic/medical appliances that provide
•   charges for acupuncture.                                             permanent or temporary internal functional supports for non-
•   charges for hearing aids and associated exam for device              functional body parts are covered. Medically Necessary repair,
    testing and fitting, including but not limited to semi-              maintenance or replacement of a covered appliance is also
    implantable hearing devices, audiant bone conductors and             covered.
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
    any device that amplifies sound.                                     HC-COV1122                                                    01-23
•   Medically Necessary orthognathic surgery to repair or                                                                                V1

    correct a severe facial deformity or disfigurement.
Virtual Care                                                             Obesity Treatment
Dedicated Virtual Providers                                              •   charges made for medical and surgical services only at
Includes charges for the delivery of real-time medical and                   approved centers for the treatment or control of clinically
health-related services, consultations and remote monitoring                 severe (morbid) obesity as defined below and if the services
by dedicated virtual providers as medically appropriate                      are demonstrated, through existing peer reviewed, evidence
through audio, video and secure internet-based technologies.                 based, scientific literature and scientifically based
                                                                             guidelines, to be safe and effective for the treatment or
Includes charges for the delivery of mental health and
                                                                             control of the condition. Clinically severe (morbid) obesity
substance use disorder-related services, consultations, and
                                                                             is defined by the National Heart, Lung and Blood Institute
remote monitoring by dedicated virtual providers as
                                                                             (NHLBI) as a Body Mass Index (BMI) of 40 or greater
appropriate through audio, video and secure internet-based
                                                                             without comorbidities, or a BMI of 35-39 with
technologies.
                                                                             comorbidities. The following items are specifically
Virtual Physician Services                                                   excluded:
Includes charges for the delivery of real-time medical and                   • medical and surgical services to alter appearances or
health-related services, consultations and remote monitoring                   physical changes that are the result of any medical or
as medically appropriate through audio, video and secure                       surgical services performed for the treatment or control of
internet-based technologies that are similar to office visit                   obesity or clinically severe (morbid) obesity; and
services provided in a face-to-face setting.
                                                                             • weight loss programs or treatments, whether or not they
Includes charges for the delivery of real-time mental health                   are prescribed or recommended by a Physician or under
and substance use disorder consultations and services, via                     medical supervision.
secure telecommunications technologies that shall include
video capability, telephone and internet, when such
consultations and services are delivered by a behavioral                 HC-COV2                                                       04-10

provider and are similar to office visit services provided in a                                                                          V1

face-to-face setting.
Convenience Care Clinic                                                  Home Health Care Services
Convenience Care Clinics provide for common ailments and                 Charges for skilled care provided by certain health care
routine services, including but not limited to, strep throat, ear        providers during a visit to the home, when the home is
infections or pink eye, immunizations and flu shots.                     determined to be a medically appropriate setting for the
Nutritional Counseling                                                   services. A visit is defined as a period of 2 hours or less.
                                                                         Home Health Care Services are subject to a maximum of 16
Charges for nutritional counseling when diet is a part of the            hours in total per day.
medical management of a medical or behavioral condition.
                                                                         Home Health Care Services are covered when skilled care is
Enteral Nutrition                                                        required under any of the following conditions:
Enteral Nutrition means medical foods that are specially                 •   the required skilled care cannot be obtained in an outpatient
formulated for enteral feedings or oral consumption.                         facility.



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•   confinement in a Hospital or Other Health Care Facility is                •   by a Hospice Facility for services provided on an outpatient
    not required.                                                                 basis;
•   the patient’s home is determined by Cigna to be the most                  •   by a Physician for professional services;
    medically appropriate place to receive specific services.                 •   by a Psychologist, social worker, family counselor or
Covered services include:                                                         ordained minister for individual and family counseling;
•   skilled nursing services provided by a Registered Nurse                   •   for pain relief treatment, including drugs, medicines and
    (RN), Licensed Practical Nurse (LPN), Licensed Vocational                     medical supplies;
    Nurse (LVN) and an Advanced Practice Registered Nurse                     Hospice Care Programs rendered by Other Health Care
    (APRN).                                                                   Facilities or in the Home include services:
•   services provided by health care providers such as physical               •   for part-time or intermittent nursing care by or under the
    therapist, occupational therapist and speech therapist.                       supervision of a Nurse;
•   services of a home health aide when provided in direct                    •   for part-time or intermittent services of an Other Health
    support of those nurses and health care providers.                            Professional;
•   necessary consumable medical supplies and home infusion                   •   physical, occupational and speech therapy;
    therapy administered or used by a health care provider.
                                                                              •   medical supplies;
Note: Physical, occupational, and other Outpatient Therapy
Services provided in the home are covered under the                           •   drugs and medicines lawfully dispensed only on the written
Outpatient Therapy Services benefit shown in The Schedule.                        prescription of a Physician;
The following are excluded from coverage:                                     •   laboratory services;
•   services provided by a person who is a member of the                          but only to the extent such charges would have been
    patient’s family, even when that person is a health care                      payable under the policy if the person had remained or been
    provider.                                                                     Confined in a Hospital or Hospice Facility.
•   services provided by a person who normally resides in the                 The following charges for Hospice Care Services are not
    patient’s house, even when that person is a health care                   included as Covered Expenses:
    provider.                                                                 •   services of a person who is a member of your family or your
•   non-skilled care, Custodial Services, and assistance in the                   Dependent's family or who normally resides in your house
    activities of daily living, including but not limited to eating,              or your Dependent's house;
    bathing, dressing or other services; self-care activities;                •   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.                                         •   services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent                     •   to the extent that any other benefits are payable for those
upon others for non-skilled care and/or Custodial Services, is                    expenses under the policy;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                   •   services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


                                                                              HC-COV1180                                                        01-22
HC-COV1123                                                       01-22



Hospice Care Services                                                         Mental Health and Substance Use Disorder Services

Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes.
those who have ceased treatment and to those continuing to                    Substance Use Disorder is defined as the psychological or
receive curative treatment and therapies.                                     physical dependence on alcohol or other mind-altering drugs
Hospice Care Programs rendered by Hospice Facilities or                       that requires diagnosis, care, and treatment.
Hospitals include services:                                                   Inpatient Mental Health Services
•   by a Hospice Facility for Room and Board and Services and                 Services that are provided by a Hospital while you or your
    Supplies;                                                                 Dependent are Confined in a Hospital for the treatment and


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evaluation of Mental Health. Inpatient Mental Health Services          diagnosis and treatment of abuse or addiction to alcohol and/or
include Mental Health Residential Treatment Services.                  drugs. Inpatient Substance Use Disorder Services include
Mental Health Residential Treatment Services are services              Residential Treatment services.
provided by a Hospital for the evaluation and treatment of the         Substance Use Disorder Residential Treatment Services
psychological and social functional disturbances that are a            are services provided by a Hospital for the evaluation and
result of subacute Mental Health conditions.                           treatment of the psychological and social functional
Mental Health Residential Treatment Center means an                    disturbances that are a result of subacute Substance Use
institution which specializes in the treatment of psychological        Disorder conditions.
and social disturbances that are the result of Mental Health           Substance Use Disorder Residential Treatment Center
conditions; provides a subacute, structured, psychotherapeutic         means an institution which specializes in the treatment of
treatment program, under the supervision of Physicians;                psychological and social disturbances that are the result of
provides 24-hour care, in which a person lives in an open              Substance Use Disorder; provides a subacute, structured,
setting; and is licensed in accordance with the laws of the            psychotherapeutic treatment program, under the supervision of
appropriate legally authorized agency as a residential                 Physicians; provides 24-hour care, in which a person lives in
treatment center.                                                      an open setting; and is licensed in accordance with the laws of
A person is considered confined in a Mental Health                     the appropriate legally authorized agency as a residential
Residential Treatment Center when she/he is a registered bed           treatment center.
patient in a Mental Health Residential Treatment Center upon           A person is considered confined in a Substance Use Disorder
the recommendation of a Physician.                                     Residential Treatment Center when she/he is a registered bed
Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
                                                                       Center upon the recommendation of a Physician.
Services of Providers who are qualified to treat Mental Health
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent are not Confined in a Hospital, and is               Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent are not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization Services are
depression; emotional reactions associated with marital                rendered no less than 4 hours and not more than 12 hours in
problems or divorce; child/adolescent problems of conduct or           any 24-hour period by a certified/licensed Substance Use
poor impulse control; affective disorders; suicidal or                 Disorder program in accordance with the laws of the
homicidal threats or acts; eating disorders; or acute                  appropriate legally authorized agency.
exacerbation of chronic Mental Health conditions (crisis
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
                                                                       are provided by a certified/licensed Substance Use Disorder
Mental Health Partial Hospitalization Services are rendered            program in accordance with the laws of the appropriate legally
not less than 4 hours and not more than 12 hours in any 24-            authorized agency. Intensive Outpatient Therapy Programs
hour period by a certified/licensed Mental Health program in           provide a combination of individual, family and/or group
accordance with the laws of the appropriate legally authorized         therapy in a day, totaling nine, or more hours in a week.
agency.
                                                                       Substance Use Disorder Detoxification Services
A Mental Health Intensive Outpatient Therapy Program
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent are Confined in a Hospital, when required for the            •   counseling for activities of an educational nature.


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•   counseling for borderline intellectual functioning.                        •   Other Equipment: centrifuges, needleless injectors, heat
•   counseling for occupational problems.                                          lamps, heating pads, cryounits, cryotherapy machines,
                                                                                   ultraviolet cabinets, that emit Ultraviolet A (UVA) rays
•   counseling related to consciousness raising.                                   sheepskin pads and boots, postural drainage board, AC/DC
•   vocational or religious counseling.                                            adaptors, scales (baby and adult), stair gliders, elevators,
•   I.Q. testing.                                                                  saunas, cervical and lumbar traction devices, exercise
                                                                                   equipment and diathermy machines.
•   custodial care, including but not limited to geriatric day
    care.
•   psychological testing on children requested by or for a                    HC-COV1124                                                        02-21

    school system.
•   occupational/recreational therapy programs even if                         External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                 •   charges made or ordered by a Physician for: the initial
    decline.                                                                       purchase and fitting of external prosthetic appliances and
                                                                                   devices available only by prescription which are necessary
HC-COV1409                                                        01-23
                                                                                   for the alleviation or correction of Injury, Sickness or
                                                                                   congenital defect.
                                                                               External prosthetic appliances and devices include
Durable Medical Equipment                                                      prostheses/prosthetic appliances and devices; orthoses and
•   charges made for purchase or rental of Durable Medical                     orthotic devices; braces; and splints.
    Equipment that is ordered or prescribed by a Physician and                 Prostheses/Prosthetic Appliances and Devices
    provided by a vendor approved by Cigna for use outside a
    Hospital or Other Health Care Facility. Coverage for repair,               Prostheses/prosthetic appliances and devices are defined as
    replacement or duplicate equipment is provided only when                   fabricated replacements for missing body parts.
    required due to anatomical change and/or reasonable wear                   Prostheses/prosthetic appliances and devices include, but are
    and tear. All maintenance and repairs that result from a                   not limited to:
    person’s misuse are the person’s responsibility.                           •   limb prostheses;
Durable Medical Equipment is defined as items which are                        •   terminal devices such as hands or hooks;
designed for and able to withstand repeated use by more than                   •   speech prostheses; and
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                       •   facial prostheses.
appropriate for use in the home; and are not disposable. Such                  Orthoses and Orthotic Devices
equipment includes, but is not limited to, crutches, hospital                  Orthoses and orthotic devices are defined as orthopedic
beds, ventilators, insulin pumps and wheel chairs.                             appliances or apparatuses used to support, align, prevent or
Durable Medical Equipment items that are not covered include                   correct deformities. Coverage is provided for custom foot
but are not limited to those that are listed below:                            orthoses and other orthoses as follows:
•   Bed Related Items: bed trays, over the bed tables, bed                     •   Non-foot orthoses – only the following non-foot orthoses
    wedges, pillows, custom bedroom equipment, mattresses,                         are covered:
    including nonpower mattresses, custom mattresses and                           • rigid and semi-rigid custom fabricated orthoses;
    posturepedic mattresses.
                                                                                   • semi-rigid prefabricated and flexible orthoses; and
•   Bath Related Items: bath lifts, nonportable whirlpools,
                                                                                   • rigid prefabricated orthoses including preparation, fitting
    bathtub rails, toilet rails, raised toilet seats, bath benches,
    bath stools, hand held showers, paraffin baths, bath mats,                       and basic additions, such as bars and joints.
    and spas.                                                                  •   Custom foot orthoses – custom foot orthoses are only
•   Fixtures to Real Property: ceiling lifts and wheelchair                        covered as follows:
    ramps.                                                                         • for persons with impaired peripheral sensation and/or
•   Car/Van Modifications.                                                           altered peripheral circulation (e.g. diabetic neuropathy
                                                                                     and peripheral vascular disease);
•   Air Quality Items: room humidifiers, vaporizers and air
                                                                                   • when the foot orthosis is an integral part of a leg brace
    purifiers.
                                                                                     and is necessary for the proper functioning of the brace;



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    • when the foot orthosis is for use as a replacement or              •   no more than once every 12 months for persons 18 years of
      substitute for missing parts of the foot (e.g. amputated               age and under.
      toes) and is necessary for the alleviation or correction of        The following are specifically excluded external prosthetic
      Injury, Sickness or congenital defect; and                         appliances and devices:
    • for persons with neurologic or neuromuscular condition             •   external and internal power enhancements for external
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing              prosthetic devices; or
      spasticity, malalignment, or pathological positioning of
      the foot and there is reasonable expectation of                    •   microprocessor controlled prostheses and orthoses; and
      improvement.                                                       •   myoelectric prostheses and orthoses.
The following are specifically excluded orthoses and orthotic
devices:                                                                 HC-COV1125                                                      01-22

•   prefabricated foot orthoses;                                                                                                             V1

•   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for            Infertility Services
    synostotic plagiocephaly. When used for this indication, the
                                                                         •   charges made for services related to diagnosis of infertility
    cranial orthosis will be subject to the limitations and
                                                                             and treatment of infertility once a condition of infertility has
    maximums of the External Prosthetic Appliances and
                                                                             been diagnosed. Services include, but are not limited to:
    Devices benefit;
                                                                             infertility drugs which are administered or provided by a
•   orthosis shoes, shoe additions, procedures for foot                      Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;                      procedures that have been demonstrated in existing peer-
•   non-foot orthoses primarily used for cosmetic rather than                reviewed, evidence-based, scientific literature to have a
    functional reasons; and                                                  reasonable likelihood of resulting in pregnancy; laboratory
                                                                             tests; sperm washing or preparation; artificial insemination;
•   non-foot orthoses primarily for improved athletic
                                                                             diagnostic evaluations; gamete intrafallopian transfer
    performance or sports participation.
                                                                             (GIFT); in vitro fertilization (IVF); zygote intrafallopian
Braces                                                                       transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that               Infertility is defined as:
supports or holds in correct position any movable part of the
                                                                             • the inability of opposite-sex partners to achieve
body and that allows for motion of that part.
                                                                               conception after at least one year of unprotected
The following braces are specifically excluded: Copes                          intercourse;
scoliosis braces.
                                                                             • the inability of opposite-sex partners to achieve
Splints                                                                        conception after six months of unprotected intercourse,
A Splint is defined as an appliance for preventing movement                    when the female partner trying to conceive is age 35 or
of a joint or for the fixation of displaced or movable parts.                  older;
Coverage for replacement of external prosthetic appliances                   • the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                       partner, to achieve conception after at least six trials of
                                                                               medically supervised artificial insemination over a one-
•   replacement due to regular wear. Replacement for damage
                                                                               year period; and
    due to abuse or misuse by the person will not be covered.
                                                                             • the inability of a woman, with or without an opposite-sex
•   replacement required because anatomic change has rendered
                                                                               partner, to achieve conception after at least three trials of
    the external prosthetic appliance or device ineffective.
                                                                               medically supervised artificial insemination over a six-
    Anatomic change includes significant weight gain or loss,
                                                                               month period of time, when the female partner trying to
    atrophy and/or growth.
                                                                               conceive is age 35 or older.
•   replacement due to a surgical alteration or revision of the
                                                                         This benefit includes diagnosis and treatment of both male and
    impacted site.
                                                                         female infertility.
Coverage for replacement is limited as follows:
                                                                         However, the following are specifically excluded infertility
•   no more than once every 24 months for persons 19 years of            services:
    age and older.
                                                                         •   reversal of male and female voluntary sterilization;




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•   infertility services when the infertility is caused by or                •   Improve, adapt or attain function (sometimes called
    related to voluntary sterilization;                                          “habilitative”):
•   donor charges and services;                                                  • To improve, adapt or attain function that has been
•   cryopreservation of donor sperm and eggs; and                                  impaired or was never achieved as a result of congenital
                                                                                   abnormality (birth defect).
•   any experimental, investigational or unproven infertility
    procedures or therapies.                                                     • To improve, adapt or attain function that has been
                                                                                   impaired or was never achieved because of mental health
                                                                                   and substance use disorder conditions. Includes
HC-COV734                                                       01-19              conditions such as autism and intellectual disability, or
                                                                                   mental health and substance use disorder conditions that
                                                                                   result in a developmental delay.
Outpatient Therapy Services
                                                                             Coverage is provided as part of a program of treatment when
Charges for the following therapy services:
                                                                             the following criteria are met:
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                             •   The individual’s condition has the potential to improve or is
Manipulation, Physical Therapy, Pulmonary
                                                                                 improving in response to therapy, and maximum
Rehabilitation, Speech Therapy
                                                                                 improvement is yet to be attained.
•   Charges for therapy services are covered when provided as
                                                                             •   There is an expectation that the anticipated improvement is
    part of a program of treatment.
                                                                                 attainable in a reasonable and generally predictable period
Cardiac Rehabilitation                                                           of time.
•   Charges for Phase II cardiac rehabilitation provided on an               •   The therapy is provided by, or under the direct supervision
    outpatient basis following diagnosis of a qualifying cardiac                 of, a licensed health care professional acting within the
    condition when Medically Necessary. Phase II is a Hospital-                  scope of the license.
    based outpatient program following an inpatient Hospital
                                                                             •   The therapy is Medically Necessary and medically
    discharge. The Phase II program must be Physician directed
                                                                                 appropriate for the diagnosed condition.
    with active treatment and EKG monitoring.
                                                                             Coverage for occupational therapy is provided only for
    Phase III and Phase IV cardiac rehabilitation is not covered.
                                                                             purposes of enabling individuals to perform the activities of
    Phase III follows Phase II and is generally conducted at a
                                                                             daily living after an Injury or Sickness.
    recreational facility primarily to maintain the patient’s status
    achieved through Phases I and II. Phase IV is an                         Therapy services that are not covered include:
    advancement of Phase III which includes more active                      •   sensory integration therapy.
    participation and weight training.
                                                                             •   treatment of dyslexia.
Chiropractic Care Services
                                                                             •   maintenance or preventive treatment provided to prevent
•   Charges for diagnostic and treatment services utilized in an                 recurrence or to maintain the patient’s current status.
    office setting by chiropractic Physicians. Chiropractic
                                                                             •   charges for Chiropractic Care not provided in an office
    treatment includes the conservative management of acute
                                                                                 setting.
    neuromusculoskeletal conditions through manipulation and
    ancillary physiological treatment rendered to specific joints            •   vitamin therapy.
    to restore motion, reduce pain, and improve function. For                Coverage is administered according to the following:
    these services you have direct access to qualified                       •   Multiple therapy services provided on the same day
    chiropractic Physicians.                                                     constitute one day of service for each therapy type.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
                                                                             HC-COV982                                                     01-21
•   Restore function (called “rehabilitative”):
    • To restore function that has been impaired or lost.                    Breast Reconstruction and Breast Prostheses
    • To reduce pain as a result of Sickness, Injury, or loss of a           •   charges made for reconstructive surgery following a
      body part.                                                                 mastectomy; benefits include: surgical services for
                                                                                 reconstruction of the breast on which surgery was
                                                                                 performed; surgical services for reconstruction of the non-
                                                                                 diseased breast to produce symmetrical appearance;



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    postoperative breast prostheses; and mastectomy bras and                      LifeSOURCE Transplant Network® facilities, are payable
    prosthetics, limited to the lowest cost alternative available                 at the In-Network level.
    that meets prosthetic placement needs. During all stages of               •   Transplant services and related specialty care services
    mastectomy, treatment of physical complications, including                    received at any other facility, including non-Participating
    lymphedema therapy, are covered.                                              Provider facilities and Participating Provider facilities not
Reconstructive Surgery                                                            specifically contracted with Cigna for transplant services
•   charges made for reconstructive surgery or therapy to repair                  and related specialty care services, are covered at the Out-
    or correct a severe physical deformity or disfigurement                       of-Network level.
    which is accompanied by functional deficit; (other than                   •   Cornea transplants received at a facility that is specifically
    abnormalities of the jaw or conditions related to TMJ                         contracted with Cigna for this type of transplant are payable
    disorder) provided that: the surgery or therapy restores or                   at the In-Network level.
    improves function; reconstruction is required as a result of              Coverage for organ procurement costs are limited to costs
    Medically Necessary, non-cosmetic surgery; or the surgery                 directly related to the procurement of an organ, from a cadaver
    or therapy is performed prior to age 19 and is required as a              or a live donor. Organ procurement costs shall consist of
    result of the congenital absence or agenesis (lack of                     hospitalization and surgery necessary for removal of an organ
    formation or development) of a body part. Repeat or                       and transportation of a live donor (refer to Transplant and
    subsequent surgeries for the same condition are covered                   Related Specialty Care Travel Services). Compatibility testing
    only when there is the probability of significant additional              undertaken prior to procurement is covered if Medically
    improvement as determined by the utilization review                       Necessary. Costs related to the search for, and identification of
    Physician.                                                                a bone marrow or stem cell donor for an allogeneic transplant
                                                                              are also covered.
HC-COV631                                                        12-17        Transplant and Related Specialty Care Travel Services
                                                                              Charges made for non-taxable travel expenses incurred by you
Transplant Services and Related Specialty Care                                in connection with a preapproved organ/tissue transplant are
                                                                              covered subject to the following conditions and limitations:
Charges made for human organ and tissue transplant services
which include solid organ and bone marrow/stem cell                           •   Transplant and related specialty care travel benefits are not
procedures at designated facilities throughout the United                         available for cornea transplants.
States or its territories. This coverage is subject to the                    •   Benefits for transportation and lodging are available to the
following conditions and limitations.                                             recipient of a preapproved organ/tissue transplant and/or
Transplant services include the recipient’s medical, surgical                     related specialty care from a designated Cigna
and Hospital services; inpatient immunosuppressive                                LifeSOURCE Transplant Network® facility.
medications; and costs for organ or bone marrow/stem cell                     •   The term recipient is defined to include a person receiving
procurement. Transplant services are covered only if they are                     authorized transplant related services during any of the
required to perform any of the following human to human                           following: evaluation, candidacy, transplant event, or post-
organ or tissue transplants: allogeneic bone marrow/stem cell,                    transplant care.
autologous bone marrow/stem cell, cornea, heart, heart/lung,                  •   Travel expenses for the person receiving the transplant will
kidney, kidney/pancreas, liver, lung, pancreas or intestine                       include charges for: transportation to and from the
which includes small bowel-liver or multi-visceral.                               designated Cigna LifeSOURCE Transplant Network®
Implantation procedures are also covered for artificial heart,                    facility (including charges for a rental car used during a
percutaneous ventricular assist device (PVAD), extracorporeal                     period of care at the designated Cigna LifeSOURCE
membrane oxygenation (ECMO) ventricular assist device                             Transplant Network® facility); and lodging while at, or
(VAD) and intra-aortic balloon pump (IABP) are also covered.                      traveling to and from, the designated Cigna LifeSOURCE
•   All transplant services and related specialty care services,                  Transplant Network® facility.
    other than cornea transplants, are covered when received at               •   In addition to your coverage for the charges associated with
    Cigna LifeSOURCE Transplant Network® facilities.                              the items above, such charges will also be considered
•   Transplant services and related specialty care services                       covered travel expenses for one companion to accompany
    received at Participating Provider facilities specifically                    you. The term companion includes your spouse, a member
    contracted with Cigna for those transplant services and                       of your family, your legal guardian, or any person not
    related specialty care services, other than Cigna                             related to you, but actively involved as your caregiver who
                                                                                  is at least 18 years of age.



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•   The following are specifically excluded travel expenses: any          Benefits for transportation and lodging are available to you
    expenses that if reimbursed would be taxable income, travel           only when:
    costs incurred due to travel within 60 miles of your home;            •   you are the recipient of a prior authorized advanced cellular
    food and meals; laundry bills; telephone bills; alcohol or                therapy product;
    tobacco products; and charges for transportation that exceed
    coach class rates.                                                    •   the term recipient is defined to include a person receiving
                                                                              prior authorized advanced cellular therapy related services
These benefits for Transplant Services and Related Specialty                  during any of the following: evaluation, candidacy, event, or
Care, and for Transplant and Related Specialty Care Travel                    post care;
Services are only available when the covered person is the
recipient of an organ/tissue transplant. Travel expenses for the          •   the advanced cellular therapy products and services directly
designated live donor for a covered recipient are covered                     related to their administration are received at a provider
subject to the same conditions and limitations noted above.                   contracted with Cigna for the specific advanced cellular
Charges for the expenses of a donor companion are not                         therapy product and related services; and
covered. No transplant and related specialty care services or             •   the provider is not available within a 60 mile radius of your
travel benefits are available when the covered person is the                  primary home residence.
donor for an organ/tissue transplant, the transplant recipient’s          Travel expenses for the person receiving the advanced cellular
plan would cover all donor costs.                                         therapy include charges for: transportation to and from the
                                                                          advanced cellular therapy site (including charges for a rental
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                                                                          car used during a period of care at the facility); and lodging
                                                                          while at, or traveling to and from, the site.
                                                                          In addition to your coverage for the charges associated with
Advanced Cellular Therapy                                                 the items above, such charges will also be considered covered
Charges for advanced cellular therapy products and services               travel expenses for one companion to accompany you. The
directly related to their administration are covered when                 term companion includes your spouse, a member of your
Medically Necessary. Coverage includes the cost of the                    family, your legal guardian, or any person not related to you,
advanced cellular therapy product; medical, surgical, and                 but actively involved as your caregiver who is at least 18 years
facility services directly related to administration of the               of age.
advanced cellular therapy product, and professional services.             The following are specifically excluded travel expenses: any
Cigna determines which U.S. Food and Drug Administration                  expenses that if reimbursed would be taxable income, travel
(FDA) approved products are in the category of advanced                   costs incurred due to travel within a 60 mile radius of your
cellular therapy, based on the nature of the treatment and how            primary home residence; food and meals; laundry bills;
it is manufactured, distributed and administered. An example              telephone bills; alcohol or tobacco products; and charges for
of advanced cellular therapy is chimeric antigen receptor                 transportation that exceed coach class rates.
(CAR) T-cell therapy that redirects a person’s T cells to
recognize and kill a specific type of cancer cell.
                                                                          HC-COV1327                                             04-23
Advanced cellular therapy products and their administration
are covered at the In-Network benefit level when prior
authorized to be received at a provider contracted with Cigna             Medical Pharmaceuticals
for the specific advanced cellular therapy product and related            The plan covers charges made for Medical Pharmaceuticals
services. Advanced cellular therapy products and their                    that may be administered in an Inpatient setting, Outpatient
administration received from a provider that is not contracted            setting, Physician’s office, or in a covered person's home.
with Cigna for the specific advanced cellular therapy product
and related services are not covered.                                     Benefits under this section are provided only for Medical
                                                                          Pharmaceuticals that, because of their characteristics as
Advanced Cellular Therapy Travel Services                                 determined by Cigna, require a qualified licensed health care
Charges made for non-taxable travel expenses incurred by you              professional to administer or directly supervise administration.
in connection with a prior authorized advanced cellular                   Certain Medical Pharmaceuticals are subject to prior
therapy product are covered, subject to the following                     authorization requirements or other coverage conditions.
conditions and limitations.                                               Additionally, certain Medical Pharmaceuticals are subject to
                                                                          step therapy requirements. This means that in order to receive
                                                                          coverage, the covered person may be required to try a specific
                                                                          Medical Pharmaceutical before trying others. Medical



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Pharmaceuticals administered in an Inpatient facility are                   allow for access to non-covered drugs when Medically
reviewed per Inpatient review guidelines.                                   Necessary.
Cigna determines the utilization management requirements                    Cigna may consider certain Medical Pharmaceutical regimens
and other coverage conditions that apply to a Medical                       as preferred when they are clinically effective treatments and
Pharmaceutical by considering a number of factors:                          the most cost effective. Preferred regimens are covered unless
•   Clinical factors, which may include Cigna’s evaluations of              the covered person is not a candidate for the regimen and a
    the site of care and the relative safety or relative efficacy of        Medical Necessity coverage exception is obtained.
    Medical Pharmaceuticals.
•   Economic factors, which may include the cost of the                     HC-COV1186                                                     04-23
    Medical Pharmaceutical and assessments of cost                                                                                           V2

    effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may                      Gene Therapy
change periodically for various reasons. For example, a
                                                                            Charges for gene therapy products and services directly
Medical Pharmaceutical may be removed from the market, a
                                                                            related to their administration are covered when Medically
new Medical Pharmaceutical in the same therapeutic class as a
                                                                            Necessary. Gene therapy is a category of pharmaceutical
Medical Pharmaceutical may become available, or other
                                                                            products approved by the U.S. Food and Drug Administration
market events may occur. Market events that may affect the
                                                                            (FDA) to treat or cure a disease by:
coverage status of a Medical Pharmaceutical include an
increase in the cost of a Medical Pharmaceutical.                           •   replacing a disease-causing gene with a healthy copy of the
                                                                                gene.
Certain Medical Pharmaceuticals that are used for treatment of
complex chronic conditions, are high cost, and are                          •   inactivating a disease-causing gene that may not be
administered and handled in a specialized manner may be                         functioning properly.
subject to additional coverage criteria or require                          •   introducing a new or modified gene into the body to help
administration by a participating provider in the network for                   treat a disease.
the Cigna Pathwell Specialty Network. Cigna determines
                                                                            Each gene therapy product is specific to a particular disease
which injections, infusions, and implantable drugs are subject
                                                                            and is administered in a specialized manner. Cigna determines
to these criteria and requirements.
                                                                            which products are in the category of gene therapy, based in
The Cigna Pathwell Specialty Network includes contracted                    part on the nature of the treatment and how it is distributed
physician offices, ambulatory infusion centers, home and                    and administered.
outpatient hospital infusion centers, and contracted specialty
                                                                            Coverage includes the cost of the gene therapy product;
pharmacies. When the Cigna Pathwell Specialty Network
                                                                            medical, surgical, and facility services directly related to
cannot meet the clinical needs of the customer as determined
                                                                            administration of the gene therapy product; and professional
by Cigna, exceptions are considered and approved when
                                                                            services.
appropriate.
                                                                            Gene therapy products and their administration are covered
A complete list of those Medical Pharmaceuticals subject to
                                                                            when prior authorized to be received at In-Network facilities
additional coverage criteria or that require administration by a
                                                                            specifically contracted with Cigna for the specific gene
participating provider in the Cigna Pathwell Specialty
                                                                            therapy service. Gene therapy products and their
Network is available at www.cigna.com/PathwellSpecialty.
                                                                            administration received at other facilities are not covered.
The following are not covered under the plan:
                                                                            Gene Therapy Travel Services
•   Medical Pharmaceutical regimens that have a Therapeutic
                                                                            Charges made for non-taxable travel expenses incurred by you
    Equivalent or Therapeutic Alternative to another covered
                                                                            in connection with a prior authorized gene therapy procedure
    Prescription Drug Product(s);
                                                                            are covered subject to the following conditions and
•   Medical Pharmaceuticals newly approved by the Food &                    limitations.
    Drug Administration (FDA) up to the first 180 days
                                                                            Benefits for transportation and lodging are available to you
    following its market launch;
                                                                            only when you are the recipient of a prior authorized gene
•   Medical Pharmaceutical regimens for which there is an                   therapy; and when the gene therapy products and services
    appropriate lower cost alternative for treatment.                       directly related to their administration are received at a
In the event a covered Medical Pharmaceutical is not clinically             participating In-Network facility specifically contracted with
appropriate, Cigna makes available an exception process to                  Cigna for the specific gene therapy service. The term recipient
                                                                            is defined to include a person receiving prior authorized gene


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therapy related services during any of the following:                            • a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                         • a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or                        • any of the following: Department of Energy, Department
traveling to and from, the site.                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered                      •   the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The                                approved through a system of peer review comparable
term companion includes your spouse, a member of your                                  to the system of peer review of studies and
family, your legal guardian, or any person not related to you,                         investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years                       (NIH); and
of age.
                                                                                   •   the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any                           the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel                            who have no interest in the outcome of the review.
costs incurred due to travel within 60 miles of your home;
                                                                                 • the study or investigation is conducted under an
food and meals; laundry bills; telephone bills; alcohol or
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                 • the study or investigation is a drug trial that is exempt
                                                                                   from having such an investigational new drug application.
HC-COV873                                                       01-20
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials                                                              •   services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The                    • the investigational drug, device, item, or service that is
individual must be eligible to participate according to the trial                  provided solely to satisfy data collection and analysis
protocol and either of the following conditions must be met:                       needs.
•   the referring health care professional is a participating                    • an item or service that is not used in the direct clinical
    health care provider and has concluded that the individual’s                   management of the individual.
    participation in such trial would be appropriate; or
                                                                                 • a service that is clearly inconsistent with widely accepted
•   the individual provides medical and scientific information                     and established standards of care for a particular
    establishing that the individual’s participation in the clinical               diagnosis.
    trial would be appropriate.
                                                                             •   an item or service provided by the research sponsors free of
In addition to qualifying as an individual, the clinical trial                   charge for any person enrolled in the trial.
must also meet certain criteria in order for patient care costs
and services to be covered.                                                  •   travel and transportation expenses, unless otherwise covered
                                                                                 under the plan, including but not limited to the following:
The clinical trial must be a phase I, phase II, phase III, or
phase IV clinical trial conducted in relation to the prevention,                 • fees for personal vehicle, rental car, taxi, medical van,
detection, or treatment of cancer or other life-threatening                        ambulance, commercial airline, train.
disease or condition that meets any of the following criteria:                   • mileage reimbursement for driving a personal vehicle.
•   it is a federally funded trial. The study or investigation is                • lodging.
    approved or funded (which may include funding through in-                    • meals.
    kind contributions) by one or more of the following:
                                                                             •   routine patient costs obtained out-of-network when Out-of-
    • National Institutes of Health (NIH).                                       Network benefits do not exist under the plan.
    • Centers for Disease Control and Prevention (CDC).                      Examples of routine patient care costs and services include:
    • Agency for Health Care Research and Quality (AHRQ).                    •   radiological services.
    • Centers for Medicare and Medicaid Services (CMS).                      •   laboratory services.


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•   intravenous therapy.                                                     •   gasoline.
•   anesthesia services.                                                     •   highway tolls (not prepaid).
•   Physician services.                                                      •   parking.
•   office services.                                                         •   shuttle services.
•   Hospital services.                                                       •   wheelchair van service to travel from local housing to
•   Room and Board, and medical supplies that typically would                    facility/provider.
    be covered under the plan for an individual who is not                   •   lodging up to $50 per night, per person for up to two people
    enrolled in a clinical trial.                                                (maximum of $100 per night, inclusive of taxes and
Clinical trials conducted by Out-of-Network providers will be                    nonrefundable fees), including but not limited to: hotel,
covered only when the following conditions are met:                              motel, rental from businesses such as Airbnb, VRBO, etc.
• In-Network providers are not participating in the clinical                 Excluded travel expenses include but are not limited to the
    trial; or                                                                following:
•   the clinical trial is conducted outside the individual’s state           •   any expenses that if reimbursed would be taxable income.
    of residence.                                                            •   travel within the mile radius defined above of your primary
                                                                                 home residence.
HC-COV1128                                                      01-22
                                                                             •   food and meals.
                                                                             •   mileage.
Travel Services                                                              •   incidentals, including but not limited to: laundry bills,
                                                                                 telephone bills, alcohol or tobacco products.
Charges for non-taxable travel and lodging expenses incurred
by you and one accompanying Companion/Caregiver (or up to                    •   charges for transportation that exceed coach class rates.
two caregivers for a Dependent minor) are covered in                         •   durable medical equipment, medical supplies, ambulance.
connection with designated services.                                         •   refundable deposits for housing, utilities, etc.
Travel services for a designated covered service may be                      •   travel for services not designated above.
authorized for coverage when an In-Network facility/provider
is not available within a 100-mile radius of your primary home               •   services that are not covered by the plan.
residence. Travel and lodging expenses are covered for
designated services administered at a participating In-Network               HC-COV1317                                                      10-22
facility/provider, subject to the maximum shown in The
Schedule.
Travel is available for the following designated services when
covered by your plan:
•   all Medical and Mental Health and Substance Use Disorder
    services.
Pre-authorization of travel is required by contacting Cigna at
the number on the back of your ID card. Pre-authorization of
the covered designated service also may be required.
The Companion/Caregiver can be your spouse, a member of
your family, your legal guardian, or any person not related to
you, but actively involved as your caregiver who is at least 18
years of age.
Covered travel expenses are reimbursed within daily limits as
defined by the Internal Revenue Service and include charges
for:
•   airfare (coach or economy), including baggage fees.
•   bus fare, train fare, taxi/Uber/Lyft, etc.
•   vehicle rentals.



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                                        Prescription Drug Benefits
                                                  The Schedule
For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded from coverage under this
plan. The amount you and your Dependent pays for any excluded Prescription Drug Product to the dispensing Pharmacy,
will not count towards your Deductible, if any, or Out-of-Pocket Maximum.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments
.          are amounts to be paid by you or your Dependent for covered Prescription Drug Products.

                                                      NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                     PHARMACY                                PHARMACY
Lifetime Maximum                         Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Calendar Year Deductible
  Individual                             Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
  Family                                 Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Out-of-Pocket Maximum
  Individual                             Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
  Family                                 Refer to the Medical Benefits            Refer to the Medical Benefits
                                         Schedule                                 Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Pharmacy or home delivery Pharmacy.

Certain Preventive Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.
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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $15 Copay after plan      50% after plan Deductible
  Drug List                               Deductible

Tier 2
  Brand Drugs designated as               No charge after $45 Copay after plan      50% after plan Deductible
  preferred on the Prescription Drug      Deductible
  List
Tier 3
  Brand Drugs designated as non-          No charge after $75 Copay after plan      50% after plan Deductible
  preferred on the Prescription Drug      Deductible
  List
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.

Tier 1
  Generic Drugs on the Prescription       No charge after $30 Copay after plan      50% after plan Deductible
  Drug List                               Deductible

Tier 2
  Brand Drugs designated as               No charge after $100 Copay after plan     50% after plan Deductible
  preferred on the Prescription Drug      Deductible
  List

Tier 3
  Brand Drugs designated as non-          No charge after $175 Copay after plan     50% after plan Deductible
  preferred on the Prescription Drug      Deductible
  List

Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Home Delivery Pharmacies                  consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $30 Copay after plan      In-network coverage only
  Drug List                               Deductible



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                                                   NETWORK                              NON-NETWORK
     BENEFIT HIGHLIGHTS
                                                  PHARMACY                               PHARMACY
Tier 2
  Brand Drugs designated as            No charge after $100 Copay after plan   In-network coverage only
  preferred on the Prescription Drug   Deductible
  List

Tier 3
  Brand Drugs designated as non-       No charge after $175 Copay after plan   In-network coverage only
  preferred on the Prescription Drug   Deductible
  List




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Prescription Drug Benefits                                               Dependents is a determination that is made by you or your
                                                                         Dependent and the prescribing Physician.
Covered Expenses                                                         The coverage status of a Prescription Drug Product may
                                                                         change periodically for various reasons. For example, a
Your plan provides benefits for Prescription Drug Products on            Prescription Drug Product may be removed from the market, a
the Prescription Drug List that are dispensed by a Pharmacy.             New Prescription Drug Product in the same therapeutic class
Details regarding your plan’s Covered Expenses, which for the            as a Prescription Drug Product may become available, or other
purposes of the Prescription Drug Benefit include Medically              market events may occur. Market events that may affect the
Necessary Prescription Drug Products ordered by a Physician,             coverage status of a Prescription Drug Product include, but are
Limitations, and Exclusions are provided below and/or are                not limited to, an increase in the acquisition cost of a
shown in The Schedule.                                                   Prescription Drug Product. As a result of coverage changes,
If you or any one of your Dependents, while insured for                  for the purposes of benefits the plan may require you to pay
Prescription Drug Benefits, incurs expenses for charges made             more or less for that Prescription Drug Product, to obtain the
by a Pharmacy for Medically Necessary Prescription Drug                  Prescription Drug Product from a certain Pharmacy(ies) for
Products ordered by a Physician, your plan provides coverage             coverage, or try another covered Prescription Drug Product(s).
for those expenses as shown in The Schedule. Your benefits               Please access the Prescription Drug List through the website
may vary depending on which of the Prescription Drug List                shown on your ID card or call member services at the
tiers the Prescription Drug Product is listed, or the Pharmacy           telephone number on your ID card for the most up-to-date tier
that provides the Prescription Drug Product.                             status, utilization management, or other coverage limitations
Coverage under your plan’s Prescription Drug Benefits also               for a Prescription Drug Product.
includes Medically Necessary Prescription Drug Products
dispensed pursuant to a Prescription Order or Refill issued to           HC-PHR619                                                   01-23
you or your Dependents by a licensed dentist for the
prevention of infection or pain in conjunction with a dental
procedure.
                                                                         Limitations
When you or a Dependent are issued a Prescription Order or
Refill for Medically Necessary Prescription Drug Products as             For most Prescription Drug Products you and your Dependent
part of the rendering of Emergency Services and Cigna                    pay only the cost sharing detailed in The Schedule of
determines that it cannot reasonably be filled by a Network              Prescription Drug Benefits. However, in the event you or your
Pharmacy, the prescription will be covered pursuant to the, as           Dependent insist on a more expensive Brand Drug where a
applicable, Copayment or Coinsurance for the Prescription                Therapeutic Equivalent Generic Drug is available, you may be
Drug Product when dispensed by a Network Pharmacy.                       financially responsible for an Ancillary Charge, in addition to
                                                                         any required Brand Drug Copayment and/or Coinsurance. In
Prescription Drug List Management
                                                                         this case, the Ancillary Charge will not apply to your
Your plan’s Prescription Drug List coverage tiers may contain            Deductible, if any, or Out of Pocket Maximum. However, in
Prescription Drug Products that are Generic Drugs, Brand                 the event your Physician determines that the Generic Drug is
Drugs or Specialty Prescription Drug Products. Determination             not an acceptable alternative for you (and indicates Dispensed
of inclusion of a Prescription Drug Product to a certain                 as Written on the Prescription Order or Refill), you will only
coverage tier on the Prescription Drug List and utilization              be responsible for payment of the appropriate Brand Drug
management requirements or other coverage conditions are                 Coinsurance and/or Copayment after satisfying your
based on a number of factors which may include, clinical and             Deductible, if any.
economic factors. Clinical factors may include, but are not
                                                                         Your plan includes a Brand Drug for Generic Drug dispensing
limited to, the P&T Committee’s evaluations of the place in
                                                                         program. This program allows certain Brand Drugs to be
therapy, relative safety or relative efficacy of the Prescription
                                                                         dispensed in place of the Therapeutic Equivalent Generic
Drug Product, as well as whether certain supply limits or other
                                                                         Drug at the time your Prescription Order or Refill is processed
utilization management requirements should apply. Economic
                                                                         by a participating Pharmacy. Brand Drug for Generic Drug
factors may include, but are not limited to, the Prescription
                                                                         substitution will occur only for certain Brand Drugs included
Drug Product's acquisition cost including, but not limited to,
                                                                         in the program. When this substitution program is applied, the
assessments on the cost effectiveness of the Prescription Drug
                                                                         participating Pharmacy will dispense the Brand Drug to you in
Product and available rebates. Regardless of its eligibility for
                                                                         place of the available Generic Drug. You will be responsible
coverage under the plan, whether a particular Prescription
Drug Product is appropriate for you or any of your


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for payment of only a Generic Drug Copayment and/or                     provisions of the plan by submitting a written request stating
Coinsurance, after satisfying your Deductible, if any.                  why the Prescription Drug Product should be covered.
Prior Authorization Requirements                                        Step Therapy
Coverage for certain Prescription Drug Products prescribed to           Certain Prescription Drug Products are subject to step therapy
you requires your Physician to obtain prior authorization from          requirements. This means that in order to receive Benefits for
Cigna or its Review Organization. The reason for obtaining              such Prescription Drug Products you are required to try a
prior authorization from Cigna is to determine whether the              different Prescription Drug Product(s) first unless you satisfy
Prescription Drug Product is Medically Necessary in                     the plan's exception criteria. You may identify whether a
accordance with Cigna's coverage criteria. Coverage criteria            particular Prescription Drug Product is subject to step therapy
for a Prescription Drug Product may vary based on the clinical          requirements at the website shown on your ID card or by
use for which the Prescription Order or Refill is submitted,            calling member services at the telephone number on your ID
and may change periodically based on changes in, without                card.
limitation, clinical guidelines or practice standards, or market        Supply Limits
factors.
                                                                        Benefits for Prescription Drug Products are subject to the
If Cigna or its Review Organization reviews the                         supply limits that are stated in The Schedule. For a single
documentation provided and determines that the Prescription             Prescription Order or Refill, you may receive a Prescription
Drug Product is not Medically Necessary or otherwise                    Drug Product up to the stated supply limit.
excluded, your plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review             Some products are subject to additional supply limits, quantity
claims for excluded Prescription Drug Products or other                 limits or dosage limits based on coverage criteria that have
services to determine if they are Medically Necessary, unless           been approved based on consideration of the P&T
required by law.                                                        Committee’s clinical findings. Coverage criteria are subject to
                                                                        periodic review and modification. The limit may restrict the
When Prescription Drug Products that require prior                      amount dispensed per Prescription Order or Refill and/or the
authorization are dispensed at a Pharmacy, you or your                  amount dispensed per month's supply, or may require that a
prescribing Physician are responsible for obtaining prior               minimum amount be dispensed.
authorization from Cigna. If you do not obtain prior
authorization from us before the Prescription Drug Product is           You may determine whether a Prescription Drug Product has
dispensed by the Pharmacy, you can ask us to consider                   been assigned a dispensing supply limit or similar limit or
reimbursement after you pay for and receive the Prescription            requirement at the website shown on your ID card or by
Drug Product. You will need to pay for the Prescription Drug            calling member services at the telephone number on your ID
Product at the Pharmacy prior to submitting a reimbursement             card.
request.                                                                Specialty Prescription Drug Products
When you submit a claim on this basis, you will need to                 Benefits are provided for Specialty Prescription Drug
submit a paper claim using the form that appears on the                 Products. If you require Specialty Prescription Drug Products,
website shown on your ID card.                                          you may be directed to a Designated Pharmacy with whom
If a prior authorization request is approved, your Physician            Cigna has an arrangement to provide those Specialty
will receive confirmation. The authorization will be processed          Prescription Drug Products.
in the claim system to allow you to have coverage for the               Designated Pharmacies
Prescription Drug Product. The length of the authorization              If you require certain Prescription Drug Products, including,
may depend on the diagnosis and the Prescription Drug                   but not limited to, Specialty Prescription Drug Products, we
Product. The authorization will at all times be subject to the          may direct you to a Designated Pharmacy with whom we have
plan’s terms of coverage for the Prescription Drug Product,             an arrangement to provide those Prescription Drug Products. If
which may change from time to time. When your Physician                 you are directed to a Designated Pharmacy and you choose not
advises you that coverage for the Prescription Drug Product             to obtain your Prescription Drug Product from a Designated
has been approved, you can contact a Pharmacy to fill the               Pharmacy, you may not receive coverage for the Prescription
covered Prescription Order or Refill.                                   Drug Product or be subject to the non-Network Pharmacy
If the prior authorization request is denied, your Physician and        Benefit, if any, for that Prescription Drug Product. Refer to
you will be notified that coverage for the Prescription Drug            The Schedule for further information.
Product is not authorized. If you disagree with a coverage              New Prescription Drug Products
decision, you may appeal that decision in accordance with the
                                                                        New Prescription Drug Products may or may not be placed on
                                                                        a Prescription Drug List tier upon market entry. Cigna will use


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reasonable efforts to make a tier placement decision for a New             any, and/or non-Network Pharmacy Coinsurance amount set
Prescription Drug Product within six months of its market                  forth in The Schedule to the average wholesale price (or
availability. Cigna’s tier placement decision shall be based on            “AWP”), or other benchmark price Cigna applies, for a
consideration of, without limitation, the P&T Committee’s                  Prescription Drug Product dispensed by a non-Network
clinical review of the New Prescription Drug Product and                   Pharmacy. Your reimbursement, if any, for a covered
economic factors. If a New Prescription Drug Product not                   Prescription Drug Product dispensed by a non-Network
listed on the Prescription Drug List is approved by Cigna or its           Pharmacy will never exceed the average wholesale price (or
Review Organization as Medically Necessary in the interim,                 other benchmark price applied by Cigna) for the Prescription
the New Prescription Drug Product shall be covered at the                  Drug Product.
applicable coverage tier as set forth in The Schedule.                     When a treatment regimen contains more than one type of
                                                                           Prescription Drug Products that are packaged together for your
HC-PHR522                                                     01-22
                                                                           or your Dependent's convenience, any applicable Copayment
                                                                           or Coinsurance may apply to each Prescription Drug Product.
Your Payments                                                              You will need to obtain prior approval from Cigna or its
                                                                           Review Organization for any Prescription Drug Product not
Covered Prescription Drug Products purchased at a Pharmacy
                                                                           listed on the Prescription Drug List that is not otherwise
are subject to any applicable Deductible, Copayments or
                                                                           excluded. If Cigna or its Review Organization approves
Coinsurance shown in The Schedule, as well as any
                                                                           coverage for the Prescription Drug Product because it meets
limitations or exclusions set forth in this plan. Please refer to
                                                                           the applicable coverage exception criteria, the Prescription
The Schedule for any required Copayments, Coinsurance,
                                                                           Drug Product shall be covered at the applicable coverage tier
Deductibles or Out-of-Pocket Maximums.
                                                                           as set forth in The Schedule.
Deductible
Your plan requires that you pay the costs for covered
                                                                           HC-PHR420                                                       01-21
Prescription Drug Products up to the Deductible amount set
forth in The Schedule. Until you meet that Deductible amount,
your costs under the plan for a covered Prescription Drug
Product dispensed by a Network Pharmacy will be the lowest                 Exclusions
of the following amounts:                                                  Coverage exclusions listed under the “Exclusions, Expenses
•   the Prescription Drug Charge; or                                       Not Covered and General Limitations” section also apply to
•   the Network Pharmacy’s submitted Usual and Customary                   benefits for Prescription Drug Products. In addition, the
    (U&C) Charge, if any.                                                  exclusions listed below apply to benefits for Prescription Drug
                                                                           Products. When an exclusion or limitation applies to only
The Schedule sets forth your costs for covered Prescription                certain Prescription Drug Products, you can access the
Drug Products after you have satisfied the Deductible amount.              Prescription Drug List through the website shown on your ID
Copayment                                                                  card or call member services at the telephone number on your
Your plan requires that you pay a Copayment for covered                    ID card for information on which Prescription Drug Products
Prescription Drug Products as set forth in The Schedule. After             are excluded.
satisfying any applicable annual Deductible set forth in The               •   coverage for Prescription Drug Products for the amount
Schedule, your costs under the plan for a covered Prescription                 dispensed (days' supply) which exceeds the applicable
Drug Product dispensed by a Network Pharmacy and that is                       supply limit, or is less than any applicable supply minimum
subject to a Copayment requirement will be the lowest of the                   set forth in The Schedule, or which exceeds quantity limit(s)
following amounts:                                                             or dosage limit(s) set by the P&T Committee.
•   the Copayment for the Prescription Drug Product set forth              •   more than one Prescription Order or Refill for a given
    in The Schedule; or                                                        prescription supply period for the same Prescription Drug
•   the Prescription Drug Charge; or                                           Product prescribed by one or more Physicians and
                                                                               dispensed by one or more Pharmacies.
•   the Network Pharmacy’s submitted Usual and Customary
    (U&C) Charge, if any.                                                  •   Prescription Drug Products dispensed outside the
                                                                               jurisdiction of the United States, except as required for
Payments at Non-Network Pharmacies                                             emergency or Urgent Care treatment.
Any reimbursement due to you under this plan for a covered                 •   Prescription Drug Products which are prescribed, dispensed
Prescription Drug Product dispensed by a non-Network                           or intended to be taken by or administered to you while you
Pharmacy may be determined by applying the Deductible, if


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    are a patient in a licensed Hospital, Skilled Nursing Facility,         •    medications used for travel prophylaxis unless specifically
    rest home, rehabilitation facility, or similar institution which             identified on the Prescription Drug List.
    operates on its premises or allows to be operated on its                •    immunization agents, virus detection testing, virus antibody
    premises a facility for dispensing pharmaceutical products.                  testing, biological products for allergy immunization,
•   Prescription Drug Products furnished by the local, state or                  biological sera, blood, blood plasma and other blood
    federal government (except for a Network Pharmacy owned                      products or fractions unless specifically identified on the
    or operated by a local, state or federal government).                        Prescription Drug List.
•   any product dispensed for the purpose of appetite                       •    smoking cessation medications except those required by
    suppression (anorectics) or weight loss.                                     federal law to be covered as PPACA Preventive Care
•   prescription and non-prescription supplies other than                        Medications.
    supplies covered as Prescription Drug Products.                         •    certain Prescription Drug Products that are a Therapeutic
•   vitamins, except prenatal vitamins that require a                            Equivalent or Therapeutic Alternative to another covered
    Prescription Order or Refill, unless coverage for such                       Prescription Drug Product(s). Such coverage determinations
    product(s) is required by federal or state law.                              may be made periodically, and benefits for a Prescription
                                                                                 Drug Product that was previously excluded under this
•   medications used for cosmetic or anti-aging purposes,                        provision may be reinstated at any time.
    including, without limitation, medications used to reduce
    wrinkles, medications used to promote hair growth and fade              •    medications that are experimental, investigational or
    cream products.                                                              unproven as described under the “General Exclusion and
                                                                                 Limitations” section of your plan’s certificate.
•   Prescription Drug Products as a replacement for a
    previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.                                          HC-PHR620                                                 01-24
                                                                                                                                               V1
•   Medical Pharmaceuticals covered solely under the plan’s
    medical benefits.
•   Prescription Drug Products used for the treatment of male or
    female sexual dysfunction, including, but not limited to                Reimbursement/Filing a Claim
    erectile dysfunction, delayed ejaculation, anorgasmy,                   Retail Pharmacy
    hypoactive sexual desire disorder and decreased libido.                 When you or your Dependents purchase your Prescription
•   any ingredient(s) in a compounded Prescription Drug                     Drug Products through a Network Pharmacy, you pay any
    Product that has not been approved by the U.S. Food and                 applicable Copayment, Coinsurance, or Deductible shown in
    Drug Administration (FDA).                                              The Schedule at the time of purchase. You do not need to file
•   medications available over-the-counter that do not require a            a claim form for a Prescription Drug Product obtained at a
    Prescription Order or Refill by federal or state law before             Network Pharmacy unless you pay the full cost of a
    being dispensed, unless state or federal law requires                   Prescription Drug Product at a Network Pharmacy and later
    coverage of such medications or the over-the-counter                    seek reimbursement for the Prescription Drug Product under
    medication has been designated as eligible for coverage as if           the plan. For example, if you must pay the full cost of a
    it were a Prescription Drug Product.                                    Prescription Drug Product to the retail Network Pharmacy
                                                                            because you did not have your ID card, then you must submit
•   certain Prescription Drug Products that are a Therapeutic
                                                                            a claim to Cigna for any reimbursement or benefit you believe
    Equivalent or Therapeutic Alternative to an over-the-
                                                                            is due to you under this plan. If, under this example, your
    counter drug(s), or are available in over-the-counter form.
                                                                            payment to the retail Network Pharmacy for the covered
    Such coverage determinations may be made periodically,
                                                                            Prescription Drug Product exceeds any applicable copay, then
    and benefits for a Prescription Drug Product that was
                                                                            you will be reimbursed the difference, if any, between the
    previously excluded under this provision may be reinstated
                                                                            applicable copay and the Prescription Drug Charge for the
    at any time.
                                                                            Prescription Drug Product.
•   any product for which the primary use is a source of
                                                                            If you obtain a covered Prescription Drug Product dispensed
    nutrition, nutritional supplements, or dietary management of
                                                                            by a non-Network Pharmacy, then you must pay the non-
    disease, even when used for the treatment of Sickness or
                                                                            Network Pharmacy for the Prescription Drug Product and then
    Injury, unless coverage for such product(s) is required by
                                                                            submit a claim to Cigna for any reimbursement or benefit you
    federal or state law.
                                                                            believe is due to you under this plan. You can obtain a claim




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form through the website shown on your ID card or by calling                     • reduce the benefits in proportion to the amount of the
member services at the telephone number on your ID card.                           Copayment, Deductible, and/or Coinsurance amounts
                                                                                   waived, forgiven or reduced, regardless of whether the
                                                                                   provider or Pharmacy represents that you remain
HC-PHR273                                                       01-19
                                                                                   responsible for any amounts that your plan does not
                                                                  V1
                                                                                   cover.
                                                                             •   charges or payment for healthcare-related services that
                                                                                 violate state or federal law.
Exclusions, Expenses Not Covered and                                         •   assistance in the activities of daily living, including but not
General Limitations                                                              limited to eating, bathing, dressing or other Custodial
                                                                                 Services or self-care activities, homemaker services and
Exclusions and Expenses Not Covered                                              services primarily for rest, domiciliary or convalescent care.
Additional coverage limitations determined by plan or
                                                                             •   for or in connection with experimental, investigational or
provider type are shown in The Schedule. Payment for the
                                                                                 unproven services.
following is specifically excluded from this plan:
                                                                                 Experimental, investigational and unproven services are
•   care for health conditions that are required by state or local
                                                                                 medical, surgical, diagnostic, psychiatric, substance use
    law to be treated in a public facility.
                                                                                 disorder or other health care technologies, supplies,
•   care required by state or federal law to be supplied by a                    treatments, procedures, drug or Biologic therapies or
    public school system or school district.                                     devices that are determined by the utilization review
•   care for military service disabilities treatable through                     Physician to be:
    governmental services if you are legally entitled to such                    • not approved by the U.S. Food and Drug Administration
    treatment and facilities are reasonably available.                             (FDA) or other appropriate regulatory agency to be
•   treatment of an Injury or Sickness which is due to war,                        lawfully marketed;
    declared, or undeclared.                                                     • not demonstrated, through existing peer-reviewed,
•   charges which you are not obligated to pay and/or for which                    evidence-based, scientific literature to be safe and
    you are not billed. This exclusion includes, but is not                        effective for treating or diagnosing the condition or
    limited to:                                                                    Sickness for which its use is proposed;
    • any instance where Cigna determines that a provider or                     • the subject of review or approval by an Institutional
      Pharmacy did not bill you for or has waived, reduced, or                     Review Board for the proposed use except as provided in
      forgiven any portion of its charges and/or any portion of                    the “Clinical Trials” sections of this plan; or
      any Copayment, Deductible, and/or Coinsurance                              • the subject of an ongoing phase I, II or III clinical trial,
      amount(s) you are required to pay for an otherwise                           except for routine patient care costs related to qualified
      Covered Expense (as shown on The Schedule) without                           clinical trials as provided in the “Clinical Trials” sections
      Cigna's express consent.                                                     of this plan.
    • charges of a non-Participating Provider who has agreed to                  In determining whether any such technologies, supplies,
      charge you at an In-Network benefits level or some other                   treatments, drug or Biologic therapies, or devices are
      benefits level not otherwise applicable to the services                    experimental, investigational, and/or unproven, the
      received.                                                                  utilization review Physician may rely on the clinical
    In the event that Cigna determines that this exclusion                       coverage policies maintained by Cigna or the Review
    applies, then Cigna in its sole discretion shall have the right              Organization. Clinical coverage policies may incorporate,
    to:                                                                          without limitation and as applicable, criteria relating to U.S.
                                                                                 Food and Drug Administration-approved labeling, the
    • require you and/or any provider or Pharmacy submitting
                                                                                 standard medical reference compendia and peer-reviewed,
      claims on your behalf to provide proof sufficient to Cigna
                                                                                 evidence-based scientific literature or guidelines.
      that you have made your required cost-share payment(s)
      prior to the payment of any benefits by Cigna;                         •   cosmetic surgery and therapies. Cosmetic surgery or therapy
                                                                                 is defined as surgery or therapy performed to improve or
    • deny the payment of benefits in connection with the
                                                                                 alter appearance or self-esteem.
      Covered Expense regardless of whether the provider or
      the Pharmacy represents that you remain responsible for                •   the following services are excluded from coverage
      any amounts that your plan does not cover; or                              regardless of clinical indications: macromastia or
                                                                                 gynecomastia surgeries; rhinoplasty; blepharoplasty;


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    redundant skin surgery; removal of skin tags; acupressure;                maintenance care which is provided after the resolution of
    craniosacral/cranial therapy; dance therapy; movement                     the acute medical problem and when significant therapeutic
    therapy; applied kinesiology; rolfing; prolotherapy; and                  improvement is not expected.
    extracorporeal shock wave lithotripsy (ESWL) for                      •   consumable medical supplies other than ostomy supplies
    musculoskeletal and orthopedic conditions.                                and urinary catheters. Excluded supplies include, but are not
•   dental treatment of the teeth, gums or structures directly                limited to bandages and other disposable medical supplies,
    supporting the teeth, including dental X-rays, examinations,              skin preparations and test strips, except as specified in the
    repairs, orthodontics, periodontics, casts, splints and                   “Home Health Care Services” or “Breast Reconstruction
    services for dental malocclusion, for any condition.                      and Breast Prostheses” sections of this plan.
    However, charges made for a continuous course of dental               •   private Hospital rooms and/or private duty nursing except as
    treatment for an Injury to teeth are covered. Additionally,               provided under the Home Health Care Services provision.
    charges made by a Physician for any of the following
    Surgical Procedures are covered: excision of unerupted                •   personal or comfort items such as personal care kits
    impacted wisdom tooth, including removal of alveolar bone                 provided on admission to a Hospital, television, telephone,
    and sectioning of tooth; removal of residual root (when                   newborn infant photographs, complimentary meals, birth
    performed by a Dentist other than the one who extracted the               announcements, and other articles which are not for the
    tooth).                                                                   specific treatment of an Injury or Sickness.
•   medical and surgical services, initial and repeat, intended           •   artificial aids, including but not limited to corrective
    for the treatment or control of obesity, except for treatment             orthopedic shoes, arch supports, elastic stockings, garter
    of clinically severe (morbid) obesity as shown in Covered                 belts, corsets and dentures.
    Expenses, including: medical and surgical services to alter           •   aids or devices that assist with non-verbal communications,
    appearance or physical changes that are the result of any                 including but not limited to communication boards, pre-
    surgery performed for the management of obesity or                        recorded speech devices, laptop computers, desktop
    clinically severe (morbid) obesity; and weight loss programs              computers, Personal Digital Assistants (PDAs), Braille
    or treatments, whether prescribed or recommended by a                     typewriters, visual alert systems for the deaf and memory
    Physician or under medical supervision.                                   books.
•   reports, evaluations, physical examinations, or                       •   eyeglass lenses and frames, contact lenses and associated
    hospitalization not required for health reasons, including but            services (exams and fittings) (except for the initial set after
    not limited to employment, insurance or government                        treatment of keratoconus or following cataract surgery).
    licenses, and court-ordered, forensic or custodial                    •   routine refractions, eye exercises and surgical treatment for
    evaluations, unless otherwise covered under this plan.                    the correction of a refractive error, including radial
•   court-ordered treatment or hospitalization, unless treatment              keratotomy.
    is prescribed by a Physician and is a covered service or              •   all non-injectable prescription drugs, unless Physician
    supply under this plan.                                                   administration or oversight is required, injectable
•   any services or supplies for the treatment of male or female              prescription drugs to the extent they do not require
    sexual dysfunction such as, but not limited to, treatment of              Physician supervision and are typically considered self-
    erectile dysfunction (including penile implants), anorgasmy,              administered drugs, non-prescription drugs, and
    and premature ejaculation.                                                investigational and experimental drugs, except as provided
•   medical and Hospital care and costs for the child of your                 in this plan.
    Dependent child, unless the child is otherwise eligible under         •   routine foot care, including the paring and removing of
    this plan.                                                                corns and calluses and toenail maintenance. However, foot
•   non-medical counseling and/or ancillary services, including               care services for diabetes, peripheral neuropathies and
    but not limited to Custodial Services, educational services,              peripheral vascular disease are covered when Medically
    vocational counseling, training and, rehabilitation services,             Necessary.
    behavioral training, biofeedback, neurofeedback, hypnosis,            •   membership costs and fees associated with health clubs,
    sleep therapy, return to work services, work hardening                    weight loss programs or smoking cessation programs.
    programs and driver safety courses.                                   •   genetic screening or pre-implantations genetic screening.
•   therapy or treatment intended primarily to improve or                     General population-based genetic screening is a testing
    maintain general physical condition or for the purpose of                 method performed in the absence of any symptoms or any
    enhancing job, school, athletic or recreational performance,              significant, proven risk factors for genetically linked
    including but not limited to routine, long term, or                       inheritable disease.


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•   dental implants for any condition.                                   •   for charges which would not have been made if the person
•   fees associated with the collection, storage or donation of              did not have coverage.
    blood or blood products, except for autologous donation in           •   to the extent that they are more than Maximum
    anticipation of scheduled services when medical                          Reimbursable Charges.
    management review determines the likelihood of excess                •   to the extent of the exclusions imposed by any certification
    blood loss is such that transfusion is an expected adjunct to            requirement shown in this plan.
    surgery.
                                                                         •   for expenses for services, supplies, care, treatment, drugs or
•   blood administration for the purpose of general                          surgery that are not Medically Necessary.
    improvement in physical condition.
                                                                         •   for charges made by any Physician or Other Health
•   cost of biologicals that are immunizations or medications                Professional who is a member of your family or your
    for the purpose of travel, or to protect against occupational            Dependent's family.
    hazards and risks.
                                                                         •   for expenses incurred outside the United States other than
•   health and beauty aids, cosmetics and dietary supplements.               expenses for Medically Necessary emergency or urgent care
•   all nutritional supplements, formulae, enteral feedings,                 while temporarily traveling abroad.
    supplies and specially formulated medical foods, whether
    prescribed or not except for infant formula needed for the
                                                                         HC-EXC526                                                      01-24
    treatment of inborn errors of metabolism.
                                                                                                                                        V1 M
•   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.
•   charges related to an Injury or Sickness payable under
    worker’s compensation or similar laws.
                                                                         Coordination of Benefits
•   massage therapy.                                                     This section applies if you or any one of your Dependents is
                                                                         covered under more than one Plan and determines how
•   products and supplies associated with the administration of          benefits payable from all such Plans will be coordinated. You
    medications that are available to be covered under the               should file all claims with each Plan.
    Prescription Drug Benefit. Such products and supplies
    include but are not limited to therapeutic Continuous                Definitions
    Glucose Monitor (CGM) sensors and transmitters and                   For the purposes of this section, the following terms have the
    insulin pods.                                                        meanings set forth below:
•   expenses incurred by a participant to the extent                     Plan
    reimbursable under automobile insurance coverage.                    Any of the following that provides benefits or services for
    Coverage under this plan is secondary to automobile no-              medical care or treatment:
    fault insurance or similar coverage. The coverage provided
    under this plan does not constitute “Qualified Health                •   Group insurance and/or group-type coverage, whether
    Coverage” under Michigan law and therefore does not                      insured or self-insured which neither can be purchased by
    replace Personal Injury Protection (PIP) coverage provided               the general public, nor is individually underwritten,
    under an automobile insurance policy issued to a Michigan                including closed panel coverage.
    resident. This plan will cover expenses only not otherwise           •   Coverage under Medicare and other governmental benefits
    covered by the PIP coverage.                                             as permitted by law, excepting Medicaid and Medicare
                                                                             supplement policies.
General Limitations
                                                                         •   Medical benefits coverage of group, group-type, and
No payment will be made for expenses incurred for you or any                 individual automobile contracts.
one of your Dependents:
                                                                         Each Plan or part of a Plan which has the right to coordinate
•   for charges by a Hospital owned or operated by or which              benefits will be considered a separate Plan.
    provides care or performs services for, the United States
    Government, if such charges are directly related to a                Closed Panel Plan
    military-service-connected Injury or Sickness.                       A Plan that provides medical or dental benefits primarily in
•   for any charges related to care provided through a public            the form of services through a panel of employed or
    program, other than Medicaid.                                        contracted providers, and that limits or excludes benefits
                                                                         provided by providers outside of the panel, except in the case
                                                                         of emergency or if referred by a provider within the panel.



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Primary Plan                                                            Reasonable Cash Value
The Plan that determines and provides or pays benefits                  An amount which a duly licensed provider of health care
without taking into consideration the existence of any other            services usually charges patients and which is within the range
Plan.                                                                   of fees usually charged for the same service by other health
Secondary Plan                                                          care providers located within the immediate geographic area
                                                                        where the health care service is rendered under similar or
A Plan that determines, and may reduce its benefits after               comparable circumstances.
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the                Order of Benefit Determination Rules
Primary Plan the Reasonable Cash Value of any services it               A Plan that does not have a coordination of benefits rule
provided to you.                                                        consistent with this section shall always be the Primary Plan.
Allowable Expense                                                       If the Plan does have a coordination of benefits rule consistent
                                                                        with this section, the first of the following rules that applies to
The amount of charges considered for payment under the Plan             the situation is the one to use:
for a Covered Service prior to any reductions due to
coinsurance, copayment or deductible amounts. If Cigna                  •   The Plan that covers you as an enrollee or an Employee
contracts with an entity to arrange for the provision of                    shall be the Primary Plan and the Plan that covers you as a
Covered Services through that entity’s contracted network of                Dependent shall be the Secondary Plan;
health care providers, the amount that Cigna has agreed to pay          •   If you are a Dependent child whose parents are not divorced
that entity is the allowable amount used to determine your                  or legally separated, the Primary Plan shall be the Plan
coinsurance or deductible payments. If the Plan provides                    which covers the parent whose birthday falls first in the
benefits in the form of services, the Reasonable Cash Value of              calendar year as an enrollee or Employee;
each service is the Allowable Expense and is a paid benefit.            •   If you are the Dependent of divorced or separated parents,
Examples of expenses or services that are not Allowable                     benefits for the Dependent shall be determined in the
Expenses include, but are not limited to the following:                     following order:
•   An expense or service or a portion of an expense or service             • first, if a court decree states that one parent is responsible
    that is not covered by any of the Plans is not an Allowable               for the child's healthcare expenses or health coverage and
    Expense.                                                                  the Plan for that parent has actual knowledge of the terms
•   If you are confined to a private Hospital room and no Plan                of the order, but only from the time of actual knowledge;
    provides coverage for more than a semiprivate room, the                 • then, the Plan of the parent with custody of the child;
    difference in cost between a private and semiprivate room is            • then, the Plan of the spouse of the parent with custody of
    not an Allowable Expense.                                                 the child;
•   If you are covered by two or more Plans that provide                    • then, the Plan of the parent not having custody of the
    services or supplies on the basis of reasonable and                       child; and
    customary fees, any amount in excess of the highest
                                                                            • finally, the Plan of the spouse of the parent not having
    reasonable and customary fee is not an Allowable Expense.
                                                                              custody of the child.
•   If you are covered by one Plan that provides services or
    supplies on the basis of reasonable and customary fees and          •   The Plan that covers you as an active Employee (or as that
    one Plan that provides services and supplies on the basis of            Employee's Dependent) shall be the Primary Plan and the
    negotiated fees, the Primary Plan's fee arrangement shall be            Plan that covers you as laid-off or retired Employee (or as
    the Allowable Expense.                                                  that Employee's Dependent) shall be the Secondary Plan. If
                                                                            the other Plan does not have a similar provision and, as a
•   If your benefits are reduced under the Primary Plan (through            result, the Plans cannot agree on the order of benefit
    the imposition of a higher copayment amount, higher                     determination, this paragraph shall not apply.
    coinsurance percentage, a deductible and/or a penalty)
    because you did not comply with Plan provisions or because          •   The Plan that covers you under a right of continuation
    you did not use a preferred provider, the amount of the                 which is provided by federal or state law shall be the
    reduction is not an Allowable Expense. Such Plan                        Secondary Plan and the Plan that covers you as an active
    provisions include second surgical opinions and                         Employee or retiree (or as that Employee's Dependent) shall
    precertification of admissions or services.                             be the Primary Plan. If the other Plan does not have a
                                                                            similar provision and, as a result, the Plans cannot agree on
                                                                            the order of benefit determination, this paragraph shall not
                                                                            apply.



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•   If one of the Plans that covers you is issued out of the state        The primary payer always determines covered benefits first,
    whose laws govern this Policy, and determines the order of            without considering what any other coverage will pay. The
    benefits based upon the gender of a parent, and as a result,          secondary payer determines its coverage only after the
    the Plans do not agree on the order of benefit determination,         Primary Plan has completed its determination.
    the Plan with the gender rules shall determine the order of           When Medicare is the Primary Payer
    benefits.
                                                                          Medicare will be the primary payer and this Plan will be the
If none of the above rules determines the order of benefits, the          secondary payer, even if you don’t elect to enroll in Medicare
Plan that has covered you for the longer period of time shall             or you receive services from a provider who does not accept
be primary.                                                               Medicare payments, in the following situations:
When coordinating benefits with Medicare, this Plan will be               •   COBRA or State Continuation: You, your spouse, or your
the Secondary Plan and determine benefits after Medicare,                     covered Dependent qualify for Medicare for any reason and
where permitted by the Social Security Act of 1965, as                        are covered under this Plan due to COBRA or state
amended. However, when more than one Plan is secondary to                     continuation of coverage.
Medicare, the benefit determination rules identified above,
will be used to determine how benefits will be coordinated.               •   Retirement or Termination of Employment: You, your
                                                                              spouse, or your covered Dependent qualify for Medicare for
Effect on the Benefits of This Plan                                           any reason and are covered under this Plan due to your
If this Plan is the Secondary Plan, this Plan may reduce                      retirement or termination of employment.
benefits so that the total benefits paid by all Plans are not more        •   Disability: You, your spouse, or your covered Dependent
than 100% of the total of all Allowable Expenses.                             qualify for Medicare due to a disability, you are an active
Recovery of Excess Benefits                                                   Employee, and your Employer has fewer than 100
If Cigna pays charges for benefits that should have been paid                 employees.
by the Primary Plan, or if Cigna pays charges in excess of                •   Age: You, your spouse, or your covered Dependent qualify
those for which we are obligated to provide under the Policy,                 for Medicare due to age, you are an active Employee, and
Cigna will have the right to recover the actual payment made                  your Employer has fewer than 20 employees.
or the Reasonable Cash Value of any services.                             •   End Stage Renal Disease (ESRD): You, your spouse, or
Cigna will have sole discretion to seek such recovery from any                your covered Dependent qualify for Medicare due to End
person to, or for whom, or with respect to whom, such                         Stage Renal Disease (ESRD) and you are an active or
services were provided or such payments made by any                           retired Employee. This Plan will be the primary payer for
insurance company, healthcare Plan or other organization. If                  the first 30 months. Beginning with the 31st month,
we request, you must execute and deliver to us such                           Medicare will be the primary payer.
instruments and documents as we determine are necessary to                When This Plan is the Primary Payer
secure the right of recovery.
                                                                          This Plan will be the primary payer and Medicare will be the
Right to Receive and Release Information                                  secondary payer in the following situations:
Cigna, without consent or notice to you, may obtain                       •   Disability: You, your spouse, or your covered Dependent
information from and release information to any other Plan                    qualify for Medicare due to a disability, you are an active
with respect to you in order to coordinate your benefits                      Employee, and your Employer has 100 or more employees.
pursuant to this section. You must provide us with any
information we request in order to coordinate your benefits               •   Age: You, your spouse, or your covered Dependent qualify
pursuant to this section. This request may occur in connection                for Medicare due to age, you are an active Employee, and
with a submitted claim; if so, you will be advised that the                   your Employer has 20 or more employees.
"other coverage" information, (including an Explanation of                •   End Stage Renal Disease (ESRD): You, your spouse, or
Benefits paid under the Primary Plan) is required before the                  your covered Dependent qualify for Medicare due to End
claim will be processed for payment. If no response is                        Stage Renal Disease (ESRD) and you are an active or
received within 90 days of the request, the claim will be                     retired Employee. This Plan is the primary payer for the first
closed. If the requested information is subsequently received,                30 months. Beginning with the 31st month, Medicare will be
the claim will be processed.                                                  the primary payer.
Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a


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Domestic Partner. However, when Medicare coverage is due                         judgment or arbitration award in connection with any
to disability, the Disability payer explanations above will                      automobile medical, automobile no-fault, uninsured or
apply.                                                                           underinsured motorist, homeowners, workers'
IMPORTANT: If you, your spouse, or your Dependent do                             compensation, government insurance (other than Medicaid),
not elect to enroll in Medicare Parts A and/or B when first                      or similar type of insurance or coverage. The coverage
eligible, or you receive services from a provider who does                       under this plan is secondary to any automobile no-fault
not accept Medicare payments, this Plan will calculate                           insurance or similar coverage.
payment based on what should have been paid by                               Subrogation/Right of Reimbursement
Medicare as the primary payer if the person had been                         If a Participant incurs a Covered Expense for which, in the
enrolled or had received services from a provider who                        opinion of the plan or its claim administrator, another party
accepts Medicare payments. A person is considered                            may be responsible or for which the Participant may receive
eligible for Medicare on the earliest date any coverage                      payment as described above:
under Medicare could become effective.
                                                                             •   Subrogation: The plan shall, to the extent permitted by law,
Failure to Enroll in Medicare                                                    be subrogated to all rights, claims or interests that a
If you, your spouse, or your Dependent do not enroll in                          Participant may have against such party and shall
Medicare Parts A and/or B during the person’s initial                            automatically have a lien upon the proceeds of any recovery
Medicare enrollment period, or the person opts out of                            by a Participant from such party to the extent of any benefits
coverage, the person may be subject to Medicare late                             paid under the plan. A Participant or his/her representative
enrollment penalties, which can cause a delay in coverage and                    shall execute such documents as may be required to secure
result in higher Medicare premiums when the person does                          the plan’s subrogation rights.
enroll. It can also result in a reduction in coverage under                  •   Right of Reimbursement: The plan is also granted a right of
Medicare Parts A and B. If you are planning to retire or                         reimbursement from the proceeds of any recovery whether
terminate employment and you will be eligible for COBRA,                         by settlement, judgment, or otherwise. This right of
state Continuation, or retiree coverage under this Plan, you                     reimbursement is cumulative with and not exclusive of the
should enroll in Medicare before you terminate employment to                     subrogation right granted in paragraph 1, but only to the
avoid penalties and to receive the maximum coverage under                        extent of the benefits provided by the plan.
Medicare. Please consult Medicare or the Social Security
Administration for more information.                                         Lien of the Plan
Assistance with Medicare Questions                                           By accepting benefits under this plan, a Participant:
For more information on Medicare’s rules and regulations,                    •   grants a lien and assigns to the plan an amount equal to the
contact Medicare toll-free at 1-800-MEDICARE (1-800-633-                         benefits paid under the plan against any recovery made by
4227) or at www.medicare.gov. You may also contact the                           or on behalf of the Participant which is binding on any
Social Security Administration toll-free at 1-800-772-1213, at                   attorney or other party who represents the Participant
www.ssa.gov, or call your local Social Security                                  whether or not an agent of the Participant or of any
Administration office.                                                           insurance company or other financially responsible party
                                                                                 against whom a Participant may have a claim provided said
                                                                                 attorney, insurance carrier or other party has been notified
HC-COB273 M                                                     01-21            by the plan or its agents;
                                                                             •   agrees that this lien shall constitute a charge against the
                                                                                 proceeds of any recovery and the plan shall be entitled to
Expenses For Which A Third Party May                                             assert a security interest thereon;
Be Responsible                                                               •   agrees to hold the proceeds of any recovery in trust for the
                                                                                 benefit of the plan to the extent of any payment made by the
This plan does not cover:                                                        plan.
•   Expenses incurred by you or your Dependent (hereinafter                  Additional Terms
    individually and collectively referred to as a "Participant,")
                                                                             •   No adult Participant hereunder may assign any rights that it
    for which another party may be responsible as a result of
                                                                                 may have to recover medical expenses from any third party
    having caused or contributed to an Injury or Sickness.
                                                                                 or other person or entity to any minor Dependent of said
•   Expenses incurred by a Participant to the extent any                         adult Participant without the prior express written consent
    payment is received for them either directly or indirectly                   of the plan. The plan’s right to recover shall apply to
    from a third party tortfeasor or as a result of a settlement,



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    decedents’, minors’, and incompetent or disabled persons’                •   Participants must assist the plan in pursuing any subrogation
    settlements or recoveries.                                                   or recovery rights by providing requested information.
•   No Participant shall make any settlement, which specifically
    reduces or excludes, or attempts to reduce or exclude, the               HC-SUB128                                                    03-20
    benefits provided by the plan.
•   The plan’s right of recovery shall be a prior lien against any
    proceeds recovered by the Participant. This right of
    recovery shall not be defeated nor reduced by the                        Payment of Benefits
    application of any so-called “Made-Whole Doctrine”,                      Assignment and Payment of Benefits
    “Rimes Doctrine”, or any other such doctrine purporting to               You may not assign to any party, including, but not limited to,
    defeat the plan’s recovery rights by allocating the proceeds             a provider of healthcare services/items, your right to benefits
    exclusively to non-medical expense damages.                              under this plan, nor may you assign any administrative,
•   No Participant hereunder shall incur any expenses on behalf              statutory, or legal rights or causes of action you may have
    of the plan in pursuit of the plan’s rights hereunder,                   under ERISA, including, but not limited to, any right to make
    specifically; no court costs, attorneys' fees or other                   a claim for plan benefits, to request plan or other documents,
    representatives' fees may be deducted from the plan’s                    to file appeals of denied claims or grievances, or to file
    recovery without the prior express written consent of the                lawsuits under ERISA. Any attempt to assign such rights shall
    plan. This right shall not be defeated by any so-called “Fund            be void and unenforceable under all circumstances.
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                   You may, however, authorize Cigna to pay any healthcare
    Doctrine”.                                                               benefits under this policy to a Participating or Non-
•   The plan shall recover the full amount of benefits provided              Participating Provider. When you authorize the payment of
    hereunder without regard to any claim of fault on the part of            your healthcare benefits to a Participating or Non-Participating
    any Participant, whether under comparative negligence or                 Provider, you authorize the payment of the entire amount of
    otherwise.                                                               the benefits due on that claim. If a provider is overpaid
•   The plan hereby disavows all equitable defenses in pursuit               because of accepting duplicate payments from you and Cigna,
    of its right of recovery. The plan’s subrogation or recovery             it is the provider’s responsibility to reimburse the
    rights are neither affected nor diminished by equitable                  overpayment to you. Cigna may pay all healthcare benefits for
    defenses.                                                                Covered Expenses directly to a Participating Provider without
                                                                             your authorization. You may not interpret or rely upon this
•   In the event that a Participant shall fail or refuse to honor its        discrete authorization or permission to pay any healthcare
    obligations hereunder, then the plan shall be entitled to                benefits to a Participating or Non-Participating Provider as the
    recover any costs incurred in enforcing the terms hereof                 authority to assign any other rights under this policy to any
    including, but not limited to, attorney’s fees, litigation, court        party, including, but not limited to, a provider of healthcare
    costs, and other expenses. The plan shall also be entitled to            services/items.
    offset the reimbursement obligation against any entitlement
    to future medical benefits hereunder until the Participant has           Even if the payment of healthcare benefits to a Non-
    fully complied with his reimbursement obligations                        Participating Provider has been authorized by you, Cigna may,
    hereunder, regardless of how those future medical benefits               at its option, make payment of benefits to you. When benefits
    are incurred.                                                            are paid to you or your Dependent, you or your Dependents
                                                                             are responsible for reimbursing the Non-Participating
•   Any reference to state law in any other provision of this                Provider.
    plan shall not be applicable to this provision, if the plan is
    governed by ERISA. By acceptance of benefits under the                   If any person to whom benefits are payable is a minor or, in
    plan, the Participant agrees that a breach hereof would cause            the opinion of Cigna is not able to give a valid receipt for any
    irreparable and substantial harm and that no adequate                    payment due him, such payment will be made to his legal
    remedy at law would exist. Further, the Plan shall be                    guardian. If no request for payment has been made by his legal
    entitled to invoke such equitable remedies as may be                     guardian, Cigna may, at its option, make payment to the
    necessary to enforce the terms of the plan, including, but not           person or institution appearing to have assumed his custody
    limited to, specific performance, restitution, the imposition            and support.
    of an equitable lien and/or constructive trust, as well as               When one of our participants passes away, Cigna may receive
    injunctive relief.                                                       notice that an executor of the estate has been established. The
                                                                             executor has the same rights as our insured and benefit




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payments for unassigned claims should be made payable to the              Injury or Sickness
executor.                                                                 If your Active Service ends due to an Injury or Sickness, your
Payment as described above will release Cigna from all                    insurance will be continued while you remain totally and
liability to the extent of any payment made.                              continuously disabled as a result of the Injury or Sickness.
Recovery of Overpayment                                                   However, your insurance will not continue past the date your
                                                                          Employer cancels your insurance.
When an overpayment has been made by Cigna, Cigna will
have the right at any time to: recover that overpayment from
the person to whom or on whose behalf it was made; or offset              Dependents
the amount of that overpayment from a future claim payment.               Your insurance for all of your Dependents will cease on the
In addition, your acceptance of benefits under this plan and/or           earliest date below:
assignment of Medical Benefits separately creates an equitable            •   the date your insurance ceases.
lien by agreement pursuant to which Cigna may seek recovery
                                                                          •   the date you cease to be eligible for Dependent Insurance.
of any overpayment. You agree that Cigna, in seeking
recovery of any overpayment as a contractual right or as an               •   the last day for which you have made any required
equitable lien by agreement, may pursue the general assets of                 contribution for the insurance.
the person or entity to whom or on whose behalf the                       •   the date Dependent Insurance is cancelled.
overpayment was made.
                                                                          The insurance for any one of your Dependents will cease on
Calculation of Covered Expenses                                           the date that Dependent no longer qualifies as a Dependent.
Cigna, in its discretion, will calculate Covered Expenses
following evaluation and validation of all provider billings in
                                                                          HC-TRM128                                                    12-17
accordance with:
•   the methodologies in the most recent edition of the Current
    Procedural terminology.
                                                                          Rescissions
•   the methodologies as reported by generally recognized
    professionals or publications.                                        Your coverage may not be rescinded (retroactively terminated)
                                                                          by Cigna or the plan sponsor unless the plan sponsor or an
                                                                          individual (or a person seeking coverage on behalf of the
HC-POB132                                                    01-19        individual) performs an act, practice or omission that
                                                                          constitutes fraud; or the plan sponsor or individual (or a
                                                                          person seeking coverage on behalf of the individual) makes an
                                                                          intentional misrepresentation of material fact.
Termination of Insurance
Employees                                                                 HC-TRM80                                                     01-11


Your insurance will cease on the earliest date below:
•   the date you cease to be in a Class of Eligible Employees or
    cease to qualify for the insurance.                                   Federal Requirements
•   the last day for which you have made any required                     The following pages explain your rights and responsibilities
    contribution for the insurance.                                       under federal laws and regulations. Some states may have
                                                                          similar requirements. If a similar provision appears elsewhere
•   the date the policy is cancelled.
                                                                          in this booklet, the provision which provides the better benefit
•   the date your Active Service ends except as described                 will apply.
    below.
Any continuation of insurance must be based on a plan which
                                                                          HC-FED1                                                      10-10
precludes individual selection.
Temporary Layoff or Leave of Absence
If your Active Service ends due to temporary layoff or leave
of absence, your insurance will be continued until the date as
determined by your Employer.




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Notice of Provider Directory/Networks                                      •   the order provides a description of the coverage to be
                                                                               provided, or the manner in which the type of coverage is to
Notice Regarding Provider Directories and Provider
                                                                               be determined;
Networks
                                                                           •   the order states the period to which it applies; and
A list of network providers is available to you without charge
by visiting the website or by calling the phone number on your             •   if the order is a National Medical Support Notice completed
ID card. The network consists of providers, including                          in accordance with the Child Support Performance and
hospitals, of varied specialties as well as general practice,                  Incentive Act of 1998, such Notice meets the requirements
affiliated or contracted with Cigna or an organization                         above.
contracting on its behalf.                                                 The QMCSO may not require the health insurance policy to
Notice Regarding Pharmacy Directories and Pharmacy                         provide coverage for any type or form of benefit or option not
Networks                                                                   otherwise provided under the policy, except that an order may
                                                                           require a plan to comply with State laws regarding health care
A list of network pharmacies is available to you without
                                                                           coverage.
charge by visiting the website or by calling the phone number
on your ID card. The network consists of pharmacies affiliated             Payment of Benefits
or contracted with Cigna or an organization contracting on its             Any payment of benefits in reimbursement for Covered
behalf.                                                                    Expenses paid by the child, or the child’s custodial parent or
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
HC-FED78                                                      10-10
                                                                           address have been substituted for the name and address of the
                                                                           child.

Qualified Medical Child Support Order
                                                                           HC-FED4                                                      10-10
(QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is                      Special Enrollment Rights Under the Health
issued for your child, that child will be eligible for coverage as
                                                                           Insurance Portability & Accountability Act
required by the order and you will not be considered a Late
Entrant for Dependent Insurance.                                           (HIPAA)
You must notify your Employer and elect coverage for that                  If you or your eligible Dependent(s) experience a special
child, and yourself if you are not already enrolled, within 31             enrollment event as described below, you or your eligible
days of the QMCSO being issued.                                            Dependent(s) may be entitled to enroll in the Plan outside of a
                                                                           designated enrollment period upon the occurrence of one of
Qualified Medical Child Support Order Defined                              the special enrollment events listed below. If you are already
A Qualified Medical Child Support Order is a judgment,                     enrolled in the Plan, you may request enrollment for you and
decree or order (including approval of a settlement agreement)             your eligible Dependent(s) under a different option offered by
or administrative notice, which is issued pursuant to a state              the Employer for which you are currently eligible. If you are
domestic relations law (including a community property law),               not already enrolled in the Plan, you must request special
or to an administrative process, which provides for child                  enrollment for yourself in addition to your eligible
support or provides for health benefit coverage to such child              Dependent(s). You and all of your eligible Dependent(s) must
and relates to benefits under the group health plan, and                   be covered under the same option. The special enrollment
satisfies all of the following:                                            events include:
•   the order recognizes or creates a child’s right to receive             •   Acquiring a new Dependent. If you acquire a new
    group health benefits for which a participant or beneficiary               Dependent(s) through marriage, birth, adoption or
    is eligible;                                                               placement for adoption, you may request special enrollment
•   the order specifies your name and last known address, and                  for any of the following combinations of individuals if not
    the child’s name and last known address, except that the                   already enrolled in the Plan: Employee only; spouse only;
    name and address of an official of a state or political                    Employee and spouse; Dependent child(ren) only;
    subdivision may be substituted for the child’s mailing                     Employee and Dependent child(ren); Employee, spouse and
    address;                                                                   Dependent child(ren). Enrollment of Dependent children is
                                                                               limited to the newborn or adopted children or children who



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    became Dependent children of the Employee due to                         continuation coverage only if such coverage ceases: due to
    marriage.                                                                failure of the Employer or other responsible entity to remit
•   Loss of eligibility for State Medicaid or Children’s                     premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                      resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                 no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                     the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself             meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled               there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                  available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                          termination of an Employer’s limited period of
                                                                             contributions toward COBRA or other continuation
•   Loss of eligibility for other coverage (excluding                        coverage as provided under any severance or other
    continuation coverage). If coverage was declined under                   agreement.
    this Plan due to coverage under another plan, and eligibility
    for the other coverage is lost, you and all of your eligible         •   Eligibility for employment assistance under State
    Dependent(s) may request special enrollment in this Plan. If             Medicaid or Children’s Health Insurance Program
    required by the Plan, when enrollment in this Plan was                   (CHIP). If you and/or your Dependent(s) become eligible
    previously declined, it must have been declined in writing               for assistance with group health plan premium payments
    with a statement that the reason for declining enrollment                under a state Medicaid or CHIP plan, you may request
    was due to other health coverage. This provision applies to              special enrollment for yourself and any affected
    loss of eligibility as a result of any of the following:                 Dependent(s) who are not already enrolled in the Plan. You
                                                                             must request enrollment within 60 days after the date you
    • divorce or legal separation;
                                                                             are determined to be eligible for assistance.
    • cessation of Dependent status (such as reaching the
                                                                         Except as stated above, special enrollment must be
      limiting age);                                                     requested within 30 days after the occurrence of the
    • death of the Employee;                                             special enrollment event. If the special enrollment event is
    • termination of employment;                                         the birth or adoption of a Dependent child, coverage will
                                                                         be effective immediately on the date of birth, adoption or
    • reduction in work hours to below the minimum required
                                                                         placement for adoption. Coverage with regard to any other
      for eligibility;                                                   special enrollment event will be effective no later than the
    • you or your Dependent(s) no longer reside, live or work            first day of the first calendar month following receipt of
      in the other plan’s network service area and no other              the request for special enrollment.
      coverage is available under the other plan;                        Domestic Partners and their children (if not legal children of
    • you or your Dependent(s) incur a claim which meets or              the Employee) are not eligible for special enrollment.
      exceeds the lifetime maximum limit that is applicable to
      all benefits offered under the other plan; or
                                                                         HC-FED96                                                      04-17
    • the other plan no longer offers any benefits to a class of
      similarly situated individuals.
•   Termination of Employer contributions (excluding
    continuation coverage). If a current or former Employer
                                                                         Effect of Section 125 Tax Regulations on This
    ceases all contributions toward the Employee’s or                    Plan
    Dependent’s other coverage, special enrollment may be                Your Employer has chosen to administer this Plan in
    requested in this Plan for you and all of your eligible              accordance with Section 125 regulations of the Internal
    Dependent(s).                                                        Revenue Code. Per this regulation, you may agree to a pretax
•   Exhaustion of COBRA or other continuation coverage.                  salary reduction put toward the cost of your benefits.
    Special enrollment may be requested in this Plan for you             Otherwise, you will receive your taxable earnings as cash
    and all of your eligible Dependent(s) upon exhaustion of             (salary).
    COBRA or other continuation coverage. If you or your
    Dependent(s) elect COBRA or other continuation coverage
    following loss of coverage under another plan, the COBRA
    or other continuation coverage must be exhausted before
    any special enrollment rights exist under this Plan. An
    individual is considered to have exhausted COBRA or other


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A. Coverage elections                                                    F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                another employer’s plan
enroll for or change coverage only before each annual benefit            You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                 spouse or Dependent: incurs a change such as adding or
•   if you meet Special Enrollment criteria and enroll as                deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                      Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and
•   if your Employer agrees, and you meet the criteria shown in          the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change          enrollment periods.
    coverage within the time period established by your
    Employer.                                                            G. Reduction in work hours
B. Change of status                                                      If an Employee’s work hours are reduced below 30
                                                                         hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                        eligibility for the Employer’s coverage); and the Employee
•   change in legal marital status due to marriage, death of a           (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                      Minimum Essential Coverage (MEC). The new coverage must
•   change in number of Dependents due to birth, adoption,               be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                     following the month that includes the date the original
                                                                         coverage is revoked.
•   change in employment status of Employee, spouse or
    Dependent due to termination or start of employment,                 H. Enrollment in a Qualified Health Plan (QHP)
    strike, lockout, beginning or end of unpaid leave of absence,        Employee: The Employee must be eligible for a Special
    including under the Family and Medical Leave Act                     Enrollment Period to enroll in a QHP through an Exchange
    (FMLA), or change in worksite;                                       (Marketplace) or the Employee seeks to enroll in a QHP
•   changes in employment status of Employee, spouse or                  through an Exchange during the Marketplace’s annual open
    Dependent resulting in eligibility or ineligibility for              enrollment period; and the disenrollment from the group plan
    coverage;                                                            corresponds to the intended enrollment of the Employee (and
                                                                         family) in a QHP through an Exchange for new coverage
•   change in residence of Employee, spouse or Dependent to a            effective beginning no later than the day immediately
    location outside of the Employer’s network service area;             following the last day of the original coverage.
    and
                                                                         Family: A plan may allow an Employee to revoke family
•   changes which cause a Dependent to become eligible or                coverage midyear in order for family members (“related
    ineligible for coverage.                                             individuals”) to enroll in a QHP through an Exchange
C. Court order                                                           (Marketplace). The related individual(s) must be eligible for a
A change in coverage due to and consistent with a court order            Special Enrollment Period to enroll in a QHP or seek to enroll
of the Employee or other person to cover a Dependent.                    in a QHP during the Marketplace’s annual open enrollment
                                                                         period, and the disenrollment from the group plan corresponds
D. Medicare or Medicaid eligibility/entitlement
                                                                         to the intended enrollment of the individual(s) in a QHP for
The Employee, spouse or Dependent cancels or reduces                     new coverage effective beginning no later than the day
coverage due to entitlement to Medicare or Medicaid, or                  immediately following the last day of the original coverage. If
enrolls or increases coverage due to loss of Medicare or                 the Employee does not enroll in a QHP, the Employee must
Medicaid eligibility.                                                    select self-only coverage or family coverage including one or
E. Change in cost of coverage                                            more already-covered individuals.
If the cost of benefits increases or decreases during a benefit
period, your Employer may, in accordance with plan terms,                HC-FED112                                                  01-23
automatically change your elective contribution.
When the change in cost is significant, you may either
increase your contribution or elect less-costly coverage. When           Eligibility for Coverage for Adopted Children
a significant overall reduction is made to the benefit option
you have elected, you may elect another available benefit                Any child who is adopted by you, including a child who is
option. When a new benefit option is added, you may change               placed with you for adoption, will be eligible for Dependent
your election to the new benefit option.                                 Insurance, if otherwise eligible as a Dependent, upon the date
                                                                         of placement with you. A child will be considered placed for



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adoption when you become legally obligated to support that                 Group Plan Coverage Instead of Medicaid
child, totally or partially, prior to that child’s adoption.
                                                                           If your income and liquid resources do not exceed certain
If a child placed for adoption is not adopted, all health                  limits established by law, the state may decide to pay
coverage ceases when the placement ends, and will not be                   premiums for this coverage instead of for Medicaid, if it is
continued.                                                                 cost effective. This includes premiums for continuation
The provisions in the “Exception for Newborns” section of                  coverage required by federal law.
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
                                                                           HC-FED13                                                       10-10
or a child placed with you for adoption.


HC-FED67                                                      09-14
                                                                           Requirements of Family and Medical Leave Act
                                                                           of 1993 (as amended) (FMLA)
                                                                           Any provisions of the policy that provide for: continuation of
Coverage for Maternity Hospital Stay                                       insurance during a leave of absence; and reinstatement of
Group health plans and health insurance issuers offering group             insurance following a return to Active Service; are modified
health insurance coverage generally may not, under a federal               by the following provisions of the federal Family and Medical
law known as the “Newborns’ and Mothers’ Health Protection                 Leave Act of 1993, as amended, where applicable:
Act”: restrict benefits for any Hospital length of stay in                 Continuation of Health Insurance During Leave
connection with childbirth for the mother or newborn child to
less than 48 hours following a vaginal delivery, or less than 96           Your health insurance will be continued during a leave of
hours following a cesarean section; or require that a provider             absence if:
obtain authorization from the plan or insurance issuer for                 •   that leave qualifies as a leave of absence under the Family
prescribing a length of stay not in excess of the above periods.               and Medical Leave Act of 1993, as amended; and
The law generally does not prohibit an attending provider of               •   you are an eligible Employee under the terms of that Act.
the mother or newborn, in consultation with the mother, from
discharging the mother or newborn earlier than 48 or 96 hours,             The cost of your health insurance during such leave must be
as applicable.                                                             paid, whether entirely by your Employer or in part by you and
                                                                           your Employer.
Please review this Plan for further details on the specific
coverage available to you and your Dependents.                             Reinstatement of Canceled Insurance Following Leave
                                                                           Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
HC-FED11                                                      10-10
                                                                           Act of 1993, as amended, any canceled insurance (health, life
                                                                           or disability) will be reinstated as of the date of your return.
                                                                           You will not be required to satisfy any eligibility or benefit
Women’s Health and Cancer Rights Act                                       waiting period to the extent that they had been satisfied prior
(WHCRA)                                                                    to the start of such leave of absence.
Do you know that your plan, as required by the Women’s                     Your Employer will give you detailed information about the
Health and Cancer Rights Act of 1998, provides benefits for                Family and Medical Leave Act of 1993, as amended.
mastectomy-related services including all stages of
reconstruction and surgery to achieve symmetry between the
                                                                           HC-FED93                                                       10-17
breasts, prostheses, and complications resulting from a
mastectomy, including lymphedema? Call Member Services at
the toll free number listed on your ID card for more
information.                                                               Uniformed Services Employment and Re-
                                                                           Employment Rights Act of 1994 (USERRA)
HC-FED12                                                      10-10        The Uniformed Services Employment and Re-employment
                                                                           Rights Act of 1994 (USERRA) sets requirements for
                                                                           continuation of health coverage and re-employment in regard
                                                                           to an Employee’s military leave of absence. These
                                                                           requirements apply to medical and dental coverage for you


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and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The booklet describes who is responsible for
For leaves of less than 31 days, coverage will continue as                obtaining this review. You or your authorized representative
described in the Termination section regarding Leave of                   (typically, your health care professional) must request prior
Absence.                                                                  authorization according to the procedures described below, in
                                                                          the booklet, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for              documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to               you or your representative will receive a written description of
your Employer, until the earliest of the following:                       the adverse determination, and may appeal the determination.
•   24 months from the last day of employment with the                    Appeal procedures are described in the booklet, in your
    Employer;                                                             provider’s network participation documents as applicable, and
•   the day after you fail to return to work; and                         in the determination notices.
•   the date the policy cancels.                                          Note: An oral statement made to you by a representative of
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to                    service is a Covered Expense, is authorized for coverage by
102% of the total premium.                                                the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5                 Preservice Determinations
years.                                                                    When you or your representative requests a required prior
You and your Dependents will be subject to only the balance               authorization, Cigna will notify you or your representative of
of a waiting period that was not yet satisfied before the leave           the determination within 15 days after receiving the request.
began. However, if an Injury or Sickness occurs or is                     However, if more time is needed due to matters beyond
aggravated during the military leave, full Plan limitations will          Cigna’s control, Cigna will notify you or your representative
apply.                                                                    within 15 days after receiving your request. This notice will
If your coverage under this plan terminates as a result of your           include the date a determination can be expected, which will
eligibility for military medical and dental coverage and your             be no more than 30 days after receipt of the request. If more
order to active duty is canceled before your active duty service          time is needed because necessary information is missing from
commences, these reinstatement rights will continue to apply.             the request, the notice will also specify what information is
                                                                          needed, and you or your representative must provide the
                                                                          specified information to Cigna within 45 days after receiving
HC-FED18                                                     10-10        the notice. The determination period will be suspended on the
                                                                          date Cigna sends such a notice of missing information, and the
                                                                          determination period will resume on the date you or your
Claim Determination Procedures under ERISA                                representative responds to the notice.
The following complies with federal law. Provisions of                    If the determination periods above would seriously jeopardize
applicable laws of your state may supersede.                              your life or health, your ability to regain maximum function,
                                                                          or in the opinion of a health care professional with knowledge
Procedures Regarding Medical Necessity Determinations                     of your health condition, cause you severe pain which cannot
In general, health services and benefits must be Medically                be managed without the requested services, Cigna will make
Necessary to be covered under the plan. The procedures for                the preservice determination on an expedited basis. Cigna will
determining Medical Necessity vary, according to the type of              defer to the determination of the treating health care
service or benefit requested, and the type of health plan.                professional regarding whether an expedited determination is
                                                                          necessary. Cigna will notify you or your representative of an


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expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific
notice. Cigna will notify you or your representative of the             plan provisions on which the determination is based; a
expedited benefit determination within 48 hours after you or            description of any additional material or information necessary
your representative responds to the notice. Expedited                   to perfect the claim and an explanation of why such material
determinations may be provided orally, followed within 3 days           or information is necessary; a description of the plan’s review
by written or electronic notification.                                  procedures and the time limits applicable, including a
                                                                        statement of a claimant’s rights to bring a civil action under
If you or your representative attempts to request a preservice          section 502(a) of ERISA following an adverse benefit
determination, but fails to follow Cigna’s procedures for               determination on appeal, (if applicable); upon request and free
requesting a required preservice determination, Cigna will              of charge, a copy of any internal rule, guideline, protocol or
notify you or your representative of the failure and describe           other similar criterion that was relied upon in making the
the proper procedures for filing within 5 days (or 24 hours, if         adverse determination regarding your claim; and an
an expedited determination is required, as described above)             explanation of the scientific or clinical judgment for a
after receiving the request. This notice may be provided orally,        determination that is based on a Medical Necessity,
unless you or your representative requests written notification.        experimental treatment or other similar exclusion or limit; a
Concurrent Determinations                                               description of any available internal appeal and/or external
When an ongoing course of treatment has been approved for               review process(es); information about any office of health
you and you wish to extend the approval, you or your                    insurance consumer assistance or ombudsman available to
representative must request a required concurrent coverage              assist you with the appeal process; and in the case of a claim
determination at least 24 hours prior to the expiration of the          involving urgent care, a description of the expedited review
approved period of time or number of treatments. When you               process applicable to such claim.
or your representative requests such a determination, Cigna
will notify you or your representative of the determination             HC-FED104                                                     01-19
within 24 hours after receiving the request.
Postservice Determinations
When you or your representative requests a coverage                     Appointment of Authorized Representative
determination or a claim payment determination after services
                                                                        You may appoint an authorized representative to assist you in
have been rendered, Cigna will notify you or your
                                                                        submitting a claim or appealing a claim denial. However,
representative of the determination within 30 days after
                                                                        Cigna may require you to designate your authorized
receiving the request. However, if more time is needed to
                                                                        representative in writing using a form approved by Cigna. At
make a determination due to matters beyond Cigna’s control,
                                                                        all times, the appointment of an authorized representative is
Cigna will notify you or your representative within 30 days
                                                                        revocable by you. To ensure that a prior appointment remains
after receiving the request. This notice will include the date a
                                                                        valid, Cigna may require you to re-appoint your authorized
determination can be expected, which will be no more than 45
                                                                        representative, from time to time.
days after receipt of the request.
                                                                        Cigna reserves the right to refuse to honor the appointment of
If more time is needed because necessary information is
                                                                        a representative if Cigna reasonably determines that:
missing from the request, the notice will also specify what
information is needed, and you or your representative must              •   the signature on an authorized representative form may not
provide the specified information to Cigna within 45 days                   be yours, or
after receiving the notice. The determination period will be            •   the authorized representative may not have disclosed to you
suspended on the date Cigna sends such a notice of missing                  all of the relevant facts and circumstances relating to the
information, and the determination period will resume on the                overpayment or underpayment of any claim, including, for
date you or your representative responds to the notice.                     example, that the billing practices of the provider of medical
Notice of Adverse Determination                                             services may have jeopardized your coverage through the
                                                                            waiver of the cost-sharing amounts that you are required to
Every notice of an adverse benefit determination will be
                                                                            pay under your plan.
provided in writing or electronically, and will include all of


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If your designation of an authorized representative is revoked,             We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                 days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a              concurrent care coverage determination or a postservice
form approved by Cigna.                                                     Medical Necessity determination. We will respond within 60
                                                                            calendar days after we receive an appeal for any other
                                                                            postservice coverage determination. If more time or
HC-FED88                                                       01-17
                                                                            information is needed to make the determination, we will
                                                                            notify you in writing to request an extension of up to 15
                                                                            calendar days and to specify any additional information
Medical - When You Have a Complaint or an                                   needed to complete the review.
Appeal                                                                      In the event any new or additional information (evidence) is
For the purposes of this section, any reference to "you" or                 considered, relied upon or generated by Cigna in connection
"your" also refers to a representative or provider designated by            with the appeal, this information will be provided
you to act on your behalf; unless otherwise noted.                          automatically to you as soon as possible and sufficiently in
                                                                            advance of the decision, so that you will have an opportunity
We want you to be completely satisfied with the services you                to respond. Also, if any new or additional rationale is
receive. That is why we have established a process for                      considered by Cigna, Cigna will provide the rationale to you
addressing your concerns and solving your problems.                         as soon as possible and sufficiently in advance of the decision
Start With Customer Service                                                 so that you will have an opportunity to respond.
We are here to listen and help. If you have a concern                       You may request that the appeal process be expedited if the
regarding a person, a service, the quality of care, contractual             time frames under this process would seriously jeopardize
benefits, or a rescission of coverage, you may call the toll-               your life, health or ability to regain maximum functionality or
free number on your ID card, explanation of benefits, or                    in the opinion of your health care provider would cause you
claim form and explain your concern to one of our Customer                  severe pain which cannot be managed without the requested
Service representatives. You may also express that concern                  services.
in writing.                                                                 If you request that your appeal be expedited, you may also ask
We will do our best to resolve the matter on your initial                   for an expedited external Independent Review at the same
contact. If we need more time to review or investigate your                 time, if the time to complete an expedited level-one appeal
concern, we will get back to you as soon as possible, but in                would be detrimental to your medical condition.
any case within 30 days. If you are not satisfied with the                  When an appeal is expedited, Cigna will respond orally with a
results of a coverage decision, you may start the appeals                   decision within 72 hours, followed up in writing.
procedure.
                                                                            External Review Procedure
Internal Appeals Procedure
                                                                            If you are not fully satisfied with the decision of Cigna's
To initiate an appeal of an adverse benefit determination, you              internal appeal review and the appeal involves medical
must submit a request for an appeal to Cigna within 180 days                judgment or a rescission of coverage, you may request that
of receipt of a denial notice. If you appeal a reduction or                 your appeal be referred to an Independent Review
termination in coverage for an ongoing course of treatment                  Organization (IRO). The IRO is composed of persons who are
that Cigna previously approved, you will receive, as required               not employed by Cigna, or any of its affiliates. A decision to
by applicable law, continued coverage pending the outcome of                request an external review to an IRO will not affect the
an appeal.                                                                  claimant's rights to any other benefits under the plan.
You should state the reason why you feel your appeal should                 There is no charge for you to initiate an external review. Cigna
be approved and include any information supporting your                     and your benefit plan will abide by the decision of the IRO.
appeal. If you are unable or choose not to write, you may ask
Cigna to register your appeal by telephone. Call or write us at             To request a review, you must notify the Appeals Coordinator
the toll-free number on your ID card, explanation of benefits,              within 4 months of your receipt of Cigna's appeal review
or claim form.                                                              denial. Cigna will then forward the file to a randomly selected
                                                                            IRO. The IRO will render an opinion within 45 days.
Your appeal will be reviewed and the decision made by
someone not involved in the initial decision. Appeals                       When requested, and if a delay would be detrimental to your
involving Medical Necessity or clinical appropriateness will                medical condition, as determined by Cigna's reviewer, or if
be considered by a health care professional.                                your appeal concerns an admission, availability of care,
                                                                            continued stay, or health care item or service for which you
                                                                            received emergency services, but you have not yet been


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discharged from a facility, the external review shall be                 Legal Action
completed within 72 hours.                                               If your plan is governed by ERISA, you have the right to bring
Notice of Benefit Determination on Appeal                                a civil action under section 502(a) of ERISA if you are not
Every notice of a determination on appeal will be provided in            satisfied with the outcome of the Appeals Procedure. In most
writing or electronically and, if an adverse determination, will         instances, you may not initiate a legal action against Cigna
include: information sufficient to identify the claim including,         until you have completed the appeal processes. However, no
if applicable, the date of service, provider and claim amount;           action will be brought at all unless brought within three years
diagnosis and treatment codes, and their meanings; the                   after proof of claim is required under the Plan. However, no
specific reason or reasons for the adverse determination                 action will be brought at all unless brought within 3 years after
including, if applicable, the denial code and its meaning and a          a claim is submitted for In-Network Services or within three
description of any standard that was used in the denial;                 years after proof of claim is required under the Plan for Out-
reference to the specific plan provisions on which the                   of-Network services.
determination is based; a statement that the claimant is entitled
to receive, upon request and free of charge, reasonable access           HC-FED110                                                        01-21
to and copies of all documents, records, and other Relevant
Information as defined below; a statement describing any
voluntary appeal procedures offered by the plan and the
claimant's right to bring an action under ERISA section                  COBRA Continuation Rights Under Federal
502(a), if applicable; upon request and free of charge, a copy           Law
of any internal rule, guideline, protocol or other similar               For You and Your Dependents
criterion that was relied upon in making the adverse
determination regarding your appeal, and an explanation of the           What is COBRA Continuation Coverage?
scientific or clinical judgment for a determination that is based        Under federal law, you and/or your Dependents must be given
on a Medical Necessity, experimental treatment or other                  the opportunity to continue health insurance when there is a
similar exclusion or limit; and information about any office of          “qualifying event” that would result in loss of coverage under
health insurance consumer assistance or ombudsman available              the Plan. You and/or your Dependents will be permitted to
to assist you in the appeal process. A final notice of an adverse        continue the same coverage under which you or your
determination will include a discussion of the decision.                 Dependents were covered on the day before the qualifying
You also have the right to bring a civil action under section            event occurred, unless you move out of that plan’s coverage
502(a) of ERISA if you are not satisfied with the decision on            area or the plan is no longer available. You and/or your
review. You or your plan may have other voluntary alternative            Dependents cannot change coverage options until the next
dispute resolution options such as Mediation. One way to find            open enrollment period.
out what may be available is to contact your local U.S.                  When is COBRA Continuation Available?
Department of Labor office and your State insurance                      For you and your Dependents, COBRA continuation is
regulatory agency. You may also contact the Plan                         available for up to 18 months from the date of the following
Administrator.                                                           qualifying events if the event would result in a loss of
Relevant Information                                                     coverage under the Plan:
Relevant Information is any document, record or other                    •   your termination of employment for any reason, other than
information which: was relied upon in making the benefit                     gross misconduct; or
determination; was submitted, considered or generated in the             •   your reduction in work hours.
course of making the benefit determination, without regard to
                                                                         For your Dependents, COBRA continuation coverage is
whether such document, record, or other information was
                                                                         available for up to 36 months from the date of the following
relied upon in making the benefit determination; demonstrates
                                                                         qualifying events if the event would result in a loss of
compliance with the administrative processes and safeguards
                                                                         coverage under the Plan:
required by federal law in making the benefit determination;
or constitutes a statement of policy or guidance with respect to         •   your death;
the plan concerning the denied treatment option or benefit for           •   your divorce or legal separation; or
the claimant's diagnosis, without regard to whether such
                                                                         •   for a Dependent child, failure to continue to qualify as a
advice or statement was relied upon in making the benefit
                                                                             Dependent under the Plan.
determination.




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Who is Entitled to COBRA Continuation?                                 To qualify for the disability extension, all of the following
Only a “qualified beneficiary” (as defined by federal law) may         requirements must be satisfied:
elect to continue health insurance coverage. A qualified               •   SSA must determine that the disability occurred prior to or
beneficiary may include the following individuals who were                 within 60 days after the disabled individual elected COBRA
covered by the Plan on the day the qualifying event occurred:              continuation coverage; and
you, your spouse, and your Dependent children. Each                    •   A copy of the written SSA determination must be provided
qualified beneficiary has their own right to elect or decline              to the Plan Administrator within 60 calendar days after the
COBRA continuation coverage even if you decline or are not                 date the SSA determination is made AND before the end of
eligible for COBRA continuation.                                           the initial 18-month continuation period.
The following individuals are not qualified beneficiaries for          If the SSA later determines that the individual is no longer
purposes of COBRA continuation: domestic partners,                     disabled, you must notify the Plan Administrator within 30
grandchildren (unless adopted by you), stepchildren (unless            days after the date the final determination is made by SSA.
adopted by you). Although these individuals do not have an             The 11-month disability extension will terminate for all
independent right to elect COBRA continuation coverage, if             covered persons on the first day of the month that is more than
you elect COBRA continuation coverage for yourself, you                30 days after the date the SSA makes a final determination
may also cover your Dependents even if they are not                    that the disabled individual is no longer disabled.
considered qualified beneficiaries under COBRA. However,
such individuals’ coverage will terminate when your COBRA              All causes for “Termination of COBRA Continuation” listed
continuation coverage terminates. The sections titled                  below will also apply to the period of disability extension.
“Secondary Qualifying Events” and “Medicare Extension For              Medicare Extension for Your Dependents
Your Dependents” are not applicable to these individuals.              When the qualifying event is your termination of employment
Secondary Qualifying Events                                            or reduction in work hours and you became enrolled in
If, as a result of your termination of employment or reduction         Medicare (Part A, Part B or both) within the 18 months before
in work hours, your Dependent(s) have elected COBRA                    the qualifying event, COBRA continuation coverage for your
continuation coverage and one or more Dependents experience            Dependents will last for up to 36 months after the date you
another COBRA qualifying event, the affected Dependent(s)              became enrolled in Medicare. Your COBRA continuation
may elect to extend their COBRA continuation coverage for              coverage will last for up to 18 months from the date of your
an additional 18 months (7 months if the secondary event               termination of employment or reduction in work hours.
occurs within the disability extension period) for a maximum           Termination of COBRA Continuation
of 36 months from the initial qualifying event. The second             COBRA continuation coverage will be terminated upon the
qualifying event must occur before the end of the initial 18           occurrence of any of the following:
months of COBRA continuation coverage or within the
disability extension period discussed below. Under no                  •   the end of the COBRA continuation period of 18, 29 or 36
circumstances will COBRA continuation coverage be                          months, as applicable;
available for more than 36 months from the initial qualifying          •   failure to pay the required premium within 30 calendar days
event. Secondary qualifying events are: your death; your                   after the due date;
divorce or legal separation; or, for a Dependent child, failure        •   cancellation of the Employer’s policy with Cigna;
to continue to qualify as a Dependent under the Plan.
                                                                       •   after electing COBRA continuation coverage, a qualified
Disability Extension                                                       beneficiary enrolls in Medicare (Part A, Part B, or both);
If, after electing COBRA continuation coverage due to your             •   after electing COBRA continuation coverage, a qualified
termination of employment or reduction in work hours, you or               beneficiary becomes covered under another group health
one of your Dependents is determined by the Social Security                plan, unless the qualified beneficiary has a condition for
Administration (SSA) to be totally disabled under Title II or              which the new plan limits or excludes coverage under a pre-
XVI of the SSA, you and all of your Dependents who have                    existing condition provision. In such case coverage will
elected COBRA continuation coverage may extend such                        continue until the earliest of: the end of the applicable
continuation for an additional 11 months, for a maximum of                 maximum period; the date the pre-existing condition
29 months from the initial qualifying event.                               provision is no longer applicable; or the occurrence of an
                                                                           event described in one of the first three bullets above;
                                                                       •   any reason the Plan would terminate coverage of a
                                                                           participant or beneficiary who is not receiving continuation
                                                                           coverage (e.g., fraud).


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Moving Out of Employer’s Service Area or Elimination of                   Dependents will lose the right to elect COBRA continuation
a Service Area                                                            coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                  the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your            furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan                 Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network               COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service               be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through               qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your               on behalf of their Dependent children. You or your spouse
location, you may elect COBRA continuation coverage under                 may elect continuation coverage on behalf of all the qualified
that option.                                                              beneficiaries. You are not required to elect COBRA
Employer’s Notification Requirements                                      continuation coverage in order for your Dependents to elect
                                                                          COBRA continuation.
Your Employer is required to provide you and/or your
Dependents with the following notices:                                    How Much Does COBRA Continuation Coverage Cost?
•   An initial notification of COBRA continuation rights must             Each qualified beneficiary may be required to pay the entire
    be provided within 90 days after your (or your spouse’s)              cost of continuation coverage. The amount may not exceed
    coverage under the Plan begins (or the Plan first becomes             102% of the cost to the group health plan (including both
    subject to COBRA continuation requirements, if later). If             Employer and Employee contributions) for coverage of a
    you and/or your Dependents experience a qualifying event              similarly situated active Employee or family member. The
    before the end of that 90-day period, the initial notice must         premium during the 11-month disability extension may not
    be provided within the time frame required for the COBRA              exceed 150% of the cost to the group health plan (including
    continuation coverage election notice as explained below.             both employer and employee contributions) for coverage of a
                                                                          similarly situated active Employee or family member.
•   A COBRA continuation coverage election notice must be
    provided to you and/or your Dependents within the                     For example: If the Employee alone elects COBRA
    following timeframes:                                                 continuation coverage, the Employee will be charged 102%
                                                                          (or 150%) of the active Employee premium. If the spouse or
    • if the Plan provides that COBRA continuation coverage
                                                                          one Dependent child alone elects COBRA continuation
      and the period within which an Employer must notify the             coverage, they will be charged 102% (or 150%) of the active
      Plan Administrator of a qualifying event starts upon the            Employee premium. If more than one qualified beneficiary
      loss of coverage, 44 days after loss of coverage under the          elects COBRA continuation coverage, they will be charged
      Plan;                                                               102% (or 150%) of the applicable family premium.
    • if the Plan provides that COBRA continuation coverage
                                                                          When and How to Pay COBRA Premiums
      and the period within which an Employer must notify the
      Plan Administrator of a qualifying event starts upon the            First payment for COBRA continuation
      occurrence of a qualifying event, 44 days after the                 If you elect COBRA continuation coverage, you do not have
      qualifying event occurs; or                                         to send any payment with the election form. However, you
    • in the case of a multi-employer plan, no later than 14 days         must make your first payment no later than 45 calendar days
      after the end of the period in which Employers must                 after the date of your election. (This is the date the Election
      provide notice of a qualifying event to the Plan                    Notice is postmarked, if mailed.) If you do not make your first
      Administrator.                                                      payment within that 45 days, you will lose all COBRA
                                                                          continuation rights under the Plan.
How to Elect COBRA Continuation Coverage
                                                                          Subsequent payments
The COBRA coverage election notice will list the individuals
who are eligible for COBRA continuation coverage and                      After you make your first payment for COBRA continuation
inform you of the applicable premium. The notice will also                coverage, you will be required to make subsequent payments
include instructions for electing COBRA continuation                      of the required premium for each additional month of
coverage. You must notify the Plan Administrator of your                  coverage. Payment is due on the first day of each month. If
election no later than the due date stated on the COBRA                   you make a payment on or before its due date, your coverage
election notice. If a written election notice is required, it must        under the Plan will continue for that coverage period without
be post-marked no later than the due date stated on the                   any break.
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your



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Grace periods for subsequent payments                                      COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the               Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the               stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                      COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                          secondary qualifying event.
provided for each coverage period as long as payment for that              COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for             Bankruptcy
that payment. However, if your payment is received after the               If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                    is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                    United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                     continuation coverage. If the bankruptcy results in a loss of
coverage has been suspended. If payment is received before                 coverage for you, your Dependents or your surviving spouse
the end of the grace period, your coverage will be reinstated              within one year before or after such proceeding, you and your
back to the beginning of the coverage period. This means that              covered Dependents will become COBRA qualified
any claim you submit for benefits while your coverage is                   beneficiaries with respect to the bankruptcy. You will be
suspended may be denied and may have to be resubmitted                     entitled to COBRA continuation coverage until your death.
once your coverage is reinstated. If you fail to make a                    Your surviving spouse and covered Dependent children will
payment before the end of the grace period for that coverage               be entitled to COBRA continuation coverage for up to 36
period, you will lose all rights to COBRA continuation                     months following your death. However, COBRA continuation
coverage under the Plan.                                                   coverage will cease upon the occurrence of any of the events
You Must Give Notice of Certain Qualifying Events                          listed under “Termination of COBRA Continuation” above.
If you or your Dependent(s) experience one of the following                Interaction With Other Continuation Benefits
qualifying events, you must notify the Plan Administrator                  You may be eligible for other continuation benefits under state
within 60 calendar days after the later of the date the                    law. Refer to the Termination section for any other
qualifying event occurs or the date coverage would cease as a              continuation benefits.
result of the qualifying event:
•   Your divorce or legal separation; or
                                                                           HC-FED66                                                     07-14
•   Your child ceases to qualify as a Dependent under the Plan.
•   The occurrence of a secondary qualifying event as discussed
    under “Secondary Qualifying Events” above (this notice                 ERISA Required Information
    must be received prior to the end of the initial 18- or 29-
    month COBRA period).                                                   The name of the Plan is:
(Also refer to the section titled “Disability Extension” for                 Convatec Inc. Health and Welfare Plan
additional notice requirements.)                                           The name, address, ZIP code and business telephone number
Notice must be made in writing and must include: the name of               of the sponsor of the Plan is:
the Plan, name and address of the Employee covered under the                 CONVATEC INC.
Plan, name and address(es) of the qualified beneficiaries                    200 CROSSING BOULEVARD, SUITE 101
affected by the qualifying event; the qualifying event; the date             BRIDGEWATER, NJ 08807
the qualifying event occurred; and supporting documentation                  908-904-2500
(e.g., divorce decree, birth certificate, disability determination,        Employer Identification            Plan Number:
etc.).                                                                     Number (EIN):
Newly Acquired Dependents                                                  262734330                          501
If you acquire a new Dependent through marriage, birth,                    The name, address, ZIP code and business telephone number
adoption or placement for adoption while your coverage is                  of the Plan Administrator is:
being continued, you may cover such Dependent under your
COBRA continuation coverage. However, only your newborn                      Employer named above
or adopted Dependent child is a qualified beneficiary and may              The name, address and ZIP code of the person designated as
continue COBRA continuation coverage for the remainder of                  agent for service of legal process is:
the coverage period following your early termination of                      Employer named above
COBRA coverage or due to a secondary qualifying event.



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The office designated to consider the appeal of denied claims          under the policy(s) due to you or your Dependent's total
is:                                                                    disability which began prior to and has continued beyond the
  The Cigna Claim Office responsible for this Plan                     date the policy(s) terminates will not be affected by the Plan
                                                                       termination. Rights to purchase limited amounts of life and
The cost of the Plan is shared by Employee and Employer.               medical insurance to replace part of the benefits lost because
The Plan’s fiscal year ends on 12/31.                                  the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and         policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.                             extension of benefits and rights under the policy(s).
Plan Trustees                                                          Your coverage under the Plan’s insurance policy(s) will end
                                                                       on the earliest of the following dates:
A list of any Trustees of the Plan, which includes name, title
and address, is available upon request to the Plan                     •   the date you leave Active Service (or later as explained in
Administrator.                                                             the Termination Section;)
Plan Type                                                              •   the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.                                 •   if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements                                       •   the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether            See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective              benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a                under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan             available solely because the Plan terminates.
Administrator upon written request.                                    Statement of Rights
Discretionary Authority                                                As a participant in the plan you are entitled to certain rights
The Plan Administrator delegates to Cigna the discretionary            and protections under the Employee Retirement Income
authority to interpret and apply plan terms and to make factual        Security Act of 1974 (ERISA). ERISA provides that all plan
determinations in connection with its review of claims under           participants shall be entitled to:
the plan. Such discretionary authority is intended to include,         Receive Information About Your Plan and Benefits
but not limited to, the determination of the eligibility of            •   examine, without charge, at the Plan Administrator’s office
persons desiring to enroll in or claim benefits under the plan,            and at other specified locations, such as worksites and union
the determination of whether a person is entitled to benefits              halls, all documents governing the plan, including insurance
under the plan, and the computation of any and all benefit                 contracts and collective bargaining agreements and a copy
payments. The Plan Administrator also delegates to Cigna the               of the latest annual report (Form 5500 Series) filed by the
discretionary authority to perform a full and fair review, as              plan with the U.S. Department of Labor and available at the
required by ERISA, of each claim denial which has been                     Public Disclosure room of the Employee Benefits Security
appealed by the claimant or his duly authorized representative.            Administration.
Plan Modification, Amendment and Termination                           •   obtain, upon written request to the Plan Administrator,
The Employer as Plan Sponsor reserves the right to, at any                 copies of documents governing the Plan, including
time, change or terminate benefits under the Plan, to change or            insurance contracts and collective bargaining agreements,
terminate the eligibility of classes of employees to be covered            and a copy of the latest annual report (Form 5500 Series)
by the Plan, to amend or eliminate any other plan term or                  and updated summary plan description. The administrator
condition, and to terminate the whole plan or any part of it.              may make a reasonable charge for the copies.
Contact the Employer for the procedure by which benefits               •   receive a summary of the Plan’s annual financial report. The
may be changed or terminated, by which the eligibility of                  Plan Administrator is required by law to furnish each person
classes of employees may be changed or terminated, or by                   under the Plan with a copy of this summary financial report.
which part or all of the Plan may be terminated. No consent of
any participant is required to terminate, modify, amend or             Continue Group Health Plan Coverage
change the Plan.                                                       •   continue health care coverage for yourself, your spouse or
Termination of the Plan together with termination of the                   Dependents if there is a loss of coverage under the Plan as a
insurance policy(s) which funds the Plan benefits will have no             result of a qualifying event. You or your Dependents may
adverse effect on any benefits to be paid under the policy(s)              have to pay for such coverage. Review the documents
for any covered medical expenses incurred prior to the date                governing the Plan on the rules governing your federal
that policy(s) terminates. Likewise, any extension of benefits             continuation coverage rights.


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Prudent Actions by Plan Fiduciaries                                     Assistance with Your Questions
In addition to creating rights for plan participants, ERISA             If you have any questions about your plan, you should contact
imposes duties upon the people responsible for the operation            the plan administrator. If you have any questions about this
of the employee benefit plan. The people who operate your               statement or about your rights under ERISA, or if you need
plan, called “fiduciaries” of the Plan, have a duty to do so            assistance in obtaining documents from the plan administrator,
prudently and in the interest of you and other plan participants        you should contact the nearest office of the Employee Benefits
and beneficiaries. No one, including your employer, your                Security Administration, U.S. Department of Labor listed in
union, or any other person may fire you or otherwise                    your telephone directory or the Division of Technical
discriminate against you in any way to prevent you from                 Assistance and Inquiries, Employee Benefits Security
obtaining a welfare benefit or exercising your rights under             Administration, U.S. Department of Labor, 200 Constitution
ERISA. If your claim for a welfare benefit is denied or                 Avenue N.W., Washington, D.C. 20210. You may also obtain
ignored you have a right to know why this was done, to obtain           certain publications about your rights and responsibilities
copies of documents relating to the decision without charge,            under ERISA by calling the publications hotline of the
and to appeal any denial, all within certain time schedules.            Employee Benefits Security Administration.
Enforce Your Rights
Under ERISA, there are steps you can take to enforce the                HC-FED72                                                    05-15
above rights. For instance, if you request a copy of documents
governing the plan or the latest annual report from the plan
and do not receive them within 30 days, you may file suit in a
federal court. In such a case, the court may require the plan           Definitions
administrator to provide the materials and pay you up to $110           Active Service
a day until you receive the materials, unless the materials were        You will be considered in Active Service:
not sent because of reasons beyond the control of the
administrator. If you have a claim for benefits which is denied         •   on any of your Employer's scheduled work days if you are
or ignored, in whole or in part, you may file suit in a state or            performing the regular duties of your work as determined by
federal court.                                                              your Employer on that day either at your Employer's place
                                                                            of business or at some location to which you are required to
In addition, if you disagree with the plan’s decision or lack               travel for your Employer's business.
thereof concerning the qualified status of a domestic relations
order or a medical child support order, you may file suit in            •   on a day which is not one of your Employer's scheduled
federal court. If it should happen that plan fiduciaries misuse             work days if you were in Active Service on the preceding
the plan’s money, or if you are discriminated against for                   scheduled work day.
asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court.           HC-DFS1095                                                  12-17
The court will decide who should pay court costs and legal
fees. If you are successful the court may order the person you
have sued to pay these costs and fees. If you lose, the court           Ambulance
may order you to pay these costs and fees, for example if it            Licensed ambulance transportation services involve the use of
finds your claim is frivolous.                                          specially designed and equipped vehicles for transporting ill or
                                                                        injured patients. It includes ground, air, or sea transportation
                                                                        when Medically Necessary and clinically appropriate.


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Ancillary Charge                                                          or your Physician may be classified as a Brand Drug under the
An additional cost, outside of plan cost sharing detailed in The          plan.
Schedule of Prescription Drug Benefits, which may apply to
some Prescription Drug Products when you request a more                   HC-DFS842                                                     10-16
expensive Brand Drug when a lower cost, Therapeutic
Equivalent, Generic Drug is available. The Ancillary Charge
is the amount by which the cost of the requested Brand Drug               Business Decision Team
exceeds the cost of the Generic Drug.                                     A committee comprised of voting and non-voting
                                                                          representatives across various Cigna business units such as
                                                                          clinical, medical and business leadership that is duly
HC-DFS1553                                                   01-21
                                                                          authorized by Cigna to effect changes regarding coverage
                                                                          treatment of Prescription Drug Products and Medical
Biologic                                                                  Pharmaceuticals based on clinical findings provided by the
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,             P&T Committee, including, but not limited to, changes
blood component or derivative, allergenic product, protein                regarding tier placement and application of utilization
(except any chemically synthesized polypeptide), or analogous             management to Prescription Drug Products and Medical
product, or arsphenamine or derivative of arsphenamine (or                Pharmaceuticals.
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               HC-DFS1494                                                    07-20
human beings, as defined under Section 351(i) of the Public
Health Service Act (42 USC 262(i)) (as amended by the
Biologics Price Competition and Innovation Act of 2009, title             Charges
VII of the Patient Protection and Affordable Care Act, Pub. L.            The term charges means the actual billed charges; except
No. 111-148, § 7002 (2010), and as may be amended                         when Cigna has contracted directly or indirectly for a different
thereafter).                                                              amount including where Cigna has directly or indirectly
                                                                          contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
HC-DFS840                                                    10-16
                                                                          such services and/or supplies.

Biosimilar
                                                                          HC-DFS1193                                                    01-19
A Biologic that is highly similar to the reference Biologic
product notwithstanding minor differences in clinically
inactive components, and has no clinically meaningful                     Chiropractic Care
differences from the reference Biologic in terms of its safety,           The term Chiropractic Care means the conservative
purity, and potency, as defined under Section 351(i) of the               management of acute neuromusculoskeletal conditions
Public Health Service Act (42 USC 262(i)) (as amended by                  through manipulation and ancillary physiological treatment
the Biologics Price Competition and Innovation Act of 2009,               rendered to specific joints to restore motion, reduce pain and
title VII of the Patient Protection and Affordable Care Act,              improve function.
Pub. L. No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS1717                                                    01-22


HC-DFS841                                                    10-16



Brand Drug
A Prescription Drug Product that Cigna identifies as a Brand
Drug product across its book-of-business, principally based on
available data resources, including, but not limited to, First
DataBank or another nationally recognized drug indicator
source, that classify drugs or Biologics as either brand or
generic based on a number of factors. Not all products
identified as a "brand name" by the manufacturer, Pharmacy,


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Convenience Care Clinics                                                          Proof of the child's condition and dependence may be
Convenience Care Clinics are staffed by nurse practitioners                       required to be submitted to the plan within 31 days after
and physician assistants and offer customers convenient,                          the date the child ceases to qualify above. From time to
professional walk-in care for common ailments and routine                         time, but not more frequently than once a year, the plan
services. Convenience Care Clinics have extended hours and                        may require proof of the continuation of such condition
are located in or near easy-to-access, popular locations                          and dependence.
(pharmacies, grocery and free-standing locations) with or                   The term child means a child born to you or a child legally
without appointment.                                                        adopted by you. It also includes a stepchild or a child for
                                                                            whom you are the legal guardian. If your Domestic Partner has
                                                                            a child, that child will also be included as a Dependent.
HC-DFS1629                                                     07-21
                                                                            Benefits for a Dependent child will continue until the last day
                                                                            of the calendar month in which the limiting age is reached.
Custodial Services
                                                                            Anyone who is eligible as an Employee will not be considered
Any services that are of a sheltering, protective, or                       as a Dependent or Dependent spouse unless the Dependent or
safeguarding nature. Such services may include a stay in an                 Dependent spouse declines Employee coverage. A child under
institutional setting, at-home care, or nursing services to care            age 26 may be covered as either an Employee or as a
for someone because of age or mental or physical condition.                 Dependent child. You cannot be covered as an Employee
This service primarily helps the person in daily living.                    while also covered as a Dependent of an Employee.
Custodial care also can provide medical services, given mainly
                                                                            No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services
                                                                            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care             Surviving Spouse - Deps of deceased employees for 180 days
for himself or herself. Custodial Services include but are not              (employee contributions still apply).
limited to:
•   Services related to watching or protecting a person;                    HC-DFS1718 M                                                 01-22

•   Services related to performing or assisting a person in
    performing any activities of daily living, such as: walking,            Designated Pharmacy
    grooming, bathing, dressing, getting in or out of bed,
    toileting, eating, preparing foods, or taking medications that          A Network Pharmacy that has entered into an agreement with
    can be self administered, and                                           Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                            provide Prescription Drug Products or services, including,
•   Services not required to be performed by trained or skilled             without limitation, specific Prescription Drug Products, to plan
    medical or paramedical personnel.                                       enrollees on a preferred or exclusive basis. For example, a
                                                                            Designated Pharmacy may provide enrollees certain Specialty
HC-DFS4                                                        04-10
                                                                            Prescription Drug Products that have limited distribution
                                                                  V1        availability, provide enrollees with an extended days’ supply
                                                                            of Prescription Drug Products or provide enrollees with
                                                                            Prescription Drug Products on a preferred cost share basis. A
Dependent                                                                   Pharmacy that is a Network Pharmacy is not necessarily a
Dependents are:                                                             Designated Pharmacy.
•   your lawful spouse; or
•   your Domestic Partner; and                                              HC-DFS1614                                                   01-22

•   any child of yours who is
    • less than 26 years old.                                               Domestic Partner
    • 26 or more years old, unmarried, and primarily supported              A Domestic Partner is defined as a person of the same or
      by you and incapable of self-sustaining employment by                 opposite sex who:
      reason of mental or physical disability which arose while             •   shares your permanent residence;
      the child was covered as a Dependent under this Plan, or              •   has resided with you for no less than one year;
      while covered as a dependent under a prior plan with no
      break in coverage.                                                    •   is no less than 18 years of age;



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•   is financially interdependent with you and has proven such               Emergency Medical Condition
    interdependence by providing documentation of at least two               Emergency Medical Condition means a medical condition,
    of the following arrangements: common ownership of real                  including a mental health condition or substance use disorder,
    property or a common leasehold interest in such property;                manifesting itself by acute symptoms of sufficient severity
    community ownership of a motor vehicle; a joint bank                     (including severe pain) such that a prudent layperson, who
    account or a joint credit account; designation as a                      possesses an average knowledge of health and medicine, could
    beneficiary for life insurance or retirement benefits or under           reasonably expect the absence of immediate medical attention
    your partner's will; assignment of a durable power of                    to result in placing the health of the individual (or, with
    attorney or health care power of attorney; or such other                 respect to a pregnant woman, the health of the woman or her
    proof as is considered by Cigna to be sufficient to establish            unborn child) in serious jeopardy; serious impairment to
    financial interdependency under the circumstances of your                bodily functions; or serious dysfunction of any bodily organ or
    particular case;                                                         part.
•   is not a blood relative any closer than would prohibit legal
    marriage; and
                                                                             HC-DFS1766                                                  01-23
•   has signed jointly with you, a notarized affidavit attesting to
    the above which can be made available to Cigna upon
    request.                                                                 Emergency Services
In addition, you and your Domestic Partner will be considered                Emergency Services means, with respect to an Emergency
to have met the terms of this definition as long as neither you              Medical Condition, a medical screening examination that is
nor your Domestic Partner:                                                   within the capability of the emergency department of a
                                                                             Hospital or of an independent freestanding emergency facility,
•   has signed a Domestic Partner affidavit or declaration with
                                                                             including ancillary services routinely available to the
    any other person within twelve months prior to designating
                                                                             emergency department to evaluate such Emergency Medical
    each other as Domestic Partners hereunder;
                                                                             Condition, and such further medical examination and
•   is currently legally married to another person; or                       treatment, to the extent they are within the capabilities of the
•   has any other Domestic Partner, spouse or spouse equivalent              staff and facilities available at the Hospital or emergency
    of the same or opposite sex.                                             department, as are required to Stabilize the patient.
You and your Domestic Partner must have registered as
Domestic Partners, if you reside in a state that provides for                HC-DFS1764                                                  01-23
such registration.
The section of this certificate entitled "COBRA Continuation
                                                                             Employee
Rights Under Federal Law" will not apply to your Domestic
Partner and his or her Dependents.                                           The term Employee means an Employee as determined by
                                                                             your Employer who is currently in Active Service.

HC-DFS47                                                        04-10
                                                                   V1        HC-DFS1094                                                  12-17



                                                                             Employer
                                                                             The term Employer means the plan sponsor self-insuring the
                                                                             benefits described in this booklet, on whose behalf Cigna is
                                                                             providing claim administration services.


                                                                             HC-DFS1615                                                  01-22



                                                                             Essential Health Benefits
                                                                             Essential health benefits means, to the extent covered under
                                                                             the plan, expenses incurred with respect to covered services, in
                                                                             at least the following categories: ambulatory patient services,
                                                                             emergency services, hospitalization, maternity and newborn



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care, mental health and substance use disorder services,                     Pharmacy or your Physician may be classified as a Generic
including behavioral health treatment, prescription drugs,                   Drug under the plan. A Biosimilar may be classified as a
rehabilitative and habilitative services and devices, laboratory             Generic Drug for the purposes of benefits under the plan even
services, preventive and wellness services and chronic disease               if it is identified as a “brand name” drug by the manufacturer,
management and pediatric services, including oral and vision                 Pharmacy or your Physician.
care.
                                                                             HC-DFS846                                                       10-16
HC-DFS411                                                       01-11

                                                                             Hospice Care Program
Expense Incurred                                                             The term Hospice Care Program means:
An expense is incurred when the service or the supply for                    •   a coordinated, interdisciplinary program to meet the
which it is incurred is provided.                                                physical, psychological, spiritual and social needs of dying
                                                                                 persons and their families;
HC-DFS10                                                        04-10        •   a program that provides palliative and supportive medical,
                                                                  V1             nursing and other health services through home or inpatient
                                                                                 care during the illness;
Free-Standing Surgical Facility                                              •   a program for persons who have a Terminal Illness and for
                                                                                 the families of those persons.
The term Free-Standing Surgical Facility means an institution
which meets all of the following requirements:
•   it has a medical staff of Physicians, Nurses and licensed                HC-DFS51                                                        04-10

    anesthesiologists;                                                                                                                         V1

•   it maintains at least two operating rooms and one recovery
    room;                                                                    Hospice Care Services
•   it maintains diagnostic laboratory and x-ray facilities;                 The term Hospice Care Services means any services provided
•   it has equipment for emergency care;                                     by: a Hospital, a Skilled Nursing Facility or a similar
                                                                             institution, a Home Health Care Agency, a Hospice Facility,
•   it has a blood supply;                                                   or any other licensed facility or agency under a Hospice Care
•   it maintains medical records;                                            Program.
•   it has agreements with Hospitals for immediate acceptance
    of patients who need Hospital Confinement on an inpatient                HC-DFS52                                                        04-10
    basis; and                                                                                                                                 V1
•   it is licensed in accordance with the laws of the appropriate
    legally authorized agency.
                                                                             Hospice Facility
A Free-Standing Surgical Facility, unless specifically noted
                                                                             The term Hospice Facility means an institution or part of it
otherwise, is covered with the same cost share as an
                                                                             which:
Outpatient Facility.
                                                                             •   primarily provides care for Terminally Ill patients;

HC-DFS1484                                                      01-21
                                                                             •   is accredited by the National Hospice Organization;
                                                                             •   meets standards established by Cigna; and
Generic Drug                                                                 •   fulfills any licensing requirements of the state or locality in
                                                                                 which it operates.
A Prescription Drug Product that Cigna identifies as a Generic
Drug product at a book-of-business level principally based on
available data resources, including, but not limited to, First               HC-DFS53                                                        04-10

DataBank or another nationally recognized drug indicator                                                                                       V1

source, that classify drugs or Biologics (including Biosimilars)
as either brand or generic based on a number of factors. Not
all products identified as a “generic” by the manufacturer,



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Hospital                                                                      consideration of available data resources, including, but not
The term Hospital means:                                                      limited to, First DataBank or another nationally recognized
                                                                              drug indicator source and clinical factors. For the purposes of
•   an institution licensed as a hospital, which: maintains, on               benefits, the list of your plan’s Maintenance Drug Products
    the premises, all facilities necessary for medical and                    does not include compounded medications, Specialty
    surgical treatment; provides such treatment on an inpatient               Prescription Drug Products or Prescription Drug Products,
    basis, for compensation, under the supervision of                         such as certain narcotics that a Pharmacy cannot dispense
    Physicians; and provides 24-hour service by Registered                    above certain supply limits per Prescription Drug Order or
    Graduate Nurses;                                                          Refill under applicable federal or state law. You may
•   an institution which qualifies as a hospital, a psychiatric               determine whether a drug is a Maintenance Medication by
    hospital or a tuberculosis hospital, and a provider of                    calling member services at the telephone number on your ID
    services under Medicare, if such institution is accredited as             card.
    a hospital by the Joint Commission on the Accreditation of
    Healthcare Organizations; or
                                                                              HC-DFS847                                                     10-16
•   an institution which: specializes in treatment of Mental
    Health and Substance Use Disorder or other related illness;
    provides residential treatment programs; and is licensed in               Maintenance Treatment
    accordance with the laws of the appropriate legally                       The term Maintenance Treatment means:
    authorized agency.
                                                                              •   treatment rendered to keep or maintain the patient's current
The term Hospital does not include an institution which is                        status.
primarily a place for rest, a place for the aged, or a nursing
home.
                                                                              HC-DFS56                                                      04-10
                                                                                                                                              V1
HC-DFS1485                                                       01-21


                                                                              Maximum Reimbursable Charge – Medical
                                                                              See The Medical Schedule for information about Out-of-
Hospital Confinement or Confined in a Hospital                                Network Charges for Certain Services, Out-of-Network
A person will be considered Confined in a Hospital if he is:                  Emergency Services Charges, and Out-of-Network Air
                                                                              Ambulance Services Charges.
•   a registered bed patient in a Hospital upon the
    recommendation of a Physician;                                            The Maximum Reimbursable Charge (also referred to as
                                                                              MRC) is the maximum amount that your plan will pay an Out-
•   receiving treatment for Mental Health and Substance Use
                                                                              of-Network health care provider for a Covered Expense. Your
    Disorder Services in a Mental Health or Substance Use
                                                                              applicable Out-of-Network Coinsurance and/or Deductible
    Disorder Residential Treatment Center.
                                                                              amount(s), if any, set forth in The Schedule are determined
                                                                              based on the MRC. Unless prohibited by applicable law or
HC-DFS807                                                        12-15        agreement, Out-of-Network providers may also bill you for
                                                                              the difference between the MRC and their charges, and you
                                                                              may be financially responsible for that amount. If you receive
Injury                                                                        a bill from an Out-of-Network provider for more than the
The term Injury means an accidental bodily injury.                            What I Owe amount on the Explanation of Benefits (EOB),
                                                                              please call Cigna at the phone number on your ID card.
HC-DFS12                                                         04-10        If an Out-of-Network provider is willing to agree to a rate that
                                                                   V1         Cigna, in its discretion, determines to be market competitive,
                                                                              then that rate will become the MRC used to calculate the Out-
                                                                              of-Network allowable amount for a Covered Expense. An
Maintenance Drug Product                                                      Out-of-Network provider can agree to a rate by: (i) entering
A Prescription Drug Product that is prescribed for use over an                into an agreement with Cigna or one of Cigna’s third-party
extended period of time for the treatment of chronic or long-                 vendors that establishes the rate the Out-of-Network provider
term conditions such as asthma, hypertension, diabetes and                    is willing to accept as payment for the Out-of-Network
heart disease, and is identified principally based on                         Covered Expense; or (ii) receiving a payment from Cigna
                                                                              based on an allowed amount that Cigna or one of Cigna’s


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third-party vendors has determined is a market competitive                oversight but subsequently may be self-administered under
rate without billing you and/or obligating you to pay the                 certain conditions specified in the product’s FDA labeling.
difference between the payment amount and the charged
amount.
                                                                          HC-DFS1722                                                        07-22
If an Out-of-Network provider does not agree to a market
competitive rate as described in the previous paragraph, then
the MRC for Open Access Plus will be based on an amount                   Medically Necessary/Medical Necessity
required by law, or if no amount is required by law, then the             Health care services, supplies and medications provided for
lesser of:                                                                the purpose of preventing, evaluating, diagnosing or treating a
•   the providers normal charge for a similar service or supply;          Sickness, Injury, condition, disease or its symptoms, that are
    or                                                                    all of the following as determined by a Medical Director or
                                                                          Review Organization:
•   the planholder-selected percentage of a fee schedule Cigna
    has developed that is based upon a methodology similar to a           •   required to diagnose or treat an illness, Injury, disease or its
    methodology utilized by Medicare to determine the                         symptoms;
    allowable reimbursement for the same or similar service or            •   in accordance with generally accepted standards of medical
    supply within the geographic market. In the event that                    practice;
    Medicare does not have a published rate for a particular
                                                                          •   clinically appropriate in terms of type, frequency, extent,
    service or supply, Cigna may, in its discretion, determine
                                                                              site and duration;
    the MRC based on a rate for the same or similar service or
    supply by applying a Medicare-based methodology that                  •   not primarily for the convenience of the patient, Physician
    Cigna deems appropriate.                                                  or Other Health Professional;
The percentage used to determine the Maximum Reimbursable                 •   not more costly than an alternative service(s), medication(s)
Charge is 200.                                                                or supply(ies) that is at least as likely to produce equivalent
                                                                              therapeutic or diagnostic results with the same safety profile
Note: Some providers attempt to forgive, waive, or not collect
                                                                              as to the prevention, evaluation, diagnosis or treatment of
the cost share obligation (e.g., your Coinsurance and/or
                                                                              your Sickness, Injury, condition, disease or its symptoms;
Deductible amount(s), if any), that this plan requires you to
                                                                              and
pay. This practice jeopardizes your coverage under this plan.
Please read the Exclusions, Expenses Not Covered and                      •   rendered in the least intensive setting that is appropriate for
General Limitations section, or call Cigna at the phone                       the delivery of the services, supplies or medications. Where
number on your ID card for more details.                                      applicable, the Medical Director or Review Organization
                                                                              may compare the cost-effectiveness of alternative services,
                                                                              supplies, medications or settings when determining least
HC-DFS1853                                                   01-24            intensive setting.
                                                                          In determining whether health care services, supplies, or
Medicaid                                                                  medications are Medically Necessary, the Medical Director or
The term Medicaid means a state program of medical aid for                Review Organization may rely on the clinical coverage
needy persons established under Title XIX of the Social                   policies maintained by Cigna or the Review Organization.
Security Act of 1965 as amended.                                          Clinical coverage policies may incorporate, without limitation
                                                                          and as applicable, criteria relating to U.S. Food and Drug
                                                                          Administration-approved labeling, the standard medical
HC-DFS16                                                     04-10        reference compendia and peer-reviewed, evidence-based
                                                                V1        scientific literature or guidelines.

Medical Pharmaceutical                                                    HC-DFS1486                                                        01-21

Medical Pharmaceuticals are used for treatment of complex
chronic conditions, are administered and handled in a
specialized manner, and may be high cost. Because of their
characteristics, they require a qualified Physician to administer
or directly supervise administration. Some Medical
Pharmaceuticals may initially or typically require Physician



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Medicare                                                                    Nurse
The term Medicare means the program of medical care                         The term Nurse means a Registered Graduate Nurse, a
benefits provided under Title XVIII of the Social Security Act              Licensed Practical Nurse or a Licensed Vocational Nurse who
of 1965 as amended.                                                         has the right to use the abbreviation "R.N.," "L.P.N." or
                                                                            "L.V.N."
HC-DFS17                                                       04-10
                                                                  V1        HC-DFS22                                                      04-10
                                                                                                                                            V1

Necessary Services and Supplies
The term Necessary Services and Supplies includes any                       Other Health Care Facility
charges, except charges for Room and Board, made by a                       The term Other Health Care Facility means a facility other
Hospital for medical services and supplies actually used                    than a Hospital or Hospice Facility. Examples of Other Health
during Hospital Confinement.                                                Care Facilities include, but are not limited to, licensed skilled
The term Necessary Services and Supplies will not include                   nursing facilities, rehabilitation Hospitals and subacute
any charges for special nursing fees, dental fees or medical                facilities.
fees.
                                                                            HC-DFS1489                                                    01-21

HC-DFS1488                                                     01-21

                                                                            Other Health Professional
Network Pharmacy                                                            The term Other Health Professional means an individual other
A retail or home delivery Pharmacy that has:                                than a Physician who is licensed or otherwise authorized under
                                                                            the applicable state law to deliver medical services and
•   entered into an agreement with Cigna or an entity                       supplies. Other Health Professionals include, but are not
    contracting on Cigna's behalf to provide Prescription Drug              limited to physical therapists, registered nurses and licensed
    Products to plan enrollees.                                             practical nurses. Other Health Professionals do not include
•   agreed to accept specified reimbursement rates for                      providers such as Certified First Assistants, Certified
    dispensing Prescription Drug Products.                                  Operating Room Technicians, Certified Surgical
•   been designated as a Network Pharmacy for the purposes of               Assistants/Technicians, Licensed Certified Surgical
    coverage under your Employer’s plan.                                    Assistants/Technicians, Licensed Surgical Assistants,
                                                                            Orthopedic Physician Assistants and Surgical First Assistants.
This term may also include, as applicable, an entity that has
directly or indirectly contracted with Cigna to arrange for the
provision of any Prescription Drug Products the charges for                 HC-DFS1490                                                    01-21
which are Covered Expenses.
                                                                            Participating Provider
HC-DFS1198                                                     01-19
                                                                            The term Participating Provider means a person or entity that
                                                                            has a direct or indirect contractual arrangement with Cigna to
New Prescription Drug Product                                               provide covered services and/or supplies, the Charges for
                                                                            which are Covered Expenses. It includes an entity that has
A Prescription Drug Product, or new use or dosage form of a                 directly or indirectly contracted with Cigna to arrange, through
previously FDA-approved Prescription Drug Product, for the                  contracts with providers of services and/or supplies, for the
period of time starting on the date the Prescription Drug                   provision of any services and/or supplies, the Charges for
Product or newly-approved use or dosage form becomes                        which are Covered Expenses.
available on the market following approval by the U.S. Food
and Drug Administration (FDA) and ending on the date Cigna
makes a Prescription Drug List coverage status decision.                    HC-DFS1194                                                    01-19



HC-DFS1498                                                     07-20




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Patient Protection and Affordable Care Act of 2010                        Prescription Drug Charge
(“PPACA”)                                                                 The Prescription Drug Charge is the amount that, prior to
Patient Protection and Affordable Care Act of 2010 means the              application of the plan’s cost-share requirement(s), the plan
Patient Protection and Affordable Care Act of 2010 (Public                sponsor is obligated to pay for a covered Prescription Drug
Law 111-148) as amended by the Health Care and Education                  Product dispensed at a Network Pharmacy, including any
Reconciliation Act of 2010 (Public Law 111-152).                          applicable dispensing fee and tax.


HC-DFS412                                                    01-11        HC-DFS1320                                                    01-19
                                                                                                                                            V1


Pharmacy
A duly licensed Pharmacy that dispenses Prescription Drug                 Prescription Drug List
Products in a retail setting or via home delivery. A home                 A list that categorizes Prescription Drug Products covered
delivery Pharmacy is a Pharmacy that primarily provides                   under the plan’s Prescription Drug Benefits into coverage
Prescription Drug Products through mail order.                            tiers. This list is developed by Cigna based on clinical factors
                                                                          communicated by the P&T Committee and adopted by your
                                                                          Employer as part of the plan. The list is subject to periodic
HC-DFS851                                                    10-16
                                                                          review and change, and is subject to the limitations and
                                                                          exclusions of the plan. You may determine to which tier a
Pharmacy & Therapeutics (P&T) Committee                                   particular Prescription Drug Product has been assigned
                                                                          through the website shown on your ID card or by calling
A committee comprised of physicians and an independent
                                                                          customer service at the telephone number on your ID card.
pharmacist that represent a range of clinical specialties. The
committee regularly reviews Medical Pharmaceuticals or
Prescription Drug Products, including New Prescription Drug               HC-DFS1775                                                    01-23
Products, for safety and efficacy, the findings of which clinical
reviews inform coverage determinations made by the Business
Decision Team. The P&T Committee’s review may be based                    Prescription Drug Product
on consideration of, without limitation, U.S. Food and Drug               A drug, Biologic (including a Biosimilar), or other product
Administration-approved labeling, standard medical reference              that has been approved by the U.S. Food and Drug
compendia, or scientific studies published in peer-reviewed               Administration (FDA), certain products approved under the
English-language bio-medical journals.                                    Drug Efficacy Study Implementation review, or products
                                                                          marketed prior to 1938 and not subject to review and that can,
                                                                          under federal or state law, be dispensed only pursuant to a
HC-DFS1495                                                   07-20
                                                                          Prescription Order or Refill. For the purpose of benefits under
                                                                          the plan, this definition may also include products in the
Physician                                                                 following categories if specifically identified in the
                                                                          Prescription Drug List:
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                  •   Certain durable products and supplies that support drug
licensed to prescribe and administer drugs or to perform                      therapy;
surgery. It will also include any other licensed medical                  •   Certain diagnostic testing and screening services that
practitioner whose services are required to be covered by law                 support drug therapy;
in the locality where the policy is issued if he is:                      •   Certain medication consultation and other medication
•   operating within the scope of his license; and                            administration services that support drug therapy; and
•   performing a service for which benefits are provided under            •   Certain digital products, applications, electronic devices,
    this plan when performed by a Physician.                                  software and cloud based service solutions used to predict,
                                                                              detect and monitor health conditions in support of drug
                                                                              therapy.
HC-DFS25                                                     04-10
                                                               V1

                                                                          HC-DFS1633                                                    01-22




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Prescription Order or Refill                                               Primary Care Physician
The lawful directive to dispense a Prescription Drug Product               The term Primary Care Physician means a Physician who
issued by a Physician whose scope of practice permits issuing              qualifies as a Participating Provider in general practice,
such a directive.                                                          internal medicine, family practice OB/GYN or pediatrics; and
                                                                           who has been voluntarily selected by you and is contracted as
                                                                           a Primary Care Physician with, as authorized by Cigna, to
HC-DFS856                                                     10-16
                                                                           provide or arrange for medical care for you or any of your
                                                                           insured Dependents.
PPACA Preventive Medication
The Prescription Drug Products or other medications                        HC-DFS40                                                     04-10
(including over-the-counter medications) designated as                                                                                    V1
payable by the plan at 100% of the cost (without application of
any Deductible, Copayment or Coinsurance) as required by
applicable law under any of the following:                                 Psychologist
•   Evidence-based items or services that have in effect a rating          The term Psychologist means a person who is licensed or
    of "A" or "B" in the current recommendations of the United             certified as a clinical psychologist. Where no licensure or
    States Preventive Services Task Force.                                 certification exists, the term Psychologist means a person who
                                                                           is considered qualified as a clinical psychologist by a
•   With respect to infants, children and adolescents, evidence-           recognized psychological association. It will also include any
    informed preventive care and screenings provided for in the            other licensed counseling practitioner whose services are
    comprehensive guidelines supported by the Health                       required to be covered by law in the locality where the policy
    Resources and Services Administration.                                 is issued if he is operating within the scope of his license and
•   With respect to women, such additional preventive care and             performing a service for which benefits are provided under
    screenings as provided for in comprehensive guidelines                 this plan when performed by a Psychologist.
    supported by the Health Resources and Services
    Administration.
                                                                           HC-DFS26                                                     04-10
A written prescription is required to process a claim for a                                                                               V1
PPACA Preventive Medication. You may determine whether a
drug is a PPACA Preventive Medication through the internet
website shown on your ID card or by calling member services                Review Organization
at the telephone number on your ID card.                                   The term Review Organization refers to an affiliate of Cigna
                                                                           or another entity to which Cigna has delegated responsibility
                                                                           for performing utilization review services. The Review
HC-DFS1513                                                    10-20
                                                                           Organization is an organization with a staff of clinicians which
                                                                           may include Physicians, Registered Graduate Nurses, licensed
Preventive Treatment                                                       mental health and substance use disorder professionals, and
The term Preventive Treatment means treatment rendered to                  other trained staff members who perform utilization review
prevent disease or its recurrence.                                         services.


                                                                           HC-DFS808                                                    12-15
HC-DFS57                                                      04-10
                                                                V1

                                                                           Room and Board
                                                                           The term Room and Board includes all charges made by a
                                                                           Hospital for room and meals and for all general services and
                                                                           activities needed for the care of registered bed patients.


                                                                           HC-DFS1481                                                   01-21




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Sickness – For Medical Insurance                                           be considered a Specialty Prescription Drug Product. Specialty
The term Sickness means a physical or mental illness. It also              Prescription Drug Products may vary by plan benefit
includes pregnancy. Expenses incurred for routine Hospital                 assignment based on factors such as method or site of clinical
and pediatric care of a newborn child prior to discharge from              administration, or by tier assignment or utilization
the Hospital nursery will be considered to be incurred as a                management requirements based on factors such as acquisition
result of Sickness.                                                        cost. You may determine whether a medication is a Specialty
                                                                           Prescription Drug Product through the website shown on your
                                                                           ID card or by calling member services at the telephone
HC-DFS50                                                      04-10        number on your ID card.
                                                                V1


                                                                           HC-DFS858                                                   10-16
Skilled Nursing Facility
The term Skilled Nursing Facility means a licensed institution             Stabilize
(other than a Hospital, as defined) which specializes in:
                                                                           Stabilize means, with respect to an Emergency Medical
•   physical rehabilitation on an inpatient basis; or                      Condition, to provide medical treatment as necessary to assure
•   skilled nursing and medical care on an inpatient basis;                that no material deterioration of the condition is likely if the
but only if that institution: maintains on the premises all                individual is transferred from a facility, or, with respect to a
facilities necessary for medical treatment; provides such                  pregnant woman who is having contractions, to deliver.
treatment, for compensation, under the supervision of
Physicians; and provides Nurses' services.                                 HC-DFS1768                                                  01-23



HC-DFS31                                                      04-10
                                                                           Terminal Illness
                                                                V1
                                                                           A Terminal Illness will be considered to exist if a person
                                                                           becomes terminally ill with a prognosis of six months or less
Specialist                                                                 to live, as diagnosed by a Physician.
The term Specialist means a Physician who provides
specialized services, and is not engaged in general practice,
                                                                           HC-DFS54                                                    04-10
family practice, internal medicine, obstetrics/gynecology or                                                                               V1
pediatrics.

                                                                           Therapeutic Alternative
HC-DFS33                                                      04-10
                                                                V1
                                                                           A Prescription Drug Product or Medical Pharmaceutical that is
                                                                           of the same therapeutic or pharmacological class, and usually
                                                                           can be expected to have similar outcomes and adverse reaction
Specialty Prescription Drug Product                                        profiles when administered in therapeutically equivalent doses
A Prescription Drug Product or Medical Pharmaceutical                      as, another Prescription Drug Product, Medical
considered by Cigna to be a Specialty Prescription Drug                    Pharmaceutical or over-the-counter medication.
Product based on consideration of the following factors,
subject to applicable law: whether the Prescription Drug
                                                                           HC-DFS859                                                   10-16
Product or Medical Pharmaceutical is prescribed and used for
the treatment of a complex, chronic or rare condition; whether
the Prescription Drug Product or Medical Pharmaceutical has                Therapeutic Equivalent
a high acquisition cost; and, whether the Prescription Drug                A Prescription Drug Product or Medical Pharmaceutical that is
Product or Medical Pharmaceutical is subject to limited or                 a pharmaceutical equivalent to another Prescription Drug
restricted distribution, requires special handling and/or                  Product, Medical Pharmaceutical or over-the-counter
requires enhanced patient education, provider coordination or              medication.
clinical oversight. A Specialty Prescription Drug Product may
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that            HC-DFS860                                                   10-16

a Prescription Drug Product or Medical Pharmaceutical will


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Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS861                                                    10-16




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                    Exhibit 20
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  Connections Education, LLC



   OPEN ACCESS PLUS IN-NETWORK
   MEDICAL BENEFITS




  EFFECTIVE DATE: January 1, 2022




   CN035
   3338381




   This document printed in February, 2022 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                                                                                   Home Office: Bloomfield, Connecticut
                                                                          Mailing Address: Hartford, Connecticut 06152




  CIGNA HEALTH AND LIFE INSURANCE COMPANY
  a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
  provided by the following policy(s):




  POLICYHOLDER: Connections Education, LLC



  GROUP POLICY(S) — COVERAGE
  3338381 - OAPN1 OPEN ACCESS PLUS IN-NETWORK MEDICAL BENEFITS



  EFFECTIVE DATE: January 1, 2022




  This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
  the policy(s). If questions arise, the policy(s) will govern.
  This certificate takes the place of any other issued to you on a prior date which described the insu rance.




  HC-CER25                                                                                                  04-10
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                              Monday through Friday. In addition, your employer, a claim
                                                                              office or a utilization review program (see the PAC/CSR
Special Plan Provisions                                                       section of your certificate) may refer an individual for Case
Participating Providers include Physicians, Hospitals and                     Management.
Other Health Professionals and Other Health Care Facilities.
                                                                             The Review Organization assesses each case to determine
Consult your Physician Guide for a list of Participating
                                                                              whether Case Management is appropriate.
Providers in your area. Participating Providers are committed
to providing you and your Dependents appropriate care while                  You or your Dependent is contacted by an assigned Case
lowering medical costs.                                                       Manager who explains in detail how the program works.
                                                                              Participation in the program is voluntary - no penalty or
Services Available in Conjunction With Your Medical
                                                                              benefit reduction is imposed if you do not wish to
Plan
                                                                              participate in Case Management.
The following pages describe helpful services available in
                                                                             Following an initial assessment, the Case Manager works
conjunction with your medical plan. You can access these
                                                                              with you, your family and Physician to determine the needs
services by calling the toll-free number shown on the back of
                                                                              of the patient and to identify what alternate treatment
your ID card.
                                                                              programs are available (for example, in-home medical care
                                                                              in lieu of an extended Hospital convalescence). You are not
HC-SPP63                                                      01-20           penalized if the alternate treatment program is not followed.
                                                                             The Case Manager arranges for alternate treatment services
Case Management                                                               and supplies, as needed (for example, nursing services or a
                                                                              Hospital bed and other Durable Medical Equipment for the
Case Management is a service provided through a Review                        home).
Organization, which assists individuals with treatment needs
that extend beyond the acute care setting. The goal of Case                  The Case Manager also acts as a liaison between the insurer,
Management is to ensure that patients receive appropriate care                the patient, his or her family and Physician as needed (for
in the most effective setting possible whether at home, as an                 example, by helping you to understand a complex medical
outpatient, or an inpatient in a Hospital or specialized facility.            diagnosis or treatment plan).
Should the need for Case Management arise, a Case                            Once the alternate treatment program is in place, the Case
Management professional will work closely with the patient,                   Manager continues to manage the case to ensure the
his or her family and the attending Physician to determine                    treatment program remains appropriate to the patient's
appropriate treatment options which will best meet the                        needs.
patient's needs and keep costs manageable. The Case Manager               While participation in Case Management is strictly voluntary,
will help coordinate the treatment program and arrange for                Case Management professionals can offer quality, cost-
necessary resources. Case Managers are also available to                  effective treatment alternatives, as well as provide assistance
answer questions and provide ongoing support for the family               in obtaining needed medical resources and ongoing family
in times of medical crisis.                                               support in a time of need.
Case Managers are Registered Nurses (RNs) and other
credentialed health care professionals, each trained in a
                                                                          HC-SPP2                                                         04-10
clinical specialty area such as trauma, high risk pregnancy and
                                                                                                                                            V1
neonates, oncology, mental health, rehabilitation or general
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by               Important Notices
a panel of Physician advisors who offer guidance on up-to-
                                                                          Direct Access to Obstetricians and Gynecologists
date treatment programs and medical technology. While the
Case Manager recommends alternate treatment programs and                  You do not need prior authorization from the plan or from any
helps coordinate needed resources, the patient's attending                other person (including a primary care provider) in order to
Physician remains responsible for the actual medical care.                obtain access to obstetrical or gynecological care from a health
                                                                          care professional in our network who specializes in obstetrics
   You, your dependent or an attending Physician can request
                                                                          or gynecology. The health care professional, however, may be
    Case Management services by calling the toll-free number
                                                                          required to comply with certain procedures, including
    shown on your ID card during normal business hours,


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obtaining prior authorization for certain services, following a            Cigna and its affiliates are not required to pass on to you, and
pre-approved treatment plan, or procedures for making                      do not pass on to you, such amounts.
referrals. For a list of participating health care professionals           Coupons, Incentives and Other Communications
who specialize in obstetrics or gynecology, visit
www.mycigna.com or contact customer service at the phone                   At various times, Cigna or its designee may send mailings to
number listed on the back of your ID card.                                 you or your Dependents or to your Physician that
                                                                           communicate a variety of messages, including information
Selection of a Primary Care Provider                                       about Medical Pharmaceuticals and Prescription Drug
This plan generally allows the designation of a primary care               Products. These mailings may contain coupons or offers from
provider. You have the right to designate any primary care                 pharmaceutical manufacturers that enable you or your
provider who participates in the network and who is available              Dependents, at your discretion, to purchase the described
to accept you or your family members. For information on                   Medical Pharmaceutical and Prescription Drug Product at a
how to select a primary care provider, and for a list of the               discount or to obtain it at no charge. Pharmaceutical
participating primary care providers, visit www.mycigna.com                manufacturers may pay for and/or provide the content for
or contact customer service at the phone number listed on the              these mailings. Cigna, its affiliates and the plan are not
back of your ID card.                                                      responsible in any way for any decision you make in
For children, you may designate a pediatrician as the primary              connection with any coupon, incentive, or other offer you may
care provider.                                                             receive from a pharmaceutical manufacturer or Physician.


                                                                           HC-IMP260                                                      08-19
HC-NOT5                                                        01-11



Provider Directory Notice                                                  Discrimination is Against the Law
If you would like a list of Participating Providers, just call the         Cigna complies with applicable Federal civil rights laws and
toll free number for customer service that is on your Cigna                does not discriminate on the basis of race, color, national
HealthCare ID card or visit the Cigna HealthCare Web site at               origin, age, disability or sex. Cigna does not exclude people or
www.cigna.com.                                                             treat them differently because of race, color, national origin,
                                                                           age, disability or sex.
                                                                           Cigna:
HC-NOT102                                                      12-17
                                                                              Provides free aids and services to people with disabilities to
                                                                               communicate effectively with us, such as:
Important Information
                                                                                Qualified sign language interpreters
Rebates and Other Payments
                                                                                Written information in other formats (large print, audio,
Cigna or its affiliates may receive rebates or other                             accessible electronic formats, other formats)
remuneration from pharmaceutical manufacturers in
                                                                              Provides free language services to people whose primary
connection with certain Medical Pharmaceuticals covered
                                                                               language is not English, such as
under your plan and Prescription Drug Products included on
the Prescription Drug List. These rebates or remuneration are                   Qualified interpreters
not obtained on you or your Employer’s or plan’s behalf or for                  Information written in other languages
your benefit.                                                              If you need these services, contact customer service at the toll-
Cigna, its affiliates and the plan are not obligated to pass these         free phone number shown on your ID card, and ask a
rebates on to you, or apply them to your plan’s Deductible if              Customer Service Associate for assistance.
any or take them into account in determining your                          If you believe that Cigna has failed to provide these services
Copayments and/or Coinsurance. Cigna and its affiliates or                 or discriminated in another way on the basis of race, color,
designees may also, conduct business with various                          national origin, age, disability or sex, you can file a grievance
pharmaceutical manufacturers separate and apart from this                  by sending an email to ACAGrievance@cigna.com or by
plan’s Medical Pharmaceutical and Prescription Drug Product                writing to the following address:
benefits. Such business may include, but is not limited to, data
collection, consulting, educational grants and research.                       Cigna
Amounts received from pharmaceutical manufacturers                             Nondiscrimination Complaint Coordinator
pursuant to such arrangements are not related to this plan.                    P.O. Box 188016
                                                                               Chattanooga, TN 37422



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If you need assistance filing a written grievance, please call           плане Cigna, позвоните по номеру, указанному на
the number on the back of your ID card or send an email to               обратной стороне вашей идентификационной карточки
ACAGrievance@cigna.com. You can also file a civil rights                 участника плана. Если вы не являетесь участником одного
complaint with the U.S. Department of Health and Human                   из наших планов, позвоните по номеру 1.800.244.6224
Services, Office for Civil Rights electronically through the             (TTY: 711).
Office for Civil Rights Complaint Portal, available at:
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
  U.S. Department of Health and Human Services
  200 Independence Avenue, SW
  Room 509F, HHH Building                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
  Washington, D.C. 20201                                                 disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
  1-800-368-1019, 800-537-7697 (TDD)                                     dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
Complaint forms are available at                                         (TTY: Rele 711).
http://www.hhs.gov/ocr/office/file/index.html.                           French – ATTENTION: Des services d’aide linguistique vous
                                                                         sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                     07-17       Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                         carte d’identité. Sinon, veuillez appeler le numéro
                                                                         1.800.244.6224 (ATS : composez le numéro 711).
Proficiency of Language Assistance Services
                                                                         Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
English – ATTENTION: Language assistance services, free                  assistência linguística, totalmente gratuitos. Para clientes
of charge, are available to you. For current Cigna customers,            Cigna atuais, ligue para o número que se encontra no verso do
call the number on the back of your ID card. Otherwise, call             seu cartão de identificação. Caso contrário, ligue para
1.800.244.6224 (TTY: Dial 711).                                          1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de                       Polish – UWAGA: w celu skorzystania z dostępnej,
idiomas, sin cargo, a su disposición. Si es un cliente actual de         bezpłatnej pomocy językowej, obecni klienci firmy Cigna
Cigna, llame al número que figura en el reverso de su tarjeta            mogą dzwonić pod numer podany na odwrocie karty
de identificación. Si no lo es, llame al 1.800.244.6224 (los             identyfikacyjnej. Wszystkie inne osoby prosimy o
usuarios de TTY deben llamar al 711).                                    skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。                                            Japanese –
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                          注意事項：日本語を話される場合、無料の言語支援サー
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                    ビスをご利用いただけます。現在のCignaの
Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp                 お客様は、IDカード裏面の電話番号まで、お電話にてご
về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của                   連絡ください。その他の方は、1.800.244.6224（TTY:
Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp            711）まで、お電話にてご連絡ください。
khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                         Italian – ATTENZIONE: Sono disponibili servizi di
Korean – 주의: 한국어를 사용하시는 경우, 언어 지원                                        assistenza linguistica gratuiti. Per i clienti Cigna attuali,
                                                                         chiamare il numero sul retro della tessera di identificazione.
서비스를 무료로 이용하실 수 있습니다. 현재 Cigna                                           In caso contrario, chiamare il numero 1.800.244.6224 (utenti
가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                              TTY: chiamare il numero 711).
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                       German – ACHTUNG: Die Leistungen der
                                                                         Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
(TTY: 다이얼 711)번으로 전화해주십시오.                                               Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa                      Nummer auf der Rückseite Ihrer Krankenversicherungskarte
tulong sa wika nang libre. Para sa mga kasalukuyang customer             an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O              Sie 711).
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в



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                                                                         Referral For Services by a non-participating Specialist or non-
                                                                         Physician Specialist
                                                                         You may receive a referral to a non-participating Specialist
                                                                         or non-Physician Specialist if: you are diagnosed with a
                                                                         condition or disease that requires specialized health care
                                                                         services or medical care; we do not have a participating
                                                                         Specialist or non-Physician Specialist with the professional
HC-NOT97                                                    07-17        training and expertise to treat or provide health care services
                                                                         for the condition or disease; or we cannot provide
Problems With Your Insurance? If you are having problems                 reasonable access to a Specialist or non-Physician Specialist
with your insurance company, do not hesitate to contact the              with the professional training and expertise to treat or
insurance company to resolve your problem. Please call the               provide health care services for the condition or disease
number shown on your identification card or claim form.                  without unreasonable delay or travel. Any deductible,
                                                                         copayment or coinsurance applicable to the services for
You can also contact the Maryland Insurance                              which the referral is requested will be calculated as if the
Administration and file a complaint. You can contact them in             services were received from a Participating Provider.
writing or by telephone. Please write to:
                                                                         Qualified Medical Child Support Order (QMCSO)
  Maryland Insurance Administration
  Consumer Complaints & Investigation                                    Eligibility for Coverage Under a QMCSO
  200 St. Paul Place, Suite 2700                                         If a Qualified Medical Child Support Order (QMCSO) is
  Baltimore, MD 21202                                                    issued for your child, that child will be eligible for coverage as
or you can call 1-800-492-6116, or 410-468-2244 (Fax: 410-               required by the order and you will not be considered a Late
468-2260).                                                               Entrant for Dependent Insurance.
For plans with Participating Providers: To receive a directory           You, your child’s non-insuring parent, a state child support
of Participating Providers you may call the number on your               enforcement agency or the Maryland Department of Health
Benefit Identification card or visit the web site at                     and Mental Hygiene must notify your Employer and elect
www.cigna.com.                                                           coverage for that child. If you yourself are not already
                                                                         enrolled, you must elect coverage for both yourself and your
Important Information About Your Pharmacy Benefits                       child. We will enroll both you and your child within 20
Plan                                                                     business days of our receipt of the QMCSO from your
Generally, all non-Emergency Services care must be                       Employer.
provided by a Participating Pharmacy to be covered.                      Eligibility for coverage will not be denied on the grounds that
Emergency Services and care received in connection with                  the child: was born out of wedlock; is not claimed as a
an unforeseen illness, injury, or a condition requiring                  Dependent on the Employee’s federal income tax return; does
immediate care will always be covered as if received from                not reside with the Employee or within the plan’s service area;
a Participating Pharmacy, even if such care was received                 or is receiving, or is eligible to receive, benefits under the
from a non-participating Pharmacy.                                       Maryland Medical Assistance Program.
Standing Referral for Services by a Participating Specialist             Qualified Medical Child Support Order Defined
You may receive a standing referral, to a participating                  A Qualified Medical Child Support Order is a judgment,
Specialist, if: your Primary Care Physician determines, with             decree or order (including approval of a settlement agreement)
the Specialist, that you need continuing care from the                   or administrative notice, which is issued pursuant to a state
Specialist, you have a condition or disease that is life                 domestic relations law (including a community property law),
threatening, degenerative, chronic or disabling, and requires            or to an administrative process, which provides for child
specialized medical care, and the Specialist has expertise in            support or provides for health benefit coverage to such child
the treating such disease or condition.                                  and relates to benefits under the group health plan, and
A standing referral will be made in accordance with a written            satisfies all of the following:
treatment plan for a covered service developed by your                      the order recognizes or creates a child’s right to receive
Primary Care Physician, the Specialist and you.                              group health benefits for which a participant or beneficiary
                                                                             is eligible;
                                                                            the order specifies your name and last known address, and
                                                                             the child’s name and last known address, except that the



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    name and address of an official of a state or political               receive new approval from us to proceed with the surgery or to
    subdivision may be substituted for the child’s mailing                continue receiving the same services. Also, if you are seeing a
    address;                                                              doctor or other health care provider who is an in-network
   the order provides a description of the coverage to be                provider with your old company, and that provider is not an
    provided, or the manner in which the type of coverage is to           in- network provider under your new plan, you may continue
    be determined;                                                        to see your provider for a limited period of time as though the
                                                                          provider were an in-network provider with us.
   the order states the period to which it applies; and
                                                                          The rules on how you can qualify for these special rights are
   if the order is a National Medical Support Notice completed           described below.
    in accordance with the Child Support Performance and
    Incentive Act of 1998, such Notice meets the requirements             Prior approval for health care or dental services. If you
    above.                                                                previously were covered under another company’s plan, a
                                                                          prior approval (also called “preauthorization”) for services that
The QMCSO may not require the health insurance policy to                  you received under your old plan may be used to satisfy a
provide coverage for any type or form of benefit or option not            prior approval requirement for those services if they are
otherwise provided under the policy, except that an order may             covered under your new plan with us. To be able to use the
require a plan to comply with State laws regarding health care            old prior approval under this new contract, you will need
coverage.                                                                 to contact us at the phone number on the back of your ID
Claims                                                                    card to let us know that you have a prior approval for the
Claims will be accepted from the non-insuring parent, from                services and provide us with a copy of the prior approval.
the child’s health care provider or from the state child support          Your parent, guardian, designee, or health care provider may
enforcement agency. Payment will be directed to whoever                   also contact us on your behalf about the prior approval.
submits the claim.                                                        There is a time limit for how long you can rely on the prior
Payment of Benefits                                                       approval. For all conditions other than pregnancy, the time
                                                                          limit is 90 days or until the course of treatment is completed,
Any payment of benefits in reimbursement for Covered
                                                                          whichever is sooner. The 90-day limit is measured from the
Expenses paid by the child, or the child’s custodial parent or
                                                                          date your coverage starts under the new plan. For pregnancy,
legal guardian, shall be made to the child, the child’s custodial
                                                                          the time limit lasts through the pregnancy and the first visit to
parent or legal guardian, or a state official whose name and
                                                                          a health care practitioner after the baby is born.
address have been substituted for the name and address of the
child.                                                                    If you do not have a copy of the prior approval, contact your
                                                                          old company and request a copy. Under Maryland law, your
Termination of Coverage Under a QMCSO                                     old company must provide a copy of the prior approval within
Coverage required by a QMCSO will continue until we                       10 days of your request.
receive written evidence that: the order is no longer in effect;
                                                                          Right to use non-network providers. If you have been
the child is or will be enrolled under a comparable health plan
                                                                          receiving services from a health care provider who was an in-
which takes effect not later than the effective date of                   network provider with your old company, and that provider is
disenrollment; Dependent coverage has been eliminated for all             a non- network provider under your new health plan with us,
Employees; or you are no longer employed by the Employer,
                                                                          you may be able to continue to see your provider as though the
except that if you elect to exercise the provisions of the federal
                                                                          provider were an in-network provider. You or someone acting
Consolidated Omnibus Budget Reconciliation Act of 1985
                                                                          on your behalf must contact us at the phone number on the
(COBRA), coverage will be provided for the child consistent
                                                                          back of your ID to request the right to continue to see the non-
with the Employer’s plan for postemployment health                        network provider as if the provider were an in-network
insurance coverage for Dependents.                                        provider with us.
Continuity of Health Care Notice                                          This right applies only if you are being treated by the non-
If you are a new enrollee, please read the following:                     network provider for covered services for one or more of the
You are receiving this notice because you are a new enrollee              following types of conditions:
and may be moving from Maryland Medical Assistance or                        Acute conditions (including acute dental conditions);
another company’s health benefit plan to a Cigna health                      Serious chronic conditions (including serious chronic dental
benefit plan. If you currently are receiving treatment, you have
                                                                              conditions);
special rights in Maryland.
                                                                             Pregnancy;
For example, if your old company gave you pre-approval to
have surgery or to receive other services, you may not need to               Mental health conditions;



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   Substance use disorders; or                                          If you have any questions about this notice, please contact us
   Any other condition upon which we and the out-of-network             at the phone number on the back of your ID.
    provider agree.
Examples of the conditions listed above include bone                     HC-IMP215                                                    01-16
fractures, joint replacements, heart attacks, cancer, HIV/AIDS
and organ transplants.
There is a time limit for how long you can continue to see a             How To File Your Claim
non-network provider and only need to pay cost-sharing as
though the provider were an in-network provider. For all                 If your plan provides coverage when care is received only
conditions other than pregnancy, the time limit is 90 days or            from In-Network providers, you may still have Out-of-
until the course of treatment is completed, whichever is                 Network claims (for example, when Emergency Services are
sooner. The 90-day limit is measured from the date your                  received from an Out-of-Network provider) and should follow
coverage starts under the new plan. For pregnancy, the time              the claim submission instructions for those claims. Claims can
limit lasts through the pregnancy and the first visit to a health        be submitted by the provider if the provider is able and willing
care practitioner after the baby is born.                                to file on your behalf. If the provider is not submitting on your
                                                                         behalf, you must send your completed claim form and
Example of how the right to use non-network providers                    itemized bills by mail or fax to the claims address or fax
works:                                                                   number listed on the claim form.
You broke your arm while covered under Company A’s health                You may get the required claim forms from the website listed
plan and saw a Company A network doctor to set your arm.                 on your identification card or by calling Member Services
You changed health plans and are now covered under                       using the toll-free number on your identification card. If Cigna
Company B’s plan. Your doctor is not a network provider with             does not provide you claim forms within 15 days after your
Company B. You now need to have the cast removed and                     notice of claim is received, you are considered to have
want to see the original doctor who put on the cast.                     complied with the requirements of the policy, as to proof of
In this example, you or your representative needs to contact             loss, if you submit – within the time period described in the
Company B so that Company B can pay your claim as if you                 “Timely Filing of Claims” provision below – written proof of
are still receiving care from a network doctor. If the non-              the occurrence, character and extent of the loss for which the
network doctor accepts Company B’s rate of payment, the                  claim is made.
doctor is only permitted to bill you for the in-network cost-            CLAIM REMINDERS
sharing amounts that apply to the service, such as copayments,
coinsurance and deductible. In this example, if the non-                  BE SURE TO USE YOUR MEMBER ID AND
network doctor will not accept Company B’s rate of payment,                ACCOUNT/GROUP NUMBER WHEN YOU FILE
the doctor may decide not to provide services to you, or may               CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
continue to provide services to you and bill you not only for              YOUR CIGNA CLAIM OFFICE.
any copayment, coinsurance or deductible that applies, but                   YOUR MEMBER ID IS THE ID SHOWN ON YOUR
also bill you for the difference between the doctor’s fee and                BENEFIT IDENTIFICATION CARD.
the allowable charge determined by Company B.                                YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
Appeal Rights: If we deny your right to use a prior approval                 YOUR BENEFIT IDENTIFICATION CARD.
from your old company or your right to continue to see a                    BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
provider who was an in-network provider with your old                        ON THE BACK OF THE CLAIM FORM CAREFULLY
company, you may appeal this denial by contacting us at:                     WHEN SUBMITTING A CLAIM TO CIGNA.
    Cigna                                                                Timely Filing of Out-of-Network Claims
    National Appeals Organization (NAO)
    PO Box 188011                                                        Cigna will consider claims for coverage under our plans when
    Chattanooga, TN 37422                                                proof of loss (a claim) is submitted within 365 days for Out-
                                                                         of-Network benefits after services are rendered. If services are
If we deny your appeal, you may file a complaint with the                rendered on consecutive days, such as for a Hospital
Maryland Insurance Administration. To receive a complaint                Confinement, the limit will be counted from the last date of
form from the Maryland Insurance Administration call 1-800-              service.
492-6116, select option 3, then option 2 or download a
complaint form from the Maryland Insurance Administration’s              Failure to submit a claim for Out-of-Network benefits after the
website at www.mdinsurance.state.md.us.                                  date of service does not invalidate or reduce the amount of the
                                                                         claim if it was not reasonably possible to submit the claim


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within 1 year after the date of service; and the claim is                     the day you acquire your first Dependent.
submitted within 2 years after the date of service. If the
claimant is legally incapacitated, the deadline to submit a                Waiting Period
claim is suspended until legal capacity is regained.
                                                                           The first day of the month following 30 days from date of hire.
Statements Not Warranties
                                                                           Classes of Eligible Employees
All statements made by you will, in the absence of fraud, be
                                                                           Each Employee as reported to the insurance company by your
deemed representations and not warranties. No statement
                                                                           Employer.
made by you to obtain insurance will be used to avoid the
insurance or reduce benefits under the policy after your                   Effective Date of Employee Insurance
insurance has been in force for a period of two years during               You will become insured on the date you elect the insurance
your lifetime. Additionally, no such statement will be used to             by signing an approved payroll deduction or enrollment form,
avoid the insurance or reduce benefits under the policy unless             as applicable, but no earlier than the date you become eligible.
the statement was material to the risk assumed, and unless the
                                                                           You will become insured on your first day of eligibility,
statement was made in writing and signed by you, and unless a
                                                                           following your election, if you are in Active Service on that
copy of it is sent to you or your Beneficiary.
                                                                           date, or if you are not in Active Service on that date due to
WARNING: ANY PERSON WHO KNOWINGLY OR                                       your health status.
WILLFULLY PRESENTS A FALSE OR FRAUDULENT
                                                                           Late Entrant - Employee
CLAIM FOR PAYMENT OF A LOSS OR BENEFIT OR
WHO KNOWINGLY OR WILLFULLY PRESENTS                                        You are a Late Entrant if:
FALSE INFORMATION IN AN APPLICATION FOR                                       you elect the insurance more than 30 days after you become
INSURANCE IS GUILTY OF A CRIME AND MAY BE                                      eligible; or
SUBJECT TO FINES AND CONFINEMENT IN                                           you again elect it after you cancel your payroll deduction (if
PRISON.                                                                        required).

HC-CLM121                                                     12-17        Dependent Insurance
                                                                           For your Dependents to be insured, you will have to pay the
                                                                           required contribution, if any, toward the cost of Dependent
Eligibility - Effective Date                                               Insurance.
                                                                           Effective Date of Dependent Insurance
Employee Insurance                                                         If insurance coverage of your Dependent is court-ordered, and
This plan is offered to you as an Employee.                                you are enrolled, but do not elect coverage for your
                                                                           Dependent, the non-insured parent, child support enforcement
Eligibility for Employee Insurance
                                                                           agency, or Department of Health and Mental Hygiene may
You will become eligible for insurance on the day you                      apply for enrollment of your Dependent.
complete the waiting period if:
                                                                           Your Dependents will be insured only if you are insured. If
   you are an eligible, full-time Employee; and                           insurance coverage of your Dependent is court-ordered, and
   you normally work at least 30 hours a week; and                        you are not enrolled, Cigna will enroll both you and your
                                                                           child.
   you pay any required contribution.
                                                                           Late Entrant – Dependent
If you were previously insured and your insurance ceased, you
must satisfy the Waiting Period to become insured again. If                You are a Late Entrant for Dependent Insurance if:
your insurance ceased because you were no longer employed                     you elect that insurance more than 30 days after you
in a Class of Eligible Employees, you are not required to                      become eligible for it; or
satisfy any waiting period if you again become a member of a
                                                                              you again elect it after you cancel your payroll deduction (if
Class of Eligible Employees within one year after your
                                                                               required).
insurance ceased.
                                                                           Exception for Certain Dependent Children
Eligibility for Dependent Insurance
                                                                           Any Dependent child:
You will become eligible for Dependent Insurance on the later
of:                                                                           born; or
   the day you become eligible for yourself; or                              newly adopted; or


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   newly granted to your guardianship by a court or                          was received from a non-Participating Provider. Please
    testamentary appointment while you are insured will                       see the “Standing Referral for Services by a
    become insured on such date of birth, adoption, or                        participating Specialist” provision and the “Referral for
    appointment, as applicable.                                               Services by a non-participating Specialist or non-
If a premium contribution is required for you to add such child               Physician Specialist” provision at the end of this
to your Dependent Insurance, you must elect to insure the                     Important Information section for further details that
child within 31 days after the date of the birth, adoption or                 apply to this Medical Benefits plan.)
appointment as applicable, in order to continue the child’s                   or
coverage after the end of that 31-day period. If your                      another plan offering that provides coverage for benefits
Dependent Insurance for the child ends at the end of that 31-               received from either In-Network or Out-of-Network
day period, no benefits for expenses incurred after the 31st day            providers or provides benefits without regard to
will be payable.                                                            whether the provider participates in the provider
Any Dependent child(ren) who were covered as dependents                     network.
under your spouse’s group health insurance certificate, on the            Details of the medical benefits under the Open Access Plus In-
date of your spouse’s death, may be added as Dependents to                Network Medical Benefits option you elected are described in
your Medical Insurance under this plan at any time and                    the following pages.
without evidence of good health. To do so, you must elect the
Dependent Insurance within 6 months after the date of your                When electing an option initially or when changing options as
spouse’s death.                                                           described below, the following rules apply:
This provision applies regardless of whether the Dependent                   You and your Dependents may enroll for only one
child(ren) are eligible for any continuation or conversion                    option.
privileges under the spouse’s group health insurance                         Your Dependents will be insured only if you are insured
certificate.                                                                  and only for the same option.
Exception for Certain Spouses and Children                                Changing Options
If you are married, and your spouse and/or children are                   Change In Option Elected:
covered under the spouse’s group health insurance certificate             You may elect to change options for yourself and your
on the date the spouse loses coverage under that certificate              Dependents during any Open Enrollment Period.
because of the involuntary termination of the spouse’s
employment other than for cause, then you may add your                    In addition, if you and your Dependents are insured under the
spouse and/or children to your Medical Insurance under this               option described in the following pages, you may elect to
                                                                          transfer to one of the other available plan options at any time
plan without evidence of good health. To do so, you must
                                                                          if: you relocate outside the Provider Organization's service
notify the Policyholder and elect the Dependent Insurance
                                                                          area, or you are deemed to be terminated for cause under the
within 6 months after the date on which the spouse’s prior
                                                                          option described in the following pages as determined by the
group health insurance coverage terminates.
                                                                          Provider Organization.
                                                                          Effective Date of Change In Option:
HC-ELG257                                                    01-19
                                                                          You are required to complete a new enrollment form for the
                                                                          option you elect. If you have done so, the effective date for the
                                                                          change in option is as follows:
Important Information About Your                                          If you are changing options during an Open Enrollment
Medical Plan                                                              Period, you and your Dependents will become insured for the
                                                                          option elected on the first day of the month after the end of
When you elected Medical Insurance for yourself and your
                                                                          that Open Enrollment Period.
Dependents, you elected one of the coverage options available
under this Plan:                                                          If you are transferring from the option described in the
                                                                          following pages to another available plan offering due to
   Open Access Plus In-Network Medical Benefits
                                                                          relocation or termination for cause, you and your Dependents
    (Generally, all non-Emergency Services care must be
                                                                          will become insured for the other available plan offering on
    provided by a Participating Provider to be covered.
                                                                          the date you relocate or are terminated.
    Emergency Services and care received in connection
    with an unforeseen illness, injury, or a condition                    However, if you are not in Active Service due to a reason
    requiring immediate care will always be covered as if                 other than your health condition on the date you and your
    received from a Participating Provider, even if such care             Dependents would otherwise become insured for the option


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elected, the insurance under that option will become effective        Referral For Services by a non-participating Specialist or
on the date you return to Active Service. (This provision will        non-Physician Specialist
not apply in the case of a transfer due to termination for            You may receive a referral to a non-participating Specialist or
cause.)                                                               non-Physician Specialist if: you are diagnosed with a
You and your Dependents' insurance under the prior option             condition or disease that requires specialized health care
will terminate on the same date that the insurance under the          services or medical care; we do not have a participating
option elected is effective.                                          Specialist or non-Physician Specialist with the professional
Open Enrollment Period                                                training and expertise to treat or provide health care services
                                                                      for the condition or disease; or we cannot provide reasonable
Open Enrollment Period means the period in each calendar              access to a Specialist or non-Physician Specialist with the
year as determined by your Employer.                                  professional training and expertise to treat or provide health
Opportunity to Select a Primary Care Physician                        care services for the condition or disease without unreasonable
Choice of Primary Care Physician:                                     delay or travel. Any deductible, copayment or coinsurance
                                                                      applicable to the services for which the referral is requested
This medical plan does not require that you select a Primary
                                                                      will be calculated as if the services were received from a
Care Physician or obtain a referral from a Primary Care
                                                                      Participating Provider.
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health          HC-IMP7                                                    04-10
care needs by providing or arranging for medical care for you                                                                      V2
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician, if you choose.
Standing Referral for Services by a participating Specialist
You may receive a standing referral, to a participating
Specialist, if: your Primary Care Physician determines, with
the Specialist, that you need continuing care from the
Specialist; you have a condition or disease that is life
threatening, degenerative, chronic or disabling, and requires
specialized medical care; and the Specialist has expertise in
the treating such disease or condition.
A standing referral will be made in accordance with a written
treatment plan for a covered service developed by your
Primary Care Physician, the Specialist and you.




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
For You and Your Dependents

Open Access Plus In-Network Medical Benefits provide coverage for care In-Network. To receive Open Access Plus In-
Network Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for
services and supplies. That portion is the Copayment, Deductible or Coinsurance.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.

However for the purposes of this Schedule, the percentage an insured person is required to pay equals the difference
between 100% and the percentage that is paid by Cigna as shown in the following Benefit Highlights pages.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any. However for the purposes of this Schedule, the percentage an insured person is
required to pay equals the difference between 100% and the percentage that is paid by Cigna as shown in the following
Benefit Highlights pages.

Copayments/Deductibles
Copayments are expenses to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses
that must be incurred by you or your Dependents before becoming eligible for benefits that are payable under this plan.
Deductible amounts are separate from and not reduced by Copayments. Copayments and Deductibles are in addition to
any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you and your family need not satisfy
any further medical deductible for the rest of that year.
Out-of-Pocket Expenses
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.




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                          Open Access Plus In-Network Medical Benefits
                                                   The Schedule
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.

Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.


Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-participating
(Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
Out-of-Network Hospital or other facility as required by Maryland law, or by an Out-of-Network provider in an In-
Network Hospital, is the amount agreed to by the Out-of-Network provider and Cigna, or if no amount is agreed to, the
greatest of the following, not to exceed the provider's billed charges: (i) the median amount negotiated with In-Network
providers for the Emergency Service, excluding any In-Network copay or coinsurance; or (ii) the amount payable under
the Medicare program for certain facilities located in Maryland, the allowable amount may be determined by the Maryland
Health Services Cost Review Commission (HSCRC).
For covered services rendered by an Out-of-Network on-call or Hospital-based Physician who is licensed in Maryland, the
allowable amount may be determined as indicated in General Reimbursement Information within the Maximum
Reimbursable Charge definition.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is also responsible for all charges that may be made in excess of the allowable amount, except as indicated in
General Reimbursement Information within the Maximum Reimbursable Charge definition.
If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on the Explanation of
Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.



                                                                                 IN-NETWORK
              BENEFIT HIGHLIGHTS

Lifetime Maximum                                          Unlimited
The Percentage of Covered Expenses the Plan Pays          80%
  Note:
  "No charge" means an insured person is not
  required to pay Coinsurance.




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              BENEFIT HIGHLIGHTS

Calendar Year Deductible
  Individual                                             $750 per person
  Family Maximum                                         $1,500 per family

  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their individual
  deductible and then their claims will be covered
  under the plan coinsurance; if the family deductible
  has been met prior to their individual deductible
  being met, their claims will be paid at the plan
  coinsurance.
Out-of-Pocket Maximum
  Individual                                             $5,000 per person
  Family Maximum                                         $10,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their individual Out-of-
  Pocket and then their claims will be covered at
  100%; if the family Out-of-Pocket has been met
  prior to their individual Out-of-Pocket being met,
  their claims will be paid at 100%.
Combined Medical/Pharmacy Out-of-Pocket
Maximum
  Combined Medical/Pharmacy Out-of-Pocket:               Yes
  includes retail and home delivery drugs
  Home Delivery Pharmacy Costs Contribute to the         Yes
  Combined Medical/Pharmacy Out-of-Pocket
  Maximum
Physician’s Services
  Primary Care Physician’s Office Visit                  No charge after $40 per office visit copay

  Specialty Care Physician’s Office Visits               No charge after $45 per office visit copay
  Consultant and Referral Physician’s Services
  Surgery Performed in the Physician’s Office            No charge after the $40 PCP or $45 Specialist per office visit
                                                         copay
  Second Opinion Consultations (provided on a            No charge after the $40 PCP or $45 Specialist per office visit
  voluntary basis)                                       copay
  Allergy Treatment/Injections                           No charge after the $5 per office visit copay or the actual
                                                         charge, whichever is less
  Allergy Serum (dispensed by the Physician in the       No charge
  office)




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                                                                                IN-NETWORK
               BENEFIT HIGHLIGHTS

Virtual Care
  Dedicated Virtual Providers
  Services available through contracted virtual
  providers as medically appropriate.

  Virtual Care Services for minor medical conditions     No charge after the $40 PCP per office visit copay
  Virtual Wellness Screenings                            No charge

  Virtual Physician Services
  Services available through Physicians as medically
  appropriate.
  Note:
  Preventive services covered at the preventive level.
  Physician’s Office Visit                               No charge after the $40 PCP or $45 Specialist per office visit
                                                         copay
  .
Preventive Care
  Routine Preventive Care - all ages                     No charge
  Immunizations - all ages                               No charge
  .




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               BENEFIT HIGHLIGHTS

Mammograms
Preventive Care Related Services (i.e. “routine”         No charge
services)

Diagnostic Related Services (i.e. “non-routine”          Subject to the plan’s x-ray benefit & lab benefit; based on place
services)                                                of service
.
PSA, PAP Smear and Mandated Screening Tests
Screenings include:
     Prostate Cancer including a digital rectal exam
      and PSA
     Colorectal Cancer
     Breast Cancer
     Osteoporosis prevention and treatment including
      bone mass measurement
     Chlamydia and Human Papillomavirus (HPV)

Preventive Care Related Services (i.e. “routine”         No charge
services)

Diagnostic Related Services (i.e. “non-routine”          80% after plan deductible
services)
.
Inpatient Hospital - Facility Services                   $500 per admission copay, then 80% after plan deductible

  Semi-Private Room and Board                            Limited to the semi-private negotiated rate
  Private Room                                           Limited to the semi-private negotiated rate
  Special Care Units (ICU/CCU)                           Limited to the negotiated rate
Outpatient Facility Services                             $100 per visit copay, then 80% after plan deductible

  Operating Room, Recovery Room, Procedures
  Room, Treatment Room and Observation Room and
  when provided instead of an inpatient service, when
  an attending physician’s request for an inpatient
  admission has been denied.

Note:
Non-surgical treatment procedures are not subject to
the facility copay/deductible.

Inpatient Hospital Physician’s Visits/Consultations      80% after plan deductible




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                                                                               IN-NETWORK
              BENEFIT HIGHLIGHTS

Inpatient Hospital Professional Services                80% after plan deductible


  Surgeon

  Radiologist
  Pathologist
  Anesthesiologist

Outpatient Professional Services                        80% after plan deductible


  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Urgent Care Services
  Physician’s Office Visit                              No charge after the $40 PCP or $45 Specialist per office visit
                                                        copay
  Urgent Care Facility or Outpatient Facility           No charge after $50 per visit copay*

                                                        *waived if admitted
  Outpatient Professional Services (radiology,          No charge
  pathology, physician)

  X-ray and/or Lab performed at the Urgent Care         No charge
  Facility (billed by the facility as part of the UC
  visit)

  Advanced Radiological Imaging (i.e. MRIs, MRAs,       No charge
  CAT Scans, PET Scans etc.)




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                                                                                IN-NETWORK
              BENEFIT HIGHLIGHTS

Emergency Services
  Physician’s Office Visit                               No charge after the $40 PCP or $45 Specialist per office visit
                                                         copay
  Hospital Emergency Room                                No charge after $250 per visit copay* and plan deductible
                                                         *waived if admitted
  Outpatient Professional Services (radiology,           No charge after plan deductible
  pathology, ER physician)

  X-ray and/or Lab performed at the Emergency            No charge after plan deductible
  Room Facility (billed by the facility as part of the
  ER visit)



  Advanced Radiological Imaging (i.e. MRIs, MRAs,        No charge after plan deductible
  CAT Scans, PET Scans etc.)


Ambulance                                                80% after plan deductible


Inpatient Services at Other Health Care Facilities       80% after plan deductible

  Includes Skilled Nursing Facility, Rehabilitation
  Hospital and Sub-Acute Facilities
  Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services (includes pre-
admission testing)
  Physician’s Office Visit                               No charge after the $40 PCP or $45 Specialist per office visit
                                                         copay
  Outpatient Hospital Facility                           80% after plan deductible

  Independent X-ray and/or Lab Facility                  80% after plan deductible

Advanced Radiological Imaging (i.e. MRIs, MRAs,
CAT Scans and PET Scans)
  Physician’s Office Visit                               No charge

  Inpatient Facility                                     $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                    80% after plan deductible




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               BENEFIT HIGHLIGHTS

Outpatient Therapy Services and Chiropractic               No charge after the $40 PCP or $45 Specialist per office visit
Services                                                   copay

  Calendar Year Maximum:                                   Note:
  Unlimited                                                Outpatient Therapy Services copay applies, regardless of place
                                                           of service, including the home.

  Includes:
  Cardiac Rehab
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Chiropractic Therapy (includes Chiropractors)
.
Habilitative Services and Devices

Habilitative Services and Devices for Dependent children under 19 who need to keep, learn or improve skills and enhance
functioning for daily living, until the end of the month in which the child turns age 19.

Calendar Year Maximum:
Unlimited

Home Health Care Services
  Calendar Year Maximum:                                   80% after plan deductible
  40 visits (includes outpatient private nursing when
  approved as Medically Necessary)

  .
Home Visits - Mastectomy or Surgical Removal of a Testicle
Calendar Year Maximum:
One visit within 24 hours after discharge from the Hospital or outpatient health facility; one additional visit when
approved by the attending Physician for an outpatient procedure or for an inpatient stay of less than 48 hours.
Hospice
  Inpatient Services                                       80% after plan deductible
  Outpatient Services (same coinsurance level as           80% after plan deductible
  Home Health Care Services)

Bereavement Counseling
Services Provided as part of Hospice Care
  Inpatient                                                80% after plan deductible
  Outpatient                                               80% after plan deductible
  Services
  .        Provided by Mental Health Professional          Covered under Mental Health benefit




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                                                                                  IN-NETWORK
               BENEFIT HIGHLIGHTS

Gene Therapy
Includes prior authorized gene therapy products and
services directly related to their administration, when
Medically Necessary.

Gene therapy must be received at an In-Network
facility specifically contracted with Cigna to provide
the specific gene therapy. Gene therapy at other In-
Network facilities is not covered.

Gene Therapy Product                                       Subject to In-Network facility cost share based on place of
                                                           service; separate from facility charges
Inpatient Facility                                         $500 per admission copay, then 80% after plan deductible

Outpatient Facility                                        $100 per visit copay, then 80% after plan deductible

Physician’s Services                                       80% after plan deductible

Travel Maximum:                                            No charge (available only for travel when prior authorized to
$10,000 per episode of gene therapy                        receive gene therapy at a participating In-Network facility
                                                           specifically contracted with Cigna to provide the specific gene
                                                           therapy)
 .
Maternity Care Services
  Initial Visit to Confirm Pregnancy                       No charge after the $40 PCP or $45 Specialist per office visit
                                                           copay
  All subsequent Prenatal Visits, Postnatal Visits and     No charge
  Physician’s Delivery Charges (i.e. global maternity
  fee)
  Physician’s Office Visits in addition to the global      No charge after the $40 PCP or $45 Specialist per office visit
  maternity fee when performed by an OB/GYN or             copay
  Specialist
  Delivery - Facility                                      $500 per admission copay, then 80% after plan deductible
  (Inpatient Hospital, Birthing Center)

  Note:
  Benefit levels will be the same as the benefit levels
  for Inpatient Hospital Facility Services for any other
  covered Sickness.
  Home Visits, as required by law and as                   No charge
  recommended by the Physician




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              BENEFIT HIGHLIGHTS

Abortion

Includes elective and non-elective procedures
  Physician’s Office Visit                               No charge after the $40 PCP or $45 Specialist per office visit
                                                         copay
  Inpatient Facility                                     $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                    $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                   80% after plan deductible

Women’s Family Planning Services
  Office Visits, Lab and Radiology Tests and             No charge
  Counseling
  Note:
  The standard benefit will include coverage for
  Women’s contraceptive devices (e.g. Depo-Provera
  and Intrauterine Devices (IUDs).
  Coverage includes the insertion or removal, and any
  medically necessary examination associated with
  the use, of such contraceptive drug or device.
  Diaphragms will also be covered when services are
  provided in the physician's office.
  Surgical Sterilization Procedures for Tubal Ligation
  (excludes reversals)
      Physician’s Office Visit                           No charge
      Inpatient Facility                                 No charge
      Outpatient Facility                                No charge
      Physician’s Services                               No charge
Men’s Family Planning Services
  Office Visits, Lab and Radiology Tests and             No charge after the $40 PCP or $45 Specialist per office visit
  Counseling                                             copay
  Surgical Sterilization Procedures for Vasectomy
  (excludes reversals)
      Physician’s Office Visit                           No charge
      Inpatient Facility                                 No charge
      Outpatient Facility                                No charge
      Physician’s Services                               No charge




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               BENEFIT HIGHLIGHTS

Infertility Services
Coverage will be provided for the following services:
     Testing and treatment services performed in connection with an underlying medical condition.
     Testing performed specifically to determine the cause of infertility.
     Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
      condition).
     Artificial Insemination, In-vitro, GIFT, ZIFT, etc.

Outpatient in-vitro fertilization benefit levels will be the same as the benefit levels for any other pregnancy-related
procedures.

Services Not Covered: Refer to the Covered Expenses, Infertility Services provision of your certificate.
Note:
For services other than Outpatient in-vitro fertilization services, benefit levels will be the same as for any other covered
Sickness.
.
  Physician’s Office Visit (Lab and Radiology Tests,          No charge after the $40 PCP or $45 Specialist per office visit
  Counseling)                                                 copay

  Inpatient Facility                                         $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                        $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                       80% after plan deductible
  .
Fertility Awareness-Based Methods Instruction                No charge

Organ Transplants
Includes all medically appropriate, non-experimental
transplants
  Physician’s Office Visit                                   No charge after the $40 PCP or $45 Specialist per office visit
                                                             copay
  Inpatient Facility                                         100% at LifeSOURCE center after $500 per admission copay,
                                                             otherwise 80% after $500 per admission copay and plan
                                                             deductible
  Physician’s Services                                       100% at LifeSOURCE center, otherwise 80% after plan
                                                             deductible
  .
Durable Medical Equipment                                    80% after plan deductible
  Calendar Year Maximum:
  Unlimited
.




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                                                                                   IN-NETWORK
              BENEFIT HIGHLIGHTS

External Prosthetic Appliances                              80% after plan deductible
  Calendar Year Maximum:
  Unlimited
  Note:
  For EPAs meant to replace, in whole or in part, an
  arm, a leg or an eye: benefit levels will be the same
  as the benefit levels for primary care benefits
  covered under the policy.
.
Diabetic Equipment                                          80% after plan deductible
  Calendar Year Maximum:
  Unlimited


Wigs                                                        No charge
Coverage provided for hair loss as a result of
medically necessary treatment, such as radiation
therapy for cancer.
Maximum: 1 wig
Hearing Aid Maximum
One hearing aid for each hearing impaired ear every 36 months for a dependent child age18 or younger.
.
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3 visit limit will not
  apply to treatment of diabetes and/or to mental
  health and substance use disorder conditions.

  Physician’s Office Visit                                  No charge after the $40 PCP or $45 Specialist per office visit
                                                            copay
  Inpatient Facility                                        $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                       $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                      80% after plan deductible




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                                                                                   IN-NETWORK
               BENEFIT HIGHLIGHTS

Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic Counseling for both
  pre- and post-genetic testing; however, the 3 visit
  limit will not apply to Mental Health and Substance
  Use Disorder conditions.
  Physician’s Office Visit                                  No charge after the $40 PCP or $45 Specialist per office visit
                                                            copay
  Inpatient Facility                                        $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                       $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                      80% after plan deductible

Dental Care
Limited to charges made for a continuous course of
dental treatment started within six months of an injury
to teeth.

  Physician’s Office Visit                                  No charge after the $40 PCP or $45 Specialist per office visit
                                                            copay
  Inpatient Facility                                        $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                       $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                      80% after plan deductible

TMJ Surgical and Non-surgical
Always excludes appliances and orthodontic
treatment.
Note:
Benefit levels will be the same as the benefit levels for
any other covered condition, based on the type and
location of service provided.
  Physician’s Office Visit                                  No charge after the $40 PCP or $45 Specialist per office visit
                                                            copay
  Inpatient Facility                                        $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                       $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                      80% after plan deductible




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                                                                                   IN-NETWORK
                BENEFIT HIGHLIGHTS

Routine Foot Disorders                                      Not covered except for services associated with foot care for
                                                            diabetes, peripheral neuropathies and peripheral vascular
                                                            disease when Medically Necessary.

Additional Benefits and Provisions
Calendar Year Maximum:
Unlimited
Includes:
 Treatment of Morbid Obesity.
 Cleft Lip/Cleft Palate Services.
 Breast Reconstruction Surgery, including physical complications of all stages of mastectomy, including lymphedemas
  in a manner determined in consultation with the attending Physician and the patient.
 Breast Prostheses.
 Blood Products.
 Medical Foods and Low Protein Food Products.
 Amino Acid-Based Elemental Formula.
 Diabetes Equipment, Supplies and Training.
 Clinical Trials.
 Dental Care (Anesthesia and Facility Charges).
 Telehealth.
Note:
Benefit levels for these additional benefits are subject to the same cost-sharing requirements as for any other similar
covered service, depending on the type and place of the service provided.
  Physician’s Office Visit                                  No charge after the $40 PCP or $45 Specialist per office visit
                                                            copay

  Inpatient Facility                                        $500 per admission copay, then 80% after plan deductible

  Outpatient Facility                                       $100 per visit copay, then 80% after plan deductible

  Physician’s Services                                      80% after plan deductible

Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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                                                                            IN-NETWORK
               BENEFIT HIGHLIGHTS

Mental Health
 Inpatient                                            $500 per admission copay, then 80% after plan deductible
 Includes Acute Inpatient and Residential Crisis
 Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                          $40 per visit copay

  Includes individual, family and group
  psychotherapy; medication management, virtual
  care, etc.

  Calendar Year Maximum:
  Unlimited


  Outpatient - All Other Services                     80% after plan deductible

  Includes Partial Hospitalization, Intensive
  Outpatient Services, Applied Behavioral Analysis,
  virtual care, etc.

  Calendar Year Maximum:
  Unlimited

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                                                                            IN-NETWORK
               BENEFIT HIGHLIGHTS

Substance Use Disorder
  Inpatient                                           $500 per admission copay, then 80% after plan deductible
  Includes Acute Inpatient Detoxification, Acute
  Inpatient Rehabilitation and Residential Crisis
  Treatment

  Calendar Year Maximum:
  Unlimited
  Outpatient
  Outpatient - Office Visits                          $40 per visit copay

  Includes individual, family and group
  psychotherapy; medication management, virtual
  care, etc.

  Calendar Year Maximum:
  Unlimited

  Outpatient - All Other Services                     80% after plan deductible

  Includes Partial Hospitalization, Intensive
  Outpatient Services, virtual care, etc.

  Calendar Year Maximum:
  Unlimited
  .




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Open Access Plus In-Network Medical                                          Covered Expenses
                                                                              charges for inpatient Room and Board and other Necessary
Benefits                                                                       Services and Supplies made by a Hospital; subject to the
                                                                               limits as shown in The Schedule.
Prior Authorization/Pre-Authorized
                                                                                charges for inpatient Room and Board and other Necessary
The term Prior Authorization means the approval that a                           Services and Supplies made by an Other Health Care
Participating Provider must receive from the Review                              Facility, including a Skilled Nursing Facility, a
Organization, prior to services being rendered, in order for                     Rehabilitation Hospital or a subacute facility as shown in
certain services and benefits to be covered under this policy.                   The Schedule.
Services that require Prior Authorization include, but are not                  charges for licensed Ambulance service to the nearest
limited to:                                                                      Hospital where the needed medical care and treatment can
   inpatient Hospital services, except for 48/96 hour maternity                 be provided.
    stays.                                                                      charges for outpatient medical care and treatment received
   inpatient services at any participating Other Health Care                    at a Hospital.
    Facility.                                                                   charges for outpatient medical care and treatment received
   residential treatment.                                                       at a Free-Standing Surgical Facility.
   outpatient facility services.                                               charges made for an outpatient service provided instead of
   partial hospitalization.                                                     an inpatient service, when an attending Physician’s request
                                                                                 for an inpatient admission is denied after utilization review
   intensive outpatient programs.                                               has been conducted.
   advanced radiological imaging.                                              charges for an objective second opinion, when required by a
   non-emergency ambulance.                                                     utilization review program.
   certain Medical Pharmaceuticals.                                            charges made for Emergency Services.
   home health care services.                                                  charges for Urgent Care.
   radiation therapy.                                                          charges made by a Physician or a Psychologist for
   transplant services.                                                         professional services.
                                                                                charges made by a Nurse for professional nursing service.
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                                                                                charges made for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
                                                                                charges for diagnostic x-ray.
Covered Expenses                                                                charges for advanced radiological imaging, including for
                                                                                 example CT Scans, MRI, MRA and PET scans and
The term Covered Expenses means expenses incurred by a
                                                                                 laboratory examinations, x-ray, radiation therapy and
person while covered under this plan for the charges listed
                                                                                 radium and radioactive isotope treatment and other
below for:
                                                                                 therapeutic radiological procedures.
   preventive care services; and
                                                                                charges for chemotherapy.
   services or supplies that are Medically Necessary for the
                                                                                charges for blood transfusions.
    care and treatment of an Injury or a Sickness, as determined
    by Cigna.                                                                   charges for oxygen and other gases and their administration.
As determined by Cigna, Covered Expenses may also include                       charges made for Medically Necessary foot care for
all charges made by an entity that has directly or indirectly                    diabetes, peripheral neuropathies and peripheral vascular
contracted with Cigna to arrange, through contracts with                         disease.
providers of services and/or supplies, for the provisions of any                charges made for breast cancer screenings in accordance
services and/or supplies listed below.                                           with the latest screening guidelines issued by the American
Any applicable Copayments, Deductibles or limits are                             Cancer Society, including coverage for digital
shown in The Schedule.                                                           tomosynthesis, that the treating provider determines to be
                                                                                 Medically Necessary. Digital tomosynthesis means a



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    radiologic procedure that involves that acquisition of                    Cigna will update the terms of this provision to reflect new
    projection images over the stationary breast to produce                   recommendations to the preventive care services described
    cross-sectional digital three-dimensional images of the                   herein at the schedule established by the Secretary of Health
    breast. Coverage will not be provided for breast cancer                   and Human Services.
    screenings used to identify breast cancer in asymptomatic             In addition, Covered Expenses will include expenses incurred
    women when the screenings are provided by a facility that             for a Dependent child for charges made for Child Preventive
    is not accredited by the American College of Radiology or             Care Services consisting of the following services, delivered
    certified or licensed under a program established by the              or supervised by a Physician, in keeping with prevailing
    State of Maryland. A Deductible will not apply to this                medical standards:
    benefit.
                                                                             all visits for and costs of childhood and adolescent
   charges made for screening, for or in connection with a                   immunizations recommended by the Advisory Committee
    diagnostic exam for prostate cancer including a digital rectal            on Immunization Practices of the Centers for Disease
    exam and a prostate-specific antigen (PSA) testing: for men               Control including charges for physical examinations,
    who are between 40 and 75 years of age; when used for the                 development assessments and parental anticipatory
    purpose of guiding patient management in monitoring the                   guidance provided in conjunction with these services;
    response to prostate cancer treatment; when used for staging
    in determining the need for a bone scan in patients with                 all visits prior to 4 weeks of age for hereditary and
    prostate cancer; or when used for male patients who are at                metabolic disease screening (the first screening sample is to
    high risk for prostate cancer.                                            be collected before 2 weeks of age) including charges for
                                                                              physical examinations, development assessments and
   charges made for laboratory services, radiation therapy and               parental anticipatory guidance provided in conjunction with
    other diagnostic and therapeutic radiological procedures.                 these services;
   charges made for Family Planning, including medical                      all visits for obesity evaluation and management including
    history, physical exam, related laboratory tests, medical                 charges for physical examinations, development
    supervision in accordance with generally accepted medical                 assessments and parental anticipatory guidance provided in
    practices, other medical services, information and                        conjunction with these services;
    counseling on contraception, implanted/injected
    contraceptives, after appropriate counseling, medical                    all visits for and costs of developmental screenings as
    services connected with surgical therapies (tubal ligations,              recommended by the American Academy of Pediatrics
    vasectomies).                                                             including charges for physical examinations, development
                                                                              assessments and parental anticipatory guidance provided in
   charges for Men’s Family Planning, counseling, testing and                conjunction with these services;
    sterilization (e.g. vasectomies), excluding reversals.
                                                                             all visits for and costs of age-appropriate screening tests for
   charges made for preventive care services as defined by                   tuberculosis, anemia, lead toxicity, hearing and vision as
    recommendations from the following:                                       determined by the American Academy of Pediatrics
     The U.S. Preventive Services Task Force (A and B                        including charges for physical examinations, development
      recommendations);                                                       assessments and parental anticipatory guidance provided in
     The Advisory Committee on Immunization Practices                        conjunction with these services;
      (ACIP) for immunizations;                                              universal hearing screening of newborns provided by a
     The American Academy of Pediatrics’ Periodicity                         Hospital before discharge;
      Schedule of the Bright Futures Recommendations for                     laboratory tests considered necessary by the Physician and
      Pediatric Preventive Health Care;                                       provided in conjunction with the above services;
     The Uniform Panel of the Secretary’s Advisory                       excluding any charges for:
      Committee on Heritable Disorders in Newborns and                       services for which benefits are otherwise provided under
      Children; and                                                           this Covered Expenses section;
     With respect to women, evidence-informed preventive                    services for which benefits are not payable according to the
      care and screening guidelines supported by the Health                   Expenses Not Covered section.
      Resources and Services Administration.
                                                                          A Deductible will not apply to the Child Preventive Care
    Detailed information is available at www.healthcare.gov.              benefit.
    For additional information on immunizations, visit the
    immunization schedule section of www.cdc.gov.                            charges made for inpatient hospitalization services for a
                                                                              mother and newborn child for a minimum of: 48 hours on



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    inpatient hospitalization care after an uncomplicated vaginal             program; a school-based health center; a teaching clinic; a
    delivery; and 96 hours of inpatient hospitalization care after            well mobile; a health center controlled operating network; a
    an uncomplicated cesarean section. A mother may request a                 historic Maryland primary care provider; an outpatient
    shorter length of stay than that provided if the mother                   mental health clinic; and any other center or program
    decides, in consultation with her attending provider, that                identified by the Maryland Community Health Resources
    less time is needed for recovery.                                         Commission as a community health resource.
    If the mother and newborn child have a shorter Hospital                  charges for Medically Necessary residential crisis services.
    stay than that provided, coverage is provided for: one home              charges made for testing of bone mass measurement for the
    visit scheduled to occur within 24 hours after Hospital                   prevention, diagnosis, and treatment of osteoporosis when
    discharge; and an additional home visit if prescribed by the              the bone mass measurement is requested by a health care
    attending provider. The home visit must: be provided in                   provider for a qualified individual. A “qualified individual”
    accordance with generally accepted standards of nursing                   means: an estrogen-deficient individual at clinical risk for
    practice for home care of a mother and newborn child; be                  osteoporosis; an individual with a specific sign suggestive
    provided by a registered Nurse with at least one year of                  of spinal osteoporosis, including roentgenographic
    experience in maternal and child health nursing or                        osteopenia or roentgenographic evidence suggestive of
    community health nursing with an emphasis on maternal                     collapse, wedging, or ballooning of one or more thoracic or
    and child health; and include any services required by the                lumbar vertebral bodies, who is a candidate for therapeutic
    attending provider. Coverage for the home visits described                intervention or for an extensive diagnostic evaluation for
    in this section are not subject to any Deductible.                        metabolic bone disease; an individual receiving long-term
    If the mother and newborn child remain in the Hospital for                glucocorticoid (steroid) therapy; an individual with primary
    at least the minimum length of time provided, coverage is                 hyperparathyroidism; or an individual being monitored to
    provided for a home visit if prescribed by the attending                  assess the response to or efficacy of an approved
    provider. The home visit must: be provided in accordance                  osteoporosis drug therapy.
    with generally accepted standards of nursing practice for                charges for a drug that has been prescribed for a use for
    home care of a mother and newborn child; be provided by a                 which it has not been approved by the Food and Drug
    registered Nurse with at least one year of experience in                  Administration (FDA). Such a drug must be covered,
    maternal and child health nursing or community health                     provided: the drug must be recognized for the use
    nursing with an emphasis on maternal and child health; and                prescribed in any one of the following established reference
    include any services required by the attending provider.                  compendia (that is, any authoritative compendia as
    Coverage for the home visits described in this section are                recognized periodically by the federal Secretary of Health
    not subject to any Deductible.                                            and Human Services or the Maryland Insurance
    Additionally, whenever a mother is required to remain                     Commissioner); or any national peer-reviewed professional
    hospitalized after childbirth for medical reasons and the                 medical journal; the drug has been otherwise approved by
    mother requests that the newborn also remain in the                       the FDA; and the drug has not been contraindicated by the
    Hospital, coverage will be provided for additional                        FDA for the off-label use prescribed.
    hospitalization for the newborn for up to four days.                     charges for an annual routine chlamydia screening test for:
   charges for inpatient or outpatient expenses for                          women who are under age 20 if they are sexually active;
    orthodontics; oral surgery; and otological, audiological and              women who are at least age 20 if they have multiple risk
    speech/language treatment involved in the management of                   factors; and men who have multiple risk factors.
    cleft lip or cleft palate or both.                                        Chlamydia screening means any lab test approved by the
   charges for covered services provided to an insured person                FDA that specifically detects infection by one or more
    by a community health resource. A community health                        agents of chlamydia trachomatis. Multiple risk factors
    resource means a nonprofit or for profit health care center or            means having a prior history of a sexually transmitted
    program that offers the primary health care services                      disease, new or multiple sex partners, inconsistent use of
    required by the Maryland Community Health Resources                       barrier contraceptives or cervical ectopy.
    Commission on a sliding fee schedule and without regard to               charges for a human papillomavirus screening at the testing
    an individual’s ability to pay. A community health resource               intervals outlined in the recommendations for cervical
    includes: a federally qualified health center; a federally                cytology screening developed by the American College of
    qualified health center “look-alike”; a community health                  Obstetricians and Gynecologists.
    center; a migrant health center; a health care program for
    the homeless; a primary care program for a public housing                 Human papillomavirus screening test means any laboratory
    project; a local nonprofit and community-owned health care                test that: specifically detects for infection by one or more



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    agents of the human papillomavirus; and is approved for                  charges for a prosthesis that has been prescribed by a
    this purpose by the FDA.                                                  Physician for an enrollee or insured who has undergone a
   charges for one hair prosthesis when prescribed by an                     mastectomy and has not had breast reconstruction.
    oncologist for hair loss suffered as a result of chemotherapy            charges for one home visit for a patient who remains in the
    or radiation treatment for cancer.                                        Hospital for at least 48 hours following a mastectomy, if
   coverage of Habilitative Services for children, as defined,               prescribed by the attending Physician.
    including those that are Medically Necessary and                         for a patient who remains in the Hospital for less than 48
    appropriate to treat autism and autism spectrum disorders,                hours following a mastectomy, or who undergoes a
    until the end of the month in which the child turns 19 years              mastectomy on an outpatient basis: charges for: one home
    old. Coverage is not provided for Habilitative Services                   visit, scheduled to occur within 24 hours after discharge
    delivered through early intervention or school services.                  from the Hospital or outpatient health care facility; and an
   charges made by a Hospital or Ambulatory Surgical Facility                additional home visit if prescribed by the patient’s attending
    for anesthesia and facility charges for dental procedures for:            Physician.
    a covered person age 7 or under or a covered person who is               for a patient who remains in the Hospital for less than 48
    developmentally disabled for whom a successful result                     hours following surgical removal of a testicle, or who
    cannot be expected from dental care provided under local                  undergoes surgical removal of a testicle on an outpatient
    anesthesia because of a physical, intellectual or other                   basis: charges for: one home visit, scheduled to occur within
    medically compromising condition and for whom a superior                  24 hours after discharge from the Hospital or outpatient
    result can be expected from dental care provided under                    health care facility; and an additional home visit if
    general anesthesia; or a covered person who is an extremely               prescribed by the patient’s attending Physician.
    uncooperative, fearful, or uncommunicative child age 17 or               charges for all medically appropriate and necessary diabetes
    under with dental needs of such magnitude that treatment                  equipment, diabetes supplies, and diabetes outpatient self-
    should not be delayed or deferred and for whom lack of                    management training and educational services, consistent
    treatment can be expected to result in oral pain, infection,              with the American Diabetes Association standards,
    loss of teeth, or other increased oral or dental morbidity.               including medical nutrition therapy, that the covered
   charges for hearing aids for a minor child, provided the                  person’s treating Physician or other appropriately licensed
    hearing aids are prescribed, fitted and dispensed by a                    health care provider, or a Physician who specializes in the
    licensed audiologist. Hearing aid means a device that: is of a            treatment of diabetes, certifies are necessary for the
    design and circuitry to optimize audibility and listening                 treatment of: (a) insulin-using diabetes; (b) noninsulin-using
    skills in the environment commonly experienced by                         diabetes; (c) elevated or impaired blood glucose levels
    children; and is non-disposable. Coverage is limited to a                 induced by pregnancy; or (d) elevated or impaired blood
    maximum shown in The Schedule. A covered person may                       glucose levels induced by pre-diabetes. If certified as
    choose a hearing aid that is priced higher than the benefits              necessary, the diabetes self-management training and
    available under this coverage, and may pay the difference                 educational services, including medical nutrition therapy,
    between the price of the hearing aid and the benefit payable              shall be provided through a program supervised by an
    under this coverage, without financial or contractual penalty             appropriately licensed, registered or certified health care
    to the provider of the hearing aid.                                       provider whose scope of practice includes diabetes
   charges for colorectal cancer screening in accordance with                education or management.
    the latest American Cancer Society guidelines.                           charges for the diagnostic or surgical procedures involving a
   charges for inpatient hospitalization services for a minimum              bone or joint of the face, neck or head if, under the accepted
    of 48 hours following a mastectomy. Mastectomy means the                  standards of the profession of the health care provider
    surgical removal of all or part of a breast as a result of                rendering the service, the procedure is Medically Necessary
    diseased breast, a non-diseased breast to establish symmetry              to treat a condition caused by a congenital deformity,
    with the diseased breast when reconstructive breast surgery               disease or Injury.
    is performed on the diseased breast; and physical                        charges made for or in connection with the diagnosis,
    complications of all stages of mastectomy, including                      evaluation and treatment of pediatric autoimmune
    lymphedemas, in a manner determined in consultation with                  neuropsychiatric disorders and pediatric acute-onset
    the attending Physician and the patient. A patient may                    neuropsychiatric syndrome. Treatment includes but is not
    request a shorter length of stay if the patient decides, in               limited to antibiotics, medication and behavioral therapies
    consultation with the patient’s attending Physician that less             to manage neuropsychiatric symptoms, plasma exchange,
    time is needed for recovery.                                              and intravenous immunoglobulin therapy.



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   coverage for Medically Necessary and appropriate                    tract. The ordering Physician must issue an order stating that
    equipment and supplies used to treat ostomies, including:           the treatment is Medically Necessary.
    flanges, collection bags, clamps, irrigation devices,               Internal Prosthetic/Medical Appliances
    sanitizing product, ostomy rings, ostomy belts and catheters
    used for drainage of urostomies.                                    Charges for internal prosthetic/medical appliances that provide
                                                                        permanent or temporary internal functional support for
   coverage for the Medically Necessary diagnosis, evaluation,         nonfunctional body parts are covered. Medically Necessary
    and treatment of lymphedema, including equipment,                   repair, maintenance or replacement of a covered appliance is
    supplies, complex decongestive therapy, gradient                    also covered.
    compression garments, and self-management training and
    education.                                                          Private Hospital Rooms
    Gradient Compression Garment means a garment that:                  Charges for private rooms as determined by the Health
                                                                        Services Cost Review Commission, but not beyond those
     is used for the treatment of lymphedema;                          rates.
     requires a prescription; and                                      Fertility Awareness-Based Methods
     is custom fit for the individual for whom the garment is           charges for instruction by a licensed health care provider on
      prescribed.                                                         Fertility Awareness-Based Methods.
    Gradient Compression Garment does not include disposable            Fertility Awareness-Based Methods means methods of
    medical supplies, including over-the-counter compression            identifying times of fertility and infertility by an individual to
    or elastic knee-high or other stocking products.                    avoid pregnancy, including:
Nutritional Counseling                                                     cervical mucus methods;
Charges for counseling when diet is a part of the medical                  symptom-thermal or symptom-hormonal methods;
management of a medical or behavioral condition.
                                                                           the standard days method; and
Nutritional Products
                                                                           the lactational amenorrhea method.
Coverage is provided for medical foods and low protein
modified food products, for the treatment of inherited                  Fertility Preservation Procedures
metabolic diseases, provided the foods/products are:                     Coverage will be provided for Standard Fertility
prescribed as Medically Necessary for the therapeutic                     Preservation Procedures:
treatment of inherited metabolic diseases; and administered                  performed on a Policyholder or subscriber or on the
under the direction of a Physician. An inherited metabolic                    covered Dependent of a Policyholder or subscriber; and
disease is a disease caused by an inherited abnormality of
                                                                             that are Medically Necessary to preserve fertility for a
body chemistry, including a disease for which the state screens
                                                                              Policyholder or subscriber or for the covered Dependent
newborns. A medical food is a food intended for the dietary
                                                                              of a Policyholder or subscriber due to a need for medical
treatment of a disease/condition for which nutritional
                                                                              treatment that may directly or indirectly cause Iatrogenic
requirements are established by medical evaluation and
                                                                              Infertility.
formulated to be consumed or administered enterally under the
direction of a Physician. A low protein modified food product                     Iatrogenic Infertility means an impairment of fertility
is a food product specially formulated to have less than one                       caused directly or indirectly by surgery, chemotherapy,
gram of protein per serving, and is intended to be used under                      radiation, or other medical treatment affecting the
the direction of a Physician for the dietary treatment of an                       reproductive organs or processes.
inherited metabolic disease. Low protein modified food                            Medical Treatment that may directly or indirectly cause
products do not include natural foods that are naturally low in                    Iatrogenic Infertility means medical treatment with a
protein.                                                                           likely side effect of infertility as established by the
Coverage also includes amino acid-based elemental formula,                         American Society for Reproductive Medicine, the
regardless of delivery method, for the diagnosis and treatment                     American College of Obstetricians and Gynecologists,
of: Immunoglobulin E and non-Immunoglobulin E mediated                             or the American Society of Clinical Oncology.
allergies to multiple food proteins; severe food protein                          Standard Fertility Preservation Procedures means
induced enterocolitis syndrome; eosinophilic disorder, as                          procedures to preserve fertility that are consistent with
evidenced by the results of a biopsy; and impaired absorption                      established medical practices and professional
of nutrients caused by disorders affecting the absorptive                          guidelines published by the American Society for
surface, functional length and motility of the gastrointestinal                    Reproductive Medicine, the American College of



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          Obstetricians and Gynecologists, or the American                   the use of telecommunication technologies by a health care
          Society of Clinical Oncology.                                      practitioner, to a patient, at a different physical location than
         Standard Fertility Preservation Procedures includes                the health care practitioner. This includes counseling for
          sperm and oocyte cryopreservation and evaluations,                 substance use disorders.
          laboratory assessments, medications, and treatments              Virtual Physician Services
          associated with sperm and oocyte cryopreservation.                charges for the delivery of real-time medical and health-
In Vitro Fertilization (IVF)                                                 related services and consultations and remote monitoring as
Coverage will be provided for outpatient expenses arising                    medically appropriate through the use of telecommunication
from in vitro fertilization procedures if:                                   technologies by a health care practitioner, to a patient, at a
                                                                             different physical location than the health care practitioner.
   you are the Employee or a covered Dependent of the                       This includes counseling for substance use disorders.
    Employee;                                                                Coverage does not include services provided by telephone
   for a patient whose spouse is of the opposite-sex, the                   alone.
    patient's oocytes are fertilized with the patient's spouse's
    sperm unless:
                                                                           HC-COV948                                                      01-20
    The patient’s spouse is unable to produce and deliver
    functional sperm; and the inability to produce and deliver
    functional sperm does not result from a vasectomy; or                  Obesity Treatment
    another method of voluntary sterilization.                              charges for the surgical treatment of morbid obesity that is:
   the patient or the patient’s spouse have a history of                    recognized by the National Institutes of Health as effective
    involuntary infertility which may have been demonstrated                 for the long-term reversal of morbid obesity; and consistent
    by a history of:                                                         with criteria approved by the National Institutes of Health.
     If the patient and the patient’s spouse are of opposite
                                                                             Morbid Obesity means a body mass index that is greater
      sexes, intercourse of at least 1 year duration failing to              than 40 kilograms per meter squared, or equal to or greater
      result in pregnancy; or                                                than 35 kilograms per meter squared with a comorbid
                                                                             medical condition, including hypertension, a
     If the patient and the patient’s spouse are the same sex,              cardiopulmonary condition, sleep apnea, or diabetes. Body
      six attempts of artificial insemination over the course of 1           mass index means a practical marker that is issued to assess
      year failing to result in pregnancy; or the infertility is             the degree of obesity and is calculated by dividing the
      associated with any of the following medical conditions:               weight in kilograms by the height in meters squared.
         endometriosis;
         exposure in utero to diethylstilbestrol (DES);                   HC-COV30                                                       04-10
         blockage of, or surgical removal of, one or both                                                                                  V1

          fallopian tubes (lateral or bilateral salpingectomy); or
         abnormal male factors, including oligospermia,                   Home Health Services
          contributing to the infertility;
                                                                            charges made for Home Health Services if:
         the patient has been unable to attain successful                   institutionalization would have been required if home health
          pregnancy through a less costly infertility treatment for          was not provided; and your Physician establishes and
          which coverage is available under this plan; and                   approves in writing the plan of treatment covering the home
         the in vitro fertilization procedures are performed at             health care service. Home Health Services are subject to the
          medical facilities that conform to the American College            benefit limitations described here and the visit limitations
          of Obstetricians and Gynecologists guidelines for in               shown in The Schedule. A visit is defined as a period of 4
          vitro fertilization clinics or to the American Fertility           hours or less. Home Health Services may include the
          Society minimum standards for programs of in vitro                 services of a home health aide if the services of the aide are
          fertilization, or the American Society for Reproductive            rendered in direct support of skilled health care that is being
          Medicine.                                                          provided by Other Participating Health Professionals.
Dedicated Virtual Providers                                                  Home Health Services are provided only if Cigna has
                                                                             determined that the home is a medically appropriate setting.
 charges for the delivery of real-time medical and health-
                                                                             If you are a minor or an adult who is Dependent upon others
  related services and consultations and remote monitoring by
                                                                             for non-skilled care and/or custodial services (e.g., bathing,
  dedicated virtual providers as medically appropriate through
                                                                             eating, toileting), Home Health Services will be provided


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  for you only during times when there is a family member or                   charges for comfort maintenance and pain relief
  care giver present in the home to meet your non-skilled care                  treatment, including drugs, medicines and medical
  and/or custodial services needs.                                              supplies and equipment;
  Home Health Services shall be provided by: a Hospital that                   charges for Respite Care for the caregiver not to exceed
  has a valid operating certificate and is certified to provide                 14 days per contract year, which is the 12-month period
  home health care services; or a public or private health                      that begins with the effective date of the policy;
  service or agency that is licensed as a home health agency                   charges for part-time or intermittent nursing care by or
  under Title 19, Subtitle 4 of the Health – General Article to                 under the supervision of a Nurse;
  provide coordinated home health care. Necessary
                                                                               charges for part-time or intermittent services of an Other
  consumable medical supplies, home infusion therapy,
  administered or used by: a Hospital that has a valid                          Health Professional;
  operating certificate and is certified to provide home health                charges for physical, occupational and speech therapy;
  care services; or a public or private health service or agency               charges for medical supplies; drugs and medicines
  that is licensed as a home health agency under Title 19,                      lawfully dispensed only on the written prescription of a
  Subtitle 4 of the Health – General Article to provide                         Physician; and laboratory services; but only to the extent
  coordinated home health care in providing Home Health                         such charges would have been payable under the policy if
  Services are covered. Home Health Services do not include                     the person had remained or been Confined in a Hospital
  services by a person who is a member of your family or                        or Hospice Facility.
  your Dependent’s family or who normally resides in your
                                                                               30-day inpatient care per insured.
  house or your Dependent’s house even if that person is an
  other health professional. Physical, occupational, and other                 part-time nursing by or supervised by a registered
  Short-Term Rehabilitative Therapy services provided in the                    graduate nurse.
  home are not subject to the Home Health Services benefit                     counseling, including dietary counseling, for the
  limitations in the Schedule, but are subject to the benefit                   terminally ill insured.
  limitations described under Short-term Rehabilitative
                                                                               family counseling for immediate family and family
  Therapy and Chiropractic Care Services in The Schedule.
                                                                                caregiver before the death of the terminally ill insured.
                                                                               bereavement counseling for immediate family and family
HC-COV477                                                    01-16              caregiver for at least the 6 month period immediately
                                                               V1               following the terminally ill insured's death, or for 15
                                                                                visits, whichever occurs first.
Hospice Care Services                                                          respite care subject to the following:
 charges for a person who has been diagnosed as having six                         an annual benefit of at least 14 days;
  months or fewer to live, due to Terminal Illness, for the                         carrier may limit any one inpatient stay for respite care
  following Hospice Care Services provided under a Hospice                           to 5 consecutive days.
  Care Program:
                                                                               medical supplies, equipment and medications required to
   by a Hospice Facility for Room and Board and Services                       maintain the comfort and manage the pain of the
     and Supplies;                                                              terminally ill insured.
   by a Hospice Facility for services provided on an                     The following charges for Hospice Care Services are not
     outpatient basis;                                                    included as Covered Expenses:
   by a Physician for professional services;                                for the services of a spouse, parent, sibling, grandparent, or
   by a Psychologist, social worker, family counselor or                     children of the terminally ill insured or services of one who
     ordained minister for individual and family counseling,                  normally resides in your house or your Dependent's house;
     including a family caregiver;                                           for any period when you or your Dependent is not under the
   by a Psychologist, social worker, family counselor or                     care of a Physician;
     ordained minister for individual and family counseling,                 for services or supplies not listed in the Hospice Care
     including a family caregiver, for bereavement counseling                 Program;
     sessions for the six-month period following the person’s
     death or 15 counseling sessions, whichever occurs first;                for any curative or life-prolonging procedures;
   charges for dietary counseling for the terminally ill
                                                                             to the extent that any other benefits are payable for those
     insured;                                                                 expenses under the policy;



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   for services or supplies that are primarily to aid you or your          Inpatient Mental Health Services
    Dependent in daily living.                                              Services that are provided by a Hospital while you or your
                                                                            Dependent is Confined in a Hospital for the treatment and
HC-COV950                                                      01-20
                                                                            evaluation of Mental Health. Inpatient Mental Health Services
                                                                            include Mental Health Residential Crisis Services. These
                                                                            inpatient services are provided for an unlimited number of
Mental Health and Substance Use Disorder Services                           days per year under the same terms and conditions that apply
Mental Health Services are Medically Necessary services                     to physical illness.
that are required to treat a mental illness or emotional disorder.          Mental Health Residential Crisis Services means intensive
In determining benefits payable, charges made for the                       mental health and support services that are:
treatment of any physiological conditions related to Mental
                                                                               provided to a child or an adult with a mental illness who is
Health will not be considered to be charges made for treatment
                                                                                experiencing or is at risk of a psychiatric crisis that would
of Mental Health. Physiological conditions related to Mental
                                                                                impair the individual's ability to function in the community;
Health will be covered as any other illness through the
medical/surgical benefits section of the plan.                                 designed to prevent a psychiatric inpatient admission,
                                                                                provide an alternative to psychiatric inpatient admission, or
Substance Use Disorder is defined as Alcohol Misuse or
                                                                                shorten the length of inpatient stay;
Drug Misuse that requires diagnosis, care, and treatment. In
determining benefits payable, charges made for the treatment                   provided out of the individual's residence on a short-term
of any physiological conditions related to rehabilitation                       basis in a community-based residential setting; and
services for alcohol or drug misuse will not be considered to                  provided by entities that are licensed by the Department of
be charges made for treatment of Substance Use Disorder.                        Health and Mental Hygiene to provide residential crisis
Physiological conditions related to Substance Use Disorder                      services.
will be covered as any other illness through the                            Outpatient Mental Health Services
medical/surgical benefits section of the plan.
                                                                            Services of Providers who are qualified to treat Mental Health
Alcohol Misuse means a disease that is characterized by a                   when treatment is provided on an outpatient or Out-of-
pattern of pathological use of alcohol with repeated attempts               Hospital basis, while you or your Dependent is not Confined
to control its use, and with significant negative consequences              in a Hospital, in an individual or group or Mental Health
in at least one of the following areas of life: medical, legal,             Intensive Outpatient Therapy Program. Covered services
financial or psycho-social.                                                 include, but are not limited to, outpatient treatment of
Detoxification facility means a facility that provides direct or            conditions such as: anxiety or depression which interfere with
indirect services to an acutely intoxicated individual to fulfill           daily functioning; emotional adjustment or concerns related to
the physical, social, and emotional needs of the individual by:             chronic conditions, such as psychosis or depression; emotional
monitoring the amount of alcohol and other toxic agents in the              reactions associated with marital problems or divorce;
body of the individual; managing withdrawal symptoms; and                   child/adolescent problems of conduct or poor impulse control;
motivating the individual to participate in the appropriate                 affective disorders; suicidal or homicidal threats or acts; eating
addictions treatment programs for alcohol or drug abuse.                    disorders; or acute exacerbation of chronic mental health
Drug means a controlled dangerous substance that is regulated               conditions (crisis intervention and relapse prevention) and
under the Maryland Controlled Dangerous Substances Act; a                   outpatient testing and assessment and for psychological and
prescription medication; or a chemical substance when used                  neuropsychological testing for diagnosis purposes.
for unintended and harmful purposes.                                        A Mental Health Intensive Outpatient Therapy Program
Drug Misuse means a disease which is characterized by a                     consists of distinct levels or phases of treatment that are
pattern of pathological use of a drug with repeated attempts to             provided by a certified/licensed Mental Health program in
control the use, and with significant negative consequences in              accordance with the laws of the appropriate, legally authorized
at least one of the following areas of life: medical, legal,                agency. Intensive Outpatient Therapy Programs provide a
financial, or psycho-social.                                                combination of individual, family and/or group therapy. A
                                                                            physician’s recommendation that an Intensive Outpatient
Partial Hospitalization means the provision of medically
                                                                            Program is the best mode of treatment for an individual will
directed intensive or intermediate short-term treatment: to a
                                                                            not affect the availability of Inpatient Mental Health Services
customer; in a licensed or certified facility or program; for
                                                                            and regular Outpatient Mental Health Services for which the
mental illness, emotional disorders, drug misuse, or alcohol
                                                                            individual would otherwise be eligible.
misuse; and for a period of less than twenty-four (24) hours
but more than four (4) hours in a day.


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Coverage is provided for a diagnostic evaluation,                      Substance Use Disorder Services for which the individual
psychological and neuropsychological testing for diagnostic            would otherwise be eligible.
purposes, opioid treatment services; and medication evaluation         Substance Use Disorder Detoxification Services
and management visits provided to treat mental illnesses,
emotional disorders, drug misuse, or alcohol misuse.                   Detoxification and related medical ancillary services are
                                                                       provided when required for the diagnosis and treatment of
Services will be provided under the same terms and conditions          addiction to alcohol and/or drugs.
that apply to an office visit for physical illness.
                                                                       Exclusions
Inpatient Substance Use Disorder Rehabilitation Services
                                                                       The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the
diagnosis and treatment of misuse or addiction to alcohol                 treatment of medical disorders which have been diagnosed
and/or drugs. Inpatient Substance Use Disorder Services                    as organic mental disorders associated with permanent
include Substance Use Disorder Residential Services.                       dysfunction of the brain; provided, however, that such
                                                                           treatment be covered under the medical benefit provision of
Substance Use Disorder Residential Treatment Services                      this plan.
are services provided by a Hospital for the evaluation and
treatment of the psychological and social functional                      developmental disorders, including but not limited to,
disturbances that are a result of subacute Substance Use                   developmental reading disorders, developmental arithmetic
Disorder conditions.                                                       disorders, developmental language disorders or
                                                                           developmental articulation disorders, unless such
Substance Use Disorder Residential Treatment Center                        developmental disorder is treatable.
means an institution which: specializes in the treatment of
psychological and social disturbances that are the result of              counseling for activities of an educational nature.
Substance Use Disorder; provides a subacute, structured,                  counseling for borderline intellectual functioning.
psychotherapeutic treatment program, under the supervision of             counseling for occupational problems.
Physicians; provides 24-hour care, in which a person lives in
                                                                          counseling related to consciousness raising.
an open setting; and is licensed in accordance with the laws of
the appropriate legally authorized agency as a Residential                vocational or religious counseling.
Treatment Center.                                                         I.Q. testing.
A person is considered Confined in a Residential Treatment                custodial care, including but not limited to geriatric day
Center when she/he is a registered bed patient in a Residential            care.
Treatment Center upon the recommendation of a Physician.
                                                                          psychological testing on children requested by or for a
Outpatient Substance Use Disorder Rehabilitation Services                  school system, unless Medically Necessary and otherwise
Services provided for the diagnosis and treatment of misuse or             covered under this policy.
addiction to alcohol and/or drugs, while you or your                      occupational/recreational therapy programs even if
Dependent is not Confined in a Hospital, including outpatient              combined with supportive therapy for age-related cognitive
rehabilitation in an individual, or a Substance Use Disorder               decline.
Partial Hospitalization, or Intensive Outpatient Therapy
                                                                       Other limitations are shown in the “Exclusions, Expenses Not
Program, including diagnostic evaluation; psychological or
                                                                       Covered and General Limitations” section.
neuropsychological testing for diagnosis purposes; opioid
treatment services; and medication evaluation and
management visits.                                                     HC-COV606                                                        08-17

A Substance Use Disorder Intensive Outpatient Therapy
Program consists of distinct levels or phases of treatment that        Durable Medical Equipment
are provided by a certified/licensed Substance Use Disorder
program in accordance with the laws of the appropriate legally          charges made for purchase or rental of Durable Medical
authorized agency. Intensive Outpatient Therapy Programs                 Equipment that is ordered or prescribed by a Physician and
provide a combination of individual, family and/or group                 provided by a vendor approved by Cigna for use outside a
therapy. A physician’s recommendation that an Intensive                  Hospital or Other Health Care Facility. Coverage for repair,
Outpatient Program is the best mode of treatment for an                  replacement or duplicate equipment is provided only when
individual will not affect the availability of Inpatient                 required due to anatomical change and/or reasonable wear
Substance Use Disorder Services and regular Outpatient                   and tear. All maintenance and repairs that result from a
                                                                         person’s misuse are the person’s responsibility. Coverage


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  for Durable Medical Equipment is limited to the lowest-cost                     congenital defect. Coverage also includes repairs to
  alternative as determined by the utilization review                             prosthetic devices.
  Physician.                                                                      Coverage for prostheses/prosthetic appliances and devices
  Durable Medical Equipment is defined as items which are                         and components of prosthetic devices, and repairs thereof,
  designed for and able to withstand repeated use by more                         other than speech prostheses, is limited no more restrictively
  than one person; customarily serve a medical purpose;                           than the indications, limitations of coverage and medical
  generally are not useful in the absence of Injury or Sickness;                  necessity established under the Medicare Coverage
  are appropriate for use in the home; and are not disposable.                    Database.
  Such equipment includes, but is not limited to, crutches,                       External prosthetic appliances and devices include
  hospital beds, respirators, wheel chairs, and dialysis                          prostheses/prosthetic appliances and devices; orthoses and
  machines.                                                                       orthotic devices; braces; and splints.
  Durable Medical Equipment items that are not covered:                       Prostheses/Prosthetic Appliances and Devices
   Bed Related Items: bed trays, over the bed tables, bed                    Prostheses/prosthetic appliances and devices are defined as
     wedges, pillows, custom bedroom equipment, mattresses,                   artificial devices to replace, in whole or in part, a leg, an arm,
     including nonpower mattresses, custom mattresses and                     or an eye. Prostheses/prosthetic appliances and devices
     posturepedic mattresses.                                                 include, but are not limited to:
   Bath Related Items: bath lifts, nonportable whirlpools,                      limb prostheses;
     bathtub rails, toilet rails, raised toilet seats, bath benches,
     bath stools, hand held showers, paraffin baths, bath mats,                  terminal devices such as hands or hooks;
     and spas.                                                                   speech prosthesis; and
   Chairs, Lifts and Standing Devices: computerized or                          facial prosthesis.
     gyroscopic mobility systems, roll about chairs, geriatric                Prostheses/prosthetic appliances and devices also include
     chairs, hip chairs, seat lifts (mechanical or motorized),                speech prostheses, such as electronic larynx devices and
     patient lifts (mechanical or motorized – manual hydraulic                tracheoesophageal voice prostheses that are recommended by
     lifts are covered if patient is two-person transfer), and                an otolaryngologist or speech and language pathologist
     auto tilt chairs.                                                        following total laryngectomy.
   Fixtures to Real Property: ceiling lifts and wheelchair                   Orthoses and Orthotic Devices
     ramps.
                                                                              Orthoses and orthotic devices are defined as orthopedic
   Car/Van Modifications.                                                    appliances or apparatuses used to support, align, prevent or
   Air Quality Items: room humidifiers, vaporizers, air                      correct deformities. Coverage is provided for custom foot
     purifiers and electrostatic machines.                                    orthoses and other orthoses as follows:
   Blood/Injection Related Items: blood pressure cuffs,                         Non-foot orthoses – only the following non-foot orthoses
     centrifuges, nova pens and needleless injectors.                             are covered:
   Other Equipment: heat lamps, heating pads, cryounits,                          rigid and semi-rigid custom fabricated orthoses;
     cryotherapy machines, electronic-controlled therapy units,                    semi-rigid prefabricated and flexible orthoses; and
     ultraviolet cabinets, sheepskin pads and boots, postural
                                                                                   rigid prefabricated orthoses including preparation, fitting
     drainage board, AC/DC adaptors, enuresis alarms,
                                                                                    and basic additions, such as bars and joints.
     magnetic equipment, scales (baby and adult), stair gliders,
     elevators, saunas, any exercise equipment and diathermy                     Custom foot orthoses – custom foot orthoses are only
     machines.                                                                    covered as follows:
                                                                                   for persons with impaired peripheral sensation and/or

HC-COV210                                                        04-10
                                                                                    altered peripheral circulation (e.g. diabetic neuropathy
                                                                   V1
                                                                                    and peripheral vascular disease);
                                                                                   when the foot orthosis is an integral part of a leg brace
                                                                                    and is necessary for the proper functioning of the brace;
External Prosthetic Appliances and Devices
                                                                                   when the foot orthosis is for use as a replacement or
 charges made or ordered by a Physician for the initial
                                                                                    substitute for missing parts of the foot (e.g. amputated
  purchase and fitting of external prosthetic appliances and                        toes) and is necessary for the alleviation or correction of
  devices available only by prescription which are necessary                        Injury, Sickness or congenital defect; and
  for the alleviation or correction of Injury, Sickness or


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     for persons with neurologic or neuromuscular condition            For all other external prosthetic appliances and devices,
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing         coverage for replacement of appliances and devices is limited
      spasticity, malalignment, or pathological positioning of          to the following:
      the foot and there is reasonable expectation of                      replacement due to regular wear. Replacement for damage
      improvement.                                                          due to abuse or misuse by the person will not be covered.
The following are specifically excluded orthoses and orthotic              replacement required because anatomic change has rendered
devices:                                                                    the external prosthetic appliance or device ineffective.
   prefabricated foot orthoses;                                            Anatomic change includes significant weight gain or loss,
   cranial banding and/or cranial orthoses. Other similar                  atrophy and/or growth.
    devices are excluded except when used postoperatively for           Coverage for replacement of tracheoesophageal voice
    synostotic plagiocephaly. When used for this indication, the        prostheses is limited to every three to six months or when
    cranial orthosis will be subject to the limitations and             signs of leakage or increased airflow pressure are present.
    maximums of the External Prosthetic Appliances and                  Coverage for replacement of other external prosthetic
    Devices benefit;                                                    appliances and devices is limited as follows:
   orthosis shoes, shoe additions, procedures for foot                    no more than once every 24 months for persons 19 years of
    orthopedic shoes, shoe modifications and transfers;                     age and older; and
   orthoses primarily used for cosmetic rather than functional            no more than once every 12 months for persons 18 years of
    reasons; and                                                            age and under.
   orthoses primarily for improved athletic performance or                replacement due to a surgical alteration or revision of the
    sports participation.                                                   impacted site.
Braces                                                                  Coverage for replacement is limited as follows:
A Brace is defined as an orthosis or orthopedic appliance that             no more than once every 24 months for persons 19 years of
supports or holds in correct position any movable part of the               age and older; and
body and that allows for motion of that part.
                                                                           no more than once every 12 months for persons 18 years of
The following braces are specifically excluded: Copes                       age and under.
scoliosis braces.
                                                                        The following are specifically excluded appliances and
Splints                                                                 devices:
A Splint is defined as an appliance for preventing movement                external and internal power enhancements or power controls
of a joint or for the fixation of displaced or movable parts.               for prosthetic limbs and terminal devices; and
Coverage for replacement of external prosthetic appliances                 myoelectric prostheses peripheral nerve stimulators.
and devices is limited to the following:
   replacement due to regular wear. Replacement for damage
                                                                        HC-COV951                                                         01-20
    due to abuse or misuse by the person will not be covered.
   replacement required because anatomic change has rendered
    the external prosthetic appliance or device ineffective.            Infertility Services
    Anatomic change includes significant weight gain or loss,            charges made for services related to diagnosis of infertility
    atrophy and/or growth.                                                and treatment of infertility once a condition of infertility has
   replacement due to a surgical alteration or revision of the           been diagnosed. Services include, but are not limited to:
    impacted site.                                                        infertility drugs which are administered or provided by a
                                                                          Physician; approved surgeries and other therapeutic
Limitations and Expenses Not Covered
                                                                          procedures that have been demonstrated in existing peer-
For prostheses/prosthetic appliances and devices and                      reviewed, evidence-based, scientific literature to have a
components of prosthetic devices, other than speech                       reasonable likelihood of resulting in pregnancy; laboratory
prostheses, Cigna will use the limitations of coverage                    tests; sperm washing or preparation; artificial insemination;
established under the Medicare Coverage Database.                         diagnostic evaluations; gamete intrafallopian transfer
                                                                          (GIFT); in vitro fertilization (IVF); zygote intrafallopian
                                                                          transfer (ZIFT); and the services of an embryologist.




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  Infertility is defined as:                                                     recreational facility primarily to maintain the patient's status
   the inability of opposite sex partners to achieve                            achieved through Phases I and II. Phase IV is an
     conception after at least one year of unprotected                           advancement of Phase III which includes more active
     intercourse;                                                                participation and weight training.
   the inability of opposite-sex partners to achieve                        Chiropractic Care Services
     conception after six months of unprotected intercourse,                  Charges for diagnostic and treatment services utilized in an
     when the female partner trying to conceive is age 35 or                   office setting by chiropractic Physicians. Chiropractic
     older;                                                                    treatment includes the conservative management of acute
   the inability of a woman, with or without an opposite-sex                  neuromusculoskeletal conditions through manipulation and
     partner, to achieve conception after at least six trials of               ancillary physiological treatment rendered to specific joints
     medically supervised artificial insemination over a one-                  to restore motion, reduce pain, and improve function. For
     year period; and                                                          these services you have direct access to qualified
                                                                               chiropractic Physicians.
   the inability of a woman, with or without an opposite-sex
     partner, to achieve conception after at least three trials of           Coverage is provided when Medically Necessary in the most
     medically supervised artificial insemination over a six-                medically appropriate setting to:
     month period of time, when the female partner trying to                    Restore function (called “rehabilitative”):
     conceive is age 35 or older.                                                 To restore function that has been impaired or lost.
  This benefit includes diagnosis and treatment of both male                      To reduce pain as a result of Sickness, Injury, or loss of a
  and female infertility.                                                          body part.
  However, the following are specifically excluded infertility                  Improve, adapt or attain function (sometimes called
  services:                                                                      “habilitative”):
   reversal of male and female voluntary sterilization;                          To improve, adapt or attain function that has been
   infertility services when the infertility is caused by or                      impaired or was never achieved as a result of congenital
     related to voluntary sterilization;                                           abnormality (birth defect).
   donor charges and services;                                                   To improve, adapt or attain function that has been
   cryopreservation of donor sperm and eggs; and                                  impaired or was never achieved because of mental health
                                                                                   and substance use disorder conditions. Includes
   any experimental, investigational or unproven infertility
                                                                                   conditions such as autism and intellectual disability, or
     procedures or therapies.                                                      mental health and substance use disorder conditions that
                                                                                   result in a developmental delay.
HC-COV811                                                       01-20        Coverage is provided as part of a program of treatment when
                                                                             the following criteria are met:
Outpatient Therapy Services                                                     The individual’s condition has the potential to improve or is
                                                                                 improving in response to therapy, and maximum
Charges for the following therapy services:
                                                                                 improvement is yet to be attained.
Cognitive Therapy, Occupational Therapy, Osteopathic
                                                                                There is an expectation that the anticipated improvement is
Manipulation, Physical Therapy, Pulmonary
                                                                                 attainable in a reasonable and generally predictable period
Rehabilitation, Speech Therapy
                                                                                 of time.
 Charges for therapy services are covered when provided as
                                                                                The therapy is provided by, or under the direct supervision
  part of a program of treatment.
                                                                                 of, a licensed health care professional acting within the
Cardiac Rehabilitation                                                           scope of the license.
 Charges for Phase II cardiac rehabilitation provided on an                    The therapy is Medically Necessary and medically
  outpatient basis following diagnosis of a qualifying cardiac                   appropriate for the diagnosed condition.
  condition when Medically Necessary. Phase II is a Hospital-
                                                                             Coverage for occupational therapy is provided only for
  based outpatient program following an inpatient Hospital
                                                                             purposes of enabling individuals to perform the activities of
  discharge. The Phase II program must be Physician directed
                                                                             daily living after an Injury or Sickness.
  with active treatment and EKG monitoring.
                                                                             Therapy services that are not covered include:
  Phase III and Phase IV cardiac rehabilitation is not covered.
  Phase III follows Phase II and is generally conducted at a                    sensory integration therapy.



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   treatment of dyslexia.                                                  Reconstructive Surgery
   maintenance or preventive treatment provided to prevent                  charges made for reconstructive surgery or therapy to repair
    recurrence or to maintain the patient’s current status.                   or correct a severe physical deformity or disfigurement
   charges for Chiropractic Care not provided in an office                   which is accompanied by functional deficit (other than
    setting.                                                                  abnormalities of the jaw or conditions related to TMJ
                                                                              disorder) provided that: the surgery or therapy restores or
   vitamin therapy.                                                          improves function; reconstruction is required as a result of
Coverage is administered according to the following:                          Medically Necessary, noncosmetic surgery; or the surgery
   Multiple therapy services provided on the same day                        or therapy is performed prior to age 19 and is required as a
    constitute one day of service for each therapy type.                      result of the congenital absence or agenesis (lack of
                                                                              formation or development) of a body part. Repeat or
   A separate Copayment applies to the services provided by                  subsequent surgeries for the same condition are covered
    each provider for each therapy type per day.                              only when there is the probability of significant additional
                                                                              improvement as determined by the utilization review
HC-COV887                                                      01-20          Physician.
                                                                 V1

                                                                            HC-COV637                                                    12-17

Breast Reconstruction and Breast Prostheses
 charges made for reconstructive surgery following a                       Transplant Services
  mastectomy; benefits include: surgical services for
                                                                             charges made for human organ and tissue Transplant
  reconstruction of the breast on which surgery was
                                                                              services which include solid organ and bone marrow/stem
  performed; surgical services for all stages of reconstruction
                                                                              cell procedures. This coverage is subject to the following
  of the nondiseased breast to produce symmetrical
                                                                              conditions and limitations.
  appearance; postoperative breast prostheses; and
  mastectomy bras and prosthetics, limited to the lowest cost                 Transplant services include the recipient’s medical, surgical
  alternative available that meets prosthetic placement needs.                and Hospital services; inpatient immunosuppressive
  During all stages of mastectomy, treatment of physical                      medications; and costs for organ or bone marrow/stem cell
  complications, including lymphedema therapy in a manner                     procurement. Transplant services are covered only if they
  determined in consultation with the attending Physician and                 are required to perform any of the following human to
  the patient, are covered.                                                   human organ or tissue transplants: allogeneic bone
                                                                              marrow/stem cell, autologous bone marrow/stem cell,
    Mastectomy means the surgical removal of all, or part, of a
                                                                              cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
    breast.
                                                                              lung, pancreas or intestine which includes small bowel-liver
    Reconstructive breast surgery performed as a result of a                  or multi-visceral.
    mastectomy, means surgery to reestablish symmetry
                                                                              All Transplant services, other than cornea, are covered at
    between the two breasts, including augmentation
                                                                              100% when received at Cigna LIFESOURCE Transplant
    mammoplasty, reduction mammoplasty and mastopexy.
                                                                              Network® facilities. Cornea transplants are not covered at
                                                                              Cigna LIFESOURCE Transplant Network® facilities.
                                                                              Transplant services, including cornea, received at
                                                                              participating facilities specifically contracted with Cigna for
                                                                              those Transplant services, other than Cigna LIFESOURCE
                                                                              Transplant Network® facilities, are payable at the In-
                                                                              Network level.
                                                                              Coverage for organ procurement costs are limited to costs
                                                                              directly related to the procurement of an organ, from a
                                                                              cadaver or a live donor. Organ procurement costs shall
                                                                              consist of surgery necessary for organ removal, organ
                                                                              transportation and the transportation, hospitalization and
                                                                              surgery of a live donor. Compatibility testing undertaken
                                                                              prior to procurement is covered if Medically Necessary.
                                                                              Costs related to the search for, and identification of a bone



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  marrow or stem cell donor for an allogeneic transplant are              coverage status of a Medical Pharmaceutical include, but are
  also covered.                                                           not limited to, an increase in the cost of a Medical
                                                                          Pharmaceutical.
HC-COV504                                                    11-15
                                                               V1         HC-COV602                                                      10-16



Medical Pharmaceuticals                                                   Gene Therapy
The plan covers charges made for Medical Pharmaceuticals                  Charges for gene therapy products and services directly
that are administered in an Inpatient setting, Outpatient                 related to their administration are covered when Medically
setting, Physician’s office, or in a covered person's home.               Necessary. Gene therapy is a category of pharmaceutical
Benefits under this section are provided only for Medical                 products approved by the U.S. Food and Drug Administration
Pharmaceuticals which, due to their characteristics (as                   (FDA) to treat or cure a disease by:
determined by Cigna), are required to be administered, or the                replacing a disease-causing gene with a healthy copy of the
administration of which must be directly supervised, by a                     gene.
qualified Physician. Benefits payable under this section                     inactivating a disease-causing gene that may not be
include Medical Pharmaceuticals whose administration may                      functioning properly.
initially, or typically, require Physician oversight but may be
self-administered under certain conditions specified in the                  introducing a new or modified gene into the body to help
product’s FDA labeling. Certain Medical Pharmaceuticals are                   treat a disease.
subject to prior authorization requirements or other coverage             Each gene therapy product is specific to a particular disease
conditions. Additionally, certain Medical Pharmaceuticals are             and is administered in a specialized manner. Cigna determines
subject to step therapy requirements. This means that in order            which products are in the category of gene therapy, based in
to receive benefits for such Medical Pharmaceuticals, you are             part on the nature of the treatment and how it is distributed
required to try a different Medical Pharmaceutical and/or                 and administered.
Prescription Drug Product first.                                          Coverage includes the cost of the gene therapy product;
The Cigna Business Decision Team determines whether                       medical, surgical, and facility services directly related to
utilization management requirements or other coverage                     administration of the gene therapy product; and professional
conditions should apply to a Medical Pharmaceutical by                    services.
considering a number of factors, including, but not limited to,           Gene therapy products and their administration are covered
clinical and economic factors. Clinical factors may include,              when prior authorized to be received at In-Network facilities
but are not limited to, the P&T Committee’s evaluations of the            specifically contracted with Cigna for the specific gene
place in therapy, relative safety or relative efficacy of Medical         therapy service. Gene therapy products and their
Pharmaceuticals as well as whether utilization management                 administration received at other facilities are not covered.
requirements should apply. Economic factors may include, but
are not limited to, the Medical Pharmaceutical’s cost                     Gene Therapy Travel Services
including, but not limited to, assessments on the cost                    Charges made for non-taxable travel expenses incurred by you
effectiveness of the Medical Pharmaceuticals and available                in connection with a prior authorized gene therapy procedure
rebates. When considering a Medical Pharmaceutical for a                  are covered subject to the following conditions and
coverage status, the Business Decision Team reviews clinical              limitations.
and economic factors regarding enrollees as a general                     Benefits for transportation and lodging are available to you
population across its book-of-business. Regardless of its                 only when you are the recipient of a prior authorized gene
eligibility for coverage under your plan, whether a particular            therapy; and when the gene therapy products and services
Prescription Drug Product is appropriate for you or any of                directly related to their administration are received at a
your Dependents is a determination that is made by you (or                participating In-Network facility specifically contracted with
your Dependent) and the prescribing Physician.                            Cigna for the specific gene therapy service. The term recipient
The coverage criteria for a Medical Pharmaceutical may                    is defined to include a person receiving prior authorized gene
change periodically for various reasons. For example, a                   therapy related services during any of the following:
Medical Pharmaceutical may be removed from the market, a                  evaluation, candidacy, event, or post care.
new Medical Pharmaceutical in the same therapeutic class as a             Travel expenses for the person receiving the gene therapy
Medical Pharmaceutical may become available, or other                     include charges for: transportation to and from the gene
market events may occur. Market events that may affect the                therapy site (including charges for a rental car used during a


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period of care at the facility); and lodging while at, or                      any of the following: Department of Energy, Department of
traveling to and from, the site.                                                Defense, Department of Veterans Affairs, if both of the
In addition to your coverage for the charges associated with                    following conditions are met:
the items above, such charges will also be considered covered                    the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The                           approved through a system of peer review comparable to
term companion includes your spouse, a member of your                             the system of peer review of studies and investigations
family, your legal guardian, or any person not related to you,                    used by the National Institutes of Health (NIH); and
but actively involved as your caregiver who is at least 18 years                 the study or investigation assures unbiased review of the
of age.                                                                           highest scientific standards by qualified individuals who
The following are specifically excluded travel expenses: any                      have no interest in the outcome of the review.
expenses that if reimbursed would be taxable income, travel                    the study or investigation is conducted under an
costs incurred due to travel within 60 miles of your home;                      investigational new drug application reviewed by the U.S.
food and meals; laundry bills; telephone bills; alcohol or                      Food and Drug Administration (FDA).
tobacco products; and charges for transportation that exceed
coach class rates.                                                             the study or investigation is a drug trial that is exempt from
                                                                                having such an investigational new drug application.
                                                                            The plan does not cover any of the following services
HC-COV886                                                      01-20
                                                                            associated with a clinical trial:
                                                                               services that are not considered routine patient care costs
Clinical Trials                                                                 and services, including the following:
This plan covers routine patient care costs and services related                 the investigational drug, device, item, or service that is
to an approved clinical trial for a qualified individual. The                     provided solely to satisfy data collection and analysis
individual must be eligible to participate according to the trial                 needs.
protocol and either of the following conditions must be met:                     an item or service that is not used in the direct clinical
   the referring health care professional is a participating                     management of the individual.
    health care provider and has concluded that the individual’s                 a service that is clearly inconsistent with widely accepted
    participation in such trial would be appropriate; or                          and established standards of care for a particular
   the individual provides medical and scientific information                    diagnosis.
    establishing that the individual’s participation in the                    an item or service provided by the research sponsors free of
    qualified trial would be appropriate.                                       charge for any person enrolled in the trial.
In addition to qualifying as an individual, the clinical trial                 travel and transportation expenses, unless otherwise covered
must also meet certain criteria in order for patient care costs                 under the plan, including but not limited to the following:
and services to be covered.
                                                                                 fees for personal vehicle, rental car, taxi, medical van,
The clinical trial must be a phase I, phase II, phase III, or                     ambulance, commercial airline, train.
phase IV clinical trial conducted in relation to the prevention,
detection, or treatment of cancer or other life-threatening                      mileage reimbursement for driving a personal vehicle.
disease or condition that meets any of the following criteria:                   lodging.
   it is a federally funded trial. The study or investigation is                meals.
    approved or funded (which may include funding through in-                  routine patient costs obtained out-of-network when Out-of-
    kind contributions) by one or more of the following:                        Network benefits do not exist under the plan.
     National Institutes of Health (NIH).                                  Examples of routine patient care costs and services include:
     Centers for Disease Control and Prevention (CDC).                        radiological services.
     Agency for Health Care Research and Quality (AHRQ).                      laboratory services.
     Centers for Medicare and Medicaid Services (CMS).                        intravenous therapy.
     a cooperative group or center of any of the entities                     anesthesia services.
      described above or the Department of Defense (DOD) or
      the Department of Veterans Affairs (VA).                                 Physician services.
     a qualified non-governmental research entity identified in               office services.
      NIH guidelines for center support grants.                                Hospital services.


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   Room and Board, and medical supplies that typically would
    be covered under the plan for an individual who is not
    enrolled in a clinical trial.



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                                         Prescription Drug Benefits
                                                    The Schedule

For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.

Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Your Copayment or Coinsurance will not exceed the retail price of the Prescription Drug Product. For more information,
refer to the Prescription Drug Benefits - Your Payments section.

Calendar Year Deductible
Deductibles are amounts incurred by you or your Dependent for Covered Prescription Drug Products before becoming
eligible for benefits that are payable under this plan. These Deductibles are in addition to any Copayments or Coinsurance.
Once the Deductible maximum shown in The Schedule has been reached you and your family need not satisfy any further
Prescription Drug Deductible for the rest of that year.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at
participating pharmacies at 100% with no deductible and if applicable at non-participating pharmacies, the same as the out
of network medical cost share for injectable/IV chemotherapy, or at 80% with no deductible, whichever is higher.
Specialty Drugs
Your cost share for a Specialty Drug will not exceed $150 per 30-day supply. A Specialty Drug does not include drugs to
treat diabetes, HIV or AIDS.
Drugs Prescribed to Treat Diabetes, HIV, or AIDS
Your cost share for a drugs prescribed to treat diabetes, HIV, or AIDS will not exceed $150 per 30 day supply.

Diabetes Test Strips
Diabetes Test Strips necessary for the treatment of diabetes; or elevated or impaired blood glucose levels induced by
pregnancy, are covered at 100% after deductible, if applicable.

                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Calendar Year Deductible
  Individual                              $100 per person                           $100 per person
  Family                                  $200 per family                           $200 per family


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                                                        NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                       PHARMACY                                 PHARMACY
Out-of-Pocket Maximum
  Individual                              Refer to the Medical Benefits              Refer to the Medical Benefits
                                          Schedule                                   Schedule
  Family                                  Refer to the Medical Benefits              Refer to the Medical Benefits
                                          Schedule                                   Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Pharmacy or home delivery Pharmacy.
Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.
The cost share for contraceptives must be the same as any other prescription coverage under the customer's plan for a 12
month supply. There will not be a cost share applied to an FDA approved contraceptive.
If a carrier increases the copayment for a single dispensing of a 12 month supply of a prescription contraceptive, the
carrier must also increase the dispensing fee paid the dispensing pharmacist.
An insurer may apply a cost share to a drug or device that the FDA has determined to be therapeutically equivalent to
another contraceptive drug or device and is available under the same plan without a cost share requirement.

.
Prescription Drug Products at             The amount you pay for up to a             The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a             consecutive 30-day supply at a non-
                                          Network Pharmacy                           Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $15 Copay after            20% after pharmacy Deductible
  Drug List                               pharmacy Deductible

Tier 2
  Brand Drugs designated as               No charge after $45 Copay after            20% after pharmacy Deductible
  preferred on the Prescription Drug      pharmacy Deductible
  List
Tier 3
  Brand Drugs designated as non-          No charge after $75 Copay after            20% after pharmacy Deductible
  preferred on the Prescription Drug      pharmacy Deductible
  List
Tier 4
  Self-Administered Injectable            50%, subject to a maximum of $100,         20% after pharmacy Deductible
  Specialty Prescription Drug             then the Plan pays 100% after
  Products                                pharmacy Deductible
  .




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                                                   NETWORK                           NON-NETWORK
     BENEFIT HIGHLIGHTS
                                                  PHARMACY                            PHARMACY
Prescription Drug Products at          The amount you pay for up to a       The amount you pay for up to a
Retail Pharmacies                      consecutive 90-day supply at a       consecutive 90-day supply at a non-
                                       Network Pharmacy                     Network Pharmacy

Tier 1
  Generic Drugs on the Prescription    No charge after $30 Copay after      20% after pharmacy Deductible
  Drug List                            pharmacy Deductible

Tier 2
  Brand Drugs designated as            No charge after $90 Copay after      20% after pharmacy Deductible
  preferred on the Prescription Drug   pharmacy Deductible
  List

Tier 3
  Brand Drugs designated as non-       No charge after $150 Copay after     20% after pharmacy Deductible
  preferred on the Prescription Drug   pharmacy Deductible
  List

Tier 4
  Self-Administered Injectable         50%, subject to a maximum of $200,   20% after pharmacy Deductible
  Specialty Prescription Drug          then the Plan pays 100% after
  Products                             pharmacy Deductible

Prescription Drug Products at          The amount you pay for up to a       The amount you pay for up to a
Home Delivery Pharmacies               consecutive 90-day supply at a       consecutive 90-day supply at a non-
                                       Network Pharmacy                     Network Pharmacy
Tier 1
  Generic Drugs on the Prescription    No charge after $30 Copay after      In-network coverage only
  Drug List                            pharmacy Deductible
Tier 2
  Brand Drugs designated as            No charge after $90 Copay after      In-network coverage only
  preferred on the Prescription Drug   pharmacy Deductible
  List

Tier 3
  Brand Drugs designated as non-       No charge after $150 Copay after     In-network coverage only
  preferred on the Prescription Drug   pharmacy Deductible
  List

Tier 4
  Self-Administered Injectable         50%, subject to a maximum of $200,   In-network coverage only
  Specialty Prescription Drug          then the Plan pays 100% after
  Products                             pharmacy Deductible




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Prescription Drug Benefits                                               Brand Drugs or Specialty Prescription Drug Products. The
                                                                         Business Decision Team makes the final assignment of a
                                                                         Prescription Drug Product to a certain coverage tier on the
Covered Expenses                                                         Prescription Drug List and decides whether utilization
Your plan provides benefits for Prescription Drug Products               management requirements or other coverage conditions should
dispensed by a Pharmacy. Details regarding your plan’s                   apply to a Prescription Drug Product by considering a number
Covered Expenses, which for the purposes of the Prescription             of factors including, but not limited to, clinical and economic
Drug Benefit include Medically Necessary Prescription Drug               factors. Clinical factors may include, but are not limited to, the
Products ordered by a Physician, Limitations, and Exclusions             P&T Committee’s evaluations of the place in therapy, relative
are provided below and are shown in The Schedule.                        safety or relative efficacy of the Prescription Drug Product, as
If you or any one of your Dependents, while insured for                  well as whether certain supply limits or other utilization
Prescription Drug Benefits, incurs expenses for charges made             management requirements should apply. Economic factors
by a Pharmacy for Medically Necessary Prescription Drug                  may include, but are not limited to, the Prescription Drug
Products ordered by a Physician, your plan provides coverage             Product's acquisition cost including, but not limited to,
for those expenses as shown in The Schedule. Your benefits               assessments on the cost effectiveness of the Prescription Drug
may vary depending on which of the Prescription Drug List                Product and available rebates. When considering a
tiers the Prescription Drug Product is listed, or the Pharmacy           Prescription Drug Product for tier placement on the
that provides the Prescription Drug Product.                             Prescription Drug List or other coverage conditions, the
                                                                         Business Decision Team reviews clinical and economic
Coverage under your plan’s Prescription Drug Benefits also               factors regarding enrollees as a general population across its
includes:                                                                book-of-business. Regardless of its eligibility for coverage
Smoking cessation treatment coverage of:                                 under the plan, whether a particular Prescription Drug Product
   any drug that is approved by the United States Food and              is appropriate for you or any of your Dependents is a
    Drug Administration as an aid for the cessation of the use of        determination that is made by you or your Dependent and the
    tobacco products; and is obtained under a prescription               prescribing Physician.
    written by an authorized prescriber; and                             The coverage status of a Prescription Drug Product may
   two 90-day courses of nicotine replacement therapy during            change periodically for various reasons. For example, a
    each policy year.                                                    Prescription Drug Product may be removed from the market, a
                                                                         New Prescription Drug Product in the same therapeutic class
Coverage for any FDA-approved contraceptive drug or device               as a Prescription Drug Product may become available, or other
for use as a contraceptive obtained under a prescription or              market events may occur. Market events that may affect the
over-the-counter (OTC), without a prescription. Benefits for             coverage status of a Prescription Drug Product include, but are
prescription contraceptives are not limited to those prescribed          not limited to, an increase in the acquisition cost of a
by a Physician or prescribed by other types of providers that            Prescription Drug Product. As a result of coverage changes,
do not include pharmacists.                                              for the purposes of benefits the plan may require you to pay
Medically Necessary Prescription Drug Products dispensed                 more or less for that Prescription Drug Product, to obtain the
pursuant to a Prescription Order or Refill issued to you or your         Prescription Drug Product from a certain Pharmacy(ies) for
Dependents by a licensed dentist for the prevention of                   coverage, or try another covered Prescription Drug Product(s).
infection or pain in conjunction with a dental procedure.                Please access the internet through the website shown on your
When you or a Dependent are issued a Prescription Order or               ID card or call member services at the telephone number on
Refill for Medically Necessary Prescription Drug Products as             your ID card for the most up-to-date tier status, utilization
part of the rendering of Emergency Services and Cigna                    management, or other coverage limitations for a Prescription
determines that it cannot reasonably be filled by a Network              Drug Product.
Pharmacy, the prescription will be covered pursuant to the, as           If you are prescribed a drug that is not on Cigna's Prescription
applicable, Copayment or Coinsurance for the Prescription                Drug List (formulary), and in the judgment of your prescribing
Drug Product when dispensed by a Network Pharmacy.                       Physician:
Prescription Drug List Management                                           there is no equivalent drug or device in the formulary;
The Prescription Drug List (or formulary) offered under your                an equivalent formulary drug or device has been either
Employer’s plan is managed by the Cigna Business Decision                    ineffective in treating your disease or condition or has been
Team. Your plan’s Prescription Drug List coverage tiers may                  or is likely to cause an adverse reaction or other harm to
contain Prescription Drug Products that are Generic Drugs,                   you; or



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   for a contraceptive prescription drug or device that is not on          When you submit a claim on this basis, you will need to
    Cigna's Prescription Drug List, is medically necessary for              submit a paper claim using the form that appears on the
    you to adhere to the appropriate use of the prescription drug           website shown on your ID card.
    or device.                                                              If a prior authorization request is approved, your Physician
Call member services at the telephone number on your ID                     will receive confirmation. The authorization will be processed
card, to get information about Cigna's procedures to cover a                in the claim system to allow you to have coverage for the
drug or device that is not on the Prescription Drug List.                   Prescription Drug Product. The length of the authorization
                                                                            may depend on the diagnosis and the Prescription Drug
                                                                            Product. The authorization will at all times be subject to the
HC-PHR330                                                      01-19
                                                                            plan’s terms of coverage for the Prescription Drug Product,
                                                                            which may change from time to time. When your Physician
                                                                            advises you that coverage for the Prescription Drug Product
Limitations                                                                 has been approved, you can contact a Pharmacy to fill the
In the event you or your Dependent or your Physician insist on              covered Prescription Order or Refill.
a more expensive Brand Drug where a Generic Drug is                         If the prior authorization request is denied, your Physician and
available, you will be financially responsible for the amount               you will be notified that coverage for the Prescription Drug
by which the cost of the Brand Drug exceeds the cost of the                 Product is not authorized. If you disagree with a coverage
Generic Drug, plus any required Brand Drug Copayment                        decision, you may appeal that decision in accordance with the
and/or Coinsurance. The amount by which the cost of the                     provisions of the plan by submitting a written request stating
Brand Drug exceeds the cost of the Generic Drug will not                    why the Prescription Drug Product should be covered.
apply to your Deductible, if any, or Out-of-Pocket Maximum.                 Prescription Drug Products prescribed for the treatment of an
Prior Authorization Requirements                                            opioid use disorder that contains methadone, buprenorphine,
Coverage for certain Prescription Drug Products prescribed to               or naltrexone will not be subject to any prior authorization
you requires your Physician to obtain prior authorization from              requirements.
Cigna or its Review Organization. The reason for obtaining                  Cigna's formulary includes at least one Opioid Antagonist that
prior authorization from Cigna is to determine whether the                  does not require prior authorization. Opioid Antagonist means
Prescription Drug Product is Medically Necessary in                         Naloxone Hydrochloride or any other similarly acting and
accordance with Cigna's coverage criteria. Coverage criteria                equally safe drug approved by the FDA for the treatment of a
for a Prescription Drug Product may vary based on the clinical              drug overdose.
use for which the Prescription Order or Refill is submitted,                A contraceptive drug or device that is an intrauterine device,
and may change periodically based on changes in, without                    or an implantable rod, will not be subject to prior authorization
limitation, clinical guidelines or practice standards, or market            requirements, if it is approved by the U.S. Food and Drug
factors.                                                                    Administration, and is obtained under a prescription written by
If Cigna or its Review Organization reviews the                             an authorized prescriber.
documentation provided and determines that the Prescription                 Step Therapy
Drug Product is not Medically Necessary or otherwise
                                                                            Certain Prescription Drug Products are subject to step therapy
excluded, your plan will not cover the Prescription Drug
                                                                            requirements. This means that in order to receive Benefits for
Product. Cigna, or its Review Organization, will not review
                                                                            such Prescription Drug Products you are required to try a
claims for excluded Prescription Drug Products or other
                                                                            different Prescription Drug Product(s) first unless you satisfy
services to determine if they are Medically Necessary, unless
                                                                            the plan's exception criteria. You may identify whether a
required by law.
                                                                            particular Prescription Drug Product is subject to step therapy
When Prescription Drug Products that require prior                          requirements at the website shown on your ID card or by
authorization are dispensed at a Pharmacy, you or your                      calling member services at the telephone number on your ID
prescribing Physician are responsible for obtaining prior                   card.
authorization from Cigna. If you do not obtain prior
                                                                            Step Therapy Exception for Abuse-Deterrent Opioid
authorization from us before the Prescription Drug Product is
                                                                            Analgesic Drug Product: You will not be required to first use
dispensed by the Pharmacy, you can ask us to consider
                                                                            an Opioid Analgesic Drug Product without abuse-deterrent
reimbursement after you pay for and receive the Prescription
                                                                            labeling before being providing coverage for an Abuse-
Drug Product. You will need to pay for the Prescription Drug
                                                                            Deterrent Opioid Analgesic Drug Product covered on Cigna's
Product at the Pharmacy prior to submitting a reimbursement
                                                                            prescription drug list.
request.



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Step Therapy does not apply if the Prescription Drug Product             Specialty Prescription Drug Products
is used to treat stage four advanced metastatic cancer; and use          Benefits are provided for Specialty Prescription Drug
of the Prescription Drug Product is:                                     Products. If you require Specialty Prescription Drug Products,
   consistent with the U.S. Food and Drug Administration                you may be directed to a Designated Pharmacy with whom
    approved indication; or the National Comprehensive Cancer            Cigna has an arrangement to provide those Specialty
    Network Drugs & Biologics Compendium indication for the              Prescription Drug Products. If you are beginning a therapy
    treatment of stage four advanced metastatic cancer; and              regimen on a Specialty Prescription Drug Product, we may
   supported by peer-reviewed medical literature.                       limit your coverage for the initial Prescription Order or Refill
                                                                         to multiple, separate fills of less than the total days’ supply set
Supply Limits                                                            forth in the Schedule of Benefits. If applicable, you will pay a
Benefits for Prescription Drug Products are subject to the               pro-rated Coinsurance or Copayment amount for each such
supply limits that are stated in The Schedule. For a single              supply.
Prescription Order or Refill, you may receive a Prescription             Designated Pharmacies
Drug Product up to the stated supply limit.
                                                                         If you require Specialty Prescription Drug Products, we may
You may request a single dispensing of a six (6) month supply            direct you to a Designated Pharmacy with whom we have an
of a prescription contraceptive.                                         arrangement to provide those Specialty Prescription Drug
Some products are subject to additional supply limits, quantity          Products. If you are directed to a Designated Pharmacy and
limits or dosage limits based on coverage criteria that have             you choose not to obtain your Specialty Prescription Drug
been approved based on consideration of the P&T                          Product from a Designated Pharmacy, you may not receive
Committee’s clinical findings. Coverage criteria are subject to          coverage for the Specialty Prescription Drug Product or be
periodic review and modification. The limit may restrict the             subject to the non-Network Pharmacy Benefit, if any, for that
amount dispensed per Prescription Order or Refill and/or the             Specialty Prescription Drug Product. Refer to The Schedule
amount dispensed per month's supply, or may require that a               for further information.
minimum amount be dispensed.                                             New Prescription Drug Products
You may determine whether a Prescription Drug Product has                The Business Decision Team may or may not place a New
been assigned a dispensing supply limit or similar limit or              Prescription Drug Product on a Prescription Drug List tier
requirement at the website shown on your ID card or by                   upon its market entry. The Business Decision Team will use
calling member services at the telephone number on your ID               reasonable efforts to make a tier placement decision for a New
card.                                                                    Prescription Drug Product within six months of its market
Coverage will be provided for a refill of any Prescription Drug          availability. The Business Decision Team’s tier placement
Product prescribed for the treatment of a chronic illness, if the        decision shall be based on consideration of, without limitation,
refill is scheduled to synchronize with your other/multiple              the P&T Committee’s clinical review of the New Prescription
Prescription Drug Product refills in accordance with a plan              Drug Product and economic factors. If a New Prescription
made between you, your health care practitioner and the                  Drug Product not listed on the Prescription Drug List is
pharmacist.                                                              approved by Cigna or its Review Organization as Medically
When synchronizing a refill of a Prescription Drug Product               Necessary in the interim, the New Prescription Drug Product
with your other Prescription Drug Products, you will pay a               shall be covered at the applicable coverage tier as set forth in
pro-rated copay or coinsurance for the partial supply if                 The Schedule.
dispensed by an in-Network Pharmacy, and under the
following conditions:                                                    HC-PHR265                                                      01-20
   you, and your Physician or Pharmacy believes that                                                                                     V1
    dispensing a partial supply of the Prescription Drug Product
    is in your best interest;
   it is anticipated the prescription drug will be required for         Your Payments
    more than 3 months;
                                                                         Covered Prescription Drug Products purchased at a Pharmacy
   the Prescription Drug Product is not a Schedule II controlled        are subject to any applicable Deductible, Copayments or
    dangerous substance; and                                             Coinsurance shown in The Schedule, as well as any
   the supply and dispensing of the Prescription Drug Product           limitations or exclusions set forth in this plan. Please refer to
    meet all other applicable utilization management                     The Schedule for any required Copayments, Coinsurance,
    requirements.                                                        Deductibles or Out-of-Pocket Maximums.



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Deductible                                                            other benchmark price applied by Cigna) for the Prescription
Your plan requires that you pay the costs for covered                 Drug Product.
Prescription Drug Products up to the Deductible amount set            When a treatment regimen contains more than one type of
forth in The Schedule. Until you meet that Deductible amount,         Prescription Drug Products that are packaged together for your
your costs under the plan for a covered Prescription Drug             or your Dependent's convenience, any applicable Copayment
Product dispensed by a Network Pharmacy will be the lowest            or Coinsurance may apply to each Prescription Drug Product.
of the following amounts:                                             You will need to obtain prior approval from Cigna or its
   the Prescription Drug Charge; or                                  Review Organization for any Prescription Drug Product not
   the Network Pharmacy’s submitted Usual and Customary              listed on the Prescription Drug List that is not otherwise
    (U&C) Charge, if any.                                             excluded. If Cigna or its Review Organization approves
                                                                      coverage for the Prescription Drug Product because it meets
The Schedule sets forth your costs for covered Prescription           the applicable coverage exception criteria, the Prescription
Drug Products after you have satisfied the Deductible amount.         Drug Product shall be covered at the applicable coverage tier
Copayment                                                             as set forth in The Schedule.
Your plan requires that you pay a Copayment for covered               The amount you or your Dependent pays for any excluded
Prescription Drug Products as set forth in The Schedule. After        Prescription Drug Product or other product or service will not
satisfying any applicable annual Deductible set forth in The          be included in calculating any applicable plan Out-of-Pocket
Schedule, your costs under the plan for a covered Prescription        Maximum. You are responsible for paying 100% of the cost
Drug Product dispensed by a Network Pharmacy and that is              (the amount the Pharmacy charges you) for any excluded
subject to a Copayment requirement will be the lowest of the          Prescription Drug Product or other product.
following amounts:
   the Copayment for the Prescription Drug Product set forth         HC-PHR272                                                       01-19
    in The Schedule; or                                                                                                                 V2
   the Prescription Drug Charge; or
   the Network Pharmacy’s submitted Usual and Customary
    (U&C) Charge, if any.                                             Exclusions
Coinsurance                                                           Coverage exclusions listed under the “Exclusions, Expenses
Your plan requires that you pay a Coinsurance amount for              Not Covered and General Limitations” section also apply to
covered Prescription Drug Products as set forth in The                benefits for Prescription Drug Products. In addition, the
Schedule. After satisfying any applicable annual Deductible           exclusions listed below apply to benefits for Prescription Drug
set forth in The Schedule, your costs under the plan for a            Products. When an exclusion or limitation applies to only
covered Prescription Drug Product dispensed by a Network              certain Prescription Drug Products, you can access the internet
Pharmacy and that is subject to a Coinsurance requirement             through the website shown on your ID card or call member
will be the lowest of the following amounts:                          services at the telephone number on your ID card for
                                                                      information on which Prescription Drug Products are
   the amount that results from applying the applicable
                                                                      excluded.
    Coinsurance percentage set forth in The Schedule to the
    Prescription Drug Charge; or                                         coverage for Prescription Drug Products for the amount
                                                                          dispensed (days' supply) which exceeds the applicable
   the Network Pharmacy’s submitted Usual and Customary
                                                                          supply limit, or is less than any applicable supply minimum
    (U&C) Charge, if any.
                                                                          set forth in The Schedule, or which exceeds quantity limit(s)
Payments at Non-Network Pharmacies                                        or dosage limit(s) set by the P&T Committee.
Any reimbursement due to you under this plan for a covered               more than one Prescription Order or Refill for a given
Prescription Drug Product dispensed by a non-Network                      prescription supply period for the same Prescription Drug
Pharmacy may be determined by applying the Deductible, if                 Product prescribed by one or more Physicians and
any, and/or non-Network Pharmacy Coinsurance amount set                   dispensed by one or more Pharmacies.
forth in The Schedule to the average wholesale price (or
                                                                         Prescription Drug Products dispensed outside the
“AWP”), or other benchmark price Cigna applies, for a
                                                                          jurisdiction of the United States, except as required for
Prescription Drug Product dispensed by a non-Network
                                                                          emergency or Urgent Care treatment.
Pharmacy. Your reimbursement, if any, for a covered
Prescription Drug Product dispensed by a non-Network                     Prescription Drug Products which are prescribed, dispensed
Pharmacy will never exceed the average wholesale price (or                or intended to be taken by or administered to you while you


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    are a patient in a licensed Hospital, Skilled Nursing Facility,             Injury, unless coverage for such product(s) is required by
    rest home, rehabilitation facility, or similar institution which            federal or state law.
    operates on its premises or allows to be operated on its                   immunization agents, biological products for allergy
    premises a facility for dispensing pharmaceutical products.                 immunization, biological sera, blood, blood plasma and
   Prescription Drug Products furnished by the local, state or                 other blood products or fractions and medications used for
    federal government (except for a Network Pharmacy owned                     travel prophylaxis.
    or operated by a local, state or federal government), and                  certain Prescription Drug Products that are a Therapeutic
    except for covered services that have been paid for or                      Equivalent or Therapeutic Alternative to another covered
    provided by the Department of Health and Mental Hygiene                     Prescription Drug Product(s). Such coverage determinations
    to an insured, if Cigna receives sufficient information from                may be made periodically, and benefits for a Prescription
    the department to justify reimbursement within 2 years of                   Drug Product that was previously excluded under this
    the service date).                                                          provision may be reinstated at any time.
   any product dispensed for the purpose of appetite                          medications that are experimental investigational or
    suppression (anorectics) or weight loss.                                    unproven as described under the “General Exclusion and
   prescription and non-prescription supplies other than                       Limitations” section of your plan’s certificate.
    supplies covered as Prescription Drug Products.
   vitamins, except prenatal vitamins that require a                       HC-PHR331                                                    01-19
    Prescription Order or Refill, unless coverage for such
    product(s) is required by federal or state law.
   medications used for cosmetic purposes, including, without
                                                                            Reimbursement/Filing a Claim
    limitation, medications used to reduce wrinkles,
    medications used to promote hair growth, or medications                 Retail Pharmacy
    used to control perspiration and fade cream products.                   When you or your Dependents purchase your Prescription
   Prescription Drug Products as a replacement for a                       Drug Products through a Network Pharmacy, you pay any
    previously dispensed Prescription Drug Product that was                 applicable Copayment, Coinsurance, or Deductible shown in
    lost, stolen, broken or destroyed.                                      The Schedule at the time of purchase. You do not need to file
                                                                            a claim form for a Prescription Drug Product obtained at a
   Medical Pharmaceuticals covered solely under the plan’s
                                                                            Network Pharmacy unless you pay the full cost of a
    medical benefits.
                                                                            Prescription Drug Product at a Network Pharmacy and later
   any ingredient(s) in a compounded Prescription Drug                     seek reimbursement for the Prescription Drug Product under
    Product that has not been approved by the U.S. Food and                 the plan. For example, if you must pay the full cost of a
    Drug Administration (FDA).                                              Prescription Drug Product to the retail Network Pharmacy
   medications available over-the-counter that do not require a            because you did not have your ID card, then you must submit
    Prescription Order or Refill by federal or state law before             a claim to Cigna for any reimbursement or benefit you believe
    being dispensed, unless state or federal law requires                   is due to you under this plan. If, under this example, your
    coverage of such medications, such as FDA-approved                      payment to the retail Network Pharmacy for the covered
    contraceptive drugs that are available by prescription or               Prescription Drug Product exceeds any applicable copay, then
    over-the-counter, or the over-the-counter medication has                you will be reimbursed the difference, if any, between the
    been designated as eligible for coverage as if it were a                applicable copay and the Prescription Drug Charge for the
    Prescription Drug Product.                                              Prescription Drug Product.
   certain Prescription Drug Products that are a Therapeutic               If you obtain a covered Prescription Drug Product dispensed
    Equivalent or Therapeutic Alternative to an over-the-                   by a non-Network Pharmacy, then you must pay the non-
    counter drug(s), or are available in over-the-counter form.             Network Pharmacy for the Prescription Drug Product and then
    Such coverage determinations may be made periodically,                  submit a claim to Cigna for any reimbursement or benefit you
    and benefits for a Prescription Drug Product that was                   believe is due to you under this plan. You can obtain a claim
    previously excluded under this provision may be reinstated              form through the website shown on your ID card or by calling
    at any time.                                                            member services at the telephone number on your ID card.
   any product for which the primary use is a source of
    nutrition, nutritional supplements, or dietary management of            HC-PHR273                                                    01-19
    disease, even when used for the treatment of Sickness or                                                                                 V2




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Exclusions, Expenses Not Covered and                                           treatments, procedures, drug or Biologic therapies or
                                                                               devices that are determined by the utilization review
General Limitations                                                            Physician to be:
Exclusions and Expenses Not Covered                                             not approved by the U.S. Food and Drug Administration
Additional coverage limitations determined by plan or                            (FDA) or other appropriate regulatory agency to be
provider type are shown in The Schedule. Payment for the                         lawfully marketed;
following is specifically excluded from this plan:                              not demonstrated, through existing peer-reviewed,
 care required by state or federal law to be supplied by a                      evidence-based, scientific literature to be safe and
  public school system or school district. Behavioral care                       effective for treating or diagnosing the condition or
  services provided by a Participating Provider will not be                      Sickness for which its use is proposed;
  denied solely because it was rendered at a public school or                   the subject of review or approval by an Institutional
  through a school based health center.                                          Review Board for the proposed use except as provided in
   care for military service disabilities treatable through                     the “Clinical Trials” sections of this plan; or
    governmental services if you are legally entitled to such                   the subject of an ongoing phase I, II, III or IV clinical
    treatment and facilities are reasonably available.                           trial, except for routine patient care costs related to
   treatment of an Injury or Sickness which is due to war,                      qualified clinical trials as provided in the “Clinical Trials”
    declared, or undeclared.                                                     sections of this plan.
   charges which you are not obligated to pay or for which you                In determining whether any such technologies, supplies,
    are not billed or for which you would not have been billed                 treatments, drug or Biologic therapies, or devices are
    except that they were covered under this plan. For example,                experimental, investigational, and/or unproven, the
    if Cigna determines that a provider or Pharmacy is or has                  utilization review Physician may rely on the clinical
    waived, reduced, or forgiven any portion of its charges                    coverage policies maintained by Cigna or the Review
    and/or any portion of Copayment, Deductible, and/or                        Organization. Clinical coverage policies may incorporate,
    Coinsurance amount(s) you are required to pay for a                        without limitation and as applicable, criteria relating to U.S.
    Covered Expense (as shown on The Schedule) without                         Food and Drug Administration-approved labeling, the
    Cigna's express consent, then Cigna in its sole discretion                 standard medical reference compendia and peer-reviewed,
    shall have the right to deny the payment of benefits in                    evidence-based scientific literature or guidelines.
    connection with the Covered Expense, or reduce the                         The plan or policy shall not deny coverage for a drug or
    benefits in proportion to the amount of the Copayment,                     Biologic therapy as experimental, investigational and
    Deductible, and/or Coinsurance amounts waived, forgiven                    unproven if the drug or Biologic therapy is otherwise
    or reduced, regardless of whether the provider or Pharmacy                 approved by the FDA to be lawfully marketed, has not been
    represents that you remain responsible for any amounts that                contraindicated by the FDA for the use for which the drug
    your plan does not cover. This exclusion includes, but is not              or Biologic has been prescribed, and is being offered in a
    limited to, charges of a non-Participating Provider, that                  clinical trial approved by one of the following:
    exceed those agreed upon, if the provider has agreed to                     the national institutes of health (NIH);
    charge you or charged you at an in-network benefits level or
                                                                                an NIH cooperative group or an NIH center;
    some other benefits level not otherwise applicable to the
    services received.                                                          the FDA in the form of an investigational new drug
   charges arising out of or relating to any violation of a                     application;
    healthcare-related state or federal law or which themselves                 the federal department of veterans affairs; or
    are a violation of a healthcare-related state or federal law.               an institutional review board of an institution in the state
   assistance in the activities of daily living, including but not              that has a multiple project assurance contract approved by
    limited to eating, bathing, dressing or other Custodial                      the office of protection from research risks of the NIH.
    Services or self-care activities, homemaker services and                  cosmetic surgery and therapies, except as specified in the
    services primarily for rest, domiciliary or convalescent care.             “Breast Reconstruction and Breast Prostheses” section of
   for or in connection with experimental, investigational or                 this plan. Cosmetic surgery or therapy is defined as surgery
    unproven services.                                                         or therapy performed to improve or alter appearance or self-
    Experimental, investigational and unproven services are                    esteem.
    medical, surgical, diagnostic, psychiatric, substance use                 the following services are excluded from coverage
    disorder or other health care technologies, supplies,                      regardless of clinical indications: macromastia or



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    gynecomastia surgeries; surgical treatment of varicose                   medical and Hospital care and costs for the infant child of a
    veins; abdominoplasty; panniculectomy; rhinoplasty;                       Dependent, unless this infant child is otherwise eligible
    blepharoplasty; redundant skin surgery; removal of skin                   under this plan. However, this exclusion does not apply to
    tags; acupressure; craniosacral/cranial therapy; dance                    charges for inpatient hospitalization services and home
    therapy; movement therapy; applied kinesiology; rolfing;                  visits, with respect to a newborn child, as provided in the
    prolotherapy; and extracorporeal shock wave lithotripsy                   “Covered Expenses” section.
    (ESWL) for musculoskeletal and orthopedic conditions.                    non-medical counseling or ancillary services, including but
   dental treatment of the teeth, gums or structures directly                not limited to Custodial Services, educational services,
    supporting the teeth, including dental X-rays, examinations,              vocational counseling, training and rehabilitation services,
    repairs, orthodontics, periodontics, casts, splints and                   behavioral training, biofeedback, neurofeedback, hypnosis,
    services for dental malocclusion, for any condition.                      sleep therapy, return to work services, work hardening
    However, charges made for a continuous course of dental                   programs and drive safety courses.
    treatment for an accidental Injury to teeth are covered. Also,           consumable medical supplies other than ostomy supplies,
    facility charges and charges for general anesthesia or deep               urinary catheters, equipment, supplies, complex
    sedation which cannot be administered in a dental office are              decongestive therapy, gradient compression garments for
    covered when Medically Necessary. Additionally, charges                   the treatment of lymphedema or as otherwise covered items.
    made by a Physician for any of the following surgical                     Excluded supplies include, but are not limited to bandages
    procedures are covered: excision of unerupted impacted                    and other disposable medical supplies, skin preparations and
    tooth, including removal of alveolar bone and sectioning of               test strips, except as specified in the “Home Health Care
    tooth; removal of residual root (when performed by a dentist              Services” or “Breast Reconstruction and Breast Prostheses”
    other than the one who extracted the tooth). Charges for                  sections of this plan.
    inpatient and outpatient services for orthodontics, oral                 private Hospital rooms beyond the rates approved by the
    surgery, and otologic, audiological, and speech/language                  Health Services Cost Review Commission and/or private
    treatment, involved with the management of the birth defect               duty nursing except as provided under the Home Health
    known as cleft lip or cleft palate, or both, are covered.                 Care Services provision.
    Charges for diagnostic or surgical procedures involving a
    bone or joint of the face, neck or head if, under the accepted           personal or comfort items such as personal care kits
    standards of the profession of the health care provider                   provided on admission to a Hospital, television, telephone,
    rendering the service, the procedure is Medically Necessary               newborn infant photographs, complimentary meals, birth
    to treat a condition caused by congenital deformity, disease              announcements, and other articles which are not for the
    or Injury, are covered.                                                   specific treatment of an Injury or Sickness.
   for medical and surgical services intended for the treatment             artificial aids, specifically: corrective orthopedic shoes, arch
    or control of obesity, except as provided for under “Covered              supports, elastic stockings, garter belts, corsets and
    Expenses”.                                                                dentures, except as may otherwise be provided for under
                                                                              “Covered Expenses”.
   unless otherwise covered in this plan, for reports,
    evaluations, physical examinations, or hospitalization not               hearing aids, except as provided for under “Covered
    required for health reasons including, but not limited to,                Expenses”, including but not limited to semi-implantable
    employment, insurance or government licenses, and court-                  hearing devices, audiant bone conductors and Bone
    ordered, forensic or custodial evaluations.                               Anchored Hearing Aids (BAHAs). A hearing aid is any
                                                                              device that amplifies sound.
   court-ordered treatment or hospitalization, unless such
    treatment is prescribed by a Physician and listed as covered             aids or devices that assist with non-verbal communications,
    in this plan.                                                             including but not limited to communication boards, pre-
                                                                              recorded speech devices, laptop computers, desktop
   any claim, bill or other demand or request for payment for                computers, Personal Digital Assistants (PDAs), Braille
    health care services that the appropriate regulatory board                typewriters, visual alert systems for the deaf and memory
    determines were provided as a result of a referral prohibited             books.
    by the Maryland Health Occupations Article.
                                                                             corrective lenses and associated services (prescription
   any services or supplies for the treatment of male or female              exams and fittings), including eyeglass lenses and frames
    sexual dysfunction such as, but not limited to, treatment of              and contact lenses, except for the first pair of corrective
    erectile dysfunction (including penile implants), anorgasmy,              lenses, or the first set of eyeglass lenses and frames and
    and premature ejaculation.                                                associated services for treatment of keratoconus or cataract
                                                                              surgery.


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   routine refractions, eye exercises and surgical treatment for        General Limitations
    the correction of a refractive error, including radial
                                                                         No payment will be made for expenses incurred for you or any
    keratotomy.
                                                                         one of your Dependents:
   treatment by acupuncture.
                                                                            for charges made by a Hospital owned or operated by or
   all non-injectable prescription drugs unless Physician                   which provides care or performs services for, the United
    administration or oversight is required, injectable                      States Government, if such charges are directly related to a
    prescription drugs to the extent they do not require                     military-service-connected Injury or Sickness.
    Physician supervision and are typically considered self-
                                                                            to the extent that you or any one of your Dependents is in
    administered drugs, non-prescription drugs, and
                                                                             any way paid or entitled to payment for those expenses by
    investigational and experimental drugs, except as provided
                                                                             or through a public program, other than Medicaid.
    in this plan.
                                                                            to the extent that payment is unlawful where the person
   routine foot care, including the paring and removing of
                                                                             resides when the expenses are incurred.
    corns and calluses and toenail maintenance. However, foot
    care services for diabetes, peripheral neuropathies and                 for charges which would not have been made if the person
    peripheral vascular disease are covered.                                 had no insurance.
   membership costs or fees associated with health clubs,                  to the extent of the exclusions imposed by any certification
    weight loss programs and smoking cessation programs.                     requirement shown in this plan.
   genetic screening or pre-implantations genetic screening.               expenses for supplies, care, treatment, or surgery that are
    General population-based genetic screening is a testing                  not Medically Necessary, except as specifically provided in
    method performed in the absence of any symptoms or any                   the “Covered Expenses” section.
    significant, proven risk factors for genetically linked                 charges made by any covered provider who is a member of
    inheritable disease.                                                     your family or your Dependent’s family.
   dental implants for any condition.                                      expenses incurred outside the United States other than
   fees associated with the collection or donation of blood or              expenses for Medically Necessary urgent or emergent care
    blood products, except for autologous donation in                        while temporarily traveling abroad.
    anticipation of scheduled services where in the utilization
    review Physician’s opinion the likelihood of excess blood
                                                                         HC-EXC397                                                     01-20
    loss is such that transfusion is an expected adjunct to
    surgery.
   blood administration for the purpose of general
    improvement in physical condition.                                   Coordination of Benefits
   cost of biologicals that are immunizations or medications            This section applies if you or any one of your Dependents is
    for the purpose of travel, or to protect against occupational        covered under more than one Plan and determines how
    hazards and risks.                                                   benefits payable from all such Plans will be coordinated. You
                                                                         should file all claims with each Plan.
   cosmetics, dietary supplements (except for medical foods
    and modified food products and amino acid-based elemental            Definitions
    formula as provided for in the “Covered Expenses” section)           For the purposes of this section, the following terms have the
    and health and beauty aids.                                          meanings set forth below:
   enteral feedings, supplies and specialty formulated medical          Plan
    foods that are prescribed and non-prescribed, except for             Any of the following that provides benefits or services in the
    infant formula needed for the treatment of inborn errors of
                                                                         form of payment or services for medical care or treatment:
    metabolism.
                                                                            Group and non-group insurance contracts, Health
   for or in connection with an Injury or Sickness arising out
                                                                             Maintenance Organization (HMO) contracts or other forms
    of, or in the course of, any employment for wage or profit.
                                                                             of group or group-type coverage (whether insured or
   massage therapy.                                                         uninsured); medical care components of long-term care
                                                                             contracts, such as skilled nursing care; and Medicare or any
                                                                             other federal governmental Plan, as permitted by law.
                                                                            Group insurance and/or group-type coverage, whether
                                                                             insured or self-insured which neither can be purchased by


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    the general public, nor is individually underwritten,                   private Hospital room is Medically Necessary in terms of
    including closed panel coverage.                                        generally accepted medical practice.
   Coverage under Medicare and other governmental benefits                If you are covered by two or more Plans that provide
    as permitted by law.                                                    services or supplies on the basis of reasonable and
Plan does not include: Hospital indemnity coverage or other                 customary fees, any amount in excess of the highest
fixed indemnity coverage; accident only coverage; specified                 reasonable and customary fee is not an Allowable Expense.
disease or specified accident coverage; limited benefit health             If you are covered by one Plan that provides services or
coverage, as defined by state law; school accident type                     supplies on the basis of reasonable and customary fees and
coverage; benefits for non-medical components of long-term                  one Plan that provides services and supplies on the basis of
care policies; Medicare supplement policies; Medicaid                       negotiated fees, the Primary Plan's fee arrangement shall be
policies; or coverage under other federal governmental Plans,               the Allowable Expense. However, if a provider has
unless permitted by law.                                                    contracted with the Secondary Plan to provide the benefit or
Each Plan or part of a Plan which has the right to coordinate               service for a specific negotiated fee or payment amount that
benefits will be considered a separate Plan.                                is different than the Primary Plan’s payment arrangement,
                                                                            and if the provider’s contract permits, the negotiated fee or
Primary Plan                                                                payment shall be the Allowable Expense used by the
The Plan that pays first as determined by the Order of Benefit              Secondary Plan to determine its benefits.
Determination Rules below.                                                 If your benefits are reduced under the Primary Plan (through
Secondary Plan                                                              the imposition of a higher Copayment amount, higher
The Plan that pays after the Primary Plan as determined by the              Coinsurance percentage, a Deductible and/or a penalty)
Order of Benefit Determination Rules below. The benefits                    because you did not comply with Plan provisions or because
under the Secondary Plan are reduced by the benefits under                  you did not use a preferred provider, the amount of the
the Primary Plan.                                                           reduction is not an Allowable Expense. Such Plan
                                                                            provisions include second surgical opinions and
Allowable Expense                                                           precertification of admissions or services.
The amount of charges considered for payment under the Plan
                                                                        Claim Determination Period
for a Covered Service prior to any reductions due to
Coinsurance, Copayment or Deductible amounts. If Cigna                  A calendar year, excluding any part of a calendar year during
contracts with an entity to arrange for the provision of                which you are not covered under this Plan or any date before
Covered Services through that entity’s contracted network of            this section or any similar provision takes effect.
health care providers, the amount that Cigna has agreed to pay          Custodial Parent is the parent awarded custody by a court
that entity is the allowable amount used to determine your              decree or, in the absence of a court decree, is the parent with
Coinsurance or Deductible payments. If the Plan provides                whom the child resides more than one half of the calendar year
benefits in the form of services, the reasonable cash value of          excluding any temporary visitation.
each service is the Allowable Expense and is a paid benefit.            Order of Benefit Determination Rules
If the benefits for a Covered Expense under your Primary Plan           A Plan that does not have a coordination of benefits rule
are reduced because you did not comply with the Primary                 consistent with this section shall always be the Primary Plan.
Plan’s requirements (for example, getting pre-certification of          If the Plan does have a coordination of benefits rule consistent
Hospital admission or a second surgical opinion), the amount            with this section, the first of the following rules that applies to
of the Allowable Expense is reduced by the amount of the                the situation is the one that applies:
reduction.
                                                                           The Plan that covers the person other than as a Dependent,
Examples of expenses or services that are not Allowable                     for example as an employee, enrollee, policyholder,
Expenses include, but are not limited to the following:                     subscriber, member or retiree is the Primary Plan and the
   An expense or service or a portion of an expense or service             Plan that covers the person as a Dependent is the Secondary
    that is not covered by any of the Plans is not an Allowable             Plan. However, if the person is a Medicare beneficiary and,
    Expense.                                                                as a result of federal law, Medicare is secondary to the Plan
   If you are confined to a private Hospital room and no Plan              covering the person as a Dependent; and primary to the Plan
    provides coverage for more than a semiprivate room, the                 covering the person as other than a Dependent (e.g. a retired
    difference in cost between a private and semiprivate room is            employee); then the order of benefits between the two Plans
    not an Allowable Expense, unless the patient's stay in a                is reversed so that the Plan covering the person as an
                                                                            employee, enrollee, policyholder, subscriber, member, or



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    retiree is the Secondary Plan and the other Plan is the                            coverage as a Dependent under your spouse’s Plan,
    Primary Plan.                                                                      the Plan that has covered you the longest is the
   Unless there is a court decree stating otherwise, if you are a                     Primary Plan. In the event your coverage under your
    Dependent child covered by more than one Plan the order of                         spouse’s Plan began on the same date as your
    benefits is determined as follows:                                                 coverage under either or both parents’ Plans, the
                                                                                       order of benefits shall be determined by applying the
    a)   If you are a Dependent child whose parents are married,                       birthday rule to your parents and spouse.
         or living together, whether or not they have ever been
         married, the Primary Plan shall be the Plan which                     The Plan that covers you as an active Employee (or as that
         covers the parent whose birthday falls first in the                    Employee's Dependent) shall be the Primary Plan and the
         calendar year. If both parent have the same birthday,                  Plan that covers you as laid-off or retired Employee (or as
         the Plan that has covered the parent the longest is the                that Employee's Dependent) shall be the Secondary Plan. If
         Primary Plan;                                                          the other Plan does not have a similar provision and, as a
                                                                                result, the Plans cannot agree on the order of benefit
    b) If you are the Dependent of parents who are divorced or                  determination, this paragraph shall not apply.
       separated, or not living together, whether or not they
       have ever been married, benefits shall be determined in                 The Plan that covers you under COBRA, or a right of
       the following order:                                                     continuation which is provided by federal or state law shall
                                                                                be the Secondary Plan and the Plan that covers you as an
            If a court decree states that one parent is responsible            active Employee or retiree (or as that Employee's
             for the Dependent child's health care expenses or                  Dependent) shall be the Primary Plan. If the other Plan does
             health coverage and the Plan for that parent has                   not have a similar provision and, as a result, the Plans
             actual knowledge of the terms of the order, that Plan              cannot agree on the order of benefit determination, this
             is Primary. The following rules apply from the time                paragraph shall not apply.
             the Plan receives notice of a court decree;
                                                                               The Plan that covers you as an Employee, member,
            If a court decree states that both parents are                     policyholder, subscriber or retiree longer is the Primary Plan
             responsible for the Dependent child's health care                  and the Plan that covers you the shorter period of time is the
             expenses or health care coverage, the provisions of                Secondary Plan.
             subparagraph (a) above shall determine the order of
             benefits;                                                         If the preceding rules do not determine the order of benefits,
                                                                                the Allowable Expenses shall be shared equally between the
            If a court decree states that the parents have joint               Plans meeting the definition of Plan. In addition, this Plan
             custody without specifying that one parent has                     will not pay more than it would have paid had it been the
             responsibility for the health care expenses or health              Primary Plan.
             care coverage of the Dependent child, the provisions
             of subparagraph (a) above shall determine the order            When coordinating benefits with Medicare, this Plan will be
             of benefits; or                                                the Secondary Plan and determine benefits after Medicare,
                                                                            where permitted by the Social Security Act of 1965, as
            If there is no court decree allocating responsibility          amended. However, when more than one Plan is secondary to
             for the Dependent child's health care expenses or              Medicare, the benefit determination rules identified above,
             health care coverage, the order of benefits for the            will be used to determine how benefits will be coordinated.
             child are as follows:
                                                                            Effect on the Benefits of This Plan
              then, the Plan of the Custodial Parent;
                                                                            If this Plan is the Secondary Plan, this Plan may reduce
              then, the Plan of the spouse of the Custodial Parent;
                                                                            benefits so that the total benefits paid by all Plans during a
              then, the Plan of the non-Custodial Parent; and              Claim Determination Period are not more than 100% of the
              finally, the Plan of the spouse of the non-Custodial         total of all Allowable Expenses.
               Parent.                                                      The difference between the amount that this Plan would have
            If you are a Dependent child covered under more                paid if this Plan had been the Primary Plan, and the benefit
             than one Plan of individuals who are not your                  payments that this Plan had actually paid as the Secondary
             parents, the provisions of subparagraph (a) or (b)             Plan, will be recorded as a benefit reserve for you. Cigna will
             above shall determine the order of benefits as if those        use this benefit reserve to pay any Allowable Expense not
             individuals were your parents.                                 otherwise paid during the Claim Determination Period.
            If you are a Dependent child who has coverage under
             either or both parents’ Plans and you also have



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As each claim is submitted, Cigna will determine the                     The primary payer always determines covered benefits first,
following:                                                               without considering what any other coverage will pay. The
   Cigna's obligation to provide services and supplies under            secondary payer determines its coverage only after the
    this policy;                                                         Primary Plan has completed its determination.
   whether a benefit reserve has been recorded for you; and             When Medicare is the Primary Payer
   whether there are any unpaid Allowable Expenses during               Medicare will be the primary payer and this Plan will be the
    the Claims Determination Period.                                     secondary payer, even if you don’t elect to enroll in Medicare
                                                                         or you receive services from a provider who does not accept
If there is a benefit reserve, Cigna will use the benefit reserve        Medicare payments, in the following situations:
recorded for you to pay up to 100% of the total of all
Allowable Expenses. At the end of the Claim Determination                   COBRA or State Continuation: You, your spouse, or your
Period, your benefit reserve will return to zero and a new                   covered Dependent qualify for Medicare for any reason and
benefit reserve will be calculated for each new Claim                        are covered under this Plan due to COBRA or state
Determination Period.                                                        continuation of coverage.
Recovery of Excess Benefits                                                 Retirement or Termination of Employment: You, your
                                                                             spouse, or your covered Dependent qualify for Medicare for
If this Plan is the Secondary Plan and Cigna pays for Covered                any reason and are covered under this Plan due to your
Expenses that should have been paid by the Primary Plan, or if               retirement or termination of employment.
Cigna pays any amount in excess of what it is obligated to
pay, Cigna will have the right to recover the actual                        Disability: You, your spouse, or your covered Dependent
overpayment made.                                                            qualify for Medicare due to a disability, you are an active
                                                                             Employee, and your Employer has fewer than 100
Cigna will have sole discretion to seek such recovery from any               employees.
person to, or for whom, or with respect to whom, such
services were provided or such payments made by any                         Age: You, your spouse, or your covered Dependent qualify
insurance company, health care Plan or other organization. If                for Medicare due to age, you are an active Employee, and
we request, you must execute and deliver to us such                          your Employer has fewer than 20 employees.
instruments and documents as we determine are necessary to                  End Stage Renal Disease (ESRD): You, your spouse, or
secure the right of recovery.                                                your covered Dependent qualify for Medicare due to End
Right to Receive and Release Information                                     Stage Renal Disease (ESRD) and you are an active or
                                                                             retired Employee. This Plan will be the primary payer for
Certain facts about health care coverage and services are                    the first 30 months. Beginning with the 31 st month,
needed to apply these COB rules and to determine benefits                    Medicare will be the primary payer.
payable under Cigna, without consent or notice to you, may
obtain information from and release information to any other             When This Plan is the Primary Payer
Plan with respect to you in order to coordinate your benefits            This Plan will be the primary payer and Medicare will be the
pursuant to this section. You must provide us with any                   secondary payer in the following situations:
information we request in order to coordinate your benefits                 Disability: You, your spouse, or your covered Dependent
pursuant to this section.                                                    qualify for Medicare due to a disability, you are an active
Facility of Payment                                                          Employee, and your Employer has 100 or more employees.
A payment made under another Plan may include an amount                     Age: You, your spouse, or your covered Dependent qualify
that should have been paid under this Plan. If it does, Cigna                for Medicare due to age, you are an active Employee, and
may pay that amount to the organization that made that                       your Employer has 20 or more employees.
payment. That amount will then be treated as though it were a               End Stage Renal Disease (ESRD): You, your spouse, or
benefit paid under this Plan. Cigna will not have to pay that                your covered Dependent qualify for Medicare due to End
amount again. The term "payment made" includes providing                     Stage Renal Disease (ESRD) and you are an active or
benefits in the form of services, in which case "payment                     retired Employee. This Plan is the primary payer for the first
made" means the reasonable cash value of the benefits                        30 months. Beginning with the 31st month, Medicare will be
provided in the form of services.                                            the primary payer.
Coordination of Benefits with Medicare                                   IMPORTANT: If you, your spouse, or your Dependent do
If you, your spouse, or your Dependent are covered under this            not elect to enroll in Medicare Parts A and/or B when first
Plan and qualify for Medicare, federal law determines which              eligible, or you receive services from a provider who does
Plan is the primary payer and which is the secondary payer.              not accept Medicare payments, this Plan will calculate



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payment based on what should have been paid by                                 by settlement, judgment, or otherwise. This right of
Medicare as the primary payer if the person had been                           reimbursement is cumulative with and not exclusive of the
enrolled or had received services from a provider who                          subrogation right granted in paragraph 1, but only to the
accepts Medicare payments. A person is considered                              extent of the benefits provided by the plan. Any amount
eligible for Medicare on the earliest date any coverage                        refunded to the insurance company will be reduced by a pro
under Medicare could become effective.                                         rata share of the court costs and legal fees incurred by the
Failure to Enroll in Medicare                                                  insured which are applicable to the portion of the settlement
                                                                               returned to the insurance company.
If you, your spouse, or your Dependent do not enroll in
Medicare Parts A and/or B during the person’s initial                      Lien Of The Plan
Medicare enrollment period, or the person opts out of                      By accepting benefits under this plan, a Participant:
coverage, the person may be subject to Medicare late                          grants a lien and assigns to the plan an amount equal to the
enrollment penalties, which can cause a delay in coverage and                  benefits paid under the plan against any recovery made by
result in higher Medicare premiums when the person does                        or on behalf of the Participant which is binding on any
enroll. It can also result in a reduction in coverage under                    attorney or other party who represents the Participant
Medicare Parts A and B. If you are planning to retire or                       whether or not an agent of the Participant or of any
terminate employment and you will be eligible for COBRA,                       insurance company or other financially responsible party
state Continuation, or retiree coverage under this Plan, you                   against whom a Participant may have a claim provided said
should enroll in Medicare before you terminate employment to                   attorney, insurance carrier or other party has been notified
avoid penalties and to receive the maximum coverage under                      by the plan or its agents. The amount of the lien will be
Medicare. Please consult Medicare or the Social Security                       reduced by a pro rata share of any court costs and attorney’s
Administration for more information.                                           fees incurred by the insured which are applicable to the
Assistance with Medicare Questions                                             portion of the settlement returned to the insurance company;
For more information on Medicare’s rules and regulations,                     agrees that this lien shall constitute a charge against the
contact Medicare toll-free at 1-800-MEDICARE (1-800-633-                       proceeds of any recovery and the plan shall be entitled to
4227) or at www.medicare.gov. You may also contact the                         assert a security interest thereon;
Social Security Administration toll-free at 1-800-772-1213, at                agrees to hold the proceeds of any recovery in trust for the
www.ssa.gov, or call your local Social Security                                benefit of the plan to the extent of any payment made by the
Administration office.                                                         plan.
                                                                           Additional Terms
HC-COB234                                                     01-20
                                                                            No adult Participant hereunder may assign any rights that it
                                                                             may have to recover medical expenses from any third party
                                                                             or other person or entity to any minor Dependent of said
Expenses For Which A Third Party May                                         adult Participant without the prior express written consent
                                                                             of the plan. The plan’s right to recover shall apply to
Be Responsible                                                               decedents’, minors’, and incompetent or disabled persons’
Subrogation/Right Of Reimbursement                                           settlements or recoveries.
If a Participant incurs a Covered Expense for which, in the                   No Participant shall make any settlement, which specifically
opinion of the plan or its claim administrator, another party                  reduces or excludes, or attempts to reduce or exclude, the
may be responsible or for which the Participant may receive                    benefits provided by the plan.
payment as described above:                                                   The plan’s right of recovery shall be a prior lien against any
   Subrogation: The plan shall, to the extent permitted by law,               proceeds recovered by the Participant. This right of
    be subrogated to all rights, claims or interests that a                    recovery shall not be defeated nor reduced by the
    Participant may have against such party and shall                          application of any so-called “Made-Whole Doctrine,”
    automatically have a lien upon the proceeds of any recovery                “Rimes Doctrine,” or any other such doctrine purporting to
    by a Participant from such party to the extent of any benefits             defeat the plan’s recovery rights by allocating the proceeds
    paid under the plan. A Participant or his/her representative               exclusively to non-medical expense damages.
    shall execute such documents as may be required to secure                 The plan shall be entitled to offset the reimbursement
    the plan’s subrogation rights.                                             obligation against any entitlement to future medical benefits
   Right of Reimbursement: The plan is also granted a right of                hereunder until the participant has fully complied with his
    reimbursement from the proceeds of any recovery whether



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    reimbursement obligations hereunder, regardless of how                 Even if the payment of healthcare benefits to a non-
    those future medical benefits are incurred.                            Participating Provider has been authorized by you, Cigna may,
   By acceptance of benefits under the plan, the Participant              at its option, make payment of benefits to you, refuse to
    agrees that a breach hereof would cause irreparable and                directly reimburse a non-Participating Provider if:
    substantial harm and that no adequate remedy at law would                 Cigna receives notice of the assignment of benefits after
    exist. Further, the Plan shall be entitled to invoke such                  Cigna has paid the benefits to you;
    equitable remedies as may be necessary to enforce the terms               Cigna, due to an inadvertent administrative error, has
    of the plan, including, but not limited to, specific                       previously paid you;
    performance, restitution, the imposition of an equitable lien
    and/or constructive trust, as well as injunctive relief.                  You withdraw the assignment of benefits before Cigna has
                                                                               paid the benefits to the non-Participating Provider; or
   Participants must assist the plan in pursuing any recovery
    rights by providing requested information.                                You paid the non-Participating Provider the full amount due
                                                                               at the time of service.
                                                                           When benefits are paid to you or your Dependents are
HC-SUB67                                                     11-15
                                                                           responsible for reimbursing the non-Participating Provider.
                                                                 V1
                                                                           Even if the payment of healthcare benefits to a non-
                                                                           Participating Provider has been authorized by you, Cigna may,
                                                                           at its option, make payment of benefits to you. When benefits
Payment of Benefits                                                        are paid to you or your Dependent, you or your Dependents
Time of Payment of Claims                                                  are responsible for reimbursing the non-Participating Provider.
Benefits payable under the policy will be paid not more than               If any person to whom benefits are payable is a minor or, in
30 days after receipt of written proof of loss.                            the opinion of Cigna is not able to give a valid receipt for any
                                                                           payment due him, such payment will be made to his legal
Provider Compensation: Assignment of Benefits                              guardian. If no request for payment has been made by his legal
Assignment and Payment of Benefits                                         guardian, Cigna may, at its option, pay the benefit, up to an
You may not assign to any party, including, but not limited to,            amount not exceeding $5,000, to any relative by blood or
a provider of healthcare services/items, your right to benefits            connection in marriage of the individual who is considered by
under this plan, nor may you assign any administrative,                    Cigna to be equitably entitled to the benefit.
statutory, or legal rights or causes of action you may have                When one of our participants passes away, Cigna may receive
under ERISA, including, but not limited to, any right to make              notice that an executor of the estate has been established. The
a claim for plan benefits, to request plan or other documents,             executor has the same rights as our insured and benefit
to file appeals of denied claims or grievances, or to file                 payments for unassigned claims should be made payable to the
lawsuits under ERISA. Any attempt to assign such rights shall              executor.
be void and unenforceable under all circumstances.                         Payment as described above will release Cigna from all
You may, however, authorize Cigna to pay any healthcare                    liability to the extent of any payment made.
benefits under this policy to a Participating or non-                      Recovery of Overpayment
Participating Provider. When you authorize the payment of
your healthcare benefits to a Participating or non-Participating           When an overpayment has been made by Cigna, Cigna will
Provider, you authorize the payment of the entire amount of                have the right to: recover that overpayment from the provider
the benefits due on that claim. If a provider is overpaid                  or entity to whom or on whose behalf it was made; or offset
because of accepting duplicate payments from you and Cigna,                the amount of that overpayment from a future claim payment
it is the provider’s responsibility to reimburse the                       within 18 months of the date the claim was paid if the benefits
overpayment to you. Cigna may pay all healthcare benefits for              were subject to coordination of benefits; or within 6 months of
Covered Expenses directly to a Participating Provider without              the date the claim was paid for all other claims. Your
your authorization. You may not interpret or rely upon this                acceptance of benefits under this plan and/or assignment of
discrete authorization or permission to pay any healthcare                 Medical Benefits separately creates an equitable lien by
benefits to a Participating or non-Participating Provider as the           agreement pursuant to which Cigna may seek recovery of any
authority to assign any other rights under this policy to any              overpayment. You agree that Cigna, in seeking recovery of
party, including, but not limited to, a provider of healthcare             any overpayment as a contractual right or as an equitable lien
services/items.                                                            by agreement, may pursue the general assets of the person or
                                                                           entity to whom or on whose behalf the overpayment was
                                                                           made.


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When Cigna retroactively denies reimbursement, it will                     Temporary Layoff or Leave of Absence
provide a written statement specifying the basis for the                   If your Active Service ends due to temporary layoff or leave
retroactive denial. If the retroactive denial results from COB,            of absence, your insurance will be continued until the date
the written statement will provide the name and address of the             your Employer: stops paying premium for you; or otherwise
carrier acknowledging responsibility for payment of the                    cancels your insurance. However, your insurance will not be
denied claims, unless retroactive denial results because: a) the           continued for more than 60 days past the date your Active
information submitted to the carrier was fraudulent; b) the                Service ends.
information submitted was improperly coded and Cigna
provided sufficient information regarding the coding                       Injury or Sickness
guidelines used to the provider at least 30 days prior to the              If your Active Service ends due to an Injury or Sickness, your
date the services subject to retroactive denial were rendered;             insurance will be continued while you remain totally and
or c) the claim submitted was a duplicate claim.                           continuously disabled as a result of the Injury or Sickness.
If Cigna retroactively denies as a result of COB, the provider             Coverage will be continued until the earlier of: the date you
has 6 months from the date of the denial, unless Cigna permits             cease to be totally disabled; or 12 months after the date
a longer time period, to submit a claim for reimbursement to               coverage terminates.
the carrier, the MD Medical Assistance Program or Medicare
Program responsible for payment.                                           Dependents
A claim may be considered improperly coded if the claim uses               Your insurance for all of your Dependents will cease on the
codes that do not conform with Cigna’s coding guidelines as                earliest date below:
of the date the service or services were rendered or the claim                the date your insurance ceases.
does not otherwise conform with the contractual obligations of
                                                                              the date you cease to be eligible for Dependent Insurance.
the provider that are applicable as of the date service or
services were rendered.                                                       the last day for which you have made any required
                                                                               contribution for the insurance.
Calculation of Covered Expenses
                                                                              the date Dependent Insurance is canceled.
Cigna, in its discretion, will calculate Covered Expenses
following evaluation and validation of all provider billings in            The insurance for any one of your Dependents will cease on
accordance with:                                                           the date that Dependent no longer qualifies as a Dependent.
   the methodologies in the most recent edition of the Current            Notice of Termination of Eligibility
    Procedural terminology.                                                The Employer must provide Cigna with written notice of the
   the methodologies as reported by generally recognized                  termination of eligibility for any Employee or Dependent. If
    professionals or publications.                                         Cigna receives Notice of Termination within 60 days of the
                                                                           date of the loss of eligibility, coverage for the individual will
                                                                           cease at midnight on the day loss of eligibility occurs. If
HC-POB148                                                     01-19        Notice of Termination is not received within 60 days of the
                                                                           date of loss of eligibility, then coverage for the individual will
                                                                           cease at midnight on the date which is 60 days prior to the date
Termination of Insurance                                                   Cigna receives Notice of Termination.


Employees                                                                  HC-TRM130                                                     12-17

Your insurance will cease on the earliest date below:
   the date you cease to be in a Class of Eligible Employees or
    cease to qualify for the insurance.                                    Continuation
   the last day for which you have made any required                      Special Continuation of Medical Insurance
    contribution for the insurance.                                        For Employees
   the date the policy is canceled.                                       If your Insurance ceases because:
   the last day of the calendar month in which your Active                   you are involuntarily terminated from employment other
    Service ends except as described below.                                    than for cause; or
Any continuation of insurance must be based on a plan which                   you voluntarily terminated your employment;
precludes individual selection.



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and if you have been insured for at least 3 consecutive months,         immediately preceding your death. The Insurance may not be
you may continue the insurance by paying the required                   continued beyond the earliest of:
premium to your Employer. In no event will your insurance be               18 months from the date of your death;
continued beyond the earliest of:
                                                                           the last day for which the required contribution has been
   18 months from the date your employment ends;                           paid;
   the last day for which you have paid the required                      for any one Dependent, the earlier of: the date that
    contribution;                                                           Dependent becomes eligible for similar group coverage or
   the date you become eligible for similar group coverage or              entitled to benefits under Medicare; or for a Dependent
    entitled to benefits under Medicare; or                                 child, the date that Dependent no longer qualifies as a
   the date the Group Policy cancels.                                      Dependent for any reason other than your death; or
If your insurance ceases because you are terminated from                   the date the Group Policy cancels.
employment for cause, you may continue the insurance by                 Provisions Regarding Notification of Special Continuation
paying the required premium to your Employer. In no event               Your Employer will provide any Eligible Dependent with an
will your insurance be continued beyond the earliest of:                election notification form no later than 14 days after receipt of
   6 months from the date your employment ends;                        that Dependent's request for continuance. The Eligible
   the last day for which you have paid the required premium;          Dependent may elect the continuance by signing the election
    or                                                                  notification form and submitting it to your Employer no later
                                                                        than 45 days after your death.
   the date you become eligible for similar group coverage or
    entitled to benefits under Medicare.                                Conversion Available Following Continuation
Provisions Regarding Notification of Special Continuation               The provisions of the "Medical Conversion Privilege" section
                                                                        will apply following the termination of insurance.
Your Employer will provide you with an election notification
form no later than 14 days after the receipt of your request for        The terms of this section will not reduce any continuation of
continuance. You may elect the continuance by signing the               insurance otherwise provided.
election notification form and submitting it to your Employer           For Spouse and Children Upon Divorce From Employee
no later than 45 days after your employment ends.                       If your spouse's and any children's Medical Insurance would
For Dependents                                                          otherwise cease because of divorce, the insurance may be
If your insurance is being continued as described above,                continued under the policy for your Eligible Dependents,
Medical Insurance may be continued for those Dependents                 provided you or your spouse pay or share the cost of the
insured on the date your employment ends, subject to the                required contribution to your Employer. Eligible Dependents
provisions set forth above. The Insurance will continue until           are: your former spouse, provided that person was insured as
the earlier of:                                                         your Dependent spouse for a 30-day period immediately
                                                                        preceding the divorce; your children, provided they were
   the date your insurance ceases, except in the case of your          insured as your Dependent children immediately prior to the
    death; or                                                           divorce; and any child or children born to your former spouse
   for any one Dependent, the earlier of: the date that                after the divorce. In no event will the insurance continue
    Dependent becomes eligible for similar group coverage or            beyond the earliest of:
    entitled to benefits under Medicare, or the date that                  the last day for which you have paid the required
    Dependent no longer qualifies as a Dependent for any                    contribution;
    reason other than your death.
                                                                           the date your former spouse remarries, with respect to the
For Dependents of Deceased Employees                                        former spouse’s continued insurance;
If you die while insured for Medical Insurance and if you have             for any one Dependent: for a Dependent child, the date that
been insured at least 3 consecutive months, your Eligible                   Dependent ceases to qualify as a Dependent for any reason
Dependents may continue their insurance by paying the                       other than divorce; the date that Dependent becomes
required premium to your Employer. Eligible Dependents are:                 eligible for similar group coverage, entitled to benefits
your Dependent children who are insured at the time of your                 under Medicare or accepts non-group coverage; or the date
death or are born to your Eligible Dependent spouse after your              that Dependent no longer elects to be insured under the
death; and your Dependent spouse, providing that person was                 policy;
insured as your Dependent spouse for a 30-day period
                                                                           the date you are no longer insured under the policy;



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   the date the Group Policy cancels;                                    Medical Benefits Extension Upon
   the date you cease to be in a Class of Employees eligible for         Coverage Termination
    Dependent Insurance; or
                                                                          If the Medical Benefits under this plan cease for you or your
   the date Dependent Insurance is canceled.
                                                                          Dependent due to the termination of your or your Dependent's
A written notice of the termination of coverage for your                  coverage, and you or your Dependent is Totally Disabled on
spouse or Dependent child must be given to your Employer                  that date due to Injury or Sickness, or you or your Dependent
when: that Dependent ceases to qualify as a Dependent for any             is Confined in a Hospital, Medical Benefits will be paid for
reason other than divorce; that Dependent becomes eligible for            Covered Expenses incurred in connection with that Injury or
similar group coverage or entitled to benefits under Medicare;            Sickness until the earliest of:
that Dependent no longer elects to be insured under the policy;
                                                                             the date you exceed the Maximum Benefit, if any, shown in
or your former spouse remarries. The termination statement
                                                                              The Schedule;
form is available from your Employer.
                                                                             the date you are neither Totally Disabled nor Confined in a
Effect of Remarriage of Employee
                                                                              Hospital; or
If you remarry: an additional contribution will be required for
                                                                             12 months after the date coverage ends.
your former spouse; and any provision for continuation of
insurance after your death, other than as provided in this                The terms of this Medical Benefits Extension will not apply to
"Special Continuation of Medical Insurance" section, will not             a child born as a result of a pregnancy which exists when your
apply.                                                                    or your Dependent's Medical Benefits cease.
Conversion Available Following Continuation                               Totally Disabled
The provisions of the "Medical Conversion Privilege" section              You will be considered Totally Disabled if, because of an
will apply following the termination of insurance.                        Injury or a Sickness:
The terms of this section will not operate to reduce any                     you are unable to perform the basic duties of your
continuation of insurance otherwise provided, except as shown                 occupation; and
above in the paragraph entitled "Effect of Remarriage of                     you are not performing any other work or engaging in any
Employee."                                                                    other occupation for wage or profit.
                                                                          Your Dependent will be considered Totally Disabled if,
HC-TRM8                                                      04-10        because of an Injury or a Sickness:
                                                               V1            he is unable to engage in the normal activities of a person of
                                                                              the same age, sex and ability; or
                                                                             in the case of a Dependent who normally works for wage or
Rescissions                                                                   profit, he is not performing such work.
Your coverage may not be rescinded (retroactively terminated)             Cigna may, at any time, require you or your Dependent to
by Cigna or the plan sponsor unless: the plan sponsor or an               provide proof of Total Disability.
individual (or a person seeking coverage on behalf of the                 This section will not apply, however, if: coverage is
individual) performs an act, practice or omission that                    terminated because an individual fails to pay a required
constitutes fraud; or the plan sponsor or individual (or a                premium; coverage is terminated for fraud or material
person seeking coverage on behalf of the individual) makes an             misrepresentation by the individual; or any coverage provided
intentional misrepresentation of material fact. You will be               by a succeeding health benefit plan is provided at a cost to the
provided at least 30 days advance written notice of any                   individual that is less than or equal to the cost of the extended
rescission.                                                               benefit required under this mandate, and does not result in an
                                                                          interruption of benefits.
HC-TRM80                                                     01-11
                                                               V3




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Benefits Extension in Connection with Dental Care                           Qualified Medical Child Support Order
Services                                                                    (QMCSO)
Benefits for Covered Expenses incurred in connection with                   Eligibility for Coverage Under a QMCSO
dental care services will be extended for 90 days after the date
a person's coverage terminates. Covered Expenses will be                    If a Qualified Medical Child Support Order (QMCSO) is
deemed to be incurred while he or she is insured if the                     issued for your child, that child will be eligible for coverage as
treatment:                                                                  required by the order and you will not be considered a Late
                                                                            Entrant for Dependent Insurance.
   begins before the date coverage terminates; and
                                                                            You must notify your Employer and elect coverage for that
   requires two or more visits on separate days to a dentist’s             child, and yourself if you are not already enrolled, within 31
    office.                                                                 days of the QMCSO being issued.
                                                                            Qualified Medical Child Support Order Defined
HC-BEX4                                                       04-10
                                                                            A Qualified Medical Child Support Order is a judgment,
                                                                  V1
                                                                            decree or order (including approval of a settlement agreement)
                                                                            or administrative notice, which is issued pursuant to a state
                                                                            domestic relations law (including a community property law),
Federal Requirements                                                        or to an administrative process, which provides for child
                                                                            support or provides for health benefit coverage to such child
The following pages explain your rights and responsibilities
                                                                            and relates to benefits under the group health plan, and
under federal laws and regulations. Some states may have
                                                                            satisfies all of the following:
similar requirements. If a similar provision appears elsewhere
in this booklet, the provision which provides the better benefit               the order recognizes or creates a child’s right to receive
will apply.                                                                     group health benefits for which a participant or beneficiary
                                                                                is eligible;
                                                                               the order specifies your name and last known address, and
HC-FED1                                                       10-10
                                                                                the child’s name and last known address, except that the
                                                                                name and address of an official of a state or political
                                                                                subdivision may be substituted for the child’s mailing
Notice of Provider Directory/Networks                                           address;
Notice Regarding Provider Directories and Provider                             the order provides a description of the coverage to be
Networks                                                                        provided, or the manner in which the type of coverage is to
A list of network providers is available to you without charge                  be determined;
by visiting the website or by calling the phone number on your                 the order states the period to which it applies; and
ID card. The network consists of providers, including                          if the order is a National Medical Support Notice completed
hospitals, of varied specialties as well as general practice,                   in accordance with the Child Support Performance and
affiliated or contracted with Cigna or an organization                          Incentive Act of 1998, such Notice meets the requirements
contracting on its behalf.                                                      above.
Notice Regarding Pharmacy Directories and Pharmacy                          The QMCSO may not require the health insurance policy to
Networks                                                                    provide coverage for any type or form of benefit or option not
A list of network pharmacies is available to you without                    otherwise provided under the policy, except that an order may
charge by visiting the website or by calling the phone number               require a plan to comply with State laws regarding health care
on your ID card. The network consists of pharmacies affiliated              coverage.
or contracted with Cigna or an organization contracting on its
behalf.


HC-FED78                                                      10-10




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Payment of Benefits                                                            Dependent(s) may request special enrollment in this Plan. If
Any payment of benefits in reimbursement for Covered                           required by the Plan, when enrollment in this Plan was
Expenses paid by the child, or the child’s custodial parent or                 previously declined, it must have been declined in writing
legal guardian, shall be made to the child, the child’s custodial              with a statement that the reason for declining enrollment
parent or legal guardian, or a state official whose name and                   was due to other health coverage. This provision applies to
address have been substituted for the name and address of the                  loss of eligibility as a result of any of the following:
child.                                                                          divorce or legal separation;
                                                                                cessation of Dependent status (such as reaching the
HC-FED4                                                       10-10
                                                                                 limiting age);
                                                                                death of the Employee;
                                                                                termination of employment;
Special Enrollment Rights Under the Health                                      reduction in work hours to below the minimum required
Insurance Portability & Accountability Act                                       for eligibility;
(HIPAA)                                                                         you or your Dependent(s) no longer reside, live or work
If you or your eligible Dependent(s) experience a special                        in the other plan’s network service area and no other
enrollment event as described below, you or your eligible                        coverage is available under the other plan;
Dependent(s) may be entitled to enroll in the Plan outside of a                 you or your Dependent(s) incur a claim which meets or
designated enrollment period upon the occurrence of one of                       exceeds the lifetime maximum limit that is applicable to
the special enrollment events listed below. If you are already                   all benefits offered under the other plan; or
enrolled in the Plan, you may request enrollment for you and                    the other plan no longer offers any benefits to a class of
your eligible Dependent(s) under a different option offered by                   similarly situated individuals.
the Employer for which you are currently eligible. If you are
not already enrolled in the Plan, you must request special                    Termination of Employer contributions (excluding
enrollment for yourself in addition to your eligible                           continuation coverage). If a current or former Employer
Dependent(s). You and all of your eligible Dependent(s) must                   ceases all contributions toward the Employee’s or
be covered under the same option. The special enrollment                       Dependent’s other coverage, special enrollment may be
events include:                                                                requested in this Plan for you and all of your eligible
                                                                               Dependent(s).
   Acquiring a new Dependent. If you acquire a new
    Dependent(s) through marriage, birth, adoption or                         Exhaustion of COBRA or other continuation coverage.
    placement for adoption, you may request special enrollment                 Special enrollment may be requested in this Plan for you
    for any of the following combinations of individuals if not                and all of your eligible Dependent(s) upon exhaustion of
    already enrolled in the Plan: Employee only; spouse only;                  COBRA or other continuation coverage. If you or your
    Employee and spouse; Dependent child(ren) only;                            Dependent(s) elect COBRA or other continuation coverage
    Employee and Dependent child(ren); Employee, spouse and                    following loss of coverage under another plan, the COBRA
    Dependent child(ren). Enrollment of Dependent children is                  or other continuation coverage must be exhausted before
    limited to the newborn or adopted children or children who                 any special enrollment rights exist under this Plan. An
    became Dependent children of the Employee due to                           individual is considered to have exhausted COBRA or other
    marriage.                                                                  continuation coverage only if such coverage ceases: due to
                                                                               failure of the Employer or other responsible entity to remit
   Loss of eligibility for State Medicaid or Children’s                       premiums on a timely basis; when the person no longer
    Health Insurance Program (CHIP). If you and/or your                        resides or works in the other plan’s service area and there is
    Dependent(s) were covered under a state Medicaid or CHIP                   no other COBRA or continuation coverage available under
    plan and the coverage is terminated due to a loss of                       the plan; or when the individual incurs a claim that would
    eligibility, you may request special enrollment for yourself               meet or exceed a lifetime maximum limit on all benefits and
    and any affected Dependent(s) who are not already enrolled                 there is no other COBRA or other continuation coverage
    in the Plan. You must request enrollment within 60 days                    available to the individual. This does not include
    after termination of Medicaid or CHIP coverage.                            termination of an Employer’s limited period of
   Loss of eligibility for other coverage (excluding                          contributions toward COBRA or other continuation
    continuation coverage). If coverage was declined under                     coverage as provided under any severance or other
    this Plan due to coverage under another plan, and eligibility              agreement.
    for the other coverage is lost, you and all of your eligible



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   Eligibility for employment assistance under State                            change in employment status of Employee, spouse or
    Medicaid or Children’s Health Insurance Program                               Dependent due to termination or start of employment,
    (CHIP). If you and/or your Dependent(s) become eligible                       strike, lockout, beginning or end of unpaid leave of absence,
    for assistance with group health plan premium payments                        including under the Family and Medical Leave Act
    under a state Medicaid or CHIP plan, you may request                          (FMLA), or change in worksite;
    special enrollment for yourself and any affected                             changes in employment status of Employee, spouse or
    Dependent(s) who are not already enrolled in the Plan. You                    Dependent resulting in eligibility or ineligibility for
    must request enrollment within 60 days after the date you                     coverage;
    are determined to be eligible for assistance.
                                                                                 change in residence of Employee, spouse or Dependent to a
Except as stated above, special enrollment must be                                location outside of the Employer’s network service area;
requested within 30 days after the occurrence of the                              and
special enrollment event. If the special enrollment event is
the birth or adoption of a Dependent child, coverage will                        changes which cause a Dependent to become eligible or
be effective immediately on the date of birth, adoption or                        ineligible for coverage.
placement for adoption. Coverage with regard to any other                     C. Court order
special enrollment event will be effective no later than the                  A change in coverage due to and consistent with a court order
first day of the first calendar month following receipt of                    of the Employee or other person to cover a Dependent.
the request for special enrollment.
                                                                              D. Medicare or Medicaid eligibility/entitlement
Domestic Partners and their children (if not legal children of
                                                                              The Employee, spouse or Dependent cancels or reduces
the Employee) are not eligible for special enrollment.
                                                                              coverage due to entitlement to Medicare or Medicaid, or
                                                                              enrolls or increases coverage due to loss of Medicare or
HC-FED96                                                         04-17        Medicaid eligibility.
                                                                              E. Change in cost of coverage
                                                                              If the cost of benefits increases or decreases during a benefit
Effect of Section 125 Tax Regulations on This                                 period, your Employer may, in accordance with plan terms,
Plan                                                                          automatically change your elective contribution.
Your Employer has chosen to administer this Plan in                           When the change in cost is significant, you may either
accordance with Section 125 regulations of the Internal                       increase your contribution or elect less-costly coverage. When
Revenue Code. Per this regulation, you may agree to a pretax                  a significant overall reduction is made to the benefit option
salary reduction put toward the cost of your benefits.                        you have elected, you may elect another available benefit
Otherwise, you will receive your taxable earnings as cash                     option. When a new benefit option is added, you may change
(salary).                                                                     your election to the new benefit option.
A. Coverage elections                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to                     another employer’s plan
enroll for or change coverage only before each annual benefit                 You may make a coverage election change if the plan of your
period. However, exceptions are allowed:                                      spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as                     deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or                           Special Enrollment, Change in Status, Court Order or
                                                                              Medicare or Medicaid Eligibility/Entitlement; or this Plan and
   if your Employer agrees, and you meet the criteria shown in               the other plan have different periods of coverage or open
    the following Sections B through H and enroll for or change               enrollment periods.
    coverage within the time period established by your
    Employer.                                                                 G. Reduction in work hours
                                                                              If an Employee’s work hours are reduced below 30
B. Change of status
                                                                              hours/week (even if it does not result in the Employee losing
A change in status is defined as:                                             eligibility for the Employer’s coverage); and the Employee
   change in legal marital status due to marriage, death of a                (and family) intend to enroll in another plan that provides
    spouse, divorce, annulment or legal separation;                           Minimum Essential Coverage (MEC). The new coverage must
   change in number of Dependents due to birth, adoption,                    be effective no later than the 1st day of the 2nd month
    placement for adoption, or death of a Dependent;                          following the month that includes the date the original
                                                                              coverage is revoked.


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H. Enrollment in a Qualified Health Plan (QHP)                           Please review this Plan for further details on the specific
The Employee must be eligible for a Special Enrollment                   coverage available to you and your Dependents.
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                  HC-FED11                                                       10-10
during the Marketplace’s annual open enrollment period; and
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP
through a Marketplace for new coverage effective beginning               Women’s Health and Cancer Rights Act
no later than the day immediately following the last day of the          (WHCRA)
original coverage.                                                       Do you know that your plan, as required by the Women’s
                                                                         Health and Cancer Rights Act of 1998, provides benefits for
HC-FED95                                                    04-17
                                                                         mastectomy-related services including all stages of
                                                                         reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
Eligibility for Coverage for Adopted Children                            the toll free number listed on your ID card for more
Any child who is adopted by you, including a child who is                information.
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date
                                                                         HC-FED12                                                       10-10
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that
child, totally or partially, prior to that child’s adoption.
If a child placed for adoption is not adopted, all health                Group Plan Coverage Instead of Medicaid
coverage ceases when the placement ends, and will not be                 If your income and liquid resources do not exceed certain
continued.                                                               limits established by law, the state may decide to pay
The provisions in the “Exception for Newborns” section of                premiums for this coverage instead of for Medicaid, if it is
this document that describe requirements for enrollment and              cost effective. This includes premiums for continuation
effective date of insurance will also apply to an adopted child          coverage required by federal law.
or a child placed with you for adoption.
                                                                         HC-FED13                                                       10-10

HC-FED67                                                    09-14



                                                                         Requirements of Family and Medical Leave Act
Coverage for Maternity Hospital Stay                                     of 1993 (as amended) (FMLA)
Group health plans and health insurance issuers offering group           Any provisions of the policy that provide for: continuation of
health insurance coverage generally may not, under a federal             insurance during a leave of absence; and reinstatement of
law known as the “Newborns’ and Mothers’ Health Protection               insurance following a return to Active Service; are modified
Act”: restrict benefits for any Hospital length of stay in               by the following provisions of the federal Family and Medical
connection with childbirth for the mother or newborn child to            Leave Act of 1993, as amended, where applicable:
less than 48 hours following a vaginal delivery, or less than 96         Continuation of Health Insurance During Leave
hours following a cesarean section; or require that a provider
                                                                         Your health insurance will be continued during a leave of
obtain authorization from the plan or insurance issuer for
                                                                         absence if:
prescribing a length of stay not in excess of the above periods.
The law generally does not prohibit an attending provider of                that leave qualifies as a leave of absence under the Family
the mother or newborn, in consultation with the mother, from                 and Medical Leave Act of 1993, as amended; and
discharging the mother or newborn earlier than 48 or 96 hours,              you are an eligible Employee under the terms of that Act.
as applicable.                                                           The cost of your health insurance during such leave must be
                                                                         paid, whether entirely by your Employer or in part by you and
                                                                         your Employer.




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Reinstatement of Canceled Insurance Following Leave                       You and your Dependents will be subject to only the balance
Upon your return to Active Service following a leave of                   of a waiting period that was not yet satisfied before the leave
absence that qualifies under the Family and Medical Leave                 began. However, if an Injury or Sickness occurs or is
Act of 1993, as amended, any canceled insurance (health, life             aggravated during the military leave, full Plan limitations will
or disability) will be reinstated as of the date of your return.          apply.
You will not be required to satisfy any eligibility or benefit            If your coverage under this plan terminates as a result of your
waiting period to the extent that they had been satisfied prior           eligibility for military medical and dental coverage and your
to the start of such leave of absence.                                    order to active duty is canceled before your active duty service
                                                                          commences, these reinstatement rights will continue to apply.
Your Employer will give you detailed information about the
Family and Medical Leave Act of 1993, as amended.
                                                                          HC-FED18                                                     10-10


HC-FED93                                                     10-17


                                                                          Claim Determination Procedures under ERISA
Uniformed Services Employment and Re-                                     The following complies with federal law. Provisions of
                                                                          applicable laws of your state may supersede.
Employment Rights Act of 1994 (USERRA)
                                                                          Procedures Regarding Medical Necessity Determinations
The Uniformed Services Employment and Re-employment
Rights Act of 1994 (USERRA) sets requirements for                         In general, health services and benefits must be Medically
continuation of health coverage and re-employment in regard               Necessary to be covered under the plan. The procedures for
to an Employee’s military leave of absence. These                         determining Medical Necessity vary, according to the type of
requirements apply to medical and dental coverage for you                 service or benefit requested, and the type of health plan.
and your Dependents. They do not apply to any Life, Short-                Medical Necessity determinations are made on a preservice,
term or Long-term Disability or Accidental Death &                        concurrent, or postservice basis, as described below:
Dismemberment coverage you may have.                                      Certain services require prior authorization in order to be
Continuation of Coverage                                                  covered. The Certificate describes who is responsible for
                                                                          obtaining this review. You or your authorized representative
For leaves of less than 31 days, coverage will continue as
                                                                          (typically, your health care professional) must request prior
described in the Termination section regarding Leave of
                                                                          authorization according to the procedures described below, in
Absence.
                                                                          the Certificate, and in your provider’s network participation
For leaves of 31 days or more, you may continue coverage for              documents as applicable.
yourself and your Dependents as follows:
                                                                          When services or benefits are determined to be not covered,
You may continue benefits by paying the required premium to               you or your representative will receive a written description of
your Employer, until the earliest of the following:                       the adverse determination, and may appeal the determination.
   24 months from the last day of employment with the                    Appeal procedures are described in the Certificate, in your
    Employer;                                                             provider’s network participation documents as applicable, and
                                                                          in the determination notices.
   the day after you fail to return to work; and
                                                                          Note: An oral statement made to you by a representative of
   the date the policy cancels.
                                                                          Cigna or its designee that indicates, for example, a particular
Your Employer may charge you and your Dependents up to                    service is a Covered Expense, is authorized for coverage by
102% of the total premium.                                                the plan, or that you are eligible for coverage is not a
Reinstatement of Benefits (applicable to all coverages)                   guarantee that you will receive benefits for services under this
If your coverage ends during the leave of absence because you             plan. Cigna will make a benefit determination after a claim is
do not elect USERRA at the expiration of USERRA and you                   received from you or your authorized representative, and the
are reemployed by your current Employer, coverage for you                 benefit determination will be based on, your eligibility as of
and your Dependents may be reinstated if you gave your                    the date services were rendered to you and the terms and
Employer advance written or verbal notice of your military                conditions of the plan in effect as of the date services were
service leave, and the duration of all military leaves while you          rendered to you.
are employed with your current Employer does not exceed 5
years.



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Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care
professional regarding whether an expedited determination is
necessary. Cigna will notify you or your representative of an
expedited determination within 72 hours after receiving the
request.
However, if necessary information is missing from the
request, Cigna will notify you or your representative within 24
hours after receiving the request to specify what information is
needed. You or your representative must provide the specified
information to Cigna within 48 hours after receiving the
notice. Cigna will notify you or your representative of the
expedited benefit determination within 48 hours after you or
your representative responds to the notice. Expedited
determinations may be provided orally, followed within 3 days
by written or electronic notification.
If you or your representative attempts to request a preservice
determination, but fails to follow Cigna’s procedures for
requesting a required preservice determination, Cigna will
notify you or your representative of the failure and describe
the proper procedures for filing within 5 days (or 24 hours, if
an expedited determination is required, as described above)
after receiving the request. This notice may be provided orally,
unless you or your representative requests written notification.
Concurrent Determinations
When an ongoing course of treatment has been approved for
you and you wish to extend the approval, you or your
representative must request a required concurrent coverage
determination at least 24 hours prior to the expiration of the
approved period of time or number of treatments. When you


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Notice of Adverse Determination                                         When is COBRA Continuation Available?
Every notice of an adverse benefit determination will be                For you and your Dependents, COBRA continuation is
provided in writing or electronically, and will include all of          available for up to 18 months from the date of the following
the following that pertain to the determination: information            qualifying events if the event would result in a loss of
sufficient to identify the claim including, if applicable, the          coverage under the Plan:
date of service, provider and claim amount; diagnosis and                  your termination of employment for any reason, other than
treatment codes, and their meanings; the specific reason or                 gross misconduct; or
reasons for the adverse determination including, if applicable,
the denial code and its meaning and a description of any                   your reduction in work hours.
standard that was used in the denial; reference to the specific         For your Dependents, COBRA continuation coverage is
plan provisions on which the determination is based; a                  available for up to 36 months from the date of the following
description of any additional material or information necessary         qualifying events if the event would result in a loss of
to perfect the claim and an explanation of why such material            coverage under the Plan:
or information is necessary; a description of the plan’s review            your death;
procedures and the time limits applicable, including a
                                                                           your divorce or legal separation; or
statement of a claimant’s rights to bring a civil action under
section 502(a) of ERISA following an adverse benefit                       for a Dependent child, failure to continue to qualify as a
determination on appeal, (if applicable); upon request and free             Dependent under the Plan.
of charge, a copy of any internal rule, guideline, protocol or          Who is Entitled to COBRA Continuation?
other similar criterion that was relied upon in making the
                                                                        Only a “qualified beneficiary” (as defined by federal law) may
adverse determination regarding your claim; and an
                                                                        elect to continue health insurance coverage. A qualified
explanation of the scientific or clinical judgment for a
                                                                        beneficiary may include the following individuals who were
determination that is based on a Medical Necessity,
                                                                        covered by the Plan on the day the qualifying event occurred:
experimental treatment or other similar exclusion or limit; a
                                                                        you, your spouse, and your Dependent children. Each
description of any available internal appeal and/or external
                                                                        qualified beneficiary has their own right to elect or decline
review process(es); information about any office of health
                                                                        COBRA continuation coverage even if you decline or are not
insurance consumer assistance or ombudsman available to
                                                                        eligible for COBRA continuation.
assist you with the appeal process; and in the case of a claim
involving urgent care, a description of the expedited review            The following individuals are not qualified beneficiaries for
process applicable to such claim.                                       purposes of COBRA continuation: domestic partners,
                                                                        grandchildren (unless adopted by you), stepchildren (unless
                                                                        adopted by you). Although these individuals do not have an
HC-FED104                                                  01-19        independent right to elect COBRA continuation coverage, if
                                                                        you elect COBRA continuation coverage for yourself, you
                                                                        may also cover your Dependents even if they are not
COBRA Continuation Rights Under Federal                                 considered qualified beneficiaries under COBRA. However,
                                                                        such individuals’ coverage will terminate when your COBRA
Law
                                                                        continuation coverage terminates. The sections titled
For You and Your Dependents                                             “Secondary Qualifying Events” and “Medicare Extension For
What is COBRA Continuation Coverage?                                    Your Dependents” are not applicable to these individuals.
Under federal law, you and/or your Dependents must be given             Secondary Qualifying Events
the opportunity to continue health insurance when there is a            If, as a result of your termination of employment or reduction
“qualifying event” that would result in loss of coverage under          in work hours, your Dependent(s) have elected COBRA
the Plan. You and/or your Dependents will be permitted to               continuation coverage and one or more Dependents experience
continue the same coverage under which you or your                      another COBRA qualifying event, the affected Dependent(s)
Dependents were covered on the day before the qualifying                may elect to extend their COBRA continuation coverage for
event occurred, unless you move out of that plan’s coverage             an additional 18 months (7 months if the secondary event
area or the plan is no longer available. You and/or your                occurs within the disability extension period) for a maximum
Dependents cannot change coverage options until the next                of 36 months from the initial qualifying event. The second
open enrollment period.                                                 qualifying event must occur before the end of the initial 18
                                                                        months of COBRA continuation coverage or within the
                                                                        disability extension period discussed below. Under no
                                                                        circumstances will COBRA continuation coverage be


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available for more than 36 months from the initial qualifying             after electing COBRA continuation coverage, a qualified
event. Secondary qualifying events are: your death; your                   beneficiary enrolls in Medicare (Part A, Part B, or both);
divorce or legal separation; or, for a Dependent child, failure           after electing COBRA continuation coverage, a qualified
to continue to qualify as a Dependent under the Plan.                      beneficiary becomes covered under another group health
Disability Extension                                                       plan, unless the qualified beneficiary has a condition for
If, after electing COBRA continuation coverage due to your                 which the new plan limits or excludes coverage under a pre-
termination of employment or reduction in work hours, you or               existing condition provision. In such case coverage will
one of your Dependents is determined by the Social Security                continue until the earliest of: the end of the applicable
Administration (SSA) to be totally disabled under Title II or              maximum period; the date the pre-existing condition
XVI of the SSA, you and all of your Dependents who have                    provision is no longer applicable; or the occurrence of an
elected COBRA continuation coverage may extend such                        event described in one of the first three bullets above;
continuation for an additional 11 months, for a maximum of                any reason the Plan would terminate coverage of a
29 months from the initial qualifying event.                               participant or beneficiary who is not receiving continuation
To qualify for the disability extension, all of the following              coverage (e.g., fraud).
requirements must be satisfied:                                        Moving Out of Employer’s Service Area or Elimination of
   SSA must determine that the disability occurred prior to or        a Service Area
    within 60 days after the disabled individual elected COBRA         If you and/or your Dependents move out of the Employer’s
    continuation coverage; and                                         service area or the Employer eliminates a service area in your
   A copy of the written SSA determination must be provided           location, your COBRA continuation coverage under the plan
    to the Plan Administrator within 60 calendar days after the        will be limited to emergency services only. Because the Plan
    date the SSA determination is made AND before the end of           does not provide out-of-network coverage, nonemergency
    the initial 18-month continuation period.                          services will not be covered under the plan outside of the
                                                                       Employer’s service area. If the Employer offers another
If the SSA later determines that the individual is no longer           benefit option through Cigna or another carrier which can
disabled, you must notify the Plan Administrator within 30             provide coverage in your location, you may elect COBRA
days after the date the final determination is made by SSA.            continuation coverage under that option.
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than        Employer’s Notification Requirements
30 days after the date the SSA makes a final determination             Your Employer is required to provide you and/or your
that the disabled individual is no longer disabled.                    Dependents with the following notices:
All causes for “Termination of COBRA Continuation” listed                 An initial notification of COBRA continuation rights must
below will also apply to the period of disability extension.               be provided within 90 days after your (or your spouse’s)
Medicare Extension for Your Dependents                                     coverage under the Plan begins (or the Plan first becomes
                                                                           subject to COBRA continuation requirements, if later). If
When the qualifying event is your termination of employment                you and/or your Dependents experience a qualifying event
or reduction in work hours and you became enrolled in                      before the end of that 90-day period, the initial notice must
Medicare (Part A, Part B or both) within the 18 months before              be provided within the time frame required for the COBRA
the qualifying event, COBRA continuation coverage for your                 continuation coverage election notice as explained below.
Dependents will last for up to 36 months after the date you
became enrolled in Medicare. Your COBRA continuation                      A COBRA continuation coverage election notice must be
coverage will last for up to 18 months from the date of your               provided to you and/or your Dependents within the
termination of employment or reduction in work hours.                      following timeframes:
Termination of COBRA Continuation                                           if the Plan provides that COBRA continuation coverage
                                                                             and the period within which an Employer must notify the
COBRA continuation coverage will be terminated upon the                      Plan Administrator of a qualifying event starts upon the
occurrence of any of the following:                                          loss of coverage, 44 days after loss of coverage under the
   the end of the COBRA continuation period of 18, 29 or 36                 Plan;
    months, as applicable;                                                  if the Plan provides that COBRA continuation coverage
   failure to pay the required premium within 30 calendar days              and the period within which an Employer must notify the
    after the due date;                                                      Plan Administrator of a qualifying event starts upon the
   cancellation of the Employer’s policy with Cigna;                        occurrence of a qualifying event, 44 days after the
                                                                             qualifying event occurs; or



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   in the case of a multi-employer plan, no later than 14 days           after the date of your election. (This is the date the Election
    after the end of the period in which Employers must                   Notice is postmarked, if mailed.) If you do not make your first
    provide notice of a qualifying event to the Plan                      payment within that 45 days, you will lose all COBRA
    Administrator.                                                        continuation rights under the Plan.
How to Elect COBRA Continuation Coverage                                  Subsequent payments
The COBRA coverage election notice will list the individuals              After you make your first payment for COBRA continuation
who are eligible for COBRA continuation coverage and                      coverage, you will be required to make subsequent payments
inform you of the applicable premium. The notice will also                of the required premium for each additional month of
include instructions for electing COBRA continuation                      coverage. Payment is due on the first day of each month. If
coverage. You must notify the Plan Administrator of your                  you make a payment on or before its due date, your coverage
election no later than the due date stated on the COBRA                   under the Plan will continue for that coverage period without
election notice. If a written election notice is required, it must        any break.
be post-marked no later than the due date stated on the                   Grace periods for subsequent payments
COBRA election notice. If you do not make proper
notification by the due date shown on the notice, you and your            Although subsequent payments are due by the first day of the
Dependents will lose the right to elect COBRA continuation                month, you will be given a grace period of 30 days after the
coverage. If you reject COBRA continuation coverage before                first day of the coverage period to make each monthly
the due date, you may change your mind as long as you                     payment. Your COBRA continuation coverage will be
furnish a completed election form before the due date.                    provided for each coverage period as long as payment for that
                                                                          coverage period is made before the end of the grace period for
Each qualified beneficiary has an independent right to elect              that payment. However, if your payment is received after the
COBRA continuation coverage. Continuation coverage may                    due date, your coverage under the Plan may be suspended
be elected for only one, several, or for all Dependents who are           during this time. Any providers who contact the Plan to
qualified beneficiaries. Parents may elect to continue coverage           confirm coverage during this time may be informed that
on behalf of their Dependent children. You or your spouse                 coverage has been suspended. If payment is received before
may elect continuation coverage on behalf of all the qualified            the end of the grace period, your coverage will be reinstated
beneficiaries. You are not required to elect COBRA                        back to the beginning of the coverage period. This means that
continuation coverage in order for your Dependents to elect               any claim you submit for benefits while your coverage is
COBRA continuation.                                                       suspended may be denied and may have to be resubmitted
How Much Does COBRA Continuation Coverage Cost?                           once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire              payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed                  period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both                 coverage under the Plan.
Employer and Employee contributions) for coverage of a                    You Must Give Notice of Certain Qualifying Events
similarly situated active Employee or family member. The                  If you or your Dependent(s) experience one of the following
premium during the 11-month disability extension may not                  qualifying events, you must notify the Plan Administrator
exceed 150% of the cost to the group health plan (including               within 60 calendar days after the later of the date the
both employer and employee contributions) for coverage of a               qualifying event occurs or the date coverage would cease as a
similarly situated active Employee or family member.                      result of the qualifying event:
For example: If the Employee alone elects COBRA                              Your divorce or legal separation; or
continuation coverage, the Employee will be charged 102%
(or 150%) of the active Employee premium. If the spouse or                   Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation                          The occurrence of a secondary qualifying event as discussed
coverage, they will be charged 102% (or 150%) of the active                   under “Secondary Qualifying Events” above (this notice
Employee premium. If more than one qualified beneficiary                      must be received prior to the end of the initial 18- or 29-
elects COBRA continuation coverage, they will be charged                      month COBRA period).
102% (or 150%) of the applicable family premium.                          (Also refer to the section titled “Disability Extension” for
When and How to Pay COBRA Premiums                                        additional notice requirements.)
First payment for COBRA continuation                                      Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have                 the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you                  Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days               affected by the qualifying event; the qualifying event; the date


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the qualifying event occurred; and supporting documentation                 (b) either
(e.g., divorce decree, birth certificate, disability determination,              the referring health care professional is a participating
etc.).                                                                            health care provider and has concluded that the
Newly Acquired Dependents                                                         individual’s participation in such trial would be
If you acquire a new Dependent through marriage, birth,                           appropriate based upon the individual meeting the
adoption or placement for adoption while your coverage is                         conditions described in paragraph (a); or
being continued, you may cover such Dependent under your                         the individual provides medical and scientific information
COBRA continuation coverage. However, only your newborn                           establishing that the individual’s participation in such trial
or adopted Dependent child is a qualified beneficiary and may                     would be appropriate based upon the individual meeting
continue COBRA continuation coverage for the remainder of                         the conditions described in paragraph (a).
the coverage period following your early termination of                     For purposes of clinical trials, the term “life-threatening
COBRA coverage or due to a secondary qualifying event.                      disease or condition” means any disease or condition from
COBRA coverage for your Dependent spouse and any                            which the likelihood of death is probable unless the course of
Dependent children who are not your children (e.g.,                         the disease or condition is interrupted.
stepchildren or grandchildren) will cease on the date your
COBRA coverage ceases and they are not eligible for a                       The clinical trial must meet the following requirements:
secondary qualifying event.                                                 The study or investigation must:
COBRA Continuation for Retirees Following Employer’s                           be approved or funded by any of the agencies or entities
Bankruptcy                                                                      authorized by federal law to conduct clinical trials;
If you are covered as a retiree, and a proceeding in bankruptcy                be conducted under an investigational new drug application
is filed with respect to the Employer under Title 11 of the                     reviewed by the Food and Drug Administration; or
United States Code, you may be entitled to COBRA                               involve a drug trial that is exempt from having such an
continuation coverage. If the bankruptcy results in a loss of                   investigational new drug application.
coverage for you, your Dependents or your surviving spouse
                                                                            Routine patient care costs are costs associated with the
within one year before or after such proceeding, you and your
                                                                            provision of health care items and services including drugs,
covered Dependents will become COBRA qualified
                                                                            items, devices and services otherwise covered by this benefit
beneficiaries with respect to the bankruptcy. You will be
                                                                            plan for an individual who is not enrolled in a clinical trial
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will                   and, in addition:
be entitled to COBRA continuation coverage for up to 36                        services required solely for the provision of the
months following your death. However, COBRA continuation                        investigational drug, item, device or service;
coverage will cease upon the occurrence of any of the events                   services required for the clinically appropriate monitoring of
listed under “Termination of COBRA Continuation” above.                         the investigational drug, device, item or service;
Interaction With Other Continuation Benefits                                   services provided for the prevention of complications
You may be eligible for other continuation benefits under state                 arising from the provision of the investigational drug,
law. Refer to the Termination section for any other                             device, item or service; and
continuation benefits.                                                         reasonable and necessary care arising from the provision of
                                                                                the investigational drug, device, item or service, including
                                                                                the diagnosis or treatment of complications.
HC-FED66                                                       07-14
                                                                            Routine patient care costs do not include:
                                                                               the investigational drug, device, item, or service, itself; or
Clinical Trials                                                                items and services that are provided solely to satisfy data
This benefit plan covers routine patient care costs related to a                collection and analysis needs and that are not used in the
qualified clinical trial for an individual who meets the                        direct clinical management of the patient.
following requirements:                                                     Clinical trials conducted by non-participating providers will be
(a) is eligible to participate in an approved clinical trial                covered at the In-Network benefit level if:
    according to the trial protocol with respect to treatment of               there are not In-Network providers participating in the
    cancer or other life-threatening disease or condition; and                  clinical trial that are willing to accept the individual as a
                                                                                patient, or



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   the clinical trial is conducted outside the individual’s state           Discretionary Authority
    of residence.                                                            The Plan Administrator delegates to Cigna the discretionary
                                                                             authority to interpret and apply plan terms and to make factual
HC-FED53                                                        10-13
                                                                             determinations in connection with its review of claims under
                                                                             the plan. Such discretionary authority is intended to include,
                                                                             but not limited to, the determination of the eligibility of
                                                                             persons desiring to enroll in or claim benefits under the plan,
ERISA Required Information                                                   the determination of whether a person is entitled to benefits
The name of the Plan is:                                                     under the plan, and the computation of any and all benefit
    Connections Education, LLC Health and Welfare Benefits                   payments. The Plan Administrator also delegates to Cigna the
    Plan                                                                     discretionary authority to perform a full and fair review, as
                                                                             required by ERISA, of each claim denial which has been
The name, address, ZIP code and business telephone number                    appealed by the claimant or his duly authorized representative.
of the sponsor of the Plan is:
                                                                             Plan Modification, Amendment and Termination
    Connections Education, LLC
    1001 Fleet Street                                                        The Employer as Plan Sponsor reserves the right to, at any
    5th Floor                                                                time, change or terminate benefits under the Plan, to change or
    Baltimore, MD 21202                                                      terminate the eligibility of classes of employees to be covered
    (855) 330-4636                                                           by the Plan, to amend or eliminate any other plan term or
                                                                             condition, and to terminate the whole plan or any part of it.
Employer Identification                Plan Number:                          Contact the Employer for the procedure by which benefits
Number (EIN):                                                                may be changed or terminated, by which the eligibility of
680519943                              501                                   classes of employees may be changed or terminated, or by
The name, address, ZIP code and business telephone number                    which part or all of the Plan may be terminated. No consent of
of the Plan Administrator is:                                                any participant is required to terminate, modify, amend or
                                                                             change the Plan.
    Employer named above
                                                                             Termination of the Plan together with termination of the
The name, address and ZIP code of the person designated as                   insurance policy(s) which funds the Plan benefits will have no
agent for service of legal process is:                                       adverse effect on any benefits to be paid under the policy(s)
    Employer named above                                                     for any covered medical expenses incurred prior to the date
The office designated to consider the appeal of denied claims                that policy(s) terminates. Likewise, any extension of benefits
is:                                                                          under the policy(s) due to you or your Dependent's total
                                                                             disability which began prior to and has continued beyond the
    The Cigna Claim Office responsible for this Plan                         date the policy(s) terminates will not be affected by the Plan
The cost of the Plan is shared by Employee and Employer.                     termination. Rights to purchase limited amounts of life and
The Plan’s fiscal year ends on 12/31.                                        medical insurance to replace part of the benefits lost because
                                                                             the policy(s) terminated may arise under the terms of the
The preceding pages set forth the eligibility requirements and
                                                                             policy(s). A subsequent Plan termination will not affect the
benefits provided for you under this Plan.
                                                                             extension of benefits and rights under the policy(s).
Plan Trustees
                                                                             Your coverage under the Plan’s insurance policy(s) will end
A list of any Trustees of the Plan, which includes name, title               on the earliest of the following dates:
and address, is available upon request to the Plan
                                                                                the date you leave Active Service (or later as explained in
Administrator.
                                                                                 the Termination Section;)
Plan Type
                                                                                the date you are no longer in an eligible class;
The plan is a healthcare benefit plan.
                                                                                if the Plan is contributory, the date you cease to contribute;
Collective Bargaining Agreements
                                                                                the date the policy(s) terminates.
You may contact the Plan Administrator to determine whether
                                                                             See your Plan Administrator to determine if any extension of
the Plan is maintained pursuant to one or more collective
                                                                             benefits or rights are available to you or your Dependents
bargaining agreements and if a particular Employer is a
                                                                             under this policy(s). No extension of benefits or rights will be
sponsor. A copy is available for examination from the Plan
                                                                             available solely because the Plan terminates.
Administrator upon written request.



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Statement of Rights                                                     administrator to provide the materials and pay you up to $110
As a participant in the plan you are entitled to certain rights         a day until you receive the materials, unless the materials were
and protections under the Employee Retirement Income                    not sent because of reasons beyond the control of the
Security Act of 1974 (ERISA). ERISA provides that all plan              administrator. If you have a claim for benefits which is denied
participants shall be entitled to:                                      or ignored, in whole or in part, you may file suit in a state or
                                                                        federal court.
Receive Information About Your Plan and Benefits
                                                                        In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office
                                                                        thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union         order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance          federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy             the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the           asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the           Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security              The court will decide who should pay court costs and legal
  Administration.                                                       fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,             have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                   may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,           finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)           Assistance with Your Questions
    and updated summary plan description. The administrator
    may make a reasonable charge for the copies.                        If you have any questions about your plan, you should contact
                                                                        the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The        statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person        assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.        you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                     Security Administration, U.S. Department of Labor listed in
 continue health care coverage for yourself, your spouse or            your telephone directory or the Division of Technical
  Dependents if there is a loss of coverage under the Plan as a         Assistance and Inquiries, Employee Benefits Security
  result of a qualifying event. You or your Dependents may              Administration, U.S. Department of Labor, 200 Constitution
  have to pay for such coverage. Review the documents                   Avenue N.W., Washington, D.C. 20210. You may also obtain
  governing the Plan on the rules governing your federal                certain publications about your rights and responsibilities
  continuation coverage rights.                                         under ERISA by calling the publications hotline of the
                                                                        Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
imposes duties upon the people responsible for the operation            HC-FED72                                                    05-15

of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants        Notice of an Appeal or a Grievance
and beneficiaries. No one, including your employer, your
                                                                        The appeal or grievance provision in this certificate may be
union, or any other person may fire you or otherwise
                                                                        superseded by the law of your state. Please see your
discriminate against you in any way to prevent you from
                                                                        explanation of benefits for the applicable appeal or grievance
obtaining a welfare benefit or exercising your rights under
                                                                        procedure.
ERISA. If your claim for a welfare benefit is denied or
ignored you have a right to know why this was done, to obtain
copies of documents relating to the decision without charge,                                                                    HC-SPP4V2
and to appeal any denial, all within certain time schedules.                                                                        04-10

Enforce Your Rights
Under ERISA, there are steps you can take to enforce the
above rights. For instance, if you request a copy of documents          Appointment of Authorized Representative
governing the plan or the latest annual report from the plan            You may appoint an authorized representative to assist you in
and do not receive them within 30 days, you may file suit in a          submitting a claim or appealing a claim denial. However,
federal court. In such a case, the court may require the plan           Cigna may require you to designate your authorized


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representative in writing using a form approved by Cigna. At               Compelling Reason
all times, the appointment of an authorized representative is              A Compelling Reason includes showing that the potential
revocable by you. To ensure that a prior appointment remains               delay in receipt of a Health Care Service until after the insured
valid, Cigna may require you to re-appoint your authorized                 or Health Care Provider exhausts the internal Grievance
representative, from time to time.                                         process and obtains a final decision under the Grievance
Cigna reserves the right to refuse to honor the appointment of             process could result in:
a representative if Cigna reasonably determines that:                         loss of life;
   the signature on an authorized representative form may not                serious impairment to a bodily function;
    be yours, or
                                                                              serious dysfunction of a bodily organ;
   the authorized representative may not have disclosed to you
    all of the relevant facts and circumstances relating to the               the insured remaining seriously mentally ill or using
    overpayment or underpayment of any claim, including, for                   intoxicating substances, with symptoms that cause the
    example, that the billing practices of the provider of medical             insured to be in danger to self or others; or
    services may have jeopardized your coverage through the                   the member continuing to experience severe withdrawal
    waiver of the cost-sharing amounts that you are required to                symptoms.
    pay under your plan.                                                   A member is considered to be in danger to self or others if the
If your designation of an authorized representative is revoked,            member is unable to function in activities of daily living or
or Cigna does not honor your designation, you may appoint a                care for self without imminent dangerous consequences.
new authorized representative at any time, in writing, using a             Complaint
form approved by Cigna.
                                                                           A Complaint is a protest filed with the Maryland Insurance
                                                                           Commissioner involving an Adverse Decision or Grievance
HC-AAR1                                                       01-17        Decision concerning the insured; or a protest filed with the
                                                                           Commissioner involving a Coverage Decision.
                                                                           Emergency Case
When You Have A Complaint, An Appeal                                       Emergency Case means a case involving an Adverse Decision
                                                                           for which an expedited review is required by law.
Or A Grievance
                                                                           Grievance
Definitions
                                                                           A Grievance is a protest by an insured, his or her
Adverse Decision
                                                                           representative or a Health Care Provider on behalf of the
An Adverse Decision is a utilization review determination by               insured filed with Cigna through its internal Grievance process
Cigna that: a proposed or delivered Health Care Service                    regarding an Adverse Decision concerning the insured.
covered under the insured's contract is or was not Medically
                                                                           Grievance Decision
Necessary, appropriate, or efficient; and may result in
noncoverage of the Health Care Service.                                    A Grievance Decision by Cigna is a final determination that
                                                                           arises from a Grievance regarding an Adverse Decision
Appeal
                                                                           concerning the insured, which was filed with Cigna under its
An Appeal is a protest filed by an insured, his or her                     internal Grievance process.
representative or a Health Care Provider with Cigna under its
                                                                           Health Care Provider
internal Appeal process regarding a Coverage Decision
concerning an insured.                                                     A Health Care Provider means: an individual who is licensed
                                                                           under the Maryland Health Occupations Article to provide
Appeal Decision
                                                                           Health Care Services in the ordinary course of business or
An Appeal Decision is a final determination by Cigna that                  practice of a profession, and is a treating provider of the
arises from an Appeal filed with Cigna under its Appeal                    insured; or a Hospital, as defined by Maryland law.
process regarding a Coverage Decision concerning an insured.
                                                                           Health Care Service
                                                                           A Health Care Service is a health or medical care procedure or
                                                                           service rendered by a Health Care Provider that: provides
                                                                           testing, diagnosis, or treatment of a human disease or
                                                                           dysfunction; or dispenses drugs, medical devices, medical




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appliances, or medical goods for the treatment of a human                 explain your concern to one of our Customer Service
disease or dysfunction.                                                   representatives. Please call us at the Customer Services toll-
Medically Necessary/Medical Necessity                                     free number that appears on your benefit identification card,
                                                                          explanation of benefits or claim form.
Medically Necessary/Medical Necessity refer to Health Care
Services and supplies which are determined by Cigna to be:                Quality of Care Issues
medically required to meet the basic health needs of the                  Quality of Care Issues include the following: malpractice
insured; consistent with the diagnosis of the condition;                  allegation; negative patient outcomes related to poor care;
consistent in type, frequency and duration of treatment with              failure to follow up on diagnostic procedures; failure to
scientifically based guidelines as determined by medical                  provide treatment for presenting Complaints consistent with
research; required for purposes other than the comfort and                standard of care; failure to appropriately document medical
convenience of the patient or his Physician; and of                       records; confidentiality and privacy issues related to medical
demonstrated medical value.                                               records or care; dissatisfaction of providers; qualifications of
Member’s Representative                                                   providers; misdiagnosis; inappropriate referrals;
                                                                          environmental issues related to infection control and
Member's Representative means an individual who has been                  hazardous medical waste; failure of a provider to perform
authorized by the member to file a Grievance or a Complaint               adequate medical screening, assessments, or emergency care;
on the member's behalf.                                                   failure to provide an adequate internal insured Complaint
Private Review Agent:                                                     process concerning Quality of Care Issues; failure to comply
  "Private review agent" means:                                           with policies and procedures concerning delivery of care;
                                                                          inadequate credentialing and performance appraisal for
   a nonhospital-affiliated person or entity performing
                                                                          Physician; and denial of Health Care Service benefits by
    utilization review that is either affiliated with, under
                                                                          Cigna.
    contract with, or acting on behalf of:
                                                                          We will do our best to resolve the matter on your initial
       a Maryland business entity; or                                    contact. If we need more time to review or investigate your
       a third party that pays for, provides, or administers             concern, we will get back to you as soon as possible, but in
        Health Care Services to citizens of this State.                   any case within 30 days.
   any person or entity including a Hospital-affiliated person           If you are not satisfied with the results of a Coverage
    performing utilization review for the purpose of making               Decision, such as a claim denial or other adverse
    claims or payment decisions for Health Care Services on               determination, or a rescission of coverage, you can start the
    behalf of the employer's or labor union's health insurance            Administrative Appeals Procedure or Medical Necessity
    plan under an employee assistance program for                         Grievance Procedure.
    employees other than the employees employed by:
                                                                          Internal Appeals and Grievance Procedure
       the Hospital; or
                                                                          Cigna has a one-step Appeals and Grievance Procedure for
       a business wholly owned by the Hospital.                          Coverage Decisions and decisions involving Medical
Any services precertified by the Review Organization will be              Necessity. To initiate an Administrative Appeal or Medical
deemed Medically Necessary.                                               Necessity Grievance for most claims, you must submit a
                                                                          request for an Appeal or Grievance within 180 days of receipt
When You Have a Complaint, an Appeal or a Grievance
                                                                          of a denial notice. If you Appeal a reduction or termination in
For the purposes of this section, any reference to "you", "your"          coverage for an ongoing course of treatment that Cigna
or "Member" also refers to a representative or your treating              previously approved, you will receive, as required by
provider designated by you to act on your behalf; and                     applicable law, continued coverage pending the outcome of an
"Physician reviewers" are licensed Physicians depending on                Appeal. Appeals may be submitted to the following address:
the care, treatment or service under review.
                                                                            Cigna
We want you to be completely satisfied with the care and                    National Appeals Organization (NAO)
services you receive. That is why we have established a                     PO Box 188011
process for addressing your concerns and solving your                       Chattanooga, TN 37422
problems.
                                                                          For decisions involving Medical Necessity, a denial notice is
Start With Customer Services                                              the same as an Adverse Decision. Notice of an Adverse
We are here to listen and help. If you have a concern regarding           Decision must be sent by us within five working days after the
a person, a service, the quality of care, contractual benefits, or        decision is made. You should state the reason why you feel
a rescission of coverage, you can call our toll-free number and           your Appeal or Grievance should be approved and include any


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information supporting your Appeal or Grievance. If you are             to be a danger to self or others, or would cause you to continue
unable or choose not to write, you may ask to register your             using intoxicating substances in an imminently dangerous
Appeal or Grievance by calling the toll-free number on your             manner, we will respond verbally with a decision within 24
benefit identification card, explanation of benefits or claim           hours of the date a Grievance is filed, followed up in writing
form. If we determine that we do not have sufficient                    within one calendar day of the verbal response.
information to complete our review, you will be notified                If you request that your Appeal be expedited because the time
within five working days after the Filing Date of your                  frames under this process would seriously jeopardize your life,
Grievance and will be assisted by us, without further delay, in         health or ability to regain maximum function or in the opinion
gathering the necessary information.                                    of your Physician would cause you severe pain which cannot
Filing Date means the earlier of: five days after the date of           be managed without the requested services, you may also ask
mailing or the date of receipt.                                         for an expedited external Independent Review at the same
Medical Necessity Grievance Procedure                                   time, if the time to complete an expedited Grievance would be
                                                                        detrimental to your medical condition.
Your request to reconsider an Adverse Decision will be
reviewed and the decision made by someone not involved in               Administrative Appeal Procedure
the initial decision. Grievances involving Medical Necessity            Your request to reconsider a Coverage Decision will be
will be considered by a Physician reviewer who is board                 reviewed and the decision made by someone not involved in
certified or eligible in the same specialty as the treatment            the initial decision. We will make a final Appeal Decision and
under review. The Medical Director who has responsibility for           will notify you in writing of our decision, both within 30
oversight of Grievance Decisions is:                                    calendar days of your request. If more time or information is
  Zehra Jung, MD, MHA, CPE                                              needed to make the determination, we will notify you in
  Medical Director                                                      writing to request an extension of up to 15 calendar days and
  Cigna Healthcare                                                      to specify any additional information needed to complete the
  701 Corporate Center Dr.                                              review. In the event any new or additional information
  Raleigh, NC 27607                                                     (evidence) is considered, relied upon or generated by Cigna in
  Telephone Number: 800-558-7390, OPT 3                                 connection with the Appeal, Cigna will provide this
                                                                        information to you as soon as possible and sufficiently in
We will make a decision and will notify you in writing of our           advance of the decision, so that you will have an opportunity
decision, both within 30 calendar days of the Filing Date of            to respond. Also, if any new or additional rationale is
your Grievance request, unless you agree in writing to an               considered by Cigna, Cigna will provide the rationale to you
extension for a period of no longer than 15 calendar days. In           as soon as possible and sufficiently in advance of the decision
the event any new or additional information (evidence) is               so that you will have an opportunity to respond.
considered, relied upon or generated by Cigna in connection
with the Appeal, Cigna will provide this information to you as          Expedited Administrative Appeal Procedure
soon as possible and sufficiently in advance of the decision, so        You may also request that the Appeal process be expedited if
that you will have an opportunity to respond. Also, if any new          the time frames under this process would result in: serious
or additional rationale is considered by Cigna, Cigna will              jeopardy to your life or health; your inability to regain
provide the rationale to you as soon as possible and                    maximum function; serious impairment to bodily functions;
sufficiently in advance of the decision so that you will have an        serious dysfunction of any bodily organ or part; your
opportunity to respond.                                                 remaining seriously mentally ill with symptoms that cause you
In no case will written notice of the Grievance Decision be             to be a danger to self or others; the opinion of a Health Care
sent later than five working days after the Grievance Decision          Provider with knowledge of your medical condition, severe
has been made.                                                          pain that cannot be adequately managed without the care or
                                                                        treatment that is the subject of the Coverage Decision.
Decisions involving a Grievance request in connection with a
retrospective denial will be made within 45 working days after          If you request that your Appeal be expedited because the time
the date on which the Grievance is filed. The decision will be          frames under this process would seriously jeopardize your life,
communicated to you in writing.                                         health or ability to regain maximum function or in the opinion
                                                                        of your Physician would cause you severe pain which cannot
Expedited Medical Necessity Grievance Procedure                         be managed without the requested services, you may also ask
An expedited Grievance is available for services that are               for an expedited external Independent Review at the same
proposed, but which have not yet been rendered. When                    time, if the time to complete an expedited Grievance would be
requested and when the time frames under this process would             detrimental to your medical condition.
seriously jeopardize your life or health or would jeopardize
your ability to regain maximum function or would cause you


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The Physician reviewer, in consultation with the treating                Administrative or Other Appeals
Physician, will decide if an expedited Appeal is necessary.              If you are not satisfied with the final Appeal Decision, you
When an Appeal is expedited, we will respond verbally with a             have the right within four months to file a Complaint with the
decision within 72 hours, followed up in writing.                        Maryland Insurance Commissioner. The Administration may
Assistance from the State of Maryland                                    be contacted at the following address and telephone number:
Medical Necessity Grievance                                                  Maryland Insurance Administration
If you are not fully satisfied with the final decision of Cigna’s            200 St. Paul Place, Suite 2700
Grievance review regarding your Medical Necessity issue, you                 Baltimore, MD 21202
have the right within four months to file a Complaint with the               Telephone Number: 410-468-2000
Maryland Insurance Commissioner. The Complaint may be                        TTY: 1-800-735-2258
filed without first filing a Grievance if:                               When filing a Complaint with the Commissioner, the member
   we have waived the requirements for you to participate in            or the Member's Representative will be required to authorize
    our internal Grievance process;                                      the release of any medical records of the member that may be
                                                                         required to be reviewed for the purpose of reaching a decision
   we have failed to follow any of the requirements of our              on the Complaint.
    internal Grievance process; or
                                                                         The Complaint may be filed with the Commissioner without
   you can demonstrate to the Commissioner a Compelling                 first filing an Appeal, and receiving a final decision if: the
    Reason to do so.                                                     Complaint is the subject of an initial Coverage Decision that
You may also file a Complaint with the Commissioner if we                involves care which has not yet been rendered, and you give
fail to make a decision on a Medical Necessity Grievance                 sufficient information and supporting documentation in the
within the required time frames, including if a Grievance                Complaint that demonstrates an Urgent Medical Condition
Decision is not received within 24 hours for an Expedited                exists.
Medical Necessity Grievance. The Commissioner may be                     If a case involves a retrospective denial, an Urgent Medical
contacted at the following address, telephone number, and fax            Condition that would allow you to file a Complaint is not
number:                                                                  deemed to exist unless you have first exhausted Cigna’s
    Maryland Insurance Administration                                    internal Appeal process.
    Appeals and Grievance Unit                                           Coverage Decision means: an initial determination by us that
    200 St. Paul Place, Suite 2700                                       results in noncoverage of a Health Care Service; a
    Baltimore, MD 21202                                                  determination by us that an individual is not eligible for
    Telephone Number:                                                    coverage under a health benefit plan; or any determination by
    410-468-2000 or 1-800-492-6116                                       us that results in the rescission of an individual’s coverage
    Fax Number: 410-468-2270                                             under a health benefit. This includes nonpayment of all or any
    TTY 1-800-735-2258                                                   part of a claim. Coverage Decision does not include decisions
The Health Advocacy Unit is available to assist you in both              based on Medical Necessity.
mediating and filing a Grievance under our internal Grievance            Urgent Medical Condition means a condition that satisfies
process. You may contact the Health Advocacy Unit of                     either of the following:
Maryland's Consumer Protection at:
                                                                            medical condition, including a physical condition, mental
    Office of the Attorney General                                           condition, or a dental condition where the absence of
    Consumer Protection Division                                             medical attention within 72 hours could reasonably be
    200 St. Paul Place, 16th Floor                                           expected, by a prudent layperson who possesses an average
    Baltimore, MD 21202                                                      knowledge of health and medicine, to result in:
The Unit can also be reached by calling 410-528-1840 or 1-                    serious jeopardy to your life or health;
877-261-8807 (phone), TTY 1-800-735-6372 or 410-576-
                                                                              your inability to regain maximum function;
6571 (fax) or by e-mail at heau@oag.state.md.us.
                                                                              serious impairment to bodily functions;
When you file a Complaint with the Commissioner, you will
be required to authorize the release of any of your medical                   serious dysfunction of any bodily organ or part; or
records that may be required to be reviewed in order to reach a               you remaining seriously mentally ill with symptoms that
decision on your Complaint.                                                    cause you to be a danger to self or others.
                                                                            medical condition, including a physical condition, mental
                                                                             condition, or a dental condition where the absence of


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    medical attention within 72 hours in the opinion of a Health               the Commissioner's address, telephone number and fax
    Care Provider with knowledge of your medical condition,                     number; and
    would subject you to severe pain that cannot be adequately                 a statement that the Health Advocacy Unit is available to
    managed without care or treatment that is the subject of the                assist you in filing a Complaint with the Commissioner,
    Coverage Decision.                                                          along with the address, telephone number, facsimile
The Health Advocacy Unit is available to assist you in both                     number and e-mail address of the Health Advocacy Unit.
mediating and filing an Appeal under our internal Appeal                     for Medical Necessity Grievances:
process. You may contact the Health Advocacy Unit of
                                                                               in clear and understandable language, the detailed,
Maryland's Consumer Protection at:
                                                                                specific, factual bases for Cigna's decision;
    Office of the Attorney General
                                                                               the specific criteria and standards, including interpretive
    Consumer Protection Division
    200 St. Paul Place, 16th Floor                                              guidelines used; without solely using generalized terms
    Baltimore, MD 21202                                                         such as "experimental procedure not covered", "cosmetic
                                                                                procedure not covered", "service included under another
The Unit can also be reached by calling 410-528-1840 or 1-                      procedure", or "not Medically Necessary";
877-261-8807 (phone), TTY 1-800-576-6372 or 410-576-
                                                                               written details of the carrier's internal Grievance process
6571 (fax) or by e-mail at heau@oag.state.md.us.
                                                                                and procedures;
Legal Action
                                                                               the name, business address, and telephone number of the
Legal Action may not be brought against Cigna before the                        designated representative who has responsibility for the
expiration of 60 days after written proof of loss has been                      internal Grievance process;
furnished in accordance with the terms of this Certificate, or
                                                                               notice of member's right to file a Complaint with the
after the expiration of 3 years after the written proof of loss is
required to be furnished.                                                       Commissioner within four months of receipt of a
                                                                                Grievance Decision;
Notice of Benefit Determination on Appeal
                                                                               the Commissioner's address, telephone number and fax
Every notice of a determination on Appeal will be provided in                   number;
writing or electronically and, if an adverse determination, will
                                                                               a statement that the Health Advocacy Unit is available to
include: information sufficient to identify the claim; the
specific reason or reasons for the adverse determination;                       assist you in filing a Complaint with the Commissioner,
reference to the specific plan provisions on which the                          along with the address, telephone number, facsimile
determination is based; a statement that the claimant is entitled               number and e-mail address of the Health Advocacy Unit;
to receive, upon request and free of charge, reasonable access                  and
to and copies of all documents, records, and other Relevant                    a statement that a Complaint may be filed without first
Information as defined; a statement describing any voluntary                    filing a Grievance if the member, the Member's
Appeal procedures offered by the plan and the claimant's right                  Representative, or a Health Care Provider filing a
to bring an action under ERISA section 502(a); upon request                     Grievance on behalf of the member can demonstrate a
and free of charge, a copy of any internal rule, guideline,                     Compelling Reason to do so as determined by the
protocol or other similar criterion that was relied upon in                     Commissioner.
making the adverse determination regarding your Appeal, and
an explanation of the scientific or clinical judgment for a
                                                                          HC-APL402                                                       01-20
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; and
information about any office of health insurance consumer
assistance or ombudsman available to assist you in the Appeal             Definitions
process. A final notice of adverse determination will include a
discussion of the decision.                                               Abuse-Deterrent Opioid Analgesic Drug Product
                                                                          Abuse-Deterrent Opioid Analgesic Drug Product means a
In addition, notice of determination on an Appeal or
                                                                          brand name or generic Opioid Analgesic Drug Product
Grievance will also include the following:
                                                                          approved by the U.S. Food and Drug Administration with
   for Administrative Appeals:                                           abuse-deterrent labeling that indicates the drug product is
     notice of the member's right to submit a Complaint to the           expected to result in a meaningful reduction in abuse.
      Commissioner within four months of receipt of a
      decision;
                                                                          HC-DFS942                                                       10-16




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                                                                          Pub. L. No. 111-148, § 7002 (2010), and as may be amended
Active Service                                                            thereafter).
You will be considered in Active Service:
                                                                          HC-DFS841                                                     10-16
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Brand Drug
    or at some location to which you are required to travel for
                                                                          A Prescription Drug Product that Cigna identifies as a Brand
    your Employer's business.
                                                                          Drug product across its book-of-business, principally based on
   on a day which is not one of your Employer's scheduled                available data resources, including, but not limited to, First
    work days if you were in Active Service on the preceding              DataBank or another nationally recognized drug indicator
    scheduled work day.                                                   source, that classify drugs or Biologics as either brand or
                                                                          generic based on a number of factors. Not all products
HC-DFS1095                                                   12-17
                                                                          identified as a "brand name" by the manufacturer, Pharmacy,
                                                                          or your Physician may be classified as a Brand Drug under the
                                                                          plan.
Ambulance
Licensed ambulance transportation services involve the use of             HC-DFS842                                                     10-16
specially designed and equipped vehicles for transporting ill or
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      Business Decision Team
                                                                          A committee comprised of voting and non-voting
HC-DFS1406                                                   01-20
                                                                          representatives across various Cigna business units such as
                                                                          clinical, medical and business leadership that is duly
                                                                          authorized by Cigna to make decisions regarding coverage
Biologic                                                                  treatment of Prescription Drug Products or Medical
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,             Pharmaceuticals based on clinical findings provided by the
blood component or derivative, allergenic product, protein                P&T Committee, including, but not limited to, decisions
(except any chemically synthesized polypeptide), or analogous             regarding tier placement and application of utilization
product, or arsphenamine or derivative of arsphenamine (or                management to Prescription Drug Products or Medical
any other trivalent organic arsenic compound), used for the               Pharmaceuticals.
prevention, treatment, or cure of a disease or condition of
human beings, as defined under Section 351(i) of the Public               HC-DFS843                                                     10-16
Health Service Act (42 USC 262(i)) (as amended by the
Biologics Price Competition and Innovation Act of 2009, title
VII of the Patient Protection and Affordable Care Act, Pub. L.            Charges
No. 111-148, § 7002 (2010), and as may be amended                         The term charges means the actual billed charges; except
thereafter).                                                              when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS840                                                    10-16
                                                                          contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
                                                                          such services and/or supplies.
Biosimilar
A Biologic that is highly similar to the reference Biologic               HC-DFS1193                                                    01-19
product notwithstanding minor differences in clinically
inactive components, and has no clinically meaningful
differences from the reference Biologic in terms of its safety,           Custodial Services
purity, and potency, as defined under Section 351(i) of the               Any services that are of a sheltering, protective, or
Public Health Service Act (42 USC 262(i)) (as amended by                  safeguarding nature. Such services may include a stay in an
the Biologics Price Competition and Innovation Act of 2009,               institutional setting, at-home care, or nursing services to care
title VII of the Patient Protection and Affordable Care Act,              for someone because of age or mental or physical condition.



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This service primarily helps the person in daily living.                       the assumption of custody, pending adoption, of a
Custodial care also can provide medical services, given mainly                  prospective adoptive child by a prospective adoptive parent.
to maintain the person’s current state of health. These services            Benefits for a Dependent child will continue until the last day
cannot be intended to greatly improve a medical condition;                  of the calendar month in which the limiting age is reached.
they are intended to provide care while the patient cannot care
for himself or herself. Custodial Services include but are not              Anyone who is eligible as an Employee will not be considered
limited to:                                                                 as a Dependent spouse. A child under age 26 may be covered
                                                                            as either an Employee or as a Dependent child. You cannot be
   Services related to watching or protecting a person;                    covered as an Employee while also covered as a Dependent of
   Services related to performing or assisting a person in                 an Employee.
    performing any activities of daily living, such as: walking,            No one may be considered as a Dependent of more than one
    grooming, bathing, dressing, getting in or out of bed,                  Employee.
    toileting, eating, preparing foods, or taking medications that
    can be self administered, and
                                                                            HC-DFS934                                                    10-16
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.
                                                                            Designated Pharmacy
HC-DFS4                                                        04-10        A Network Pharmacy that has entered into an agreement with
                                                                  V1        Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                            provide Prescription Drug Products or services, including,
                                                                            without limitation, specific Prescription Drug Products, to plan
Dependent                                                                   enrollees on a preferred or exclusive basis. For example, a
Dependents are:                                                             Designated Pharmacy may provide enrollees certain Specialty
   your lawful spouse; and                                                 Prescription Drug Products that have limited distribution
                                                                            availability, provide enrollees with an extended days’ supply
   any child of yours who is                                               of Prescription Drug Products or provide enrollees with
     less than 26 years old.                                               Prescription Drug Products on a preferred cost share basis.
     26 or more years old, unmarried, and primarily supported              The fact that a Pharmacy is a Network Pharmacy does not
      by you and incapable of self-sustaining employment by                 mean that it is a Designated Pharmacy.
      reason of mental or physical disability.
      Proof of the child's condition and dependence may be                  HC-DFS845                                                    10-16
      required to be submitted to the plan within 31 days after
      the date the child ceases to qualify above. From time to
      time, but not more frequently than once a year, the plan              Emergency Medical Condition
      may require proof of the continuation of such condition               Emergency medical condition means a medical condition
      and dependence.                                                       which manifests itself by acute symptoms of sufficient
The term child means: a child born to you, a stepchild, an                  severity (including severe pain) such that a prudent layperson,
adopted child or grandchild; a child placed with you for legal              who possesses an average knowledge of health and medicine,
adoption; or a child who is entitled to dependent coverage                  could reasonably expect the absence of immediate medical
under testamentary or court-ordered guardianship (other than                attention to result in placing the health of the individual (or,
temporary guardianship of less than 12 months duration).                    with respect to a pregnant woman, the health of the woman or
Coverage is provided for the Injury or Sickness of a newly                  her unborn child) in serious jeopardy; serious impairment to
born or newly adopted dependent child or grandchild (as                     bodily functions; or serious dysfunction of any bodily organ or
defined) from the moment of birth or Date of Adoption of the                part.
child or grandchild. Coverage for a minor for whom
guardianship is granted by court or testamentary appointment                HC-DFS394                                                    11-10
is payable from the date of appointment. Coverage includes
the necessary care and treatment of medically diagnosed
congenital defects and birth abnormalities.                                 Emergency Services
Date of Adoption means the earlier of:                                      Emergency services means, with respect to an emergency
                                                                            medical condition, a medical screening examination that is
   a judicial decree of adoption; or
                                                                            within the capability of the emergency department of a


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Hospital, including ancillary services routinely available to the         Expense Incurred
emergency department to evaluate the emergency medical                    An expense is incurred when the service or the supply for
condition; and such further medical examination and                       which it is incurred is provided.
treatment, to the extent they are within the capabilities of the
staff and facilities available at the Hospital, to stabilize the
patient.                                                                  HC-DFS10                                                        04-10
                                                                                                                                            V1


HC-DFS1414                                                   01-20
                                                                          Free-Standing Surgical Facility
                                                                          The term Free-Standing Surgical Facility means an institution
Employee
                                                                          which meets all of the following requirements:
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                   it has a medical staff of Physicians, Nurses and licensed
not include Employees who are part-time or temporary or who                   anesthesiologists;
normally work less than 30 hours a week for the Employer.                    it maintains at least two operating rooms and one recovery
                                                                              room;
HC-DFS1094                                                   12-17
                                                                             it maintains diagnostic laboratory and x-ray facilities;
                                                                             it has equipment for emergency care;
Employer                                                                     it has a blood supply;
The term Employer means the Policyholder and all Affiliated                  it maintains medical records;
Employers.                                                                   it has agreements with Hospitals for immediate acceptance
                                                                              of patients who need Hospital Confinement on an inpatient
                                                                              basis; and
HC-DFS8                                                      04-10
                                                               V1
                                                                             it is licensed in accordance with the laws of the appropriate
                                                                              legally authorized agency.
                                                                          A Free-Standing Surgical Facility, unless specifically noted
Essential Health Benefits
                                                                          otherwise, is covered with the same cost share as an
Essential health benefits has the meaning found in section                Outpatient Facility.
1302(b) of PPACA and as further defined by the Secretary of
                                                                          The term Free-Standing Surgical Facility also includes a
the U.S. Health and Human Services Department, and
                                                                          Birthing Center.
includes, to the extent covered under the plan, expenses
incurred with respect to covered services, in at least the
following categories: ambulatory patient services, emergency              HC-DFS1447                                                      01-20
services, hospitalization, maternity and newborn care, mental
health and substance use disorder services, including
behavioral health treatment, prescription drugs, rehabilitative           Generic Drug
and habilitative services and devices, laboratory services,               A Prescription Drug Product that Cigna identifies as a Generic
preventive and wellness services and chronic disease                      Drug product at a book-of-business level principally based on
management and pediatric services, including oral and vision              available data resources, including, but not limited to, First
care.                                                                     DataBank or another nationally recognized drug indicator
                                                                          source, that classify drugs or Biologics (including Biosimilars)
                                                                          as either brand or generic based on a number of factors. Not
HC-DFS491                                                    04-10
                                                                          all products identified as a “generic” by the manufacturer,
                                                               V1
                                                                          Pharmacy or your Physician may be classified as a Generic
                                                                          Drug under the plan. A Biosimilar may be classified as a
                                                                          Generic Drug for the purposes of benefits under the plan even
                                                                          if it is identified as a “brand name” drug by the manufacturer,
                                                                          Pharmacy or your Physician.


                                                                          HC-DFS846                                                       10-16




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                                                                           Hospice Care Services
Habilitative Services                                                      The term Hospice Care Services means a coordinated,
Habilitative Services are services and devices, including                  interdisciplinary program of hospice care services for meeting
occupational therapy, physical therapy, and speech therapy,                the special physical, psychological, spiritual, and social needs
that helps a child keep, learn, or improve skills and                      of terminally ill individuals and their families, by providing
functioning for daily living. Habilitative Services also includes          palliative and supportive medical, nursing, and other health
criteria for behavioral health treatment, psychological care,              services through home or inpatient care during the illness and
and therapeutic care.                                                      bereavement to: individuals who have no reasonable prospect
                                                                           of cure as estimated by a Physician; and the immediate
Behavioral health treatment means professional counseling                  families or family caregivers of those individuals.
and treatment programs, including applied behavior analysis,
that are necessary to develop, maintain, or restore, to the
maximum extent practicable, the functioning of an individual.              HC-DFS99                                                         04-10
                                                                                                                                              V1
Psychological care means direct or consultative services
provided by a Psychologist licensed in the state in which the
services are provided or by a social worker licensed in the                Hospice Facility
state in which the services are provided. Psychological care
                                                                           The term Hospice Facility means an institution or part of it
includes psychotherapy.
                                                                           which:
Therapeutic care means services provided by a speech-
                                                                              primarily provides care for Terminally Ill patients; and
language pathologist, occupational therapist, or physical
therapist licensed in the state in which the services are                     fulfills any licensing requirements of the state or locality in
provided.                                                                      which it operates.
Applied Behavior Analysis (ABA) means the design,
implementation, and evaluation of environmental                            HC-DFS100                                                        04-10
modifications, using behavioral stimuli and consequences, to                                                                                  V1
produce socially significant improvement in human behavior,
including the use of direct observation, measurement, and
functional analysis of the relationship between environment                Hospital
and behavior.                                                              The term Hospital means:
                                                                              an institution licensed as a hospital, which: maintains, on
HC-DFS1048                                                    08-17
                                                                               the premises, all facilities necessary for medical and
                                                                               surgical treatment; provides such treatment on an inpatient
                                                                               basis, for compensation, under the supervision of
Hospice Care Program                                                           Physicians; and provides 24-hour service by Registered
The term Hospice Care Program means:                                           Graduate Nurses;
   a coordinated, interdisciplinary program to meet the                      an institution which qualifies as a hospital, a psychiatric
    physical, psychological, spiritual and social needs of dying               hospital or a tuberculosis hospital, and a provider of
    persons and their families;                                                services under Medicare, if such institution is accredited as
                                                                               a hospital by the Joint Commission on the Accreditation of
   a program that provides palliative and supportive medical,
                                                                               Healthcare Organizations; or
    nursing and other health services through home or inpatient
    care during the illness;                                                  an institution which: specializes in treatment of Mental
                                                                               Health and Substance Use Disorder or other related illness;
   a program for persons who have a Terminal Illness and for
                                                                               provides residential treatment programs; and is licensed in
    the immediate families or family caregivers of those
                                                                               accordance with the laws of the appropriate legally
    persons.
                                                                               authorized agency.
                                                                           The term Hospital does not include an institution which is
HC-DFS98                                                      04-10        primarily a place for rest, a place for the aged, or a nursing
                                                                V1         home.


                                                                           HC-DFS1448                                                       01-20




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                                                                            Medicaid
Hospital Confinement or Confined in a Hospital                              The term Medicaid means a state program of medical aid for
A person will be considered Confined in a Hospital if he is:                needy persons established under Title XIX of the Social
                                                                            Security Act of 1965 as amended.
   a registered bed patient in a Hospital upon the
    recommendation of a Physician;
                                                                            HC-DFS16                                                          04-10
   receiving treatment for Mental Health and Substance Use
                                                                                                                                                V1
    Disorder Services in a Mental Health or Substance Use
    Disorder Residential Treatment Center.
                                                                            Medical Pharmaceutical
HC-DFS807                                                      12-15        An FDA-approved prescription pharmaceutical product,
                                                                 V1         including a Specialty Prescription Drug Product, typically
                                                                            required to be administered in connection with a covered
                                                                            service by a Physician or Other Health Professional within the
Immediate Family                                                            scope of the provider's license. This definition includes certain
The term Immediate Family means the spouse, parents,                        pharmaceutical products whose administration may initially or
siblings, grandparents and children of the terminally ill                   typically require Physician oversight but may be self-
insured.                                                                    administered under certain conditions specified in the
                                                                            product’s FDA labeling. This definition does not include any
                                                                            charges for mobile, web-based or other electronic applications
HC-DFS101                                                      04-10
                                                                            or software, even if approved for marketing as a prescription
                                                                 V1
                                                                            product by the FDA.

Injury
                                                                            HC-DFS1410                                                        01-20
The term Injury means an accidental bodily injury.

                                                                            Medically Necessary/Medical Necessity
HC-DFS12                                                       04-10
                                                                            Health care services, supplies, and medications provided for
                                                                 V1
                                                                            the purpose of preventing, evaluating, diagnosing or treating a
                                                                            Sickness, Injury, condition, disease or its symptoms, that are
Maintenance Drug Product                                                    all of the following as determined by a Medical Director or
A Prescription Drug Product that is prescribed for use over a               Review Organization:
period of time of 6 months or more for the treatment of                        required to diagnose or treat an illness, Injury, disease or its
chronic conditions such as asthma, hypertension, diabetes and                   symptoms;
heart disease. For the purposes of benefits, the list of your                  in accordance with generally accepted standards of medical
plan’s Maintenance Drug Products does not include                               practice;
compounded medications or Prescription Drug Products, such
as certain narcotics that a Pharmacy cannot dispense above                     clinically appropriate in terms of type, frequency, extent,
certain supply limits per Prescription Drug Order or Refill                     site and duration;
under applicable federal or state law. You may determine                       not primarily for the convenience of the patient, Physician
whether a drug is a Maintenance Medication by calling                           or Other Health Professional;
member services at the telephone number on your ID card.                       not more costly than an alternative service(s), medication(s)
                                                                                or supply(ies) that is at least as likely to produce equivalent
HC-DFS938                                                      10-16
                                                                                therapeutic or diagnostic results with the same safety profile
                                                                                as to the prevention, evaluation, diagnosis or treatment of
                                                                                your Sickness, Injury, condition, disease or its symptoms;
                                                                                and
                                                                               rendered in the least intensive setting that is appropriate for
                                                                                the delivery of the services, supplies or medications. Where
                                                                                applicable, the Medical Director or Review Organization
                                                                                may compare the cost-effectiveness of alternative services,



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    supplies, medications or settings when determining least                   been designated as a Network Pharmacy for the purposes of
    intensive setting.                                                          coverage under your Employer’s plan.
Preventive care services described in this certificate are                  This term may also include, as applicable, an entity that has
considered to be Medically Necessary.                                       directly or indirectly contracted with Cigna to arrange for the
In determining whether health care services, supplies, or                   provision of any Prescription Drug Products the charges for
medications are Medically Necessary, the Medical Director or                which are Covered Expenses.
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.                    HC-DFS1198                                                   01-19
Clinical coverage policies may incorporate, without limitation
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical                      New Prescription Drug Product
reference compendia and peer-reviewed, evidence-based                       A Prescription Drug Product, or new use or dosage form of a
scientific literature or guidelines.                                        previously FDA-approved Prescription Drug Product, for the
                                                                            period of time starting on the date the Prescription Drug
                                                                            Product or newly-approved use or dosage form becomes
HC-DFS1449                                                     01-20
                                                                            available on the market following approval by the U.S. Food
                                                                            and Drug Administration (FDA) and ending on the date
Medicare                                                                    Cigna's Business Decision Team makes a Prescription Drug
The term Medicare means the program of medical care                         List coverage status decision.
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.                                                         HC-DFS850                                                    10-16



HC-DFS17                                                       04-10        Nurse
                                                                 V1
                                                                            The term Nurse means a Registered Graduate Nurse, a
                                                                            Licensed Practical Nurse or a Licensed Vocational Nurse who
Necessary Services and Supplies                                             has the right to use the abbreviation "R.N.," "L.P.N." or
The term Necessary Services and Supplies includes:                          "L.V.N." The term Nurse also includes a nurse practitioner,
                                                                            nurse anesthetist and nurse midwife.
   any charges, except charges for Room and Board, made by
    a Hospital for medical services and supplies actually used
    during Hospital Confinement;                                            HC-DFS104                                                    04-10
                                                                                                                                              V1
   any charges, by whomever made, for licensed Ambulance
    service to or from the nearest Hospital where the needed
    medical care and treatment can be provided; and                         Opioid Analgesic Drug Product
   any charges, by whomever made, for the administration of                Opioid Analgesic Drug Product means a drug product that
    anesthetics during Hospital Confinement.                                contains an opioid agonist and is indicated by the U.S. Food
The term Necessary Services and Supplies will not include                   and Drug Administration for the treatment of pain, regardless
any charges for special nursing fees or dental fees.                        of whether the drug product is: in immediate release or
                                                                            extended release form; or contains other drug substances.
HC-DFS1450                                                     01-20
                                                                            HC-DFS941                                                    10-16


Network Pharmacy
A retail or home delivery Pharmacy that has:
   entered into an agreement with Cigna or an entity
    contracting on Cigna's behalf to provide Prescription Drug
    Products to plan enrollees.
   agreed to accept specified reimbursement rates for
    dispensing Prescription Drug Products.



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Other Health Care Facility                                                 Pharmacy
The term Other Health Care Facility means a facility other                 A duly licensed Pharmacy that dispenses Prescription Drug
than a Hospital or hospice facility. Examples of Other Health              Products in a retail setting or via home delivery. A home
Care Facilities include, but are not limited to, licensed skilled          delivery Pharmacy is a Pharmacy that primarily provides
nursing facilities, rehabilitation Hospitals and subacute                  Prescription Drug Products through mail order.
facilities.
                                                                           HC-DFS851                                                   10-16
HC-DFS492                                                     04-10
                                                                V1
                                                                           Pharmacy & Therapeutics (P&T) Committee
                                                                           A committee comprised of both voting and non-voting Cigna-
Other Health Professional                                                  employed clinicians, Medical Directors and Pharmacy
The term Other Health Professional means an individual other               Directors and non-employees such as Participating Providers
than a Physician who is licensed or otherwise authorized under             that represent a range of clinical specialties. The committee
the applicable state law to deliver medical services and                   regularly reviews Medical Pharmaceuticals or Prescription
supplies. Other Health Professionals include, but are not                  Drug Products, including New Prescription Drug Products, for
limited to physical therapists, registered nurses and licensed             safety and efficacy, the findings of which clinical reviews
practical nurses. Other Health Professionals do not include                inform coverage status decisions made by the Business
providers such as Certified First Assistants, Certified                    Decision Team. The P&T Committee’s review may be based
Operating Room Technicians, Certified Surgical                             on consideration of, without limitation, U.S. Food and Drug
Assistants/Technicians, Licensed Certified Surgical                        Administration-approved labeling, standard medical reference
Assistants/Technicians, Licensed Surgical Assistants,                      compendia, or scientific studies published in peer-reviewed
Orthopedic Physician Assistants and Surgical First Assistants.             English-language bio-medical journals.

HC-DFS1413                                                    01-20        HC-DFS852                                                   10-16



Participating Provider                                                     Physician
The term Participating Provider means a person or entity that              The term Physician means a licensed medical practitioner who
has a direct or indirect contractual arrangement with Cigna to             is practicing within the scope of his license and who is
provide covered services and/or supplies, the Charges for                  licensed to prescribe and administer drugs or to perform
which are Covered Expenses. It includes an entity that has                 surgery. It will also include any other licensed medical
directly or indirectly contracted with Cigna to arrange, through           practitioner whose services are required to be covered by law
contracts with providers of services and/or supplies, for the              in the locality where the policy is issued if he is:
provision of any services and/or supplies, the Charges for                    operating within the scope of his license; and
which are Covered Expenses.
                                                                              performing a service for which benefits are provided under
                                                                               this plan when performed by a Physician.
HC-DFS1194                                                    01-19


                                                                           HC-DFS25                                                    04-10
Patient Protection and Affordable Care Act of 2010                                                                                       V1
(“PPACA”)
Patient Protection and Affordable Care Act of 2010 means the
Patient Protection and Affordable Care Act of 2010 (Public
Law 111-148) as amended by the Health Care and Education
Reconciliation Act of 2010 (Public Law 111-152).


HC-DFS412                                                     01-11




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Prescription Drug Charge                                                    Inhaler assistance devices and accessories, peak flow
The Prescription Drug Charge is the amount that, prior to                    meters.
application of the plan’s cost-share requirement(s), is payable          This definition does not include any charges for mobile, web-
by Cigna to its Pharmacy Benefit Manager for a specific                  based or other electronic applications or software, even if
covered Prescription Drug Product dispensed at a Network                 approved for marketing as a prescription product by the FDA.
Pharmacy, including any applicable dispensing fee and tax.
The “Pharmacy Benefit Manager” is the business unit,
                                                                         HC-DFS855                                                     10-16
affiliate, or other entity that manages the Prescription Drug
Benefit for Cigna.
                                                                         Prescription Order or Refill
HC-DFS1191                                                  01-19        The lawful directive to dispense a Prescription Drug Product
                                                                         issued by a Physician whose scope of practice permits issuing
                                                                         such a directive.
Prescription Drug List
A list that categorizes drugs, Biologics (including Biosimilars)
                                                                         HC-DFS856                                                     10-16
or other products covered under the plan’s Prescription Drug
Benefits that have been approved by the U.S. Food and Drug
Administration (FDA) into coverage tiers. This list is                   Preventive Care Medications
developed by Cigna's Business Decision Team based on
                                                                         The Prescription Drug Products or other medications
clinical factors communicated by the P&T Committee, and
                                                                         (including over-the-counter medications) designated as
adopted by your Employer as part of the plan. The list is
                                                                         payable by the plan at 100% of the cost (without application of
subject to periodic review and change, and is subject to the
                                                                         any Deductible, Copayment or Coinsurance) as required by
limitations and exclusions of the plan. You may determine to
                                                                         applicable law under any of the following:
which tier a particular Prescription Drug Product has been
assigned through the website shown on your ID card or by                    Evidence-based items or services that have in effect a rating
calling customer service at the telephone number on your ID                  of "A" or "B" in the current recommendations of the United
card.                                                                        States Preventive Services Task Force.
                                                                            With respect to infants, children and adolescents, evidence-
                                                                             informed preventive care and screenings provided for in the
HC-DFS854                                                   10-16
                                                                             comprehensive guidelines supported by the Health
                                                                             Resources and Services Administration.
Prescription Drug Product                                                   With respect to women, such additional preventive care and
A drug, Biologic (including a Biosimilar), or other product                  screenings as provided for in comprehensive guidelines
that has been approved by the U.S. Food and Drug                             supported by the Health Resources and Services
Administration (FDA), certain products approved under the                    Administration.
Drug Efficacy Study Implementation review, or products                   A written prescription is required to process a claim for a
marketed prior to 1938 and not subject to review and that can,           Preventive Care Medication. You may determine whether a
under federal or state law, be dispensed only pursuant to a              drug is a Preventive Care Medication through the internet
Prescription Order or Refill. A Prescription Drug Product                website shown on your ID card or by calling member services
includes a drug, Biologic or product that, due to its                    at the telephone number on your ID card.
characteristics, is approved by the FDA for self-administration
or administration by a non-skilled caregiver. For the purpose
of benefits under the plan, this definition also includes:               HC-DFS857                                                     10-16

   The following diabetic supplies: alcohol pads, swabs, wipes,
    Glucagon/Glucagen, injection aids, insulin pump                      Primary Care Physician
    accessories (but excluding insulin pumps), needles                   The term Primary Care Physician means a Physician: who
    including pen needles, syringes, test strips, lancets, urine         qualifies as a Participating Provider in general practice,
    glucose and ketone strips;                                           internal medicine, family practice or pediatrics; and who has
   Needles and syringes for self-administered medications or            been selected by you, as authorized by Cigna, to provide or
    Biologics covered under the plan’s Prescription Drug                 arrange for medical care for you or any of your insured
    benefit; and                                                         Dependents.



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Primary Care Physician also includes obstetricians and                      may include Physicians, Registered Graduate Nurses, licensed
gynecologists. However, if an obstetrician or gynecologist                  mental health and substance use disorder professionals, and
chooses not to be a Primary Care Physician, you or your                     other trained staff members who perform utilization review
Dependent are entitled to receive routine gynecological care                services.
from an In-Network obstetrician/gynecologist without visiting
a Primary Care Physician first, if:
                                                                            HC-DFS808                                                     12-15
   the care is Medically Necessary, including care that is
    routine;
                                                                            Room and Board
   after each visit for gynecological care, the
    obstetrician/gynecologist communicates with your or your                The term Room and Board includes all charges made by a
    Dependent’s Primary Care Physician about any diagnosis or               Hospital for room and meals and for all general services and
    treatment rendered; and                                                 activities needed for the care of registered bed patients.
   the obstetrician/gynecologist confers with the Primary Care
    Physician before performing any diagnostic procedure that               HC-DFS1408                                                    01-20
    is not routine gynecological care rendered during an annual
    visit.
                                                                            Sickness – For Medical Insurance
                                                                            The term Sickness means a physical or mental illness. It also
HC-DFS438                                                     04-10
                                                                            includes pregnancy. Sickness also means cleft lip and cleft
                                                                  V1
                                                                            palate including inpatient and outpatient expenses arising from
                                                                            orthodontics, oral surgery, otologic, audiological and
Psychologist                                                                speech/language treatment in connection with that condition.
The term Psychologist means a person who is licensed or                     Any dental exclusions will not apply to cleft lip and cleft
certified as a clinical psychologist. Where no licensure or                 palate. Further, expenses incurred for routine Hospital and
certification exists, the term Psychologist means a person who              pediatric care of a newborn child prior to discharge from the
is considered qualified as a clinical psychologist by a                     Hospital nursery will be considered to be incurred as a result
recognized psychological association. It will also include any              of Sickness.
other licensed counseling practitioner whose services are
required to be covered by law in the locality where the policy              HC-DFS107                                                     04-10
is issued if he is operating within the scope of his license and                                                                            V1
performing a service for which benefits are provided under
this plan when performed by a Psychologist.
                                                                            Skilled Nursing Facility
                                                                            The term Skilled Nursing Facility means a licensed institution
HC-DFS26                                                      04-10
                                                                            (other than a Hospital, as defined) which specializes in:
                                                                  V1
                                                                               physical rehabilitation on an inpatient basis; or
                                                                               skilled nursing and medical care on an inpatient basis;
Respite Care
                                                                            but only if that institution: maintains on the premises all
The term Respite Care means temporary care provided to the
                                                                            facilities necessary for medical treatment; provides such
terminally ill insured to relieve the family caregiver from the
                                                                            treatment, for compensation, under the supervision of
daily care of the insured.
                                                                            Physicians; and provides Nurses' services.

HC-DFS106                                                     04-10
                                                                            HC-DFS31                                                      04-10
                                                                  V1
                                                                                                                                            V1


Review Organization
The term Review Organization refers to an affiliate of Cigna
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
Organization is an organization with a staff of clinicians which



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Specialist                                                                     "Complex or chronic medical condition" means a physical,
The term Specialist means a Physician who provides                             behavioral, or developmental condition that:
specialized services, and is not engaged in general practice,                  1) may have no known cure;
family practice, internal medicine, or pediatrics.                             2) is progressive; or
                                                                               3) can be debilitation or fatal if left untreated or
HC-DFS439                                                       04-10               undertreated.
                                                                  V1
                                                                               Complex or chronic medical conditions include: multiple
                                                                               sclerosis; hepatitis C; and rheumatoid arthritis.
Specialty Prescription Drug Product                                            "Rare medical condition" means a disease or condition that
A Prescription Drug Product or Medical Pharmaceutical                          affects fewer than:
considered by Cigna to be a Specialty Prescription Drug                        1) two hundred thousand (200,000) individuals in the
Product based on consideration of the following factors,                            United States; or
subject to applicable law: whether the Prescription Drug
                                                                               2) approximately one (1) in one thousand five hundred
Product or Medical Pharmaceutical is prescribed and used for
                                                                                   (1,500) individuals worldwide.
the treatment of a complex, chronic or rare condition; whether
the Prescription Drug Product or Medical Pharmaceutical has                    Rare medical conditions include cystic fibrosis; hemophilia;
a high acquisition cost; and, whether the Prescription Drug                    and multiple myeloma.
Product or Medical Pharmaceutical is subject to limited or                   You may determine whether a medication is a Specialty
restricted distribution, requires special handling and/or                    Prescription Drug Product through the website shown on your
requires enhanced patient education, provider coordination or                ID card or by calling member services at the telephone
clinical oversight. A Specialty Prescription Drug Product may                number on your ID card.
not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that
a Prescription Drug Product or Medical Pharmaceutical will                   HC-DFS940                                                   10-16

be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit                          Stabilize
assignment based on factors such as method or site of clinical
                                                                             Stabilize means, with respect to an emergency medical
administration, or by tier assignment or utilization
                                                                             condition, to provide such medical treatment of the condition
management requirements based on factors such as acquisition
                                                                             as may be necessary to assure, within reasonable medical
cost. You may determine whether a medication is a Specialty
                                                                             probability that no material deterioration of the condition is
Prescription Drug Product through the website shown on your
                                                                             likely to result from or occur during the transfer of the
ID card or by calling member services at the telephone
                                                                             individual from a facility.
number on your ID card.
A Specialty Prescription Drug Product includes Specialty
Drugs meeting the following:                                                 HC-DFS413                                                   01-11

   is prescribed for an individual with a complex or chronic
    medical condition or a rare medical condition;                           Terminal Illness
   costs six hundred dollars ($600.00) or more for up to a                  A Terminal Illness will be considered to exist if a person
    thirty (30) day supply;                                                  becomes terminally ill with a prognosis of six months or less
   is not typically stocked at retail pharmacies; and                       to live, as diagnosed by a Physician.
   requires:
     a difficult or unusual process of delivery to the patient in           HC-DFS54                                                    04-10

      the preparation, handling, storage, inventory, or                                                                                       V1

      distribution of the drug; or
     requires enhanced patient education, management, or                    Therapeutic Alternative
      support, beyond those required for traditional dispensing,             A Prescription Drug Product or Medical Pharmaceutical that is
      or distribution of the drug.                                           of the same therapeutic or pharmacological class, and usually
                                                                             can be expected to have similar outcomes and adverse reaction
                                                                             profiles when administered in therapeutically equivalent doses



                                                                        93                                                     myCigna.com
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as, another Prescription Drug Product, Medical
Pharmaceutical or over-the-counter medication.


HC-DFS859                                                    10-16



Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is
a pharmaceutical equivalent to another Prescription Drug
Product, Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                    10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,
but which are determined by Cigna, in accordance with
generally accepted medical standards, to have been necessary
to treat a condition requiring prompt medical attention. This
does not include care that could have been foreseen before
leaving the immediate area where you ordinarily receive
and/or were scheduled to receive services. Such care includes,
but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                     04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS861                                                    10-16




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  The Core Medical Plan
  Effective 1/1/21                                                                      About this Summary
  In addition to providing coverage in the event of illness, the Core Medical Plan      Plan Description
  (also referred to Medical Plan throughout this document) offers full coverage for     This section is the
                                                                                        summary plan
  eligible preventive care and eligible preventive generic prescription drugs,          description (SPD) and
                                                                                        the plan document for
  along with an integrated Wellness Program to help you and your family stay
                                                                                        the Core Medical Plan.
  healthy and a Medical Reimbursement Account (MRA) to help you pay for                 Please retain this section
                                                                                        for your records. Other
  eligible out-of-pocket costs. You can earn funds for your MRA when you (and in        sections may also
                                                                                        constitute the complete
  some cases, your covered spouse/domestic partner) participate in wellness
                                                                                        SPD/plan document,
  activities.                                                                           including the Plan
                                                                                        Administration and the
  This section of the Guide will provide you with a better understanding of how         Health Care Participation
                                                                                        sections.
  your Medical Plan coverage works, including how and when benefits are paid.
                                                                                        This summary does not
                                                                                        include all of the details
  Be sure to see important additional information about the Plan, in the sections       contained in the
                                                                                        applicable insurance
                                                                                        contracts, if any. For
                                                                                        plans that are funded
  Two Options                                                                           through insurance, if
                                                                                        there is a discrepancy
                                                                                        between the insurance
  choose whether your coverage is provided through Aetna or Cigna. Both                 contract and the
  options offer the same coverage for medically necessary services and supplies,        SPD/plan document, the
  including prescription drugs. The key difference between the two options is the       insurance contract will
  level of payroll contributions versus deductibles and coinsurance maximums.           control.



                                                        lower annual deductibles and annual coinsurance
     maximums.

     maximums.
  Both Aetna and Cigna have networks of selected health care providers, and you are strongly encouraged
  to go to in-network providers, as this saves both you and the Medical Plan money. However, you have the
  option to use out-of-network providers if you choose. The Prescription Drug Plan is part of the Medical

  choose.



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  The Medical Reimbursement Account
  When you enroll in Option 1 or Option 2 through Aetna or Cigna, you will automatically be set up with a
  Medical Reimbursement Account (MRA). The MRA is a company-funded account that you can use to
  help pay for eligible out-of-pocket medical and prescription drug expenses (deductibles, coinsurance, and
  copayments). You can earn Wellness Rewards for your MRA when you (and in some cases, your covered
  spouse/domestic partner) participate in certain wellness activities.

  For Eligible U.S. Employees in Arizona and Ohio, the Simplified Medical Plan

  If you are an eligible U.S. employee living in Arizona or Ohio, your JPMorgan Chase medical coverage is available
  via the Simplified Medical Plan, not the Core Medical Plan. For details, see the Simplified Medical Plan overview.




  Our Health Care Companies

  JPMorgan Chase has selected Aetna and Cigna to administer our Medical Plan. Both are large, established
  companies that offer broad nationwide provider networks.
  They also offer strong, well-established clinical programs and provide tools and resources to help you research and
  understand your health treatment alternatives. You can choose to have one of these health care companies
  administer your Medical Plan, regardless of whether you choose Option 1 or Option 2.
  Provider Directories
  You can easily check which health care providers participate in the various JPMorgan Chase Medical Plan options by
                                                   My Health.
  Please Note: You should always check with your health care provider to ensure that he or she plans to continue
  participating in the network of the Medical Plan option you choose. If your health care provider decides to leave
  the network, it does not qualify as an event that allows you to change your health care company during the
  year.




  Questions?

  For questions or concerns regarding the Medical Plan, please contact your health care company (Aetna or Cigna) or
  the prescription drug plan administrator, CVS Caremark:
  Aetna
  (800) 468-1266
  8 a.m. to 8 p.m. all times zones
  Cigna
  (800) 790-3086
  24/7
  CVS Caremark
  (866) 209-6093
  24/7
  For additional specialty resources, consult the Contacts section.




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  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change or
  terminate its benefits plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract or
  guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate the
  employment relationship at any time.


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  Medical Coverage Highlights
  My Health           My Health is your central internal online resource for our health care plans. From My Health,
                      you can easily connect to the Medical Plan ca
                      directories, access treatment cost estimators, check claims status, view Explanations of
                      Benefits (EOBs), track your Medical Reimbursement Account balance, access your electronic
                      ID card and much more. My Health also has benefits materials, tip sheets and other
                      information on health and wellness.
  Your Medical        Option 1 and Option 2 of the Medical Plan, each offered through Aetna and Cigna, are
  Plan Options
                      services and supplies, including prescription drugs and pre-existing conditions.
                      However, Option 1 has higher payroll contributions but generally lower annual deductibles
                      and annual coinsurance maximums, while Option 2 has lower payroll contributions but
                      generally higher annual deductibles and annual coinsurance maximums.
                      Option 1 and Option 2 benefits are offered through a network of participating health care
                      providers (for example, doctors, hospitals, labs, and outpatient facilities that belong to Aetna

                      the network. However, the most cost-effective care will always be available through in-
                      network providers who have agreed to accept pre-negotiated rates.
                          Eligible in-network preventive care (including physical exams and recommended
                          preventive screenings) and eligible preventive generic drugs are covered at 100% with no
                          deductible, coinsurance, or copayments.
                          Important: In-network primary care office visits are covered at 90% with no deductible.
                          Primary care physicians include doctors who practice family medicine, internal medicine
                          (and are contracted with Aetna or Cigna as Primary Care Physicians),
                          obstetricians/gynecologists, and pediatricians. Visits to convenience care clinics, such as
                          CVS Minute Clinic®, are also considered primary care visits.
                          Virtual doctor visits provide on-demand 24/7/365 access to non-urgent primary care
                          services at 90% with no deductible through a national network of licensed, board-certified,
                          U.S.-based doctors, including pediatricians. Virtual doctor visits with mental health
                          providers are covered at 80% after the deductible.


                         cost for care. There are separate deductibles for in- and out-of-network care and for
                         prescription drugs.
                         After you satisfy the deductible, the Plan pays a percentage (generally 80% in-network
                         and 50% out-of-network) of the cost. Your s
                                                                             deductible is typically 20% of the cost of
                         in-network care and 50% of the cost for out-of-network care. The amount of coinsurance
                         you have to pay each year is limited by separate annual in-network and out-of-network
                         coinsurance maximums, which act as a financial

                         Benefits for out-of-network care are limited to reasonable and customary (R&C) charges.
                         These charges are based on average claims data in your area and are determined by
                         your health care company to be appropriate fees. Out-of-network charges are typically
                         higher than the pre-negotiated rates for in-network care. You are responsible for paying
                         any amount above R&C charges.
                         If you see an in-network provider, you will generally not have to pay anything at the point
                         of service, and you will not have to file a claim. Your provider will typically submit your
                         claim electronically to your health care company using the information on your ID card.
                         Prescription drug benefits are part of your coverage. The Prescription Drug Plan has a
                         different plan design than other Medical Plan features and is subject to a separate
                         deductible and a separate safety net in the form of per-prescription maximums and an
                         annual out-of-pocket maximum.




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  Your Coverage          You can choose to cover:
  Level                     Yourself only;
                            Yourself and your spouse/domestic partner; or Yourself and your child(ren); or
                            Your family (yourself, your spouse/domestic partner, and your children).
  Contribution           Contribution rates vary by the types of depen
  Rates                  a spouse/domestic partner vs. a child. You will be charged for up to a maximum of four
                         children, regardless of how many additional children you choose to cover. (You can cover all
                         of your children, as long as they meet eligibility requirements.) Contributions will also vary
                         based on your Total Annual Cash Compensation, geographical location, the Medical Plan
                         option you select, you and your covered spouse                           obacco user status, and

                         amount you pay does not differ depending on whether you choose Aetna or Cigna as your
                         health care company.
  Covered                Covered services will generally include:
  Services                  Hospitalization;
                            Surgical procedures;

                            Lab services/X-rays;
                            Emergency room services;
                            Maternity care;
                            Mental health and substance abuse care; and
                            Prescription drugs.
                         The Medical Plan also covers various preventive care services. Services and procedures
                         must be considered medically necessary to be covered.
  Resources              Resources to help you make health care decisions include:
                            NurseLine;
                            Expert Medical Advice;
                            Health Advocate;
                            Condition Management;
                            Treatment Decision Support; and
                            Maternity Support Program.




  Medical Plan Options
  offered through Aetna and Cigna. Both options cover the same medically necessary services and
  supplies, including prescription drugs.


                                                            lower annual deductibles and annual coinsurance
     maximums.

     maximums.
                                                             h, which means that JPMorgan Chase will generally
                                                               cost of your coverage regardless of which Medical
  Plan option you choose.




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  Cost of Coverage
  You and JPMorgan Chase share the cost of coverage under each of the Medical Plan options. You pay
  for coverage through payroll contributions with before-tax dollars.
  The amount you pay via payroll contributions depends on several factors:
     The Medical Plan option you choose (describ
     The number and type of eligible dependents you cove
     Health Care Participation section;

     page 56);
                                                         Initial Wellness Activity completion status (see

     page 61);



     Your regional cost category (geographic locati
  If you cover your children, you will be charged for up to a maximum of four children, regardless of how
  many additional children you choose to cover (you can cover all of your children, as long as they meet
  eligibility requirements).
  The amount you pay does not differ depending on whether you choose Aetna or Cigna as your health
  care company.
  You will have a higher cost for coverage if your Total Annual Cash Compensation (TACC) is higher, you
  elect Option 1, you cover more dependents, you and/or your covered spouse/domestic partner are a
  tobacco user, you and/or your covered spouse/domestic partner do not complete the Initial Wellness
  Activity and/or costs in your geographic area are higher than average.

  Tax Treatment of Domestic Partner Coverage/Gross-Up
  Policy                                                                                 Enrolling a Domestic
                                                                                         Partner
  the Health Care Participation section, there are tax implications of which you
                                                                                         Additional information on
  should be aware.                                                                       enrolling and the tax
  JPMorgan Chase is required to report the entire value of the medical coverage          consequences of
                                                                                         covering a domestic
                                                                                         partner can be found on
  withhold for federal, state and FICA taxes on the imputed income. The imputed
                                                                                         My Health.
  income includes the amount that both you and JPMorgan Chase contribute
  toward the cost of coverage.
  Please Note: If you certify that your domesti
  dependents, by calling HR Answers you will not be subject to taxation of imputed income on the tax




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  Total Annual Cash Compensation
  Under the Medical Plan, Total Annual Cash Compensation (TACC) is used to determine your Medical
  Plan contribution pay tier, the annual deductible and the annual coinsurance maximum.
  Your TACC is:
       Your annual rate of base salary plus applicable job differential pay (for example, shift pay) as of each
       August 1, plus
       Any cash earnings from any incentive plans (for example, annual incentive compensation,
       commissions, draws, overrides, and special recognition payments or incentives) that are paid to or
       deferred by you for the previous 12-month period ending each July 31.
       Overtime is not included.
  For purposes of determining the Medical Plan contribution pay tier that applies to you, your TACC is
  recalculated as of each August 1 to take effect the next January 1 and will remain unchanged throughout
  the year. For most employees hired on or after August 1, TACC will be equal to base salary plus job
  differentials.
  Separate definitions may apply to employees in certain positions who are paid on a draw-and-commission
  basis. If this situation applies to you, you will be notified by your Line of Business.
  Your TACC in effect for the plan year is available on the Benefits Web Center via My Health.
  Please Note: Your TACC is measured as of August 1 and remains unchanged for purposes of
  determining Medical Plan contributions and the coinsurance maximum for the next calendar year.

  Tier                   Total Annual Cash Compensation                       Employee Pays
  1                      < $45,000                                              Least




  7                      $350,000 and above                                     Most



  Initial Wellness Activity
  By completing the Initial Wellness Activity during the annual specified time frame, you can save $500 in
  your annual medical payroll contributions. If you cover your spouse/domestic partner, you can save an
  additional $500 if your spouse/domestic partner also completes their Initial Wellness Activity during the
  annual specified time frame. In addition to savings on medical payroll contributions, timely completion of
  this activity will also earn employees Wellness Rewards in their Medical Reimbursement Account (MRA).
  There are special provisions for newly eligible members or employees on a leave of absence. For the
  2021 plan year, the Initial Wellness Activity is the on
  Wellness Activity (New Activity for 2021; Applies to
  more information about the 2021 Initial Wellness Activity and other ways to earn Wellness Rewards for
  your MRA.




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  Tobacco User Status
  Employees and their covered spouses/domestic partners who do not use tobacco products pay less for
  medical coverage. Each year, employees must verify their status as a non-tobacco user or tobacco user,
  as well as the status of their covered spouse/domestic partner. To be considered a non-tobacco user and
  pay lower, non-tobacco user rates under the Medical Plan for a plan year, you and/or your covered
  spouse/domestic partner must either:
     Be tobacco-free for at least 12 months as of January 1 of that plan year; or
     Complete an approved tobacco cessation program.
  If you continue to use tobacco, you will need to complete the Quit for Life tobacco cessation program
  offered free of charge by JPMorgan Chase annually to continue to qualify for the lower, non-tobacco user
  rates. If you and/or your covered spouse/domestic partner meet the definition of a tobacco user but fail to
  declare your tobacco user status, you may be subject to disciplinary action.
  Please Note: In your first calendar year of employment, you will be assigned non-tobacco user rates for
                                                           rage. This assignment applies even if you declare
  yourself and/or your covered spouse/domestic partner as tobacco users, because you may not have had
  an opportunity to complete a tobacco cessation course to qualify for the lower non-tobacco user rates. In
  subsequent years, however, you will be eligible for non-tobacco user rates only if you have been tobacco-
  free for 12 months (as of January 1) or if you complete the Quit for Life tobacco cessation program, as
  described in the preceding paragraph.
  If you were hired on or after September 1, for the current plan year and in the next plan year, you will be
  assigned non-tobacco user rates fo
  you declare yourself and/or your covered spouse/domestic partner as a tobacco user. This assignment
  applies because you may not have had an opportunity to complete a tobacco cessation program to
  qualify for the lower non-tobacco user rates.
                                                              to update your tobacco user status during each
  Annual Benefits Enrollment.
  For more information on the Tobacco Cessation Program, go to My Health.

  How Tobacco User Is Defined

                                                                   or a plan year) is any person who has used any type of
  tobacco products (for example, cigarettes, cigars, chewing tobacco, snuff, or a pipe), regardless of the frequency or
  location (this includes daily, occasionally, socially, at-home only, etc.) in the 12 months preceding January 1 of the
  plan year.


  Regional Cost Categories
  Costs for medical care differ across the United States. To ensure equity in how the Medical Plan options
  are priced, JPMorgan Chase applies the concept of geographic cost differences to the Medical Plan.
  Under the Plan, each state or region is assigned to
  health care for that region in relation to the national average.
  The Regional Cost Category for your home state or region will be a factor in determining your medical
  payroll contributions, along with the other factor




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  The following chart shows the different Regional Cost Categories for Medical Plan coverage (categories
  are the same for Option 1 and Option 2).

  Regional
  Cost
  Category*               Locations
  Category 1              California; Colorado; Evansville and Jeffersonville, Indiana; Kansas; Nebraska; New
  (lowest cost            York (excluding Metro New York); Utah; Washington
  category)
  Category 2              Arizona; Arkansas; Delaware; Georgia; Illinois (excluding Chicago); Iowa; Kentucky;
                          Maryland; Missouri; Nevada; North Carolina; Oklahoma; Oregon; Pennsylvania;
                          South Carolina; Austin and San Antonio, Texas; Virginia; Washington, D.C.
  Category 3              Alabama; Alaska; Florida; Hawaii; Idaho; Chicago, Illinois; Gary, Indiana; Maine;
                          Massachusetts; Michigan; Minnesota; Mississippi; Montana; New Hampshire; New
                          Mexico; North Dakota; Ohio; Rhode Island; South Dakota; Tennessee; Houston,
                          Texas; Vermont; Wyoming
  Category 4              Connecticut; Indiana (excluding Evansville, Gary and Jeffersonville); New Jersey;
                          Metro New York; Dallas, Texas
  Category 5              Louisiana; West Virginia; Wisconsin
  (highest cost
  category)
  *Category numbers range from 1-5 (with 1 being the lowest cost; and 5 being the highest cost)




  The Medical Reimbursement Account (MRA)
  and Wellness
  The Medical Plan includes a health reimbursement account, which we call the                           To Check Your MRA
  Medical Reimbursement Account (MRA). This tax-free account will                                       Balance
  automatically be established on your b
  Aetna or Cigna. Your MRA is completely company-funded; you are not                                    Go to My Health > My
  permitted to contribute.                                                                              MRA Balance.

  You can earn funds, called Wellness Rewards, for your MRA when you take
  action for your health by completing certain wellness activities. You can also earn Wellness Rewards for
  your MRA when your covered spouse/domestic partner also completes certain wellness activities.
  Wellness Rewards are available through the Wellness Program, which gives you and your covered
  spouse/domestic partner ways to get and stay healthy. The program provides tailored, personal support
  to help you make educated health care decisions when you need treatment. In addition to earning
  Wellness Rewards, you can also save money on your medical payroll contributions by completing the

  You can access all the Wellness Program offerings easily through My Health > Wellness Activities &
  Services or by calling your health care company.

  The MRA
  You can use the MRA to help pay for covered out-of-pocket medical and prescription drug expenses,
  such as deductibles, coinsurance, and copayments incurred by you and your covered dependents.
  Please Note: MRA funds cannot be used to pay for dental or vision expenses. However, you can be
  reimbursed for these expenses from a Health Care Spending Account (HCSA), if you choose to
  participate in that plan. Please see the Spending Accounts Summary Plan Description on My Health for
  more information.


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  Unused funds left in your MRA at year-end automatically carry over for use in future years, as long as:
       You remain a JPMorgan Chase employee enrolled in the Medical Plan*; or
       You leave JPMorgan Chase and you are eligible for retiree medical plan coverage or you elect to
       continue your medical coverage through COBR

  *    If you are an active employee who previously enrolled in the Medical Plan and had an MRA balance but you currently choose
       not enroll in the Medical Plan, any unused MRA funds will be placed on hold for you by your health care company and will be
       available to you if you re-enroll in the Medical Plan in a subsequent year.

  You can earn up to $1,000 ($1,400 if your covered spouse/domestic partner also participates) in Wellness
  Rewards for your MRA by completing certain wellness activities in a given year. The following sections
  summarize the opportunities for 2021 to earn Wellness Rewards.

  page 90 for more information.
  Your MRA and/or Spending Accounts (HCSA, DCSA) are administered by your health care company
  (PayFlex, an Aetna Company or Cigna), or Cigna if you are not enrolled in the JPMC Medical Plan. If you
  change health care companies (from Aetna to Cigna or vice versa) during Annual Benefits Enrollment,
  your balance will automatically be transferred to your new health care company (generally the April
  timeframe).
  However, if you change health care companies (from Aetna to Cigna or vice versa) because you are a
  late hire, late year COBRA enrollee or in certain other limited circumstances on or before January 31, of
  any given year, your associated MRA, HCSA and/or DCSA accounts may transition to your new health
  care company. If you change health care companies after February 1, your MRA, HCSA and/or DCSA
  accounts will remain with the health care company you were enrolled with as of January 1 of that year
  automatically. Your new health care company will also create an MRA for you to store incentives earned
  for completing wellness activities. You may carry over only your MRA balance to your new health care
  company, however it is incumbent upon you to request this transfer from your health care company.

  Wellness Activities within the MRA
  This is a summary of the wellness activities that are eligible for Wellness Rewards. Be sure to review the
  more detailed information about each activity to understand it better, especially when to complete the
  Initial Wellness Activity to save money on your medical payroll contributions. See the following table for
  list of activities and amount of MRA funds you can earn.

  2021 Wellness Activity                                   Amount of MRA Funds That                            Earn funds up
                                                           Can Be Earned* for                                  to this many
                                                                                                               times for each
                                                                                                               activity in
                                                                                                               2021
                                                           You                       Your Covered
                                                                                     Spouse/ Domestic
                                                                                     Partner
                                            nitial Wellness Activity (New Activity for 2021; Applies to

  Complete online Wellness Assessment between Nov 23, 2019 and Nov. 20, 2020 in order to earn MRA
  funds, see My Health for details.
  Online Wellness Assessment               $200 AND $500       $100 AND an         Once
                                           savings on your     additional $500
                                           medical payroll     savings on your
                                           contributions       medical payroll
                                                               contributions



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  2021 Wellness Activity                                      Amount of MRA Funds That                             Earn funds up
                                                              Can Be Earned* for                                   to this many
                                                                                                                   times for each
                                                                                                                   activity in
                                                                                                                   2021
                                                              You                        Your Covered
                                                                                         Spouse/ Domestic
                                                                                         Partner
  Additional Wellness Activities (between Jan. 1 and Dec. 31)
                                           Receive up to a    Receive up to a
                                           maximum of $800 maximum of $300
  Preventive Care (see page 62)            $200               $100                                                 Once
  Achieve a Healthy Body Mass Index (BMI)  $200               $100                                                 Once
  < 25 OR make progress toward a healthy


  Achieve a Healthy Blood Pressure of                         $200                       $100                      Once
  120/80 or less OR complete an alternative


  Personal Action Call (see page 62)                          $50                       $50                        Once
  Health Coaching Programs
  (telephonic or online) (see page 62)
  Online coaching                                             $100                       $50                       Once
  Telephonic Coaching                                         $200                       $100                      Twice
                                                              $200                       $100                      Once

  Condition Management (see page 63)                          $300                      $150                       Twice
  Expert Medical Advice (see page 64)                         $300                      $150                       Once
  Receive funds for completing an expert
  second medical opinion on a documented
  diagnosis
  Treatment Decision Support (see                             $200                      $100                       Once
  page 64)
  Online Learning Programs
                                                              $50                        $50                       Once

  Planning Your Finances Wisely (see                          $50                        $50                       Once

  meQuilibrium (see page 64)                                  $100                      Not Applicable             Once
  Maximum MRA Funds                                           $1,000 ($200*** +         $400 ($100*** +
  $1,400 if employee and covered                              $800)                     $300)
  spouse/domestic partner complete Initial +
  Additional Wellness Activities within
  required timeframes.
  *     Assumes that Wellness Activities are completed as noted above and you are actively employed when MRA funds are distributed
  **    If it is unreasonably difficult because of a medical condition for you and/or your covered spouse/domestic partner to achieve the
        standards for the reward under this program, contact your health care company to work with you (and, if you wish, with your
        doctor) on an alternative.
  *** The $200 and $100 amounts shown assumes the online Wellness Assessment was completed between Nov. 23, 2019 and
      Nov. 20, 2020.



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  Initial Wellness Activity (New Activity for 2021; Applies to Wellness Activity
  Completed in 2020)
  Online Wellness Assessment
  The online Wellness Assessment is an online survey that asks you questions about your biometric
  values, current health conditions and lifestyle. The Wellness Assessment can be completed at
  mycigna.com (even if you are enrolled with Aetna).
  You and your covered spouse/domestic partner (if applicable) must complete the Wellness Assessment
  between November 23, 2019 and November 20, 2020 at 11:59 pm Eastern time in order to:
     Earn Wellness Rewards in your MRA for 2021 ($200 for you and $100 if covering a spouse/domestic
     partner); and
     Save $500 in medical payroll contributions ($1,000 if covering a spouse/domestic partner) in 2021.



  spouse/domestic partner) on both 2020 and 2021 medical payroll contributions without completing the
  Initial Wellness Activity in 2020. They will have until the 2021 Initial Wellness Activity deadline (to be
  communicated in 2021) to earn 2021 MRA dollars for completing the Initial Wellness Activity; however, if
  they complete the Initial Wellness Activity by November 20, 2020, they not only earn Wellness Rewards
  for their 2020 MRA, but for their 2021 MRA, too.
  The 2021 medical payroll contributions (payroll deductions for Medical Plan coverage) shown when you
  enroll on the Benefits Web Center assume you and your covered spouse/domestic partner completed the
  Wellness Assessment between November 23, 2019 and November 20, 2020. This means the $500
  savings (or $1,000 if you cover a spouse/domestic partner) will be reflected in your 2021 medical payroll
  contributions. If you and/or your covered spouse
  Assessment by the deadline, your medical payroll contributions will increase in February 2021. The $500
  or $1,000 increase will be applied in equal installments to each pay from the first effective pay in February
  2021 through December 2021.
  Note: You have until June 30, 2021, to open a case with your health care company if you believe your
  online Wellness Assessment was completed by the deadline and not reflected in your medical payroll
  contributions.
  For employees currently on an approved Leave of Absence: You and your covered spouse/domestic
  partner are encouraged to participate in the Initial Wellness activity. However, if you are on an approved
  Leave of Absence for at least 45 consecutive days between September 1 and November 20, 2020, and
  do not complete your online Wellness Assessment during that period, you will not lose the $500 in 2021
  medical payroll contribution savings ($1,000 if covering a spouse/domestic partner). Other provisions of
  the Medical Plan and Wellness Program will continue to apply, including the opportunity to earn MRA
  funds by completing Additional Wellness Activities.

  Additional Wellness Activities
  MRA. Your covered spouse/domestic partner can complete Additional Wellness Activities during the
  same time period, and you will receive up to an additional $300 in your MRA.




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  Preventive Care
  The Medical Plan covers eligible in-network preventive care at 100% with no deductible, coinsurance, or
  copayments. Out-of-network preventive care is also covered but generally at a higher cost. You and/or
  your covered spouse/domestic partner can earn Additional Wellness Rewards for completing any of the
  following age and gender appropriate preventive care services:
       Wellness physical;
       Cervical or prostate screening;
       Mammogram; and
       Colonoscopy.

  Healthy BMI/Progress Toward Healthy BMI*
  Body mass index (BMI) is one of the numbers that is measured in the Wellness Screening. BMI can be an
  indicator of overall health. Achieve a BMI under 25 or a weight loss of at least 5% since your last
  screening and earn $200 in Wellness Rewards.
  *    If it is unreasonably difficult because of a medical condition for you and/or your covered spouse/domestic partner to achieve the
       standards for the reward under this program, contact your health care company to work with you (and, if you wish, with your
       doctor) on an alternative.


  Healthy Blood Pressure or Alternative Activity
  A Healthy blood pressure is a reading of 120/80 or less.
  If your blood pressure is 120/80 or less, you earn $200 in Wellness Rewards.
  If your blood pressure is greater than 120/80 but less than 160/100, you can earn $200 in Wellness
  Rewards in one of two ways:
       You can make an appointment at an onsite JPMC Health & Wellness Center for in-person health
       coaching regarding your risks for high blood pressure. After completion of your coaching session, the
       JPMC nurse will notify your health care company that the coaching took place and the health care
       company will authorize Wellness Rewards for Blood Pressure.
       You can call your health care company (Aetna/Cigna) and complete a Telephonic Health Coaching
       that will be focused on your blood pressure or a related topic, such as Heart Health. Your health care
       company will authorize your Wellness Rewards. Note: The incentive for completing this Blood
       Pressure activity will be recorded under Telephonic 'Health Coaching', not Blood Pressure
  If your blood pressure is 160/100 or greater, you can still earn $200 in Wellness Rewards by calling
  your health care company (Aetna/Cigna) to obtain
  and taking it to your personal health care provider. Your health care provider can determine if medication
  adjustment or information regarding your blood pressure risks is appropriate for you. They can then
  complete the form and fax it to your health care company as evidence that you are currently under
  medical care for your blood pressure. Your health care company will then award Wellness Rewards for
  Blood Pressure.

  Personal Action Call
  After you complete a Biometric Wellness Screening (even though not a part of 2021 Initial Wellness
  Activities), and/or an Online Wellness Assessment you can call your health care company to discuss the
  results and to learn what tools and resources are available to improve your results.

  Health Coaching
  Aetna and Cigna offer access to health coaches who can answer questions about your Wellness
  Screening and/or Wellness Assessment, as well as help you set and achieve your health goals, assess
  treatment options, navigate the Wellness Program, and remind you about prescription refills and
  preventive tests. You have your choice of receiving telephonic or online support.


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  You May Be Contacted by Your Health Care Company

  If your health care company (Aetna or Cigna) feels you could benefit by working with a health coach based on its
  review of your Wellness Screening numbers, Wellness Assessment responses, and/or claims data, a health care
  company representative (not JPMorgan Chase) may contact you directly.
  Please Note: Aetna and Cigna have access to your medical, prescription drug, and lab claims. So even if you do not
  get a Wellness Screening or complete a Wellness Assessment, you may still be contacted by your health care
  company to inform you of health programs available to you. Keep in mind that you do not have to participate in these

                                                       you can contact your health care company directly at the
  number on the back of your medical card.

  Listed below are the most common health topics addressed by the health coaches at Aetna and Cigna.
  However, you can contact them on any health topic.
     Emphysema and chronic bronchitis;
     Depression and anxiety;
     Diabetes/pre-diabetes;
     Healthy eating;
     High blood pressure;
     High cholesterol;
     Physical activity;
     Stress management; and
     Weight management.
  Please see the mycigna.com website through My Health (even if you are with Aetna) for a more
  comprehensive list of the topics that Aetna and Cigna can address through their telephonic and online
  programs.

  Maternity Support Program
  The Maternity Support Program provides expectant mothers with help throughout their pregnancy. If you
  or a covered spouse/domestic partner are pregnant and enroll in the program within the first trimester of a
  pregnancy, or within 31 days of the effective date of your Medical Plan coverage, you and your covered
  spouse/domestic partner can earn Additional Wellness Rewards. Please Note: You can enroll in the
  program anytime throughout your pregnancy to receive support from a health coach, however you will not
  be incented upon completion of the program if your enrollment is after your first trimester or after 31 days
  of your enrollment into the Medical Plan. This is a confidential program and JPMorgan Chase will not be
  notified of your individual enrollment. This program is available only if you are enrolled in the Medical
  Plan. You will not receive your incentive reward until after you complete your post-partum call.
  Contact your health care company to learn more.

  Condition Management
  The Condition Management program provides you with personal support from a registered nurse to help
  you find practical ways to manage chronic conditions. Condition Management offers support for asthma,
  coronary artery disease, COPD, diabetes, and heart failure. This program is available only if you are
  enrolled in the Medical Plan.
  Contact your health care company to learn more.




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  Expert Medical Advice
  An expert second medical opinion through Grand Rounds allows you to receive medical guidance from a
                                                        without leaving your home. Leading experts are
  available to review documentation on treatment plans, complex medical conditions, scheduled surgeries
  or major procedures and medications you are taking. This program is available only if you are enrolled in
  the Medical Plan. You or your covered spouse/domestic partner must complete the entire expert second

  Wellness Rewards in your MRA. Visit www.grandrounds.com/jpmc or call (888) 868-4693.

  Treatment Decision Support
  The Treatment Decision Support program offers access to registered nurses, or in the case of Grand
  Rounds, staff clinicians who can help you deal with conditions that have multiple treatment options, such
  as breast cancer and prostate cancer. The Treatment Decision Support program provides detailed
  information to help you choose the best treatment option(s), along with names of high-quality, cost-
  effective physicians near you and questions to ask your doctor. This program is available only if you are
  enrolled in the Medical Plan.
     Cigna: Treatment Decision Support offers support for benign uterine conditions, breast cancer,
     coronary artery disease, hip osteoarthritis/replacement, knee osteoarthritis/replacement, low back
     pain, and prostate cancer.
     Aetna: Treatment Decision Support offers support for a variety of medical and surgical conditions
     including but not limited to angina, benign prostate disease, breast cancer, dysfunctional uterine
     bleeding, endometriosis, fibroids, hip replacement, knee replacement, low back pain, and prostate
     cancer.
     Grand Rounds: Treatment Decision Support offers support for coronary artery disease/heart disease,
     hyperlipidemia, metabolic disease, hypertension, obesity, low back pain, shoulder pain, knee pain, hip
     pain, other chronic joint pain, migraines, anxiety, depression, benign uterine conditions, prostate
     cancer, and breast cancer.
  Contact your health care company or Grand Rounds to learn more.

  Online Learning Programs
  You can take advantage of health and financial Online Learning Programs:

     www.mycigna.com (even if you are enrolled with Aetna)
                                                     how to be financially well by using tools and
     resources that JPMorgan Chase provides. Go to www.mycigna.com (even if you are enrolled with
     Aetna)

  meQuilibrium
  meQuilibrium is an online and mobile program designed to help you manage stress, feel your best, and
  become more resilient. It targets your individual stress triggers based on your personalized stress profile.
  In addition, the program provides a specific set of skills to help you practice behavior changes to stay

  competing demands and more. Go to www.mymeQ.com/jpmc. Only employees are eligible to participate
  in the meQuilibrium program.




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  Wellness Program If You Do Not Enroll in JPMC Medical Coverage
  Employees who do not enroll in the Medical Plan have access to a Wellness Program designed to
  provide ways to get and stay healthy. The program, which is administered by Cigna, provides tailored,
  personalized support.
  The Wellness Rewards component of the program allows you to earn up to $600 per year by completing
  certain wellness activities. The Wellness Rewards are paid to you in cash through JPMorgan Chase
  payroll (this is considered taxable income and will be reported as such).
  If you completed an online Wellness Assessment during the annual required time frame, you will earn
  $200, payable in January if you are actively employed at that time. If you completed the Wellness
  Assessment but your employment subsequently terminates before the January payroll deposit, you will
  forfeit the funds.
  The Additional Wellness Activities you can complete are:
      Personal Action Call;
      Biometric Guidelines for Body Mass Index and Blood Pressure;
      Preventive Care;
      Telephonic Health Coaching;
      Online Health Coaching;
      Planning Your Finances Wisely
      meQuilibrium.
  Wellness Rewards are not available to spouse/domestic partners of employees who do not enroll in the
  JPMorgan Chase Medical Plan.

  Special Rules for Company Couples

  If you are covering a spouse/domestic partner who is also a JPMorgan Chase employee (i.e., company couple), they
  will be incented as a covered spouse/domestic partner and the Wellness Rewards they earn for completing Wellness
  Activities will be deposited into your MRA. They will not be incented as a waiver (i.e., an employee who chooses not
  to enroll in the JPMorgan Chase Core Medical Plan).


  MRA Payment Elections
  During Annual Benefits Enrollment or when you first enroll in Option 1 or Option 2, you must choose how
  claims will be paid from your MRA when you have a covered expense. There are two ways claims can be
  paid:
      Through automatic claim payment default option for new Medical Plan enrollees or
      With a debit card.
  Your choice will also apply to your Health Care Spending Account (HCSA), if you elect to participate in
  that plan. If you do not make an election when you first enroll in the Medical Plan, you will be enrolled in
  the automatic claim payment method. Your election will remain in effect for future plan years, unless you
  make a change during a subsequent Annual Benefits Enrollment. (Annual Benefits Enrollment is the only
  time during the year that you can change your MRA payment election*.) Please Note: During 2020, all
  Aetna enrollees were defaulted to the debit card option and those enrollees will remain in the debit card
  option unless they elect automatic claim payment during Annual Benefits Enrollment.
  * You are eligible for a mid-year payment method change (from automatic claim payment to debit card) if you or your dependent is
  eligible for a prescription drug co-payment or discount program.




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  Your MRA payment election determines how in-network claims are processed by your health care
  company. If an out-of-network provider agrees to submit a claim to your health care company on your
  behalf, your election would also apply to the processing of that claim. The claims payment process takes
  into account whether there is money in your MRA (and/or HCSA, if applicable) available to pay for all or
  part of your share of the covered medical or prescrip
                                                              ailed instructions about payments at in-network
  and out-of-network providers.
  Remember, your MRA can be used to pay for eligible medical and prescription drug out-of-pocket
  expenses, and your MRA account must be exhausted before you can use your HCSA for medical and
  prescription drug out-of-pocket expenses. Further, your MRA cannot be used for vision or dental
                                                        penses. (For information about the HCSA, please
  see the Spending Accounts Summary Plan Description, at My Health
                                       My Health.)

  What Happens to Your MRA If Your Employment with
  JPMorgan Chase Ends
  If your employment with JPMorgan Chase ends and you do not enroll in COBRA
  or retiree medical coverage you:
     Cannot earn additional Wellness Rewards beyond your termination of employment;
     Can use your remaining MRA balance for covered out-of-pocket medical and prescription drug
     expenses incurred before the end of the month in which your employment ends. Claims for these
     costs must be submitted no later than one year following the end of the plan year in which you were
     enrolled. For example, if you terminated employment on September 23, 2021, you would have until
     December 31, 2022, to submit an MRA claim for covered expenses incurred during 2021. You will
     forfeit any remaining MRA funds.
     Will also forfeit any rewards for completing an online Wellness Assessment during the annual required

     in Retiree Medical coverage.

  If your employment with JPMorgan Chase ends and you enroll in COBRA or
  retiree medical coverage:
     Your account balance will be available if y
                                       Health Care Participation section). While you remain enrolled in
     COBRA medical coverage, you can use the remaining balance in your MRA to pay for your covered
     out-of-pocket costs related to covered medical and prescription drug expenses. You can also continue
     to earn Wellness Rewards for your MRA as if you were an active employee up to the full annual
     amount of $1,000 (or $1,400 if you are covering a spouse/domestic partner).
                                                        t is, at the time your employment ends with
     JPMorgan Chase, you are age 55 or older with at least 15 years of service, or age 50 or older with at
     least 20 years of service in the case of severance). If you retire from JPMorgan Chase, you can
     continue to access your MRA regardless of what medical coverage you have in retirement, whether it
     is through COBRA, the JPMorgan Chase Retiree Medical Plan, or another plan. However, you can no
     longer earn additional Wellness Rewards to increase your MRA balance.
     If you are enrolled in COBRA or in the JPMorgan Chase Retiree Medical Plan, the MRA can be used
     to pay for eligible out-of-pocket medical and prescription drug expenses. You will have to submit your
     claims for reimbursement.




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     If you are covered by another plan, the covered expenses eligible for reimbursement from the MRA
     will be determined by the expenses covered by that plan. You will need to file an MRA and/or HCSA
     Claim Form for reimbursement of your covered out-of-pocket medical and prescription drug expenses

     If you are enrolled in JPMorgan Chase Retiree Medical Plan, administrative fees for your MRA will
     apply, and will be automatically deducted from your MRA each month.
     Your MRA will be managed by the last health care company in which you were enrolled while you
     were an active employee.
  For more information, please see the As You Leave Guide on me@jpmc or My Rewards.
  Please see the Health Care Participation section for more information on COBRA.

  Covered MRA Expenses
  You can use the funds in your MRA to pay for covered out-of-pocket medical and prescription drug
  expenses (out-of-network deductibles, coinsurance, and copayments) under the Medical Plan. Please

  Expenses that are not covered under the Medical Plan are not eligible to be reimbursed by the MRA.
                                                                                  Please Note: While the
  MRA cannot be used to pay for expenses that are not considered covered expenses under the Medical
  Plan, such as charges above reasonable and customary levels for out-of-network care, or for dental or
  vision expenses, you can be reimbursed for these expenses from a Health Care Spending Account, if you
  choose to participate in that Plan. Please see the Spending Accounts Summary Plan Description on
  My Health for more information.

  Other Wellness Programs
  In addition to the Wellness Activities and Programs that are associated with the MRA, JPMorgan Chase
  offers other wellness related benefits to give you and your family more ways to stay healthy. These
  programs are provided to benefits-eligible employees, regardless of whether you enroll in the Medical
  Plan, and coverage under these programs does not begin or end with participation in the Medical Plan.

  Employee Assistance Program (EAP) and Work-Life Program
  The Employee Assistance and Work-Life Program (EAP) is available to provide professional, confidential
  counseling, consultation and referral services to help you and your eligible dependents find solutions to
  the many challenges faced in managing work and personal lives. The EAP is available to active U.S.
  benefits-eligible employees (that is, U.S. employees who are regularly scheduled to work 20 hours or
  more a week). That means you and your dependents
  enrolled in a JPMorgan Chase Medical Plan. As part of the EAP, you have access to referrals for free
  professional counseling for topics related to stress, anxiety, depression, marriage, family, relationship
  issues and more.
  Employee Assistance Program Counselors are professionally trained, licensed, or certified mental health
  professionals.
  Employees can receive up to five counseling sessions a year per issue. All services provided by the EAP
  are free, confidential, and available 24 hours a day, seven days a week. If referral to some other
  professional is made and fees are involved, the counselor will help you determine whether your Medical
  Plan benefits will offset some of the costs.
  Use of the Employee Assistance Program is voluntary and completely confidential as required by law and
  JPMorgan Chase policy.




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  When Employee Assistance Program coverage ends for you and/or your eligible dependents, you may be
  able to continue coverage for a certain period of time under the Consolidated Omnibus Budget
  Reconciliation Act of 1985 (COBRA). Please see the Health Care Participation section for more
  information on COBRA.
  For additional information about the EAP and Work-Life Program, go to me@jpmc > Health, Life &
  Parenting > Employee Assistance and Work Life Program > U.S. or call (877) 576-2007 or access the
  Employee Assistance Program on My Health > Wellness Activities & Services.

  Tobacco Cessation Program
                                                                        ®
  JPMorgan Chase offers tobacco cessat                                    Program. By enrolling in this
  program, you and/or your covered spouse/domestic partner can obtain experienced help in committing to
  a tobacco-free lifestyle.
  The program provides, at no cost:
     Telephone coaching and online support;
     A Quit Guide; and
     Quitting aids (for example, patches and gum).
  Upon completion of the program, you may be eligib

  Call 866-QUIT-4-LIFE ((866) 784-8454) or access the program at My Health.

  Onsite Health & Wellness Centers
  At certain large locations, JPMorgan Chase provides fully staffed Health & Wellness Centers. These
  Centers provide:
     Basic medical services;

     other health evaluations; and
     Help understanding health information and guidance on resources available to you.
  You pay nothing for these services. These Centers are for benefits-eligible employees (not just those
  enrolled in the JPMorgan Chase Medical Plan) and are not available for use by spouses/domestic
  partners or children.
  For a list of the locations of the JPMorgan Chase Health & Wellness Centers, visit My Health.
  Please see the Health & Wellness Centers Summary Plan Description for more information.



  How Your Medical Plan Works
  Option 1 and Option 2 pay the same percenta
                                                     ions are the payroll contributions required for each
  option and the annual deductible and coinsurance maximum values, as explained in the following
  sections.
  The prescription drug plan is the same, regardless of whether you choose Medical Plan Option 1 or
  Option 2. For a description of coverage for prescription
  page 81.




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  The Annual Deductible
  Under Options 1 and 2, certain expenses are subject to an annual deductible. The annual deductible is
                                                    ear before the Plan begins to pay benefits for most
  covered expenses.
  Under Options 1 and 2, there are certain services that are provided before the deductible (meaning the
  Plan begins paying immediately):
     Eligible preventive care that is received from in-network providers is covered in full without having to
     satisfy the deductible;
     In-network primary care is covered at 90% without having to satisfy the deductible; and
     Virtual doctor visits are covered for approximately $5, before the deductible for primary care services.
     Mental health virtual visits are covered at 80% after the deductible.



  Out-of-network care has a higher deductible that is separate from the in-network deductible. Amounts in
  excess of reasonable and customary (R&C) charges do not count toward the out-of-network deductible.
  As a reminder, the Prescription Drug Plan has a separate plan design and has separate deductibles from
  those listed in the following table.
  In addition to separate deductibles for in-network and out-of-network medical care, the annual deductible
  you are subject to also varies by (1) your Total Annual Cash Compensation (TACC), and (2) your
  coverage level.
  The following table shows the annual deductibles for the different coverage levels under each option.

  In- and Out-of-Network Deductibles (Medical Only)
  Coverage Level        Option 1                                            Option 2
                        In-Network    Out-of-Network                        In-Network        Out-of-Network
  Total Annual Cash Compensation: less than $60,000
  Employee*             $1,000        $2,750                                $2,000            $4,750
  Employee +            $1,875        $4,125                                $3,375            $7,125
  spouse/domestic
  partner or Employee +
  child(ren)
  Family (employee +    $2,750        $5,500                                $4,750            $9,500
  spouse/domestic
  partner + child(ren))
  Total Annual Cash Compensation: $60,000 or more
  Employee*             $1,750        $2,750                                $2,750            $4,750
  Employee +            $2,625        $4,125                                $4,125            $7,125
  spouse/domestic
  partner or Employee +
  child(ren)
  Family (employee +    $3,500        $5,500                                $5,500            $9,500
  spouse/domestic
  partner + child(ren))
                              deductible under the other coverage levels.




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  If you elect coverage for yourself, you must pay up front for all eligible expenses (except for preventive
  care and primary care) until you meet the per-person deductible. After you meet the annual per-person
  deductible, the Plan will begin to pay its portion of co

  coinsurance for various expenses).
  If you cover dependents, all eligible expenses paid by you and/or your covered dependents combine to
  meet the deductible amount for the coverage level.
  However, no individual must satisfy more than the per-person deductible amount. This means that once
                                                      ible, the Plan will begin to pay benefits for that
  person, even if the family has not yet met the full


  The Annual Coinsurance Maximum
  Under Options 1 and 2, the annual coinsurance maximum is the maximum amount you must pay in
  coinsurance in a plan year toward eligible covered expenses.
  The coinsurance maximum does not include the deductible, and there are separate coinsurance
  maximums for in-network and out-of-network charges.

                                                          protection for lower-paid employees, as shown in
  the following table.

  very high health care expenses in the event of a serious medical situation. Once the coinsurance
  maximum is reached, the Medical Plan will pay 100% of negotiated fees for covered in-network care and
  100% of the reasonable and customary charges for covered out-of-network services for the rest of the
  year.
  Amounts that you pay toward your medical deductible and amounts above reasonable and customary
  charges for out-of-network care do not count toward your coinsurance maximum. In addition, prescription
  drug benefits are subject to a separate out-of-pocke


  In- and Out-of-Network Coinsurance Maximums (Medical Only, Excludes
  Deductible and Prescription Drugs)
                                                       Option 1                     Option 2
                                                       In-           Out-of-        In-           Out-of-
                                                       Network       Network        Network       Network
  Total Annual Cash Compensation:
  less than $60,000
  Employee*                                            $1,000        $6,000         $2,750        $6,000
  Employee + spouse/domestic partner or                $1,500        $8,000         $4,125        $8,000
  Employee + child(ren)
  Family (employee + spouse/domestic partner +         $2,000        $12,000        $5,500        $12,000
  child(ren))




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  In- and Out-of-Network Coinsurance Maximums (Medical Only, Excludes
  Deductible and Prescription Drugs)
                                                        Option 1                      Option 2
                                                        In-            Out-of-        In-          Out-of-
                                                        Network        Network        Network      Network
  Total Annual Cash Compensation:
  $60,000-$149,999
  Employee*                                             $1,500         $6,000         $3,050       $6,000
  Employee + spouse/domestic partner or                 $2,250         $8,000         $4,575       $8,000
  Employee+ child(ren)
  Family (employee + spouse/domestic partner +          $3,000         $12,000        $6,100       $12,000
  child(ren))
  Total Annual Cash Compensation:
  $150,000+
  Employee*                                             $2,250         $6,000         $3,050       $6,000
  Employee + spouse/domestic partner or                 $3,375         $8,000         $4,575       $8,000
  Employee + child(ren)
  Family (employee + spouse/domestic partner +          $4,500         $12,000        $6,100       $12,000
  child(ren))
                                   ance maximum under the other coverage levels.


  The Per-Person Deductible and Coinsurance Maximum Provision
  The prior sections describe the deductible and coin
  are not subject to the deductible, as well as the portion the Plan pays in coinsurance and coinsurance
  maximums established within the Medical Plan.
  If you have elected Employee Only coverage, then the deductible and coinsurance descriptions and
  amounts shown in the chart will apply.



  apply for that coverage level (i.e., employee plus adult, or
                                                     example, the employee or a covered spouse/domestic
  partner or child) within a coverage level to reach the individual deductible or coinsurance maximum, after
  which the deductible or coinsurance maximum is satisfied for the year for that individual.
  Covered family members who have not met the deductible or coinsurance maximum may then combine to
  meet the remainder of the deductible or coinsurance maximum for that coverage level. If no one individual
  has met the individual deductible or coinsurance maximum, the expenses of all covered members can
  combine to meet the deductible or coinsurance maximum for that coverage level.




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  An Example: Amounts Applied Toward In-Network Family Coinsurance
  Maximum for Medical Plan Option 1 After Deductibles Were Met
  (Total Annual Cash Compensation < $60,000)
  On behalf of you                                                                                  $1,000
  On behalf of your spouse/domestic partner                                                           $100
  On behalf of one child                                                                               $50
  On behalf of a second child                                                                          $50
  TOTAL                                                                                             $1,200
  In this example, one person has met the $1,000 per-person coinsurance maximum (the employee), and
  combined coinsurance costs for the family have reached $1,200. Any charges for eligible medically
                                                      would therefore be reimbursable at 100% for the
  remainder of the year, even though the family as a whole has not yet met the family coinsurance
  maximum for the Total Annual Cash Compensation < $60,000 tier ($2,000).


  Note: If your coverage level changes during a calendar year as a result of Qualified Status Change, your
  annual deductible and/or annual coinsurance maximum increases or decreases accordingly. For
  example, your deductible will go back to the individual amount if you move from Employee +
  spouse/domestic partner or Employee + child(ren) to Employee only during the year as a result of a
  Qualified Status Change.

  Maximum Lifetime Benefits
  There is no dollar limit on the amount Options 1 and 2 would pay for essential benefits while you and your
  covered dependents are enrolled in the Medical Plan.
  However, there is a $10,000 lifetime infertility services maximum provided by the Medical Plan ($30,000 if
  you and/or your covered spouse/domestic partner receive your care in a Center of Excellence, as
                                                          page 80). These amounts do not include the infertility
  benefit provided by the Prescription Drug Plan.
  There is also a lifetime limit of 365 days for in- or out-of-network care in a skilled nursing facility. The
  infertility services and skilled nursing facility lifetime maximum benefits apply to both in-network and out-
  of-network care.

  An Important Note on the Option 1 and Option 2 Benefit Maximums

  The benefit maximums for infertility services and skilled nursing facility care reflect services received across the
  following plans:
     Medical Plan Option 1.
     Medical Plan Option 2.
  You do not gain a new benefit maximum if you switch your coverage between options or health care companies.




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  Choosing Between In- and Out-of-Network Care
  Under Options 1 and 2 of the Medical Plan, you can choose to see any                   Forgot Your ID
                                              ceive your care through your health        Card?
                               physicians and facilities because network providers
  have agreed to charge negotiated discounted fees for their services. In                Not to worry. You can
  addition, the Plan pays a higher rate of coinsurance for in-network care, so           access an electronic
  your share of charges, if any, is less for in-network care. Lastly, the deductible     version of your medical
                                                                                         coverage ID card online
  is lower for in-network care than it is for out-of-network care, so you have to
                                                                                         at your health care
  incur less expense before the Medical Plan begins to pay coinsurance for
  covered expenses.                                                                      their apps.
  When you receive in-network care:
                                          m forms; your network provider will
    usually file claims for you.
    Your out-of-pocket expenses will be lower compared to your expenses for the same type of care on an
    out-of-network basis. In-network doctors have agreed with Aetna and Cigna to charge pre-negotiated
    fees that are on average lower than the fees charged by doctors outside the network. You cannot be
    billed for any amounts above those pre-negotiated fees.
  When you receive out-of-network care:
    You may need to file a claim form to receive out

     Your out-of-pocket costs for medically necessary covered services generally will be higher than if you
     received in-network care.
  Covered services performed by providers not participating in the network will be reimbursed at the out-of-
  network level of benefits, subject to reasonable and customary (R&C) charges. These charges are based
  on average claims data in your area and are determined by your health care company to be appropriate
  fees for medical services. Out-of-network charges are typically higher than the pre-negotiated fees that
  are covered for in-network care. Please Note: You will be responsible for paying any charges by your
  out-of-network provider above the R&C amount. Charges in excess of reasonable and customary levels
  are not considered a covered expense under the Plan, and they therefore do not count toward the
  deductible or coinsurance maximum.
  The Shared Savings Program is a program in which Aetna and Cigna may obtain a discount to an out-of-
                                                      obtained by the non-Network provider agreeing to a
  reduced charge either directly with Aetna or Cigna or with a third party on behalf of Aetna or Cigna. When
  this happens, you may share in the savings because your out-of-pocket costs (i.e., coinsurance and
  deductible) are determined using the reduced charge. In addition, the out-of-network provider should not
  bill you for any amount above the agreed upon reduced charge. If this happens, however, you should call
  the number on your ID card for either Aetna or Cigna. In some instances, Aetna or Cigna may not obtain
  a discount. In this case the out-of-network provider may bill you not only for the deductible and
  coinsurance applicable to the allowed amount determined by Aetna or Cigna under the terms of the Plan,
  but for all charges above that allowed amount. Out-of-network providers that agree to reduced charges
  are not credentialed by Aetna or Cigna and are not Network Providers.

  Out-of-Area Network Participants
  The JPMorgan Chase Medical Plan vendors, Aetna and Cigna, offer broad national networks. However,
  in certain extremely limited situations, participants may be in an area without access to the expected level
                                                       rare circumstances, and effective as of each Annual
  Benefits Enrollment period, participants impacted by this are offered coverage during Annual Benefits
                                                          nd are offered participation in Option 1. Out-of-Area
  participants can use any provider and the services are covered as in-network. Typically, eligibility for Out-
  of-Area participation is based on the number of Aetna and Cigna network primary care physicians and
  hospitals within a certain mileage radius of your home zip code. Out-of-Area eligibility can change, as
  more physicians or hospitals are added in your area.



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  Coinsurance Paid for Covered Benefits
  The following table shows the coinsurance percentage paid by the Medical Plan on an in-network and
  out-of-network basis for covered expenses. Please al
  detailed list of covered expenses under the Medical Plan.

  Please Note

  When you visit an in-network facility for a scheduled surgery, Options 1 and 2 will cover care provided by radiologists,
  anesthesiologists, and/or pathologists (RAPs) at the in-network percentage of the billed charges, even if the provider
  is considered an out-of-network provider.
  For example, assume you visit an in-network facility for surgery and are treated by an out-of-network anesthesiologist
  whose charge is $500. The Plan will reimburse you 80% of the reasonable and customary (R&C) amount; if the R&C
  amount is $500 you would be reimbursed $400; you will be responsible for payment of the remaining $100. Fees for
  services provided by any other out-of-network specialists who attend to you while you are confined in an in-network
  facility will be paid at the out-of-network level of benefits. Services performed in an out-of-network facility will be paid
  at the out-of-network level of benefits.


  Covered Benefits: Eligible Preventive Care

                                             Percentage for                            Percentage for Out-of-
                                             In-Network Care                           Network Care*
  Eligible Preventive Care**
  Please Note: A medical service will only be covered at 100% if it is coded as preventive. Before receiving
  any service, you should check with your physician to be sure the procedure is considered, and will be
  submitted to your health care company, as preventive medical care rather than as a diagnostic service.
  Additional lab or other services performed during a preventive care visit that are not considered
  preventive in nature may not be covered at 100% with no deductible.
  Fecal Occult Blood Test                 100% before deductible                50% coverage after
                                          One test per year                     deductible
                                                                                One test per year
  Immunizations (routine adult            100% before deductible                50% coverage after
  and child) (includes                                                          deductible
  immunizations related to
  travel)
  Preventive                              100% before deductible                50% coverage after
  Sigmoidoscopy/Colonoscopy               One baseline screening and            deductible
                                          one follow-up screening every         One baseline screening and
                                          five years                            one follow-up screening every
                                                                                five years
  Routine Gynecological                   100% before deductible                50% coverage after
  Exams and Pap Smears                    One exam and Pap smear                deductible
                                          per year (includes related            One exam and Pap smear
                                          laboratory fees); check with          per year (includes related
                                          your provider for age                 laboratory fees); check with
                                          guidelines                            your provider for age
                                                                                guidelines




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                                                Percentage for                               Percentage for Out-of-
                                                In-Network Care                              Network Care*
  Routine Mammography,                              100% before deductible                     50% coverage after
  Prostate Specific Antigen                         Age 40 and over: one exam                  deductible
  (PSA) Test, and Digital Rectal                    per year based on age and                  Age 40 and over: one exam
  Exam                                              gender                                     per year based on age and
                                                                                               gender
  Routine Physical Exams                        100% before deductible**                     50% coverage after deductible**
  Routine Screenings Provided                   100% before deductible                       50% coverage after deductible
  During Pregnancy
  (For example, gestational
  diabetes and bacteriuria
  screenings, as well as items such
  as certain breast pumps)
  *     Covered out-of-network expenses are subject to reasonable and customary (R&C) charges. You are responsible for paying any
        charges above the R&C amount.
  **    Your health care company determines the preventive care services covered at 100% under the Plan based on guidelines and
        clinical recommendations for the general population developed by the U.S. Preventive Services Task Force, the Advisory
        Committee on Immunization Practices of the Centers for Disease Control and Prevention, and other nationally recognized
        sources. JPMorgan Chase does not make this determination. For a list of preventive services that are covered at 100%, go to
                                                           My Health > My Medical Plan Website.


  Covered Benefits: Outpatient Services

                                                Percentage for                               Percentage for Out-of-
                                                In-Network Care                              Network Care*
  Outpatient Services
  Acupuncture Services                          80% coverage after deductible                50% coverage after deductible
  Cognitive Rehabilitation                      80% coverage after deductible                50% coverage after deductible
  Therapy
  (combined in-network and out-of-
  network limit of 60 visits/calendar
  year)
  Convenience Care Clinics                      90% coverage before deductible               50% coverage after deductible
  Home Health Care                              80% coverage after deductible                50% coverage after deductible
  (may require precertification;
  limited to maximum of 200
  visits/calendar year; one visit =
  four hours)

  page 80 for more information.




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                                         Percentage for                     Percentage for Out-of-
                                         In-Network Care                    Network Care*
  Infertility Services                   80% coverage after deductible;     50% coverage after deductible;
  (available to covered members          coverage requires you to contact   coverage requires you to contact
  with a medical diagnosis of            your health care company and       your health care company and
  infertility, as defined by your        receive precertification before    receive precertification before
  health care company)                   obtaining services                 obtaining services
  Limited to combined in-network
  and out-of-network maximum of
  $10,000/lifetime for each covered
  member**
  ($30,000 lifetime maximum if a
  Center of Excellence is used for
  your treatment, as described


  Separate $10,000 prescription


  page 86.
  Mental Health Care                     80% coverage after deductible      50% coverage after deductible
  Primary Care Office Visits (to         90% coverage before deductible     50% coverage after deductible
  family practitioners,
  internists, pediatricians,
  OB/GYNs, and convenience
  care clinics).
  Internists must be contracted with
  Aetna or Cigna as a Primary
  Care Physician (PCP). Go to

  through My Health to search for
  PCPs/primary care.
  (includes tests, injection drugs,
  supplies, and other services
  authorized by the Plan and
  provided during the visit and
  billed by the Primary Care
  Physician)
  Routine eye exams                      Not covered                        Not covered
                                         80% coverage after deductible      50% coverage after deductible
  (includes tests, injection drugs,
  supplies, and other services
  authorized by the Plan and
  provided during the visit,
  consultations, specialist referrals,
  and second surgical opinions)




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                                               Percentage for                             Percentage for Out-of-
                                               In-Network Care                            Network Care*
  Speech, Physical, or                         80% coverage after deductible              50% coverage after deductible
  Occupational Therapy
  (combined in-network and out-of-
  network limit of 60 visits/calendar
  year per therapy type**; unlimited
  for those with a mental health
  diagnosis)

  page 80 for more information.
  Spinal Treatment/Chiropractic                80% coverage after deductible              50% coverage after deductible
  Care
  (coverage ends when medical
  recovery is achieved, and
  treatment is for maintenance or
  managing pain; limited to 20
  visits/calendar year including
  initial consultation**
  Substance Use Disorder                       80% coverage after deductible              50% coverage after deductible
  Services
  Urgent Care Center                           80% coverage after deductible              80% coverage after the
                                                                                          in-network deductible
  Virtual Doctor Visit                         Approximately $5 (90%                      Not covered
  for medical (non-mental health)              coverage) before deductible for
  services delivered through                   primary care services. Mental
  Teladoc (Aetna) and MDLive                   health services are covered at
  (Cigna)                                      80% after the deductible.
  *     Covered out-of-network expenses are subject to reasonable and customary (R&C) charges. You are responsible for paying any
        charges above the R&C amount.
  **    Combined in-network and out-of-network. All out-of-network expenses are subject to reasonable and customary (R&C) charges.
        You are responsible for paying any charges above the R&C amount. Since in-network charges for covered services have been
        negotiated with the providers, those charges would always be within the R&C limits.


  Covered Benefits: Inpatient Services

                                               Percentage for                             Percentage for Out-of-
                                               In-Network Care                            Network Care*
  Inpatient Services
  (precertification recommended, please
  Acute Hospital Care                80% coverage after deductible                        50% coverage after deductible

  rate for semi-private or common
  rooms, except for isolation of
  communicable diseases)
  Hospice Care                                 80% coverage after deductible              50% coverage after deductible
  Mental Health Care                           80% coverage after deductible              50% coverage after deductible




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                                               Percentage for                             Percentage for Out-of-
                                               In-Network Care                            Network Care*
  Skilled Nursing Facility                     80% coverage after deductible              50% coverage after deductible
  (includes charges for services
  and supplies provided while
  patient is under continuous care
  and requires 24-hour skilled
  nursing care and room and
  board; limited to combined in-
  network and out-of-network
  maximum of 365 days/lifetime for
  each covered individual**)
  Substance Use Disorder                       80% coverage after deductible              50% coverage after deductible
  Services
  *     Covered out-of-network expenses are subject to reasonable and customary (R&C) charges. You are responsible for paying any
        charges above the R&C amount.
  **    Combined in-network and out-of-network. All out-of-network expenses are subject to reasonable and customary (R&C) charges.
        You are responsible for paying any charges above the R&C amount. Since in-network charges for covered services have been
        negotiated with the providers, those charges would always be within the R&C limits.


  Covered Benefits: Other Services

                                               Percentage for                             Percentage for Out-of-
                                               In-Network Care                            Network Care*
  Other Services
  Ambulance Services                           80% coverage after deductible              80% coverage after the
  (for sudden and serious medical                                                         in-network deductible
  conditions approved by your
  health care company as required


  on page 80)
  Emergency Room                                   80% coverage after                         80% coverage after in-
  (for sudden and serious medical                  deductible for true                        network deductible for true
  conditions approved by your                      emergencies**;                             emergencies;
  health care company as required                  50% coverage after                         50% coverage after in-
                                                   deductible for non-                        network deductible for non-
                                                   emergencies                                emergencies;
  on page 80)                                                                                 Note: the in-network
  In accordance with applicable                                                               deductible applies for true
  regulations, true emergency is                                                              emergencies**, rather than
  determined based on what a                                                                  the out-of-network deductible
  prudent layperson would consider
  an emergency, not on the final
  diagnosis reached by doctors.




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                                               Percentage for                             Percentage for Out-of-
                                               In-Network Care                            Network Care*
  Durable Medical Equipment                    80% coverage after deductible              50% coverage after deductible
  and Prosthetics
  (includes certain*** glucose
  monitors, insulin pumps and
  related pump supplies)
  Prescription Drugs
  X-rays and Labs                              80% coverage after deductible              50% coverage after deductible
  (when performed to diagnose a
  medical problem or treat an
  illness or injury)
  *     Covered out-of-network expenses are subject to reasonable and customary (R&C) charges. You are responsible for paying any
        charges above the R&C amount.
  **    True emergency as determined based on what a prudent person would consider an emergency, not on the final diagnosis
        reached by doctors.
  *** Some glucose monitors and insulin pumps are available under the Prescription Drug Plan. For information on which insulin
      pumps are covered under the Medical and/or Prescription Drug Plan, please contact the appropriate provider (Aetna/Cigna
      and/or CVS Caremark)


  Additional Plan Provisions

  Prior Authorization
  Prior authorization is required for many services and procedures, such as hospital stays and some
  surgical procedures.
  In general, in-network providers are responsible for obtaining prior authorization before providing these
  services to you. Before receiving these services, you may want to contact your health care company to
  verify that the hospital, physician and other providers are in-network providers and that they have
  obtained the required prior authorization. In-network facilities and providers cannot bill you for services if
  they fail to obtain prior authorization as required.
  If you are using an out-of-network provider, you are responsible for obtaining prior authorization before
  you receive these services. Note: You must obtain prior authorization when an out-of-network provider
  intends to admit you to an in-network facility or refers you to other in-network providers.
  To obtain prior authorization, call the number on the back of your ID card. This call starts the utilization
  review process. Once you have obtained the authorization, please review it carefully so that you
  understand what services have been authorized and what providers are authorized to deliver the services
  that are subject to the authorization.
  The utilization review process is a set of formal techniques designed to monitor the use of, or evaluate the
  clinical necessity, appropriateness, efficacy, or efficiency of, health care services, procedures or settings.
  Such techniques may include ambulatory review, prospective review, second opinion, certification,
  concurrent review, case management, discharge planning, retrospective review, or similar programs.

  Hospital Notification
  You should contact your health care company at least 48 hours before all scheduled hospital admissions.
  You should also contact your health care company if a maternity stay will exceed 48 hours for the mother
  and/or newborn child following a vaginal delivery, or 96 hours for the mother and/or newborn child
  following a cesarean section delivery.
  To provide notification, please contact your health care company at the number on the back of your ID
  card. You will not be penalized under the Plan if you do not notify the claims administrator.



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  Mental Health Benefits
  Mental health care or benefits, in accordance with the Mental Health Parity and Addiction Equity Act, are
  items or services for mental health or substance use disorder conditions, as determined solely within the
  discretion of the plan administrator, consistent with generally recognized independent standards of
  current medical practice. Conditions affecting physical health that are related to a mental health condition
  or substance use disorder are medical/surgical benefits rather than mental health care benefits under the
  Medical Plan. However, for those individuals with a mental health diagnosis, associated medical
  treatments subject to visit limits (such as physical, occupational and speech therapy) will not be subject to
  an annual visit limitation.

  If You Need Emergency Care
                                                     ent, and serious or life-threatening, you should go to
  the nearest physician, hospital emergency room, or other urgent care facility. Your emergency care will
  be covered at 80% (assuming you have met the in-network annual deductible) under both Option 1 and
  Option 2 as long as your health care company approves the care as being required for a true emergency.
  Care will be approved for local emergency ambulance service or air ambulance to the nearest hospital
  qualified to treat the condition if medically necessary and confirmed by a licensed provider.
  If your health care company determines that you did not have a true emergency, the Plan will pay benefits
  at 50% rather than 80% after meeting the in-network deductible. Non-emergency transportation is
  covered if it is provided by a licensed professional ambulance (either ground or air ambulance as
  determined appropriate) when the transport is:
     from an out-of-network hospital to the nearest in-network hospital with capabilities to care for the
     condition;
     to a hospital that provides a higher level of care that was not available at the original hospital, when

     to a more cost-effective acute care facility (as authorized by the Plan) from an acute facility to the
     nearest most appropriate sub-acute facility.
  Note: The determination of whether the visit was a true emergency and thus whether coverage is at the
  50% or 80% level is determined based on what a prudent layperson would consider an emergency, not
  on the final diagnosis reached by doctors. True emergency means a medical condition manifesting itself
  by acute symptoms of sufficient severity (including severe pain) so that a prudent layperson, who
  possesses an average knowledge of health and medicine, could reasonably expect the absence of
  immediate medical attention to result in (i) placing the health of the individual (or, with respect to a
  pregnant woman, the health of the woman or her unborn child) in serious jeopardy, or (ii) serious
  impairment to bodily functions, or (iii) serious dysfunction of any bodily organ or part.

  Centers of Excellence (COEs)
  Organ transplants, bariatric surgery, and infertility treatment are complex procedures and services that
  require highly specialized or quality care. As a result, the Medical Plan has in-network hospitals that have
  been designated as Centers of Excellence because of the high-quality care they consistently provide for
  these procedures and services.
  You must contact your health care company in advance of an organ transplant, bariatric surgery or
  receiving infertility treatment to receive instruction on any required precertification. This applies whether or
  not you choose a Center of Excellence.
  The Medical Plan contains incentives designed to encourage use of COEs for infertility services. Your
  infertility medical benefit maximum will be increased from $10,000 to $30,000 if you choose a COE for
  treatment. (Please Note: There is a separate $10,000 prescription drug benefit for infertility services.)
  To locate a Center of Excellence, visi                                            My Health or call your
  health care company.



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  NurseLine
  You can call Aetna and Cigna and speak to a registered nurse at any time. You can get help with health
                                                    on weekends and holidays. There are no limitations
  on how many times you might use the NurseLine. Examples include:
     Recognize urgent and emergency symptoms;
     Understand medication interactions;
     Locate in-network doctors and hospitals; and
     Research treatment costs.
  Contact your health care company to learn more:
     Aetna:
     Cigna:

  Virtual Doctor Visits
  Virtual doctor visits through Teladoc (an Aetna partner) and MDLive (a Cigna partner) allow you to

  approximately $5 per virtual visit (before the deductible) for primary care services. Mental health services
  are covered at 80% after the deductible. Doctors can make diagnoses, provide advice and call in
  prescriptions to your local pharmacy. Register before you need care: Go to My Health.



  The Prescription Drug Plan
  The Prescription Drug Plan is the same under Option 1 and Option 2 of the Medical Plan and is
  administered by CVS Caremark. Prescription drug coverage has a separate plan design from the other
  Medical Plan features, with a separate deductible,
                                                   nd an annual prescription drug out-of-pocket maximum.
  You will receive a separate prescription drug identification (ID) card from CVS Caremark in addition to
  your Medical Plan ID card.

  For Help with the Prescription Drug Plan

  You can reach a Caremark Customer Service Representative 24 hours a day, seven days a week at (866) 209-6093.
  In addition, once you are enrolled, you can vi                                    My Health or directly at
  www.caremark.com. The site allows you to:
     View the covered and excluded drug lists;
     View your personal prescription drug history;
     Estimate drug costs and identify prescription drug cost saving opportunities;
     Order/refill/check the status of mail order prescriptions;
     Look for network retail pharmacies;
     Research drug information;
     Set up personal email reminders for refills; and
     Print temporary CVS Caremark ID cards.




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  How the Prescription Drug Plan Works
  Highlights of the Prescription Drug Plan are listed below; detailed information follows.
     Free preventive generic drugs. Eligible preventive generic medications are covered at 100% with no
     deductible, copayments or coinsurance at network pharmacies.
     Separate deductibles and coinsurance maximums than the Medical Plan;
     MRA funds can be used to pay for covered out-of-pocket prescription drug costs;
     Discounted prices that are available at network
     network pharmacy); if you use an out-of-network pharmacy that does not accept your prescription drug
     ID card, you will generally pay more and will need to file a claim for eligible reimbursement;
     Option of having maintenance prescriptions filled through a convenient mail-order program or at a
     pharmacy;
     Traditional (non-specialty) and specialty lists of preferred/covered and excluded drugs; the most recent
     lists can always be found on the CVS Caremark website; and
     Mandatory Generic Drug Program; if you fill a prescription for a brand-name medication when a
     generic equivalent is available, you will pay the difference in cost between the brand-name drug and
     generic drug, plus the generic copay.
  Here is how the Plan generally pays for different types of drugs:
     Free preventive generic drugs. Eligible preventive generic medications are covered at 100% with no
     deductible, copayments, or coinsurance at network pharmacies.
     Preventive drugs are medications that can help prevent the onset of a condition if you are at risk or
     help you manage your health if you have a condition. CVS Caremark determines which drugs are

     website accessible via My Health.
  Please Note: Generic prescription contraceptives are also fully covered with no deductible (as are brand-
  name, contraceptive drugs for which a generic is not available)
     $10 copayment for non-specialty generic drugs (up to 30-day supply). You pay $10 for non-specialty
     generic drugs not considered preventive purchased at a network pharmacy. Non-specialty generic
     drugs are not subject to a deductible. If the cost of a generic drug is less than the $10 copayment,

     Annual retail deductible for brand-name and specialty generic drugs. An annual deductible of $100 per
     individual (with a maximum of $300 per family) applies to brand-name and specialty generic
     prescriptions filled at retail pharmacies. There is no deductible for non-specialty generic drugs or for
     90-day supplies purchased at a CVS retail pharmacy or by mail.
     Coinsurance for brand-name and specialty generic drugs. After you satisfy the retail deductible, you
     and the Plan share the cost of brand-name and specialty generic drugs through coinsurance.
  When a generic prescription drug is not available, there are often many different brand-name alternatives.
  CVS Caremark has reviewed these alternatives and determined which are clinically appropriate and cost-




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     Per-prescription maximum. The amount you pay for brand-name and                     A Note about
     specialty generic drugs each time you fill a prescription is capped by a per-       Generic vs. Brand-
     prescription maximum, a safety net that protects against the cost of very           Name Drugs
     expensive drugs. If the coinsurance amount is greater than the per-
     prescription maximum, you will pay only the amount of the maximum.                  Many popular brand-
                                                                                         name drugs are
     Cost savings for long-term maintenance medications. Maintenance Choice®             expected to have a
     offers advantageous pricing when you receive 90-day supplies of                     generic version
     maintenance medication by mail or pick up your prescription at CVS retail           available. Shortly after
     pharmacies, where the same discounts are available. There is no deductible          generic equivalents are
     for maintenance medications received through Maintenance Choice®.                   introduced, the
                                                                                         equivalent brand-name
     Annual out-of-pocket maximum. The annual out-of-pocket maximum is the               drug will move from
                                                                                         preferred to non-
     your annual cost for covered prescriptions at $1,150 per individual (with a         preferred status. If you
     maximum of $2,300 per family), not including the deductible. Once an                choose to continue to
                                                                                         take the brand name
     individual reaches this limit (or once the family meets the family limit), that
                                                                                         drug when the generic is
     individual (or family) does not have to pay anything further for covered drugs      available, you may be
     for the calendar year, regardless of coverage level.                                subject to a significantly
     The out-of-pocket maximum covers all copayments and coinsurance for                 higher cost. Please see
     covered drugs. It does not include the annual deductible for retail
     prescriptions or costs for non-covered drugs. Please Note: The prescription         page 88 for more
                                                                                         information. You should
     pocket maximum.                                                                     talk to your doctor to
                                                                                         determine whether a
     If you have money in your Medical Reimbursement Account (MRA), those
                                                                                         generic equivalent is
     funds are available to offset your share of the cost of your eligible covered       suitable.
     medication.
     If you have elected or were assigned automatic claim payment, at the time
     of purchase, your MRA funds will automatically be used to offset your out-of-pocket cost after the Plan
     pays its share of the cost of your medication. If you elected the debit card, you may pay your out-of-
     pocket costs by using the card or your own funds. If you pay out-of-pocket, you can submit a claim
     form for reimbursement from the MRA.
        If you elected autopay during enrollment and subsequently receive a prescription drug coupon or
        prescription drug copay assistance card, you have the option to switch to debit card mid-year.
     Once your MRA funds are depleted, you can use your HCSA for eligible prescription drug expenses if
     you elected to participate in the HCSA and have available funds.

  How Prescription Drug Benefits Are Paid Under the Medical Plan
  Prescription drug coverage has a separate plan design from the other Medical Plan features, with a
  separate deductible, copayments, and coinsurance, and a separate "safety net" in the form of per-
  prescription maximums and an annual prescription drug out-of-pocket maximum.

  Category                                  Provisions
  Preventive Generic Drugs                  100% coverage (deductible does not apply)
  Non-preventive Generic Drugs              30-day supply: $10 or the actual cost of the drug if less than
  (non-specialty)                           $10; not subject to the deductible
                                            90-day supply: You pay $20 or actual cost of the drug if less
                                            than $20; not subject to the deductible




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  Category                                             Provisions
  Annual Retail Deductible                             Employee only (also serves as a per-person                                  $100
  (retail pharmacy only; waived for non-               maximum**)
  specialty generic drugs)                             Employee + spouse/domestic partner or Employee +                            $200
                                                       child(ren)
                                                       Family (employee + spouse/domestic partner +                                $300
                                                       child(ren))
  Retail Pharmacy Benefit (up to a 30-day supply)
  The Retail Pharmacy benefit covers up to a 30-day supply of medication purchased from a network
  pharmacy.
     Preferred brand-name and                You pay 30% after the deductible, up to a $200 maximum per-
     specialty generic coinsurance/per-      prescription payment (the Plan pays 70% coinsurance plus
     prescription maximum*                   costs above the $200 maximum)
     Non-preferred brand-name                You pay 45% after the deductible, up to a $250 maximum per-
     coinsurance/per-prescription            prescription payment (the Plan pays 55% coinsurance plus
     maximum*                                costs above the $250 maximum)
  Mail Order Pharmacy or CVS Retail Pharmacy/ Maintenance Choice® (up to a 90-day supply;
  opt-out available)*
  The deductible does not apply if you fill maintenance medications through Maintenance Choice®. Please

     Preferred brand-name and                          You pay 30% up to a $500 maximum per-prescription payment
     specialty generic coinsurance/per-                (the Plan pays 70% coinsurance plus costs above the $500
     prescription maximum**                            maximum)
     Non-preferred brand-name                          You pay 45% up to a $625 maximum per-prescription payment
     coinsurance/per-prescription                      (the Plan pays 55%coinsurance plus costs above the $625
     maximum**                                         maximum)
  Annual Out-of-Pocket Maximum                         Employee only (also serves as a per-person               $1,150
  (covers copayment/coinsurance                        maximum**)
  expenses for covered eligible                        Employee + spouse/domestic partner or Employee +         $1,750
  prescription drugs; does not include                 child(ren)
  the deductible)                                      Family (employee + spouse/domestic partner +             $2,300
                                                       child(ren))
     CVS Caremark Excluded Drugs                       Not covered; you will pay the full cost for these drugs.
  (Traditional and Specialty)
      Non-Sedating Antihistamines                      Not covered; you will pay the full cost for these drugs.
  (also known as NSAs)
  *     The Maintenance Choice® program covers 90-day supplies of maintenance medication. There is no deductible for maintenance
        medications. Maintenance Choice® allows you to: 1) send your 90-day prescription to CVS Caremark and have your medicine
        delivered by mail to your home; or 2) fill your 90-day prescr                                                        ance
        Choice®, your prescription will be subject to the deductible and your costs will genera


  **    CVS Caremark determines which drugs

        made up of pharmacists, physicians and medical ethicists reviews and approves the drug lists (also known as formularies).
        These lists are subject to change quarterly by CVS Caremark. If you continue to take a noncovered drug, you will pay the full
        cost of the drug. To see a list of drugs in t                                             My Health.
  *** For both the retail deductible and the annual out-of-pocket maximum,                                                         ed
      dependent(s) [for example, spouse/domestic partner or child(ren)] to reach an individual deductible or out-of-pocket maximum,
      after which the deductible or out-of-pocket maximum is satisfied for the year for that person. Covered individuals who have not
      met the deductible or out-of-pocket maximum may combine to meet the remainder of the deductible or out-of-pocket maximum
      for that particular coverage level. If no one person has met the individual deductible or out-of-pocket maximum, the expenses of
      all covered individuals can combine to meet the deductible or out-of-pocket maximum for that coverage level.




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  Details about Maintenance Choice®
  The Maintenance Choice® program provides discounted pricing for 90-day supplies of long-term
  maintenance drugs. Some examples of long-term maintenance drugs are those taken for:
       Asthma;
       Diabetes;
       High blood pressure; and
       High cholesterol.
  To see a list of maintenance drugs and to compare pricing for using Maintenance Choice® vs. purchasing
  the drug at a non-CVS retail network phar
  With Maintenance Choice®, a 90-day supply of maintenance medicine can be delivered by mail to your
  home, or you can fill your 90-day prescription at any CVS retail pharmacy, where the same discounts are
  available.
                                                                    obtain a 90-day supply (or a 30-day supply) at any

  Before filling a long-term prescription through Maintenance Choice®, you can obtain two 30-day supplies
  at a network pharmacy by paying reta
  ability to confirm that the medication and dosage is right for you. After that, you will need to use
  Maintenance Choice® to obtain the most advantageous pricing (or you may opt out of the program, but
  you may pay more).
  A CVS Caremark Mail Order Form is available on the CVS Caremark site. Mail your prescriptions with
  your completed order form to the address noted on the form.

  Opting Out of Maintenance Choice®
  You will generally pay the lowest price for maintenance medications if you use Maintenance Choice® to
  obtain a 90-day supply by mail or at a CVS retail phar
  Choice® and obtain a 90-day supply (or a 30-day supply) at any participating network pharmacy. You will
  be subject to the annual retail deductible, and, for 90-day supplies of medication, your per-prescription
  maximum will be higher, as shown in the following table.

  Comparing Per-prescription Maximums Under Maintenance Choice® to Opting
  Out of Maintenance Choice®
                                                 Maximum per-prescription charge
                                                 Maintenance Choice®          Opt Out
                                                 (obtain through mail or at a (obtain prescription at a
                                                 CVS retail pharmacy)         non-CVS retail in-network
                                                                              pharmacy*)
  Annual Deductible                              Not Applicable               $100
  Generic non-specialty 90-day                   $20                          $30, after satisfying annual
  supply                                                                      deductible
  Preferred brand-name and                       $500                                  $600, after satisfying annual
  specialty generic 90-day                                                             deductible
  supply
  Non-preferred brand-name                       $625                                  $750, after satisfying annual
  90-day supply                                                                        deductible
  *    Or picking up three 30-day supply prescriptions at a CVS retail pharmacy.

  To compare pricing for using Maintenance Choice® vs. purchasing the drug at a non-CVS retail in-



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  To continue to fill your maintenance medication prescription at a non-CVS retail in-network pharmacy
                                                       cy, you must opt out of Maintenance Choice® by
  calling CVS Caremark. If you order maintenance medications through a non-CVS retail in-network
  pharmacy without calling CVS Caremark first, your claim will be rejected and you will pay the full cost of
  the medication. Please Note:                                      ll maintenance medications that you fill
  through the Plan.

  Filing a Paper Prescription Drug Claim
  If you purchase your prescription drugs through a non-network pharmacy or do         Forgot Your ID
  not show your CVS Caremark ID card at a network pharmacy, you will have to           Card?
  pay for the prescription drug and then file a CVS Caremark Claim Form to be
                                         eligible expense. If you have funds in        Not to worry. You can
  your MRA and/or HCSA, you can be reimbursed for your share of the expense            access an electronic
                                                                                       version of your
                                                                                       prescription drug ID card
                                                                                       online at the CVS
  you can only be reimbursed from your HCSA once your MRA is depleted.                 Caremark website or by
                                                                                       downloading the CVS
                                                                                       Caremark app.

  The following chart shows common prescription drugs and their coverage
  status. Please Note: This list does not show every drug covered under the
  Plan. For the most current information and a full lis
  website, accessible through My Health or directly at caremark.com.

  Prescription Drugs Covered by the Prescription Drug Plan
  Drug                                                   Coverage Status
  Allergy Serums (oral immunotherapy drugs)              Covered but requires prior authorization
  Aspirin
                                                         covered without a deductible as prevention
                                                         medication
                                                         1) after 12 weeks of gestation in women who are
                                                            at high risk for preeclampsia (Age limit: 12 or
                                                            older, quantity limit: 100 units per fill);
                                                         2) for primary prevention of cardiovascular disease
                                                            and colorectal cancer (Age limit: 50 to 59 years,
                                                            quantity limit: 100 units per fill)
                                                         OTC products require prescription
  Breast Cancer Drugs
                                                         raloxifene, and tamoxifen are fully covered without
                                                         a deductible as part of a treatment therapy for
                                                         women at risk for breast cancer and/or diagnosed
                                                         with breast cancer for age 35 or older




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  Drug                                                              Coverage Status
  Contraceptives
                                                                    fully covered without a deductible, as are brand-
                                                                    name prescription contraceptives for which a
                                                                    generic is not available, such as Lo Loestrin® 24
                                                                    Fe.*
                                                                    *   Please Note: If a generic prescription becomes available for
                                                                        a brand-name contraceptive, the generic form of the
                                                                        contraceptive will be fully covered without a deductible,
                                                                        while the brand-name version of the contraceptive would be
                                                                        covered according to the provisions for other brand-name



  Diabetic Supplies (includes certain glucose                       Covered - except alcohol wipes
  monitors, insulin pumps and related pump
  supplies)*
  Diet Medications (anorexiants and anti-                           Covered but requires prior authorization
  obesity)
  Fluoride Supplements
                                                                    covered without a deductible for children age 5 or
                                                                    younger
  Infertility Drugs (exclusive of treatment)                        Covered up to a $10,000 lifetime maximum
                                                                    (combined Retail Pharmacy Benefit and
                                                                    Maintenance Choice® program) per person
  Legend Vitamins                                                   Covered
  Male Impotency Drugs                                              Covered at 8 units per 30 days (24 units per 90
                                                                    days through Maintenance Choice®).
  Prescription Tobacco Cessation Products                           Covered
  Proton Pump Inhibitors (PPIs) (such as                            Covered subject to preauthorization, as described
  Prilosec, Tagamet, and Nexium)
                                                                    page 88
  Respiratory Therapy Supplies
  Solaraze (Diclofenac sodium gel 3%)                               Covered but requires prior authorization.
  Solodyn                                                           Covered but requires prior authorization.
  *    Some glucose monitors and insulin pumps are available under the Medical Plan. For information on which insulin pumps are
       covered under the Medical and/or Prescription Drug Plan, please contact the appropriate provider (Aetna/Cigna and/or CVS
       Caremark)


  Prescription Drugs Not Covered by the Prescription Drug Plan
  Drug                                                              Coverage Status
  Allergy Serums (injectable)                                       Not covered
  Blood Plasma/ Blood Transfusion Agents                            Not covered
  Botox and Myoblock
                                                                    prior authorization for other uses.
  Bulk Powders & Topical Analgesic                                  Not covered*
  (compounds)
  Cosmetic Products (such as depigmenting                           Not covered
  agents, hair growth stimulants, hair removal
  agents)



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  Drug                                                                 Coverage Status
  Mifeprex                                                             Not covered
  Non-Sedating Antihistamines (NSAs)                                   Not covered
  (such as Clarinex and Allegra)**
  Nutritional Supplements (injectable or oral)                         Not covered
  Over-the-Counter Drugs                                               Not covered (but still may be less expensive than
                                                                       related prescription drugs)
  Renova                                                               Not covered
  Rx Devices Other Than Respiratory                                    Not covered
  (such as elastic bandages and supports,
  GI-guostomy and irrigation supplies, other
  Rx devices)
  Select Medical Devices and Artificial Saliva                         Not Covered
  products
  Vaccines/Toxoids                                                     Not covered (except seasonal flu and COVID-19
                                                                       vaccines, which are covered)
  *     Your physician and/or pharmacist may contact CVS Caremark to seek exception approval for specific medical reasons.
  **    Although non-sedating antihistamine (NSA) drugs are not covered under the Prescription Drug Plan, you can still obtain these
        and other non-covered prescription drugs (versus the over-the-counter alternative) at discounted prices through Maintenance
        Choice®. You pay 100% of the discounted price for non-covered drugs obtained through Maintenance Choice®.


  Coverage for Proton Pump Inhibitors
  If you are prescribed a brand-name proton pump inhibitor (PPI) prescription medication, you must have
  previously tried a generic proton pump inhibitor to receive coverage for the brand-name PPI. You should
  talk to your doctor to see if a generic alternative is appropriate for you. If your physician has a medical
  reason for you to take a brand-name PPI prescription medication rather than a generic alternative, your
  physician will need to contact CVS Caremark for preauthorization and a determination will be made. If the
  brand-name prescription is not authorized and you opt not to obtain the generic alternative available, you
  will be responsible for the entire cost of the prescription under the terms of the JPMorgan Chase
  Prescription Drug Plan.

  Additional Plan Provisions
  Mandatory Generic Drug Program
  The Plan contains a mandatory generic drug program, in which generic drugs are substituted for
  certain brand-name* prescription drugs. If you fill your prescription with a brand-name drug when a
  generic equivalent is available, you pay the entire cost difference plus the generic drug copay. Please
  Note: These cost differences will not be limited by per-prescription maximums or annual out-of-pocket
  maximum limits. Your physician can contact CVS Caremark to seek a medical exception review for
  possible approval for specific clinical reasons.
  *For this purpose, brand drugs refer to those brand drugs with a direct generic equivalent produced by at least two manufactures.




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  Step Therapy Program
  Step Therapy is a program that lets members get the treatment they need affordably. It also helps the
  Plan maintain affordable prescription drug coverage. In step therapy, medicines are grouped in categories
  based on treatment and cost.
     First-line medicines are the first step. First-line medicines are typically generic and lower-cost brand-
     name medicines approved by the U.S. Food & Drug Administration (FDA). They are proven to be safe,
     effective and affordable. Step therapy suggests that a patient try these medicines first because, in
     most cases, they provide the same health benefit as more expensive drugs, but at a lower cost.
     Second-line drugs are the second and third steps. Second-line drugs typically are brand-name drugs.
                                                       respond to first-line medicines. Second-line drugs
     are the most expensive options.

  Prior Authorization
  Certain medications may only be covered by the Plan under certain conditions with a prior authorization
  (PA) from CVS Caremark prior to purchasing the medicine. To find out if a drug requires a PA, log in to

  Caremark.

  Quantity Restrictions on Covered Medications
  There may be quantity limits on certain medicines. Quantity limits are based on the Food and Drug

  by CVS Caremark to ensure clinical appropriateness. Limits are set to ensure safety and efficacy in the
  treatment of various health conditions.
  Certain prescriptions may also be limited to less than the standard days supply, which is a thirty (30) day
  supply. For specific medicine limitations, please log in to www.caremark.com or call CVS Caremark at
  (866) 209-6093. Quantity limits may change periodi
  dosing guidelines.
  To determine whether your medication is subjec
  such as Step Therapy, Prior Authorization or Quantity limit, etc., please contact CVS Caremark.

  Pharmacy Advisor
  The Plan also offers Pharmacy Advisor, a voluntary counseling program offered through CVS Caremark
  to help employees (and covered spouses/domestic partne
                                                  men, manage their medications and make sure their

  the pharmacist will automatically offer to provide onsite counseling.

  Coverage for Specialty Drugs
  Certain conditions such as asthma, growth hormone deficiency, hepatitis C, immune disorders, infertility,
  multiple sclerosis, and rheumatoid arthritis may be treated with specialty drugs. These drugs may be oral
  or self-injectable, include biological drugs, often require special handling, such as refrigeration, and are
  generally not available at the majority of pharmacies. CVS Caremark Specialty Pharmacy is a
  comprehensive pharmacy program that provides specialty drugs directly to covered individuals along with
  supplies, equipment, and care coordination.
  Certain specialty drugs require further clinical review and prior authorization before coverage will be

  Specialty Guideline Management Program evaluates the appropriateness of drug therapy with specialty
  medications according to evidence-based guidelines both before the initiation of therapy and on an
  ongoing basis. This clinical program helps ensure patient safety, efficacy, and optimal therapeutic benefit.




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  If you submit a prescription for a specialty drug that requires preauthorization, CVS Caremark will
  undertake a review. The provider who prescribed the medication will be required to call (866) 814-5506
  as part of the review process. After the review is complete, you and your physician will receive a letter
  confirming whether coverage has been approved or denied (usually within 48 hours after CVS Caremark
  receives the information it needs).
  In certain cases, a first-line specialty drug may be required. This is a step therapy program that
  encourages the use of a preferred drug before using a non-preferred drug. Preferred drugs under this
  program are well-supported treatment options and represent the most cost-effective drug for a given
  condition. Before a non-preferred specialty drug is covered, an established evidence-based protocol must
  be met.
                                                       or coinsurance amount for your prescription. If
  coverage is not approved, you have the right to appeal (please see the Plan Administration section).
  You may contact CVS Caremark Specialty Customer Care at (800) 237-2767 from 7 a.m. to 7 p.m.
                                                            confidential delivery of your specialty drug to the
  location of your choice. You will also have access to a pharmacist-led or nurse-led Care Team that can
  provide customized care, counseling on how to best manage your condition(s), patient education, and
  evaluation to assess your progress and to discuss your concerns.



  Using Your MRA and HCSA to Pay for Services
  When you need to use the Plan for covered services
  other health care facility or at the pharmacy to
  present your Medical Plan ID card or your separate CVS Caremark prescription drug ID card. With your
  ID card, the provider can start the claims payment process with your health care company.

  If You See an In-Network Provider
  When you see an in-network provider, you will generally not be asked to pay at the point of service.
  Providers will typically submit a claim to your health care company, Aetna or Cigna, using the information
  from your ID card. Your claim for medical care will be processed as follows.

  Using the Automatic Claim Payment Method
  When you use the automatic claim payment method, your health care company will automatically use
  your MRA funds first, then HCSA funds, to pay for your portion of eligible medical and prescription drug
  expenses.
  You generally will not be asked to pay anything during a visit to an in-network provider. Your health care
  company will pay the provider first from the Plan, then for your share of the cost using your MRA funds.
  Once your MRA funds are depleted, your HCSA funds (if applicable) will be used to pay the remaining
  balance. This will happen automatically through your health care company (either Aetna or Cigna). Any
  bill you receive from your provider will be after your MRA funds and any available HCSA funds are
  applied. You should pay the bill after comparing it to the statement you receive from your health care
  company.
  For covered prescription drug expenses, the Plan will pay for its portion of the cost at the time of
  purchase, and your MRA funds will automatically be applied to your portion of the cost. Once your MRA
  funds are depleted, your HCSA funds (if applicable) will be applied, as described above. The pharmacy
  will tell you what amount, if any, you will need to pay.




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  Using the Debit Card Payment Method
  With the debit card payment method, you have the option of using your debit card or paying out-of-pocket
  for covered expenses. Keep in mind that you will need to keep your receipts and be prepared to
  substantiate any debit card claims, as required by the IRS. The same debit card accesses funds from
  both your MRA and HCSA, if applicable.
  When you have a covered medical expense, your in-network provider will generally not require payment
  at the time of service.
  After your medical claim is processed by your health care company or at the time of a prescription drug
  purchase, you can either pay with your debit card or pay out-of-pocket. (You will have to pay out-of-
  pocket if your provider does not accept the debit card as a form of payment.) When you use your debit
  card, your MRA funds will be used first. Once your MRA funds are depleted, your HCSA (if applicable) will
  then be applied. If you pay using personal funds and later decide you wish to be reimbursed from your
  MRA or HCSA, you must submit a paper claim form (via mail or fax) or an online claim form for
  reimbursement from your MRA or HCSA. The form c
  (Aetna or Cigna) or on My Health > Medical, Rx, MRA & Spending Accounts > Claims and Other Forms.

  If Your In-Network Provider Asks You to Pay at the Point of Service
  While in-network providers have been asked by Aetna and Cigna to submit claims for JPMorgan Chase
  employees directly to the health care companies and not to ask for payment at the time of service,
  occasionally an in-network provider may nevertheless ask you to pay at the time of service.
  If this happens, you should show your provider your ID card and explain that your health care company
  needs to review the claim first to see what you owe. If you are still required to pay at the time of service,
  you should do so and get a receipt from your provider. For instructions on how to file for reimbursement,


  If You See an Out-of-Network Provider
  When you visit an out-of-network provider, you should always show the provider your ID card and ask if
  they will submit the claim for you. If they agree to

  first from your MRA and then from your HCSA, if applicable).
  If an out-of-network provider will not file a claim for you, you will need to pay for the service at the time of

  share of the expense. You can file a claim online at mycigna.com or medical claim forms can be found on
  My Health                                             You can also be reimbursed from your MRA/HCSA,
  if applicable, for your out-of-pocket share of t




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  The MRA/HCSA and Your Prescription Drug Expenses
  You must pay for your share of prescription drug expenses at the time of purchase. The payment process
  differs according to whether you elected or were assigned automatic claim payment or whether you
  elected the debit card method of payment for your MRA/HCSA. Your health care company manages both
  your MRA and HCSA accounts.

  If You Elected or Were Assigned                        If You Elected the Debit Card
  Automatic Claim Payment
  Your network pharmacy will submit the claim            Your network pharmacy will submit the claim
  through your prescription plan with CVS Caremark.      through your prescription plan with CVS Caremark.
  After CVS Caremark pays its share of the cost,         After CVS Caremark pays its share of the cost, you
  your health care company will pay your share of        can decide whether to use your debit card to pay
  the expense first from your MRA and then from          your share of the cost or pay out-of-pocket at the
  your HCSA, if applicable.                              pharmacy.
  Your MRA balance will be used first to cover your      If you use your debit card, the card would first use
                                                         funds from your MRA and then from your HCSA, if
  If your MRA has been exhausted, your health care       applicable, to pay the pharmacy. You should keep
  company will use your HCSA balance, if any, to         your receipt in case you are asked to substantiate
                                                         your expense.
  if the HCSA covers your remaining amount due.          If your MRA and HCSA, if applicable, do not have
  If your MRA and HCSA, if applicable, do not have       enough money to cover your share of the cost, you
  enough money to cover your share of the cost,          will need to pay the remaining balance out-of-
  your health care company will inform your              pocket.
  pharmacy. You will need to pay the amount you          If you choose not to use your debit card and
  owe out-of-pocket at the time of your pharmacy         instead pay out-of-pocket, you may request
  visit.                                                 reimbursement for your share of the expense from
                                                         your MRA/HCSA, if applicable, later. You will need
                                                         to provide a receipt if you file for reimbursement




  Filing a Claim for Benefits
  When you receive in-network care, your network doctor or other provider will file the claim for you; you will
  generally not be asked to pay at the time of service. However, there may be instances in which you paid
  out-of-pocket for an expense. In these cases, you would need to file a claim form to receive
  reimbursement from the Medical Plan and from your MRA and/or HCSA, if applicable. After the Plan pays
  its share of the expense, reimbursement to you is made first from your MRA, followed by your HCSA, if
  applicable.
  How to file a claim and determine which claim form to use depends on the services you received and
  whether you paid out-of-pocket, as detailed in the following sections. Always keep your receipt for any
  out-of-pocket expense for which you intend to file for reimbursement. Instructions for accessing claim
  forms, if necessary, and mailing addresses are




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  If You Saw an In-Network Provider and Paid Out-of-Pocket
  While in-network providers have been asked by Aetna and Cigna to submit claims for JPMorgan Chase
  employees directly to their health care companies and not to ask for payment at the time of service,
  occasionally an in-network provider may nevertheless ask you to pay at the time of service.
     If you elected or were defaulted to automatic claim payment, you will typically be reimbursed
     automatically by your health care provider. However, if reimbursement is not made automatically, you
     will need to call your provider when you receive your Explanation of Benefits (EOB). The EOB will
     show that your health care company made payment to your provider. You should explain to the
                                                        ice: once by you at the time of service, and again
     when the Plan paid them from your MRA/HCSA. (O
     section shows the amount paid; on the Aetna EOB, this
     you need additional assistance, you can call your health care company at the number on the back of
     your ID card or the JPMorgan Chase Health Advocate for help in getting reimbursed for amounts paid

     If you elected the debit card, use the MRA and/or HCSA Claim Form to request reimbursement from


  If You Saw an Out-of-Network Provider and Paid Out-of-Pocket
  Out-of-network providers may require payment at the point of service. In these circumstances, you should
  submit a Medical Claim Form to your health care comp
                                                            not to sign the box on the Medical Claim
  Form or check the box when submitting the claim online on aetna.com or mycigna.com that authorizes
  your health care company to make payment directly to your provider, as the payment should be made to
  you.
  Your health care company will process your claim
  on whether you have satisfied your deductible and the amount of coinsurance applicable.
     If you elected or were defaulted to automatic claim payment, in addition to processing the claim to
     determine the amount the Plan should have paid, your health care company will determine what
     amount can be paid directly to you by available MRA funds first, and then from your HCSA, if
     applicable.
     If you elected the debit card, you will receive an EOB showing the amount paid by the Plan. You can
     then submit an MRA and/or HCSA Claim Form to request reimbursement if you paid with your


  If You Paid Out-of-Pocket for a Prescription Drug
  If you paid out-of-pocket for a prescription drug at a network pharmacy because you have a debit card but
  chose not to use it, use the MRA/HCSA Claim Form to be reimbursed for your share of the expense (see

  If you paid out-of-pocket for a prescription drug because you purchased your drugs through a non-
  network pharmacy or did not show your ID card at a network pharmacy, use the CVS Caremark Claim
  Form to be reimbursed for the amount owed by the Pr
  on page 94). If you have funds in your MRA/HCSA, you can be reimbursed for your out-of-pocket costs
  by filing a MRA and/or HCSA Claim Form (see

  If You Paid Out-of-Pocket Because Your MRA/HCSA Was Depleted
  (But You Have Since Earned MRA Funding)
  If you paid out-of-pocket for an expense because you had no funds left in your MRA/HCSA, but you have
  since earned MRA funds, use the MRA and/or HCSA Cl




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  How to Submit a Claim
  The Medical Claim Form and the MRA and/or HCSA Claim Form are available on My Health. The forms

  Please Note: You can elect to have your MRA reimbursement directly deposited into an account of your
  choice by accessing your health care company at My Health.
  You need to file your Medical and MRA reimbursement claims by December 31 of the year after the one
  in which you received the service or purchased the prescription. For example, if you incur an expense on
  July 1, 2021, you must file your claim for reimbursement by December 31, 2022. If you fail to meet this
  deadline, your claim will be denied.
  Be sure to attach itemized receipts to your claim form and keep copies for your records.
  You can submit an MRA/HCSA reimbursement request online or via the app (Cigna or PayFlex, an Aetna
  Company).
  Mail your claim form to the address printed on the forms:

  Medical Claim Forms
     Aetna:
     Aetna
     P.O. Box 14079
     Lexington, KY 40512- 4079
     (800) 468-1266
     Cigna:
     Cigna
     P.O. Box 182223
     Chattanooga, TN 37422-7223
     Customer Service: (800) 790-3086
  Remember: If you have already paid your medical provider, be sure not to sign the box on the Medical
  Claim Form or check the box when submitting the claim online on aetna.com or mycigna.com that
  authorizes your health care company to make payment directly to your provider, as the payment should
  go to you.
  Generally, Medical Claim Forms are processed in
  of Benefits (EOB). Payment (if any) is sent about two weeks after the claim is processed.

  MRA and/or HCSA Claim Forms
     Aetna (PayFlex is an Aetna company):
     PayFlex Systems USA, Inc.
     P.O. Box 14879
     Lexington, KY 40512-4879
     Fax: (888) 238-3539
     Phone: (800) 468-1266
     Cigna:
     Cigna
     P.O. Box 182223
     Chattanooga, TN 37422-7223
     Customer Service: (800) 790-3086



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  CVS Caremark Claim Forms
  The CVS Caremark Claim Form is available at My Health. The form is also available on the CVS
  Caremark website. Please mail your completed claim form to:
       CVS Caremark Claims Department
       P.O. Box 52196
       Phoenix, AZ 85072-2196
       Member Services: (866) 209-6093
  Generally, prescription claims are processed weekly and mailed with payment (if any) in about two to
  three weeks.
  You can also submit your prescription claim through the CVS Caremark website or mobile app. To do so,
  please visit the CVS Caremark website and click on
                                                   the main screen. Your prescription information and
  receipt are required for claim submission with CVS Caremark.

  If You Change Health Care Companies during Annual Benefits
  Enrollment
  If you change health care companies during Annual Benefits Enrollment, you will also be changing the
  company that administers your MRA and HCSA. The transition of your MRA and HCSA accounts will
  happen automatically you do not need to take any action.*
  It is important to note that there will be a delay in transferring your unused MRA funds (if any) from the
  prior year to your MRA at your new health care company (generally occurs in the April time frame). This
  delay is designed to allow your prior health care company continued access to funds in your MRA to pay
  prior year medical and prescription drug claims that are processed in the first four months of the new
  year. However, if this policy creates a financial hardship, you may contact your new health care company
  to accelerate the transition of your MRA/HCSA account, which will allow you to access your prior year
  unused MRA funds more quickly.
  *    Any balance of up to $550 remaining in your Health Care Spending Account (HCSA) at the end of the 2020 calendar year will
       be automatically carried over to the next year. Any amount over $550 in your HCSA, after processing claims for the 2020 year,
       will be forfeited. If you were previously enrolled in the HCSA and decide not to participate in 2020, any unused amounts under
       $25 will be forfeited. Even if you do not participate in 2020, amounts of $25 or more will remain available for future eligible health
       care expenses. If you do not enroll in the JPMorgan Chase Medical Plan your balance will be managed by Cigna.


  If You Have Questions about a Claim
  You can check the status of your claim by accessing
  your health care company at the number on the back of your ID card.
  If you are experiencing difficulty with a claim, the JPMorgan Chase Health Advocate program, available at
  My Health, can also help you resolve benefit claim issues.

  Appealing a Claim
  If a claim for reimbursement is denied, either in whole or in part, you can appeal the denial by following
  the appropriate procedures described in the Plan Administration section.




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  Help Pursuing Claims

  You may authorize someone else to pursue claim information on your behalf. If you do so, you must notify the claims
  administrator in writing of your choice of an authorized representative.
  For the Medical, Dental, and Vision Plans, your claims administrator will provide you with a HIPAA (Health Insurance
  Portability and Accountability Act of 1996) consent form that you must use to specify the extent to which your
  personal representative is authorized to act on your behalf. This form must be on file with your claims administrator
  prior to any action by your personal representative.
  If you would like to designate an authorized representative for claims related to eligibility to participate in a plan,
  please contact HR Answers.




  What Is Covered
  Each of the Medical Plan options cover a wide variety of services, as long as                     Important Note
  the services are medically necessary (p
                                          age 109) and their costs do not exceed                    While the services listed
  reasonable and customary (R&C) charge                                                             in this section are
  page 109 for the definitions of "Necessary Services" and "Reasonable and                          covered by the Medical
                                                                                                    Plan, they must be
  Customary Charges.") Covered services and frequency limits may vary slightly
                                                                                                    Please see the definition
  that follow include examples of covered services, but the lists are not
  exhaustive, and coverage remains subject to any Plan requirements or
  limitations and clinical policies. For specific information on the Medical Plan's on page 109.
  covered services and frequency limits, please contact the appropriate claims
  administrator (Aetna or Cigna) directly, using the telephone numbers provided
  under "Where to Submit Claims." The list of covered services may change at any time.

  Quality Providers
  The health care companies (Aetna and Cigna) designate a select number of their participating providers
                                                nation for physicians and other medical providers who
  have been proven to provide high-quality and cost-effective care. If you choose to use these providers,
  you may have better outcomes, lower medical costs, or
  more information.

  Preventive Care Services
  The preventive care services covered at 100% in-network are determined by your health care company
  based on guidelines and clinical recommendations developed for the general population by the U.S.
  Preventive Services Task Force, the Advisory Committee on Immunization Practices of the Centers for
  Disease Control and Prevention, and other nationally recognized sources. JPMorgan Chase does not
  make this determination. For a list of preventive services that are covered at 100%, go to your health care
                                         cy limits apply. Please contact your health care company for further
  information.
  These services generally include:
     Routine care including:
         PAP tests (one per year, includes related laboratory fees);
         Prostate exams (one exam per year);
         Flexible sigmoidoscopy (one baseline screening, and one follow-up screening every five years;
         Screening colonoscopy (one baseline screening and one follow-up screening every five years);



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        Fecal occult blood test (one test per year);
        Routine physical exams (one office visit per year with appropriate laboratory and radiology
        services);
        Mammography screenings (one mammogram per year);
        Routine screenings during pregnancy (for example for gestational diabetes and bacteriuria);
        Breast pumps (please contact your health care company for details about which breast pumps are
        fully covered);
        Travel immunizations; and
        Well-child/adult care office visits (plus immunization and labs):
        -   Birth to age 12 months: seven exams
        -   Age 13-24 months: three exams
        -   Age 25-36 months: three exams
        -   Age 3 and over: one exam per year
  This list is subject to change at any time.
  Please Note: An in-network medical service will only be covered at 100% if it is coded as preventive.
  Before receiving any services, you should check with your physician to be sure a procedure is considered
  and will be submitted to the claims administrator, as preventive medical care rather than as a diagnostic
  service.

  Outpatient Services
  Outpatient services under the Medical Plan include, but are not limited to, the following services, subject
  to any limitations or requirements of the Plan and based on medical necessity:


        as a form of pain control, or
        for treatment of nausea because of chemotherapy, pregnancy or post-operative procedures;
     Treatment must be performed by a licensed provider (check with your claims administrator).
     Allergy testing and treatment;
     Chemotherapy and radiation treatments;
     Chiropractic care when medically necessary as determined by the claims administrator to diagnose or
     treat illness, injury, or disease. Coverage is limited to 20 visits per year (including initial consultation)
     and ends once maximum medical recovery has been achieved and treatment is primarily for
     maintenance or managing pain;
     Diagnostic services, including:
        EEG, EKG, and other medical electronic procedures;
        Laboratory and pathology tests; and
        Radiology services.
     Education therapy, but only for participants with a diagnosis of diabetes mellitus;
     Eye exams for patients with diabetes (covered as a specialist office visit);
     Hemodialysis provided at a free-standing facility such as a dialysis center or your home, when ordered
     by a licensed provider;




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     Home health care, which may require precertification; limited to a maximum of 200 visits/calendar

     The attending physician must submit a detailed description of the medical necessity and scope of
     services provided to the claims administrator. The following are covered if ordered by the physician

        Medical supplies and laboratory services prescribed by a physician;
        Nutrition counseling provided by or under the supervision of a registered dietitian;
        Part-time or intermittent nursing care provided or supervised by a registered nurse (R.N.), a
        licensed practical nurse (L.P.N.), or a licensed vocational nurse (L.V.N.);
        Part-time or intermittent home health services
        Physical, occupational, speech, or respiratory therapy by a licensed qualified therapist.
     Licensed, general hospital emergency room use for treatment of an injury or sudden illness, including:
        Emergency treatment rooms;
        Laboratory and pathology tests;


        Supplies and medicines administered during the visit; and
        Radiology services.
     Licensed provider-prescribed respiratory therapy approved by the claims administrator;
     Mental health care/substance abuse care;
     Occupational therapy rendered by a licensed therapist, up to a combined total of 60 in- and out-of-
     network visits per calendar year. (There is no visit limitation for those with an underlying mental health

     Outpatient surgery and related follow-up care;
     Physical therapy rendered by a licensed therapist, up to a combined total of 60 in- and out-of-network
     visits per calendar year. (There is no visit limitation for those with an underlying mental health

     Podiatric care when medically necessary as determined by the claims administrator to diagnose or
     treat illness, injury, or disease. Coverage ends once maximum medical recovery has been achieved
     and treatment is primarily for maintenance or managing pain;
     Prenatal care;
     Speech therapy rendered by a licensed therapist, up to a combined total of 60 in- and out-of-network
     visits per calendar year. (There is no visit limitation for those with an underlying mental health

     Temporomandibular joint syndrome (TMJ) medical treatment only; including exams, X-rays, injections,
     anesthetics, physical therapy, and oral surgery up to $1,000 combined in-network and out-of-network
     maximum per year (appliances are not covered); and
     Virtual doctor.
  The items/services listed above may change at any time.




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  Inpatient Hospital and Related Services
  The Medical Plan covers medically necessary inpatient hospital admissions for         Multiple Surgical
  an unlimited number of days.                                                          Procedure
  Covered services include, but are not limited to, the following services, subject     Reduction Policy
  to any limitations or requirements of the Plan and based on medical necessity:        The Plan limits the
     Allergy testing and treatment, when provided as part of inpatient care for         benefits you are eligible
                                                                                        to receive if you have
     another covered condition;
                                                                                        more than one surgical
     Anesthetics and their administration;                                              procedure performed at
                                                                                        the same time. When
     Bariatric surgery, subject to claims administrator guidelines. Please Note:        you have multiple
     To receive benefits for bariatric surgery, you must contact your health care       procedures performed at
     company before obtaining services; you will be informed of any required            the same time, these
     precertification. If you and/or your covered spouse/domestic partner use a         options will pay:
     Center of Excellence (COE) for your treatment you may be eligible for                 100% of your
     reimbursement of travel and lodging expenses. To learn more about the
     travel and lodging benefit including reimbursement see the bullet in the list         coinsurance
                                                                                           percentage amount
                                                                                           for the primary or
     Basic metabolic examinations;                                                         major surgical
     Cosmetic surgery when needed to:                                                      procedure; and
                                                                                           50% of your medical
        Reconstruct or treat a functional defect of a congenital disorder or
        malfunction;                                                                       percentage amount
                                                                                           for the secondary
        Treat an infection or disease;
                                                                                           procedure.; and
        Treat an injury or accident; or                                                 If more than two
        Reconstruct a breast after mastectomy. Coverage for the following               procedures are
                                                                                        performed, please check
        services is available under the Medical Plan in a manner determined in
                                                                                        with your claims
        consultation with you and your physician:                                       administrator for
        -   Reconstruction of the breast on which the mastectomy was                    coverage details. Please
            performed;                                                                  see contact information
                                                                                        in the Contacts section.
        -   Surgery and reconstruction for the other breast to produce a
            symmetrical appearance; and
        -   Prostheses and treatment of physical complications for all stages of mastectomy, including
            lymphedemas.
     Diagnostic services, including:
        EEG, EKG, and other diagnostic medical procedures;
        Laboratory and pathology tests; and
        Radiology services.
     Electrocardiographic and physiotherapeutic equipment usage;
     Hemodialysis for kidney failure;
     Intensive care unit service;
     Maternity care, including:
        Any required care for an illness or injury that the newborn develops either before or after birth, as
        long as you and your newborn are enrolled in the appropriate coverage level within prescribed
        enrollment time frames;




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        Care required because of miscarriage or ectopic pregnancy;                         Please Note
        Coverage of eligible expenses if your covered child has a baby, but not            You have 90 days from
        including nursery or other expenses incurred by the newborn child;                 the date of birth or
                                                                                           adoption of a child to add
        Delivery by a certified, registered nurse or midwife in a birthing center;         your newly eligible
        Drugs, medications, and anesthesia;                                                dependents to the
                                                                                           Medical Plan. Please
        Normal or cesarean section delivery;
        Routine medical and hospital nursery care for your covered newborn
        child, as long as you and your newborn are enrolled in the appropriate
        coverage level within prescribed enrollment time frames;                           the Health Care
                                                                                           Participation section for
        Circumcision by a licensed provider (for your covered newborn child), as           more information.
        long as you and your newborn are enrolled in the appropriate coverage
        level within prescribed enrollment time frames; and
        A semi-private room. The period of hospitalization for childbirth (for either the mother or the
        covered newborn child) is up to 48 hours after a vaginal delivery or 96 hours after a cesarean
        section. (However, your attendi
        discharge the mother or newborn child earlier.)
    Mental health care/substance abuse care;
    Operative and surgical procedures by a licensed provider for the treatment of a disease or injury,
    including pre-operative preparation and post-operative care;
    Organ or tissue transplants including replacing a non-functioning or damaged organ or tissue with a
    working organ or tissue from another person. Please Note: To receive benefits for transplant surgery,
    you must contact your health care company before obtaining services; you will be informed of any
    required precertification. Covered services include physician and hospital costs, donor search, tests to
    establish donor suitability, organ harvesting and procurement, and anti-rejection drugs. Donor
    expenses related to the transplant procedure are covered if the transplant recipient is a covered
    member under this Plan, but only to the extent that the donor expenses are not covered under another
    health insurance plan. If you and/or your covered spouse/domestic partner uses a Center of
    Excellence (COE) for your treatment, you may be eligible for reimbursement of travel and lodging
    expenses if your treatment facility is more than 50 miles away from your home, see the Travel Benefit
    below for more information. To locate a COE,                                                My Health
    or call your health care company.
    Pre-admission testing when completed within seven days of hospital admission;
    Semi-private room and board;
    Take-home drugs and medications; and
    Travel Benefit: The Plan offers travel benefits for the following conditions/surgery: bariatric surgery and
    organ transplant up to a maximum of $10,000 per covered person per surgery/condition for all
    transportation and lodging expenses incurred by you and reimbursed under the Plan in connection
    with all certified and approved procedures. To qualify for this, benefit the procedure/treatment needs to
    take place more than 50 miles from your home.
        The claims administrator must receive valid receipts for such charges before you will be
        reimbursed. The items/services listed above may change at any time so check with your health
        care company to see if your condition or surgery qualifies for this benefit and for additional details
        on this benefit.




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                                                            Protection Act, group medical plans and health insurance
  issuers may not, under federal law, restrict benefits for any hospital length of stay in connection with childbirth for the
  mother to less than 48 hours after a normal vaginal delivery, or to less than 96 hours after a cesarean section.
  Further, the Plan cannot require that any medical provider obtain authorization from the Plan or any insurance issuer
  for prescribing a length of stay not in excess of the above periods.




  Plan will provide certain benefits related to benefits received in connection with a mastectomy. The Medical Plan will
  include coverage for reconstructive surgery after a mastectomy.
  If you or your dependent(s) (including your spouse/domestic partner) are receiving benefits under the Medical Plan in
  connection with a mastectomy and you or your dependent(s) (including your spouse) elect breast reconstruction, the
  coverage will be provided in a manner determined in consultation with the attending physician and you or your
  covered dependent(s) (including your spouse/domestic partner) for:
       Reconstruction of the breast on which the mastectomy was performed;
       Surgery and reconstruction of the other breast to produce a symmetrical appearance; and
       Prostheses and treatment of physical complications at all stages of the mastectomy, including lymphedemas.
  Reconstructive benefits are subject to annual plan deductibles and coinsurance provisions like other medical and
  surgical benefits covered under the Medical Plan.


  Other Covered Services
  The Plan covers a wide variety of other medically necessary services, although benefits levels may differ
  substantially. These services include, but are not limited to, the following services, subject to any
  limitations or requirements of the Medical Plan, such as prior authorization, and based on medical
  necessity:
       Compression stockings (two pair per calendar year for the following conditions only: diabetes, varicose
       veins, varicose ulcers, statis dermatitis, post-phlebitic syndrome, and lymphedema);
       Coverage abroad (coverage outside of the U.S. or international coverage), as follows:

  Benefit Provision                                                        Coverage under Options 1 and 2
  Treatment for a true emergency*; for example,                            80% after in-network deductible
  sudden, serious chest pain
  Treatment for an urgent situation that is not a true                     80% after in-network deductible
  emergency
  All other treatment; for example, elective surgery                       50% after out-of-network deductible
  scheduled several months in advance

       If you receive treatment while traveling outside the United States, you will have to pay for the services
       up front and then submit a claim form along with the receipt and an itemized bill from the provider. For
       details on the procedures for filing a claim, pleas
       have any questions about benefits while traveling abroad, please call your health care company.
  *    True emergency as determined based on what a prudent person would consider an emergency, not on the final diagnosis
       reached by doctors.




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    Dental procedures resulting from a congenital or medical disorder or accidental injury (treatment must
    be received within 12 months of the accident). Includes surgical removal of wisdom teeth only if
    procedure is done in a medical setting. Please Note: The charges must not be covered by the
    JPMorgan Chase Dental Plan or any other dental plan that you might be enrolled in.
    Diabetes services, diabetes self-management and tr
    outpatient self-management training for the treatment of diabetes, education and medical nutrition
    therapy services. Services must be ordered by a physician and provided by appropriately licensed or
    registered health care professionals. Covered services also include medical eye examinations (dilated
    retinal examinations) and preventive foot care for diabetes.

    the management and treatment of diabetes, based upon your medical needs. An insulin pump is
    subject to all the conditions of coverage stated under durable medical equipment (DME), and
    Prosthetics. Benefits for blood glucose meters, insulin syringes with needles, blood glucose and urine
    test strips, ketone test strips and tablets and lancets, and lancet devices are described under the
    separate prescription drug plan. Please note: Specific insulin pumps may also be covered under the
    Prescription Drug Plan. Contact CVS Caremark for additional information on which insulin pumps are
    covered under the Prescription Drug Plan.
    External cochlear devices and systems;
    Gender Affirmation Surgery (may be referred to by our healthcare companies as Gender
    Reassignment Surgery or GRS). To be eligible, the participant must meet certain medically
    established guidelines that are outlined in your healthcare companies clinical polices (which may align
    with the WPATH Standards of Care v7), for obtaining the surgery which require the participant to,
    among other things:
        Be at least 18 years old;
        Have a gender identity disorder diagnosis;
        Have been approved for hormone therapy;


        Have two letters endorsing surgery, including one
        degree level.
                                                            icies or call your health care company to discuss
    coverage of any specific procedure under the Plan.
    In-network surgery preauthorization is the responsibility of the in-network provider. For out-of-network
    surgery, you are responsible for preauthorization.
    Hearing aids: reimbursement for up to $3,000 every 36 months.
        Hearing aids do not need to be prescribed by or obtained from an in-network provider or from an in-
        network Durable Medical Equipment (DME) provider in order to be considered a covered, eligible
        charge. You will be subject to out-of-network pricing if you obtain your hearing aid from an out-of-
        network provider/DME equipment provider.
        Hearing aid evaluations and hearing tests (not included in the hearing aid maximum benefit).
    Intensive behavior therapy, such as applied behavior analysis for autism spectrum disorder.
    Local emergency ambulance service or air ambulance to the nearest hospital qualified to treat the
    condition if medically necessary and confirmed by a licensed provider.
    Medical equipment and supplies ordered or provided by a physician including:
        artificial eyes and larynx (including fitting);
        artificial limbs (excluding replacements);



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        Athner monitor;
        blood and blood plasma (unless donated on behalf of the patient);
        cane;
        casts;
        crutches;
        custom-molded shoe inserts prescribed to treat a condition, disease or illness affecting the function
        of the foot;
        heart pacemaker;
        hospital bed;
        insulin pump;
        iron lung;
        manual pump-operated enema systems;
        orthopedic braces;
        ostomy supplies, including pouches, face plates and belts, irrigation sleeves, bags and ostomy
        irrigation catheters, and skin barriers and bags;
        splints;
        surgical dressings;
        trusses;
        ventilator;
        walker;
        wheelchair; and
        other items necessary to the treatment of an illness or injury that are not excluded under the Plans.
    Prior authorization or pre-certification may be required for coverage of some medical equipment and
    supplies. The claims administrator may authorize purchase of an item if more cost-effective than
    rental.
    Medically necessary visits to licensed physicians, surgeons, and chiropractors, whether in the office or
    in your home;
    Non-emergency transportation is covered if it is provided by a licensed professional ambulance (either
    ground or air ambulance as determined appropriate) when the transport is:
        from an out-of-network hospital to the closest in-network hospital with capabilities to care for the
        condition;
        to a hospital that provides a higher level of care that was not available at the original hospital (when
        medically necessary for the patient's care);
        to a more cost-effective acute care facility (as authorized by the Plan) from an acute facility to the
        nearest sub-acute facility;
    Nutritional support, including nutritional counseling (limited to six visits) and durable medical
    equipment, to treat inborn errors of metabolism and/or to function as the majority source of nutrition,*
    as long as each of the following conditions are met:
        Without enteral (feeding tube) feedings, the individual is unable to obtain sufficient nutrients to
        maintain appropriate weight by dietary and/or oral supplements;



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        The administration of enteral nutrition requires ongoing evaluation and management by a
        physician; and
        The individual has one of the following conditions that is expected to be permanent or of indefinite
        duration:
        -   An anatomical or motility disorder of the gastrointestinal tract that prevents food from reaching
            the small bowel;
        -   Disease of the small bowel that impairs absorption of an oral diet; or
        -   A central nervous system/neuromuscular condition that significantly impairs the ability to safely
            ingest oral nutrition.
        The limits noted above do not apply for nutritional counseling for behavioral disorders (eating
        disorders).


        -   Enteral feeding constitutes over 50% of caloric nutritional intake as determined by clinical
            information submitted by the provider for review;
        -   Calories from parenteral (intravenous) nutrition should not be considered when assessing for
            the sole source of nutrition; that is, transitioning to enteral feedings; and
        -   Parenteral feedings are covered when consider
            enteral alone are not possible.
    Oxygen and supplies for its administration;
    Prosthetic devices and related supplies, including fitting, adjustments, and repairs, and biomechanical
    devices, if ordered by a licensed provider. Please check with the claims administrator for frequency or
    other limitations. Please Note: Dentures, bridges, etc. are not considered medical prosthetic devices.
    Radiation, chemotherapy, and kidney dialysis;
    Rental or purchase of durable medical equipmen
                                                              by the claims administrator and if ordered by
    a licensed provider. Frequency and other limitatio
    discretion, replacements are covered for damage beyond repair with normal wear and tear when
    repair costs exceed new purchase price, or when a change in the medical condition occurs sooner
    than the end of a three-year time frame. Repairs, including the replacement of essential accessories,
    such as hoses, tubes, mouthpieces, etc., for necessary durable medical equipment are only covered
    when required to make the item/device serviceable and the estimated repair expense does not exceed
    the cost of purchasing or renting another item/device. Requests for repairs may be made at any time
    and are not subject to the three-year timeline for replacement.
    Services and supplies that are part of an alternate care proposal. This is a course of treatment
    developed and authorized by the claims administrator as an alternative to the services and supplies
    that would otherwise have been considered covered services and supplies. Unless specified
    otherwise, the provisions of the Plan related to benefits, maximum amounts, copayments, and
    deductible will apply to these services.
    Skilled nursing facility for up to 365 days per lifetime (combined in-network and out-of-network). The
    lifetime maximums reflect services received across all JPMorgan Chase Medical Plans.
    Speech aid devices and tracheo-esophageal voice devices required for treatment of severe speech
    impediment or lack of speech directly attributed to sickness or injury.
    Termination of Pregnancy
        Voluntary (i.e. abortion)
        Involuntary (i.e. miscarriage)



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     Urgent care;
     Voluntary sterilization; and
     Wigs up to a $500 per year limit, for burns, chemotherapy or radiation, accidental injury, after a
     diagnosis of alopecia, or for other medically necessary reasons.
  The items/services listed above may change at any time.

  Infertility Treatment Procedures
  There are special covered procedures that induce pregnancy but do not treat the underlying medical
  condition. They include (but are not limited to) artificial insemination and in vitro fertilization. Infertility
  services are subject to a $10,000 ($30,000 if a Center of Excellence (COE) is used) combined lifetime
  maximum benefit for each covered individual. This limit applies to all benefits received under the Medical
  Plan regardless of whether the service was received in-network or out-of-network. Please note: amounts
  paid by the Plan (not your out-of-pocket expenses) apply to the Lifetime Infertility maximum. This limit
  does not apply to the services used to determine the initial diagnosis of infertility and/or its cause, which
  are not subject to the $10,000 ($30,000 if using a COE) benefit maximum. All procedures and access will
                                                         policies for determining appropriateness of care.

  for information on a $10,000* lifetime maximum on prescription drugs related to infertility treatment.
  Please contact your health care company for specific details.
  Please Note:
     To receive benefits for infertility services, you must contact your health care company and receive
     precertification before obtaining services.
     If you use a COE for your treatment, your lifetime infertility benefit maximum will be increased to
     $30,000. You must complete all program requirements to earn the increase to the benefit maximum.
     To locate a COE, contact your health care company.
     * The lifetime maximum for prescription drugs under the infertility benefit includes the charges paid by
     the Plan. Your prescription drug out-of-pocket expenses (dollars you pay towards the deductible,
     coinsurance/copayment and costs for non-covered drugs) are not included in the either the Medical or
     prescription drug plan lifetime maximum.

  Planning Treatments That May Cause Infertility
  Covered individuals with a diagnosis of cancer who are planning cancer treatment, or medical treatment
  for any condition that is demonstrated to result in infertility, are considered to meet the definition of
  infertility. Planned cancer treatments include bilateral orchiectomy, bilateral oophorectomy, hysterectomy,
  and chemotherapy or radiation therapy that is established in the medical literature to result in infertility. To
  use infertility benefits covered under the Plan, you must contact your health care company and work with
  them and your doctor to determine your appropriate course of treatment.
  Coverage is limited to:
     Collection of sperm;
     Cryopreservation of sperm and eggs;
     Ovulation induction and retrieval of eggs;
     In vitro fertilization; and
     Embryo cryopreservation.
  Cryopreservation costs are covered for the period of infertility treatments, which is generally one year.
  Long-term cryopreservation costs (anything longer than 12 months) are not covered under the Plan.




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  Infertility Diagnostic Services
  Diagnostic services to determine or cure the underlying medical conditions are covered in the same
  manner as any other medically necessary services.

  Mental Health Benefits
  Mental health care or benefits, in accordance with the Mental Health Parity and Addiction Equity Act, are
  items or services for mental health or substance use disorder conditions, as determined solely within the
  discretion of the plan administrator, consistent with generally recognized independent standards of
  current medical practice. Conditions affecting physical health that are related to a mental health condition
  or substance use disorder are medical/surgical benefits rather than mental health care benefits under the
  Medical Plan. However, for those individuals with a mental health diagnosis, associated medical
  treatments subject to visit limits (such as physical, occupational, and speech therapy and home health
  care services) will not be subject to an annual visit limitation.

  Hospice Care
  If you or a covered dependent is diagnosed as terminally ill with six months or less to live, you may be
  eligible to receive reimbursement for hospice care services. Hospices provide care in a setting designed
  to make the patient comfortable while still providing professional medical attention.
  To be eligible for reimbursement, a hospice facility must offer a hospice program approved by the claims
  administrator. It must be either a hospital or a freestanding hospice facility that provides inpatient care or
  an organization that provides health care services in your own home.
  Hospice services include:
     Hospice room and board while the terminally ill person is an inpatient in a hospice;
     Outpatient and other customary hospice services provided by a hospice or hospice team; and
     Counseling services provided by a member of the hospice team.
  These services and supplies are eligible only if the hospice operates as an integral part of a hospice care
  program, and the hospice team includes at least a doctor and a registered graduate nurse. Each service
  or supply must be ordered by the doctor directing the hospice care program and be:
     Provided under a hospice care program that meets standards set by the claims administrator. If such a
     program is required by federal or state law to be licensed, certified, or registered, it must meet that
     requirement; and
     Provided while the terminally ill person is in a hospice care program.
  Hospice benefits also include eligible expenses for counseling services for the family unit, if ordered and
  received under the hospice care program. Benefits will be paid if:
     On the day before the terminally ill person passed away, he or she was:
        In a hospice care program;
        A member of the family unit; and
        A covered participant.
     The charges are incurred within three months after the death of the terminally ill person.
  The items/services listed above may change at any time.




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  Coverage Limitations
  As mentioned earlier, certain covered services are limited to a specific number of visits or days or
  limitations, subject to applicable deductibles and coinsurance.
  These limitations are included in the coverage charts

  Please keep in mind that any benefits listed that have limitations on the number of visits or days of
  treatment are determined by medical necessity. In other words, the treatment must be medically
  necessary, even if the number of visits or days is within the prescribed limitations.



  What Is Not Covered
  While the Medical Plan covers a wide variety of medically necessary services, some expenses are not
  covered. Some of these are listed below.
  Expenses not covered include, but are not limited to:
     Care from a person who is a member of your fa
     Charges for the difference between a private and semi-private hospital room;
     Correction of weak, unstable, or flat feet; arch supports (unless prescribed by a physician); corrective
     shoes (unless prescribed by a physician); shoe orthotics (except for custom-molded shoe inserts
     prescribed to treat a condition, disease, or illness affecting the function of the foot); or treatment of
     corns, calluses, or chronic foot strain;
     Cosmetic surgery treatment, except to repair damage from accident or injury; treat a functional birth
     defect; reconstruct a breast after mastectomy and/or reconstruction of the non-affected breast to
     produce a symmetrical appearance; or treat an infection or disease;
     Custodial services, including custodial nursing care and group homes;
     Donor expenses with regard to infertility treatment;
     Educational therapy (except for members with a diagnosis of diabetes) and social or marital
     counseling;
                                                         example, if a licensed provider or hospital waives
     an expense, the Plan will not pay any benefit to you or a licensed provider);
        If you enter into an agreement with a provider regarding the waiver of an expense, you are required
        to inform your health care company of the agreement.
     Expenses in excess of reasonable and customary charges for out-of-network services;
     Expenses submitted later than December 31 of the year after the year in which services were
     provided;
     Experimental, investigational, or unproven services, devices, or supplies (see the definition of

     Extended benefit coverage after termination from JPMorgan Chase (other than coverage elected
     through COBRA). If you are hospitalized on the date your JPMorgan Chase Medical Plan coverage
     terminates, Medical Plan coverage will end at midnight that day.
     Hospital admissions and other services that began bef
     under the Medical Plan;
     Inpatient private duty nursing;
     Non-medical charges for care in a nursing or convalescent home or long-term custodial care, even if
     prescribed by a licensed provider;


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    Non-prescription contraceptive devices, unless medically necessary (prescription oral contraceptives
    are covered under the JPMorgan Chase Prescription Drug Plan);
    Non-surgical correction of temporomandibular joint (TMJ) syndrome, such as appliances or devices;
    Nutritional support expenses including but not limited to:
        Regular grocery products (including over-the-counter infant formulas such as Similac and Enfamil)
        that meet the nutritional needs of the patient;
        Infant formula that is not specifically made to treat inborn errors of metabolism;
        Medical food products that:
        -   Are prescribed without a diagnosis requiring such food;
        -   Are used for convenience purposes;
        -   Have no proven therapeutic benefit without an underlying disease, condition, or disorder;
        -   Are used as a substitute for acceptable standard dietary interventions;
        -   Are used exclusively for nutritional supplementation; and
        -   Are required because of food allergies.
        Nutritional and electrolyte supplements, including infant formula, donor breast milk, nutritional
        supplements, dietary supplements, electrolyte supplements, diets for weight control or treatment of
        obesity (including liquid diets or food), food of any kind (diabetic, low fat, cholesterol), oral vitamins,
        and oral minerals.
        Food supplements, specialized infant formulas (e.g., Alimentum, Elecare, and Neocate), lactose-
        free foods, vitamins and/or minerals may be used to replace intolerable foods, for lactose
        intolerance, to supplement a deficient diet, or to provide alternative nutrition in the presence of such
        conditions as allergies, gastrointestinal disorders, hypoglycemia, and obesity. Food supplements,
        lactose-free foods, specialized infant formulas, vitamins and/or minerals taken orally are not
        covered, even if they are required to maintain weight or strength and regardless of whether these
        are prescribed by a physician.
    Personal services for comfort or convenience while in the hospital, such as television, telephone, etc.;
    Physical, psychiatric, or psychological exams, testing, vaccinations, or treatments if required solely for
    purposes of school, sports or camp, career or employment, insurance, marriage, or adoption;
    Refractive eye examinations for new lenses or the cost of eyeglasses or contacts. This does not apply
    to the first pair of contact lenses or the first pair of eyeglasses after cataract surgery;
    Refractive eye surgery including, but not limited to, LASIK or radial keratotomy;
    Reproductive education and conception prevention classes;
    Reversals of sterilization;
    Routine dental care (please see the Dental Plan Summary Plan Description on My Health for
    information about services covered under the JPMorgan Chase Dental Plan);
    Routine eye exams (please see the Vision Plan Summary Plan Description on My Health for
    information about services covered under the JPMorgan Chase Vision Plan);
    Services, supplies, or treatment for weight loss, nutritional supplements, or dietary therapy;


    Sickness or loss that is later determined to be the legal responsibility of another person or company;
    Treatments, services, or supplies that are not medically necessary or not approved by a licensed
    provider or services provided outsi



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     Treatments for the primary diagnoses of learning disabilities, conduct and impulse control disorders,
     personality disorders, and paraphilias (sexual behavior that is considered deviant or abnormal);

     administrator in its sole discretion to be part of a global procedure; and
     Vision Therapy
  The items/services listed above may change at any time.



  Defined Terms
  As you read this SPD for the JPMorgan Chase Core
  terms related to the Plan. To help you better understand the Plan, many of those important terms are
  defined here.

  Before-Tax           Before-tax contributions are contributions that are taken from your pay before federal (and, in
  Contributions        most cases, state and local) taxes are withheld. Before-tax dollars are also generally taken
                       from your pay before Social Security taxes are withheld. This lowers your taxable income and
                       your income tax liability.
                       Your Medical Plan payroll contributions are taken on a before-tax basis.
  Claims               The claims administrator is the company that provides certain claims administration services
  Administrator        for the Medical Plan. If you elect Medical Plan coverage, your claims administrator is your
                       health care company (Aetna or Cigna, depending on your election) and CVS Caremark for
                       prescription drug coverage.
  Coinsurance          Coinsurance is the way you and the Plan share costs for certain covered health care services,
                       generally after you pay any applicable deductible under the Medical and/or Prescription Drug
                       Plan. For medically necessary covered in-network services, the Medical Plan pays a
                                                                    you pay the remainder. For medically necessary
                       covered out-of-network services, the Medical Plan pays a percentage of the reasonable and
                       customary (R&C) charges for services and you pay the remainder (you are responsible for
                       paying any additional amount above R&C charges). The coinsurance percentage you pay
                       depends on the type of covered service.
  Coinsurance                                                       hat protects you from having to pay high
  Maximum              expenses in the event of a serious medical situation. The coinsurance maximum is the most
                       you would need to pay in a calendar year in addition to the deductible for medically necessary
                       covered services under the Medical Plan. There are separate in-network and out-of-network
                       coinsurance maximums.
                       Once the coinsurance maximum is reached, the Medical Plan will pay 100% of negotiated
                       rates for medically necessary covered in-network care and 100% of reasonable and
                       customary (R&C) charges for medically necessary covered out-of-network services for the
                       rest of the year. Under the Medical Plan, amounts that you pay toward your medical
                       deductible, amounts above R&C charges for out-of-network care, and your deductible,
                       copayments, and coinsurance for prescription drugs do not count toward your medical
                       coinsurance maximum.
                       There is a separate coinsurance maximum for the Prescription Drug Plan.
                                                              Plan Administration section for information on
                       circumstances when you may be required to
                       Plan.
  COBRA                The Consolidated Omnibus Budget Reconciliation
                       allows you and/or your covered dependents to continue Medical Plan coverage on an after-
                       tax basis (under certain circumstances) when coverage would otherwise end. The Health
                       Care Participation section provides details on COBRA coverage.




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  Coordination of        Coordination of benefits rules are the rules that determine how benefits are paid when a
  Benefits               patient is covered by more than one group plan. Rules include:
                              Which plan assumes primary liability;
                              The obligations of the secondary claims administrator or claims payer; and
                              How the two plans ensure that the patient is not reimbursed for more than the actual
                              charges incurred.
                         In general, the following coordination of benefits rules apply:
                              As a JPMorgan Chase employee, your JPMorgan Chase coverage is considered primary
                              for you.
                              For your spouse/domestic partner or child covered as an active employee and/or retiree of
                                                                   coverage is considered primary.
                              For children covered as dependents under two plans, the primary plan is the plan of the
                              parent whose birthday falls earlier in the year (based on month and day only, not year).
                         Specific rules may vary, depending on whether the patient is:
                              An employee in active status (or the dependent of an employee).
                              Covered by Medicare.
                         If you or a dependent are eligible for Medicare because of disability or end-stage renal
                                                                                    Plan Administration section for more
                         information.
  Copayment              A copayment (also known as a copay) is the fixed dollar amount you pay for certain
                         medications under the Prescription Drug Plan. For example, copayments apply for generic
                         drugs.
  Covered                While the Plan provides coverage for numerous services and supplies, there are limitations on
  Services                                                             eatments, most cosmetic surgery expenses, and
                         inpatient private duty nursing are not covered under the Medical Plan. Medical procedures are
                         generally reimbursable by the JPMorgan Chase Medical Plan only if they meet the definition

  Custodial Care         Custodial care is medical or non-medical services that do not seek to cure, are provided
                         during periods when the medical condition of the patient is not changing or does not require
                         continued administration by medical personnel. An example of custodial care is assistance in
                         the activities of daily living.
  Deductible             The deductible is the amount you pay up front each calendar year for covered expenses
                         before the Medical Plan generally begins to pay benefits for many expenses. There are
                         separate in-network and out-of-network deductibles. Amounts in excess of reasonable and
                         customary (R&C) charges and ineligible charges do not count toward the deductible. A
                         separate deductible applies for the Prescription Drug Plan.
  Domestic
  Partner                not currently covering a spouse.
                             You and your domestic partner must:
                                  Be age 18 or older; and
                                  Not be legally married to, or the domestic partner of, anyone else; and
                                  Have lived together for at least the last twelve (12) months, are currently living
                                together, and are committed to each other to the same extent as married persons are
                                to each other, except for the traditional marital status and solemnities; and
                                  Be financially interdependent (share responsibility for household expenses); and
                                  Not be related to each other in a way that would prohibit legal marriage.
                         OR
                                  Have registered as domestic partners pursuant to a domestic partnership ordinance
                                or law of a state or local government, or under the laws of a foreign jurisdiction.
                         You must certify that your domestic partner meets the eligibility rules as defined under the
                         Plan before coverage can begin. You may also be asked to certify that your domestic partner
                                                                     lify as tax dependent(s) as determined by the

                                         Health Care Participation section for more information.



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  Eligible               Under the Medical Plan, your eligible dependents can include your spouse or domestic
  Dependents             partner and your children. Please see the
                                                      Health Care Participation section for more information.
  Experimental,          Experimental, investigational, or unproven services are medical, surgical, diagnostic,
  Investigational,       psychiatric, mental health, substance abuse and addictive disorders or other health care
  or Unproven            services, technologies, supplies, treatments, procedures, drug therapies or devices that, at
                         the time the claims administrator makes a determination about coverage in a particular case,
  Services
                         are determined to be:
                             Not approved by the U.S. Food and Drug Administration (FDA) to be lawfully marketed for
                             the proposed use or not identified in the American Hospital Formulary Service or the
                             United States Pharmacopoeia Dispensing Information as appropriate for the proposed
                             use; or
                             Subject to review and approval by any institutional review board for the proposed use; or
                             The subject of an ongoing clinical trial that meets the definition of a Phase 1, 2 or 3 clinical
                             trial set forth in the FDA regulations, regardless of whether the trial is actually subject to
                             FDA oversight; or
                             Not demonstrated through prevailing peer-reviewed medical literature to be safe and
                             effective for treating or diagnosing the condition or illness for which its use is proposed.
                         The claims administrator, in its judgment, may determine an experimental, investigational or
                         unproven service to be covered under the Medica
                         sickness or condition if the claims administrator determines that a service:
                             Is safe with promising effectiveness;
                             Is provided in a clinically controlled research setting; and
                             Uses a specific research protocol that meets standards equivalent to those defined by the
                             National Institutes of Health.
                         Please Note: For the purpose of this defin
                         sicknesses or conditions that are more likely than not to cause death within one year of the
                         date of the request for treatment.
                         If services are denied because they are deemed to be experimental, investigational, or
                         unproven, and the service is then considered an approved service by the claims administrator
                         within six months of the date of service, you may resubmit your claim for payment.
  Explanation of         An explanation of benefits (EOB) is a statement that the claims administrator prepares, which
  Benefits               documents your claims and provides a description of benefits paid and not paid under the
                         Medical Plan and through any related Medical Reimbursement Account and/or Health Care
                         Spending Account.
  Home Health            Home health care is an altern
  Care                   period. If the attending physician believes that part-time care will suffice in treating the
                         sickness or injury, the physician can prescribe a schedule of services to be provided by a
                         state-licensed home health care agency. This schedule may include administration of
                         medication, a regimen of physical therapy, suctioning or cleansing of a surgical incision, the
                         supervision of intravenous therapy or other skilled nursing care.
  Hospice Care           A hospice care program is a program that tends to the needs of a terminally ill patient as an
  Program                alternative to traditional health care, while meeting medically necessary and acceptable
                         standards of quality and sound principles of health care administration. The program must be
                         a written plan of hospice care for a covered person, and it must be approved by the
                         appropriate claims administrator.
  Hospital               A hospital is an institution legally licensed as

                         patients with diagnosis and treatment under the supervision of licensed physicians. The
                         hospital must have 24-hour-a-day registered graduate nursing services and facilities for major

  Hospital               Hospital notification refers to the requirement under the Medical Plan that you should notify
  Notification           the claims administrator in advance of a non-emergency hospital admission or if a maternity
                         stay exceeds the guidelines. However, you will not be penalized under the Plan if you do not
                         notify the claims administrator.




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  In-Network                                                              performed by a physician, hospital, lab, or
                         other health care professional who is part of
                         agreed to pre-negotiated fees. When a service is performed in-network, benefits are generally
                         paid at a higher level than they are when a service is performed out-of-network.
  Medical
  Reimbursement                                                         your behalf at your health care company when
  Account                you enroll in the Medical Plan. You (and your covered spouse/domestic partner) can earn
                         Wellness Rewards for your MRA by completing the Initial Wellness Activity and Additional
                         Wellness Activities. This account is JPMC-funded only; you cannot contribute to your MRA.
                         You can use the funds in your MRA to pay for covered out-of-pocket medical and prescription
                         drug expenses (deductibles, coinsurance, and copayments).
  Medically              Medically necessary health care services and supplies are services or supplies that are
  Necessary              determined by the claims administrator in its sole discretion to be medically appropriate and:
                            Necessary to meet the basic health needs of the covered person;
                            Provided in the most cost-efficient manner and type of setting appropriate for the delivery
                            of the service or supply;
                            Consistent in type, frequency, and duration of treatment with scientifically based
                            guidelines of national medical, research, or health care coverage organizations or
                            governmental agencies that are accepted by the claims administrator;
                            Consistent with the diagnosis of the condition;
                            Required for reasons other than the convenience of the covered person or his or her
                            physician; and
                            Demonstrated through prevailing peer-reviewed medical literature to be either:
                                  Safe and effective for treating or diagnosing the condition or sickness for which their
                                use is proposed. or
                                  Safe with promising effectiveness:
                                      For treating a life-threatening sickness or condition;
                                      In a clinically controlled research setting; and
                                      Using a specific research protocol that meets standards equivalent to those
                                      defined by the National Institutes of Health.
                         Please Note: For the purpose of this defin
                         sicknesses or conditions that are more likely than not to cause death within one year of the
                         date of the request for treatment.
                         The fact that a physician has performed or prescribed a procedure or treatment or the fact
                         that it may be the only treatment for a particular injury, sickness, or condition does not mean
                         that it is a medically necessary service or supply as defined above. The definition of

                         which a physician engaged in the practice of
                         Finally, to be considered necessary, a service or supply cannot be educational or
                         experimental in nature in terms of generally accepted medical standards.
  Multiple               The multiple surgical procedure reduction policy applies under the Medical Plan. Surgical
  Surgical               procedures that are performed on the same date of service are subject to the multiple surgical
  Procedure              procedure reduction policy. On an in-network basis, 100% of the negotiated charges are
                         reimbursable for the primary/major procedure, 50% of negotiated charges are reimbursable
  Reduction
                         for the secondary procedure, and 50% of negotiated charges are reimbursable for all
  Policy                 subsequent procedures. On an out-of-network basis, 100% of the reasonable and customary
                         (R&C) charges are reimbursable for the primary/major procedure, 50% of R&C charges are
                         reimbursable for the secondary procedure, and 50% of R&C charges are reimbursable for all
                         subsequent procedures. Participants undergoing surgery are urged to discuss this policy with
                         their health care provider.




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  Non-Duplication        Non-duplication of benefits is a provision that requires that the Medical Plan does not allow for
  of Benefits            duplication of benefits. If you and your eligible dependents are covered under more than one
                         group plan, the primary plan (the one responsible for paying benefits first) needs to be
                         determined. You are entitled to receive benefits up to what you would have received under
                         the Medical Plan if it were your only source of coverage, but not in excess of that amount. If
                         you have other coverage that is primary to the Medical Plan, the claims administrator will
                         reduce the amount of coverage that you would otherwise receive under this plan by any
                         amount you receive from your primary coverage. Please see the definit

  Out-of-Network                                                            is performed by a physician, hospital, lab,
                         or other health care professional who is not
                         has not agreed to pre-negotiated fees. When a service is performed out-of-network, benefits
                         are generally paid at a lower level than they are when a service is performed in-network and
                         are generally limited to reasonable and customary charges.
  Out-of-Pocket          An out-of-pocket expense is the amount you pay for eligible expenses when you receive
  Expense                treatment. This includes your deductible, coinsurance, and copayments.

  Out-of-Pocket          The out-of-pocket maximum, under the Prescription Drug Plan, is the maximum amount you
  Maximum                would have to pay each year in copayments and coinsurance for prescription drugs. The
                         annual out-of-pocket maximum does not include the deductible.
                         After you reach the annual out-of-pocket maximum, the Prescription Drug Plan would pay
                         100% of the cost of covered prescription drugs for the remainder of the year.
                                                               Plan Administration section for information on
                         circumstances when you may be required to
                         Plan.
  Primary Care                                                            physician who provides or coordinates all the
  Physician              care you receive.
                         Primary care physicians include doctors who practice family medicine, internal medicine,*
                         obstetrics/gynecology, and pediatrics. Care provided by an in-network primary care physician
                         is covered at 90% of the pre-negotiated fee and is not subject to the deductible.
                         * Internists must be contracted with Aetna or Cigna as Primary Care Physicians. (A list of

                         websites.)
  Primary Plan           The primary plan is the plan that provides initial coverage to the participant. If the participant
                         is covered under both a JPMorgan Chase Medical Plan option and another plan, the rules of
                         the primary plan govern when determining the coordination of benefits between the two plans.
                         Specific rules may vary, depending on whether the patient is:
                             An employee in active status (or the dependent of an employee); or
                             Covered by Medicare.
                         These rules do not apply to any private insu
                                                                   Plan Administration section for more information.
  Qualified Status       The JPMorgan Chase benefits you elect during each Annual Benefits Enrollment will
  Change                 generally stay in effect throughout the plan year, unless you elect otherwise, because of a
                         Qualified Status Change (QSC). If you have a QSC, you have 31 days from the qualifying
                         event to make benefits changes; 90 days from the qualifying event if the event is the birth or
                         adoption of a child. The benefits you elect will be effective the date of the event if you make
                         the elections timely. (Please Note: You will have 90 days from the QSC date to add any
                         newly eligible dependents to the JPMC Medical Plan should that dependent pass away within
                         this 90-day period.)
                         Any changes you make during the year must be consistent with your QSC. Please see
                                                                      Health Care Participation section for more
                         information.
                         Please Note: Regardless of whether you experience a QSC, you cannot change your health
                         care company during the year.




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  Reasonable and
  Customary                  the actual charges that are considered for payment when you receive medically necessary
  Charges                    care for covered services from an out-of-network provider. R&C means the prevailing charge
                             for most providers in the same or a similar geographic area for the same or similar service or
                             supply, as determined in the sole discretion of the claims administrator. These charges are
                             subject to change at any time without notice.
                             Reimbursement is based on the lower of this
                             If your provider charges more than the R&C char
                             pay the difference. Amounts that you pay in excess of the R&C charge are not considered
                             covered expenses.
                                                                              ble, benefit limits, or coinsurance maximums.
  Regional Cost              The regional cost category is the category that is assigned to a state or region based on the
  Category                   cost of health care for that region in relation to the national average. The Regional Cost
                             Category is used to determine your Medical Plan contributions and is based on your home
                             address.
  Self-Insured               A self-insured plan is a plan where the sponsor (in the case of the Medical Plan,
                             JPMorgan Chase) is responsible for the payment of medical claims under the Medical Plan,
                             including the Prescription Drug Plan. This makes the Plan self-insured.
  Skilled Nursing            A skilled nursing facility is an institution that primarily provides skilled nursing care and related
  Facility                   services for people who require medical or nursing care, and that rehabilitates injured,
                             disabled, or sick people.
  Spouse                     Your spouse is the person to whom you are legally married as recognized by U.S. federal law.
                             If JPMorgan Chase employs your spouse, domestic partner, or child, he or she can enroll in
                             coverage as an employee or as your dependent, but not as both. If you want to cover your
                             eligible child(ren), you or your spouse/domestic partner may provide this coverage. If you are
                             covering a spouse/domestic partner who is also a JPMorgan Chase employee (i.e., company

                             Enrollment page of the Benefit Web Center, available through My Health.
  Tobacco-User               The tobacco-user surcharge refers to additional Medical Plan contribution costs for
  Surcharge                  employees and covered spouses/domestic partners who use tobacco products. Eligible
                             employees and covered spouses/domestic partners who do not use tobacco products pay
                             less for coverage under the Medical Plan than those who use tobacco products.
                                                                            in the Medical Plan, is any person who has used
                             any type of tobacco products (for example, cigarettes, cigars, pipes, chewing tobacco, snuff,
                             or a pipe) regardless of the frequency or location (this includes daily, occasionally, socially, at-
                             home only, etc.) in the 12 months preceding January 1 of the plan year. Tobacco users may
                             be able to qualify for lower non-tobacco user rates by completing a tobacco cessation

  Total Annual
  Cash                       plus any applicable job differential pay (e.g., shift pay) as of each August 1, plus any cash
  Compensation               earnings from any incentive plans (e.g., annual incentive, commissions, draws, overrides and
                             special recognition payments or incentives) that are paid to or deferred by you for the
                             previous 12-month period ending each July 31. Overtime is not included. It is recalculated as
                             of each August 1 to take effect the following January 1 and will remain unchanged throughout
                             the year. For most employees hired on or after August 1, it will be equal to your annual rate of
                             base salary/regular pay plus applicable job differentials.
                             Total Annual Cash Compensation is used for purposes of determining your Medical Plan
                             contribution pay tier, deductible and in-network coinsurance maximum.
  Visit                      A visit is an encounter with a provider involving direct patient contact. Some benefit provisions
                             limit the number of covered visits. Unless a visit is defined for a particular benefit provision
                             (such as home health care), each procedure code billed counts as a visit toward the limit. The
                             length of a visit may vary by procedure code.




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  The U.S. Fertility Benefits
  Program                                                                                Questions?
                                                                                         For questions or
  Effective 1/1/21                                                                       concerns regarding the
  JPMorgan Chase is committed to assisting employees in meeting their diverse            U.S. Fertility Benefits
                                                                                         Program, please contact
  family planning needs. Through the Family Building Assistance Policy, financial
                                                                                         provider:
  support is provided to eligible employees to help offset the high cost of
                                                                                         WINFertility
  adoption, surrogacy, and certain fertility treatments. The U.S. Fertility Benefits     (833) 439-1517
  Program provides assistance with fertility treatments for individuals who do not       Representatives are
  have a medical diagnosis of infertility.                                               available Monday
                                                                                         through Friday, from
                                                                                         9 a.m. to 7:30 p.m.
  This summary will provide you with a better understanding of how the Fertility         Eastern Time.
  Benefits Program works, including how and when benefits are paid.




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  About This Summary Plan Description

  This section is the summary plan description (SPD) and the plan document for the JPMorgan Chase U.S. Fertility
  Benefits Program, which is a benefit offered under the JPMorgan Chase U.S. Medical Plan. This summary plan
  description provides you with important information required by the Employee Retirement Income Security Act of
  1974 (ERISA) about the Program.
  While ERISA does not require JPMorgan Chase to provide you with benefits, it does mandate that JPMorgan Chase
  clearly communicate to you how the Program operates and what rights you have under the law regarding Program
  benefits. The U.S. Department of Labor requires JPMorgan Chase to routinely provide benefits plan summaries to
  Program participants. Please retain this section for your records.
                                                            page 287 for more important details about the Program and
  this summary plan description.
  Please Note: No person or group (other than the plan administrator for the JPMorgan Chase U.S. Benefits Program)
  has any authority to interpret the plans (or official plan documents) or to make any promises to you about them. The
  plan administrator for the JPMorgan Chase U.S. Benefits Program has complete authority in his or her absolute
  discretion to construe and interpret the terms of the plans and any underlying insurance policies and/or contracts,
  including the eligibility to participate in the plans, and to make factual determinations.
  All decisions of the plan administrator for the JPMorgan Chase U.S. Benefits Program are final and binding upon all
  affected parties. The plan administrators delegate their discretion to interpret the plans to the claims administrators,
  and to decide claims and appeals, including making factual determinations, to:
     The claims administrators; and
     The Health Care and Insurance Plans Appeals Committee.
  No Assignment of Benefits
  The plans are used exclusively to provide benefits to you and, in some cases, your survivors. Neither you nor
  JPMorgan Chase can assign, transfer, or attach your benefits, or use them as collateral for a loan. You may not
  assign your right to file actions under ERISA regarding the plans, or use power of attorney or similar arrangements for
  that purpose.
  Please Note: You may assign to a health care service provider the right to payment. Please contact the HR Answers
  Benefits Contact Center at 877-JPMChase ((877) 576-2427) for more information.
  The JPMorgan Chase U.S. Benefits Program is available to most employees on U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents, and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change, or
  terminate its benefits and plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract
  or guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate
  the employment relationship at any time.




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  Fertility Benefits Highlights
  parents@jpmc        parents@jpmc is your central online resource for information about expanding your family,
                      parental leave and support for working parents. From parents@jpmc you can learn more
                      about the fertility benefit available.
  Eligibility         U.S. benefits-eligible employees who have completed the Introductory Period and their
                      covered spouses/domestic partners are eligible for fertility benefits only if they meet the
                      following requirements:
                           The person receiving the fertility services is enrolled in the JPMorgan Chase U.S. Medical
                           Plan
                           The person receiving the fertility services and their partner (if applicable and clinically
                           linked to the fertility treatment) have not received a medical diagnosis of infertility
                           The person receiving the fertility services has enrolled with WINFertility, the administrator
                           of fertility benefits
                           The expenses are incurred while the person receiving the fertility services was enrolled in
                           the Medical Plan
                      Note: If a medical diagnosis of infertility is determined, the person receiving the fertility
                      services may qualify for infertility benefits under the JPMorgan Chase U.S. Medical Plan in
                      lieu of this fertility benefit. If, during the course or treatment, it is determined that there is a
                      medical diagnosis of infertility, WINFertility will transfer you to your JPMorgan Chase U.S.
                      Medical Plan health care company to utilize the infertility benefit.
  You Must Enroll     To be eligible for benefits from the Program, you must enroll by calling WINFertility and
                      complete a consultation with a WINFertility Nurse Care Manager. If you do not call and
                      complete a consultation, you will not be eligible for benefits and you will not be eligible for
                      reimbursement for fertility services incurred prior to enrollment.
  Covered             Examples of fertility services that are covered include, but are not limited to, the following if
  Services            performed on the individual enrolled in the U.S. Medical Plan:
                          Intrauterine insemination (IUI);
                          In vitro fertilization (IVF);
                          Medications associated with an approved IUI or IVF cycle. For more details on the



  WINFertility        WINFertility has a network of providers that feature credentialed reproductive endocrinologists
  Network             and associated clinical staff, and has negotiated competitive pricing across this network.
                      If you use an in-network WINFertility provider, you will have the associated costs
                      automatically processed by WINFertility as the services are received, up to the lifetime
                                                                            f-pocket at the time of service and will not
                      have to submit claims for reimbursement. Ancillary services prescribed by the WINFertility
                      provider to outside labs, facilities, or providers may not be payable directly by WINFertility, but
                      would be eligible for reimbursement.
                      If you use an out-of-network provider, you will pay for those services out-of-pocket and then
                      submit a request for reimbursement to WINFertility. Claims must be submitted within six
                      months of when the expenses are incurred.
  Lifetime            The Program provides benefits for covered services, up to a per-person lifetime maximum of
  Maximum             $30,000 in benefits for medical and prescription drug costs.
  Benefit




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  Participating in the Program

  U.S. benefits-eligible employees who have completed the Introductory Period and their covered
  spouses/domestic partners are eligible for fertility benefits only if they meet the following requirements:
     The person receiving the fertility services is enrolled in the JPMorgan Chase U.S. Medical Plan,
     The person receiving the fertility services and their partner (if applicable and clinically linked to the
     fertility treatment) have not received a medical diagnosis of infertility,
     The person receiving the fertility services has enrolled with WINFertility, the administrator of fertility
     benefits, and
     The expenses are incurred while the person receiving the fertility services was enrolled in the Medical
     Plan.



  You are not eligible for Fertility Program benefits if you
  there is a medical diagnosis of infertility. If there is a medical diagnosis of infertility, you may quality for
  infertility benefits under the JPMorgan Chase U.S. Medical Plan in lieu of this fertility benefit.
  Your family members other than your spouse/domestic partner, such as your children, are not eligible for
  benefits under the Fertility Benefits Program, even if they are covered by the JPMorgan Chase U.S.
  Medical Plan.
  The services incurred by egg and sperm donors that may be involved in the fertility treatment are not
  covered under this benefit.

  Enrolling
  To be eligible for benefits from the Fertility Benefits Program, you must enroll in the program by calling
  WINFertility and completing a consultation with a WINFertility Nurse Care Manager.
  If you do not call and complete a consultation, you will not be eligible for benefits and you will not be
  reimbursed for fertility services incurred prior to enrollment.

  When Coverage Begins
                                                          y after you complete your consultation with a
  WINFertility Nurse Care Manager.
  There is no retroactive coverage. For example, if you receive fertility services and then call WINFertility
  and have a consultation with a Nurse Care Manager after receiving those services, Fertility Benefits
  Program benefits will not be payable for any services received before your consultation.

  Cost of Coverage
  There is no additional payroll contribution cost for the Fertility Benefits Program benefits; your payroll
  contributions for the U.S. Medical Plan also covers the Fertility Benefits Program benefits. The Fertility
  Benefits Program benefits are in addition to the benefits you receive as a member of the U.S. Medical
  Plan.




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  When Coverage Ends
  Your eligibility for the Fertility Benefits Program ends when your coverage under the JPMorgan Chase
  U.S. Medical Plan ends, unless you elect Medical Plan coverage under COBRA. For details, see




  Our Partner, WINFertility
  JPMorgan Chase has partnered with WINFertility as the claims administrator for the Program. WINFertility
  is a fertility benefit management company that offers integrated fertility management services to
  participants in the JPMorgan Chase U.S. Medical Plan (e.g., clinical oversight, advocacy, and nurse care
  managers that provide support throughout the fertility journey).
  Fertility-related medical and drug expenses incurred under the Fertility Benefits Program will be managed
  and processed by WINFertility, and not the carriers responsible for the U.S. Medical Plan (i.e., Aetna,
  Cigna or CVS Caremark).



  WINFertility has a network of providers that feature credentialed reproductive endocrinologists and
  associated clinical staff, and has negotiated competitive pricing across this network.

  If You Have Other Coverage
  If your fertility care expenses are covered by another source (such as an insurance company) or under a
                                                       employer or any government provided assistance,
  then those expenses will not be eligible for reimbursement under the JPMorgan Chase U.S. Fertility
  Benefits Program.




  The following services are covered up to a $30,000 total lifetime benefit             Confirm Coverage
  maximum*:
                                                                                        The services listed here
     Artificial insemination / intrauterine insemination under medical supervision      are not a complete list.
                                                                                        To confirm that your
     Advanced reproductive technologies:
                                                                                        treatment is covered
        In-Vitro Fertilization                                                          under the plan, call
                                                                                        WINFertility at
        Reciprocal IVF is covered if the patient receiving treatment is an eligible     (833) 439-1517,
        member and is enrolled in the program with WINFertility                         weekdays from 9 a.m.
                                                                                        through 7:30 p.m.
        Frozen Embryo Transfer                                                          Eastern Time.
        Cryopreservation for the following:
        -   Blastocysts(s) and embryo(s) from covered IVF cycles. Covered blastocyst and embryo storage
            is limited to one year.
                All frozen embryos stored after a completed cycle with ovarian stimulation must be utilized
                prior to coverage availability for another ovarian stimulation cycle. Embryo transfer
                guidelines per the American Society of Reproductive Medicine should be followed for all
                embryo transfers (fresh and frozen cycles) and elective single embryo transfer should be
                utilized when clinically appropriate
     Medically necessary diagnostic workup and radiology services




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       Pathology and laboratory services, including:
           Hormonal assays
           Swimup semen analysis, as appropriate
           Ultrasound exams
           Ova identification
           Fertilization and embryo culture
           Embryo, gamete-zygote transfer
           Preimplantation Genetic Diagnosis* and Preimplantation Genetic Screening
       Medications necessary for the procedures above, including parenteral injection and oral ovulation
       induction drugs.
  *    Preimplantation Genetic Diagnosis may be covered under your Medical Plan.


  The Lifetime Maximum
  Under the Program, the firm may pay for or reimburse qualified, non-duplicative expenses up to a lifetime
  maximum of $30,000 per eligible person receiving fertility services (i.e., the employee in the U.S. Medical
  Plan or their enrolled spouse/domestic partner) for fertility treatment.
  Note that in cases where both individuals are employees of JPMorgan Chase and both are enrolled in the
  U.S. Medical Plan, the $30,000 lifetime maximum is for each employee.
  The $30,000 lifetime maximum applies to all fertility-related expenses processed through the Fertility
  Benefits Program, including both in-network and out-of-network services. Expenses related to a person
  receiving healthcare services once pregnant, including the delivery, would be covered under the
  JPMorgan Chase U.S. Medical Plan.
  If, during the course or treatment, it is determined that there is a medical diagnosis of infertility,
  WINFertility will assist you with transitioning to your JPMorgan Chase U.S. Medical Plan health care
  company to utilize the infertility benefit. The infertility benefit as a separate lifetime maximum and the
  expenses for treatment under the fertility benefit will not count towards the infertility maximum.




  The following services are not covered:
       Donor expenses for donated oocytes or sperm, including all medical expenses, travel expenses,
       agency, laboratory and donor fees, psychological screening, FDA testing for the donor and partner,
       genetics screening and all medications for the donor (e.g. suppression medications, stimulation
       medications)
       Surrogacy expenses
       Services requested which are not medically appropriate, as determined by WINFertility in its sole
       discretion
       Elective egg freezing
       Cryopreservation of sperm or oocytes prior to gender reassignment
       Embryo adoption
       Services not specifically listed as covered in this benefit
       At-home inseminations
       Fertility services for an eligible member who has a diagnosis of medical infertility


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  Claiming Benefits
  The following explains when and how to file claims for fertility services. For more information on your


  How to File Claims
  Rules regarding claims depend on whether you use a WINFertility in-network provider or an out-of-
  network provider, as shown below:

  Provider                        Claims Process
  WINFertility In-Network         If you use a WINFertility in-network provider, you will have the associated
  Provider                        costs automatically processed by WINFertility as the services are received,
                                  up to the lifetime maximum. This mean
                                  for services provided by the WINFertility provider and will not have to
                                  submit claims for reimbursement. Ancillary services prescribed by the
                                  WINFertility provider to outside labs, facilities, or providers may not be
                                  payable directly by WINFertility, but would be eligible for reimbursement.
  Out-of-Network                  If you use an out-of-network provider, you will pay for those services out-of-
  Provider                        pocket and then submit a request for reimbursement of eligible services to
                                  WINFertility, up to the lifetime maximum. Claims must be submitted within
                                  six months of when the eligible expenses are incurred.




  Your request for reimbursement must include the following:
     A complete WINFertility Out-of-Network Reimbursement Form which can be found on parents@jpmc;
     An itemized statement or claim form indicating the description of services, dates incurred, amounts,
     and name of the patient/person receiving the fertility services;
     Proof of payment.
  Separate claim forms must be submitted for each family member for whom a claim is made.

  Where to Submit Claims
  WINFertility is the Fertility Benefit
  Documentation can be emailed to:
     reimbursementclaims@winfertility.com
  or mailed to:
     WINFertility
     Greenwich American Center
     One American Lane, Terrace Level
     Greenwich, CT 06831
     Attn: Claims Department
     (833) 439-1517
  Representatives can be reached from 9 a.m. to 7:30 p.m., Eastern Time, Monday through Friday.




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  Appealing a Claim
  If a claim for reimbursement under the Fertility Benefits Program is denied, either in whole or in part, you

  page 287.

  Help Pursuing Claims

  You may authorize someone else to pursue claim information on your behalf. If you do so, you must notify the claims
  administrator in writing of your choice of an authorized representative.
  Your claims administrator will provide you with a HIPAA (Health Insurance Portability and Accountability Act of 1996)
  consent form that you must use to specify the extent to which your personal representative is authorized to act on
  your behalf. This form must be on file with your claims administrator prior to any action by your personal
  representative.
  If you would like to designate an authorized representative for claims related to eligibility to participate in a plan,
  please contact the HR Answers Benefits Contact Center.




  For many of the JPMorgan Chase Health Care and Insurance Plans for Active Employees benefits,
  certain life changes and events can give you special opportunities to change your decisions to participate
  or to decline coverage under certain benefits.
  Because participation in the U.S. Fertility Benefits Program requires that you be enrolled for coverage in
  the JPMorgan Chase U.S. Medical Plan, please see the                         section of Your JPMC
  Benefits Guide, available at www.jpmcbenefitsguide.com and in print on request to the HR Answers
  Benefits Contact Center at 877-JPMChase ((877) 576 2427), for details on when you can adjust your
  participation in the JPMorgan Chase U.S. Medical Plan. For more information, see the Benefits Status
  Change Guide on My Health > Learn About the JPMC Benefits Program.



  Continuing Health Coverage Under COBRA
  Health care and wellness program benefits for you, and your covered dependents, end as of the last day
  of the month in which you leave the firm. If you are currently enrolled in the Medical Plan (including the
  Fertility Benefits Program and Medical Reimbursement Account [MRA]), Dental Plan, Vision Plan, or
  Health Care Spending Account, you may elect to continue this coverage for you and your eligible covered
  dependents for up to 18 months by enrolling in the Consolidated Omnibus Budget Reconciliation Act
  (COBRA). Also under COBRA, you may elect to continue participating in certain wellness-related programs

  Under the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA), you and your covered
  dependents have the right to continue health care coverage at your own expense for a certain period of
  time if your JPMorgan Chase-provided health care

  Your covered dependents include your spouse and your eligible dependent children who are covered at

  JPMorgan Chase may provide COBRA-like health coverage if the domestic partner was covered under
  the JPMorgan Chase Medical Plan, Dental Plan, Vision Plan, and/or Employee Assistance Program at
  the time coverage ended.
  COBRA coverage applies to the Medical Plan as well as certain other health care plans.




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  If you elect COBRA Medical Plan coverage, the U.S. Fertility Benefits Program is included in that election.
  This section regarding COBRA may make references to dependent children. As a reminder, dependent
  children are not eligible for benefits under the Fertility Benefits Program.
  More details about coverage under COBRA are available through the HR Answers Benefits Contact
  Center.

  Qualified Beneficiary

  Individuals eligible for COBRA continuation coverage ar
  includes the covered spouse and eligible dependent children of a covered employee, and, in certain cases, the
  covered employee.
  Under current law, to be considered a qualified beneficiary, an individual must generally be covered under a group
  health plan on the day before a qualifying event occurs that causes a loss in coverage (such as termination of
  employment or a divorce from or death of the covered employee). In addition, a newborn child or a child who is
  placed for adoption with the covered employee during the period of COBRA continuation coverage is also considered
  a qualified beneficiary.


  Qualifying Events
  You, your spouse, and your dependent children may elect COBRA coverage for varying lengths of time,
  depending on the circumstances under which your JPMorgan Chase health care coverage ends:
     If Your Employment Terminates or Your Work Hours Are Reduced. If you lose coverage because
     your employment terminates (for any reason other than gross misconduct) or your work hours are
     reduced, you and/or your covered dependents may purchase COBRA coverage for up to 18 months.
     Certain events may extend this 18-month COBRA continuation period:
         If your covered dependents experience any second qualifying event within the original 18-month
         period, they (but not you) may extend the COBRA continuation period for up to an additional 18
         months (for a total of up to 36 months from the original qualifying event).
         If you become eligible for Medicare while employed (even if this is not a qualifying event for your
         covered dependents because they do not lose coverage) and then a second qualifying event (such
         as your termination of employment or reduction in hours of work) happens within 18 months, your
         covered dependents may elect COBRA continuation for up to 36 months from the date that you
         become eligible for Medicare.
     If Your Covered Dependents Lose Coverage. If your spouse and/or your dependent children lose
     coverage because of any of the circumstances listed below, they may purchase COBRA coverage for
     up to 36 months from the date that coverage ends because:
         You pass away;
         You divorce your spouse or become legally separated;
         You become eligible for Medicare; or
         Your dependent child loses dependent eligibility status under the terms of the plan (for example,
         the end of the month in which your dependent child reaches age 26).
     If You or Your Covered Dependents Become Disabled. If you or one of your covered dependents
     becomes disabled under the Social Security Administration guidelines within 60 days of a qualifying
     event, or you are disabled at the time COBRA coverage is initially offered, you and your covered
     dependents may continue COBRA coverage for an additional 11 months beyond the initial 18 months,
     to a total of 29 months. You must notify HR Answers, the COBRA Administrator, within 60 days after
     Social Security issues a determination of disability status and before the initial 18-month COBRA
     coverage period ends. You also must notify the COBRA Administrator within 30 days after Social
     Security determines the end of disability status for you or your covered dependent.




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  If a second qualifying event occurs at any time during this 29-month disability coverage period, your
  covered dependents (but not you) may continue COBRA coverage for an additional seven months, to a
  total of 36 months.

  Continuation Coverage for a Domestic Partner Dependent
  A domestic partner or the children of a domestic partner who are not your tax dependents are not eligible
  for COBRA continuation coverage under federal law. However, JPMorgan Chase provides COBRA-like
  coverage if your domestic partner (and his or her eligible children) was covered under the
  JPMorgan Chase Medical Plan, Dental Plan and Vision Plan, at the time coverage ended. Call HR
  Answers for more information.
  The rate for domestic partner continuation coverage will be the same as the COBRA rate. Contributions
  will be made on an after-tax basis and will represent the full value of the coverage plus 2%. If you pass
  away while continuing your own coverage under COBRA, coverage may be continued by your covered
  domestic partner for a total of 36 months.
  If a second qualifying event occurs anytime within the original 18-month period, COBRA continuation
  coverage may be extended for an additional 18 months, for a total period of 36 months.

  Giving Notice of a COBRA Qualifying Event
  If your employment terminates, your work hours are reduced, or you pass away, and this results in a loss
  of benefits under the Medical, Dental, or Vision Plans, the COBRA Administrator automatically will notify
  you or your covered eligible dependents about your right to elect continued coverage under COBRA. You
  will receive the necessary election forms to your home address of record within 14 days from the date
  that the COBRA Administrator is notified of your eligibility for COBRA coverage.
  However, if you divorce or your eligible dependent child loses dependent status under the terms of the
  plan, you or one of your covered dependents must contact the HR Answers Benefits Contact Center at
  877-JPMChase ((877) 576-2427) within 60 days of any such event. If notice is not received within that
  60-day period, your dependents will not be entitled to elect COBRA continuation coverage. Notice must
  be provided to the COBRA Administrator and must include the following information: the name of the
  employee or qualified beneficiaries requesting coverage, the qualifying event and the date of the
  qualifying event. In addition, you may be asked to provide supporting documentation such as a divorce
  decree. Otherwise, your covered dependents will not be eligible to elect continued coverage under
  COBRA.
  If a qualified beneficiary experiences a second qualifying event that would           Updating Your
  entitle him or her to additional months of continuation coverage, he or she must      Personal Contact
  notify the COBRA Administrator. This notice must include the:                         Information
     Name of the employee;                                                              To ensure that you
     Name of the qualified beneficiary receiving COBRA coverage; and                    receive information to
                                                                                        enroll in COBRA, please
     Type and date of the second qualifying event.                                      contact the HR Answers
                                                                                        Benefits Contact Center
  This notice must be provided within 60 days from the date of the second               to update your personal
  qualifying event (or, if later, the date coverage would normally be lost because      contact information as
  of the second qualifying event). In addition, the qualified beneficiary may be
  asked to provide a copy of a death certificate or divorce decree.                     contact information.

  When the plan is notified that one of these events has happened, the qualified
  beneficiary will automatically be entitled to the extended period of COBRA
  continuation coverage. If a qualified beneficiary fails to provide the appropriate notice and requested
  supporting documentation during this 60-day notice period, the qualified beneficiary will not be entitled to
  extended continuation coverage.




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  If you are a former employee and you have a newborn or adopt a child while you are on COBRA
  continuation coverage and you enroll the new child for coverage, the new child will be considered a
  qualified beneficiary rather than an after-acquired dependent. This gives the child additional rights, such
  as the right to continue COBRA benefits even if you pass away during the COBRA period, and the right to
  an additional 18 months of coverage if a second qualifying event occurs during the initial 18-month
  COBRA period after your termination or retirement.

  Choosing COBRA Coverage
  You and/or your covered dependents must choose to continue coverage within 60 days after the later of
  the:
     Date you and/or your covered eligible dependents would lose coverage because of the qualifying
     event; or
     Date you are notified of your and/or your cove
     because of the qualifying event (that is, the date of your COBRA Enrollment Notice).
  If you make no election during the 60-day period, you waive your right to continue coverage. Each
  qualifying beneficiary has an independent right to elect COBRA coverage. Covered employees may elect
  coverage on behalf of their spouses, and parents may elect coverage on behalf of their children.
  You will receive COBRA materials approximately two weeks after the date they are notified of the
  qualifying event. These materials will describe the enrollment instructions and time frames for making
  your elections. You will have a period of 60 days from the date of your qualifying event to elect COBRA
  coverage. Important Note: You must make an election at the time
  automatically provided.

  Premium Due Dates
  If you elect to continue coverage under COBRA, you must pay the first two premiums (including all
  premiums due but not paid) within 45 days after your election. Thereafter, COBRA premiums are due on
                                                      s coverage, and must be paid within 30 days of each
  due date. If you elect to continue your coverage under COBRA but do not make timely payments (even if
  you do not receive a bill), your coverage will be terminated retroactively to the time frame applicable to
  your last payment and will not be reinstated. As it relates to the U.S. Fertility Benefits Program, the cost of
  this coverage is included in your U.S. Medical Plan premiums; there is not a separate premium for this
  program.

  Coverage During the Continuation Period
  With respect to Medical Plan and Dental Plan coverage, you and your covered dependents may choose
  to continue the coverage option that you had as an active employee or you may elect a different option at
  the time you initially enroll for COBRA coverage. (Because the Vision Plan has only one option, there is
  no opportunity to change that coverage if you continue it under COBRA.) If coverage is changed for
  active employees, the same changes will be provided to individuals with COBRA coverage. In addition,
  you and your covered dependents may change coverage during Annual Benefits Enrollment, if a qualified
  change in status occurs, or at other times, to the same extent that active employees may do so.
  Please Note: Although JPMorgan Chase allows you to elect a different option at the time of your initial
  COBRA election, not all plans allow a change. Generally, all self-insured options allow a change at this
  time. It is the responsibility of the employee to contact the health care administrator of his or her Medical
  and Dental Plan option to verify if coverage is available.

  COBRA Coverage Costs
  If you choose to continue coverage under COBRA, you will generally pay the full cost for yourself and/or
  your qualified beneficiaries, plus a 2% administrative fee. If COBRA coverage is extended because of a
  disability, the rates for coverage during the additional 11 months are 150% of the full cost.



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  If a second qualifying event occurs during the initial 18-month period of COBRA coverage, the 102% rate
  applies to you and your qualified beneficiaries for the full 36 months of COBRA coverage, even if you or
  one of your covered dependents becomes disabled. However, if a second qualifying event occurs during
  an extended disability coverage period, then the rates of coverage will continue at the higher disability
  coverage rates explained above.

  Company-Subsidized COBRA Coverage
  If you are eligible for benefits under the U.S. Severance Pay Plan, you will receive a COBRA subsidy and
  will pay the active employee rate for medical coverage under COBRA for the lesser of 1) six months; or
  2) the number of months of severance benefits you receive. For calculation purposes, four weeks of
  severance pay equal one month, and fractional months are rounded up to the next higher whole number
  of months (for example, 11 weeks would be rounded up to three months). This subsidy will apply to
  medical and dental coverage only (the Vision Plan, Health Care Spending Account Plan, and the
  Wellness Program are not subsidized by JPMorgan Chase, including under COBRA for individuals
  receiving severance benefits). Your eligibility for company-subsidized COBRA coverage is conditioned
                                                               Regardless of whether you were ever informed
  that you are eligible for benefits under the U.S.
  determination that you engaged in misconduct or violat
  during the COBRA subsidy period or that you could have been terminated for cause will render you
  ineligible for a COBRA subsidy. Unsubsidized COBRA coverage (102% of the total cost of coverage) will
  be available after the end of the subsidized portion of the COBRA period for the remainder of the 18-
  month COBRA continuation period.
  Company-subsidized COBRA coverage is also available for your eligible, covered survivors, if you pass
  away as an active employee. Continuing coverage is available at the active employee costs for up to 36
  months.

  How Continued Coverage Could End
  Under COBRA rules, coverage will end for you and/or your covered dependents when the first of the
  following occurs:
     Your COBRA coverage period ends;
     You do not make the required premium payments for coverage on a timely basis;
     You obtain coverage under another group plan that does not exclude or limit coverage for pre-existing
     conditions. However, if the new plan does have pre-existing conditions or limits, you can continue your
     COBRA coverage for that specific condition up to the end of your original maximum COBRA period
     (18 or 36 months, depending on your situation);
     You become eligible for Medicare. However, if you become eligible for Medicare, your covered
     dependents may be eligible to continue coverage through COBRA for up to 36 months from the date
     of the original qualifying event;
     In the case of an extended disability coverage period, you or your covered dependent is no longer
     considered disabled under Social Security guidelines;
     For newborns and children adopted by or placed for adoption with you during your COBRA
     continuation period, the date your COBRA coverage period ends, unless a second qualifying event
     occurs; or
     JPMorgan Chase terminates the plan.

  Additional Questions About COBRA Coverage
  If you have additional questions about your COBRA coverage, please call the HR Answers Benefits
  Contact Center at (877) JPMChase ((877) 576-2427), or (212) 552-5100, if calling from outside the United
  States. Service Representatives are available Monday through Friday, from 8 a.m. to 7 p.m., Eastern
  Time, except certain U.S. holidays.


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  Program Administration
  This section provides you with important information as required by the                    About This Section
  Employee Retirement Income Security Act of 1974 (ERISA) about the U.S.                     This section summarizes
                                                                                             administrative and rights
                                                                                             information for the U.S.
  provide you with benefits, by choosing to do so, ERISA mandates that                       Fertility Benefits
                                                                                             Program. Please retain
  JPMorgan Chase clearly communicate to you how the plans subject to the                     this section for your
  provisions of ERISA operate and what rights you have under the law regarding               records.

  plan benefits.

  For most plans, the summary plan description and the plan document are the same document. For plans
  where this is not the case, copies of the plan documents are filed with the plan administrator and are
  available upon request.

  Questions?

  For questions or concerns regarding the U.S. Fertility Be
  provider, WINFertility, at (833) 439-1517. Representatives are available Monday through Friday, from 9 a.m. to
  7:30 p.m. Eastern Time.
  For questions about eligibility and plan operations, contact the HR Answers Benefits Contact Center, at
  877-JPMChase ((877) 576-2427) (or (212) 552-5100, if calling from outside the United States). Service
  Representatives are available Monday through Friday, from 8 a.m. to 7 p.m. Eastern time, except certain U.S.
  holidays.


  General Information
  The following summarizes important administrative information about the U.S.               Keep Your
  Fertility Benefits Program.                                                                Information Current

  Program Sponsor                                                                            Update your contact
                                                                                             information (home
     JPMorgan Chase Bank, NA                                                                 address and phone
     545 Washington Boulevard                                                                numbers) on My
     12th Floor                                                                              Personal Profile. To
     Mail Code: NY1-G120                                                                     access My Personal
     Jersey City, NJ 07310                                                                   Profile while actively
                                                                                             employed, go to
  (Certain participating companies have adopted the U.S. Fertility Benefits                  https://mpp.jpmchase.net
  Program for their eligible employee
  page 289 for a list of participating companies.)

  Program Year


  Plan Administrator
     JPMorgan Chase U.S. Benefits Executive
     c/o JPMorgan Chase Benefits Administration
     545 Washington Boulevard
     12th Floor
     Mail Code: NY1-G120
     Jersey City, NJ 07310


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  Claims Administrator
  WINFertility, at (833) 439-1517.

  COBRA Administrator
  COBRA questions should be directed to JPMorgan Chase HR Answers Benefits Contact Center.
  COBRA payments should be directed to:
     COBRA Payments JPMorgan Chase
     P.O. Box 27524
     New York, NY 10087-7524
     (877) 576-2427

  Benefits Fiduciaries
                                                     for information on benefits fiduciaries.

  Agent for Service of Legal Process
  Legal Papers Served:
     JPMorgan Chase & Co.
     4 Chase Metrotech Center
     FL 18, NY1-C312
     Brooklyn, NY 11245
  Service of legal process may also be made upon a plan trustee or the Plan Administrator.

  Employer Identification Number
  XX-XXXXXXX

  Plan Administrative Information
  Plan Name/           Insurer                         Payment of Benefits               Type of
  Number                                                                                 Administration
  JPMorgan             Not Applicable (no insurer)     WINFertility, Inc.                Self-Insured/Trustee
  Chase Medical                                        Greenwich American Center
  Plan (U.S.                                           One American Lane
  Fertility Benefits                                   Terrace Level
  Program)/502                                         Greenwich, CT 06831
                                                       (833) 439-1517




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  Participating Companies
  In some cases, affiliates or subsidiaries of JPMorgan Chase have decided to participate in the U.S.
  Fertility Benefits Program. These affiliates or subs

  at any time.
     Bear Stearns Asset Management, Inc.                         J.P. Morgan Investment Management Inc.
     Connexions Loyalty Acquisition, LLC                         J.P. Morgan Securities, LLC
     eCast Settlement Corp                                       J.P. Morgan Trust Company of Delaware
     FNBC Leasing Corporation                                    JPMorgan Chase Bank, National Association
     Highbridge Capital Mgmt, LLC                                JPMorgan Chase Holding LLC
     InstaMed Communications, LLC                                JPMorgan Distribution Services, Inc.
     J.P. Morgan Alternative Asset Management,                   Neovest, Inc.
     Inc.
                                                                 Paymentech, LLC
     J.P. Morgan Chase Custody Services, Inc.
                                                                 Security Capital Research & Management,
     J.P. Morgan Electronic Financial Services,                  Incorporated
     Inc.
                                                                 WePay Inc.
     J.P. Morgan Institutional Investments, Inc.
                                                                 55i, LLC
     J.P. Morgan Investment Holdings LLC

  Your Rights Under ERISA
  The Employee Retirement Income Security Act of 1974 (ERISA) gives you certain rights and protections
  while you are a participant in the U.S. Fertility Benefits Program. It is unlikely you will need to exercise
  these rights, but it is important that you be aware of what they are.
  ERISA provides that all plan participants are entitled to:
     Examine, without charge, at the office of the Plan Administrator, all plan documents including
     insurance contracts and copies of all documents filed by the plans with the U.S. Department of Labor,
     such as detailed annual reports (Form 5500 Series).
     Obtain, upon written request to the Plan Administrator, copies of all plan documents and other plan
     information (for example, insurance contracts, Form 5500 Series, and updated summary plan
     descriptions). The plan administrator may require reasonable charges for the copies.
                                                               rts. (The plan administrator is required by law to
     furnish each participant with a copy of such reports.)
     Continue health care coverage for yourself, your spouse, or your eligible dependents if there is a loss
     of coverage under the plan because of a qualifying event. You or your dependents may have to pay
     for such coverage. Review this summary plan description and the documents governing the plan on
     the rules governing your COBRA continuation coverage rights.




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  Enforce Your Rights
  If your claim for a welfare benefit is denied or ignored, in whole or in part, you      Keep Your Contact
  have the right to know why this was done, to obtain copies of documents                 Information Current
  relating to the decision free of charge, and to appeal any denial, all within
  certain time schedules.                                                                 Active participants are
                                                                                          required to update their
  Under ERISA, there are steps you can take to enforce the above rights. For              personal contact
  instance:                                                                               information, including
                                                                                          mailing address, to
                                             cuments or the latest annual report          receive benefits-related
     from the plan administrator and do not receive it within 30 days, you may file       information and
     suit in a U.S. federal court. In such a case, the court may require the plan         correspondence. You
     administrator to provide the information and pay up to $110 a day until you          can make changes
     receive the materials, unless they were not sent because of reasons beyond           online via My Personal
     the control of the Plan Administrator.                                               Profile at
                                                                                          mpp.jpmorganchase.
     If you have a claim for benefits that is denied or ignored, in whole or in part,     com. You can also call
     you may file suit in a U.S. state or federal court. In addition, if you disagree     the HR Answers Benefits
                                              f, concerning the qualified status of a     Contact Center at
     domestic relations order or a medical child support order, you may file suit in      877-JPMChase
     federal court.                                                                       ((877) 576-2427).


     you are discriminated against for asserting your rights, you may seek assistance from the U.S.
     Department of Labor, or you may file suit in a U.S. federal court. The court will decide who should pay
     court costs and legal fees. If you are successful, the court may order the person you have sued to pay
     these costs and fees. If you lose, the court may order you to pay these costs and fees, for example, if
     it finds your claim to be frivolous.

  About Plan Fiduciaries
                                                   on responsible for plan administration, claims
  administration, and managing plan assets. The plan fiduciary has a duty to administer the plan prudently
  and in the best interest of all plan members and beneficiaries.

  Prudent Actions by Plan Fiduciaries
  In addition to establishing the rights of plan participants, ERISA imposes duties upon the people who are
  responsible for the operation of the benefits plans. Certain individuals who are responsible for the plans
                                                             ter the plans prudently and in the interest of you,
  other plan members, and beneficiaries. While participation in these plans does not guarantee your right to

  otherwise discriminate against you in any way to prevent you from obtaining your benefits or exercising
  your rights under ERISA.

  Health Care and Insurance Plans for Active Employees
  For the U.S. Fertility Benefits Program, the Plan Administrators delegate fiduciary responsibility for claims
  and appeals to the claims administrators, and to the Health Care and Insurance Plans Appeals
  Committee, where that committee is authorized to decide appeals as described in this summary.




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  Assistance with Your Questions
  If you have any questions about the U.S. Fertility Benefits Program, you should contact the HR Answers
  Benefits Contact Center at 877-JPMChase ((877) 576-2427). If you have any questions about this
  statement or about your rights under ERISA, you should contact the nearest Regional Office of the
  Employee Benefits Security Administration, U.S. Department of Labor, listed in your telephone directory,
  or:
     Division of Technical Assistance and Inquiries
     Employee Benefits Security Administration
     U.S. Department of Labor
     200 Constitution Avenue, N.W.
     Washington, DC 20210
  You may also obtain certain publications about your rights and responsibilities under ERISA by calling the
  publications hotline of the Employee Benefits Security Administration or by visiting www.dol.gov/ebsa via
  the Internet.
  You should also contact the Department of Labor if you need further assistance or information about your
  rights under the Health Insurance Portability and Accountability Act of 1996 (HIPAA), with respect to
  health benefits that are offered through a group health plan, as well as the remedies available if a claim is
  denied in whole or in part.

  Privacy Information
  The privacy of your health information is important to you and to JPMorgan Chase. We are committed to
  protecting your personal health information, and complying with privacy laws, including the Health
  Insurance Portability and Accountability Act (HIPAA). This means that when you complete a Wellness
  Screening or a Wellness Assessment, participate in any health coaching activities, or receive health care
  treatment of any kind, your personal health information is not disclosed to anyone, including
  JPMorgan Chase, without your authorization and except as permitted by HIPAA. (For detailed information
  about your HIPAA Privacy Rights, please see the Privacy Notice found on My Health.)
  If you are enrolled in the U.S. Fertility Benefits Program, WINFertility may have access to your individual
  health care and prescription claims data related to fertility services. WINFertility maintains the
  confidentiality of your information in accordance with privacy regulations such as HIPAA.

  Privacy Notice
  JPMorgan Chase is committed to maintaining the highest level of privacy and discretion about your
  personal compensation and benefits information.
  However, federal legislation under the Health Insurance Portability and Accountability Act (HIPAA) legally

                                                        plans may be used and disclosed, as well as how
  plan participants can get access to their protected health information.

  What Is Protected Health Information?

  Protected health information is considered to be individually identifiable health information as it relates to the:
     Past, present, or future health of an individual; or
     Health care services or products provided to an individual; or
     Past, present, or future payment for health care services or products.

  The information included in this section is a summary of HIPAA privacy regulations. To comply with the
  law, JPMorgan Chase will distribute to you once every three
  Information Under the JPMorgan Chase Health Care
  health information may be used and your rights with regard to this information.



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  You can access the Privacy Notice at My Health or by contacting the HR Answers Benefits Contact
  Center at 877-JPMChase ((877) 576-2427) at any time to request a paper copy. Under HIPAA, protected
  health information is confidential, personal, identifiable health information about you that is created or
  received by a claims administrator (like those under the JPMorgan Chase Medical Plan), and is
                                                          means that a person reading the information could
  reasonably use it to identify an individual.)
  Under HIPAA, the Medical Plan, which includes the U.S. Fertility Benefits Program, may only use and
                                                     in connection with payment, treatment, and health care
  operations. In addition, the Medical Plan must restrict access to and use of protected health information
  by all employees/groups except for those specifically involved in administering the Medical Plan, including
  payment and health care operations. In compliance with HIPAA, the Medical Plan agrees to:
     Not use or further disclose protected health information other than as permitted or required by law;
     Not use or disclose protected health information that is genetic information for underwriting purposes;
     Ensure that any agents (such as an outside claims administrator) to whom the Medical Plan gives
     protected health information agree to the same restrictions and conditions that apply to the Medical
     Plan with respect to this information;
     Not use or disclose the information for employment-related actions and decisions or in connection with
     any other benefit or employee benefit plan of JPMorgan Chase;
     Notify you if a breach of your protected health information is discovered;
     Report to the JPMorgan Chase HIPAA Privacy Officer any use or disclosure of the information that is
     inconsistent with the designated protected health information uses or disclosures;
     Obtain your authorization for any use or disclosure of protected health information for marketing, or
     that is a sale of the protected health information as defined under applicable law;
     Make available protected health information in
     personal information;
     Make available protected health information for amendment and incorporate any amendments to
     protected health information consistent with the HIPAA rules;
     Make available the information required to provide an accounting of disclosures in accordance with the
     HIPAA rules;

     protected health information received from the claims administrators available to the Secretary of
     Health and Human Services for purposes of det                              s compliance with HIPAA;
     Return or destroy all protected health information received in any form from the claims administrators.
     The Medical Plan will not retain copies of protected health information once it is no longer needed for
     the purpose of a disclosure. An exception may apply if the return or destruction of protected health
     information is not feasible. However, the Medical Plan must limit further uses and disclosures of this
     information to those purposes that make the return or destruction of the information infeasible; and
     Request your authorization to use or disclose psychotherapy notes except as permitted by law, which
     would include for the purposes of carrying out the following treatment, payment or health care
     operations:
        Use by the originator of psychotherapy notes for treatment;
        Use or disclosure by the Medical Plan for its own training program; or
        Use or disclosure by the Medical Plan to defend itself in a legal action or other proceeding brought
        by you.




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  If you believe that your rights under HIPAA have been violated, you can file a complaint with the
  JPMorgan Chase HIPAA Privacy Officer or with the Secretary of the U.S. Department of Health and
  Human Services. If you wish to file a HIPAA complaint with the JPMorgan Chase HIPAA Privacy Officer,
  please contact the Privacy Officer for the JPMorgan Chase Health Care Plans in writing at this address:
     HIPAA Privacy Officer for the JPMorgan Chase Health Care Plans
     JPMorgan Chase Corporate Benefits
     4041 Ogletown Road, Floor 02
     Newark, DE, 19713-3159
     Mail Code: DE6-1470

  Claims Related to Eligibility to Participate in the Plans and Plan
  Operations
  This section provides information about the claims and appeals process for questions relating to eligibility
  to participate in the Program, such as whether you meet the requirements of
  employees/dependents/beneficiaries who are allowed to obtain benefits under the plans. In addition, if
  you have a type of claim that is not otherwise described in this summary, including claims related to
  general plan operations, lawfulness of plan provisions, or Section 510 of ERISA, you must file your claim
  in accordance with this section. For informati


  Help Pursuing Claims for Eligibility

  You may authorize someone else to pursue claim information on your behalf. If you would like to designate an
  authorized representative for claims related to eligibility to participate in a plan, please contact the HR Answers
  Benefits Contact Center at 877-JPMChase ((877) 576-2427).


  How to File This Type of Claim and What You Can Expect
  For questions about eligibility to participate in the Program and to receive benefits or about general plan
  operations, please contact the HR Answers Benefits Contact Center.
  If you are not satisfied with the response, you may file a written claim with the plan administrator at the
                                                             The plan administrator will assign your claim for
  a determination. You must file your claim within 90 days of the event giving rise to your claim. You will
  receive a written decision within 90 days of receipt of your claim. Under certain circumstances, this
  90-day period may be extended for an additional 90 days if special circumstances require extra time to
  process your request. In this situation, you will receive written notice of the extension and the reasons for
  it, as well as the date by which a decision is expected to be made, before the end of the initial 90-day
  period. If the extension is required because of your failure to submit information necessary to decide the
  claim, the period for making the determination will begin as of the date you submit the additional
  information, assuming it is provided in a timely fashion.

  If Your Claim Is Denied
  If you receive a notice that your claim has been denied, either in full or in part, the notice will explain the
  reason for the denial, including references to specific plan provisions on which the denial was based. If
  your claim was denied because you did not furnish complete information or documentation, the notice will
  state the additional materials needed to support your claim. The notice will also tell you how to request a
  review of the denied claim and the time limits applicable to those procedures.
  To appeal a denial of the type of claims described in this section, you must submit a written request for
  appeal of your claim to the plan administrator within 60 days after receiving the notice of denial. In
  connection with your appeal, you may submit written comments, documents, records, or other information
  relevant to your claim. In addition, you will be provided, upon written request and free of charge, with
  reasonable access to (and copies of) all documents, records, and other information relevant to your claim.
  The Plan Administrator will decide appeals under the Program.


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  In most cases, a decision will be made within 60 days after you file your appeal. But if special
  circumstances require an extension of time for processing, and you are notified that there will be a delay
  and the reasons for needing more time, there will be an extension of up to 60 days for deciding your
  appeal. If an extension is necessary because you did not submit enough information to decide your
  appeal, the timing for making a decision about your appeal is stopped from the date the plan
  administrator sends you an extension notification until the date that you respond to the request for
  additional information, assuming your response comes within a reasonable time frame.
  Once a decision is reached, you will be notified in writing of the outcome. If an adverse benefit
  determination is made on review, the notice will include the specific reasons for the decision, with
  references to specific plan provisions on which it is based.
  If you would like to file a court action after your
  which sets forth the rules that will apply.

  Claiming Benefits
  This section explains the benefits claims and appeals process for the benefits of the U.S. Fertility Benefits
  Program. It includes detailed information about what happens at each step in the process and includes
  important timing requirements. This section also in

  on page 298. For claims relating to eligibility questions


  Help Pursuing Claims

  You may authorize someone else to pursue claim information on your behalf. If you do so, you must notify the claims
  administrator in writing of your choice of an authorized representative.
  Your claims administrator will provide you with a HIPAA (Health Insurance Portability and Accountability Act of 1996)
  consent form that you must use to specify the extent to which your personal representative is authorized to act on
  your behalf. This form must be on file with your claims administrator prior to any action by your personal
  representative.


  Steps in the Benefits Claims and Appeals Process
  Step 1: Filing Your Initial Claim for Benefits
  In general, when you file a claim for benefits, it is paid according to the provisions of the U.S. Fertility
  Benefits Program. Your initial claims must be filed no later than six months of when the expenses are
  incurred. Generally, in-network claims filing is performed by the physician or care provider.




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  Step 2: Receiving Notification from the Claims Administrator/Plan Administrator if
  an Initial Claim for Benefits Is Denied
  If an initial claim for benefits is denied, the claims administrator or plan                      What Qualifies as a
  administrator will notify you within a
     As soon as reasonably possible but no more than 72 hours for claims
     involving urgent care, where the life of a claimant could be jeopardized (may                  denial, reduction, or
     be oral, with written confirmation within three days). Please Note: You must                   termination of a benefit,
     be notified if your claim is approved or denied.                                               or a failure to provide or
                                                                                                    make a payment, in
     15 days for pre-service claims, where approval is required before receiving                    whole or in part, for a
     benefits, plus one 15-day extension be                                                         benefit. In addition, a
     control.                                                                                       benefit may be denied if
     30 days for post-service claims, where the claim is made after care is                         enough information with
     received, plus one 15-day extension                                                            your initial claim.
     control.
  Under certain circumstances, the claims administrator or Plan Administrator, as
  applicable, is allowed an extension of time to notify you of a denied benefit.
  Please Note: If an extension is necessary because you did not submit necessary information needed to
  process your claim, the timing for making a decision about your claim is stopped from the date the claims
  administrator or plan administrator sends you an extension notification until the date that you respond to
  the request for additional information. You generally have 45 days from the date you receive the
  extension notice to send the requested information to the claims administrator or Plan Administrator.
  Please Note: Concurrent care claims are claims for which the plan has previously approved a course of
  treatment over a period of time or for a specific number of treatments, and the plan later reduces or
  terminates coverage for those treatments. Concurrent care claims may fall under any of the other steps in
  the claims appeal process, depending on when the appeal is made. However, the plan must give you
  sufficient advance notice to appeal the claim before a concurrent care decision takes effect.

                                                                   ministrator/Plan Administrator in the Case of a
  Denied Benefit

  If your initial claim is denied, the claims administrator or plan administrator is legally required to provide an
  explanation for the denial, which will include the following:
     The specific reason(s) for the denial;
     References to the specific plan provisions on which the denial is based;
     A description of any additional material or information needed to process your claim and an explanation of why
     that material or information is necessary; and
                                                                   including a statement of your right to bring a civil
     action under Section 502(a) of ERISA after, and if, your appeal is denied.
     If the benefit was denied based on medical appropriateness, an experimental or unproven treatment, or similar
     exclusion or limit, either an explanation of the scientific or clinical judgment for the denial applying the terms of the
     plan to your medical circumstances, or a statement that such explanation will be provided free of charge upon
     request.
     Any internal rule, guideline, protocol, or other similar criterion relied upon in making the benefit denial, or a
     statement that a copy of this information will be provided free of charge upon request.




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  Step 3: Filing an Appeal to the Claims Administrator/Plan Administrator if an
  Initial Claim for Benefits Is Denied
  If you have filed a claim for benefits and your claim is denied, you have the right to appeal the decision.
  JPMorgan Chase is not involved in deciding appeals for any denied benefit claim under the U.S. Fertility
  Benefits Program.
  The plan administrators delegate all fiduciary responsibility and decisions about a claim for a denied
  benefit under the Fertility Benefits Program to WINFertility.
  Under certain plans including the U.S. Fertility Benefits Program, final appeals for denied claims will be
  heard by a review panel that is independent of both the company and the claims administrators.

  the decision with the claims administrator or plan administrator within 180 days after receipt of the claim
  denial.
  In your appeal, you have the right to:
     Submit written comments, documents, records, and other information relating to your claim.
     Request, free of charge, reasonable access to, and copies of, all documents, records, and other
     information that:
        Was relied upon in denying the benefit.
        Was submitted, considered, or generated in the course of denying the benefit, regardless of
        whether it was relied on in making this decision.
        Demonstrates compliance with the administrative processes and safeguards required in denying
        the benefit.
        For health care: constitutes a policy statement or plan guideline concerning the denied benefit
        regardless of whether the policy or guideline was relied on in denying the benefit.
  You also have the right to receive:
     A review that does not defer to the initial benefit denial and that is conducted by someone other than
     the person who made the denial or
     For a denied benefit based on medical judgment (including whether a particular treatment, drug, or
     other item is experimental or unproven), a review in which the plan fiduciary/claims administrator
     consults with a health care professional who has appropriate training and experience in the field of
     medicine involved in the medical judgment, and who was not consulted in connection with the initial
     benefits denial, nor the subordinate of this person.
     The identification of medical or vocational experts whose advice was obtained in connection with
     denying the benefit, regardless of whether the advice was relied on in making this decision.
     In the case of an urgent care claim where the life of a claimant could be jeopardized, an expedited
     review process in which:
        You may submit a request (orally or in writing) for an expedited appeal of a denied benefit.
        All necessary information, including the decision on your appeal, will be transmitted between the
        plan fiduciary/claims administrator and you by telephone, facsimile, or other available similarly
        prompt method.




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  Step 4: Receiving Notification from the Claims Administrator/Plan Administrator if
  Your Appeal Is Denied
  If your appeal is subsequently denied, the claims administrator or plan administrator is legally required to
  notify you in writing of this decision within
     As soon as reasonably possible but no more than 72 hours for claims where the life of a claimant
     could be jeopardized (urgent care)
     15 days where approval is required before receiving benefits (pre-service claims)
     30 days where the claim is made after care is received (post-service claims)
  The claims administrator or the plan administrator is allowed to take an extension to notify you of a denied
  appeal under certain circumstances. If an extension is necessary, the claims administrator or plan
  administrator will notify you before the end of the original notification period. This notification will include
  the reason(s) for the extension and the date the claims administrator or the plan administrator expects to
  provide a decision on your appeal for the denied benefit. Please Note: If an extension is necessary
  because you did not submit enough information to decide your appeal, the time frame for decisions is
  stopped from the date the claims administrator or the plan administrator sends you an extension
  notification until the date that you respond to the request for additional information.

                                                                  ministrator/Plan Administrator in the Case of a
  Denied Benefit

  If an appeal is denied, the claims administrator or plan administrator is legally required to provide an explanation for
  the denial, which will include the following:
     The specific reason(s) for the denial;
     References to the specific plan provisions on which the denial is based;
                                                          est and free of charge, reasonable access to, and copies of,
     all documents, records, and other information relevant to your claim for benefits; and
     A statement describing any appeal procedures offered by the plan and your right to obtain the information about
     such procedures, and a statement of your right to bring a civil action under ERISA.
     If the benefit was denied based on medical appropriateness, experimental, or unproven treatment, or similar
     exclusion or limit, either an explanation of the scientific or clinical judgment for the denial applying the terms of the
     plan to your medical circumstances, or a statement that such explanation will be provided free of charge upon
     request.
     A description of the expedited review process for urgent care claims in the Medical Plan, where the life of the
     claimant could be jeopardized.
     Any internal rule, guideline, protocol, or other similar criterion relied upon in making the benefit denial, or a
     statement that a copy of this information will be provided free of charge upon request in the Medical Plan.

  The U.S. Fertility Benefits Program requires two levels of appeal, which you must complete if you would
  like to pursue your claim further.

  Step 5: Receiving a Final Appeal by an Independent Review Panel
  If your appeal of a benefits claim is denied, your final appeal for coverage will be heard by a review panel
  that is independent of both the company and the claims administrator.
  The independent review panel hears only appeals that involve medical judgment or a rescission of
  coverage; the panel does not hear appeals about eligibility to participate in a plan or legal interpretation of
  a plan that does not involve medical judgment.




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  Filing a Court Action
  If an appeal is denied (in whole or in part), you may file suit in a U.S. federal court. If you are successful,
  the court may order the defending person or organization to pay your related legal fees. If you lose, the
  court may order you to pay these fees (for example, if the court finds your claim frivolous). You may
  contact the U.S. Department of Labor or your state insurance regulatory agency for information about
  other available options.
  If you bring a civil action under ERISA, you must start the action by the earlier of: (i) one year after the
  date of the denial of your final appeal; or (ii) three years after the date when your initial claim should have
  been filed, regardless of any state of federal statutes relating to limitations of actions. If, however, the
  applicable state or federal law relating to limitations of actions would result in a shorter limitations period
  within which to start the action, the shorter limitations period will apply. You cannot file a suit unless you
  have completed two appeals, if required by the claims administrators.

  Contacting the Claims Administrator
  WINFertility
  Greenwich American Center
  One American Lane, Terrace Level
  Greenwich, CT 06831
  (833) 439-1517

  If You Are Covered by More Than One Health Care Plan
  The JPMorgan Chase U.S. Fertility Benefits Program has provisions to ensure that payments from all of
                                                      the JPMorgan Chase plans would pay if they were
  your only coverage.
  The rules described here apply to JPMorgan Chase Program. The following rules do not apply to any
  private, personal insurance you may have.

  Non-Duplication of Benefits
  The JPMorgan Chase health care plans do not allow for duplication of benefits. If you and your eligible
  dependents are covered under more than one group plan, the primary plan (the one responsible for
  paying benefits first) needs to be determined. The non-duplication provisions of the JPMorgan Chase
  health care plans will ensure that, in total, you receive benefits up to what you would have received with
  the JPMorgan Chase plans as your only source of coverage (but not in excess of that amount), based on

  A summary of coordination rules (that is, how JPMorgan Chase coordinates coverage with another group
  plan to ensure non-duplication of benefits) follows. If you have questions, please contact your health care
  company for help.
                                                          th care plans coordinate benefits with other group
  health care plans:
     Assume your spouse/domestic partner has a necessary covered procedure with a reasonable and
     customary (R&C) charge of $100 after meeting any deductible.
                                                       assume is primary) pays 70% for that procedure,
     your spouse/domestic partner will receive a $70 benefit (70% of $100).



     would pay 80% for this necessary procedure. In this case, your spouse/domestic partner normally
     would receive an $80 benefit (80% of $100) from the JPMorgan Chase plan.




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     Since your spouse/domestic partner already received $70 from his or her primary plan, he or she
     would receive the balance ($10) from the JPMorgan Chase plan.
     If, however, your JPMorgan Chase plan considered the R&C charge to be $80, no additional benefit
     would be payable, as the JPMorgan Chase plan would pay 80% of $80, or $64. As that amount would
     have already been paid by your spouse/domestic
     payable from the JPMorgan Chase plan.

  Determining Primary Coverage
  To determine which health care plan pays first as the primary plan, here are some general guidelines:
     If you are enrolled in the JPMorgan Chase plan and another plan and your other health care plan
                                                       at plan will be considered primary, and it will pay
     first for you and your covered dependents.
     If your covered dependent has a claim, the plan covering your dependent as an employee or retiree
     will be considered primary to this plan.

     covering the parent who has the earlier birthday in a calendar year (based on the month and date of
     birthday only, not the year) will be considered primary. In the event of divorce or legal separation, and
     in the absence of a qualified medical child support order, the plan covering the parent with court-
     decreed financial responsibility will be considered primary for the covered child. If there is no court
     decree, the plan of the parent who has custody of the covered child will be considered primary for the
                                                                                   Health Care Participation
     section.)
     If payment responsibilities are still unresolved, the plan that has covered the claimant the longest pays
     first.
  After it is determined which plan is primary, you
  After the primary plan pays benefits (up to the limits of its coverage), you can then submit the claim to the

  copy of the written Explanation of Benefits from your primary plan.

  Coordination with Medicare
  Medicare is a national health insurance program administered by the Centers for Medicare and Medicaid
  Services (CMS). It generally provides coverage for Americans ages 65 and older. It also provides
  coverage to younger people with a qualifying disability. As long as you remain an active employee with
  JPMorgan Chase, your JPMorgan Chase coverage will be primary, and any Medicare coverage for you
  will be secondary. Additionally, any covered dependents who become eligible for Medicare, while you
  remain an active employee, will also have JPMorgan Chase coverage as primary.
     While you remain an active JPMorgan Chase employee, the JPMorgan Chase health care plans will
     be primary for you and your covered dependents unless those dependents have primary coverage
     elsewhere. If your covered dependents have primary coverage elsewhere, those claims will be
     considered by that primary coverage first, JPMC coverage will be secondary and Medicare will
     consider claims for those health care expenses tertiary (third) Even if you work past age 65 and you
     and/or a covered spouse/domestic partner enroll in Medicare, the JPMorgan Chase plans will consider
     claims for your health care expenses before Medicare while you are an active employee.
     When you are no longer an active JPMC employee or are receiving LTD benefits, Medicare coverage
     will be primary for the Medicare enrolled individual. JPMC coverage will be terminated upon Medicare
     eligibility and coverage in Medicare plans is available from Via Benefits.




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  Right of Recovery
  If the JPMorgan Chase plan provides benefits to you or a covered dependent that are later determined to
  be the legal responsibility of another person or company, the JPMorgan Chase plans have the right to
  recover these payments from you or from the person or company who is determined to be legally
  responsible. Assignment of your claim to a third party does not exempt you from your responsibility for
  repaying the plan. You must notify the JPMorgan Chase plan promptly of any circumstance in which a
  third party may be responsible for compensating you with respect to an illness or injury that results in the
  JPMorgan Chase plan making payments on your behalf.

  Subrogation of Benefits
  The purpose of the JPMorgan Chase health care plans is to provide benefits for eligible health care
  expenses that are not the responsibility of any third party. The JPMorgan Chase plans have the right to
  recover from any third party responsible for compensating you with respect to an illness or injury that
  results in the JPMorgan Chase plans making payments on your behalf or on behalf of a covered
  dependent. This is known as subrogation of benefits. T
  of benefits rights:
     The JPMorgan Chase plans have first priority from any amounts recovered from a third party for the
     full amount of benefits the plans have paid on your behalf, regardless of whether you are fully
     compensated by the third party for your losses.
     You agree to help the JPMorgan Chase plans use this right when requested.
     If you fail to help the JPMorgan Chase plans use this right when requested, the plans may deduct the
     amount the plans paid from any future benefits payable under the plans.
     The JPMorgan Chase plans have the right to take whatever legal action they deem appropriate
     against any third party to recover the benefits paid under the plans.
     If the amount you receive as a recovery from a third party is insufficient to satisfy the JPMorgan Chase
                                                              claim shall be first satisfied before any part of a
     recovery is applied to your claim against the third party.
     The JPMorgan Chase plans are not responsible for any attorney fees, attorney liens, or other

     apply to any amount recovered by any attorney you retain regardless of whether the funds recovered
     are used to repay benefits paid by the plans.
  If you receive a subrogation request and have questions, please contact your health care company.

  Right of Reimbursement
  In addition to their subrogation rights, the JPMorgan Chase health care plans are entitled to
  reimbursements from a covered person who receives compensation from any third parties (other than
  family members) for health care expenses that have been paid by the plans. The following rules apply to

     You must reimburse the JPMorgan Chase plans in first priority from any recovery from a third party for
     the full amount of the benefits the plan paid on your behalf, regardless of whether you are fully
     compensated by the third party for your losses.
     Regardless of any allocation or designation of your recovery made in a settlement agreement or court
     order, the JPMorgan Chase plans shall have a right of full reimbursement, in first priority, from the
     recovery.




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     You must hold in trust for the benefit of the JPMorgan Chase plans the gross proceeds of a recovery,
     to be paid to the plans immediately upon your receipt of the recovery. You must reimburse the plans,
     in first priority and without any set-off or reducti
                                                           by any attorney you retain, regardless of whether
     the funds recovered are used to repay benefits paid by the plans.
     If you fail to reimburse the JPMorgan Chase plans, the plans may deduct any unsatisfied portion of the
     amount of benefits the plans have paid or the amount of your recovery from a third party, whichever is
     less, from future benefits payable under the plans.
  If you fail to disclose the amount of your recovery from a third party to the JPMorgan Chase plans, the
  plans shall be entitled to deduct the full amount of the benefits the plans paid on your behalf from any
  future benefits payable under the plans.

  Special Notice for Employees Who Have Been Rehired by
  JPMorgan Chase
  If your employment has been reinstated with JPMorgan Chase (that is, you have been rehired within 31
  days of your employment termination date or your coverage termination date), you and your dependents
  will be assigned the same U.S. Medical Plan coverage (which includes Fertility Benefits Program
  coverage) you had before your coverage termination date. Please Note: If you are a retired employee
  when rehired, you must take active employee coverage and discontinue any retiree coverage you may
  have elected.
  Please Note: If you are rehired after 31 days of your termination date, you will need to make new benefits
  elections for all plans for which you would like to participate.




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  Defined Terms
  As you read this summary of the JPMorgan Chase U.
  some important terms related to the Program. To help you better understand the Program, many of those
  important terms are defined here.
  Claims              The claims administrator is the company that provides certain claims administration services
  Administrator       for the Program. For the Fertility Benefits Program benefits, the claims administrator is
                      WINFertility.

  COBRA               The Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA) is a federal law that
                      allows you and/or your covered dependents to continue certain health plan coverage on an
                      after-tax basis (under certain circumstances) when coverage would otherwise have ended.

                      coverage. You must elect JPMorgan Chase Medical Plan coverage under COBRA to continue
                      the Fertility Benefit under COBRA. There is no additional charge for the Fertility Benefit under
                      COBRA if Medical Plan coverage is elected.
  Covered             Covered services are services and procedures that are generally reimbursable by the
  Services            Program. While the Program provides coverage for numerous services and supplies, there
                                                                  ice or supply may be necessary, it may not be
                      covered under the Program. Please see the sections that explain what the Program covers
                      and what is not covered for more details.
  Introductory        All employees, including re-employed individuals, begin employment with a 90-day
  Period              introductory period, regardless of the length of the break in employment for re-employed
                      individuals. The introductory period does not apply if an employee transfers or is promoted
                      into a new position or if the employee joins the firm through a merger or acquisition.
                      During the 90-day introductory period of continuous service, employees demonstrate their
                      performance capabilities and assess whether the position is suited to them. The manager also
                      assesses whether the employee is appropriately qualified and suited for the position. The
                      introductory period may also serve as a period of time to complete any training or licensing
                      requirements for the position in which the employee was hired.
                                                                         mes when the introductory period will be

                      employment with JPMorgan Chase) an empl
                      time without prior warning.
  In-Network                                                            rring to whether a provider is part of the
  Provider/Out-of-    WINFertility network (in-network provider) or is not part of the WINFertility network (out-
  Network             of-network provider).
  Provider




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  Your JPMC Benefits Guide
  Effective 1/1/21                                                                    Print and Web
  JPMorgan Chase is committed to providing a comprehensive set of benefits            Versions
  choices to meet different employee needs and lifestyles. In return, we ask our      This Guide is available
                                                                                      as a website, at www
  employees to take an active role in designing a personal strategy to help meet      .jpmcbenefitsguide.com.
  their short-term and long-term health care and insurance and retirement             The website includes
                                                                                      links to PDF versions of
  savings objectives.                                                                 each section, through

  This Guide provides a detailed summary of the Health Care and Insurance             page, in case you want
                                                                                      to download a section to
  Plans for Active Employees of the JPMorgan Chase U.S. Benefits Program.
                                                                                      read it offline.
  To access the Retirement Savings Plans, you must be on the website at
  www.jpmcbenefitsguide.com and click on t
  black horizontal menu bar at the top of the web page. For the plans that are subject to the provisions of
  the Employee Retirement Income Security Act of 1974 (ERISA), this Guide serves as the summary plan
  description for those plans. For most of these plans, this Guide is also the plan document.


  How This Guide Is Organized
  Most of the sections of this Guide describe the details of each benefit plan. Those sections include:
     Health Care Benefits, which includes the Medical, Dental, and Vision Plans;
     Spending Accounts;
     Life and Accident Insurance;
     Disability Coverage, which includes the Short-Term and Long-Term Disability Plans;
     Other Benefits, which includes the Health & Wellness Centers Plan, the Fertility Benefits Program, the
     Group Legal Services Plan, the Group Personal Excess Liability Plan, the Back-Up Child Care Plan,
     the Expatriate Medical and Dental Plans and the Hawaii Medical Plan.




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  Other sections of the Guide cover information that applies to all or most of the             Retirement Savings
  benefit plans. These sections are separated from the specific plan details to
  minimize repetition and to keep related information together. These sections                 The 401(k) Savings Plan
  include:                                                                                     and the Retirement
                                                                                               (Pension) Plan summary
                        , which describes how different life events and situations             plan descriptions are
     can affect your benefits or provide you with opportunities to adjust your                 available at www
     benefits coverage;                                                                        .jpmcbenefitsguide.com,
                                                                                               as PDFs. The SPDs for
     Plan Administration, which provides administrative details such as plan                   those plans are complete
     numbers and statements of your rights, including your right to appeal, which              in the PDFs, and do not
     is required by law; and                                                                   rely on the any of the
                                                                                               other sections of this
     Contacts, with a full list of contact details for all of the plans.                       Guide.
  The section About This Guide provides additional legal information, including
  information about the role this Guide serves as summary plan descriptions


  Questions?

  If you still have questions after reviewing this Guide, there are a number of resources that can provide answers. As a
  first stop, consult the Contacts section.




  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change or
  terminate its benefits plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract or
  guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate the
  employment relationship at any time.




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  About This Guide
  Effective 1/1/21                                                                  About This Summary
  This Guide serves as the summary plan description (SPD) for the following         This section summarizes
  plans of the JPMorgan Chase U.S. Benefits Program, effective as of January 1,     certain information for
                                                                                    the health care and
  2021:                                                                             insurance plans. Please
                                                                                    retain this section for
     The JPMorgan Chase Core Medical Plan                                           your records. Other
                                                                                    sections may be needed
     The JPMorgan Chase Simplified Medical Plan                                     in addition to this section
                                                                                    to provide a complete
                                                                                    summary plan
     The JPMorgan Chase Dental Plan                                                 description (SPD) and/or
                                                                                    plan document for a
     The JPMorgan Chase Vision Plan                                                 plan, including the
                                                                                    sections that describe
     The JPMorgan Chase Spending Accounts                                           the benefits the plan
                                                                                    provides.
     The JPMorgan Chase Basic Life Insurance Plan                                   These
                                                                                    summaries/SPDs/plan
     The JPMorgan Chase Supplemental Term Life Insurance Plan                       documents do not
                                                                                    include all of the details
     The JPMorgan Chase Accidental Death and Dismemberment (AD&D)                   contained in the
                                                                                    applicable insurance
     Insurance Plan                                                                 contracts, if any. For
                                                                                    plans with applicable
     The JPMorgan Chase Business Travel Accident Insurance Plan                     insurance contracts, if
                                                                                    there is a discrepancy
                                                                                    between the insurance
     The JPMorgan Chase Short-Term Disability Plan
                                                                                    contract and the
                                                                                    summary/SPD/plan
     The JPMorgan Chase Long-Term Disability Plan                                   document, the insurance
                                                                                    contract will control.
     The JPMorgan Chase Health and Wellness Centers Plan

     The JPMorgan Chase U.S. Fertility Benefits Program

     The JPMorgan Chase Group Legal Services Plan

     The JPMorgan Chase Group Personal Excess Liability Insurance Plan

     The JPMorgan Chase Back-Up Child Care Plan

     The JPMorgan Chase Expatriate Medical and Dental Plans

     The JPMorgan Chase U.S. Retiree Benefits Program (this document does not include information
     related to the JPMorgan Chase U.S. Retiree Benefits Program; see the PDF available at www
     .jpmcbenefitsguide.com for the entire SPD for the JPMorgan Chase U.S. Retiree Benefits Program)

     The JPMorgan Chase 401(k) Savings Plan (this document does not include information related to the
     JPMorgan Chase 401(k) Savings Plan; see the PDF available at www.jpmcbenefitsguide.com for the
     entire SPD for the JPMorgan Chase 401(k) Savings Plan)




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  An SPD is a legally required document that provides a comprehensive description of benefit plans and
  their provisions. The plans include:

     Plan Administration



     Health Care Participation

     U.S. Benefits Program Year-End Bulletin, December 2019 (Simplified Medical Plan version: AZ & OH
     only)

     Simplified Medical Plan 2020 Annual Enrollment Bulletin

     2020 Simplified Medical Plan Overview for Employees in Arizona and Ohio

     2020 Simplified Year-End Bulletin

     2021 Simplified Annual Enrollment Bulletin

     COVID-related legislative changes to the Health Care Spending Account and the Dependent Care
     Spending Account


  Additional Plan Information
  Your primary contact for matters relating to plan benefit
  provider. Contact HR Answers for information about general administration issues such as enrollment and
  eligibility for the plans.
  Your benefits as a participant in the plans are provided under the terms of this document and insurance
  contracts, if any, issued to JPMorgan Chase. If there is a discrepancy between the insurance contracts
  and this document, the insurance contracts will control.
  Please Note: No person or group (other than the plan administrator for the JPMorgan Chase U.S.
  Benefits Program) has any authority to interpret the plans (or official plan documents) or to make any
  promises to you about them. The plan administrator for the JPMorgan Chase U.S. Benefits Program has
  complete authority in his or her absolute discretion to construe and interpret the terms of the plans and
  any underlying insurance policies and/or contracts, including the eligibility to participate in the plans, and
  to make factual determinations.
  All decisions of the plan administrator for the JPMorgan Chase U.S. Benefits Program are final and
  binding upon all affected parties. The plan administrators delegate their discretion to interpret the plans to
  the claims administrators, and to decide claims and appeals, including making factual determinations, to:
     The claims administrators; and
     The Health and Income Protection Plans Appeals Committee.

  No Assignment of Benefits
  The plans are used exclusively to provide benefits to you and, in some cases, your survivors. Neither you
  nor JPMorgan Chase can assign, transfer, or attach your benefits, or use them as collateral for a loan.
  You may not assign your right to file actions under ERISA regarding the plans, or use power of attorney
  or similar arrangements for that purpose.
  Please Note: You may assign certain employee life insurance benefits and may assign to a health care
  service provider the right to payment. Please contact HR Answers for more information.



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  Right to Amend
  JPMorgan Chase & Co. expressly reserves the right to amend, modify (including cost of coverage),
  reduce or curtail benefits under, or terminate the benefit plans and programs at any time for any reason,
  by act of the Benefits Executive, other authorized officers, or the Board of Directors. In addition, the plans
  and benefits described in this Guide do not represent vested benefits.
  JPMorgan Chase also reserves the right to amend any of the plans and policies, to change the method of
  providing benefits, to curtail or reduce future benefits, or to terminate at any time for any reason, any or all
  of the plans and policies described in this Guide.
  If you have any questions about this plan, please contact HR Answers.

  Not a Contract of Employment
  Neither this Guide nor the benefits described in this Guide create a contract or a guarantee of
  employment between JPMorgan Chase and any employee. JPMorgan Chase or you may terminate the
  employment relationship at any time.

  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents, and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change, or
  terminate its benefits and plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract
  or guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate
  the employment relationship at any time.




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  Effective 1/1/21
  This section describes the impact of certain life changes and events on your JPMorgan Chase Health
  Care and Insurance Plans for Active Employees benefits. Generally, you make elections once a year
  during Annual Benefits Enrollment, unless you have a Qualified Status Change (QSC) or other event,
                                                           lly legally defined situations. See the following
  information for types of changes and implications to your benefits. For more information, see the Benefits
  Status Change Guide on My Health > Learn about the JPMC Benefits Program.

  New Dependents Must Be Verified

  Please Note: If a QSC results in the ability to add a dependent to your coverage, that dependent is subject to the
  dependent verification process from JPMorgan Chase or th
  eligible.




  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents, and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change, or
  terminate its benefits and plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract
  or guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate
  the employment relationship at any time.
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  Qualified Status Changes (QSCs)
  There are many changes in your situation that meet the requirements to be                         If You Have an
  Qualified Status Changes (QSCs). While many of your benefits cannot be
  changed during the year, if you have a QSC, some benefit changes are
  allowed.                                                                                          If you have a QSC, or if
                                                                                                    you are unclear whether
  The following tables summarize the changes that you can make for each event.                      your situation is a QSC,
  They are separated into:                                                                          contact HR Answers to
                                                                                                    get answers on what you
     Health Benefits;                                                                               can do in your situation.
     Spending Accounts;
     Life Insurance Benefits; and
     Accident Insurance Benefits.

  31-Day Deadline

  If you have a QSC, you have 31 days from the qualifying event to make benefits changes; 90 days from the qualifying
  event if the event is the birth or adoption of a child. The benefits you elect will be effective the date of the event if you
  make the elections timely. (Please Note: You will have 90 days from the QSC date to add any newly eligible
  dependents to Medical Plan coverage should that dependent pass away within this 90-day period.). Any changes you
  make during the year must be consistent with the status change. Be sure to ta
  miss the deadline to make any benefit changes!


  Retroactive Payroll Contribution Changes

  If a QSC or other permitted plan change results in retroactive changes to payroll contributions, those changes will be
  reflected on your next administratively available pay.


  QSCs for Health Benefits
                                                                                                  Dependent Child
                                                                  Spouse/Domestic                 or Domestic
  QSC                             Employee                        Partner                         Partner Child
  Marriage                        Add                             Add                             Add
  Domestic Partner
  Commitment                      Add                             Add                             Add
  Divorce, Legal
  Separation, or
  Termination of DP
  Commitment                      Add                             Drop                            Drop
  Death of Spouse/DP              N/A                             Drop                            Drop
  Birth/Adoption/Legal
  Guardianship                    Add                             Add                             Add
  Child Gains Eligibility         Add                             Add                             Add

  Eligible                        Add                             Add                             Add
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                                                                                 Dependent Child
                                                      Spouse/Domestic            or Domestic
  QSC                       Employee                  Partner                    Partner Child
  Child Gains Eligibility
  due to QMCSO              Add                       N/A                        Add
  Child/DP Child no
  Longer Eligible           N/A                       N/A                        Drop
  Death of Child/DP
  Child                     N/A                       N/A                        Drop
  You or Covered
  Dependent Gains           Drop/reduce # of          Drop/reduce # of           Drop/reduce # of
  Other Coverage            dependents                dependents                 dependents
  You or Covered
  Dependent Loses
  Other Coverage            Add                       Add                        Add
  Change in Dependent
  Care Provider or
  Fees                      N/A                       N/A                        N/A
  Move out of Provider
  Service Area              Change option             change option              change option


  QSCs for Spending Accounts*
                                    Health Care Spending                 Dependent Care
  QSC                               Account                              Spending Account
                                                                         Begin, increase, decrease, or
  Marriage                          Begin, increase                      stop
  Domestic Partner                                                       Begin, increase, decrease, or
  Commitment                        Begin, increase                      stop
  Divorce, Legal Separation, or
  Termination of DP                                                      Begin, increase, decrease, or
  commitment                        Decrease, stop                       stop
                                                                         Begin, increase, decrease, or
  Death of Spouse/DP                Decrease, stop                       stop
  Birth/Adoption/Legal
  Guardianship                      Begin, increase                      Begin, increase
  Child Gains Eligibility           Begin, increase                      Begin, increase
                                    Begin, increase                      Begin, increase
  Child Gains Eligibility due to
  QMCSO                             Begin, increase                      N/A
  Child/DP Child no Longer
  Eligible                          Decrease, stop                       Decrease, stop
  Death of Child/DP Child           Decrease, stop                       Decrease, stop
  You or Covered Dependent
  Gains Other Coverage              N/A                                  Decrease, stop
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                                             Health Care Spending                   Dependent Care
  QSC                                        Account                                Spending Account
  You or Covered Dependent
  Loses Other Coverage                       Begin, increase                        Begin, increase
  Change in Dependent Care                                                          Begin, increase, decrease, or
  Provider or Fees                           N/A                                    stop
  Move out of Provider Service
  Area                                       N/A                                    N/A
  *You can change your Transportation Spending Accounts elections at any time.


  QSCs for Supplemental Term Life Insurance Benefits
                                                                                            Dependent
                                                                                            Child/Domestic
  QSC                             Employee                        Adult Dependent           Partner Child
                                  Begin, increase,                                          Begin, increase,
  Marriage                        decrease, or stop               Begin, increase           decrease, or stop
  Domestic Partner                Begin, increase,                                          Begin, increase,
  Commitment                      decrease, or stop               Begin                     decrease, or stop
  Divorce, Legal
  Separation, or
  Termination of DP               Begin, increase,                                          Begin, increase,
  Commitment                      decrease, or stop               Drop                      decrease, or stop
                                  Begin, increase,                                          Begin, increase,
  Death of Spouse/DP              decrease, or stop               Drop                      decrease, or stop
  Birth/Adoption/Legal
  Guardianship                    Begin, increase                 Begin, increase           Begin, increase
  Child Gains Eligibility         Begin, increase                 Begin, increase           Begin, increase

  Eligible                        Begin, increase                 Begin, increase           Begin, increase
  Child Gains Eligibility
  due to QMCSO                    Begin, increase                 N/A                       Begin, increase
  Child/DP Child no
  Longer Eligible                 Decrease, stop                  Decrease, stop            Decrease, stop
  Death of Child/DP
  Child                           Decrease, stop                  Decrease, stop            Decrease, stop
  You or Covered
  Dependent Gains
  Other Coverage                  Decrease, stop                  Decrease, stop            Decrease, stop
  You or Covered
  Dependent Loses
  Other Coverage                  Begin, increase                 Begin, increase           Begin, increase
  Change in Dependent
  Care Provider or
  Fees                            N/A                             N/A                       N/A
  Move out of Provider
  Service Area                    N/A                             N/A                       N/A
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  QSCs for Accidental Death and Dismemberment (AD&D) Benefits
  QSC                       Employee                   Adult                      Child
                            Begin, increase,                                      Begin, increase,
  Marriage                  decrease, or stop          Begin, increase            decrease, or stop
  Domestic Partner          Begin, increase,                                      Begin, increase,
  Commitment                decrease, or stop          Begin                      decrease, or stop
  Divorce, Legal
  Separation, or
  Termination of DP         Begin, increase,                                      Begin, increase,
  Commitment                decrease, or stop          Drop                       decrease, or stop
                            Begin, increase,                                      Begin, increase,
  Death of Spouse/DP        decrease, or stop          Drop                       decrease, or stop
  Birth/Adoption/Legal
  Guardianship              Begin, increase            Begin, increase            Begin, increase
  Child Gains Eligibility   Begin, increase            Begin, increase            Begin, increase

  Eligible                  Begin, increase            Begin, increase            Begin, increase
  Child Gains Eligibility
  due to QMCSO              Begin, increase            N/A                        Begin, increase
  Child/DP Child no
  Longer Eligible           Decrease, stop             Decrease, stop             Decrease, stop
  Death of Child/DP
  Child                     Decrease, stop             Decrease, stop             Decrease, stop
  You or Covered
  Dependent Gains
  Other Coverage            Decrease, stop             Decrease, stop             Decrease, stop
  You or Covered
  Dependent Loses
  Other Coverage            Begin, increase            Begin, increase            Begin, increase
  Change in Dependent
  Care Provider or
  Fees                      N/A                        N/A                        N/A
  Move out of Provider
  Service Area              N/A                        N/A                        N/A




  You Get Married
  Getting married is a Qualified Status Change (QSC) that gives you the opportunity to adjust your
  coverage in ways consistent with your change in status. For example, you could enroll yourself and/or
  your new spouse for coverage.
  Any changes based on a QSC must be submitted within 31 days of the change in status. For more

  If you are using the change to add a new dependent, you will be required to provide documentation of the
                        ibility for coverage.
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  You Have or Adopt a Child or Become a Legal
  Guardian
  Having or adopting a child or becoming a legal guardian of a child is a Qualified Status Change (QSC)
  that gives you the opportunity to adjust your company coverage in ways consistent with your change in
  status. For example, you could enroll your new child for coverage.
  Any changes based on a QSC must be submitted within 31 days of the change in status, but the time
  available is 90 days when the qualifying event is the birth or adoption of a child. For more information, see

  provide documentation of the new de
  (You will have 90 days from the QSC to add any newly eligible dependents to the JPMC Medical Plan
  should that dependent pass away within this 90-day period; please contact HR Answers if this situation
  applies to you.)
  If you are using the change to add a new dependent, you will be required to provide documentation of the
                        ibility for coverage.


  A Covered Dependent Becomes Ineligible
  If your dependent becomes ineligible (such as when a dependent child reaches age 26, for health care
                                                               day of the month in which he or she no longer
  meets the eligibility requirements. For Supplemental Term Life and AD&D, once your dependent is no
  longer eligible, it is your responsibility to remove the dependent from your coverage.
  When coverage ends, the dependent may have a right to elect COBRA for up to 36 months. (Please see
                                          Health Care Participation section for more information on
  COBRA.)
  A covered dependent becoming ineligible is a Qualified Status Change (QSC) that gives you the
  opportunity to adjust your coverage in ways consistent with your change in status. This means you could
  cancel company coverage or stop contributions to spending accounts.
  Any changes based on a QSC must be submitted within 31 days of the change in status. For more
  information, see the subsections in the plan desc


  You and/or Your Dependents Lose Other
  Coverage
  If you declined company coverage because you had coverage from another source and you lose that
  coverage, you may be eligible to enroll for company coverage because of your HIPAA Special Enrollment
  rights. Similarly, if you declined company coverage for an eligible dependent because he or she had
  coverage from another source and he or she loses that coverage, you may be eligible to enroll your
  eligible dependent for company coverage because of your HIPAA Specia
                                       Health Care Participation section for more details.
  Both of these situations are Qualified Status Changes (QSCs) that give you the opportunity to adjust your
  company coverage in ways consistent with your change in status.
  Any changes based on a QSC must be submitted within 31 days of the change in status. For more
  information, see the subsections in the plan descri
  will be required to provide documentation of
  If you are using the change to add a new dependent, you will be required to provide documentation of the
                        ibility for coverage.
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  You and/or Your Dependents Gain Other
  Coverage
  Gaining access to other coverage is a Qualified Status Change (QSC) that gives you the opportunity to
  adjust your coverage in ways consistent with your change in status. This means you could decline
  company coverage and enroll for the newly available coverage, instead.
  Any changes based on a QSC must be submitted within 31 days of the change in status. For more
  information, see the subsections in the plan desc


  You Move
  If you move out of your Medical or Dental Plan option service area and your current option is no longer
  available, you can change Medical and/or Dental Plan option for yourself and your covered dependents.
  (Please Note: In this situation, you will be assigned new coverage by JPMorgan Chase based on your
  new service area. However, you will have the ability to change this assigned coverage within 31 days of
  the qualifying event.)


  You Divorce, Separate or Terminate a
  Domestic Partner Relationship
  Getting divorced, separated, or terminating a domestic partner relationship is a Qualified Status Change
  (QSC) that gives you the opportunity to adjust your coverage in ways consistent with your change in
  status. This means you could decline company coverage or enroll yourself and/or your dependents for
  coverage if you declined it in the past.
  Any changes based on a QSC must be submitted within 31 days of the change in status. For more
  information, see the subsections in the plan desc
  If you are using the change to add a new dependent, you will be required to provide documentation of the
                        ibility for coverage.
  For medical, dental, and vision coverage: If your spouse and/or child(ren) lose medical, dental, or
  vision coverage because of divorce/separation, they may have a right to elect COBRA for up to
                                                                         Health Care Participation section for
  more information on COBRA.)
  If you divorce or become legally separated, certain court orders could require you to provide health care
  benefits to covered child(ren). JPMorgan Chase is legally required to recognize qualified medical child
  support orders within the limits of the JPMorgan Chase
  involves the JPMorgan Chase plans, you should have your attorney contact HR Answers to make sure
  the appropriate documents are filed and that the court order in question is actually a qualified medical
  child support order that complies with governing legi
                 Health Care Participation section for more information.
  For the spending accounts: In case of divorce or separation, you can decrease or stop contributions to
  the Health Care Spending Account and can start, change, or stop contributions to the Dependent Care
  Spending Account.
  For the Life and Accident Insurance Plans: If you divorce or become legally separated, your covered
  spouse/domestic partner would be ineligible to continue coverage under the JPMorgan Chase Life and
  Accident Insurance Plans, and coverage would end as of the date of the status change. Your formerly
  covered spouse/domestic partner can port or convert their dependent Supplemental Term Life Insurance.
  Accidental Death & Dismemberment insurance may be ported. For more details, see the information in
  each plan description about continuing coverage in the Life and Accident Insurance section.
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  For the Group Legal Services Plan: If you divorce or become legally separated, coverage for your
  spouse will end on the date of your divorce or legal separation.
  For the Group Personal Excess Liability Plan: If you divorce or become legally separated, coverage
  for your spouse will end on the date of your divorce or legal separation.



  You Pass Away
  For medical, dental, and vision coverage, including expatriate coverage: If you pass away while
  actively employed at JPMorgan Chase, any dependents who were covered under your JPMorgan Chase
  health care coverage before your death will continue to be covered until the last day of the month in which
  you pass away. Covered dependents can then elect to continue coverage under COBRA and pay the
  active employee rate for coverage for up to 36 months of the COBRA period. Dependents must be
  covered under the Medical Plan at the time of your death to be eligible for COBRA coverage at
                                                                                                 Health Care
  Participation section for more information on COBRA.)
  In addition, your dependents may be eligible to continue coverage under the Retiree Medical, Dental
  and/or Vision Plans if, at the time of death:
      You have already met the general eligibility requirements for retirement. (For more information, please
      see the As You Leave Guide, available on me@jpmc); or
     You have already met the alternative eligibility requirements for retirement in the event of position
     elimination. (For more information, please see the As You Leave Guide as noted above.); or
     You have 25 years of total service with JPMorgan Chase.
  Dependents may continue coverage under the Retiree Medical, Dental and/or Vision Plans as long as

  For the spending accounts: If you pass away, claims for spending accounts for expenses incurred on or
  before the date of death can be filed to the appropriate program administrator, please see the Spending
  Accounts section for more details and the appropriate deadlines.
  For the Life and Accident Insurance Plans: If you pass away, benefits from the Life and Accident
  Insurance Plans are paid to the beneficiary named. If a beneficiary has not been named, then the benefits
                                                                    Life and Accident Insurance section.
     If your dependents are enrolled for supplemental term life and accidental death and dismemberment
     (AD&D) insurance when you pass away, they may port their coverage by contacting MetLife, the
     claims administrator. Your dependents will be directly billed for this coverage. Dependents can also
     convert their supplemental term life insurance; however, they may not convert AD&D coverage.
     (Certain states have additional, specific requirements. Please refer to MetLife for state-specific rules.)
  For the Group Legal Services Plan: In the event of your death while actively employed by
  JPMorgan Chase, your dependents have the option to continue their group legal coverage by contacting
  MetLife Legal Plans within 31 days of the date of your death to extend coverage for an additional 12
  months with direct payment to MetLife Legal Plans. Any services in progress at the time of your death will
  be provided, even if your dependents do
  For the Group Personal Excess Liability Plan: In the event of your death, covered surviving members
  of the household should contact Arthur J. Gallagher Risk Management Services for instructions on paying
  the balance due. If payment is not received within 31 days of the date of the letter sent by Arthur J.
  Gallagher Risk Management Services to the participan
  date of your death. The Plan will also cover any legal representative or person having proper temporary
                                                         will be provided until the end of the policy period or
  policy anniversary date, whichever occurs first, for any surviving member of your household who is a
  covered person at the time of death. Premium payments for this coverage apply.
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  Other Events or Changes
  Change in Scheduled Work Hours
  This section describes how your benefits are affected if your work status changes but you are still
  employed by the company. The focus is on changes to your scheduled work hours. A change in work
  status that changes your eligibility gives you the opportunity to adjust your coverage in ways consistent
  with your change in status. This means you could decline company coverage or enroll for coverage if you
  declined it in the past, and can enroll your eligible spouse for coverage. If your spouse has children and
  they become your eligible dependents, you can also enroll them for coverage.
  Any changes must be submitted within 31 days of the change in status. For more information, see the

                                                   changes and you are regularly scheduled to work fewer
  than 20 hours per week:
     Your JPMorgan Chase medical, dental, and vision coverage will end on the last day of the month
     in which your work status changes and you are then scheduled to work fewer than 20 hours per week.
     Even if your coverage ends, you may be able to continue medical, dental, and/or vision coverage for a
     certain period under the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA). (Please
                                                     Health Care Participation section for more
     information on COBRA.)
     For expatriate coverage, COBRA continuation applies if you are a U.S. home-based expatriate or an
     expatriate assigned to the United States. Non-U.S. home-based expatriate employees assigned
     outside the United States and their dependents are not eligible for COBRA continuation coverage.
     Your contributions to the Health Care Spending Account will end on the last day of the month in
     which your work status changes and you are then scheduled to work fewer than 20 hours per week. In
     this case, you may continue to make contributions to the Health Care Spending Account on an after-
     tax basis under the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA), if elected.
                                                              Health Care Participation section for more
     information on COBRA.)
     Your contributions to the Dependent Care and Transportation Spending Accounts end on the
     date your work status changes and you are then scheduled to work fewer than 20 hours per week.
     For the Basic Life Insurance Plan, Supplemental Term Life Insurance Plan, and the AD&D
     Insurance Plan: Your coverage and eligibility will end on the date of your status change and you are
     then scheduled to work less than 20 hours per week. For more information on when you increase work
     hours to more than 20 hours, please see the Life and Accident Insurance section.
        You can convert your basic life insurance to an individual policy within 31 days of your status
        change date by contacting MetLife, the claims administrator, for a conversion application.
        You can port or convert your employee supplement
        up to the lesser of five times your eligible co
        arrangement with MetLife. Contact MetLife, the claims administrator, within 31 days of your change
        in status. If you port your coverage, you may also port dependent coverage. For more details, see
        the information in each plan description about continuing coverage in the Life and Accident
        Insurance section.
     For the Business Travel Accident Insurance Plan, you remain eligible for coverage regardless of
     your scheduled work hours, if you are otherwise eligible for coverage.
     Your Health & Wellness Centers Plan coverage will end on the last day of the month in which your
     work status changes and you are then scheduled to work fewer than 20 hours per week. Even if your
     coverage ends, you may be able to continue coverage for a certain period under the Consolidated
     Omnibus Budget Reconciliation Act of 1985 (COB
                    Health Care Participation section for more information on COBRA.)
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     Your Group Legal Services Plan coverage will end on the date your work status changes and you
     are then scheduled to work fewer than 20 hours per week. However, you can continue coverage for
     additional 12 months by contacting the MetLife Legal Group.
     Your Group Personal Excess Liability Insurance Plan coverage will end on the date your work
     status changes and you are then scheduled to work fewer than 20 hours per week. However, you may
     continue coverage through the end of year by contacting Arthur J. Gallagher Risk Management.
  For information on becoming eligible for benefits due to a work status change, see each specific plan
  section (e.g., Medical).

  You Go on Short-Term Disability Leave
  Under the Short-Term Disability Plan, you may have the financial protection of full or partial pay for up to
  25 weeks. While you are on a short-term disability leave you may continue many of your elected benefits
  provided you make the necessary contributions. Benefits that do not continue while you are on short-term
  disability leave include Business Travel Accident Insurance, the Dependent Care Spending Account, and
  the Transportation Spending Account.
     For the Medical Plan, the Dental Plan, the Vision Plan, the Health & Wellness Centers Plan, the
     Group Legal Services Plan, and the Group Personal Excess Liability Insurance Plan: For the
     approved period of your disability l
     the Dental Plan, the Vision Plan, the Health & Wellness Centers Plan, the Group Legal Services Plan,
     and the Group Personal Excess Liability Insurance Plan, and you will remain eligible to participate in
     the Health Care Spending Account. JPMorgan Chase will deduct any required contributions for
     medical coverage from the pay you receive during this period on a before-tax basis for the health care
     plans and the Health Care Spending Account and on an after-tax basis for the Group Legal Services
     Plan and the Group Personal Excess Liability Insurance Plan.
        This medical and dental coverage continuation includes expatriate medical and dental coverage. If
        you are not receiving pay via Expat Payroll during your leave, JPMorgan Chase will bill you directly
        for any required contributions.
     For the Dependent Care Spending Account, your participation is suspended during a period of paid
     or unpaid leave.
     For the Transportation Spending Account, your participation is terminated during a period of paid
     or unpaid leave and any unused credits in your account(s) will be forfeited if you do not return to work
     and reenroll in the Transportation Spending Account. If you know you will be going on a leave, you
     should change your contribution amount to zero approximately one month before your leave begins in
     order to avoid forfeiting any contributions. Expenses incurred after your leave begins will not be
     eligible for reimbursement or payment from your account(s). If you wish to continue participation after
     you return to active service, you must re-enroll.
     option, you have 180 days following the end of any particular benefit month you participated in the

     For the Basic Life Insurance Plan, Supplemental Term Life Insurance Plan, and the AD&D
     Insurance Plan: For the approved period of                                 main eligible to be covered
     under the Basic Life Insurance Plan (including Identity Theft (ID) Assistance Program, Travel
     Assistance and Emergency Evacuation services, funeral concierge services, and SurvivorSupport®
     financial counseling services), Supplemental Term Life Insurance Plan, and the AD&D Insurance Plan.
        In the case of the Basic Life Insurance Plan, your eligible compensation is updated as changes
        occur throughout the year.
     For the Business Travel Accident Insurance Plan: While you are on disability leave, your business
     travel accident insurance will be suspended.
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  You Go on Long-Term Disability
  If you receive long-term disability (LTD) benefits from the JPMorgan Chase Long-Term Disability Plan
  (LTD Plan), you will continue to be eligible to participate in the following benefits* as long as you continue
  to make timely premium payments:
      Medical
      Dental
      Vision
      Group Legal
      Group Personal Excess Liability Plan
      Basic Life Insurance (fully paid by JPMC)
      Supplemental Term Life Insurance
      Accidental Death and Dismemberment Insurance
  * You can also continue participation in the Health & Wellness Centers Plan.

                                                       active employee rates for the first 24 months after
  going on approved LTD (that is, 30 months from the date of disability). The premiums will be converted to
  a monthly rate, and you will be required to pay for this coverage monthly on an after-tax basis. You will

  If you are an expatriate and you qualify for long-term disability (LTD) benefits from a JPMorgan Chase
  long-term disability plan, your expatriate assignment will end and, coincidentally, so will your eligibility for
  the Expatriate Medical and Dental Plan options. You must then elect coverage under your home country
  Medical and/or Dental Plan options, if available. If you are a U.S. home-based expatriate employee,
  medical coverage under one of the U.S. domestic options may continue while you are receiving LTD
  benefits under the U.S. LTD Plan. Be sure to consider this carefully before you decline coverage under
  the LTD Plan.
  In certain cases, you may be temporarily approved for additional leave under another JPMorgan Chase
  Policy, such as the Disability and Reasonable Accommodation Policy. (For details on medical plan



  Absent any temporary leave accommodation, your employment with JPMorgan Chase will end
  immediately after you have received 24 months of payments under the LTD Plan. However, you will
  continue to be eligible for LTD benefits provided you meet all eligibility provisions of the LTD Plan. Even if
  your LTD benefits end, you may be able to continue medical, dental, vision, and Health & Wellness
  Centers coverage for a certain period under the Consolidated Omnibus Budget Reconciliation Act of 1985
  (COBRA). (Please see                                                    Health Care Participation section for
  more information on COBRA.)
  Please Note: If you became disabled before January 1, 2011, your coverage will continue at active
  employee rates while you receive benefits under the Long-Term Disability Plan. If you do not make the
  required contributions to continue your coverage, your coverage will be canceled.
  For the Health Care Spending Account, while you are receiving benefits under the JPMorgan Chase
  LTD Plan, you may continue to make monthly contributions to the Health Care Spending Account on an
  after-tax basis via direct bill. Participation in the Health Care Spending Account will cease at the end of
  the benefit plan year in which you start to receive LTD benefits.
  For the Dependent Care Spending Account: For the Dependent Care Spending Account, you may use
  your account balance only for eligible expenses incurred prior to your LTD effective date and must file
  those claims by March 31 of the next calendar year.
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  For the Transportation Spending Account, your participation is suspended and any unused credits in
  your account(s) will be forfeited if you do not return from LTD. If you know you will be going on a leave,
  you should change your contribution amount to zero approximately one month before your leave begins
  in order to avoid forfeiting any contributions. Expenses incurred after your leave begins will not be eligible
  for reimbursement or payment from your account(s). If you wish to continue participation after you return
  to active service, you must re-enroll. However if you participated in
  180 days following the end of any particular benefit month you participated in the program to file claims

  Your Business Travel Accident Insurance Plan coverage does not continue while you are receiving
  LTD benefits.

  You Are on LTD and Become Eligible for Medicare
  If you are receiving full long-term disability (LTD) benefits from the JPMorgan Chase Long-Term Disability
  Plan (LTD Plan), are not actively at work and become eligible for Medicare, Medicare becomes the
  primary source of your medical coverage. You will no longer be eligible for the active JPMorgan Chase
  medical coverage. Instead, Medicare-eligible participants have access to individual supplemental
  Medicare coverage available through Via Benefits, a private Medicare exchange, which is not coverage
  sponsored by JPMorgan Chase. For those Medicare-eligible individuals who enroll in coverage through
  Via Benefits and are eligible for a medical subsidy, JPMorgan Chase sponsors the Health
  Reimbursement Arrangement Plan associated with that coverage. For further details, contact HR
  Answers.

  You Become Eligible for Medicare
  If you are a JPMorgan Chase employee enrolled in an active JPMorgan Chase health care plan, such as
  the Medical Plan, Dental Plan, or Vision Plan, are actively working and you become entitled to Medicare
  because of your age or a qualifying disability, the JPMorgan Chase plans continue to be the primary
  source of your coverage. For further details on Medicare, see www.medicare.gov.

  You Go on a Military Leave
  Your benefits coverage may be affected if you take a military leave (paid or unpaid), as described below.
  For detailed information about the JPMorgan Chase Military Leave and Reserve Training Policy, please
  visit me@jpmc. In all cases, JPMorgan Chase will comply with legal requirements, including the
  Uniformed Services Employment and Reemployment Rights Act (USERRA).

  Paid Military Leave
  If you qualify for a paid military leave, you will be provided with continuation of most benefits. Please
  Note: Certain benefits plans have exclusions for injury or illness that results from an act of war.
  Benefits that do not continue while you are on a paid military leave include:
     Business Travel Accident Insurance Plan;
     Transportation Spending Account;
     Long-Term Disability Plan (after 16 weeks of paid military leave); and
     Short-Term Disability Plan.
  You may resume your benefits coverage when you return to work. Some of your benefits are reinstated,
  but for others like the Transportation Spending Account, you must re-enroll. Please Note: Evidence of
  insurability may also be required for some plans.
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  Unpaid Military Leave
  If you qualify for an unpaid military leave, you may continue many of your           Making
  elected benefits, provided you make the necessary contributions in a timely          Contributions While
  manner. Please Note: Certain benefits plans have exclusions for injury or            on Unpaid Leave
  illness that results from an act of war.
                                                                                       If you wish to continue
  Benefits that do not continue while you are on an unpaid military leave include:     certain benefits while on
                                                                                       any unpaid leave, you
     Business Travel Accident Insurance Plan;
                                                                                       must make the
     Dependent Care Spending Account;                                                  necessary contributions
                                                                                       on a timely basis, even if
     Transportation Spending Accounts;                                                 you do not receive a bill.
     Long-Term Disability Plan (after 16 weeks of unpaid military leave); and
     Short-Term Disability Plan.
  You may resume your benefits coverage when you return to work. Some of your benefits are reinstated,
  but for others like the Transportation Spending Account, you must re-enroll. Please Note: Evidence of
  insurability may also be required for some plans.

  You Go on a Parental Leave
  While you are on an approved parental leave, you may continue many of your elected benefits, provided
  you make the necessary contributions in a timely manner. Benefits that do not continue while you are on
  a parental leave include Business Travel Accident Insurance, the Dependent Care Spending Account,
  and the Transportation Spending Accounts.
  Generally, if your benefits coverage ended during your leave, you may resume coverage when you return
  to work.

  You Go on Approved Family and Medical Leave
  You may continue many of your elected benefits while you are on an approved family and medical leave,
  provided you make the necessary contributions in a timely manner. Benefits that do not continue while
  you are on family leave include Business Travel Accident Insurance, the Dependent Care Spending
  Account, and the Transportation Spending Accounts.
  Generally, if your benefits coverage ended during your leave, you may resume your benefits coverage
  when you return to work.

  Special Rules for Health Care Spending Account
  Special rules apply to your Health Care Spending Account. When you take a leave covered under the
  Family and Medical Leave Policy, the entire amount you elected under your Health Care Spending
  Account will be available to you during your leave period, less any prior reimbursements that you have
  received for that plan year, as long as you continue to make your contributions during your leave of
  absence. If you stop making contributions, your participation in the Health Care Spending Account will
  terminate while you are on a leave and you may not receive reimbursement for any health care expenses
  you incur after your coverage terminated.
  If your Health Care Spending Account participation terminates during your leave, your Health Care
  Spending Account contributions will begin again if you return to work during the same year in which your
  leave began. You will not be able to submit claims for reimbursement for expenses incurred during your

  leave. The amount available for reimbursement will be the same annual amount you elected before the
  leave.
  You may not use your Health Care Spending Account for expenses incurred during the period you did not
  participate.
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  You Go on Unpaid Leave
  For medical, dental, and vision coverage: For an approved unpaid leave of absence, the Medical,
  Dental, and Vision Plans will still cover you, as long as you make any required contributions. You will be
  directly billed for any required contributions on an after-tax basis. You will also still be covered by the
  Health & Wellness Centers Plan.
  If you do not make the required contributions to continue your coverage in a timely manner, your
  coverage will be canceled. However, your coverage may be reinstated when you return to work.
  For the Health Care Spending and Dependent Care Spending Accounts: During an approved unpaid
  leave of absence, you may continue to make monthly contributions to the Health Care Spending Account
  on an after-tax basis, via your benefits invoice. If you stop making contributions, your participation in the
  Health Care Spending Account will terminate while you are on a leave and you may not receive
  reimbursement for any health care expenses you incur after your coverage terminated. You may not
  make contributions to a Dependent Care Spending Account during an unpaid leave. For the Dependent
  Care Spending Account, you may use your account balance only for eligible expenses incurred prior to
  the date of your approval to go on unpaid leave, and must files those claims by March 31 of the next
  calendar year.
  For the Transportation Spending Account, you must disenroll and any unused credits in your
  account(s) will be forfeited. If you know you will be going on a leave, you should change your contribution
  amount to zero approximately one month before your leave begins in order to avoid forfeiting any
  contributions. Expenses incurred after your leave begins will not be eligible for reimbursement or payment
  from your account(s). If you wish to continue participation after you return to active service, you must re-

  any particular benefit month you participated in the program to file claims for reimbursement from your

  For life and accident coverage: While you are on an unpaid leave, you will continue to pay your
  premiums for supplemental term life and AD&D insurance to JPMorgan Chase. Your basic life insurance
  continues at no cost to you. Your business travel accident insurance will end.
  For Group Legal Services Plan coverage, you will be billed monthly to continue coverage.
  For Group Personal Excess Liability Insurance Plan coverage, you will be billed monthly to continue
  coverage.

  You Return from a Leave of Absence
  If you go on a leave of absence (such as a disability, long-term disability, or paid or unpaid leave) and you
  return to work in a work status that makes you eligible for benefits, then:
  For medical, dental, and vision coverage: The coverage that you had before your leave of absence will
  be reinstated.
  For the Health Care Spending Account (HCSA):
     If you return to work from an unpaid leave of absence in the same plan year in which your leave
     began, before-tax contributions from your pay will automatically continue, and your total remaining
     amount will be prorated over the remaining pay cycles. If you return to work from a paid leave of
     absence in the same plan year, there is no interruption to your HCSA contributions while you are on a
     paid leave.
     If you return to work from a paid or unpaid leave of absence of absence or a paid or unpaid
     disability leave in a different plan year than the one in which your leave began, or if you return to
     work from a leave in which you were receiving benefits under the JPMorgan Chase Long-Term
     Disability Plan, you may enroll in the HCSA within 31 days of the date you return to work.
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  For the Dependent Care Spending Account (DCSA):
      If you return to work from a leave of absence (paid or unpaid) or a disability leave (paid or
      unpaid) in the same plan year in which your leave began, and want to participate in the DCSA, you
      have 31 days from your return to work date to re-elect to participate in DCSA. Contributions
      automatically stop when you begin your leave (of any type) and will not start automatically.
      If you return to work from a paid or unpaid disability leave or other leave of absence in a different
      plan year than the one in which your leave began, or if you return to work from a leave in which
      you were receiving benefits under the JPMorgan Chase Long-Term Disability Plan, you may
      enroll in the DCSA within 31 days of when you return from your leave.
  For the Transportation Spending Account (TSA): Contributions automatically stop when you begin
  your leave (of any type). If you return to work from a leave and wish to participate in TSA, you must enroll
  in this account when you return to work. The effective date of your participation depends on the date of
  your enrollment. Please wait approximately ten days for your return to work information to reach
  WageWorks. Changes to your TSA elections become effective as of the first of the month for the following

  For LTD Benefits:
     If your Total Annual Cash Compensation (TACC) is less than $60,000, you will be reinstated in LTD
     coverage immediately.
     If your TACC is equal to or greater than $60,000, generally, you have to re-enroll for LTD coverage
     within 31 days of your return from your leave, and you may be required to provide evidence of
     insurability (EOI). Your coverage will resume on t
     re-enroll within 31-days, your next opportunity to enroll will be Annual Benefits Enrollment. Contact HR
     Answers for specific questions.
         If you are on an approved medical leave, your LTD coverage remains in effect throughout your
         leave
         If you are on a paid parental leave, your LTD coverage ends after 16 weeks
         If you are on an unpaid leave, your LTD coverage ends after 16 weeks
         If you are on any other type of nonmedical, paid or unpaid leave, coverage ends after 16 weeks

  Total Annual Cash Compensation (TACC)

  Total Annual Cash Compensation (TACC) is your annual rate of base salary/regular pay plus any applicable job
  differential pay (e.g., shift pay) as of each August 1, plus any cash earnings from any incentive plans (e.g., annual
  incentive, commissions, draws, overrides and special recognition payments or incentives) that are paid to or deferred
  by you for the previous 12-month period ending each July 31. Overtime is not included. It is recalculated as of each
  August 1 to take effect the following January 1 and will remain unchanged throughout the year. For most employees
  hired on or after August 1, it will be equal to your annual rate of base salary/regular pay plus applicable job
  differentials.


  You Leave JPMorgan Chase
  For health care coverage: If your employment with JPMorgan Chase terminates, participation in the
  Medical, Dental, Vision, and Health & Wellness Centers Plans for you and your covered dependents ends
  on the last day of the month in which you end active employment. However, you generally will be eligible
  to continue participation for a certain period under the Consolidated Omnibus Budget Reconciliation Act
                                                                                  Health Care Participation
  section for more information on COBRA.) The health care plans cannot reimburse expenses incurred
  after the end of the month in which you leave JPMorgan Chase unless you choose to continue your
  participation under COBRA or under JPMorgan Chase retiree coverage. For more information, please
  see the As You Leave Guide on me@jpmc.
      The provisions noted above for the health care plans also apply to the expatriate medical and dental
      options. If you are a U.S. home-based expatriate or an expatriate assignment to the U.S., under
      certain circumstances, you may be eligible to continue participation for a certain period of time under
      COBRA. Non-U.S. home-based expatriate employees assigned outside the United States and their
      dependents are not eligible for COBRA continuation coverage.
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  For the Health Care Spending Account, if you are participating in the Health Care Spending Account
  when your employment with JPMorgan Chase ends, you will be covered for eligible expenses incurred in
  the plan year up to the end of the month in which you terminate. You then have until March 31 of the year
  following your termination from JPMorgan Chase to submit claims for any eligible expenses incurred
  during the previous year, up to the end of the month in which you terminate. Expenses incurred after the
  end of the month in which you leave JPMorgan Chase cannot be reimbursed by the JPMorgan Chase
  Health Care Spending Account unless you choose to continue your Health Care Spending Account
  participation under COBRA. By electing continuation coverage under COBRA, you may continue your
  Health Care Spending Account participation through any month up until the end of the year in which your
  employment ends, if you make after-tax contributions to the account. (Pleas
                         Health Care Participation section for more information on COBRA.)
  For the Dependent Care Spending Account, if you have a balance remaining in the Dependent Care
  Spending Account when your employment with JPMorgan Chase ends, you may continue to submit
  claims against the balance in the account for eligible expenses incurred in the plan year up to your
  termination date. You then have until March 31 of the year following your termination from
  JPMorgan Chase to submit claims for any eligible expenses incurred during the previous year, up to your
  termination date. Expenses incurred after your termination date cannot be reimbursed by the
  JPMorgan Chase Dependent Care Spending Account. You may not continue to make contributions to the
  Dependent Care Spending Account after your termination.
  For the Transportation Spending Accounts
  option of the Parking Account when you leave, you may continue to submit claims against the balance in
  your account for up to 180 days following the end of the benefit month (for example, expenses incurred in
  January must be claimed by July); otherwise, your Parking Account balance will be forfeited. You may not
  continue to make contributions to the Transportation Spending Accounts after your termination. If you are
  planning to leave the company, you should change your contribution amount to zero approximately one
  month before your departure in order to avoid forfeiting any contributions. The Transportation Spending
  Accounts, under Section 132 of the Internal Revenue regulations, allow qualified transportation expenses

  non-refundable to the employee under any circumstances including termination of employment.
  For the Life and Accident Insurance Plans, if your employment with JPMorgan Chase terminates,
  active participation in the Business Travel Accident, Basic Life, Supplemental Term Life and AD&D
  Insurance Plans generally end on the date your employment ends. For more information, please see the
  Life and Accident Insurance section.
     For Basic Life, upon receipt of the MetLife conversion package at your              If You Port or
     home mailing address, and within 31 days of your termination date, you may          Convert
     convert any portion of your Basic Life Insurance to an individual policy by
     contacting Metropolitan Life Insurance Company (MetLife), the plan                  For any policies you port
     administrator. Financial advisors at Barnum Financial Group (acting on              or convert, you must
     behalf of MetLife) will be able to address any questions on how much to             designate beneficiaries
                                                                                         directly with MetLife.
     convert to an individual policy. MetLife will bill you directly.
     For Supplemental Term Life, within 31 days of your termination date, you
     have the option to convert your employee and/or dependent life insurance coverage to an individual
     life policy or port that coverage following your termination of employment as follows:
        Employee Supplemental Life Insurance:
        -   You may convert the coverage to an individual policy; OR
        -   You may port the lesser of your total life insurance in effect at date of termination or up to
            $2 million (in increments of $25,000)
        -   You must provide MetLife evidence of insurability for the additional coverage amount
        -   If you are already at the $2 million maximum you may not increase your coverage.
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         Dependent Spouse Supplemental Life Insurance:
         -   You may convert the coverage to an individual policy; OR
         -   You may port the minimum of $2,500 ($10,000 when porting Dependent Spouse life insurance
             alone) to a maximum of the lesser of your total dependent spouse life insurance in effect at date
             of termination, or $300,000.
         Dependent Child Supplemental Life Insurance:
         -   You may convert the coverage to an individual policy; OR
         -   You may port your dependent child supplemental life insurance coverage at a minimum of
             $1,000 to a maximum of the lesser of the total amount in effect at the date of termination or
             $20,000.
     For Accidental Death and Dismemberment (AD&D) Insurance:
         You may port up to $2 million of your employee AD&D coverage with Metropolitan Life Insurance
         Company (MetLife) within 31 days of your termination date.
         When you leave JPMorgan Chase, you may increase the amount of your portable AD&D coverage
         in increments of $25,000, up to a maximum of $2 million. Evidence of Insurability (EOI) may be
         required.
         You may also port any dependent AD&D coverage, but only if you elect to port your employee
         AD&D coverage.
         Financial advisors at Barnum Financial Group (acting on behalf of MetLife) will also be able to
         address any questions on how much AD&D coverage to port for you and/or your dependents.
         When you port your coverage(s), MetLife will bill you directly.
     For Business Travel Accident Insurance, you may not convert or port this coverage to an individual
     policy.
     For more details, see the information in each plan description about continuing coverage in the Life
     and Accident Insurance section.

  Porting Versus Converting Insurance Policies


  policy. Both typically result in higher rates than a group policy, but there are differences.
     When you convert an insurance policy, you are not required to provide proof of insurability to receive coverage.
     The premium you pay is based on your age at the time of policy conversion.
     When you port a policy, you must provide proof of insurability to receive preferred, or less expensive, premiums.
     Also, the premiums generally change as you age.

  For the Group Legal Services Plan, if your employment with JPMorgan Chase terminates, participation
  for you and your covered dependents usually ends on your termination date. You have the option to
  continue coverage by contacting MetLife Legal Plans, the claims administrator, within 31 days of the date
  your coverage ends and electing to continue the Plan. Currently you can continue the Plan for an
  additional 12 months with direct payment to MetLife Legal Plans. Any services in progress before your
  termination date will be provided,
  For the Group Personal Excess Liability Plan, if your employment with JPMorgan Chase terminates,
  participation for you and your covered dependents usually ends on your termination date. While you
  cannot convert or port your coverage, you may continue your current coverage through the end of the
  calendar year by paying the balance of the remaining premium in full directly to Arthur J. Gallagher Risk
  Management Services.
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  Your Expatriate Assignment Ends
  If your expatriate assignment ends, your Expatriate Medical and/or Dental Plan coverage will end on the
  last day of the month in which your work status changes. If you remain an active JPMorgan Chase
  employee, you will need to elect coverage under your local/domestic, home-country medical plan and/or
  dental plan.

  You Retire from JPMorgan Chase
  For medical, dental, and vision coverage: You need to meet minimum age and service requirements at
  the time of retirement to be eligible for retiree medical and dental coverage. For vision coverage, you may
  enroll for retiree vision coverage even if you were not covered under the Vision Plan at the time of your
  retirement.
     For expatriate medical and dental coverage, you must be a U.S. home-based expatriate employee
     and meet minimum age and service requirements and have active medical coverage at the time of
     retirement to be eligible for U.S. retiree medical coverage.
     For more information, please see the As You Leave Guide on me@jpmc.
  For the Health Care Spending Account, if you are participating in the Health Care Spending Account
  when your employment with JPMorgan Chase ends, you will be covered for eligible expenses incurred in
  the plan year up to the end of the month in which you terminate. You then have until March 31 of the year
  following your termination from JPMorgan Chase to submit claims for any eligible expenses incurred
  during the previous year, up to the end of the month in which you terminate. Expenses incurred after the
  end of the month in which you leave JPMorgan Chase cannot be reimbursed by the JPMorgan Chase
  Health Care Spending Account unless you choose to continue your Health Care Spending Account
  participation under COBRA. By electing continuation coverage under COBRA, you may continue your
  Health Care Spending Account participation through any month up until the end of the year in which your
  employment ends, if you make after-tax contributions to the account. (Pleas
                         Health Care Participation section for more information on COBRA.)
  For the Dependent Care Spending Account, if you have a balance remaining in the Dependent Care
  Spending Account when your employment with JPMorgan Chase ends, you may continue to submit
  claims against the balance in the account for eligible expenses incurred in the plan year up to your
  termination date. You then have until March 31 of the year following your termination from
  JPMorgan Chase to submit claims for any eligible expenses incurred during the previous year, up to your
  termination date. Expenses incurred after your termination date cannot be reimbursed by the
  JPMorgan Chase Dependent Care Spending Account. You may not continue to make contributions to the
  Dependent Care Spending Account after your termination.
  For the Transportation Spending Accounts
  option of the Parking Account when you leave, you may continue to submit claims against the balance in
  your account for up to 180 days following the end of the benefit month (for example, expenses incurred in
  January must be claimed by July); otherwise, your Parking Account balance will be forfeited. You may not
  continue to make contributions to the Transportation Spending Accounts after your termination. If you are
  planning to leave the company, you should change your contribution amount to zero approximately one
  month before your departure in order to avoid forfeiting any contributions. The Transportation Spending
  Accounts, under Section 132 of the Internal Revenue regulations, allow qualified transportation expenses

  non-refundable to the employee under any circumstances including termination of employment.
  For the Life and Accident Insurance Plans, if your employment with JPMorgan Chase terminates,
  active participation in the Business Travel Accident, Basic Life, Supplemental Term Life and AD&D
  Insurance Plans generally end on the date your employment ends. For more information, please see the
  Life and Accident Insurance section.
     Retiree Life Insurance Coverage may be available. You need to meet minimum age and service
     requirements at the time of retirement to be eligible for retiree medical and dental coverage. For
     details on the eligibility requirements, please see the As You Leave Guide on me@jpmc.
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     For Basic Life, upon receipt of the MetLife conversion package at your                If You Port or
     home mailing address, and within 31 days of your retirement date, you may             Convert
     convert any portion of your Basic Life Insurance (over the first $10,000) to
     an individual policy by contacting Metropolitan Life Insurance Company                For any policies you port
     (MetLife), the plan administrator. Financial advisors at Barnum Financial             or convert, you must
     Group (acting on behalf of MetLife) will be able to address any questions on          designate beneficiaries
                                                                                           directly with MetLife.
     how much to convert to an individual policy. MetLife will bill you directly after
     you retire.
     For Supplemental Term Life, within 31 days of your retirement date, you have the option to convert
     your employee and/or dependent life insurance coverage to an individual life policy or port that
     coverage following your retirement as follows:
        Employee Supplemental Life Insurance: You may port up to $2 million of your employee
        Supplemental Term Life Insurance with MetLife within 31 days of your retirement date.
        When you retire from JPMorgan Chase, you may increase the amount of your portable employee
        supplemental life insurance coverage in increments of $25,000, up to a maximum of $2 million. You
        must provide evidence of insurability for the additional coverage amount. If you are already carrying
        the maximum amount of coverage, you may not increase your coverage.
        You have two options for Dependent Supplemental Life Insurance:
        1. If you elect to port your employee supplemental life insurance, you also have the opportunity to
           port your dependent supplemental life insurance
        2. If you do not elect to port your employee supplemental life coverage but want to continue
           coverage for your dependents, you must convert your dependent supplemental life insurance to
           an individual whole life policy
     For Accidental Death and Dismemberment (AD&D) Insurance:
        When you retire from JPMorgan Chase, you may port up to $2 million of your employee AD&D
        coverage with Metropolitan Life Insurance Company (MetLife) within 31 days of your retirement
        date.
        When you leave JPMorgan Chase, you may increase the amount of your portable AD&D coverage
        in increments of $25,000, up to a maximum of $2 million. You must provide evidence of insurability
        for the additional coverage amount.
                                            benefit will be limited to $100,000.
        You may also port any dependent AD&D coverage, but only if you elect to port your employee
        AD&D coverage.
        Financial advisors at Barnum Financial Group (acting on behalf of MetLife) will also be able to
        address any questions on how much AD&D coverage to port for you and/or your dependents.
        When you port your coverage(s), MetLife will bill you directly.
     For Business Travel Accident Insurance, you may not convert or port this coverage to an individual
     policy.
     For more details, see the information in each plan description about continuing coverage in the Life
     and Accident Insurance section.
  For the Health & Wellness Centers Plan, if you retire from JPMorgan Chase, your Health & Wellness
  Centers Plan coverage will end on the last day of the month in which you retire. However, you generally
  will be eligible to continue participation for a certain period of time under COBRA, if elected. (Please see
                                                    Health Care Participation section for more information on
  COBRA.) For more information, please see the As You Leave Guide on me@jpmc.
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  For the Group Legal Services Plan, if you retire from JPMorgan Chase, coverage for you and your
  covered dependents ends on your retirement date. Any services in progress before your termination date
                                                 rage. For more information, please see the As You
  Leave Guide on me@jpmc.
  For the Group Personal Excess Liability Insurance Plan, if you retire from JPMorgan Chase, coverage
  for you and your covered dependents ends on your retirement date. You are eligible to continue your
  participation through the end of the policy year in which you retire, provided you pay the balance of the
  policy in full. After your employment ends, Arthur J. Gallagher & Co., the plan administrator, will contact
  you with instructions for continuing your coverage and paying the balance. If your payment is not received
  within 31 days, your policy will be cancelled effective as of your retirement date. For more information,
  please see the As You Leave Guide on me@jpmc.

  You Work Past Age 65
  For the spending accounts: If you continue to work for JPMorgan Chase after you reach age 65, you
  can continue participating in the spending accounts, as long as you meet all the other eligibility
  requirements to participate.
  For Life and Accident Insurance Plans: If you continue to work for JPMorgan Chase after you reach
  age 65, you may continue to participate in the Life and Accident Insurance Plans, as long as you are
  actively employed and meet all eligibility requirements.
     If you continue working after age 75, AD&D coverage is limited to no more than $200,000 beginning
     the January 1 after the year in which you reach age 75, and is reduced to a maximum of $100,000
     beginning the January 1 after the year in which you reach age 80. This limitation also applies to your
     spouse/domestic partner.
  For the Health & Wellness Centers Plan: If you continue to work for JPMorgan Chase after you reach
  age 65, you may continue to participate in the Health & Wellness Centers Plan, as long as you are
  actively employed and meet all eligibility requirements.
  For the Group Legal Services Plan: If you continue to work for JPMorgan Chase after you reach
  age 65, you and your covered dependents can continue to be covered under the Group Legal Services
  Plan.
  For the Group Personal Excess Liability Plan: If you continue to work for JPMorgan Chase after you
  reach age 65, you may continue to participate in the Plan, as long as you are actively employed and meet
  all eligibility requirements.
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  Health Care Benefits
  Effective 1/1/21

  family with access to high-quality, cost-effective health care coverage and to the resources you need to
  stay healthy.

  Our health benefit plans are built on the principle of a shared commitment to health.

     JPMorgan Chase provides valuable benefits, funding, and a suite of features designed to help you get
     and pay for the care you need, manage your health care expenses, and, most importantly, take care of
     yourself and your family.

     Your role is to take responsibility for the controllable aspects of your health and your spending on
     health care. You can do this by staying informed about healthy lifestyle choices, getting preventive
     care, carefully selecting your doctors and hospitals, and understanding your treatment options and
     their costs before receiving services.


  How This Section Is Organized
  This Health Care Benefits section has separate subsections for:                      COBRA
     The Medical Plan (including prescription drugs, the Medical Reimbursement         Continuation
     Account (MRA), the U.S. Fertility Benefits Program, and wellness benefits);       The health plans
        For eligible employees in the United States, the plan has two options: the     described in this section
                                                                                       are subject to special
        Simplified Medical Plan for employees in Arizona and Ohio and the Core
                                                                                       rules that can offer you
        Medical Plan for all other U.S. employees.                                     an opportunity to
     The Dental Plan; and                                                              continue coverage under

     The Vision Plan.                                                                  plans even when
                                                                                       coverage for you or a
  Because these three plans have the same rules about who is eligible, how you         dependent would
  enroll, what happens when coverage ends, and COBRA information there is a            otherwise end. See
  separate subsection called Health Care Participation that covers those rules.

                                                                                       Health Care Participation
                                                                                       section for details.




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  Health Care Participation
  Effective 1/1/21
  This section describes the general guidelines for participating in the JPMorgan Chase Medical, Dental


  yours!

  Be Sure to See

  This section covers information about topics such as who is eligible, how to enroll, when you can change your
  coverage, when coverage ends, and opportunities to continue your coverage after it ends.
  Be sure to also see the                      section, which describes how a wide variety of life events and situations
  can affect your benefits and/or give you an opportunity to adjust your coverage.




  About This Summary

  This section summarizes eligibility, enrollment and other participation information for the Medical, Dental and Vision
  Plans. Please retain this section for your records. Other sections may be needed in addition to this section to provide
  a complete summary plan description (SPD) and/or plan document for a plan, including the sections that describe the
  benefits the plan provides and Plan Administration.
  These summaries/SPDs/plan documents do not include all of the details contained in the applicable insurance
  contracts, if any. For plans with applicable insurance contracts, if there is a discrepancy between the insurance
  contract and the summary/SPD/plan document, the insurance contract will control.




  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change or
  terminate its benefits plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract or
  guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate the
  employment relationship at any time.




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  In general, you are eligible to participate in the Medical, Dental, and Vision Plans if you are:
      Employed by JPMorgan Chase & Co., or one of its subsidiaries that has adopted the Plan, on a U.S.
      payroll and you are subject to FICA taxes;
      Paid hourly, salary, draw, commissions, or production overrides; and
      Regularly scheduled to work 20 or more hours per week.




  employed in a work status other than as a common law salaried employee by his or her employer is not
  eligible for the Medical, Dental and Vision Plans, regardless of whether an administrative or judicial
  proceeding subsequently determines this individual to have instead been a common law salaried
  employee.
  Examples of such individuals include an:
      Independent contractor/agent (or its employee);
      Intern; and/or
      Occasional/seasonal, leased, or temporary employee.

  When You Become Eligible
  Employees are eligible to participate in the Medical, Dental and Vision Plans as follows:
      If you are a full-time employee (regularly scheduled to work 40 hours per week), you are eligible to join
      the Plans on the first of the month after your date of hire.
      If you are a part-time employee (regularly scheduled to work at least 20 but less than 40 hours per
      week), you are eligible to join the Plans on the first of the month after 60 days from your date of hire.

  Eligible Dependents
  In addition to covering yourself under the Medical, Dental and Vision Plans, you can also cover your
  eligible dependents, but generally only under the same option you choose for yourself. (Please see
                                                                                              Plan
  Administration at section for details on coverage provisions for individuals who are eligible for Medicare.)
  Your eligible dependents under the Medical, Dental



                                                            en up to the last day of the month in which they
      reach age 26*, regardless of student or marital status, financial dependence on parents, residency
      with parents, or eligibility for coverage under another health plan. To cover
      children, you must elect coverage for your domestic partner.
  * Newly hired employees wishing to enroll their disabled dependent who is over the age of 26 in the medical plan can do so by
  contacting HR Answers for assistance in completing the disabled dependent enrollment process.




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  Please Note: You may continue coverage beyond age 26 for an unmarried child who is enrolled at the
  time of turning age 26 in that benefit and is deemed unable to support himself or herself because of a
  mental or physical disability that began before age 26 and who depends on you for financial support.
  Contact your health care company* for more information and specific requirements before your
  dependent turns 26. To continue coverage for a disabled dependent, that dependent must be enrolled in
  the Plan prior to turning age 26.
  * If you are not enrolled in one of the Medical plans but want to continue coverage for your dependent child over age 26 for the
  Dental and/or Vision plan please contact Aetna to see if they qualify for continued coverage under these plans.

  Important Note on Dependent Eligibility

  You are responsible for understanding the dependent eligibility rules applicable to each Plan and abiding by them.
  Each year during Annual Benefits Enrollment, you must review your covered dependents and confirm that they
  continue to meet the eligibility requirements. It is important that you review both the dependent eligibility rules and the
  status of your dependents on file, and make any necessary adjustments during your enrollment period or within 31
  days of a Qualified Status Change (QSC), 90 days if the qualifying event is the birth or adoption of a child.
  The benefits you elect will be effective the date of the event. (Please Note: You will have 90 days from the QSC date
  to add any newly eligible dependents to the Medical Plan, including add and then removing that dependent should
  that dependent pass away within this 90-day period.). For mor
                                                                  conduct eligibility verifications on existing dependents at
  any time. If you fail to provide satisfactory proof (when requested) that your covered dependents meet the current
  eligibility requirements, you could face penalties ranging from loss of coverage for your dependents to termination of
  employment.
  Within 30 days of adding a new dependent, a mailing will be sent to your home address on file with JPMC requesting
                                                        birth certificate, marriage license, etc.). You must supply
  acceptable supporting documents and sign and return the supplied Confirmation of Eligibility within 60 days. If you fail
  to provide satisfactory proof that your dependent(s) meet
  coverage will be terminated and you will be responsible for any claims paid by the Medical, Dental and Vision Plans.
  For a listing of acceptable documentation to establish proof of your dependent
  JPMorgan Chase U.S. Benefits Program, please see Dependent Eligibility Requirements on My Health.


  Spouse
                                          person to whom you are legally married as recognized by U.S. federal
  law.
  If JPMorgan Chase employs your spouse, domestic partner, or child, he or she can enroll in coverage as
  an employee in their own eligible coverage or as your dependent, but not as both*. If you want to cover
  your eligible child(ren), you or your spouse/domestic partner may provide this coverage. If you are
  covering a spouse/domestic partner who is also a JPMorgan Chase employee (i.e., company couple),

  the Benefit Web Center, available through My Health.
  * Except for the Supplemental Term Life Insurance Plans. If your spouse is also a JPMorgan Chase employee, he or she can
  elect Employee Supplemental Term Life Insurance coverage as an employee and be also covered as your spouse under the
  Dependent Supplemental Term Life Insurance Plan.


  Children

      Your natural children;
      Your stepchildren (children of your current spouse);
      Children of your domestic partner (if your domestic partner is also enrolled in the Plan);
          If you are covering the child of a domestic partner who is not your tax dependent, imputed income
          for that child will be applied.



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     Your legally adopted children;
     Your foster children;
     Children under your legal guardianship (as established by a court order) whom you claim on your
     income tax return as dependents or for whom you provide more than 50% of their financial support;
     A child under age 18 who lives with you and 1) for whom adoption proceedings have already begun,
     and 2) whom you have the legal obligation to support (in whole or in part);
     Children who are alternate recipients under a Qualified Medical Child Support Order (QMCSO), as
     required by law; and
     A disabled child dependent who is over age 26 and meets the following criteria:
        Is an unmarried, eligible child dependent
        Is deemed not capable of supporting themselves due to a mental or physical disability that began
        prior to age 26
        Is dependent on the employee for financial support
        Is enrolled in the JPMC Medical plan prior to turning 26 or is the dependent of a newly hired
        employee who has enrolled in the Medical Plan during their new hire enrollment period

  Domestic Partners
  In addition to the dependents previously listed, you ma
  dependent under the Medical, Dental, and Vision Plans
  generally must cover your domestic partner under the same option you select for your own coverage.
  For the purposes of the Medical, Dental and Vision Plans, you and your domestic partner must:
      Be age 18 or older; and
      Not be legally married to, or the domestic partner of, anyone else; and
      Have lived together for at least the last twelve (12) months, are currently living together, and are
      committed to each other to the same extent as married persons are to each other, except for the
      traditional marital status and solemnities; and
      Be financially interdependent (share responsibility for household expenses); and
      Not be related to each other in a way that would prohibit legal marriage.
     OR
     Have registered as domestic partners pursuant to a domestic partnership ordinance or law of a state
     or local government, or under the laws of a foreign jurisdiction.
  You must certify that your domestic partner meets the eligibility rules as defined under the Plan before
  coverage can begin. You may also be asked to certify that your domestic partner and/or your domestic
                                                       mined by the Internal Revenue Code (IRC) to avoid
  any applicable imputed income.
  Please Note: If you are covering a domestic partner who is not a tax dependent, imputed income for that
  domestic partner will be applied. Information about domestic partner coverage and the various tax
  consequences can be found on My Health >Benefits Enrollment > 2021 U.S. Benefits Resources >
  Covering a Domestic Partner Tip Sheet.

  Qualified Medical Child Support Orders
  If any of the Medical, Dental or Vision Plans receives a judgment, decree, or order known as a Qualified
  Medical Child Support Order (QMCSO) requiring the Plans to provide medical, dental and vision
  coverage to your child who is your dependent, the Plans will automatically change your benefits elections
  to provide coverage for the child. In the case of a child whom you are required to cover pursuant to a
  QMCSO, coverage will begin and end on the dates the QMCSO order specifies. The Plans will comply
  with any subsequent QMCSO authorizing changes to coverage or termination of coverage for your child.


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  Enrolling
  Because participating in the Medical, Dental and Vision Plans is optional, you             Elections a la Carte!
  must enroll to have coverage. If you decide to participate, when you enroll you
  will choose:
                                                                                             for all the Plans. You can
  1. The option you want for the Medical Plan and the Dental Plan (the Vision                choose only the Plans
     Plan has only one option to choose from); and.                                          that you want. For
                                                                                             example, you could
  2. The coverage level for each Plan. You can choose different coverage levels              enroll for the Medical
     for each Plan.                                                                          and Dental Plans and
                                                                                             waive coverage from the
  If you choose a coverage level other than employee-only coverage, you will
                                                                                             Vision Plan. Or you
  also need to specify which of your eligible dependents you are enrolling.                  could enroll for the
                                                                                             Dental and Vision Plans
  Medical and Dental Plan Options                                                            and waive coverage from

  For details on the options available under the Medical Plan and the Dental Plan, see       to you!
  the subsections that describe each Plan:
  The Medical Plan
  The Dental Plan
                                                                                             An Important Note
                                                                                             on Dependent
  Coverage Levels                                                                            Coverage
  The coverage levels available in the Medical, Dental and Vision Plans are:                 If your spouse or
     Employee only;                                                                          domestic partner is also
                                                                                             employed by
     Employee plus spouse/domestic partner or employee plus child(ren); or                   JPMorgan Chase, he or
                                                                                             she can be covered as
     Family (employee plus spouse/domestic partner plus child(ren)).                         an employee or as your
  If you are eligible for coverage and do not enroll in a Plan, your eligible                dependent, but not as
                                                                                             both. If you want to cover
  dependents cannot be enrolled in that Plan.
                                                                                             your eligible children,
  You are responsible for understanding the dependent eligibility rules and                  you or your
                                                                                             spouse/domestic partner
                                                                                             (but not both of you) can
                                                                                             choose to provide this
  Tax Treatment of Domestic Partner Coverage                                                 coverage.

  page 31, there are tax implications of which you should be aware.
  JPMorgan Chase is required to report the entire valu
                                                   to withhold for federal, state and FICA taxes on the
  imputed income. The imputed income includes the amount that both you and JPMorgan Chase contribute
  toward the cost of coverage.
  Please Note: If you certify that your domesti


  Enrolling a Domestic Partner

  Additional information on enrolling and the tax consequences of covering a domestic partner can be found on
  My Health.




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  How to Enroll
  Participation in the Medical, Dental and Vision Plans is optional. You can enroll in all three Plans, or just
  two of them, or one, or you can waive coverage from all three Plans.
  If you want to enroll, the process varies, depending on whether you are a:
     Current, eligible employee, enrolling during Annual Benefits Enrollment;
     Newly hired employee; or
     Current, eligible employee, enrolling or changing your benefits outside of Annual Benefits Enrollment.

  No Enrollment Needed for Wellness, EAP or Tobacco Cessation Programs, If Eligible

  For benefits-eligible employees, no enrollment is necessary for the Wellness, EAP and Tobacco Cessation programs.
  These programs are provided to benefits-eligible employees, regardless of whether you enroll in the Medical Plan,
  and coverage under these programs does not begin or end with participation in the Medical Plan.


  Enrolling if You Are an Employee
  You have the ability to enroll in the Medical, Dental and Vision Plans once a year, during Annual Benefits
  Enrollment held in the fall (generally in the October time frame). Elections you make during Annual
  Benefits Enrollment are effective the following January 1.
  At the beginning of each Annual Benefits Enrollment per
  available to you and their costs. You need to review your available choices carefully and enroll in the
  Plans and options that best meet your needs.
  You can view your available choices, their costs and make your elections through the Benefits Web
  Center on My Health or by calling HR Answers. Detailed instructions and deadlines will be included in the
  Annual Benefits Enrollment materials.
                                                            year unless you have a Qualified Status Change.


  Enrolling if You Are a Newly Hired Employee
                                                        for the first time, you need to make your choices
  through the Benefits Web Center on My Health or by calling HR Answers. If you are a full-time employee,
  you need to make your choices within 31 days of your date of hire. If you are a part-time employee, you
  need to make your choices within 31 days before becoming eligible.
     If you are a full-time employee (regularly scheduled to work 40 hours per week), you will receive
     information about benefits enrollment after your hire date with JPMorgan Chase. Your coverage will
                                                           the month after your hire date, as long as you
     enroll within 31 days after your hire date. For example, if you are hired on June 17, you have between
     June 17 and July 18 to make your enrollment elections, and these elections will be effective on July 1.
     If you are a part-time employee (regularly scheduled to work at least 20 but less than 40 hours per
     week), your benefits effective date will be the first of the month following your 60-day waiting period,
     and you will receive your enrollment materials within 31 days before becoming eligible for coverage.
     You need to enroll within 31 days before your eligibility date.
  You can access your benefits enrollment materials online at My Health > Benefits Enrollment.
  If you are hired after October 1, you will be required to complete your newly eligible benefits enrollment
  elections for the current calendar year before making your enrollment elections for the subsequent
  calendar year.




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  Enrolling if You Have a Change in Work Status or Qualified Status Change
                                                       wly eligible employee due to a work status change,
  or if you have a Qualified Status                                        the date of the change in status
  to make your new choices, including adding any eligible dependents directly impacted by the QSC. You
  can submit your choices through the Benefits Web Center on My Health or by calling HR Answers.

  Please Note: For a QSC, you have 31 days to add yourself or your dependent from the QSC date,
  except related to the birth/adoption of a child, in which case you have 90 days to add this eligible
  dependent (coverage will be retroactive to the date of the QSC). You will also have 90 days to add any
  newly eligible dependents to the Medical Plan should that dependent pass away within this 90-day period.

  If You Do Not Enroll

  Coverage if You Do Not Enroll and You Are an Employee
                                                          and/or Vision Plans and do not change your elections
  or cancel coverage during Annual Benefits Enrollm

  in the Plans and coverage costs.

  Re-enrollment May Differ for Other Plans

  This Health Care Participation section applies to the JPMorgan Chase Medical, Dental and Vision Plans. Other
  JPMorgan Chase benefit plans may have different rules for enrollment.
  For example, if you are participating in the Health Care Spending Account and/or the Dependent Day Care Spending
  Account in one year, you will not automatically continue participating for the next year.


  Coverage if You Do Not Enroll and You Are a Newly Hired or Newly Eligible
  Employee
  period as described under
  coverage in the Medical, Dental, or Vision Plans.

  Coverage if You Do Not Enroll When You Have a Qualified Status Change
  Adding Coverage: If you have a Qualified Status Change (QSC) that allows you (and any eligible
  dependents directly impacted by the QSC) to enroll in the Medical, Dental or Vision Plan midyear and you
  do not enroll within the 31-day window (90-day window in the case of the birth/adoption of a child or death

  Change in Work Status or Qualified Status Chan
  Plans.
  Deleting Coverage: If you have a QSC that causes your dependent to no longer be eligible for
  JPMorgan Chase Medical, Dental and Vision Plans, you should remove coverage for that dependent by
  submitting the change in the Benefits Web Center or call HR Answers within 31 days following the
  effective date of the change. If you fail to submit this change timely you may call HR Answers to report
  the change and coverage for the dependent will be canceled effective the date you call HR Answers.




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  When Coverage Begins
  If you are an employee, the coverage you elect during Annual Benefits Enrollment takes effect at the
  beginning of the next plan year (January 1).
  For benefits-eligible employees, no enrollment is necessary for Wellness, EAP and Tobacco Cessation
  programs and participation is not dependent upon enrolling in the Medical Plan. Your coverage begins on
  your date of hire or when you become benefits eligible.
  If you are a newly hired or newly eligible employee, the coverage you elect as a new hire takes effect
  as follows:
     If you are a full-time employee (regularly scheduled to work 40 hours per week), coverage begins on
     the first of the month after your date of hire.
     If you are a part-time employee (regularly scheduled to work at least 20 but less than 40 hours per
     week), coverage begins on the first of the month after 60 days from your date of hire.
  If you have a change in work status or Qualified Status Change, the coverage you elect because of a

  effect as of the day of the qualifying event, if you enroll within 31 days of the event (90-day window in the
  case of the birth/adoption of a child or if your newly eligible dependent passes away during the 90-day




  When Payroll Contributions Begin
  Your Medical, Dental and Vision Plan payroll contributions for the cost of coverage start when your
  coverage begins. Your contributions are automatically deducted from your pay in equal installments
  24 times a year. This applies if you are a semimonthly paid employee or a biweekly paid employee. If you
  are paid biweekly and the month has three pay periods, no contributions will be taken from the third pay
  period.
  If you have coverage but are not actively working because of an unpaid leave of absence, you will be
  directly billed for any required contributions on an after-tax basis.

  Retroactive Contributions as Necessary

  Be advised that payroll contributions are owed based upon your coverage effective date. Due to timing of payroll
  cycles, employees may experience retroactive payroll deductions where prior payroll contributions were due but not
  deducted due to timing of payroll processing. This can occur for any coverage election or change including new
  elections or midyear changes due to a qualifying event.




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  Changing Your Coverage Midyear
  The Medical, Dental and Vision Plan elections you make during Annual                   Important Note
  Benefits Enrollment will stay in effect through the next plan year (or the current     About Providers
  plan year if you enroll during the year as a newly eligible employee). However,        Leaving Networks
  you may be permitted to change your elections before the next Annual Benefits
  Enrollment if you have a Qualified Status Change (QSC). A QSC does not                 If your doctor leaves a
  permit you to change your health care company during the year under the                network, it does not
  Medical Plan. Please Note: Any changes you make during the year must be                qualify as an event that
                                                                                         allows you to change
  consistent with your QSC. More information on QSCs is located in the What              coverage during the
  Happens If section.                                                                    year. Each year during
                                                                                         the fall Annual Benefits
  Qualified Events                                                                       Enrollment, you may
                                                                                         want to check with your
  Qualified Status Changes (QSCs) include:                                               provider to ensure that
     Marriage/Domestic Partnership/Civil Union                                           he or she plans to
                                                                                         continue to participate in
        You get married or establish a domestic partnership or civil union               the network of your
                                                                                         health care company.
        You get legally separated, divorced or end a domestic partnership or civil
        union
     Children
        You have a baby, complete an adoption, or assume guardianship
        Your child no longer qualifies for JPMorgan Chase benefits
     Family Members
        You or your family member loses benefit
        You or your family member gains benefit
        Your child/elder care arrangements change
        A family member who is covered by JPMorgan Chase benefits dies
     Moving



  Making the Changes
  You need to enroll and/or add your eligible dependents within 31 days following the Qualified Status
  Change (QSC) (90 days if the qualifying event is the birth or adoption of a child) for benefits to be
  effective on the date of the event. Please Note:       If You Do Not Enroll
  happens if you miss the 31-day enrollment period. (You will have 90 days from the QSC to add any newly
  eligible dependents to the Medical Plan should that dependent pass away within this 90-day period;
  please call HR Answers if this situation applies to you.)
  You can make these elections through the Benefits Web Center on My Health or by calling HR Answers.
  Please Note: Documentation of dependent eligibility will be required when a dependent is added for
  coverage and may be requested at any time by JPMorgan Chase or the claims administrator.
  JPMorgan Chase or an administrator appointed by JPMorgan Chase regularly conducts dependent
  eligibility verification to ensure that all covered dependents meet the current eligibility requirements of the
  JPMorgan Chase U.S. Benefits Prog




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  Allowable Changes
  The chart below details the allowable changes due to a Qualified Status Change (QSC).
  For domestic partnerships, the partnership must have been in effect for at least 12 continuous months,
  along with other criteria, before it makes the partner eligible to be covered by any JPMorgan Chase plan
  or program as a dependent.

                                                                                      Dependent Child
                                                                                      or Domestic
                                                         Spouse/Domestic
  QSC                        Employee                    Partner                      Child
  Marriage                   Add                         Add                          Add
  Domestic Partner
  Commitment                 Add                         Add                          Add
  Divorce, Legal
  Separation, or
  termination of DP
  commitment                 Add                         Drop                         Drop
  Death of Spouse/DP         Add*                        Drop                         Drop
  Birth/Adoption/Legal
  Guardianship               Add                         Add                          Add
  Child Gains Eligibility    Add                         Add                          Add

  eligible                   Add                         Add                          Add
  Child Gains Eligibility
  due to QMCSO               Add                         N/A                          Add
  Child/DP child no
  longer eligible            N/A                         N/A                          Drop
  Death of Child/DP
  child                      N/A                         N/A                          Drop
  You or covered
  dependent gains            Drop/reduce # of            Drop/reduce # of             Drop/reduce # of
  other coverage             dependents                  dependents                   dependents
  You or covered
  dependent loses
  other coverage             Add                         Add                          Add
  Change in dependent
  care provider or fees      N/A                         N/A                          N/A
  Move out of provider
  service area               Change option               change option                change option
  If you are enrolled in     You will remain in the      You will remain in the       You will remain in the
  the Simplified and         Simplified plan for the     Simplified plan for the      Simplified plan for the
  move out of AZ or OH       rest of the calendar        rest of the calendar         rest of the calendar
                             year. You will be offered   year. You will be offered    year. You will be offered
                             the appropriate Medical     the appropriate Medical      the appropriate Medical
                             plan options during the     plan options during the      plan options during the
                             next Annual Enrollment      next Annual Enrollment       next Annual Enrollment
  *    Call HR Answers




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  HIPAA Special Enrollment Rights
  The Health Insurance Portability and Accountability Act (HIPAA) is a federal law that provides special
  enrollment rights to employees and eligible dependents who decline coverage under the Medical, Dental
  and Vision Plans because they have other health care
  in certain cases in which you and/or your dependents decline Medical, Dental or Vision Plan coverage
  because you have health care coverage through another
  rights also apply if you acquire an eligible dependent.
  If you or your eligible dependent declined coverage under the Medical, Dental, or Vision Plan, you may
  enroll for health care coverage within 31 days of a qualifying event (90 days if the qualifying event is the
  birth or adoption of a child or if a newly eligible dependent should pass during this 90-day period) for
  coverage to be effective the date of the event. If you miss the 31-day window, you will not be able to
  make a change until the following Annual Benefits Enrollment. Qualifying events include:
     You and/or your eligible dependents lose other health care coverage because you no longer meet the
     eligibility requirements (because of legal separation, divorce, death, termination of employment, or
     reduced work hours);
     If you have a new dependent because of marriage, birth, adoption, or placement for adoption, you
     may be able to enroll yourself and your dependents provided that you request enrollment within 31
     days after the marriage, birth, adoption, or placement for adoption (90 days for birth/adoption). If you
     are eligible for coverage but do not enroll, your dependent cannot enroll;
     Employer contributions for other coverage ends; or
     The other coverage was provided under the Consolidated Omnibus Budget Reconciliation Act
     (COBRA) and the COBRA coverage period ends.
  If you qualify for this HIPAA special enrollment, your coverage under the Medical, Dental and/or Vision
  Plans will begin on the date of the event provided you enroll within the appropriate time frame and pay the
  required contributions.

  Effective April 1, 2009, if you or your
  (CHIP) coverage because you are no longer eligible, or become eligible for a premium assistance subsidy under
  Medicaid or CHIP, you may enroll for JPMorgan Chase coverage, as long as you make your request within 60 days
  of the event.




  When Coverage Ends
  Coverage and participation under the Medical, Dental, and Vision Plans will end on the last day of the
  month in which:

     coverage, if available);
     You cancel coverage or participation because of a Qualified Status Change (QSC) (cancellation must
     be consistent with the QSC);
     You stop making required contributions;
     You no longer meet the eligibility requirements of the Plans;
     You have been on an approved long-term disability leave and have been receiving LTD benefits under
     the LTD Plan for 24 months (see the Long-Term Disability section for more details);
     The Plan is discontinued; or
     You pass away.




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  When Dependent Coverage Ends
  Coverage for your dependents ends the earlier of when your coverage ends or when the dependent no
  longer meets the dependent eligibility requirements. For more details on dependent eligibility, see

     For your spouse, this means the last day of the month in which you pass away (unless you are eligible
     for retiree medical, dental, or vision coverage) or you divorce.
     For your domestic partner, this means the last day of the month in which the domestic partner ceases
     to meet the eligibility requirements.
     For your child, this means the last day of the month in which he or she turns age 26.
        Please Note: You can continue medical, dental, and vision coverage beyond age 26 for an
        unmarried child who is enrolled in that benefit and is deemed not capable of supporting himself or
        herself due to a mental or physical disability that began before the age limits described above and
        who is dependent on you for financial support. To continue coverage for a disabled dependent, that
        dependent must be enrolled in the Plan at the time they turn age 26. If your dependent loses
        coverage at 26, you will not be able to add them to your coverage at a later date.



  Continuing Health Coverage Under COBRA
  Health care and wellness program benefits for you, and your covered dependents, end as of the last day
  of the month in which you leave the firm. If you are currently enrolled in the Medical Plan (including the
  Medical Reimbursement Account [MRA]), Dental Plan, Vision Plan, or Health Care Spending Account,
  you may elect to continue this coverage for you and your covered dependents for up to 18 months by
  enrolling in the coverage available through the Consolidated Omnibus Budget Reconciliation Act
  (COBRA). Also under COBRA, you may elect to continue participating in certain wellness-related



  Under the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA), you and your covered
  dependents have the right to continue health care coverage at your own expense for a certain period of
  time if your JPMorgan Chase-provided health care

  Your covered dependents include your spouse and your eligible dependent children who are covered at

  JPMorgan Chase may provide COBRA-like health coverage if the domestic partner was covered under
  the JPMorgan Chase Medical Plan, Dental Plan, Vision Plan, and/or Employee Assistance Program at
  the time coverage ended.
  COBRA coverage applies to the:



     Tobacco Cessation program;
     Dental Plan;
     Vision Plan;
     Health Care Spending Account (through the end of the year in which the qualifying event occurs); and
     Onsite Health and Wellness Centers access, wellness screenings, tobacco cessation program and
     Employee Assistance Program as a bundled election, even if not electing any other benefits under
     COBRA.




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  If you elect COBRA Medical Plan coverage, the following are included:
     The Medical Plan which you were enrolled in as an active employee, including the Prescription Drug



     Tobacco cessation program.
  If you do not elect COBRA Medical Plan coverage, we are required to offer you the ability to elect to
  continue participation in certain wellness-related programs. These programs are offered through a single
             election. However, we strongly encourage you to consider the value in electing such programs:
     Access to the JPMorgan Chase on-site Health & Wellness Centers;
     Employee Assistance Program (EAP);
     Tobacco cessation program; and


  If you elect COBRA coverage for these services, you are eligible to earn Wellness Rewards (a taxable
  incentive payable through payroll) by completing the Initial Wellness Activity(ies) during the annual
  designated timeframe. This maximum amount of Initial Wellness Rewards you can earn is determined by
  your Medical Plan eligibility: JPMC Core Medical Plan $200, JPMC Simplified Medical Plan $100.
  Additionally, your covered spouse/domestic partner is not eligible to earn any Additional Wellness
  Activities.
  If you elect COBRA Medical Plan coverage and would like to continue to have access to the Employee
  Assistance Program and the JPMorgan Chase onsite Health & Wellness Centers, you should purchase

  Please Note:
  not be charged twice for the Tobacco cessation and Wellness Screening programs.
  More details about coverage under COBRA are available by calling HR Answers.

  Qualified Beneficiary

  Individuals eligible for COBRA continuation coverage ar
  includes the covered spouse and eligible dependent children of a covered employee, and, in certain cases, the
  covered employee.
  Under current law, to be considered a qualified beneficiary, an individual must generally be covered under a group
  health plan on the day before a qualifying event occurs that causes a loss in coverage (such as termination of
  employment or a divorce from or death of the covered employee). In addition, a newborn child or a child who is
  placed for adoption with the covered employee during the period of COBRA continuation coverage is also considered
  a qualified beneficiary.


  Qualifying Events
  You, your spouse, and your dependent children may elect COBRA coverage for varying lengths of time,
  depending on the circumstances under which your JPMorgan Chase health care coverage ends:
     If Your Employment Terminates or Your Work Hours Are Reduced. If you lose coverage because
     your employment terminates (for any reason other than gross misconduct) or your work hours are
     reduced, you and/or your covered dependents may purchase COBRA coverage for up to 18 months.
     Certain events may extend this 18-month COBRA continuation period:
         If your covered dependents experience any second qualifying event within the original 18-month
         period, they (but not you) may extend the COBRA continuation period for up to an additional 18
         months (for a total of up to 36 months from the original qualifying event).



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        If you become eligible for Medicare while employed (even if this is not a qualifying event for your
        covered dependents because they do not lose coverage) and then a second qualifying event (such
        as your termination of employment or reduction in hours of work) happens within 18 months, your
        covered dependents may elect COBRA continuation for up to 36 months from the date that you
        become eligible for Medicare.
     If Your Covered Dependents Lose Coverage. If your spouse and/or your dependent children lose
     coverage because of any of the circumstances listed below, they may purchase COBRA coverage for
     up to 36 months from the date that coverage ends because:
        You pass away;
        You divorce your spouse or become legally separated;
        You become eligible for Medicare; or
        Your dependent child loses dependent eligibility status under the terms of the plan (for example,
        the end of the month in which your dependent child reaches age 26).
     If You or Your Covered Dependents Become Disabled. If you or one of your covered dependents
     becomes disabled under the Social Security Administration guidelines within 60 days of a qualifying
     event, or you are disabled at the time COBRA coverage is initially offered, you and your covered
     dependents may continue COBRA coverage for an additional 11 months beyond the initial 18 months,
     to a total of 29 months. You must notify HR Answers, the COBRA Administrator, within 60 days after
     Social Security issues a determination of disability status and before the initial 18-month COBRA
     coverage period ends. You also must notify the COBRA Administrator within 30 days after Social
     Security determines the end of disability status for you or your covered dependent.
  If a second qualifying event occurs at any time during this 29-month disability coverage period, your
  covered dependents (but not you) may continue COBRA coverage for an additional seven months, to a
  total of 36 months.

  Continuation Coverage for a Domestic Partner Dependent
  A domestic partner or the children of a domestic partner who are not your tax dependents are not eligible
  for COBRA continuation coverage under federal law. However, JPMorgan Chase provides COBRA-like
  coverage if your domestic partner (and his or her eligible children) was covered under the JPMorgan
  Chase Medical Plan, Dental Plan and Vision Plan, at the time coverage ended. Call HR Answers for more
  information.
  The Employee Assistance Program is available under COBRA-like continuation coverage for all eligible
  dependents, although wellness screenings are limited to your domestic partner only (not eligible
  dependents). Access to on-site Health and Wellness Centers is not available to your domestic partner or
  any of your eligible dependents.
  The rate for domestic partner continuation coverage will be the same as the COBRA rate. Contributions
  will be made on an after-tax basis and will represent the full value of the coverage plus 2%. If you pass
  away while continuing your own coverage under COBRA, coverage may be continued by your covered
  domestic partner for a total of 36 months.
  If a second qualifying event occurs anytime within the original 18-month period, COBRA continuation
  coverage may be extended for an additional 18 months, for a total period of 36 months.

  Giving Notice of a COBRA Qualifying Event
  If your employment terminates, your work hours are reduced, or you pass away, and this results in a loss
  of benefits under the Medical, Dental, or Vision Plans, the COBRA Administrator automatically will notify
  you or your covered eligible dependents about your right to elect continued coverage under COBRA. You
  will receive the necessary election forms to your home address of record within 14 days from the date
  that the COBRA Administrator is notified of your eligibility for COBRA coverage.




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  However, if you divorce or your eligible dependent child loses dependent status under the terms of the
  plan, you or one of your covered dependents must call HR Answers within 60 days of any such event. If
  notice is not received within that 60-day period, your dependents will not be entitled to elect COBRA
  continuation coverage. Notice must be provided to the COBRA Administrator and must include the
  following information: the name of the employee or qualified beneficiaries requesting coverage, the
  qualifying event and the date of the qualifying event. In addition, you may be asked to provide supporting
  documentation such as a divorce decree. Otherwise, your covered dependents will not be eligible to elect
  continued coverage under COBRA.
  If a qualified beneficiary experiences a second qualifying event that would           Updating Your
  entitle him or her to additional months of continuation coverage, he or she must      Personal Contact
  notify the COBRA Administrator. This notice must include the:                         Information
     Name of the employee;                                                              To ensure that you
     Name of the qualified beneficiary receiving COBRA coverage; and                    receive information to
                                                                                        enroll in COBRA, please
     Type and date of the second qualifying event.                                      contact HR Answers to
                                                                                        update your personal
  This notice must be provided within 60 days from the date of the second               contact information as
  qualifying event (or, if later, the date coverage would normally be lost because
  of the second qualifying event). In addition, the qualified beneficiary may be        contact information.
  asked to provide a copy of a death certificate or divorce decree.
  When the plan is notified that one of these events has happened, the qualified
  beneficiary will automatically be entitled to the extended period of COBRA continuation coverage. If a
  qualified beneficiary fails to provide the appropriate notice and requested supporting documentation
  during this 60-day notice period, the qualified beneficiary will not be entitled to extended continuation
  coverage.
  If you are a former employee and you have a newborn or adopt a child while you are on COBRA
  continuation coverage and you enroll the new child for coverage, the new child will be considered a
  qualified beneficiary rather than an after-acquired dependent. This gives the child additional rights, such
  as the right to continue COBRA benefits even if you pass away during the COBRA period, and the right to
  an additional 18 months of coverage if a second qualifying event occurs during the initial 18-month
  COBRA period after your termination or retirement.

  Choosing COBRA Coverage
  You and/or your covered dependents must choose to continue coverage within 60 days after the later of
  the:
     Date you and/or your covered eligible dependents would lose coverage because of the qualifying
     event; or
     Date you are notified of your and/or your cove
     because of the qualifying event (that is, the date of your COBRA Enrollment Notice).
  If you make no election during the 60-day period, you waive your right to continue coverage. Each
  qualifying beneficiary has an independent right to elect COBRA coverage. Covered employees may elect
  coverage on behalf of their spouses, and parents may elect coverage on behalf of their children.
  You will receive COBRA materials approximately two weeks after the date they are notified of the
  qualifying event. These materials will describe the enrollment instructions and time frames for making
  your elections. You will have a period of 60 days from the date of your qualifying event to elect COBRA
  coverage. Important Notes:
  automatically provided. Also, if you elect COBRA your coverage will stay with the carrier and current
  option you were with when you were active (Aetna or Cigna, Option 1 or Option 2); this also applies to
  Dental coverage. If you are still enrolled in COBRA during Annual Enrollment you will be able to change
  carriers then.




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  Premium Due Dates
  If you elect to continue coverage under COBRA, you must pay the first two premiums (including all
  premiums due but not paid) within 45 days after your election. Thereafter, COBRA premiums are due on
                                                      s coverage, and must be paid within 30 days of each
  due date. If you elect to continue your coverage under COBRA but do not make timely payments in full
  (even if you do not receive a bill), your coverage will be terminated retroactively to the time frame
  applicable to your last full payment and will not be reinstated.

  Coverage During the Continuation Period
  With respect to Medical Plan, Dental Plan and Vision Plan coverage, you and your covered dependents
  may choose to continue the coverage option that you had as an active employee. You and your covered
  dependents may subsequently change coverage during the next Annual Benefits Enrollment, if a qualified
  change in status occurs, or at other times, to the same extent that active employees may do so.

  COBRA Coverage Costs
  If you choose to continue coverage under COBRA, you will generally pay the full cost* for yourself and/or
  your qualified beneficiaries, plus a 2% administrative fee. If COBRA coverage is extended because of a
  disability, the rates for coverage during the additional 11 months are 150% of the full cost.
  If a second qualifying event occurs during the initial 18-month period of COBRA coverage, the 102% rate
  applies to you and your qualified beneficiaries for the full 36 months of COBRA coverage, even if you or
  one of your covered dependents becomes disabled. However, if a second qualifying event occurs during
  an extended disability coverage period, then the rates of coverage will continue at the higher disability
  coverage rates explained above.
  *    The cost of COBRA is based on your plan elections and your Total Annual Cash Compensation (TACC), as defined by the Plan.
       Your TACC is frozen as of the last day of active employment with JPMorgan Chase.


  Company-Subsidized COBRA Coverage
  If you are eligible for benefits under the U.S. Severance Pay Plan, you will receive a COBRA subsidy and
  will pay the active employee rate for medical coverage under COBRA for the lesser of 1) six months; or
  2) the number of months of severance benefits you receive. For calculation purposes, four weeks of
  severance pay equal one month, and fractional months are rounded up to the next higher whole number
  of months (for example, 11 weeks would be rounded up to three months). This subsidy will apply to
  medical and dental coverage only (the Vision Plan, Health Care Spending Account Plan, and the
  Wellness Program are not subsidized by JPMorgan Chase, including under COBRA for individuals
  receiving severance benefits). Your eligibility for company-subsidized COBRA coverage is conditioned
                                                              Regardless of whether you were ever informed
  that you are eligible for benefits under the U.S.
  determination that you engaged in misconduct or violat
  during the COBRA subsidy period or that you could have been terminated for cause will render you
  ineligible for a COBRA subsidy and premiums due will be recalculated retrospectively. Unsubsidized
  COBRA coverage (102% of the total cost of coverage) will be available after the end of the subsidized
  portion of the COBRA period for the remainder of the 18-month COBRA continuation period.
  Company-subsidized COBRA coverage is also available for your eligible, covered survivors, if you pass
  away as an active employee. Continuing coverage is available at the active employee costs for up to 36
  months.




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  How Continued Coverage Could End
  Under COBRA rules, coverage will end for you and/or your covered dependents when the first of the
  following occurs:
     Your COBRA coverage period ends;
     You do not make the required premium payments for coverage on a timely basis;
     You obtain coverage under another group plan that does not exclude or limit coverage for pre-existing
     conditions. However, if the new plan does have pre-existing conditions or limits, you can continue your
     COBRA coverage for that specific condition up to the end of your original maximum COBRA period
     (18 or 36 months, depending on your situation);
     You and/or your covered dependents become eligible for Medicare. However, if you become eligible
     for Medicare before your covered dependents, your covered dependents may be eligible to continue
     coverage through COBRA for up to 36 months from the date of the original qualifying event;
     In the case of an extended disability coverage period, you or your covered dependent is no longer
     considered disabled under Social Security guidelines;
     For newborns and children adopted by or placed for adoption with you during your COBRA
     continuation period, the date your COBRA coverage period ends, unless a second qualifying event
     occurs; or
     JPMorgan Chase terminates the plan.

  The MRA and COBRA
  If you had an MRA as an active employee, you can use any remaining balance in your MRA to pay for
  eligible out-of-pocket medical and prescription drug expenses through the end of the month in which you
  terminate or while enrolled in COBRA medical coverage.
  If you enroll in COBRA medical coverage, you can continue to earn Wellness Rewards to increase the
  value of your MRA, up to the full annual MR                                       Core Medical Plan
  section). While enrolled in COBRA:
     Your MRA balances will roll over from one calendar year to the next; and
     You can use any remaining balance in your MRA through automatic claim payment or debit card
     payment method depending on the method you elect.
     Wellness Rewards are determined by the Medical Plan in which you are enrolled:
        JPMC Core Medical Plan $1,000 or $1,400 if covering a spouse/domestic partner
        JPMC Simplified Medical Plan $740 or $1,110 if covering a spouse/domestic partner
  If you do not enroll in COBRA medical coverage, you cannot earn additional Wellness Rewards beyond
  your termination of employment. You can use your existing MRA funds to pay for out-of-pocket costs
  incurred prior to the end of the month of your termination date. For example, if you terminate as of
  January 5, 2021, any out-of-pocket medical and prescription drug expenses incurred through January 31,
  2021, are eligible, but you must submit an MRA Claim Form by December 31, 2022, to receive a
  reimbursement. Any remaining MRA balance will be forfeited (unless you are retirement eligible in which
  case the balance remains intact and can be used to offset medical and prescription drug expenses until
  the account is depleted; administrative fees may be incurred).
  If you completed the Initial Wellness Activity(ies) during the designated time frame in a given year, you
  will earn the corresponding wellness rewards in your MRA in January of the following year, presuming
  you are actively employed at that time or you elect COBRA Medical.
  Those employees who terminate before the award date in mid-January and do not elect COBRA will not
  receive funds for completing the Initial Wellness Activity(ies).
  If you elect COBRA medical coverage, no administrative fees are deducted from your MRA.




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  Special Rule for Health Care Spending Account Participants
  Former employees may be eligible to continue participation in the Health Care Spending Account under
  COBRA, if you have not used your entire account balance prior to the date your participation would end.
  To continue participating under COBRA, you must make after-tax contributions equal to 102% of the total
  monthly contribution you were making to the Health Care Spending Account before your participation
  ended. Coverage may not be continued into the next plan year.
  Please Note: You may want to elect to continue your participation in the Health Care Spending Account
  under COBRA if you have not used your entire account balance before your termination date and you
  anticipate that you will incur expenses after that date. Otherwise, only those expenses incurred through
  the end of the month in which your employee coverage ends will be eligible for reimbursement.

  Additional Questions About COBRA Coverage
  If you have additional questions about your COBRA coverage, please contact at (877) JPMChase
  ((877) 576-2427)), or (212) 552-5100, if calling from outside the United States. Service Representatives
                                                      m. Eastern time, except certain U.S. holidays.



  Defined Terms
                                  come across some important terms related to the accounts. To help you
  better understand the accounts, many of those important terms are defined here.

  Before-Tax           Before-tax contributions are contributions that are taken from your pay before federal (and, in
  Contributions        most cases, state and local) taxes are withheld. Before-tax dollars are also generally taken
                       from your pay before Social Security taxes are withheld. This lowers your taxable income and
                       your income tax liability. Your Medical, Dental, Vision and Spending Accounts Plans payroll
                       contributions are generally taken on a before-tax basis.
  Claims               The claims administrator is the company that provides certain claims administration services
  Administrator        for the Medical, Dental and Vision Plans.
                       JPMorgan Chase is not involved in deciding appeals for any benefit claim denied under the
                       Medical, Dental and Vision Plans. All fiduciary responsibility and decisions regarding a claim
                       for a denied benefit under the Plan rest solely with the claims administrator. Please Note:
                       Claims and appeals relating to eligibility to participate in the Medical, Dental and Vision Plans
                       are decided by the plan administrator. Consult the Plan Administration section for details.
  COBRA                The Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA) is a federal law that
                       allows you and/or your covered dependents to continue Medical Plan coverage on an after-
                       tax basis (under certain circumstances) when coverage would otherwise end. This Health
                       Care Participation section provides details on COBRA coverage.
                       Publications 502, 503 and 15B are Internal Revenue Service (IRS) publications that can be
                       used as a guide to determine eligible and ineligible expenses under the Health Care Spending
                       Account, Dependent Care Spending Account and Transportation Spending Accounts. You
                       can request a copy by calling the Internal Revenue Service (IRS) at (800) 829-FORM
                       ((800) 829-3676), or you can view these publications by logging on to www.irs.gov.
  Medical
  Reimbursement                                                       your behalf at your health care company when
  Account              you enroll in the Medical Plan. You (and your covered spouse/domestic partner) can earn
                       Wellness Rewards for your MRA by completing Initial Wellness Activities and Additional
                       Wellness Activities. This account is JPMC-funded only; you cannot contribute to your MRA.
                       You can use the funds in your MRA to pay for eligible out-of-pocket medical and prescription
                       drug expenses (deductibles, coinsurance, and copayments).




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  Medicare               Medicare is Health Insurance for the Aged and Disabled provisions of Title XVIII of the Social
                         Security Act of the United States, as enacted or later amended. Coverage is available to most
                         U.S. residents age 65 and older, those with a disability for at least 29 months, and those with
                         end-stage renal disease (ESRD). Generally, Medicare is the primary coverage for individuals
                         who are age 65 and older, unless those individuals are actively working.
  Qualified Status       The JPMorgan Chase benefits you elect during each Annual Benefits Enrollment will
  Change                 generally stay in effect throughout the plan year, unless you elect otherwise, because of a
                         Qualified Status Change (QSC). If you have a QSC, you have 31 days from the qualifying
                         event to make benefits changes; 90 days from the qualifying event if the event is the birth or
                         adoption of a child. The benefits you elect will be effective the date of the event if you make
                         the elections timely. (Please Note: You will have 90 days from the QSC date to add any
                         newly eligible dependents to the Medical Plan, should that dependent pass away within this
                         90-day period.)
                         Please Note: Regardless of whether you experience a qualified change in status, you cannot
                         change your health care company during the year.




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  Plan Administration
  Effective 1/1/21                                                                      About This Section
  This section of the Guide provides you with important information as required         This section summarizes
  by the Employee Retirement Income Security Act of 1974 (ERISA) about the              administrative
                                                                                        information and rights for
  JPMorgan Chase Health Care and Insurance Plans for Active Employees.                  the Health Care and
                                                                                        Insurance Plans for
                                                                                        Active Employees.
  choosing to do so, ERISA mandates that JPMorgan Chase clearly                         Please retain this section
                                                                                        for your records. Other
  communicate to you how the plans subject to the provisions of ERISA operate           sections may be needed
                                                                                        in addition to this section
  and what rights you have under the law regarding plan benefits. This section is       to provide a complete
  part of the summary plan description of each of your JPMorgan Chase Health            summary plan
                                                                                        description (SPD) and/or
  Care and Insurance Plans for Active Employees governed by ERISA. This                 plan document for a
                                                                                        plan, including the
  section of the Guide also provides important information about certain benefits       sections that describe
  plans that are not governed by ERISA, such as the Personal Excess Liability           the benefits the plan
                                                                                        provides.
  Plan.
                                                                                        These SPDs/plan
                                                                                        documents do not
  While the U.S. Fertility Benefits Program is a benefit offered under the Medical      include all of the details
  Plan, the section describing the Fertility Benefits Program includes the              contained in the
                                                                                        applicable insurance
  information that is included in this Plan Administration section for most other       contracts, if any. For
                                                                                        plans with applicable
  plans.                                                                                insurance contracts, if
                                                                                        there is a discrepancy
  For most plans, the summary plan description and the plan document are the            between the insurance
                                                                                        contract and the
  same document. For plans where this is not the case, copies of the plan
                                                                                        SPD/plan document, the
  documents are filed with the plan administrator and are available upon request.       insurance contract will
                                                                                        control.
  For plans that are funded through insurance, if there is a discrepancy between
  the insurance policy and the SPD, the insurance policy will govern.




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  Questions?

  Please see the Contacts                                               start of each section of this Guide for details
  on where to call and how to access the appropriate web center for each benefit plan. Each section of the Guide also

  For questions about eligibility and plan operations, contact HR Answers, at 877-JPMChase ((877) 576-2427) (or
  (212) 552-5100, if calling from outside the United States). Servic
  from 8 a.m. to 7 p.m. Eastern time, except certain U.S. holidays.




  The JPMorgan Chase U.S. Benefits Program is available to most employees on a U.S. payroll who are regularly
  scheduled to work 20 hours or more a week and who are employed by JPMorgan Chase & Co. or one of its
  subsidiaries to the extent that such subsidiary has adopted the JPMorgan Chase U.S. Benefits Program. This
  information does not include all of the details contained in the applicable insurance contracts, plan documents, and
  trust agreements. If there is any discrepancy between this information and the governing documents, the governing
  documents will control. JPMorgan Chase & Co. expressly reserves the right to amend, modify, reduce, change, or
  terminate its benefits and plans at any time. The JPMorgan Chase U.S. Benefits Program does not create a contract
  or guarantee of employment between JPMorgan Chase and any individual. JPMorgan Chase or you may terminate
  the employment relationship at any time.




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  General Information
  The following summarizes important administrative information about the            Keep Your
  JPMorgan Chase Health Care and Insurance Plans for Active Employees                Information Current
  governed by ERISA. Please Note: Each plan can be identified by a specific
  plan number, which is on file with the U.S. Department of Labor. Please see        Update your contact
                                                                                     information (home
  and numbers.                                                                       address and phone
                                                                                     numbers) on me@JPMC
                                                                                     To access My Personal
  Plan Sponsor                                                                       Profile while actively
     JPMorgan Chase Bank, NA                                                         employed, go to
     545 Washington Boulevard                                                        me@JPMC
     12th Floor                                                                      Information.
     Mail Code: NY1-G120
     Jersey City, NJ 07310
  (Certain participating companies have adopted some or all of the plans for their eligible employees. See
                                            a list of participating companies.)

  Plan Year


  Plan Administrator
  For all plans described in this Guide except for the Business Travel Accident Insurance and the Short-
  Term Disability Plan:
     JPMorgan Chase U.S. Benefits Executive
     c/o JPMorgan Chase Benefits Administration
     545 Washington Boulevard
     12th Floor
     Mail Code: NY1-G120
     Jersey City, NJ 07310
  For the Business Travel Accident Insurance Plan:
     JPMorgan Chase Corporate Insurance Services
     JPMorgan Chase & Co.
     8181 Communications Pkwy Bldg B, Floor 03
     Mail Code TXW-3305
     Plano, TX 75024-0239, United States
  For Short-Term Disability Plan (Not applicable to the JPMorgan Chase Long-Term Disability Plan):
     JPMorgan Chase Employee Relations Executive
     JPMorgan Chase & Co.
     28 Liberty Street
     22nd Floor
     Mail Code: NY1-A302
     New York, NY 10005-1401




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  Claims Administrator
  The contact information for claims administrators for the various benefits plans can be found under



  COBRA Administrator
  COBRA questions should be directed to JPMorgan Chase HR Answers.
  COBRA payments should be directed to:
     COBRA Payments JPMorgan Chase
     P.O. Box 27524
     New York, NY 10087-7524
     (877) 576-2427

  Benefits Fiduciaries
                                                    for information on benefits fiduciaries.

  Agent for Service of Legal Process
  Legal Papers Served:
     JPMorgan Chase & Co.
     4 Chase Metrotech Center
     FL 18, NY1-C312
     Brooklyn, NY 11245
  Service of legal process may also be made upon a plan trustee or the plan administrator.

  Employer Identification Number
  XX-XXXXXXX



  Plan Administrative Information
  The following chart shows the information that varies by plan. All of the following plans are governed by
  ERISA. (The Dependent Care Spending Account, Transportation Spending Accounts, and the Group
  Personal Excess Liability Insurance Plan are not governed by ERISA and are not listed here. For more


  Plan Name/ Number                  Insurer                  Payment of                 Type of
                                                              Benefits                   Administration
  The JPMorgan Chase                                                                     Self-Insured/Trustee
  Medical Plan/502
                                     on page 298 for          on page 298 for
                                     names, addresses,        names, addresses and
                                     and telephone            telephone numbers for
                                     numbers for the          the Medical Plan and
                                     Medical Plan and the     the Prescription Drug
                                     Prescription Drug        Plan.
                                     Plan.




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  Plan Name/ Number           Insurer               Payment of             Type of
                                                    Benefits               Administration
  The JPMorgan Chase Dental                                                Self-
  Plan/502                                                                 Insured/Trustee:
                              on page 298 for       on page 298 for        PDP Option and
                              names and             names, addresses,      Expatriate Dental
                              addresses for the     and telephone          Option
                              Preferred Dentist     numbers for the PDP    Fully Insured:
                              Program (PDP)         Option, the DMO        DMO Option and
                              Option, the Dental    Option, the DHMO       DHMO Option
                              Maintenance           Option, and the
                              Organization (DMO)    Expatriate Dental
                              Option, the Dental    Option.
                              Health Maintenance
                              Organization (DHMO)
                              Option, and the
                              Expatriate Dental
                              Option.
  The JPMorgan Chase Vision   FAA/EyeMed Vision     FAA/EyeMed Vision      Fully Insured
  Plan/502 (Group 1018009)    Care                  Care
                              P.O. Box 8504         P.O. Box 8504
                              Mason, OH             Mason, OH
                              45040-7111            45040-7111
  The JPMorgan Chase Basic    Metropolitan Life     Metropolitan Life      Fully Insured
  Life Insurance Plan/502*    Insurance Company     Insurance Company
                              (MetLife)             (MetLife)
                              200 Park Avenue       200 Park Avenue
                              New York, NY 10017    New York, NY 10017
  The JPMorgan Chase          Metropolitan Life     Metropolitan Life      Fully Insured
  Supplemental Term Life      Insurance Company     Insurance Company
  Insurance Plan/502*         (MetLife)             (MetLife)
                              200 Park Avenue       200 Park Avenue
                              New York, NY 10017    New York, NY 10017
  The JPMorgan Chase          Metropolitan Life     Metropolitan Life      Fully Insured
  Accidental Death and        Insurance Company     Insurance Company
  Dismemberment (AD&D)        (MetLife)             (MetLife)
  Insurance Plan/502          200 Park Avenue       200 Park Avenue
                              New York, NY 10017    New York, NY 10017
  The JPMorgan Chase Long-    The Prudential        The Prudential         Fully Insured
                              Insurance Company     Insurance Company of
  Group (LTD)/502             of America            America
                              P.O. Box 13480        P.O. Box 13480
                              Philadelphia, PA      Philadelphia, PA
                              19176                 19176
  The JPMorgan Chase Long-    Unum                  Unum                   Fully-Insured
                              1 Fountain Square     The Benefits Center
  Individual Disability       Chattanooga, TN       P.O. Box 100262
  Insurance (IDI)/502         37402                 Columbia, SC
                                                    29202-3262




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  Plan Name/ Number           Insurer                 Payment of                Type of
                                                      Benefits                  Administration
  The JPMorgan Chase Group    MetLife Legal Plans,    MetLife Legal Plans,      Fully Insured
  Legal Services Plan/502     Inc.                    Inc.
                              1111 Superior           1111 Superior Avenue
                              Avenue                  Cleveland, OH 44114
                              Cleveland, OH 44114
  The JPMorgan Chase          Administrator: Cigna    Administrator: Cigna      Fully-Insured (CA &
  Employee Assistance         Behavioral Health,      Behavioral Health, Inc.
  Program (EAP)/502           Inc.                    Attn: Karen Cierzan,      component only)
                              Attn: Karen Cierzan,    President                 Pre-Paid Service
                              President               11095 Viking Drive,       (all other)
                              11095 Viking Drive,     Suite 350
                              Suite 350               Eden Prairie, MN
                              Eden Prairie, MN        55344
                              55344                   Insurer: Cigna Health
                              Insurer: Cigna Health   and Life Insurance
                              and Life Insurance      Company
                              Company                 900 Cottage Grove Rd.
                              900 Cottage Grove       Hartford, CT 06152
                              Rd.
                              Hartford, CT 06152
  The JPMorgan Chase Back-    N/A                     Bright Horizons Family    Self-Insured
  up Child Care Plan/502                              Solutions
                                                      200 Talcott Avenue,
                                                      South
                                                      Watertown, MA 02472
  The JPMorgan Chase                                                            Fully Insured
  Business Travel Accident    Union Fire Insurance    Fire Insurance
  (BTA) Insurance Plan/506    Company of              Company of
                              Pittsburgh, PA          Pittsburgh, PA
                              17200 West 119 St.      17200 West 119 St.
                              Shawnee Mission, KS     Shawnee Mission, KS
                              66225                   66225
  The JPMorgan Chase Health                                                     Salary Reduction/
  Care Spending Account                                                         Paid from the
  Plan/510                                            on page 298 for           general assets of
                                                      names, addresses,         the employer
                                                      and telephone
                                                      numbers for the Health
                                                      Care Spending
                                                      Account Plan
  The JPMorgan Chase Short-   N/A                     Sedgwick Claims           Self-Insured
  Term Disability Plan/548                            Management Services
                                                      JPMorgan Chase
                                                      Leave of Absence
                                                      Service Center
                                                      P.O. Box 14648
                                                      Lexington, KY
                                                      40512-4648




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  Plan Name/ Number                        Insurer                     Payment of                    Type of
                                                                       Benefits                      Administration
  The JPMorgan Chase                       N/A                         JPMorgan Chase                Self-Insured
  Health & Wellness Centers                                            Medical Director
  Plan/559                                                             JPMorgan Chase &
                                                                       Co.
                                                                       270 Park Avenue,
                                                                       11th Floor
                                                                       Mail Code: NY1-K318
                                                                       New York, NY
                                                                       10017-2014
  *    The JPMorgan Chase Basic Life Insurance Plan and the JPMorgan Chase Supplemental Term Life Insurance Plan are




  Participating Companies
  In some cases, affiliates or subsidiaries of JPMorgan Chase have decided to participate in the
  JPMorgan Chase benefits plans and offer the benefits described in this Guide. These affiliates or

  any company may end its participation in a plan at any time.
       Bear Stearns Asset Management, Inc.                              J.P. Morgan Securities, LLC
       Connexions Loyalty Acquisition, LLC                              J.P. Morgan Trust Company of Delaware
       eCast Settlement Corp                                            JPMorgan Chase Bank, National Association
       FNBC Leasing Corporation                                         JPMorgan Chase Holding LLC
       Highbridge Capital Mgmt, LLC                                     JPMorgan Distribution Services, Inc.
       InstaMed Communications, LLC                                     Neovest, Inc.
       J.P. Morgan Alternative Asset Management,                        Paymentech, LLC
       Inc.
                                                                        Security Capital Research & Management,
       J.P. Morgan Chase Custody Services, Inc.                         Incorporated
       J.P. Morgan Electronic Financial Services,                       WePay Inc.
       Inc.
                                                                        55i, LLC
       J.P. Morgan Institutional Investments, Inc.
       J.P. Morgan Investment Holdings LLC
       J.P. Morgan Investment Management Inc.




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  Your Rights Under ERISA
  The Employee Retirement Income Security Act of 1974 (ERISA) gives you                    An Important Note
  certain rights and protections while you are a participant in the
  JPMorgan Chase employee benefits plans described in this Guide. It is unlikely           The Dependent Care
  you will need to exercise these rights, but it is important that you be aware of         Spending Account,
  what they are.                                                                           Transportation Spending
                                                                                           Accounts, and Group
  ERISA provides that all plan participants are entitled to:                               Personal Excess Liability
                                                                                           Insurance Plan are not
     Examine, without charge, at the office of the plan administrator, all plan            subject to the provisions
     documents including insurance contracts and copies of all documents filed             of ERISA.
     by the plans with the U.S. Department of Labor, such as detailed annual
     reports (Form 5500 Series).
     Obtain, upon written request to the plan administrator, copies of all plan documents and other plan
     information (for example, insurance contracts, Form 5500 Series, and updated summary plan
     descriptions). The plan administrator may require reasonable charges for the copies.
                                                               rts. (The plan administrator is required by law to
     furnish each participant with a copy of such reports.)
     Continue health care coverage for yourself, your spouse, or your eligible dependents if there is a loss
     of coverage under the plan because of a qualifying event. You or your dependents may have to pay
     for such coverage. Review this summary plan description and the documents governing the plan on
     the rules governing your COBRA continuation coverage rights.


  Enforce Your Rights
                                                                                           Keep Your Contact
  If your claim for a welfare benefit is denied or ignored, in whole or in part, you       Information Current
  have the right to know why this was done, to obtain copies of documents
  relating to the decision free of charge, and to appeal any denial, all within            Active participants are
                                                                                           required to update their
  certain time schedules.
                                                                                           personal contact
  Under ERISA, there are steps you can take to enforce the above rights. For               information, including
  instance:                                                                                mailing address, to
                                                                                           receive benefits-related
                                             cuments or the latest annual report           information and
     from the plan administrator and do not receive it within 30 days, you may file        correspondence. You
     suit in a U.S. federal court. In such a case, the court may require the plan          can make changes
     administrator to provide the information and pay up to $110 a day until you           online via me@JPMC
     receive the materials, unless they were not sent because of reasons beyond
                                                                                           Contact Information. You
     the control of the plan administrator.                                                can also contact HR
     If you have a claim for benefits that is denied or ignored, in whole or in part,      Answers. See the
     you may file suit in a U.S. state or federal court. In addition, if you disagree      Contacts section.
                                              f, concerning the qualified status of a
     domestic relations order or a medical child support order, you may file suit in
     federal court.

     against for asserting your rights, you may seek assistance from the U.S. Department of Labor, or you
     may file suit in a U.S. federal court. The court will decide who should pay court costs and legal fees. If
     you are successful, the court may order the person you have sued to pay these costs and fees. If you
     lose, the court may order you to pay these costs and fees, for example, if it finds your claim to be
     frivolous.




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  About Plan Fiduciaries
                                                   on responsible for plan administration, claims
  administration, and managing plan assets. The plan fiduciary has a duty to administer the plan prudently
  and in the best interest of all plan members and beneficiaries.

  Prudent Actions by Plan Fiduciaries
  In addition to establishing the rights of plan participants, ERISA imposes duties upon the people who are
  responsible for the operation of the benefits plans. Certain individuals who are responsible for the plans
                                                             ter the plans prudently and in the interest of you,
  other plan members, and beneficiaries. While participation in these plans does not guarantee your right to

  otherwise discriminate against you in any way to prevent you from obtaining your benefits or exercising
  your rights under ERISA.

  Health Care and Insurance Plans for Active Employees
  For each of the following plans that are governed by ERISA, the plan administrators delegate fiduciary
  responsibility for claims and appeals to the claims administrators, and to the Health Care and Insurance
  Plans Appeals Committee, where that committee is authorized to decide appeals as described in this
  Guide:
     Medical Plan;
     Prescription Drug Plan;
     Fertility Benefits Program;
     Dental Plan;
     Health Care Spending Account Plan;
     Vision Plan;
     Health & Wellness Centers Plan;
     Life and AD&D Insurance Plans;
     Business Travel Accident Insurance Plan;
     Long-Term Disability Plan, including Group LTD and Individual Disability Insurance;
     Short-Term Disability Plan;
     Employee Assistance Program;
     Group Legal Services Plan; and
     Back-Up Child Care Plan.

  Assistance with Your Questions
  If you have any questions about the JPMorgan Chase Health Care and Insurance Plans for Active
  Employees, you should contact HR Answers. (See the Contacts section.) If you have any questions about
  this statement or about your rights under ERISA, you should contact the nearest Regional Office of the
  Employee Benefits Security Administration, U.S. Department of Labor, listed in your telephone directory,
  or:
     Division of Technical Assistance and Inquiries
     Employee Benefits Security Administration
     U.S. Department of Labor
     200 Constitution Avenue, N.W.
     Washington, DC 20210




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  You may also obtain certain publications about your rights and responsibilities under ERISA by calling the
  publications hotline of the Employee Benefits Security Administration or by visiting www.dol.gov/ebsa via
  the Internet.
  You should also contact the Department of Labor if you need further assistance or information about your
  rights under the Health Insurance Portability and Accountability Act of 1996 (HIPAA), with respect to
  health benefits that are offered through a group health plan, as well as the remedies available if a claim is
  denied in whole or in part.



  Privacy Information
  The privacy of your health information is important to you and to JPMorgan Chase. We are committed to
  protecting your personal health information, and complying with privacy laws, including the Health
  Insurance Portability and Accountability Act (HIPAA). This means that when you complete a Wellness
  Screening or a Wellness Assessment, participate in any health coaching activities, or receive health care
  treatment of any kind, your personal health information is not disclosed to anyone, including
  JPMorgan Chase, without your authorization and except as permitted by HIPAA. (For detailed information
  about your HIPAA Privacy Rights, please see the Privacy Notice found on My Health.
  If you are enrolled in the Medical Plan, your health care company will have access to your individual
  health care and prescription claims data, in addition to the results of your Wellness Screening and
  Wellness Assessment. A medical professional at your health care company will review the results and
  may contact you to discuss ways to improve your health. Your health care company maintains the
  confidentiality of your information in accordance with privacy regulations such as HIPAA.
  Similarly, if you have waived coverage under the JPMorgan Chase Medical Plan and you participate in
  the Wellness Screening and Wellness Assessment, a medical professional at Cigna will review the results
  and may contact you to discuss ways to improve your health. Cigna will maintain the confidentiality of
  your information in accordance with privacy regulations such as HIPAA.
  If you use a JPMorgan Chase Health & Wellness Center, your personal health information is likewise kept
  confidential. While the JPMorgan Chase Health & Wellness Centers are staffed with nurses and some
  doctors who are employed by JPMorgan Chase, they are medical professionals and do not disclose your
  personal health information to anyone outside the Center without your permission. If you choose to visit
  one of our onsite Health & Wellness Centers, and/or share your Wellness Screening results or any other
  health information with staff in the Centers, that information will be kept private and will not be shared with
  management, Human Resources, or any other individual or group within JPMorgan Chase. For more
  information, go to My Health > Benefits Enrollment > Benefits Resources > Privacy Notice.

  Privacy Notice
  JPMorgan Chase is committed to maintaining the highest level of privacy and discretion about your
  personal compensation and benefits information.
  However, federal legislation under the Health Insurance Portability and Accountability Act (HIPAA) legally

                                                        plans may be used and disclosed, as well as how
  plan participants can get access to their protected health information.

  What Is Protected Health Information?

  Protected health information is considered to be individually identifiable health information as it relates to the:
     Past, present, or future health of an individual; or
     Health care services or products provided to an individual; or
     Past, present, or future payment for health care services or products.




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  The information included in this section is a summary of HIPAA privacy regulations. To comply with the
  law, JPMorgan Chase will distribute to you once every three
  Information Under the JPMorgan Chase Health Care
  health information may be used and your rights with regard to this information.
  You can access the Privacy Notice at My Health or by contacting HR Answers at any time to request a
  paper copy. Under HIPAA, protected health information is confidential, personal, identifiable health
  information about you that is created or received by a claims administrator (like those under the
  JPMorgan Chase Medical Plan), and is transmitted or ma
  person reading the information could reasonably use it to identify an individual.)
  Under HIPAA, the Medical Plan may only use and disclose
  connection with payment, treatment, and health care operations. In addition, the Medical Plan must
  restrict access to and use of protected health information by all employees/groups except for those
  specifically involved in administering the Medical Plan, including payment and health care operations. In
  compliance with HIPAA, the Medical Plan agrees to:
     Not use or further disclose protected health information other than as permitted or required by law;
     Not use or disclose protected health information that is genetic information for underwriting purposes;
     Ensure that any agents (such as an outside claims administrator) to whom the Medical Plan gives
     protected health information agree to the same restrictions and conditions that apply to the Medical
     Plan with respect to this information;
     Not use or disclose the information for employment-related actions and decisions or in connection with
     any other benefit or employee benefit plan of JPMorgan Chase;
     Notify you if a breach of your protected health information is discovered;
     Report to the JPMorgan Chase HIPAA Privacy Officer any use or disclosure of the information that is
     inconsistent with the designated protected health information uses or disclosures;
     Obtain your authorization for any use or disclosure of protected health information for marketing, or
     that is a sale of the protected health information as defined under applicable law;
     Make available protected health information in
     personal information;
     Make available protected health information for amendment and incorporate any amendments to
     protected health information consistent with the HIPAA rules;
     Make available the information required to provide an accounting of disclosures in accordance with the
     HIPAA rules;

     protected health information received from the claims administrators available to the Secretary of
     Health and Human Services for purposes of det                              s compliance with HIPAA;
     Return or destroy all protected health information received in any form from the claims administrators.
     The Medical Plan will not retain copies of protected health information once it is no longer needed for
     the purpose of a disclosure. An exception may apply if the return or destruction of protected health
     information is not feasible. However, the Medical Plan must limit further uses and disclosures of this
     information to those purposes that make the return or destruction of the information infeasible; and
     Request your authorization to use or disclose psychotherapy notes except as permitted by law, which
     would include for the purposes of carrying out the following treatment, payment or health care
     operations:
        Use by the originator of psychotherapy notes for treatment;
        Use or disclosure by the Medical Plan for its own training program; or
        Use or disclosure by the Medical Plan to defend itself in a legal action or other proceeding brought
        by you.



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  If you believe that your rights under HIPAA have been violated, you can file a complaint with the
  JPMorgan Chase HIPAA Privacy Officer or with the Secretary of the U.S. Department of Health and
  Human Services. If you wish to file a HIPAA complaint with the JPMorgan Chase HIPAA Privacy Officer,
  please contact the Privacy Officer for the JPMorgan Chase Health Care Plans in writing at this address:
     HIPAA Privacy Officer for the JPMorgan Chase Health Care Plans
     JPMorgan Chase Corporate Benefits
     4041 Ogletown Road, Floor 02
     Newark, DE, 19713-3159
     Mail Code: DE6-1470



  Claims Related to Eligibility to Participate in the
  Plans and Plan Operations
  This section provides information about the claims and appeals process for questions relating to eligibility
  to participate in the plans, such as whether you meet the requirements of
  employees/dependents/beneficiaries who are allowed to obtain benefits under the plans, and whether you
  are eligible for Medical Reimbursement Account (MRA) funds. In addition, if, with respect to the plans
  subject to ERISA, you have a type of claim that is not otherwise described in this Guide, including claims
  related to general plan operations or Section 510 of ERISA, you must file your claim in accordance with
  this section. For information on filing claims for
  page 294.
  In addition, for appeals relating to eligibility to participate in the Short-Term Disability Plan, the plan
  administrator delegates responsibility to decide the appeals to the Short-Term Disability Plan Appeals
  Committee.

  Help Pursuing Claims for Eligibility

  You may authorize someone else to pursue claim information on your behalf. If you would like to designate an
  authorized representative for claims related to eligibility to participate in a plan, please contact HR Answers.


  How to File This Type of Claim and What You Can Expect
  For questions about eligibility to participate in the Health Care and Insurance Plans for Active Employees
  and to receive benefits or about general plan operations, please contact HR Answers. (See the Contacts
  section.)
  For the plans that are subject to ERISA, if you are not satisfied with the response, you may file a written
  claim with the appropriate plan administrator at t
  page 287. The plan administrator will assign your claim for a determination. You must file your claim
  within 90 days after the day you knew, or reasonably should have known, that you have a dispute with the
  plan regarding the matter that you wish to have revised or addressed. You will receive a written decision
  within 90 days of receipt of your claim. Under certain circumstances, this 90-day period may be extended
  for an additional 90 days if special circumstances require extra time to process your request. In this
  situation, you will receive written notice of the extension and the reasons for it, as well as the date by
  which a decision is expected to be made, before the end of the initial 90-day period. If the extension is
  required because of your failure to submit information necessary to decide the claim, the period for
  making the determination will begin as of the date you submit the additional information, assuming it is
  provided in a timely fashion.




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  If Your Claim Is Denied
  If you receive a notice that your claim has been denied, either in full or in part, the notice will explain the
  reason for the denial, including references to specific plan provisions on which the denial was based. If
  your claim was denied because you did not furnish complete information or documentation, the notice will
  state the additional materials needed to support your claim. The notice will also tell you how to request a
  review of the denied claim and the time limits applicable to those procedures.
  To appeal a denial of the type of claims described in this section for any of the Health Care and Insurance
  Plans for Active Employees, you must submit a written request for appeal of your claim to the appropriate
  plan administrator within 60 days after receiving the notice of denial. In connection with your appeal, you
  may submit written comments, documents, records, or other information relevant to your claim. In
  addition, you will be provided, upon written request and free of charge, with reasonable access to (and
  copies of) all documents, records, and other information relevant to your claim. The plan administrator for
  the Business Travel Accident Insurance Plan will decide your appeal under that plan. The plan
  administrator for the Short Term Disability Plan will decide appeals under that plan. The Health Care and
  Insurance Plans Appeals Committee is delegated responsibility for deciding appeals under all other
  Health Care and Insurance Plans for Active Employees. For appeals regarding general plan operations
  that are not otherwise described in this plan description, including claims related to general plan
  operations or Section 510 of ERISA, the appeal will be decided by the Plan Administrator or its delegate.
  In most cases, a decision will be made within 60 days after you file your appeal. But if special
  circumstances require an extension of time for processing, and you are notified that there will be a delay
  and the reasons for needing more time, there will be an extension of up to 60 days for deciding your
  appeal. If an extension is necessary because you did not submit enough information to decide your
  appeal, the timing for making a decision about your appeal is stopped from the date the plan
  administrator sends you an extension notification until the date that you respond to the request for
  additional information, assuming your response comes within a reasonable time frame.
  Once a decision is reached, you will be notified in writing of the outcome. If an adverse benefit
  determination is made on review, the notice will include the specific reasons for the decision, with
  references to specific plan provisions on which it is based.
  If you would like to file a court action after your
  which sets forth the rules that will apply.

  Claiming Benefits: Plans Subject to
  ERISA                                                                                      An Important
                                                                                             Reminder
  This section explains the benefits claims and appeals process for the benefits
  of the JPMorgan Chase Health Care and Insurance Plans for Active                           The Dependent Care
                                                                                             Spending Account,
  Employees that are subject to the Employee Retirement Income Security Act of
                                                                                             Transportation Spending
  1974 (ERISA). It includes detailed information about what happens at each                  Accounts, and Group
  step in the process and includes important timing requirements. This section               Personal Excess Liability
  also includes information about each pl                                                    Insurance Plan are not
                                                                                             subject to the provisions
                                                                                             of ERISA described in
                                                Eligibility to Participate in the Plans      this section. For
                                                                                             information about those
                                                                                             plans, please see
  Please Note: Any claims or appeals that are related to a disability will be
  handled in accordance with the Department of Labor regulations found in             Administrators: Plans
  Code 29 Section 2560. This section of the Code provides certain procedural
  protections and safeguards for disability benefit claims. For example, the          beginning on page 422.
  regulations require that disability claimants receive a clear explanation of why
  their claim was denied and of their rights to appeal a claim denial. It also allows
  claimants to review and respond during the course of an appeal to any new or additional evidence that
  the Plan relied on in connections with the claim.


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  Help Pursuing Claims

  You may authorize someone else to pursue claim information on your behalf. If you do so, you must notify the claims
  administrator in writing of your choice of an authorized representative.
  For the Medical, Dental, and Vision Plans, your claims administrator will provide you with a HIPAA (Health Insurance
  Portability and Accountability Act of 1996) consent form that you must use to specify the extent to which your
  personal representative is authorized to act on your behalf. This form must be on file with your claims administrator
  prior to any action by your personal representative.


  Steps in the Benefits Claims and Appeals Process

  Step 1: Filing Your Initial Claim for Benefits
  In general, when you file a claim for benefits, it is paid according to the provisions of the specific benefits
  plan. There are different timing requirements for different plans, as outlined in the following table. For all
  initial benefits claims, please contact the appropriate


  Plan/Option                   Appropriate Claims                           Timing for Filing Your Initial
                                Administrator                                Claim
  Medical Plan*,                Claims administrator for your                No later than December 31 of the year
  including the Medical         Medical Plan option                          after the year in which services were
  Reimbursement                                                              provided. Please contact your claims
  Account                                                                    administrator for more information.
  Prescription Drug             CVS Caremark
  Plan
  Dental Plan*                  Claims administrator for your Dental
                                Plan option
  Vision Plan*                  FAA/EyeMed Vision Care
  Fertility Benefits            WINFertility                                 Your initial claims must be filed no
  Program                                                                    later than six months of when the
                                                                             expenses are incurred. Generally, in-
                                                                             network claims filing is performed by
                                                                             the physician or care provider.
  Health Care Spending          Claims administrator for your Health         March 31 of the year following the
  Account                       Care Spending Account                        year for which the expense is incurred.
  Life Insurance Plan           Metropolitan Life Insurance                  There is no time limit to file a claim
                                Company (MetLife)**                          after a covered individual passes
                                                                             away.
  AD&D Insurance Plan           Metropolitan Life Insurance                  Notification of a loss must be made 20
                                Company (MetLife)**                          days from the date of loss. Proof must
                                                                             be provided to MetLife within 90 days

                                                                             loss.
  Business Travel               AIG-National Union Fire Insurance
  Accident Insurance            Company of Pittsburgh, PA                    loss, or as soon as reasonably
  Plan                                                                       possible thereafter.
  Group Long-Term               The Prudential Insurance Company             Within 272 days (nine months)
  Disability                    of America                                   following the start of the disability***.




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  Plan/Option                          Appropriate Claims                                 Timing for Filing Your Initial
                                       Administrator                                      Claim
  Individual Disability                Unum                                               Within 30 days following the start of
  Insurance                                                                               the disability.
  Short-Term Disability                Sedgwick                                           Within 30 days of first day of absence
  Plan                                                                                    from work.
  Group Legal Services                 MetLife Legal Plans, Inc.                          No later than December 31 of the year
  Plan****                                                                                following the year in which services
                                                                                          were provided.
  Employee Assistance                  Cigna Behavioral Health, Inc.                      Within 90 days from date of service.
  Program                              Insured (CA & NV residents): Cigna
                                       Health and Life Insurance Company
  Health & Wellness                    JPMorgan Chase Medical Director                    No later than December 31 of the year
  Centers Plan                         JPMorgan Chase & Co.                               following the year in which services
                                       270 Park Avenue, 11th Floor                        were provided.
                                       Mail Code: NY1-K318
                                       New York, NY 10017-2014?
  Back-up Child Care                   Bright Horizons Family Solutions                   Within 60 days from the date of
  Plan                                 200 Talcott Avenue, South                          service.
                                       Watertown, MA 02472
  *     Generally, in-network claims filing is performed by the physician or care provider.
  **    Notification of a death must be reported to JPMorgan Chase HR Answers; Bereavement Services within HR Answers will notify
        MetLife of the death on your behalf, allowing you to initiate the claims process. Please note that MetLife has sole responsibility
        and discretion to resolve any issues regarding beneficiary designations.
  *** In certain circumstances, the time limit to file a claim may be up to 637 days (one year and nine months) following the start of
      the disability. The time limit may be even longer if the employee lacks legal capacity to file a claim earlier.
  **** Generally, in-network services are filed by the Group Legal plan attorney.

  Life Insurance Claims & Appeals

  Life insurance claims and appeals are divided between two parties.
        The plan administrator handles all eligibility and other administrative decisions concerning your life insurance
        benefits.
        MetLife is primarily responsible for determining your beneficiaries. If you submit a claim/appeal regarding a
        beneficiary designation to the plan administrator, it will be re-rerouted to MetLife.




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  Step 2: Receiving Notification from the Claims Administrator/Plan
  Administrator if an Initial Claim for Benefits Is Denied
  If an initial claim for benefits is denied, the claims administrator or plan           What Qualifies as a
  frames outlined in the following table.
  Under certain circumstances, the claims administrator or plan administrator, as        denial, reduction, or
  applicable, is allowed an extension of time to notify you of a denied benefit.         termination of a benefit,
                                                                                         or a failure to provide or
  Please Note: If an extension is necessary because you did not submit                   make a payment, in
  necessary information needed to process your health care claim or life and             whole or in part, for a
  AD&D insurance claim, the timing for making a decision about your claim is             benefit. In addition, a
  stopped from the date the claims administrator or plan administrator sends you         benefit may be denied if
  an extension notification until the date that you respond to the request for
  additional information. You generally have 45 days from the date you receive           enough information with
  the extension notice to send the requested information to the claims                   your initial claim.
  administrator or plan administrator.

  Plan/Option                                    Timing for Notification of a Denial of Benefits
                                                 Claim
  Medical Plan, Prescription Drug                    As soon as reasonably possible but no more than 72
  Plan, Fertility Benefits Program,                  hours for claims involving urgent care, where the life of a
  Dental Plan, Vision Plan, Health Care              claimant could be jeopardized (may be oral, with written
  Spending Account, Employee                         confirmation within three days). Please Note: You must
  Assistance Program, and Health &                   be notified if your claim is approved or denied.
  Wellness Centers                                   15 days for pre-service claims, where approval is required
                                                     before receiving benefits, plus one 15-day extension

                                                     30 days for post-service claims, where the claim is made
                                                     after care is received, plus one 15-day extension because

  Life Insurance Plan                            60 days to make a determination once all claim information
                                                 has been submitted, plus one extension
  AD&D Insurance Plan                            45 days, plus one 45-day extension for matters beyond the

  Business Travel Accident Insurance             90 days, plus one 90-day extension for matters beyond the
  Plan
  Group Long-Term Disability                     45 days, plus two 30-day extensions for matters beyond the

  Individual Disability Insurance                45 days
  Short-Term Disability Plan                     45 days, with 2-day extensions
  Group Legal Services Plan                      30 days, with no extensions
  Back-up Child Care Plan                        90 days, plus one 90-day extension for matters beyond the



  Please Note: Concurrent care claims are claims for which the plan has previously approved a course of
  treatment over a period of time or for a specific number of treatments, and the plan later reduces or
  terminates coverage for those treatments. Concurrent care claims may fall under any of the other steps in
  the claims appeal process, depending on when the appeal is made. However, the plan must give you
  sufficient advance notice to appeal the claim before a concurrent care decision takes effect.




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                                                                   ministrator/Plan Administrator in the Case of a
  Denied Benefit

  If your initial claim is denied, the claims administrator or plan administrator is legally required to provide an
  explanation for the denial, which will include the following:
     The specific reason(s) for the denial;
     References to the specific plan provisions on which the denial is based;
     A description of any additional material or information needed to process your claim and an explanation of why
     that material or information is necessary; and
                                                                   including a statement of your right to bring a civil
     action under Section 502(a) of ERISA after, and if, your appeal is denied.
  If your claim is for the Medical Plan, the explanation must also include:
     If the benefit was denied based on a medical necessity, an experimental or unproven treatment, or similar
     exclusion or limit, either an explanation of the scientific or clinical judgment for the denial applying the terms of the
     plan to your medical circumstances, or a statement that such explanation will be provided free of charge upon
     request.
     Any internal rule, guideline, protocol, or other similar criterion relied upon in making the benefit denial, or a
     statement that a copy of this information will be provided free of charge upon request. This requirement also
     applies to denials under the Short-Term Disability Plan and the Long-Term Disability Plan, including the Individual
     Disability Insurance Plan.


  Step 3: Filing an Appeal to the Claims Administrator/Plan Administrator if
  an Initial Claim for Benefits Is Denied
  If you have filed a claim for benefits and your claim is denied, you have the right to appeal the decision.
  JPMorgan Chase is not involved in deciding appeals for any denied benefit claim under the:
     Medical Plan, including Prescription Drug Plan and Fertility Benefits Program;
     Preferred Dentist Program (PDP); Dental Maintenance Organization (DMO) Option; and Dental Health
     Maintenance Organization (DHMO) Option;
     Vision Plan;
     Health Care Spending Account;
     Long-Term Disability Plan, including Group LTD and Individual Disability Insurance;
     Short-Term Disability Plan;
     Life and AD&D Insurance Plans;
     Business Travel Accident Insurance Plan;
     Back-Up Child Care Plan
     Group Legal Services Plan; and
     Employee Assistance Program.
  The plan administrators delegate all fiduciary responsibility and decisions about a claim for a denied
  benefit under these plans to the applicable claims administrator.
  Under certain plans, final appeals for denied claims will be heard by a review panel that is independent of
  both the company and the Medical Plan claims administrators. The independent review panel will hear
  appeals for the following plans:
     Medical Plan;
     Prescription Drug Plan;



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     Fertility Benefits Program; and
     Health & Wellness Centers Plan.
  Please Note: Appeals related to denied claims under the Short-Term Disability Plan are determined by
  Sedgwick. Employees who work in New Jersey have the right to appeal to the Division of Temporary
  Disability Insurance for the State Temporary Disability Insurance portion of the JPMorgan Chase Short
  Term Disability Plan. You have one year from the date your disability began to file this appeal.
  Send your written appeal to:
     Division of Temporary Disability Insurance Private Plan Operations
     Claims Review Unit
     P.O. Box 957
     Trenton, NJ 08625-0957
     Telephone: (609) 292-6135

  the decision with the applicable claims administrator or plan administrator within the time frames indicated
  below, after receipt of the claim denial.

  Plan                                                         Timing for Filing an Appeal of a
                                                               Denial of Benefits Claim
  Medical Plan and Prescription Drug Plan
  Fertility Benefits Program
  Dental Plan
  Vision Plan
  Health Care Spending Account
  Long-Term Disability, including Individual                   180 days
  Disability Insurance
  Short-Term Disability Plan
  Business Travel Accident Insurance Plan
  Employee Assistance Program
  Health & Wellness Centers Plan
  Life and AD&D Insurance Plans
                                                               60 days
  Group Legal Services Plan
  Back-up Child Care Plan                                      180 days


  In your appeal, you have the right to:
     Submit written comments, documents, records, and other information relating to your claim.
     Request, free of charge, reasonable access to, and copies of, all documents, records, and other
     information that:
         Was relied upon in denying the benefit.
         Was submitted, considered, or generated in the course of denying the benefit, regardless of
         whether it was relied on in making this decision.
         Demonstrates compliance with the administrative processes and safeguards required in denying
         the benefit.
         For health care: constitutes a policy statement or plan guideline concerning the denied benefit
         regardless of whether the policy or guideline was relied on in denying the benefit.



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  If your appeal is for health care, you also have the right to receive:
     A review that does not defer to the initial benefit denial and that is conducted by someone other than
     the person who made the denial or
     For a denied benefit based on medical judgment (including whether a particular treatment, drug, or
     other item is experimental or unproven), a review in which the plan fiduciary/claims administrator
     consults with a health care professional who has appropriate training and experience in the field of
     medicine involved in the medical judgment, and who was not consulted in connection with the initial
     benefits denial, nor the subordinate of this person.
     The identification of medical or vocational experts whose advice was obtained in connection with
     denying the benefit, regardless of whether the advice was relied on in making this decision.
     In the case of an urgent care claim where the life of a claimant could be jeopardized, an expedited
     review process in which:
        You may submit a request (orally or in writing) for an expedited appeal of a denied benefit.
        All necessary information, including the decision on your appeal, will be transmitted between the
        plan fiduciary/claims administrator and you by telephone, facsimile, or other available similarly
        prompt method.

  Step 4: Receiving Notification from the Claims Administrator/Plan
  Administrator if Your Appeal Is Denied
  If your appeal is subsequently denied, the claims administrator, plan administrator, or Short-Term
  Disability Plan Appeals Committee is legally required to notify you in writing of this decision within a
                                               time frames outlined in the following table.

  Plan/Option                           Timing for Notification of a Denial of Benefits Claim
  Medical Plan, Prescription                As soon as reasonably possible but no more than 72 hours for
  Drug Plan, Fertility Benefits             claims where the life of a claimant could be jeopardized (urgent
  Program, Dental Plan, Vision              care)
  Plan, Health Care Spending                15 days where approval is required before receiving benefits (pre-
  Account, Employee                         service claims)
  Assistance Program, and                   30 days where the claim is made after care is received (post-
  Health & Wellness Centers                 service claims)
  Group Long-Term Disability                45 days, plus one 45-day extension for matters beyond the

  Individual Disability                     45 days, plus one 45-day extension for matters beyond the
  Insurance
  Short-Term Disability Plan                45 days, plus one 45-day extension for matters beyond the

  Life Insurance Plan                       60 days to review and make a determination once all the
                                            information has been submitted plus one extension
  AD&D Insurance Plan
                                        control
  Business Travel Accident              The decision on appeal will be made on the date of the next meeting
  Insurance Plan
                                        permitted by law
  Group Legal Services Plan             60 days
  Back-up Child Care Plan
                                        control




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  Except in the case of urgent care claims related to health, the claims administrator or the plan
  administrator is allowed to take an extension to notify you of a denied appeal under certain
  circumstances. If an extension is necessary, the claims administrator or plan administrator will notify you
  before the end of the original notification period. This notification will include the reason(s) for the
  extension and the date the claims administrator or the plan administrator expects to provide a decision on
  your appeal for the denied benefit. Please Note: If an extension is necessary because you did not submit
  enough information to decide your appeal, the time frame for decisions is stopped from the date the
  claims administrator or the plan administrator sends you an extension notification until the date that you
  respond to the request for additional information.

                                                                  ministrator/Plan Administrator in the Case of a
  Denied Benefit

  If an appeal is denied, the claims administrator or plan administrator is legally required to provide an explanation for
  the denial, which will include the following:
     The specific reason(s) for the denial;
     References to the specific plan provisions on which the denial is based;
                                                          est and free of charge, reasonable access to, and copies of,
     all documents, records, and other information relevant to your claim for benefits; and
     A statement describing any appeal procedures offered by the plan and your right to obtain the information about
     such procedures, and a statement of your right to bring a civil action under ERISA.
  If your appeal is for Medical Plan, the explanation must also include:
     If the benefit was denied based on a medical necessity, experimental, or unproven treatment, or similar exclusion
     or limit, either an explanation of the scientific or clinical judgment for the denial applying the terms of the plan to
     your medical circumstances, or a statement that such explanation will be provided free of charge upon request.
     A description of the expedited review process for urgent care claims in the Medical Plan, where the life of the
     claimant could be jeopardized.
     Any internal rule, guideline, protocol, or other similar criterion relied upon in making the benefit denial, or a
     statement that a copy of this information will be provided free of charge upon request in the Medical Plan.

  The health care plans generally require two levels of appeal, which you must complete if you would like to
  pursue your claim further.
  The Group Long Term Disability coverage under the LTD Plan permits a voluntary second appeal. You
  must file the voluntary second appeal within 180 days after the denial of the first appeal. The insurer of
  the coverage, Prudential Insurance Company, can provide additional information about the voluntary
  second appeal.

  Step 5: Receiving a Final Appeal by an Independent Review Panel
  If your appeal of a benefits claim is denied, your final appeal for coverage will be heard by a review panel
  that is independent of both the company and the claims administrators. The independent review panel will
  hear appeals for the following plans:
      Medical Plan;
      Prescription Drug Plan;
      Fertility Benefits Program; and
      Health & Wellness Centers Plan.
  The independent review panel hears only appeals that involve medical judgment or a rescission of
  coverage; the panel does not hear appeals about eligibility to participate in a plan or legal interpretation of
  a plan that does not involve medical judgment.
  You are not required to file an appeal with the independent review panel before filing a court action. This
  level of appeal is voluntary.



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  Filing a Court Action
  If an appeal under a plan subject to ERISA is denied (in whole or in part), you may file suit in a U.S.
  federal court. If you are successful, the court may order the defending person or organization to pay your
  related legal fees. If you lose, the court may order you to pay these fees (for example, if the court finds
  your claim frivolous). You may contact the U.S. Department of Labor or your state insurance regulatory
  agency for information about other available options.
  If you bring a civil action under ERISA, you first must follow the procedures described above regarding
  filing a claim and up to two levels of internal appeals with the claims administrator. You must start the
  court action by the earlier of: (i) one year after the date of the denial of your final appeal; or (ii) three years
  after the date when your initial claim should have been filed, regardless of any state of federal statutes
  relating to limitations of actions. If, however, the applicable state or federal law relating to limitations of
  actions would result in a shorter limitations period within which to start the action, the shorter limitations
  period will apply. For the health plans, you cannot file a suit unless you have completed two appeals, if
  required by the claims administrators.



  Contacting the Claims Administrators: Plans
  Subject to ERISA
  This section provides specific contact information for each benefit plan covered by ERISA.
  For contact information for the plans that are not subject to ERISA (which include the Dependent Care
  Spending Account, Transportation Spending Accounts, and Group Personal Excess Liability Insurance

  Generally for all health care and insurance plans, questions related to general plan administration and
  eligibility to participate in the plans can be addressed by HR Answers. (See the Contacts section.)
  For questions related to plan interpretation, filing initial claim, benefit provision under the plan, payment of
  benefits, or denial of benefits, please refer to the appropriate claims administrator for each benefit plan,
  as listed below.

  Medical Plan Claims Administrators
  Medical Plan
  Aetna                                           Aetna
                                                  P.O. Box 14079
                                                  Lexington, KY 40512-4079
                                                  (800) 468-1266
  Cigna                                           Cigna
                                                  P.O. Box 182223
                                                  Chattanooga, TN 37422-7223
                                                  (800) 790-3086
  Prescription Drug Plan*                         CVS Caremark
                                                  Attention: Claims Department
                                                  P.O. Box 52196
                                                  Phoenix, AZ 85072-2196
                                                  866-209-6093




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  Medical Plan Claims Administrators
  WINFertility                                              WINFertility, Inc.
                                                            Greenwich American Center
                                                            One American Lane
                                                            Terrace Level
                                                            Greenwich, CT 06831
                                                            (833) 439-1517
  Expatriate Medical Option*                                Cigna Global Health Benefits
                                                            P.O. Box 15050
                                                            Wilmington, DE 19850-5050
                                                            (800) 390-7183
                                                            (302) 797-3644 (if calling from outside the U.S.)
  *    Options marked with an asterisk are self-insured. All other options are fully insured.

  Dental Plan Claims Administrators
  Preferred Dentist Program (PDP)*                          MetLife Dental
                                                            P.O. Box 981282
                                                            El Paso, TX 79998-1282
                                                            (888) 673-9582
  Dental Maintenance Organization                           Aetna, Inc.
  (DMO) Option                                              P.O. Box 14094
                                                            Lexington, KY 40512
                                                            (800) 843-3661
  Dental Health Maintenance                                 Cigna Dental Health
  Organization (DHMO) Option                                P.O. Box 188045
                                                            Chattanooga, TN 37422-8045
                                                            (800) 790-3086
  Expatriate Dental Option*                                 Cigna International
                                                            JPMorgan Chase Dedicated Service Center
                                                            P.O. Box 15050
                                                            Wilmington, DE 19850-5050
                                                            (800) 390-7183
                                                            (302) 797-3644 (if calling from outside the U.S.)
  *    Options marked with an asterisk are self-insured. All other options are fully insured.

  Other Health Care and Insurance Plans Subject to ERISA
  Plan                                                      Contact
  Vision Plan                                               FAA/EyeMed Vision Care
                                                            P.O. Box 8504
                                                            Mason, OH 45040-7111
                                                            (833) 279-4363




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  Other Health Care and Insurance Plans Subject to ERISA
  Plan                                  Contact
  Health Care Spending Accounts         Refer to the same provider that you selected for your Medical
                                        Plan coverage. If you do not enroll in the Medical Plan
                                        coverage, contact Cigna.
                                        Cigna
                                        P.O. Box 182223
                                        Chattanooga, TN 37422-7223
                                        (800) 790-3086
                                        Payflex, an Aetna company
                                        Payflex Systems USA, Inc.
                                        P.O. Box 14879
                                        Lexington, KY 40512-4879
                                        Fax: (888) 238-3539
                                        (888) 678-8242
  Back-Up Child Care Plan
                                        2 Wells Ave.
                                        Newton, MA 02459
                                        (888) 701-2235
  Health & Wellness Centers Plan        JPMorgan Chase & Co.
                                        Health Services Dept.
                                        277 Park Ave, 1st Floor
                                        Mail Code: NY1-L085
                                        New York, NY 10172
                                        (212) 270-5555
  Group Long-Term Disability            The Prudential Insurance Company of America
                                        P.O. Box 13480
                                        Philadelphia, PA 19176
                                        (877) 361-4778
  Individual Disability Insurance       Unum
                                        The Benefits Center
                                        P.O. Box 100262
                                        Columbia, SC 29202-3262
                                        (888) 226-7959
  Short-Term Disability Plan*           Sedgwick Claims Management Services
                                        JPMorgan Chase Leave of Absence Service Center
                                        P.O. Box 14648
                                        Lexington, KY 40512-4648
                                        (888) 931-3100
  Life and AD&D Insurance Plans         Metropolitan Life Insurance Company (MetLife)
                                        200 Park Avenue
                                        New York, NY 10017
                                        (800) MET-LIFE ((800) 638-5433)
  Business Travel Accident Insurance    JPMorgan Chase Corporate Insurance Services
  Plan                                  JPMorgan Chase & Co.
                                        8181 Communications Pkwy Bldg B, Floor 03
                                        Mail Code TXW-3305
                                        Plano, TX, 75024-0239, United States




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  Other Health Care and Insurance Plans Subject to ERISA
  Plan                                                      Contact
  Group Legal Services Plan                                 MetLife Legal Plans, Inc.
                                                            1111 Superior Avenue
                                                            Cleveland, OH 44114
                                                            (800) 821-6400
  Employee Assistance Program                               Cigna Behavioral Health, Inc.
                                                            Attn: Karen Cierzan, President
                                                            11095 Viking Drive, Suite 350
                                                            Eden Prairie, MN 55344
                                                            Insurer: Cigna Health and Life Insurance Company
                                                            900 Cottage Grove Rd.
                                                            Hartford, CT 06152
                                                            (877) 576-2007
  *    Options marked with an asterisk are self-insured. All other options are fully insured.




  Contacting the Claims Administrators: Plans
  Not Subject to ERISA
  Plans that are not subject to ERISA include the Dependent Care Spending Account, Transportation
  Spending Accounts, and Group Personal Excess Liability Insurance Plan.

  page 294, you can always contact the claims administrator listed for each plan with questions about the
  eligibility of an expense for reimbursement, payment of benefits, or denial of plan benefits. For claims
  relating to questions of eligibility for benefits under the plans and how the plans operate, please see

  For questions related to plan interpretation, filing initial claim, benefit provisions under the plan, payment
  of benefits, or denial of benefits, please refer to the appropriate claims administrator for the benefit plan,
  as listed below.

  Plan                                                      Contact
  Dependent Care Spending Accounts                          Refer to the same provider that you selected for your Medical
                                                            Plan coverage. If you do not enroll in the Medical Plan
                                                            coverage, contact Cigna.
                                                            Cigna
                                                            P.O. Box 188061
                                                            Chattanooga, TN 37422-8061
                                                            (800) 790-3086
                                                            Payflex, an Aetna company
                                                            Payflex Systems USA, Inc.
                                                            P.O. Box 14879
                                                            Lexington, KY 40512-4879
                                                            Fax: (888) 238-3539
                                                            (888) 678-8242
  Transportation Spending Accounts                          Health Equity
                                                            P.O. Box 14053
                                                            Lexington, KY 40511
                                                            (877) 924-3967



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  Plan                                         Contact
  Group Personal Excess Liability              Arthur J. Gallagher & Co.
  Insurance Plan                               250 Park Avenue, 5th Floor
                                               New York, NY 10177
                                               (866) 631-4630




  If You Are Covered by More Than One Health
  Care Plan
  The JPMorgan Chase medical and dental plans (including the plans for expatriates) all have provisions to
  ensure that payments from all of your group he
  JPMorgan Chase plans would pay if they were your only coverage.
  The rules described here apply to the JPMorgan Chase plans. The following rules do not apply to any
  private, personal insurance you may have.

  Non-Duplication of Benefits
  The JPMorgan Chase health care plans do not allow for duplication of benefits. If you and your eligible
  dependents are covered under more than one group plan, the primary plan (the one responsible for
  paying benefits first) needs to be determined. The non-duplication provisions of the JPMorgan Chase
  health care plans will ensure that, in total, you receive benefits up to what you would have received with
  the JPMorgan Chase plans as your only source of coverage (but not in excess of that amount), based on

  A summary of coordination rules (that is, how JPMorgan Chase coordinates coverage with another group
  plan to ensure non-duplication of benefits) follows. If you have questions, please contact your health care
  company for help. (Please see contact information in the Contacts section.)
                                                       th care plans coordinate benefits with other group
  health care plans:
     Assume your spouse/domestic partner has a necessary covered procedure with a reasonable and
     customary (R&C) charge of $100 after meeting any deductible.
                                                       assume is primary) pays 70% for that procedure,
     your spouse/domestic partner will receive a $70 benefit (70% of $100).



     would pay 80% for this necessary procedure. In this case, your spouse/domestic partner normally
     would receive an $80 benefit (80% of $100) from the JPMorgan Chase plan.
     Since your spouse/domestic partner already received $70 from his or her primary plan, he or she
     would receive the balance ($10) from the JPMorgan Chase plan.
     If, however, your JPMorgan Chase plan considered the R&C charge to be $80, no additional benefit
     would be payable, as the JPMorgan Chase plan would pay 80% of $80, or $64. As that amount would
     have already been paid by your spouse/domestic
     payable from the JPMorgan Chase plan.




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  Determining Primary Coverage
  To determine which health care plan pays first as the primary plan, here are some general guidelines:
     If you are enrolled in the JPMorgan Chase plan and another plan and your other health care plan
                                                       at plan will be considered primary, and it will pay
     first for you and your covered dependents.
     If your covered dependent has a claim, the plan covering your dependent as an employee or retiree
     will be considered primary to this plan.

     covering the parent who has the earlier birthday in a calendar year (based on the month and date of
     birthday only, not the year) will be considered primary. In the event of divorce or legal separation, and
     in the absence of a qualified medical child support order, the plan covering the parent with court-
     decreed financial responsibility will be considered primary for the covered child. If there is no court
     decree, the plan of the parent who has custody of the covered child will be considered primary for the
                                                                                   Health Care Participation
     section.)
     If payment responsibilities are still unresolved, the plan that has covered the claimant the longest pays
     first.
  After it is determined which plan is primary, you
  After the primary plan pays benefits (up to the limits of its coverage), you can then submit the claim to the

  copy of the written Explanation of Benefits from your primary plan.

  Coordination with Medicare
  Medicare is a national health insurance program administered by the Centers for Medicare and Medicaid
  Services (CMS). It generally provides coverage for Americans ages 65 and older. It also provides
  coverage to younger people with a qualifying disability. As long as you remain an active employee with
  JPMorgan Chase, your JPMorgan Chase coverage will be primary, and any Medicare coverage for you
  will be secondary. Additionally, any covered dependents who become eligible for Medicare, while you
  remain an active employee, will also have JPMorgan Chase coverage as primary.
      While you remain an active JPMorgan Chase employee, the JPMorgan Chase health care plans will
      be primary for you and your covered dependents unless those dependents have primary coverage
      elsewhere. If your covered dependents have primary coverage elsewhere, those claims will be
      considered by that primary coverage first, JPMC coverage will be secondary and Medicare will
      consider claims for those health care expenses tertiary (third) Even if you work past age 65 and you
      and/or a covered spouse/domestic partner enroll in Medicare, the JPMorgan Chase plans will consider
      claims for your health care expenses before Medicare while you are an active employee.
     When you are no longer an active JPMC employee or are receiving LTD benefits, Medicare coverage
     will be primary for the Medicare enrolled individual. JPMC coverage will be terminated upon Medicare
     eligibility and coverage in Medicare plans is availabl
                      What Happens If ... section.

  Right of Recovery
  If the JPMorgan Chase plan provides benefits to you or a covered dependent that are later determined to
  be the legal responsibility of another person or company, the JPMorgan Chase plans have the right to
  recover these payments from you or from the person or company who is determined to be legally
  responsible. Assignment of your claim to a third party does not exempt you from your responsibility for
  repaying the plan. You must notify the JPMorgan Chase plan promptly of any circumstance in which a
  third party may be responsible for compensating you with respect to an illness or injury that results in the
  JPMorgan Chase plan making payments on your behalf.




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  Subrogation of Benefits
  The purpose of the JPMorgan Chase health care plans is to provide benefits for eligible health care
  expenses that are not the responsibility of any third party. The JPMorgan Chase plans have the right to
  recover from any third party responsible for compensating you with respect to an illness or injury that
  results in the JPMorgan Chase plans making payments on your behalf or on behalf of a covered
  dependent. This is known as subrogation of benefits. T
  of benefits rights:
     The JPMorgan Chase plans have first priority from any amounts recovered from a third party for the
     full amount of benefits the plans have paid on your behalf, regardless of whether you are fully
     compensated by the third party for your losses.
     You agree to help the JPMorgan Chase plans use this right when requested.
     If you fail to help the JPMorgan Chase plans use this right when requested, the plans may deduct the
     amount the plans paid from any future benefits payable under the plans.
     The JPMorgan Chase plans have the right to take whatever legal action they deem appropriate
     against any third party to recover the benefits paid under the plans.
     If the amount you receive as a recovery from a third party is insufficient to satisfy the JPMorgan Chase
                                                              claim shall be first satisfied before any part of a
     recovery is applied to your claim against the third party.
     The JPMorgan Chase plans are not responsible for any attorney fees, attorney liens, or other

     apply to any amount recovered by any attorney you retain regardless of whether the funds recovered
     are used to repay benefits paid by the plans.
  If you receive a subrogation request and have questions, please contact your health care company (see
  contact information in the Contacts section).

  Right of Reimbursement
  In addition to their subrogation rights, the JPMorgan Chase health care plans are entitled to
  reimbursements from a covered person who receives compensation from any third parties (other than
  family members) for health care expenses that have been paid by the plans. The following rules apply to

     You must reimburse the JPMorgan Chase plans in first priority from any recovery from a third party for
     the full amount of the benefits the plan paid on your behalf, regardless of whether you are fully
     compensated by the third party for your losses.
     Regardless of any allocation or designation of your recovery made in a settlement agreement or court
     order, the JPMorgan Chase plans shall have a right of full reimbursement, in first priority, from the
     recovery.
     You must hold in trust for the benefit of the JPMorgan Chase plans the gross proceeds of a recovery,
     to be paid to the plans immediately upon your receipt of the recovery. You must reimburse the plans,
     in first priority and without any set-off or reducti
                                                           by any attorney you retain, regardless of whether
     the funds recovered are used to repay benefits paid by the plans.
     If you fail to reimburse the JPMorgan Chase plans, the plans may deduct any unsatisfied portion of the
     amount of benefits the plans have paid or the amount of your recovery from a third party, whichever is
     less, from future benefits payable under the plans.
  If you fail to disclose the amount of your recovery from a third party to the JPMorgan Chase plans, the
  plans shall be entitled to deduct the full amount of the benefits the plans paid on your behalf from any
  future benefits payable under the plans.




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  Special Notice for Employees Who Have Been
  Rehired by JPMorgan Chase
  If your employment has been reinstated with JPMorgan Chase (that is, you have been rehired within 31
  days of your employment termination date or your coverage termination date), your coverage for certain
  benefits under the JPMorgan Chase U.S. Benefits Program may be affected, as highlighted in the
  following chart:
  Medical (including Medical                  You and your dependents will be assigned the same
  Reimbursement Account and                   coverage you had before your coverage termination date.
  Prescription Drug Plan), Dental,            Please Note: If you are a retired employee when rehired, you
  Fertility Benefits Program, and             must take active employee coverage and discontinue any
  Vision Plans                                retiree coverage you may have elected.
  Health Care Spending Account                Your previously elected annual contribution amount will be
                                              reinstated and prorated accordingly for the balance of the
                                              plan year. Please Note: Expenses incurred during your
                                              break in service are not eligible for reimbursement, unless
                                              you elected to make after-tax contributions under COBRA.
  Dependent Care Spending Account             Your previously elected annual contribution amount will be
                                              reinstated and prorated accordingly for the balance of the
                                              plan year. Please Note: Expenses incurred during your
                                              break in service are not eligible for reimbursement.
  Transportation Spending Accounts            There are no reinstatement provisions for these accounts.
  (Transit/Parking)                           You will need to make a new enrollment election upon your
                                              date of hire.
  Life Insurance Plan                         You and your dependents will be assigned the same
                                              coverage amount in effect before your termination date.
  Accidental Death and                        You and your dependents will be assigned the same
  Dismemberment (AD&D) Insurance              coverage amount in effect before your termination date.
  Plan
  Group Personal Excess Liability             You will be assigned the same coverage in effect before your
  Insurance Plan                              termination date.
  Group Legal Services Plan                   You will be assigned the same coverage in effect before your
                                              termination date.

  Please Note: If you are rehired after 31 days of your termination date, you will need to make new benefits
  elections for all plans for which you would like to participate.




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  Contacts
  Effective 1/1/21

  My Health, My Rewards and HR Answers
  for More Information
  My Health           In addition to the provider resources noted below, My Health provides one-stop access to all
                      your Medical Plan, prescription drug, Medical Reimbursement Account, Spending Accounts,
                      JPMorgan Chase Health & Wellness Centers, wellness programs, and access to the Benefits
                      Web Center where you can access information about the Dental and Vision Plans as well as
                      Life and AD&D Insurance, Group Legal and Personal Excess Liability Insurance. Simply use
                      your Single Sign-On password to access other sites from My Health.
                          From work: My Health from the intranet.
                          From home: https://myhealth.jpmorganchase.com.
                      Please Note: Your covered spouse/domestic partner can access My Health without a

  My Rewards          In addition to the provider resources noted below, My Rewards provides one-stop access to
                      retirement and savings information. Simply use your Single Sign-On password to access
                      other sites from My Rewards.
                           From work: My Rewards from the intranet.
                           From home: https://myrewards.jpmorganchase.com/.
  HR Answers          Like My Health and My Rewards, HR Answers provides access to benefits information.
                          877-JPMChase ((877) 576-2427)
                          Quick Path: Enter your Standard ID or Social Security number; press 1; enter your PIN;
                          press 1.
                      If calling from outside the United States:
                           (212) 552-5100 (GDP# 352-5100)
                                                                        Friday, from 8 a.m. to 7 p.m. Eastern time,
                      except certain U.S. holidays. For assistance with the Retirement Plan, representatives are
                      available until 8:30 p.m.




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  Issue/Benefit               Contact Information
  Medical (Not Including      Aetna
  Prescription Drugs)         (800) 468-1266

                              My Health or www.aetna.com
                              Cigna
                              (800) 790-3086
                              24/7
                              My Health or www.mycigna.com
  Prescription Drugs          CVS Caremark
                              (866) 209-6093
                              24/7
                              www.caremark.com
  Employee Assistance         Cigna (EAP) and LifeCare (Work-Life)
  Program (EAP)               (877) 576-2007
                              www.eapandworklife.com
  Tobacco Cessation Program   (866) QUIT-4-LIFE ((866) 784-8454)
                              myquitforlife.com/jpmorganchase.com
  Expert Medical Advice       Grand Rounds
                              (888) 868-4693

                              www.grandrounds.com/jpmc
  Health Care Spending
  Account                     your Health Care and Dependent Care Spending Accounts. If you
  Dependent Care Spending     are not enrolled in the Medical Plan, Cigna is your administrator of
                              these accounts.
  Account
                              Aetna (PayFlex is an Aetna company)
                              PayFlex Systems USA, Inc.
                              P.O. Box 14879
                              Lexington, KY 40512-4879
                              Fax: (888) 238-3539
                              Phone: (800) 468-1266
                              Cigna
                              (800) 790-3086
                              24/7
                              www.mycigna.com
                              You can check your spending account balances through My Health.




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  Issue/Benefit                 Contact Information
  Dental                        Aetna, Inc. Dental Maintenance Organization (DMO) Option:
                                Aetna
                                (800) 843-3661

                                www.aetna.com
                                Cigna Dental Health Maintenance Organization (DHMO) Option:
                                Cigna Dental Health
                                (800) 790-3086
                                24/7
                                http://mycigna.com/
                                MetLife Preferred Dentist Program (PDP) Option:
                                MetLife Dental
                                (888) 673-9582

                                https://mybenefits.metlife.com
  Vision                        EyeMed Vision Care
                                (833) 279-4363

                                11 a.m. to 8 p.m. Eastern time, Sunday
                                My Health > Benefits Web Center
  Transportation Spending       Health Equity
  Accounts (including for       (877) 924-3967
  questions about eligibility
  and enrollment)               www.healthequity.com
                                You can check your Transportation Spending Accounts balances on
                                from the Transportation Spending Accounts Web Center via
                                My Rewards. (myrewards.jpmorganchase.com)
                                The Prudential Insurance Company of America
                                (877) 361-4778

  Individual Disability         Covala Group
  Insurance                     (800) 235-3551

  Short-Term Disability Plan    Sedgwick Claims Management Services, Inc.
                                (888) 931-3100
                                Service Representatives are available 24/7, Sunday through
                                Saturday.
                                You can also obtain answers to your questions 24 hours a day,
                                seven days a week online at claimlookup.com/jpmc.
  Life and Accidental Death &   Metropolitan Life Insurance Company (MetLife)
  Dismemberment Insurance       (800) MET-LIFE ((800) 638-5433)

                                My Health > Benefits Web Center
  SurvivorSupport® Financial    The Ayco Company
  Counseling Services           (800) 235-3417




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  Issue/Benefit                   Contact Information
  ID Theft Assistance Program,    AXA Assistance
  Travel Assistance, and          (800) 454-3679 (outside the U.S., call collect at (312) 935-3783)
  Emergency Evacuation            24/7
  Services
  Funeral Concierge Services      Dignity Memorial
                                  (866) 853-0954
  Business Travel Accident        AIG-National Union Fire Insurance Company of Pittsburgh, PA
  Insurance                       (800) 551-0824 or (302) 661-4176

  401(k) Savings Plan             My Rewards > My Web Centers > 401(k) Savings Plan
                                  401(k) Savings Plan Call Center
                                  (866) JPMC401k ((866) 576-2401)
                                  TTY number (800) 345-1833
                                  Outside the U.S.: (303) 737-7249
                                  Speak to a Representative 8 a.m. to 10 p.m. Eastern Time,

  Retirement (Pension) Plan       My Rewards > My Web Centers > Pension Plan
                                  HR Answers
                                  (877) JPMChase ((877) 576-2427)
                                  Outside the U.S.: (212) 552-5100
                                  Speak to a Representative 8 a.m. to 8:30 p.m. Eastern Time,

  Health & Wellness Centers       The Health & Wellness Centers Directory on My Health has a list of
                                  JPMorgan Chase Health & Wellness Centers locations, phone
                                  numbers, and hours. Go to My Health > Wellness Activities &
                                  Services.
  Group Legal Plan                MetLife Legal Plans, Inc.
                                  (800) 821-6400

  Personal Excess Liability       Arthur J. Gallagher
  Insurance                       Risk Management Services
                                  (866) 631-4630

  Back-up Child Care Plan         Bright Horizons
                                  (877) BH-CARES ((877) 242-2737)
                                  https://backup.brighthorizons.com/jpmc (for reservations)
                                  me@jpmc > Health, Life & Parenting > parents@jpmc (for
                                  information about the Plan)
  Expatriate Medical and Dental   Cigna Global Health Benefits
  Plans                           (800) 390-7183 (outside the U.S., call collect at (302) 797-3644
                                  24/7
                                  www.CignaEnvoy.com




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                Champions Funding, LLC

                             OAP Plan
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MENTAL HEALTH PARITY AND ADDICTION EQUITY ACT OF 2008
(MHPAEA) - Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NTQLs) include:
  Medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  Prescription drug formulary design;
  Network admission standards;
  Methods for determining in-network and non-network provider reimbursement rates;
  Step therapy, a.k.a. fail-first requirements; and
  Exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons
(Members) by accessing the appropriate link below:
Employers (Plan Administrators): https://www.cignaclientresources.com/crp/ - Log in, select Plan Support,
then Mental Health Parity.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your Plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) located in this booklet's HOW DOES THE PLAN WORK?
section; and pharmacy coverage (whether or not your Plan includes pharmacy coverage).




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:

Cigna
Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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INTRODUCTION___
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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.



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Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.

Notice Regarding Provider Directories and Provider Networks

A list of network providers and network pharmacies is available, without charge, by visiting the website or
calling the phone number on your health care ID card. The network(s) consist of providers, including hospitals,
of varied specialties as well as general practice, and pharmacies, affiliated or contracted with Cigna or an
organization contracting on its behalf.

Direct Access to Obstetricians and Gynecologists

You do not need prior authorization from the Plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in the network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit the website or contact customer service at the phone number shown
on your ID card.

Selection of a Primary Care Provider

This Plan allows the designation of a primary care provider. You have the right to designate any primary care
provider who participates in the network and who is available to accept you or your family members. For
information on how to select a primary care provider, and for a list of network primary care providers, visit the
website or contact Member Services at the phone number listed on your ID card. A pediatrician may be
designated as a child's primary care provider.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services




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INTRODUCTION___
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The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.
Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, but some or all of the rebate
value that Cigna earns for certain Prescription Drug Products may, for example, be reflected in the discount,
such as the Prescription Drug Charge, used to assess your deductible, copay or coinsurance payment, if any, for
certain Prescription Drug Products for which Cigna earns a rebate.
Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.

Coupons, Incentives and Other Communications

At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.
■   About This Plan
Champions Funding, LLC (the Employer) has established an Employee Welfare Benefit Plan within the
meaning of the Employee Retirement Income Security Act of 1974 (ERISA). As of September 1, 2022, the
medical and drug benefits described in this booklet form a part of the Employee Welfare Benefit Plan and are
referred to collectively in this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained
pursuant to the medical and drug benefit terms described in this booklet. The Plan may be amended from time to
time.
This booklet takes the place of any other issued to you on a prior date.
Defined terms are capitalized and have specific meaning with respect to medical and drug benefits, see
GLOSSARY.



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The medical and drug benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.

Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission

A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
  performs an act, practice or omission that constitutes fraud; or
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
  an intentional misrepresentation of material fact.




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.

When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
Multiple Surgical Reduction

Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.

Assistant Surgeon and Co-Surgeon Charges

Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)
Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.
Out-of-Network Emergency Services Charges

Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-
Participating (Out-of-Network) provider.

The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in
an Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed
to by the Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
The allowable amount used to determine the Plan's benefit payment when Out-of-Network Emergency Services
result in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Charges for Certain Services

Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving
In-Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network
provider and Cigna, or as required by applicable state or Federal law.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.
Plan Deductible

The Plan Deductible is the amount of covered medical expenses that must be incurred (paid) by you and/or your
Dependents each calendar year before benefits are payable under this Plan. Expenses paid by you and/or your
dependents for covered network services will apply to the network deductible, but will not apply to the non-
network deductible. Expenses paid by you and/or your Dependents for covered non-network services and
covered services outside the network area will apply to the non-network deductible, but will not apply to the
network deductible.
Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.
Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a non-
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.

The Plan Deductible applies to all covered expenses except:
 - expenses subject to a copay, other than Emergency Room
- expenses for Network Urgent Care Facility (includes all services rendered as part of the visit)
- expenses for contraceptives from a Network or outside the Network area provider
- expenses for mental health Network outpatient office visits
- expenses for substance use disorder Network outpatient office visits
- expenses for Network provider office visits (office services are separate from the office visit)
  Note: This refers to office visits other than for, if covered under the Plan, mental health and substance use
   disorders.
- expenses for surgery performed in a Network provider's office
- expenses for lab tests performed in a Network provider's office
- expenses for x-rays, other than advanced radiology, performed in a Network provider's office
- expenses for other office services (diagnostic services, allergy injections) performed in a Network Doctor's
  office
  Note: See “Office Visits and Services” in Covered Expenses for information about what is considered to be
   other office services
- expenses for lab tests performed in a Network independent facility
- expenses for lab tests performed in a Network outpatient facility
- expenses for x-rays, other than advanced radiology, performed in a Network outpatient facility
- expenses for virtual care services received from contracted virtual providers (dedicated virtual providers) as
  medically appropriate


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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Individual Calendar Year Deductible
- Network                                                                                            $500.00
- Non-network and outside the Network Area                                                         $1,500.00
Family Calendar Year Deductible
- Network                                                                                          $1,500.00
- Non-network and outside the Network Area                                                         $3,000.00


Medical Management Program
Ineligible Expense Penalty per claim                                                                 $750.00


Out-of-Pocket Maximum

Plan Deductible, medical expense copays and coinsurance amounts paid by you and your covered Dependents
for network services accumulate to the Network Out-of-Pocket Maximum.

Prescription drug copay amounts paid by you and your covered Dependents accumulate to the Network Out-of-
Pocket Maximum.

Plan Deductible, medical expense copays and coinsurance amounts paid by you and your covered Dependents
for non-network services and services outside the network area accumulate to the Non-network and Services
outside the Network Area Out-of-Pocket Maximum.
The following expenses do not accumulate to the Out-of-Pocket Maximums:
- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Calendar Year Out-of-Pocket Maximum for Network must be met before covered expenses for
network services will be payable at 100% for the remainder of that calendar year.

The Individual Calendar Year Out-of-Pocket Maximum for Non-Network and Services outside the Network
Area must be met before covered expenses for non-network and services outside the network Area will be
payable at 100% for the remainder of that calendar year.
If the Family Calendar Year Out-of-Pocket Maximum for Network is met, then covered expenses for network
services for all covered family Members, even those who have not yet met the Individual Calendar Year Out-of-
Pocket Maximum for Network, will be payable at 100% for the remainder of that calendar year.

If the Family Calendar Year Out-of-Pocket Maximum for Non-Network and services outside the Network Area
is met, then covered expenses for non-network and services outside the network Area for all covered family
Members, even those who have not yet met the Individual Calendar Year Out-of-Pocket Maximum for Non-
Network and services outside the Network Area, will be payable at 100% for the remainder of that calendar
year.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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Expenses paid by you and/or your dependents for covered network services will apply to the Network Out-of-
Pocket Maximum, but will not apply to the Non-Network Out-of-Pocket Maximum. Expenses paid by you
and/or your dependents for covered non-network services and covered services outside the network area will
apply to the Non-Network Out-of-Pocket Maximum, but will not apply to the Network Out-of-Pocket
Maximum.
Plan Deductible does not apply after the Out-of-Pocket Maximum has been met.

Medical expense copays do not apply after the Out-of-Pocket Maximum has been met.
Individual Calendar Year Out-of-Pocket Maximum
- Network                                                                                           $3,500.00
- Non-Network and Services outside the Network Area                                                 $7,000.00
Family Calendar Year Out-of-Pocket Maximum
- Network                                                                                           $7,000.00
- Non-Network and Services outside the Network Area                                              $14,000.00

Benefit Maximum(s)

The benefit maximum(s) shown here are per person (Member), per calendar year, unless otherwise noted.
- Home Health Care Services                                                                          60 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                            60 days
- Outpatient Therapy Services - Physical Therapy                                                     60 visits
- Outpatient Therapy Services - Speech, Hearing and Occupational Therapy                             60 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Outpatient Therapy Services - Chiropractic Care Services                                           20 visits
- Gene Therapy - Approved Travel Expenses to and from a network facility           $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                        gene therapy

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.
- Transplant and Related Specialty Care Services - Approved Travel Expenses                      $10,000.00
Lifetime Maximum Benefit for all Covered Expenses                                                   Unlimited


Copays for Covered Expenses

Copays are amounts to be paid by you and/or your Dependents (the Member) for Covered Expenses.
 - Mental Health - Network Outpatient Office Visits (such as individual and group
                                                                                      $50.00
   psychotherapy, medication management, virtual care )




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
 - Substance Use Disorders - Network Outpatient Office Visits (such as individual and
                                                                                              $50.00
   group psychotherapy, medication management, virtual care )
 - Network Outpatient Therapy Services - Chiropractic Care Services                           $50.00
 - Network Outpatient Therapy Services - Physical Therapy                                     $50.00
 - Network Outpatient Therapy Services - Speech, Hearing and Occupational Therapy             $50.00
 - Network Convenience Care Clinic                                                            $25.00
 - Virtual Care - Virtual Physician Services - Services available through Physicians as
   medically appropriate.
  Primary Care Physicians Virtual Office Visit                                                $25.00
  Specialty Care Physicians Virtual Office Visit                                              $50.00
  Note: Physicians may deliver services virtually that are payable under other benefits
   (e.g., Preventive Care, Outpatient Therapy Services).
                                                                                              $75.00 per day and
 - Network Urgent Care Facility (includes all services rendered as part of the visit)
                                                                                              per provider
 - Emergency Room (includes all services rendered as part of the visit, and this copay is
                                                                                              $250.00
   waived if the visit is immediately followed by an inpatient admission)
 - Other Network Office Visits - Primary Care                                                 $25.00
 - Other Network Office Visits - Specialist Care                                              $50.00

The Other Network Office Visits copay does not apply to office visits for contraceptives, preventive care, and
non-network urgent care facility visits.
Coinsurance for all Covered Expenses

“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.



                                                                        NETWORK              NON-NETWORK
                                                                                             60% of the
                                                                                             Maximum
Mental Health - Inpatient                                              80%
                                                                                             Reimbursable
                                                                                             Charge
Mental Health - Outpatient
                                                                                             60% of the
 - Office Visits (such as individual, family and group psychotherapy,                        Maximum
                                                                      100%
   medication management, virtual care)                                                      Reimbursable
                                                                                             Charge




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                          NETWORK          NON-NETWORK
                                                                                           60% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
                                                                                           60% of the
                                                                                           Maximum
Substance Use Disorders - Inpatient                                      80%
                                                                                           Reimbursable
                                                                                           Charge
Substance Use Disorders - Outpatient
                                                                                           60% of the
 - Office Visits (such as individual, family and group psychotherapy,                      Maximum
                                                                      100%
   medication management, virtual care)                                                    Reimbursable
                                                                                           Charge
                                                                                           60% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
Preventive Care
                                                                                           60% of the
                                                                                           Maximum
 - Preventive Care Office Visits                                         100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           60% of the
                                                                                           Maximum
 - Preventive Care Services other than lab tests and x-rays              100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           60% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in a provider's office                                               Reimbursable
                                                                                           Charge
                                                                                           60% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in an independent or outpatient facility                             Reimbursable
                                                                                           Charge
Office Visits and Office Services
 - Office Visits
                                                                                           60% of the
                                                                                           Maximum
  * Primary Care                                                         100%
                                                                                           Reimbursable
                                                                                           Charge




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                      NETWORK      NON-NETWORK
                                                                                   60% of the
                                                                                   Maximum
 * Specialist Care                                                100%
                                                                                   Reimbursable
                                                                                   Charge
- Lab Tests performed in the provider's office
                                                                                   60% of the
                                                                                   Maximum
 * Primary Care                                                   100%
                                                                                   Reimbursable
                                                                                   Charge
                                                                                   60% of the
                                                                                   Maximum
 * Specialist Care                                                100%
                                                                                   Reimbursable
                                                                                   Charge
- X-rays performed in the provider's office
                                                                                   60% of the
                                                                                   Maximum
 * Primary Care                                                   100%
                                                                                   Reimbursable
                                                                                   Charge
                                                                                   60% of the
                                                                                   Maximum
 * Specialist Care                                                100%
                                                                                   Reimbursable
                                                                                   Charge
- Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
  nuclear medicine) performed in the provider's office
                                                                                   60% of the
                                                                                   Maximum
 * Primary Care                                                   80%
                                                                                   Reimbursable
                                                                                   Charge
                                                                                   60% of the
                                                                                   Maximum
 * Specialist Care                                                80%
                                                                                   Reimbursable
                                                                                   Charge
- Office Surgery
                                                                                   60% of the
                                                                                   Maximum
 * Primary Care                                                   100%
                                                                                   Reimbursable
                                                                                   Charge
                                                                                   60% of the
                                                                                   Maximum
 * Specialist Care                                                100%
                                                                                   Reimbursable
                                                                                   Charge



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK         NON-NETWORK
 - Other Office Services (such as diagnostic services, allergy
   injections)
                                                                                       60% of the
                                                                                       Maximum
  * Primary Care                                                     100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
  * Specialist Care                                                  100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
Convenience Care Clinic                                              100%
                                                                                       Reimbursable
                                                                                       Charge
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Facility                                               80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Ancillary Facility Charges                             80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Professional Services - Surgeon                        80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
 - Outpatient Professional Services - Other (including but not limited
                                                                                       Maximum
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      80%
                                                                                       Reimbursable
   Based Doctors)
                                                                                       Charge
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:
                                                                                       60% of the
                                                                                       Maximum
 - Independent Facility                                              100%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Facility                                               100%
                                                                                       Reimbursable
                                                                                       Charge

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK           NON-NETWORK
                                                                                          60% of the
Outpatient X-rays ordered as part of an Office Visit or outpatient                        Maximum
                                                                       100%
care and performed in an outpatient facility                                              Reimbursable
                                                                                          Charge
                                                                                          60% of the
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
                                                                                          Maximum
Scan and nuclear medicine) ordered as part of an Office Visit or       80%
                                                                                          Reimbursable
outpatient care and performed in an outpatient facility
                                                                                          Charge
Outpatient Dialysis Treatment                                          Based on place and Not Covered
                                                                       type of service
Inpatient Hospital
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Facility                                                  80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Ancillary Facility Charges                                80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Professional Services - Surgeon                           80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
 - Inpatient Professional Services - Radiologist, Pathologist,                            Maximum
                                                                       80%
   Anesthesiologist, other Hospital-Based Doctors                                         Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Professional Services - Doctor Visits/Consultations       80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
Urgent Care Facility (includes all services rendered as part of the                       Maximum
                                                                       100%
visit)                                                                                    Reimbursable
                                                                                          Charge
Emergency Room (includes all services rendered as part of the
                                                                       100%               100%
visit)
Air Ambulance                                                          80%                80%
                                                                                          80% of the
                                                                                          Maximum
Ambulance Services                                                     80%
                                                                                          Reimbursable
                                                                                          Charge

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK           NON-NETWORK
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                 Same as Inpatient   Same as Inpatient
                                                                      Hospital benefit    Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                         90%                 Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                     Not Covered         Not Covered
 - Other Medical Pharmaceuticals                                      90%                 Not Covered
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                      Same as Medical
- Gene therapy product                                                                    Not Covered
                                                                      Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide     Based on place and
                                                                                         Not Covered
 the specific gene therapy                                            type of service
 * Other Network facilities                                           Not Covered         Not Covered
 * Non-network facilities                                             Not Covered         Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene       100%                Not Covered
therapy
                                                                                          60% of the
                                                                                          Maximum
Home Health Care Services                                             80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
Skilled Nursing Facility                                              80%
                                                                                          Reimbursable
                                                                                          Charge
Hospice Care
 - Inpatient Hospice                                                  Same as Inpatient   Same as Inpatient
                                                                      Hospital            Hospital
 - Outpatient Hospice                                                 Same as Home        Same as Home
                                                                      Health Care         Health Care
Contraceptives                                                        100%                Based on place and
                                                                                          type of service
Family Planning                                                       Based on place and Based on place and



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                      NETWORK            NON-NETWORK
                                                                     type of service    type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%               Based on place and
(excluding reversals)                                                                   type of service
                                                                                        60% of the
Breast-Feeding Equipment (rental of one breast pump per
                                                                                        Maximum
pregnancy up to the purchase price, and related supplies, when the   100%
                                                                                        Reimbursable
pump is ordered or prescribed by a Doctor)
                                                                                        Charge
                                                                                        60% of the
                                                                                        Maximum
Durable Medical Equipment                                            80%
                                                                                        Reimbursable
                                                                                        Charge
Outpatient Therapy Services - includes cognitive therapy,
osteopathic manipulation, pulmonary rehabilitation, cardiac
rehabilitation, and:
                                                                                        60% of the
                                                                                        Maximum
- Physical Therapy                                                   100%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        60% of the
                                                                                        Maximum
- Speech, Hearing and Occupational Therapy                           100%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        60% of the
                                                                                        Maximum
- Chiropractic Care Services                                         100%
                                                                                        Reimbursable
                                                                                        Charge
Transplant and Related Specialty Care Services
 - Approved Travel Expenses to and from certain designated
                                                                     100%               Not Covered
   Network facilities
 - Transplant Services
  * Designated Network facilities                                    80%                Not Covered
  * Other Network facilities                                         Not Covered        Not Covered
  * Non-network facilities                                           Not Covered        Not Covered
Virtual Care - Dedicated Virtual Providers - Services available
through contracted virtual providers as medically appropriate.
Urgent Virtual Care Services                                         100%               Not Covered
Note: Dedicated Virtual Providers may deliver services that are
payable under other benefits (e.g., Preventive Care, Primary Care
Physician, Behavioral; Dermatology/Specialty Care Physician).



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                         NETWORK          NON-NETWORK
Note: Lab services supporting a virtual visit must be obtained
through dedicated labs.
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
                                                                                         Same as Office
Primary Care Physicians Virtual Office Visit                           100%
                                                                                         Visit
                                                                                         Same as Office
Specialty Care Physicians Virtual Office Visit                         100%
                                                                                         Visit
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
                                                                                         60% of the
                                                                                         Maximum
Other Covered Expenses                                                 80%
                                                                                         Reimbursable
                                                                                         Charge


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 80%, except as indicated below.
 - Preventive Care Office Visits                     100%
 - Preventive Care Services other than lab tests
                                                     100%
   and x-rays
 - Preventive Care lab tests and x-rays ordered as
   part of Preventive Care and performed in:
  * a provider's office                              100%
  * an independent or outpatient facility            100%
 - Breast-Feeding Equipment (rental of one
   breast pump per pregnancy up to the purchase
                                                 100%
   price, and related supplies, when the pump is
   ordered or prescribed by a Doctor)
 - Contraceptives                                    100%
 - Ambulance Services                                80%
 - Emergency Room (includes all services
                                                     100%
   rendered as part of the visit)
 - Transplant and Related Specialty Care
                                                     Not Covered
   Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).
A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.
To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.
You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov), and certain other preventive care medications as recommended by Cigna are payable at
100% not subject to any deductible, copay or coinsurance, when purchased from a Network Pharmacy. A written
prescription is required.
FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.
Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.

Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.
As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.

Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.

The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in this Schedule may be reduced in order for Patient Assurance Program discounts earned by Cigna to be
applied or credited to the copay or coinsurance, if any, as described above.


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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in this
Schedule for the insulin product. In addition, the covered insulin products eligible for Patient Assurance
Program discounts shall not be subject to the deductible, if any.
Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your out-of-pocket maximum.
Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your out-of-pocket maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.
Copays and Coinsurance

Copays are amounts to be paid by you for covered Prescription Drug Products. A coinsurance is the percentage
of the Prescription Drug Charge for a covered Prescription Drug Product that you are required to pay under this
Plan in addition to the Deductible, if any.
Retail Network Pharmacy - up to a 30-day supply

The amount you pay per Prescription Order or Refill for up to a consecutive 30-day supply of a Prescription
Drug Product purchased at a Network Pharmacy is shown here.
Tier 1 - Generic Drugs on the Prescription Drug List                                               $10.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                         $35.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $100.00 copay


Non-Network Pharmacy - not covered
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. If a prescription is filled
at a Non-Network Pharmacy, you must pay 100% of the cost at the time of purchase and submit a
claim for reimbursement. Prescription Drug Products purchased at a Non-Network Pharmacy are
not covered, except as described in COVERED EXPENSES for covered expenses incurred as part
of Emergency Services.


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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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90-Day Retail Network Pharmacy - up to a 90-day supply

The 90-Day Retail option is not available for Specialty Prescription Drug Products.
The amount you pay per Prescription Order or Refill for up to a consecutive 90-day supply of a Prescription
Drug Product purchased at a retail Designated Pharmacy is shown here. In this context, a retail Designated
Pharmacy is a retail Network Pharmacy contracted for dispensing covered Prescription Drug Products, including
Maintenance Drug Products, in 90-day supplies per Prescription Order or Refill.
Tier 1 - Generic Drugs on the Prescription Drug List                                              $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                      $105.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                  $300.00 copay


Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply
Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.
The amount you pay per Prescription Order or Refill for up to a consecutive 90-day supply of a Prescription
Drug Product purchased at a home delivery Network Pharmacy is shown here.
Tier 1 - Generic drugs on the Prescription Drug List                                             $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                      $105.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                  $300.00 copay


Tier 4 - Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery
Pharmacy.
You pay $200.00 per Prescription Order or Refill for up to a consecutive 30-day supply of a
Specialty Prescription Drug Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical and drug benefits, an eligible Employee, as determined by your Employer, is a
person who is in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Domestic Partner are eligible to be covered as Employees: A person who is eligible
as an Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered
as a Dependent of only one Employee.

If you are eligible to be covered as an Employee and as a Dependent child of another Employee: A person who
is eligible as an Employee will not be considered as an eligible Dependent. However, if you are eligible to be
covered as an Employee's Dependent child because you are under age 26, then you are eligible to be covered as
either an Employee or as an Employee's Dependent child.
It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.
Your Dependents must live in the United States to be eligible for coverage.

Eligible Dependents are:
    your legal spouse; or
    your Domestic Partner.
    a child under age 26.
Domestic Partner

“Domestic Partner” means the person, regardless of gender, named in the Affidavit of Domestic Partnership that
you have submitted to and has been approved by the Employer.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your covered Domestic Partner.
Handicapped/Disabled Child




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ELIGIBILITY___
            - Continued
The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.
Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.
When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.
Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
 For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
 birth; and
 For any other adoptive child, from the date of placement.
■ What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.
Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.

A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights

For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.

If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.
A special enrollment event occurs if:



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WHEN COVERAGE BEGINS & ENDS___
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    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under another health
    insurance plan or arrangement and coverage under the other plan was lost as a result of:
    - Exhausting the maximum period of COBRA coverage; or
    - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
      status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
      the service area; or
    - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
      meets or exceeds the lifetime maximum for that plan; or
    - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
      class; or
    - Termination of the employer's contribution for the other plan's coverage.
    You must have stated in writing that the other health coverage was the reason you declined coverage under
    this Plan, but only if the Employer required such a statement and notified you of the consequences of the
    requirement when you declined coverage.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
    Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
    this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
    enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
    terminated.
    You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
    eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
    state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
    request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
    Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
    assistance.
    You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
    do so and later experience a change in family status because you acquire a Dependent through marriage, birth
    or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
    Dependents.
If you apply within 30 days of the date:
    Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
    under the other plan.
    You acquire a new Dependent, coverage will start:
    - In the case of marriage, on the date of marriage.
    - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.
If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    What If I Was Covered Under the Employer's Prior Plan?
A Member who had similar coverage for medical and prescription drug benefits under the Employer's prior plan
on the date of its termination will be covered under this Plan on the Plan effective date.



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WHEN COVERAGE BEGINS & ENDS___
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Any waiting period under this Plan will be reduced by the part of the waiting period that had been satisfied
under the prior plan.
If a Member was on COBRA or any other continuation coverage or extension of benefits under the prior plan
and that plan terminated, coverage will be provided for that Member until the earlier of:
    The date on which coverage would end under the terms of the Plan; or
    The last day of the period for which coverage would have been provided had the prior plan not terminated.
If a Member was covered under any extension of benefits under the prior plan, the benefits provided under this
Plan will be the same as those provided by the prior plan, less any amount paid under the prior plan.
If you (Employee) were on Family and Medical Leave on the effective date of this Plan and you were covered
under the Employer's prior plan on the date of its termination, then you will become covered for the benefits
provided under this Plan as of its effective date.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.

All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES and
CONTINUATION OF COVERAGE - COBRA.
■    Can Coverage Be Reinstated?
If your coverage ended because of termination of your Service, you may be eligible for reinstatement of
coverage if you return to Service within 3 months after the date your coverage ended.




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WHEN COVERAGE BEGINS & ENDS___
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On the date you return to Service, coverage for you and your eligible Dependents will be on the same basis as
that provided for any other active Employee and his or her Dependents as of that date. However, any restrictions
on your coverage that were in effect before your reinstatement will still apply.
See USERRA RIGHTS AND RESPONSIBILITIES for information about reinstatement of coverage upon
return from leave for military service.




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OPEN ACCESS PLUS MEDICAL BENEFITS___
■    How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.

You and your covered Dependents are encouraged, but are not required, to select a Primary Care Physician
(PCP) in the network. The PCP provides care and can assist with arranging and coordinating care. You and your
covered Dependents may obtain covered services from providers who are designated as specialists without
getting PCP approval. To select or change a PCP, contact Member Services at the phone number or website
address shown on the Member ID card.

Medical Management Program

Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.
As used in this provision “you” refers to the covered Member.
Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.
If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.
You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.
Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.

Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.
Certain services and supplies require pretreatment authorization, including, but not limited to:
    Air Ambulance, when used for non-Emergency Medical Conditions.
    Durable medical equipment, based on type of equipment.
    Genetic testing.

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OPEN ACCESS PLUS MEDICAL BENEFITS___
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 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)
The MEDICAL BENEFITS SCHEDULE shows deductibles and copays, as well as any Plan maximums and
Plan coinsurance payment percentages.

The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit
Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:




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OPEN ACCESS PLUS MEDICAL BENEFITS___
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  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then covered Hospital charges will be payable at the non-network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Primary Care includes Preventive Care and care rendered by Doctors who agree to serve as Primary Care
Physicians. In general, Primary Care Physicians include Doctors in the fields of General Practice, Family
Practice, Pediatrics and Internal Medicine. OB/GYNs are also included. Members may determine a provider's
classification by using the member web site or by calling Member Services.

Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.

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OPEN ACCESS PLUS MEDICAL BENEFITS___
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  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

Breast Reconstruction and Breast Prostheses

The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.

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OPEN ACCESS PLUS MEDICAL BENEFITS___
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See the PRESCRIPTION DRUG BENEFIT for information on coverage of contraceptives purchased from a
licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies. Elective abortions are also covered.

Infertility Testing

The Plan covers diagnostic testing for the purpose of diagnosing infertility.

Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.
In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.
Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.

A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.
Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.
A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.
Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders


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OPEN ACCESS PLUS MEDICAL BENEFITS___
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The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.
In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.

Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.
A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.
A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.
Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.


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  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.
Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.
Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following:
  Multiple therapy services provided on the same day constitute one day of service for each therapy type.
  A separate copay applies to the services provided by each provider per visit.
Home Health Care Services



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The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.
Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.
Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.

Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.
Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;
  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;



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but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.

Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Transplant Services and Related Specialty Care

The Plan covers charges that are approved by Medical Management for human organ and tissue transplant
services, including solid organ and bone marrow/stem cell procedures. This coverage is subject to the following
conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures are also
covered for artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane
oxygenation (ECMO) ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are not covered.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the In-Network level.
Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.



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Advanced cellular therapy, including but not limited to, immune effector cell therapies and Chimeric Antigen
Receptor Therapy (CAR-T) cellular therapy, is covered when performed at a Cigna LifeSOURCE Transplant
Network® facility with an approved stem cell transplant program. Advanced cellular therapy received at any
other facility, including non-Participating Provider facilities and Participating Provider facilities not specifically
contracted with Cigna for advanced cellular therapy, are not covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.
  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network® facility.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network® facility); and lodging while at, or
  traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.
Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.

Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.



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Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.
Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.


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Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.
Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.

Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling

The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.


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Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.
The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).
  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
     the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
     both of the following conditions are met:
     * the study or investigation has been reviewed and approved through a system of peer review comparable to
        the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
        and
     * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.


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  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.
Clinical trials conducted by out-of-network (non-network) providers will be covered only when the following
conditions are met:
  in-network providers are not participating in the clinical trial; or
  the clinical trial is conducted outside the individual's state of residence.
Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.
  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Dedicated Virtual Providers
  charges for the delivery of medical and health-related services and consultations by dedicated virtual providers
  as medically appropriate through audio, video, and secure internet-based technologies.


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Virtual Physician Services
  charges for the delivery of medical and health-related services and consultations as medically appropriate
  through audio, video, and secure internet-based technologies that are similar to office visit services provided in
  a face-to-face setting.
  charges for behavioral consultations and services via secure telecommunications technologies that include
  video capability, including telephones and internet, when delivered through a behavioral provider.




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PRESCRIPTION DRUG BENEFITS___
■    What's Covered? (Covered Expenses)
As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on which of the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.
The drug benefit includes coverage of contraceptives.

Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.
When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.

Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.
Copay - Your Plan requires that you pay a copay for covered Prescription Drug Products as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual deductible set forth in
the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy and that is subject to a copay requirement will be the lowest of the following amounts:
    the copay for the Prescription Drug Product set forth in the SCHEDULE; or
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
Coinsurance - Your Plan requires that you pay a coinsurance amount for covered Prescription Drug Products as
set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual
deductible set forth in the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product
dispensed by a Network Pharmacy and that is subject to a coinsurance requirement will be the lowest of the
following amounts:
    the amount that results from applying the applicable coinsurance percentage set forth in the SCHEDULE to
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.




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Payments at Non-Network Pharmacies - Any reimbursement due to you under this Plan for a covered
Prescription Drug Product dispensed by a non-network Pharmacy may be determined by applying the non-
network pharmacy copay and/or coinsurance amount set forth in the PRESCRIPTION DRUG BENEFITS
SCHEDULE to the average wholesale price (or “AWP”), or other benchmark price Cigna applies, for a
Prescription Drug Product dispensed by a non-network Pharmacy. Your reimbursement, if any, for a covered
Prescription Drug Product dispensed by a non-network Pharmacy will never exceed the average wholesale price
(or other benchmark price applied by Cigna) for the Prescription Drug Product.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.
You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE.
For most Prescription Drug Products you pay only the cost sharing detailed in the PRESCRIPTION DRUG
BENEFITS SCHEDULE. However, in the event you insist on a more expensive Brand Drug where a
Therapeutic Equivalent Generic Drug is available, you may be financially responsible for an Ancillary Charge,
in addition to any required Brand Drug copay and/or coinsurance. In this case, the Ancillary Charge will not
apply to any deductible or any out-of-pocket maximum. However, in the event your Doctor determines that the
Generic Drug is not an acceptable alternative for you (and indicates Dispense as Written on the Prescription
Order or Refill), you will only be responsible for payment of the appropriate Brand Drug copay and/or
coinsurance.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.

Prescription Drug List Management

Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.




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PRESCRIPTION DRUG BENEFITS___
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The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date tier status, utilization management, or other coverage limitations for a Prescription Drug
Product.

New Prescription Drug Products

New Prescription Drug Products may or may not be placed on a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in the Schedule.

Prior Authorization Requirements

Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.
When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.




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PRESCRIPTION DRUG BENEFITS___
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If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.
If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.

Step Therapy

Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.

Supply Limits

Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.

Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.

Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.

Specialty Clinical Days' Supply




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PRESCRIPTION DRUG BENEFITS___
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Specialty clinical days' supply is designed to improve customer adherence and satisfaction while reducing the
waste of Specialty Prescription Drug Products resulting from changes in prescription drug therapy. Specialty
clinical days' supply uses clinical guidelines, customer experience, financial considerations, and Cigna's home
delivery pharmacy expertise to establish an optimum maximum days' supply for each fill of a Specialty
Prescription Drug Product. The maximum days' supply of a Specialty Prescription Drug product, dispensed by a
Cigna designated specialty pharmacy, may be limited to less than the home delivery days' supply maximum
indicated in The Schedule depending on the drug, condition, and demonstrated patient stability on prescription
drug therapy.

Designated Pharmacies

If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which the Member is not obligated to pay, or for which the Member is not billed or for which the
  Member would not have been billed except that they were covered under the Plan. For example, if Cigna, in its
  role as benefits administrator, determines that a provider or Pharmacy is waiving, discounting, reducing,
  forgiving or has waived, discounted, reduced, or forgiven any portion of its charges and/or any portion of
  deductible, copay, coinsurance amount(s) you are required to pay for a Covered Expense without Cigna's
  express consent, then Cigna in its sole discretion shall have the right to deny the payment of Plan benefits in
  connection with the Covered Expense, or reduce the benefits in proportion to the amount of the deductible,
  copay or coinsurance amount(s) waived, discounted, forgiven or reduced, regardless of whether the provider or
  Pharmacy represents that you remain responsible for any amounts that the Plan does not cover. In the exercise
  of that discretion, Cigna shall have the right to require you to provide proof sufficient to Cigna that you have
  made your required cost share payment(s) prior to the payment of any Plan benefits. This exclusion includes,
  but is not limited to, charges of a provider who is not a Participating Provider who has agreed to charge you, or
  has charged you at a network benefit level or a benefits level not otherwise applicable to the services received.
  charges arising out of, or relating to, any violation of a healthcare-related state or federal law, or which
  themselves are a violation of a healthcare-related state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared, riot or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.
  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.


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BENEFIT LIMITATIONS___
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  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  expenses for care provided through or by a public program, to the extent that a Member is in any way paid or
  entitled to payment for those expenses by or through a public program, other than Medicaid.
  to the extent that payment is unlawful where the person resides when the expenses are incurred.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary urgent or emergent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  unless otherwise covered in this Plan, for reports, evaluations, physical examinations, or hospitalization not
  required for health reasons including, but not limited to, employment, insurance or government licenses, and
  court-ordered, forensic or custodial evaluations.
  court-ordered treatment or hospitalization, unless such treatment is prescribed by a Doctor and listed as
  covered in this Plan.
  health care expenses for the infant child of a Dependent, unless the infant child is otherwise eligible under this
  Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. Charges made for services or supplies provided for or in connection with an accidental Injury to
  teeth are covered provided a continuous course of dental treatment is started within six months of an accident.



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 for medical and surgical services, initial and repeat, intended for the treatment or control of obesity including
 clinically severe (morbid) obesity, including: medical and surgical services to alter appearance or physical
 changes that are the result of any surgery performed for the management of obesity or clinically severe
 (morbid) obesity; and weight loss programs or treatments, whether prescribed or recommended by a Doctor or
 under medical supervision.
 infertility testing (except as described in the Infertility Testing provision), infertility services, infertility drugs,
 surgical or medical treatment programs for infertility, including in-vitro fertilization, gamete intrafallopian
 transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of these procedures, and any costs associated
 with the collection, washing, preparation or storage of sperm for artificial insemination (including donor fees).
 Cryopreservation of donor sperm and eggs are also excluded from coverage.
 reversal of male or female voluntary sterilization procedures.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 treatment by acupuncture.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs or fees associated with health clubs, weight loss programs and smoking cessation programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.

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  fees associated with the collection or donation of blood or blood products, except for autologous donation in
  anticipation of scheduled services where in the Medical Management review opinion the likelihood of excess
  blood loss is such that transfusion is an expected adjunct to surgery.
  blood administration for the purpose of general improvement in physical condition.
  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  cosmetics, dietary supplements and health and beauty aids.
  enteral feedings, supplies and specially formulated medical foods that are prescribed and non-prescribed,
  except for infant formula needed for the treatment of inborn errors of metabolism.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).
  any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
  prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.


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 medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
 medications used to promote hair growth, and fade cream products.
 Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
 lost, stolen, broken or destroyed.
 Prescription Drug Products used for the treatment of infertility.
 Medical Pharmaceuticals covered solely under the Plan's medical benefit.
 Prescription Drug Products used for the treatment of male or female sexual dysfunction, including but not
 limited to erectile dysfunction, delayed ejaculation, anorgasmy, hypoactive sexual desire disorder and
 decreased libido.
 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis, immunization agents, virus detection testing, virus antibody testing,
 biological products for allergy immunization, biological sera, blood, blood plasma, and other blood products
 or fractions unless specifically identified on the Prescription Drug List.
 smoking cessation medications, except those required by federal law to be covered as preventive medications.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.
For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.




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Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.
If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations

When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.




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If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations

When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination




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Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.
Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure

To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.




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Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.
You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.
If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.
When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal




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Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.
This provision does not apply to your Prescription Drug Benefits.
Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.

Definitions



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For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.
  “Claim Determination Period” means a calendar year, but does not include any part of a year during which you
  are not covered under this Plan or any date before this provision or any similar provision takes effect.




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  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.
When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan

The Coordination of Benefits provision is applied throughout each Claim Determination Period.



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If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.

When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.



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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner (including Domestic Partners as
defined in the Plan). However, when Medicare coverage is due to disability, the Disability payer explanations
above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions



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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.
No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.
Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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CLAIMS & LEGAL ACTION___
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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.
Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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CLAIMS & LEGAL ACTION___
                      - Continued
A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Ancillary Charge

An additional cost, outside of Plan cost sharing detailed in the PRESCRIPTION DRUG BENEFITS
SCHEDULE, which may apply to some Prescription Drug Products when you request a more expensive Brand
Drug, when a lower cost, Therapeutic Equivalent, Generic Drug is available. The Ancillary Charge is the
amount by which the cost of the requested Brand Drug exceeds the cost of the Generic Drug.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.


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GLOSSARY___
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Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.

Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician



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A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition

A medical condition which manifests itself by acute symptoms of sufficient severity (including severe pain)
such that a prudent layperson, who possesses an average knowledge of health and medicine, could reasonably
expect the absence of immediate medical attention to result in: placing the health of the individual (or, with
respect to a pregnant woman, the health of the woman or her unborn child) in serious jeopardy; or serious
impairment to bodily functions; or serious dysfunction of a bodily part or organ.

Emergency Services

With respect to an Emergency Medical Condition: a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate the Emergency Medical
Condition; and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital, to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  Champions Funding, LLC; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.

Generic Drug


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A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

Maintenance Drug Product

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A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

When the provider is a network provider, the covered expense amount is determined based on a fee agreed upon
with the provider.

If the provider is not a network provider, the Maximum Reimbursable Charge for covered expenses is
determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  an Employer-selected percentage of a fee schedule developed by Cigna that is based upon a methodology
  similar to a methodology utilized by Medicare to determine the allowable fee for the same or similar service
  within the geographic market.
The percentage used to determine the Maximum Reimbursable Charge is the 110th percentile.
In some cases, a Medicare based schedule will not be used and the Maximum Reimbursable Charge for covered
services is determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  the 80th percentile of charges made by providers of such service or supply in the geographic area where it is
  received as compiled in a database selected by Cigna. If sufficient charge data is unavailable in the database
  for that geographic area to determine the Maximum Reimbursable Charge, then data in the database for similar
  services may be used.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.
Some providers forgive or waive the cost share obligation (such as any deductible, copay, coinsurance) that this
Plan requires you to pay. Waiver of your required cost share obligation can jeopardize your coverage under this
Plan. For more details, see the BENEFIT LIMITATIONS section.

Medical Pharmaceutical

Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

Medically Necessary/Medical Necessity


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Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies

The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy

A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.



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New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication

The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

Pharmacy




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A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical and drug benefits described in this booklet.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug List

A list that categorizes drugs, Biologics (including Biosimilars) or other products covered under the Plan's
Prescription Drug Benefit that have been approved by the U.S. Food and Drug Administration (FDA) into
coverage tiers. This list is adopted by your Employer as part of the Plan. The list is subject to periodic review
and change, and is subject to the limitations and exclusions of the Plan. You may determine to which tier a
particular Prescription Drug Product has been assigned through the website shown on your ID card or by calling
Customer Service at the telephone number on your card.

Prescription Drug Product

A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.
Prescription Order or Refill

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The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Review Organization

The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product

A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by tier
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize

With respect to an Emergency Medical Condition: to provide such medical treatment of the condition as may be
necessary to assure, within reasonable medical probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the individual from the facility.

Terminal Illness

A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

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Therapeutic Alternative

A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees

Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents
Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical and prescription drug coverage that you (the
Employee) had in effect for yourself and your Dependents.
“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical and Prescription Drug Coverage

Under USERRA, you are eligible to elect continued medical and prescription drug coverage for yourself and
your Dependents when you terminate Service with the Employer for the purpose of Uniformed Service.
The Employer should establish reasonable procedures for electing continued medical and prescription drug
coverage and for payment of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.
However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage

If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
                                  - Continued
Period of Continued Coverage

During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.
Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.

COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
                                             - Continued
COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.
To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.
For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.
After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction the Employee's work hours to below 30 hours per week, even if it does not result in the employee
  losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child intend to
  enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage is
  effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  enrollment in a marketplace qualified health plan (QHP) when the Employee is eligible for the marketplace's
  special enrollment period or the Employee wants to enroll in the QHP during the marketplace's open
  enrollment period and disenrollment from the Employer's Plan corresponds to the intended enrollment of the
  Employee, spouse or Dependent child in the QHP and the QHP coverage is effective beginning no later than
  the day immediately following the last day of the Employer's Plan coverage.
Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: Champions Funding, LLC
The name, address, ZIP code and business telephone number of the Employer is:
  Champions Funding, LLC
  365 E. Germann Road, Suite 140
  Gilbert, AZ 85297
  925-303-3108
The Employer Identification Number (EIN) is: XX-XXXXXXX
The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above
The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.
Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.
The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending December 31.
The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.



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ERISA GENERAL INFORMATION___
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Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.

Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries




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STATEMENT OF ERISA RIGHTS___
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In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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  Sunrun, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS




  EFFECTIVE DATE: January 1, 2022




   ASO21
   3338372




   This document printed in July, 2022 takes the place of any documents previously issued to you which
   described your benefits.



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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY SUNRUN, INC. WHICH IS RESPONSIBLE
FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES
CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE
BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

                                                                            HC-NOT89
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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan. These rebates or remuneration are not
Care Management and Care Coordination Services                           obtained on you or your Employer’s or plan’s behalf or for
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
Your plan may enter into specific collaborative arrangements
                                                                         to pass these rebates on to you, or apply them to your plan’s
with health care professionals committed to improving quality
                                                                         Deductible if any or take them into account in determining
care, patient satisfaction and affordability. Through these
                                                                         your Copayments and/or Coinsurance.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care                  Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate                  various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at                 this plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health               may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                  educational grants and research. Amounts received from
                                                                         pharmaceutical manufacturers pursuant to such arrangements
                                                                         are not related to this plan. Cigna and its affiliates are not
HC-SPP27                                                    06-15        required to pass on to you, and do not pass on to you, such
                                                                V1       amounts.
                                                                         Coupons, Incentives and Other Communications
                                                                         At various times, Cigna or its designee may send mailings to
Important Notices                                                        you or your Dependents or to your Physician that
Direct Access to Obstetricians and Gynecologists                         communicate a variety of messages, including information
                                                                         about Medical Pharmaceuticals. These mailings may contain
You do not need prior authorization from the plan or from any
                                                                         coupons or offers from pharmaceutical manufacturers that
other person (including a primary care provider) in order to
                                                                         enable you or your Dependents, at your discretion, to purchase
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           the described Medical Pharmaceutical at a discount or to
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
or gynecology. The health care professional, however, may be
                                                                         for and/or provide the content for these mailings. Cigna, its
required to comply with certain procedures, including
                                                                         affiliates and the plan are not responsible in any way for any
obtaining prior authorization for certain services, following a
                                                                         decision you make in connection with any coupon, incentive,
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         or other offer you may receive from a pharmaceutical
who specialize in obstetrics or gynecology, visit                        manufacturer or Physician.
www.mycigna.com or contact customer service at the phone
number listed on the back of your ID card.                               HC-IMP304                                                      01-22

Selection of a Primary Care Provider
This plan generally allows the designation of a primary care             Discrimination is Against the Law
provider. You have the right to designate any primary care               Cigna complies with applicable Federal civil rights laws and
provider who participates in the network and who is available            does not discriminate on the basis of race, color, national
to accept you or your family members. For information on                 origin, age, disability or sex. Cigna does not exclude people or
how to select a primary care provider, and for a list of the             treat them differently because of race, color, national origin,
participating primary care providers, visit www.mycigna.com              age, disability or sex.
or contact customer service at the phone number listed on the
back of your ID card.                                                    Cigna:
For children, you may designate a pediatrician as the primary               Provides free aids and services to people with disabilities to
care provider.                                                               communicate effectively with us, such as:
                                                                              Qualified sign language interpreters

HC-NOT5                                                     01-11
                                                                              Written information in other formats (large print, audio,
                                                                               accessible electronic formats, other formats)



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   Provides free language services to people whose primary               Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
    language is not English, such as                                      về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
     Qualified interpreters                                              Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                          khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Information written in other languages
If you need these services, contact customer service at the toll-         Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
free phone number shown on your ID card, and ask a                        서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
Customer Service Associate for assistance.
                                                                          가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
If you believe that Cigna has failed to provide these services
or discriminated in another way on the basis of race, color,              연락해주십시오. 기타 다른 경우에는 1.800.244.6224
national origin, age, disability or sex, you can file a grievance         (TTY: 다이얼 711)번으로 전화해주십시오.
by sending an email to ACAGrievance@cigna.com or by
writing to the following address:                                         Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
    Cigna                                                                 tulong sa wika nang libre. Para sa mga kasalukuyang customer
    Nondiscrimination Complaint Coordinator                               ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    P.O. Box 188016                                                       kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Chattanooga, TN 37422                                                 Russian – ВНИМАНИЕ: вам могут предоставить
If you need assistance filing a written grievance, please call            бесплатные услуги перевода. Если вы уже участвуете в
the number on the back of your ID card or send an email to                плане Cigna, позвоните по номеру, указанному на
ACAGrievance@cigna.com. You can also file a civil rights                  обратной стороне вашей идентификационной карточки
complaint with the U.S. Department of Health and Human                    участника плана. Если вы не являетесь участником одного
Services, Office for Civil Rights electronically through the              из наших планов, позвоните по номеру 1.800.244.6224
Office for Civil Rights Complaint Portal, available at:                   (TTY: 711).
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building
    Washington, D.C. 20201                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    1-800-368-1019, 800-537-7697 (TDD)                                    disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
Complaint forms are available at                                          dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
http://www.hhs.gov/ocr/office/file/index.html.                            (TTY: Rele 711).
                                                                          French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                      07-17
                                                                          Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                          carte d’identité. Sinon, veuillez appeler le numéro
Proficiency of Language Assistance Services                               1.800.244.6224 (ATS : composez le numéro 711).
English – ATTENTION: Language assistance services, free                   Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
of charge, are available to you. For current Cigna customers,             assistência linguística, totalmente gratuitos. Para clientes
call the number on the back of your ID card. Otherwise, call              Cigna atuais, ligue para o número que se encontra no verso do
1.800.244.6224 (TTY: Dial 711).                                           seu cartão de identificação. Caso contrário, ligue para
                                                                          1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de
idiomas, sin cargo, a su disposición. Si es un cliente actual de          Polish – UWAGA: w celu skorzystania z dostępnej,
Cigna, llame al número que figura en el reverso de su tarjeta             bezpłatnej pomocy językowej, obecni klienci firmy Cigna
de identificación. Si no lo es, llame al 1.800.244.6224 (los              mogą dzwonić pod numer podany na odwrocie karty
usuarios de TTY deben llamar al 711).                                     identyfikacyjnej. Wszystkie inne osoby prosimy o
                                                                          skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                           Japanese –
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                     注意事項：日本語を話される場合、無料の言語支援サー
                                                                          ビスをご利用いただけます。現在のCignaの
                                                                          お客様は、IDカード裏面の電話番号まで、お電話にてご


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連絡ください。その他の方は、1.800.244.6224（TTY:                                        benefits is available for review by Plan Administrators (e.g.
711）まで、お電話にてご連絡ください。                                                     employers) and covered persons by accessing the appropriate
                                                                         link below:
Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                Employers (Plan Administrators):
chiamare il numero sul retro della tessera di identificazione.               https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                 Log in, select Resources and Training, then select the
TTY: chiamare il numero 711).                                                NQTL document.
German – ACHTUNG: Die Leistungen der                                         Covered Persons: www.cigna.com\sp
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                To determine which document applies to your plan, select the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             relevant health plan product; medical management model
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 (inpatient only or inpatient and outpatient) which can be
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 located in this booklet immediately following The Schedule;
Sie 711).                                                                and pharmacy coverage (whether or not your plan includes
                                                                         pharmacy coverage).


                                                                         HC-NOT113                                                    01-20




                                                                         How To File Your Claim
                                                                         There’s no paperwork for In-Network care. Just show your
HC-NOT97                                                     07-17       identification card and pay your share of the cost, if any; your
                                                                         provider will submit a claim to Cigna for reimbursement. Out-
                                                                         of-Network claims can be submitted by the provider if the
Mental Health Parity and Addiction Equity Act of 2008                    provider is able and willing to file on your behalf. If the
(MHPAEA) - Non-Quantitative Treatment Limitations                        provider is not submitting on your behalf, you must send your
(NQTLs)                                                                  completed claim form and itemized bills to the claims address
Federal MHPAEA regulations provide that a plan cannot                    listed on the claim form.
impose a Non-Quantitative Treatment Limitation (NQTL) on                 You may get the required claim forms from the website listed
mental health or substance use disorder (MH/SUD) benefits in             on your identification card or by using the toll-free number on
any classification unless the processes, strategies, evidentiary         your identification card.
standards, or other factors used in applying the NQTL to
MH/SUD benefits are comparable to, and are applied no more               CLAIM REMINDERS
stringently than, those used in applying the NQTL to                      BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits           ACCOUNT/GROUP NUMBER WHEN YOU FILE
as written and in operation under the terms of the plan.                   CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include:                    YOUR CIGNA CLAIM OFFICE.
   Medical management standards limiting or excluding                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
    benefits based on Medical Necessity or whether the                       BENEFIT IDENTIFICATION CARD.
    treatment is experimental or investigative;                              YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
   Prescription drug formulary design;                                      YOUR BENEFIT IDENTIFICATION CARD.
   Network admission standards;                                            BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                             ON THE BACK OF THE CLAIM FORM CAREFULLY
   Methods for determining in-network and out-of-network                    WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;
                                                                         Timely Filing of Out-of-Network Claims
   Step therapy a/k/a fail-first requirements; and
                                                                         Cigna will consider claims for coverage under our plans when
   Exclusions and/or restrictions based on geographic location,         proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                 of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                      rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                Confinement, the limit will be counted from the last date of



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service. If claims are not submitted within 180 days for Out-            Effective Date of Employee Insurance
of-Network benefits, the claim will not be considered valid              You will become insured on the date you elect the insurance
and will be denied.                                                      by signing an approved payroll deduction or enrollment form,
WARNING: Any person who knowingly and with intent to                     as applicable, but no earlier than the date you become eligible.
defraud any insurance company or other person files an                   You will become insured on your first day of eligibility,
application for insurance or statement of claim containing any           following your election, if you are in Active Service on that
materially false information; or conceals for the purpose of             date, or if you are not in Active Service on that date due to
misleading, information concerning any material fact thereto,            your health status.
commits a fraudulent insurance act.
                                                                         Late Entrant - Employee
                                                                         You are a Late Entrant if:
HC-CLM25                                                    01-11
                                                             V11
                                                                            you elect the insurance more than 30 days after you become
                                                                             eligible; or
                                                                            you again elect it after you cancel your payroll deduction (if
                                                                             required).
Eligibility - Effective Date
                                                                         Dependent Insurance
Employee Insurance
                                                                         For your Dependents to be insured, you will have to pay the
This plan is offered to you as an Employee.                              required contribution, if any, toward the cost of Dependent
Eligibility for Employee Insurance                                       Insurance.
You will become eligible for insurance on the day you                    Effective Date of Dependent Insurance
complete the waiting period if:                                          Insurance for your Dependents will become effective on the
   you are in a Class of Eligible Employees; and                        date you elect it by signing an approved payroll deduction
   you are an eligible, full-time Employee; and                         form (if required), but no earlier than the day you become
                                                                         eligible for Dependent Insurance. All of your Dependents as
   you normally work at least 30 hours a week; and                      defined will be included.
   you pay any required contribution.                                   Your Dependents will be insured only if you are insured.
If you were previously insured and your insurance ceased, you            Late Entrant – Dependent
must satisfy the Waiting Period to become insured again. If
your insurance ceased because you were no longer employed                You are a Late Entrant for Dependent Insurance if:
in a Class of Eligible Employees, you are not required to                   you elect that insurance more than 30 days after you
satisfy any waiting period if you again become a member of a                 become eligible for it; or
Class of Eligible Employees within one year after your                      you again elect it after you cancel your payroll deduction (if
insurance ceased.                                                            required).
Employees on temporary furlough for up to 6 months will be               Exception for Newborns
considered active employees and coverage will continue
during this time period.                                                 Any Dependent child born while you are insured will become
                                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                      Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later            elect to insure your newborn child within such 31 days,
of:                                                                      coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                         for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                         HC-ELG274M                                                     01-19

Waiting Period
The first day of the month following date of hire.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
Employer.



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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


HC-IMP212                                                   01-18




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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .



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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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      BENEFIT HIGHLIGHTS                   IN-NETWORK                    OUT-OF-NETWORK
Lifetime Maximum                                             Unlimited
The Percentage of Covered Expenses   80%                           60% of the Maximum Reimbursable
the Plan Pays                                                      Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-    Not Applicable                  110%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 the provider’s normal charge for a
  similar service or supply; or
 the 80th percentile of charges made
  by providers of such service or
  supply in the geographic area where
  it is received as compiled in a
  database selected by Cigna. If
  sufficient charge data is unavailable
  in the database for that geographic
  area to determine the Maximum
  Reimbursable Charge, then data in
  the database for similar services may
  be used.

Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable copayment, deductibles
and/or coinsurance.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.

Calendar Year Deductible
  Individual                               $600 per person                  $1,000 per person

  Family Maximum                           $1,200 per family                $2,000 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $3,000 per person                $6,000 per person
  Family Maximum                           $6,000 per family                $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        No charge after $25 per office visit    60% of the Maximum Reimbursable
  Visit                                  copay                                   Charge after plan deductible


  Specialty Care Physician’s Office      No charge after $40 Specialist per      60% of the Maximum Reimbursable
  Visits                                 office visit copay                      Charge after plan deductible
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  Office                                 Specialist per office visit copay       Charge after plan deductible
  Second Opinion Consultations           No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  (provided on a voluntary basis)        Specialist per office visit copay       Charge after plan deductible
  Allergy Treatment/Injections           No charge after either the $25 PCP or   60% of the Maximum Reimbursable
                                         $40 Specialist per office visit copay   Charge after plan deductible
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               60% of the Maximum Reimbursable
  Physician in the office)                                                       Charge after plan deductible
Convenience Care Clinic                  No charge after the $25 per office      60% of the Maximum Reimbursable
                                         visit copay                             Charge after plan deductible




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        BENEFIT HIGHLIGHTS                               IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
    Urgent Virtual Care Services             No charge after the $25 PCP per       In-Network coverage only
                                             office visit copay
    Notes:
    Dedicated Virtual Providers may
    deliver services that are payable
    under other benefits (e.g., Preventive
    Care, Primary Care Physician,
    Behavioral; Dermatology/Specialty
    Care Physician).

    Lab services supporting a virtual
    visit must be obtained through
    dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                     No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                             Specialist per office visit copay     Charge after plan deductible
.
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
    Routine Preventive Care - all ages       No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible

    Immunizations - all ages                 No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Mammograms, PSA, PAP Smear
    Preventive Care Related Services         No charge                             60% of the Maximum Reimbursable
    (i.e. “routine” services)                                                      Charge after plan deductible
    Diagnostic Related Services (i.e.        Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
    “non-routine” services)                  benefit; based on place of service    benefit; based on place of service
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Inpatient Hospital – Facility Services    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Semi-Private Room and Board             Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Private Room                            Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Special Care Units (ICU/CCU)            Limited to the negotiated rate         Limited to the ICU/CCU daily room
                                                                                 rate

Outpatient Facility Services
 Operating Room, Recovery Room,           $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
 Procedures Room, Treatment Room          plan deductible                        of the Maximum Reimbursable
 and Observation Room                                                            Charge after plan deductible
  Note:
  Non-surgical treatment procedures
  are not subject to the facility copay
  or facility deductible.
Inpatient Hospital Physician’s            80% after plan deductible              60% of the Maximum Reimbursable
Visits/Consultations                                                             Charge after plan deductible

Inpatient Hospital Professional           80% after plan deductible              60% of the Maximum Reimbursable
Services                                                                         Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services          80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Urgent Care Facility or Outpatient      No charge after $35 per visit copay*    No charge after $35 per visit copay*
  Facility                                and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Emergency Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             80% after plan deductible               80% after plan deductible

Ambulance                                 80% after plan deductible               80% of the Maximum Reimbursable
                                                                                  Charge after plan deductible




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      BENEFIT HIGHLIGHTS                               IN-NETWORK                          OUT-OF-NETWORK
Inpatient Services at Other Health         80% after plan deductible                60% of the Maximum Reimbursable
Care Facilities                                                                     Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible
  Outpatient Hospital Facility             80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Independent X-ray and/or Lab             80% after plan deductible                60% of the Maximum Reimbursable
  Facility                                                                          Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 No charge                                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Inpatient Facility                       $250 per admission copay, then 80%       $500 per admission deductible, then
                                           after plan deductible                    60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Outpatient Facility                      80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
Outpatient Therapy Services                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
  Calendar Year Maximum:                   Specialist per office visit copay        Charge after plan deductible
  60 days for all therapies combined       Note:
  (The limit is not applicable to mental   Outpatient Therapy Services copay
  health conditions.)                      applies, regardless of place of
                                           service, including the home.
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          No charge after the $40 Specialist per   60% of the Maximum Reimbursable
  Calendar Year Maximum:                   office visit copay                       Charge after plan deductible
  36 days
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Physician’s Office Visit                 No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Physician’s Office Visit                No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                          Specialist per office visit copay     Charge after plan deductible
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% of the Maximum Reimbursable
  100 days (includes outpatient private                                         Charge after plan deductible
  nursing when approved as Medically
  Necessary)

  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Services                     80% after plan deductible             60% of the Maximum Reimbursable
  (same coinsurance level as Home                                               Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient                              80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $250 per admission copay, then 80%     In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible              60% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                 Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  to the global maternity fee when          Specialist per office visit copay      Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $250 per admission copay, then 80%     $500 per admission deductible, then
  (Inpatient Hospital, Birthing Center)     after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                      $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                     $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                    80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                              60% of the Maximum Reimbursable
  Tests and Counseling                                                           Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Inpatient Facility                    No charge                              $500 per admission deductible, then
                                                                                 60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   No charge                              $400 per visit deductible, then 60%
                                                                                 of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  Tests and Counseling                    Specialist per office visit copay      Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
    Inpatient Facility                    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility and Conception Services
Services offered through WINFertility
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility, as applicable.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Treatment and/or procedures performed to enable conception with or without an infertility condition
       Artificial Insemination/Intrauterine insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
       Fertility preservation when an infertility condition is imminent.
       Access to reproductive services for the purpose of pre-implantation genetic diagnosis (PGD) and embryo selection
        when parent(s), though fertile, are known carriers of genes associated with birth defects.
.
    Physician’s Office Visit (Lab and           No charge after the $25 PCP or $40         60 of the Maximum Reimbursable
    Radiology Tests, Counseling)                Specialist per office visit copay          Charge after plan deductible
    Inpatient Facility                          $250 per admission copay, then 80%         $500 per admission deductible, then
                                                after plan deductible                      60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Outpatient Facility                         $200 per visit copay, then 80% after       $400 per visit deductible, then 60%
                                                plan deductible                            of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Physician’s Services                        80% after plan deductible                  60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Cryopreserved Reproductive
    Material Storage Maximum:
    1 year

    Lifetime Maximum:
    $25,000 per member
     In-network and out-of-network
      services accumulate to the one
      maximum
    .




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                        OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                 No charge after the $25 PCP or $40     In-Network coverage only
                                           Specialist per office visit copay
  Inpatient Facility                       100% at LifeSOURCE center after        In-Network coverage only
                                           $250 per admission copay, otherwise
                                           80% after $250 per admission copay
                                           and plan deductible
  Physician’s Services                     100% at LifeSOURCE center,             In-Network coverage only
                                           otherwise 80% after plan deductible
  Lifetime Travel Maximum:                 No charge (only available when         In-Network coverage only
  $10,000 per transplant                   using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                   80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited
  .                                                                               Charge after plan deductible
Outpatient Dialysis Services
 Physician's Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                           Specialist per office visit copay      Charge after plan deductible
  Outpatient Facility                      $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                           plan deductible                        of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician's Services                     80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Home Setting                             80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
Breast Feeding Equipment and
Supplies
  Note:                                    No charge                              60% of the Maximum Reimbursable
  Includes the rental of one breast                                               Charge after plan deductible
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                          OUT-OF-NETWORK
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited                                                                        Charge after plan deductible
  .
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
  .                                                                                Charge after plan deductible




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $25 PCP or $40        60% of the Maximum Reimbursable
                                            Specialist per office visit copay         Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%        $500 per admission deductible, then
                                            after plan deductible                     60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      $400 per visit deductible, then 60%
                                            plan deductible                           of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Physician’s Services                      80% after plan deductible                 60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
Hearing Aids
  Calendar Year Maximum:                    80% after plan deductible                 60% of the Maximum Reimbursable
  Unlimited                                                                           Charge after plan deductible
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  No charge after the $25 PCP or $40        In-Network coverage only
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%        In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible                 In-Network coverage only
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              $250 per admission copay, then 80%    $500 per admission deductible, then
   Includes Acute Inpatient and         after plan deductible                 60% of the Maximum Reimbursable
   Residential Treatment                                                      Charge after plan deductible

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .
Substance Use Disorder
  Inpatient                             $250 per admission copay, then 80%    $500 per admission deductible, then
    Includes Acute Inpatient            after plan deductible                 60% of the Maximum Reimbursable
    Detoxification, Acute Inpatient                                           Charge after plan deductible
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Bed and Board, for treatment listed               Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary
                                                                                 defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a                             the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in                     Schedule of the Bright Futures Recommendations for
    The Schedule.                                                                  Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest                         the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can                       on Heritable Disorders in Newborns and Children; and
    be provided.
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received                     care and screening guidelines supported by the Health
    at a Hospital.                                                                 Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Internal Prosthetic/Medical Appliances
    For additional information on immunizations, visit the               Charges for internal prosthetic/medical appliances that provide
    immunization schedule section of www.cdc.gov.                        permanent or temporary internal functional supports for non-
   charges for surgical and non-surgical treatment of                   functional body parts are covered. Medically Necessary repair,
    Temporomandibular Joint Dysfunction (TMJ).                           maintenance or replacement of a covered appliance is also
   charges for acupuncture.                                             covered.
   charges for hearing aids and associated exam for device
    testing and fitting, including but not limited to semi-              HC-COV1122                                                       01-22
    implantable hearing devices, audiant bone conductors and
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
                                                                         Home Health Care Services
    any device that amplifies sound.
                                                                         Charges for skilled care provided by certain health care
   Medically Necessary orthognathic surgery to repair or
                                                                         providers during a visit to the home, when the home is
    correct a severe facial deformity or disfigurement.
                                                                         determined to be a medically appropriate setting for the
Virtual Care                                                             services. A visit is defined as a period of 2 hours or less.
Dedicated Virtual Providers                                              Home Health Care Services are subject to a maximum of 16
Charges for the delivery of medical and health-related services          hours in total per day.
and consultations by dedicated virtual providers as medically            Home Health Care Services are covered when skilled care is
appropriate through audio, video, and secure internet-based              required under any of the following conditions:
technologies.                                                               the required skilled care cannot be obtained in an outpatient
Virtual Physician Services                                                   facility.
Charges for the delivery of medical and health-related services             confinement in a Hospital or Other Health Care Facility is
and consultations as medically appropriate through audio,                    not required.
video, and secure internet-based technologies that are similar              the patient’s home is determined by Cigna to be the most
to office visit services provided in a face-to-face setting.                 medically appropriate place to receive specific services.
Charges for behavioral consultations and services via secure             Covered services include:
telecommunications technologies that shall include video
                                                                            skilled nursing services provided by a Registered Nurse
capability, including telephones and internet, when delivered
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
through a behavioral provider.
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
Convenience Care Clinic                                                      (APRN).
Convenience Care Clinics provide for common ailments and                    services provided by health care providers such as physical
routine services, including but not limited to, strep throat, ear            therapist, occupational therapist and speech therapist.
infections or pink eye, immunizations and flu shots.
                                                                            services of a home health aide when provided in direct
Nutritional Counseling                                                       support of those nurses and health care providers.
Charges for nutritional counseling when diet is a part of the               necessary consumable medical supplies and home infusion
medical management of a medical or behavioral condition.                     therapy administered or used by a health care provider.
Enteral Nutrition                                                        Note: Physical, occupational, and other Outpatient Therapy
Enteral Nutrition means medical foods that are specially                 Services provided in the home are covered under the
formulated for enteral feedings or oral consumption.                     Outpatient Therapy Services benefit shown in The Schedule.
Coverage includes medically approved formulas prescribed by              The following are excluded from coverage:
a Physician for treatment of inborn errors of metabolism (e.g.,             services provided by a person who is a member of the
disorders of amino acid or organic acid metabolism).                         patient’s family, even when that person is a health care
                                                                             provider.
                                                                            services provided by a person who normally resides in the
                                                                             patient’s house, even when that person is a health care
                                                                             provider.
                                                                            non-skilled care, Custodial Services, and assistance in the
                                                                             activities of daily living, including but not limited to eating,



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    bathing, dressing or other services; self-care activities;                   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.                                            services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent                        to the extent that any other benefits are payable for those
upon others for non-skilled care and/or Custodial Services, is                    expenses under the policy;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                      services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


                                                                              HC-COV1180                                                        01-22
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Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes. In determining benefits payable, charges
those who have ceased treatment and to those continuing to                    made for the treatment of any physiological conditions related
receive curative treatment and therapies.                                     to Mental Health will not be considered to be charges made
                                                                              for treatment of Mental Health.
Hospice Care Programs rendered by Hospice Facilities or
Hospitals include services:                                                   Substance Use Disorder is defined as the psychological or
                                                                              physical dependence on alcohol or other mind-altering drugs
   by a Hospice Facility for Room and Board and Services and                 that requires diagnosis, care, and treatment. In determining
    Supplies;                                                                 benefits payable, charges made for the treatment of any
   by a Hospice Facility for services provided on an outpatient              physiological conditions related to rehabilitation services for
    basis;                                                                    alcohol or drug abuse or addiction will not be considered to be
   by a Physician for professional services;                                 charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or                     Inpatient Mental Health Services
    ordained minister for individual and family counseling;                   Services that are provided by a Hospital while you or your
   for pain relief treatment, including drugs, medicines and                 Dependent is Confined in a Hospital for the treatment and
    medical supplies;                                                         evaluation of Mental Health. Inpatient Mental Health Services
                                                                              include Mental Health Residential Treatment Services.
Hospice Care Programs rendered by Other Health Care
Facilities or in the Home include services:                                   Mental Health Residential Treatment Services are services
                                                                              provided by a Hospital for the evaluation and treatment of the
   for part-time or intermittent nursing care by or under the                psychological and social functional disturbances that are a
    supervision of a Nurse;                                                   result of subacute Mental Health conditions.
   for part-time or intermittent services of an Other Health                 Mental Health Residential Treatment Center means an
    Professional;                                                             institution which specializes in the treatment of psychological
   physical, occupational and speech therapy;                                and social disturbances that are the result of Mental Health
   medical supplies;                                                         conditions; provides a subacute, structured, psychotherapeutic
                                                                              treatment program, under the supervision of Physicians;
   drugs and medicines lawfully dispensed only on the written                provides 24-hour care, in which a person lives in an open
    prescription of a Physician;                                              setting; and is licensed in accordance with the laws of the
   laboratory services;                                                      appropriate legally authorized agency as a residential
    but only to the extent such charges would have been                       treatment center.
    payable under the policy if the person had remained or been               A person is considered confined in a Mental Health
    Confined in a Hospital or Hospice Facility.                               Residential Treatment Center when she/he is a registered bed
The following charges for Hospice Care Services are not                       patient in a Mental Health Residential Treatment Center upon
included as Covered Expenses:                                                 the recommendation of a Physician.
   services of a person who is a member of your family or your
    Dependent's family or who normally resides in your house
    or your Dependent's house;


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Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.
                                                                          developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use
                                                                          counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for occupational problems.
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,
                                                                          vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
Physicians; provides 24-hour care, in which a person lives in             I.Q. testing.
an open setting; and is licensed in accordance with the laws of           custodial care, including but not limited to geriatric day
the appropriate legally authorized agency as a residential                 care.
treatment center.
                                                                          psychological testing on children requested by or for a
A person is considered confined in a Substance Use Disorder                school system.
Residential Treatment Center when she/he is a registered bed


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   occupational/recreational therapy programs even if                             External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                      charges made or ordered by a Physician for: the initial
    decline.                                                                         purchase and fitting of external prosthetic appliances and
                                                                                     devices available only by prescription which are necessary
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                                                                                     for the alleviation or correction of Injury, Sickness or
                                                                                     congenital defect.
                                                                                   External prosthetic appliances and devices include
Durable Medical Equipment
                                                                                   prostheses/prosthetic appliances and devices; orthoses and
 charges made for purchase or rental of Durable Medical                           orthotic devices; braces; and splints.
  Equipment that is ordered or prescribed by a Physician and
                                                                                   Prostheses/Prosthetic Appliances and Devices
  provided by a vendor approved by Cigna for use outside a
  Hospital or Other Health Care Facility. Coverage for repair,                     Prostheses/prosthetic appliances and devices are defined as
  replacement or duplicate equipment is provided only when                         fabricated replacements for missing body parts.
  required due to anatomical change and/or reasonable wear                         Prostheses/prosthetic appliances and devices include, but are
  and tear. All maintenance and repairs that result from a                         not limited to:
  person’s misuse are the person’s responsibility.                                    limb prostheses;
Durable Medical Equipment is defined as items which are                               terminal devices such as hands or hooks;
designed for and able to withstand repeated use by more than                          speech prostheses; and
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                              facial prostheses.
appropriate for use in the home; and are not disposable. Such                      Orthoses and Orthotic Devices
equipment includes, but is not limited to, crutches, hospital                      Orthoses and orthotic devices are defined as orthopedic
beds, ventilators, insulin pumps and wheel chairs.                                 appliances or apparatuses used to support, align, prevent or
Durable Medical Equipment items that are not covered include                       correct deformities. Coverage is provided for custom foot
but are not limited to those that are listed below:                                orthoses and other orthoses as follows:
   Bed Related Items: bed trays, over the bed tables, bed                            Non-foot orthoses – only the following non-foot orthoses
    wedges, pillows, custom bedroom equipment, mattresses,                             are covered:
    including nonpower mattresses, custom mattresses and                                rigid and semi-rigid custom fabricated orthoses;
    posturepedic mattresses.
                                                                                        semi-rigid prefabricated and flexible orthoses; and
   Bath Related Items: bath lifts, nonportable whirlpools,
    bathtub rails, toilet rails, raised toilet seats, bath benches,                     rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                           and basic additions, such as bars and joints.
    and spas.                                                                         Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair                            covered as follows:
    ramps.                                                                              for persons with impaired peripheral sensation and/or
 Car/Van Modifications.                                                                 altered peripheral circulation (e.g. diabetic neuropathy
                                                                                         and peripheral vascular disease);
 Air Quality Items: room humidifiers, vaporizers and air
                                                                                        when the foot orthosis is an integral part of a leg brace
  purifiers.
                                                                                         and is necessary for the proper functioning of the brace;
   Other Equipment: centrifuges, needleless injectors, heat
    lamps, heating pads, cryounits, cryotherapy machines,                               when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                             substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                             toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                         Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise                              for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.                                                    (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                         spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
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                                                                                         improvement.




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The following are specifically excluded orthoses and orthotic              myoelectric and orthoses.
devices:
   prefabricated foot orthoses;                                        HC-COV1125                                                       01-22
   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for
                                                                        Infertility Services
    synostotic plagiocephaly. When used for this indication, the
    cranial orthosis will be subject to the limitations and              charges made for services related to diagnosis of infertility
    maximums of the External Prosthetic Appliances and                    and treatment of infertility once a condition of infertility has
    Devices benefit;                                                      been diagnosed. Services include, but are not limited to:
                                                                          infertility drugs which are administered or provided by a
   orthosis shoes, shoe additions, procedures for foot
                                                                          Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;
                                                                          procedures that have been demonstrated in existing peer-
   non-foot orthoses primarily used for cosmetic rather than             reviewed, evidence-based, scientific literature to have a
    functional reasons; and                                               reasonable likelihood of resulting in pregnancy; laboratory
   non-foot orthoses primarily for improved athletic                     tests; sperm washing or preparation; artificial insemination;
    performance or sports participation.                                  diagnostic evaluations; gamete intrafallopian transfer
Braces                                                                    (GIFT); in vitro fertilization (IVF); zygote intrafallopian
                                                                          transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that
supports or holds in correct position any movable part of the               Infertility is defined as:
body and that allows for motion of that part.                                the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                         conception after at least one year of unprotected
scoliosis braces.                                                             intercourse;
                                                                             the inability of opposite-sex partners to achieve
Splints
                                                                              conception after six months of unprotected intercourse,
A Splint is defined as an appliance for preventing movement                   when the female partner trying to conceive is age 35 or
of a joint or for the fixation of displaced or movable parts.                 older;
Coverage for replacement of external prosthetic appliances                   the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                      partner, to achieve conception after at least six trials of
   replacement due to regular wear. Replacement for damage                   medically supervised artificial insemination over a one-
    due to abuse or misuse by the person will not be covered.                 year period; and
   replacement required because anatomic change has rendered                the inability of a woman, with or without an opposite-sex
    the external prosthetic appliance or device ineffective.                  partner, to achieve conception after at least three trials of
    Anatomic change includes significant weight gain or loss,                 medically supervised artificial insemination over a six-
    atrophy and/or growth.                                                    month period of time, when the female partner trying to
   replacement due to a surgical alteration or revision of the               conceive is age 35 or older.
    impacted site.                                                      This benefit includes diagnosis and treatment of both male and
Coverage for replacement is limited as follows:                         female infertility.
   no more than once every 24 months for persons 19 years of           However, the following are specifically excluded infertility
    age and older.                                                      services:
   no more than once every 12 months for persons 18 years of              reversal of male and female voluntary sterilization;
    age and under.                                                         infertility services when the infertility is caused by or
The following are specifically excluded external prosthetic                 related to voluntary sterilization;
appliances and devices:                                                    donor charges and services;
   external and internal power enhancements for external                  cryopreservation of donor sperm and eggs; and
    prosthetic devices; or                                                 any experimental, investigational or unproven infertility
   microprocessor controlled prostheses and orthoses; and                  procedures or therapies.


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                                                                            Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                 the following criteria are met:
Charges for the following therapy services:                                    The individual’s condition has the potential to improve or is
                                                                                improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic                            improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                 There is an expectation that the anticipated improvement is
                                                                                attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                of time.
  part of a program of treatment.
                                                                               The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation                                                          of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                    scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac                 The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-                   appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                 purposes of enabling individuals to perform the activities of
                                                                            daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status           sensory integration therapy.
    achieved through Phases I and II. Phase IV is an                           treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                         maintenance or preventive treatment provided to prevent
                                                                                recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                               charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an                  setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                      vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                  Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                     constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                     A separate Copayment applies to the services provided by
                                                                                each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
                                                                            HC-COV982                                                     01-21
   Restore function (called “rehabilitative”):
     To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                             charges made for reconstructive surgery following a
      body part.
                                                                              mastectomy; benefits include: surgical services for
   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the non-
     To improve, adapt or attain function that has been                      diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                             prosthetics, limited to the lowest cost alternative available
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been
                                                                              mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health
                                                                              lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.                                        or correct a severe physical deformity or disfigurement
                                                                              which is accompanied by functional deficit; (other than



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    abnormalities of the jaw or conditions related to TMJ                    Coverage for organ procurement costs are limited to costs
    disorder) provided that: the surgery or therapy restores or              directly related to the procurement of an organ, from a cadaver
    improves function; reconstruction is required as a result of             or a live donor. Organ procurement costs shall consist of
    Medically Necessary, non-cosmetic surgery; or the surgery                hospitalization and surgery necessary for removal of an organ
    or therapy is performed prior to age 19 and is required as a             and transportation of a live donor (refer to Transplant and
    result of the congenital absence or agenesis (lack of                    Related Specialty Care Travel Services). Compatibility testing
    formation or development) of a body part. Repeat or                      undertaken prior to procurement is covered if Medically
    subsequent surgeries for the same condition are covered                  Necessary. Costs related to the search for, and identification of
    only when there is the probability of significant additional             a bone marrow or stem cell donor for an allogeneic transplant
    improvement as determined by the utilization review                      are also covered.
    Physician.                                                               Advanced cellular therapy, including but not limited to,
                                                                             immune effector cell therapies and Chimeric Antigen Receptor
HC-COV631                                                       12-17
                                                                             Therapy (CAR-T) cellular therapy, is covered when performed
                                                                             at a Cigna LifeSOURCE Transplant Network® facility with
                                                                             an approved stem cell transplant program. Advanced cellular
Transplant Services and Related Specialty Care                               therapy received at Participating Provider facilities
Charges made for human organ and tissue transplant services                  specifically contracted with Cigna for advanced cellular
which include solid organ and bone marrow/stem cell                          therapy, other than Cigna LifeSOURCE Transplant Network®
procedures at designated facilities throughout the United                    facilities, are payable at the In-Network level. Advanced
States or its territories. This coverage is subject to the                   cellular therapy received at any other facility, including non-
following conditions and limitations.                                        Participating Provider facilities and Participating Provider
                                                                             facilities not specifically contracted with Cigna for advanced
Transplant services include the recipient’s medical, surgical
                                                                             cellular therapy, are not covered.
and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell                    Transplant and Related Specialty Care Travel Services
procurement. Transplant services are covered only if they are                Charges made for non-taxable travel expenses incurred by you
required to perform any of the following human to human                      in connection with a preapproved organ/tissue transplant are
organ or tissue transplants: allogeneic bone marrow/stem cell,               covered subject to the following conditions and limitations:
autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                                Transplant and related specialty care travel benefits are not
kidney, kidney/pancreas, liver, lung, pancreas or intestine
                                                                                 available for cornea transplants.
which includes small bowel-liver or multi-visceral.
Implantation procedures are also covered for artificial heart,                  Benefits for transportation and lodging are available to the
percutaneous ventricular assist device (PVAD), extracorporeal                    recipient of a preapproved organ/tissue transplant and/or
membrane oxygenation (ECMO) ventricular assist device                            related specialty care from a designated Cigna
(VAD) and intra-aortic balloon pump (IABP) are also covered.                     LifeSOURCE Transplant Network® facility.
   All transplant services and related specialty care services,                The term recipient is defined to include a person receiving
    other than cornea transplants, are covered when received at                  authorized transplant related services during any of the
    Cigna LifeSOURCE Transplant Network® facilities.                             following: evaluation, candidacy, transplant event, or post-
                                                                                 transplant care.
   Transplant services and related specialty care services
    received at Participating Provider facilities specifically                  Travel expenses for the person receiving the transplant will
    contracted with Cigna for those transplant services and                      include charges for: transportation to and from the
    related specialty care services, other than Cigna                            designated Cigna LifeSOURCE Transplant Network®
    LifeSOURCE Transplant Network® facilities, are payable                       facility (including charges for a rental car used during a
    at the In-Network level.                                                     period of care at the designated Cigna LifeSOURCE
                                                                                 Transplant Network® facility); and lodging while at, or
   Transplant services and related specialty care services
                                                                                 traveling to and from, the designated Cigna LifeSOURCE
    received at any other facility, including non-Participating
                                                                                 Transplant Network® facility.
    Provider facilities and Participating Provider facilities not
    specifically contracted with Cigna for transplant services                  In addition to your coverage for the charges associated with
    and related specialty care services, are not covered.                        the items above, such charges will also be considered
                                                                                 covered travel expenses for one companion to accompany
   Cornea transplants received at a facility that is specifically
                                                                                 you. The term companion includes your spouse, a member
    contracted with Cigna for this type of transplant are payable
                                                                                 of your family, your legal guardian, or any person not
    at the In-Network level.



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    related to you, but actively involved as your caregiver who             requirements should apply. Economic factors may include, but
    is at least 18 years of age.                                            are not limited to, the Medical Pharmaceutical’s cost
   The following are specifically excluded travel expenses: any            including, but not limited to, assessments on the cost
    expenses that if reimbursed would be taxable income, travel             effectiveness of the Medical Pharmaceuticals and available
    costs incurred due to travel within 60 miles of your home;              rebates. Regardless of its eligibility for coverage under your
    food and meals; laundry bills; telephone bills; alcohol or              plan, whether a particular Prescription Drug Product is
    tobacco products; and charges for transportation that exceed            appropriate for you or any of your Dependents is a
    coach class rates.                                                      determination that is made by you (or your Dependent) and
                                                                            the prescribing Physician.
These benefits for Transplant Services and Related Specialty
Care, and for Transplant and Related Specialty Care Travel                  The coverage criteria for a Medical Pharmaceutical may
Services are only available when the covered person is the                  change periodically for various reasons. For example, a
recipient of an organ/tissue transplant. Travel expenses for the            Medical Pharmaceutical may be removed from the market, a
designated live donor for a covered recipient are covered                   new Medical Pharmaceutical in the same therapeutic class as a
subject to the same conditions and limitations noted above.                 Medical Pharmaceutical may become available, or other
Charges for the expenses of a donor companion are not                       market events may occur. Market events that may affect the
covered. No transplant and related specialty care services or               coverage status of a Medical Pharmaceutical include, but are
travel benefits are available when the covered person is the                not limited to, an increase in the cost of a Medical
donor for an organ/tissue transplant, the transplant recipient’s            Pharmaceutical.
plan would cover all donor costs.
                                                                            HC-COV1168                                                     01-22

HC-COV1126                                                     01-22
                                                                            Gene Therapy
Medical Pharmaceuticals                                                     Charges for gene therapy products and services directly
                                                                            related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                    Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                   products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.                 (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                      replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                         gene.
determined by Cigna), are required to be administered, or the
administration of which must be directly supervised, by a                      inactivating a disease-causing gene that may not be
qualified Physician or Other Health Professional. Benefits                      functioning properly.
payable under this section include Medical Pharmaceuticals                     introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                       treat a disease.
Physician or Other Health Professional oversight but may be                 Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the                 and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                     which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                        part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                    and administered.
Additionally, certain Medical Pharmaceuticals are subject to                Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive              medical, surgical, and facility services directly related to
benefits for such Medical Pharmaceuticals, you are required to              administration of the gene therapy product; and professional
try a different Medical Pharmaceutical and/or Prescription                  services.
Drug Product first.
                                                                            Gene therapy products and their administration are covered
Utilization management requirements or other coverage                       when prior authorized to be received at In-Network facilities
conditions are based on a number of factors, which may                      specifically contracted with Cigna for the specific gene
include clinical and economic factors. Clinical factors may                 therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                        administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management



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Gene Therapy Travel Services                                                 The clinical trial must be a phase I, phase II, phase III, or
Charges made for non-taxable travel expenses incurred by you                 phase IV clinical trial conducted in relation to the prevention,
in connection with a prior authorized gene therapy procedure                 detection, or treatment of cancer or other life-threatening
are covered subject to the following conditions and                          disease or condition that meets any of the following criteria:
limitations.                                                                    it is a federally funded trial. The study or investigation is
Benefits for transportation and lodging are available to you                     approved or funded (which may include funding through in-
only when you are the recipient of a prior authorized gene                       kind contributions) by one or more of the following:
therapy; and when the gene therapy products and services                          National Institutes of Health (NIH).
directly related to their administration are received at a                        Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with
                                                                                  Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
is defined to include a person receiving prior authorized gene                    Centers for Medicare and Medicaid Services (CMS).
therapy related services during any of the following:                             a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                          a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or
                                                                                  any of the following: Department of Energy, Department
traveling to and from, the site.
                                                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered
                                                                                       the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The
term companion includes your spouse, a member of your                                   approved through a system of peer review comparable
family, your legal guardian, or any person not related to you,                          to the system of peer review of studies and
                                                                                        investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years
                                                                                        (NIH); and
of age.
                                                                                       the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any
                                                                                        the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel
costs incurred due to travel within 60 miles of your home;                              who have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                        the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                  the study or investigation is a drug trial that is exempt

HC-COV873                                                       01-20
                                                                                   from having such an investigational new drug application.
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials
                                                                                services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The
individual must be eligible to participate according to the trial                 the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                       provided solely to satisfy data collection and analysis
                                                                                   needs.
   the referring health care professional is a participating
    health care provider and has concluded that the individual’s                  an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                           management of the individual.
                                                                                  a service that is clearly inconsistent with widely accepted
   the individual provides medical and scientific information
    establishing that the individual’s participation in the clinical               and established standards of care for a particular
    trial would be appropriate.                                                    diagnosis.
In addition to qualifying as an individual, the clinical trial                  an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                  charge for any person enrolled in the trial.
and services to be covered.



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   travel and transportation expenses, unless otherwise covered                  treatment of an Injury or Sickness which is due to war,
    under the plan, including but not limited to the following:                    declared, or undeclared.
     fees for personal vehicle, rental car, taxi, medical van,                   charges which you are not obligated to pay or for which you
      ambulance, commercial airline, train.                                        are not billed or for which you would not have been billed
     mileage reimbursement for driving a personal vehicle.                        except that they were covered under this plan. For example,
                                                                                   if Cigna determines that a provider or Pharmacy is or has
     lodging.
                                                                                   waived, reduced, or forgiven any portion of its charges
     meals.                                                                       and/or any portion of Copayment, Deductible, and/or
   routine patient costs obtained out-of-network when Out-of-                     Coinsurance amount(s) you are required to pay for a
    Network benefits do not exist under the plan.                                  Covered Expense (as shown on The Schedule) without
                                                                                   Cigna’s express consent, then Cigna in its sole discretion
Examples of routine patient care costs and services include:                       shall have the right to deny the payment of benefits in
   radiological services.                                                         connection with the Covered Expense, or reduce the
   laboratory services.                                                           benefits in proportion to the amount of the Copayment,
                                                                                   Deductible, and/or Coinsurance amounts waived, forgiven
   intravenous therapy.
                                                                                   or reduced, regardless of whether the provider or Pharmacy
   anesthesia services.                                                           represents that you remain responsible for any amounts that
   Physician services.                                                            your plan does not cover. In the exercise of that discretion,
                                                                                   Cigna shall have the right to require you to provide proof
   office services.
                                                                                   sufficient to Cigna that you have made your required cost
   Hospital services.                                                             share payment(s) prior to the payment of any benefits by
   Room and Board, and medical supplies that typically would                      Cigna. This exclusion includes, but is not limited to, charges
    be covered under the plan for an individual who is not                         of a non-Participating Provider who has agreed to charge
    enrolled in a clinical trial.                                                  you or charged you at an In-Network benefits level or some
Clinical trials conducted by Out-of-Network providers will be                      other benefits level not otherwise applicable to the services
covered only when the following conditions are met:                                received.
                                                                                  charges arising out of or relating to any violation of a
 In-Network providers are not participating in the clinical
                                                                                   healthcare-related state or federal law or which themselves
    trial; or
                                                                                   are a violation of a healthcare-related state or federal law.
   the clinical trial is conducted outside the individual’s state
                                                                                  assistance in the activities of daily living, including but not
    of residence.
                                                                                   limited to eating, bathing, dressing or other Custodial
                                                                                   Services or self-care activities, homemaker services and
HC-COV1128                                                        01-22            services primarily for rest, domiciliary or convalescent care.
                                                                                  for or in connection with experimental, investigational or
                                                                                   unproven services.
Exclusions, Expenses Not Covered and                                               Experimental, investigational and unproven services are
                                                                                   medical, surgical, diagnostic, psychiatric, substance use
General Limitations                                                                disorder or other health care technologies, supplies,
Exclusions and Expenses Not Covered                                                treatments, procedures, drug or Biologic therapies or
Additional coverage limitations determined by plan or                              devices that are determined by the utilization review
provider type are shown in The Schedule. Payment for the                           Physician to be:
following is specifically excluded from this plan:                                  not approved by the U.S. Food and Drug Administration
 care for health conditions that are required by state or local                     (FDA) or other appropriate regulatory agency to be
  law to be treated in a public facility.                                            lawfully marketed;
   care required by state or federal law to be supplied by a                       not demonstrated, through existing peer-reviewed,
    public school system or school district.                                         evidence-based, scientific literature to be safe and
                                                                                     effective for treating or diagnosing the condition or
   care for military service disabilities treatable through                         Sickness for which its use is proposed;
    governmental services if you are legally entitled to such
    treatment and facilities are reasonably available.                              the subject of review or approval by an Institutional
                                                                                     Review Board for the proposed use except as provided in
                                                                                     the “Clinical Trials” sections of this plan; or


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     the subject of an ongoing phase I, II or III clinical trial,              weight loss programs or treatments, whether prescribed or
      except for routine patient care costs related to qualified                 recommended by a Physician or under medical
      clinical trials as provided in the “Clinical Trials” sections              supervision.
      of this plan.                                                           unless otherwise covered in this plan, for reports,
    In determining whether any such technologies, supplies,                    evaluations, physical examinations, or hospitalization not
    treatments, drug or Biologic therapies, or devices are                     required for health reasons, including but not limited to
    experimental, investigational, and/or unproven, the                        employment, insurance or government licenses, and court-
    utilization review Physician may rely on the clinical                      ordered, forensic or custodial evaluations.
    coverage policies maintained by Cigna or the Review                       court-ordered treatment or hospitalization, unless such
    Organization. Clinical coverage policies may incorporate,                  treatment is prescribed by a Physician and listed as covered
    without limitation and as applicable, criteria relating to U.S.            in this plan.
    Food and Drug Administration-approved labeling, the
    standard medical reference compendia and peer-reviewed,                   any medications, drugs, services or supplies for the
    evidence-based scientific literature or guidelines.                        treatment of male or female sexual dysfunction such as, but
                                                                               not limited to, treatment of erectile dysfunction (including
   cosmetic surgery and therapies. Cosmetic surgery or therapy                penile implants), anorgasmy, and premature ejaculation.
    is defined as surgery or therapy performed to improve or
    alter appearance or self-esteem.                                          medical and Hospital care and costs for the infant child of a
                                                                               Dependent, unless this infant child is otherwise eligible
   the following services are excluded from coverage                          under this plan.
    regardless of clinical indications: surgical treatment of
    varicose veins; abdominoplasty; panniculectomy;                           non-medical counseling and/or ancillary services, including
    rhinoplasty; blepharoplasty; redundant skin surgery;                       but not limited to Custodial Services, educational services,
    removal of skin tags; acupressure; dance therapy; movement                 vocational counseling, training and, rehabilitation services,
    therapy; applied kinesiology; rolfing; prolotherapy; and                   behavioral training, biofeedback, neurofeedback, hypnosis,
    extracorporeal shock wave lithotripsy (ESWL) for                           sleep therapy, return to work services, work hardening
    musculoskeletal and orthopedic conditions.                                 programs and driver safety courses.
   dental treatment of the teeth, gums or structures directly                therapy or treatment intended primarily to improve or
    supporting the teeth, including dental X-rays, examinations,               maintain general physical condition or for the purpose of
    repairs, orthodontics, periodontics, casts, splints and                    enhancing job, school, athletic or recreational performance,
    services for dental malocclusion, for any condition. Charges               including but not limited to routine, long term, or
    made for services or supplies provided for or in connection                maintenance care which is provided after the resolution of
    with an accidental Injury to teeth are covered provided a                  the acute medical problem and when significant therapeutic
    continuous course of dental treatment is started within six                improvement is not expected.
    months of an accident.                                                    consumable medical supplies other than ostomy supplies
   for medical and surgical services intended primarily for the               and urinary catheters. Excluded supplies include, but are not
    treatment or control of obesity. However, treatment of                     limited to bandages and other disposable medical supplies,
    clinically severe obesity, as defined by the Body Mass                     skin preparations and test strips, except as specified in the
    Index (BMI) classifications of the National Heart, Lung,                   “Home Health Care Services” or “Breast Reconstruction
    and Blood Institute (NHLBI) guideline is covered only at                   and Breast Prostheses” sections of this plan.
    approved centers if the services are demonstrated, through                private Hospital rooms and/or private duty nursing except as
    existing peer-reviewed, evidence-based, scientific literature              provided under the Home Health Care Services provision.
    and scientifically based guidelines, to be safe and effective             personal or comfort items such as personal care kits
    for treatment of the condition. Clinically severe obesity is               provided on admission to a Hospital, television, telephone,
    defined by the NHLBI as a BMI of 40 or greater without                     newborn infant photographs, complimentary meals, birth
    comorbidities, or 35-39 with comorbidities. The following                  announcements, and other articles which are not for the
    are specifically excluded:                                                 specific treatment of an Injury or Sickness.
     medical and surgical services to alter appearances or                   artificial aids, including but not limited to corrective
      physical changes that are the result of any surgery                      orthopedic shoes, arch supports, elastic stockings, garter
      performed for the management of obesity or clinically                    belts, corsets, dentures and wigs.
      severe (morbid) obesity; and
                                                                              aids or devices that assist with non-verbal communications,
                                                                               including but not limited to communication boards, pre-
                                                                               recorded speech devices, laptop computers, desktop


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    computers, Personal Digital Assistants (PDAs), Braille                  expenses incurred by a participant to the extent
    typewriters, visual alert systems for the deaf and memory                reimbursable under automobile insurance coverage.
    books.                                                                   Coverage under this plan is secondary to automobile no-
   eyeglass lenses and frames and contact lenses (except for                fault insurance or similar coverage. The coverage provided
    the first pair of contact lenses or the first set of eyeglass            under this plan does not constitute “Qualified Health
    lenses and frames, and associated services, for treatment of             Coverage” under Michigan law and therefore does not
    keratoconus or following cataract surgery).                              replace Personal Injury Protection (PIP) coverage provided
                                                                             under an automobile insurance policy issued to a Michigan
   routine refractions, eye exercises and surgical treatment for            resident. This plan will cover expenses only not otherwise
    the correction of a refractive error, including radial                   covered by the PIP coverage.
    keratotomy.
   all non-injectable prescription drugs, unless Physician
                                                                         General Limitations
    administration or oversight is required, injectable                  No payment will be made for expenses incurred for you or any
    prescription drugs to the extent they do not require                 one of your Dependents:
    Physician supervision and are typically considered self-                for charges by a Hospital owned or operated by or which
    administered drugs, non-prescription drugs, and                          provides care or performs services for, the United States
    investigational and experimental drugs, except as provided               Government, if such charges are directly related to a
    in this plan.                                                            military-service-connected Injury or Sickness.
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered when Medically
                                                                            to the extent that payment is unlawful where the person
    Necessary.
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
                                                                            for charges which would not have been made if the person
    weight loss programs and smoking cessation programs.
                                                                             had no insurance.
   genetic screening or pre-implantations genetic screening.
                                                                            to the extent that they are more than Maximum
    General population-based genetic screening is a testing
                                                                             Reimbursable Charges.
    method performed in the absence of any symptoms or any
    significant, proven risk factors for genetically linked                 to the extent of the exclusions imposed by any certification
    inheritable disease.                                                     requirement shown in this plan.
   dental implants for any condition.                                      expenses for supplies, care, treatment, or surgery that are
                                                                             not Medically Necessary.
   fees associated with the collection or donation of blood or
    blood products, except for autologous donation in                       charges by any covered provider who is a member of your
    anticipation of scheduled services where in the utilization              family or your Dependent's family.
    review Physician’s opinion the likelihood of excess blood               expenses incurred outside the United States other than
    loss is such that transfusion is an expected adjunct to                  expenses for Medically Necessary urgent or emergent care
    surgery.                                                                 while temporarily traveling abroad.
   blood administration for the purpose of general
    improvement in physical condition.
                                                                         HC-EXC466                                                         01-22
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational
    hazards and risks.
   cosmetics, dietary supplements and health and beauty aids.
                                                                         Coordination of Benefits
                                                                         This section applies if you or any one of your Dependents is
   enteral feedings, supplies and specially formulated medical
                                                                         covered under more than one Plan and determines how
    foods that are prescribed and non-prescribed, except for
                                                                         benefits payable from all such Plans will be coordinated. You
    infant formula needed for the treatment of inborn errors of
                                                                         should file all claims with each Plan.
    metabolism.
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.
   massage therapy.


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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an employee shall
each service is the Allowable Expense and is a paid benefit.               be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active employee (or as that              recorded for you to pay up to 100% of the total of all
    employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired employee (or as             Period, your benefit reserve will return to zero and a new
    that employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the Policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    employee or retiree (or as that employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare Plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this Policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 55 days of the request, the claim will be
Effect on the Benefits of This Plan                                         closed. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB272                                                       01-21

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                 No adult Participant hereunder may assign any rights that it
   Expenses incurred by a Participant to the extent any                    may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly              or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,           adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                    of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                   decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                             settlements or recoveries.
    compensation, government insurance (other than Medicaid),                No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                             The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a                  No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether                  The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                             The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by                In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                      Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                     the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                     the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                              the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                     the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                     the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in                  the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal                    Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Leave of Absence                                                           Notice of Provider Directory/Networks
If your Active Service ends due to leave of absence, your                  Notice Regarding Provider Directories and Provider
insurance will be continued until the date as determined by                Networks
your Employer.
                                                                           A list of network providers is available to you without charge
Injury or Sickness                                                         by visiting the website or by calling the phone number on your
If your Active Service ends due to an Injury or Sickness, your             ID card. The network consists of providers, including
insurance will be continued while you remain totally and                   hospitals, of varied specialties as well as general practice,
continuously disabled as a result of the Injury or Sickness.               affiliated or contracted with Cigna or an organization
However, your insurance will not continue past the date your               contracting on its behalf.
Employer cancels your insurance.
                                                                           HC-FED78                                                      10-10
Dependents
Your insurance for all of your Dependents will cease on the
earliest date below:                                                       Qualified Medical Child Support Order
   the date your insurance ceases.                                        (QMCSO)
   the date you cease to be eligible for Dependent Insurance.             Eligibility for Coverage Under a QMCSO
   the last day for which you have made any required                      If a Qualified Medical Child Support Order (QMCSO) is
    contribution for the insurance.                                        issued for your child, that child will be eligible for coverage as
   the date Dependent Insurance is cancelled.                             required by the order and you will not be considered a Late
The insurance for any one of your Dependents will cease on                 Entrant for Dependent Insurance.
the date that Dependent no longer qualifies as a Dependent.                You must notify your Employer and elect coverage for that
                                                                           child, and yourself if you are not already enrolled, within 31
                                                                           days of the QMCSO being issued.
HC-TRM128                                                     12-17
                                                                           Qualified Medical Child Support Order Defined
                                                                           A Qualified Medical Child Support Order is a judgment,
                                                                           decree or order (including approval of a settlement agreement)
Rescissions
                                                                           or administrative notice, which is issued pursuant to a state
Your coverage may not be rescinded (retroactively terminated)              domestic relations law (including a community property law),
by Cigna or the plan sponsor unless the plan sponsor or an                 or to an administrative process, which provides for child
individual (or a person seeking coverage on behalf of the                  support or provides for health benefit coverage to such child
individual) performs an act, practice or omission that                     and relates to benefits under the group health plan, and
constitutes fraud; or the plan sponsor or individual (or a                 satisfies all of the following:
person seeking coverage on behalf of the individual) makes an
                                                                              the order recognizes or creates a child’s right to receive
intentional misrepresentation of material fact.
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
HC-TRM80                                                      01-11           the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Federal Requirements                                                           subdivision may be substituted for the child’s mailing
                                                                               address;
The following pages explain your rights and responsibilities
                                                                              the order provides a description of the coverage to be
under federal laws and regulations. Some states may have
                                                                               provided, or the manner in which the type of coverage is to
similar requirements. If a similar provision appears elsewhere
                                                                               be determined;
in this booklet, the provision which provides the better benefit
will apply.                                                                   the order states the period to which it applies; and
                                                                              if the order is a National Medical Support Notice completed
                                                                               in accordance with the Child Support Performance and
HC-FED1                                                       10-10
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.



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The QMCSO may not require the health insurance policy to                      in the Plan. You must request enrollment within 60 days
provide coverage for any type or form of benefit or option not                after termination of Medicaid or CHIP coverage.
otherwise provided under the policy, except that an order may                Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
Payment of Benefits                                                           for the other coverage is lost, you and all of your eligible
Any payment of benefits in reimbursement for Covered                          Dependent(s) may request special enrollment in this Plan. If
Expenses paid by the child, or the child’s custodial parent or                required by the Plan, when enrollment in this Plan was
legal guardian, shall be made to the child, the child’s custodial             previously declined, it must have been declined in writing
parent or legal guardian, or a state official whose name and                  with a statement that the reason for declining enrollment
address have been substituted for the name and address of the                 was due to other health coverage. This provision applies to
child.                                                                        loss of eligibility as a result of any of the following:
                                                                               divorce or legal separation;

HC-FED4                                                      10-10
                                                                               cessation of Dependent status (such as reaching the
                                                                                limiting age);
                                                                               death of the Employee;

Special Enrollment Rights Under the Health                                     termination of employment;
Insurance Portability & Accountability Act                                     reduction in work hours to below the minimum required
(HIPAA)                                                                         for eligibility;
If you or your eligible Dependent(s) experience a special                      you or your Dependent(s) no longer reside, live or work
enrollment event as described below, you or your eligible                       in the other plan’s network service area and no other
Dependent(s) may be entitled to enroll in the Plan outside of a                 coverage is available under the other plan;
designated enrollment period upon the occurrence of one of                     you or your Dependent(s) incur a claim which meets or
the special enrollment events listed below. If you are already                  exceeds the lifetime maximum limit that is applicable to
enrolled in the Plan, you may request enrollment for you and                    all benefits offered under the other plan; or
your eligible Dependent(s) under a different option offered by                 the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible                         Termination of Employer contributions (excluding
Dependent(s). You and all of your eligible Dependent(s) must                  continuation coverage). If a current or former Employer
be covered under the same option. The special enrollment                      ceases all contributions toward the Employee’s or
events include:                                                               Dependent’s other coverage, special enrollment may be
                                                                              requested in this Plan for you and all of your eligible
   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment               Exhaustion of COBRA or other continuation coverage.
    for any of the following combinations of individuals if not               Special enrollment may be requested in this Plan for you
    already enrolled in the Plan: Employee only; spouse only;                 and all of your eligible Dependent(s) upon exhaustion of
    Employee and spouse; Dependent child(ren) only;                           COBRA or other continuation coverage. If you or your
    Employee and Dependent child(ren); Employee, spouse and                   Dependent(s) elect COBRA or other continuation coverage
    Dependent child(ren). Enrollment of Dependent children is                 following loss of coverage under another plan, the COBRA
    limited to the newborn or adopted children or children who                or other continuation coverage must be exhausted before
    became Dependent children of the Employee due to                          any special enrollment rights exist under this Plan. An
    marriage.                                                                 individual is considered to have exhausted COBRA or other
                                                                              continuation coverage only if such coverage ceases: due to
   Loss of eligibility for State Medicaid or Children’s                      failure of the Employer or other responsible entity to remit
    Health Insurance Program (CHIP). If you and/or your                       premiums on a timely basis; when the person no longer
    Dependent(s) were covered under a state Medicaid or CHIP                  resides or works in the other plan’s service area and there is
    plan and the coverage is terminated due to a loss of                      no other COBRA or continuation coverage available under
    eligibility, you may request special enrollment for yourself              the plan; or when the individual incurs a claim that would
    and any affected Dependent(s) who are not already enrolled                meet or exceed a lifetime maximum limit on all benefits and
                                                                              there is no other COBRA or other continuation coverage


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    available to the individual. This does not include                      if your Employer agrees, and you meet the criteria shown in
    termination of an Employer’s limited period of                           the following Sections B through H and enroll for or change
    contributions toward COBRA or other continuation                         coverage within the time period established by your
    coverage as provided under any severance or other                        Employer.
    agreement.                                                           B. Change of status
   Eligibility for employment assistance under State                    A change in status is defined as:
    Medicaid or Children’s Health Insurance Program
    (CHIP). If you and/or your Dependent(s) become eligible                 change in legal marital status due to marriage, death of a
    for assistance with group health plan premium payments                   spouse, divorce, annulment or legal separation;
    under a state Medicaid or CHIP plan, you may request                    change in number of Dependents due to birth, adoption,
    special enrollment for yourself and any affected                         placement for adoption, or death of a Dependent;
    Dependent(s) who are not already enrolled in the Plan. You              change in employment status of Employee, spouse or
    must request enrollment within 60 days after the date you                Dependent due to termination or start of employment,
    are determined to be eligible for assistance.                            strike, lockout, beginning or end of unpaid leave of absence,
Except as stated above, special enrollment must be                           including under the Family and Medical Leave Act
requested within 30 days after the occurrence of the                         (FMLA), or change in worksite;
special enrollment event. If the special enrollment event is                changes in employment status of Employee, spouse or
the birth or adoption of a Dependent child, coverage will                    Dependent resulting in eligibility or ineligibility for
be effective immediately on the date of birth, adoption or                   coverage;
placement for adoption. Coverage with regard to any other
                                                                            change in residence of Employee, spouse or Dependent to a
special enrollment event will be effective no later than the
                                                                             location outside of the Employer’s network service area;
first day of the first calendar month following receipt of
                                                                             and
the request for special enrollment.
Domestic Partners and their children (if not legal children of              changes which cause a Dependent to become eligible or
                                                                             ineligible for coverage.
the Employee) are not eligible for special enrollment.
Although federal law does not extend special enrollment rights           C. Court order
to Domestic Partners, this plan will extend these same benefits          A change in coverage due to and consistent with a court order
to Domestic Partners (and their children if not legal children           of the Employee or other person to cover a Dependent.
of the Employee) to the same extent they are provided to                 D. Medicare or Medicaid eligibility/entitlement
spouses and legal children of the Employee.
                                                                         The Employee, spouse or Dependent cancels or reduces
                                                                         coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                    04-17        enrolls or increases coverage due to loss of Medicare or
                                                                         Medicaid eligibility.
                                                                         E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                            If the cost of benefits increases or decreases during a benefit
Plan                                                                     period, your Employer may, in accordance with plan terms,
                                                                         automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                  When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax             increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                   a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                you have elected, you may elect another available benefit
(salary).                                                                option. When a new benefit option is added, you may change
                                                                         your election to the new benefit option.
A. Coverage elections
                                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to
                                                                         another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                 You may make a coverage election change if the plan of your
                                                                         spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as
                                                                         deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or
                                                                         Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and



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the other plan have different periods of coverage or open                less than 48 hours following a vaginal delivery, or less than 96
enrollment periods.                                                      hours following a cesarean section; or require that a provider
G. Reduction in work hours                                               obtain authorization from the plan or insurance issuer for
                                                                         prescribing a length of stay not in excess of the above periods.
If an Employee’s work hours are reduced below 30                         The law generally does not prohibit an attending provider of
hours/week (even if it does not result in the Employee losing            the mother or newborn, in consultation with the mother, from
eligibility for the Employer’s coverage); and the Employee               discharging the mother or newborn earlier than 48 or 96 hours,
(and family) intend to enroll in another plan that provides              as applicable.
Minimum Essential Coverage (MEC). The new coverage must
be effective no later than the 1st day of the 2nd month                  Please review this Plan for further details on the specific
following the month that includes the date the original                  coverage available to you and your Dependents.
coverage is revoked.
H. Enrollment in a Qualified Health Plan (QHP)                           HC-FED11                                                       10-10

The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                  Women’s Health and Cancer Rights Act
during the Marketplace’s annual open enrollment period; and              (WHCRA)
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP                Do you know that your plan, as required by the Women’s
through a Marketplace for new coverage effective beginning               Health and Cancer Rights Act of 1998, provides benefits for
no later than the day immediately following the last day of the          mastectomy-related services including all stages of
original coverage.                                                       reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
HC-FED95                                                    04-17        the toll free number listed on your ID card for more
                                                                         information.

Eligibility for Coverage for Adopted Children                            HC-FED12                                                       10-10

Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date           Group Plan Coverage Instead of Medicaid
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
                                                                         premiums for this coverage instead of for Medicaid, if it is
If a child placed for adoption is not adopted, all health                cost effective. This includes premiums for continuation
coverage ceases when the placement ends, and will not be                 coverage required by federal law.
continued.
The provisions in the “Exception for Newborns” section of
                                                                         HC-FED13                                                       10-10
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.


HC-FED67                                                    09-14




Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to


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Requirements of Family and Medical Leave Act                               For leaves of 31 days or more, you may continue coverage for
of 1993 (as amended) (FMLA)                                                yourself and your Dependents as follows:
Any provisions of the policy that provide for: continuation of             You may continue benefits by paying the required premium to
insurance during a leave of absence; and reinstatement of                  your Employer, until the earliest of the following:
insurance following a return to Active Service; are modified                  24 months from the last day of employment with the
by the following provisions of the federal Family and Medical                  Employer;
Leave Act of 1993, as amended, where applicable:                              the day after you fail to return to work; and
Continuation of Health Insurance During Leave                                 the date the policy cancels.
Your health insurance will be continued during a leave of                  Your Employer may charge you and your Dependents up to
absence if:                                                                102% of the total premium.
   that leave qualifies as a leave of absence under the Family            Reinstatement of Benefits (applicable to all coverages)
    and Medical Leave Act of 1993, as amended; and
                                                                           If your coverage ends during the leave of absence because you
   you are an eligible Employee under the terms of that Act.              do not elect USERRA at the expiration of USERRA and you
The cost of your health insurance during such leave must be                are reemployed by your current Employer, coverage for you
paid, whether entirely by your Employer or in part by you and              and your Dependents may be reinstated if you gave your
your Employer.                                                             Employer advance written or verbal notice of your military
Reinstatement of Canceled Insurance Following Leave                        service leave, and the duration of all military leaves while you
                                                                           are employed with your current Employer does not exceed 5
Upon your return to Active Service following a leave of                    years.
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life              You and your Dependents will be subject to only the balance
or disability) will be reinstated as of the date of your return.           of a waiting period that was not yet satisfied before the leave
                                                                           began. However, if an Injury or Sickness occurs or is
You will not be required to satisfy any eligibility or benefit             aggravated during the military leave, full Plan limitations will
waiting period to the extent that they had been satisfied prior            apply.
to the start of such leave of absence.
                                                                           If your coverage under this plan terminates as a result of your
Your Employer will give you detailed information about the                 eligibility for military medical and dental coverage and your
Family and Medical Leave Act of 1993, as amended.                          order to active duty is canceled before your active duty service
                                                                           commences, these reinstatement rights will continue to apply.
HC-FED93                                                      10-17

                                                                           HC-FED18                                                     10-10



Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)                                     Claim Determination Procedures under ERISA
The Uniformed Services Employment and Re-employment                        The following complies with federal law. Provisions of
Rights Act of 1994 (USERRA) sets requirements for                          applicable laws of your state may supersede.
continuation of health coverage and re-employment in regard                Procedures Regarding Medical Necessity Determinations
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you                  In general, health services and benefits must be Medically
and your Dependents. They do not apply to any Life, Short-                 Necessary to be covered under the plan. The procedures for
term or Long-term Disability or Accidental Death &                         determining Medical Necessity vary, according to the type of
Dismemberment coverage you may have.                                       service or benefit requested, and the type of health plan.
                                                                           Medical Necessity determinations are made on a preservice,
Continuation of Coverage                                                   concurrent, or postservice basis, as described below:
For leaves of less than 31 days, coverage will continue as                 Certain services require prior authorization in order to be
described in the Termination section regarding Leave of                    covered. The booklet describes who is responsible for
Absence.                                                                   obtaining this review. You or your authorized representative
                                                                           (typically, your health care professional) must request prior
                                                                           authorization according to the procedures described below, in




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the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific


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plan provisions on which the determination is based; a                     HC-FED88                                                       01-17
description of any additional material or information necessary
to perfect the claim and an explanation of why such material
or information is necessary; a description of the plan’s review
procedures and the time limits applicable, including a
                                                                           Medical - When You Have a Complaint or an
statement of a claimant’s rights to bring a civil action under             Appeal
section 502(a) of ERISA following an adverse benefit                       For the purposes of this section, any reference to "you" or
determination on appeal, (if applicable); upon request and free            "your" also refers to a representative or provider designated by
of charge, a copy of any internal rule, guideline, protocol or             you to act on your behalf; unless otherwise noted.
other similar criterion that was relied upon in making the                 We want you to be completely satisfied with the services you
adverse determination regarding your claim; and an                         receive. That is why we have established a process for
explanation of the scientific or clinical judgment for a                   addressing your concerns and solving your problems.
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a              Start With Customer Service
description of any available internal appeal and/or external               We are here to listen and help. If you have a concern
review process(es); information about any office of health                 regarding a person, a service, the quality of care, contractual
insurance consumer assistance or ombudsman available to                    benefits, or a rescission of coverage, you may call the toll-
assist you with the appeal process; and in the case of a claim             free number on your ID card, explanation of benefits, or
involving urgent care, a description of the expedited review               claim form and explain your concern to one of our Customer
process applicable to such claim.                                          Service representatives. You may also express that concern
                                                                           in writing.
HC-FED104                                                     01-19
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
                                                                           concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
Appointment of Authorized Representative                                   results of a coverage decision, you may start the appeals
You may appoint an authorized representative to assist you in              procedure.
submitting a claim or appealing a claim denial. However,                   Internal Appeals Procedure
Cigna may require you to designate your authorized
                                                                           To initiate an appeal of an adverse benefit determination, you
representative in writing using a form approved by Cigna. At
                                                                           must submit a request for an appeal to Cigna within 180 days
all times, the appointment of an authorized representative is
                                                                           of receipt of a denial notice. If you appeal a reduction or
revocable by you. To ensure that a prior appointment remains
                                                                           termination in coverage for an ongoing course of treatment
valid, Cigna may require you to re-appoint your authorized
                                                                           that Cigna previously approved, you will receive, as required
representative, from time to time.
                                                                           by applicable law, continued coverage pending the outcome of
Cigna reserves the right to refuse to honor the appointment of             an appeal.
a representative if Cigna reasonably determines that:
                                                                           You should state the reason why you feel your appeal should
   the signature on an authorized representative form may not             be approved and include any information supporting your
    be yours, or                                                           appeal. If you are unable or choose not to write, you may ask
   the authorized representative may not have disclosed to you            Cigna to register your appeal by telephone. Call or write us at
    all of the relevant facts and circumstances relating to the            the toll-free number on your ID card, explanation of benefits,
    overpayment or underpayment of any claim, including, for               or claim form.
    example, that the billing practices of the provider of medical         Your appeal will be reviewed and the decision made by
    services may have jeopardized your coverage through the                someone not involved in the initial decision. Appeals
    waiver of the cost-sharing amounts that you are required to            involving Medical Necessity or clinical appropriateness will
    pay under your plan.                                                   be considered by a health care professional.
If your designation of an authorized representative is revoked,            We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a             concurrent care coverage determination or a postservice
form approved by Cigna.                                                    Medical Necessity determination. We will respond within 60
                                                                           calendar days after we receive an appeal for any other
                                                                           postservice coverage determination. If more time or
                                                                           information is needed to make the determination, we will


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notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
In the event any new or additional information (evidence) is            including, if applicable, the denial code and its meaning and a
considered, relied upon or generated by Cigna in connection             description of any standard that was used in the denial;
with the appeal, this information will be provided                      reference to the specific plan provisions on which the
automatically to you as soon as possible and sufficiently in            determination is based; a statement that the claimant is entitled
advance of the decision, so that you will have an opportunity           to receive, upon request and free of charge, reasonable access
to respond. Also, if any new or additional rationale is                 to and copies of all documents, records, and other Relevant
considered by Cigna, Cigna will provide the rationale to you            Information as defined below; a statement describing any
as soon as possible and sufficiently in advance of the decision         voluntary appeal procedures offered by the plan and the
so that you will have an opportunity to respond.                        claimant's right to bring an action under ERISA section
                                                                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
External Review Procedure                                               dispute resolution options such as Mediation. One way to find
                                                                        out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's
                                                                        Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are              Relevant Information
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
There is no charge for you to initiate an external review. Cigna        course of making the benefit determination, without regard to
and your benefit plan will abide by the decision of the IRO.            whether such document, record, or other information was
                                                                        relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator
                                                                        compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review
                                                                        required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected
                                                                        or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
                                                                        Legal Action
received emergency services, but you have not yet been
discharged from a facility, the external review shall be                If your plan is governed by ERISA, you have the right to bring
completed within 72 hours.                                              a civil action under section 502(a) of ERISA if you are not
                                                                        satisfied with the outcome of the Appeals Procedure. In most
Notice of Benefit Determination on Appeal                               instances, you may not initiate a legal action against Cigna
Every notice of a determination on appeal will be provided in           until you have completed the appeal processes. However, no
writing or electronically and, if an adverse determination, will        action will be brought at all unless brought within 3 years after
include: information sufficient to identify the claim including,        a claim is submitted for In-Network Services or within three


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years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
HC-FED110                                                        01-21
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Although federal law does not extend COBRA continuation
                                                                              rights to domestic partners, this plan will extend these same
What is COBRA Continuation Coverage?                                          continuation benefits to domestic partners (and their children
Under federal law, you and/or your Dependents must be given                   if not legal children of the Employee) to the same extent they
the opportunity to continue health insurance when there is a                  are provided to spouses of the opposite sex and legal children
“qualifying event” that would result in loss of coverage under                of the Employee.
the Plan. You and/or your Dependents will be permitted to                     Secondary Qualifying Events
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying                      If, as a result of your termination of employment or reduction
event occurred, unless you move out of that plan’s coverage                   in work hours, your Dependent(s) have elected COBRA
area or the plan is no longer available. You and/or your                      continuation coverage and one or more Dependents experience
Dependents cannot change coverage options until the next                      another COBRA qualifying event, the affected Dependent(s)
open enrollment period.                                                       may elect to extend their COBRA continuation coverage for
                                                                              an additional 18 months (7 months if the secondary event
When is COBRA Continuation Available?                                         occurs within the disability extension period) for a maximum
For you and your Dependents, COBRA continuation is                            of 36 months from the initial qualifying event. The second
available for up to 18 months from the date of the following                  qualifying event must occur before the end of the initial 18
qualifying events if the event would result in a loss of                      months of COBRA continuation coverage or within the
coverage under the Plan:                                                      disability extension period discussed below. Under no
   your termination of employment for any reason, other than                 circumstances will COBRA continuation coverage be
    gross misconduct; or                                                      available for more than 36 months from the initial qualifying
                                                                              event. Secondary qualifying events are: your death; your
   your reduction in work hours.
                                                                              divorce or legal separation; or, for a Dependent child, failure
For your Dependents, COBRA continuation coverage is                           to continue to qualify as a Dependent under the Plan.
available for up to 36 months from the date of the following
                                                                              Disability Extension
qualifying events if the event would result in a loss of
coverage under the Plan:                                                      If, after electing COBRA continuation coverage due to your
                                                                              termination of employment or reduction in work hours, you or
   your death;
                                                                              one of your Dependents is determined by the Social Security
   your divorce or legal separation; or                                      Administration (SSA) to be totally disabled under Title II or
   for a Dependent child, failure to continue to qualify as a                XVI of the SSA, you and all of your Dependents who have
    Dependent under the Plan.                                                 elected COBRA continuation coverage may extend such
                                                                              continuation for an additional 11 months, for a maximum of
Who is Entitled to COBRA Continuation?
                                                                              29 months from the initial qualifying event.
Only a “qualified beneficiary” (as defined by federal law) may
                                                                              To qualify for the disability extension, all of the following
elect to continue health insurance coverage. A qualified
                                                                              requirements must be satisfied:
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:                    SSA must determine that the disability occurred prior to or
you, your spouse, and your Dependent children. Each                               within 60 days after the disabled individual elected COBRA
qualified beneficiary has their own right to elect or decline                     continuation coverage; and
COBRA continuation coverage even if you decline or are not                       A copy of the written SSA determination must be provided
eligible for COBRA continuation.                                                  to the Plan Administrator within 60 calendar days after the
The following individuals are not qualified beneficiaries for                     date the SSA determination is made AND before the end of
purposes of COBRA continuation: domestic partners,                                the initial 18-month continuation period.
grandchildren (unless adopted by you), stepchildren (unless


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If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than         Your Employer is required to provide you and/or your
30 days after the date the SSA makes a final determination              Dependents with the following notices:
that the disabled individual is no longer disabled.                        An initial notification of COBRA continuation rights must
All causes for “Termination of COBRA Continuation” listed                   be provided within 90 days after your (or your spouse’s)
below will also apply to the period of disability extension.                coverage under the Plan begins (or the Plan first becomes
                                                                            subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your                 A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your
                                                                             if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.
                                                                              and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
   the end of the COBRA continuation period of 18, 29 or 36                 if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
   failure to pay the required premium within 30 calendar days               Plan Administrator of a qualifying event starts upon the
    after the due date;                                                       occurrence of a qualifying event, 44 days after the
                                                                              qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;
                                                                             in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for
    which the new plan limits or excludes coverage under a pre-         The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will            who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable           inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                 include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an          coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;            election no later than the due date stated on the COBRA
                                                                        election notice. If a written election notice is required, it must
   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your          furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through             qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your             on behalf of their Dependent children. You or your spouse



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may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%                  Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or                Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active               The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                 continuation coverage. If the bankruptcy results in a loss of


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coverage for you, your Dependents or your surviving spouse              Plan Trustees
within one year before or after such proceeding, you and your           A list of any Trustees of the Plan, which includes name, title
covered Dependents will become COBRA qualified                          and address, is available upon request to the Plan
beneficiaries with respect to the bankruptcy. You will be               Administrator.
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will               Plan Type
be entitled to COBRA continuation coverage for up to 36                 The plan is a healthcare benefit plan.
months following your death. However, COBRA continuation                Collective Bargaining Agreements
coverage will cease upon the occurrence of any of the events
                                                                        You may contact the Plan Administrator to determine whether
listed under “Termination of COBRA Continuation” above.
                                                                        the Plan is maintained pursuant to one or more collective
Interaction With Other Continuation Benefits                            bargaining agreements and if a particular Employer is a
You may be eligible for other continuation benefits under state         sponsor. A copy is available for examination from the Plan
law. Refer to the Termination section for any other                     Administrator upon written request.
continuation benefits.                                                  Discretionary Authority
                                                                        The Plan Administrator delegates to Cigna the discretionary
HC-FED66                                                   07-14        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
                                                                        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
ERISA Required Information                                              persons desiring to enroll in or claim benefits under the plan,
The name of the Plan is:                                                the determination of whether a person is entitled to benefits
  Sunrun Group Health Plan                                              under the plan, and the computation of any and all benefit
                                                                        payments. The Plan Administrator also delegates to Cigna the
The name, address, ZIP code and business telephone number
                                                                        discretionary authority to perform a full and fair review, as
of the sponsor of the Plan is:
                                                                        required by ERISA, of each claim denial which has been
  Sunrun Inc.                                                           appealed by the claimant or his duly authorized representative.
  225 Bush, Suite 1400
                                                                        Plan Modification, Amendment and Termination
  San Francisco, CA 94104
  805-540-7643                                                          The Employer as Plan Sponsor reserves the right to, at any
                                                                        time, change or terminate benefits under the Plan, to change or
Employer Identification            Plan Number:
                                                                        terminate the eligibility of classes of employees to be covered
Number (EIN):
                                                                        by the Plan, to amend or eliminate any other plan term or
262841711                          501                                  condition, and to terminate the whole plan or any part of it.
The name, address, ZIP code and business telephone number               Contact the Employer for the procedure by which benefits
of the Plan Administrator is:                                           may be changed or terminated, by which the eligibility of
  Employer named above                                                  classes of employees may be changed or terminated, or by
                                                                        which part or all of the Plan may be terminated. No consent of
The name, address and ZIP code of the person designated as              any participant is required to terminate, modify, amend or
agent for service of legal process is:                                  change the Plan.
  Employer named above                                                  Termination of the Plan together with termination of the
The office designated to consider the appeal of denied claims           insurance policy(s) which funds the Plan benefits will have no
is:                                                                     adverse effect on any benefits to be paid under the policy(s)
  The Cigna Claim Office responsible for this Plan                      for any covered medical expenses incurred prior to the date
                                                                        that policy(s) terminates. Likewise, any extension of benefits
The cost of the Plan is shared by Employee and Employer.                under the policy(s) due to you or your Dependent's total
The Plan’s fiscal year ends on 12/31.                                   disability which began prior to and has continued beyond the
The preceding pages set forth the eligibility requirements and          date the policy(s) terminates will not be affected by the Plan
benefits provided for you under this Plan.                              termination. Rights to purchase limited amounts of life and
                                                                        medical insurance to replace part of the benefits lost because
                                                                        the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights
                                                                          not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income
                                                                          administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan
                                                                          or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office             thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union           order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance            federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy               the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the             asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the             Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security                The court will decide who should pay court costs and legal
  Administration.                                                         fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator
                                                                          If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.
                                                                          the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
 continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
  Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
  result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
  have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
  governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
  continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of neuromusculoskeletal conditions through
Health Service Act (42 USC 262(i)) (as amended by the                     manipulation and ancillary physiological treatment rendered to
Biologics Price Competition and Innovation Act of 2009, title             specific joints to restore motion, reduce pain and improve
VII of the Patient Protection and Affordable Care Act, Pub. L.            function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS55                                                    04-10
                                                                                                                                        V1

HC-DFS840                                                    10-16

                                                                          Convenience Care Clinics
Biosimilar                                                                Convenience Care Clinics are staffed by nurse practitioners
A Biologic that is highly similar to the reference Biologic               and physician assistants and offer customers convenient,
product notwithstanding minor differences in clinically                   professional walk-in care for common ailments and routine
inactive components, and has no clinically meaningful                     services. Convenience Care Clinics have extended hours and
differences from the reference Biologic in terms of its safety,           are located in or near easy-to-access, popular locations
purity, and potency, as defined under Section 351(i) of the               (pharmacies, grocery and free-standing locations) with or
Public Health Service Act (42 USC 262(i)) (as amended by                  without appointment.
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,              HC-DFS1629                                                  07-21




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                                                                            Benefits for a Dependent child will continue until the last day
Custodial Services                                                          of the calendar month in which the limiting age is reached.
Any services that are of a sheltering, protective, or                       Anyone who is eligible as an Employee will not be considered
safeguarding nature. Such services may include a stay in an                 as a Dependent spouse. A child under age 26 may be covered
institutional setting, at-home care, or nursing services to care            as either an Employee or as a Dependent child. You cannot be
for someone because of age or mental or physical condition.                 covered as an Employee while also covered as a Dependent of
This service primarily helps the person in daily living.                    an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS872                                                       10-16
for himself or herself. Custodial Services include but are not
limited to:
   Services related to watching or protecting a person;                    Domestic Partner
   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                     shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                               has resided with you for no less than one year;
    can be self administered, and
                                                                               is no less than 18 years of age;
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                          is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
   any child of yours who is
                                                                               is not a blood relative any closer than would prohibit legal
     less than 26 years old.
                                                                                marriage; and
     26 or more years old, unmarried, and primarily supported
                                                                               has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after                has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition                  is currently legally married to another person; or
      and dependence.                                                          has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
See your Employer for continuation benefits that apply to your           providing claim administration services.
Domestic Partner and that Domestic Partner’s child.
                                                                         HC-DFS1615                                                      01-22
HC-DFS47                                                    04-10
                                                              V1
                                                                         Essential Health Benefits
                                                                         Essential health benefits means, to the extent covered under
Emergency Medical Condition                                              the plan, expenses incurred with respect to covered services, in
Emergency medical condition means a medical condition                    at least the following categories: ambulatory patient services,
which manifests itself by acute symptoms of sufficient                   emergency services, hospitalization, maternity and newborn
severity (including severe pain) such that a prudent layperson,          care, mental health and substance use disorder services,
who possesses an average knowledge of health and medicine,               including behavioral health treatment, prescription drugs,
could reasonably expect the absence of immediate medical                 rehabilitative and habilitative services and devices, laboratory
attention to result in placing the health of the individual (or,         services, preventive and wellness services and chronic disease
with respect to a pregnant woman, the health of the woman or             management and pediatric services, including oral and vision
her unborn child) in serious jeopardy; serious impairment to             care.
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         HC-DFS411                                                       01-11


HC-DFS394                                                   11-10
                                                                         Expense Incurred
                                                                         An expense is incurred when the service or the supply for
Emergency Services                                                       which it is incurred is provided.
Emergency services means, with respect to an emergency
medical condition, a medical screening examination that is
                                                                         HC-DFS10                                                        04-10
within the capability of the emergency department of a
                                                                                                                                           V1
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate the emergency medical                   Free-Standing Surgical Facility
condition; and such further medical examination and
                                                                         The term Free-Standing Surgical Facility means an institution
treatment, to the extent they are within the capabilities of the
                                                                         which meets all of the following requirements:
staff and facilities available at the Hospital, to stabilize the
patient.                                                                    it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
                                                                            it maintains at least two operating rooms and one recovery
HC-DFS1482                                                  01-21
                                                                             room;
                                                                            it maintains diagnostic laboratory and x-ray facilities;
Employee
                                                                            it has equipment for emergency care;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                  it has a blood supply;
not include Employees who are part-time or temporary or who                 it maintains medical records;
normally work less than 30 hours a week for the Employer.                   it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
HC-DFS1094                                                  12-17
                                                                            it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                                an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                                an institution which qualifies as a hospital, a psychiatric
   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient                 an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                  V1
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                  Hospital Confinement or Confined in a Hospital
or any other licensed facility or agency under a Hospice Care                A person will be considered Confined in a Hospital if he is:
Program.
                                                                                a registered bed patient in a Hospital upon the
                                                                                 recommendation of a Physician;
HC-DFS52                                                        04-10           receiving treatment for Mental Health and Substance Use
                                                                  V1             Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.
Hospice Facility
The term Hospice Facility means an institution or part of it                 HC-DFS807                                                        12-15
which:
   primarily provides care for Terminally Ill patients;                     Injury
   is accredited by the National Hospice Organization;                      The term Injury means an accidental bodily injury.
   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in          HC-DFS12                                                         04-10
    which it operates.                                                                                                                          V1



HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                      Medicaid
The term Maintenance Treatment means:                                      The term Medicaid means a state program of medical aid for
   treatment rendered to keep or maintain the patient's current           needy persons established under Title XIX of the Social
    status.                                                                Security Act of 1965 as amended.


                                                                           HC-DFS16                                                          04-10
HC-DFS56                                                      04-10
                                                                                                                                               V1
                                                                V1



Maximum Reimbursable Charge - Medical                                      Medical Pharmaceutical
The Maximum Reimbursable Charge for covered services for                   An FDA-approved prescription pharmaceutical product,
Open Access Plus is determined based on the lesser of:                     including a Specialty Prescription Drug Product, typically
                                                                           required to be administered in connection with a covered
   the provider’s normal charge for a similar service or supply;          service by a Physician or Other Health Professional within the
   the amount agreed to by the Out-of-Network provider and                scope of the provider's license. This definition includes certain
    Cigna; or                                                              pharmaceutical products whose administration may initially or
   a policyholder-selected percentage of a fee schedule Cigna             typically require Physician or Other Health Professional
    has developed that is based upon a methodology similar to a            oversight but may be self-administered under certain
    methodology utilized by Medicare to determine the                      conditions specified in the product’s FDA labeling.
    allowable reimbursement for the same or similar service
    within the geographic market.                                          HC-DFS1632                                                        01-22
The percentage used to determine the Maximum Reimbursable
Charge is listed in The Schedule.
                                                                           Medically Necessary/Medical Necessity
In some cases, a Medicare based schedule will not be used and
the Maximum Reimbursable Charge for covered services is                    Health care services, supplies and medications provided for
determined based on the lesser of:                                         the purpose of preventing, evaluating, diagnosing or treating a
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
   the provider’s normal charge for a similar service or supply;          all of the following as determined by a Medical Director or
   the amount agreed to by the Out-of-Network provider and                Review Organization:
    Cigna; or                                                                 required to diagnose or treat an illness, Injury, disease or its
   the 80th percentile of charges made by providers of such                   symptoms;
    service or supply in the geographic area where it is received             in accordance with generally accepted standards of medical
    as compiled in a database selected by Cigna. If sufficient                 practice;
    charge data is unavailable in the database for that
    geographic area to determine the Maximum Reimbursable                     clinically appropriate in terms of type, frequency, extent,
    Charge, then data in the database for similar services may                 site and duration;
    be used.                                                                  not primarily for the convenience of the patient, Physician
The Maximum Reimbursable Charge is subject to all other                        or Other Health Professional;
benefit limitations and applicable coding and payment                         not more costly than an alternative service(s), medication(s)
methodologies determined by Cigna. Additional information                      or supply(ies) that is at least as likely to produce equivalent
about how Cigna determines the Maximum Reimbursable                            therapeutic or diagnostic results with the same safety profile
Charge is available upon request.                                              as to the prevention, evaluation, diagnosis or treatment of
                                                                               your Sickness, Injury, condition, disease or its symptoms;
                                                                               and
HC-DFS1631                                                    01-22
                                                                              rendered in the least intensive setting that is appropriate for
                                                                               the delivery of the services, supplies or medications. Where
                                                                               applicable, the Medical Director or Review Organization
                                                                               may compare the cost-effectiveness of alternative services,
                                                                               supplies, medications or settings when determining least
                                                                               intensive setting.




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In determining whether health care services, supplies, or                   Nurse
medications are Medically Necessary, the Medical Director or                The term Nurse means a Registered Graduate Nurse, a
Review Organization may rely on the clinical coverage                       Licensed Practical Nurse or a Licensed Vocational Nurse who
policies maintained by Cigna or the Review Organization.                    has the right to use the abbreviation "R.N.," "L.P.N." or
Clinical coverage policies may incorporate, without limitation              "L.V.N."
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical
reference compendia and peer-reviewed, evidence-based                       HC-DFS22                                                      04-10

scientific literature or guidelines.                                                                                                        V1




HC-DFS1486                                                     01-21        Other Health Care Facility
                                                                            The term Other Health Care Facility means a facility other
                                                                            than a Hospital or Hospice Facility. Examples of Other Health
Medicare
                                                                            Care Facilities include, but are not limited to, licensed skilled
The term Medicare means the program of medical care                         nursing facilities, rehabilitation Hospitals and subacute
benefits provided under Title XVIII of the Social Security Act              facilities.
of 1965 as amended.

                                                                            HC-DFS1489                                                    01-21
HC-DFS17                                                       04-10
                                                                 V1
                                                                            Other Health Professional
Necessary Services and Supplies                                             The term Other Health Professional means an individual other
                                                                            than a Physician who is licensed or otherwise authorized under
The term Necessary Services and Supplies includes any                       the applicable state law to deliver medical services and
charges, except charges for Room and Board, made by a                       supplies. Other Health Professionals include, but are not
Hospital for medical services and supplies actually used                    limited to physical therapists, registered nurses and licensed
during Hospital Confinement.                                                practical nurses. Other Health Professionals do not include
The term Necessary Services and Supplies will not include                   providers such as Certified First Assistants, Certified
any charges for special nursing fees, dental fees or medical                Operating Room Technicians, Certified Surgical
fees.                                                                       Assistants/Technicians, Licensed Certified Surgical
                                                                            Assistants/Technicians, Licensed Surgical Assistants,
                                                                            Orthopedic Physician Assistants and Surgical First Assistants.
HC-DFS1488                                                     01-21


                                                                            HC-DFS1490                                                    01-21
New Prescription Drug Product
A Prescription Drug Product, or new use or dosage form of a
previously FDA-approved Prescription Drug Product, for the                  Participating Provider
period of time starting on the date the Prescription Drug                   The term Participating Provider means a person or entity that
Product or newly-approved use or dosage form becomes                        has a direct or indirect contractual arrangement with Cigna to
available on the market following approval by the U.S. Food                 provide covered services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date Cigna                  which are Covered Expenses. It includes an entity that has
makes a Prescription Drug List coverage status decision.                    directly or indirectly contracted with Cigna to arrange, through
                                                                            contracts with providers of services and/or supplies, for the
                                                                            provision of any services and/or supplies, the Charges for
HC-DFS1498                                                     07-20
                                                                            which are Covered Expenses.


                                                                            HC-DFS1194                                                    01-19




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Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 means the             A drug, Biologic (including a Biosimilar), or other product
Patient Protection and Affordable Care Act of 2010 (Public               that has been approved by the U.S. Food and Drug
Law 111-148) as amended by the Health Care and Education                 Administration (FDA), certain products approved under the
Reconciliation Act of 2010 (Public Law 111-152).                         Drug Efficacy Study Implementation review, or products
                                                                         marketed prior to 1938 and not subject to review and that can,
HC-DFS412                                                   01-11
                                                                         under federal or state law, be dispensed only pursuant to a
                                                                         Prescription Order or Refill. For the purpose of benefits under
                                                                         the plan, this definition may also include products in the
Pharmacy & Therapeutics (P&T) Committee                                  following categories if specifically identified in the
A committee comprised of physicians and an independent                   Prescription Drug List:
pharmacist that represent a range of clinical specialties. The              Certain durable products and supplies that support drug
committee regularly reviews Medical Pharmaceuticals for                      therapy;
safety and efficacy, the findings of which clinical reviews
                                                                            Certain diagnostic testing and screening services that
inform coverage determinations made by the Business
                                                                             support drug therapy;
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug                 Certain medication consultation and other medication
Administration-approved labeling, standard medical reference                 administration services that support drug therapy; and
compendia, or scientific studies published in peer-reviewed                 Certain digital products, applications, electronic devices,
English-language bio-medical journals.                                       software and cloud based service solutions used to predict,
                                                                             detect and monitor health conditions in support of drug
                                                                             therapy.
HC-DFS1495                                                  07-20



                                                                         HC-DFS1633                                                    01-22
Physician
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 Prescription Order or Refill
licensed to prescribe and administer drugs or to perform                 The lawful directive to dispense a Prescription Drug Product
surgery. It will also include any other licensed medical                 issued by a Physician whose scope of practice permits issuing
practitioner whose services are required to be covered by law            such a directive.
in the locality where the policy is issued if he is:
   operating within the scope of his license; and                       HC-DFS856                                                     10-16
   performing a service for which benefits are provided under
    this plan when performed by a Physician.
                                                                         Preventive Treatment
                                                                         The term Preventive Treatment means treatment rendered to
HC-DFS25                                                    04-10
                                                                         prevent disease or its recurrence.
                                                              V1


                                                                         HC-DFS57                                                      04-10
Prescription Drug List                                                                                                                     V1
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug
benefits that have been approved by the U.S. Food and Drug
Administration (FDA). This list is adopted by your Employer
as part of the plan. The list is subject to periodic review and
change, and is subject to the limitations and exclusions of the
plan.


HC-DFS1496                                                  07-20




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Medical Pharmaceutical considered by Cigna to be a
                                                                          Specialty Prescription Drug Product based on consideration of
HC-DFS808                                                    12-15        the following factors, subject to applicable law: whether the
                                                                          Medical Pharmaceutical is prescribed and used for the
                                                                          treatment of a complex, chronic or rare condition; whether the
Room and Board                                                            Medical Pharmaceutical has a high acquisition cost; and,
The term Room and Board includes all charges made by a                    whether the Medical Pharmaceutical is subject to limited or
Hospital for room and meals and for all general services and              restricted distribution, requires special handling and/or
activities needed for the care of registered bed patients.                requires enhanced patient education, provider coordination or
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
HC-DFS1481                                                   01-21
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Medical Pharmaceutical will be considered a Specialty
                                                                          Prescription Drug Product. Specialty Prescription Drug
                                                                          Products may vary by plan benefit assignment based on


                                                                     71                                                     myCigna.com
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factors such as method or site of clinical administration, or              but which are determined by Cigna, in accordance with
utilization management requirements based on factors such as               generally accepted medical standards, to have been necessary
acquisition cost. You may determine whether a medication is a              to treat a condition requiring prompt medical attention. This
Specialty Prescription Drug Product through the website                    does not include care that could have been foreseen before
shown on your ID card or by calling member services at the                 leaving the immediate area where you ordinarily receive
telephone number on your ID card.                                          and/or were scheduled to receive services. Such care includes,
                                                                           but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
HC-DFS858                                                   10-16
                                                                           that the insured should not travel due to any medical
                                                                           condition.
Stabilize
Stabilize means, with respect to an emergency medical                      HC-DFS34                                                     04-10
condition, to provide such medical treatment of the condition                                                                             V1
as may be necessary to assure, within reasonable medical
probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the
individual from a facility.


HC-DFS413                                                   01-11



Terminal Illness
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.


HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,


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                    Exhibit 24
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  Magnit Global Solutions, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS
   Health Reimbursement Arrangement



  EFFECTIVE DATE: September 1, 2024




   CN098
   3338864




   This document printed in September, 2024 takes the place of any documents previously issued to you
   which described your benefits.



   Printed in U.S.A.
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                                                                                   Home Office: Bloomfield, Connecticut
                                                                          Mailing Address: Hartford, Connecticut   06152




  CIGNA HEALTH AND LIFE INSURANCE COMPANY
  a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the benefits
  provided by the following policy(s):




  POLICYHOLDER: Magnit Global Solutions, Inc.



  GROUP POLICY(S) — COVERAGE
  3338864 - HRA2 OPEN ACCESS PLUS MEDICAL BENEFITS



  EFFECTIVE DATE: September 1, 2024

  THE BENEFITS IN THIS CERTIFICATE CONTAIN A DEDUCTIBLE PROVISION



  This certificate describes the main features of the insurance. It does not waive or alter any of the terms of
  the policy(s). If questions arise, the policy(s) will govern.
  This certificate takes the place of any other issued to you on a prior date which described the insurance.




  HC-CER5                                                                                                    04-10
                                                                                                               V1
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                                                        Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                          helps coordinate needed resources, the patient's attending
Special Plan Provisions                                                   Physician remains responsible for the actual medical care.
                                                                          •   You, your dependent or an attending Physician can request
When you select a Participating Provider, this Plan pays a
                                                                              Case Management services by calling the toll-free number
greater share of the costs than if you select a non-Participating
                                                                              shown on your ID card during normal business hours,
Provider. Participating Providers include Physicians, Hospitals
                                                                              Monday through Friday. In addition, your employer, a claim
and Other Health Professionals and Other Health Care
                                                                              office or a utilization review program (see the PAC/CSR
Facilities. Consult your Physician Guide for a list of
                                                                              section of your certificate) may refer an individual for Case
Participating Providers in your area. Participating Providers
                                                                              Management.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                            •   The Review Organization assesses each case to determine
                                                                              whether Case Management is appropriate.
Services Available in Conjunction With Your Medical
Plan                                                                      •   You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
The following pages describe helpful services available in
                                                                              Participation in the program is voluntary - no penalty or
conjunction with your medical plan. You can access these
                                                                              benefit reduction is imposed if you do not wish to
services by calling the toll-free number shown on the back of
                                                                              participate in Case Management.
your ID card.
                                                                          •   Following an initial assessment, the Case Manager works
                                                                              with you, your family and Physician to determine the needs
HC-SPP63                                                      01-20           of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
Case Management                                                               in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management is a service provided through a Review
Organization, which assists individuals with treatment needs              •   The Case Manager arranges for alternate treatment services
that extend beyond the acute care setting. The goal of Case                   and supplies, as needed (for example, nursing services or a
Management is to ensure that patients receive appropriate care                Hospital bed and other Durable Medical Equipment for the
in the most effective setting possible whether at home, as an                 home).
outpatient, or an inpatient in a Hospital or specialized facility.        •   The Case Manager also acts as a liaison between the insurer,
Should the need for Case Management arise, a Case                             the patient, his or her family and Physician as needed (for
Management professional will work closely with the patient,                   example, by helping you to understand a complex medical
his or her family and the attending Physician to determine                    diagnosis or treatment plan).
appropriate treatment options which will best meet the                    •   Once the alternate treatment program is in place, the Case
patient's needs and keep costs manageable. The Case Manager                   Manager continues to manage the case to ensure the
will help coordinate the treatment program and arrange for                    treatment program remains appropriate to the patient's
necessary resources. Case Managers are also available to                      needs.
answer questions and provide ongoing support for the family
in times of medical crisis.                                               While participation in Case Management is strictly voluntary,
                                                                          Case Management professionals can offer quality, cost-
Case Managers are Registered Nurses (RNs) and other                       effective treatment alternatives, as well as provide assistance
credentialed health care professionals, each trained in a                 in obtaining needed medical resources and ongoing family
clinical specialty area such as trauma, high risk pregnancy and           support in a time of need.
neonates, oncology, mental health, rehabilitation or general
medicine and surgery. A Case Manager trained in the
appropriate clinical specialty area will be assigned to you or            HC-SPP2                                                         04-10

your dependent. In addition, Case Managers are supported by                                                                                  V1

a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 Additional Programs
Case Manager recommends alternate treatment programs and
                                                                          We may, from time to time, offer or arrange for various
                                                                          entities to offer discounts, benefits, or other consideration to


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our members for the purpose of promoting the general health               Important Notices
and well being of our members. We may also arrange for the
reimbursement of all or a portion of the cost of services                 Important Information
provided by other parties to the Policyholder. Contact us for             Rebates and Other Payments
details regarding any such arrangements.                                  Cigna or its affiliates may receive rebates or other
                                                                          remuneration from pharmaceutical manufacturers in
HC-SPP3                                                       04-10
                                                                          connection with certain Medical Pharmaceuticals covered
                                                                V1        under your plan and Prescription Drug Products included on
                                                                          the Prescription Drug List. These rebates or remuneration are
                                                                          not obtained on you or your Employer’s or plan’s behalf or for
Incentives to Participating Providers
                                                                          your benefit. Cigna, its affiliates and the plan are not obligated
Cigna continuously develops programs to help our customers                to pass these rebates on to you, or apply them to your plan’s
access quality, cost-effective health care. Some programs                 Deductible if any or take them into account in determining
include Participating Providers receiving financial incentives            your Copayments and/or Coinsurance. Cigna and its affiliates
from Cigna for providing care to Members in a way that meets              or designees may also conduct business with various
or exceeds certain quality and/or cost-efficiency standards,              pharmaceutical manufacturers separate and apart from this
when, in the Participating Provider’s professional judgment, it           plan’s Medical Pharmaceutical and Prescription Drug Product
is appropriate to do so within the applicable standard of care.           benefits. Such business may include, but is not limited to, data
For example, some Participating Providers could receive                   collection, consulting, educational grants and research.
financial incentives for utilizing or referring you to alternative        Amounts received from pharmaceutical manufacturers
sites of care as determined by your plan rather than in a more            pursuant to such arrangements are not related to this plan.
expensive setting, or achieving particular outcomes for certain           Cigna and its affiliates are not required to pass on to you, and
health conditions. Participating Providers may also receive               do not pass on to you, such amounts.
purchasing discounts when purchasing certain prescription
                                                                          Coupons, Incentives and Other Communications
drugs from Cigna affiliates. Such programs can help make you
healthier, decrease your health care costs, or both. These                At various times, Cigna or its designee may send mailings to
programs are not intended to affect your access to the health             you or your Dependents or to your Physician that
care that you need. We encourage you to talk to your                      communicate a variety of messages, including information
Participating Provider if you have questions about whether                about Medical Pharmaceuticals and Prescription Drug
they receive financial incentives from Cigna and whether                  Products. These mailings may contain coupons or offers from
those incentives apply to your care.                                      pharmaceutical manufacturers that enable you or your
                                                                          Dependents, at your discretion, to purchase the described
                                                                          Medical Pharmaceutical and Prescription Drug Product at a
HC-SPP81                                                      01-24       discount or to obtain it at no charge. Pharmaceutical
                                                                          manufacturers may pay for and/or provide the content for
Care Management and Care Coordination Services                            these mailings. Cigna, its affiliates and the plan are not
                                                                          responsible in any way for any decision you make in
Cigna may enter into specific collaborative arrangements with             connection with any coupon, incentive, or other offer you may
health care professionals committed to improving quality care,            receive from a pharmaceutical manufacturer or Physician.
patient satisfaction and affordability. Through these
collaborative arrangements, health care professionals commit              If Cigna determines that a Pharmacy, pharmaceutical
to proactively providing participants with certain care                   manufacturer or other third party is or has waived, reduced, or
management and care coordination services to facilitate                   forgiven any portion of the charges and/or any portion of
achievement of these goals. Reimbursement is provided at                  Copayment, Deductible, and/or Coinsurance amount(s) you
100% for these services when rendered by designated health                are required to pay for a Prescription Drug Product without
care professionals in these collaborative arrangements.                   Cigna’s express consent, then Cigna in its sole discretion shall
                                                                          have the right to deny the payment of plan benefits in
                                                                          connection with the Prescription Drug Product, or reduce the
HC-SPP27                                                      06-15       benefits in proportion to the amount of the Copayment,
                                                                V1        Deductible, and/or Coinsurance amounts waived, forgiven or
                                                                          reduced, regardless of whether the Pharmacy, pharmaceutical
                                                                          manufacturer or other third party represents that you remain



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responsible for any amounts that your plan does not cover. In               If you believe that Cigna has failed to provide these services
the exercise of that discretion, Cigna shall have the right to              or discriminated in another way on the basis of race, color,
require you to provide proof sufficient to Cigna that you have              national origin, age, disability or sex, you can file a grievance
made your required cost share payment(s) prior to the payment               by sending an email to ACAGrievance@cigna.com or by
of any benefits by the plan.                                                writing to the following address:
For example, if you use a coupon provided by a                                Cigna
pharmaceutical manufacturer or other third party that                         Nondiscrimination Complaint Coordinator
discounts the cost of a Prescription Drug Product, Cigna may,                 P.O. Box 188016
in its sole discretion, reduce the benefits provided under the                Chattanooga, TN 37422
plan in proportion to the amount of the Copayment,                          If you need assistance filing a written grievance, please call
Deductible, and/or Coinsurance amounts to which the value of                the number on the back of your ID card or send an email to
the coupon has been applied by the Pharmacy or other third                  ACAGrievance@cigna.com. You can also file a civil rights
party, and/or exclude from accumulation toward any plan                     complaint with the U.S. Department of Health and Human
Deductible or Out-of-Pocket Maximum the value of any                        Services, Office for Civil Rights electronically through the
coupon applied to any Copayment, Deductible and/or                          Office for Civil Rights Complaint Portal, available at:
Coinsurance you are required to pay.                                        https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
                                                                            phone at:
HC-IMP260                                                      01-20          U.S. Department of Health and Human Services
                                                                  V10         200 Independence Avenue, SW
                                                                              Room 509F, HHH Building
                                                                              Washington, D.C. 20201
Discrimination is Against the Law
                                                                              1-800-368-1019, 800-537-7697 (TDD)
Cigna complies with applicable Federal civil rights laws and
                                                                            Complaint forms are available at
does not discriminate on the basis of race, color, national
                                                                            http://www.hhs.gov/ocr/office/file/index.html.
origin, age, disability or sex. Cigna does not exclude people or
treat them differently because of race, color, national origin,
age, disability or sex.                                                     HC-NOT96                                                      07-17

Cigna:
•   Provides free aids and services to people with disabilities to          Proficiency of Language Assistance Services
    communicate effectively with us, such as:                               English – ATTENTION: Language assistance services, free
    • Qualified sign language interpreters                                  of charge, are available to you. For current Cigna customers,
    • Written information in other formats (large print, audio,             call the number on the back of your ID card. Otherwise, call
      accessible electronic formats, other formats)                         1.800.244.6224 (TTY: Dial 711).
•   Provides free language services to people whose primary                 Spanish – ATENCIÓN: Hay servicios de asistencia de
    language is not English, such as                                        idiomas, sin cargo, a su disposición. Si es un cliente actual de
                                                                            Cigna, llame al número que figura en el reverso de su tarjeta
    • Qualified interpreters
                                                                            de identificación. Si no lo es, llame al 1.800.244.6224 (los
    • Information written in other languages                                usuarios de TTY deben llamar al 711).
If you need these services, contact customer service at the toll-           Chinese – 注意：我們可為您免費提供語言協助服務。
free phone number shown on your ID card, and ask a                          對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。
Customer Service Associate for assistance.                                  其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。
                                                                            Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
                                                                            về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
                                                                            Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                            khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
                                                                            Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
                                                                            서비스를 무료로 이용하실 수 있습니다. 현재 Cigna



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가입자님들께서는 ID 카드 뒷면에 있는 전화번호로                                            chiamare il numero sul retro della tessera di identificazione.
                                                                       In caso contrario, chiamare il numero 1.800.244.6224 (utenti
연락해주십시오. 기타 다른 경우에는 1.800.244.6224                                     TTY: chiamare il numero 711).
(TTY: 다이얼 711)번으로 전화해주십시오.                                             German – ACHTUNG: Die Leistungen der
                                                                       Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.
Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
                                                                       Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die
tulong sa wika nang libre. Para sa mga kasalukuyang customer
                                                                       Nummer auf der Rückseite Ihrer Krankenversicherungskarte
ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
                                                                       an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen
kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
                                                                       Sie 711).
Russian – ВНИМАНИЕ: вам могут предоставить
бесплатные услуги перевода. Если вы уже участвуете в
плане Cigna, позвоните по номеру, указанному на
обратной стороне вашей идентификационной карточки
участника плана. Если вы не являетесь участником одного
из наших планов, позвоните по номеру 1.800.244.6224
(TTY: 711).


                                                                       HC-NOT97                                                    07-17



                                                                       Federal CAA - Consolidated Appropriations Act and TIC
French Creole – ATANSYON: Gen sèvis èd nan lang ki                     - Transparency in Coverage Notice
disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki            Cigna will make available an internet-based self-service tool
dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224                      for use by individual customers, as well as certain data in
(TTY: Rele 711).                                                       machine-readable file format on a public website, as required
French – ATTENTION: Des services d’aide linguistique vous              under the Transparency in Coverage rule. Customers can
sont proposés gratuitement. Si vous êtes un client actuel de           access the cost estimator tool on myCigna.com. Updated
Cigna, veuillez appeler le numéro indiqué au verso de votre            machine-readable files can be found on Cigna.com and/or
carte d’identité. Sinon, veuillez appeler le numéro                    CignaForEmployers.com on a monthly basis.
1.800.244.6224 (ATS : composez le numéro 711).                         Pursuant to Consolidated Appropriations Act (CAA), Section
Portuguese – ATENÇÃO: Tem ao seu dispor serviços de                    106, Cigna will submit certain air ambulance claim
assistência linguística, totalmente gratuitos. Para clientes           information to the Department of Health and Human Services
Cigna atuais, ligue para o número que se encontra no verso do          (HHS) in accordance with guidance issued by HHS.
seu cartão de identificação. Caso contrário, ligue para                Subject to change based on government guidance for CAA
1.800.244.6224 (Dispositivos TTY: marque 711).                         Section 204, Cigna will submit certain prescription drug and
Polish – UWAGA: w celu skorzystania z dostępnej,                       health care spending information to HHS through Plan Lists
bezpłatnej pomocy językowej, obecni klienci firmy Cigna                Files (P1-P3) and Data Files (D1-D8) (D1-D2) for an
mogą dzwonić pod numer podany na odwrocie karty                        Employer without an integrated pharmacy product aggregated
identyfikacyjnej. Wszystkie inne osoby prosimy o                       at the market segment and state level, as outlined in guidance.
skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Japanese –                                                             HC-IMP324                                                   01-23
注意事項：日本語を話される場合、無料の言語支援サー
ビスをご利用いただけます。現在のCignaの                                                 Federal CAA - Consolidated Appropriations Act
お客様は、IDカード裏面の電話番号まで、お電話にてご
                                                                       Continuity of Care
連絡ください。その他の方は、1.800.244.6224（TTY:
711）まで、お電話にてご連絡ください。                                                   In certain circumstances, if you are receiving continued care
                                                                       from an in-network provider or facility, and that provider’s
Italian – ATTENZIONE: Sono disponibili servizi di                      network status changes from in-network to out-of-network,
assistenza linguistica gratuiti. Per i clienti Cigna attuali,          you may be eligible to continue to receive care from the


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provider at the in-network cost-sharing amount for up to 90              pre-approved treatment plan, or procedures for making
days from the date you are notified of your provider’s                   referrals. For a list of participating health care professionals
termination. A continuing care patient is an individual who is:          who specialize in obstetrics or gynecology, access the website
•   Undergoing treatment for a serious and complex condition             or call the phone number on your ID card.
•   Pregnant and undergoing treatment for the pregnancy                  Selection of a Primary Care Provider
•   Receiving inpatient care                                             This plan generally allows the designation of a primary care
                                                                         provider. You have the right to designate any primary care
•   Scheduled to undergo urgent or emergent surgery, including           provider who participates in the network and who is available
    postoperative                                                        to accept you or your family members. For children, you may
•   Terminally ill (having a life expectancy of 6 months or less)        designate a pediatrician as the primary care provider. For
    and receiving treatment from the provider for the illness            information on how to select a primary care provider, and for
If applicable, Cigna will notify you of your continuity of care          a list of the participating primary care providers, access the
options.                                                                 website or call the phone number on your ID card.
Appeals                                                                  Your Rights and Protections Against Surprise Medical
                                                                         Bills
Any external review process available under the plan will
apply to any adverse determination regarding claims subject to           When you get emergency care or are treated by an out-of-
the No Surprises Act.                                                    network provider at an in-network hospital or ambulatory
                                                                         surgical center, you are protected from balance billing. In
Provider Directories and Provider Networks                               these situations, you should not be charged more than your
A list of network providers is available to you, without charge,         plan’s copayments, coinsurance, and/or deductible.
by visiting the website or calling the phone number on your ID           What is “balance billing” (sometimes called “surprise
card. The network consists of providers, including hospitals,            billing”)?
of varied specialties as well as generic practice, affiliated or
contracted with Cigna or an organization contracting on its              When you see a doctor or other health care provider, you may
behalf.                                                                  owe certain out-of-pocket costs, such as a copayment,
                                                                         coinsurance, and/or deductible. You may have additional costs
A list of network pharmacies is available to you, without                or have to pay the entire bill if you see a provider or visit a
charge, by visiting the website or calling the phone number on           health care facility that is not in your health plan’s network.
your ID card. The network consists of pharmacies affiliated or
contracted with Cigna or an organization contracting on its              “Out-of-network” means providers and facilities that have not
behalf.                                                                  signed a contract with your health plan to provide services.
                                                                         Out-of-network providers may be allowed to bill you for the
Provider directory content is verified and updated, and                  difference between what your plan pays and the full amount
processes are established for responding to provider network             charged for a service. This is called “balance billing”. This
status inquiries, in accordance with applicable requirements of          amount is likely more than in-network costs for the same
the No Surprises Act.                                                    service and might not count toward your plan’s deductible or
If you rely on a provider’s in-network status in the provider            annual out-of-pocket limit.
directory or by contacting Cigna at the website or phone                 “Surprise billing” is an unexpected balance bill. This can
number on your ID card to receive covered services from that             happen when you cannot control who is involved in your care
provider, and that network status is incorrect, then your plan           – such as when you have an emergency or when you schedule
cannot impose out-of-network cost shares to that covered                 a visit at an in-network facility but are unexpectedly treated by
service. In-network cost share must be applied as if the                 an out-of-network provider. Surprise medical bills could cost
covered service were provided by an in-network provider.                 thousands of dollars depending on the procedure or service.
Direct Access to Obstetricians and Gynecologists                         You are protected from balance billing for:
You do not need prior authorization from the plan or from any            •   Emergency services – If you have an emergency medical
other person (including a primary care provider) in order to                 condition and get emergency services from an out-of-
obtain access to obstetrical or gynecological care from a health             network provider or facility, the most they can bill you is
care professional in our network who specializes in obstetrics               your plan’s in-network cost-sharing amount (such as a
or gynecology. The health care professional, however, may be                 copayments, coinsurance, and deductibles). You cannot be
required to comply with certain procedures, including                        balanced billed for these emergency services. This includes
obtaining prior authorization for certain services, following a


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    services you may get after you are in stable condition,               If you think you have been wrongly billed, contact Cigna at
    unless you give written consent and give up your                      the phone number on your ID card. You can also contact No
    protections not to be balanced billed for these post-                 Surprises Help Desk at 1-800-985-3059 or
    stabilization services.                                               http://www.cms.gov/nosurprises for more information about
•   Certain non-emergency services at an in-network                       your rights under federal law.
    hospital or ambulatory surgical center – When you get
    services from an in-network hospital or ambulatory surgical           HC-IMP325                                                    01-23
    center, certain providers there may be out-of-network. In
    these cases, the most those providers can bill you is your
    plan’s in-network cost sharing amount. This applies to
    emergency medicine, anesthesia, pathology, radiology,                 How To File Your Claim
    laboratory, neonatology, assistant surgeon, hospitalist, or           There’s no paperwork for In-Network care. Just show your
    intensivist services. These providers cannot balance bill             identification card and pay your share of the cost, if any; your
    you and may not ask you to give up your protections not to            provider will submit a claim to Cigna for reimbursement. Out-
    be balanced billed.                                                   of-Network claims can be submitted by the provider if the
If you get other types of services at these in-network facilities,        provider is able and willing to file on your behalf. If the
out-of-network providers cannot balance bill you, unless you              provider is not submitting on your behalf, you must send your
give written consent and give up your protections.                        completed claim form and itemized bills to the claims address
You are never required to give up your protections from                   listed on the claim form.
balance billing. You also are not required to get out-of-                 You may get the required claim forms from the website listed
network care. You can choose a provider or facility in your               on your identification card or by calling the toll-free number
plan’s network.                                                           on your identification card.
When balance billing is not allowed, you have these                       CLAIM REMINDERS
protections:                                                              • BE SURE TO USE YOUR MEMBER ID AND
•   You are only responsible for paying your share of the cost              ACCOUNT/GROUP NUMBER WHEN YOU FILE
    (such as copayments, coinsurance, and deductibles that you              CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
    would pay if the provider were in-network). Your health                 YOUR CIGNA CLAIM OFFICE.
    plan will pay any additional costs to out-of-network                      YOUR MEMBER ID IS THE ID SHOWN ON YOUR
    providers and facilities directly.                                        BENEFIT IDENTIFICATION CARD.
•   Generally, your health plan must:                                         YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
    • Cover emergency services without requiring you to get                   YOUR BENEFIT IDENTIFICATION CARD.
      approval in advance for services (also known as prior               •   BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
      authorization).                                                         ON THE BACK OF THE CLAIM FORM CAREFULLY
    • Cover emergency services provided by out-of-network                     WHEN SUBMITTING A CLAIM TO CIGNA.
      providers.                                                          Timely Filing of Out-of-Network Claims
    • Base what you owe the provider or facility (cost sharing)           Cigna will consider claims for coverage under our plans when
      on what it would pay an in-network provider or facility             proof of loss (a claim) is submitted within 180 days for Out-
      and show that amount in your explanation of benefits                of-Network benefits after services are rendered. If services are
      (EOB).                                                              rendered on consecutive days, such as for a Hospital
    • Count any amount you pay for emergency services or out-             Confinement, the limit will be counted from the last date of
      of-network services toward your in-network deductible               service. If claims are not submitted within 180 days for Out-
      and out-of-pocket limit.                                            of-Network benefits, the claim will not be considered valid
                                                                          and will be denied.
                                                                          If it was not reasonably possible to give proof in the time
                                                                          required, Cigna will not reduce or deny the claim for this
                                                                          reason if the proof is submitted as soon as reasonably possible.
                                                                          In any event, the proof required must be given no later than




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one (1) year from the time specified unless the claimant was             Effective Date of Employee Insurance
legally incapacitated.                                                   You will become insured on the date you elect the insurance
WARNING: Any person who knowingly and with intent to                     by signing an approved payroll deduction or enrollment form,
defraud any insurance company or other person files an                   as applicable, but no earlier than the date you become eligible.
application for insurance or statement of claim containing any           You will become insured on your first day of eligibility,
materially false information; or conceals for the purpose of             following your election, if you are in Active Service on that
misleading, information concerning any material fact thereto,            date, or if you are not in Active Service on that date due to
commits a fraudulent insurance act.                                      your health status.
                                                                         Late Entrant - Employee
HC-CLM6                                                    01-11
                                                                         You are a Late Entrant if:
                                                               V2
                                                                         •   you elect the insurance more than 30 days after you become
                                                                             eligible; or
                                                                         •   you again elect it after you cancel your payroll deduction (if
Eligibility - Effective Date                                                 required).

Employee Insurance                                                       Dependent Insurance
This plan is offered to you as an Employee.                              For your Dependents to be insured, you will have to pay the
Eligibility for Employee Insurance                                       required contribution, if any, toward the cost of Dependent
You will become eligible for insurance on the day you                    Insurance.
complete the waiting period if:                                          Effective Date of Dependent Insurance
•   you are in a Class of Eligible Employees; and                        Insurance for your Dependents will become effective on the
•   you are an eligible, full-time Employee; and                         date you elect it by signing an approved payroll deduction
                                                                         form, but no earlier than the day you become eligible for
•   you normally work at least 30 hours a week; and                      Dependent Insurance. All of your Dependents as defined will
•   you pay any required contribution.                                   be included. For your Dependents to be insured for these
If you were previously insured and your insurance ceased, you            benefits, you must elect the Dependent insurance for yourself
must satisfy the Waiting Period to become insured again. If              no later than 30 days after you become eligible.
your insurance ceased because you were no longer employed                A newborn child will be covered for the first 31 days of life
in a Class of Eligible Employees, you are not required to                even if you fail to enroll the child. If you enroll the child after
satisfy any waiting period if you again become a member of a             the first 31 days and by the 60th day after his birth, coverage
Class of Eligible Employees within one year after your                   will be offered at an additional premium. Coverage for an
insurance ceased.                                                        adopted child will become effective from the date of
Eligibility for Dependent Insurance                                      placement in your home or from birth for the first 31 days
                                                                         even if you fail to enroll the child. However, if you enroll the
You will become eligible for Dependent Insurance on the later            adopted child between the 31st and 60th days after his birth or
of:                                                                      placement in your home, coverage will be offered at an
•   the day you become eligible for yourself; or                         additional premium.
•   the day you acquire your first Dependent.                            Your Dependents will be insured only if you are insured.
                                                                         Late Entrant – Dependent
Waiting Period
                                                                         You are a Late Entrant for Dependent Insurance if:
The first day of the month following 30 days from date of hire.
                                                                         •   you elect that insurance more than 30 days after you
Classes of Eligible Employees                                                become eligible for it; or
Each Employee as reported to the insurance company by your               •   you again elect it after you cancel your payroll deduction (if
Employer.                                                                    required).




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Exception for Newborns                                                      calling the number on the back of your ID Card. Any such
Any Dependent child born while you are insured will become                  transfer will be effective on the first day of the month
insured on the date of his birth if you elect Dependent                     following the month in which the processing of the change
Insurance no later than 31 days after his birth. If you do not              request is completed.
elect to insure your newborn child within such 31 days,                     In addition, if at any time a Primary Care Physician ceases to
coverage for that child will end on the 31st day. No benefits for           be a Participating Provider, you or your Dependent will be
expenses incurred beyond the 31st day will be payable.                      notified for the purpose of selecting a new Primary Care
If notice is given within 60 days of the birth of the child, the            Physician, if you choose.
insurer may not deny coverage for a child due to the failure of             Direct Access For Mental Health and Substance Use
the insured to timely notify the insurer of the birth of the child.         Disorder Services
                                                                            You are allowed direct access to a licensed/certified
HC-ELG326                                                      03-21
                                                                            Participating Provider for covered Mental Health and
                                                                            Substance Use Disorder Services. There is no requirement to
                                                                            obtain an authorization of care from your Primary Care
                                                                            Physician for individual or group therapy visits to the
Important Information About Your                                            Participating Provider of your choice for Mental Health and
Medical Plan                                                                Substance Use Disorder.
Details of your medical benefits are described on the
following pages.                                                            HC-IMP329V1                                                 01-24

Opportunity to Select a Primary Care Physician
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents. If you need
assistance selecting your Primary Care Physician, please visit
our website at www.cigna.com or call the number on the back
of your ID Card.
The Primary Care Physician's role is to provide or arrange for
medical care for you and any of your Dependents.
You and your Dependents are allowed direct access to
Participating Physicians for covered services. Even if you
select a Primary Care Physician, there is no requirement to
obtain an authorization of care from your Primary Care
Physician for visits to the Participating Physician of your
choice, including Participating Specialist Physicians, for
covered services.
Changing Primary Care Physicians
You may request a transfer from one Primary Care Physician
to another by visiting our website at www.cigna.com or


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                                  Open Access Plus Medical Benefits
                                                  The Schedule
For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Deductible or Coinsurance.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable under this plan.
Deductibles are in addition to any Coinsurance. Once the Deductible maximum in The Schedule has been reached, you
and your family need not satisfy any further medical deductible for the rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in The Schedule.
When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance penalties, are
payable by the benefit plan at 100%.




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                                   Open Access Plus Medical Benefits
                                                   The Schedule
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
• Coinsurance.
• Plan Deductible.
• Any coinsurance and/or benefit deductibles for the following:
  •   obesity/bariatric surgery.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any benefit
deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
• Non-compliance penalties.
• Any benefit deductibles not listed above as accumulating to the Out-of-Pocket maximum.
• Provider charges in excess of the Maximum Reimbursable Charge.
  .
Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will accumulate in one direction (that is, Out-of-Network will accumulate to
In-Network). All other plan maximums and service-specific maximums (dollar and occurrence) cross-accumulate between
In- and Out-of-Network unless otherwise noted.
.
Note:
For information about your health fund benefit and how it can help you pay for expenses that may not be covered under
this plan, refer to “What You Should Know about Cigna Choice Fund”.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon’s allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.




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                                   Open Access Plus Medical Benefits
                                                    The Schedule
Out-of-Network Charges for Certain Services (Non-Emergency)
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, other facility as required by Florida law, or by an Out-of-Network provider in an In-Network
   Hospital, is the amount agreed to by the Out-of-Network provider and Cigna, or as required by applicable state or
   Federal law. If the provider and Cigna cannot agree on an allowable amount, Cigna or the provider may request dispute
   resolution pursuant to Florida law. Out-of-Network providers who are subject to Florida law may not attempt to collect
   from you any amount in excess of the allowable amount.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Air Ambulance Services Charges
1. Covered air ambulance services are payable at the In-Network cost-sharing level if services are received from a non-
   Participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan’s benefit payment for covered air ambulance services rendered by an
   Out-of-Network provider is the amount agreed to by the Out-of-Network provider and Cigna, or as required by
   applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.

       BENEFIT HIGHLIGHTS                             IN-NETWORK                             OUT-OF-NETWORK
Lifetime Maximum                                                              Unlimited
The Percentage of Covered Expenses         80%                                       50% of the Maximum Reimbursable
the Plan Pays                                                                        Charge




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        BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in The Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges and Out-
of-Network Air Ambulance Services
Charges is determined based on the
lesser of the provider's normal charge
for a similar service or supply;
or the amount agreed to by the Out-of-      Not Applicable                  150%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 • the provider’s normal charge for a
   similar service or supply; or
• the 80th percentile of charges made
    by providers of such service or
    supply in the geographic area where
    it is received as compiled in a
    database selected by Cigna. If
    sufficient charge data is unavailable
    in the database for that geographic
    area to determine the Maximum
    Reimbursable Charge, then data in
    the database for similar services may
    be used.
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      BENEFIT HIGHLIGHTS                             IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Deductible
  Individual                               $1,000 per person                $4,000 per person
  Family Maximum                           $2,000 per family                $8,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual deductible and then their
  claims will be covered under the plan
  coinsurance; if the family deductible
  has been met prior to their individual
  deductible being met, their claims
  will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $2,000 per person                $10,000 per person
  Family Maximum                           $4,000 per family                $20,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.
Combined Medical/Pharmacy Out-
of-Pocket Maximum
  Combined Medical/Pharmacy Out-           Yes                              Yes
  of-Pocket: includes retail and home
  delivery drugs
  Home Delivery Pharmacy Costs             Yes                              Yes
  Contribute to the Combined
  Medical/Pharmacy Out-of-Pocket
  Maximum
  .




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                        Maximum Reimbursable Charge
  Specialty Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                        Maximum Reimbursable Charge
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with
      Cigna on an In-Network basis.
      Out-of-Network OB/GYN
      providers will be considered a
      Specialist.
  Surgery Performed in the Physician’s
  Office
    Primary Care Physician               Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
  Second Opinion Consultations
  (provided on a voluntary basis)
    Primary Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                      Maximum Reimbursable Charge

    Specialty Care Physician’s Office    Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                      Maximum Reimbursable Charge
  Allergy Treatment/Injections
    Primary Care Physician’s Office      Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                      Maximum Reimbursable Charge
    Specialty Care Physician’s Office    Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                      Maximum Reimbursable Charge
  Allergy Serum (dispensed by the
  Physician in the office)
    Primary Care Physician               Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
    Specialty Care Physician             Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Convenience Care Clinic                   Plan deductible, then 80%             Plan deductible, then 50% of the
(includes any related lab and x-ray                                             Maximum Reimbursable Charge
services
.        and surgery)
Virtual Care
Dedicated Virtual Providers
Dedicated virtual care services may be
provided by MDLIVE, a Cigna
affiliate.

Services available through contracted
virtual providers as medically
appropriate.

Notes:
• Primary Care cost share applies to
  routine care. Virtual wellness
  screenings are payable under
  preventive care.
• MDLIVE Behavioral Services,
  please refer to the Mental Health and
  Substance Use Disorder section
  (below).
• Lab services supporting a virtual
  visit must be obtained through
  dedicated labs.
  MDLIVE Urgent Care Services             100%                                  In-Network coverage only
  MDLIVE Primary Care Services            Plan deductible, then 80%             In-Network coverage only
  MDLIVE Specialty Care Services          Plan deductible, then 80%             In-Network coverage only
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Physicians may deliver services
virtually that are payable under other
benefits (e.g., Preventive Care,
Outpatient Therapy Services).
Primary Care Physician Virtual Office     Plan deductible, then 80%             Plan deductible, then 50% of the
Visit                                                                           Maximum Reimbursable Charge
Specialty Care Physician Virtual Office   Plan deductible, then 80%             Plan deductible, then 50% of the
Visit                                                                           Maximum Reimbursable Charge
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Preventive Care
  Routine Preventive Care (for
  children through age 15)
    Primary Care Physician’s Office      100%                                     50% of the Maximum Reimbursable
    Visit                                                                         Charge
    Specialty Care Physician’s Office    100%                                     50% of the Maximum Reimbursable
    Visit                                                                         Charge
  Immunizations (for children through
  age 15)
    Primary Care Physician’s Office      100%                                     50% of the Maximum Reimbursable
    Visit                                                                         Charge
    Specialty Care Physician’s Office    100%                                     50% of the Maximum Reimbursable
    Visit                                                                         Charge
  Routine Preventive Care (for ages 16
  and over)
    Primary Care Physician’s Office      100%                                     Plan deductible, then 50% of the
    Visit                                                                         Maximum Reimbursable Charge
    Specialty Care Physician’s Office    100%                                     Plan deductible, then 50% of the
    Visit                                                                         Maximum Reimbursable Charge
  Immunizations (for ages 16 and
  over)
    Primary Care Physician’s Office      100%                                     Plan deductible, then 50% of the
    Visit                                                                         Maximum Reimbursable Charge
    Specialty Care Physician’s Office    100%                                     Plan deductible, then 50% of the
    Visit                                                                         Maximum Reimbursable Charge
 .
Mammograms, PSA, PAP Smear
  Preventive Care Related Services       100%                                     Subject to the plan’s x-ray benefit &
  (i.e. “routine” services)                                                       lab benefit; based on place of service

  Diagnostic Related Services (i.e.      Subject to the plan’s x-ray benefit &    Subject to the plan’s x-ray benefit &
  “non-routine” services)                lab benefit; based on place of service   lab benefit; based on place of service




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                        OUT-OF-NETWORK
Women’s Surgical Sterilization
Procedures (e.g. tubal ligation)
Excludes reversals
  Primary Care Physician’s Office        100%                                  Plan deductible, then 50% of the
  Visit                                                                        Maximum Reimbursable Charge

  Specialty Care Physician’s Office      100%                                  Plan deductible, then 50% of the
  Visit                                                                        Maximum Reimbursable Charge

  Inpatient Facility                     100%                                  Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge

  Outpatient Facility                    100%                                  Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge

  Inpatient Professional Services        100%                                  Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge

  Outpatient Professional Services       100%                                  Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge

Inpatient Hospital – Facility Services   Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
  Semi-Private Room and Board            Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Private Room                           Limited to the semi-private room      Limited to the semi-private room rate
                                         negotiated rate
  Special Care Units (ICU/CCU)           Limited to the negotiated rate        Limited to the ICU/CCU daily room
                                                                               rate
Outpatient Facility Services
  Operating Room, Recovery Room,         Plan deductible, then 80%             Plan deductible, then 50% of the
  Procedures Room, Treatment Room                                              Maximum Reimbursable Charge
  and Observation Room
Inpatient Hospital Physician’s           Plan deductible, then 80%             Plan deductible, then 50% of the
Visits/Consultations                                                           Maximum Reimbursable Charge

Inpatient Professional Services          Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist
Outpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                               Maximum Reimbursable Charge
  Surgeon
  Radiologist, Pathologist,
  Anesthesiologist


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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Urgent Care Services
  Urgent Care Facility or Outpatient       Plan deductible, then 80%             Plan deductible, then 80% of the
  Facility                                                                       Maximum Reimbursable Charge
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Urgent Care
  Facility and billed by the facility as
  part of the UC visit.

  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%             Plan deductible, then 80% of the
  MRIs, MRAs, CAT Scans, PET                                                     Maximum Reimbursable Charge
  Scans etc.) billed by the facility as
  part of the UC visit

Emergency Services
  Hospital Emergency Room                  Plan deductible, then 80%             Plan deductible, then 80%
  Includes Outpatient Professional
  Services, X-ray and/or Lab services
  performed at the Emergency Room
  and billed by the facility as part of
  the ER visit.

  Advanced Radiological Imaging (i.e.      Plan deductible, then 80%             Plan deductible, then 80%
  MRIs, MRAs, CAT Scans, PET
  Scans etc.) billed by the facility as
  part of the ER visit

Air Ambulance                              Plan deductible, then 80%             Plan deductible, then 80%
Ambulance                                  Plan deductible, then 80%             Plan deductible, then 80% of the
                                                                                 Maximum Reimbursable Charge
Inpatient Services at Other Health         Plan deductible, then 80%             Plan deductible, then 50% of the
Care Facilities                                                                  Maximum Reimbursable Charge
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
  Calendar Year Maximum:
  60 days combined
Laboratory Services
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                          Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                          Maximum Reimbursable Charge
  Outpatient Hospital Facility             Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                 Maximum Reimbursable Charge
  Independent Lab Facility                 Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                 Maximum Reimbursable Charge


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      BENEFIT HIGHLIGHTS                        IN-NETWORK                         OUT-OF-NETWORK
Radiology Services
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Outpatient Hospital Facility        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
Outpatient Therapy Services
  Calendar Year Maximum:
  Unlimited
  Includes:
  Physical Therapy
  Speech Therapy
  Occupational Therapy
  Pulmonary Rehab
  Cognitive Therapy
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  .

Outpatient Cardiac Rehabilitation
 Calendar Year Maximum:
 36 days
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                             IN-NETWORK                         OUT-OF-NETWORK
Spinal Manipulation Services
  Calendar Year Maximum:
  Unlimited
  Primary Care Physician’s Office          Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                          Maximum Reimbursable Charge

  Specialty Care Physician’s Office        Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                          Maximum Reimbursable Charge

 Acupuncture

  Self-referred, Medically Necessary                                             Plan deductible, then 50% of the
  treatment of pain or disease by          Plan deductible, then 80%             Maximum Reimbursable Charge
  acupuncture provided on an
  outpatient basis, limited to a 12 day
  maximum per person per Calendar
  Year
Home Health Care Services
  Calendar Year Maximum:                   Plan deductible, then 80%             Plan deductible, then 50% of the
  60 days (includes outpatient private                                           Maximum Reimbursable Charge
  nursing when approved as Medically
  Necessary)
  Dialysis services in the home setting
  will not accumulate to the Home
  Health Care maximum
  (The limit is not applicable to Mental
  Health and Substance Use Disorder
  conditions.)
  .
Hospice
 Inpatient Services                        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient Services                      Plan deductible, then 80%             Plan deductible, then 50% of the
  (same coinsurance level as Home                                                Maximum Reimbursable Charge
  Health Care Services)
  .
Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                                Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                 Maximum Reimbursable Charge
  Outpatient                               Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                 Maximum Reimbursable Charge
Services provided by Mental Health         Covered under Mental Health benefit   Covered under Mental Health benefit
Professional
.



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       BENEFIT HIGHLIGHTS                             IN-NETWORK                           OUT-OF-NETWORK
Medical Pharmaceuticals
  Inpatient Facility                        Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  Cigna Pathwell Specialty Medical          Cigna Pathwell Specialty Network        Plan deductible, then 50% of the
  Pharmaceuticals                           provider:                               Maximum Reimbursable Charge
                                            Plan deductible, then 80%
  Other Medical Pharmaceuticals             Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  .
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Covered same as Medical                 Plan deductible, then 50% of the
                                            Pharmaceuticals                         Maximum Reimbursable Charge
  Inpatient Hospital Facility Services      Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 80%               Plan deductible, then 50% of the
                                                                                    Maximum Reimbursable Charge
  Travel Maximum:                           100% (available only for travel when    In-Network coverage only
  $10,000 per episode of gene therapy       prior authorized to receive gene
                                            therapy at a participating In-Network
                                            facility specifically contracted with
                                            Cigna to provide the specific gene
                                            therapy)




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       BENEFIT HIGHLIGHTS                           IN-NETWORK                         OUT-OF-NETWORK
Advanced Cellular Therapy
Includes prior authorized advanced
cellular therapy products and related
services when Medically Necessary.
  Advanced Cellular Therapy Product       Covered Same as Medical               Plan deductible, then 50% of the
                                          Pharmaceuticals                       Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Advanced Cellular Therapy Travel        100%                                  In-Network coverage only
  Maximum:
  $10,000 per episode of advanced
  cellular therapy
  (Available only for travel when prior
  authorized to receive advanced
  cellular therapy from a provider
  located more than 60 miles of your
  primary residence and is contracted
  with Cigna for the specific advanced
  cellular therapy product and related
  services.)




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Maternity Care Services
 Initial Visit to Confirm Pregnancy
    Note:
    OB/GYN providers will be
    considered either as a PCP or
    Specialist, depending on how the
    provider contracts with Cigna on
    an In-Network basis. Out-of-
    Network OB/GYN providers will
    be considered a Specialist.
    Primary Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                       Maximum Reimbursable Charge
  All subsequent Prenatal Visits,         Plan deductible, then 80%             Plan deductible, then 50% of the
  Postnatal Visits and Physician’s                                              Maximum Reimbursable Charge
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition
  to the global maternity fee when
  performed by an OB/GYN or
  Specialist
    Primary Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                       Maximum Reimbursable Charge
    Specialty Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
    Visit                                                                       Maximum Reimbursable Charge
  Delivery - Facility                     Plan deductible, then 80%             Plan deductible, then 50% of the
  (Inpatient Hospital, Birthing Center)                                         Maximum Reimbursable Charge




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        BENEFIT HIGHLIGHTS                      IN-NETWORK                         OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Primary Care Physician’s Office     Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Specialty Care Physician’s Office   Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                     Maximum Reimbursable Charge
  Inpatient Facility                  Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Facility                 Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
  Inpatient Professional Services     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
  Outpatient Professional Services    Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                            Maximum Reimbursable Charge
    .




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          BENEFIT HIGHLIGHTS                             IN-NETWORK                              OUT-OF-NETWORK
Infertility Services
Coverage will be provided for the following services:
    • Testing and treatment services performed in connection with an underlying medical condition.
    • Testing performed specifically to determine the cause of infertility.
    • Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
      condition).
    • Artificial Insemination, In-vitro, GIFT, ZIFT, etc.
.
    Physician’s Office Visit (Lab and
    Radiology Tests, Counseling)
        Primary Care Physician                Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
        Specialty Care Physician              Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Facility                        Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Facility                       Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
    Inpatient Professional Services           Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
    Outpatient Professional Services          Plan deductible, then 80%                  Plan deductible, then 50% of the
                                                                                         Maximum Reimbursable Charge
    Lifetime Maximum:
    $30,000 per member
    Includes all related services billed
    with an infertility diagnosis (i.e. x-
    ray or lab services billed by an
    independent facility).
    .




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Primary Care Physician’s Office          Plan deductible, then 80%              Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%              Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Inpatient Facility                       100% at Lifesource center, otherwise   Plan deductible, then 50% of the
                                           plan deductible, then 80%              Maximum Reimbursable Charge up
                                                                                  to transplant maximum
  Inpatient Professional Services          100% at Lifesource center, otherwise   Plan deductible, then 50% of the
                                           plan deductible, then 80%              Maximum Reimbursable Charge up
                                                                                  to specific organ transplant
                                                                                  maximum:
                                                                                      Heart - $150,000
                                                                                      Liver - $230,000
                                                                                      Bone Marrow - $130,000
                                                                                      Heart/Lung - $185,000
                                                                                      Lung - $185,000
                                                                                      Pancreas - $50,000
                                                                                      Kidney - $80,000
                                                                                      Kidney/Pancreas - $80,000
  Lifetime Travel Maximum:                 100%                                   100% of the Maximum Reimbursable
  $10,000 per transplant                                                          Charge
  .
Durable Medical Equipment                  Plan deductible, then 80%              Plan deductible, then 50% of the
  Calendar Year Maximum:                                                          Maximum Reimbursable Charge
. Unlimited
Outpatient Dialysis Services
  Primary Care Physician’s Office          Plan deductible, then 80%              Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%              Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Outpatient Facility Services             Plan deductible, then 80%              Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge
  Home Setting                             Plan deductible, then 80%              Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                         OUT-OF-NETWORK
External Prosthetic Appliances              Plan deductible, then 80%             Plan deductible, then 50% of the
  Calendar Year Maximum:                                                          Maximum Reimbursable Charge
  Unlimited
Hearing Aids                                Plan deductible, then 80%             Plan deductible, then 80% of the
                                                                                  Maximum Reimbursable Charge
  2 Maximum per individual every 36
  months
  $2,500
Diabetic Equipment                          Plan deductible, then 80%             Plan deductible, then 50% of the
  Calendar Year Maximum:                                                          Maximum Reimbursable Charge
  Unlimited
.
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of diabetes and/or to mental health
  and substance use disorder
  conditions.
  Primary Care Physician’s Office           Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Specialty Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                           Maximum Reimbursable Charge
  Inpatient Facility                        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Facility                       Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge
  Inpatient Professional Services           Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge
  Outpatient Professional Services          Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                  Maximum Reimbursable Charge
  .




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Primary Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
   .
Dental Care
Limited to charges made for a
continuous course of dental treatment
for an Injury to teeth.
  Primary Care Physician’s Office         Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                         Maximum Reimbursable Charge
  Specialty Care Physician’s Office       Plan deductible, then 80%             Plan deductible, then 50% of the
  Visit                                                                         Maximum Reimbursable Charge
  Inpatient Facility                      Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Facility                     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Inpatient Professional Services         Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge
  Outpatient Professional Services        Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                                Maximum Reimbursable Charge




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Obesity/Bariatric Surgery
Note:
Coverage is provided subject to
medical necessity and clinical
guidelines subject to any limitations
shown in the “Exclusions, Expenses
Not Covered and General Limitations”
section of this certificate.
  Primary Care Physician’s Office          Plan deductible, then 80%                 Plan deductible, then 50% of the
  Visit                                                                              Maximum Reimbursable Charge
  Specialty Care Physician’s Office        Plan deductible, then 80%                 Plan deductible, then 50% of the
  Visit                                                                              Maximum Reimbursable Charge
  Inpatient Facility                       Plan deductible, then 80%                 Plan deductible, then 50% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Facility                      Plan deductible, then 80%                 Plan deductible, then 50% of the
                                                                                     Maximum Reimbursable Charge

  Inpatient Professional Services          Plan deductible, then 80%                 Plan deductible, then 50% of the
                                                                                     Maximum Reimbursable Charge
  Outpatient Professional Services         Plan deductible, then 80%                 Plan deductible, then 50% of the
                                                                                     Maximum Reimbursable Charge
Surgical Professional Services
Lifetime Maximum:
Unlimited

Notes:
• Includes charges for surgeon only;
  does not include radiologist,
  anesthesiologist, etc.
• Accumulates to the Out-of-Pocket
  Maximum.
• Only surgical services accumulate to
  the maximum.
.
Routine Foot Disorders                     Not covered except for services           Not covered except for services
                                           associated with foot care for diabetes,   associated with foot care for diabetes,
                                           peripheral neuropathies and               peripheral neuropathies and
                                           peripheral vascular disease when          peripheral vascular disease when
                                           Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              Plan deductible, then 80%             Plan deductible, then 50% of the
   Includes Acute Inpatient and                                               Maximum Reimbursable Charge
   Residential Treatment

    Calendar Year Maximum:
    Unlimited
  Outpatient
    Outpatient - Office Visits          Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                              Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         Plan deductible, then 80%             In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                              Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Substance Use Disorder
  Inpatient                             Plan deductible, then 80%             Plan deductible, then 50% of the
    Includes Acute Inpatient                                                  Maximum Reimbursable Charge
    Detoxification, Acute Inpatient
    Rehabilitation and Residential
    Treatment

    Calendar Year Maximum:
    Unlimited
  Outpatient
    Outpatient - Office Visits          Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                              Maximum Reimbursable Charge
    Includes individual, family and
    group psychotherapy; medication
    management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Dedicated Virtual Providers         Plan deductible, then 80%             In-Network coverage only
    MDLIVE Behavioral Services
    Outpatient - All Other Services     Plan deductible, then 80%             Plan deductible, then 50% of the
                                                                              Maximum Reimbursable Charge
    Includes Partial Hospitalization,
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
•   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
•   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed             •   Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
•   Hospital charges for Room and Board, for treatment listed           •   Home Health Care Services.
    above for which PAC was performed, which are made for               •   Medical Pharmaceuticals.
    any day in excess of the number of days certified through           •   Radiation therapy.
    PAC or CSR; and
•   any Hospital charges for treatment listed above for which
                                                                        HC-PAC101                                                    01-20
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify          •   inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.


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•   inpatient services at any participating Other Health Care                •   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
•   residential treatment.                                                   •   charges for Emergency Services.
•   outpatient facility services.                                            •   charges for Urgent Care.
•   partial hospitalization.                                                 •   charges made by a Physician or a Psychologist for
•   advanced radiological imaging.                                               professional services.
•   non-emergency Ambulance.                                                 •   charges made by a Nurse for professional nursing service.
•   certain Medical Pharmaceuticals.                                         •   charges made for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
•   home health care services.
                                                                             •   charges for diagnostic x-ray.
•   radiation therapy.
                                                                             •   charges for advanced radiological imaging, including for
•   transplant services.                                                         example CT Scans, MRI, MRA and PET scans and
                                                                                 laboratory examinations, x-ray, radiation therapy and
HC-PRA41                                                        01-22            radium and radioactive isotope treatment and other
                                                                  V3             therapeutic radiological procedures.
                                                                             •   charges for chemotherapy.
Covered Expenses                                                             •   charges for blood transfusions.
The term Covered Expenses means expenses incurred by a                       •   charges for oxygen and other gases and their administration.
person while covered under this plan for the charges listed                  •   charges made for Medically Necessary foot care for
below for:                                                                       diabetes, peripheral neuropathies, and peripheral vascular
•   preventive care services, and                                                disease.
•   services or supplies that are Medically Necessary for the                •   charges made for hearing aids and associate exam for device
    care and treatment of an Injury or a Sickness, as determined                 testing and fitting, including but not limited to semi-
    by Cigna.                                                                    implantable hearing devices, audient bone conductors and
                                                                                 Bone Anchored Hearing Aids (BAHAs). A hearing aid is
As determined by Cigna, Covered Expenses may also include
                                                                                 any device that amplifies and delivers speech and other
all charges made by an entity that has directly or indirectly
                                                                                 sounds at levels equivalent to that of normal speech and
contracted with Cigna to arrange, through contracts with
                                                                                 conversation.
providers of services and/or supplies, for the provision of any
services and/or supplies listed below.                                       •   charges made for screening prostate-specific antigen (PSA)
                                                                                 testing.
Any applicable Copayments, Deductibles or limits are
shown in The Schedule.                                                       •   charges made for laboratory services, radiation therapy and
                                                                                 other diagnostic and therapeutic radiological procedures.
Covered Expenses
                                                                             •   charges for men’s family planning, counseling, testing and
•   charges for inpatient Room and Board and other Necessary
                                                                                 sterilization (e.g. vasectomies), excluding reversals.
    Services and Supplies made by a Hospital, subject to the
    limits as shown in The Schedule.                                         •   charges made for or in connection with mammograms for
                                                                                 breast cancer screening or diagnostic purposes, including,
•   charges for inpatient Room and Board and other Necessary
                                                                                 but not limited to: a baseline mammogram for women ages
    Services and Supplies made by an Other Health Care
                                                                                 35 through 39; a mammogram for women ages 40 through
    Facility, including a Skilled Nursing Facility, a
                                                                                 49, every two years or more frequently based on the
    Rehabilitation Hospital or a subacute facility as shown in
                                                                                 attending Physician's recommendations; a mammogram
    The Schedule.
                                                                                 every year for women age 50 and over; and one or more
•   charges for licensed ambulance service to the nearest                        mammograms upon the recommendation of a Physician for
    Hospital where the needed medical care and treatment can                     any woman who is at risk for breast cancer due to her
    be provided.                                                                 family history; has biopsy proven benign breast disease; or
•   charges for outpatient medical care and treatment received                   has not given birth before age 30. A mammogram will be
    at a Hospital.                                                               covered with or without a Physician’s recommendation,



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    provided the mammogram is performed at an approved                       be available for a minimum of 48 hours of inpatient care
    facility for breast cancer screening.                                    following a vaginal delivery and a minimum of 96 hours of
•   charges made for preventive care services as defined by                  inpatient care following a cesarean section. Any decision to
    recommendations from the following:                                      shorten the period of inpatient care for the mother or the
                                                                             newborn must be made by the attending Physician in
    • the U.S. Preventive Services Task Force (A and B
                                                                             consultation with the mother. Post delivery care for a
      recommendations);                                                      mother and her newborn shall be covered. Post delivery care
    • the Advisory Committee on Immunization Practices                       includes: a postpartum assessment and newborn assessment,
      (ACIP) for immunizations;                                              which can be provided at the hospital, the attending
    • the American Academy of Pediatrics’ Periodicity                        Physician’s office, and outpatient maternity center or in the
      Schedule of the Bright Futures Recommendations for                     home by an Other Health Care Professional trained in
      Pediatric Preventive Health Care;                                      mother and newborn care. The services may include
                                                                             physical assessment of the newborn and mother, and the
    • the Uniform Panel of the Secretary’s Advisory Committee
                                                                             performance of any clinical tests and immunizations in
      on Heritable Disorders in Newborns and Children; and                   keeping with prevailing medical standards.
    • with respect to women, evidence-informed preventive
                                                                         •   charges for coverage for diagnosis and treatment of autism
      care and screening guidelines supported by the Health                  spectrum disorder to include autistic disorder, Asperger's
      Resources and Services Administration.                                 Syndrome and pervasive developmental disorder not
    Detailed information is available at www.healthcare.gov.                 otherwise specified, when prescribed by a treating
    For additional information on immunizations, visit the                   Physician. Treatment includes well-baby and well-child
    immunization schedule section of www.cdc.gov.                            screening for diagnosis and treatment through speech
•   charges made for diagnosis and Medically Necessary                       therapy, occupational therapy, physical therapy and applied
    surgical procedures to treat dysfunction of the                          behavior analysis.
    temporomandibular joint. Appliances and non-surgical                 •   charges for the treatment of Down syndrome through
    treatment including for orthodontia are not covered.                     speech therapy, occupational therapy, physical therapy and
•   charges for the treatment of cleft lip and cleft palate                  applied behavioral analysis. Includes habilitative and
    including medical, dental, speech therapy, audiology and                 rehabilitative services.
    nutrition services, when prescribed by a Physician.                  •   charges for or in connection with Medically Necessary
•   charges for general anesthesia and hospitalization services              diagnosis and treatment of osteoporosis for high risk
    for dental procedures for an individual who is under age 8               individuals. This includes, but is not limited to individuals
    and for whom it is determined by a licensed Dentist and the              who: have vertebral abnormalities; are receiving long-term
    child's Physician that treatment in a Hospital or ambulatory             glucocorticoid (steroid) therapy; have primary
    surgical center is necessary due to a significantly complex              hyperparathyroidism; have a family history of osteoporosis;
    dental condition or developmental disability in which                    and/or are estrogen-deficient individuals who are at clinical
    patient management in the dental office has proven to be                 risk for osteoporosis.
    ineffective; or has one or more medical conditions that              •   charges for or in connection with a bone marrow transplant
    would create significant or undue medical risk if the                    when recommended by a Physician and deemed acceptable
    procedure were not rendered in a Hospital or ambulatory                  by the appropriate oncological specialty. This treatment
    surgical center.                                                         cannot be considered experimental under the rules of the
•   charges for the services of certified nurse-midwives,                    Secretary of Health and Rehabilitative Services. Please call
    licensed midwives, and licensed birth centers regardless of              your Claims Office prior to receiving any treatment in order
    whether or not such services are received in a home birth                to determine your benefits.
    setting.                                                             •   charges for an inpatient Hospital stay following a
•   charges made for medical, surgical and Hospital care during              mastectomy will be covered for a period determined to be
    the term of pregnancy, upon delivery and during the                      Medically Necessary by the Physician and in consultation
    postpartum period for normal delivery, spontaneous                       with the patient. Postsurgical follow-up care may be
    abortion (miscarriage) and complications of pregnancy.                   provided at the Hospital, Physician's office, outpatient
    Services provided to you by a certified nurse-midwife or a               center, or at the home of the patient.
    licensed midwife, in a home setting or in a licensed birthing        •   charges for newborn and infant hearing screening as well as
    center. Coverage for a mother and her newborn child shall                any medically necessary follow-up evaluations leading to


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    diagnosis and subsequent medically necessary treatment of            Enteral Nutrition
    a diagnosed hearing impairment.                                      Enteral Nutrition means medical foods that are specially
•   Medically Necessary orthognathic surgery to repair or                formulated for enteral feedings or oral consumption.
    correct a severe facial deformity or disfigurement.                  Coverage includes medically approved formulas prescribed by
•   charges made for contraceptives, other than oral                     a Physician for treatment of inborn errors of metabolism (e.g.,
    contraceptives. Refer to the Prescription Drug Benefits              disorders of amino acid or organic acid metabolism).
    section for information regarding coverage on oral                   Internal Prosthetic/Medical Appliances
    contraceptives.
                                                                         Charges for internal prosthetic/medical appliances that
•   charges for the coverage of child health supervision services        provide permanent or temporary internal functional supports
    from birth to age 16. Child health supervision services are          for nonfunctional body parts are covered. Medically
    physician-delivered or supervised services that include              Necessary repair, maintenance or replacement of a covered
    periodic visits which include a history, physical                    appliance is also covered.
    examination, developmental assessment, anticipatory
    guidance, appropriate immunizations and laboratory tests.
                                                                         HC-COV1345 M                                                  01-24
•   charges for acupuncture.
Convenience Care Clinic
                                                                         Obesity Treatment
Convenience Care Clinics provide for common ailments and
routine services, including but not limited to, strep throat, ear        •   charges made for medical and surgical services only at
infections or pink eye, immunizations and flu shots.                         approved centers for the treatment or control of clinically
                                                                             severe (morbid) obesity as defined below and if the services
Virtual Care: Medical
                                                                             are demonstrated, through existing peer reviewed, evidence
Dedicated Virtual Providers                                                  based, scientific literature and scientifically based
Includes charges for the delivery of real-time medical and                   guidelines, to be safe and effective for the treatment or
health-related services, consultations, and remote monitoring                control of the condition. Clinically severe (morbid) obesity
by dedicated virtual providers as medically appropriate                      is defined by the National Heart, Lung and Blood Institute
through audio, video, and secure internet-based technologies.                (NHLBI) as a Body Mass Index (BMI) of 40 or greater
Includes charges for the delivery of mental health and                       without comorbidities, or a BMI of 35-39 with
substance use disorder-related services, consultations, and                  comorbidities. The following items are specifically
remote monitoring by dedicated virtual providers as                          excluded:
appropriate through audio, video and secure internet-based                   • medical and surgical services to alter appearances or
technologies.                                                                  physical changes that are the result of any medical or
Virtual Physician Services                                                     surgical services performed for the treatment or control of
                                                                               obesity or clinically severe (morbid) obesity; and
Includes charges for the delivery of real-time medical and
                                                                             • weight loss programs or treatments, whether or not they
health-related services, consultations, and remote monitoring
as medically appropriate through audio, video, and secure                      are prescribed or recommended by a Physician or under
internet-based technologies that are similar to office visit                   medical supervision.
services provided in a face-to-face setting.
Includes charges for the delivery of real-time mental health             HC-COV2                                                       04-10

and substance use disorder consultations and services, via                                                                               V1

secure telecommunications technologies that shall include
video capability, telephone and internet, when such                      Home Health Care Services
consultations and services are delivered by a behavioral
provider and are similar to office visit services provided in a          Charges for skilled care provided by certain health care
face-to-face setting.                                                    providers during a visit to the home, when the home is
                                                                         determined to be a medically appropriate setting for the
Nutritional Counseling                                                   services. A visit is defined as a period of 2 hours or less.
Charges for counseling when diet is a part of the medical                Home Health Care Services are subject to a maximum of 16
management of a medical or behavioral condition.                         hours in total per day.



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Home Health Care Services are covered when skilled care is                    Services provided by a Hospice Care Program are available to
required under any of the following conditions:                               those who have ceased treatment and to those continuing to
•   the required skilled care cannot be obtained in an outpatient             receive curative treatment and therapies.
    facility.                                                                 A Hospice Care Program rendered by a Hospice Facility or
•   confinement in a Hospital or Other Health Care Facility is                Hospital includes services:
    not required.                                                             •   by a Hospice Facility for Room and Board and Services and
•   the patient’s home is determined by Cigna to be the most                      Supplies;
    medically appropriate place to receive specific services.                 •   by a Hospice Facility for services provided on an outpatient
Covered services include:                                                         basis;
•   skilled nursing services provided by a Registered Nurse                   •   by a Physician for professional services;
    (RN); Licensed Practical Nurse (LPN); Licensed Vocational                 •   by a Psychologist, social worker, family counselor or
    Nurse (LVN) and an Advanced Practice Registered Nurse                         ordained minister for individual and family counseling;
    (APRN).                                                                   •   for pain relief treatment, including drugs, medicines and
•   services provided by health care providers such as a                          medical supplies.
    physical therapist; occupational therapist or speech                      A Hospice Care Program rendered by an Other Health Care
    therapist.                                                                Facility or in the Home includes services:
•   services of a home health aide when provided in direct                    •   part-time or intermittent nursing care by or under the
    support of those Nurses and health care providers.                            supervision of a Nurse;
•   necessary consumable medical supplies and home infusion                   •   part-time or intermittent services of an Other Health
    therapy administered or used by a health care provider.                       Professional;
Note: Physical, occupational, and other Outpatient Therapy                    •   physical, occupational and speech therapy;
Services provided in the home are covered under the
Outpatient Therapy Services benefit shown in The Schedule.                    •   medical supplies;
The following are excluded from coverage:                                     •   drugs and medicines lawfully dispensed only on the written
                                                                                  prescription of a Physician;
•   services provided by a person who is a member of the
    patient’s family, even when that person is a health care                  •   laboratory services;
    provider.                                                                 but only to the extent such charges would have been payable
•   services provided by a person who normally resides in the                 under the policy if the person had remained or been Confined
    patient’s house, even when that person is a health care                   in a Hospital or Hospice Facility.
    provider.                                                                 The following charges for Hospice Care Services are not
•   non-skilled care, Custodial Services, and assistance in the               included as Covered Expenses:
    activities of daily living, including but not limited to eating,          •   services of a person who is a member of your family or your
    bathing, dressing or other services; self-care activities;                    Dependent's family or who normally resides in your house
    homemaker services; and services primarily for rest,                          or your Dependent's house;
    domiciliary or convalescent care.                                         •   services for any period when you or your Dependent is not
Home Health Care Services, for a patient who is dependent                         under the care of a Physician;
upon others for non-skilled care and/or Custodial Services, is                •   services or supplies not listed in the Hospice Care Program;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                   •   to the extent that any other benefits are payable for those
provide the non-skilled care and/or Custodial Services.                           expenses under the policy;
                                                                              •   services or supplies that are primarily to aid you or your
                                                                                  Dependent in daily living.
HC-COV1007                                                       01-21


                                                                              HC-COV1185                                                        01-22
Hospice Care Services
Charges for services for a person diagnosed with advanced
Illness (having a life expectancy of twelve or fewer months).


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Mental Health and Substance Use Disorder Services                      homicidal threats or acts; eating disorders; or acute
Mental Health Services are services that are required to treat         exacerbation of chronic Mental Health conditions (crisis
a disorder that impairs the behavior, emotional reaction or            intervention and relapse prevention) and outpatient testing and
thought processes. In determining benefits payable, charges            assessment.
made for the treatment of any physiological conditions related         Mental Health Partial Hospitalization Services are rendered
to Mental Health will not be considered to be charges made             not less than 4 hours and not more than 12 hours in any 24-
for treatment of Mental Health.                                        hour period by a certified/licensed Mental Health program in
Substance Use Disorder is defined as the psychological or              accordance with the laws of the appropriate legally authorized
physical dependence on alcohol or other mind-altering drugs            agency.
that requires diagnosis, care, and treatment. In determining           A Mental Health Intensive Outpatient Therapy Program
benefits payable, charges made for the treatment of any                consists of distinct levels or phases of treatment that are
physiological conditions related to rehabilitation services for        provided by a certified/licensed Mental Health program in
alcohol or drug abuse or addiction will not be considered to be        accordance with the laws of the appropriate, legally authorized
charges made for treatment of Substance Use Disorder.                  agency. Intensive Outpatient Therapy Programs provide a
Inpatient Mental Health Services                                       combination of individual, family and/or group therapy in a
                                                                       day, totaling nine or more hours in a week.
Services that are provided by a Hospital while you or your
Dependent is Confined in a Hospital for the treatment and              Inpatient Substance Use Disorder Rehabilitation Services
evaluation of Mental Health. Inpatient Mental Health Services          Services provided for rehabilitation, while you or your
include Mental Health Residential Treatment Services.                  Dependent is Confined in a Hospital, when required for the
Mental Health Residential Treatment Services are services              diagnosis and treatment of abuse or addiction to alcohol and/or
provided by a Hospital for the evaluation and treatment of the         drugs. Inpatient Substance Use Disorder Services include
psychological and social functional disturbances that are a            Residential Treatment services.
result of subacute Mental Health conditions.                           Substance Use Disorder Residential Treatment Services
Mental Health Residential Treatment Center means an                    are services provided by a Hospital for the evaluation and
institution which specializes in the treatment of psychological        treatment of the psychological and social functional
and social disturbances that are the result of Mental Health           disturbances that are a result of subacute Substance Use
conditions; provides a subacute, structured, psychotherapeutic         Disorder conditions.
treatment program, under the supervision of Physicians;                Substance Use Disorder Residential Treatment Center
provides 24-hour care, in which a person lives in an open              means an institution which specializes in the treatment of
setting; and is licensed in accordance with the laws of the            psychological and social disturbances that are the result of
appropriate legally authorized agency as a residential                 Substance Use Disorder; provides a subacute, structured,
treatment center.                                                      psychotherapeutic treatment program, under the supervision of
A person is considered confined in a Mental Health                     Physicians; provides 24-hour care, in which a person lives in
Residential Treatment Center when she/he is a registered bed           an open setting; and is licensed in accordance with the laws of
patient in a Mental Health Residential Treatment Center upon           the appropriate legally authorized agency as a residential
the recommendation of a Physician.                                     treatment center.
Outpatient Mental Health Services                                      A person is considered confined in a Substance Use Disorder
                                                                       Residential Treatment Center when she/he is a registered bed
Services of Providers who are qualified to treat Mental Health         patient in a Substance Use Disorder Residential Treatment
when treatment is provided on an outpatient basis, while you           Center upon the recommendation of a Physician.
or your Dependent is not Confined in a Hospital, and is
provided in an individual, group or Mental Health Partial              Outpatient Substance Use Disorder Rehabilitation Services
Hospitalization or Intensive Outpatient Therapy Program.               Services provided for the diagnosis and treatment of
Covered services include, but are not limited to, outpatient           Substance Use Disorder or addiction to alcohol and/or drugs,
treatment of conditions such as: anxiety or depression which           while you or your Dependent is not Confined in a Hospital,
interfere with daily functioning; emotional adjustment or              including outpatient rehabilitation in an individual, or a
concerns related to chronic conditions, such as psychosis or           Substance Use Disorder Partial Hospitalization or Intensive
depression; emotional reactions associated with marital                Outpatient Therapy Program.
problems or divorce; child/adolescent problems of conduct or
poor impulse control; affective disorders; suicidal or


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Substance Use Disorder Partial Hospitalization Services are                   Durable Medical Equipment is defined as items which are
rendered no less than 4 hours and not more than 12 hours in                   designed for and able to withstand repeated use by more than
any 24-hour period by a certified/licensed Substance Use                      one person; customarily serve a medical purpose; generally
Disorder program in accordance with the laws of the                           are not useful in the absence of Injury or Sickness; are
appropriate legally authorized agency.                                        appropriate for use in the home; and are not disposable. Such
A Substance Use Disorder Intensive Outpatient Therapy                         equipment includes, but is not limited to, crutches, hospital
Program consists of distinct levels or phases of treatment that               beds, ventilators, insulin pumps and wheel chairs.
are provided by a certified/licensed Substance Use Disorder                   Durable Medical Equipment items that are not covered include
program in accordance with the laws of the appropriate legally                but are not limited to those that are listed below:
authorized agency. Intensive Outpatient Therapy Programs                      •   Bed Related Items: bed trays, over the bed tables, bed
provide a combination of individual, family and/or group                          wedges, pillows, custom bedroom equipment, mattresses,
therapy in a day, totaling nine, or more hours in a week.                         including non-power mattresses, custom mattresses and
Substance Use Disorder Detoxification Services                                    posturepedic mattresses.
Detoxification and related medical ancillary services are                     •   Bath Related Items: bath lifts, non-portable whirlpools,
provided when required for the diagnosis and treatment of                         bathtub rails, toilet rails, raised toilet seats, bath benches,
addiction to alcohol and/or drugs. Cigna will decide, based on                    bath stools, hand held showers, paraffin baths, bath mats,
the Medical Necessity of each situation, whether such services                    and spas.
will be provided in an inpatient or outpatient setting.                       •   Fixtures to Real Property: ceiling lifts and wheelchair
Exclusions                                                                        ramps.
The following are specifically excluded from Mental Health                    •   Car/Van Modifications.
and Substance Use Disorder Services:                                          •   Air Quality Items: room humidifiers, vaporizers and air
•   counseling for activities of an educational nature.                           purifiers.
•   counseling for borderline intellectual functioning.                       •   Other Equipment: centrifuges, needleless injectors, heat
•   counseling for occupational problems.                                         lamps, heating pads, cryounits, cryotherapy machines,
                                                                                  ultraviolet cabinets that emit Ultraviolet A (UVA) rays,
•   counseling related to consciousness raising.                                  sheepskin pads and boots, postural drainage board, AC/DC
•   vocational or religious counseling.                                           adaptors, scales (baby and adult), stair gliders, elevators,
•   I.Q. testing.                                                                 saunas, cervical and lumbar traction devices, exercise
                                                                                  equipment and diathermy machines.
•   custodial care, including but not limited to geriatric day
    care.
•   psychological testing on children requested by or for a                   HC-COV1008                                                        01-21

    school system.
•   occupational/recreational therapy programs even if                        External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                •   charges made or ordered by a Physician for: the initial
    decline.                                                                      purchase and fitting of external prosthetic appliances and
                                                                                  devices available only by prescription which are necessary
HC-COV481V6                                                      12-15
                                                                                  for the alleviation or correction of Injury, Sickness or
                                                                                  congenital defect.
                                                                              External prosthetic appliances and devices include
Durable Medical Equipment                                                     prostheses/prosthetic appliances and devices; orthoses and
•   charges made for purchase or rental of Durable Medical                    orthotic devices; braces; and splints.
    Equipment that is ordered or prescribed by a Physician and
    provided by a vendor approved by Cigna for use outside a
    Hospital or Other Health Care Facility. Coverage for repair,
    replacement or duplicate equipment is provided only when
    required due to anatomical change and/or reasonable wear
    and tear. All maintenance and repairs that result from a
    person’s misuse are the person’s responsibility.


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Prostheses/Prosthetic Appliances and Devices                             •   orthosis shoes, shoe additions, procedures for foot
Prostheses/prosthetic appliances and devices are defined as                  orthopedic shoes, shoe modifications and transfers;
fabricated replacements for missing body parts.                          •   non-foot orthoses primarily used for cosmetic rather than
Prostheses/prosthetic appliances and devices include, but are                functional reasons; and
not limited to:                                                          •   non-foot orthoses primarily for improved athletic
•   limb prostheses;                                                         performance or sports participation.
•   terminal devices such as hands or hooks;                             Braces
•   speech prostheses; and                                               A Brace is defined as an orthosis or orthopedic appliance that
•   facial prostheses.                                                   supports or holds in correct position any movable part of the
                                                                         body and that allows for motion of that part.
Orthoses and Orthotic Devices
                                                                         The following braces are specifically excluded: Copes
Orthoses and orthotic devices are defined as orthopedic                  scoliosis braces.
appliances or apparatuses used to support, align, prevent or
correct deformities. Coverage is provided for custom foot                Splints
orthoses and other orthoses as follows:                                  A Splint is defined as an appliance for preventing movement
•   Non-foot orthoses – only the following non-foot orthoses             of a joint or for the fixation of displaced or movable parts.
    are covered:                                                         Coverage for replacement of external prosthetic appliances
    • rigid and semi-rigid custom fabricated orthoses;                   and devices is limited to the following:
    • semi-rigid prefabricated and flexible orthoses; and                •   replacement due to regular wear. Replacement for damage
                                                                             due to abuse or misuse by the person will not be covered.
    • rigid prefabricated orthoses including preparation, fitting
      and basic additions, such as bars and joints.                      •   replacement required because anatomic change has rendered
                                                                             the external prosthetic appliance or device ineffective.
•   Custom foot orthoses – custom foot orthoses are only                     Anatomic change includes significant weight gain or loss,
    covered as follows:                                                      atrophy and/or growth.
    • for persons with impaired peripheral sensation and/or
                                                                         •   replacement due to a surgical alteration or revision of the
      altered peripheral circulation (e.g. diabetic neuropathy               impacted site.
      and peripheral vascular disease);
                                                                         Coverage for replacement is limited as follows:
    • when the foot orthosis is an integral part of a leg brace
      and is necessary for the proper functioning of the brace;          •   no more than once every 24 months for persons 19 years of
                                                                             age and older.
    • when the foot orthosis is for use as a replacement or
      substitute for missing parts of the foot (e.g. amputated           •   no more than once every 12 months for persons 18 years of
      toes) and is necessary for the alleviation or correction of            age and under.
      Injury, Sickness or congenital defect; and                         The following are specifically excluded external prosthetic
    • for persons with neurologic or neuromuscular condition             appliances and devices:
      (e.g. cerebral palsy, hemiplegia, spina bifida) producing          •   external and internal power enhancements for external
      spasticity, malalignment, or pathological positioning of               prosthetic devices;
      the foot and there is reasonable expectation of                    •   microprocessor controlled prostheses and orthoses; and
      improvement.
                                                                         •   myoelectric prostheses and orthoses.
The following are specifically excluded orthoses and orthotic
devices:
                                                                         HC-COV1009                                                        01-21
•   prefabricated foot orthoses;
•   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for            Infertility Services
    synostotic plagiocephaly. When used for this indication, the         •   charges made for services related to diagnosis of infertility
    cranial orthosis will be subject to the limitations and                  and treatment of infertility once a condition of infertility has
    maximums of the External Prosthetic Appliances and                       been diagnosed. Services include, but are not limited to:
    Devices benefit;                                                         infertility drugs which are administered or provided by a



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    Physician; approved surgeries and other therapeutic                      Cardiac Rehabilitation
    procedures that have been demonstrated in existing peer-                 •   Charges for Phase II cardiac rehabilitation provided on an
    reviewed, evidence-based, scientific literature to have a                    outpatient basis following diagnosis of a qualifying cardiac
    reasonable likelihood of resulting in pregnancy; laboratory                  condition when Medically Necessary. Phase II is a Hospital-
    tests; sperm washing or preparation; artificial insemination;                based outpatient program following an inpatient Hospital
    diagnostic evaluations; gamete intrafallopian transfer                       discharge. The Phase II program must be Physician directed
    (GIFT); in vitro fertilization (IVF); zygote intrafallopian                  with active treatment and EKG monitoring.
    transfer (ZIFT); and the services of an embryologist.
                                                                                 Phase III and Phase IV cardiac rehabilitation are not
    Infertility is defined as:                                                   covered. Phase III follows Phase II and is generally
    • the inability of opposite-sex partners to achieve                          conducted at a recreational facility primarily to maintain the
      conception after at least one year of unprotected                          patient's status achieved through Phases I and II. Phase IV is
      intercourse;                                                               an advancement of Phase III which includes more active
    • the inability of opposite-sex partners to achieve                          participation and weight training.
      conception after six months of unprotected intercourse,                Spinal Manipulation Services
      when the female partner trying to conceive is age 35 or                •   Charges for diagnostic and treatment services utilized in an
      older;                                                                     office setting by spinal manipulation Physicians. Spinal
    • the inability of a woman, with or without an opposite-sex                  manipulation treatment includes the conservative
      partner, to achieve conception after at least six trials of                management of acute neuromusculoskeletal conditions
      medically supervised artificial insemination over a one-                   through manipulation and ancillary physiological treatment
      year period; and                                                           rendered to specific joints to restore motion, reduce pain,
    • the inability of a woman, with or without an opposite-sex                  and improve function. For these services you have direct
      partner, to achieve conception after at least three trials of              access to qualified spinal manipulation Physicians.
      medically supervised artificial insemination over a six-               Coverage is provided when Medically Necessary in the most
      month period of time, when the female partner trying to                medically appropriate setting to:
      conceive is age 35 or older.                                           •   Restore function (called rehabilitative):
This benefit includes diagnosis and treatment of both male and                   • To restore function that has been impaired or lost.
female infertility.
                                                                                 • To reduce pain as a result of Sickness, Injury, or loss of a
However, the following are specifically excluded infertility                       body part.
services:
                                                                             •   Improve, adapt or attain function (sometimes called
•   reversal of male and female voluntary sterilization;                         habilitative):
•   infertility services when the infertility is caused by or                    • To improve, adapt or attain function that has been
    related to voluntary sterilization;                                            impaired or was never achieved as a result of congenital
•   donor charges and services;                                                    abnormality (birth defect).
•   cryopreservation of donor sperm and eggs; and                                • To improve, adapt or attain function that has been
•   any experimental, investigational or unproven infertility                      impaired or was never achieved because of mental health
    procedures or therapies.                                                       and substance use disorder conditions. Includes
                                                                                   conditions such as autism and intellectual disability, or
                                                                                   mental health and substance use disorder conditions that
HC-COV734                                                       01-19              result in a developmental delay.
                                                                             Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                  the following criteria are met:
Charges for the following therapy services when provided as                  •   The individual’s condition has the potential to improve or is
part of a program of treatment: Cognitive Therapy,                               improving in response to therapy, and maximum
Occupational Therapy, Osteopathic Manipulation,                                  improvement is yet to be attained.
Physical Therapy, Pulmonary Rehabilitation, Speech                           •   There is an expectation that the anticipated improvement is
Therapy                                                                          attainable in a reasonable and generally predictable period
                                                                                 of time.


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•   The therapy is provided by, or under the direct supervision                improvement as determined by the utilization review
    of, a licensed health care professional acting within the                  Physician.
    scope of the license.
•   The therapy is Medically Necessary and medically                       HC-COV631                                                      12-17
    appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for
                                                                           Transplant Services and Related Specialty Care
purposes of enabling individuals to perform the activities of
daily living after an Injury or Sickness.                                  Charges made for human organ and tissue transplant services
                                                                           which include solid organ and bone marrow/stem cell
Therapy services that are not covered include:
                                                                           procedures at designated facilities throughout the United
•   sensory integration therapy,                                           States or its territories. This coverage is subject to the
•   treatment of dyslexia,                                                 following conditions and limitations.
•   maintenance or preventive treatment provided to prevent                Transplant services include the recipient’s medical, surgical
    recurrence or to maintain the patient’s current status,                and Hospital services; inpatient immunosuppressive
•   charges for Spinal Manipulation Care not provided in an                medications; and costs for organ or bone marrow/stem cell
    office setting,                                                        procurement. Transplant services are covered only if they are
                                                                           required to perform any of the following human to human
•   vitamin therapy.                                                       organ or tissue transplants: allogeneic bone marrow/stem cell,
Coverage is administered according to the following:                       autologous bone marrow/stem cell, cornea, heart, heart/lung,
•   Multiple therapy services provided on the same day                     kidney, kidney/pancreas, liver, lung, pancreas or intestine
    constitute one day of service for each therapy type.                   which includes small bowel-liver or multi-visceral.
                                                                           Implantation procedures for artificial heart, percutaneous
                                                                           ventricular assist device (PVAD), extracorporeal membrane
HC-COV1101                                                    03-21        oxygenation (ECMO), ventricular assist device (VAD), and
                                                                           intra-aortic balloon pump (IABP) are also covered.
Breast Reconstruction and Breast Prostheses                                •   All transplant services and related specialty care services,
                                                                               other than cornea transplants, are covered when received at
•   charges made for reconstructive surgery following a
                                                                               Cigna LifeSOURCE Transplant Network® facilities.
    mastectomy; benefits include: surgical services for
    reconstruction of the breast on which surgery was                      •   Transplant services and related specialty care services
    performed; surgical services for reconstruction of the non-                received at Participating Provider facilities specifically
    diseased breast to produce symmetrical appearance;                         contracted with Cigna for those transplant services and
    postoperative breast prostheses; and mastectomy bras and                   related specialty care services, other than Cigna
    prosthetics, limited to the lowest cost alternative available              LifeSOURCE Transplant Network® facilities, are payable
    that meets prosthetic placement needs. During all stages of                at the In-Network level.
    mastectomy, treatment of physical complications, including             •   Transplant services and related specialty care services
    lymphedema therapy, are covered.                                           received at any other facility, including non-Participating
Reconstructive Surgery                                                         Provider facilities and Participating Provider facilities not
                                                                               specifically contracted with Cigna for transplant services
•   charges made for reconstructive surgery or therapy to repair
                                                                               and related specialty care services, are covered at the Out-
    or correct a severe physical deformity or disfigurement
                                                                               of-Network level.
    which is accompanied by functional deficit; (other than
    abnormalities of the jaw or conditions related to TMJ                  •   Cornea transplants received at a facility that is specifically
    disorder) provided that: the surgery or therapy restores or                contracted with Cigna for this type of transplant are payable
    improves function; reconstruction is required as a result of               at the In-Network level.
    Medically Necessary, non-cosmetic surgery; or the surgery              Coverage for organ procurement costs are limited to costs
    or therapy is performed prior to age 19 and is required as a           directly related to the procurement of an organ, from a cadaver
    result of the congenital absence or agenesis (lack of                  or a live donor. Organ procurement costs shall consist of
    formation or development) of a body part. Repeat or                    hospitalization and surgery necessary for removal of an organ
    subsequent surgeries for the same condition are covered                and transportation of a live donor (refer to Transplant and
    only when there is the probability of significant additional           Related Specialty Care Travel Services). Compatibility testing


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undertaken prior to procurement is covered if Medically                  donor for an organ/tissue transplant; the transplant recipient’s
Necessary. Costs related to the search for, and identification of        plan would cover all donor costs.
a bone marrow or stem cell donor for an allogeneic transplant
are also covered.
                                                                         HC-COV1325                                                     01-24
Transplant and Related Specialty Care Travel Services
Charges made for non-taxable travel expenses incurred by you
                                                                         Advanced Cellular Therapy
in connection with a pre-approved organ/tissue transplant are
covered subject to the following conditions and limitations:             Charges for advanced cellular therapy products and services
                                                                         directly related to their administration are covered when
•   Transplant and related specialty care travel benefits are not
                                                                         Medically Necessary. Coverage includes the cost of the
    available for cornea transplants.
                                                                         advanced cellular therapy product; medical, surgical, and
•   Benefits for transportation and lodging are available to the         facility services directly related to administration of the
    recipient of a pre-approved organ/tissue transplant and/or           advanced cellular therapy product, and professional services.
    related specialty care from a designated Cigna
                                                                         Cigna determines which U.S. Food and Drug Administration
    LifeSOURCE Transplant Network® facility.
                                                                         (FDA) approved products are in the category of advanced
•   The term recipient is defined to include a person receiving          cellular therapy, based on the nature of the treatment and how
    authorized transplant related services during any of the             it is manufactured, distributed and administered. An example
    following: evaluation, candidacy, transplant event, or post-         of advanced cellular therapy is chimeric antigen receptor
    transplant care.                                                     (CAR) T-cell therapy that redirects a person’s T cells to
•   Travel expenses for the person receiving the transplant will         recognize and kill a specific type of cancer cell.
    include charges for: transportation to and from the                  Advanced cellular therapy products and their administration
    designated Cigna LifeSOURCE Transplant Network®                      are covered at the in-network benefit level when prior
    facility (including charges for a rental car used during a           authorized to be received at a provider contracted with Cigna
    period of care at the Cigna designated LifeSOURCE                    for the specific advanced cellular therapy product and related
    Transplant Network® facility); and lodging while at, or              services. Advanced cellular therapy products and their
    traveling to and from the Cigna LifeSOURCE Transplant                administration received from a provider that is not contracted
    Network® facility.                                                   with Cigna for the specific advanced cellular therapy product
•   In addition to your coverage for the charges associated with         and related services are covered at the out-of-network benefit
    the items above, such charges will also be considered                level when prior authorized.
    covered travel expenses for one companion to accompany               Advanced Cellular Therapy Travel Services
    you. The term companion includes your spouse, a member
                                                                         Charges made for non-taxable travel expenses incurred by you
    of your family, your legal guardian, or any person not
                                                                         in connection with a prior authorized advanced cellular
    related to you, but actively involved as your caregiver who
                                                                         therapy product are covered, subject to the following
    is at least 18 years of age.
                                                                         conditions and limitations.
•   The following are specifically excluded travel expenses: any
                                                                         Benefits for transportation and lodging are available to you
    expenses that if reimbursed would be taxable income; travel
                                                                         only when:
    costs incurred due to travel within 60 miles of your home;
    food and meals; laundry bills; telephone bills; alcohol or           •   you are the recipient of a prior authorized advanced cellular
    tobacco products; and charges for transportation that exceed             therapy product;
    coach class rates.                                                   •   the term recipient is defined to include a person receiving
These benefits for Transplant Services and Related Specialty                 prior authorized advanced cellular therapy related services
Care, and for Transplant and Related Specialty Care Travel                   during any of the following: evaluation, candidacy, event, or
Services are only available when the covered person is the                   post care;
recipient of an organ/tissue transplant. Travel expenses for the         •   the advanced cellular therapy products and services directly
designated live donor for a covered recipient are covered                    related to their administration are received at a provider
subject to the same conditions and limitations noted above.                  contracted with Cigna for the specific advanced cellular
Charges for the expenses of a donor companion are not                        therapy product and related services; and
covered. No transplant and related specialty care services or            •   the provider is not available within a 60 mile radius of your
travel benefits are available when the covered person is the                 primary home residence.



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Travel expenses for the person receiving the advanced cellular              The coverage criteria for a Medical Pharmaceutical may
therapy include charges for: transportation to and from the                 change periodically for various reasons. For example, a
advanced cellular therapy site (including charges for a rental              Medical Pharmaceutical may be removed from the market, a
car used during a period of care at the facility); and lodging              new Medical Pharmaceutical in the same therapeutic class as a
while at, or traveling to and from, the site.                               Medical Pharmaceutical may become available, or other
In addition to your coverage for the charges associated with                market events may occur. Market events that may affect the
the items above, such charges will also be considered covered               coverage status of a Medical Pharmaceutical include, but are
travel expenses for one companion to accompany you. The                     not limited to, an increase in the cost of a Medical
term companion includes your spouse, a member of your                       Pharmaceutical.
family, your legal guardian, or any person not related to you,              Certain Medical Pharmaceuticals that are used for treatment of
but actively involved as your caregiver who is at least 18 years            complex chronic conditions, are high cost, and are
of age.                                                                     administered and handled in a specialized manner may be
The following are specifically excluded travel expenses: any                subject to additional coverage criteria or require
expenses that if reimbursed would be taxable income, travel                 administration by a participating provider in the network for
costs incurred due to travel within 60 mile radius of your                  the Cigna Pathwell Specialty Network. Cigna determines
primary home residence; food and meals; laundry bills;                      which injections, infusions, and implantable drugs are subject
telephone bills; alcohol or tobacco products; and charges for               to these criteria and requirements.
transportation that exceed coach class rates.                               The Cigna Pathwell Specialty Network includes but is not
                                                                            limited to contracted physician offices, ambulatory infusion
                                                                            centers, home and outpatient hospital infusion centers, and
HC-COV1326                                                     01-24
                                                                            contracted specialty pharmacies. When the Cigna Pathwell
                                                                            Specialty Network cannot meet the clinical needs of the
Medical Pharmaceuticals                                                     customer as determined by Cigna, exceptions are considered
                                                                            and approved when appropriate.
The plan covers charges made for Medical Pharmaceuticals
that may be administered in an Inpatient setting, Outpatient                A complete list of those Medical Pharmaceuticals subject to
setting, Physician’s office, or in a covered person's home.                 additional coverage criteria or that require administration by a
                                                                            participating provider in the Cigna Pathwell Specialty
Benefits under this section are provided only for Medical
                                                                            Network is available at www.cigna.com/PathwellSpecialty.
Pharmaceuticals that, because of their characteristics as
determined by Cigna, require a qualified licensed health care               The following are not covered under the plan, including but
professional to administer or directly supervise administration.            not limited to:
Certain Medical Pharmaceuticals are subject to prior                        •   Medical Pharmaceutical regimens that have a Therapeutic
authorization requirements or other coverage conditions.                        Equivalent or Therapeutic Alternative to another covered
Additionally, certain Medical Pharmaceuticals are subject to                    Prescription Drug Product(s);
step therapy requirements. This means that in order to receive              •   Medical Pharmaceuticals newly approved by the Food &
coverage, the covered person may be required to try a specific                  Drug Administration (FDA) up to the first 180 days
Medical Pharmaceutical before trying others. Medical                            following its market launch;
Pharmaceuticals administered in an Inpatient facility are
                                                                            •   Medical Pharmaceutical regimens for which there is an
reviewed per Inpatient review guidelines.
                                                                                appropriate lower cost alternative for treatment.
Cigna determines the utilization management requirements
                                                                            In the event a covered Medical Pharmaceutical is not clinically
and other coverage conditions that apply to a Medical
                                                                            appropriate, Cigna makes available an exception process to
Pharmaceutical by considering a number of factors, including,
                                                                            allow for access to non-covered drugs when Medically
but not limited to:
                                                                            Necessary.
•   Clinical factors, which may include but are not limited to
    Cigna’s evaluations of the site of care and the relative safety
    or relative efficacy of Medical Pharmaceuticals.
•   Economic factors, which may include but are not limited to
    the cost of the Medical Pharmaceutical and assessments of
    cost effectiveness after rebates.



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Cigna may consider certain Medical Pharmaceutical regimens                  therapy related services during any of the following:
as preferred when they are clinically effective treatments and              evaluation, candidacy, event, or post care.
the most cost effective. Preferred regimens are covered unless              Travel expenses for the person receiving the gene therapy
the covered person is not a candidate for the regimen and a                 include charges for: transportation to and from the gene
Medical Necessity coverage exception is obtained.                           therapy site (including charges for a rental car used during a
                                                                            period of care at the facility); and lodging while at, or
HC-COV1186                                                     01-23
                                                                            traveling to and from, the site.
                                                                            In addition to your coverage for the charges associated with
                                                                            the items above, such charges will also be considered covered
Gene Therapy
                                                                            travel expenses for one companion to accompany you. The
Charges for gene therapy products and services directly                     term companion includes your spouse, a member of your
related to their administration are covered when Medically                  family, your legal guardian, or any person not related to you,
Necessary. Gene therapy is a category of pharmaceutical                     but actively involved as your caregiver who is at least 18 years
products approved by the U.S. Food and Drug Administration                  of age.
(FDA) to treat or cure a disease by:
                                                                            The following are specifically excluded travel expenses: any
•   replacing a disease-causing gene with a healthy copy of the             expenses that if reimbursed would be taxable income, travel
    gene.                                                                   costs incurred due to travel within 60 miles of your home;
•   inactivating a disease-causing gene that may not be                     food and meals; laundry bills; telephone bills; alcohol or
    functioning properly.                                                   tobacco products; and charges for transportation that exceed
                                                                            coach class rates.
•   introducing a new or modified gene into the body to help
    treat a disease.
Each gene therapy product is specific to a particular disease               HC-COV886                                                       01-20

and is administered in a specialized manner. Cigna determines
which products are in the category of gene therapy, based in                Clinical Trials
part on the nature of the treatment and how it is distributed
and administered.                                                           This plan covers routine patient care costs and services related
                                                                            to an approved clinical trial for a qualified individual. The
Coverage includes the cost of the gene therapy product;                     individual must be eligible to participate according to the trial
medical, surgical, and facility services directly related to                protocol and either of the following conditions must be met:
administration of the gene therapy product; and professional
services.                                                                   •   the referring health care professional is a participating
                                                                                health care provider and has concluded that the individual’s
Gene therapy products and their administration are covered                      participation in such trial would be appropriate; or
when prior authorized to be received at In-Network facilities
specifically contracted with Cigna for the specific gene                    •   the individual provides medical and scientific information
therapy service. Gene therapy products and their                                establishing that the individual’s participation in the clinical
administration received at other facilities are not covered.                    trial would be appropriate.
Gene Therapy Travel Services                                                In addition to qualifying as an individual, the clinical trial
                                                                            must also meet certain criteria in order for patient care costs
Charges made for non-taxable travel expenses incurred by you                and services to be covered.
in connection with a prior authorized gene therapy procedure
are covered subject to the following conditions and                         The clinical trial must be a phase I, phase II, phase III, or
limitations.                                                                phase IV clinical trial conducted in relation to the prevention,
                                                                            detection, or treatment of cancer or other life-threatening
Benefits for transportation and lodging are available to you                disease or condition that meets any of the following criteria:
only when you are the recipient of a prior authorized gene
therapy; and when the gene therapy products and services                    •   it is a federally funded trial. The study or investigation is
directly related to their administration are received at a                      approved or funded (which may include funding through in-
participating In-Network facility specifically contracted with                  kind contributions) by one or more of the following:
Cigna for the specific gene therapy service. The term recipient                 • National Institutes of Health (NIH);
is defined to include a person receiving prior authorized gene                  • Centers for Disease Control and Prevention (CDC);




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    • Agency for Health Care Research and Quality (AHRQ);                 Examples of routine patient care costs and services include:
    • Centers for Medicare and Medicaid Services (CMS);                   •   radiological services.
    • a cooperative group or center of any of the entities                •   laboratory services.
      described above or the Department of Defense (DOD) or               •   intravenous therapy.
      the Department of Veterans Affairs (VA);
                                                                          •   anesthesia services.
    • a qualified non-governmental research entity identified in
      NIH guidelines for center support grants.                           •   Physician services.
•   any of the following: Department of Energy, Department of             •   office services.
    Defense, Department of Veterans Affairs, if both of the               •   Hospital services.
    following conditions are met:                                         •   Room and Board, and medical supplies that typically would
    • the study or investigation has been reviewed and                        be covered under the plan for an individual who is not
      approved through a system of peer review comparable to                  enrolled in a clinical trial.
      the system of peer review of studies and investigations             Clinical trials conducted by Out-of-Network providers will be
      used by the National Institutes of Health (NIH); and                covered only when the following conditions are met:
    • the study or investigation assures unbiased review of the           •   In-Network providers are not participating in the clinical
      highest scientific standards by qualified individuals who               trial; or
      have no interest in the outcome of the review.
                                                                          •   the clinical trial is conducted outside the individual’s state
•   the study or investigation is conducted under an                          of residence.
    investigational new drug application reviewed by the U.S.
    Food and Drug Administration (FDA);
                                                                          HC-COV1016                                                       01-21
•   the study or investigation is a drug trial that is exempt from
    having such an investigational new drug application.
The plan does not cover any of the following services
associated with a clinical trial:                                         Medical Conversion Privilege
•   services that are not considered routine patient care costs           For You and Your Dependents
    and services, including the following:                                When a person's Medical Expense Insurance ceases, he may
    • the investigational drug, device, item, or service that is          be eligible to be insured under an individual policy of medical
      provided solely to satisfy data collection and analysis             care benefits (called the Converted Policy).
      needs;                                                              A Converted Policy will be issued by Cigna only to a person
    • an item or service that is not used in the direct clinical          who:
      management of the individual;                                       •   resides in a state that requires offering a conversion policy,
    • a service that is clearly inconsistent with widely accepted         •   is Entitled to Convert, and
      and established standards of care for a particular
                                                                          •   applies in writing and pays the first premium for the
      diagnosis.
                                                                              Converted Policy to Cigna within 31 days after the date his
•   an item or service provided by the research sponsors free of              insurance ceases. Evidence of good health is not needed.
    charge for any person enrolled in the trial.
                                                                          Employees Entitled to Convert
•   travel and transportation expenses, unless otherwise covered
                                                                          You are Entitled to Convert Medical Expense Insurance for
    under the plan, including but not limited to the following:
                                                                          yourself and all of your Dependents who were insured when
    • fees for personal vehicle, rental car, taxi, medical van,           your insurance ceased but only if:
      ambulance, commercial airline, train;
                                                                              • you are not eligible for other individual insurance
    • mileage reimbursement for driving a personal vehicle;                     coverage on a guaranteed issue basis.
    • lodging;                                                                • you have been insured for at least three consecutive
    • meals.                                                                    months under the policy or under it and a prior policy
•   routine patient costs obtained out-of-network when Out-of-                  issued to the Policyholder.
    Network benefits do not exist under the plan.



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  • your insurance ceased because you were no longer in                 or a hospital, or medical service subscriber contract, or a
    Active Service or no longer eligible for Medical Expense            medical practice or other prepayment plan or by any other
    Insurance.                                                          plan or program; those for which the person is eligible,
  • you are not eligible for Medicare.                                  whether or not covered, under any plan of group coverage on
                                                                        an insured or uninsured basis; or those available for the person
  • you would not be Overinsured.
                                                                        by or through any state, provincial or federal law.
  • you have paid all required premium or contribution.
                                                                        Converted Policy
  • you have not performed an act or practice that constitutes
                                                                        If you reside in a state that requires the offering of a
    fraud in connection with the coverage.                              conversion policy, the Converted Policy will be one of Cigna's
  • you have not made an intentional misrepresentation of a             current conversion policy offerings available in the state
    material fact under the terms of the coverage.                      where you reside, as determined based upon Cigna's rules.
  • your insurance did not cease because the policy in its              The Converted Policy will be issued to you if you are Entitled
    entirety canceled.                                                  to Convert, insuring you and those Dependents for whom you
If you retire, you may apply for a Converted Policy within 31           may convert. If you are not Entitled to Convert and your
days after your retirement date in place of any continuation of         spouse and children are Entitled to Convert, it will be issued to
your insurance that may be available under this plan when you           the spouse, covering all such Dependents. Otherwise, a
retire, if you are otherwise Entitled to Convert.                       Converted Policy will be issued to each Dependent who is
                                                                        Entitled to Convert. The Converted Policy will take effect on
Dependents Entitled to Convert                                          the day after the person's insurance under this plan ceases. The
The following Dependents are also Entitled to Convert:                  premium on its effective date will be based on: class of risk
  • a child who is not eligible for other individual insurance          and age; and benefits.
    coverage on a guaranteed issue basis, and whose                     During the first 12 months the Converted Policy is in effect,
    insurance under this plan ceases because he no longer               the amount payable under it will be reduced so that the total
    qualifies as a Dependent or because of your death;                  amount payable under the Converted Policy and the Medical
  • a spouse who is not eligible for other individual insurance         Benefits Extension of this plan (if any) will not be more than
    coverage on a guaranteed issue basis, and whose                     the amount that would have been payable under this plan if the
    insurance under this plan ceases due to divorce,                    person's insurance had not ceased. After that, the amount
    annulment of marriage or your death;                                payable under the Converted Policy will be reduced by any
                                                                        amount still payable under the Medical Benefits Extension of
  • your Dependents whose insurance under this plan ceases
                                                                        this plan (if any). Cigna or the Policyholder will give you, on
    because your insurance ceased solely because you are
                                                                        request, further details of the Converted Policy.
    eligible for Medicare;
but only if that Dependent: is not eligible for other individual
insurance coverage on a guaranteed issue basis, is not eligible         HC-CNV28                                                     04-14

for Medicare, would not be Overinsured, has paid all required                                                                          V1

premium or contribution, has not performed an act or practice
that constitutes fraud in connection with the coverage, and has
not made an intentional misrepresentation of a material fact
under the terms of the coverage.
Overinsured
A person will be considered Overinsured if either of the
following occurs:
  • his insurance under this plan is replaced by similar group
    coverage within 31 days.
  • the benefits under the Converted Policy, combined with
    Similar Benefits, result in an excess of insurance based on
    Cigna's underwriting standards for individual policies.
Similar Benefits are: those for which the person is covered by
another hospital, surgical or medical expense insurance policy,


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                                         Prescription Drug Benefits
                                                   The Schedule
For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by Pharmacies as shown in this
Schedule. To receive Prescription Drug Benefits, you and your Dependents may be required to pay a Deductible,
Copayment or Coinsurance requirement for Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded from coverage under this
plan. The amount you and your Dependent pays for any excluded Prescription Drug Product to the dispensing Pharmacy,
will not count towards your Deductible, if any, or Out-of-Pocket Maximum.
Coinsurance
The term Coinsurance means the percentage of the Prescription Drug Charge for a covered Prescription Drug Product that
you or your Dependent are required to pay under this plan in addition to the Deductible, if any.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug Products.
Oral Chemotherapy Medication
Prescription oral chemotherapy medication that is used to kill or slow the growth of cancerous cells is covered at
participating pharmacies at 100% with no deductible and if applicable at non-participating pharmacies, is covered at the
lower of the pharmacy cost share for oral chemotherapy medication or the out of network medical cost share for
injectable/IV chemotherapy.

                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Lifetime Maximum                          Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Non-PPACA Preventive Medications
Certain Generic Non-PPACA Preventive Medications identified by Cigna and that are dispensed by a retail or home
delivery Pharmacy are not subject to the Copay and Coinsurance. Certain Brand Non-PPACA Preventive Medications
identified by Cigna and that are dispensed by a retail or home delivery Pharmacy are not subject to the Copay and
Coinsurance. You may determine whether a drug is a Non-PPACA Preventive Care Medication through the website
shown on your ID card or by calling member services at the telephone number on your ID card.




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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are dispensed by a retail or home
delivery Network Pharmacy included in what is known as the “Patient Assurance Program”. As may be described
elsewhere in this plan, from time to time Cigna may directly or indirectly enter into arrangements with pharmaceutical
manufacturers for discounts that result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription
Drug Products for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products included in the Patient
Assurance Program is applied or credited to a portion of your Copayment or Coinsurance, if any. The Copayment or
Coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set forth in The Schedule
may be reduced in order for Patient Assurance Program discounts earned by Cigna to be applied or credited to the
Copayment or Coinsurance, if any, as described above.

For example, certain insulin product(s) covered under the Prescription Drug Benefit for which Cigna directly or indirectly
earns a discount in connection with the Patient Assurance Program shall result in a credit toward some or all of your
Copayment or Coinsurance, if any, which, as noted, may be reduced from the amount set forth in The Schedule, for the
insulin product. In addition, the covered insulin products eligible for Patient Assurance Program discounts shall not be
subject to the Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your Out-of-Pocket Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your Out-of-Pocket Maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products, and may
apply or credit to your Copayment or Coinsurance, if any, in connection with the Patient Assurance Program are unrelated
to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the same or other
Prescription Drug Products. Except as may be noted elsewhere in this plan, you are not entitled to the benefit of those
rebates or other payments earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in the Patient Assurance
Program and/or your Copayment or Coinsurance, if any for those eligible Prescription Drug Products, may change from
time to time depending on factors including, but not limited to, the continued availability of the Patient Assurance
Program discount(s) to Cigna in connection with the Patient Assurance Program. More information about the Patient
Assurance Program including the Prescription Drug Products included in the program, is available at the website shown
on your ID card or by calling member services at the telephone number on your ID card.

Out-of-Pocket Maximum
  Individual                              Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
  Family                                  Refer to the Medical Benefits             Refer to the Medical Benefits
                                          Schedule                                  Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per Prescription Order or Refill
at a retail Pharmacy or home delivery Pharmacy.

Certain Preventive Care Medications covered under this plan and required as part of preventive care services (detailed
information is available at www.healthcare.gov) are payable at 100% with no Copayment or Deductible, when purchased
from a Network Pharmacy. A written prescription is required.
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                                                       NETWORK                                NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                 PHARMACY
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Pharmacies                         consecutive 30-day supply at a            consecutive 30-day supply at a non-
                                          Network Pharmacy                          Network Pharmacy
Tier 1
  Generic Drugs on the Prescription       No charge after $10 Copay                 40%
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $30 Copay                 40%
  preferred on the Prescription Drug
  List
Tier 3
  Brand Drugs designated as non-          No charge after $60 Copay                 40%
  preferred on the Prescription Drug
  List
Tier 4
  Self-Administered Injectable            No charge after $100 Copay                40%
  Specialty Prescription Drug
  Products
  .
Prescription Drug Products at             The amount you pay for up to a            The amount you pay for up to a
Retail Designated Pharmacies              consecutive 90-day supply at a            consecutive 90-day supply at a non-
                                          Designated Pharmacy                       Designated Pharmacy

Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill.

Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted with Cigna for
dispensing of covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per
Prescription Order or Refill.

Tier 1
  Generic Drugs on the Prescription       No charge after $20 Copay                 40%
  Drug List

Tier 2
  Brand Drugs designated as               No charge after $60 Copay                 40%
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-          No charge after $120 Copay                40%
  preferred on the Prescription Drug
  List




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                                                       NETWORK                               NON-NETWORK
      BENEFIT HIGHLIGHTS
                                                      PHARMACY                                PHARMACY
Tier 4
  Self-Administered Injectable           Specialty Prescription Drug Products       Specialty Prescription Drug Products
  Specialty Prescription Drug            are limited to up to a consecutive 30      are limited to up to a consecutive 30
  Products                               day supply per Prescription Order or       day supply per Prescription Order or
                                         Refill.                                    Refill.

Prescription Drug Products at            The amount you pay for up to a             The amount you pay for up to a
Home Delivery Pharmacies                 consecutive 90-day supply at a             consecutive 90-day supply at a non-
                                         Network Pharmacy                           Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per Prescription Order or Refill and
are subject to the same Copayment or Coinsurance that applies to retail Pharmacies.
Tier 1
  Generic Drugs on the Prescription      No charge after $20 Copay                  40%
  Drug List

Tier 2
  Brand Drugs designated as              No charge after $60 Copay                  40%
  preferred on the Prescription Drug
  List

Tier 3
  Brand Drugs designated as non-         No charge after $120 Copay                 40%
  preferred on the Prescription Drug
  List

Tier 4
  Self-Administered Injectable           Specialty Prescription Drug Products       Specialty Prescription Drug Products
  Specialty Prescription Drug            are limited to up to a consecutive 30      are limited to up to a consecutive 30
  Products                               day supply per Prescription Order or       day supply per Prescription Order or
                                         Refill.                                    Refill.




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Prescription Drug Benefits                                               Drug Product is appropriate for you or any of your
                                                                         Dependents is a determination that is made by you or your
                                                                         Dependent and the prescribing Physician.
Covered Expenses
                                                                         The coverage status of a Prescription Drug Product may
Your plan provides benefits for Prescription Drug Products on            change periodically for various reasons. For example, a
the Prescription Drug List dispensed by a Pharmacy. Details              Prescription Drug Product may be removed from the market, a
regarding your plan’s Covered Expenses, which for the                    New Prescription Drug Product in the same therapeutic class
purposes of the Prescription Drug Benefit include Medically              as a Prescription Drug Product may become available, or other
Necessary Prescription Drug Products ordered by a Physician,             market events may occur. Market events that may affect the
Limitations, and Exclusions are provided below and/or are                coverage status of a Prescription Drug Product include, but are
shown in The Schedule.                                                   not limited to, an increase in the acquisition cost of a
If you or any one of your Dependents, while insured for                  Prescription Drug Product. As a result of coverage changes,
Prescription Drug Benefits, incurs expenses for charges made             for the purposes of benefits the plan may require you to pay
by a Pharmacy for Medically Necessary Prescription Drug                  more or less for that Prescription Drug Product, to obtain the
Products ordered by a Physician, your plan provides coverage             Prescription Drug Product from a certain Pharmacy(ies) for
for those expenses as shown in The Schedule. Your benefits               coverage, or try another covered Prescription Drug Product(s).
may vary depending on which of the Prescription Drug List                Please access the Prescription Drug List through the website
tiers the Prescription Drug Product is listed, or the Pharmacy           shown on your ID card or call member services at the
that provides the Prescription Drug Product.                             telephone number on your ID card for the most up-to-date tier
Coverage under your plan’s Prescription Drug Benefits also               status, utilization management, or other coverage limitations
includes Medically Necessary Prescription Drug Products                  for a Prescription Drug Product.
dispensed pursuant to a Prescription Order or Refill issued to
you or your Dependents by a licensed dentist for the                     HC-PHR611                                                   01-24
prevention of infection or pain in conjunction with a dental
procedure.
When you or a Dependent are issued a Prescription Order or               Limitations
Refill for Medically Necessary Prescription Drug Products as
part of the rendering of Emergency Services and Cigna                    For most Prescription Drug Products you and your Dependent
determines that it cannot reasonably be filled by a Network              pay only the cost sharing detailed in The Schedule of
Pharmacy, the prescription will be covered pursuant to the, as           Prescription Drug Benefits. However, in the event you or your
applicable, Copayment or Coinsurance for the Prescription                Dependent insist on a more expensive Brand Drug where a
Drug Product when dispensed by a Network Pharmacy.                       Therapeutic Equivalent Generic Drug is available, you will be
                                                                         financially responsible for an Ancillary Charge, in addition to
Prescription Drug List Management
                                                                         any required Brand Drug Copayment and/or Coinsurance. In
Your plan’s Prescription Drug List coverage tiers may contain            this case, the Ancillary Charge will not apply to your
Prescription Drug Products that are Generic Drugs, Brand                 Deductible, if any, or Out of Pocket Maximum. However, in
Drugs or Specialty Prescription Drug Products. Determination             the event your Physician determines that the Generic Drug is
of inclusion of a Prescription Drug Product to a certain                 not an acceptable alternative for you (and indicates Dispensed
coverage tier on the Prescription Drug List and utilization              as Written on the Prescription Order or Refill), you will only
management requirements or other coverage conditions are                 be responsible for payment of the appropriate Brand Drug
based on a number of factors which may include, clinical and             Coinsurance and/or Copayment after satisfying your
economic factors. Clinical factors may include, but are not              Deductible, if any.
limited to, the P&T Committee’s evaluations of the place in
                                                                         Your plan includes a Brand Drug for Generic Drug dispensing
therapy, relative safety or relative efficacy of the Prescription
                                                                         program. This program allows certain Brand Drugs to be
Drug Product, as well as whether certain supply limits or other
                                                                         dispensed in place of the Therapeutic Equivalent Generic
utilization management requirements should apply. Economic
                                                                         Drug at the time your Prescription Order or Refill is processed
factors may include, but are not limited to, the Prescription
                                                                         by a participating Pharmacy. Brand Drug for Generic Drug
Drug Product's acquisition cost including, but not limited to,
                                                                         substitution will occur only for certain Brand Drugs included
assessments on the cost effectiveness of the Prescription Drug
                                                                         in the program. When this substitution program is applied, the
Product and available rebates. Regardless of its eligibility for
                                                                         participating Pharmacy will dispense the Brand Drug to you in
coverage under the plan, whether a particular Prescription
                                                                         place of the available Generic Drug. You will be responsible


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for payment of only a Generic Drug Copayment and/or                     decision, you may appeal that decision in accordance with the
Coinsurance, after satisfying your Deductible, if any.                  provisions of the plan by submitting a written request stating
Prior Authorization Requirements                                        why the Prescription Drug Product should be covered.
Coverage for certain Prescription Drug Products prescribed to           Step Therapy
you requires your Physician to obtain prior authorization from          Certain Prescription Drug Products are subject to step therapy
Cigna or its Review Organization. The reason for obtaining              requirements. This means that in order to receive Benefits for
prior authorization from Cigna is to determine whether the              such Prescription Drug Products you are required to try a
Prescription Drug Product is Medically Necessary in                     different Prescription Drug Product(s) first unless you satisfy
accordance with Cigna's coverage criteria. Coverage criteria            the plan’s exception criteria. You may identify whether a
for a Prescription Drug Product may vary based on the clinical          particular Prescription Drug Product is subject to step therapy
use for which the Prescription Order or Refill is submitted,            requirements at the website shown on your ID card or by
and may change periodically based on changes in, without                calling member services at the telephone number on your ID
limitation, clinical guidelines or practice standards, or market        card.
factors.                                                                Supply Limits
If Cigna or its Review Organization reviews the                         Benefits for Prescription Drug Products are subject to the
documentation provided and determines that the Prescription             supply limits that are stated in The Schedule. For a single
Drug Product is not Medically Necessary or otherwise                    Prescription Order or Refill, you may receive a Prescription
excluded, your plan will not cover the Prescription Drug                Drug Product up to the stated supply limit.
Product. Cigna, or its Review Organization, will not review
claims for excluded Prescription Drug Products or other                 Some products are subject to additional supply limits, quantity
services to determine if they are Medically Necessary, unless           limits or dosage limits based on coverage criteria that have
required by law.                                                        been approved based on consideration of the P&T
                                                                        Committee’s clinical findings. Coverage criteria are subject to
When Prescription Drug Products that require prior                      periodic review and modification. The limit may restrict the
authorization are dispensed at a Pharmacy, you or your                  amount dispensed per Prescription Order or Refill and/or the
prescribing Physician are responsible for obtaining prior               amount dispensed per month's supply, or may require that a
authorization from Cigna. If you do not obtain prior                    minimum amount be dispensed.
authorization from us before the Prescription Drug Product is
dispensed by the Pharmacy, you can ask us to consider                   You may determine whether a Prescription Drug Product has
reimbursement after you pay for and receive the Prescription            been assigned a dispensing supply limit or similar limit or
Drug Product. You will need to pay for the Prescription Drug            requirement at the website shown on your ID card or by
Product at the Pharmacy prior to submitting a reimbursement             calling member services at the telephone number on your ID
request.                                                                card.
When you submit a claim on this basis, you will need to                 Specialty Prescription Drug Products
submit a paper claim using the form that appears on the                 Benefits are provided for Specialty Prescription Drug
website shown on your ID card.                                          Products. If you require Specialty Prescription Drug Products,
If a prior authorization request is approved, your Physician            you may be directed to a Designated Pharmacy with whom
will receive confirmation. The authorization will be processed          Cigna has an arrangement to provide those Specialty
in the claim system to allow you to have coverage for the               Prescription Drug Products.
Prescription Drug Product. The length of the authorization              Designated Pharmacies
may depend on the diagnosis and the Prescription Drug                   If you require certain Prescription Drug Products, including
Product. The authorization will at all times be subject to the          Specialty Prescription Drug Products, we may direct you to a
plan’s terms of coverage for the Prescription Drug Product,             Designated Pharmacy with whom we have an arrangement to
which may change from time to time. When your Physician                 provide those Prescription Drug Products. If you are directed
advises you that coverage for the Prescription Drug Product             to a Designated Pharmacy and you choose not to obtain your
has been approved, you can contact a Pharmacy to fill the               Prescription Drug Product from a Designated Pharmacy, you
covered Prescription Order or Refill.                                   may receive reduced or no coverage for the Prescription Drug
If the prior authorization request is denied, your Physician and        Product. Refer to The Schedule for further information.
you will be notified that coverage for the Prescription Drug
Product is not authorized. If you disagree with a coverage



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New Prescription Drug Products                                             other benchmark price applied by Cigna) for the Prescription
New Prescription Drug Products may or may not be placed on                 Drug Product.
a Prescription Drug List tier upon market entry. Cigna will use            When a treatment regimen contains more than one type of
reasonable efforts to make a tier placement decision for a New             Prescription Drug Products that are packaged together for your
Prescription Drug Product within six months of its market                  or your Dependent's convenience, any applicable Copayment
availability. Cigna’s tier placement decision shall be based on            or Coinsurance may apply to each Prescription Drug Product.
consideration of, without limitation, the P&T Committee’s                  You will need to obtain prior approval from Cigna or its
clinical review of the New Prescription Drug Product and                   Review Organization for any Prescription Drug Product not
economic factors. If a New Prescription Drug Product not                   listed on the Prescription Drug List that is not otherwise
listed on the Prescription Drug List is approved by Cigna or its           excluded. If Cigna or its Review Organization approves
Review Organization as Medically Necessary in the interim,                 coverage for the Prescription Drug Product because it meets
the New Prescription Drug Product shall be covered at the                  the applicable coverage exception criteria, the Prescription
applicable coverage tier as set forth in The Schedule.                     Drug Product shall be covered at the applicable coverage tier
                                                                           as set forth in The Schedule.
HC-PHR491                                                     01-24        The amount you or your Dependent pays for any excluded
                                                                V1         Prescription Drug Product or other product or service will not
                                                                           be included in calculating any applicable plan Out-of-Pocket
Your Payments                                                              Maximum. You are responsible for paying 100% of the cost
                                                                           (the amount the Pharmacy charges you) for any excluded
Covered Prescription Drug Products purchased at a Pharmacy                 Prescription Drug Product or other product.
are subject to any applicable Deductible, Copayments or
Coinsurance shown in The Schedule, as well as any
limitations or exclusions set forth in this plan. Please refer to          HC-PHR272                                                       01-19

The Schedule for any required Copayments, Coinsurance,                                                                                       V2

Deductibles or Out-of-Pocket Maximums.
Copayment
Your plan requires that you pay a Copayment for covered                    Exclusions
Prescription Drug Products as set forth in The Schedule. After             Coverage exclusions listed under the “Exclusions, Expenses
satisfying any applicable annual Deductible set forth in The               Not Covered and General Limitations” section also apply to
Schedule, your costs under the plan for a covered Prescription             benefits for Prescription Drug Products. In addition, the
Drug Product dispensed by a Network Pharmacy and that is                   exclusions listed below apply to benefits for Prescription Drug
subject to a Copayment requirement will be the lowest of the               Products. When an exclusion or limitation applies to only
following amounts:                                                         certain Prescription Drug Products, you can access the
•   the Copayment for the Prescription Drug Product set forth              Prescription Drug List through the website shown on your ID
    in The Schedule; or                                                    card or call member services at the telephone number on your
                                                                           ID card for information on which Prescription Drug Products
•   the Prescription Drug Charge; or                                       are excluded.
•   the Network Pharmacy’s submitted Usual and Customary                   •   coverage for Prescription Drug Products for the amount
    (U&C) Charge, if any.                                                      dispensed (days' supply) which exceeds the applicable
Payments at Non-Network Pharmacies                                             supply limit, or is less than any applicable supply minimum
Any reimbursement due to you under this plan for a covered                     set forth in The Schedule, or which exceeds quantity limit(s)
Prescription Drug Product dispensed by a non-Network                           or dosage limit(s) set by the P&T Committee.
Pharmacy may be determined by applying the Deductible, if                  •   more than one Prescription Order or Refill for a given
any, and/or non-Network Pharmacy Coinsurance amount set                        prescription supply period for the same Prescription Drug
forth in The Schedule to the average wholesale price (or                       Product prescribed by one or more Physicians and
“AWP”), or other benchmark price Cigna applies, for a                          dispensed by one or more Pharmacies.
Prescription Drug Product dispensed by a non-Network                       •   Prescription Drug Products dispensed outside the
Pharmacy. Your reimbursement, if any, for a covered                            jurisdiction of the United States, except as required for
Prescription Drug Product dispensed by a non-Network                           emergency or Urgent Care treatment.
Pharmacy will never exceed the average wholesale price (or


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•   Prescription Drug Products which are prescribed, dispensed              •   medications used for travel prophylaxis unless specifically
    or intended to be taken by or administered to you while you                 identified on the Prescription Drug List.
    are a patient in a licensed Hospital, Skilled Nursing Facility,         •   immunization agents, virus detection testing, virus antibody
    rest home, rehabilitation facility, or similar institution which            testing, biological products for allergy immunization,
    operates on its premises or allows to be operated on its                    biological sera, blood, blood plasma and other blood
    premises a facility for dispensing pharmaceutical products.                 products or fractions unless specifically identified on the
•   Prescription Drug Products furnished by the local, state or                 Prescription Drug List.
    federal government (except for a Network Pharmacy owned                 •   smoking cessation medications except those required by
    or operated by a local, state or federal government).                       federal law to be covered as Preventive Care Medications.
•   Prescription and non-prescription supplies other than                   •   certain Prescription Drug Products that are a Therapeutic
    supplies covered as Prescription Drug Products.                             Equivalent or Therapeutic Alternative to another covered
•   vitamins, except prenatal vitamins that require a                           Prescription Drug Product(s). Such coverage determinations
    Prescription Order or Refill, unless coverage for such                      may be made periodically, and benefits for a Prescription
    product(s) is required by federal or state law.                             Drug Product that was previously excluded under this
•   medications used for cosmetic or anti-aging purposes,                       provision may be reinstated at any time.
    including, without limitation, medications used to reduce               •   medications that are experimental investigational or
    wrinkles, medications used to promote hair growth and fade                  unproven as described under the “General Exclusion and
    cream products.                                                             Limitations” section of your plan’s certificate.
•   Prescription Drug Products as a replacement for a
    previously dispensed Prescription Drug Product that was                 HC-PHR632                                                    01-24
    lost, stolen, broken or destroyed.
•   Medical Pharmaceuticals covered solely under the plan’s
    medical benefits.                                                       Reimbursement/Filing a Claim
•   Prescription Drug Products used for the treatment of male or
                                                                            Retail Pharmacy
    female sexual dysfunction, including, but not limited to
    erectile dysfunction, delayed ejaculation, anorgasmy,                   When you or your Dependents purchase your Prescription
    hypoactive sexual desire disorder and decreased libido.                 Drug Products through a Network Pharmacy, you pay any
                                                                            applicable Copayment, Coinsurance, or Deductible shown in
•   any ingredient(s) in a compounded Prescription Drug
                                                                            The Schedule at the time of purchase. You do not need to file
    Product that has not been approved by the U.S. Food and
                                                                            a claim form for a Prescription Drug Product obtained at a
    Drug Administration (FDA).
                                                                            Network Pharmacy unless you pay the full cost of a
•   medications available over-the-counter that do not require a            Prescription Drug Product at a Network Pharmacy and later
    Prescription Order or Refill by federal or state law before             seek reimbursement for the Prescription Drug Product under
    being dispensed, unless state or federal law requires                   the plan. For example, if you must pay the full cost of a
    coverage of such medications or the over-the-counter                    Prescription Drug Product to the retail Network Pharmacy
    medication has been designated as eligible for coverage as if           because you did not have your ID card, then you must submit
    it were a Prescription Drug Product.                                    a claim to Cigna for any reimbursement or benefit you believe
•   certain Prescription Drug Products that are a Therapeutic               is due to you under this plan. If, under this example, your
    Equivalent or Therapeutic Alternative to an over-the-                   payment to the retail Network Pharmacy for the covered
    counter drug(s), or are available in over-the-counter form.             Prescription Drug Product exceeds any applicable copay, then
    Such coverage determinations may be made periodically,                  you will be reimbursed the difference, if any, between the
    and benefits for a Prescription Drug Product that was                   applicable copay and the Prescription Drug Charge for the
    previously excluded under this provision may be reinstated              Prescription Drug Product.
    at any time.                                                            If you obtain a covered Prescription Drug Product dispensed
•   any product for which the primary use is a source of                    by a non-Network Pharmacy, then you must pay the non-
    nutrition, nutritional supplements, or dietary management of            Network Pharmacy for the Prescription Drug Product and then
    disease, even when used for the treatment of Sickness or                submit a claim to Cigna for any reimbursement or benefit you
    Injury, unless coverage for such product(s) is required by              believe is due to you under this plan. You can obtain a claim
    federal or state law.


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form through the website shown on your ID card or by calling                       the Pharmacy represents that you remain responsible for
member services at the telephone number on your ID card.                           any amounts that your plan does not cover, or
                                                                                 • reduce the benefits in proportion to the amount of the
HC-PHR273                                                       01-19
                                                                                   Copayment, Deductible, and/or Coinsurance amounts
                                                                  V2               waived, forgiven or reduced, regardless of whether the
                                                                                   provider or Pharmacy represents that you remain
                                                                                   responsible for any amounts that your plan does not
                                                                                   cover.
Exclusions, Expenses Not Covered and                                             • charges or payment for healthcare-related services that
General Limitations                                                                violate state or federal law.
Exclusions and Expenses Not Covered                                          •   for or in connection with experimental, investigational or
                                                                                 unproven services.
Additional coverage limitations determined by plan or
provider type are shown in The Schedule. Payment for the                         Experimental, investigational and unproven services are
following is specifically excluded from this plan:                               medical, surgical, diagnostic, psychiatric, Substance Use
                                                                                 Disorder or other health care technologies, supplies,
•   care for health conditions that are required by state or local
                                                                                 treatments, procedures, drug or Biologic therapies or
    law to be treated in a public facility.
                                                                                 devices that are determined by the utilization review
•   care required by state or federal law to be supplied by a                    Physician to be:
    public school system or school district.
                                                                                 • not approved by the U.S. Food and Drug Administration
•   care for military service disabilities treatable through                       (FDA) or other appropriate regulatory agency to be
    governmental services if you are legally entitled to such                      lawfully marketed.
    treatment and facilities are reasonably available.
                                                                                 • not demonstrated, through existing peer-reviewed,
•   treatment of an Injury or Sickness which is due to war,                        evidence-based, scientific literature to be safe and
    declared, or undeclared.                                                       effective for treating or diagnosing the condition or
•   charges which you are not obligated to pay and/or for which                    Sickness for which its use is proposed;
    you are not billed. This exclusion includes, but is not                      • the subject of review or approval by an Institutional
    limited to:                                                                    Review Board for the proposed use except as provided in
    • any instance where Cigna determines that a provider or                       the “Clinical Trials” section(s) of this plan; or
      Pharmacy did not bill you for or has waived, reduced, or                   • the subject of an ongoing phase I, II or III clinical trial,
      forgiven any portion of its charges and/or any portion of                    except for routine patient care costs related to qualified
      any Copayment, Deductible, and/or Coinsurance                                clinical trials as provided in the “Clinical Trials”
      amount(s) you are required to pay for an otherwise                           section(s) of this plan.
      Covered Expense (as shown on The Schedule) without
                                                                                 In determining whether any such technologies, supplies,
      Cigna's express consent.
                                                                                 treatments, drug or Biologic therapies, or devices are
    • charges of a non-Participating Provider who has agreed to                  experimental, investigational, and/or unproven, the
      charge you at an In-Network benefits level or some other                   utilization review Physician may rely on the clinical
      benefits level not otherwise applicable to the services                    coverage policies maintained by Cigna or the Review
      received.                                                                  Organization. Clinical coverage policies may incorporate,
    In the event that Cigna determines that this exclusion                       without limitation and as applicable, criteria relating to U.S.
    applies, then Cigna in its sole discretion shall have the right              Food and Drug Administration-approved labeling, the
    to:                                                                          standard medical reference compendia and peer-reviewed,
                                                                                 evidence-based scientific literature or guidelines.
    • require you and/or any provider or Pharmacy submitting
      claims on your behalf to provide proof sufficient to Cigna                 The plan or policy shall not deny coverage for a drug or
      that you have made your required cost-share payment(s)                     Biologic therapy as experimental, investigational and
      prior to the payment of any benefits by Cigna,                             unproven if the drug or Biologic therapy is otherwise
                                                                                 approved by the FDA to be lawfully marketed, has not been
    • deny the payment of benefits in connection with the
                                                                                 contraindicated by the FDA for the use for which the drug
      Covered Expense regardless of whether the provider or
                                                                                 or Biologic has been prescribed, and is recognized for the



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    treatment of cancer in any one of the following: American             •   non-medical counseling and/or ancillary services including
    Medical Association Drug Evaluations; American Hospital                   Custodial Services, educational services, vocational
    Formulary Service Drug Information; U.S. Pharmacopeia                     counseling, training and rehabilitation services, behavioral
    Drug Information; or a U.S. peer-reviewed national                        training, biofeedback, neurofeedback, hypnosis, sleep
    professional journal.                                                     therapy, return to work services, work hardening programs
•   cosmetic surgery and therapies. Cosmetic surgery or therapy               and driver safety courses.
    is defined as surgery or therapy performed to improve or              •   therapy or treatment intended primarily to improve or
    alter appearance or self-esteem.                                          maintain general physical condition or for the purpose of
•   The following services are excluded from coverage                         enhancing job, school, athletic or recreational performance,
    regardless of clinical indications: Gynecomastia Surgeries;               including but not limited to routine, long term, or
    Abdominoplasty; Panniculectomy; Rhinoplasty;                              maintenance care which is provided after the resolution of
    Blepharoplasty; Redundant skin surgery; Removal of skin                   the acute medical problem and when significant therapeutic
    tags; Acupressure; Craniosacral/cranial therapy; Dance                    improvement is not expected.
    therapy, Movement therapy; Applied kinesiology; Rolfing;              •   consumable medical supplies other than ostomy supplies
    Prolotherapy; and Extracorporeal shock wave lithotripsy                   and urinary catheters. Excluded supplies include, but are not
    (ESWL) for musculoskeletal and orthopedic conditions.                     limited to bandages and other disposable medical supplies,
•   dental treatment of the teeth, gums or structures directly                skin preparations and test strips, except as specified in the
    supporting the teeth, including dental X-rays,                            “Home Health Care Services” or “Breast Reconstruction
    examinations, repairs, orthodontics, periodontics, casts,                 and Breast Prostheses” sections of this plan.
    splints and services for dental malocclusion, for any                 •   private Hospital rooms and/or private duty nursing except as
    condition. However, charges made for a continuous                         provided under the Home Health Care Services provision.
    course of dental treatment for an Injury to teeth are also            •   personal or comfort items such as personal care kits
    covered. Also, facility charges and charges for general                   provided on admission to a Hospital, television, telephone,
    anesthesia or deep sedation which cannot be administered                  newborn infant photographs, complimentary meals, birth
    in a dental office are covered when Medically Necessary.                  announcements, and other articles which are not for the
•   medical and surgical services, initial and repeat, intended               specific treatment of an Injury or Sickness.
    for the treatment or control of obesity, except for treatment         •   artificial aids including corrective orthopedic shoes, arch
    of clinically severe (morbid) obesity as shown in Covered                 supports, elastic stockings, garter belts, corsets and
    Expenses, including: medical and surgical services to alter               dentures.
    appearance or physical changes that are the result of any
    surgery performed for the management of obesity or                    •   aids or devices that assist with non-verbal communications,
    clinically severe (morbid) obesity; and weight loss programs              including communication boards, prerecorded speech
    or treatments, whether prescribed or recommended by a                     devices, laptop computers, desktop computers, Personal
    Physician or under medical supervision.                                   Digital Assistants (PDAs), Braille typewriters, visual alert
                                                                              systems for the deaf and memory books.
•   reports, evaluations, physical examinations, or
    hospitalization not required for health reasons including, but        •   eyeglass lenses and frames, contact lenses and associated
    not limited to, employment, insurance or government                       services (exams and fittings) except the initial set after
    licenses, and court-ordered, forensic or custodial                        treatment of keratoconus or following cataract surgery.
    evaluations, unless otherwise covered under this plan.                •   routine refractions, eye exercises and surgical treatment for
•   court-ordered treatment or hospitalization, unless treatment              the correction of a refractive error, including radial
    is prescribed by a Physician and is a covered service or                  keratotomy.
    supply under this plan.                                               •   all noninjectable prescription drugs unless Physician
•   any services or supplies for the treatment of male or female              administration or oversight is required, injectable
    sexual dysfunction such as, but not limited to, treatment of              prescription drugs to the extent they do not require
    erectile dysfunction (including penile implants), anorgasmy               Physician supervision and are typically considered self-
    and premature ejaculation.                                                administered drugs, nonprescription drugs and
                                                                              investigational and experimental drugs, except as provided
•   medical and Hospital care and costs for the child of your                 in this plan.
    Dependent child, unless the child is otherwise eligible under
    this plan.


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•   routine foot care, including the paring and removing of               •   for charges made by any Physician or Other Health
    corns and calluses and toenail maintenance. However, foot                 Professional who is a member of your family or your
    care services for diabetes, peripheral neuropathies and                   Dependent's family.
    peripheral vascular disease are covered.                              •   for expenses incurred outside the United States other than
•   membership costs and fees associated with health clubs,                   expenses for Medically Necessary emergency or urgent care
    weight loss programs or smoking cessation programs.                       while temporarily traveling abroad.
•   genetic screening or pre-implantations genetic screening.
    General population-based genetic screening is a testing               HC-EXC528 M                                                    01-24
    method performed in the absence of any symptoms or any
    significant, proven risk factors for genetically linked
    inheritable disease.
•   dental implants for any condition.                                    Coordination of Benefits
•   fees associated with the collection, storage or donation of           This section applies if you or any one of your Dependents is
    blood or blood products, except for autologous donation in            covered under more than one Plan and determines how
    anticipation of scheduled services when medical                       benefits payable from all such Plans will be coordinated. You
    management review determines the likelihood of excess                 should file all claims with each Plan.
    blood loss is such that transfusion is an expected adjunct to         Definitions
    surgery.                                                              For the purposes of this section, the following terms have the
•   blood administration for the purpose of general                       meanings set forth below:
    improvement in physical condition.                                    Plan
•   cost of biologicals that are immunizations or medications             Any of the following that provides benefits or services for
    for the purpose of travel, or to protect against occupational         medical care or treatment:
    hazards and risks.
                                                                          •   Group insurance and/or group-type coverage, whether
•   health and beauty aids, cosmetics and dietary supplements.                insured or self-insured which neither can be purchased by
•   for or in connection with an Injury or Sickness arising out               the general public, nor is individually underwritten,
    of, or in the course of, any employment for wage or profit.               including closed panel coverage.
•   charges related to an Injury or Sickness payable under                •   Coverage under Medicare and other governmental benefits
    worker’s compensation or similar laws.                                    as permitted by law, excepting Medicaid and Medicare
•   massage therapy.                                                          supplement policies.
                                                                          •   Medical benefits coverage of group, group-type, and
General Limitations                                                           individual automobile contracts.
No payment will be made for expenses incurred for you or any
                                                                          Each Plan or part of a Plan which has the right to coordinate
one of your Dependents:
                                                                          benefits will be considered a separate Plan.
•   for charges made by a Hospital owned or operated by or
                                                                          Closed Panel Plan
    which provides care or performs services for, the United
    States Government, if such charges are directly related to a          A Plan that provides medical or dental benefits primarily in
    military-service-connected Injury or Sickness.                        the form of services through a panel of employed or
                                                                          contracted providers, and that limits or excludes benefits
•   for any charges related to care provided through a public
                                                                          provided by providers outside of the panel, except in the case
    program, other than Medicaid.
                                                                          of emergency or if referred by a provider within the panel.
•   for charges which would not have been made if the person
                                                                          Primary Plan
    did not have coverage.
                                                                          The Plan that determines and provides or pays benefits
•   to the extent that they are more than Maximum
                                                                          without taking into consideration the existence of any other
    Reimbursable Charges.
                                                                          Plan.
•   to the extent of the exclusions imposed by any certification
                                                                          Secondary Plan
    requirement shown in this plan.
                                                                          A Plan that determines, and may reduce its benefits after
•   for expenses for services, supplies, care, treatment, drugs or
                                                                          taking into consideration, the benefits provided or paid by the
    surgery that are not Medically Necessary.


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Primary Plan. A Secondary Plan may also recover from the                care providers located within the immediate geographic area
Primary Plan the Reasonable Cash Value of any services it               where the health care service is rendered under similar or
provided to you.                                                        comparable circumstances.
Allowable Expense                                                       Order of Benefit Determination Rules
The amount of charges considered for payment under the Plan             A Plan that does not have a coordination of benefits rule
for a Covered Service prior to any reductions due to                    consistent with this section shall always be the Primary Plan.
coinsurance, copayment or deductible amounts. If Cigna                  If the Plan does have a coordination of benefits rule consistent
contracts with an entity to arrange for the provision of                with this section, the first of the following rules that applies to
Covered Services through that entity’s contracted network of            the situation is the one to use:
health care providers, the amount that Cigna has agreed to pay          •   The Plan that covers you as an enrollee or an employee shall
that entity is the allowable amount used to determine your                  be the Primary Plan and the Plan that covers you as a
coinsurance or deductible payments. If the Plan provides                    Dependent shall be the Secondary Plan;
benefits in the form of services, the Reasonable Cash Value of
each service is the Allowable Expense and is a paid benefit.            •   If you are a Dependent child whose parents are not divorced
                                                                            or legally separated, the Primary Plan shall be the Plan
Examples of expenses or services that are not Allowable                     which covers the parent whose birthday falls first in the
Expenses include, but are not limited to the following:                     calendar year as an enrollee or employee;
•   An expense or service or a portion of an expense or service         •   If you are the Dependent of divorced or separated parents,
    that is not covered by any of the Plans is not an Allowable             benefits for the Dependent shall be determined in the
    Expense.                                                                following order:
•   If you are confined to a private Hospital room and no Plan              • first, if a court decree states that one parent is responsible
    provides coverage for more than a semiprivate room, the                   for the child's healthcare expenses or health coverage and
    difference in cost between a private and semiprivate room is              the Plan for that parent has actual knowledge of the terms
    not an Allowable Expense.                                                 of the order, but only from the time of actual knowledge;
•   If you are covered by two or more Plans that provide                    • then, the Plan of the parent with custody of the child;
    services or supplies on the basis of reasonable and
                                                                            • then, the Plan of the spouse of the parent with custody of
    customary fees, any amount in excess of the highest
    reasonable and customary fee is not an Allowable Expense.                 the child;
                                                                            • then, the Plan of the parent not having custody of the
•   If you are covered by one Plan that provides services or
    supplies on the basis of reasonable and customary fees and                child; and
    one Plan that provides services and supplies on the basis of            • finally, the Plan of the spouse of the parent not having
    negotiated fees, the Primary Plan's fee arrangement shall be              custody of the child.
    the Allowable Expense.                                              •   The Plan that covers you as an active employee (or as that
•   If your benefits are reduced under the Primary Plan (through            employee's Dependent) shall be the Primary Plan and the
    the imposition of a higher copayment amount, higher                     Plan that covers you as laid-off or retired employee (or as
    coinsurance percentage, a deductible and/or a penalty)                  that employee's Dependent) shall be the Secondary Plan. If
    because you did not comply with Plan provisions or because              the other Plan does not have a similar provision and, as a
    you did not use a preferred provider, the amount of the                 result, the Plans cannot agree on the order of benefit
    reduction is not an Allowable Expense. Such Plan                        determination, this paragraph shall not apply.
    provisions include second surgical opinions and                     •   The Plan that covers you under a right of continuation
    precertification of admissions or services.                             which is provided by federal or state law shall be the
Claim Determination Period                                                  Secondary Plan and the Plan that covers you as an active
A calendar year, but does not include any part of a year during             employee or retiree (or as that employee's Dependent) shall
which you are not covered under this policy or any date before              be the Primary Plan. If the other Plan does not have a
this section or any similar provision takes effect.                         similar provision and, as a result, the Plans cannot agree on
                                                                            the order of benefit determination, this paragraph shall not
Reasonable Cash Value                                                       apply.
An amount which a duly licensed provider of health care                 •   If one of the Plans that covers you is issued out of the state
services usually charges patients and which is within the range             whose laws govern this Policy, and determines the order of
of fees usually charged for the same service by other health


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    benefits based upon the gender of a parent, and as a result,         we request, you must execute and deliver to us such
    the Plans do not agree on the order of benefit determination,        instruments and documents as we determine are necessary to
    the Plan with the gender rules shall determine the order of          secure the right of recovery.
    benefits.                                                            Right to Receive and Release Information
If none of the above rules determines the order of benefits, the         Cigna, without consent or notice to you, may obtain
Plan that has covered you for the longer period of time shall            information from and release information to any other Plan
be primary.                                                              with respect to you in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be              pursuant to this section. You must provide us with any
the Secondary Plan and determine benefits after Medicare,                information we request in order to coordinate your benefits
where permitted by the Social Security Act of 1965, as                   pursuant to this section. This request may occur in connection
amended. However, when more than one Plan is secondary to                with a submitted claim; if so, you will be advised that the
Medicare, the benefit determination rules identified above,              "other coverage" information, (including an Explanation of
will be used to determine how benefits will be coordinated.              Benefits paid under the Primary Plan) is required before the
Effect on the Benefits of This Plan                                      claim will be processed for payment. If no response is
                                                                         received within 55 days of the request, the claim will be
If this Plan is the Secondary Plan, this Plan may reduce                 closed. If the requested information is subsequently received,
benefits so that the total benefits paid by all Plans during a           the claim will be processed.
Claim Determination Period are not more than 100% of the
total of all Allowable Expenses.                                         Coordination of Benefits with Medicare
The difference between the amount that this Plan would have              If you, your spouse, or your Dependent are covered under this
paid if this Plan had been the Primary Plan, and the benefit             Plan and qualify for Medicare, federal law determines which
payments that this Plan had actually paid as the Secondary               Plan is the primary payer and which is the secondary payer.
Plan, will be recorded as a benefit reserve for you. Cigna will          The primary payer always determines covered benefits first,
use this benefit reserve to pay any Allowable Expense not                without considering what any other coverage will pay. The
otherwise paid during the Claim Determination Period.                    secondary payer determines its coverage only after the
                                                                         Primary Plan has completed its determination.
As each claim is submitted, Cigna will determine the
following:                                                               When Medicare is the Primary Payer
•   Cigna's obligation to provide services and supplies under            Medicare will be the primary payer and this Plan will be the
    this policy;                                                         secondary payer, even if you don’t elect to enroll in Medicare
                                                                         or you receive services from a provider who does not accept
•   whether a benefit reserve has been recorded for you; and             Medicare payments, in the following situations:
•   whether there are any unpaid Allowable Expenses during               •   COBRA or State Continuation: You, your spouse, or your
    the Claims Determination Period.                                         covered Dependent qualify for Medicare for any reason and
If there is a benefit reserve, Cigna will use the benefit reserve            are covered under this Plan due to COBRA or state
recorded for you to pay up to 100% of the total of all                       continuation of coverage.
Allowable Expenses. At the end of the Claim Determination                •   Retirement or Termination of Employment: You, your
Period, your benefit reserve will return to zero and a new                   spouse, or your covered Dependent qualify for Medicare for
benefit reserve will be calculated for each new Claim                        any reason and are covered under this Plan due to your
Determination Period.                                                        retirement or termination of employment.
Recovery of Excess Benefits                                              •   Disability: You, your spouse, or your covered Dependent
If Cigna pays charges for benefits that should have been paid                qualify for Medicare due to a disability, you are an active
by the Primary Plan, or if Cigna pays charges in excess of                   Employee, and your Employer has fewer than 100
those for which we are obligated to provide under the Policy,                employees.
Cigna will have the right to recover the actual payment made             •   Age: You, your spouse, or your covered Dependent qualify
or the Reasonable Cash Value of any services.                                for Medicare due to age, you are an active Employee, and
Cigna will have sole discretion to seek such recovery from any               your Employer has fewer than 20 employees.
person to, or for whom, or with respect to whom, such                    •   End Stage Renal Disease (ESRD): You, your spouse, or
services were provided or such payments made by any                          your covered Dependent qualify for Medicare due to End
insurance company, healthcare Plan or other organization. If                 Stage Renal Disease (ESRD) and you are an active or


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    retired Employee. This Plan will be the primary payer for             Medicare. Please consult Medicare or the Social Security
    the first 30 months. Beginning with the 31st month,                   Administration for more information.
    Medicare will be the primary payer.                                   Assistance with Medicare Questions
When This Plan is the Primary Payer                                       For more information on Medicare’s rules and regulations,
This Plan will be the primary payer and Medicare will be the              contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
secondary payer in the following situations:                              4227) or at www.medicare.gov. You may also contact the
•   Disability: You, your spouse, or your covered Dependent               Social Security Administration toll-free at 1-800-772-1213, at
    qualify for Medicare due to a disability, you are an active           www.ssa.gov, or call your local Social Security
    Employee, and your Employer has 100 or more employees.                Administration office.
•   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and              HC-COB275                                                      01-21
    your Employer has 20 or more employees.
•   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End                Expenses For Which A Third Party May
    Stage Renal Disease (ESRD) and you are an active or
    retired Employee. This Plan is the primary payer for the first        Be Responsible
    30 months. Beginning with the 31st month, Medicare will be            This plan does not cover:
    the primary payer.                                                    •   Expenses incurred by you or your Dependent; (hereinafter
Domestic Partners                                                             individually and collectively referred to as a "Participant,")
Under federal law, when Medicare coverage is due to age,                      for which another party may be responsible as a result of
Medicare is always the primary payer and this Plan is the                     having caused or contributed to an Injury or Sickness.
secondary payer for a person covered under this Plan as a                 •   Expenses incurred by a Participant to the extent any
Domestic Partner. However, when Medicare coverage is due                      payment is received for them either directly or indirectly
to disability, the Disability payer explanations above will                   from a third party tortfeasor or as a result of a settlement,
apply.                                                                        judgment or arbitration award in connection with any
IMPORTANT: If you, your spouse, or your Dependent do                          automobile medical, automobile no-fault, uninsured or
not elect to enroll in Medicare Parts A and/or B when first                   underinsured motorist, homeowners, workers'
eligible, or you receive services from a provider who does                    compensation, government insurance (other than Medicaid),
not accept Medicare payments, this Plan will calculate                        or similar type of insurance or coverage. The coverage
payment based on what should have been paid by                                under this plan is secondary to any automobile no-fault or
Medicare as the primary payer if the person had been                          similar coverage.
enrolled or had received services from a provider who                     Subrogation/Right of Reimbursement
accepts Medicare payments. A person is considered                         If a Participant incurs a Covered Expense for which, in the
eligible for Medicare on the earliest date any coverage                   opinion of the plan or its claim administrator, another party
under Medicare could become effective.                                    may be responsible or for which the Participant may receive
Failure to Enroll in Medicare                                             payment as described above:
If you, your spouse, or your Dependent do not enroll in                   •   Subrogation: The plan shall, to the extent permitted by law,
Medicare Parts A and/or B during the person’s initial                         be subrogated to all rights, claims or interests that a
Medicare enrollment period, or the person opts out of                         Participant may have against such party and shall
coverage, the person may be subject to Medicare late                          automatically have a lien upon the proceeds of any recovery
enrollment penalties, which can cause a delay in coverage and                 by a Participant from such party to the extent of any benefits
result in higher Medicare premiums when the person does                       paid under the plan. A Participant or his/her representative
enroll. It can also result in a reduction in coverage under                   shall execute such documents as may be required to secure
Medicare Parts A and B. If you are planning to retire or                      the plan’s subrogation rights.
terminate employment and you will be eligible for COBRA,                  •   Right of Reimbursement: The plan is also granted a right of
state Continuation, or retiree coverage under this Plan, you                  reimbursement from the proceeds of any recovery whether
should enroll in Medicare before you terminate employment to                  by settlement, judgment, or otherwise. This right of
avoid penalties and to receive the maximum coverage under                     reimbursement is cumulative with and not exclusive of the


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    subrogation right granted in paragraph 1, but only to the                 any Participant, whether under comparative negligence or
    extent of the benefits provided by the plan.                              otherwise.
Lien of the Plan                                                          •   The plan hereby disavows all equitable defenses in pursuit
By accepting benefits under this plan, a Participant:                         of its right of recovery. The plan’s subrogation or recovery
                                                                              rights are neither affected nor diminished by equitable
•   grants a lien and assigns to the plan an amount equal to the              defenses.
    benefits paid under the plan against any recovery made by
    or on behalf of the Participant which is binding on any               •   In the event that a Participant shall fail or refuse to honor its
    attorney or other party who represents the Participant                    obligations hereunder, then the plan shall be entitled to
    whether or not an agent of the Participant or of any                      recover any costs incurred in enforcing the terms hereof
    insurance company or other financially responsible party                  including, but not limited to, attorney’s fees, litigation, court
    against whom a Participant may have a claim provided said                 costs, and other expenses. The plan shall also be entitled to
    attorney, insurance carrier or other party has been notified              offset the reimbursement obligation against any entitlement
    by the plan or its agents;                                                to future medical benefits hereunder until the Participant has
                                                                              fully complied with his reimbursement obligations
•   agrees that this lien shall constitute a charge against the               hereunder, regardless of how those future medical benefits
    proceeds of any recovery and the plan shall be entitled to                are incurred.
    assert a security interest thereon;
                                                                          •   Any reference to state law in any other provision of this
•   agrees to hold the proceeds of any recovery in trust for the              plan shall not be applicable to this provision, if the plan is
    benefit of the plan to the extent of any payment made by the              governed by ERISA. By acceptance of benefits under the
    plan.                                                                     plan, the Participant agrees that a breach hereof would cause
Additional Terms                                                              irreparable and substantial harm and that no adequate
•   No adult Participant hereunder may assign any rights that it              remedy at law would exist. Further, the Plan shall be
    may have to recover medical expenses from any third party                 entitled to invoke such equitable remedies as may be
    or other person or entity to any minor Dependent of said                  necessary to enforce the terms of the plan, including, but not
    adult Participant without the prior express written consent               limited to, specific performance, restitution, the imposition
    of the plan. The plan’s right to recover shall apply to                   of an equitable lien and/or constructive trust, as well as
    decedents’, minors’, and incompetent or disabled persons’                 injunctive relief.
    settlements or recoveries.                                            •   Participants must assist the plan in pursuing any subrogation
•   No Participant shall make any settlement, which specifically              or recovery rights by providing requested information.
    reduces or excludes, or attempts to reduce or exclude, the
    benefits provided by the plan.                                        HC-SUB77                                                         01-17
•   The plan’s right of recovery shall be a prior lien against any
    proceeds recovered by the Participant. This right of
    recovery shall not be defeated nor reduced by the
    application of any so-called “Made-Whole Doctrine”,                   Payment of Benefits
    “Rimes Doctrine”, or any other such doctrine purporting to            Assignment and Payment of Benefits
    defeat the plan’s recovery rights by allocating the proceeds          You may not assign to any party, including, but not limited to,
    exclusively to non-medical expense damages.                           a provider of healthcare services/items, your right to benefits
•   No Participant hereunder shall incur any expenses on behalf           under this plan, nor may you assign any administrative,
    of the plan in pursuit of the plan’s rights hereunder,                statutory, or legal rights or causes of action you may have
    specifically; no court costs, attorneys' fees or other                under ERISA, including, but not limited to, any right to make
    representatives' fees may be deducted from the plan’s                 a claim for plan benefits, to request plan or other documents,
    recovery without the prior express written consent of the             to file appeals of denied claims or grievances, or to file
    plan. This right shall not be defeated by any so-called “Fund         lawsuits under ERISA. Any attempt to assign such rights shall
    Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund                be void and unenforceable under all circumstances.
    Doctrine”.                                                            You may, however, authorize Cigna to pay any healthcare
•   The plan shall recover the full amount of benefits provided           benefits under this policy to a Participating or Non-
    hereunder without regard to any claim of fault on the part of         Participating Provider. When you authorize the payment of
                                                                          your healthcare benefits to a Participating or Non-Participating


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Provider, you authorize the payment of the entire amount of             Recovery of Overpayment
the benefits due on that claim. If a provider is overpaid               When an overpayment has been made by Cigna, Cigna will
because of accepting duplicate payments from you and Cigna,             have the right at any time to: recover that overpayment from
it is the provider’s responsibility to reimburse the                    the person to whom or on whose behalf it was made; or offset
overpayment to you. Cigna may pay all healthcare benefits for           the amount of that overpayment from a future claim payment.
Covered Expenses directly to a Participating Provider without           In addition, your acceptance of benefits under this plan and/or
your authorization. You may not interpret or rely upon this             assignment of Medical Benefits separately creates an equitable
discrete authorization or permission to pay any healthcare              lien by agreement pursuant to which Cigna may seek recovery
benefits to a Participating or Non-Participating Provider as the        of any overpayment. You agree that Cigna, in seeking
authority to assign any other rights under this policy to any           recovery of any overpayment as a contractual right or as an
party, including, but not limited to, a provider of healthcare          equitable lien by agreement, may pursue the general assets of
services/items.                                                         the person or entity to whom or on whose behalf the
Even if the payment of healthcare benefits to a Non-                    overpayment was made.
Participating Provider has been authorized by you, Cigna may,           Calculation of Covered Expenses
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents               Cigna, in its discretion, will calculate Covered Expenses
are responsible for reimbursing the Non-Participating                   following evaluation and validation of all provider billings in
Provider.                                                               accordance with:
If any person to whom benefits are payable is a minor or, in            •   the methodologies in the most recent edition of the Current
the opinion of Cigna is not able to give a valid receipt for any            Procedural terminology.
payment due him, such payment will be made to his legal                 •   the methodologies as reported by generally recognized
guardian. If no request for payment has been made by his legal              professionals or publications.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
                                                                        HC-POB132                                                    01-19
and support.
When one of our participants passes away, Cigna may receive
notice that an executor of the estate has been established. The
executor has the same rights as our insured and benefit                 Termination of Insurance
payments for unassigned claims should be made payable to the
executor.                                                               Employees
Payment as described above will release Cigna from all                  Your insurance will cease on the earliest date below:
liability to the extent of any payment made.
                                                                        •   the date you cease to be in a Class of Eligible Employees or
                                                                            cease to qualify for the insurance.
                                                                        •   the last day for which you have made any required
                                                                            contribution for the insurance.
                                                                        •   the date the policy is canceled.
                                                                        •   the date your Active Service ends except as described
                                                                            below.
                                                                        Any continuation of insurance must be based on a plan which
                                                                        precludes individual selection.
                                                                        Temporary Layoff or Leave of Absence
                                                                        If your Active Service ends due to temporary layoff or leave
                                                                        of absence, your insurance will be continued until the date
                                                                        your Employer stops paying premium for you or otherwise
                                                                        cancels your insurance. However, your insurance will not be
                                                                        continued for more than 60 days past the date your Active
                                                                        Service ends.



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Injury or Sickness                                                       may have developed during the period that coverage was
If your Active Service ends due to an Injury or Sickness, your           interrupted due to active military duty.
insurance will be continued while you remain totally and                 Provisions Applicable to Reinstatement
continuously disabled as a result of the Injury or Sickness for a        •   You must notify your Employer, before reporting for
period not longer than 12 months.                                            military duty, that you intend to return to Active Service
                                                                             with that Employer; and
Dependents                                                               •   You must notify your Employer that you elect such
Your insurance for all of your Dependents will cease on the                  reinstatement within 30 days after returning to Active
earliest date below:                                                         Service with that Employer and pay any required premium.
•   the date your insurance ceases.                                      Conversion Available Following Continuation
•   the date you cease to be eligible for Dependent Insurance.           The provisions of the "Medical Conversion Privilege" section
•   the last day for which you have made any required                    will apply when the insurance ceases.
    contribution for the insurance.
•   the date Dependent Insurance is cancelled.                           HC-TRM131                                                        01-18

The insurance for any one of your Dependents will cease on
the date that Dependent no longer qualifies as a Dependent.
Special Continuation of Medical Insurance For                            Rescissions
Dependents of Military Reservists                                        Your coverage may not be rescinded (retroactively terminated)
If your insurance ceases because you are called to active                by Cigna or the plan sponsor unless the plan sponsor or an
military duty in: the Florida National Guard; or the United              individual (or a person seeking coverage on behalf of the
States military reserves, you may elect to continue Dependent            individual) performs an act, practice or omission that
insurance. You must pay the required premiums to the                     constitutes fraud; or the plan sponsor or individual (or a
Policyholder if you choose to continue Dependent insurance.              person seeking coverage on behalf of the individual) makes an
In no event will coverage be continued beyond the earliest of            intentional misrepresentation of material fact.
the following dates:
•   the expiration of 30 days from the date the Employee's               HC-TRM80                                                         01-11
    military service ends;
•   the last day for which the required contribution for
    Dependent insurance has been made;
                                                                         Medical Benefits Extension Upon Policy
•   the date the Dependent becomes eligible for insurance under
    another group policy. Coverage under the Civilian Health             Cancellation
    and Medical Program of the Uniformed Services                        If the Medical Benefits under this plan cease for you or your
    (CHAMPUS) is excluded from this provision;                           Dependent due to cancellation of the policy, and you or your
•   the date the Dependent becomes eligible for Medicare (this           Dependent is Totally Disabled on that date due to an Injury,
    does not apply to Vision insurance);                                 Sickness or pregnancy, Medical Benefits will be paid for
                                                                         Covered Expenses incurred in connection with that Injury,
•   the date the group policy cancels;                                   Sickness or pregnancy. However, no benefits will be paid after
•   the date the Dependent ceases to be an eligible Dependent.           the earliest of:
Reinstatement of Medical Insurance - Employees and                       •   the date you exceed the Maximum Benefit, if any, shown in
Dependents                                                                   the Schedule;
Upon completion of your active military duty in: the Florida             •   the date a succeeding carrier agrees to provide coverage
National Guard; or the United States military reserves, you are              without limitation for the disabling condition;
entitled to the reinstatement of your insurance and that of your         •   the date you are no longer Totally Disabled;
Dependents if continuation of Dependent insurance was not
elected. Such reinstatement will be without the application of:          •   12 months from the date the policy is canceled; or
any new waiting periods; or the Pre-existing Condition                   •   for pregnancy, until delivery.
Limitation to any new condition that you or your Dependent


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Totally Disabled                                                           and relates to benefits under the group health plan, and
You will be considered Totally Disabled if, because of an                  satisfies all of the following:
Injury or a Sickness:                                                      •   the order recognizes or creates a child’s right to receive
•   you are unable to perform the basic duties of your                         group health benefits for which a participant or beneficiary
    occupation; and                                                            is eligible;
•   you are not performing any other work or engaging in any               •   the order specifies your name and last known address, and
    other occupation for wage or profit.                                       the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Your Dependent will be considered Totally Disabled if,                         subdivision may be substituted for the child’s mailing
because of an Injury or a Sickness:                                            address;
•   he is unable to engage in the normal activities of a person of         •   the order provides a description of the coverage to be
    the same age, sex and ability; or                                          provided, or the manner in which the type of coverage is to
•   in the case of a Dependent who normally works for wage or                  be determined;
    profit, he is not performing such work.                                •   the order states the period to which it applies; and
                                                                           •   if the order is a National Medical Support Notice completed
HC-BEX42                                                      04-11            in accordance with the Child Support Performance and
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.
Federal Requirements                                                       The QMCSO may not require the health insurance policy to
                                                                           provide coverage for any type or form of benefit or option not
The following pages explain your rights and responsibilities               otherwise provided under the policy, except that an order may
under federal laws and regulations. Some states may have                   require a plan to comply with State laws regarding health care
similar requirements. If a similar provision appears elsewhere             coverage.
in this booklet, the provision which provides the better benefit
will apply.                                                                Payment of Benefits
                                                                           Any payment of benefits in reimbursement for Covered
                                                                           Expenses paid by the child, or the child’s custodial parent or
HC-FED1                                                       10-10
                                                                           legal guardian, shall be made to the child, the child’s custodial
                                                                           parent or legal guardian, or a state official whose name and
                                                                           address have been substituted for the name and address of the
Qualified Medical Child Support Order                                      child.
(QMCSO)
Eligibility for Coverage Under a QMCSO                                     HC-FED4                                                       10-10

If a Qualified Medical Child Support Order (QMCSO) is
issued for your child, that child will be eligible for coverage as
required by the order and you will not be considered a Late                Special Enrollment Rights Under the Health
Entrant for Dependent Insurance.                                           Insurance Portability & Accountability Act
You must notify your Employer and elect coverage for that                  (HIPAA)
child, and yourself if you are not already enrolled, within 31
days of the QMCSO being issued.                                            If you or your eligible Dependent(s) experience a special
                                                                           enrollment event as described below, you or your eligible
Qualified Medical Child Support Order Defined                              Dependent(s) may be entitled to enroll in the Plan outside of a
A Qualified Medical Child Support Order is a judgment,                     designated enrollment period upon the occurrence of one of
decree or order (including approval of a settlement agreement)             the special enrollment events listed below. If you are already
or administrative notice, which is issued pursuant to a state              enrolled in the Plan, you may request enrollment for you and
domestic relations law (including a community property law),               your eligible Dependent(s) under a different option offered by
or to an administrative process, which provides for child                  the Employer for which you are currently eligible. If you are
support or provides for health benefit coverage to such child              not already enrolled in the Plan, you must request special
                                                                           enrollment for yourself in addition to your eligible



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Dependent(s). You and all of your eligible Dependent(s) must             •   Termination of Employer contributions (excluding
be covered under the same option. The special enrollment                     continuation coverage). If a current or former Employer
events include:                                                              ceases all contributions toward the Employee’s or
•   Acquiring a new Dependent. If you acquire a new                          Dependent’s other coverage, special enrollment may be
    Dependent(s) through marriage, birth, adoption or                        requested in this Plan for you and all of your eligible
    placement for adoption, you may request special enrollment               Dependent(s).
    for any of the following combinations of individuals if not          •   Exhaustion of COBRA or other continuation coverage.
    already enrolled in the Plan: Employee only; spouse only;                Special enrollment may be requested in this Plan for you
    Employee and spouse; Dependent child(ren) only;                          and all of your eligible Dependent(s) upon exhaustion of
    Employee and Dependent child(ren); Employee, spouse and                  COBRA or other continuation coverage. If you or your
    Dependent child(ren). Enrollment of Dependent children is                Dependent(s) elect COBRA or other continuation coverage
    limited to the newborn or adopted children or children who               following loss of coverage under another plan, the COBRA
    became Dependent children of the Employee due to                         or other continuation coverage must be exhausted before
    marriage.                                                                any special enrollment rights exist under this Plan. An
•   Loss of eligibility for State Medicaid or Children’s                     individual is considered to have exhausted COBRA or other
    Health Insurance Program (CHIP). If you and/or your                      continuation coverage only if such coverage ceases: due to
    Dependent(s) were covered under a state Medicaid or CHIP                 failure of the Employer or other responsible entity to remit
    plan and the coverage is terminated due to a loss of                     premiums on a timely basis; when the person no longer
    eligibility, you may request special enrollment for yourself             resides or works in the other plan’s service area and there is
    and any affected Dependent(s) who are not already enrolled               no other COBRA or continuation coverage available under
    in the Plan. You must request enrollment within 60 days                  the plan; or when the individual incurs a claim that would
    after termination of Medicaid or CHIP coverage.                          meet or exceed a lifetime maximum limit on all benefits and
                                                                             there is no other COBRA or other continuation coverage
•   Loss of eligibility for other coverage (excluding                        available to the individual. This does not include
    continuation coverage). If coverage was declined under                   termination of an Employer’s limited period of
    this Plan due to coverage under another plan, and eligibility            contributions toward COBRA or other continuation
    for the other coverage is lost, you and all of your eligible             coverage as provided under any severance or other
    Dependent(s) may request special enrollment in this Plan. If             agreement.
    required by the Plan, when enrollment in this Plan was
    previously declined, it must have been declined in writing           •   Eligibility for employment assistance under State
    with a statement that the reason for declining enrollment                Medicaid or Children’s Health Insurance Program
    was due to other health coverage. This provision applies to              (CHIP). If you and/or your Dependent(s) become eligible
    loss of eligibility as a result of any of the following:                 for assistance with group health plan premium payments
                                                                             under a state Medicaid or CHIP plan, you may request
    • divorce or legal separation;
                                                                             special enrollment for yourself and any affected
    • cessation of Dependent status (such as reaching the                    Dependent(s) who are not already enrolled in the Plan. You
      limiting age);                                                         must request enrollment within 60 days after the date you
    • death of the Employee;                                                 are determined to be eligible for assistance.
    • termination of employment;                                         Except as stated above, special enrollment must be
                                                                         requested within 30 days after the occurrence of the
    • reduction in work hours to below the minimum required
                                                                         special enrollment event. If the special enrollment event is
      for eligibility;                                                   the birth or adoption of a Dependent child, coverage will
    • you or your Dependent(s) no longer reside, live or work            be effective immediately on the date of birth, adoption or
      in the other plan’s network service area and no other              placement for adoption. Coverage with regard to any other
      coverage is available under the other plan;                        special enrollment event will be effective no later than the
    • you or your Dependent(s) incur a claim which meets or              first day of the first calendar month following receipt of
      exceeds the lifetime maximum limit that is applicable to           the request for special enrollment.
      all benefits offered under the other plan; or                      Domestic Partners and their children (if not legal children of
    • the other plan no longer offers any benefits to a class of         the Employee) are not eligible for special enrollment.
      similarly situated individuals.
                                                                         HC-FED96                                                      04-17




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                                                                         enrolls or increases coverage due to loss of Medicare or
                                                                         Medicaid eligibility.
Effect of Section 125 Tax Regulations on This                            E. Change in cost of coverage
Plan                                                                     If the cost of benefits increases or decreases during a benefit
Your Employer has chosen to administer this Plan in                      period, your Employer may, in accordance with plan terms,
accordance with Section 125 regulations of the Internal                  automatically change your elective contribution.
Revenue Code. Per this regulation, you may agree to a pretax             When the change in cost is significant, you may either
salary reduction put toward the cost of your benefits.                   increase your contribution or elect less-costly coverage. When
Otherwise, you will receive your taxable earnings as cash                a significant overall reduction is made to the benefit option
(salary).                                                                you have elected, you may elect another available benefit
A. Coverage elections                                                    option. When a new benefit option is added, you may change
                                                                         your election to the new benefit option.
Per Section 125 regulations, you are generally allowed to
enroll for or change coverage only before each annual benefit            F. Changes in coverage of spouse or Dependent under
period. However, exceptions are allowed:                                 another employer’s plan
•   if you meet Special Enrollment criteria and enroll as                You may make a coverage election change if the plan of your
    described in the Special Enrollment section; or                      spouse or Dependent: incurs a change such as adding or
                                                                         deleting a benefit option; allows election changes due to
•   if your Employer agrees, and you meet the criteria shown in
                                                                         Special Enrollment, Change in Status, Court Order or
    the following Sections B through H and enroll for or change
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and
    coverage within the time period established by your
                                                                         the other plan have different periods of coverage or open
    Employer.
                                                                         enrollment periods.
B. Change of status
                                                                         G. Reduction in work hours
A change in status is defined as:
                                                                         If an Employee’s work hours are reduced below 30
•   change in legal marital status due to marriage, death of a           hours/week (even if it does not result in the Employee losing
    spouse, divorce, annulment or legal separation;                      eligibility for the Employer’s coverage); and the Employee
•   change in number of Dependents due to birth, adoption,               (and family) intend to enroll in another plan that provides
    placement for adoption, or death of a Dependent;                     Minimum Essential Coverage (MEC). The new coverage must
•   change in employment status of Employee, spouse or                   be effective no later than the 1st day of the 2nd month
    Dependent due to termination or start of employment,                 following the month that includes the date the original
    strike, lockout, beginning or end of unpaid leave of absence,        coverage is revoked.
    including under the Family and Medical Leave Act                     H. Enrollment in a Qualified Health Plan (QHP)
    (FMLA), or change in worksite;                                       Employee: The Employee must be eligible for a Special
•   changes in employment status of Employee, spouse or                  Enrollment Period to enroll in a QHP through an Exchange
    Dependent resulting in eligibility or ineligibility for              (Marketplace) or the Employee seeks to enroll in a QHP
    coverage;                                                            through an Exchange during the Marketplace’s annual open
•   change in residence of Employee, spouse or Dependent to a            enrollment period; and the disenrollment from the group plan
    location outside of the Employer’s network service area;             corresponds to the intended enrollment of the Employee (and
    and                                                                  family) in a QHP through an Exchange for new coverage
                                                                         effective beginning no later than the day immediately
•   changes which cause a Dependent to become eligible or                following the last day of the original coverage.
    ineligible for coverage.
                                                                         Family: A plan may allow an Employee to revoke family
C. Court order                                                           coverage midyear in order for family members (“related
A change in coverage due to and consistent with a court order            individuals”) to enroll in a QHP through an Exchange
of the Employee or other person to cover a Dependent.                    (Marketplace). The related individual(s) must be eligible for a
D. Medicare or Medicaid eligibility/entitlement                          Special Enrollment Period to enroll in a QHP or seek to enroll
                                                                         in a QHP during the Marketplace’s annual open enrollment
The Employee, spouse or Dependent cancels or reduces                     period, and the disenrollment from the group plan corresponds
coverage due to entitlement to Medicare or Medicaid, or                  to the intended enrollment of the individual(s) in a QHP for



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new coverage effective beginning no later than the day                     Women’s Health and Cancer Rights Act
immediately following the last day of the original coverage. If            (WHCRA)
the Employee does not enroll in a QHP, the Employee must
select self-only coverage or family coverage including one or              Do you know that your plan, as required by the Women’s
more already-covered individuals.                                          Health and Cancer Rights Act of 1998, provides benefits for
                                                                           mastectomy-related services including all stages of
                                                                           reconstruction and surgery to achieve symmetry between the
HC-FED111                                                     01-23        breasts, prostheses, and complications resulting from a
                                                                           mastectomy, including lymphedema? Call Member Services at
                                                                           the toll free number listed on your ID card for more
Eligibility for Coverage for Adopted Children                              information.
Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent               HC-FED12                                                       10-10

Insurance, if otherwise eligible as a Dependent, upon the date
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that                 Group Plan Coverage Instead of Medicaid
child, totally or partially, prior to that child’s adoption.
                                                                           If your income and liquid resources do not exceed certain
If a child placed for adoption is not adopted, all health                  limits established by law, the state may decide to pay
coverage ceases when the placement ends, and will not be                   premiums for this coverage instead of for Medicaid, if it is
continued.                                                                 cost effective. This includes premiums for continuation
The provisions in the “Exception for Newborns” section of                  coverage required by federal law.
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.                                   HC-FED13                                                       10-10




HC-FED67                                                      09-14
                                                                           Requirements of Family and Medical Leave Act
                                                                           of 1993 (as amended) (FMLA)
Coverage for Maternity Hospital Stay                                       Any provisions of the policy that provide for: continuation of
                                                                           insurance during a leave of absence; and reinstatement of
Group health plans and health insurance issuers offering group             insurance following a return to Active Service; are modified
health insurance coverage generally may not, under a federal               by the following provisions of the federal Family and Medical
law known as the “Newborns’ and Mothers’ Health Protection                 Leave Act of 1993, as amended, where applicable:
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to              Continuation of Health Insurance During Leave
less than 48 hours following a vaginal delivery, or less than 96           Your health insurance will be continued during a leave of
hours following a cesarean section; or require that a provider             absence if:
obtain authorization from the plan or insurance issuer for                 •   that leave qualifies as a leave of absence under the Family
prescribing a length of stay not in excess of the above periods.               and Medical Leave Act of 1993, as amended; and
The law generally does not prohibit an attending provider of
                                                                           •   you are an eligible Employee under the terms of that Act.
the mother or newborn, in consultation with the mother, from
discharging the mother or newborn earlier than 48 or 96 hours,             The cost of your health insurance during such leave must be
as applicable.                                                             paid, whether entirely by your Employer or in part by you and
                                                                           your Employer.
Please review this Plan for further details on the specific
coverage available to you and your Dependents.                             Reinstatement of Canceled Insurance Following Leave
                                                                           Upon your return to Active Service following a leave of
                                                                           absence that qualifies under the Family and Medical Leave
HC-FED11                                                      10-10
                                                                           Act of 1993, as amended, any canceled insurance (health, life
                                                                           or disability) will be reinstated as of the date of your return.



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You will not be required to satisfy any eligibility or benefit            You and your Dependents will be subject to only the balance
waiting period to the extent that they had been satisfied prior           of a waiting period that was not yet satisfied before the leave
to the start of such leave of absence.                                    began. However, if an Injury or Sickness occurs or is
Your Employer will give you detailed information about the                aggravated during the military leave, full Plan limitations will
Family and Medical Leave Act of 1993, as amended.                         apply.
                                                                          If your coverage under this plan terminates as a result of your
                                                                          eligibility for military medical and dental coverage and your
HC-FED93                                                     10-17
                                                                          order to active duty is canceled before your active duty service
                                                                          commences, these reinstatement rights will continue to apply.

Uniformed Services Employment and Re-
                                                                          HC-FED18                                                     10-10
Employment Rights Act of 1994 (USERRA)
The Uniformed Services Employment and Re-employment
Rights Act of 1994 (USERRA) sets requirements for
                                                                          Claim Determination Procedures under ERISA
continuation of health coverage and re-employment in regard
to an Employee’s military leave of absence. These                         The following complies with federal law. Provisions of
requirements apply to medical and dental coverage for you                 applicable laws of your state may supersede.
and your Dependents. They do not apply to any Life, Short-                Procedures Regarding Medical Necessity Determinations
term or Long-term Disability or Accidental Death &                        In general, health services and benefits must be Medically
Dismemberment coverage you may have.                                      Necessary to be covered under the plan. The procedures for
Continuation of Coverage                                                  determining Medical Necessity vary, according to the type of
For leaves of less than 31 days, coverage will continue as                service or benefit requested, and the type of health plan.
described in the Termination section regarding Leave of                   Medical Necessity determinations are made on a preservice,
Absence.                                                                  concurrent, or postservice basis, as described below:
For leaves of 31 days or more, you may continue coverage for              Certain services require prior authorization in order to be
yourself and your Dependents as follows:                                  covered. The Certificate describes who is responsible for
                                                                          obtaining this review. You or your authorized representative
You may continue benefits by paying the required premium to
                                                                          (typically, your health care professional) must request prior
your Employer, until the earliest of the following:
                                                                          authorization according to the procedures described below, in
•   24 months from the last day of employment with the                    the Certificate, and in your provider’s network participation
    Employer;                                                             documents as applicable.
•   the day after you fail to return to work; and                         When services or benefits are determined to be not covered,
•   the date the policy cancels.                                          you or your representative will receive a written description of
                                                                          the adverse determination, and may appeal the determination.
Your Employer may charge you and your Dependents up to
                                                                          Appeal procedures are described in the Certificate, in your
102% of the total premium.
                                                                          provider’s network participation documents as applicable, and
Following continuation of health coverage per USERRA                      in the determination notices.
requirements, you may convert to a plan of individual
                                                                          Note: An oral statement made to you by a representative of
coverage according to any “Conversion Privilege” shown in
                                                                          Cigna or its designee that indicates, for example, a particular
your certificate.
                                                                          service is a Covered Expense, is authorized for coverage by
Reinstatement of Benefits (applicable to all coverages)                   the plan, or that you are eligible for coverage is not a
If your coverage ends during the leave of absence because you             guarantee that you will receive benefits for services under this
do not elect USERRA or an available conversion plan at the                plan. Cigna will make a benefit determination after a claim is
expiration of USERRA and you are reemployed by your                       received from you or your authorized representative, and the
current Employer, coverage for you and your Dependents may                benefit determination will be based on, your eligibility as of
be reinstated if you gave your Employer advance written or                the date services were rendered to you and the terms and
verbal notice of your military service leave, and the duration            conditions of the plan in effect as of the date services were
of all military leaves while you are employed with your                   rendered to you.
current Employer does not exceed 5 years.


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Preservice Determinations                                               determination at least 24 hours prior to the expiration of the
When you or your representative requests a required prior               approved period of time or number of treatments. When you
authorization, Cigna will notify you or your representative of          or your representative requests such a determination, Cigna
the determination within 15 days after receiving the request.           will notify you or your representative of the determination
However, if more time is needed due to matters beyond                   within 24 hours after receiving the request.
Cigna’s control, Cigna will notify you or your representative           Postservice Determinations
within 15 days after receiving your request. This notice will           When you or your representative requests a coverage
include the date a determination can be expected, which will            determination or a claim payment determination after services
be no more than 30 days after receipt of the request. If more           have been rendered, Cigna will notify you or your
time is needed because necessary information is missing from            representative of the determination within 30 days after
the request, the notice will also specify what information is           receiving the request. However, if more time is needed to
needed, and you or your representative must provide the                 make a determination due to matters beyond Cigna’s control,
specified information to Cigna within 45 days after receiving           Cigna will notify you or your representative within 30 days
the notice. The determination period will be suspended on the           after receiving the request. This notice will include the date a
date Cigna sends such a notice of missing information, and the          determination can be expected, which will be no more than 45
determination period will resume on the date you or your                days after receipt of the request.
representative responds to the notice.
                                                                        If more time is needed because necessary information is
If the determination periods above would seriously jeopardize           missing from the request, the notice will also specify what
your life or health, your ability to regain maximum function,           information is needed, and you or your representative must
or in the opinion of a health care professional with knowledge          provide the specified information to Cigna within 45 days
of your health condition, cause you severe pain which cannot            after receiving the notice. The determination period will be
be managed without the requested services, Cigna will make              suspended on the date Cigna sends such a notice of missing
the preservice determination on an expedited basis. Cigna will          information, and the determination period will resume on the
defer to the determination of the treating health care                  date you or your representative responds to the notice.
professional regarding whether an expedited determination is
necessary. Cigna will notify you or your representative of an           Notice of Adverse Determination
expedited determination within 72 hours after receiving the             Every notice of an adverse benefit determination will be
request.                                                                provided in writing or electronically, and will include all of
However, if necessary information is missing from the                   the following that pertain to the determination: information
request, Cigna will notify you or your representative within 24         sufficient to identify the claim including, if applicable, the
hours after receiving the request to specify what information is        date of service, provider and claim amount; diagnosis and
needed. You or your representative must provide the specified           treatment codes, and their meanings; the specific reason or
information to Cigna within 48 hours after receiving the                reasons for the adverse determination including, if applicable,
notice. Cigna will notify you or your representative of the             the denial code and its meaning and a description of any
expedited benefit determination within 48 hours after you or            standard that was used in the denial; reference to the specific
your representative responds to the notice. Expedited                   plan provisions on which the determination is based; a
determinations may be provided orally, followed within 3 days           description of any additional material or information necessary
by written or electronic notification.                                  to perfect the claim and an explanation of why such material
                                                                        or information is necessary; a description of the plan’s review
If you or your representative attempts to request a preservice          procedures and the time limits applicable, including a
determination, but fails to follow Cigna’s procedures for               statement of a claimant’s rights to bring a civil action under
requesting a required preservice determination, Cigna will              section 502(a) of ERISA following an adverse benefit
notify you or your representative of the failure and describe           determination on appeal, (if applicable); upon request and free
the proper procedures for filing within 5 days (or 24 hours, if         of charge, a copy of any internal rule, guideline, protocol or
an expedited determination is required, as described above)             other similar criterion that was relied upon in making the
after receiving the request. This notice may be provided orally,        adverse determination regarding your claim; and an
unless you or your representative requests written notification.        explanation of the scientific or clinical judgment for a
Concurrent Determinations                                               determination that is based on a Medical Necessity,
When an ongoing course of treatment has been approved for               experimental treatment or other similar exclusion or limit; a
you and you wish to extend the approval, you or your                    description of any available internal appeal and/or external
representative must request a required concurrent coverage              review process(es); information about any office of health


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insurance consumer assistance or ombudsman available to                       COBRA continuation coverage even if you decline or are not
assist you with the appeal process; and in the case of a claim                eligible for COBRA continuation.
involving urgent care, a description of the expedited review                  The following individuals are not qualified beneficiaries for
process applicable to such claim.                                             purposes of COBRA continuation: domestic partners,
                                                                              grandchildren (unless adopted by you), stepchildren (unless
HC-FED104                                                        01-19
                                                                              adopted by you). Although these individuals do not have an
                                                                              independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
COBRA Continuation Rights Under Federal                                       considered qualified beneficiaries under COBRA. However,
Law                                                                           such individuals’ coverage will terminate when your COBRA
For You and Your Dependents                                                   continuation coverage terminates. The sections titled
                                                                              “Secondary Qualifying Events” and “Medicare Extension For
What is COBRA Continuation Coverage?                                          Your Dependents” are not applicable to these individuals.
Under federal law, you and/or your Dependents must be given                   Secondary Qualifying Events
the opportunity to continue health insurance when there is a
“qualifying event” that would result in loss of coverage under                If, as a result of your termination of employment or reduction
the Plan. You and/or your Dependents will be permitted to                     in work hours, your Dependent(s) have elected COBRA
continue the same coverage under which you or your                            continuation coverage and one or more Dependents experience
Dependents were covered on the day before the qualifying                      another COBRA qualifying event, the affected Dependent(s)
event occurred, unless you move out of that plan’s coverage                   may elect to extend their COBRA continuation coverage for
area or the plan is no longer available. You and/or your                      an additional 18 months (7 months if the secondary event
Dependents cannot change coverage options until the next                      occurs within the disability extension period) for a maximum
open enrollment period.                                                       of 36 months from the initial qualifying event. The second
                                                                              qualifying event must occur before the end of the initial 18
When is COBRA Continuation Available?                                         months of COBRA continuation coverage or within the
For you and your Dependents, COBRA continuation is                            disability extension period discussed below. Under no
available for up to 18 months from the date of the following                  circumstances will COBRA continuation coverage be
qualifying events if the event would result in a loss of                      available for more than 36 months from the initial qualifying
coverage under the Plan:                                                      event. Secondary qualifying events are: your death; your
•   your termination of employment for any reason, other than                 divorce or legal separation; or, for a Dependent child, failure
    gross misconduct; or                                                      to continue to qualify as a Dependent under the Plan.
•   your reduction in work hours.                                             Disability Extension
For your Dependents, COBRA continuation coverage is                           If, after electing COBRA continuation coverage due to your
available for up to 36 months from the date of the following                  termination of employment or reduction in work hours, you or
qualifying events if the event would result in a loss of                      one of your Dependents is determined by the Social Security
coverage under the Plan:                                                      Administration (SSA) to be totally disabled under Title II or
                                                                              XVI of the SSA, you and all of your Dependents who have
•   your death;
                                                                              elected COBRA continuation coverage may extend such
•   your divorce or legal separation; or                                      continuation for an additional 11 months, for a maximum of
•   for a Dependent child, failure to continue to qualify as a                29 months from the initial qualifying event.
    Dependent under the Plan.                                                 To qualify for the disability extension, all of the following
Who is Entitled to COBRA Continuation?                                        requirements must be satisfied:
Only a “qualified beneficiary” (as defined by federal law) may                •   SSA must determine that the disability occurred prior to or
elect to continue health insurance coverage. A qualified                          within 60 days after the disabled individual elected COBRA
beneficiary may include the following individuals who were                        continuation coverage; and
covered by the Plan on the day the qualifying event occurred:                 •   A copy of the written SSA determination must be provided
you, your spouse, and your Dependent children. Each                               to the Plan Administrator within 60 calendar days after the
qualified beneficiary has their own right to elect or decline                     date the SSA determination is made AND before the end of
                                                                                  the initial 18-month continuation period.


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If the SSA later determines that the individual is no longer            area. If the Employer offers another benefit option through
disabled, you must notify the Plan Administrator within 30              Cigna or another carrier which can provide coverage in your
days after the date the final determination is made by SSA.             location, you may elect COBRA continuation coverage under
The 11-month disability extension will terminate for all                that option.
covered persons on the first day of the month that is more than         Employer’s Notification Requirements
30 days after the date the SSA makes a final determination
that the disabled individual is no longer disabled.                     Your Employer is required to provide you and/or your
                                                                        Dependents with the following notices:
All causes for “Termination of COBRA Continuation” listed
below will also apply to the period of disability extension.            •   An initial notification of COBRA continuation rights must
                                                                            be provided within 90 days after your (or your spouse’s)
Medicare Extension for Your Dependents                                      coverage under the Plan begins (or the Plan first becomes
When the qualifying event is your termination of employment                 subject to COBRA continuation requirements, if later). If
or reduction in work hours and you became enrolled in                       you and/or your Dependents experience a qualifying event
Medicare (Part A, Part B or both) within the 18 months before               before the end of that 90-day period, the initial notice must
the qualifying event, COBRA continuation coverage for your                  be provided within the time frame required for the COBRA
Dependents will last for up to 36 months after the date you                 continuation coverage election notice as explained below.
became enrolled in Medicare. Your COBRA continuation                    •   A COBRA continuation coverage election notice must be
coverage will last for up to 18 months from the date of your                provided to you and/or your Dependents within the
termination of employment or reduction in work hours.                       following timeframes:
Termination of COBRA Continuation                                           • if the Plan provides that COBRA continuation coverage
COBRA continuation coverage will be terminated upon the                       and the period within which an Employer must notify the
occurrence of any of the following:                                           Plan Administrator of a qualifying event starts upon the
•   the end of the COBRA continuation period of 18, 29 or 36                  loss of coverage, 44 days after loss of coverage under the
    months, as applicable;                                                    Plan;
•   failure to pay the required premium within 30 calendar days             • if the Plan provides that COBRA continuation coverage
    after the due date;                                                       and the period within which an Employer must notify the
                                                                              Plan Administrator of a qualifying event starts upon the
•   cancellation of the Employer’s policy with Cigna;                         occurrence of a qualifying event, 44 days after the
•   after electing COBRA continuation coverage, a qualified                   qualifying event occurs; or
    beneficiary enrolls in Medicare (Part A, Part B, or both);              • in the case of a multi-employer plan, no later than 14 days
•   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary becomes covered under another group health                    provide notice of a qualifying event to the Plan
    plan, unless the qualified beneficiary has a condition for                Administrator.
    which the new plan limits or excludes coverage under a pre-         How to Elect COBRA Continuation Coverage
    existing condition provision. In such case coverage will
    continue until the earliest of: the end of the applicable           The COBRA coverage election notice will list the individuals
    maximum period; the date the pre-existing condition                 who are eligible for COBRA continuation coverage and
    provision is no longer applicable; or the occurrence of an          inform you of the applicable premium. The notice will also
    event described in one of the first three bullets above;            include instructions for electing COBRA continuation
                                                                        coverage. You must notify the Plan Administrator of your
•   any reason the Plan would terminate coverage of a                   election no later than the due date stated on the COBRA
    participant or beneficiary who is not receiving continuation        election notice. If a written election notice is required, it must
    coverage (e.g., fraud).                                             be post-marked no later than the due date stated on the
Moving Out of Employer’s Service Area or Elimination of                 COBRA election notice. If you do not make proper
a Service Area                                                          notification by the due date shown on the notice, you and your
If you and/or your Dependents move out of the Employer’s                Dependents will lose the right to elect COBRA continuation
service area or the Employer eliminates a service area in your          coverage. If you reject COBRA continuation coverage before
location, your COBRA continuation coverage under the plan               the due date, you may change your mind as long as you
will be limited to out-of-network coverage only. In-network             furnish a completed election form before the due date.
coverage is not available outside of the Employer’s service



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Each qualified beneficiary has an independent right to elect           payment. Your COBRA continuation coverage will be
COBRA continuation coverage. Continuation coverage may                 provided for each coverage period as long as payment for that
be elected for only one, several, or for all Dependents who are        coverage period is made before the end of the grace period for
qualified beneficiaries. Parents may elect to continue coverage        that payment. However, if your payment is received after the
on behalf of their Dependent children. You or your spouse              due date, your coverage under the Plan may be suspended
may elect continuation coverage on behalf of all the qualified         during this time. Any providers who contact the Plan to
beneficiaries. You are not required to elect COBRA                     confirm coverage during this time may be informed that
continuation coverage in order for your Dependents to elect            coverage has been suspended. If payment is received before
COBRA continuation.                                                    the end of the grace period, your coverage will be reinstated
How Much Does COBRA Continuation Coverage Cost?                        back to the beginning of the coverage period. This means that
                                                                       any claim you submit for benefits while your coverage is
Each qualified beneficiary may be required to pay the entire           suspended may be denied and may have to be resubmitted
cost of continuation coverage. The amount may not exceed               once your coverage is reinstated. If you fail to make a
102% of the cost to the group health plan (including both              payment before the end of the grace period for that coverage
Employer and Employee contributions) for coverage of a                 period, you will lose all rights to COBRA continuation
similarly situated active Employee or family member. The               coverage under the Plan.
premium during the 11-month disability extension may not
exceed 150% of the cost to the group health plan (including            You Must Give Notice of Certain Qualifying Events
both employer and employee contributions) for coverage of a            If you or your Dependent(s) experience one of the following
similarly situated active Employee or family member.                   qualifying events, you must notify the Plan Administrator
For example: If the Employee alone elects COBRA                        within 60 calendar days after the later of the date the
continuation coverage, the Employee will be charged 102%               qualifying event occurs or the date coverage would cease as a
(or 150%) of the active Employee premium. If the spouse or             result of the qualifying event:
one Dependent child alone elects COBRA continuation                    •   Your divorce or legal separation; or
coverage, they will be charged 102% (or 150%) of the active            •   Your child ceases to qualify as a Dependent under the Plan.
Employee premium. If more than one qualified beneficiary
elects COBRA continuation coverage, they will be charged               •   The occurrence of a secondary qualifying event as discussed
102% (or 150%) of the applicable family premium.                           under “Secondary Qualifying Events” above (this notice
                                                                           must be received prior to the end of the initial 18- or 29-
When and How to Pay COBRA Premiums                                         month COBRA period).
First payment for COBRA continuation                                   (Also refer to the section titled “Disability Extension” for
If you elect COBRA continuation coverage, you do not have              additional notice requirements.)
to send any payment with the election form. However, you               Notice must be made in writing and must include: the name of
must make your first payment no later than 45 calendar days            the Plan, name and address of the Employee covered under the
after the date of your election. (This is the date the Election        Plan, name and address(es) of the qualified beneficiaries
Notice is postmarked, if mailed.) If you do not make your first        affected by the qualifying event; the qualifying event; the date
payment within that 45 days, you will lose all COBRA                   the qualifying event occurred; and supporting documentation
continuation rights under the Plan.                                    (e.g., divorce decree, birth certificate, disability determination,
Subsequent payments                                                    etc.).
After you make your first payment for COBRA continuation               Newly Acquired Dependents
coverage, you will be required to make subsequent payments             If you acquire a new Dependent through marriage, birth,
of the required premium for each additional month of                   adoption or placement for adoption while your coverage is
coverage. Payment is due on the first day of each month. If            being continued, you may cover such Dependent under your
you make a payment on or before its due date, your coverage            COBRA continuation coverage. However, only your newborn
under the Plan will continue for that coverage period without          or adopted Dependent child is a qualified beneficiary and may
any break.                                                             continue COBRA continuation coverage for the remainder of
Grace periods for subsequent payments                                  the coverage period following your early termination of
Although subsequent payments are due by the first day of the           COBRA coverage or due to a secondary qualifying event.
month, you will be given a grace period of 30 days after the           COBRA coverage for your Dependent spouse and any
first day of the coverage period to make each monthly                  Dependent children who are not your children (e.g.,
                                                                       stepchildren or grandchildren) will cease on the date your


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COBRA coverage ceases and they are not eligible for a                    The name, address, ZIP code and business telephone number
secondary qualifying event.                                              of the Plan Administrator is:
COBRA Continuation for Retirees Following Employer’s                     Magnit Global Solutions, Inc. Health and Welfare Benefit
Bankruptcy                                                               Plan
If you are covered as a retiree, and a proceeding in bankruptcy          110 Front Street, Suite 353
is filed with respect to the Employer under Title 11 of the              Jupiter, FL 33477
United States Code, you may be entitled to COBRA                         561-962-0710
continuation coverage. If the bankruptcy results in a loss of            The name, address and ZIP code of the person designated as
coverage for you, your Dependents or your surviving spouse               agent for service of legal process is:
within one year before or after such proceeding, you and your
covered Dependents will become COBRA qualified                             Employer named above
beneficiaries with respect to the bankruptcy. You will be                The office designated to consider the appeal of denied claims
entitled to COBRA continuation coverage until your death.                is:
Your surviving spouse and covered Dependent children will                  The Cigna Claim Office responsible for this Plan
be entitled to COBRA continuation coverage for up to 36
months following your death. However, COBRA continuation                 The cost of the Plan is shared by Employee and Employer.
coverage will cease upon the occurrence of any of the events             The Plan’s fiscal year ends on 04/30.
listed under “Termination of COBRA Continuation” above.                  The preceding pages set forth the eligibility requirements and
Conversion Available Following Continuation                              benefits provided for you under this Plan.
If your or your Dependents’ COBRA continuation ends due to               Plan Trustees
the expiration of the maximum 18-, 29- or 36-month period,               A list of any Trustees of the Plan, which includes name, title
whichever applies, you and/or your Dependents may be                     and address, is available upon request to the Plan
entitled to convert to the coverage in accordance with the               Administrator.
Medical Conversion benefit then available to Employees and
                                                                         Plan Type
the Dependents. Please refer to the section titled “Conversion
Privilege” for more information.                                         The plan is a healthcare benefit plan.
Interaction With Other Continuation Benefits                             Collective Bargaining Agreements
You may be eligible for other continuation benefits under state          You may contact the Plan Administrator to determine whether
law. Refer to the Termination section for any other                      the Plan is maintained pursuant to one or more collective
continuation benefits.                                                   bargaining agreements and if a particular Employer is a
                                                                         sponsor. A copy is available for examination from the Plan
                                                                         Administrator upon written request.
HC-FED66                                                    07-14
                                                                         Discretionary Authority
                                                                         The Plan Administrator delegates to Cigna the discretionary
                                                                         authority to interpret and apply plan terms and to make factual
ERISA Required Information                                               determinations in connection with its review of claims under
The name of the Plan is:                                                 the plan. Such discretionary authority is intended to include,
  Magnit Global Solutions, Inc.                                          but not limited to, the determination of the eligibility of
                                                                         persons desiring to enroll in or claim benefits under the plan,
The name, address, ZIP code and business telephone number                the determination of whether a person is entitled to benefits
of the sponsor of the Plan is:                                           under the plan, and the computation of any and all benefit
  Magnit Global Solutions, Inc.                                          payments. The Plan Administrator also delegates to Cigna the
  110 Front Street, Suite 353                                            discretionary authority to perform a full and fair review, as
  Jupiter, FL 33477                                                      required by ERISA, of each claim denial which has been
  561-962-0710                                                           appealed by the claimant or his duly authorized representative.
Employer Identification            Plan Number:                          Plan Modification, Amendment and Termination
Number (EIN):                                                            The Employer as Plan Sponsor reserves the right to, at any
273835632                          502                                   time, change or terminate benefits under the Plan, to change or



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terminate the eligibility of classes of employees to be covered           •   obtain, upon written request to the Plan Administrator,
by the Plan, to amend or eliminate any other plan term or                     copies of documents governing the Plan, including
condition, and to terminate the whole plan or any part of it.                 insurance contracts and collective bargaining agreements,
Contact the Employer for the procedure by which benefits                      and a copy of the latest annual report (Form 5500 Series)
may be changed or terminated, by which the eligibility of                     and updated summary plan description. The administrator
classes of employees may be changed or terminated, or by                      may make a reasonable charge for the copies.
which part or all of the Plan may be terminated. No consent of            •   receive a summary of the Plan’s annual financial report. The
any participant is required to terminate, modify, amend or                    Plan Administrator is required by law to furnish each person
change the Plan.                                                              under the Plan with a copy of this summary financial report.
Termination of the Plan together with termination of the                  Continue Group Health Plan Coverage
insurance policy(s) which funds the Plan benefits will have no
adverse effect on any benefits to be paid under the policy(s)             •   continue health care coverage for yourself, your spouse or
for any covered medical expenses incurred prior to the date                   Dependents if there is a loss of coverage under the Plan as a
that policy(s) terminates. Likewise, any extension of benefits                result of a qualifying event. You or your Dependents may
under the policy(s) due to you or your Dependent's total                      have to pay for such coverage. Review the documents
disability which began prior to and has continued beyond the                  governing the Plan on the rules governing your federal
date the policy(s) terminates will not be affected by the Plan                continuation coverage rights.
termination. Rights to purchase limited amounts of life and               Prudent Actions by Plan Fiduciaries
medical insurance to replace part of the benefits lost because            In addition to creating rights for plan participants, ERISA
the policy(s) terminated may arise under the terms of the                 imposes duties upon the people responsible for the operation
policy(s). A subsequent Plan termination will not affect the              of the employee benefit plan. The people who operate your
extension of benefits and rights under the policy(s).                     plan, called “fiduciaries” of the Plan, have a duty to do so
Your coverage under the Plan’s insurance policy(s) will end               prudently and in the interest of you and other plan participants
on the earliest of the following dates:                                   and beneficiaries. No one, including your employer, your
•   the date you leave Active Service (or later as explained in           union, or any other person may fire you or otherwise
    the Termination Section;)                                             discriminate against you in any way to prevent you from
                                                                          obtaining a welfare benefit or exercising your rights under
•   the date you are no longer in an eligible class;                      ERISA. If your claim for a welfare benefit is denied or
•   if the Plan is contributory, the date you cease to contribute;        ignored you have a right to know why this was done, to obtain
•   the date the policy(s) terminates.                                    copies of documents relating to the decision without charge,
                                                                          and to appeal any denial, all within certain time schedules.
See your Plan Administrator to determine if any extension of
benefits or rights are available to you or your Dependents                Enforce Your Rights
under this policy(s). No extension of benefits or rights will be          Under ERISA, there are steps you can take to enforce the
available solely because the Plan terminates.                             above rights. For instance, if you request a copy of documents
Statement of Rights                                                       governing the plan or the latest annual report from the plan
                                                                          and do not receive them within 30 days, you may file suit in a
As a participant in the plan you are entitled to certain rights           federal court. In such a case, the court may require the plan
and protections under the Employee Retirement Income                      administrator to provide the materials and pay you up to $110
Security Act of 1974 (ERISA). ERISA provides that all plan                a day until you receive the materials, unless the materials were
participants shall be entitled to:                                        not sent because of reasons beyond the control of the
Receive Information About Your Plan and Benefits                          administrator. If you have a claim for benefits which is denied
•   examine, without charge, at the Plan Administrator’s office           or ignored, in whole or in part, you may file suit in a state or
    and at other specified locations, such as worksites and union         federal court.
    halls, all documents governing the plan, including insurance          In addition, if you disagree with the plan’s decision or lack
    contracts and collective bargaining agreements and a copy             thereof concerning the qualified status of a domestic relations
    of the latest annual report (Form 5500 Series) filed by the           order or a medical child support order, you may file suit in
    plan with the U.S. Department of Labor and available at the           federal court. If it should happen that plan fiduciaries misuse
    Public Disclosure room of the Employee Benefits Security              the plan’s money, or if you are discriminated against for
    Administration.                                                       asserting your rights, you may seek assistance from the U.S.
                                                                          Department of Labor, or you may file suit in a federal court.


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The court will decide who should pay court costs and legal               •   the authorized representative may not have disclosed to you
fees. If you are successful the court may order the person you               all of the relevant facts and circumstances relating to the
have sued to pay these costs and fees. If you lose, the court                overpayment or underpayment of any claim, including, for
may order you to pay these costs and fees, for example if it                 example, that the billing practices of the provider of medical
finds your claim is frivolous.                                               services may have jeopardized your coverage through the
Assistance with Your Questions                                               waiver of the cost-sharing amounts that you are required to
                                                                             pay under your plan.
If you have any questions about your plan, you should contact
the plan administrator. If you have any questions about this             If your designation of an authorized representative is revoked,
statement or about your rights under ERISA, or if you need               or Cigna does not honor your designation, you may appoint a
assistance in obtaining documents from the plan administrator,           new authorized representative at any time, in writing, using a
you should contact the nearest office of the Employee Benefits           form approved by Cigna.
Security Administration, U.S. Department of Labor listed in
your telephone directory or the Division of Technical                    HC-AAR1                                                       01-17
Assistance and Inquiries, Employee Benefits Security
Administration, U.S. Department of Labor, 200 Constitution
Avenue N.W., Washington, D.C. 20210. You may also obtain
certain publications about your rights and responsibilities              When You Have A Complaint Or An
under ERISA by calling the publications hotline of the                   Appeal
Employee Benefits Security Administration.
                                                                         For the purposes of this section, any reference to "you," "your"
                                                                         or "Member" also refers to a representative or provider
HC-FED72                                                    05-15        designated by you to act on your behalf, unless otherwise
                                                                         noted. We want you to be completely satisfied with the care
                                                                         you receive. That is why we have established a process for
                                                                         addressing your concerns and solving your problems.
Notice of an Appeal or a Grievance
                                                                         Start with Member Services
The appeal or grievance provision in this certificate may be
superseded by the law of your state. Please see your                     We are here to listen and help. If you have a concern regarding
explanation of benefits for the applicable appeal or grievance           a person, a service, the quality of care, or contractual benefits,
procedure.                                                               you can call our toll-free number and explain your concern to
                                                                         one of our Customer Service representatives. You can also
                                                                         express that concern in writing. Please call or write to us at the
HC-SPP4                                                     04-10        following:
                                                              V1
                                                                             Customer Services Toll-Free Number or address that
                                                                             appears on your Benefit Identification card, explanation of
                                                                             benefits or claim form.
Appointment of Authorized Representative                                 We will do our best to resolve the matter on your initial
You may appoint an authorized representative to assist you in            contact. If we need more time to review or investigate your
submitting a claim or appealing a claim denial. However,                 concern, we will get back to you as soon as possible, but in
Cigna may require you to designate your authorized                       any case within 30 days. If you are not satisfied, you can start
representative in writing using a form approved by Cigna. At             the appeals procedure.
all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains
valid, Cigna may require you to re-appoint your authorized
representative, from time to time.
Cigna reserves the right to refuse to honor the appointment of
a representative if Cigna reasonably determines that:
•   the signature on an authorized representative form may not
    be yours, or




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Appeals Procedure                                                        You may request that the appeal process be expedited if: (a)
Cigna has a two-step appeals procedure for coverage                      the time frames under this process would seriously jeopardize
decisions. To initiate an appeal for most claims, you must               your life, health or ability to regain maximum function or in
submit a request for an appeal within 365 days of receipt of a           the opinion of your Physician would cause you severe pain
denial notice. If you appeal a reduction or termination in               which cannot be managed without the requested services; or
coverage for an ongoing course of treatment that Cigna                   (b) your appeal involves non-authorization of an admission or
previously approved, you will receive, as required by                    continuing inpatient Hospital stay. The Cigna Physician
applicable law, continued coverage pending the outcome of an             reviewer, in consultation with the treating Physician, will
appeal. Appeals may be submitted to the following address:               decide if an expedited appeal is necessary. When an appeal is
                                                                         expedited, Cigna will respond orally with a decision within 72
   Cigna                                                                 hours, followed up in writing.
   National Appeals Organization (NAO)
   PO Box 188011                                                         Level One Appeal
   Chattanooga, TN 37422                                                 Your appeal will be reviewed and the decision made by
You should state the reason why you feel your appeal should              someone not involved in the initial decision. Appeals
be approved and include any information supporting your                  involving Medical Necessity or clinical appropriateness will
appeal. If you are unable or choose not to write, you may ask            be considered by a health care professional. Please note that if
to register your appeal by telephone. Call us at the toll-free           you submit your written request within 30 days of receiving an
number on your Benefit Identification card, explanation of               initial denial notice, the Florida Adverse Determination
benefits or claim form.                                                  Medical Necessity Appeal process described will apply. For
Florida Adverse Determination Medical Necessity Appeal                   level one appeals, we will respond in writing with a decision
                                                                         within 15 calendar days after we receive an appeal for a
To initiate an Adverse Determination appeal, you must submit             required preservice or concurrent care coverage determination
a request in writing to Cigna within 30 days of receipt of a             (decision). We will respond within 30 calendar days after we
denial notice. You should state the reason why you feel your             receive an appeal for a post service coverage determination. If
appeal should be approved and include any information                    more time or information is needed to make the determination,
supporting your appeal. If you are unable to write, you may              we will notify you in writing to request an extension of up to
ask Cigna to assist so that you may register your written                15 calendar days and to specify any additional information
appeal. Call or write to us at the toll-free number or address on        needed to complete the review. If an issue does not qualify for
your Benefit Identification card, explanation of benefits or             the Expedited Medical Necessity Appeal process, you may
claim form. Your appeal will be reviewed and the decision                request that the appeal process be expedited if, the time frames
made by individuals not involved in the initial decision.                under this process would seriously jeopardize your life, health
Appeals involving Medical Necessity or clinical                          or ability to regain maximum function or in the opinion of
appropriateness will be considered by an Internal Panel of               your Physician would cause you severe pain which cannot be
health care professionals. For appeals involving Medical                 managed without the requested services. Cigna’s Physician
Necessity or clinical appropriateness, the Internal Panel will           reviewer, in consultation with the treating Physician, will
include at least one Physician in the same or similar specialty          decide if an expedited appeal is necessary. When an appeal is
as the care under consideration, as determined by the Cigna              expedited, we will respond orally with a decision within 72
Physician reviewer. For Adverse Determination Medical                    hours, followed up in writing.
Necessity Appeals, we will acknowledge in writing that we
have received your request and schedule a panel review. For              Level Two Appeal
preservice and concurrent care coverage determinations, the              If you are dissatisfied with our level one appeal decision, you
panel review will be completed within 30 calendar days and               may request a second review. To start a level two appeal,
for post service claims, the panel review will be completed              follow the same process required for a level one appeal. Most
within 60 calendar days. If more time or information is needed           requests for a second review will be conducted by the Appeals
to make the determination, we will notify you in writing to              Committee, which consists of at least three people. Anyone
request an extension of up to 15 calendar days and to specify            involved in the prior decision may not vote on the Committee.
any additional information needed by the Internal Panel to               For appeals involving Medical Necessity or clinical
complete the review. You will be notified in writing of the              appropriateness, the Committee will consult with at least one
Internal Panel's decision within five working days after the             Physician reviewer in the same or similar specialty as the care
panel considers your request.                                            under consideration, as determined by Cigna’s Physician
Expedited Medical Necessity Appeal                                       reviewer. You may present your situation to the Committee in



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person or by conference call. For level two appeals we will              determination; (2) reference to the specific plan provisions on
acknowledge in writing that we have received your request                which the determination is based; (3) a statement that the
and schedule a Committee review. For required preservice and             claimant is entitled to receive, upon request and free of charge,
concurrent care coverage determinations, the Committee                   reasonable access to and copies of all documents, records, and
review will be completed within 15 calendar days. For post               other Relevant Information as defined; (4) a statement
service claims, the Committee review will be completed                   describing any voluntary appeal procedures offered by the
within 30 calendar days. If more time or information is needed           plan and the claimant's right to bring an action under ERISA
to make the determination, we will notify you in writing to              section 502(a); (5) upon request and free of charge, a copy of
request an extension of up to 15 calendar days and to specify            any internal rule, guideline, protocol or other similar criterion
any additional information needed by the Committee to                    that was relied upon in making the adverse determination
complete the review. You will be notified in writing of the              regarding your appeal, and an explanation of the scientific or
Committee's decision within five business days after the                 clinical judgment for a determination that is based on a
Committee meeting, and within the Committee review time                  Medical Necessity, experimental treatment or other similar
frames above if the Committee does not approve the requested             exclusion or limit. You also have the right to bring a civil
coverage. If an issue does not qualify for the Expedited                 action under Section 502(a) of ERISA if you are not satisfied
Medical Necessity Appeal process, you may request that the               with the decision on review. You or your plan may have other
appeal process be expedited if, (a) the time frames under this           voluntary alternative dispute resolution options such as
process would seriously jeopardize your life, health or ability          Mediation. One way to find out what may be available is to
to regain maximum function or in the opinion of your                     contact your local U.S. Department of Labor office and your
Physician would cause you severe pain which cannot be                    State insurance regulatory agency. You may also contact the
managed without the requested services; or (b) your appeal               Plan Administrator.
involves non-authorization of an admission or continuing                 Relevant Information
inpatient Hospital stay. Cigna’s Physician reviewer, in
consultation with the treating Physician will decide if an               Relevant Information is any document, record, or other
expedited appeal is necessary. When an appeal is expedited,              information which (a) was relied upon in making the benefit
we will respond orally with a decision within 72 hours,                  determination; (b) was submitted, considered, or generated in
followed up in writing.                                                  the course of making the benefit determination, without regard
                                                                         to whether such document, record, or other information was
Appeal to the State of Florida                                           relied upon in making the benefit determination; (c)
You have the right to contact the state regulators for assistance        demonstrates compliance with the administrative processes
at any time. The state regulators may be contacted at the                and safeguards required by federal law in making the benefit
following addresses and telephone numbers:                               determination; or (d) constitutes a statement of policy or
  The Statewide Provider and Subscriber Assistance Panel                 guidance with respect to the plan concerning the denied
  Fort Knox Building One, Room 303                                       treatment option or benefit or the claimant's diagnosis, without
  2727 Mahan Drive                                                       regard to whether such advice or statement was relied upon in
  Tallahassee, FL 32308                                                  making the benefit determination.
  1-888-419-3456 or 850-921-5458                                         Legal Action
  The Agency for Health Care Administration                              If your plan is governed by ERISA, you have the right to bring
  Fort Knox Building One, Room 303                                       a civil action under Section 502(a) of ERISA if you are not
  2727 Mahan Drive                                                       satisfied with the outcome of the Appeals Procedure. In most
  Tallahassee, FL 32308                                                  instances, you may not initiate a legal action against Cigna
  1-888-419-3456                                                         until you have completed the Level One and Level Two
  The Department of Insurance                                            Appeal processes, the Florida Adverse Determination Medical
  State Treasurer's Office                                               Necessity Appeal process or the Expedited Medical Necessity
  State Capitol, Plaza Level Eleven                                      Appeal process, as applicable. If your Appeal is expedited,
  Tallahassee, FL 32308                                                  there is no need to complete the Level Two process prior to
  1-800-342-2762                                                         bringing legal action.
Notice of Benefit Determination on Appeal
Every notice of a determination on appeal will be provided in            HC-APL380                                                    01-20
writing or electronically and, if an adverse determination, will
include: (1) the specific reason or reasons for the adverse


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Definitions                                                               No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS840                                                     10-16
•   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Biosimilar
    or at some location to which you are required to travel for           A Biologic that is highly similar to the reference Biologic
    your Employer's business.                                             product notwithstanding minor differences in clinically
•   on a day which is not one of your Employer's scheduled                inactive components, and has no clinically meaningful
    work days if you were in Active Service on the preceding              differences from the reference Biologic in terms of its safety,
    scheduled work day.                                                   purity, and potency, as defined under Section 351(i) of the
                                                                          Public Health Service Act (42 USC 262(i)) (as amended by
                                                                          the Biologics Price Competition and Innovation Act of 2009,
HC-DFS1095                                                   12-17        title VII of the Patient Protection and Affordable Care Act,
                                                                          Pub. L. No. 111-148, § 7002 (2010), and as may be amended
Ambulance                                                                 thereafter).
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or          HC-DFS841                                                     10-16
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.
                                                                          Brand Drug
                                                                          A Prescription Drug Product that Cigna identifies as a Brand
HC-DFS1406                                                   01-20        Drug product across its book-of-business, principally based on
                                                                          available data resources, including, but not limited to, First
Ancillary Charge                                                          DataBank or another nationally recognized drug indicator
                                                                          source, that classify drugs or Biologics as either brand or
An additional cost, outside of plan cost sharing detailed in The          generic based on a number of factors. Not all products
Schedule of Prescription Drug Benefits, which may apply to                identified as a "brand name" by the manufacturer, Pharmacy,
some Prescription Drug Products when you request a more                   or your Physician may be classified as a Brand Drug under the
expensive Brand Drug when a lower cost, Therapeutic                       plan.
Equivalent, Generic Drug is available. The Ancillary Charge
is the amount by which the cost of the requested Brand Drug
exceeds the cost of the Generic Drug.                                     HC-DFS842                                                     10-16




HC-DFS1562                                                   01-21        Business Decision Team
                                                                          A committee comprised of voting and non-voting
Biologic                                                                  representatives across various Cigna business units such as
                                                                          clinical, medical and business leadership that is duly
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,             authorized by Cigna to effect changes regarding coverage
blood component or derivative, allergenic product, protein                treatment of Prescription Drug Products and Medical
(except any chemically synthesized polypeptide), or analogous             Pharmaceuticals based on clinical findings provided by the
product, or arsphenamine or derivative of arsphenamine (or                P&T Committee, including, but not limited to, changes
any other trivalent organic arsenic compound), used for the               regarding tier placement and application of utilization
prevention, treatment, or cure of a disease or condition of               management to Prescription Drug Products and Medical
human beings, as defined under Section 351(i) of the Public               Pharmaceuticals.
Health Service Act (42 USC 262(i)) (as amended by the
Biologics Price Competition and Innovation Act of 2009, title
VII of the Patient Protection and Affordable Care Act, Pub. L.            HC-DFS1563                                                    10-21




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Charges                                                                     Dependent – For Medical Insurance
The term charges means the actual billed charges; except                    Dependents are:
when Cigna has contracted directly or indirectly for a different            •   your lawful spouse; or
amount including where Cigna has directly or indirectly
contracted with an entity to arrange for the provision of                   •   your Domestic Partner; and
services and/or supplies through contracts with providers of                •   any child of yours:
such services and/or supplies.                                                  • who is less than 26 years old.
                                                                                • from 26 years until the end of the calendar year in which
HC-DFS1193                                                     01-19              the child reaches the age of 30, provided the child is
                                                                                  unmarried and does not have a dependent of his own, is a
                                                                                  Florida state resident or a full-time or part-time student,
Convenience Care Clinic                                                           and is not covered under a plan of his own or entitled to
Convenience Care Clinics are staffed by nurse practitioners                       benefits under Title XVIII of the Social Security Act.
and physician assistants and offer customers convenient,                          Cigna may require such proof at least once each year until
professional walk-in care for common ailments and routine                         the end of the calendar year in which he attains age 30;
services. Convenience Care Clinics have extended hours and                        and
are located in or near easy-to-access, popular locations                        • who is 26 or more years old and primarily supported by
(pharmacies, grocery and free-standing locations) with or                         you and incapable of self-sustaining employment by
without appointment.                                                              reason of mental or physical handicap. Proof of the child's
                                                                                  condition and dependence may be required to be
HC-DFS1643                                                     01-22              submitted to the plan as a condition of coverage after the
                                                                                  date the child ceases to qualify above. However, if a claim
                                                                                  is denied, proof must be submitted by the Employee that
Custodial Services                                                                the child is and has continued to be mentally or physically
Any services that are of a sheltering, protective, or                             handicapped.
safeguarding nature. Such services may include a stay in an                 A child includes a legally adopted child, including that child
institutional setting, at-home care, or nursing services to care            from the date of placement in the home or from birth provided
for someone because of age or mental or physical condition.                 that a written agreement to adopt such child has been entered
This service primarily helps the person in daily living.                    into prior to the birth of such child. Coverage for a legally
Custodial care also can provide medical services, given mainly              adopted child will include the necessary care and treatment of
to maintain the person’s current state of health. These services            an Injury or a Sickness existing prior to the date of placement
cannot be intended to greatly improve a medical condition;                  or adoption. A child also includes a foster child or a child
they are intended to provide care while the patient cannot care             placed in your custody by a court order from the date of
for himself or herself. Custodial Services include but are not              placement in the home. Coverage is not required if the adopted
limited to:                                                                 or foster child is ultimately not placed in your home. It also
•   Services related to watching or protecting a person;                    includes:
•   Services related to performing or assisting a person in                 •   a stepchild or a child for whom you are the legal guardian;
    performing any activities of daily living, such as: walking,            •   a child born to an insured Dependent child of yours until
    grooming, bathing, dressing, getting in or out of bed,                      such child is 18 months old.
    toileting, eating, preparing foods, or taking medications that
                                                                            •   If your Domestic Partner has a child, that child will also be
    can be self administered, and
                                                                                included as a Dependent.
•   Services not required to be performed by trained or skilled
                                                                            Benefits for a Dependent child will continue until the last day
    medical or paramedical personnel.
                                                                            of the calendar year in which the limiting age is reached.
                                                                            Anyone who is eligible as an Employee will not be considered
HC-DFS4                                                        04-10        as a Dependent or Dependent spouse unless the Dependent or
                                                                  V1
                                                                            Dependent spouse declines Employee coverage.




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A child under age 26 may be covered as either an Employee or               •   has signed jointly with you, a notarized affidavit attesting to
as a Dependent child. You cannot be covered as an Employee                     the above which can be made available to Cigna upon
while also covered as a Dependent of an Employee.                              request.
No one may be considered as a Dependent of more than one                   In addition, you and your Domestic Partner will be considered
Employee.                                                                  to have met the terms of this definition as long as neither you
                                                                           nor your Domestic Partner:
HC-DFS1685                                                    01-23
                                                                           •   has signed a Domestic Partner affidavit or declaration with
                                                                               any other person within twelve months prior to designating
                                                                               each other as Domestic Partners hereunder;
Designated Pharmacy
                                                                           •   is currently legally married to another person; or
A Network Pharmacy that has entered into an agreement with
                                                                           •   has any other Domestic Partner, spouse or spouse equivalent
Cigna, or with an entity contracting on Cigna’s behalf, to
                                                                               of the same or opposite sex.
provide Prescription Drug Products or services, including,
without limitation, specific Prescription Drug Products, to plan           You and your Domestic Partner must have registered as
enrollees on a preferred or exclusive basis. For example, a                Domestic Partners, if you reside in a state that provides for
Designated Pharmacy may provide enrollees certain Specialty                such registration.
Prescription Drug Products that have limited distribution                  The section of this certificate entitled "COBRA Continuation
availability, provide enrollees with an extended days’ supply              Rights Under Federal Law" will not apply to your Domestic
of Prescription Drug Products or provide enrollees with                    Partner and his or her Dependents.
Prescription Drug Products on a preferred cost share basis. A
Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.                                                       HC-DFS47                                                        04-10
                                                                                                                                             V1


HC-DFS1564                                                    01-21
                                                                           Emergency Medical Condition
                                                                           Emergency Medical Condition means a medical condition,
Domestic Partner                                                           including a mental health condition or substance use disorder,
A Domestic Partner is defined as a person of the same or                   manifesting itself by acute symptoms of sufficient severity
opposite sex who:                                                          (including severe pain) such that a prudent layperson, who
•   shares your permanent residence;                                       possesses an average knowledge of health and medicine, could
                                                                           reasonably expect the absence of immediate medical attention
•   has resided with you for no less than one year;                        to result in placing the health of the individual (or, with
•   is no less than 18 years of age;                                       respect to a pregnant woman, the health of the woman or her
•   is financially interdependent with you and has proven such             unborn child) in serious jeopardy; serious impairment to
    interdependence by providing documentation of at least two             bodily functions; or serious dysfunction of any bodily organ or
    of the following arrangements: common ownership of real                part.
    property or a common leasehold interest in such property;
    community ownership of a motor vehicle; a joint bank                   HC-DFS1765                                                      01-23
    account or a joint credit account; designation as a
    beneficiary for life insurance or retirement benefits or under
    your partner's will; assignment of a durable power of                  Emergency Services
    attorney or health care power of attorney; or such other               Emergency Services means, with respect to an Emergency
    proof as is considered by Cigna to be sufficient to establish          Medical Condition, a medical screening examination that is
    financial interdependency under the circumstances of your              within the capability of the emergency department of a
    particular case;                                                       Hospital or of an independent freestanding emergency facility,
•   is not a blood relative any closer than would prohibit legal           including ancillary services routinely available to the
    marriage; and                                                          emergency department to evaluate such Emergency Medical
                                                                           Condition; and such further medical examination and
                                                                           treatment, to the extent they are within the capabilities of the



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staff and facilities available at the Hospital or emergency                Free-Standing Surgical Facility
department, as are required to Stabilize the patient.                      The term Free-Standing Surgical Facility means an institution
                                                                           which meets all of the following requirements:
HC-DFS1763                                                    01-23        •   it has a medical staff of Physicians, Nurses and licensed
                                                                               anesthesiologists;
Employee                                                                   •   it maintains at least two operating rooms and one recovery
                                                                               room;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                 •   it maintains diagnostic laboratory and x-ray facilities;
not include Employees who are part-time or temporary or who                •   it has equipment for emergency care;
normally work less than 30 hours a week for the Employer.                  •   it has a blood supply;
                                                                           •   it maintains medical records;
HC-DFS1094                                                    12-17
                                                                           •   it has agreements with Hospitals for immediate acceptance
                                                                               of patients who need Hospital Confinement on an inpatient
Employer                                                                       basis; and
The term Employer means the policyholder and those                         •   it is licensed in accordance with the laws of the appropriate
affiliated Employers whose Employees are covered under this                    legally authorized agency.
Policy.                                                                    A Free-Standing Surgical Facility, unless specifically noted
                                                                           otherwise, is covered with the same cost share as an
                                                                           Outpatient Facility.
HC-DFS1566                                                    01-21



                                                                           HC-DFS1407                                                      01-20
Essential Health Benefits
Essential health benefits means, to the extent covered under
the plan, expenses incurred with respect to covered services, in           Generic Drug
at least the following categories: ambulatory patient services,            A Prescription Drug Product that Cigna identifies as a Generic
emergency services, hospitalization, maternity and newborn                 Drug product at a book-of-business level principally based on
care, mental health and substance use disorder services,                   available data resources, including, but not limited to, First
including behavioral health treatment, prescription drugs,                 DataBank or another nationally recognized drug indicator
rehabilitative and habilitative services and devices, laboratory           source, that classify drugs or Biologics (including Biosimilars)
services, preventive and wellness services and chronic disease             as either brand or generic based on a number of factors. Not
management and pediatric services, including oral and vision               all products identified as a “generic” by the manufacturer,
care.                                                                      Pharmacy or your Physician may be classified as a Generic
                                                                           Drug under the plan. A Biosimilar may be classified as a
                                                                           Generic Drug for the purposes of benefits under the plan even
HC-DFS411                                                     01-11
                                                                           if it is identified as a “brand name” drug by the manufacturer,
                                                                           Pharmacy or your Physician.
Expense Incurred
An expense is incurred when the service or the supply for                  HC-DFS846                                                       10-16
which it is incurred is provided.

                                                                           Hospice Care Program
HC-DFS10                                                      04-10
                                                                V1
                                                                           The term Hospice Care Program means:
                                                                           •   a coordinated, interdisciplinary program to meet the
                                                                               physical, psychological, spiritual and social needs of dying
                                                                               persons and their families;




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•   a program that provides palliative and supportive medical,               •   an institution which: specializes in treatment of Mental
    nursing and other health services through home or inpatient                  Health and Substance Use Disorder or other related illness;
    care during the illness;                                                     provides residential treatment programs; and is licensed in
•   a program for persons who have a Terminal Illness and for                    accordance with the laws of the appropriate legally
    the families of those persons.                                               authorized agency.
                                                                             The term Hospital does not include an institution which is
                                                                             primarily a place for rest, a place for the aged, or a nursing
HC-DFS51                                                        04-10
                                                                             home.
                                                                  V1


                                                                             HC-DFS1429                                                       01-20
Hospice Care Services
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                  Hospital Confinement or Confined in a Hospital
or any other licensed facility or agency under a Hospice Care                A person will be considered Confined in a Hospital if he is:
Program.
                                                                             •   a registered bed patient in a Hospital upon the
                                                                                 recommendation of a Physician;
HC-DFS52                                                        04-10
                                                                             •   receiving treatment for Mental Health and Substance Use
                                                                  V1
                                                                                 Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.
Hospice Facility
The term Hospice Facility means an institution or part of it                 HC-DFS807                                                        12-15
which:
•   primarily provides care for Terminally Ill patients;                     Injury
•   is accredited by the National Hospice Organization;                      The term Injury means an accidental bodily injury.
•   meets standards established by Cigna; and
•   fulfills any licensing requirements of the state or locality in          HC-DFS12                                                         04-10
    which it operates.                                                                                                                          V1



HC-DFS53                                                        04-10
                                                                  V1



Hospital
The term Hospital means:
•   an institution licensed as a hospital, which: maintains, on
    the premises, all facilities necessary for medical and
    surgical treatment; provides such treatment on an inpatient
    basis, for compensation, under the supervision of
    Physicians; and provides 24-hour service by Registered
    Graduate Nurses;
•   an institution which qualifies as a hospital, a psychiatric
    hospital or a tuberculosis hospital, and a provider of
    services under Medicare, if such institution is accredited as
    a hospital by the Joint Commission on the Accreditation of
    Healthcare Organizations; or
•   an Ambulatory Surgical Center; or


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Maintenance Drug Product                                                   •   the amount agreed to by the Out-of-Network provider and
A Prescription Drug Product that is prescribed for use over an                 Cigna; or
extended period of time for the treatment of chronic or long-              •   the 80th percentile of charges made by providers of such
term conditions such as asthma, hypertension, diabetes and                     service or supply in the geographic area where it is received
heart disease, and is identified principally based on                          as compiled in a database selected by Cigna. If sufficient
consideration of available data resources, including, but not                  charge data is unavailable in the database for that
limited to, First DataBank or another nationally recognized                    geographic area to determine the Maximum Reimbursable
drug indicator source and clinical factors. For the purposes of                Charge, then data in the database for similar services may
benefits, the list of your plan’s Maintenance Drug Products                    be used.
does not include compounded medications, Specialty                         The Maximum Reimbursable Charge is subject to all other
Prescription Drug Products or Prescription Drug Products,                  benefit limitations and applicable coding and payment
such as certain narcotics that a Pharmacy cannot dispense                  methodologies determined by Cigna. Additional information
above certain supply limits per Prescription Drug Order or                 about how Cigna determines the Maximum Reimbursable
Refill under applicable federal or state law. You may                      Charge is available upon request.
determine whether a drug is a Maintenance Medication by
calling member services at the telephone number on your ID
card.                                                                      HC-DFS1642                                                       01-22
                                                                                                                                              V2


HC-DFS847                                                     10-16
                                                                           Medicaid
Maintenance Treatment                                                      The term Medicaid means a state program of medical aid for
                                                                           needy persons established under Title XIX of the Social
The term Maintenance Treatment means:                                      Security Act of 1965 as amended.
•   treatment rendered to keep or maintain the patient's current
    status.
                                                                           HC-DFS16                                                         04-10
                                                                                                                                              V1

HC-DFS56                                                      04-10
                                                                V1
                                                                           Medical Pharmaceutical
                                                                           Medical Pharmaceuticals are used for treatment of complex
Maximum Reimbursable Charge - Medical                                      chronic conditions, are administered and handled in a
The Maximum Reimbursable Charge for covered services for                   specialized manner, and may be high cost. Because of their
Open Access Plus is determined based on the lesser of:                     characteristics, they require a qualified Physician to administer
•   the provider’s normal charge for a similar service or supply;          or directly supervise administration. Some Medical
                                                                           Pharmaceuticals may initially or typically require Physician
•   the amount agreed to by the Out-of-Network provider and                oversight but subsequently may be self-administered under
    Cigna; or                                                              certain conditions specified in the product’s FDA labeling.
•   a policyholder-selected percentage of a schedule that Cigna
    has developed that is based upon a methodology similar to a
                                                                           HC-DFS1751                                                       01-24
    methodology utilized by Medicare to determine the
    allowable reimbursement for the same or similar service
    within the geographic market.                                          Medically Necessary/Medical Necessity
The percentage used to determine the Maximum Reimbursable                  Health care services, supplies and medications provided for
Charge is listed in The Schedule.                                          the purpose of preventing, evaluating, diagnosing or treating a
In some cases, a Medicare based schedule will not be used and              Sickness, Injury, condition, disease or its symptoms, that are
the Maximum Reimbursable Charge for covered services is                    all of the following as determined by a Medical Director or
determined based on the lesser of:                                         Review Organization:
•   the provider’s normal charge for a similar service or supply;          •   required to diagnose or treat an illness, Injury, disease or its
                                                                               symptoms;



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•   in accordance with generally accepted standards of medical                 The term Necessary Services and Supplies will not include
    practice;                                                                  any charges for special nursing fees, dental fees or medical
•   clinically appropriate in terms of type, frequency, extent,                fees.
    site and duration;
•   not primarily for the convenience of the patient, Physician                HC-DFS1409                                                     01-20
    or Other Health Professional;
•   not more costly than an alternative service(s), medication(s)              Network Pharmacy
    or supply(ies) that is at least as likely to produce equivalent
                                                                               A retail or home delivery Pharmacy that has:
    therapeutic or diagnostic results with the same safety profile
    as to the prevention, evaluation, diagnosis or treatment of                •   entered into an agreement with Cigna or an entity
    your Sickness, Injury, condition, disease or its symptoms;                     contracting on Cigna's behalf to provide Prescription Drug
    and                                                                            Products to plan enrollees.
•   rendered in the least intensive setting that is appropriate for            •   agreed to accept specified reimbursement rates for
    the delivery of the services, supplies or medications. Where                   dispensing Prescription Drug Products.
    applicable, the Medical Director or Review Organization                    •   been designated as a Network Pharmacy for the purposes of
    may compare the cost-effectiveness of alternative services,                    coverage under your Employer’s plan.
    supplies, medications or settings when determining least
                                                                               This term may also include, as applicable, an entity that has
    intensive setting.
                                                                               directly or indirectly contracted with Cigna to arrange for the
In determining whether health care services, supplies, or                      provision of any Prescription Drug Products the charges for
medications are Medically Necessary, the Medical Director or                   which are Covered Expenses.
Review Organization may rely on the clinical coverage
policies maintained by Cigna or the Review Organization.
Clinical coverage policies may incorporate, without limitation                 HC-DFS1198                                                     01-19

and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical                         New Prescription Drug Product
reference compendia and peer-reviewed, evidence-based
scientific literature or guidelines.                                           A Prescription Drug Product, or new use or dosage form of a
                                                                               previously FDA-approved Prescription Drug Product, for the
                                                                               period of time starting on the date the Prescription Drug
HC-DFS1411                                                        01-20        Product or newly-approved use or dosage form becomes
                                                                               available on the market following approval by the U.S. Food
                                                                               and Drug Administration (FDA) and ending on the date Cigna
Medicare
                                                                               makes a Prescription Drug List coverage status decision.
The term Medicare means the program of medical care
benefits provided under Title XVIII of the Social Security Act
of 1965 as amended.                                                            HC-DFS1568                                                     01-21




HC-DFS17                                                          04-10
                                                                    V1



Necessary Services and Supplies
The term Necessary Services and Supplies includes any
charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used
during Hospital Confinement.




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Non-PPACA Preventive Medication
Non-PPACA Preventive Medication are certain Prescription                   Participating Provider
Drug Products used to prevent a disease that has not yet                   The term Participating Provider means a person or entity that
manifested itself or not yet become clinically apparent or to              has a direct or indirect contractual arrangement with Cigna to
prevent the reoccurrence of a disease from which a person has              provide covered services and/or supplies, the Charges for
recovered, such as Prescription Drug Products with                         which are Covered Expenses. It includes an entity that has
demonstrated effectiveness in primary or secondary disease                 directly or indirectly contracted with Cigna to arrange, through
prevention. The term Non-PPACA Preventive Medication                       contracts with providers of services and/or supplies, for the
does not include medications covered at 100% as required as                provision of any services and/or supplies, the Charges for
preventive care services by PPACA, the terms of coverage for               which are Covered Expenses.
which are addressed separately in this plan.

                                                                           HC-DFS1194                                                   01-19
HC-DFS1373                                                    10-20


                                                                           Patient Protection and Affordable Care Act of 2010
Nurse                                                                      (“PPACA”)
The term Nurse means a Registered Graduate Nurse, a                        Patient Protection and Affordable Care Act of 2010 means the
Licensed Practical Nurse or a Licensed Vocational Nurse who                Patient Protection and Affordable Care Act of 2010 (Public
has the right to use the abbreviation "R.N.," "L.P.N." or                  Law 111-148) as amended by the Health Care and Education
"L.V.N."                                                                   Reconciliation Act of 2010 (Public Law 111-152).

HC-DFS22                                                      04-10
                                                                           HC-DFS412                                                    01-11
                                                                V1


                                                                           Pharmacy
Other Health Care Facility
                                                                           A duly licensed Pharmacy that dispenses Prescription Drug
The term Other Health Care Facility means a facility other                 Products in a retail setting or via home delivery. A home
than a Hospital or Hospice Facility. Examples of Other Health              delivery Pharmacy is a Pharmacy that primarily provides
Care Facilities include, but are not limited to, licensed skilled          Prescription Drug Products through mail order.
nursing facilities, rehabilitation Hospitals and subacute
facilities.
                                                                           HC-DFS851                                                    10-16


HC-DFS1412                                                    01-20
                                                                           Pharmacy & Therapeutics (P&T) Committee
Other Health Professional                                                  A committee comprised of Physicians and an independent
                                                                           pharmacist that represent a range of clinical specialties. The
The term Other Health Professional means an individual other               committee regularly reviews Medical Pharmaceuticals or
than a Physician who is licensed or otherwise authorized under             Prescription Drug Products, including New Prescription Drug
the applicable state law to deliver medical services and                   Products, for safety and efficacy, the findings of which clinical
supplies. Other Health Professionals include, but are not                  reviews inform coverage determinations made by the Business
limited to physical therapists, registered nurses and licensed             Decision Team. The P&T Committee’s review may be based
practical nurses. Other Health Professionals do not include                on consideration of, without limitation, U.S. Food and Drug
providers such as Certified First Assistants, Certified                    Administration-approved labeling, standard medical reference
Operating Room Technicians, Certified Surgical                             compendia, or scientific studies published in peer-reviewed
Assistants/Technicians, Licensed Certified Surgical                        English-language bio-medical journals.
Assistants/Technicians, Licensed Surgical Assistants,
Orthopedic Physician Assistants and Surgical First Assistants.
                                                                           HC-DFS1570                                                   01-21


HC-DFS1413                                                    01-20




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Physician                                                                 under federal or state law, be dispensed only pursuant to a
The term Physician means a licensed medical practitioner who              Prescription Order or Refill. For the purpose of benefits under
is practicing within the scope of his license and who is                  the plan, this definition may also include products in the
licensed to prescribe and administer drugs or to perform                  following categories if specifically identified on the
surgery. It will also include any other licensed medical                  Prescription Drug List:
practitioner whose services are required to be covered by law             •   Certain durable products and supplies that support drug
in the locality where the policy is issued if he is:                          therapy;
•   operating within the scope of his license; and                        •   Certain diagnostic testing and screening services that
•   performing a service for which benefits are provided under                support drug therapy;
    this plan when performed by a Physician.                              •   Certain medication consultation and other medication
                                                                              administration services that support drug therapy;
HC-DFS25                                                     04-10
                                                                          •   Certain digital products, applications, electronic devices,
                                                               V1             software and cloud-based service solutions used to predict,
                                                                              detect and monitor health conditions in support of drug
                                                                              therapy.
Prescription Drug Charge
The Prescription Drug Charge is the amount that, prior to
                                                                          HC-DFS1645                                                    01-22
application of the plan’s cost-share requirement(s), is payable
by Cigna to its Pharmacy Benefit Manager for a specific
covered Prescription Drug Product dispensed at a Network                  Prescription Order or Refill
Pharmacy, including any applicable dispensing fee and tax.                The lawful directive to dispense a Prescription Drug Product
The “Pharmacy Benefit Manager” is the business unit,                      issued by a Physician whose scope of practice permits issuing
affiliate, or other entity that manages the Prescription Drug             such a directive.
Benefit for Cigna.

                                                                          HC-DFS856                                                     10-16
HC-DFS1191                                                   01-19


                                                                          Preventive Care Medications
Prescription Drug List
                                                                          The Prescription Drug Products or other medications
A list that categorizes Prescription Drug Products covered                (including over-the-counter medications) designated as
under the plan’s Prescription Drug Benefits into coverage                 payable by the plan at 100% of the cost (without application of
tiers. This list is developed by Cigna based on clinical factors          any Deductible, Copayment or Coinsurance) as required by
communicated by the P&T Committee and adopted by your                     applicable law under any of the following:
Employer as part of the plan. The list is subject to periodic
review and change, and is subject to the limitations and                  •   Evidence-based items or services that have in effect a rating
exclusions of the plan. You may determine to which tier a                     of "A" or "B" in the current recommendations of the United
particular Prescription Drug Product has been assigned                        States Preventive Services Task Force.
through the website shown on your ID card or by calling                   •   With respect to infants, children and adolescents, evidence-
customer service at the telephone number on your ID card.                     informed preventive care and screenings provided for in the
                                                                              comprehensive guidelines supported by the Health
                                                                              Resources and Services Administration.
HC-DFS1752                                                   01-24
                                                                          •   With respect to women, such additional preventive care and
                                                                              screenings as provided for in comprehensive guidelines
Prescription Drug Product                                                     supported by the Health Resources and Services
A drug, Biologic (including a Biosimilar), or other product                   Administration.
that has been approved by the U.S. Food and Drug                          A written prescription is required to process a claim for a
Administration (FDA), certain products approved under the                 Preventive Care Medication. You may determine whether a
Drug Efficacy Study Implementation review, or products                    drug is a Preventive Care Medication through the internet
marketed prior to 1938 and not subject to review and that can,


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website shown on your ID card or by calling member services               other trained staff members who perform utilization review
at the telephone number on your ID card.                                  services.


HC-DFS857                                                    10-16        HC-DFS808                                                     12-15



Preventive Treatment                                                      Room and Board
The term Preventive Treatment means treatment rendered to                 The term Room and Board includes all charges made by a
prevent disease or its recurrence.                                        Hospital for room and meals and for all general services and
                                                                          activities needed for the care of registered bed patients.
HC-DFS57                                                     04-10
                                                               V1         HC-DFS1408                                                    01-20



Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1
HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                   •   physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who            •   skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1


HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and


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Specialty Medication - for Prescription Drug Benefits                        Stabilize
The term Specialty Medication means high cost medications                    Stabilize means, with respect to an Emergency Medical
which are used to treat rare and chronic conditions which                    Condition, to provide medical treatment as necessary to assure
include, but are not limited to, multiple sclerosis, hepatitis C             that no material deterioration of the condition is likely if the
or rheumatoid arthritis.                                                     individual is transferred from a facility, or, with respect to a
                                                                             pregnant woman who is having contractions, to deliver.
HC-DFS69                                                      04-10
                                                                   V6        HC-DFS1767                                                   01-23



Specialty Prescription Drug Product                                          Terminal Illness
A Prescription Drug Product or Medical Pharmaceutical                        A Terminal Illness will be considered to exist if a person
considered by Cigna to be a Specialty Prescription Drug                      becomes terminally ill with a prognosis of six months or less
Product based on consideration of the following factors,                     to live, as diagnosed by a Physician.
subject to applicable law: whether the Prescription Drug
Product or Medical Pharmaceutical is prescribed and used for
                                                                             HC-DFS54                                                     04-10
the treatment of a complex, chronic or rare condition; whether
                                                                                                                                             V1
the Prescription Drug Product or Medical Pharmaceutical has
a high acquisition cost; and, whether the Prescription Drug
Product or Medical Pharmaceutical is subject to limited or                   Therapeutic Alternative
restricted distribution, requires special handling and/or
                                                                             A Prescription Drug Product or Medical Pharmaceutical that is
requires enhanced patient education, provider coordination or
                                                                             of the same therapeutic or pharmacological class, and usually
clinical oversight. A Specialty Prescription Drug Product may
                                                                             can be expected to have similar outcomes and adverse reaction
not possess all or most of the foregoing characteristics, and the
                                                                             profiles when administered in therapeutically equivalent doses
presence of any one such characteristic does not guarantee that
                                                                             as, another Prescription Drug Product, Medical
a Prescription Drug Product or Medical Pharmaceutical will
                                                                             Pharmaceutical or over-the-counter medication.
be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit
assignment based on factors such as method or site of clinical               HC-DFS859                                                    10-16
administration, or by tier assignment or utilization
management requirements based on factors such as acquisition
cost. You may determine whether a medication is a Specialty                  Therapeutic Equivalent
Prescription Drug Product through the website shown on your                  A Prescription Drug Product or Medical Pharmaceutical that is
ID card or by calling member services at the telephone                       a pharmaceutical equivalent to another Prescription Drug
number on your ID card.                                                      Product, Medical Pharmaceutical or over-the-counter
                                                                             medication.
HC-DFS858                                                     10-16
                                                                             HC-DFS860                                                    10-16


Spinal Manipulation Care
The term Spinal Manipulation Care means the conservative                     Urgent Care
management of acute neuromusculoskeletal conditions                          Urgent Care is medical, surgical, Hospital or related health
through manipulation and ancillary physiological treatment                   care services and testing which are not Emergency Services,
rendered to specific joints to restore motion, reduce pain and               but which are determined by Cigna, in accordance with
improve function.                                                            generally accepted medical standards, to have been necessary
                                                                             to treat a condition requiring prompt medical attention. This
                                                                             does not include care that could have been foreseen before
HC-DFS1684                                                    01-23
                                                                             leaving the immediate area where you ordinarily receive
                                                                             and/or were scheduled to receive services. Such care includes,
                                                                             but is not limited to, dialysis, scheduled medical treatments or



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therapy, or care received after a Physician's recommendation
that the insured should not travel due to any medical
condition.


HC-DFS34                                                   04-10
                                                               V1



Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a
Prescription Drug Product (and any services related to the
dispensing thereof) without reference to reimbursement to the
Pharmacy by third parties. The Usual and Customary (U&C)
Charge includes a dispensing fee and any applicable sales tax.


HC-DFS861                                                  10-16




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    The following pages describe the features of your Cigna Choice Fund - Health Reimbursement Account.
                                          Please read them carefully.




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                                                                        program provides prenatal education and support for mothers-
What You Should Know About Cigna                                        to-be.
                                                                        Tools & Support
Choice Fund® – Health Reimbursement
                                                                        We help you keep track with online benefits information,
Account                                                                 transactions, and account activity; medical and drug cost
Cigna Choice Fund is designed to give you:                              comparisons; monthly statements; and more. You also have
Control                                                                 toll-free access to dedicated Customer Service teams, specially
                                                                        trained to answer your questions and address your needs.
More control over how your health care dollars are spent. The           Customer Service is available 24 hours a day, 7 days a week,
health services you get and where you get them are up to you.           every day of the year!
Choice                                                                  Savings on Health and Wellness Products and Services
You have the freedom to choose any licensed doctor.                     Through Cigna Healthy Rewards®, you can save money on a
However, your costs will be lower for services from Cigna               variety of health-related products and services. Offerings
contracted health care professionals because they have agreed           include laser vision correction, acupuncture, chiropractic care,
to accept discounted payments to help you make the most of              weight loss programs, fitness club and equipment discounts
your health care dollars.                                               and more.
Flexibility                                                             Opportunity to earn funds for future use
Flexibility to help you proactively manage your health and              If your employer offers the Cigna Healthy Future Account®,
maximize your plan coverage. By using our cost and quality              you can earn funds to cover qualified expenses for future use,
tools to find a higher quality and more cost effective doctor,          such as retirement. All or a portion of unused HRA funds at
lab or facility, you can reduce the costs that are paid out of          the end of each plan year will transfer to this account until you
your HRA. And if you don’t use all of the money in your                 meet the eligibility requirements (such as retirement, reaching
health reimbursement account, some or all of the unused                 age 65, or accumulating a certain number of years of service
money may be added to your account for the following year,              with your employer). Once you reach your qualifying event,
as long as you stay in the plan. Ask your employer, call Cigna,         you may then use the Healthy Future Account to pay yourself
or log into www.myCigna.com to find out if your HRA limits              back for certain expenses defined by your employer. See your
the amount that can roll over to the next year.                         benefits administrator for more details.
Your plan covers medical care when you’re sick, but also                The Basics
includes coverage for preventive care services to help keep
you well. Your preventive care is covered at 100% in-                   How does it work?
network; therefore no HRA funds will need to be used for                The Cigna Choice Fund Health Reimbursement Account
these services. Preventive health coverage is one of the most           combines medical coverage with a reimbursement account that
important benefits of your health plan. Getting the right               includes contributions from your employer.
preventive services at the right time can help you stay healthy         1. Employer contribution: Your employer deposits a specific
by preventing diseases or by detecting a health problem at a               amount of money in a health account to help you pay for
stage that may be easier to treat. Make sure you take                      some of the costs of covered medical expenses. The health
advantage of your fully covered in-network preventive care                 services you receive and where you get them are up to you.
coverage. Log in to www.myCigna.com and read the                           The health care costs paid from your HRA typically count
Preventive Care Quick Reference Guide under the Review My                  toward your deductible (an annual amount you’ll pay before
Medical Coverage section.                                                  the health plan begins to pay for covered health care costs),
Health Information and Education                                           reducing your share.
Is it late at night, and you’re not sure if you should go to the        2. Your share: Once you’ve used the money in your health
Emergency Room for an injury or just wait until your doctor is             account, you pay your expenses up to the deductible.
available the next day? Just call the toll-free number on your          3. Your health plan: After your deductible is met, you pay
ID card to reach Cigna's 24-Hour Health Information Line.                  pre-determined coinsurance or copayments for eligible
You’ll have access to trained nurses who can help! You also                expenses and the plan pays the rest. When you meet your
have access to an audio library of health topics 24 hours a day.           out-of-pocket maximum (the most you can pay in a plan
In addition, the Cigna Healthy Pregnancies, Healthy Babies®                year), your plan pays eligible expenses at 100%.



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If you leave the plan or your employer, the account stays               www.myCigna.com
behind.                                                                 www.myCigna.com provides fast, reliable and personalized
Which services are covered by my Health Reimbursement                   information and services, including:
Account?                                                                •   Online access to your current account balance, past
According to federal law, HRA funds can be used to cover                    transactions and claim status, as well as your Explanation of
only qualified medical expenses for you and your dependents.                Benefits and health statements.
However, your employer may choose not to allow coverage                 •   Medical cost and drug cost information, including cost
for certain qualified expenses. Please refer to                             estimates specific to you and your plan.
www.myCigna.com for information on the services for which
your HRA funds may be used.                                             •   Frequently asked questions about health care in general and
                                                                            Cigna Choice Fund specifically.
Which services are covered by my medical plan, and which
will I have to pay out of my own pocket?                                •   A number of convenient, helpful tools that let you:
Covered services vary depending on your plan, so visit                      Compare costs
www.myCigna.com or check your plan materials in this                        Use tools to compare costs and help you decide where to get
booklet for specific information. In addition to your premiums              care. You can compare out-of pocket estimates, specific to
deducted from your paycheck, you’ll be responsible for                      your coverage plan, for actual treatment, procedures and
paying:                                                                     costs.
•   Costs for any services needed after you’ve spent your health            Find out more about your local hospitals
    fund, if you haven’t met your deductible.                               Learn how hospitals rank by number of procedures
•   Your coinsurance or copayments after you meet the                       performed, patients’ average length of stay, and cost. Go to
    deductible and your medical plan coverage begins.                       our online healthcare professional directory for average
If all of your medical expenses are covered services and the                costs for certain procedures, including total charges and
total cost doesn’t exceed the amount in your HRA, you may                   your out-of-pocket expense, based on your Cigna plan. You
not have additional out-of-pocket costs. Unused money may                   can also find hospitals that earn the Centers of Excellence
be available to you if you enroll in the plan again the                     designation based on effectiveness in treating selected
following year. Check with your employer, call Cigna, or log                procedures/conditions and cost.
into www.myCigna.com to see if this option is available to                  Get the facts about your medication, cost, treatment
you.                                                                        options and side effects
Are services covered if I use out-of-network doctors?                       Use the pharmacy tools to: check your prescription drug
You can visit any licensed doctor or facility. However, if you              costs, listed by specific pharmacy and location (including
choose a doctor who participates with Cigna, your costs will                Cigna Home Delivery Pharmacy); and review your claims
be lower.                                                                   history for the past 16 months. Look at condition-specific
                                                                            drug treatments and compare characteristics of more than
Tools and Resources at Your Fingertips                                      200 common medications. Evaluate up to 10 medications at
Cigna Healthy Awards Account                                                once to better understand side effects, drug interactions and
If your employer offers a Healthy Awards Account, take                      alternatives.
advantage of certain Cigna incentive award programs, and                    Take control of your health
earn extra award dollars toward your health care expenses, all              Take the health risk assessment, an online questionnaire that
for taking charge of your health.                                           can help you identify and monitor your health status. You
To encourage healthy lifestyles and wellness, your employer                 can learn about preventive care and check your progress
will deposit the incentive rewards into your health account                 toward healthy goals. And if your results show that you may
upon completion of each activity. Your employer may limit                   benefit from other services, you can learn about related
how often you can earn awards. For details on these programs                Cigna programs on the same site.
you can log into www.myCigna.com, or call Cigna 24/7/365.                   Explore topics on medicine, health and wellness
Always consult with your doctor before beginning or changing
your treatment plan or exercise routines.                                   Get information on more than 5,000 health conditions,
                                                                            health and wellness, first aid and medical exams through
                                                                            Healthwise® Medical Encyclopedia, an interactive library.



                                                                   98                                                    myCigna.com
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    Keep track of your personal health information                       If you’re not sure where to begin, you have access to health
    Health Record is your central, secure location for your              advocates.
    medical conditions, medications, allergies, surgeries,               You now have access to health specialists, including
    immunizations, and emergency contacts. You can add your              individuals trained as nurses, coaches, nutritionists and
    health risk assessment results to Health Record, so you can          clinicians, who will listen, understand your needs and help you
    easily print and share the information with your doctor.             find solutions, even when you’re not sure where to begin.
    Your lab results from certain facilities can be automatically        Partner with a health coach and get help to maintain good
    entered into your Personal Health Record.                            eating and exercise habits; support and encouragement to set
    Chart progress of important health indicators                        and reach health improvement goals; and guidance to better
                                                                         manage conditions, including coronary artery disease, low
    Input key data such as blood pressure, blood sugar,                  back pain, osteoarthritis, high blood pressure, high cholesterol
    cholesterol (Total/LDL/HDL), height and weight, and                  and more. From quick answers to health questions to
    exercise regimen. Health Tracker makes it easy to chart              assistance with managing more serious health needs, call the
    the results and share them with your doctor.                         toll-free number on your Cigna ID card or visit
Getting the Most from Your HRA                                           www.myCigna.com. See your benefits administrator for more
You make decisions every day, from buying the family car to              details about all of the services you have access to through
choosing the breakfast cereal. Make yourself a more educated             your plan.
health care consumer and you’ll find that you, too, can make a           Wherever you go in the U.S., you take the Cigna 24-Hour
difference in the health care services you receive and what you          Health Information LineSM with you.
ultimately pay.                                                          Whether it’s late at night, and your child has a fever, or you’re
Fast Facts                                                               traveling and you’re not sure where to get care, or you don’t
If you choose to see a Cigna participating health care                   feel well and you’re unsure about the symptoms, you can call
professional, the cost is based on discounted rates, so your             the Cigna 24-Hour Health Information Line whenever you
costs will be lower. If you visit a health care professional or          have a question. Call the toll-free number on your Cigna ID
facility not in the network, you may still use your HRA to pay           card and you will speak to a nurse who will help direct you to
for the cost of those services, but you will pay a higher rate,          the appropriate care.
and you may have to file claims.                                         A little knowledge goes a long way.
If you need hospital care, there are several tools to help               Getting the facts about your care, such as treatment options
you make informed decisions about quality and cost.                      and health risks is important to your health and well-being,
•   With the Hospital Comparison tool on www.myCigna.com,                and your pocketbook. For instance:
    you can learn how hospitals rank by number of procedures             •   Getting appropriate preventive care is key to staying
    performed, patients’ average length of stay, and cost.                   healthy. Visit www.myCigna.com to learn more about
•   Visit our healthcare professional directory for Cigna Centers            proper preventive care and what’s covered under your plan.
    of Excellence, providing hospital scores for specific                •   When it comes to medications, talk to your doctor about
    procedures/conditions, such as cardiac care, hip and knee                whether generic drugs are right for you. The brand name
    replacement, and bariatric surgery. Scores are based on cost             drugs you are prescribed may have generic alternatives that
    and effectiveness in treating the procedure/condition, based             could lower your costs. If a generic version of your brand
    on publicly available data.                                              name drug is not available, other generic drugs with the
•   www.myCigna.com also includes a Healthcare Professional                  same treatment effect may meet your needs.
    Excellence Recognition Directory. This directory includes            •   Tools on www.myCigna.com can help you take control of
    information on:                                                          your health and health care spending. You can learn about
    • Participating physicians who have achieved recognition                 medical topics and wellness, and keep track of your
      from the National Committee for Quality Assurance                      personal health information. You can also print personalized
      (NCQA) for diabetes and/or heart and stroke care.                      reports to discuss with your doctor.
    • Hospitals that fully meet The Leapfrog Group patient
      safety standards.                                                  NOT154                                                         V6




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                    Exhibit 25
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  Sunrun, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS




  EFFECTIVE DATE: January 1, 2022




   ASO21
   3338372




   This document printed in July, 2022 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY SUNRUN, INC. WHICH IS RESPONSIBLE
FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES
CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE
BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan. These rebates or remuneration are not
Care Management and Care Coordination Services                           obtained on you or your Employer’s or plan’s behalf or for
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
Your plan may enter into specific collaborative arrangements
                                                                         to pass these rebates on to you, or apply them to your plan’s
with health care professionals committed to improving quality
                                                                         Deductible if any or take them into account in determining
care, patient satisfaction and affordability. Through these
                                                                         your Copayments and/or Coinsurance.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care                  Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate                  various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at                 this plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health               may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                  educational grants and research. Amounts received from
                                                                         pharmaceutical manufacturers pursuant to such arrangements
                                                                         are not related to this plan. Cigna and its affiliates are not
HC-SPP27                                                    06-15        required to pass on to you, and do not pass on to you, such
                                                                V1       amounts.
                                                                         Coupons, Incentives and Other Communications
                                                                         At various times, Cigna or its designee may send mailings to
Important Notices                                                        you or your Dependents or to your Physician that
Direct Access to Obstetricians and Gynecologists                         communicate a variety of messages, including information
                                                                         about Medical Pharmaceuticals. These mailings may contain
You do not need prior authorization from the plan or from any
                                                                         coupons or offers from pharmaceutical manufacturers that
other person (including a primary care provider) in order to
                                                                         enable you or your Dependents, at your discretion, to purchase
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           the described Medical Pharmaceutical at a discount or to
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
or gynecology. The health care professional, however, may be
                                                                         for and/or provide the content for these mailings. Cigna, its
required to comply with certain procedures, including
                                                                         affiliates and the plan are not responsible in any way for any
obtaining prior authorization for certain services, following a
                                                                         decision you make in connection with any coupon, incentive,
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         or other offer you may receive from a pharmaceutical
who specialize in obstetrics or gynecology, visit                        manufacturer or Physician.
www.mycigna.com or contact customer service at the phone
number listed on the back of your ID card.                               HC-IMP304                                                      01-22

Selection of a Primary Care Provider
This plan generally allows the designation of a primary care             Discrimination is Against the Law
provider. You have the right to designate any primary care               Cigna complies with applicable Federal civil rights laws and
provider who participates in the network and who is available            does not discriminate on the basis of race, color, national
to accept you or your family members. For information on                 origin, age, disability or sex. Cigna does not exclude people or
how to select a primary care provider, and for a list of the             treat them differently because of race, color, national origin,
participating primary care providers, visit www.mycigna.com              age, disability or sex.
or contact customer service at the phone number listed on the
back of your ID card.                                                    Cigna:
For children, you may designate a pediatrician as the primary               Provides free aids and services to people with disabilities to
care provider.                                                               communicate effectively with us, such as:
                                                                              Qualified sign language interpreters

HC-NOT5                                                     01-11
                                                                              Written information in other formats (large print, audio,
                                                                               accessible electronic formats, other formats)



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   Provides free language services to people whose primary               Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
    language is not English, such as                                      về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
     Qualified interpreters                                              Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                          khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Information written in other languages
If you need these services, contact customer service at the toll-         Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
free phone number shown on your ID card, and ask a                        서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
Customer Service Associate for assistance.
                                                                          가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
If you believe that Cigna has failed to provide these services
or discriminated in another way on the basis of race, color,              연락해주십시오. 기타 다른 경우에는 1.800.244.6224
national origin, age, disability or sex, you can file a grievance         (TTY: 다이얼 711)번으로 전화해주십시오.
by sending an email to ACAGrievance@cigna.com or by
writing to the following address:                                         Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
    Cigna                                                                 tulong sa wika nang libre. Para sa mga kasalukuyang customer
    Nondiscrimination Complaint Coordinator                               ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    P.O. Box 188016                                                       kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Chattanooga, TN 37422                                                 Russian – ВНИМАНИЕ: вам могут предоставить
If you need assistance filing a written grievance, please call            бесплатные услуги перевода. Если вы уже участвуете в
the number on the back of your ID card or send an email to                плане Cigna, позвоните по номеру, указанному на
ACAGrievance@cigna.com. You can also file a civil rights                  обратной стороне вашей идентификационной карточки
complaint with the U.S. Department of Health and Human                    участника плана. Если вы не являетесь участником одного
Services, Office for Civil Rights electronically through the              из наших планов, позвоните по номеру 1.800.244.6224
Office for Civil Rights Complaint Portal, available at:                   (TTY: 711).
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building
    Washington, D.C. 20201                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    1-800-368-1019, 800-537-7697 (TDD)                                    disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
Complaint forms are available at                                          dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
http://www.hhs.gov/ocr/office/file/index.html.                            (TTY: Rele 711).
                                                                          French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                      07-17
                                                                          Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                          carte d’identité. Sinon, veuillez appeler le numéro
Proficiency of Language Assistance Services                               1.800.244.6224 (ATS : composez le numéro 711).
English – ATTENTION: Language assistance services, free                   Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
of charge, are available to you. For current Cigna customers,             assistência linguística, totalmente gratuitos. Para clientes
call the number on the back of your ID card. Otherwise, call              Cigna atuais, ligue para o número que se encontra no verso do
1.800.244.6224 (TTY: Dial 711).                                           seu cartão de identificação. Caso contrário, ligue para
                                                                          1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de
idiomas, sin cargo, a su disposición. Si es un cliente actual de          Polish – UWAGA: w celu skorzystania z dostępnej,
Cigna, llame al número que figura en el reverso de su tarjeta             bezpłatnej pomocy językowej, obecni klienci firmy Cigna
de identificación. Si no lo es, llame al 1.800.244.6224 (los              mogą dzwonić pod numer podany na odwrocie karty
usuarios de TTY deben llamar al 711).                                     identyfikacyjnej. Wszystkie inne osoby prosimy o
                                                                          skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                           Japanese –
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                     注意事項：日本語を話される場合、無料の言語支援サー
                                                                          ビスをご利用いただけます。現在のCignaの
                                                                          お客様は、IDカード裏面の電話番号まで、お電話にてご


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連絡ください。その他の方は、1.800.244.6224（TTY:                                        benefits is available for review by Plan Administrators (e.g.
711）まで、お電話にてご連絡ください。                                                     employers) and covered persons by accessing the appropriate
                                                                         link below:
Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                Employers (Plan Administrators):
chiamare il numero sul retro della tessera di identificazione.               https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                 Log in, select Resources and Training, then select the
TTY: chiamare il numero 711).                                                NQTL document.
German – ACHTUNG: Die Leistungen der                                         Covered Persons: www.cigna.com\sp
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                To determine which document applies to your plan, select the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             relevant health plan product; medical management model
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 (inpatient only or inpatient and outpatient) which can be
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 located in this booklet immediately following The Schedule;
Sie 711).                                                                and pharmacy coverage (whether or not your plan includes
                                                                         pharmacy coverage).


                                                                         HC-NOT113                                                    01-20




                                                                         How To File Your Claim
                                                                         There’s no paperwork for In-Network care. Just show your
HC-NOT97                                                     07-17       identification card and pay your share of the cost, if any; your
                                                                         provider will submit a claim to Cigna for reimbursement. Out-
                                                                         of-Network claims can be submitted by the provider if the
Mental Health Parity and Addiction Equity Act of 2008                    provider is able and willing to file on your behalf. If the
(MHPAEA) - Non-Quantitative Treatment Limitations                        provider is not submitting on your behalf, you must send your
(NQTLs)                                                                  completed claim form and itemized bills to the claims address
Federal MHPAEA regulations provide that a plan cannot                    listed on the claim form.
impose a Non-Quantitative Treatment Limitation (NQTL) on                 You may get the required claim forms from the website listed
mental health or substance use disorder (MH/SUD) benefits in             on your identification card or by using the toll-free number on
any classification unless the processes, strategies, evidentiary         your identification card.
standards, or other factors used in applying the NQTL to
MH/SUD benefits are comparable to, and are applied no more               CLAIM REMINDERS
stringently than, those used in applying the NQTL to                      BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits           ACCOUNT/GROUP NUMBER WHEN YOU FILE
as written and in operation under the terms of the plan.                   CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include:                    YOUR CIGNA CLAIM OFFICE.
   Medical management standards limiting or excluding                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
    benefits based on Medical Necessity or whether the                       BENEFIT IDENTIFICATION CARD.
    treatment is experimental or investigative;                              YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
   Prescription drug formulary design;                                      YOUR BENEFIT IDENTIFICATION CARD.
   Network admission standards;                                            BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                             ON THE BACK OF THE CLAIM FORM CAREFULLY
   Methods for determining in-network and out-of-network                    WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;
                                                                         Timely Filing of Out-of-Network Claims
   Step therapy a/k/a fail-first requirements; and
                                                                         Cigna will consider claims for coverage under our plans when
   Exclusions and/or restrictions based on geographic location,         proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                 of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                      rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                Confinement, the limit will be counted from the last date of



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service. If claims are not submitted within 180 days for Out-            Effective Date of Employee Insurance
of-Network benefits, the claim will not be considered valid              You will become insured on the date you elect the insurance
and will be denied.                                                      by signing an approved payroll deduction or enrollment form,
WARNING: Any person who knowingly and with intent to                     as applicable, but no earlier than the date you become eligible.
defraud any insurance company or other person files an                   You will become insured on your first day of eligibility,
application for insurance or statement of claim containing any           following your election, if you are in Active Service on that
materially false information; or conceals for the purpose of             date, or if you are not in Active Service on that date due to
misleading, information concerning any material fact thereto,            your health status.
commits a fraudulent insurance act.
                                                                         Late Entrant - Employee
                                                                         You are a Late Entrant if:
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                                                                            you elect the insurance more than 30 days after you become
                                                                             eligible; or
                                                                            you again elect it after you cancel your payroll deduction (if
                                                                             required).
Eligibility - Effective Date
                                                                         Dependent Insurance
Employee Insurance
                                                                         For your Dependents to be insured, you will have to pay the
This plan is offered to you as an Employee.                              required contribution, if any, toward the cost of Dependent
Eligibility for Employee Insurance                                       Insurance.
You will become eligible for insurance on the day you                    Effective Date of Dependent Insurance
complete the waiting period if:                                          Insurance for your Dependents will become effective on the
   you are in a Class of Eligible Employees; and                        date you elect it by signing an approved payroll deduction
   you are an eligible, full-time Employee; and                         form (if required), but no earlier than the day you become
                                                                         eligible for Dependent Insurance. All of your Dependents as
   you normally work at least 30 hours a week; and                      defined will be included.
   you pay any required contribution.                                   Your Dependents will be insured only if you are insured.
If you were previously insured and your insurance ceased, you            Late Entrant – Dependent
must satisfy the Waiting Period to become insured again. If
your insurance ceased because you were no longer employed                You are a Late Entrant for Dependent Insurance if:
in a Class of Eligible Employees, you are not required to                   you elect that insurance more than 30 days after you
satisfy any waiting period if you again become a member of a                 become eligible for it; or
Class of Eligible Employees within one year after your                      you again elect it after you cancel your payroll deduction (if
insurance ceased.                                                            required).
Employees on temporary furlough for up to 6 months will be               Exception for Newborns
considered active employees and coverage will continue
during this time period.                                                 Any Dependent child born while you are insured will become
                                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                      Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later            elect to insure your newborn child within such 31 days,
of:                                                                      coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                         for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                         HC-ELG274M                                                     01-19

Waiting Period
The first day of the month following date of hire.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
Employer.



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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .



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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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      BENEFIT HIGHLIGHTS                   IN-NETWORK                    OUT-OF-NETWORK
Lifetime Maximum                                             Unlimited
The Percentage of Covered Expenses   80%                           60% of the Maximum Reimbursable
the Plan Pays                                                      Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-    Not Applicable                  110%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 the provider’s normal charge for a
  similar service or supply; or
 the 80th percentile of charges made
  by providers of such service or
  supply in the geographic area where
  it is received as compiled in a
  database selected by Cigna. If
  sufficient charge data is unavailable
  in the database for that geographic
  area to determine the Maximum
  Reimbursable Charge, then data in
  the database for similar services may
  be used.

Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable copayment, deductibles
and/or coinsurance.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.

Calendar Year Deductible
  Individual                               $600 per person                  $1,000 per person

  Family Maximum                           $1,200 per family                $2,000 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $3,000 per person                $6,000 per person
  Family Maximum                           $6,000 per family                $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        No charge after $25 per office visit    60% of the Maximum Reimbursable
  Visit                                  copay                                   Charge after plan deductible


  Specialty Care Physician’s Office      No charge after $40 Specialist per      60% of the Maximum Reimbursable
  Visits                                 office visit copay                      Charge after plan deductible
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  Office                                 Specialist per office visit copay       Charge after plan deductible
  Second Opinion Consultations           No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  (provided on a voluntary basis)        Specialist per office visit copay       Charge after plan deductible
  Allergy Treatment/Injections           No charge after either the $25 PCP or   60% of the Maximum Reimbursable
                                         $40 Specialist per office visit copay   Charge after plan deductible
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               60% of the Maximum Reimbursable
  Physician in the office)                                                       Charge after plan deductible
Convenience Care Clinic                  No charge after the $25 per office      60% of the Maximum Reimbursable
                                         visit copay                             Charge after plan deductible




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        BENEFIT HIGHLIGHTS                               IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
    Urgent Virtual Care Services             No charge after the $25 PCP per       In-Network coverage only
                                             office visit copay
    Notes:
    Dedicated Virtual Providers may
    deliver services that are payable
    under other benefits (e.g., Preventive
    Care, Primary Care Physician,
    Behavioral; Dermatology/Specialty
    Care Physician).

    Lab services supporting a virtual
    visit must be obtained through
    dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                     No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                             Specialist per office visit copay     Charge after plan deductible
.
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
    Routine Preventive Care - all ages       No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible

    Immunizations - all ages                 No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Mammograms, PSA, PAP Smear
    Preventive Care Related Services         No charge                             60% of the Maximum Reimbursable
    (i.e. “routine” services)                                                      Charge after plan deductible
    Diagnostic Related Services (i.e.        Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
    “non-routine” services)                  benefit; based on place of service    benefit; based on place of service
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Inpatient Hospital – Facility Services    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Semi-Private Room and Board             Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Private Room                            Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Special Care Units (ICU/CCU)            Limited to the negotiated rate         Limited to the ICU/CCU daily room
                                                                                 rate

Outpatient Facility Services
 Operating Room, Recovery Room,           $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
 Procedures Room, Treatment Room          plan deductible                        of the Maximum Reimbursable
 and Observation Room                                                            Charge after plan deductible
  Note:
  Non-surgical treatment procedures
  are not subject to the facility copay
  or facility deductible.
Inpatient Hospital Physician’s            80% after plan deductible              60% of the Maximum Reimbursable
Visits/Consultations                                                             Charge after plan deductible

Inpatient Hospital Professional           80% after plan deductible              60% of the Maximum Reimbursable
Services                                                                         Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services          80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Urgent Care Facility or Outpatient      No charge after $35 per visit copay*    No charge after $35 per visit copay*
  Facility                                and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Emergency Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             80% after plan deductible               80% after plan deductible

Ambulance                                 80% after plan deductible               80% of the Maximum Reimbursable
                                                                                  Charge after plan deductible




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      BENEFIT HIGHLIGHTS                               IN-NETWORK                          OUT-OF-NETWORK
Inpatient Services at Other Health         80% after plan deductible                60% of the Maximum Reimbursable
Care Facilities                                                                     Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible
  Outpatient Hospital Facility             80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Independent X-ray and/or Lab             80% after plan deductible                60% of the Maximum Reimbursable
  Facility                                                                          Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 No charge                                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Inpatient Facility                       $250 per admission copay, then 80%       $500 per admission deductible, then
                                           after plan deductible                    60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Outpatient Facility                      80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
Outpatient Therapy Services                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
  Calendar Year Maximum:                   Specialist per office visit copay        Charge after plan deductible
  60 days for all therapies combined       Note:
  (The limit is not applicable to mental   Outpatient Therapy Services copay
  health conditions.)                      applies, regardless of place of
                                           service, including the home.
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          No charge after the $40 Specialist per   60% of the Maximum Reimbursable
  Calendar Year Maximum:                   office visit copay                       Charge after plan deductible
  36 days
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Physician’s Office Visit                 No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Physician’s Office Visit                No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                          Specialist per office visit copay     Charge after plan deductible
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% of the Maximum Reimbursable
  100 days (includes outpatient private                                         Charge after plan deductible
  nursing when approved as Medically
  Necessary)

  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Services                     80% after plan deductible             60% of the Maximum Reimbursable
  (same coinsurance level as Home                                               Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient                              80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $250 per admission copay, then 80%     In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible              60% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                 Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  to the global maternity fee when          Specialist per office visit copay      Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $250 per admission copay, then 80%     $500 per admission deductible, then
  (Inpatient Hospital, Birthing Center)     after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                      $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                     $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                    80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                              60% of the Maximum Reimbursable
  Tests and Counseling                                                           Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Inpatient Facility                    No charge                              $500 per admission deductible, then
                                                                                 60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   No charge                              $400 per visit deductible, then 60%
                                                                                 of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  Tests and Counseling                    Specialist per office visit copay      Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
    Inpatient Facility                    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility and Conception Services
Services offered through WINFertility
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility, as applicable.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Treatment and/or procedures performed to enable conception with or without an infertility condition
       Artificial Insemination/Intrauterine insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
       Fertility preservation when an infertility condition is imminent.
       Access to reproductive services for the purpose of pre-implantation genetic diagnosis (PGD) and embryo selection
        when parent(s), though fertile, are known carriers of genes associated with birth defects.
.
    Physician’s Office Visit (Lab and           No charge after the $25 PCP or $40         60 of the Maximum Reimbursable
    Radiology Tests, Counseling)                Specialist per office visit copay          Charge after plan deductible
    Inpatient Facility                          $250 per admission copay, then 80%         $500 per admission deductible, then
                                                after plan deductible                      60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Outpatient Facility                         $200 per visit copay, then 80% after       $400 per visit deductible, then 60%
                                                plan deductible                            of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Physician’s Services                        80% after plan deductible                  60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Cryopreserved Reproductive
    Material Storage Maximum:
    1 year

    Lifetime Maximum:
    $25,000 per member
     In-network and out-of-network
      services accumulate to the one
      maximum
    .




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                        OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                 No charge after the $25 PCP or $40     In-Network coverage only
                                           Specialist per office visit copay
  Inpatient Facility                       100% at LifeSOURCE center after        In-Network coverage only
                                           $250 per admission copay, otherwise
                                           80% after $250 per admission copay
                                           and plan deductible
  Physician’s Services                     100% at LifeSOURCE center,             In-Network coverage only
                                           otherwise 80% after plan deductible
  Lifetime Travel Maximum:                 No charge (only available when         In-Network coverage only
  $10,000 per transplant                   using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                   80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited
  .                                                                               Charge after plan deductible
Outpatient Dialysis Services
 Physician's Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                           Specialist per office visit copay      Charge after plan deductible
  Outpatient Facility                      $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                           plan deductible                        of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician's Services                     80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Home Setting                             80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
Breast Feeding Equipment and
Supplies
  Note:                                    No charge                              60% of the Maximum Reimbursable
  Includes the rental of one breast                                               Charge after plan deductible
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                          OUT-OF-NETWORK
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited                                                                        Charge after plan deductible
  .
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
  .                                                                                Charge after plan deductible




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $25 PCP or $40        60% of the Maximum Reimbursable
                                            Specialist per office visit copay         Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%        $500 per admission deductible, then
                                            after plan deductible                     60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      $400 per visit deductible, then 60%
                                            plan deductible                           of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Physician’s Services                      80% after plan deductible                 60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
Hearing Aids
  Calendar Year Maximum:                    80% after plan deductible                 60% of the Maximum Reimbursable
  Unlimited                                                                           Charge after plan deductible
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  No charge after the $25 PCP or $40        In-Network coverage only
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%        In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible                 In-Network coverage only
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              $250 per admission copay, then 80%    $500 per admission deductible, then
   Includes Acute Inpatient and         after plan deductible                 60% of the Maximum Reimbursable
   Residential Treatment                                                      Charge after plan deductible

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .
Substance Use Disorder
  Inpatient                             $250 per admission copay, then 80%    $500 per admission deductible, then
    Includes Acute Inpatient            after plan deductible                 60% of the Maximum Reimbursable
    Detoxification, Acute Inpatient                                           Charge after plan deductible
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Bed and Board, for treatment listed               Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary
                                                                                 defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a                             the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in                     Schedule of the Bright Futures Recommendations for
    The Schedule.                                                                  Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest                         the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can                       on Heritable Disorders in Newborns and Children; and
    be provided.
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received                     care and screening guidelines supported by the Health
    at a Hospital.                                                                 Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Internal Prosthetic/Medical Appliances
    For additional information on immunizations, visit the               Charges for internal prosthetic/medical appliances that provide
    immunization schedule section of www.cdc.gov.                        permanent or temporary internal functional supports for non-
   charges for surgical and non-surgical treatment of                   functional body parts are covered. Medically Necessary repair,
    Temporomandibular Joint Dysfunction (TMJ).                           maintenance or replacement of a covered appliance is also
   charges for acupuncture.                                             covered.
   charges for hearing aids and associated exam for device
    testing and fitting, including but not limited to semi-              HC-COV1122                                                       01-22
    implantable hearing devices, audiant bone conductors and
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
                                                                         Home Health Care Services
    any device that amplifies sound.
                                                                         Charges for skilled care provided by certain health care
   Medically Necessary orthognathic surgery to repair or
                                                                         providers during a visit to the home, when the home is
    correct a severe facial deformity or disfigurement.
                                                                         determined to be a medically appropriate setting for the
Virtual Care                                                             services. A visit is defined as a period of 2 hours or less.
Dedicated Virtual Providers                                              Home Health Care Services are subject to a maximum of 16
Charges for the delivery of medical and health-related services          hours in total per day.
and consultations by dedicated virtual providers as medically            Home Health Care Services are covered when skilled care is
appropriate through audio, video, and secure internet-based              required under any of the following conditions:
technologies.                                                               the required skilled care cannot be obtained in an outpatient
Virtual Physician Services                                                   facility.
Charges for the delivery of medical and health-related services             confinement in a Hospital or Other Health Care Facility is
and consultations as medically appropriate through audio,                    not required.
video, and secure internet-based technologies that are similar              the patient’s home is determined by Cigna to be the most
to office visit services provided in a face-to-face setting.                 medically appropriate place to receive specific services.
Charges for behavioral consultations and services via secure             Covered services include:
telecommunications technologies that shall include video
                                                                            skilled nursing services provided by a Registered Nurse
capability, including telephones and internet, when delivered
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
through a behavioral provider.
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
Convenience Care Clinic                                                      (APRN).
Convenience Care Clinics provide for common ailments and                    services provided by health care providers such as physical
routine services, including but not limited to, strep throat, ear            therapist, occupational therapist and speech therapist.
infections or pink eye, immunizations and flu shots.
                                                                            services of a home health aide when provided in direct
Nutritional Counseling                                                       support of those nurses and health care providers.
Charges for nutritional counseling when diet is a part of the               necessary consumable medical supplies and home infusion
medical management of a medical or behavioral condition.                     therapy administered or used by a health care provider.
Enteral Nutrition                                                        Note: Physical, occupational, and other Outpatient Therapy
Enteral Nutrition means medical foods that are specially                 Services provided in the home are covered under the
formulated for enteral feedings or oral consumption.                     Outpatient Therapy Services benefit shown in The Schedule.
Coverage includes medically approved formulas prescribed by              The following are excluded from coverage:
a Physician for treatment of inborn errors of metabolism (e.g.,             services provided by a person who is a member of the
disorders of amino acid or organic acid metabolism).                         patient’s family, even when that person is a health care
                                                                             provider.
                                                                            services provided by a person who normally resides in the
                                                                             patient’s house, even when that person is a health care
                                                                             provider.
                                                                            non-skilled care, Custodial Services, and assistance in the
                                                                             activities of daily living, including but not limited to eating,



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    bathing, dressing or other services; self-care activities;                   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.                                            services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent                        to the extent that any other benefits are payable for those
upon others for non-skilled care and/or Custodial Services, is                    expenses under the policy;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                      services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


                                                                              HC-COV1180                                                        01-22
HC-COV1123                                                       01-22



Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes. In determining benefits payable, charges
those who have ceased treatment and to those continuing to                    made for the treatment of any physiological conditions related
receive curative treatment and therapies.                                     to Mental Health will not be considered to be charges made
                                                                              for treatment of Mental Health.
Hospice Care Programs rendered by Hospice Facilities or
Hospitals include services:                                                   Substance Use Disorder is defined as the psychological or
                                                                              physical dependence on alcohol or other mind-altering drugs
   by a Hospice Facility for Room and Board and Services and                 that requires diagnosis, care, and treatment. In determining
    Supplies;                                                                 benefits payable, charges made for the treatment of any
   by a Hospice Facility for services provided on an outpatient              physiological conditions related to rehabilitation services for
    basis;                                                                    alcohol or drug abuse or addiction will not be considered to be
   by a Physician for professional services;                                 charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or                     Inpatient Mental Health Services
    ordained minister for individual and family counseling;                   Services that are provided by a Hospital while you or your
   for pain relief treatment, including drugs, medicines and                 Dependent is Confined in a Hospital for the treatment and
    medical supplies;                                                         evaluation of Mental Health. Inpatient Mental Health Services
                                                                              include Mental Health Residential Treatment Services.
Hospice Care Programs rendered by Other Health Care
Facilities or in the Home include services:                                   Mental Health Residential Treatment Services are services
                                                                              provided by a Hospital for the evaluation and treatment of the
   for part-time or intermittent nursing care by or under the                psychological and social functional disturbances that are a
    supervision of a Nurse;                                                   result of subacute Mental Health conditions.
   for part-time or intermittent services of an Other Health                 Mental Health Residential Treatment Center means an
    Professional;                                                             institution which specializes in the treatment of psychological
   physical, occupational and speech therapy;                                and social disturbances that are the result of Mental Health
   medical supplies;                                                         conditions; provides a subacute, structured, psychotherapeutic
                                                                              treatment program, under the supervision of Physicians;
   drugs and medicines lawfully dispensed only on the written                provides 24-hour care, in which a person lives in an open
    prescription of a Physician;                                              setting; and is licensed in accordance with the laws of the
   laboratory services;                                                      appropriate legally authorized agency as a residential
    but only to the extent such charges would have been                       treatment center.
    payable under the policy if the person had remained or been               A person is considered confined in a Mental Health
    Confined in a Hospital or Hospice Facility.                               Residential Treatment Center when she/he is a registered bed
The following charges for Hospice Care Services are not                       patient in a Mental Health Residential Treatment Center upon
included as Covered Expenses:                                                 the recommendation of a Physician.
   services of a person who is a member of your family or your
    Dependent's family or who normally resides in your house
    or your Dependent's house;


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Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.
                                                                          developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use
                                                                          counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for occupational problems.
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,
                                                                          vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
Physicians; provides 24-hour care, in which a person lives in             I.Q. testing.
an open setting; and is licensed in accordance with the laws of           custodial care, including but not limited to geriatric day
the appropriate legally authorized agency as a residential                 care.
treatment center.
                                                                          psychological testing on children requested by or for a
A person is considered confined in a Substance Use Disorder                school system.
Residential Treatment Center when she/he is a registered bed


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   occupational/recreational therapy programs even if                             External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                      charges made or ordered by a Physician for: the initial
    decline.                                                                         purchase and fitting of external prosthetic appliances and
                                                                                     devices available only by prescription which are necessary
HC-COV481                                                             12-15
                                                                                     for the alleviation or correction of Injury, Sickness or
                                                                                     congenital defect.
                                                                                   External prosthetic appliances and devices include
Durable Medical Equipment
                                                                                   prostheses/prosthetic appliances and devices; orthoses and
 charges made for purchase or rental of Durable Medical                           orthotic devices; braces; and splints.
  Equipment that is ordered or prescribed by a Physician and
                                                                                   Prostheses/Prosthetic Appliances and Devices
  provided by a vendor approved by Cigna for use outside a
  Hospital or Other Health Care Facility. Coverage for repair,                     Prostheses/prosthetic appliances and devices are defined as
  replacement or duplicate equipment is provided only when                         fabricated replacements for missing body parts.
  required due to anatomical change and/or reasonable wear                         Prostheses/prosthetic appliances and devices include, but are
  and tear. All maintenance and repairs that result from a                         not limited to:
  person’s misuse are the person’s responsibility.                                    limb prostheses;
Durable Medical Equipment is defined as items which are                               terminal devices such as hands or hooks;
designed for and able to withstand repeated use by more than                          speech prostheses; and
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                              facial prostheses.
appropriate for use in the home; and are not disposable. Such                      Orthoses and Orthotic Devices
equipment includes, but is not limited to, crutches, hospital                      Orthoses and orthotic devices are defined as orthopedic
beds, ventilators, insulin pumps and wheel chairs.                                 appliances or apparatuses used to support, align, prevent or
Durable Medical Equipment items that are not covered include                       correct deformities. Coverage is provided for custom foot
but are not limited to those that are listed below:                                orthoses and other orthoses as follows:
   Bed Related Items: bed trays, over the bed tables, bed                            Non-foot orthoses – only the following non-foot orthoses
    wedges, pillows, custom bedroom equipment, mattresses,                             are covered:
    including nonpower mattresses, custom mattresses and                                rigid and semi-rigid custom fabricated orthoses;
    posturepedic mattresses.
                                                                                        semi-rigid prefabricated and flexible orthoses; and
   Bath Related Items: bath lifts, nonportable whirlpools,
    bathtub rails, toilet rails, raised toilet seats, bath benches,                     rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                           and basic additions, such as bars and joints.
    and spas.                                                                         Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair                            covered as follows:
    ramps.                                                                              for persons with impaired peripheral sensation and/or
 Car/Van Modifications.                                                                 altered peripheral circulation (e.g. diabetic neuropathy
                                                                                         and peripheral vascular disease);
 Air Quality Items: room humidifiers, vaporizers and air
                                                                                        when the foot orthosis is an integral part of a leg brace
  purifiers.
                                                                                         and is necessary for the proper functioning of the brace;
   Other Equipment: centrifuges, needleless injectors, heat
    lamps, heating pads, cryounits, cryotherapy machines,                               when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                             substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                             toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                         Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise                              for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.                                                    (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                         spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
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                                                                                         improvement.




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The following are specifically excluded orthoses and orthotic              myoelectric and orthoses.
devices:
   prefabricated foot orthoses;                                        HC-COV1125                                                       01-22
   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for
                                                                        Infertility Services
    synostotic plagiocephaly. When used for this indication, the
    cranial orthosis will be subject to the limitations and              charges made for services related to diagnosis of infertility
    maximums of the External Prosthetic Appliances and                    and treatment of infertility once a condition of infertility has
    Devices benefit;                                                      been diagnosed. Services include, but are not limited to:
                                                                          infertility drugs which are administered or provided by a
   orthosis shoes, shoe additions, procedures for foot
                                                                          Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;
                                                                          procedures that have been demonstrated in existing peer-
   non-foot orthoses primarily used for cosmetic rather than             reviewed, evidence-based, scientific literature to have a
    functional reasons; and                                               reasonable likelihood of resulting in pregnancy; laboratory
   non-foot orthoses primarily for improved athletic                     tests; sperm washing or preparation; artificial insemination;
    performance or sports participation.                                  diagnostic evaluations; gamete intrafallopian transfer
Braces                                                                    (GIFT); in vitro fertilization (IVF); zygote intrafallopian
                                                                          transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that
supports or holds in correct position any movable part of the               Infertility is defined as:
body and that allows for motion of that part.                                the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                         conception after at least one year of unprotected
scoliosis braces.                                                             intercourse;
                                                                             the inability of opposite-sex partners to achieve
Splints
                                                                              conception after six months of unprotected intercourse,
A Splint is defined as an appliance for preventing movement                   when the female partner trying to conceive is age 35 or
of a joint or for the fixation of displaced or movable parts.                 older;
Coverage for replacement of external prosthetic appliances                   the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                      partner, to achieve conception after at least six trials of
   replacement due to regular wear. Replacement for damage                   medically supervised artificial insemination over a one-
    due to abuse or misuse by the person will not be covered.                 year period; and
   replacement required because anatomic change has rendered                the inability of a woman, with or without an opposite-sex
    the external prosthetic appliance or device ineffective.                  partner, to achieve conception after at least three trials of
    Anatomic change includes significant weight gain or loss,                 medically supervised artificial insemination over a six-
    atrophy and/or growth.                                                    month period of time, when the female partner trying to
   replacement due to a surgical alteration or revision of the               conceive is age 35 or older.
    impacted site.                                                      This benefit includes diagnosis and treatment of both male and
Coverage for replacement is limited as follows:                         female infertility.
   no more than once every 24 months for persons 19 years of           However, the following are specifically excluded infertility
    age and older.                                                      services:
   no more than once every 12 months for persons 18 years of              reversal of male and female voluntary sterilization;
    age and under.                                                         infertility services when the infertility is caused by or
The following are specifically excluded external prosthetic                 related to voluntary sterilization;
appliances and devices:                                                    donor charges and services;
   external and internal power enhancements for external                  cryopreservation of donor sperm and eggs; and
    prosthetic devices; or                                                 any experimental, investigational or unproven infertility
   microprocessor controlled prostheses and orthoses; and                  procedures or therapies.


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                                                                            Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                 the following criteria are met:
Charges for the following therapy services:                                    The individual’s condition has the potential to improve or is
                                                                                improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic                            improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                 There is an expectation that the anticipated improvement is
                                                                                attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                of time.
  part of a program of treatment.
                                                                               The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation                                                          of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                    scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac                 The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-                   appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                 purposes of enabling individuals to perform the activities of
                                                                            daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status           sensory integration therapy.
    achieved through Phases I and II. Phase IV is an                           treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                         maintenance or preventive treatment provided to prevent
                                                                                recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                               charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an                  setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                      vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                  Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                     constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                     A separate Copayment applies to the services provided by
                                                                                each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
                                                                            HC-COV982                                                     01-21
   Restore function (called “rehabilitative”):
     To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                             charges made for reconstructive surgery following a
      body part.
                                                                              mastectomy; benefits include: surgical services for
   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the non-
     To improve, adapt or attain function that has been                      diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                             prosthetics, limited to the lowest cost alternative available
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been
                                                                              mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health
                                                                              lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.                                        or correct a severe physical deformity or disfigurement
                                                                              which is accompanied by functional deficit; (other than



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    abnormalities of the jaw or conditions related to TMJ                    Coverage for organ procurement costs are limited to costs
    disorder) provided that: the surgery or therapy restores or              directly related to the procurement of an organ, from a cadaver
    improves function; reconstruction is required as a result of             or a live donor. Organ procurement costs shall consist of
    Medically Necessary, non-cosmetic surgery; or the surgery                hospitalization and surgery necessary for removal of an organ
    or therapy is performed prior to age 19 and is required as a             and transportation of a live donor (refer to Transplant and
    result of the congenital absence or agenesis (lack of                    Related Specialty Care Travel Services). Compatibility testing
    formation or development) of a body part. Repeat or                      undertaken prior to procurement is covered if Medically
    subsequent surgeries for the same condition are covered                  Necessary. Costs related to the search for, and identification of
    only when there is the probability of significant additional             a bone marrow or stem cell donor for an allogeneic transplant
    improvement as determined by the utilization review                      are also covered.
    Physician.                                                               Advanced cellular therapy, including but not limited to,
                                                                             immune effector cell therapies and Chimeric Antigen Receptor
HC-COV631                                                       12-17
                                                                             Therapy (CAR-T) cellular therapy, is covered when performed
                                                                             at a Cigna LifeSOURCE Transplant Network® facility with
                                                                             an approved stem cell transplant program. Advanced cellular
Transplant Services and Related Specialty Care                               therapy received at Participating Provider facilities
Charges made for human organ and tissue transplant services                  specifically contracted with Cigna for advanced cellular
which include solid organ and bone marrow/stem cell                          therapy, other than Cigna LifeSOURCE Transplant Network®
procedures at designated facilities throughout the United                    facilities, are payable at the In-Network level. Advanced
States or its territories. This coverage is subject to the                   cellular therapy received at any other facility, including non-
following conditions and limitations.                                        Participating Provider facilities and Participating Provider
                                                                             facilities not specifically contracted with Cigna for advanced
Transplant services include the recipient’s medical, surgical
                                                                             cellular therapy, are not covered.
and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell                    Transplant and Related Specialty Care Travel Services
procurement. Transplant services are covered only if they are                Charges made for non-taxable travel expenses incurred by you
required to perform any of the following human to human                      in connection with a preapproved organ/tissue transplant are
organ or tissue transplants: allogeneic bone marrow/stem cell,               covered subject to the following conditions and limitations:
autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                                Transplant and related specialty care travel benefits are not
kidney, kidney/pancreas, liver, lung, pancreas or intestine
                                                                                 available for cornea transplants.
which includes small bowel-liver or multi-visceral.
Implantation procedures are also covered for artificial heart,                  Benefits for transportation and lodging are available to the
percutaneous ventricular assist device (PVAD), extracorporeal                    recipient of a preapproved organ/tissue transplant and/or
membrane oxygenation (ECMO) ventricular assist device                            related specialty care from a designated Cigna
(VAD) and intra-aortic balloon pump (IABP) are also covered.                     LifeSOURCE Transplant Network® facility.
   All transplant services and related specialty care services,                The term recipient is defined to include a person receiving
    other than cornea transplants, are covered when received at                  authorized transplant related services during any of the
    Cigna LifeSOURCE Transplant Network® facilities.                             following: evaluation, candidacy, transplant event, or post-
                                                                                 transplant care.
   Transplant services and related specialty care services
    received at Participating Provider facilities specifically                  Travel expenses for the person receiving the transplant will
    contracted with Cigna for those transplant services and                      include charges for: transportation to and from the
    related specialty care services, other than Cigna                            designated Cigna LifeSOURCE Transplant Network®
    LifeSOURCE Transplant Network® facilities, are payable                       facility (including charges for a rental car used during a
    at the In-Network level.                                                     period of care at the designated Cigna LifeSOURCE
                                                                                 Transplant Network® facility); and lodging while at, or
   Transplant services and related specialty care services
                                                                                 traveling to and from, the designated Cigna LifeSOURCE
    received at any other facility, including non-Participating
                                                                                 Transplant Network® facility.
    Provider facilities and Participating Provider facilities not
    specifically contracted with Cigna for transplant services                  In addition to your coverage for the charges associated with
    and related specialty care services, are not covered.                        the items above, such charges will also be considered
                                                                                 covered travel expenses for one companion to accompany
   Cornea transplants received at a facility that is specifically
                                                                                 you. The term companion includes your spouse, a member
    contracted with Cigna for this type of transplant are payable
                                                                                 of your family, your legal guardian, or any person not
    at the In-Network level.



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    related to you, but actively involved as your caregiver who             requirements should apply. Economic factors may include, but
    is at least 18 years of age.                                            are not limited to, the Medical Pharmaceutical’s cost
   The following are specifically excluded travel expenses: any            including, but not limited to, assessments on the cost
    expenses that if reimbursed would be taxable income, travel             effectiveness of the Medical Pharmaceuticals and available
    costs incurred due to travel within 60 miles of your home;              rebates. Regardless of its eligibility for coverage under your
    food and meals; laundry bills; telephone bills; alcohol or              plan, whether a particular Prescription Drug Product is
    tobacco products; and charges for transportation that exceed            appropriate for you or any of your Dependents is a
    coach class rates.                                                      determination that is made by you (or your Dependent) and
                                                                            the prescribing Physician.
These benefits for Transplant Services and Related Specialty
Care, and for Transplant and Related Specialty Care Travel                  The coverage criteria for a Medical Pharmaceutical may
Services are only available when the covered person is the                  change periodically for various reasons. For example, a
recipient of an organ/tissue transplant. Travel expenses for the            Medical Pharmaceutical may be removed from the market, a
designated live donor for a covered recipient are covered                   new Medical Pharmaceutical in the same therapeutic class as a
subject to the same conditions and limitations noted above.                 Medical Pharmaceutical may become available, or other
Charges for the expenses of a donor companion are not                       market events may occur. Market events that may affect the
covered. No transplant and related specialty care services or               coverage status of a Medical Pharmaceutical include, but are
travel benefits are available when the covered person is the                not limited to, an increase in the cost of a Medical
donor for an organ/tissue transplant, the transplant recipient’s            Pharmaceutical.
plan would cover all donor costs.
                                                                            HC-COV1168                                                     01-22

HC-COV1126                                                     01-22
                                                                            Gene Therapy
Medical Pharmaceuticals                                                     Charges for gene therapy products and services directly
                                                                            related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                    Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                   products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.                 (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                      replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                         gene.
determined by Cigna), are required to be administered, or the
administration of which must be directly supervised, by a                      inactivating a disease-causing gene that may not be
qualified Physician or Other Health Professional. Benefits                      functioning properly.
payable under this section include Medical Pharmaceuticals                     introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                       treat a disease.
Physician or Other Health Professional oversight but may be                 Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the                 and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                     which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                        part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                    and administered.
Additionally, certain Medical Pharmaceuticals are subject to                Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive              medical, surgical, and facility services directly related to
benefits for such Medical Pharmaceuticals, you are required to              administration of the gene therapy product; and professional
try a different Medical Pharmaceutical and/or Prescription                  services.
Drug Product first.
                                                                            Gene therapy products and their administration are covered
Utilization management requirements or other coverage                       when prior authorized to be received at In-Network facilities
conditions are based on a number of factors, which may                      specifically contracted with Cigna for the specific gene
include clinical and economic factors. Clinical factors may                 therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                        administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management



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Gene Therapy Travel Services                                                 The clinical trial must be a phase I, phase II, phase III, or
Charges made for non-taxable travel expenses incurred by you                 phase IV clinical trial conducted in relation to the prevention,
in connection with a prior authorized gene therapy procedure                 detection, or treatment of cancer or other life-threatening
are covered subject to the following conditions and                          disease or condition that meets any of the following criteria:
limitations.                                                                    it is a federally funded trial. The study or investigation is
Benefits for transportation and lodging are available to you                     approved or funded (which may include funding through in-
only when you are the recipient of a prior authorized gene                       kind contributions) by one or more of the following:
therapy; and when the gene therapy products and services                          National Institutes of Health (NIH).
directly related to their administration are received at a                        Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with
                                                                                  Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
is defined to include a person receiving prior authorized gene                    Centers for Medicare and Medicaid Services (CMS).
therapy related services during any of the following:                             a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                          a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or
                                                                                  any of the following: Department of Energy, Department
traveling to and from, the site.
                                                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered
                                                                                       the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The
term companion includes your spouse, a member of your                                   approved through a system of peer review comparable
family, your legal guardian, or any person not related to you,                          to the system of peer review of studies and
                                                                                        investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years
                                                                                        (NIH); and
of age.
                                                                                       the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any
                                                                                        the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel
costs incurred due to travel within 60 miles of your home;                              who have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                        the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                  the study or investigation is a drug trial that is exempt

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                                                                                   from having such an investigational new drug application.
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials
                                                                                services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The
individual must be eligible to participate according to the trial                 the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                       provided solely to satisfy data collection and analysis
                                                                                   needs.
   the referring health care professional is a participating
    health care provider and has concluded that the individual’s                  an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                           management of the individual.
                                                                                  a service that is clearly inconsistent with widely accepted
   the individual provides medical and scientific information
    establishing that the individual’s participation in the clinical               and established standards of care for a particular
    trial would be appropriate.                                                    diagnosis.
In addition to qualifying as an individual, the clinical trial                  an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                  charge for any person enrolled in the trial.
and services to be covered.



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   travel and transportation expenses, unless otherwise covered                  treatment of an Injury or Sickness which is due to war,
    under the plan, including but not limited to the following:                    declared, or undeclared.
     fees for personal vehicle, rental car, taxi, medical van,                   charges which you are not obligated to pay or for which you
      ambulance, commercial airline, train.                                        are not billed or for which you would not have been billed
     mileage reimbursement for driving a personal vehicle.                        except that they were covered under this plan. For example,
                                                                                   if Cigna determines that a provider or Pharmacy is or has
     lodging.
                                                                                   waived, reduced, or forgiven any portion of its charges
     meals.                                                                       and/or any portion of Copayment, Deductible, and/or
   routine patient costs obtained out-of-network when Out-of-                     Coinsurance amount(s) you are required to pay for a
    Network benefits do not exist under the plan.                                  Covered Expense (as shown on The Schedule) without
                                                                                   Cigna’s express consent, then Cigna in its sole discretion
Examples of routine patient care costs and services include:                       shall have the right to deny the payment of benefits in
   radiological services.                                                         connection with the Covered Expense, or reduce the
   laboratory services.                                                           benefits in proportion to the amount of the Copayment,
                                                                                   Deductible, and/or Coinsurance amounts waived, forgiven
   intravenous therapy.
                                                                                   or reduced, regardless of whether the provider or Pharmacy
   anesthesia services.                                                           represents that you remain responsible for any amounts that
   Physician services.                                                            your plan does not cover. In the exercise of that discretion,
                                                                                   Cigna shall have the right to require you to provide proof
   office services.
                                                                                   sufficient to Cigna that you have made your required cost
   Hospital services.                                                             share payment(s) prior to the payment of any benefits by
   Room and Board, and medical supplies that typically would                      Cigna. This exclusion includes, but is not limited to, charges
    be covered under the plan for an individual who is not                         of a non-Participating Provider who has agreed to charge
    enrolled in a clinical trial.                                                  you or charged you at an In-Network benefits level or some
Clinical trials conducted by Out-of-Network providers will be                      other benefits level not otherwise applicable to the services
covered only when the following conditions are met:                                received.
                                                                                  charges arising out of or relating to any violation of a
 In-Network providers are not participating in the clinical
                                                                                   healthcare-related state or federal law or which themselves
    trial; or
                                                                                   are a violation of a healthcare-related state or federal law.
   the clinical trial is conducted outside the individual’s state
                                                                                  assistance in the activities of daily living, including but not
    of residence.
                                                                                   limited to eating, bathing, dressing or other Custodial
                                                                                   Services or self-care activities, homemaker services and
HC-COV1128                                                        01-22            services primarily for rest, domiciliary or convalescent care.
                                                                                  for or in connection with experimental, investigational or
                                                                                   unproven services.
Exclusions, Expenses Not Covered and                                               Experimental, investigational and unproven services are
                                                                                   medical, surgical, diagnostic, psychiatric, substance use
General Limitations                                                                disorder or other health care technologies, supplies,
Exclusions and Expenses Not Covered                                                treatments, procedures, drug or Biologic therapies or
Additional coverage limitations determined by plan or                              devices that are determined by the utilization review
provider type are shown in The Schedule. Payment for the                           Physician to be:
following is specifically excluded from this plan:                                  not approved by the U.S. Food and Drug Administration
 care for health conditions that are required by state or local                     (FDA) or other appropriate regulatory agency to be
  law to be treated in a public facility.                                            lawfully marketed;
   care required by state or federal law to be supplied by a                       not demonstrated, through existing peer-reviewed,
    public school system or school district.                                         evidence-based, scientific literature to be safe and
                                                                                     effective for treating or diagnosing the condition or
   care for military service disabilities treatable through                         Sickness for which its use is proposed;
    governmental services if you are legally entitled to such
    treatment and facilities are reasonably available.                              the subject of review or approval by an Institutional
                                                                                     Review Board for the proposed use except as provided in
                                                                                     the “Clinical Trials” sections of this plan; or


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     the subject of an ongoing phase I, II or III clinical trial,              weight loss programs or treatments, whether prescribed or
      except for routine patient care costs related to qualified                 recommended by a Physician or under medical
      clinical trials as provided in the “Clinical Trials” sections              supervision.
      of this plan.                                                           unless otherwise covered in this plan, for reports,
    In determining whether any such technologies, supplies,                    evaluations, physical examinations, or hospitalization not
    treatments, drug or Biologic therapies, or devices are                     required for health reasons, including but not limited to
    experimental, investigational, and/or unproven, the                        employment, insurance or government licenses, and court-
    utilization review Physician may rely on the clinical                      ordered, forensic or custodial evaluations.
    coverage policies maintained by Cigna or the Review                       court-ordered treatment or hospitalization, unless such
    Organization. Clinical coverage policies may incorporate,                  treatment is prescribed by a Physician and listed as covered
    without limitation and as applicable, criteria relating to U.S.            in this plan.
    Food and Drug Administration-approved labeling, the
    standard medical reference compendia and peer-reviewed,                   any medications, drugs, services or supplies for the
    evidence-based scientific literature or guidelines.                        treatment of male or female sexual dysfunction such as, but
                                                                               not limited to, treatment of erectile dysfunction (including
   cosmetic surgery and therapies. Cosmetic surgery or therapy                penile implants), anorgasmy, and premature ejaculation.
    is defined as surgery or therapy performed to improve or
    alter appearance or self-esteem.                                          medical and Hospital care and costs for the infant child of a
                                                                               Dependent, unless this infant child is otherwise eligible
   the following services are excluded from coverage                          under this plan.
    regardless of clinical indications: surgical treatment of
    varicose veins; abdominoplasty; panniculectomy;                           non-medical counseling and/or ancillary services, including
    rhinoplasty; blepharoplasty; redundant skin surgery;                       but not limited to Custodial Services, educational services,
    removal of skin tags; acupressure; dance therapy; movement                 vocational counseling, training and, rehabilitation services,
    therapy; applied kinesiology; rolfing; prolotherapy; and                   behavioral training, biofeedback, neurofeedback, hypnosis,
    extracorporeal shock wave lithotripsy (ESWL) for                           sleep therapy, return to work services, work hardening
    musculoskeletal and orthopedic conditions.                                 programs and driver safety courses.
   dental treatment of the teeth, gums or structures directly                therapy or treatment intended primarily to improve or
    supporting the teeth, including dental X-rays, examinations,               maintain general physical condition or for the purpose of
    repairs, orthodontics, periodontics, casts, splints and                    enhancing job, school, athletic or recreational performance,
    services for dental malocclusion, for any condition. Charges               including but not limited to routine, long term, or
    made for services or supplies provided for or in connection                maintenance care which is provided after the resolution of
    with an accidental Injury to teeth are covered provided a                  the acute medical problem and when significant therapeutic
    continuous course of dental treatment is started within six                improvement is not expected.
    months of an accident.                                                    consumable medical supplies other than ostomy supplies
   for medical and surgical services intended primarily for the               and urinary catheters. Excluded supplies include, but are not
    treatment or control of obesity. However, treatment of                     limited to bandages and other disposable medical supplies,
    clinically severe obesity, as defined by the Body Mass                     skin preparations and test strips, except as specified in the
    Index (BMI) classifications of the National Heart, Lung,                   “Home Health Care Services” or “Breast Reconstruction
    and Blood Institute (NHLBI) guideline is covered only at                   and Breast Prostheses” sections of this plan.
    approved centers if the services are demonstrated, through                private Hospital rooms and/or private duty nursing except as
    existing peer-reviewed, evidence-based, scientific literature              provided under the Home Health Care Services provision.
    and scientifically based guidelines, to be safe and effective             personal or comfort items such as personal care kits
    for treatment of the condition. Clinically severe obesity is               provided on admission to a Hospital, television, telephone,
    defined by the NHLBI as a BMI of 40 or greater without                     newborn infant photographs, complimentary meals, birth
    comorbidities, or 35-39 with comorbidities. The following                  announcements, and other articles which are not for the
    are specifically excluded:                                                 specific treatment of an Injury or Sickness.
     medical and surgical services to alter appearances or                   artificial aids, including but not limited to corrective
      physical changes that are the result of any surgery                      orthopedic shoes, arch supports, elastic stockings, garter
      performed for the management of obesity or clinically                    belts, corsets, dentures and wigs.
      severe (morbid) obesity; and
                                                                              aids or devices that assist with non-verbal communications,
                                                                               including but not limited to communication boards, pre-
                                                                               recorded speech devices, laptop computers, desktop


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    computers, Personal Digital Assistants (PDAs), Braille                  expenses incurred by a participant to the extent
    typewriters, visual alert systems for the deaf and memory                reimbursable under automobile insurance coverage.
    books.                                                                   Coverage under this plan is secondary to automobile no-
   eyeglass lenses and frames and contact lenses (except for                fault insurance or similar coverage. The coverage provided
    the first pair of contact lenses or the first set of eyeglass            under this plan does not constitute “Qualified Health
    lenses and frames, and associated services, for treatment of             Coverage” under Michigan law and therefore does not
    keratoconus or following cataract surgery).                              replace Personal Injury Protection (PIP) coverage provided
                                                                             under an automobile insurance policy issued to a Michigan
   routine refractions, eye exercises and surgical treatment for            resident. This plan will cover expenses only not otherwise
    the correction of a refractive error, including radial                   covered by the PIP coverage.
    keratotomy.
   all non-injectable prescription drugs, unless Physician
                                                                         General Limitations
    administration or oversight is required, injectable                  No payment will be made for expenses incurred for you or any
    prescription drugs to the extent they do not require                 one of your Dependents:
    Physician supervision and are typically considered self-                for charges by a Hospital owned or operated by or which
    administered drugs, non-prescription drugs, and                          provides care or performs services for, the United States
    investigational and experimental drugs, except as provided               Government, if such charges are directly related to a
    in this plan.                                                            military-service-connected Injury or Sickness.
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered when Medically
                                                                            to the extent that payment is unlawful where the person
    Necessary.
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
                                                                            for charges which would not have been made if the person
    weight loss programs and smoking cessation programs.
                                                                             had no insurance.
   genetic screening or pre-implantations genetic screening.
                                                                            to the extent that they are more than Maximum
    General population-based genetic screening is a testing
                                                                             Reimbursable Charges.
    method performed in the absence of any symptoms or any
    significant, proven risk factors for genetically linked                 to the extent of the exclusions imposed by any certification
    inheritable disease.                                                     requirement shown in this plan.
   dental implants for any condition.                                      expenses for supplies, care, treatment, or surgery that are
                                                                             not Medically Necessary.
   fees associated with the collection or donation of blood or
    blood products, except for autologous donation in                       charges by any covered provider who is a member of your
    anticipation of scheduled services where in the utilization              family or your Dependent's family.
    review Physician’s opinion the likelihood of excess blood               expenses incurred outside the United States other than
    loss is such that transfusion is an expected adjunct to                  expenses for Medically Necessary urgent or emergent care
    surgery.                                                                 while temporarily traveling abroad.
   blood administration for the purpose of general
    improvement in physical condition.
                                                                         HC-EXC466                                                         01-22
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational
    hazards and risks.
   cosmetics, dietary supplements and health and beauty aids.
                                                                         Coordination of Benefits
                                                                         This section applies if you or any one of your Dependents is
   enteral feedings, supplies and specially formulated medical
                                                                         covered under more than one Plan and determines how
    foods that are prescribed and non-prescribed, except for
                                                                         benefits payable from all such Plans will be coordinated. You
    infant formula needed for the treatment of inborn errors of
                                                                         should file all claims with each Plan.
    metabolism.
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.
   massage therapy.


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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an employee shall
each service is the Allowable Expense and is a paid benefit.               be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active employee (or as that              recorded for you to pay up to 100% of the total of all
    employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired employee (or as             Period, your benefit reserve will return to zero and a new
    that employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the Policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    employee or retiree (or as that employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare Plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this Policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 55 days of the request, the claim will be
Effect on the Benefits of This Plan                                         closed. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB272                                                       01-21

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                 No adult Participant hereunder may assign any rights that it
   Expenses incurred by a Participant to the extent any                    may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly              or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,           adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                    of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                   decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                             settlements or recoveries.
    compensation, government insurance (other than Medicaid),                No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                             The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a                  No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether                  The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                             The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by                In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                      Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                     the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                     the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                              the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                     the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                     the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in                  the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal                    Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Leave of Absence                                                           Notice of Provider Directory/Networks
If your Active Service ends due to leave of absence, your                  Notice Regarding Provider Directories and Provider
insurance will be continued until the date as determined by                Networks
your Employer.
                                                                           A list of network providers is available to you without charge
Injury or Sickness                                                         by visiting the website or by calling the phone number on your
If your Active Service ends due to an Injury or Sickness, your             ID card. The network consists of providers, including
insurance will be continued while you remain totally and                   hospitals, of varied specialties as well as general practice,
continuously disabled as a result of the Injury or Sickness.               affiliated or contracted with Cigna or an organization
However, your insurance will not continue past the date your               contracting on its behalf.
Employer cancels your insurance.
                                                                           HC-FED78                                                      10-10
Dependents
Your insurance for all of your Dependents will cease on the
earliest date below:                                                       Qualified Medical Child Support Order
   the date your insurance ceases.                                        (QMCSO)
   the date you cease to be eligible for Dependent Insurance.             Eligibility for Coverage Under a QMCSO
   the last day for which you have made any required                      If a Qualified Medical Child Support Order (QMCSO) is
    contribution for the insurance.                                        issued for your child, that child will be eligible for coverage as
   the date Dependent Insurance is cancelled.                             required by the order and you will not be considered a Late
The insurance for any one of your Dependents will cease on                 Entrant for Dependent Insurance.
the date that Dependent no longer qualifies as a Dependent.                You must notify your Employer and elect coverage for that
                                                                           child, and yourself if you are not already enrolled, within 31
                                                                           days of the QMCSO being issued.
HC-TRM128                                                     12-17
                                                                           Qualified Medical Child Support Order Defined
                                                                           A Qualified Medical Child Support Order is a judgment,
                                                                           decree or order (including approval of a settlement agreement)
Rescissions
                                                                           or administrative notice, which is issued pursuant to a state
Your coverage may not be rescinded (retroactively terminated)              domestic relations law (including a community property law),
by Cigna or the plan sponsor unless the plan sponsor or an                 or to an administrative process, which provides for child
individual (or a person seeking coverage on behalf of the                  support or provides for health benefit coverage to such child
individual) performs an act, practice or omission that                     and relates to benefits under the group health plan, and
constitutes fraud; or the plan sponsor or individual (or a                 satisfies all of the following:
person seeking coverage on behalf of the individual) makes an
                                                                              the order recognizes or creates a child’s right to receive
intentional misrepresentation of material fact.
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
HC-TRM80                                                      01-11           the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Federal Requirements                                                           subdivision may be substituted for the child’s mailing
                                                                               address;
The following pages explain your rights and responsibilities
                                                                              the order provides a description of the coverage to be
under federal laws and regulations. Some states may have
                                                                               provided, or the manner in which the type of coverage is to
similar requirements. If a similar provision appears elsewhere
                                                                               be determined;
in this booklet, the provision which provides the better benefit
will apply.                                                                   the order states the period to which it applies; and
                                                                              if the order is a National Medical Support Notice completed
                                                                               in accordance with the Child Support Performance and
HC-FED1                                                       10-10
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.



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The QMCSO may not require the health insurance policy to                      in the Plan. You must request enrollment within 60 days
provide coverage for any type or form of benefit or option not                after termination of Medicaid or CHIP coverage.
otherwise provided under the policy, except that an order may                Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
Payment of Benefits                                                           for the other coverage is lost, you and all of your eligible
Any payment of benefits in reimbursement for Covered                          Dependent(s) may request special enrollment in this Plan. If
Expenses paid by the child, or the child’s custodial parent or                required by the Plan, when enrollment in this Plan was
legal guardian, shall be made to the child, the child’s custodial             previously declined, it must have been declined in writing
parent or legal guardian, or a state official whose name and                  with a statement that the reason for declining enrollment
address have been substituted for the name and address of the                 was due to other health coverage. This provision applies to
child.                                                                        loss of eligibility as a result of any of the following:
                                                                               divorce or legal separation;

HC-FED4                                                      10-10
                                                                               cessation of Dependent status (such as reaching the
                                                                                limiting age);
                                                                               death of the Employee;

Special Enrollment Rights Under the Health                                     termination of employment;
Insurance Portability & Accountability Act                                     reduction in work hours to below the minimum required
(HIPAA)                                                                         for eligibility;
If you or your eligible Dependent(s) experience a special                      you or your Dependent(s) no longer reside, live or work
enrollment event as described below, you or your eligible                       in the other plan’s network service area and no other
Dependent(s) may be entitled to enroll in the Plan outside of a                 coverage is available under the other plan;
designated enrollment period upon the occurrence of one of                     you or your Dependent(s) incur a claim which meets or
the special enrollment events listed below. If you are already                  exceeds the lifetime maximum limit that is applicable to
enrolled in the Plan, you may request enrollment for you and                    all benefits offered under the other plan; or
your eligible Dependent(s) under a different option offered by                 the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible                         Termination of Employer contributions (excluding
Dependent(s). You and all of your eligible Dependent(s) must                  continuation coverage). If a current or former Employer
be covered under the same option. The special enrollment                      ceases all contributions toward the Employee’s or
events include:                                                               Dependent’s other coverage, special enrollment may be
                                                                              requested in this Plan for you and all of your eligible
   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment               Exhaustion of COBRA or other continuation coverage.
    for any of the following combinations of individuals if not               Special enrollment may be requested in this Plan for you
    already enrolled in the Plan: Employee only; spouse only;                 and all of your eligible Dependent(s) upon exhaustion of
    Employee and spouse; Dependent child(ren) only;                           COBRA or other continuation coverage. If you or your
    Employee and Dependent child(ren); Employee, spouse and                   Dependent(s) elect COBRA or other continuation coverage
    Dependent child(ren). Enrollment of Dependent children is                 following loss of coverage under another plan, the COBRA
    limited to the newborn or adopted children or children who                or other continuation coverage must be exhausted before
    became Dependent children of the Employee due to                          any special enrollment rights exist under this Plan. An
    marriage.                                                                 individual is considered to have exhausted COBRA or other
                                                                              continuation coverage only if such coverage ceases: due to
   Loss of eligibility for State Medicaid or Children’s                      failure of the Employer or other responsible entity to remit
    Health Insurance Program (CHIP). If you and/or your                       premiums on a timely basis; when the person no longer
    Dependent(s) were covered under a state Medicaid or CHIP                  resides or works in the other plan’s service area and there is
    plan and the coverage is terminated due to a loss of                      no other COBRA or continuation coverage available under
    eligibility, you may request special enrollment for yourself              the plan; or when the individual incurs a claim that would
    and any affected Dependent(s) who are not already enrolled                meet or exceed a lifetime maximum limit on all benefits and
                                                                              there is no other COBRA or other continuation coverage


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    available to the individual. This does not include                      if your Employer agrees, and you meet the criteria shown in
    termination of an Employer’s limited period of                           the following Sections B through H and enroll for or change
    contributions toward COBRA or other continuation                         coverage within the time period established by your
    coverage as provided under any severance or other                        Employer.
    agreement.                                                           B. Change of status
   Eligibility for employment assistance under State                    A change in status is defined as:
    Medicaid or Children’s Health Insurance Program
    (CHIP). If you and/or your Dependent(s) become eligible                 change in legal marital status due to marriage, death of a
    for assistance with group health plan premium payments                   spouse, divorce, annulment or legal separation;
    under a state Medicaid or CHIP plan, you may request                    change in number of Dependents due to birth, adoption,
    special enrollment for yourself and any affected                         placement for adoption, or death of a Dependent;
    Dependent(s) who are not already enrolled in the Plan. You              change in employment status of Employee, spouse or
    must request enrollment within 60 days after the date you                Dependent due to termination or start of employment,
    are determined to be eligible for assistance.                            strike, lockout, beginning or end of unpaid leave of absence,
Except as stated above, special enrollment must be                           including under the Family and Medical Leave Act
requested within 30 days after the occurrence of the                         (FMLA), or change in worksite;
special enrollment event. If the special enrollment event is                changes in employment status of Employee, spouse or
the birth or adoption of a Dependent child, coverage will                    Dependent resulting in eligibility or ineligibility for
be effective immediately on the date of birth, adoption or                   coverage;
placement for adoption. Coverage with regard to any other
                                                                            change in residence of Employee, spouse or Dependent to a
special enrollment event will be effective no later than the
                                                                             location outside of the Employer’s network service area;
first day of the first calendar month following receipt of
                                                                             and
the request for special enrollment.
Domestic Partners and their children (if not legal children of              changes which cause a Dependent to become eligible or
                                                                             ineligible for coverage.
the Employee) are not eligible for special enrollment.
Although federal law does not extend special enrollment rights           C. Court order
to Domestic Partners, this plan will extend these same benefits          A change in coverage due to and consistent with a court order
to Domestic Partners (and their children if not legal children           of the Employee or other person to cover a Dependent.
of the Employee) to the same extent they are provided to                 D. Medicare or Medicaid eligibility/entitlement
spouses and legal children of the Employee.
                                                                         The Employee, spouse or Dependent cancels or reduces
                                                                         coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                    04-17        enrolls or increases coverage due to loss of Medicare or
                                                                         Medicaid eligibility.
                                                                         E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                            If the cost of benefits increases or decreases during a benefit
Plan                                                                     period, your Employer may, in accordance with plan terms,
                                                                         automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                  When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax             increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                   a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                you have elected, you may elect another available benefit
(salary).                                                                option. When a new benefit option is added, you may change
                                                                         your election to the new benefit option.
A. Coverage elections
                                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to
                                                                         another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                 You may make a coverage election change if the plan of your
                                                                         spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as
                                                                         deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or
                                                                         Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and



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the other plan have different periods of coverage or open                less than 48 hours following a vaginal delivery, or less than 96
enrollment periods.                                                      hours following a cesarean section; or require that a provider
G. Reduction in work hours                                               obtain authorization from the plan or insurance issuer for
                                                                         prescribing a length of stay not in excess of the above periods.
If an Employee’s work hours are reduced below 30                         The law generally does not prohibit an attending provider of
hours/week (even if it does not result in the Employee losing            the mother or newborn, in consultation with the mother, from
eligibility for the Employer’s coverage); and the Employee               discharging the mother or newborn earlier than 48 or 96 hours,
(and family) intend to enroll in another plan that provides              as applicable.
Minimum Essential Coverage (MEC). The new coverage must
be effective no later than the 1st day of the 2nd month                  Please review this Plan for further details on the specific
following the month that includes the date the original                  coverage available to you and your Dependents.
coverage is revoked.
H. Enrollment in a Qualified Health Plan (QHP)                           HC-FED11                                                       10-10

The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                  Women’s Health and Cancer Rights Act
during the Marketplace’s annual open enrollment period; and              (WHCRA)
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP                Do you know that your plan, as required by the Women’s
through a Marketplace for new coverage effective beginning               Health and Cancer Rights Act of 1998, provides benefits for
no later than the day immediately following the last day of the          mastectomy-related services including all stages of
original coverage.                                                       reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
HC-FED95                                                    04-17        the toll free number listed on your ID card for more
                                                                         information.

Eligibility for Coverage for Adopted Children                            HC-FED12                                                       10-10

Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date           Group Plan Coverage Instead of Medicaid
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
                                                                         premiums for this coverage instead of for Medicaid, if it is
If a child placed for adoption is not adopted, all health                cost effective. This includes premiums for continuation
coverage ceases when the placement ends, and will not be                 coverage required by federal law.
continued.
The provisions in the “Exception for Newborns” section of
                                                                         HC-FED13                                                       10-10
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.


HC-FED67                                                    09-14




Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to


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Requirements of Family and Medical Leave Act                               For leaves of 31 days or more, you may continue coverage for
of 1993 (as amended) (FMLA)                                                yourself and your Dependents as follows:
Any provisions of the policy that provide for: continuation of             You may continue benefits by paying the required premium to
insurance during a leave of absence; and reinstatement of                  your Employer, until the earliest of the following:
insurance following a return to Active Service; are modified                  24 months from the last day of employment with the
by the following provisions of the federal Family and Medical                  Employer;
Leave Act of 1993, as amended, where applicable:                              the day after you fail to return to work; and
Continuation of Health Insurance During Leave                                 the date the policy cancels.
Your health insurance will be continued during a leave of                  Your Employer may charge you and your Dependents up to
absence if:                                                                102% of the total premium.
   that leave qualifies as a leave of absence under the Family            Reinstatement of Benefits (applicable to all coverages)
    and Medical Leave Act of 1993, as amended; and
                                                                           If your coverage ends during the leave of absence because you
   you are an eligible Employee under the terms of that Act.              do not elect USERRA at the expiration of USERRA and you
The cost of your health insurance during such leave must be                are reemployed by your current Employer, coverage for you
paid, whether entirely by your Employer or in part by you and              and your Dependents may be reinstated if you gave your
your Employer.                                                             Employer advance written or verbal notice of your military
Reinstatement of Canceled Insurance Following Leave                        service leave, and the duration of all military leaves while you
                                                                           are employed with your current Employer does not exceed 5
Upon your return to Active Service following a leave of                    years.
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life              You and your Dependents will be subject to only the balance
or disability) will be reinstated as of the date of your return.           of a waiting period that was not yet satisfied before the leave
                                                                           began. However, if an Injury or Sickness occurs or is
You will not be required to satisfy any eligibility or benefit             aggravated during the military leave, full Plan limitations will
waiting period to the extent that they had been satisfied prior            apply.
to the start of such leave of absence.
                                                                           If your coverage under this plan terminates as a result of your
Your Employer will give you detailed information about the                 eligibility for military medical and dental coverage and your
Family and Medical Leave Act of 1993, as amended.                          order to active duty is canceled before your active duty service
                                                                           commences, these reinstatement rights will continue to apply.
HC-FED93                                                      10-17

                                                                           HC-FED18                                                     10-10



Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)                                     Claim Determination Procedures under ERISA
The Uniformed Services Employment and Re-employment                        The following complies with federal law. Provisions of
Rights Act of 1994 (USERRA) sets requirements for                          applicable laws of your state may supersede.
continuation of health coverage and re-employment in regard                Procedures Regarding Medical Necessity Determinations
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you                  In general, health services and benefits must be Medically
and your Dependents. They do not apply to any Life, Short-                 Necessary to be covered under the plan. The procedures for
term or Long-term Disability or Accidental Death &                         determining Medical Necessity vary, according to the type of
Dismemberment coverage you may have.                                       service or benefit requested, and the type of health plan.
                                                                           Medical Necessity determinations are made on a preservice,
Continuation of Coverage                                                   concurrent, or postservice basis, as described below:
For leaves of less than 31 days, coverage will continue as                 Certain services require prior authorization in order to be
described in the Termination section regarding Leave of                    covered. The booklet describes who is responsible for
Absence.                                                                   obtaining this review. You or your authorized representative
                                                                           (typically, your health care professional) must request prior
                                                                           authorization according to the procedures described below, in




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the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific


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plan provisions on which the determination is based; a                     HC-FED88                                                       01-17
description of any additional material or information necessary
to perfect the claim and an explanation of why such material
or information is necessary; a description of the plan’s review
procedures and the time limits applicable, including a
                                                                           Medical - When You Have a Complaint or an
statement of a claimant’s rights to bring a civil action under             Appeal
section 502(a) of ERISA following an adverse benefit                       For the purposes of this section, any reference to "you" or
determination on appeal, (if applicable); upon request and free            "your" also refers to a representative or provider designated by
of charge, a copy of any internal rule, guideline, protocol or             you to act on your behalf; unless otherwise noted.
other similar criterion that was relied upon in making the                 We want you to be completely satisfied with the services you
adverse determination regarding your claim; and an                         receive. That is why we have established a process for
explanation of the scientific or clinical judgment for a                   addressing your concerns and solving your problems.
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a              Start With Customer Service
description of any available internal appeal and/or external               We are here to listen and help. If you have a concern
review process(es); information about any office of health                 regarding a person, a service, the quality of care, contractual
insurance consumer assistance or ombudsman available to                    benefits, or a rescission of coverage, you may call the toll-
assist you with the appeal process; and in the case of a claim             free number on your ID card, explanation of benefits, or
involving urgent care, a description of the expedited review               claim form and explain your concern to one of our Customer
process applicable to such claim.                                          Service representatives. You may also express that concern
                                                                           in writing.
HC-FED104                                                     01-19
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
                                                                           concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
Appointment of Authorized Representative                                   results of a coverage decision, you may start the appeals
You may appoint an authorized representative to assist you in              procedure.
submitting a claim or appealing a claim denial. However,                   Internal Appeals Procedure
Cigna may require you to designate your authorized
                                                                           To initiate an appeal of an adverse benefit determination, you
representative in writing using a form approved by Cigna. At
                                                                           must submit a request for an appeal to Cigna within 180 days
all times, the appointment of an authorized representative is
                                                                           of receipt of a denial notice. If you appeal a reduction or
revocable by you. To ensure that a prior appointment remains
                                                                           termination in coverage for an ongoing course of treatment
valid, Cigna may require you to re-appoint your authorized
                                                                           that Cigna previously approved, you will receive, as required
representative, from time to time.
                                                                           by applicable law, continued coverage pending the outcome of
Cigna reserves the right to refuse to honor the appointment of             an appeal.
a representative if Cigna reasonably determines that:
                                                                           You should state the reason why you feel your appeal should
   the signature on an authorized representative form may not             be approved and include any information supporting your
    be yours, or                                                           appeal. If you are unable or choose not to write, you may ask
   the authorized representative may not have disclosed to you            Cigna to register your appeal by telephone. Call or write us at
    all of the relevant facts and circumstances relating to the            the toll-free number on your ID card, explanation of benefits,
    overpayment or underpayment of any claim, including, for               or claim form.
    example, that the billing practices of the provider of medical         Your appeal will be reviewed and the decision made by
    services may have jeopardized your coverage through the                someone not involved in the initial decision. Appeals
    waiver of the cost-sharing amounts that you are required to            involving Medical Necessity or clinical appropriateness will
    pay under your plan.                                                   be considered by a health care professional.
If your designation of an authorized representative is revoked,            We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a             concurrent care coverage determination or a postservice
form approved by Cigna.                                                    Medical Necessity determination. We will respond within 60
                                                                           calendar days after we receive an appeal for any other
                                                                           postservice coverage determination. If more time or
                                                                           information is needed to make the determination, we will


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notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
In the event any new or additional information (evidence) is            including, if applicable, the denial code and its meaning and a
considered, relied upon or generated by Cigna in connection             description of any standard that was used in the denial;
with the appeal, this information will be provided                      reference to the specific plan provisions on which the
automatically to you as soon as possible and sufficiently in            determination is based; a statement that the claimant is entitled
advance of the decision, so that you will have an opportunity           to receive, upon request and free of charge, reasonable access
to respond. Also, if any new or additional rationale is                 to and copies of all documents, records, and other Relevant
considered by Cigna, Cigna will provide the rationale to you            Information as defined below; a statement describing any
as soon as possible and sufficiently in advance of the decision         voluntary appeal procedures offered by the plan and the
so that you will have an opportunity to respond.                        claimant's right to bring an action under ERISA section
                                                                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
External Review Procedure                                               dispute resolution options such as Mediation. One way to find
                                                                        out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's
                                                                        Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are              Relevant Information
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
There is no charge for you to initiate an external review. Cigna        course of making the benefit determination, without regard to
and your benefit plan will abide by the decision of the IRO.            whether such document, record, or other information was
                                                                        relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator
                                                                        compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review
                                                                        required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected
                                                                        or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
                                                                        Legal Action
received emergency services, but you have not yet been
discharged from a facility, the external review shall be                If your plan is governed by ERISA, you have the right to bring
completed within 72 hours.                                              a civil action under section 502(a) of ERISA if you are not
                                                                        satisfied with the outcome of the Appeals Procedure. In most
Notice of Benefit Determination on Appeal                               instances, you may not initiate a legal action against Cigna
Every notice of a determination on appeal will be provided in           until you have completed the appeal processes. However, no
writing or electronically and, if an adverse determination, will        action will be brought at all unless brought within 3 years after
include: information sufficient to identify the claim including,        a claim is submitted for In-Network Services or within three


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years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
HC-FED110                                                        01-21
                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Although federal law does not extend COBRA continuation
                                                                              rights to domestic partners, this plan will extend these same
What is COBRA Continuation Coverage?                                          continuation benefits to domestic partners (and their children
Under federal law, you and/or your Dependents must be given                   if not legal children of the Employee) to the same extent they
the opportunity to continue health insurance when there is a                  are provided to spouses of the opposite sex and legal children
“qualifying event” that would result in loss of coverage under                of the Employee.
the Plan. You and/or your Dependents will be permitted to                     Secondary Qualifying Events
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying                      If, as a result of your termination of employment or reduction
event occurred, unless you move out of that plan’s coverage                   in work hours, your Dependent(s) have elected COBRA
area or the plan is no longer available. You and/or your                      continuation coverage and one or more Dependents experience
Dependents cannot change coverage options until the next                      another COBRA qualifying event, the affected Dependent(s)
open enrollment period.                                                       may elect to extend their COBRA continuation coverage for
                                                                              an additional 18 months (7 months if the secondary event
When is COBRA Continuation Available?                                         occurs within the disability extension period) for a maximum
For you and your Dependents, COBRA continuation is                            of 36 months from the initial qualifying event. The second
available for up to 18 months from the date of the following                  qualifying event must occur before the end of the initial 18
qualifying events if the event would result in a loss of                      months of COBRA continuation coverage or within the
coverage under the Plan:                                                      disability extension period discussed below. Under no
   your termination of employment for any reason, other than                 circumstances will COBRA continuation coverage be
    gross misconduct; or                                                      available for more than 36 months from the initial qualifying
                                                                              event. Secondary qualifying events are: your death; your
   your reduction in work hours.
                                                                              divorce or legal separation; or, for a Dependent child, failure
For your Dependents, COBRA continuation coverage is                           to continue to qualify as a Dependent under the Plan.
available for up to 36 months from the date of the following
                                                                              Disability Extension
qualifying events if the event would result in a loss of
coverage under the Plan:                                                      If, after electing COBRA continuation coverage due to your
                                                                              termination of employment or reduction in work hours, you or
   your death;
                                                                              one of your Dependents is determined by the Social Security
   your divorce or legal separation; or                                      Administration (SSA) to be totally disabled under Title II or
   for a Dependent child, failure to continue to qualify as a                XVI of the SSA, you and all of your Dependents who have
    Dependent under the Plan.                                                 elected COBRA continuation coverage may extend such
                                                                              continuation for an additional 11 months, for a maximum of
Who is Entitled to COBRA Continuation?
                                                                              29 months from the initial qualifying event.
Only a “qualified beneficiary” (as defined by federal law) may
                                                                              To qualify for the disability extension, all of the following
elect to continue health insurance coverage. A qualified
                                                                              requirements must be satisfied:
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:                    SSA must determine that the disability occurred prior to or
you, your spouse, and your Dependent children. Each                               within 60 days after the disabled individual elected COBRA
qualified beneficiary has their own right to elect or decline                     continuation coverage; and
COBRA continuation coverage even if you decline or are not                       A copy of the written SSA determination must be provided
eligible for COBRA continuation.                                                  to the Plan Administrator within 60 calendar days after the
The following individuals are not qualified beneficiaries for                     date the SSA determination is made AND before the end of
purposes of COBRA continuation: domestic partners,                                the initial 18-month continuation period.
grandchildren (unless adopted by you), stepchildren (unless


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If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than         Your Employer is required to provide you and/or your
30 days after the date the SSA makes a final determination              Dependents with the following notices:
that the disabled individual is no longer disabled.                        An initial notification of COBRA continuation rights must
All causes for “Termination of COBRA Continuation” listed                   be provided within 90 days after your (or your spouse’s)
below will also apply to the period of disability extension.                coverage under the Plan begins (or the Plan first becomes
                                                                            subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your                 A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your
                                                                             if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.
                                                                              and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
   the end of the COBRA continuation period of 18, 29 or 36                 if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
   failure to pay the required premium within 30 calendar days               Plan Administrator of a qualifying event starts upon the
    after the due date;                                                       occurrence of a qualifying event, 44 days after the
                                                                              qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;
                                                                             in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for
    which the new plan limits or excludes coverage under a pre-         The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will            who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable           inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                 include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an          coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;            election no later than the due date stated on the COBRA
                                                                        election notice. If a written election notice is required, it must
   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your          furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through             qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your             on behalf of their Dependent children. You or your spouse



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may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%                  Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or                Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active               The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                 continuation coverage. If the bankruptcy results in a loss of


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coverage for you, your Dependents or your surviving spouse              Plan Trustees
within one year before or after such proceeding, you and your           A list of any Trustees of the Plan, which includes name, title
covered Dependents will become COBRA qualified                          and address, is available upon request to the Plan
beneficiaries with respect to the bankruptcy. You will be               Administrator.
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will               Plan Type
be entitled to COBRA continuation coverage for up to 36                 The plan is a healthcare benefit plan.
months following your death. However, COBRA continuation                Collective Bargaining Agreements
coverage will cease upon the occurrence of any of the events
                                                                        You may contact the Plan Administrator to determine whether
listed under “Termination of COBRA Continuation” above.
                                                                        the Plan is maintained pursuant to one or more collective
Interaction With Other Continuation Benefits                            bargaining agreements and if a particular Employer is a
You may be eligible for other continuation benefits under state         sponsor. A copy is available for examination from the Plan
law. Refer to the Termination section for any other                     Administrator upon written request.
continuation benefits.                                                  Discretionary Authority
                                                                        The Plan Administrator delegates to Cigna the discretionary
HC-FED66                                                   07-14        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
                                                                        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
ERISA Required Information                                              persons desiring to enroll in or claim benefits under the plan,
The name of the Plan is:                                                the determination of whether a person is entitled to benefits
  Sunrun Group Health Plan                                              under the plan, and the computation of any and all benefit
                                                                        payments. The Plan Administrator also delegates to Cigna the
The name, address, ZIP code and business telephone number
                                                                        discretionary authority to perform a full and fair review, as
of the sponsor of the Plan is:
                                                                        required by ERISA, of each claim denial which has been
  Sunrun Inc.                                                           appealed by the claimant or his duly authorized representative.
  225 Bush, Suite 1400
                                                                        Plan Modification, Amendment and Termination
  San Francisco, CA 94104
  805-540-7643                                                          The Employer as Plan Sponsor reserves the right to, at any
                                                                        time, change or terminate benefits under the Plan, to change or
Employer Identification            Plan Number:
                                                                        terminate the eligibility of classes of employees to be covered
Number (EIN):
                                                                        by the Plan, to amend or eliminate any other plan term or
262841711                          501                                  condition, and to terminate the whole plan or any part of it.
The name, address, ZIP code and business telephone number               Contact the Employer for the procedure by which benefits
of the Plan Administrator is:                                           may be changed or terminated, by which the eligibility of
  Employer named above                                                  classes of employees may be changed or terminated, or by
                                                                        which part or all of the Plan may be terminated. No consent of
The name, address and ZIP code of the person designated as              any participant is required to terminate, modify, amend or
agent for service of legal process is:                                  change the Plan.
  Employer named above                                                  Termination of the Plan together with termination of the
The office designated to consider the appeal of denied claims           insurance policy(s) which funds the Plan benefits will have no
is:                                                                     adverse effect on any benefits to be paid under the policy(s)
  The Cigna Claim Office responsible for this Plan                      for any covered medical expenses incurred prior to the date
                                                                        that policy(s) terminates. Likewise, any extension of benefits
The cost of the Plan is shared by Employee and Employer.                under the policy(s) due to you or your Dependent's total
The Plan’s fiscal year ends on 12/31.                                   disability which began prior to and has continued beyond the
The preceding pages set forth the eligibility requirements and          date the policy(s) terminates will not be affected by the Plan
benefits provided for you under this Plan.                              termination. Rights to purchase limited amounts of life and
                                                                        medical insurance to replace part of the benefits lost because
                                                                        the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights
                                                                          not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income
                                                                          administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan
                                                                          or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office             thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union           order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance            federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy               the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the             asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the             Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security                The court will decide who should pay court costs and legal
  Administration.                                                         fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator
                                                                          If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.
                                                                          the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
 continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
  Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
  result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
  have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
  governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
  continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of neuromusculoskeletal conditions through
Health Service Act (42 USC 262(i)) (as amended by the                     manipulation and ancillary physiological treatment rendered to
Biologics Price Competition and Innovation Act of 2009, title             specific joints to restore motion, reduce pain and improve
VII of the Patient Protection and Affordable Care Act, Pub. L.            function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS55                                                    04-10
                                                                                                                                        V1

HC-DFS840                                                    10-16

                                                                          Convenience Care Clinics
Biosimilar                                                                Convenience Care Clinics are staffed by nurse practitioners
A Biologic that is highly similar to the reference Biologic               and physician assistants and offer customers convenient,
product notwithstanding minor differences in clinically                   professional walk-in care for common ailments and routine
inactive components, and has no clinically meaningful                     services. Convenience Care Clinics have extended hours and
differences from the reference Biologic in terms of its safety,           are located in or near easy-to-access, popular locations
purity, and potency, as defined under Section 351(i) of the               (pharmacies, grocery and free-standing locations) with or
Public Health Service Act (42 USC 262(i)) (as amended by                  without appointment.
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,              HC-DFS1629                                                  07-21




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                                                                            Benefits for a Dependent child will continue until the last day
Custodial Services                                                          of the calendar month in which the limiting age is reached.
Any services that are of a sheltering, protective, or                       Anyone who is eligible as an Employee will not be considered
safeguarding nature. Such services may include a stay in an                 as a Dependent spouse. A child under age 26 may be covered
institutional setting, at-home care, or nursing services to care            as either an Employee or as a Dependent child. You cannot be
for someone because of age or mental or physical condition.                 covered as an Employee while also covered as a Dependent of
This service primarily helps the person in daily living.                    an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS872                                                       10-16
for himself or herself. Custodial Services include but are not
limited to:
   Services related to watching or protecting a person;                    Domestic Partner
   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                     shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                               has resided with you for no less than one year;
    can be self administered, and
                                                                               is no less than 18 years of age;
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                          is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
   any child of yours who is
                                                                               is not a blood relative any closer than would prohibit legal
     less than 26 years old.
                                                                                marriage; and
     26 or more years old, unmarried, and primarily supported
                                                                               has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after                has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition                  is currently legally married to another person; or
      and dependence.                                                          has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
See your Employer for continuation benefits that apply to your           providing claim administration services.
Domestic Partner and that Domestic Partner’s child.
                                                                         HC-DFS1615                                                      01-22
HC-DFS47                                                    04-10
                                                              V1
                                                                         Essential Health Benefits
                                                                         Essential health benefits means, to the extent covered under
Emergency Medical Condition                                              the plan, expenses incurred with respect to covered services, in
Emergency medical condition means a medical condition                    at least the following categories: ambulatory patient services,
which manifests itself by acute symptoms of sufficient                   emergency services, hospitalization, maternity and newborn
severity (including severe pain) such that a prudent layperson,          care, mental health and substance use disorder services,
who possesses an average knowledge of health and medicine,               including behavioral health treatment, prescription drugs,
could reasonably expect the absence of immediate medical                 rehabilitative and habilitative services and devices, laboratory
attention to result in placing the health of the individual (or,         services, preventive and wellness services and chronic disease
with respect to a pregnant woman, the health of the woman or             management and pediatric services, including oral and vision
her unborn child) in serious jeopardy; serious impairment to             care.
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         HC-DFS411                                                       01-11


HC-DFS394                                                   11-10
                                                                         Expense Incurred
                                                                         An expense is incurred when the service or the supply for
Emergency Services                                                       which it is incurred is provided.
Emergency services means, with respect to an emergency
medical condition, a medical screening examination that is
                                                                         HC-DFS10                                                        04-10
within the capability of the emergency department of a
                                                                                                                                           V1
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate the emergency medical                   Free-Standing Surgical Facility
condition; and such further medical examination and
                                                                         The term Free-Standing Surgical Facility means an institution
treatment, to the extent they are within the capabilities of the
                                                                         which meets all of the following requirements:
staff and facilities available at the Hospital, to stabilize the
patient.                                                                    it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
                                                                            it maintains at least two operating rooms and one recovery
HC-DFS1482                                                  01-21
                                                                             room;
                                                                            it maintains diagnostic laboratory and x-ray facilities;
Employee
                                                                            it has equipment for emergency care;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                  it has a blood supply;
not include Employees who are part-time or temporary or who                 it maintains medical records;
normally work less than 30 hours a week for the Employer.                   it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
HC-DFS1094                                                  12-17
                                                                            it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                                an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                                an institution which qualifies as a hospital, a psychiatric
   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient                 an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                  V1
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                  Hospital Confinement or Confined in a Hospital
or any other licensed facility or agency under a Hospice Care                A person will be considered Confined in a Hospital if he is:
Program.
                                                                                a registered bed patient in a Hospital upon the
                                                                                 recommendation of a Physician;
HC-DFS52                                                        04-10           receiving treatment for Mental Health and Substance Use
                                                                  V1             Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.
Hospice Facility
The term Hospice Facility means an institution or part of it                 HC-DFS807                                                        12-15
which:
   primarily provides care for Terminally Ill patients;                     Injury
   is accredited by the National Hospice Organization;                      The term Injury means an accidental bodily injury.
   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in          HC-DFS12                                                         04-10
    which it operates.                                                                                                                          V1



HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                      Medicaid
The term Maintenance Treatment means:                                      The term Medicaid means a state program of medical aid for
   treatment rendered to keep or maintain the patient's current           needy persons established under Title XIX of the Social
    status.                                                                Security Act of 1965 as amended.


                                                                           HC-DFS16                                                          04-10
HC-DFS56                                                      04-10
                                                                                                                                               V1
                                                                V1



Maximum Reimbursable Charge - Medical                                      Medical Pharmaceutical
The Maximum Reimbursable Charge for covered services for                   An FDA-approved prescription pharmaceutical product,
Open Access Plus is determined based on the lesser of:                     including a Specialty Prescription Drug Product, typically
                                                                           required to be administered in connection with a covered
   the provider’s normal charge for a similar service or supply;          service by a Physician or Other Health Professional within the
   the amount agreed to by the Out-of-Network provider and                scope of the provider's license. This definition includes certain
    Cigna; or                                                              pharmaceutical products whose administration may initially or
   a policyholder-selected percentage of a fee schedule Cigna             typically require Physician or Other Health Professional
    has developed that is based upon a methodology similar to a            oversight but may be self-administered under certain
    methodology utilized by Medicare to determine the                      conditions specified in the product’s FDA labeling.
    allowable reimbursement for the same or similar service
    within the geographic market.                                          HC-DFS1632                                                        01-22
The percentage used to determine the Maximum Reimbursable
Charge is listed in The Schedule.
                                                                           Medically Necessary/Medical Necessity
In some cases, a Medicare based schedule will not be used and
the Maximum Reimbursable Charge for covered services is                    Health care services, supplies and medications provided for
determined based on the lesser of:                                         the purpose of preventing, evaluating, diagnosing or treating a
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
   the provider’s normal charge for a similar service or supply;          all of the following as determined by a Medical Director or
   the amount agreed to by the Out-of-Network provider and                Review Organization:
    Cigna; or                                                                 required to diagnose or treat an illness, Injury, disease or its
   the 80th percentile of charges made by providers of such                   symptoms;
    service or supply in the geographic area where it is received             in accordance with generally accepted standards of medical
    as compiled in a database selected by Cigna. If sufficient                 practice;
    charge data is unavailable in the database for that
    geographic area to determine the Maximum Reimbursable                     clinically appropriate in terms of type, frequency, extent,
    Charge, then data in the database for similar services may                 site and duration;
    be used.                                                                  not primarily for the convenience of the patient, Physician
The Maximum Reimbursable Charge is subject to all other                        or Other Health Professional;
benefit limitations and applicable coding and payment                         not more costly than an alternative service(s), medication(s)
methodologies determined by Cigna. Additional information                      or supply(ies) that is at least as likely to produce equivalent
about how Cigna determines the Maximum Reimbursable                            therapeutic or diagnostic results with the same safety profile
Charge is available upon request.                                              as to the prevention, evaluation, diagnosis or treatment of
                                                                               your Sickness, Injury, condition, disease or its symptoms;
                                                                               and
HC-DFS1631                                                    01-22
                                                                              rendered in the least intensive setting that is appropriate for
                                                                               the delivery of the services, supplies or medications. Where
                                                                               applicable, the Medical Director or Review Organization
                                                                               may compare the cost-effectiveness of alternative services,
                                                                               supplies, medications or settings when determining least
                                                                               intensive setting.




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In determining whether health care services, supplies, or                   Nurse
medications are Medically Necessary, the Medical Director or                The term Nurse means a Registered Graduate Nurse, a
Review Organization may rely on the clinical coverage                       Licensed Practical Nurse or a Licensed Vocational Nurse who
policies maintained by Cigna or the Review Organization.                    has the right to use the abbreviation "R.N.," "L.P.N." or
Clinical coverage policies may incorporate, without limitation              "L.V.N."
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical
reference compendia and peer-reviewed, evidence-based                       HC-DFS22                                                      04-10

scientific literature or guidelines.                                                                                                        V1




HC-DFS1486                                                     01-21        Other Health Care Facility
                                                                            The term Other Health Care Facility means a facility other
                                                                            than a Hospital or Hospice Facility. Examples of Other Health
Medicare
                                                                            Care Facilities include, but are not limited to, licensed skilled
The term Medicare means the program of medical care                         nursing facilities, rehabilitation Hospitals and subacute
benefits provided under Title XVIII of the Social Security Act              facilities.
of 1965 as amended.

                                                                            HC-DFS1489                                                    01-21
HC-DFS17                                                       04-10
                                                                 V1
                                                                            Other Health Professional
Necessary Services and Supplies                                             The term Other Health Professional means an individual other
                                                                            than a Physician who is licensed or otherwise authorized under
The term Necessary Services and Supplies includes any                       the applicable state law to deliver medical services and
charges, except charges for Room and Board, made by a                       supplies. Other Health Professionals include, but are not
Hospital for medical services and supplies actually used                    limited to physical therapists, registered nurses and licensed
during Hospital Confinement.                                                practical nurses. Other Health Professionals do not include
The term Necessary Services and Supplies will not include                   providers such as Certified First Assistants, Certified
any charges for special nursing fees, dental fees or medical                Operating Room Technicians, Certified Surgical
fees.                                                                       Assistants/Technicians, Licensed Certified Surgical
                                                                            Assistants/Technicians, Licensed Surgical Assistants,
                                                                            Orthopedic Physician Assistants and Surgical First Assistants.
HC-DFS1488                                                     01-21


                                                                            HC-DFS1490                                                    01-21
New Prescription Drug Product
A Prescription Drug Product, or new use or dosage form of a
previously FDA-approved Prescription Drug Product, for the                  Participating Provider
period of time starting on the date the Prescription Drug                   The term Participating Provider means a person or entity that
Product or newly-approved use or dosage form becomes                        has a direct or indirect contractual arrangement with Cigna to
available on the market following approval by the U.S. Food                 provide covered services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date Cigna                  which are Covered Expenses. It includes an entity that has
makes a Prescription Drug List coverage status decision.                    directly or indirectly contracted with Cigna to arrange, through
                                                                            contracts with providers of services and/or supplies, for the
                                                                            provision of any services and/or supplies, the Charges for
HC-DFS1498                                                     07-20
                                                                            which are Covered Expenses.


                                                                            HC-DFS1194                                                    01-19




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Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 means the             A drug, Biologic (including a Biosimilar), or other product
Patient Protection and Affordable Care Act of 2010 (Public               that has been approved by the U.S. Food and Drug
Law 111-148) as amended by the Health Care and Education                 Administration (FDA), certain products approved under the
Reconciliation Act of 2010 (Public Law 111-152).                         Drug Efficacy Study Implementation review, or products
                                                                         marketed prior to 1938 and not subject to review and that can,
HC-DFS412                                                   01-11
                                                                         under federal or state law, be dispensed only pursuant to a
                                                                         Prescription Order or Refill. For the purpose of benefits under
                                                                         the plan, this definition may also include products in the
Pharmacy & Therapeutics (P&T) Committee                                  following categories if specifically identified in the
A committee comprised of physicians and an independent                   Prescription Drug List:
pharmacist that represent a range of clinical specialties. The              Certain durable products and supplies that support drug
committee regularly reviews Medical Pharmaceuticals for                      therapy;
safety and efficacy, the findings of which clinical reviews
                                                                            Certain diagnostic testing and screening services that
inform coverage determinations made by the Business
                                                                             support drug therapy;
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug                 Certain medication consultation and other medication
Administration-approved labeling, standard medical reference                 administration services that support drug therapy; and
compendia, or scientific studies published in peer-reviewed                 Certain digital products, applications, electronic devices,
English-language bio-medical journals.                                       software and cloud based service solutions used to predict,
                                                                             detect and monitor health conditions in support of drug
                                                                             therapy.
HC-DFS1495                                                  07-20



                                                                         HC-DFS1633                                                    01-22
Physician
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 Prescription Order or Refill
licensed to prescribe and administer drugs or to perform                 The lawful directive to dispense a Prescription Drug Product
surgery. It will also include any other licensed medical                 issued by a Physician whose scope of practice permits issuing
practitioner whose services are required to be covered by law            such a directive.
in the locality where the policy is issued if he is:
   operating within the scope of his license; and                       HC-DFS856                                                     10-16
   performing a service for which benefits are provided under
    this plan when performed by a Physician.
                                                                         Preventive Treatment
                                                                         The term Preventive Treatment means treatment rendered to
HC-DFS25                                                    04-10
                                                                         prevent disease or its recurrence.
                                                              V1


                                                                         HC-DFS57                                                      04-10
Prescription Drug List                                                                                                                     V1
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug
benefits that have been approved by the U.S. Food and Drug
Administration (FDA). This list is adopted by your Employer
as part of the plan. The list is subject to periodic review and
change, and is subject to the limitations and exclusions of the
plan.


HC-DFS1496                                                  07-20




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Medical Pharmaceutical considered by Cigna to be a
                                                                          Specialty Prescription Drug Product based on consideration of
HC-DFS808                                                    12-15        the following factors, subject to applicable law: whether the
                                                                          Medical Pharmaceutical is prescribed and used for the
                                                                          treatment of a complex, chronic or rare condition; whether the
Room and Board                                                            Medical Pharmaceutical has a high acquisition cost; and,
The term Room and Board includes all charges made by a                    whether the Medical Pharmaceutical is subject to limited or
Hospital for room and meals and for all general services and              restricted distribution, requires special handling and/or
activities needed for the care of registered bed patients.                requires enhanced patient education, provider coordination or
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
HC-DFS1481                                                   01-21
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Medical Pharmaceutical will be considered a Specialty
                                                                          Prescription Drug Product. Specialty Prescription Drug
                                                                          Products may vary by plan benefit assignment based on


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factors such as method or site of clinical administration, or              but which are determined by Cigna, in accordance with
utilization management requirements based on factors such as               generally accepted medical standards, to have been necessary
acquisition cost. You may determine whether a medication is a              to treat a condition requiring prompt medical attention. This
Specialty Prescription Drug Product through the website                    does not include care that could have been foreseen before
shown on your ID card or by calling member services at the                 leaving the immediate area where you ordinarily receive
telephone number on your ID card.                                          and/or were scheduled to receive services. Such care includes,
                                                                           but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
HC-DFS858                                                   10-16
                                                                           that the insured should not travel due to any medical
                                                                           condition.
Stabilize
Stabilize means, with respect to an emergency medical                      HC-DFS34                                                     04-10
condition, to provide such medical treatment of the condition                                                                             V1
as may be necessary to assure, within reasonable medical
probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the
individual from a facility.


HC-DFS413                                                   01-11



Terminal Illness
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.


HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,


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                      ArborWorks, LLC

                      OAP Buy Up Plan
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Mental Health Parity and Addiction Equity Act of 2008 (MHPAEA) -
Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NTQLs) include (to the extent applicable under the plan):
  medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  prescription drug formulary design;
  network admission standards;
  methods for determining In-Network and Non-Network provider reimbursement rates;
  step therapy, a.k.a. fail-first requirements; and
  exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons:
Employers (Plan Administrators): Please contact your Cigna Sales Representative to request the NQTL
comparative analysis.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) which can be located in this booklet immediately following
The Schedule; and pharmacy coverage (whether or not your plan includes pharmacy coverage).




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.
If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:

Cigna
Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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INTRODUCTION___
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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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             - Continued




Federal CAA - Consolidated Appropriations Act and TIC - Transparency in Coverage Notice
Cigna will make available an internet-based self-service tool for use by individual customers, as well as certain
data in machine-readable file format on a public website, as required under the Transparency in Coverage rule.
Customers can access the cost estimator tool on myCigna.com. Updated machine-readable files can be found on
Cigna.com and/or CignaForEmployers.com on a monthly basis.
Pursuant to Consolidated Appropriations Act (CAA), Section 106, Cigna will submit certain air ambulance
claim information to the Department of Health and Human Services (HHS) in accordance with guidance issued
by HHS.
Subject to change based on government guidance for CAA Section 204, Cigna will submit certain prescription
drug and health care spending information to HHS through Plan Lists Files (P1-P3) and Data Files (D1-D8)
(D1-D2) for an Employer without an integrated pharmacy product aggregated at the market segment and state
level, as outlined in guidance.



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Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.

Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.

Notice Regarding Provider Directories and Provider Networks

A list of network providers and network pharmacies is available, without charge, by visiting the website or
calling the phone number on your health care ID card. The network(s) consist of providers, including hospitals,
of varied specialties as well as general practice, and pharmacies, affiliated or contracted with Cigna or an
organization contracting on its behalf.

Direct Access to Obstetricians and Gynecologists

You do not need prior authorization from the Plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in the network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit the website or contact customer service at the phone number shown
on your ID card.

Selection of a Primary Care Provider




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             - Continued
This Plan allows the designation of a primary care provider. You have the right to designate any primary care
provider who participates in the network and who is available to accept you or your family members. For
information on how to select a primary care provider, and for a list of network primary care providers, visit the
website or contact Member Services at the phone number listed on your ID card. A pediatrician may be
designated as a child's primary care provider.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services

The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.

Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, but some or all of the rebate
value that Cigna earns for certain Prescription Drug Products may, for example, be reflected in the discount,
such as the Prescription Drug Charge, used to assess your deductible, copay or coinsurance payment, if any, for
certain Prescription Drug Products for which Cigna earns a rebate.
Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.

Coupons, Incentives and Other Communications




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At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.
■   About This Plan
ArborWorks, LLC (the Employer) has established an Employee Welfare Benefit Plan within the meaning of the
Employee Retirement Income Security Act of 1974 (ERISA). As of May 1, 2023, the medical and drug benefits
described in this booklet form a part of the Employee Welfare Benefit Plan and are referred to collectively in
this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained pursuant to the medical and
drug benefit terms described in this booklet. The Plan may be amended from time to time.

This booklet takes the place of any other issued to you on a prior date.
Defined terms are capitalized and have specific meaning with respect to medical and drug benefits, see
GLOSSARY.
The medical and drug benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.

Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission

A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:


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 the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
 performs an act, practice or omission that constitutes fraud; or
 the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
 an intentional misrepresentation of material fact.




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.

When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.

When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.

Multiple Surgical Reduction
Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges

Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)

Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.

Out-of-Network Emergency Services Charges
Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-
Participating (Out-of-Network) provider.
The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in
an Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed
to by the Out-of-Network provider and Cigna, or as required by applicable state or Federal law.

The allowable amount used to determine the Plan's benefit payment when Out-of-Network Emergency Services
result in an inpatient admission is the median amount negotiated with In-Network facilities.

The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Charges for Certain Services

Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving
In-Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network
provider and Cigna, or as required by applicable state or Federal law.



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Plan Deductible
The Plan Deductible is the amount of covered medical expenses that must be incurred (paid) by you and/or your
Dependents each calendar year before benefits are payable under this Plan. Expenses paid by you and/or your
dependents for covered network services will apply to the network deductible, but will not apply to the non-
network deductible. Expenses paid by you and/or your Dependents for covered non-network services and
covered services outside the network area will apply to the non-network deductible, but will not apply to the
network deductible.

Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.

Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a non-
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.

The Plan Deductible applies to all covered expenses except:
 - expenses that are subject to the Outpatient Facility Services Per Admission Deductible
- expenses subject to a copay, other than Emergency Room
- expenses for Network Urgent Care Facility (includes all services rendered as part of the visit)
- expenses for contraceptives from a Network or outside the Network area provider
- expenses for mental health Network outpatient office visits
- expenses for mental health Network outpatient services other than office visits
- expenses for substance use disorder Network outpatient office visits
- expenses for substance use disorder Network outpatient services other than office visits
- expenses for Dedicated Virtual Providers MDLive Behavioral Services
- expenses for Network provider office visits (office services are separate from the office visit)
  Note: This refers to office visits other than for, if covered under the Plan, mental health and substance use
   disorders.
- expenses for Network Virtual provider office visits
- expenses for surgery performed in a Network provider's office
- expenses for lab tests performed in a Network provider's office
- expenses for x-rays, other than advanced radiology, performed in a Network provider's office
- expenses for other office services (diagnostic services, allergy injections) performed in a Network Doctor's
  office




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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  Note: See “Office Visits and Services” in Covered Expenses for information about what is considered to be
   other office services
- expenses for lab tests performed in a Network independent facility
- expenses for lab tests performed in a Network outpatient facility
- expenses for x-rays, other than advanced radiology, performed in a Network outpatient facility
- expenses for Network Advanced Cellular Therapy Travel
- expenses for MDLIVE Urgent Care Services
- expenses for MDLIVE Primary Care Services
- expenses for MDLIVE Specialty Care Services
- expenses for Convenience Care Clinic

Individual Calendar Year Deductible
- Network                                                                                               $500.00
- Non-network and outside the Network Area                                                            $2,000.00
Family Calendar Year Deductible
- Network                                                                                             $1,500.00
- Non-network and outside the Network Area                                                            $4,000.00


Outpatient Facility Services Per Admission Deductible
This Per Admission Deductible applies to covered facility charges for each outpatient facility admission for
outpatient surgery. Facility charges include: operating room, recovery room, procedures room, treatment room,
and observation room. This Per Admission Deductible must be incurred (paid) by you and/or your Dependents
before the Plan begins paying benefits for an outpatient facility admission for outpatient surgery. This Per
Admission Deductible is separate from the Plan Deductible, and continues to apply after the Plan Deductible is
satisfied.

This Per Admission Deductible does not apply to outpatient ancillary facility charges or outpatient professional
services.

This Per Admission Deductible does not apply to non-surgical outpatient procedures.
Per Admission
- Network                                                                                               $200.00
- Non-network and outside the Network Area                                                                 None

Medical Management Program
Ineligible Expense Penalty per claim                                                                    $750.00


Out-of-Pocket Maximum




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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Plan Deductible, Outpatient Facility Services Per Admission Deductible, medical expense copays and
coinsurance amounts paid by you and your covered Dependents for network services accumulate to the Network
Out-of-Pocket Maximum.

Prescription drug deductible, coinsurance and copay amounts paid by you and your covered Dependents
accumulate to the Network Out-of-Pocket Maximum.

Plan Deductible, Outpatient Facility Services Per Admission Deductible, medical expense copays and
coinsurance amounts paid by you and your covered Dependents for non-network services and services outside
the network area accumulate to the Non-network and Services outside the Network Area Out-of-Pocket
Maximum.
The following expenses do not accumulate to the Out-of-Pocket Maximums:
- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Calendar Year Out-of-Pocket Maximum for Network must be met before covered expenses for
network services will be payable at 100% for the remainder of that calendar year.

The Individual Calendar Year Out-of-Pocket Maximum for Non-Network and Services outside the Network
Area must be met before covered expenses for non-network and services outside the network Area will be
payable at 100% for the remainder of that calendar year.
If the Family Calendar Year Out-of-Pocket Maximum for Network is met, then covered expenses for network
services for all covered family Members, even those who have not yet met the Individual Calendar Year Out-of-
Pocket Maximum for Network, will be payable at 100% for the remainder of that calendar year.

If the Family Calendar Year Out-of-Pocket Maximum for Non-Network and services outside the Network Area
is met, then covered expenses for non-network and services outside the network Area for all covered family
Members, even those who have not yet met the Individual Calendar Year Out-of-Pocket Maximum for Non-
Network and services outside the Network Area, will be payable at 100% for the remainder of that calendar
year.

Expenses paid by you and/or your dependents for covered network services will apply to the Network Out-of-
Pocket Maximum, but will not apply to the Non-Network Out-of-Pocket Maximum. Expenses paid by you
and/or your dependents for covered non-network services and covered services outside the network area will
apply to the Non-Network Out-of-Pocket Maximum, but will not apply to the Network Out-of-Pocket
Maximum.

Plan Deductible and Outpatient Facility Services Per Admission Deductible do not apply after the Out-of-Pocket
Maximum has been met.

Medical expense copays do not apply after the Out-of-Pocket Maximum has been met.
Individual Calendar Year Out-of-Pocket Maximum
- Network                                                                                          $7,700.00
- Non-Network and Services outside the Network Area                                               $15,400.00



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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Family Calendar Year Out-of-Pocket Maximum
- Network                                                                                         $15,400.00
- Non-Network and Services outside the Network Area                                               $30,800.00

Benefit Maximum(s)

The benefit maximum(s) shown here are per person (Member), per calendar year, unless otherwise noted.
- Home Health Care Services                                                                       100 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                           100 days
- Outpatient Therapy Services - Chiropractic Care Services                                           25 visits
- Acupuncture Treatment                                                                              20 visits
- Gene Therapy - Approved Travel Expenses to and from a network facility            $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                         gene therapy
                                                                                    $10,000.00 per episode of
- Advanced Cellular Therapy Travel
                                                                                    advanced cellular therapy
 (Available only for travel when prior authorized to receive advanced cellular
 therapy from a provider located more than 60 miles of your primary residence
 and is contracted with Cigna for the specific advanced cellular therapy product
 and related services.)

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.
- Transplant and Related Specialty Care Services - Approved Travel Expenses                       $10,000.00
Lifetime Maximum Benefit for all Covered Expenses                                                   Unlimited


Copays for Covered Expenses
Copays are amounts to be paid by you and/or your Dependents (the Member) for Covered Expenses.
 - Mental Health - Network Outpatient Office Visits (such as individual and group
                                                                                      $60.00
   psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                $60.00
 - Substance Use Disorders - Network Outpatient Office Visits (such as individual and
                                                                                         $60.00
   group psychotherapy, medication management, virtual care )
 - Dedicated Virtual Providers MDLIVE Behavioral Services                                $60.00
 - Network Outpatient Therapy Services - Chiropractic Care Services                      $60.00
 - Network Acupuncture Treatment                                                         $60.00
 - Network Outpatient Therapy Services - Physical Therapy                                $60.00
 - Network Outpatient Therapy Services - Speech, Hearing and Occupational Therapy        $60.00


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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 - Network Convenience Care Clinic                                                            $30.00
 - Virtual Care - Dedicated Virtual Providers
  Dedicated virtual care services may be provided by MDLIVE, a Cigna affiliate.
  Services available through contracted virtual providers as medically appropriate.
  MDLIVE Urgent Care Services                                                                 $30.00
  MDLIVE Primary Care Services                                                                $30.00
  MDLIVE Specialty Care Services                                                              $60.00
 - Virtual Care - Virtual Physician Services - Services available through Physicians as
   medically appropriate.
  Primary Care Physicians Virtual Office Visit                                                $30.00
  Specialty Care Physicians Virtual Office Visit                                              $60.00
  Note: Physicians may deliver services virtually that are payable under other benefits
   (e.g., Preventive Care, Outpatient Therapy Services).
                                                                                              $60.00 per day and
 - Network Urgent Care Facility (includes all services rendered as part of the visit)
                                                                                              per provider
 - Emergency Room (includes all services rendered as part of the visit, and this copay is
                                                                                              $250.00
   waived if the visit is immediately followed by an inpatient admission)
 - Other Network Office Visits - Primary Care                                                 $30.00
 - Other Network Office Visits - Specialist Care                                              $60.00

The Other Network Office Visits copay does not apply to office visits for contraceptives, preventive care, and
non-network urgent care facility visits.

Coinsurance for all Covered Expenses
“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.



                                                                        NETWORK              NON-NETWORK
                                                                                             50% of the
                                                                                             Maximum
Mental Health - Inpatient                                              80%
                                                                                             Reimbursable
                                                                                             Charge
Mental Health - Outpatient
                                                                                             50% of the
 - Office Visits (such as individual, family and group psychotherapy,                        Maximum
                                                                      100%
   medication management, virtual care)                                                      Reimbursable
                                                                                             Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services              100%                  Not Covered


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                          NETWORK          NON-NETWORK
                                                                                           50% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
                                                                                           50% of the
                                                                                           Maximum
Substance Use Disorders - Inpatient                                      80%
                                                                                           Reimbursable
                                                                                           Charge
Substance Use Disorders - Outpatient
                                                                                           50% of the
 - Office Visits (such as individual, family and group psychotherapy,                      Maximum
                                                                      100%
   medication management, virtual care)                                                    Reimbursable
                                                                                           Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services                100%              Not Covered
                                                                                           50% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
Preventive Care
                                                                                           50% of the
                                                                                           Maximum
 - Preventive Care Office Visits                                         100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           50% of the
                                                                                           Maximum
 - Preventive Care Services other than lab tests and x-rays              100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           50% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in a provider's office                                               Reimbursable
                                                                                           Charge
                                                                                           50% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in an independent or outpatient facility                             Reimbursable
                                                                                           Charge
Office Visits and Office Services
 - Office Visits
                                                                                           50% of the
                                                                                           Maximum
  * Primary Care                                                         100%
                                                                                           Reimbursable
                                                                                           Charge


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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                     NETWORK          NON-NETWORK
                                                                                      50% of the
                                                                                      Maximum
 * Specialist Care                                                  100%
                                                                                      Reimbursable
                                                                                      Charge
- Lab Tests performed in the provider's office
                                                                                      50% of the
                                                                                      Maximum
 * Primary Care                                                     100%
                                                                                      Reimbursable
                                                                                      Charge
                                                                                      50% of the
                                                                                      Maximum
 * Specialist Care                                                  100%
                                                                                      Reimbursable
                                                                                      Charge
- X-rays performed in the provider's office
                                                                                      50% of the
                                                                                      Maximum
 * Primary Care                                                     100%
                                                                                      Reimbursable
                                                                                      Charge
                                                                                      50% of the
                                                                                      Maximum
 * Specialist Care                                                  100%
                                                                                      Reimbursable
                                                                                      Charge
- Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
  nuclear medicine) performed in the provider's office
                                                                                      50% of the
                                                                                      Maximum
 * Primary Care                                                     80%
                                                                                      Reimbursable
                                                                                      Charge
                                                                                      50% of the
                                                                                      Maximum
 * Specialist Care                                                  80%
                                                                                      Reimbursable
                                                                                      Charge
- Office Surgery
                                                                                      50% of the
                                                                                      Maximum
 * Primary Care                                                     100%
                                                                                      Reimbursable
                                                                                      Charge
                                                                                      50% of the
                                                                                      Maximum
 * Specialist Care                                                  100%
                                                                                      Reimbursable
                                                                                      Charge



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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                       NETWORK           NON-NETWORK
 - Other Office Services (such as diagnostic services, allergy
   injections)
                                                                                        50% of the
                                                                                        Maximum
  * Primary Care                                                      100%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
                                                                                        Maximum
  * Specialist Care                                                   100%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
                                                                                        Maximum
Convenience Care Clinic                                               100%
                                                                                        Reimbursable
                                                                                        Charge
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
                                                                                        50% of the
                                                                                        Maximum
 - Outpatient Facility                                                80%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
                                                                                        Maximum
 - Outpatient Ancillary Facility Charges                              80%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
                                                                                        Maximum
 - Outpatient Professional Services - Surgeon                         80%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
 - Outpatient Professional Services - Other (including but not limited
                                                                                        Maximum
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      80%
                                                                                        Reimbursable
   Based Doctors)
                                                                                        Charge
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:
                                                                                        50% of the
                                                                                        Maximum
 - Independent Facility                                               100%
                                                                                        Reimbursable
                                                                                        Charge
                                                                                        50% of the
                                                                                        Maximum
 - Outpatient Facility                                                100%
                                                                                        Reimbursable
                                                                                        Charge

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                        NETWORK           NON-NETWORK
                                                                                          50% of the
Outpatient X-rays ordered as part of an Office Visit or outpatient                        Maximum
                                                                       100%
care and performed in an outpatient facility                                              Reimbursable
                                                                                          Charge
                                                                                          50% of the
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
                                                                                          Maximum
Scan and nuclear medicine) ordered as part of an Office Visit or       80%
                                                                                          Reimbursable
outpatient care and performed in an outpatient facility
                                                                                          Charge
Outpatient Dialysis Treatment                                          Based on place and Not Covered
                                                                       type of service
Inpatient Hospital
                                                                                          50% of the
                                                                                          Maximum
 - Inpatient Facility                                                  80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          50% of the
                                                                                          Maximum
 - Inpatient Ancillary Facility Charges                                80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          50% of the
                                                                                          Maximum
 - Inpatient Professional Services - Surgeon                           80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          50% of the
 - Inpatient Professional Services - Radiologist, Pathologist,                            Maximum
                                                                       80%
   Anesthesiologist, other Hospital-Based Doctors                                         Reimbursable
                                                                                          Charge
                                                                                          50% of the
                                                                                          Maximum
 - Inpatient Professional Services - Doctor Visits/Consultations       80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          50% of the
Urgent Care Facility (includes all services rendered as part of the                       Maximum
                                                                       100%
visit)                                                                                    Reimbursable
                                                                                          Charge
Emergency Room (includes all services rendered as part of the
                                                                       80%                80%
visit)
Air Ambulance                                                          80%                80%
                                                                                          80% of the
                                                                                          Maximum
Ambulance Services                                                     80%
                                                                                          Reimbursable
                                                                                          Charge

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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
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                                                                       NETWORK            NON-NETWORK
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                 Same as Inpatient   Same as Inpatient
                                                                      Hospital benefit    Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                         80%                 Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                     Not Covered         Not Covered
 - Other Medical Pharmaceuticals                                      80%                 Not Covered
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                      Same as Medical
- Gene therapy product                                                                    Not Covered
                                                                      Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide     Based on place and
                                                                                         Not Covered
 the specific gene therapy                                            type of service
 * Other Network facilities                                           Not Covered         Not Covered
 * Non-network facilities                                             Not Covered         Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene       100%                Not Covered
therapy
Advanced Cellular Therapy
 Includes prior authorized advanced cellular therapy products and
 related services when Medically Necessary.
                                                                      Same as Medical
- Advanced Cellular Therapy Product                                                       Not Covered
                                                                      Pharmaceuticals
- Inpatient Facility                                                  80%                 Not Covered
- Outpatient Facility                                                 80%                 Not Covered
- Inpatient Professional Services
 * Surgeon                                                            80%                 Not Covered
 * Radiologist, Pathologist, Anesthesiologist                         80%                 Not Covered
- Outpatient Professional Services
 * Surgeon                                                            80%                 Not Covered
 * Radiologist, Pathologist, Anesthesiologist                         80%                 Not Covered
- Advanced Cellular Therapy Travel                                    100%                Not Covered




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                      NETWORK            NON-NETWORK
                                                                                         50% of the
                                                                                         Maximum
Home Health Care Services                                            80%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         50% of the
                                                                                         Maximum
Skilled Nursing Facility                                             80%
                                                                                         Reimbursable
                                                                                         Charge
Hospice Care
 - Inpatient Hospice                                                 Same as Inpatient   Same as Inpatient
                                                                     Hospital            Hospital
 - Outpatient Hospice                                                Same as Home        Same as Home
                                                                     Health Care         Health Care
Contraceptives                                                       100%                Based on place and
                                                                                         type of service
Family Planning                                                      Based on place and Based on place and
                                                                     type of service     type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%                Based on place and
(excluding reversals)                                                                    type of service
                                                                                         50% of the
Breast-Feeding Equipment (rental of one breast pump per
                                                                                         Maximum
pregnancy up to the purchase price, and related supplies, when the   100%
                                                                                         Reimbursable
pump is ordered or prescribed by a Doctor)
                                                                                         Charge
                                                                                         50% of the
                                                                                         Maximum
Durable Medical Equipment                                            80%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         50% of the
                                                                                         Maximum
Acupuncture Treatment                                                100%
                                                                                         Reimbursable
                                                                                         Charge
Outpatient Therapy Services - includes cognitive therapy,
osteopathic manipulation, pulmonary rehabilitation, cardiac
rehabilitation, and:
                                                                                         50% of the
                                                                                         Maximum
- Physical Therapy                                                   100%
                                                                                         Reimbursable
                                                                                         Charge




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK            NON-NETWORK
                                                                                           50% of the
                                                                                           Maximum
- Speech, Hearing and Occupational Therapy                              100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           50% of the
                                                                                           Maximum
- Chiropractic Care Services                                            100%
                                                                                           Reimbursable
                                                                                           Charge
Transplant and Related Specialty Care Services
 - Approved Travel Expenses to and from certain designated
                                                                        100%               Not Covered
   Network facilities
 - Transplant Services
  * Designated Network facilities                                       80%                Not Covered
  * Other Network facilities                                            Not Covered        Not Covered
  * Non-network facilities                                              Not Covered        Not Covered
Dedicated Virtual Providers
Dedicated virtual care services may be provided by MDLIVE, a
Cigna affiliate.
Services available through contracted virtual providers as medically
appropriate.
  Notes:
  - Primary Care cost share applies to routine care. Virtual wellness
    screenings are payable under preventive care.
  - MDLIVE Behavioral Services, please refer to the Mental Health
    and Substance Use Disorder section (above).
  - Lab services supporting a virtual visit must be obtained through
    dedicated labs.
MDLIVE Urgent Care Services                                             100%               Not Covered
MDLIVE Primary Care Services                                            100%               Not Covered
MDLIVE Specialty Care Services                                          100%               Not Covered
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
                                                                                           50% of the
                                                                                           Maximum
Primary Care Physicians Virtual Office Visit                            100%
                                                                                           Reimbursable
                                                                                           Charge




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OPEN ACCESS PLUS MEDICAL BENEFITS SCHEDULE___
                                          - Continued
                                                                        NETWORK          NON-NETWORK
                                                                                         50% of the
                                                                                         Maximum
Specialty Care Physicians Virtual Office Visit                         100%
                                                                                         Reimbursable
                                                                                         Charge
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
                                                                                         50% of the
                                                                                         Maximum
Other Covered Expenses                                                 80%
                                                                                         Reimbursable
                                                                                         Charge


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 80%, except as indicated below.
 - Preventive Care Office Visits                     100%
 - Preventive Care Services other than lab tests
                                                     100%
   and x-rays
 - Preventive Care lab tests and x-rays ordered as
   part of Preventive Care and performed in:
  * a provider's office                              100%
  * an independent or outpatient facility            100%
 - Breast-Feeding Equipment (rental of one
   breast pump per pregnancy up to the purchase
                                                 100%
   price, and related supplies, when the pump is
   ordered or prescribed by a Doctor)
 - Contraceptives                                    100%
 - Ambulance Services                                80%
 - Emergency Room (includes all services
                                                     80%
   rendered as part of the visit)
 - Transplant and Related Specialty Care
                                                     Not Covered
   Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).

A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.

To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.

You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov) are payable at 100% not subject to any deductible, copay or coinsurance, when
purchased from a Network Pharmacy. A written prescription is required.
FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.
Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.
Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.
As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.
Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.
The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in this Schedule may be reduced in order for Patient Assurance Program discounts earned by Cigna to be
applied or credited to the copay or coinsurance, if any, as described above.



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
                                   - Continued
For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in this
Schedule for the insulin product. In addition, the covered insulin products eligible for Patient Assurance
Program discounts shall not be subject to the deductible, if any.

Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your out-of-pocket maximum.

Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your out-of-pocket maximum.

Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.
Deductible
The calendar year deductible is a separate deductible equal to the amount of covered expenses that must be
incurred (paid) by you before benefits are payable under the Plan for prescription drug benefits. This calendar
year deductible applies to all prescriptions.
Only expenses that are payable under the drug benefit may be used to satisfy this deductible. Expenses incurred
but not covered under the drug benefit cannot be used to satisfy the drug deductible.
Per Individual                                                                                       $150.00
Per Family                                                                                            $300.00


Copays and Coinsurance

Copays are amounts to be paid by you for covered Prescription Drug Products. A coinsurance is the percentage
of the Prescription Drug Charge for a covered Prescription Drug Product that you are required to pay under this
Plan in addition to the Deductible, if any.
Retail Network Pharmacy - up to a 30-day supply
The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
30-day supply of a Prescription Drug Product purchased at a Network Pharmacy is shown here.


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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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Tier 1 - Generic Drugs on the Prescription Drug List                                              $10.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                        $50.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                    $90.00 copay


Non-Network Pharmacy - not covered
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. If a prescription is filled
at a Non-Network Pharmacy, you must pay 100% of the cost at the time of purchase and submit a
claim for reimbursement. Prescription Drug Products purchased at a Non-Network Pharmacy are
not covered, except as described in COVERED EXPENSES for covered expenses incurred as part
of Emergency Services.


90-Day Retail Network Pharmacy - up to a 90-day supply
The 90-Day Retail option is not available for Specialty Prescription Drug Products.
The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
90-day supply of a Prescription Drug Product purchased at a retail Designated Pharmacy is shown here. Note: In
this context, a retail Designated Pharmacy is a retail Network Pharmacy contracted for dispensing covered
Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per Prescription Order or
Refill.
Tier 1 - Generic Drugs on the Prescription Drug List                                              $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                       $150.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $270.00 copay


Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply
Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.

The amount you pay, after you satisfy the Deductible, per Prescription Order or Refill for up to a consecutive
90-day supply of a Prescription Drug Product purchased at a home delivery Network Pharmacy is shown here.
Tier 1 - Generic drugs on the Prescription Drug List                                                $30.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                       $150.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $270.00 copay


Tier 4 - Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery
Pharmacy.




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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After you satisfy the Deductible, you pay 30% of the cost up to a maximum of $250.00 per
Prescription Order or Refill for up to a consecutive 30-day supply of a Specialty Prescription Drug
Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical and drug benefits, an eligible Employee, as determined by your Employer, is a
person who is in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Cohabiter are eligible to be covered as Employees: A person who is eligible as an
Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered as a
Dependent of only one Employee.
If you are eligible to be covered as an Employee and as a Dependent child of another Employee:
Anyone who is eligible as an Employee will not be considered as an eligible Dependent or Dependent spouse
unless the Dependent or Dependent spouse declines Employee coverage. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be covered as an Employee while also covered as a
Dependent of an Employee.
It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.

Your Dependents must live in the United States to be eligible for coverage.
Eligible Dependents are:
    your legal spouse; or
    your Cohabiter.
    a child under age 26.
Cohabiter

“Cohabiter” means the person, regardless of gender, named in the Cohabiter Affidavit that you have submitted
to and has been approved by the Employer. See the Plan Administrator for more information.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your Cohabiter.
Handicapped/Disabled Child


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ELIGIBILITY___
            - Continued
The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.
Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.
When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.
Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
    For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
    birth; and
    For any other adoptive child, from the date of placement.
Cohabiter Eligibility

If your Employer accepts your Cohabiter Affidavit that has been submitted to and approved by the Employer,
you submit an Application for Membership and make any required contribution, then your Cohabiter and his or
her Dependent children will be covered under this Plan.
You must comply with the Internal Revenue, any applicable regulations, and any applicable state laws pertaining
to the value of benefits provided to your Cohabiter. The benefits your Cohabiter receives generally are treated as
taxable.
■    What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.
Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.
A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights



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WHEN COVERAGE BEGINS & ENDS___
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For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.
If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.
A special enrollment event occurs if:
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under another health
  insurance plan or arrangement and coverage under the other plan was lost as a result of:
  - Exhausting the maximum period of COBRA coverage; or
  - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
    status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
    the service area; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
    meets or exceeds the lifetime maximum for that plan; or
  - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
    class; or
  - Termination of the employer's contribution for the other plan's coverage.
  You must have stated in writing that the other health coverage was the reason you declined coverage under
  this Plan, but only if the Employer required such a statement and notified you of the consequences of the
  requirement when you declined coverage.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
  Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
  this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
  enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
  terminated.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
  state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
  request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
  Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
  assistance.
  You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
  do so and later experience a change in family status because you acquire a Dependent through marriage, birth
  or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
  Dependents.
If you apply within 30 days of the date:
  Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
  under the other plan.
  You acquire a new Dependent, coverage will start:
  - In the case of marriage, on the date of marriage.
  - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.

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WHEN COVERAGE BEGINS & ENDS___
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If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    What If I Was Covered Under the Employer's Prior Plan?
A Member who had similar coverage for medical and prescription drug benefits under the Employer's prior plan
on the date of its termination will be covered under this Plan on the Plan effective date.
Any waiting period under this Plan will be reduced by the part of the waiting period that had been satisfied
under the prior plan.
If a Member was on COBRA or any other continuation coverage or extension of benefits under the prior plan
and that plan terminated, coverage will be provided for that Member until the earlier of:
    The date on which coverage would end under the terms of the Plan; or
    The last day of the period for which coverage would have been provided had the prior plan not terminated.
If a Member was covered under any extension of benefits under the prior plan, the benefits provided under this
Plan will be the same as those provided by the prior plan, less any amount paid under the prior plan.
If you (Employee) were on Family and Medical Leave on the effective date of this Plan and you were covered
under the Employer's prior plan on the date of its termination, then you will become covered for the benefits
provided under this Plan as of its effective date.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.
All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage Under California Family Rights Act (CFRA) Leave




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WHEN COVERAGE BEGINS & ENDS___
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If the Employer approves your CFRA Leave, coverage under the Plan will continue during your leave. You may
be eligible for a CFRA leave to attend to any of the following:
    The birth or adoption of your child; or
    Placement of a child in your custody for foster care; or
    To care for your spouse, child, or parent with a serious health condition; or
    Your serious Illness that makes you unable to perform the functions of your job. For the purpose of leave
    provided under CFRA, your own serious Illness will not include pregnancy or medical conditions related to
    pregnancy or childbirth.
Contributions must be paid by you and the Employer. If contributions are not paid, your coverage will cease.
However, on the date you return to work, coverage will be on the same basis as that provided for any active
Member on that date. If you have questions about Family and Medical Leave, see the Plan Administrator.
If you are also eligible to continue coverage under the federal FMLA law, then the continuation of coverage
periods under the Federal FMLA and CFRA will run concurrently.

Pregnancy Disability Leave

If you:
    Are employed in California; and
    Are a female Employee who is unable to Work due to childbirth, pregnancy, or related medical conditions;
Then you may be eligible for disability leave under California Government Code Section 12945.
If you are eligible for leave under California Government Code Section 12945, coverage under the Plan will
continue during your leave. Contributions must be paid by you and your Employer.

For more information about disability leave under California Government Code Section 12945, please see your
Plan Administrator for details.

Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES,
CONTINUATION OF COVERAGE - FMLA and CONTINUATION OF COVERAGE - COBRA.
■    Can Coverage Be Reinstated?
If your coverage ended because of termination of your Service, you may be eligible for reinstatement of
coverage if you return to Service within 30 days after the date your coverage ended.
On the date you return to Service, coverage for you and your eligible Dependents will be on the same basis as
that provided for any other active Employee and his or her Dependents as of that date. However, any restrictions
on your coverage that were in effect before your reinstatement will still apply.
See USERRA RIGHTS AND RESPONSIBILITIES for information about reinstatement of coverage upon
return from leave for military service.




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OPEN ACCESS PLUS MEDICAL BENEFITS___
■    How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.
You and your covered Dependents are encouraged, but are not required, to select a Primary Care Physician
(PCP) in the network. The PCP provides care and can assist with arranging and coordinating care. You and your
covered Dependents may obtain covered services from providers who are designated as specialists without
getting PCP approval. To select or change a PCP, contact Member Services at the phone number or website
address shown on the Member ID card.

Medical Management Program

Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.

As used in this provision “you” refers to the covered Member.
Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.
If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.
You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.
Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.
Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.
Certain services and supplies require pretreatment authorization, including, but not limited to:
    Air Ambulance, when used for non-Emergency Medical Conditions.
    Durable medical equipment, based on type of equipment.
    Genetic testing.

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 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)
The MEDICAL BENEFITS SCHEDULE shows deductibles and copays, as well as any Plan maximums and
Plan coinsurance payment percentages.
The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit
Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:




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  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then covered Hospital charges will be payable at the non-network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Primary Care includes Preventive Care and care rendered by Doctors who agree to serve as Primary Care
Physicians. In general, Primary Care Physicians include Doctors in the fields of General Practice, Family
Practice, Pediatrics and Internal Medicine. OB/GYNs are also included. Members may determine a provider's
classification by using the member web site or by calling Member Services.

Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.

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  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

Breast Reconstruction and Breast Prostheses

The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.

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See the PRESCRIPTION DRUG BENEFIT for information on coverage of contraceptives purchased from a
licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies. Elective abortions are also covered.

Infertility Testing

The Plan covers diagnostic testing for the purpose of diagnosing infertility.

Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.
In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.

Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.
A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.
Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.
A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.
Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders


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The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.
In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.
A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.
A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.
Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.


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  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.

Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.
Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following:
  Multiple therapy services provided on the same day constitute one day of service for each therapy type.
  A separate copay applies to the services provided by each provider per visit.
Acupuncture Treatment



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The Plan covers acupuncture treatment when rendered by a licensed provider. Coverage does not include
additional charges such as needles, suction cups or herbs.

Home Health Care Services

The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.
Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.

Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.
Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.
Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;


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  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;
but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.
Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Transplant Services and Related Specialty Care

The Plan covers charges that are approved by Medical Management for human organ and tissue transplant
services, including solid organ and bone marrow/stem cell procedures. This coverage is subject to the following
conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures are also
covered for artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane
oxygenation (ECMO) ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are not covered.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the In-Network level.




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Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.
  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network® facility.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network® facility); and lodging while at, or
  traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs.

Advanced Cellular Therapy

Charges for advanced cellular therapy products and services directly related to their administration are covered
when Medically Necessary. Coverage includes the cost of the advanced cellular therapy product; medical,
surgical, and facility services directly related to administration of the advanced cellular therapy product, and
professional services.
Cigna determines which U.S. Food and Drug Administration (FDA) approved products are in the category of
advanced cellular therapy, based on the nature of the treatment and how it is manufactured, distributed and
administered. An example of advanced cellular therapy is chimeric antigen receptor (CAR) T-cell therapy that
redirects a person's T cells to recognize and kill a specific type of cancer cell.




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Advanced cellular therapy products and their administration are covered at the in-network benefit level when
prior authorized to be received at a provider contracted with Cigna for the specific advanced cellular therapy
product and related services. Advanced cellular therapy products and their administration received from a
provider that is not contracted with Cigna for the specific advanced cellular therapy product and related services
are not covered.

Advanced Cellular Therapy Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a prior authorized advanced
cellular therapy product are covered, subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when:
  you are the recipient of a prior authorized advanced cellular therapy product;
  the term recipient is defined to include a person receiving prior authorized advanced cellular therapy related
  services during any of the following: evaluation, candidacy, event, or post care;
  the advanced cellular therapy products and services directly related to their administration are received at a
  provider contracted with Cigna for the specific advanced cellular therapy product and related services; and
  the provider is not available within a 60 mile radius of your primary home residence.
Travel expenses for the person receiving the advanced cellular therapy include charges for: transportation to and
from the advanced cellular therapy site (including charges for a rental car used during a period of care at the
facility); and lodging while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.

The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 mile radius of your primary home residence; food and
meals; laundry bills; telephone bills; alcohol or tobacco products; and charges for transportation that exceed
coach class rates.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.
Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.




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Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.

Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.


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Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.

Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling

The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.


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Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.
The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).
  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
     the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
     both of the following conditions are met:
     * the study or investigation has been reviewed and approved through a system of peer review comparable to
        the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
        and
     * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.


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  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.
Clinical trials conducted by out-of-network (non-network) providers will be covered only when the following
conditions are met:
  in-network providers are not participating in the clinical trial; or
  the clinical trial is conducted outside the individual's state of residence.
Obesity Treatment

The Plan covers charges made for medical and surgical services for the treatment or control of clinically severe
(morbid) obesity as defined below and if the services are demonstrated, through existing peer reviewed,
evidence based, scientific literature and scientifically based guidelines, to be safe and effective for the treatment
or control of the condition.
Clinically severe (morbid) obesity is defined by the National Heart, Lung and Blood Institute (NHLBI) as a
Body Mass Index (BMI) of 40 or greater without comorbidities, or a BMI of 35-39 with comorbidities.
The following are specifically excluded:
  medical and surgical services to alter appearances or physical changes that are the result of any medical or
  surgical services performed for the treatment or control of obesity or clinically severe (morbid) obesity.
  weight loss programs or treatments, whether or not they are prescribed or recommended by a Doctor or under
  medical supervision.
Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.




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  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Virtual Care
Dedicated Virtual Providers
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring by dedicated virtual providers as medically appropriate through audio, video and secure internet-
based technologies.
Includes charges for the delivery of mental health and substance use disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as appropriate through audio, video and secure internet-based
technologies.
Virtual Physician Services
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring as medically appropriate through audio, video and secure internet-based technologies that are similar
to office visit services provided in a face-to-face setting.
Includes charges for the delivery of real-time mental health and substance use disorder consultations and
services, via secure telecommunications technologies that shall include video capability, telephone and internet,
when such consultations and services are delivered by a behavioral provider and are similar to office visit
services provided in a face-to-face setting.




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PRESCRIPTION DRUG BENEFITS___
■    What's Covered? (Covered Expenses)
As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on which of the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.
The drug benefit includes coverage of contraceptives.
Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.
When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.
Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.
Deductible - Your Plan requires that you pay the costs for covered Prescription Drug Products up to the
deductible amount set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Until you meet that
deductible amount, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy will be the lowest of the following amounts:
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
The SCHEDULE sets forth your costs for covered Prescription Drug Products after you have satisfied the
deductible amount.
Copay - Your Plan requires that you pay a copay for covered Prescription Drug Products as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual deductible set forth in
the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy and that is subject to a copay requirement will be the lowest of the following amounts:
    the copay for the Prescription Drug Product set forth in the SCHEDULE; or
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.




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PRESCRIPTION DRUG BENEFITS___
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Coinsurance - Your Plan requires that you pay a coinsurance amount for covered Prescription Drug Products as
set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual
deductible set forth in the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product
dispensed by a Network Pharmacy and that is subject to a coinsurance requirement will be the lowest of the
following amounts:
  the amount that results from applying the applicable coinsurance percentage set forth in the SCHEDULE to
  the Prescription Drug Charge; or
  the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
Payments at Non-Network Pharmacies - Any reimbursement due to you under this Plan for a covered
Prescription Drug Product dispensed by a non-network Pharmacy may be determined by applying the non-
network pharmacy copay and/or coinsurance amount set forth in the PRESCRIPTION DRUG BENEFITS
SCHEDULE to the average wholesale price (or “AWP”), or other benchmark price Cigna applies, for a
Prescription Drug Product dispensed by a non-network Pharmacy. Your reimbursement, if any, for a covered
Prescription Drug Product dispensed by a non-network Pharmacy will never exceed the average wholesale price
(or other benchmark price applied by Cigna) for the Prescription Drug Product.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.
You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE.
For most Prescription Drug Products you pay only the cost sharing detailed in the PRESCRIPTION DRUG
BENEFITS SCHEDULE. However, in the event you insist on a more expensive Brand Drug where a
Therapeutic Equivalent Generic Drug is available, you may be financially responsible for an Ancillary Charge,
in addition to any required Brand Drug copay and/or coinsurance. In this case, the Ancillary Charge will not
apply to any deductible or any out-of-pocket maximum. However, in the event your Doctor determines that the
Generic Drug is not an acceptable alternative for you (and indicates Dispense as Written on the Prescription
Order or Refill), you will only be responsible for payment of the appropriate Brand Drug copay and/or
coinsurance.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.

Prescription Drug List Management




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PRESCRIPTION DRUG BENEFITS___
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Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.
The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date tier status, utilization management, or other coverage limitations for a Prescription Drug
Product.

New Prescription Drug Products

New Prescription Drug Products may or may not be placed on a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in the Schedule.

Prior Authorization Requirements

Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.




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PRESCRIPTION DRUG BENEFITS___
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When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.
If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.
If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.

Step Therapy

Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.

Supply Limits

Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.
Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.

Specialty Prescription Drug Products

Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.


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PRESCRIPTION DRUG BENEFITS___
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Specialty Clinical Days' Supply

Specialty clinical days' supply is designed to improve customer adherence and satisfaction while reducing the
waste of Specialty Prescription Drug Products resulting from changes in prescription drug therapy. Specialty
clinical days' supply uses clinical guidelines, customer experience, financial considerations, and Cigna's home
delivery pharmacy expertise to establish an optimum maximum days' supply for each fill of a Specialty
Prescription Drug Product. The maximum days' supply of a Specialty Prescription Drug product, dispensed by a
Cigna designated specialty pharmacy, may be limited to less than the home delivery days' supply maximum
indicated in The Schedule depending on the drug, condition, and demonstrated patient stability on prescription
drug therapy.

Designated Pharmacies

If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which you are not obligated to pay and/ or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible and /or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense without Cigna's express
    consent.
  - charges of a non-Participating Provider who has agreed to charge you at an in-network benefits level or
    some other benefits level not otherwise applicable to the services received.
  - In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
    right to:
    * require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient
       to Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
       Cigna.
    * deny the payment of benefits in connection with the Covered Expense regardless of whether the provider
       or the Pharmacy represents that you remain responsible for any amounts that your plan does not cover, or
    * reduce the benefits in proportion to the amount of the Deductible, Copay or Coinsurance amount(s)
       waived, discounted, forgiven or reduced, regardless of whether the provider or Pharmacy represents that
       you remain responsible for any amounts that the Plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.

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BENEFIT LIMITATIONS___
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  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.
  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or urgent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
  not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
  evaluations, unless otherwise covered under this plan.
  court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
  service or supply under this Plan.
  medical and Hospital care costs for the child of your Dependent child, unless the child is otherwise eligible
  under this Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. However, charges made for a continuous course of dental treatment for an accidental Injury to teeth
  are covered.

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BENEFIT LIMITATIONS___
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 medical and surgical services, initial and repeat, intended for the treatment or control of obesity, except for
 treatment of clinically severe (morbid) obesity as described in the “Obesity Treatment” benefit.
 infertility testing (except as described in the Infertility Testing provision), infertility services, infertility drugs,
 surgical or medical treatment programs for infertility, including in-vitro fertilization, gamete intrafallopian
 transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of these procedures, and any costs associated
 with the collection, washing, preparation or storage of sperm for artificial insemination (including donor fees).
 Cryopreservation of donor sperm and eggs are also excluded from coverage.
 reversal of male and female voluntary sterilization procedures.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs or smoking cessation programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.
 fees associated with the collection, storage or donation of blood or blood products, except for autologous
 donation in anticipation of scheduled services when medical management review determines the likelihood of
 excess blood loss is such that transfusion is an expected adjunct to surgery.
 blood administration for the purpose of general improvement in physical condition.

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BENEFIT LIMITATIONS___
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  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  all nutritional supplements, formulae, enteral feedings, supplies and specially formulated medical foods,
  whether prescribed and not, except as specifically provided in the “Enteral Nutrition” benefit.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).
  any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
  prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.
  medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
  medications used to promote hair growth, and fade cream products.
  Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
  lost, stolen, broken or destroyed.
  Prescription Drug Products used for the treatment of infertility.

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 Medical Pharmaceuticals covered solely under the Plan's medical benefit.
 Prescription Drug Products used for the treatment of male or female sexual dysfunction, including but not
 limited to erectile dysfunction, delayed ejaculation, anorgasmy, hypoactive sexual desire disorder and
 decreased libido.
 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis unless specifically identified on the Prescription Drug List.
 immunization agents, virus detection testing, virus antibody testing, biological products for allergy
 immunization, biological sera, blood, blood plasma and other blood products or fractions unless specifically
 identified on the Prescription Drug List.
 smoking cessation medications, except those required by federal law to be covered as PPACA Preventive Care
 Medications.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.
For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.
You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.




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Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.

If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations

When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.




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If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations

When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination




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Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.
Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure

To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.




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Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.
You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.
If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.
When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal




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Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.
This provision does not apply to your Prescription Drug Benefits.
Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.

Definitions



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For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.
  “Claim Determination Period” means a calendar year, but does not include any part of a year during which you
  are not covered under this Plan or any date before this provision or any similar provision takes effect.




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  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.
When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan

The Coordination of Benefits provision is applied throughout each Claim Determination Period.



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If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.
When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.



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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner, Cohabiters as defined in the
Plan. However, when Medicare coverage is due to disability, the Disability payer explanations above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions




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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.
No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.
Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.
Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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CLAIMS & LEGAL ACTION___
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A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Ancillary Charge

An additional cost, outside of Plan cost sharing detailed in the PRESCRIPTION DRUG BENEFITS
SCHEDULE, which may apply to some Prescription Drug Products when you request a more expensive Brand
Drug, when a lower cost, Therapeutic Equivalent, Generic Drug is available. The Ancillary Charge is the
amount by which the cost of the requested Brand Drug exceeds the cost of the Generic Drug.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.


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GLOSSARY___
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Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.

Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician



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GLOSSARY___
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A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition

A medical condition, including a mental health condition or substance use disorder, manifesting itself by acute
symptoms of sufficient severity (including severe pain) such that a prudent layperson, who possesses an average
knowledge of health and medicine, could reasonably expect the absence of immediate medical attention to result
in placing the health of the individual (or, with respect to a pregnant woman, the health of the woman or her
unborn child) in serious jeopardy; serious impairment to bodily functions; or serious dysfunction of a bodily part
or organ.

Emergency Services

With respect to an Emergency Medical Condition, a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate such Emergency Medical
Condition, and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital or emergency department, as are required to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  ArborWorks, LLC; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.




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GLOSSARY___
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Generic Drug

A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

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Maintenance Drug Product

A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

When the provider is a network provider, the covered expense amount is determined based on a fee agreed upon
with the provider.
If the provider is not a network provider, the Maximum Reimbursable Charge for covered expenses is
determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  an Employer-selected percentage of a fee schedule developed by Cigna that is based upon a methodology
  similar to a methodology utilized by Medicare to determine the allowable fee for the same or similar service
  within the geographic market.
The percentage used to determine the Maximum Reimbursable Charge is the 110th percentile.
In some cases, a Medicare based schedule will not be used and the Maximum Reimbursable Charge for covered
services is determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  the 80th percentile of charges made by providers of such service or supply in the geographic area where it is
  received as compiled in a database selected by Cigna. If sufficient charge data is unavailable in the database
  for that geographic area to determine the Maximum Reimbursable Charge, then data in the database for similar
  services may be used.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.
Some providers forgive or waive the cost share obligation (such as any deductible, copay, coinsurance) that this
Plan requires you to pay. Waiver of your required cost share obligation can jeopardize your coverage under this
Plan. For more details, see the BENEFIT LIMITATIONS section.

Medical Pharmaceutical

Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

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Medically Necessary/Medical Necessity

Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies

The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy

A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.




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This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.

New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication

The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.



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Pharmacy

A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical and drug benefits described in this booklet.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug List

A list that categorizes drugs, Biologics (including Biosimilars) or other products covered under the Plan's
Prescription Drug Benefit that have been approved by the U.S. Food and Drug Administration (FDA) into
coverage tiers. This list is adopted by your Employer as part of the Plan. The list is subject to periodic review
and change, and is subject to the limitations and exclusions of the Plan. You may determine to which tier a
particular Prescription Drug Product has been assigned through the website shown on your ID card or by calling
Customer Service at the telephone number on your card.

Prescription Drug Product

A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.

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Prescription Order or Refill

The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Review Organization

The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product

A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by tier
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize

With respect to an Emergency Medical Condition, to provide medical treatment as necessary to assure that no
material deterioration of the condition is likely if the individual is transferred from a facility, or, with respect to a
pregnant woman who is having contractions, to deliver.

Terminal Illness


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A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

Therapeutic Alternative

A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees
Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents
Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical and prescription drug coverage that you (the
Employee) had in effect for yourself and your Dependents.
“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical and Prescription Drug Coverage

Under USERRA, you are eligible to elect continued medical and prescription drug coverage for yourself and
your Dependents when you terminate Service with the Employer for the purpose of Uniformed Service.

The Employer should establish reasonable procedures for electing continued medical and prescription drug
coverage and for payment of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.
However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage
If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
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Period of Continued Coverage
During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.
Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.
COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.

To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
                                             - Continued
  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.

For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.
After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
                                             - Continued
A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction the Employee's work hours to below 30 hours per week, even if it does not result in the employee
  losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child intend to
  enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage is
  effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  enrollment in a marketplace qualified health plan (QHP) when the Employee is eligible for the marketplace's
  special enrollment period or the Employee wants to enroll in the QHP during the marketplace's open
  enrollment period and disenrollment from the Employer's Plan corresponds to the intended enrollment of the
  Employee, spouse or Dependent child in the QHP and the QHP coverage is effective beginning no later than
  the day immediately following the last day of the Employer's Plan coverage.
Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: ArborWorks, LLC
The name, address, ZIP code and business telephone number of the Employer is:
  ArborWorks, LLC
  40266 Junction Drive
  Oakhurst, CA 93644

  559-760-9872
The Employer Identification Number (EIN) is: XX-XXXXXXX
The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above

The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.
Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.
The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending December 31.
The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.



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ERISA GENERAL INFORMATION___
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Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.

Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries




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STATEMENT OF ERISA RIGHTS___
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In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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          Harrington Industrial Plastics, LLC
                     HDHP Plan
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Mental Health Parity and Addiction Equity Act of 2008 (MHPAEA) -
Non-Quantitative Treatment Limitations (NQTLs)___
Federal MHPAEA regulations provide that a plan cannot impose a Non-Quantitative Treatment Limitation
(NQTL) on mental health or substance use disorder (MH/SUD) benefits in any classification unless the
processes, strategies, evidentiary standards or other factors used in applying the NQTL to MH/SUD benefits are
comparable to, and are applied no more stringently than, those used in applying the NQTL to medical/surgical
benefits in the same classification of benefits as written and in operation under the terms of the plan.
Non-Quantitative Treatment Limitations (NTQLs) include (to the extent applicable under the plan):
  medical management standards limiting or excluding benefits based on Medical Necessity or whether the
  treatment is experimental or investigative;
  prescription drug formulary design;
  network admission standards;
  methods for determining In-Network and Non-Network provider reimbursement rates;
  step therapy, a.k.a. fail-first requirements; and
  exclusions and/or restrictions based on geographic location, facility type or provider specialty.
A description of your Plan's NQTL methodologies and processes applied to medical/surgical benefits and
MH/SUD benefits is available for review by Plan Administrators (e.g. Employers) and covered persons:
Employers (Plan Administrators): Please contact your Cigna Sales Representative to request the NQTL
comparative analysis.
Covered Persons (Members): www.cigna.com/sp
To determine which document applies to your plan, select the relevant health plan product; medical management
model (inpatient only, or inpatient and outpatient) which can be located in this booklet immediately following
The Schedule; and pharmacy coverage (whether or not your plan includes pharmacy coverage).




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NOTICE TO MASSACHUSETTS RESIDENTS___
The health Plan described in this booklet meets Minimum Creditable Coverage standards and will satisfy the
individual mandate that you have health insurance.
Massachusetts Requirement To Purchase Health Insurance
The Massachusetts Health Care Reform Law requires that Massachusetts residents, eighteen (18) years of
age and older, must have health coverage that meets the Minimum Creditable Coverage standards set by
the Commonwealth Health Insurance Connector, unless waived from the health insurance requirement
based on affordability or individual hardship. For more information call the Connector at 1-877-MA-
ENROLL or visit the Connector website (www.mahealthconnector.org).
The health Plan described in this booklet meets Minimum Creditable Coverage standards that are effective
January 1, 2023 as part of the Massachusetts Health Care Reform Law. If you purchase the health Plan described
in this booklet, you will satisfy the statutory requirement that you have health insurance meeting these
standards.
THIS DISCLOSURE IS FOR MINIMUM CREDITABLE COVERAGE STANDARDS THAT ARE
EFFECTIVE JANUARY 1, 2023. BECAUSE THESE STANDARDS MAY CHANGE, REVIEW YOUR
HEALTH PLAN MATERIAL EACH YEAR TO DETERMINE WHETHER YOUR PLAN MEETS THE
LATEST STANDARDS.
If you have questions about this notice, you may contact the Massachusetts Division of Insurance by
calling (617) 521-7794 or visiting its website at www.mass.gov/doi.




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INTRODUCTION___
■    Notices

Discrimination is Against the Law

Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.

Cigna:
    Provides free aids and services to people with disabilities to communicate effectively with us, such as:
    - Qualified sign language interpreters
    - Written information in other formats (large print, audio, accessible electronic formats, other formats)
    Provides free language services to people whose primary language is not English, such as:
    - Qualified interpreters
    - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.

If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:
Cigna

Nondiscrimination Complaint Coordinator
P.O. Box 188016

Chattanooga, TN 37422

If you need assistance filing a written grievance, please call the number on the back of your ID card, or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights, electronically through the Office for Civil Rights
Complaint Portal, available at https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
U.S. Department of Health and Human Services

200 Independence Avenue, SW

Room 509F, HHH Building
Washington, D.C. 20201

1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.




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Proficiency of Language Assistance Services


English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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Cigna Commitment to Quality

Our Commitment to Quality guide gives you access to the latest information about our program activities and
results, including how we met our goals, as well as details about key guidelines and procedures. Log on to the
website shown on your ID card to access this information. If you have questions about the quality program,
would like to provide your feedback and/or cannot access the information online and would like a paper copy,
please call the phone number on your ID card.

Women's Health and Cancer Rights Act (WHCRA)

Do you know that your Plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.



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INTRODUCTION___
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Statement of Rights Under the Newborns' and Mothers' Health Protection Act

Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit the mother's or newborn's attending provider, after consulting with the mother, from
discharging the mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans and
issuers may not, under federal law, require that a provider obtain authorization from the plan or the issuer for
prescribing a 48 (or 96) hour length of stay.

Notice Regarding Provider Directories and Provider Networks

A list of network providers and network pharmacies is available, without charge, by visiting the website or
calling the phone number on your health care ID card. The network(s) consist of providers, including hospitals,
of varied specialties as well as general practice, and pharmacies, affiliated or contracted with Cigna or an
organization contracting on its behalf.

Direct Access to Obstetricians and Gynecologists

You do not need prior authorization from the Plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in the network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit the website or contact customer service at the phone number shown
on your ID card.

Selection of a Primary Care Provider

This Plan allows the designation of a primary care provider. You have the right to designate any primary care
provider who participates in the network and who is available to accept you or your family members. For
information on how to select a primary care provider, and for a list of network primary care providers, visit the
website or contact Member Services at the phone number listed on your ID card. A pediatrician may be
designated as a child's primary care provider.

Additional Programs

The Plan may from time to time, offer or arrange for various entities to offer discounts, benefits, or other
consideration to Members for the purpose of promoting general health and well-being. The Plan may also
arrange for the reimbursement of all or a portion of the cost of services by other parties to the group. Contact
Member Services for details regarding any such arrangements.

Care Management and Care Coordination Services




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The Plan may enter into specific collaborative arrangements with health care professionals committed to
improving quality care, patient satisfaction and affordability. Through these collaborative arrangements, health
care professionals commit to proactively providing participants with certain care management and care
coordination services to facilitate achievement of these goals. Reimbursement is provided at 100% for these
services when rendered by designated health care professionals in these collaborative arrangements.

Rebates and Other Payments

Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under the Plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on your, the Employer's
or Plan's behalf, or for your benefit.
Cigna, its affiliates and the Plan are not obligated to pass these rebates on to you, or apply them to your Plan's
deductible, if any, or take them into account in determining your copay/coinsurance.
Cigna and its affiliates or designees may also conduct business with various pharmaceutical manufacturers
separate and apart from the Plan's Medical Pharmaceutical and Prescription Drug Product benefits. Such
business may include, but is not limited to, data collection, consulting, educational grants and research. Amounts
received from pharmaceutical manufacturers pursuant to such arrangements are not related to the Plan. Cigna
and its affiliates are not required to pass on to you, and do not pass on to you, such amounts.

Coupons, Incentives and Other Communications

At various times, Cigna or its designee may send mailings to you or your Dependents or to your Doctor that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the Plan are not responsible in any way for any
decision you make in connection with any coupon, incentive or other offer you may receive from a
pharmaceutical manufacturer or Doctor.
■   About This Plan
Harrington Industrial Plastics, LLC (the Employer) has established an Employee Welfare Benefit Plan within the
meaning of the Employee Retirement Income Security Act of 1974 (ERISA). As of January 1, 2023, the medical
benefits described in this booklet form a part of the Employee Welfare Benefit Plan and are referred to
collectively in this booklet as the Plan. The Employee Welfare Benefit Plan will be maintained pursuant to the
medical benefit terms described in this booklet. The Plan may be amended from time to time.
This booklet takes the place of any other issued to you on a prior date.

Defined terms are capitalized and have specific meaning with respect to medical benefits, see GLOSSARY.

The medical benefits described in this booklet are self-funded by the Employer. The Employer is fully
responsible for the self-funded benefits. Cigna Health and Life Insurance Company (Cigna) processes claims
and provides other services to the Employer related to the self-funded benefits. Cigna does not insure or
guarantee the self-funded benefits.



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INTRODUCTION___
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Discretionary Authority

The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply Plan terms and to
make factual determinations in connection with its review of claims under the Plan. Such discretionary authority
is intended to include, but is not limited to, determination of whether a person is entitled to benefits under the
Plan and computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or claimants duly authorized representative.

Plan Modification, Amendment and Termination

The Employer reserves the right to, at any time, change or terminate benefits under the Plan, to change or
terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any other Plan
term or condition, and to terminate the whole Plan or any part of it. Contact the Employer for the procedure by
which benefits may be changed or terminated, by which the eligibility of classes of employees may be changed
or terminated, or by which part or all of the Plan may be terminated. No consent of any Plan Member is required
to terminate, modify, amend or change the Plan.

Rescission

A Member's health coverage may not be rescinded (retroactively terminated) by Cigna, the Employer or Plan
sponsor unless:
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual)
  performs an act, practice or omission that constitutes fraud; or
  the Employer or Plan sponsor or a Member (or a person seeking coverage on behalf of the individual) makes
  an intentional misrepresentation of material fact.




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - OPEN ACCESS PLUS
MEDICAL BENEFITS SCHEDULE___
This Schedule provides a general description of medical benefits. It does not list all benefits. The Plan contains
limitations and restrictions that could reduce the benefits payable under the Plan. Please read the entire booklet
for details about your benefits.
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
Multiple Surgical Reduction

Multiple covered surgeries performed during one operating session result in payment reduction of 50% to the
surgery of lesser charge. The most expensive procedure is paid as any other surgery.

Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an assistant
surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in Cigna reimbursement
policies. (For purposes of this limitation, allowable charge means the amount payable to the surgeon prior to any
reductions due to coinsurance or deductible amounts.)
Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be limited to the
amount specified in Cigna reimbursement policies.
Out-of-Network Emergency Services Charges

Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-
Participating (Out-of-Network) provider.

The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in
an Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed
to by the Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
The allowable amount used to determine the Plan's benefit payment when Out-of-Network Emergency Services
result in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Out-of-Network Charges for Certain Services




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MEDICAL BENEFITS SCHEDULE___
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving
In-Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the
allowable amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network
provider and Cigna, or as required by applicable state or Federal law.

The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or
coinsurance). The member is not responsible for any charges that may be made in excess of the allowable
amount. If the Out-of-Network provider bills you for an amount higher than the amount you owe as indicated on
the Explanation of Benefits (EOB), contact Cigna Customer Service at the phone number on your ID card.

Plan Deductible
The Plan Deductible is the amount of covered medical and prescription drug benefit expenses that must be
incurred (paid) by you and/or your Dependents each calendar year before benefits are payable under this Plan.
Expenses paid by you and/or your dependents for covered network services and covered services outside the
network area will apply to the network deductible, but will not apply to the non-network deductible. Expenses
paid by you and/or your Dependents for covered non-network services will apply to the non-network deductible,
but will not apply to the network deductible.

If Dependent coverage is elected - For covered expenses that are subject to the deductible, the entire family
calendar year deductible must be satisfied before any benefits are payable at the Plan coinsurance.

Network or Outside the Network Area Preventive Care - The Plan Deductible does not apply to expenses for
Preventive Care services, including lab tests and x-rays, and office visits.

Non-Network Preventive Care - The Plan Deductible does not apply to expenses for Preventive Care lab tests
and x-rays.

Covered expenses other than Preventive Care - If the Plan Deductible does not apply, as shown below, to a
network covered expense, then it also does not apply to the covered expense when the expense is incurred
outside the network area.
The Plan Deductible applies to all covered expenses except:
- expenses for contraceptives from a Network or outside the Network area provider

Individual Calendar Year Deductible
- Network and outside the Network Area                                                                  $1,500.00
- Non-network                                                                                           $3,000.00
Family Calendar Year Deductible
- Network and outside the Network Area                                                                  $3,000.00
- Non-network                                                                                           $6,000.00


Medical Management Program
Ineligible Expense Penalty per claim                                                                      $750.00



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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - OPEN ACCESS PLUS
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MEDICAL BENEFITS SCHEDULE___

Out-of-Pocket Maximum

Plan Deductible and coinsurance amounts paid by you and your covered Dependents for network services and
services outside the network area accumulate to the Network and Services outside the Network Area Out-of-
Pocket Maximum.
Prescription drug coinsurance and copay amounts paid by you and your covered Dependents for prescription
drugs purchased at a Network Pharmacy accumulate to the Network and Services outside the Network Area
Out-of-Pocket Maximum.

Plan Deductible and coinsurance amounts paid by you and your covered Dependents for non-network services
accumulate to the Non-network Out-of-Pocket Maximum.

The following expenses do not accumulate to the Out-of-Pocket Maximums:
- expenses not covered under this Plan.
- expenses the Plan pays at 100%.
- Medical Management Ineligible Expense Penalty.

The Individual Calendar Year Out-of-Pocket Maximum for Network and Services outside the Network Area
must be met before covered expenses for network services and services outside the network area will be payable
at 100% for the remainder of that calendar year.

The Individual Calendar Year Out-of-Pocket Maximum for Non-Network must be met before covered expenses
for non-network services will be payable at 100% for the remainder of that calendar year.

If the Family Calendar Year Out-of-Pocket Maximum for Network and Services outside the Network Area is
met, then covered expenses for network services and services outside the network area for all covered family
Members, even those who have not yet met the Individual Calendar Year Out-of-Pocket Maximum for Network
and Services outside the Network Area, will be payable at 100% for the remainder of that calendar year.

If the Family Calendar Year Out-of-Pocket Maximum for Non-Network is met, then covered expenses for non-
network services for all covered family Members, even those who have not yet met the Individual Calendar Year
Out-of-Pocket Maximum for Non-Network, will be payable at 100% for the remainder of that calendar year.

Expenses paid by you and/or your dependents for covered network services and covered services outside the
network area will apply to the Network Out-of-Pocket Maximum, but will not apply to the Non-Network Out-
of-Pocket Maximum. Expenses paid by you and/or your dependents for covered non-network services will apply
to the Non-Network Out-of-Pocket Maximum, but will not apply to the Network Out-of-Pocket Maximum.

Plan Deductible does not apply after the Out-of-Pocket Maximum has been met.
Individual Calendar Year Out-of-Pocket Maximum
- Network and Services outside the Network Area                                                     $3,000.00
- Non-Network                                                                                       $6,000.00




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MEDICAL BENEFITS SCHEDULE___
Family Calendar Year Out-of-Pocket Maximum
- Network and Services outside the Network Area                                                     $6,000.00
- Non-Network                                                                                    $12,000.00

Benefit Maximum(s)

The benefit maximum(s) shown here are per person (Member), per calendar year, unless otherwise noted.
- Home Health Care Services                                                                       100 visits
 Maximum does not apply to mental health and substance use disorder conditions.
- Skilled Nursing Facility                                                                           100 days
- Outpatient Therapy Services - Chiropractic Care Services                                           25 visits
- Acupuncture Treatment                                                                              20 visits
- Gene Therapy - Approved Travel Expenses to and from a network facility           $10,000.00 per episode of
specifically contracted with Cigna to provide the specific gene therapy                        gene therapy

Lifetime Benefit Maximum(s)
 The benefit maximum(s) shown here are per person (Member), per lifetime, unless otherwise noted.
- Transplant and Related Specialty Care Services - Approved Travel Expenses                      $10,000.00
Lifetime Maximum Benefit for all Covered Expenses                                                   Unlimited


Coinsurance for Covered Expenses (except Prescription Drugs)
“Coinsurance” means the percentage of Covered Expenses that a Member is required to pay under the Plan in
addition to Deductible(s), if any. The Plan's percentage is shown here.



                                                                    NETWORK             NON-NETWORK
                                                                                        60% of the
                                                                                        Maximum
Mental Health - Inpatient                                           80%
                                                                                        Reimbursable
                                                                                        Charge
Mental Health - Outpatient
                                                                                        60% of the
 - Office Visits (such as individual, family and group psychotherapy,                   Maximum
                                                                      80%
   medication management, virtual care)                                                 Reimbursable
                                                                                        Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services           80%                 Not Covered




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MEDICAL BENEFITS SCHEDULE___
                                                                          NETWORK          NON-NETWORK
                                                                                           60% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
                                                                                           60% of the
                                                                                           Maximum
Substance Use Disorders - Inpatient                                      80%
                                                                                           Reimbursable
                                                                                           Charge
Substance Use Disorders - Outpatient
                                                                                           60% of the
 - Office Visits (such as individual, family and group psychotherapy,                      Maximum
                                                                      80%
   medication management, virtual care)                                                    Reimbursable
                                                                                           Charge
 - Dedicated Virtual Providers MDLIVE Behavioral Services                80%               Not Covered
                                                                                           60% of the
 - All Other Outpatient Services (such as partial hospitalization,                         Maximum
                                                                         80%
   intensive outpatient services, virtual care)                                            Reimbursable
                                                                                           Charge
Preventive Care
                                                                                           60% of the
                                                                                           Maximum
 - Preventive Care Office Visits                                         100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           60% of the
                                                                                           Maximum
 - Preventive Care Services other than lab tests and x-rays              100%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           100% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in a provider's office                                               Reimbursable
                                                                                           Charge
                                                                                           100% of the
 - Preventive Care lab tests and x-rays ordered as part of Preventive                      Maximum
                                                                      100%
   Care and performed in an independent or outpatient facility                             Reimbursable
                                                                                           Charge
Office Visits and Office Services
 - Office Visits




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MEDICAL BENEFITS SCHEDULE___
                                                                    NETWORK         NON-NETWORK
                                                                                    60% of the
                                                                                    Maximum
 * Primary Care                                                     80%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    60% of the
                                                                                    Maximum
 * Specialist Care                                                  80%
                                                                                    Reimbursable
                                                                                    Charge
- Lab Tests performed in the provider's office
                                                                                    60% of the
                                                                                    Maximum
 * Primary Care                                                     80%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    60% of the
                                                                                    Maximum
 * Specialist Care                                                  80%
                                                                                    Reimbursable
                                                                                    Charge
- X-rays performed in the provider's office
                                                                                    60% of the
                                                                                    Maximum
 * Primary Care                                                     80%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    60% of the
                                                                                    Maximum
 * Specialist Care                                                  80%
                                                                                    Reimbursable
                                                                                    Charge
- Advanced Radiology (such as MRI, MRA, PET, CT-Scan and
  nuclear medicine) performed in the provider's office
                                                                                    60% of the
                                                                                    Maximum
 * Primary Care                                                     80%
                                                                                    Reimbursable
                                                                                    Charge
                                                                                    60% of the
                                                                                    Maximum
 * Specialist Care                                                  80%
                                                                                    Reimbursable
                                                                                    Charge
- Office Surgery
                                                                                    60% of the
                                                                                    Maximum
 * Primary Care                                                     80%
                                                                                    Reimbursable
                                                                                    Charge

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MEDICAL BENEFITS SCHEDULE___
                                                                      NETWORK          NON-NETWORK
                                                                                       60% of the
                                                                                       Maximum
  * Specialist Care                                                   80%
                                                                                       Reimbursable
                                                                                       Charge
 - Other Office Services (such as diagnostic services, allergy
   injections)
                                                                                       60% of the
                                                                                       Maximum
  * Primary Care                                                      80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
  * Specialist Care                                                   80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
Convenience Care Clinic                                               80%
                                                                                       Reimbursable
                                                                                       Charge
Outpatient Facility Services for outpatient surgery, including
operating room, recovery room, procedures room, treatment room
and observation room
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Facility                                                80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Ancillary Facility Charges                              80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
                                                                                       Maximum
 - Outpatient Professional Services - Surgeon                         80%
                                                                                       Reimbursable
                                                                                       Charge
                                                                                       60% of the
 - Outpatient Professional Services - Other (including but not limited
                                                                                       Maximum
   to Radiologist, Pathologist, Anesthesiologist, other Hospital-      80%
                                                                                       Reimbursable
   Based Doctors)
                                                                                       Charge
Outpatient Lab Tests ordered as part of an Office Visit or
outpatient care and performed in an:




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MEDICAL BENEFITS SCHEDULE___
                                                                        NETWORK           NON-NETWORK
                                                                                          60% of the
                                                                                          Maximum
 - Independent Facility                                                80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Outpatient Facility                                                 80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
Outpatient X-rays ordered as part of an Office Visit or outpatient                        Maximum
                                                                       80%
care and performed in an outpatient facility                                              Reimbursable
                                                                                          Charge
                                                                                          60% of the
Outpatient Advanced Radiology (such as MRI, MRA, PET, CT-
                                                                                          Maximum
Scan and nuclear medicine) ordered as part of an Office Visit or       80%
                                                                                          Reimbursable
outpatient care and performed in an outpatient facility
                                                                                          Charge
Outpatient Dialysis Treatment                                          Based on place and Not Covered
                                                                       type of service
Inpatient Hospital
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Facility                                                  80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Ancillary Facility Charges                                80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Professional Services - Surgeon                           80%
                                                                                          Reimbursable
                                                                                          Charge
                                                                                          60% of the
 - Inpatient Professional Services - Radiologist, Pathologist,                            Maximum
                                                                       80%
   Anesthesiologist, other Hospital-Based Doctors                                         Reimbursable
                                                                                          Charge
                                                                                          60% of the
                                                                                          Maximum
 - Inpatient Professional Services - Doctor Visits/Consultations       80%
                                                                                          Reimbursable
                                                                                          Charge




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MEDICAL BENEFITS SCHEDULE___
                                                                       NETWORK            NON-NETWORK
                                                                                          60% of the
Urgent Care Facility (includes all services rendered as part of the                       Maximum
                                                                      80%
visit)                                                                                    Reimbursable
                                                                                          Charge
Emergency Room (includes all services rendered as part of the
                                                                      80%                 80%
visit)
Air Ambulance                                                         80%                 80%
                                                                                          80% of the
                                                                                          Maximum
Ambulance Services                                                    80%
                                                                                          Reimbursable
                                                                                          Charge
Medical Pharmaceuticals (cost of drug only):
 - Inpatient Hospital                                                 Same as Inpatient   Same as Inpatient
                                                                      Hospital benefit    Hospital benefit
 - Cigna Pathwell Specialty Medical Pharmaceuticals
  * Cigna Pathwell Specialty Network Provider                         80%                 Not Covered
  * Non-Cigna Pathwell Specialty Network Provider                     Not Covered         Not Covered
 - Other Medical Pharmaceuticals                                      80%                 Not Covered
Gene Therapy products and services directly related to their
administration, when prior authorized and Medically Necessary;
must be received at a network facility specifically contracted with
Cigna to provide the specific gene therapy
                                                                      Same as Medical
- Gene therapy product                                                                    Not Covered
                                                                      Pharmaceuticals
- Gene therapy services directly related to product administration
 * Network facility specifically contracted with Cigna to provide     Based on place and
                                                                                         Not Covered
 the specific gene therapy                                            type of service
 * Other Network facilities                                           Not Covered         Not Covered
 * Non-network facilities                                             Not Covered         Not Covered
- Approved Travel Expenses to and from a network facility
specifically contracted with Cigna to provide the specific gene       100%                Not Covered
therapy
                                                                                          60% of the
                                                                                          Maximum
Home Health Care Services                                             80%
                                                                                          Reimbursable
                                                                                          Charge




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MEDICAL BENEFITS SCHEDULE___
                                                                     NETWORK             NON-NETWORK
                                                                                         60% of the
                                                                                         Maximum
Skilled Nursing Facility                                             80%
                                                                                         Reimbursable
                                                                                         Charge
Hospice Care
 - Inpatient Hospice                                                 Same as Inpatient   Same as Inpatient
                                                                     Hospital            Hospital
 - Outpatient Hospice                                                Same as Home        Same as Home
                                                                     Health Care         Health Care
Contraceptives                                                       100%                Based on place and
                                                                                         type of service
Family Planning                                                      Based on place and Not Covered
                                                                     type of service
Women's Sterilization Procedures, e.g. tubal ligations               100%                Not Covered
(excluding reversals)
Breast-Feeding Equipment (rental of one breast pump per
pregnancy up to the purchase price, and related supplies, when the   100%                Not Covered
pump is ordered or prescribed by a Doctor)
Durable Medical Equipment                                            80%                 Not Covered
Acupuncture Treatment                                                80%                 Not Covered
Outpatient Therapy Services - includes cognitive therapy,
osteopathic manipulation, pulmonary rehabilitation, cardiac
rehabilitation, and:
                                                                                         60% of the
                                                                                         Maximum
- Physical Therapy                                                   80%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         60% of the
                                                                                         Maximum
- Speech, Hearing and Occupational Therapy                           80%
                                                                                         Reimbursable
                                                                                         Charge
                                                                                         60% of the
                                                                                         Maximum
- Chiropractic Care Services                                         80%
                                                                                         Reimbursable
                                                                                         Charge
Transplant and Related Specialty Care Services




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MEDICAL BENEFITS SCHEDULE___
                                                                        NETWORK             NON-NETWORK
 - Approved Travel Expenses to and from certain designated
                                                                        100%               Not Covered
   Network facilities
 - Transplant Services
  * Designated Network facilities                                       80%                Not Covered
  * Other Network facilities                                            Not Covered        Not Covered
  * Non-network facilities                                              Not Covered        Not Covered
Dedicated Virtual Providers
Dedicated virtual care services may be provided by MDLIVE, a
Cigna affiliate.
Services available through contracted virtual providers as medically
appropriate.
  Notes:
  - Primary Care cost share applies to routine care. Virtual wellness
    screenings are payable under preventive care.
  - MDLIVE Behavioral Services, please refer to the Mental Health
    and Substance Use Disorder section (above).
  - Lab services supporting a virtual visit must be obtained through
    dedicated labs.
MDLIVE Urgent Care Services                                             80%                Not Covered
MDLIVE Primary Care Services                                            80%                Not Covered
MDLIVE Specialty Care Services                                          80%                Not Covered
Virtual Care - Virtual Physician Services - Services available
through Physicians as medically appropriate.
                                                                                           60% of the
                                                                                           Maximum
Primary Care Physicians Virtual Office Visit                            80%
                                                                                           Reimbursable
                                                                                           Charge
                                                                                           60% of the
                                                                                           Maximum
Specialty Care Physicians Virtual Office Visit                          80%
                                                                                           Reimbursable
                                                                                           Charge
Note: Physicians may deliver services virtually that are payable
under other benefits (e.g., Preventive Care, Outpatient Therapy
Services).
                                                                                           60% of the
                                                                                           Maximum
Other Covered Expenses                                                  80%
                                                                                           Reimbursable
                                                                                           Charge

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MEDICAL BENEFITS SCHEDULE___
                                                                       NETWORK           NON-NETWORK


Covered Expenses incurred outside the Network service area

Covered Expenses incurred outside the Network service area are payable at 80%, except as indicated below.
- Preventive Care Office Visits                     100%
- Preventive Care Services other than lab tests
                                                    100%
  and x-rays
- Preventive Care lab tests and x-rays ordered as
  part of Preventive Care and performed in:
  * a provider's office                             100%
  * an independent or outpatient facility           100%
- Breast-Feeding Equipment (rental of one
  breast pump per pregnancy up to the purchase
                                                100%
  price, and related supplies, when the pump is
  ordered or prescribed by a Doctor)
- Contraceptives                                    100%
- Ambulance Services                                80%
- Emergency Room (includes all services
                                                    80%
  rendered as part of the visit)
- Transplant and Related Specialty Care
                                                    Not Covered
  Services




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
This Plan provides prescription drug benefits for Prescription Drug Products provided by Pharmacies as
described in this booklet. This Schedule provides a general description of prescription drug benefits, but it does
not list all benefits. The Plan contains limitations and restrictions that could reduce the benefits payable under
the Plan. Please read the entire booklet for details about your benefits. As used in this Schedule, any reference to
“you” or “your” means you and your covered Dependent(s) (the Member).
A list of Network Pharmacies is available through the website or by contacting Member Services at the phone
number shown on your ID card.
To receive prescription drug benefits, you may be required to pay a portion of the covered expenses for
Prescription Drug Products. That portion includes any applicable deductible, copay and/or coinsurance.
You will pay 100% of the Prescription Drug Charge at a Network Pharmacy for Prescription Drug Products that
are excluded under this Plan, and any such amount will not count toward your Deductible, if any, or Out-of-
Pocket Maximum.
Certain PPACA Preventive Medications covered under this Plan and required as part of preventive care (details
at www.healthcare.gov) are payable at 100% not subject to any deductible, copay or coinsurance, when
purchased from a Network Pharmacy. A written prescription is required.

FDA-approved prescription and over-the-counter (OTC) tobacco cessation medications covered under this Plan
and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for tobacco
use cessation and purchased from a Network Pharmacy are covered at 100% not subject to any deductible,
copay or coinsurance. This includes generic medications, and some brand name medications when certain
criteria are met. A written prescription is required.

Generic oral contraceptives and other prescription and over-the-counter (OTC) contraceptives covered under this
Plan and required as part of preventive care (details at www.healthcare.gov), when prescribed by a Doctor for
birth control and purchased from a Network Pharmacy are covered at 100% not subject to any deductible, copay
or coinsurance. A written prescription is required.
Patient Assurance Program - Your Plan offers additional discounts for certain covered Prescription Drug
Products that are dispensed by a retail or home delivery Network Pharmacy included in what is known as the
“Patient Assurance Program”.

As may be described elsewhere in this Plan, from time to time Cigna may directly or indirectly enter into
arrangements with pharmaceutical manufacturers for discounts that result in a reduction of your out-of-pocket
expenses for certain covered Prescription Drug Products for which Cigna directly or indirectly earns the
discounts.
Specifically, some or all of the Patient Assurance Program discount earned by Cigna for certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any. The copay or coinsurance, if any, otherwise applicable to those certain covered
Prescription Drug Products included in the Patient Assurance Program is applied or credited to a portion of your
copay or coinsurance, if any.
The copay or coinsurance, if any, otherwise applicable to those certain covered Prescription Drug Products as set
forth in the MEDICAL BENEFITS SCHEDULE may be reduced in order for Patient Assurance Program
discounts earned by Cigna to be applied or credited to the copay or coinsurance, if any, as described above.



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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For example, certain insulin product(s) covered under the Prescription Drug benefit for which Cigna directly or
indirectly earns a discount in connection with the Patient Assurance Program shall result in a credit toward some
or all of your copay or coinsurance, if any, which, as noted, may be reduced from the amount set forth in the
MEDICAL BENEFITS SCHEDULE for the insulin product. In addition, the covered insulin products eligible
for Patient Assurance Program discounts shall not be subject to the deductible, if any.
Your copay or coinsurance payment, if any, for covered Prescription Drug Products under the Patient Assurance
Program counts toward your out-of-pocket maximum.
Any Patient Assurance Program discount that is used to satisfy your copay or coinsurance, if any, for covered
Prescription Drug Products under the Patient Assurance Program counts toward your out-of-pocket maximum.
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug Products,
and may apply or credit to your copay or coinsurance, if any, in connection with the Patient Assurance Program
are unrelated to any rebates or other payments that Cigna may earn from a pharmaceutical manufacturer for the
same or other Prescription Drug Products. Except as may be noted elsewhere in this Plan, you are not entitled to
the benefit of those rebates or other payments earned by Cigna because they are unrelated to the Patient
Assurance Program.
Additionally, the availability of the Patient Assurance Program, as well as the Prescription Drug Products
included in the Patient Assurance Program and/or your copay or coinsurance, if any, for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not limited to,
the continued availability of the Patient Assurance Program discount(s) to Cigna in connection with the Patient
Assurance Program. More information about the Patient Assurance Program including the Prescription Drug
Products included in the program, is available at the website shown on your ID card or by calling Member
Services at the telephone number on your ID card.

Deductible
The prescription drug benefit is subject to the Plan Deductible shown on the MEDICAL BENEFITS
SCHEDULE. The Plan Deductible must be paid by you before the Plan begins to pay prescription drug benefits.
Out-of-Pocket Maximum
The prescription drug benefit is subject to the Out-of-Pocket Maximum shown on the MEDICAL BENEFITS
SCHEDULE.
Copays

Copays are amounts to be paid by you for covered Prescription Drug Products.
Retail Network Pharmacy - up to a 30-day supply
The amount you pay, after you satisfy the Plan Deductible, per Prescription Order or Refill for up to a
consecutive 30-day supply of a Prescription Drug Product purchased at a Network Pharmacy is shown here.
Tier 1 - Generic Drugs on the Prescription Drug List                                                $10.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                         $30.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                     $50.00 copay



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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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Non-Network Pharmacy - up to a 30-day supply
A Non-Network Pharmacy is a Pharmacy that is not a Network Pharmacy. You must pay the
Pharmacy 100% of the cost at the time of purchase and submit a claim for reimbursement.
Reimbursement for covered expenses will be 60% of the Network Pharmacy cost less the Network
Pharmacy applicable copay or coinsurance.


90-Day Retail Network Pharmacy - up to a 90-day supply

The 90-Day Retail option is not available for Specialty Prescription Drug Products.
The amount you pay, after you satisfy the Plan Deductible, per Prescription Order or Refill for up to a
consecutive 90-day supply of a Prescription Drug Product purchased at a retail Designated Pharmacy is shown
here. In this context, a retail Designated Pharmacy is a retail Network Pharmacy contracted for dispensing
covered Prescription Drug Products, including Maintenance Drug Products, in 90-day supplies per Prescription
Order or Refill.
Tier 1 - Generic Drugs on the Prescription Drug List                                                $25.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                        $75.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $125.00 copay


Home Delivery Network Pharmacy (Mail Order) - up to a 90-day supply
Information about purchasing Prescription Drug Products from a home delivery Network Pharmacy is available
through the website or by contacting Member Services at the phone number shown on your ID card.
The amount you pay, after you satisfy the Plan Deductible, per Prescription Order or Refill for up to a
consecutive 90-day supply of a Prescription Drug Product purchased at a home delivery Network Pharmacy is
shown here.
Tier 1 - Generic drugs on the Prescription Drug List                                                $25.00 copay
Tier 2 - Brand Drugs designated as preferred on the Prescription Drug List                        $75.00 copay
Tier 3 - Brand Drugs designated as non-preferred on the Prescription Drug List                   $125.00 copay


Tier 4 - Specialty Prescription Drug Products
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Certain Specialty Prescription Drug Products, dispensed by Cigna's designated specialty home
delivery pharmacy, may be limited to less than a consecutive 90 day supply per Prescription Order
or Refill, per the guidelines established by Cigna's specialty clinical days' supply program.
If a Cigna designated specialty home delivery pharmacy dispenses a supply of less than 90 days of
your Specialty Prescription Drug Product, your Copayment will be prorated to reflect the actual
days' supply dispensed.




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PRESCRIPTION DRUG BENEFITS SCHEDULE___
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Certain Specialty Prescription Drug Products are only covered when dispensed by a home delivery
Pharmacy.
After you satisfy the Plan Deductible, you pay $50.00 per Prescription Order or Refill for up to a
consecutive 30-day supply of a Specialty Prescription Drug Product.




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ELIGIBILITY___
■    Eligible Employees
For the purpose of medical benefits, an eligible Employee, as determined by your Employer, is a person who is
in the Service of the Employer and is a resident of the United States.

Service

“Service” means work with the Employer on an active basis, as determined by your Employer.
■    Eligible Dependents
If you and your spouse or Cohabiter are eligible to be covered as Employees: A person who is eligible as an
Employee will not be considered as an eligible Dependent. An eligible Dependent child may be considered as a
Dependent of only one Employee.
If you are eligible to be covered as an Employee and as a Dependent child of another Employee:
Anyone who is eligible as an Employee will not be considered as an eligible Dependent or Dependent spouse
unless the Dependent or Dependent spouse declines Employee coverage. A child under age 26 may be covered
as either an Employee or as a Dependent child. You cannot be covered as an Employee while also covered as a
Dependent of an Employee.
It is your responsibility to notify the Employer when a covered Dependent is no longer eligible for coverage.
Your Dependents must live in the United States to be eligible for coverage.

Eligible Dependents are:
    your legal spouse; or
    your Cohabiter.
    a child under age 26.
Cohabiter

“Cohabiter” means the person, regardless of gender, named in the Cohabiter Affidavit that you have submitted
to and has been approved by the Employer. See the Plan Administrator for more information.

Child

“Child” means:
    your natural child.
    your stepchild.
    your adopted child. This includes a child placed with you for adoption.
    “Placed for adoption” means the assumption and retention of a legal obligation for the total or partial support
    of a child in anticipation of the adoption of such child. The child's placement is considered terminated upon
    the termination of such legal obligation.
    a child who is recognized under a medical child support order as having a right to enrollment under the Plan.
    a foster child.
    a child of your Cohabiter.
Handicapped/Disabled Child


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ELIGIBILITY___
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The age limit does not apply to a child who becomes disabled, or became disabled, before reaching the age limit
and who: cannot hold a self-supporting job due to a permanent physical handicap or intellectual disability; and
depends on you for financial support.
“Physical handicap/intellectual disability” means permanent physical or mental impairment that is a result of
either a congenital or acquired illness or injury leading to the individual being incapable of independent living.
“Permanent physical or mental impairment” means:
  a physiological condition, skeletal or motor deficit; or
  intellectual disabilities or organic brain syndrome.
A non-permanent total disability where medical improvement is possible is not considered to be a “handicap”
for the purpose of this provision. This includes substance abuse and non-permanent mental impairments.
At reasonable intervals, but not more often than annually, the Plan may require a Doctor's certificate as proof of
the child's disability.
Medical Child Support Order
A medical child support order is a qualified medical child support order (QMCSO) or a qualified national
medical support notice issued by a state court or administrative agency that requires the Plan to cover a child of
an Employee, if the Employee is eligible for benefits under the Plan.
When the Employer receives a medical support order, the Employer will determine whether the order is
“qualified”.
If the order is determined to be qualified, and if you are eligible to receive benefits under this Plan, then your
Dependent child will be covered, subject to any applicable contribution requirements. Your Employer will
provide your Dependent child with necessary information which includes, but is not limited to, a description of
coverages and ID cards, if any. Upon request, your Employer will provide at no charge, a description of
procedures governing medical child support orders.




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WHEN COVERAGE BEGINS & ENDS___
■    When Will Coverage Begin?
The definition of Employee or Dependent in ELIGIBILITY will determine who is eligible for coverage under
the Plan.
Coverage will begin on the first day of the month coinciding with or next following the date you satisfy any
eligibility waiting period(s) as determined by your Employer, if you meet the Service definition in
ELIGIBILITY on that day, or if due to your health status you do not meet the Service definition on that day.
Before coverage can start, you must:
    Submit an application within 30 days after becoming eligible;
    Pay any required contribution.
Coverage for a newly acquired Dependent will begin on the date you acquire the Dependent if you are covered
and if you apply for coverage within 30 days after acquiring the new Dependent.
If the Dependent is an adoptive child, coverage will start:
    For an adoptive newborn, from the moment of birth if the child's date of placement is within 30 days after the
    birth; and
    For any other adoptive child, from the date of placement.
Cohabiter Eligibility

If your Employer accepts your Cohabiter Affidavit that has been submitted to and approved by the Employer,
you submit an Application for Membership and make any required contribution, then your Cohabiter and his or
her Dependent children will be covered under this Plan.
You must comply with the Internal Revenue, any applicable regulations, and any applicable state laws pertaining
to the value of benefits provided to your Cohabiter. The benefits your Cohabiter receives generally are treated as
taxable.
■    What If I Don't Apply On Time?
You are a late applicant under the Plan if you don't apply for coverage within 30 days of the date you become
eligible for coverage.

Your Dependent is a late applicant if you elect not to cover a Dependent and then later want coverage for that
Dependent.
A late applicant may apply for coverage only during an open enrollment period. The Plan Administrator can tell
you when the open enrollment period begins and ends. Coverage for a late applicant who applies during the
open enrollment period will begin on the first day of the month following the close of the open enrollment
period.
Your eligible Dependent is not a late applicant if you did not apply to cover the Dependent within 30 days of the
date you became eligible to do so and later are required by a qualified court order to provide coverage under this
Plan for that Dependent. If you apply within 30 days of the date the court order is issued, coverage will start on
the court ordered date.

Special Enrollment Rights



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WHEN COVERAGE BEGINS & ENDS___
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For medical and prescription drug benefits, if you or your eligible Dependent experience a special enrollment
event as described below, you or your eligible Dependent may be entitled to enroll in the Plan outside of a
designated enrollment period and will not be considered a late applicant.
If you are already enrolled for coverage at the time of a special enrollment event, within 30 days of the special
enrollment event, you may request enrollment in a different medical and prescription drug benefit option, if any,
offered by the Employer and for which you are currently eligible.
A special enrollment event occurs if:
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under another health
  insurance plan or arrangement and coverage under the other plan was lost as a result of:
  - Exhausting the maximum period of COBRA coverage; or
  - Loss of eligibility for the other plan's coverage due to legal separation, divorce, cessation of dependent
    status, death of a spouse, termination of employment or reduction in the number of hours of employment; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent no longer resides in
    the service area; or
  - Loss of eligibility for the other plan's coverage because you or your eligible Dependent incurs a claim that
    meets or exceeds the lifetime maximum for that plan; or
  - Termination of benefits for a class of individuals and you or your eligible Dependent is included in that
    class; or
  - Termination of the employer's contribution for the other plan's coverage.
  You must have stated in writing that the other health coverage was the reason you declined coverage under
  this Plan, but only if the Employer required such a statement and notified you of the consequences of the
  requirement when you declined coverage.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so because at the time you or your eligible Dependent was covered under a state Medicaid or
  Children's Health Insurance Program (CHIP) plan, and such coverage terminates due to a loss of eligibility. In
  this situation, you may request coverage for yourself and/or any affected eligible Dependent not already
  enrolled in this Plan. Coverage must be requested within 60 days of the date Medicaid or CHIP coverage
  terminated.
  You did not apply for coverage for yourself or your eligible Dependent within 30 days of the date you were
  eligible to do so and you or your eligible Dependent later becomes eligible for employment assistance under a
  state Medicaid or CHIP plan that helps pay for the cost of this Plan's coverage. In this situation, you may
  request coverage for yourself and/or any affected eligible Dependent not already enrolled in this Plan.
  Coverage must be requested within 60 days of the date the Member is determined to be eligible for such
  assistance.
  You did not apply to cover yourself or an eligible Dependent within 30 days of the date you became eligible to
  do so and later experience a change in family status because you acquire a Dependent through marriage, birth
  or adoption. In this case, you may apply for coverage for yourself, your spouse and any newly acquired
  Dependents.
If you apply within 30 days of the date:
  Coverage is lost under the other plan, as described above, coverage will start on the day after coverage is lost
  under the other plan.
  You acquire a new Dependent, coverage will start:
  - In the case of marriage, on the date of marriage.
  - In the case of birth or adoption, on the date of birth, adoption or placement for adoption.

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WHEN COVERAGE BEGINS & ENDS___
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If you apply within 60 days of the date Medicaid or CHIP coverage is terminated or within 60 days of the date
the Member is determined to be eligible for employment assistance under a state Medicaid or CHIP plan,
coverage will start no later than the first day of the month following receipt of your enrollment request.
■    What If I Was Covered Under the Employer's Prior Plan?
A Member who had similar coverage for medical and prescription drug benefits under the Employer's prior plan
on the date of its termination will be covered under this Plan on the Plan effective date.
Any waiting period under this Plan will be reduced by the part of the waiting period that had been satisfied
under the prior plan.

If a Member was on COBRA or any other continuation coverage or extension of benefits under the prior plan
and that plan terminated, coverage will be provided for that Member until the earlier of:
    The date on which coverage would end under the terms of the Plan; or
    The last day of the period for which coverage would have been provided had the prior plan not terminated.
If a Member was covered under any extension of benefits under the prior plan, the benefits provided under this
Plan will be the same as those provided by the prior plan, less any amount paid under the prior plan.
If you (Employee) were on Family and Medical Leave on the effective date of this Plan and you were covered
under the Employer's prior plan on the date of its termination, then you will become covered for the benefits
provided under this Plan as of its effective date.
■    Will My Coverage Change?
If the Employer amends the benefits or amounts provided under the Plan, a Member's coverage will change on
the effective date of the amendment. If a Member changes classes, coverage will begin under the new class on
the date that the Member's class status changes.
All claims will be based on the benefits in effect on the date the claim was incurred.
■    When Will My Coverage End?
Your coverage will end on the earliest of the following dates:
    The date the Employer terminates the benefits described in this booklet.
    The last day of the calendar month in which your Service ends.
    The date you are no longer eligible for reasons other than end of your Service.
    The due date of the first contribution toward your coverage that you or the Employer fails to make.
Your Dependent coverage will end on the earliest of the following dates:
    The date your coverage ends.
    The date you cease to be eligible for Dependent coverage.
    The date your Dependent ceases to be an eligible Dependent.
    For your covered Dependent child who reaches the limiting age (see ELIGIBILITY), this is the last day of the
    calendar month in which the limiting age is reached.
    The due date of the first contribution toward Dependent coverage that you or the Employer fails to make.
Continuation of Coverage Under California Family Rights Act (CFRA) Leave




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WHEN COVERAGE BEGINS & ENDS___
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If the Employer approves your CFRA Leave, coverage under the Plan will continue during your leave. You may
be eligible for a CFRA leave to attend to any of the following:
    The birth or adoption of your child; or
    Placement of a child in your custody for foster care; or
    To care for your spouse, child, or parent with a serious health condition; or
    Your serious Illness that makes you unable to perform the functions of your job. For the purpose of leave
    provided under CFRA, your own serious Illness will not include pregnancy or medical conditions related to
    pregnancy or childbirth.
Contributions must be paid by you and the Employer. If contributions are not paid, your coverage will cease.
However, on the date you return to work, coverage will be on the same basis as that provided for any active
Member on that date. If you have questions about Family and Medical Leave, see the Plan Administrator.

If you are also eligible to continue coverage under the federal FMLA law, then the continuation of coverage
periods under the Federal FMLA and CFRA will run concurrently.

Pregnancy Disability Leave

If you:
    Are employed in California; and
    Are a female Employee who is unable to Work due to childbirth, pregnancy, or related medical conditions;
Then you may be eligible for disability leave under California Government Code Section 12945.
If you are eligible for leave under California Government Code Section 12945, coverage under the Plan will
continue during your leave. Contributions must be paid by you and your Employer.
For more information about disability leave under California Government Code Section 12945, please see your
Plan Administrator for details.

Continuation of Coverage under Federal Laws and Regulations

If coverage would otherwise terminate under this Plan, you and your Dependents may be eligible to continue
coverage under certain federal laws and regulations. See USERRA RIGHTS AND RESPONSIBILITIES,
CONTINUATION OF COVERAGE - FMLA and CONTINUATION OF COVERAGE - COBRA.
■    Can Coverage Be Reinstated?
If your coverage ended because of termination of your Service, you may be eligible for reinstatement of
coverage if you return to Service within 3 months after the date your coverage ended.
On the date you return to Service, coverage for you and your eligible Dependents will be on the same basis as
that provided for any other active Employee and his or her Dependents as of that date. However, any restrictions
on your coverage that were in effect before your reinstatement will still apply.
See USERRA RIGHTS AND RESPONSIBILITIES for information about reinstatement of coverage upon
return from leave for military service.




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HEALTH SAVINGS ACCOUNT (HSA)___
The Medical Plan is a high deductible health plan (HDHP) as defined by the HSA law (Tax Code Sec. 223).
While you are enrolled in the Medical Plan, you may be eligible to contribute to a Health Savings Account
(HSA).

Please note that you are not eligible for an HSA if you are enrolled under Medicare, can be claimed as a tax
dependent on another person's tax return or are covered by another health plan that is not a high deductible
health plan.
A Health Savings Account is a tax-advantaged account for individuals covered under a high deductible health
plan. Funds in the account may be used to pay for qualified medical expenses. These are expenses for “medical
care” as determined by the IRS that are paid by you, your spouse or your tax dependents which are not paid or
payable by any health plan coverage. The expenses must be incurred after you have opened an HSA.
“Qualified medical expenses” are determined by IRS guidelines. Information about examples of qualified
medical expenses is available through the website on your health coverage ID card, HSA Plan Administrator or
the IRS. A list of qualified health care expenses is available through www.myCigna.com.

You will have to pay income tax and a penalty tax if HSA money is used for expenses that are not considered
qualified medical expenses.
A Health Savings Account is separate and apart from the Medical Plan. Even if your Employer elects to
contribute to your HSA, the HSA is not an employer-provided health or welfare benefit plan. An HSA, once
opened, is yours to keep. You can continue to contribute to and use your HSA even after you move your
coverage to a different HDHP. However, if you are no longer enrolled in a HDHP, you may only continue to
access your money in the HSA but may no longer contribute additional money until such time that you are
enrolled in another HDHP.
Your Employer has arranged with an HSA-qualified financial institution to serve as your HSA custodian/trustee
and HSA service provider. The HSA custodian/trustee or your Employer will provide you with HSA enrollment
forms, related materials and information. To open your HSA, you must complete and submit any necessary HSA
forms required by the HSA custodian/trustee and be found to meet the HSA custodian's requirements. You also
have an option of opening your HSA with another HSA trustee or custodian of your own choosing. Further
information about the HSA is available on the IRS website at www.treas.gov.
HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - OPEN ACCESS PLUS
MEDICAL BENEFITS___
■   How Does the Plan Work?
When you select a network provider, this Plan pays a greater share of the costs than if you select a
provider that is not a network provider. For the names of network providers, contact Member Services at
the phone number or website address shown on the Member ID card. You are responsible for confirming
that a provider is a network provider.
When you receive services from a network provider, remind your provider to utilize network providers
for x-rays, lab tests and other services so that the cost may be considered at the network level.
See “Medical Management Program” for information about pretreatment authorization.




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HSA-QUALIFIED HIGH DEDUCTIBLE HEALTH PLAN - OPEN ACCESS PLUS
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MEDICAL BENEFITS___
You and your covered Dependents are encouraged, but are not required, to select a Primary Care Physician
(PCP) in the network. The PCP provides care and can assist with arranging and coordinating care. You and your
covered Dependents may obtain covered services from providers who are designated as specialists without
getting PCP approval. To select or change a PCP, contact Member Services at the phone number or website
address shown on the Member ID card.

Medical Management Program

Medical Management will review and make an authorization determination for urgent, concurrent and
prospective medical services, and prescription drug treatment for Members covered under the Plan. Medical
Management will also review the Medical Necessity of services that have already been provided.
Medical Management will determine the Medical Necessity of the care, the appropriate location or the care to be
provided, and if admitted to a Hospital, the appropriate length of stay.
As used in this provision “you” refers to the covered Member.
Network providers are responsible for contacting the Medical Management Program for pretreatment
authorization.
If the provider is not a network provider - The provider must contact the Medical Management Program for
pretreatment authorization. You must make sure that treatment is approved by the Medical Management
Program. Without pretreatment authorization, an ineligible expense penalty (see MEDICAL SCHEDULE) will
be applied to the claim.

You should contact Member Services at the phone number shown on the ID card prior to receiving non-
emergency services and supplies, to determine if pretreatment authorization is required, and for more
information about services and supplies that require pretreatment authorization.
Pretreatment authorization is not required prior to receiving Emergency Services. Medical Management must be
contacted within 48 hours after care is provided.
Pretreatment authorization is required for Hospital admissions for childbirth. However, it is not necessary to
obtain preauthorization for the 48/96-hour length of stay portion of the admission.
Certain services and supplies require pretreatment authorization, including, but not limited to:
 Air Ambulance, when used for non-Emergency Medical Conditions.
 Durable medical equipment, based on type of equipment.
 Genetic testing.
 Home health care (including IV therapy).
 Hospital admissions.
 Outpatient advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine.
 Outpatient surgery.
 Certain Medical Pharmaceuticals.
 Renal dialysis.
 Skilled nursing facilities.
 Transplant and Related Specialty Care services.
■ What's Covered? (Covered Expenses)

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MEDICAL BENEFITS___
The MEDICAL BENEFITS SCHEDULE shows deductibles any Plan maximums and Plan coinsurance payment
percentages.
The term Covered Expenses means expenses incurred by a person while covered under this Plan for services and
supplies listed below for:
  preventive care services; and
  services and supplies that are Medically Necessary for the care and treatment of an Injury or Illness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
All providers, including facilities, must be licensed in accordance with the laws of the appropriate legally
authorized agency, and acting within the scope of such license.

Emergency Room

Emergency Room
The Plan covers Emergency Services. Pretreatment authorization is not required prior to receiving Emergency
Services. Medical Management must be contacted within 48 hours after care is provided.
Inpatient Hospital Care immediately following an Emergency Room Visit

Inpatient care for Emergency Services includes both Hospital and Doctor charges for initial medical screening
examination as well as Medically Necessary treatment which is immediately required to Stabilize the Member's
condition.
Inpatient care before the Member's condition is Stabilized - When care is provided in a non-network Hospital
or by a non-network Doctor, charges for inpatient care through Stabilization will be payable at the network
Hospital coinsurance level and the network Doctor coinsurance level if the care is approved by Medical
Management. When care is provided in an out-of-area Hospital, charges for inpatient care through Stabilization
will be payable at the Network coinsurance level.
Inpatient care after the Member's condition is Stabilized - Inpatient Hospital and Doctor charges incurred after
the Member's condition is Stabilized are determined based on the network status of the provider and:
  After Stabilization in a non-network or an out-of-area Hospital, if the Member elects to be transferred to a
  network Hospital, then covered charges will be payable at the network Hospital coinsurance level and network
  Doctor coinsurance level. Any transportation costs associated with this transfer will be payable at the network
  Ambulance coinsurance level.
  After Stabilization in a non-network Hospital, if the Member elects to continue to stay in a non-network
  Hospital, then covered Hospital charges will be payable at the non-network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the non-network Hospital, then
    covered Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the non-network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.


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MEDICAL BENEFITS___
  After Stabilization in an out-of-area Hospital, if the Member elects to continue to stay in an out-of-area
  Hospital, then covered Hospital and Doctor charges will be payable at the Services Outside the Network Area
  coinsurance level.
  If the Member is admitted to a network Hospital and is under the care of a non-network Doctor, then covered
  Hospital charges will be payable at the network Hospital coinsurance level and:
  - if the Member elects to transfer care to a network Doctor associated with the network Hospital, then covered
    Doctor charges will be payable at the network Doctor coinsurance level.
  - if the Member elects to continue to receive care from a non-network Doctor associated with the network
    Hospital, then covered Doctor charges will be payable at the non-network Doctor coinsurance level.
Note: The Member's representative may make on the Member's behalf the elections referred to above.

Urgent Care

The Plan covers Urgent Care.

Office Visits and Services

The Plan covers Doctor office visits and services provided during the office visit or as a result of the office visit.
The following are considered separate from the office visit:
  Surgery performed in the office or an outpatient facility, such as but not limited to a Free-Standing Surgical
  Facility.
  Lab tests or x-rays performed in the office or in an independent or outpatient facility.
  Advanced radiology, such as MRI, MRA, PET, CT-Scan and nuclear medicine, performed in the office or in an
  outpatient facility.
  Other office services such as diagnostic services, medical supplies, injections, allergy testing and treatment.
Preventive Care

The Plan covers the following preventive care services:
  Routine physical exams by a Doctor. This includes x-ray and lab services if part of a physical exam, necessary
  immunizations and booster shots. Immunizations and booster shots for the purpose of travel or to protect
  against occupational hazards and risks are not covered.
  Pelvic exams, Pap smears and mammograms.
  Screening prostate-specific antigen (PSA) testing.
  Colorectal cancer screening.
The Plan also covers the following preventive care services as defined by recommendations from the following:
  the U.S. Preventive Services Task Force (A and B recommendations).
  the Advisory Committee on Immunization Practices (ACIP) for immunizations.
  the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
  Pediatric Preventive Health Care.
  the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children.
  with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
  Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.

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MEDICAL BENEFITS___
Breast Reconstruction and Breast Prostheses

The Plan covers reconstructive surgery following a mastectomy, including: surgical services for reconstruction
of the breast on which surgery was performed; surgical services for reconstruction of the non-diseased breast to
produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and prosthetics, limited
to the lowest cost alternative available that meets prosthetic placement needs. During all stages of mastectomy,
treatment of physical complications, including lymphedema therapy, are covered.

Reconstructive Surgery

The Plan covers charges made for reconstructive surgery or therapy to repair or correct a severe physical
deformity or disfigurement which is accompanied by functional deficit, other than abnormalities of the jaw or
conditions related to TMJ disorder, provided that: the surgery or therapy restores or improves function;
reconstruction is required as a result of Medically Necessary, noncosmetic surgery; or the surgery or therapy is
performed prior to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or
development) of a body part. Repeat or subsequent surgeries for the same condition are covered only when there
is the probability of significant additional improvement as determined by the Medical Management review.

Maternity Coverage

The Plan covers prenatal, childbirth and postnatal care. Coverage for you and your baby, if dependent coverage
is elected, includes a Hospital stay of 48 hours following a normal vaginal delivery and 96 hours following a C-
section. The 48/96 hours begin following delivery of the last newborn in case of multiple-births. When delivery
takes place outside a hospital, the 48/96 hours begin at the time of inpatient admission. The Hospital stay may be
less than the 48-hour or 96-hour minimum if a decision for early discharge is made by the attending Doctor in
consultation with the mother.
Pre-authorization is not required for the 48/96-hour Hospital stay. However, authorization is needed for a
longer stay than as described above.

Contraceptives

The Plan covers FDA-approved contraceptives prescribed for birth control, and administered or provided by a
Doctor. This includes fitting of contraceptives.
See “Prescription Drugs” for information on coverage of contraceptives purchased from a licensed pharmacy.

Family Planning

The Plan covers tubal ligations and vasectomies.

Infertility Testing

The Plan covers diagnostic testing for the purpose of diagnosing infertility.




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MEDICAL BENEFITS___
Mental Health

The Plan covers mental health services. Mental health services are services that are required to treat a disorder
that impairs behavior, emotional reaction or thought processes.

In determining benefits payable, charges made for treatment of any physiological conditions related to mental
health will not be considered to be charges made for mental health treatment.
Inpatient - The Plan covers services that are provided by a Hospital while you or your Dependent (the Member)
is confined in a Hospital for the treatment and evaluation of mental health. Inpatient mental health treatment
includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for the evaluation and treatment of
psychological and social functional disturbances that are a result of subacute mental health conditions.
A Mental Health Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of mental health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Mental Health Residential
Treatment Center when he/she is a registered bed patient in a Mental Health Residential Treatment Center upon
the recommendation of a Doctor.

Outpatient - The Plan covers services required to treat mental health, when services are provided by a qualified
provider while you or your Dependent (the Member) is not confined in a Hospital, and services are provided on
an outpatient basis in an individual or group setting or Intensive Outpatient Therapy Program. Outpatient mental
health treatment includes Partial Hospitalization Services.
A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment
provided by a certified/licensed mental health program, in accordance with the laws of the appropriate legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling 9 or more hours in a week.
Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed mental health program, in accordance with the laws of the appropriate
legally authorized agency.

Substance Use Disorders

The Plan covers substance use disorder services. A substance use disorder is a psychological or physical
dependence on alcohol or other mind-altering drugs that requires diagnosis, care and treatment.
In determining benefits payable, charges made for treatment of any physiological conditions related to substance
use disorders will not be considered to be charges made for treatment of substance use disorders.




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MEDICAL BENEFITS___
Substance Use Disorders Detoxification Services - The Plan covers detoxification and related medical ancillary
services when required for the diagnosis and treatment of addiction to alcohol and/or drugs. Medical
Management review, based on the Medical Necessity of each situation, will determine whether such services
will be provided in an inpatient or outpatient setting.
Inpatient - The Plan covers services provided for rehabilitation, while you or your Dependent (the Member) is
confined in a Hospital, when required for the diagnosis and treatment of abuse or addiction to alcohol and/or
drugs. Inpatient treatment includes Residential Treatment Services.
Residential Treatment Services are services provided by a Hospital for evaluation and treatment of
psychological and social functional disturbances that are a result of subacute substance use disorders.
A Substance Use Disorders Residential Treatment Center is an institution which: specializes in the treatment of
psychological and social disturbances that are a result of substance use disorders; provides a subacute,
structured, psychotherapeutic treatment program, under Doctor supervision; provides 24-hour care, in which a
person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally authorized
agency as a residential treatment center. A person is considered confined in a Residential Treatment Center
when he/she is a registered bed patient in a Residential Treatment Center upon the recommendation of a Doctor.
Outpatient - The Plan covers rehabilitation services required to treat abuse of or addiction to alcohol and/or
drugs, when services are provided by a qualified provider while you or your Dependent (the Member) is not
confined in a Hospital, and services are provided on an outpatient basis in an individual or group setting or
Intensive Outpatient Therapy Program. Outpatient treatment includes Partial Hospitalization Services.
A Substance Use Disorders Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment provided by a certified/licensed substance use disorders treatment program, in accordance with the
laws of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a
combination of individual, family and/or group therapy in a day, totaling 9 or more hours in a week.

Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in any 24-hour
period by a certified/licensed substance use disorders treatment program, in accordance with the laws of the
appropriate legally authorized agency.

Outpatient Therapy Services

The Plan covers:
  Charges for therapy services when provided as part of a program of treatment: cognitive therapy, hearing
  therapy, occupational therapy, osteopathic manipulation, physical therapy, pulmonary rehabilitation, speech
  therapy.
  Cardiac Rehabilitation - Charges for Phase II cardiac rehabilitation provided on an outpatient basis following
  diagnosis of a qualifying cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient
  program following an inpatient Hospital discharge. The Phase II program must be Doctor-directed with active
  treatment and EKG monitoring.
  Phase III and Phase IV cardiac rehabilitation is not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.



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MEDICAL BENEFITS___
  Chiropractic Care Services - Charges for diagnostic and treatment services utilized in an office setting by
  chiropractic Doctors. Chiropractic treatment includes the conservative management of acute
  neuromusculoskeletal conditions through manipulation and ancillary physiological treatment rendered to
  specific joints to restore motion, reduce pain and improve function. For these services you have direct access
  to qualified chiropractic Doctors.
Coverage for Outpatient Therapy Services is provided when Medically Necessary in the most medically
appropriate setting to:
  Restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Illness, Injury or loss of a body part.
  Improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions.
    This includes conditions such as autism and intellectual disability, or mental health and substance use
    disorder conditions that result in a developmental delay.
Coverage for Outpatient Therapy Services is provided as part of a program of treatment when the following
criteria are met:
  The individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  There is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  The therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  The therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for the purposes of enabling individuals to perform the
activities of daily living after an Illness or Injury.
Therapy services that are not covered include:
  Sensory integration therapy.
  Treatment of dyslexia.
  Maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  Charges for Chiropractic Care not provided in an office setting.
  Vitamin therapy.
Coverage is administered according to the following: Multiple therapy services provided on the same day
constitute one day of service for each therapy type.

Acupuncture Treatment

The Plan covers acupuncture treatment when rendered by a licensed provider. Coverage does not include
additional charges such as needles, suction cups or herbs.



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MEDICAL BENEFITS___
Home Health Care Services

The Plan covers Home Health Care Services when the Member requires skilled care, is unable to obtain the
required care as an ambulatory outpatient and does not require confinement in a Hospital or Other Health Care
Facility.

Home Health Care Services are provided only if Medical Management review has determined that the home is a
medically appropriate setting. If the Member is a minor or an adult who is dependent upon others for non-skilled
care and/or custodial services (e.g., bathing, eating, toileting), Home Health Care Services will be provided for
the person only during times when there is a family member or care giver present in the home to meet your non-
skilled care and/or custodial services needs.
Home Health Care Services are those skilled health care services that can be provided during visits by Other
Health Professionals. The services of a home health aide are covered when rendered in direct support of skilled
health care services provided by Other Health Professionals. Necessary consumable medical supplies and home
infusion therapy administered or used by Other Health Professionals in providing Home Health Care Services
are covered.
Home Health Services do not include services by a person who is a member of your family or your Dependent's
family or who normally resides in your house or your Dependent's house even if that person is an Other Health
Professional.

Skilled nursing services or private duty nursing services provided in the home are subject to the Home Health
Services benefit terms, conditions and benefit limitations. Physical therapy provided in the home is subject to
the Home Health Care Services benefit limitation described in the Schedule. Outpatient occupational, speech
and hearing therapy provided in the home is subject to the Home Health Care Services benefit limitations
described in the Schedule.
Dialysis visits in the home setting will not accumulate to the Home Health Care maximum

Hospice Care Services

Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
Hospice Care Programs rendered by Hospice Facilities or Hospitals include services:
  by a Hospice Facility for Bed and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Care Professional;
  physical, occupational and speech therapy;
  medical supplies;

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MEDICAL BENEFITS___
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;
but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Program services are not included as Covered Expenses:
  services rendered by a person who is a member of your family or your Dependent's family or who normally
  resides in your house or your Dependent's house;
  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.
Durable Medical Equipment

The Plan covers durable medical equipment, including orthopedic and prosthetic devices, that are not useful in
the absence of an Illness or Injury, not disposable, able to withstand repeated use and appropriate for use in a
Member's home.

Coverage includes repair or replacement of covered equipment only when repair or replacement is required as a
result of normal usage. Coverage for equipment rental will not exceed the equipment's purchase price.

Transplant Services and Related Specialty Care

The Plan covers charges that are approved by Medical Management for human organ and tissue transplant
services, including solid organ and bone marrow/stem cell procedures. This coverage is subject to the following
conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures are also
covered for artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane
oxygenation (ECMO) ventricular assist device (VAD) and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are not covered.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the In-Network level.




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MEDICAL BENEFITS___
Coverage for organ procurement costs is limited to costs directly related to the procurement of an organ from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.
Advanced cellular therapy, including but not limited to, immune effector cell therapies and Chimeric Antigen
Receptor Therapy (CAR-T) cellular therapy, is covered when performed at a Cigna LifeSOURCE Transplant
Network® facility with an approved stem cell transplant program. Advanced cellular therapy received at any
other facility, including non-Participating Provider facilities and Participating Provider facilities not specifically
contracted with Cigna for advanced cellular therapy, are not covered.

Transplant and Related Specialty Care Travel Services

Charges made for non-taxable travel expenses incurred by you in connection with a preapproved organ/tissue
transplant are covered subject to the following conditions and limitations:
  Transplant and related specialty care travel benefits are not available for cornea transplants.
  Benefits for transportation and lodging are available to the recipient of a preapproved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network® facility.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the designated Cigna LifeSOURCE Transplant Network® facility); and lodging while at, or
  traveling to and from, the designated Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income; travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above. Charges for the expenses of a donor companion are not covered. No transplant and
related specialty care services or travel benefits are available when the covered person is the donor for an
organ/tissue transplant, the transplant recipient's plan would cover all donor costs. Transplant travel expenses are
subject the Plan Deductible and will be applied to the calendar year out-of-pocket maximum.

Medical Pharmaceuticals

The plan covers charges for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.



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MEDICAL BENEFITS___
Benefits covered under this section are provided only for Medical Pharmaceuticals that, because of their
characteristics as determined by Cigna, require a qualified licensed health care professional to administer or
directly supervise administration.
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as an existing Medical Pharmaceutical may become available, or other market events may
occur. Market events that may affect the coverage status of a Medical Pharmaceutical include, but are not
limited to, an increase in the cost of a Medical Pharmaceutical.
Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.

The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.

The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an
exception process to allow for access to non-covered drugs when Medically Necessary.




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MEDICAL BENEFITS___
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

Gene Therapy

The Plan covers charges for gene therapy products and services directly related to their administration when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.
Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.

Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services - Charges made for non-taxable travel expenses incurred by you in connection
with a prior authorized gene therapy procedure are covered subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

Nutritional Counseling



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The Plan covers charges made for nutritional counseling when diet is a part of the medical management of a
medical or behavioral condition.

Convenience Care Clinic

Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.

Enteral Nutrition

The Plan covers enteral nutrition, including medically approved formulas prescribed by a Doctor for treatment
of inborn errors of metabolism (e.g. disorders of amino acid or organic acid metabolism).
Enteral nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.

Clinical Trials

The Plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  the referring health care professional is a participating health care provider and has concluded that the
  individual's participation in such trial would be appropriate; or
  the individual provides medical and scientific information establishing that the individual's participation in the
  clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.

The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  it is a federally funded trial. The study or investigation is approved or funded (which may include funding
  through in-kind contributions) by one or more of the following:
  - National Institutes of Health (NIH).
  - Centers for Disease Control and Prevention (CDC).
  - Agency for Health Care Research and Quality (AHRQ).
  - Centers for Medicare and Medicaid Services (CMS).
  - a cooperative group or center of any of the entities described above or the Department of Defense (DOD) or
     the Department of Veterans Affairs (VA).
  - a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
     both of the following conditions are met:
     * the study or investigation has been reviewed and approved through a system of peer review comparable to
        the system of peer review of studies and investigations used by the National Institutes of Health (NIH);
        and
     * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.

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  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA).
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The Plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs.
  - an item or service that is not used in the direct clinical management of the individual.
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the Plan, including but not limited to the
  following: fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;
  mileage reimbursement for driving a personal vehicle; lodging; meals.
  routine patient costs obtained out-of-network when out-of-network (non-network) benefits do not exist under
  the Plan.
Examples of routine patient care costs and services include:
  radiological services.
  laboratory services.
  intravenous therapy.
  anesthesia services.
  Doctor services.
  office services.
  Hospital services.
  Room and Board, and medical supplies that typically would be covered under the Plan for an individual who is
  not enrolled in a clinical trial.
Clinical trials conducted by out-of-network (non-network) providers will be covered only when the following
conditions are met:
  in-network providers are not participating in the clinical trial; or
  the clinical trial is conducted outside the individual's state of residence.
Obesity Treatment

The Plan covers charges made for medical and surgical services for the treatment or control of clinically severe
(morbid) obesity as defined below and if the services are demonstrated, through existing peer reviewed,
evidence based, scientific literature and scientifically based guidelines, to be safe and effective for the treatment
or control of the condition.
Clinically severe (morbid) obesity is defined by the National Heart, Lung and Blood Institute (NHLBI) as a
Body Mass Index (BMI) of 40 or greater without comorbidities, or a BMI of 35-39 with comorbidities.
The following are specifically excluded:
  medical and surgical services to alter appearances or physical changes that are the result of any medical or
  surgical services performed for the treatment or control of obesity or clinically severe (morbid) obesity.

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MEDICAL BENEFITS___
  weight loss programs or treatments, whether or not they are prescribed or recommended by a Doctor or under
  medical supervision.
Prescription Drug Benefits

As used in this Prescription Drug Benefits section, any reference to “you” or “your” means you and your
covered Dependent(s) (the Member).
The Plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding the Plan's
covered expenses, which for the purpose of Prescription Drug Benefits includes Medically Necessary
Prescription Drug Products ordered by a Doctor, limitations and exclusions are provided in the PRESCRIPTION
DRUG BENEFITS SCHEDULE and as described in this booklet.
If you, while covered under the Plan for prescription drug benefits, incur expenses for charges made by a
Pharmacy for Medically Necessary Prescription Drug Products ordered by a Doctor, the Plan provides coverage
for those expenses as shown in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Your benefits may vary
depending on which of the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy
that provides the Prescription Drug Product.

The drug benefit includes coverage of contraceptives.
Coverage under the Plan's prescription drug benefit also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you by a licensed Dentist for the
prevention of infection or pain in conjunction with a dental procedure.

When you are issued a Prescription Order or Refill for Medically Necessary Prescription Drug Products as part
of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled by a Network
Pharmacy, the Prescription Order or Refill will be covered by the Plan at the cost-share requirements applicable
to a Network Pharmacy.
Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable deductible, copay
and/or coinsurance shown on the PRESCRIPTION DRUG BENEFITS SCHEDULE. Please refer to that
SCHEDULE for any required deductible, copay and/or coinsurance, and any out-of-pocket maximums.

Deductible - Your Plan requires that you pay the costs for covered Prescription Drug Products up to the
deductible amount set forth in the PRESCRIPTION DRUG BENEFITS SCHEDULE. Until you meet that
deductible amount, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy will be the lowest of the following amounts:
  the Prescription Drug Charge; or
  the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
The SCHEDULE sets forth your costs for covered Prescription Drug Products after you have satisfied the
deductible amount.
Copay - Your Plan requires that you pay a copay for covered Prescription Drug Products as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE. After satisfying any applicable annual deductible set forth in
the SCHEDULE, your costs under the Plan for a covered Prescription Drug Product dispensed by a Network
Pharmacy and that is subject to a copay requirement will be the lowest of the following amounts:
  the copay for the Prescription Drug Product set forth in the SCHEDULE; or

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MEDICAL BENEFITS___
  the Prescription Drug Charge; or
  the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
When a treatment regimen contains more than one type of Prescription Drug Product packaged together for your
convenience, any applicable copay and/or coinsurance may apply to each Prescription Drug Product.

You will need to obtain prior approval from Cigna or its Review Organization for a Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for a Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in the
PRESCRIPTION DRUG BENEFITS SCHEDULE.
Your Plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a Network Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the Network Pharmacy
will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible for payment
of only a Generic Drug copay and/or coinsurance, after satisfying your deductible, if any.
Prescription Drug List Management
Your Plan's Prescription Drug List may contain Prescription Drug Products that are Generic Drugs, Brand Drugs
or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug Product on the
Prescription Drug List and utilization management requirements or other coverage conditions are based on a
number of factors which may include clinical and economic factors. Clinical factors may include, but are not
limited to, the P&T Committee's evaluations of the place in therapy, relative safety or relative efficacy of the
Prescription Drug Product, as well as whether certain supply limits or other utilization management
requirements should apply. Economic factors may include, but are not limited to, the Prescription Drug Product's
acquisition cost including, but not limited to, assessments on the cost effectiveness of the Prescription Drug
Product and available rebates. Regardless of its eligibility for coverage under the Plan, whether a particular
Prescription Drug Product is appropriate for you is a determination that is made by you and the prescribing
Doctor.
The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purpose of benefits the Plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy(ies) for coverage, or try another covered Prescription
Drug Product(s). You may access the website or contact Member Services at the phone number on your ID card
for the most up-to-date tier status, utilization management, or other coverage limitations for a Prescription Drug
Product.
New Prescription Drug Products




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MEDICAL BENEFITS___
New Prescription Drug Products may or may not be placed on a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in the Schedule.
Prior Authorization Requirements
Coverage for certain Prescription Drug Products prescribed to you requires your Doctor to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization is to
determine whether the Prescription Drug Product is Medically Necessary in accordance with coverage criteria.
Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the Prescription
Order or Refill is submitted, and may change periodically based on changes in, without limitation, clinical
guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or is otherwise excluded, the Plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.
When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Doctor are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from Cigna or its Review Organization before the Prescription Drug Product is dispensed by the
Pharmacy, you can ask Cigna or its Review Organization to consider reimbursement after you pay for and
receive the Prescription Drug Product. You will need to pay for the Prescription Drug Product at the Pharmacy
prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.
If a prior authorization request is approved, your Doctor will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the Plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Doctor advises you that coverage for the Prescription Drug Product has been approved, you
can contact a Pharmacy to fill the covered Prescription Order or Refill.
If the prior authorization request is denied, you and your Doctor will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with Plan provisions by submitting a written request stating why the Prescription Drug
Product should be covered.
Step Therapy




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Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first, unless you satisfy the Plan's exception criteria. You may identify whether a particular Prescription Drug
Product is subject to step therapy requirements through the website or by contacting Member Services at the
phone number shown on your ID card.

Supply Limits
Benefits for Prescription Drug Products are subject to supply limits stated in the SCHEDULE. For a single
Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.
Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit, or similar
limit or requirement through the website or by contacting Member Services at the phone number shown on your
ID card.
Specialty Prescription Drug Products
Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Drug Products, you may
be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those Specialty Drug
Products.
Designated Pharmacies
If you require certain Prescription Drug Products, including but not limited to, Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy the Prescription Drug Product may not be covered, or
the Prescription Drug Product may be subject to the non-network pharmacy benefit as shown on the
SCHEDULE.

Miscellaneous Medical Services and Supplies
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a rehabilitation Hospital or a subacute facility.
  charges for licensed Ambulance service to the nearest Hospital where the needed medical care and treatment
  can be provided.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment at a Free-Standing Surgical Facility.
  charges by a Doctor for professional services.
  charges by a nurse for professional nursing services.
  charges for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.


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  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for laboratory services, radiation therapy and other diagnostic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges for Medically Necessary foot care for diabetes, peripheral neuropathies, and peripheral vascular
  disease.
  charges for general anesthesia and associated facility charges for dental procedures when determined to be
  Medically Necessary.
  charges for Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or
  disfigurement.
Virtual Care
Dedicated Virtual Providers
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring by dedicated virtual providers as medically appropriate through audio, video and secure internet-
based technologies.
Includes charges for the delivery of mental health and substance use disorder-related services, consultations, and
remote monitoring by dedicated virtual providers as appropriate through audio, video and secure internet-based
technologies.
Virtual Physician Services
Includes charges for the delivery of real-time medical and health-related services, consultations and remote
monitoring as medically appropriate through audio, video and secure internet-based technologies that are similar
to office visit services provided in a face-to-face setting.
Includes charges for the delivery of real-time mental health and substance use disorder consultations and
services, via secure telecommunications technologies that shall include video capability, telephone and internet,
when such consultations and services are delivered by a behavioral provider and are similar to office visit
services provided in a face-to-face setting.




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BENEFIT LIMITATIONS___
General Limitations and Exclusions

No amount will be payable for:
  any charge not included as a covered expense under the Plan.
  charges which would not have been made if the Member did not have coverage.
  charges which you are not obligated to pay and/ or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible and /or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense without Cigna's express
    consent.
  - charges of a non-Participating Provider who has agreed to charge you at an in-network benefits level or
    some other benefits level not otherwise applicable to the services received.
  - In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
    right to:
    * require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient
       to Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
       Cigna.
    * deny the payment of benefits in connection with the Covered Expense regardless of whether the provider
       or the Pharmacy represents that you remain responsible for any amounts that your plan does not cover, or
    * reduce the benefits in proportion to the amount of the Deductible, Copay or Coinsurance amount(s)
       waived, discounted, forgiven or reduced, regardless of whether the provider or Pharmacy represents that
       you remain responsible for any amounts that the Plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  treatment of an Illness or Injury which is due to war, declared or undeclared or insurrection.
  services, drugs and supplies that are not Medically Necessary.
  experimental, investigational or unproven services, or in connection with experimental, investigational or
  unproven services.
  Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance
  use disorder or other health care technologies, supplies, treatments, procedures, drugs or Biologic therapies or
  devices that are determined by the utilization review Doctor to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition, sickness, Injury or Illness for which its use is proposed; or
  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in this Plan's Clinical Trial benefit provision; or
  - the subject of an ongoing phase I, II or III clinical trial, except for routine patient care costs related to
    qualified clinical trials as provided in this Plan's Clinical Trial benefit provision.
  In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
  experimental, investigational and/or unproven, the utilization review Doctor may rely on the clinical coverage
  policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
  without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved
  labeling, the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or
  guidelines.
  care for health conditions required by state or local law to be treated in a public facility.

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  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if the Member is legally entitled
  to such treatment and facilities are reasonably available.
  charges made by a Hospital owned or operated by or which provides care or performs services for, the United
  States Government, if such charges are directly related to a military-service-connected Injury or Illness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent of the exclusions imposed by any certification requirement (such as Medical Management
  requirements) shown in this Plan.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or urgent
  care while temporarily traveling abroad.
  charges made by any covered provider who is a member of your family or your Dependent's family.
  for or in connection with an Injury or Illness arising out of, or in the course of, any employment for wage or
  profit.
  reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
  not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
  evaluations, unless otherwise covered under this plan.
  court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
  service or supply under this Plan.
  medical and Hospital care costs for the child of your Dependent child, unless the child is otherwise eligible
  under this Plan.
Medical Benefit Limitations and Exclusions

No amount will be payable for:
  any amount that is more than the Maximum Reimbursable Charge.
  custodial care of a Member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastrostomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastrostomy,
  tracheostomy and casts.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem. However, reconstructive surgery and therapy are covered as
  provided in the “Reconstructive Surgery” benefit.
  the following are excluded from coverage regardless of clinical indications (except as may be covered under
  the “Reconstructive Surgery” benefit): macromastia or gynecomastia surgeries; abdominoplasty;
  panniculectomy; rhinoplasty; blepharoplasty; redundant skin surgery; removal of skin tags; acupressure;
  craniosacral/cranial therapy; dance therapy, movement therapy; applied kinesiology; rolfing; prolotherapy; and
  extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic conditions.
  surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. Charges made for services or supplies provided for or in connection with an accidental Injury to
  teeth are covered provided a continuous course of dental treatment is started within six months of an accident.

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 medical and surgical services, initial and repeat, intended for the treatment or control of obesity, except for
 treatment of clinically severe (morbid) obesity as described in the “Obesity Treatment” benefit.
 infertility testing (except as described in the Infertility Testing provision), infertility services, infertility drugs,
 surgical or medical treatment programs for infertility, including in-vitro fertilization, gamete intrafallopian
 transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of these procedures, and any costs associated
 with the collection, washing, preparation or storage of sperm for artificial insemination (including donor fees).
 Cryopreservation of donor sperm and eggs are also excluded from coverage.
 reversal of male and female voluntary sterilization procedures.
 elective abortions.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 non-medical counseling and/or ancillary services, including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs and driver safety
 courses.
 therapy or treatment intended primarily to improve or maintain general physical condition or for the purpose
 of enhancing job, school, athletic or recreational performance, including but not limited to routine, long term,
 or maintenance care which is provided after the resolution of the acute medical problem and when significant
 therapeutic improvement is not expected.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, skin preparations and test strips, except as
 specified in the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” benefits.
 private Hospital rooms and/or private duty nursing except as provided in the “Home Health Care Services”
 benefit.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Illness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs.
 hearing aids, including but not limited to semi-implantable hearing devices, audiant bone conductors and Bone
 Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies sound.
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre- recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses or the first set of
 eyeglass lenses and frames, and associated services, for treatment of keratoconus or following cataract
 surgery).
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs or smoking cessation programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.
 fees associated with the collection, storage or donation of blood or blood products, except for autologous
 donation in anticipation of scheduled services when medical management review determines the likelihood of
 excess blood loss is such that transfusion is an expected adjunct to surgery.

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BENEFIT LIMITATIONS___
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  blood administration for the purpose of general improvement in physical condition.
  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  all nutritional supplements, formulae, enteral feedings, supplies and specially formulated medical foods,
  whether prescribed and not, except as specifically provided in the “Enteral Nutrition” benefit.
  massage therapy.
  all non-injectable prescription drugs unless Doctor administration or oversight is required, injectable
  prescription drugs to the extent they do not require Doctor supervision and are typically considered self-
  administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
  the Plan.
  Products and supplies associated with the administration of medications that are available to be covered under
  the Prescription Drug Benefit. Such products and supplies include but are not limited to therapeutic
  Continuous Glucose Monitor (CGM) sensors and transmitters and insulin pods.
  expenses incurred by a participant to the extent reimbursable under automobile insurance coverage. Coverage
  under this Plan is secondary to automobile no-fault insurance or similar coverage. The coverage provided
  under this Plan does not constitute “Qualified Health Coverage” under Michigan law and therefore does not
  replace Personal Injury Protection (PIP) coverage provided under an automobile insurance policy issued to a
  Michigan resident. This Plan will cover expenses only not otherwise covered by the PIP coverage.
Prescription Drug Benefit Limitations and Exclusions

Coverage exclusions listed under “Medical Benefit Limitations and Exclusions” and “General Limitations and
Exclusions” also apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply
to benefits for Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription
Drug Products, you can access the Prescription Drug List through the website shown on your ID card or call
Member Services at the telephone number on your ID card for information on which Prescription Drug Products
are excluded.
No amount will be payable for:
  coverage for Prescription Drug Products for an amount dispensed (days' supply) which exceeds the applicable
  supply limit or is less than any applicable supply minimum as set forth in the SCHEDULE, or which exceeds
  quantity limit(s) or dosage limit(s) set by the P&T Committee.
  more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
  Drug Product prescribed by one or more Doctors and dispensed by one or more Pharmacies.
  Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
  emergency or urgent care treatment.
  Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to a
  Member who is a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
  similar institution which operates on its premises or allows to be operated on its premises a facility for
  dispensing pharmaceutical products.
  Prescription Drug Products furnished by the local, state or federal government (except for a Network
  Pharmacy owned or operated by local, state or federal government).
  any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
  prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.
  medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
  medications used to promote hair growth, and fade cream products.
  Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
  lost, stolen, broken or destroyed.

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BENEFIT LIMITATIONS___
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 Prescription Drug Products used for the treatment of infertility.
 Medical Pharmaceuticals covered solely under the Plan's medical benefit.
 Prescription Drug Products used for the treatment of male or female sexual dysfunction, including but not
 limited to erectile dysfunction, delayed ejaculation, anorgasmy, hypoactive sexual desire disorder and
 decreased libido.
 Any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food
 and Drug Administration (FDA).
 medications available over-the-counter (OTC) that do not require a Prescription Order or Refill by state or
 federal law before being dispensed, unless state or federal law requires coverage of such medications or the
 OTC medication has been designated as eligible for coverage as if it were a Prescription Drug Product.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
 counter (OTC) drug(s), or are available in OTC form. Such coverage determinations may be made
 periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
 may be reinstated at any time.
 any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
 of disease, even when used for the treatment of Illness or Injury, unless coverage for such product(s) is
 required by state or federal law.
 medications used for travel prophylaxis unless specifically identified on the Prescription Drug List.
 immunization agents, virus detection testing, virus antibody testing, biological products for allergy
 immunization, biological sera, blood, blood plasma and other blood products or fractions unless specifically
 identified on the Prescription Drug List.
 smoking cessation medications, except those required by federal law to be covered as PPACA Preventive Care
 Medications.
 certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
 covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
 for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
 time.
 medications that are experimental, investigational or unproven as described in the Plan's General Limitations
 section.




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CLAIMS & LEGAL ACTION___
■   How To File Claims
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf.
A claim form can be requested from the Plan Administrator, through the website address or by calling Member
Services at the phone number shown on your ID card. Complete and accurate claim information is necessary to
avoid claim processing delays.

Timely Filing of Claims

Cigna will consider claims for coverage, other than Network coverage, under the Plan when proof of loss (a
claim) is submitted within 180 days after expenses are incurred. If expenses are incurred on consecutive days,
such as for a Hospital confinement, the limit will be counted from the last date expenses are incurred. If the
claim is not submitted within the specified time period, it will not be considered valid and will be denied.

Medical Benefits

When using a network provider, you do not need to file a claim if you present your ID card. The network
provider will file the claim. When using other providers, claims can be submitted by the provider if the provider
is willing and able to file on your behalf. If the provider is not submitting on your behalf, you must send the
completed claim form and itemized bills to the address shown on your ID card.

Prescription Drug Benefits

When you purchase covered Prescription Drug Products through a Network Pharmacy, you pay at the time of
purchase any applicable deductible, copay or coinsurance shown in the SCHEDULE. You do not need to file a
claim form for a Prescription Drug Product obtained at a Network Pharmacy, unless you pay the full cost of a
Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the Prescription Drug
Product under the Plan or you dispute the accuracy of your payment.
For example, if you must pay the full cost of a Prescription Drug Product to the retail Network Pharmacy
because you did not have your ID card, then you must submit a claim to Cigna for any reimbursement or benefit
you believe is due to you under this Plan. If, under this example, your payment to the retail Network Pharmacy
for the covered Prescription Drug Product exceeds any applicable copay, then you will be reimbursed the
difference, if any, between the applicable copay and the Prescription Drug Charge for the Prescription Drug
Product.
If you obtain a covered Prescription Drug Product dispensed by a non-network Pharmacy, then you must pay the
non-network Pharmacy for the Prescription Drug Product and then submit a claim to Cigna for any
reimbursement or benefit you believe is due to you under this Plan. You can obtain a claim form through the
website or by calling Members Services at the phone number shown on your ID card.
■   Claim Determinations and Appeal Procedures
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.




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You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna in its role as benefits administrator, may require you to designate your authorized representative
in writing using a form approved by Cigna. At all times, the appointment of an authorized representative is
revocable by you. To ensure that a prior appointment remains valid, Cigna may require you to re-appoint your
authorized representative, from time to time.
Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that the signature on an authorized representative form may not be yours; or the authorized representative may
not have disclosed to you all of the relevant facts and circumstances relating to the overpayment or
underpayment of any claim, including, for example, that the billing practices of the provider of services may
have jeopardized your coverage through the waiver of the cost-sharing amounts that you are required to pay
under the Plan.
If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

Medical Necessity Determinations

In general, health services and benefits must be Medically Necessary to be covered under the Plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested and the
type of health plan. Medical Necessity determinations are made on either a preservice, concurrent or postservice
basis.
Certain services and benefits require prior authorization. You or your representative (typically your health care
provider) must request prior authorization according to the procedures described in this provision, in the
MEDICAL MANAGEMENT PROGRAM section of this Plan booklet, and in the health care provider's network
participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
this Plan booklet, in the provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a covered expense, is authorized for coverage by the Plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this Plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on your eligibility as of the date services were rendered to you and the terms and conditions of the
Plan in effective as of the date services were rendered to you.

Pre-Service Determinations




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When you or your representative request a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
to make a determination due to matters beyond Cigna's control, Cigna will notify you or your representative
within 15 days after receiving your request. This notice will include the date a determination can be expected,
which will be no more than 30 days after receipt of the request. If more time is needed because necessary
information is missing from the request, the notice will also specify what information is needed, and you or your
representative must provide the specified information to Cigna within 45 days after receiving the notice. The
determination period will be suspended on the date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your representative respond to the notice.
If the determination periods above would seriously jeopardize your life or health, ability to regain maximum
function; or in the opinion of a health care provider with knowledge of your health condition, cause you severe
pain which cannot be managed without the requested care; then Cigna will make the pre-service determination
on an expedited basis. Cigna will defer to the determination of the treating health care provider, regarding
whether an expedited determination is necessary. Cigna will notify you or your representative of an expedited
determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information within 48 hours after receiving the notice. Cigna will notify you or your
representative of the expedited benefit determination within 48 hours after you or your representative responds
to the notice. Expedited determinations may be provided orally, followed within 3 days by written or electronic
notification.
If you or your representative attempts to request a pre-service determination, but fails to follow Cigna's
procedures for requesting a required pre-service determination, Cigna will notify you or your representative of
the failure within 5 days (or 24 hours, if an expedited determination is required, as described above) after
receiving the request and describe the proper filing procedures. This notice may be provided orally, unless
written notice is requested.

Concurrent Determinations

When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours of
receiving the request.

Post-Service Determinations




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When you or your representative requests a coverage determination or claim payment determination after care
has been provided, Cigna will notify you or your representative of the determination within 30 days after
receiving the request. However, if more time is needed to make a determination due to matters beyond Cigna's
control, Cigna will notify you within 30 days after receiving the request. This notice will include the date a
determination can be expected, which will be no more than 45 days after receipt of the request. If more time is
needed because necessary information is missing from the request, the notice will also specify what information
is needed, and you or your representative must provide the specified information to Cigna within 45 days after
receiving the notice. The determination period will be suspended on the date Cigna sends such a notice of
missing information, and the determination period will resume on the date you or your representative responds
to the notice.

Notice of Adverse Determination

Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that apply to the determination: information sufficient to identify the claim, including, if
applicable, the date of service, provider and claim amount; the specific reason or reasons for the adverse
determination including, if applicable, the denial code and its meaning and a description of any standard that
was used in the denial; reference to the specific Plan provisions on which the determination is based; a
description of any additional material or information necessary to perfect the claim and an explanation of why
such material or information is necessary; a description of the Plan's review procedures and the applicable time
limits, including a statement of the claimant's right to bring a civil action under ERISA Section 502(a) following
an adverse benefit determination on appeal, if applicable; upon request and free of charge, a copy of any internal
rule, guideline, protocol or other similar criterion that was relied upon in making the adverse determination
regarding your claim, and an explanation of the scientific or clinical judgment for a determination that is based
on Medical Necessity, experimental treatment or other similar exclusion or limit; a description of any available
internal appeal and/or external review process(es); information about any office of health insurance consumer
assistance or ombudsman available to assist you with the appeal process; in the case of a claim involving urgent
care, a description of the expedited review process applicable to such claim.
COMPLAINTS and APPEALS - Cigna has a process for addressing your concerns.

Start with Customer Service

If you have a concern regarding a person, a service, the quality of care, contractual benefits, or a rescission of
coverage, you may call Customer Service at the phone number shown on your ID card, explanation of benefits
or claim form and explain your concern to a Customer Service representative. You may also express that
concern in writing.
Customer Service will make every effort to resolve the matter on your initial contact. If more time is needed to
review or investigate your concern, a response will be provided to you as soon as possible, but in any case
within 30 days. If you are not satisfied with the results of a coverage decision, you may start the appeals
procedure.

Internal Appeals Procedure




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To initiate an appeal of an adverse benefit determination, you must submit a request for an appeal to Cigna
within 180 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for an ongoing
course of treatment that Cigna previously approved, you will receive, as required by applicable law, continued
coverage pending the outcome of an appeal.
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask Cigna to register your appeal by
telephone. Call Customer Service at the phone number shown on your ID card, explanation of benefits or claim
form.
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by a health care professional.
Cigna will respond in writing with a decision within 30 calendar days after receipt of an appeal for a required
preservice or concurrent care coverage determination, or a postservice Medical Necessity determination. Cigna
will respond within 60 calendar days after receipt of an appeal for any other postservice coverage determination.
If more time or information is needed to make the determination, Cigna will notify you in writing to request an
extension of up to 15 calendar days and to specify any additional information needed to complete the review.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, this information will be provided automatically to you as soon as possible and
sufficiently in advance of the decision, so that you will have an opportunity to respond. Also, if any new or
additional rationale is considered by Cigna, Cigna will provide the rationale to you as soon as possible and
sufficiently in advance of the decision so that you will have an opportunity to respond.

You may request that the appeal process be expedited if the timeframes under this process would seriously
jeopardize your life, health or ability to regain maximum functionality or in the opinion of your health care
provider would cause you severe pain which cannot be managed without the requested care. If you request that
your appeal be expedited, you may also ask for an expedited external Independent Review at the same time, if
the time to complete an expedited internal appeal would be detrimental to your medical condition.
When an appeal is expedited, Cigna will respond orally with a decision within 72 hours, followed up in writing.
If you are dissatisfied with the internal appeal, you may request that your appeal be referred to an independent
review organization, as described in the External Review Procedure provision.

External Review Procedure

If you are not fully satisfied with the decision of Cigna's internal appeal review and the appeal involves medical
judgment or a rescission of coverage, you may request that your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are not employed by Cigna or any of its affiliates. A
decision to request an external review to an IRO will not affect the claimant's rights to any other benefits under
the Plan. There is no charge for you to initiate an external review. Cigna and your benefit plan will abide by the
decision of the IRO.
To request a review, you must notify Cigna's Appeals Coordinator within 4 months of receipt of Cigna's appeal
review denial. Cigna will then forward the file to a randomly selected IRO. The IRO will render a decision
within 45 days.




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When requested, and if a delay would be detrimental to your medical condition, as determined by Cigna's
reviewer; or if your appeal concerns an admission, availability of care, continued stay, or health care item or
service for which you received emergency services, but you have not yet been discharged from a facility; the
external review will be completed within 72 hours.

Notice of Benefit Determination on Appeal

Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, including, if applicable, the date of
service, provider and claim amount; the specific reason or reasons for the adverse determination including, if
applicable, the denial code and its meaning and a description of any standard that was used in the denial;
reference to the specific Plan provisions on which the determination is based; a statement that the claimant is
entitled to receive, upon request and free of charge, reasonable access to and copies of all documents, records,
and other Relevant Information as defined below; a statement describing any voluntary appeal procedures
offered by the Plan and the claimant's right to bring a civil action under ERISA Section 502(a), if applicable;
upon request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that
was relied upon in making the adverse determination regarding your appeal, and an explanation of the scientific
or clinical judgment for a determination that was based on Medical Necessity, experimental treatment or other
similar exclusion or limit; information about any office of health insurance consumer assistance or ombudsman
available to assist you with the appeal process.
If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the decision on review. You or your Plan may have other voluntary dispute resolution
options, such as mediation. One way to find out what may be available is to contact your local U.S. Department
of Labor Office. You may also contact the Plan Administrator.
“Relevant Information” means any document, record or other information that: was relied upon in making the
benefit determination; was submitted, considered or generated in the course of making the benefit determination,
without regard to whether such document, record, or other information was relied upon in making the benefit
determination; demonstrates compliance with the administrative processes and safeguards required by federal
law in making the benefit determination; constitutes a statement of policy or guidance with respect to the Plan
concerning the denied treatment option or benefit for the claimant's diagnosis, without regard to whether such
advice or statement was relied upon in making the benefit determination.

Legal Action

If your Plan is governed by ERISA, you have the right to bring a civil action under ERISA Section 502(a) if you
are not satisfied with the outcome of the Appeals Procedure. In most instances, you may not initiate a legal
action against Cigna until you have completed the appeal processes, as applicable. Legal action must be taken
for network expenses within 3 years after a claim is submitted, and for expenses other than network expenses
within 3 years after proof of claim is required under the Plan.
■   What If a Member Has Other Coverage? (Coordination of Benefits)
This Coordination of Benefits provision applies if you or any one of your Dependents is covered under more
than one Plan, and determines how benefits payable from all Plans will be coordinated. Claims should be filed
with each Plan.
As used in this provision, references to “you” or “your” refers to each covered Member.


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Under this provision, total payments from the Primary and Secondary Plans will never be more than the
expenses actually incurred.

Definitions

For the purpose of this provision, the following terms have the meanings described here:
  “Plan” means any of the following that provides health care benefits, services or treatment:
  - this Plan.
  - group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
    by the general public, nor is individually underwritten, including Closed Panel coverage.
  - non-group insurance and subscriber contracts.
  - coverage under Medicare and other governmental benefits as permitted by law, except Medicaid and
    Medicare supplement policies.
  - health care benefits coverage of group, group-type and individual automobile contracts.
  Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
  “Closed Panel Plan” means a Plan that provides health care benefits primarily in the form of services or
  supplies through a panel of employed or contracted providers, and that limits or excludes benefits provided
  outside of the panel, except in the case of emergency or if referred by a provider within the panel.
  “Primary Plan” means the Plan that determines and provides or pays benefits without taking into consideration
  the existence of any other Plan.
  “Secondary Plan” means a Plan that determines, and may reduce its benefits after taking into consideration,
  the benefits provided or paid by the Primary Plan. A Secondary Plan may also recover from the Primary Plan
  the Reasonable Cash Value of any services it provided to you.
  “Allowable Expense” means the amount of charges considered for payment under the Plan for a covered
  service prior to any reductions due to deductible, copay or coinsurance amount(s). If Cigna contracts with an
  entity to arrange for the provision of covered services through that entity's contracted network of health care
  providers, the amount that Cigna has agreed to pay that entity is the allowable amount used to determine your
  deductible, copay or coinsurance payment(s). If the Plan provides benefits in the form of services, the
  Reasonable Cash Value of each service is the Allowable Expense and is a paid benefit.
  Examples of expenses or services that are not Allowable Expenses include, but are not limited to, the
  following:
  - An expense or service or a portion of an expense or service that is not covered by any of the Plans is not an
    Allowable Expense.
  - The difference between the cost of a private Hospital room and a semiprivate Hospital room, unless the
    patient's stay in a private Hospital room is Medically Necessary, is not an Allowable Expense.
  - If you are covered by two or more Plans that provide services or supplies on the basis of reasonable and
    customary fees, any amount in excess of the highest reasonable and customary fee is not an Allowable
    Expense.
  - If you are covered by one Plan that provides services or supplies on the basis of reasonable and customary
    fees and one Plan that provides services and supplies on the basis of negotiated fees, the Primary Plan's fee
    arrangement is the Allowable Expense.
  - If your benefits are reduced under the Primary Plan (through imposition of a higher copayment amount,
    higher coinsurance percentage, a deductible and/or a penalty) because you did not comply with Plan
    provisions or because you did not use a preferred provider, the amount of the reduction is not an Allowable
    Expense. Such Plan provisions include second surgical opinions and precertification of admissions or
    services.


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  “Claim Determination Period” means a calendar year, but does not include any part of a year during which you
  are not covered under this Plan or any date before this provision or any similar provision takes effect.
  “Reasonable Cash Value” means an amount which a duly licensed provider of health care services or supplies
  usually charges patients and which is within the range of fees usually charged for the same service or supply
  by other health care providers located within the immediate geographic area where the health care service or
  supply is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules

A Plan that does not have a coordination of benefits rule consistent with this provision will always be the
Primary Plan.
If the Plan has a coordination of benefits rule consistent with this provision, the first of the following rules that
applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee is the Primary Plan and the Plan that covers you as a
  dependent is the Secondary Plan.
  If you are a dependent child whose parents are not divorced or legally separated, the Primary Plan is the Plan
  that covers the parent whose birthday falls first in the calendar year as an enrollee or employee.
  If you are the dependent of divorced or separated parents, benefits for the Dependent are determined in the
  following order:
  - first, if a court decree states that one parent is responsible for the child's health care expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's dependent) is the Primary Plan and the
  Plan that covers you as a laid-off or retired employee (or as that employee's dependent) is the Secondary Plan.
  If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  The Plan that covers you under a right of continuation provided by federal or state law is the Secondary Plan
  and the Plan that covers you as an active employee or retiree (or as that employee's dependent) is the Primary
  Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on the order of
  benefit determination, this paragraph does not apply.
  If one of the Plans determines the order of benefits based on the gender of a parent, and as a result, the Plans
  do not agree on the order of benefit determination, the Plan with the gender rule determines the order of
  benefits.
If none of the above rules determine the order of benefits, the Plan that has covered you for a longer period of
time is the Primary Plan.
When coordinating benefits with Medicare, this Plan is the Secondary Plan and determines benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above are used to determine how benefits
will be coordinated.

Effect on the Benefits of This Plan



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The Coordination of Benefits provision is applied throughout each Claim Determination Period.
If this Plan is the Secondary Plan, this Plan may reduce benefits so that the total benefits paid by all Plans during
a Claim Determination Period are not more than 100% of the total of all Allowable Expenses.
If this Plan is the Secondary Plan, it pays the lesser of:
    the Allowable Expenses that were not reimbursed under the other Plan; or
    the amount this Plan would have paid if there were no other coverage.
When the benefits of a government Plan are taken into consideration, the Allowable Expense is limited to the
benefits provided by that Plan.
When the Coordination of Benefits provision reduces the benefits payable under this Plan, each benefit will be
reduced proportionately and only the reduced amount will be charged against any benefit limits under this Plan.

Recovery of Excess Benefits

If this Plan pays charges for benefits that should have been paid by the Primary Plan, or if this Plan pays charges
in excess of those for which this Plan is obligated to pay, this Plan has the right to recover the actual payment
made or the Reasonable Cash Value of any services.
This Plan may seek recovery from any person to, or for whom, or with respect to whom, such services or
supplies were provided or such payments made by any insurance company, health care plan or other
organization. If requested, you must execute and deliver to this Plan any such instruments and documents as
determined necessary to secure the right of recovery.

Right to Receive and Release Information

Without consent or notice to you, information may be obtained from you, and information may be released to
any other Plan with respect to you, in order to coordinate your benefits pursuant to this provision. You must
provide any information requested in order to coordinate your benefits pursuant to this provision. This request
may occur in connection with a submitted claim; if so you will be advised that the “other coverage” information,
including an explanation of benefits paid under another Plan, is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
■    Coordination of Benefits with Medicare
If you, your spouse or your Dependent is covered under this Plan and qualify for Medicare, federal law
determines which plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the primary plan has completed its determination.

When Medicare is the Primary Payer

Medicare will be the primary payer and this Plan will be the secondary payer, even if you or your spouse or your
Dependent do not elect to enroll in Medicare or you or your spouse or your Dependent receive services from a
provider who does not accept Medicare payments (see IMPORTANT NOTE below), in the following situations:
    COBRA or State Continuation: You, your spouse or your covered Dependent qualify for Medicare for any
    reason and are covered under this Plan due to COBRA or state continuation of coverage.

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  Retirement or Termination of Employment: You, your spouse or your covered Dependent qualify for Medicare
  for any reason and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will be the primary
  payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
When this Plan is the Primary Payer

This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse or your covered Dependent qualify for Medicare due to a disability, you are an
  active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse or your covered Dependent qualify for Medicare due to age, you are an active
  Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse or your covered Dependent qualify for Medicare due to
  End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is the primary payer
  for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners

Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a domestic partner, Cohabiters as defined in the
Plan. However, when Medicare coverage is due to disability, the Disability payer explanations above will apply.

IMPORTANT NOTE

If you, your spouse or your Dependent do not elect to enroll in Medicare Parts A and/or B when first eligible, or
receive services from a provider who does not accept Medicare payments, this Plan will calculate payment based
on what should have been paid by Medicare as the primary payer if the person had been enrolled or had received
services from a provider who accepts Medicare payments. A person is considered eligible for Medicare on the
earliest date any coverage under Medicare could become effective.
Failure to Enroll in Medicare
If you, your spouse or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for any COBRA or state continuation or
retiree coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid
penalties and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.
Assistance with Medicare Questions




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For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.
■   Expenses For Which A Third Party May Be Responsible
This Plan does not cover:
 expenses incurred by you or your Dependent (hereinafter individually and collectively referred to as a
 “Participant”) for which another party may be responsible as a result of having caused or contributed to an
 Injury or Illness.
 expenses incurred by a Participant to the extent any payment is received for them either directly or indirectly
 from a third party tortfeasor or as a result of a settlement, judgement or arbitration award in connection with
 any automobile medical, automobile no-fault, uninsured or underinsured motorist, homeowners, workers'
 compensation, government insurance (other than Medicaid), or similar type of insurance or coverage. The
 coverage under this Plan is secondary to any automobile no-fault insurance or similar coverage.
■ Subrogation/Right of Reimbursement
If a Participant incurs a covered expense for which, in the opinion of the Plan or its claim administrator, another
party may be responsible or for which the Participant may receive payment as described above:
 Subrogation: The Plan shall, to the extent permitted by law, be subrogated to all rights, claims or interests that
 a Participant may have against such party and shall automatically have a lien upon the proceeds of any
 recovery by a Participant from such party to the extent of any benefits paid under the Plan. A Participant or
 his/her representative shall execute such documents as may be required to secure the Plan's subrogation rights.
 Right of Reimbursement: The Plan is also granted a right of reimbursement from the proceeds of any recovery
 whether by settlement, judgment or otherwise. This right of reimbursement is cumulative with and not
 exclusive of the above subrogation right, but only to the extent of the benefits provided by the Plan.
■ Lien of the Plan
By accepting benefits under this Plan, a Participant:
 grants a lien and assigns to the Plan an amount equal to the benefits paid under the Plan against any recovery
 made by or on behalf of the Participant which is binding on any attorney or other party who represents the
 Participant whether or not an agent of the Participant or of any insurance company or other financially
 responsible party against whom a Participant may have a claim provided said attorney, insurance carrier or
 other party has been notified by the Plan or its agents.
 agrees that this lien shall constitute a charge against the proceeds of any recovery and the Plan shall be entitled
 to assert a security interest thereon.
 agrees to hold the proceeds of any recovery in trust for the benefit of the Plan to the extent of any payment
 made by the Plan.
■ Additional Terms
No adult Participant hereunder may assign any rights that it may have to recover medical expenses from any
third party or other person or entity to any minor Dependent of said adult Participant without the prior express
written consent of the Plan. The Plan's right to recover shall apply to decedents', minors', and incompetent or
disabled persons' settlements or recoveries.

No Participant shall make any settlement, which specifically reduces or excludes, or attempts to reduce or
exclude, the benefits provided by the Plan.




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The Plan's right of recovery shall be a prior lien against any proceeds recovered by the Participant. This right of
recovery shall not be defeated nor reduced by the application of any so-called “Made-Whole Doctrine”, “Rimes
Doctrine” or any other such doctrine purporting to defeat the Plan's recovery rights by allocating the proceeds
exclusively to non-medical expense damages.
No Participant hereunder shall incur any expenses on behalf of the Plan in pursuit of the Plan's rights hereunder,
specifically; no court costs, attorneys' fees or other representatives' fees may be deducted from the Plan's
recovery without the prior express written consent of the Plan. This right shall not be defeated by any so-called
“Fund Doctrine”, “Common Fund Doctrine” or “Attorney's Fund Doctrine”.
The Plan shall recover the full amount of benefits provided hereunder without regard to any claim of fault on the
part of any Participant, whether under comparative negligence or otherwise.
The Plan hereby disavows all equitable defenses in the pursuit of its right of recovery. The Plan's subrogation or
recovery rights are neither affected nor diminished by equitable defenses.
In the event that a Participant shall fail or refuse to honor its obligations hereunder, then the Plan shall be
entitled to recover any costs incurred in enforcing the terms hereof including, but not limited to, attorney's fees,
litigation, court costs and other expenses. The Plan shall also be entitled to offset the reimbursement obligation
against any entitlement to future medical benefits hereunder until the Participant has fully complied with his/her
reimbursement obligations hereunder, regardless of how those future medical benefits are incurred.

Any reference to state law in any other provision of this Plan shall not be applicable to this provision, if the Plan
is governed by ERISA. By acceptance of benefits under the Plan, the Participant agrees that a breach hereof
would cause irreparable and substantial harm and that no adequate remedy at law would exist. Further, the Plan
shall be entitled to invoke such equitable remedies as may be necessary to enforce the terms of the Plan,
including but not limited to, specific performance, restitution, the imposition of an equitable lien and/or
constructive trust, as well as injunctive relief.
Participants must assist the Plan in pursing any subrogation or recovery rights by providing requested
information.
■   Payment of Benefits
As used in this provision, any reference to “you” or “your” refers to the covered Member, and also refers to a
representative or provider designated by you to act on your behalf, unless otherwise noted.

Assignment and Payment of Benefits

You may not assign to any party, including but not limited to, a provider of health care services/items, your right
to benefits under this Plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, if ERISA is applicable, including but not limited to, any right to make a claim for
Plan benefits, to request Plan or other documents, to file appeals of denied claims or grievances, or to file
lawsuits under ERISA, if ERISA is applicable. Any attempt to assign such rights shall be void and
unenforceable under all circumstances.




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You may, however, authorize payment of any health care benefits under this Plan to a Participating Provider or a
provider who is not a Participating Provider. When you authorize the payment of your health care benefits to a
Participating Provider or a provider who is not a Participating Provider, you authorize payment of the entire
amount of the benefits due on that claim. If a provider is overpaid because of accepting duplicate payments from
you and Cigna, it is the provider's responsibility to reimburse the overpayment to you. Cigna may pay all health
care benefits for Covered Expenses directly to a Participating Provider without your authorization. You may not
interpret or rely upon this discrete authorization or permission to pay any health care benefits to a Participating
Provider or a provider who is not a Participating Provider as the authority to assign any other rights under this
Plan to any party, including but not limited to, a provider of health care service/items.
Even if the payment of health care benefits to a provider who is not a Participating Provider has been authorized
by you, Cigna may, at its option, make payment of benefits to you. When benefits are paid to you or your
Dependents, you or your Dependents are responsible for reimbursing the provider who is not a Participating
Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna, is not able to give a valid
receipt for any payment due him, such payment may be made to his legal guardian. If no request for payment
has been made by his legal guardian, Cigna may, at its option, make payment to the person appearing to have
assumed his custody and support.
When a Plan participant passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as the participant and benefit payments for unassigned claims
should be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.

Recovery of Overpayment

When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this Plan and/or
assignment of benefits separately creates an equitable lien by agreement pursuant to which Cigna may seek
recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a contractual
right or as an equitable line by agreement, may pursue the general assets of the person or entity to whom or on
whose behalf the overpayment was made.

Calculation of Covered Expenses

Cigna in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
 the methodologies in the most recent edition of the Current Procedural terminology.
 the methodologies as reported by generally recognized professionals or publications.
■ Other Information a Member Needs to Know

Legal Actions




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A Member may bring a legal action to recover under the Plan. For legal actions not related to the Plan's Appeals
Procedure, such legal action may be brought no sooner than 60 days, and no later than 3 years, after the time
written proof of loss is required to be given under the terms of the Plan.

Physical Examinations

The Company, at its own expense, has the right to have the person for whom a claim is pending examined as
often as reasonably necessary.

Relationship Between Cigna and Network Providers

Providers under contract with Cigna are independent contractors. Network providers are neither agents nor
employees of Cigna, nor is Cigna, or any employee of Cigna, an agent or employee of Network providers. Cigna
will not be responsible for any claim or demand on account of damages arising out of, or in any way connected
with, any injuries suffered by the Member while receiving care from any Network provider or in any Network
provider's facilities.




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GLOSSARY___
Ambulance

Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

Biologic

A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Biosimilar

A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

Brand Drug

A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy or the Doctor may be
classified as a Brand Drug under the Plan.

Business Decision Team

A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.

Charges

The actual billed charges; except when Cigna has contracted directly or indirectly for a different amount
including where Cigna has directly or indirectly contracted with an entity to arrange for the provision of services
and/or supplies through contracts with providers of such services and/or supplies.



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Convenience Care Clinic

Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

Custodial Services

Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  services related to watching or protecting a person.
  services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered.
  services not required to be performed by trained or skilled medical or paramedical personnel.
Dentist

A person licensed to practice dentistry.

Dependent

See ELIGIBILITY.

Designated Pharmacy

A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to Plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost-share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

Doctor/Physician

A person licensed to practice medicine or osteopathy. This also includes any other practitioner of the healing arts
if the practitioner performs a service within the scope of his or her license and for which this Plan provides
coverage.

Emergency Medical Condition



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A medical condition which manifests itself by acute symptoms of sufficient severity (including severe pain)
such that a prudent layperson, who possesses an average knowledge of health and medicine, could reasonably
expect the absence of immediate medical attention to result in: placing the health of the individual (or, with
respect to a pregnant woman, the health of the woman or her unborn child) in serious jeopardy; or serious
impairment to bodily functions; or serious dysfunction of a bodily part or organ.

Emergency Services

With respect to an Emergency Medical Condition: a medical screening examination that is within the capability
of the emergency department of a Hospital or of an independent freestanding emergency facility, including
ancillary services routinely available to the emergency department to evaluate the Emergency Medical
Condition; and such further medical examination and treatment, to the extent they are within the capabilities of
the staff and facilities available at the Hospital, to Stabilize the patient.

Employee

See ELIGIBILITY.

Employer
  Harrington Industrial Plastics, LLC; and
  Any affiliated companies listed in the application of the Employer whose employees are covered under this
  plan. The Employer may add an affiliated company after the effective date of the Plan. For that company only,
  the effective date of the Plan will be considered to be the effective date of the amendment that adds that
  company.
Free-Standing Surgical Facility

An institution which meets all of the following requirements:
  has a medical staff of Doctors/Physicians, nurses and licensed anesthesiologists.
  maintains at least two operating rooms and one recovery room.
  maintains diagnostic laboratory and x-ray facilities.
  has equipment for emergency care.
  has a blood supply.
  maintains medical records.
  has agreements with Hospitals for immediate acceptance of patients who need inpatient Hospital confinement.
  is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.

Generic Drug




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A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or the Doctor may be classified as a Generic Drug under the Plan. A Biosimilar may be classified as a Generic
Drug for the purposes of benefits under the Plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or the Doctor.

Hospice Facility

An institution or part of it which primarily provides care for Terminally Ill patients; is accredited by the National
Hospice Organization; meets established Medical Management standards; and fulfills any licensed requirements
of the state or locality in which it operates.

Hospital

An institution:
  licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and surgical
  treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of Doctors;
  and provides 24-hour service by registered graduate nurses; or
  which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of services under
  Medicare, if such institution is accredited as a hospital by the Joint Commission on the Accreditation of
  Healthcare Organizations (JCAHO); or
  which specializes in treatment of mental health or substance use or other related illness; provides residential
  treatment programs; and is licensed in accordance with the laws of the appropriate legally authorized agency.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

Hospital Confinement or Confined in a Hospital

A person is considered Confined in a Hospital if he is a registered bed patient in a Hospital upon the
recommendation of a Doctor receiving treatment for Mental Health and Substance Use Disorder Services in a
Mental Health or Substance Use Disorder Residential Treatment Center.

Illness

An Injury, a sickness, a disease, a bodily or mental disorder, a pregnancy, or any birth defect of a newborn child.
Conditions that exist and are treated at the same time or are due to the same or related causes are considered to
be one Illness.

Injury

A sudden and unforeseen event from an external agent or trauma, resulting in injuries to the physical structure of
the body. It is definite as to time and place and it happens involuntarily or, if the result of a voluntary act, entails
unforeseen consequences. It does not include harm resulting from disease.

Maintenance Drug Product

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A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your Plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics, that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may contact
Member Services at the phone number shown on your ID card to determine whether a drug is a Maintenance
Medication.

Maximum Reimbursable Charge

When the provider is a network provider, the covered expense amount is determined based on a fee agreed upon
with the provider.
If the provider is not a network provider, the Maximum Reimbursable Charge for covered expenses is
determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  an Employer-selected percentage of a fee schedule developed by Cigna that is based upon a methodology
  similar to a methodology utilized by Medicare to determine the allowable fee for the same or similar service
  within the geographic market.
The percentage used to determine the Maximum Reimbursable Charge is the 110th percentile.
In some cases, a Medicare based schedule will not be used and the Maximum Reimbursable Charge for covered
services is determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  the 80th percentile of charges made by providers of such service or supply in the geographic area where it is
  received as compiled in a database selected by Cigna. If sufficient charge data is unavailable in the database
  for that geographic area to determine the Maximum Reimbursable Charge, then data in the database for similar
  services may be used.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.
Some providers forgive or waive the cost share obligation (such as any deductible, copay, coinsurance) that this
Plan requires you to pay. Waiver of your required cost share obligation can jeopardize your coverage under this
Plan. For more details, see the BENEFIT LIMITATIONS section.

Medical Pharmaceutical

Medical Pharmaceuticals are used for treatment of complex chronic conditions, are administered and handled in
a specialized manner, and may be high cost. Because of their characteristics, they require a qualified Physician
to administer or directly supervise administration. Some Medical Pharmaceuticals may initially or typically
require Physician oversight but subsequently may be self-administered under certain conditions specified in the
product's FDA labeling.

Medically Necessary/Medical Necessity


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Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating an Illness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an Illness, Injury, disease or its symptoms; and
  in accordance with generally accepted standards of medical practice; and
  clinically appropriate in terms of type, frequency, extent, site and duration; and
  not primarily for the convenience of the patient, Doctor or Other Health Professional; and
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of the Illness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining the least intensive
  setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

Medicare

Title 18 of the United States Social Security Act of 1965 as amended from time to time and the coverage
provided under it. This includes coverage provided under Medicare Advantage plans.

Member

An Employee and any covered Dependent.

Necessary Services and Supplies

The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies does not include any charges for special nursing fees, dental fees, or
medical fees.

Network Pharmacy

A retail or home delivery Pharmacy that has: entered into an agreement with Cigna or an entity contracting on
Cigna's behalf to provide Prescription Drug Products to Plan enrollees; agreed to accept specified
reimbursement rates for dispensing Prescription Drug Products; and been designated as a Network Pharmacy for
the purpose of coverage under the Plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.



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GLOSSARY___
         - Continued
New Prescription Drug Product

A Prescription Drug Product, or new use or dosage form of a previously U.S. Food and Drug Administration
(FDA)-approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
Product or newly-approved use or dosage form becomes available on the market following approval by the FDA
and ending on the date Cigna makes a Prescription Drug List coverage status decision.

Other Health Care Facility

An institution other than a Hospital or Hospice Facility. Examples include, but are not limited to, licensed
skilled nursing facilities, rehabilitation Hospitals and subacute facilities.

Other Health Professional

An individual other than a Doctor who is licensed or otherwise authorized under the applicable state law to
deliver medical services and supplies. Other Health Professionals include, but are not limited to physical
therapists, registered nurses and licensed practical nurses.
Other Health Professionals do not include providers such as certified first assistants, certificated operating room
technicians, certified surgical assistants/technicians, licensed certified surgical assistants/technicians, licensed
surgical assistants, orthopedic physician assistants and surgical first assistants.

Participating Provider

A person or entity that has a direct or indirect contractual arrangement with Cigna to provide covered services
and/or supplies, the charges for which are Covered Expenses. It includes an entity that has directly or indirectly
contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the provision
of any services and/or supplies, the charges for which are Covered Expenses.

PPACA Preventive Medication

The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a PPACA Preventive Medication. You may determine
whether a drug is a PPACA Preventive Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

Pharmacy




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GLOSSARY___
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A duly licensed pharmacy that dispenses Prescription Drug Products in a retail setting or by way of home
delivery. A home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through
mail order.

Pharmacy & Therapeutics (P&T) Committee

A committee comprised of physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals and Prescription Drug Products,
including New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform
coverage determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration (FDA)-approved labeling, standard
medical reference compendia, or scientific studies published in peer-reviewed English-language bio-medical
journals.

Plan

The medical benefits described in this booklet.

Prescription Drug Charge

The Prescription Drug Charge is the amount that, prior to application of the Plan's cost-share requirement(s), the
Plan sponsor is obligated to pay for a covered Prescription Drug Product dispensed at a Network Pharmacy,
including any applicable dispensing fee, service fee and tax.

Prescription Drug Product

A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill.
For the purpose of benefits under the Plan, this definition also includes:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.
Prescription Order or Refill

The lawful directive to dispense a Prescription Drug Product issued by a Doctor whose scope of practice permits
issuing such a directive.

Review Organization




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GLOSSARY___
         - Continued
The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Doctors, registered graduate nurses, licensed mental health and substance
use disorder professionals, and other trained staff members who perform utilization review services.

Room and Board

All charges made by a Hospital for room and meals and for all general services and activities needed for the care
of registered bed patients.

Service

See ELIGIBILITY.

Specialty Prescription Drug Product

A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law:
  whether the Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a
  complex, chronic or rare condition;
  whether the Prescription Drug Product or Medical Pharmaceutical has a high acquisition cost; and
  whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or restricted
  distribution, requires special handling and/or requires enhanced patient education, provider coordination or
  clinical oversight.
A Specialty Prescription Drug Product may not possess all or most of the foregoing characteristics, and the
presence of any one such characteristic does not guarantee that a Prescription Drug Product or Medical
Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty Prescription Drug Products
may vary by Plan benefit assignment based on factors such as method or site of clinical administration, or by tier
assignment, or utilization management requirements based on factors such as acquisition cost. You may access
the website or contact Member Services at the phone number shown on your ID card to determine whether a
medication is a Specialty Prescription Drug Product.

Stabilize

With respect to an Emergency Medical Condition: to provide such medical treatment of the condition as may be
necessary to assure, within reasonable medical probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the individual from the facility.

Terminal Illness

A Terminal Illness will be considered to exist if a Member becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Doctor.

Therapeutic Alternative




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GLOSSARY___
         - Continued
A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter (OTC) medication.

Therapeutic Equivalent

A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter (OTC) medication.

Totally Disabled and Total Disability

Active Employees
Being under the care of a Doctor and prevented by Illness from performing your regular work.
Dependents
Being under the care of a Doctor and prevented by Illness from engaging in substantially all of the normal
activities of a person of the same age and sex who is in good health.

Urgent Care

Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Medical Management in accordance with generally accepted medical
standards, to have been necessary to treat a condition requiring prompt medical attention. This does not include
care that could have been foreseen before leaving the immediate area where you ordinarily receive and/or were
scheduled to receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or
therapy, or care received after a Doctor's recommendation that the patient should not travel due to any medical
condition.

Usual and Customary (U&C) Charge - for Prescription Drug Benefits

The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

You and Your

An Employee.




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USERRA RIGHTS AND RESPONSIBILITIES___
The federal Uniformed Services Employment and Reemployment Rights Act (USERRA), establishes
requirements for Employers and certain Employees who terminate Service with the Employer for the purpose of
Uniformed Service. This includes the right to continue the medical coverage that you (the Employee) had in
effect for yourself and your Dependents.
“Uniformed Service” means the performance of active duty in the Uniformed Services under competent
authority which includes training, full-time National Guard duty and the time necessary for a person to be absent
from employment for an examination to determine the fitness of the person to perform any of the assigned
duties.
You must notify your Employer verbally or in writing of your intent to leave employment and terminate your
Service with the Employer for the purpose of Uniformed Service. The notice must be provided at least 30 days
prior to the start of your leave, unless it is unreasonable or impossible for you to provide advance notice due to
reasons such as military necessity.

Continued Medical Coverage

Under USERRA, you are eligible to elect continued medical coverage for yourself and your Dependents when
you terminate Service with the Employer for the purpose of Uniformed Service.
The Employer should establish reasonable procedures for electing continued medical coverage and for payment
of contributions. See the Plan Administrator for details.
If you do not provide advance notice of your leave and you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service.
However, if you are excused from giving advance notice because it was unreasonable or impossible for you to
provide advance notice due to reasons such as military necessity, then coverage will be retroactively reinstated if
you elect coverage for yourself and your Dependents and pay all unpaid contributions within the period
specified in the Employer's reasonable procedures.
If you provide advance notice of your leave but you do not elect continued coverage prior to your leave
Coverage for you and your Dependents will terminate on the date that coverage would otherwise terminate due
to termination of your Service, when the duration of Uniformed Service is at least 30 days.
However, coverage will be retroactively reinstated if the Employer has established reasonable procedures for
election of continued coverage after the period of Uniformed Service begins, and you elect coverage for yourself
and your Dependents and pay all unpaid contributions within the time period specified in the procedures.
If the Employer has not established reasonable procedures, then the Employer must permit you to elect
continued coverage for yourself and your Dependents and pay all required contributions at any time during the
period of continued coverage, and the Employer must retroactively reinstate coverage.
If you elect continued coverage but do not make timely payments for the cost of coverage
If the Employer has established reasonable payment procedures and you do not make payments according to the
procedures, then coverage for you and your covered Dependents will terminate as described in the procedures.


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USERRA RIGHTS AND RESPONSIBILITIES___
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Period of Continued Coverage
During a leave for Uniformed Service, the period of continued coverage begins immediately following the date
you and your covered Dependents lose coverage under the Plan, and it continues for a maximum period of up to
24 months.

Cost of Continued Coverage
If the period of Uniformed Service is less than 31 days, you are not required to pay more than the amount that
you paid as an active Employee for that coverage for continued coverage.
If the period of Uniformed Service is 31 days or longer, then you will be required to pay up to 102% of the
applicable group rate for continued coverage.
COBRA Coverage
If you are eligible for COBRA continuation coverage, then the COBRA coverage period runs concurrently with
the USERRA coverage period. In some instances, COBRA coverage may continue longer than USERRA
coverage.

Reinstatement of Coverage

Coverage for an Employee who returns to Service with the Employer following Uniformed Service will be
reinstated upon request from the Employee and in accordance with USERRA.
Reinstated coverage will not be subject to any exclusion or waiting period, if such exclusion and/or waiting
period would not have been imposed had coverage not terminated as a result of Uniformed Service.
CONTINUATION OF COVERAGE - FMLA___
This provision applies if the Employer is subject to the Family and Medical Leave Act of 1993 (FMLA), as
amended. If you are eligible for FMLA leave and if the Employer approves your FMLA leave, coverage under
the Plan will continue during your leave. Contributions must be paid by you and/or the Employer. If
contributions are not paid, your coverage will cease. If you return to work on your scheduled date, coverage will
be on the same basis as that provided for any active Member on that date. If your coverage ends during FMLA
leave, a COBRA qualifying event occurs if you do not return to work on the date you are scheduled to return
from your FMLA leave. See the Plan Administrator with questions about FMLA leave.
CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
COBRA continuation coverage is a temporary extension of coverage under the Plan, and was created by federal
law, the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA).
Under this federal law, you and/or your covered Dependents (a covered Member) if a COBRA qualified
beneficiary, must be given the opportunity to continue Plan coverage when there is a “qualifying event” that
would result in loss of coverage under the Plan. The law permits continuation of the same Plan coverage under
which the qualified beneficiary was covered on the day before the qualifying event, unless the qualified
beneficiary moves out of the Plan's coverage area or the Plan is no longer available. If coverage options are
available, a qualified beneficiary has the same options to change coverage as others who are covered under the
Plan.



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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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COBRA continuation coverage is available for you and your covered Dependents for up to 18 months from the
date of the following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct.
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in loss of coverage under the Plan:
  your death.
  your divorce or legal separation.
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Only a qualified beneficiary, as defined by federal law, may elect COBRA continuation coverage. A qualified
beneficiary may include the following individuals who were covered under the Plan on the day the qualifying
event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has an independent
right to elect or decline COBRA continuation coverage, even if you decline or are not eligible for COBRA
continuation coverage.
The following individuals are not qualified beneficiaries for the purposes of COBRA continuation coverage:
domestic partners (including Domestic Partners as defined in the Plan), spouses who do not meet the definition
of spouse under federal law, and children (such as stepchildren, grandchildren) who have not been legally
adopted by you. Although these individuals do not have an independent right to elect COBRA continuation
coverage, if you elect COBRA continuation coverage for yourself you may also cover your Dependents even if
they are not considered qualified beneficiaries under COBRA. However, such individuals' coverage will
terminate when your COBRA continuation coverage terminates. The provisions “Secondary Qualifying Events”
and “Medicare Extension for Dependents” are not applicable to these individuals.

Secondary Qualifying Events

If, as a result of your termination of employment or reduction in work hours, your Dependent(s) elected COBRA
continuation coverage and one or more Dependents experience another COBRA qualifying event, the affected
Dependent(s) may elect to extend COBRA continuation coverage for an additional 18 months (7 months if the
secondary event occurs within the disability extension period) for a maximum of 36 months from the initial
qualifying event. The second qualifying event must occur before the end of the initial 18 months of COBRA
continuation coverage, or within the disability extension period. Under no circumstances with COBRA
continuation coverage be available for more than 36 months from the initial qualifying event. Secondary
qualifying events are: your death; your divorce or legal separation; or, for a Dependent child, failure to continue
to qualify as a Dependent under the Plan.

Disability Extension

If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation may extend such continuation for an additional 11 months, for a maximum of 29 months from the
initial qualifying event.
To qualify for the disability extension, both of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and

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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  a copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate, for all individuals covered under the extension, on the first day of the month that is more than 30 days
after the date the SSA makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation Coverage” will also apply to the disability extension
period.

Medicare Extension

When the qualifying event is your termination of employment or reduction in work hours, and you became
covered under Medicare (Part A, Part B or both) within the 18 months before the qualifying event, the maximum
COBRA continuation period for you is 18 months from the date of your termination of employment or reduction
in work hours, and for your Dependents the maximum continuation period is 36 months from the date you
became covered under Medicare.

Termination of COBRA Continuation Coverage

COBRA continuation coverage will terminate when any of the following occurs:
  the end of the COBRA continuation period of 18, 29 or 36 months; as applicable.
  failure to pay the required cost of coverage as described in “COBRA Premiums”.
  cancellation of the Employer's Plan.
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under Medicare (Part
  A, Part B or both).
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes
  coverage. In such a situation, COBRA continuation coverage will continue until the earlier of: the date the
  condition becomes covered under the other plan or the occurrence of any of the events listed above.
  after the date the qualified beneficiary qualifies as described in “Disability Extension”, the beneficiary is no
  longer disabled.
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving COBRA
  continuation (e.g., fraud).
Employer Notice Requirements

The Employer is required to provide the following notices:
  Initial Notice - An initial notice of COBRA continuation rights must be provided within 90 days after Plan
  coverage begins (or the Plan first becomes subject to COBRA continuation requirements, if later). If you
  and/or your Dependents experience a qualifying event before the end of that 90-day period, the initial notice
  must be provided within the time frame required for the COBRA election notice.
  Election Notice - COBRA continuation coverage will be offered to qualified beneficiaries only after the
  Employer's representative or Plan Administrator has been timely notified that a qualifying event has occurred,
  and must be provided to you and/or your Dependents within the timeframe required by COBRA.
  When the qualifying event is termination of employment, reduction of employment hours or the Employee's
  death, a COBRA continuation election notice must be provided to you and/or your Dependents:


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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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  - if the Plan provides that the COBRA continuation coverage period starts upon the loss of coverage, within
    44 days after loss of coverage under the Plan.
  - if the Plan provides that the COBRA continuation coverage period starts upon the occurrence of a qualifying
    event, within 44 days after the qualifying event occurs.
Electing COBRA Continuation Coverage

The COBRA continuation election notice will list the individuals who are eligible for COBRA continuation
coverage, and provide information about the applicable cost of coverage. The notice will also include
instructions for electing COBRA continuation coverage. You must notify the Plan Administrator of your
election in writing no later than the due date stated in the election notice. If written notice is mailed, it must be
post-marked no later than the due date stated in the election notice. If you do not make proper notification by the
due date stated in the election notice, you and your Dependents will lose the right to elect COBRA continuation
coverage. If you reject COBRA continuation coverage before the due date, you may change your mind as long
as you furnish a completed election form before the due date.
Each qualified beneficiary has an independent right to elect COBRA continuation coverage. COBRA
continuation coverage may be elected for only one, several, or for all Dependents who are qualified
beneficiaries. Parents may elect to continue coverage on behalf of their Dependent children. You or your spouse
may elect COBRA continuation on behalf of all the qualified beneficiaries. You are not required to elect
COBRA continuation coverage in order for your Dependents to elect COBRA continuation coverage.

Cost of COBRA Continuation Coverage

Each qualified beneficiary may be required to pay the entire cost of COBRA continuation coverage. The amount
may not exceed 102% of the cost to the group health plan (including both Employer and Employee
contributions) for coverage of a similarly situated active Employee or family member. The cost during the 11-
month disability extension may not exceed 150% of the cost to the group health plan (including both Employer
and Employee contributions) for coverage of a similarly situated active Employee or family member.
For example: If the Employee alone elects COBRA continuation, the Employee or family member will be
charged 102% (or 150%, if applicable) of the active Employee cost of coverage. If the spouse or one Dependent
child alone elects COBRA continuation coverage, the individual will be charged 102% (or 150%, if applicable)
of the active Employee cost of coverage. If more than one qualified beneficiary elects COBRA continuation
coverage, they will be charged 102% (or 150%, if applicable) of the applicable family cost of coverage.
The first COBRA continuation coverage payment must be made no later than 45 calendar days after the date of
your election (if mailed, this is the date the election notice is postmarked). The qualified beneficiary is
responsible for making sure that the amount of the first payment is enough to cover the entire initial period from
the date coverage would have otherwise terminated, up to the date the qualified beneficiary makes the first
payment. If the first payment is not made within the 45-day period, all COBRA continuation rights under the
Plan will be lost. Claims incurred during the period covered by the initial payment period will not be processed
until the payment is made.

After the first payment is made, the qualified beneficiary is required to pay for each subsequent period of
coverage. If payment is made on or before its due date, coverage under the Plan will continue for that coverage
period without any break.




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CONTINUATION RIGHTS UNDER FEDERAL LAW - COBRA___
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A grace period of 30 days after the first day of the coverage period will be given to make each periodic payment.
Coverage will be provided for each coverage period as long as payment for that coverage period is made before
the end of the grace period for that payment. However, if payment is received after the due date, coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If required payment is received before the end of the
grace period, coverage will be reinstated back to the beginning of the coverage period. This means that any
claim(s) submitted while coverage is suspended may be denied and may have to be resubmitted once coverage is
reinstated. If payment is not made before the end of the grace period for that coverage period, all rights to
COBRA continuation under the Plan will be lost.

You Must Give Notice of Certain Qualifying Events

If you or your Dependent(s) experience any of the following qualifying events, you or your Dependent(s) must
notify the Plan Administrator within 60 calendar days after the later of the date the qualifying event occurs or
the date coverage would end as a result of the qualifying event:
  your divorce or legal separation.
  your child no longer qualifies as a Dependent under the Plan.
  the occurrence of a secondary qualifying event as described in “Secondary Qualifying Events” (this notice
  must be received prior to the end of the initial 18-month or 29-month COBRA period). See “Disability
  Extension” for additional notice requirements.
Notice must be made in writing and must include: the name of the Plan; name and address of the Employee
covered under the Plan; name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation (e.g. divorce decree,
birth certificate, disability determination, etc.).

Newly Acquired Dependents

If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
Coverage is subject to the Plan's notice and/or application process for active Employees adding a new
Dependent. Only your newborn or adopted Dependent child is a qualified beneficiary for the purpose of
continuing COBRA coverage for the remainder of the coverage period following your early termination of
COBRA coverage or due to a secondary qualifying event. Any other Dependent added while your coverage is
being continued is not a qualified beneficiary for the purpose of continuing COBRA coverage for the remainder
of the coverage period following your early termination of COBRA coverage or due to a secondary qualifying
event.

Health FSA

The maximum COBRA coverage period for a health flexible spending arrangement (Health FSA), if maintained
by your Employer, ends on the last day of the Flexible Benefits Plan Year in which the qualifying event
occurred.
EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
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Coverage Elections

Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed .

Change of Status

A change in status is defined as:
  a change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation; or
  a change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent; or
  a change in employment status of Employee, spouse or Dependent child due to termination or start of
  employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family and
  Medical Leave Act (FMLA), or change in worksite; or
  changes in employment status of Employee, spouse or Dependent child resulting in eligibility or ineligibility
  for coverage; or
  a change in residence of Employee, spouse or Dependent child to a location outside of the Employer's network
  service area; or
  changes which cause a Dependent child to become eligible or ineligible for coverage.
  a reduction the Employee's work hours to below 30 hours per week, even if it does not result in the employee
  losing eligibility for the Employer's Plan coverage and the Employee, spouse or Dependent child intend to
  enroll in another plan that provides minimum essential coverage (MEC) and the new MEC coverage is
  effective no later than the 1st day of the 2nd month following the month that includes the date the original
  coverage is revoked.
  enrollment in a marketplace qualified health plan (QHP) when the Employee is eligible for the marketplace's
  special enrollment period or the Employee wants to enroll in the QHP during the marketplace's open
  enrollment period and disenrollment from the Employer's Plan corresponds to the intended enrollment of the
  Employee, spouse or Dependent child in the QHP and the QHP coverage is effective beginning no later than
  the day immediately following the last day of the Employer's Plan coverage.
Court Order

A change in coverage due to, and consistent with, a court order of the Employee or other person to cover a
Dependent.

Medicare or Medicaid Eligibility/Entitlement

The Employee, spouse or Dependent child cancels or reduces coverage due to entitlement to Medicare or
Medicaid, or enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.

Change in Cost of Coverage

If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
Plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.

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EFFECT OF SECTION 125 TAX REGULATIONS ON THIS PLAN___
                                                  - Continued
Changes in Coverage of a Spouse or Dependent Child Under Another Employer's Plan

You may make a coverage election change if the plan of your spouse or Dependent child:
  incurs a change such as adding or deleting a benefit option; or
  allows election changes due to Special Enrollment, Change in Status, Court Order, Medicare or Medicaid
  Eligibility/Entitlement; or
  this Plan and the other plan have different periods of coverage or open enrollment periods.
ERISA GENERAL INFORMATION___
The following information is required by the Employee Retirement Income Security Act of 1974 (ERISA).
The name of the Plan is: Group Life and Health Insurance Plan for Employees of Harrington Industrial Plastics,
LLC
The name, address, ZIP code and business telephone number of the Employer is:
  Harrington Industrial Plastics, LLC
  14480 Yorba Ave
  Chino, CA 91710
  972-479-9991
The Employer Identification Number (EIN) is: XX-XXXXXXX

The Plan Number assigned by the Employer is: 501
The name, address, ZIP code and business telephone number of the Plan Administrator is: Employer named
above
The name, address and ZIP code of the designated agent for service of legal process is: Employer named above
The cost of the Plan is shared by the Employer and the Employee.

Contributions are determined by the Employer. Employee contributions, if any, for a time period for which the
Employee is not covered under the Plan may be refunded by the Employer. Please see your Plan Administrator
for details.
The health benefits described in this booklet are self-funded by the Employer. The Employer is fully responsible
for the self-funded benefits. Cigna provides contract administration by processing claims and provides other
services to the Employer related to the self-funded benefits. Cigna does not insure nor guarantee the self-funded
benefits.
The fiscal records of the Plan are maintained on the basis of Plan years ending December 31.
The preceding pages set forth the Plan's eligibility requirements, termination provisions and a description of the
circumstances that may result in disqualification, ineligibility, or denial or loss of benefits.
Procedures to be followed in presenting claims for benefits and what to do when claims are denied in whole or
in part are described in CLAIMS & LEGAL ACTION.


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ERISA GENERAL INFORMATION___
                          - Continued
Plan Type

The Plan is a health care benefit plan.

Plan Trustee(s)

A list of the Trustee(s) of the Plan, if any, including name, title and address, is available upon request to the Plan
Administrator.

Collective Bargaining Agreement(s)

You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and whether a particular employer or employee organization is a sponsor. A
copy of the agreement, if any, is available for examination upon written request to the Plan Administrator.
STATEMENT OF ERISA RIGHTS___
As a plan participant you are entitled to certain rights and protections under the Employee Retirement Income
Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to the following:

Receive Information About Your Plan and Benefits
  You may examine, without charge, at the Plan Administrator's office and at other specified locations, such as
  worksites and union halls, all documents governing the plan, including insurance contracts and collective
  bargaining agreements, and a copy of the latest Annual Report (Form 5500 Series) filed by the plan with the
  U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
  Administration.
  You may obtain, upon written request to the Plan Administrator, copies of documents governing the operation
  of the plan, including insurance contracts and collective bargaining agreements, copies of the latest annual
  report (Form 5500 Series) and an updated summary plan description. The Plan Administrator may make a
  reasonable charge for the copies.
  You may receive a summary of the plan's annual financial report. The Plan Administrator is required by law to
  furnish each participant with a copy of this summary annual report.
  However, employers with fewer than 100 plan participants at the beginning of the plan year are not required
  to: furnish statements of the plan's assets and liabilities and receipts and disbursements or allow examination
  of the Annual Report, or furnish copies of the Annual Report or any Terminal Report.

Continue Group Health Plan Coverage

If a group health plan is subject to COBRA, you may be eligible to continue health care coverage for yourself or
your Dependents if there is a loss of coverage under the plan as a result of a COBRA qualifying event. You or
your Dependents may have to pay for such coverage. You may review the documents governing the plan or the
rules governing COBRA continuation coverage rights.

Prudent Actions by Plan Fiduciaries




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STATEMENT OF ERISA RIGHTS___
                          - Continued
In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan, called “fiduciaries” of the plan,
have a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including the employer, your union, or any other person, may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA.

Enforce Your Rights

If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this
was done, to obtain without charge copies of documents relating to the decision and to appeal any denial, all
within certain time schedules.
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in federal court. In such a case, the court may require the Plan Administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a medical
child support order, you may file suit in federal court. If it should happen that plan fiduciaries misuse the plan's
money, or if you are discriminated against for asserting your rights, you may seek assistance from the U.S.
Department of Labor, or you may file suit in a federal court. The court will decide who should pay court costs
and legal fees. If you are successful the court may order the person you have sued to pay these costs and fees. If
you lose, the court may order you to pay these costs and fees, for example, if it finds your claim is frivolous.

Assistance With Your Questions

If you have any questions about the plan, you should contact the Plan Administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the Plan Administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor, listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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                   Starwood Headquarters

                        HSA/OAP Plan

           EFFECTIVE DATE: 01/01/2024
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                                                                          Home Office: Bloomfield, Connecticut
                                                                   Mailing Address: Hartford, Connecticut 06152




CIGNA HEALTH AND LIFE INSURANCE COMPANY___

a Cigna company (hereinafter called Cigna) certifies that it insures certain Employees for the
benefits provided by the following policy(s):



POLICYHOLDER: Starwood Headquarters, LLC



GROUP POLICY(S) - COVERAGE
00620261 - HSA OAP MEDICAL BENEFITS



EFFECTIVE DATE: January 1, 2024




This certificate describes the main features of the insurance. It does not waive or alter any of the
terms of the policy(s). If questions arise, the policy(s) will govern.
This certificate takes the place of any other issued to you on a prior date which described the
insurance.




 HC-CER1                                                                                                 04-10
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                                             Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your
benefits, most of these terms are defined in the Definitions section of your certificate.




                                                 The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance.
For a full description of each benefit, refer to the appropriate section listed in the Table of Contents.




                                                                                                        HC-NOTICE




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Special Plan Provisions___

When you select a Participating Provider, this Plan pays a greater share of the costs than if you select a
non-Participating Provider. Participating Providers include Physicians, Hospitals and Other Health
Professionals and Other Health Care Facilities. Consult your Physician Guide for a list of Participating Providers
in your area. Participating Providers are committed to providing you and your Dependents appropriate care
while lowering medical costs.
■    Services Available in Conjunction With Your Medical Plan
The following pages describe helpful services available in conjunction with your medical plan. You can access
these services by calling the toll-free number shown on the back of your ID card.

HC-SPP63                                                                                                      01-20



■    Case Management
Case Management is a service provided through a Review Organization, which assists individuals with
treatment needs that extend beyond the acute care setting. The goal of Case Management is to ensure that
patients receive appropriate care in the most effective setting possible whether at home, as an outpatient, or an
inpatient in a Hospital or specialized facility. Should the need for Case Management arise, a Case Management
professional will work closely with the patient, his or her family and the attending Physician to determine
appropriate treatment options which will best meet the patient's needs and keep costs manageable. The Case
Manager will help coordinate the treatment program and arrange for necessary resources. Case Managers are
also available to answer questions and provide ongoing support for the family in times of medical crisis.

Case Managers are Registered Nurses (RNs) and other credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and neonates, oncology, mental health, rehabilitation
or general medicine and surgery. A Case Manager trained in the appropriate clinical specialty area will be
assigned to you or your Dependent. In addition, Case Managers are supported by a panel of Physician advisors
who offer guidance on up-to-date treatment programs and medical technology. While the Case Manager
recommends alternate treatment programs and helps coordinate needed resources, the patient's attending
Physician remains responsible for the actual medical care.
    You, your dependent or an attending Physician can request Case Management services by calling the toll-free
    number shown on your ID card during normal business hours, Monday through Friday. In addition, your
    employer, a claim office or a utilization review program (see the PAC/CSR section of your certificate) may
    refer an individual for Case Management.
    The Review Organization assesses each case to determine whether Case Management is appropriate.
    You or your Dependent is contacted by an assigned Case Manager who explains in detail how the program
    works. Participation in the program is voluntary - no penalty or benefit reduction is imposed if you do not wish
    to participate in Case Management.
    Following an initial assessment, the Case Manager works with you, your family and Physician to determine
    the needs of the patient and to identify what alternate treatment programs are available (for example, in-home
    medical care in lieu of an extended Hospital convalescence). You are not penalized if the alternate treatment
    program is not followed.
    The Case Manager arranges for alternate treatment services and supplies, as needed (for example, nursing
    services or a Hospital bed and other Durable Medical Equipment for the home).
    The Case Manager also acts as a liaison between the insurer, the patient, his or her family and Physician as
    needed (for example, by helping you to understand a complex medical diagnosis or treatment plan).

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Special Plan Provisions___
    Once the alternate treatment program is in place, the Case Manager continues to manage the case to ensure the
    treatment program remains appropriate to the patient's needs.
While participation in Case Management is strictly voluntary, Case Management professionals can offer quality,
cost-effective treatment alternatives, as well as provide assistance in obtaining needed medical resources and
ongoing family support in a time of need.

HC-SPP2                                                                                                        04-10
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                        - Continued
Special Plan Provisions___
■    Notice Regarding Emergency Services and Urgent Care
In the event of an Emergency, get help immediately. Go to the nearest emergency room, the nearest Hospital or
call or ask someone to call 911 or your local emergency service, police or fire department for help. You do not
need a referral from your PCP for Emergency Services, but you need to call your PCP as soon as possible for
further assistance and advice on follow-up care. If you require specialty care or a Hospital admission, your PCP
will coordinate it and handle the necessary authorizations for care or hospitalization. Participating Providers are
on call 24 hours a day, seven days a week to assist you when you need Emergency Services.

If you receive Emergency Services outside the service area, you must notify the Review Organization as soon as
reasonably possible. The Review Organization may arrange to have you transferred to a Participating Provider
for continuing or follow-up care, if it is determined to be medically safe to do so.
Urgent Care Inside the Service Area

For Urgent Care inside the service area, you must take all reasonable steps to contact your PCP for direction and
you must receive care from a Participating Provider, unless otherwise authorized by your PCP or the Review
Organization.
Urgent Care Outside the Service Area

In the event you need Urgent Care while outside the service area, you should, whenever possible, contact your
PCP for direction and authorization prior to receiving services.

Continuing or Follow-up Treatment
Continuing or follow-up treatment, whether in or out of the service area is not covered unless it is provided or
arranged for by your PCP or upon prior authorization by the Review Organization.

HC-SPP5                                                                                                        04-10
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■    Care Management and Care Coordination Services




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Special Plan Provisions___
                        - Continued
Cigna may enter into specific collaborative arrangements with health care professionals committed to improving
quality care, patient satisfaction and affordability. Through these collaborative arrangements, health care
professionals commit to proactively providing participants with certain care management and care coordination
services to facilitate achievement of these goals. Reimbursement is provided at 100% for these services when
rendered by designated health care professionals in these collaborative arrangements.

HC-SPP27                                                                                                   06-15
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Important Notices - Connecticut___
■   Prior Authorization
Below is a list of drugs that may require Prior Authorization when they are covered by your plan.

Please see our Web site at www.myCigna.com for the most current listing of drugs that require Prior
Authorization, or call the Member Services number on the back of your I.D. card.

Antiemetic/Antivertigo Agents
Kytril

Antimalarial Drugs
Lariam                               Malarone

Cancer
Gleevec                              Iressa
Nexavar                              Sprycel
Revlimid                             Zolinza
Sutent

Diabetes
Exubera                              Testosterone Propionate
Depo-Testosterone

Infections
Lamisil                              Sporanox
Penlac                               Zyvox

Miscellaneous
Synarel                              Provigil

Monoclonal Antibodies to Immunoglobulin E(GE)


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Important Notices - Connecticut___
                                - Continued
Pulmozyme

Nausea and Vomiting
Andansetion (injectable)

Pain Relief & Inflammatory Disease
Fentanyl citrate (lollipop)          Arava
Ketorolac                            Celebrex
Actiq                                Fentora

Pulm.Anti-HTN, Sel. C-GMP Phosphodiesterase T5 Inhibitor
Revatio

Skin Conditions
Panretin                             Regranex

Cardiovascular - Cholesterol Lowering
Altoprev                            Mevacor
Crestor                              Pravachol
Livalo                               Zocor

Cardiovascular - High Blood Pressure
Accupril                            Mavik
Accuretic                            Micardis
Aceon                                Micardis HCT
Altace                               Monopril
Atacand                              Monopril HCT
Atacand HCT                          Prinivil
Avalide                              Prinzide
Avapro                               Teveten
Benicar                              Teveten HCT
Benicar HCT                          Uniretic
Capoten                              Univasc
Capozide                             Vaseretic
Cozaar                               Vasotec
Hyzaar                               Zestoretic



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Important Notices - Connecticut___
                                - Continued
Lotensin                           Zestril
Lotensin HCT

Heartburn/Ulcer
Aciphex                            Prilosec
Nexium                             Protonix
Prevacid                           Zegerid

Overactive Bladder
Ditropan                           Sanctura
Ditropan XL                        Sanctura XR
Enablex                            Urispas
Gelnique

Nerve Pain
Lyrica

Bone Health
Actonel                            Fosamax Plus D
Actonel with Calcium               Skelid
Fosamax

Sleep Disorder
Ambien                             Rozerem
Edluar                             Sonata
Lunesta

Anti-Allergy Inhaled Nasal Steroids
Beconase AQ                         Omnaris
Flonase                            Rhinocort Aqua
Nasacort AQ                        Veramyst
Nasarel

Antidepressants
Aplenzin                           Rapiflux
Celexa                             Sarafem
Effexor                            Selfemra


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Important Notices - Connecticut___
                                - Continued
Paxil                          Wellbutrin
Pexeva                         Wellbutrin SR
Prozac                         Zoloft
Prozac Weekly

Skin Disorders
Aclovate                       Olux
Clobex                         Olux-e
Coraz                          Olux-Olux-E
Cutivate                       Pandel
Dermatop                       Pediaderm HC
Desonate                       Protopic
Desowen                        Psorcon
Diprolene                      Psorcon E
Diprolene AF                   Scalacort DK
Diprosone                      Temovate
Elidel                         Topicort
Elocon                         Topicort LP
Halog                          Tridesilon
Kenalog                        Ultravate
Lacticare-HC                   Ultravate PAC
Lidex                          Valisone
Locoid                         Vanos
Luxiq                          Verdeso
Momexin                        Westcort
Nucort                         Zytopic
Nuzon

Atypical Antipsychotics
Abilify                        Geodon
Abilify Discmelt               Invega
Clozaril                       Risperdal
Fanapt                         Risperdal M
Fazaclo                        Saphris



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Important Notices - Connecticut___
                                - Continued
Non-Narcotic Pain Relievers
Anaprox                        Motrin
Ansaid                         Nalfon
Arthrotec                      Naprelan
Cambia                         Naprosyn
Cataflam                       Pennsaid
Clinoril                       Prevacid Naprapac
Daypro                         Sulindac
EC-Naprosyn                    Tolectin DS
Flector Patch                  Vimovo
Indocin SR                     Voltaren
Lodine                         Voltaren Gel
Lodine XL                      Zipsor
Mobic

ADHD Medications
Adderall                       Metadate ER
Daytrana                       Methylin
Dexedrine                      Ritalin
Dextrostat                     Ritalin SR
Metadate CD

Asthma Nebulizer Solutions
Accuneb                        Perforomist
Brovana                        Xopenex

Oral Narcotic Pain Relievers
Alcet                          Panlor SS
Balacet                        Percocet
Bancap HC                      Percodan
Darvocet-N 50                  Primalev
Darvon                         Roxicodone
Darvon-N                       Ryzolt
Dazodpx                        Soma Compound/Codeine
Demerol                        Synalgos-DC


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Important Notices - Connecticut___
                                - Continued
Dilaudid                              Talwin Compound
Hycet                                 Talwin NX
Liquicet                              Tylox
Lorcet                                Ultracet
Lorcet Plus                           Ultram
Lortab                                Ultram ER
Lortab ASA                            Vicodin
Magnacet                              Vicodin ES
Maxidone                              Vicodin HP
Norco                                 Vicoprofen
Nucynta                               Xodol
Oxy-IR                                Zamicet
Panlor DC                             Zydone


HC-IMP5                                                                                                     04-10
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■ Direct Access to Obstetricians and Gynecologists

You do not need prior authorization from the plan or from any other person (including a primary care provider)
in order to obtain access to obstetrical or gynecological care from a health care professional in our network who
specializes in obstetrics or gynecology. The health care professional, however, may be required to comply with
certain procedures, including obtaining prior authorization for certain services, following a pre-approved
treatment plan, or procedures for making referrals. For a list of participating health care professionals who
specialize in obstetrics or gynecology, visit www.myCigna.com or contact customer service at the phone number
listed on the back of your ID card.
■ Selection of a Primary Care Provider
This plan generally allows the designation of a primary care provider. You have the right to designate any
primary care provider who participates in the network and who is available to accept you or your family
members. For information on how to select a primary care provider, and for a list of the participating primary
care providers, visit www.myCigna.com or contact customer service at the phone number listed on the back of
your ID card.

For children, you may designate a pediatrician as the primary care provider.

HC-NOT5                                                                                                     01-11



■   Mental Health Parity and Addiction Equity Act
The Certificate is amended as stated below:


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Important Notices - Connecticut___
                                - Continued
In the event of a conflict between the provisions of your plan documents and the provisions of this notice, the
provisions that provide the better benefit shall apply.

Visit Limits:
Any health care service billed with a Mental Health or Substance Use Disorder diagnosis, will not incur a visit
limit, including but not limited to genetic counseling.

HC-NOT93                                                                                                      08-17



Important Information___
Rebates and Other Payments
Cigna or its affiliates may receive rebates or other remuneration from pharmaceutical manufacturers in
connection with certain Medical Pharmaceuticals covered under your plan and Prescription Drug Products
included on the Prescription Drug List. These rebates or remuneration are not obtained on you or your
Employer's or plan's behalf or for your benefit. Cigna, its affiliates and the plan are not obligated to pass these
rebates on to you, or apply them to your plan's Deductible if any or take them into account in determining your
Copayments and/or Coinsurance, but some or all of the rebate value that Cigna earns for certain Prescription
Drug Products may, for example, be reflected in the discount, such as the Prescription Drug Charge, used to
assess your Deductible, Copayment, or Coinsurance payment, if any, for certain Prescription Drug Products for
which Cigna earns a rebate. Cigna and its affiliates or designees may conduct business with various
pharmaceutical manufacturers separate and apart from this plan's Medical Pharmaceutical and Prescription Drug
Product benefits. Such business may include, but is not limited to, data collection, consulting, educational grants
and research. Amounts received from pharmaceutical manufacturers pursuant to such arrangements are not
related to this plan. Cigna and its affiliates are not required to pass on to you, and do not pass on to you, such
amounts.
Coupons, Incentives and Other Communications

At various times, Cigna or its designee may send mailings to you or your Dependents or to your Physician that
communicate a variety of messages, including information about Medical Pharmaceuticals and Prescription
Drug Products. These mailings may contain coupons or offers from pharmaceutical manufacturers that enable
you or your Dependents, at your discretion, to purchase the described Medical Pharmaceutical and Prescription
Drug Product at a discount or to obtain it at no charge. Pharmaceutical manufacturers may pay for and/or
provide the content for these mailings. Cigna, its affiliates and the plan are not responsible in any way for any
decision you make in connection with any coupon, incentive, or other offer you may receive from a
pharmaceutical manufacturer or Physician.

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Discrimination is Against the Law___




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Discrimination is Against the Law___
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Cigna complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color,
national origin, age, disability or sex. Cigna does not exclude people or treat them differently because of race,
color, national origin, age, disability or sex.
Cigna:
  Provides free aids and services to people with disabilities to communicate effectively with us, such as:
  - Qualified sign language interpreters
  - Written information in other formats (large print, audio, accessible electronic formats, other formats)
  Provides free language services to people whose primary language is not English, such as:
  - Qualified interpreters
  - Information written in other languages
If you need these services, contact customer service at the toll-free phone number shown on your ID card, and
ask a Customer Service Associate for assistance.

If you believe that Cigna has failed to provide these services or discriminated in another way on the basis of
race, color, national origin, age, disability or sex, you can file a grievance by sending an email to
ACAGrievance@cigna.com or by writing to the following address:
  Cigna
  Nondiscrimination Complaint Coordinator
  P.O. Box 188016
  Chattanooga, TN 37422
If you need assistance filing a written grievance, please call the number on the back of your ID card or send an
email to ACAGrievance@cigna.com. You can also file a civil rights complaint with the U.S. Department of
Health and Human Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint
Portal, available at: https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or phone at:
  U.S. Department of Health and Human Services
  200 Independence Avenue, SW
  Room 509F, HHH Building
  Washington, D.C. 20201
  1-800-368-1019, 800-537-7697 (TDD)
Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.

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Discrimination is Against the Law___
                                  - Continued
■   Proficiency of Language Assistance Services

English - ATTENTION: Language assistance services, free of charge, are available to you. For current Cigna
customers, call the number on the back of your ID card. Otherwise, call 1.800.244.6224 (TTY: Dial 711).




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Discrimination is Against the Law___
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How to File Your Claim___

There's no paperwork for In-Network care. Just show your identification card and pay your share of the cost, if
any; your provider will submit a claim to Cigna for reimbursement. Out-of-Network claims can be submitted by
the provider if the provider is able and willing to file on your behalf. If the provider is not submitting on your
behalf, you must send your completed claim form and itemized bills to the claims address listed on the claim
form.
You may get the required claim forms from the website listed on your identification card or by using the toll-free
number on your identification card.
CLAIM REMINDERS
  BE SURE TO USE YOUR MEMBER ID AND ACCOUNT/GROUP NUMBER WHEN YOU FILE
  CIGNA'S CLAIM FORMS, OR WHEN YOU CALL YOUR CIGNA CLAIM OFFICE.
  YOUR MEMBER ID IS THE ID SHOWN ON YOUR BENEFIT IDENTIFICATION CARD.
  YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON YOUR BENEFIT IDENTIFICATION CARD.
  BE SURE TO FOLLOW THE INSTRUCTIONS LISTED ON THE BACK OF THE CLAIM FORM
  CAREFULLY WHEN SUBMITTING A CLAIM TO CIGNA.
Timely Filing of Out-of-Network Claims
Cigna will consider claims for coverage under our plans when proof of loss (a claim) is submitted within 365
days for Out-of-Network benefits after services are rendered. If services are rendered on consecutive days, such
as for a Hospital Confinement, the limit will be counted from the last date of service. If claims are not submitted
within 365 days for Out-of-Network benefits, the claim will not be considered valid and will be denied.
WARNING: Any person who knowingly and with intent to defraud any insurance company or other person
files an application for insurance or statement of claim containing any materially false information; or conceals
for the purpose of misleading, information concerning any material fact thereto, commits a fraudulent insurance
act.

HC-CLM1                                                                                                       01-11
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Eligibility - Effective Date___
■    Employee Insurance
This plan is offered to you as an Employee.
Eligibility for Employee Insurance
You will become eligible for insurance on the day you complete the waiting period if:
    you are in a Class of Eligible Employees; and
    you are an eligible, full-time Employee; and
    you normally work at least 30.0 hours a week; and
    you pay any required contribution.
If you were previously insured and your insurance ceased, you must satisfy the Waiting Period to become
insured again. If your insurance ceased because you were no longer employed in a Class of Eligible Employees,
you are not required to satisfy any waiting period if you again become a member of a Class of Eligible
Employees within 3 months after your insurance ceased.

Eligibility for Dependent Insurance
You will become eligible for Dependent insurance on the later of:
 the day you become eligible for yourself; or
 the day you acquire your first Dependent.
■ Waiting Period
None
Classes of Eligible Employees

Each Employee as reported to the insurance company by your Employer.
Effective Date of Employee Insurance
You will become insured on the date you elect the insurance by signing an approved payroll deduction or
enrollment form, as applicable, but no earlier than the date you become eligible.
You will become insured on your first day of eligibility, following your election, if you are in Active Service on
that date, or if you are not in Active Service on that date due to your health status.
Late Entrant - Employee

You are a Late Entrant if:
 you elect the insurance more than 30 days after you become eligible; or
 you again elect it after you cancel your payroll deduction (if required).
■ Dependent Insurance
For your Dependents to be insured, you will have to pay the required contribution, if any, toward the cost of
Dependent Insurance.
Effective Date of Dependent Insurance




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Eligibility - Effective Date___
                             - Continued
Insurance for your Dependents will become effective on the date you elect it by signing an approved payroll
deduction form (if required), but no earlier than the day you become eligible for Dependent Insurance. All of
your Dependents as defined will be included.
Your Dependents will be insured only if you are insured.

Late Entrant - Dependent
You are a Late Entrant for Dependent Insurance if:
    you elect that insurance more than 30 days after you become eligible for it; or
    you again elect it after you cancel your payroll deduction (if required).
Exception for Newborns
Any Dependent child born while you are insured will become insured on the date of his birth if you elect
Dependent Insurance (if additional premium is required) no later than 61 days after his birth. If you do not elect
to insure your newborn child within such 61 days, coverage for that child will end on the 61st day. No benefits
for expenses incurred beyond the 61st day will be payable.
Exception for Adopted Children

Any Dependent child placed with you for adoption while you are insured will become insured on the date of
placement, provided the child lives with you and is dependent upon you for support and maintenance, and you
elect Dependent Insurance (if additional premium is required) no later than 31 days from the date of placement.
If you do not elect to insure such child within such 31 days, coverage for that child will end on the 31st day. No
benefits for expenses incurred beyond the 31st day will be payable.

HC-ELG240                                                                                                     01-19



Important Information About Your Medical Plan___

Details of your medical benefits are described on the following pages.
■    Opportunity to Select a Primary Care Physician

Choice of Primary Care Physician:

This medical plan does not require that you select a Primary Care Physician or obtain a referral from a Primary
Care Physician in order to receive all benefits available to you under this medical plan. Notwithstanding, a
Primary Care Physician may serve an important role in meeting your health care needs by providing or
arranging for medical care for you and your Dependents. For this reason, we encourage the use of Primary Care
Physicians and provide you with the opportunity to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to select a Primary Care Physician, the Primary Care
Physician you select for yourself may be different from the Primary Care Physician you select for each of your
Dependents.

Changing Primary Care Physicians:



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Important Information About Your Medical Plan___
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You may request a transfer from one Primary Care Physician to another by contacting us at the member services
number on your ID card. Any such transfer will be effective on the first day of the month following the month in
which the processing of the change request is completed.

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Medical Benefits___


                             Open Access Plus Medical Benefits
                                      The Schedule
For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To
receive Open Access Plus Medical Benefits, you and your Dependents may be required to pay a
portion of the Covered Expenses for services and supplies. That portion is the Deductible or
Coinsurance.
If you are unable to locate a type of provider available to provide a benefit covered by this plan or
an In-Network provider available without unreasonable travel or delay; or
If there is an insufficient number or type of an In-Network provider to provide the covered benefit
without unreasonable travel or delay;
There is an exception process to obtain authorization for covered benefits by an Out-of-Network
Provider. Please call the number on the back of your ID card to speak with a member service
representative. If authorized, these approved services will be paid at your In-Network benefit level.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required
to pay under the plan in addition to Deductible, if any.
Deductibles
Deductibles are Covered Expenses to be paid by you or your Dependent before benefits are payable
under this plan. Deductibles are in addition to any Coinsurance. Once the Deductible maximum in
the Schedule has been reached, you and your family need not satisfy any further medical deductible
for the rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit
plan because of any Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate
to the Out-of-Pocket Maximum shown in The Schedule. When the Out-of-Pocket Maximum is
reached, all Covered Expenses, except charges for non-compliance penalties, are payable by the
benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for Out-of-Network charges that are not
paid by the benefit plan. The following expenses contribute to the Out-of-Pocket Maximum, and
when the Out-of-Pocket Maximum shown in The Schedule is reached, they are payable by the
benefit plan at 100%:
   - Coinsurance.
   - Plan Calendar Year Deductible.
The following Out-of-Pocket Out-of-Network Expenses and charges do not contribute to the Out-
of-Pocket Maximum and they are not payable by the benefit plan at 100% when the Out-of-Pocket
Maximum shown in The Schedule is reached:
   - Non-compliance penalties.


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Medical Benefits___
                 - Continued
                            Open Access Plus Medical Benefits
                                     The Schedule
   - Provider charges in excess of the Maximum Reimbursable Charge.
Accumulation of Plan Deductibles and Out-of-Pocket Maximum
Deductibles and Out-of-Pocket Maximum do not cross-accumulate (that is, In-Network will
accumulate to In-Network and Out-of-Network will accumulate to Out-of-Network). However, all
other plan maximums and service-specific maximums (dollar and occurrence) cross-accumulate
between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
Any In-Network Medical Out-of-Pocket Maximums will cross accumulate with any In-Network
Pharmacy Out-of-Pocket Maximums.
Assistant Surgeon Charges - The maximum amount payable will be limited to charges made by an
assistant surgeon that do not exceed a percentage of the surgeon's allowable charge as specified in
Cigna Reimbursement Policies. (For purposes of this limitation, allowable charge means the
amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon Charges - The maximum amount payable for charges made by co-surgeons will be
limited to the amount specified in Cigna Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you
are receiving In-Network services at that In-Network facility: (i) are payable at the In-Network
cost-sharing level; and (ii) the allowable amount used to determine the Plan's benefit payment is the
amount agreed to by the Out-of-Network provider and Cigna, or as required by applicable state or
Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay
or coinsurance). The member is not responsible for any charges that may be made in excess of the
allowable amount. If the Out-of-Network provider bills you for an amount higher than the amount
you owe as indicated on the Explanation of Benefits (EOB), contact Cigna Customer Service at the
phone number on your ID card.
 Out-of-Network Emergency Services Charges
1. Emergency services are covered at the In-Network cost sharing level if services are received
   from a non-participating (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency
   Services rendered in an Out-of-Network Hospital, or by an Out-of-Network provider in an In-
   Network Hospital, is the amount agreed to by the Out-of-Network provider and Cigna, or as
   required by applicable state or Federal law.
3. The allowable amount used to determine the Plan's benefit payment when Out-of-Network
   Emergency Services result in an inpatient admission is the median amount negotiated with In-
   Network facilities.




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Medical Benefits___
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                           Open Access Plus Medical Benefits
                                    The Schedule
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay
or coinsurance). The member is not responsible for any charges that may be made in excess of the
allowable amount. If the Out-of-Network provider bills you for an amount higher than the amount
you owe as indicated on the Explanation of Benefits (EOB), contact Cigna Customer Service at the
phone number on your ID card.




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Medical Benefits___
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  BENEFIT HIGHLIGHTS                     IN-NETWORK               OUT-OF-NETWORK
Lifetime Maximum                 Unlimited                    Unlimited
The percentage of Covered                                     70% of the Maximum
Expenses the Plan pays    90%                                 Reimbursable Charge
Maximum Reimbursable Charge
The Maximum Reimbursable
Charge for Out-of-Network
services other than those
described in The Schedule
sections Out-of-Network
Charges for Certain Services
and Out-of-Network Emergency
Services Charges is determined
based on the lesser of the
provider's normal charge for a
similar service or supply;
or the amount agreed to by the
Out-of-Network provider and
Cigna, or a policyholder-
selected percentile of charges
made by providers of such
service or supply in the
geographic area where it is
received as compiled in a
database selected by Cigna. If
sufficient charge data is
unavailable in the database for
that geographic area to
determine the Maximum
Reimbursable Charge, then
state, regional or national charge
data may be used. If sufficient
charge data is unavailable in the
database for that geographic
area to determine the Maximum
Reimbursable Charge, then data
in the database for similar
services may be used.              Not Applicable             80th Percentile
Calendar Year Deductible
Individual                       $2,000.00 per person         $3,000.00 per person
Family                           $4,000.00 per family         $6,000.00 per family
Family Deductible Calculation - Collective Deductible



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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                     OUT-OF-NETWORK
All family members contribute towards the family deductible. An individual cannot have claims
covered under the plan coinsurance until the total family deductible has been satisfied.
Combined Medical/Pharmacy Calendar Year
Combined Medical/Pharmacy
Deductible: includes retail and
home delivery drugs               Yes                            Yes
Out-of-Pocket Maximum
Individual                        $3,500.00 per person           $6,000.00 per person
Family Maximum                    $7,000.00 per family           $12,000.00 per family
Family Out-of-Pocket Calculation - Collective Out-of-Pocket
All family members contribute towards the family Out-of-Pocket. An individual cannot have claims
covered at 100% until the total family Out-of-Pocket has been satisfied.
Combined Medical/Pharmacy Out-of-Pocket Maximum
Combined Medical/Pharmacy
Out-of-Pocket: includes retail
and home delivery drugs           Yes                            Yes
Physician's Services
Primary Care Physician's Office                                  Plan deductible then 70% of the
Visit                           Plan deductible then 90%         Maximum Reimbursable Charge
Includes:
Second Opinion Consultations
(provided on a voluntary basis)
Surgery Performed in the
Physician's Office
Allergy Treatment/Injections
Specialty Care Physician's                                       Plan deductible then 70% of the
Office Visits                     Plan deductible then 90%       Maximum Reimbursable Charge
Includes:
Second Opinion Consultations
(provided on a voluntary basis)
Consultant and Referral
Physician's Services
Surgery Performed in the
Physician's Office
Allergy Treatment/Injections




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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                     OUT-OF-NETWORK
Note: OB/GYN providers will
be considered either as a PCP or
Specialist, depending on how
the provider contracts with
Cigna on an In-Network basis.
Out-of-Network OB/GYN
providers will be considered a
Specialist.
Allergy Serum (dispensed by a
Primary Care Physician in the                                       Plan deductible then 70% of the
office)                            Plan deductible then 90%         Maximum Reimbursable Charge
Allergy Serum (dispensed by a
Specialty Care Physician in the                                     Plan deductible then 70% of the
office)                            Plan deductible then 90%         Maximum Reimbursable Charge
Convenience Care Clinic
                                                                    Plan deductible then 70% of the
                                   Plan deductible then 90%         Maximum Reimbursable Charge
Virtual Care
Dedicated Virtual Providers
Services available through contracted virtual providers as medically appropriate.
Urgent Virtual Care Services       Plan deductible then 90%         In-Network coverage only
Dedicated Virtual Primary Care
Physician                      Plan deductible then 90%             In-Network coverage only
Dedicated Virtual Specialty
Care Physician                     Plan deductible then 90%         In-Network coverage only
Note: Dedicated Virtual
Providers may deliver services
that are payable under other
benefits (e.g., Preventive Care,
Primary Care Physician,
Behavioral;
Dermatology/Specialty Care
Physician).
Lab services supporting a
virtual visit must be obtained
through dedicated labs.
Virtual Physician Services
Services available through Physicians as medically appropriate.
Note: Physicians may deliver services virtually that are payable under other benefits (e.g.,
Preventive Care, Outpatient Therapy Services).



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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                    OUT-OF-NETWORK
Primary Care Physician Virtual                                      Plan deductible then 70% of the
Office Visit                   Plan deductible then 90%             Maximum Reimbursable Charge
Specialty Care Physician Virtual                                    Plan deductible then 70% of the
Office Visit                     90%                                Maximum Reimbursable Charge
Preventive Care
Routine Preventive Care: Well-Baby, Well-Child, Adult and Well-Woman (including
immunizations)
Calendar Year Maximum: Unlimited
Primary Care Physician's Office                                     Plan deductible then 70% of the
Visit                           100%                                Maximum Reimbursable Charge
Specialty Care Physician's                                          Plan deductible then 70% of the
Office Visit                      100%                              Maximum Reimbursable Charge
Preventive X-ray and/or Lab                                         100% of the Maximum
Services                          100%                              Reimbursable Charge
                                                                    Plan deductible then 70% of the
Immunizations                     100%                              Maximum Reimbursable Charge
Mammograms, PSA, PAP Smear
Preventive Care Related                                             100% of the Maximum
Services (i.e. “routine” services) 100%                             Reimbursable Charge
                                  Subject to the plan's x-ray & lab Subject to the plan's x-ray & lab
Diagnostic Related Services       benefit; based on place of        benefit; based on place of
(i.e. “non-routine” services)     service                           service
Inpatient Hospital
Services including but not                                          Plan deductible then 70% of the
limited to:                       Plan deductible then 90%          Maximum Reimbursable Charge
Semi-Private Room and Board
Private Room
Special Care Units (ICU/CCU)
Physician and Surgeon Charges
Laboratory, Radiology and other
Diagnostic and Therapeutic
Services
Administered Drugs,
Medications, Biological and
Fluids Special Care Units
Operating Room, Recovery
Room Anesthesia Inhalation
Therapy



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Medical Benefits___
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  BENEFIT HIGHLIGHTS                    IN-NETWORK                    OUT-OF-NETWORK
Radiation Therapy and
Chemotherapy
Outpatient Facility Services
Operating Room, Recovery
Room, Procedures Room,
Treatment Room and                                                Plan deductible then 70% of the
Observation Room                 Plan deductible then 90%         Maximum Reimbursable Charge
Inpatient Hospital Physician's Visits/Consultations
                                                                  Plan deductible then 70% of the
                                 Plan deductible then 90%         Maximum Reimbursable Charge
Inpatient Hospital Professional Services
                                                                  Plan deductible then 70% of the
Surgeon                          Plan deductible then 90%         Maximum Reimbursable Charge
Radiologist, Pathologist and                                      Plan deductible then 70% of the
Anesthesiologist                 Plan deductible then 90%         Maximum Reimbursable Charge
Outpatient Professional Services
                                                                  Plan deductible then 70% of the
Surgeon                          Plan deductible then 90%         Maximum Reimbursable Charge
Radiologist, Pathologist and                                      Plan deductible then 70% of the
Anesthesiologist                 Plan deductible then 90%         Maximum Reimbursable Charge
Emergency Services
Hospital Emergency Room          Plan deductible then 90%         Same as In-Network
Includes Outpatient Professional Services (radiology, pathology and ER Physician), X-ray and/or
Lab services, Advanced Radiological Imaging (i.e. MRIs, MRAs, Cat Scans, PET Scans and
Nuclear Medicine, etc.)
Urgent Care Services
Urgent Care Facility or
Outpatient Facility              Plan deductible then 90%         Same as In-Network
Includes Outpatient Professional Services (radiology, pathology and Physician), X-ray and/or Lab,
Advanced Radiological Imaging (i.e. MRIs, MRAs, Cat Scans, PET Scans and Nuclear Medicine,
etc.)
Air Ambulance                    Plan deductible then 90%         Same as In-Network
Ambulance
                                 Plan deductible then 90%         Same as In-Network
Inpatient Services at Other Health Care Facilities




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Medical Benefits___
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  BENEFIT HIGHLIGHTS                     IN-NETWORK                  OUT-OF-NETWORK
Includes Skilled Nursing
Facility, Rehabilitation Hospital                                Plan deductible then 70% of the
and Sub-Acute Facilities          Plan deductible then 90%       Maximum Reimbursable Charge
Calendar Year Maximum: 60 days for Skilled Nursing Facility
Radiology Services (includes pre-admission testing)
Primary Care Physician's Office                                  Plan deductible then 70% of the
Visit                           Plan deductible then 90%         Maximum Reimbursable Charge
Specialty Care Physician's                                       Plan deductible then 70% of the
Office Visit                      Plan deductible then 90%       Maximum Reimbursable Charge
                                                                 Plan deductible then 70% of the
Outpatient Hospital Facility      Plan deductible then 90%       Maximum Reimbursable Charge
Laboratory Services (includes pre-admission testing)
Primary Care Physician's Office                                  Plan deductible then 70% of the
Visit                           Plan deductible then 90%         Maximum Reimbursable Charge
Specialty Care Physician's                                       Plan deductible then 70% of the
Office Visit                      Plan deductible then 90%       Maximum Reimbursable Charge
                                                                 Plan deductible then 70% of the
Outpatient Hospital Facility      Plan deductible then 90%       Maximum Reimbursable Charge
                                                                 Plan deductible then 70% of the
Independent Lab Facility          Plan deductible then 90%       Maximum Reimbursable Charge
Advanced Radiological Imaging
                                                                 Plan deductible then 70% of the
MRI, CAT, PET, All other scans Plan deductible then 90%          Maximum Reimbursable Charge
Includes:
Primary Care Physician Office
Visit
Specialty Care Physician Office
Visit
Inpatient Facility
Outpatient Facility
Outpatient Therapy Services
Outpatient Physical, Speech,
Hearing and Occupational                                         Plan deductible then 70% of the
Therapy                           Plan deductible then 90%       Maximum Reimbursable Charge
Outpatient Physical, Speech, Hearing and Occupational Therapy Calendar Year Maximum (does
not apply to the treatment of autism): 60 visits
Note: The Outpatient Physical, Speech, Hearing and Occupational Therapy limit is not applicable
to mental health conditions.


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                OUT-OF-NETWORK
Outpatient Physical, Speech, Hearing and Occupational Therapy Lifetime Maximum: Unlimited
Outpatient Cardiac Rehabilitation
Specialty Care Physician's                                      Plan deductible then 70% of the
Office Visit                       Plan deductible then 90%     Maximum Reimbursable Charge
                                                                Plan deductible then 70% of the
Outpatient Facility                Plan deductible then 90%     Maximum Reimbursable Charge
Outpatient Professional Services
                                                                Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%     Maximum Reimbursable Charge
Radiologist, Pathologist and                                    Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%     Maximum Reimbursable Charge
Calendar Year Maximum: Unlimited
Chiropractic Care Services
                                                                Plan deductible then 70% of the
                                   Plan deductible then 90%     Maximum Reimbursable Charge
Calendar Year Maximum: Unlimited
Lifetime Maximum: Unlimited
Home Health Care Services
Calendar Year Maximum: 100
visits (includes outpatient
private nursing when approved
as Medically Necessary)
Dialysis services in the home
setting will not accumulate to
the Home Health Care
maximum
(The limit is not applicable to
Mental Health and Substance                                     Plan deductible then 75% of the
Use Disorder conditions.)          Plan deductible then 90%     Maximum Reimbursable Charge
Hospice
                                                                Plan deductible then 70% of the
Inpatient Services                 Plan deductible then 90%     Maximum Reimbursable Charge
                                                                Plan deductible then 75% of the
Outpatient Services                Plan deductible then 90%     Maximum Reimbursable Charge
Lifetime Maximum: Unlimited
Medical Pharmaceuticals
                                                                Plan deductible then 70% of the
Inpatient Facility                 Plan deductible then 90%     Maximum Reimbursable Charge


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                      OUT-OF-NETWORK
                                   Cigna Pathwell Specialty
                                   Network Provider:
Cigna Pathwell Specialty                                              Plan deductible then 70% of the
Medical Pharmaceuticals            Plan deductible then 90%           Maximum Reimbursable Charge
                                                                      Plan deductible then 70% of the
Other Medical Pharmaceuticals Plan deductible then 90%                Maximum Reimbursable Charge
Condition-Specific Care
Includes select Medically
Necessary, preauthorized           Plan deductible, then 100% of
surgical procedures and            the bundled charge, subject to
services, subject to program       program participation
participation requirements.        requirements                       In-Network coverage only
Charges for covered expenses
not included in the bundled
charge are payable subject to
applicable copayments,
coinsurance, and deductible if
any.
If you choose not to enroll in
the program, charges for
covered expenses are payable
subject to applicable
copayments, coinsurance, and
deductible if any.
Condition-Specific Care Travel Maximum
$600 per procedure                 Plan deductible, then 100%         In-Network coverage only
Travel amount is a variable flat
dollar amount, up to a travel
maximum, based on factors
such as a patient's treatment
plan, location and duration of
facility stay; and subject to
program participation
requirements.
Gene Therapy
Includes prior authorized gene
therapy products and services
directly related to their
administration, when Medically
Necessary.




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Medical Benefits___
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   BENEFIT HIGHLIGHTS                     IN-NETWORK                      OUT-OF-NETWORK
Gene therapy must be received
at an In-Network facility
specifically contracted with
Cigna to provide the specific
gene therapy. Gene therapy at
other In-Network facilities is
not covered.
                                   Covered same as Medical            Plan deductible then 70% of the
Gene Therapy Product               Pharmaceuticals                    Maximum Reimbursable Charge
                                                                      Plan deductible then 70% of the
Inpatient Facility                 Plan deductible then 90%           Maximum Reimbursable Charge
                                                                      Plan deductible then 70% of the
Outpatient Facility                Plan deductible then 90%           Maximum Reimbursable Charge
Inpatient Professional Services
                                                                      Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%           Maximum Reimbursable Charge
Radiologist, Pathologist,                                             Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%           Maximum Reimbursable Charge
Outpatient Professional Services
                                                                      Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%           Maximum Reimbursable Charge
Radiologist, Pathologist,                                             Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%           Maximum Reimbursable Charge
Travel Maximum                     Plan deductible then 100%          In-Network coverage only
$10,000 per episode of gene
therapy
                                   (available only for travel when
                                   prior authorized to receive gene
                                   therapy at a participating In-
                                   Network facility specifically
                                   contracted with Cigna to
                                   provide the specific gene
                                   therapy)
Maternity Care Services
Initial Visit to Confirm
Pregnancy with a Primary Care                                         Plan deductible then 70% of the
Physician                     Plan deductible then 90%                Maximum Reimbursable Charge
Initial Visit to Confirm
Pregnancy with a Specialty Care                                       Plan deductible then 70% of the
Physician                       Plan deductible then 90%              Maximum Reimbursable Charge


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                 OUT-OF-NETWORK
All subsequent Prenatal Visits,
Postnatal Visits and Physician's
Delivery Charges (i.e., global                                   Plan deductible then 70% of the
maternity fee)                   Plan deductible then 90%        Maximum Reimbursable Charge
Primary Care Physician's Office
Visits in addition to the global
maternity fee when performed                                     Plan deductible then 70% of the
by an OB/GYN                     Plan deductible then 90%        Maximum Reimbursable Charge
Specialty Care Physician's
Office Visits in addition to the
global maternity fee when                                        Plan deductible then 70% of the
performed by an OB/GYN             Plan deductible then 90%      Maximum Reimbursable Charge
Delivery--Facility (Inpatient                                    Plan deductible then 70% of the
Hospital, Birthing Center)         Plan deductible then 90%      Maximum Reimbursable Charge
Abortion
Includes elective and non-
elective procedures                Based on place of service     Based on place of service
Family Planning Services
Primary Care Physician's Office                                  Plan deductible then 70% of the
Visit                           Plan deductible then 90%         Maximum Reimbursable Charge
Specialty Care Physician's                                       Plan deductible then 70% of the
Office Visit                       Plan deductible then 90%      Maximum Reimbursable Charge
Laboratory and Radiology
Services                           Based on place of service     Based on place of service
Surgical Sterilization Procedure
for Vasectomy (excludes
reversals)                       Based on place of service       Based on place of service
Inpatient Professional Services
                                                                 Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%      Maximum Reimbursable Charge
Radiologist, Pathologist and                                     Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%      Maximum Reimbursable Charge
Outpatient Professional Services
                                                                 Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%      Maximum Reimbursable Charge
Radiologist, Pathologist and                                     Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%      Maximum Reimbursable Charge
Women's Sterilization Procedures, e.g. tubal ligations (excluding reversals)
                                   100%                          Based on place of service


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                   OUT-OF-NETWORK
Contraceptive Coverage
Includes coverage for
contraceptive devices, e.g.,
Depo-Provera and Intrauterine
Devices (IUDs). Diaphragms
are also covered when services
are provided in the Primary                                       Plan deductible then 70% of the
Care Physician's office.           100%                           Maximum Reimbursable Charge
Includes coverage for
contraceptive devices, e.g.,
Depo-Provera and Intrauterine
Devices (IUDs). Diaphragms
are also covered when services
are provided in the Specialty                                     Plan deductible then 70% of the
Care Physician's office.           100%                           Maximum Reimbursable Charge
Infertility Services
Coverage will be provided for the following services:
  Testing and treatment services performed in connection with an underlying medical condition.
  Testing performed specifically to determine the cause of infertility.
  Treatment and/or procedures performed specifically to restore fertility (e.g., procedures to
  correct an infertility condition).
  Artificial Insemination regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
  Treatment and/or procedures performed specifically to enable conception regardless of an
  infertility condition.
Primary Care Physician's Office
Visits, Lab and Radiology Tests                                   Plan deductible then 70% of the
and Counseling                  Plan deductible then 90%          Maximum Reimbursable Charge
Specialty Care Physician's
Office Visits, Lab and                                            Plan deductible then 70% of the
Radiology Tests and Counseling Plan deductible then 90%           Maximum Reimbursable Charge
                                                                  Plan deductible then 70% of the
Inpatient Facility                 Plan deductible then 90%       Maximum Reimbursable Charge
                                                                  Plan deductible then 70% of the
Outpatient Facility                Plan deductible then 90%       Maximum Reimbursable Charge
Inpatient Professional Services
                                                                  Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%       Maximum Reimbursable Charge
Radiologist, Pathologist and                                      Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%       Maximum Reimbursable Charge
Outpatient Professional Services


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                        IN-NETWORK                      OUT-OF-NETWORK
                                                                        Plan deductible then 70% of the
Surgeon                             Plan deductible then 90%            Maximum Reimbursable Charge
Radiologist, Pathologist and                                            Plan deductible then 70% of the
Anesthesiologist                    Plan deductible then 90%            Maximum Reimbursable Charge
Lifetime Maximum: Unlimited
Includes all related services billed with an infertility diagnosis (i.e. x-ray or lab services billed by an
independent facility).
Transplant Services and Related Specialty Care
Includes all medically appropriate, non-experimental transplants up to a specific organ transplant
maximum:
Heart - $150,000.00
Liver - $230,000.00
Bone Marrow - $130,000.00
Heart/Lung - $185,000.00
Lung - $185,000.00
Pancreas - $50,000.00
Kidney - $80,000.00
Kidney/Pancreas - $80,000.00
Primary Care Physician's Office                                         Plan deductible then 70% of the
Visit                           Plan deductible then 90%                Maximum Reimbursable Charge
Specialty Care Physician's                                              Plan deductible then 70% of the
Office Visit                        Plan deductible then 90%            Maximum Reimbursable Charge
                                                                        Plan deductible then 70% of the
Inpatient Facility                  Plan deductible then 90%            Maximum Reimbursable Charge
Inpatient Professional Services
                                                                        Plan deductible then 70% of the
Surgeon                             Plan deductible then 90%            Maximum Reimbursable Charge
Radiologist, Pathologist and                                            Plan deductible then 70% of the
Anesthesiologist                    Plan deductible then 90%            Maximum Reimbursable Charge
                                    100% (only available when
Travel expenses                     using LifeSOURCE facility)          In-Network coverage only
Durable Medical Equipment (including External Prosthetic Appliances)
                                                                        Plan deductible then 80% of the
External Prosthetic Appliances      Plan deductible then 90%            Maximum Reimbursable Charge
Other Durable Medical                                                   Plan deductible then 70% of the
Equipment                           Plan deductible then 90%            Maximum Reimbursable Charge
Lifetime Maximum (applies to all non-life-sustaining Durable Medical Equipment): Unlimited


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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                    OUT-OF-NETWORK
Calendar Year Maximum: Unlimited
Wigs
Wigs prescribed for hair loss as
a result of chemotherapy for                                        Plan deductible then 90% of the
cancer.                          Plan deductible then 90%           Maximum Reimbursable Charge
Note: Services also accumulate to the plan's out-of-pocket maximum.
Diabetic Equipment
                                                                    Plan deductible then 70% of the
Lifetime Maximum: Unlimited       Plan deductible then 90%          Maximum Reimbursable Charge
Calendar Year Maximum: Unlimited
Note: Expenses for Diabetic Equipment accumulate to the plan's out-of-pocket maximum.
Dialysis
Covered at the following places Covered based on place of           Covered based on place of
of service:                     service                             service
Physician's Office
Inpatient Facility
Outpatient Facility
Home Setting
Hearing Aids
One hearing aid for each
hearing impaired ear every 24                                       Plan deductible then 70% of the
months.                           Plan deductible then 90%          Maximum Reimbursable Charge
Dental Care
Limited to charges made for a continuous course of dental treatment for an injury to teeth.
Primary Care Physician's Office                                     Plan deductible then 70% of the
Visit                           Plan deductible then 90%            Maximum Reimbursable Charge
Specialty Care Physician's                                          Plan deductible then 70% of the
Office Visit                      Plan deductible then 90%          Maximum Reimbursable Charge
                                                                    Plan deductible then 70% of the
Inpatient Facility                Plan deductible then 90%          Maximum Reimbursable Charge
                                                                    Plan deductible then 70% of the
Outpatient Facility               Plan deductible then 90%          Maximum Reimbursable Charge
Inpatient Professional Services
                                                                    Plan deductible then 70% of the
Surgeon                           Plan deductible then 90%          Maximum Reimbursable Charge
Radiologist, Pathologist and                                        Plan deductible then 70% of the
Anesthesiologist                  Plan deductible then 90%          Maximum Reimbursable Charge

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Medical Benefits___
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  BENEFIT HIGHLIGHTS                      IN-NETWORK                    OUT-OF-NETWORK
Outpatient Professional Services
                                                                   Plan deductible then 70% of the
Surgeon                            Plan deductible then 90%        Maximum Reimbursable Charge
Radiologist, Pathologist and                                       Plan deductible then 70% of the
Anesthesiologist                   Plan deductible then 90%        Maximum Reimbursable Charge
TMJ Surgical and Non-surgical
Always excludes appliances and orthodontic treatment.
                                   Based on place and type of      Based on place and type of
TMJ Treatment                      service                         service
Calendar Year Maximum: Unlimited
Lifetime Maximum: Unlimited
Routine Foot Disorders
Not covered except for services associated with foot care for diabetes, peripheral neuropathies and
peripheral vascular disease when Medically Necessary.
Treatment Resulting from Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be
considered a medical expense until the medical condition is stabilized. Once the medical condition
is stabilized, whether the treatment will be characterized as either a medical expense or a mental
health/substance use disorder expense will be determined by the utilization review Physician in
accordance with the applicable mixed services claim guidelines.
Mental Health
Inpatient Services
(i.e. acute inpatient and                                          Plan deductible then 70% of the
residential treatment)             Plan deductible then 90%        Maximum Reimbursable Charge
Outpatient Services
Office Visit
(i.e. individual, family and
group psychotherapy,
medication management, virtual                                     Plan deductible then 70% of the
care, etc.)                    Plan deductible then 90%            Maximum Reimbursable Charge
All Other Outpatient Services
(i.e. partial hospitalization,
intensive outpatient services,                                     Plan deductible then 70% of the
virtual care, etc.)            Plan deductible then 90%            Maximum Reimbursable Charge
Substance Use Disorder
Inpatient Services




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Medical Benefits___
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   BENEFIT HIGHLIGHTS                    IN-NETWORK                OUT-OF-NETWORK
(i.e. acute inpatient
detoxification, acute inpatient
rehabilitation and residential                                 Plan deductible then 70% of the
treatment)                        Plan deductible then 90%     Maximum Reimbursable Charge
Outpatient Services
Office Visit
(i.e. individual, family and
group psychotherapy,
medication management, virtual                                 Plan deductible then 70% of the
care, etc.)                    Plan deductible then 90%        Maximum Reimbursable Charge
All Other Outpatient Services
(i.e. partial hospitalization,
intensive outpatient services,                                 Plan deductible then 70% of the
virtual care, etc.)            Plan deductible then 90%        Maximum Reimbursable Charge




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Medical Benefits___
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■    Certification Requirements - Out-of-Network

For You and Your Dependents
Pre-Admission Certification/Continued Stay Review for Hospital Confinement
Pre-Admission Certification (PAC) and Continued Stay Review (CSR) refer to the process used to certify the
Medical Necessity and length of a Hospital Confinement when you or your Dependent require treatment in a
Hospital:
    as a registered bed patient, except for 48/96 hour maternity stays;
    for Mental Health or Substance Use Disorder Residential Treatment Services.
You or your Dependents should request PAC prior to any non-emergency treatment in a Hospital described
above. In the case of an emergency admission, you should contact the Review Organization within 48 hours
after the admission. For an admission due to pregnancy, you should call the Review Organization by the end of
the third month of pregnancy. CSR should be requested, prior to the end of the certified length of stay, for
continued Hospital Confinement.
Covered Expenses incurred will be reduced by the lesser of 50% or $250.00 for Hospital charges made for each
separate admission to the Hospital unless PAC is received: prior to the date of admission; or in the case of an
emergency admission, within 48 hours after the date of admission.
Covered Expenses incurred for which benefits would otherwise be payable under this plan for the charges listed
below will be reduced by the lesser of 50% or $250.00:
    Hospital charges for Room and Board, for treatment listed above for which PAC was performed, which are
    made for any day in excess of the number of days certified through PAC or CSR; and
    any Hospital charges for treatment listed above for which PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review program by a Review Organization with which Cigna
has contracted.
In any case, those expenses incurred for which payment is excluded by the terms set forth above will not be
considered as expenses incurred for the purpose of any other part of this plan, except for the “Coordination of
Benefits” section.
Outpatient Certification Requirements - Out-of-Network
Outpatient Certification refers to the process used to certify the Medical Necessity of outpatient diagnostic
testing and outpatient procedures, including, but not limited to those listed in this section when performed as an
outpatient in a Free-Standing Surgical Facility, Other Health Care Facility or a Physician's office. You or your
Dependent should call the toll-free number on the back of your I.D. card to determine if Outpatient Certification
is required prior to any outpatient diagnostic testing or outpatient procedures. Outpatient Certification is
performed through a utilization review program by a Review Organization with which Cigna has contracted.
Outpatient Certification should only be requested for non-emergency procedures or services, and should be
requested by you or your Dependent at least four working days (Monday through Friday) prior to having the
procedure performed or the service rendered.




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Medical Benefits___
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Covered Expenses incurred will be reduced by the lesser of 50% or $250.00 for charges made for any outpatient
diagnostic testing or outpatient procedure performed unless Outpatient Certification is received prior to the date
the testing or procedure is performed.
Covered Expenses incurred will not include expenses incurred for charges made for outpatient diagnostic testing
or outpatient procedures for which Outpatient Certification was performed, but, which was not certified as
Medically Necessary.
In any case, those expenses incurred for which payment is excluded by the terms set forth above will not be
considered as expenses incurred for the purpose of any other part of this plan, except for the “Coordination of
Benefits” section.
Outpatient Diagnostic Testing and Outpatient Procedures
Including, but not limited to:
    Advanced radiological imaging - CT Scans, MRI, MRA or PET scans.
    Hysterectomy.

HC-PAC112                                                                                                      02-20



■    Prior Authorization/Pre-Authorized
The term Prior Authorization means the approval that a Participating Provider must receive from the Review
Organization, prior to services being rendered, in order for certain services and benefits to be covered under this
policy.
Services that require Prior Authorization include, but are not limited to:
    inpatient Hospital services, except for 48/96 hour maternity stays.
    inpatient services at any participating Other Health Care Facility.
    residential treatment.
    outpatient facility services.
    partial hospitalization.
    advanced radiological imaging.
    non-emergency Ambulance.
    certain Medical Pharmaceuticals.
    home health care services.
    radiation therapy.
    transplant services.

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■    Covered Expenses
The term Covered Expenses means expenses incurred by a person while covered under this plan for the charges
listed below for:
    preventive care services; and


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Medical Benefits___
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  services or supplies that are Medically Necessary for the care and treatment of an Injury or a Sickness, as
  determined by Cigna.
As determined by Cigna, Covered Expenses may also include all charges made by an entity that has directly or
indirectly contracted with Cigna to arrange, through contracts with providers of services and/or supplies, for the
provision of any services and/or supplies listed below.
Any applicable Copayments, Deductibles or limits are shown in The Schedule.
Covered Expenses
  charges for inpatient Room and Board and other Necessary Services and Supplies made by a Hospital, subject
  to the limits as shown in The Schedule.
  charges for inpatient Room and Board and other Necessary Services and Supplies made by an Other Health
  Care Facility, including a Skilled Nursing Facility, a Rehabilitation Hospital or a subacute facility as shown in
  The Schedule.
  charges for licensed Ambulance service to or from a Hospital.
  charges for isolation care and Emergency Services provided by the state's mobile field hospital.
  charges for outpatient medical care and treatment received at a Hospital.
  charges for outpatient medical care and treatment received at a Free-Standing Surgical Facility.
  charges for Emergency Services.
  charges for Urgent Care.
  charges made by a Physician or a Psychologist for professional services.
  charges made by a Nurse for professional nursing service.
  charges made for anesthetics, including, but not limited to supplies and their administration.
  charges for diagnostic x-ray.
  charges for advanced radiological imaging, including for example CT Scans, MRI, MRA and PET scans and
  laboratory examinations, x-ray, radiation therapy and radium and radioactive isotope treatment and other
  therapeutic radiological procedures.
  charges for chemotherapy.
  charges for blood transfusions.
  charges for oxygen and other gases and their administration.
  charges made for Medically Necessary foot care for diabetes, peripheral neuropathies and peripheral vascular
  disease.
  charges for a single baseline mammogram for women ages 35 to 39; and mammograms every year for women
  age 40 and older. Coverage is also provided for:
  - comprehensive ultrasound screening of an entire breast or breasts if a mammogram demonstrates
    heterogeneous or dense breast tissue based on the Breast Imaging Reporting and Data System established by
    the American College of Radiology, or if a woman is believed to be at increased risk for breast cancer due to
    family history or prior personal history of breast cancer, positive genetic testing or other indications as
    determined by a woman's Physician, physician assistant, or advanced practice registered nurse, subject to
    any plan provisions that apply to other covered services; and
  - magnetic resonance imaging (MRI) of an entire breast or breasts, in accordance with guidelines established
    by the American Cancer Society.
  - a baseline mammogram, provided by breast tomosynthesis, at the option of the woman covered under the
    policy, for any woman who is 35 to 39 years of age.
  - a baseline mammogram, provided by breast tomosynthesis, at the option of the woman covered under the
    policy, every year for any woman who is 40 years of age or older.




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Medical Benefits___
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  charges for laboratory and diagnostic tests including prostate-specific antigen (PSA) tests to screen for prostate
  cancer paid In-Network at 100%. In addition, provide coverage of PSA and treatment for men who are
  symptomatic or whose biological father or brother has been diagnosed with prostate cancer, and all men 50 or
  older for Out-of-Network paid same as any other illness.
  charges made for laboratory services, radiation therapy and other diagnostic and therapeutic radiological
  procedures.
  charges for immunizations, including charges for consultations of at least twenty minutes with the health care
  provider authorized to administer the immunization.
  charges made for Family Planning, including medical history, physical exam, related laboratory tests, medical
  supervision in accordance with generally accepted medical practices, other medical services, tubal ligations,
  vasectomies, elective abortions and infertility testing.
  charges made for the following preventive care services as defined by recommendations from the following:
  - the U.S. Preventive Services Task Force (A and B recommendations);
  - the Advisory Committee on Immunization Practices (ACIP) for immunizations;
  - the American Academy of Pediatrics' Periodicity Schedule of the Bright Futures Recommendations for
    Pediatric Preventive Health Care;
  - the Uniform Panel of the Secretary's Advisory Committee on Heritable Disorders in Newborns and Children;
    and
  - with respect to women, evidence-informed preventive care and screening guidelines supported by the Health
    Resources and Services Administration.
Detailed information is available at www.healthcare.gov. For additional information on immunizations, visit the
immunization schedule section of www.cdc.gov.
  charges made for child preventive care services for a Dependent child age 21 or younger, at any of the
  approximate age intervals identified below. Coverage consists of the following services delivered or
  supervised by a Physician, in keeping with prevailing medical standards:
  - a history;
  - physical examination;
  - development assessment;
  - anticipatory guidance; and
  - appropriate immunizations and laboratory tests.
  Coverage does not include:
    * more than one visit to one provider for child preventive care services at each of the approximate age
      intervals (birth, two months, four months, six months, nine months, 12 months, 15 months, 18 months,
      two years, three years, four years, five years and six years), up to a total of 13 visits for each Dependent
      child;
    * services for which benefits are otherwise provided under this Covered Expenses section; or
    * services for which benefits are not payable according to the Expenses Not Covered section.
  charges made for surgical and non-surgical treatment of Temporomandibular Joint Dysfunction (TMJ).
  charges made for contraceptives, other than oral contraceptives. Refer to the Prescription Drug Benefits
  section for information regarding coverage of oral contraceptives. Coverage and counseling includes
  prescription contraception methods approved by the U.S. Food and Drug Administration, including drugs and
  devices.
  charges made for hearing aids, including but not limited to semi-implantable hearing devices, audiant bone
  conductors and Bone Anchored Hearing Aids (BAHAs). A hearing aid is any device that amplifies and
  delivers speech and other sounds at levels equivalent to that of normal speech and conversation. Coverage may
  be subject to limitations as shown in The Schedule.
  Medically Necessary orthognathic surgery to repair or correct a severe facial deformity or disfigurement.

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Medical Benefits___
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 charges for pain treatment procedures and medications, including all means Medically Necessary to make a
 diagnosis and treatment plan. Such procedures or medications must be ordered by a pain management
 specialist Physician who is credentialed by the American Academy of Pain Management or who is a board
 certified anesthesiologist, neurologist, physiatrist, oncologist or radiation oncologist with additional training in
 pain management. Pain means any sensation in which a person experiences severe discomfort, distress or
 suffering due to provocation of sensory nerves.
 charges for at least 48 hours of inpatient care following a mastectomy or lymph node dissection. Longer or
 shorter inpatient care or outpatient surgery must be recommended by the Physician who is treating the patient
 after conferring with the patient.
 charges for a mother and her newborn for at least 48 hours of inpatient care after a vaginal delivery and at least
 96 hours of care after a cesarean section. A shorter length of stay is acceptable if the mother consults with her
 Physician and both agree it is appropriate. If the mother and newborn are discharged earlier than the 48/96
 hours, two follow-up visits will be covered if provided by qualified healthcare personnel trained in postpartum
 maternal and newborn care. The first visit will be within 48 hours of discharge; the second will be within
 seven days of discharge. Follow-up visits include, but are not limited to: physical assessment of the newborn;
 parent education; assistance and training in breast and/or bottle feeding; assessment of the home support
 system; and any Medically Necessary and appropriate clinical tests. Any stay beyond the 48/96 hours will be
 covered if deemed Medically Necessary.
 charges for breastfeeding supplies, and support and counseling without Copayments, Deductibles, or
 Coinsurance, for the duration of breastfeeding.
 charges for Medically Necessary early intervention program services provided as part of an individualized
 family service plan (IFSP) approved by the Connecticut Department of Developmental Services (DDS) “Birth
 to Three Program” guidelines. Covered IFSP services are provided from birth to the child's third birthday, and
 include some services provided to family members. Children older than 3 may be entitled to services if they
 are receiving early intervention services and are eligible or being evaluated for participation in preschool
 services pursuant to the Individuals with Disabilities Education Act, until such children are enrolled in such
 preschool services, and who need early intervention services because such children are:
 experiencing a significant developmental delay as measured by standardized diagnostic instruments and
 procedures, including informed clinical opinion, in one or more of the following areas: cognitive development;
 physical development, including vision or hearing; communication development; social or emotional
 development; or adaptive skills; or
 diagnosed as having a physical or mental condition that has a high probability of resulting in developmental
 delay.
 charges for a wig, if prescribed by a licensed oncologist for a patient who suffers hair loss as a result of
 chemotherapy.
 for laboratory and diagnostic tests for all types of diabetes; Medically Necessary equipment required for
 treatment; and drugs and supplies prescribed by the Physician.
 for Medically Necessary training for treatment of diabetes, to include: up to 10 hours of counseling following
 initial diagnosis on nutrition and proper use of equipment and supplies; up to 4 hours following diagnosis by a
 Physician or other licensed medical practitioner, including Advanced Practice Registered Nurse, following
 change in symptoms, or conditions that warrants change in patient's self-management; up to 4 hours of training
 and education on new techniques and treatments.
 for treatment of Lyme disease to include 30 days of intravenous antibiotic therapy, 60 days of oral antibiotic
 therapy, or both. Further treatment will be covered if recommended by a board certified rheumatologist,
 infectious disease specialist or neurologist.
 for treatment of medical complications of alcoholism such as cirrhosis of the liver, gastrointestinal bleeding,
 pneumonia and delirium tremens.



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Medical Benefits___
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  for neuropsychological testing ordered by a licensed Physician to assess the extent of any cognitive or
  developmental delays due to chemotherapy or radiation treatment in any Dependent child diagnosed with
  cancer on or after January 1, 2000.
  charges made for the diagnosis and treatment of autism spectrum disorders, on the same basis as for any other
  Sickness.
Coverage is provided for the following treatments when Medically Necessary and when identified and ordered
by a licensed Physician, licensed Psychologist or licensed clinical social worker for an insured diagnosed with
an autism spectrum disorder:
  - behavioral therapy.
  - prescription drugs prescribed by a licensed Physician, licensed physician assistant or advanced practice
    registered nurse for the treatment of symptoms and comorbidities of autism spectrum disorders (to the extent
    that prescription drugs are covered under the plan).
  - direct psychiatric or consultative services provided by a licensed psychiatrist.
  - direct psychological or consultative services provided by a licensed Psychologist.
  - physical therapy provided by a licensed physical therapist.
  - speech and language pathology services provided by a licensed speech and language pathologist.
  - occupational therapy provided by a licensed occupational therapist.
  charges made for Medically Necessary wound-care supplies for the treatment of epidermolysis bullosa, when
  administered under the direction of a Physician.
  charges made for blood lead screening and risk assessments, when ordered by a primary care provider for a
  Dependent child. Screenings and assessments will be covered as recommended in the Childhood Lead
  Poisoning Prevention Screening Advisory Committee Recommendations for Childhood Lead Screening in
  Connecticut, as follows:
  - lead screening at least annually for each child 9 to 35-months of age, inclusive.
  - lead screening for any child 36 to 72 months of age, inclusive, who has not been previously screened, or for
    any child under 72 months of age, if clinically indicated as determined by the primary care provider.
  - a medical risk assessment at least annually for each child 36 to 71 months of age, inclusive.
  - a medical risk assessment at any time for any child 36 months of age or younger who is determined by the
    primary care provider to be in need of a risk assessment.
  charges for the surgical removal of tumors and treatment of leukemia, including: outpatient chemotherapy;
  reconstructive surgery; cost of any non-dental prosthesis, including any maxillofacial prosthesis used to
  replace anatomic structures lost during treatment for head and neck tumors or additional appliances essential
  for the support of such prosthesis; and outpatient chemotherapy following surgical procedures in connection
  with the treatment of tumors.
  charges for colorectal cancer screening including, but not limited to: an annual fecal occult blood test;
  colonoscopy, flexible sigmoidoscopy or radiologic imaging, in accordance with recommendations established
  by the American Cancer Society, based on the ages, family histories and frequencies provided in the
  recommendations. Any additional colonoscopy ordered by a Physician in a policy year will be covered without
  requiring the covered person to pay any additional Coinsurance, Deductible or other out-of-pocket expense.
  Any treatment procedure that a Physician initially undertakes as a screening colonoscopy or screening
  sigmoidoscopy will not be subject to the Deductible.
  charges for human leukocyte antigen testing (also referred to as histocompatibility locus antigen testing) for A,
  B, and DR antigens for use in bone marrow transplantation, for covered persons being tested to be potential
  transplant donors. Coverage is limited to covered persons who complete and sign an informed consent form at
  the time of such testing that authorizes the results of the test to be used for participation in the National
  Marrow Donor Program.
  Medically Necessary appliances and supplies related to an ostomy; colostomy; ileostomy; or urostomy
  surgery, such as collection devices, irrigation equipment and supplies, skin barriers, and skin protectors.

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Medical Benefits___
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Gender Reassignment Surgery
  charges for services related to gender reassignment, only if deemed Medically Necessary, including gender
  reassignment surgery. Coverage when applicable includes behavioral counseling, hormone therapy, genital
  reconstructive surgical procedures, and initial mastectomy or breast reduction and specific services including
  but not limited to breast augmentation with or without prosthetic implant, facial feminization surgery, thyroid
  cartilage reduction, speech therapy, voice feminization surgery, and electrolysis epilation for the face and
  genitalia.
Convenience Care Clinic
Convenience Care Clinics provide for common ailments and routine services, including but not limited to, strep
throat, ear infections or pink eye, immunizations and flu shots.
Virtual Care
Dedicated Virtual Providers

Includes charges for the delivery of medical and health-related services, consultations and remote monitoring by
dedicated virtual providers as medically appropriate through audio, video, and secure internet-based
technologies.
Virtual Physician Services

Includes charges for the delivery of medical and health-related services, consultations, and remote monitoring as
medically appropriate through audio, video, and secure internet-based technologies that are similar to office visit
services provided in a face-to-face setting. Coverage does not include services provided by telephone alone
unless provided by In-Network virtual providers or a provider enrolled in the Connecticut Medical Assistance
Program (CMAP) providing health care or health services to a CMAP recipient.
Behavioral consultations and services via secure telecommunications technologies that shall include video
capability, including telephones and internet, when delivered through a behavioral provider.

Nutritional Counseling
Charges for counseling when diet is a part of the medical management of a medical or behavioral condition.
Enteral Nutrition
Enteral Nutrition means medical foods that are specially formulated for enteral feedings or oral consumption.
Coverage includes amino acid modified preparations and low protein modified food products prescribed by a
Physician for the therapeutic treatment of Inherited Metabolic Disease. Inherited Metabolic Disease means: a
disease for which newborn screening is required, and cystic fibrosis. Low protein modified food product means
a product formulated to have less than one gram of protein per serving and intended for the dietary treatment of
an Inherited Metabolic Disease. Amino acid modified preparation means a product intended for the dietary
treatment of Inherited Metabolic Diseases under the direction of a Physician.




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Medical Benefits___
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Coverage also includes specialized formulas for children up to age twelve when Medically Necessary for
treatment of a specific disease or condition and administered under the supervision of a Physician. Specialized
formula means nutritional formula for children up to age twelve that is exempt from FDA nutritional labeling
requirements and is intended for use solely under medical supervision in the dietary management of specific
diseases.

Internal Prosthetic/Medical Appliances
Charges for internal prosthetic/medical appliances that provide permanent or temporary internal functional
support for non-functional body parts are covered. Medically Necessary repair, maintenance or replacement of a
covered appliance is also covered.

Anesthesia for Dental Procedures
Coverage for general anesthesia, nursing and related Hospital services provided in conjunction with inpatient,
outpatient or one-day dental services shall be provided if: the services are deemed Medically Necessary by the
treating dentist or oral surgeon and the insured's Primary Care Physician (if election of a Primary Care Physician
is required under the plan); and the patient is either:
  - determined by a dentist, in conjunction with a Primary Care Physician (if election of a Primary Care
    Physician is required under the plan) to have a dental condition that requires procedures performed in a
    Hospital; or
  - a person who has a developmental disability determined by the Primary Care Physician (if election of a
    Primary Care Physician is required under the plan) to place the person at serious risk.
Craniofacial Disorders
Coverage for Medically Necessary orthodontic processes and appliances for the treatment of craniofacial
disorders shall be provided for individuals eighteen years of age or younger, if such processes and appliances are
prescribed by a craniofacial team recognized by the American Cleft Palate-Craniofacial Association. No
coverage shall be provided for cosmetic surgery.

HC-COV1222                                                                                                     01-22



Condition-Specific Care
Select Medically Necessary, preauthorized surgical procedures and services may be eligible for Condition-
Specific Care that may include bundling certain charges into a streamlined claim approach that may reduce out-
of-pocket costs.

Contact Cigna to be directed to the program for a list of services and supplies included and excluded under the
program, and to enroll in the program.
To participate in the program, you must enroll in the program prior to surgery; fulfill your responsibilities under
the program; receive your surgical services from a qualifying provider who participates in the program; and this
plan must be your primary medical plan for coordination of benefits purposes.
If all program requirements are met, and subject to plan terms and conditions, the bundled charge will be
payable under the plan as shown in the Condition-Specific Care information in The Schedule.



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Medical Benefits___
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Charges for covered expenses not included in the bundled charge are payable subject to applicable copayments,
coinsurance, and deductible if any.
If you choose not to enroll in the program, charges for covered expenses are payable subject to applicable
copayments, coinsurance, and deductible if any.

Condition-Specific Care Travel Services
Charges made for non-taxable travel expenses incurred by you in connection with a preapproved procedure or
service under the program are covered subject to the following conditions and limitations. Benefits for
transportation and lodging are available to you only if you are the recipient of a preapproved procedure or
service under the program from a designated program provider. The term recipient is defined to include a person
receiving authorized procedures or services under the program. The travel benefit is designed to offset the
recipient's travel expenses, including charges for: transportation to and from the procedure or service site; and
lodging while at, or traveling to and from the procedure or service site.
In addition, the travel benefit is designed to offset travel expenses for charges associated with the items above
for one companion to accompany you. The term companion includes your spouse, a member of your family,
your legal guardian, or any person not related to you, but actively involved as your caregiver who is at least 18
years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within a minimum of 20 miles and a maximum of 250 miles of your
home, depending on the procedure being performed; food and meals; laundry bills; telephone bills; alcohol or
tobacco products; and charges for transportation that exceed coach class rates.

HC-COV1183                                                                                                      01-22



Home Health Care Services
Home Health Care Services are provided under the terms of a home health care plan for the person named in
that plan, and are approved in writing by a Physician or Advanced Practice Registered Nurse; within seven days
following discharge from a Hospital or Other Health Care Facility. This does not apply to a person who is
terminally ill with a life expectancy of 6 months or less.
Charges for skilled care provided by certain health care providers during a visit to the home, when the home is
determined to be a medically appropriate setting for the services. A visit is defined as a period of 4 hours or less.
Home Health Care Services are subject to a maximum of 16 hours in total per day.
Home Health Care Services are covered when skilled care is required under any of the following conditions:
  - the required skilled care cannot be obtained in an outpatient facility.
  - the patient's home is determined by Cigna to be the most medically appropriate place to receive specific
    services.
Covered services include:
  - skilled nursing services provided by a Registered Nurse (RN); Licensed Practical Nurse (LPN); Licensed
    Vocational Nurse (LVN) and an Advanced Practice Registered Nurse (APRN).
  - services provided by health care providers such as physical therapist; occupational therapist and speech
    therapist.

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Medical Benefits___
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  - services of a home health aide when provided in direct support of those Nurses and health care providers.
  - necessary consumable medical supplies and home infusion therapy administered or used by a health care
    provider.
  - administration of drugs and medicines that are prescribed by a Physician, Advanced Practice Registered
    Nurse or Physicians' Assistant and laboratory services to the extent these services and supplies would have
    been covered if the person had remained confined.
The following are excluded from coverage:
  - services provided by a person who is a member of the patient's family, even when that person is a health care
    provider.
  - services provided by a person who normally resides in the patient's house, even when that person is a health
    care provider.
  - non-skilled care, Custodial Services, and assistance in the activities of daily living, including but not limited
    to eating, bathing, dressing or other services; self-care activities; homemaker services; and services primarily
    for rest, domiciliary or convalescent care.
Home Health Care Services, for a patient who is dependent upon others for non-skilled care and/or Custodial
Services, is provided only when there is a family member or caregiver present in the home at the time of the
health care visit to provide the non-skilled care and/or Custodial Services.

HC-COV1053                                                                                                     01-21



Hospice Care Services
Charges for services for a person diagnosed with advanced Illness (having a life expectancy of twelve or fewer
months). Services provided by a Hospice Care Program are available to those who have ceased treatment and to
those continuing to receive curative treatment and therapies.
A Hospice Care Program rendered by a Hospice Facility or Hospital includes services:
  by a Hospice Facility for Room and Board and Services and Supplies;
  by a Hospice Facility for services provided on an outpatient basis;
  by a Physician for professional services;
  by a Psychologist, social worker, family counselor or ordained minister for individual and family counseling;
  for pain relief treatment, including drugs, medicines and medical supplies.
A Hospice Care Program rendered by an Other Health Care Facility or in the Home includes services:
  part-time or intermittent nursing care by or under the supervision of a Nurse;
  part-time or intermittent services of an Other Health Professional;
  physical, occupational and speech therapy;
  medical supplies;
  drugs and medicines lawfully dispensed only on the written prescription of a Physician;
  laboratory services;
but only to the extent such charges would have been payable under the policy if the person had remained or been
Confined in a Hospital or Hospice Facility.
The following charges for Hospice Care Services are not included as Covered Expenses:
  services of a person who is a member of your family or your Dependent's family or who normally resides in
  your house or your Dependent's house;

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Medical Benefits___
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  services for any period when you or your Dependent is not under the care of a Physician;
  services or supplies not listed in the Hospice Care Program;
  to the extent that any other benefits are payable for those expenses under the policy;
  services or supplies that are primarily to aid you or your Dependent in daily living.

HC-COV1185                                                                                                      01-22



Mental Health and Substance Use Disorder Services
Mental Health Services are services that are required to treat a disorder that impairs the behavior, emotional
reaction or thought processes. In determining benefits payable, charges made for the treatment of any
physiological conditions related to Mental Health will not be considered to be charges made for treatment of
Mental Health.
Substance Use Disorder is defined as the psychological or physical dependence on alcohol or other mind-
altering drugs that requires diagnosis, care, and treatment. In determining benefits payable, charges made for the
treatment of any physiological conditions related to rehabilitation services for alcohol or drug abuse or addiction
will not be considered to be charges made for treatment of Substance Use Disorder.
Inpatient Mental Health Services
Services that are provided by a Hospital while you or your Dependent is Confined in a Hospital for the treatment
and evaluation of Mental Health. Inpatient Mental Health Services include Mental Health Residential Treatment
Services.
Mental Health Residential Treatment Services are services provided by a Hospital for the evaluation and
treatment of the psychological and social functional disturbances that are a result of subacute Mental Health
conditions.
Mental Health Residential Treatment Center means an institution which specializes in the treatment of
psychological and social disturbances that are the result of Mental Health conditions; provides a subacute,
structured, psychotherapeutic treatment program, under the supervision of Physicians; provides 24-hour care, in
which a person lives in an open setting; and is licensed in accordance with the laws of the appropriate legally
authorized agency as a residential treatment center.

A person is considered confined in a Mental Health Residential Treatment Center when she/he is a registered
bed patient in a Mental Health Residential Treatment Center upon the recommendation of a Physician.
Outpatient Mental Health Services
Services of Providers who are qualified to treat Mental Health when treatment is provided on an outpatient
basis, while you or your Dependent is not Confined in a Hospital, and is provided in an individual, group or
Mental Health Partial Hospitalization or Intensive Outpatient Therapy Program. Covered services include, but
are not limited to, outpatient treatment of conditions such as: anxiety or depression which interfere with daily
functioning; emotional adjustment or concerns related to chronic conditions, such as psychosis or depression;
emotional reactions associated with marital problems or divorce; child/adolescent problems of conduct or poor
impulse control; affective disorders; suicidal or homicidal threats or acts; eating disorders; or acute exacerbation
of chronic Mental Health conditions (crisis intervention and relapse prevention), and outpatient testing and
assessment.


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Medical Benefits___
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Mental Health Partial Hospitalization Services are rendered not less than 4 hours and not more than 12 hours in
any 24-hour period by a certified/licensed Mental Health program in accordance with the laws of the appropriate
legally authorized agency.
A Mental Health Intensive Outpatient Therapy Program consists of distinct levels or phases of treatment that are
provided by a certified/licensed Mental Health program in accordance with the laws of the appropriate, legally
authorized agency. Intensive Outpatient Therapy Programs provide a combination of individual, family and/or
group therapy in a day, totaling nine or more hours in a week. Mental Health Intensive Outpatient Therapy
Program services are exchanged with Outpatient Mental Health services at a rate of one visit of Mental Health
Intensive Outpatient Therapy being equal to one visit of Outpatient Mental Health Services.
Inpatient Substance Use Disorder Rehabilitation Services
Services provided for rehabilitation, while you or your Dependent is Confined in a Hospital, when required for
the diagnosis and treatment of abuse or addiction to alcohol and/or drugs. Inpatient Chemical Dependency
Services include Residential Treatment services.
Substance Use Disorder Residential Treatment Services are services provided by a Hospital for the
evaluation and treatment of the psychological and social functional disturbances that are a result of subacute
Substance Use Disorder conditions.
Substance Use Disorder Residential Treatment Center means an institution which (a) specializes in the
treatment of psychological and social disturbances that are the result of Substance Use Disorder; (b) provides a
subacute, structured, psychotherapeutic treatment program, under the supervision of Physicians; (c) provides 24-
hour care, in which a person lives in an open setting; and (d) is licensed in accordance with the laws of the
appropriate legally authorized agency as a residential treatment center.
A person is considered confined in a Substance Use Disorder Residential Treatment Center when she/he is a
registered bed patient in a Substance Use Disorder Residential Treatment Center upon the recommendation of a
Physician.
Outpatient Substance Use Disorder Rehabilitation Services
Services provided for the diagnosis and treatment of abuse or addiction to alcohol and/or drugs, while you or
your Dependent is not Confined in a Hospital, including outpatient rehabilitation in an individual, a group, or a
Substance Use Disorder Partial Hospitalization or Intensive Outpatient Therapy Program.
Substance Use Disorder Partial Hospitalization services are rendered not less than 4 hours and not more than 12
hours in any 24-hour period by a certified/licensed Substance Use Disorder program in accordance with the laws
of the appropriate legally authorized agency.
A Substance Use Disorder Intensive Outpatient Therapy Program consists of distinct levels or phases of
treatment that are provided by a certified/licensed Substance Use Disorder program in accordance with the laws
of the appropriate legally authorized agency. Intensive Outpatient Therapy Programs provide a combination of
individual, family and/or group therapy in a day, totaling nine, or more hours in a week.
Substance Use Disorder Detoxification Services
Detoxification and related medical ancillary services are provided when required for the diagnosis and treatment
of addiction to alcohol and/or drugs. Cigna will decide, based on the Medical Necessity of each situation,
whether such services will be provided in an inpatient or outpatient setting.

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Medical Benefits___
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Exclusions
The following are specifically excluded from Mental Health and Substance Use Disorder Services:
  treatment of disorders which have been diagnosed as organic mental disorders associated with permanent
  dysfunction of the brain.
  developmental disorders, including but not limited to, developmental reading disorders, developmental
  arithmetic disorders, developmental language disorders or developmental articulation disorders.
  counseling for activities of an educational nature except for extended day treatment programs as described in
  Section 17a-22 of the 2016 Supplement to the Connecticut general statues.
  counseling for borderline intellectual functioning.
  counseling for occupational problems.
  counseling related to consciousness raising.
  vocational or religious counseling.
  I.Q. testing.
  custodial care, including but not limited to geriatric day care except for extended day treatment programs as
  described in Section 17a-22 of the 2016 Supplement to Connecticut general statutes.
  psychological testing on children requested by or for a school system.
  occupational/recreational therapy programs even if combined with supportive therapy for age-related cognitive
  decline.

HC-COV786                                                                                                        01-19



Durable Medical Equipment
  charges made for purchase or rental of Durable Medical Equipment that is ordered or prescribed by a
  Physician and provided by a vendor approved by Cigna for use outside a Hospital or Other Health Care
  Facility. Coverage for repair, replacement or duplicate equipment is provided only when required due to
  anatomical change and/or reasonable wear and tear. All maintenance and repairs that result from a person's
  misuse are the person's responsibility.
  Durable Medical Equipment is defined as items which are designed for and able to withstand repeated use by
  more than one person; customarily serve a medical purpose; generally are not useful in the absence of Injury
  or Sickness; are appropriate for use in the home; and are not disposable. Such equipment includes, but is not
  limited to, crutches, hospital beds, ventilators, insulin pumps and wheel chairs.
  Durable Medical Equipment items that are not covered include but are not limited to those that are listed
  below:
  - Bed Related Items: bed trays, over the bed tables, bed wedges, pillows, custom bedroom equipment,
    mattresses, including non-power mattresses, custom mattresses and posturepedic mattresses.
  - Bath Related Items: bath lifts, non-portable whirlpools, bathtub rails, toilet rails, raised toilet seats, bath
    benches, bath stools, hand held showers, paraffin baths, bath mats, and spas.
  - Fixtures to Real Property: ceiling lifts and wheelchair ramps.
  - Car/Van Modifications.
  - Air Quality Items: room humidifiers, vaporizers and air purifiers.
  - Other Equipment: centrifuges, needleless injectors, heat lamps, heating pads, cryounits, cryotherapy
    machines, ultraviolet cabinets that emit Ultraviolet A (UVA) rays, sheepskin pads and boots, postural
    drainage board, AC/DC adaptors, scales (baby and adult), stair gliders, elevators, saunas, cervical and
    lumbar traction devices, exercise equipment and diathermy machines.


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Medical Benefits___
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HC-COV1008                                                                                                    01-21



External Prosthetic Appliances and Devices
  charges made for the initial purchase and fitting of external prosthetic appliances and devices available only by
  prescription which are necessary for the alleviation or correction of Injury, Sickness or congenital defect.
External prosthetic appliances and devices include prostheses/prosthetic appliances and devices; orthoses and
orthotic devices; braces; and splints.
Prostheses/Prosthetic Appliances and Devices

Prostheses/prosthetic appliances and devices are defined as fabricated replacements for missing body parts.
Prostheses/prosthetic appliances and devices include, but are not limited to:
  limb prostheses;
  terminal devices such as hands or hooks;
  speech prostheses; and
  facial prostheses.
Orthoses and Orthotic Devices

Orthoses and orthotic devices are defined as orthopedic appliances or apparatuses used to support, align, prevent
or correct deformities. Coverage is provided for custom foot orthoses and other orthoses as follows:
  Non-foot orthoses - only the following non-foot orthoses are covered:
  - rigid and semi-rigid custom fabricated orthoses;
  - semi-rigid prefabricated and flexible orthoses; and
  - rigid prefabricated orthoses including preparation, fitting and basic additions, such as bars and joints.
  Custom foot orthoses - custom foot orthoses are only covered as follows:
  - for persons with impaired peripheral sensation and/or altered peripheral circulation (e.g. diabetic neuropathy
    and peripheral vascular disease);
  - when the foot orthosis is an integral part of a leg brace and is necessary for the proper functioning of the
    brace;
  - when the foot orthosis is for use as a replacement or substitute for missing parts of the foot (e.g. amputated
    toes) and is necessary for the alleviation or correction of Injury, Sickness or congenital defect; and
  - for persons with neurologic or neuromuscular condition (e.g. cerebral palsy, hemiplegia, spina bifida)
    producing spasticity, malalignment, or pathological positioning of the foot and there is reasonable
    expectation of improvement.
The following are specifically excluded orthoses and orthotic devices:
  prefabricated foot orthoses;
  cranial banding and/or cranial orthoses. Other similar devices are excluded except when used postoperatively
  for synostotic plagiocephaly. When used for this indication, the cranial orthosis will be subject to the
  limitations and maximums of the External Prosthetic Appliances and Devices benefit;
  orthosis shoes, shoe additions, procedures for foot orthopedic shoes, shoe modifications and transfers;
  orthoses primarily used for cosmetic rather than functional reasons; and
  orthoses primarily for improved athletic performance or sports participation.
Braces



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Medical Benefits___
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A Brace is defined as an orthosis or orthopedic appliance that supports or holds in correct position any movable
part of the body and that allows for motion of that part.
The following braces are specifically excluded: Copes scoliosis braces.
Splints
A Splint is defined as an appliance for preventing movement of a joint or for the fixation of displaced or
movable parts.
Coverage for replacement of external prosthetic appliances and devices is limited to the following:
  replacement due to regular wear. Replacement for damage due to abuse or misuse by the person will not be
  covered.
  replacement required because anatomic change has rendered the external prosthetic appliance or device
  ineffective. Anatomic change includes significant weight gain or loss, atrophy and/or growth.
  replacement due to a surgical alteration or revision of the impacted site.
Coverage for replacement is limited as follows:
  no more than once every 24 months for persons 19 years of age and older; and
  no more than once every 12 months for persons 18 years of age and under.
The following are specifically excluded external prosthetic appliances and devices unless determined to be
Medically Necessary:
  external and internal power enhancements for external prosthetic devices; and
  myoelectric prostheses and orthoses.

HC-COV1052                                                                                                      01-21



Infertility Services
  charges made for services related to diagnosis of infertility and treatment of infertility once a condition of
  infertility has been diagnosed. Services include, but are not limited to: infertility drugs, approved surgeries and
  other therapeutic procedures that have been demonstrated in existing peer-reviewed, evidence-based, scientific
  literature to have a reasonable likelihood of resulting in pregnancy; laboratory tests; sperm washing or
  preparation; diagnostic evaluations; gamete intrafallopian transfer (GIFT); in vitro fertilization (IVF); zygote
  intrafallopian transfer (ZIFT); low tubal ovum transfer; and the services of an embryologist including, but not
  limited to, uterine embryo lavage and embryo transfer.
  Services also include ovulation induction for no less than a lifetime maximum benefit of four cycles, and
  intrauterine insemination up to a lifetime maximum benefit of three cycles.
  Coverage for in vitro fertilization (IVF), gamete intrafallopian transfer (GIFT), zygote intrafallopian transfer
  (ZIFT) and low tubal ovum transfer services is limited to those individuals who are unable to conceive or
  sustain a successful pregnancy through less expensive and medically viable (as determined by the individual's
  Physician) treatments or procedures covered under the plan, for no less than a combined lifetime maximum
  benefit of two cycles with not more than two transfers per cycle.
  The lifetime maximum benefits above are determined by all treatments provided in a covered person's
  lifetime while the person has been continuously covered (no break in coverage) under this plan, beginning on
  the first plan effective date or renewal date on or after October 1, 2005.

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Medical Benefits___
                 - Continued
  Coverage for infertility services is subject to prior authorization. Covered infertility treatment must be
  performed at facilities that conform to the standards and guidelines developed by the American Society of
  Reproductive Medicine or the Society of Reproductive Endocrinology and Infertility.
Infertility is defined as:
  - the condition of an individual who is unable to conceive or produce conception or sustain a successful
    pregnancy during a one-year period.
  - the inability of opposite-sex partners to achieve conception after six months of unprotected intercourse.
  - the inability of a woman, with or without an opposite-sex partner, to achieve conception after at least six
    trials of medically supervised artificial insemination over a one-year period; and
  - the inability of a woman, with or without an opposite-sex partner, to achieve conception after at least three
    trials of medically supervised artificial insemination over a six-month period of time.
  This benefit includes diagnosis and treatment of both male and female infertility.

  However, the following are specifically excluded infertility services:
  - reversal of male and female voluntary sterilization;
  - infertility services when the infertility is caused by or related to voluntary sterilization;
  - donor charges and services;
  - cryopreservation of sperm and eggs;
  - gestational carriers and surrogate parenting arrangements; and
  - any experimental, investigational or unproven infertility procedures or therapies.

HC-COV775                                                                                                      01-19



Outpatient Therapy Services

Charges for the following therapy services:
Cognitive Therapy, Hearing Therapy, Occupational Therapy, Osteopathic Manipulation, Physical
Therapy, Pulmonary Rehabilitation, Speech Therapy
  charges for therapy services are covered when provided as part of a program of treatment.
Cardiac Rehabilitation
  charges for Phase II cardiac rehabilitation provided on an outpatient basis following diagnosis of a qualifying
  cardiac condition when Medically Necessary. Phase II is a Hospital-based outpatient program following an
  inpatient Hospital discharge. The Phase II program must be Physician directed with active treatment and EKG
  monitoring.
  Phase III and Phase IV cardiac rehabilitation are not covered. Phase III follows Phase II and is generally
  conducted at a recreational facility primarily to maintain the patient's status achieved through Phases I and II.
  Phase IV is an advancement of Phase III which includes more active participation and weight training.
Chiropractic Care Services




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Medical Benefits___
                 - Continued
  charges for diagnostic and treatment services utilized in an office setting by chiropractic Physicians.
  Chiropractic treatment includes the conservative management of acute neuromusculoskeletal conditions
  through manipulation and ancillary physiological treatment rendered to specific joints to restore motion,
  reduce pain, and improve function. For these services you have direct access to qualified chiropractic
  Physicians.
Coverage is provided when Medically Necessary in the most medically appropriate setting to:
  restore function (called “rehabilitative”):
  - to restore function that has been impaired or lost.
  - to reduce pain as a result of Sickness, Injury, or loss of a body part.
  improve, adapt or attain function (sometimes called “habilitative”):
  - to improve, adapt or attain function that has been impaired or was never achieved as a result of congenital
    abnormality (birth defect).
  - to improve, adapt or attain function that has been impaired or was never achieved because of mental health
    and substance use disorder conditions. Includes conditions such as autism and intellectual disability, or
    mental health and substance use disorder conditions that result in a developmental delay.
Coverage is provided as part of a program of treatment when the following criteria are met:
  the individual's condition has the potential to improve or is improving in response to therapy, and maximum
  improvement is yet to be attained.
  there is an expectation that the anticipated improvement is attainable in a reasonable and generally predictable
  period of time.
  the therapy is provided by, or under the direct supervision of, a licensed health care professional acting within
  the scope of the license.
  the therapy is Medically Necessary and medically appropriate for the diagnosed condition.
Coverage for occupational therapy is provided only for purposes of enabling individuals to perform the activities
of daily living after an Injury or Sickness.

Therapy services that are not covered include:
  sensory integration therapy.
  treatment of dyslexia.
  maintenance or preventive treatment provided to prevent recurrence or to maintain the patient's current status.
  charges for Chiropractic Care not provided in an office setting.
  vitamin therapy.
Coverage is administered according to the following:
  multiple therapy services provided on the same day constitute one day of service for each therapy type.

HC-COV1012                                                                                                    01-21



Breast Reconstruction and Breast Prostheses
  charges made for reconstructive surgery following a mastectomy; benefits include: surgical services for
  reconstruction of the breast on which surgery was performed; surgical services for reconstruction of the non-
  diseased breast to produce symmetrical appearance; postoperative breast prostheses; and mastectomy bras and
  prosthetics, limited only to the Connecticut-mandated maximums shown in The Schedule. During all stages of
  mastectomy, treatment of physical complications, including lymphedema therapy, are covered.
Reconstructive Surgery

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Medical Benefits___
                 - Continued
  charges made for reconstructive surgery or therapy to repair or correct a severe physical deformity or
  disfigurement which is accompanied by functional deficit; (other than abnormalities of the jaw or conditions
  related to TMJ disorder) provided that: the surgery or therapy restores or improves function; reconstruction is
  required as a result of Medically Necessary, non-cosmetic surgery; or the surgery or therapy is performed prior
  to age 19 and is required as a result of the congenital absence or agenesis (lack of formation or development)
  of a body part. Repeat or subsequent surgeries for the same condition are covered only when there is the
  probability of significant additional improvement as determined by the utilization review Physician.

HC-COV653                                                                                                         12-17



Transplant Services and Related Specialty Care
Charges made for human organ and tissue transplant services which include solid organ and bone marrow/stem
cell procedures at designated facilities throughout the United States or its territories. This coverage is subject to
the following conditions and limitations.
Transplant services include the recipient's medical, surgical and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell procurement. Transplant services are covered only if
they are required to perform any of the following human to human organ or tissue transplants: allogeneic bone
marrow/stem cell, autologous bone marrow/stem cell, cornea, heart, heart/lung, kidney, kidney/pancreas, liver,
lung, pancreas or intestine which includes small bowel-liver or multi-visceral. Implantation procedures for
artificial heart, percutaneous ventricular assist device (PVAD), extracorporeal membrane oxygenation (ECMO),
ventricular assist device (VAD), and intra-aortic balloon pump (IABP) are also covered.
  All transplant services and related specialty care services, other than cornea transplants, are covered when
  received at Cigna LifeSOURCE Transplant Network® facilities.
  Transplant services and related specialty care services received at any other facility, including non-
  Participating Provider facilities and Participating Provider facilities not specifically contracted with Cigna for
  transplant services and related specialty care services, are covered at the Out-of-Network level.
  Cornea transplants received at a facility that is specifically contracted with Cigna for this type of transplant are
  payable at the In-Network level.
Coverage for organ procurement costs are limited to costs directly related to the procurement of an organ, from a
cadaver or a live donor. Organ procurement costs shall consist of hospitalization and surgery necessary for
removal of an organ and transportation of a live donor (refer to Transplant and Related Specialty Care Travel
Services). Compatibility testing undertaken prior to procurement is covered if Medically Necessary. Costs
related to the search for, and identification of a bone marrow or stem cell donor for an allogeneic transplant are
also covered.
Advanced cellular therapy, including but not limited to, immune effector cell therapies and Chimeric Antigen
Receptor Therapy (CAR-T) cellular therapy, is covered when performed at a Cigna LifeSOURCE Transplant
Network ® facility with an approved stem cell transplant program. Advanced cellular therapy received at any
other facility, including non-Participating Provider facilities and Participating Provider facilities not specifically
contracted with Cigna for advanced cellular therapy, are covered at the Out-of-Network level.
Transplant and Related Specialty Care Travel Services
Charges made for non-taxable travel expenses incurred by you in connection with a pre-approved organ/tissue
transplant are covered subject to the following conditions and limitations:


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Medical Benefits___
                 - Continued
  Transplant and related specialty care travel benefits are not available for cornea transplants.
  Benefits for transportation and lodging are available to the recipient of a pre-approved organ/tissue transplant
  and/or related specialty care from a designated Cigna LifeSOURCE Transplant Network ® facility.
  The term recipient is defined to include a person receiving authorized transplant related services during any of
  the following: evaluation, candidacy, transplant event, or post-transplant care.
  Travel expenses for the person receiving the transplant will include charges for: transportation to and from the
  designated Cigna LifeSOURCE Transplant Network® facility (including charges for a rental car used during
  a period of care at the Cigna designated LifeSOURCE Transplant Network ® facility); and lodging while at,
  or traveling to and from the Cigna LifeSOURCE Transplant Network® facility.
  In addition to your coverage for the charges associated with the items above, such charges will also be
  considered covered travel expenses for one companion to accompany you. The term companion includes your
  spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved
  as your caregiver who is at least 18 years of age.
  The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
  income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
  telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.
These benefits for Transplant Services and Related Specialty Care, and for Transplant and Related Specialty
Care Travel Services are only available when the covered person is the recipient of an organ/tissue transplant.
Travel expenses for the designated live donor for a covered recipient are covered subject to the same conditions
and limitations noted above.
Charges for the expenses of a donor companion are not covered. No transplant and related specialty care
services or travel benefits are available when the covered person is the donor for an organ/tissue transplant; the
transplant recipient's plan would cover all donor costs.

HC-COV1013                                                                                                     01-21



Medical Pharmaceuticals
The plan covers charges made for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.

Benefits under this section are provided only for Medical Pharmaceuticals that, because of their characteristics
as determined by Cigna, require a qualified licensed health care professional to administer or directly supervise
administration.
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including, but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.


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Medical Benefits___
                 - Continued
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as a Medical Pharmaceutical may become available, or other market events may occur. Market
events that may affect the coverage status of a Medical Pharmaceutical include, but are not limited to, an
increase in the cost of a Medical Pharmaceutical.
Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following categories of Medical Pharmaceutical are not included in the formulary:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
However, in the event that a non-formulary Medical Pharmaceutical is Medically Necessary for an individual
member, Cigna makes available an exception process to allow for coverage.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are the most cost and
clinically effective treatments. Preferred regimens are covered unless the covered person is not a candidate for
the regimen and a Medical Necessity coverage exception is obtained.

HC-COV1260                                                                                                    01-23



Medical Pharmaceuticals
The plan covers charges made for Medical Pharmaceuticals that may be administered in an Inpatient setting,
Outpatient setting, Physician's office, or in a covered person's home.
Benefits under this section are provided only for Medical Pharmaceuticals that, because of their characteristics
as determined by Cigna, require a qualified licensed health care professional to administer or directly supervise
administration.




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Medical Benefits___
                 - Continued
Certain Medical Pharmaceuticals are subject to prior authorization requirements or other coverage conditions.
Additionally, certain Medical Pharmaceuticals are subject to step therapy requirements. This means that in order
to receive coverage, the covered person may be required to try a specific Medical Pharmaceutical before trying
others. Medical Pharmaceuticals administered in an Inpatient facility are reviewed per Inpatient review
guidelines.
Cigna determines the utilization management requirements and other coverage conditions that apply to a
Medical Pharmaceutical by considering a number of factors, including, but not limited to:
  Clinical factors, which may include but are not limited to Cigna's evaluations of the site of care and the
  relative safety or relative efficacy of Medical Pharmaceuticals.
  Economic factors, which may include but are not limited to the cost of the Medical Pharmaceutical and
  assessments of cost effectiveness after rebates.
The coverage criteria for a Medical Pharmaceutical may change periodically for various reasons. For example, a
Medical Pharmaceutical may be removed from the market, a new Medical Pharmaceutical in the same
therapeutic class as a Medical Pharmaceutical may become available, or other market events may occur. Market
events that may affect the coverage status of a Medical Pharmaceutical include, but are not limited to, an
increase in the cost of a Medical Pharmaceutical.
Certain Medical Pharmaceuticals that are used for treatment of complex chronic conditions, are high cost, and
are administered and handled in a specialized manner may be subject to additional coverage criteria or require
administration by a participating provider in the network for the Cigna Pathwell Specialty Network. Cigna
determines which injections, infusions, and implantable drugs are subject to these criteria and requirements.
The Cigna Pathwell Specialty Network includes but is not limited to contracted physician offices, ambulatory
infusion centers, home and outpatient hospital infusion centers, and contracted specialty pharmacies. When the
Cigna Pathwell Specialty Network cannot meet the clinical needs of the customer as determined by Cigna,
exceptions are considered and approved when appropriate.
A complete list of those Medical Pharmaceuticals subject to additional coverage criteria or that require
administration by a participating provider in the Cigna Pathwell Specialty Network is available at
www.cigna.com/PathwellSpecialty.
The following are not covered under the plan, including but not limited to:
  Medical Pharmaceutical regimens that have a Therapeutic Equivalent or Therapeutic Alternative to another
  covered Prescription Drug Product(s);
  Medical Pharmaceuticals newly approved by the Food & Drug Administration (FDA) up to the first 180 days
  following its market launch;
  Medical Pharmaceutical regimens for which there is an appropriate lower cost alternative for treatment.
In the event a covered Medical Pharmaceutical is not clinically appropriate, Cigna makes available an exception
process to allow for access to non-covered drugs when Medically Necessary.
Cigna may consider certain Medical Pharmaceutical regimens as preferred when they are clinically effective
treatments and the most cost effective. Preferred regimens are covered unless the covered person is not a
candidate for the regimen and a Medical Necessity coverage exception is obtained.

HC-COV1186                                                                                                     01-23




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Medical Benefits___
                 - Continued
Gene Therapy
Charges for gene therapy products and services directly related to their administration are covered when
Medically Necessary. Gene therapy is a category of pharmaceutical products approved by the U.S. Food and
Drug Administration (FDA) to treat or cure a disease by:
  replacing a disease-causing gene with a healthy copy of the gene.
  inactivating a disease-causing gene that may not be functioning properly.
  introducing a new or modified gene into the body to help treat a disease.
Each gene therapy product is specific to a particular disease and is administered in a specialized manner. Cigna
determines which products are in the category of gene therapy, based in part on the nature of the treatment and
how it is distributed and administered.
Coverage includes the cost of the gene therapy product; medical, surgical, and facility services directly related to
administration of the gene therapy product; and professional services.
Gene therapy products and their administration are covered when prior authorized to be received at In-Network
facilities specifically contracted with Cigna for the specific gene therapy service. Gene therapy products and
their administration received at other facilities are not covered.
Gene Therapy Travel Services
Charges made for non-taxable travel expenses incurred by you in connection with a prior authorized gene
therapy procedure are covered subject to the following conditions and limitations.
Benefits for transportation and lodging are available to you only when you are the recipient of a prior authorized
gene therapy; and when the gene therapy products and services directly related to their administration are
received at a participating In-Network facility specifically contracted with Cigna for the specific gene therapy
service. The term recipient is defined to include a person receiving prior authorized gene therapy related services
during any of the following: evaluation, candidacy, event, or post care.
Travel expenses for the person receiving the gene therapy include charges for: transportation to and from the
gene therapy site (including charges for a rental car used during a period of care at the facility); and lodging
while at, or traveling to and from, the site.
In addition to your coverage for the charges associated with the items above, such charges will also be
considered covered travel expenses for one companion to accompany you. The term companion includes your
spouse, a member of your family, your legal guardian, or any person not related to you, but actively involved as
your caregiver who is at least 18 years of age.
The following are specifically excluded travel expenses: any expenses that if reimbursed would be taxable
income, travel costs incurred due to travel within 60 miles of your home; food and meals; laundry bills;
telephone bills; alcohol or tobacco products; and charges for transportation that exceed coach class rates.

HC-COV886                                                                                                      01-20



Clinical Trials




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Medical Benefits___
                 - Continued
This plan covers routine patient care costs and services related to an approved clinical trial for a qualified
individual. The individual must be eligible to participate according to the trial protocol and either of the
following conditions must be met:
  - the referring health care professional is a participating health care provider and has concluded that the
    individual's participation in such trial would be appropriate; or
  - the individual provides medical and scientific information establishing that the individual's participation in
    the clinical trial would be appropriate.
In addition to qualifying as an individual, the clinical trial must also meet certain criteria in order for patient care
costs and services to be covered.
The clinical trial must be a phase I, phase II, phase III, or phase IV clinical trial conducted in relation to the
prevention, detection, or treatment of cancer or other life-threatening disease or condition that meets any of the
following criteria:
  - it is a federally funded trial. The study or investigation is approved or funded (which may include funding
    through in-kind contributions) by one or more of the following:
     * National Institutes of Health (NIH);
     * Centers for Disease Control and Prevention (CDC);
    * Agency for Health Care Research and Quality (AHRQ);
    * Centers for Medicare and Medicaid Services (CMS);
    * a cooperative group or center of any of the entities described above or the Department of Defense
       (DOD) or the Department of Veterans Affairs (VA);
    * a qualified non-governmental research entity identified in NIH guidelines for center support grants.
  - any of the following: Department of Energy, Department of Defense, Department of Veterans Affairs, if
    both of the following conditions are met:
    * the study or investigation has been reviewed and approved through a system of peer review comparable
       to the system of peer review of studies and investigations used by the National Institutes of Health
       (NIH); and
    * the study or investigation assures unbiased review of the highest scientific standards by qualified
        individuals who have no interest in the outcome of the review.
  the study or investigation is conducted under an investigational new drug application reviewed by the U.S.
  Food and Drug Administration (FDA);
  the study or investigation is a drug trial that is exempt from having such an investigational new drug
  application.
The plan does not cover any of the following services associated with a clinical trial:
  services that are not considered routine patient care costs and services, including the following:
  - the investigational drug, device, item, or service that is provided solely to satisfy data collection and analysis
    needs;
  - an item or service that is not used in the direct clinical management of the individual;
  - a service that is clearly inconsistent with widely accepted and established standards of care for a particular
    diagnosis.
  an item or service provided by the research sponsors free of charge for any person enrolled in the trial.
  travel and transportation expenses, unless otherwise covered under the plan, including but not limited to the
  following:
  - fees for personal vehicle, rental car, taxi, medical van, ambulance, commercial airline, train;

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Medical Benefits___
                 - Continued
 - mileage reimbursement for driving a personal vehicle;
 - lodging;
 - meals.
 routine patient costs obtained out-of-network when Out-of-Network benefits do not exist under the plan.

HC-COV1016                                                                                                 01-21




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Prescription Drug Benefits___


                                 Prescription Drug Benefits
                                       The Schedule
For You and Your Dependents
This plan provides Prescription Drug benefits for Prescription Drug Products provided by
Pharmacies as shown in this Schedule. To receive Prescription Drug Benefits, you and your
Dependents may be required to pay a Deductible, Copayment or Coinsurance requirement for
Covered Expenses for Prescription Drug Products.
You and your Dependents will pay 100% of the cost of any Prescription Drug Product excluded
from coverage under this plan. The amount you and your Dependent pays for any excluded
Prescription Drug Product to the dispensing Pharmacy, will not count towards your Deductible, if
any, or Out-of-Pocket Maximum.
Copayments (Copay)
Copayments are amounts to be paid by you or your Dependent for covered Prescription Drug
Products.
Calendar Year Deductible
Deductibles are Covered Expenses to be paid by you and your Dependent for Covered Prescription
Drug Products before benefits are payable under this plan. These Deductibles are in addition to any
Copayments or Coinsurance. Once the Deductible maximum shown in The Schedule has been
reached you and your family need not satisfy any further Prescription Drug Deductible for the rest
of that year.
Out-of-Pocket Expenses
Out-of-Pocket Expenses are Covered Expenses incurred at a Pharmacy for Prescription Drug
Products for which the Plan provides no payment because of the Coinsurance factor and any
Copayments or Deductibles. When the Out-of-Pocket Maximum shown in The Schedule is reached,
benefits are payable at 100%.




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Prescription Drug Benefits___
                           - Continued
                                                                          NON-NETWORK
  BENEFIT HIGHLIGHTS               NETWORK PHARMACY
                                                                           PHARMACY
                                  Refer to the Medical Benefits     Refer to the Medical Benefits
Lifetime Maximum                  Schedule                          Schedule
Calendar Year Deductible
                                  Refer to the Medical Benefits     Refer to the Medical Benefits
Individual                        Schedule                          Schedule
                                  Refer to the Medical Benefits     Refer to the Medical Benefits
Family                            Schedule                          Schedule
Diabetic Drugs
Your cost for Medically Necessary insulin and non-insulin drugs used for the treatment of diabetes
and covered under the Plan, will not exceed $25 for each 30-day supply.
Diabetic Devices
Your cost for Medically Necessary diabetic and diabetic ketoacidosis devices/supplies, which can
be dispensed in a 30-day supply and which are covered under the plan, will not exceed $100 for
each 30-day supply for all diabetic devices/supplies.
Patient Assurance Program
Your plan offers additional discounts for certain covered Prescription Drug Products that are
dispensed by a retail or home delivery Network Pharmacy included in what is known as the “Patient
Assurance Program”. As may be described elsewhere in this plan, from time to time Cigna may
directly or indirectly enter into arrangements with pharmaceutical manufacturers for discounts that
result in a reduction of your Out-of-Pocket Expenses for certain covered Prescription Drug Products
for which Cigna directly or indirectly earns the discounts. Specifically, some or all of the Patient
Assurance Program discount earned by Cigna for certain covered Prescription Drug Products
included in the Patient Assurance Program is applied or credited to a portion of your Copayment or
Coinsurance, if any. The Copayment or Coinsurance, if any, otherwise applicable to those certain
covered Prescription Drug Products as set forth in The Schedule may be reduced in order for Patient
Assurance Program discounts earned by Cigna to be applied or credited to the Copayment or
Coinsurance, if any, as described above.
For example, certain insulin product(s) covered under the Prescription Drug Benefit for which
Cigna directly or indirectly earns a discount in connection with the Patient Assurance Program shall
result in a credit toward some or all of your Copayment or Coinsurance, if any, which, as noted,
may be reduced from the amount set forth in The Schedule, for the insulin product. In addition, the
covered insulin products eligible for Patient Assurance Program discounts shall not be subject to the
Deductible, if any.
Your Copayment or Coinsurance payment, if any, for covered Prescription Drug Products under the
Patient Assurance Program counts toward your Deductible and counts toward your Out-of-Pocket
Maximum.
Any Patient Assurance Program discount that is used to satisfy your Copayment or Coinsurance, if
any, for covered Prescription Drug Products under the Patient Assurance Program counts toward
your Deductible and counts toward your Out-of-Pocket Maximum.




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Prescription Drug Benefits___
                           - Continued
                                                                         NON-NETWORK
  BENEFIT HIGHLIGHTS               NETWORK PHARMACY
                                                                          PHARMACY
Please note that the Patient Assurance Program discounts that Cigna may earn for Prescription Drug
Products, and may apply or credit to your Copayment or Coinsurance, if any, in connection with the
Patient Assurance Program are unrelated to any rebates or other payments that Cigna may earn from
a pharmaceutical manufacturer for the same or other Prescription Drug Products. Except as may be
noted elsewhere in this plan, you are not entitled to the benefit of those rebates or other payments
earned by Cigna because they are unrelated to the Patient Assurance Program. Additionally, the
availability of the Patient Assurance Program, as well as the Prescription Drug Products included in
the Patient Assurance Program and/or your Copayment or Coinsurance, if any for those eligible
Prescription Drug Products, may change from time to time depending on factors including, but not
limited to, the continued availability of the Patient Assurance Program discount(s) to Cigna in
connection with the Patient Assurance Program. More information about the Patient Assurance
Program including the Prescription Drug Products included in the program, is available at the
website shown on your ID card or by calling member services at the telephone number on your ID
card.
Out-of-Pocket Maximum
                                 Refer to the Medical Benefits     Refer to the Medical Benefits
Individual                       Schedule                          Schedule
                                 Refer to the Medical Benefits     Refer to the Medical Benefits
Family                           Schedule                          Schedule
Maintenance Drug Products
Maintenance Drug Products may be filled in an amount up to a consecutive 90 day supply per
Prescription Order or Refill at a retail Pharmacy or home delivery Pharmacy.
Certain Preventive Medications covered under this plan and required as part of preventive care
services (detailed information is available at www.healthcare.gov) are payable at 100% with no
Copayment or Deductible, when purchased from a Network Pharmacy. A written prescription is
required.
                              The amount you pay for up to The amount you pay for up to
Prescription Drug Products at a consecutive 30-day supply at a consecutive 30-day supply at
Retail Pharmacies             a Network Pharmacy             a non-Network Pharmacy
Tier 1
Generic Drugs on the             No charge after $5.00 Copay
Prescription Drug List           after Plan Deductible             30% after Plan Deductible
Tier 2
Brand Drugs designated as
preferred on the Prescription    No charge after $30.00 Copay
Drug List                        after Plan Deductible             30% after Plan Deductible
Tier 3
Brand Drugs designated as non-
preferred on the Prescription  No charge after $50.00 Copay
Drug List                      after Plan Deductible               30% after Plan Deductible


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Prescription Drug Benefits___
                           - Continued
                                                                         NON-NETWORK
  BENEFIT HIGHLIGHTS               NETWORK PHARMACY
                                                                          PHARMACY
                              The amount you pay for up to The amount you pay for up to
Prescription Drug Products at a consecutive 90-day supply at a consecutive 90-day supply at
Retail Designated Pharmacies a Designated Pharmacy           a non-Designated Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill.
Note: In this context, a retail Designated Pharmacy is a retail Network Pharmacy that has contracted
with Cigna for dispensing of covered Prescription Drug Products, including Maintenance Drug
Products, in 90-day supplies.
Tier 1
Generic Drugs on the             No charge after $12.50 Copay
Prescription Drug List           after Plan Deductible             30% after Plan Deductible
Tier 2
Brand Drugs designated as
preferred on the Prescription    No charge after $75.00 Copay
Drug List                        after Plan Deductible             30% after Plan Deductible
Tier 3
Brand Drugs designated as non-
preferred on the Prescription  No charge after $125.00 Copay
Drug List                      after Plan Deductible         30% after Plan Deductible
                              The amount you pay for up to The amount you pay for up to
Prescription Drug Products at a consecutive 90-day supply at a consecutive 90-day supply at
Home Delivery Pharmacies      a Network Pharmacy             a non-Network Pharmacy
Specialty Prescription Drug Products are limited to up to a consecutive 30-day supply per
Prescription Order or Refill and are subject to the same Copayment or Coinsurance that applies to
retail Pharmacies.
Tier 1
Generic Drugs on the             No charge after $12.50 Copay
Prescription Drug List           after Plan Deductible             30% after Plan Deductible
Tier 2
Brand Drugs designated as
preferred on the Prescription    No charge after $75.00 Copay
Drug List                        after Plan Deductible             30% after Plan Deductible
Tier 3
Brand Drugs designated as non-
preferred on the Prescription  No charge after $125.00 Copay
Drug List                      after Plan Deductible         30% after Plan Deductible




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Prescription Drug Benefits___
                           - Continued
■   Covered Expenses

Your plan provides benefits for Prescription Drug Products dispensed by a Pharmacy. Details regarding your
plan's Covered Expenses, which for the purposes of the Prescription Drug Benefit include Medically Necessary
Prescription Drug Products ordered by a Physician or other licensed medical practitioner, including Advanced
Practice Registered Nurse, Limitations, and Exclusions are provided below and/or are shown in The Schedule.
If you or any one of your Dependents, while insured for Prescription Drug Benefits, incurs expenses for charges
made by a Pharmacy for Medically Necessary Prescription Drug Products ordered by a Physician, your plan
provides coverage for those expenses as shown in The Schedule. Your benefits may vary depending on which of
the Prescription Drug List tiers the Prescription Drug Product is listed, or the Pharmacy that provides the
Prescription Drug Product.
Coverage under your plan's Prescription Drug Benefits also includes Medically Necessary Prescription Drug
Products dispensed pursuant to a Prescription Order or Refill issued to you or your Dependents by a licensed
dentist for the prevention of infection or pain in conjunction with a dental procedure.
When you or a Dependent is are issued a Prescription Order or Refill for Medically Necessary Prescription Drug
Products as part of the rendering of Emergency Services and Cigna determines that it cannot reasonably be filled
by a Network Pharmacy, the prescription will be covered pursuant to the as applicable Copayment or
Coinsurance for the Prescription Drug Product when dispensed by a Network Pharmacy.
■   Prescription Drug List Management
Your plan's Prescription Drug List coverage tiers may contain Prescription Drug Products that are Generic
Drugs, Brand Drugs or Specialty Prescription Drug Products. Determination of inclusion of a Prescription Drug
Product to a certain coverage tier on the Prescription Drug List and utilization management requirements or
other coverage conditions are based on a number of factors which may include, clinical and economic factors.
Clinical factors may include, but are not limited to, the P&T Committee's evaluations of the place in therapy,
relative safety or relative efficacy of the Prescription Drug Product, as well as whether certain supply limits or
other utilization management requirements should apply. Economic factors may include, but are not limited to,
the Prescription Drug Product's acquisition cost including, but not limited to, assessments on the cost
effectiveness of the Prescription Drug Product and available rebates. Regardless of its eligibility for coverage
under the plan, whether a particular Prescription Drug Product is appropriate for you or any of your Dependents
is a determination that is made by you or your Dependent and the prescribing Physician.
The coverage status of a Prescription Drug Product may change periodically for various reasons. For example, a
Prescription Drug Product may be removed from the market, a New Prescription Drug Product in the same
therapeutic class as a Prescription Drug Product may become available, or other market events may occur.
Market events that may affect the coverage status of a Prescription Drug Product include, but are not limited to,
an increase in the acquisition cost of a Prescription Drug Product. As a result of coverage changes, for the
purposes of benefits the plan may require you to pay more or less for that Prescription Drug Product, to obtain
the Prescription Drug Product from a certain Pharmacy (ies) for coverage, or try another covered Prescription
Drug Product(s). Please access the Prescription Drug List through the website shown on your ID card or call
member services at the telephone number on your ID card for the most up-to-date tier status, utilization
management, or other coverage limitations for a Prescription Drug Product.




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Prescription Drug Benefits___
                           - Continued
Provided, however, that Cigna may not deny coverage for any previously covered Prescription Drug Product
removed from the Prescription Drug List if you or a Dependent were using the Prescription Drug Product for the
treatment of a chronic illness prior to its removal from the Prescription Drug List and your or your Dependent's
attending provider states that the Prescription Drug Product is Medically Necessary and lists the reasons why the
requested Prescription Drug Product is more appropriate than other Prescription Drug Products that are included
in the Prescription Drug List.

HC-PHR461                                                                                                    01-21



■   Limitations
Your plan includes a Brand Drug for Generic Drug dispensing program. This program allows certain Brand
Drugs to be dispensed in place of the Therapeutic Equivalent Generic Drug at the time your Prescription Order
or Refill is processed by a participating Pharmacy. Brand Drug for Generic Drug substitution will occur only for
certain Brand Drugs included in the program. When this substitution program is applied, the participating
Pharmacy will dispense the Brand Drug to you in place of the available Generic Drug. You will be responsible
for payment of only a Generic Drug Copayment and/or Coinsurance, after satisfying your Deductible, if any.
■   Prior Authorization Requirements
Coverage for certain Prescription Drug Products prescribed to you requires your Physician to obtain prior
authorization from Cigna or its Review Organization. The reason for obtaining prior authorization from Cigna is
to determine whether the Prescription Drug Product is Medically Necessary in accordance with Cigna's coverage
criteria. Coverage criteria for a Prescription Drug Product may vary based on the clinical use for which the
Prescription Order or Refill is submitted, and may change periodically based on changes in, without limitation,
clinical guidelines or practice standards, or market factors.
If Cigna or its Review Organization reviews the documentation provided and determines that the Prescription
Drug Product is not Medically Necessary or otherwise excluded, your plan will not cover the Prescription Drug
Product. Cigna, or its Review Organization, will not review claims for excluded Prescription Drug Products or
other services to determine if they are Medically Necessary, unless required by law.

When Prescription Drug Products that require prior authorization are dispensed at a Pharmacy, you or your
prescribing Physician are responsible for obtaining prior authorization from Cigna. If you do not obtain prior
authorization from us before the Prescription Drug Product is dispensed by the Pharmacy, you can ask us to
consider reimbursement after you pay for and receive the Prescription Drug Product. You will need to pay for
the Prescription Drug Product at the Pharmacy prior to submitting a reimbursement request.
When you submit a claim on this basis, you will need to submit a paper claim using the form that appears on the
website shown on your ID card.
If a prior authorization request is approved, your Physician will receive confirmation. The authorization will be
processed in the claim system to allow you to have coverage for the Prescription Drug Product. The length of
the authorization may depend on the diagnosis and the Prescription Drug Product. The authorization will at all
times be subject to the plan's terms of coverage for the Prescription Drug Product, which may change from time
to time. When your Physician advises you that coverage for the Prescription Drug Product has been approved,
you can contact a Pharmacy to fill the covered Prescription Order or Refill.




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Prescription Drug Benefits___
                           - Continued
If the prior authorization request is denied, your Physician and you will be notified that coverage for the
Prescription Drug Product is not authorized. If you disagree with a coverage decision, you may appeal that
decision in accordance with the provisions of the plan by submitting a written request stating why the
Prescription Drug Product should be covered.
■   Step Therapy
Certain Prescription Drug Products are subject to step therapy requirements. This means that in order to receive
Benefits for such Prescription Drug Products you are required to try a different Prescription Drug Product(s)
first unless you satisfy the plan's exception criteria. Step Therapy requirements do not apply to prescription
drugs prescribed for cancer treatment of a diagnosed stage IV metastatic cancer. You may identify whether a
particular Prescription Drug Product is subject to step therapy requirements at the website shown on your ID
card or by calling member services at the telephone number on your ID card.

If your Physician determines a step therapy Prescription Drug Product clinically ineffective, he may request an
alternative covered Prescription Drug Product after 60 days of step therapy, or request an alternative covered
Prescription Drug Product at any time for Medically Necessity reasons.
■   Supply Limits
Benefits for Prescription Drug Products are subject to the supply limits that are stated in The Schedule. For a
single Prescription Order or Refill, you may receive a Prescription Drug Product up to the stated supply limit.
Some products are subject to additional supply limits, quantity limits or dosage limits based on coverage criteria
that have been approved based on consideration of the P&T Committee's clinical findings. Coverage criteria are
subject to periodic review and modification. The limit may restrict the amount dispensed per Prescription Order
or Refill and/or the amount dispensed per month's supply, or may require that a minimum amount be dispensed.
You may determine whether a Prescription Drug Product has been assigned a dispensing supply limit or similar
limit or requirement at the website shown on your ID card or by calling member services at the telephone
number on your ID card.
Coverage will be provided for a refill of any Prescription Drug Product prescribed for the treatment of a chronic
illness, if the refill is scheduled to synchronize with your other/multiple Prescription Drug Product refills in
accordance with a plan made between you, your health care practitioner and the pharmacist.
■   Specialty Prescription Drug Products
Benefits are provided for Specialty Prescription Drug Products. If you require Specialty Prescription Drug
Products, you may be directed to a Designated Pharmacy with whom Cigna has an arrangement to provide those
Specialty Prescription Drug Products.
■   Designated Pharmacies
If you require certain Prescription Drug Products, including, but not limited to, Specialty Prescription Drug
Products, we may direct you to a Designated Pharmacy with whom we have an arrangement to provide those
Prescription Drug Products. If you are directed to a Designated Pharmacy and you choose not to obtain your
Prescription Drug Product from a Designated Pharmacy, you may receive reduced coverage for the Prescription
Drug Product. Refer to The Schedule for further information.
■   New Prescription Drug Products




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Prescription Drug Benefits___
                           - Continued
New Prescription Drug Products may or may not be placed a Prescription Drug List tier upon market entry.
Cigna will use reasonable efforts to make a tier placement decision for a New Prescription Drug Product within
six months of its market availability. Cigna's tier placement decision shall be based on consideration of, without
limitation, the P&T Committee's clinical review of the New Prescription Drug Product and economic factors. If
a New Prescription Drug Product not listed on the Prescription Drug List is approved by Cigna or its Review
Organization as Medically Necessary in the interim, the New Prescription Drug Product shall be covered at the
applicable coverage tier as set forth in The Schedule.

HC-PHR460                                                                                                     01-21



■    Your Payments
Covered Prescription Drug Products purchased at a Pharmacy are subject to any applicable Deductible,
Copayments or Coinsurance shown in The Schedule as well as any limitations or exclusions set forth in this
plan. Please refer to The Schedule for any required Copayments, Coinsurance, Deductibles or Out-of-Pocket
Maximums.
■    Deductible
Your plan requires that you pay the costs for covered Prescription Drug Products up to the Deductible amount
set forth in The Schedule. Until you meet that Deductible amount, your costs under the plan for a covered
Prescription Drug Product dispensed by a Network Pharmacy will be the lowest of the following amounts:
    the Prescription Drug Charge; or
    the Network Pharmacy's submitted usual and Customary (U&C) Charge, if any.
The Schedule sets forth your costs for covered Prescription Drug Products after you have satisfied the
Deductible amount.
■    Copayment
Your plan requires that you pay a Copayment for covered Prescription Drug Products as set forth in The
Schedule. After satisfying any applicable annual Deductible set forth in The Schedule, your costs under the plan
for a covered Prescription Drug Product dispensed by a Network Pharmacy and that is subject to a Copayment
requirement will be the lowest of the following amounts:
 the Copayment for the Prescription Drug Product set forth in The Schedule; or
 the Prescription Drug Charge; or
 the Network Pharmacy's submitted Usual and Customary (U&C) Charge, if any.
■ Payments at Non-Network Pharmacies
Any reimbursement due to you under this plan for a covered Prescription Drug Product dispensed by a non-
Network Pharmacy may be determined by applying the Deductible, if any, and/or non-Network Pharmacy
Coinsurance amount set forth in The Schedule to the average wholesale price (or “AWP”), or other benchmark
price Cigna applies, for a Prescription Drug Product dispensed by a non-Network Pharmacy. Your
reimbursement, if any, for a covered Prescription Drug Product dispensed by a non-Network Pharmacy will
never exceed the average wholesale price (or other benchmark price applied by Cigna) for the Prescription Drug
Product.




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Prescription Drug Benefits___
                           - Continued
When a treatment regimen contains more than one type of Prescription Drug Products that are packaged together
for your or your Dependent's convenience, any applicable Copayment or Coinsurance may apply to each
Prescription Drug Product.
You will need to obtain prior approval from Cigna or its Review Organization for any Prescription Drug Product
not listed on the Prescription Drug List that is not otherwise excluded. If Cigna or its Review Organization
approves coverage for the Prescription Drug Product because it meets the applicable coverage exception criteria,
the Prescription Drug Product shall be covered at the applicable coverage tier as set forth in The Schedule.

The amount you or your Dependent pays for any excluded Prescription Drug Product or other product or service
will not be included in calculating any applicable plan Out-of-Pocket Maximum. You are responsible for paying
100% of the cost (the amount the Pharmacy charges you) for any excluded Prescription Drug Product or other
product.

HC-PHR304                                                                                                      01-19



■    Exclusions
Coverage exclusions listed under the “Exclusions, Expenses Not Covered and General Limitations” section also
apply to benefits for Prescription Drug Products. In addition, the exclusions listed below apply to benefits for
Prescription Drug Products. When an exclusion or limitation applies to only certain Prescription Drug Products,
you can access the internet through the website shown on your ID card or call member services at the telephone
number on your ID card for information on which Prescription Drug Products are excluded.
    coverage for Prescription Drug Products for the amount dispensed (days' supply) which exceeds the applicable
    supply limit, or is less than any applicable supply minimum set forth in The Schedule, or which exceeds
    quantity limit(s) or dosage limit(s) set by the P&T Committee.
    more than one Prescription Order or Refill for a given prescription supply period for the same Prescription
    Drug Product prescribed by one or more Physicians and dispensed by one or more Pharmacies.
    Prescription Drug Products dispensed outside the jurisdiction of the United States, except as required for
    emergency or Urgent Care treatment.
    Prescription Drug Products which are prescribed, dispensed or intended to be taken by or administered to you
    while you are a patient in a licensed Hospital, Skilled Nursing Facility, rest home, rehabilitation facility, or
    similar institution which operates on its premises or allows to be operated on its premises a facility for
    dispensing pharmaceutical products.
    Prescription Drug Products furnished by the local, state or federal government (except for a Network
    Pharmacy owned or operated by a local, state or federal government).
    any product dispensed for the purpose of appetite suppression (anorectics) or weight loss.
    prescription and non-prescription supplies other than supplies covered as Prescription Drug Products.
    medications used for cosmetic purposes, including, without limitation, medications used to reduce wrinkles,
    medications used to promote hair growth and fade cream products.
    Prescription Drug Products as a replacement for a previously dispensed Prescription Drug Product that was
    lost, stolen, broken or destroyed.
    Medical Pharmaceuticals covered solely under the plan's medical benefits.
    any ingredient(s) in a compounded Prescription Drug Product that has not been approved by the U.S. Food and
    Drug Administration (FDA).
    medications available over-the-counter that do not require a Prescription Order or Refill by federal or state law
    before being dispensed, unless state or federal law requires coverage of such medications or the over-the-
    counter medication has been designated as eligible for coverage as if it were a Prescription Drug Product.

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Prescription Drug Benefits___
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    certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to an over-the-
    counter drug(s), or are available in over-the-counter form. Such coverage determinations may be made
    periodically, and benefits for a Prescription Drug Product that was previously excluded under this provision
    may be reinstated at any time.
    any product for which the primary use is a source of nutrition, nutritional supplements, or dietary management
    of disease, even when used for the treatment of Sickness or Injury, unless coverage for such product(s) is
    required by federal or state law.
    medications used for travel prophylaxis, immunization agents, virus detection testing, virus antibody testing,
    biological products for allergy immunization, biological sera, blood, blood plasma and other blood products or
    fractions unless specifically identified on the Prescription Drug List.
    certain Prescription Drug Products that are a Therapeutic Equivalent or Therapeutic Alternative to another
    covered Prescription Drug Product(s). Such coverage determinations may be made periodically, and benefits
    for a Prescription Drug Product that was previously excluded under this provision may be reinstated at any
    time.
    medications that are experimental, investigational or unproven as described under the “General Exclusion and
    Limitations” section of your plan's certificate.

HC-PHR552                                                                                                     01-22



■    Reimbursement/Filing a Claim
Retail Pharmacy

When you or your Dependents purchase your Prescription Drug Products through a Network Pharmacy, you pay
any applicable Copayment, Coinsurance, or Deductible shown in The Schedule at the time of purchase. You do
not need to file a claim form for a Prescription Drug Product obtained at a Network Pharmacy unless you pay
the full cost of a Prescription Drug Product at a Network Pharmacy and later seek reimbursement for the
Prescription Drug Product under the plan. For example, if you must pay the full cost of a Prescription Drug
Product to the retail Network Pharmacy because you did not have your ID card, then you must submit a claim to
Cigna for any reimbursement or benefit you believe is due to you under this plan. If, under this example, your
payment to the retail Network Pharmacy for the covered Prescription Drug Product exceeds any applicable
copay, then you will be reimbursed the difference, if any, between the applicable copay and the Prescription
Drug Charge for the Prescription Drug Product.
If you obtain a covered Prescription Drug Product dispensed by a non-Network Pharmacy, then you must pay
the non-Network Pharmacy for the Prescription Drug Product and then submit a claim to Cigna for any
reimbursement or benefit you believe is due to you under this plan. You can obtain a claim form through the
website shown on your ID card or by calling member services at the telephone number on your ID card.

HC-PHR273                                                                                                     01-19
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Exclusions, Expenses Not Covered and General Limitations___

Exclusions and Expenses Not Covered
Additional coverage limitations determined by plan or provider type are shown in The Schedule. Payment
for the following is specifically excluded from this plan:
  care for health conditions that are required by state or local law to be treated in a public facility.
  care required by state or federal law to be supplied by a public school system or school district.
  care for military service disabilities treatable through governmental services if you are legally entitled to such
  treatment and facilities are reasonably available.
  treatment of an Injury or Sickness which is due to war, declared, or undeclared or insurrection.
  charges which you are not obligated to pay and/or for which you are not billed. This exclusion includes, but is
  not limited to:
  - any instance where Cigna determines that a provider or Pharmacy did not bill you for or has waived,
    reduced, or forgiven any portion of its charges and/or any portion of any Copayment, Deductible, and/or
    Coinsurance amount(s) you are required to pay for an otherwise Covered Expense (as shown on The
    Schedule) without Cigna's express consent.
  - charges of a non-Participating Provider who has agreed to charge you at an In-Network benefits level or
    some other benefits level not otherwise applicable to the services received.
  In the event that Cigna determines that this exclusion applies, then Cigna in its sole discretion shall have the
  right to:
  - require you and/or any provider or Pharmacy submitting claims on your behalf to provide proof sufficient to
    Cigna that you have made your required cost-share payment(s) prior to the payment of any benefits by
    Cigna;
  - deny the payment of benefits in connection with the Covered Expense regardless of whether the provider or
    the Pharmacy represents that you remain responsible for any amounts that your plan does not cover; or
  - reduce the benefits in proportion to the amount of the Copayment, Deductible, and/or Coinsurance amounts
    waived, forgiven or reduced, regardless of whether the provider or Pharmacy represents that you remain
    responsible for any amounts that your plan does not cover.
  charges or payment for healthcare-related services that violate state or federal law.
  custodial care of a member whose health is stabilized and whose current condition is not expected to
  significantly or objectively improve or progress over a specified period of time. Custodial care does not seek a
  cure, can be provided in any setting and may be provided between periods of acute or inter-current health care
  needs. Custodial care includes any skilled or non-skilled health services or personal comfort and convenience
  services which provide general maintenance, supportive, preventive and/or protective care. This includes
  assistance with, performance of, or supervision of: walking, transferring or positioning in bed and range of
  motion exercises; self-administered medications; meal preparation and feeding by utensil, tube or gastronomy;
  oral hygiene, skin and nail care, toilet use, routine enemas; nasal oxygen applications, dressing changes,
  maintenance of in-dwelling bladder catheters, general maintenance of colostomy, ileostomy, gastronomy,
  tracheostomy and casts.
  for or in connection with experimental, investigational or unproven services.
Experimental, investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance use
disorder or other health care technologies, supplies, treatments, procedures, drug or Biologic therapies or
devices that are determined by the utilization review Physician to be:
  - not approved by the U.S. Food and Drug Administration (FDA) or other appropriate regulatory agency to be
    lawfully marketed;
  - not demonstrated, through existing peer-reviewed, evidence-based, scientific literature to be safe and
    effective for treating or diagnosing the condition or Sickness for which its use is proposed;

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Exclusions, Expenses Not Covered and General Limitations___
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  - the subject of review or approval by an Institutional Review Board for the proposed use except as provided
    in the “Clinical Trials” sections of this plan; or
  - the subject of an ongoing phase I, II or III clinical trial (other than successfully completed phase III clinical
    trial of the FDA), except for routine patient care costs related to qualified clinical trials as provided in the
    “Clinical Trials” sections of this plan.
In determining whether any such technologies, supplies, treatments, drug or Biologic therapies, or devices are
experimental, investigational, and/or unproven, the utilization review Physician may rely on the clinical
coverage policies maintained by Cigna or the Review Organization. Clinical coverage policies may incorporate,
without limitation and as applicable, criteria relating to U.S. Food and Drug Administration-approved labeling,
the standard medical reference compendia and peer-reviewed, evidence-based scientific literature or guidelines.
The plan or policy shall not deny coverage for a drug or Biologic therapy as experimental, investigational and
unproven if the drug or Biologic therapy is otherwise approved by the FDA to be lawfully marketed, has not
been contraindicated by the FDA for the use for which the drug or Biologic has been prescribed and is
recognized for the treatment of cancer in any one of the following: the U.S. Pharmacopeia Drug Info. Guide for
the Health Care Professional; the AMA Drug Evaluations; or the American Society of health System
Pharmacist's American Hospital Formulary Drug Service Information. Peer-reviewed medical literature means a
published study in a journal or other publication in which original manuscripts have been critically reviewed for
scientific accuracy, validity, and reliability by unbiased international experts, and that has been determined by
the International Committee of medical Journal Editors to have met its Uniform Requirements for Manuscripts
submitted to Biomedical journals. Peer-reviewed medical literature does not include publications or supplements
to publications that are sponsored to a significant extent by a pharmaceutical manufacturing company or any
carrier that delivers, issues for delivery, renews, amends or continues a health insurance policy in this state.
  the plan or policy shall not deny coverage for procedures, treatments or the use of any drug as experimental if
  such procedure, treatment or drug, for the illness or condition being treated, or for the diagnosis for which it is
  being prescribed, has successfully completed a phase III clinical trial of the federal Food and Drug
  Administration.
  cosmetic surgery and therapies. Cosmetic surgery or therapy is defined as surgery or therapy performed to
  improve or alter appearance or self-esteem or to treat psychological symptomatology or psychosocial
  complaints related to one's appearance including Idiopathic Short Stature Syndrome. However, reconstructive
  surgery and therapy are covered as provided in the “Reconstructive Surgery” section of Covered Expenses.
  the following services are excluded from coverage regardless of clinical indications: macromastia or
  gynecomastia surgeries; abdominoplasty; panniculectomy; rhinoplasty; blepharoplasty; redundant skin
  surgery; removal of skin tags; acupressure; craniosacral/cranial therapy; dance therapy; movement therapy;
  applied kinesiology; rolfing; prolotherapy; and extracorporeal shock wave lithotripsy (ESWL) for
  musculoskeletal and orthopedic conditions, except as may be covered under the “Reconstructive Surgery”
  benefit.
  dental treatment of the teeth, gums or structures directly supporting the teeth, including dental X-rays,
  examinations, repairs, orthodontics, periodontics, casts, splints and services for dental malocclusion, for any
  condition. However, charges made for a continuous course of dental treatment for an accidental injury to teeth
  are covered. Also, facility charges and charges for general anesthesia or deep sedation which cannot be
  administered in a dental office are covered when Medically Necessary or the patient is either determined by a
  licensed dentist, in conjunction with a licensed physician who specializes in primary care, to have a dental
  condition of significant dental complexity that it requires certain dental procedures to be performed in a
  hospital.




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Exclusions, Expenses Not Covered and General Limitations___
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 for medical and surgical services, initial and repeat, intended for the treatment or control of obesity including
 clinically severe (morbid) obesity, including: medical and surgical services to alter appearance or physical
 changes that are the result of any surgery performed for the management of obesity or clinically severe
 (morbid) obesity; and weight loss programs or treatments, whether prescribed or recommended by a Physician
 or under medical supervision.
 reports, evaluations, physical examinations, or hospitalization not required for health reasons including, but
 not limited to, employment, insurance or government licenses, and court-ordered, forensic or custodial
 evaluations, unless otherwise covered under this plan.
 court-ordered treatment or hospitalization, unless treatment is prescribed by a Physician and is a covered
 service or supply under this plan.
 reversal of male and female voluntary sterilization procedures.
 any services or supplies for the treatment of male or female sexual dysfunction such as, but not limited to,
 treatment of erectile dysfunction (including penile implants), anorgasmy, and premature ejaculation.
 medical and Hospital care and costs for the child of your Dependent child, beyond the first 61 days of life,
 unless the child is otherwise eligible under this plan.
 non-medical counseling and/or ancillary services including, but not limited to, Custodial Services, educational
 services, vocational counseling, training and rehabilitation services, behavioral training, biofeedback,
 neurofeedback, hypnosis, sleep therapy, return to work services, work hardening programs, and driver safety
 courses.
 consumable medical supplies other than ostomy supplies and urinary catheters. Excluded supplies include, but
 are not limited to bandages and other disposable medical supplies, and skin preparations, except as specified in
 the “Home Health Care Services” or “Breast Reconstruction and Breast Prostheses” sections of this plan.
 private Hospital rooms and/or private duty nursing except as provided under the Home Health Care Services
 provision.
 personal or comfort items such as personal care kits provided on admission to a Hospital, television,
 telephone, newborn infant photographs, complimentary meals, birth announcements, and other articles which
 are not for the specific treatment of an Injury or Sickness.
 artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic stockings, garter
 belts, corsets, dentures and wigs (other than as described in Covered Expenses).
 aids, devices or other adaptive equipment that assist with non-verbal communications, including, but not
 limited to communication boards, pre-recorded speech devices, laptop computers, desktop computers,
 Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory books.
 eyeglass lenses and frames, contact lenses and associated services (exams and fittings) except the initial set
 after treatment of keratoconus or following cataract surgery.
 routine refractions, eye exercises and surgical treatment for the correction of a refractive error, including radial
 keratotomy.
 acupuncture, unless part of pain management.
 all non-injectable prescription drugs unless Physician administration or oversight is required, injectable
 prescription drugs to the extent they do not require Physician supervision and are typically considered self-
 administered drugs, non-prescription drugs, and investigational and experimental drugs, except as provided in
 this plan.
 routine foot care, including the paring and removing of corns and calluses and toenail maintenance. However,
 foot care services for diabetes, peripheral neuropathies and peripheral vascular disease are covered when
 Medically Necessary.
 membership costs and fees associated with health clubs, weight loss programs and smoking cessation
 programs.
 genetic screening or pre-implantations genetic screening. General population-based genetic screening is a
 testing method performed in the absence of any symptoms or any significant, proven risk factors for
 genetically linked inheritable disease.

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Exclusions, Expenses Not Covered and General Limitations___
                                                        - Continued
  dental implants for any condition.
  fees associated with the collection, storage or donation of blood or blood products, except for autologous
  donation in anticipation of scheduled services when medical management review determines the likelihood of
  excess blood loss is such that transfusion is an expected adjunct to surgery.
  blood administration for the purpose of general improvement in physical condition.
  cost of biologicals that are immunizations or medications for the purpose of travel, or to protect against
  occupational hazards and risks.
  health and beauty aids, cosmetics and dietary supplements.
  to the extent permitted by law, for or in connection with an Injury or Sickness arising out of, or in the course
  of, any employment for wage or profit. For Medical Benefits, this will not apply to any of the Policyholder's
  partners, proprietor's or corporate officers, however, if payment is made for expenses in the event that third-
  party liability is determined and satisfied (whether by settlement, judgment, arbitration or otherwise), Cigna
  shall be refunded the lesser of: the amount of Cigna's payment for such expenses; or the amount actually
  received from the third party for such expenses. In the event that a workers' compensation claim is filed, Cigna
  shall have a lien on the proceeds of any award or settlement to the extent of its payment of benefits.
  to the extent permissible by law for charges related to an Injury or Sickness payable under worker's
  compensation or similar laws.
  charges for the delivery of virtual medical and health-related services through facsimile, email or text
  messaging only and those that are telephone only unless provided by In-Network virtual providers or a
  provider enrolled in the Connecticut Medical Assistance Program (CMAP) providing health care or health
  services to a CMAP recipient.
  massage therapy.
  any services, supplies or equipment intended primarily to provide a safe environment, including, but not
  limited to: helmets, safety goggles/glasses, bed exit monitors, restraints, telephone alert systems, fire
  extinguishers, smoke/carbon monoxide detectors, fall detection systems, safety rails, fixtures to real property
  to create a safe surrounding, first aid kits, automatic external defibrillators.
General Limitations

No payment will be made for expenses incurred for you or any one of your Dependents:
  for charges made by a Hospital owned or operated by or which provides care or performs services for, the
  United States Government, if such charges are directly related to a military-service-connected Injury or
  Sickness.
  any charges related to care provided through a public program, other than Medicaid.
  for charges which would not have been made if the person did not have coverage.
  to the extent that they are more than Maximum Reimbursable Charges.
  to the extent of the exclusions imposed by any certification requirement shown in this plan.
  expenses for services, supplies, care, treatment, drugs or surgery that are not Medically Necessary.
  charges made by any Physician or Other Health Professional who is a member of your family or your
  Dependent's family.
  expenses incurred outside the United States other than expenses for Medically Necessary emergency or Urgent
  Care while temporarily traveling abroad.

HC-EXC479                                                                                                    01-22




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Coordination of Benefits___

This section applies if youDependent covered under more than one Plan, and determines how benefits payable
from all such Plans will be coordinated. You should file all claims with each Plan.
Definitions
For the purposes of this section, the following terms have the meanings set forth below:
Plan
Any of the following that provides benefits or services for medical care or treatment:
  Group insurance and/or group-type coverage, whether insured or self-insured which neither can be purchased
  by the general public, nor is individually underwritten, including closed panel coverage.
  Coverage under Medicare and other governmental benefits as permitted by law, excepting Medicaid and
  Medicare supplement policies.
  Medical benefits coverage under any form of group, group-type, and individual automobile contracts.
Each Plan or part of a Plan which has the right to coordinate benefits will be considered a separate Plan.
Closed Panel Plan
A Plan that provides medical or dental benefits primarily in the form of services through a panel of employed or
contracted providers, and that limits or excludes benefits provided by providers outside of the panel, except in
the case of emergency or if referred by a provider within the panel.
Primary Plan

The Plan that pays first as determined by the Order of Benefit Determination Rules below.
Secondary Plan
The Plan that pays after the Primary Plan as determined by the Order of Benefit Determination Rules below. The
benefits under the Secondary Plan are reduced based on the benefits under the Primary Plan.
Allowable Expense
“Allowable Expense” is the necessary, reasonable, and customary item of expense for health care, when the item
of expense is covered at least in part under any of the Plans involved, except where a statute requires a different
definition. However, items of expense under coverages such as dental care, vision care, prescription drug or
hearing aid programs may be excluded from the definition of Allowable Expense. A Plan which provides
benefits only for any such items of expense may limit its definition of Allowable Expenses to like items of
expense.
  When a Plan provides benefits in the form of services, the reasonable cash value of each service will be
  considered as both an Allowable Expense and a benefit paid.
  The difference between the cost of a private Hospital room and the cost of a semi-private Hospital room is not
  considered an Allowable Expense under the above definition unless the patient's stay in a private Hospital
  room is Medically Necessary either in terms of generally accepted medical practice, or as specifically defined
  in the Plan.
  When COB is restricted in its use to a specific coverage in a contract (for example, major medical or dental),
  the definition of “Allowable Expense” must include the corresponding expenses or services to which COB
  applies.

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Coordination of Benefits___
                         - Continued
Claim Determination Period
A calendar year or that part of a calendar year in which the person has been covered under this Plan.
Reasonable Cash Value
An amount which a duly licensed provider of health care services usually charges patients and which is within
the range of fees usually charged for the same service by other health care providers located within the
immediate geographic area where the health care service is rendered under similar or comparable circumstances.
Order of Benefit Determination Rules
A Plan that does not have a coordination of benefits rule consistent with this section shall always be the Primary
Plan. If the Plan does have a coordination of benefits rule consistent with this section, the first of the following
rules that applies to the situation is the one to use:
  The Plan that covers you as an enrollee or an employee shall be the Primary Plan and the Plan that covers you
  as a or any one of your Dependents is shall be the Secondary Plan;
  If you are a Dependent child whose parents are not divorced or legally separated, the Primary Plan shall be the
  Plan which covers the parent whose birthday falls first in the calendar year as an enrollee or employee;
  If you are the Dependent of divorced or separated parents, benefits for the Dependent shall be determined in
  the following order:
  - first, if a court decree states that one parent is responsible for the child's healthcare expenses or health
    coverage and the Plan for that parent has actual knowledge of the terms of the order, but only from the time
    of actual knowledge;
  - then, the Plan of the parent with custody of the child;
  - then, the Plan of the spouse of the parent with custody of the child;
  - then, the Plan of the parent not having custody of the child; and
  - finally, the Plan of the spouse of the parent not having custody of the child.
  The Plan that covers you as an active employee (or as that employee's Dependent) shall be the Primary Plan
  and the Plan that covers you as laid-off or retired employee (or as that employee's Dependent) shall be the
  Secondary Plan. If the other Plan does not have a similar provision and, as a result, the Plans cannot agree on
  the order of benefit determination, this paragraph shall not apply.
  The Plan that covers you under a right of continuation which is provided by federal or state law shall be the
  Secondary Plan and the Plan that covers you as an active employee or retiree (or as that employee's
  Dependent) shall be the Primary Plan. If the other Plan does not have a similar provision and, as a result, the
  Plans cannot agree on the order of benefit determination, this paragraph shall not apply.
  If one of the Plans that covers you is issued out of the state whose laws govern this Policy, and determines the
  order of benefits based upon the gender of a parent, and as a result, the Plans do not agree on the order of
  benefit determination, the Plan with the gender rules shall determine the order of benefits.
If none of the above rules determines the order of benefits, the Plan that has covered you for the longer period of
time shall be primary.
When coordinating benefits with Medicare, this Plan will be the Secondary Plan and determine benefits after
Medicare, where permitted by the Social Security Act of 1965, as amended. However, when more than one Plan
is secondary to Medicare, the benefit determination rules identified above, will be used to determine how
benefits will be coordinated.
Effect on the Benefits of This Plan


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Coordination of Benefits___
                         - Continued
If this Plan is the Secondary Plan, it will be liable for the lesser of:
  what the secondary carrier would pay if primary, or
  the balance of the billed charge.
The difference between the amount that this Plan would have paid if this Plan had been the Primary Plan, and
the benefit payments that this Plan had actually paid as the Secondary Plan, will be recorded as a benefit reserve
for you. Cigna will use this benefit reserve to pay any Allowable Expense not otherwise paid during the Claim
Determination Period.
As each claim is submitted, Cigna will determine the following:
  Cigna's obligation to provide services and supplies under this Policy;
  whether a benefit reserve has been recorded for you; and
  whether there are any unpaid Allowable Expenses during the Claims Determination Period.
If there is a benefit reserve, Cigna will use the benefit reserve recorded for you to pay up to 100% of the total of
all Allowable Expenses. At the end of the Claim Determination Period, your benefit reserve will return to zero
and a new benefit reserve will be calculated for each new Claim Determination Period.
Recovery of Excess Benefits
If Cigna pays charges for benefits that should have been paid by the Primary Plan, or if Cigna pays charges in
excess of those for which we are obligated to provide under the Policy, Cigna will have the right to recover the
actual payment made or the Reasonable Cash Value of any services.
Cigna will have sole discretion to seek such recovery from any person to, or for whom, or with respect to whom,
such services were provided or such payments made by any insurance company, healthcare plan or other
organization. If we request, you must execute and deliver to us such instruments and documents as we determine
are necessary to secure the right of recovery.
Right to Receive and Release Information
Cigna, without consent or notice to you, may obtain information from and release information to any other Plan
with respect to you in order to coordinate your benefits pursuant to this section. You must provide us with any
information we request in order to coordinate your benefits pursuant to this section. This request may occur in
connection with a submitted claim; if so, you will be advised that the “other coverage” information, (including
an Explanation of Benefits paid under the Primary Plan) is required before the claim will be processed for
payment. If no response is received within 55 days of the request, the claim will be closed. If the requested
information is subsequently received, the claim will be processed.
Coordination of Benefits with Medicare
If you, your spouse, or your Dependent is covered under this Plan and are enrolled in Medicare, federal law
determines which Plan is the primary payer and which is the secondary payer. The primary payer always
determines covered benefits first, without considering what any other coverage will pay. The secondary payer
determines its coverage only after the Primary Plan has completed its determination.
When Medicare is the Primary Payer
Medicare will be the primary payer and this Plan will be the secondary payer, even if you receive services from
a provider who does not accept Medicare payments, in the following situations:


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Coordination of Benefits___
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  COBRA or State Continuation: You, your spouse, or your covered Dependent are enrolled in Medicare and are
  covered under this Plan due to COBRA or state continuation of coverage, except as may be applicable for End
  Stage Renal Disease (ESRD).
  Retirement or Termination of Employment: You, your spouse, or your covered Dependent are enrolled in
  Medicare and are covered under this Plan due to your retirement or termination of employment.
  Disability: You, your spouse, or your covered Dependent qualify for and are enrolled in Medicare due to a
  disability, you are an active Employee, and your Employer has fewer than 100 employees.
  Age: You, your spouse, or your covered Dependent qualify for and are enrolled in Medicare due to age, you
  are an active Employee, and your Employer has fewer than 20 employees.
  End Stage Renal Disease (ESRD): You, your spouse, or your covered Dependent qualify for and are enrolled
  in Medicare due to End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan will
  be the primary payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary
  payer.
When This Plan is the Primary Payer
This Plan will be the primary payer and Medicare will be the secondary payer in the following situations:
  Disability: You, your spouse, or your covered Dependent qualify for and are enrolled in Medicare due to a
  disability, you are an active Employee, and your Employer has 100 or more employees.
  Age: You, your spouse, or your covered Dependent qualify for and are enrolled in Medicare due to age, you
  are an active Employee, and your Employer has 20 or more employees.
  End Stage Renal Disease (ESRD): You, your spouse, or your covered Dependent qualify for and are enrolled
  in Medicare due to End Stage Renal Disease (ESRD) and you are an active or retired Employee. This Plan is
  the primary payer for the first 30 months. Beginning with the 31st month, Medicare will be the primary payer.
Domestic Partners
Under federal law, when Medicare coverage is due to age, Medicare is always the primary payer and this Plan is
the secondary payer for a person covered under this Plan as a Domestic Partner. However, when Medicare
coverage is due to disability, the Disability payer explanations above will apply.
Failure to Enroll in Medicare
If you, your spouse, or your Dependent do not enroll in Medicare Parts A and/or B during the person's initial
Medicare enrollment period, or the person opts out of coverage, the person may be subject to Medicare late
enrollment penalties, which can cause a delay in coverage and result in higher Medicare premiums when the
person does enroll. It can also result in a reduction in coverage under Medicare Parts A and B. If you are
planning to retire or terminate employment and you will be eligible for COBRA, state Continuation, or retiree
coverage under this Plan, you should enroll in Medicare before you terminate employment to avoid penalties
and to receive the maximum coverage under Medicare. Please consult Medicare or the Social Security
Administration for more information.

Assistance with Medicare Questions
For more information on Medicare's rules and regulations, contact Medicare toll-free at 1-800-MEDICARE (1-
800-633-4227) or at www.medicare.gov. You may also contact the Social Security Administration toll-free at 1-
800-772-1213, at www.ssa.gov, or call your local Social Security Administration office.

HC-COB328                                                                                                   01-22




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Payment of Benefits___

Assignment and Payment of Benefits
You may not assign to any party, including, but not limited to, a provider of healthcare services/items, your right
to benefits under this plan, nor may you assign any administrative, statutory, or legal rights or causes of action
you may have under ERISA, including, but not limited to, any right to make a claim for plan benefits, to request
plan or other documents, to file appeals of denied claims or grievances, or to file lawsuits under ERISA. Any
attempt to assign such rights shall be void and unenforceable under all circumstances. You may, however,
authorize Cigna to pay any healthcare benefits under this policy to a Participating or Non-Participating Provider.
When you authorize the payment of your healthcare benefits to a Participating or Non-Participating Provider,
you authorize the payment of the entire amount of the benefits due on that claim. If a provider is overpaid
because of accepting duplicate payments from you and Cigna, it is the provider's responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for Covered Expenses directly to a Participating
Provider without your authorization. You may not interpret or rely upon this discrete authorization or permission
to pay any healthcare benefits to a Participating or Non-Participating Provider as the authority to assign any
other rights under this policy to any party, including, but not limited to, a provider of healthcare services/items.
Even if the payment of healthcare benefits to a Non-Participating Provider has been authorized by you, Cigna
may, at its option, make payment of benefits to you. When benefits are paid to you or your Dependent, you or
your Dependents are responsible for reimbursing the Non-Participating Provider.
If any person to whom benefits are payable is a minor or, in the opinion of Cigna is not able to give a valid
receipt for any payment due him, such payment will be made to his legal guardian. If no request for payment has
been made by his legal guardian, Cigna may, at its option, make payment to the person or institution appearing
to have assumed his custody and support.
When one of our participants passes away, Cigna may receive notice that an executor of the estate has been
established. The executor has the same rights as our insured and benefit payments for unassigned claims should
be made payable to the executor.
Payment as described above will release Cigna from all liability to the extent of any payment made.
Recovery of Overpayment
When an overpayment has been made by Cigna, Cigna will have the right at any time to: recover that
overpayment from the person to whom or on whose behalf it was made; or offset the amount of that
overpayment from a future claim payment. In addition, your acceptance of benefits under this plan and/or
assignment of Medical Benefits separately creates an equitable lien by agreement pursuant to which Cigna may
seek recovery of any overpayment. You agree that Cigna, in seeking recovery of any overpayment as a
contractual right or as an equitable lien by agreement, may pursue the general assets of the person or entity to
whom or on whose behalf the overpayment was made.
Calculation of Covered Expenses
Cigna, in its discretion, will calculate Covered Expenses following evaluation and validation of all provider
billings in accordance with:
  the methodologies in the most recent edition of the Current Procedural terminology.
  the methodologies as reported by generally recognized professionals or publications.



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Payment of Benefits___
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Termination of Insurance___
■    Termination of Insurance - Employees
Your insurance will cease on the earliest date below:
    the date you cease to be in a Class of Eligible Employees or cease to qualify for the insurance.
    the last day for which you have made any required contribution for the insurance.
    the date the policy is cancelled.
    the last day of the calendar month in which your Active Service ends except as described below.
Any continuation of insurance must be based on a plan which precludes individual selection.
Temporary Layoff or Leave of Absence
If your Active Service ends due to temporary layoff or leave of absence, your insurance will be continued until
the date your Employer stops paying premium for you or otherwise cancels your insurance. However, your
insurance will not be continued for more than 60 days past the date your Active Service ends.
Injury or Sickness
If your Active Service ends due to an Injury or Sickness, your insurance will be continued while you remain
totally and continuously disabled as a result of the Injury or Sickness. However, your insurance will not continue
past the date your Employer stops paying premium for you or otherwise cancels your insurance.
■    Termination of Insurance - Dependents
Your insurance for all of your Dependents will cease on the earliest date below:
    the date your insurance ceases.
    the date you cease to be eligible for Dependent Insurance.
    the last day for which you have made any required contribution for the insurance.
    the date Dependent Insurance is cancelled.
The insurance for any one of your Dependents will cease on the date that Dependent no longer qualifies as a
Dependent.

HC-TRM128                                                                                                         12-17



■    Termination of Insurance - Continuation
Continuation For You and Your Dependents
Under Connecticut law, you are entitled to continue medical benefits for yourself and your insured dependents,
upon payment of the appropriate premium. If elected, coverage for yourself and any dependents will be
continued until the earlier of:
    the end your continuation period applicable to the qualifying event which resulted in loss of coverage under
    the group health plan (see below):
    12 months or end of injury or illness (the earlier of)
    Regardless of eligibility for coverage under another plan, if an insured is on a leave of absence due to illness
    or injury, coverage under this plan will be continued until the earlier of: the end of the illness or injury which
    resulted in the leave of absence; or 12 months. (Note: Eligibility for coverage under another plan disqualifies
    the insured from the additional continuation periods described below.)


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Termination of Insurance___
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    30 months:
    Termination of employee's employment (except for gross misconduct), reduction of hours, lay-off or leave of
    absence.

    36 months:
    - Death of the employee.
    - Divorce or legal separation.
    - Employee becomes entitled to Medicare.
    - Dependent child ceases to qualify as a dependent under the plan.
    - For retirees (or surviving spouses and children of retirees) whose coverage is terminated or substantially
      eliminated within 1 year after the start of bankruptcy proceedings under Chapter 11.
    Secondary Qualifying Events:
    - If any of the following qualifying events listed below occur during the 18 month continuation period, then
      coverage must be continued for a total of 36 months from the date of the termination of employment:
      * Death of employee
      * Divorce, annulment or legal separation
      * Employee's entitlement to Medicare
      * Dependent child's loss of dependent status
    - If the qualified beneficiary is determined by the Social Security Administration (SSA) to have been disabled
      at the time of a qualifying event, continuation will extend to a period of 29 months from the original
      qualifying event, provided the qualified beneficiary has provided notice of such determination to Cigna
      within 60 days after receipt and before the end of the original 18 month continuation period.
    termination of the group policy (except if an insured is totally disabled on the date of termination, coverage
    must continue, without premium for 12 months);
    the date you or your dependent(s) become eligible for another group plan;
    the date you fail to make a timely premium payment; or
    the date you become eligible for or entitled to Medicare.
If you elect to continue coverage, premium must be paid monthly and must be received before the first day of
each month during the continuation period. The first contribution is due with the application for continuation
coverage and must be returned within 31 days from the date the notice of the option to elect continuation
coverage was sent.

HC-TRM5                                                                                                        04-10
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■    Termination of Insurance - Rescissions
Your coverage may not be rescinded (retroactively terminated) by Cigna or the plan sponsor unless the plan
sponsor or an individual (or a person seeking coverage on behalf of the individual) performs an act, practice or
omission that constitutes fraud; or the plan sponsor or individual (or a person seeking coverage on behalf of the
individual) makes an intentional misrepresentation of material fact.
After two years, coverage may not be contested based on anything stated in the application process.




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Termination of Insurance___
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Medical Benefits Extension for Hospital Confinement Upon
PolicyCancellation___
If the Medical Benefits under this plan cease for you or your Dependent due to cancellation of the policy, and
you or your Dependent are hospital or facility confined on that date due to an Injury or Sickness covered by the
policy, Medical Benefits will be paid for covered professional services, supplies and facility charge expenses
incurred in connection with the confinement. However, no benefits will be paid after the earliest of:
  the date you exceed the Maximum Benefit, if any, shown in the Schedule;
  the date you are discharged from the hospital or facility in which you were confined on the policy cancellation
  date;
  12 months from the date the policy is canceled.
The terms of this Medical Benefits Extension will not apply to a child born as a result of a pregnancy which
exists when you or your Dependent's Medical Benefits cease.

HC-BEX2                                                                                                        04-10
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Federal Requirements___

The following pages explain your rights and responsibilities under federal laws and regulations. Some states
may have similar requirements. If a similar provision appears elsewhere in this booklet, the provision which
provides the better benefit will apply.

HC-FED1                                                                                                         10-10



■    Notice Regarding Provider Directories and Provider Networks
A list of network providers is available to you without charge by visiting the website or by calling the phone
number on your ID card.
The network consists of providers, including hospitals, of varied specialties as well as general practice, affiliated
or contracted with Cigna or an organization contracting on its behalf.
■    Notice Regarding Pharmacy Directories and Pharmacy Networks
A list of network pharmacies is available to you without charge by visiting the website or by calling the phone
number on your ID card. The network consists of pharmacies affiliated or contracted with Cigna or an
organization contracting on its behalf.

HC-FED78                                                                                                        10-10



■    Qualified Medical Child Support Order (QMCSO)
Eligibility for Coverage Under a QMCSO
If a Qualified Medical Child Support Order (QMCSO) is issued for your child, that child will be eligible for
coverage as required by the order and you will not be considered a Late Entrant for Dependent Insurance.
You must notify your Employer and elect coverage for that child, and yourself if you are not already enrolled,
within 31 days of the QMCSO being issued.

Qualified Medical Child Support Order Defined
A Qualified Medical Child Support Order is a judgment, decree or order (including approval of a settlement
agreement) or administrative notice, which is issued pursuant to a state domestic relations law (including a
community property law), or to an administrative process, which provides for child support or provides for
health benefit coverage to such child and relates to benefits under the group health plan, and satisfies all of the
following:
    the order recognizes or creates a child's right to receive group health benefits for which a participant or
    beneficiary is eligible;
    the order specifies your name and last known address, and the child's name and last known address, except
    that the name and address of an official of a state or political subdivision may be substituted for the child's
    mailing address;
    the order provides a description of the coverage to be provided, or the manner in which the type of coverage is
    to be determined;
    the order states the period to which it applies; and


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Federal Requirements___
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    if the order is a National Medical Support Notice completed in accordance with the Child Support
    Performance and Incentive Act of 1998, such Notice meets the requirements above.
The QMCSO may not require the health insurance policy to provide coverage for any type or form of benefit or
option not otherwise provided under the policy, except that an order may require a plan to comply with State
laws regarding health care coverage.
Qualified Medical Child Support Order (QMCSO)
Payment of Benefits
Any payment of benefits in reimbursement for Covered Expenses paid by the child, or the child's custodial
parent or legal guardian, shall be made to the child, the child's custodial parent or legal guardian, or a state
official whose name and address have been substituted for the name and address of the child.

HC-FED4                                                                                                            10-10



■    Special Enrollment Rights Under the Health Insurance Portability & Accountability Act (HIPAA)
If you or your eligible Dependent(s) experience a special enrollment event as described below, you or your
eligible Dependent(s) may be entitled to enroll in the Plan outside of a designated enrollment period upon the
occurrence of one of the special enrollment events listed below. If you are already enrolled in the Plan, you may
request enrollment for you and your eligible Dependent(s) under a different option offered by the Employer for
which you are currently eligible. If you are not already enrolled in the Plan, you must request special enrollment
for yourself in addition to your eligible Dependent(s). You and all of your eligible Dependent(s) must be covered
under the same option. The special enrollment events include:
    Acquiring a new Dependent. If you acquire a new Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment for any of the following combinations of
    individuals if not already enrolled in the Plan: Employee only; spouse only; Employee and spouse; Dependent
    child(ren) only; Employee and Dependent child(ren); Employee, spouse and Dependent child(ren). Enrollment
    of Dependent children is limited to the newborn or adopted children or children who became Dependent
    children of the Employee due to marriage.
    Loss of eligibility for State Medicaid or Children's Health Insurance Program (CHIP). If you and/or your
    Dependent(s) were covered under a state Medicaid or CHIP plan and the coverage is terminated due to a loss
    of eligibility, you may request special enrollment for yourself and any affected Dependent(s) who are not
    already enrolled in the plan. You must request enrollment within 60 days after termination of Medicaid or
    CHIP coverage.
    Loss of eligibility for other coverage (excluding continuation coverage). If coverage was declined under
    this Plan due to coverage under another plan, and eligibility for the other coverage is lost, you and all of your
    eligible Dependents may request special enrollment in this Plan. If required by the Plan, when enrollment in
    this Plan was previously declined, it must have been declined in writing with a statement that the reason for
    declining enrollment was due to other health coverage. This provision applies to loss of eligibility as a result
    of any of the following:
    - divorce or legal separation;
    - cessation of Dependent status (such as reaching the limiting age);
    - death of the Employee;
    - termination of employment;
    - reduction in work hours to below the minimum required for eligibility;


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Federal Requirements___
                     - Continued
    - you or your Dependent(s) no longer reside, live or work in the other plan's network service area and no other
      coverage is available under the other plan;
    - you or your Dependent(s) incur a claim which meets or exceeds the lifetime maximum limit that is
      applicable to all benefits offered under the other plan; or
    - the other plan no longer offers any benefits to a class of similarly situated individuals.
    Termination of Employer contributions (excluding continuation coverage). If a current or former
    Employer ceases all contributions toward the Employee's or Dependent's other coverage, special enrollment
    may be requested in this Plan for you and all of your eligible Dependent(s).
    Exhaustion of COBRA or other continuation coverage. Special enrollment may be requested in this Plan
    for you and all of your eligible Dependent(s) upon exhaustion of COBRA or other continuation coverage. If
    you or your Dependent(s) elect COBRA or other continuation coverage following loss of coverage under
    another plan, the COBRA or other continuation coverage must be exhausted before any special enrollment
    rights exist under this Plan. An individual is considered to have exhausted COBRA or other continuation
    coverage only if such coverage ceases: due to failure of the Employer or other responsible entity to remit
    premiums on a timely basis; when the person no longer resides or works in the other plan's service area and
    there is no other COBRA or continuation coverage available under the plan; or when the individual incurs a
    claim that would meet or exceed a lifetime maximum limit on all benefits and there is no other COBRA or
    other continuation coverage available to the individual. This does not include termination of an Employer's
    limited period of contributions toward COBRA or other continuation coverage as provided under any
    severance or other agreement.
    Eligibility for employment assistance under State Medicaid or Children's Health Insurance Program
    (CHIP). If you and/or your Dependent(s) become eligible for assistance with group health plan premium
    payments under a state Medicaid or CHIP plan, you may request special enrollment for yourself and any
    affected Dependent(s) who are not already enrolled in the plan. You must request enrollment within 60 days
    after the date you are determined to be eligible for assistance.
Except as stated above, special enrollment must be requested within 30 days after the occurrence of the
special enrollment event. If the special enrollment event is the birth or adoption of a Dependent child,
coverage will be effective immediately on the date of birth, adoption or placement for adoption. Coverage
with regard to any other special enrollment event will be effective no later than the first day of the first
calendar month following receipt of the request for special enrollment.
Domestic Partners and their children (if not legal children of the Employee) are not eligible for special
enrollment.

HC-FED96                                                                                                      04-17



■    Effect of Section 125 Tax Regulations on This Plan
Your Employer has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, you may agree to a pretax salary reduction put toward the cost of your
benefits. Otherwise, you will receive your taxable earnings as cash (salary).
A. Coverage elections
Per Section 125 regulations, you are generally allowed to enroll for or change coverage only before each annual
benefit period. However, exceptions are allowed:
    if you meet Special Enrollment criteria and enroll as described in the Special Enrollment section; or


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Federal Requirements___
                     - Continued
  if your Employer agrees, and you meet the criteria shown in the following Sections B through H and enroll for
  or change coverage within the time period established by your Employer.
B. Change of status
A change in status is defined as:
  change in legal marital status due to marriage, death of a spouse, divorce, annulment or legal separation;
  change in number of Dependents due to birth, adoption, placement for adoption, or death of a Dependent;
  change in employment status of Employee, spouse or Dependent due to termination or start of employment,
  strike, lockout, beginning or end of unpaid leave of absence, including under the Family and Medical Leave
  Act (FMLA), or change in worksite;
  changes in employment status of Employee, spouse or Dependent resulting in eligibility or ineligibility for
  coverage;
  change in residence of Employee, spouse or Dependent to a location outside of the Employer's network service
  area; and
  changes which cause a Dependent to become eligible or ineligible for coverage.
C. Court order
A change in coverage due to and consistent with a court order of the Employee or other person to cover a
Dependent.
D. Medicare or Medicaid eligibility/entitlement

The Employee, spouse or Dependent cancels or reduces coverage due to entitlement to Medicare or Medicaid, or
enrolls or increases coverage due to loss of Medicare or Medicaid eligibility.
E. Change in cost of coverage
If the cost of benefits increases or decreases during a benefit period, your Employer may, in accordance with
plan terms, automatically change your elective contribution.
When the change in cost is significant, you may either increase your contribution or elect less-costly coverage.
When a significant overall reduction is made to the benefit option you have elected, you may elect another
available benefit option. When a new benefit option is added, you may change your election to the new benefit
option.
F. Changes in coverage of spouse or dependent under another employer's plan
You may make a coverage election change if the plan of your spouse or Dependent: incurs a change such as
adding or deleting a benefit option; allows election changes due to Special Enrollment, Change in Status, Court
Order or Medicare or Medicaid Eligibility/Entitlement; or this Plan and the other plan have different periods of
coverage or open enrollment periods.
G. Reduction in work hours
If an Employee's work hours are reduced below 30 hours/week (even if it does not result in the Employee losing
eligibility for the Employer's coverage); and the Employee (and family) intend to enroll in another plan that
provides Minimum Essential Coverage (MEC). The new coverage must be effective no later than the 1st day of
the 2nd month following the month that includes the date the original coverage is revoked.

H. Enrollment in a Qualified Health Plan (QHP)

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Federal Requirements___
                     - Continued
Employee: The Employee must be eligible for a Special Enrollment Period to enroll in a QHP through an
Exchange (Marketplace) or the Employee seeks to enroll in a QHP through an Exchange during the
Marketplace's annual open enrollment period, and the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP through an Exchange for new coverage effective
beginning no later than the day immediately following the last day of the original coverage.
Family: A plan may allow an Employee to revoke family coverage midyear in order for family members
(“related individuals”) to enroll in a QHP through an Exchange (Marketplace). The related individual(s) must be
eligible for a Special Enrollment Period to enroll in a QHP or seek to enroll in a QHP during the Marketplace's
annual open enrollment period, and the disenrollment from the group plan corresponds to the intended
enrollment of the individual(s) in a QHP for new coverage effective beginning no later than the day immediately
following the last day of the original coverage. If the Employee does not enroll in a QHP, the Employee must
select self-only coverage or family coverage including one or more already-covered individuals.

HC-FED111                                                                                                       01-23



■   Eligibility for Coverage for Adopted Children
Any child who is adopted by you, including a child who is placed with you for adoption, will be eligible for
Dependent Insurance, if otherwise eligible as a Dependent, upon the date of placement with you. A child will be
considered placed for adoption when you become legally obligated to support that child, totally or partially,
prior to that child's adoption.
If a child placed for adoption is not adopted, all health coverage ceases when the placement ends, and will not be
continued.
The provisions in the “Exception for Newborns” section of this document that describe requirements for
enrollment and effective date of insurance will also apply to an adopted child or a child placed with you for
adoption.

HC-FED67                                                                                                        09-14



■   Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group health insurance coverage generally may not,
under a federal law known as the “Newborns' and Mothers' Health Protection Act”: restrict benefits for any
Hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section; or require that a provider obtain
authorization from the plan or insurance issuer for prescribing a length of stay not in excess of the above
periods. The law generally does not prohibit an attending provider of the mother or newborn, in consultation
with the mother, from discharging the mother or newborn earlier than 48 or 96 hours, as applicable.
Please review this Plan for further details on the specific coverage available to you and your Dependents.

HC-FED11                                                                                                        10-10



■   Women's Health and Cancer Rights Act (WHCRA)

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Federal Requirements___
                     - Continued
Do you know that your plan, as required by the Women's Health and Cancer Rights Act of 1998, provides
benefits for mastectomy-related services including all stages of reconstruction and surgery to achieve symmetry
between the breasts, prostheses, and complications resulting from a mastectomy, including lymphedema? Call
Member Services at the toll free number listed on your ID card for more information.

HC-FED12                                                                                                         10-10



■    Group Plan Coverage Instead of Medicaid
If your income and liquid resources do not exceed certain limits established by law, the state may decide to pay
premiums for this coverage instead of for Medicaid, if it is cost effective. This includes premiums for
continuation coverage required by federal law.

HC-FED13                                                                                                         10-10



■    Requirements of Family and Medical Leave Act of 1993 (as amended) (FMLA)
Any provisions of the policy that provide for: continuation of insurance during a leave of absence; and
reinstatement of insurance following a return to Active Service; are modified by the following provisions of the
federal Family and Medical Leave Act of 1993, as amended, where applicable:
Continuation of Health Insurance During Leave
Your health insurance will be continued during a leave of absence if:
    that leave qualifies as a leave of absence under the Family and Medical Leave Act of 1993, as amended; and
    you are an eligible Employee under the terms of that Act.
The cost of your health insurance during such leave must be paid, whether entirely by your Employer or in part
by you and your Employer.
Reinstatement of Canceled Insurance Following Leave
Upon your return to Active Service following a leave of absence that qualifies under the Family and Medical
Leave Act of 1993, as amended, any canceled insurance (health, life or disability) will be reinstated as of the
date of your return.
You will not be required to satisfy any eligibility or benefit waiting period to the extent that they had been
satisfied prior to the start of such leave of absence.
Your Employer will give you detailed information about the Family and Medical Leave Act of 1993, as
amended.

HC-FED93                                                                                                         10-17



■    Uniformed Services Employment and Re-Employment Rights Act of 1994 (USERRA)




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Federal Requirements___
                     - Continued
The Uniformed Services Employment and Re-employment Rights Act of 1994 (USERRA) sets requirements for
continuation of health coverage and re-employment in regard to an Employee's military leave of absence. These
requirements apply to medical and dental coverage for you and your Dependents. They do not apply to any Life,
Short-term or Long-term Disability or Accidental Death & Dismemberment coverage you may have.
Continuation of Coverage
For leaves of less than 31 days, coverage will continue as described in the Termination section regarding Leave
of Absence.
For leaves of 31 days or more, you may continue coverage for yourself and your Dependents as follows:
You may continue benefits by paying the required premium to your Employer, until the earliest of the following:
    24 months from the last day of employment with the Employer;
    the day after you fail to return to work; and
    the date the policy cancels.
Your Employer may charge you and your Dependents up to 102% of the total premium.
Reinstatement of Benefits (applicable to all coverages)

If your coverage ends during the leave of absence because you do not elect USERRA or an available conversion
plan at the expiration of USERRA and you are reemployed by your current Employer, coverage for you and
your Dependents may be reinstated if you gave your Employer advance written or verbal notice of your military
service leave, and the duration of all military leaves while you are employed with your current Employer does
not exceed 5 years.
You and your Dependents will be subject to only the balance of a waiting period that was not yet satisfied before
the leave began. However, if an Injury or Sickness occurs or is aggravated during the military leave, full Plan
limitations will apply.

If your coverage under this plan terminates as a result of your eligibility for military medical and dental
coverage and your order to active duty is canceled before your active duty service commences, these
reinstatement rights will continue to apply.

HC-FED18                                                                                                      10-10



■    Claim Determination Procedures Under ERISA
The following complies with federal law. Provisions of applicable laws of your state may supersede.
Procedures Regarding Medical Necessity Determinations
In general, health services and benefits must be Medically Necessary to be covered under the plan. The
procedures for determining Medical Necessity vary, according to the type of service or benefit requested, and
the type of health plan. Medical Necessity determinations are made on a preservice, concurrent, or postservice
basis, as described below:




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Federal Requirements___
                     - Continued
Certain services require prior authorization in order to be covered. The Certificate describes who is responsible
for obtaining this review. You or your authorized representative (typically, your health care professional) must
request prior authorization according to the procedures described below, in the Certificate, and in your provider's
network participation documents as applicable.
When services or benefits are determined to be not covered, you or your representative will receive a written
description of the adverse determination, and may appeal the determination. Appeal procedures are described in
the Certificate, in your provider's network participation documents as applicable, and in the determination
notices.
Note: An oral statement made to you by a representative of Cigna or its designee that indicates, for example, a
particular service is a Covered Expense, is authorized for coverage by the plan, or that you are eligible for
coverage is not a guarantee that you will receive benefits for services under this plan. Cigna will make a benefit
determination after a claim is received from you or your authorized representative, and the benefit determination
will be based on, your eligibility as of the date services were rendered to you and the terms and conditions of the
plan in effect as of the date services were rendered to you.
Preservice Determinations
When you or your representative requests a required prior authorization, Cigna will notify you or your
representative of the determination within 15 days after receiving the request. However, if more time is needed
due to matters beyond Cigna's control, Cigna will notify you or your representative within 15 days after
receiving your request. This notice will include the date a determination can be expected, which will be no more
than 30 days after receipt of the request. If more time is needed because necessary information is missing from
the request, the notice will also specify what information is needed, and you or your representative must provide
the specified information to Cigna within 45 days after receiving the notice. The determination period will be
suspended on the date Cigna sends such a notice of missing information, and the determination period will
resume on the date you or your representative responds to the notice.
If the determination periods above would seriously jeopardize your life or health, your ability to regain
maximum function, or in the opinion of a health care professional with knowledge of your health condition,
cause you severe pain which cannot be managed without the requested services, Cigna will make the preservice
determination on an expedited basis. Cigna will defer to the determination of the treating health care
professional regarding whether an expedited determination is necessary. Cigna will notify you or your
representative of an expedited determination within 72 hours after receiving the request.
However, if necessary information is missing from the request, Cigna will notify you or your representative
within 24 hours after receiving the request to specify what information is needed. You or your representative
must provide the specified information to Cigna within 48 hours after receiving the notice. Cigna will notify you
or your representative of the expedited benefit determination within 48 hours after you or your representative
responds to the notice. Expedited determinations may be provided orally, followed within 3 days by written or
electronic notification.

If you or your representative attempts to request a preservice determination, but fails to follow Cigna's
procedures for requesting a required preservice determination, Cigna will notify you or your representative of
the failure and describe the proper procedures for filing within 5 days (or 24 hours, if an expedited determination
is required, as described above) after receiving the request. This notice may be provided orally, unless you or
your representative requests written notification.
Concurrent Determinations

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Federal Requirements___
                     - Continued
When an ongoing course of treatment has been approved for you and you wish to extend the approval, you or
your representative must request a required concurrent coverage determination at least 24 hours prior to the
expiration of the approved period of time or number of treatments. When you or your representative requests
such a determination, Cigna will notify you or your representative of the determination within 24 hours after
receiving the request.
Postservice Determinations
When you or your representative requests a coverage determination or a claim payment determination after
services have been rendered, Cigna will notify you or your representative of the determination within 30 days
after receiving the request. However, if more time is needed to make a determination due to matters beyond
Cigna's control, Cigna will notify you or your representative within 30 days after receiving the request. This
notice will include the date a determination can be expected, which will be no more than 45 days after receipt of
the request.
If more time is needed because necessary information is missing from the request, the notice will also specify
what information is needed, and you or your representative must provide the specified information to Cigna
within 45 days after receiving the notice. The determination period will be suspended on the date Cigna sends
such a notice of missing information, and the determination period will resume on the date you or your
representative responds to the notice.
Notice of Adverse Determination
Every notice of an adverse benefit determination will be provided in writing or electronically, and will include
all of the following that pertain to the determination: information sufficient to identify the claim including, if
applicable, the date of service, provider and claim amount; diagnosis and treatment codes, and their meanings;
the specific reason or reasons for the adverse determination including, if applicable, the denial code and its
meaning and a description of any standard that was used in the denial; reference to the specific plan provisions
on which the determination is based; a description of any additional material or information necessary to perfect
the claim and an explanation of why such material or information is necessary; a description of the plan's review
procedures and the time limits applicable, including a statement of a claimant's rights to bring a civil action
under section 502(a) of ERISA following an adverse benefit determination on appeal (if applicable); upon
request and free of charge, a copy of any internal rule, guideline, protocol or other similar criterion that was
relied upon in making the adverse determination regarding your claim; and an explanation of the scientific or
clinical judgment for a determination that is based on a Medical Necessity, experimental treatment or other
similar exclusion or limit; a description of any available internal appeal and/or external review process(es);
information about any office of health insurance consumer assistance or ombudsman available to assist you with
the appeal process; and in the case of a claim involving urgent care, a description of the expedited review
process applicable to such claim.

HC-FED104                                                                                                    01-19



■   COBRA Continuation Rights Under Federal Law
For You and Your Dependents

What is COBRA Continuation Coverage?




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Federal Requirements___
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Under federal law, you and/or your Dependents must be given the opportunity to continue health insurance when
there is a “qualifying event” that would result in loss of coverage under the Plan. You and/or your Dependents
will be permitted to continue the same coverage under which you or your Dependents were covered on the day
before the qualifying event occurred, unless you move out of that plan's coverage area or the plan is no longer
available. You and/or your Dependents cannot change coverage options until the next open enrollment period.
When is COBRA Continuation Available?
For you and your Dependents, COBRA continuation is available for up to 18 months from the date of the
following qualifying events if the event would result in a loss of coverage under the Plan:
  your termination of employment for any reason, other than gross misconduct; or
  your reduction in work hours.
For your Dependents, COBRA continuation coverage is available for up to 36 months from the date of the
following qualifying events if the event would result in a loss of coverage under the Plan:
  your death;
  your divorce or legal separation; or
  for a Dependent child, failure to continue to qualify as a Dependent under the Plan.
Who is Entitled to COBRA Continuation?
Only a “qualified beneficiary” (as defined by federal law) may elect to continue health insurance coverage. A
qualified beneficiary may include the following individuals who were covered by the Plan on the day the
qualifying event occurred: you, your spouse, and your Dependent children. Each qualified beneficiary has their
own right to elect or decline COBRA continuation coverage even if you decline or are not eligible for COBRA
continuation.
The following individuals are not qualified beneficiaries for purposes of COBRA continuation: domestic
partners, grandchildren (unless adopted by you), stepchildren (unless adopted by you). Although these
individuals do not have an independent right to elect COBRA continuation coverage, if you elect COBRA
continuation coverage for yourself, you may also cover your Dependents even if they are not considered
qualified beneficiaries under COBRA. However, such individuals' coverage will terminate when your COBRA
continuation coverage terminates. The sections titled “Secondary Qualifying Events” and “Medicare Extension
For Your Dependents” are not applicable to these individuals.
Secondary Qualifying Events
If, as a result of your termination of employment or reduction in work hours, your Dependent(s) have elected
COBRA continuation coverage and one or more Dependents experience another COBRA qualifying event, the
affected Dependent(s) may elect to extend their COBRA continuation coverage for an additional 18 months (7
months if the secondary event occurs within the disability extension period) for a maximum of 36 months from
the initial qualifying event. The second qualifying event must occur before the end of the initial 18 months of
COBRA continuation coverage or within the disability extension period discussed below. Under no
circumstances will COBRA continuation coverage be available for more than 36 months from the initial
qualifying event. Secondary qualifying events are: your death; your divorce or legal separation; or, for a
Dependent child, failure to continue to qualify as a Dependent under the Plan.
Disability Extension




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Federal Requirements___
                     - Continued
If, after electing COBRA continuation coverage due to your termination of employment or reduction in work
hours, you or one of your Dependents is determined by the Social Security Administration (SSA) to be totally
disabled under Title II or XVI of the SSA, you and all of your Dependents who have elected COBRA
continuation coverage may extend such continuation for an additional 11 months, for a maximum of 29 months
from the initial qualifying event.
To qualify for the disability extension, all of the following requirements must be satisfied:
  SSA must determine that the disability occurred prior to or within 60 days after the disabled individual elected
  COBRA continuation coverage; and
  A copy of the written SSA determination must be provided to the Plan Administrator within 60 calendar days
  after the date the SSA determination is made AND before the end of the initial 18-month continuation period.
If the SSA later determines that the individual is no longer disabled, you must notify the Plan Administrator
within 30 days after the date the final determination is made by SSA. The 11-month disability extension will
terminate for all covered persons on the first day of the month that is more than 30 days after the date the SSA
makes a final determination that the disabled individual is no longer disabled.
All causes for “Termination of COBRA Continuation” listed below will also apply to the period of disability
extension.
Medicare Extension for Your Dependents
When the qualifying event is your termination of employment or reduction in work hours and you became
enrolled in Medicare (Part A, Part B or both) within the 18 months before the qualifying event, COBRA
continuation coverage for your Dependents will last for up to 36 months after the date you became enrolled in
Medicare. Your COBRA continuation coverage will last for up to 18 months from the date of your termination
of employment or reduction in work hours.
Termination of COBRA Continuation
COBRA continuation coverage will be terminated upon the occurrence of any of the following:
  the end of the COBRA continuation period of 18, 29 or 36 months, as applicable;
  failure to pay the required premium within 30 calendar days after the due date;
  cancellation of the Employer's policy with Cigna;
  after electing COBRA continuation coverage, a qualified beneficiary enrolls in Medicare (Part A, Part B, or
  both);
  after electing COBRA continuation coverage, a qualified beneficiary becomes covered under another group
  health plan, unless the qualified beneficiary has a condition for which the new plan limits or excludes coverage
  under a pre-existing condition provision. In such case coverage will continue until the earliest of: the end of
  the applicable maximum period; the date the pre-existing condition provision is no longer applicable; or the
  occurrence of an event described in one of the first three bullets above;
  any reason the Plan would terminate coverage of a participant or beneficiary who is not receiving continuation
  coverage (e.g., fraud).
Moving Out of Employer's Service Area or Elimination of a Service Area




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Federal Requirements___
                     - Continued
If you and/or your Dependents move out of the Employer's service area or the Employer eliminates a service
area in your location, your COBRA continuation coverage under the plan will be limited to out-of-network
coverage only. In-network coverage is not available outside of the Employer's service area. If the Employer
offers another benefit option through Cigna or another carrier which can provide coverage in your location, you
may elect COBRA continuation coverage under that option.
Employer's Notification Requirements

Your Employer is required to provide you and/or your Dependents with the following notices:
  An initial notification of COBRA continuation rights must be provided within 90 days after your (or your
  spouse's) coverage under the Plan begins (or the Plan first becomes subject to COBRA continuation
  requirements, if later). If you and/or your Dependents experience a qualifying event before the end of that 90-
  day period, the initial notice must be provided within the time frame required for the COBRA continuation
  coverage election notice as explained below.
  A COBRA continuation coverage election notice must be provided to you and/or your Dependents within the
  following timeframes:
  - if the Plan provides that COBRA continuation coverage and the period within which an Employer must
    notify the Plan Administrator of a qualifying event starts upon the loss of coverage, 44 days after loss of
    coverage under the Plan;
  - if the Plan provides that COBRA continuation coverage and the period within which an Employer must
    notify the Plan Administrator of a qualifying event starts upon the occurrence of a qualifying event, 44 days
    after the qualifying event occurs; or
  - in the case of a multi-employer plan, no later than 14 days after the end of the period in which Employers
    must provide notice of a qualifying event to the Plan Administrator.
How to Elect COBRA Continuation Coverage
The COBRA coverage election notice will list the individuals who are eligible for COBRA continuation
coverage and inform you of the applicable premium. The notice will also include instructions for electing
COBRA continuation coverage. You must notify the Plan Administrator of your election no later than the due
date stated on the COBRA election notice. If a written election notice is required, it must be post-marked no
later than the due date stated on the COBRA election notice. If you do not make proper notification by the due
date shown on the notice, you and your Dependents will lose the right to elect COBRA continuation coverage. If
you reject COBRA continuation coverage before the due date, you may change your mind as long as you furnish
a completed election form before the due date.

Each qualified beneficiary has an independent right to elect COBRA continuation coverage. Continuation
coverage may be elected for only one, several, or for all Dependents who are qualified beneficiaries. Parents
may elect to continue coverage on behalf of their Dependent children. You or your spouse may elect
continuation coverage on behalf of all the qualified beneficiaries. You are not required to elect COBRA
continuation coverage in order for your Dependents to elect COBRA continuation.
How Much Does COBRA Continuation Coverage Cost?
Each qualified beneficiary may be required to pay the entire cost of continuation coverage. The amount may not
exceed 102% of the cost to the group health plan (including both Employer and Employee contributions) for
coverage of a similarly situated active Employee or family member. The premium during the 11-month
disability extension may not exceed 150% of the cost to the group health plan (including both employer and
employee contributions) for coverage of a similarly situated active Employee or family member.


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Federal Requirements___
                     - Continued
For example: If the Employee alone elects COBRA continuation coverage, the Employee will be charged 102%
(or 150%) of the active Employee premium. If the spouse or one Dependent child alone elects COBRA
continuation coverage, they will be charged 102% (or 150%) of the active Employee premium. If more than one
qualified beneficiary elects COBRA continuation coverage, they will be charged 102% (or 150%) of the
applicable family premium.
When and How to Pay COBRA Premiums
First payment for COBRA continuation
If you elect COBRA continuation coverage, you do not have to send any payment with the election form.
However, you must make your first payment no later than 45 calendar days after the date of your election. (This
is the date the Election Notice is postmarked, if mailed.) If you do not make your first payment within that 45
days, you will lose all COBRA continuation rights under the Plan.
Subsequent payments
After you make your first payment for COBRA continuation coverage, you will be required to make subsequent
payments of the required premium for each additional month of coverage. Payment is due on the first day of
each month. If you make a payment on or before its due date, your coverage under the Plan will continue for that
coverage period without any break.
Grace periods for subsequent payments
Although subsequent payments are due by the first day of the month, you will be given a grace period of 30 days
after the first day of the coverage period to make each monthly payment. Your COBRA continuation coverage
will be provided for each coverage period as long as payment for that coverage period is made before the end of
the grace period for that payment. However, if your payment is received after the due date, your coverage under
the Plan may be suspended during this time. Any providers who contact the Plan to confirm coverage during this
time may be informed that coverage has been suspended. If payment is received before the end of the grace
period, your coverage will be reinstated back to the beginning of the coverage period. This means that any claim
you submit for benefits while your coverage is suspended may be denied and may have to be resubmitted once
your coverage is reinstated. If you fail to make a payment before the end of the grace period for that coverage
period, you will lose all rights to COBRA continuation coverage under the Plan.
You Must Give Notice of Certain Qualifying Events
If you or your Dependent(s) experience one of the following qualifying events, you must notify the Plan
Administrator within 60 calendar days after the later of the date the qualifying event occurs or the date coverage
would cease as a result of the qualifying event:
  Your divorce or legal separation; or
  Your child ceases to qualify as a Dependent under the Plan.
  The occurrence of a secondary qualifying event as discussed under “Secondary Qualifying Events” above (this
  notice must be received prior to the end of the initial 18- or 29-month COBRA period).
(Also refer to the section titled “Disability Extension” for additional notice requirements.)




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Federal Requirements___
                     - Continued
Notice must be made in writing and must include: the name of the Plan, name and address of the Employee
covered under the Plan, name and address(es) of the qualified beneficiaries affected by the qualifying event; the
qualifying event; the date the qualifying event occurred; and supporting documentation. (e.g., divorce decree,
birth certificate, disability determination, etc.).
Newly Acquired Dependents
If you acquire a new Dependent through marriage, birth, adoption or placement for adoption while your
coverage is being continued, you may cover such Dependent under your COBRA continuation coverage.
However, only your newborn or adopted Dependent child is a qualified beneficiary and may continue COBRA
continuation coverage for the remainder of the coverage period following your early termination of COBRA
coverage or due to a secondary qualifying event. COBRA coverage for your Dependent spouse and any
Dependent children who are not your children (e.g., stepchildren or grandchildren) will cease on the date your
COBRA coverage ceases and they are not eligible for a secondary qualifying event.

COBRA Continuation for Retirees Following Employer's Bankruptcy
If you are covered as a retiree, and a proceeding in bankruptcy is filed with respect to the Employer under Title
11 of the United States Code, you may be entitled to COBRA continuation coverage. If the bankruptcy results in
a loss of coverage for you, your Dependents or your surviving spouse within one year before or after such
proceeding, you and your covered Dependents will become COBRA qualified beneficiaries with respect to the
bankruptcy. You will be entitled to COBRA continuation coverage until your death. Your surviving spouse and
covered Dependent children will be entitled to COBRA continuation coverage for up to 36 months following
your death. However, COBRA continuation coverage will cease upon the occurrence of any of the events listed
under “Termination of COBRA Continuation” above.
Interaction With Other Continuation Benefits
You may be eligible for other continuation benefits under state law. Refer to the Termination section for any
other continuation benefits.

HC-FED66                                                                                                        07-14



■   ERISA Required Information
The name of the Plan is: Starwood Headquarters Health & Welfare Plan
The name, address, ZIP code and business telephone number of the sponsor of the Plan is:


      Starwood Headquarters, LLC
      591 West Putnam Avenue
      Greenwich, CT
      06830
      203-489-4269


Plan Number: 501

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Federal Requirements___
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Number (EIN): XX-XXXXXXX
The name, address, ZIP code and business telephone number of the Plan Administrator is:
Employer named above
The name, address and ZIP code of the person designated as agent for service of legal process is:
Employer named above
The office designated to consider the appeal of denied claims is:
The Cigna Claim Office responsible for this Plan
The cost of the Plan is shared by Employee and Employer.
The Plan's fiscal year ends on December 31.
The preceding pages set forth the eligibility requirements and benefits provided for you under this Plan.
Plan Trustees
A list of any Trustees of the Plan, which includes name, title and address, is available upon request to the Plan
Administrator.
Plan Type
The plan is a healthcare benefit plan.
Collective Bargaining Agreements
You may contact the Plan Administrator to determine whether the Plan is maintained pursuant to one or more
collective bargaining agreements and if a particular Employer is a sponsor. A copy is available for examination
from the Plan Administrator upon written request.
Discretionary Authority
The Plan Administrator delegates to Cigna the discretionary authority to interpret and apply plan terms and to
make factual determinations in connection with its review of claims under the plan. Such discretionary authority
is intended to include, but not limited to, the determination of the eligibility of persons desiring to enroll in or
claim benefits under the plan, the determination of whether a person is entitled to benefits under the plan, and
the computation of any and all benefit payments. The Plan Administrator also delegates to Cigna the
discretionary authority to perform a full and fair review, as required by ERISA, of each claim denial which has
been appealed by the claimant or his duly authorized representative.
Plan Modification, Amendment and Termination




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Federal Requirements___
                     - Continued
The Employer as Plan Sponsor reserves the right to, at any time, change or terminate benefits under the Plan, to
change or terminate the eligibility of classes of employees to be covered by the Plan, to amend or eliminate any
other plan term or condition, and to terminate the whole plan or any part of it. Contact the Employer for the
procedure by which benefits may be changed or terminated, by which the eligibility of classes of employees
may be changed or terminated, or by which part or all of the Plan may be terminated. No consent of any
participant is required to terminate, modify, amend or change the Plan.
Termination of the Plan together with termination of the insurance policy(s) which funds the Plan benefits will
have no adverse effect on any benefits to be paid under the policy(s) for any covered medical expenses incurred
prior to the date that policy(s) terminates. Likewise, any extension of benefits under the policy(s) due to you or
your Dependent's total disability which began prior to and has continued beyond the date the policy(s)
terminates will not be affected by the Plan termination. Rights to purchase limited amounts of life and medical
insurance to replace part of the benefits lost because the policy(s) terminated may arise under the terms of the
policy(s). A subsequent Plan termination will not affect the extension of benefits and rights under the policy(s).
Your coverage under the Plan's insurance policy(s) will end on the earliest of the following dates:
  the date you leave Active Service (or later as explained in the Termination Section;)
  the date you are no longer in an eligible class;
  if the Plan is contributory, the date you cease to contribute;
  the date the policy(s) terminates.
See your Plan Administrator to determine if any extension of benefits or rights are available to you or your
Dependents under this policy(s). No extension of benefits or rights will be available solely because the Plan
terminates.
Statement of Rights
As a participant in the plan you are entitled to certain rights and protections under the Employee Retirement
Income Security Act of 1974 (ERISA). ERISA provides that all plan participants shall be entitled to:
Receive Information About Your Plan and Benefits
  examine, without charge, at the Plan Administrator's office and at other specified locations, such as worksites
  and union halls, all documents governing the plan, including insurance contracts and collective bargaining
  agreements and a copy of the latest annual report (Form 5500 Series) filed by the plan with the U.S.
  Department of Labor and available at the Public Disclosure room of the Employee Benefits Security
  Administration.
  obtain, upon written request to the Plan Administrator, copies of documents governing the Plan, including
  insurance contracts and collective bargaining agreements, and a copy of the latest annual report (Form 5500
  Series) and updated summary plan description. The administrator may make a reasonable charge for the
  copies.
  receive a summary of the Plan's annual financial report. The Plan Administrator is required by law to furnish
  each person under the Plan with a copy of this summary financial report.
Continue Group Health Plan Coverage
  continue health care coverage for yourself, your spouse or Dependents if there is a loss of coverage under the
  Plan as a result of a qualifying event. You or your Dependents may have to pay for such coverage. Review the
  documents governing the Plan on the rules governing your federal continuation coverage rights.
Prudent Actions by Plan Fiduciaries


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Federal Requirements___
                     - Continued
In addition to creating rights for plan participants, ERISA imposes duties upon the people responsible for the
operation of the employee benefit plan. The people who operate your plan, called “fiduciaries” of the Plan, have
a duty to do so prudently and in the interest of you and other plan participants and beneficiaries. No one,
including your employer, your union, or any other person may fire you or otherwise discriminate against you in
any way to prevent you from obtaining a welfare benefit or exercising your rights under ERISA. If your claim
for a welfare benefit is denied or ignored you have a right to know why this was done, to obtain copies of
documents relating to the decision without charge, and to appeal any denial, all within certain time schedules.
Enforce Your Rights
Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of
documents governing the plan or the latest annual report from the plan and do not receive them within 30 days,
you may file suit in a federal court. In such a case, the court may require the plan administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the materials were not sent
because of reasons beyond the control of the administrator. If you have a claim for benefits which is denied or
ignored, in whole or in part, you may file suit in a state or federal court.
In addition, if you disagree with the plan's decision or lack thereof concerning the qualified status of a domestic
relations order or a medical child support order, you may file suit in federal court. If it should happen that plan
fiduciaries misuse the plan's money, or if you are discriminated against for asserting your rights, you may seek
assistance from the U.S. Department of Labor, or you may file suit in a federal court. The court will decide who
should pay court costs and legal fees. If you are successful the court may order the person you have sued to pay
these costs and fees. If you lose, the court may order you to pay these costs and fees, for example if it finds your
claim is frivolous.
Assistance with Your Questions
If you have any questions about your plan, you should contact the plan administrator. If you have any questions
about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from
the plan administrator, you should contact the nearest office of the Employee Benefits Security Administration,
U.S. Department of Labor listed in your telephone directory or the Division of Technical Assistance and
Inquiries, Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue
N.W., Washington, D.C. 20210. You may also obtain certain publications about your rights and responsibilities
under ERISA by calling the publications hotline of the Employee Benefits Security Administration.

HC-FED72                                                                                                       05-15




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When You Have a Complaint or an Appeal___
■    Notice of an Appeal or a Grievance
The appeal or grievance provision in this certificate may be superseded by the law of your state. Please see your
explanation of benefits for the applicable appeal or grievance procedure.

HC-SPP4                                                                                                        04-10
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■    Appointment of Authorized Representative
You may appoint an authorized representative to assist you in submitting a claim or appealing a claim denial.
However, Cigna may require you to designate your authorized representative in writing using a form approved
by Cigna. At all times, the appointment of an authorized representative is revocable by you. To ensure that a
prior appointment remains valid, Cigna may require you to re-appoint your authorized representative, from time
to time.
Cigna reserves the right to refuse to honor the appointment of a representative if Cigna reasonably determines
that:
    the signature on an authorized representative form may not be yours, or
    the authorized representative may not have disclosed to you all of the relevant facts and circumstances relating
    to the overpayment or underpayment of any claim, including, for example, that the billing practices of the
    provider of medical services may have jeopardized your coverage through the waiver of the cost-sharing
    amounts that you are required to pay under your plan.
If your designation of an authorized representative is revoked, or Cigna does not honor your designation, you
may appoint a new authorized representative at any time, in writing, using a form approved by Cigna.

HC-AAR1                                                                                                        01-17



■    When You Have a Grievance Or An Appeal
For the purposes of this section, any reference to “you”, “your” or “Member” also refers to a representative or
provider designated by you to act on your behalf, unless otherwise noted. Your health care professional can
appeal without designation, for coverage requests required to be initiated by the health care professional and for
urgent care coverage requests. “Physician Reviewers” are licensed Physicians depending on the care, treatment
or service under review.
We want you to be completely satisfied with the care and services you receive. That is why we have established
a process for addressing your concerns and solving your problems.
Start with Customer Service
We are here to listen and help. If you have a concern regarding a person, a service, the quality of care,
contractual benefits, or a rescission of coverage, you can call our toll-free number and explain your concern to
one of our Customer Service representatives. Please call us at the Customer Service toll-free number that
appears on your benefit identification card, explanation of benefits or claim form.
We will do our best to resolve the matter on your initial contact. If we need more time to review or investigate
your concern, we will get back to you as soon as possible, but in any case within 30 days.

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When You Have a Complaint or an Appeal___
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If you are not satisfied with the results of a coverage decision, you can start the appeals procedure.
Appeals Procedure
Cigna has appeals procedures for coverage decisions based on the Medical Necessity of requested services, and
coverage decisions based on other criteria. To initiate an appeal for most claims, you must submit a request for
an appeal, within 365 days of receipt of a denial notice. If you appeal a reduction or termination in coverage for
an ongoing course of treatment that Cigna previously approved, you will receive, as required by applicable law,
continued coverage pending the outcome of an appeal. Appeals may be submitted to the following address:
      Cigna
      National Appeals Organization (NAO)
      P.O. Box 188011
      Chattanooga, TN 37422
You should state the reason why you feel your appeal should be approved and include any information
supporting your appeal. If you are unable or choose not to write, you may ask to register your appeal by
telephone. Call us at the toll-free number on your benefit identification card, explanation of benefits or claim
form.
If Cigna fails to strictly adhere to all the requirements of the internal claims and appeals process, you may
initiate an external Independent Review and/or pursue any available remedies under applicable state or federal
law, regardless of whether Cigna asserts that it substantially complied with the requirements, or that any error
Cigna committed was de minimis.
Appeals of Medical Necessity Decisions
Your appeal will be reviewed and the decision made by someone not involved in the initial decision. Appeals
involving Medical Necessity or clinical appropriateness will be considered by an appropriate clinical peer or
peers. A “clinical peer” is a Physician or other health care professional who holds a non-restricted license in a
state of the United States and in the same or similar specialty as typically manages the medical condition,
procedure or treatment under review, and for a mental health review concerning: a child or adolescent Substance
Use Disorder or a child or adolescent mental disorder, holds a national board certification or a doctoral level
psychology degree with training and clinical experience in child and adolescent Substance Use Disorder or child
and adolescent mental disorder, as applicable; for an adult Substance Use Disorder or an adult mental disorder,
holds a national board certification in psychiatry or a doctoral level psychology degree with training or clinical
experience in the treatment of adult Substance Use Disorders or adult mental disorders, as applicable.
For these appeals, we will respond in writing or by electronic means to you or your representative and the
provider of record with a decision within 30 calendar days after we receive an appeal for a required preservice or
concurrent care coverage determination (decision). We will respond within 60 calendar days after we receive an
appeal for a postservice coverage determination. These response times apply regardless of whether all of the
information necessary to make a decision accompanies your appeal filing.
If Cigna relies on any new or additional evidence or scientific or clinical rationale to make the appeal decision,
we will provide you such evidence and rationale free of charge, and sufficiently in advance of issuing a decision
to permit you a reasonable opportunity to respond prior to the date our decision is made.




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When You Have a Complaint or an Appeal___
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You may request that the appeal process be expedited if: (a) the time frames under this process would seriously
jeopardize your life, health or ability to regain maximum function or in the opinion of your Physician would
cause you severe pain which cannot be managed without the requested services; or (b) your appeal involves non-
authorization of an admission or continuing inpatient Hospital stay, or health care services after receiving
emergency services and not yet discharged from a facility or (c) you are appealing on the grounds you are a
person who has been diagnosed with a condition that creates a life expectancy in that person of less than two
years and who has been denied an otherwise covered procedure, treatment or drug on the grounds that it is
experimental.
If you request that your appeal be expedited based on (a) above, you may also ask for an expedited external
Independent Review at the same time, if the time to complete an expedited Cigna appeal would be detrimental to
your medical condition. A request for an expedited appeal made by a health care professional with knowledge of
your medical condition shall be deemed an urgent care request.
Cigna's Physician Reviewer, or your Physician, will decide if the expedited appeal criteria apply. When an
appeal is expedited, we will respond orally with a decision to you and your representative or provider within 48
hours after the required information is received or 72 hours after the appeal is received or two working days
after the required information is received if any portion of such 48 hour period falls on a weekend, followed up
in writing. For expedited appeals involving any of the following substance abuse or mental disorders, a decision
will be completed and communicated within 24 hours after the appeal is received:
  a substance use disorder, or a co-occurring mental disorder; or
  a mental disorder requiring: inpatient services; partial hospitalization; residential treatment; or intensive
  outpatient services necessary to keep a covered person from requiring an inpatient setting.
For any concurrent review of an urgent care request, coverage for the treatment shall be continued without
additional liability to you until you are notified of the review decision.
Appeals of Coverage Decisions Not Based on Medical Necessity
Your appeal will be reviewed and the decision made by someone not involved in the initial decision.
We will notify you not later than three business days after receiving your appeal that you are entitled to submit
written material for us to consider when reviewing your appeal.
In the event any new or additional information (evidence) is considered, relied upon or generated by Cigna in
connection with the appeal, Cigna will provide this information to you as soon as possible and sufficiently in
advance of the decision, so that you will have an opportunity to respond. Also, if any new or additional rationale
is considered by Cigna, Cigna will provide the rationale to you as soon as possible and sufficiently in advance of
the decision so that you will have an opportunity to respond.
We will respond in writing with a decision within 20 business days after we receive the appeal. If more time is
needed to make the appeal determination, we will notify you in writing before the determination period ends, to
extend the determination period up to 10 additional business days and to specify the reasons for the delay.
Assistance from the State of Connecticut




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When You Have a Complaint or an Appeal___
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If you are dissatisfied with the decision of Cigna's appeals review regarding Medical Necessity, clinical
appropriateness, health care setting, level of care or effectiveness, or a rescission of coverage or determination of
ineligibility for coverage, or any person who has been diagnosed with a condition that creates a life expectancy
of less than two years who has been denied an otherwise covered procedure, treatment or drug on the grounds it
is experimental, you, or your provider with your consent, may file a written appeal for review with the State of
Connecticut, within 120 days after the determination. The external review program is a voluntary program.
An Appeal made by your provider will be considered to be made on your behalf and with your consent if the
admission, service, procedure or extension of stay has not yet been provided or if the determination not to certify
creates a financial liability for you. Your provider may file any permitted appeal on your behalf with your
written consent.
External appeals must be submitted on a prescribed state form. Your submission must also include an executed
medical release form, an evidence of coverage, and evidence that the internal appeal process was exhausted.
Appeals to the State of Connecticut must be submitted to:
      Connecticut Insurance Department
      Attn: External Review
      P.O. Box 816
      Hartford, CT 06142-0816
  For overnight delivery only, please mail your application for external review to:
      Connecticut Insurance Department
      Attn: External Review
      153 Market Street, 7th Floor
      Hartford, CT 06103
Within one business day after receiving the request, the Connecticut Insurance Department (CID) must send a
copy to Cigna. Within five business days after receiving the copy, Cigna must complete a preliminary review of
whether the request is complete and eligible for external review, then notify you and the CID within one
business day after completing the preliminary review. For an Expedited Appeal to the State as described below,
the preliminary review must be complete within one calendar day and notification sent the same day. Any delay
by us to provide the documents and information within these timeframes shall not delay the conducting of the
review.
Any notification that a request is not complete or eligible for external review must specify the information
needed to perfect the request or reasons for ineligibility. You may appeal our determination of ineligibility to the
CID to request its determination of eligibility.
A request determined to be complete and eligible will be assigned by the CID within one business day (or one
calendar day, for Expedited Appeal) to an Independent Review Organization (IRO). You will be notified in
writing of the acceptance of your request for review, and have the opportunity to submit any additional
information in writing to the IRO.
The IRO will notify you, Cigna and the CID in writing of its decision to uphold, reverse, or revise the appealed
determination within the applicable timeline below.
  for standard external reviews, 45 calendar days;

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When You Have a Complaint or an Appeal___
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  for standard external reviews involving an experimental or investigational treatment or service, 20 calendar
  days;
  for expedited external reviews, 48 hours after the required information is received or 72 hours after the appeal
  is received if any portion of such 48 hour period falls on a weekend;
  for expedited external reviews involving an experimental or investigational treatment or service, five calendar
  days; and
  for expedited external reviews involving a substance abuse or mental disorder coverage determination, as
  expeditiously as the covered person's medical condition requires, but not later than 24 hours after the IRO
  receives the assignment from the commissioner to complete its review.
At the completion of the external review, the IRO will send notification of the decision directly to you. The
IRO's decision is binding. Upon receiving any decision notice that reverses an original adverse determination,
Cigna will immediately approve the coverage that was the subject of the determination.
Expedited Appeal to the State of Connecticut

You, or your provider acting on your behalf, may request an expedited appeal review with the State of
Connecticut before completing Cigna's Appeal process. The expedited external appeal review request must be
made at the time you receive an adverse determination and must meet the criteria outlined below:
  The time frame of a Cigna expedited Medical Necessity determination would seriously jeopardize your life or
  health or ability to regain maximum function; or
  Coverage was denied on the basis that the service or treatment is experimental or investigational and your
  treating health care professional certifies in writing that the service would be significantly less effective if not
  promptly started, and the person filed a request for an expedited internal review of an adverse determination;
  or
  An appeal determination concerns an admission, availability of care, continued stay, or health care service for
  which the covered person received emergency services but has not been discharged from a facility.
You or your provider must file all necessary documentation on a prescribed state form for an expedited external
appeal review.
The Connecticut Insurance Commissioner will immediately assign qualified expedited external appeal review
requests to an Independent Review Organization (IRO). The IRO will conduct a preliminary review of the
appeal and accept the appeal for expedited review within one calendar day after receipt of the appeal. The IRO
will immediately notify you or your provider in writing as to whether your appeal has been accepted for full
review and if not accepted, the reasons why the appeal was not accepted for full review.
The IRO will complete its full review not later than 48 hours after the required information is received or 72
hours after the appeal is received if any portion of such 48 hour period falls on a weekend (or not later than five
calendar days for a review of experimental or investigational services). For expedited reviews of requests for
services and treatment for mental and substance abuse disorders, the IRO will complete its full review within 24
hours. The IRO will send notification of the decision directly to you, and forward its decision and its report of
the full review to the Connecticut Insurance Commissioner. The external review entity may request from the
Commissioner an extension of time to complete its review due to circumstances beyond its control. If the
extension is granted, the IRO will provide written notice to you or your provider of the delay.
Please Note: An expedited external appeal review is not available for a health care service that has already been
provided. If a request for an expedited external appeal review is denied, you or your provider may submit a
standard external appeal review request as described in the section Assistance from the State of Connecticut.



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When You Have a Complaint or an Appeal___
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Notice of Benefit Determination on Appeal
Every notice of a determination on appeal will be provided in writing or electronically and, if an adverse
determination, will include: information sufficient to identify the claim, the date of service, if applicable, the
health care professional and the claim amount; the specific reason or reasons for the adverse determination,
including any applicable Medical Necessity denial code and its corresponding meaning, and our reviewer's
understanding of the appeal; a description of our decision in clear terms, and reference to the specific plan
provisions and/or scientific or clinical rationale on which the determination is based; a statement that the
claimant is entitled to receive, upon request and free of charge, reasonable access to and copies of all documents,
records, and other Relevant Information as defined; a statement describing the procedures to initiate the next
level of appeal, any voluntary appeal procedures offered by the plan; and the claimant's right to bring an action
under ERISA section 502(a); upon request and free of charge, a copy of any internal rule, guideline, protocol or
other similar criterion that was relied upon in making the adverse determination regarding your appeal, and an
explanation of the scientific or clinical judgment for a determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; if our own criteria is used for a substance abuse or
mental disorder coverage review, a link to our website documentation regarding that substance abuse or mental
disorder criteria; the titles and qualifying credentials of the individuals participating in the review process; and
information about the Office of the Healthcare Advocate and health insurance consumer assistance available to
assist you in the appeal process. A final notice of adverse determination will include a discussion of the
decision.
You also have the right to bring a civil action under section 502(a) of ERISA if you are not satisfied with the
appeal decision. You or your plan may have other voluntary alternative dispute resolution options such as
Mediation. One way to find out what may be available is to contact your local U.S. Department of Labor office
and your state insurance regulatory agency. You may also contact the Plan Administrator.
Contacting the State of Connecticut
In addition to the procedures described above, you have the right to contact the Connecticut Insurance
Department and Office of the Healthcare Advocate at any time.
      State of Connecticut
      Insurance Department, Consumer Affairs Unit
      P.O. Box 816
      Hartford, CT 06142-0816
      Phone: (860) 297-3900, 1-800-203-3447
      Fax: (860) 297-3872
      E-mail: cid.ca@ct.gov
      Office of the Healthcare Advocate
      P.O.Box 1543
      Hartford, CT 06144
      Phone: Toll Free at: 1-866-HMO-4446
      Fax: (860) 297-3992
      E-mail: Healthcare.advocate@ct.gov
Relevant Information

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When You Have a Complaint or an Appeal___
                                      - Continued
Relevant Information is any document, record, or other information which: was relied upon in making the
benefit determination; was submitted, considered, or generated in the course of making the benefit
determination, without regard to whether such document, record, or other information was relied upon in
making the benefit determination; demonstrates compliance with the administrative processes and safeguards
required by federal law in making the benefit determination; or constitutes a statement of policy or guidance
with respect to the plan concerning the denied treatment option or benefit or the claimant's diagnosis, without
regard to whether such advice or statement was relied upon in making the benefit determination.
Legal Action
If your plan is governed by ERISA, you have the right to bring a civil action under section 502(a) of ERISA if
you are not satisfied with the outcome of the Appeals Procedure. However, a court may require you to complete
the Appeals Procedure before proceeding with such a civil action. However, no action will be brought at all
unless brought within three years after a claim is submitted for In-Network Services or for Out-of-Network
Services.

HC-APL436                                                                                                    01-22




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Definitions___

Active Service
You will be considered in Active Service:
  on any of your Employer's scheduled work days if you are performing the regular duties of your work on a
  full-time basis on that day either at your Employer's place of business or at some location to which you are
  required to travel for your Employer's business.
  on a day which is not one of your Employer's scheduled work days if you were in Active Service on the
  preceding scheduled work day.

HC-DFS1095                                                                                                    12-17



Alcohol or Drug Abuse Treatment Center
The term Alcohol or Drug Abuse Treatment Center means a licensed institution or that part or unit of a Hospital
which specializes in treatment of either alcohol or drug abuse, but only if that institution or unit:
  maintains on its premises all facilities needed for the treatment of either alcohol or drug abuse;
  provides such treatment for compensation under the supervision of Physicians; and
  provides Nurses' services.

HC-DFS77                                                                                                      04-10
                                                                                                                 V1



Ambulance
Licensed ambulance transportation services involve the use of specially designed and equipped vehicles for
transporting ill or injured patients. It includes ground, air, or sea transportation when Medically Necessary and
clinically appropriate.

HC-DFS1406                                                                                                    01-20



Ancillary Charge
An additional cost, outside of plan cost sharing detailed in The Schedule of Prescription Drug Benefits, which
may apply to some Prescription Drug Products when you request a more expensive Brand Drug when a lower
cost, Therapeutic Equivalent, Generic Drug is available. The Ancillary Charge is the amount by which the cost
of the requested Brand Drug exceeds the cost of the Generic Drug.

HC-DFS1562                                                                                                    01-21



Biologic




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Definitions___
            - Continued
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product,
protein (except any chemically synthesized polypeptide), or analogous product, or arsphenamine or derivative of
arsphenamine (or any other trivalent organic arsenic compound), used for the prevention, treatment, or cure of a
disease or condition of human beings, as defined under Section 351(i) of the Public Health Service Act (42 USC
262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

HC-DFS840                                                                                                     10-16



Biosimilar
A Biologic that is highly similar to the reference Biologic product notwithstanding minor differences in
clinically inactive components, and has no clinically meaningful differences from the reference Biologic in
terms of its safety, purity, and potency, as defined under Section 351(i) of the Public Health Service Act (42
USC 262(i)) (as amended by the Biologics Price Competition and Innovation Act of 2009, title VII of the Patient
Protection and Affordable Care Act, Pub. L. No. 111-148, Section 7002 (2010), and as may be amended
thereafter).

HC-DFS841                                                                                                     10-16



Brand Drug
A Prescription Drug Product that Cigna identifies as a Brand Drug product across its book-of-business,
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics as either brand or generic based on a number
of factors. Not all products identified as a “brand name” by the manufacturer, Pharmacy, or your Physician may
be classified as a Brand Drug under the plan.

HC-DFS842                                                                                                     10-16



Business Decision Team
A committee comprised of voting and non-voting representatives across various Cigna business units such as
clinical, medical and business leadership that is duly authorized by Cigna to effect changes regarding coverage
treatment of Prescription Drug Products and Medical Pharmaceuticals based on clinical findings provided by the
P&T Committee, including, but not limited to, changes regarding tier placement and application of utilization
management to Prescription Drug Products and Medical Pharmaceuticals.

HC-DFS1563                                                                                                    10-21



Charges



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Definitions___
            - Continued
The term charges means the actual billed charges; except when Cigna has contracted directly or indirectly for a
different amount including where Cigna has directly or indirectly contracted with an entity to arrange for the
provision of services and/or supplies through contracts with providers of such services and/or supplies.

HC-DFS1193                                                                                                        01-19



Chiropractic Care
The term Chiropractic Care means the conservative management of acute neuromusculoskeletal conditions
through manipulation and ancillary physiological treatment rendered to specific joints to restore motion, reduce
pain and improve function.

HC-DFS1657                                                                                                        01-22



Convenience Care Clinics
Convenience Care Clinics are staffed by nurse practitioners and physician assistants and offer customers
convenient, professional walk-in care for common ailments and routine services. Convenience Care Clinics have
extended hours and are located in or near easy-to-access, popular locations (pharmacies, grocery and free-
standing locations) with or without appointment.

HC-DFS1643                                                                                                        01-22



Custodial Services
Any services that are of a sheltering, protective, or safeguarding nature. Such services may include a stay in an
institutional setting, at-home care, or nursing services to care for someone because of age or mental or physical
condition. This service primarily helps the person in daily living. Custodial care also can provide medical
services, given mainly to maintain the person's current state of health. These services cannot be intended to
greatly improve a medical condition; they are intended to provide care while the patient cannot care for himself
or herself. Custodial Services include but are not limited to:
  Services related to watching or protecting a person;
  Services related to performing or assisting a person in performing any activities of daily living, such as:
  walking, grooming, bathing, dressing, getting in or out of bed, toileting, eating, preparing foods, or taking
  medications that can be self administered; and
  Services not required to be performed by trained or skilled medical or paramedical personnel.

HC-DFS4                                                                                                           04-10
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Dependent
Dependents are:
  your lawful spouse; or

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Definitions___
            - Continued
  your Domestic Partner; and
  any child of yours who is
  - less than 26 years old.
  - 26 or more years old, unmarried, and primarily supported by you and incapable of self-sustaining
    employment by reason of mental or physical disability which arose while the child was covered as a
    Dependent under this Plan, or while covered as a dependent under a prior plan with no break in coverage.
  Proof of the child's condition and dependence may be required to be submitted to the plan within 31 days
  after the date the child ceases to qualify above. From time to time, but not more frequently than once a year,
  the plan may require proof of the continuation of such condition and dependence.
The term child means a child born to you or a child legally adopted by you including that child from the date of
placement in your home if the child is dependent on you for support and maintenance. It also includes a
stepchild. If your Domestic Partner has a child, that child will also be included as a Dependent.

Benefits for a Dependent child or student will continue until the next policy anniversary date after the limiting
age is reached.
A child under age 26 may be covered as either an Employee or as a Dependent child. A child cannot be covered
as an Employee while also covered as the Dependent of an Employee.
No one may be considered as a Dependent of more than one Employee.
Federal rights may not be available to Civil Union partners or Dependents.
Connecticut law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to health
insurance that are available to married persons of the opposite sex under federal law may not be available to
parties to a civil union.

HC-DFS1673                                                                                                     01-22



Designated Pharmacy
A Network Pharmacy that has entered into an agreement with Cigna, or with an entity contracting on Cigna's
behalf, to provide Prescription Drug Products or services, including, without limitation, specific Prescription
Drug Products, to plan enrollees on a preferred or exclusive basis. For example, a Designated Pharmacy may
provide enrollees certain Specialty Prescription Drug Products that have limited distribution availability, provide
enrollees with an extended days' supply of Prescription Drug Products or provide enrollees with Prescription
Drug Products on a preferred cost share basis. A Pharmacy that is a Network Pharmacy is not necessarily a
Designated Pharmacy.

HC-DFS1564                                                                                                     01-21



Domestic Partner
A Domestic Partner is defined as a person of the same or opposite sex who:
  shares your permanent residence;

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  has resided with you for no less than one year;
  is no less than 18 years of age;
  is financially interdependent with you and has proven such interdependence by providing documentation of at
  least two of the following arrangements: common ownership of real property or a common leasehold interest
  in such property; community ownership of a motor vehicle; a joint bank account or a joint credit account;
  designation as a beneficiary for life insurance or retirement benefits or under your partner's will; assignment of
  a durable power of attorney or health care power of attorney; or such other proof as is considered by Cigna to
  be sufficient to establish financial interdependency under the circumstances of your particular case;
  is not a blood relative any closer than would prohibit legal marriage; and
  has signed jointly with you, a notarized affidavit attesting to the above which can be made available to Cigna
  upon request.
In addition, you and your Domestic Partner will be considered to have met the terms of this definition as long as
neither you nor your Domestic Partner:
  has signed a Domestic Partner affidavit or declaration with any other person within twelve months prior to
  designating each other as Domestic Partners hereunder;
  is currently legally married to another person; or
  has any other Domestic Partner, spouse or spouse equivalent of the same or opposite sex.
You and your Domestic Partner must have registered as Domestic Partners, if you reside in a state that provides
for such registration.
The section of this certificate entitled “COBRA Continuation Rights Under Federal Law” will not apply to your
Domestic Partner and his or her Dependents.

HC-DFS47                                                                                                      04-10
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Emergency Medical Condition
Emergency medical condition means a medical condition which manifests itself by acute symptoms of sufficient
severity (including severe pain) such that a prudent layperson, who possesses an average knowledge of health
and medicine, could reasonably expect the absence of immediate medical attention to result in placing the health
of the individual (or, with respect to a pregnant woman, the health of the woman or her unborn child) in serious
jeopardy; serious impairment to bodily functions; or serious dysfunction of any bodily organ or part.
The presenting symptoms, as coded by the provider and recorded by the Hospital on the UB92 form (or its
successor), or the final diagnosis - whichever reasonably indicates an emergency medical condition - will be the
basis for reimbursement of coverage, provided such symptoms reasonably indicated an emergency medical
condition.

HC-DFS394                                                                                                      11-10
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Emergency Services




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Definitions___
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Emergency services means, with respect to an emergency medical condition, a medical screening examination
that is within the capability of the emergency department of a Hospital or of an independent freestanding
emergency facility, including ancillary services routinely available to the emergency department to evaluate the
emergency medical condition; and such further medical examination and treatment, to the extent they are within
the capabilities of the staff and facilities available at the Hospital, to stabilize the patient.

HC-DFS1697                                                                                                     01-22



Employee
The term Employee means a full-time employee of the Employer who is currently in Active Service. The term
does not include employees who are part-time, temporary or seasonal or who normally work less than 30.0 hours
a week for the Employer.

HC-DFS1094                                                                                                     12-17



Employer
The term Employer means the policyholder and those affiliated Employers whose Employees are covered
under this Policy.

HC-DFS1566                                                                                                     01-21



Essential Health Benefits
Essential health benefits means, to the extent covered under the plan, expenses incurred with respect to covered
services, in at least the following categories: ambulatory patient services, emergency services, hospitalization,
maternity and newborn care, mental health and substance use disorder services, including behavioral health
treatment, prescription drugs, rehabilitative and habilitative services and devices, laboratory services, preventive
and wellness services and chronic disease management and pediatric services, including oral and vision care.

HC-DFS411                                                                                                      01-11



Expense Incurred
An expense is incurred when the service or the supply for which it is incurred is provided.

HC-DFS10                                                                                                       04-10
                                                                                                                 V1



Free-Standing Surgical Facility
The term Free-Standing Surgical Facility means an institution which meets all of the following requirements:

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  it has a medical staff of Physicians, Nurses and licensed anesthesiologists;
  it maintains at least two operating rooms and one recovery room;
  it maintains diagnostic laboratory and x-ray facilities;
  it has equipment for emergency care;
  it has a blood supply;
  it maintains medical records;
  it has agreements with Hospitals for immediate acceptance of patients who need Hospital Confinement on an
  inpatient basis; and
  it is licensed in accordance with the laws of the appropriate legally authorized agency.
A Free-Standing Surgical Facility, unless specifically noted otherwise, is covered with the same cost share as an
Outpatient Facility.

HC-DFS1407                                                                                                     01-20



Generic Drug
A Prescription Drug Product that Cigna identifies as a Generic Drug product at a book-of-business level
principally based on available data resources, including, but not limited to, First DataBank or another nationally
recognized drug indicator source, that classify drugs or Biologics (including Biosimilars) as either brand or
generic based on a number of factors. Not all products identified as a “generic” by the manufacturer, Pharmacy
or your Physician may be classified as a Generic Drug under the plan. A Biosimilar may be classified as a
Generic Drug for the purposes of benefits under the plan even if it is identified as a “brand name” drug by the
manufacturer, Pharmacy or your Physician.

HC-DFS846                                                                                                      10-16



Hospice Care Program
The term Hospice Care Program means:
  a coordinated, interdisciplinary program to meet the physical, psychological, spiritual and social needs of
  dying persons and their families;
  a program that provides palliative and supportive medical, nursing and other health services through home or
  inpatient care during the illness;
  a program for persons who have a Terminal Illness and for the families of those persons.

HC-DFS51                                                                                                       04-10
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Hospice Care Services
The term Hospice Care Services means any services provided by: a Hospital, a Skilled Nursing Facility or a
similar institution, a Home Health Care Agency, a Hospice Facility, or any other licensed facility or agency
under a Hospice Care Program.




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Definitions___
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HC-DFS52                                                                                                        04-10
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Hospice Facility
The term Hospice Facility means an institution or part of it which:
  primarily provides care for Terminally Ill patients;
  is accredited by the National Hospice Organization;
  meets standards established by Cigna; and
  fulfills any licensing requirements of the state or locality in which it operates.

HC-DFS53                                                                                                        04-10
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Hospital
The term Hospital means:
  an institution licensed as a hospital, which: maintains, on the premises, all facilities necessary for medical and
  surgical treatment; provides such treatment on an inpatient basis, for compensation, under the supervision of
  Physicians; and provides 24-hour service by Registered Graduate Nurses;
  an institution which qualifies as a hospital, a psychiatric hospital or a tuberculosis hospital, and a provider of
  services under Medicare, if such institution is accredited as a hospital by the Joint Commission on the
  Accreditation of Healthcare Organizations; or
  an institution which: specializes in treatment of Mental Health and and Substance Use Disorder or other
  related illness; provides residential treatment programs; and is licensed in accordance with the laws of the
  appropriate legally authorized agency; or
  a Substance Use Disorder Treatment Center which is a licensed institution or that part of a Substance Use
  Disorder Hospital which specializes in treatment of Substance Use Disorder, but only if that institution or unit:
  - maintains on its premises all facilities needed for the treatment of Substance Use Disorder;
  - provides such treatment for compensation under the supervision of Physicians; and
  - provides Nurses' services.
The term Hospital does not include an institution which is primarily a place for rest, a place for the aged, or a
nursing home.

HC-DFS1445                                                                                                      02-20



Hospital Confinement or Confined in a Hospital
A person will be considered Confined in a Hospital if he is:
  a registered bed patient in a Hospital upon the recommendation of a Physician;
  receiving treatment for Mental Health and Substance Use Disorder Services in a Mental Health or Substance
  Use Disorder Residential Treatment Center.

HC-DFS807                                                                                                       12-15



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Definitions___
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Injury
The term Injury means an accidental bodily injury.

HC-DFS12                                                                                                       04-10
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Maintenance Treatment
The term Maintenance Treatment means:
  treatment rendered to keep or maintain the patient's current status.

HC-DFS56                                                                                                       04-10
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Maintenance Drug Product
A Prescription Drug Product that is prescribed for use over an extended period of time for the treatment of
chronic or long-term conditions such as asthma, hypertension, diabetes and heart disease, and is identified
principally based on consideration of available data resources, including, but not limited to, First DataBank or
another nationally recognized drug indicator source and clinical factors. For the purposes of benefits, the list of
your plan's Maintenance Drug Products does not include compounded medications, Specialty Prescription Drug
Products or Prescription Drug Products, such as certain narcotics that a Pharmacy cannot dispense above certain
supply limits per Prescription Drug Order or Refill under applicable federal or state law. You may determine
whether a drug is a Maintenance Medication by calling member services at the telephone number on your ID
card.

HC-DFS847                                                                                                      10-16



Maximum Reimbursable Charge - Medical
The Maximum Reimbursable Charge for covered services is determined based on the lesser of:
  the provider's normal charge for a similar service or supply; or
  the amount agreed to by the Out-of-Network provider and Cigna; or
  a policyholder-selectedpercentile of charges made by providers of such service or supply in the geographic
  area where it is received as compiled in a database selected by Cigna.
The percentile used to determine the Maximum Reimbursable Charge is listed in The Schedule.
The Maximum Reimbursable Charge is subject to all other benefit limitations and applicable coding and
payment methodologies determined by Cigna. Additional information about how Cigna determines the
Maximum Reimbursable Charge is available upon request.

HC-DFS1674                                                                                                     01-22



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Definitions___
            - Continued

Medicaid
The term Medicaid means a state program of medical aid for needy persons established under Title XIX of the
Social Security Act of 1965 as amended.

HC-DFS16                                                                                                      04-10
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Medically Necessary/Medical Necessity
Health care services, supplies and medications provided for the purpose of preventing, evaluating, diagnosing or
treating a Sickness, Injury, condition, disease or its symptoms, that are all of the following as determined by a
Medical Director or Review Organization:
  required to diagnose or treat an illness, Injury, disease or its symptoms;
  in accordance with generally accepted standards of medical practice;
  clinically appropriate in terms of type, frequency, extent, site and duration;
  not primarily for the convenience of the patient, Physician or Other Health Professional;
  not more costly than an alternative service(s), medication(s) or supply(ies) that is at least as likely to produce
  equivalent therapeutic or diagnostic results with the same safety profile as to the prevention, evaluation,
  diagnosis or treatment of your Sickness, Injury, condition, disease or its symptoms; and
  rendered in the least intensive setting that is appropriate for the delivery of the services, supplies or
  medications. Where applicable, the Medical Director or Review Organization may compare the cost-
  effectiveness of alternative services, supplies, medications or settings when determining least intensive setting.
In determining whether health care services, supplies, or medications are Medically Necessary, the Medical
Director or Review Organization may rely on the clinical coverage policies maintained by Cigna or the Review
Organization. Clinical coverage policies may incorporate, without limitation and as applicable, criteria relating
to U.S. Food and Drug Administration-approved labeling, the standard medical reference compendia and peer-
reviewed, evidence-based scientific literature or guidelines.

HC-DFS1411                                                                                                    01-20



Medical Pharmaceutical
An FDA-approved prescription pharmaceutical product, including a Specialty Prescription Drug Product,
typically required to be administered in connection with a covered service by a Physician or Other Health
Professional within the scope of the provider's license. This definition includes certain pharmaceutical products
whose administration may initially or typically require Physician or Other Health Professional oversight but may
be self-administered under certain conditions specified in the product's FDA labeling.

HC-DFS1644                                                                                                    01-23



Medicare



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Definitions___
            - Continued
The term Medicare means the program of medical care benefits provided under Title XVIII of the Social
Security Act of 1965 as amended.

HC-DFS17                                                                                                        04-10
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Necessary Services and Supplies
The term Necessary Services and Supplies includes any charges, except charges for Room and Board, made by a
Hospital for medical services and supplies actually used during Hospital Confinement.
The term Necessary Services and Supplies will not include any charges for special nursing fees, dental fees or
medical fees.

HC-DFS1409                                                                                                      01-20



Network Pharmacy
A retail or home delivery Pharmacy that has:
  entered into an agreement with Cigna or an entity contracting on Cigna's behalf to provide Prescription Drug
  Products to plan enrollees.
  agreed to accept specified reimbursement rates for dispensing Prescription Drug Products.
  been designated as a Network Pharmacy for the purposes of coverage under your Employer's plan.
This term may also include, as applicable, an entity that has directly or indirectly contracted with Cigna to
arrange for the provision of any Prescription Drug Products the charges for which are Covered Expenses.

HC-DFS1198                                                                                                      01-19



New Prescription Drug Product
A Prescription Drug Product, or new use or dosage form of a previously FDA-approved Prescription Drug
Product, for the period of time starting on the date the Prescription Drug Product or newly-approved use or
dosage form becomes available on the market following approval by the U.S. Food and Drug Administration
(FDA) and ending on the date Cigna makes a Prescription Drug List coverage status decision.

HC-DFS1568                                                                                                      01-21



Nurse
The term Nurse means a Registered Graduate Nurse, a Licensed Practical Nurse or a Licensed Vocational Nurse
who has the right to use the abbreviation “R.N.,” “L.P.N.” or “L.V.N.”




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Definitions___
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HC-DFS22                                                                                                            04-10
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Other Health Care Facility
The term Other Health Care Facility means a facility other than a Hospital or Hospice Facility. Examples of
Other Health Care Facilities include, but are not limited to, licensed skilled nursing facilities, rehabilitation
Hospitals and subacute facilities.

HC-DFS1412                                                                                                          01-20



Other Health Professional

The term Other Health Professional means an individual other than a Physician who is licensed or otherwise
authorized under the applicable state law to deliver medical services and supplies. Other Health Professionals
include, but are not limited to physical therapists, registered nurses and licensed practical nurses. Other Health
Professionals do not include providers such as Certified First Assistants, Certified Operating Room Technicians,
Certified Surgical Assistants/Technicians, Licensed Certified Surgical Assistants/Technicians, Licensed Surgical
Assistants, Orthopedic Physician Assistants and Surgical First Assistants.

HC-DFS1413                                                                                                          01-20



Participating Provider
The term Participating Provider means a person or entity that has a direct or indirect contractual arrangement
with Cigna to provide covered services and/or supplies, the Charges for which are Covered Expenses. It includes
an entity that has directly or indirectly contracted with Cigna to arrange, through contracts with providers of
services and/or supplies, for the provision of any services and/or supplies, the Charges for which are Covered
Expenses.

HC-DFS1194                                                                                                          01-19



Patient Protection and Affordable Care Act of 2010 (“PPACA”)
Patient Protection and Affordable Care Act of 2010 means the Patient Protection and Affordable Care Act of
2010 (Public Law 111-148) as amended by the Health Care and Education Reconciliation Act of 2010 (Public
Law 111-152).

HC-DFS412                                                                                                           01-11



Pharmacy




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Definitions___
            - Continued
A duly licensed Pharmacy that dispenses Prescription Drug Products in a retail setting or via home delivery. A
home delivery Pharmacy is a Pharmacy that primarily provides Prescription Drug Products through mail order.

HC-DFS851                                                                                                   10-16



Pharmacy & Therapeutics (P&T) Committee
A committee comprised of Physicians and an independent pharmacist that represent a range of clinical
specialties. The committee regularly reviews Medical Pharmaceuticals or Prescription Drug Products, including
New Prescription Drug Products, for safety and efficacy, the findings of which clinical reviews inform coverage
determinations made by the Business Decision Team. The P&T Committee's review may be based on
consideration of, without limitation, U.S. Food and Drug Administration-approved labeling, standard medical
reference compendia, or scientific studies published in peer-reviewed English-language bio-medical journals.

HC-DFS1570                                                                                                  01-21



Physician
The term Physician means a licensed medical practitioner who is practicing within the scope of his license and
who is licensed to prescribe and administer drugs or to perform surgery. It will also include:
  any other licensed medical practitioner, or licensed psychologist whose services are required to be covered by
  law in the locality where the policy is issued if he is operating within the scope of his license; and
  a person with a master's degree in social work whose services are received in a child guidance clinic under the
  supervision of a Physician;
And for the treatment of Mental Illness:
  a Licensed Clinical Social Worker who has passed the clinical examination of the American Association of
  State Social Work Boards and who has completed at least 2000 hours of post-masters social work experience
  in a non-profit, tax-exempt agency; or institution licensed by the public Department of Health;
  a social worker licensed as an independent under law prior to October 1, 1990;
  a licensed marital and family therapist who has completed at least 2000 hours of post-masters marriage and
  family therapy work experience in a non-profit tax-exempt agency; municipal, state or federal agency; or
  institution licensed by the public Department of Health;
  a licensed marital and family therapist certified prior to October 1, 1992;
  a licensed alcohol and drug counselor, or a certified alcohol and drug counselor;
  a licensed professional counselor;
if they are performing a service for which benefits are provided under this plan when performed by a Physician.

HC-DFS81                                                                                                    04-10
                                                                                                              V1



Prescription Drug Charge




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Definitions___
            - Continued
The Prescription Drug Charge is the amount that, prior to application of the plan's cost-share requirement(s), is
payable by Cigna to its Pharmacy Benefit Manager for a specific covered Prescription Drug Product dispensed
at a Network Pharmacy, including any applicable dispensing fee and tax. The “Pharmacy Benefit Manager” is
the business unit, affiliate, or other entity that manages the Prescription Drug Benefit for Cigna.

HC-DFS1191                                                                                                    01-19



Prescription Drug List

A list that categorizes drugs, Biologics (including Biosimilars) or other products covered under the plan's
Prescription Drug Benefits that have been approved by the U.S. Food and Drug Administration (FDA) into
coverage tiers. This list is adopted by your Employer as part of the plan. The list is subject to periodic review
and change, and is subject to the limitations and exclusions of the plan. You may determine to which tier a
particular Prescription Drug Product has been assigned through the website shown on your ID card or by calling
customer service at the telephone number on your ID card.

HC-DFS1571                                                                                                    01-21



Prescription Drug Product
A drug, Biologic (including a Biosimilar), or other product that has been approved by the U.S. Food and Drug
Administration (FDA), certain products approved under the Drug Efficacy Study Implementation review, or
products marketed prior to 1938 and not subject to review and that can, under federal or state law, be dispensed
only pursuant to a Prescription Order or Refill. For the purpose of benefits under the plan, this definition may
also include products in the following categories if specifically identified on the Prescription Drug List:
  Certain durable products and supplies that support drug therapy;
  Certain diagnostic testing and screening services that support drug therapy;
  Certain medication consultation and other medication administration services that support drug therapy;
  Certain digital products, applications, electronic devices, software and cloud-based service solutions used to
  predict, detect and monitor health conditions in support of drug therapy.

HC-DFS1645                                                                                                    01-22



Prescription Order or Refill
The lawful directive to dispense a Prescription Drug Product issued by a Physician whose scope of practice
permits issuing such a directive.

HC-DFS856                                                                                                     10-16



Preventive Care Medications




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Definitions___
            - Continued
The Prescription Drug Products or other medications (including over-the-counter medications) designated as
payable by the plan at 100% of the cost (without application of any Deductible, Copayment or Coinsurance) as
required by applicable law under any of the following:
  Evidence-based items or services that have in effect a rating of “A” or “B” in the current recommendations of
  the United States Preventive Services Task Force.
  With respect to infants, children and adolescents, evidence-informed preventive care and screenings provided
  for in the comprehensive guidelines supported by the Health Resources and Services Administration.
  With respect to women, such additional preventive care and screenings as provided for in comprehensive
  guidelines supported by the Health Resources and Services Administration.
A written prescription is required to process a claim for a Preventive Care Medication. You may determine
whether a drug is a Preventive Care Medication through the internet website shown on your ID card or by
calling member services at the telephone number on your ID card.

HC-DFS857                                                                                                   10-16



Preventive Treatment
The term Preventive Treatment means treatment rendered to prevent disease or its recurrence.

HC-DFS57                                                                                                    04-10
                                                                                                              V1



Primary Care Physician
The term Primary Care Physician means a Physician who qualifies as a Participating Provider in general
practice, internal medicine, family practice OB/GYN or pediatrics; and who has been voluntarily selected by
you and is contracted as a Primary Care Physician with, as authorized by Cigna, to provide or arrange for
medical care for you or any of your insured Dependents.

HC-DFS40                                                                                                    04-10
                                                                                                              V1



Psychologist

The term Psychologist means a person who is licensed or certified as a clinical psychologist. Where no licensure
or certification exists, the term Psychologist means a person who is considered qualified as a clinical
psychologist by a recognized psychological association. It will also include any other licensed counseling
practitioner whose services are required to be covered by law in the locality where the policy is issued if he is
operating within the scope of his license and performing a service for which benefits are provided under this
plan when performed by a Psychologist.

HC-DFS26                                                                                                    04-10
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Definitions___
            - Continued

Review Organization
The term Review Organization refers to an affiliate of Cigna or another entity to which Cigna has delegated
responsibility for performing utilization review services. The Review Organization is an organization with a
staff of clinicians which may include Physicians, Registered Graduate Nurses, licensed mental health and
substance use disorder professionals, and other trained staff members who perform utilization review services.

HC-DFS808                                                                                                       12-15



Room and Board
The term Room and Board includes all charges made by a Hospital for room and meals and for all general
services and activities needed for the care of registered bed patients.

HC-DFS1408                                                                                                      01-20



Sickness - For Medical Insurance
The term Sickness means a physical or mental illness. It also includes pregnancy. Expenses incurred for routine
Hospital and pediatric care of a newborn child prior to discharge from the Hospital nursery will be considered to
be incurred as a result of Sickness.

HC-DFS50                                                                                                        04-10
                                                                                                                  V1



Skilled Nursing Facility
The term Skilled Nursing Facility means a licensed institution (other than a Hospital, as defined) which
specializes in:
  physical rehabilitation on an inpatient basis; or
  skilled nursing and medical care on an inpatient basis;
but only if that institution: maintains on the premises all facilities necessary for medical treatment; provides such
treatment, for compensation, under the supervision of Physicians; and provides Nurses' services.

HC-DFS31                                                                                                        04-10
                                                                                                                  V1



Specialist
The term Specialist means a Physician who provides specialized services, and is not engaged in general practice,
family practice, internal medicine, obstetrics/gynecology or pediatrics.



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Definitions___
            - Continued
HC-DFS33                                                                                                     04-10
                                                                                                               V1



Specialty Prescription Drug Product
A Prescription Drug Product or Medical Pharmaceutical considered by Cigna to be a Specialty Prescription
Drug Product based on consideration of the following factors, subject to applicable law: whether the
Prescription Drug Product or Medical Pharmaceutical is prescribed and used for the treatment of a complex,
chronic or rare condition; whether the Prescription Drug Product or Medical Pharmaceutical has a high
acquisition cost; and, whether the Prescription Drug Product or Medical Pharmaceutical is subject to limited or
restricted distribution, requires special handling and/or requires enhanced patient education, provider
coordination or clinical oversight. A Specialty Prescription Drug Product may not possess all or most of the
foregoing characteristics, and the presence of any one such characteristic does not guarantee that a Prescription
Drug Product or Medical Pharmaceutical will be considered a Specialty Prescription Drug Product. Specialty
Prescription Drug Products may vary by plan benefit assignment based on factors such as method or site of
clinical administration, or by tier assignment or utilization management requirements based on factors such as
acquisition cost. You may determine whether a medication is a Specialty Prescription Drug Product through the
website shown on your ID card or by calling member services at the telephone number on your ID card.

HC-DFS858                                                                                                    10-16



Stabilize
Stabilize means, with respect to an emergency medical condition, to provide such medical treatment of the
condition as may be necessary to assure, within reasonable medical probability that no material deterioration of
the condition is likely to result from or occur during the transfer of the individual from a facility.

HC-DFS413                                                                                                    01-11



Terminal Illness
A Terminal Illness will be considered to exist if a person becomes terminally ill with a prognosis of six months
or less to live, as diagnosed by a Physician.

HC-DFS54                                                                                                     04-10
                                                                                                               V1



Therapeutic Alternative
A Prescription Drug Product or Medical Pharmaceutical that is of the same therapeutic or pharmacological class,
and usually can be expected to have similar outcomes and adverse reaction profiles when administered in
therapeutically equivalent doses as, another Prescription Drug Product, Medical Pharmaceutical or over-the-
counter medication.



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Definitions___
            - Continued
HC-DFS859                                                                                                     10-16



Therapeutic Equivalent
A Prescription Drug Product or Medical Pharmaceutical that is a pharmaceutical equivalent to another
Prescription Drug Product, Medical Pharmaceutical or over-the-counter medication.

HC-DFS860                                                                                                     10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health care services and testing which are not Emergency
Services, but which are determined by Cigna, in accordance with generally accepted medical standards, to have
been necessary to treat a condition requiring prompt medical attention. This does not include care that could
have been foreseen before leaving the immediate area where you ordinarily receive and/or were scheduled to
receive services. Such care includes, but is not limited to, dialysis, scheduled medical treatments or therapy, or
care received after a Physician's recommendation that the insured should not travel due to any medical
condition.

HC-DFS34                                                                                                      04-10
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Usual and Customary (U&C) Charge
The usual fee that a Pharmacy charges individuals for a Prescription Drug Product (and any services related to
the dispensing thereof) without reference to reimbursement to the Pharmacy by third parties. The Usual and
Customary (U&C) Charge includes a dispensing fee and any applicable sales tax.

HC-DFS861                                                                                                     10-16




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HEALTH SAVINGS ACCOUNT (HSA)___

The Medical Plan is a high deductible health plan (HDHP) as defined by the HSA law (Tax Code Sec. 223).
While you are enrolled in the Medical Plan, you may be eligible to contribute to a Health Savings Account
(HSA).
Please note that you are not eligible for an HSA if you are enrolled under Medicare, can be claimed as a tax
dependent on another person's tax return or are covered by another health plan that is not a high deductible
health plan.
A Health Savings Account is a tax-advantaged account for individuals covered under a high deductible health
plan. Funds in the account may be used to pay for qualified medical expenses. These are expenses for “medical
care” as determined by the IRS that are paid by you, your spouse or your tax dependents which are not paid or
payable by any health plan coverage. The expenses must be incurred after you have opened an HSA.

“Qualified medical expenses” are determined by IRS guidelines. Information about examples of qualified
medical expenses is available through the website on your health coverage ID card, HSA Plan Administrator or
the IRS. A list of qualified health care expenses is available through www.myCigna.com.
You will have to pay income tax and a penalty tax if HSA money is used for expenses that are not considered
qualified medical expenses.
A Health Savings Account is separate and apart from the Medical Plan. Even if your Employer elects to
contribute to your HSA, the HSA is not an employer-provided health or welfare benefit plan. An HSA, once
opened, is yours to keep. You can continue to contribute to and use your HSA even after you move your
coverage to a different HDHP. However, if you are no longer enrolled in a HDHP, you may only continue to
access your money in the HSA but may no longer contribute additional money until such time that you are
enrolled in another HDHP.
Your Employer has arranged with an HSA-qualified financial institution to serve as your HSA custodian/trustee
and HSA service provider. The HSA custodian/trustee or your Employer will provide you with HSA enrollment
forms, related materials and information. To open your HSA, you must complete and submit any necessary HSA
forms required by the HSA custodian/trustee and be found to meet the HSA custodian's requirements. You also
have an option of opening your HSA with another HSA trustee or custodian of your own choosing. Further
information about the HSA is available on the IRS website at www.treas.gov.

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  Sunrun, Inc.



   OPEN ACCESS PLUS MEDICAL
   BENEFITS




  EFFECTIVE DATE: January 1, 2022




   ASO21
   3338372




   This document printed in July, 2022 takes the place of any documents previously issued to you which
   described your benefits.



   Printed in U.S.A.
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                              Important Information
THIS IS NOT AN INSURED BENEFIT PLAN. THE BENEFITS DESCRIBED IN THIS BOOKLET OR
ANY RIDER ATTACHED HERETO ARE SELF-INSURED BY SUNRUN, INC. WHICH IS RESPONSIBLE
FOR THEIR PAYMENT. CIGNA HEALTH AND LIFE INSURANCE COMPANY (CIGNA) PROVIDES
CLAIM ADMINISTRATION SERVICES TO THE PLAN, BUT CIGNA DOES NOT INSURE THE
BENEFITS DESCRIBED.
THIS DOCUMENT MAY USE WORDS THAT DESCRIBE A PLAN INSURED BY CIGNA. BECAUSE
THE PLAN IS NOT INSURED BY CIGNA, ALL REFERENCES TO INSURANCE SHALL BE READ TO
INDICATE THAT THE PLAN IS SELF-INSURED. FOR EXAMPLE, REFERENCES TO "CIGNA,"
"INSURANCE COMPANY," AND "POLICYHOLDER" SHALL BE DEEMED TO MEAN YOUR
"EMPLOYER" AND "POLICY" TO MEAN "PLAN" AND "INSURED" TO MEAN "COVERED" AND
"INSURANCE" SHALL BE DEEMED TO MEAN "COVERAGE."

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                                                           Explanation of Terms
You will find terms starting with capital letters throughout your certificate. To help you understand your benefits, most of these terms
are defined in the Definitions section of your certificate.


                                                             The Schedule
The Schedule is a brief outline of your maximum benefits which may be payable under your insurance. For a full description
of each benefit, refer to the appropriate section listed in the Table of Contents.
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                                                                             You, your dependent or an attending Physician can request
                                                                              Case Management services by calling the toll-free number
Special Plan Provisions                                                       shown on your ID card during normal business hours,
When you select a Participating Provider, this plan pays a                    Monday through Friday. In addition, your employer, a claim
greater share of the costs than if you select a non-Participating             office or a utilization review program (see the PAC/CSR
Provider. Participating Providers include Physicians, Hospitals               section of your certificate) may refer an individual for Case
and Other Health Professionals and Other Health Care                          Management.
Facilities. Consult your Physician Guide for a list of
                                                                             The Review Organization assesses each case to determine
Participating Providers in your area. Participating Providers
                                                                              whether Case Management is appropriate.
are committed to providing you and your Dependents
appropriate care while lowering medical costs.                               You or your Dependent is contacted by an assigned Case
                                                                              Manager who explains in detail how the program works.
Services Available in Conjunction With Your Medical
                                                                              Participation in the program is voluntary - no penalty or
Plan
                                                                              benefit reduction is imposed if you do not wish to
The following pages describe helpful services available in                    participate in Case Management.
conjunction with your medical plan. You can access these
services by calling the toll-free number shown on the back of                Following an initial assessment, the Case Manager works
your ID card.                                                                 with you, your family and Physician to determine the needs
                                                                              of the patient and to identify what alternate treatment
                                                                              programs are available (for example, in-home medical care
HC-SPP70                                                      01-21           in lieu of an extended Hospital convalescence). You are not
                                                                              penalized if the alternate treatment program is not followed.
Case Management                                                              The Case Manager arranges for alternate treatment services
Case Management is a service provided through a Review                        and supplies, as needed (for example, nursing services or a
Organization, which assists individuals with treatment needs                  Hospital bed and other Durable Medical Equipment for the
that extend beyond the acute care setting. The goal of Case                   home).
Management is to ensure that patients receive appropriate care               The Case Manager also acts as a liaison between the insurer,
in the most effective setting possible whether at home, as an                 the patient, his or her family and Physician as needed (for
outpatient, or an inpatient in a Hospital or specialized facility.            example, by helping you to understand a complex medical
Should the need for Case Management arise, a Case                             diagnosis or treatment plan).
Management professional will work closely with the patient,                  Once the alternate treatment program is in place, the Case
his or her family and the attending Physician to determine                    Manager continues to manage the case to ensure the
appropriate treatment options which will best meet the                        treatment program remains appropriate to the patient's
patient's needs and keep costs manageable. The Case Manager                   needs.
will help coordinate the treatment program and arrange for
necessary resources. Case Managers are also available to                  While participation in Case Management is strictly voluntary,
answer questions and provide ongoing support for the family               Case Management professionals can offer quality, cost-
in times of medical crisis.                                               effective treatment alternatives, as well as provide assistance
                                                                          in obtaining needed medical resources and ongoing family
Case Managers are Registered Nurses (RNs) and other                       support in a time of need.
credentialed health care professionals, each trained in a
clinical specialty area such as trauma, high risk pregnancy and
neonates, oncology, mental health, rehabilitation or general              HC-SPP2                                                         04-10
medicine and surgery. A Case Manager trained in the                                                                                          V1
appropriate clinical specialty area will be assigned to you or
your dependent. In addition, Case Managers are supported by
                                                                          Additional Programs
a panel of Physician advisors who offer guidance on up-to-
date treatment programs and medical technology. While the                 We may, from time to time, offer or arrange for various
Case Manager recommends alternate treatment programs and                  entities to offer discounts, benefits, or other consideration to
helps coordinate needed resources, the patient's attending                our members for the purpose of promoting the general health
Physician remains responsible for the actual medical care.                and well being of our members. We may also arrange for the
                                                                          reimbursement of all or a portion of the cost of services



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provided by other parties to the Policyholder. Contact us for            Important Information
details regarding any such arrangements.                                 Rebates and Other Payments
                                                                         Cigna or its affiliates may receive rebates or other
HC-SPP3                                                     04-10        remuneration from pharmaceutical manufacturers in
                                                                V1       connection with certain Medical Pharmaceuticals covered
                                                                         under your plan. These rebates or remuneration are not
Care Management and Care Coordination Services                           obtained on you or your Employer’s or plan’s behalf or for
                                                                         your benefit. Cigna, its affiliates and the plan are not obligated
Your plan may enter into specific collaborative arrangements
                                                                         to pass these rebates on to you, or apply them to your plan’s
with health care professionals committed to improving quality
                                                                         Deductible if any or take them into account in determining
care, patient satisfaction and affordability. Through these
                                                                         your Copayments and/or Coinsurance.
collaborative arrangements, health care professionals commit
to proactively providing participants with certain care                  Cigna and its affiliates or designees, conduct business with
management and care coordination services to facilitate                  various pharmaceutical manufacturers separate and apart from
achievement of these goals. Reimbursement is provided at                 this plan’s Medical Pharmaceutical benefits. Such business
100% for these services when rendered by designated health               may include, but is not limited to, data collection, consulting,
care professionals in these collaborative arrangements.                  educational grants and research. Amounts received from
                                                                         pharmaceutical manufacturers pursuant to such arrangements
                                                                         are not related to this plan. Cigna and its affiliates are not
HC-SPP27                                                    06-15        required to pass on to you, and do not pass on to you, such
                                                                V1       amounts.
                                                                         Coupons, Incentives and Other Communications
                                                                         At various times, Cigna or its designee may send mailings to
Important Notices                                                        you or your Dependents or to your Physician that
Direct Access to Obstetricians and Gynecologists                         communicate a variety of messages, including information
                                                                         about Medical Pharmaceuticals. These mailings may contain
You do not need prior authorization from the plan or from any
                                                                         coupons or offers from pharmaceutical manufacturers that
other person (including a primary care provider) in order to
                                                                         enable you or your Dependents, at your discretion, to purchase
obtain access to obstetrical or gynecological care from a health
care professional in our network who specializes in obstetrics           the described Medical Pharmaceutical at a discount or to
                                                                         obtain it at no charge. Pharmaceutical manufacturers may pay
or gynecology. The health care professional, however, may be
                                                                         for and/or provide the content for these mailings. Cigna, its
required to comply with certain procedures, including
                                                                         affiliates and the plan are not responsible in any way for any
obtaining prior authorization for certain services, following a
                                                                         decision you make in connection with any coupon, incentive,
pre-approved treatment plan, or procedures for making
referrals. For a list of participating health care professionals         or other offer you may receive from a pharmaceutical
who specialize in obstetrics or gynecology, visit                        manufacturer or Physician.
www.mycigna.com or contact customer service at the phone
number listed on the back of your ID card.                               HC-IMP304                                                      01-22

Selection of a Primary Care Provider
This plan generally allows the designation of a primary care             Discrimination is Against the Law
provider. You have the right to designate any primary care               Cigna complies with applicable Federal civil rights laws and
provider who participates in the network and who is available            does not discriminate on the basis of race, color, national
to accept you or your family members. For information on                 origin, age, disability or sex. Cigna does not exclude people or
how to select a primary care provider, and for a list of the             treat them differently because of race, color, national origin,
participating primary care providers, visit www.mycigna.com              age, disability or sex.
or contact customer service at the phone number listed on the
back of your ID card.                                                    Cigna:
For children, you may designate a pediatrician as the primary               Provides free aids and services to people with disabilities to
care provider.                                                               communicate effectively with us, such as:
                                                                              Qualified sign language interpreters

HC-NOT5                                                     01-11
                                                                              Written information in other formats (large print, audio,
                                                                               accessible electronic formats, other formats)



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   Provides free language services to people whose primary               Vietnamese – XIN LƯU Ý: Quý vị được cấp dịch vụ trợ giúp
    language is not English, such as                                      về ngôn ngữ miễn phí. Dành cho khách hàng hiện tại của
     Qualified interpreters                                              Cigna, vui lòng gọi số ở mặt sau thẻ Hội viên. Các trường hợp
                                                                          khác xin gọi số 1.800.244.6224 (TTY: Quay số 711).
     Information written in other languages
If you need these services, contact customer service at the toll-         Korean – 주의: 한국어를 사용하시는 경우, 언어 지원
free phone number shown on your ID card, and ask a                        서비스를 무료로 이용하실 수 있습니다. 현재 Cigna
Customer Service Associate for assistance.
                                                                          가입자님들께서는 ID 카드 뒷면에 있는 전화번호로
If you believe that Cigna has failed to provide these services
or discriminated in another way on the basis of race, color,              연락해주십시오. 기타 다른 경우에는 1.800.244.6224
national origin, age, disability or sex, you can file a grievance         (TTY: 다이얼 711)번으로 전화해주십시오.
by sending an email to ACAGrievance@cigna.com or by
writing to the following address:                                         Tagalog – PAUNAWA: Makakakuha ka ng mga serbisyo sa
    Cigna                                                                 tulong sa wika nang libre. Para sa mga kasalukuyang customer
    Nondiscrimination Complaint Coordinator                               ng Cigna, tawagan ang numero sa likuran ng iyong ID card. O
    P.O. Box 188016                                                       kaya, tumawag sa 1.800.244.6224 (TTY: I-dial ang 711).
    Chattanooga, TN 37422                                                 Russian – ВНИМАНИЕ: вам могут предоставить
If you need assistance filing a written grievance, please call            бесплатные услуги перевода. Если вы уже участвуете в
the number on the back of your ID card or send an email to                плане Cigna, позвоните по номеру, указанному на
ACAGrievance@cigna.com. You can also file a civil rights                  обратной стороне вашей идентификационной карточки
complaint with the U.S. Department of Health and Human                    участника плана. Если вы не являетесь участником одного
Services, Office for Civil Rights electronically through the              из наших планов, позвоните по номеру 1.800.244.6224
Office for Civil Rights Complaint Portal, available at:                   (TTY: 711).
https://ocrportal.hhs.gov/ocr/portal/lobby.jsf, or by mail or
phone at:
    U.S. Department of Health and Human Services
    200 Independence Avenue, SW
    Room 509F, HHH Building
    Washington, D.C. 20201                                                French Creole – ATANSYON: Gen sèvis èd nan lang ki
    1-800-368-1019, 800-537-7697 (TDD)                                    disponib gratis pou ou. Pou kliyan Cigna yo, rele nimewo ki
Complaint forms are available at                                          dèyè kat ID ou. Sinon, rele nimewo 1.800.244.6224
http://www.hhs.gov/ocr/office/file/index.html.                            (TTY: Rele 711).
                                                                          French – ATTENTION: Des services d’aide linguistique vous
                                                                          sont proposés gratuitement. Si vous êtes un client actuel de
HC-NOT96                                                      07-17
                                                                          Cigna, veuillez appeler le numéro indiqué au verso de votre
                                                                          carte d’identité. Sinon, veuillez appeler le numéro
Proficiency of Language Assistance Services                               1.800.244.6224 (ATS : composez le numéro 711).
English – ATTENTION: Language assistance services, free                   Portuguese – ATENÇÃO: Tem ao seu dispor serviços de
of charge, are available to you. For current Cigna customers,             assistência linguística, totalmente gratuitos. Para clientes
call the number on the back of your ID card. Otherwise, call              Cigna atuais, ligue para o número que se encontra no verso do
1.800.244.6224 (TTY: Dial 711).                                           seu cartão de identificação. Caso contrário, ligue para
                                                                          1.800.244.6224 (Dispositivos TTY: marque 711).
Spanish – ATENCIÓN: Hay servicios de asistencia de
idiomas, sin cargo, a su disposición. Si es un cliente actual de          Polish – UWAGA: w celu skorzystania z dostępnej,
Cigna, llame al número que figura en el reverso de su tarjeta             bezpłatnej pomocy językowej, obecni klienci firmy Cigna
de identificación. Si no lo es, llame al 1.800.244.6224 (los              mogą dzwonić pod numer podany na odwrocie karty
usuarios de TTY deben llamar al 711).                                     identyfikacyjnej. Wszystkie inne osoby prosimy o
                                                                          skorzystanie z numeru 1 800 244 6224 (TTY: wybierz 711).
Chinese – 注意：我們可為您免費提供語言協助服務。
對於 Cigna 的現有客戶，請致電您的 ID 卡背面的號碼。                                           Japanese –
其他客戶請致電 1.800.244.6224 （聽障專線：請撥 711）。                                     注意事項：日本語を話される場合、無料の言語支援サー
                                                                          ビスをご利用いただけます。現在のCignaの
                                                                          お客様は、IDカード裏面の電話番号まで、お電話にてご


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連絡ください。その他の方は、1.800.244.6224（TTY:                                        benefits is available for review by Plan Administrators (e.g.
711）まで、お電話にてご連絡ください。                                                     employers) and covered persons by accessing the appropriate
                                                                         link below:
Italian – ATTENZIONE: Sono disponibili servizi di
assistenza linguistica gratuiti. Per i clienti Cigna attuali,                Employers (Plan Administrators):
chiamare il numero sul retro della tessera di identificazione.               https://cignaaccess.cigna.com/secure/app/ca/centralRepo -
In caso contrario, chiamare il numero 1.800.244.6224 (utenti                 Log in, select Resources and Training, then select the
TTY: chiamare il numero 711).                                                NQTL document.
German – ACHTUNG: Die Leistungen der                                         Covered Persons: www.cigna.com\sp
Sprachunterstützung stehen Ihnen kostenlos zur Verfügung.                To determine which document applies to your plan, select the
Wenn Sie gegenwärtiger Cigna-Kunde sind, rufen Sie bitte die             relevant health plan product; medical management model
Nummer auf der Rückseite Ihrer Krankenversicherungskarte                 (inpatient only or inpatient and outpatient) which can be
an. Andernfalls rufen Sie 1.800.244.6224 an (TTY: Wählen                 located in this booklet immediately following The Schedule;
Sie 711).                                                                and pharmacy coverage (whether or not your plan includes
                                                                         pharmacy coverage).


                                                                         HC-NOT113                                                    01-20




                                                                         How To File Your Claim
                                                                         There’s no paperwork for In-Network care. Just show your
HC-NOT97                                                     07-17       identification card and pay your share of the cost, if any; your
                                                                         provider will submit a claim to Cigna for reimbursement. Out-
                                                                         of-Network claims can be submitted by the provider if the
Mental Health Parity and Addiction Equity Act of 2008                    provider is able and willing to file on your behalf. If the
(MHPAEA) - Non-Quantitative Treatment Limitations                        provider is not submitting on your behalf, you must send your
(NQTLs)                                                                  completed claim form and itemized bills to the claims address
Federal MHPAEA regulations provide that a plan cannot                    listed on the claim form.
impose a Non-Quantitative Treatment Limitation (NQTL) on                 You may get the required claim forms from the website listed
mental health or substance use disorder (MH/SUD) benefits in             on your identification card or by using the toll-free number on
any classification unless the processes, strategies, evidentiary         your identification card.
standards, or other factors used in applying the NQTL to
MH/SUD benefits are comparable to, and are applied no more               CLAIM REMINDERS
stringently than, those used in applying the NQTL to                      BE SURE TO USE YOUR MEMBER ID AND
medical/surgical benefits in the same classification of benefits           ACCOUNT/GROUP NUMBER WHEN YOU FILE
as written and in operation under the terms of the plan.                   CIGNA’S CLAIM FORMS, OR WHEN YOU CALL
Non-Quantitative Treatment Limitations (NQTLs) include:                    YOUR CIGNA CLAIM OFFICE.
   Medical management standards limiting or excluding                       YOUR MEMBER ID IS THE ID SHOWN ON YOUR
    benefits based on Medical Necessity or whether the                       BENEFIT IDENTIFICATION CARD.
    treatment is experimental or investigative;                              YOUR ACCOUNT/GROUP NUMBER IS SHOWN ON
   Prescription drug formulary design;                                      YOUR BENEFIT IDENTIFICATION CARD.
   Network admission standards;                                            BE SURE TO FOLLOW THE INSTRUCTIONS LISTED
                                                                             ON THE BACK OF THE CLAIM FORM CAREFULLY
   Methods for determining in-network and out-of-network                    WHEN SUBMITTING A CLAIM TO CIGNA.
    provider reimbursement rates;
                                                                         Timely Filing of Out-of-Network Claims
   Step therapy a/k/a fail-first requirements; and
                                                                         Cigna will consider claims for coverage under our plans when
   Exclusions and/or restrictions based on geographic location,         proof of loss (a claim) is submitted within 180 days for Out-
    facility type or provider specialty.                                 of-Network benefits after services are rendered. If services are
A description of your plan’s NQTL methodologies and                      rendered on consecutive days, such as for a Hospital
processes applied to medical/surgical benefits and MH/SUD                Confinement, the limit will be counted from the last date of



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service. If claims are not submitted within 180 days for Out-            Effective Date of Employee Insurance
of-Network benefits, the claim will not be considered valid              You will become insured on the date you elect the insurance
and will be denied.                                                      by signing an approved payroll deduction or enrollment form,
WARNING: Any person who knowingly and with intent to                     as applicable, but no earlier than the date you become eligible.
defraud any insurance company or other person files an                   You will become insured on your first day of eligibility,
application for insurance or statement of claim containing any           following your election, if you are in Active Service on that
materially false information; or conceals for the purpose of             date, or if you are not in Active Service on that date due to
misleading, information concerning any material fact thereto,            your health status.
commits a fraudulent insurance act.
                                                                         Late Entrant - Employee
                                                                         You are a Late Entrant if:
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                                                                            you elect the insurance more than 30 days after you become
                                                                             eligible; or
                                                                            you again elect it after you cancel your payroll deduction (if
                                                                             required).
Eligibility - Effective Date
                                                                         Dependent Insurance
Employee Insurance
                                                                         For your Dependents to be insured, you will have to pay the
This plan is offered to you as an Employee.                              required contribution, if any, toward the cost of Dependent
Eligibility for Employee Insurance                                       Insurance.
You will become eligible for insurance on the day you                    Effective Date of Dependent Insurance
complete the waiting period if:                                          Insurance for your Dependents will become effective on the
   you are in a Class of Eligible Employees; and                        date you elect it by signing an approved payroll deduction
   you are an eligible, full-time Employee; and                         form (if required), but no earlier than the day you become
                                                                         eligible for Dependent Insurance. All of your Dependents as
   you normally work at least 30 hours a week; and                      defined will be included.
   you pay any required contribution.                                   Your Dependents will be insured only if you are insured.
If you were previously insured and your insurance ceased, you            Late Entrant – Dependent
must satisfy the Waiting Period to become insured again. If
your insurance ceased because you were no longer employed                You are a Late Entrant for Dependent Insurance if:
in a Class of Eligible Employees, you are not required to                   you elect that insurance more than 30 days after you
satisfy any waiting period if you again become a member of a                 become eligible for it; or
Class of Eligible Employees within one year after your                      you again elect it after you cancel your payroll deduction (if
insurance ceased.                                                            required).
Employees on temporary furlough for up to 6 months will be               Exception for Newborns
considered active employees and coverage will continue
during this time period.                                                 Any Dependent child born while you are insured will become
                                                                         insured on the date of his birth if you elect Dependent
Eligibility for Dependent Insurance                                      Insurance no later than 31 days after his birth. If you do not
You will become eligible for Dependent Insurance on the later            elect to insure your newborn child within such 31 days,
of:                                                                      coverage for that child will end on the 31st day. No benefits
   the day you become eligible for yourself; or                         for expenses incurred beyond the 31st day will be payable.
   the day you acquire your first Dependent.
                                                                         HC-ELG274M                                                     01-19

Waiting Period
The first day of the month following date of hire.
Classes of Eligible Employees
Each Employee as reported to the insurance company by your
Employer.



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Important Information About Your
Medical Plan
Details of your medical benefits are described on the
following pages.
Opportunity to Select a Primary Care Physician
Choice of Primary Care Physician:
This medical plan does not require that you select a Primary
Care Physician or obtain a referral from a Primary Care
Physician in order to receive all benefits available to you
under this medical plan. Notwithstanding, a Primary Care
Physician may serve an important role in meeting your health
care needs by providing or arranging for medical care for you
and your Dependents. For this reason, we encourage the use of
Primary Care Physicians and provide you with the opportunity
to select a Primary Care Physician from a list provided by
Cigna for yourself and your Dependents. If you choose to
select a Primary Care Physician, the Primary Care Physician
you select for yourself may be different from the Primary Care
Physician you select for each of your Dependents.
Changing Primary Care Physicians:
You may request a transfer from one Primary Care Physician
to another by contacting us at the member services number on
your ID card. Any such transfer will be effective on the first
day of the month following the month in which the processing
of the change request is completed.
In addition, if at any time a Primary Care Physician ceases to
be a Participating Provider, you or your Dependent will be
notified for the purpose of selecting a new Primary Care
Physician.


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                                  Open Access Plus Medical Benefits
                                                  The Schedule

For You and Your Dependents
Open Access Plus Medical Benefits provide coverage for care In-Network and Out-of-Network. To receive Open Access
Plus Medical Benefits, you and your Dependents may be required to pay a portion of the Covered Expenses for services
and supplies. That portion is the Copayment, Deductible or Coinsurance.
When you receive services from an In-Network Provider, remind your provider to utilize In-Network Providers for x-rays,
lab tests and other services to ensure the cost may be considered at the In-Network level.
If you are unable to locate an In-Network Provider in your area who can provide you with a service or supply that is
covered under this plan, you must call the number on the back of your I.D. card to obtain authorization for Out-of-
Network Provider coverage. If you obtain authorization for services provided by an Out-of-Network Provider, benefits for
those services will be covered at the In-Network benefit level.
.
Coinsurance
The term Coinsurance means the percentage of Covered Expenses that an insured person is required to pay under the plan
in addition to the Deductible, if any.
Copayments/Deductibles
Copayments are amounts to be paid by you or your Dependent for covered services. Deductibles are Covered Expenses to
be paid by you or your Dependent before benefits are payable under this plan. Deductible amounts are separate from and
not reduced by Copayments. Copayments and Deductibles are in addition to any Coinsurance. Once the Deductible
maximum in The Schedule has been reached, you and your family need not satisfy any further medical deductible for the
rest of that year.
Out-of-Pocket Expenses - For In-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan because of any
Deductibles, Copayments or Coinsurance. Such Covered Expenses accumulate to the Out-of-Pocket Maximum shown in
The Schedule. When the Out-of-Pocket Maximum is reached, all Covered Expenses, except charges for non-compliance
penalties, are payable by the benefit plan at 100%.
Out-of-Pocket Expenses - For Out-of-Network Charges Only
Out-of-Pocket Expenses are Covered Expenses incurred for charges that are not paid by the benefit plan. The following
Expenses contribute to the Out-of-Pocket Maximum, and when the Out-of-Pocket Maximum shown in The Schedule is
reached, they are payable by the benefit plan at 100%:
 Coinsurance.
 Plan Deductible.
 Any copayments and/or benefit deductibles.
Once the Out-of-Pocket Maximum is reached for covered services that apply to the Out-of-Pocket Maximum, any
copayments and/or benefit deductibles are no longer required.
The following Out-of-Pocket Expenses and charges do not contribute to the Out-of-Pocket Maximum, and they are not
payable by the benefit plan at 100% when the Out-of-Pocket Maximum shown in The Schedule is reached:
 Non-compliance penalties.
 Provider charges in excess of the Maximum Reimbursable Charge.
  .



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                                   Open Access Plus Medical Benefits
                                                    The Schedule

Accumulation of Plan Deductibles and Out-of-Pocket Maximums
Deductibles and Out-of-Pocket Maximums will cross-accumulate (that is, In-Network will accumulate to Out-of-Network
and Out-of-Network will accumulate to In-Network). All other plan maximums and service-specific maximums (dollar
and
. occurrence) also cross-accumulate between In- and Out-of-Network unless otherwise noted.
Accumulation of Pharmacy Benefits
If your plan provides Pharmacy benefits separately, any In-Network medical Out-of-Pocket Maximums will cross
accumulate with any In-Network Pharmacy Out-of-Pocket Maximums.
Multiple Surgical Reduction
Multiple surgeries performed during one operating session result in payment reduction of 50% to the surgery of lesser
charge. The most expensive procedure is paid as any other surgery.
Assistant Surgeon and Co-Surgeon Charges
Assistant Surgeon
The maximum amount payable will be limited to charges made by an assistant surgeon that do not exceed a percentage of
the surgeon's allowable charge as specified in Cigna Reimbursement Policies. (For purposes of this limitation, allowable
charge means the amount payable to the surgeon prior to any reductions due to coinsurance or deductible amounts.)
Co-Surgeon
The maximum amount payable for charges made by co-surgeons will be limited to the amount specified in Cigna
Reimbursement Policies.
Out-of-Network Charges for Certain Services
Charges for services furnished by an Out-of-Network provider in an In-Network facility while you are receiving In-
Network services at that In-Network facility: (i) are payable at the In-Network cost-sharing level; and (ii) the allowable
amount used to determine the Plan's benefit payment is the amount agreed to by the Out-of-Network provider and Cigna,
or as required by applicable state or Federal law.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.
Out-of-Network Emergency Services Charges
1. Emergency Services are covered at the In-Network cost-sharing level if services are received from a non-Participating
   (Out-of-Network) provider.
2. The allowable amount used to determine the Plan's benefit payment for covered Emergency Services rendered in an
   Out-of-Network Hospital, or by an Out-of-Network provider in an In-Network Hospital, is the amount agreed to by the
   Out-of-Network provider and Cigna, or as required by applicable state or Federal law.
3. The allowable amount used to determine the Plan’s benefit payment when Out-of-Network Emergency Services result
   in an inpatient admission is the median amount negotiated with In-Network facilities.
The member is responsible for applicable In-Network cost-sharing amounts (any deductible, copay or coinsurance). The
member is not responsible for any charges that may be made in excess of the allowable amount. If the Out-of-Network
provider bills you for an amount higher than the amount you owe as indicated on the Explanation of Benefits (EOB),
contact Cigna Customer Service at the phone number on your ID card.




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      BENEFIT HIGHLIGHTS                   IN-NETWORK                    OUT-OF-NETWORK
Lifetime Maximum                                             Unlimited
The Percentage of Covered Expenses   80%                           60% of the Maximum Reimbursable
the Plan Pays                                                      Charge
  Note:
  "No charge" means an insured
  person is not required to pay
  Coinsurance.




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      BENEFIT HIGHLIGHTS                           IN-NETWORK                    OUT-OF-NETWORK
Maximum Reimbursable Charge
The Maximum Reimbursable Charge
for Out-of-Network services other than
those described in the Schedule
sections Out-of-Network Charges for
Certain Services and Out-of-Network
Emergency Services Charges is
determined based on the lesser of the
provider's normal charge for a similar
service or supply;
or the amount agreed to by the Out-of-    Not Applicable                  110%
Network provider and Cigna, or a
policyholder-selected percentage of a
fee schedule Cigna has developed that
is based upon a methodology similar to
a methodology utilized by Medicare to
determine the allowable reimbursement
for the same or similar services within
the geographic market. In some cases, a
Medicare based schedule will not be
used and the Maximum Reimbursable
Charge for covered services is
determined based on the lesser of:
 the provider’s normal charge for a
  similar service or supply; or
 the 80th percentile of charges made
  by providers of such service or
  supply in the geographic area where
  it is received as compiled in a
  database selected by Cigna. If
  sufficient charge data is unavailable
  in the database for that geographic
  area to determine the Maximum
  Reimbursable Charge, then data in
  the database for similar services may
  be used.

Note:
The provider may bill you for the
difference between the provider’s
normal charge and the Maximum
Reimbursable Charge, in addition to
applicable copayment, deductibles
and/or coinsurance.




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       BENEFIT HIGHLIGHTS                            IN-NETWORK                    OUT-OF-NETWORK
Note:
Some providers forgive or waive the
cost share obligation (e.g. your
deductible and/or coinsurance) that this
plan requires you to pay. Waiver of
your required cost share obligation can
jeopardize your coverage under this
plan. For more details, see the
Exclusions Section.

Calendar Year Deductible
  Individual                               $600 per person                  $1,000 per person

  Family Maximum                           $1,200 per family                $2,000 per family

 Family Maximum Calculation
 Individual Calculation:
 Family members meet only their
 individual deductible and then their
 claims will be covered under the plan
 coinsurance; if the family deductible
 has been met prior to their individual
 deductible being met, their claims
 will be paid at the plan coinsurance.
Out-of-Pocket Maximum
  Individual                               $3,000 per person                $6,000 per person
  Family Maximum                           $6,000 per family                $12,000 per family
  Family Maximum Calculation
  Individual Calculation:
  Family members meet only their
  individual Out-of-Pocket and then
  their claims will be covered at 100%;
  if the family Out-of-Pocket has been
  met prior to their individual Out-of-
  Pocket being met, their claims will
  be paid at 100%.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Physician’s Services
  Primary Care Physician’s Office        No charge after $25 per office visit    60% of the Maximum Reimbursable
  Visit                                  copay                                   Charge after plan deductible


  Specialty Care Physician’s Office      No charge after $40 Specialist per      60% of the Maximum Reimbursable
  Visits                                 office visit copay                      Charge after plan deductible
    Consultant and Referral
    Physician’s Services
      Note:
      OB/GYN providers will be
      considered either as a PCP or
      Specialist, depending on how
      the provider contracts with the
      Insurance Company.
  Surgery Performed in the Physician’s   No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  Office                                 Specialist per office visit copay       Charge after plan deductible
  Second Opinion Consultations           No charge after the $25 PCP or $40      60% of the Maximum Reimbursable
  (provided on a voluntary basis)        Specialist per office visit copay       Charge after plan deductible
  Allergy Treatment/Injections           No charge after either the $25 PCP or   60% of the Maximum Reimbursable
                                         $40 Specialist per office visit copay   Charge after plan deductible
                                         or the actual charge, whichever is
                                         less
  Allergy Serum (dispensed by the        No charge                               60% of the Maximum Reimbursable
  Physician in the office)                                                       Charge after plan deductible
Convenience Care Clinic                  No charge after the $25 per office      60% of the Maximum Reimbursable
                                         visit copay                             Charge after plan deductible




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        BENEFIT HIGHLIGHTS                               IN-NETWORK                       OUT-OF-NETWORK
Virtual Care
Dedicated Virtual Providers
Services available through contracted
virtual providers as medically
appropriate.
    Urgent Virtual Care Services             No charge after the $25 PCP per       In-Network coverage only
                                             office visit copay
    Notes:
    Dedicated Virtual Providers may
    deliver services that are payable
    under other benefits (e.g., Preventive
    Care, Primary Care Physician,
    Behavioral; Dermatology/Specialty
    Care Physician).

    Lab services supporting a virtual
    visit must be obtained through
    dedicated labs.
Virtual Physician Services
Services available through Physicians
as medically appropriate.
Note:
Preventive services covered at the
preventive level.
Physician’s Office Visit                     No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                             Specialist per office visit copay     Charge after plan deductible
.
Preventive Care
  Note:
  Includes coverage of additional
  services, such as urinalysis, EKG,
  and other laboratory tests,
  supplementing the standard
  Preventive Care benefit.
    Routine Preventive Care - all ages       No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible

    Immunizations - all ages                 No charge                             60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Mammograms, PSA, PAP Smear
    Preventive Care Related Services         No charge                             60% of the Maximum Reimbursable
    (i.e. “routine” services)                                                      Charge after plan deductible
    Diagnostic Related Services (i.e.        Subject to the plan’s x-ray & lab     Subject to the plan’s x-ray & lab
    “non-routine” services)                  benefit; based on place of service    benefit; based on place of service
.




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Inpatient Hospital – Facility Services    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Semi-Private Room and Board             Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Private Room                            Limited to the semi-private room       Limited to the semi-private room rate
                                          negotiated rate
  Special Care Units (ICU/CCU)            Limited to the negotiated rate         Limited to the ICU/CCU daily room
                                                                                 rate

Outpatient Facility Services
 Operating Room, Recovery Room,           $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
 Procedures Room, Treatment Room          plan deductible                        of the Maximum Reimbursable
 and Observation Room                                                            Charge after plan deductible
  Note:
  Non-surgical treatment procedures
  are not subject to the facility copay
  or facility deductible.
Inpatient Hospital Physician’s            80% after plan deductible              60% of the Maximum Reimbursable
Visits/Consultations                                                             Charge after plan deductible

Inpatient Hospital Professional           80% after plan deductible              60% of the Maximum Reimbursable
Services                                                                         Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist
Outpatient Professional Services          80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Surgeon
  Radiologist
  Pathologist
  Anesthesiologist




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                           OUT-OF-NETWORK
Urgent Care Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Urgent Care Facility or Outpatient      No charge after $35 per visit copay*    No charge after $35 per visit copay*
  Facility                                and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Urgent Care Facility (billed by the
  facility as part of the UC visit)
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Emergency Services
  Physician’s Office Visit                No charge after the $25 PCP or $40      No charge after the $25 PCP or $40
                                          Specialist per office visit copay       Specialist per office visit copay
  Hospital Emergency Room                 No charge after $150 per visit copay*   No charge after $150 per visit copay*
                                          and plan deductible                     and plan deductible

                                          *waived if admitted                     *waived if admitted
  Outpatient Professional Services        No charge after plan deductible         No charge after plan deductible
  (radiology, pathology, ER physician)
  X-ray and/or Lab performed at the       No charge after plan deductible         No charge after plan deductible
  Emergency Room Facility (billed by
  the facility as part of the ER visit)
  Independent X-ray and/or Lab            No charge after plan deductible         No charge after plan deductible
  Facility in conjunction with an ER
  visit
  Advanced Radiological Imaging (i.e.     No charge after plan deductible         No charge after plan deductible
  MRIs, MRAs, CAT Scans, PET
  Scans etc.)

Air Ambulance                             80% after plan deductible               80% after plan deductible

Ambulance                                 80% after plan deductible               80% of the Maximum Reimbursable
                                                                                  Charge after plan deductible




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      BENEFIT HIGHLIGHTS                               IN-NETWORK                          OUT-OF-NETWORK
Inpatient Services at Other Health         80% after plan deductible                60% of the Maximum Reimbursable
Care Facilities                                                                     Charge after plan deductible
  Includes Skilled Nursing Facility,
  Rehabilitation Hospital and Sub-
  Acute Facilities
   Calendar Year Maximum:
. 60 days combined
Laboratory and Radiology Services
(includes pre-admission testing)
   Physician’s Office Visit                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible
  Outpatient Hospital Facility             80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Independent X-ray and/or Lab             80% after plan deductible                60% of the Maximum Reimbursable
  Facility                                                                          Charge after plan deductible
Advanced Radiological Imaging (i.e.
MRIs, MRAs, CAT Scans and PET
Scans)
  Physician’s Office Visit                 No charge                                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Inpatient Facility                       $250 per admission copay, then 80%       $500 per admission deductible, then
                                           after plan deductible                    60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
  Outpatient Facility                      80% after plan deductible                60% of the Maximum Reimbursable
                                                                                    Charge after plan deductible
Outpatient Therapy Services                No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
  Calendar Year Maximum:                   Specialist per office visit copay        Charge after plan deductible
  60 days for all therapies combined       Note:
  (The limit is not applicable to mental   Outpatient Therapy Services copay
  health conditions.)                      applies, regardless of place of
                                           service, including the home.
 Includes:
 Physical Therapy
 Speech Therapy
 Occupational Therapy
 Pulmonary Rehab
 Cognitive Therapy
 .
Outpatient Cardiac Rehabilitation          No charge after the $40 Specialist per   60% of the Maximum Reimbursable
  Calendar Year Maximum:                   office visit copay                       Charge after plan deductible
  36 days
Chiropractic Care
  Calendar Year Maximum:
  20 days
  Physician’s Office Visit                 No charge after the $25 PCP or $40       60% of the Maximum Reimbursable
                                           Specialist per office visit copay        Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                         OUT-OF-NETWORK
Acupuncture
  Self-referred, Medically Necessary
  treatment of pain or disease by
  acupuncture provided on an
  outpatient basis, limited to a 20 day
  maximum per person per Calendar
  Year
  Physician’s Office Visit                No charge after the $25 PCP or $40    60% of the Maximum Reimbursable
                                          Specialist per office visit copay     Charge after plan deductible
Home Health Care Services
  Calendar Year Maximum:                  80% after plan deductible             60% of the Maximum Reimbursable
  100 days (includes outpatient private                                         Charge after plan deductible
  nursing when approved as Medically
  Necessary)

  Dialysis visits in the home setting
  will not accumulate to the Home
  Health Care maximum
 (The limit is not applicable to Mental
 Health and Substance Use Disorder
 conditions.)
 .
Hospice
 Inpatient Services                       80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient Services                     80% after plan deductible             60% of the Maximum Reimbursable
  (same coinsurance level as Home                                               Charge after plan deductible
  Health Care Services)

Bereavement Counseling
Services provided as part of Hospice
Care
  Inpatient                               80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
  Outpatient                              80% after plan deductible             60% of the Maximum Reimbursable
                                                                                Charge after plan deductible
Services provided by Mental Health        Covered under Mental Health benefit   Covered under Mental Health benefit
Professional




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                          OUT-OF-NETWORK
Gene Therapy
Includes prior authorized gene therapy
products and services directly related to
their administration, when Medically
Necessary.
Gene therapy must be received at an In-
Network facility specifically contracted
with Cigna to provide the specific gene
therapy. Gene therapy at other In-
Network facilities is not covered.
  Gene Therapy Product                      Subject to In-Network facility cost    In-Network coverage only
                                            share based on place of service;
                                            separate from facility charges
  Inpatient Facility                        $250 per admission copay, then 80%     In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible              In-Network coverage only
  Travel Maximum:                           No charge (available only for travel   In-Network coverage only
  $10,000 per episode of gene therapy       when prior authorized to receive
                                            gene therapy at a participating In-
                                            Network facility specifically
                                            contracted with Cigna to provide the
                                            specific gene therapy)
Maternity Care Services
 Initial Visit to Confirm Pregnancy         No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Note:
  OB/GYN providers will be
  considered either as a PCP or
  Specialist, depending on how the
  provider contracts with the Insurance
  Company.
  All subsequent Prenatal Visits,           80% after plan deductible              60% of the Maximum Reimbursable
  Postnatal Visits and Physician’s                                                 Charge after plan deductible
  Delivery Charges (i.e. global
  maternity fee)
  Physician’s Office Visits in addition     No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  to the global maternity fee when          Specialist per office visit copay      Charge after plan deductible
  performed by an OB/GYN or
  Specialist
  Delivery - Facility                       $250 per admission copay, then 80%     $500 per admission deductible, then
  (Inpatient Hospital, Birthing Center)     after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible




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       BENEFIT HIGHLIGHTS                             IN-NETWORK                        OUT-OF-NETWORK
Abortion
Includes elective and non-elective
procedures
  Physician’s Office Visit                No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                      $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Outpatient Facility                     $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
  Physician’s Services                    80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
Women’s Family Planning Services
  Office Visits, Lab and Radiology        No charge                              60% of the Maximum Reimbursable
  Tests and Counseling                                                           Charge after plan deductible
  Note:
  Includes coverage for contraceptive
  devices (e.g., Depo-Provera and
  Intrauterine Devices (IUDs)) as
  ordered or prescribed by a physician.
  Diaphragms also are covered when
  services are provided in the
  physician’s office.
  Surgical Sterilization Procedures for
  Tubal Ligation (excludes reversals)
    Physician’s Office Visit              No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Inpatient Facility                    No charge                              $500 per admission deductible, then
                                                                                 60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   No charge                              $400 per visit deductible, then 60%
                                                                                 of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  No charge                              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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      BENEFIT HIGHLIGHTS                            IN-NETWORK                          OUT-OF-NETWORK
Men’s Family Planning Services
  Office Visits, Lab and Radiology        No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
  Tests and Counseling                    Specialist per office visit copay      Charge after plan deductible
  Surgical Sterilization Procedures for
  Vasectomy (excludes reversals)
    Physician’s Office Visit              No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                          Specialist per office visit copay      Charge after plan deductible
    Inpatient Facility                    $250 per admission copay, then 80%     $500 per admission deductible, then
                                          after plan deductible                  60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Outpatient Facility                   $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                          plan deductible                        of the Maximum Reimbursable
                                                                                 Charge after plan deductible
    Physician’s Services                  80% after plan deductible              60% of the Maximum Reimbursable
                                                                                 Charge after plan deductible




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          BENEFIT HIGHLIGHTS                               IN-NETWORK                              OUT-OF-NETWORK
Infertility and Conception Services
Services offered through WINFertility
Coverage will be provided for the following services:
       Testing and treatment services performed in connection with an underlying medical condition.
       Testing performed specifically to determine the cause of infertility, as applicable.
       Treatment and/or procedures performed specifically to restore fertility (e.g. procedures to correct an infertility
        condition).
       Treatment and/or procedures performed to enable conception with or without an infertility condition
       Artificial Insemination/Intrauterine insemination, regardless of an infertility condition, In-vitro, GIFT, ZIFT, etc.
       Fertility preservation when an infertility condition is imminent.
       Access to reproductive services for the purpose of pre-implantation genetic diagnosis (PGD) and embryo selection
        when parent(s), though fertile, are known carriers of genes associated with birth defects.
.
    Physician’s Office Visit (Lab and           No charge after the $25 PCP or $40         60 of the Maximum Reimbursable
    Radiology Tests, Counseling)                Specialist per office visit copay          Charge after plan deductible
    Inpatient Facility                          $250 per admission copay, then 80%         $500 per admission deductible, then
                                                after plan deductible                      60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Outpatient Facility                         $200 per visit copay, then 80% after       $400 per visit deductible, then 60%
                                                plan deductible                            of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Physician’s Services                        80% after plan deductible                  60% of the Maximum Reimbursable
                                                                                           Charge after plan deductible
    Cryopreserved Reproductive
    Material Storage Maximum:
    1 year

    Lifetime Maximum:
    $25,000 per member
     In-network and out-of-network
      services accumulate to the one
      maximum
    .




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                        OUT-OF-NETWORK
Transplant Services and Related
Specialty Care
Includes all medically appropriate, non-
experimental transplants
  Physician’s Office Visit                 No charge after the $25 PCP or $40     In-Network coverage only
                                           Specialist per office visit copay
  Inpatient Facility                       100% at LifeSOURCE center after        In-Network coverage only
                                           $250 per admission copay, otherwise
                                           80% after $250 per admission copay
                                           and plan deductible
  Physician’s Services                     100% at LifeSOURCE center,             In-Network coverage only
                                           otherwise 80% after plan deductible
  Lifetime Travel Maximum:                 No charge (only available when         In-Network coverage only
  $10,000 per transplant                   using LifeSOURCE facility)
  .
Durable Medical Equipment
  Calendar Year Maximum:                   80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited
  .                                                                               Charge after plan deductible
Outpatient Dialysis Services
 Physician's Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                           Specialist per office visit copay      Charge after plan deductible
  Outpatient Facility                      $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                           plan deductible                        of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Physician's Services                     80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
  Home Setting                             80% after plan deductible              60% of the Maximum Reimbursable
                                                                                  Charge after plan deductible
Breast Feeding Equipment and
Supplies
  Note:                                    No charge                              60% of the Maximum Reimbursable
  Includes the rental of one breast                                               Charge after plan deductible
  pump per birth as ordered or
  prescribed by a physician. Includes
  related supplies.




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      BENEFIT HIGHLIGHTS                              IN-NETWORK                          OUT-OF-NETWORK
External Prosthetic Appliances
  Calendar Year Maximum:                    80% after plan deductible              60% of the Maximum Reimbursable
  Unlimited                                                                        Charge after plan deductible
  .
Nutritional Counseling
  Calendar Year Maximum:
  3 visits per person however, the 3
  visit limit will not apply to treatment
  of mental health and substance use
  disorder conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
Genetic Counseling
  Calendar Year Maximum:
  3 visits per person for Genetic
  Counseling for both pre- and post-
  genetic testing; however, the 3 visit
  limit will not apply to Mental Health
  and Substance Use Disorder
  conditions.
  Physician’s Office Visit                  No charge after the $25 PCP or $40     60% of the Maximum Reimbursable
                                            Specialist per office visit copay      Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%     $500 per admission deductible, then
                                            after plan deductible                  60% of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after   $400 per visit deductible, then 60%
                                            plan deductible                        of the Maximum Reimbursable
                                                                                   Charge after plan deductible
  Physician’s Services                      80% after plan deductible              60% of the Maximum Reimbursable
  .                                                                                Charge after plan deductible




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       BENEFIT HIGHLIGHTS                              IN-NETWORK                            OUT-OF-NETWORK
Dental Care
Limited to charges made for a
continuous course of dental treatment
started within six months of an injury to
teeth.
   Physician’s Office Visit                 No charge after the $25 PCP or $40        60% of the Maximum Reimbursable
                                            Specialist per office visit copay         Charge after plan deductible
  Inpatient Facility                        $250 per admission copay, then 80%        $500 per admission deductible, then
                                            after plan deductible                     60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      $400 per visit deductible, then 60%
                                            plan deductible                           of the Maximum Reimbursable
                                                                                      Charge after plan deductible
  Physician’s Services                      80% after plan deductible                 60% of the Maximum Reimbursable
                                                                                      Charge after plan deductible
Hearing Aids
  Calendar Year Maximum:                    80% after plan deductible                 60% of the Maximum Reimbursable
  Unlimited                                                                           Charge after plan deductible
Bariatric Surgery
Note:
Subject to any limitations shown in the
“Exclusions, Expenses Not Covered
and General Limitations” section of this
certificate.
  Physician’s Office Visit                  No charge after the $25 PCP or $40        In-Network coverage only
                                            Specialist per office visit copay
  Inpatient Facility                        $250 per admission copay, then 80%        In-Network coverage only
                                            after plan deductible
  Outpatient Facility                       $200 per visit copay, then 80% after      In-Network coverage only
                                            plan deductible
  Physician’s Services                      80% after plan deductible                 In-Network coverage only
Routine Foot Disorders                      Not covered except for services           Not covered except for services
                                            associated with foot care for diabetes,   associated with foot care for diabetes,
                                            peripheral neuropathies and               peripheral neuropathies and
                                            peripheral vascular disease when          peripheral vascular disease when
                                            Medically Necessary.                      Medically Necessary.
Treatment Resulting From Life Threatening Emergencies
Medical treatment required as a result of an emergency, such as a suicide attempt, will be considered a medical expense
until the medical condition is stabilized. Once the medical condition is stabilized, whether the treatment will be
characterized as either a medical expense or a mental health/substance use disorder expense will be determined by the
utilization review Physician in accordance with the applicable mixed services claim guidelines.




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      BENEFIT HIGHLIGHTS                          IN-NETWORK                         OUT-OF-NETWORK
Mental Health
 Inpatient                              $250 per admission copay, then 80%    $500 per admission deductible, then
   Includes Acute Inpatient and         after plan deductible                 60% of the Maximum Reimbursable
   Residential Treatment                                                      Charge after plan deductible

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .
Substance Use Disorder
  Inpatient                             $250 per admission copay, then 80%    $500 per admission deductible, then
    Includes Acute Inpatient            after plan deductible                 60% of the Maximum Reimbursable
    Detoxification, Acute Inpatient                                           Charge after plan deductible
    Rehabilitation and Residential
    Treatment

   Calendar Year Maximum:
   Unlimited
  Outpatient
   Outpatient - Office Visits           $40 per visit copay                   60% of the Maximum Reimbursable
   Includes individual, family and                                            Charge after plan deductible
   group psychotherapy; medication
   management, virtual care, etc.

    Calendar Year Maximum:
    Unlimited
    Outpatient - All Other Services     80% after plan deductible             60% of the Maximum Reimbursable
    Includes Partial Hospitalization,                                         Charge after plan deductible
    Intensive Outpatient Services,
    virtual care, etc.

    Calendar Year Maximum:
    Unlimited
      .




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Open Access Plus Medical Benefits                                       outpatient procedures, including, but not limited to, those
                                                                        listed in this section when performed as an outpatient in a
                                                                        Free-Standing Surgical Facility, Other Health Care Facility or
Certification Requirements - Out-of-Network                             a Physician's office. You or your Dependent should call the
For You and Your Dependents                                             toll-free number on the back of your I.D. card to determine if
Pre-Admission Certification/Continued Stay Review for                   Outpatient Certification is required prior to any outpatient
Hospital Confinement                                                    diagnostic testing or outpatient procedures. Outpatient
                                                                        Certification is performed through a utilization review
Pre-Admission Certification (PAC) and Continued Stay                    program by a Review Organization with which Cigna has
Review (CSR) refer to the process used to certify the Medical           contracted. Outpatient Certification should only be requested
Necessity and length of a Hospital Confinement when you or              for non-emergency procedures or services, and should be
your Dependent require treatment in a Hospital:                         requested by you or your Dependent at least four working
   as a registered bed patient, except for 48/96 hour maternity        days (Monday through Friday) prior to having the procedure
    stays;                                                              performed or the service rendered.
   for Mental Health or Substance Use Disorder Residential             Covered Expenses incurred will be reduced by 50% for
    Treatment Services.                                                 charges made for any outpatient diagnostic testing or
You or your Dependent should request PAC prior to any non-              outpatient procedure performed unless Outpatient Certification
emergency treatment in a Hospital described above. In the               is received prior to the date the testing or procedure is
case of an emergency admission, you should contact the                  performed.
Review Organization within 48 hours after the admission. For            Covered Expenses incurred will not include expenses incurred
an admission due to pregnancy, you should call the Review               for charges made for outpatient diagnostic testing or outpatient
Organization by the end of the third month of pregnancy. CSR            procedures for which Outpatient Certification was performed,
should be requested, prior to the end of the certified length of        but, which was not certified as Medically Necessary.
stay, for continued Hospital Confinement.                               In any case, those expenses incurred for which payment is
Covered Expenses incurred will be reduced by 50% for                    excluded by the terms set forth above will not be considered as
Hospital charges made for each separate admission to the                expenses incurred for the purpose of any other part of this
Hospital unless PAC is received: prior to the date of                   plan, except for the "Coordination of Benefits" section.
admission; or in the case of an emergency admission, within             Outpatient Diagnostic Testing and Outpatient Procedures
48 hours after the date of admission.
                                                                        Including, but not limited to:
Covered Expenses incurred for which benefits would
otherwise be payable under this plan for the charges listed                Advanced radiological imaging – CT Scans, MRI, MRA or
below will not include:                                                     PET scans.
   Hospital charges for Bed and Board, for treatment listed               Home Health Care Services.
    above for which PAC was performed, which are made for                  Medical Pharmaceuticals.
    any day in excess of the number of days certified through              Radiation Therapy.
    PAC or CSR; and
   any Hospital charges for treatment listed above for which
                                                                        HC-PAC122                                                    01-21
    PAC was requested, but which was not certified as
    Medically Necessary.
PAC and CSR are performed through a utilization review
program by a Review Organization with which Cigna has                   Prior Authorization/Pre-Authorized
contracted.                                                             The term Prior Authorization means the approval that a
In any case, those expenses incurred for which payment is               Participating Provider must receive from the Review
excluded by the terms set forth above will not be considered as         Organization, prior to services being rendered, in order for
expenses incurred for the purpose of any other part of this             certain services and benefits to be covered under this policy.
plan, except for the "Coordination of Benefits" section.                Services that require Prior Authorization include, but are not
Outpatient Certification Requirements – Out-of-Network                  limited to:
Outpatient Certification refers to the process used to certify             inpatient Hospital services, except for 48/96 hour maternity
the Medical Necessity of outpatient diagnostic testing and                  stays.



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   inpatient services at any participating Other Health Care                   charges for outpatient medical care and treatment received
    Facility.                                                                    at a Free-Standing Surgical Facility.
   residential treatment.                                                      charges for Emergency Services.
   outpatient facility services.                                               charges for Urgent Care.
   partial hospitalization.                                                    charges by a Physician or a Psychologist for professional
   intensive outpatient programs.                                               services.
   advanced radiological imaging.                                              charges by a Nurse for professional nursing service.
   non-emergency Ambulance.                                                    charges for anesthetics, including, but not limited to
                                                                                 supplies and their administration.
   certain Medical Pharmaceuticals.
                                                                                charges for diagnostic x-ray.
   home health care services.
                                                                                charges for advanced radiological imaging, including for
   radiation therapy.                                                           example CT Scans, MRI, MRA and PET scans and
   transplant services.                                                         laboratory examinations, x-ray, radiation therapy and
                                                                                 radium and radioactive isotope treatment and other
                                                                                 therapeutic radiological procedures.
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                                                                                charges for chemotherapy.
                                                                                charges for blood transfusions.
Covered Expenses                                                                charges for oxygen and other gases and their administration.
The term Covered Expenses means expenses incurred by a                          charges for Medically Necessary foot care for diabetes,
person while covered under this plan for the charges listed                      peripheral neuropathies, and peripheral vascular disease.
below for:                                                                      charges for screening prostate-specific antigen (PSA)
   preventive care services; and                                                testing.
   services or supplies that are Medically Necessary for the                   charges for laboratory services, radiation therapy and other
    care and treatment of an Injury or a Sickness, as determined                 diagnostic and therapeutic radiological procedures.
    by Cigna.                                                                   charges made for Family Planning, including medical
As determined by Cigna, Covered Expenses may also include                        history, physical exam, related laboratory tests, medical
all charges made by an entity that has directly or indirectly                    supervision in accordance with generally accepted medical
contracted with Cigna to arrange, through contracts with                         practices, other medical services, information and
providers of services and/or supplies, for the provision of any                  counseling on contraception, implanted/injected
services and/or supplies listed below. Any applicable                            contraceptives, after appropriate counseling, medical
Copayments, Deductibles or limits are shown in The                               services connected with surgical therapies (tubal ligations,
Schedule.                                                                        vasectomies).
Covered Expenses                                                                charges for the following preventive care services as
 charges for inpatient Room and Board and other Necessary
                                                                                 defined by recommendations from the following:
  Services and Supplies made by a Hospital, subject to the                        the U.S. Preventive Services Task Force (A and B
  limits as shown in The Schedule.                                                 recommendations);
   charges for inpatient Room and Board and other Necessary                      the Advisory Committee on Immunization Practices
    Services and Supplies made by an Other Health Care                             (ACIP) for immunizations;
    Facility, including a Skilled Nursing Facility, a                             the American Academy of Pediatrics’ Periodicity
    Rehabilitation Hospital or a subacute facility as shown in                     Schedule of the Bright Futures Recommendations for
    The Schedule.                                                                  Pediatric Preventive Health Care;
   charges for licensed Ambulance service to the nearest                         the Uniform Panel of the Secretary’s Advisory Committee
    Hospital where the needed medical care and treatment can                       on Heritable Disorders in Newborns and Children; and
    be provided.
                                                                                  with respect to women, evidence-informed preventive
   charges for outpatient medical care and treatment received                     care and screening guidelines supported by the Health
    at a Hospital.                                                                 Resources and Services Administration.




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    Detailed information is available at www.healthcare.gov.             Internal Prosthetic/Medical Appliances
    For additional information on immunizations, visit the               Charges for internal prosthetic/medical appliances that provide
    immunization schedule section of www.cdc.gov.                        permanent or temporary internal functional supports for non-
   charges for surgical and non-surgical treatment of                   functional body parts are covered. Medically Necessary repair,
    Temporomandibular Joint Dysfunction (TMJ).                           maintenance or replacement of a covered appliance is also
   charges for acupuncture.                                             covered.
   charges for hearing aids and associated exam for device
    testing and fitting, including but not limited to semi-              HC-COV1122                                                       01-22
    implantable hearing devices, audiant bone conductors and
    Bone Anchored Hearing Aids (BAHAs). A hearing aid is
                                                                         Home Health Care Services
    any device that amplifies sound.
                                                                         Charges for skilled care provided by certain health care
   Medically Necessary orthognathic surgery to repair or
                                                                         providers during a visit to the home, when the home is
    correct a severe facial deformity or disfigurement.
                                                                         determined to be a medically appropriate setting for the
Virtual Care                                                             services. A visit is defined as a period of 2 hours or less.
Dedicated Virtual Providers                                              Home Health Care Services are subject to a maximum of 16
Charges for the delivery of medical and health-related services          hours in total per day.
and consultations by dedicated virtual providers as medically            Home Health Care Services are covered when skilled care is
appropriate through audio, video, and secure internet-based              required under any of the following conditions:
technologies.                                                               the required skilled care cannot be obtained in an outpatient
Virtual Physician Services                                                   facility.
Charges for the delivery of medical and health-related services             confinement in a Hospital or Other Health Care Facility is
and consultations as medically appropriate through audio,                    not required.
video, and secure internet-based technologies that are similar              the patient’s home is determined by Cigna to be the most
to office visit services provided in a face-to-face setting.                 medically appropriate place to receive specific services.
Charges for behavioral consultations and services via secure             Covered services include:
telecommunications technologies that shall include video
                                                                            skilled nursing services provided by a Registered Nurse
capability, including telephones and internet, when delivered
                                                                             (RN), Licensed Practical Nurse (LPN), Licensed Vocational
through a behavioral provider.
                                                                             Nurse (LVN) and an Advanced Practice Registered Nurse
Convenience Care Clinic                                                      (APRN).
Convenience Care Clinics provide for common ailments and                    services provided by health care providers such as physical
routine services, including but not limited to, strep throat, ear            therapist, occupational therapist and speech therapist.
infections or pink eye, immunizations and flu shots.
                                                                            services of a home health aide when provided in direct
Nutritional Counseling                                                       support of those nurses and health care providers.
Charges for nutritional counseling when diet is a part of the               necessary consumable medical supplies and home infusion
medical management of a medical or behavioral condition.                     therapy administered or used by a health care provider.
Enteral Nutrition                                                        Note: Physical, occupational, and other Outpatient Therapy
Enteral Nutrition means medical foods that are specially                 Services provided in the home are covered under the
formulated for enteral feedings or oral consumption.                     Outpatient Therapy Services benefit shown in The Schedule.
Coverage includes medically approved formulas prescribed by              The following are excluded from coverage:
a Physician for treatment of inborn errors of metabolism (e.g.,             services provided by a person who is a member of the
disorders of amino acid or organic acid metabolism).                         patient’s family, even when that person is a health care
                                                                             provider.
                                                                            services provided by a person who normally resides in the
                                                                             patient’s house, even when that person is a health care
                                                                             provider.
                                                                            non-skilled care, Custodial Services, and assistance in the
                                                                             activities of daily living, including but not limited to eating,



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    bathing, dressing or other services; self-care activities;                   services for any period when you or your Dependent is not
    homemaker services; and services primarily for rest,                          under the care of a Physician;
    domiciliary or convalescent care.                                            services or supplies not listed in the Hospice Care Program;
Home Health Care Services, for a patient who is dependent                        to the extent that any other benefits are payable for those
upon others for non-skilled care and/or Custodial Services, is                    expenses under the policy;
provided only when there is a family member or caregiver
present in the home at the time of the health care visit to                      services or supplies that are primarily to aid you or your
provide the non-skilled care and/or Custodial Services.                           Dependent in daily living.


                                                                              HC-COV1180                                                        01-22
HC-COV1123                                                       01-22



Hospice Care Services                                                         Mental Health and Substance Use Disorder Services
Charges for services for a person diagnosed with advanced                     Mental Health Services are services that are required to treat
illness having a life expectancy of twelve or fewer months.                   a disorder that impairs the behavior, emotional reaction or
Services provided by a Hospice Care Program are available to                  thought processes. In determining benefits payable, charges
those who have ceased treatment and to those continuing to                    made for the treatment of any physiological conditions related
receive curative treatment and therapies.                                     to Mental Health will not be considered to be charges made
                                                                              for treatment of Mental Health.
Hospice Care Programs rendered by Hospice Facilities or
Hospitals include services:                                                   Substance Use Disorder is defined as the psychological or
                                                                              physical dependence on alcohol or other mind-altering drugs
   by a Hospice Facility for Room and Board and Services and                 that requires diagnosis, care, and treatment. In determining
    Supplies;                                                                 benefits payable, charges made for the treatment of any
   by a Hospice Facility for services provided on an outpatient              physiological conditions related to rehabilitation services for
    basis;                                                                    alcohol or drug abuse or addiction will not be considered to be
   by a Physician for professional services;                                 charges made for treatment of Substance Use Disorder.
   by a Psychologist, social worker, family counselor or                     Inpatient Mental Health Services
    ordained minister for individual and family counseling;                   Services that are provided by a Hospital while you or your
   for pain relief treatment, including drugs, medicines and                 Dependent is Confined in a Hospital for the treatment and
    medical supplies;                                                         evaluation of Mental Health. Inpatient Mental Health Services
                                                                              include Mental Health Residential Treatment Services.
Hospice Care Programs rendered by Other Health Care
Facilities or in the Home include services:                                   Mental Health Residential Treatment Services are services
                                                                              provided by a Hospital for the evaluation and treatment of the
   for part-time or intermittent nursing care by or under the                psychological and social functional disturbances that are a
    supervision of a Nurse;                                                   result of subacute Mental Health conditions.
   for part-time or intermittent services of an Other Health                 Mental Health Residential Treatment Center means an
    Professional;                                                             institution which specializes in the treatment of psychological
   physical, occupational and speech therapy;                                and social disturbances that are the result of Mental Health
   medical supplies;                                                         conditions; provides a subacute, structured, psychotherapeutic
                                                                              treatment program, under the supervision of Physicians;
   drugs and medicines lawfully dispensed only on the written                provides 24-hour care, in which a person lives in an open
    prescription of a Physician;                                              setting; and is licensed in accordance with the laws of the
   laboratory services;                                                      appropriate legally authorized agency as a residential
    but only to the extent such charges would have been                       treatment center.
    payable under the policy if the person had remained or been               A person is considered confined in a Mental Health
    Confined in a Hospital or Hospice Facility.                               Residential Treatment Center when she/he is a registered bed
The following charges for Hospice Care Services are not                       patient in a Mental Health Residential Treatment Center upon
included as Covered Expenses:                                                 the recommendation of a Physician.
   services of a person who is a member of your family or your
    Dependent's family or who normally resides in your house
    or your Dependent's house;


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Outpatient Mental Health Services                                      patient in a Substance Use Disorder Residential Treatment
Services of Providers who are qualified to treat Mental Health         Center upon the recommendation of a Physician.
when treatment is provided on an outpatient basis, while you           Outpatient Substance Use Disorder Rehabilitation Services
or your Dependent is not Confined in a Hospital, and is                Services provided for the diagnosis and treatment of
provided in an individual, group or Mental Health Partial              Substance Use Disorder or addiction to alcohol and/or drugs,
Hospitalization or Intensive Outpatient Therapy Program.               while you or your Dependent is not Confined in a Hospital,
Covered services include, but are not limited to, outpatient           including outpatient rehabilitation in an individual, or a
treatment of conditions such as: anxiety or depression which           Substance Use Disorder Partial Hospitalization or Intensive
interfere with daily functioning; emotional adjustment or              Outpatient Therapy Program.
concerns related to chronic conditions, such as psychosis or
depression; emotional reactions associated with marital                Substance Use Disorder Partial Hospitalization Services are
problems or divorce; child/adolescent problems of conduct or           rendered no less than 4 hours and not more than 12 hours in
poor impulse control; affective disorders; suicidal or                 any 24-hour period by a certified/licensed Substance Use
homicidal threats or acts; eating disorders; or acute                  Disorder program in accordance with the laws of the
exacerbation of chronic Mental Health conditions (crisis               appropriate legally authorized agency.
intervention and relapse prevention) and outpatient testing and        A Substance Use Disorder Intensive Outpatient Therapy
assessment.                                                            Program consists of distinct levels or phases of treatment that
Mental Health Partial Hospitalization Services are rendered            are provided by a certified/licensed Substance Use Disorder
not less than 4 hours and not more than 12 hours in any 24-            program in accordance with the laws of the appropriate legally
hour period by a certified/licensed Mental Health program in           authorized agency. Intensive Outpatient Therapy Programs
accordance with the laws of the appropriate legally authorized         provide a combination of individual, family and/or group
agency.                                                                therapy in a day, totaling nine, or more hours in a week.
A Mental Health Intensive Outpatient Therapy Program                   Substance Use Disorder Detoxification Services
consists of distinct levels or phases of treatment that are            Detoxification and related medical ancillary services are
provided by a certified/licensed Mental Health program in              provided when required for the diagnosis and treatment of
accordance with the laws of the appropriate, legally authorized        addiction to alcohol and/or drugs. Cigna will decide, based on
agency. Intensive Outpatient Therapy Programs provide a                the Medical Necessity of each situation, whether such services
combination of individual, family and/or group therapy in a            will be provided in an inpatient or outpatient setting.
day, totaling nine or more hours in a week.                            Exclusions
Inpatient Substance Use Disorder Rehabilitation Services               The following are specifically excluded from Mental Health
Services provided for rehabilitation, while you or your                and Substance Use Disorder Services:
Dependent is Confined in a Hospital, when required for the                treatment of disorders which have been diagnosed as
diagnosis and treatment of abuse or addiction to alcohol and/or            organic mental disorders associated with permanent
drugs. Inpatient Substance Use Disorder Services include                   dysfunction of the brain.
Residential Treatment services.
                                                                          developmental disorders, including but not limited to,
Substance Use Disorder Residential Treatment Services                      developmental reading disorders, developmental arithmetic
are services provided by a Hospital for the evaluation and                 disorders, developmental language disorders or
treatment of the psychological and social functional                       developmental articulation disorders.
disturbances that are a result of subacute Substance Use
                                                                          counseling for activities of an educational nature.
Disorder conditions.
                                                                          counseling for borderline intellectual functioning.
Substance Use Disorder Residential Treatment Center
means an institution which specializes in the treatment of                counseling for occupational problems.
psychological and social disturbances that are the result of              counseling related to consciousness raising.
Substance Use Disorder; provides a subacute, structured,
                                                                          vocational or religious counseling.
psychotherapeutic treatment program, under the supervision of
Physicians; provides 24-hour care, in which a person lives in             I.Q. testing.
an open setting; and is licensed in accordance with the laws of           custodial care, including but not limited to geriatric day
the appropriate legally authorized agency as a residential                 care.
treatment center.
                                                                          psychological testing on children requested by or for a
A person is considered confined in a Substance Use Disorder                school system.
Residential Treatment Center when she/he is a registered bed


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   occupational/recreational therapy programs even if                             External Prosthetic Appliances and Devices
    combined with supportive therapy for age-related cognitive                      charges made or ordered by a Physician for: the initial
    decline.                                                                         purchase and fitting of external prosthetic appliances and
                                                                                     devices available only by prescription which are necessary
HC-COV481                                                             12-15
                                                                                     for the alleviation or correction of Injury, Sickness or
                                                                                     congenital defect.
                                                                                   External prosthetic appliances and devices include
Durable Medical Equipment
                                                                                   prostheses/prosthetic appliances and devices; orthoses and
 charges made for purchase or rental of Durable Medical                           orthotic devices; braces; and splints.
  Equipment that is ordered or prescribed by a Physician and
                                                                                   Prostheses/Prosthetic Appliances and Devices
  provided by a vendor approved by Cigna for use outside a
  Hospital or Other Health Care Facility. Coverage for repair,                     Prostheses/prosthetic appliances and devices are defined as
  replacement or duplicate equipment is provided only when                         fabricated replacements for missing body parts.
  required due to anatomical change and/or reasonable wear                         Prostheses/prosthetic appliances and devices include, but are
  and tear. All maintenance and repairs that result from a                         not limited to:
  person’s misuse are the person’s responsibility.                                    limb prostheses;
Durable Medical Equipment is defined as items which are                               terminal devices such as hands or hooks;
designed for and able to withstand repeated use by more than                          speech prostheses; and
one person; customarily serve a medical purpose; generally
are not useful in the absence of Injury or Sickness; are                              facial prostheses.
appropriate for use in the home; and are not disposable. Such                      Orthoses and Orthotic Devices
equipment includes, but is not limited to, crutches, hospital                      Orthoses and orthotic devices are defined as orthopedic
beds, ventilators, insulin pumps and wheel chairs.                                 appliances or apparatuses used to support, align, prevent or
Durable Medical Equipment items that are not covered include                       correct deformities. Coverage is provided for custom foot
but are not limited to those that are listed below:                                orthoses and other orthoses as follows:
   Bed Related Items: bed trays, over the bed tables, bed                            Non-foot orthoses – only the following non-foot orthoses
    wedges, pillows, custom bedroom equipment, mattresses,                             are covered:
    including nonpower mattresses, custom mattresses and                                rigid and semi-rigid custom fabricated orthoses;
    posturepedic mattresses.
                                                                                        semi-rigid prefabricated and flexible orthoses; and
   Bath Related Items: bath lifts, nonportable whirlpools,
    bathtub rails, toilet rails, raised toilet seats, bath benches,                     rigid prefabricated orthoses including preparation, fitting
    bath stools, hand held showers, paraffin baths, bath mats,                           and basic additions, such as bars and joints.
    and spas.                                                                         Custom foot orthoses – custom foot orthoses are only
   Fixtures to Real Property: ceiling lifts and wheelchair                            covered as follows:
    ramps.                                                                              for persons with impaired peripheral sensation and/or
 Car/Van Modifications.                                                                 altered peripheral circulation (e.g. diabetic neuropathy
                                                                                         and peripheral vascular disease);
 Air Quality Items: room humidifiers, vaporizers and air
                                                                                        when the foot orthosis is an integral part of a leg brace
  purifiers.
                                                                                         and is necessary for the proper functioning of the brace;
   Other Equipment: centrifuges, needleless injectors, heat
    lamps, heating pads, cryounits, cryotherapy machines,                               when the foot orthosis is for use as a replacement or
    ultraviolet cabinets, that emit Ultraviolet A (UVA) rays                             substitute for missing parts of the foot (e.g. amputated
    sheepskin pads and boots, postural drainage board, AC/DC                             toes) and is necessary for the alleviation or correction of
    adaptors, scales (baby and adult), stair gliders, elevators,                         Injury, Sickness or congenital defect; and
    saunas, cervical and lumbar traction devices, exercise                              for persons with neurologic or neuromuscular condition
    equipment and diathermy machines.                                                    (e.g. cerebral palsy, hemiplegia, spina bifida) producing
                                                                                         spasticity, malalignment, or pathological positioning of
                                                                                         the foot and there is reasonable expectation of
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                                                                                         improvement.




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The following are specifically excluded orthoses and orthotic              myoelectric and orthoses.
devices:
   prefabricated foot orthoses;                                        HC-COV1125                                                       01-22
   cranial banding and/or cranial orthoses. Other similar
    devices are excluded except when used postoperatively for
                                                                        Infertility Services
    synostotic plagiocephaly. When used for this indication, the
    cranial orthosis will be subject to the limitations and              charges made for services related to diagnosis of infertility
    maximums of the External Prosthetic Appliances and                    and treatment of infertility once a condition of infertility has
    Devices benefit;                                                      been diagnosed. Services include, but are not limited to:
                                                                          infertility drugs which are administered or provided by a
   orthosis shoes, shoe additions, procedures for foot
                                                                          Physician; approved surgeries and other therapeutic
    orthopedic shoes, shoe modifications and transfers;
                                                                          procedures that have been demonstrated in existing peer-
   non-foot orthoses primarily used for cosmetic rather than             reviewed, evidence-based, scientific literature to have a
    functional reasons; and                                               reasonable likelihood of resulting in pregnancy; laboratory
   non-foot orthoses primarily for improved athletic                     tests; sperm washing or preparation; artificial insemination;
    performance or sports participation.                                  diagnostic evaluations; gamete intrafallopian transfer
Braces                                                                    (GIFT); in vitro fertilization (IVF); zygote intrafallopian
                                                                          transfer (ZIFT); and the services of an embryologist.
A Brace is defined as an orthosis or orthopedic appliance that
supports or holds in correct position any movable part of the               Infertility is defined as:
body and that allows for motion of that part.                                the inability of opposite-sex partners to achieve
The following braces are specifically excluded: Copes                         conception after at least one year of unprotected
scoliosis braces.                                                             intercourse;
                                                                             the inability of opposite-sex partners to achieve
Splints
                                                                              conception after six months of unprotected intercourse,
A Splint is defined as an appliance for preventing movement                   when the female partner trying to conceive is age 35 or
of a joint or for the fixation of displaced or movable parts.                 older;
Coverage for replacement of external prosthetic appliances                   the inability of a woman, with or without an opposite-sex
and devices is limited to the following:                                      partner, to achieve conception after at least six trials of
   replacement due to regular wear. Replacement for damage                   medically supervised artificial insemination over a one-
    due to abuse or misuse by the person will not be covered.                 year period; and
   replacement required because anatomic change has rendered                the inability of a woman, with or without an opposite-sex
    the external prosthetic appliance or device ineffective.                  partner, to achieve conception after at least three trials of
    Anatomic change includes significant weight gain or loss,                 medically supervised artificial insemination over a six-
    atrophy and/or growth.                                                    month period of time, when the female partner trying to
   replacement due to a surgical alteration or revision of the               conceive is age 35 or older.
    impacted site.                                                      This benefit includes diagnosis and treatment of both male and
Coverage for replacement is limited as follows:                         female infertility.
   no more than once every 24 months for persons 19 years of           However, the following are specifically excluded infertility
    age and older.                                                      services:
   no more than once every 12 months for persons 18 years of              reversal of male and female voluntary sterilization;
    age and under.                                                         infertility services when the infertility is caused by or
The following are specifically excluded external prosthetic                 related to voluntary sterilization;
appliances and devices:                                                    donor charges and services;
   external and internal power enhancements for external                  cryopreservation of donor sperm and eggs; and
    prosthetic devices; or                                                 any experimental, investigational or unproven infertility
   microprocessor controlled prostheses and orthoses; and                  procedures or therapies.


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                                                                            Coverage is provided as part of a program of treatment when
Outpatient Therapy Services                                                 the following criteria are met:
Charges for the following therapy services:                                    The individual’s condition has the potential to improve or is
                                                                                improving in response to therapy, and maximum
Cognitive Therapy, Occupational Therapy, Osteopathic                            improvement is yet to be attained.
Manipulation, Physical Therapy, Pulmonary
Rehabilitation, Speech Therapy                                                 There is an expectation that the anticipated improvement is
                                                                                attainable in a reasonable and generally predictable period
 Charges for therapy services are covered when provided as
                                                                                of time.
  part of a program of treatment.
                                                                               The therapy is provided by, or under the direct supervision
Cardiac Rehabilitation                                                          of, a licensed health care professional acting within the
 Charges for Phase II cardiac rehabilitation provided on an                    scope of the license.
  outpatient basis following diagnosis of a qualifying cardiac                 The therapy is Medically Necessary and medically
  condition when Medically Necessary. Phase II is a Hospital-                   appropriate for the diagnosed condition.
  based outpatient program following an inpatient Hospital
  discharge. The Phase II program must be Physician directed                Coverage for occupational therapy is provided only for
  with active treatment and EKG monitoring.                                 purposes of enabling individuals to perform the activities of
                                                                            daily living after an Injury or Sickness.
    Phase III and Phase IV cardiac rehabilitation is not covered.
    Phase III follows Phase II and is generally conducted at a              Therapy services that are not covered include:
    recreational facility primarily to maintain the patient’s status           sensory integration therapy.
    achieved through Phases I and II. Phase IV is an                           treatment of dyslexia.
    advancement of Phase III which includes more active
    participation and weight training.                                         maintenance or preventive treatment provided to prevent
                                                                                recurrence or to maintain the patient’s current status.
Chiropractic Care Services
                                                                               charges for Chiropractic Care not provided in an office
 Charges for diagnostic and treatment services utilized in an                  setting.
  office setting by chiropractic Physicians. Chiropractic
  treatment includes the conservative management of acute                      vitamin therapy.
  neuromusculoskeletal conditions through manipulation and                  Coverage is administered according to the following:
  ancillary physiological treatment rendered to specific joints                Multiple therapy services provided on the same day
  to restore motion, reduce pain, and improve function. For                     constitute one day of service for each therapy type.
  these services you have direct access to qualified
  chiropractic Physicians.                                                     A separate Copayment applies to the services provided by
                                                                                each provider for each therapy type per day.
Coverage is provided when Medically Necessary in the most
medically appropriate setting to:
                                                                            HC-COV982                                                     01-21
   Restore function (called “rehabilitative”):
     To restore function that has been impaired or lost.
                                                                            Breast Reconstruction and Breast Prostheses
     To reduce pain as a result of Sickness, Injury, or loss of a
                                                                             charges made for reconstructive surgery following a
      body part.
                                                                              mastectomy; benefits include: surgical services for
   Improve, adapt or attain function (sometimes called                       reconstruction of the breast on which surgery was
    “habilitative”):                                                          performed; surgical services for reconstruction of the non-
     To improve, adapt or attain function that has been                      diseased breast to produce symmetrical appearance;
      impaired or was never achieved as a result of congenital                postoperative breast prostheses; and mastectomy bras and
      abnormality (birth defect).                                             prosthetics, limited to the lowest cost alternative available
                                                                              that meets prosthetic placement needs. During all stages of
     To improve, adapt or attain function that has been
                                                                              mastectomy, treatment of physical complications, including
      impaired or was never achieved because of mental health
                                                                              lymphedema therapy, are covered.
      and substance use disorder conditions. Includes
      conditions such as autism and intellectual disability, or             Reconstructive Surgery
      mental health and substance use disorder conditions that               charges made for reconstructive surgery or therapy to repair
      result in a developmental delay.                                        or correct a severe physical deformity or disfigurement
                                                                              which is accompanied by functional deficit; (other than



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    abnormalities of the jaw or conditions related to TMJ                    Coverage for organ procurement costs are limited to costs
    disorder) provided that: the surgery or therapy restores or              directly related to the procurement of an organ, from a cadaver
    improves function; reconstruction is required as a result of             or a live donor. Organ procurement costs shall consist of
    Medically Necessary, non-cosmetic surgery; or the surgery                hospitalization and surgery necessary for removal of an organ
    or therapy is performed prior to age 19 and is required as a             and transportation of a live donor (refer to Transplant and
    result of the congenital absence or agenesis (lack of                    Related Specialty Care Travel Services). Compatibility testing
    formation or development) of a body part. Repeat or                      undertaken prior to procurement is covered if Medically
    subsequent surgeries for the same condition are covered                  Necessary. Costs related to the search for, and identification of
    only when there is the probability of significant additional             a bone marrow or stem cell donor for an allogeneic transplant
    improvement as determined by the utilization review                      are also covered.
    Physician.                                                               Advanced cellular therapy, including but not limited to,
                                                                             immune effector cell therapies and Chimeric Antigen Receptor
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                                                                             Therapy (CAR-T) cellular therapy, is covered when performed
                                                                             at a Cigna LifeSOURCE Transplant Network® facility with
                                                                             an approved stem cell transplant program. Advanced cellular
Transplant Services and Related Specialty Care                               therapy received at Participating Provider facilities
Charges made for human organ and tissue transplant services                  specifically contracted with Cigna for advanced cellular
which include solid organ and bone marrow/stem cell                          therapy, other than Cigna LifeSOURCE Transplant Network®
procedures at designated facilities throughout the United                    facilities, are payable at the In-Network level. Advanced
States or its territories. This coverage is subject to the                   cellular therapy received at any other facility, including non-
following conditions and limitations.                                        Participating Provider facilities and Participating Provider
                                                                             facilities not specifically contracted with Cigna for advanced
Transplant services include the recipient’s medical, surgical
                                                                             cellular therapy, are not covered.
and Hospital services; inpatient immunosuppressive
medications; and costs for organ or bone marrow/stem cell                    Transplant and Related Specialty Care Travel Services
procurement. Transplant services are covered only if they are                Charges made for non-taxable travel expenses incurred by you
required to perform any of the following human to human                      in connection with a preapproved organ/tissue transplant are
organ or tissue transplants: allogeneic bone marrow/stem cell,               covered subject to the following conditions and limitations:
autologous bone marrow/stem cell, cornea, heart, heart/lung,
                                                                                Transplant and related specialty care travel benefits are not
kidney, kidney/pancreas, liver, lung, pancreas or intestine
                                                                                 available for cornea transplants.
which includes small bowel-liver or multi-visceral.
Implantation procedures are also covered for artificial heart,                  Benefits for transportation and lodging are available to the
percutaneous ventricular assist device (PVAD), extracorporeal                    recipient of a preapproved organ/tissue transplant and/or
membrane oxygenation (ECMO) ventricular assist device                            related specialty care from a designated Cigna
(VAD) and intra-aortic balloon pump (IABP) are also covered.                     LifeSOURCE Transplant Network® facility.
   All transplant services and related specialty care services,                The term recipient is defined to include a person receiving
    other than cornea transplants, are covered when received at                  authorized transplant related services during any of the
    Cigna LifeSOURCE Transplant Network® facilities.                             following: evaluation, candidacy, transplant event, or post-
                                                                                 transplant care.
   Transplant services and related specialty care services
    received at Participating Provider facilities specifically                  Travel expenses for the person receiving the transplant will
    contracted with Cigna for those transplant services and                      include charges for: transportation to and from the
    related specialty care services, other than Cigna                            designated Cigna LifeSOURCE Transplant Network®
    LifeSOURCE Transplant Network® facilities, are payable                       facility (including charges for a rental car used during a
    at the In-Network level.                                                     period of care at the designated Cigna LifeSOURCE
                                                                                 Transplant Network® facility); and lodging while at, or
   Transplant services and related specialty care services
                                                                                 traveling to and from, the designated Cigna LifeSOURCE
    received at any other facility, including non-Participating
                                                                                 Transplant Network® facility.
    Provider facilities and Participating Provider facilities not
    specifically contracted with Cigna for transplant services                  In addition to your coverage for the charges associated with
    and related specialty care services, are not covered.                        the items above, such charges will also be considered
                                                                                 covered travel expenses for one companion to accompany
   Cornea transplants received at a facility that is specifically
                                                                                 you. The term companion includes your spouse, a member
    contracted with Cigna for this type of transplant are payable
                                                                                 of your family, your legal guardian, or any person not
    at the In-Network level.



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    related to you, but actively involved as your caregiver who             requirements should apply. Economic factors may include, but
    is at least 18 years of age.                                            are not limited to, the Medical Pharmaceutical’s cost
   The following are specifically excluded travel expenses: any            including, but not limited to, assessments on the cost
    expenses that if reimbursed would be taxable income, travel             effectiveness of the Medical Pharmaceuticals and available
    costs incurred due to travel within 60 miles of your home;              rebates. Regardless of its eligibility for coverage under your
    food and meals; laundry bills; telephone bills; alcohol or              plan, whether a particular Prescription Drug Product is
    tobacco products; and charges for transportation that exceed            appropriate for you or any of your Dependents is a
    coach class rates.                                                      determination that is made by you (or your Dependent) and
                                                                            the prescribing Physician.
These benefits for Transplant Services and Related Specialty
Care, and for Transplant and Related Specialty Care Travel                  The coverage criteria for a Medical Pharmaceutical may
Services are only available when the covered person is the                  change periodically for various reasons. For example, a
recipient of an organ/tissue transplant. Travel expenses for the            Medical Pharmaceutical may be removed from the market, a
designated live donor for a covered recipient are covered                   new Medical Pharmaceutical in the same therapeutic class as a
subject to the same conditions and limitations noted above.                 Medical Pharmaceutical may become available, or other
Charges for the expenses of a donor companion are not                       market events may occur. Market events that may affect the
covered. No transplant and related specialty care services or               coverage status of a Medical Pharmaceutical include, but are
travel benefits are available when the covered person is the                not limited to, an increase in the cost of a Medical
donor for an organ/tissue transplant, the transplant recipient’s            Pharmaceutical.
plan would cover all donor costs.
                                                                            HC-COV1168                                                     01-22

HC-COV1126                                                     01-22
                                                                            Gene Therapy
Medical Pharmaceuticals                                                     Charges for gene therapy products and services directly
                                                                            related to their administration are covered when Medically
The plan covers charges made for Medical Pharmaceuticals                    Necessary. Gene therapy is a category of pharmaceutical
that are administered in an Inpatient setting, Outpatient                   products approved by the U.S. Food and Drug Administration
setting, Physician’s office, or in a covered person's home.                 (FDA) to treat or cure a disease by:
Benefits under this section are provided only for Medical                      replacing a disease-causing gene with a healthy copy of the
Pharmaceuticals which, due to their characteristics (as                         gene.
determined by Cigna), are required to be administered, or the
administration of which must be directly supervised, by a                      inactivating a disease-causing gene that may not be
qualified Physician or Other Health Professional. Benefits                      functioning properly.
payable under this section include Medical Pharmaceuticals                     introducing a new or modified gene into the body to help
whose administration may initially, or typically, require                       treat a disease.
Physician or Other Health Professional oversight but may be                 Each gene therapy product is specific to a particular disease
self-administered under certain conditions specified in the                 and is administered in a specialized manner. Cigna determines
product’s FDA labeling.                                                     which products are in the category of gene therapy, based in
Certain Medical Pharmaceuticals are subject to prior                        part on the nature of the treatment and how it is distributed
authorization requirements or other coverage conditions.                    and administered.
Additionally, certain Medical Pharmaceuticals are subject to                Coverage includes the cost of the gene therapy product;
step therapy requirements. This means that in order to receive              medical, surgical, and facility services directly related to
benefits for such Medical Pharmaceuticals, you are required to              administration of the gene therapy product; and professional
try a different Medical Pharmaceutical and/or Prescription                  services.
Drug Product first.
                                                                            Gene therapy products and their administration are covered
Utilization management requirements or other coverage                       when prior authorized to be received at In-Network facilities
conditions are based on a number of factors, which may                      specifically contracted with Cigna for the specific gene
include clinical and economic factors. Clinical factors may                 therapy service. Gene therapy products and their
include, but are not limited to, the P&T Committee’s                        administration received at other facilities are not covered.
evaluations of the place in therapy, relative safety or relative
efficacy of Medical Pharmaceuticals as well as whether
certain supply limits or other utilization management



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Gene Therapy Travel Services                                                 The clinical trial must be a phase I, phase II, phase III, or
Charges made for non-taxable travel expenses incurred by you                 phase IV clinical trial conducted in relation to the prevention,
in connection with a prior authorized gene therapy procedure                 detection, or treatment of cancer or other life-threatening
are covered subject to the following conditions and                          disease or condition that meets any of the following criteria:
limitations.                                                                    it is a federally funded trial. The study or investigation is
Benefits for transportation and lodging are available to you                     approved or funded (which may include funding through in-
only when you are the recipient of a prior authorized gene                       kind contributions) by one or more of the following:
therapy; and when the gene therapy products and services                          National Institutes of Health (NIH).
directly related to their administration are received at a                        Centers for Disease Control and Prevention (CDC).
participating In-Network facility specifically contracted with
                                                                                  Agency for Health Care Research and Quality (AHRQ).
Cigna for the specific gene therapy service. The term recipient
is defined to include a person receiving prior authorized gene                    Centers for Medicare and Medicaid Services (CMS).
therapy related services during any of the following:                             a cooperative group or center of any of the entities
evaluation, candidacy, event, or post care.                                        described above or the Department of Defense (DOD) or
Travel expenses for the person receiving the gene therapy                          the Department of Veterans Affairs (VA).
include charges for: transportation to and from the gene                          a qualified non-governmental research entity identified in
therapy site (including charges for a rental car used during a                     NIH guidelines for center support grants.
period of care at the facility); and lodging while at, or
                                                                                  any of the following: Department of Energy, Department
traveling to and from, the site.
                                                                                   of Defense, Department of Veterans Affairs, if both of
In addition to your coverage for the charges associated with                       the following conditions are met:
the items above, such charges will also be considered covered
                                                                                       the study or investigation has been reviewed and
travel expenses for one companion to accompany you. The
term companion includes your spouse, a member of your                                   approved through a system of peer review comparable
family, your legal guardian, or any person not related to you,                          to the system of peer review of studies and
                                                                                        investigations used by the National Institutes of Health
but actively involved as your caregiver who is at least 18 years
                                                                                        (NIH); and
of age.
                                                                                       the study or investigation assures unbiased review of
The following are specifically excluded travel expenses: any
                                                                                        the highest scientific standards by qualified individuals
expenses that if reimbursed would be taxable income, travel
costs incurred due to travel within 60 miles of your home;                              who have no interest in the outcome of the review.
food and meals; laundry bills; telephone bills; alcohol or                        the study or investigation is conducted under an
tobacco products; and charges for transportation that exceed                       investigational new drug application reviewed by the U.S.
coach class rates.                                                                 Food and Drug Administration (FDA).
                                                                                  the study or investigation is a drug trial that is exempt

HC-COV873                                                       01-20
                                                                                   from having such an investigational new drug application.
                                                                             The plan does not cover any of the following services
                                                                             associated with a clinical trial:
Clinical Trials
                                                                                services that are not considered routine patient care costs
This plan covers routine patient care costs and services related                 and services, including the following:
to an approved clinical trial for a qualified individual. The
individual must be eligible to participate according to the trial                 the investigational drug, device, item, or service that is
protocol and either of the following conditions must be met:                       provided solely to satisfy data collection and analysis
                                                                                   needs.
   the referring health care professional is a participating
    health care provider and has concluded that the individual’s                  an item or service that is not used in the direct clinical
    participation in such trial would be appropriate; or                           management of the individual.
                                                                                  a service that is clearly inconsistent with widely accepted
   the individual provides medical and scientific information
    establishing that the individual’s participation in the clinical               and established standards of care for a particular
    trial would be appropriate.                                                    diagnosis.
In addition to qualifying as an individual, the clinical trial                  an item or service provided by the research sponsors free of
must also meet certain criteria in order for patient care costs                  charge for any person enrolled in the trial.
and services to be covered.



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   travel and transportation expenses, unless otherwise covered                  treatment of an Injury or Sickness which is due to war,
    under the plan, including but not limited to the following:                    declared, or undeclared.
     fees for personal vehicle, rental car, taxi, medical van,                   charges which you are not obligated to pay or for which you
      ambulance, commercial airline, train.                                        are not billed or for which you would not have been billed
     mileage reimbursement for driving a personal vehicle.                        except that they were covered under this plan. For example,
                                                                                   if Cigna determines that a provider or Pharmacy is or has
     lodging.
                                                                                   waived, reduced, or forgiven any portion of its charges
     meals.                                                                       and/or any portion of Copayment, Deductible, and/or
   routine patient costs obtained out-of-network when Out-of-                     Coinsurance amount(s) you are required to pay for a
    Network benefits do not exist under the plan.                                  Covered Expense (as shown on The Schedule) without
                                                                                   Cigna’s express consent, then Cigna in its sole discretion
Examples of routine patient care costs and services include:                       shall have the right to deny the payment of benefits in
   radiological services.                                                         connection with the Covered Expense, or reduce the
   laboratory services.                                                           benefits in proportion to the amount of the Copayment,
                                                                                   Deductible, and/or Coinsurance amounts waived, forgiven
   intravenous therapy.
                                                                                   or reduced, regardless of whether the provider or Pharmacy
   anesthesia services.                                                           represents that you remain responsible for any amounts that
   Physician services.                                                            your plan does not cover. In the exercise of that discretion,
                                                                                   Cigna shall have the right to require you to provide proof
   office services.
                                                                                   sufficient to Cigna that you have made your required cost
   Hospital services.                                                             share payment(s) prior to the payment of any benefits by
   Room and Board, and medical supplies that typically would                      Cigna. This exclusion includes, but is not limited to, charges
    be covered under the plan for an individual who is not                         of a non-Participating Provider who has agreed to charge
    enrolled in a clinical trial.                                                  you or charged you at an In-Network benefits level or some
Clinical trials conducted by Out-of-Network providers will be                      other benefits level not otherwise applicable to the services
covered only when the following conditions are met:                                received.
                                                                                  charges arising out of or relating to any violation of a
 In-Network providers are not participating in the clinical
                                                                                   healthcare-related state or federal law or which themselves
    trial; or
                                                                                   are a violation of a healthcare-related state or federal law.
   the clinical trial is conducted outside the individual’s state
                                                                                  assistance in the activities of daily living, including but not
    of residence.
                                                                                   limited to eating, bathing, dressing or other Custodial
                                                                                   Services or self-care activities, homemaker services and
HC-COV1128                                                        01-22            services primarily for rest, domiciliary or convalescent care.
                                                                                  for or in connection with experimental, investigational or
                                                                                   unproven services.
Exclusions, Expenses Not Covered and                                               Experimental, investigational and unproven services are
                                                                                   medical, surgical, diagnostic, psychiatric, substance use
General Limitations                                                                disorder or other health care technologies, supplies,
Exclusions and Expenses Not Covered                                                treatments, procedures, drug or Biologic therapies or
Additional coverage limitations determined by plan or                              devices that are determined by the utilization review
provider type are shown in The Schedule. Payment for the                           Physician to be:
following is specifically excluded from this plan:                                  not approved by the U.S. Food and Drug Administration
 care for health conditions that are required by state or local                     (FDA) or other appropriate regulatory agency to be
  law to be treated in a public facility.                                            lawfully marketed;
   care required by state or federal law to be supplied by a                       not demonstrated, through existing peer-reviewed,
    public school system or school district.                                         evidence-based, scientific literature to be safe and
                                                                                     effective for treating or diagnosing the condition or
   care for military service disabilities treatable through                         Sickness for which its use is proposed;
    governmental services if you are legally entitled to such
    treatment and facilities are reasonably available.                              the subject of review or approval by an Institutional
                                                                                     Review Board for the proposed use except as provided in
                                                                                     the “Clinical Trials” sections of this plan; or


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     the subject of an ongoing phase I, II or III clinical trial,              weight loss programs or treatments, whether prescribed or
      except for routine patient care costs related to qualified                 recommended by a Physician or under medical
      clinical trials as provided in the “Clinical Trials” sections              supervision.
      of this plan.                                                           unless otherwise covered in this plan, for reports,
    In determining whether any such technologies, supplies,                    evaluations, physical examinations, or hospitalization not
    treatments, drug or Biologic therapies, or devices are                     required for health reasons, including but not limited to
    experimental, investigational, and/or unproven, the                        employment, insurance or government licenses, and court-
    utilization review Physician may rely on the clinical                      ordered, forensic or custodial evaluations.
    coverage policies maintained by Cigna or the Review                       court-ordered treatment or hospitalization, unless such
    Organization. Clinical coverage policies may incorporate,                  treatment is prescribed by a Physician and listed as covered
    without limitation and as applicable, criteria relating to U.S.            in this plan.
    Food and Drug Administration-approved labeling, the
    standard medical reference compendia and peer-reviewed,                   any medications, drugs, services or supplies for the
    evidence-based scientific literature or guidelines.                        treatment of male or female sexual dysfunction such as, but
                                                                               not limited to, treatment of erectile dysfunction (including
   cosmetic surgery and therapies. Cosmetic surgery or therapy                penile implants), anorgasmy, and premature ejaculation.
    is defined as surgery or therapy performed to improve or
    alter appearance or self-esteem.                                          medical and Hospital care and costs for the infant child of a
                                                                               Dependent, unless this infant child is otherwise eligible
   the following services are excluded from coverage                          under this plan.
    regardless of clinical indications: surgical treatment of
    varicose veins; abdominoplasty; panniculectomy;                           non-medical counseling and/or ancillary services, including
    rhinoplasty; blepharoplasty; redundant skin surgery;                       but not limited to Custodial Services, educational services,
    removal of skin tags; acupressure; dance therapy; movement                 vocational counseling, training and, rehabilitation services,
    therapy; applied kinesiology; rolfing; prolotherapy; and                   behavioral training, biofeedback, neurofeedback, hypnosis,
    extracorporeal shock wave lithotripsy (ESWL) for                           sleep therapy, return to work services, work hardening
    musculoskeletal and orthopedic conditions.                                 programs and driver safety courses.
   dental treatment of the teeth, gums or structures directly                therapy or treatment intended primarily to improve or
    supporting the teeth, including dental X-rays, examinations,               maintain general physical condition or for the purpose of
    repairs, orthodontics, periodontics, casts, splints and                    enhancing job, school, athletic or recreational performance,
    services for dental malocclusion, for any condition. Charges               including but not limited to routine, long term, or
    made for services or supplies provided for or in connection                maintenance care which is provided after the resolution of
    with an accidental Injury to teeth are covered provided a                  the acute medical problem and when significant therapeutic
    continuous course of dental treatment is started within six                improvement is not expected.
    months of an accident.                                                    consumable medical supplies other than ostomy supplies
   for medical and surgical services intended primarily for the               and urinary catheters. Excluded supplies include, but are not
    treatment or control of obesity. However, treatment of                     limited to bandages and other disposable medical supplies,
    clinically severe obesity, as defined by the Body Mass                     skin preparations and test strips, except as specified in the
    Index (BMI) classifications of the National Heart, Lung,                   “Home Health Care Services” or “Breast Reconstruction
    and Blood Institute (NHLBI) guideline is covered only at                   and Breast Prostheses” sections of this plan.
    approved centers if the services are demonstrated, through                private Hospital rooms and/or private duty nursing except as
    existing peer-reviewed, evidence-based, scientific literature              provided under the Home Health Care Services provision.
    and scientifically based guidelines, to be safe and effective             personal or comfort items such as personal care kits
    for treatment of the condition. Clinically severe obesity is               provided on admission to a Hospital, television, telephone,
    defined by the NHLBI as a BMI of 40 or greater without                     newborn infant photographs, complimentary meals, birth
    comorbidities, or 35-39 with comorbidities. The following                  announcements, and other articles which are not for the
    are specifically excluded:                                                 specific treatment of an Injury or Sickness.
     medical and surgical services to alter appearances or                   artificial aids, including but not limited to corrective
      physical changes that are the result of any surgery                      orthopedic shoes, arch supports, elastic stockings, garter
      performed for the management of obesity or clinically                    belts, corsets, dentures and wigs.
      severe (morbid) obesity; and
                                                                              aids or devices that assist with non-verbal communications,
                                                                               including but not limited to communication boards, pre-
                                                                               recorded speech devices, laptop computers, desktop


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    computers, Personal Digital Assistants (PDAs), Braille                  expenses incurred by a participant to the extent
    typewriters, visual alert systems for the deaf and memory                reimbursable under automobile insurance coverage.
    books.                                                                   Coverage under this plan is secondary to automobile no-
   eyeglass lenses and frames and contact lenses (except for                fault insurance or similar coverage. The coverage provided
    the first pair of contact lenses or the first set of eyeglass            under this plan does not constitute “Qualified Health
    lenses and frames, and associated services, for treatment of             Coverage” under Michigan law and therefore does not
    keratoconus or following cataract surgery).                              replace Personal Injury Protection (PIP) coverage provided
                                                                             under an automobile insurance policy issued to a Michigan
   routine refractions, eye exercises and surgical treatment for            resident. This plan will cover expenses only not otherwise
    the correction of a refractive error, including radial                   covered by the PIP coverage.
    keratotomy.
   all non-injectable prescription drugs, unless Physician
                                                                         General Limitations
    administration or oversight is required, injectable                  No payment will be made for expenses incurred for you or any
    prescription drugs to the extent they do not require                 one of your Dependents:
    Physician supervision and are typically considered self-                for charges by a Hospital owned or operated by or which
    administered drugs, non-prescription drugs, and                          provides care or performs services for, the United States
    investigational and experimental drugs, except as provided               Government, if such charges are directly related to a
    in this plan.                                                            military-service-connected Injury or Sickness.
   routine foot care, including the paring and removing of                 to the extent that you or any one of your Dependents is in
    corns and calluses and toenail maintenance. However, foot                any way paid or entitled to payment for those expenses by
    care services for diabetes, peripheral neuropathies and                  or through a public program, other than Medicaid.
    peripheral vascular disease are covered when Medically
                                                                            to the extent that payment is unlawful where the person
    Necessary.
                                                                             resides when the expenses are incurred.
   membership costs or fees associated with health clubs,
                                                                            for charges which would not have been made if the person
    weight loss programs and smoking cessation programs.
                                                                             had no insurance.
   genetic screening or pre-implantations genetic screening.
                                                                            to the extent that they are more than Maximum
    General population-based genetic screening is a testing
                                                                             Reimbursable Charges.
    method performed in the absence of any symptoms or any
    significant, proven risk factors for genetically linked                 to the extent of the exclusions imposed by any certification
    inheritable disease.                                                     requirement shown in this plan.
   dental implants for any condition.                                      expenses for supplies, care, treatment, or surgery that are
                                                                             not Medically Necessary.
   fees associated with the collection or donation of blood or
    blood products, except for autologous donation in                       charges by any covered provider who is a member of your
    anticipation of scheduled services where in the utilization              family or your Dependent's family.
    review Physician’s opinion the likelihood of excess blood               expenses incurred outside the United States other than
    loss is such that transfusion is an expected adjunct to                  expenses for Medically Necessary urgent or emergent care
    surgery.                                                                 while temporarily traveling abroad.
   blood administration for the purpose of general
    improvement in physical condition.
                                                                         HC-EXC466                                                         01-22
   cost of biologicals that are immunizations or medications
    for the purpose of travel, or to protect against occupational
    hazards and risks.
   cosmetics, dietary supplements and health and beauty aids.
                                                                         Coordination of Benefits
                                                                         This section applies if you or any one of your Dependents is
   enteral feedings, supplies and specially formulated medical
                                                                         covered under more than one Plan and determines how
    foods that are prescribed and non-prescribed, except for
                                                                         benefits payable from all such Plans will be coordinated. You
    infant formula needed for the treatment of inborn errors of
                                                                         should file all claims with each Plan.
    metabolism.
   for or in connection with an Injury or Sickness arising out
    of, or in the course of, any employment for wage or profit.
   massage therapy.


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Definitions                                                            Examples of expenses or services that are not Allowable
For the purposes of this section, the following terms have the         Expenses include, but are not limited to the following:
meanings set forth below:                                                 An expense or service or a portion of an expense or service
Plan                                                                       that is not covered by any of the Plans is not an Allowable
                                                                           Expense.
Any of the following that provides benefits or services for
medical care or treatment:                                                If you are confined to a private Hospital room and no Plan
                                                                           provides coverage for more than a semiprivate room, the
   Group insurance and/or group-type coverage, whether                    difference in cost between a private and semiprivate room is
    insured or self-insured which neither can be purchased by              not an Allowable Expense.
    the general public, nor is individually underwritten,
    including closed panel coverage.                                      If you are covered by two or more Plans that provide
                                                                           services or supplies on the basis of reasonable and
   Coverage under Medicare and other governmental benefits                customary fees, any amount in excess of the highest
    as permitted by law, excepting Medicaid and Medicare                   reasonable and customary fee is not an Allowable Expense.
    supplement policies.
                                                                          If you are covered by one Plan that provides services or
   Medical benefits coverage of group, group-type, and                    supplies on the basis of reasonable and customary fees and
    individual automobile contracts.                                       one Plan that provides services and supplies on the basis of
Each Plan or part of a Plan which has the right to coordinate              negotiated fees, the Primary Plan's fee arrangement shall be
benefits will be considered a separate Plan.                               the Allowable Expense.
Closed Panel Plan                                                         If your benefits are reduced under the Primary Plan (through
A Plan that provides medical or dental benefits primarily in               the imposition of a higher copayment amount, higher
the form of services through a panel of employed or                        coinsurance percentage, a deductible and/or a penalty)
contracted providers, and that limits or excludes benefits                 because you did not comply with Plan provisions or because
provided by providers outside of the panel, except in the case             you did not use a preferred provider, the amount of the
of emergency or if referred by a provider within the panel.                reduction is not an Allowable Expense. Such Plan
                                                                           provisions include second surgical opinions and
Primary Plan                                                               precertification of admissions or services.
The Plan that determines and provides or pays benefits
                                                                       Claim Determination Period
without taking into consideration the existence of any other
Plan.                                                                  A calendar year, but does not include any part of a year during
                                                                       which you are not covered under this policy or any date before
Secondary Plan                                                         this section or any similar provision takes effect.
A Plan that determines, and may reduce its benefits after
                                                                       Reasonable Cash Value
taking into consideration, the benefits provided or paid by the
Primary Plan. A Secondary Plan may also recover from the               An amount which a duly licensed provider of health care
Primary Plan the Reasonable Cash Value of any services it              services usually charges patients and which is within the range
provided to you.                                                       of fees usually charged for the same service by other health
                                                                       care providers located within the immediate geographic area
Allowable Expense                                                      where the health care service is rendered under similar or
The amount of charges considered for payment under the Plan            comparable circumstances.
for a Covered Service prior to any reductions due to
                                                                       Order of Benefit Determination Rules
coinsurance, copayment or deductible amounts. If Cigna
contracts with an entity to arrange for the provision of               A Plan that does not have a coordination of benefits rule
Covered Services through that entity’s contracted network of           consistent with this section shall always be the Primary Plan.
health care providers, the amount that Cigna has agreed to pay         If the Plan does have a coordination of benefits rule consistent
that entity is the allowable amount used to determine your             with this section, the first of the following rules that applies to
coinsurance or deductible payments. If the Plan provides               the situation is the one to use:
benefits in the form of services, the Reasonable Cash Value of            The Plan that covers you as an enrollee or an employee shall
each service is the Allowable Expense and is a paid benefit.               be the Primary Plan and the Plan that covers you as a
                                                                           Dependent shall be the Secondary Plan;
                                                                          If you are a Dependent child whose parents are not divorced
                                                                           or legally separated, the Primary Plan shall be the Plan




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    which covers the parent whose birthday falls first in the               Claim Determination Period are not more than 100% of the
    calendar year as an enrollee or employee;                               total of all Allowable Expenses.
   If you are the Dependent of divorced or separated parents,              The difference between the amount that this Plan would have
    benefits for the Dependent shall be determined in the                   paid if this Plan had been the Primary Plan, and the benefit
    following order:                                                        payments that this Plan had actually paid as the Secondary
     first, if a court decree states that one parent is responsible        Plan, will be recorded as a benefit reserve for you. Cigna will
      for the child's healthcare expenses or health coverage and            use this benefit reserve to pay any Allowable Expense not
      the Plan for that parent has actual knowledge of the terms            otherwise paid during the Claim Determination Period.
      of the order, but only from the time of actual knowledge;             As each claim is submitted, Cigna will determine the
     then, the Plan of the parent with custody of the child;               following:
     then, the Plan of the spouse of the parent with custody of               Cigna's obligation to provide services and supplies under
      the child;                                                                this policy;
     then, the Plan of the parent not having custody of the                   whether a benefit reserve has been recorded for you; and
      child; and                                                               whether there are any unpaid Allowable Expenses during
     finally, the Plan of the spouse of the parent not having                  the Claims Determination Period.
      custody of the child.                                                 If there is a benefit reserve, Cigna will use the benefit reserve
   The Plan that covers you as an active employee (or as that              recorded for you to pay up to 100% of the total of all
    employee's Dependent) shall be the Primary Plan and the                 Allowable Expenses. At the end of the Claim Determination
    Plan that covers you as laid-off or retired employee (or as             Period, your benefit reserve will return to zero and a new
    that employee's Dependent) shall be the Secondary Plan. If              benefit reserve will be calculated for each new Claim
    the other Plan does not have a similar provision and, as a              Determination Period.
    result, the Plans cannot agree on the order of benefit                  Recovery of Excess Benefits
    determination, this paragraph shall not apply.                          If Cigna pays charges for benefits that should have been paid
   The Plan that covers you under a right of continuation                  by the Primary Plan, or if Cigna pays charges in excess of
    which is provided by federal or state law shall be the                  those for which we are obligated to provide under the Policy,
    Secondary Plan and the Plan that covers you as an active                Cigna will have the right to recover the actual payment made
    employee or retiree (or as that employee's Dependent) shall             or the Reasonable Cash Value of any services.
    be the Primary Plan. If the other Plan does not have a                  Cigna will have sole discretion to seek such recovery from any
    similar provision and, as a result, the Plans cannot agree on           person to, or for whom, or with respect to whom, such
    the order of benefit determination, this paragraph shall not            services were provided or such payments made by any
    apply.                                                                  insurance company, healthcare Plan or other organization. If
   If one of the Plans that covers you is issued out of the state          we request, you must execute and deliver to us such
    whose laws govern this Policy, and determines the order of              instruments and documents as we determine are necessary to
    benefits based upon the gender of a parent, and as a result,            secure the right of recovery.
    the Plans do not agree on the order of benefit determination,           Right to Receive and Release Information
    the Plan with the gender rules shall determine the order of
    benefits.                                                               Cigna, without consent or notice to you, may obtain
                                                                            information from and release information to any other Plan
If none of the above rules determines the order of benefits, the            with respect to you in order to coordinate your benefits
Plan that has covered you for the longer period of time shall               pursuant to this section. You must provide us with any
be primary.                                                                 information we request in order to coordinate your benefits
When coordinating benefits with Medicare, this Plan will be                 pursuant to this section. This request may occur in connection
the Secondary Plan and determine benefits after Medicare,                   with a submitted claim; if so, you will be advised that the
where permitted by the Social Security Act of 1965, as                      "other coverage" information, (including an Explanation of
amended. However, when more than one Plan is secondary to                   Benefits paid under the Primary Plan) is required before the
Medicare, the benefit determination rules identified above,                 claim will be processed for payment. If no response is
will be used to determine how benefits will be coordinated.                 received within 55 days of the request, the claim will be
Effect on the Benefits of This Plan                                         closed. If the requested information is subsequently received,
                                                                            the claim will be processed.
If this Plan is the Secondary Plan, this Plan may reduce
benefits so that the total benefits paid by all Plans during a



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Coordination of Benefits with Medicare                                    Domestic Partners
If you, your spouse, or your Dependent are covered under this             Under federal law, when Medicare coverage is due to age,
Plan and qualify for Medicare, federal law determines which               Medicare is always the primary payer and this Plan is the
Plan is the primary payer and which is the secondary payer.               secondary payer for a person covered under this Plan as a
The primary payer always determines covered benefits first,               Domestic Partner. However, when Medicare coverage is due
without considering what any other coverage will pay. The                 to disability, the Disability payer explanations above will
secondary payer determines its coverage only after the                    apply.
Primary Plan has completed its determination.                             IMPORTANT: If you, your spouse, or your Dependent do
When Medicare is the Primary Payer                                        not elect to enroll in Medicare Parts A and/or B when first
Medicare will be the primary payer and this Plan will be the              eligible, or you receive services from a provider who does
secondary payer, even if you don’t elect to enroll in Medicare            not accept Medicare payments, this Plan will calculate
or you receive services from a provider who does not accept               payment based on what should have been paid by
Medicare payments, in the following situations:                           Medicare as the primary payer if the person had been
                                                                          enrolled or had received services from a provider who
   COBRA or State Continuation: You, your spouse, or your                accepts Medicare payments. A person is considered
    covered Dependent qualify for Medicare for any reason and             eligible for Medicare on the earliest date any coverage
    are covered under this Plan due to COBRA or state                     under Medicare could become effective.
    continuation of coverage.
                                                                          Failure to Enroll in Medicare
   Retirement or Termination of Employment: You, your
    spouse, or your covered Dependent qualify for Medicare for            If you, your spouse, or your Dependent do not enroll in
    any reason and are covered under this Plan due to your                Medicare Parts A and/or B during the person’s initial
    retirement or termination of employment.                              Medicare enrollment period, or the person opts out of
                                                                          coverage, the person may be subject to Medicare late
   Disability: You, your spouse, or your covered Dependent               enrollment penalties, which can cause a delay in coverage and
    qualify for Medicare due to a disability, you are an active           result in higher Medicare premiums when the person does
    Employee, and your Employer has fewer than 100                        enroll. It can also result in a reduction in coverage under
    employees.                                                            Medicare Parts A and B. If you are planning to retire or
   Age: You, your spouse, or your covered Dependent qualify              terminate employment and you will be eligible for COBRA,
    for Medicare due to age, you are an active Employee, and              state Continuation, or retiree coverage under this Plan, you
    your Employer has fewer than 20 employees.                            should enroll in Medicare before you terminate employment to
   End Stage Renal Disease (ESRD): You, your spouse, or                  avoid penalties and to receive the maximum coverage under
    your covered Dependent qualify for Medicare due to End                Medicare. Please consult Medicare or the Social Security
    Stage Renal Disease (ESRD) and you are an active or                   Administration for more information.
    retired Employee. This Plan will be the primary payer for             Assistance with Medicare Questions
    the first 30 months. Beginning with the 31st month,                   For more information on Medicare’s rules and regulations,
    Medicare will be the primary payer.                                   contact Medicare toll-free at 1-800-MEDICARE (1-800-633-
When This Plan is the Primary Payer                                       4227) or at www.medicare.gov. You may also contact the
This Plan will be the primary payer and Medicare will be the              Social Security Administration toll-free at 1-800-772-1213, at
secondary payer in the following situations:                              www.ssa.gov, or call your local Social Security
                                                                          Administration office.
   Disability: You, your spouse, or your covered Dependent
    qualify for Medicare due to a disability, you are an active
    Employee, and your Employer has 100 or more employees.                HC-COB272                                                       01-21

   Age: You, your spouse, or your covered Dependent qualify
    for Medicare due to age, you are an active Employee, and
    your Employer has 20 or more employees.                               Expenses For Which A Third Party May
   End Stage Renal Disease (ESRD): You, your spouse, or
    your covered Dependent qualify for Medicare due to End
                                                                          Be Responsible
    Stage Renal Disease (ESRD) and you are an active or                   This plan does not cover:
    retired Employee. This Plan is the primary payer for the first           Expenses incurred by you or your Dependent (hereinafter
    30 months. Beginning with the 31st month, Medicare will be                individually and collectively referred to as a "Participant,")
    the primary payer.



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    for which another party may be responsible as a result of             Additional Terms
    having caused or contributed to an Injury or Sickness.                 No adult Participant hereunder may assign any rights that it
   Expenses incurred by a Participant to the extent any                    may have to recover medical expenses from any third party
    payment is received for them either directly or indirectly              or other person or entity to any minor Dependent of said
    from a third party tortfeasor or as a result of a settlement,           adult Participant without the prior express written consent
    judgment or arbitration award in connection with any                    of the plan. The plan’s right to recover shall apply to
    automobile medical, automobile no-fault, uninsured or                   decedents’, minors’, and incompetent or disabled persons’
    underinsured motorist, homeowners, workers'                             settlements or recoveries.
    compensation, government insurance (other than Medicaid),                No Participant shall make any settlement, which specifically
    or similar type of insurance or coverage. The coverage                    reduces or excludes, or attempts to reduce or exclude, the
    under this plan is secondary to any automobile no-fault                   benefits provided by the plan.
    insurance or similar coverage.
                                                                             The plan’s right of recovery shall be a prior lien against any
Subrogation/Right of Reimbursement                                            proceeds recovered by the Participant. This right of
If a Participant incurs a Covered Expense for which, in the                   recovery shall not be defeated nor reduced by the
opinion of the plan or its claim administrator, another party                 application of any so-called “Made-Whole Doctrine”,
may be responsible or for which the Participant may receive                   “Rimes Doctrine”, or any other such doctrine purporting to
payment as described above:                                                   defeat the plan’s recovery rights by allocating the proceeds
   Subrogation: The plan shall, to the extent permitted by law,              exclusively to non-medical expense damages.
    be subrogated to all rights, claims or interests that a                  No Participant hereunder shall incur any expenses on behalf
    Participant may have against such party and shall                         of the plan in pursuit of the plan’s rights hereunder,
    automatically have a lien upon the proceeds of any recovery               specifically; no court costs, attorneys' fees or other
    by a Participant from such party to the extent of any benefits            representatives' fees may be deducted from the plan’s
    paid under the plan. A Participant or his/her representative              recovery without the prior express written consent of the
    shall execute such documents as may be required to secure                 plan. This right shall not be defeated by any so-called “Fund
    the plan’s subrogation rights.                                            Doctrine”, “Common Fund Doctrine”, or “Attorney’s Fund
   Right of Reimbursement: The plan is also granted a right of               Doctrine”.
    reimbursement from the proceeds of any recovery whether                  The plan shall recover the full amount of benefits provided
    by settlement, judgment, or otherwise. This right of                      hereunder without regard to any claim of fault on the part of
    reimbursement is cumulative with and not exclusive of the                 any Participant, whether under comparative negligence or
    subrogation right granted in paragraph 1, but only to the                 otherwise.
    extent of the benefits provided by the plan.                             The plan hereby disavows all equitable defenses in pursuit
Lien of the Plan                                                              of its right of recovery. The plan’s subrogation or recovery
By accepting benefits under this plan, a Participant:                         rights are neither affected nor diminished by equitable
                                                                              defenses.
   grants a lien and assigns to the plan an amount equal to the
    benefits paid under the plan against any recovery made by                In the event that a Participant shall fail or refuse to honor its
    or on behalf of the Participant which is binding on any                   obligations hereunder, then the plan shall be entitled to
    attorney or other party who represents the Participant                    recover any costs incurred in enforcing the terms hereof
    whether or not an agent of the Participant or of any                      including, but not limited to, attorney’s fees, litigation, court
    insurance company or other financially responsible party                  costs, and other expenses. The plan shall also be entitled to
    against whom a Participant may have a claim provided said                 offset the reimbursement obligation against any entitlement
    attorney, insurance carrier or other party has been notified              to future medical benefits hereunder until the Participant has
    by the plan or its agents;                                                fully complied with his reimbursement obligations
                                                                              hereunder, regardless of how those future medical benefits
   agrees that this lien shall constitute a charge against the               are incurred.
    proceeds of any recovery and the plan shall be entitled to
    assert a security interest thereon;                                      Any reference to state law in any other provision of this
                                                                              plan shall not be applicable to this provision, if the plan is
   agrees to hold the proceeds of any recovery in trust for the              governed by ERISA. By acceptance of benefits under the
    benefit of the plan to the extent of any payment made by the              plan, the Participant agrees that a breach hereof would cause
    plan.                                                                     irreparable and substantial harm and that no adequate
                                                                              remedy at law would exist. Further, the Plan shall be
                                                                              entitled to invoke such equitable remedies as may be


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    necessary to enforce the terms of the plan, including, but not         When one of our participants passes away, Cigna may receive
    limited to, specific performance, restitution, the imposition          notice that an executor of the estate has been established. The
    of an equitable lien and/or constructive trust, as well as             executor has the same rights as our insured and benefit
    injunctive relief.                                                     payments for unassigned claims should be made payable to the
   Participants must assist the plan in pursuing any subrogation          executor.
    or recovery rights by providing requested information.                 Payment as described above will release Cigna from all
                                                                           liability to the extent of any payment made.
HC-SUB128                                                     03-20
                                                                           Recovery of Overpayment
                                                                           When an overpayment has been made by Cigna, Cigna will
                                                                           have the right at any time to: recover that overpayment from
                                                                           the person to whom or on whose behalf it was made; or offset
Payment of Benefits                                                        the amount of that overpayment from a future claim payment.
Assignment and Payment of Benefits                                         In addition, your acceptance of benefits under this plan and/or
You may not assign to any party, including, but not limited to,            assignment of Medical Benefits separately creates an equitable
a provider of healthcare services/items, your right to benefits            lien by agreement pursuant to which Cigna may seek recovery
under this plan, nor may you assign any administrative,                    of any overpayment. You agree that Cigna, in seeking
statutory, or legal rights or causes of action you may have                recovery of any overpayment as a contractual right or as an
under ERISA, including, but not limited to, any right to make              equitable lien by agreement, may pursue the general assets of
a claim for plan benefits, to request plan or other documents,             the person or entity to whom or on whose behalf the
to file appeals of denied claims or grievances, or to file                 overpayment was made.
lawsuits under ERISA. Any attempt to assign such rights shall              Calculation of Covered Expenses
be void and unenforceable under all circumstances.                         Cigna, in its discretion, will calculate Covered Expenses
You may, however, authorize Cigna to pay any healthcare                    following evaluation and validation of all provider billings in
benefits under this policy to a Participating or Non-                      accordance with:
Participating Provider. When you authorize the payment of                     the methodologies in the most recent edition of the Current
your healthcare benefits to a Participating or Non-Participating               Procedural terminology.
Provider, you authorize the payment of the entire amount of
the benefits due on that claim. If a provider is overpaid                     the methodologies as reported by generally recognized
because of accepting duplicate payments from you and Cigna,                    professionals or publications.
it is the provider’s responsibility to reimburse the
overpayment to you. Cigna may pay all healthcare benefits for              HC-POB132                                                     01-19
Covered Expenses directly to a Participating Provider without
your authorization. You may not interpret or rely upon this
discrete authorization or permission to pay any healthcare
benefits to a Participating or Non-Participating Provider as the           Termination of Insurance
authority to assign any other rights under this policy to any
party, including, but not limited to, a provider of healthcare             Employees
services/items.
                                                                           Your insurance will cease on the earliest date below:
Even if the payment of healthcare benefits to a Non-
                                                                              the date you cease to be in a Class of Eligible Employees or
Participating Provider has been authorized by you, Cigna may,
                                                                               cease to qualify for the insurance.
at its option, make payment of benefits to you. When benefits
are paid to you or your Dependent, you or your Dependents                     the last day for which you have made any required
are responsible for reimbursing the Non-Participating                          contribution for the insurance.
Provider.                                                                     the date the policy is cancelled.
If any person to whom benefits are payable is a minor or, in                  the last day of the calendar month in which your Active
the opinion of Cigna is not able to give a valid receipt for any               Service ends except as described below.
payment due him, such payment will be made to his legal                    Any continuation of insurance must be based on a plan which
guardian. If no request for payment has been made by his legal
                                                                           precludes individual selection.
guardian, Cigna may, at its option, make payment to the
person or institution appearing to have assumed his custody
and support.



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Leave of Absence                                                           Notice of Provider Directory/Networks
If your Active Service ends due to leave of absence, your                  Notice Regarding Provider Directories and Provider
insurance will be continued until the date as determined by                Networks
your Employer.
                                                                           A list of network providers is available to you without charge
Injury or Sickness                                                         by visiting the website or by calling the phone number on your
If your Active Service ends due to an Injury or Sickness, your             ID card. The network consists of providers, including
insurance will be continued while you remain totally and                   hospitals, of varied specialties as well as general practice,
continuously disabled as a result of the Injury or Sickness.               affiliated or contracted with Cigna or an organization
However, your insurance will not continue past the date your               contracting on its behalf.
Employer cancels your insurance.
                                                                           HC-FED78                                                      10-10
Dependents
Your insurance for all of your Dependents will cease on the
earliest date below:                                                       Qualified Medical Child Support Order
   the date your insurance ceases.                                        (QMCSO)
   the date you cease to be eligible for Dependent Insurance.             Eligibility for Coverage Under a QMCSO
   the last day for which you have made any required                      If a Qualified Medical Child Support Order (QMCSO) is
    contribution for the insurance.                                        issued for your child, that child will be eligible for coverage as
   the date Dependent Insurance is cancelled.                             required by the order and you will not be considered a Late
The insurance for any one of your Dependents will cease on                 Entrant for Dependent Insurance.
the date that Dependent no longer qualifies as a Dependent.                You must notify your Employer and elect coverage for that
                                                                           child, and yourself if you are not already enrolled, within 31
                                                                           days of the QMCSO being issued.
HC-TRM128                                                     12-17
                                                                           Qualified Medical Child Support Order Defined
                                                                           A Qualified Medical Child Support Order is a judgment,
                                                                           decree or order (including approval of a settlement agreement)
Rescissions
                                                                           or administrative notice, which is issued pursuant to a state
Your coverage may not be rescinded (retroactively terminated)              domestic relations law (including a community property law),
by Cigna or the plan sponsor unless the plan sponsor or an                 or to an administrative process, which provides for child
individual (or a person seeking coverage on behalf of the                  support or provides for health benefit coverage to such child
individual) performs an act, practice or omission that                     and relates to benefits under the group health plan, and
constitutes fraud; or the plan sponsor or individual (or a                 satisfies all of the following:
person seeking coverage on behalf of the individual) makes an
                                                                              the order recognizes or creates a child’s right to receive
intentional misrepresentation of material fact.
                                                                               group health benefits for which a participant or beneficiary
                                                                               is eligible;
HC-TRM80                                                      01-11           the order specifies your name and last known address, and
                                                                               the child’s name and last known address, except that the
                                                                               name and address of an official of a state or political
Federal Requirements                                                           subdivision may be substituted for the child’s mailing
                                                                               address;
The following pages explain your rights and responsibilities
                                                                              the order provides a description of the coverage to be
under federal laws and regulations. Some states may have
                                                                               provided, or the manner in which the type of coverage is to
similar requirements. If a similar provision appears elsewhere
                                                                               be determined;
in this booklet, the provision which provides the better benefit
will apply.                                                                   the order states the period to which it applies; and
                                                                              if the order is a National Medical Support Notice completed
                                                                               in accordance with the Child Support Performance and
HC-FED1                                                       10-10
                                                                               Incentive Act of 1998, such Notice meets the requirements
                                                                               above.



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The QMCSO may not require the health insurance policy to                      in the Plan. You must request enrollment within 60 days
provide coverage for any type or form of benefit or option not                after termination of Medicaid or CHIP coverage.
otherwise provided under the policy, except that an order may                Loss of eligibility for other coverage (excluding
require a plan to comply with State laws regarding health care                continuation coverage). If coverage was declined under
coverage.                                                                     this Plan due to coverage under another plan, and eligibility
Payment of Benefits                                                           for the other coverage is lost, you and all of your eligible
Any payment of benefits in reimbursement for Covered                          Dependent(s) may request special enrollment in this Plan. If
Expenses paid by the child, or the child’s custodial parent or                required by the Plan, when enrollment in this Plan was
legal guardian, shall be made to the child, the child’s custodial             previously declined, it must have been declined in writing
parent or legal guardian, or a state official whose name and                  with a statement that the reason for declining enrollment
address have been substituted for the name and address of the                 was due to other health coverage. This provision applies to
child.                                                                        loss of eligibility as a result of any of the following:
                                                                               divorce or legal separation;

HC-FED4                                                      10-10
                                                                               cessation of Dependent status (such as reaching the
                                                                                limiting age);
                                                                               death of the Employee;

Special Enrollment Rights Under the Health                                     termination of employment;
Insurance Portability & Accountability Act                                     reduction in work hours to below the minimum required
(HIPAA)                                                                         for eligibility;
If you or your eligible Dependent(s) experience a special                      you or your Dependent(s) no longer reside, live or work
enrollment event as described below, you or your eligible                       in the other plan’s network service area and no other
Dependent(s) may be entitled to enroll in the Plan outside of a                 coverage is available under the other plan;
designated enrollment period upon the occurrence of one of                     you or your Dependent(s) incur a claim which meets or
the special enrollment events listed below. If you are already                  exceeds the lifetime maximum limit that is applicable to
enrolled in the Plan, you may request enrollment for you and                    all benefits offered under the other plan; or
your eligible Dependent(s) under a different option offered by                 the other plan no longer offers any benefits to a class of
the Employer for which you are currently eligible. If you are                   similarly situated individuals.
not already enrolled in the Plan, you must request special
enrollment for yourself in addition to your eligible                         Termination of Employer contributions (excluding
Dependent(s). You and all of your eligible Dependent(s) must                  continuation coverage). If a current or former Employer
be covered under the same option. The special enrollment                      ceases all contributions toward the Employee’s or
events include:                                                               Dependent’s other coverage, special enrollment may be
                                                                              requested in this Plan for you and all of your eligible
   Acquiring a new Dependent. If you acquire a new                           Dependent(s).
    Dependent(s) through marriage, birth, adoption or
    placement for adoption, you may request special enrollment               Exhaustion of COBRA or other continuation coverage.
    for any of the following combinations of individuals if not               Special enrollment may be requested in this Plan for you
    already enrolled in the Plan: Employee only; spouse only;                 and all of your eligible Dependent(s) upon exhaustion of
    Employee and spouse; Dependent child(ren) only;                           COBRA or other continuation coverage. If you or your
    Employee and Dependent child(ren); Employee, spouse and                   Dependent(s) elect COBRA or other continuation coverage
    Dependent child(ren). Enrollment of Dependent children is                 following loss of coverage under another plan, the COBRA
    limited to the newborn or adopted children or children who                or other continuation coverage must be exhausted before
    became Dependent children of the Employee due to                          any special enrollment rights exist under this Plan. An
    marriage.                                                                 individual is considered to have exhausted COBRA or other
                                                                              continuation coverage only if such coverage ceases: due to
   Loss of eligibility for State Medicaid or Children’s                      failure of the Employer or other responsible entity to remit
    Health Insurance Program (CHIP). If you and/or your                       premiums on a timely basis; when the person no longer
    Dependent(s) were covered under a state Medicaid or CHIP                  resides or works in the other plan’s service area and there is
    plan and the coverage is terminated due to a loss of                      no other COBRA or continuation coverage available under
    eligibility, you may request special enrollment for yourself              the plan; or when the individual incurs a claim that would
    and any affected Dependent(s) who are not already enrolled                meet or exceed a lifetime maximum limit on all benefits and
                                                                              there is no other COBRA or other continuation coverage


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    available to the individual. This does not include                      if your Employer agrees, and you meet the criteria shown in
    termination of an Employer’s limited period of                           the following Sections B through H and enroll for or change
    contributions toward COBRA or other continuation                         coverage within the time period established by your
    coverage as provided under any severance or other                        Employer.
    agreement.                                                           B. Change of status
   Eligibility for employment assistance under State                    A change in status is defined as:
    Medicaid or Children’s Health Insurance Program
    (CHIP). If you and/or your Dependent(s) become eligible                 change in legal marital status due to marriage, death of a
    for assistance with group health plan premium payments                   spouse, divorce, annulment or legal separation;
    under a state Medicaid or CHIP plan, you may request                    change in number of Dependents due to birth, adoption,
    special enrollment for yourself and any affected                         placement for adoption, or death of a Dependent;
    Dependent(s) who are not already enrolled in the Plan. You              change in employment status of Employee, spouse or
    must request enrollment within 60 days after the date you                Dependent due to termination or start of employment,
    are determined to be eligible for assistance.                            strike, lockout, beginning or end of unpaid leave of absence,
Except as stated above, special enrollment must be                           including under the Family and Medical Leave Act
requested within 30 days after the occurrence of the                         (FMLA), or change in worksite;
special enrollment event. If the special enrollment event is                changes in employment status of Employee, spouse or
the birth or adoption of a Dependent child, coverage will                    Dependent resulting in eligibility or ineligibility for
be effective immediately on the date of birth, adoption or                   coverage;
placement for adoption. Coverage with regard to any other
                                                                            change in residence of Employee, spouse or Dependent to a
special enrollment event will be effective no later than the
                                                                             location outside of the Employer’s network service area;
first day of the first calendar month following receipt of
                                                                             and
the request for special enrollment.
Domestic Partners and their children (if not legal children of              changes which cause a Dependent to become eligible or
                                                                             ineligible for coverage.
the Employee) are not eligible for special enrollment.
Although federal law does not extend special enrollment rights           C. Court order
to Domestic Partners, this plan will extend these same benefits          A change in coverage due to and consistent with a court order
to Domestic Partners (and their children if not legal children           of the Employee or other person to cover a Dependent.
of the Employee) to the same extent they are provided to                 D. Medicare or Medicaid eligibility/entitlement
spouses and legal children of the Employee.
                                                                         The Employee, spouse or Dependent cancels or reduces
                                                                         coverage due to entitlement to Medicare or Medicaid, or
HC-FED96                                                    04-17        enrolls or increases coverage due to loss of Medicare or
                                                                         Medicaid eligibility.
                                                                         E. Change in cost of coverage
Effect of Section 125 Tax Regulations on This                            If the cost of benefits increases or decreases during a benefit
Plan                                                                     period, your Employer may, in accordance with plan terms,
                                                                         automatically change your elective contribution.
Your Employer has chosen to administer this Plan in
accordance with Section 125 regulations of the Internal                  When the change in cost is significant, you may either
Revenue Code. Per this regulation, you may agree to a pretax             increase your contribution or elect less-costly coverage. When
salary reduction put toward the cost of your benefits.                   a significant overall reduction is made to the benefit option
Otherwise, you will receive your taxable earnings as cash                you have elected, you may elect another available benefit
(salary).                                                                option. When a new benefit option is added, you may change
                                                                         your election to the new benefit option.
A. Coverage elections
                                                                         F. Changes in coverage of spouse or Dependent under
Per Section 125 regulations, you are generally allowed to
                                                                         another employer’s plan
enroll for or change coverage only before each annual benefit
period. However, exceptions are allowed:                                 You may make a coverage election change if the plan of your
                                                                         spouse or Dependent: incurs a change such as adding or
   if you meet Special Enrollment criteria and enroll as
                                                                         deleting a benefit option; allows election changes due to
    described in the Special Enrollment section; or
                                                                         Special Enrollment, Change in Status, Court Order or
                                                                         Medicare or Medicaid Eligibility/Entitlement; or this Plan and



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the other plan have different periods of coverage or open                less than 48 hours following a vaginal delivery, or less than 96
enrollment periods.                                                      hours following a cesarean section; or require that a provider
G. Reduction in work hours                                               obtain authorization from the plan or insurance issuer for
                                                                         prescribing a length of stay not in excess of the above periods.
If an Employee’s work hours are reduced below 30                         The law generally does not prohibit an attending provider of
hours/week (even if it does not result in the Employee losing            the mother or newborn, in consultation with the mother, from
eligibility for the Employer’s coverage); and the Employee               discharging the mother or newborn earlier than 48 or 96 hours,
(and family) intend to enroll in another plan that provides              as applicable.
Minimum Essential Coverage (MEC). The new coverage must
be effective no later than the 1st day of the 2nd month                  Please review this Plan for further details on the specific
following the month that includes the date the original                  coverage available to you and your Dependents.
coverage is revoked.
H. Enrollment in a Qualified Health Plan (QHP)                           HC-FED11                                                       10-10

The Employee must be eligible for a Special Enrollment
Period to enroll in a QHP through a Marketplace or the
Employee wants to enroll in a QHP through a Marketplace                  Women’s Health and Cancer Rights Act
during the Marketplace’s annual open enrollment period; and              (WHCRA)
the disenrollment from the group plan corresponds to the
intended enrollment of the Employee (and family) in a QHP                Do you know that your plan, as required by the Women’s
through a Marketplace for new coverage effective beginning               Health and Cancer Rights Act of 1998, provides benefits for
no later than the day immediately following the last day of the          mastectomy-related services including all stages of
original coverage.                                                       reconstruction and surgery to achieve symmetry between the
                                                                         breasts, prostheses, and complications resulting from a
                                                                         mastectomy, including lymphedema? Call Member Services at
HC-FED95                                                    04-17        the toll free number listed on your ID card for more
                                                                         information.

Eligibility for Coverage for Adopted Children                            HC-FED12                                                       10-10

Any child who is adopted by you, including a child who is
placed with you for adoption, will be eligible for Dependent
Insurance, if otherwise eligible as a Dependent, upon the date           Group Plan Coverage Instead of Medicaid
of placement with you. A child will be considered placed for
adoption when you become legally obligated to support that               If your income and liquid resources do not exceed certain
child, totally or partially, prior to that child’s adoption.             limits established by law, the state may decide to pay
                                                                         premiums for this coverage instead of for Medicaid, if it is
If a child placed for adoption is not adopted, all health                cost effective. This includes premiums for continuation
coverage ceases when the placement ends, and will not be                 coverage required by federal law.
continued.
The provisions in the “Exception for Newborns” section of
                                                                         HC-FED13                                                       10-10
this document that describe requirements for enrollment and
effective date of insurance will also apply to an adopted child
or a child placed with you for adoption.


HC-FED67                                                    09-14




Coverage for Maternity Hospital Stay
Group health plans and health insurance issuers offering group
health insurance coverage generally may not, under a federal
law known as the “Newborns’ and Mothers’ Health Protection
Act”: restrict benefits for any Hospital length of stay in
connection with childbirth for the mother or newborn child to


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Requirements of Family and Medical Leave Act                               For leaves of 31 days or more, you may continue coverage for
of 1993 (as amended) (FMLA)                                                yourself and your Dependents as follows:
Any provisions of the policy that provide for: continuation of             You may continue benefits by paying the required premium to
insurance during a leave of absence; and reinstatement of                  your Employer, until the earliest of the following:
insurance following a return to Active Service; are modified                  24 months from the last day of employment with the
by the following provisions of the federal Family and Medical                  Employer;
Leave Act of 1993, as amended, where applicable:                              the day after you fail to return to work; and
Continuation of Health Insurance During Leave                                 the date the policy cancels.
Your health insurance will be continued during a leave of                  Your Employer may charge you and your Dependents up to
absence if:                                                                102% of the total premium.
   that leave qualifies as a leave of absence under the Family            Reinstatement of Benefits (applicable to all coverages)
    and Medical Leave Act of 1993, as amended; and
                                                                           If your coverage ends during the leave of absence because you
   you are an eligible Employee under the terms of that Act.              do not elect USERRA at the expiration of USERRA and you
The cost of your health insurance during such leave must be                are reemployed by your current Employer, coverage for you
paid, whether entirely by your Employer or in part by you and              and your Dependents may be reinstated if you gave your
your Employer.                                                             Employer advance written or verbal notice of your military
Reinstatement of Canceled Insurance Following Leave                        service leave, and the duration of all military leaves while you
                                                                           are employed with your current Employer does not exceed 5
Upon your return to Active Service following a leave of                    years.
absence that qualifies under the Family and Medical Leave
Act of 1993, as amended, any canceled insurance (health, life              You and your Dependents will be subject to only the balance
or disability) will be reinstated as of the date of your return.           of a waiting period that was not yet satisfied before the leave
                                                                           began. However, if an Injury or Sickness occurs or is
You will not be required to satisfy any eligibility or benefit             aggravated during the military leave, full Plan limitations will
waiting period to the extent that they had been satisfied prior            apply.
to the start of such leave of absence.
                                                                           If your coverage under this plan terminates as a result of your
Your Employer will give you detailed information about the                 eligibility for military medical and dental coverage and your
Family and Medical Leave Act of 1993, as amended.                          order to active duty is canceled before your active duty service
                                                                           commences, these reinstatement rights will continue to apply.
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                                                                           HC-FED18                                                     10-10



Uniformed Services Employment and Re-
Employment Rights Act of 1994 (USERRA)                                     Claim Determination Procedures under ERISA
The Uniformed Services Employment and Re-employment                        The following complies with federal law. Provisions of
Rights Act of 1994 (USERRA) sets requirements for                          applicable laws of your state may supersede.
continuation of health coverage and re-employment in regard                Procedures Regarding Medical Necessity Determinations
to an Employee’s military leave of absence. These
requirements apply to medical and dental coverage for you                  In general, health services and benefits must be Medically
and your Dependents. They do not apply to any Life, Short-                 Necessary to be covered under the plan. The procedures for
term or Long-term Disability or Accidental Death &                         determining Medical Necessity vary, according to the type of
Dismemberment coverage you may have.                                       service or benefit requested, and the type of health plan.
                                                                           Medical Necessity determinations are made on a preservice,
Continuation of Coverage                                                   concurrent, or postservice basis, as described below:
For leaves of less than 31 days, coverage will continue as                 Certain services require prior authorization in order to be
described in the Termination section regarding Leave of                    covered. The booklet describes who is responsible for
Absence.                                                                   obtaining this review. You or your authorized representative
                                                                           (typically, your health care professional) must request prior
                                                                           authorization according to the procedures described below, in




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the booklet, and in your provider’s network participation               notice. Cigna will notify you or your representative of the
documents as applicable.                                                expedited benefit determination within 48 hours after you or
When services or benefits are determined to be not covered,             your representative responds to the notice. Expedited
you or your representative will receive a written description of        determinations may be provided orally, followed within 3 days
the adverse determination, and may appeal the determination.            by written or electronic notification.
Appeal procedures are described in the booklet, in your                 If you or your representative attempts to request a preservice
provider’s network participation documents as applicable, and           determination, but fails to follow Cigna’s procedures for
in the determination notices.                                           requesting a required preservice determination, Cigna will
Note: An oral statement made to you by a representative of              notify you or your representative of the failure and describe
Cigna or its designee that indicates, for example, a particular         the proper procedures for filing within 5 days (or 24 hours, if
service is a Covered Expense, is authorized for coverage by             an expedited determination is required, as described above)
the plan, or that you are eligible for coverage is not a                after receiving the request. This notice may be provided orally,
guarantee that you will receive benefits for services under this        unless you or your representative requests written notification.
plan. Cigna will make a benefit determination after a claim is          Concurrent Determinations
received from you or your authorized representative, and the            When an ongoing course of treatment has been approved for
benefit determination will be based on, your eligibility as of          you and you wish to extend the approval, you or your
the date services were rendered to you and the terms and                representative must request a required concurrent coverage
conditions of the plan in effect as of the date services were           determination at least 24 hours prior to the expiration of the
rendered to you.                                                        approved period of time or number of treatments. When you
Preservice Determinations                                               or your representative requests such a determination, Cigna
When you or your representative requests a required prior               will notify you or your representative of the determination
authorization, Cigna will notify you or your representative of          within 24 hours after receiving the request.
the determination within 15 days after receiving the request.           Postservice Determinations
However, if more time is needed due to matters beyond                   When you or your representative requests a coverage
Cigna’s control, Cigna will notify you or your representative           determination or a claim payment determination after services
within 15 days after receiving your request. This notice will           have been rendered, Cigna will notify you or your
include the date a determination can be expected, which will            representative of the determination within 30 days after
be no more than 30 days after receipt of the request. If more           receiving the request. However, if more time is needed to
time is needed because necessary information is missing from            make a determination due to matters beyond Cigna’s control,
the request, the notice will also specify what information is           Cigna will notify you or your representative within 30 days
needed, and you or your representative must provide the                 after receiving the request. This notice will include the date a
specified information to Cigna within 45 days after receiving           determination can be expected, which will be no more than 45
the notice. The determination period will be suspended on the           days after receipt of the request.
date Cigna sends such a notice of missing information, and the
determination period will resume on the date you or your                If more time is needed because necessary information is
representative responds to the notice.                                  missing from the request, the notice will also specify what
                                                                        information is needed, and you or your representative must
If the determination periods above would seriously jeopardize           provide the specified information to Cigna within 45 days
your life or health, your ability to regain maximum function,           after receiving the notice. The determination period will be
or in the opinion of a health care professional with knowledge          suspended on the date Cigna sends such a notice of missing
of your health condition, cause you severe pain which cannot            information, and the determination period will resume on the
be managed without the requested services, Cigna will make              date you or your representative responds to the notice.
the preservice determination on an expedited basis. Cigna will
defer to the determination of the treating health care                  Notice of Adverse Determination
professional regarding whether an expedited determination is            Every notice of an adverse benefit determination will be
necessary. Cigna will notify you or your representative of an           provided in writing or electronically, and will include all of
expedited determination within 72 hours after receiving the             the following that pertain to the determination: information
request.                                                                sufficient to identify the claim including, if applicable, the
However, if necessary information is missing from the                   date of service, provider and claim amount; diagnosis and
request, Cigna will notify you or your representative within 24         treatment codes, and their meanings; the specific reason or
hours after receiving the request to specify what information is        reasons for the adverse determination including, if applicable,
needed. You or your representative must provide the specified           the denial code and its meaning and a description of any
information to Cigna within 48 hours after receiving the                standard that was used in the denial; reference to the specific


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plan provisions on which the determination is based; a                     HC-FED88                                                       01-17
description of any additional material or information necessary
to perfect the claim and an explanation of why such material
or information is necessary; a description of the plan’s review
procedures and the time limits applicable, including a
                                                                           Medical - When You Have a Complaint or an
statement of a claimant’s rights to bring a civil action under             Appeal
section 502(a) of ERISA following an adverse benefit                       For the purposes of this section, any reference to "you" or
determination on appeal, (if applicable); upon request and free            "your" also refers to a representative or provider designated by
of charge, a copy of any internal rule, guideline, protocol or             you to act on your behalf; unless otherwise noted.
other similar criterion that was relied upon in making the                 We want you to be completely satisfied with the services you
adverse determination regarding your claim; and an                         receive. That is why we have established a process for
explanation of the scientific or clinical judgment for a                   addressing your concerns and solving your problems.
determination that is based on a Medical Necessity,
experimental treatment or other similar exclusion or limit; a              Start With Customer Service
description of any available internal appeal and/or external               We are here to listen and help. If you have a concern
review process(es); information about any office of health                 regarding a person, a service, the quality of care, contractual
insurance consumer assistance or ombudsman available to                    benefits, or a rescission of coverage, you may call the toll-
assist you with the appeal process; and in the case of a claim             free number on your ID card, explanation of benefits, or
involving urgent care, a description of the expedited review               claim form and explain your concern to one of our Customer
process applicable to such claim.                                          Service representatives. You may also express that concern
                                                                           in writing.
HC-FED104                                                     01-19
                                                                           We will do our best to resolve the matter on your initial
                                                                           contact. If we need more time to review or investigate your
                                                                           concern, we will get back to you as soon as possible, but in
                                                                           any case within 30 days. If you are not satisfied with the
Appointment of Authorized Representative                                   results of a coverage decision, you may start the appeals
You may appoint an authorized representative to assist you in              procedure.
submitting a claim or appealing a claim denial. However,                   Internal Appeals Procedure
Cigna may require you to designate your authorized
                                                                           To initiate an appeal of an adverse benefit determination, you
representative in writing using a form approved by Cigna. At
                                                                           must submit a request for an appeal to Cigna within 180 days
all times, the appointment of an authorized representative is
                                                                           of receipt of a denial notice. If you appeal a reduction or
revocable by you. To ensure that a prior appointment remains
                                                                           termination in coverage for an ongoing course of treatment
valid, Cigna may require you to re-appoint your authorized
                                                                           that Cigna previously approved, you will receive, as required
representative, from time to time.
                                                                           by applicable law, continued coverage pending the outcome of
Cigna reserves the right to refuse to honor the appointment of             an appeal.
a representative if Cigna reasonably determines that:
                                                                           You should state the reason why you feel your appeal should
   the signature on an authorized representative form may not             be approved and include any information supporting your
    be yours, or                                                           appeal. If you are unable or choose not to write, you may ask
   the authorized representative may not have disclosed to you            Cigna to register your appeal by telephone. Call or write us at
    all of the relevant facts and circumstances relating to the            the toll-free number on your ID card, explanation of benefits,
    overpayment or underpayment of any claim, including, for               or claim form.
    example, that the billing practices of the provider of medical         Your appeal will be reviewed and the decision made by
    services may have jeopardized your coverage through the                someone not involved in the initial decision. Appeals
    waiver of the cost-sharing amounts that you are required to            involving Medical Necessity or clinical appropriateness will
    pay under your plan.                                                   be considered by a health care professional.
If your designation of an authorized representative is revoked,            We will respond in writing with a decision within 30 calendar
or Cigna does not honor your designation, you may appoint a                days after we receive an appeal for a required preservice or
new authorized representative at any time, in writing, using a             concurrent care coverage determination or a postservice
form approved by Cigna.                                                    Medical Necessity determination. We will respond within 60
                                                                           calendar days after we receive an appeal for any other
                                                                           postservice coverage determination. If more time or
                                                                           information is needed to make the determination, we will


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notify you in writing to request an extension of up to 15               if applicable, the date of service, provider and claim amount;
calendar days and to specify any additional information                 diagnosis and treatment codes, and their meanings; the
needed to complete the review.                                          specific reason or reasons for the adverse determination
In the event any new or additional information (evidence) is            including, if applicable, the denial code and its meaning and a
considered, relied upon or generated by Cigna in connection             description of any standard that was used in the denial;
with the appeal, this information will be provided                      reference to the specific plan provisions on which the
automatically to you as soon as possible and sufficiently in            determination is based; a statement that the claimant is entitled
advance of the decision, so that you will have an opportunity           to receive, upon request and free of charge, reasonable access
to respond. Also, if any new or additional rationale is                 to and copies of all documents, records, and other Relevant
considered by Cigna, Cigna will provide the rationale to you            Information as defined below; a statement describing any
as soon as possible and sufficiently in advance of the decision         voluntary appeal procedures offered by the plan and the
so that you will have an opportunity to respond.                        claimant's right to bring an action under ERISA section
                                                                        502(a), if applicable; upon request and free of charge, a copy
You may request that the appeal process be expedited if the             of any internal rule, guideline, protocol or other similar
time frames under this process would seriously jeopardize               criterion that was relied upon in making the adverse
your life, health or ability to regain maximum functionality or         determination regarding your appeal, and an explanation of the
in the opinion of your health care provider would cause you             scientific or clinical judgment for a determination that is based
severe pain which cannot be managed without the requested               on a Medical Necessity, experimental treatment or other
services.                                                               similar exclusion or limit; and information about any office of
If you request that your appeal be expedited, you may also ask          health insurance consumer assistance or ombudsman available
for an expedited external Independent Review at the same                to assist you in the appeal process. A final notice of an adverse
time, if the time to complete an expedited level-one appeal             determination will include a discussion of the decision.
would be detrimental to your medical condition.                         You also have the right to bring a civil action under section
When an appeal is expedited, Cigna will respond orally with a           502(a) of ERISA if you are not satisfied with the decision on
decision within 72 hours, followed up in writing.                       review. You or your plan may have other voluntary alternative
External Review Procedure                                               dispute resolution options such as Mediation. One way to find
                                                                        out what may be available is to contact your local U.S.
If you are not fully satisfied with the decision of Cigna's
                                                                        Department of Labor office and your State insurance
internal appeal review and the appeal involves medical                  regulatory agency. You may also contact the Plan
judgment or a rescission of coverage, you may request that              Administrator.
your appeal be referred to an Independent Review
Organization (IRO). The IRO is composed of persons who are              Relevant Information
not employed by Cigna, or any of its affiliates. A decision to          Relevant Information is any document, record or other
request an external review to an IRO will not affect the                information which: was relied upon in making the benefit
claimant's rights to any other benefits under the plan.                 determination; was submitted, considered or generated in the
There is no charge for you to initiate an external review. Cigna        course of making the benefit determination, without regard to
and your benefit plan will abide by the decision of the IRO.            whether such document, record, or other information was
                                                                        relied upon in making the benefit determination; demonstrates
To request a review, you must notify the Appeals Coordinator
                                                                        compliance with the administrative processes and safeguards
within 4 months of your receipt of Cigna's appeal review
                                                                        required by federal law in making the benefit determination;
denial. Cigna will then forward the file to a randomly selected
                                                                        or constitutes a statement of policy or guidance with respect to
IRO. The IRO will render an opinion within 45 days.                     the plan concerning the denied treatment option or benefit for
When requested, and if a delay would be detrimental to your             the claimant's diagnosis, without regard to whether such
medical condition, as determined by Cigna's reviewer, or if             advice or statement was relied upon in making the benefit
your appeal concerns an admission, availability of care,                determination.
continued stay, or health care item or service for which you
                                                                        Legal Action
received emergency services, but you have not yet been
discharged from a facility, the external review shall be                If your plan is governed by ERISA, you have the right to bring
completed within 72 hours.                                              a civil action under section 502(a) of ERISA if you are not
                                                                        satisfied with the outcome of the Appeals Procedure. In most
Notice of Benefit Determination on Appeal                               instances, you may not initiate a legal action against Cigna
Every notice of a determination on appeal will be provided in           until you have completed the appeal processes. However, no
writing or electronically and, if an adverse determination, will        action will be brought at all unless brought within 3 years after
include: information sufficient to identify the claim including,        a claim is submitted for In-Network Services or within three


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years after proof of claim is required under the Plan for Out-                adopted by you). Although these individuals do not have an
of-Network services.                                                          independent right to elect COBRA continuation coverage, if
                                                                              you elect COBRA continuation coverage for yourself, you
                                                                              may also cover your Dependents even if they are not
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                                                                              considered qualified beneficiaries under COBRA. However,
                                                                              such individuals’ coverage will terminate when your COBRA
                                                                              continuation coverage terminates. The sections titled
COBRA Continuation Rights Under Federal                                       “Secondary Qualifying Events” and “Medicare Extension For
Law                                                                           Your Dependents” are not applicable to these individuals.
For You and Your Dependents                                                   Although federal law does not extend COBRA continuation
                                                                              rights to domestic partners, this plan will extend these same
What is COBRA Continuation Coverage?                                          continuation benefits to domestic partners (and their children
Under federal law, you and/or your Dependents must be given                   if not legal children of the Employee) to the same extent they
the opportunity to continue health insurance when there is a                  are provided to spouses of the opposite sex and legal children
“qualifying event” that would result in loss of coverage under                of the Employee.
the Plan. You and/or your Dependents will be permitted to                     Secondary Qualifying Events
continue the same coverage under which you or your
Dependents were covered on the day before the qualifying                      If, as a result of your termination of employment or reduction
event occurred, unless you move out of that plan’s coverage                   in work hours, your Dependent(s) have elected COBRA
area or the plan is no longer available. You and/or your                      continuation coverage and one or more Dependents experience
Dependents cannot change coverage options until the next                      another COBRA qualifying event, the affected Dependent(s)
open enrollment period.                                                       may elect to extend their COBRA continuation coverage for
                                                                              an additional 18 months (7 months if the secondary event
When is COBRA Continuation Available?                                         occurs within the disability extension period) for a maximum
For you and your Dependents, COBRA continuation is                            of 36 months from the initial qualifying event. The second
available for up to 18 months from the date of the following                  qualifying event must occur before the end of the initial 18
qualifying events if the event would result in a loss of                      months of COBRA continuation coverage or within the
coverage under the Plan:                                                      disability extension period discussed below. Under no
   your termination of employment for any reason, other than                 circumstances will COBRA continuation coverage be
    gross misconduct; or                                                      available for more than 36 months from the initial qualifying
                                                                              event. Secondary qualifying events are: your death; your
   your reduction in work hours.
                                                                              divorce or legal separation; or, for a Dependent child, failure
For your Dependents, COBRA continuation coverage is                           to continue to qualify as a Dependent under the Plan.
available for up to 36 months from the date of the following
                                                                              Disability Extension
qualifying events if the event would result in a loss of
coverage under the Plan:                                                      If, after electing COBRA continuation coverage due to your
                                                                              termination of employment or reduction in work hours, you or
   your death;
                                                                              one of your Dependents is determined by the Social Security
   your divorce or legal separation; or                                      Administration (SSA) to be totally disabled under Title II or
   for a Dependent child, failure to continue to qualify as a                XVI of the SSA, you and all of your Dependents who have
    Dependent under the Plan.                                                 elected COBRA continuation coverage may extend such
                                                                              continuation for an additional 11 months, for a maximum of
Who is Entitled to COBRA Continuation?
                                                                              29 months from the initial qualifying event.
Only a “qualified beneficiary” (as defined by federal law) may
                                                                              To qualify for the disability extension, all of the following
elect to continue health insurance coverage. A qualified
                                                                              requirements must be satisfied:
beneficiary may include the following individuals who were
covered by the Plan on the day the qualifying event occurred:                    SSA must determine that the disability occurred prior to or
you, your spouse, and your Dependent children. Each                               within 60 days after the disabled individual elected COBRA
qualified beneficiary has their own right to elect or decline                     continuation coverage; and
COBRA continuation coverage even if you decline or are not                       A copy of the written SSA determination must be provided
eligible for COBRA continuation.                                                  to the Plan Administrator within 60 calendar days after the
The following individuals are not qualified beneficiaries for                     date the SSA determination is made AND before the end of
purposes of COBRA continuation: domestic partners,                                the initial 18-month continuation period.
grandchildren (unless adopted by you), stepchildren (unless


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If the SSA later determines that the individual is no longer            location, you may elect COBRA continuation coverage under
disabled, you must notify the Plan Administrator within 30              that option.
days after the date the final determination is made by SSA.             Employer’s Notification Requirements
The 11-month disability extension will terminate for all
covered persons on the first day of the month that is more than         Your Employer is required to provide you and/or your
30 days after the date the SSA makes a final determination              Dependents with the following notices:
that the disabled individual is no longer disabled.                        An initial notification of COBRA continuation rights must
All causes for “Termination of COBRA Continuation” listed                   be provided within 90 days after your (or your spouse’s)
below will also apply to the period of disability extension.                coverage under the Plan begins (or the Plan first becomes
                                                                            subject to COBRA continuation requirements, if later). If
Medicare Extension for Your Dependents                                      you and/or your Dependents experience a qualifying event
When the qualifying event is your termination of employment                 before the end of that 90-day period, the initial notice must
or reduction in work hours and you became enrolled in                       be provided within the time frame required for the COBRA
Medicare (Part A, Part B or both) within the 18 months before               continuation coverage election notice as explained below.
the qualifying event, COBRA continuation coverage for your                 A COBRA continuation coverage election notice must be
Dependents will last for up to 36 months after the date you                 provided to you and/or your Dependents within the
became enrolled in Medicare. Your COBRA continuation                        following timeframes:
coverage will last for up to 18 months from the date of your
                                                                             if the Plan provides that COBRA continuation coverage
termination of employment or reduction in work hours.
                                                                              and the period within which an Employer must notify the
Termination of COBRA Continuation                                             Plan Administrator of a qualifying event starts upon the
COBRA continuation coverage will be terminated upon the                       loss of coverage, 44 days after loss of coverage under the
occurrence of any of the following:                                           Plan;
   the end of the COBRA continuation period of 18, 29 or 36                 if the Plan provides that COBRA continuation coverage
    months, as applicable;                                                    and the period within which an Employer must notify the
   failure to pay the required premium within 30 calendar days               Plan Administrator of a qualifying event starts upon the
    after the due date;                                                       occurrence of a qualifying event, 44 days after the
                                                                              qualifying event occurs; or
   cancellation of the Employer’s policy with Cigna;
                                                                             in the case of a multi-employer plan, no later than 14 days
   after electing COBRA continuation coverage, a qualified                   after the end of the period in which Employers must
    beneficiary enrolls in Medicare (Part A, Part B, or both);                provide notice of a qualifying event to the Plan
   after electing COBRA continuation coverage, a qualified                   Administrator.
    beneficiary becomes covered under another group health              How to Elect COBRA Continuation Coverage
    plan, unless the qualified beneficiary has a condition for
    which the new plan limits or excludes coverage under a pre-         The COBRA coverage election notice will list the individuals
    existing condition provision. In such case coverage will            who are eligible for COBRA continuation coverage and
    continue until the earliest of: the end of the applicable           inform you of the applicable premium. The notice will also
    maximum period; the date the pre-existing condition                 include instructions for electing COBRA continuation
    provision is no longer applicable; or the occurrence of an          coverage. You must notify the Plan Administrator of your
    event described in one of the first three bullets above;            election no later than the due date stated on the COBRA
                                                                        election notice. If a written election notice is required, it must
   any reason the Plan would terminate coverage of a                   be post-marked no later than the due date stated on the
    participant or beneficiary who is not receiving continuation        COBRA election notice. If you do not make proper
    coverage (e.g., fraud).                                             notification by the due date shown on the notice, you and your
Moving Out of Employer’s Service Area or Elimination of                 Dependents will lose the right to elect COBRA continuation
a Service Area                                                          coverage. If you reject COBRA continuation coverage before
If you and/or your Dependents move out of the Employer’s                the due date, you may change your mind as long as you
service area or the Employer eliminates a service area in your          furnish a completed election form before the due date.
location, your COBRA continuation coverage under the plan               Each qualified beneficiary has an independent right to elect
will be limited to out-of-network coverage only. In-network             COBRA continuation coverage. Continuation coverage may
coverage is not available outside of the Employer’s service             be elected for only one, several, or for all Dependents who are
area. If the Employer offers another benefit option through             qualified beneficiaries. Parents may elect to continue coverage
Cigna or another carrier which can provide coverage in your             on behalf of their Dependent children. You or your spouse



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may elect continuation coverage on behalf of all the qualified         coverage has been suspended. If payment is received before
beneficiaries. You are not required to elect COBRA                     the end of the grace period, your coverage will be reinstated
continuation coverage in order for your Dependents to elect            back to the beginning of the coverage period. This means that
COBRA continuation.                                                    any claim you submit for benefits while your coverage is
How Much Does COBRA Continuation Coverage Cost?                        suspended may be denied and may have to be resubmitted
                                                                       once your coverage is reinstated. If you fail to make a
Each qualified beneficiary may be required to pay the entire           payment before the end of the grace period for that coverage
cost of continuation coverage. The amount may not exceed               period, you will lose all rights to COBRA continuation
102% of the cost to the group health plan (including both              coverage under the Plan.
Employer and Employee contributions) for coverage of a
similarly situated active Employee or family member. The               You Must Give Notice of Certain Qualifying Events
premium during the 11-month disability extension may not               If you or your Dependent(s) experience one of the following
exceed 150% of the cost to the group health plan (including            qualifying events, you must notify the Plan Administrator
both employer and employee contributions) for coverage of a            within 60 calendar days after the later of the date the
similarly situated active Employee or family member.                   qualifying event occurs or the date coverage would cease as a
For example: If the Employee alone elects COBRA                        result of the qualifying event:
continuation coverage, the Employee will be charged 102%                  Your divorce or legal separation; or
(or 150%) of the active Employee premium. If the spouse or                Your child ceases to qualify as a Dependent under the Plan.
one Dependent child alone elects COBRA continuation
coverage, they will be charged 102% (or 150%) of the active               The occurrence of a secondary qualifying event as discussed
Employee premium. If more than one qualified beneficiary                   under “Secondary Qualifying Events” above (this notice
elects COBRA continuation coverage, they will be charged                   must be received prior to the end of the initial 18- or 29-
102% (or 150%) of the applicable family premium.                           month COBRA period).
When and How to Pay COBRA Premiums                                     (Also refer to the section titled “Disability Extension” for
                                                                       additional notice requirements.)
First payment for COBRA continuation
                                                                       Notice must be made in writing and must include: the name of
If you elect COBRA continuation coverage, you do not have              the Plan, name and address of the Employee covered under the
to send any payment with the election form. However, you               Plan, name and address(es) of the qualified beneficiaries
must make your first payment no later than 45 calendar days            affected by the qualifying event; the qualifying event; the date
after the date of your election. (This is the date the Election        the qualifying event occurred; and supporting documentation
Notice is postmarked, if mailed.) If you do not make your first        (e.g., divorce decree, birth certificate, disability determination,
payment within that 45 days, you will lose all COBRA                   etc.).
continuation rights under the Plan.
                                                                       Newly Acquired Dependents
Subsequent payments
                                                                       If you acquire a new Dependent through marriage, birth,
After you make your first payment for COBRA continuation               adoption or placement for adoption while your coverage is
coverage, you will be required to make subsequent payments             being continued, you may cover such Dependent under your
of the required premium for each additional month of                   COBRA continuation coverage. However, only your newborn
coverage. Payment is due on the first day of each month. If            or adopted Dependent child is a qualified beneficiary and may
you make a payment on or before its due date, your coverage            continue COBRA continuation coverage for the remainder of
under the Plan will continue for that coverage period without          the coverage period following your early termination of
any break.                                                             COBRA coverage or due to a secondary qualifying event.
Grace periods for subsequent payments                                  COBRA coverage for your Dependent spouse and any
Although subsequent payments are due by the first day of the           Dependent children who are not your children (e.g.,
month, you will be given a grace period of 30 days after the           stepchildren or grandchildren) will cease on the date your
first day of the coverage period to make each monthly                  COBRA coverage ceases and they are not eligible for a
payment. Your COBRA continuation coverage will be                      secondary qualifying event.
provided for each coverage period as long as payment for that          COBRA Continuation for Retirees Following Employer’s
coverage period is made before the end of the grace period for         Bankruptcy
that payment. However, if your payment is received after the           If you are covered as a retiree, and a proceeding in bankruptcy
due date, your coverage under the Plan may be suspended                is filed with respect to the Employer under Title 11 of the
during this time. Any providers who contact the Plan to                United States Code, you may be entitled to COBRA
confirm coverage during this time may be informed that                 continuation coverage. If the bankruptcy results in a loss of


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coverage for you, your Dependents or your surviving spouse              Plan Trustees
within one year before or after such proceeding, you and your           A list of any Trustees of the Plan, which includes name, title
covered Dependents will become COBRA qualified                          and address, is available upon request to the Plan
beneficiaries with respect to the bankruptcy. You will be               Administrator.
entitled to COBRA continuation coverage until your death.
Your surviving spouse and covered Dependent children will               Plan Type
be entitled to COBRA continuation coverage for up to 36                 The plan is a healthcare benefit plan.
months following your death. However, COBRA continuation                Collective Bargaining Agreements
coverage will cease upon the occurrence of any of the events
                                                                        You may contact the Plan Administrator to determine whether
listed under “Termination of COBRA Continuation” above.
                                                                        the Plan is maintained pursuant to one or more collective
Interaction With Other Continuation Benefits                            bargaining agreements and if a particular Employer is a
You may be eligible for other continuation benefits under state         sponsor. A copy is available for examination from the Plan
law. Refer to the Termination section for any other                     Administrator upon written request.
continuation benefits.                                                  Discretionary Authority
                                                                        The Plan Administrator delegates to Cigna the discretionary
HC-FED66                                                   07-14        authority to interpret and apply plan terms and to make factual
                                                                        determinations in connection with its review of claims under
                                                                        the plan. Such discretionary authority is intended to include,
                                                                        but not limited to, the determination of the eligibility of
ERISA Required Information                                              persons desiring to enroll in or claim benefits under the plan,
The name of the Plan is:                                                the determination of whether a person is entitled to benefits
  Sunrun Group Health Plan                                              under the plan, and the computation of any and all benefit
                                                                        payments. The Plan Administrator also delegates to Cigna the
The name, address, ZIP code and business telephone number
                                                                        discretionary authority to perform a full and fair review, as
of the sponsor of the Plan is:
                                                                        required by ERISA, of each claim denial which has been
  Sunrun Inc.                                                           appealed by the claimant or his duly authorized representative.
  225 Bush, Suite 1400
                                                                        Plan Modification, Amendment and Termination
  San Francisco, CA 94104
  805-540-7643                                                          The Employer as Plan Sponsor reserves the right to, at any
                                                                        time, change or terminate benefits under the Plan, to change or
Employer Identification            Plan Number:
                                                                        terminate the eligibility of classes of employees to be covered
Number (EIN):
                                                                        by the Plan, to amend or eliminate any other plan term or
262841711                          501                                  condition, and to terminate the whole plan or any part of it.
The name, address, ZIP code and business telephone number               Contact the Employer for the procedure by which benefits
of the Plan Administrator is:                                           may be changed or terminated, by which the eligibility of
  Employer named above                                                  classes of employees may be changed or terminated, or by
                                                                        which part or all of the Plan may be terminated. No consent of
The name, address and ZIP code of the person designated as              any participant is required to terminate, modify, amend or
agent for service of legal process is:                                  change the Plan.
  Employer named above                                                  Termination of the Plan together with termination of the
The office designated to consider the appeal of denied claims           insurance policy(s) which funds the Plan benefits will have no
is:                                                                     adverse effect on any benefits to be paid under the policy(s)
  The Cigna Claim Office responsible for this Plan                      for any covered medical expenses incurred prior to the date
                                                                        that policy(s) terminates. Likewise, any extension of benefits
The cost of the Plan is shared by Employee and Employer.                under the policy(s) due to you or your Dependent's total
The Plan’s fiscal year ends on 12/31.                                   disability which began prior to and has continued beyond the
The preceding pages set forth the eligibility requirements and          date the policy(s) terminates will not be affected by the Plan
benefits provided for you under this Plan.                              termination. Rights to purchase limited amounts of life and
                                                                        medical insurance to replace part of the benefits lost because
                                                                        the policy(s) terminated may arise under the terms of the
                                                                        policy(s). A subsequent Plan termination will not affect the
                                                                        extension of benefits and rights under the policy(s).



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Your coverage under the Plan’s insurance policy(s) will end               discriminate against you in any way to prevent you from
on the earliest of the following dates:                                   obtaining a welfare benefit or exercising your rights under
   the date you leave Active Service (or later as explained in           ERISA. If your claim for a welfare benefit is denied or
    the Termination Section;)                                             ignored you have a right to know why this was done, to obtain
                                                                          copies of documents relating to the decision without charge,
   the date you are no longer in an eligible class;                      and to appeal any denial, all within certain time schedules.
   if the Plan is contributory, the date you cease to contribute;        Enforce Your Rights
   the date the policy(s) terminates.                                    Under ERISA, there are steps you can take to enforce the
See your Plan Administrator to determine if any extension of              above rights. For instance, if you request a copy of documents
benefits or rights are available to you or your Dependents                governing the plan or the latest annual report from the plan
under this policy(s). No extension of benefits or rights will be          and do not receive them within 30 days, you may file suit in a
available solely because the Plan terminates.                             federal court. In such a case, the court may require the plan
Statement of Rights                                                       administrator to provide the materials and pay you up to $110
                                                                          a day until you receive the materials, unless the materials were
As a participant in the plan you are entitled to certain rights
                                                                          not sent because of reasons beyond the control of the
and protections under the Employee Retirement Income
                                                                          administrator. If you have a claim for benefits which is denied
Security Act of 1974 (ERISA). ERISA provides that all plan
                                                                          or ignored, in whole or in part, you may file suit in a state or
participants shall be entitled to:                                        federal court.
Receive Information About Your Plan and Benefits                          In addition, if you disagree with the plan’s decision or lack
 examine, without charge, at the Plan Administrator’s office             thereof concerning the qualified status of a domestic relations
  and at other specified locations, such as worksites and union           order or a medical child support order, you may file suit in
  halls, all documents governing the plan, including insurance            federal court. If it should happen that plan fiduciaries misuse
  contracts and collective bargaining agreements and a copy               the plan’s money, or if you are discriminated against for
  of the latest annual report (Form 5500 Series) filed by the             asserting your rights, you may seek assistance from the U.S.
  plan with the U.S. Department of Labor and available at the             Department of Labor, or you may file suit in a federal court.
  Public Disclosure room of the Employee Benefits Security                The court will decide who should pay court costs and legal
  Administration.                                                         fees. If you are successful the court may order the person you
   obtain, upon written request to the Plan Administrator,               have sued to pay these costs and fees. If you lose, the court
    copies of documents governing the Plan, including                     may order you to pay these costs and fees, for example if it
    insurance contracts and collective bargaining agreements,             finds your claim is frivolous.
    and a copy of the latest annual report (Form 5500 Series)             Assistance with Your Questions
    and updated summary plan description. The administrator
                                                                          If you have any questions about your plan, you should contact
    may make a reasonable charge for the copies.
                                                                          the plan administrator. If you have any questions about this
   receive a summary of the Plan’s annual financial report. The          statement or about your rights under ERISA, or if you need
    Plan Administrator is required by law to furnish each person          assistance in obtaining documents from the plan administrator,
    under the Plan with a copy of this summary financial report.          you should contact the nearest office of the Employee Benefits
Continue Group Health Plan Coverage                                       Security Administration, U.S. Department of Labor listed in
                                                                          your telephone directory or the Division of Technical
 continue health care coverage for yourself, your spouse or
                                                                          Assistance and Inquiries, Employee Benefits Security
  Dependents if there is a loss of coverage under the Plan as a
                                                                          Administration, U.S. Department of Labor, 200 Constitution
  result of a qualifying event. You or your Dependents may
                                                                          Avenue N.W., Washington, D.C. 20210. You may also obtain
  have to pay for such coverage. Review the documents
                                                                          certain publications about your rights and responsibilities
  governing the Plan on the rules governing your federal
                                                                          under ERISA by calling the publications hotline of the
  continuation coverage rights.
                                                                          Employee Benefits Security Administration.
Prudent Actions by Plan Fiduciaries
In addition to creating rights for plan participants, ERISA
                                                                          HC-FED72                                                    05-15
imposes duties upon the people responsible for the operation
of the employee benefit plan. The people who operate your
plan, called “fiduciaries” of the Plan, have a duty to do so
prudently and in the interest of you and other plan participants
and beneficiaries. No one, including your employer, your
union, or any other person may fire you or otherwise


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Definitions                                                               Pub. L. No. 111-148, § 7002 (2010), and as may be amended
                                                                          thereafter).
Active Service
You will be considered in Active Service:
                                                                          HC-DFS841                                                   10-16
   on any of your Employer's scheduled work days if you are
    performing the regular duties of your work on a full-time
    basis on that day either at your Employer's place of business         Business Decision Team
    or at some location to which you are required to travel for           A committee comprised of voting and non-voting
    your Employer's business.                                             representatives across various Cigna business units such as
   on a day which is not one of your Employer's scheduled                clinical, medical and business leadership that is duly
    work days if you were in Active Service on the preceding              authorized by Cigna to effect changes regarding coverage
    scheduled work day.                                                   treatment of Medical Pharmaceuticals based on clinical
                                                                          findings provided by the P&T Committee, including, but not
                                                                          limited to, changes regarding tier placement and application of
HC-DFS1095                                                   12-17        utilization management to Medical Pharmaceuticals.

Ambulance                                                                 HC-DFS1494                                                  07-20
Licensed ambulance transportation services involve the use of
specially designed and equipped vehicles for transporting ill or
                                                                          Charges
injured patients. It includes ground, air, or sea transportation
when Medically Necessary and clinically appropriate.                      The term charges means the actual billed charges; except
                                                                          when Cigna has contracted directly or indirectly for a different
                                                                          amount including where Cigna has directly or indirectly
HC-DFS1480                                                   01-21        contracted with an entity to arrange for the provision of
                                                                          services and/or supplies through contracts with providers of
Biologic                                                                  such services and/or supplies.
A virus, therapeutic serum, toxin, antitoxin, vaccine, blood,
blood component or derivative, allergenic product, protein                HC-DFS1193                                                  01-19
(except any chemically synthesized polypeptide), or analogous
product, or arsphenamine or derivative of arsphenamine (or
                                                                          Chiropractic Care
any other trivalent organic arsenic compound), used for the
prevention, treatment, or cure of a disease or condition of               The term Chiropractic Care means the conservative
human beings, as defined under Section 351(i) of the Public               management of neuromusculoskeletal conditions through
Health Service Act (42 USC 262(i)) (as amended by the                     manipulation and ancillary physiological treatment rendered to
Biologics Price Competition and Innovation Act of 2009, title             specific joints to restore motion, reduce pain and improve
VII of the Patient Protection and Affordable Care Act, Pub. L.            function.
No. 111-148, § 7002 (2010), and as may be amended
thereafter).
                                                                          HC-DFS55                                                    04-10
                                                                                                                                        V1

HC-DFS840                                                    10-16

                                                                          Convenience Care Clinics
Biosimilar                                                                Convenience Care Clinics are staffed by nurse practitioners
A Biologic that is highly similar to the reference Biologic               and physician assistants and offer customers convenient,
product notwithstanding minor differences in clinically                   professional walk-in care for common ailments and routine
inactive components, and has no clinically meaningful                     services. Convenience Care Clinics have extended hours and
differences from the reference Biologic in terms of its safety,           are located in or near easy-to-access, popular locations
purity, and potency, as defined under Section 351(i) of the               (pharmacies, grocery and free-standing locations) with or
Public Health Service Act (42 USC 262(i)) (as amended by                  without appointment.
the Biologics Price Competition and Innovation Act of 2009,
title VII of the Patient Protection and Affordable Care Act,              HC-DFS1629                                                  07-21




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                                                                            Benefits for a Dependent child will continue until the last day
Custodial Services                                                          of the calendar month in which the limiting age is reached.
Any services that are of a sheltering, protective, or                       Anyone who is eligible as an Employee will not be considered
safeguarding nature. Such services may include a stay in an                 as a Dependent spouse. A child under age 26 may be covered
institutional setting, at-home care, or nursing services to care            as either an Employee or as a Dependent child. You cannot be
for someone because of age or mental or physical condition.                 covered as an Employee while also covered as a Dependent of
This service primarily helps the person in daily living.                    an Employee.
Custodial care also can provide medical services, given mainly              No one may be considered as a Dependent of more than one
to maintain the person’s current state of health. These services            Employee.
cannot be intended to greatly improve a medical condition;
they are intended to provide care while the patient cannot care
                                                                            HC-DFS872                                                       10-16
for himself or herself. Custodial Services include but are not
limited to:
   Services related to watching or protecting a person;                    Domestic Partner
   Services related to performing or assisting a person in                 A Domestic Partner is defined as a person of the same or
    performing any activities of daily living, such as: walking,            opposite sex who:
    grooming, bathing, dressing, getting in or out of bed,                     shares your permanent residence;
    toileting, eating, preparing foods, or taking medications that
                                                                               has resided with you for no less than one year;
    can be self administered, and
                                                                               is no less than 18 years of age;
   Services not required to be performed by trained or skilled
    medical or paramedical personnel.                                          is financially interdependent with you and has proven such
                                                                                interdependence by providing documentation of at least two
                                                                                of the following arrangements: common ownership of real
HC-DFS4                                                        04-10            property or a common leasehold interest in such property;
                                                                  V1            community ownership of a motor vehicle; a joint bank
                                                                                account or a joint credit account; designation as a
Dependent                                                                       beneficiary for life insurance or retirement benefits or under
                                                                                your partner's will; assignment of a durable power of
Dependents are:                                                                 attorney or health care power of attorney; or such other
   your lawful spouse; or                                                      proof as is considered by Cigna to be sufficient to establish
   your Domestic Partner; and                                                  financial interdependency under the circumstances of your
                                                                                particular case;
   any child of yours who is
                                                                               is not a blood relative any closer than would prohibit legal
     less than 26 years old.
                                                                                marriage; and
     26 or more years old, unmarried, and primarily supported
                                                                               has signed jointly with you, a notarized affidavit attesting to
      by you and incapable of self-sustaining employment by                     the above which can be made available to Cigna upon
      reason of mental or physical disability which arose while                 request.
      the child was covered as a Dependent under this Plan, or
      while covered as a dependent under a prior plan with no               In addition, you and your Domestic Partner will be considered
      break in coverage.                                                    to have met the terms of this definition as long as neither you
                                                                            nor your Domestic Partner:
      Proof of the child's condition and dependence may be
      required to be submitted to the plan within 31 days after                has signed a Domestic Partner affidavit or declaration with
      the date the child ceases to qualify above. From time to                  any other person within twelve months prior to designating
      time, but not more frequently than once a year, the plan                  each other as Domestic Partners hereunder;
      may require proof of the continuation of such condition                  is currently legally married to another person; or
      and dependence.                                                          has any other Domestic Partner, spouse or spouse equivalent
The term child means a child born to you or a child legally                     of the same or opposite sex.
adopted by you. It also includes a stepchild or a child for                 You and your Domestic Partner must have registered as
whom you are the legal guardian. If your Domestic Partner has               Domestic Partners, if you reside in a state that provides for
a child, that child will also be included as a Dependent.                   such registration.



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The section of this certificate entitled "COBRA Continuation             Employer
Rights Under Federal Law" will not apply to your Domestic                The term Employer means the plan sponsor self-insuring the
Partner and his or her Dependents.                                       benefits described in this booklet, on whose behalf Cigna is
See your Employer for continuation benefits that apply to your           providing claim administration services.
Domestic Partner and that Domestic Partner’s child.
                                                                         HC-DFS1615                                                      01-22
HC-DFS47                                                    04-10
                                                              V1
                                                                         Essential Health Benefits
                                                                         Essential health benefits means, to the extent covered under
Emergency Medical Condition                                              the plan, expenses incurred with respect to covered services, in
Emergency medical condition means a medical condition                    at least the following categories: ambulatory patient services,
which manifests itself by acute symptoms of sufficient                   emergency services, hospitalization, maternity and newborn
severity (including severe pain) such that a prudent layperson,          care, mental health and substance use disorder services,
who possesses an average knowledge of health and medicine,               including behavioral health treatment, prescription drugs,
could reasonably expect the absence of immediate medical                 rehabilitative and habilitative services and devices, laboratory
attention to result in placing the health of the individual (or,         services, preventive and wellness services and chronic disease
with respect to a pregnant woman, the health of the woman or             management and pediatric services, including oral and vision
her unborn child) in serious jeopardy; serious impairment to             care.
bodily functions; or serious dysfunction of any bodily organ or
part.
                                                                         HC-DFS411                                                       01-11


HC-DFS394                                                   11-10
                                                                         Expense Incurred
                                                                         An expense is incurred when the service or the supply for
Emergency Services                                                       which it is incurred is provided.
Emergency services means, with respect to an emergency
medical condition, a medical screening examination that is
                                                                         HC-DFS10                                                        04-10
within the capability of the emergency department of a
                                                                                                                                           V1
Hospital or of an independent freestanding emergency facility,
including ancillary services routinely available to the
emergency department to evaluate the emergency medical                   Free-Standing Surgical Facility
condition; and such further medical examination and
                                                                         The term Free-Standing Surgical Facility means an institution
treatment, to the extent they are within the capabilities of the
                                                                         which meets all of the following requirements:
staff and facilities available at the Hospital, to stabilize the
patient.                                                                    it has a medical staff of Physicians, Nurses and licensed
                                                                             anesthesiologists;
                                                                            it maintains at least two operating rooms and one recovery
HC-DFS1482                                                  01-21
                                                                             room;
                                                                            it maintains diagnostic laboratory and x-ray facilities;
Employee
                                                                            it has equipment for emergency care;
The term Employee means a full-time Employee of the
Employer who is currently in Active Service. The term does                  it has a blood supply;
not include Employees who are part-time or temporary or who                 it maintains medical records;
normally work less than 30 hours a week for the Employer.                   it has agreements with Hospitals for immediate acceptance
                                                                             of patients who need Hospital Confinement on an inpatient
                                                                             basis; and
HC-DFS1094                                                  12-17
                                                                            it is licensed in accordance with the laws of the appropriate
                                                                             legally authorized agency.




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A Free-Standing Surgical Facility, unless specifically noted                 Hospital
otherwise, is covered with the same cost share as an                         The term Hospital means:
Outpatient Facility.
                                                                                an institution licensed as a hospital, which: maintains, on
                                                                                 the premises, all facilities necessary for medical and
HC-DFS1484                                                      01-21            surgical treatment; provides such treatment on an inpatient
                                                                                 basis, for compensation, under the supervision of
                                                                                 Physicians; and provides 24-hour service by Registered
Hospice Care Program
                                                                                 Graduate Nurses;
The term Hospice Care Program means:
                                                                                an institution which qualifies as a hospital, a psychiatric
   a coordinated, interdisciplinary program to meet the                         hospital or a tuberculosis hospital, and a provider of
    physical, psychological, spiritual and social needs of dying                 services under Medicare, if such institution is accredited as
    persons and their families;                                                  a hospital by the Joint Commission on the Accreditation of
   a program that provides palliative and supportive medical,                   Healthcare Organizations; or
    nursing and other health services through home or inpatient                 an institution which: specializes in treatment of Mental
    care during the illness;                                                     Health and Substance Use Disorder or other related illness;
   a program for persons who have a Terminal Illness and for                    provides residential treatment programs; and is licensed in
    the families of those persons.                                               accordance with the laws of the appropriate legally
                                                                                 authorized agency.
                                                                             The term Hospital does not include an institution which is
HC-DFS51                                                        04-10
                                                                             primarily a place for rest, a place for the aged, or a nursing
                                                                  V1
                                                                             home.

Hospice Care Services
                                                                             HC-DFS1485                                                       01-21
The term Hospice Care Services means any services provided
by: a Hospital, a Skilled Nursing Facility or a similar
institution, a Home Health Care Agency, a Hospice Facility,                  Hospital Confinement or Confined in a Hospital
or any other licensed facility or agency under a Hospice Care                A person will be considered Confined in a Hospital if he is:
Program.
                                                                                a registered bed patient in a Hospital upon the
                                                                                 recommendation of a Physician;
HC-DFS52                                                        04-10           receiving treatment for Mental Health and Substance Use
                                                                  V1             Disorder Services in a Mental Health or Substance Use
                                                                                 Disorder Residential Treatment Center.
Hospice Facility
The term Hospice Facility means an institution or part of it                 HC-DFS807                                                        12-15
which:
   primarily provides care for Terminally Ill patients;                     Injury
   is accredited by the National Hospice Organization;                      The term Injury means an accidental bodily injury.
   meets standards established by Cigna; and
   fulfills any licensing requirements of the state or locality in          HC-DFS12                                                         04-10
    which it operates.                                                                                                                          V1



HC-DFS53                                                        04-10
                                                                  V1




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Maintenance Treatment                                                      Medicaid
The term Maintenance Treatment means:                                      The term Medicaid means a state program of medical aid for
   treatment rendered to keep or maintain the patient's current           needy persons established under Title XIX of the Social
    status.                                                                Security Act of 1965 as amended.


                                                                           HC-DFS16                                                          04-10
HC-DFS56                                                      04-10
                                                                                                                                               V1
                                                                V1



Maximum Reimbursable Charge - Medical                                      Medical Pharmaceutical
The Maximum Reimbursable Charge for covered services for                   An FDA-approved prescription pharmaceutical product,
Open Access Plus is determined based on the lesser of:                     including a Specialty Prescription Drug Product, typically
                                                                           required to be administered in connection with a covered
   the provider’s normal charge for a similar service or supply;          service by a Physician or Other Health Professional within the
   the amount agreed to by the Out-of-Network provider and                scope of the provider's license. This definition includes certain
    Cigna; or                                                              pharmaceutical products whose administration may initially or
   a policyholder-selected percentage of a fee schedule Cigna             typically require Physician or Other Health Professional
    has developed that is based upon a methodology similar to a            oversight but may be self-administered under certain
    methodology utilized by Medicare to determine the                      conditions specified in the product’s FDA labeling.
    allowable reimbursement for the same or similar service
    within the geographic market.                                          HC-DFS1632                                                        01-22
The percentage used to determine the Maximum Reimbursable
Charge is listed in The Schedule.
                                                                           Medically Necessary/Medical Necessity
In some cases, a Medicare based schedule will not be used and
the Maximum Reimbursable Charge for covered services is                    Health care services, supplies and medications provided for
determined based on the lesser of:                                         the purpose of preventing, evaluating, diagnosing or treating a
                                                                           Sickness, Injury, condition, disease or its symptoms, that are
   the provider’s normal charge for a similar service or supply;          all of the following as determined by a Medical Director or
   the amount agreed to by the Out-of-Network provider and                Review Organization:
    Cigna; or                                                                 required to diagnose or treat an illness, Injury, disease or its
   the 80th percentile of charges made by providers of such                   symptoms;
    service or supply in the geographic area where it is received             in accordance with generally accepted standards of medical
    as compiled in a database selected by Cigna. If sufficient                 practice;
    charge data is unavailable in the database for that
    geographic area to determine the Maximum Reimbursable                     clinically appropriate in terms of type, frequency, extent,
    Charge, then data in the database for similar services may                 site and duration;
    be used.                                                                  not primarily for the convenience of the patient, Physician
The Maximum Reimbursable Charge is subject to all other                        or Other Health Professional;
benefit limitations and applicable coding and payment                         not more costly than an alternative service(s), medication(s)
methodologies determined by Cigna. Additional information                      or supply(ies) that is at least as likely to produce equivalent
about how Cigna determines the Maximum Reimbursable                            therapeutic or diagnostic results with the same safety profile
Charge is available upon request.                                              as to the prevention, evaluation, diagnosis or treatment of
                                                                               your Sickness, Injury, condition, disease or its symptoms;
                                                                               and
HC-DFS1631                                                    01-22
                                                                              rendered in the least intensive setting that is appropriate for
                                                                               the delivery of the services, supplies or medications. Where
                                                                               applicable, the Medical Director or Review Organization
                                                                               may compare the cost-effectiveness of alternative services,
                                                                               supplies, medications or settings when determining least
                                                                               intensive setting.




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In determining whether health care services, supplies, or                   Nurse
medications are Medically Necessary, the Medical Director or                The term Nurse means a Registered Graduate Nurse, a
Review Organization may rely on the clinical coverage                       Licensed Practical Nurse or a Licensed Vocational Nurse who
policies maintained by Cigna or the Review Organization.                    has the right to use the abbreviation "R.N.," "L.P.N." or
Clinical coverage policies may incorporate, without limitation              "L.V.N."
and as applicable, criteria relating to U.S. Food and Drug
Administration-approved labeling, the standard medical
reference compendia and peer-reviewed, evidence-based                       HC-DFS22                                                      04-10

scientific literature or guidelines.                                                                                                        V1




HC-DFS1486                                                     01-21        Other Health Care Facility
                                                                            The term Other Health Care Facility means a facility other
                                                                            than a Hospital or Hospice Facility. Examples of Other Health
Medicare
                                                                            Care Facilities include, but are not limited to, licensed skilled
The term Medicare means the program of medical care                         nursing facilities, rehabilitation Hospitals and subacute
benefits provided under Title XVIII of the Social Security Act              facilities.
of 1965 as amended.

                                                                            HC-DFS1489                                                    01-21
HC-DFS17                                                       04-10
                                                                 V1
                                                                            Other Health Professional
Necessary Services and Supplies                                             The term Other Health Professional means an individual other
                                                                            than a Physician who is licensed or otherwise authorized under
The term Necessary Services and Supplies includes any                       the applicable state law to deliver medical services and
charges, except charges for Room and Board, made by a                       supplies. Other Health Professionals include, but are not
Hospital for medical services and supplies actually used                    limited to physical therapists, registered nurses and licensed
during Hospital Confinement.                                                practical nurses. Other Health Professionals do not include
The term Necessary Services and Supplies will not include                   providers such as Certified First Assistants, Certified
any charges for special nursing fees, dental fees or medical                Operating Room Technicians, Certified Surgical
fees.                                                                       Assistants/Technicians, Licensed Certified Surgical
                                                                            Assistants/Technicians, Licensed Surgical Assistants,
                                                                            Orthopedic Physician Assistants and Surgical First Assistants.
HC-DFS1488                                                     01-21


                                                                            HC-DFS1490                                                    01-21
New Prescription Drug Product
A Prescription Drug Product, or new use or dosage form of a
previously FDA-approved Prescription Drug Product, for the                  Participating Provider
period of time starting on the date the Prescription Drug                   The term Participating Provider means a person or entity that
Product or newly-approved use or dosage form becomes                        has a direct or indirect contractual arrangement with Cigna to
available on the market following approval by the U.S. Food                 provide covered services and/or supplies, the Charges for
and Drug Administration (FDA) and ending on the date Cigna                  which are Covered Expenses. It includes an entity that has
makes a Prescription Drug List coverage status decision.                    directly or indirectly contracted with Cigna to arrange, through
                                                                            contracts with providers of services and/or supplies, for the
                                                                            provision of any services and/or supplies, the Charges for
HC-DFS1498                                                     07-20
                                                                            which are Covered Expenses.


                                                                            HC-DFS1194                                                    01-19




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Patient Protection and Affordable Care Act of 2010
(“PPACA”)                                                                Prescription Drug Product
Patient Protection and Affordable Care Act of 2010 means the             A drug, Biologic (including a Biosimilar), or other product
Patient Protection and Affordable Care Act of 2010 (Public               that has been approved by the U.S. Food and Drug
Law 111-148) as amended by the Health Care and Education                 Administration (FDA), certain products approved under the
Reconciliation Act of 2010 (Public Law 111-152).                         Drug Efficacy Study Implementation review, or products
                                                                         marketed prior to 1938 and not subject to review and that can,
HC-DFS412                                                   01-11
                                                                         under federal or state law, be dispensed only pursuant to a
                                                                         Prescription Order or Refill. For the purpose of benefits under
                                                                         the plan, this definition may also include products in the
Pharmacy & Therapeutics (P&T) Committee                                  following categories if specifically identified in the
A committee comprised of physicians and an independent                   Prescription Drug List:
pharmacist that represent a range of clinical specialties. The              Certain durable products and supplies that support drug
committee regularly reviews Medical Pharmaceuticals for                      therapy;
safety and efficacy, the findings of which clinical reviews
                                                                            Certain diagnostic testing and screening services that
inform coverage determinations made by the Business
                                                                             support drug therapy;
Decision Team. The P&T Committee’s review may be based
on consideration of, without limitation, U.S. Food and Drug                 Certain medication consultation and other medication
Administration-approved labeling, standard medical reference                 administration services that support drug therapy; and
compendia, or scientific studies published in peer-reviewed                 Certain digital products, applications, electronic devices,
English-language bio-medical journals.                                       software and cloud based service solutions used to predict,
                                                                             detect and monitor health conditions in support of drug
                                                                             therapy.
HC-DFS1495                                                  07-20



                                                                         HC-DFS1633                                                    01-22
Physician
The term Physician means a licensed medical practitioner who
is practicing within the scope of his license and who is                 Prescription Order or Refill
licensed to prescribe and administer drugs or to perform                 The lawful directive to dispense a Prescription Drug Product
surgery. It will also include any other licensed medical                 issued by a Physician whose scope of practice permits issuing
practitioner whose services are required to be covered by law            such a directive.
in the locality where the policy is issued if he is:
   operating within the scope of his license; and                       HC-DFS856                                                     10-16
   performing a service for which benefits are provided under
    this plan when performed by a Physician.
                                                                         Preventive Treatment
                                                                         The term Preventive Treatment means treatment rendered to
HC-DFS25                                                    04-10
                                                                         prevent disease or its recurrence.
                                                              V1


                                                                         HC-DFS57                                                      04-10
Prescription Drug List                                                                                                                     V1
A list that categorizes drugs, Biologics (including Biosimilars)
or other products covered under the plan’s Prescription Drug
benefits that have been approved by the U.S. Food and Drug
Administration (FDA). This list is adopted by your Employer
as part of the plan. The list is subject to periodic review and
change, and is subject to the limitations and exclusions of the
plan.


HC-DFS1496                                                  07-20




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Primary Care Physician                                                    Sickness – For Medical Insurance
The term Primary Care Physician means a Physician who                     The term Sickness means a physical or mental illness. It also
qualifies as a Participating Provider in general practice,                includes pregnancy. Expenses incurred for routine Hospital
internal medicine, family practice OB/GYN or pediatrics; and              and pediatric care of a newborn child prior to discharge from
who has been voluntarily selected by you and is contracted as             the Hospital nursery will be considered to be incurred as a
a Primary Care Physician with, as authorized by Cigna, to                 result of Sickness.
provide or arrange for medical care for you or any of your
insured Dependents.
                                                                          HC-DFS50                                                      04-10
                                                                                                                                          V1

HC-DFS40                                                     04-10
                                                               V1
                                                                          Skilled Nursing Facility
                                                                          The term Skilled Nursing Facility means a licensed institution
Psychologist                                                              (other than a Hospital, as defined) which specializes in:
The term Psychologist means a person who is licensed or                      physical rehabilitation on an inpatient basis; or
certified as a clinical psychologist. Where no licensure or
certification exists, the term Psychologist means a person who               skilled nursing and medical care on an inpatient basis;
is considered qualified as a clinical psychologist by a                   but only if that institution: maintains on the premises all
recognized psychological association. It will also include any            facilities necessary for medical treatment; provides such
other licensed counseling practitioner whose services are                 treatment, for compensation, under the supervision of
required to be covered by law in the locality where the policy            Physicians; and provides Nurses' services.
is issued if he is operating within the scope of his license and
performing a service for which benefits are provided under
                                                                          HC-DFS31                                                      04-10
this plan when performed by a Psychologist.
                                                                                                                                          V1



HC-DFS26                                                     04-10
                                                                          Specialist
                                                               V1
                                                                          The term Specialist means a Physician who provides
                                                                          specialized services, and is not engaged in general practice,
Review Organization                                                       family practice, internal medicine, obstetrics/gynecology or
The term Review Organization refers to an affiliate of Cigna              pediatrics.
or another entity to which Cigna has delegated responsibility
for performing utilization review services. The Review
                                                                          HC-DFS33                                                      04-10
Organization is an organization with a staff of clinicians which
                                                                                                                                          V1
may include Physicians, Registered Graduate Nurses, licensed
mental health and substance use disorder professionals, and
other trained staff members who perform utilization review                Specialty Prescription Drug Product
services.                                                                 A Medical Pharmaceutical considered by Cigna to be a
                                                                          Specialty Prescription Drug Product based on consideration of
HC-DFS808                                                    12-15        the following factors, subject to applicable law: whether the
                                                                          Medical Pharmaceutical is prescribed and used for the
                                                                          treatment of a complex, chronic or rare condition; whether the
Room and Board                                                            Medical Pharmaceutical has a high acquisition cost; and,
The term Room and Board includes all charges made by a                    whether the Medical Pharmaceutical is subject to limited or
Hospital for room and meals and for all general services and              restricted distribution, requires special handling and/or
activities needed for the care of registered bed patients.                requires enhanced patient education, provider coordination or
                                                                          clinical oversight. A Specialty Prescription Drug Product may
                                                                          not possess all or most of the foregoing characteristics, and the
HC-DFS1481                                                   01-21
                                                                          presence of any one such characteristic does not guarantee that
                                                                          a Medical Pharmaceutical will be considered a Specialty
                                                                          Prescription Drug Product. Specialty Prescription Drug
                                                                          Products may vary by plan benefit assignment based on


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factors such as method or site of clinical administration, or              but which are determined by Cigna, in accordance with
utilization management requirements based on factors such as               generally accepted medical standards, to have been necessary
acquisition cost. You may determine whether a medication is a              to treat a condition requiring prompt medical attention. This
Specialty Prescription Drug Product through the website                    does not include care that could have been foreseen before
shown on your ID card or by calling member services at the                 leaving the immediate area where you ordinarily receive
telephone number on your ID card.                                          and/or were scheduled to receive services. Such care includes,
                                                                           but is not limited to, dialysis, scheduled medical treatments or
                                                                           therapy, or care received after a Physician's recommendation
HC-DFS858                                                   10-16
                                                                           that the insured should not travel due to any medical
                                                                           condition.
Stabilize
Stabilize means, with respect to an emergency medical                      HC-DFS34                                                     04-10
condition, to provide such medical treatment of the condition                                                                             V1
as may be necessary to assure, within reasonable medical
probability that no material deterioration of the condition is
likely to result from or occur during the transfer of the
individual from a facility.


HC-DFS413                                                   01-11



Terminal Illness
A Terminal Illness will be considered to exist if a person
becomes terminally ill with a prognosis of six months or less
to live, as diagnosed by a Physician.


HC-DFS54                                                    04-10
                                                                 V1



Therapeutic Alternative
A Medical Pharmaceutical that is of the same therapeutic or
pharmacological class, and usually can be expected to have
similar outcomes and adverse reaction profiles when
administered in therapeutically equivalent doses as, another
Medical Pharmaceutical or over-the-counter medication.


HC-DFS859                                                   10-16



Therapeutic Equivalent
A Medical Pharmaceutical that is a pharmaceutical equivalent
to another Medical Pharmaceutical or over-the-counter
medication.


HC-DFS860                                                   10-16



Urgent Care
Urgent Care is medical, surgical, Hospital or related health
care services and testing which are not Emergency Services,


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